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                ORAL ARGUMENT NOT YET SCHEDULED
                               Case No. 23-1207
 (Consolidated with Nos. 23-1157 (lead), 23-1181, 23-1183, 23-1190, 23-1191, 23-
 1193, 23-1195, 23-1199, 23-1200, 23-1201, 23-1202, 23-1203, 23-1205, 23-1206,
                         23-1208, 23-1209, and 23-1211)



           United States Court of Appeals
          For the District of Columbia Circuit

                     UNITED STATES STEEL CORPORATION.
                                                 Petitioner,
                                       v.
        ENVIRONMENTAL PROTECTION AGENCY AND MICHAEL S. REGAN,
                      ADMINISTRATOR, U.S. EPA,
                                                  Respondents.


     On Petition for Judicial Review of a Final Rule of the Environmental
            Protection Agency, 88 Fed. Reg. 36,654 (June 5, 2023)

                             MOTION FOR STAY

  August 22, 2023                        John D. Lazzaretti
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                                         Steel Corporation
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES,
           AND CORPORATE DISCLSOURE STATEMENT

       Pursuant to D.C. Circuit Rules 18(a)(4), 27, and 28(a)(1)(A), Petitioner

 United States Steel Corporation certifies as follows:

 Parties, Intervenors, and Amici to this Case:

     Petitioner: United States Steel Corporation

     Respondents: United States Environmental Protection Agency; Michael S.
      Regan, U.S. EPA Administrator

     Proposed Intervenors: None at present

     Proposed Amici: The Chamber of Commerce of the United States of America
 Ruling Under Review

       Petitioner seeks review of a final rule promulgated by the Environmental

 Protection Agency titled Federal “Good Neighbor Plan” for the 2015 Ozone

 National Ambient Air Quality Standards, 88 Fed. Reg. 36,654 (June 5, 2023)

 (Exhibit A).

 Related Cases

 D.C. Circuit

 No. 23-1157, Utah v. EPA

       Petitioners: State of Utah, by and through its Governor, Spencer J. Cox, and
       its Attorney General, Sean D. Reyes

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Intervenors: City of New York; Commonwealth of Massachusetts;
       Commonwealth of Pennsylvania; District of Columbia; Harris County, Texas;
       State of Connecticut; State of Delaware; State of Illinois; State of Maryland;

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      State of New Jersey; State of New York; State of Wisconsin; Air Alliance
      Houston; Appalachian Mountain Club; Center for Biological Diversity;
      Chesapeake Bay Foundation; Citizens for Pennsylvania’s Future; Clean Air
      Council; Clean Wisconsin; Downwinders at Risk; Environmental Defense
      Fund; Louisiana Environmental Action Network; Sierra Club; Southern Utah
      Wilderness Alliance; Utah Physicians for a Healthy Environment

      Proposed Amici Curiae: Chamber of Commerce of the United States of
      America; Energy Infrastructure Council

 No. 23-1181, Kinder Morgan v. EPA

      Petitioner: Kinder Morgan, Inc.

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

      Intervenors: City of New York; Commonwealth of Massachusetts;
      Commonwealth of Pennsylvania; District of Columbia; Harris County, Texas;
      State of Connecticut; State of Delaware; State of Illinois; State of Maryland;
      State of New Jersey; State of New York; State of Wisconsin;

      Proposed Amici Curiae: Chamber of Commerce of the United States of
      America; Energy Infrastructure Council

 No. 23-1183, Ohio v. EPA

      Petitioners: State of Ohio; State of West Virginia; State of Indiana

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

      Intervenors: City of New York; Commonwealth of Massachusetts;
      Commonwealth of Pennsylvania; District of Columbia; Harris County, Texas;
      State of Connecticut; State of Delaware; State of Illinois; State of Maryland;
      State of New Jersey; State of New York; State of Wisconsin

      Proposed Amici Curiae: Chamber of Commerce of the United States of
      America; Energy Infrastructure Council

 No. 23-1190, Am. Forest & Paper Assoc. v. EPA

      Petitioner: American Forest & Paper Association


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       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Intervenors: City of New York; Commonwealth of Massachusetts;
       Commonwealth of Pennsylvania; District of Columbia; Harris County, Texas;
       State of Connecticut; State of Delaware; State of Illinois; State of Maryland;
       State of New Jersey; State of New York; State of Wisconsin

       Proposed Amici Curiae: Chamber of Commerce of the United States of
       America; Energy Infrastructure Council

 No. 23-1191, Midwest Ozone Group v. EPA

       Petitioner: Midwest Ozone Group

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

 No. 23-1193, Interstate Natural Gas Assoc. of Am. v. EPA

       Petitioners: Interstate Natural Gas Association of America; American
       Petroleum Institute

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Proposed Amici Curiae: Chamber of Commerce of the United States of
       America; Energy Infrastructure Council

 No. 23-1195, Assoc. Electric Coop., Inc. v. EPA

       Petitioners: Associated Electric Cooperative, Inc., Deseret Generation &
       Transmission Co-operative d/b/a Deseret Power Electric Cooperative; Ohio
       Valley Electric Corporation; Wabash Valley Power Association, Inc. d/b/a
       Wabash Valley Power Alliance; America’s Power; National Rural Electric
       Cooperative Association; Portland Cement Association

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Proposed Amici Curiae: Chamber of Commerce of the United States of
       America; Energy Infrastructure Council



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 No. 23-1199, Nat’l Mining Assoc’n. v. EPA

       Petitioner: National Mining Association

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Proposed Amici Curiae: Chamber of Commerce of the United States of
       America; Energy Infrastructure Council

 No. 23-1200, AISI v. EPA

       Petitioner: American Iron and Steel Institute

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Proposed Amici Curiae: Chamber of Commerce of the United States of
       America; Energy Infrastructure Council

 No. 23-1201, Wisconsin v. EPA

       Petitioner: State of Wisconsin

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Proposed Amici Curiae: Chamber of Commerce of the United States of
       America; Energy Infrastructure Council

 No. 23-1202, Enbridge (U.S.) Inc. v. EPA

       Petitioner: Enbridge (U.S.) Inc.

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Proposed Amici Curiae: Chamber of Commerce of the United States of
       America; Energy Infrastructure Council

 No. 23-1203, Am. Chem. Council v. EPA

       Petitioners: American Chemistry Council; American Fuel & Petrochemical
       Manufacturers


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      Respondents: United States Environmental Protection Agency

      Proposed Amici Curiae: Chamber of Commerce of the United States of
      America; Energy Infrastructure Council

 No. 23-1205, TransCanada Pipeline USA Ltd. v. EPA

      Petitioner: TransCanada Pipeline USA Ltd.

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

      Proposed Amici Curiae: Chamber of Commerce of the United States of
      America; Energy Infrastructure Council

 No. 23-1206, Hybar LLC v. EPA

      Petitioner: Hybar LLC

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

      Proposed Amici Curiae: Chamber of Commerce of the United States of
      America; Energy Infrastructure Council

 No. 23-1208, Union Elec. Co. v. EPA

      Petitioner: Union Electric Company, d/b/a Ameren Missouri

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

      Proposed Amici Curiae: Chamber of Commerce of the United States of
      America; Energy Infrastructure Council

 No. 23-1209, Nevada v. EPA

      Petitioner: State of Nevada

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

      Proposed Amici Curiae: Chamber of Commerce of the United States of
      America; Energy Infrastructure Council


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 No. 23-1211, Arkansas League of Good Neighbors v. EPA

       Petitioner: Arkansas League of Good Neighbors

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Proposed Amici Curiae: Chamber of Commerce of the United States of
       America; Energy Infrastructure Council

 Fifth Circuit

 No. 23-60300, Texas v. EPA

       Petitioners:

       State of Texas; Texas Commission on Environmental Quality; Public Utility
       Commission of Texas; Railroad Commission of Texas; Association of
       Electric Companies of Texas; BCCA Appeal Group; Texas Chemical
       Council; Texas Oil & Gas Association; Luminant Generation Co., LLC;
       Coleto Creek Power, LLC; Ennis Power Co., LLC; Hays Energy, LLC;
       Midlothian Energy, LLC; Oak Grove Management Company, LLC; Wise
       County Power Company, LLC; State of Louisiana; Louisiana Department of
       Environmental Quality; State of Mississippi; Mississippi Department of
       Environmental Quality; Mississippi Power Company; Texas Lehigh Cement
       Company; Louisiana Public Service Commission; Energy Transfer, LP;
       Entergy Louisiana, LLC; Cleco Corporate Holdings, LLC; Louisiana Energy
       & Power Authority; Lafayette Consolidated Government / Lafayette Utilities
       System; NACCO Natural Resources Corporation; Mississippi Lignite Mining
       Company; Louisiana Chemical Association; Louisiana Mid-Continent Oil
       and Gas Association; Kinder Morgan, Inc.

       Respondents:

       United States Environmental Protection Agency; Michael S. Regan,
       Administrator, U.S. EPA

       Intervenors:

       Air Alliance Houston; Clean Wisconsin; Downwinders at Risk; Louisiana
       Environmental Action Network; Sierra Club



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       Amici Curiae:

       State of New York; State of Connecticut; State of Delaware; State of Illinois;
       State of Maryland; State of New Jersey; District of Columbia; Harris County,
       Texas

 Sixth Circuit

 No. 23-3605, Kentucky Energy & Envt. Cabinet v. EPA

       Petitioner: Kentucky Energy and Environment Cabinet

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

 No. 23-3624, Kentucky v. EPA

       Petitioner: Commonwealth of Kentucky

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

 No. 23-3641, Energy Transfer LP v. EPA

       Petitioner: Energy Transfer LP

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

 No. 23-3647, Buckeye Power, Inc. v. EPA

       Petitioners: Buckeye Power, Inc.; Ohio Valley Electric Corporation

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

 Seventh Circuit

 No. 23-2510, Energy Transfer LP v. EPA

       Petitioner: Energy Transfer LP

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA


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 No. 23-2511, Energy Transfer LP v. EPA

      Petitioner: Energy Transfer LP

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

 Eighth Circuit

 No. 23-2769, Arkansas v. EPA

      Petitioners: State of Arkansas; Arkansas Department of Energy and the
      Environment, Division of Environmental Quality

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

 No. 23-2771, Missouri v. EPA

      Petitioner: State of Missouri

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

 No. 23-2773, Energy Transfer LP v. EPA

      Petitioner: Energy Transfer LP

      Respondents: United States Environmental Protection Agency; Michael S.
      Regan, Administrator, U.S. EPA

 No. 23-2774, Energy Transfer LP v. EPA

      Petitioner: Energy Transfer LP

      Respondent: United States Environmental Protection Agency

 Ninth Circuit

 No. 23-1098, Nevada Cement Co. v. EPA

      Petitioner: Nevada Cement Company

      Respondent: United States Environmental Protection Agency


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 Tenth Circuit

 No. 23-9551, Tulsa Cement, LLC v. EPA

       Petitioner: Tulsa Cement LLC, d/b/a Central Plains Cement Company, LLC

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Amicus Curiae:

       State of New York; State of Connecticut; State of Delaware; State of Illinois,
       State of Maryland; State of New Jersey; State of Wisconsin; Commonwealth
       of Pennsylvania; District of Columbia; Harris County, Texas

 No. 23-9557, PacfiCorp v. EPA

       Petitioners: PacifiCorp; Deseret Generation & Transmission Cooperative;
       Utah Municipal Power Agency; Utah Associated Municipal Power Systems

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Amicus Curiae:

       State of New York; State of Connecticut; State of Delaware; State of Illinois,
       State of Maryland; State of New Jersey; State of Wisconsin; Commonwealth
       of Pennsylvania; District of Columbia; Harris County, Texas

 No. 23-9561, Oklahoma v. EPA

       Petitioners: State of Oklahoma; Oklahoma Department of Environmental
       Quality

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

       Amicus Curiae:

       State of New York; State of Connecticut; State of Delaware; State of Illinois,
       State of Maryland; State of New Jersey; State of Wisconsin; Commonwealth
       of Pennsylvania; District of Columbia; Harris County, Texas



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 No. 23-9569, Energy Transfer LP v. EPA

       Petitioners: Energy Transfer LP

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

 Eleventh Circuit

 No. 23-12528, Alabama v. EPA

       Petitioners: State of Alabama; Attorney General, State of Alabama; Alabama
       Department of Environmental Management

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA

 No. 23-12531, Alabama Power Co. v. EPA

       Petitioners: Alabama Power Company, Powersouth Energy Cooperative

       Respondents: United States Environmental Protection Agency; Michael S.
       Regan, Administrator, U.S. EPA




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                     RULE 26.1 DISCLOSURE STATEMENT

       Pursuant to Fed. R. App. P. 26.1 and D.C. Circuit Rule 26.1, Petitioner

 United States Steel Corporation states:

       United States Steel Corporation is organized under the laws of Delaware and

 its corporate headquarters are located at 600 Grant Street, Pittsburgh, PA 15219.

       United States Steel Corporation produces iron and steel products for the

 automotive, construction, appliance, energy, containers, and packaging industries.

       United States Steel Corporation is a publicly held company. United States

 Steel Corporation has no parent company and no publicly held company has a 10%

 or greater ownership interest in it.

  Dated: August 22, 2023                       Respectfully submitted,

                                               /s/ John D. Lazzaretti
                                               John D. Lazzaretti




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 CERTIFICATE OF COMPLIANCE WITH CIRCUIT RULES 18(A)(1) AND
                         (A)(2)

       The undersigned certifies that this motion for stay complies with Circuit

 Rule 18(a)(1). On August 4, 2023, Petitioner submitted to EPA a Petition for

 Reconsideration and Stay (Exhibit K) that requested an administrative stay pending

 judicial review of the Federal “Good Neighbor Plan” for the 2015 Ozone National

 Ambient Air Quality Standards, 88 Fed. Reg. 36,654 (June 5, 2023). EPA has not

 responded.

       In accordance with Circuit Rule 18(a)(2), undersigned counsel notified

 EPA’s counsel on August 11, 2023 that Petitioner planned to file this motion for

 stay. EPA notified Petitioner on August 21, 2023 that it opposes this motion and

 plans to file a response.

  Dated: August 22, 2023                     Respectfully submitted,

                                             /s/ John D. Lazzaretti
                                             John D. Lazzaretti




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                                  GLOSSARY

  EGU           Electric Generating Unit

  FIP           Federal Implementation Plan

  NAAQS         National Ambient Air Quality Standards

  Proposed      Federal Implementation Plan Addressing Regional Ozone
  Rule          Transport for the 2015 Ozone National Ambient Air Quality
                Standard, 87 Fed. Reg. 20,036 (April 6, 2022)

  Rule          Federal “Good Neighbor Plan” for the 2015 Ozone National
                Ambient Air Quality Standards, 88 Fed. Reg. 36,654 (June 5,
                2023)

  Screening     Screening Assessment of Potential Emission Reductions, Air
  Assessment    Quality Impacts, and Costs from Non-EGU Emissions Units for
                2026, at 2 (Feb. 28, 2022)

  SIP           State Implementation Plan

  SIP           Air Plan Disapprovals; Interstate Transport for Air Pollution for
  Disapproval   the 2015 8-Hour Ozone National Ambient Air Quality Standards,
                88 Fed. Reg. 9,336 (Feb. 13, 2023)




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                                 INTRODUCTION

       Pursuant to Fed. R. App. P. 18(a)(2), Petitioner United States Steel

 Corporation (“U. S. Steel”) seeks a stay pending judicial review of the United

 States Environmental Protection Agency’s (“EPA’s”) final rule: Federal “Good

 Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards, 88

 Fed. Reg. 36,654 (June 5, 2023) (“Rule”) as it applies to reheat furnaces (40 CFR

 52.43) and boilers at iron and steel mills (40 CFR 52.45).

       EPA lacks authority to promulgate the Rule for twelve States. Since the

 collective regulation of all upwind States was a foundational aspect of the Rule, the

 Rule can no longer stand on the current facts. The Rule’s legal and procedural

 infirmities also strongly support its withdrawal or significant modification. In

 promulgating the Rule, EPA exceeded its statutory authority and violated the

 cooperative federalism principles on which the Clean Air Act, and the National

 Ambient Air Quality Standards (“NAAQS”) in particular, are based.

       The regulations for reheat furnaces bear no relationship to the proposed rule

 and have not been subject to notice and comment. They are also contrary to EPA’s

 own findings on the record and overstep EPA’s statutory authority. EPA’s

 regulations for boilers at iron and steel mills similarly depart substantively from

 what was proposed and are not supported by the record for a substantial portion of

 the boilers EPA purports to regulate.



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       These infirmities individually and collectively demonstrate that U. S. Steel is

 likely to prevail on the merits. But unless the Rule is stayed, U. S. Steel must incur

 immediate and substantial costs while judicial review is pending. This waste of

 resources is unnecessary and serves no environmental benefit. A stay of the Rule

 pending judicial review is therefore justified and in the public interest.

                                   BACKGROUND

       Cooperative federalism is a “core principle” of the Clean Air Act. EPA v.

 EME Homer City Generation, L.P., 572 U.S. 489, 511, n.14 (2014). For the

 NAAQS, it is embodied in a basic division of labor. While EPA is responsible for

 setting the NAAQS, states have “primary responsibility” for determining how to

 meet them. 42 U.S.C. §7407(a). Each state is to prepare a state implementation

 plan (“SIP”) setting out the requirements that will apply within its borders.

 42 U.S.C. §7410(a)(1). EPA has 12 months to review the SIP for completeness

 and an additional year to determine whether the SIP meets the requirements of the

 Clean Air Act. 42 U.S.C. §7410(k)(2) and (3). These “ministerial” reviews are not

 for EPA to substitute its judgment for the State’s. Texas v. EPA, 829 F.3d 405, 411

 (5th Cir. 2016) (quotations omitted). EPA looks only to whether the State’s plan is

 “reasonably moored to the Act’s provisions” and “based on a reasoned analysis.”

 Alaska Dept. of Envt’l. Conserv. v. EPA, 540 U.S. 461, 485 and 490 (2004)

 (quotations omitted); North Dakota v. EPA, 730 F.3d 750 (8th Cir. 2013). If it is,



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 EPA must approve it. Id. at §7410(k)(3). Only if a SIP is incomplete or does not

 meet the Act’s requirements can EPA step in to promulgate its own federal

 implementation plan (“FIP”) for the State. Id. at §7410(c)(1). EPA has two years

 to do this, during which the State can correct deficiencies. Id.

         This is, at least, how the NAAQS are supposed to work. For the 2015 ozone

 NAAQS, most States submitted complete SIPs that met the requirements of the

 Clean Air Act. But while EPA was required to approve them within one year, EPA

 took no action for years. Instead, EPA developed new modeling that the States had

 no requirement or opportunity to address, and then disapproved the State’s SIPs

 largely based on this new modeling. See 88 Fed. Reg. 9,336 (Feb. 13, 2023)

 (Exhibit B) (“SIP Disapproval”).

         While not required to address this new modeling, even if States had been

 willing to submit revised SIPs, EPA gave no opportunity to do so before

 promulgating its FIP. EPA proposed FIP less than two months after proposing to

 disapprove the SIPs. 87 Fed. Reg. 20,036 (April 6, 2022) (Exhibit C) (“Proposed

 Rule”). The following year, EPA finalized both rules in quick succession,

 promulgating the SIP Disapproval just one month before signing the FIP.1 EPA’s

 approach made it effectively impossible for most States to submit acceptable SIPs.




 1
     See https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs.

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         EPA’s rush to finalize the Rule created significant additional problems.

 Procedurally, the finalized Rule departed significantly from the Proposed Rule in

 ways that were not logical outgrowths of the Proposed Rule. This included

 changing the modeling EPA used to support its regulatory action. As noted above,

 the Proposed Rule was improperly based on modeling that EPA developed after

 the States submitted their SIPs. When EPA finalized the Rule, it switched models

 yet again. See 88 Fed. Reg. at 36,673-74. The changes were significant. EPA

 incorporated “a raft of technical information and critiques” from comments on its

 prior modeling. Id. The status of some States changed entirely. See 88 Fed. Reg.

 at 9,367. More generally, the change in models redefined the emission reductions

 each state purportedly needed to address. Compare 87 Fed. Reg. at 20,071-72 with

 88 Fed. Reg. at 36,709-11. This, in turn, changed the legal and technical issues

 commenters would need to address for each State. Yet while EPA’s new modeling

 was central to the Rule, it was not subject to notice and comment. EPA released

 some of its results with the SIP Disapproval in February 2023, long after the close

 of public comment on the FIP. Even then, EPA inexplicably withheld a good

 portion of the modeling results, asserting they were “not applicable” to that

 rulemaking. 88 Fed. Reg. at 9,344, n.30. As a result, many of the results central to

 the Rule were not released until EPA posted them to its website in March 2023.2


 2
     See https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs.

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         For iron and steel mills, the finalized Rule had more surprises. While EPA

 proposed emission limits for reheat furnaces,3 the finalized Rule introduced a

 highly questionable “work plan” process instead, through which EPA asserts it will

 unilaterally “establish an emissions limit in the work plan that the affected unit

 must comply with.” 88 Fed. Reg. at 36,879, 40 CFR 52.43(d)(3). Specifically,

 iron and steel mills are to install costly pollution controls nebulously designed to

 reduce emissions by “at least 40%” from a baseline rate (which is to be established

 in the future), and then use a “test-and-set” approach (which is also to be

 established in the future) to support a final emission limit, which EPA will set

 without going through notice-and-comment rulemaking. Id. at 36,818, -28. The

 Rule provides no criteria to cabin the arbitrary exercise of the Administrator’s final

 decision-making authority, and the Rule sets out no process for challenging the

 Administrator’s final decision.

         For boilers at iron and steel mills, EPA proposed to regulate only those

 boilers that exceed an annual emissions threshold. 87 Fed. Reg. at 20,145. EPA

 proposed to use production capacity as an alternative applicability requirement. Id.

 In the finalized Rule, however, EPA uses “design capacity,” despite

 acknowledging that this “captured more units than the EPA intended.” 88 Fed.

 Reg. 36,819. While EPA also added exemptions for certain boilers, apparently to


 3
     See 87 Fed. Reg. at 20,145, Table VII.C–3.

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 try to address this over-inclusion, see id., these exemptions do not address many of

 the unsuspected, newly regulated boilers, and these exemptions were themselves

 not in the Proposed Rule or otherwise subject to notice and comment. Indeed,

 EPA asserted in the Proposed Rule that owners and operators “should begin

 engineering and financial planning now,” creating the clear (but false) impression

 that the Rule would not radically change both the emission units subject to the rule

 and the engineering and financial commitments needed to comply. 87 Fed. Reg. at

 20,036.

                            PROCEDURAL POSTURE

       Numerous petitioners have challenged EPA’s disapprovals of individual

 SIPs. To date, seven Circuits have stayed EPA’s SIP Disapproval for twelve

 States.4 An additional motion for stay is pending.5 Since SIP disapproval is a

 prerequisite for EPA to promulgate its FIP, 42 U.S.C. §7410(c)(1), EPA has




 4
   Unpublished Order, Texas v. EPA, No. 23-60069, ECF 269-1 (5th Cir. May 1,
 2023); Order, Arkansas v. EPA, No. 23-1320, ECF 5280996 (8th Cir. May 25,
 2023); Order, Missouri v. EPA, No. 23-1719, ECF 5281126 (8th Cir. May 26,
 2023); Unpublished Order, Texas v. EPA, No. 23-60069, ECF 359-2 (5th Cir. June
 8, 2023); Nevada Cement Co. v. EPA, No. 23-682, ECF 27.1 (9th Cir. July 3,
 2023); Order, ALLETE, Inc. v. EPA, No. 23-1776 (8th Cir. July 5, 2023); Order,
 Kentucky v. EPA, No. 23-3216, ECF 39-2 (6th Cir. July 25, 2023); Order, Utah v.
 EPA, No. 23-9509, ECF 010110895101 (10th Cir. July 27, 2023); Interim Stay
 Order, West Virginia v. EPA, No. 23-01418, ECF 39 (4th Cir. Aug. 10, 2023);
 Order, Alabama v. EPA, No. 23-11173 (11th Cir. Aug. 17, 2023).
 5
   See Ohio v. EPA, Case No. 23-1183 (D.C. Cir).

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 recognized it must stay the Rule for States in which its SIP disapproval is stayed.6

 EPA’s approach, however, has been to stay only the effective date of the Rule in

 these States, while leaving all other deadlines unchanged. Id. The result is a set of

 springing obligations that could apply at any time if the SIP stays are lifted.

       For the remaining States subject to the Rule, EPA has taken no action, and

 appears set on applying the Rule as promulgated. This results in a Rule that is

 neither efficient nor equitable.

       U. S. Steel petitioned for reconsideration and stay of the Rule on August 4,

 2023. Exhibit K. EPA acknowledged receipt on August 14, 2023, but has not

 otherwise responded to U. S. Steel’s petition.

                             STANDARD OF REVIEW

       Courts consider four factors when determining whether to grant a stay:

       (1) likelihood of success on the merits;

       (2) the movant’s irreparable injury;

       (3) potential harm to other parties; and

       (4) the public interest.




 6
   See 88 Fed. Reg. 49,295 (July 31, 2023) (Exhibit H); Notice of Forthcoming EPA
 Action to Address Additional Judicial Stay Orders,
 https://www.epa.gov/system/files/documents/2023-08/23-02403-OAR-
 OAP%20__Memo%20from%20J.%20Goffman%20re%20Response%20to%20Fur
 ther%20Stay%20Orders%20_JG%20Signed%20%282%29.pdf (Aug. 2, 2023)
 (Exhibit I).

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 Nken v. Holder, 556 U.S. 418, 434 (2009). When the government is the opposing

 party, however, the third and fourth factors merge. Id. at 435.

                                    ARGUMENT

 I.    U. S. Steel is Likely to Prevail on the Merits.

       Because the Rule is legally, factually, and procedurally flawed, U. S. Steel is

 likely to prevail on the merits. EPA itself asserts that applying the Rule “across all

 jurisdictions” is “vital” to its “efficien[cy] and equit[y].” 88 Fed. Reg. at 36,691

 (quotations omitted). While the Rule was never efficient or equitable, EPA cannot

 now apply the Rule in twelve States, undermining its own assertions of a viable

 Rule. The Rule was also not promulgated in accordance with law. It was based on

 a misinterpretation of EPA’s statutory role and was rushed to the point that it

 violates the core tenets of cooperative federalism on which the Clean Air Act is

 based. For the iron and steel industry, the FIP lacks a factual basis for the

 requirements it imposes, and a substantial portion of the Rule was created after the

 close of public comment and with no notice or opportunity for public

 participation—just as EPA did with the States in disapproving the SIPs.

       A.     The Rule is No Longer Sustainable.

       When EPA published the Rule, it addressed 23 States. 88 Fed. Reg. at

 36,654. EPA repeatedly relied on this broad geographic reach, and the uniform

 application of requirements to each State, to support the level of emission

 reductions required by the Rule, to avoid generation and production shifting to less

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 regulated States, to assure electric generation reliability, and to generally avoid

 inequity and undue hardship on industry, the States, and the nation. See, e.g., 88

 Fed. Reg. at 36,673, 36,691, 36,713, 36,716, 36,746. U. S. Steel and others

 challenged the accuracy of EPA’s assertions. See United States Steel Corporation

 Comments on Proposed Federal Implementation Plan, EPA-HQ-OAR-2021-0668-

 0798 (June 21, 2022) (Exhibit D). But by EPA’s own admission “consistency in

 rule requirements across all jurisdictions” was “vital” to ensuring the rule was

 “efficient and equitable.” 88 Fed. Reg. at 36,691 (quotations omitted). Under

 even EPA’s interpretation, therefore, there is nothing “efficient and equitable” in

 the Rule as it currently stands.

       As of the filing of this Motion, the Rule does not now apply in over half the

 States that EPA used to justify the Rule. See footnote 2, supra. Moreover, because

 stays are predicated on likelihood of success on the merits, see Nken, 556 U.S. at

 434, it is likely the Rule will never apply in some or all of these States. This alone

 renders the Rule arbitrary and capricious. Motor Vehicle Mfrs. Ass’n. of U.S., Inc.

 v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); Sierra Club v. EPA, 884

 F. 3d 1185, 1198 (D.C. Cir. 2018) (arbitrary and capricious to rely on assumptions

 that are counter to the evidence).




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       B.     The Rule Violates the Clean Air Act and Cooperative Federalism.

       EPA must follow both the letter of the Clean Air Act and interpret its

 obligations “with a view to their place in the overall statutory scheme.” Util. Air

 Regul. Grp. v. EPA, 573 U.S. 302, 322 (2014) (quotation omitted). EPA violated

 both the letter and spirit of the Act when it delayed its statutory duty to approve

 SIPs, not because of inconsistency with the Act, but because EPA preferred

 different modeling, and then rushed out a FIP before the States could address

 EPA’s SIP disapprovals.

       The Clean Air Act is “an experiment in cooperative federalism.” Michigan

 v. EPA, 268 F.3d 1075, 1083 (D.C. Cir. 2001). EPA sets the NAAQS, but the

 States are given “primary responsibility” for ensuring emissions within the State

 comply with them. 42 U.S.C. §7407(a). EPA has 12 months to review complete

 SIPs to determine if they meet the applicable statutory requirements. 42 U.S.C.

 §7410(k)(2). If they do, EPA must approve them. Id. at §7410(k)(3).

       The majority of States subject to the Rule submitted SIPs that met the

 applicable statutory requirements. EPA was therefore required to approve them.

 Id. Instead, EPA delayed for years until it had produced new modeling it

 contended undermined the States’ analyses. But failure to timely act on a SIP does

 not empower EPA to disregard its statutory obligations, let alone permit EPA to

 move the goalposts on the States after the fact, or require them to address new



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 modeling that was not mandated by the Clean Air Act. See Wyoming v. EPA, No.

 14-9529, 2023 WL 5214083, at *6 (10th Cir. Aug. 15, 2023) (approving a SIP only

 if it followed nonbinding guidelines would “effectively re-write the Act”). In

 doing so, EPA improperly extended its FIP authority to States that had properly

 retained their primary regulatory authority.

         EPA then compounded its error by rushing to simultaneously promulgate its

 FIP. The Clean Air Act sets no minimum time EPA must wait after disapproving a

 SIP before it can issue a FIP,7 but Congress clearly intended cooperative

 federalism to apply during this time; it expressly gave States the ability to correct

 deficiencies, and prevent EPA from promulgating a FIP, if correction is approved

 before EPA promulgates its FIP. 42 U.S.C. §7410(c)(1). By simultaneously

 promulgating its own FIP with the SIP disapprovals, EPA cut off all meaningful

 opportunity for States to serve the role intended by Congress and failed to honor

 EPA’s secondary role in the statutory scheme. Util. Air Regul. Grp., 573 U.S. at

 322; 42 U.S.C. §7407(a); Train v. Natural Resources Defense Council, Inc., 421

 U.S. 60, 79 (1975) (the Clean Air Act “plainly” relegates EPA to “a secondary

 role”).




 7
     EME Homer, 572 U.S. at 509.

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       C.     EPA Did Not Support the Regulation of Iron and Steel Mills.

       EPA is obligated to avoid over-control (imposing more obligations on

 upwind States than necessary to meet the requirements of the Clean Air Act).

 EME Homer, 572 U.S. at 523. Thus, the Rule does not regulate every source in

 each applicable State. Instead, EPA attempted to focus on “the most impactful

 industries and emissions units.” 88 Fed. Reg. at 36,682. EPA started with electric

 generating units (“EGUs”), then screened 41 so-called “non-EGU” industries to

 identify “the most emissions reductions” that could be achieved at a marginal cost

 threshold. Screening Assessment of Potential Emission Reductions, Air Quality

 Impacts, and Costs from Non-EGU Emissions Units for 2026, at 2 (Feb. 28, 2022)

 (Exhibit E) (“Screening Assessment”). “[W]ell-controlled sources” were expressly

 “excluded from consideration.” Id. at 3.

       For the Screening Assessment, EPA assumed, incorrectly, that emissions

 from numerous sources at iron and steel mills, including co-fired boilers, blast

 furnaces, and basic oxygen furnaces, had “potentially controllable emissions” that,

 when combined, led EPA to conclude it should be one of nine non-EGU industries

 subject to the FIP. See id. at 17, Table 6. In the Rule, EPA appropriately

 recognizes that additional emission reductions from most of these sources are not

 technologically or economically feasible. See 88 Fed. Reg. at 36,827 (“the data we

 have reviewed is insufficient at this time to support a generalized conclusion that



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 the application of…control technologies…is currently both technically feasible and

 cost effective on a fleetwide basis for these emission source types in this

 industry”); id. at 36,833 (“The EPA does not have sufficient information at this

 time to conclude that [boilers] burning more than 10 percent fuels other than coal,

 residual or distillate oil, or natural gas can operate the necessary controls

 effectively and at a reasonable cost.”). The Rule therefore regulates only reheat

 furnaces and certain boilers. 88 Fed. Reg. at 36,664. As a result, the Screening

 Assessment significantly overcounted emissions from iron and steel mills.

       This required updating before EPA relied on the Screening Assessment in

 the Rule. EPA did not release sufficient data with the Screening Assessment for

 the public to reconstruct EPA’s assessment with just sources subject to the

 finalized Rule,8 but re-assessment would likely support excluding iron and steel

 from the Rule; it was already the lowest-emitting industry included in the FIP

 before excluding most source categories. See Screening Assessment at Table A-3.

 Yet while EPA conducted a supplemental screening assessment for another

 industry, EPA did not do so for iron and steel. 88 Fed. Reg. at 36,734. Instead,

 EPA continued to rely on its original, obsolete, and incorrect, Screening

 Assessment. 88 Fed. Reg. at 36,732-33. This resulted in the inconsistent treatment



 8
  This alone raises notice and comment problems, as raised by U. S. Steel in its
 comments. Exhibit D at 11, 15-16.

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 of iron and steel mills as compared with other industries with comparable

 “potentially controllable emissions,” and, ultimately, in a rule that is inconsistent

 with the record. State Farm, 463 U.S. at 43 (arbitrary and capricious to offer an

 explanation that “runs counter to the evidence before the agency”).

       D.     The Rule Was Not Subject to Adequate Notice and Comment.

       If “documents of central importance upon which EPA intended to rely had

 been entered on the docket too late for any meaningful public comment prior to

 promulgation, then both the structure and spirit of [Clean Air Act] section 307

 would have been violated.” Sierra Club v. Costle, 657 F.2d 298, 398 (D.C. Cir.

 1981). Several aspects of the Rule rely on information that EPA did not include in

 the public record in time for meaningful public comment.

       The most generally applicable example is the modeling EPA used to support

 the Rule. This modeling was central both to EPA determination of which States

 would be subject to the Rule and the level of emission reductions the States need to

 achieve. See 88 Fed. Reg. at 36,673-74. But this modeling was not published until

 months after the close of public comment, with a significant portion made

 available only with the final Rule. Id. This was “highly improper.” Small Ref.

 Lead Phase-Down Task Force v. EPA, 705 F.2d 508, 540 (D.C. Cir. 1983); see

 also Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C. Cir. 1982) (the “safety

 valves in the use of such sophisticated methodology [as computer modeling] are



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 the requirement of public exposure of the assumptions and data incorporated into

 the analysis and the acceptance and consideration of public comment.”) (quotations

 omitted).

       EPA has argued the public had access to other models. 88 Fed. Reg. at

 36,674. But the modeling EPA used for its final Rule differs significantly from

 prior modeling. Petitioners, including U. S. Steel, have already raised technical

 flaws specific to EPA’s latest modeling, including: (1) errors in the data EPA used

 for the model; (2) substantial bias at locations material to EPA’s conclusions; and

 (3) systematic overprediction of emissions from several States that, if corrected,

 could change the applicability of the FIP. See Petition for Reconsideration and

 Stay, EPA-HQ-OAR-2021-0663-0091 (April 14, 2023) (Exhibit F); Petition for

 Reconsideration and Stay of the Good Neighbor Plan (Aug. 4, 2023) (Exhibit G).

 EPA has itself recently solicited public comment on its new modeling, but only as

 applied to one State, Wyoming. 88 Fed. Reg. 54,998 (Aug. 14, 2023) (Exhibit J).

 EPA offers no reasons why an additional comment period is necessary for

 Wyoming but not States subject to the Rule. Id.

       Key aspects of the Rule applicable to iron and steel mills were also neither

 referenced in, nor logical outgrowths from, the Proposed Rule. Under both the

 Clean Air Act and Administrative Procedure Act, “the final rule must be a ‘logical

 outgrowth’ of the agency’s proposal.” Small Ref., 705 F2d at 543 (quoting United



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 Steelworkers v. Marshall, 647 F.2d 1189, 1221 (D.C. Cir. 1980), cert. denied, 453

 U.S. 913 (1981)). The entire regulation of reheat furnaces (40 CFR 52.43) is based

 on a “test-and-set” approach that can be found nowhere in the Proposed Rule.

 88 Fed. Reg. at 36,818. For boilers, EPA proposed to regulate units based on

 annual emissions or production. 87 Fed. Reg. at 20,181. Yet without notice, EPA

 switched to regulating boilers by “design capacity.” 88 Fed. Reg. at 36,884. This

 was a significant departure, which EPA acknowledges captured more boilers than

 originally proposed. Id. at 36,819.

       EPA did not afford notice and opportunity for comment on the most

 fundamental elements of its reheat furnace and boiler regulations for iron and steel

 mills. This was arbitrary and capricious and violated the procedural requirements

 of the Clean Air Act. Small Ref., 705 F.2d at 543; 42 U.S.C. §7607(d).

       E.     EPA’s “Test-And-Set” Approach Reheat Furnaces Is Illegal and
              Lacks Record Support.

       EPA’s test-and-set approach for reheat furnaces was adopted in response to

 comments that the emission limits in the Proposed Rule were unsupported by the

 record. 88 Fed. Reg. at 36,818. In response, EPA correctly concluded that the

 proposed limits were unsupported. But while this justified removal of reheat

 furnaces from the Rule, EPA instead implemented a process that attempts to

 circumvent the lack of sufficient data by requiring owners and operators to install

 controls, then send EPA data to support a future emission limit. Id. This offers


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 flexibility at the cost of statutory protections that EPA has no authority to remove.

 It also confers on EPA a power to decide who can and cannot operate that the

 Clean Air Act never intended.

       Specifically, the Rule requires owners and operators to “install and operate”

 pollution control technology “designed to achieve at least a 40% reduction from

 baseline” emissions. 88 Fed. Reg. at 36,879, 40 CFR 52.43(c). No further

 guidance is offered on what designs will be accepted by EPA. The Rule also does

 not say how an emission limit is then to be set, other than that the owner or

 operator is to submit a work plan and “establish an emissions limit in the work plan

 that the affected unit must comply with.” Id., 40 CFR 52.43(d)(3).

       The 40% design requirement is itself arbitrary, since EPA claims it is based

 on installation of a technology, “low-NOx burners,” that EPA asserted in the

 Proposed Rule achieved only a 20% reduction. See 87 Fed. Reg. at 20,145, Table

 VII.C-3. But beyond this, the entire work plan process is legally unsound. If EPA

 lacks the relevant data to support an action, it cannot act. State Farm, 463 U.S. at

 43 (an agency must offer a “rational connection between the facts found and the

 choice made”) (quotations omitted). EPA cannot promulgate a placeholder, and

 then add information to support its decision after the fact. Id.; 42 U.S.C.

 §7607(d)(6)(C) (“The promulgated rule may not be based (in part or whole) on any




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 information or data which has not been placed in the docket as of the date of such

 promulgation.”).

       The Clean Air Act also sets forth procedural requirements EPA must follow

 to impose emission limits in a FIP. 42 U.S.C. §7607(d). This includes publication

 of the proposed rule in the Federal Register, provision of a statement of basis and

 purposes, creation of a public docket of supporting material, public comment, and

 response to significant comments. Id. at §7410(d)(3)-(6). Public participation

 must be for “a reasonable period” and “at least 30 days” unless expressly provided

 for otherwise in the Clean Air Act. Id. at §7607(h). Final emission limitations are

 also subject to judicial review. Id. at §7410(d)(7). For example, when EPA

 adopted a test-and-set process in another FIP, it promulgated a range of emission

 limits, a procedure to establishing final limits within that range, including the data

 and equations that would be used, and provided that a final emission limit would

 become enforceable “only after EPA’s confirmation or modification of the

 emission limit” in a final agency action published in the Federal Register. See,

 e.g., 40 CFR 42.1235(b)(1)(ii)(A)(1)-(7).

       The Rule provides no such process. There is no publication of proposed or

 final emission limits in the Federal Register; the Administrator will simply notify

 owners and operators electronically whether their plan is approved. 88 Fed. Reg.

 at 36,880, 40 CFR 52.43(d)(4)(iv). If the Administrator does not approve, the



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 owner or operator has only 15 calendar days to present additional information or

 arguments, after which the Administrator can issue a final decision disapproving

 the work plan. Id., 40 CFR 52.43(d)(4)(iii). If the Administrator disapproves a

 work plan or finds a work plan was not timely submitted or completed, “[e]ach day

 that the affected unit operates following such disapproval or failure to submit shall

 constitute a violation.” Id., 40 CFR 52.43(d)(v).

        In other words, EPA can prohibit operation on 15 days’ notice without a

 hearing or notice-and-comment rulemaking. This finds no support in the Clean Air

 Act. Indeed, where Congress has granted EPA authority to limit emissions from

 specific sources to address interstate transport violations, Congress required both a

 public hearing and at least three months for the source to come into compliance.

 42 U.S.C. §7426(b). EPA’s regulations for reheat furnaces fall short of this

 process and any other process that might satisfy the requirements of the Clean Air

 Act.

 II.    Absent a Stay, U. S. Steel Will Suffer Imminent Irreparable Harm.

        The Rule poses substantial and imminent injuries to U. S. Steel. EPA itself

 warned owners and operators that they should “begin engineering and financial

 planning” as of the date of the Proposed Rule to be able to meet EPA’s

 implementation timetable. 87 Fed. Reg. at 20,036. Notwithstanding the fact that it

 is unreasonable to suggest that significant funds and resources be used to



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 implement a proposed rule that is subject to change (as the Rule has changed), the

 Rule followed through on EPA’s threat, and imposes an unreasonably short

 schedule. As discussed in the attached Declaration of Alexis Piscitelli, at ¶¶6-10

 (Exhibit L), the Rule allows insufficient time for design, permitting, and

 installation of controls; likely years less than what will be required. As a result,

 absent a stay, U. S. Steel cannot wait before it must incur substantial costs on work

 plans that EPA does not have the authority to impose, and on the design,

 permitting and installation of boiler and reheat furnace modifications that are

 unnecessary and may be subject to withdrawal or modification in a revised rule.

 These substantial costs are imposed without adherence to law and constitute an

 irreparable harm. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 220-21

 (1994) (“complying with a regulation later held invalid almost always produces the

 irreparable harm of nonrecoverable compliance costs”) (Scalia, J., concurring in

 part and in the judgment).

       U. S. Steel has already needed to incur significant costs to begin addressing

 the Rule’s requirements. Exhibit L at ¶¶3, 11-20. The capital expenditures alone

 (excluding testing, monitoring, recordkeeping, and reporting costs) for just one

 U. S. Steel facility will cost between $28 and $46 million. Id. at ¶15. These costs

 are not recoverable “in the ordinary course of litigation,” and are an irreparable




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 harm as well. Mexichem Specialty Resins, Inc. v. EPA, 787 F.3d 544, 555 (D.C.

 Cir. 2015) (quotations omitted).

 III.   A Stay Will Not Significantly Injure Other Parties and Is in the Public
        Interest.

        While costs would need to be incurred to meet EPA’s unreasonable

 schedule, emissions reductions from iron and steel sources do not occur until 2026.

 88 Fed. Reg. at 36,654. As a result, a stay will not affect emissions during judicial

 review. As discussed above, EPA’s defective Screening Analysis also

 significantly overstated potential emission reductions from the iron and steel

 industry. A more accurate assessment likely excludes iron and steel entirely,

 resulting in no harm from a stay. The Rule is also stayed already in 12 States, so a

 stay will not affect emissions from reheat furnaces and boilers in those States

 during that litigation.

        On the other hand, a reliable and sufficient supply of domestic steel is in the

 public interest. The cumulative effect of the immediate burdens of the Rule, with

 several other regulations EPA has imposed or proposed for the domestic steel

 industry, is having a compounding effect that places unnecessary strain on

 domestic steel production. See Exhibit L at ¶¶21-29. This has both national

 economic and national security implications. See id. To comply with the Rule,

 U. S. Steel will need to take multiple outages to retrofit reheat furnaces and boilers.

 These outages will impact production capabilities and may lead to the flaring of


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 by-product fuels. See id. at ¶¶18-19. Furthermore, the availability of qualified

 vendors and experts to implement the Rule is limited, which exacerbates the

 scheduling problems, further rendering the Rule unworkable. Id. at ¶¶6-10.

       The public also has a fundamental interest “in having governmental agencies

 abide by the federal laws that govern their existence and operations.” League of

 Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). As discussed

 above, the Rule is without statutory authority and was promulgated through the

 inequitable exclusion of public participation on information central to EPA’s

 action. The result will be costly and needless public expenditures, both by

 U. S. Steel and the States that must act on the hundreds of permit applications the

 Rule requires. Here, a stay is necessary to prevent this waste and avoid

 implementation of an unlawful rule pending judicial review. Id. at 12 (“there is

 generally no public interest in the perpetuation of unlawful agency action”).

                                  CONCLUSION

       For the foregoing reasons, Petitioner United States Steel Corporation

 respectfully requests that this Court stay the Rule for reheat furnaces (40 CFR

 52.43) and boilers at iron and steel mills (40 CFR 52.45).

  August 22, 2023                           Respectfully Submitted,

                                            /s/ John D. Lazzaretti
                                            John D. Lazzaretti
                                            Squire Patton Boggs (US) LLP
                                            1000 Key Tower


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                                         Steel Corporation




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                             Certificate of Compliance

        Pursuant to Fed. R. App. P. 32(a)(5)-(7) and D.C. Circuit Rules 27(a)(2) and

 32, I certify that:

        This motion complies with the type-volume limitations of Fed. R. App. P.

 27(d)(2)(A) because it contains 5,184 words, excluding the parts of the motion

 exempted by Fed. R. App. P. 32(f) and 27(a)(2)(B).

        This motion complies with the typeface and type style requirements of Fed.

 R. App. P. 27(d)(1)(E) because this brief has been prepared in a proportionately

 spaced typeface using Microsoft Word Times New Roman 14-point font.

  Dated: August 22, 2023                    /s/ John D. Lazzaretti
                                            John D. Lazzaretti




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                               Certificate of Service

       I hereby certify that on this 22 day of August, 2023, I filed the foregoing

 Motion for Stay with the Clerk of the Court using the CM/ECF System, which will

 send notice of such filing to all registered CM/ECF users.

  Dated: August 22, 2023                    /s/ John D. Lazzaretti
                                            John D. Lazzaretti




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                                     (D.C. Cir.)

                                 Index of Exhibits

  Exhibit A     Federal “Good Neighbor Plan” for the 2015 Ozone National
                Ambient Air Quality Standards, 88 Fed. Reg. 36,654 (June 5,
                2023)

  Exhibit B     Air Plan Disapprovals; Interstate Transport for Air Pollution for
                the 2015 8-Hour Ozone National Ambient Air Quality Standards,
                88 Fed. Reg. 9,336 (Feb. 13, 2023)

  Exhibit C     Federal Implementation Plan Addressing Regional Ozone
                Transport for the 2015 Ozone National Ambient Air Quality
                Standard, 87 Fed. Reg. 20,036 (Apr. 6, 2022)

  Exhibit D     United States Steel Corporation Comments on Proposed Federal
                Implementation Plan, EPA-HQ-OAR-2021-0668-0798 (June 21,
                2022)

  Exhibit E     Screening Assessment of Potential Emissions Reductions, Air
                Quality Impacts, and Costs from Non-EGU Emissions Units for
                2026 (Feb. 28, 2022)

  Exhibit F     Petition for Reconsideration and Stay, EPA-HQ-OAR-2021-0663-
                0091 (April 14, 2023).

  Exhibit G     Petition for Reconsideration and Stay of the Final Rule: Federal
                “Good Neighbor Plan” for the 2015 Ozone National Ambient Air
                Quality Standards (Aug. 4, 2023)

  Exhibit H     Federal ‘‘Good Neighbor Plan’’ for the 2015 Ozone National
                Ambient Air Quality Standards; Response to Judicial Stays of SIP
                Disapproval Action for Certain States, 88 Fed. Reg. 49,295 (July
                31, 2023)

  Exhibit I     Notice of Forthcoming EPA Action to Address Additional Stay
                Orders (Aug. 2, 2023)
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  Exhibit J   Air Plan Approval; Wyoming; Interstate Transport of Air
              Pollution for the 2015 8-Hour Ozone National Ambient Air
              Quality Standards, 88 Fed. Reg. 54,998 (Aug. 14, 2023)

  Exhibit K   Petition For Reconsideration and for Stay of the Federal “Good
              Neighbor Plan” for the 2015 Ozone National Ambient Air Quality
              Standards (Aug. 4, 2023)

  Exhibit L   Declaration of Alexis Piscitelli in Support of United States Steel
              Corporation’s Motion for Stay (Aug. 22, 2023)
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  Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                     (D.C. Cir.)

                                    Exhibit A

     Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient Air
              Quality Standards, 88 Fed. Reg. 36,654 (June 5, 2023)
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                                                 ENVIRONMENTAL PROTECTION                                information is not publicly available,                 CoST Control Strategy Tool
                                                 AGENCY                                                  e.g., Confidential Business Information                CPT Cost Per Ton
                                                                                                         or other information whose disclosure is               CRA Congressional Review Act
                                                 40 CFR Parts 52, 75, 78, and 97                         restricted by statute. Certain other                   CSAPR Cross-State Air Pollution Rule
                                                                                                                                                                DAHS Data Acquisition and Handling
                                                 [EPA–HQ–OAR–2021–0668; FRL–8670–02–                     material, such as copyrighted material,                  System
                                                 OAR]                                                    will be publicly available only in hard                DOE Department of Energy
                                                                                                         copy. Publicly available docket                        EAF Electric Arc Furnace
                                                 RIN 2060–AV51                                           materials are available either                         EGU Electric Generating Unit
                                                                                                         electronically at https://                             EIA U.S. Energy Information Agency
                                                 Federal ‘‘Good Neighbor Plan’’ for the
                                                                                                         www.regulations.gov or in hard copy at                 EIS Emissions Inventory System
                                                 2015 Ozone National Ambient Air                                                                                EISA Energy Independence and Security
                                                                                                         the U.S. Environmental Protection
                                                 Quality Standards                                                                                                Act
                                                                                                         Agency, EPA Docket Center, William
                                                 AGENCY: Environmental Protection                        Jefferson Clinton West Building, Room                  ELG Effluent Limitation Guidelines
                                                 Agency (EPA).                                           3334, 1301 Constitution Ave. NW,                       E.O. Executive Order
                                                                                                                                                                EPA or the Agency United States
                                                 ACTION: Final rule.                                     Washington, DC. The Public Reading
                                                                                                                                                                  Environmental Protection Agency
                                                                                                         Room is open from 8:30 a.m. to 4:30                    ERT Electronic Reporting Tool
                                                 SUMMARY: This action finalizes Federal                  p.m., Monday through Friday, excluding                 FERC Federal Energy Regulatory
                                                 Implementation Plan (FIP) requirements                  legal holidays. The telephone number                     Commission
                                                 to address 23 states’ obligations to                    for the Public Reading Room is (202)                   FFS Findings of Failure to Submit
                                                 eliminate significant contribution to                   566–1744, and the telephone number for                 FIP Federal Implementation Plan
                                                 nonattainment, or interference with                     the Office of Air and Radiation Docket                 GIS Geographic Information System
                                                 maintenance, of the 2015 ozone                          is (202) 566–1742.                                     g/hp-hr grams per horsepower per hour
                                                 National Ambient Air Quality Standards                                                                         HDGHG Greenhouse Gas Emissions and
                                                                                                         FOR FURTHER INFORMATION CONTACT: Ms.
                                                 (NAAQS) in other states. The U.S.                                                                                Fuel Efficiency Standards for Medium- and
                                                                                                         Elizabeth Selbst, Air Quality Policy                     Heavy-Duty Engines and Vehicles
                                                 Environmental Protection Agency (EPA)                   Division, Office of Air Quality Planning               HEDD High Electricity Demand Days
                                                 is taking this action under the ‘‘good                  and Standards (C539–01),                               ICI Industrial, Commercial, and
                                                 neighbor’’ or ‘‘interstate transport’’                  Environmental Protection Agency, 109                     Institutional
                                                 provision of the Clean Air Act (CAA or                  TW Alexander Drive, Research Triangle                  I/M Inspection and Maintenance
                                                 Act). The Agency is defining the amount                 Park, NC 27711; telephone number:                      IPM Integrated Planning Model
                                                 of ozone-precursor emissions                            (312) 886–4746; email address:                         IRA Inflation Reduction Act
                                                 (specifically, nitrogen oxides) that                    selbst.elizabeth@epa.gov.                              LAER Lowest Achievable Emission Rate
                                                 constitute significant contribution to                                                                         LDC Local Distribution Company
                                                                                                         SUPPLEMENTARY INFORMATION:
                                                 nonattainment and interference with                                                                            LME Low Mass Emissions
                                                 maintenance from these 23 states. With                  Preamble Glossary of Terms and                         LNB Low-NOX Burners
                                                 respect to fossil fuel-fired power plants               Abbreviations                                          MATS Mercury and Air Toxics Standards
                                                 in 22 states, this action will prohibit                                                                        MCM Menu of Control Measures
                                                                                                           The following are abbreviations of                   MDA8 Maximum Daily Average 8-Hour
                                                 those emissions by implementing an                      terms used in the preamble.                            MJO Multi-Jurisdictional Organization
                                                 allowance-based trading program                                                                                MOU Memorandum of Understanding
                                                 beginning in the 2023 ozone season.                     2016v1 2016 Version 1 Emissions Modeling
                                                                                                           Platform                                             MOVES Motor Vehicle Emissions Simulator
                                                 With respect to certain other industrial                2016v2 2016 Version 2 Emissions Modeling               MSAT2 Mobile Source Air Toxics Rule
                                                 stationary sources in 20 states, this                     Platform                                             MWC Municipal Waste Combustor
                                                 action will prohibit those emissions                    4-Step Framework 4-Step Interstate                     NAAQS National Ambient Air Quality
                                                 through emissions limitations and                         Transport Framework                                    Standards
                                                 associated requirements beginning in                    ABC Associated Builders and Contractors                NACAA National Association of Clean Air
                                                 the 2026 ozone season. These industrial                 ACS American Community Survey                            Agencies
                                                 source types are: reciprocating internal                ACT Alternative Control Techniques                     NAICS North American Industry
                                                                                                         AEO Annual Energy Outlook                                Classification System
                                                 combustion engines in Pipeline                                                                                 NEEDS National Electric Energy Data
                                                 Transportation of Natural Gas; kilns in                 AQAT Air Quality Assessment Tool
                                                                                                         AQS Air Quality System                                   System
                                                 Cement and Cement Product                               BACT Best Available Control Technology                 NEI National Emissions Inventory
                                                 Manufacturing; reheat furnaces in Iron                  BART Best Available Retrofit Technology                NERC North American Electric Reliability
                                                 and Steel Mills and Ferroalloy                          BOF Basic Oxygen Furnace                                 Corporation
                                                 Manufacturing; furnaces in Glass and                    BPT Benefit Per Ton                                    NESHAP National Emissions Standards for
                                                 Glass Product Manufacturing; boilers in                 C1C2 Category 1 and Category 2                           Hazardous Air Pollutants
                                                 Iron and Steel Mills and Ferroalloy                     C3 Category 3                                          NMB Normalized Mean Bias
                                                 Manufacturing, Metal Ore Mining, Basic                  CAA or Act Clean Air Act                               NME Normalized Mean Error
                                                 Chemical Manufacturing, Petroleum and                   CAIR Clean Air Interstate Rule                         No SISNOSE No Significant Economic
                                                                                                         CBI Confidential Business Information                    Impact on a Substantial Number of Small
                                                 Coal Products Manufacturing, and Pulp,                                                                           Entities
                                                                                                         CCR Coal Combustion Residual
                                                 Paper, and Paperboard Mills; and                        CDC Centers for Disease Control and                    Non-EGU Non-Electric Generating Unit
                                                 combustors and incinerators in Solid                      Prevention                                           NODA Notice of Data Availability
                                                 Waste Combustors and Incinerators.                      CDX Central Data Exchange                              NOX Nitrogen Oxides
                                                 DATES: This final rule is effective on                  CEDRI Compliance and Emissions Data                    NREL National Renewable Energy Lab
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                                                 August 4, 2023.                                           Reporting Interface                                  NSCR Non-Selective Catalytic Reduction
                                                                                                         CEMS Continuous Emissions Monitoring                   NSPS New Source Performance Standard
                                                 ADDRESSES: The EPA has established a
                                                                                                           Systems                                              NSR New Source Review
                                                 docket for this rulemaking under Docket                 CES Clean Energy Standards                             NTTAA National Technology Transfer and
                                                 ID No. EPA–HQ–OAR–2021–0668. All                        CFB Circulating Fluidized Bed Units                      Advancement Act
                                                 documents in the docket are listed in                   CHP Combined Heat and Power                            OFA Over-Fire Air
                                                 the https://www.regulations.gov index.                  CMDB Control Measures Database                         OMB United States Office of Management
                                                 Although listed in the index, some                      CMV Commercial Marine Vehicle                            and Budget



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                                                 OSAT/APCA Ozone Source Apportionment                      a. Step 1 Approach                                     e. Installing New SCRs
                                                   Technology/Anthropogenic Precursor                      b. Step 2 Approach                                     f. Generation Shifting
                                                   Culpability Analysis                                    c. Step 3 Approach                                     g. Other EGU Mitigation Measures
                                                 OTC Ozone Transport Commission                            d. Step 4 Approach                                     2. Non-EGU or Stationary Industrial Source
                                                 OTR Ozone Transport Region                                2. FIP Authority for Each State Covered by                NOX Mitigation Strategies
                                                 OTSA Oklahoma Tribal Statistical Area                        the Rule                                            3. Other Stationary Sources NOX
                                                 PDF Portable Document Format                              C. Other CAA Authorities for This Action                  Mitigation Strategies
                                                 PEMS Predictive Emissions Monitoring                      1. Withdrawal of Proposed Error Correction             a. Municipal Solid Waste Units
                                                   Systems                                                    for Delaware                                        b. Electric Generating Units Less Than or
                                                 PM2.5 Fine Particulate Matter                             2. Application of Rule in Indian Country                  Equal to 25 MW
                                                 ppb parts per billion                                        and Necessary or Appropriate Finding                c. Cogeneration Units
                                                 ppm parts per million                                     a. Indian Country Subject to Tribal                    4. Mobile Source NOX Mitigation Strategies
                                                 ppmv parts per million by volume                             Jurisdiction                                        C. Control Stringencies Represented by
                                                 ppmvd parts per million by volume, dry                    b. Indian Country Subject to State                        Cost Threshold ($ per ton) and
                                                 PRA Paperwork Reduction Act                                  Implementation Planning Authority                      Corresponding Emissions Reductions
                                                 PSD Prevention of Significant Deterioration               D. Severability                                        1. EGU Emissions Reduction Potential by
                                                 PTE Potential to Emit                                   IV. Analyzing Downwind Air Quality                          Cost Threshold
                                                 RACT Reasonably Available Control                            Problems and Contributions From                     2. Non-EGU or Industrial Source Emissions
                                                   Technology                                                 Upwind States                                          Reduction Potential
                                                 RATA Relative Accuracy Test Audit                         A. Selection of Analytic Years for                     D. Assessing Cost, EGU and Industrial
                                                 RCF Relative Contribution Factor                             Evaluating Ozone Transport                             Source NOX Reductions, and Air Quality
                                                 RFA Regulatory Flexibility Act                               Contributions to Downwind Air Quality               1. EGU Assessment
                                                 RICE Reciprocating Internal Combustion                       Problems                                            2. Stationary Industrial Sources
                                                   Engines                                                 B. Overview of Air Quality Modeling                       Assessment
                                                 ROP Rate of Progress                                         Platform                                            3. Combined EGU and Non-EGU
                                                 RPS Renewable Portfolio Standards                         C. Emissions Inventories                                  Assessment
                                                 RRF Relative Response Factor                              1. Foundation Emissions Inventory Data                 4. Over-Control Analysis
                                                 RTC Response to Comments                                     Sets                                              VI. Implementation of Emissions Reductions
                                                 RTO Regional Transmission Organization                    2. Development of Emissions Inventories                A. NOX Reduction Implementation
                                                 SAFETEA Safe, Accountable, Flexible,                         for EGUs                                               Schedule
                                                   Efficient, Transportation Equity Act                    a. EGU Emissions Inventories Supporting                1. 2023–2025: EGU NOX Reductions
                                                 SCC Source Classification Code
                                                                                                              This Rule                                              Beginning in 2023
                                                 SCR Selective Catalytic Reduction
                                                                                                           b. Impact of the Inflation Reduction Act on            2. 2026 and Later Years: EGU and
                                                 SIL Significant Impact Level
                                                                                                              EGU Emissions                                          Stationary Industrial Source NOX
                                                 SIP State Implementation Plan
                                                                                                           3. Development of Emissions Inventories                   Reductions Beginning in 2026
                                                 SMOKE Sparse Matrix Operator Kernel
                                                   Emissions                                                  for Stationary Industrial Point Sources             a. EGU Schedule for 2026 and Later Years
                                                 SNCR Selective Non-Catalytic Reduction                    4. Development of Emissions Inventories                b. Non-EGU or Industrial Source Schedule
                                                 SO2 Sulfur Dioxide                                           for Onroad Mobile Sources                              for 2026 and Later Years
                                                 tpd ton per day                                           5. Development of Emissions Inventories                B. Regulatory Requirements for EGUs
                                                 TAS Treatment as State                                       for Commercial Marine Vessels                       1. Trading Program Background and
                                                 TSD Technical Support Document                            6. Development of Emissions Inventories                   Overview of Revisions
                                                 UMRA Unfunded Mandates Reform Act                            for Other Nonroad Mobile Sources                    a. Current CSAPR Trading Program Design
                                                 VMT Vehicle Miles Traveled                                7. Development of Emissions Inventories                   Elements and Identified Concerns
                                                 VOCs Volatile Organic Compounds                              for Nonpoint Sources                                b. Enhancements To Maintain Selected
                                                 WRAP Western Regional Air Partnership                     D. Air Quality Modeling To Identify                       Control Stringency Over Time
                                                 WRF Weather Research and Forecasting                         Nonattainment and Maintenance                       i. Revised Emissions Budget-Setting
                                                                                                              Receptors                                              Process
                                                 Table of Contents                                         E. Methodology for Projecting Future Year              ii. Allowance Bank Recalibration
                                                 I. Executive Summary                                         Ozone Design Values                                 c. Enhancements To Improve Emissions
                                                    A. Purpose of the Regulatory Action                    F. Pollutant Transport From Upwind States                 Performance at Individual Units
                                                    1. Emissions Limitations for EGUs                      1. Air Quality Modeling To Quantify                    i. Unit-Specific Backstop Daily Emissions
                                                       Established by the Final Rule                          Upwind State Ozone Contributions                       Rates
                                                    2. Emissions Limitations for Industrial                2. Application of Ozone Contribution                   ii. Unit-Specific Emissions Limitations
                                                       Stationary Point Sources Established by                Screening Threshold                                    Contingent on Assurance Level
                                                       the Final Rule                                      a. States That Contribute Below the                       Exceedances
                                                    B. Summary of the Regulatory Framework                    Screening Threshold                                 d. Responses to General Comments on the
                                                       of the Rule                                         b. States That Contribute Above the                       Revisions to the Group 3 Trading
                                                    C. Costs and Benefits                                     Screening Threshold                                    Program
                                                 II. General Information                                   G. Treatment of Certain Monitoring Sites in            2. Expansion of Geographic Scope
                                                    A. Does this action apply to me?                          California and Implications for Oregon’s            3. Applicability and Tentative
                                                    B. What action is the Agency taking?                      Good Neighbor Obligations for the 2015                 Identification of Newly Affected Units
                                                    C. What is the Agency’s legal authority for               Ozone NAAQS                                         4. State Emissions Budgets
                                                       taking this action?                               V. Quantifying Upwind-State NOX Emissions                a. Methodology for Determining Preset
                                                    D. What actions has the EPA previously                    Reduction Potential To Reduce Interstate               State Emissions Budgets for the 2023
                                                       issued to address regional ozone                       Ozone Transport for the 2015 Ozone                     through 2029 Control Periods
                                                       transport?                                             NAAQS                                               b. Methodology for Determining Dynamic
                                                 III. Air Quality Issues Addressed and Overall             A. The Multi-Factor Test for Determining                  State Emissions Budgets for Control
                                                       Rule Approach                                          Significant Contribution                               Periods in 2026 Onwards
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                                                    A. The Interstate Ozone Transport Air                  B. Identifying Control Stringency Levels               c. Final Preset State Emissions Budgets
                                                       Quality Challenge                                   1. EGU NOX Mitigation Strategies                       5. Variability Limits and Assurance Levels
                                                    1. Nature of Ozone and the Ozone NAAQS                 a. Optimizing Existing SCRs                            6. Annual Recalibration of Allowance Bank
                                                    2. Ozone Transport                                     b. Installing State-of-the-Art NOX                     7. Unit-Specific Backstop Daily Emissions
                                                    3. Health and Environmental Effects                       Combustion Controls                                    Rates
                                                    B. Final Rule Approach                                 c. Optimizing Already Operating SNCRs or               8. Unit-Specific Emissions Limitations
                                                    1. The 4-Step Interstate Transport                        Turning on Idled Existing SNCRs                        Contingent on Assurance Level
                                                       Framework                                           d. Installing New SNCRs                                   Exceedances



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                                                   9. Unit-Level Allowance Allocation and                VIII. Costs, Benefits, and Other Impacts of the        Jersey, New York, Ohio, Oklahoma,
                                                      Recordation Procedures                                  Final Rule                                        Pennsylvania, Texas, Utah, Virginia,
                                                   a. Set-Asides of Portions of State Emissions          IX. Summary of Changes to the Regulatory               West Virginia, and Wisconsin) is
                                                      Budgets                                                 Text for the Federal Implementation               significantly contributing to
                                                   b. Allocations to Existing Units, Including                Plans and Trading Programs for EGUs
                                                      Units That Cease Operation                           A. Amendments to FIP Provisions in 40                nonattainment or interfering with
                                                   c. Allocations From Portions of State                      CFR Part 52                                       maintenance of the 2015 ozone NAAQS
                                                      Emissions Budgets Set Aside for New                  B. Amendments to Group 3 Trading                     in downwind states, based on projected
                                                      Units                                                   Program and Related Regulations                   ozone precursor emissions in the 2023
                                                   d. Incorrectly Allocated Allowances                     C. Transitional Provisions                           ozone season. The EPA is issuing FIP
                                                   10. Monitoring and Reporting                            D. Clarifications and Conforming Revisions           requirements to eliminate interstate
                                                      Requirements                                       X. Statutory and Executive Order Reviews               transport of ozone precursor emissions
                                                   a. Monitor Certification Deadlines                      A. Executive Order 12866: Regulatory                 from these 23 states that significantly
                                                   b. Additional Recordkeeping and Reporting                  Planning and Review and Executive
                                                                                                                                                                contributes to nonattainment or
                                                      Requirements                                            Order 13563: Improving Regulation and
                                                   11. Designated Representative                              Regulatory Review                                 interferes with maintenance of the
                                                      Requirements                                         B. Paperwork Reduction Act (PRA)                     NAAQS in downwind states. The EPA
                                                   12. Transitional Provisions                             1. Information Collection Request for EGUs           is not finalizing its proposed error
                                                   a. Prorating Emissions Budgets, Assurance               2. Information Collection Request for Non-           correction for Delaware’s ozone
                                                      Levels, and Unit-Level Allowance                        EGUs                                              transport SIP, and we are deferring final
                                                      Allocations in the Event of an Effective             C. Regulatory Flexibility Act (RFA)                  action at this time on the proposed FIPs
                                                      Date After May 1, 2023                               D. Unfunded Mandates Reform Act                      for Tennessee and Wyoming pending
                                                   b. Creation of Additional Group 3                          (UMRA)                                            further review of the updated air quality
                                                      Allowance Bank for 2023 Control Period               E. Executive Order 13132: Federalism                 and contribution modeling and analysis
                                                   c. Recall of Group 2 Allowances for Control             F. Executive Order 13175: Consultation
                                                      Periods After 2022                                      and Coordination With Indian Tribal
                                                                                                                                                                developed for this final action. As
                                                   13. Conforming Revisions to Regulations                    Governments                                       discussed in section III of this
                                                      for Other CSAPR Trading Programs                     G. Executive Order 13045: Protection of              document, the EPA’s updated analysis
                                                   C. Regulatory Requirements for Stationary                  Children From Environmental Health                of 2023 suggests that the states of
                                                      Industrial Sources                                      Risks and Safety Risks                            Arizona, Iowa, Kansas, and New Mexico
                                                   1. Pipeline Transportation of Natural Gas               H. Executive Order 13211: Actions                    may be significantly contributing to one
                                                   2. Cement and Concrete Product                             Concerning Regulations That                       or more nonattainment or maintenance
                                                      Manufacturing                                           Significantly Affect Energy Supply,               receptors. The EPA is not making any
                                                   3. Iron and Steel Mills and Ferroalloy                     Distribution or Use                               final determinations with respect to
                                                      Manufacturing                                        I. National Technology Transfer and                  these states in this action but intends to
                                                   4. Glass and Glass Product Manufacturing                   Advancement Act (NTTAA)
                                                   5. Boilers at Basic Chemical                            J. Executive Order 12898: Federal Actions
                                                                                                                                                                address these states, along with
                                                      Manufacturing, Petroleum and Coal                       To Address Environmental Justice in               Tennessee and Wyoming, in a
                                                      Products Manufacturing, Pulp, Paper,                    Minority Populations and Low-Income               subsequent action or actions.
                                                      and Paperboard Mills, Iron and Steel and                Populations                                          The EPA is finalizing FIP
                                                      Ferroalloys Manufacturing, and Metal                 K. Congressional Review Act                          requirements for 21 states for which the
                                                      Ore Mining Facilities                                L. Determinations Under CAA Section                  Agency has, in a separate action,
                                                   a. Coal-fired Industrial Boilers                           307(b)(1) and (d)                                 disapproved (or partially disapproved)
                                                   b. Oil-fired Industrial Boilers                                                                              ozone transport SIP revisions that were
                                                   c. Natural gas-fired Industrial Boilers               I. Executive Summary
                                                                                                                                                                submitted for the 2015 ozone NAAQS:
                                                   6. Municipal Waste Combustors                            This final rule resolves the interstate             Alabama, Arkansas, California, Illinois,
                                                   D. Submitting a SIP                                   transport obligations of 23 states under               Indiana, Kentucky, Louisiana,
                                                   1. SIP Option To Modify Allocations for               CAA section 110(a)(2)(D)(i)(I), referred
                                                      2024 under EGU Trading Program                                                                            Maryland, Michigan, Minnesota,
                                                                                                         to as the ‘‘good neighbor provision’’ or               Mississippi, Missouri, Nevada, New
                                                   2. SIP Option To Modify Allocations for
                                                      2025 and Beyond Under EGU Trading                  the ‘‘interstate transport provision’’ of              Jersey, New York, Ohio, Oklahoma,
                                                      Program                                            the Act, for the 2015 ozone NAAQS. On                  Texas, Utah, West Virginia, and
                                                   3. SIP Option To Replace the Federal EGU              October 1, 2015, the EPA revised the                   Wisconsin. See 88 FR 9336. In this final
                                                      Trading Program With an Integrated                 primary and secondary 8-hour standards                 rule, the EPA is issuing FIPs for two
                                                      State EGU Trading Program                          for ozone to 70 parts per billion (ppb).1              states—Pennsylvania and Virginia—for
                                                   4. SIP Revisions That Do Not Use the New              States were required to submit to EPA                  which the EPA issued Findings of
                                                      Trading Program                                    ozone infrastructure State                             Failure to Submit for 2015 ozone
                                                   5. SIP Revision Requirements for Non-EGU              Implementation Plan (SIP) revisions to                 NAAQS transport SIPs. See 84 FR 66612
                                                      or Industrial Source Control
                                                                                                         fulfill interstate transport obligations for           (December 5, 2019). Under CAA section
                                                      Requirements
                                                   E. Title V Permitting                                 the 2015 ozone NAAQS by October 1,                     301(d)(4), the EPA is extending FIP
                                                   1. Title V Permitting Considerations for              2018. The EPA proposed the subject                     requirements to apply in Indian country
                                                      EGUs                                               rule to address outstanding interstate                 located within the upwind geography of
                                                   2. Title V Permitting Considerations for              ozone transport obligations for the 2015               the final rule, including Indian
                                                      Industrial Stationary Sources                      ozone NAAQS in the Federal Register                    reservation lands and other areas of
                                                   F. Relationship to Other Emissions Trading            on April 6, 2022 (87 FR 20036).                        Indian country over which the EPA or
                                                      and Ozone Transport Programs                          The EPA is making a finding that                    a tribe has demonstrated that a tribe has
                                                   1. NOX SIP Call
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                                                                                                         interstate transport of ozone precursor                jurisdiction.2
                                                   2. Acid Rain Program                                  emissions from 23 upwind states                           This final rule defines ozone season
                                                   3. Other CSAPR Trading Programs
                                                                                                         (Alabama, Arkansas, California, Illinois,              nitrogen oxides (NOX) emissions
                                                 VII. Environmental Justice Analytical
                                                      Considerations and Stakeholder                     Indiana, Kentucky, Louisiana,
                                                                                                                                                                  2 In general, specific tribal names or reservations
                                                      Outreach and Engagement                            Maryland, Michigan, Minnesota,
                                                                                                                                                                are not identified separately in this final rule except
                                                   A. Introduction                                       Mississippi, Missouri, Nevada, New                     as needed. See section III.C.2 of this document for
                                                   B. Analytical Considerations                                                                                 further discussion about the application of this rule
                                                   C. Outreach and Engagement                              1 See 80 FR 65291 (October 26, 2015).                in Indian Country.



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                                                 performance obligations for Electric                    issuing new FIPs for three states not                  states are based primarily on the
                                                 Generating Unit (EGU) sources and                       currently covered by any CSAPR NOX                     potential retrofit of additional post-
                                                 fulfills those obligations by                           ozone season trading program:                          combustion controls for NOX on most
                                                 implementing an allowance-based                         Minnesota, Nevada, and Utah.                           coal-fired EGUs and a portion of oil/gas-
                                                 ozone season trading program beginning                     This rulemaking requires emissions                  fired EGUs that are currently lacking
                                                 in 2023. This rule also establishes                     reductions in the selected control                     such controls.
                                                 emissions limitations beginning in 2026                 stringency to be achieved as
                                                                                                         expeditiously as practicable and, to the                  The EPA is finalizing, with some
                                                 for certain other industrial stationary
                                                 sources (referred to generally as ‘‘non-                extent possible, by the next applicable                modifications from proposal in response
                                                 Electric Generating Units’’ (non-EGUs)).                nonattainment dates for downwind                       to comments, certain additional features
                                                 Taken together, these regulatory                        areas for the 2015 ozone NAAQS. Thus,                  in the allowance-based trading program
                                                 requirements will fully eliminate the                   initial emissions reductions from EGUs                 approach for EGUs, including dynamic
                                                 amount of emissions that constitute the                 will be required beginning in the 2023                 adjustments of the emissions budgets
                                                 covered states’ significant contribution                ozone season and prior to the August 3,                and recalibration of the allowance bank
                                                 to nonattainment and interference with                  2024, attainment date for areas                        over time as well as backstop daily
                                                 maintenance in downwind states for                      classified as Moderate nonattainment                   emissions rate limits for large coal-fired
                                                 purposes of the 2015 ozone NAAQS.                       for the 2015 ozone NAAQS.                              units. The purpose of these
                                                    This final rule implements the                          The remaining emissions reduction                   enhancements is to better ensure that
                                                 necessary emissions reductions as                       obligations will be phased in as soon as               the emissions control stringency the
                                                 follows. Under the FIP requirements,                    possible thereafter. Substantial                       EPA found necessary to eliminate
                                                 EGUs in 22 states (Alabama, Arkansas,                   additional reductions from potential                   significant contribution at Step 3 of the
                                                 Illinois, Indiana, Kentucky, Louisiana,                 new post-combustion control                            4-step interstate transport framework is
                                                 Maryland, Michigan, Minnesota,                          installations at EGUs as well as from                  maintained over time in Step 4
                                                 Mississippi, Missouri, Nevada, New                      installation of new pollution controls at              implementation and is durable to
                                                 Jersey, New York, Ohio, Oklahoma,                       non-EGUs, also referred to in this action              changes in the power sector. These
                                                 Pennsylvania, Texas, Utah, Virginia,                    as industrial sources, will phase in                   enhancements ensure the elimination of
                                                 West Virginia, and Wisconsin) are                       beginning in the 2026 ozone season,                    significant contribution is maintained
                                                 required to participate in a revised                    associated with the August 3, 2027,
                                                                                                                                                                both in terms of geographical
                                                 version of the Cross-State Air Pollution                attainment date for areas classified as
                                                                                                                                                                distribution (by limiting the degree to
                                                 Rule (CSAPR) NOX Ozone Season Group                     Serious nonattainment for the 2015
                                                                                                         ozone NAAQS. The EPA had proposed                      which individual sources can avoid
                                                 3 Trading Program that was previously
                                                                                                         to require all emissions reductions to                 making emissions reductions) and in
                                                 established in the Revised CSAPR
                                                 Update.3 In addition to reflecting                      eliminate significant contribution to be               terms of temporal distribution (by better
                                                 emissions reductions based on the                       in place by the 2026 ozone season.                     ensuring emissions reductions are
                                                 Agency’s determination of the necessary                 While we continue to view 2026 as the                  maintained throughout each ozone
                                                 control stringency in this rule, the                    appropriate analytic year for purposes of              season, year over year). As we further
                                                 revised trading program includes                        applying the 4-step interstate transport               discuss in section V.D of this document,
                                                 several enhancements to the program’s                   framework, as discussed in section                     these changes do not alter the stringency
                                                 design to better ensure achievement of                  V.D.4 and VI.A.2 of this document, the                 of the emissions trading program over
                                                 the selected control stringency on all                  final rule will allow individual facilities            time. Rather, they ensure that the
                                                 days of the ozone season and over time.                 limited additional time to fully                       trading program (as the method of
                                                 For 12 states already required to                       implement the required emissions                       implementation at Step 4) remains
                                                 participate in the CSAPR NOX Ozone                      reductions where the owner or operator                 aligned with the determinations made at
                                                 Season Group 3 Trading Program                          demonstrates to the EPA’s satisfaction                 Step 3. These enhancements are further
                                                 (Illinois, Indiana, Kentucky, Louisiana,                that more rapid compliance is not                      discussed in section VI.B of this
                                                 Maryland, Michigan, New Jersey, New                     possible. For EGUs, the emissions                      document.
                                                 York, Ohio, Pennsylvania, Virginia, and                 trading program budget stringency                         The EPA is making a finding that NOX
                                                 West Virginia) under the Revised                        associated with retrofit of post-                      emissions from certain non-EGU sources
                                                 CSAPR Update (with respect to the 2008                  combustion controls will be phased in                  are significantly contributing to
                                                 ozone NAAQS), the FIPs are amended                      over two ozone seasons (2026–2027).
                                                                                                                                                                nonattainment or interfering with
                                                 by the revisions to the Group 3 trading                 For industrial sources, this final rule
                                                                                                                                                                maintenance of the 2015 ozone NAAQS
                                                 program regulations. For seven states                   provides a process for individual
                                                                                                                                                                and that cost-effective controls for NOX
                                                 currently covered by the CSAPR NOX                      facilities to seek a one year extension,
                                                                                                         with the possibility of up to two                      emissions reductions are available in
                                                 Ozone Season Group 2 Trading Program
                                                                                                         additional years, based on a specific                  certain industrial source categories that
                                                 under SIPs or FIPs, the EPA is issuing
                                                 new FIPs for two states (Alabama and                    showing of necessity.                                  would result in meaningful air quality
                                                 Missouri) and amending existing FIPs                       The EGU emissions reductions are                    improvements in downwind receptors.
                                                 for five states (Arkansas, Mississippi,                 based on the feasibility of control                    The EPA is establishing emissions
                                                 Oklahoma, Texas, and Wisconsin) to                      installation for EGUs in 19 states that                limitations beginning in 2026 for non-
                                                 transition EGU sources in these states                  remain linked to downwind                              EGU sources located within 20 states:
                                                 from the Group 2 program to the revised                 nonattainment and maintenance                          Arkansas, California, Illinois, Indiana,
                                                                                                         receptors in 2026. These 19 states are:                Kentucky, Louisiana, Maryland,
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                                                 Group 3 trading program, beginning
                                                 with the 2023 ozone season. The EPA is                  Arkansas, Illinois, Indiana, Kentucky,                 Michigan, Mississippi, Missouri,
                                                                                                         Louisiana, Maryland, Michigan,                         Nevada, New Jersey, New York, Ohio,
                                                   3 As explained in section V.C.1 of this document,     Mississippi, Missouri, Nevada, New                     Oklahoma, Pennsylvania, Texas, Utah,
                                                 the EPA is making a finding that EGU sources            Jersey, New York, Ohio, Oklahoma,                      Virginia, and West Virginia. The final
                                                 within the State of California are sufficiently                                                                rule establishes NOX emissions
                                                 controlled such that no further emissions
                                                                                                         Pennsylvania, Texas, Utah, Virginia,
                                                 reductions are needed from them to eliminate            and West Virginia. The emissions                       limitations during the ozone season for
                                                 significant contribution to downwind states.            reductions required for EGUs in these                  the following unit types for sources in


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                                                 non-EGU industries: 4 reciprocating                      respect to any primary or secondary                    analysis, the 23 upwind states covered
                                                 internal combustion engines in Pipeline                  NAAQS.8 Within 3 years of the EPA                      in this action are linked above the 1
                                                 Transportation of Natural Gas; kilns in                  promulgating a new or revised NAAQS,                   percent of the NAAQS threshold to
                                                 Cement and Cement Product                                all states are required to provide SIP                 downwind air quality problems in
                                                 Manufacturing; reheat furnaces in Iron                   submittals, often referred to as                       downwind states. The EPA intends to
                                                 and Steel Mills and Ferroalloy                           ‘‘infrastructure SIPs,’’ addressing certain            expeditiously review the updated air
                                                 Manufacturing; furnaces in Glass and                     requirements, including the good                       quality modeling and related analyses to
                                                 Glass Product Manufacturing; boilers in                  neighbor provision. See CAA section                    address potential good neighbor
                                                 Iron and Steel Mills and Ferroalloy                      110(a)(1) and (2). The EPA must either                 requirements of six additional states—
                                                 Manufacturing, Metal Ore Mining, Basic                   approve or disapprove such submittals                  Arizona, Iowa, Kansas, New Mexico,
                                                 Chemical Manufacturing, Petroleum and                    or make a finding that a state has failed              Tennessee, and Wyoming—in a
                                                 Coal Products Manufacturing, and Pulp,                   to submit a complete SIP revision. As                  subsequent action. The EPA had
                                                 Paper, and Paperboard Mills; and                         with any other type of SIP under the                   previously approved 2015 ozone
                                                 combustors and incinerators in Solid                     Act, when the EPA disapproves an                       transport SIPs submitted by Oregon and
                                                 Waste Combustors and Incinerators.                       interstate transport SIP or finds that a               Delaware, but in the proposed FIP
                                                                                                          state failed to submit an interstate                   action the EPA found these states
                                                 A. Purpose of the Regulatory Action
                                                                                                          transport SIP, the CAA requires the EPA                potentially to be linked in the modeling
                                                    The purpose of this rulemaking is to                  to issue a FIP to directly implement the               supporting our proposal. We proposed
                                                 protect public health and the                            measures necessary to eliminate                        to issue an error correction for our prior
                                                 environment by reducing interstate                       significant contribution under the good                approval of Delaware’s 2015 ozone
                                                 transport of certain air pollutants that                 neighbor provision. See generally CAA                  transport SIP; however, in this final
                                                 significantly contribute to                              section 110(k) and 110(c). As such, in                 rule, the EPA is withdrawing the
                                                 nonattainment, or interfere with                         this rule, the EPA is finalizing                       proposed error correction and the
                                                 maintenance, of the 2015 ozone NAAQS                     requirements to fully address good                     proposed FIP for Delaware, because our
                                                 in downwind states. Ground-level ozone                   neighbor obligations for the covered                   updated modeling for this final rule
                                                 has detrimental effects on human health                  states for the 2015 ozone NAAQS under                  confirms that Delaware is not linked
                                                 as well as vegetation and ecosystems.                    its authority to promulgate FIPs under                 above the 1 percent of NAAQS
                                                 Acute and chronic exposure to ozone in                   CAA section 110(c). By eliminating                     threshold (see section III.C.1 of this
                                                 humans is associated with premature                      significant contribution from these                    document for additional information).
                                                 mortality and certain morbidity effects,                 upwind states, this rule will make                     The EPA is deferring finalizing a finding
                                                 such as asthma exacerbation. Ozone                       substantial and meaningful                             at this time for Oregon (see section IV.G
                                                 exposure can also negatively impact                      improvements in air quality by reducing                of this document for additional
                                                 ecosystems by limiting tree growth,                      ozone levels at the identified downwind                information).
                                                 causing foliar injury, and changing                      receptors as well as many other areas of
                                                 ecosystem community composition.                                                                                1. Emissions Limitations for EGUs
                                                                                                          the country. At any time after the
                                                 Section III of this document provides                                                                           Established by the Final Rule
                                                                                                          effective date of this rule, states may
                                                 additional evidence of the harmful                       submit a Good Neighbor SIP to replace                     In this rule, the EPA is issuing FIP
                                                 effects of ozone exposure on human                       the FIP requirements contained in this                 requirements that apply the provisions
                                                 health and the environment. Studies                      rule, subject to EPA approval under                    of the CSAPR NOX Ozone Season Group
                                                 have established that ozone air                          CAA section 110(a).                                    3 Trading Program as revised in the rule
                                                 pollution can be transported over                           The EPA conducted air quality                       to EGU sources within the borders of the
                                                 hundreds of miles, with elevated                         modeling for the 2023 and 2026 analytic                following 22 states: Alabama, Arkansas,
                                                 ground-level ozone concentrations                        years to identify (1) the downwind areas               Illinois, Indiana, Kentucky, Louisiana,
                                                 occurring in rural and metropolitan                      identified as ‘‘receptors’’ (which are                 Maryland, Michigan, Minnesota,
                                                 areas.5 6 Assessments of ozone control                   associated with monitoring sites) that                 Mississippi, Missouri, Nevada, New
                                                 approaches have concluded that control                   are expected to have trouble attaining or              Jersey, New York, Ohio, Oklahoma,
                                                 strategies targeting reduction of NOX                    maintaining the 2015 ozone NAAQS in                    Pennsylvania, Texas, Utah, Virginia,
                                                 emissions are an effective method to                     the future and (2) the contribution of                 West Virginia, and Wisconsin.
                                                 reduce regional-scale ozone transport.7                  ozone transport from upwind states to                  Implementation of the revised trading
                                                    CAA section 110(a)(2)(D)(i)(I) requires               the downwind air quality problems. We                  program provisions begins in the 2023
                                                 states to prohibit emissions that will                   use the term ‘‘downwind’’ to describe                  ozone season.
                                                 contribute significantly to                              those states or areas where a receptor is                 The EPA is expanding the CSAPR
                                                 nonattainment or interfere with                          located, and we use the term ‘‘upwind’’                NOX Ozone Season Group 3 Trading
                                                 maintenance in any other state with                      to describe states whose emissions are                 Program beginning in the 2023 ozone
                                                                                                          linked to one or more receptors. States                season. Specifically, the FIPs require
                                                    4 We use the terms ‘‘emissions limitation’’ and
                                                                                                          may be both downwind and upwind                        power plants within the borders of the
                                                 ‘‘emissions limit’’ to refer to both numeric                                                                    22 states listed in the previous
                                                 emissions limitations and control technology
                                                                                                          depending on the receptor or linkage in
                                                 requirements that specify levels of emissions            question. Section IV of this document                  paragraph to participate in an expanded
                                                 reductions to be achieved.                               provides a full description of the results             and revised version of the CSAPR NOX
                                                    5 Bergin, M.S. et al. (2007) Regional air quality:
                                                                                                          of the EPA’s updated air quality                       Ozone Season Group 3 Trading Program
                                                 local and interstate impacts of NOX and SO2              modeling and relevant analyses for the                 created by the Revised CSAPR Update.
                                                 emissions on ozone and fine particulate matter in
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                                                 the eastern United States. Environmental Sci &           rulemaking, including a discussion of                  Affected EGUs within the borders of the
                                                 Tech. 41: 4677–4689.                                     how updates to the modeling and air                    following 12 states currently
                                                    6 Liao, K. et al. (2013) Impacts of interstate        quality analysis following the proposed                participating in the Group 3 Trading
                                                 transport of pollutants on high ozone events over        rule have resulted in some modest                      Program under existing FIPs remain in
                                                 the Mid-Atlantic United States. Atmospheric                                                                     the program, with revised provisions
                                                 Environment 84, 100–112.
                                                                                                          changes in the overall geography of the
                                                    7 See 82 FR 51238, 51248 (November 3, 2017)           final rule. Based on the EPA’s air quality             beginning in the 2023 ozone season,
                                                 [citing 76 FR 48208, 48222 (August 8, 2011)] and                                                                under this rule: Illinois, Indiana,
                                                 63 FR 57381 (October 27, 1998).                            8 42 U.S.C. 7410(a)(2)(D)(i)(I).                     Kentucky, Louisiana, Maryland,


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                                                 Michigan, New Jersey, New York, Ohio,                   Manufacturing; furnaces in Glass and                   ozone concentrations for the 2023
                                                 Pennsylvania, Virginia, and West                        Glass Product Manufacturing; boilers in                analytic year at individual monitoring
                                                 Virginia. The FIPs also require affected                Iron and Steel Mills and Ferroalloy                    sites and considered current ozone
                                                 EGUs within the borders of the                          Manufacturing, Metal Ore Mining, Basic                 monitoring data at these sites to identify
                                                 following seven states currently covered                Chemical Manufacturing, Petroleum and                  receptors that are anticipated to have
                                                 by the CSAPR NOX Ozone Season                           Coal Products Manufacturing, and Pulp,                 problems attaining or maintaining the
                                                 Group 2 Trading Program (the ‘‘Group 2                  Paper, and Paperboard Mills; and                       2015 ozone NAAQS. This analysis of
                                                 trading program’’) under existing FIPs or               combustors and incinerators in Solid                   projected ozone concentrations was
                                                 existing SIPs to transition from the                    Waste Combustors and Incinerators.                     then repeated for 2026.
                                                 Group 2 program to the revised Group                    Refer to Table II.A–1 for a list of North                 To apply the second step of the
                                                 3 trading program beginning with the                    American Industry Classification                       framework, the EPA used air quality
                                                 2023 control period: Alabama,                           System (NAICS) codes for each entity                   modeling to quantify the contributions
                                                 Arkansas, Mississippi, Missouri,                        included for regulation under this rule.               from upwind states to ozone
                                                 Oklahoma, Texas, and Wisconsin.9                                                                               concentrations in 2023 and 2026 at
                                                 Finally, the EPA is issuing new FIPs for                B. Summary of the Regulatory                           downwind receptors.12 Once quantified,
                                                 EGUs within the borders of three states                 Framework of the Rule                                  the EPA then evaluated these
                                                 not currently covered by any existing                      The EPA is applying the 4-step                      contributions relative to a screening
                                                 CSAPR trading program for seasonal                      interstate transport framework                         threshold of 1 percent of the NAAQS
                                                 NOX emissions: Minnesota, Nevada, and                   developed and used in CSAPR, the                       (i.e., 0.70 ppb).13 States with
                                                 Utah. Sources in these states will enter                CSAPR Update, the Revised CSAPR                        contributions that equaled or exceeded
                                                 the Group 3 trading program in the 2023                 Update, and other previous ozone                       1 percent of the NAAQS were identified
                                                 control period following the effective                  transport rules under the authority                    as warranting further analysis at Step 3
                                                 date of the final rule.10 Refer to section              provided in CAA section                                of the 4-step framework to determine if
                                                 VI.B of this document for details on                    110(a)(2)(D)(i)(I). The 4-step interstate              the upwind state significantly
                                                 EGU regulatory requirements.                            transport framework provides a                         contributes to nonattainment or
                                                                                                         stepwise method for the EPA to define                  interference with maintenance in a
                                                 2. Emissions Limitations for Industrial                                                                        downwind state. States with
                                                                                                         and implement good neighbor
                                                 Stationary Point Sources Established by                                                                        contributions below 1 percent of the
                                                                                                         obligations for the 2015 ozone NAAQS.
                                                 the Final Rule                                                                                                 NAAQS were considered not to
                                                                                                         The four steps are as follows: (Step 1)
                                                    The EPA is issuing FIP requirements                  identifying downwind receptors that are                significantly contribute to
                                                 that include new NOX emissions                          expected to have problems attaining or                 nonattainment or interfere with
                                                 limitations for industrial or non-EGU                   maintaining the NAAQS; (Step 2)                        maintenance of the NAAQS in
                                                 sources in 20 states, with sources                      determining which upwind states                        downwind states.
                                                 expected to demonstrate compliance no                   contribute to these identified problems                   Based on the EPA’s most recent air
                                                 later than 2026. The EPA is requiring                   in amounts sufficient to ‘‘link’’ them to              quality modeling and contribution
                                                 emissions reductions from non-EGU                       the downwind air quality problems (i.e.,               analysis using 2023 as the analytic year,
                                                 sources to address interstate transport                 in this rule as in prior transport rules               the EPA finds that the following 23
                                                 obligations for the 2015 ozone NAAQS                    beginning with CSAPR in 2011, above a                  states have contributions that equal or
                                                 for the following 20 states: Arkansas,                  contribution threshold of 1 percent of                 exceed 1 percent of the 2015 ozone
                                                 California, Illinois, Indiana, Kentucky,                the NAAQS); (Step 3) for states linked                 NAAQS, and, thereby, warrant further
                                                 Louisiana, Maryland, Michigan,                          to downwind air quality problems,                      analysis of significant contribution to
                                                 Mississippi, Missouri, Nevada, New                      identifying upwind emissions that                      nonattainment or interference with
                                                 Jersey, New York, Ohio, Oklahoma,                       significantly contribute to downwind                   maintenance of the NAAQS: Alabama,
                                                 Pennsylvania, Texas, Utah, Virginia and                 nonattainment or interfere with                        Arkansas, California, Illinois, Indiana,
                                                 West Virginia.                                          downwind maintenance of the NAAQS                      Kentucky, Louisiana, Maryland,
                                                    The EPA is establishing emissions                    through a multifactor analysis; and                    Michigan, Minnesota, Mississippi,
                                                 limitations for the following unit types                (Step 4) for states that are found to have             Missouri, Nevada, New Jersey, New
                                                 in non-EGU industries: reciprocating                    emissions that significantly contribute                York, Ohio, Oklahoma, Pennsylvania,
                                                 internal combustion engines in Pipeline                 to nonattainment or interfere with                     Texas, Utah, Virginia, West Virginia,
                                                 Transportation of Natural Gas; kilns in                 maintenance of the NAAQS in                            and Wisconsin.
                                                 Cement and Cement Product                               downwind areas, implementing the                          There are locations in California to
                                                 Manufacturing; reheat furnaces in Iron                  necessary emissions reductions through                 which Oregon contributes greater than 1
                                                 and Steel Mills and Ferroalloy                          enforceable measures. The remainder of                 percent of the NAAQS; the EPA
                                                                                                         this section provides a general overview
                                                    9 Five of these seven states (Arkansas,                                                                     August 3, 2024, for areas classified as Moderate
                                                                                                         of the EPA’s application of the 4-step                 nonattainment, and August 3, 2027, for areas
                                                 Mississippi, Oklahoma, Texas, and Wisconsin)
                                                 currently participate in the Federal Group 2 trading    framework as it applies to the                         classified as Serious nonattainment. See 83 FR
                                                 program pursuant to the FIPs finalized in the           provisions of the rule; additional details             25776.
                                                 CSAPR Update. The FIPs required under this rule         regarding the EPA’s approach are found                   12 The EPA performed air quality modeling for

                                                 amend the existing FIPs for these states. The other     in section III of this document.                       2032 in the proposed rulemaking, but did not
                                                 two states (Alabama and Missouri) have already                                                                 perform contribution modeling for 2032 since
                                                 replaced the FIPs finalized in the CSAPR Update
                                                                                                            To apply the first step of the 4-step               contribution data for this year were not needed to
                                                 with approved SIP revisions that require their EGUs     framework to the 2015 ozone NAAQS,                     identify upwind states to be analyzed in Step 3. The
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                                                 to participate in state Group 2 trading programs        the EPA performed air quality modeling                 modeling of 2032 done at proposal using the
                                                 integrated with the Federal Group 2 trading             to project ozone concentrations at air                 2016v2 platform does not constitute or represent
                                                 program, so the FIPs required in this action                                                                   any final agency determinations respecting air
                                                 constitute new FIPs for these states. The EPA will
                                                                                                         quality monitoring sites in 2023 and                   quality conditions or regulatory judgments with
                                                 cease implementation of the state Group 2 trading       2026.11 The EPA evaluated projected                    respect to good neighbor obligations or any other
                                                 programs included in the two states’ SIPs on the                                                               CAA requirements.
                                                 effective date of this rule.                               11 These 2 analytic years are the last full ozone     13 See section IV.F of this document for
                                                    10 Three states, Kansas, Iowa, and Tennessee, will   seasons before, and thus align with, upcoming          explanation of EPA’s use of the 1 percent of the
                                                 remain in the Group 2 Trading Program.                  attainment dates for the 2015 ozone NAAQS:             NAAQS threshold in the Step 2 analysis.



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                                                 proposed that downwind areas                            combustion controls; (3) fully operating               emissions controls such as SCR.15 While
                                                 represented by these monitoring sites in                existing selective non-catalytic                       these programs successfully drove many
                                                 California should not be considered                     reduction (SNCR) controls, including                   EGUs to retrofit post-combustion
                                                 interstate ozone transport receptors at                 both optimizing NOX removal by                         controls, other EGUs throughout the
                                                 Step 1. However, the EPA is deferring                   existing operational SNCRs and turning                 present geography of linked upwind
                                                 finalizing a finding at this time for                   on and optimizing existing idled                       states continue to operate without such
                                                 Oregon (see section IV.G of this                        SNCRs; (4) installing new SNCRs; (5)                   controls and continue to emit at
                                                 document for additional information).                   installing new SCRs; and (6) generation                relatively high rates more than 20 years
                                                    Based on the air quality analysis                    shifting. For the reasons explained in                 after similar units reduced these
                                                 presented in section IV of this                         section V of this document and                         emissions under prior interstate ozone
                                                 document, the EPA finds that, with the                  supported by the ‘‘Technical Support                   transport rulemakings.
                                                 exception of Alabama, Minnesota, and                    Document (TSD) for the Final Federal                      Furthermore, the CSAPR Update
                                                 Wisconsin, the states found linked in                   Good Neighbor Plan for the 2015 Ozone                  provided only a partial remedy for
                                                 2023 will continue to contribute above                  National Ambient Air Quality Standard,                 eliminating significant contribution for
                                                 the 1 percent of the NAAQS threshold                    Docket ID No. EPA–HQ–OAR–2021–                         the 2008 ozone NAAQS, as needed to
                                                 to at least one receptor whose                          0668, EGU NOX Mitigation Strategies                    obtain available reductions by the 2017
                                                 nonattainment and maintenance                           Final Rule TSD’’ (Mar. 2023),                          ozone season. In that rule, the EPA
                                                 concerns persist through the 2026 ozone                 hereinafter referred to as the EGU NOX                 made no determination regarding the
                                                 season. As a result, the EPA’s evaluation                                                                      appropriateness of more stringent EGU
                                                                                                         Mitigation Strategies Final Rule TSD,
                                                 of significantly contributing emissions                                                                        NOX controls that would be required for
                                                                                                         included in the docket for this action,
                                                 at Step 3 for Alabama, Minnesota, and                                                                          a full remedy for interstate transport for
                                                                                                         the EPA determines that for the
                                                 Wisconsin is limited to emissions                                                                              the 2008 ozone NAAQS. Following the
                                                                                                         regional, multi-state scale of this
                                                 reductions achievable by the 2023 and                                                                          remand of the CSAPR Update in
                                                                                                         rulemaking, only fully operating and
                                                 2024 ozone seasons.                                                                                            Wisconsin v. EPA, 938 F.3d 303 (D.C.
                                                    At the third step of the 4-step                      optimizing existing SCRs and existing                  Cir. 2019) (Wisconsin), the EPA again
                                                 framework, the EPA applied a                            SNCRs (EGU NOX emissions controls                      declined to require the retrofit of new
                                                 multifactor test that incorporates cost,                options 1 and 3 in the list earlier) are               post-combustion controls on EGUs in
                                                 availability of emissions reductions, and               possible for the 2023 ozone season. The                the Revised CSAPR Update, but that
                                                 air quality impacts at the downwind                     EPA determined that state-of-the-art                   determination was based on a specific
                                                 receptors to determine the amount of                    NOX combustion controls at EGUs                        timing consideration: downwind air
                                                 ozone precursor emissions from the                      (emissions control option 2 in the list                quality problems under the 2008 ozone
                                                 linked upwind states that                               above) are available by the beginning of               NAAQS were projected to resolve before
                                                 ‘‘significantly’’ contribute to downwind                the 2024 ozone season. See section                     post-combustion control retrofits could
                                                 nonattainment or maintenance                            V.B.1 of this document for a full                      be accomplished on a fleetwide,
                                                 receptors. The EPA is applying the                      discussion of EPA’s analysis of NOX                    regional scale. See 86 FR 23054, 23110
                                                 multifactor test described in section V.A               emissions mitigation strategies for EGU                (April 30, 2021).
                                                 of this document to both EGU and                        sources.                                                  In this rulemaking, the EPA is
                                                 industrial sources. The EPA assessed                       The EPA is requiring control                        addressing good neighbor obligations for
                                                 the potential emissions reductions in                   stringency levels that offer the most                  the more protective 2015 ozone
                                                 2023 and 2026,14 as well as in                          incremental NOX emissions reduction                    NAAQS, and the Agency observes
                                                 intervening and later years to determine                potential from EGUs—among the                          ongoing and persistent contribution
                                                 the emissions reductions required to                    uniform mitigation measures assessed                   from upwind states to ozone
                                                 eliminate significant contribution in                   for the covered region—and the most                    nonattainment and maintenance
                                                 2023 and future years where downwind                    corresponding downwind ozone air                       receptors in downwind states under that
                                                 areas are projected to have potential                   quality improvements to the extent                     NAAQS. As further discussed in section
                                                 problems attaining or maintaining the                   feasible in each year analyzed. The EPA                V of this document, the nature of this
                                                 2015 ozone NAAQS.                                       is making a finding that the required                  contribution warrants a greater degree of
                                                    For EGU sources, the EPA evaluated                                                                          control stringency than the EPA
                                                                                                         controls provide cost-effective
                                                 the following set of widely-available                                                                          determined to be necessary to eliminate
                                                                                                         reductions of NOX emissions that will
                                                 NOX emissions control technologies: (1)                                                                        significant contribution of ozone
                                                                                                         provide substantial improvements in
                                                 fully operating existing selective                                                                             transport in prior CSAPR rulemakings.
                                                                                                         downwind ozone air quality to address
                                                 catalytic reduction (SCR) controls,                                                                            In this rule, the EPA is requiring
                                                 including both optimizing NOX removal                   interstate transport obligations for the
                                                                                                         2015 ozone NAAQS in a timely manner.                   emissions performance levels for EGU
                                                 by existing operational SCRs and                                                                               NOX control strategies commensurate
                                                 turning on and optimizing existing idled                These controls represent greater
                                                                                                         stringency in upwind EGU controls than                 with those determined to be necessary
                                                 SCRs; (2) installing state-of-the-art NOX                                                                      in the NOX SIP Call and CAIR.
                                                                                                         in the EPA’s most recent ozone
                                                                                                         transport rulemakings, such as the                        Based on the Step 3 analysis
                                                   14 The EPA included emissions reductions from
                                                                                                         CSAPR Update and the Revised CSAPR                     described in section V of this document,
                                                 the potential installation of SCRs at all affected
                                                 large coal-fired EGUs in the 2026 analytic year for                                                            the EPA finds that emissions reductions
                                                                                                         Update. However, programs to address
                                                 the purposes of assessing significant contribution to                                                          commensurate with the full operation of
                                                 nonattainment and interference with maintenance,
                                                                                                         interstate ozone transport based on the
                                                                                                                                                                all existing post-combustion controls
                                                                                                         retrofit of post-combustion controls are
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                                                 which is consistent with the associated attainment
                                                                                                                                                                (both SCRs and SNCRs) and state-of-the-
                                                 date. However, in response to comments identifying      by no means unprecedented. In prior
                                                 potential supply chain and outage scheduling                                                                   art combustion control upgrades
                                                                                                         ozone transport rulemakings such as the
                                                 challenges if the full breadth of these assumed SCR                                                            constitute the Agency’s selected control
                                                 installations were to occur, the EPA is                 NOX SIP Call and the Clean Air
                                                                                                                                                                stringency for EGUs within the borders
                                                 implementing half of this emissions reduction           Interstate Rule (CAIR), the EPA
                                                 potential in 2026 ozone-season NOX budgets for
                                                                                                                                                                of 22 states linked to downwind
                                                                                                         established EGU budgets premised on
                                                 states containing these EGUs and the other half of
                                                 this emissions reduction potential in 2027 ozone-
                                                                                                         the widespread availability of                           15 See, e.g., 70 FR 25162, 25205–06 (May 12,

                                                 season NOX budgets for those states.                    retrofitting EGUs with post-combustion                 2005).



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                                                 nonattainment or maintenance in 2023                    information helped shape the proposal                  impactful and warrant further analysis
                                                 (Alabama, Arkansas, Illinois, Indiana,                  and final rule. To further evaluate the                at Step 3, and we find that the available
                                                 Kentucky, Louisiana, Maryland,                          industries and emissions unit types                    emissions reductions are cost-effective
                                                 Michigan, Minnesota, Mississippi,                       identified by the screening assessment                 and make meaningful improvements at
                                                 Missouri, Nevada, New Jersey, New                       and to establish the applicability criteria            the identified downwind receptors. For
                                                 York, Ohio, Oklahoma, Pennsylvania,                     and proposed emissions limits, the EPA                 a detailed discussion of the changes,
                                                 Texas, Utah, Virginia, West Virginia,                   reviewed Reasonably Available Control                  between the proposal and this final rule,
                                                 and Wisconsin). For 19 of those states                  Technology (RACT) rules, New Source                    in emissions unit types included and in
                                                 that are also linked in 2026 (Arkansas,                 Performance Standards (NSPS) rules,                    emissions limits, see section VI.C. of
                                                 Illinois, Indiana, Kentucky, Louisiana,                 National Emissions Standards for                       this document.
                                                 Maryland, Michigan, Mississippi,                        Hazardous Air Pollutants (NESHAP)                         The EPA performed air quality
                                                 Missouri, Nevada, New Jersey, New                       rules, existing technical studies, rules in            analysis using the Ozone Air Quality
                                                 York, Ohio, Oklahoma, Pennsylvania,                     approved SIPs, consent decrees, and                    Assessment Tool (AQAT) to evaluate
                                                 Texas, Utah, Virginia, and West                         permit limits. That evaluation is                      the air quality improvements
                                                 Virginia), the EPA is determining that                  detailed in the ‘‘Technical Support                    anticipated to result from the
                                                 the selected EGU control stringency also                Document (TSD) for the Proposed Rule,                  implementation of the selected EGU and
                                                 includes emissions reductions                           Docket ID No. EPA–HQ–OAR–2021–                         non-EGU emissions reduction strategies.
                                                 commensurate with the retrofit of SCR                   0668, Non-EGU Sectors TSD’’ (Dec.                      See section V.D of this document.20 We
                                                 at coal-fired units of 100 MW or greater                2021), hereinafter referred to as the                  also used AQAT to determine whether
                                                 capacity (excepting circulating fluidized               Proposed Non-EGU Sectors TSD,                          the emissions reductions for both EGUs
                                                 bed units (CFB)), new SNCR on coal-                     prepared for the proposed FIP.18                       and non-EGUs potentially create an
                                                 fired units of less than 100 MW capacity                   In this final rule, the EPA is retaining            ‘‘over-control’’ scenario. As in prior
                                                 and on CFBs of any capacity size, and                   the industries and many of the                         transport rules following the holdings in
                                                 SCR on oil/gas steam units greater than                 emissions unit types included in the                   EME Homer City, overcontrol would be
                                                 100 MW that have historically emitted                   proposal in its findings of significant                established if the record indicated that,
                                                 at least 150 tons of NOX per ozone                      contribution at Step 3, as discussed in                for any given state, there is a less
                                                 season.                                                 section V of this document. As                         stringent emissions control approach for
                                                                                                         discussed in the memorandum for the                    that state, by which (1) the expected
                                                    To identify appropriate control                      final rule, titled ‘‘Summary of Final                  ozone improvements would be
                                                 strategies for non-EGU sources to                       Rule Applicability Criteria and                        sufficient to resolve all of the downwind
                                                 achieve NOX emissions reductions that                   Emissions Limits for Non-EGU                           receptor(s) to which that state is linked;
                                                 would result in meaningful air quality                  Emissions Units, Assumed Control                       or (2) the expected ozone improvements
                                                 improvements in downwind areas, for                     Technologies for Meeting the Final                     would reduce the upwind state’s ozone
                                                 the proposed FIP, the EPA evaluated air                 Emissions Limits, and Estimated                        contributions below the screening
                                                 quality modeling information, annual                    Emissions Units, Emissions Reductions,                 threshold (i.e., 1 percent of the NAAQS
                                                 emissions, and information about                        and Costs,’’ the EPA uses the 2019                     or 0.70 ppb) to all of linked receptors.
                                                 potential controls to determine which                   emissions inventory, the list of                       The EPA’s over-control analysis,
                                                 industries, beyond the power sector,                    emissions units estimated to be                        discussed in section V.D.4 of this
                                                 could have the greatest impact in                       captured by the applicability criteria,                document, shows that the control
                                                 providing ozone air quality                             the assumed control technologies that                  stringencies for EGU and non-EGU
                                                 improvements in affected downwind                       would meet the emissions limits, and                   sources in this final rule do not over-
                                                 states. Once the EPA identified the                     information on control efficiencies and                control upwind states’ emissions either
                                                 industries, the EPA used its Control                    default cost/ton values from the Control               with respect to the downwind air
                                                 Strategy Tool to identify potential                     Measures Database,19 to estimate NOX                   quality problems to which they are
                                                 emissions units and control measures                                                                           linked or with respect to the 1 percent
                                                                                                         emissions reductions and costs for the
                                                 and to estimate emissions reductions                                                                           of the NAAQS contribution threshold,
                                                                                                         year 2026. In this final rule, the EPA
                                                 and compliance costs associated with                                                                           such that over-control would trigger re-
                                                                                                         made changes to the applicability
                                                 application of non-EGU emissions                                                                               evaluation at Step 3 for any linked
                                                                                                         criteria and emissions limits following
                                                 control measures. The technical                                                                                upwind state.
                                                                                                         consideration of comments on the
                                                 memorandum Screening Assessment of                                                                                Based on the multi-factor test applied
                                                                                                         proposal and reassessed the overall non-
                                                 Potential Emissions Reductions, Air                                                                            to both EGU and non-EGU sources and
                                                                                                         EGU emissions reduction strategy based
                                                 Quality Impacts, and Costs from Non-
                                                                                                         on the factors at Step 3 to render a
                                                 EGU Emissions Units for 2026 lays out                                                                            20 The use of AQAT and other simplified
                                                                                                         judgment as to whether the level of                    modeling tools to generate ‘‘appropriately reliable
                                                 the analytical framework and data used
                                                                                                         emissions control that would be                        projections of air quality conditions and
                                                 to prepare proxy estimates for 2026 of                                                                         contributions’’ when there is limited time to
                                                                                                         achievable from these units meets the
                                                 potentially affected non-EGU facilities                                                                        conduct full-scale photochemical grid modeling
                                                                                                         criteria for ‘‘significant contribution.’’ In
                                                 and emissions units, emissions                                                                                 was upheld by the D.C. Circuit in MOG v. EPA, No.
                                                                                                         the final rule, we affirm our proposed                 21–1146 (D.C. Cir. March 3, 2023). The EPA has
                                                 reductions, and costs.16 17 This
                                                                                                         determinations of which industries and                 used AQAT for the purpose of air quality and
                                                                                                         emissions units are potentially                        overcontrol assessments at Step 3 in the prior
                                                   16 The memorandum is available in the docket at
                                                                                                                                                                CSAPR rulemakings, and we continue to find it
                                                 https://www.regulations.gov/document/EPA-HQ-                                                                   reliable for such purposes. We discuss the
                                                 OAR-2021-0668-0150.                                     emissions units. This information helped shape the     calibration of AQAT for this action and the multiple
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                                                   17 This screening assessment was not intended to      proposed rule.                                         sensitivity checks we performed to ensure its
                                                                                                           18 The TSD is available in the docket at https://
                                                 identify the specific emissions units subject to the                                                           reliability in the Ozone Transport Policy Analysis
                                                 proposed emissions limits for non-EGU sources but       www.regulations.gov/document/EPA-HQ-OAR-               Final Rule TSD in the docket. Because we were able
                                                 was intended to inform the development of the           2021-0668-0145.                                        to conduct a photochemical grid modeling run of
                                                 proposed rule by identifying proxies for (1) non-         19 More information about the control measures       the 2026 final rule policy scenario, these results are
                                                 EGU emissions units that had emissions reduction        database (CMDB) can be found at the following link:    also included in the docket and confirm the
                                                 potential, (2) potential controls for and emissions     https://www.epa.gov/economic-and-cost-analysis-        regulatory conclusions reached with AQAT. See
                                                 reductions from these emissions units, and (3)          air-pollution-regulations/cost-analysis-modelstools-   section VIII of this document and Appendix 3A of
                                                 control costs from the potential controls on these      air-pollution.                                         the Final Rule RIA for more information.



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                                                 our subsequent assessment of over-                      EGUs within the borders of three states                budget is 4 percent lower than the 2027
                                                 control, the EPA finds that the selected                not currently covered by any CSAPR                     preset budget; and the 2029 preset
                                                 EGU and non-EGU control stringencies                    trading program for seasonal NOX                       budget is 8 percent lower than the 2028
                                                 constitute the elimination of significant               emissions—Minnesota, Nevada, and                       preset budget.
                                                 contribution and interference with                      Utah—will enter the Group 3 trading                       While it is possible that additional
                                                 maintenance, without over-controlling                   program in the 2023 control period                     EGUs may seek to retire in this 2026–
                                                 emissions, from the 23 upwind states                    following the effective date of the final              2029 period than are currently
                                                 subject to EGU and non-EGU emissions                    rule. In addition, the EPA is revising                 scheduled and captured in the preset
                                                 reductions requirements under the rule.                 other aspects of the Group 3 trading                   emissions budgets, it is also possible
                                                 For additional details about the multi-                 program to better ensure that this                     that EGUs with currently scheduled
                                                 factor test and the over-control analysis,              method of implementation at Step 4                     retirements may adjust their retirement
                                                 see the document titled ‘‘Technical                     provides a durable remedy for the                      timing to accommodate the timing of
                                                 Support Document (TSD) for the Final                    elimination of the amount of emissions                 replacement generation and/or
                                                 Federal Good Neighbor Plan for the                      deemed to constitute significant                       transmission upgrades necessitated by
                                                 2015 Ozone National Ambient Air                         contribution at Step 3 of the interstate               their retirement. While the EPA
                                                 Quality Standard, Docket ID No. EPA–                    transport framework. These                             designed this final rule to provide preset
                                                 HQ–OAR–2021–0668, Ozone Transport                       enhancements, summarized later in this                 budgets through 2029 to incorporate
                                                 Policy Analysis Proposed Rule TSD’’                     section, are designed to operate together              known retirement-related emissions
                                                 (Mar. 2023), hereinafter referred to as                 to maintain that degree of control                     reductions to ensure the elimination of
                                                 Ozone Transport Policy Analysis Final                   stringency over time, thus improving                   significant contribution as identified at
                                                 Rule TSD, included in the docket for                    emissions performance at individual                    Step 3 is maintained over time, the use
                                                 this rulemaking.                                        units and offering a necessary measure                 of these floors also provides generators
                                                    In this fourth step of the 4-step                    of assurance that NOX pollution controls               and grid operators enhanced certainty
                                                 framework, the EPA is including                         will be operated throughout each ozone                 regarding the minimum amount of
                                                 enforceable measures in the                             season, as described in section VI.B of                allowable NOX emissions for reliability
                                                 promulgated FIPs to achieve the                         this document. This rulemaking does                    planning through the 2020s. By
                                                 required emissions reductions in each of                not revise the budget stringency and                   providing the opportunity for dynamic
                                                 the 23 states. Specifically, the FIPs                   geography of the existing CSAPR NOX                    budgets to subsequently calibrate
                                                 require covered power plants within the                 Ozone Season Group 1 trading program.                  budgets to any unforeseen increases in
                                                 borders of 22 states (Alabama, Arkansas,                Aside from the seven states moving                     fleet demand, it also ensures this rule
                                                 Illinois, Indiana, Kentucky, Louisiana,                 from the Group 2 trading program to the                will not interfere with ongoing
                                                 Maryland, Michigan, Minnesota,                          Group 3 trading program under the final                retirement scheduling or adjustments
                                                 Mississippi, Missouri, Nevada, New                      rule, this rule otherwise leaves                       and thus is robust to future uncertainty
                                                 Jersey, New York, Ohio, Oklahoma,                       unchanged the budget stringency of the                 during a transition period.
                                                 Pennsylvania, Texas, Utah, Virginia,                    existing CSAPR NOX Ozone Season                           The EPA also believes the likelihood
                                                 West Virginia, and Wisconsin) to                        Group 2 trading program.                               and magnitude of a scenario in which a
                                                 participate in the CSAPR NOX Ozone                         The EPA is establishing preset ozone                state’s preset emissions budgets during
                                                 Season Group 3 Trading Program                          season NOX emissions budgets for each                  this period would authorize more
                                                 created by the Revised CSAPR Update.                    ozone season from 2023 through 2029,                   emissions than the corresponding
                                                 Affected EGUs within the borders of the                 using generally the same Group 3                       dynamic budget is low. As described
                                                 following 12 states currently                           trading program budget-setting                         elsewhere, dynamic budgets are
                                                 participating in the Group 3 Trading                    methodology used in the Revised                        incorporated to best calibrate the rule’s
                                                 Program will remain in the program,                     CSAPR Update, as explained in section                  stringency to future unknown changes
                                                 with revised provisions beginning in the                VI.B of this document and as shown in                  to the fleet. The circumstances in which
                                                 2023 ozone season, under this rule:                     Table I.B–1. The preset budgets for the                a dynamic budget would produce a
                                                 Illinois, Indiana, Kentucky, Louisiana,                 2026 through 2029 ozone seasons                        level of allowable emissions less than
                                                 Maryland, Michigan, New Jersey, New                     incorporate EGU emissions reductions                   preset budgets is most pronounced for
                                                 York, Ohio, Pennsylvania, Virginia, and                 to eliminate significant contribution and              future periods in which there is a high
                                                 West Virginia. Affected EGUs within the                 also take into account a substantial                   degree of unknown retirements
                                                 borders of the following seven states                   number of known retirements over that                  (increasing the risk that budgets are not
                                                 currently covered by the CSAPR NOX                      period to ensure the elimination of                    appropriately calibrated to the reduced
                                                 Ozone Season Group 2 Trading Program                    significant contribution is maintained as              fossil fuel heat input post retirement).
                                                 (the ‘‘Group 2 trading program’’)—                      intended by this rule. These budgets                   However, the 2026–2029 period
                                                 Alabama, Arkansas, Mississippi,                         serve as floors and may be supplanted                  presents a case where retirement
                                                 Missouri, Oklahoma, Texas, and                          by a budget that the EPA calculates for                planning has been announced with
                                                 Wisconsin—will transition from the                      that control period using more recent                  greater lead time than normal due to a
                                                 Group 2 program to the revised Group                    information (a ‘‘dynamic budget’’) if that             combination of utility 2030
                                                 3 trading program beginning with the                    dynamic budget yields a higher level of                decarbonization commitments, and
                                                 2023 control period,21 and affected                     allowable emissions—still consistent                   Effluent Limitation Guideline (ELG) and
                                                                                                         with the Step 3 level of emissions                     Coal Combustion Residual (CCR)
                                                    21 The EPA will deem participation in the Group
                                                                                                         control stringency—than the preset                     alternative compliance pathways
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                                                 3 trading program by the EGUs in these seven states
                                                 as also addressing the respective states’ good
                                                                                                         budget. As reflected in Table I.B–1, and               available to units planning to cease
                                                 neighbor obligations with respect to the 2008 ozone     accounting for both the stringency of the              combustion of coal by December 31,
                                                 NAAQS (for all seven states), the 1997 ozone            rule and known fleet change, the 2026                  2028. For each of these existing rules,
                                                 NAAQS (for all the states except Texas), and the        preset budget is 23 percent lower than                 facilities that are planning to retire have
                                                 1979 ozone NAAQS (for Alabama and Missouri) to
                                                 the same extent that those obligations are currently
                                                                                                         the 2025 preset budget; the 2027 preset                already conveyed that intention to EPA
                                                 being addressed by participation of the states’ EGUs    budget is 20 percent lower than the                    in order to take advantage of the
                                                 in the Group 2 trading program.                         2026 preset budget; the 2028 preset                    alternative compliance pathways


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                                                 available to such facilities.22 Therefore,                   mechanism to accommodate planning                        year before the control period, using the
                                                 the likelihood of unknown                                    and fleet transition dynamics during                     dynamic budget-setting methodology. In
                                                 retirements—leading to lower dynamic                         this period. The need and reasoning for                  this manner, the stringency of the
                                                 budgets—is much lower than typical for                       the limited-period preset budget floor is                program will be secured and sustained
                                                 this time horizon. This makes EPA’s                          further discussed in section VI.B.4.                     in the dynamic budgets of this program,
                                                 balanced use of preset emissions                               For control periods in 2030 and                        regardless of whatever EGU transition
                                                 budgets or dynamic budgets if they                           thereafter, the emissions budgets will be                activities ultimately occur in this 2026–
                                                 exceed preset levels a reasonable                            the amounts calculated for each state                    2029 transition period.
                                                                                                              and noticed to the public roughly one
                                                  TABLE I.B–1—PRESET CSAPR NOX OZONE SEASON GROUP 3 STATE EMISSIONS BUDGETS (TONS) FOR 2023 THROUGH
                                                                                      2029 CONTROL PERIODS *
                                                                                        2023 State         2024 State            2025 State         2026 State        2027 State          2028 State          2029 State
                                                               State                      budget             budget                budget            budget **         budget **           budget **           budget **

                                                 Alabama .......................               6,379                 6,489              6,489               6,339               6,236             6,236               5,105
                                                 Arkansas ......................               8,927                 8,927              8,927               6,365               4,031             4,031               3,582
                                                 Illinois ...........................          7,474                 7,325              7,325               5,889               5,363             4,555               4,050
                                                 Indiana .........................            12,440                11,413             11,413               8,410               8,135             7,280               5,808
                                                 Kentucky ......................              13,601                12,999             12,472              10,190               7,908             7,837               7,392
                                                 Louisiana ......................              9,363                 9,363              9,107               6,370               3,792             3,792               3,639
                                                 Maryland ......................               1,206                 1,206              1,206                 842                 842               842                 842
                                                 Michigan .......................             10,727                10,275             10,275               6,743               5,691             5,691               4,656
                                                 Minnesota .....................               5,504                 4,058              4,058               4,058               2,905             2,905               2,578
                                                 Mississippi ....................              6,210                 5,058              5,037               3,484               2,084             1,752               1,752
                                                 Missouri ........................            12,598                11,116             11,116               9,248               7,329             7,329               7,329
                                                 Nevada .........................              2,368                 2,589              2,545               1,142               1,113             1,113                 880
                                                 New Jersey ..................                   773                   773                773                 773                 773               773                 773
                                                 New York .....................                3,912                 3,912              3,912               3,650               3,388             3,388               3,388
                                                 Ohio ..............................           9,110                 7,929              7,929               7,929               7,929             6,911               6,409
                                                 Oklahoma .....................               10,271                 9,384              9,376               6,631               3,917             3,917               3,917
                                                 Pennsylvania ................                 8,138                 8,138              8,138               7,512               7,158             7,158               4,828
                                                 Texas ...........................            40,134                40,134             38,542              31,123              23,009            21,623              20,635
                                                 Utah ..............................          15,755                15,917             15,917               6,258               2,593             2,593               2,593
                                                 Virginia .........................            3,143                 2,756              2,756               2,565               2,373             2,373               1,951
                                                 West Virginia ................               13,791                11,958             11,958              10,818               9,678             9,678               9,678
                                                 Wisconsin .....................               6,295                 6,295              5,988               4,990               3,416             3,416               3,416

                                                       Total ......................         208,119            198,014               195,259              151,329          119,663             115,193              105,201
                                                   * Further information on the state-level emissions budget calculations pertaining to Table I.B–1 is provided in section VI.B.4 of this document
                                                 as well as the Ozone Transport Policy Analysis Final Rule TSD. Further information on the approach for allocating a portion of Utah’s emissions
                                                 budget for each control period to the existing EGU in the Uintah and Ouray Reservation within Utah’s borders is provided in section VI.B.9 of this
                                                 document.
                                                   ** As described in section VI of this document, the budget for these years will be subsequently determined and equal the greater of the value
                                                 above or that derived from the dynamic budget methodology.


                                                    The budget-setting methodology that                       provision. As already noted, for the                     Unrestricted banking of allowances
                                                 the EPA will use to determine dynamic                        control periods in which both preset                     allows what might otherwise be
                                                 budgets for each control period starting                     budgets and dynamic budgets are                          temporary surpluses of allowances in
                                                 with 2026 is an extension of the                             determined for a state (i.e., 2026 through               some individual control periods to
                                                 methodology used to determine the                            2029), the state’s dynamic budget will                   accumulate into a long-term allowance
                                                 preset budgets and will be used                              apply only if it is higher than the state’s              surplus that reduces allowance prices
                                                 routinely to determine emissions                             preset budget. See section VI.B of this                  and weakens the trading program’s
                                                 budgets for each future control period in                    document for additional discussion of                    incentives to control emissions. To
                                                 the year before that control period, with                    the EPA’s method for adjusting                           prevent this outcome, the EPA is also
                                                 each emissions budget reflecting the                         emissions budgets to ensure elimination                  revising the Group 3 trading program by
                                                 latest available information on the                          of significant contribution from EGU                     adding provisions that establish a
                                                 composition and utilization of the EGU                       sources in the linked upwind states.                     routine recalibration process for banked
                                                 fleet at the time that emissions budget                         In conjunction with the levels of the                 allowances using a target percentage of
                                                 is determined. The stringency of the                         emissions budgets, the carryover of                      21 percent for the 2024–2029 control
                                                 dynamic emissions budgets will simply                        unused allowances for use in future                      periods and 10.5 percent for control
                                                 reflect the stringency of the emissions                      control periods as banked allowances                     periods in 2030 and later years.
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                                                 control strategies selected in the                           affects the ability of a trading program                    As an enhancement to the structure of
                                                 rulemaking more consistently over time                       to maintain the rule’s selected control                  the trading program originally
                                                 and ensure that the annual updates                           stringency and related EGU effective                     promulgated in the Revised CSAPR
                                                 would eliminate emissions determined                         emissions rate performance level as the                  Update, the EPA is also establishing
                                                 to be unlawful under the good neighbor                       EGU fleet evolves over time.                             backstop daily emissions rates for coal
                                                   22 Notices of Planned Participation for the ELG            (85 FR 64708, 64679). For the CCR Action, facilities     had to indicate their future plans to cease receipt
                                                 Reconsideration Rule were due October 31, 2021                                                                        of waste by April 11, 2021 (85 FR 53517).



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                                                 steam EGUs greater than or equal to 100                                     compliance flexibility consistent with                                      compliance date for industrial sources.
                                                 MW in covered states. Starting with the                                     that determination. These trading                                           The EPA is therefore finalizing control
                                                 2024 control period, a 3-for-1 allowance                                    program improvements will promote                                           requirements for non-EGU sources that
                                                 surrender ratio (instead of the usual 1-                                    consistent emissions control                                                take effect in 2026. However, in
                                                 for-1 surrender ratio) will apply to                                        performance across the power sector in                                      recognition of comments and additional
                                                 emissions during the ozone season from                                      the linked upwind states, which                                             information indicating that not all
                                                 any large coal-fired EGU with existing                                      protects communities living in                                              facilities may be capable of meeting the
                                                 SCR controls exceeding by more than 50                                      downwind ozone nonattainment areas                                          control requirements by that time, the
                                                 tons a daily average NOX emissions rate                                     from exceedances of the NAAQS that                                          final rule provides a process by which
                                                 of 0.14 lb/mmBtu. The daily average                                         might otherwise occur.                                                      the EPA may grant compliance
                                                 emissions rate provisions will apply to                                       The EPA is including enforceable                                          extensions of up to 1 year, which if
                                                 large coal-fired EGUs without existing                                      emissions control requirements that will                                    approved by the EPA, would require
                                                 SCR controls starting with the second                                       apply during the ozone season (annually                                     compliance no later than the 2027 ozone
                                                 control period in which newly installed                                     from May to September) for nine non-
                                                                                                                                                                                                         season, followed by an additional
                                                 SCR controls are operational at the unit,                                   EGU industries in the promulgated FIPs
                                                                                                                                                                                                         possible extension of up to 2 more
                                                 but not later than the 2030 control                                         to achieve the required emissions
                                                                                                                                                                                                         years, where specific criteria are met.
                                                 period.                                                                     reductions in 20 states with remaining
                                                    The backstop daily emissions rates                                                                                                                   For sources located in the 20 states
                                                                                                                             interstate transport obligations for the
                                                 work in tandem with the ozone season                                        2015 ozone NAAQS in 2026: Arkansas,                                         listed in the previous paragraph, the
                                                 emissions budgets to ensure the                                             California, Illinois, Indiana, Kentucky,                                    EPA is finalizing the NOX emissions
                                                 elimination of significant contribution                                     Louisiana, Maryland, Michigan,                                              limits listed in Table I.B–2 for
                                                 as determined at Step 3 is maintained                                       Mississippi, Missouri, Nevada, New                                          reciprocating internal combustion
                                                 over time and more consistently                                             Jersey, New York, Ohio, Oklahoma,                                           engines in Pipeline Transportation of
                                                 throughout each ozone season. They                                          Pennsylvania, Texas, Utah, Virginia,                                        Natural Gas; the NOX emissions limits
                                                 will offer downwind receptor areas a                                        and West Virginia. These requirements                                       listed in Table I.B–3 for kilns in Cement
                                                 necessary measure of assurance that                                         would apply to all existing emissions                                       and Cement Product Manufacturing; the
                                                 they will be protected on a daily basis                                     units and to any future emissions units                                     NOX emissions limits listed in Table
                                                 during the ozone season by more                                             constructed in the covered states that                                      I.B–4 for reheat furnaces in Iron and
                                                 continuous and consistent operation of                                      meet the relevant applicability criteria.                                   Steel Mills and Ferroalloy
                                                 installed pollution controls. The EPA’s                                     Thus, the emissions limitations for non-                                    Manufacturing; the NOX emissions
                                                 experience with the CSAPR trading                                           EGU sources and associated compliance                                       limits listed in Table I.B–5 for furnaces
                                                 programs has revealed instances where                                       requirements would apply in all 20                                          in Glass and Glass Product
                                                 EGUs have reduced their SCRs’                                               states listed in this paragraph, even if                                    Manufacturing; the NOX emissions
                                                 performance on a given day, or across                                       some of these states do not currently                                       limits listed in Table I.B–6 for boilers in
                                                 the entire ozone seasons in some cases,                                     have any existing emissions units                                           Iron and Steel Mills and Ferroalloy
                                                 including high ozone days.23 In addition                                    meeting the applicability criteria for the                                  Manufacturing, Metal Ore Mining, Basic
                                                 to maintaining a mass-based seasonal                                        identified industries.                                                      Chemical Manufacturing, Petroleum and
                                                 requirement, this rule will achieve a                                         Based on our evaluation of the time                                       Coal Products Manufacturing, and Pulp,
                                                 much more consistent level of emissions                                     required to install controls at the types                                   Paper, and Paperboard Mills; and the
                                                 control in line with our Step 3                                             of non-EGU sources covered by this                                          NOX emissions limits listed in Table
                                                 determination of significant                                                rule, the EPA has identified the 2026                                       I.B–7 for combustors and incinerators in
                                                 contribution while maintaining                                              ozone season as a reasonable                                                Solid Waste Combustors or Incinerators.

                                                                  TABLE I.B–2—SUMMARY OF NOX EMISSIONS LIMITS FOR PIPELINE TRANSPORTATION OF NATURAL GAS
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                              Engine type and fuel                                                                                                 (g/hp-hr)

                                                 Natural Gas Fired Four Stroke Rich Burn ...............................................................................................................................                                         1.0
                                                 Natural Gas Fired Four Stroke Lean Burn ..............................................................................................................................                                          1.5
                                                 Natural Gas Fired Two Stroke Lean Burn ...............................................................................................................................                                          3.0


                                                              TABLE I.B–3—SUMMARY OF NOX EMISSIONS LIMITS FOR KILN TYPES IN CEMENT AND CONCRETE PRODUCT
                                                                                                  MANUFACTURING
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                                       Kiln type                                                                                                (lb/ton of clinker)

                                                 Long Wet .................................................................................................................................................................................                      4.0
                                                 Long Dry ..................................................................................................................................................................................                     3.0
                                                 Preheater .................................................................................................................................................................................                     3.8
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                                                 Precalciner ...............................................................................................................................................................................                     2.3
                                                 Preheater/Precalciner ..............................................................................................................................................................                            2.8




                                                  23 See 86 FR 23090. The EPA highlighted the                                tripled its ozone-season NOX emission rate between
                                                 Miami Fort Unit 7 (possessing a SCR) more than                              2017 and 2019.



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                                                    Based on evaluation of comments                                           proposed at 87 FR 20046 (see section
                                                 received, the EPA is not, at this time,                                      VII.C.2 of the April 6, 2022, Proposal).
                                                 finalizing the source cap limit as

                                                    TABLE I.B–4—SUMMARY OF NOX CONTROL REQUIREMENTS FOR IRON AND STEEL AND FERROALLOY EMISSIONS UNITS
                                                                                                                                                                                               NOX emissions standard or requirement
                                                                                              Emissions unit                                                                                               (lb/mmBtu)

                                                 Reheat furnace .........................................................................................             Test and set limit based on installation of Low-NOX Burners.


                                                          TABLE I.B–5—SUMMARY OF NOX EMISSIONS LIMITS FOR FURNACE UNIT TYPES IN GLASS AND GLASS PRODUCT
                                                                                                 MANUFACTURING
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                                Furnace type                                                                                               (lb/ton of glass produced)

                                                 Container Glass Manufacturing Furnace .....................................................................................................................                                                        4.0
                                                 Pressed/Blown Glass Manufacturing Furnace or Fiberglass Manufacturing Furnace ................................................                                                                                     4.0
                                                 Flat Glass Manufacturing Furnace ..............................................................................................................................                                                    7.0


                                                   TABLE I.B–6—SUMMARY OF NOX EMISSIONS LIMITS FOR BOILERS IN IRON AND STEEL AND FERROALLOY MANUFAC-
                                                      TURING, METAL ORE MINING, BASIC CHEMICAL MANUFACTURING, PETROLEUM AND COAL PRODUCTS MANUFAC-
                                                      TURING, AND PULP, PAPER, AND PAPERBOARD MILLS

                                                                                                                                                                                                                                                      Emissions limit
                                                                                                                                         Unit type                                                                                                  (lbs NOX/mmBtu)

                                                 Coal ..........................................................................................................................................................................................                   0.20
                                                 Residual oil ..............................................................................................................................................................................                       0.20
                                                 Distillate oil ...............................................................................................................................................................................                    0.12
                                                 Natural gas ..............................................................................................................................................................................                        0.08


                                                             TABLE I.B–7—SUMMARY OF NOX EMISSIONS LIMITS FOR COMBUSTORS AND INCINERATORS IN SOLID WASTE
                                                                                           COMBUSTORS OR INCINERATORS
                                                                                                                                                                                                                                                   NOX emissions limit
                                                                                                              Combustor or incinerator, averaging period                                                                                               (ppmvd)

                                                 ppmvd on a 24-hour block averaging period ..........................................................................................................................                                              110
                                                 ppmvd on a 30-day rolling averaging period ...........................................................................................................................                                            105



                                                    Section VI.C of this document                                             modeling platform and emissions                                                Section IX of this document provides a
                                                 provides an overview of the                                                  inventories used in the rule, as well as                                       summary of changes to the existing
                                                 applicability criteria, compliance                                           the EPA’s methods for identifying                                              regulatory text applicable to the EGUs
                                                 assurance requirements, and the EPA’s                                        downwind air quality problems and                                              covered by this rule; and section X of
                                                 rationale for establishing these                                             upwind states’ ozone transport                                                 this document discusses the statutory
                                                 emissions limits and control                                                 contributions to downwind states.                                              and executive orders affecting this
                                                 requirements for each of the non-EGU                                         Section V of this document describes                                           rulemaking.
                                                 industries covered by the rule.                                              the EPA’s approach to quantifying
                                                    The remainder of this preamble is                                         upwind states’ obligations in the form of                                      C. Costs and Benefits
                                                 organized as follows: section II of this                                     EGU NOX control stringencies and non-                                             A summary of the key results of the
                                                 document outlines general applicability                                      EGU emissions limits. Section VI of this                                       cost-benefit analysis that was prepared
                                                 criteria and describes the EPA’s legal                                       document describes key elements of the                                         for this final rule is presented in Table
                                                 authority for this rule and the                                              implementation schedule for EGU and                                            I.C–1. Table I.C–1 presents estimates of
                                                 relationship of the rule to previous                                         non-EGU emissions reductions                                                   the present values (PV) and equivalent
                                                 interstate ozone transport rulemakings.                                      requirements, including details                                                annualized values (EAV), calculated
                                                 Section III of this document describes                                       regarding the revised aspects of the                                           using discount rates of 3 and 7 percent
                                                 the human health and environmental                                           CSAPR NOX Group 3 trading program                                              as recommended by OMB’s Circular A–
                                                 challenges posed by interstate transport                                     and compliance deadlines, as well as                                           4, of the health and climate benefits,
                                                 contributions to ozone air quality                                                                                                                          compliance costs, and net benefits of the
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                                                                                                                              regulatory requirements and compliance
                                                 problems, as well as the EPA’s overall                                       deadlines for non-EGU sources. Section                                         final rule, in 2016 dollars, discounted to
                                                 approach for addressing interstate                                           VII of this document discusses the                                             2023. The estimated monetized net
                                                 transport for the 2015 ozone NAAQS in                                        environmental justice analysis of the                                          benefits are the estimated monetized
                                                 this rule. Section IV of this document                                       rule, as well as outreach and                                                  benefits minus the estimated monetized
                                                 describes the Agency’s analyses of air                                       engagement efforts. Section VIII of this                                       costs of the final rule. These results
                                                 quality data to inform this rulemaking,                                      document describes the expected costs,                                         present an incomplete overview of the
                                                 including descriptions of the air quality                                    benefits, and other impacts of this rule.                                      effects of the rule because important


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                                                 categories of benefits—including                                          not monetized and are therefore not                                        effects into account would show the
                                                 benefits from reducing other types of air                                 reflected in the cost-benefit tables. We                                   rule to be more net beneficial than this
                                                 pollutants, and water pollution—were                                      anticipate that taking non-monetized                                       table reflects.

                                                  TABLE I.C–1—ESTIMATED MONETIZED HEALTH AND CLIMATE BENEFITS, COMPLIANCE COSTS, AND NET BENEFITS OF THE
                                                                                     FINAL RULE, 2023 THROUGH 2042
                                                                                                                                  [Millions 2016$, discounted to 2023] a

                                                                                                                                                                                                                              3% Discount             7% Discount
                                                                                                                                                                                                                                 rate                    rate

                                                 Present Value:
                                                     Health Benefits b ...............................................................................................................................................              $200,000             $130,000
                                                     Climate Benefits c .............................................................................................................................................                 15,000               15,000
                                                     Compliance Costs d ..........................................................................................................................................                    14,000                9,400
                                                     Net Benefits ......................................................................................................................................................             200,000              140,000
                                                 Equivalent Annualized Value:
                                                     Health Benefits .................................................................................................................................................                  13,000              12,000
                                                     Climate Benefits ...............................................................................................................................................                      970                 970
                                                     Compliance Costs ............................................................................................................................................                         910                 770
                                                     Net Benefits ......................................................................................................................................................                13,000              12,000
                                                    a Rows may not appear to add correctly due to rounding.
                                                    b The annualized present value of costs and benefits are calculated over a 20-year period from 2023 to 2042. Monetized benefits include those
                                                 related to public health associated with reductions in ozone and PM2.5 concentrations. The health benefits are associated with two point esti-
                                                 mates and are presented at real discount rates of 3 and 7 percent. Several categories of benefits remain unmonetized and are thus not reflected
                                                 in the table.
                                                    c Climate benefits are calculated using four different estimates of the social cost of carbon (SC–CO (model average at 2.5 percent, 3 percent,
                                                                                                                                                          2
                                                 and 5 percent discount rates; 95th percentile at 3 percent discount rate). For presentational purposes in this table, the climate benefits associ-
                                                 ated with the average SC–CO2 at a 3-percent discount rate are used in the columns displaying results of other costs and benefits that are dis-
                                                 counted at either a 3-percent or 7-percent discount rate.
                                                    d The costs presented in this table are consistent with the costs presented in Chapter 4 of the Regulatory Impact Analysis (RIA). To estimate
                                                 these annualized costs for EGUs, the EPA uses a conventional and widely accepted approach that applies a capital recovery factor (CRF) multi-
                                                 plier to capital investments and adds that to the annual incremental operating expenses. Costs were calculated using a 3.76 percent real dis-
                                                 count rate consistent with the rate used in IPM’s objective function for cost-minimization. For further information on the discount rate use, please
                                                 see Chapter 4, Table 4–8 in the RIA.


                                                    As shown in Table I.C–1, the PV of                                     ($12,000 million). The PV of the                                           rate, the PV of the compliance costs is
                                                 the monetized health benefits,                                            monetized climate benefits, associated                                     estimated to be about $9.4 billion
                                                 associated with reductions in ozone and                                   with reductions in GHG emissions, of                                       ($9,400 million), with an EAV of about
                                                 PM2.5 concentrations, of this final rule,                                 this final rule, discounted at a 3-percent                                 $770 million.
                                                 discounted at a 3-percent discount rate,                                  discount rate, is estimated to be about
                                                 is estimated to be about $200 billion                                     $15 billion ($15,000 million), with an                                     II. General Information
                                                 ($200,000 million), with an EAV of                                        EAV of about $970 million. The PV of                                       A. Does this action apply to me?
                                                 about $13 billion ($13,000 million). At                                   the monetized compliance costs,
                                                 a 7-percent discount rate, the PV of the                                  discounted at a 3-percent rate, is                                           This rule affects EGU and non-EGU
                                                 monetized health benefits is estimated                                    estimated to be about $14 billion                                          sources, and regulates the groups
                                                 to be $130 billion ($130,000 million),                                    ($14,000 million), with an EAV of about                                    identified in Table II.A–1.
                                                 with an EAV of about $12 billion                                          $910 million. At a 7-percent discount

                                                                                                                              TABLE II.A–1—REGULATED GROUPS
                                                                                                                                       Industry group                                                                                                   NAICS

                                                 Fossil fuel-fired electric power generation ...........................................................................................................................................                   221112
                                                 Pipeline Transportation of Natural Gas ...............................................................................................................................................                      4862
                                                 Metal Ore Mining .................................................................................................................................................................................          2122
                                                 Cement and Concrete Product Manufacturing ....................................................................................................................................                              3273
                                                 Iron and Steel Mills and Ferroalloy Manufacturing .............................................................................................................................                             3311
                                                 Glass and Glass Product Manufacturing .............................................................................................................................................                         3272
                                                 Basic Chemical Manufacturing ............................................................................................................................................................                   3251
                                                 Petroleum and Coal Products Manufacturing .....................................................................................................................................                             3241
                                                 Pulp, Paper, and Paperboard Mills .....................................................................................................................................................                     3221
                                                 Solid Waste Combustors and Incinerators ..........................................................................................................................................                        562213
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                                                   This table is not intended to be                                        listed in the table could also be                                          applicability of this rule to a particular
                                                 exhaustive, but rather provides a guide                                   regulated. To determine whether your                                       entity, consult the person listed in the
                                                 for readers regarding entities likely to be                               EGU entity is regulated by this rule, you                                  FOR FURTHER INFORMATION CONTACT
                                                 regulated by this rule. This table lists                                  should carefully examine the                                               section.
                                                 the types of entities that the EPA is now                                 applicability criteria found in 40 CFR
                                                 aware could potentially be regulated by                                   97.1004, which are unchanged in this
                                                 this rule. Other types of entities not                                    rule. If you have questions regarding the


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                                                 B. What action is the Agency taking?                    for coal-fired steam sources with                      enforcement’’ of such NAAQS.24 The
                                                    The EPA evaluated whether interstate                 existing SCRs, and in the second control               statute directly imposes on states the
                                                 ozone transport emissions from upwind                   period in which a new SCR operates,                    duty to make these SIP submissions,
                                                 states are significantly contributing to                but not later than 2030, for those                     and the requirement to make the
                                                 nonattainment, or interfering with                      currently without SCRs.                                submissions is not conditioned upon
                                                 maintenance, of the 2015 ozone NAAQS                       This rule establishes emissions                     the EPA taking any action other than
                                                 in any downwind state using the same                    limitations for non-EGU sources in 20                  promulgating a new or revised
                                                 4-step interstate transport framework                   states: Arkansas, California, Illinois,                NAAQS.25
                                                 that was developed in previous ozone                    Indiana, Kentucky, Louisiana,                             The EPA has historically referred to
                                                 transport rulemakings. The EPA finds                    Maryland, Michigan, Mississippi,                       SIP submissions made for the purpose
                                                 that emissions reductions are required                  Missouri, Nevada, New Jersey, New                      of satisfying the applicable requirements
                                                 from EGU and non-EGU sources in a                       York, Ohio, Oklahoma, Pennsylvania,                    of CAA sections 110(a)(1) and 110(a)(2)
                                                 total of 23 upwind states to eliminate                  Texas, Utah, Virginia, and West                        as ‘‘infrastructure SIP’’ or ‘‘iSIP’’
                                                 significant contribution to downwind                    Virginia. In these states, the EPA is                  submissions. CAA section 110(a)(1)
                                                 air quality problems for the 2015 ozone                 establishing control requirements for the              addresses the timing and general
                                                 standard under the interstate transport                 following unit types in non-EGU                        requirements for iSIP submissions, and
                                                 provision of the CAA. The EPA will                      industries: reciprocating internal                     CAA section 110(a)(2) provides more
                                                 ensure that these NOX emissions                         combustion engines in Pipeline                         details concerning the required content
                                                 reductions are achieved by issuing FIP                  Transportation of Natural Gas; kilns in                of these submissions.26 It includes a list
                                                 requirements for 23 states: Alabama,                    Cement and Cement Product                              of specific elements that ‘‘[e]ach such
                                                 Arkansas, California, Illinois, Indiana,                Manufacturing; reheat furnaces in Iron                 plan’’ must address.27
                                                 Kentucky, Louisiana, Maryland,                          and Steel Mills and Ferroalloy                            CAA section 110(c)(1) requires the
                                                 Michigan, Minnesota, Mississippi,                       Manufacturing; furnaces in Glass and                   Administrator to promulgate a FIP at
                                                 Missouri, Nevada, New Jersey, New                       Glass Product Manufacturing; boilers in                any time within 2 years after the
                                                 York, Ohio, Oklahoma, Pennsylvania,                     Iron and Steel Mills and Ferroalloy                    Administrator: (1) finds that a state has
                                                 Texas, Utah, Virginia, West Virginia,                   Manufacturing, Metal Ore Mining, Basic                 failed to make a required SIP
                                                 and Wisconsin.                                          Chemical Manufacturing, Petroleum and                  submission; (2) finds a SIP submission
                                                    The EPA is revising the existing                     Coal Products Manufacturing, and Pulp,                 to be incomplete pursuant to CAA
                                                 CSAPR Group 3 Trading Program to                        Paper, and Paperboard Mills; and                       section 110(k)(1)(C); or (3) disapproves
                                                 include additional states beginning in                  combustors and incinerators in Solid                   a SIP submission. This obligation
                                                 the 2023 ozone season. EGUs in three                    Waste Combustors and Incinerators. See                 applies unless the state corrects the
                                                 states not currently covered by any                     Table II.A–1 in this document for a list               deficiency through a SIP revision that
                                                 CSAPR trading program for seasonal                      of NAICS codes for each entity included                the Administrator approves before the
                                                 NOX emissions—Minnesota, Nevada,                        for regulation in this rule.                           FIP is promulgated.28
                                                 and Utah—will be added to the CSAPR                        This rule reduces the transport of                     CAA section 110(a)(2)(D)(i)(I), also
                                                 Group 3 Trading Program under this                      ozone precursor emissions to downwind                  known as the ‘‘good neighbor’’
                                                 rule. EGUs in twelve states currently                   areas, which is protective of human                    provision, provides the primary basis
                                                 participating in the Group 3 Trading                    health and the environment because                     for this rule.29 It requires that each state
                                                 Program will remain in the program                      acute and chronic exposure to ozone are                SIP include provisions sufficient to
                                                 under this rule: Illinois, Indiana,                     both associated with negative health                   ‘‘prohibit[ ], consistent with the
                                                 Kentucky, Louisiana, Maryland,                          impacts. Ozone exposure is also                        provisions of this subchapter, any
                                                 Michigan, New Jersey, New York, Ohio,                   associated with negative effects on                    source or other type of emissions
                                                 Pennsylvania, Virginia, and West                        ecosystems. Additional information on                  activity within the State from emitting
                                                 Virginia. EGUs in seven states                          the air quality issues addressed by this               any air pollutant in amounts which
                                                 (Alabama, Arkansas, Mississippi,                        rule are included in section III of this               will—(I) contribute significantly to
                                                 Missouri, Oklahoma, Texas, and                          document.                                              nonattainment in, or interfere with
                                                 Wisconsin) will transition from the                     C. What is the Agency’s legal authority                maintenance by, any other State with
                                                 CSAPR Group 2 Trading Program to the                    for taking this action?                                respect to any [NAAQS].’’ 30 The EPA
                                                 CSAPR Group 3 Trading Program under                                                                            often refers to the emissions reduction
                                                 this rule beginning in the 2023 ozone                      The statutory authority for this rule is
                                                                                                                                                                requirements under this provision as
                                                 season. The EPA is establishing control                 provided by the CAA as amended (42
                                                                                                                                                                ‘‘good neighbor obligations’’ and
                                                 stringency levels reflecting installation               U.S.C. 7401 et seq.). Specifically,
                                                                                                                                                                submissions addressing these
                                                 of state-of-the-art combustion controls                 sections 110 and 301 of the CAA
                                                                                                                                                                requirements as ‘‘good neighbor SIPs.’’
                                                 on certain covered EGU sources in                       provide the primary statutory
                                                 emissions budgets beginning in the 2024                 underpinnings for this rule. The most                    24 42 U.S.C. 7410(a)(1).
                                                 ozone season. The EPA is establishing                   relevant portions of CAA section 110 are                 25 See EPA v. EME Homer City Generation, L.P.,

                                                 control stringency levels reflecting                    subsections 110(a)(1), 110(a)(2)                       572 U.S. 489, 509–10 (2014).
                                                 installation of new SCR or SNCR                         (including 110(a)(2)(D)(i)(I)) and                       26 42 U.S.C. 7410(a)(2).

                                                 controls on certain covered EGU sources                 110(c)(1)).                                              27 The EPA’s general approach to infrastructure

                                                 in emissions budgets beginning in the                      CAA section 110(a)(1) provides that                 SIP submissions is explained in greater detail in
                                                                                                         states must make SIP submissions                       individual notices acting or proposing to act on
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                                                 2026 ozone season.                                                                                             state infrastructure SIP submissions and in
                                                    As a complement to the ozone season                  ‘‘within 3 years (or such shorter period               guidance. See, e.g., Memorandum from Stephen D.
                                                 emissions budgets, the EPA is also                      as the Administrator may prescribe)                    Page on Guidance on Infrastructure State
                                                 establishing a backstop daily emissions                 after the promulgation of a national                   Implementation Plan (SIP) Elements under Clean
                                                                                                         primary ambient air quality standard (or               Air Act Sections 110(a)(1) and 110(a)(2) (September
                                                 rate of 0.14 lb/mmBtu for coal-fired                                                                           13, 2013).
                                                 steam units greater than or equal to 100                any revision thereof),’’ and that these                  28 42 U.S.C. 7410(c)(1).

                                                 MW in covered states. The backstop                      SIP submissions are to provide for the                   29 42 U.S.C. 7410(a)(2)(D)(i)(I).

                                                 emissions rate will first apply in 2024                 ‘‘implementation, maintenance, and                       30 Id.




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                                                    Once the EPA promulgates a NAAQS,                    D. What actions has the EPA previously                  PM2.5 and 1997 ozone NAAQS.40 On
                                                 the EPA must designate areas as being                   issued to address regional ozone                        March 15, 2006, the EPA promulgated
                                                 in ‘‘attainment’’ or ‘‘nonattainment’’ of               transport?                                              FIPs to implement the emissions
                                                 the NAAQS, or ‘‘unclassifiable.’’ CAA                                                                           reductions required by CAIR.41 CAIR
                                                                                                            The EPA has issued several previous
                                                 section 107(d).31 For ozone,                                                                                    was remanded to EPA by the D.C.
                                                                                                         rules interpreting and clarifying the
                                                 nonattainment is further split into five                                                                        Circuit in North Carolina v. EPA, 531
                                                                                                         requirements of CAA section                             F.3d 896 (D.C. Cir.), modified on reh’g,
                                                 classifications based on the severity of                110(a)(2)(D)(i)(I) with respect to the
                                                 the violation—Marginal, Moderate,                                                                               550 F.3d 1176 (D.C. Cir. 2008). For more
                                                                                                         regional transport of ozone. These rules,               information on the legal issues
                                                 Serious, Severe, or Extreme. Higher                     and the associated court decisions
                                                 classifications provide states with                                                                             underlying CAIR and the D.C. Circuit’s
                                                                                                         addressing these rules, summarized                      holding in North Carolina, refer to the
                                                 progressively more time to attain while                 here, provide important direction
                                                 imposing progressively more stringent                                                                           preamble of the CSAPR rule.42
                                                                                                         regarding the requirements of CAA                         In 2011, the EPA promulgated CSAPR
                                                 control requirements. See CAA sections                  section 110(a)(2)(D)(i)(I).                             to address the issues raised by the
                                                 181, 182.32 In general, states with                        The ‘‘NOX SIP Call,’’ promulgated in                 remand of CAIR. CSAPR addressed the
                                                 nonattainment areas classified as                       1998, addressed the good neighbor                       two NAAQS at issue in CAIR and
                                                 Moderate or higher must submit plans                    provision for the 1979 1-hour ozone                     additionally addressed the good
                                                 to the EPA to bring these areas into                    NAAQS.37 The rule required 22 states                    neighbor provision for the 2006 PM2.5
                                                 attainment according to the statutory                   and the District of Columbia to amend                   NAAQS.43 CSAPR required 28 states to
                                                 schedule. CAA section 182.33 If an area                 their SIPs to reduce NOX emissions that                 reduce SO2 emissions, annual NOX
                                                 fails to attain the NAAQS by the                        contribute to ozone nonattainment in                    emissions, or ozone season NOX
                                                 attainment date associated with its                     downwind states. The EPA set ozone                      emissions that significantly contribute
                                                 classification, it is ‘‘bumped up’’ to the              season NOX budgets for each state, and                  to other states’ nonattainment or
                                                 next classification. CAA section                        the states were given the option to                     interfere with other states’ abilities to
                                                 181(b).34                                               participate in a regional allowance                     maintain these air quality standards.44
                                                    Section 301(a)(1) of the CAA gives the               trading program, known as the NOX                       To align implementation with the
                                                 Administrator the general authority to                  Budget Trading Program.38 The D.C.                      applicable attainment deadlines, the
                                                 prescribe such regulations as are                       Circuit largely upheld the NOX SIP Call                 EPA promulgated FIPs for each of the 28
                                                 necessary to carry out functions under                  in Michigan v. EPA, 213 F.3d 663 (D.C.                  states covered by CSAPR. The FIPs
                                                 the Act.35 Pursuant to this section, the                Cir. 2000), cert. denied, 532 U.S. 904                  require EGUs in the covered states to
                                                 EPA has authority to clarify the                        (2001).                                                 participate in regional trading programs
                                                 applicability of CAA requirements and                      The EPA’s next rule addressing the                   to achieve the necessary emissions
                                                 undertake other rulemaking action as                    good neighbor provision, CAIR, was                      reductions. Each state can submit a good
                                                 necessary to implement CAA                              promulgated in 2005 and addressed                       neighbor SIP at any time that, if
                                                 requirements. CAA section 301 affords                   both the 1997 fine particulate matter                   approved by EPA, would replace the
                                                 the Agency any additional authority that                (PM2.5) NAAQS and 1997 ozone                            CSAPR FIP for that state.
                                                                                                         NAAQS.39 CAIR required SIP revisions                      CSAPR was the subject of an adverse
                                                 may be needed to make certain other
                                                                                                         in 28 states and the District of Columbia               decision by the D.C. Circuit in August
                                                 changes to its regulations under 40 CFR
                                                                                                         to reduce emissions of sulfur dioxide                   2012.45 However, this decision was
                                                 parts 52, 75, 78, and 97, to effectuate the                                                                     reversed in April 2014 by the Supreme
                                                 purposes of the Act. Such changes are                   (SO2) or NOX—important precursors of
                                                                                                         regionally transported PM2.5 (SO2 and                   Court, which largely upheld the rule,
                                                 discussed in section IX of this                                                                                 including the EPA’s approach to
                                                 document.                                               annual NOX) and ozone (summer-time
                                                                                                         NOX). As in the NOX SIP Call, states                    addressing interstate transport in
                                                    Tribes are not required to submit state              were given the option to participate in                 CSAPR. EPA v. EME Homer City
                                                 implementation plans. However, as                       regional trading programs to achieve the                Generation, L.P., 572 U.S. 489 (2014)
                                                 explained in the EPA’s regulations                      reductions. When the EPA promulgated                    (EME Homer City I). The rule was
                                                 outlining Tribal Clean Air Act authority,               the final CAIR in 2005, the EPA also                    remanded to the D.C. Circuit to consider
                                                 the EPA is authorized to promulgate                     issued findings that states nationwide                  claims not addressed by the Supreme
                                                 FIPs for Indian country as necessary or                 had failed to submit SIPs to address the                Court. Id. In July 2015 the D.C. Circuit
                                                 appropriate to protect air quality if a                 requirements of CAA section                               40 70 FR 21147 (April 25, 2005).
                                                 tribe does not submit, and obtain the                   110(a)(2)(D)(i) with respect to the 1997                  41 71 FR 25328 (April 28, 2006).
                                                 EPA’s approval of, an implementation                                                                               42 Federal Implementation Plans: Interstate
                                                 plan. See 40 CFR 49.11(a); see also CAA                   37 Finding of Significant Contribution and
                                                                                                                                                                 Transport of Fine Particulate Matter and Ozone and
                                                 section 301(d)(4).36 In the proposed                    Rulemaking for Certain States in the Ozone              Correction of SIP Approvals, 76 FR 48208, 48217
                                                 rule, the EPA proposed an ‘‘appropriate                 Transport Assessment Group Region for Purposes of       (August 8, 2011).
                                                 or necessary’’ finding under CAA                        Reducing Regional Transport of Ozone, 63 FR                43 76 FR 48208.
                                                                                                         57356 (Oct. 27, 1998). As originally promulgated,          44 CSAPR was revised by several rulemakings
                                                 section 301(d) and proposed tribal                      the NOX SIP Call also addressed good neighbor           after its initial promulgation to revise certain states’
                                                 FIP(s) as necessary to implement the                    obligations under the 1997 8-hour ozone NAAQS,          budgets and to promulgate FIPs for five additional
                                                 relevant requirements. The EPA is                       but EPA subsequently stayed and later rescinded         states addressing the good neighbor obligation for
                                                                                                         the rule’s provisions with respect to that standard.    the 1997 ozone NAAQS. See 76 FR 80760
                                                 finalizing these determinations, as                     See 84 FR 8422 (March 8, 2019).                         (December 27, 2011); 77 FR 10324 (February 21,
                                                 further discussed in section III.C.2 of                    38 ‘‘Allowance Trading,’’ sometimes referred to as
                                                                                                                                                                 2012); 77 FR 34830 (June 12, 2012).
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                                                 this document.                                          ‘‘cap and trade,’’ is an approach to reducing              45 On August 21, 2012, the D.C. Circuit issued a
                                                                                                         pollution that has been used successfully to protect    decision in EME Homer City Generation, L.P. v.
                                                   31 42 U.S.C. 7407(d).                                 human health and the environment. The design            EPA, 696 F.3d 7 (D.C. Cir. 2012), vacating CSAPR.
                                                   32 42 U.S.C. 7511, 7511a.
                                                                                                         elements of the EPA’s most recent trading programs      The EPA sought review with the D.C. Circuit en
                                                                                                         are discussed in section VI.B.1.a of this document.     banc and the D.C. Circuit declined to consider the
                                                   33 42 U.S.C. 7511a.
                                                                                                            39 Rule To Reduce Interstate Transport of Fine       EPA’s appeal en banc. EME Homer City Generation,
                                                   34 42 U.S.C. 7511(b).
                                                                                                         Particulate Matter and Ozone (Clean Air Interstate      L.P. v. EPA, No. 11–1302 (D.C. Cir. January 24,
                                                   35 42 U.S.C. 7601(a)(1).
                                                                                                         Rule); Revisions to Acid Rain Program; Revisions to     2013), ECF No. 1417012 (denying EPA’s motion for
                                                   36 42 U.S.C. 7601(d)(4).                              the NOX SIP Call, 70 FR 25162 (May 12, 2005).           rehearing en banc).



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                                                 generally affirmed the EPA’s                            NOX were required with respect to the                  with the 2021 ozone season. Based on
                                                 interpretation of various statutory                     2008 ozone NAAQS for 20 of the 22                      the EPA’s assessment of remaining air
                                                 provisions and the EPA’s technical                      eastern states covered by the CSAPR                    quality issues and additional emissions
                                                 decisions. EME Homer City Generation,                   Update.50                                              control strategies for EGUs and
                                                 L.P. v. EPA, 795 F.3d 118 (2015) (EME                     The CSAPR Update and the CSAPR                       emissions sources in other industry
                                                 Homer City II). However, the court                      Close-Out were both subject to legal                   sectors (non-EGUs), the EPA determined
                                                 remanded the rule without vacatur for                   challenges in the D.C. Circuit.                        that the NOX emissions reductions
                                                 reconsideration of the EPA’s emissions                  Wisconsin v. EPA, 938 F.3d 303 (D.C.                   achieved by the Revised CSAPR Update
                                                 budgets for certain states, which the                   Cir. 2019) (Wisconsin); New York v.                    fully eliminated these states’ significant
                                                 court found may have over-controlled                    EPA, 781 Fed. App’x 4 (D.C. Cir. 2019)                 contributions to downwind air quality
                                                 those states’ emissions with respect to                 (New York). In September 2019, the D.C.                problems for the 2008 ozone NAAQS.
                                                 the downwind air quality problems to                    Circuit upheld the CSAPR Update in                     As under the CSAPR and the CSAPR
                                                 which the states were linked. Id. at 129–               virtually all respects but remanded the                Update, each state can submit a good
                                                 30, 138. For more information on the                    rule because it was partial in nature and              neighbor SIP at any time that, if
                                                 legal issues associated with CSAPR and                  did not fully eliminate upwind states’                 approved by the EPA, would replace the
                                                 the Supreme Court’s and D.C. Circuit’s                  significant contribution to                            Revised CSAPR Update FIP for that
                                                 decisions in the EME Homer City                         nonattainment or interference with                     state.
                                                 litigation, refer to the preamble of the                maintenance of the 2008 ozone NAAQS                      On March 3, 2023, the D.C. Circuit
                                                 CSAPR Update.46                                         by ‘‘the relevant downwind attainment                  Court of Appeals denied the Midwest
                                                    In 2016, the EPA promulgated the                     deadlines’’ in the CAA. Wisconsin, 938                 Ozone Group’s (MOG) petition for
                                                 CSAPR Update to address interstate                      F.3d at 313–15. In October 2019, the                   review of the Revised CSAPR Update.
                                                 transport of ozone pollution with                       D.C. Circuit vacated the CSAPR Close-                  MOG v. EPA, No. 21–1146 (D.C. Cir.
                                                 respect to the 2008 ozone NAAQS.47                      Out on the same grounds that it                        March 3, 2023). The court noted that it
                                                 The final rule updated the CSAPR ozone                  remanded the CSAPR Update in                           has ‘‘exhaustively’’ addressed the
                                                 season NOX emissions budgets for 22                     Wisconsin, specifically because the                    interstate transport framework before,
                                                 states to achieve cost-effective and                    Close-Out rule did not address good                    citing relevant cases, and ‘‘incorporate
                                                 immediately feasible NOX emissions                      neighbor obligations by ‘‘the next                     them herein by reference.’’ Slip Op. 1
                                                 reductions from EGUs within those                       applicable attainment date’’ of                        n.1. In response to MOG’s arguments,
                                                 states.48 The EPA aligned the analysis                  downwind states. New York, 781 Fed.                    the court upheld the Agency’s air
                                                 and implementation of the CSAPR                         App’x at 7.51                                          quality analysis. Id. at 10–11. The court
                                                 Update with the 2017 ozone season to                      In response to the Wisconsin remand                  noted that in light of the statutory
                                                 assist downwind states with timely                      of the CSAPR Update and the New York                   timing framework and court-ordered
                                                 attainment of the 2008 ozone NAAQS.49                   vacatur of the CSAPR Close-Out, the                    schedule the EPA was under, the
                                                 The CSAPR Update implemented the                        EPA promulgated the Revised CSAPR                      Agency’s methodological choices were
                                                 budgets through FIPs requiring sources                  Update on April 30, 2021.52 The                        reasonable and provided ‘‘an
                                                 to participate in a revised CSAPR NOX                   Revised CSAPR Update found that the                    appropriately reliable projection of air
                                                 ozone season trading program beginning                  CSAPR Update was a full remedy for                     quality conditions and contributions in
                                                 with the 2017 ozone season. As under                    nine of the covered states. For the 12                 2021.’’ Id. at 11–12.
                                                 CSAPR, each state could submit a good                   remaining states, the EPA found that
                                                 neighbor SIP at any time that, if                       their projected 2021 ozone season NOX                  III. Air Quality Issues Addressed and
                                                 approved by the EPA, would replace the                  emissions would significantly                          Overall Rule Approach
                                                 CSAPR Update FIP for that state. The                    contribute to downwind states’                         A. The Interstate Ozone Transport Air
                                                 final CSAPR Update also addressed the                   nonattainment or maintenance                           Quality Challenge
                                                 remand by the D.C. Circuit of certain                   problems. The EPA issued new or
                                                 states’ CSAPR phase 2 ozone season                      amended FIPs for these 12 states and                   1. Nature of Ozone and the Ozone
                                                 NOX emissions budgets in EME Homer                      required implementation of revised                     NAAQS
                                                 City II.                                                emissions budgets for EGUs beginning                      Ground-level ozone is not emitted
                                                    In December 2018, the EPA                                                                                   directly into the air but is created by
                                                 promulgated the CSAPR ‘‘Close-Out,’’                      50 Determination Regarding Good Neighbor
                                                                                                                                                                chemical reactions between NOX and
                                                 which determined that no further                        Obligations for the 2008 Ozone National Ambient
                                                                                                         Air Quality Standard, 83 FR 65878, 65882               volatile organic compounds (VOCs) in
                                                 enforceable reductions in emissions of                  (December 21, 2018). After promulgating the            the presence of sunlight. Emissions from
                                                   46 Cross-State Air Pollution Rule Update for the
                                                                                                         CSAPR Update and before promulgating the CSAPR         electric utilities and industrial facilities,
                                                                                                         Close-Out, the EPA approved a SIP from Kentucky        motor vehicles, gasoline vapors, and
                                                 2008 Ozone NAAQS, 81 FR 74504, 74511 (October           resolving the Commonwealth’s good neighbor
                                                 26, 2016).                                              obligations for the 2008 ozone NAAQS. 83 FR            chemical solvents are some of the major
                                                   47 81 FR 74504.                                       33730 (July 17, 2018). In the Revised CSAPR            sources of NOX and VOCs.
                                                   48 One state, Kansas, was made newly subject to       Update, the EPA made an error correction under            Because ground-level ozone formation
                                                 ozone season NOX requirements by the CSAPR              CAA section 110(k)(6) to convert this approval to      increases with temperature and
                                                 Update. All other CSAPR Update states were              a disapproval, because the Kentucky approval
                                                 already subject to ozone season NOX requirements        relied on the same analysis which the D.C. Circuit     sunlight, ozone levels are generally
                                                 under CSAPR.                                            determined to be unlawful in the CSAPR Close-Out.      higher during the summer months.
                                                   49 81 FR 74516. The EPA’s final 2008 Ozone              51 Subsequently, the D.C. Circuit made clear in a    Increased temperature also increases
                                                 NAAQS SIP Requirements Rule, 80 FR 12264,               decision reviewing the EPA’s denial of a petition      emissions of volatile man-made and
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                                                 12268 (March 6, 2015), revised the attainment           under CAA section 126 that the holding in
                                                                                                         Wisconsin regarding alignment with downwind
                                                                                                                                                                biogenic organics and can also
                                                 deadline for ozone nonattainment areas designated
                                                 as Moderate to July 20, 2018. See 40 CFR 51.1103.       area’s attainment schedules applies with equal force   indirectly increase NOX emissions (e.g.,
                                                 To demonstrate attainment by this deadline, states      to the Marginal area attainment date established       increased electricity generation for air
                                                 were required to rely on design values calculated       under CAA section 181(a). See Maryland v. EPA,         conditioning).
                                                 using ozone season data from 2015 through 2017,         958 F.3d 1185, 1203–04 (D.C. Cir. 2020).
                                                 since the July 20, 2018, deadline did not afford          52 Revised Cross-State Air Pollution Rule Update        On October 1, 2015, the EPA
                                                 enough time for measured data of the full 2018          for the 2008 Ozone NAAQS, 86 FR 23054 (April 30,       strengthened the primary and secondary
                                                 ozone season.                                           2021).                                                 ozone standards to 70 ppb as an 8-hour


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                                                 level.53 Specifically, the standards                    Adaptation in the United States: Fourth                  important contributor to peak ozone
                                                 require that the 3-year average of the                  National Climate Assessment, Volume                      concentrations and high-ozone days
                                                 fourth highest 24-hour maximum 8-hour                   II 57 reinforced these findings. The                     during the summer ozone season.
                                                 average ozone concentration may not                     increase in ozone results from changes                      The EPA has previously concluded in
                                                 exceed 70 ppb as a truncated value (i.e.,               in local weather conditions, including                   the NOX SIP Call, CAIR, CSAPR, the
                                                 digits to right of decimal removed).54 In               temperature and atmospheric                              CSAPR Update, and the Revised CSAPR
                                                 general, areas that exceed the ozone                    circulation patterns, as well as changes                 Update that a regional NOX control
                                                 standard are designated as                              in ozone precursor emissions that are                    strategy would be effective in reducing
                                                 nonattainment areas, pursuant to the                    influenced by meteorology (Nolte et al.,                 regional-scale transport of ozone
                                                 designations process under CAA section                  2018). While the projected impact may                    precursor emissions. NOX emissions can
                                                 107(d), and are subject to heightened                   not be uniform, climate change has the                   be transported downwind as NOX or as
                                                 planning requirements depending on                      potential to increase average                            ozone after transformation in the
                                                 the severity of their nonattainment                     summertime ozone relative to a future                    atmosphere. In any given location,
                                                 classification, see CAA sections 181,                   without climate change.58 59 60 Climate                  ozone pollution levels are impacted by
                                                 182.                                                    change has the potential to offset some                  a combination of background ozone
                                                    In the process of setting the 2015                   of the improvements in ozone air                         concentration, local emissions, and
                                                 ozone NAAQS, the EPA noted that the                     quality, and therefore some of the                       emissions from upwind sources
                                                 conditions conducive to the formation                   improvements in public health, that are                  resulting from ozone transport, in
                                                 of ozone (i.e., seasonally-dependent                    expected from reductions in emissions                    conjunction with variable
                                                 factors such as ambient temperature,                    of ozone precursors (80 FR 65300). The                   meteorological conditions. Downwind
                                                 strength of solar insolation, and length                EPA responds to comments received on                     states’ ability to meet health-based air
                                                 of day) differ by location, and that the                the impacts of climate change on ozone                   quality standards such as the NAAQS is
                                                 Agency believes it is important that                    formation in section 11 of the Response                  challenged by the transport of ozone
                                                 ozone monitors operate during all                       to Comments (RTC) document.                              pollution across state borders. For
                                                 periods when there is a reasonable                                                                               example, ozone assessments conducted
                                                 possibility of ambient levels                           2. Ozone Transport                                       for the October 2015 Regulatory Impact
                                                 approaching the level of the NAAQS. At                     Studies have established that ozone                   Analysis of the Final Revisions to the
                                                 that time, the EPA stated that ambient                  formation, atmospheric residence, and                    National Ambient Air Quality Standards
                                                 ozone concentrations in many areas                      transport occur on a regional scale (i.e.,               for Ground-Level Ozone 62 continue to
                                                 could approach or exceed the level of                   thousands of kilometers) over much of                    show the importance of NOX emissions
                                                 the NAAQS, more frequently and during                   the U.S.61 While substantial progress                    for ozone transport. This analysis is
                                                 more months of the year compared with                   has been made in reducing ozone in                       included in the docket for this
                                                 the historical ozone season monitoring                  many areas, the interstate transport of                  rulemaking.
                                                 lengths. Consequently, the EPA                          ozone precursor emissions remains an                        Further, studies have found that EGU
                                                 extended the ozone monitoring season                                                                             NOX emissions reductions can be
                                                 for many locations. See 80 FR 65416 for                 Assessment. Crimmins, A., J. Balbus, J.L. Gamble,        effective in reducing individual 8-hour
                                                 more details.                                           C.B. Beard, J.E. Bell, D. Dodgen, R.J. Eisen, N. Fann,   peak ozone concentrations and in
                                                    Furthermore, the EPA stated that in                  M.D. Hawkins, S.C. Herring, L. Jantarasami, D.M.         reducing 8-hour peak ozone
                                                                                                         Mills, S. Saha, M.C. Sarofim, J. Trtanj, and L. Ziska,
                                                 addition to being affected by changing                  Eds. U.S. Global Change Research Program,                concentrations averaged across the
                                                 emissions, future ozone concentrations                  Washington, DC, 312 pp. https://dx.doi.org/              ozone season. For example, a study of
                                                 may also be affected by climate change.                 10.7930/J0R49NQX.                                        the EGU NOX reductions achieved
                                                                                                           57 USGCRP, 2018: Impacts, Risks, and Adaptation
                                                 Modeling studies in the EPA’s Interim                                                                            under the NOX Budget Trading Program
                                                                                                         in the United States: Fourth National Climate
                                                 Assessment (U.S. EPA, 2009a) that are                   Assessment, Volume II [Reidmiller, D.R., C.W.
                                                                                                                                                                  (i.e., the NOX SIP Call) shows that
                                                 cited in support of the 2009 Greenhouse                 Avery, D.R. Easterling, K.E. Kunkel, K.L.M. Lewis,       regulating NOX emissions in that
                                                 Gas Endangerment Finding under CAA                      T.K. Maycock, and B.C. Stewart (eds.)]. U.S. Global      program was highly effective in
                                                 section 202(a) (74 FR 66496, Dec. 15,                   Change Research Program, Washington, DC, USA,            reducing ozone concentrations during
                                                                                                         1515 pp. doi: 10.7930/NCA4.2018.
                                                 2009) as well as a recent assessment of                   58 Fann NL, Nolte CG, Sarofim MC, Martinich J,
                                                                                                                                                                  the ozone season.63
                                                 potential climate change impacts (Fann                  Nassikas NJ. Associations Between Simulated                 Previous regional ozone transport
                                                 et al., 2015) project that climate change               Future Changes in Climate, Air Quality, and Human        efforts, including the NOX SIP Call,
                                                 may lead to future increases in summer                  Health. JAMA Netw Open. 2021;4(1):e2032064.              CAIR, CSAPR, the CSAPR Update, and
                                                 ozone concentrations across the                         doi:10.1001/jamanetworkopen.2020.32064                   the Revised CSAPR Update, required
                                                                                                           59 Christopher G Nolte, Tanya L Spero, Jared H
                                                 contiguous U.S.55 (80 FR 65300). The                    Bowden, Marcus C Sarofim, Jeremy Martinich,
                                                                                                                                                                  ozone season NOX reductions from EGU
                                                 U.S. Global Change Research Program’s                   Megan S Mallard. Regional temperature-ozone              sources to address interstate transport of
                                                 Impacts of Climate Change on Human                      relationships across the U.S. under multiple climate     ozone. Together with NOX, the EPA has
                                                 Health in the United States: A Scientific               and emissions scenarios. J Air Waste Manag Assoc.        also identified VOCs as a precursor in
                                                                                                         2021 Oct;71(10):1251–1264. doi: 10.1080/
                                                 Assessment 56 and Impacts, Risks, and                   10962247.2021.1970048.
                                                                                                                                                                  forming ground-level ozone. Ozone
                                                                                                           60 Nolte, C.G., P.D. Dolwick, N. Fann, L.W.            formation chemistry can be ‘‘NOX-
                                                   53 80 FR 65291.
                                                                                                         Horowitz, V. Naik, R.W. Pinder, T.L. Spero, D.A.         limited,’’ where ozone production is
                                                   54 40 CFR part 50, appendix P.
                                                                                                         Winner, and L.H. Ziska, 2018: Air Quality. In            primarily determined by the amount of
                                                    55 These modeling studies are based on coupled       Impacts, Risks, and Adaptation in the United States:     NOX emissions or ‘‘VOC-limited,’’
                                                 global climate and regional air quality models and      Fourth National Climate Assessment, Volume II
                                                 are designed to assess the sensitivity of U.S. air      [Reidmiller, D.R., C.W. Avery, D.R. Easterling, K.E.     where ozone production is primarily
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                                                 quality to climate change. A wide range of future       Kunkel, K.L.M. Lewis, T.K. Maycock, and B.C.
                                                 climate scenarios and future years have been            Stewart (eds.)]. U.S. Global Change Research               62 Available in the docket for the October 2015

                                                 modeled and there can be variations in the expected     Program, Washington, DC, USA, pp. 512–538. doi:          Revisions to the National Ambient Air Quality
                                                 response in U.S. O3 by scenario and across models       10.7930/NCA4.2018.CH13                                   Standards for Ground-Level Ozone at https://
                                                 and years, within the overall signal of higher            61 Bergin, M.S. et al. (2007) Regional air quality:    www.regulations.gov/docket/EPA-HQ-OAR-2008-
                                                 summer O3 concentrations in a warmer climate.           Local and interstate impacts of NOX and SO2              0699.
                                                    56 U.S. Global Change Research Program               emissions on ozone and fine particulate matter in          63 Butler, et al., ‘‘Response of Ozone and Nitrate

                                                 (USGCRP), 2016: The Impacts of Climate Change on        the eastern United States. Environmental Sci &           to Stationary Source Reductions in the Eastern
                                                 Human Health in the United States: A Scientific         Tech. 41: 4677–4689.                                     USA.’’Atmospheric Environment, 2011.



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                                                 determined by the amount of VOC                         community composition. See EPA’s                       from 23 states to nonattainment or
                                                 emissions.64 The EPA and others have                    October 2015 Regulatory Impact                         maintenance of the 2015 ozone NAAQS
                                                 long regarded NOX to be the more                        Analysis of the Final Revisions to the                 to meet the requirements of the CAA’s
                                                 significant ozone precursor in the                      National Ambient Air Quality Standards                 interstate transport provision. In this
                                                 context of interstate ozone transport.65                for Ground-Level Ozone 66 in the docket                rule, the EPA continues to observe that
                                                    The EPA has determined that the                      for this rulemaking for more information               requiring NOX emissions reductions
                                                 regulation of VOCs as an ozone                          on the human health and ecosystem                      from stationary sources is an effective
                                                 precursor is not necessary to eliminate                 effects associated with ambient ozone                  strategy for reducing regional ozone
                                                 significant contribution of ozone                       exposure.                                              transport in the U.S.
                                                 transport to downwind areas in this                        Commenters on prior ozone transport                    The EPA responds to other comments
                                                 rule. As described in section V.A of this               rules have asserted that VOC emissions                 received on the health and
                                                 document, the EPA examined the                          harm underserved and overburdened                      environmental impacts of ozone
                                                 results of the contribution modeling                    communities experiencing                               exposure in section 11 of the RTC
                                                 performed for this rule to identify the                 disproportionate environmental health                  document.
                                                 portion of the ozone contribution                       burdens and facing other environmental
                                                                                                                                                                B. Final Rule Approach
                                                 attributable to anthropogenic NOX                       injustices. The EPA acknowledges that
                                                 emissions versus VOC emissions from                     VOCs can contain toxic chemicals that                  1. The 4-Step Interstate Transport
                                                 each linked upwind state to each                        are detrimental to public health. The                  Framework
                                                 downwind receptor. Our analysis of the                  EPA conducted a demographic analysis                      The EPA first developed a multi-step
                                                 ozone contribution from upwind states                   as part of the regulatory impact analysis              process to address the requirements of
                                                 subject to regulation demonstrates that                 for the 2015 revisions to the primary                  the good neighbor provision in the 1998
                                                 regional ozone concentrations affecting                 and secondary ozone NAAQS. This                        NOX SIP Call and the 2005 CAIR. The
                                                 the vast majority of the downwind areas                 analysis, which is included in the                     Agency built upon this framework and
                                                 of air quality concern are NOX-limited,                 docket for this rulemaking, found                      further refined the methodology for
                                                 rather than VOC-limited. Therefore, the                 greater representation of minority                     addressing interstate transport
                                                 rule’s strategy for reducing regional-                  populations in areas with poor air                     obligations in subsequent rules such as
                                                 scale transport of ozone targets NOX                    quality relative to the revised ozone                  CSAPR in 2011, the CSAPR Update in
                                                 emissions from stationary sources to                    standard than in the U.S. as a whole.                  2016, and the Revised CSAPR Update in
                                                 achieve the most effective reductions of                The EPA concluded that populations in                  2021.67 In CSAPR, the EPA first
                                                 ozone transport over the geography of                   these areas would be expected to benefit               articulated a ‘‘4-step framework’’ within
                                                 the affected downwind areas. The                        from implementation of future air                      which to assess interstate transport
                                                 potential impacts of NOX mitigation                     pollution control actions from state and               obligations for ozone. In this rule to
                                                 strategies from other sources are                       local air agencies in implementing the                 address interstate transport obligations
                                                 discussed in section V.B of this                        strengthened standard. This rule is an                 for the 2015 ozone NAAQS, the EPA is
                                                 document.                                               example of air pollution control actions               again utilizing the 4-step interstate
                                                    In section V of this document, the                   implemented by the Federal                             transport framework. These steps are:
                                                 EPA describes the multi-factor test that                Government in support of the more                      (1) identifying downwind receptors that
                                                 is used to determine NOX emissions                      protective 2015 ozone NAAQS, and                       are expected to have problems attaining
                                                 reductions that are cost-effective and                  populations living in downwind ozone                   the NAAQS (nonattainment receptors)
                                                 reduce interstate transport of ground-                  nonattainment and maintenance areas                    or maintaining the NAAQS
                                                 level ozone. Our analysis indicates that                are expected to benefit from improved                  (maintenance receptors); (2)
                                                 the EGU and non-EGU control                             air quality that will result from reducing             determining which upwind states are
                                                 requirements included in this rule will                 ozone transport. Further discussion of                 ‘‘linked’’ to these identified downwind
                                                 provide meaningful improvements in air                  the environmental justice analysis of                  receptors based on a numerical
                                                 quality at the downwind receptors.                      this rule is located in section VII of this            contribution threshold; (3) for states
                                                 Based on the implementation schedule                    document and in the accompanying                       linked to downwind air quality
                                                 established in section VI.A of this                     regulatory impact analysis, titled                     problems, identifying upwind emissions
                                                 document, the EPA finds that the                        ‘‘Regulatory Impact Analysis for Final                 on a statewide basis that significantly
                                                 regulatory requirements included in the                 Federal Good Neighbor Plan Addressing                  contribute to downwind nonattainment
                                                 rule are as expeditious as practicable                  Regional Ozone Transport for the 2015                  or interfere with downwind
                                                 and are aligned with the attainment                     Ozone National Ambient Air Quality                     maintenance of the NAAQS,
                                                 schedule of downwind areas.                             Standard’’ [EPA–452/D–22–001], which                   considering cost- and air quality-based
                                                 3. Health and Environmental Effects                     is available in the docket for this                    factors; and (4) for upwind states that
                                                                                                         rulemaking.                                            are found to have emissions that
                                                    Exposure to ambient ozone causes a                      The Agency regulates exposure to
                                                 variety of negative effects on human                                                                           significantly contribute to
                                                                                                         toxic pollutant concentrations and                     nonattainment or interfere with
                                                 health, vegetation, and ecosystems. In                  ambient exposure to criteria pollutants
                                                 humans, acute and chronic exposure to                                                                          maintenance of the NAAQS in any
                                                                                                         other than ozone through other sections                downwind state, implementing the
                                                 ozone is associated with premature                      of the Act, such as the regulation of
                                                 mortality and certain morbidity effects,                                                                       necessary emissions reductions through
                                                                                                         hazardous air pollutants under CAA                     enforceable measures.
                                                 such as asthma exacerbation. In                         section 112 or the process for revising
                                                 ecosystems, ozone exposure causes                                                                                 Comment: The EPA received
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                                                                                                         and implementing the NAAQS under                       comments supporting the Agency’s use
                                                 visible foliar injury, decreases plant                  CAA sections 107–110. The purpose of
                                                 growth, and affects ecosystem                                                                                  of the 4-step interstate transport
                                                                                                         the subject rulemaking is to protect                   framework as a permissible method for
                                                   64 ‘‘Ozone Air Pollution.’’ Introduction to
                                                                                                         public health and the environment by                   assigning the required amount of
                                                 Atmospheric Chemistry, by Daniel J. Jacob,              eliminating significant contribution
                                                 Princeton University Press, Princeton, New Jersey,                                                               67 See CSAPR, Final Rule, 76 FR 48208, 48248–
                                                 1999, pp. 231–244.                                        66 Available at https://www.epa.gov/sites/default/   48249 (August 8, 2011); CSAPR Update, Final Rule,
                                                   65 81 FR 74514.                                       files/2016-02/documents/20151001ria.pdf.               81 FR 74504, 74517–74521 (October 26, 2016).



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                                                 emissions reductions necessary to                       for the EPA to allow time for states to                  2018 memorandum, which comprised
                                                 eliminate upwind states’ significant                    resubmit SIPs are further addressed in                   an unvetted list of external stakeholders’
                                                 contribution. Commenters also noted                     RTC sections 1.1 and 2.4.                                ideas). And, although outside the scope
                                                 that the 4-step interstate transport                       With regard to the need for the EPA                   of this action, as the EPA has explained
                                                 framework was reviewed by the                           to develop and issue guidance in                         in disapproving states’ SIP submittals,
                                                 Supreme Court in EPA vs. EME Homer                      addressing good neighbor obligations, in                 those submittals did not meet the terms
                                                 City Generation, 572 U.S. 489 (2014),                   EPA v. EME Homer City Generation,                        of the August 2018 or October 2018
                                                 and upheld. However, other                              L.P., the Supreme Court held that                        memoranda addressing contribution
                                                 commenters took exception to the                        ‘‘nothing in the statute places the EPA                  thresholds and maintenance receptors,
                                                 overall approach of this proposed                       under an obligation to provide specific                  respectively.
                                                 action. These commenters alleged that                   metrics to States before they undertake                     Commenters mistakenly view
                                                 the EPA is ignoring the ‘‘flexibility’’ in              to fulfill their good neighbor                           Attachment A to the March 2018
                                                 addressing good neighbor obligations                    obligations.’’ 69 While we have taken a                  memorandum as constituting agency
                                                 that it had purportedly suggested to                    different approach in some prior                         guidance. This memorandum was
                                                 states would be permissible in                          rulemakings by providing states with an                  primarily issued to share modeling
                                                 memoranda that the EPA issued in                        opportunity to submit a SIP after we                     results for 2023 that represented the best
                                                 2018. Commenters also raised concerns                   quantified the states’ budgets (e.g., the                information available to the Agency as
                                                 that the air quality modeling (2016v2)                  NOX SIP Call and CAIR 70), the CAA                       of March 2018, while Attachment A
                                                 the EPA used to propose to disapprove                   does not require such an approach.                       then listed certain ideas from certain
                                                 SIP submittals and as the basis for the                    2018 Memoranda. As commenters                         stakeholders that the EPA said could be
                                                 proposed FIP was not available to states                point out, the EPA issued three                          further discussed among states and
                                                 at the time they made their submissions                 ‘‘memoranda’’ in 2018 to provide some                    stakeholders. The EPA disagrees with
                                                 and that the changes in results at Steps                assistance to states in developing these                 commenters’ characterization of the
                                                 1 and 2 from prior rounds of modeling                   SIP submittals.71 Each memorandum                        EPA’s stance regarding these so-called
                                                 rendered the new modeling unreliable.                   made clear that the EPA’s action on SIP                  ‘‘flexibilities’’ listed (without analysis)
                                                 Commenters also raised a number of                      submissions would be through a                           in Attachment A. The March 2018
                                                 arguments that the EPA should allow                     separate notice-and-comment                              memorandum provided, ‘‘While the
                                                 states an additional opportunity to                     rulemaking process and that SIP                          information in this memorandum and
                                                 submit SIPs before promulgating a FIP,                  submissions seeking to rely on or take                   the associated air quality analysis data
                                                 advocated that the EPA should issue a                   advantage of any so-called                               could be used to inform the
                                                 ‘‘SIP call’’ under CAA section 110(k)(5),               ‘‘flexibilities’’ in these memoranda                     development of these SIPs, the
                                                 asked for the EPA to issue new or more                  would be carefully reviewed against the                  information is not a final determination
                                                 specific guidance, or otherwise                         relevant legal requirements and                          regarding states’ obligations under the
                                                 suggested that the EPA should defer                     technical information available to the                   good neighbor provision.’’ The EPA
                                                 acting to promulgate a FIP at this time.                EPA at the time it would take such                       again affirms that the concepts listed in
                                                    Response: As an initial matter,                      rulemaking action. Further, certain                      Attachment A to the March 2018
                                                 comments regarding the EPA’s basis for                  aspects of discussions in those                          memorandum require unique
                                                 disapproving SIPs are beyond the scope                  memoranda were specifically identified                   consideration, and these ideas do not
                                                 of this action.68 To the extent these                   as not constituting agency guidance                      constitute agency guidance with respect
                                                 comments relate to the legal basis for                  (especially Attachment A to the March                    to transport obligations for the 2015
                                                 the EPA to promulgate a FIP, the EPA                                                                             ozone NAAQS. Attachment A to the
                                                 disagrees that it is acting in a manner                   69 572 U.S. 489, 510 (2014). ‘‘Nothing in the Act
                                                                                                                                                                  March 2018 memorandum identified a
                                                 contrary to the memoranda it released in                differentiates the Good Neighbor Provision from the      ‘‘Preliminary List of Potential
                                                                                                         several other matters a State must address in its SIP.
                                                 2018 related to good neighbor                           Rather, the statute speaks without reservation: Once     Flexibilities’’ that could potentially
                                                 obligations for the 2015 ozone NAAQS.                   a NAAQS has been issued, a State ‘shall’ propose         inform SIP development. However, the
                                                 Arguments that the EPA must or should                   a SIP within three years, § 7410(a)(1), and that SIP     EPA made clear in both the March 2018
                                                 allow states to re-submit SIP                           ‘shall’ include, among other components,                 memorandum 72 and in Attachment A
                                                                                                         provisions adequate to satisfy the Good Neighbor
                                                 submissions based on the most recent                    Provision, § 7410(a)(2).’’ EPA v. EME Homer City         that the list of ideas was not endorsed
                                                 modeling information before the EPA                     Generation, L.P., 572 U.S. at 515.                       by the Agency but rather ‘‘comments
                                                 promulgates a FIP ignore the plain                        70 For information on the NO SIP call see 63 FR
                                                                                                                                           X                      provided in various forums’’ on which
                                                 language of the statute and relevant                    57356 (October 27, 1998). For information on CAIR        the EPA sought ‘‘feedback from
                                                                                                         see 70 FR 25162 (May 12, 2005).
                                                 caselaw. CAA section 110(c) authorizes                    71 See Information on the Interstate Transport
                                                                                                                                                                  interested stakeholders.’’ 73 Further,
                                                 the EPA to promulgate a FIP ‘‘at any                    State Implementation Plan Submissions for the            Attachment A stated, ‘‘EPA is not at this
                                                 time within 2 years’’ of a SIP                          2015 Ozone National Ambient Air Quality                  time making any determination that the
                                                 disapproval. No provision of the Act                    Standards under Clean Air Act Section                    ideas discussed below are consistent
                                                 requires the EPA to give states an                      110(a)(2)(D)(i)(I) (March 27, 2018) (‘‘March 2018        with the requirements of the CAA, nor
                                                                                                         memorandum’’); Analysis of Contribution
                                                 additional opportunity to prepare a new                 Thresholds for Use in Clean Air Act Section              are we specifically recommending that
                                                 SIP submittal once the EPA has                          110(a)(2)(D)(i)(I) Interstate Transport State            states use these approaches.’’ 74
                                                 proposed a FIP or proposed disapproval                  Implementation Plan Submissions for the 2015             Attachment A to the March 2018
                                                 of a SIP submittal. Comments regarding                  Ozone National Ambient Air Quality Standards,            memorandum, therefore, does not
                                                                                                         August 31, 2018) (‘‘August 2018 memorandum’’);
                                                 the timing of the EPA’s actions and calls               Considerations for Identifying Maintenance
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                                                                                                                                                                    72 ‘‘In addition, the memorandum is accompanied
                                                                                                         Receptors for Use in Clean Air Act Section
                                                   68 We nonetheless further respond to comments         110(a)(2)(D)(i)(I) Interstate Transport State            by Attachment A, which provides a preliminary list
                                                 regarding the timing and sequence of the EPA’s SIP      Implementation Plan Submissions for the 2015             of potential flexibilities in analytical approaches for
                                                 and FIP actions, the relevance of judicial consent      Ozone National Ambient Air Quality Standards,            developing a good neighbor SIP that may warrant
                                                 decrees, the requests for a SIP call, and related       October 19, 2018 (‘‘October 2018 memorandum’’).          further discussion between EPA and states.’’ March
                                                 comments—to the extent any of these issues are          These are available in the docket or at https://         2018 memorandum at 1.
                                                                                                                                                                    73 March 2018 memorandum, Attachment A at
                                                 within scope of the present action—in Sections 1        www.epa.gov/airmarkets/memo-and-supplemental-
                                                 and 2 of the RTC document located in the docket         information-regarding-interstate-transport-sips-         A–1.
                                                 for this action.                                        2015-ozone-naaqs.                                          74 Id.




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                                                 constitute agency guidance, but was                     stringent approach for identifying                     approach is particularly important in
                                                 intended to generate further discussion                 maintenance receptors for purposes of                  the context of interstate ozone transport,
                                                 around potential approaches to                          the 2015 ozone NAAQS. In fact, as                      which is a regional-scale pollution
                                                 addressing ozone transport among                        explained in section III.B.1.a and IV.D of             problem involving the collective
                                                 interested stakeholders. The EPA                        this document, the EPA has found in its                emissions of many smaller contributors.
                                                 emphasized in these memoranda that                      analysis for this final rule that, in                  Effective policy solutions to the problem
                                                 such alternative approaches must be                     general, recent measured data from                     of interstate ozone transport dating back
                                                 technically justified and appropriate in                regulatory ambient air quality ozone                   to the NOX SIP Call (63 FR 57356
                                                 light of the facts and circumstances of                 monitoring sites suggest that a number                 (October 27, 1998)) have necessitated
                                                 each particular state’s submittal. To the               of receptors with elevated ozone levels                the application of a uniform framework
                                                 extent states sought to develop or rely                 will persist in 2023 even though our                   of policy judgments, and the EPA’s
                                                 on one or more of these ideas in support                traditional methodology at Step 1 did                  framework applied here has been
                                                 of their SIP submissions, the EPA                       not identify these monitoring sites as                 upheld as ensuring an ‘‘efficient and
                                                 reviewed their technical and legal                      receptors in 2023. Thus, the EPA is not                equitable’’ approach. See EME Homer
                                                 justifications for doing so.75                          acting inconsistently with that                        City Generation, LP v. EPA, 572 U.S.
                                                    Regarding the October 2018                           memorandum—the factual conditions                      489, 519 (2014).
                                                 memorandum, that document                               that would need to exist for the                          Updated modeling. The EPA had
                                                 recognized that states may be able to                   suggested approaches of that                           originally provided 2023 modeling
                                                 demonstrate in their SIPs that                          memorandum to be applicable have not                   results in its March 2018 memorandum,
                                                 conditions exist that would justify                     been demonstrated as being applicable                  which used a 2011-based platform.
                                                 treating a monitoring site as not being a               or appropriate based on the relevant                   Many states used this modeling in
                                                 maintenance receptor despite results                    data.                                                  providing good neighbor SIP submittals
                                                 from our modeling methodology                              Regarding the August 2018                           for the 2015 ozone NAAQS. While our
                                                 identifying it as such a receptor. The                  memorandum, as discussed in section                    action on the SIP submittals is not
                                                 EPA explained that this demonstration                   IV.F.2 of this document, for purposes of               within scope of this action, commenters
                                                 could be appropriate under two                          Step 2 of our ozone transport evaluation               claim the use of new modeling or other
                                                 circumstances: (1) the site currently has               framework, we are applying a 1 percent                 information not available to states at the
                                                 ‘‘clean data’’ indicating attainment of                 of NAAQS threshold rather than a 1 ppb                 time they made their submittals renders
                                                 the 2015 ozone NAAQS based on                           threshold, as this memorandum had                      this action promulgating a FIP unlawful.
                                                 measured air quality concentrations, or                 suggested might be appropriate for                     Notwithstanding whether that is an
                                                 (2) the state believes there is a technical             states to apply as an alternative. The                 accurate characterization of the EPA’s
                                                 reason to justify using a design value                  EPA is finalizing its proposed approach                basis for disapproving the SIPs, we note
                                                 from the baseline period that is lower                  of consistently using a 1 percent of the               that the court in Wisconsin rejected this
                                                 than the maximum design value based                     NAAQS contribution threshold at Step                   precise argument against the CSAPR
                                                 on monitored data during the same                       2 to evaluate whether states are linked                Update FIPs as a collateral attack on the
                                                 baseline period. To justify such an                     to downwind nonattainment and                          SIP disapprovals. 938 F.3d at 336 (‘‘That
                                                 approach, the EPA anticipated that any                  maintenance concerns for purposes of                   is the hallmark of an improper collateral
                                                 such showing would be based on an                       this FIP.                                              attack. The true gravamen of the claim
                                                 analytical demonstration that (1)                          The approach of this FIP ensures both               lies in the agency’s failure to timely act
                                                 meteorological conditions in the area of                national consistency across all states                 upon the States’ SIP submissions and,
                                                 the monitoring site were conducive to                   and consistency and continuity with our                relatedly, its reliance on data compiled
                                                 ozone formation during the period of                    prior interstate transport actions for                 after the SIP action deadline. Both go
                                                 clean data or during the alternative base               other NAAQS. Further, in this action                   directly to the legitimacy of the SIP
                                                 period design value used for                            the EPA is promulgating FIPs under the                 denials.’’).
                                                 projections; (2) ozone concentrations                   authority of CAA section 110(c). In                       Nonetheless, we offer the following
                                                 have been trending downward at the                      doing so, the EPA has exercised its                    explanation of the evolution of the
                                                 site since 2011 (and ozone precursor                    discretion to determine how to define                  EPA’s understanding of projected air
                                                 emissions of NOX and VOC have also                      and apply good neighbor obligations in                 quality conditions and contributions in
                                                 decreased); and (3) emissions are                       place of the discretion states otherwise               2023 resulting from the iterative nature
                                                 expected to continue to decline in the                  would exercise (subject to the EPA’s                   of our modeling efforts. These modeling
                                                 upwind and downwind states out to the                   approval as compliant with the Act). In                efforts are further addressed in section
                                                 attainment date of the receptor.                        general, the EPA is applying the 4-step                IV of this document. We acknowledge
                                                 Although this is beyond the scope of                    interstate transport framework it                      that to evaluate transport SIPs and
                                                 this action, the EPA explained in its                   devised over the course of its prior good              support our proposed FIP the EPA
                                                 final SIP disapproval action that no state              neighbor rulemakings, including                        reassessed receptors at Step 1 and states’
                                                 successfully demonstrated that one of                   applying a consistent definition of                    contribution levels at Step 2 through
                                                 these alternative approaches is justified.              nonattainment and maintenance-only                     additional modeling (2016v2) before
                                                 In this action, our analysis of the air                 receptors, and applying the 1 percent of               proposing this action and have
                                                 quality data and projections in section                 NAAQS threshold at Step 2. The basis                   reassessed again to inform the final
                                                 IV of this document indicate that trends                for these decisions is further explained               action (2016v3). At proposal, we relied
                                                 in historic measured data do not                        in sections IV.F.1 and IV.F.2 of the                   on CAMx Version 7.10 and the 2016v2
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                                                 necessarily support adopting a less                     document. These policy judgments                       emissions platform to make updated
                                                                                                         reflect consistency with relevant good                 determinations regarding which
                                                    75 E.g., 87 FR 64423–64425 (Alabama); 87 FR          neighbor case law and past agency                      receptors would likely exist in 2023 and
                                                 31453–31454 (California); 87 FR 9852–9854               practice implementing the good                         which states are projected to contribute
                                                 (Illinois); 87 FR 9859–9860 (Indiana); 87 FR 9508,      neighbor provision as reflected in the                 above the contribution threshold to
                                                 9515 (Kentucky); 87 FR 9861–9862 (Michigan); 87
                                                 FR 9869–9870 (Ohio); 87 FR 9798, 9818–9820
                                                                                                         original CSAPR, CSAPR Update,                          those receptors. As explained in the
                                                 (Oklahoma); 87 FR 31477–31481 (Utah); 87 FR             Revised CSAPR Update, and related                      preamble of the EPA’s proposed FIP and
                                                 9526–9527 (West Virginia).                              rulemakings. Nationwide consistency in                 further detailed in the ‘‘Air Quality


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                                                 Modeling Technical Support Document                     emissions inventory information and                       The 2016-based meteorology and
                                                 for the Federal Implementation Plan                     other updates. It is reasonable for the                boundary conditions used in the
                                                 Addressing Regional Ozone Transport                     Agency to improve its understanding of                 modeling have been available through
                                                 for the 2015 Ozone National Ambient                     a situation before taking final action,                the 2016v1 platform, which was used
                                                 Air Quality Standards Proposed                          and the Agency uses the best                           for the Revised CSAPR Update
                                                 Rulemaking’’ (Dec. 2021), hereinafter                   information available to it in taking this             (proposed, 85 FR 68964; October 30,
                                                 referred to as Air Quality Modeling                     action.                                                2020). The updated emissions inventory
                                                 Proposed Rule TSD, and the ‘‘Technical                                                                         files used in the current modeling were
                                                                                                            Further, these modeling updates have
                                                 Support Document (TSD): Preparation                                                                            publicly released September 21, 2021,
                                                                                                         not uniformly resulted in new
                                                 of Emissions Inventories for the 2016v2                                                                        for stakeholder feedback, and have been
                                                                                                         linkages—the 2016v2 modeling, for
                                                 North American Emissions Modeling                                                                              available on our website since that
                                                                                                         instance, corroborated the proposed
                                                 Platform’’ (Dec. 2021), hereinafter                                                                            time.77 The CAMx modeling software
                                                                                                         approval of Montana and supported
                                                 referred to as the 2016v2 Emissions                                                                            that the EPA used has likewise been
                                                                                                         approval of Colorado’s SIP in October of
                                                 Inventory TSD, both available in the                                                                           publicly available for over a year before
                                                                                                         2022.76 Although some commenters
                                                 docket for this action (docket ID no.                                                                          this final rule was proposed on April 6,
                                                                                                         indicate that our modeling iterations
                                                 EPA–HQ–OAR–2021–0668), this                                                                                    2022. CAMx version 7.10 was released
                                                                                                         have provided differing outcomes and
                                                 modeling built off of previous modeling                                                                        by the model developer, Ramboll, in
                                                                                                         are therefore unreliable, this is not what
                                                 iterations used to support the EPA’s                                                                           December 2020. On January 19, 2022,
                                                 action on interstate transport                          the overall record indicates. Rather, in               we released on our website and notified
                                                 obligations. The EPA periodically                       general, although the specifics of states’             a wide range of stakeholders of the
                                                 refines its modeling to ensure the results              linkages may have changed to some                      availability of both the modeling results
                                                 are as indicative as possible of air                    extent, our modeling on the whole has                  for 2023 and 2026 (including
                                                 quality in future years. This includes                  provided consistent outcomes regarding                 contribution data) along with many key
                                                 making any necessary adjustments to                     which states are linked to downwind air                underlying input files.78
                                                 our modeling platform and updating our                  quality problems. For example, the                        By providing the 2016 meteorology
                                                 emissions inventories to reflect current                EPA’s modeling shows that most states                  and boundary conditions (used in the
                                                 information, including information                      that were linked to one or more                        2016v1 version) in fall of 2020, and by
                                                 submitted during public comments on                     receptors using the 2011-based platform                releasing updated emissions inventory
                                                 proposed actions.                                       (i.e., the March 2018 data release) are                information used in 2016v2 in
                                                    For this final rule, the EPA has                     also linked to one or more receptors                   September of 2021,79 we gave states and
                                                 evaluated a raft of technical information               using the newer 2016-based platform.                   other interested parties multiple
                                                 and critiques of its 2016v2 modeling                    Because the new platform uses different                opportunities prior to proposal of this
                                                 provided by commenters on this action                   meteorology (i.e., 2016 instead of 2011),              rule on April 6, 2022, to consider how
                                                 (as well as comments on the SIP actions)                it is not unexpected that an upwind                    our modeling updates could affect their
                                                 and has responded to those comments                     state would be linked to different                     status for purposes of evaluating
                                                 and incorporated updates into the                       receptors using 2011 versus 2016                       potential linkages for the 2015 ozone
                                                 version of the modeling used to support                 meteorology. In addition, although a                   NAAQS. In this final rule, we have
                                                 this final rule (2016v3). As explained in               state may be linked to a different set of              updated our modeling to 2016v3,
                                                 section IV.B of the document, in                        receptors, those receptors are within the              incorporating and reflecting the
                                                 response to additional information                      same areas that have historically had a                feedback and additional information we
                                                 provided by stakeholders following a                    persistent air quality problem. Only                   received through the multiple public
                                                 solicitation of feedback during the                     three upwind states included in the FIP                comment opportunities the EPA made
                                                 release of the 2016v2 emissions                         went from being unlinked to being                      available on the 2016v2 modeling.
                                                 inventory and during the comment                        linked in 2023 between the 2011-based                     The EPA’s development of and
                                                 periods on the proposed SIP actions, the                modeling provided in the March 2018                    reliance on newer modeling is
                                                 EPA has reviewed and revised its                        memorandum and the 2016v3-based                        reasonable and is simply another
                                                 2016v2 modeling platform and input                      modeling—Alabama, Minnesota, and                       iteration of the EPA’s longstanding
                                                 since the platform was made available                   Nevada.                                                scientific and technical work to improve
                                                 for comment. The new modeling                              Additionally, we disagree with                      our understanding of air quality issues
                                                 platform 2016v3 was developed from                      commenters who claim that the 2016v2                   and causes going back many decades.
                                                 this input, and the modeling results                    modeling results were sprung upon the                     Comment: Commenters asserted that
                                                 using platform 2016v3 are available                     states with the publication of the                     the EPA lacks authority under the good
                                                 with this action. See section IV of this                proposed SIP disapprovals. In fact,                    neighbor provision to do more than
                                                 document for further discussion. Thus,                  states had prior access to a series of data            establish state-wide emissions budgets,
                                                 the EPA’s final rule is based on a                      and modeling releases beginning as                     which states may then implement
                                                 comprehensive record of data and                                                                               through their own choice of emissions
                                                                                                         early as the publication of the 2016v1
                                                 technical evaluation, including the                                                                            controls. The commenters claim that the
                                                                                                         modeling with the proposed Revised
                                                 updated modeling information used at                                                                           EPA lacks authority to directly regulate
                                                                                                         CSAPR Update in October 2020. States
                                                 proposal (2016v2), the comments                                                                                emissions sources under the good
                                                                                                         could have reviewed and used this
                                                 received on that modeling, and the                                                                             neighbor provision, and they cite to case
                                                                                                         technical information to understand and
                                                 latest modeling used in this final rule                                                                        law that they view as establishing a
                                                                                                         track how the EPA’s modeling updates
                                                                                                                                                                ‘‘federalism bar’’ to direct Federal
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                                                 (2016v3).                                               were affecting the list of potential
                                                    The changes in projected outcomes at                                                                        regulation. Commenters assert that the
                                                                                                         receptors and linkages for the 2015
                                                 Steps 1 and 2 are a product of these
                                                                                                         ozone NAAQS in the 2023 analytic year.
                                                 changes; these updates between the data                                                                          77 See https://www.epa.gov/air-emissions-

                                                 released in 2018 to now are an                                                                                 modeling/2016v2-platform.
                                                                                                           76 87 FR 6095, 6097 at n. 15 (February 3, 2022)        78 See https://www.epa.gov/scram/
                                                 outgrowth of this iterative process,                    (Montana proposal); 87 FR 27050, 27056 (May 6,         photochemical-modeling-applications.
                                                 including updating the platform from a                  2022) (Colorado, proposal), 87 FR 61249 (October         79 https://www.epa.gov/air-emissions-modeling/

                                                 2011 to a 2016 base year, updates to the                11, 2022) (Colorado, final).                           2016v2-platform.



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                                                 term ‘‘amounts’’ as used in the good                    pollution control regime demands.’’’)                     Commenters’ position that the EPA
                                                 neighbor provision prevents the agency                  (quoting Natural Resources Defense                     must provide similar flexibility to the
                                                 from establishing emissions limits at                   Council v. Browner, 57 F.3d 1122, 1124                 states in this action (i.e., only provide a
                                                 individual sources, such as the non-                    (D.C. Cir. 1995)). Cf. District of                     general emissions reduction target and
                                                 EGU industrial units that the EPA                       Columbia v. Train, 521 F.2d 971 (D.C.                  leave to states how to meet that target)
                                                 proposed to regulate or implementing                    Cir. 1975), vacated sub nom. EPA v.                    is a non sequitur. The EPA is
                                                 ‘‘enhancements’’ in its mass-based                      Brown, 431 U.S. 99 (1977) (‘‘[W]here                   implementing a FIP in this action and
                                                 emissions trading approach for EGUs as                  cooperation [from states] is not                       must directly implement the necessary
                                                 it had proposed. Commenters claim                       forthcoming, we believe that the                       emissions controls. The EPA is not
                                                 these aspects of the rule are an unlawful               recourse contemplated by the commerce                  empowered to require states to
                                                 or arbitrary and capricious departure                   clause is direct federal regulation of the             implement FIP mandates. Such an
                                                 from the EPA’s prior transport                          offending activity . . . .’’).                         approach would conflict with
                                                 rulemakings, which they claim only set                     These same principles apply where                   constitutional anti-commandeering
                                                 mass-based emissions budgets as the                     the EPA must promulgate a FIP to                       principles, is not provided for in the
                                                 means to eliminate ‘‘significant                        address good neighbor requirements                     Act, and would only constitute a partial
                                                 contribution.’’                                         under CAA section 110(a)(2)(D)(i)(I).                  implementation of FIP obligations in
                                                    Response: To the extent these                        The EPA has promulgated a series of                    contravention of the holding in
                                                 comments challenge the EPA’s                            FIPs in the past to address the relevant               Wisconsin v. EPA, 938 F.3d at 313–20.
                                                 disapproval of states’ 2015 ozone                       requirements for prior ozone and PM                       Commenters’ attempt to contrast the
                                                 NAAQS good neighbor SIP submissions,                    NAAQS. See, e.g., CAIR FIP, 71 FR                      implementation of source-specific
                                                 they are out of scope of this action,                   25328 (April 28, 2006); CSAPR, 76 FR                   emissions limitations at industrial
                                                 which promulgates a FIP under the                       48208 (August 8, 2011); the CSAPR                      sources with the establishment of a
                                                 authority of CAA section 110(c)(1). To                  Update, 81 FR 74504 (October 26, 2016);                specific mass-based budget (as the EPA
                                                 the extent commenters assert that the                   and the Revised CSAPR Update, 86 FR                    has set for power plants in prior good
                                                 EPA does not have the authority to                      23054 (April 30, 2021). Courts have                    neighbor FIPs) is unavailing. CAA
                                                 directly implement source-specific                      upheld the EPA’s exercise of this                      section 110(c)(1) and 302(y) authorize
                                                 emissions control requirements or other                 authority. See EME Homer City                          the EPA in promulgating a FIP to
                                                 emissions control measures, means, or                   Generation v. EPA, 572 U.S. 489 (2014);                establish ‘‘enforceable emission
                                                 techniques, including emissions trading                 Wisconsin v. EPA, 938 F.3d 303 (D.C.                   limitations’’ in addition to other types of
                                                 programs, in the exercise of that FIP                   Cir. 2019). Indeed, in EME Homer City,                 control measures like mass-based
                                                 authority, the EPA disagrees. While the                 the U.S. Supreme Court held that the                   trading programs. Further, in this
                                                 courts have long recognized that the                    EPA is not obligated to provide                        action, the EPA has developed an
                                                 states have wide discretion in the design               guidance to states before acting on their              emissions control strategy that prohibits
                                                 of SIPs to attain and maintain the                      good neighbor submissions or give                      the ‘‘amount’’ of pollution that
                                                 NAAQS, see, e.g., Union Electric Co v.                  states a second chance at correcting the               significantly contributes to
                                                 EPA, 427 U.S. 246 (1976), when the EPA                  deficiencies before promulgating a FIP,                nonattainment and/or interferes with
                                                 promulgates a FIP to cure a defective                   and the EPA may promulgate a FIP at                    maintenance. We determine that
                                                 SIP, the Act, including the definition of               any time after finalizing its disapproval              amount, as we have in prior transport
                                                 a FIP in section 302(y), provides for the               of SIP submissions. 572 U.S. at 508–11.                actions, at Step 3 of the analysis, by
                                                 EPA to directly implement the Act’s                        The cases cited by commenters,                      applying a multifactor analysis that
                                                 requirements. The EPA is granted                        which they refer to as establishing the                includes considering cost and
                                                 authority to choose among a broad range                 Train-Virginia federalism bar, were not                downwind air quality effects. See
                                                 of ‘‘emission limitations or other control              reviewing the exercise of the EPA’s                    section V.A of this document. With the
                                                 measures, means, or techniques                          authority in promulgating a FIP under                  implementation of the selected controls
                                                 (including economic incentives, such as                 CAA section 110(c)(1) but rather were                  (at Step 4) through both an emissions
                                                 marketable permits or auctions of                       describing the scope of the EPA’s                      trading program for power plants and
                                                 emissions allowances) . . . .’’ CAA                     authority in acting on SIP submissions                 source-specific emissions limitations for
                                                 section 302(y); see also CAA section                    under CAA section 110(k)(3) or in                      industrial sources, those ‘‘amounts’’ that
                                                 110(a)(2) (empowering states to                         issuing a ‘‘SIP call’’ under section                   had been emitted prior to imposition of
                                                 implement an identical set of emissions                 110(k)(5). In those latter contexts, the               the controls will be eliminated.
                                                 control mechanisms).                                    courts have held that the EPA may not                     The Act does not mandate that the
                                                    The courts have also recognized that                 dictate the specific control measures                  EPA must set a specific mass-based
                                                 the EPA has broad authority to cure a                   states must implement to meet the Act’s                budget for each state to eliminate
                                                 defective SIP, that the EPA may exercise                requirements. See Virginia, 108 F.3d at                significant contribution based on the
                                                 its own, independent regulatory                         1409–10. In Michigan, the D.C. Circuit                 use of the term ‘‘amounts’’ in CAA
                                                 authority in implementing a FIP in                      upheld the EPA’s exercise of CAA                       section 110(a)(2)(D)(i). As the Supreme
                                                 accordance with the CAA, and that the                   section 110(k)(5) authority in issuing the             Court recognized, the statute ‘‘requires
                                                 EPA in effect steps into the shoes of a                 ‘‘NOX SIP Call,’’ because, ‘‘EPA does not              States to eliminate those ‘amounts’ of
                                                 state when it promulgates a FIP. See,                   tell the states how to achieve SIP                     pollution that ‘contribute significantly
                                                 e.g., Central Ariz. Water Conservation                  compliance. Rather, EPA looks to                       to nonattainment’ in downwind States,’’
                                                 Dist. v. EPA, 990 F.2d 1531 (9th Cir.                   section 110(a)(2)(D) and merely                        and it delegates to states or EPA acting
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                                                 1993); South Terminal Corp. v. EPA,                     provides the levels to be achieved by                  in their stead discretion to determine
                                                 504 F.2d 646 (1st Cir. 1974). Accord                    state-determined compliance                            how to apportion responsibility among
                                                 Virginia v. EPA, 108 F.3d 1397, 1406–                   mechanisms. . . . However, EPA made                    those upwind states. 572 U.S. at 514
                                                 07 (D.C. Cir. 1997) (‘‘The Federal Plan                 clear that states do not have to adopt the             (emphasis added). The statute does not
                                                 ‘provides an additional incentive for                   control scheme that EPA assumed for                    define the term ‘‘amount’’ in the way
                                                 state compliance because it rescinds                    budget-setting purposes.’’ Michigan v.                 commenters suggest (or in any other
                                                 state authority to make the many                        EPA, 213 F.3d 663, 687–88 (D.C. Cir.                   way), and neither the Agency nor any
                                                 sensitive and policy choices that a                     2000).                                                 court has reached that conclusion. The


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                                                 Supreme Court itself has recognized that                 concentration-based standards. For                     ozone, identifies a uniform level of
                                                 the language of the good neighbor                        example, in CAA section 163(b),                        emissions reduction that the covered
                                                 provision is amenable to different types                 Congress provided that maximum                         sources in the linked upwind states can
                                                 of metrics for quantification of                         allowable increases in concentrations of               achieve that cost-effectively delivers
                                                 ‘‘significant contribution.’’ See EME                    certain pollutants ‘‘shall not exceed the              improvement in air quality at
                                                 Homer City Generation, L.P., 572 U.S. at                 following amounts,’’ with a list of                    downwind receptors on a regional scale.
                                                 514 (‘‘How is EPA to divide                              allowable increases provided that are                  The ‘‘amount’’ of pollution that is
                                                 responsibility among the . . . States?                   expressed in micrograms per cubic                      identified for elimination at Step 3 of
                                                 Should the Agency allocate reductions                    meter.82 As a third example, in the 1990               the framework is therefore that amount
                                                 proportionally . . ., on a per capita                    CAA Amendments, Congress provided                      of emissions that is in excess of the
                                                 basis, on the basis of the cost of                       that ozone nonattainment areas                         emissions control strategies the EPA has
                                                 abatement, or by some other metric?                      classified as Serious must provide a                   deemed cost-effective. Contrary to
                                                 . . . The Good Neighbor Provision does                   reasonable further progress                            commenters’ views, in prior transport
                                                 not answer that question for EPA.’’); see                demonstration of reductions in VOC                     rules utilizing emissions trading, the
                                                 also Michigan v. EPA, 213 F.3d 663, 677                  emissions ‘‘equal to the following                     mass budgets through which the
                                                 D.C. Cir. 2000) (‘‘Nothing in the text of                amount,’’ which is then described as a                 elimination of significant contribution
                                                 . . . the statute spells out a criterion for             percentage reduction from baseline                     was effectuated did not constitute the
                                                 classifying ‘emissions activity’ as                      emissions. CAA section 182(c)(2)(B).                   ‘‘amounts’’ to be eliminated but rather
                                                 ‘significant.’ ’’); id. at 677 (‘‘Must EPA               These examples illustrate that the word                the residual emissions remaining
                                                 simply pick some flat ‘amount’ of                        ‘‘amounts’’ is amenable to a variety of                following the elimination of significant
                                                 contribution . . . ?’’). When the State of               meanings depending on what is being                    contribution through the control
                                                 Delaware petitioned the Agency under                     measured or quantified. It would                       stringency selected based on our
                                                 CAA section 126(b) to establish daily                    therefore be highly unlikely that                      multifactor assessment at Step 3. Nor
                                                 emissions rates for EGUs to remedy                       Congress could have intended that                      did the EPA consider a mass-based
                                                 what it saw as continuing violations of                  ‘‘amount’’ as used in the good neighbor                budget to be the sole expression, even
                                                 the good neighbor provision for the                      provision must signify only a fixed mass               indirectly, of what constituted
                                                 2008 ozone NAAQS, neither the EPA                        budget of emissions for each state                     ‘‘significant contribution.’’ See, e.g.,
                                                 nor the reviewing court questioned                       expressed as total tons per ozone                      CSAPR, 76 FR 48256–57 (discussing the
                                                 whether the Agency had the statutory                     season.                                                evaluation of the control strategies that
                                                 authority to do so. The EPA’s decision                      Such an approach would, in fact, fail               would eliminate significant contribution
                                                 not to was upheld on record grounds.                     to address an important aspect of the                  for the 1997 ozone NAAQS, including
                                                 See Maryland v. EPA, 958 F.3d 1185,                      problem of interstate transport. As                    combustion controls, and explaining,
                                                 1207 D.C. Cir. 2020) (‘‘In other words,                  explained in sections III.B.1.d, V.D.4,                ‘‘[I]t would be inappropriate for a state
                                                 Delaware’s concern makes sense but has                   and VI.B.1, the EPA in this rule seeks to              linked to downwind nonattainment or
                                                 not been observed in practice.’’).80                     better address the need for emissions                  maintenance areas to stop operating
                                                    The term ‘‘amounts’’ can be                           reductions on each day of the ozone                    existing pollution control equipment
                                                 interpreted to refer to any number of                    season, reflecting the daily, but                      (which would increase their emissions
                                                 metrics, and in fact the CAA uses the                    unpredictably recurring, nature of the                 and contribution).’’).
                                                                                                          air pollution problem, short-term health                  In other actions the EPA has taken to
                                                 term in several contexts where it is clear
                                                                                                          impacts, and the form of the 2015 ozone                implement good neighbor obligations,
                                                 Congress did not intend the term to refer
                                                                                                          NAAQS, wherein nonattainment for                       the EPA has required or allowed for
                                                 to a fixed, mass-based quantity of
                                                                                                          downwind areas (and thus heightened                    reliance on source-specific emissions
                                                 emissions. For example, in the
                                                                                                          regulatory requirements) could be based                limitations rather than defining
                                                 definition of ‘‘lowest achievable
                                                                                                          on ozone exceedances on just a few days                significant contribution as a mass-based
                                                 emission rate’’ (LAER) in CAA section
                                                                                                          of the year. The expression of the                     budget. For example, the EPA imposed
                                                 171, the Act provides that the
                                                                                                          ‘‘amount’’ of pollution that should be                 unit-specific emissions limitations in
                                                 application of LAER shall not permit a
                                                                                                          eliminated to address upwind states’                   granting a CAA section 126(b) petition
                                                 proposed new or modified source to
                                                                                                          ‘‘significant contribution’’ to that type of           from the State of New Jersey in 2011.
                                                 emit any pollutant in excess of ‘‘the
                                                                                                          air pollution problem may appropriately                Final Response to Petition From New
                                                 amount allowable under applicable new
                                                                                                          take into account those aspects of the                 Jersey Regarding SO2 Emissions From
                                                 source standards of performance
                                                                                                          problem, and the EPA may                               the Portland Generating Station, 76 FR
                                                 [NSPS].’’ NSPS may be, and usually are,
                                                                                                          appropriately conclude, as we do here,                 69052, 69063–64 (Nov. 7, 2011)
                                                 set as emissions standards or limitations
                                                                                                          that a single, fixed, emissions budget                 (discussing the analytical basis for the
                                                 that are rate- or concentration-based.
                                                                                                          covering an entire ozone season is not                 establishment of emissions limits at
                                                 See, e.g., 40 CFR part 60, subpart KKKK,
                                                                                                          sufficient to the task at hand.                        specific units). This action was upheld
                                                 table I (establishing concentration-based
                                                                                                             In this action, the EPA reasonably                  by the Third Circuit in Genon Rema LLC
                                                 and rate-based emissions limits for
                                                                                                          applies the good neighbor provision,                   v. EPA, 722 F.3d 513, 526 (3d. Cir.
                                                 stationary combustion turbines).81
                                                                                                          including the term ‘‘amount,’’ through                 2013).83
                                                 Congress has elsewhere used the term                     the 4-step interstate transport
                                                 ‘‘amount’’ in the CAA to refer to                        framework. Under this approach, the                       83 In CAA section 126(c), Congress provided for

                                                                                                          EPA here, as it has in prior transport                 the EPA to directly impose ‘‘emission limitations’’
                                                    80 The Agency’s view of the basis for backstop
                                                                                                                                                                 to eliminate prohibited significant contribution.
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                                                 daily emissions rates for certain EGUs within the        rulemakings for regional pollutants like               Notably, the statute affords the EPA and states
                                                 trading program has changed since the time of its                                                               flexibility in how an ‘‘emissions limitation’’ may be
                                                 action on Delaware’s petition, as explained in              82 Notably, both the provisions of CAA section      expressed, including as a ‘‘quantity, rate, or
                                                 section VI.B.                                            171 and section 163 given as examples here were        concentration,’’ see CAA section 302(k). It would
                                                    81 The EPA has interpreted the term ‘‘amount’’ as     added by the CAA Amendments of 1977, in the            make little sense that the EPA could only establish
                                                 used in CAA section 111(a)(4) in the definition of       same set of amendments that Congress first             a mass-based definition of ‘‘amounts’’ under CAA
                                                 the term ‘‘modifications’’ as an increase in a rate of   strengthened the good neighbor provision and           section 110(a)(2)(D)(i)(I), when the statute provides
                                                 emissions expressed as kilograms per hour. 40 CFR        added the term ‘‘amounts.’’ See Public Law 95–95,      for rate- or concentration-based limitations in CAA
                                                 60.14(b).                                                91 Stat. 685, 693, 732, 746.                           section 126, which directly incorporates



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                                                    Even where the EPA has provided for                  mechanisms that go beyond fixed, mass-                 purposes of good neighbor analysis
                                                 implementation of good neighbor                         based, ozone-season long budgets.                      under CAA section 110(a)(2)(D)(i)(I) to
                                                 requirements through mass-based                           The EPA’s authority for its industrial               be a function of the requirement to
                                                 budgets, it has recognized that other                   source control strategies is further                   prohibit emissions that interfere with
                                                 approaches may be acceptable as                         discussed in sections II.C. and III.B.1.c              maintenance of the NAAQS; even if our
                                                 providing an equivalent degree of                       of this document. The relationship of                  transport modeling projects that an area
                                                 emissions reduction to eliminate                        the control strategy to the assessment of              may reach attainment in 2023, we have
                                                 significant contribution. See, e.g., NOX                overcontrol is discussed in section                    other information indicating that there
                                                 SIP Call, 63 FR 57378–79 (discussing                    V.D.4 of this document. The                            is an identified risk that attainment will
                                                 approvability of rate-based emissions                   relationship of our FIP authority to state             not in fact be achieved in 2023. The
                                                 limit approaches for implementing NOX                   authorities and SIP calls under CAA                    EPA’s analysis of these additional
                                                 SIP Call and providing, ‘‘the 2007                      section 110(k)(5) is further discussed in              receptors further is explained in section
                                                 overall budget is an important                          RTC sections 1 and 2.                                  IV.D of this document.
                                                 accounting tool. However, the State is                  a. Step 1 Approach                                        However, because we did not identify
                                                 not required to demonstrate that it has
                                                                                                            As proposed, the EPA applies the                    this basis for receptor-identification at
                                                 limited its total NOX emissions to the
                                                                                                         same basic method of the CSAPR                         proposal, in this final action we are only
                                                 budget amounts. Thus, the overall
                                                                                                         Update and the Revised CSAPR Update                    using this receptor category on a
                                                 budget amount is not an independently
                                                 enforceable requirement.’’); CAIR, 70 FR                for identifying nonattainment and                      confirmatory basis. That is, for states
                                                 25261–62 (discussing ways states could                  maintenance receptors. However, we                     that we find linked based on our
                                                 implement CAIR obligations, including                   received comments arguing that the                     traditional modeling-based methodology
                                                                                                         outcome of applying our methodology                    in 2023, we find in this final analysis
                                                 through emission-rate limitations, so
                                                                                                         to identify receptors in 2023 appears                  that the linkage at Step 2 is strengthened
                                                 long as adequately demonstrated to
                                                                                                         overly optimistic in light of current                  and confirmed if that state is also linked
                                                 achieve comparable reductions to
                                                                                                         measured data from the network of                      to one or more ‘‘violating monitor’’
                                                 CAIR’s emissions budgets).
                                                                                                         ambient air quality monitors across the                receptors. If a state is only linked to a
                                                    Finally, as it has in its prior transport            country. These commenters suggest that
                                                 FIP actions, the EPA has in this action                                                                        violating-monitor receptor in this final
                                                                                                         the EPA give greater weight to current                 analysis, we are deferring promulgating
                                                 provided guidance for states on methods                 measured data as part of the method for
                                                 by which they could replace this FIP                                                                           a final FIP (and we have also deferred
                                                                                                         identifying projected receptors. As                    taking final action on that state’s SIP
                                                 with SIPs, and in so doing, continues to                discussed further in section IV.D of this
                                                 recognize substantial state flexibility in                                                                     submittal). This is the case for the State
                                                                                                         document, the EPA has modified its                     of Tennessee. Among the states that
                                                 achieving an equivalent degree of                       approach for identifying receptors for
                                                 emissions reduction that would                                                                                 previously had their transport SIPs fully
                                                                                                         this final rule in response to these                   approved for the 2015 ozone NAAQS,
                                                 successfully eliminate significant                      comments.
                                                 contribution for the 2015 ozone                                                                                the EPA has also identified a linkage to
                                                                                                            This concern is more evident given                  violating-monitor receptors for the State
                                                 NAAQS. See section VI.D of this                         that the 2023 ozone season is just a few
                                                 document. While the EPA has exercised                                                                          of Kansas. The EPA intends to further
                                                                                                         months away, and the most recent                       review its air quality modeling results
                                                 the responsibility it has under CAA                     measured ozone values in many areas
                                                 section 110(c)(1) to step into the shoes                                                                       and recent measured ozone levels, and
                                                                                                         strongly suggest that these areas will not
                                                 of the covered states and directly                                                                             we intend to address these states’ good
                                                                                                         likely see the substantial reduction in
                                                 implement good neighbor requirements                                                                           neighbor obligations as expeditiously as
                                                                                                         ozone levels that the 2016v2 and 2016v3
                                                 through a particular set of regulatory                                                                         practicable in a future action.
                                                                                                         modeling continue to project.
                                                 mechanisms in this action, we                              It would not be reasonable to ignore                b. Step 2 Approach
                                                 anticipate that states may identify                     recent measured ozone levels in many
                                                 alternative, equivalent mechanisms that                 areas that are clearly not fully consistent               The EPA applies the same approach
                                                 we would be bound to evaluate and                       with certain concentrations in the Step                for identifying which states are
                                                 approve if satisfactory, should states                  1 analysis for 2023. Therefore, the EPA                contributing to downwind
                                                 seek to replace this FIP with a SIP.                    has developed an additional                            nonattainment and maintenance
                                                    For these reasons, the EPA disagrees                 maintenance-only receptor category,                    receptors as it has applied in the three
                                                 with the contention that it is                          which includes what we refer to as                     prior CSAPR rulemakings. CSAPR, the
                                                 constrained by the good neighbor                        ‘‘violating monitor’’ receptors, based on              CSAPR Update, and the Revised CSAPR
                                                 provision to define upwind state                        current ozone concentrations measured                  Update used a screening threshold of 1
                                                 obligations solely by reference to a                    by regulatory ambient air quality                      percent of the NAAQS to identify
                                                 fixed, mass budget. We find it                          monitoring sites. We acknowledge that                  upwind states that were ‘‘linked’’ to
                                                 reasonable in this action to again                      the traditional modeling plus                          downwind air pollution problems.
                                                 determine the amount of ‘‘significant                   monitoring methodology we used at                      States with contributions greater than or
                                                 contribution’’ at Step 3 by reference to                proposal and in prior ozone transport                  equal to the threshold for at least one
                                                 uniform levels of cost-effective                        rules would otherwise have identified                  downwind nonattainment or
                                                 emissions controls that can be applied                  such sites as being in attainment in                   maintenance receptor identified in Step
                                                 across the upwind sources. And, we                      2023. Despite the implications of the                  1 were identified in these rules as
                                                 find it appropriate to implement those                  current measured data suggesting there
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                                                                                                                                                                needing further evaluation of their good
                                                 emissions reductions at Step 4 through                  will be a nonattainment problem at                     neighbor obligations to downwind states
                                                                                                         these sites in 2023, we cannot                         at Step 3.84 The EPA evaluated each
                                                 110(a)(2)(D)(i)(I). (In observing this, we do not       definitively establish that such sites will            state’s contribution based on the average
                                                 concede that an ‘‘emissions limitation’’ itself could   be in nonattainment in 2023 in light of                relative downwind impact calculated
                                                 not also be expressed through a mass-based
                                                 approach, which may be read as authorized by the
                                                                                                         our modeling projections. In the face of
                                                 term ‘‘quantity,’’ a term also used in CAA section      this uncertainty, we regard our ability to               84 For ozone, the impacts include those from VOC

                                                 302(k).)                                                consider such sites as receptors for                   and NOX from all sectors.



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                                                 over multiple days.85 States whose air                  c. Step 3 Approach                                     the EPA finalizes a control stringency
                                                 quality impacts to all downwind                            The EPA continues to apply the same                 for EGUs from these measures that is
                                                 receptors were below this threshold did                 approach as the prior three CSAPR                      commensurate with the nature of the
                                                 not require further evaluation for                      rulemakings for evaluating ‘‘significant               ongoing ozone nonattainment and
                                                 measures to address transport. In other                 contribution’’ at Step 3.86 For states that            maintenance problems observed for the
                                                 words, the EPA determined that these                                                                           2015 ozone NAAQS. Similarly, in this
                                                                                                         are linked at Step 2 to downwind air
                                                 states did not contribute to downwind                                                                          action, the EPA includes other
                                                                                                         quality problems, CSAPR, the CSAPR
                                                 air quality problems and therefore had                                                                         industrial sources (non-EGUs) in its
                                                                                                         Update, and the Revised CSAPR Update
                                                 no emissions reduction obligations                                                                             Step 3 analysis and finalizes emissions
                                                                                                         evaluated NOX reduction potential, cost,
                                                 under the good neighbor provision. The                                                                         limitations for certain non-EGU sources
                                                                                                         and downwind air quality
                                                 EPA applies a relatively low                                                                                   as needed to eliminate significant
                                                                                                         improvements available at various
                                                 contribution screening threshold                                                                               contribution and interference with
                                                                                                         mitigation technology breakpoints
                                                 because many downwind ozone                                                                                    maintenance. The available reductions
                                                                                                         (represented by cost thresholds) in the
                                                 nonattainment and maintenance                                                                                  and cost-levels for the non-EGU
                                                                                                         multi-factor test. In CSAPR, the CSAPR
                                                 receptors receive transport contributions                                                                      stringency is commensurate with the
                                                                                                         Update, and the Revised CSAPR
                                                 from multiple upwind states. While the                                                                         control strategy for EGUs.
                                                                                                         Update, the EPA selected the technology                   In CSAPR, the CSAPR Update, and
                                                 proportion of contribution from a single                breakpoint (represented by a cost
                                                 upwind state may be relatively small,                                                                          the Revised CSAPR Update, the EPA
                                                                                                         threshold) that, in general, maximized                 focused its Step 3 analysis on EGUs. In
                                                 the effect of collective contribution                   cost-effectiveness—i.e., that achieved a
                                                 resulting from multiple upwind states                                                                          the Revised CSAPR Update, in response
                                                                                                         reasonable balance of incremental NOX                  to the Wisconsin decision’s finding that
                                                 may substantially contribute to                         reduction potential and corresponding                  the EPA had not adequately evaluated
                                                 nonattainment of or interference with                   downwind ozone air quality                             potential non-EGU reductions, see 938
                                                 maintenance of the NAAQS in                             improvements, relative to the other                    F.3d at 318, the EPA determined that
                                                 downwind areas. The preambles to the                    emissions budget levels evaluated. See,                the available NOX emissions reductions
                                                 proposed and final CSAPR rules discuss                  e.g., 81 FR 74550. The EPA determined                  from non-EGU sources, for purposes of
                                                 the use of the 1 percent threshold for                  the level of emissions reductions                      addressing good neighbor obligations for
                                                 CSAPR. See 75 FR 45237 (August 2,                       associated with that level of control                  the 2008 ozone NAAQS, at a
                                                 2010); 76 FR 48238 (August 8, 2011).                    stringency to constitute significant                   comparable cost threshold to the
                                                 The same metric is discussed in the                     contribution to nonattainment or                       required EGU emissions reductions (for
                                                 CSAPR Update, see 81 FR 74538, and in                   interfere with maintenance of a NAAQS                  which the EPA used an adjusted
                                                 the Revised CSAPR Update, see 86 FR                     downwind. See, e.g., 86 FR 23116. This                 representative cost of $1,800 per ton),
                                                 23054. In this final rule, the EPA has                  approach was upheld by the U.S.                        and based on the timing of when such
                                                 updated the air quality modeling data                   Supreme Court in EPA v. EME Homer                      measures could be implemented, did
                                                 used for determining contributions at                   City.87                                                not provide a sufficiently meaningful
                                                 Step 2 of the 4-step interstate transport                  In this action, the EPA applies this                and timely air quality improvement at
                                                 framework using the 2016v3 modeling                     approach to identify EGU and non-EGU                   the downwind receptors before those
                                                 platform. The EPA continues to find                     NOX control stringencies necessary to                  receptors were projected to resolve. See
                                                 that this threshold is appropriate to                   address significant contribution for the               86 FR 23110. On that basis, the EPA
                                                 apply for the 2015 ozone NAAQS. This                    2015 ozone NAAQS. The EPA applies a                    made a finding that emissions
                                                 rule’s application of the Step 2 approach               multifactor assessment using cost-                     reductions from non-EGU sources were
                                                 is comprehensively described in section                 thresholds, total emissions reduction                  not required to eliminate significant
                                                 IV of this document.                                    potential, and downwind air quality                    contribution to downwind air quality
                                                    Many commenters challenged the use                   effects as key factors in determining a                problems under the interstate transport
                                                 of a 1 percent of NAAQS threshold or                    reasonable balance of NOX controls in                  provision for the 2008 ozone NAAQS. In
                                                 otherwise raised issues with the EPA’s                  light of the downwind air quality                      this rule, the EPA’s ‘‘significant
                                                 Step 2 methodology. These comments                      problems. The EPA’s evaluation of                      contribution’’ analysis at Step 3 of the
                                                 are addressed in section IV.F of this                   available NOX mitigation strategies for                4-step framework includes a
                                                 document and in the RTC document.                       EGUs focuses on the same core set of                   comprehensive evaluation of major
                                                                                                         measures as prior transport rules, and                 stationary source non-EGU industries in
                                                    85 The number of days used in calculating the                                                               the linked upwind states. The EPA finds
                                                 average contribution metric has historically been          86 For simplicity, the EPA (and courts) at times
                                                                                                                                                                that emissions from certain non-EGU
                                                 determined in a manner that is generally consistent     will refer to the Step 3 analysis as determining       sources in the upwind states
                                                 with the EPA’s recommendations for projecting           ‘‘significant contribution’’; however, the EPA’s
                                                 future year ozone design values. Our ozone              approach at Step 3 also implements the                 significantly contribute to downwind air
                                                 attainment demonstration modeling guidance at the       ‘‘interference with maintenance’’ prong of the good    quality problems for the 2015 ozone
                                                 time of CSAPR recommended using all model-              neighbor provision by also addressing emissions        NAAQS, and that cost-effective
                                                 predicted days above the NAAQS to calculate             that impact the maintenance receptors identified at    emissions reductions from these sources
                                                 future year design values (https://www3.epa.gov/        Step 1. See 86 FR 23074 (‘‘In effect, EPA’s
                                                 ttn/scram/guidance/guide/final-03-pm-rh-                determination of what level of upwind contribution     are required to eliminate significant
                                                 guidance.pdf). In 2014, the EPA issued draft revised    constitutes ‘interference’ with a maintenance          contribution under the interstate
                                                 guidance that changed the recommended number of         receptor is the same determination as what             transport provision. Therefore, this rule
                                                 days to the top-10 model predicted days (https://       constitutes ‘significant contribution’ for a           requires emissions reductions from non-
                                                 www3.epa.gov/ttn/scram/guidance/guide/Draft-O3-         nonattainment receptor. Nonetheless, this continues
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                                                                                                         to give independent effect to prong 2 because the
                                                                                                                                                                EGU sources in upwind states to fulfill
                                                 PM-RH-Modeling_Guidance-2014.pdf). For the
                                                 CSAPR Update, the EPA transitioned to calculating       EPA applies a broader definition for identifying       interstate transport obligations for the
                                                 design values based on this draft revised approach.     maintenance receptors, which accounts for the          2015 ozone NAAQS. This analysis is
                                                 The revised modeling guidance was finalized in          possibility of problems maintaining the NAAQS          described fully in section V of this
                                                 2019 and, in this regard, the EPA is calculating both   under realistic potential future conditions.’’). See
                                                                                                         also EME Homer City, 795 F.3d 118, 136 (upholding
                                                                                                                                                                document.
                                                 the ozone design values and the contributions based
                                                 on a top-10 day approach (https://www3.epa.gov/         this approach to prong 2).                                In this rule, the EPA also continues to
                                                 ttn/scram/guidance/guide/O3-PM-RH-Modeling_                87 EPA v. EME Homer City Generation, L.P., 572      apply its approach for assessing and
                                                 Guidance-2018.pdf).                                     U.S. 489 (2014).                                       avoiding ‘‘over-control.’’ In EME Homer


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                                                 City, the Supreme Court held that ‘‘EPA                    Comment: Commenters alleged that                    2000); Appalachian Power Co. v. EPA,
                                                 cannot require a State to reduce its                    the EPA lacks authority to regulate                    249 F.3d 1032 (D.C. Cir. 2001). In fact,
                                                 output of pollution by more than is                     EGUs under the good neighbor                           each of the EPA’s interstate ozone
                                                 necessary to achieve attainment in every                provision of the CAA, or at least in the               transport rulemakings has focused on
                                                 downwind State or at odds with the                      manner proposed, because in their view,                the regulation of ozone-precursor
                                                 one-percent threshold the Agency has                    this regulation would intrude into areas               emissions from the power sector (all but
                                                 set.’’ 572 U.S. at 521. The Court                       of regulation that are reserved to other               the NOX SIP Call exclusively), because
                                                 acknowledged that ‘‘instances of ‘over-                 Federal agencies or are beyond the                     substantial, cost-effective reductions in
                                                 control’ in particular downwind                         EPA’s expertise. They focused in                       ozone-precursor emissions have been
                                                 locations may be incidental to                          particular on the EGU trading program                  and continue to be available from fossil-
                                                 reductions necessary to ensure                          enhancements, which they alleged                       fuel fired EGUs. See, e.g., 63 FR 57399–
                                                 attainment elsewhere.’’ Id. at 492.                     would threaten electric grid reliability,              400 (NOX SIP Call); 70 FR 25165 and 71
                                                    Because individual upwind States often
                                                                                                         and asserted that EPA lacks authority or               FR 25343 (CAIR and CAIR FIP); 76 FR
                                                 ‘contribute significantly’ to nonattainment in          expertise to dictate the mix of electricity            48210–11 (CSAPR); 81 FR 74507
                                                 multiple downwind locations, the emissions              generation in the country.                             (CSAPR Update); 86 FR 23061 (Revised
                                                 reductions required to bring one linked                    Response: The EPA disagrees that the
                                                                                                                                                                CSAPR Update).89
                                                 downwind State into attainment may well be              regulation of EGUs in this action is
                                                 large enough to push other linked downwind              unlawful or unsupported. The Agency                       This rule, like all prior EPA ozone-
                                                 States over the attainment line. As the Good            has consistently and successfully                      transport rulemakings, regulates only
                                                 Neighbor Provision seeks attainment in every            regulated EGUs’ ozone season NOX                       one aspect of the operation of fossil-fuel
                                                 downwind State, however, exceeding                      emissions under the good neighbor                      fired EGUs, that is, the emissions of
                                                 attainment in one State cannot rank as ‘over-           provision for over 25 years, beginning                 NOX as an ozone-precursor pollutant
                                                 control’ unless unnecessary to achieving
                                                 attainment in any downwind State. Only
                                                                                                         with the 1997 NOX SIP Call. This action                during the ozone season. This rule
                                                 reductions unnecessary to downwind                      does not intrude on other Federal                      limits EGU NOX emissions that interfere
                                                 attainment anywhere fall outside the                    agencies’ authorities and                              with downwind states’ ability to attain
                                                 Agency’s statutory authority.                           responsibilities with respect to                       and maintain the 2015 ozone NAAQS.
                                                                                                         managing the electric power grid and                   The rule does not regulate any other
                                                 Id. at 522 (footnotes omitted).
                                                                                                         ensuring reliable electricity. While other             aspect of energy generation,
                                                     The Court further explained that                    agencies such as the Federal Energy                    distribution, or sale. For these reasons,
                                                 ‘‘while EPA has a statutory duty to                     Regulatory Commission (FERC) have                      the rule does not intrude on FERC’s
                                                 avoid over-control, the Agency also has                 primary responsibility for ensuring                    power under the Federal Power Act, 16
                                                 a statutory obligation to avoid ‘under-                 reliability of the bulk electric system,               U.S.C. 791a, et seq. And, as in prior
                                                 control,’ i.e., to maximize achievement                 the EPA has ensured that its final rule                transport rules, the EPA implements
                                                 of attainment downwind.’’ Id. at 523.                   here will not create electric reliability              this regulation through a proven,
                                                 Therefore, in the CSAPR Update and                      concerns. See section VI.B.1.d of this                 flexible mass-based emissions trading
                                                 Revised CSAPR Update, the EPA                           document. Thus, to the extent                          program that integrates well with, and
                                                 evaluated possible over-control by                      commenters are raising a record-based                  in no way intrudes upon, the
                                                 considering whether an upwind state is                  issue that the EPA through this action
                                                 linked solely to downwind air quality                                                                          management of the power sector under
                                                                                                         has created a reliability concern, we                  other state and Federal authorities. This
                                                 problems that can be resolved at a lower                disagree. The EPA engaged in a series of
                                                 cost threshold, or if upwind states                                                                            rule will not alter the procedures system
                                                                                                         stakeholder meetings with Reliability                  operators employ to dispatch resources
                                                 would reduce their emissions at a lower                 Coordinators who commented on the
                                                 cost threshold to the extent that they                                                                         or force changes to FERC-jurisdictional
                                                                                                         proposed rule, including several                       electricity markets, nor have
                                                 would no longer meet or exceed the 1                    Regional Transmission Organizations
                                                 percent air quality contribution                                                                               commenters offered any explanation in
                                                                                                         (RTOs) as well as non-RTO entities                     this regard themselves.
                                                 threshold. See, e.g., 81 FR 74551–52.                   throughout the rulemaking process.88
                                                 See also Wisconsin, 938 F.3d at 325                        To the extent commenters maintain                      The actual compliance requirement
                                                 (over-control must be proven through a                  that—despite this record of                            that the EGUs must meet in the
                                                 ‘‘ ‘particularized, as-applied                          collaboration and sensitivity to the need              allowance trading system finalized
                                                 challenge’ ’’) (quoting EME Homer City                  to ensure reliability in the                           here—just as in all prior interstate
                                                 Generation, 572 U.S. at 523–24). The                    implementation of its mandates,                        transport trading programs—is simply to
                                                 EPA continues to apply this framework                   including in this rule—the EPA                         hold sufficient allowances to cover
                                                 for assessing over-control in this rule,                nonetheless fundamentally lacks                        emissions during a given control period,
                                                 and, as discussed in section V.D.4 of                   authority to regulate the electric-power               not to undertake any specific
                                                 this document, does not find any over-                  sector in any way that ‘‘impact[s]
                                                 control at the final control stringency                 national electricity and energy                          89 There are myriad other examples of effective

                                                 selected.                                               markets,’’ the EPA disagrees. The EPA                  power sector regulation under the CAA and other
                                                     This evaluation of cost, NOX                                                                               environmental statutes, including for example, new
                                                                                                         has successfully regulated interstate                  source performance standards (NSPS), best
                                                 reductions, and air quality                             ozone-precursor emissions from the                     available retrofit technology (BART) requirements,
                                                 improvements, including consideration                   power sector since the NOX SIP Call and                and mercury and air toxics standards (MATS) under
                                                 of whether there is proven over-control,                the establishment of the NOX Budget                    the CAA; effluent limitation guidelines (ELGs)
                                                                                                                                                                under the Clean Water Act; and coal combustion
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                                                 results in the EPA’s determination of the               Trading Program. See generally
                                                                                                                                                                residuals (CCR) requirements under the Resource
                                                 appropriate level of upwind control                     Michigan v. EPA, 213 F.3d 663 (D.C. Cir.               Conservation and Recovery Act. Whether
                                                 stringency that would result in                                                                                implemented through unit- or facility-level
                                                 elimination of emissions that                             88 See Documents no. EPA–HQ–OAR–2021–                pollution control requirements or through
                                                 significantly contribute to                             0668–0938, EPA–HQ–OAR–2021–0668–0940, EPA–             emissions-trading or other market-based programs,
                                                                                                         HQ–OAR–2021–0668–0941, EPA–HQ–OAR–2021–                these regulations have been effective in reducing air
                                                 nonattainment or interfere with                         0668–0942, EPA–HQ–OAR–2021–0668–0943, EPA–             and water pollution while not intruding into the
                                                 maintenance of the NAAQS in                             HQ–OAR–2021–0668–0944, and EPA–HQ–OAR–                 regulatory arenas of other state and Federal entities.
                                                 downwind areas.                                         2021–0668–0945 in the docket for this rulemaking.      See Section 1 of the RTC for further discussion.



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                                                 compliance strategy.90 The owner or                      attempts to mandate a particular energy                 than many other such requirements
                                                 operator of an EGU has flexibility in                    mix in West Virginia v. EPA. See 142 S.                 EGUs are already subject to. Further, as
                                                 determining how it will meet this                        Ct. 2587, 2613 n.4 (2022) (‘‘[T]here is an              in prior transport rules, this rule applies
                                                 requirement, whether through the add-                    obvious difference between (1) issuing a                a uniform control stringency to EGUs
                                                 on emissions controls that the EPA has                   rule that may end up causing an                         within the covered upwind states. EGUs
                                                 selected in our Step 3 analysis, or                      incidental loss of coal’s market share,                 that may have enjoyed a competitive
                                                 through some other method or methods                     and (2) simply announcing what the                      advantage in the past through not
                                                 of compliance. The costs of meeting this                 market share of coal, natural gas, wind,                bearing the costs of installing and
                                                 allowance-holding requirement—just                       and solar must be . . . .’’).                           running state-of-the-art emissions
                                                 like the cost associated with meeting                       This rule is squarely in the former                  control technology now must bear that
                                                 any other regulatory requirements—                       camp; as the most stringent component                   cost just as their competitors with that
                                                 could possibly then be factored into                     of its emissions controls strategy for                  technology already are. Cf. EME Homer
                                                 what that unit bids in the wholesale                     EGUs, the EPA has determined that to                    City, 572 U.S. 489, 519 (CSAPR is
                                                 electricity market (or in regulated                      eliminate significant contribution to                   ‘‘[e]quitable because, by imposing
                                                 jurisdictions, would factor into utility                 harmful levels of ozone in other states,                uniform cost thresholds on regulated
                                                 regulators’ determinations of what can                   certain fossil-fuel fired EGUs in                       States, EPA’s rule subjects to stricter
                                                 be cost-recovered).                                      ‘‘linked’’ upwind states that do not                    regulation those States that have done
                                                    Those costs could, in turn, result in a               already have selective catalytic                        relatively less in the past to control their
                                                 reduction in electricity generation from                 reduction (SCR) post-combustion                         pollution. Upwind States that have not
                                                 higher-emitting sources and an increase                  control technology, should install it (or               yet implemented pollution controls of
                                                 in electricity generation from lower-                    achieve emissions reductions                            the same stringency as their neighbors
                                                 emitting or zero-emitting generators, but                commensurate with that technology).                     will be stopped from free riding on their
                                                 that kind of generation shifting (not                    SCR is a well-established at-the-source                 neighbors’ efforts to reduce pollution.
                                                 mandated but occurring as an economic                    NOX control technology already in use                   They will have to bring down their
                                                 choice by the regulated sources) is                      by EGUs representing roughly 60                         emissions by installing devices of the
                                                 consistent, and in no way interferes                     percent of the existing coal-fired                      kind in which neighboring States have
                                                 with, the existing security-constrained                  generating capacity in the United States.               already invested.’’).
                                                 economic dispatch protocols of the                       This technology can be installed and                       Finally, we note that this final rule
                                                 modern electrical grid. Further, this                    operated to reduce NOX emissions                        does not include ‘‘generation shifting’’
                                                 type of ‘‘impact’’ on electricity                        without forcing the retirement or                       as a component of the budget-setting
                                                 markets—merely incidental, not                           reduced utilization of any EGU.                         process, even in the limited way that it
                                                 mandated or even intended—is of the                      However, if market conditions are such                  had been used in prior transport rules
                                                 same type that results from any other                    that an EGU faced with this mandate                     like CSAPR and the CSAPR Update, i.e.,
                                                 kind of regulation, environmental or                     (again, as expressed through an                         to ensure the budget provided adequate
                                                 otherwise. Indeed, the U.S. Supreme                      emissions trading budget) finds it more                 incentive to ensure implementation of
                                                 Court recognizes that regulatory actions                 economic to comply with the mandate                     the selected emission-control strategy.
                                                 that may have some ‘‘effect,’’ or impact,                through the purchase of allowances,                     See section V.B.1.f of this document.
                                                 in electricity markets do not on that                    installation of other types of pollution                Further comments regarding legal
                                                 basis alone intrude into authorities                     control, reduced utilization, and/or                    authority for ‘‘generation shifting,’’
                                                 reserved to electricity rate-setting                     retirement, rather than installing SCR                  relationship to state authorities, and
                                                 regulators by the Federal Power Act. See                 technology, that is a choice that the EGU               expertise associated with grid reliability
                                                 FERC v. Electric Power Supply Ass’n,                     owner/operator can freely make under                    are addressed in section 1.3 of the RTC.
                                                 577 U.S. 260, 282–84 (2016)                              this rule.91 Security constrained                       We further discuss our consideration of
                                                 (distinguishing between actions that                     economic dispatch is thereby                            grid reliability concerns and
                                                 have an effect on retail rates and actual                maintained and is in no way interfered                  adjustments in the approach to the EGU
                                                 intrusion into retail rate-setting itself);              with.                                                   emissions trading program from
                                                 see also Hughes v. Talen, 578 U.S. 150,                     The EPA recognizes that cost to                      proposal in section VI.B.1.d of this
                                                 166 (2016). The Supreme Court again                      operate generators is one of the major                  document.
                                                 recognized this distinction between                      factors that system operators utilize to                   Comment: Commenters generally
                                                 ‘‘incidental’’ effects caused by lawfully                determine ‘‘merit’’ order in dispatching                challenged the EPA’s authority to
                                                 issued environmental regulations and                     resources. However, this rule does not                  establish emissions control
                                                                                                          intrude in any way into that process. To                requirements for non-EGU industrial
                                                   90 The EPA has included in this trading program        the extent that compliance with                         sources in this action, or argued that
                                                 certain ‘‘enhancements’’ to ensure that the program      environmental regulations is a kind of                  such controls are unnecessary or
                                                 continues to eliminate the emissions the EPA has
                                                 determined constitute ‘‘significant contribution’’
                                                                                                          cost that may need to be factored into                  unsupported, or run contrary to the
                                                 over the entire life of the trading program. While       generators’ bids, this rule is no different             EPA’s prior actions under the good
                                                 one of the enhancements elevates a type of conduct                                                               neighbor provision.
                                                 that was already strongly discouraged into an               91 As explained in section V.B of this document,        Response: The states and the EPA
                                                 enforceable violation, the other enhancements all        the imposition of a backstop emissions rate             have authority under CAA section
                                                 simply modify the traditional allowance-based            beginning in 2030 for units that do not already have
                                                 program structure to revise how the specific             SCR installed could lead the owner of a given unit
                                                                                                                                                                  110(a)(2)(D)(i)(I) to prohibit emissions
                                                 quantities of allowances that must be surrendered        to decide that the unit’s continued operation would     from ‘‘any source or other type of
                                                                                                                                                                  emissions activity’’ that are found to
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                                                 or the specific quantities of allowances available for   be uneconomic without installation of SCR, but the
                                                 surrender are determined. In finalizing this rule, the   establishment of technology-based emissions rates       significantly contribute to
                                                 EPA has made a number of changes to its proposed         that require such decisions is consistent with
                                                 enhancements to the trading program in response          decades of the EPA’s rulemaking and permitting          nonattainment or interfere with
                                                 to comment and in part to ensure no impact on            actions requiring source-specific pollution controls.   maintenance of the NAAQS in
                                                 system reliability. Nonetheless, with these changes,     Further, the backstop rate in this program is           downwind states. This language is not
                                                 the EPA has determined that the enhanced trading         implemented through an enhanced allowance-
                                                 program can be implemented without impacting             surrender ratio, thus preserving some degree of
                                                                                                                                                                  limited only to power plant emissions,
                                                 grid reliability. See section VI.B.1.d of this           flexibility through the emissions-trading program as    nor is it limited only to ‘‘major’’ sources
                                                 document.                                                the mechanism of compliance.                            or ‘‘stationary’’ sources. Thus, as a legal


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                                                 matter, the emissions control                           substantial reductions from power                      noncompliance with the statute.’’ Id.
                                                 requirements for certain large ‘‘non-                   plants. See id. at 48249 (the EPA’s                    Rather, the Agency would need to ‘‘meet
                                                 EGU’’ industrial sources in this action                 ‘‘preliminary assessment in the rule                   the ‘heavy burden to demonstrate the
                                                 are grounded in unambiguous statutory                   proposal suggested that there likely                   existence of an impossibility.’ ’’ Id.
                                                 authority, in particular the statute’s use              would be very large emissions                          (quoting Sierra Club v. EPA, 719 F.2d
                                                 of the broad term ‘‘any source.’’                       reductions available from EGUs before                  436, 462 (D.C. Cir. 1983)).
                                                 Whereas the Act elsewhere includes                      costs reach the point for which non-                      Following the remand of the CSAPR
                                                 definitions of ‘‘major stationary source,’’             EGU sources have available reductions                  Update in Wisconsin, in the Revised
                                                 ‘‘small source,’’ and ‘‘stationary source,’’            . . . . EPA revisited these non-EGU                    CSAPR Update, the EPA conducted an
                                                 see, e.g., CAA section 302(j), (x), and (z),            reduction cost levels in this final                    analysis of non-EGUs to ensure it had
                                                 no such qualifying terms are used with                  rulemaking and verified that there are                 implemented a complete remedy to
                                                 respect to the term ‘‘any source’’ at CAA               little or no reductions available from                 eliminate significant contribution for
                                                 section 110(a)(2)(D)(i). Rather, the scope              non-EGUs at costs lower than the                       the covered states for the 2008 ozone
                                                 of authority in this provision expands to               thresholds that EPA has chosen                         NAAQS. While acknowledging
                                                 encompass ‘‘other type of emissions                     . . . .’’). The EPA noted in CSAPR that                uncertainty in the datasets for non-
                                                 activity’’ in addition to ‘‘any source.’’               states retained the authority to regulate              EGUs, the EPA concluded: ‘‘[U]sing the
                                                 The EPA has previously included non-                    non-EGUs as a method of addressing                     best information currently available to
                                                 EGU industrial sources in findings                      their good neighbor obligations. Id. at                the Agency, . . . the EPA is concluding
                                                 quantifying states’ obligations under the               48320. The EPA also noted in CSAPR                     that there are relatively fewer emissions
                                                 good neighbor provision, in the 1998                    that ‘‘potentially substantial’’ non-EGU               reductions available at a cost threshold
                                                 NOX SIP Call, see 63 FR 57365.92 See                    emissions reductions could be available                comparable to the cost threshold
                                                 also Michigan v. EPA, 213 F.3d 663,                     in future rulemakings applying a higher                selected for EGUs. In the EPA’s
                                                 690–93 (upholding the inclusion of                      cost threshold. See id. at 48256.                      reasoned judgment, the Agency
                                                 certain non-EGU boilers in the NOX SIP                      Similarly, in the CSAPR Update,                    concludes such reductions are estimated
                                                 Call). The EPA’s determinations in prior                which addressed good neighbor                          to have a much smaller effect on any
                                                 transport rules not to regulate sources                 obligations for the 2008 ozone NAAQS,                  downwind receptor in the year by
                                                 beyond the power sector were grounded                   the EPA found that regulation of non-                  which the EPA finds such controls
                                                 in considerations not related to the                    EGUs was not warranted as the analysis                 could be installed.’’ 86 FR 23059.
                                                 Agency’s statutory authority. For                       required could delay the expeditious                   Therefore, the EPA determined control
                                                 example, in the original CSAPR                          implementation of power plant                          of non-EGU emissions was not required
                                                 rulemaking, the EPA determined that                     reductions. The EPA found that the                     to eliminate significant contribution for
                                                 the analytical effort needed to regulate                availability and cost-effectiveness of                 the 2008 ozone NAAQS.
                                                 non-EGU industrial sources would                        non-EGU reductions was uncertain and                      The circumstances that led the EPA to
                                                 substantially delay the implementation                  further analysis could delay                           defer or decline regulation of non-EGU
                                                 of emissions reductions from the power                  implementation of the EGU strategy                     sources in CSAPR, the CSAPR Update,
                                                 sector. See, e.g., 76 FR 48247–48                       beyond 2017. The EPA acknowledged                      and the Revised CSAPR Update, are not
                                                 (‘‘[D]eveloping the additional                          that it was not promulgating a complete                present here, and the EPA’s
                                                 information needed to consider NOX                      remedy for good neighbor obligations                   determination in this action that
                                                 emissions from non-EGU source                           for the 2008 ozone NAAQS and                           prohibiting certain emissions from
                                                 categories to fully quantify upwind state               indicated its intention to further review              certain non-EGU sources is necessary to
                                                 responsibility with respect to the 1997                 emissions-reduction opportunities from                 eliminate significant contribution for
                                                 ozone NAAQS would substantially                         non-EGU and EGU sources. 81 FR                         the 2015 ozone NAAQS is a logical
                                                 delay promulgation of the Transport                     74521–22.                                              extension of the analyses and evolution
                                                 Rule. . . . [W]e do not believe that                        In Wisconsin, the court held that the              of regulatory policy development
                                                 effort should delay the emissions                       EPA’s deferral of a complete good                      spanning its prior good neighbor rules,
                                                 reductions and large health benefits this               neighbor remedy by 2017, on the basis,                 now applied to implement this more
                                                                                                         among other things, of uncertainty                     protective NAAQS. As the EPA
                                                 final rule will deliver[.]’’). The EPA
                                                                                                         regarding non-EGU emissions                            explained at proposal, unlike in CSAPR
                                                 acknowledged that by not addressing
                                                                                                         reductions and the need for further                    and the Revised CSAPR Update, in this
                                                 non-EGUs, it may not have promulgated
                                                                                                         regulatory analysis, was unlawful. 938                 action the EPA finds that available
                                                 a complete remedy to good neighbor
                                                                                                         F.3d at 318–19. The court noted that                   reductions and cost-levels for the non-
                                                 obligations in CSAPR, id. at 48248.
                                                                                                         ‘‘ ‘the statutes and common sense                      EGU stringency are commensurate with
                                                 Nonetheless, the EPA went on to
                                                                                                         demand regulatory action to prevent                    the control strategy for EGUs. Following
                                                 explain that there were limited
                                                                                                         harm, even if the regulator is less than               consideration of comments and after
                                                 emissions reductions available from
                                                                                                         certain.’ ’’ Id. at 319 (quoting Ethyl Corp.           some adjustments in the non-EGU
                                                 non-EGUs at the cost thresholds the
                                                                                                         v. EPA, 541 F.2d 1, 24–25 (D.C. Cir.                   analysis and control strategy, in this
                                                 EPA determined would deliver
                                                                                                         1976)), and that agencies can only avoid               final rule, the EPA continues to find this
                                                   92 Specifically, in the NO SIP Call, the EPA set
                                                                                                         meeting their statutory obligations                    to be the case. See sections V.C and V.D
                                                                               X
                                                 statewide budgets while states could determine          where ‘‘scientific uncertainty is so                   of this document.
                                                 which sectors to regulate. The EPA recommended          profound that it precludes EPA from                       In particular, the EPA continues to
                                                 that states regulate certain types of non-EGUs and      making a reasoned judgment.’’ Id.                      find that cost-effective emissions
                                                 quantified the statewide budgets based in part on                                                              reductions are available for non-EGUs at
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                                                                                                         (citing Massachusetts v. EPA, 549 U.S.
                                                 the emissions reductions from those types of non-
                                                 EGUs. In the parallel rule that followed under the
                                                                                                         497, 534 (2007)). Further, the court                   a representative cost-threshold that is
                                                 EPA’s CAA section 126(b) authority to directly          rejected the EPA’s argument that it                    lower than the cost-threshold the EPA is
                                                 regulate emissions to eliminate significant             would have delayed its rulemaking if                   applying for EGUs. See section V.C. of
                                                 contribution, we promulgated an emissions trading       the EPA needed to complete a non-EGU                   this document. These emissions control
                                                 program that would have included these same types
                                                 of non-EGUs. Before this rule was implemented, all
                                                                                                         analysis in a timely manner, holding                   strategies are generally comparable to
                                                 states adopted equivalent state trading programs        that ‘‘administrative infeasibility’’ is not           the emissions reduction requirements
                                                 using the NOX SIP Call model rule.                      sufficient to ‘‘justify . . .                          that similar sources in downwind states


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                                                 are already required to meet. See section               section 111(b) and (d) to regulate both                and confirm here in our final rule that
                                                 V.B.2 of this document. The EPA finds                   new and existing sources of ozone                      the methodology used in the screening
                                                 that the implementation of these                        season NOX, which is premised on the                   assessment comported with the factors
                                                 emissions control strategies at non-                    incorrect notion that the EPA’s action                 that we consider at Step 3. Further, the
                                                 EGUs, in conjunction with the strategies                here is an attempt to regulate entire                  EPA’s 4-step interstate transport
                                                 for EGU, will make a cost-effective and                 source categories nationwide, rather                   framework, including the Step 3
                                                 meaningful improvement in air quality                   than to eliminate significant                          analysis and an overcontrol assessment,
                                                 through reducing ozone levels at the                    contribution pursuant to CAA section                   ensure that the emissions reductions
                                                 identified downwind receptors, and,                     110(a)(2)(D)(i)(I). This action applies                achieved at each source covered by this
                                                 therefore, the EPA has determined that                  only to the extent a state is ‘‘linked’’ to            rule are in fact justified as part of an
                                                 these strategies will eliminate the                     downwind receptors, and therefore this                 overall, complete remedy to eliminate
                                                 amount of upwind emissions needed to                    action only regulates covered non-EGU                  significant contribution for the covered
                                                 address significant contribution under                  industrial sources in 20 states. Further,              states for the 2015 ozone NAAQS. The
                                                 the good neighbor provision. The EPA’s                  this comment ignores that the regulation               EPA has decided to finalize emissions
                                                 action here is focused on the most                      of criteria pollutant emissions from                   limitations for all of the non-EGU
                                                 impactful industries and emissions                      existing sources under CAA section                     industries, with some modifications
                                                 units as determined by our evaluation of                111(d) is limited by the criteria                      from proposal reflecting public input, as
                                                 the power sector and the non-EGU                        pollutant exclusion in CAA section                     discussed in section VI.C of this
                                                 screening assessment prepared for the                   111(d)(1)(A)(i).                                       document. The Agency’s authority to
                                                 proposal; indeed, of the 41 industries, as                The EPA agrees with the commenters                   establish unit- and/or source-specific
                                                 identified by North American Industry                   who assert that the EPA’s authority to                 emissions limitations in exercising our
                                                 Classification System codes, we                         regulate non-EGUs under the good                       FIP authority is further discussed in
                                                 analyzed, only nine industries met the                  neighbor provision is well-grounded in                 section III.B.1 of this document.
                                                 criteria for further evaluation of                      administrative precedent and case law.
                                                                                                                                                                   Comment: Commenters raise
                                                 significant contribution. See section                   Our previous discussion briefly recites
                                                                                                                                                                additional issues with the overall
                                                 V.B.2 of this document. Further, the                    several of the most salient aspects of
                                                                                                                                                                approach of the rule at Step 3 to address
                                                 EPA finds that these strategies do not                  that history. We also agree that the
                                                                                                                                                                significant contribution through our
                                                 result in ‘‘overcontrol.’’ See section                  statutory language is not limited only to
                                                                                                                                                                evaluation of EGU and non-EGU
                                                 V.D.4 of this document. As such, the                    those sources that emit above 100 tons
                                                                                                         per year. The EPA’s Step 3 and Step 4                  strategies through parallel but separate
                                                 EPA maintains that its final                                                                                   analyses. They stated that the EPA
                                                 determinations regarding non-EGUs and                   analyses in this regard, which establish
                                                                                                         certain thresholds based on historical                 failed to establish that the identified
                                                 its inclusion of non-EGU emissions                                                                             non-EGU emissions reductions are
                                                 sources within this final rule are                      actual emissions, potential to emit and/
                                                                                                         or metrics for unit design capacity,                   needed to eliminate significant
                                                 statutorily authorized and lawful.93                                                                           contribution. Commenters stated that
                                                    The EPA disagrees that it should defer               reflect a reasoned judgment by the
                                                                                                         Agency regarding which emissions can                   the identified non-EGU emissions
                                                 regulation of industrial sources to the                                                                        reductions are not impactful of air
                                                 NSPS program under CAA section                          be cost-effectively eliminated to address
                                                                                                         significant contribution, under the facts              quality at receptors or that they are
                                                 111(b). CAA section 111(b) does not                                                                            much less cost-effective than the EGU
                                                 expressly provide for the elimination of                and circumstances of this action. That
                                                                                                         these thresholds are designed to exclude               emissions reductions. Commenters
                                                 ‘‘significant contribution’’ as is required                                                                    stated that the EPA grouped all non-
                                                 under CAA section 110(a)(2)(D)(i)(I). In                certain smaller or lower-emitting units
                                                                                                         does not reflect a determination that the              EGU emissions reductions together in
                                                 particular, commenter’s statement that                                                                         making a cost-effectiveness
                                                 NSPS rulemakings under section 111(b)                   EPA lacks legal authority to regulate
                                                                                                         such sources under different facts and                 determination that is only an average
                                                 will appropriately address the emissions                                                                       and ignores significant variation in costs
                                                 that we find must be eliminated in this                 circumstances.
                                                                                                           The EPA identified two industry tiers                associated with controls on different
                                                 action is not correct. Standards under                                                                         types of non-EGU emissions units. They
                                                 section 111(b) apply only to new and                    of potential non-EGU emissions
                                                                                                         reductions in its non-EGU screening                    also stated the EPA did not assess
                                                 modified sources, not existing sources.                                                                        multiple control technologies in the way
                                                                                                         assessment at proposal, based on
                                                 This action, however, finds that                                                                               that it did for EGUs, and they argued
                                                                                                         screening metrics intended to capture
                                                 reductions in ongoing emissions from                                                                           there is great variation in the profile of
                                                                                                         different kinds of impacts that non-EGU
                                                 existing sources are needed to eliminate                                                                       non-EGU industries and emissions unit
                                                                                                         sources may have on identified
                                                 significant contribution. An NSPS                                                                              types in the different upwind states or
                                                                                                         receptors. The EPA agrees that it is only
                                                 standard for new and modified sources                                                                          that individual emissions units do not
                                                                                                         authorized to prohibit emissions under
                                                 would not address such emissions from                                                                          contribute to an out-of-state air quality
                                                                                                         the good neighbor provision that
                                                 existing sources. To the extent that                                                                           problem at all. Commenters argued that
                                                                                                         significantly contribute to
                                                 covered sources in this action also may                                                                        certain non-EGU controls were not
                                                                                                         nonattainment or interfere with
                                                 be covered by an older NSPS, these                      maintenance in downwind states, and                    feasible, or that the EPA had applied a
                                                 sources nonetheless continue to have                    we determined that these industries did                different standard for ‘‘feasibility’’ for
                                                 emissions that the EPA finds                            so. The EPA sought comment on                          non-EGUs than it did for EGUs.
                                                 significantly contribute and can be                     whether additional non-EGU industries                  Commenters stated that the EPA should
                                                 eliminated through further emissions                                                                           have provided a mass-based trading
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                                                                                                         significantly contributed to
                                                 control as determined in this action. We                nonattainment or interfered with                       option for non-EGUs just as it had for
                                                 further disagree with commenter’s                       maintenance in downwind states. The                    EGUs. By contrast, other commenters
                                                 separate suggestion that the EPA use                    EPA did not receive comments                           supported the regulation of non-EGUs in
                                                    93 Certain changes in the emissions control
                                                                                                         identifying other industrial stationary                this action as necessary to ensure a
                                                 strategies for non-EGUs reflecting comments and
                                                                                                         sources that are more impactful that                   complete remedy to good neighbor
                                                 updated information are explained in section VI.C       should be regulated instead of those the               obligations, since the statute is not
                                                 of this document.                                       EPA identified. We believed at proposal                limited to regulating power plants.


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                                                 Some commenters further stated that                     The Court in that case rejected that the               value for any particular control
                                                 EGUs should not face any further                        EPA must define significant                            stringency, but this in itself does not
                                                 emissions reduction obligation because                  contribution by reference to a specific                upset the EPA’s ability to render an
                                                 all cost-effective controls have already                quantum of reductions that each state                  overall policy judgment based on the
                                                 been identified through prior transport                 must achieve that is proportional to its               Step 3 factors as to a set of emissions
                                                 rules, and that any further regulation of               impact at a downwind receptor. The                     control strategies that together eliminate
                                                 EGUs would only lead to the retirement                  Court agreed with the EPA’s concerns as                significant contribution. See 86 FR
                                                 of coal plants, which they believe is the               to why that approach would be                          23054, 23073 (responding to similar
                                                 EPA’s true objective. Finally, some                     problematically complicated or even                    comments on the Revised CSAPR
                                                 commenters argued that the EPA had                      impossible to apply in light of the                    Update).
                                                 not ensured that it only regulated up to                complex set of linkages among states for                  We note that the EPA has made a
                                                 the minimum needed for downwind                         a regional pollutant like ozone. See 572               number of adjustments to the non-EGU
                                                 areas to come into attainment.                          U.S. at 515–17. The Court found that the               emissions limits identified at Step 4 to
                                                    Response: Issues related to the                      use of uniform cost thresholds to                      accommodate legitimate concerns
                                                 specific technical bases for the Agency’s               allocate responsibility for good neighbor              regarding the ability of certain non-EGU
                                                 determinations of what emissions                        obligations to be efficient and equitable,             facilities to meet the emissions control
                                                 constitute ‘‘significant contribution’’ at              in that it requires those sources that                 requirements that the EPA had
                                                 Step 3 of the 4-step framework are                      have done less to reduce their emissions               proposed. The Agency’s determinations
                                                 addressed in section V of this                          to come up to a minimum level of                       regarding feasibility and installation
                                                 document. Here, we evaluate                             performance to what other sources are                  timing for pollution controls are
                                                 commenters’ more general assertions                     already achieving. Id. at 519. The EPA’s               comparable and not inconsistent
                                                 that this action addresses non-EGU or                   analysis in this action in section V of                between EGUs and non-EGUs. The EPA
                                                 EGU emissions in an inconsistent way.                   this document establishes that this                    is not establishing a trading program for
                                                 First, the EPA agrees with commenters                   continues to be an appropriate means of                non-EGUs because the Agency does not
                                                 that the task of evaluating significant                 delivering meaningful air quality                      have adequate baseline emissions data
                                                 contribution from the non-EGU                           improvement to downwind receptors,                     and information on monitoring
                                                 industries is complex compared to                       taking into consideration the                          currently at many of these emissions
                                                 EGUs in light of the much greater                       complexities of interstate pollution                   units to develop emissions budgets that
                                                 diversity in industries and emissions                   transport.                                             could reliably implement the Step 3
                                                 unit types. This, however, is not a valid                                                                      determinations made in this action.
                                                 basis to avoid emissions control                           Not every upwind state has the same
                                                                                                                                                                However, for most of the non-EGU
                                                 requirements on such sources if needed                  mix of non-EGU industries and
                                                                                                                                                                industries,94 the EPA is not mandating
                                                 to eliminate significant contribution. In               emissions unit types, and it is also the
                                                                                                                                                                a specific control technology and is
                                                 this respect, the EPA’s analysis in this                case that the costs for installation of the
                                                                                                                                                                instead establishing numeric emissions
                                                 final rule is that the 4-step framework,                selected level of control technology will
                                                                                                                                                                limits that are uniform across the region
                                                 as upheld by the Supreme Court in EME                   vary from facility to facility based on
                                                                                                                                                                and that allow sources to choose how to
                                                 Homer City, can be adequately applied                   site-specific considerations. This is also
                                                                                                                                                                comply. The EPA’s analysis, including
                                                 even to this more complex set of sources                true for the set of EGU sources regulated
                                                                                                                                                                review of RACT determinations, consent
                                                 in a way that parallels the analysis                    here and in previous CSAPR
                                                                                                                                                                decrees, and permitting actions, shows
                                                 previously conducted only for EGUs.                     rulemakings. These real-world
                                                                                                                                                                that these emissions limits and control
                                                 This analysis relies on evaluation of                   complexities do not obviate the broader
                                                                                                                                                                requirements are achievable by existing
                                                 uniform levels of control stringency                    policy and technical judgements that
                                                                                                                                                                units in the non-EGU industries covered
                                                 across all upwind states to find a level                the EPA makes at Step 3 regarding what
                                                                                                                                                                by this final rule. This rule will
                                                 of emissions control that is cost-                      level of emissions control performance
                                                                                                                                                                therefore bring all of these impactful
                                                 effective and collectively delivers                     can be achieved on a region-wide basis
                                                                                                                                                                industries and unit types across the
                                                 meaningful downwind air quality                         to resolve significant contribution for a
                                                                                                                                                                region of linked upwind states up to this
                                                 improvement. For non-EGUs, the EPA                      regional-scale pollutant like ozone. The
                                                                                                                                                                standard of performance, and thus will
                                                 identified the most impactful industries                EPA’s design of cost thresholds derives
                                                                                                                                                                result collectively in a relatively
                                                 and emissions unit types and evaluated                  from the identification of discrete types
                                                                                                                                                                substantial decrease in ozone-season
                                                 emissions control strategies for these                  of NOX emissions control strategies. The
                                                                                                                                                                NOX emissions, with associated
                                                 units that have been demonstrated or                    EPA then identifies a representative
                                                                                                                                                                reductions in ozone levels projected to
                                                 applied across many similar facilities                  cost-effectiveness on a per ton basis for
                                                                                                                                                                result at the downwind receptors. This
                                                 and emissions units. The EPA has                        that technology. In the Step 3 analysis,
                                                                                                                                                                is further discussed in section V.D.
                                                 evaluated whether these strategies are                  it is not the cost per ton value itself that              Some commenters alleged that the
                                                 cost-effective on a cost-per-ton basis,                 is inherently meaningful, but rather how               EPA’s EGU control strategy goes beyond
                                                 and in particular has compared these                    that cost-effectiveness value relates to               the cost-effectiveness determinations of
                                                 strategies to those selected for EGUs.                  other control stringencies, how many                   prior transport rules, and they believe
                                                 This analysis is set forth in sections V                emissions reductions may be obtained,                  that the EPA’s true objective is to force
                                                 and VI of this document and associated                  and how air quality is ultimately                      the retirement of coal plants. First, we
                                                 technical support documents.                            impacted. The selected level of control                note that the EGU emissions control
                                                    Commenter’s statement that the                       stringency reflects a point at which                   strategy is premised entirely on at-the-
                                                                                                         further emissions mitigation strategies
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                                                 establishment of a uniform level of
                                                 control for each group of industrial                    become excessively costly on a per-ton                   94 For reheat furnaces in the Iron and Steel Mills
                                                 units across the linked upwind states                   basis while also delivering far fewer                  and Ferroalloy Manufacturing industry, the EPA is
                                                 fails to assess with greater precision or               additional emissions reductions and air                establishing requirements to operate low-NOX
                                                 define a state-specific proportion of                   quality benefits. This is often referred to            burners achieving a specified level of emissions
                                                                                                                                                                reduction; this approach is needed to allow for unit-
                                                 emissions reduction that is needed for                  as a ‘‘knee in the curve’’ analysis. There             specific testing before an appropriate emissions
                                                 each downwind receptor is effectively                   are always inherent uncertainties in                   limitation can be set. See section VI.C.3 of this
                                                 an attempt to relitigate EME Homer City.                identifying a representative cost per ton              document.



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                                                 source emissions control technologies                   must have some leeway in fulfilling the                contribution in Step 3 and may not
                                                 that are widely available and in use                    good neighbor mandate of the Act given                 adequately ensure the control of
                                                 across the EGU fleet. It is not the EPA’s               uncertainty in making forward                          emissions throughout all days of the
                                                 intention in this rule to force the                     projections of air quality and the                     ozone season. At the same time, the EPA
                                                 retirement of any EGU or non-EGU                        efficacy or impact of emissions control                continues to find that an interstate-
                                                 facilities or emissions units but to                    determinations. See EME Homer City,                    trading program approach delivers
                                                 identify and eliminate significant                      572 U.S. at 523. This is further                       substantial benefits at Step 4 in terms of
                                                 contribution under CAA section                          addressed in section V.D.4 of this                     affording an appropriate degree of
                                                 110(a)(2)(D)(i)(I) based on cost-effective              document.                                              compliance flexibility, certainty in
                                                 and proven control technologies that are                                                                       emissions outcomes, data and
                                                                                                         d. Step 4 Approach
                                                 appropriate in relation to address the                                                                         performance transparency, and cost-
                                                 problem of interstate transport for the                    The EPA is finalizing an approach                   effective achievement of a high degree
                                                 2015 ozone NAAQS. Further,                              similar to its prior transport                         of aggregate emissions reductions. As
                                                 determinations of cost-effectiveness                    rulemakings to implement the necessary                 such, the EPA is retaining an interstate
                                                 must be made in relation to the                         emissions reductions through                           trading program approach while making
                                                 particular statutory provision and its                  permanent and enforceable measures.                    several enhancements to that approach.
                                                 purpose. The EPA recognized in                          The EPA is requiring EGU sources to                       Thus, in this rulemaking, the EPA is
                                                 CSAPR, for example, that additional                     participate in an emissions trading                    including dynamic budget-setting
                                                 emissions reductions beyond what were                   program and is making additional                       procedures in the regulations that will
                                                 determined to be cost-effective in that                 enhancements to the trading regime to                  allow state emissions budgets for
                                                 action could be required to implement                   maintain the selected control stringency               control periods in 2026 and later years
                                                 good neighbor obligations if a NAAQS                    over time and improve emissions                        to reflect more current data on the
                                                 were revised to a more protective level.                performance at individual units,                       composition and utilization of the EGU
                                                 See 76 FR 48210. Here it is not                         offering a necessary measure of                        fleet (e.g., the 2026 budgets will reflect
                                                 surprising that a more stringent level of               assurance that emissions controls will                 recent data through 2024 data, the 2027
                                                 control could be found justified in                     be operated throughout the ozone                       budgets will reflect data through 2025,
                                                 implementing transport obligations for                  season. For non-EGUs, the EPA is                       etc.). These enhancements will enable
                                                 the more protective 2015 ozone                          finalizing permanent and enforceable                   the trading program to better maintain
                                                                                                         emissions rate limits and work practice                over time the selected control stringency
                                                 NAAQS. Those reductions are projected
                                                                                                         standards, and associated compliance                   that was determined to be necessary to
                                                 to deliver meaningful air quality
                                                                                                         requirements, for several types of NOX-                address states’ good neighbor
                                                 improvement to downwind receptors, as
                                                                                                         emitting combustion units across                       obligations with respect to the 2015
                                                 discussed in section V.D of this
                                                                                                         several industrial sectors. The measures               ozone NAAQS. In prior programs,
                                                 document. Those air quality benefits
                                                                                                         for both EGUs and non-EGUs are                         where state emissions budgets were
                                                 continue to compare favorably to the air
                                                                                                         required throughout the May 1-                         static across years rather than calibrated
                                                 quality benefits that will be delivered
                                                                                                         September 30 ozone season of each year.                to yearly fleet changes, the EPA has
                                                 through the combined non-EGU
                                                                                                         The EGU program will begin with the                    observed instances of units idling their
                                                 emissions limits, which apply to nine
                                                                                                         2023 ozone season, and the non-EGU                     emissions controls in the latter years of
                                                 non-EGU industries (see section V.C of
                                                                                                         implementation schedule is targeted to                 the program. To provide greater
                                                 this document). We find that the                        the 2026 ozone season. Refer to section                certainty regarding the minimum
                                                 implementation of both the EGU and                      VI.A of this document for details on the               quantities of allowances that will be
                                                 non-EGU strategies identified in section                implementation schedule.                               available for compliance for the control
                                                 V of this document together represent                      Based on the EPA’s experience in                    periods in 2026 through 2029, the EPA
                                                 the appropriate level of emissions                      implementing prior transport                           is also establishing preset state
                                                 control stringency to eliminate                         rulemakings, the Agency is making                      emissions budgets for these control
                                                 significant contribution under CAA                      several enhancements to its trading-                   periods, and a dynamic state emissions
                                                 section 110(a)(2)(D)(i)(I).                             program approach for implementing                      budget determined for one of these
                                                    Finally, the EPA also analyzed for                   good neighbor requirements for EGUs.                   control periods will apply only if it is
                                                 overcontrol and does not identify any.                  In CSAPR, the CSAPR Update, and the                    higher than the state’s preset budget for
                                                 Some commenters misstate the purpose                    Revised CSAPR Update, the EPA                          the control period.
                                                 of this rule as bringing downwind                       established interstate trading programs                   In the trading programs established
                                                 receptors into attainment. In line with                 for EGUs to implement the necessary                    for ozone season NOX emissions under
                                                 the statutory directive in CAA section                  emissions reductions. In each of these                 CSAPR, the CSAPR Update, and the
                                                 110(a)(2)(D)(i)(I), this rule eliminates                rules, EGUs in each covered state are                  Revised CSAPR Update, the EPA
                                                 ‘‘significant contribution’’ from upwind                assigned an emissions budget in each                   included assurance provisions to limit
                                                 states; while the rule has substantial air              control period for their collective                    state emissions to levels below 121
                                                 quality benefits for downwind                           emissions. Emissions allowances are                    percent of the state’s budget by
                                                 receptors, in many cases we project that                allocated to units covered by the trading              requiring additional allowance
                                                 a nonattainment or maintenance                          program, and the covered units then                    surrenders in the instance that
                                                 problem will continue to persist through                surrender allowances after the close of                emissions in the state exceed this level.
                                                 2023 and 2026 despite the emissions                     the control period, usually in an amount               This limit on the degree to which a
                                                 reductions achieved by this rule.                       equal to their ozone season EGU NOX
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                                                                                                                                                                state’s emissions can exceed its budget
                                                 Commenters alleging overcontrol have                    emissions. While these programs have                   is designed to allow for a certain level
                                                 not met the requirement that                            been effective in achieving overall                    of year-to-year variability in power
                                                 overcontrol be established by                           reductions in emissions, experience has                sector emissions to account for
                                                 particularized evidence through as-                     shown that these programs may not                      fluctuations in demand and EGU
                                                 applied challenges. The Supreme Court                   fully reflect in perpetuity the degree of              operations and is responsive to previous
                                                 has recognized that the EPA also has an                 emissions stringency determined                        court decisions (see discussion in
                                                 obligation to avoid under-control and                   necessary to eliminate significant                     section VI.B.5 of this document). In this


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                                                 action, the EPA is maintaining the                      consistent with the EPA’s transport                    not be supported on the basis of
                                                 existing assurance provisions that limit                actions dating back to the NOX SIP Call                environmental justice benefits, or were
                                                 state emissions to levels below a                       and the NOX Budget Trading Program.                    otherwise unlawful for other reasons.
                                                 percentage of the state’s budget by                     In all CSAPR EGU trading programs, for                 These commenters argue that the EPA’s
                                                 requiring additional allowance                          instance, new EGUs are subject to the                  Step 4 dynamic budget approach for
                                                 surrenders in any instance where                        program, and the EPA has established                   EGU regulation purportedly re-defines
                                                 emissions in the state exceed the                       provisions for the allocation of                       each state’s ‘‘significant contribution’’
                                                 specified level, but with adjustments                   allowances to such units through ‘‘new                 annually and independent of any
                                                 that allow the level to exceed 121                      unit set asides.’’ See, e.g., 86 FR 23126.             impact (or lack thereof) on air quality.
                                                 percent of a state’s budget in a given                  In the NOX SIP Call, the EPA required                  They further argue that under this
                                                 control period if necessary to account                  that states cover new and existing units               dynamic budgeting approach, even if a
                                                 for actual operational conditions in that               in the relevant source sectors through an              state eliminates the ‘‘amount’’ the EPA
                                                 control period. In addition, the EPA is                 enforceable cap or other emissions                     has identified as the state’s significant
                                                 also making several additional                          limitation. See 40 CFR 51.121(f). The                  contribution by respecting a given
                                                 enhancements to the EGU trading                         EPA’s approach of including new units                  control period’s emissions budget,
                                                 program in this action, including                       in the NOX Budget Trading Program                      sources within that state are expected to
                                                 routine recalibrations of the total                     promulgated under the EPA’s CAA                        continue to make further reductions by
                                                 amount of banked allowances, unit-                      section 126 authority was upheld by the                operating their controls in a particular
                                                 specific backstop daily emissions rates                 D.C. Circuit in Appalachian Power v.                   manner in subsequent control periods
                                                 for certain units, and unit-specific                    EPA, 249 F.3d 1032 (2001). As the court                under potentially lower emissions
                                                 secondary emissions limitations for                     noted, the EPA explained in its action:                budgets, which these commenters argue
                                                 certain units that contribute to                           Once EPA has determined that the                    is inconsistent with case law on prior
                                                 exceedances of the assurance levels, to                 emissions from the existing sources in an              CSAPR rules.
                                                 ensure EGU emissions control operation                  upwind State already make a significant                   Response: Many of these comments
                                                 and associated air quality                              contribution to one or more petitioning                regarding Step 4 issues are addressed
                                                 improvements. Implementation of the                     downwind States, any additional emissions              elsewhere in this document or in the
                                                 EGU emissions reductions using a                        from a new source in that upwind State                 RTC document. The EPA’s authority to
                                                                                                         would also constitute a portion of that                establish unit- or source-specific
                                                 CSAPR NOX trading program is further                    significant contribution, unless the emissions
                                                 described in section VI.B of this                                                                              emissions rates is addressed in section
                                                                                                         from that new source are limited to the level
                                                 document.                                               of highly effective controls.                          IV.B.1 of this document. Responses to
                                                    In this rule, the EPA is also                                                                               comments and adjustments in the
                                                 establishing emissions limitations for                  Id. at 1058 (quoting EPA 1999 RTC at                   timing requirements of the final rule
                                                 the non-EGU industry sources listed in                  39). The court affirmed this approach:                 compared to proposal are discussed in
                                                 Table II.A–1. The EPA has the authority                 ‘‘Indeed, it would be irrational to enable             VI.A. Responses to comments and
                                                 to require emissions limitations from                   the EPA to make findings that a group                  adjustments in emissions control
                                                 stationary sources, as well as from other               of sources in an upwind state contribute               requirements for non-EGUs in the final
                                                 sources and emissions activities, under                 to downwind nonattainment, but then                    rule compared to proposal are in section
                                                 CAA section 110(a)(2)(D)(i)(I). The EPA                 preclude the EPA from regulating new                   VI.C of this document.
                                                 finds that requiring NOX emissions                      sources that contribute to that same                      Responses to comments on the EGU
                                                                                                         pollution.’’ Id. at 1057–58. The EPA is                trading program enhancements and
                                                 reductions through emissions rate limits
                                                                                                         implementing the same court-affirmed                   adjustments in the final rule are
                                                 and control technology requirements for
                                                                                                         approach in this action because this                   contained in section VI.B of this
                                                 certain non-EGU industrial sources that
                                                                                                         reasoning is equally applicable to                     document. However, here, in light of the
                                                 the EPA found at Step 3 to be relatively
                                                                                                         addressing interstate transport                        changes in the emissions trading
                                                 impactful 95 on downwind air quality is
                                                                                                         obligations under CAA section                          program for EGUs that we are finalizing
                                                 an effective strategy for reducing
                                                                                                         110(a)(2)(D)(i)(I) for the 2015 ozone                  in this action as compared to prior EGU
                                                 regional ozone transport. Therefore, the
                                                                                                         NAAQS.                                                 emissions trading programs
                                                 EPA is establishing NOX emissions
                                                                                                            Comment: Commenters took issue                      promulgated to address good neighbor
                                                 limitations and associated compliance
                                                                                                         with aspects of the EPA’s proposed Step                obligations under other NAAQS, we set
                                                 requirements for non-EGU sources to
                                                                                                         4 approach. Commenters argued the                      forth responses to comments specific to
                                                 ensure the elimination of significant
                                                                                                         EPA could not set unit- or source-                     this topic.
                                                 contribution of ozone precursor
                                                                                                         specific emissions limits or other                        The EPA finds that these comments
                                                 emissions required under the interstate
                                                                                                         control requirements, for EGUs or non-                 confuse Step 3 emissions reduction
                                                 transport provision for the 2015 ozone
                                                                                                         EGUs. Commenters argued that various                   stringency determinations with Step 4
                                                 NAAQS.
                                                                                                         aspects of the non-EGU emissions                       implementation program details. In this
                                                    Finally, the EPA finds that the control
                                                                                                         control strategy would not be feasible                 rulemaking’s Step 3 analysis, the EPA is
                                                 measures determined to be required for
                                                                                                         for their facilities or were otherwise                 measuring emissions reduction
                                                 the identified EGU and non-EGU
                                                                                                         flawed. Many industrial-source and                     potential from improving effective
                                                 sources apply to both existing units and
                                                                                                         EGU commenters argued that the EPA                     emissions rates across groups of EGUs
                                                 any new, modified, or reconstructed
                                                                                                         had not provided sufficient time for                   adopting applicable pollution control
                                                 units meeting the applicability criteria
                                                                                                         sources to come into compliance.                       measures and selecting a uniform
                                                 established in this final rule. This is
                                                                                                         Commenters also challenged the EGU                     control level whose effective emissions
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                                                   95 Section III of the Non-EGU Screening               trading program ‘‘enhancements’’ as                    rates deliver an acceptable outcome
                                                 Assessment memorandum in the docket for this            unnecessary or beyond the EPA’s                        under the multifactor test (including a
                                                 rulemaking describes the EPA’s approach to              authority. In this regard, commenters                  finding of no overcontrol at the selected
                                                 evaluating impacts on downwind air quality,             argued that these changes deviated from                control stringency level). The
                                                 considering estimated total, maximum, and average
                                                 contributions from each industry and the total
                                                                                                         the EPA’s prior approach, were                         ‘‘amounts’’ defined as significant
                                                 number of receptors with contributions from each        unnecessary overcontrol, constituted a                 contribution to nonattainment and
                                                 industry.                                               command-and-control approach, could                    interference with maintenance are


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                                                 emissions that occur at effective                       that states and the EPA have authority                 the opportunity for administrative
                                                 emissions rates above the control                       to select in securing the emissions                    appeal should an interested party
                                                 stringency level selected at Step 3. That               reductions deemed necessary under                      identify some flaw in the EPA’s updated
                                                 is, if a state’s affected EGUs fail to                  Step 3. See CAA section 110(a)(2)(A).                  data. See 40 CFR 78.1(b)(19)(i) (2023).
                                                 reduce their effective emissions rates in               The EPA and the states routinely                       That process is coupled with the
                                                 line with the widely available and cost-                determine control stringency on an                     availability of judicial review should the
                                                 effective control measures identified,                  emissions rate basis in line with                      party remain dissatisfied with the EPA’s
                                                 they have therefore failed to eliminate                 demonstrated pollution control                         resolution of complaints. See 40 CFR
                                                 their significant contribution to                       opportunities, and both the EPA and the                78.1(a)(2) (requiring administrative
                                                 nonattainment and interference with                     states have implementation program                     adjudication as a prerequisite for
                                                 maintenance of this NAAQS.                              design discretion to determine what                    judicial review). This administrative
                                                    In this rule, the EPA is finalizing                  compliance requirements, whether                       process has worked well throughout the
                                                 several ‘‘enhancements’’ to its existing                expressed on a rate, mass,                             history of implementing good neighbor
                                                 Group 3 emissions trading program for                   concentration, or percentage basis, will               trading programs under Part 97, and no
                                                 ozone season NOX, for reasons                           assure an emissions performance that                   such disputes have necessitated judicial
                                                 explained in section VI.B.1 of this                     reflects the control stringency required.              resolution.
                                                 document. In general, these changes                     Dynamic budgets in the Step 4                             Further, because the dynamic budgets
                                                 will ensure that the emissions control                  implementation of this rule are simply                 simply implement the stringency level
                                                 program promulgated for EGUs at Step                    to ensure the trading program continues                reflective of the emissions control
                                                 4 of the EPA’s 4-step interstate transport              to incentivize the implementation of the               performance the EPA has determined at
                                                 framework is in alignment with the                      EGU control strategies we find are                     Step 3 for the covered EGUs, the EPA
                                                 emissions control stringency                            necessary to eliminate significant                     does not agree that any ‘‘potential
                                                 determinations the EPA made at Step 3.                  contribution at Step 3. The key                        variables’’ that are unforeseeable now
                                                 These enhancements reflect lessons                      distinction between dynamic budget                     could upset the basis for the formula the
                                                 learned through the EPA’s experience                    approaches and preset budget                           EPA is establishing in this action. The
                                                 with prior trading programs                             approaches is not one in stringency or                 EPA has adjusted the role of dynamic
                                                 implemented under the good neighbor                     authority, but rather in timing and data               budgeting in this final rule as compared
                                                 provision and ensure that the                           resources for determining the suitable                 to the proposal. See sections VI.B.1 and
                                                 implementation of the elimination of                    mass-based limits that are as well-                    VI.B.4 of the preamble. In particular, the
                                                 significant contribution through an                     matched as possible to expected                        EPA is applying an approach to budget
                                                 emissions trading program remains                       emissions of the affected EGUs                         setting through 2029 that will use the
                                                 durable through a period of power                       achieving the emissions rate-based                     greater of either a preset budget based
                                                 sector transition. None of commenters’                  control stringency deemed necessary                    on information known to the Agency at
                                                 arguments against the EPA’s authority to                under Step 3 to eliminate significant                  the time of this action, or the dynamic
                                                 implement these enhancements are                        contribution to nonattainment and                      budget to be calculated based upon
                                                 persuasive.                                             interference with maintenance of the                   future data yet to be reported. Thus,
                                                    First, the EPA is not mandating that                                                                        through 2029 the imposition of a
                                                                                                         NAAQS.
                                                 any EGU must install SCR technology.                                                                           dynamic budget would only increase
                                                 All but one of the enhancements to the                     The EPA does not agree that the                     rather than diminish the emissions
                                                 trading program continue to be                          administrative mechanisms by which it                  allowed for that control period
                                                 implemented through allowance-                          will implement ‘‘dynamic budgeting’’                   compared to the preset budgets
                                                 holding requirements under the mass-                    conflict with CAA section 307(d) or the                established in this action. In addition,
                                                 based emissions budget and trading                      Administrative Procedure Act. The EPA                  the EPA will determine each state’s
                                                 system, including the backstop rate.                    is promulgating a complete FIP in this                 dynamic budget based on a rolling 3-
                                                 (The secondary emissions limitation,                    action, and the codified language of that              year average of the state’s heat input,
                                                 which is not implemented through                        FIP will not need to be modified as                    thus smoothing out trends to account for
                                                 allowance-holding requirements under                    budgets are adjusted. This is because the              interannual variability in demand and
                                                 the mass-based emissions budget and                     FIP establishes the formula by which                   heat input and provide greater certainty
                                                 trading system, and which is discussed                  the budgets will be calculated each year               and predictability as the budget updates
                                                 in section VI.B.1.c.ii of this document,                (with preset budgets functioning as a                  from year to year.
                                                 merely establishes a stronger deterrent                 floor from 2026 through 2029). This is                    Moreover, the EPA does not agree that
                                                 for a type of conduct that was already                  no different than how the EPA has                      the EPA is constrained by the statute to
                                                 strongly discouraged under the pre-                     implemented other calculations such as                 only implement good neighbor
                                                 existing trading program regulations).                  updating allocations using a rolling set               obligations through fixed, unchanging,
                                                 Nonetheless, the EPA does have the                      of data in its prior CSAPR trading                     mass-based emissions budgets. See
                                                 authority to impose unit-specific                       programs. See, e.g., 87 FR 10786. We                   section III.B.1 of this document. The
                                                 emissions limits under the exercise of                  view these actions as fundamentally                    EPA finds good reason based on its
                                                 its FIP authority, and it has done so in                ministerial in nature in that no exercise              experience with trading programs using
                                                 this action for non-EGU industrial                      of Agency discretion is required. This                 fixed budgets why this approach does
                                                 sources. This authority is distinct from                process will rely on notices of                        not necessarily ensure the elimination
                                                 the EPA’s title I permitting authority as               availability of the relevant data in the               of significant contribution in perpetuity.
                                                                                                         Federal Register, coupled with an
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                                                 discussed by certain commenters, and                                                                           The EPA has already once adjusted its
                                                 the scope of that permitting authority is               opportunity for the public to correct any              historical approach to better account for
                                                 not relevant to this action.                            errors they may identify in the data                   known, upcoming changes in the EGU
                                                    The quantification of emissions                      before the EPA sets each updated                       fleet to ensure mass-based emissions
                                                 budgets in an allowance-based                           budget. See section VI.B.4 for more                    budgets adequately incentivize the
                                                 emissions trading program is one of                     detail on how the EPA intends to                       control strategy determined at Step 3.
                                                 multiple potential Step 4                               implement dynamic budgeting. As in                     This adjustment was introduced in the
                                                 implementation program design choices                   prior transport rules, this rule provides              Revised CSAPR Update. See 82 FR


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                                                 23121–22.96 The EPA now believes it is                    application of its stringency measures                sector at the time the rule is
                                                 appropriate to ensure in a more                           identified in this rule.                              promulgated, and without any
                                                 comprehensive manner, and in                                 The EPA does not agree with                        additional requirement for pollution
                                                 perpetuity, that the mass-based                           commenters who suggest that these                     controls operation, can become quickly
                                                 emissions budget incentivize continuing                   enhancements are undertaken for the                   obsolete if the composition of the group
                                                 implementation of the Step 3 control                      purpose of a non-statutory                            of affected EGUs changes notably over
                                                 strategies to ensure significant                          ‘‘environmental justice’’ objective. As               time. As some sources retire, other
                                                 contribution is eliminated in all upwind                  explained in section VI.B of this                     sources relax their operation of NOX
                                                 states and remains so. The dynamic                        document, certain enhancements to the                 controls in response to a growing
                                                 budget-setting process preserves these                    trading program ensure that each EGU is               surplus of allowances, even though the
                                                 incentives over time by calculating the                   adequately incentivized to continuously               EPA had concluded that ongoing
                                                 state emissions budgets for each future                   operate its emissions controls once                   operation of those controls is necessary
                                                 control period so as to reflect the Step                  those controls are installed. One                     to meet the statutory good neighbor
                                                 3 control stringency finalized in this                    commenter contends that the backstop                  requirements. For instance, under the
                                                 rule as applied to the most current                       emissions rate is not authorized based                CSAPR Update, in the 2018–2020
                                                 information regarding the composition                     on environmental justice                              period, the fixed budget approach
                                                 of the power sector in the control                        considerations, since it is not necessary             enabled large, frequently run units with
                                                 period. This is fully analogous in                        and is overcontrol with respect to the                existing SCR controls to not optimize
                                                 material respect to an approach to                        EPA’s statutory authority to address                  those controls even though the EPA’s
                                                 implementation at Step 4 that relies on                   good neighbor obligations. But the EPA                assessment (as reflected in the CSAPR
                                                 application of unit-specific emissions                    disagrees with the premise that these                 Update) was that the optimization of
                                                 rates that apply in perpetuity. The                       enhancements are unrelated to the                     those controls was necessary to
                                                 availability of unit-specific emissions                   statutory obligation to eliminate                     eliminate significant contribution. This
                                                 rates as a means to eliminate significant                 significant contribution. Taking                      deterioration in emission rate at SCR-
                                                 contribution is discussed in further                      measures to ensure that each upwind                   controlled coal plants was widely
                                                 detail in section III.B.1 of this                         source covered by an emissions trading                observed across the CSAPR Update
                                                 document. The EPA also explained this                     program to eliminate significant                      geography as the program advanced into
                                                 in the proposal. See 87 FR 20095–96.                      contribution is operating its installed               later years and allowance price
                                                 The EPA does not agree that either                        pollution controls on a more continuous               deteriorated. Whereas coal sources with
                                                 dynamic budgeting or the backstop rate                    and consistent basis throughout the                   SCR performed, on average, at a 0.086
                                                 results in overcontrol. See section V.D.4                 ozone season is entirely appropriate in               lb/mmBtu rate in 2017, that same set of
                                                 of this document.                                         light of the daily nature of the ozone                sources saw their environmental
                                                    The EPA is enhancing the trading                       problem, the impacts to public health                 performance worsen to a 0.099 lb/
                                                 program to help reconcile the approach                    and the environment from ozone that                   mmBtu rate in 2020. A Congressional
                                                 of using mass-based budgets to achieve                    can occur through short-term exposure                 Research Service Report on EPA prior
                                                 the elimination of significant                            (e.g., over a course of hours), the fact              CSAPR trading programs indicated low
                                                 contribution with the Wisconsin                           that the 2015 ozone NAAQS is                          prices observed in later years ‘‘could
                                                 directive to provide a complete remedy                    expressed as an 8-hour average, and that              lead to some decisions not to run some
                                                                                                           only a small number of days in excess
                                                 under the good neighbor provision. This                                                                         pollution controls at maximum output.
                                                                                                           of the ozone NAAQS are necessary to
                                                 approach also better accords with                                                                               This would, in turn, lead to higher
                                                                                                           place a downwind area in
                                                 ensuring measures to attain and                                                                                 emissions’’.97
                                                                                                           nonattainment, resulting in continuing
                                                 maintain the NAAQS are permanent                                                                                   In the case of individual units, this
                                                                                                           and/or increased regulatory burden on
                                                 and enforceable. The dynamic budget                                                                             deterioration in performance can be
                                                                                                           the downwind jurisdiction. See section
                                                 approach recognizes that the                                                                                    quite pronounced and can occur as
                                                                                                           III.A of this document.
                                                 uncertainty around future fleet                              Further, the D.C. Circuit has held that            quickly as the second or third control
                                                 conditions increases the further into the                 the EPA must ensure that its good                     period, as in the case of Miami Fort Unit
                                                 future one looks (and the EPA must look                   neighbor program has eliminated each                  7 in Ohio in 2019, discussed in section
                                                 further under the ‘‘full remedy’’                         state’s sources from continuing to                    V.B of this document. The absence of a
                                                 directive). To preserve its ability to                    significantly contribute to                           sufficient incentive under the trading
                                                 successfully implement its identified                     nonattainment or interfere with                       program to implement the identified
                                                 Step 3 stringency, the EPA is designing                   maintenance in downwind states. See                   control strategy at Step 3 can even result
                                                 the implementation of this rule’s                         North Carolina, 531 F.3d at 921. The                  in collective emissions that exceed
                                                 emissions control program to benefit                      commenters neglect to acknowledge the                 state-wide assurance levels. The EPA
                                                 from the future availability of better data               scenario that has frequently borne out in             established these levels beginning with
                                                 from the regulated sources to inform its                  prior programs, in which future fleet                 CSAPR, above which enhanced
                                                                                                           changes that were not known at the time               allowance-surrender requirements are
                                                   96 Further, in the Revised CSAPR Update, the
                                                                                                           of initial setting of state emissions                 triggered, in an effort to ensure sources
                                                 EPA acknowledged that a mechanism like dynamic                                                                  in each state are held to eliminate their
                                                 budgeting could be appropriate for a transport rule       budgets produce unexpected ‘‘hot air’’
                                                 with longer time horizons. We stated in response          in the budget that, if unaccounted for,               own significant contribution, which the
                                                 to comments that we were not ‘‘in this action,            other units can exploit to forgo                      D.C. Circuit has held is legally required,
                                                 including an adjustment mechanism to further                                                                    see North Carolina, 531 F.3d 896, 906–
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                                                                                                           identified cost-effective mitigation
                                                 adjust state emission budgets to account for                                                                    08 (D.C. Cir. 2008). In four instances
                                                 currently unknown or uncertain retirements after          measures deemed necessary to eliminate
                                                 the finalization of this rule . . . . EPA observes that   significant contribution to                           over the course of the 2019, 2020, and
                                                 the commenter’s proposed mechanism would                  nonattainment and interference with
                                                 become increasingly valuable for rules where the          maintenance of the NAAQS.
                                                                                                                                                                   97 Shouse, Kate. ‘‘The Clean Air Act’s Good

                                                 timeframe extends further into the future where                                                                 Neighbor Provision: Overview of Interstate Air
                                                 retirement uncertainty is higher.’’ Revised CSAPR
                                                                                                              The EPA’s experience is that fixed                 Pollution Control’’. Congressional Research
                                                 Update Response to Comments, EPA–HQ–OAR–                  mass-based budgets that are determined                Services. August 30, 2018. Available at https://
                                                 2020–0272–219, at 153.                                    based only on the profile of the power                sgp.fas.org/crs/misc/R45299.pdf.



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                                                 2021 control periods under the CSAPR                    within that framework for sources in                   understanding of how an emissions
                                                 Update, sources in Mississippi and                      certain areas within that region, or                   trading program that does not properly
                                                 Missouri collectively exceeded their                    during periods of high ozone when good                 anticipate future fleet conditions at Step
                                                 state-wide assurance levels in part due                 emissions performance is most                          4 may fail to achieve the elimination of
                                                 to deterioration in emissions                           essential, to emit at levels well in excess            emissions that should be prohibited
                                                 performance that can be attributed to a                 of the EPA’s Step 3 determinations of                  based on our findings at Step 3. Further,
                                                 glut of allowances within the CSAPR                     significant contribution. Significant                  we find there to be no ‘‘serious reliance
                                                 Update. See section VI.B.8 of the                       contribution, according to the statute,                interests’’ that have been or even could
                                                 preamble.                                               must be ‘‘prohibited.’’ CAA section                    have been ‘‘engendered’’ by any prior
                                                    Thus, while this trading program                     110(a)(2)(D)(i).                                       policy on these issues, see id. at 515–16.
                                                 structure may achieve some                                 Thus, these trading program                         The EPA is implementing these
                                                 environmental benefit through fixed                     enhancements are within the EPA’s                      enhancements for the first time with
                                                 emissions budgets for initial control                   authority under CAA section                            respect to a new obligation—good
                                                 periods, over time those fixed budgets                  110(a)(2)(D)(i)(I) to eliminate interstate             neighbor requirements for the 2015
                                                 cease to have their intended effect, and                ozone pollution that significantly                     ozone NAAQS. No party reasonably
                                                 remaining operating facilities can, and                 contributes to nonattainment or                        could have invested substantial
                                                 have, increased emissions or even                       interferes with maintenance in                         resources to-date to comply with an
                                                 discontinued the operation of their                     downwind states. These enhancements                    obligation that was heretofore
                                                 emissions controls. This, in turn, can                  ensure the elimination of significant                  undefined; and no commenter has
                                                 lead to the continuation (or re-                        contribution across all upwind states                  supplied any information to the
                                                 emergence) of significant contribution                  and throughout each ozone season. We                   contrary.
                                                 in terms of a recurrence of excessive                   observe in the Ozone Transport Policy
                                                 emissions that had been slated for                      Analysis Final Rule TSD, section E, that               2. FIP Authority for Each State Covered
                                                 permanent elimination under the EPA’s                   the trading program enhancements may                   by the Rule
                                                 determinations at Step 3. Although the                  also benefit underserved and                              On October 26, 2015, the EPA
                                                 EPA has always intended for its trading                 overburdened communities downwind                      promulgated a revision to the 2015 8-
                                                 programs to provide flexibility, the                    of EGUs in the covered geography of the                hour ozone NAAQS, lowering the level
                                                 Agency did not expect and has certainly                 final rule. See section VI.B of this                   of both the primary and secondary
                                                 never endorsed the use of that flexibility              document. This does not detract from                   standards to 0.070 parts per million
                                                 to stop the operation of controls that                  the statutorily-authorized basis for these             (ppm).98 These revisions of the NAAQS,
                                                 have already been installed. See, e.g., 76              changes, and the EPA finds nothing                     in turn, established a 3-year deadline for
                                                 FR 48256–57 (‘‘[I]t would be                            impermissible in acknowledging the                     states to provide SIP submissions
                                                 inappropriate for a state linked to                     reality of these potential benefits for                addressing infrastructure requirements
                                                 downwind nonattainment or                               underserved and overburdened                           under CAA sections 110(a)(1) and CAA
                                                 maintenance areas to stop operating                     communities.                                           110(a)(2), including the good neighbor
                                                 existing pollution control equipment                       The EPA appreciates a commenter’s                   provision, by October 1, 2018. If the
                                                 (which would increase their emissions                   concern that our actions be legally                    EPA makes a determination that a state
                                                 and contribution).’’). Despite the EPA’s                defensible. The EPA acknowledges that                  failed to submit a SIP, or if EPA
                                                 expectations in CSAPR, the historical                   the changes to the trading program                     disapproves a SIP submission, then the
                                                 data establishes a real risk of ‘‘under-                structure for implementing good                        EPA is obligated under CAA section
                                                 control’’ if the existing trading                       neighbor obligations discussed here                    110(c) to promulgate a FIP for that state
                                                 framework is not improved upon. See                     constitute a change in the policy                      within 2 years. For a more detailed
                                                 EME Homer City, 572 U.S. at 523                         underlying its prior transport-rule                    discussion of CAA section 110 authority
                                                 (‘‘[T]he Agency also has a statutory                    trading programs for EGUs. However,                    and timelines, refer to section III.C of
                                                 obligation to avoid ‘under-control,’ i.e.,              the EPA is confident that these changes                this document.
                                                 to maximize achievement of attainment                   are in compliance with the holdings in                    The EPA is finalizing this FIP action
                                                 downwind.’’).                                           judicial decisions reviewing prior                     now to address 23 states’ good neighbor
                                                    This result is also inconsistent with                transport rules. The fact that the EPA is              obligations for the 2015 ozone
                                                 the statutory mandate to ‘‘prohibit’’                   making changes does not somehow                        NAAQS.99 For each state for which the
                                                 significant contribution and interference               render these enhancements legally                      EPA is finalizing this FIP, the EPA
                                                 with maintenance of the NAAQS in                        impermissible or even subject to a                     either issued final findings of failure to
                                                 downwind states, as evidenced most                      heightened standard of review. See FCC                 submit or has issued a final disapproval
                                                 clearly in CAA section 126, which                       v. Fox Television Stations, 556 U.S. 502,              of that state’s SIP submission.
                                                 makes it unlawful for a source ‘‘to                     514 (2009) (‘‘We find no basis in the                     Several commenters asserted that the
                                                 operate more than three months after [a                 Administrative Procedure Act or in our                 sequence of the EPA’s actions, and in
                                                 finding that the source emits or would                  opinions for a requirement that all                    particular, the timing of its proposed
                                                 emit in violation of the good neighbor                  agency change be subjected to more                     FIP (which was signed on February 28,
                                                 provision] has been made with respect                   searching review.’’). We have explained
                                                 to it.’’ 42 U.S.C. 7426(c)(2) (emphasis                 previously and elsewhere in the record                    98 National Ambient Air Quality Standards for

                                                 added). See also North Carolina, 531                    that there are ‘‘good reasons’’ for the                Ozone, Final Rule, 80 FR 65292 (Oct. 26, 2015).
                                                 F.3d at 906–08 (each state must be held                 ‘‘new policy.’’ See id. at 515. And, we                Although the level of the standard is specified in
                                                                                                                                                                the units of ppm, ozone concentrations are also
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                                                 to the elimination of its own significant               are of course fully aware that we have                 described in parts per billion (ppb). For example,
                                                 contribution). The purpose of the                       changed our position. See id. at 514–15.               0.070 ppm is equivalent to 70 ppb.
                                                 Agency’s interstate trading programs                    Specifically, we have gone from                           99 The EPA notes that it is subject to, and has met

                                                 under the good neighbor provision is to                 previously treating fixed, mass-based                  through this action, a consent decree deadline to
                                                 afford sources some flexibility in                      budgets as sufficient to eliminate                     promulgate FIPs addressing 2015 ozone NAAQS
                                                                                                                                                                good neighbor obligations for the states of
                                                 achieving region-wide emissions                         significant contribution, to an approach               Pennsylvania, Utah, and Virginia. See Sierra Club
                                                 reductions; however, there is no                        for purposes of the 2015 ozone NAAQS                   et al. v. Regan, No. 3:22–cv–01992–JD (N.D. Cal.
                                                 justification that can be sustained                     reflecting a more nuanced                              entered January 24, 2023).



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                                                 2022, and published on April 6, 2022)                   disapproval or making a finding of                     FIP actions for those states. As
                                                 in relation to the timing of its proposed               failure to submit. The Supreme Court                   discussed in section IV.F of this
                                                 SIP disapprovals (most of which were                    recognized in EME Homer City that the                  document, the EPA’s most recent
                                                 published on February 22, 2022, four of                 EPA is not obligated to first define a                 modeling and air quality analysis
                                                 which were published on May 24, 2022,                   state’s good neighbor obligations or give              indicates that several states may be
                                                 and one of which was published on                       the state an additional opportunity to                 linked to downwind receptors for which
                                                 October 25, 2022), was either unlawful                  submit an approvable SIP before                        we had not previously proposed
                                                 or unreasonable in light of the sequence                promulgating a FIP: ‘‘EPA is not obliged               disapproval or FIP action. The EPA
                                                 of steps required under CAA section                     to wait two years or postpone its action               anticipates addressing remaining
                                                 110(k) and (c).                                         even a single day: The Act empowers                    interstate transport obligations for the
                                                    These commenters are incorrect. As                   the Agency to promulgate a FIP ‘at any                 2015 ozone NAAQS for these in a
                                                 an initial matter, concerns about the                   time’ within the two-year limit.’’ 101                 subsequent rulemaking.)
                                                 timing or substance of the EPA’s actions                Thus, the EPA may promulgate a FIP                        Additionally, the EPA has taken
                                                 on the SIP submittals are beyond the                    contemporaneously with or                              action that has triggered the EPA’s
                                                 scope of this action. Nor are the timing                immediately following predicate final                  obligation under CAA section 110(c) to
                                                 or contents of merely proposed actions                  SIP disapproval (or finding no SIP was                 promulgate FIPs addressing the good
                                                 to be considered final agency actions or                submitted). To accomplish this, the EPA                neighbor provision for several
                                                 subject to judicial review. See In re                   must necessarily be able to propose a                  downwind states. On December 5, 2019,
                                                 Murray Energy, 788 F.3d 330 (D.C. Cir.                  FIP prior to taking final action to                    the EPA published a rule finding that
                                                 2015). With these principles in mind,                   disapprove a SIP or make a finding of                  seven states (Maine, New Mexico,
                                                 the timing of this final action is lawful               failure to submit.                                     Pennsylvania, Rhode Island, South
                                                 under the Act. First, the EPA is not                       Second, and more importantly, the                   Dakota, Utah, and Virginia) failed to
                                                 required to wait to propose a FIP until                 EPA has established predicate authority                submit or otherwise make complete
                                                 after the Agency proposes or finalizes a                to promulgate FIPs for all of the covered              submissions that address the
                                                 SIP disapproval or makes a finding of                   states through its action with respect to              requirements of CAA section
                                                 failure to submit.100 CAA section 110(c)                the relevant SIP submittals. A brief                   110(a)(2)(D)(i)(I) for the 2015 ozone
                                                 authorizes the EPA to promulgate a FIP                  history of these actions follows:                      NAAQS.106 This finding triggered a 2-
                                                 ‘‘at any time within 2 years’’ of a SIP                    On February 22, 2022, the EPA                       year deadline for the EPA to issue FIPs
                                                                                                         proposed to disapprove 19 good                         to address the good neighbor provision
                                                    100 The EPA notes there are three consent decrees    neighbor SIP submissions (Alabama,                     for these states by January 6, 2022. As
                                                 to resolve three deadline suits related to EPA’s duty   Arkansas, Illinois, Indiana, Kentucky,                 the EPA has subsequently received and
                                                 to act on good neighbor SIP submissions for the         Louisiana, Maryland, Michigan,                         taken final action to approve good
                                                 2015 ozone NAAQS. In New York et al. v. Regan,          Minnesota, Mississippi, Missouri, New
                                                 et al. (No. 1:21–CV–00252, S.D.N.Y.), the EPA
                                                                                                                                                                neighbor SIPs from Maine, Rhode
                                                 agreed to take final action on the 2015 ozone           Jersey, New York, Ohio, Oklahoma,                      Island, and South Dakota,107 the EPA
                                                 NAAQS good neighbor SIP submissions from                Tennessee, Texas, West Virginia,                       currently has authority under the
                                                 Indiana, Kentucky, Michigan, Ohio, Texas, and           Wisconsin).102 Alabama subsequently                    December 5, 2019, findings of failure to
                                                 West Virginia by April 30, 2022; however, if the        withdrew its SIP submission and re-
                                                 EPA proposes to disapprove any SIP submissions
                                                                                                                                                                submit to issue FIPs for New Mexico,
                                                 and proposes a replacement FIP by February 28,          submitted a SIP submission on June 22,                 Pennsylvania, Utah, and Virginia. In
                                                 2022, then EPA’s deadline to take final action on       2022. The EPA proposed to disapprove                   this final rule, the EPA is issuing FIP
                                                 that SIP submission is extended to December 30,         that SIP submittal on October 25,                      requirements for Pennsylvania, Utah,
                                                 2022. In Downwinders at Risk et al. v. Regan (No.       2022.103 The EPA proposed to                           and Virginia.108
                                                 21–cv–03551, N.D. Cal.), the EPA agreed to take
                                                 final action on the 2015 ozone NAAQS good               disapprove good neighbor SIP                              Further information on the procedural
                                                 neighbor SIP submissions from Alabama, Arkansas,        submissions for four additional states,                history establishing the EPA’s authority
                                                 Connecticut, Florida, Georgia, Illinois, Indiana,       California, Nevada, Utah, and Wyoming,                 for this final rule is provided in a
                                                 Iowa, Kansas, Kentucky, Louisiana, Maryland,            on May 24, 2022.104                                    document in the docket.109
                                                 Michigan, Minnesota, Mississippi, New Jersey, New
                                                 York, North Carolina, Ohio, Oklahoma, South                Subsequently, on January 31, 2023,
                                                 Carolina, Tennessee, Texas, West Virginia, and          the EPA Administrator signed a single                     106 Findings of Failure To Submit a Clean Air Act

                                                 Wisconsin by April 30, 2022; however, if the EPA        disapproval action for all of the above                Section 110 State Implementation Plan for
                                                 proposes to disapprove any of these SIP                                                                        Interstate Transport for the 2015 Ozone National
                                                                                                         states, with the exception of Tennessee                Ambient Air Quality Standards (NAAQS), 84 FR
                                                 submissions and proposes a replacement FIP by
                                                 February 28, 2022, then the EPA’s deadline to take      and Wyoming.105 This action                            66612 (December 5, 2019, effective January 6, 2020).
                                                 final action on that SIP submission is December 30,     established the EPA’s authority to                        107 Air Plan Approval; Maine and New

                                                 2022. In this CD, the EPA also agreed to take final     promulgate FIPs for the disapproved                    Hampshire; 2015 Ozone NAAQS Interstate
                                                 action on Hawaii’s SIP submission by April 30,                                                                 Transport Requirements, 86 FR 45870 (August 17,
                                                                                                         states. (As explained in section IV.F of               2021); Air Plan Approval; Rhode Island; 2015
                                                 2022, and to take final action on the SIP
                                                 submissions of Arizona, California, Montana,            this document, the Agency is deferring                 Ozone NAAQS Interstate Transport Requirements,
                                                 Nevada, and Wyoming by December 15, 2022. In            action at this time for Tennessee and                  86 FR 70409 (December 10, 2021); Promulgation of
                                                 Our Children’s Earth Foundation v. EPA (No. 20–         Wyoming with respect to its proposed                   State Implementation Plan Revisions; Infrastructure
                                                 8232, S.D.N.Y.), the EPA agreed to take final action                                                           Requirements for the 2015 Ozone National Ambient
                                                 on the 2015 ozone NAAQS good neighbor SIP                                                                      Air Quality Standards; South Dakota; Revisions to
                                                                                                           101 See EPA v. EME Homer City Generation, L.P.,
                                                 submission from New York by April 30, 2022;                                                                    the Administrative Rules of South Dakota, 85 FR
                                                                                                         572 U.S. 489, 509 (2014) (citations omitted).          29882 (May 19, 2020).
                                                 however, if the EPA proposes to disapprove New            102 See 87 FR 9463 (Maryland); 87 FR 9484 (New          108 WildEarth Guardians v. Regan, No. 1:22–cv–
                                                 York’s SIP submission and proposes a replacement
                                                 FIP by February 28, 2022, then the EPA’s deadline       Jersey, New York); 87 FR 9498 (Kentucky); 87 FR        00174 (D.N.M. entered Aug. 16, 2022); Sierra Club
                                                 to take final action on New York’s SIP submission       9516 (West Virginia); 87 FR 9533 (Missouri); 87 FR     et al. v. EPA, No. 3:22–cv–01992 (N.D. Cal. entered
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                                                 is extended to December 30, 2022. By stipulation        9545 (Alabama, Mississippi, Tennessee); 87 FR          Jan. 24, 2023).
                                                 of the parties, the December 15, 2022, date in all      9798 (Arkansas, Louisiana, Oklahoma, Texas); 87           109 See ‘‘Final Rule: Status of CAA Section

                                                 three of these consent decrees was extended to          FR 9838 (Illinois, Indiana, Michigan, Minnesota,       110(a)(2)(D)(i)(I) SIP Submissions for the 2015
                                                 January 31, 2023. By further stipulation of the         Ohio, Wisconsin).                                      Ozone NAAQS for States Covered by the Proposed
                                                                                                           103 See 87 FR 64412.
                                                 parties in the Downwinders at Risk case, the January                                                           Federal Implementation Plan Addressing Regional
                                                                                                           104 See 87 FR 31443 (California); 87 FR 31485
                                                 31, 2023, date was further extended to December                                                                Ozone Transport for the 2015 Ozone National
                                                 15, 2023 for the EPA to act on the SIP submissions      (Nevada); 87 FR 31470 (Utah); 87 FR 31495              Ambient Air Quality Standards.’’ This document
                                                 from the states of Arizona, Tennessee, and              (Wyoming).                                             updates a prior document of the same title provided
                                                 Wyoming.                                                  105 See 88 FR 9336.                                                                             Continued




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                                                    While the EPA’s previous actions are                 2019, ozone infrastructure SIP                         EPA is including all areas of Indian
                                                 sufficient to establish that the EPA’s                  submissions as satisfying the                          country within the covered geography,
                                                 promulgation of this FIP action at this                 requirements of CAA section                            notwithstanding whether those areas are
                                                 time is lawful, the timing of this action               110(a)(2)(D)(i)(I) for the 2015 ozone                  currently subject to a state’s
                                                 is all the more reasonable in light of the              NAAQS. The EPA proposed to                             implementation planning authority or
                                                 need for the EPA to address good                        determine that the basis for the prior SIP             the potential planning authority of a
                                                 neighbor obligations consistent with the                approval was invalidated by the                        tribe.
                                                 rest of title I of the CAA. In particular,              Agency’s more recent technical
                                                 the D.C. Circuit in Wisconsin held that                 evaluation of air quality modeling                     a. Indian Country Subject to Tribal
                                                 states and the EPA are obligated to fully               performed in support of the proposed                   Jurisdiction
                                                 address good neighbor obligations for                   rule,114 and that Delaware had                            With respect to areas of Indian
                                                 ozone ‘‘as expeditiously as practical’’                 unresolved interstate transport                        country not currently subject to a state’s
                                                 and in no event later than the next                     obligations for the 2015 ozone NAAQS.                  implementation planning authority—
                                                 relevant downwind attainment dates                      The EPA also proposed to issue a FIP for               i.e., Indian reservation lands (with the
                                                 found in CAA section 181(a).110 In                      Delaware given these unresolved                        partial exception of reservation lands
                                                 Maryland v. EPA, the D.C. Circuit made                  interstate transport obligations.                      located in the State of Oklahoma, as
                                                 clear that Wisconsin’s and North                        However, based on the updated air                      described further in this section) and
                                                 Carolina’s holdings are fully applicable                quality modeling described in section                  other areas of Indian country over
                                                 to the Marginal area attainment date for                IV.F. of this document and the technical               which the EPA or a tribe has
                                                 the 2015 ozone NAAQS,111 which fell                     assessment that informs this final rule,               demonstrated that a tribe has
                                                 on August 3, 2021.112 As discussed in                   the EPA finds that Delaware is not                     jurisdiction—the EPA here makes a
                                                 section VI.A of this document, by                       projected to be linked to any downwind                 ‘‘necessary or appropriate’’ finding that
                                                 finalizing this action now, the EPA is                  receptor above the 1 percent of the                    direct Federal implementation of the
                                                 able to implement initial required                      NAAQS threshold in 2023. Thus, based                   rule’s requirements is warranted under
                                                 emissions reductions to eliminate                       on the record before the Agency now,                   CAA section 301(d)(4) and 40 CFR
                                                 significant contribution by the 2023                    the original approval of Delaware’s SIP                49.11(a) (the areas of Indian country
                                                 ozone season, which is the last full                    submission was not in error, and the                   subject to this finding will be referred to
                                                 ozone season before the next attainment                 EPA is withdrawing its proposed error                  as the CAA section 301(d) FIP areas).
                                                 date, the Moderate area attainment date                 correction and proposed FIP for                        Indian Tribes may, but are not required
                                                 of August 3, 2024. The Wisconsin court                  Delaware.                                              to, submit tribal plans to implement
                                                 emphasized that the EPA has the
                                                                                                         2. Application of Rule in Indian Country               CAA requirements, including the good
                                                 authority under CAA section 110 to
                                                                                                         and Necessary or Appropriate Finding                   neighbor provision. Section 301(d) of
                                                 structure and time its actions in a
                                                                                                            The EPA is finalizing its                           the CAA and 40 CFR part 49 authorize
                                                 manner such that the Agency can ensure
                                                                                                         determination that this rule will be                   the Administrator to treat an Indian
                                                 necessary reductions are achieved in
                                                                                                         applicable in all areas of Indian country              Tribe in the same manner as a state (i.e.,
                                                 alignment with the downwind
                                                 attainment schedule, and that is                        (as defined at 18 U.S.C. 1151) within the              TAS) for purposes of developing and
                                                 precisely what the EPA is doing here.113                covered geography of the final rule, as                implementing a tribal plan
                                                 The EPA provides further response to                    defined in this section. Certain areas of              implementing good neighbor
                                                 the comments on this issue in section 1                 Indian country within the geography of                 obligations. See 40 CFR 49.3; see also
                                                 of the RTC document.                                    the rule are or may be subject to state                ‘‘Indian Tribes: Air Quality Planning
                                                                                                         implementation planning authority.                     and Management,’’ hereafter ‘‘Tribal
                                                 C. Other CAA Authorities for This                                                                              Authority Rule’’ (63 FR 7254, February
                                                                                                         Other areas of Indian country within
                                                 Action                                                                                                         12, 1998). The EPA is authorized to
                                                                                                         that geography are subject to tribal
                                                 1. Withdrawal of Proposed Error                         planning authority, although none of the               directly implement the good neighbor
                                                 Correction for Delaware                                 relevant tribes have as yet sought                     provision in the 301(d) FIP areas when
                                                                                                         eligibility to administer a tribal plan to             it finds, consistent with the authority of
                                                    The EPA proposed at 87 FR 20036 to                                                                          CAA section 301—which the EPA has
                                                 make an error correction under CAA                      implement the good neighbor
                                                                                                         provision.115 As described later, the                  exercised in 40 CFR 49.11—that it is
                                                 section 110(k)(6) of its May 1, 2020,                                                                          necessary or appropriate to do so.116
                                                 approval at 85 FR 25307 of the interstate
                                                                                                           114 See the Air Quality Modeling Proposed Rule
                                                 transport elements for Delaware’s
                                                                                                         TSD in the docket for this rule.                       any linked upwind states’ good neighbor
                                                 October 11, 2018, and December 26,                        115 We note that, consistent with the EPA’s prior    obligations. See, e.g., Approval and Promulgation of
                                                                                                         good neighbor actions in California, the regulatory    Air Quality State Implementation Plans; California;
                                                 at proposal (Document no. EPA–HQ–OAR–2021–              ozone monitor located on the Morongo Band of           Interstate Transport Requirements for Ozone, Fine
                                                 0668–0131).                                             Mission Indians (‘‘Morongo’’) reservation is a         Particulate Matter, and Sulfur Dioxide, 83 FR 65093
                                                    110 Wisconsin v. EPA, 938 F.3d 303, 313–14 (D.C.     projected downwind receptor in 2023. See               (December 19, 2018). Under 40 CFR 49.4(a), tribes
                                                 Cir. 2019) (citing North Carolina v. EPA, 531 F.3d      monitoring site 060651016 in Table IV.D.–1. We         are not subject to the specific plan submittal and
                                                 896, 911–13 (D.C. Cir. 2008).                           also note that the Temecula, California, regulatory    implementation deadlines for NAAQS-related
                                                    111 Maryland v. EPA, 958 F.3d 1185, 1203–04          ozone monitor is a projected downwind receptor in      requirements, including deadlines for submittal of
                                                 (D.C. Cir. 2020).                                       2023 and in past regulatory actions has been           plans addressing transport impacts.
                                                    112 See CAA section 181(a); 40 CFR 51.1303;          deemed representative of air quality on the               116 See Arizona Pub. Serv. Co. v. U.S. E.P.A., 562

                                                 Additional Air Quality Designations for the 2015        Pechanga Band of Luiseño Indians (‘‘Pechanga’’)       F.3d 1116, 1125 (10th Cir. 2009) (stating that 40
                                                                                                         reservation. See, e.g., Approval of Tribal             CFR 49.11(a) ‘‘provides the EPA discretion to
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                                                 Ozone National Ambient Air Quality Standards, 83
                                                 FR 25776 (June 4, 2018, effective August 3, 2018).      Implementation Plan and Designation of Air             determine what rulemaking is necessary or
                                                    113 938 F.3d at 318 (‘‘When EPA determines a         Quality Planning Area; Pechanga Band of Luiseño       appropriate to protect air quality and requires the
                                                 State’s SIP is inadequate, EPA presumably must          Mission Indians, 80 FR 18120, at 18121–18123           EPA to promulgate such rulemaking’’); Safe Air For
                                                 issue a FIP that will bring that State into             (April 3, 2015); see also monitoring site 060650016    Everyone v. U.S. Env’t Prot. Agency, No. 05–73383,
                                                 compliance before upcoming attainment deadlines,        in Table IV.D–1. The presence of receptors on, or      2006 WL 3697684, at *1 (9th Cir., Dec. 15, 2006)
                                                 even if the outer limit of the statutory timeframe      representative of, the Morongo and Pechanga            (‘‘The statutes and regulations that enable EPA to
                                                 gives EPA more time to formulate the FIP.’’) (citing    reservations does not trigger obligations for the      regulate air quality on Indian reservations provide
                                                 Sierra Club v. EPA, 294 F.3d 155, 161 (D.C. Cir.        Morongo and Pechanga Tribes. Nevertheless, these       EPA with broad discretion in setting the content of
                                                 2002)).                                                 receptors are relevant to the EPA’s assessment of      such regulations.’’).



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                                                    The EPA hereby finds that it is both                   country as necessary or appropriate).                    entire upwind geography is ‘‘equitable’’
                                                 necessary and appropriate to regulate all                 Further, in any action in which the EPA                  because, by imposing uniform cost
                                                 new and existing EGU and industrial                       subsequently approved a state’s SIP                      thresholds on regulated States, the
                                                 sources meeting the applicability                         submittal to partially or wholly replace                 EPA’s rule subjects to stricter regulation
                                                 criteria set forth in this rule in all of the             the provisions of a CSAPR FIP, the EPA                   those States that have done relatively
                                                 301(d) FIP areas that are located within                  has clearly delineated that it will                      less in the past to control their
                                                 the geographic scope of coverage of the                   continue to administer the Indian                        pollution. Upwind States that have not
                                                 rule. For purposes of this finding, the                   country new unit set aside for sources                   yet implemented pollution controls of
                                                 geographic scope of coverage of the rule                  in any areas of Indian country                           the same stringency as their neighbors
                                                 means the areas of the United States                      geographically located within a state’s                  will be stopped from free riding on their
                                                 encompassed within the borders of the                     borders and not subject to that state’s                  neighbors’ efforts to reduce pollution.
                                                 states the EPA has determined to be                       CAA planning authority, and the state                    They will have to reduce their
                                                 linked at Steps 1 and 2 of the 4-step                     may not exercise jurisdiction over any                   emissions by installing devices of the
                                                 interstate transport framework.117 For                    such sources. See, e.g., 82 FR 46674,                    kind in which neighboring States have
                                                 EGU applicability criteria, see section                   46677 (October 6, 2017) (approving                       already invested. Id.
                                                 VI.B of this document; for industrial-                    Alabama’s SIP submission establishing a                     In the context of addressing regional-
                                                 source applicability criteria, see section                state CSAPR trading program for ozone                    scale ozone transport in this rule, the
                                                 VI.C of this document. To EPA’s                           season NOX, but providing, ‘‘The SIP is                  importance of a uniform level of
                                                 knowledge, only one existing EGU or                       not approved to apply on any Indian                      stringency that extends to and includes
                                                 industrial source is located within the                   reservation land or in any other area                    the CAA section 301(d) FIP areas
                                                 CAA section 301(d) FIP areas: the                         where EPA or an Indian tribe has                         geographically located within the
                                                 Bonanza Power Plant, an EGU source,                       demonstrated that a tribe has                            boundaries of the linked upwind states
                                                 located on the Uintah and Ouray                           jurisdiction.’’).                                        carries significant force. Failure to
                                                 Reservation, geographically located                          In this rule, the EPA is taking an                    include all such areas within the scope
                                                 within the borders of Utah.                               approach similar to the prior CSAPR                      of the rule creates a significant risk that
                                                    This finding is consistent with the                    rulemakings with respect to regulating                   these areas may be targeted for the siting
                                                 EPA’s prior good neighbor rules. In                       sources in the CAA section 301(d) FIP                    of facilities emitting ozone-precursor
                                                 prior rulemakings under the good                          areas.118 The EPA believes this                          pollutants, to avoid the regulatory costs
                                                 neighbor provision, the EPA has                           approach is necessary and appropriate                    that would be imposed under this rule
                                                 included all areas of Indian country                      for several reasons. First, the purpose of               in the surrounding areas of state
                                                 within the geographic scope of those                      this rule is to address the interstate                   jurisdiction. Electricity generation or the
                                                 FIPs, such that any new or existing                       transport of ozone on a national scale,                  production of other goods and
                                                 sources meeting the rules’ applicability                  and the technical record establishes that                commodities may become more cost-
                                                 criteria would be subject to the rule                     the nonattainment and maintenance                        competitive at any EGU or industrial
                                                 irrespective of whether subject to state                  receptors located throughout the                         sources not subject to the rule but
                                                 or tribal underlying CAA planning                         country are impacted by sources of                       located in a geography where the same
                                                 authority. In CSAPR, the CSAPR                            ozone pollution on a broad geographic                    types of sources are subject to the rule.
                                                 Update, and the Revised CSAPR                             scale. The upwind regions associated                     For instance, the affected EGU source
                                                 Update, the scope of the emissions                        with each receptor typically span at                     located on the Uintah and Ouray
                                                 trading programs established for EGUs                     least two, and often far more, states.                   Reservation of the Ute Tribe is in an
                                                 extended to cover all areas of Indian                     Within the broad upwind region                           area that is interconnected with the
                                                 country located within the geographic                     covered by this rule, the EPA is                         western electricity grid and is owned
                                                 boundaries of the covered states. In                      applying—consistent with the                             and operated by an entity that generates
                                                 these rules, at the time of their                         methodology of allocating upwind                         and provides electricity to customers in
                                                 promulgation, no existing units were                      responsibility in prior transport rules                  several states. It is both necessary and
                                                 located in the covered areas of Indian                    going back to the NOX SIP Call—a                         appropriate, in the EPA’s view, to avoid
                                                 country; under the general applicability                  uniform level of control stringency (as                  creating, via this rule, a structure of
                                                 criteria of the trading programs,                         determined separately for linkages                       incentives that may cause generation or
                                                 however, any new sources locating in                      existing in 2023, and linkages persisting                production—and the associated NOX
                                                 such areas would become subject to the                    in 2026). (See section V of this                         emissions—to shift into the CAA section
                                                 programs. Thus, the EPA established a                     document for a discussion of EPA’s                       301(d) FIP areas to escape regulation
                                                 separate allowance allocation that                        determination of control stringency for                  needed to eliminate interstate transport
                                                 would be available for any new units                      this rule.) Within this approach,                        under the good neighbor provision.
                                                 locating in any of the relevant areas of                  consistency in rule requirements across                     The EPA finds it is appropriate to
                                                 Indian country. See, e.g., 76 FR 48293                    all jurisdictions is vital in ensuring the               directly implement the rule’s
                                                 (describing the CSAPR methodology of                      remedy for ozone transport is, in the                    requirements in the CAA section 301(d)
                                                 allowance allocation under the ‘‘Indian                   words of the Supreme Court, ‘‘efficient                  FIP areas in this action rather than at a
                                                 country new unit set-aside’’ provisions);                 and equitable,’’ 572 U.S. 489, 519. In                   later date. Tribes have the opportunity
                                                 see also id. at 48217 (explaining the                     particular, as the Supreme Court found                   to seek treatment as a state (TAS) and
                                                 EPA’s source of authority for directly                    in EME Homer City Generation,                            to undertake tribal implementation
                                                 regulating in relevant areas of Indian                    allocating responsibility through                        plans under the CAA. To date, the one
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                                                                                                           uniform levels of control across the                     tribe which could develop and seek
                                                   117 With respect to any industrial sources located                                                               approval of a tribal implementation plan
                                                 in the CAA section 301(d) FIP areas, the geographic          118 See section VI.B.9 of this document for a         to address good neighbor obligations
                                                 scope of coverage of this rule does not include those     discussion of revisions that are being made in this      with respect to an existing EGU in the
                                                 states for which the EPA finds, based on air quality      rulemaking regarding the point in the allowance          CAA section 301(d) FIP areas for the
                                                 modeling, that no further linkage exists by the 2026      allocation process at which the EPA would
                                                 analytic year at Steps 1 and 2. The states in this rule   establish set-asides of allowances for units in Indian
                                                                                                                                                                    2015 ozone NAAQS (or for any other
                                                 not linked in 2026 are Alabama, Minnesota, and            country not subject to a state’s CAA implementation      NAAQS), the Ute Indian Tribe of the
                                                 Wisconsin.                                                planning authority.                                      Uintah and Ouray Reservation, has not


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                                                 expressed an intent to do so. Nor has the               consultation after publication of the                  actions. Although the formal tribal
                                                 EPA heard such intentions from any                      proposed rulemaking. By including all                  consultation process associated with
                                                 other tribe, and it would not be                        areas of Indian country within the                     this action has concluded, the EPA is
                                                 reasonable to expect tribes to undertake                covered geography of the rule, the EPA                 willing and available to engage with any
                                                 that planning effort, particularly when                 is advancing environmental justice,                    tribe as this rule is implemented.
                                                 no existing sources are currently located               lowering pollution burdens in such                     b. Indian Country Subject to State
                                                 on their lands. Further, the EPA is                     areas, and preventing the potential for                Implementation Planning Authority
                                                 mindful that under court precedent, the                 ‘‘pollution havens’’ to form in such
                                                 EPA and states bear an obligation to                    areas as a result of facilities seeking to                Following the U.S. Supreme Court
                                                 fully implement any required emissions                  locate there to avoid the requirements                 decision in McGirt v. Oklahoma, 140 S.
                                                 reductions to eliminate significant                     that would otherwise apply outside of                  Ct. 2452 (2020), the Governor of the
                                                 contribution under the good neighbor                    such areas under this rule.                            State of Oklahoma requested approval
                                                 provision as expeditiously as                              Therefore, to ensure timely alignment               under section 10211(a) of the Safe,
                                                 practicable and in alignment with                       of all needed emissions reductions                     Accountable, Flexible, Efficient
                                                 downwind areas’ attainment schedule                     within the timetables of this rule, to                 Transportation Equity Act of 2005: A
                                                 under the Act. As discussed in section                  ensure equitable distribution of the                   Legacy for Users, Public Law 109–59,
                                                 VI.A of this document, the EPA is                       upwind pollution reduction obligation                  119 Stat. 1144, 1937 (August 10, 2005)
                                                 implementing certain required                           across all upwind jurisdictions, to avoid              (‘‘SAFETEA’’), to administer in certain
                                                 emissions reductions by the 2023 ozone                  perverse economic incentives to locate                 areas of Indian country (as defined at 18
                                                 season, the last full ozone season before               sources of ozone-precursor pollution in                U.S.C. 1151) the State’s environmental
                                                 the 2024 Moderate area attainment date,                 the CAA section 301(d) FIP areas, and                  regulatory programs that were
                                                 and other key additional required                       to deliver greater environmental justice               previously approved by the EPA for
                                                 emissions reductions by the 2026 ozone                  to tribal communities in line with                     areas outside of Indian country. The
                                                 season, the last full ozone season before               Executive Order 13985: Advancing                       State’s request excluded certain areas of
                                                 the 2027 Serious area attainment date.                  Racial Equity and Support for                          Indian country further described later.
                                                 Absent the application of this FIP in the               Underserved Communities Through the                    In addition, the State only sought
                                                 CAA section 301(d) FIP areas, NOX                       Federal Government,120 the EPA finds it                approval to the extent that such
                                                 emissions from any existing or new EGU                  both necessary and appropriate that all                approval is necessary for the State to
                                                 or non-EGU sources located in, or                       existing and new EGU and industrial                    administer a program in light of
                                                 locating in, the CAA section 301(d) FIP                 sources that are located in the CAA                    Oklahoma Dept. of Environmental
                                                 areas within the covered geography of                   section 301(d) FIP areas within the                    Quality v. EPA, 740 F.3d 185 (D.C. Cir.
                                                 the rule would remain unregulated for                   geographic boundaries of the covered                   2014).121
                                                 purposes of CAA section                                                                                           On October 1, 2020, the EPA
                                                                                                         states, and which would be subject to
                                                 110(a)(2)(D)(i)(I) for the 2015 ozone                                                                          approved Oklahoma’s SAFETEA request
                                                                                                         this rule if located within areas subject
                                                 NAAQS and could continue or                                                                                    to administer all the State’s EPA-
                                                                                                         to state CAA planning authority, should
                                                 potentially increase. This would be                                                                            approved environmental regulatory
                                                                                                         be included in this rule. The EPA issues
                                                 inconsistent with the EPA’s overall goal                                                                       programs, including the Oklahoma SIP,
                                                                                                         this finding under CAA section
                                                 of aligning good neighbor obligations                                                                          in the requested areas of Indian
                                                                                                         301(d)(4) of the Act and 40 CFR 49.11.
                                                 with the downwind areas’ attainment                                                                            country.122 As requested by Oklahoma,
                                                                                                         Further, to avoid ‘‘unreasonable delay’’
                                                 schedule and to achieve emissions                                                                              the EPA’s approval under SAFETEA
                                                                                                         in promulgating this FIP, as required                  does not include Indian country lands,
                                                 reductions as expeditiously as                          under section 49.11, the EPA makes this
                                                 practicable.                                                                                                   including rights-of-way running through
                                                                                                         finding now, to align emissions                        the same, that: (1) qualify as Indian
                                                    Further, the EPA recognizes that                     reduction obligations for any covered
                                                 Indian country, including the CAA                                                                              allotments, the Indian titles to which
                                                                                                         new or existing sources in the CAA                     have not been extinguished, under 18
                                                 section 301(d) FIP areas, is often home                 section 301(d) FIP areas with the larger
                                                 to communities with environmental                                                                              U.S.C. 1151(c); (2) are held in trust by
                                                                                                         schedule of reductions under this rule.                the United States on behalf of an
                                                 justice concerns, and these communities                 Because all other covered EGU and non-
                                                 may bear a disproportionate level of                                                                           individual Indian or Tribe; or (3) are
                                                                                                         EGU sources within the geography of                    owned in fee by a Tribe, if the Tribe (a)
                                                 pollution burden as compared with
                                                                                                         this rule would be subject to emissions                acquired that fee title to such land, or
                                                 other areas of the United States. The
                                                                                                         reductions of uniform stringency                       an area that included such land, in
                                                 EPA’s Fiscal Year 2022–2026 Strategic
                                                                                                         beginning in the 2023 ozone season, and                accordance with a treaty with the
                                                 Plan 119 includes an objective to
                                                                                                         as necessary to fully and expeditiously                United States to which such Tribe was
                                                 promote environmental justice at the
                                                                                                         address good neighbor obligations for                  a party, and (b) never allotted the land
                                                 Federal, Tribal, state, and local levels
                                                                                                         the 2015 ozone NAAQS, there is little                  to a member or citizen of the Tribe
                                                 and states: ‘‘Integration of
                                                                                                         benefit to be had by not including the
                                                 environmental justice principles into all
                                                                                                         CAA section 301(d) FIP areas in this                     121 In ODEQ v. EPA, the D.C. Circuit held that
                                                 EPA activities with Tribal governments
                                                                                                         rule now and a potentially significant                 under the CAA, a state has the authority to
                                                 and in Indian country is designed to be                                                                        implement a SIP in non-reservation areas of Indian
                                                                                                         downside to not doing so.
                                                 flexible enough to accommodate EPA’s                       The Agency recognizes that Tribal                   country in the state, where there has been no
                                                 Tribal program activities and goals,                    governments may still choose to seek
                                                                                                                                                                demonstration of tribal jurisdiction. Under the D.C.
                                                 while at the same time meeting the                                                                             Circuit’s decision, the CAA does not provide
                                                                                                         TAS to develop a Tribal plan with                      authority to states to implement SIPs in Indian
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                                                 Agency’s environmental justice goals.’’                 respect to the obligations under this                  reservations. ODEQ did not, however, substantively
                                                 As described in section X.F of this                     rule, and this determination does not                  address the separate authority in Indian country
                                                 document, the EPA offered Tribal                                                                               provided specifically to Oklahoma under
                                                                                                         preclude the tribes from taking such                   SAFETEA. That separate authority was not invoked
                                                 consultation to 574 Tribes in April of                                                                         until the State submitted its request under
                                                 2022 and received no requests for Tribal                  120 Executive Order 13985 (January 20, 2021) (86     SAFETEA, and was not approved until the EPA’s
                                                                                                         FR 7009 (January 25, 2021)): https://                  decision, described in this section, on October 1,
                                                   119 https://www.epa.gov/system/files/documents/       www.govinfo.gov/content/pkg/FR-2021-01-25/pdf/         2020.
                                                 2022-03/fy-2022-2026-epa-strategic-plan.pdf.            2021-01753.pdf.                                          122 Available in the docket for this rulemaking.




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                                                 (collectively ‘‘excluded Indian country                 allotments or dependent Indian                         believes that the remaining aspects of
                                                 lands’’).                                               communities located outside of an                      this rule can and should continue to be
                                                    The EPA’s approval under SAFETEA                     Indian reservation over which there has                implemented to the extent possible. In
                                                 expressly provided that to the extent                   been no demonstration of tribal                        particular, this action promulgates a FIP
                                                 EPA’s prior approvals of Oklahoma’s                     authority. The EPA’s FIP authority                     for each covered state (and, pursuant to
                                                 environmental programs excluded                         under CAA section 110(c) similarly                     CAA section 301(d), for each area of
                                                 Indian country, any such exclusions are                 applies to Indian allotments or                        tribal jurisdiction within the geographic
                                                 superseded for the geographic areas of                  dependent Indian communities located                   boundaries of those states). Should any
                                                 Indian country covered by the EPA’s                     outside of an Indian reservation over                  jurisdiction-specific aspect of the final
                                                 approval of Oklahoma’s SAFETEA                          which there has been no demonstration                  rule be found invalid, the EPA views
                                                 request.123 The approval also provided                  of tribal authority located in any other               this rule as severable along those state
                                                 that future revisions or amendments to                  state within the geographic scope of this              and/or tribal jurisdictional lines, such
                                                 Oklahoma’s approved environmental                       rule.                                                  that the rule can continue to be
                                                 regulatory programs would extend to                        In light of the relevant legal                      implemented as to any remaining
                                                 the covered areas of Indian country                     authorities discussed above regarding                  jurisdictions. This action promulgates
                                                 (without any further need for additional                the scope of the State of Oklahoma’s                   discrete emissions control requirements
                                                 requests under SAFETEA).                                regulatory jurisdiction under the CAA,                 for the power sector and for each of
                                                    In a Federal Register document                       the EPA has FIP authority under CAA                    seven other industries. Should any
                                                 published on February 13, 2023 (88 FR                   section 110(c) with respect to all Indian              industry-specific aspect of the final rule
                                                 9336), the EPA disapproved the portion                  country in Oklahoma other than                         be found invalid, the EPA views this
                                                 of an Oklahoma SIP submittal                            excluded Indian country lands. To the                  rule as severable as between the
                                                 pertaining to the state’s interstate                    extent any change occurs in the scope                  different industries and different types
                                                 transport obligations under CAA section                 of Oklahoma’s SIP authority in Indian                  of emissions control requirements. This
                                                 110(a)(2)(D)(i)(I) for the 2015 ozone                   country following finalization of this                 is not intended to be an exhaustive list
                                                 NAAQS. Consistent with the D.C.                         rule, and such change affects the                      of the ways in which the rule may be
                                                 Circuit’s decision in ODEQ v. EPA and                   exercise of FIP authority provided under               severable. In the event any part of it is
                                                 with the EPA’s October 1, 2020                          section 110(c) of the Act,126 then, to the             found invalid, our intention is that the
                                                 SAFETEA approval, the EPA has                           extent any such areas would fall more                  remaining portions should continue to
                                                 authority under CAA section 110(c) to                   appropriately within the CAA section                   be implemented consistent with any
                                                 promulgate a FIP as needed to address                   301(d) FIP areas as described in section               judicial ruling.
                                                 the disapproved aspects of Oklahoma’s                   III.C.2.a of this document, the EPA’s                     The EPA’s conclusion that this rule is
                                                 good neighbor SIP submittal.124 In                      necessary or appropriate finding as set                severable also reflects the important
                                                 accordance with the previous                            forth above with respect to all other                  public health and environmental
                                                 discussion, the EPA’s FIP authority in                  CAA section 301(d) FIP areas within the                benefits of this rulemaking in
                                                 this circumstance extends to all Indian                 geographic scope of coverage of the rule               eliminating significant contribution and
                                                 country in Oklahoma, other than the                     would apply.                                           to ensure to the greatest extent possible
                                                 excluded Indian country lands, as                                                                              the ability of both upwind states and
                                                 described previously.125 Because—per                    D. Severability
                                                                                                                                                                downwind states and other relevant
                                                 the State’s request under SAFETEA—                        The EPA regards this action as a
                                                                                                                                                                stakeholders to be able to rely on this
                                                 EPA’s October 1, 2020 approval does                     complete remedy, which will as
                                                                                                                                                                final rule in their planning. Cf.
                                                 not displace any SIP authority                          expeditiously as practicable implement
                                                                                                                                                                Wisconsin, 938 F.3d at 336–37 (‘‘As a
                                                 previously exercised by the State under                 good neighbor obligations for the 2015
                                                                                                                                                                general rule, we do not vacate
                                                 the CAA as interpreted in ODEQ v. EPA,                  ozone NAAQS for the covered states,
                                                                                                                                                                regulations when doing so would risk
                                                 the EPA’s FIP authority under CAA                       consistent with the requirements of the
                                                                                                                                                                significant harm to the public health or
                                                 section 110(c) also applies to any Indian               Act. See North Carolina v. EPA, 531
                                                                                                                                                                the environment.’’); North Carolina v.
                                                                                                         F.3d 896, 911–12 (D.C. Cir. 2008);
                                                                                                                                                                EPA, 550 F.3d 1176, 1178 (D.C. Cir.
                                                   123 The EPA’s prior approvals relating to
                                                                                                         Wisconsin v. EPA, 938 F.3d 303, 313–
                                                 Oklahoma’s SIP frequently noted that the SIP was                                                               2008) (noting the need to preserve
                                                                                                         20 (D.C. Cir. 2019); Maryland v. EPA,
                                                 not approved to apply in areas of Indian country                                                               public health benefits); EME Homer City
                                                                                                         958 F.3d 1185, 1204 (D.C. Cir. 2020);
                                                 (consistent with the D.C. Circuit’s decision in                                                                v. EPA, 795 F.3d 118, 132 (D.C. Cir.
                                                 ODEQ v. EPA) located in the state. See, e.g., 85 FR     New York v. EPA, 964 F.3d 1214, 1226
                                                                                                                                                                2015) (noting the need to avoid
                                                 20178, 20180 (April 10, 2020). Such prior expressed     (D.C. Cir. 2020); New York v. EPA, 781
                                                 limitations are superseded by the EPA’s approval of                                                            disruption to emissions trading market
                                                                                                         Fed. App’x 4, 7–8 (D.C. Cir. 2019) (all
                                                 Oklahoma’s SAFETEA request.                                                                                    that had developed).
                                                   124 The antecedent fact that the state had the
                                                                                                         holding that the EPA must address good
                                                 authority and jurisdiction to implement                 neighbor obligations as expeditiously as               IV. Analyzing Downwind Air Quality
                                                 requirements under the good neighbor provision, in      practicable and by no later than the next              Problems and Contributions From
                                                 the EPA’s view, supplies the condition necessary        applicable attainment date). Yet should                Upwind States
                                                 for the Agency to exercise its FIP authority to the
                                                 extent the EPA has disapproved the state’s SIP
                                                                                                         a court find any discrete aspect of this               A. Selection of Analytic Years for
                                                 submission with respect to those requirements.          document to be invalid, the Agency                     Evaluating Ozone Transport
                                                 Under CAA section 110(c), the EPA ‘‘stands in the
                                                 shoes of the defaulting state, and all of the rights      126 On December 22, 2021, the EPA proposed to
                                                                                                                                                                Contributions to Downwind Air Quality
                                                 and duties that would otherwise fall to the state       withdraw and reconsider the October 1, 2020,           Problems
                                                 accrue instead to the EPA.’’ Central Ariz. Water        SAFETEA approval. See https://www.epa.gov/ok/            In this section, the EPA describes its
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                                                 Conservation Dist. v. EPA, 990 F.2d 1531, 1541 (9th     proposed-withdrawal-and-reconsideration-and-
                                                 Cir. 1993).                                             supporting-information. The EPA is engaging in
                                                                                                                                                                process for selecting analytic years for
                                                   125 With respect to those areas of Indian country     further consultation with tribal governments and       air quality modeling and analyses
                                                 constituting ‘‘excluded Indian country lands’’ in the   expects to have discussions with the State of          performed to identify nonattainment
                                                 State of Oklahoma, as defined supra, the EPA            Oklahoma as part of this reconsideration. The EPA      and maintenance receptors and identify
                                                 applies the same necessary or appropriate finding       also notes that the October 1, 2020, approval is the
                                                 as set forth above with respect to all other 301(d)     subject of a pending challenge in Federal court.
                                                                                                                                                                upwind state linkages. For this final
                                                 FIP areas within the geographic scope of coverage       Pawnee Nation of Oklahoma v. Regan, No. 20–9635        rule, the EPA evaluated air quality to
                                                 of the rule.                                            (10th Cir.).                                           identify receptors at Step 1 for two


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                                                 analytic years: 2023 and 2026. The EPA                  areas. As noted above, 2023 and 2026                   relevant downwind deadlines the EPA
                                                 evaluated interstate contributions to                   coincide with the last full ozone seasons              must align with in implementing the
                                                 these receptors from individual upwind                  before future attainment dates for the                 good neighbor provision. In Wisconsin,
                                                 states at Step 2 for these two analytic                 2015 ozone NAAQS. In addition, 2026                    the court held, ‘‘In sum, under our
                                                 years. In selecting these years, the EPA                coincides with the ozone season by                     decision in North Carolina, the Good
                                                 views 2023 and 2026 to constitute years                 which key additional emissions                         Neighbor Provision calls for elimination
                                                 by which key emissions reductions from                  reductions from EGUs and non-EGUs                      of upwind States’ significant
                                                 EGUs and non-EGUS can be                                become available. Thus, the EPA                        contributions on par with the relevant
                                                 implemented ‘‘as expeditiously as                       analyzed additional years beyond 2023                  downwind attainment deadlines.’’
                                                 practicable.’’ In addition, these years are             to determine whether any additional                    Wisconsin, 938 F.3d. at 321 (emphasis
                                                 the last full ozone seasons before the                  emissions reductions that are                          added).
                                                 Moderate and Serious area attainment                    impossible to obtain by the 2024                          After that decision, the EPA
                                                 dates for the 2015 ozone NAAQS (ozone                   attainment date could still be necessary               interpreted Wisconsin as limited to the
                                                 seasons run each year from May 1–                       to fully address significant contribution.             attainment dates for Moderate or higher
                                                 September 30). To demonstrate                           In all cases, implementation of                        classifications under CAA section 181
                                                 attainment by these deadlines,                          necessary emissions reductions is as                   on the basis that Marginal
                                                 downwind states would be required to                    expeditiously as practicable, with all                 nonattainment areas have reduced
                                                 rely on design values calculated using                  possible emissions reductions                          planning requirements and other
                                                 ozone data from 2021 through 2023 and                   implemented by the next applicable                     considerations. See, e.g., 85 FR 29882,
                                                 2024 through 2026, respectively. By                     attainment date.                                       29888–89 (May 19, 2020) (proposed
                                                 focusing its analysis, and, potentially,                   The timing framework and selection                  approval of South Dakota’s 2015 ozone
                                                 achieving emissions reductions by, the                  of analytic years set forth above                      NAAQS good neighbor SIP). However,
                                                 last full ozone seasons before the                      comports with the D.C. Circuit’s                       on May 19, 2020, the D.C. Circuit in
                                                 attainment dates (i.e., in 2023 or 2026),               direction in Wisconsin that                            Maryland v. EPA, 958 F.3d 1185 (D.C.
                                                 this final rule can assist the downwind                 implementing good neighbor obligations                 Cir. 2020), applying the Wisconsin
                                                 areas with demonstrating attainment or                  beyond the dates established for                       decision, rejected that argument and
                                                 receiving extensions of attainment dates                attainment may be justified on a proper                held that the EPA must assess air
                                                 under CAA section 181(a)(5). (The EPA                   showing of impossibility or necessity.                 quality at the next downwind
                                                 explains in detail in sections V and VI                 See 938 F.3d at 320.                                   attainment date, including Marginal
                                                 of this document its determinations                        Comment: A commenter claims that                    area attainment dates under CAA
                                                 regarding which emissions reduction                     the EPA has not followed the holdings                  section 181, in evaluating the basis for
                                                 strategies can be implemented by 2023,                  of Wisconsin v. EPA, 938 F.3d 303 (D.C.                the EPA’s denial of a petition under
                                                 and which emissions reduction                           Cir. 2019), North Carolina v. EPA, 550                 CAA section 126(b). 958 F.3d at 1203–
                                                 strategies require additional time                      F.3d 1176 (D.C. Cir. 2008), and                        04. After Maryland, the EPA
                                                 beyond that ozone season, or the 2026                   Maryland v. EPA, 958 F. 3d 1185 (D.C.                  acknowledged that the Marginal
                                                 ozone season.)                                          Cir. 2020) in the selection of analytic                attainment date is the first attainment
                                                    It would not be logical for the EPA to               years, in that commenter interprets                    date to consider in evaluating good
                                                 analyze any earlier year than 2023. The                 those decisions as holding that the EPA                neighbor obligations. See, e.g., 85 FR
                                                 EPA continues to interpret the good                     must ‘‘harmonize’’ the exact timing of                 67653, 67654 (Oct. 26, 2020) (final
                                                 neighbor provision as forward-looking,                  upwind emissions reductions with                       approval of South Dakota’s 2015 ozone
                                                 based on Congress’s use of the future-                  when downwind states implement their                   NAAQS good neighbor SIP).
                                                 tense ‘‘will’’ in CAA section                           required reductions. Commenter also                       The D.C. Circuit again had occasion to
                                                 110(a)(2)(D)(i), an interpretation upheld               points to the EPA’s proposed action on                 revisit the Agency’s interpretation of
                                                 in Wisconsin, 938 F.3d at 322. It would                 New York’s Good Neighbor SIP                           North Carolina, Wisconsin, and
                                                 be ‘‘anomalous,’’ id., for the EPA to                   submission specifically to argue that the              Maryland, in a challenge to the Revised
                                                 impose good neighbor obligations in                     EPA is treating upwind and downwind                    CSAPR Update brought by the Midwest
                                                 2023 and future years based solely on                   states dissimilarly. Commenter also                    Ozone Group (MOG). The court
                                                 finding that ‘‘significant contribution’’               cites CAA sections 172, 177, and 179 to                declined to entertain similar arguments
                                                 had existed at some time in the past. Id.               argue the EPA did not properly align                   to those presented by commenters here
                                                    Applying this framework in the                       upwind and downwind obligations.                       and instead in a footnote explained that
                                                 proposal, the EPA recognized that the                   Several commenters believe the EPA                     it had ‘‘exhaustively summarized the
                                                 2021 Marginal area attainment date had                  should defer implementing good                         regulatory framework governing EPA’s
                                                 already passed. Further, based on the                   neighbor requirements until downwind                   conduct’’ and that it ‘‘[drew] on those
                                                 timing of the proposal, it was not                      receptor areas have first implemented                  decisions and incorporate them herein
                                                 possible to finalize this rulemaking                    their own emissions control strategies.                by reference,’’ citing, among other cases,
                                                 before the 2022 ozone season had also                      Response: The EPA maintains that                    Maryland, 958 F.3d 1185, and New
                                                 passed. Thus, the EPA has selected 2023                 2023 is an appropriate analytic year and               York, 781 F. App’x 4. MOG v. EPA, No.
                                                 as the first appropriate future analytic                comports with the relevant caselaw.                    21–1146 (D.C. Cir. March 3, 2023), Slip
                                                 year for this final rule because it reflects            Section VI.A further discusses the                     Op. at 3 n.1.
                                                 implementation of good neighbor                         compliance schedule for emissions                         The relevance of CAA sections 172,
                                                 obligations as expeditiously as                         reductions under this rule. Commenter                  177, and 179 to the selection of the
                                                                                                         misreads the North Carolina, Wisconsin,                analytic year in this action is not clear.
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                                                 practicable and coincides with the
                                                 August 3, 2024, Moderate area                           and Maryland decisions as calling for                  Commenter cites these provisions to
                                                 attainment date established for the 2015                good neighbor analysis and emissions                   conclude that the EPA did not
                                                 ozone NAAQS.                                            controls to be aligned with the timing of              appropriately consider downwind
                                                    The EPA conducted additional                         the implementation of nonattainment                    attainment deadlines and the timing of
                                                 analysis for 2026 to ensure a complete                  controls by downwind states. However,                  upwind good neighbor obligations.
                                                 Step 3 analysis for future ozone                        the D.C. Circuit has held that the                     These provisions are found in subpart I,
                                                 transport contributions to downwind                     statutory attainment dates are the                     and while they may have continuing


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                                                 relevance or applicability to aspects of                Wisconsin, 938 F.3d at 316. See also                   of flexibility for the EPA to consider in
                                                 ozone nonattainment planning                            Natural Resources Defense Council v.                   the timing of implementation of good
                                                 requirements, the nonattainment dates                   EPA, 777 F.3d 456, 466–68 (D.C. Cir.                   neighbor obligations, as Wisconsin
                                                 for the 2015 ozone NAAQS flow from                      2014) (holding the EPA cannot adjust                   recognized, it is not the case that the
                                                 subpart 2 of title I of the CAA, and                    the section 181 attainment schedule to                 EPA must delay or defer good neighbor
                                                 specifically CAA section 181(a).                        run from any other date than from the                  obligations for that reason, and neither
                                                 Applying that statutory schedule to the                 date of designation); id. at 468 (‘‘EPA                the D.C. Circuit nor any other court has
                                                 designations for the 2015 ozone                         identifies no statutory provision giving               so held.
                                                 NAAQS, the EPA has promulgated the                      it free-form discretion to set Subpart 2                  Commenter is therefore incorrect to
                                                 applicable attainment dates in its                      compliance deadlines based on its own                  the extent that they argue the selection
                                                 regulations at 40 CFR 51.1303. The                      policy assessment concerning the                       of 2023 as an analytic year for upwind
                                                 effective date of the initial designations              number of ozone seasons within which                   obligations results in the misalignment
                                                 for the 2015 ozone NAAQS was August                     a nonattainment area should be                         of downwind and upwind state
                                                 3, 2018 (83 FR 25776, June 4, 2018,                     expected to achieve compliance.’’)                     obligations. To the contrary, both
                                                 effective August 3, 2018).127 Thus, the                 (citing and quoting Whitman v.                         downwind and upwind state obligations
                                                 first deadline for attainment planning                  American Trucking Ass’ns, 531 U.S.                     are driven by the statutory attainment
                                                 under the 2015 ozone NAAQS was the                      457, 484, (2001) (‘‘The principal                      date of August 3, 2024 for Moderate
                                                 Marginal attainment date of August 3,                   distinction between Subpart 1 and                      areas, and the last year that air quality
                                                 2021, and the second deadline for                       Subpart 2 is that the latter eliminates                data may impact whether nonattainment
                                                 attainment planning is the Moderate                     regulatory discretion that the former                  areas are found to have attained by the
                                                 attainment date of August 3, 2024. If a                 allowed.’’). Furthermore, as the court in              attainment date is 2023. That is why, in
                                                 Marginal area fails to attain by the                    NRDC noted, ‘‘[T]he ‘attainment                        the recent final rulemaking
                                                 attainment date it is reclassified, or                  deadlines . . . leave no room for claims               determinations that certain Marginal
                                                 ‘‘bumped up,’’ to Moderate. Indeed, the                 of technological or economic                           areas failed to attain by the attainment
                                                 EPA has just completed a rulemaking                     infeasibility.’ ’’ 777 F.3d at 488 (quoting            date, bumping those areas up to
                                                 action reclassifying many areas of the                  Sierra Club, 294 F.3d at 161) (internal                Moderate, and giving them SIP
                                                 country from Marginal to Moderate                       quotation marks and brackets omitted).                 submission deadlines, reasonably
                                                 nonattainment, including all of the areas                                                                      available control measures (RACM), and
                                                                                                            With the exception of the Uinta Basin,              reasonably RACT implementation
                                                 where downwind receptors have been
                                                                                                         which is not an identified receptor in                 deadlines, the EPA set the attainment
                                                 identified in our 2023 modeling as well
                                                                                                         this action, no Marginal nonattainment                 SIP submission deadlines for the
                                                 as many other areas of the country. 87
                                                                                                         area met the conditions of CAA section                 bumped up Moderate areas to be
                                                 FR 60897, 60899 (Oct. 7, 2022).
                                                    Other than under the narrow                          181(a)(5) to obtain a one-year extension               January 1, 2023. See 87 FR 60897, 60900
                                                 circumstances of CAA section 181(a)(5)                  of the Moderate area attainment date. 87               (Oct. 7, 2022). The implementation
                                                 (discussed further in this section), the                FR 60899. Thus, all Marginal areas                     deadline for RACM and RACT is also
                                                 EPA is not permitted under the CAA to                   (other than Uinta) that failed to attain               January 1, 2023. Id. This was in large
                                                 extend the attainment dates for areas                   have been reclassified to Moderate. Id.                part driven by the EPA’s ozone
                                                 under a given classification. That is, no               (And the New York City Metropolitan                    implementation regulations, 40 CFR
                                                 matter when or if the EPA finalizes a                   nonattainment area was initially                       51.1312(a)(3)(i), which previously
                                                 determination that an area failed to                    classified as Moderate (see following                  established a RACT implementation
                                                 attain by its attainment date and                       text for further details).) Even if the EPA            deadline for initially classified
                                                 reclassifies that area, the attainment                  had extended the attainment date for                   Moderate as no later than January 1,
                                                 date remains fixed, based on the number                 any of the downwind areas, it is not                   2023, and the modeling and attainment
                                                 of years from the area’s initial                        clear that it would necessarily follow                 demonstration requirements in 40 CFR
                                                 designation. See, e.g., CAA section                     that the EPA must correspondingly                      51.1308(d), which require a state to
                                                 182(i) (authorizing the EPA to adjust                   extend or delay the implementation of                  provide for implementation of all
                                                 any applicable deadlines for newly                      good neighbor obligations. While the                   control measures needed for attainment
                                                 reclassified areas ‘‘other than attainment              Wisconsin court recognized extensions                  no later than the beginning of the
                                                 dates’’). As the D.C. Circuit has                       under CAA section 181(a)(5) as a                       attainment year ozone season (i.e.,
                                                 repeatedly made clear, the statutory                    possible source of timing flexibility in               2023). Given this regulatory history, the
                                                 attainment schedule of the downwind                     implementing the good neighbor                         EPA can hardly be accused of letting
                                                 nonattainment areas under subpart 2 is                  provision, 938 F.3d at 320, the EPA and                states with nonattainment areas for the
                                                 rigorously enforced and is not subject to               the states are still obligated to                      2015 ozone NAAQS avoid or delay their
                                                 change based on policy considerations                   implement good neighbor reductions as                  mandatory CAA obligations.
                                                 of the EPA or the states.                               expeditiously as practicable and are also                 Commenter’s proposal that the EPA
                                                                                                         obligated under the good neighbor                      align good neighbor obligations with the
                                                   [T]he attainment deadlines, the Supreme
                                                                                                         provision to address ‘‘interference with               actual implementation of measures in
                                                 Court has said, are ‘‘the heart’’ of the Act.
                                                 Train v. Nat. Res. Def. Council, 421 U.S. 60,           maintenance.’’ Areas that have obtained                downwind areas is untethered from the
                                                 66, 95 S.Ct. 1470, 43 L.Ed.2d 731 (1975); see           an extension under CAA section                         statute, as discussed above. It is also
                                                 Sierra Club v. EPA, 294 F.3d 155, 161 (D.C.             181(a)(5) or which are not designated as               unworkable in practice. It would
                                                 Cir. 2002) (‘‘the attainment deadlines are              in nonattainment could still be                        necessitate coordinating the activities of
                                                 central to the regulatory scheme’’) (alteration         identified as struggling to maintain the
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                                                                                                                                                                multiple states and EPA regional and
                                                 and internal quotation marks omitted). The              NAAQS, and the EPA is obligated under                  headquarters offices to an impossible
                                                 Act’s central object is the ‘‘attain[ment] [of]         the good neighbor provision to                         degree and effectively could preclude
                                                 air quality of specified standards [within] a
                                                 specified period of time.’’ Train, 421 U.S. at          eliminate upwind emissions interfering                 the implementation of good neighbor
                                                 64–65, 95 S.Ct. 1470.                                   with the ability to maintain the NAAQS,                obligations altogether. Commenter does
                                                                                                         as well. North Carolina, 531 F.3d at                   not explain how the EPA or upwind
                                                   127 September 24, 2018, for the San Antonio area.     908–11. Thus, while an extension under                 states should coordinate upwind
                                                 83 FR 35136 (July 25, 2018).                            CAA section 181(a)(5) may be a source                  emissions control obligations for states


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                                                 linked to multiple downwind receptors                   York’s SCCT controls were not included                 further responds to these comments in
                                                 whose states may be implementing their                  by New York in its good neighbor SIP                   the RTC document in the docket.
                                                 requirements on different timetables.                   submission, nor was the prior approval                   The remainder of this section
                                                 Less drastic mechanisms than subjecting                 of the SCCT controls reexamined by the                 includes information on (1) the air
                                                 people living in downwind receptor                      EPA or reopened for consideration by                   quality modeling platform used in
                                                 areas to continuing high levels of air                  the Agency in this action. Although not                support of the final rule with a focus on
                                                 pollution caused in part by upwind-                     part of this rulemaking, the EPA notes                 the base year and future year base case
                                                 state pollution are available if the actual             that the SCCT controls were approved                   emissions inventories, (2) the method
                                                 implementation of mandatory CAA                         by the EPA as a SIP strengthening                      for projecting design values in 2023 and
                                                 requirements in the downwind areas is                   measure and not to satisfy any specific                2026, and (3) the approach for
                                                 delayed: CAA section 304(a)(2) provides                 planning requirements for the 2015                     calculating ozone contributions from
                                                 for judicial recourse where there is an                 ozone NAAQS under CAA section 182.                     upwind states. The Agency also
                                                 alleged failure by the Agency to perform                86 FR 43956, 43958 (Aug. 11, 2021). The                provides the design values for
                                                 a nondiscretionary duty; that recourse is               SCCT controls submitted to the EPA                     nonattainment and maintenance
                                                 for the Agency to be placed on a court-                 were already a state rule, and the only                receptors and the largest predicted
                                                 ordered deadline to address the relevant                effect under the CAA of the EPA                        downwind contributions in 2023 and
                                                 obligations. See Oklahoma v. U.S. EPA,                  approving them into New York’s SIP                     2026 from each state. The 2016 base
                                                 723 F.3d 1201, 1223–24 (10th Cir. 2013);                was to make them federally enforceable.                period and 2023 and 2026 projected
                                                 Montana Sulphur and Chemical Co. v.                     86 FR 43956, 43959 (Aug. 11, 2021). In                 design values and contributions for all
                                                 U.S. EPA, 666 F.3d 1174, 1190–91 (9th                   other words, approval of the SCCT                      ozone monitoring sites are provided in
                                                 Cir. 2012). Commenter focuses on the                    controls did not relieve New York of its               the docket for this rule. The ‘‘Air
                                                 EPA’s evaluation of New York’s Good                     nonattainment planning obligations for                 Quality Modeling Technical Support
                                                 Neighbor SIP submission to argue the                    the 2015 ozone NAAQS.                                  Document for the Federal Good
                                                 EPA is treating upwind and downwind                        The EPA notes that the New York-                    Neighbor Plan for the 2015 Ozone
                                                 states dissimilarly. The argument                       Northern New Jersey-Long Island, NY-                   National Ambient Air Quality Standards
                                                 conflates New York’s role as both a                     NJ-CT nonattainment area was initially                 Final Rulemaking’’ (Mar. 2023),
                                                 downwind and an upwind state. In                        designated as Moderate nonattainment.                  hereinafter referred to as the Air Quality
                                                 evaluating the Good Neighbor SIP                        83 FR 25776 (June 4, 2018). Pursuant to                Modeling Final Rule TSD, in the docket
                                                 submission that New York submitted,                     this designation, New York was                         for this final rule contains more detailed
                                                 the EPA identified as a basis for                       required to submit a RACT SIP                          information on the air quality modeling
                                                 disapproval that none of the state                      submission and an attainment                           aspects of this rule.
                                                 emissions control programs New York                     demonstration no later than 24 months
                                                                                                         and 36 months, respectively, after the                 B. Overview of Air Quality Modeling
                                                 cited included implementation                                                                                  Platform
                                                 timeframes to achieve the reductions, let               effective date of the Moderate
                                                 alone ensure they were achieved by                      designation. CAA section 182; 40 CFR                     The EPA used version 3 of the 2016-
                                                 2023. 87 FR 9484, 9494 (Feb. 22, 2022).                 51.1308(a), 51.1312(a)(2). New York                    based modeling platform (i.e., 2016v3)
                                                 The EPA conducted the same inquiry                      submitted a RACT SIP for the 2015                      for the air quality modeling for this final
                                                 into other states’ claims regarding their               ozone standards on January 29, 2021,128                rule. This modeling platform includes
                                                 existing or proposed state laws or other                and the EPA is currently evaluating that               2016 base year emissions from
                                                 emissions reductions claimed in their                   submission. New York has not yet                       anthropogenic and natural sources and
                                                 SIP submissions. See, e.g., 87 FR 9472–                 submitted its attainment demonstration,                anthropogenic emissions projections for
                                                 73 (evaluating claims regarding                         which was due August 3, 2021. Further,                 2023 and 2026. The emissions data
                                                 emissions reductions anticipated under                  the New York-Northern New Jersey-                      contained in this platform represent an
                                                 Maryland’s state law); 87 FR 9854                       Long Island, NY-NJ-CT nonattainment                    update to the 2016 version 2 inventories
                                                 (evaluating claims regarding emissions                  area remains subject to the Moderate                   used for the proposal modeling.
                                                                                                         nonattainment area date of August 3,                     The air quality modeling for this final
                                                 reductions anticipated under Illinois’
                                                                                                         2024. If it fails to attain the 2015 ozone             rule was performed for a modeling
                                                 state law). Consistent with its treatment
                                                                                                         NAAQS by August 3, 2024, it will be                    region (i.e., modeling domain) that
                                                 of the other upwind states included in
                                                                                                         reclassified to Serious nonattainment,                 covers the contiguous 48 states using a
                                                 this action, the EPA in a separate action
                                                                                                         resulting in additional requirements on                horizontal resolution of 12 x 12 km. The
                                                 disapproved New York’s good neighbor
                                                                                                         the New York nonattainment area.                       EPA used the CAMx version 7.10 for air
                                                 SIP submission for the 2015 ozone
                                                                                                           In any case, regardless of the status of             quality modeling which is the same
                                                 NAAQS because its arguments did not
                                                                                                         New York’s and the EPA’s efforts in                    model that EPA used for the proposed
                                                 demonstrate that it had fully prohibited
                                                                                                         relation to the New York-Northern New                  rule air quality modeling.129 Additional
                                                 emissions significantly contributing to
                                                                                                         Jersey-Long Island, NY-NJ-CT                           information on the 2016-based air
                                                 out of state nonattainment or
                                                                                                         nonattainment area (which are outside                  quality modeling platform can be found
                                                 maintenance problems.
                                                                                                         the scope of this action), the EPA’s                   in the Air Quality Modeling Final Rule
                                                    Commenter attempts to contrast this                                                                         TSD.
                                                                                                         evaluation of 2023 as the relevant
                                                 evaluation with what it believes is the                                                                          Comment: Commenters noted that the
                                                                                                         analytic year in assessing New York’s
                                                 EPA’s permissive attitude toward delays                                                                        2016 base year summer maximum daily
                                                                                                         and other states’ good neighbor
                                                 by downwind states, specifically                                                                               average 8-hour (MDA8) ozone
                                                                                                         obligations is consistent with the
                                                 claiming that ‘‘certain nonattainment
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                                                                                                         statutory framework and court decisions                predictions from the proposal modeling
                                                 areas have delayed implementation of                                                                           were biased low compared to the
                                                                                                         calling on the agency to align these
                                                 nonattainment controls until 2025 and                                                                          corresponding measured concentrations
                                                                                                         obligations with the downwind areas’
                                                 beyond.’’ This apparently references                                                                           in certain locations. In this regard,
                                                                                                         statutory attainment schedule. The EPA
                                                 New York’s simple cycle and                                                                                    commenters said that model
                                                 regenerative combustion turbines                          128 https://edap.epa.gov/public/extensions/S4S_
                                                 (SCCT) controls, which commenter                        Public_Dashboard_2/S4S_Public_Dashboard_                 129 Ramboll Environment and Health, January

                                                 cited elsewhere in its comments. New                    2.html.                                                2021, https://www.camx.com.



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                                                 performance statistics for a number of                  emissions in the U.S. dramatically                        under-predict daytime ozone
                                                 monitoring sites, particularly those in                 increase from spring to summer.131 132 In                 concentrations at rural and remote
                                                 portions of the West and in the area                    contrast, ozone transported into the U.S.                 monitoring sites across the U.S. during
                                                 around Lake Michigan, were outside the                  from international anthropogenic and                      the spring of 2016 whereas the
                                                 range of published performance criteria                 natural sources peaks during the period                   predictions from the GEOS-Chem global
                                                 for normalized mean bias (NMB) and                      March through June, with lower                            model 137 were generally less biased.138
                                                 normalized mean error (NME) of less                     contributions during July through                         During the summer of 2016 both models
                                                 than ±15 percent and less than 25                       September.133 134 To investigate the                      showed varying degrees of over
                                                 percent, respectively (Emory, et al.,                   impacts of these sources, EPA                             prediction with GEOS-Chem showing
                                                 2017).130 The commenters said EPA                       conducted sensitivity model runs which                    somewhat greater over-prediction,
                                                 must investigate the factors contributing               focused on the effects on model                           compared to H–CMAQ. In view of those
                                                 to low bias and make necessary                          performance of adding NOX emissions                       results, EPA examined the impacts of
                                                 corrections to improve model                            from lightning strikes, updating                          using GEOS-Chem as an alternative to
                                                 performance in the final rule modeling.                 biogenic emissions, and using an                          H–CMAQ for providing boundary
                                                 Some commenters said that EPA should                    alternative approach for quantifying                      conditions for the final rule modeling.
                                                 include NOX emissions from lightning                    transport of ozone and precursor                             For the lightning NOX, biogenics, and
                                                 strikes and assess the treatment of other               pollutants into the U.S. from                             GEOS-Chem sensitivity runs, EPA reran
                                                 background sources of ozone to improve                  international anthropogenic and natural                   the proposal modeling using each of
                                                 model performance for the final rule.                   sources. The development of lightning                     these inputs, individually. Results from
                                                 Additional information on the                           NOX emissions and the updates to                          these sensitivity runs indicate that each
                                                 comments on model performance can be                    biogenic emissions, are described in                      of the three updates provides an
                                                 found in the RTC document for this                      section IV.C of this document. In the                     improvement in model performance.
                                                 final rule.                                             proposal modeling the amount of                           However, by far the greatest
                                                    Response: In response to these                       transport from international                              improvement in model performance is
                                                 comments EPA examined the temporal                      anthropogenic and natural sources was                     attributable to the use of GEOS-Chem. In
                                                 and spatial characteristics of model                    based on a simulation of the                              view of these results EPA has included
                                                 under prediction to investigate the                     hemispheric version of the Community                      lightning NOX emissions, updated
                                                 possible causes of under prediction of                  Multi-scale Air Quality Model (H–                         biogenic emissions, and international
                                                 MDA8 ozone concentrations in different                  CMAQ) for 2016.135 The outputs from                       transport from GEOS-Chem in the final
                                                 regions of the U.S. in the proposal                     this hemispheric modeling were then                       rule air quality modeling. Details on the
                                                 modeling. EPA’s analysis indicates that                 used to provide boundary conditions for                   results of the individual sensitivity runs
                                                 the under prediction was most extensive                 national scale air quality modeling at                    can be found in the Air Quality
                                                 during May and June with less bias                      proposal.136 Overall, H–CMAQ tends to                     Modeling Final Rule TSD. For the air
                                                 during July and August in most regions                                                                            quality modeling supporting this final
                                                 of the U.S. For example, in the Upper                      131 Guenther, A.B., 1997. Seasonal and spatial         action, model performance based on
                                                 Midwest region model under prediction                   variations in natural volatile organic compound           days in 2016 with measured MDA8
                                                 was larger in May and June compared to                  emissions. Ecol. Appl. 7, 34–45. https://doi.org/         ozone ≥60 ppb is considerably improved
                                                 July through September. Specifically, in                10.1890/1051-
                                                                                                         0761(1997)007[0034:SASVIN]2.0.CO;2. Guenther,             (i.e., less bias and error) compared to the
                                                 the proposal modeling, the normalized                   A., Hewitt, C.N., Erickson, D., Fall, R.                  proposal modeling in nearly all regions
                                                 mean bias for days with measured                           132 Kang D, Mathur R, Pouliot GA, Gilliam RC,          of the U.S. For example, in the Upper
                                                 concentrations ≥60 ppb improved from                    Wong DC. Significant ground-level ozone attributed        Midwest, which includes monitoring
                                                 a 21.4 percent under prediction for May                 to lightning-induced nitrogen oxides during
                                                                                                                                                                   sites along Lake Michigan, the
                                                 and June to a 12.6 percent under                        summertime over the Mountain West States. NPJ
                                                                                                         Clim Atmos Sci. 2020 Jan 30;3:6. doi: 10.1038/            normalized mean bias improved from a
                                                 prediction in the period July through                   s41612–020–0108–2. PMID: 32181370; PMCID:                 19 percent under prediction to a 6.9
                                                 September. As described in the Air                      PMC7075249.                                               percent under prediction and in the
                                                 Quality Modeling Final Rule TSD, the                       133 Jaffe DA, Cooper OR, Fiore AM, Henderson
                                                                                                                                                                   Southwest region, which includes
                                                 seasonal pattern in bias in the Upper                   BH, Tonnesen GS, Russell AG, Henze DK, Langford
                                                                                                         AO, Lin M, Moore T. Scientific assessment of              monitoring sites in Denver and Salt
                                                 Midwest region improves somewhat                        background ozone over the U.S.: Implications for air      Lake City, normalized mean bias
                                                 gradually with time from the middle of                  quality management. Elementa (Wash DC).                   improved from a 13.6 percent under
                                                 May to the latter part of June. In view                 2018;6(1):56. doi: 10.1525/elementa.309. PMID:            prediction to a 4.8 percent under
                                                 of the seasonal pattern in bias in the                  30364819; PMCID: PMC6198683.
                                                                                                            134 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,    prediction.139 In all regions, the
                                                 Upper Midwest and in other regions of
                                                                                                         J. Vukovich, R. Mathur, C. Hogrefe, N. Possiel, G.
                                                 the U.S., EPA focused its investigation                 Pouliot, B. Timin, K.W. Appel, 2019. Global               modeling can be found in the Air Quality Modeling
                                                 of model performance on model inputs                    Sources of North American Ozone. Presented at the         Final Rule TSD.
                                                 that, by their nature, have the largest                 18th Annual Conference of the UNC Institute for the          137 I. Bey, D.J. Jacob, R.M. Yantosca, J.A. Logan,

                                                 temporal variation within the ozone                     Environment Community Modeling and Analysis               B.D. Field, A.M. Fiore, Q. Li, H.Y. Liu, L.J. Mickley,
                                                                                                         System (CMAS) Center, October 21–23, 2019.                M.G. Schultz. Global modeling of tropospheric
                                                 season. These inputs include emissions                     135 Mathur, R., Gilliam, R., Bullock, O.R., Roselle,   chemistry with assimilated meteorology: model
                                                 from biogenic sources and lightning                     S., Pleim, J., Wong, D., Binkowski, F., and 1 Streets,    description and evaluation. J. Geophys. Res.
                                                 NOX, and contributions from transport                   D.: Extending the applicability of the community          Atmos., 106 (2001), pp. 23073–23095, 10.1029/
                                                 of international anthropogenic                          multiscale air quality model to 2 hemispheric             2001jd000807.
                                                                                                         scales: motivation, challenges, and progress. In:            138 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,
                                                 emissions and natural sources into the                  Steyn DG, Trini S (eds) Air 3 pollution modeling          J. Vukovich, R. Mathur, C. Hogrefe, G., N. Possiel,
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                                                 U.S. Both biogenic and lightning NOX                    and its applications, XXI. Springer, Dordrecht, pp        B. Timin, K.W. Appel, 2022. Meteorological and
                                                                                                         175–179, 2012.                                            Emission Sensitivity of Hemispheric Ozone and
                                                   130 Christopher Emery, Zhen Liu, Armistead G.            136 Boundary conditions are the concentrations of      PM2.5. Presented at the 21st Annual Conference of
                                                 Russell, M. Talat Odman, Greg Yarwood & Naresh          pollutants along the north, east, south, and west         the UNC Institute for the Environment Community
                                                 Kumar (2017) Recommendations on statistics and          boundaries of the air quality modeling domain.            Modeling and Analysis System (CMAS) Center,
                                                 benchmarks to assess photochemical model                Boundary conditions vary in space and time and are        October 17–19, 2022.
                                                 performance, Journal of the Air & Waste                 typically obtained from predictions of global or             139 A comparison of model performance from the

                                                 Management Association, 67:5, 582–598, DOI:             hemispheric models. Information on how boundary           proposal modeling to the final modeling for
                                                 10.1080/10962247.1265027.                               conditions were developed for the final rule                                                          Continued




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                                                 normalized mean bias and normalized                     Emissions Modeling TSD. This TSD is                    updated to use the latest available
                                                 mean error statistics for high ozone days               available in the docket for this rule.141              versions of the Biogenic Emissions
                                                 based on the final rule modeling are                                                                           Inventory System and associated land
                                                                                                         1. Foundation Emissions Inventory Data
                                                 within the range of performance criteria                                                                       use data to help address comments
                                                                                                         Sets
                                                 benchmarks (i.e., < ±15 percent for                                                                            related to a degradation in model
                                                 normalized mean bias and <25 percent                       The 2016v3 emissions platform is                    performance in the 2016v2 platform as
                                                                                                         comprised of data from various sources                 compared to the 2016v1 platform.
                                                 for normalized mean error).140
                                                                                                         including data developed using models,                 Details on the construction of the
                                                 Additional information on model
                                                                                                         methods, and source datasets that                      inventories are available in the 2016v3
                                                 performance is provided in the Air                      became available in calendar years 2020
                                                 Quality Modeling Final Rule TSD. In                                                                            Emissions Modeling TSD. Details on
                                                                                                         through 2022, in addition to data                      how the EPA responded to comments
                                                 summary, EPA included emissions of                      retained from the Inventory
                                                 lightning NOX, as requested by                                                                                 related to emissions inventories are
                                                                                                         Collaborative 2016 version 1 (2016v1)                  available in the RTC document for this
                                                 commenters, and investigated and                        Emissions Modeling Platform, released                  rule.
                                                 addressed concerns about model                          in October 2019. The 2016v1 platform
                                                 performance for the final rule modeling.                was developed through a national                       2. Development of Emissions
                                                                                                         collaborative effort between the EPA                   Inventories for EGUs
                                                 C. Emissions Inventories
                                                                                                         and state and local agencies along with                a. EGU Emissions Inventories
                                                    The EPA developed emissions                          MJOs. The 2016v2 platform used to                      Supporting This Final Rule
                                                 inventories to support air quality                      support the proposed action included
                                                                                                         updated data from the 2017 NEI along                      Development of emissions inventories
                                                 modeling for this final rule, including                                                                        for annual NOX and SO2 emissions for
                                                 emissions estimates for EGUs, non-EGU                   with updates to models and methods as
                                                                                                         compared to 2016v1. The 2016v3                         EGUs in the 2016 base year inventory
                                                 point sources (i.e., stationary point                                                                          are based primarily on data from
                                                                                                         platform includes updates to the 2016v2
                                                 sources), stationary nonpoint sources,                                                                         continuous emissions monitoring
                                                                                                         platform implemented in response to
                                                 onroad mobile sources, nonroad mobile                                                                          systems (CEMS) and other monitoring
                                                                                                         comments along with other updates to
                                                 sources, other mobile sources, wildfires,               the 2016v2 platform such as corrections                systems allowed for use by qualifying
                                                 prescribed fires, and biogenic emissions                and the incorporation of updated data                  units under 40 CFR part 75, with other
                                                 that are not the direct result of human                 sources that became available prior to                 EGU pollutants estimated using
                                                 activities. The EPA’s air quality                       the 2016v3 inventories being developed.                emissions factors and annual heat input
                                                 modeling relies on this comprehensive                   Several commenters noted that the                      data reported to the EPA. For EGUs not
                                                 set of emissions inventories because                    2016v2 platform did not include NOX                    reporting under Part 75, the EPA used
                                                 emissions from multiple source                          emissions that resulted from lightning                 data submitted to the NEI by the state,
                                                 categories are needed to model ambient                  strikes. To address this, lightning NOX                local, and tribal agencies. The Air
                                                 air quality and to facilitate comparison                emissions were computed and included                   Emissions Reporting Rule (80 FR 8787;
                                                 of model outputs with ambient                           in the 2016v3 platform.                                February 19, 2015), requires that Type A
                                                 measurements.                                              For this final rule, the EPA developed              point sources large enough to meet or
                                                                                                         emissions inventories for the base year                exceed specific thresholds for emissions
                                                    Prior to air quality modeling, the                                                                          be reported to the EPA every year, while
                                                                                                         of 2016 and the projected years of 2023
                                                 emissions inventories were processed                                                                           the smaller Type B point sources must
                                                                                                         and 2026. The 2023 and 2026
                                                 into a format that is appropriate for the                                                                      only be reported to EPA every 3 years.
                                                                                                         inventories represent changes in activity
                                                 air quality model to use. To prepare the                                                                       Emissions data for EGUs that did not
                                                                                                         data and of predicted emissions
                                                 emissions inventories for air quality                   reductions from on-the-books actions,                  have data submitted to the NEI specific
                                                 modeling, the EPA processed the                         planned emissions control installations,               to the year 2016 were filled in with data
                                                 emissions inventories using the Sparse                  and promulgated Federal measures that                  from the 2017 NEI. For more
                                                 Matrix Operator Kernel Emissions                        affect anthropogenic emissions.142 The                 information on the details of how the
                                                 (SMOKE) Modeling System version 4.9                     2016 emissions inventories for the U.S.                2016 EGU emissions were developed
                                                 to produce the gridded, hourly,                         primarily include data derived from the                and prepared for air quality modeling,
                                                 speciated, model-ready emissions for                    2017 National Emissions Inventory                      see the 2016v3 Emissions Modeling
                                                 input to the air quality model.                         (2017 NEI) 143 and data specific to the                TSD.
                                                 Additional information on the                           year of 2016. The following sections                      The EPA projected 2023 and 2026
                                                 development of the emissions                            provide an overview of the construct of                baseline EGU emissions using the
                                                 inventories and on data sets used during                the 2016v3 emissions and projections.                  version 6—Updated Summer 2021
                                                 the emissions modeling process are                      The fire emissions were unchanged                      Reference Case of the Integrated
                                                 provided in the document titled,                        between the 2016v2 and 2016v3                          Planning Model (IPM). IPM, developed
                                                 ‘‘Technical Support Document (TSD):                     emissions platforms. For the 2016v3                    by ICF Consulting, is a state-of-the-art,
                                                 Preparation of Emissions Inventories for                platform, the biogenic emissions were                  peer-reviewed, multi-regional, dynamic,
                                                 the 2016v3 North American Emissions                                                                            deterministic linear programming model
                                                 Modeling Platform’’ (Jan. 2023),                          141 See 2016v3 Emissions Modeling TSD, also          of the contiguous U.S. electric power
                                                 hereafter known as the 2016v3                           available at https://www.epa.gov/air-emissions-        sector. It provides forecasts of least cost
                                                                                                         modeling/2016v3-platform.                              capacity expansion, electricity dispatch,
                                                                                                           142 Biogenic emissions and emissions from
                                                                                                                                                                and emissions control strategies while
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                                                 individual monitoring sites can be found in the         wildfires and prescribed fires were held constant
                                                 docket for this final rule.                             between 2016 and the future years because (1) these    meeting energy demand and
                                                   140 Christopher Emery, Zhen Liu, Armistead G.         emissions are tied to the 2016 meteorological          environmental, transmission, dispatch,
                                                 Russell, M. Talat Odman, Greg Yarwood & Naresh          conditions and (2) the focus of this rule is on the    and reliability constraints. The EPA has
                                                 Kumar (2017) Recommendations on statistics and          contribution from anthropogenic emissions to           used IPM for over two decades,
                                                 benchmarks to assess photochemical model                projected ozone nonattainment and maintenance.
                                                 performance, Journal of the Air & Waste                   143 https://www.epa.gov/air-emissions-               including all prior implemented CSAPR
                                                 Management Association, 67:5, 582–598, DOI:             inventories/2017-national-emissions-inventory-nei-     rulemakings, to better understand power
                                                 10.1080/10962247.1265027.                               technical-support-document-tsd.                        sector behavior under future business-


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                                                 as-usual conditions and to evaluate the                 (including renewable energy tax credit                    Both IPM and the Engineering
                                                 economic and emissions impacts of                       extensions from the Consolidated                       Analytics tools are valuable for
                                                 prospective environmental policies. The                 Appropriations Act of 2021) through                    estimating future EGU emissions and
                                                 model is designed to reflect electricity                early 2021 impacting SO2, NOX, directly                examining the cone of uncertainty
                                                 markets as accurately as possible. The                  emitted particulate matter, CO2, and                   around any future sector-level inventory
                                                 EPA uses the best available information                 power plant operations. It also includes               estimate. A key difference between the
                                                 from utilities, industry experts, gas and               final actions the EPA has taken to                     two tools is that IPM reflects both
                                                 coal market experts, financial                          implement the Regional Haze Rule and                   announced and projected changes in
                                                 institutions, and government statistics                 best available retrofit technology                     fleet operation, whereas the Engineering
                                                 as the basis for the detailed power sector              (BART) requirements. Documentation of                  Analytics tool only reflects announced
                                                 modeling in IPM. The model                              IPM version 6 and NEEDS, along with                    changes. By not including projected
                                                 documentation provides additional                       updates, is in Docket ID No. EPA–HQ–                   regional changes that are anticipated in
                                                 information on the assumptions                          OAR–2021–0668 and available online at                  response to market forces and fleet
                                                 discussed here as well as all other                     https://www.epa.gov/airmarkets/power-                  trends, the Engineering Analysis
                                                 model assumptions and inputs.144 The                    sector-modeling. IPM has projected                     deliberately creates future estimates of
                                                 EPA relied on the same model platform                   output years for 2023 and 2025. IPM                    the power sector where state estimates
                                                 at final as it did at proposal, but made                year 2025 outputs were adjusted for                    are limited to known changes.
                                                 substantial updates to reflect public                   known retirements to be reflective of                  Throughout all of the CSAPR rules to
                                                 comments on near-term fossil fuel                       year 2026, and IPM year 2030 outputs                   date, and prior interstate transport
                                                 market price volatility and updated fleet               were used for the year 2032 as is                      actions, the EPA has used IPM at Steps
                                                 information reflecting Summer 2022                      specified by the mapping of IPM output                 1 and 2 as it is best suited for projecting
                                                 U.S. Energy Information Agency (EIA)                    years to specific years.                               emissions in an airshed, at projecting
                                                 860 data, unit-level comments, and                         Additional 2023 through 2026 EGU                    emissions for time horizons more than
                                                 additional updates to the National                      emissions baseline levels were                         a few years out (for which changes
                                                 Electric Energy Data System (NEEDS)                     developed through engineering                          would not yet be announced and thus
                                                 inventory.                                                                                                     projecting changes is critical), and for
                                                                                                         analytics as an alternative approach that
                                                    The IPM version 6—Updated Summer                                                                            scenarios where the assumed change in
                                                                                                         did not involve IPM. The EPA
                                                 2021 Reference Case incorporated recent                                                                        emissions is not being codified into a
                                                                                                         developed this inventory for use in Step
                                                 updates through the Summer of 2022 to                                                                          state emissions reduction requirement.
                                                                                                         3 of this final rule, where it determines
                                                 account for updated Federal and state                                                                          Using IPM at Steps 1 and 2 helps the
                                                                                                         emissions reduction potential and
                                                 environmental regulations (including                                                                           EPA avoid overstating the current
                                                                                                         corresponding state-level emissions
                                                 Renewable Portfolio Standards (RPS),                                                                           analytic year receptor values (Step 1)
                                                                                                         budgets. IPM includes optimization and
                                                 Clean Energy Standards (CES) and other                                                                         and future year linkages (Step 2) by
                                                                                                         perfect foresight in solving for least cost
                                                 state mandates), fleet changes                                                                                 reflecting reductions anticipated to
                                                                                                         dispatch. Given that this final rule will
                                                 (committed EGU retirements and new                                                                             occur within the airshed in the relevant
                                                                                                         likely become effective immediately                    timeframe.
                                                 builds), electricity demand, technology                 prior to the start of the 2023 ozone
                                                 cost and performance assumptions from                                                                             Engineering analytics has been a
                                                                                                         season, the EPA adopted a similar                      useful tool for Step 3 state-level
                                                 recent data (for renewables adopting                    approach to the CSAPR Update and the
                                                 from National Renewable Energy Lab                                                                             emissions reduction estimates in CSAPR
                                                                                                         Revised CSAPR Update where it                          rulemaking, because at that step the
                                                 (NREL’s) Annual Technology Baseline                     utilized historical data and an
                                                 2020 and for fossil sources from EIA’s                                                                         EPA is dealing with more geographic
                                                                                                         engineering analytics approach in Step                 granularity (state-level as opposed to
                                                 Annual Energy Outlook (AEO) 2020.                       3 to avoid overstating optimization and
                                                 Natural gas and coal price projections                                                                         regional air shed), more near-term (as
                                                                                                         dispatch decisions in state-emissions                  opposed to medium-term) assessments,
                                                 reflect data developed in Fall 2020 but                 budget quantification that may not be
                                                 updated in summer of 2022 to capture                                                                           and scenarios where reduction estimates
                                                                                                         possible in a short time frame. The EPA                are codified into regulatory
                                                 near-term price volatility and current                  does this by starting with unit-level
                                                 market conditions. The inventory of                                                                            requirements. Using the Engineering
                                                                                                         reported data and only making                          Analytics tool at this step ensures that
                                                 EGUs provided as an input to the model                  adjustments to reflect known baseline
                                                 was the NEEDS fall 2022 version and is                                                                         the EPA is not codifying into the base
                                                                                                         changes such as planned retirements                    case, and consequently into state
                                                 available on EPA’s website.145 This                     and new builds (for the base case
                                                 version of NEEDS reflects announced                                                                            emissions budgets, changes in the
                                                                                                         scenarios) and also identified mitigation              power sector that are merely modeled to
                                                 retirements and under-construction new                  strategies for determining state
                                                 builds known as of early summer 2022.                                                                          occur rather than announced by real-
                                                                                                         emissions budgets. In both the CSAPR                   world actors.
                                                 This projected base case accounts for                   Update and in this rule at Step 3, the
                                                 the effects of the finalized Mercury and                                                                          Finally, both in the Revised CSAPR
                                                                                                         EPA complemented that projected IPM                    Update and in this rule, the EPA was
                                                 Air Toxics Standards rule, CSAPR, the                   EGU outlook with an historical (e.g.,                  able to use the Air Quality Assessment
                                                 CSAPR Update, the Revised CSAPR                         engineering analytics) perspective based               Tool to determine that regardless of
                                                 Update, NSR enforcement settlements,                    on historical data that only factors in                which EGU inventory is used, the 2023
                                                 the final ELG Rule, CCR Rule, and other                 known changes to the fleet. This 2023                  geography of the program is not
                                                 on-the-books Federal and state rules                    engineering analytics data set is                      impacted. In other words, regardless of
                                                                                                         described in more detail in the Ozone
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                                                   144 Detailed information and documentation of
                                                                                                                                                                whether a stakeholder takes a more
                                                 EPA’s Base Case, including all the underlying           Transport Policy Analysis Final Rule                   comprehensive view of the EGU future
                                                 assumptions, data sources, and architecture             TSD and corresponding Appendix A:                      (IPM) or one limited to current data and
                                                 parameters can be found on EPA’s website at:            State Emissions Budgets Calculations                   known changes (Engineering Analysis),
                                                 https://www.epa.gov/airmarkets/epas-power-sector-       and Underlying Data. The Engineering                   the states that are linked to receptors at
                                                 modeling-platform-v6-using-ipm-summer-2021-
                                                 reference-case.                                         Analysis used in Step 3 is also                        Steps 1 and 2 would be the same. This
                                                   145 Available at https://www.epa.gov/airmarkets/      discussed further in section VII.B of this             finding is consistent with the
                                                 national-electric-energy-data-system-needs-v6.          document.                                              observation that EGUs are now less than


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                                                 10 percent of the total ozone-season                    Additionally, at the time of the                       inform the modeling projections for
                                                 NOX inventory and the degree of near-                   proposal’s analysis, the 2023 ozone                    2023 and 2026 was conducted prior to
                                                 term difference between the IPM and                     season was still nearly two years away.                the passage of the Inflation Reduction
                                                 Engineering Analytic regional                           Therefore, it was appropriate for EPA’s                Act (IRA), Public Law 117–169. The
                                                 projections is relatively small on the                  modeling to project economic                           EPA did not have time to incorporate
                                                 regional level. The EPA continues to                    retirements as those retirements—which                 updated EGU projections reflecting the
                                                 believe that IPM is best suited for Step                are regularly occurring—are often not                  passage of the IRA into the primary air
                                                 1 and Step 2, and engineering analytics                 firm or announced two years in                         quality modeling for this final rule.
                                                 is best suited for Step 3 efforts in this               advance. However, for this final rule,                 However, the EPA was able to perform
                                                 rulemaking. The Ozone Transport                         the 2023 analytic year was close enough                a sensitivity analysis reflecting the IRA
                                                 Policy Analysis Final Rule TSD contains                 to the period in which EPA was                         in its EGU NOX emissions inventories.
                                                 data on 2023 and 2026 AQ impacts of                     conducting its analysis that such                      The results from this scenario were run
                                                 each dataset.                                           retirements would likely be announced.                 through AQAT and demonstrated that
                                                    Comment: Some commenters express                     Therefore, the EPA was able to                         the status of states identified as linked
                                                 concern that using IPM for Step 1 and                   incorporate those announced and firm                   at the 1 percent of NAAQS contribution
                                                 Step 2 captures generation shifting                     retirements to occur in the 2023 year.                 threshold (based on the modeling and
                                                 across state lines, which exceeds the                   Further, in recognition of this very near
                                                 EPA’s authority. Moreover, the                                                                                 air quality analysis described in this
                                                                                                         timeframe, we deactivated IPM’s ability
                                                 commenters suggest that the resulting                                                                          section) would not change regardless of
                                                                                                         to project additional economic
                                                 proposed baseline EGU inventory may                                                                            which inventory (with or without IRA)
                                                                                                         retirements for the 2023 year (reflecting
                                                 understate emissions levels as it projects              the notion that any retirements                        is used. This sensitivity analysis is
                                                 economic retirements that are not yet                   occurring by 2023 would be known at                    presented in the Regulatory Impact
                                                 announced or firm. Other commenters                     this point). This adjustment further                   Analysis accompanying this rule, and
                                                 more generally allege that the EPA is                   accommodates the commenters’ concern                   that discussion provides additional
                                                 using different modeling tools at                       that the baseline overstates generation                detail on the emissions consequences of
                                                 different steps in its analysis, and this               shifting (driven by retirements) in the                including the IRA in a baseline EGU
                                                 introduces confusion or uncertainty into                near term, and consequently understates                inventory. The air quality impact of
                                                 the basis for the EPA’s regulatory                      emissions levels. Finally, with respect                including the IRA in EPA’s emissions
                                                 conclusions.                                            to comments that the EPA is using                      inventories and in its Step 3 scenarios
                                                    Response: The EPA believes the first                 different modeling tools at different                  is discussed in Appendix K of the
                                                 aspect of this comment, in regards to its               steps in the framework, we previously                  Ozone Transport Policy Analysis Final
                                                 focus on generation shifting, is                        explained why these techniques are                     Rule TSD.
                                                 misguided in several ways. For Step 1                   appropriate for the purposes at each                      The results of this analysis are not
                                                 and Step 2, the EPA models no                           step of the analysis, and they are not                 surprising and accord with what is
                                                 incremental generation shifting                         incompatible nor do they produce                       generally understood to be the overall
                                                 attributable to the implementation of an                results so different as to call into                   effect of the IRA over the short to long
                                                 emissions control policy at Step 3.                     question their reliability or the bases for            term. While the IRA is anticipated to
                                                 Rather, any generation patterns are                     our regulatory determinations (EPA                     have a potentially dramatic effect on
                                                 merely a reflection of the model’s                      notes that the nationwide projected                    reducing both GHG and conventional
                                                 projection of how regional load                         ozone season total NOX emissions vary                  pollutant emissions from the power
                                                 requirements will be met with the                       by less than 1 percent in the 2023                     sector, it is likely to have a more
                                                 generation sources serving that region in               analytic year). Nonetheless, we also                   substantial impact later in the forecast
                                                 the baseline. The EPA is not modeling                   observe that the effect of using                       period (i.e., beyond the attainment
                                                 any additional generation shifting, but                 engineering analytics to inform analysis               deadlines by which the emissions
                                                 merely capturing the expected                           at Steps 1 and 2 would tend to produce
                                                 generation dispatch under anticipated                                                                          reductions under this final rule must
                                                                                                         higher assumed emissions from EGUs in                  occur). This timing reflects a realistic
                                                 baseline market conditions. Electricity                 the baseline than IPM would project in
                                                 generated in one state regularly is                                                                            assessment of utilities’, regulators’, and
                                                                                                         2026 and beyond and therefore only
                                                 transmitted across state boundaries and                                                                        transmission authorities’ planning
                                                                                                         strengthen and further affirm the Step 1
                                                 is used to serve load in other states; IPM                                                                     requirements associated with the
                                                                                                         and Step 2 geographic findings. EPA’s
                                                 is not incentivizing or requiring any                                                                          addition of substantial new renewable
                                                                                                         use of different tools to project EGU
                                                 additional generation transfer across                                                                          and storage capacity to the grid, as well
                                                                                                         scenarios is not inconsistent, but rather
                                                 state lines in this scenario but is merely              it is carefully explained as a deliberate              as the time needed to integrate that
                                                 projecting the pattern of this behavior in              measure taken to preserve—not                          capacity and retire existing capacity.
                                                 the future. Moreover, as noted                          introduce—consistency across each of                   Additionally, the IRA incentives span a
                                                 previously, the EPA affirms its                         the Steps in the 4-step framework. By                  longer time period (for example, certain
                                                 geographic findings at Step 2 (states                   using IPM at Step 1 and 2, EPA is                      tax incentives for clean energy sources
                                                 contributing over 1 percent of the                      selecting the more conservative                        are available until the later of 2032 or
                                                 NAAQS to a downwind receptor) using                     approach for identifying the degree of                 the year in which power sector
                                                 historical data (engineering analysis) in               nonattainment and geography of states                  emissions are 75 percent below 2022
                                                 a sensitivity analysis. These historical                contributing above 1 percent. By using                 levels) and therefore there is no IRA-
                                                                                                                                                                related deadline to build cleaner
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                                                 data reflect the actual generation                      Engineering Analytics at Step 3, EPA is
                                                 patterns observed to meet regional load.                selecting the more conservative value to               generation by 2026. Recent analysis by
                                                 Therefore, any suggestion by the                        codify into state-level budgets.                       the Congressional Budget Office
                                                 commenter that the EPA’s projected                                                                             supports the finding that the majority of
                                                 view of baseline grid dispatch is                       b. Impact of the Inflation Reduction Act               power sector EGU emissions reductions
                                                 unreasonable, is mooted by the fact that                on EGU Emissions                                       expected from the IRA occur well after
                                                 the use of historical reported generation                  The EGU modeling used to construct                  the 2023 and 2026 analytic years
                                                 patterns produces the same result.                      the EGU emissions inventories used to                  relevant to the attainment dates and this


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                                                 rulemaking.146 While the report focuses                 point source emissions carried forward                   rail energy use growth rate projections
                                                 on CO2 rather than NOX, the drivers of                  from 2014 NEI were not the best                          for 2023, and 2026 with the fleet mix
                                                 the emissions reductions (primarily                     estimates of 2017 emissions. Thus,                       assumed to be constant throughout the
                                                 increased zero-emitting generation)                     emissions sources in 2016v2 that had                     period.
                                                 would generally have a downward                         been projected from the 2014 NEI in the                     The EPA made multiple updates to
                                                 impact on both pollutants.                              proposal were replaced with emissions                    point source oil and gas emissions in
                                                    We note that important uncertainties                 based on the 2017 NEI. Point source                      response to comments. For the final
                                                 remain at this time in the                              emissions submitted to the 2016 NEI or                   rule, the point source oil and gas
                                                 implementation of the IRA that further                  to the 2016v1 platform development                       emissions for 2016 were based on the
                                                 counsel against over-assuming short-                    process specifically for the year 2016                   2016v2 point inventory except that most
                                                 term emissions reductions for purposes                  were retained in 2016v3. Other 2016                      2014 NEI-based emissions were
                                                 of this rule. The legislation provides                  non-EGU updates in 2016v3 include a                      replaced with 2017 NEI emissions.
                                                 economic incentives for shifting to                     few sources being moved to the EGU                       Additionally, in response to comments,
                                                 cleaner forms of power generation but                   inventory, the addition of some control                  state-provided emissions equivalent to
                                                 does not mandate emissions reductions                   efficiency information for the year 2016,                those in the 2016v1 platform were used
                                                 through an enforceable regulatory                       the replacement of most emissions                        for Colorado, and some New Mexico
                                                 program. The strength of those                          projected from 2014 NEI with data from                   emissions were replaced with data
                                                 incentives will vary to some extent                     2017 NEI, and the inclusion of point                     backcast from 2020 to 2016. To develop
                                                 depending on other key market factors                   source data for solvent processes that                   inventories for 2023 and 2026 for the
                                                 (such as the cost of natural gas or                     had not been included in the 2016v2                      final rule, the year 2016 oil and gas
                                                 renewable energy technologies).                         non-EGU inventory.                                       point source inventories were first
                                                 Further, some incentives, such as tax                      The 2023 and 2026 non-EGU point                       projected to 2021 values based on actual
                                                 credits for carbon capture and storage,                 source emissions were grown from 2016                    historical production data, then those
                                                 could lead EGUs to remain in operation                  to those years using factors based on the                2021 emissions were projected to 2023
                                                 longer, which could in turn result in                   AEO 2022 and reflect emissions                           and 2026 using regional projection
                                                 greater NOX emissions, if those                         reductions due to known national and                     factors based on AEO 2022 projections.
                                                 emissions are not also well controlled.                 local rules, control programs, plant                     This was an update from the proposal
                                                    Nonetheless, while we find that the                  closures, consent decrees, and                           approach that used actual data only
                                                 passage of the IRA does not affect the                  settlements that could be computed as                    through the year 2019, because 2021
                                                 geography of the rule in terms of which                 reductions to specific units by July                     data were not yet available. NOX and
                                                 states we identify as linked, the Agency                2022.                                                    VOC reductions resulting from co-
                                                                                                            Aircraft emissions and ground                         benefits of NSPS for Stationary
                                                 is confident that the incentives toward
                                                                                                         support equipment at airports are                        Reciprocating Internal Combustion
                                                 clean technology provided in the IRA
                                                                                                         represented as point sources and are                     Engines (RICE) are reflected, along with
                                                 will, in the longer run beyond the 2015
                                                                                                         based on adjustments to emissions in                     Natural Gas Turbine and Process Heater
                                                 ozone NAAQS attainment deadlines,
                                                                                                         the January 2021 version of the 2017                     NSPS NOX controls and Oil and Gas
                                                 facilitate ongoing EGU compliance with
                                                                                                         NEI. The EPA developed and applied                       NSPS VOC controls. In some cases, year
                                                 the emissions reduction requirements of
                                                                                                         factors to adjust the 2017 airport                       2019 point source inventory data were
                                                 this rule and will reduce costs borne by
                                                                                                         emissions to 2016, 2023 and 2026 based                   used instead of the projected future year
                                                 EGUs and their customers as the U.S.
                                                                                                         on activity growth projected by the                      emissions except for the Western
                                                 power sector transitions. As discussed
                                                                                                         Federal Aviation Administration                          Regional Air Partnership (WRAP) states
                                                 in greater detail in section VI.B of this
                                                                                                         Terminal Area Forecast 2021 147 data,                    of Colorado, New Mexico, Montana,
                                                 document, we have made several
                                                                                                         the latest available version at the time                 Wyoming, Utah, North Dakota, and
                                                 adjustments in the final rule to provide
                                                                                                         the factors were developed. By basing                    South Dakota. The WRAP future year
                                                 greater flexibility to EGU owners and
                                                                                                         the factors on the latest available                      inventory 148 was used in these WRAP
                                                 operators to integrate this rule’s
                                                                                                         Terminal Area Forecast that was                          states in all future years except in New
                                                 requirements with and facilitate the
                                                                                                         released following the most significant                  Mexico where the WRAP base year
                                                 accelerating transition to an overall
                                                                                                         pandemic impacts on the aviation                         emissions were projected using the EIA
                                                 cleaner electricity-generating sector,
                                                                                                         sector, the reduction and rebound                        historical and AEO forecasted
                                                 which the IRA represents. Despite the
                                                                                                         impacts of the pandemic on aircraft and                  production data. Estimated impacts
                                                 uncertainties inherent in the
                                                                                                         ground support equipment were                            from the New Mexico Administrative
                                                 implementation of the IRA at this time,
                                                                                                         reflected in the 2023 and 2026 airport                   code 20.2.50 149 were also included.
                                                 the EPA also has performed a sensitivity
                                                                                                         emissions.
                                                 analysis on the final rule to confirm that                                                                       4. Development of Emissions
                                                                                                            Emissions at rail yards were
                                                 our finding of no overcontrol is robust                                                                          Inventories for Onroad Mobile Sources
                                                                                                         represented as point sources. The 2016
                                                 to a future with the IRA in effect.
                                                                                                         rail yard emissions are largely                             Onroad mobile sources include
                                                 3. Development of Emissions                             consistent with the 2017 NEI rail yard                   exhaust, evaporative, and brake and tire
                                                 Inventories for Stationary Industrial                   emissions. The 2016 and 2023 rail yard                   wear emissions from vehicles that drive
                                                 Point Sources                                           emissions were developed through the                     on roads, parked vehicles, and vehicle
                                                   Non-EGU point source emissions are                    2016v1 Inventory Collaborative process,                  refueling. Emissions from vehicles using
                                                 mostly consistent with those in the                     with the 2026 emissions interpolated                     regular gasoline, high ethanol gasoline,
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                                                 proposal modeling except where they                     between the 2023 and 2028 emissions                      diesel fuel, and electric vehicles were
                                                 were updated in response to comments.                   from 2016v1 rail yard emissions were                     represented, along with buses that used
                                                 Several commenters mentioned that                       interpolated from the 2016 and 2023                      compressed natural gas. The EPA
                                                                                                         emissions. Class I rail yard emissions
                                                   146 ‘‘Emissions of Carbon Dioxide In the Electric     were projected based on the AEO freight                    148 http://www.wrapair2.org/pdf/WRAP_OGWG_

                                                 Power Sector,’’ Congressional Budget Office.                                                                     2028_OTB_RevFinalReport_05March2020.pdf.
                                                 December 2022. Available at https://www.cbo.gov/          147 https://www.faa.gov/data_research/aviation/          149 https://www.srca.nm.gov/parts/title20/

                                                 publication/58860.                                      taf/.                                                    20.002.0050.html.



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                                                 developed the onroad mobile source                      final rule modeling. The 2023 and 2026                 proposal. The nonroad mobile
                                                 emissions for states other than                         onroad mobile emissions were                           emissions control programs include
                                                 California using the EPA’s Motor                        computed within SMOKE by                               reductions to locomotives, diesel
                                                 Vehicle Emissions Simulator (MOVES).                    multiplying the respective emissions                   engines, and recreational marine
                                                 MOVES3 was released in November                         factors developed using MOVES with                     engines, along with standards for fuel
                                                 2020 and has been followed by some                      the year-specific activity data. Prior to              sulfur content and evaporative
                                                 minor releases that improved the usage                  computing the final rule emissions for                 emissions. A comprehensive list of
                                                 of the model but that do not have                       2023, the EPA made updates to some                     control programs included for mobile
                                                 substantive impacts on the emissions                    onroad inputs in response to comments                  sources is available in the 2016v3
                                                 estimates. For the proposal, MOVES3                     and to implement corrections.                          Emissions Modeling TSD.
                                                 was run using inputs provided by state                                                                            Line haul locomotives are also
                                                                                                         5. Development of Emissions                            considered a type of nonroad mobile
                                                 and local agencies through the 2017 NEI                 Inventories for Commercial Marine
                                                 where available, in combination with                                                                           source but the emissions inventories for
                                                                                                         Vessels                                                locomotives were not developed using
                                                 nationally available data sets to develop
                                                 a complete inventory. Onroad emissions                     The commercial marine vessel (CMV)                  MOVES3. Year 2016 locomotive
                                                 were developed based on emissions                       emissions in the 2016 base case                        emissions were developed through the
                                                 factors output from MOVES3 runs for                     emissions inventory for this rule were                 2016v1 collaborative process and the
                                                 the year 2016, coupled with activity                    based on those in the 2017 NEI. Factors                year 2016 emissions are mostly
                                                 data (e.g., vehicle miles traveled and                  were applied to adjust the 2017 NEI                    consistent with those in the 2017 NEI.
                                                 vehicle populations) representing the                   emissions backward to represent                        More information on the development
                                                 year 2016. The 2016 activity data were                  emissions for the year 2016. The CMV                   of the Class I, Class II and III, and
                                                 provided by some state and local                        emissions reflect reductions associated                commuter rail line haul locomotive
                                                 agencies through the 2016v1 process,                    with the Emissions Control Area                        emissions is available in the 2016v3
                                                 and the remaining activity data were                    proposal to the International Maritime                 Emissions Modeling TSD. The projected
                                                 derived from those used to develop the                  Organization control strategy (EPA–                    locomotive emissions for 2023 and 2026
                                                 2017 NEI. The onroad emissions were                     420–F–10–041, August 2010);                            were developed by applying factors to
                                                 computed within SMOKE by                                reductions of NOX, VOC, and CO                         the 2016 emissions using activity data
                                                 multiplying emissions factors developed                 emissions for new category 3 (C3)                      based on AEO freight rail energy use
                                                 using MOVES with the appropriate                        engines that went into effect in 2011;                 growth rate projections along with
                                                                                                         and fuel sulfur limits that went into                  emissions rates adjusted to account for
                                                 activity data. Prior to computing the
                                                                                                         effect prior to 2016. The cumulative                   recent historical trends. The emission
                                                 final rule emissions, updates to some
                                                                                                         impacts of these rules through 2023 and                factors used for NOX, PM10 and VOC for
                                                 onroad inputs were made in response to
                                                                                                         2026 were incorporated into the                        line haul locomotives in the analytic
                                                 comments and to implement
                                                                                                         projected emissions for CMV sources.                   years were derived from trend lines
                                                 corrections. Onroad mobile source
                                                                                                         The CMV emissions were split into                      based on historic line-haul emission
                                                 emissions for California were consistent
                                                                                                         emissions inventories from the larger C3               factors from the period of 2007 through
                                                 with the updated emissions data
                                                                                                         engines, and those from the smaller                    2017 and extrapolated to 2023 and 2026.
                                                 provided by the state for the final rule.
                                                                                                         category 1 and 2 (C1C2) engines. CMV
                                                    The 2023 and 2026 onroad emissions                   emissions in California are based on                   7. Development of Emissions
                                                 reflect projected changes to fuel                       emissions provided by the state. The                   Inventories for Nonpoint Sources
                                                 properties and usage, along with the                    CMV emissions are consistent with the                     For stationary nonpoint sources, some
                                                 impact of the rules included in                         emissions for the 2016v1 platform                      emissions in the 2016 base case
                                                 MOVES3 for each of those years.                         updated CMV emissions released by                      emissions inventory come directly from
                                                 MOVES emissions factors for the years                   February 2020 although they include                    the 2017 NEI, others were adjusted from
                                                 2023 and 2026 were used. A                              projected emissions for the years of                   the 2017 NEI to represent 2016 levels,
                                                 comprehensive list of control programs                  2023 and 2026 instead of 2023 and                      and the remaining emissions including
                                                 included for onroad mobile sources is                   2028. In addition, in response to                      those from oil and gas, fertilizer, and
                                                 available in the 2016v3 Emissions                       comments, the EPA implemented an                       solvents were computed specifically to
                                                 Modeling TSD. Year 2023 and 2026                        improved process for spatial allocating                represent 2016. Stationary nonpoint
                                                 activity data for onroad mobile sources                 CMV emissions along state and county                   sources include evaporative sources,
                                                 were provided by some state and local                   boundaries.                                            consumer products, fuel combustion
                                                 agencies, and otherwise were projected                                                                         that is not captured by point sources,
                                                 to 2023 and 2026 by first projecting the                6. Development of Emissions
                                                                                                                                                                agricultural livestock, agricultural
                                                 2016 activity to year 2019 based on                     Inventories for Other Nonroad Mobile
                                                                                                                                                                fertilizer, residential wood combustion,
                                                 county level vehicle miles traveled                     Sources
                                                                                                                                                                fugitive dust, and oil and gas sources.
                                                 (VMT) from the Federal Highway                             The EPA developed nonroad mobile                    The emissions sources derived from the
                                                 Administration. Because VMT for                         source emissions inventories (other than               2017 NEI include agricultural livestock,
                                                 onroad mobile sources were                              CMV, locomotive, and aircraft                          fugitive dust, residential wood
                                                 substantially impacted by the pandemic                  emissions) for 2016, 2023, and 2026                    combustion, waste disposal (including
                                                 and took about two years to rebound to                  from monthly, county, and process level                composting), bulk gasoline terminals,
                                                 pre-pandemic levels, in the 2016v3                      emissions output from MOVES3. Types                    and miscellaneous non-industrial
                                                 platform no growth in VMT was                           of nonroad equipment include
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                                                                                                                                                                sources such as cremation, hospitals,
                                                 implemented from 2019 to. The                           recreational vehicles, pleasure craft, and             lamp breakage, and automotive repair
                                                 estimated 2021 VMT were then grown                      construction, agricultural, mining, and                shops. A recent method to compute
                                                 from 2021 to 2023 and 2026 using AEO                    lawn and garden equipment. State-                      solvent VOC emissions was used.150
                                                 2022-based factors. Recent updates to                   submitted emissions data for nonroad                      Where comments were provided
                                                 inspection and maintenance programs                     sources were used for California. The                  about projected control measures or
                                                 in North Carolina and Tennessee were                    nonroad emissions for the final rule
                                                 reflected in the MOVES inputs for the                   were unchanged from those at the                        150 https://doi.org/10.5194/acp-21-5079-2021.




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                                                 changes in nonpoint source emissions,                   AEO forecasted production data.                           The Agency explained in the NOX SIP
                                                 those inputs were first reviewed by the                 Estimated impacts from the New Mexico                  Call and CAIR and then reaffirmed in
                                                 EPA. Those found to be based on                         Administrative Code 20.2.50 were                       the CSAPR Update that the EPA has the
                                                 reasonable data for affected emissions                  included.                                              most confidence in our projections of
                                                 sources were incorporated into the                                                                             nonattainment for those monitoring
                                                                                                         D. Air Quality Modeling To Identify
                                                 projected inventories for 2023 and 2026                                                                        sites that also measure nonattainment
                                                 to the extent possible. Where possible,                 Nonattainment and Maintenance
                                                                                                                                                                for the most recent period of available
                                                 projection factors based on the AEO                     Receptors
                                                                                                                                                                ambient data. The EPA separately
                                                 used data from AEO 2022, the most                          In this section, the Agency describes               identified maintenance receptors as
                                                 recent AEO at the time available at the                 the air quality modeling and analyses                  those monitoring sites that would have
                                                 time the inventories were developed.                    performed in Step 1 to identify locations              difficulty maintaining the relevant
                                                 Federal regulations that impact the                     where the Agency expects there to be                   NAAQS in a scenario that accounts for
                                                 nonpoint sources were reflected in the                  nonattainment or maintenance receptors                 historical variability in air quality at
                                                 inventories. Adjustments for state fuel                 for the 2015 ozone NAAQS in the 2023                   that site. The variability in air quality
                                                 sulfur content rules for fuel oil in the                and 2026 analytic years. Where the                     was determined by evaluating the
                                                 Northeast were included along with                      EPA’s analysis shows that an area or site              ‘‘maximum’’ future design value at each
                                                 solvent controls applicable within the                  does not fall under the definition of a                monitoring site based on a projection of
                                                 ozone transport region. Details are                     nonattainment or maintenance receptor                  the maximum measured design value
                                                 available in the 2016v3 Emissions                       in these analytic years, that site is                  over the relevant period. The EPA
                                                 Modeling TSD.                                           excluded from further analysis under                   interprets the projected maximum
                                                    Nonpoint oil and gas emissions                       this rule.                                             future design value to be a potential
                                                 inventories for many states were                           In the proposed rule, the EPA applied               future air quality outcome consistent
                                                 developed based on outputs from the                     the same approach used in the CSAPR                    with the meteorology that yielded
                                                 2017 NEI version of the EPA Oil and                     Update and the Revised CSAPR Update                    maximum measured concentrations in
                                                 Gas Tool using activity data for year                   to identify nonattainment and                          the ambient data set analyzed for that
                                                 2016. Production-related emissions data                 maintenance receptors for the 2008                     receptor (i.e., ozone conducive
                                                 from the 2017 NEI were used for                         ozone NAAQS.153 See 86 FR 23078–79.                    meteorology). The EPA also recognizes
                                                 Oklahoma, 2016v1 emissions were used                    The EPA’s approach gives independent                   that previously experienced
                                                 for Colorado and for Texas production-                  effect to both the ‘‘contribute                        meteorological conditions (e.g.,
                                                 related sources to response to                          significantly to nonattainment’’ and the               dominant wind direction, temperatures,
                                                 comments. Data for production-related                   ‘‘interfere with maintenance’’ prongs of               and air mass patterns) promoting ozone
                                                 nonpoint oil and gas emissions in the                   section 110(a)(2)(D)(i)(I), consistent with            formation that led to maximum
                                                 states of Colorado, Montana, New                        the D.C. Circuit’s direction in North                  concentrations in the measured data
                                                 Mexico, North Dakota, South Dakota,                     Carolina.154 Further, in its decision on               may reoccur in the future. The
                                                 Utah, and Wyoming were obtained from                    the remand of the CSAPR from the                       maximum design value gives a
                                                 the WRAP baseline inventory.151 A                       Supreme Court in the EME Homer City                    reasonable projection of future air
                                                 California Air Resources Board-                         case, the D.C. Circuit confirmed that                  quality at the receptor under a scenario
                                                 provided inventory was used for 2016                    EPA’s approach to identifying                          in which such conditions do, in fact,
                                                 oil and gas emissions in California.                    maintenance receptors in the CSAPR                     reoccur.156 The projected maximum
                                                 Nonpoint oil and gas inventories for                    comported with the court’s prior                       design value is used to identify upwind
                                                 2023 and 2026 were developed by first                   instruction to give independent                        emissions that, under those
                                                 projecting the 2016 oil and gas                         meaning to the ‘‘interfere with                        circumstances, could interfere with the
                                                 inventories to 2021 values based on                     maintenance’’ prong in the good                        downwind area’s ability to maintain the
                                                 actual production data. Next, those 2021                neighbor provision. EME Homer City II,                 NAAQS.
                                                 emissions were projected to 2023 and                    795 F.3d at 136.                                          Therefore, applying this methodology
                                                 2026 using regional projection factors by                                                                      in this rule, the EPA assessed the
                                                 product type based on AEO 2022                             In the CSAPR Update and the Revised
                                                                                                         CSAPR Update, the EPA identified                       magnitude of the projected maximum
                                                 projections. A 2017–2019 average                                                                               design values for 2023 and 2026 at each
                                                 inventory was used for oil and natural                  nonattainment receptors as those
                                                                                                         monitoring sites that are projected to                 monitoring site in relation to the 2015
                                                 gas exploration emissions in 2023 and                                                                          ozone NAAQS and, where such a value
                                                 2026 except for California and in the                   have average design values that exceed
                                                                                                         the NAAQS and that are also measuring                  exceeds the NAAQS, the EPA
                                                 WRAP states in which data from the                                                                             determined that receptor to be a
                                                 WRAP future year inventory 152 were                     nonattainment based on the most recent
                                                                                                         monitored design values. This approach                 ‘‘maintenance’’ receptor for purposes of
                                                 used. NOX and VOC reductions that are                                                                          defining interference with maintenance,
                                                                                                         is consistent with prior transport
                                                 co-benefits to the NSPS for RICE are                                                                           consistent with the method used in
                                                                                                         rulemakings, such as the NOX SIP Call
                                                 reflected, along with Natural Gas                                                                              CSAPR and upheld by the D.C. Circuit
                                                 Turbines and Process Heaters NSPS                       and CAIR, where the EPA defined
                                                                                                         nonattainment receptors as those areas                 in EME Homer City II.157 That is,
                                                 NOX controls and NSPS Oil and Gas
                                                                                                         that both currently monitor
                                                 VOC controls. The WRAP future year
                                                                                                         nonattainment and that the EPA projects                reasonable EPA’s approach to defining
                                                 inventory was used for oil and natural                                                                         nonattainment in CAIR).
                                                                                                         will be in nonattainment in the future
                                                 gas production sources in 2023 and                                                                               156 The EPA’s air quality modeling guidance
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                                                                                                         compliance year.155
                                                 2026 except in New Mexico where the                                                                            identifies the use of the highest of the relevant base
                                                 WRAP Base year emissions were                                                                                  period design values as a means to evaluate future
                                                                                                           153 See 86 FR 23078–79.
                                                                                                                                                                year attainment under meteorological conditions
                                                 projected using the EIA historical and                    154 531 F.3d at 910–911 (holding that the EPA        that are especially conducive to ozone formation.
                                                                                                         must give ‘‘independent significance’’ to each prong   See U.S. Environmental Protection Agency, 2018.
                                                   151 http://www.wrapair2.org/pdf/WRAP_OGWG_            of CAA section 110(a)(2)(D)(i)(I)).                    Modeling Guidance for Demonstrating Attainment
                                                 Report_Baseline_17Sep2019.pdf.                            155 See 63 FR 57375, 57377 (October 27, 1998); 70    of Air Quality Goals for Ozone, PM2.5, and Regional
                                                   152 http://www.wrapair2.org/pdf/WRAP_OGWG_            FR 25241 (January 14, 2005). See also North            Haze, Research Triangle Park, NC.
                                                 2028_OTB_RevFinalReport_05March2020.pdf.                Carolina, 531 F.3d at 913–914 (affirming as              157 See 795 F.3d at 136.




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                                                 monitoring sites with a maximum                         Commenters noted that a number of                      Moreover, 2023 is so near in time that
                                                 design value that exceeds the NAAQS                     monitoring sites that are projected to be              recent measured ozone levels can be
                                                 are projected to have maintenance                       below the NAAQS in 2023 based on the                   used to reasonably project whether an
                                                 problems in the future analytic years.158               EPA’s modeling for the proposed action                 air quality problem is likely to persist.
                                                   Recognizing that nonattainment                        are currently measuring nonattainment                  We view this approach to identifying
                                                 receptors are also, by definition,                      based on data from 2020 and 2021. One                  additional receptors in 2023 as the best
                                                 maintenance receptors, the EPA often                    commenter requested that the EPA                       means of responding to the comments
                                                 uses the term ‘‘maintenance-only’’ to                   determine whether its past modeling                    on this issue in this action, while also
                                                 refer to receptors that are not also                    tends to overestimate or underestimated                identifying all transport receptors.
                                                 nonattainment receptors. Consistent                     actual observed design values. If EPA
                                                                                                                                                                   For purposes of this action, we treat
                                                 with the concepts for maintenance                       finds that the agency’s model tends to
                                                                                                                                                                these violating monitors as an
                                                 receptors, as described previously, the                 underestimate future year design values,
                                                 EPA identifies ‘‘maintenance-only’’                                                                            additional type of maintenance-only
                                                                                                         the commenter requests that EPA re-run
                                                 receptors as those monitoring sites that                                                                       receptor. Because our modeling did not
                                                                                                         its ozone modeling, incorporating
                                                 have projected average design values                                                                           identify these sites as receptors, we do
                                                                                                         parameters that account for this
                                                 above the level of the applicable                                                                              not believe it is sufficiently certain that
                                                                                                         tendency.
                                                 NAAQS, but that are not currently                                                                              these sites will be in nonattainment
                                                                                                            Response: In response to comments,
                                                 measuring nonattainment based on the                    the EPA compared the projected 2023                    such that they should be considered
                                                 most recent official design values. In                  design values based on the proposal                    nonattainment receptors. Rather, our
                                                 addition, those monitoring sites with                   modeling to recent trends in measured                  authority for treating these sites as
                                                 projected average design values below                   data. As a result of this analysis, the                receptors in 2023 flows from the
                                                 the NAAQS, but with projected                           EPA agrees that current data indicate                  responsibility in CAA section
                                                 maximum design values above the                         that there are monitoring sites at risk of             110(a)(2)(i)(I) to prohibit emissions that
                                                 NAAQS are also identified as                            continued nonattainment in 2023 even                   interfere with maintenance of the
                                                 ‘‘maintenance only’’ receptors, even if                 though the model projected average and                 NAAQS. See, e.g., North Carolina, 531
                                                 they are currently measuring                            maximum design values at these sites                   F.3d at 910–11 (failing to give effect to
                                                 nonattainment based on the most recent                  are below the NAAQS (i.e., sites that are              the interfere with maintenance clause
                                                 official design values.159                              not modeling-based receptors). It would                ‘‘provides no protection for downwind
                                                   Comment: The EPA received                             not be reasonable to ignore recent                     areas that, despite EPA’s predictions,
                                                 comments claiming that the projected                    measured ozone levels in many areas                    still find themselves struggling to meet
                                                 design values for 2023 were biased low                  that are clearly not fully consistent with             NAAQS due to upwind interference
                                                 compared to recent measured data.                       certain concentrations in the Step 1                   . . . .’’) (emphasis added). Recognizing
                                                                                                         analysis for 2023. Therefore, the EPA                  that no modeling can perfectly forecast
                                                    158 The EPA issued a memorandum in October
                                                                                                         has also developed an additional                       the future, and ‘‘a degree of imprecision
                                                 2018, providing additional information to states
                                                                                                         maintenance-only receptor category,                    is inevitable in tackling the problem of
                                                 developing interstate transport SIP submissions for                                                            interstate air pollution,’’ this approach
                                                 the 2015 8-hour ozone NAAQS concerning                  which includes what we refer to as
                                                 considerations for identifying downwind areas that      ‘‘violating monitor’’ receptors, based on              in the Agency’s judgement best balances
                                                 may have problems maintaining the standard at           current ozone concentrations measured                  the need to avoid both ‘‘under-control’’
                                                 Step 1 of the 4-step interstate transport framework.
                                                                                                         by regulatory ambient air quality                      and ‘‘overcontrol,’’ EME Homer City,
                                                 See Considerations for Identifying Maintenance                                                                 572 U.S. at 523.
                                                 Receptors for Use in Clean Air Act Section              monitoring sites.
                                                 110(a)(2)(D)(i)(I) Interstate Transport State              Specifically, the EPA has identified                   We acknowledge that the traditional
                                                 Implementation Plan Submissions for the 2015            monitoring sites with measured 2021                    modeling plus monitoring methodology
                                                 Ozone National Ambient Air Quality Standards,
                                                                                                         and preliminary 2022 design values and                 we used at proposal and in prior ozone
                                                 October 19, 2018 (‘‘October 2018 memorandum’’),
                                                 available in Docket No. EPA–HQ–OAR–2021–0668            4th high maximum daily 8-hour average                  transport rules would otherwise have
                                                 or at https://www.epa.gov/airmarkets/memo-and-          (MDA8) ozone in both 2021 and 2022                     identified such sites as being in
                                                 supplemental-information-regarding-interstate-          (preliminary data) that exceed the                     attainment in 2023. Despite the
                                                 transport-sips-2015-ozone-naaqs. EPA is not             NAAQS, although projected to be in                     implications of the current measured
                                                 applying the suggested analytical approaches in
                                                 that memorandum in this rule, nor would those           attainment in 2023, as having the                      data suggesting there will be a
                                                 approaches be appropriate in light of currently         greatest risk of continuing to have a                  nonattainment problem at these sites in
                                                 available data. Potential alternative approaches        problem attaining the standard in 2023.                2023, we cannot definitively establish
                                                 would introduce unnecessary and substantial             These criteria sufficiently consider                   that such sites will be in nonattainment
                                                 additional analytical burdens that could frustrate
                                                 timely and efficient implementation of good
                                                                                                         measured air quality data so as to avoid               in 2023 in light of our modeling
                                                 neighbor obligations. In addition, the information      including monitoring sites that have                   projections. In the face of this
                                                 supplied in that memorandum is now outdated due         measured nonattainment data in recent                  uncertainty, we regard our ability to
                                                 to several additional years of air quality monitoring   years but could reasonably be                          consider such sites as receptors for
                                                 data and updated modeling results. EPA’s current        anticipated to not have a nonattainment                purposes of good neighbor analysis
                                                 approach to defining ‘‘maintenance’’ receptors has
                                                 been upheld and continues to provide an                 or maintenance problem in 2023, in line                under CAA section 110(a)(2)(D)(i)(I) to
                                                 appropriate approach to addressing the                  with our modeling results. Our                         be a function of the requirement to
                                                 ‘‘interference with maintenance’’ prong of the Good     methodology is intended only to                        prohibit emissions that interfere with
                                                 Neighbor provision. See EME Homer City, 795 F.3d        identify those sites that have sufficiently            maintenance of the NAAQS; even if an
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                                                 118, 136–37; Wisconsin, 938 F.3d at 325–26.
                                                    159 See https://www.epa.gov/air-trends/air-
                                                                                                         poor ozone levels that there is clearly a              area may be technically in attainment,
                                                 quality-design-values for design value reports. At
                                                                                                         reasonable expectation that an ozone                   we have reliable information indicating
                                                 the time of this action, the most recent reports        nonattainment or maintenance problem                   that there is an identified risk that
                                                 available are for the calendar year 2021.               will persist in the 2023 ozone season.                 attainment will not in fact be achieved.




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                                                    However, because we did not identify                    The ozone predictions from the 2016                  WRF meteorological model those grid
                                                 this basis for receptor-identification at               and future year air quality model                       cells that are greater than 50 percent
                                                 proposal, in this final action we are only              simulations were used to project 2016–                  overwater are treated as being 100
                                                 using this receptor category on a                       2018 average and maximum ozone                          percent overwater. In such cases the
                                                 confirmatory basis. That is, for states                 design values to 2023 and 2026 using an                 meteorological conditions in the entire
                                                 that we find linked based on our                        approach similar to the approach in                     grid cell reflect the vertical mixing and
                                                 traditional modeling-based methodology                  EPA’s guidance for attainment                           winds over water, even if part of the
                                                 in 2023, we find in this final analysis                 demonstration modeling. This guidance                   grid cell also happens to be over land
                                                 that the linkage at Step 2 is strengthened              recommends using model predictions                      with land-based emissions, as can often
                                                 and confirmed if that state is also linked              from the 3 x 3 array of grid cells 161                  be the case for coastal areas. Overlaying
                                                 to one or more ‘‘violating monitor’’                    surrounding the location of the                         land-based emissions with overwater
                                                 receptors. If a state is only linked to a               monitoring site to calculate a Relative                 meteorology may be representative of
                                                 violating-monitor receptor in this final                Response Factor (RRF) for that site.162                 conditions at coastal monitors during
                                                 analysis, we are deferring taking final                 However, the guidance also notes that                   times of on-shore flow associated with
                                                 action on that state’s SIP submittal. This              an alternative array of grid cells may be               synoptic conditions or sea-breeze or
                                                 is the case for the State of Tennessee.                 used in certain situations where local                  lake-breeze wind flows. But there may
                                                 Among the states that previously had                    topographic or geographical feature                     be other times, particularly with off-
                                                 their transport SIPs fully approved for                 (e.g., a large water body or a significant              shore wind flow, when vertical mixing
                                                 the 2015 ozone NAAQS, the EPA has                       elevation change) may influence model                   of land-based emissions may be too
                                                 also identified a linkage to violating-                 response.                                               limited due to the presence of overwater
                                                 monitor receptors for the State of                         The 2016–2018 base period average                    meteorology. Thus, for our modeling the
                                                 Kansas. The EPA intends to further                      and maximum design values were                          EPA projected average and maximum
                                                 review its air quality modeling results                 multiplied by the RRF to project each of                design values at individual monitoring
                                                 and recent measured ozone levels, and                   these design values to each of the three                sites based on both the ‘‘3 × 3’’ approach
                                                 we intend to address these states’ good                 future years. In this manner, the                       as well as the alternative approach that
                                                 neighbor obligations as expeditiously as                projected design values are grounded in                 eliminates overwater cells in the RRF
                                                 practicable in a future action.                         monitored data, and not the absolute                    calculation for near-coastal areas (i.e.,
                                                                                                         model-predicted future year                             ‘‘no water’’ approach). The projected
                                                 E. Methodology for Projecting Future                    concentrations. Following the approach                  2023 and 2026 design values using both
                                                 Year Ozone Design Values                                in the CSAPR Update and the Revised                     the ‘‘3 × 3’’ and ‘‘no-water’’ approaches
                                                    Consistent with the EPA’s modeling                   CSAPR Update, the EPA also projected                    are provided in the docket for this final
                                                 guidance, the 2016 base year and future                 future year design values based on a                    rule. For this final rule, the EPA is
                                                 year air quality modeling results were                  modified version of the ‘‘3 × 3’’                       relying upon design values based on the
                                                 used in a relative sense to project design              approach for those monitoring sites                     ‘‘no water’’ approach for identifying
                                                 values for 2023 and 2026. That is, the                  located in coastal areas. In this                       nonattainment and maintenance
                                                 ratios of future year model predictions                 alternative approach, the EPA                           receptors.164
                                                 to base year model predictions are used                 eliminated from the RRF calculations                       Consistent with the truncation and
                                                 to adjust ambient ozone design                          the modeling data in those grid cells                   rounding procedures for the 8-hour
                                                 values 160 up or down depending on the                  that are dominated by water (i.e., more                 ozone NAAQS, the projected design
                                                 relative (percent) change in model                      than 50 percent of the area in the grid
                                                                                                                                                                 values are truncated to integers in units
                                                 predictions for each location. The                      cell is water) and that do not contain a
                                                                                                                                                                 of ppb.165 Therefore, projected design
                                                 modeling guidance recommends using                      monitoring site (i.e., if a grid cell is more
                                                                                                                                                                 values that are greater than or equal to
                                                 measured ozone concentrations for the                   than 50 percent water but contains an
                                                                                                                                                                 71 ppb are considered to be violating
                                                 5-year period centered on the base year                 air quality monitor, that cell would
                                                                                                                                                                 the 2015 ozone NAAQS. For those sites
                                                 as the air quality data starting point for              remain in the calculation). The choice of
                                                                                                                                                                 that are projected to be violating the
                                                 future year projections. This average                   more than 50 percent of the grid cell
                                                                                                                                                                 NAAQS based on the average design
                                                 design value is used to dampen the                      area as water as the criteria for
                                                                                                                                                                 values in the future analytic years, the
                                                 effects of inter-annual variability in                  identifying overwater grid cells is based
                                                                                                                                                                 Agency examined the measured design
                                                 meteorology on ozone concentrations                     on the treatment of land use in the
                                                                                                         Weather Research and Forecasting                        values for 2021, which are the most
                                                 and to provide a reasonable projection                                                                          recent official measured design values at
                                                                                                         model (WRF).163 Specifically, in the
                                                 of future air quality at the receptor                                                                           the time of this final rule. As noted
                                                 under average conditions. In addition,                     161 As noted in this section, each model grid cell   earlier, the Agency is identifying
                                                 the Agency calculated maximum design                    is 12 x 12 km.                                          nonattainment receptors in this
                                                 values from within the 5-year base                         162 The relative response factor represents the      rulemaking as those sites that are
                                                 period to represent conditions when                     change in ozone at a given site. To calculate the       violating the NAAQS based on current
                                                 meteorology is more favorable than                      RRF, the EPA’s modeling guidance recommends
                                                                                                         selecting the 10 highest ozone days in an ozone            164 Using design values from the ‘‘3 × 3’’
                                                 average for ozone formation. Because                    season at a given monitor in the base year, noting
                                                 the base year for the air quality                       which of the grid cells surrounding the monitor         approach, the maintenance-only receptor at site
                                                                                                         experienced the highest ozone concentrations in the     550590019 in Kenosha County, WI would become
                                                 modeling used in this final rule is 2016,                                                                       a nonattainment receptor because the average
                                                                                                         base year, and averaging those ten highest
                                                 measured data for 2014–2018 (i.e.,                      concentrations. The model is then run using the         design value with the ‘‘3 × 3’’ approach is 72.0 ppb
                                                 design values for 2016, 2017, and 2018)                 projected year emissions, in this case 2023, with all   versus 70.8 ppb with the ‘‘no water’’ approach. In
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                                                 were used to project average and                        other model variables held constant. Ozone              addition, the maintenance-only receptor at site
                                                                                                         concentrations from the same ten days, in the same      090099002 in New Haven County, CT would
                                                 maximum design values in 2023 and                                                                               become a nonattainment receptor using the ‘‘3 × 3’’
                                                                                                         grid cells, are then averaged. The fractional change
                                                 2026.                                                   between the base year (2016 model run) average          approach because the average design value with the
                                                                                                         ozone concentration and the future year (e.g., 2023     ‘‘3 × 3’’ approach is 71.2 ppb versus 70.5 ppb with
                                                   160 The ozone design value at a particular            model run) average ozone concentration represents       the ‘‘no water’’ approach.
                                                 monitoring site is the 3-year average of the annual     the relative response factor.                              165 40 CFR part 50, appendix P—Interpretation of

                                                 4th highest daily maximum 8-hour ozone                     163 https://www.mmm.ucar.edu/weather-research-       the Primary and Secondary National Ambient Air
                                                 concentration at that site.                             and-forecasting-model.                                  Quality Standards for Ozone.



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                                                 measured air quality and also have                           maintenance receptors because the                              the 2023 base case average and
                                                 projected average design values of 71                        maximum design values for each of                              maximum design values and the
                                                 ppb or greater. Maintenance-only                             these sites is always greater than or                          measured 2021 design values for the
                                                 receptors include both (1) those sites                       equal to the average design value. The                         sites that are projected to be
                                                 with projected average design values                         monitoring sites that the Agency                               nonattainment receptors in 2023. Table
                                                 above the NAAQS that are currently                           projects to be nonattainment and                               IV.D–2 contains this same information
                                                 measuring clean data (i.e., ozone design                     maintenance receptors for the ozone                            for monitoring sites that are projected to
                                                 values below the level of the 2015 ozone                     NAAQS in the 2023 and 2026 base case                           be maintenance-only receptors in 2023.
                                                 NAAQS) and (2) those sites with                              are used for assessing the contribution                        The design values for all monitoring
                                                 projected average design values below                        of emissions in upwind states to                               sites in the U.S. are provided in the
                                                                                                              downwind nonattainment and
                                                 the level of the NAAQS, but with                                                                                            docket for this rule. Additional details
                                                                                                              maintenance of the 2015 ozone NAAQS
                                                 projected maximum design values of 71                        as part of this final rule.166                                 on the approach for projecting average
                                                 ppb or greater. In addition to the                             Table IV.D–1 contains the 2016-                              and maximum design values are
                                                 maintenance-only receptors, ozone                            centered 167 base period average and                           provided in the Air Quality Modeling
                                                 nonattainment receptors are also                             maximum 8-hour ozone design values,                            Final Rule TSD.

                                                   TABLE IV.D–1—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                     2021 DESIGN VALUES (ppb) AT PROJECTED NONATTAINMENT RECEPTORS
                                                                                                                                                            2016         2016            2023          2023
                                                                Monitor ID                         State                     County                        Centered     Centered                                        2021
                                                                                                                                                                                        Average       Maximum
                                                                                                                                                           average      maximum

                                                 060650016 ....................................   CA          Riverside .............................            79.0         80.0            72.2           73.1              78
                                                 060651016 ....................................   CA          Riverside .............................            99.7        101.0            91.0           92.2              95
                                                 080350004 ....................................   CO          Douglas ...............................            77.3           78            71.3           71.9              83
                                                 080590006 ....................................   CO          Jefferson ..............................           77.3           78            72.8           73.5              81
                                                 080590011 ....................................   CO          Jefferson ..............................           79.3           80            73.5           74.1              83
                                                 090010017 ....................................   CT          Fairfield ................................         79.3           80            71.6           72.2              79
                                                 090013007 ....................................   CT          Fairfield ................................         82.0           83            72.9           73.8              81
                                                 090019003 ....................................   CT          Fairfield ................................         82.7           83            73.3           73.6              80
                                                 481671034 ....................................   TX          Galveston ............................             75.7           77            71.5           72.8              72
                                                 482010024 ....................................   TX          Harris ...................................         79.3           81            75.1           76.7              74
                                                 490110004 ....................................   UT          Davis ...................................          75.7           78            72.0           74.2              78
                                                 490353006 ....................................   UT          Salt Lake .............................            76.3           78            72.6           74.2              76
                                                 490353013 ....................................   UT          Salt Lake .............................            76.5           77            73.3           73.8              76
                                                 551170006 ....................................   WI          Sheboygan ..........................               80.0           81            72.7           73.6              72


                                                   TABLE IV.D–2—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                   2021 DESIGN VALUES (ppb) AT PROJECTED MAINTENANCE-ONLY RECEPTORS
                                                                                                                                                            2016         2016            2023          2023
                                                                Monitor ID                         State                     County                        Centered     Centered                                        2021
                                                                                                                                                                                        Average       Maximum
                                                                                                                                                           average      maximum

                                                 040278011 ....................................   AZ          Yuma ...................................           72.3           74            70.4           72.1              67
                                                 080690011 ....................................   CO          Larimer ................................           75.7           77            70.9           72.1              77
                                                 090099002 ....................................   CT          New Haven ..........................               79.7           82            70.5           72.6              82
                                                 170310001 ....................................   IL          Cook ....................................          73.0           77            68.2           71.9              71
                                                 170314201 ....................................   IL          Cook ....................................          73.3           77            68.0           71.5              74
                                                 170317002 ....................................   IL          Cook ....................................          74.0           77            68.5           71.3              73
                                                 350130021 ....................................   NM          Dona Ana ............................              72.7           74            70.8           72.1              80
                                                 350130022 ....................................   NM          Dona Ana ............................              71.3           74            69.7           72.4              75
                                                 350151005 ....................................   NM          Eddy ....................................          69.7           74            69.7           74.1              77
                                                 350250008 ....................................   NM          Lea ......................................         67.7           70            69.8           72.2              66
                                                 480391004 ....................................   TX          Brazoria ...............................           74.7           77            70.4           72.5              75
                                                 481210034 ....................................   TX          Denton .................................           78.0           80            69.8           71.6              74
                                                 481410037 ....................................   TX          El Paso ................................           71.3           73            69.8           71.4              75
                                                 482010055 ....................................   TX          Harris ...................................         76.0           77            70.9           71.9              77
                                                 482011034 ....................................   TX          Harris ...................................         73.7           75            70.1           71.3              71
                                                 482011035 ....................................   TX          Harris ...................................         71.3           75            67.8           71.3              71
                                                 530330023 ....................................   WA          King .....................................         73.3           77            67.6           71.0              64
                                                 550590019 ....................................   WI          Kenosha ..............................             78.0           79            70.8           71.7              74
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                                                 551010020 ....................................   WI          Racine .................................           76.0           78            69.7           71.5              73

                                                   166 In addition, there are 71 monitoring sites in          The two exceptions are the two monitoring sites                  167 2016-centered averaged design values

                                                 California with projected 2023 maximum design                that represent air quality impacts to lands of the             represent the average of the design values for 2016,
                                                 values above the NAAQS. With two exceptions, as              Morongo and Pechanga tribes. As explained in                   2017, and 2018. Similarly, the maximum 2016-
                                                 described in section IV.F of this document, the              footnote 110 supra, we treat these as transport                centered design value is the highest measured
                                                 Agency is not making a determination in this action          receptors that are impacted by emissions from
                                                                                                                                                                             design value from these three design value periods.
                                                 that these monitors are ozone transport receptors.           California.



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                                                    In total, in the 2023 base case there                        the greatest risk of continuing to have a                   NAAQS. See, e.g., North Carolina, 531
                                                 are a total of 33 projected modeling-                           problem attaining the standard in 2023,                     F.3d at 910–11 (failing to give effect to
                                                 based receptors nationwide including                            even when the modeling projects these                       the interfere with maintenance clause
                                                 14 nonattainment receptors in 9                                 sites will attain. These criteria are                       ‘‘provides no protection for downwind
                                                 different counties and 19 maintenance-                          sufficiently conservative that we avoid                     areas that, despite EPA’s predictions,
                                                 only receptors in 13 additional counties                        including monitoring sites that have                        still find themselves struggling to meet
                                                 (Harris County, TX, has both                                    measured nonattainment data in recent                       NAAQS due to upwind interference
                                                 nonattainment and maintenance-only                              years but could reasonably be                               . . . .’’) (emphasis added). Recognizing
                                                 receptors).168 Of the 14 nonattainment                          anticipated to not have a nonattainment                     that no modeling can perfectly forecast
                                                 receptors in 2023, 7 remain                                     or maintenance problem in 2023, in line                     the future, and ‘‘a degree of imprecision
                                                 nonattainment receptors, 5 are projected                        with our modeling results. Our                              is inevitable in tackling the problem of
                                                 to become maintenance-only receptors                            methodology is intended only to                             interstate air pollution,’’ this approach
                                                 and 2 are projected to be in attainment                         identify those sites that have sufficiently                 in the Agency’s judgement best balances
                                                 in 2026. Of the 19 maintenance-only                             poor ozone levels that there is clearly a                   the need to avoid both ‘‘under-control’’
                                                 receptors in 2023, 7 are projected to                           reasonable expectation that an ozone                        and ‘‘overcontrol,’’ EME Homer City,
                                                 remain maintenance-only receptors and                           nonattainment or maintenance problem                        572 U.S. at 523.
                                                 12 are projected to be in attainment in                         will persist in the 2023 ozone season.
                                                 2026. The projected average and                                 We do not apply this methodology for                           In this action, we identify ‘‘violating
                                                 maximum design values in 2026 for all                           the 2026 analytic year, because that year                   monitor’’ maintenance-only receptors
                                                 receptors are included in the Air                               is sufficiently farther in the future that                  for purposes of more firmly establishing
                                                 Quality Modeling Final Rule TSD.                                we do not believe there would be a                          that the states we have otherwise
                                                    Comment: EPA received comments                               reasonable basis to supplement our                          identified as linked at Step 2 in our
                                                 saying that the projected design values                         modeling analysis with this ‘‘violating                     modeling-based methodology can
                                                 for 2023 were biased low compared to                            monitor’’ methodology. By comparison,                       indeed be reasonably anticipated to be
                                                 recent measured data. Commenters                                2023 is so near in time that recent                         linked to air quality problems in
                                                 noted that a number of monitoring sites                         measured ozone levels can be used                           downwind states in 2023 for reasons
                                                 that are projected to be below the                              reasonably to project whether an air                        that extend beyond that methodology. In
                                                 NAAQS in 2023 based on EPA’s                                    quality problem is likely to persist. We                    this sense, this approach is
                                                 modeling for the proposed rule are                              view this approach to identifying                           ‘‘confirmatory’’ and does not alter the
                                                 currently measuring nonattainment.                              additional receptors in 2023 as the best                    geography of the final rule compared to
                                                 Because 2023 is only a year later than                          means of responding to the comments                         the application of the modeling-based
                                                 the most recent measured data some                              on this issue in this action. The                           receptor definitions used at proposal.
                                                 commenters said that EPA should give                            monitoring sites that meet these criteria,                  Rather, it strengthens the analytical
                                                 greater weight to measured data when                            along with the corresponding measured                       basis for our Step 2 findings by
                                                 identifying downwind receptors.                                 and modeled data, are provided in Table                     establishing that many upwind states
                                                    Response: Based on an analysis of                            IV.D–3.                                                     covered in this action are also projected
                                                 model projections for 2023 and recent                              For purposes of this action, we will                     to contribute above 1 percent of the
                                                 trends in measured data, the EPA agrees                         treat these sites as an additional type of                  NAAQS to these types of receptors. For
                                                 that current data indicate that there are                       maintenance-only receptor. Because our                      purposes of this final rule, we will not
                                                 monitoring sites at risk of continued                           modeling did not identify these sites as                    finalize FIPs for any states that this
                                                 nonattainment in 2023 even though the                           receptors, we do not believe it is                          analysis indicates contribute greater
                                                 model projected average and maximum                             sufficiently certain that these sites will                  than 1 percent of the NAAQS only to a
                                                 design values at these sites are below                          be in nonattainment that they should be                     ‘‘violating monitor’’ receptor. Our
                                                 the NAAQS (i.e., sites that are not                             considered nonattainment receptors for                      analysis suggests this would be the case
                                                 modeling-based receptors).169                                   purposes of this final rule. Rather, our                    for two states, Kansas and Tennessee
                                                 Specifically, the EPA believes that                             authority for treating these sites as                       (see section IV.F of this document).170
                                                 monitoring sites with measured design                           receptors in 2023 flows from the                            We are making no final decisions with
                                                 values and 4th high maximum daily 8-                            responsibility in CAA section                               respect to these states in this action and
                                                 hour average (MDA8) ozone based on                              110(a)(2)(i)(I) to prohibit emissions that                  intend to address these states in a
                                                 2021 and preliminary 2022 data have                             interfere with maintenance of the                           subsequent action.

                                                   TABLE IV.D–3—AVERAGE AND MAXIMUM 2023 BASE CASE 8-HOUR OZONE, AND 2021 AND PRELIMINARY 2022 DESIGN
                                                                     VALUES (ppb) AND 4TH HIGH CONCENTRATIONS AT VIOLATING MONITORS
                                                                                                                                                 2023           2023                                     2021          2022 P
                                                           Monitor ID                    State                     County                                                   2021        2022 P *
                                                                                                                                                Average        Maximum                                 4th high        4th high

                                                 40070010 ..........................   AZ           Gila ....................................        67.9           69.5         77             76              75             74

                                                   168 The EPA’s modeling also projects that three               the Uinta Basin’s wintertime ozone are sources              modeling-based receptors listed in Table IV.D–1
                                                 monitoring sites in the Uintah Basin (i.e., monitor             located at low elevations within the Basin, the             and Table IV.D–2 to the 2021 design values
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                                                 490472003 in Uintah County, Utah, and monitors                  Basin’s unique topography, and the influence of the         measured at these sites indicates that the projected
                                                 490130002 and 490137011 in Duchesne County,                     wintertime meteorologic inversions that keep ozone          maximum values are lower than the measured data
                                                 Utah) will have average design values above the                 and ozone precursors near the Basin floor and               at most receptors. These differences are particularly
                                                 NAAQS in 2023. However, as noted in the proposed
                                                                                                                 restrict air flow in the Basin. Because of the              evident at receptors in coastal Connecticut and in
                                                 rule, the Uinta Basin nonattainment area was
                                                 designated as nonattainment for the 2015 ozone                  localized nature of the ozone problem at these sites        Denver. (See Air Quality Modeling Final Rule TSD
                                                 NAAQS not because of an ongoing problem with                    the EPA has not identified these three monitors as          for details).
                                                 summertime ozone (as is usually the case in other               receptors in Step 1 of this final rule.                        170 We have not conducted an analysis in this
                                                                                                                   169 In addition, we note that comparing the               action to determine whether violating-monitor
                                                 parts of the country), but instead because it violates
                                                 the ozone NAAQS in winter. The main causes of                   projected 2023 maximum design values at                     receptors may exist in California.



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                                                   TABLE IV.D–3—AVERAGE AND MAXIMUM 2023 BASE CASE 8-HOUR OZONE, AND 2021 AND PRELIMINARY 2022 DESIGN
                                                                VALUES (ppb) AND 4TH HIGH CONCENTRATIONS AT VIOLATING MONITORS—Continued
                                                                                                                                              2023           2023                                     2021         2022 P
                                                           Monitor ID                    State                  County                                                   2021       2022 P *
                                                                                                                                             Average        Maximum                                 4th high       4th high

                                                 40130019 ..........................   AZ         Maricopa ...........................            69.8           70.0        75              77             78             76
                                                 40131003 ..........................   AZ         Maricopa ...........................            70.1           70.7        80              80             83             78
                                                 40131004 ..........................   AZ         Maricopa ...........................            70.2           70.8        80              81             81             77
                                                 40131010 ..........................   AZ         Maricopa ...........................            68.3           69.2        79              80             80             78
                                                 40132001 ..........................   AZ         Maricopa ...........................            63.8           64.1        74              78             79             81
                                                 40132005 ..........................   AZ         Maricopa ...........................            69.6           70.5        78              79             79             77
                                                 40133002 ..........................   AZ         Maricopa ...........................            65.8           65.8        75              75             81             72
                                                 40134004 ..........................   AZ         Maricopa ...........................            65.7           66.6        73              73             73             71
                                                 40134005 ..........................   AZ         Maricopa ...........................            62.3           62.3        73              75             79             73
                                                 40134008 ..........................   AZ         Maricopa ...........................            65.6           66.5        74              74             74             71
                                                 40134010 ..........................   AZ         Maricopa ...........................            63.8           66.9        74              76             77             75
                                                 40137020 ..........................   AZ         Maricopa ...........................            67.0           67.0        76              77             77             75
                                                 40137021 ..........................   AZ         Maricopa ...........................            69.8           70.1        77              77             78             75
                                                 40137022 ..........................   AZ         Maricopa ...........................            68.2           69.1        76              78             76             79
                                                 40137024 ..........................   AZ         Maricopa ...........................            67.0           67.9        74              76             74             77
                                                 40139702 ..........................   AZ         Maricopa ...........................            66.9           68.1        75              77             72             77
                                                 40139704 ..........................   AZ         Maricopa ...........................            65.3           66.2        74              77             76             76
                                                 40139997 ..........................   AZ         Maricopa ...........................            70.5           70.5        76              79             82             76
                                                 40218001 ..........................   AZ         Pinal ..................................        67.8           69.0        75              76             73             77
                                                 80013001 ..........................   CO         Adams ...............................           63.0           63.0        72              77             79             75
                                                 80050002 ..........................   CO         Arapahoe ...........................            68.0           68.0        80              80             84             73
                                                 80310002 ..........................   CO         Denver ...............................          63.6           64.8        72              74             77             71
                                                 80310026 ..........................   CO         Denver ...............................          64.5           64.8        75              77             83             72
                                                 90079007 ..........................   CT         Middlesex ..........................            68.7           69.0        74              73             78             73
                                                 90110124 ..........................   CT         New London ......................               65.5           67.0        73              72             75             71
                                                 170310032 ........................    IL         Cook ..................................         67.3           69.8        75              75             77             72
                                                 170311601 ........................    IL         Cook ..................................         63.8           64.5        72              73             72             71
                                                 181270024 ........................    IN         Porter ................................         63.4           64.6        72              73             72             73
                                                 260050003 ........................    MI         Allegan ..............................          66.2           67.4        75              75             78             73
                                                 261210039 ........................    MI         Muskegon ..........................             67.5           68.4        74              79             75             82
                                                 320030043 ........................    NV         Clark ..................................        68.4           69.4        73              75             74             74
                                                 350011012 ........................    NM         Bernalillo ...........................          63.8           66.0        72              73             76             74
                                                 350130008 ........................    NM         Dona Ana ..........................             65.6           66.3        72              76             79             78
                                                 361030002 ........................    NY         Suffolk ...............................         66.2           68.0        73              74             79             74
                                                 390850003 ........................    OH         Lake ..................................         64.3           64.6        72              74             72             76
                                                 480290052 ........................    TX         Bexar .................................         67.1           67.8        73              74             78             72
                                                 480850005 ........................    TX         Collin .................................        65.4           66.0        75              74             81             73
                                                 481130075 ........................    TX         Dallas ................................         65.3           66.5        71              71             73             72
                                                 481211032 ........................    TX         Denton ...............................          65.9           67.7        76              77             85             77
                                                 482010051 ........................    TX         Harris .................................        65.3           66.3        74              73             83             72
                                                 482010416 ........................    TX         Harris .................................        68.8           70.4        73              73             78             71
                                                 484390075 ........................    TX         Tarrant ...............................         63.8           64.7        75              76             76             77
                                                 484391002 ........................    TX         Tarrant ...............................         64.1           65.7        72              77             76             80
                                                 484392003 ........................    TX         Tarrant ...............................         65.2           65.9        72              72             74             72
                                                 484393009 ........................    TX         Tarrant ...............................         67.5           68.1        74              75             75             75
                                                 490571003 ........................    UT         Weber ................................          69.3           70.3        71              74             77             71
                                                 550590025 ........................    WI         Kenosha ............................            67.6           70.7        72              73             72             71
                                                 550890008 ........................    WI         Ozaukee ............................            65.2           65.8        71              72             72             72
                                                   * 2022 preliminary design values are based on 2022 measured MDA8 concentrations provided by state air agencies to the EPA’s Air Quality
                                                 System (AQS), as of January 3, 2023.


                                                 F. Pollutant Transport From Upwind                            states on downwind nonattainment and                       emissions and boundary conditions to
                                                 States                                                        maintenance receptors for 8-hour ozone.                    fully characterize culpable sources.
                                                                                                               CAMx employs enhanced source                                  The EPA performed nationwide, state-
                                                 1. Air Quality Modeling To Quantify                                                                                      level ozone source apportionment
                                                 Upwind State Contributions                                    apportionment techniques that track the
                                                                                                               formation and transport of ozone from                      modeling using the CAMx Ozone
                                                   This section documents the                                  specific emissions sources and                             Source Apportionment Technology/
                                                 procedures the EPA used to quantify the                       calculates the contribution of sources                     Anthropogenic Precursor Culpability
                                                 impact of emissions from specific                                                                                        Analysis (OSAT/APCA) technique 171 to
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                                                                                                               and precursors to ozone for individual
                                                 upwind states on ozone design values in                       receptor locations. The benefit of the                     quantify the contribution of 2023 and
                                                 2023 and 2026 for the identified                                                                                         2026 base case NOX and VOC emissions
                                                                                                               photochemical model source
                                                 downwind nonattainment and                                                                                               from all sources in each state to the
                                                                                                               apportionment technique is that all
                                                 maintenance receptors. The EPA used                           modeled ozone at a given receptor                            171 As part of this technique, ozone formed from
                                                 CAMx photochemical source                                     location in the modeling domain is                         reactions between biogenic VOC and NOX with
                                                 apportionment modeling to quantify the                        tracked back to specific sources of                        anthropogenic NOX and VOC are assigned to the
                                                 impact of emissions in specific upwind                                                                                   anthropogenic emissions.



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                                                 corresponding projected ozone design                                             • Fires—combined emissions from                                               (1) Calculate the 8-hour average
                                                 values in 2023 and 2026 at air quality                                        wild and prescribed fires domain-wide                                         contribution from each source tag to
                                                 monitoring sites. The CAMx OSAT/                                              (i.e., not by state); and                                                     each monitoring site for the time period
                                                 APCA model run was performed for the                                             • Offshore—combined emissions                                              of the 8-hour daily maximum modeled
                                                 period May 1 through September 30                                             from offshore marine vessels and                                              concentrations in 2023;
                                                 using the projected future base case                                          offshore drilling platforms.                                                     (2) Average the contributions and
                                                 emissions and 2016 meteorology for this                                          The contribution modeling provided                                         average the concentrations for the top 10
                                                 time period. In the source                                                    contributions to ozone from                                                   modeled ozone concentration days in
                                                 apportionment modeling the Agency                                             anthropogenic NOX and VOC emissions                                           2023;
                                                 tracked (i.e., tagged) the amount of                                          in each state, individually. The                                                 (3) Divide the average contribution by
                                                 ozone formed from anthropogenic                                               contributions to ozone from chemical                                          the corresponding average concentration
                                                 emissions in each state individually as                                       reactions between biogenic NOX and                                            to obtain a Relative Contribution Factor
                                                 well as the contributions from other                                          VOC emissions were modeled and                                                (RCF) for each monitoring site;
                                                 sources (e.g., natural emissions).                                            assigned to the ‘‘biogenic’’ category. The                                       (4) Multiply the 2023 average design
                                                                                                                               contributions from wildfire and
                                                    In the state-by-state source                                                                                                                             values by the 2023 RCF at each site to
                                                                                                                               prescribed fire NOX and VOC emissions
                                                 apportionment model runs, the EPA                                                                                                                           produce the average contribution metric
                                                                                                                               were modeled and assigned to the
                                                 tracked the ozone formed from each of                                                                                                                       values in 2023.172
                                                                                                                               ‘‘fires’’ category. That is, the
                                                 the following tags:                                                                                                                                            This same approach was applied to
                                                                                                                               contributions from the ‘‘biogenic’’ and
                                                    • States—anthropogenic NOX and                                             ‘‘fires’’ categories are not assigned to                                      calculate contribution metric values at
                                                 VOC emissions from each state tracked                                         individual states nor are they included                                       individual monitoring sites for 2026.173
                                                 individually (emissions from all                                              in the state contributions.                                                      The resulting contributions from each
                                                 anthropogenic sectors in a given state                                           For the Step 2 analysis, the EPA                                           tag to each monitoring site in the U.S.
                                                 were combined);                                                               calculated a contribution metric that                                         for 2023 and 2026 can be found in the
                                                    • Biogenics—biogenic NOX and VOC                                           considers the average contribution on                                         docket for this final rule. Additional
                                                 emissions domain-wide (i.e., not by                                           the 10 highest ozone concentration days                                       details on the source apportionment
                                                 state);                                                                       (i.e., top 10 days) in 2023. This average                                     modeling and the procedures for
                                                                                                                               contribution metric is intended to                                            calculating contributions can be found
                                                    • Boundary Concentrations—                                                                                                                               in the Air Quality Modeling Final Rule
                                                 concentrations transported into the air                                       provide a reasonable representation of
                                                                                                                               the contribution from individual states                                       TSD. The EPA’s response to comments
                                                 quality modeling domain;                                                                                                                                    on the method for calculating the
                                                                                                                               to projected future year design values,
                                                    • Tribes—the emissions from those                                          based on modeled transport patterns                                           contribution metric can be found in the
                                                 tribal lands for which the Agency has                                         and other meteorological conditions                                           RTC document for this final rule.
                                                 point source inventory data in the                                            generally associated with modeled high                                           The largest contribution from each
                                                 2016v3 emissions modeling platform                                            ozone concentrations at the receptor. An                                      state that is the subject of this rule to
                                                 (EPA did not model the contributions                                          average contribution metric constructed                                       modeled 8-hour ozone nonattainment
                                                 from individual tribes);                                                      in this manner is beneficial since the                                        and maintenance receptors in
                                                    • Canada and Mexico—                                                       magnitude of the contributions is                                             downwind states in 2023 and 2026 are
                                                 anthropogenic emissions from sources                                          directly related to the magnitude of the                                      provided in Table IV.F–1 and Table
                                                 in the portions of Canada and Mexico                                          design value at each site.                                                    IV.F–2, respectively. The largest
                                                 included in the modeling domain (the                                             The analytic steps for calculating the                                     contribution from each state to a
                                                 EPA did not model the contributions                                           contribution metric for the 2023 analytic                                     ‘‘violating monitor’’ maintenance-only
                                                 from Canada and Mexico separately);                                           year are as follows:                                                          receptor is provided in Table IV.F–3.

                                                 TABLE IV.F–1—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE RECEPTORS
                                                                                               IN 2023
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                        Largest                 Largest
                                                                                                                                                                                                                     contribution to         contribution to
                                                                                                                      Upwind state                                                                                     downwind                downwind
                                                                                                                                                                                                                     nonattainment          maintenance-only
                                                                                                                                                                                                                       receptors               receptors

                                                 Alabama ...................................................................................................................................................                       0.75                    0.65
                                                 Arizona .....................................................................................................................................................                     0.54                    1.69
                                                 Arkansas ..................................................................................................................................................                       0.94                    1.21
                                                 California ..................................................................................................................................................                    35.27                    6.31
                                                 Colorado ..................................................................................................................................................                       0.14                    0.18
                                                 Connecticut ..............................................................................................................................................                        0.01                    0.01
                                                 Delaware ..................................................................................................................................................                       0.44                    0.56
                                                 District of Columbia .................................................................................................................................                            0.03                    0.04
                                                 Florida ......................................................................................................................................................                    0.50                    0.54
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                                                 Georgia ....................................................................................................................................................                      0.18                    0.17
                                                 Idaho ........................................................................................................................................................                    0.42                    0.41
                                                 Illinois .......................................................................................................................................................                 13.89                   19.09

                                                   172 Note that a contribution metric value was not                           County, Washington (530330023), was the only                                  for 2026 are based on the 2026 daily contributions
                                                 calculated for any receptor at which there were                               receptor which did not meet this criterion.                                   for the same days that were used to calculate the
                                                 fewer than 5 days with model-predicted MDA8                                     173 To provide consistency in the contributions                             contribution metric values for 2023.
                                                 ozone concentrations greater than or equal to 60
                                                                                                                               for 2023 and 2026, the contribution metric values
                                                 ppb in 2023. The monitoring site in Seattle, King



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                                                 TABLE IV.F–1—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE RECEPTORS
                                                                                          IN 2023—Continued
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                       Largest              Largest
                                                                                                                                                                                                                    contribution to      contribution to
                                                                                                                      Upwind state                                                                                    downwind             downwind
                                                                                                                                                                                                                    nonattainment       maintenance-only
                                                                                                                                                                                                                      receptors            receptors

                                                 Indiana .....................................................................................................................................................                   8.90               10.03
                                                 Iowa .........................................................................................................................................................                  0.67                0.90
                                                 Kansas .....................................................................................................................................................                    0.46                0.52
                                                 Kentucky ..................................................................................................................................................                     0.84                0.79
                                                 Louisiana ..................................................................................................................................................                    9.51                5.62
                                                 Maine .......................................................................................................................................................                   0.02                0.01
                                                 Maryland ..................................................................................................................................................                     1.13                1.28
                                                 Massachusetts .........................................................................................................................................                         0.33                0.15
                                                 Michigan ...................................................................................................................................................                    1.59                1.56
                                                 Minnesota ................................................................................................................................................                      0.36                0.85
                                                 Mississippi ................................................................................................................................................                    1.32                0.91
                                                 Missouri ....................................................................................................................................................                   1.87                1.39
                                                 Montana ...................................................................................................................................................                     0.08                0.10
                                                 Nebraska ..................................................................................................................................................                     0.20                0.36
                                                 Nevada .....................................................................................................................................................                    1.11                1.13
                                                 New Hampshire .......................................................................................................................................                           0.10                0.02
                                                 New Jersey ..............................................................................................................................................                       8.38                5.79
                                                 New Mexico .............................................................................................................................................                        0.36                1.59
                                                 New York .................................................................................................................................................                     16.10               11.29
                                                 North Carolina ..........................................................................................................................................                       0.45                0.66
                                                 North Dakota ............................................................................................................................................                       0.18                0.45
                                                 Ohio .........................................................................................................................................................                  2.05                1.98
                                                 Oklahoma .................................................................................................................................................                      0.79                1.01
                                                 Oregon * ...................................................................................................................................................                    0.46                0.31
                                                 Pennsylvania ............................................................................................................................................                       6.00                4.36
                                                 Rhode Island ............................................................................................................................................                       0.04                0.01
                                                 South Carolina .........................................................................................................................................                        0.16                0.18
                                                 South Dakota ...........................................................................................................................................                        0.05                0.08
                                                 Tennessee ...............................................................................................................................................                       0.60                0.68
                                                 Texas .......................................................................................................................................................                   1.03                4.74
                                                 Utah .........................................................................................................................................................                  1.29                0.98
                                                 Vermont ...................................................................................................................................................                     0.02                0.01
                                                 Virginia .....................................................................................................................................................                  1.16                1.76
                                                 Washington ..............................................................................................................................................                       0.16                0.09
                                                 West Virginia ............................................................................................................................................                      1.37                1.49
                                                 Wisconsin .................................................................................................................................................                     0.21                2.86
                                                 Wyoming ..................................................................................................................................................                      0.68                0.67


                                                 TABLE IV.F–2—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE RECEPTORS
                                                                                               IN 2026
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                       Largest              Largest
                                                                                                                                                                                                                    contribution to      contribution to
                                                                                                                      Upwind state                                                                                    downwind             downwind
                                                                                                                                                                                                                    nonattainment       maintenance-only
                                                                                                                                                                                                                      receptors            receptors

                                                 Alabama ...................................................................................................................................................                     0.20                0.69
                                                 Arizona .....................................................................................................................................................                   0.44                1.34
                                                 Arkansas ..................................................................................................................................................                     0.53                1.16
                                                 California ..................................................................................................................................................                  34.03                6.16
                                                 Colorado ..................................................................................................................................................                     0.04                0.17
                                                 Connecticut ..............................................................................................................................................                      0.00                0.01
                                                 Delaware ..................................................................................................................................................                     0.43                0.41
                                                 District of Columbia .................................................................................................................................                          0.03                0.02
                                                 Florida ......................................................................................................................................................                  0.46                0.17
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                                                 Georgia ....................................................................................................................................................                    0.13                0.16
                                                 Idaho ........................................................................................................................................................                  0.27                0.36
                                                 Illinois .......................................................................................................................................................                0.63               13.57
                                                 Indiana .....................................................................................................................................................                   1.06                8.53
                                                 Iowa .........................................................................................................................................................                  0.14                0.62
                                                 Kansas .....................................................................................................................................................                    0.14                0.42
                                                 Kentucky ..................................................................................................................................................                     0.79                0.76
                                                 Louisiana ..................................................................................................................................................                    4.57                9.37



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                                                 TABLE IV.F–2—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE RECEPTORS
                                                                                          IN 2026—Continued
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                            Largest                      Largest
                                                                                                                                                                                                                         contribution to              contribution to
                                                                                                                      Upwind state                                                                                         downwind                     downwind
                                                                                                                                                                                                                         nonattainment               maintenance-only
                                                                                                                                                                                                                           receptors                    receptors

                                                 Maine .......................................................................................................................................................                               0.00                  0.01
                                                 Maryland ..................................................................................................................................................                                 1.06                  0.92
                                                 Massachusetts .........................................................................................................................................                                     0.06                  0.31
                                                 Michigan ...................................................................................................................................................                                1.39                  1.47
                                                 Minnesota ................................................................................................................................................                                  0.15                  0.32
                                                 Mississippi ................................................................................................................................................                                0.29                  1.15
                                                 Missouri ....................................................................................................................................................                               0.29                  1.68
                                                 Montana ...................................................................................................................................................                                 0.06                  0.07
                                                 Nebraska ..................................................................................................................................................                                 0.09                  0.19
                                                 Nevada .....................................................................................................................................................                                0.67                  0.90
                                                 New Hampshire .......................................................................................................................................                                       0.01                  0.09
                                                 New Jersey ..............................................................................................................................................                                   8.10                  7.04
                                                 New Mexico .............................................................................................................................................                                    0.35                  0.46
                                                 New York .................................................................................................................................................                                 12.65                 12.34
                                                 North Carolina ..........................................................................................................................................                                   0.40                  0.42
                                                 North Dakota ............................................................................................................................................                                   0.09                  0.17
                                                 Ohio .........................................................................................................................................................                              1.95                  1.93
                                                 Oklahoma .................................................................................................................................................                                  0.19                  0.74
                                                 Oregon * ...................................................................................................................................................                                0.26                  0.41
                                                 Pennsylvania ............................................................................................................................................                                   5.47                  4.94
                                                 Rhode Island ............................................................................................................................................                                   0.00                  0.03
                                                 South Carolina .........................................................................................................................................                                    0.14                  0.15
                                                 South Dakota ...........................................................................................................................................                                    0.03                  0.04
                                                 Tennessee ...............................................................................................................................................                                   0.24                  0.54
                                                 Texas .......................................................................................................................................................                               0.48                  4.34
                                                 Utah .........................................................................................................................................................                              1.05                  0.81
                                                 Vermont ...................................................................................................................................................                                 0.01                  0.02
                                                 Virginia .....................................................................................................................................................                              1.09                  1.10
                                                 Washington ..............................................................................................................................................                                   0.10                  0.14
                                                 West Virginia ............................................................................................................................................                                  1.36                  1.34
                                                 Wisconsin .................................................................................................................................................                                 0.17                  0.18
                                                 Wyoming ..................................................................................................................................................                                  0.40                  0.59


                                                      TABLE IV.F–3—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE ‘‘VIOLATING MONITOR’’ MAINTENANCE-ONLY
                                                                                                RECEPTORS
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                                                         Largest
                                                                                                                                                                                                                                                      contribution to
                                                                                                                                                                                                                                                    downwind violating
                                                                                                                                      Upwind state                                                                                                       monitor
                                                                                                                                                                                                                                                    maintenance-only
                                                                                                                                                                                                                                                        receptors

                                                 Alabama ...................................................................................................................................................................................                       0.79
                                                 Arizona .....................................................................................................................................................................................                     1.62
                                                 Arkansas ..................................................................................................................................................................................                       1.16
                                                 California ..................................................................................................................................................................................                     6.97
                                                 Colorado ..................................................................................................................................................................................                       0.39
                                                 Connecticut ..............................................................................................................................................................................                        0.17
                                                 Delaware ..................................................................................................................................................................................                       0.42
                                                 District of Columbia .................................................................................................................................................................                            0.03
                                                 Florida ......................................................................................................................................................................................                    0.50
                                                 Georgia ....................................................................................................................................................................................                      0.31
                                                 Idaho ........................................................................................................................................................................................                    0.46
                                                 Illinois .......................................................................................................................................................................................                 16.53
                                                 Indiana .....................................................................................................................................................................................                     9.39
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                                                 Iowa .........................................................................................................................................................................................                    1.13
                                                 Kansas .....................................................................................................................................................................................                      0.82
                                                 Kentucky ..................................................................................................................................................................................                       1.57
                                                 Louisiana ..................................................................................................................................................................................                      5.06
                                                 Maine .......................................................................................................................................................................................                     0.02
                                                 Maryland ..................................................................................................................................................................................                       1.14
                                                 Massachusetts .........................................................................................................................................................................                           0.39
                                                 Michigan ...................................................................................................................................................................................                      3.47



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                                                     TABLE IV.F–3—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE ‘‘VIOLATING MONITOR’’ MAINTENANCE-ONLY
                                                                                           RECEPTORS—Continued
                                                                                                                                                               [ppb]

                                                                                                                                                                                                                                                       Largest
                                                                                                                                                                                                                                                    contribution to
                                                                                                                                                                                                                                                  downwind violating
                                                                                                                                     Upwind state                                                                                                      monitor
                                                                                                                                                                                                                                                  maintenance-only
                                                                                                                                                                                                                                                      receptors

                                                 Minnesota ................................................................................................................................................................................                      0.64
                                                 Mississippi ................................................................................................................................................................................                    1.02
                                                 Missouri ....................................................................................................................................................................................                   2.95
                                                 Montana ...................................................................................................................................................................................                     0.12
                                                 Nebraska ..................................................................................................................................................................................                     0.43
                                                 Nevada .....................................................................................................................................................................................                    1.11
                                                 New Hampshire .......................................................................................................................................................................                           0.10
                                                 New Jersey ..............................................................................................................................................................................                       8.00
                                                 New Mexico .............................................................................................................................................................................                        0.34
                                                 New York .................................................................................................................................................................................                     12.08
                                                 North Carolina ..........................................................................................................................................................................                       0.65
                                                 North Dakota ............................................................................................................................................................................                       0.35
                                                 Ohio .........................................................................................................................................................................................                  2.25
                                                 Oklahoma .................................................................................................................................................................................                      1.57
                                                 Oregon * ...................................................................................................................................................................................                    0.36
                                                 Pennsylvania ............................................................................................................................................................................                       5.20
                                                 Rhode Island ............................................................................................................................................................................                       0.08
                                                 South Carolina .........................................................................................................................................................................                        0.23
                                                 South Dakota ...........................................................................................................................................................................                        0.12
                                                 Tennessee ...............................................................................................................................................................................                       0.86
                                                 Texas .......................................................................................................................................................................................                   3.83
                                                 Utah .........................................................................................................................................................................................                  1.46
                                                 Vermont ...................................................................................................................................................................................                     0.03
                                                 Virginia .....................................................................................................................................................................................                  1.39
                                                 Washington ..............................................................................................................................................................................                       0.11
                                                 West Virginia ............................................................................................................................................................................                      1.79
                                                 Wisconsin .................................................................................................................................................................................                     5.10
                                                 Wyoming ..................................................................................................................................................................................                      0.42
                                                    * Does not include California monitoring sites.


                                                 2. Application of Contribution                                               is intended to capture a relatively large                                     allowed too much upwind state
                                                 Screening Threshold                                                          percentage of the contribution from                                           contribution to drop out from further
                                                                                                                              upwind states to downwind receptors in                                        analysis.174 The EPA continues to
                                                    In Step 2 of the interstate transport
                                                                                                                              light of the regional-scale, collective                                       observe that nonattainment and
                                                 framework, the EPA uses an air quality
                                                                                                                              contribution problem associated with                                          maintenance receptors identified at Step
                                                 screening threshold to identify upwind
                                                                                                                              both ozone and PM2.5 NAAQS. Id. The                                           1 are impacted collectively by emissions
                                                 states that contribute to downwind
                                                                                                                              Agency also explained that the use of a                                       from numerous upwind contributors.
                                                 ozone concentrations in amounts
                                                                                                                              higher threshold in transport rules prior                                     Therefore, application of a low, uniform
                                                 sufficient to ‘‘link’’ them to these to
                                                                                                                              to CSAPR was based on single-day                                              screening threshold allows the EPA to
                                                 downwind nonattainment and
                                                                                                                              maximum contribution, whereas in                                              identify upwind states that share a
                                                 maintenance receptors. The
                                                                                                                              CSAPR (and continuing in subsequent                                           responsibility under the interstate
                                                 contributions from each state to each
                                                                                                                              rules including this one), the Agency                                         transport provision to eliminate their
                                                 downwind nonattainment or
                                                                                                                              uses a more robust, average contribution                                      significant contribution.
                                                 maintenance receptor that were used for
                                                                                                                              metric over multiple days. Thus, it was                                          As we explained at proposal, the EPA
                                                 the Step 2 evaluation can be found in
                                                                                                                              not the case that 1 percent of NAAQS                                          recognizes that in 2018 it issued a
                                                 the Air Quality Modeling Final Rule
                                                                                                                              was substantially more stringent than                                         memorandum indicating the potential
                                                 TSD.
                                                                                                                              that prior approach. Id. at 48238. In the                                     for states to use a higher threshold at
                                                    The EPA applies an air quality                                                                                                                          Step 2 in the development of their good
                                                 screening threshold of 1 percent of the                                      2016 CSAPR Update, the EPA reviewed
                                                                                                                              the 1 percent threshold (as coupled with                                      neighbor SIP submissions where it
                                                 NAAQS, which has been used since the                                                                                                                       could be technically justified. The
                                                 CSAPR rulemaking, including in the                                           multi-day averaging) and determined it
                                                                                                                              was appropriate to continue to apply                                          August 2018 memorandum stated that
                                                 CSAPR Update, the Revised CSAPR                                                                                                                            ‘‘it may be reasonable and appropriate’’
                                                 Update, and numerous actions                                                 this threshold. The EPA compared the 1
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                                                                                                                                                                                                            for states to rely on an alternative 1 ppb
                                                 evaluating states’ transport SIP                                             percent threshold to a 0.5 percent of
                                                                                                                                                                                                            threshold at Step 2.175 (The
                                                 submittals. The explanation for how this                                     NAAQS threshold and a 5 percent of
                                                                                                                                                                                                            memorandum also indicated that any
                                                 value was originally derived is available                                    NAAQS threshold. The EPA found that
                                                 in the CSAPR rulemaking from 2011.                                           the lower threshold did not capture                                             174 See Final CSAPR Update Air Quality
                                                 See 76 FR 48208, 48237–38. As                                                appreciably more upwind state                                                 Modeling TSD, at 27–30 (EPA–HQ–OAR–2015–
                                                 originally explained there, the                                              contribution compared to the 1 percent                                        0596–0144). See also 86 FR 23054, 23085.
                                                 application of a relatively low threshold                                    threshold, while the 5 percent threshold                                        175 August 2018 memo at 4.




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                                                 higher alternative threshold, such as 2                 national ozone transport policy would                  Commenters further argued that a 1 ppb
                                                 ppb, would likely not be appropriate.)                  not be well-served by applying a single,               threshold would be more consistent
                                                 The EPA nonetheless proposed to fulfill                 less stringent threshold at Step 2. The                with the EPA’s ‘‘significant impact
                                                 its role under CAA section 110(c) in                    EPA recognized in the August 2018                      level’’ (SIL) guidance related to
                                                 promulgating FIPs to directly                           memo that there was some similarity in                 implementing prevention of significant
                                                 implement good neighbor requirements,                   the amount of total upwind contribution                deterioration (PSD) permitting
                                                 and in this role, proposed retaining use                captured (on a nationwide basis)                       requirements. They argued that the 1
                                                 of the 1 percent threshold for all states.              between 1 percent and 1 ppb. However,                  percent threshold was below precision
                                                 We noted that in several documents                      the EPA noted at proposal that while                   limits of regulatory ozone monitors, and
                                                 proposing transport SIP disapprovals,                   this may be true in some sense, that is                they argued it was within the ‘‘margin
                                                 see, e.g., 87 FR 9498 and 87 FR 9510                    hardly a compelling basis to move to a                 of error’’ of the EPA’s modeling.
                                                 (Feb. 22, 2022), we explained that our                  1 ppb threshold. Indeed, the 1 ppb                        Response: The EPA is finalizing its
                                                 experience since the issuance of the                    threshold has the disadvantage of losing               proposed approach of consistently using
                                                 August 2018 memorandum regarding                        a certain amount of total upwind                       a 1 percent of the NAAQS threshold at
                                                 use of alternative thresholds led the                   contribution for further evaluation at                 Step 2 in this action to determine which
                                                 Agency to believe it may not be                         Step 3. Considering the core statutory                 states contribute to identified
                                                 appropriate to continue to attempt to                   objective of ensuring elimination of all               nonattainment and maintenance
                                                 recognize alternative contribution                      significant contribution to                            receptors. This approach ensures both
                                                 thresholds at Step 2, either in the                     nonattainment or interference of the                   national consistency across all states
                                                 context of SIPs or FIPs.                                NAAQS in downwind states and the                       and consistency and continuity with our
                                                    We went on to explain that the EPA’s                 broad, regional nature of the collective               prior interstate transport actions for
                                                 experience since 2018 is that allowing                  contribution problem with respect to                   other NAAQS. We do not agree that this
                                                 for alternative Step 2 thresholds may be                ozone, EPA could not identify a                        approach is inconsistent with or a
                                                 impractical or otherwise inadvisable for                compelling policy imperative to move to                reversal in policy from the August 2018
                                                 a number of additional policy reasons.                  a 1 ppb threshold.                                     memorandum, which only suggested
                                                 For a regional air pollutant such as                       In the proposal, we also found                      that states in the development of their
                                                 ozone, consistency in requirements and                  consistency with past interstate                       SIPs ‘‘may’’ be able to establish that 1
                                                 expectations across all states is                       transport actions such as CSAPR, and                   ppb could be an appropriate alternative
                                                 essential. Using multiple different                     the CSAPR Update and Revised CSAPR                     threshold. The EPA has been consistent
                                                 thresholds at Step 2 with respect to the                Update rulemakings (which used a Step                  in that memorandum, and since that
                                                 2015 ozone NAAQS raises substantial                     2 threshold of 1 percent of the NAAQS                  time, that final determinations on
                                                 policy consistency and practical                        for two less protective ozone NAAQS) to                alternative thresholds would be made
                                                 implementation concerns.176 The                         be an important consideration.                         through rulemaking action, as the EPA
                                                 application of different thresholds at                  Continuing to use a 1 percent of NAAQS                 is taking here.
                                                 Step 2 has the potential to result in                   approach ensures that as the NAAQS                        The August 2018 memorandum made
                                                 inconsistent determination of good                      are revised and made more stringent, an                clear that the Agency had substantial
                                                 neighbor obligations. From the                          appropriate increase in stringency at                  doubts that any threshold greater than 1
                                                 perspective of ensuring effective                       Step 2 occurs, so as to ensure an                      ppb (such as 2 ppb) would be
                                                 regional implementation of good                         appropriately larger amount of total                   acceptable, and the Agency is affirming
                                                 neighbor obligations, the more                          upwind-state contribution is captured                  that a threshold higher than 1 ppb
                                                 important analysis is the evaluation of                 for purposes of fully addressing                       would not be justified under any
                                                 the emissions reductions needed, if any,                interstate transport for the more                      circumstance for purposes of this action.
                                                 to address a state’s significant                        protective NAAQS.                                      No commenter credibly provided a basis
                                                 contribution after consideration of a                      The Agency also questioned whether                  for using a threshold even higher than
                                                 multifactor analysis at Step 3, including               it would be a good use of limited                      1 ppb, and so this issue is primarily
                                                 a detailed evaluation that considers air                resources to attempt to further justify                limited to the difference between a 0.7
                                                 quality factors and cost. We explained                  the use of alternative thresholds for                  ppb threshold (the 1 percent of the
                                                 that while alternative thresholds for                   certain states at Step 2 for purposes of               NAAQS threshold discussed previously
                                                 purposes of Step 2 may be ‘‘similar’’ in                the 2015 ozone NAAQS. Therefore,                       in this section) and a 1.0 ppb threshold.
                                                 terms of capturing the relative amount                  while EPA articulated the possibility of               Therefore, before proceeding in
                                                 of upwind contribution (as described in                 an alternative threshold in the August                 responding to these comments, we note
                                                 the August 2018 memorandum),                            2018 memorandum, the EPA concluded                     that this issue is only relevant to a small
                                                 nonetheless, use of alternative                         in the proposal that our experience and                number of states whose contributions to
                                                 thresholds would allow certain states to                further evaluation since the issuance of               any receptor are above 1 percent of the
                                                 avoid further evaluation of potential                   that memo has revealed substantial                     NAAQS but lower than 1 ppb. Under
                                                 emissions controls while other states                   programmatic and policy difficulties in                the 2016v3 modeling of 2023 being used
                                                 must proceed to a Step 3 analysis. This                 attempting to implement this approach,                 in this final rule, the states in this rule
                                                 could create significant equity and                     and therefore we proposed to apply the                 with contributions that fall between
                                                 consistency problems among states.                      1 percent of NAAQS threshold.                          0.70 ppb and 1 ppb are Alabama,
                                                    The EPA further proposed that, in                       Comment: Many commenters                            Kentucky, and Minnesota. Similarly, the
                                                 promulgating FIPs to address these                      disagreed with our proposal to continue                EPA applies the 1 percent threshold in
                                                                                                         using a 1 percent of NAAQS threshold.
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                                                 obligations on a nationwide scale,                                                                             its 2026 modeling projections to
                                                                                                         They argued that the EPA was reversing                 determine if any states will not be
                                                   176 We note that Congress has placed on the EPA       course from its policy as articulated in               linked to an ozone receptor by that year,
                                                 a general obligation to ensure the requirements of      the August 2018 memorandum and that                    and therefore should not be subject to
                                                 the CAA are implemented consistently across states      the EPA was now bound to use a 1 ppb                   the more stringent requirements that
                                                 and regions. See CAA section 301(a)(2). Where the
                                                 management and regulation of interstate pollution
                                                                                                         threshold rather than 1 percent of                     take effect in 2026. The states in this
                                                 levels spanning many states is at stake, consistency    NAAQS, even in promulgating a FIP                      rule in that year with contribution
                                                 in application of CAA requirements is paramount.        rather than evaluating SIPs.                           between 0.70 ppb and 1 ppb are


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                                                 Kentucky, Nevada, and Oklahoma. For                     evaluation of emissions control                        said that ‘‘EPA and air agencies should
                                                 all other states covered in this action, at             opportunities applying a multifactor                   consider whether the recommendations
                                                 least one linkage exists in 2023 (and, as               analysis at Step 3. Thus, as the Supreme               in this guidance are appropriate for each
                                                 relevant, in 2026) that is greater than 1               Court has recognized, the contribution                 situation.’’ 181 The memorandum said
                                                 ppb, and therefore the question of                      threshold essentially functions to                     nothing regarding what threshold the
                                                 whether the EPA must recognize a 1 ppb                  exclude states with ‘‘de miminis’’                     EPA would apply if promulgating a FIP.
                                                 threshold would not have a dispositive                  impacts. EME Homer City, 572 U.S. 489,                    As explained in the SIP disapproval
                                                 effect on the regulatory determination                  500.                                                   action and again here, the EPA finds it
                                                 being made at Step 2.                                      Comments related to the August 2018                 would not be sound policy to apply an
                                                    The 1 percent of the NAAQS                           memorandum argued that the EPA                         alternative contribution threshold or
                                                 threshold is consistent with the Step 2                 legally committed itself to approving                  thresholds to one or more states within
                                                 approach that the EPA applied in                        SIP submissions from states with                       the 4-step interstate transport
                                                 CSAPR for the 1997 ozone NAAQS and                      contributions below 1 ppb and so now                   framework for the 2015 ozone NAAQS.
                                                 has subsequently been applied in the                    the EPA must apply that threshold in                   However, the EPA disagrees with
                                                 CSAPR Update and Revised CSAPR                          this FIP action. (Comments regarding                   commenters’ claims that the agency has
                                                 Update when evaluating determining                      this issue as related to the EPA’s action              reversed course on applying the August
                                                 interstate transport obligations for the                on SIPs is addressed in that rulemaking                2018 memorandum, because the
                                                 2008 ozone NAAQS. The EPA continues                     and is beyond the scope of this action.)               memorandum never adopted a view that
                                                 to find 1 percent of the ozone NAAQS                    This is not what the memorandum said.                  the use of 1 ppb or other alternative
                                                 to be an appropriate threshold. For                     The memorandum merely provided an                      thresholds would in fact be acceptable.
                                                 ozone, as the EPA found in CAIR,                        analysis regarding ‘‘the degree to which               Although the EPA said at proposal that
                                                 CSAPR, and the CSAPR Update, a                          certain air quality threshold amounts                  the EPA may rescind the guidance in
                                                 portion of the nonattainment and                        capture the collective amount of                       the future, we took comment on the
                                                 maintenance problems in the U.S.                        upwind contribution from upwind                        subject and also stated, ‘‘EPA is not at
                                                 results from the combined impact of                     states.’’ 177 It interpreted ‘‘that                    this time rescinding the August 2018
                                                 relatively small contributions from                     information to make recommendations                    memorandum.’’ 182 The EPA is not
                                                 many upwind states, along with                          about what thresholds may be                           formally rescinding the August 2018
                                                 contributions from in-state sources and                 appropriate for use in’’ SIP submissions               memorandum in this action or at this
                                                 other sources. The EPA’s analysis shows                 (emphasis added).178 Specifically, the                 time. However, it is not required that
                                                 that the ozone transport problem being                  August 2018 memorandum said,                           agencies must ‘‘rescind’’ a
                                                 analyzed in this rule is still the result of            ‘‘Because the amount of upwind                         memorandum or guidance the moment
                                                 the collective impacts of emissions from                collective contribution capture with the               it becomes outdated or called into
                                                 multiple upwind contributors.                           1 percent and the 1 ppb thresholds is                  question. The August 2018
                                                 Therefore, application of a consistent                  generally comparable, overall, we                      memorandum was not issued through
                                                 contribution threshold is necessary to                  believe it may be reasonable and                       notice-and-comment rulemaking and is
                                                 identify those upwind states that should                appropriate for states to use a 1 ppb                  not binding on the Agency or other
                                                 have responsibility for addressing their                contribution threshold, as an alternative              parties. While the willingness of the
                                                 contribution (to the extent found                       to a 1 percent threshold, at Step 2 of the             Agency as expressed in that
                                                 ‘‘significant’’ at Step 3) to the                       4-step framework in developing their                   memorandum to entertain the
                                                 downwind nonattainment and                              SIP revisions addressing the good                      possibility of an alternative threshold of
                                                 maintenance problems to which they                      neighbor provision for the 2015 ozone                  1 ppb may be considered a kind of
                                                 collectively contribute. Where a great                  NAAQS’’ (emphasis added).179 Thus,                     policy position, agencies may change
                                                 number of geographically dispersed                      the text of the August 2018                            their non-binding policies without going
                                                 emissions sources contribute to a                       memorandum in no way committed that                    through notice and comment
                                                 downwind air quality problem, which is                  the EPA would be using a 1 ppb                         rulemaking. Catawba County v. EPA,
                                                 the case for ozone, EPA believes that, in               threshold going forward either in its                  571 F.3d 20, 34 (D.C. Cir. 2009). In this
                                                 the context of CAA section                              evaluation of SIPs or in promulgating a                case, we went through notice and
                                                 110(a)(2)(D)(i)(I), a state-level threshold             FIP. The August 2018 memorandum                        comment rulemaking on this topic in
                                                 of 1 percent of the NAAQS is a                          indicated that ‘‘[f]ollowing these                     the SIP-disapproval action (88 FR 9336)
                                                 reasonably small enough value to                        recommendations does not ensure that                   and here, even though the August 2018
                                                 identify only the greater-than-de                       EPA will approve a SIP revision in all                 memorandum was issued without such
                                                 minimis contributors yet is not so large                instances where the recommendations                    opportunity for public input. We further
                                                 that it unfairly focuses attention for                  are followed, as the guidance may not                  address the basis for the consistent use
                                                 further action only on the largest single               apply to the facts and circumstances                   of a 1 percent of NAAQS threshold and
                                                 or few upwind contributors. Continuing                  underlying a particular SIP. Final                     summarize our conclusions under the
                                                 to use 1 percent of the NAAQS as the                    decisions by the EPA to approve a                      FCC v. Fox factors below.
                                                 screening metric to evaluate collective                 particular SIP revision will only be                      We continue to believe, as set forth in
                                                 contribution from many upwind states                    made based on the requirements of the                  our proposed action, that national ozone
                                                 also allows the EPA (and states) to apply               statute and will only be made following                transport policy is not well served by
                                                 a consistent framework to evaluate                      an air agency’s final submission of the
                                                 interstate emissions transport under the                SIP revision to the EPA, and after
                                                                                                                                                                  181 Id.
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                                                                                                                                                                   182 87 FR 9545, 9551 (Feb. 22, 2022) (Alabama,
                                                 interstate transport provision from one                 appropriate notice and opportunity for                 Mississippi, Tennessee); 87 FR 9498, 9510 (Feb. 22,
                                                 NAAQS to the next. See 86 FR 23054,                     public review and comment.’’ 180                       2022) (Kentucky); 87 FR 9838, 9844 (Feb. 22, 2022)
                                                 23085; 81 FR 74504, 74518; 76 FR                        Further, the August 2018 memorandum                    (Illinois, Indiana, Michigan, Minnesota, Ohio,
                                                 48208, 48237–38.                                                                                               Wisconsin); 87 FR 9798, 9807, 9813, 9820 (Feb. 22,
                                                    Further, the EPA notes that the role of                177 August 2018 memorandum, at 1.
                                                                                                                                                                2022) (Arkansas, Louisiana, Oklahoma, Texas); 87
                                                                                                                                                                FR 9533, 9542 (Feb. 22, 2022) (Missouri); 87 FR
                                                 the Step 2 threshold is limited and just                  178 Id.
                                                                                                                                                                31470, 31479 (May 24, 2022) (Utah); 87 FR 31495,
                                                 one step in the larger 4-Step Framework.                  179 Id. at 4.
                                                                                                                                                                31504 (May 24, 2022) (Wyoming); 87 FR 31485,
                                                 It serves to screen in states for further                 180 Id. at 1.                                        31490 (May 24, 2022) (Nevada).



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                                                 allowing for less protective thresholds                 memorandum that there was some                         more stringent, an appropriate increase
                                                 than 1 percent of the NAAQS at Step 2.                  similarity in the amount of total upwind               in stringency at Step 2 occurs, so as to
                                                 Furthermore, the EPA disagrees with                     contribution captured (on a nationwide                 ensure an appropriately larger amount
                                                 commenters who suggest that national                    basis) between 1 percent and 1 ppb.                    of total upwind-state contribution is
                                                 consistency is an inappropriate                         However, while this may be true in                     captured for purposes of fully
                                                 consideration in the context of interstate              some sense, that is hardly a compelling                addressing interstate transport. See 76
                                                 ozone transport. The Good Neighbor                      basis to move to a 1 ppb threshold for                 FR 48208, 48237–38.
                                                 provision, CAA section                                  every state. Indeed, the 1 ppb threshold                  We note further that application of a
                                                 110(a)(2)(D)(i)(I), requires to a unique                has the disadvantage of losing a certain               1 percent of NAAQS threshold has been
                                                 degree of concern for consistency,                      amount of total upwind contribution for                the EPA’s consistent approach in each
                                                 parity, and equity across state lines.183               further evaluation at Step 3 (e.g.,                    of our notice-and-comment rulemakings
                                                 For a regional air pollutant such as                    roughly 7 percent of total upwind state                beginning with CSAPR and continuing
                                                 ozone, consistency in requirements and                  contribution was lost according to the                 with the CSAPR Update, the Revised
                                                 expectations across all states is                       modeling underlying the August 2018                    CSAPR Update, and numerous actions
                                                 essential. Based on the EPA’s review of                 memorandum; in the EPA’s 2016v2                        on ozone transport SIP submissions. In
                                                 good neighbor SIP submissions to-date                   modeling, the amount lost is 5 percent;                each case, the 1 percent of the NAAQS
                                                 and after further consideration of the                  in the EPA’s 2016v3 modeling used for                  threshold was subject to rigorous vetting
                                                 policy implications of attempting to                    final, the amount lost is also 5 percent).             through public comment and the
                                                 recognize an alternative Step 2                         Further, this logic has no end point. A                Agency’s response to those comments,
                                                 threshold for certain states, the Agency                similar observation could be made with                 including through the use of analytical
                                                 concludes that the attempted use of                     respect to any incremental change. For                 evaluations of alternative thresholds.
                                                 different thresholds at Step 2 with                     example, should the EPA next recognize                 See, e.g., 81 FR 74518–19. By contrast,
                                                 respect to the 2015 8-hour ozone                        a 1.2 ppb threshold because that would                 the August 2018 memorandum was not
                                                 NAAQS raises substantial policy                         only cause some small additional loss in               issued through notice-and-comment
                                                 consistency and practical                               capture of upwind state contribution as                rulemaking procedures, and the EPA
                                                 implementation concerns. The                            compared to 1 ppb? If the only basis for               was careful to caveat its utility and
                                                 availability of different thresholds at                 moving to a 1 ppb threshold is that it                 ultimate reliability for that reason.
                                                 Step 2 has the potential to result in                   captures a ‘‘similar’’ (but actually                      The EPA disagrees with claims that
                                                 inconsistent application of good                        smaller) amount of upwind                              the EPA is applying the August 2018
                                                 neighbor obligations based solely on the                contribution, then there is no basis for               memorandum inconsistently based on
                                                 strength of a state’s SIP submission at                 moving to that threshold at all.                       the EPA’s actions with regard to
                                                 Step 2 of the 4-step interstate transport               Considering the core statutory objective               Arizona, Iowa, and Oregon. The EPA
                                                 framework. The steps of the analysis                    of ensuring elimination of all significant             withdrew a previously proposed
                                                 that lead up to evaluating emissions                    contribution to nonattainment or                       approval of Iowa’s SIP submission that
                                                 reductions opportunities to address                     interference with maintenance of the                   was premised on a 1 ppb contribution
                                                 states’ significant contribution at Step 3              NAAQS in other states and the broad,                   threshold, and re-proposed and
                                                 should be applied on a consistent basis.                regional nature of the collective                      finalized approval of that SIP based on
                                                 Where alternative thresholds for                        contribution problem with respect to                   a different rationale using a 1 percent of
                                                 purposes of Step 2 may be ‘‘similar’’ in                ozone, we continue to find no                          the NAAQS contribution threshold. 87
                                                 terms of capturing the relative amount                  compelling policy reason to adopt a new                FR 9477 (Feb. 22, 2022); 87 FR 22463
                                                 of upwind contribution (as described in                 threshold for all states of 1 ppb.                     (April 15, 2022). The EPA also disagrees
                                                 the August 2018 memorandum),                               Nor have commenters explained why                   with any claim that Oregon and Arizona
                                                 nonetheless, use of an alternative                      use of a 1 ppb threshold would be                      were ‘‘allowed’’ to use a 1 ppb or higher
                                                 threshold would allow certain states to                 appropriate under the more protective                  threshold. The EPA approved Oregon’s
                                                 avoid further evaluation of potential                   2015 ozone NAAQS when a 1 percent                      SIP submission for the 2015 ozone
                                                 emissions controls while other states                   of the NAAQS contribution threshold                    NAAQS on May 17, 2019, and both
                                                 must proceed to a Step 3 analysis. This                 has been used for less protective ozone                Oregon and the EPA relied on a 1
                                                 can create significant equity and                       NAAQS. To illustrate, a state                          percent of the NAAQS contribution
                                                 consistency problems among states and                   contributing greater than 0.75 ppb but                 threshold. 84 FR 7854, 7856 (March 5,
                                                 could lead to ineffective or inefficient                less than 1 ppb to a receptor under the                2019) (proposal); 84 FR 22376 (May 17,
                                                 approaches to eliminating significant                   2008 ozone NAAQS was ‘‘linked’’ at                     2019) (final). In the proposal for this
                                                 contribution.                                           Step 2,184 but if a 1 ppb threshold were               action, the EPA explained it was not
                                                    One commenter suggested the EPA                      used for the 2015 ozone NAAQS then                     proposing to conduct an error correction
                                                 could address this potentially                          that same state would not be ‘‘linked’’                for Oregon even though updated
                                                 inequitable outcome by simply adopting                  to a receptor at Step 2 under a NAAQS                  modeling indicated Oregon contributed
                                                 a 1 ppb contribution threshold for all                  that is set to be more protective of                   above 1 percent of the NAAQS to
                                                 states. However, the August 2018                        human health and the environment.                      monitors in California.
                                                 memorandum did not conclude that 1                      Consistency with past interstate                          The EPA is deferring finalizing a
                                                 ppb would be appropriate for all states                 transport actions such as CSAPR, and                   finding at this time for Oregon (see
                                                 and the EPA does not view that                          the CSAPR Update and Revised CSAPR                     section IV.G of this document for
                                                 conclusion to be supported at present.                  Update rulemakings (which all used the                 additional information). In 2016, the
                                                                                                                                                                EPA approved Arizona’s SIP for the
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                                                 The EPA recognized in the August 2018                   1 percent of the NAAQS for less
                                                                                                         protective ozone NAAQS), is an                         earlier 2008 ozone NAAQS based on a
                                                   183 EPA notes that Congress has placed on EPA         important consideration. We affirm our                 similar rationale with regard to certain
                                                 a general obligation to ensure the requirements of      view in CSAPR that continuing to use                   monitors in California. 81 FR 15200
                                                 the CAA are implemented consistently across states      a 1 percent of NAAQS approach ensures                  (March 22, 2016) (proposal); 81 FR
                                                 and regions. See CAA section 301(a)(2). Where the
                                                 management and regulation of interstate pollution       that if the NAAQS are revised and made                 31513 (May 19, 2016) (final rule). We
                                                 levels spanning many states is at stake, consistency                                                           are deferring finalizing a finding at this
                                                 in application of CAA requirements is paramount.          184 See 86 FR 23054, 23058 (April 30, 2021).         time that such a rationale is appropriate


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                                                 with respect to the more protective 2015                impacts are required of the source to                  percent contribution threshold of 0.7
                                                 ozone NAAQS. While Arizona and                          support a demonstration that it meets                  ppb is lower than the manufacturer’s
                                                 Oregon’s interstate transport obligations               the criteria for a permit. A source with               reported precision of these reference
                                                 for the 2015 ozone NAAQS remain                         estimated impacts below the PSD SIL                    monitors and that the requirements
                                                 pending (along with several other                       may use this to demonstrate that it will               found in Appendix U truncates monitor
                                                 states), there is no inconsistency in the               not cause or contribute (as those terms                values of 0.7 ppb to 0 ppb. However, the
                                                 treatment of these states or any other                  are used within the PSD program) to a                  commenter is mistaken in applying
                                                 state at Step 2.                                        violation of an ambient air quality                    criteria related to the precision of
                                                    Some commenters claim the EPA                        standard, but is still subject to meeting              monitoring technology to the modeling
                                                 must use a 1 ppb threshold based on the                 applicable control requirements,                       methodology by which we project
                                                 identification of 1 ppb as a significance               including best available control                       contributions when quantifying and
                                                 threshold in one step of the PSD                        technology, designed to moderate the                   evaluating interstate transport at Step 2.
                                                 permitting process. The EPA’s SIL                       source’s impact on air quality.                        Indeed, contributions by source or state
                                                 guidances, however, relate to a different                  Moreover, other aspects of the                      cannot be derived from the total
                                                 provision of the Clean Air Act regarding                technical methodology in the SILs                      ambient concentration of ozone at a
                                                 implementation of the prevention of                     guidance compared to the good                          monitor at all but must be apportioned
                                                 significant deterioration (PSD)                         neighbor framework make a direct                       through modeling. Under our
                                                 permitting program. This program                        comparison between these two values                    longstanding methodology for doing so,
                                                 applies in areas that have been                         misleading. For instance, in PSD permit                the contribution values identified from
                                                 designated attainment of the NAAQS                      modeling using a single year of                        upwind states are based on a robust
                                                 and is intended to ensure that such                     meteorology the maximum single-day 8-                  assessment of the average impact of
                                                 areas remain in attainment even if                      hour contribution is evaluated with                    each upwind state’s ozone-precursor
                                                 emissions were to increase as a result of               respect to the SIL. The purpose of the                 emissions over a range of scenarios, as
                                                 new sources or major modifications to                   contribution threshold at Step 2 of the                explained in the 2016v3 modeling’s Air
                                                 existing sources located in those areas.                4-step good neighbor framework is to                   Quality Modeling Final Rule TSD, in the
                                                 This purpose is different than the                      determine whether the average                          docket for this rule, Docket ID No. EPA–
                                                 purpose of the good neighbor provision,                 contribution from a collection of sources              HQ–OAR–2021–0668. This analysis is
                                                 which is to assist downwind areas (in                   in a state is small enough not to warrant              in no way connected with or dependent
                                                 some cases hundreds or thousands of                     any additional control for the purpose of              on monitoring instruments’ precision of
                                                 miles away) in resolving ongoing                        mitigating interstate transport, even if               measurement. See EME Homer City, 795
                                                 nonattainment of the NAAQS or                           that control were highly cost effective.               F.3d 118, 135–36 (‘‘[A] model is meant
                                                 difficulty maintaining the NAAQS                        Using a 1 percent of the NAAQS                         to simplify reality in order to make it
                                                 through eliminating the emissions from                  threshold is more appropriate for                      tractable.’ ’’) (quoting Chemical
                                                 other states that are significantly                     evaluating multi-day average                           Manufacturers Association v. EPA, 28
                                                 contributing to those problems. In                      contributions from upwind states than a                F.3d 1259, 1264 (D.C. Cir. 1994).
                                                 addition, as discussed in preceding                     1 ppb threshold applied for a single day,
                                                 paragraphs, the purpose of the Step 2                   since that lower value of 1 percent of                    To the extent that commenters argue
                                                 threshold within the EPA’s interstate                   the NAAQS will capture variations in                   that the EPA consider a less stringent
                                                 transport framework for ozone is to                     contribution. If EPA were to use a single              threshold as a result of modeling
                                                 broadly sweep in all states contributing                day reflecting the maximum amount of                   uncertainty, the EPA disagrees with this
                                                 to identified receptors above a de                      contribution from an upwind state to                   notion. The EPA has successfully
                                                 minimis level in recognition of the                     determine whether a linkage exists at                  applied a 1 percent of NAAQS threshold
                                                 collective-contribution problem                         Step 2, commenters’ arguments for use                  to identify linked upwind states using
                                                 associated with regional-scale ozone                    of the PSD SIL might have more force.                  modeling in three prior FIP rulemakings
                                                 transport. The threshold used in the                    This would in effect be a return to the                and numerous state-specific actions on
                                                 context of PSD SIL serves a different                   pre-CSAPR contribution calculation                     good neighbor obligations. This
                                                 purpose, and so it does not follow that                 methodology of using a single day, see                 continues to be a reasonable approach,
                                                 they should be made equivalent.                         76 FR 48238. However, that would                       and indeed courts have repeatedly
                                                 Further, commenters incorrectly                         likely cause more states to become                     declined to establish bright line criteria
                                                 associate the EPA’s Step 2 contribution                 linked, not less. And in any case,                     for model performance. In upholding
                                                 threshold with the identification of                    consistent with the method in our                      the EPA’s approach to evaluating
                                                 ‘‘significant’’ emissions (which does not               modeling guidance for projecting future                interstate transport in CSAPR, the D.C.
                                                 occur until Step 3), and so it is not the               attainment/nonattainment and as the                    Circuit held that it would not
                                                 case that the EPA is interpreting the                   EPA concluded in 2011 in CSAPR, the                    ‘‘invalidate EPA’s predictions solely
                                                 same term differently.                                  present good neighbor methodology of                   because there might be discrepancies
                                                    The EPA has previously explained                     using multiple days provides a more                    between those predictions and the real
                                                 this distinction between the good                       robust approach to establishing that a                 world. That possibility is inherent in the
                                                 neighbor framework and PSD SILs. See                    linkage exists at the state level than                 enterprise of prediction.’’ EME Homer
                                                 70 FR 25162, 25190–25191 (May 12,                       relying on a single day of data.                       City Generation, L.P. v. EPA, 795 F.3d
                                                 2005); 76 FR 48208, 48237 (Aug. 8,                         A commenter also claimed the 1                      118, 135 (2015). ‘‘[T]he fact that a
                                                 2011). Importantly, the implication of                  percent of NAAQS threshold is                          ‘model does not fit every application
                                                                                                                                                                perfectly is no criticism; a model is
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                                                 the PSD SIL threshold is not that single-               inconsistent with the standards of
                                                 source contribution below this level                    precision for Federal reference monitors               meant to simplify reality in order to
                                                 indicates the absence of a contribution                 for ozone and the rounding                             make it tractable.’ ’’ Id. at 135–36
                                                 or that no emissions control                            requirements found in 40 CFR part 50,                  (quoting Chemical Manufacturers
                                                 requirements are warranted. Rather, the                 appendix U, Interpretation of the                      Association v. EPA, 28 F.3d 1259, 1264
                                                 PSD SIL threshold addresses whether                     Primary and Secondary National                         (D.C. Cir. 1994). See also Sierra Club v.
                                                 further, more comprehensive, multi-                     Ambient Air Quality Standards for                      EPA, 939 F.3d 649, 686–87 (5th Cir.
                                                 source review or analysis of air quality                Ozone. Commenter claimed that the 1                    2019) (upholding EPA’s modeling in the


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                                                 face of complaints regarding an alleged                 a. States That Contribute Below the                      1, the following 23 states contribute at
                                                 ‘‘margin of error,’’ noting challengers                 Screening Threshold                                      or above the 0.70 ppb threshold to
                                                 face a ‘‘considerable burden’’ in                          Based on the EPA’s modeling and                       downwind modeling-based
                                                 overcoming a ‘‘presumption of                           considering measured data at violating                   maintenance-only receptors in 2023:
                                                 regularity’’ afforded ‘‘the EPA’s choice                monitors, the contributions from each of                 Arizona, Arkansas, California, Illinois,
                                                 of analytical methodology’’) (citing                    the following states to nonattainment or                 Indiana, Iowa, Kentucky, Louisiana,
                                                 BCCA Appeal Grp. v. EPA, 355 F.3d                       maintenance-only receptors in the 2023                   Maryland, Michigan, Minnesota,
                                                 817, 832 (5th Cir. 2003)).                              analytic year are below the 1 percent of                 Mississippi, Missouri, Nevada, New
                                                                                                         the NAAQS threshold: Colorado,                           Jersey, New Mexico, New York, Ohio,
                                                    The Agency will continue to use the
                                                                                                         Connecticut, the District of Columbia,                   Oklahoma, Texas, Virginia, West
                                                 CAMx model to evaluate contributions
                                                                                                         Delaware, Florida, Georgia, Idaho,                       Virginia, and Wisconsin. Based on the
                                                 from upwind states to downwind areas.
                                                                                                         Maine, Massachusetts, Montana,                           maximum downwind contribution in
                                                 The agency has used CAMx routinely in
                                                                                                         Nebraska, New Hampshire, North                           Table IV.F–3, the following additional
                                                 previous notice and comment transport                                                                            states contribute at or above the 0.70
                                                 rulemakings to evaluate contributions                   Carolina, North Dakota, Rhode Island,
                                                                                                         South Carolina, South Dakota, Vermont,                   ppb threshold to downwind violating
                                                 relative to the 1 percent threshold for                                                                          monitor maintenance-only receptors in
                                                 both ozone and PM2.5. In fact, in the                   and Washington.185 The EPA has
                                                                                                         already approved these states’ 2015                      2023: Kansas and Tennessee. (However,
                                                 original CSAPR, the EPA found that                                                                               the EPA is not taking final action based
                                                 ‘‘[t]here was wide support from                         ozone good neighbor SIP submittals.
                                                                                                         Because the contributions from these                     on this analytical result for these two
                                                 commenters for the use of CAMx as an                                                                             states at this time.) The levels of
                                                 appropriate, state-of-the science air                   states to projected downwind air quality
                                                                                                         problems are below the screening                         contribution between each of these
                                                 quality tool for use in the [Cross-State                                                                         linked upwind states and downwind
                                                 Air Pollution] Rule. There were no                      threshold in the current modeling, these
                                                                                                         states are not within the scope of this                  nonattainment receptors and
                                                 comments that suggested that the EPA                                                                             maintenance-only receptors are
                                                 should use an alternative model for                     final rule. Additionally, the EPA has
                                                                                                         made final determinations that two                       provided in the Air Quality Modeling
                                                 quantifying interstate transport.’’ 76 FR                                                                        Final Rule TSD.
                                                                                                         states outside the modeling domain for
                                                 48229 (August 8, 2011). In this action,                                                                             Among the linked states are several
                                                                                                         the air quality modeling analyzed in this
                                                 the EPA has taken a number of steps                                                                              western states—California, Nevada, and
                                                                                                         final rulemaking—Hawaii 186 and
                                                 based on comments and new                                                                                        Utah. While the EPA has not previously
                                                                                                         Alaska 187—do not significantly
                                                 information to ensure to the greatest                                                                            included action on linked western states
                                                                                                         contribute to nonattainment or interfere
                                                 extent the accuracy and reliability of its                                                                       in its prior CSAPR rulemakings, the
                                                                                                         with maintenance of the NAAQS in any
                                                 modeling projections at Step 1 and 2, as                                                                         EPA has consistently applied the 4-step
                                                                                                         other state.
                                                 discussed elsewhere in this section.                       With respect to Wyoming, our                          framework in evaluating good neighbor
                                                    The EPA disagrees with commenters                    methodology when applied using the                       obligations from these states. On a case-
                                                 that case law reviewing changes in                      2016v3 modeling suggests that whether                    by-case basis, the EPA has found in
                                                 agency positions such as FCC v. Fox TV                  the state is linked is uncertain and                     some instances with respect to the 2008
                                                 Stations, Inc., 556 U.S. 502, 515 (2009),               warrants further analysis. The EPA                       ozone NAAQS that a unique
                                                 is applicable with respect to this issue.               intends to expeditiously review its                      consideration has warranted approval of
                                                 As explained above, under the terms of                  assessment with respect to Wyoming                       a western state’s good neighbor SIP
                                                 the August 2018 memorandum, the                         and take action addressing Wyoming’s                     submittal that might otherwise be found
                                                 Agency did not conclude that the use of                 good neighbor obligations for the 2015                   to contribute above 1 percent of the
                                                 an alternative contribution threshold                   ozone NAAQS through a separate                           NAAQS without concluding that
                                                 was justified for any states. But even if               action.                                                  additional emissions reductions are
                                                 it were found that the Agency’s position                                                                         required at Step 3 of the framework.188
                                                                                                         b. States That Contribute at or Above the                The EPA has also explained in prior
                                                 had changed between this rulemaking
                                                                                                         Screening Threshold                                      actions that its air quality modeling is
                                                 action and the August 2018
                                                 memorandum, the FCC v. Fox factors                         Based on the maximum downwind                         reliable for assessing downwind air
                                                 are met. We have explained above that                   contributions in Table IV.F–1, the Step                  quality problems and ozone transport
                                                 there are good reasons for continuing to                2 analysis identifies that the following                 contributions from upwind states
                                                 use a 1 percent of NAAQS threshold.                     21 states contribute at or above the 0.70                throughout the nationwide modeling
                                                 We also are aware that we are not using                 ppb threshold to downwind                                domain.189 The EPA is deferring
                                                 a 1 ppb threshold despite                               nonattainment receptors in 2023:                         finalizing a finding at this time for
                                                 acknowledging the potential for doing                   Alabama, Arkansas, California, Illinois,                 Oregon (see section IV.G of this
                                                 so in the August 2018 memorandum.                       Indiana, Kentucky, Louisiana,                            document for additional information).
                                                                                                         Maryland, Michigan, Mississippi,                            As explained in the following section,
                                                 We do not believe that any party has a
                                                                                                         Missouri, Nevada, New Jersey, New                        the EPA is not, in this action, altering
                                                 serious reliance interest that would be
                                                                                                         York, Ohio, Oklahoma, Pennsylvania,                      its prior approval of Oregon’s good
                                                 sufficient to overcome the
                                                                                                         Texas, Utah, Virginia, and West                          neighbor SIP submission for the 2015
                                                 countervailing public interest that is
                                                                                                         Virginia. Based on the maximum                           ozone NAAQS. For the remaining
                                                 served through the EPA’s determination
                                                                                                         downwind contributions in Table IV.F–                    western states included in this rule, the
                                                 to maintain continuity with its
                                                                                                                                                                  EPA’s modeling supports a conclusion
                                                 longstanding, more protective 1 percent
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                                                                                                            185 The status of monitoring sites in California to   that these states are linked above the
                                                 of NAAQS threshold in this action. Cf.
                                                                                                         which Oregon may be linked is under review. See
                                                 88 FR 9373 (reviewing reliance in the                   section IV.G.                                              188 See interstate transport approval actions under
                                                 context of the SIP-disapproval action).                    186 The EPA approved Hawaii’s 2015 ozone              the 2008 ozone NAAQS for Arizona, California, and
                                                    The EPA therefore will continue its                  transport SIP on December 27, 2021. See 86 FR            Wyoming at 81 FR 36179 (June 6, 2016), 83 FR
                                                                                                         73129.                                                   65093 (December 19, 2018), and 84 FR 14270 (April
                                                 longstanding practice of applying the 1                    187 The EPA approved Alaska’s 2015 ozone              10, 2019)), respectively.
                                                 percent of NAAQS threshold in this                      transport SIP on December 18, 2019. See 84 FR              189 See 81 FR 71991 (October 19, 2016), 82 FR

                                                 action.                                                 69331.                                                   9155 (February 3, 2017).



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                                                 contribution threshold to identified                    NAAQS on May 17, 2019 (84 FR 22376),                      Comment: Commenters criticized
                                                 ozone transport receptors in downwind                   because in an earlier round of modeling                what they considered to be unfair
                                                 states, and therefore, consistent with the              Oregon was not projected to contribute                 treatment of Oregon, stating that the
                                                 treatment of all other states within the                above 1 percent of the NAAQS to any                    EPA is applying a higher contribution
                                                 modeling domain, the EPA proposes to                    downwind receptors. In the EPA’s                       threshold than it applies to other states.
                                                 proceed to evaluate these states for a                  updated modeling used at proposal                      Commenters argued that EPA has not
                                                 determination of ‘‘significant                          (2016v2) and again in the final modeling               established a specific threshold for why
                                                 contribution’’ at Step 3.                               (2016v3), Oregon is modeled to                         the level of upwind-state impact at these
                                                    In conclusion, as described above,                   contribute above the 1 percent of                      sites should not be considered
                                                 states with contributions that equal or                 NAAQS threshold to several monitoring                  meaningful. Commenters argued that
                                                 exceed 1 percent of the NAAQS to                        sites in California that would generally               our analysis ignored the fact that there
                                                 either nonattainment or maintenance-                    meet the EPA’s definition of                           are many monitoring sites in California
                                                 only receptors are identified as ‘‘linked’’             nonattainment or maintenance                           to which Oregon contributes above 1
                                                 at Step 2 of the good neighbor                          ‘‘receptors’’ at Step 1.191 At proposal,               percent of the NAAQS. Commenters
                                                 framework and warrant further analysis                  the EPA explained that our analysis of                 state that EPA has failed to explain why
                                                 for significant contribution to                         the nature of the air quality problem at               Oregon is not subject to this rulemaking,
                                                 nonattainment or interference with                      these monitoring sites led us to propose               while other states contribute lower total
                                                 maintenance under Step 3. The EPA                       a determination that these monitoring                  downwind ozone contributions and
                                                 finds that for purposes of this final rule,             sites should not be treated as receptors               fewer receptors. Commenters concluded
                                                 the following 23 states are linked at Step              for purposes of determining interstate                 that since Oregon is linked it should be
                                                 2 in 2023: Alabama, Arkansas,                                                                                  subject to the same emissions control
                                                                                                         transport obligations of upwind states
                                                 California, Illinois, Indiana, Kentucky,                                                                       determinations at Step 3 and 4 as every
                                                                                                         under CAA section 110(a)(2)(D)(i)(I). We
                                                 Louisiana, Maryland, Michigan,                                                                                 other state, or otherwise apply the same
                                                                                                         explained that we reached this
                                                 Minnesota, Mississippi, Missouri,                                                                              ‘‘nature of the air quality problem’’
                                                                                                         conclusion at Step 1 of our 4-step
                                                 Nevada, New Jersey, New York, Ohio,                                                                            consideration to eliminate other
                                                 Oklahoma, Pennsylvania, Texas, Utah,                    framework.
                                                                                                                                                                receptors.
                                                 Virginia, West Virginia, and Wisconsin.                    The EPA previously made a similar                      Response: The EPA acknowledges
                                                 In addition, the EPA finds that the                     assessment of the nature of certain other              that several commenters opposed the
                                                 following 20 States are linked at Step 2                monitoring sites in California in                      proposed treatment of Oregon and the
                                                 in 2026: Arkansas, California, Illinois,                approving Arizona’s 2008 ozone                         California monitoring sites to which it is
                                                 Indiana, Kentucky, Louisiana,                           NAAQS transport SIP submittal.192                      linked in the proposed and final
                                                 Maryland, Michigan, Mississippi,                        There, the EPA noted that a ‘‘factor                   modeling. We also recognize that other
                                                 Missouri, Nevada, New Jersey, New                       [. . .] relevant to determining the nature             commenters expressed confusion
                                                 York, Ohio, Oklahoma, Pennsylvania,                     of a projected receptor’s interstate                   regarding the role of this proposed
                                                 Texas, Utah, Virginia, and West                         transport problem is the magnitude of                  determination at Step 1 and how it
                                                 Virginia. We note that our updated                      ozone attributable to transport from all               relates to the longstanding 4-step
                                                 modeling for this final rule shows that                 upwind states collectively contributing                interstate transport framework that the
                                                 two states, Minnesota and Wisconsin,                    to the air quality problem.’’ 193 The EPA              EPA is otherwise applying in this
                                                 that we found linked in 2026 at                         observed that only one upwind state                    action. In recognition of these concerns
                                                 proposal are no longer projected to be                  (Arizona) was linked above 1 percent of                and the need to give further thought to
                                                 linked in that year but are linked in                   the 2008 ozone NAAQS to the two                        the appropriate treatment of both
                                                 2023.190 As at proposal, Alabama is only                relevant monitoring sites in California,               upwind states and downwind receptors
                                                 projected to be linked in 2023, not 2026.               and the cumulative ozone contribution                  in these circumstances, the EPA is
                                                    For six states, the EPA’s analysis at                from all upwind states to those sites was              deferring finalizing a finding at this time
                                                 this time indicates that a linkage may                  2.5 percent and 4.4 percent of the total               for Oregon. The current approval of the
                                                 exist in 2023 for which the EPA had not                 ozone, respectively. The EPA                           state’s SIP submission will remain in
                                                 proposed FIP requirements, or the                       determined the size of those cumulative                place for the time being, pending further
                                                 updated analysis for this final rule                    upwind contributions was ‘‘negligible,                 review. We make no final determination
                                                 suggests that linkages we had previously                particularly when compared to the                      in this action regarding whether the
                                                 found in the proposed action are now                    relatively large contributions from                    California monitoring sites at issue
                                                 uncertain and warrant further analysis.                 upwind states in the East or in certain                should or should not be treated as
                                                 The EPA intends to expeditiously                        other areas of the West.’’ 194 In that                 receptors for purposes of addressing
                                                 address these states in a separate action               action, the EPA concluded the two                      interstate transport for the 2015 ozone
                                                 or actions: Arizona, Iowa, Kansas, New                  California sites to which Arizona was                  NAAQS.
                                                 Mexico, Tennessee, and Wyoming.                         linked should not be treated as receptors
                                                                                                         for the purposes of determining Good                   V. Quantifying Upwind-State NOX
                                                 G. Treatment of Certain Monitoring
                                                                                                         Neighbor obligations for the 2008 ozone                Emissions Reduction Potential To
                                                 Sites in California and Implications for
                                                                                                         NAAQS.195                                              Reduce Interstate Ozone Transport for
                                                 Oregon’s Good Neighbor Obligations for
                                                                                                                                                                the 2015 Ozone NAAQS
                                                 the 2015 Ozone NAAQS
                                                   The EPA previously approved
                                                                                                           191 Monitors are included in the docket for this
                                                                                                                                                                A. The Multi-Factor Test for
                                                                                                         rulemaking. While EPA is providing information         Determining Significant Contribution
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                                                 Oregon’s September 25, 2018 transport                   about cumulative upwind contribution to the
                                                 SIP submittal for the 2015 ozone                        California monitors, the Agency is not making a           This section describes the EPA’s
                                                                                                         determination in this action that these monitors are   methodology at Step 3 of the 4-step
                                                                                                         ozone transport receptors.
                                                   190 Minnesota and Wisconsin were linked to
                                                                                                           192 81 FR 15200 (March 22, 2016) (proposal); 81
                                                                                                                                                                framework for identifying upwind
                                                 maintenance-only receptors in Cook County, IL in                                                               emissions that constitute ‘‘significant’’
                                                 2023. Minnesota and Wisconsin are not linked in         FR 31513 (May 19, 2016) (final rule).
                                                 2026 because the 2026 average and maximum
                                                                                                           193 81 FR 15203.                                     contribution for the states subject to this
                                                 design values at the monitoring sites are projected       194 Id.                                              final rule and focuses on the 23 states
                                                 to show attainment.                                       195 Id.                                              with FIP requirements identified in the


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                                                 previous sections. Following the                        unnecessarily over-control relative to                 addition, as was evaluated in the
                                                 existing framework as applied in the                    the contribution threshold or downwind                 CSAPR Update and Revised CSAPR
                                                 prior CSAPR rulemakings, the EPA’s                      air quality.                                           Update, the EPA evaluated whether,
                                                 assessment of linked upwind state                          As mentioned in section III.A.2 of this             based on particularized evidence, its
                                                 emissions is based primarily on analysis                document, commenters on the proposed                   selected control strategy would result in
                                                 of several alternative levels of NOX                    rule and previous ozone transport rules                over-control for any upwind state by
                                                 emissions control stringency applied                    have suggested that the EPA should                     examining whether an upwind state is
                                                 uniformly across all of the linked states.              regulate VOCs as an ozone precursor.                   linked solely to downwind air quality
                                                 The analysis includes assessment of                     For this final rule, the EPA examined                  problems that could have been resolved
                                                 non-EGU stationary sources in addition                  the results of the contribution modeling               at a lesser threshold of control
                                                 to EGU sources in the linked upwind                     performed for this rule to identify the                stringency and whether an upwind state
                                                 states.                                                 portion of the ozone contribution                      could reduce its emissions below the 1
                                                    The EPA applies a multi-factor test—                 attributable to anthropogenic NOX                      percent air quality contribution
                                                 the same multi-factor test that was used                emissions versus VOC emissions from                    threshold at a lesser threshold of control
                                                 in CSAPR, the CSAPR Update, and the                     each linked upwind state to each                       stringency. This analysis is described in
                                                 Revised CSAPR Update 196—to evaluate                    downwind receptor. Of the total                        section V.D of this document.
                                                 increasing levels of uniform NOX                        upwind-downwind linkages in 2023,                         Finally, while the EPA has evaluated
                                                 control stringency. The multi-factor test,              the contributions from NOX emissions                   potential emissions reductions from
                                                 which is central to EPA’s Step 3                        comprise 80 percent or more of the total               non-EGU sources in prior rules and
                                                 quantification of significant                           anthropogenic contribution for nearly                  found certain non-EGU emissions
                                                 contribution, considers cost, available                 all of the linkages (121 out of 124 total).            reductions should inform the budgets
                                                 emissions reductions, downwind air                      Across all receptors, the contribution                 established in the NOX SIP Call, this is
                                                 quality impacts, and other factors to                   from NOX emissions ranges from 84                      the first action for which the EPA is
                                                 determine the appropriate level of                      percent to 97 percent of the total                     finalizing non-EGU emissions
                                                 uniform NOX control stringency that                     anthropogenic contribution from                        reductions within the context of the
                                                 would eliminate significant contribution                upwind states. This review of the                      specific, 4-step interstate transport
                                                 to downwind nonattainment or                            portion of the ozone contribution                      framework established in CSAPR. The
                                                 maintenance receptors. The selection of                 attributable to anthropogenic NOX                      EPA applies its multi-factor test to non-
                                                 a uniform level of NOX emissions                        emissions versus VOC emissions from                    EGUs and independently evaluates non-
                                                 control stringency across all of the                    each linked upwind state leads the
                                                                                                                                                                EGU industries in a consistent but
                                                 linked states, reflected as a                           Agency to conclude that the vast
                                                                                                                                                                parallel track to its Step 3 assessment
                                                 representative cost per ton of emissions                majority of the downwind air quality
                                                                                                                                                                for EGUs. This is consistent with the
                                                 reduction (or a weighted average cost                   areas addressed by the final rule under
                                                                                                                                                                parallel assessment approach taken for
                                                 per ton in the case of EPA’s non-EGU                    are primarily NOX-limited, rather than
                                                                                                                                                                EGUs and non-EGUs in the Revised
                                                 and EGU analysis for 2026 mitigation                    VOC-limited. Therefore, the EPA
                                                                                                                                                                CSAPR Update. Following the
                                                 measures), also serves to apportion the                 continues to find that regulation of
                                                                                                                                                                conclusions of the EGU and non-EGU
                                                 reduction responsibility among                          VOCs as an ozone precursor in upwind
                                                                                                                                                                multi-factor tests, the identified
                                                 collectively contributing upwind states.                states is not necessary to eliminate
                                                                                                                                                                reductions for EGUs and non-EGUs are
                                                 This approach to quantifying upwind                     significant contribution or interference
                                                 state emission-reduction obligations                    with maintenance in downwind areas in                  combined and collectively analyzed to
                                                 using uniform cost was reviewed by the                  this final rule. The remainder of this                 assess their effects on downwind air
                                                 Supreme Court in EME Homer City                         section focuses on EPA’s strategy for                  quality and whether the rule achieves a
                                                 Generation, which held that using such                  reducing regional-scale transport of                   full remedy to eliminate ‘‘significant
                                                 an approach to apportion emissions                      ozone by targeting NOX emissions from                  contribution’’ while avoiding over-
                                                 reduction responsibilities among                        stationary sources to achieve the most                 control.
                                                 upwind states that are collectively                     effective reductions of ozone transport                   To ensure that this rule implements a
                                                 responsible for downwind air quality                    over the geography of the affected                     full remedy for the elimination of
                                                 impacts ‘‘is an efficient and equitable                 downwind areas.                                        significant contribution from upwind
                                                 solution to the allocation problem the                     For both EGUs and non-EGUs, section                 states, the EPA has reviewed available
                                                 Good Neighbor Provision requires the                    V.B of this document describes the                     information on all major industrial
                                                 Agency to address.’’ 572 U.S. at 519.                   available NOX emissions controls that                  source sectors in the upwind states
                                                    There are four stages in developing                  the EPA evaluated for this final rule and              inclusive of commenter-provided data.
                                                 the multi-factor test: (1) identify levels              their representative cost levels (in                   This analysis leads the EPA to conclude
                                                 of uniform NOX control stringency; (2)                  2016$). Section V.C of this document                   that both EGUs and certain large sources
                                                 evaluate potential NOX emissions                        discusses EPA’s application of that                    in several specific industrial categories
                                                 reductions associated with each                         information to assess emissions                        should be evaluated for emissions
                                                 identified level of uniform control                     reduction potential of the identified                  control opportunities. As discussed in
                                                 stringency; (3) assess air quality                      control stringencies. Finally, section                 the sections that follow, the EPA
                                                 improvements at downwind receptors                      V.D of this document describes EPA’s                   determines, for both EGUs and the
                                                 for each level of uniform control                       assessment of associated air quality                   selected non-EGU source categories,
                                                 stringency; and (4) select a level of                   impacts and EPA’s subsequent                           there are impactful emissions reduction
                                                                                                                                                                opportunities available at reasonable
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                                                 control stringency considering the                      identification of appropriate control
                                                 identified cost, available NOX emissions                stringencies considering the key                       cost-effectiveness thresholds. As in the
                                                 reductions, and downwind air quality                    relevant factors (cost, available                      Revised CSAPR Update, the EPA
                                                 impacts, while also ensuring that                       emissions reductions, and downwind                     examines EGUs and non-EGUs in this
                                                 emissions reductions do not                             air quality impacts).                                  section on consistent but distinct
                                                                                                            This multi-factor approach is                       parallel tracks due to differences
                                                    196 See CSAPR, Final Rule, 76 FR 48208 (August       consistent with EPA’s approach in prior                stemming from the unique
                                                 8, 2011).                                               transport actions, such as CSAPR. In                   characteristics of the power sector


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                                                 compared to other industrial source                     rule.197 For further discussion of EPA’s                 install state-of-the-art NOX combustion
                                                 categories.                                             existing and ongoing mobile source                       controls by the 2023 ozone season on a
                                                    Since the NOX SIP Call, EGUs have                    measures, see section V.B.4 of this                      regional scale; those controls are
                                                 consistently been regulated under ozone                 document.                                                assumed to be available by the
                                                 transport rules. These units operate in a                                                                        beginning of the 2024 ozone season. All
                                                                                                         B. Identifying Control Stringency Levels
                                                 coordinated manner across a highly                                                                               cost values discussed in the rest of the
                                                 interconnected electrical grid. Their                   1. EGU NOX Mitigation Strategies                         section for EGUs are in 2016 dollars.
                                                 configuration and emissions control                        In identifying levels of uniform                      a. Optimizing Existing SCRs
                                                 strategies are relatively homogenous,                   control stringency for EGUs, the EPA
                                                 and their emissions levels and                          assessed the same NOX emissions                             Optimizing (i.e., turning on idled or
                                                 emissions control opportunities are                     controls that the Agency analyzed in the                 improving operation of partially
                                                 generally very well understood due to                   CSAPR Update and the Revised CSAPR                       operating) existing SCRs can
                                                 longstanding monitoring and data-                       Update, all of which are considered to                   substantially reduce EGU NOX
                                                 reporting requirements. Non-EGU                         be widely available in this sector: (1)                  emissions quickly, using investments
                                                 sources, by contrast, are relatively                    fully operating existing SCR, including                  that have already been made in
                                                 heterogeneous, even within a single                     both optimizing NOX removal by                           pollution control technologies. With the
                                                 industrial category, and have far greater               existing operational SCRs and turning                    promulgation of the CSAPR Update and
                                                 variation in existing emissions control                 on and optimizing existing idled SCRs;                   the Revised CSAPR Update, most
                                                 requirements, emissions levels, and                     (2) installing state-of-the-art NOX                      operators in the covered states improved
                                                 technologies to reduce emissions. In                    combustion controls; (3) fully operating                 their SCR performance and have
                                                 general, despite these differences, the                 existing SNCRs, including both                           continued to maintain that level of
                                                 information available for this                          optimizing NOX removal by existing                       improved operation. However, this
                                                 rulemaking indicates that both EGUs                     operational SNCRs and turning on and                     optimized SCR performance was not
                                                 and certain non-EGU categories have                     optimizing existing idled SNCRs; (4)                     universal and not always sustained.
                                                 available cost-effective NOX emissions                  installing new SNCRs; and (5) installing                 Between 2017 and 2020, as the CSAPR
                                                 reduction opportunities at relatively                   new SCRs. Finally, for each of these                     Update ozone-season NOX allowance
                                                 commensurate cost per ton levels, and                   combustion and post combustion                           price declined, NOX emissions rates at
                                                 these emissions reductions will make a                  technologies identified, EPA evaluated                   some SCR-controlled EGUs increased.
                                                 meaningful improvement in air quality                   whether emissions reduction potential                    For example, power sector data from
                                                 at the downwind receptors. Section                      from generation shifting at that                         2019 revealed that, in some cases,
                                                 V.B.2 of this document describes EPA’s                  representative dollar per ton level was                  operating units had SCR controls that
                                                 process for selecting specific non-EGU                  appropriate at this Step. Shifting                       had been idled or were operating
                                                 industries and emissions unit types                     generation to lower NOX emitting or                      partially, and therefore suggested that
                                                 included in this final rulemaking.                      zero-emitting EGUs may occur in                          there remained emissions reduction
                                                    The EPA notes that its Step 3 analysis               response to economic factors. As the                     potential through optimization.198 The
                                                 for this FIP does not assess additional                 cost of emitting NOX increases, it                       EPA determined in the Revised CSAPR
                                                 emissions reduction opportunities from                  becomes increasingly cost-effective for                  Update that optimizing SCRs was a
                                                 mobile sources. The EPA continues to                    units with lower NOX rates to increase                   readily available approach for EGUs to
                                                 believe that title II of the CAA provides               generation, while units with higher NOX                  reduce NOX emissions in the 12 states
                                                 the primary authority and process for                   rates reduce generation. Because the                     addressed by a FIP in that rulemaking.
                                                 reducing these emissions at the Federal                 cost of generation is unit-specific, this                Noticeable improvements in emissions
                                                 level. EPA’s various Federal mobile                     generation shifting occurs incrementally                 rates at units with SCRs during the 2021
                                                 source programs, summarized in this                     on a continuum. For the reasons                          and 2022 compliance period further
                                                 section, have delivered and are                         explained in the following sections and                  affirm the ability of sources to quickly
                                                 projected to continue to deliver                        supported by technical information                       implement this mitigation strategy and
                                                 substantial nationwide reductions in                    provided in the EGU NOX Mitigation                       to realize emissions reductions from
                                                 both VOCs and NOX emissions; these                      Strategies Final Rule TSD included in                    doing so. This emissions reduction
                                                 reductions from final rules are factored                the docket for this final rule, the EPA                  measure is currently available at EGUs
                                                 into the Agency’s assessment of air                     determined that for the regional, multi-                 across the broader geography affected in
                                                 quality and contributions at Steps 1 and                state scale of this rulemaking, only EGU                 this final rulemaking (including in
                                                 2. Further, states are generally                        NOX emissions controls 1 and 3 are                       states not previously affected by the
                                                 preempted from regulating new vehicles                  possible for the 2023 ozone season (fully                Revised CSAPR Update). The EPA thus
                                                 and engines with certain exceptions,                    operating existing SCRs and SNCRs).                      determines that SCR optimization, of
                                                 and therefore a question exists regarding               The EPA finds that it is not possible to                 both idled and partially operating
                                                 EPA’s authority to address such                                                                                  controls, is a viable mitigation strategy
                                                                                                           197 The EPA recognizes that mechanisms exist
                                                 emissions through such means when                                                                                for the 2023 ozone season.
                                                                                                         under title I of the CAA that allow for the regulation
                                                 regulating in place of the states under                 of the use and operation of mobile sources to reduce
                                                                                                                                                                     The EPA estimates a representative
                                                 CAA section 110(c). See generally CAA                   ozone-precursor emissions. These include specific        marginal cost of optimizing SCR
                                                 section 209. See also 86 FR 23099. As                   requirements that apply in certain ozone                 controls to be approximately $1,600 per
                                                                                                         nonattainment areas including motor vehicle              ton, consistent with its estimation in the
                                                 noted earlier, the EPA accounted for                    inspection and maintenance (I/M) programs,
                                                 mobile source emissions reductions                                                                               Revised CSAPR Update for this
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                                                                                                         gasoline vapor recovery, clean-fuel vehicle
                                                 resulting from other federally                          programs, transportation control programs, and           technology. EPA’s EGU NOX Mitigation
                                                 enforceable regulatory programs in the                  vehicle miles traveled programs. See, e.g., CAA          Strategies Final Rule TSD for this rule
                                                                                                         sections 182(b)(3), 182(b)(4), 182(c)(3), 182(c)(4),
                                                 development of emissions inventories                    182(c)(5), 182(d)(1), 182(e)(3), and 182(e)(4). The
                                                                                                                                                                  describes a range of cost estimates for
                                                 used to support analysis for this final                 EPA views these programs as well as others that
                                                                                                                                                                     198 See ‘‘Ozone Season Data 2018 vs. 2019’’ and
                                                 rulemaking, and the EPA does not                        meet CAA requirements can be effective and
                                                                                                         appropriate in the context of the planning               ‘‘Coal-fired Characteristics and Controls’’ at https://
                                                 evaluate any mobile source control                      requirements applicable to designated                    www.epa.gov/airmarkets/power-plant-data-
                                                 measures in its Step 3 evaluation in this               nonattainment areas.                                     highlights#OzoneSeason.



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                                                 this technology noting that the costs are               performance as it did in the Revised                   reasonable level of performance for
                                                 frequently lower than—and for the                       CSAPR Update. To estimate EGU NOX                      optimizing existing SCRs at oil- and gas-
                                                 majority of EGUs, significantly lower                   reduction potential from optimizing, the               fired steam units and simple cycle units
                                                 than—this representative marginal cost.                 EPA considers the difference between                   (for which EPA determined that a 0.03
                                                 While the costs of optimizing existing,                 the non-optimized NOX emissions rates                  lb/mmBtu emissions rate reflected SCR
                                                 operational SCRs include only variable                  and an achievable operating and                        optimization) as well as at combined-
                                                 costs, the cost of optimizing SCR units                 optimized SCR NOX emissions rate. To                   cycle units (for which the EPA
                                                 that are currently idled considers both                 determine this rate, EPA evaluated                     determined that a 0.012 lb/mmBtu
                                                 variable and fixed costs of returning the               nationwide coal-fired EGU NOX ozone                    emissions rate reflected SCR
                                                 control into service. Variable and fixed                season emissions data from 2009                        optimization).
                                                 costs include labor, maintenance and                    through 2019 and calculated an average                    The EPA evaluated the feasibility of
                                                 repair, parasitic load, and ammonia or                  NOX ozone season emissions rate across                 optimizing idled SCRs for the 2023
                                                 urea for use as a NOX reduction reagent                 the fleet of coal-fired EGUs with SCR for              ozone season. Based on industry past
                                                 in SCR systems. Depending on a unit’s                   each of these eleven years. The EPA                    practice, the EPA determined that idled
                                                 control operating status, the                           found it prudent to not consider the                   controls can be restored to operation
                                                 representative cost at the 90th percentile              lowest or second-lowest ozone season                   quickly (i.e., in less than 2 months).
                                                 unit (among the relevant fleet of coal                  NOX emissions rates, which may reflect                 This timeframe is informed by many
                                                 units with SCR covered in this                          SCR systems that have all new                          electric utilities’ previous long-standing
                                                 rulemaking) ranges between $900 and                     components (e.g., new layers of                        practice of utilizing SCRs to reduce EGU
                                                 $1,700 per ton. The EPA performed an                    catalyst). Data from these systems are                 NOX emissions during the ozone season
                                                 in-depth cost assessment for all coal-                  potentially not representative of ongoing              while putting the systems into
                                                 fired units with SCRs and found that for                achievable NOX emissions rates                         protective lay-up during the non-ozone
                                                 the subset of SCRs that are already                     considering broken-in components and                   season months. For example, this was
                                                 partially operating, the cost of                        routine maintenance schedules.                         the long-standing practice of many
                                                 optimizing is often much lower than                     Considering the emissions data over the                EGUs that used SCR systems for
                                                 $1,600 per ton and is often under $900                  full time period from 2009–2019 results                compliance with the NOX Budget
                                                 per ton. The EPA anticipates the vast                   in a third-best rate of 0.079 pounds NOX               Trading Program. It was quite typical for
                                                 majority of realized cost for compliance                per million British thermal units (lb/                 SCRs to be turned off following the end
                                                 with this strategy to be better reflected               mmBtu). Therefore, consistent with the                 of the ozone season control period on
                                                 by the $900 per ton end of that range                   Revised CSAPR Update, where EPA                        September 30. These controls would
                                                 (reflecting the 90th percentile of EGUs                 identified 0.08 lb/mmBtu as a                          then be put into protective lay-up for
                                                 optimizing SCRs that are already                        reasonable level of performance for                    several months of non-use before being
                                                 partially operating) because this                       units with optimized SCR, the EPA                      returned to operation by May 1 of the
                                                 circumstance is considerably more                       finalizes a rate of 0.08 lb/mmBtu as the               following ozone season.200 Therefore,
                                                 common than EGUs that have ceased                       optimized rate for this rule. The EPA                  the EPA believes that optimization of
                                                 operating their SCR. This cost                          notes that half of the SCR-controlled                  existing SCRs is possible for the portion
                                                 distinction is reflected in the EPA’s RIA               EGUs achieved a NOX emissions rate of                  of the 2023 ozone season covered under
                                                 cost estimates. When representing the                   0.064 lb/mmBtu or lower over their                     this final rule. The recent successful
                                                 cost of optimization here, the EPA uses                 third-best entire ozone season.                        implementation of this strategy for the
                                                 the higher value to reflect both                                                                               Revised CSAPR Update Rule, and
                                                                                                         Moreover, for the SCR-controlled coal
                                                 optimization of partially operating and                                                                        corresponding fast improvement in SCR
                                                                                                         units that the EPA identified as having
                                                 idled controls. EPA’s analysis of this                                                                         performance rates at units with
                                                                                                         a 2021 emissions rate greater than 0.08
                                                 emissions control is informed by the                                                                           optimization potential, provides further
                                                                                                         lb/mmBtu, the EPA verified that in prior
                                                 latest engineering modeling equations                                                                          supporting evidence of the viability of
                                                                                                         years, the majority (more than 90
                                                 used in EPA’s IPM platform. These cost                                                                         this timeframe.
                                                                                                         percent) of these same units had                          The vast majority of SCR-controlled
                                                 and performance equations were                          demonstrated and achieved a NOX
                                                 recently updated in the summer of 2021                                                                         units (nationwide and in the 23 linked
                                                                                                         emissions rate of 0.08 lb/mmBtu or less                states for which EPA is issuing a FIP for
                                                 in preparation for this rule, and
                                                                                                         on a seasonal or monthly basis. This                   EGUs) are already partially operating
                                                 subsequently evaluated for the final rule
                                                                                                         further supports EPA’s determination                   these controls during the ozone season
                                                 in 2022 and determined to still be
                                                                                                         that 0.08 lb/mmBtu reflects a reasonable               based on reported 2021 and 2022
                                                 appropriate. The description and
                                                                                                         emissions rate for representing SCR                    emissions rates. Notably, the higher
                                                 development of the equations are
                                                                                                         optimization at coal steam units in                    ozone season NOX allowance price
                                                 documented in EGU NOX Mitigation
                                                                                                         identifying uniform control stringency.                observed in 2022 resulted in more units
                                                 Strategies Final Rule TSD and
                                                                                                         This emissions rate assumption of 0.08                 operating their controls closer to their
                                                 accompanying documents.199 They are
                                                                                                         lb/mmBtu reflects what those units                     potential and bringing collective
                                                 also implemented in an interactive
                                                                                                         would achieve on average when                          emissions from those 12 states closer to
                                                 spreadsheet tool called the Retrofit Cost
                                                                                                         optimized, recognizing that individual                 the 2023 emissions budgets for those
                                                 Analyzer and applied to all units in the
                                                                                                         units may achieve lower or higher rates                states in this final rule, accordingly.
                                                 fleet. These materials are available in
                                                                                                         based on unit-specific configuration and
                                                 the docket for this action.
                                                                                                         dispatch patterns. Units historically                    200 In the 22-state CSAPR Update region, 2005
                                                    The EPA is using the same
                                                                                                         performing at, or better, than this rate of            EGU NOX emissions data suggest that 125 EGUs
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                                                 methodology to identify SCR                                                                                    operated SCR systems in the summer ozone season
                                                                                                         0.08 lb/mmBtu are assumed to continue
                                                                                                                                                                while idling these controls for the remaining 7 non-
                                                   199 The CSAPR Update estimated $1,400 per ton         to operate at that prior performance                   ozone season months of the year. Units with SCR
                                                 as a representative cost of turning on idled SCR        level.                                                 were identified as those with 2005 ozone season
                                                 controls. EPA used the same costing methodology            Given the magnitude and duration of                 average NOX rates that were less than 0.12 lb/
                                                 while updating for input cost increases (e.g., urea                                                            mmBtu and 2005 average non-ozone season NOX
                                                 reagent) to arrive at $1,600 per ton in the final
                                                                                                         the air quality problems addressed by                  emissions rates that exceeded 0.12 lb/mmBtu and
                                                 Revised CSAPR Update (while also updating from          this rulemaking, the EPA also applied                  where the average non-ozone season NOX rate was
                                                 2011 dollars to 2016 dollars).                          the same methodology to identify a                     more than double the ozone season rate.



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                                                 Existing SCRs operating at partial                      data included impacts from COVID–19                    what those units would achieve when
                                                 capacity still provide functioning,                     pandemic shutdowns (such as atypical                   optimized. Some of these units may
                                                 maintained systems that may only                        electricity demand patterns) which                     achieve rates that are lower than 0.08 lb/
                                                 require an increased chemical reagent                   complicate interpretations of typical                  mmBtu, and some units may operate
                                                 feed rate (i.e., ammonia or urea) up to                 EGU emissions performance.                             above that rate based on unit-specific
                                                 their design potential and catalyst                     Additionally, EPA believes that in this                configuration and dispatch patterns. In
                                                 maintenance for mitigating NOX                          context, a unit’s retirement in 2020 or                other words, EPA is using this
                                                 emissions; such units may require                       2021 does not obviate the usefulness of                assumption as the average performance
                                                 increased frequency or quantity of                      its prior SCR operational data for                     of a unit that optimizes its SCR,
                                                 deliveries, which can be accomplished                   assessing the emissions control                        recognizing that heterogeneity within
                                                 within a few weeks. In many cases,                      performance of other existing SCRs                     the fleet will likely lead some units to
                                                 EGUs with SCR have historically                         across the fleet. Consequently, EPA is                 overperform and others to underperform
                                                 achieved more efficient NOX removal                     continuing to use the same value of the                this rate. Moreover, a review of unit-
                                                 rates than their current performance and                0.08 lb/mmBtu emissions rate                           specific historical data indicates that
                                                 can therefore simply revert to earlier                  calculated from the 2009–2019 data set                 this is a reasonable assumption: not
                                                 operation and maintenance plans that                    identified at the time of the final                    only has the group of units with SCR
                                                 achieved demonstrably better SCR                        Revised CSAPR Update Rule in this                      optimization potential demonstrated
                                                 performance.                                            rulemaking. EPA’s analysis focuses on                  they can perform at or better than the
                                                    In the 12 states subject to this control             the third best ozone season average rate               0.08 lb/mmBtu rate on average, over 90
                                                 stringency in the Revised CSAPR                         because EPA believes that the first- or                percent of the individual units in this
                                                 Update, the EPA observed significant                    second-best rate, consistent with its                  group have already met this rate on a
                                                 immediate-term improvements in SCR                      CSAPR Update final rule and in the                     seasonal and/or monthly basis based on
                                                 performance in the first ozone season                   Revised CSAPR Update, could give                       their reported historical data.
                                                 following finalization of that rule, as                 undue weight to the emissions control                     Additionally, EPA’s examination of
                                                 evidenced in particular by the sharp                    performance of new SCRs in their first                 units experiencing SCR performance
                                                 drop in emissions rate at Miami Fort                    year of service and their corresponding                deterioration included notable instances
                                                 unit 7 (see EGU NOX Mitigation                          newer SCR components. It does not                      of poor NOX control at increased
                                                 Strategies Final Rule TSD). For instance,               necessarily reflect achievable ongoing                 capacity factors. As an example, Miami
                                                 in June of 2021—within months of the                    NOX emissions rates at relatively older                Fort Unit 7 had considerably more
                                                 Revised CSAPR Rule being finalized—                     SCRs. The third-lowest season was                      hours of operation at a 70 to 79 percent
                                                 Miami Fort Unit 7 and Unit 8 (which                     selected because it represents a time                  capacity factor in 2019 compared to
                                                 had substantial SCR optimization                        when the unit was most likely                          previous years. However, Miami Fort
                                                 potential) were able to reach levels of                 consistently and efficiently operating its             Unit 7’s ozone-season NOX emissions
                                                 0.07 lb/mmBtu of NOX (a greater than 50                 SCR in a manner representative of                      rate substantially increased in 2019
                                                 percent reduction from where they had                   sustained future operation.                            compared to previous years. This SCR
                                                 operated the prior year during the same                    Comment: Other commenters                           performance deterioration runs counter
                                                 month). Such empirical data further                     suggested that EPA should apply a                      to the notion that an increase in
                                                 illustrates the viability of this mitigation            higher NOX emissions rate than 0.08 lb/                emissions rates is purely driven by
                                                 strategy for the 2023 control period in                 mmBtu to existing SCR at coal EGUs                     reduced capacity factor, as suggested by
                                                 response to this rule.                                  premised on considerations such as: a                  commenters. This substantial
                                                    Comment: EPA received comments                       generally reduced average capacity                     deterioration in the median emissions
                                                 supporting the 0.08 lb/mmBtu                            factor for coal units in recent years, the             rate performance is observable even
                                                 emissions rate as achievable and,                       age of the boiler, coal rank (bituminous               when comparing specific hours in 2019
                                                 according to some commenters,                           or subbituminous), or other unit-specific              to specific hours in prior years when the
                                                 underestimate the control’s potential.                  considerations that commenters claim                   unit operated in the same 70 to 79
                                                 Some of these commenters went on to                     make the 0.08 lb/mmBtu rate                            percent capacity factor range. In fact, in
                                                 provide their own analysis                              unattainable for a specific unit.                      2019 the unit experienced notable
                                                 demonstrating that the 0.08 lb/mmBtu                       Response: EPA did not find sufficient               emissions rate increases from prior
                                                 was achievable not only on average for                  justification to apply a higher average                years across multiple capacity factor
                                                 the non-optimized fleet, but also for                   emissions rate than 0.08 lb/mmBtu. EPA                 ranges as low as 40 percent to as high
                                                 these individual units and that the                     found that some commenters were                        as 80 percent. This type of data
                                                 resulting state emissions budgets were                  misunderstanding or misconstruing                      indicates instances where the increase
                                                 likewise achievable. Some commenters                    both EPA’s assumption and                              in emissions rate (and emissions) is not
                                                 suggested that the rate should be lower                 implementation mechanism as a unit-                    necessitated by load changes but is more
                                                 and premised on EPA using the first- or                 level requirement for every SCR-                       likely due to the erosion of the existing
                                                 second-best year instead of the third                   controlled unit instead of a reflection of             incentive to optimize controls (i.e., the
                                                 best year of SCR performance. Some                      a fleet-wide average based on a third-                 ozone-season NOX allowance price has
                                                 commenters observed that using the                      best rate. The commenters’                             fallen so low that unit operators find it
                                                 same methodology, but omitting SCR                      observation—that 0.08 lb/mmBtu may                     more economic to surrender additional
                                                 units that have since retired, could                    be difficult for some units to achieve or              allowances instead of continuing to
                                                 deliver an even lower SCR performance                   may not be a preferred compliance                      operate pollution controls at an
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                                                 benchmark rate.                                         strategy for a given unit given its                    optimized level).
                                                    Response: The EPA notes that                         dispatch levels—does not contradict                       EPA observed this pattern in other
                                                 updating the inventory of coal-fired                    EPA’s assumption, but rather supports                  units identified in this rulemaking as
                                                 EGUs to reflect recent retirements and to               its methodology and assumptions. As                    having significant SCR optimization
                                                 include data reported since 2019 (e.g.,                 EPA pointed out in the proposed rule,                  emissions reduction potential. In the
                                                 2009–2021) would provide a lower                        this fleet-level emissions rate                        accompanying Emissions Data TSD for
                                                 value of 0.071 lb/mmBtu. However, EPA                   assumption of 0.08 lb/mmBtu for non-                   the supplemental notice that EPA
                                                 acknowledges that 2020 operational                      optimized units reflects, on average,                  recently released in a proceeding to


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                                                 address a recommendation submitted to                   NOX emissions rates across operating                   performance declines at those lower
                                                 EPA by the Ozone Transport                              levels than in the past, particularly at               operating levels. However, hourly data
                                                 Commission under CAA section 184(c),                    mid-operating levels.’’ 201 That hourly                indicate that maintaining consistent
                                                 EPA noted, ‘‘In their years with the                    data analysis, included in this docket,                SCR performance at lower capacity
                                                 lowest average ozone season NOX                         controls for operating level changes and               factors is possible. For example, the
                                                 emissions rates in this analysis, these                 still finds there to be instances across               unit-level performance data in Figure 2
                                                 EGUs had relatively low NOX emissions                   multiple SCR-controlled units where                    to section VI.B of this document show
                                                 rates at mid- and high-operating levels;                hourly emissions rates are increasing                  the emissions rate at a coal-fired EGU
                                                 moreover, there was little variability in               even when compared to the same load                    with existing SCR staying relatively low
                                                 NOX emissions rates at these operating                  levels in previous years.                              (consistent with our optimization
                                                 levels. However, during the 2019 ozone                     Some commenters have alleged that                   assumption of 0.08 lb/mmBtu) and
                                                 season, these EGUs had higher NOX                       in recent years coal-fired EGUs have                   stable across a wide range of capacity
                                                 emissions rates and greater variability in              declined in capacity factor and that SCR               factors.202




                                                   Furthermore, most recent data from                    0.25 lb/mmBtu in the 2021 season). This                performance may not be available at all
                                                 2022 illustrates that cycling units do                  2022 improvement in SCR operation                      units with optimization potential. These
                                                 have the ability to adjust cycling                      occurred during a period when                          commenters also disagree with the EPA
                                                 patterns in a manner that enables them                  allowance prices increased relative to                 finding that SCRs can consistently
                                                 to maintain a lower emissions rate                      prior years, creating an incentive for                 maintain a 0.08 lb/mmBtu rate over
                                                 throughout the season while still                       potential emissions reductions through                 time.
                                                 achieving a load cycling pattern at the                 SCR optimization.                                         Response: EPA reviewed the data and
                                                 unit. For example, the SCR-controlled                      Comment: EPA also received                          its methodology and evaluated it against
                                                 Conemaugh Unit 2 in Pennsylvania                        comment suggesting it should deviate                   its intention to identify a technology-
                                                 adjusted operating patterns in 2022 to                  from its approach in the CSAPR Update                  specific representative emissions rate
                                                 have a slightly higher minimum load in                  of using a nationwide data set of all SCR              for SCR optimization. In doing so, EPA
                                                 most hours (maintaining a range of 550                  controlled coal units to establish a third             did not identify any need to make the
                                                 MW–900 MW for most hours as                             best year, and instead limit the dataset               suggested change. EPA is interested in
                                                 opposed to 450 MW–900 MW observed                       to either just the covered states, or—in               the performance potential of a
                                                 in 2021). This change in minimum load,                  the case of some commenters—just to                    technology, and a larger dataset
                                                 and corresponding minimum operating                     the baseline years of those units at                   provides a superior indication of that
                                                 temperature, enabled the unit to                        which EPA is identifying optimization                  potential as opposed to a smaller, state-
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                                                 maintain emissions rates in the 0.05 lb/                potential. They claim the current                      limited dataset. Moreover, EPA’s use of
                                                 mmBtu to 0.10 lb/mmBtu range for most                   methodology may capture extremely                      the third best year (as opposed to best)
                                                 of the 2022 season (as opposed to NOX                   efficient SCR performance years at the                 from its baseline period results in an
                                                 emissions rates that regularly exceeded                 best performing units and that level of                average optimization level that is robust
                                                   201 ‘‘Analysis of Ozone Season NO Emissions           2020. Available at https://www.epa.gov/sites/           202 EPA, Air Markets Program Data. Available at
                                                                                     X
                                                 Data for Coal-Fired EGUs in Four Mid-Atlantic           production/files/2020-12/documents/184c_               www.epa.gov/ampd.
                                                                                                                                                                                                                   ER05JN23.000</GPH>




                                                 States,’’ EPA Clean Air Markets Division. December      emission_data_tsd.pdf.



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                                                 to the commenters’ concern that EPA                     it would remain one of the most widely                 b. Installing State-of-the-Art NOX
                                                 should not overstate the fleetwide                      available, widely practiced, and lowest                Combustion Controls
                                                 representative optimization level. Prior                cost mitigation measures with                             The EPA estimates that the
                                                 experience with EPA’s methodology and                   meaningful downwind air quality                        representative cost of installing state-of-
                                                 program has borne out empirical                         benefit. Appendix B of the EGU NOX                     the-art combustion controls is
                                                 evidence of its reasonableness. In both                 Mitigation Strategies Final Rule TSD                   comparable to, if not notably less than,
                                                 the CSAPR Update and in Revised                         further addresses commenters’ concerns                 the estimated cost of optimizing existing
                                                 CSAPR Update rule, EPA appropriately                    as it provides a variety of sensitivities              SCR (represented by $1,600 per ton).
                                                 relied on the largest dataset possible                  showing cost per ton levels under a                    State-of-the-art combustion controls
                                                 (i.e., nationwide) to derive technology                 variety of different input assumptions                 such as low-NOX burners (LNB) and
                                                 performance averages that it then                       (including higher material and reagent                 over-fire air (OFA) can be installed or
                                                 applied respectively to the CSAPR                       cost). It supports the continued                       updated quickly and can substantially
                                                 Update 22-state region and the Revised                  inclusion of this technology in the rule               reduce EGU NOX emissions.
                                                 CSAPR Update’s 12-state region. EPA                     even in the event that higher reagent                  Nationwide, approximately 99 percent
                                                 repeats that successful approach in this                costs extend into compliance years.                    of coal-fired EGU capacity greater than
                                                 rule. Finally, as noted in the preceding                   Comment: While many commenters                      25 MW is equipped with some form of
                                                 paragraphs, in affirming the                            supported the feasibility of 2023 ozone-               combustion control; however, the
                                                 reasonableness of this approach, EPA                    season implementation by noting the                    control configuration or corresponding
                                                 examined the historical reported data                   ‘‘immediate availability’’ of SCR                      emissions rates at a small portion of
                                                 (pre-2021) for the units in the states                  optimization, other commenters argued                  those units (including units in those
                                                 with SCR optimization potential and                     that the engineering, procurement, and                 states covered in this action) indicate
                                                 found the nationwide derived average                    other steps required for SCR                           they do not currently have state-of-the-
                                                 appropriate and consistent with                         optimization were not feasible given the               art combustion control technology. For
                                                 demonstrated capability and                             anticipated limited window between                     this rulemaking, the Agency re-
                                                 performance of units within those                       rule finalization and the start of the                 evaluated its NOX emissions rate
                                                 states. That is, the vast majority of units             2023 ozone season.                                     assumptions for upgrading existing
                                                 to which this resulting emissions rate                     Response: There is ample evidence of
                                                                                                                                                                combustion controls to state-of-the-art
                                                 assumption was being applied had                        units restoring their optimal
                                                                                                                                                                combustion control. The EPA is
                                                 demonstrated the ability to achieve this                performance within a two-month
                                                                                                                                                                maintaining its determination that NOX
                                                 rate in some prior year for an extended                 timeframe. Not only do units reactivate
                                                                                                                                                                emissions rates of 0.146 to 0.199 lb/
                                                 monthly or seasonal basis. This                         SCR performance level at the start of an
                                                                                                                                                                mmBtu can be achieved on average
                                                 information is discussed further in the                 ozone-season when tighter emissions
                                                                                                                                                                depending on the unit’s boiler
                                                 EGU NOX Mitigation Strategies Final                     limits begin, but unit-level data also
                                                                                                                                                                configuration,203 and, once installed,
                                                 Rule TSD in the docket.                                 shows instances where sources have
                                                                                                                                                                reduce NOX emissions at all times of
                                                    Comment: Some commenters                             demonstrated the ability to quickly alter
                                                                                                                                                                EGU operation.
                                                 suggested the price of SCR optimization                 their emissions rate within an ozone-                     These assumptions are consistent
                                                 is higher than the $1,600 per ton figure                season and even within the same day in                 with the Revised CSAPR Update. They
                                                 proposed due to current market                          some cases. Moreover, this emissions                   are further discussed in the EGU NOX
                                                 conditions for aqueous ammonia or                       control is familiar to sources and was                 Mitigation Strategies Final Rule TSD. In
                                                 other input prices.                                     analyzed and included in the Revised                   particular, the EPA is finalizing, as
                                                    Response: EPA provides a                             CSAPR Update emissions budgets                         proposed, the application of the 0.199
                                                 representative cost for this mitigation                 finalized in 2021 and the CSAPR                        lb/mmBtu emissions rate assumption for
                                                 technology which is anticipated to                      Update emissions budgets finalized in                  both boiler types (tangentially and wall
                                                 reflect the cost, on average, throughout                2016. With this experience, and notice                 fired). EPA’s analysis calculated average
                                                 the compliance period for the rule.                     through the March 2022 proposed rule,                  emissions rates of 0.199 lb/mmBtu for
                                                 While there may be volatility in the                    as well as over two months from final                  combustion controls on dry bottom wall
                                                 market during that period where the                     rule to effective date, the viability of this          fired units and 0.146 lb/mmBtu for
                                                 price falls above or below the single                   emissions control for the 2023 ozone                   tangentially fired units. However, many
                                                 representative threshold value, EPA’s                   season is consistent with the 2-week to                of the likely impacted units burn
                                                 EGU NOX Mitigation Strategies Final                     2-month timeframe that EPA identified                  bituminous coal, and the 0.146 lb/
                                                 Rule TSD explains how the                               as reasonable in the CSAPR Update,                     mmBtu nationwide average for
                                                 representative cost is derived and is                   Revised CSAPR Update, and in this                      tangentially-fired (inclusive of
                                                 inclusive of consultation and vetting by                rulemaking. Similar to prior rules,                    subbituminous units) appears to be
                                                 third party air pollution control                       commenters provide some unit-level                     below the demonstrated emissions rate
                                                 consulting groups. Commenters did not                   examples where it has taken longer.                    of state-of-the-art combustion controls
                                                 demonstrate that observed 2021                          Also similar to those prior rules, EPA                 for bituminous coal units of this boiler
                                                 elevated prices amid market volatility                  does not find those unit-level examples                type. Therefore, EPA’s assignment of a
                                                 would continue into the future                          compelling in the context of its fleet                 0.199 lb/mmBtu emissions rate for
                                                 compliance periods discussed in this                    average assumptions and in the                         combustion controls at all affected unit
                                                 rule. Moreover, the selection of the                    implementation context of a trading
                                                                                                                                                                types is robust to current and future coal
                                                 mitigation technology is reflective of a                program which provides compliance
                                                                                                                                                                choice at a unit.
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                                                 variety of factors including reduction                  alternatives in the event a specific unit                 The EPA has previously examined the
                                                 potential and air quality impact. A                     prefers more time to implement a given                 feasibility of installing combustion
                                                 higher cost (commenter suggests up to                   control measure. As noted in Wisconsin,                controls and found that industry had
                                                 $3,800 per ton) would not change EPA’s                  ‘‘. . . all those anecdotes show is that               demonstrated ability to install state-of-
                                                 determination that optimizing already                   installation can drag on when
                                                 existing SCRs is an appropriate                         companies are unconstrained by the                      203 Details of EPA’s assessment of state-of-the-art
                                                 mitigation strategy for Step 3 emissions                ticking clock of the law.’’ 938 F.3d at                NOX combustion controls are provided in the EGU
                                                 reduction analysis in this rulemaking as                330.                                                   NOX Mitigation Strategies Final Rule TSD.



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                                                 the-art LNB controls on a large unit (800               lower capacity factor is assumed. 99                   rate would require from the specific
                                                 MW) in under six months when                            percent of units have some form of                     segment of the fleet identified as having
                                                 including the pre-installation phases                   combustion controls, indicating the                    this mitigation measure available. Here
                                                 (design, order placement, fabrication,                  widespread cost-effectiveness of this                  too, EPA found that the effective percent
                                                 and delivery).204 In prior rules, the EPA               control. See the EGU NOX Mitigation                    reduction for the identified fleet
                                                 has documented its own assessment of                    Strategies Final Rule TSD for additional               (inclusive of their existing coal rank
                                                 combustion control timing installation                  details.                                               choice) is well within the historical
                                                 as well as evaluated comments it                           At proposal EPA assumed that                        performance range for this technology.
                                                 received regarding installation of                      emissions reductions from combustion                   Therefore, EPA is finalizing the
                                                 combustion controls from the Institute                  control upgrades at affected EGUs in                   combustion control upgrade
                                                 of Clean Air Companies.205 Those                        states subject to the Revised CSAPR                    performance assumption of 0.199 lb/
                                                 comments provided information on the                    Update program could occur by 2023                     mmBtu as appropriate representative
                                                 equipment and typical installation time                 given that those EGUs may have already                 average performance rate for this
                                                 frame for new combustion controls,                      begun pursuing such upgrades in                        technology and robust to different boiler
                                                 accounting for all steps. To date, EPA                  response to that previous rule. However,               types and coal ranks.
                                                 has found it generally takes between 6–                 EPA does not have data to confirm that
                                                                                                         presumption, and hence EPA is                          c. Optimizing Already Operating SNCRs
                                                 8 months on a typical boiler—covering                                                                          or Turning on Idled Existing SNCRs
                                                 the time through bid evaluation through                 determining in this final rule that
                                                 start-up of the technology. The                         combustion control upgrades for all                       Optimizing already operating SNCRs
                                                 deployment schedule is repeated here                    affected EGUs, regardless of whether                   or turning on idled existing SNCRs can
                                                 as:                                                     they were previously subject to the                    also reduce EGU NOX emissions
                                                                                                         Revised CSAPR Update program, should                   quickly, using investments in pollution
                                                 • 4–8 weeks—bid evaluation and
                                                                                                         be considered available by the 2024                    control technologies that have already
                                                    negotiation
                                                 • 4–6 weeks—engineering and                             ozone season, consistent with the                      been made. Compared to no post-
                                                    completion of engineering drawings                   deployment schedule noted in this                      combustion controls on a unit, SNCRs
                                                 • 2 weeks—drawing review and                            section.                                               can achieve a 25 percent reduction on
                                                    approval from user                                      Comment: Some commenters                            average in EGU NOX emissions (with
                                                 • 10–12 weeks—fabrication of                            suggested that EPA, in its modeling for                sufficient reagent). They are less capital
                                                    equipment and shipping to end user                   the proposed rule, overestimated the                   intensive but less efficient at NOX
                                                    site                                                 ability of combustion control                          removal than SCRs. These controls are
                                                 • 2–3 weeks—installation at end user                    technologies to achieve very low NOX                   in use to some degree across the U.S.
                                                    site                                                 emissions rates. The commenters claim                  power sector. In the 22 linked states
                                                 • 1 week—commissioning and start-up                     EPA’s assumptions are derived from                     with EGU reductions identified in this
                                                    of technology                                        projected NOX emissions rates based on                 final rule, approximately 11 percent of
                                                    Given the referenced timeframe of                    ideal circumstances for NOX emissions                  coal-fired EGU capacity is equipped
                                                 approximately 6 to 8 months to                          reductions, including combinations of                  with SNCR.206 Recent power sector data
                                                 complete combustion control                             fuel composition and unit design that                  suggest that, in some cases, SNCR
                                                 installation in the region, the EPA is                  are not typical and should not be                      controls have been operating less in
                                                 finalizing that installation of state-of-               extrapolated to the national inventory.                2021 relative to performance in prior
                                                 the-art combustion controls is a readily                   Response: EPA’s emissions                           years. For instance, EPA reviewed the
                                                 available approach for EGUs to reduce                   performance rate for state-of-the-art                  last five years of performance data for
                                                 NOX emissions by the start of the 2024                  combustion controls is derived from                    all the units with SNCR optimization
                                                                                                         historical data and takes both boiler                  potential in its Engineering Analysis. It
                                                 ozone season. More details on these
                                                                                                         type and coal choice into account. EPA                 found that in 2021—the most recent
                                                 analyses can be found in the EGU NOX
                                                                                                         reviewed historical data and identified                year reviewed—that the weighted
                                                 Mitigation Strategies Final Rule TSD.
                                                    The cost of installing state-of-the-art              the average emissions rates for units                  average ozone season emissions rate for
                                                 combustion controls per ton of NOX                      with this technology already in place. It              these units was higher than the prior
                                                 reduced is dependent on the                             segmented this analysis by boiler type                 three years (indicating some
                                                 combustion control type and unit type.                  (dry-bottom wall-fired boiler and                      deterioration in average performance).
                                                 The EPA estimates the cost per ton of                   tangentially-fired, and further                        Moreover, a unit level review illustrated
                                                                                                         segmented by coal rank to assess the                   that 80 of the 107 units had performed
                                                 state-of-the-art combustion controls to
                                                                                                         average performance among these                        better in a prior year by an average of
                                                 be $400 per ton to $1,200 per ton of
                                                                                                         varying parameters. As explained in the                13 percent—indicating substantial
                                                 NOX removed using a representative
                                                                                                         EGU NOX Mitigation Strategies Final                    optimization potential.207
                                                 capacity factor of 85 percent. This cost
                                                                                                         Rule TSD, EPA chose an emissions rate                     The EPA determined that optimizing
                                                 fits well within EPA’s representative
                                                                                                         for which it verified accommodated                     already operating SNCRs or turning on
                                                 cost threshold observed for SCR
                                                                                                         (i.e., was greater than or equal to) the               idled SNCRs is an available approach
                                                 optimization and combustion controls                                                                           for EGUs to reduce NOX emissions, has
                                                                                                         average performance rate identified
                                                 (of $1,600 per ton) which would                                                                                similar implementation timing to
                                                                                                         above for each boiler configuration with
                                                 accommodate combustion control                                                                                 restarting idled SCR controls (less than
                                                                                                         state-of-the-art combustion controls and
                                                 upgrade even under scenarios where a                                                                           2 months for a given unit), and therefore
                                                                                                         resulted in reductions consistent with
                                                                                                                                                                could be implemented in time for the
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                                                   204 The EPA finds that, generally, the installation
                                                                                                         the technology’s assumed percent
                                                 phase of state-of-the-art combustion control            reduction potential when applied to this               2023 ozone season. In this final rule, the
                                                 upgrades—on a single-unit basis—can be as little as     subset of units. It also assessed whether              EPA is determining that this emissions
                                                 4 weeks to install with a scheduled outage (not         the rate had been demonstrated by both
                                                 including the pre-installation phases such as           subbituminous and bituminous coal                        206 https://www.epa.gov/airmarkets/national-
                                                 permitting, design, order, fabrication, and delivery)                                                          electric-energy-data-system-needs-v6.
                                                 and as little as 6 months considering all               units with state-of-the-art combustion                   207 See ‘‘Historical Emission Rates for Units with
                                                 implementation phases.                                  controls. EPA further assessed the                     SNCR Optimization Potential’’ in the docket for this
                                                   205 EPA–HQ–OAR–2015–0500–0093.                        percent reduction that achieving this                  rulemaking.



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                                                 control measure is available beginning                  hookup is as little as 16 months                       program will encourage these EGUs to
                                                 in the 2023 ozone season.                               including pre-contract award steps for                 determine and adopt emissions
                                                    Using the Retrofit Cost Analyzer                     an individual power plant installing                   reduction measures (including SNCR or
                                                 described in the EGU NOX Mitigation                     controls on more than one boiler.                      SCR) as soon as possible to reduce their
                                                 Strategies Final TSD, the EPA estimates                 However, SNCR retrofits have less                      allowance holding compliance burden.
                                                 a representative cost of optimizing                     pollution reduction potential than SCRs,               By scheduling SNCR-related emissions
                                                 SNCR ranging from approximately                         and as explained further in the next                   reductions potential for the 2026 ozone
                                                 $1,800 per ton (for partially operating                 section, the EPA is identifying the                    season, the EPA preserves the
                                                 SNCRs) to $3,900 per ton (for idled                     retrofit of new SCR rather than SNCR as                opportunity for considerably superior
                                                 SNCRs). For existing SNCRs that have                    a strategy for larger steam units due to
                                                                                                                                                                emissions reduction potential from
                                                 been idled, unit operators may need to                  this lower removal efficiency. This
                                                 restart payment of some fixed and                                                                              these EGUs should they select SCR
                                                                                                         approach respects empirical evidence
                                                 variable operating costs including labor,               that larger coal-fired EGUs which                      retrofit instead, while still requiring
                                                 maintenance and repair, parasitic load,                 installed post-combustion NOX control                  post-combustion control emissions
                                                 and ammonia or urea. The EPA                            technology have overwhelmingly                         reduction potential ahead of the next
                                                 determined that the majority of units                   chosen SCRs over SNCRs. Even for                       attainment date.
                                                 with existing SNCR optimization                         smaller units less than 100 MW                            Comment: Some commenters argued
                                                 potential were already partially                        identified as potential candidates for                 that the upper range of SNCR NOX
                                                 operating their controls. Therefore, the                SNCR technology, the EPA does not                      removal performance (40 percent)
                                                 EPA finalizes a representative cost of                  want to preclude those units from                      referenced by EPA is optimistic for
                                                 $1,800 per ton for SNCR optimization as                 pursuing SCR in lieu of SNCR.                          many boilers.
                                                 this value best reflects the                               Therefore, in this final rule the EPA
                                                 circumstances of the majority of the                    defines the availability of emissions                     Response: EPA evaluated both actual
                                                 affected EGUs with SNCR.                                reductions from post-combustion                        performance and engineering literature
                                                                                                         control installation to be in 2026, the                regarding SNCR retrofit technology and
                                                 d. Installing New SNCRs                                                                                        found both sources supported the range
                                                                                                         same period as the start of SCR-based
                                                   The EPA evaluated potential                           reductions becoming available, to allow                of reduction estimates cited by EPA.
                                                 emissions reductions and associated                     enough time for eligible EGUs to choose                (Refer to the EGU NOX Mitigation
                                                 costs from retrofitting EGUs with new                   between SCR or SNCR. SNCR                              Strategies Final Rule TSD in the docket
                                                 SNCR post-combustion controls at                        installation shares similar                            for this rulemaking for additional
                                                 steam units lacking such controls,                      implementation steps with and also                     information.) Moreover, for purposes of
                                                 which can achieve a 25 percent NOX                      need to account for the same regional                  calculating state budgets, EPA assumes
                                                 reduction on average. New SNCR                          factors as SCR installations, which are                25 percent reduction from this
                                                 technology provides owners with a                       described in the next section. While the               technology—not 40 percent—which
                                                 relatively less capital-intensive option                EPA is determining that at least 16                    reflects a value well within the range of
                                                 for reducing NOX emissions compared                     months would be needed to complete                     documented performance for this
                                                 to new SCR technology, albeit at the                    all necessary steps of SNCR                            technology. Remaining comments on
                                                 expense of higher operating costs on a                  development and installation, an                       SNCR performance potential are
                                                 per-ton basis and less total emissions                  eligible EGU choosing new SCR instead
                                                                                                                                                                addressed in the RTC Document and in
                                                 reduction potential. SNCR is more                       would require installation timing of 36
                                                                                                                                                                the EGU NOX Mitigation Strategies Final
                                                 widely observed on relatively smaller                   to 48 months. EPA believes its finalized
                                                 coal units given its low capital/variable               joint timing considerations for post-                  Rule TSD.
                                                 cost ratio. The average capacity of a coal              combustion control retrofits (SNCR and                 e. Installing New SCRs
                                                 unit with SNCR is half the size of the                  SCR) are justified given that post-
                                                 average capacity of coal unit with                      combustion control retrofit decisions are                Selective Catalytic Reduction (SCR)
                                                 SCR.208 Given these observations, the                   subject to unit-specific economic and                  controls already exist on over 66 percent
                                                 EPA identifies this technology as an                    engineering factors and are sensitive to               of the coal fleet in the linked states that
                                                 emissions reduction measure for coal                    operator compliance strategy choices                   are subject to a FIP in this rulemaking.
                                                 units less than 100 MW lacking post-                    with respect to multiple regulatory                    Nearly every pulverized coal unit larger
                                                 combustion NOX control technology. As                   requirements.                                          than 100 MW built in the last 30 years
                                                 described in the EGU NOX Mitigation                        Comment: Some commenters argued                     has installed this control, which is
                                                 Strategies Final Rule TSD, the EPA                      that post-combustion control timing                    generally required for Best Available
                                                 estimated that $6,700 per ton reflects a                assumptions (SCR and SNCR) should be                   Control Technology (BACT) purposes.
                                                 representative SNCR retrofit cost level                 decoupled, which could result in the                   Other than circulating fluidized bed
                                                 for these units.                                        EPA using the 16-month time frame
                                                                                                                                                                coal units which can achieve a
                                                   For this rulemaking, EPA is not                       specific to SNCR installation to require
                                                                                                                                                                comparably low emissions rate without
                                                 considering SNCR installation timing                    emissions reductions related to new
                                                                                                         SNCR installations by the 2025 ozone                   this technology, the EPA identifies this
                                                 unto itself but is instead considering
                                                                                                         season.                                                emissions reduction measure for coal
                                                 how long eligible EGUs may need to
                                                                                                            Response: The EPA does not agree                    steam units greater than or equal to 100
                                                 adopt either SNCR or SCR as a post-
                                                                                                         that decoupling SCR and SNCR timing                    MW. SCR is widely available for
                                                 combustion control measure. SNCR
                                                                                                         consideration is justified in the context              existing coal units of this size and can
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                                                 installations generally have shorter
                                                 project installation timeframes relative                of this final rule’s emissions control                 provide significant emissions reduction
                                                 to other post-combustion controls. The                  program for EGUs. Approximately 1,000                  potential, with removal efficiencies of
                                                 time for engineering review, contract                   tons of emissions reduction potential                  up to 90 percent. The EPA limited its
                                                 award, fabrication, delivery, and                       are estimated for the small coal EGUs                  consideration of SCR technology to
                                                                                                         deemed eligible for SNCR retrofit. The                 steam units greater than or equal to 100
                                                   208 See EGU NO Mitigation Strategies Final Rule
                                                                  X
                                                                                                         incentives provided through the                        MW. The costs for retrofitting a plant
                                                 TSD for additional discussion.                          implementation of this rule’s trading                  smaller than 100 MW with SCR increase


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                                                 rapidly due to a lack of economies of                   assumed SCR retrofit potential occurs at                   global firm providing engineering,
                                                 scale.209                                               plants with multiple units identified                      construction management, and
                                                    The amount of time needed to retrofit                with retrofit potential, and given the                     consulting services for power and
                                                 an EGU with new SCR extends beyond                      total volume of SCR retrofit capacity                      energy with expertise in grid
                                                 the 2023 ozone season. Similar to the                   being implemented across the region,                       modernization, renewable energy,
                                                 SNCR retrofits discussed in this section,               EPA is allowing in this final rule                         energy storage, nuclear power, and
                                                 the EPA evaluated potential emissions                   between 36 to 48 months, consistent                        fossil fuels. Their familiarity with state-
                                                 reductions and associated costs from                    with the regional time frame discussed                     of-the art pollution controls at power
                                                 this control technology, as well as the                 for SCR retrofit in prior rules, for the                   plants derives from experience
                                                 impacts and need for this emissions                     full implementation of reductions                          providing comprehensive project
                                                 control strategy, at the earliest point in              commensurate with this volume of SCR                       services—from consulting, design, and
                                                 time when their installation could be                   retrofit capacity, as described further in                 implementation to construction
                                                 achieved. EPA notes that it has                         section VI.A of this document.                             management, commissioning, and
                                                 previously determined in the context of                    The Agency examined the cost for                        operations/maintenance. This review
                                                 ozone transport that regional scale                     retrofitting a coal unit with new SCR                      and update supported the 0.05 lb/
                                                 implementation of SCRs at numerous                      technology, which typically attains                        mmBtu performance assumption as a
                                                 EGUs is achievable in 36 months. See 63                 controlled NOX rates of 0.05 lb/mmBtu                      representative emissions rate for new
                                                 FR 57356, 57447–50 (October. 27, 1998).                 or less. These updates are further                         SCR across coal types.
                                                 However, since that time, the EPA has                   discussed in the EGU NOX Mitigation                           The EPA performed an assessment for
                                                 found up to 36–48 months to be a more                   Strategies Final Rule TSD.211 Based on                     oil/gas steam units in which it evaluated
                                                 appropriate installation timeframe for                  the characteristics of coal units of 100                   the nationwide performance of those
                                                 regionwide actions when the EPA is                      MW or greater capacity that do not have                    units with SCR technology. For these
                                                 evaluating multiple installations at                    post-combustion                                            units, the EPA tabulated EGU NOX
                                                 multiple locations.210                                     NOX control technology, the EPA                         ozone season emissions data from 2009
                                                    In the past, the EPA has found the                   estimated a weighted-average                               through 2021 and calculated an average
                                                 amount of time to retrofit a single EGU                 representative SCR cost of $11,000 per                     NOX ozone season emissions rate across
                                                 with new SCR, depending on the                          ton.212                                                    the fleet of oil- and gas-fired EGUs with
                                                 regulatory program under which such                        The 0.05 lb/mmBtu emissions rate                        SCR for each of these years. The EPA
                                                 control may be required, may vary                       performance assumption for new SCR                         identified the third lowest year which
                                                 between approximately 2 and 4 years                     retrofits is supported by historical data                  yielded an SCR performance rate of 0.03
                                                 depending on site-specific engineering                  and third party independent review by                      lb/mmBtu as representative of
                                                 considerations and on the number of                     pollution control engineering and                          performance for this retrofit technology
                                                 installations being considered. This                    consulting firms. The EPA first                            applied to this type of EGU. Next, the
                                                 includes steps for engineering review,                  examined unit-level emissions rate data
                                                                                                                                                                    EPA evaluated the emissions and
                                                 construction permit, operating permit,                  for coal-fired units that had a relatively
                                                                                                                                                                    operational characteristics for the
                                                 and control technology installation                     recent SCR installation (within the last
                                                                                                                                                                    existing oil/gas steam fleet lacking SCR
                                                 (including fabrication, pre hookup,                     10 years). The best performing 10
                                                                                                                                                                    technology. EPA’s analysis indicated
                                                 control hookup, and testing). EPA’s                     percent of these SCRs were
                                                                                                                                                                    that the majority of reduction potential
                                                 assessment of installation procedures                   demonstrating seasonal emissions rates
                                                                                                                                                                    (approximately 76 percent) from these
                                                 suggests as little as 21 months may be                  of 0.036 lb/mmBtu during this time.
                                                                                                            While the EPA identified the 0.05 lb/                   units occurred at units greater than or
                                                 needed for a single SCR at an individual
                                                                                                         mmBtu performance assumption                               equal to 100 MW and that were emitting
                                                 plant and 36 months at a single plant
                                                                                                         consistent with historical data, these                     more than 150 tons per ozone season
                                                 with multiple boilers. EPA’s assessment
                                                                                                         performance levels are also informed                       (i.e., approximately 1 ton per day).
                                                 of units with SCR retrofit potential
                                                                                                         and consistent with the Agency’s IPM                       Moreover, the cost of reductions for
                                                 indicate the majority fall into this first
                                                                                                         modeling assumptions used for more                         units falling below these criteria
                                                 classification, i.e., a single SCR at a
                                                                                                         than a decade. These modeling                              increased significantly on a dollar per
                                                 power plant.
                                                    While EPA finds that 36 months is a                  assumptions are based on input from                        ton basis. Therefore, the EPA identified
                                                 possible time frame for SCR installation                leading engineering and pollution                          the portion of the oil/gas steam fleet
                                                 at individual units or plants, the total of             control consulting entities. Most                          meeting these criteria (i.e., greater than
                                                 nearly 31 GW of coal capacity with SCR                  recently, these data assumptions were                      or equal to 100 MW and emitting more
                                                 retrofit potential and 19 GW of oil/gas                 affirmed and updated in the summer of                      than 150 tons per ozone season) as
                                                 steam capacity with SCR retrofit                        2021 and included in the docket for this                   representative of the SCR retrofit
                                                 potential within the geographic                         rulemaking.213 The EPA relies on a                         reduction potential.214 For this segment
                                                 footprint of the final rule is a scale of                                                                          of the oil/gas steam units lacking post-
                                                 retrofit activity that is not demonstrated                 211 As noted in that TSD, approximately half of         combustion NOX control technology, the
                                                 to have been achieved within a three-                   the recent SCR retrofits (i.e., installed in the last 10   EPA estimated a weighted-average
                                                 year span based on data from the past                   years) have demonstrated an emission rate across           representative SCR cost of $7,700 per
                                                                                                         the ozone season below 0.05 lb/mmBtu, even absent          ton.
                                                 two decades. Given that some of the                     a requirement or strong incentive to operate at that
                                                                                                         level in many cases.                                          Comment: Some commenters
                                                   209 IPM Model-Updates to Cost and Performance            212 This cost estimate is representative of coal        disagreed with EPA’s proposed 36-
                                                 for APC Technologies. SCR Cost Development              units lacking any post-combustion control. A subset        month timeframe for SCR retrofit. These
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                                                 Methodology for Coal-fired Boilers. February 2022.      of units within the universe of coal sources with          commenters noted that, while possible
                                                   210 See, e.g., CSAPR Close-Out, 83 FR 65878,          SCR retrofit potential, but that have an existing
                                                                                                         SNCR technology in place would have a weighted
                                                                                                                                                                    at the unit or plant level, the collective
                                                 65895 (December 21, 2018) and Revised CSAPR
                                                 Update, 86 FR 23102 (April 30, 2021). See also          average cost that falls above this level, but still cost   volume of SCR installation occurring in
                                                 Final Report: Engineering and Economic Factors          effective. See the EGU NOX Mitigation Strategies
                                                 Affecting the Installation of Control Technologies      Final Rule TSD for more discussion.                          214 The EPA used a 3-year average of 2019–2021

                                                 for Multipollutant Strategies, EPA–600/R–02/073            213 See ‘‘IPM Model—Updates to Cost and                 reported ozone season emissions to derive a tons
                                                 (Oct. 2002), available at https://nepis.epa.gov/        Performance for APC Technologies: SCR Cost                 per ozone season value representative for each
                                                 Adobe/PDF/P1001G0O.pdf.                                 Development Methodology for Coal-fired Boilers’’.          covered oil/gas steam unit.



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                                                 a limited region of the country would                   many cases, as suggested by the                         outlier cases of project timing that
                                                 not be possible given the labor                         Regulatory Impact Analysis (RIA), will                  would not be representative of the
                                                 constraints, supply constraints, and                    find alternative, and more economic                     conditions expected at future retrofit
                                                 simultaneous outages necessary to                       means, of reducing emissions—                           projects.216
                                                 complete SCR retrofit projects on such                  including reduced generation and                           Comment: Some stakeholders
                                                 a schedule. They noted that achieving                   retirements that are already planned                    suggested that EPA’s cost estimates of
                                                 such a timeframe against a backdrop of                  based on the age of the unit,                           $11,000 per ton are premised on a 15-
                                                 such challenging circumstances is                       decarbonization goals, or compliance                    year book life of the equipment and are
                                                 unprecedented and that EPA’s                            with other Federal/state/local regulation               therefore too optimistic for units that
                                                 assumptions ignore that many of the                     compliance dates. Moreover, the                         plan to retire in well under 15 years.
                                                 remaining unretrofitted coal units                      additional new generation incentives                       Response: EPA analysis of SCR
                                                 reflect more site-specific challenges                   provided by the Inflation Reduction Act                 retrofit cost reflects a representative
                                                 than those that were already retrofitted                (enacted after the proposed rule) will                  value for the technology based on a
                                                 on a quicker timeframe.                                 further increase the pace of new                        weighted average cost. The underlying
                                                    Response: EPA reviewed the                           generation replacing some of the older                  data and the discussion in the EGU NOX
                                                 comments and is making several                          generating capacity identified as having                Mitigation Strategies Final TSD
                                                 changes in this final rule to address                   retrofit potential.215 In short, although               illustrates that these costs can vary
                                                 some of the concerns identified by the                  EPA identified the total SCR retrofit                   significantly at the unit level based on
                                                 commenters. In particular, EPA found                    capacity potential for today’s existing                 factors such as the length of time a
                                                 that its own review of historical retrofit              fleet and does not premise any                          pollution control technology would be
                                                 patterns as well as technical information               reduction requirements of incremental                   in operation, the capacity factor of the
                                                 submitted by commenters supported                       retirements, the announced and planned                  unit (i.e., how much does it operate), its
                                                 commenters’ concerns regarding: (1)                     futures for these units indicates that                  size or potential to emit, and its baseline
                                                 current and anticipated constraints in                  many will likely retire instead of                      emissions rate. The EPA has not in prior
                                                 labor and supply markets, (2) the                       installing SCR. For the capacity                        transport rulemakings used such factors
                                                 potential collective capacity levels of                 identified at Step 3 which lacks SCR,                   as justification to excuse any source that
                                                 SCR retrofit within 36 months, and (3)                  the planned or projected retirement in                  is significantly contributing to
                                                 possible site-specific complexities at the              place of a retrofit moots the SCR timing                nonattainment or interfering with
                                                 remaining units without an existing                     for these units. Moreover, it also reduces              maintenance in another state from
                                                 SCR. To address these concerns, EPA is                  the demand for associated labor and                     eliminating that significant contribution
                                                 phasing in its SCR installation                         materials which, in turn, frees up                      as expeditiously as practicable. Unlike
                                                 requirement over a 48-month time frame                  resources for any units proceeding with                 under other statutory provisions that
                                                 in this final rule, instead of a 36-month               a SCR retrofit. Therefore, comments                     may require retrofit of emissions
                                                 time frame as proposed (see additional                  which cite labor and supply chain                       controls on existing sources, such as
                                                 detail and discussion in section VI.A.2.a               challenges for accommodating the entire                 under CAA section 111(d) or CAA
                                                 and the EGU NOX Mitigation Strategies                   fleet capacity identified as having SCR                 section 169A, there is no remaining
                                                 Final Rule TSD). EPA will require half                  retrofit potential significantly overstate              useful life factor expressly identified as
                                                 of the reductions associated with SCR                   the supply-side challenge—as it ignores                 a justification to relax the requirements
                                                 installation in 2026 and the other half                 the fact that much of this capacity has                 of CAA section 110(a)(2)(D)(i)(I). EPA
                                                 in 2027. Additionally, EPA is moving                    explicit or expected operation plans that               continues to believe that where an
                                                 the daily backstop rate for these units                 will result in compliance without a                     emissions control strategy has been
                                                 with identified SCR reduction potential                 retrofit.                                               identified at Step 3 that is cost-effective
                                                 from 2027 to no later than 2030, which                     Even for sources choosing a SCR                      on a regional scale and provides
                                                 defers the increased allowance                          retrofit compliance pathway, many of                    meaningful downwind air quality
                                                 surrender ratio for emissions above the                 these comments ignore the timing                        improvement, and is thus appropriately
                                                 backstop rate at any outlier units unable               flexibilities of the trading program,                   identified as necessary to eliminate
                                                 to complete the retrofit during that time               which (particularly with the changes to                 significant contribution under the good
                                                 frame. These adjustments continue to                    the backstop daily emissions rate in this               neighbor provision, it would not be
                                                 incentivize reductions in NOX                           final rule) allow sources to temporarily                appropriate to allow emissions to
                                                 emissions by the attainment date that                   comply through means other than SCR                     continue in excess of those achievable
                                                 are consistent with cost-effective SCR                  retrofit if they experience any site-                   emissions reductions beyond the
                                                 controls, but provide more flexibility                  specific retrofit limitations that increase             timeframe for expeditious
                                                 (both from timing and technology                        their time frame. Also, historical                      implementation of reductions as
                                                 perspective) in how they are procured.                  examples of SCR retrofit projects that                  provided under the larger title I
                                                    Some commenters requested more                       exceeded 48 months in duration do not                   structure of the Act for attaining and
                                                 than 48 months to install SCR controls                  necessarily demonstrate that such                       maintaining the NAAQS. The court in
                                                 based on the collective total volume of                 projects are impossible in less than 48
                                                 SCR retrofit volume identified and past                                                                         Wisconsin recognized that where such
                                                                                                         months, but rather that they can extend                 emissions have been identified, they
                                                 projects that took five or more years.                  beyond the timeframe if no
                                                 EPA disagrees with these comments and                                                                           should be eliminated as expeditiously
                                                                                                         requirements or incentives are in place                 as practicable, and in line with the
                                                 finds that they ignored key aspects of                  for a faster installation. Some also cite
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                                                 the proposed rule. First, the final rule                site-specific conditions that resulted an                 216 Commenters, for example, cited the timing of
                                                 does not directly require                                                                                       SCR installation at Sammis 6 and 7. Here, the SCR
                                                 implementation of SCR; rather, it                         215 See ‘‘Regulatory Impact Analysis for 2015         design and material delivery schedule were tailored
                                                 requires reductions commensurate with                   Good Neighbor Plan, Appendix 4A: Inflation              to meet unique site conditions that were unlike
                                                 SCR installations based on a rigorous                   Reduction Act EGU Sensitivity Run Results.’’ EPA        many other SCR systems where large modules can
                                                                                                         estimated the compliance costs and emissions            be used to maximize shop and ground assembly
                                                 assessment of SCR retrofit potential.                   changes of the final rule in the presence of the IRA,   techniques. Additional information is available at
                                                 Implementing the reductions through a                   but given time and resource constraints, did not        https://www.babcock.com/home/about/resources/
                                                 trading program means that sources in                   quantify benefits for this sensitivity.                 success-stories/sammis-plant.



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                                                 attainment schedule for downwind                          such units would likely be lower,                      Mitigation Strategies Final Rule TSD,
                                                 areas, which, for the 2015 ozone                          holding all other parameters equal, on a               we find that the cost per ton associated
                                                 NAAQS, is provided in CAA section                         dollar per ton basis by virtue of the                  with SCR retrofit technology does not
                                                 181. 938 F.3d at 313–20.                                  length of time the pollution control                   begin to increase significantly above the
                                                    Further, EPA observes that more than                   equipment may be in operation. Nor                     $11,000/ton benchmark unless units
                                                 one-third of the identified SCR retrofit                  does EPA agree that units that would                   have dramatically lower operating
                                                 potential (in terms of generating                         retire in less than 15 years should                    capacity or retire in less than 5 years’
                                                 capacity) has no planned retirement                       automatically be considered to face an                 time—as illustrated in Figure 1 to
                                                 date within 15 years, and therefore the                   unreasonably higher cost burden. Based                 section V.B.1.e of this document.
                                                 cost of pollution control technology on                   on data analyzed in the EGU NOX




                                                   Finally, EPA’s identification of this                   there were no less costly means                        cost for this technology to be
                                                 mitigation strategy is not meant to be                    provided to them to achieve the same                   appropriate and reasonable for purposes
                                                 limited only to units that experience a                   level of emissions reduction (which the                of analysis under CAA section
                                                 retrofit cost that is less than the                       trading program allows for)—that would                 110(a)(2)(D)(i)(I) and maintains this cost
                                                 representative cost threshold. First, that                not necessarily obviate EPA’s basis for                estimate in the final rule.
                                                 threshold represents an average,                          finding that an emissions-reduction                      However, in recognition of the unique
                                                 meaning that EPA’s analysis already                       requirement commensurate with this                     circumstances related to the transition
                                                 recognizes that some units on a facility-                 standard pollution control practice for                of the power sector away from coal-fired
                                                 specific basis may face costs higher than                 this unit type is warranted. The                       and other high-NOX emitting fuels and
                                                 that threshold. Further, EPA identifies                   implementation of emissions reductions
                                                 this technology as widely available,                                                                             generating technologies, which is
                                                                                                           through a trading program, and its                     anticipated to accelerate in the late
                                                 implemented in practice already at
                                                                                                           corresponding compliance flexibilities,                2020s and into the 2030s, EPA has
                                                 many existing EGUs, and now standard
                                                                                                           make the use of a single representative                adjusted the final rule to avoid imposing
                                                 for any coal-fired unit coming online in
                                                                                                           cost all the more appropriate in this                  a capital-intensive control technology
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                                                 the past 25 years. More than 66 percent
                                                 of the current large coal fleet already has               assessment. Therefore, upon reviewing                  retrofit obligation which could have
                                                 such controls in place. Even if the cost                  all of the data including the information              overall net-negative environmental
                                                 were higher for some units for the                        supplied by commenters, and even                       consequences (e.g., by extending the life
                                                 reasons provided by commenters—and                        accounting for certain units’ announced                of a higher-emitting EGU or
                                                                                                           plans to retire earlier than an assumed                necessitating the allocation of material
                                                   217 ‘‘Debt Life’’ refers to the term length, or         15-year book life for SCR retrofit                     and personnel that could be used for
                                                                                                           technology, EPA finds its representative               more advanced clean-technology
                                                                                                                                                                                                               ER05JN23.001</GPH>




                                                 duration, for a loan used to finance the retrofit.



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                                                 innovations). For units that plan to                    often willing to guarantee 0.05 lb/                    appropriate and underpinned by
                                                 retire by 2030, the final rule—by                       mmBtu seasonal performance for new                     operating assumptions reflective of the
                                                 extending the daily backstop rate to                    SCR retrofit projects. Current SCR                     fleet averages, it nevertheless examined
                                                 2030—allows these units to continue to                  catalyst suppliers provide NOX                         how cost would vary based on some of
                                                 operate, so long as they comply with the                emissions warranties based at the                      the variables highlighted by commenter.
                                                 mass-based emissions trading program                    catalyst’s end-of-life period, often after             The EPA derived its capacity factor
                                                 requirements.218 Therefore, a unit                      16,000 to 24,000 hours of operations,                  assumption based on expected future
                                                 experiencing a higher dollar per ton                    with newer catalyst achieving similar or               operations of this fleet segment that are
                                                 retrofit cost due to retirement plans has               better NOX removal rates. Standard                     inclusive of units operating at a range of
                                                 the flexibility to install less capital                 commercial terms, made by the                          capacity factors. It also examined how
                                                 intensive controls such as SNCR,                        purchaser to the SCR Retrofit supplier,                cost would change assuming different
                                                 procure less costly allowances through                  can specify a system capable of meeting                coal rank, assuming different book life,
                                                 either banking or purchase, or they may                 the proposed NOX emissions rate and                    and different reagent cost. These
                                                 also reduce their allowance holding                     define the catalyst operational life                   analyses are discussed and shown in
                                                 requirement through reduced utilization                 before replacement. Thus, achieving the                Appendix B of the EGU NOX
                                                 consistent with their phasing out                       proposed reduction rates is                            Mitigations Strategies Final Rule TSD
                                                 towards a planned retirement date. This                 accomplished through the buyer                         and demonstrate that even under
                                                 flexibility that EPA has included in the                specifying the SCR retrofit requirements               different operating assumptions, the
                                                 final rule is discussed in further detail               and the supplier providing an optimized                variation in cost does not reach a point
                                                 in section VI.B of this document.                       system design and installing sufficient                that would reverse EPA’s finding
                                                    Comment: Some commenters                             catalyst for the targeted end-of-life NOX              regarding the appropriateness of this
                                                 suggested that the 0.05 lb/mmBtu                        emissions rate. The agency is confident                technology as part of this final rule’s
                                                 emissions rate assumed for new SCRs at                  that SCR retrofit suppliers will be able               control stringency. Moreover, as
                                                 large coal units is not achievable at all               to warrant their offerings for the                     discussed in section V.D of this
                                                 coal units with retrofit potential and                  emissions rates proposed in the                        document, EPA identifies appropriate
                                                 that EPA should raise this performance                  regulation and to provide sufficient                   mitigation strategies based on multiple
                                                 assumption to a value of 0.08 lb/mmBtu                  operating life for the affected sector.                factors—not solely on cost, and there is
                                                 consistent with that assumption for                        Comment: Some commenters suggest                    no indication that an individual unit’s
                                                 existing SCRs.                                          that the evaluation of pollution control               higher retrofit cost would obviate the
                                                    Response: First, EPA believes the                    installation cost at Step 3 should be                  appropriateness of retrofitting this
                                                 commenter misunderstands its intention                  segmented depending on unit                            standard and best practice technology at
                                                 with the 0.05 lb/mmBtu SCR rate                         characteristics, and by failing to do so               the unit. Finally, in prior rules and in
                                                 assumption. This is meant to reflect a                  understate the cost of retrofitting SCR                the proposal, EPA recognized that some
                                                 representative assumption for emissions                 controls. In particular, these                         units will have higher cost and some
                                                 rate performance for new SCR installed                  commenters note that units with lower                  will have lower cost relative the
                                                 on the currently unretrofitted coal                     capacity factors, different coal ranks,                fleetwide representative value provided.
                                                 fleet—in this respect, it represents an                 with pre-existing controls—such as                     Implementing the region and state
                                                 average, not a maximum. EPA                             SNCR—face substantially higher dollar                  reduction requirements through a mass-
                                                 recognizes that some units will likely                  per ton reduced costs than those that do               based trading program provides a means
                                                 perform better (i.e., lower) than this rate             not have such controls in place and                    of alternative lower cost compliance for
                                                 and some will potentially perform                       should not be identified as a cost-                    those sources particularly concerned
                                                 worse (i.e., higher) than this rate—but                 effective mitigation strategy.                         about the higher retrofit cost at their
                                                 that 0.05 lb/mmBtu is a reasonable                         Response: Consistent with prior                     unit.
                                                 representation of new SCR retrofit                      CSAPR rulemakings, at Step 3 EPA                          Comment: Some commenters
                                                 potential on a fleet-wide basis and for                 evaluates a mitigation technology and                  suggested that EPA’s proposed
                                                 identifying expected state and regional                 its representative cost and performance                representative cost for SCR pollution
                                                 emissions reduction potential from this                 for the fleet on average. This                         control is likely too high and overstates
                                                 technology. It would be inappropriate                   representative cost is inclusive and                   the true cost of such control. They also
                                                 for EPA to use the worst performing tier                robust to the portion of the fleet that                noted it aligns with agency precedent.
                                                 of new SCR retrofit for this                            may face higher dollar per ton cost. Both              These commenters claim that EPA’s cost
                                                 representative value. Moreover, EPA’s                   the ‘‘Technical Support Document                       recovery factor is higher than necessary
                                                 review of historical environmental                      (TSD) for the Proposed Federal                         (thus inflating the cost) as it reflects a
                                                 performance for recently installed SCRs                 Implementation Plan Addressing                         weighting of utility-owned to merchant-
                                                 does not support any indication that                    Regional Ozone Transport for the 2015                  owned plants that is representative of
                                                 0.05 is not representative of the retrofit              Ozone National Ambient Air Quality                     the fleet, but not the unretrofitted fleet
                                                 potential for the fleet. EPA found that                 Standard, Docket ID No. EPA–HQ–                        with this retrofit potential identified in
                                                 three quarters of the SCR retrofit                      OAR–2021–0668, EGU NOX Mitigation                      this rule. They also noted that EPA’s
                                                 projects completed in the last 15 years                 Strategies Proposed Rule TSD’’ (Feb.                   assumed interest rate informing the cost
                                                 have achieved a rate of 0.05 lb/mmBtu                   2022), hereinafter referred to as the EGU              estimate was higher than the prime rate
                                                 or better on a monthly or seasonal basis.               NOX Mitigation Strategies Proposed                     in June of 2022.
                                                 Moreover, its review of the engineering                 Rule TSD, and the EGU NOX Mitigation                      Response: EPA agrees that its
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                                                 literature and consultation with third                  Strategies Final TSD discuss the SCR                   approach for identifying representative
                                                 party pollution control engineering                     retrofit cost specific to the segment of               cost thresholds is aligned with prior
                                                 consultancies suggests that vendors are                 the fleet that has a SNCR in place and                 rules and agrees that its approach is
                                                                                                         notes that those unit-level higher retrofit            reasonable. As the commenter points
                                                   218 In the RIA, EPA has modeled the mass-based
                                                                                                         cost estimates are factored into its                   out, prime rates and cost recovery
                                                 budgets that are premised on retrofit of SCR
                                                 technology with the option of complying through
                                                                                                         determination of the fleet-wide                        factors may indeed be lower in recent
                                                 other strategies, and finds that they are readily       representative number. Although EPA                    data than those assumed by EPA for
                                                 achievable through those other strategies.              believes its representative cost are                   future years. However, given the


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                                                 volatility among these metrics, EPA                     install, optimize, and operate controls                authority under CAA section
                                                 believes its choices are appropriate to                 identified in the Agency’s                             110(a)(2)(D)(i)(I) to consider and require
                                                 build cost estimates that are robust to                 determinations regarding the requisite                 emissions reductions from generation
                                                 future uncertainty, and if these cost                   level of emissions control at Step 3. See,             shifting if the EPA were to find that
                                                 input factors do materialize to be the                  e.g., 81 FR 74544–45; 76 FR 48280.                     strategy was necessary to eliminate
                                                 lower values highlighted by commenter,                     As in these prior rules, at proposal,               significant contribution. However, based
                                                 then it will result in a lower cost                     the EPA did not identify generation                    on circumstances currently facing
                                                 assumed in this final rule, but would                   shifting as a primary mitigation strategy              affected EGUs, as well as the inherent
                                                 not otherwise alter any of the stringency               and stringency measure on its own, but                 strength of the dynamic budget
                                                 identification or regulatory findings put               included emissions reductions from this                methodology to automatically reflect the
                                                 forward in this final rule. EPA                         strategy as it would be projected to                   market-determined balance of
                                                 performed a cost sensitivity analysis in                occur in response to the selected                      generation across sources responding to
                                                 Appendix B of the EGU NOX Mitigation                    emissions control stringency levels (and               this rule, the EPA is not specifying
                                                 Strategies Final Rule TSD which shows                   corresponding allowance price signals                  emissions reduction potential from
                                                 how cost for this technology would vary                 in step 4 implementation). For this                    generation shifting as a part of the Step
                                                 based on different assumed levels for                   rule’s proposal, the EPA only specified                3 analysis, nor to require any emissions
                                                 this variable. This analysis shows that                 emissions reductions from generation                   reductions from generation shifting in
                                                 under lower interest rates such as those                shifting in its preset budget calculations             preset budgets formulated under Step 4
                                                 put forward by commenter, that                          for 2023 and 2024. Because this rule’s                 for any control period, for this final rule.
                                                 technology cost would drop by                           dynamic budget methodology applies                        Currently observable market
                                                 approximately 15 percent relative to the                the selected control stringency’s                      conditions (e.g., fuel prices) present
                                                 representative values put forward in this               emissions rates to the most recently                   unusual uncertainty with respect to key
                                                 rule.                                                   reported heat input at each affected                   economic drivers of generation shifting.
                                                                                                         EGU, dynamic budgeting effectively                     The availability of emissions reductions
                                                 f. Generation Shifting                                  serves a similar purpose to our ex ante                through generation shifting, and the
                                                    At proposal, EPA considered                          quantification of emissions reduction                  magnitude of those emissions, is
                                                 intrastate emissions reduction potential                potential from generation shifting for                 dependent on the availability and cost
                                                 from generation shifting across the                     preset budgets in prior transport rules,               of substitute generation. The primary
                                                 representative dollar per ton levels                    i.e., to adequately and continuously                   driver of near-term generation shifting-
                                                 estimated for the emissions controls                    incentivize the implementation of the                  based emissions reductions has been
                                                 considered in previous sections. As the                 emissions control strategies selected at               shifting to lower-emitting natural gas
                                                 cost of emitting NOX increases, it                      Step 3. Therefore, dynamic budgets                     generation. Recent volatility and high
                                                 becomes increasingly cost-effective for                 under this rule’s program moot the need                prices in the natural gas market have
                                                 units with lower NOX rates to increase                  to specify discrete emissions reduction                increased the uncertainty and reduced
                                                 generation, while units with higher NOX                 potential from generation shifting for                 the potential of this emissions control
                                                 rates reduce generation. Because the                    those control periods, as they                         strategy at any given cost threshold in
                                                 cost of generation is unit-specific, this               automatically reflect whatever                         the near term. For example, Henry Hub
                                                 generation shifting occurs incrementally                generation balance affected EGUs would                 natural gas prices went from under
                                                 on a continuum. Consequently, there is                  determine in the marketplace inclusive                 $3.00/mmBtu during most of the last
                                                 more generation shifting at higher cost                 of their response to the emissions                     decade to an average of nearly $8.00/
                                                 NOX-control levels.                                     performance levels imposed by this                     mmBtu for the most recent (2022) ozone
                                                    The EPA recognizes that imposing a                   rule.                                                  season before declining sharply at the
                                                 NOX-control requirement on affected                        Comment: Commenters offered both                    start of 2023. The current volatility in
                                                 EGUs, like any environmental                            support for and opposition against the                 natural gas prices reduces the
                                                 regulation, internalizes the cost of their              inclusion of generation shifting at Step               availability of emissions reductions
                                                 pollution, which could result in                        3 analysis for EGUs. Those in support                  from generation shifting and make its
                                                 generation shifting away from those                     noted that inclusion of emissions                      identification and quantification too
                                                 sources toward other generators offering                reductions from generation-shifting is                 uncertain for incorporation into Step 3
                                                 electricity at a lower pollution cost. If,              integral to the successful                             emissions reduction estimates for this
                                                 in the context of a market-based                        implementation of the pollution control                rulemaking.
                                                 allowance trading program form of                       measures identified in the selected                       The Step 4 dynamic budget-setting
                                                 implementation, the EPA imposes a                       control stringency at Step 3. Those                    process of this rule obviates the need to
                                                 preset emissions budget that is premised                opposed generally argued the EPA was                   specify and require discrete emissions
                                                 only on assumed installation,                           overestimating reduction potential from                reductions from generation shifting
                                                 optimization, and continued operation                   generation shifting in light of recent                 under Step 3. As discussed in section VI
                                                 of unit-specific pollution control                      volatility and high prices in the markets              of this document, the EPA in this final
                                                 technologies, with no accounting for the                for lower emitting fuels such as natural               rule will implement a budget-setting
                                                 likely generation shift in the                          gas. Commenters also noted the                         approach that relies on two
                                                 marketplace away from these higher-                     electrical grid in certain regions has                 components: first, we have calculated
                                                 polluting sources, that preset emissions                constraints that would make generation                 ‘‘preset’’ budgets that reflect the best
                                                 budget will contain more tons than                      shifting more difficult than the EPA                   information currently available about
                                                 would be emitted if the affected EGUs
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                                                                                                         assumed. Commenters also asserted that                 fleet change over the period 2023
                                                 achieved the emissions performance                      the EPA did not have the legal authority               through 2029. Second, beginning in
                                                 level (on a rate basis) selected at step 3.             to require generation shifting.                        2026, dynamic state emissions budgets
                                                 Hence, EPA has previously quantified                       Response: The EPA disagrees with                    will be calculated that will reflect the
                                                 and required expected emissions                         these comments regarding our legal                     balance of generation across sources
                                                 reductions from generation shifting in                  authority but notes this issue is not                  reported to EPA by EGU operators.
                                                 prior transport rules to avoid                          relevant for purposes of this final action.            Between 2026 and 2029, the actual
                                                 undermining the program’s incentive to                  The EPA continues to believe it has                    budget that will be implemented will


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                                                 reflect the greater of either the preset                Infrastructure Investment and Jobs Act                 year on average for the 2019–2021 ozone
                                                 budget or the dynamic budget                            and the Inflation Reduction Act) driving               seasons and lacking combustion
                                                 calculation; from 2030 onwards, the                     the current transformation of the power                controls or more advanced controls
                                                 budgets will be set only through the                    sector. By refraining in this rule from                (totaling approximately 1,000 tons of
                                                 dynamic budget calculation. This                        specifying discrete emissions reductions               ozone season NOX emissions in 2021).
                                                 overall approach is well suited for a                   from generation shifting in preset                     EPA analysis estimates a representative
                                                 period of significant power sector                      budgets and instead relying on a                       cost of $22,000 per ton for dry low NOX
                                                 transition driven by a variety of                       dynamic budgeting approach to reflect                  burners or ultra-low NOX burners at
                                                 economic, policy, and regulatory forces                 market-driven generation patterns, EPA                 these simple cycle combustion turbines,
                                                 and allows for the balance of generation                ensures that its budgets remain                        and over $100,000 per ton for SCR
                                                 in this period to adjust in response to                 sufficiently stringent over the long term              retrofit at some combustion turbines.
                                                 these forces while nonetheless ensuring                 to continually incentivize the emissions               Therefore, EPA does not identify any
                                                 that the budgets will continuously                      control stringency it determined to be                 such uniform mitigation measure at
                                                 incentivize the emissions control                       cost-effective and therefore appropriate               Step 3 when estimating reduction
                                                 stringency identified at Step 3. See                    to eliminate significant contribution at               potential.
                                                 section VI.B.4 of this document for                     Step 3. Thus, dynamic budgeting                           Nonetheless, the EPA recognizes that
                                                 further discussion on the interaction of                addresses the same concern that                        these simple cycle combustion turbines
                                                 preset and dynamic budgets during the                   animated our use of generation shifting                may have cost-effective emissions-
                                                 2026–2029 time period. With these                       in the CSAPR rulemakings, but in doing                 reduction opportunities. These units are
                                                 approaches, and on the present record                   so uses a market-following approach                    included in the emissions trading
                                                 before the Agency, we conclude that the                 that will accommodate, over the long                   program and therefore, as in prior
                                                 estimation and incorporation of                         term, unforeseen drops or increases in                 transport rules, the program continues
                                                 specified emissions reductions from                     heat input levels.                                     to subject them to an allowance holding
                                                 generation shifting at Step 3 is not                                                                           requirement under this rule which will
                                                                                                         g. Other EGU Mitigation Measures                       likely incentivize any available cost-
                                                 necessary to eliminate significant
                                                 contribution from EGUs for the 2015                        The EPA requested comment on                        effective NOX reductions from these
                                                 ozone NAAQS through this rule’s                         whether other EGU ozone-season NOX                     EGUs. For instance, emissions rates
                                                 program implementation.                                 Mitigation technologies should be                      from these units in New York were
                                                    In previous CSAPR rulemakings, the                   required to eliminate significant                      considerably lower in 2022, when they
                                                 EPA included generation shifting in the                 contribution. For instance, the EGU                    faced a high allowance price, versus
                                                 budget setting process to capture those                 NOX Mitigation Strategies Proposed and                 2021, when the allowance price was
                                                 reductions that would occur through                     Final Rule TSDs discussed certain                      much lower. Therefore, we find that the
                                                 shifting generation as an economic                      mitigation technologies that have been                 appropriate treatment of these units in
                                                 response to the control stringency                      applied to ‘‘peaking’’ units (small, low-              this final rule is to continue to include
                                                 determined based on the selected NOX                    capacity factor gas combustion turbines                them in the emissions trading program
                                                 control strategies. See, e.g., 81 FR                    often only operating during periods of                 to incentivize cost-effective emissions
                                                 74544–45. ‘‘Because we have identified                  peak demand).                                          reductions, but EPA does not find the
                                                 discrete cost thresholds resulting from                    Comment: Some commenters                            magnitude or consistency of cost-
                                                 the full implementation of particular                   emphasized that simple cycle                           effective mitigation potential to
                                                 types of emissions controls, it is                      combustion turbines play a significant                 establish a specific increment of
                                                 reasonable to simultaneously quantify                   role in downwind contribution, and                     emissions reduction through a specific
                                                 the reduction potential from generation                 they highlight that states such as New                 Step 3 emissions control determination.
                                                 shifting strategy at each cost level.                   York have imposed emissions limits on                  Moreover, while EPA’s program will
                                                 Including these reductions is important,                these sources acknowledging their                      incentivize any available cost-effective
                                                 ensuring that other cost-effective                      impact on downwind nonattainment.                      reductions within this cadre of units
                                                 reductions (e.g., fully operating                       These commenters suggest that EPA                      (and such behavior is captured in its
                                                 controls) can be expected to occur.’’                   pursue and expedite the                                final program evaluation and modeling
                                                 EGU NOX Mitigation Strategies Final                     implementation of these or similar                     the RIA), it does not obviate the need for
                                                 Rule TSD (EPA–HQ–OAR–2015–0500–                         mitigation measures.                                   the other EGU cost-effective reductions
                                                 0554), at 11–12.                                           Response: As explained in greater                   elsewhere as suggested by some
                                                    Commenters on this rule and prior                    detail in the EGU NOX Mitigation                       commenters.
                                                 transport rules have observed that using                Strategies Final TSD, both the
                                                 preset budgets to factor in generation                  configuration and operation of this                    2. Non-EGU or Stationary Industrial
                                                 shifting is flawed in that it results in                segment of the EGU fleet reflects                      Source NOX Mitigation Strategies
                                                 EPA incorporating specific quantities of                significant variability among units and                   In the early stages of preparing the
                                                 emissions reductions from discrete                      across time. In other words, one unit                  proposed FIP, the EPA evaluated air
                                                 levels of generation shifting that are                  may have a capacity factor in a given                  quality modeling information, annual
                                                 projected to occur but may in fact                      year that is one hundred times greater                 emissions, and information about
                                                 ultimately transpire differently in the                 than a similar unit in that same year, or              potential controls to determine which
                                                 marketplace. Commenters on this rule                    even than its own capacity factor from                 industries, beyond the power sector,
                                                 claim that other variables, such as                     a preceding year. This type of variability             could have the greatest impact on
                                                                                                         and heterogeneity make it unlikely that
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                                                 constraints in transmission capacity or                                                                        downwind receptors’ air quality and
                                                 changes in fuel prices, can drive such                  there is a single cost-effective control               therefore the greatest impact in
                                                 differences in projected versus realized                strategy across this fleet segment, and                providing ozone air quality
                                                 generation shifting, and these concerns                 commenters did not provide evidence to                 improvements in affected downwind
                                                 are particularly exacerbated in a time of               the contrary. EPA’s analysis discussed                 states through reducing those emissions.
                                                 significant uncertainty around energy                   in the EGU NOX Mitigation Strategies                   Specifically, the EPA conducted a
                                                 supplies and markets together with new                  Final Rule TSD highlights that there are               screening assessment focused on
                                                 laws passed by Congress (e.g., the                      32 units emitting more than 10 tons per                individual emissions units with >100


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                                                 tpy of actual NOX emissions in 23                       the changes between the proposed FIP                     marginal cost/ton threshold reflected in
                                                 upwind states. Once the industries were                 and this final rule, in emissions unit                   the Non-EGU Screening Assessment
                                                 identified, the EPA used its Control                    types included and in emissions limits,                  functioned as a relative, representative
                                                 Strategy Tool to identify potential                     see section VI.C of this document.                       cost/ton level. Similar to the role of
                                                 emissions units and control measures                    Tables I.B–2 through I.B–7 in section I.B                cost-effectiveness thresholds the EPA
                                                 and to estimate emissions reductions                    of this document identify the emissions                  uses at Step 3 to evaluate EGU
                                                 and compliance costs associated with                    units and applicable emissions                           emissions control opportunities, this
                                                 application of non-EGU emissions                        limitations, and Table II.A–1 in section                 threshold is not intended to represent
                                                 control measures. The technical                         II.A of this document identifies the                     the maximum cost any facility may need
                                                 memorandum ‘‘Screening Assessment of                    industries included in the final rule.                   to expend but is rather intended to be
                                                 Potential Emissions Reductions, Air                        For the final rule, to determine NOX                  a representative figure for evaluating
                                                 Quality Impacts, and Costs from Non-                    emissions reduction potential for the                    technologies to allow for a relative
                                                 EGU Emissions Units for 2026’’ (‘‘Non-                  non-EGU industries and emissions unit                    comparison between different levels of
                                                 EGU Screening Assessment’’ or                           types, with the exception of Solid Waste                 control stringency. The value was used
                                                 ‘‘screening assessment’’) lays out the                  Combustors and Incinerators, we used a                   to identify potentially cost-effective
                                                 analytical framework and data used to                   2019 inventory prepared from the                         controls for further evaluation.
                                                 prepare proxy estimates for 2026 of                     emissions inventory system (EIS) to                         In the final rule, partly in recognition
                                                 potentially affected non-EGU facilities                 estimate a list of emissions units                       of the many comments indicating
                                                 and emissions units, emissions                          captured by the applicability criteria for               widely varying cost-per-ton values
                                                 reductions, and costs.219                               the final rule. For Solid Waste                          across industries and facilities, the EPA
                                                    This screening assessment was not                    Combustors and Incinerators, the EPA                     has updated its analysis of costs for the
                                                 intended to identify the specific                       estimated the list of covered units using                covered non-EGU industries. This data
                                                 emissions units subject to the proposed                 the 2019 inventory, as well as the                       is summarized in the Technical
                                                 emissions limits for non-EGU sources                    NEEDS-v6-summer-2021-reference-case                      Memorandum ‘‘Summary of Final Rule
                                                 but was intended to inform the                          workbook.221 Based on the review of                      Applicability Criteria and Emissions
                                                 development of the proposed rule by                     RACT, NSPS, NESHAP rules, as well as                     Limits for Non-EGU Emissions Units,
                                                 identifying proxies for (1) non-EGU                     SIPs, consent decrees, and permits, we                   Assumed Control Technologies for
                                                 emissions units that potentially had the                also assumed certain control                             Meeting the Final Emissions Limits, and
                                                 most impact in terms of the magnitude                   technologies could meet the final                        Estimated Emissions Units, Emissions
                                                 of emissions and potential for emissions                emissions limits.222 We did not run the                  Reductions, and Costs,’’ available in the
                                                 reductions, (2) potential controls for and              Control Strategy Tool to estimate                        docket. We further respond to
                                                 emissions reductions from these                         emissions reductions and costs and                       comments on the screening assessment
                                                 emissions units, and (3) control costs                  instead programmed the assessment                        in section 2.2 of the response to
                                                 from the potential controls on these                    using R.223 Using the list of emissions                  comments document.
                                                 emissions units. This information                       units estimated to be captured by the                    3. Other Stationary Sources NOX
                                                 helped shape the proposed rule.                         final rule applicability criteria, the
                                                    To further evaluate the industries and                                                                        Mitigation Strategies
                                                                                                         assumed control technologies that
                                                 emissions unit types identified by the                  would meet the emissions limits, and                        As part of its analysis for this final
                                                 screening assessment and to establish                   information on control efficiencies and                  rule, the EPA also reviewed whether
                                                 the applicability criteria and proposed                 default cost/ton values from the control                 NOX mitigation strategies for any other
                                                 emissions limits, the EPA reviewed                      measures database (CMDB),224 the EPA                     stationary sources may be appropriate.
                                                 RACT rules, NSPS rules, NESHAP rules,                   estimated NOX emissions reductions                       In this section, the EPA discusses three
                                                 existing technical studies, rules in                    and costs for the year 2026. We                          classes of units that have historically
                                                 approved SIP submittals, consent                        estimated emissions reductions using                     been excluded from our interstate air
                                                 decrees, and permit limits. That                        the actual emissions from the 2019                       transport programs: (1) solid waste
                                                 evaluation is detailed in the Proposed                  emissions inventory. In the assessment,                  incineration units, (2) electric
                                                 Non-EGU Sectors TSD prepared for the                    we matched emissions units by Source                     generating units less than or equal to 25
                                                 proposed FIP.220                                        Classification Code (SCC) from the                       MW, and (3) cogeneration units. EPA’s
                                                    In this final rule, for purposes of this             inventory to the applicable control                      initial assessment did not lead it to
                                                 part of the Step 3 analysis, the EPA is                 technologies in the CMDB. We modified                    propose inclusion of the units in these
                                                 retaining emissions control                             SCC codes as necessary to match control                  categories. However, EPA requested
                                                 requirements for these industries and                   technologies to inventory records.                       comment on whether any particular
                                                 many of the emissions unit types                           The EPA recognized both at proposal                   units within this category may offer
                                                 included in the proposal. However,                      and in the final rule that the cost per ton              cost-effective reduction potential.
                                                 based on comments that credibly                         of emissions controls could vary by                         Based on our request for comment,
                                                 indicated in certain cases that emissions               industry and by facility. The $7,500                     comments received, and our further
                                                 reduction opportunities are either not                                                                           evaluation, the EPA is including
                                                 available for certain unit types or are at                221 The workbook is available here: https://           emissions limits and associated control
                                                 costs that are far greater than the EPA                 www.epa.gov/power-sector-modeling/national-              requirements for the ozone season for
                                                 estimated at proposal, the EPA has                      electric-energy-data-system-needs-v6.                    solid waste incinerator units in this
                                                                                                           222 The Final Non-EGU Sectors TSD is available
                                                 changed the final rule to either remove                                                                          final rule, in line with the requirements
                                                                                                         in the docket.
                                                 or adjust the applicability criteria for                                                                         we laid out for comment at proposal.
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                                                                                                           223 R is a free software environment for statistical
                                                 such units. For a detailed discussion of                computing and graphics. Additional information is        Our analysis in this final rule confirms
                                                                                                         available here: https://www.r-project.org/.              that these units have emissions
                                                   219 The memorandum is available in the docket           224 More information about the Control Strategy        reductions of a magnitude, degree of
                                                 here: https://www.regulations.gov/document/EPA-         Tool (CoST) and the control measures database            beneficial impact, and cost-effectiveness
                                                 HQ-OAR-2021-0668-0150.                                  (CMDB) can be found at the following link: https://
                                                   220 The TSD for the proposed FIP is available in      www.epa.gov/economic-and-cost-analysis-air-
                                                                                                                                                                  that is on par with the units in other
                                                 the docket here: https://www.regulations.gov/           pollution-regulations/cost-analysis-modelstools-air-     industrial sectors included in this final
                                                 document/EPA-HQ-OAR-2021-0668-0145.                     pollution.                                               rule.


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                                                   For electric generating units less than               noted that MWCs are often located in                   waste reduction policies and associated
                                                 25 MW and cogeneration units                            economically marginalized                              environmental considerations.
                                                 previously exempted from EGU                            communities or communities of color.                      Response: Regarding the comments
                                                 emissions budgets established through                   Lastly, one commenter stated that                      that some MWCs are already subject to
                                                 ozone interstate transport rules, the EPA               MWCs were arbitrarily excluded from                    RACT NOX emissions limits, the EPA
                                                 has determined that these units should                  the non-EGU screening assessment                       acknowledges that some states included
                                                 not be treated as EGUs in this final rule.              prepared for the proposal.                             in this rulemaking have promulgated
                                                   The EPA provides a summary of these                      Response: As described in section                   RACT NOX emissions limits that apply
                                                 three segments, their emissions control                 VI.B.2 of the notice of proposed                       to certain MWCs, including some that
                                                 opportunities, and potential air quality                rulemaking, the EPA assessed emissions                 are lower than current MWC NSPS NOX
                                                 benefits in the following sections.                     reduction potential from non-EGUs by                   emissions limits. The EPA does not
                                                 Additional considerations are further                   preparing a screening assessment to                    consider a source to be exempt from this
                                                 discussed in the EGU NOX Mitigation                     identify those industries that could have              rulemaking just because the source may
                                                 Strategies Final TSD and in the RTC                     the greatest air quality impact at                     be subject to other regulatory
                                                 Document.                                               downwind receptors. While the EPA did                  requirements. As noted, the Agency did
                                                 a. Municipal Solid Waste Units                          not prepare an updated non-EGU                         evaluate MWCs using the criteria
                                                                                                         screening assessment in preparation for                developed in the screening assessment
                                                    At proposal, the EPA solicited
                                                                                                         this final rule, the Agency did evaluate               for proposal and has concluded that
                                                 comments on whether NOX emissions
                                                                                                         MWCs using the criteria developed in                   MWCs should be included in this
                                                 reductions should be sought from
                                                                                                         the screening assessment for proposal                  rulemaking. In considering the
                                                 municipal waste combustors (MWCs) to
                                                                                                         and determined that MWCs should be                     emissions limits that are being finalized
                                                 address interstate ozone transport,
                                                                                                         included in this rulemaking. A                         in this rulemaking, the EPA reviewed
                                                 specifically on potential emissions
                                                                                                         discussion of this analysis for MWCs is                existing state RACT rules as described
                                                 limits, control technologies, and control
                                                                                                         available in the Municipal Waste                       in section VI.C.6 of this document and
                                                 costs. The EPA requested comment on
                                                 emissions limits of 105 ppmvd on a 30-                  Combustor Supplement to February 28,                   the ‘‘Technical Support Document
                                                 day rolling average and a 110 ppmvd on                  2022 Screening Assessment of Potential                 (TSD) for the Final Rule, Docket ID No.
                                                 a 24-hour block average based on                        Emissions Reductions, Air Quality                      EPA–HQ–OAR–2021–0668, Non-EGU
                                                 determinations made in the June 2021                    Impacts, and Costs from Non-EGU                        Sectors TSD’’ (Mar. 2023), hereinafter
                                                 Ozone Transport Commission (OTC)                        Emissions Units for 2026, which is                     referred to as Final Non-EGU Sectors
                                                 Municipal Waste Combustor Workgroup                     available in the docket for this rule.                 TSD. We note that sources already
                                                 Report (OTC MWC Report). See 87 FR                         Considering EPA’s conclusion that                   subject to RACT NOX emissions limits
                                                 20085–20086. The OTC MWC Report                         MWCs should be included in this final                  that are equal to or more stringent than
                                                 found that MWCs in the Ozone                            rule if EPA applied the same criteria                  the limits finalized in this rulemaking
                                                 Transport Region (OTR) are a significant                developed in the screening assessment                  will have the option to streamline
                                                 source of NOX emissions and that                        for proposal, the findings from the OTC                regulatory requirements through the
                                                 significant annual NOX reductions                       MWC report and recent MOU, the fact                    Title V permitting process.
                                                 could be achieved from MWCs in the                      that many state RACT NOX rules apply                      Regarding the statement that
                                                 OTR using several different                             to MWCs, and information received                      regulation could interfere with state
                                                 technologies, or combination of                         during public comment, the EPA finds                   waste reduction policies and associated
                                                 technologies at a reasonable cost. The                  that MWCs should be included in this                   environmental considerations, the EPA
                                                 OTC MWC report is included in the                       final rule. Thus, the EPA is finalizing                acknowledges that MWCs serve an
                                                 docket for this action.                                 NOX emissions limits and compliance                    important role in municipal solid waste
                                                    Comment: The EPA received multiple                   assurance requirements for large MWCs                  management programs, and that many
                                                 comments supporting the inclusion of                    as defined in the regulatory text at                   function as cogeneration facilities that
                                                 emissions limits for MWCs in the final                  § 52.46 and as described in this section.              produce electrical power for the power
                                                 rule. Commenters noted that MWCs are                       Comment: Some commenters did not                    grid. The EPA also analyzed control
                                                 significant sources of NOX that                         support the inclusion of emissions                     costs and determined that the required
                                                 contribute to ozone problems in the                     limits for MWCs in the final rule. Some                NOX emissions limits for MWCs can be
                                                 states covered by the proposal. Multiple                commenters suggested that the                          achieved at a reasonable cost, as
                                                 commenters referenced the OTC MWC                       inclusion of NOX limits in a FIP is not                described in section VI.C.6 of this
                                                 report to contend that NOX emissions                    necessary to continue to reduce NOX                    document, the Final Non-EGU Sectors
                                                 from MWCs could be significantly                        emissions from MWCs or to address                      TSD, and the OTC MWC Report.
                                                 reduced at a reasonable cost. Some                      interstate transport problems. Some                    Although the EPA does not expect these
                                                 commenters reasoned that sources                        commenters noted that many of the                      regulations to disrupt the ability of the
                                                 closer to downwind monitors, including                  MWCs in the states covered by the                      industry to provide municipal solid
                                                 MWCs, should be regulated as a more                     proposal are already subject to RACT-                  waste and electric services, to the extent
                                                 targeted approach and a means to                        based NOX emissions limits that are                    a facility is unable to comply with the
                                                 prevent overcontrol of upwind sources.                  below the current Federal NSPS NOX                     standards due to technical impossibility
                                                 Commenters also noted that the OTC                      emissions limits for MWCs under 40                     or extreme economic hardship, the final
                                                 recently signed a memorandum of                         CFR part 60, subparts Cb and Eb. One                   rule includes provisions for facility
                                                 understanding (MOU) requesting that
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                                                                                                         commenter noted that MWCs do not                       operators to apply for a case-by-case
                                                 OTC member states develop cost                          always account for a large percentage of               alternative emissions limit. See section
                                                 effective solutions and select the                      statewide NOX emissions. Others                        VI.C of this document and 40 CFR
                                                 strategy or combination of strategies, as               suggested that voluntary industry                      52.40(d). In addition, for MWC facilities
                                                 necessary and appropriate, that provides                actions are also driving downward                      that are unable to comply with the
                                                 both the maximum certainty and                          trends of NOX emissions for some                       standard by the 2026 ozone season, the
                                                 flexibility for that state and its MWCs.                MWCs. Some commenters also asserted                    final rule includes provisions for
                                                 Additionally, multiple commenters                       that regulation could interfere with state             requesting limited extensions of time to


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                                                 comply. See section VI.C and 40 CFR                     MW to a 10 MW unit, and a factor of                    83,317 MWe of electrical capacity. Over
                                                 52.40(c).                                               8 when moving to a 1 MW unit.225                       99 percent of the installations are
                                                                                                         Moreover, the EPA estimates that under                 powered by 5 equipment types, those
                                                 b. Electric Generating Units Less Than
                                                                                                         6 percent of nationwide EGU emissions                  being reciprocating engines (52 percent),
                                                 or Equal to 25 MW
                                                                                                         come from units that are less than 25                  boilers/steam turbines (17 percent), gas
                                                    The EPA has historically not included                MW and not covered by current                          turbines (16 percent), microturbines (8
                                                 control requirements for emissions for                  applicability criteria due to this size                percent), and fuel cells (4 percent). The
                                                 electric generating units less than or                  exemption threshold. Therefore, the                    majority of the electrical capacity is
                                                 equal to 25 MW of generation for three                  EPA is not finalizing any emissions                    provided by gas turbine CHP systems
                                                 primary reasons: low potential                          reductions for these units.                            (64 percent) and boiler/steam turbine
                                                 reductions, relatively high cost per ton                  Comment: EPA received comment                        CHP systems (32 percent). The various
                                                 of reduction, and high monitoring and                   supporting the continued application of                CHP technologies described herewith
                                                 other compliance burdens. In the                        the 25 MW threshold.                                   are available in a large range of sizes,
                                                 January 11, 1993, Acid Rain permitting                    Response: Consistent with prior rules,               from as small as 1 kilowatt reciprocating
                                                 rule, the EPA provided for a conditional                the proposal, and stakeholder comment,                 engine systems to as large as 300
                                                 exemption from the emissions                            EPA is continuing to apply its 25 MW                   megawatt gas turbine powered systems.
                                                 reduction, emitting, and emissions                      applicability threshold for EGUs in this                  NOX emissions from rich burn
                                                 monitoring requirements of the Acid                     rulemaking. EPA did not find                           reciprocating engine, gas turbine, and
                                                 Rain Program for new units having a                     compelling comment to reverse its                      microturbine systems are low, ranging
                                                 nameplate capacity of 25 MWe or less                    determination that (1) these sources                   from 0.013 to 0.05 lb/mmBtu. NOX
                                                 that burn fuels with a sulfur content no                offer low potential reductions, (2) have               emissions from lean burn reciprocating
                                                 greater than 0.05 percent by weight,                    relatively high cost per ton, and (3) have             engine systems and gas-powered steam
                                                 because of the de minimis nature of                     high monitoring and other compliance                   turbines systems range from 0.1 to 0.2
                                                 their potential SO2, CO2 and NOX                        burdens.                                               lb/mmBtu. The highest NOX emitting
                                                 emissions. See 63 FR 57484. The NOX                                                                            CHP units are solid fuel-fired boiler/
                                                                                                         c. Cogeneration Units
                                                 SIP Call identified these as Small Point                                                                       steam turbine systems which emit NOX
                                                 Sources. For the purposes of that                          Consistent with prior transport rules,              at rates ranging from 0.2 to 1.2 lb/
                                                 rulemaking, the EPA considered                          fossil fuel-fired boilers and combustion               mmBtu.
                                                 electricity generating boilers and                      turbines that produce both electricity                    Under the final rule (consistent with
                                                 turbines serving a generator 25 MWe or                  and useful thermal energy (generally                   prior CSAPR rulemakings), certain
                                                 less, to be small point sources. The EPA                referred to as ‘‘cogeneration units’’) and             cogeneration units would be exempt
                                                 noted that the collective emissions from                that meet the applicability criteria to be             from coverage under the CSAPR NOX
                                                 small sources were relatively small and                 included in the CSAPR NOX Ozone                        Ozone Season Group 3 Trading Program
                                                 the administrative burden to the states                 Season Group 3 Trading Program would                   as EGUs. Specifically, the trading
                                                 and regulated entities of controlling                   be subject to the emissions reduction                  program regulations include an
                                                 such sources was likely to be                           requirements established in this                       exemption for a unit that qualifies as a
                                                 considerable. As a result, the rule did                 rulemaking for EGUs. However, those                    cogeneration unit throughout the later of
                                                 not assume reductions from those                        applicability criteria—which the EPA is                2005 or the first 12 months during
                                                 sources in state emissions budgets                      not altering in this rulemaking (see                   which the unit first produces electricity
                                                 requirements (63 FR 57402). Similar                     section VI.B.3 of this document)—                      and continues to qualify through each
                                                 size thresholds have been incorporated                  exempt some cogeneration units from                    calendar year ending after the later of
                                                 in subsequent transport programs such                   coverage as EGUs under the trading                     2005 or that 12-month period and that
                                                 as CAIR and CSAPR. As these sources                     program. The EPA is finalizing that                    meets the limitation on electricity sales
                                                 were not identified as having cost-                     fossil fuel-fired boilers and combustion               to the grid. To meet the trading
                                                 effective reductions and so were not                    turbines that produce both electricity                 program’s definition of ‘‘cogeneration
                                                 included in those programs, they were                   and useful thermal energy and that do                  unit’’ under the regulations, a unit (i.e.,
                                                 also exempted from certain reporting                    not meet the applicability criteria to be              a fossil-fuel-fired boiler or combustion
                                                 requirements and the data for these                     included in the CSAPR NOX Ozone                        turbine) must be a topping-cycle or
                                                 sources is, therefore, not of the same                  Season Group 3 Trading Program as                      bottoming-cycle type that operates as
                                                 caliber as that of covered larger sources.              EGUs would not be subject to the Group                 part of a ‘‘cogeneration system.’’ A
                                                    EPA’s preliminary survey of current                  3 emissions trading program. However,                  cogeneration system is defined as an
                                                 data, compared to this initial                          to the extent a cogeneration unit meets                integrated group of equipment at a
                                                 justification, does not appear to offer a               the applicability criteria for industrial              source (including a boiler, or
                                                 compelling reason to depart from this                   non-EGU boilers covered by this rule,                  combustion turbine, and a generator)
                                                 past practice by requiring emissions                    that unit will be subject to the relevant              designed to produce useful thermal
                                                 reductions from these small EGU                         requirements and is not exempted by                    energy for industrial, commercial,
                                                 sources as part of this rule. For instance,             virtue of being a cogeneration unit.                   heating, or cooling purposes and
                                                 as explained in the EGU NOX Mitigation                     According to information contained                  electricity through the sequential use of
                                                 Strategies Final Rule TSD, EPA has                      in the EPA’s Combined Heat and Power                   energy. A topping-cycle unit is a unit
                                                 evaluated the costs of SCR retrofits at                 Partnership’s document ‘‘Catalog of CHP                where the sequential use of energy
                                                 small EGUs using its Retrofit Cost                      Technologies’’,226 there are 4,226 CHP                 results in production of useful power
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                                                 Analyzer and found that such controls                   installations in the U.S. providing                    first and then, through use of reject heat
                                                 become markedly less cost-effective at                                                                         from such production, in production of
                                                 lower levels of generating capacity. This                 225 Preliminary estimate based on representative     useful thermal energy. A bottoming-
                                                 analysis concluded that, after                          coal units with starting NOX rate of 0.2 lb/mmBtu,     cycle unit is a unit where the sequential
                                                 controlling for all other unit                          10,000 BTU/kwh, and assuming 80 percent                use of energy results in production of
                                                                                                         reduction.
                                                 characteristics, the dollar per ton cost                  226 This document is available at: https://          useful thermal energy first, and then,
                                                 for a SCR retrofit increases by about a                 www.epa.gov/sites/default/files/2015-07/               through use of reject heat from such
                                                 factor of 2.5 when moving from a 500                    documents/catalog_of_chp_technologies.pdf.             production, in production of useful


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                                                 power. To qualify as a cogeneration                     boilers (two in Pulp and Papermill and                 Marine Rule (73 FR 25098; May 6,
                                                 unit, a unit also must meet certain                     two in Basic Chemical Manufacturing)                   2008); the Marine Spark-Ignition and
                                                 efficiency and operating standards in                   that would meet the final rule’s                       Small Spark-Ignition Engine Rule (73 FR
                                                 2005 and each year thereafter. The                      applicability criteria for non-EGU units               59034; October 8, 2008); the New
                                                 electricity sales limitation under the                  and are included in the analysis of non-               Marine Compression-Ignition Engines at
                                                 exemption is applied in the same way                    EGU emissions reduction potential in                   or Above 30 Liters per Cylinder Rule (75
                                                 whether a unit serves only one generator                section V.C.2 of this document.                        FR 22895; April 30, 2010); and the
                                                 or serves more than one generator. In                                                                          Aircraft and Aircraft Engine Emissions
                                                 both cases, the total amount of                         4. Mobile Source NOX Mitigation                        Standards (77 FR 36342; June 18, 2012).
                                                 electricity produced annually by a unit                 Strategies                                                Most recently, EPA finalized more
                                                 and sold to the grid cannot exceed the                     Under a variety of CAA programs, the                stringent emissions standards for NOX
                                                 greater of one-third of the unit’s                      EPA has established Federal emissions                  and other pollution from heavy-duty
                                                 potential electric output capacity or                   and fuel quality standards that reduce                 trucks (Control of Air Pollution from
                                                 219,000 MWh. This is consistent with                    emissions from cars, trucks, buses,                    New Motor Vehicles: Heavy-Duty
                                                 the approach taken in the Acid Rain                     nonroad engines and equipment,                         Engine and Vehicle Standards, 88 FR
                                                 Program (40 CFR 72.7(b)(4)), where the                  locomotives, marine vessels, and aircraft              4296, January 24, 2023). These
                                                 cogeneration-unit exemption originated.                 (i.e., ‘‘mobile sources’’). Because states             standards will take effect beginning
                                                    The EPA requested comment on                         are generally preempted from regulating                with model year 2027. Heavy-duty
                                                 requiring fossil fuel-fired boilers in the              new vehicles and engines with certain                  vehicles are the largest contributor to
                                                 non-EGU industries identified in section                exceptions (see generally CAA section                  mobile source emissions of NOX and
                                                 VI.C of this document that serve                        209), mobile source emissions are                      will be one of the largest mobile source
                                                 electricity generators and that qualify                 primarily controlled through EPA’s                     contributors to ozone in 2025.230
                                                 for an exemption from inclusion in the                  Federal programs. The EPA has been                     Reducing heavy-duty vehicle emissions
                                                 CSAPR NOX Ozone Season Group 3                          regulating mobile source emissions                     nationally will improve air quality
                                                 Trading Program as EGUs to instead                      since it was established as a Federal                  where the trucks are operating as well
                                                 meet the same emissions standards, if                   agency in 1970, and all mobile source                  as downwind. The EPA’s existing
                                                 any, that would apply under this                        sectors are currently subject to NOX                   regulatory program for mobile sources
                                                 rulemaking to fossil fuel-fired boilers at              emissions standards. The EPA factors                   will continue to reduce NOX emissions
                                                 facilities in the same non-EGU                          these standards and associated                         into the future.
                                                 industries that do not serve electricity                emissions reductions into its baseline                    Comment: The EPA received
                                                 generators.                                             air quality assessment in good neighbor                comments on ozone-precursor
                                                    Comment: Some stakeholders support                   rulemaking, including in this final rule.              emissions from mobile sources,
                                                 the continued exclusion of qualifying                   These data are factored into EPA’s                     including cars, trucks, trains, ships, and
                                                 cogenerators from the EGU program, but                  analysis at Steps 1 and 2 of the 4-step                planes. Commenters broadly encouraged
                                                 suggested they be regulated as non-                     framework. As a result of this long                    the EPA to require emissions reductions
                                                 EGUs if they don’t fit the EGU                          history, NOX emissions from onroad and                 from mobile sources in this rule.
                                                 applicability criteria.                                 nonroad mobile sources have                            Commenters stated that the
                                                    Response: The EPA agrees that there                                                                         transportation sector plays a significant
                                                                                                         substantially decreased (73 percent and
                                                 is no basis within the four-step                                                                               role in NOX pollution and ozone
                                                                                                         57 percent since 2002, for onroad and
                                                 framework to exempt cogeneration units                                                                         formation and urged the EPA to finalize
                                                                                                         nonroad, respectively) 227 and are
                                                 that fall under the applicability criteria                                                                     emissions reductions for the
                                                                                                         predicted to continue to decrease into
                                                 of the final rule for non-EGU boilers                                                                          transportation sector that will enable
                                                                                                         the future as newer vehicles and engines
                                                 simply because they are cogeneration                                                                           attainment of the 2015 ozone NAAQS.
                                                                                                         that are subject to the most recent,
                                                 units. While cogeneration units do have                                                                        Some commenters noted that high
                                                                                                         stringent standards replace older
                                                 environmental benefits as noted at                                                                             proportions of NOX emissions in various
                                                 proposal, some cogeneration unit-types,                 vehicles and engines.228
                                                                                                                                                                upwind states are attributable to the
                                                 particularly boilers, are estimated to                     For example, in 2014, the EPA
                                                                                                                                                                transportation sector, and stated that
                                                 have NOX emissions that would                           promulgated new, more stringent
                                                                                                                                                                EPA should have targeted emissions
                                                 otherwise meet this rule’s criteria at                  emissions and fuel standards for light-
                                                                                                                                                                reductions from mobile sources first
                                                 Step 3 for constituting ‘‘significant                   duty passenger cars and trucks.229 The
                                                                                                                                                                before requiring more stringent
                                                 contribution.’’ These units can meet the                fuel standards took effect in 2017, and
                                                                                                                                                                emissions controls from stationary
                                                 emissions limits that are otherwise                     the vehicle standards phase in between
                                                                                                                                                                sources in the same upwind states.
                                                 finalized for these unit types, and the                 2017 and 2025. Other EPA actions that                     Response: The EPA agrees with
                                                 EPA does not find a basis to exclude                    are continuing to reduce NOX emissions                 commenters that a variety of sources,
                                                 them simply because they may have                       include the Heavy-Duty Engine and                      including mobile sources in the
                                                 other environmentally-beneficial                        Vehicle Standards and Highway Diesel                   transportation sector, produce NOX
                                                 attributes.                                             Fuel Sulfur Control Requirements (66                   emissions that contribute to ozone air
                                                    These emissions limits are set forth in              FR 5002; January 18, 2001); the Clean                  quality problems across the U.S. This
                                                 section VI.C.5 of this document.                        Air Nonroad Diesel Rule (69 FR 38957;                  rule, as with prior interstate transport
                                                 Therefore, the final requirements for                   June 29, 2004); the Locomotive and                     actions, does not ignore those
                                                 non-EGUs do not exempt cogeneration                        227 US EPA. Our Nation’s Air: Status and Trends
                                                                                                                                                                emissions, and it credits those on-the-
                                                 units and any cogeneration emissions                                                                           books measures of states and the Federal
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                                                                                                         Through 2019. https://gispub.epa.gov/air/
                                                 units meeting the applicability criteria                trendsreport/2020/#home.                               Government within the four-step
                                                 for non-EGUs will be subject to the final                  228 National Emissions Inventory Collaborative      framework by including emissions and
                                                 emissions limits for the appropriate                    (2019). 2016v1 Emissions Modeling Platform.
                                                 non-EGU emissions unit. Based on                        Retrieved from http://views.cira.colostate.edu/wiki/     230 Zawacki et al, 2018. Mobile source
                                                                                                         wiki/10202.                                            contributions to ambient ozone and particulate
                                                 EPA’s review of available data, across                     229 Control of Air Pollution from Motor Vehicles:   matter in 2025. Atmospheric Environment. Vol 188,
                                                 all of the non-EGU industries covered                   Tier 3 Motor Vehicle Emissions and Fuel Standards,     pg 129–141. Available online: https://doi.org/
                                                 by this rule, there are four cogeneration               79 FR 23414 (April 28, 2014).                          10.1016/j.atmosenv.2018.04.057.



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                                                 emissions reductions from these sources                                      any case, the existence of mobile source                      section V.B.1 of this document), that
                                                 in the emissions inventory for air                                           emissions noted by commenters does                            were assessed in previous rules to
                                                 quality modeling, which informs Steps                                        not lead to the conclusion that the EPA                       address ozone transport, and that have
                                                 1 and 2 of this analysis. Thus, this rule                                    must require mobile source reductions                         been incorporated into state planning
                                                 accurately represents emissions from                                         in this rule or that the EPA has not                          requirements to address ozone
                                                 mobile sources that are used to evaluate                                     properly identified ‘‘source[s] or other                      nonattainment.
                                                 the contribution of states to ozone air                                      type[s] of emissions activity’’ in upwind                       The EPA evaluated the EGU sources
                                                 quality problems in other states. See                                        states that ‘‘significantly contribute’’ for                  within the State of California and found
                                                 section IV.C of this document.                                               purposes of the Good Neighbor                                 there were no covered coal steam
                                                    The EPA notes that its Step 3 analysis                                    Provision. The EPA is committed to                            sources greater than 100 MW that would
                                                 for this FIP does not assess additional                                      continuing the effective implementation                       have emissions reduction potential
                                                 emissions reductions opportunities from                                      and enforcement of current mobile                             according to EPA’s assumed EGU SCR
                                                 mobile sources. The EPA continues to                                         source standards and continuing its                           retrofit mitigation technologies.232 The
                                                 believe that title II of the CAA provides                                    efforts on new standards. The EPA will                        EGUs in the state are sufficiently well-
                                                 the primary authority and process for                                        continue to work with state and local air                     controlled resulting in the lowest fossil-
                                                 reducing these emissions at the Federal                                      agencies to incorporate emissions                             fuel emissions rate and highest share of
                                                 level. EPA’s various Federal mobile                                          reductions from the transportation                            renewable generation among the 23
                                                 source programs, summarized above in                                         sector into required ozone attainment                         states examined at Step 3. EPA’s Step 3
                                                 this section, have delivered and are                                         planning elements.                                            analysis, including analysis of the
                                                 projected to continue to deliver                                             C. Control Stringencies Represented by                        emissions reduction factors from EGU
                                                 substantial nationwide reductions in                                         Cost Threshold ($ per ton) and                                sources in the state, therefore resulted in
                                                 both VOCs and NOX emissions; these                                           Corresponding Emissions Reductions                            no additional emissions reductions
                                                 reductions from final rules are factored                                                                                                   required to eliminate significant
                                                 into the Agency’s assessment of air                                          1. EGU Emissions Reduction Potential                          contribution from any EGU sources in
                                                 quality and contributions at Steps 1 and                                     by Cost Threshold                                             California.
                                                 2. Further, states are generally                                                For EGUs, as discussed in section V.A                        The following tables summarize the
                                                 preempted from regulating new vehicles                                       of this document, the multi-factor test                       emissions reduction potentials (in ozone
                                                 and engines with certain exceptions,                                         considers increasing levels of uniform                        season tons) from these emissions
                                                 and therefore a question exists regarding                                    control stringency in combination with                        controls across the affected
                                                 the EPA’s authority to address such                                          considering total NOX reduction                               jurisdictions. Table V.C.1–1 focuses on
                                                 emissions through such means when                                            potential and corresponding air quality                       near-term emissions controls while
                                                 regulating in place of the states under                                      improvements. The EPA evaluated EGU                           Table V.C.1–2 includes emissions
                                                 CAA section 110(c). See generally CAA                                        NOX emissions controls that are widely                        controls with extended implementation
                                                 section 209. See also 86 FR 23099.231 In                                     available (described previously in                            timeframes.

                                                                          TABLE V.C.1–1—EGU OZONE-SEASON EMISSIONS AND REDUCTION POTENTIAL (TONS)—2023
                                                                                                                                                                                        Reduction potential (tons) for varying levels of
                                                                                                                                                                                                    technology inclusion

                                                                                                                                                                  Baseline 2023                              SCR                SCR/SNCR
                                                                                                   State                                                            OS NOX                              optimization +         optimization +
                                                                                                                                                                                         SCR             combustion             combustion
                                                                                                                                                                                     optimization           control                control
                                                                                                                                                                                                          upgrades               upgrades

                                                 Alabama .................................................................................................                 6,412                32                     32                    32
                                                 Arkansas ................................................................................................                 8,955                28                     28                    28
                                                 Illinois .....................................................................................................            7,721                70                     70                   247
                                                 Indiana ...................................................................................................              13,298               856                    856                   858
                                                 Kentucky ................................................................................................                13,900               299                    901                   901
                                                 Louisiana ................................................................................................                9,974               515                    515                   611
                                                 Maryland ................................................................................................                 1,214                 0                      0                     8
                                                 Michigan .................................................................................................               10,746                 4                      4                    19
                                                 Minnesota ..............................................................................................                  5,643                98                     98                   139
                                                 Mississippi ..............................................................................................                6,283                73                    984                   984
                                                 Missouri ..................................................................................................              20,094             7,339                  7,339                 7,497
                                                 Nevada ...................................................................................................                2,372                 4                      4                     4
                                                 New Jersey ............................................................................................                     915               143                    143                   143
                                                 New York ...............................................................................................                  3,977                64                     64                    64
                                                 Ohio .......................................................................................................             10,264             1,154                  1,154                 1,154
                                                 Oklahoma ...............................................................................................                 10,470               199                    890                   890
                                                 Pennsylvania ..........................................................................................                   8,573               336                    336                   436
                                                 Texas .....................................................................................................              41,276               909                    909                 1,142
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                                                 Utah .......................................................................................................             15,762                 7                      7                     7
                                                 Virginia ...................................................................................................              3,329               164                    242                   263
                                                 West Virginia ..........................................................................................                 14,686               554                  1,099                 1,380

                                                   231 This is not to say that states lack other options                      states may (but are not required to) adopt California         submit those standards to be included as a part of
                                                 to reduce emissions from mobile sources. For                                 vehicle emissions standards for which a waiver has            their SIP.
                                                 example, a general list of types of transportation                           been granted from the preemption provisions in                   232 The only coal-fired power plant in California

                                                 control measures can be found in CAA section                                 section 209(a). States that decide to adopt California        is the 63 MW Argus Cogeneration facility in Trona,
                                                 108(f). In addition, in accordance with section 177,                         vehicle emissions standards may also choose to                California.



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                                                              TABLE V.C.1–1—EGU OZONE-SEASON EMISSIONS AND REDUCTION POTENTIAL (TONS)—2023—Continued
                                                                                                                                                                                         Reduction potential (tons) for varying levels of
                                                                                                                                                                                                     technology inclusion

                                                                                                                                                                Baseline 2023                                  SCR              SCR/SNCR
                                                                                                   State                                                          OS NOX                                  optimization +       optimization +
                                                                                                                                                                                           SCR             combustion           combustion
                                                                                                                                                                                       optimization           control              control
                                                                                                                                                                                                            upgrades             upgrades

                                                 Wisconsin ...............................................................................................                   6,321                    7                    7                26

                                                       Total ................................................................................................          222,184               12,854               15,681               16,832
                                                   * The EPA shows reduction potential from state-of-the-art LNB upgrade as near-term emissions controls, but explains in section V.B and VI.A
                                                 of this document that this reduction potential would not be implemented until 2024.

                                                                        TABLE V.C.1–2—EGU OZONE-SEASON EMISSIONS AND REDUCTION POTENTIAL (TONS)—2026 *
                                                                                                                                                                 Reduction potential (tons) for varying levels of technology inclusion

                                                                                                                                                                                                                                SCR/SNCR
                                                                                                                                                                                          SCR              SCR/SNCR            optimization +
                                                                                                                                   Baseline 2026
                                                                                   State                                                                                             optimization +       optimization +        combustion
                                                                                                                                     OS NOX                         SCR               combustion           combustion              control
                                                                                                                                                                optimization             control              control           upgrades +
                                                                                                                                                                                       upgrades             upgrades            SCR/SNCR
                                                                                                                                                                                                                                  retrofits

                                                 Alabama .................................................................                       6,371                    32                      32                   32                 604
                                                 Arkansas ................................................................                       8,728                    28                      28                   28               4,697
                                                 Illinois .....................................................................                  6,644                    70                      70                  230               1,281
                                                 Indiana ...................................................................                     9,468                   768                     768                  770               1,333
                                                 Kentucky ................................................................                      13,211                   299                     739                  739               5,303
                                                 Louisiana ................................................................                      9,704                   515                     515                  611               5,894
                                                 Maryland ................................................................                         901                    51                      51                   59                  59
                                                 Michigan .................................................................                      7,790                     4                       4                   19               1,959
                                                 Minnesota ...............................................................                       4,197                    98                      98                  139               1,613
                                                 Mississippi ..............................................................                      6,022                    73                     984                  984               3,938
                                                 Missouri ..................................................................                    18,612                 7,339                   7,339                7,497              11,231
                                                 Nevada ...................................................................                      1,146                     4                       4                    4                   4
                                                 New Jersey ............................................................                           915                   143                     143                  143                 143
                                                 New York ...............................................................                        3,977                    64                      64                   64                 589
                                                 Ohio ........................................................................                   9,083                 1,154                   1,154                1,154               1,154
                                                 Oklahoma ...............................................................                       10,259                   199                     890                  890               5,968
                                                 Pennsylvania ..........................................................                         8,362                   352                     352                  452               1,204
                                                 Texas .....................................................................                    39,684                   909                     909                1,142              15,980
                                                 Utah ........................................................................                   9,930                     7                       7                    7               7,338
                                                 Virginia ...................................................................                    3,019                   164                     242                  263                 646
                                                 West Virginia ..........................................................                       13,185                   401                     947                1,227               3,507
                                                 Wisconsin ...............................................................                       5,016                     7                       7                   26                 623

                                                       Total ................................................................                 196,225                 12,680                 15,346               16,480               75,067
                                                    * The EPA shows all emissions reduction potential identified for assumed SCR retrofits in the Step 3 analytic year 2026, but explains in sec-
                                                 tions V.B and VI.A of this document that for Step 4 implementation this emissions reduction potential will be phased in during the 2026 and 2027
                                                 ozone season control periods.


                                                 2. Non-EGU or Industrial Source                                             information on control efficiencies and                         final rule emissions limits may also
                                                 Emissions Reduction Potential                                               default cost/ton values from the CMDB,                          differ from those estimated in this
                                                                                                                             to estimate NOX emissions reductions                            assessment. The costs do not include
                                                    As described in the memorandum
                                                                                                                             and costs for the year 2026. The                                monitoring, recordkeeping, reporting, or
                                                 titled ‘‘Summary of Final Rule
                                                                                                                             estimates using the 2019 inventory and                          testing costs.
                                                 Applicability Criteria and Emissions
                                                 Limits for Non-EGU Emissions Units,                                         information from the CMDB identify                                Table V.C.2–1 summarizes the
                                                 Assumed Control Technologies for                                            proxies for emissions units, as well as                         industries, estimated emissions unit
                                                 Meeting the Final Emissions Limits, and                                     emissions reductions, and costs                                 types, assumed control technologies,
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                                                 Estimated Emissions Units, Emissions                                        associated with the assumed control                             estimated annual costs (2016$), and
                                                 Reductions, and Costs,’’ the EPA uses                                       technologies that would meet the final                          estimated ozone season emissions
                                                 the 2019 emissions inventory, the list of                                   emissions limits. Emissions units                               reductions in 2026, and Table V.C.2–2
                                                 emissions units estimated to be                                             subject to the final rule emissions limits                      summarizes the estimated reductions by
                                                 captured by the applicability criteria,                                     may differ from those estimated in this                         state.
                                                 the assumed control technologies that                                       assessment, and the estimated emissions
                                                 would meet the emissions limits, and                                        reductions from and costs to meet the


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                                                        TABLE V.C.2–1—BY INDUSTRY IN 2026, ESTIMATED EMISSIONS UNIT TYPES, ASSUMED CONTROL TECHNOLOGIES,
                                                                  ANNUAL COSTS (2016$), AND ESTIMATED EMISSIONS REDUCTIONS (OZONE SEASON TONS)
                                                                                                                                                                                                       Assumed control                                                                   Ozone season
                                                                                                                                                                                                                                                                  Annual costs
                                                                  Industry/industries                                                Emissions unit type                                     technologies that meet final emissions                                                        emissions
                                                                                                                                                                                                                                                                    (2016$)
                                                                                                                                                                                                             limits                                                                       reductions

                                                 Pipeline Transportation of Natural Gas .....                      Reciprocating Internal Combustion Engine                               NSCR or Layered Combustion, Layered                                      385,463,197                 32,247
                                                                                                                                                                                           Combustion, SCR, NSCR.
                                                 Cement and Concrete Product Manufac-                              Kiln ............................................................      SNCR ........................................................             10,078,205                  2,573
                                                    turing.
                                                 Iron and Steel Mills and Ferroalloy Manu-                         Reheat Furnaces .......................................                LNB ...........................................................            3,579,294                    408
                                                    facturing.
                                                 Glass and Glass Product Manufacturing ..                          Furnaces ...................................................           LNB ...........................................................            7,052,088                  3,129
                                                 Iron and Steel Mills and Ferroalloy Manu-                         Boilers .......................................................        SCR, LNB + FGR ......................................                      8,838,171                    440
                                                    facturing.
                                                 Metal Ore Mining .......................................          ....................................................................   ....................................................................         621,496                     18
                                                 Basic Chemical Manufacturing ..................                   ....................................................................   ....................................................................      49,697,848                  1,748
                                                 Petroleum and Coal Products Manufac-                              ....................................................................   ....................................................................       5,128,439                    147
                                                    turing.
                                                 Pulp, Paper, and Paperboard Mills ...........                     ....................................................................   ....................................................................      62,268,540                  1,836
                                                 Solid Waste Combustors and Incinerators                           Combustors or Incinerators .......................                     ANSCR or LNTM and SNCR .....................                              38,949,560                  2,071

                                                       Totals ..................................................   ....................................................................   ....................................................................     571,676,839                 44,616


                                                                TABLE V.C.2–2—ESTIMATED EMISSIONS REDUCTIONS (OZONE SEASON TONS) BY UPWIND STATE IN 2026
                                                                                                                                                                                                                                                               2019                       OS NOX
                                                                                                                                            State                                                                                                               OS                       reductions
                                                                                                                                                                                                                                                             emissions *

                                                 AR ............................................................................................................................................................................                                      8,790                    1,546
                                                 CA ............................................................................................................................................................................                                     16,562                    1,600
                                                 IL ..............................................................................................................................................................................                                   15,821                    2,311
                                                 IN .............................................................................................................................................................................                                    16,673                    1,976
                                                 KY ............................................................................................................................................................................                                     10,134                    2,665
                                                 LA .............................................................................................................................................................................                                    40,954                    7,142
                                                 MD ...........................................................................................................................................................................                                       2,818                      157
                                                 MI .............................................................................................................................................................................                                    20,576                    2,985
                                                 MO ...........................................................................................................................................................................                                      11,237                    2,065
                                                 MS ............................................................................................................................................................................                                      9,763                    2,499
                                                 NJ .............................................................................................................................................................................                                     2,078                      242
                                                 NV 233 .......................................................................................................................................................................                                       2,544                        0
                                                 NY ............................................................................................................................................................................                                      5,363                      958
                                                 OH ............................................................................................................................................................................                                     18,000                    3,105
                                                 OK ............................................................................................................................................................................                                     26,786                    4,388
                                                 PA ............................................................................................................................................................................                                     14,919                    2,184
                                                 TX ............................................................................................................................................................................                                     61,099                    4,691
                                                 UT ............................................................................................................................................................................                                      4,232                      252
                                                 VA ............................................................................................................................................................................                                      7,757                    2,200
                                                 WV ...........................................................................................................................................................................                                       6,318                    1,649

                                                        Totals ................................................................................................................................................................                                     302,425                   44,616
                                                   * The 2019 OS season emissions are calculated as 5/12 of the annual emissions from the following two emissions inventory files: nonegu_
                                                 SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_13sep2021_v0 and oilgas_SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_
                                                 13sep2021_v0.


                                                   In Table V.C.2–3 by industry and                                                  all of the non-EGU emissions units. The                                                   dollars and reflect simple averages and
                                                 emissions unit type, the EPA provides a                                             average cost per ton values range from                                                    not a percentile or other representative
                                                 summary of the control technologies                                                 $939 to $14,595 per ton. Note that the                                                    cost values from a distribution of cost
                                                 applied and their average costs across                                              average cost per ton values are in 2016                                                   estimates.
                                                   TABLE V.C.2–3—BY INDUSTRY, EMISSIONS UNIT TYPE, ASSUMED CONTROL TECHNOLOGIES, AND ESTIMATED AVERAGE
                                                                 COST PER TON BY CONTROL TECHNOLOGY ACROSS ALL NON-EGU EMISSIONS UNITS
                                                                                                                                                                                                                                                                                            Average
                                                                                                                                                                                                                  Assumed control technologies that meet final                              cost/ton
                                                                       Industry/industries                                                           Emissions unit type                                                      emissions limits                                               values
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                                                                                                                                                                                                                                                                                            (2016$)

                                                 Pipeline Transportation of Natural Gas ................                      Reciprocating Internal Combustion Engine .........                               NSCR or Layered Combustion, Layered Com-                                         4,981
                                                                                                                                                                                                                bustion, SCR, NSCR.
                                                 Cement and Concrete Product Manufacturing .....                              Kiln .......................................................................     SNCR ..................................................................          1,632

                                                   233 We are not aware of existing non-EGU                                          If any such units in fact exist, they would be subject                                    Nevada that meets the applicability criteria in the
                                                 emissions units in Nevada that meet the                                             to the requirements of the rule just as in any other                                      final rule will be subject to the final rule’s
                                                 applicability criteria for non-EGUs in the final rule.                              state. In addition, any new emissions unit in                                             requirements. See section III.B.1.d.



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                                                   TABLE V.C.2–3—BY INDUSTRY, EMISSIONS UNIT TYPE, ASSUMED CONTROL TECHNOLOGIES, AND ESTIMATED AVERAGE
                                                            COST PER TON BY CONTROL TECHNOLOGY ACROSS ALL NON-EGU EMISSIONS UNITS—Continued
                                                                                                                                                                                                                                                                                          Average
                                                                                                                                                                                                           Assumed control technologies that meet final                                   cost/ton
                                                                      Industry/industries                                                      Emissions unit type                                                     emissions limits                                                    values
                                                                                                                                                                                                                                                                                          (2016$)

                                                 Iron and Steel Mills and Ferroalloy Manufacturing                      Reheat Furnaces .................................................                LNB ......................................................................           3,656
                                                 Glass and Glass Product Manufacturing ..............                   Furnaces ..............................................................          LNB ......................................................................             939
                                                 Iron and Steel Mills and Ferroalloy Manufacturing                      Boilers ..................................................................       SCR or LNB + FGR ............................................                        8,369
                                                 Metal Ore Mining ..................................................    ..............................................................................   ..............................................................................      14,595
                                                 Basic Chemical Manufacturing .............................             ..............................................................................   ..............................................................................      11,845
                                                 Petroleum and Coal Products Manufacturing .......                      ..............................................................................   ..............................................................................      14,582
                                                 Pulp, Paper, and Paperboard Mills .......................              ..............................................................................   ..............................................................................      14,134
                                                 Solid Waste Combustors and Incinerators ...........                    Combustors or Incinerators .................................                     ANSCR or LNTM and SNCR ...............................                               7,836

                                                       Overall Average Cost/Ton .............................           ..............................................................................   ..............................................................................       5,339



                                                    Refer to the memorandum titled                                             that the value may not be technically                                                    effectiveness thresholds the EPA uses at
                                                 ‘‘Summary of Final Rule Applicability                                         feasible to apply to existing sources that                                               Step 3 to evaluate EGU emissions
                                                 Criteria and Emissions Limits for Non-                                        would have to retrofit controls.                                                         control opportunities, this threshold is
                                                 EGU Emissions Units, Assumed Control                                            Response: The EPA notes that the                                                       not intended to represent the maximum
                                                 Technologies for Meeting the Final                                            primary purpose of the Screening                                                         cost any facility may need to expend but
                                                 Emissions Limits, and Estimated                                               Assessment of Potential Emissions                                                        is rather intended to be a representative
                                                 Emissions Units, Emissions Reductions,                                        Reductions, Air Quality Impacts, and                                                     figure for evaluating technologies to
                                                 and Costs’’ for additional estimates—                                         Costs from Non-EGU Emissions Units                                                       allow for a relative comparison between
                                                 including by industry and by state.                                           for 2026 (non-EGU screening                                                              different levels of control stringency.
                                                 These estimates are proxy estimates,                                          assessment) was to identify potentially                                                  The EPA’s potential cost threshold for
                                                 and the EPA also did not prepare                                              impactful industries and emissions unit                                                  non-EGU controls at proposal was
                                                 detailed engineering analyses for the                                         types for further evaluation.234 In the
                                                                                                                                                                                                                        intended to serve a similar
                                                 industries, facilities, and individual                                        non-EGU screening assessment
                                                                                                                                                                                                                        representative purpose. Based on the
                                                 emissions units identified for the final                                      memorandum we presented an
                                                                                                                               analytical framework to further analyze                                                  EPA’s updated analysis for this final
                                                 rule. Emissions units subject to the final
                                                 rule emissions limits may differ from                                         potential emissions reductions and costs                                                 rule, the EPA recognizes that the
                                                 those estimated in this assessment, and                                       and included proxy estimates for 2026.                                                   $7,500/ton threshold does not reflect the
                                                 the estimated emissions reductions from                                         As noted in section V.D. of this                                                       full range of cost-effectiveness values
                                                 and costs to meet the final rule                                              document, at proposal the EPA found                                                      that are likely present across the many
                                                 emissions limits may also differ from                                         that based on data available at that time                                                different types of non-EGU industries
                                                 those estimated in this assessment.                                           and for the purposes of the non-EGU                                                      and emissions units assessed.
                                                    Comment: Regarding the marginal                                            screening assessment, it appeared that a                                                    While the potentially impactful
                                                 cost threshold of $7,500/ton used to                                          $7,500 marginal cost-per-ton threshold                                                   industries (identified in Step 1 of the
                                                 assess potential emissions reductions in                                      could be used as a proxy to identify                                                     analytical framework presented in the
                                                 the non-EGU screening assessment                                              cost-effective emissions control                                                         non-EGU screening assessment) were
                                                 prepared for proposal, commenters                                             opportunities. Also, the $7,500 marginal                                                 directly used, the proxy estimates for
                                                 raised a range of questions, including (1)                                    cost-per-ton threshold is higher than the                                                emissions unit types, emissions
                                                 why the EPA used a marginal cost                                              cost-per-ton value used in the Revised                                                   reductions, and costs from the non-EGU
                                                 threshold that is much higher than the                                        Cross-State Air Pollution Rule Update
                                                                                                                                                                                                                        screening assessment were not directly
                                                 $2,000/ton threshold used in the 2021                                         because that rulemaking assessed
                                                                                                                                                                                                                        used to establish applicability
                                                 Revised CSAPR Update Rule, (2) why                                            significant contribution for the less
                                                                                                                                                                                                                        thresholds and emissions limits in the
                                                 the EPA used a ‘‘one size fits all’’                                          protective 2008 ozone NAAQS, and it is
                                                                                                                               reasonable when assessing significant                                                    proposal. To further evaluate the
                                                 approach for addressing the estimated                                                                                                                                  impactful industries and emissions unit
                                                 cost and actual emissions reductions                                          contribution associated with the more
                                                                                                                               protective 2015 ozone NAAQS, that a                                                      types and establish the proposed
                                                 achievable, particularly for existing                                                                                                                                  emissions limits, the EPA reviewed
                                                 sources of NOX emissions, (3) why the                                         potentially more costly universe of
                                                                                                                               emissions controls and related potential                                                 RACT rules, NSPS rules, NESHAP rules,
                                                 EPA set a $7,500/ton marginal cost                                                                                                                                     existing technical studies (e.g., Ozone
                                                 threshold for all non-EGUs, despite                                           reductions should be included in the
                                                                                                                               analysis.235 Similar to the role of cost-                                                Transport Commission, Technical
                                                 acknowledging the heterogeneity of
                                                                                                                                                                                                                        Information Oil and Gas Sector
                                                 industry, emissions unit types and                                               234 The non-EGU screening assessment                                                  Significant Stationary Sources of NOX
                                                 control options and failing to consider                                       memorandum is available in the docket here:                                              Emissions, October 17, 2012), rules in
                                                 the actual costs associated with                                              https://www.regulations.gov/document/EPA-HQ-
                                                 achieving the proposed reductions at                                          OAR-2021-0668-0150.                                                                      approved SIP submittals, consent
                                                 different types of emissions units in                                            235 As the amount of air pollution that is allowed                                    decrees, and permit limits.236
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                                                                                                                               in the ambient air is reduced (i.e., when a NAAQS
                                                 order to artificially inflate the marginal                                    is revised), it is reasonable to expect that further
                                                 cost threshold and to justify otherwise                                                                                                                                emissions reduction opportunities that were the
                                                                                                                               emissions reductions may be necessary to bring
                                                 cost-prohibitive NOX control                                                  areas into attainment with that more protective                                          least costly. The EPA noted this same possibility in
                                                                                                                               standard. At the same time, the available remaining                                      the original CSAPR rulemaking, see 76 FR 48210.
                                                 technologies. Commenters also stated                                                                                                                                     236 This review is detailed in the Final Non-EGU
                                                                                                                               emissions reduction opportunities will likely have
                                                 that controls for their industry are not                                      become more costly compared to a prior period,                                           Sectors TSD available in the docket here: https://
                                                 cost-effective using the EPA’s                                                because other CAA requirements, including such as                                        www.regulations.gov/document/EPA-HQ-OAR-
                                                 presumptive value of $7,500/ton and                                           earlier transport rules, will have consumed those                                        2021-0668-0145.



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                                                 D. Assessing Cost, EGU and Non-EGU                      and maintaining the 2015 ozone                         nonattainment to maintenance status up
                                                 NOX Reductions, and Air Quality                         NAAQS.                                                 through the stringency level ultimately
                                                    To determine the emissions that are                     In addition to the findings of cost-                selected by EPA. (And all receptors
                                                 significantly contributing to                           effectiveness, feasibility and widespread              show improvement in air quality even if
                                                 nonattainment or interfering with                       availability that support EPA’s                        their status does not change.) These
                                                 maintenance, the EPA applied the                        identification of the appropriate level of             analytic findings at Step 3 cement EPA’s
                                                 multi-factor test to EGUs and non-EGUs                  emissions-control stringency at Step 3                 identification of the selected EGU and
                                                 separately, considering for each the                    discussed in sections V.B and V.C, the                 non-EGU mitigation measures as the
                                                 relationship of cost, available emissions               findings regarding air quality                         appropriate control stringency to fulfill
                                                 reductions, and downwind air quality                    improvement in this section—as in prior                its statutory obligation to eliminate
                                                 impacts. Specifically, for each sector,                 transport rules—are a central                          significant contribution for the 2015
                                                 the EPA finalizes a determination                       component of our Step 3 analytic                       ozone NAAQS for the covered states.
                                                 regarding the appropriate level of                      findings as to the definition of                       The EPA also evaluated whether the
                                                 uniform NOX control stringency that                     ‘‘significant contribution.’’ EPA’s                    final rule resulted in possible over-
                                                 would collectively eliminate significant                assessment of air quality improvement                  control scenarios by evaluating if an
                                                 contribution to downwind                                for all of the emissions control strategies            upwind state is linked solely to
                                                 nonattainment and maintenance                           included shows continued air quality                   downwind air quality problems that
                                                 receptors. Based on the air quality                     improvement with each additional                       could have been resolved at a lower cost
                                                                                                         control strategy measure. Within the                   threshold, or if an upwind state could
                                                 results presented in this section, we find
                                                                                                         group of selected control strategies for               have reduced its emissions below the 1
                                                 that the emissions control strategies that
                                                                                                         EGUs and non-EGUs no clear ‘‘knee-in-                  percent of NAAQS air quality
                                                 were identified and evaluated in
                                                                                                         the-curve’’ is evident; i.e., there is no              contribution threshold at a lower cost
                                                 sections V.B and V.C of this document
                                                                                                         point at which there is a noticeable                   threshold. The Agency finds no
                                                 and found to be both cost-effective and
                                                                                                         decline in the rate of air quality                     overcontrol from this rule. See section
                                                 feasible, deliver meaningful air quality
                                                                                                         improvement up through the control                     V.D.4 of this document.
                                                 benefits through projected reductions in
                                                                                                         stringency level selected. However, if
                                                 ozone levels across the linked                                                                                 1. EGU Assessment
                                                                                                         EPA were to go beyond the selected
                                                 downwind nonattainment and
                                                                                                         control stringency through inclusion of
                                                 maintenance receptors in the relevant                                                                             For EGUs, the EPA examined the
                                                                                                         additional EGU or non-EGU NOX
                                                 analytic years 2023 and 2026. Further,                  mitigation technologies for the covered                emissions reduction potential associated
                                                 EPA finds the emissions control                         sources and unit-types that are, at least              with each EGU emissions control
                                                 strategies in upwind states that would                  on the record of this action, not widely               technology (presented in section V.C.1
                                                 deliver these benefits to be widely                     available, uncertain or untested, and/or               of this document) and its impact on the
                                                 available and in use at many other                      far more costly, a ‘‘knee-in-the-curve’’               air quality at downwind receptors.
                                                 similar EGU and non-EGU facilities                      does materialize, where the incremental                Specifically, EPA identified and
                                                 throughout the country, particularly in                 air quality benefit per dollar spent per               assessed the projected average air
                                                 those areas that have historically or now               ton on mitigation measures plateaus                    quality improvements relative to the
                                                 continue to struggle to attain and                      even as costs increase dramatically. In                base case and whether these
                                                 maintain the 2015 ozone NAAQS.                          the Revised CSAPR Update, EPA                          improvements are sufficient to shift the
                                                 Applying these emissions control                        explained that a knee in the curve ‘‘is                status of receptors from projected
                                                 strategies on a uniform basis across all                not on its own a justification for not                 nonattainment to maintenance or from
                                                 linked upwind states continues to                       requiring reductions beyond that point,’’              maintenance to attainment. Combining
                                                 constitute an efficient and equitable                   86 FR 23107, but does indicate that it                 these air quality factors, costs, and
                                                 solution to the problem of allocating                   is a useful indicator for informing                    emissions reductions, the EPA
                                                 upwind-state responsibility for the                     potential stopping points. The                         identified a control stringency for EGUs
                                                 elimination of significant contribution.                observation that no ‘‘knee-in-the-curve’’              that results in substantial air quality
                                                 This approach continues to effectively                  materializes at the stringency levels up               improvement from emissions controls
                                                 address the ‘‘thorny’’ causation problem                through that selected by EPA supports                  that are available in the timeframe for
                                                 of interstate pollution transport for                   EPA’s identified control stringency.                   which air quality problems at
                                                 regional-scale pollutants like ozone that                  Further, as the Supreme Court has                   downwind receptors persist. For all
                                                 transport over large distances and are                  explained, ‘‘while EPA has a statutory                 affected jurisdictions, this control
                                                 affected by the vagaries of meteorology.                duty to avoid over-control, the Agency                 stringency reflects, at a minimum, the
                                                 EME Homer City, 572 U.S. at 514–16. It                  also has a statutory obligation to avoid               optimization of existing post-
                                                 requires the most impactful sources in                  ‘under-control,’ i.e., to maximize                     combustion controls and installation of
                                                 each state that has been found to                       achievement of attainment downwind.’’                  state-of-the-art NOX combustion
                                                 contribute to ozone problems in other                   572 U.S. at 523. While the ultimate                    controls, which are widely available at
                                                 states to come up to minimum standards                  purpose of the good neighbor provision                 a representative cost of $1,800 per ton.
                                                 of environmental performance based on                   is to eliminate significant contribution               EPA’s evaluation also shows that the
                                                 demonstrated NOX pollution-control                      and not necessarily to resolve                         effective emissions rate performance
                                                 technology. Id. at 519. When the effects                downwind areas’ nonattainment and                      across affected EGUs consistent with
                                                 of these emissions reductions are                       maintenance problems, we have                          realization of these mitigation measures
                                                                                                                                                                does not over-control upwind states’
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                                                 assessed collectively across the                        evaluated the expected attainment
                                                 hundreds of EGU and non-EGU                             status at each identified receptor as we               emissions relative to either the
                                                 industrial sources that are subject to this             examine the air quality effects of the                 downwind air quality problems to
                                                 rule, the cumulative improvements in                    different emissions control strategies                 which they are linked at Step 1 or the
                                                 ozone levels at downwind receptors,                     identified. As discussed further in this               1 percent contribution threshold that
                                                 while they may vary to some extent, are                 section, the EPA notes that multiple                   triggers further evaluation at Step 3 of
                                                 both measurable and meaningful and                      receptors shift into projected attainment              the 4-step framework for the 2015 ozone
                                                 will assist downwind areas in attaining                 status or shift from projected                         NAAQS.


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                                                    Similarly, the EPA also identified                   implement (if it has not already) an                   Step 3 that no receptors switch from
                                                 installation of new SCR post-                           emissions control stringency for its                   maintenance to attainment or from
                                                 combustion controls at coal steam                       sources that is comparable to the                      nonattainment to maintenance with
                                                 sources greater than or equal to 100 MW                 upwind control stringency identified                   these mitigation strategies in place.
                                                 and for a more limited portion of the                   here. Consequently, the EPA is                         Table V.D.1–1 summarizes the results of
                                                 oil/gas steam fleet that had higher levels              accounting for the downwind state’s                    EPA’s Step 3 evaluation of air quality
                                                 of emissions as components of the                       ‘‘fair share’’ of the responsibility for               improvements at these receptors using
                                                 required control stringency. These SCR                  resolving a nonattainment or                           AQAT.
                                                 retrofits are widely available starting in              maintenance problem as a part of the
                                                                                                                                                                   For 2026, the EPA determined that the
                                                 the 2026 ozone season at $11,000 and                    over-control evaluation.237
                                                                                                                                                                average air quality improvement at these
                                                 $7,700 per ton respectively. For all but                   For this assessment, the EPA used an
                                                                                                         ozone air quality assessment tool (ozone               receptors relative to the engineering
                                                 3 of the affected states (Alabama,
                                                 Minnesota, and Wisconsin, which are                     AQAT) to estimate downwind changes                     analytics base case was 0.47 ppb for
                                                 no longer linked in 2026 at Steps 1 and                 in ozone concentrations related to                     emissions reductions commensurate
                                                 2 in EPA’s base case air quality                        upwind changes in emissions levels.                    with optimization of existing SCRs/
                                                 modeling for this final rule), EPA’s                    The EPA focused its assessment on the                  SNCRs, combustion control upgrades,
                                                 evaluation shows that the effective                     years 2023 and 2026 as they pertain to                 and new post-combustion control (SCR
                                                 emissions rate performance across EGUs                  the last years for which ozone season                  and SNCR) retrofits at eligible units are
                                                 consistent with the full realization of                 emissions data can be used for purposes                assumed to be implemented. The EPA
                                                 these mitigation measures does not                      of determining attainment for the                      determined for the purposes of Step 3
                                                 over-control upwind states’ emissions in                Moderate (2024) and Serious (2027)                     that in 2026, all but one of the receptors
                                                 2026 relative to either the downwind air                attainment dates. For each EGU                         are expected to remain nonattainment or
                                                 quality problems to which they are                      emissions control technology, the EPA                  maintenance across these control
                                                 linked at Step 1 or the 1 percent                       first evaluated the magnitude of the                   stringencies, with one receptor in
                                                 contribution threshold that triggers                    change in ozone concentrations at the                  Larimer County, Colorado (Monitor
                                                 further evaluation at Step 3 of the 4-step              nonattainment and maintenance                          080690011), switching from
                                                 framework for the 2015 ozone NAAQS                      receptors for each relevant year (i.e.,                maintenance to attainment and two
                                                 (see the Ozone Transport Policy                         2023 and 2026). Next, the EPA                          receptors (one in Fairfield County,
                                                 Analysis Final Rule TSD for details).                   evaluated whether the estimated change                 Connecticut (Monitor 90013007), and
                                                    To assess downwind air quality                       in concentration would resolve the                     one in Galveston, Texas (Monitor ID
                                                 impacts for the nonattainment and                       receptor’s nonattainment or                            481671034)) switching from
                                                 maintenance receptors identified in                     maintenance concern by lowering the                    nonattainment to maintenance with
                                                 section IV.D of this document, the EPA                  average or maximum design values,                      these mitigation strategies in place.238
                                                 evaluated the air quality change at that                respectively, below 71 ppb. For a                      Table V.D.1–2 summarizes the results of
                                                 receptor expected from the                              complete set of estimates, see the Ozone               EPA’s Step 3 evaluation of air quality
                                                 progressively more stringent upwind                     Transport Policy Analysis Final Rule                   improvements at the receptors included
                                                 EGU control stringencies that were                      TSD or the ozone AQAT Excel file.                      in the AQAT analysis. For more
                                                 available for that time period in upwind                   For 2023, the EPA evaluated potential               information about how this assessment
                                                 states linked to that receptor. This                    air quality improvements at the                        was performed and the results of the
                                                 assessment provides the downwind                        downwind receptors outside of                          analysis for each receptor, refer to the
                                                 ozone improvements for consideration                    California associated with available                   Ozone Transport Policy Analysis Final
                                                 and provides air quality data that is                   EGU emissions control technologies in                  Rule TSD and to the Ozone AQAT
                                                 used to evaluate potential over-control                 that timeframe. The EPA determined for                 included in the docket for this rule.
                                                 situations.                                             the purposes of Step 3 that the average
                                                                                                                                                                  238 As in prior rules, for the purpose of defining
                                                    To assess the air quality impacts of                 air quality improvement at the receptors
                                                                                                                                                                significant contribution at Step 3, the EPA
                                                 the various control stringencies at                     relative to the engineering analytics base             evaluated air quality changes resulting from the
                                                 downwind receptors for the purposes of                  case was 0.06 ppb for emissions                        application of the emissions reductions in only
                                                 Step 3, the EPA evaluated changes                       reductions commensurate with                           those states that are linked to each receptor as well
                                                 resulting from the emissions reductions                 optimization of existing SCRs/SNCRs                    as the state containing the receptor. By applying
                                                 associated with the identified emissions                                                                       reductions to the state containing the receptor, the
                                                                                                         and combustion control upgrades. The
                                                                                                                                                                EPA ensures that it is accounting for the downwind
                                                 controls in each of the upwind states, as               EPA determined for the purposes of                     state’s fair share. This method holds each upwind
                                                 well as assumed corresponding                                                                                  state responsible for its fair share of the downwind
                                                 reductions of similar stringency in the                    237 For EGUs, this analysis for the Connecticut     problems to which it is linked. Reductions made by
                                                 downwind state containing the receptor                  receptors shows no EGU reduction potential in          other states to address air quality problems at other
                                                 to which they are linked. By applying                   Connecticut from the emissions reduction measures      receptors do not increase or decrease this share. The
                                                                                                         identified given that state’s already low-emitting     air quality impacts on design values that reflect the
                                                 these emissions reductions to the state                 fleet; however, EGU reductions were identified in      emissions reductions in all linked states action are
                                                 containing the receptor, the EPA                        Colorado and these reductions were included in the     further discussed in sections V.D.3 and V.D.4 of this
                                                 assumes that the downwind state will                    over-control analysis.                                 document.
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                                                          TABLE V.D.1–1—AIR QUALITY AT THE RECEPTORS IN 2023 FROM EGU EMISSIONS CONTROL TECHNOLOGIES a
                                                                                                                                                                                                                        Average DV                                              Max DV
                                                                                                                                                                                                                           (ppb)                                                 (ppb)

                                                           Monitor ID No.                                         State                                               County                                                         SCR/SNCR                                              SCR/SNCR
                                                                                                                                                                                                           Baseline                                              Baseline
                                                                                                                                                                                                                                     optimization                                          optimization
                                                                                                                                                                                                         (engineering                                          (engineering
                                                                                                                                                                                                                                        + LNB                                                + LNB
                                                                                                                                                                                                           analysis)                                             analysis)
                                                                                                                                                                                                                                       upgrade                                              upgrade

                                                 40278011 ................................     Arizona ...................................         Yuma ......................................                         70.36                      70.34                      72.05                      72.04
                                                 80350004 ................................     Colorado .................................          Douglas ..................................                          71.12                      71.10                      71.71                      71.70
                                                 80590006 ................................     Colorado .................................          Jefferson .................................                         72.63                      72.61                      73.32                      73.31
                                                 80590011 ................................     Colorado .................................          Jefferson .................................                         73.29                      73.27                      73.89                      73.87
                                                 80690011 ................................     Colorado .................................          Larimer ...................................                         70.79                      70.78                      71.99                      71.98
                                                 90010017 ................................     Connecticut .............................           Fairfield ...................................                       71.62                      71.56                      72.22                      72.16
                                                 90013007 ................................     Connecticut .............................           Fairfield ...................................                       72.99                      72.90                      73.89                      73.80
                                                 90019003 ................................     Connecticut .............................           Fairfield ...................................                       73.32                      73.25                      73.62                      73.55
                                                 90099002 ................................     Connecticut .............................           New Haven .............................                             70.61                      70.51                      72.71                      72.61
                                                 170310001 ..............................      Illinois ......................................     Cook .......................................                        68.13                      68.11                      71.82                      71.80
                                                 170314201 ..............................      Illinois ......................................     Cook .......................................                        67.92                      67.88                      71.41                      71.37
                                                 170317002 ..............................      Illinois ......................................     Cook .......................................                        68.47                      68.37                      71.27                      71.17
                                                 350130021 ..............................      New Mexico ............................             Dona Ana ...............................                            70.83                      70.82                      72.13                      72.12
                                                 350130022 ..............................      New Mexico ............................             Dona Ana ...............................                            69.73                      69.72                      72.43                      72.42
                                                 350151005 ..............................      New Mexico b ..........................             Eddy .......................................         ........................   ........................   ........................   ........................
                                                 350250008 ..............................      New Mexico ............................             Lea ..........................................       ........................   ........................   ........................   ........................
                                                 480391004 ..............................      Texas ......................................        Brazoria ..................................                         70.59                      70.52                      72.69                      72.62
                                                 481210034 ..............................      Texas ......................................        Denton ....................................                         69.93                      69.88                      71.73                      71.68
                                                 481410037 ..............................      Texas ......................................        El Paso ...................................                         69.82                      69.81                      71.43                      71.41
                                                 481671034 ..............................      Texas ......................................        Galveston ...............................                           71.82                      71.70                      73.13                      73.01
                                                 482010024 ..............................      Texas ......................................        Harris ......................................                       75.33                      75.25                      76.93                      76.85
                                                 482010055 ..............................      Texas ......................................        Harris ......................................                       71.19                      71.10                      72.20                      72.10
                                                 482011034 ..............................      Texas ......................................        Harris ......................................                       70.32                      70.25                      71.52                      71.45
                                                 482011035 ..............................      Texas ......................................        Harris ......................................                       68.01                      67.94                      71.52                      71.45
                                                 490110004 ..............................      Utah ........................................       Davis .......................................                       71.88                      71.87                      74.08                      74.07
                                                 490353006 ..............................      Utah ........................................       Salt Lake ................................                          72.48                      72.47                      74.07                      74.06
                                                 490353013 ..............................      Utah ........................................       Salt Lake ................................                          73.21                      73.20                      73.71                      73.70
                                                 550590019 ..............................      Wisconsin ...............................           Kenosha .................................                           70.75                      70.65                      71.65                      71.55
                                                 551010020 ..............................      Wisconsin ...............................           Racine ....................................                         69.59                      69.46                      71.39                      71.25
                                                 551170006 ..............................      Wisconsin ...............................           Sheboygan .............................                             72.64                      72.46                      73.54                      73.36

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                             ........................   ........................   ........................                   0.06

                                                      Total PPB Change Across All Receptors Relative to Base c                                   ....................................................   ........................   ........................   ........................                   1.58
                                                    Table Notes:
                                                    a The EPA notes that the design values reflected in tables V.D.1–1 and –2 correspond to the engineering analysis EGU emissions inventory that was used in AQAT
                                                 to determine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone Transport Policy Analysis Final Rule
                                                 TSD.
                                                    b New Mexico Eddy and Lea monitors have no values in tables V.D.1–1 and 1–2 as EPA does not have calibration factors for these monitors as no contributions
                                                 were calculated for them from the proposal AQ modeling
                                                    c The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close proximity to one another)
                                                 in this part of the Step 3 analysis. Section VIII of this document provides a more complete picture of the air quality impacts of the final rule.

                                                                TABLE V.D.1–2—AIR QUALITY AT RECEPTORS IN 2026 FROM EGU EMISSIONS CONTROL TECHNOLOGIES
                                                                                                                                                                                                                        Average DV                                              Max DV
                                                                                                                                                                                                                           (ppb)                                                 (ppb)

                                                                                                                                                                                                                                     SCR/SNCR                                              SCR/SNCR
                                                          Monitor ID No.                                          State                                                 County                                                       optimization                                          optimization
                                                                                                                                                                                                           Baseline                                              Baseline
                                                                                                                                                                                                                                        + LNB                                                 + LNB
                                                                                                                                                                                                         (engineering                                          (engineering
                                                                                                                                                                                                                                      upgrade +                                             upgrade +
                                                                                                                                                                                                           analysis)                                             analysis)
                                                                                                                                                                                                                                     SCR/SNCR                                              SCR/SNCR
                                                                                                                                                                                                                                        retrofit                                              retrofit

                                                 40278011 .............................      Arizona ..........................................       Yuma ...................................                         69.87                      69.84                      71.47                      71.44
                                                 80590006 .............................      Colorado .......................................         Jefferson ..............................                         71.70                      71.36                      72.30                      71.95
                                                 80590011 .............................      Colorado .......................................         Jefferson ..............................                         72.06                      71.59                      72.66                      72.19
                                                 80690011 .............................      Colorado .......................................         Larimer ................................                         69.84                      69.54                      71.04                      70.73
                                                 90013007 .............................      Connecticut ...................................          Fairfield ................................                       71.25                      70.98                      72.06                      71.78
                                                 90019003 .............................      Connecticut ...................................          Fairfield ................................                       71.58                      71.34                      71.78                      71.54
                                                 350130021 ...........................       New Mexico ..................................            Dona Ana ............................                            70.06                      69.89                      71.36                      71.19
                                                 350130022 ...........................       New Mexico ..................................            Dona Ana ............................                            69.17                      69.00                      71.77                      71.60
                                                 350151005 ...........................       New Mexico ..................................            Eddy ....................................         ........................   ........................   ........................   ........................
                                                 350250008 ...........................       New Mexico ..................................            Lea .......................................       ........................   ........................   ........................   ........................
                                                 480391004 ...........................       Texas ............................................       Brazoria ...............................                         69.89                      68.96                      72.02                      71.06
                                                 481671034 ...........................       Texas ............................................       Galveston ............................                           71.29                      70.02                      72.51                      71.22
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                                                 482010024 ...........................       Texas ............................................       Harris ...................................                       74.83                      73.86                      76.45                      75.46
                                                 490110004 ...........................       Utah ..............................................      Davis ....................................                       69.90                      69.34                      72.10                      71.52
                                                 490353006 ...........................       Utah ..............................................      Salt Lake .............................                          70.50                      69.96                      72.10                      71.55
                                                 490353013 ...........................       Utah ..............................................      Salt Lake .............................                          71.91                      71.45                      72.31                      71.84
                                                 551170006 ...........................       Wisconsin .....................................          Sheboygan ..........................                             70.83                      70.51                      71.73                      71.41

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                             ........................   ........................   ........................                   0.47

                                                      Total PPB Change Across All Receptors Relative to Base (ppb) .............................................                                        ........................   ........................   ........................                   7.04




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                                                    Figures 1 and 2 to section V.D.1 of                  implemented emissions reduction                        dates.242 Programs like North Carolina’s
                                                 this document, included in Appendix I                   strategies that will have meaningful                   Clean Smokestacks Act and Colorado’s
                                                 of the Ozone Transport Policy Analysis                  downwind air quality impact.                           Clean Air, Clean Jobs Act have also
                                                 Final Rule TSD available in the docket                     Moreover, these technologies (and                   required or prompted SCR retrofits on
                                                 for this rulemaking, illustrate the air                 representative cost) are demonstrated                  units.243 Unit-level BART requirements
                                                 quality improvement relative to the                     ozone pollution mitigation strategies                  for the first Regional Haze planning
                                                 estimated representative cost associated                that are widely practiced across the EGU               period also determined SCR retrofits
                                                 with the previously identified emissions                fleet and are of comparable stringency to              (and corresponding emissions rates)
                                                 control technologies. The graphs show                                                                          were cost-effective controls for a variety
                                                                                                         emissions reduction measures that
                                                 improving air quality at the downwind                                                                          of sources in the U.S.244
                                                                                                         many downwind states have already
                                                 receptors as emissions reductions                       instituted. The coal SCR retrofit                         As shown in Figure 1 to section V.D.1
                                                 commensurate with the identified                        measures driving the majority of the                   of this document,245 the majority of
                                                 control technologies are assumed to be                  emissions reductions in this action not                EGU emissions reduction potential and
                                                 implemented. Figure 1 to section V.D.1                  only reflect industry best practice, but               associated air quality improvements
                                                 of this document reflects emissions                     they also reflect prevailing practice                  estimated for 2023 occurs from
                                                 reductions commensurate with                            among EGUs. More than 66 percent of                    optimization of existing SCRs, with
                                                 optimization of existing SNCRs and                                                                             some additional reductions from
                                                                                                         the existing coal capacity already has
                                                 SCRs. Figure 2 to section V.D.1 of this                                                                        installation of state-of-the-art
                                                                                                         this technology in place. For nearly 25
                                                 document reflects emissions reductions                                                                         combustion controls at the same
                                                                                                         years, all new coal-fired EGUs that
                                                 commensurate with installation of new                                                                          representative cost threshold. At the
                                                                                                         commenced construction have had SCR
                                                 post combustion controls (mainly SCRs)                                                                         slightly higher representative cost
                                                                                                         (or equivalent emissions rates). The
                                                 layered on top of the emissions                                                                                threshold of $1,800 per ton, there is
                                                                                                         1997 proposed amendments to subpart
                                                 reduction potential from the                                                                                   some additional air quality
                                                                                                         Da revised the NOX standard based on
                                                 technologies represented in Figure 1 to                                                                        improvement from optimization of
                                                 section V.D.1 of this document. The                     the use of SCR. The NOX SIP Call
                                                                                                                                                                existing SNCRs. These measures taken
                                                 graphic, and underlying AQAT                            (promulgated in 1998) established
                                                                                                                                                                together represent the control stringency
                                                 receptor-by-receptor analysis                           emissions reduction requirements                       at which near-term incremental EGU
                                                 demonstrates that air quality continues                 premised on extensive SCR installation                 NOX reduction potential and
                                                 to improve at downwind receptors as                     (142 units) and incentivized well over                 corresponding downwind ozone air
                                                 EPA examines increasingly stringent                     40 GWs of SCR retrofit in the ensuing                  quality improvements are maximized.
                                                 EGU NOX control technologies. While                     years.239 Similarly, the Clean Air                     This evaluation shows that EGU NOX
                                                 all major technology breakpoints                        Interstate Rule established emissions                  reductions for each of the near-term
                                                 identified in sections V.B and V.C of                   reductions requirements in 2006 that                   emissions control technologies are
                                                 this document show continued air                        assumed SCR would be installed on                      available at reasonable cost and that
                                                 quality improvements at problematic                     another 58 units (15 GW) in the ensuing                these reductions provide meaningful
                                                 receptors and at cost and technology                    years among just 10 states, and an even                improvements in downwind ozone
                                                 levels that are commensurate with                       greater volume of capacity chose SCR                   concentrations at the identified
                                                 mitigation strategies that are proven to                retrofit measures in the wake of                       nonattainment and maintenance
                                                 be widely available and implemented,                    finalizing that action.240                             receptors. Figure 1 to section V.D.1 of
                                                 EPA’s quantification and application of                    Basing emissions reduction                          this document 246 highlights (1) the
                                                 those breakpoints reflect certain                       requirements for EGUs on SCR retrofits                 continuous connection between
                                                 exclusions to: (1) preserve this                        is also consistent with regulatory                     identified emissions reduction potential
                                                 consistency with widely observed                        approaches adopted by states, which—                   and downwind air quality improvement
                                                 mitigation measures in states, and (2)                  particularly in downwind areas more                    across the range of near-term mitigation
                                                 remove any retrofit assumptions at                      impacted by ozone transport                            measures assessed, and (2) the cost-
                                                 marginal units that would have much                     contribution from upwind state                         effective availability of these reductions
                                                 higher dollar per ton representative cost               emissions—have already adopted SCR-                    and corresponding air quality
                                                 and little or no air quality benefit. For               based standards as part of stringent NOX               improvements.
                                                 instance, the EPA does not define the                   control programs. Regulatory programs                     Additional considerations that are
                                                 SCR retrofit breakpoint ($11,000 per                    that impose stringent RACT                             unique to EGUs provide additional
                                                 ton) to include retrofit application at                 requirements on all major power plants                 support for EPA’s determination to
                                                 steam units less than 100 MW or at oil/                 and Lowest Achievable Emission Rate                    include SCR and SNCR optimization as
                                                 gas steam units emitting at less than 150               (LAER) standards on all new major                      part of the identified near-term control
                                                 tons per ozone season. The emissions                    sources of NOX have resulted in                        stringency, including:
                                                 reductions from these potential                         remaining coal-fired generating
                                                 categories of measures are small and do                 resources in states along the Northeast                   242 COMAR 26.11.38 (control of NO Emissions
                                                                                                                                                                                                        X
                                                 not constitute additional ‘‘breakpoints’’               Corridor such as Connecticut, Delaware,                from Coal-Fired Electric Generating Units).
                                                 in EPA’s estimation. They would entail                  New Jersey, New York, and                                 243 https://www.epa.gov/system/files/documents/

                                                 much higher dollar per ton costs, going                 Massachusetts all being retrofitted with               2021-09/table-3-30-state-power-sector-regulations-
                                                 beyond what is widely observed in the                                                                          included-in-epa-platform-v6-summer-2021-refe.pdf.
                                                                                                         SCR.241 The Maryland Code of                              244 See table 3–35 BART regulations in EPA IPM
                                                 fleet. This careful calibration of
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                                                                                                         Regulations requires coal-fired sources                documentation available at https://www.epa.gov/
                                                 technology breakpoints through                          to operate existing SCR controls or                    airmarkets/documentation-epas-power-sector-
                                                 exclusion of measures that are clearly                  install SCR controls by specified                      modeling-platform-v6-summer-2021-reference-case.
                                                 not cost-effective in terms of air quality                                                                        245 Included in Appendix I of the Ozone

                                                 benefit allows for the identification of                                                                       Transport Policy Analysis Final Rule TSD, which
                                                                                                           239 63 FR 57448.
                                                                                                                                                                is available in the docket for this rulemaking.
                                                 an EGU uniform control stringency that                    240 71 FR 25345.                                        246 Included in Appendix I of the Ozone
                                                 is an appropriate reflection of those                      241 EPA–HQ–OAR–2020–0272. Comment letter            Transport Policy Analysis Final Rule TSD, which
                                                 readily available and widely                            from Attorneys General of NY, NJ, CT, DE, MA.          is available in the docket for this rulemaking.



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                                                    • these controls are already installed               continuous connection between                          improvement at problematic receptors,
                                                 and available for operation on these                    identified emissions reduction potential               and the cost associated with these
                                                 units;                                                  and downwind air quality improvement                   measures increases substantially on a
                                                    • they are on average already partially              across the range of mitigation measures                dollar per ton basis. The graphic
                                                 operating, but not necessarily                          assessed in 2026. At no point do the                   capturing this effect (located in
                                                 optimized;                                              additional emissions mitigation                        Appendix I of the Ozone Transport
                                                    • the reductions are available in the                measures examined here fail to produce                 Policy Analysis Final Rule TSD)
                                                 near-term (during ozone seasons when                    corresponding downwind air quality                     illustrates the significant decline in
                                                 the problematic receptors are projected                 improvements.                                          cost-effectiveness of reductions if these
                                                 to persist), including by the 2023 ozone                   The EPA is determining that the                     measures had been included in EPA’s
                                                 season aligned with the Moderate area                   appropriate EGU control stringency is                  final stringency.248
                                                 attainment date; and                                    commensurate with the full operation of
                                                    • these sources are already covered                  all existing post-combustion controls                  2. Non-EGU Assessment
                                                 under the existing CSAPR NOX Ozone                      (both SCRs and SNCRs) and state-of-the-                   Using a 2019 emissions inventory, the
                                                 Season Group 2 or Group 3 Trading                       art combustion control upgrades for                    list of emissions units estimated to be
                                                 Programs or the Acid Rain Program and                   those states linked to downwind                        captured by the applicability criteria,
                                                 thus have the monitoring, reporting,                    nonattainment or maintenance receptors                 the assumed control technologies that
                                                 recordkeeping, and all other necessary                  in 2023. For those states also linked in               would meet the emissions limits, and
                                                 elements of compliance with the trading                 2026, the EPA is determining that the                  information on control efficiencies and
                                                 program already in place.                               appropriate EGU control stringency also                default cost/ton values from the control
                                                    The majority of EGU emissions                        includes emissions reductions                          measures database, the EPA estimated
                                                 reduction potential and associated air                  commensurate with the retrofit of SCR                  NOX emissions reductions and costs for
                                                 quality improvements estimated to start                 at coal steam units of 100 MW or greater               the year 2026. Given the EPA’s
                                                 in 2026 occur from retrofitting                         capacity (excepting circulating fluidized              conclusion that the 2026 ozone season
                                                 uncontrolled steam sources with post-                   bed units), new SNCR on coal steam                     is the earliest date by which the
                                                 combustion controls. At the                             units of less than 100 MW capacity and                 required controls can be installed across
                                                 representative cost threshold of $11,000                circulating fluidized bed units, and SCR               the identified non-EGU industries, the
                                                 per ton, there are significant additional               on oil/gas steam units greater than 100                EPA assessed the effects of these
                                                 air quality improvements from                           MW that have historically emitted at                   controls in 2026 under its multi-factor
                                                 emissions reductions commensurate                       least 150 tons of NOX per ozone season.                test. In the assessment, we matched
                                                 with installation of new SCRs and                          As noted previously in section V.B of               emissions units by Source Classification
                                                 SNCRs. These measures taken together                    this document and in the EGU NOX                       Code (SCC) from the inventory to the
                                                 with the near-term emissions reduction                  Mitigation Strategies Final Rule TSD,                  applicable control technologies in the
                                                 measures described previously                           the EPA considered other methods of                    CMDB. We modified SCC codes as
                                                 represent the level of control stringency               identifying mitigation measures (e.g.,                 necessary to match control technologies
                                                 in 2026 at which incremental EGU NOX                    SCRs on smaller units, combustion                      to inventory records. For additional
                                                 reduction potential and corresponding                   control upgrades on combustion                         details about the steps taken to estimate
                                                 downwind ozone air quality                              turbines, SCRs on combined cycle and                   emissions units, emissions reductions,
                                                 improvements are maximized. This                        simple cycle combustion turbines). The                 and costs, see the memorandum titled
                                                 evaluation shows that EGU NOX                           emissions reductions from these                        ‘‘Summary of Final Rule Applicability
                                                 reductions for each of the emissions                    potential categories of measures do not                Criteria and Emissions Limits for Non-
                                                 control technologies are available at                   constitute additional ‘‘technology                     EGU Emissions Units, Assumed Control
                                                 reasonable cost and that these                          breakpoints’’ in EPA’s estimation, but                 Technologies for Meeting the Final
                                                 reductions can provide improvements                     rather reflect a different tier of                     Emissions Limits, and Estimated
                                                 in downwind ozone concentrations at                     assessment where further mitigation                    Emissions Units, Emissions Reductions,
                                                 the identified nonattainment and                        measures are based on inclusion of                     and Costs’’ available in the docket. The
                                                 maintenance receptors.                                  smaller and/or different generator-type                estimates using the 2019 inventory and
                                                    The EPA finds that the control                       units (rather than different pollution                 information from the CMDB identify
                                                 stringency that reflects optimization of                control technologies). Emissions                       proxies for emissions units, as well as
                                                 existing SCRs and SNCRs, installation of                reductions from these measures are                     emissions reductions, and costs
                                                 state-of-the-art combustion controls, and               relatively small and would entail much                 associated with the assumed control
                                                 the retrofitting of new post combustion                 higher dollar per ton costs, going
                                                 controls at the coal and oil/gas steam                  beyond what is widely observed in the                     248 This is not to discount the potential

                                                                                                         fleet. Although these additional                       effectiveness of these or other NOX mitigation
                                                 capacity described previously is                                                                               strategies outside the context of this rulemaking,
                                                 projected to result in nearly 73,000 tons               measures are not included in EPA’s                     which addresses regional ozone transport on a
                                                 of NOX reduction (approximately 40                      technology breakpoint analysis                         nationwide basis based on the present record. States
                                                 percent of the 2026 baseline level) for                 discussed in this section, the EPA did                 and local jurisdictions may find such measures
                                                                                                         analyze the cost, potential reductions,                particularly impactful or necessary in the context of
                                                 the 19 linked states in 2026 subject to                                                                        local attainment planning or other unique
                                                 a FIP for EGUs, which will deliver                      and air quality impact of these                        circumstances. Further, while the EPA finds on the
                                                 notable air quality improvements across                 additional measures to affirm that they                present record that this rule is a complete remedy
                                                 all transport-impacted receptors and                    do not merit inclusion in the final                    to the problem of interstate transport for the 2015
                                                                                                                                                                ozone NAAQS for the covered states, the EPA has
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                                                 assist in fully resolving one downwind                  stringency for this action. That analysis
                                                                                                                                                                in the past recognized that circumstances may arise
                                                 air quality receptor for the 2015 ozone                 shows the potential emissions                          after the promulgation of remedies under CAA
                                                 NAAQS. Figure 2 to section V.D.1 of                     reductions and air quality                             section 110(a)(2)(D)(i)(I) in which the exercise of
                                                 this document 247 demonstrates the                      improvements from these additional                     further remedial authority against specific
                                                                                                         measures occur beyond a notable ‘‘knee-                stationary sources or groups of sources under CAA
                                                                                                                                                                section 126 may be warranted. See Response to
                                                    247 Included in Appendix I of the Ozone              in-the-curve’’ breakpoint. In other                    Clean Air Act Section 126(b) Petition From
                                                 Transport Policy Analysis Final Rule TSD, which         words, there are very little additional                Delaware and Maryland, 83 FR 50444, 50453–54
                                                 is available in the docket for this rulemaking.         emissions reductions and air quality                   (Oct. 5, 2018).



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                                                 technologies that would meet the final                  seven industries were identified as                       Nonetheless, overall the EPA finds
                                                 emissions limits. Emissions units                       having emissions and potential                         that the range of cost-effectiveness
                                                 subject to the final rule emissions limits              emissions reduction opportunities that                 values for non-EGU industries and
                                                 may differ from those estimated in this                 met the EPA’s air quality criteria for                 emissions units compares favorably
                                                 assessment, and the estimated emissions                 further assessment.                                    with the values used to evaluate EGUs.
                                                 reductions from, and costs to meet, the                    At proposal, the EPA found that based               As discussed in the preceding
                                                 final rule emissions limits may also                    on data available at that time and for the             paragraphs, the representative cost for
                                                 differ from those estimated in this                     purposes of the screening assessment, it               EGUs to retrofit SCR is $11,000/ton.
                                                 assessment. The costs do not include                    appeared that a $7,500 marginal cost-                  This reflects a range of cost estimates,
                                                 monitoring, recordkeeping, reporting, or                per-ton threshold could be used as a                   with $20,900/ton reflecting the 90th
                                                 testing costs.                                          proxy to identify cost-effective                       percentile of units (see section V.B.a of
                                                    After reviewing public comments and                  emissions control opportunities. Similar               this document). The higher end of the
                                                 updating some of the data used to                       to the role of cost-effectiveness                      estimated average cost range for certain
                                                 provide an accurate assessment of the                   thresholds the EPA uses at Step 3 to                   non-EGU industrial emissions units is
                                                 likely potential emissions reductions                   evaluate EGU emissions control                         also in that range. While specific
                                                 that could be achieved from the                         opportunities, this threshold is not                   emissions units may have higher costs
                                                 identified emissions units in the                       intended to represent the maximum cost                 associated with installing pollution
                                                 industries analyzed for proposal, the                   any facility may need to expend but is                 control technologies than other similar
                                                 EPA finds that in general, these                        rather intended to be a representative                 unit types, this does not in itself
                                                 emissions reductions (with some                         figure for evaluating technologies to                  undermine the Agency’s conclusion that
                                                 modifications from proposal) are                        allow for a relative comparison between                a level of emissions control associated
                                                 necessary to eliminate significant                      different levels of control stringency.                with a specific emissions limit or
                                                 contribution at Step 3. The EPA’s use of                For example, in the EGU analysis, the                  control technology is appropriate to
                                                 the analytical framework presented in                   $11,000/ton average cost threshold for                 require across the linked upwind state
                                                 the non-EGU screening assessment to                     an SCR retrofit represents a range of                  region, in light of the overall emissions
                                                 identify potentially impactful industries               SCR retrofit costs for units for which the             reductions and air quality benefits at
                                                 and emissions unit types in the proposal                90th percentile cost-per-ton is roughly                downwind receptors that those controls
                                                 remains valid. The EPA’s criteria were                  $21,000. See section V.B.a of this                     are projected to deliver.
                                                 intended to identify industries and                                                                               We note that the non-EGU control
                                                                                                         document. The EPA’s potential cost
                                                 emissions unit types that on a broad                                                                           cost estimates in this final rule were
                                                                                                         threshold for non-EGU controls at
                                                 scale impact multiple receptors to                                                                             based on historical actual emissions.
                                                                                                         proposal was intended to serve a similar
                                                 varying degrees. The EPA focused its                                                                           This can affect the presentation of cost-
                                                                                                         representative purpose. We respond
                                                 non-EGU screening assessment on (1)                                                                            per-ton values at the unit level, and it
                                                                                                         briefly to comments regarding the use of
                                                 emissions and potential emissions                                                                              would not be appropriate to abandon
                                                                                                         the $7,500/ton threshold in section V.C
                                                 reductions from these industries and                                                                           uniform control stringency among like
                                                                                                         of this document. Comments regarding
                                                 emissions units and (2) the potential                                                                          units in the covered industries across or
                                                                                                         the screening assessment are further
                                                 impact that emissions reductions from                                                                          within upwind states based on such cost
                                                                                                         addressed in section 2.2 of the response
                                                 those industries and emissions units                                                                           differentials.
                                                                                                         to comments document in the docket.                       The EPA finds it appropriate to
                                                 could deliver to the receptors.                            Based on the EPA’s updated analysis
                                                    While commenters criticized the                                                                             require a uniform level of emissions
                                                                                                         for this final rule, the EPA recognizes                control across similar emissions unit
                                                 analytical framework in the non-EGU                     that the $7,500/ton threshold does not
                                                 screening assessment for assuming                                                                              types to, among other things, prevent
                                                                                                         reflect the full range of cost-                        two potential outcomes related to
                                                 potentially unachievable emissions                      effectiveness values that are likely
                                                 reductions at Step 3, or for not                                                                               shifting production, either between
                                                                                                         present across the many different types                units within the same facility or
                                                 corresponding to a precise list of                      of non-EGU industries and emissions
                                                 emissions units that would be covered                                                                          between units at different facilities.
                                                                                                         units assessed. However, the EPA                       First, if some units were exempted from
                                                 at Step 4, these comments did not offer                 nonetheless finds that, with some                      control requirements because of
                                                 an alternative methodology for the Step                 adjustments from proposal, the overall                 historically low actual emissions, there
                                                 3 analysis to identify those industries                 mix of emissions controls it identified at             is a risk that source owners or operators
                                                 and emissions units that potentially                    proposal is appropriate to eliminate                   may shift production to these specific
                                                 have the greatest impact and therefore                  significant contribution to                            units, increasing their utilization and
                                                 should be scrutinized more closely for                  nonattainment or interference with                     resulting in emissions increases from
                                                 emissions reduction opportunities.249                   maintenance in downwind areas. In the                  these units. Second, if some owners or
                                                 Further, contrary to some commenters’                   final analysis, we find that the average               operators were able to avoid the control
                                                 assertions, the EPA’s assessment did not                cost-per-ton of emissions reductions                   requirements of the final rule on this
                                                 result in an unbounded scope of                         across all non-EGU industries in this                  basis, they could gain a competitive
                                                 regulation of industrial sources. Of the                rule generally ranges from                             advantage vis-à-vis other facilities
                                                 approximately 40 industries defined by                  approximately $939/ton to $14,595/ton,                 within their respective industries.
                                                 North American Industry Classification                  with an overall average of                             Production could shift from units at
                                                 System codes the EPA analyzed, only                     approximately $5,339/ton. See                          another facility subject to the control
                                                                                                         memorandum titled ‘‘Summary of Final
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                                                    249 For example, while the EPA has found it
                                                                                                                                                                requirements to the units that avoided
                                                 appropriate to limit the scope of emissions units
                                                                                                         Rule Applicability Criteria and                        control requirements (and thus avoid
                                                 that would be subject to emissions limits and           Emissions Limits for Non-EGU                           costs the regulated facility should bear),
                                                 controls in the iron and steel industry in light of     Emissions Units, Assumed Control                       potentially resulting in emissions
                                                 comments regarding certain sources’ inability to        Technologies for Meeting the Final                     increases. The effect of such an
                                                 meet the EPA’s proposed emission limits, this does
                                                 not alter the EPA’s determination that this industry
                                                                                                         Emissions Limits, and Estimated                        approach in such circumstances would
                                                 is an impactful industry and that certain emissions     Emissions Units, Emissions Reductions,                 be mere emissions shifting rather than
                                                 controls should still be required.                      and Costs,’’ available in the docket.                  the elimination of significant


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                                                 contribution. Finally, as we have                                            through our review of consent decrees,                                               example, the total ppb improvement
                                                 explained in prior transport actions, the                                    permits, RACT determinations, and                                                    summed over all of the receptors from
                                                 cost-effectiveness figure is not the only                                    other data sources. These levels of                                                  EGUs was 7.04 ppb and the non-EGU
                                                 factor that the agency considers at Step                                     emissions control have in many cases                                                 increment adds another 2.82 ppb of
                                                 3, see 86 FR 23073, and if used in                                           already been required by states with                                                 improvement bringing the total to 9.87
                                                 isolation to make a policy decision                                          downwind nonattainment areas for the                                                 (when accounting for rounding). Non-
                                                 without considering other information,                                       2015 ozone NAAQS.                                                                    EGUs account for 29 percent of this total
                                                 could produce a result that is                                                 The EPA determined that, for 2026,                                                 air quality improvement as well.
                                                 inconsistent with the objective of                                           the incremental average air quality                                                  Further, these figures should not be
                                                 ensuring significant contribution is                                         improvement at receptors relative to the
                                                                                                                                                                                                                   considered in isolation; EPA is not
                                                 eliminated.250                                                               EGU case when SCR post-combustion
                                                                                                                                                                                                                   comparing EGU strategy effects and
                                                    In addition to our evaluation of cost-                                    controls were installed was 0.19 ppb
                                                                                                                                                                                                                   non-EGU effects to make a selection
                                                 effectiveness on a cost per ton basis, the                                   when non-EGU controls were applied,
                                                 EPA’s determination at Step 3 for non-                                       based on the Step 3 analysis. The total                                              between two different approaches.
                                                 EGUs is also informed by the overall                                         average air quality improvement was                                                  Rather, both the selected EGU and non-
                                                 level of emissions reductions that will                                      0.66 ppb when the non-EGU                                                            EGU emissions reduction strategies at
                                                 be achieved across the region and the                                        improvement was added to the EGU                                                     the cost-effectiveness values identified
                                                 effect those reductions are projected to                                     improvement, meaning that the non-                                                   in section V.B and V.C of this document
                                                 have on air quality at the downwind                                          EGU increment accounts for about 29                                                  present a comprehensive solution to
                                                 receptors (discussed more later in this                                      percent of this average air quality                                                  eliminating significant contribution for
                                                 section). We are also influenced by the                                      improvement. In general, the air quality                                             the covered states. The combined effect
                                                 fact that these emissions control                                            results from non-EGU emissions                                                       of the EGU and non-EGU strategies is
                                                 strategies for non-EGUs are generally                                        reductions yield additional important                                                further presented in the following
                                                 well demonstrated to be feasible on                                          downwind benefits to the air quality                                                 section.
                                                 many existing units, as established                                          benefits of the EGU strategy. For
                                                                                  TABLE V.D.2–2—AIR QUALITY AT RECEPTORS IN 2026 FROM NON-EGU INDUSTRIES
                                                                                                                                                                                                              Average DV                                              Max DV
                                                                                                                                                                                                                 (ppb)                                                 (ppb)

                                                                                                                                                                                                                              EGU                                                    EGU
                                                                                                                                                                                                                          SCR/SNCR                                               SCR/SNCR
                                                           Monitor ID No.                                      State                                          County                                                      optimization                                           optimization
                                                                                                                                                                                                 Baseline                                              Baseline
                                                                                                                                                                                                                             + LNB                                                  + LNB
                                                                                                                                                                                               (engineering                                          (engineering
                                                                                                                                                                                                                           upgrade +                                              upgrade +
                                                                                                                                                                                                 analysis)                                             analysis)
                                                                                                                                                                                                                          SCR/SNCR                                               SCR/SNCR
                                                                                                                                                                                                                         retrofit + non-                                           retrofit +
                                                                                                                                                                                                                              EGU                                                 non-EGU

                                                 40278011 ................................   Arizona ...................................     Yuma ......................................                     69.87                      69.80                      71.47                      71.40
                                                 80590006 ................................   Colorado .................................      Jefferson .................................                     71.70                      71.34                      72.30                      71.93
                                                 80590011 ................................   Colorado .................................      Jefferson .................................                     72.06                      71.57                      72.66                      72.16
                                                 80690011 ................................   Colorado .................................      Larimer ...................................                     69.84                      69.53                      71.04                      70.72
                                                 90013007 ................................   Connecticut .............................       Fairfield ...................................                   71.25                      70.66                      72.06                      71.46
                                                 90019003 ................................   Connecticut .............................       Fairfield ...................................                   71.58                      71.06                      71.78                      71.26
                                                 350130021 ..............................    New Mexico ............................         Dona Ana ...............................                        70.06                      69.86                      71.36                      71.16
                                                 350130022 ..............................    New Mexico ............................         Dona Ana ...............................                        69.17                      68.96                      71.77                      71.56
                                                 350151005 ..............................    New Mexico ............................         Eddy .......................................     ........................   ........................   ........................   ........................
                                                 350250008 ..............................    New Mexico ............................         Lea ..........................................   ........................   ........................   ........................   ........................
                                                 480391004 ..............................    Texas ......................................    Brazoria ..................................                     69.89                      68.50                      72.02                      70.58
                                                 481671034 ..............................    Texas ......................................    Galveston ...............................                       71.29                      69.28                      72.51                      70.47
                                                 482010024 ..............................    Texas ......................................    Harris ......................................                   74.83                      73.39                      76.45                      74.98
                                                 490110004 ..............................    Utah ........................................   Davis .......................................                   69.90                      69.28                      72.10                      71.46
                                                 490353006 ..............................    Utah ........................................   Salt Lake ................................                      70.50                      69.91                      72.10                      71.50
                                                 490353013 ..............................    Utah ........................................   Salt Lake ................................                      71.91                      71.40                      72.31                      71.80
                                                 551170006 ..............................    Wisconsin ...............................       Sheboygan .............................                         70.83                      70.27                      71.73                      71.17

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                   ........................   ........................   ........................                   0.66

                                                      Total PPB Change Across All Receptors Relative to Base (ppb) .............................................                              ........................   ........................   ........................                   9.87

                                                    Table Notes:
                                                    a The EPA notes that the design values reflected in Table V.D.–2 correspond to the engineering analysis EGU emissions inventory that was used in AQAT to deter-
                                                 mine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone Transport Policy Analysis Final Rule TSD.
                                                    b New Mexico Eddy and Lea monitors have no values in Table V.D.2–2 as EPA does not have calibration factors for these monitors as no contributions were cal-
                                                 culated for them from the proposal AQ modeling.
                                                    c The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close proximity to one another)
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                                                 in this part of the Step 3 analysis. Section VIII of this document provides a more complete picture of the air quality impacts of the final rule.




                                                   250 Nonetheless, recognizing the diverse non-EGU                           hardship in meeting the general requirements being                                   in the emissions limits based on a demonstration
                                                 industries and emissions units covered in this                               finalized in this action, the EPA has provided                                       of technical impossibility or extreme economic
                                                 action and the potential that certain individual                             mechanisms in the regulatory requirements for                                        hardship. See section VI.C of this document.
                                                 facilities and emissions units may face extreme                              industrial sources that provide for some flexibility



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                                                   For more information about how this                                       modeling base case to inform the air                                         combustion control upgrades,
                                                 assessment was performed and the                                            quality effects of the rule and to conduct                                   application of new post-combustion
                                                 results of the analysis for each receptor,                                  our over-control analysis. EPA’s                                             control (SCR and SNCR) retrofits at
                                                 refer to the Ozone Transport Policy                                         evaluation demonstrated air quality                                          eligible units, and all estimated
                                                 Analysis Final Rule TSD and to the                                          improvement at the remaining                                                 emissions reductions from the non-EGU
                                                 Ozone AQAT included in the docket for                                       nonattainment or maintenance receptors                                       industries. Table V.D.3–1 summarizes
                                                 this rule.                                                                  outside of California (see section IV.D of                                   the results of EPA’s Step 3 evaluation of
                                                 3. Combined EGU and Non-EGU                                                 this document for receptor details). The                                     air quality improvements at these
                                                 Assessment                                                                  EPA estimated that the average air                                           receptors using AQAT. In summary, the
                                                    The EPA used the Ozone AQAT to                                           quality improvement at these receptors                                       collective application of these
                                                 evaluate the combined impact of these                                       relative to the engineering analytics base                                   mitigation measures and emissions
                                                 selected stringency levels for both EGUs                                    case was 0.66 ppb for emissions                                              reductions are projected to deliver
                                                 and non-EGUs on all receptors                                               reductions commensurate with                                                 meaningful downwind air quality
                                                 remaining in the 2026 air quality                                           optimization of existing SCRs/SNCRs,                                         improvements.

                                                   TABLE V.D.3–1—CHANGE IN AIR QUALITY AT RECEPTORS IN 2026 FROM FINAL RULE EGU AND NON-EGU EMISSIONS
                                                                                              REDUCTIONS a b c
                                                                                                                                                                                                                               Total PPB      Average PPB
                                                                                                                                                                                                  Ozone season               change across   change across
                                                                                                         Sector/technology                                                                          emissions                 all downwind    all downwind
                                                                                                                                                                                                   reductions                  receptors d      receptors

                                                 EGU (SCR/SNCR optimization + LNB upgrade) .....................................................................                                              16,282                  0.71               0.05
                                                 EGU SCR/SNCR Retrofit ........................................................................................................                               55,672                  6.34               0.42
                                                 Non-EGU Industries .................................................................................................................                         44,616                  2.82               0.19

                                                       Total ..................................................................................................................................   ........................            9.87               0.66
                                                    Table Notes:
                                                    a As in prior rules, for the purpose of defining significant contribution at Step 3, the EPA evaluated air quality changes resulting from the appli-
                                                 cation of the emissions reductions in only those states that are linked to each receptor as well as the state containing the receptor. By applying
                                                 reductions to the state containing the receptor, the EPA ensures that it is accounting for the downwind state’s fair share. In addition, this method
                                                 holds each upwind state responsible for its fair share of the downwind problems to which it is linked. Reductions made by other states to address
                                                 air quality problems at other receptors do not increase or decrease this share. The air quality impacts on design values that reflect the emissions
                                                 reductions in all linked states and associated health and climate benefits are discussed in section VII of this document.
                                                    b The EPA notes that the design values reflected in Tables V.D.1–1 and –2 correspond to the engineering analysis EGU emissions inventory
                                                 used in AQAT to determine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone
                                                 Transport Policy Analysis Final Rule TSD. Additionally, these emissions reduction values vary slightly from the technology reduction estimates
                                                 described in section V.C of this document, as the values here reflect the sum of the final identified stringency for each state (e.g., SCR retrofit
                                                 potential is not assumed in Alabama, Minnesota, and Wisconsin).
                                                    c The total and average ppb results from non-EGUs emissions reductions shown here were generated using the Step 3 AQAT methodology
                                                 consistent with that for EGUs (i.e., including reductions from the state containing the receptor and excluding states that are not explicitly linked to
                                                 particular receptors). The values shown in Table V.C.2–1 were prepared for the non-EGU screening assessment using a methodology where
                                                 states within the program make emissions reductions for all receptors. States that contain receptors (i.e., Connecticut and Colorado) that are not
                                                 linked to other receptors are not assumed to make reductions under that methodology.
                                                    d The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close prox-
                                                 imity to one another) in this part of the Step 3 analysis. Section VIII of this document provides a picture of the projected air quality impacts of the
                                                 final rule using modeling techniques that differ from the methodologies employed here.


                                                 4. Over-Control Analysis                                                    threshold (i.e., 1 percent of the NAAQS                                      to the more stringent emissions limits so
                                                                                                                             or 0.70 ppb) to all receptors. In EME                                        as not to cause other downwind
                                                    The EPA applied its over-control test                                                                                                                 locations to which those States are
                                                                                                                             Homer City, the Supreme Court held
                                                 to this same set of aggregated EGU and
                                                                                                                             that the EPA cannot ‘‘require[] an                                           linked to fall into nonattainment.’’ Id. at
                                                 non-EGU data described in the previous
                                                                                                                             upwind State to reduce emissions by                                          14–15. Further, as the Supreme Court
                                                 section. The EPA performed air quality
                                                                                                                             more than the amount necessary to                                            explained, ‘‘while EPA has a statutory
                                                 analysis using the Ozone AQAT to
                                                                                                                             achieve attainment in every downwind                                         duty to avoid over-control, the Agency
                                                 determine whether the emissions
                                                                                                                             State to which it is linked.’’ 572 U.S. at                                   also has a statutory obligation to avoid
                                                 reductions for both EGUs and non-EGUs
                                                                                                                             521. On remand from the Supreme                                              ‘under-control,’ i.e., to maximize
                                                 potentially create an ‘‘over-control’’
                                                                                                                             Court, the D.C. Circuit held that this                                       achievement of attainment downwind.’’
                                                 scenario. As in prior transport rules
                                                                                                                             means that the EPA might overstep its                                        572 U.S. at 523. The Court noted that ‘‘a
                                                 following the holdings in EME Homer
                                                                                                                             authority ‘‘when those downwind                                              degree of imprecision is inevitable in
                                                 City, overcontrol would be established if
                                                                                                                             locations would achieve attainment                                           tackling the problem of interstate air
                                                 the record indicated that, for any given
                                                                                                                             even if less stringent emissions limits                                      pollution’’ and that incidental over-
                                                 state, there is an identified, less
                                                                                                                             were imposed on the upwind States                                            control may be unavoidable. Id.
                                                 stringent emissions control approach for
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                                                                                                                             linked to those locations.’’ EME Homer                                       ‘‘Required to balance the possibilities of
                                                 that state, by which (1) the expected
                                                                                                                             City II, 795 F.3d at 127. The D.C. Circuit                                   under-control and over-control, EPA
                                                 ozone improvements would be
                                                                                                                             qualified this statement by noting that                                      must have leeway in fulfilling its
                                                 sufficient to resolve all of the downwind
                                                                                                                             this ‘‘does not mean that every such                                         statutory mandate.’’ Id.251
                                                 receptor(s) to which that state is linked;
                                                 or (2) the expected ozone improvements                                      upwind state would then be entitled to                                          251 Although the Court described over-control as
                                                 would reduce the upwind state’s ozone                                       less stringent emissions limits. Some of                                     going beyond what is needed to address
                                                 contributions below the screening                                           those upwind States may still be subject                                     ‘‘nonattainment’’ problems, the EPA interprets this



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                                                    Consistent with these instructions                   illustrated in the Ozone Transport                       the selected control stringency
                                                 from the Supreme Court and the D.C.                     Policy Analysis Final Rule TSD, our                      beginning in 2026 includes additional
                                                 Circuit, using the Ozone AQAT, the                      analysis under both configurations                       EGU controls and the non-EGU
                                                 EPA first evaluated whether reductions                  establishes that there is no overcontrol                 emissions reductions.
                                                 resulting from the selected control                     and so there is no need to reconcile any                    The EPA assesses air quality impacts
                                                 stringencies for EGUs in 2023 and 2026                  difference in results between them.                      and overcontrol in the year 2026 in this
                                                 combined with the emissions reductions                     We also looked at the ordering of                     final rule, even though the rule
                                                 selected for non-EGUs in 2026 can be                    increments of emissions reduction and                    accommodates the potential need for
                                                 anticipated to resolve any downwind                     have found that it does not matter                       individual facilities (both EGU and non-
                                                 nonattainment or maintenance problems                   whether we assume EGU emissions                          EGU) to have some additional time to
                                                 (see the Ozone Transport Policy                         controls would be applied first,                         come into compliance. The EPA views
                                                 Analysis Final Rule TSD for details on                  followed by non-EGU controls, or vice-                   this additional time to be a reflection of
                                                 the construction and application of                     versa. For 2023, the question is moot as                 need (based on demonstrated
                                                 AQAT).                                                  there are only EGU reductions to                         impossibility) that is justified at Step 4
                                                    Similar to our approach in the CSAPR                 examine. For 2026, the analysis showed                   of the interstate transport framework
                                                 Update and the Revised CSAPR Update,                    there would be no overcontrol either                     rather than at Step 3. As explained in
                                                 our primary overcontrol assessment                      way. In 2026, the EPA’s overcontrol                      section VI.A of this document, with
                                                 examines the receptor changes from the                  analysis (as presented here) examined                    respect to EGUs, the EPA extends the
                                                 emissions reductions of the upwind                      all EGU reductions first and layered in                  full implementation of the SCR retrofit-
                                                 states found linked to a receptor.                      non-EGU reductions in the last step of                   based reductions across 2026 and 2027
                                                 Consistent with prior Rules, EPA also                   the overcontrol check. However, the                      to accommodate any unit-level
                                                 assumed that downwind states that are                   EPA also examined an alternative                         scheduling challenges. However, we
                                                 not upwind states in this rule                          ordering scenario where the non-EGU                      find that many sources can meet a three-
                                                 implement reductions commensurate                       reductions were assessed prior to the                    year installation time and the trading
                                                 with the rule’s requirements (this                      EGU reductions associated with                           program features and the allowance
                                                 treatment applies specifically to                       installation of new SCR post-                            price will incentivize these reductions
                                                 Colorado and Connecticut). This                         combustion controls (see the Ozone                       to occur as soon as possible. Similarly,
                                                 configuration effectively presents an                   Transport Policy Analysis Final Rule                     with respect to non-EGU industrial
                                                 equitable representation of the effects of              TSD for details). This ordering did not                  sources, the final rule provides limited
                                                 the rule in that linked upwind states do                impact the results of the overcontrol                    circumstances for individual facilities to
                                                 not shift their responsibility to other                 test. The specific results of these                      seek and to be granted extensions of
                                                 upwind states linked to different                       analyses are presented in the TSD.                       time to install required pollution
                                                 receptors. It also effectively resolves any                The control stringency selected for                   controls and achieve the emissions rates
                                                 interdependence and ‘‘which state goes                  2023 (a representative cost threshold of                 established in this rule based on a
                                                 first?’’ questions. Furthermore, the                    $1,800 per ton for EGUs) includes                        showing of necessity. Those
                                                 downwind states in which a receptor is                  emissions reductions commensurate                        circumstances where an extension may
                                                 located are held to a ‘‘fair share’’ of                 with optimization of existing SCRs and                   be warranted for any specific facility are
                                                 emissions reductions—i.e., the same                     SNCRs and installation of state-of-the-                  unknown at this time and will be
                                                 level of emissions control stringency                   art combustion controls, is not                          evaluated through a source-specific
                                                 that the upwind states must implement.                  estimated to change the status of any                    application process, where the need for
                                                    The EPA also repeated this analysis                  receptors.252 Thus, the nonattainment or                 extension can be established with
                                                 using an alternative configuration, as                                                                           source-specific evidence. See section
                                                                                                         maintenance receptors that the states are
                                                 described in the Ozone Transport Policy                                                                          VI.C of this document. Further, 2026 is
                                                                                                         linked to remain unresolved. Nor do any
                                                 Analysis Final Rule TSD. In this                                                                                 the critical analytic year associated with
                                                                                                         states’ contribution levels drop below
                                                 configuration, we looked at the                                                                                  the last full ozone season before the
                                                                                                         the 1 percent of NAAQS threshold.
                                                 combined effect of the entire program                                                                            2027 Serious area attainment date and is
                                                                                                         Thus, the EPA determined that none of
                                                 across all linked upwind states on each                                                                          the year by which significant
                                                                                                         the 23 linked states have all of their
                                                 receptor and did not assume that a                                                                               contribution must be eliminated if at all
                                                                                                         linkages resolved at the final EGU level
                                                 downwind state that is not also an                                                                               possible. Therefore, for purposes of this
                                                                                                         of control stringency in 2023, and
                                                 upwind state makes any additional                                                                                analysis, the collective state and
                                                                                                         hence, the EPA finds no over-control in
                                                 emissions reductions beyond the                                                                                  regional representation of these
                                                                                                         the final level of stringency.
                                                 baseline in the relevant year. This                        Based on the air quality baseline                     reductions are fully assumed in 2026.
                                                 configuration effectively isolates how                  modeling for 2026, all receptors to                      The potential ability of both EGU and
                                                 the rule as a whole, and just the rule,                 which Alabama, Minnesota, and                            non-EGU sources to have some amount
                                                 will affect air quality and linkages.                   Wisconsin are linked in 2023 are                         of additional time beyond 2026 to
                                                 While the first configuration described                 projected to be in attainment in 2026.                   comply with requirements that we have
                                                 is, in the Agency’s view, the more                      Therefore, no additional stringency is                   determined at Step 3 are necessary to
                                                 appropriate way to evaluate overcontrol,                finalized for EGUs or non-EGUs in those                  eliminate significant contribution does
                                                 taken together the configurations                       states beyond the 2023 level of                          not necessitate evaluating a later year
                                                 provide a more robust basis on which to                 stringency. For the remaining 20 states,                 than 2026 for overcontrol. The
                                                 rest our conclusions regarding                                                                                   stringency of the control program does
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                                                 overcontrol. In any case, as further                      252 For purposes of this rule, the violating monitor   not alter in any year beyond 2026.253 By
                                                                                                         receptors inform our determinations at Step 1 and
                                                 holding as not impacting its approach to defining       2 by strengthening the analytical basis on which we         253 Thus, we note, this circumstance is different

                                                 and addressing both nonattainment and                   conclude upwind states are linked in 2023. Because       than the record on which overcontrol was found in
                                                 maintenance receptors. In particular, the EPA           no linkages identified using our air quality             EME Homer City. There, CSAPR would have
                                                 continues to interpret the Good Neighbor provision      modeling methodology resolve in 2023 under the           implemented an increase in the emissions control
                                                 as requiring it to give independent effect to the       selected control stringency, it is not necessary to      stringency of the rule (as reflected in a change in
                                                 ‘‘interfere with maintenance’’ prong. Accord            evaluate overcontrol with respect to the additional      emissions control stringency expressed as dollars
                                                 Wisconsin, 938 F.3d at 325–27.                          set of violating-monitor receptors.                                                                  Continued




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                                                 fully reflecting all Step 3 emissions                   level is appropriate to avoid under-                   problem based on the present record.
                                                 reductions in its overcontrol test for                  control as to these states and does not                The Supreme Court has directed the
                                                 2026, EPA ensures that it is not                        constitute overcontrol.254                             EPA to avoid both over-control and
                                                 understating the emissions impact and                      Next, the EPA evaluated the potential               under-control in addressing good
                                                 benefit when performing the test.                       for over-control with respect to the 1                 neighbor obligations. In addition, the
                                                    The EPA used the Ozone AQAT to                       percent of the NAAQS threshold                         D.C. Circuit has reinforced that over-
                                                 evaluate the impact of this selected                    applied in this final rulemaking at Step               control must be established based on
                                                 stringency level (as well as other                      3 of the good neighbor framework,                      particularized, record evidence on an
                                                 potential stringency levels) on all                     assessed for the selected control                      as-applied basis.
                                                 receptors remaining in the 2026 air                     stringencies for each state for each                      The determination that the stringency
                                                 quality modeling base case. This                        period that downwind nonattainment                     of this action does not constitute
                                                 assessment shows that the selected                      and maintenance problems persist (i.e.,                overcontrol for any linked state is
                                                 control stringency level is estimated to                2023 and 2026). Specifically, the EPA                  further reinforced by EPA’s observation
                                                 change the status of three receptors to                 evaluated whether the selected control                 in section III.A of this document
                                                 attainment or maintenance in 2026.                      stringencies would reduce upwind                       regarding the nature of the ozone
                                                 Brazoria County, Texas (Monitor ID                      emissions to a level where the                         problem. Ozone levels are known to
                                                 480391004); and Galveston County,                       contribution from any of the 23 linked                 vary, at times dramatically, from year to
                                                 Texas (Monitor ID 481671034), are                       states in 2023 or 20 linked states in 2026             year. Future ozone concentrations and
                                                 estimated to come into attainment. We                   would be below the 1 percent threshold.                the formation of ground level ozone may
                                                 observe that one of the Fairfield,                      The EPA finds that for the mitigation                  also be impacted by factors in future
                                                 Connecticut, receptors (Monitor ID                      measures assumed in 2023 and in 2026,                  years that the EPA cannot fully account
                                                 090013007) is estimated to go from                      all states that contributed greater than or            for at present. For example, changes to
                                                 nonattainment to maintenance (when                      equal to the 1 percent threshold in the                meteorological conditions could affect
                                                 EGU emissions reductions with SCR are                   base case are projected to continue to                 future ozone levels. Climate change
                                                 applied, prior to the application of the                contribute greater than or equal to 1                  could also contribute to higher than
                                                 non-EGU emissions reductions). This                     percent of the NAAQS to at least one                   anticipated ozone levels in future years
                                                 receptor is expected to remain in                       remaining downwind nonattainment or                    through wildfires and heat waves,
                                                 maintenance even after the application                  maintenance receptor for as long as that               which can contribute directly and
                                                 of the non-EGU emissions reductions.                    receptor remained in nonattainment or                  indirectly to higher levels of ozone. Any
                                                 Based on these data, EPA finds that all                 maintenance. EPA notes that in 2026,                   modeling projection can be
                                                 linked states except Arkansas,                          for Oklahoma, when the incremental                     characterized as having some
                                                 Mississippi, and Oklahoma are                           level of stringency associated with the                uncertainty, and that is not a sufficient
                                                 projected to continue to be linked to                   non-EGU control strategy is applied,                   reason to ignore modeling results.
                                                 nonattainment or maintenance receptors                  Oklahoma’s contribution to Galveston                   However, in the context of the
                                                 after implementation of all identified                  County Texas is expected to drop below                 overcontrol test, the question is whether
                                                 Step 3 reductions, and hence, the EPA                   the 1 percent threshold (at the same                   it is clear according to particularized
                                                 finds no over-control in its                            time that the receptor has its                         evidence that there is no need for the
                                                 determination of that level of stringency               maintenance problems resolved). EPA                    emissions reductions in question. See
                                                 for those states. Arkansas, Mississippi,                concludes that this does not constitute                EME Homer City, 572 U.S. at 523 (‘‘[A]
                                                 and Oklahoma are linked to at least one                 overcontrol because both the receptor                  degree of imprecision is inevitable in
                                                 of the two Texas receptors that are                     and the contribution are estimated to                  tackling the problem of interstate air
                                                 projected to come into attainment with                  remain above the maintenance level and                 pollution. Slight changes in wind
                                                 the full implementation of the control                  linkage threshold at the prior level of                patterns or energy consumption, for
                                                 strategy at Step 3. However, these two                  stringency and, thus, since otherwise                  example, may vary downwind air
                                                 Texas receptors are expected to remain                  justified at Step 3, the full stringency for           quality in ways EPA might not have
                                                 as maintenance-only receptors prior to                  2026 is appropriate to avoid under-                    anticipated.’’). Under this standard, the
                                                 the final increment of reductions                       control. For more information about this               degree of attainment that is projected to
                                                 assessed (the addition of the non-EGU                   assessment, refer to the Ozone Transport
                                                                                                                                                                occur under the rule in relation to the
                                                 reductions), so EPA concludes that                      Policy Analysis Final Rule TSD and the
                                                                                                                                                                Texas receptors discussed above is not
                                                 imposition of the incremental non-EGU                   Ozone AQAT.
                                                                                                            Therefore, EPA finds that all of the                so large or certain to occur that it would
                                                                                                         selected EGU and non-EGU NOX                           be appropriate to attempt to devise a
                                                 per ton from $100/ton to $500/ton). That change in
                                                 stringency marked a determination that EPA had          reduction strategies selected in EPA’s                 less stringent emissions control strategy
                                                 made at Step 3 regarding the degree of emissions        Step 3 analysis can be applied to all                  for the relevant linked states as a result,
                                                 reduction that sources needed to achieve beginning
                                                                                                         states linked in 2026 to eliminate                     particularly in light of the fact that at
                                                 in 2014. But in that year, the court found EPA’s                                                               the penultimate stringency level the
                                                 record to reveal that certain states would not need     significant contribution to
                                                 to go up to that higher level of stringency because     nonattainment and interference with                    receptors are not resolved.
                                                 air quality problems and/or linkages were already       maintenance of the 2015 ozone NAAQS                       It is also possible that ozone-precursor
                                                 projected to be resolved at the lower level of
                                                                                                         without introducing an overcontrol                     emissions from certain sources may
                                                 stringency. See 795 F.3d at 128–30. The analogous                                                              decline beyond what we currently
                                                 year to 2014 here is 2026. The stringency level of
                                                 this control program does not change post-2026.            254 Even with full implementation of the rule,      project in this rule. For example, the
                                                 Nor do we think individual sources should gain the      these two receptors are only projected to come into    IRA may result in reductions in fossil-
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                                                 benefit of delaying emissions reductions simply in      attainment by a relatively small degree, and no        fuel fired generation, which should in
                                                 the hopes that they could show those reductions         policy option is ascertained in the record by which    turn result in lower NOX emissions
                                                 would be overcontrol; each source must be held to       attainment could be achieved to an even lesser
                                                 the elimination of its portion of significant           degree. Nonetheless, the EPA further evaluated         during the ozone season.255 We have
                                                 contribution. Necessity may demand some                 whether there were any overcontrol concerns
                                                 additional amount of time for compliance, but           through sensitivity analyses. Under all scenarios,        255 As discussed in section IV.C.2.b, there are also

                                                 equity demands that individual sources not gain an      the EPA finds there is no overcontrol. See the         potential ways in which the IRA may not
                                                 untoward advantage from delay and reliance on           Ozone Transport Policy Analysis Final Rule TSD         necessarily result in reductions in NOX emissions
                                                 other sources’ timelier compliance.                     for more discussion and analysis.                      from EGUs.



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                                                 assessed this scenario to ensure our                    control strategy will actually result in                 contribution remain available but un-
                                                 overcontrol conclusions are robust even                 any overcontrol of emissions in the                      implemented. This would constitute
                                                 if the IRA has those effects. As                        manner the EPA or courts have                            under-control. Consequently, as
                                                 discussed in the Regulatory Impact                      understood that term, and overcontrol                    described, the EPA views the control
                                                 Analysis, the EPA conducted additional                  allegations must be proven through                       stringency required of these states in
                                                 modeling of the final policy scenario                   particularized, as-applied challenges.                   this final rule as not constituting over-
                                                 (inclusive of economically efficient                    See EME Homer City, 795 F.3d at 127;                     control and appropriate to eliminate
                                                 methods of compliance available within                  see also Wisconsin, 938 F.3d at 325                      significant contribution to
                                                 the Step 4 implementation programs)                     (‘‘[T]he way to contest instances of over-               nonattainment and interference with
                                                 using its IPM tool. The EPA observes                    control is not through generalized                       maintenance of this NAAQS in line
                                                 that the differences in estimated costs                 claims that EPA’s methodology would                      with our Step 3 determinations for all
                                                 and emissions reductions in the IRA                     lead to over-control, but rather through                 other states. See the Ozone Transport
                                                 sensitivity (presented in Appendix 4A                   a ‘particularized, as-applied                            Policy Analysis Final Rule TSD section
                                                 of the RIA) suggests that there would                   challenge.’ ’’ Accordingly, as we did                    C.3 for discussion and analysis
                                                 also be differences in estimated health                 when presented with similar arguments                    regarding overcontrol for states solely
                                                 and climate benefits under that                         in EME Homer III, we reject Industry                     linked to one or both of these receptors.
                                                 scenario, although the Agency did not                   Petitioners’ arguments because they do                      Comment: Commenters raised a
                                                 have time under this rulemaking                         no more than speculate that aspects of                   variety of arguments that the
                                                 schedule to quantify those differences.                 ‘EPA’s methodology could lead to over-                   enhancements to the EGU trading
                                                 The EPA also used AQAT to conduct an                    control of upwind States.’ ’’) (cleaned                  program in this action will result in
                                                 additional EGU modeling sensitivity                     up) (citing EME Homer City, 795 F.3d at                  overcontrol of power plant emissions.
                                                 reflecting the IRA. Both the IPM                        136–137).                                                They alleged that dynamic budgeting
                                                 sensitivity and the corresponding AQAT                     Comment: For 2 of the 20 states                       would cause the budget to continually
                                                 assessment of the IRA scenarios                         linked in 2026, Arkansas and                             decrease even after significant
                                                 demonstrated no overcontrol as every                    Mississippi, the last downwind receptor                  contribution is eliminated. They
                                                 state linkage to a downwind                             to which these two states are linked (i.e.,              similarly argue that annual emissions
                                                 problematic receptor persisted in the                   Brazoria County, Texas) was estimated                    bank recalibration and the emissions
                                                 penultimate level of stringency when                    to achieve attainment and maintenance                    backstop emissions rate have not been
                                                 EPA performed its Step 3 evaluation—                    after full application of EGU reductions                 shown to be justified to eliminate
                                                 even when the impacts of the IRA are                    and Tier 1 non-EGU reductions at                         significant contribution.
                                                 incorporated. This further affirmed                     proposal. Commenters noted that this                        Response: This final rule’s
                                                 EPA’s conclusion of no overcontrol                      suggested application of the estimated                   determination regarding the appropriate
                                                 concerns at the stringency level of the                 non-EGU, and/or some EGU, emissions                      level of control stringency for EGUs
                                                 final rule. This overcontrol sensitivity is             reductions constituted over-control for                  finds that the amounts of NOX
                                                 further discussed in the Ozone                          these states.                                            emissions reduction achieved through
                                                 Transport Policy Analysis Final Rule                       Response: EPA notes that at proposal,                 these strategies at EGUs are appropriate
                                                 TSD, Appendix K.                                        this downwind receptor only resolved                     and cost-justified under the Step 3
                                                    In light of the mandate of the CAA to                by a small margin after the application                  multifactor analysis. These
                                                 protect the public health and                           of all EGU and Tier 1 non-EGU                            determinations are associated with
                                                 environment through the elimination of                  emissions reductions. As explained                       particular emissions control
                                                 significant contribution under the Good                 earlier in this section, the final rule air              technologies and strategies as detailed
                                                 Neighbor Provision for the 2015 ozone                   quality modeling shows that the                          in sections V.B.1 and V.C.1 above. It is
                                                 NAAQS, nothing in the present record                    receptors to which these states are                      the implementation of those strategies at
                                                 establishes on an as-applied,                           linked do not resolve upon full                          the covered EGU sources and the air
                                                 particularized basis that this rule will                implementation of the identified EGU                     quality effects of those strategies
                                                 result in an unnecessary degree of                      reductions by themselves, and only                       (coupled with non-EGUs) in the relevant
                                                 control of upwind-state emissions.                      reach attainment by a small degree                       analytic year of 2026 on which we base
                                                    Comment: Many commenters alleged                     following the additional reductions                      our determination of significant
                                                 that the rule overcontrols emissions by                 from the non-EGU control strategy.256 If                 contribution at Step 3. This includes the
                                                 more than necessary to eliminate                        the EPA were to select the control                       evaluation of whether there is
                                                 significant contribution for the 2015                   stringency of this penultimate step, both                overcontrol, which is also conducted for
                                                 ozone NAAQS, on the basis that the                      upwind-state contribution and                            the 2026 analytic year as explained
                                                 emissions reductions are unnecessary or                 downwind-state air quality receptors                     above. As explained below, we disagree
                                                 are unnecessarily stringent.                            would persist while the cost-effective                   that the enhancements to the trading
                                                    Response: As discussed earlier in this               emissions reductions that were                           program at Step 4 implicate the need for
                                                 section, EPA has analyzed whether this                  identified to eliminate significant                      further overcontrol analysis. These
                                                 rule ‘‘overcontrols’’ emissions and has                                                                          enhancements operate together to
                                                 found based on a robust, multi-faceted                    256 Because in the final record we do not identify     ensure the trading program continues to
                                                 analysis, that it does not. In particular,              cost, air quality, and emission reduction factors that   maintain the Step 3 emissions control
                                                                                                         sufficiently differentiate either source-type or
                                                 EPA has not identified a lesser-                        emissions control strategy among the Tier 1 and          stringency over time. These
                                                 stringency emissions control strategy for               Tier 2 industries identified at proposal, we             enhancements reflect lessons learned
                                                 any state that would either fully resolve
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                                                                                                         combined the non-EGU industries and emissions            through EPA’s experience with prior
                                                 the air quality problems at a downwind                  reductions into one group, and we are finalizing
                                                                                                         requirements for all non-EGU industries and most
                                                                                                                                                                  trading programs implemented under
                                                 receptor location or resolve that upwind                emissions unit types identified at proposal. In light    the good neighbor provision. None of
                                                 state’s linkage to a level below the 1                  of the small degree to which the relevant receptors      commenters’ arguments that these
                                                 percent of NAAQS contribution                           reach attainment and the multi-faceted assessment        enhancements result in overcontrol are
                                                                                                         of overcontrol we have undertaken, the overcontrol
                                                 threshold. No commenter has provided                    assessment with respect to non-EGUs in the final         persuasive.
                                                 a particularized, as-applied analysis                   rule is sufficient to establish that there is no            Commenters contend that these
                                                 demonstrating that EPA’s emissions                      overcontrol.                                             enhancements to the trading program go


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                                                 beyond a mass-based budget approach                        As explained in sections III.B.1.d and              ‘‘unrelated’’ to carrying out the
                                                 as applied in CSAPR. Because these                      VI.B.1 of this document, the EPA finds                 mandates of CAA section
                                                 improvements in the program result in                   good reason based on its experience                    110(a)(2)(D)(i)(I). Taking measures to
                                                 a continuing incentive for each covered                 with trading programs that using fixed,                ensure that each upwind source covered
                                                 EGU source to maintain the pollution                    mass-based, ozone-season wide budgets                  by an emissions trading program is
                                                 control performance the EPA found                       does not necessarily ensure the                        adequately incentivized to eliminate
                                                 appropriate to eliminate significant                    elimination of significant contribution                excessive emissions (as found at Step 3)
                                                 contribution at Step 3, commenters                      over the entire region of linked states or             throughout the entirety of each ozone
                                                 believe these enhancements must                         throughout each ozone season. Even in                  season is entirely appropriate in light of
                                                 necessarily result in prohibited                        the original CSAPR rulemaking, which                   the nature of the ozone problem. Ozone
                                                 overcontrol. These arguments appear to                  promulgated only fixed, mass-based                     exceedances recur on varying days
                                                 be premised on the assumption that                      budgets, such outcomes were never the                  throughout the summertime ozone
                                                 overall emissions may later decline to                  EPA’s intention to allow. See, e.g., 76                season, and it is not possible to predict
                                                 such a point that there is no longer a                  FR 48256–57 (‘‘[I]t would be                           in advance which specific days will
                                                 linkage between a particular state and                  inappropriate for a state linked to                    have high ozone. Further, impacts to
                                                 any downwind receptors for reasons                      downwind nonattainment or                              public health and the environment from
                                                 other than the requirements of this rule.               maintenance areas to stop operating                    ozone can occur through short-term
                                                    As an initial matter, no commenter                   existing pollution control equipment                   exposure (e.g., over a course of hours,
                                                 has provided an empirical analysis                      (which would increase their emissions                  i.e., on a daily basis). The 2015 ozone
                                                 demonstrating that the control                          and contribution).’’). Despite the EPA’s               NAAQS is expressed as an 8-hour
                                                 stringency identified at Step 3 to                      expectations in CSAPR, the experience                  average, and only a small number of
                                                 eliminate significant contribution would                of the Agency since that time establishes              days in excess of the ozone NAAQS can
                                                 actually result in any overcontrol. The                 a real risk of ‘‘under-control’’ if the                cause a downwind area to be in
                                                 case law is clear that over-control                     existing trading framework is not                      nonattainment. Thus, even a small
                                                 allegations must be proven through                      enhanced. See EME Homer City, 572                      number of exceedances can result in
                                                 particularized, as-applied challenges.                  U.S. at 523 (‘‘[T]he Agency also has a                 continuing and/or increased regulatory
                                                 See prior response to comments. More                    statutory obligation to avoid ‘under-                  burdens on the downwind jurisdiction.
                                                 importantly here, the Group 3 trading                   control,’ i.e., to maximize achievement                Taking these considerations into
                                                 program enhancements do not impose                      of attainment downwind.’’).                            account, it is evident that a fixed, mass-
                                                 increased stringency in years after 2030                   Further, the EPA has already once                   based emissions program that does not
                                                 and do not force emissions to                           adjusted its historical approach to better             adequately incentivize emissions
                                                 continually be reduced to ever lower                    account for known, upcoming changes                    reductions commensurate with our Step
                                                 levels. They are only designed to                       in the EGU fleet to ensure mass-based                  3 determinations on each day of every
                                                 incentivize the implementation of the                   emissions budgets adequately                           ozone season going forward does not
                                                 Step 3 emissions control stringency that                incentivize the control strategy                       provide a sufficient guarantee that the
                                                 eliminates significant contribution. The                determined at Step 3. This adjustment                  emissions that significantly contribute
                                                 circumstances that could potentially                    was introduced in the Revised CSAPR                    on those particular days and at
                                                 cause a receptor or linkage to resolve at               Update. See 82 FR 23121–22. The EPA                    particular receptor locations when
                                                 some point in the future after 2026 are                 now believes it is appropriate to ensure               ozone levels are at risk of exceeding the
                                                 not circumstances that are within the                   in a more comprehensive manner, and
                                                                                                                                                                NAAQS have been eliminated. See
                                                 power of this rule to control. Nor would                in perpetuity, that a mass-based
                                                                                                                                                                section V.B.1.a and VI.B of this
                                                 those circumstances present a                           emissions-trading framework
                                                                                                                                                                document for more discussion of data
                                                 justification as to why upwind sources                  incentivizes continuing implementation
                                                                                                                                                                observations regarding SCR
                                                 should no longer be obligated to                        of the Step 3 control strategies to ensure
                                                                                                                                                                optimization.
                                                 eliminate their own significant                         significant contribution is eliminated in
                                                 contribution. Wisconsin, 938 F.3d at                    all upwind states and remains so. This                    These enhancements are also
                                                 324–25 (rejecting overcontrol arguments                 is fully analogous in material respect to              consistent with the general policies and
                                                 premised on attributing air quality                     an approach to implementation at Step                  principles EPA has long applied in
                                                 problems to other emissions).                           4 that relies on application of unit-                  implementing the NAAQS through the
                                                    Further, the EPA is not constrained by               specific emissions limitations, which                  SIP/FIP framework of section 110.
                                                 the statute to only implement good                      under the Act would typically apply in                 Emissions control measures relied on to
                                                 neighbor obligations through fixed,                     perpetuity and may only be modified                    meet CAA requirements must be
                                                 unchanging, mass-based emissions                        through a future SIP- or FIP-revision                  permanent and enforceable and
                                                 budgets. See section III.B.1 of this                    rulemaking process. See CAA section                    included in the implementation plan
                                                 document. The EPA has defined the                       110(i) prohibiting modifications to                    itself. See, e.g., Montana Sulfur & Chem.
                                                 ‘‘amount’’ of emissions that must be                    implementation plan requirements                       Co. v. EPA, 666 F.3d 1174, 1196 (9th
                                                 prohibited to eliminate significant                     except by enumerated processes. The                    Cir. 2012); 40 CFR 51.112(a). In the
                                                 contribution in this action based on a                  availability of unit-specific emissions                General Preamble laying out EPA’s
                                                 series of determinations of which                       rates as a means to eliminate significant              plans for implementing the 1990 CAA
                                                 emissions control strategies, for certain               contribution is discussed in further                   Amendments, the EPA identified a core
                                                 identified EGU and non-EGU sources,                     detail in section III.B.1 of this                      ‘‘principle’’ that control strategies
                                                                                                                                                                should be ‘‘accountable.’’ ‘‘This means,
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                                                 are appropriate applying the Step 3                     document. The EPA also explained this
                                                 multifactor analysis. Notably, the non-                 in the proposal. See 87 FR 20095–96.                   for example, that source-specific limits
                                                 EGU industrial source emissions                            Further, these enhancements are                     should be permanent and must reflect
                                                 reductions in this action are not being                 directly related to assisting downwind                 the assumptions used in the SIP
                                                 achieved at Step 4 through mass-based                   areas specifically with the goal of                    demonstrations.’’ 57 FR 13498, 13568
                                                 emissions trading, nor are they required                attaining and maintaining the 2015 8-                  (April 16, 1992). EPA went on, ‘‘The
                                                 to be by any provision of the CAA. See                  hour ozone NAAQS. In this respect,                     principles of quantification,
                                                 section III.B.1.                                        they are not ‘‘unnecessary’’ or                        enforceability, replicability, and


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                                                 accountability apply to all SIPs and                    effective emissions control strategies                 rather through a ‘‘particularized, as-applied
                                                 control strategies, including those                     identified in Step 3. This is further                  challenge.’’ EME Homer, 134 S. Ct. at 1609,
                                                 involving emissions trading, marketable                 explained in section III.B.1 of this                   slip op. at 31. And petitioners do not point
                                                                                                                                                                to any actual such instances of over-control
                                                 permits and allowances.’’ Id. EPA also                  document.                                              at downwind locations.
                                                 explained that its ‘‘emissions trading                     Thus, this rule is in compliance with
                                                 policy provides that only trades                        the overcontrol principles that the D.C.               795 F.3d at 137. The court went on to
                                                 producing reductions that are surplus,                  Circuit applied on remand in EME                       observe, ‘‘EPA may only limit emissions
                                                 enforceable, permanent, and                             Homer City to find certain instances of                ‘by just enough to permit an already-
                                                 quantifiable can get credit and be                      overcontrol in CSAPR’s emissions                       attaining State to maintain satisfactory
                                                 banked or used in an emissions trade.’’                 control strategies. The D.C. Circuit                   air quality.’ If States have been forced to
                                                 Id. These principles follow from the                    found that EPA had imposed more                        reduce emissions beyond that point,
                                                 language of the Act, including CAA                      stringent emissions-control strategies for             affected parties will have meritorious
                                                 section 110(a)(2), 107(d)(3)(E)(iii),                   certain states than were necessary to                  as-applied challenges.’’ Id. (quoting 572
                                                 110(i), and 110(l). These provisions and                resolve all of those states’ linkages. 795             U.S. at 521–22). But this too was not a
                                                 principles further underscore the                       F.3d at 128–30. Specifically, for sulfur               holding that EPA may not ensure
                                                 importance of ensuring that the                         dioxide, the court found certain                       effective and permanent
                                                 emissions reductions the EPA has found                  receptors would reach attainment if all                implementation of an emissions control
                                                 necessary to eliminate significant                      linked upwind states had implemented                   stringency that EPA has found
                                                 contribution are in fact implemented on                 ‘‘cost controls’’ at $100/ton or $400/ton,             warranted under CAA section
                                                 a consistent and permanent basis even                   rather than EPA’s selected stringency                  110(a)(2)(D)(i)(I). Such an approach is
                                                 within the context of an emissions                      level of $500/ton. Similarly, for ozone                available through the more conventional
                                                 trading program.                                        season NOX, the court found that                       CAA practice of setting unit-specific
                                                    The EPA disagrees that the budget                    receptors were projected to attain the                 emissions limitations that would apply
                                                 adjustments that would occur over time                  NAAQS at stringencies below $500/ton.                  on a permanent and enforceable basis.
                                                 under this final rule (for example, the                 The court’s focus was on the stringency                See CAA sections 110(a)(2) and 302(y)
                                                 annual dynamic-budget adjustment)                       of the emissions control obligations as                (providing for SIPs and FIPs to include
                                                 must be reassessed each time they occur                 determined through the application of                  ‘‘enforceable emissions limitations’’ in
                                                 through notice and comment                              cost thresholds at Step 3 of the analysis.             addition to economic incentive
                                                 rulemaking under CAA section 307(d).                    The court did not hold that EPA may                    measures like trading programs).258 This
                                                 This would serve no purpose. The                        only use fixed, mass-based budgets to                  is in fact how EPA intends to ensure
                                                 formulas that the EPA will apply to                     implement those reductions. The court                  significant contribution is eliminated
                                                 adjust the budgets and allowance bank                   did not hold that EPA must permit                      from non-EGU industrial sources for
                                                 are set in this final rule and are                      individual polluting sources to be                     which a mass-based trading regime is, at
                                                 intended to maintain, not increase (or                                                                         least at the present time, unworkable
                                                                                                         allowed to increase their emissions at
                                                 decrease), program stringency. While                                                                           (see section VI.C of this document). And
                                                                                                         some point in the future. The court did
                                                 the EPA intends to provide an                                                                                  EPA has provided for the elimination of
                                                                                                         not hold that EPA’s good neighbor FIPs
                                                 opportunity for stakeholders to review                                                                         significant contribution through source-
                                                                                                         must, effectively, contain termination
                                                 and propose corrections to its data as it                                                                      specific emissions limitations in prior
                                                                                                         clauses, such that they cease to ensure
                                                 implements the established budget                                                                              transport actions as well, so this
                                                                                                         the implementation of the control
                                                 formulas, no larger reassessment of the                                                                        position is not novel. See section III.B
                                                                                                         stringency determined as necessary at
                                                 emissions control program is needed on                                                                         of this document.
                                                                                                         Step 3, the moment a downwind                             Nonetheless, EPA recognizes that
                                                 an ongoing basis, because, again, that                  receptor reaches attainment. Indeed,
                                                 program is simply calibrated to ensure                                                                         under the Act, both FIPs and SIPs may
                                                                                                         such a rule would contravene the                       be revised, and states may replace FIPs
                                                 that emissions reductions                               statute’s clear, forward-looking directive
                                                 commensurate with the determination                                                                            with SIPs if EPA approves them. Any
                                                                                                         that EPA must also eliminate upwind                    such revision must be evaluated to
                                                 of ‘‘significance’’ in Step 3 continue to               emissions that interfere with                          ensure no applicable CAA requirements
                                                 be obtained over the long term. As                      maintenance of the NAAQS; see North                    are interfered with. See, e.g., Indiana v.
                                                 described earlier, these trading program                Carolina, 531 F.3d at 908–911;                         EPA, 796 F.3d 803 (7th Cir. 2015). For
                                                 provisions are analogous to, or mimic,                  Wisconsin, 938 F.3d at 325–26.                         example, states may be able to
                                                 the effect of unit-specific emissions                      The EME Homer City court on remand                  demonstrate in the future that through
                                                 limitations that apply in perpetuity.257                in fact rejected various arguments that
                                                    Commenters also confuse the                                                                                 some other permanent and enforceable
                                                                                                         other aspects of EPA’s emissions control               methods of emissions reduction that
                                                 ‘‘amount’’ of emissions that must be                    strategy in CSAPR resulted in                          they have adopted into their SIP, they
                                                 eliminated under CAA section                            overcontrol, holding that EPA had                      will be able to achieve a similar
                                                 110(a)(2)(D)(i)(I) as being synonymous                  properly given effect to the interfere                 emissions control stringency with
                                                 with a fixed, mass-based budget that                    with maintenance prong, and noting                     different emissions reduction
                                                 reflects the residual emissions allowed                 that petitioners failed to make out                    requirements imposed on different
                                                 following the elimination of significant                proven, as-applied demonstrations of                   sources as compared to the FIPs
                                                 contribution. However, EPA views the                    overcontrol:                                           finalized in this action. See section VI.D
                                                 ‘‘amount’’ to be eliminated as those
                                                                                                           At bottom, each of those claims is an                of this document.
                                                 emissions that are in excess of the cost-               argument that EPA’s methodology could lead                Therefore, commenters’ contentions
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                                                                                                         to over-control of upwind States that are              that EPA’s trading program
                                                   257 We note further that because all of the trading
                                                                                                         found to interfere with maintenance at a               enhancements result in prohibited
                                                 program provisions, including the dynamic budget-       downwind location. That could prove to be
                                                 setting provisions and process, are established by
                                                 this final FIP rulemaking, the ministerial future-
                                                                                                         correct in certain locations. But the Supreme            258 ‘‘Emissions limitation’’ is in turn defined at

                                                 year budget adjustment process complies with the        Court made clear in EME Homer that the way             CAA section 302(k) as a ‘‘requirement . . . which
                                                 CAA section 110(i) prohibition on modification of       to contest instances of over-control is not            limits the quantity, rate, or concentration of
                                                 implementation plan requirements except by              through generalized claims that EPA’s                  emissions of air pollutants on a continuous
                                                 enumerated process.                                     methodology would lead to over-control, but            basis. . . .’’



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                                                 overcontrol are not proven through as-                     EPA’s determinations regarding the                   reductions in this rulemaking cover the
                                                 applied, particularized challenges, and                 timing of this rule are informed by and                 2023, 2024, and 2025 ozone seasons.
                                                 they are premised on an incorrect                       in compliance with several recent court                 This is the period in which some
                                                 understanding of the CAA and the                        decisions. The D.C. Circuit has                         reductions will be available, but the
                                                 relevant case law. The Agency rejects                   reiterated several times that, under the                portion of full remedy reductions
                                                 the contention that it must somehow                     terms of the Good Neighbor Provision,                   related to post combustion control
                                                 provide in the present FIP action for a                 upwind states must eliminate their                      installation identified in sections V.B
                                                 relaxation in the stringency of the Step                significant contributions to downwind                   through V.D of this document are not
                                                 4 implementation program and thus                       areas ‘‘consistent with the provisions of               yet available. The EGU NOX mitigation
                                                 allow for the recurrence of pollution                   [title I of the Act],’’ including those                 strategies available during these initial 3
                                                 that we have found here, in this action,                provisions setting attainment deadlines                 years are the optimization of existing
                                                 significantly contributes to downwind                   for downwind areas.259 In North                         post-combustion controls (SCRs and
                                                 ozone nonattainment and maintenance                     Carolina, the D.C. Circuit found the                    SNCRs) and combustion control
                                                 problems.                                               2015 compliance deadline that the EPA                   upgrades. As described in sections V.B
                                                                                                         had established in CAIR unlawful in                     through V.D of this document and in
                                                 VI. Implementation of Emissions                         light of the downwind nonattainment                     accompanying TSDs, these mitigation
                                                 Reductions                                              areas’ 2010 deadline for attaining the                  measures can be implemented in under
                                                                                                         1997 NAAQS for ozone and PM2.5.260                      two months in the case of existing
                                                 A. NOX Reduction Implementation
                                                                                                         Similarly, in Wisconsin, the Court found                control optimization and in 6 months in
                                                 Schedule
                                                                                                         the CSAPR Update unlawful to the                        the case of combustion control
                                                    This action will ensure that emissions               extent it allowed upwind states to                      upgrades. These timing assumptions
                                                 reductions necessary to eliminate                       continue their significant contributions                account for planning, procurement, and
                                                 significant contribution will be achieved               to downwind air quality problems                        any physical or structural modification
                                                 ‘‘as expeditiously as practicable’’ and no              beyond the downwind states’ statutory                   necessary. The EPA provides significant
                                                 later than the downwind attainment                      deadlines for attaining the 2008 ozone                  historical data, including the
                                                 dates except where compliance by those                  NAAQS.261 In Maryland, the Court                        implementation of the most recent
                                                 dates is not possible. See CAA section                  found the EPA’s selection of a 2023                     Revised CSAPR Update, as well as
                                                 181(a); Wisconsin, 938 F.3d at 318–20.                  analysis year in evaluating state                       engineering studies and input factor
                                                 The timing of this action will provide                  petitions submitted under CAA section                   analysis documenting the feasibility of
                                                 for all possible emissions reductions to                126 unlawful in light of the downwind                   these timing assumptions. However,
                                                 go into effect beginning in the 2023                    Marginal nonattainment areas’ 2021                      these timing assumptions are
                                                 ozone season for the covered states,                    deadline for attaining the 2015 ozone                   representative of fleet averages, and the
                                                                                                         NAAQS.262 The Court noted in                            EPA has noted that some units will
                                                 which is aligned with the next
                                                                                                         Wisconsin that the statutory command—                   likely overperform their installation
                                                 upcoming attainment date of August 3,
                                                                                                         that compliance with the Good                           timing assumptions, while others may
                                                 2024, for areas classified as Moderate
                                                                                                         Neighbor Provision must be achieved in                  have unit configuration or operational
                                                 nonattainment under the 2015 ozone
                                                                                                         a manner ‘‘consistent with’’ title I of the             considerations that result in their
                                                 standard. Additional emissions                          CAA—may be read to allow for some
                                                 reductions that the EPA finds not                                                                               underperforming these timing
                                                                                                         deviation from the mandate to eliminate                 assumptions. As in prior interstate
                                                 possible to implement by that                           prohibited transport by downwind
                                                 attainment date will take effect as                                                                             transport rules, the EPA is
                                                                                                         attainment deadlines, ‘‘under particular                implementing these EGU reductions
                                                 expeditiously as practicable. Emissions                 circumstances and upon a sufficient
                                                 reductions commensurate with SCR                                                                                through a trading program approach.
                                                                                                         showing of necessity,’’ but concluded                   The trading program’s option to buy
                                                 mitigation measures for EGUs will start                 that ‘‘[a]ny such deviation would need
                                                 in 2026 and be fully implemented by                                                                             additional allowances provides
                                                                                                         to be rooted in Title I’s framework’’ and               flexibility in the program for outlier
                                                 2027. Emissions reductions through the                  would need to ‘‘provide a sufficient
                                                 mitigation measures for industrial                                                                              sources that may need more time than
                                                                                                         level of protection to downwind
                                                 sources will generally go into effect in                                                                        what is representative of the fleet
                                                                                                         States.’’ 263
                                                 2026; however, as explained in section                                                                          average to implement these mitigation
                                                 VI.C of this document, we have                          1. 2023–2025: EGU NOX Reductions                        strategies while providing an economic
                                                 provided for case-by-case extensions of                 Beginning in 2023                                       incentive to outperform rate and timing
                                                 up to one year based on a demonstration                    The near-term EGU control                            assumptions for those sources that can
                                                 of necessity (with the potential for up to              stringencies and corresponding                          do so. In effect, this trading program
                                                 an additional two years based on a                                                                              implementation operationalizes the
                                                 further demonstration). The full suite of                  259 North Carolina v. EPA, 531 F.3d 896 (D.C. Cir.   mitigation measures as state-wide
                                                 emissions reductions is generally                       2008), Wisconsin v. EPA, 938 F.3d 303 (D.C. Cir.        assumptions for the EGU fleet rather
                                                                                                         2019), and Maryland v. EPA, 958 F.3d 1185 (D.C.         than unit-specific assumptions.
                                                 anticipated to take effect by the 2027                  Cir. 2020).
                                                 ozone season, which is aligned with the                    260 North Carolina, 531 F.3d at 911–913.                However, starting in 2024, as
                                                 August 3, 2027, attainment date for                        261 Wisconsin, 938 F. 3d at 303, 3018–20.            described in section VI.B.7 of this
                                                 areas classified as Serious                                262 Maryland, 958 F.3d at 1203–1204. Similarly,      document, unit-specific backstop daily
                                                 nonattainment under the 2015 ozone                      in New York v. EPA, 964 F.3d 1214 (D.C. Cir. 2020),     emissions rates are applied to coal units
                                                 NAAQS. This rule constitutes a full                     the Court found the EPA’s selection of a 2023           with existing SCR at a level consistent
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                                                                                                         analysis year in evaluating New York’s section 126
                                                 remedy for interstate transport for the                 petition unlawful in light of the New York              with operating that control. The EPA
                                                 2015 ozone NAAQS for the states                         Metropolitan Area’s 2021 Serious area deadline for      believes that implementing these
                                                 covered; the EPA does not anticipate                    attaining the 2008 ozone NAAQS. 964 F.3d at 1226        emissions reductions through state
                                                 further rulemaking to address good                      (citing Wisconsin and Maryland).                        emissions budgets starting in 2023
                                                                                                            263 Wisconsin, 938 F. 3d at 320 (citing CAA
                                                 neighbor obligations under this NAAQS                   section 181(a) (allowing one-year extension of
                                                                                                                                                                 while imposing the unit-specific
                                                 will be required for these states with the              attainment deadlines in particular circumstances)       backstop emissions rates in 2024
                                                 finalization of this rule.                              and North Carolina, 531 F.3d at 912).                   achieves the necessary environmental


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                                                 performance as soon as possible while                   NAAQS.265 The EPA proposed to                               The timing of this final rule provides
                                                 accommodating any heterogeneity in                      require compliance with all of the                       three to four years for EGU and non-
                                                 unit-level implementation schedules                     remaining EGU and non-EGU control                        EGU sources to install whatever controls
                                                 regarding daily operation of optimized                  requirements beginning in the 2026                       they deem suitable to comply with
                                                 SCRs.                                                   ozone season. The EPA continues to                       required emissions reductions by the
                                                    Additionally, as in prior rules, the                 find 2026 to be the relevant analytic                    start of the 2026 and 2027 ozone
                                                 EPA assumes combustion control                          year for purposes of its Step 3 analysis,                seasons. In addition, the publication of
                                                 upgrade implementation may take up to                   including its analysis of overcontrol, as                the proposal provided roughly an
                                                                                                         discussed in section V.D.4 of this                       additional year of notice to these source
                                                 6 months. In the Revised CSAPR
                                                                                                         document. However, many commenters                       owners and operators that they should
                                                 Update, covering 12 of the 22 states for
                                                                                                         argued that full implementation of the                   begin engineering and financial
                                                 which emissions reduction
                                                                                                         EGU and industrial source control                        planning (steps that can be taken prior
                                                 requirements for EGUs are established
                                                                                                         strategies is not feasible for every source              to any capital investment) to be
                                                 under this action, the EPA finalized the                by the 2026 ozone season. The EPA
                                                 rule in March of 2021 and thus did not                                                                           prepared to meet this implementation
                                                                                                         addresses these technical comments                       timetable.
                                                 require these combustion control-based                  specifically in sections V.B and VI.C of
                                                 emissions reductions in ozone-season                    this document. The EPA also                                 The EPA views this timeframe for
                                                 state emissions budgets until 2022 (year                commissioned a study to develop a                        retrofitting post-combustion NOX
                                                 two of that program).264 The EPA is                     better understanding of the time needed                  emissions controls and other non-EGU
                                                 applying the same timing assumption                     for installation of emissions controls for               controls to be reasonable and
                                                 regarding combustion control upgrades                   the industrial sector units covered in                   achievable. A 3-year period for
                                                 for this rulemaking. Given the same                     this rule, which is included in the                      installation of control technologies is
                                                 relationship here between the date of                   docket and discussed in section VI.A.2.b                 consistent with the statutory timeframe
                                                 final action and the year one ozone                     of this document. While the EPA does                     for implementation of the controls
                                                 season, the EPA is not assuming the                     not agree with all of the commenters’                    required to address interstate pollution
                                                 implementation of any additional                        assertions regarding the time they claim                 under section 110(a)(2)(D) and 126 of
                                                 combustion control upgrades in state                    is needed for control installation, in                   the Act, the statutory timeframes for
                                                 emissions budgets until year two (i.e.,                 other respects the concerns raised were                  implementation of RACT in ozone
                                                 the 2024 ozone season). Any identified                  sufficient to justify some adjustments to                nonattainment areas classified as
                                                 combustion control upgrade emissions                    the compliance schedule for the final                    Moderate or above, and other statutory
                                                 reductions are reflected beginning in the               rule. We have provided for the                           provisions that establish control
                                                 2024 ozone-season budgets for all                       emissions reductions commensurate                        requirements for existing stationary
                                                 covered states. For the 12 states covered               with assumed EGU post-combustion                         sources of pollution.
                                                 under the Revised CSAPR Update, any                     emissions control retrofits to be phased                    For example, section 126 of the CAA
                                                 identified emissions reduction potential                in over the 2026 and 2027 ozone season                   authorizes a downwind state or tribe to
                                                 from combustion control upgrade is                      emissions budgets, and we have                           petition the EPA for a finding that
                                                 included and reflected in those state                   provided a process in the final                          emissions from ‘‘any major source or
                                                 budgets beginning in 2024—which                         regulations for individual non-EGU                       group of stationary sources’’ in an
                                                 means EGUs in those states have even                    industrial sources to seek limited                       upwind state contribute significantly to
                                                 more time than the 14 months between                    compliance extensions extending no                       nonattainment in, or interfere with
                                                 finalization of this rule and the 2024                  later than 2029 based on a case-by-case                  maintenance by, the downwind state. If
                                                 ozone season if they started any                        demonstration of necessity. This                         the EPA makes a finding that a major
                                                 planning or installation earlier in                     compliance schedule delivers                             source or a group of stationary sources
                                                 response to the Revised CSAPR Update.                   substantial emissions reductions in the
                                                                                                                                                                  emits or would emit pollutants in
                                                                                                         2026 and 2027 ozone seasons and before
                                                 2. 2026 and Later Years: EGU and                                                                                 violation of the relevant prohibition in
                                                                                                         the 2027 Serious area attainment date,
                                                 Stationary Industrial Source NOX                                                                                 CAA section 110(a)(2)(D), the source(s)
                                                                                                         and it only allows compliance
                                                 Reductions Beginning in 2026                                                                                     must shut down within three months
                                                                                                         extensions beyond that attainment date
                                                                                                         based on a rigorous, source-specific                     from the finding unless the EPA directly
                                                    The EPA finds that it is not possible                                                                         regulates the source(s) by establishing
                                                                                                         demonstration of need for the additional
                                                 to implement all necessary emissions                    time.266                                                 emissions limitations and a compliance
                                                 controls across all of the affected EGU                                                                          schedule extending no later than three
                                                 and non-EGU sources by the August 3,                       265 For each nonattainment area classified under      years from the date of the finding, to
                                                 2024, Moderate area attainment date. In                 CAA section 181(a) for the 2015 ozone NAAQS, the         eliminate the prohibited interstate
                                                 accordance with the good neighbor                       attainment date is ‘‘as expeditiously as practicable’’   transport of pollutants as expeditiously
                                                 provision and the downwind attainment                   but not later than the date provided in table 1 to       as practicable.267 Thus, in the provision
                                                                                                         40 CFR 51.1303(a). Thus, for areas initially
                                                 schedule under CAA section 181 for the                  designated nonattainment effective August 3, 2018        that allows for direct Federal regulation
                                                 2015 ozone NAAQS, the EPA is aligning                   (83 FR 25776), the latest permissible attainment         of sources violating the good neighbor
                                                 its analysis and implementation of the                  dates are: August 3, 2021 (for Marginal areas),          provision, Congress established three
                                                                                                         August 3, 2024 (for Moderate areas), August 3, 2027
                                                 emissions reductions addressing                         (for Serious areas), and August 3, 2033 (for Severe
                                                                                                                                                                  years as the maximum amount of time
                                                 significant contribution from EGU and                   areas).                                                  available from a final rule to when
                                                 non-EGU sources that require relatively                                                                          emissions reductions need to be
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                                                                                                            266 While we generally use the term ‘‘necessity’’

                                                 longer lead time at a sectoral scale with               to describe the showing that non-EGU facilities          achieved at the relevant source or group
                                                                                                         must meet in seeking compliance extensions, the
                                                 the 2026 ozone season. The 2026 ozone                   elements for this showing are designed to allow the
                                                                                                                                                                  of sources. Because this action is not
                                                 season is the last full ozone season that               EPA to make a judgment that comports with the            taken under CAA section 126(c), the
                                                 precedes the August 3, 2027, Serious                    standard of ‘‘impossibility’’ established in case law    mandatory timeframe for
                                                 area attainment date for the 2015 ozone                 such as Wisconsin. In other words, the ‘‘necessity’’     implementation of emissions controls
                                                                                                         for additional time is effectively a showing by the
                                                                                                         source that it would be ‘‘impossible’’ for it to meet     267 CAA 110(a)(2)(D)(i) and 126(c).
                                                   264 86 FR 23093.                                      the compliance deadline.



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                                                 under that provision is not directly                      submission deadline.270 Moderate ozone                 technologies on which the EPA bases
                                                 applicable, but it is informative.                        nonattainment areas must also                          the emissions limitations that would
                                                    In response to arguments from sources                  implement all reasonably available                     take effect for the 2026 and 2027 ozone
                                                 that more time than has been provided                     control measures (including RACT)                      seasons, generally are consistent with
                                                 in the final rule is necessary, this                      needed for expeditious attainment                      the scope and stringency of RACT
                                                                                                           within three years after the statutory                 requirements for existing major sources
                                                 provision strongly indicates that
                                                                                                           deadline for states to submit these                    of NOX in downwind Moderate
                                                 allowing time beyond a three-year
                                                                                                           measures to the EPA as part of a                       nonattainment areas and some upwind
                                                 period must be based on a substantial                     Moderate area attainment                               areas, which many states have already
                                                 showing of impossibility. Our analysis                    demonstration.271 Nonattainment areas                  implemented in their SIPs.272 Thus, the
                                                 based on comments and considering                         for the 2015 ozone NAAQS that were                     timing Congress allotted for sources in
                                                 additional information is that the                        reclassified to Moderate nonattainment                 downwind states to come into
                                                 additional time we have provided in the                   in October 2022 face this same                         compliance with RACT requirements
                                                 final rule is both justified and sufficient               regulatory schedule, meaning that their                bears directly on the amount of time
                                                 in light of the statutory objective of                    sources are required to implement                      that should be allotted here and
                                                 expeditious compliance.                                   RACT controls in 2023. With the                        indicates, as does CAA section 126, that
                                                    Additionally, for ozone                                exception of the Uinta Basin, which is                 three years is an outer limit on the time
                                                 nonattainment areas classified as                         not an identified receptor in this action,             that should be given sources to come
                                                 Moderate or higher, the CAA requires                      no Marginal nonattainment area met the                 into compliance where possible. In light
                                                 states to implement RACT requirements                     conditions of CAA section 181(a)(5) to                 of the January 1, 2023, deadline for
                                                 less than three years after the statutory                 obtain a one-year extension of the                     implementation of RACT in Moderate
                                                 deadline for submitting these measures                    Moderate area attainment date. 87 FR                   nonattainment areas, the EPA finds that
                                                 to the EPA.268 Specifically, for these                    60899 (Oct. 7, 2022). Thus, all Marginal               a May 1, 2026 deadline for full
                                                                                                           areas (other than Uinta) that failed to                implementation of the emissions control
                                                 areas, CAA sections 182(b)(2) and 182(f)
                                                                                                           attain have been reclassified to                       requirements in this final rule would
                                                 require that states implement RACT for
                                                                                                           Moderate. Id. In the October 2022 final                generally provide adequate time for any
                                                 existing VOC and NOX sources as                           rulemaking EPA made determinations
                                                 expeditiously as practicable but no later                                                                        individual source to install the
                                                                                                           that certain Marginal areas failed to                  necessary controls, barring the
                                                 than May 31, 1995, approximately 30                       attain by the attainment date,
                                                 months after the November 15, 1992,                                                                              circumstances of necessity discussed
                                                                                                           reclassified those areas to Moderate, and              further in this section.
                                                 deadline for submitting RACT SIP                          established SIP submission deadlines
                                                 revisions. For purposes of the 2015                                                                                 Finally, with respect to emissions
                                                                                                           and RACM and RACT implementation
                                                 ozone NAAQS, the EPA has interpreted                                                                             standards for hazardous air pollutants,
                                                                                                           deadlines. EPA set the attainment SIP
                                                 these provisions to require                                                                                      section 112(i)(3) of the CAA requires the
                                                                                                           submission deadlines for the bumped
                                                 implementation of RACT SIP revisions                                                                             EPA to establish compliance dates for
                                                                                                           up Moderate areas to be January 1, 2023.
                                                 as expeditiously as practicable but no                                                                           each category or subcategory of existing
                                                                                                           See 87 FR 60897, 60900. The
                                                 later than January 1 of the fifth year after              implementation deadline for RACM and                   sources subject to an emissions standard
                                                 the effective date of designation, which                  RACT is also January 1, 2023. Id.                      that ‘‘provide for compliance as
                                                 is less than three years after the                           The EPA notes that the types and                    expeditiously as practicable, but in no
                                                                                                           sizes of the EGU and non-EGU sources                   event later than 3 years after the
                                                 deadline for submitting RACT SIP
                                                                                                           that the EPA includes in this rule, as                 effective date of such standard,’’ with
                                                 revisions.269 For areas initially
                                                                                                           well as the types of emissions control                 limited exceptions. CAA section
                                                 designated nonattainment with a
                                                                                                                                                                  112(i)(3)(B) authorizes the EPA to grant
                                                 Moderate or higher classification
                                                                                                              270 40 CFR 51.1312(a)(2)(i) (requiring submission   an extension of up to 1 additional year
                                                 effective August 3, 2018 (83 FR 25776),
                                                                                                           of RACT SIP revisions no later than 24 months after    for an existing source to comply with
                                                 that implementation deadline falls on                     the effective date of designation).                    emissions standards ‘‘if such additional
                                                 January 1, 2023, approximately 29                            271 See, e.g., 40 CFR 51.1108(d) (requiring
                                                                                                                                                                  period is necessary for the installation
                                                 months after the August 3, 2020                           implementation of all control measures (including
                                                                                                                                                                  of controls,’’ and sections 112(i)(4)
                                                                                                           RACT) needed for expeditious attainment no later
                                                                                                           than the beginning of the attainment year ozone        through (7) provide for limited
                                                    268 See, e.g., 40 CFR 51.1112(a)(3) and
                                                                                                           season, which, for a Moderate nonattainment area,      compliance extensions where other
                                                 51.1312(a)(3)(i) (requiring implementation of RACT        occurs less than 3 years after the deadline for
                                                 required pursuant to initial nonattainment area                                                                  conditions are met.273 Here again, where
                                                                                                           submission of reasonably available control
                                                 designations no later than January 1 of the fifth year    measures under 40 CFR 51.1112(c) and 51.1108(a))       Congress was concerned with
                                                 after the effective date of designation, which is less    and 40 CFR 51.1308(d) (requiring implementation        addressing emissions of pollutants that
                                                 than 3 years after the SIP submission deadline            of all control measures (including RACT) needed        impact public health, a 3-year time
                                                 under 40 CFR 51.1112(a)(2)) and 51.1312(a)(2)(i),         for expeditious attainment no later than the
                                                 respectively).                                            beginning of the attainment year ozone season,
                                                                                                                                                                  period was allotted as the time needed
                                                    269 40 CFR 51.1312(a)(2)(i) (requiring submission      which, for a Moderate nonattainment area, occurs       for existing sources to come into
                                                 of RACT SIP revisions no later than 24 months after       less than three years after the deadline for           compliance where possible. As
                                                 the effective date of designation) and 40 CFR             submission of reasonably available control             discussed further in section VI.A.2.b of
                                                 51.1312(a)(3)(i) (requiring implementation of RACT        measures under 40 CFR 51.1312(c) and 51.1308(a)).
                                                 SIP revisions as expeditiously as practicable, but no     Because the attainment demonstration for a
                                                                                                                                                                  this document, the process for obtaining
                                                 later than January 1 of the fifth year after the          Moderate nonattainment area (including RACT            a compliance extension for industrial
                                                 effective date of designation). For reclassified areas,   needed for expeditious attainment) is due three        sources in this rule is generally modeled
                                                 states must implement RACT SIP revisions as               years after the effective date of the area’s           on 40 CFR 63.6(i)(3), which implements
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                                                 expeditiously as practicable, but no later than the       designation (40 CFR 51.1308(a) and 51.1312(c)), and
                                                 start of the attainment year ozone season associated      all Moderate nonattainment areas must attain the
                                                                                                                                                                    272 See the Final Non-EGU Sectors TSD for a
                                                 with the area’s new attainment deadline, or January       NAAQS as expeditiously as practicable but no later
                                                 1 of the third year after the associated SIP revision     than 6 years after the effective date of the area’s    discussion of SIP-approved RACT rules in effect in
                                                 submittal deadline, whichever is earlier; or the          designation (40 CFR 51.1303(a)), the beginning of      downwind states.
                                                 deadline established by the Administrator in the          the ‘‘attainment year ozone season’’ (as defined in      273 See, e.g., CAA section 112(i)(4), which

                                                 final action issuing the area reclassification. 40 CFR    40 CFR 51.1300(g)) for such an area is less than       provides for limited compliance extensions granted
                                                 51.1312(a)(3)(ii); see also 83 FR 62989, 63012–           three years after the due date for the attainment      by the President based on national security
                                                 63014.                                                    demonstration.                                         interests.



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                                                 the extension provision for existing                    Referencing the Supreme Court’s                        implementation of half the emissions
                                                 sources under CAA section 112(i)(3)(B).                 description of the attainment deadlines                reduction potential identified for
                                                    All of these statutory timeframes for                as ‘‘the heart’’ of the CAA, the                       assumed SCR mitigation measures. For
                                                 implementation of new control                           Wisconsin court noted that some                        each year in 2027 and beyond, state
                                                 requirements on existing stationary                     deviation from the mandate to eliminate                emissions budgets include all of the
                                                 sources indicate that Congress                          prohibited transport by downwind                       emissions reductions commensurate
                                                 considered 3 years to be not only a                     attainment deadlines may be allowed                    with these post-combustion control
                                                 sufficient amount of time but an upper                  only ‘‘under particular circumstances                  technologies identified for covered units
                                                 bound of time allowable (barring                        and upon a sufficient showing of                       in Step 3. The EPA notes that similar
                                                 instances of impossibility) for existing                necessity.’’ 276                                       compliance schedules and post-
                                                 stationary sources to install or begin the                 For the reasons provided in the                     combustion control retrofit installations
                                                 installation of pollution controls as                   following sub-sections, the EPA finds                  have been realized successfully in prior
                                                 necessary for expeditious attainment, to                that installation of certain EGU controls              programs allowing similar timeframes.
                                                 eliminate prohibited interstate transport               and all non-EGU controls is not possible               Subsequent to the NOX SIP Call and the
                                                 of pollutants, and to protect public                    by the Moderate area attainment date for               parallel Finding of Significant
                                                 health.                                                 the 2015 ozone NAAQS (i.e., August 3,                  Contribution and Rulemaking on
                                                    Further, the EPA notes that, given the               2024),277 and, for certain sources, may                Section 126 Petitions (which became
                                                 number of years that have passed since                  not be possible by the 2026 ozone                      effective December 28, 1998, and
                                                 EPA’s promulgation of the 2015 ozone                    season or even the August 3, 2027,                     February 17, 2000, respectively 278),
                                                 NAAQS and related nonattainment area                    Serious area attainment date. While the                nearly 19 GW of SCR retrofit came
                                                 designations in 2018, and in light of the               EPA’s technical analysis demonstrates                  online in 2002 and another 42 GW of
                                                 Maryland court’s holding that good                      that for any individual source, control                SCR retrofit came online for steam
                                                 neighbor obligations for the 2015 ozone                 installation could be accomplished by                  boilers in 2003, illustrating that a
                                                 NAAQS should have been implemented                      the start of the 2026 ozone season, in                 considerable volume of SCR retrofit
                                                 by the Marginal area attainment date in                 light of the scope of this rule coupled                capacity is possible within a 36-month
                                                 2021,274 the implementation of good                     with current information on the present                period.
                                                 neighbor obligations for these NAAQS is                 economic capacity of sources, control-                    Comment: Some commenters
                                                 already delayed, and the sources subject                installation vendors, and associated                   disagreed with EPA’s proposed 36-
                                                 to NOX emissions control in this rule                   markets for labor and material, it is the              month timeframe for SCR retrofit. These
                                                 have continued to operate for several                   EPA’s judgment that a three-year                       commenters noted that, while possible
                                                 years without the controls necessary to                 timeframe is not possible for all sources              at the unit or plant level, the collective
                                                 eliminate their significant contribution                subject to this rule collectively to come              volume of assumed SCR installation
                                                 to ongoing and persistent ozone                         into compliance. Therefore, additional                 would not be possible given the labor
                                                 nonattainment and maintenance                           time beyond 2026 will be allowed for                   constraints, supply constraints, and
                                                 problems in other states. Under these                   certain facilities in recognition of these             simultaneous outages necessary to
                                                 circumstances, we find it reasonable to                 constraints on the processes needed for                complete SCR retrofit projects on such
                                                 require compliance with the control                     installation of controls across all of the             a schedule. They noted that many of the
                                                 requirements for all non-EGUs and the                   covered sources.                                       remaining coal units lacking SCR pose
                                                 EGU reductions related to post-                                                                                more site-specific installation
                                                                                                         a. EGU Schedule for 2026 and Later
                                                 combustion control retrofit identified in                                                                      challenges than those that were already
                                                                                                         Years
                                                 section V.B.1.b of this document                                                                               retrofitted on a quicker timeframe.
                                                 beginning in the 2026 ozone season                         As discussed in sections V.B through                   Response: EPA is making several
                                                 (with full implementation by the 2027                   V.D of this document, significant                      changes in this final rule to address
                                                 ozone season for EGUs, and the                          emissions reduction potential exists and               these concerns. First, EPA is phasing in
                                                 availability of source-specific extensions              is included in EPA’s quantification of                 emissions reductions commensurate
                                                 based on a demonstration of necessity                   significant contribution based on the                  with assumed SCR installations
                                                 for non-EGUs).                                          potential to install post-combustion                   consistent with a 36-to-48-month time
                                                    As the D.C. Circuit noted in                         controls (SCR and SNCRs) at EGUs.                      frame in this final rule, instead of a 36-
                                                 Wisconsin, the good neighbor provision                  However, as discussed in detail in those               month time frame as proposed. EPA is
                                                 requires upwind states to ‘‘eliminate                   sections, the assumption for installation              implementing half of this emissions
                                                 their substantial contributions to                      of this technology on a region-wide                    reduction potential in 2026 ozone-
                                                 downwind nonattainment in concert                       scale is 36–48 months in this final rule.              season NOX budgets for states
                                                 with the attainment deadlines’’ in the                  This amount of time allows for all                     containing these EGUs and the other
                                                 downwind states, even where those                       necessary procurement, permitting, and                 half of this emissions reduction
                                                 attainment deadlines occur before EPA’s                 installation milestones across multiple                potential in 2027 ozone-season NOX
                                                 statutory deadline under CAA section                    units in the covered region. Therefore,                budgets for those states. This phase-in
                                                 110(c) to promulgate a FIP.275                          the EPA finds that these emissions                     approach to implementing SCR retrofit
                                                                                                         reductions are not available any earlier               reduction potential over a three to four
                                                    274 958 F.3d at 1203–1204 (remanding the EPA         than the 2026 compliance period.                       year period is in response to comments,
                                                 denial of section 126 petition based on the EPA         Starting in 2026, state emissions budgets              including those from third-party full-
                                                 analysis of downwind air quality in 2023 rather         will reflect full implementation of
                                                 than 2021, the year containing the Marginal area
                                                                                                                                                                service engineering firms. These
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                                                 attainment date).                                       assumed SNCR mitigation measures and                   commenters highlighted that while the
                                                    275 938 F.3d at 317–318. For example, the court
                                                                                                           276 Id. at 316 and 319–320 (noting that any such
                                                 observed that the EPA may shorten the deadline for                                                               278 See 63 FR 57356 (October 27, 1998); 65 FR

                                                 SIP submissions under CAA section 110(a)(1) and         deviation must be ‘‘rooted in Title I’s framework’’    2674 (January 18, 2000). The D.C. Circuit stayed the
                                                 may issue FIPs soon thereafter under CAA section        and ‘‘provide a sufficient level of protection to      NOX SIP Call by an order issued May 25, 1999.
                                                 110(c)(1), to align the upwind states’ deadline for     downwind States’’).                                    After upholding the rule in most respects in
                                                 satisfying good neighbor obligations with the             277 Compliance by the August 3, 2021, Marginal       Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000), the
                                                 downwind states’ deadline for attaining the             area attainment date is also impossible as that date   court lifted the stay by an order issued June 22,
                                                 NAAQS. Id. at 318.                                      has passed.                                            2000.



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                                                 proposed 36-month time frame is viable                  flexibility will accommodate extreme or                necessary components. Commenters
                                                 at the plant level, it would be ‘‘very                  unique circumstances in which a                        suggested various timelines for control
                                                 unlikely’’ that the collective volume of                desired SCR retrofit is not achieved by                installation timing ranging from one
                                                 SCR capacity could be installed in a                    the 2027 ozone season, although EPA                    additional year to seven years. Other
                                                 three-year time frame based on a variety                finds such a circumstance exceedingly                  commenters asserted that the data
                                                 of factors. First, the commenters                       unlikely. Second, the historical                       supported the conclusion that all non-
                                                 identified constraints on labor needed to               examples that exceeded 48 months do                    EGU sources, or at least some non-EGU
                                                 retrofit 32 GW of capacity, highlighting                not necessarily demonstrate that such                  sources, could install controls by 2026
                                                 that the Bureau of Labor and Statistics                 projects are impossible to execute in                  or earlier, and that EPA has a legal
                                                 projects that there will be a decline in                less than 48 months, but rather that they              obligation to impose good neighbor
                                                 boilermaker employment over the                         can extend beyond that timeframe if no                 requirements as expeditiously as
                                                 decade and that the Associated Builders                 requirements or incentives are in place                practicable by such sources, including
                                                 and Contractors (ABC) identifies the                    for a faster installation. As the D.C.                 earlier than 2026 if possible.
                                                 need for 650,000 additional skilled craft               Circuit has recognized, historical data                   Response: After reviewing the
                                                 professionals on top of the normal                      on the amount of time sources have                     information received during the public
                                                 hiring pace to meet the economy-wide                    taken to install pollution controls do not             comment period and the additional
                                                 demand created by infrastructure                        in themselves establish the minimum                    information presented in the Non-EGU
                                                 investment and other clean energy                       amount of time in which those controls                 Control Installation Timing Report, the
                                                 projects (e.g., carbon capture and                      could be installed if sources are subject              EPA has concluded that the majority of
                                                 storage). They highlighted the decline in               to a legal mandate to do so. See                       non-EGUs can install and operate the
                                                 companies serving this type of large-                   Wisconsin, 938 F.3d at 330 (‘‘[A]ll those              required controls by the 2026 ozone
                                                 scale retrofit project as the lack of new               anecdotes show is that installation can                season. For the non-EGU control
                                                 coal units and the retirement of coal                   drag on when companies are                             requirements on which the EPA has
                                                 units has curtailed activity in this area               unconstrained by the ticking clock of                  based its Step 3 findings as described in
                                                 over the past five years. They also                     the law.’’).                                           section V of this document, the
                                                 identified supply bottlenecks for key                                                                          emissions limits will generally go into
                                                                                                         b. Non-EGU or Industrial Source                        effect starting with the 2026 ozone
                                                 SCR components that would slow the
                                                                                                         Schedule for 2026 and Later Years                      season (except where an individual
                                                 ability to implement a large volume of
                                                 SCR within 3 years, affecting electrical                   The EPA proposed to require that all                source qualifies for a limited extension
                                                 conduits, transformers, piping,                         emissions reductions associated with                   of time to comply based on a specific
                                                 structural and plate steel, and wire                    the requirements for non-EGU industrial                demonstration of necessity, as described
                                                 (with temporary price increases ranging                 sources go into effect by the start of the             in this section). The EPA finds that
                                                 from 30 percent to 200 percent). Finally,               2026 ozone season, but also requested                  meeting the emissions limitations of this
                                                 commenters note that site-specific                      comment on its control-installation                    final rule through installation of
                                                 conditions can make retrofits for                       timing estimates for non-EGUs and                      necessary controls by an ozone season
                                                 individual units a lengthier process than               requested comment on the possibility of                before 2026 is not expected to be
                                                 historical averages (e.g., under prior                  providing for limited compliance                       possible for the industrial sources
                                                 rules more accommodating sites                          extensions based on a showing of                       covered by this final rule.
                                                 retrofitted first) and that four years may              necessity. See 87 FR 20104–05.                            The EPA recognizes that labor
                                                 be necessary for some projects,                            Comment: The EPA received                           shortages, supply shortages, or other
                                                 accordingly. EPA found the technical                    numerous comments regarding the                        circumstances beyond the control of
                                                 justification submitted in comment                      inability of various non-EGU industries                source owner/operators may, in some
                                                 consistent with its prior assessments                   to install controls to comply with the                 cases, render compliance by 2026
                                                 that a range of 39–48 months is                         emissions limits by 2026. Specifically,                impossible for a particular industrial
                                                 appropriate for SCR-retrofit timing                     commenters raised concerns regarding                   source. Therefore, the final rule contains
                                                 within regional-scale programs.279                      the ability to meet these deadlines due                provisions allowing source owner/
                                                 Therefore, EPA is adjusting the                         to the ongoing geopolitical instability                operators to request limited compliance
                                                 timeframe to still incentivize these                    triggered by the war in Ukraine, COVID–                extensions based on a case-by-case
                                                 reductions by the attainment date while                 19 pandemic-driven disruptions, and                    demonstration of necessity. Under these
                                                 accommodating the potential for some                    supply chain delays and shortages.                     provisions, the owner or operator of a
                                                 SCR retrofits to require between 36–48                  Commenters also claimed that the EPA’s                 source may initially apply for an
                                                 months for installation.                                three-year installation timeframe for                  extension of up to one year to comply
                                                    Some commenters requested more                       non-EGUs does not account for the time                 with the applicable emissions control
                                                 than 48 months for SCR installation                     needed to obtain necessary permits.                    requirements, which if approved by the
                                                 based on past projects that took five or                Commenters stated that even where                      EPA, would require compliance no later
                                                 more years. EPA disagrees with these                    controls are feasible for a source, some               than the 2027 ozone season. The EPA
                                                 commenters for two reasons. First,                      sources would need to shut down due                    may grant an additional case-based
                                                 while EPA is identifying SCR retrofit                   to their inability to install controls by              extension of up to two additional years
                                                 potential to define significant                         2026 and requested that the EPA                        for full compliance, where specific
                                                 contribution at Step 3, the rule only                   provide additional time for sources to                 criteria are met.
                                                 requires emissions reductions                           come into compliance. Commenters                          The EPA initiated a study to examine
                                                                                                         from multiple non-EGU industries                       the time necessary to install the
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                                                 commensurate with that technology,
                                                 implemented through a trading                           stated that the proposed applicability                 potential controls identified in the final
                                                 program, meaning that operators of                      criteria will require controls to be                   rule’s cost analysis for all of the non-
                                                 EGUs eligible for SCR retrofit may                      installed on thousands of non-EGU                      EGU industries subject to the final rule,
                                                 pursue a variety of strategies for                      emissions units. Because of the number                 including SNCR, low NOX burners,
                                                 reducing emissions. Such compliance                     of emissions units, commenters raised                  layered combustion, NSCR, SCR, fluid
                                                                                                         concerns with permitting delays and the                gas recirculation, and SNCR/advanced
                                                   279 86 FR 23102.                                      unavailability of skilled labor and                    selective noncatalytic reduction


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                                                 (ASNCR). The resulting report, which                    into account, coupled with broader                     generally been lessening since they
                                                 we refer to as the ‘‘Non-EGU Control                    considerations of economic capacity                    peaked in 2020 during the COVID–19
                                                 Installation Timing Report,’’ identified a              including current information on                       pandemic, and many economic
                                                 range of estimated installation times                   supply-chain delays, that the potential                indicators have showed some
                                                 with minimum estimated installation                     need for additional time beyond 2026                   improvement towards pre-pandemic
                                                 times ranging from 6–27 months                          becomes a possibility. Under ideal                     levels, including freight transportation,
                                                 without any supply chain delays and 6–                  economic conditions (i.e., no supply-                  inventory to sales ratios, interstate miles
                                                 40 months with potential supply chain                   chain delays or other constraints),                    traveled, U.S. goods imports, and
                                                 delays depending on the industry.280                    affected units are estimated to be                     supply chain indices.283 If these
                                                 The Non-EGU Control Installation                        capable to install both combustion and                 economic indicators continue to
                                                 Timing Report also identified maximum                   post-combustion controls before the                    improve and the availability of
                                                 estimated installation times ranging                    2026 ozone season. Many commenters,                    fabricators and materials continues to
                                                 from 12–28 months without any supply                    however, provided information on                       trend upward, the control timing
                                                 chain delays and 12–72 months with                      installation timing estimates based on                 estimates identified in the Non-EGU
                                                 potential supply chain delays                           current supply chain delays and labor                  Control Installation Timing Report
                                                 depending on the industry. As indicated                 constraints. These commenters                          could prove to be overstated for some
                                                 in the Non-EGU Control Installation                     generally stated that installation of the              industries and control technologies. In
                                                 Timing Report, the installation of                      necessary controls for some units would                addition, the Non-EGU Control
                                                 layered combustion and NSCR control                     take longer than three years if supply                 Installation Timing Report did not
                                                 technology, in particular, could take                   chain delays similar to those that have                account for the labor and supply market
                                                 between 9 and 72 months depending on                    occurred over the past few years                       adjustments that would be anticipated
                                                 supply chain delays.281 The report also                 continue. The Non-EGU Control                          to occur to meet increased demand for
                                                 indicated that permitting processes may                 Installation Timing Report reflected this              control technologies and related
                                                 take 6 to 12 months but noted that these                information, together with additional                  materials and labor over the next several
                                                 processes typically can proceed                         information gathered from pollution                    years in response to the rule. Cf.
                                                 concurrent with other steps of the                      control vendors, to develop ranges of                  Wisconsin, 938 F.3d at 330 (‘‘[A]ll those
                                                 installation process.282                                estimates of possible installation times               anecdotes [of elongated control
                                                    We find that the potential time                      given current (i.e., 2022) labor market                installation times] show is that
                                                 needed for permitting processes is                      conditions and material supplies. The                  installation can drag on when
                                                 generally unlikely to significantly affect              Non-EGU Control Installation Timing                    companies are unconstrained by the
                                                 installation timeframes of at least three               Report also discussed how the                          ticking clock of the law.’’). For example,
                                                 years given that a source that has three                installation and optimization of post-                 some of the longer installation
                                                 or more years to comply is expected, in                 combustion controls over a similar                     timeframes identified in the Non-EGU
                                                 most cases, to have adequate time to                    timeframe at both EGUs and non-EGUs                    Control Installation Timing Report are
                                                 apply for and secure the necessary                      subject to this final rule would,                      based on assumed limits on the current
                                                 permits during that time. Permitting                    considered cumulatively, potentially                   availability of skilled labor needed to
                                                 processes may, however, impact shorter                  affect the installation timing needs of                install combustion controls and post
                                                 installation times ranging from 12–28                   the covered non-EGU sources.                           combustion controls. If the market
                                                 months. Given the 12–28 month                              Based on information provided by                    adjusts in response to increasing
                                                 estimate for minimum and maximum                        commenters and vendors, the Non-EGU                    demand for this type of skilled labor in
                                                 installation times without supply chain                 Control Installation Timing Report                     the timeframe needed for compliance
                                                 delays and permitting timeframes                        indicated that if current supply chain                 (e.g., there is an increase in boilermaker
                                                 typically ranging from 6–12 months, the                 delays continue, control installations                 and engine controls labor), the
                                                 EPA finds that the controls for non-EGU                 could take as long as 61 months for most               installation timing estimates in the Non-
                                                 sources needed to comply with this                      non-EGU industries and possibly as                     EGU Control Installation Timing Report
                                                 final rule are generally not expected to                long as 64–112 months in difficult                     again could be overstated.
                                                 be installed significantly before the 2026              cases. Notably, however, the                              The Non-EGU Control Installation
                                                 ozone season.                                           conclusions in the Non-EGU Control                     Timing Report also did not account for
                                                    Generally, the Non-EGU Control                       Installation Timing Report reflect three               flexibilities provided in this final rule
                                                 Installation Timing Report indicated                    key assumptions that could result in the               that will enable owners and operators of
                                                 that all non-EGU unit types subject to                  relatively lengthy timing estimates at                 certain affected units to identify the
                                                 the final rule could install controls                   the outer end of this range: (1) the                   most cost-effective and efficient means
                                                 within 28 months if there are no supply                 current state of supply chain delays and               for installing any necessary controls. For
                                                 chain delays. Thus, the Non-EGU                         disruptions would continue without any                 example, one concern highlighted by
                                                 Control Installation Timing Report                      increase in labor supply, materials, or                commenters was the amount of time
                                                 confirms that for any individual facility,              reduction in fabrication timing; (2) the               necessary to install controls on engines
                                                 meeting the emissions limitations of this               labor and materials markets would not                  that have been in operation for 50 or
                                                 final rule through installation of                      adjust in response to this rule in the                 more years. The requirements that we
                                                 controls can be completed by the start                  timeframe needed to meet the increased                 are finalizing for engines in the Pipeline
                                                 of the 2026 ozone season. It is only                    demand for control installations; and (3)              Transportation of Natural Gas industry
                                                 when the number of units in the U.S.                    the Report was unable to account for                   include an exemption for emergency
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                                                 potentially affected by the rule is taken               some of the flexibilities built into the               engines and provisions allowing source
                                                                                                         final rule that will allow owners and                  owner/operators to request the EPA
                                                   280 See generally SC&A, NO Emission Control
                                                                                X                        operators to install controls on the most              approval of facility-wide emissions
                                                 Technology Installation Timing for Non-EGU              cost-effective units with shorter                      averaging plans, both of which enable
                                                 Sources (March 14, 2023) (‘‘Non-EGU Control
                                                 Installation Timing Report’’).                          installation times.                                    owners and operators of affected units
                                                   281 See Non-EGU Control Installation Timing              As presented in the Non-EGU Control                 to take costs, installation timing needs,
                                                 Report, Executive Summary (March 14, 2023).             Installation Timing Report, supply
                                                   282 Id. at Section 5.6.                               chain delays and disruptions have                       283 Id. at Section 6.1.




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                                                 and other considerations into account in                that an extension of time to comply is                 2027 only where a source owner/
                                                 deciding which engines to control.                      necessary, due to circumstances entirely               operator submits updated
                                                    In response to industry concern about                beyond the owner or operator’s control                 documentation showing that it is not
                                                 the number and size of units captured                   and despite all good faith efforts to                  possible to install and operate controls
                                                 by the proposed applicability criteria,                 install the necessary controls by May 1,               by the 2027 ozone season, despite all
                                                 the EPA has made several changes to the                 2026, the EPA may determine that                       good faith efforts to comply and due to
                                                 applicability criteria in the final rule to             installation by 2026 is not possible and               circumstances entirely beyond its
                                                 focus the control requirements on                       thereby grant an extension of up to one                control. The request must be received by
                                                 impactful non-EGU units. As explained                   year for that source to fully implement                the EPA at least 180 days before the
                                                 further in section VI.C of this document,               the required controls. If, after the EPA               extended compliance date and must
                                                 the EPA is establishing exemptions for                  has granted a request for an initial                   include, at minimum, the same types of
                                                 low-use boilers and engines where it                    compliance extension, the source                       information as that required for the
                                                 would not be cost-effective to require                  remains unable to comply by the                        initial extension request. The owner or
                                                 controls at this time. Finally, as                      extended compliance date due to                        operator of an affected unit remains
                                                 discussed in section VI.C.3 of this                     circumstances entirely beyond the                      subject to the initial extended
                                                 document, the EPA is not finalizing the                 owner or operator’s control and despite                compliance date unless and until the
                                                 proposed requirements for most                          all good faith efforts to install the                  Administrator grants a second
                                                 emissions unit types in the Iron and                    necessary controls by the extended                     compliance extension. A denial will be
                                                 Steel Mills and Ferroalloy                              compliance date, the owner or operator                 effective on the date of denial.
                                                 Manufacturing industry given the EPA                    may request and the EPA may grant a                       As discussed earlier in section VI.A,
                                                 does not currently have a sufficient                    second extension of up to two                          in Wisconsin the court held that some
                                                 technical basis for finalizing those                    additional years for full compliance,                  deviation from the CAA’s mandate to
                                                 proposed requirements. These changes                    where specific criteria are met. This                  eliminate prohibited transport by
                                                 reduce the number of non-EGU units                      application process is generally in                    downwind attainment deadlines may be
                                                 that will actually need to install controls             accordance with the concept on which                   allowed only ‘‘under particular
                                                 and should reduce the strain on the                     the Agency requested comment in the                    circumstances and upon a sufficient
                                                 labor and supply chain and permitting                   proposal, see 87 FR 20104–05, and is                   showing of necessity.’’ 284 This standard
                                                 processes. For example, for engines, the                modeled on a similar process provided                  is met when, in the EPA’s judgment,
                                                 EPA estimates that the facility-wide                    for industrial sources subject to CAA                  compliance by the attainment date
                                                 emissions averaging provision would, in                 section 112 NESHAPs, found at 40 CFR                   amounts to an impossibility. The EPA
                                                 many cases, allow facilities to install                 63.6(i)(3).                                            cannot allow a covered industrial source
                                                 controls on only one-third of their                        The EPA intends to grant a request for              to avoid timely compliance with the
                                                 engines, on average (see section VI.C.1                 an initial compliance extension only                   emissions control requirements
                                                 of this document for further discussion).               where a source demonstrates that it has                established in this final rule unless the
                                                    Taking all of these considerations into              taken all steps possible to install the                source owner/operator can demonstrate
                                                 account, the EPA finds that the outer                   necessary controls by the applicable                   that compliance by the 2026 ozone
                                                 range of timing estimates presented in                  compliance date and still cannot                       season is not possible due to
                                                 the Non-EGU Control Installation                        comply by the 2026 ozone season, due                   circumstances entirely beyond their
                                                 Timing Report generally reflects a                      to circumstances entirely beyond its
                                                                                                                                                                control. The criteria that must be met to
                                                 conservative set of installation timing                 control. Any request for a compliance
                                                                                                                                                                qualify for limited extensions of time to
                                                 estimates and that the factors described                extension must be received by the EPA
                                                                                                                                                                comply are designed to meet this
                                                 previously could result in installation                 at least 180 days before the May 1, 2026,
                                                 timeframes that fall toward the shorter                                                                        statutory mandate. The EPA anticipates
                                                                                                         compliance date. The request must
                                                 end of the ranges of time that factor in                                                                       that the majority of the industrial
                                                                                                         include all information obtained from
                                                 supply-chain delays or could obviate                                                                           sources covered by this final rule will
                                                                                                         control technology vendors
                                                 those supply-chain delay issues                                                                                not qualify for a compliance extension.
                                                                                                         demonstrating that the necessary
                                                 entirely.                                               controls cannot be installed by the                    B. Regulatory Requirements for EGUs
                                                    Based on all of these considerations,                applicable compliance date, any
                                                 the EPA has concluded that three years                                                                            To implement the required emissions
                                                                                                         permit(s) secured for the installation of
                                                 is generally an adequate amount of time                                                                        reductions from EGUs, the EPA is
                                                                                                         controls or information from the
                                                 for the non-EGU sources covered by this                                                                        revising the existing CSAPR NOX Ozone
                                                                                                         permitting authority on the timeline for
                                                 final rule to install the controls in the                                                                      Season Group 3 Trading Program (the
                                                                                                         issuance of such permit(s) if the source
                                                 20 states that remain linked in 2026.                                                                          ‘‘Group 3 trading program’’) established
                                                                                                         has not yet obtained the required
                                                 The EPA also recognizes, however, that                                                                         in the Revised CSAPR Update both to
                                                                                                         permit(s); and any contracts entered into
                                                 some sources may not be able to install                                                                        expand the program’s geographic scope
                                                                                                         by the source for the installation of the
                                                 controls by the 2026 ozone season                                                                              and to enhance the program’s ability to
                                                                                                         control technology or an explanation as
                                                 despite making good faith efforts to do                                                                        ensure favorable environmental
                                                                                                         to why no contract is necessary. The
                                                 so, due to the aforementioned supply                                                                           outcomes. The EPA is using a trading
                                                                                                         EPA may also consider documentation
                                                 chain delays or other circumstances                     of a source owner’s/operator’s plans to                program for EGUs because of the
                                                 entirely beyond the owner or operator’s                 shut down a source by the 2027 ozone                   inherently greater flexibility that a
                                                 control. Therefore, the final FIPs require              season in determining whether a source                 trading program can provide relative to
                                                 compliance with the emissions control                                                                          more prescriptive, ‘‘command-and-
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                                                                                                         is eligible for a compliance extension.
                                                 requirements for non-EGUs by the                        The owner or operator of an affected                   control’’ forms of regulation of sufficient
                                                 beginning of the 2026 ozone season,                     unit remains subject to the May 1, 2026                stringency to achieve the necessary
                                                 with limited exceptions based on a                      compliance date unless and until the                   emissions reductions. In the electric
                                                 showing of necessity for individual                     Administrator grants a compliance                        284 Wisconsin, 938 F.3d at 316 and 319–320
                                                 sources that meet specific criteria.                    extension.                                             (noting that any such deviation must be ‘‘rooted in
                                                 Where an individual owner or operator                      The EPA intends to grant a request for              Title I’s framework’’ and ‘‘provide a sufficient level
                                                 submits a satisfactory demonstration                    a second compliance extension beyond                   of protection to downwind States’’).



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                                                 power sector, EGUs’ extensive                           level of emission control identified at                As discussed in section VI.B.12.a of this
                                                 interconnectedness and coordination                     Step 3 at the sources active in the                    document, because the effective date of
                                                 create the ability to shift both electricity            trading program on a more consistent                   the rule will likely be sometime during
                                                 production and emissions among units,                   basis throughout each ozone season                     the 2023 ozone season, special
                                                 providing a closely related ability to                  than prior transport trading programs                  transitional provisions have been
                                                 achieve emissions reductions in part by                 (including those that did not provide                  developed to allow for efficient
                                                 shifting electricity production from                    complete remedies for interstate                       administration of the rule’s EGU
                                                 higher-emitting units to lower-emitting                 pollution transport) have required. An                 requirements through the Group 3
                                                 or non-emitting units. Thus, while the                  alternative form of implementation at                  trading program while not imposing any
                                                 Step 3 control-stringency determination                 Step 4 would be to implement source-                   new substantive obligations on parties
                                                 for EGUs to eliminate significant                       specific emissions limitations (e.g., rate-            prior to the rule’s effective date, similar
                                                 contribution is based on strategies that                based standards expressed as mass per                  to the transitional provisions
                                                 do not require generation shifting or                   unit of heat input) reflecting the control             implemented under the Revised CSAPR
                                                 reduced utilization of EGUs, the sector’s               strategies identified at Step 3. This is a             Update.
                                                 unusual flexibility with respect to how                 very common form of implementation                        As is the case for the states already in
                                                 emissions reductions can be achieved                    for many other CAA requirements and                    the Group 3 trading program, for each
                                                 makes the flexibility of a trading                      is indeed the manner of implementation                 state added to the program, the set of
                                                 program particularly useful as a means                  selected in this very rulemaking for                   affected EGUs will include new units as
                                                 of lowering the overall costs of                        other affected industrial sources. See                 well as existing units and will also
                                                 obtaining such reductions. In addition,                 sections III.B, V.D.4, and VI.C. But doing             include units located in Indian country
                                                 it is essential for the electric power                  so would require loss of the flexibilities             within the state’s borders. Sections
                                                 sector to retain short-term operational                 inherent in a trading program, inclusive               VI.B.2 and VI.B.3 of this rule provide
                                                 flexibility sufficient to allow electricity             of these enhancements, that facilitate                 additional discussion of the geographic
                                                 to be produced at all times in the                      orderly and timely achievement of the                  expansion of the Group 3 trading
                                                 quantities needed to meet demand                        required emission reductions in the                    program and the units in the expanded
                                                 simultaneously, and the flexibility of a                power sector.                                          geography that will become subject to
                                                 trading program can be helpful in                          Prior to this rule, the Group 3 trading             the program under the program’s
                                                 supporting this aspect of the industry as               program has applied to EGUs meeting                    existing applicability provisions.
                                                 well.                                                   the program’s applicability criteria                      In addition to expanding the Group 3
                                                    To ensure emissions reductions                       within the borders of twelve states:                   trading program’s geographic scope, the
                                                 necessary to eliminate significant                      Illinois, Indiana, Kentucky, Louisiana,                EPA is modifying the program’s
                                                 contribution are maintained, in this                    Maryland, Michigan, New Jersey, New                    regulations prospectively to include
                                                 rulemaking, the EPA is making certain                   York, Ohio, Pennsylvania, Virginia, and                certain enhancements to improve
                                                 enhancements to the current provisions                  West Virginia. Affected EGUs in these                  environmental outcomes. Two of the
                                                 of the Group 3 trading program                          twelve states will continue to                         proposed enhancements will adjust the
                                                 addressing emissions-control                            participate in the Group 3 trading                     overall quantities of allowances
                                                 performance by some kinds of                            program as revised in this rulemaking,                 available for compliance in the trading
                                                 individual units that will necessarily                  with some revised provisions taking                    program in each control period so as to
                                                 reduce the flexibility of the program to                effect in the 2023 control period and                  maintain the rule’s selected control
                                                 some extent for those units. In analyzing               other revised provisions taking effect                 stringency and related EGU effective
                                                 significant contribution at Step 3, once                later as discussed elsewhere in this                   emissions rate performance level as the
                                                 a linkage has been established between                  document. The EPA is expanding the                     EGU fleet evolves. First, instead of
                                                 an upwind state and a downwind                          Group 3 trading program’s geographic                   establishing emissions budgets for all
                                                 receptor, we identify an appropriate set                scope to include all of the additional                 future years under the program at the
                                                 of emissions control strategies,                        states for which EGU emissions                         time of the rulemaking, which cannot
                                                 considering cost and other factors, that                reduction requirements are being                       reflect future changes in the EGU fleet
                                                 would eliminate significant contribution                established in this rulemaking. Affected               unknown at the time of the rulemaking,
                                                 from the upwind state without leading                                                                          the EPA is revising the trading program
                                                                                                         EGUs within the borders of seven states
                                                 to undercontrol or overcontrol at the                                                                          regulations to include a dynamic
                                                                                                         currently covered by the CSAPR NOX
                                                 downwind linked receptors. At Step 4,                                                                          budgeting procedure. Under this
                                                                                                         Ozone Season Group 2 Trading Program
                                                 for EGUs, we develop emissions budgets                                                                         procedure, the EPA will calculate
                                                                                                         (the ‘‘Group 2 trading program’’)—
                                                 based on consistent application of the                                                                         emissions budgets for control periods in
                                                                                                         Alabama, Arkansas, Mississippi,
                                                 identified strategies to the sources. This                                                                     2026 and later years based on more
                                                                                                         Missouri, Oklahoma, Texas, and
                                                 level of emission control at each source                                                                       current information about the
                                                                                                         Wisconsin—will transition from the
                                                 identified in Step 3 is what the EPA                                                                           composition and utilization of the EGU
                                                                                                         Group 2 trading program to the revised
                                                 deems to eliminate significant                                                                                 fleet, specifically data available from the
                                                                                                         Group 3 trading program at the
                                                 contribution, while the design of                                                                              2024 ozone season and following (e.g.,
                                                                                                         beginning of the 2023 control period,285               for 2026, data from periods through
                                                 emission budgets that successfully
                                                                                                         and affected EGUs within the borders of                2024; for 2027, data from periods
                                                 implement that level of emission control
                                                                                                         the three states not currently covered by              through 2025; etc.). Through the 2029
                                                 is determined at Step 4. See section III.B
                                                                                                         any CSAPR trading program for seasonal                 control period, the dynamically
                                                 and V.
                                                                                                         NOX emissions—Minnesota, Nevada,
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                                                    The trading program enhancements                                                                            determined budgets will apply only if
                                                 discussed in this section are designed to               and Utah—will enter the Group 3                        they are higher than preset budgets
                                                 ensure that sources actually achieve that               trading program in the 2023 control                    established in the rule. (Associated
                                                 level of emission control and thereby                   period on the effective date of this rule.             revisions to the program’s variability
                                                 eliminate significant contribution on a                   285 Affected EGUs in the three other states
                                                                                                                                                                limits and unit-level allowance
                                                 permanent basis at Step 4. The                          currently covered by the Group 2 trading program—
                                                                                                                                                                allocation procedures will coordinate
                                                 enhancements ensure that the emissions                  Iowa, Kansas, and Tennessee—will continue to           these provisions with the revised
                                                 budgets for EGUs continue to secure the                 participate in that program.                           budget-setting procedures.) Second,


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                                                 starting with the 2024 control period,                  higher of 0.10 lb/mmBtu or 125 percent                 1. Trading Program Background and
                                                 the EPA will annually recalibrate the                   of the unit’s lowest previous seasonal                 Overview of Revisions
                                                 quantity of accumulated banked                          average emissions rate under any                       a. Current CSAPR Trading Program
                                                 allowances under the program to                         CSAPR seasonal NOX trading                             Design Elements and Identified
                                                 prevent the quantity of allowances                      program.286                                            Concerns
                                                 carried over from each control period to
                                                                                                            These two enhancements are designed                    The use of allowance trading
                                                 the next from exceeding the target bank
                                                                                                         to ensure that all individual units with               programs to achieve required emissions
                                                 level, which would be revised to
                                                 represent a preset percentage of the sum                SCR controls have strong incentives to                 reductions from the electric power
                                                 of the state emissions budgets for each                 continuously operate and optimize their                sector has a long history, rooted in the
                                                 control period. The preset percentage                   controls, and also to ensure that all                  Clean Air Act Amendments of 1990. In
                                                 will be 21 percent for control periods                  units with post-combustion controls                    Title IV of those amendments, Congress
                                                 through 2029 and 10.5 percent for                       have strong incentives to optimize their               specified the design elements for a 48-
                                                 control periods in 2030 and later years.                emissions performance when a state’s                   state allowance trading program to
                                                 Together, these enhancements will                       assurance level might otherwise be                     reduce SO2 emissions and the resulting
                                                 protect the intended stringency of the                  exceeded. These enhancements are                       acid precipitation. Building on the
                                                 trading program against potential                       generally designed to ensure                           success of that first allowance trading
                                                 erosion caused by EGU fleet turnover                    consistency with the EPA’s                             program as a tool for addressing multi-
                                                 and will better sustain over time the                   determination regarding the emissions                  state air pollution issues, since 1998
                                                                                                                                                                EPA has promulgated and implemented
                                                 incentives created by the trading                       control stringency needed from EGUs to
                                                                                                                                                                multiple allowance trading programs for
                                                 program to achieve the degree of                        eliminate significant contribution under
                                                                                                                                                                SO2 or NOX emissions to address the
                                                 emissions control for EGUs that the EPA                 the Step 3 multifactor analysis as                     requirements of the CAA’s good
                                                 has determined is necessary to address                  discussed in section V of this document.               neighbor provision with respect to
                                                 states’ good neighbor obligations.                      Further, these enhancements are                        successively more protective NAAQS
                                                    Two further enhancements to the                      designed to provide greater assurance                  for fine particulate matter and ozone.
                                                 Group 3 trading program establish                       that emissions controls will be operated               Most of these trading programs have
                                                 provisions designed to promote more                     on all days of the ozone season and                    applied either exclusively or primarily
                                                 consistent emissions control by                         therefore necessarily on the days that                 to EGUs.
                                                 individual EGUs within the context of                   turn out to be most critical for                          The EPA currently administers six
                                                 the trading program. First, starting with               downwind ozone levels. The EPA                         CSAPR trading programs for EGUs
                                                 the 2024 control period for coal-fired                  expects that promoting more                            (promulgated in CSAPR, the CSAPR
                                                 EGUs with existing SCR controls and                     consistently good emissions                            Update, and the Revised CSAPR
                                                 the earlier of the 2030 control period or               performance by individual EGUs will                    Update) that differ in the pollutants,
                                                 the control period after which an SCR                   better ensure that each state’s significant            geographic regions, and time periods
                                                 is installed for other large coal-fired                 contribution is fully eliminated by this               covered and in the levels of stringency,
                                                 EGUs, a daily NOX emissions rate of                                                                            but that otherwise have been nearly
                                                                                                         action, see North Carolina, 531 F.3d at
                                                 0.14 lb/mmBtu will apply as a backstop                                                                         identical in their core design elements
                                                                                                         919–21. In addition to addressing the
                                                 to the seasonal emissions budgets                                                                              and their regulatory text.287 The
                                                                                                         statutory requirements of eliminating
                                                 (which are based on an assumed                                                                                 principal common design elements
                                                 seasonal average emissions rate of 0.08                 significant contribution, the EPA
                                                                                                                                                                currently reflected in all of the programs
                                                 lb/mmBtu for EGUs with existing SCR                     anticipates that these enhancements                    are as follows:
                                                 controls). Each ton of emissions                        will also deliver public health and                       • An ‘‘emissions budget’’ is
                                                 exceeding a unit’s backstop daily                       environmental benefits to underserved                  established for each state for each
                                                 emissions rate, after the first 50 such                 and overburdened communities.                          control period, representing the EPA’s
                                                 tons, in a given control period will incur                 The revisions to the Group 3 trading                quantification of the emissions that
                                                 a 3-for-1 allowance surrender ratio                     program being finalized in this rule are               would remain under certain projected
                                                 instead of the usual 1-for-1 allowance                  very similar to the proposed revisions.                conditions after elimination of the
                                                 surrender ratio. Second, also starting                  The changes from proposal to the set of                emissions prohibited by the good
                                                 with the 2024 control period, the                       states covered are driven largely by                   neighbor provision under those
                                                 trading program’s existing assurance                    updates to the air quality modeling                    projected conditions. For each control
                                                 provisions, which require extra                         performed for the final rule, as                       period of program operation, a quantity
                                                 allowance surrenders from sources that                                                                         of newly issued ‘‘allowances’’ equal to
                                                                                                         described in section IV of this
                                                 are found responsible for contributing to                                                                      the amount of each state’s emissions
                                                                                                         document. The changes from proposal
                                                 an exceedance of the relevant state’s                                                                          budget is allocated among the state’s
                                                                                                         to the trading program enhancements                    sources. (States have options to replace
                                                 ‘‘assurance level’’ (i.e., typically 121
                                                                                                         are generally being made in response to                the EPA’s default allocations or to
                                                 percent of the state’s emissions budget),
                                                                                                         comments on the proposal, as discussed                 institute an auction process.) Total
                                                 will be strengthened by the addition of
                                                                                                         in more detail in the remainder of                     emissions in a given control period from
                                                 another backstop requirement.
                                                 Specifically, for any unit equipped with                section VI.B of this document.                         all sources in the program are effectively
                                                 post-combustion controls that is found
                                                                                                                                                                  287 The six current CSAPR trading programs are
                                                 responsible for contributing to an
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                                                                                                                                                                the CSAPR NOX Annual Trading Program, CSAPR
                                                 exceedance of the state’s assurance                                                                            NOX Ozone Season Group 1 Trading Program,
                                                 level, the revised regulations will                                                                            CSAPR SO2 Group 1 Trading Program, CSAPR SO2
                                                 prohibit the unit’s seasonal emissions                    286 The requirement would not apply for control
                                                                                                                                                                Group 2 Trading Program, CSAPR NOX Ozone
                                                 from exceeding by more than 50 tons                                                                            Season Group 2 Trading Program, and CSAPR NOX
                                                                                                         periods during which the unit operated for less than   Ozone Season Group 3 Trading Program. The
                                                 the emissions that would have resulted                  10 percent of the hours, and emissions rates           regulations for the six programs are set forth at
                                                 if the unit had achieved a seasonal                     achieved in such previous control periods would be     subparts AAAAA, BBBBB, CCCCC, DDDDD, EEEEE,
                                                 average emissions rate equal to the                     excluded from the comparison.                          and GGGGG, respectively, of 40 CFR part 97.



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                                                 capped at a level no higher than the                    rule have not limited banking of                       individual sources to idle or run less
                                                 total quantity of allowances available for              allowances within a given trading                      optimally existing emissions controls
                                                 use in the control period, consisting of                program, the 3-for-1 surrender ratio                   even when a linkage between the
                                                 the sum of all states’ emissions budgets                imposed by the assurance provisions on                 sources’ state and a receptor persists.
                                                 for the control period plus any unused                  any emissions exceeding a state’s                      For example, certain units in Ohio and
                                                 allowances carried over from previous                   assurance level disincentivizes sources                Pennsylvania have been found to have
                                                 control periods as ‘‘banked’’ allowances.               from relying on either in-state banked                 operated their controls below target
                                                    • ‘‘Assurance provisions’’ in each                   allowances or net out-of-state purchased               emissions performance levels used for
                                                 program establish an ‘‘assurance level’’                allowances to emit over the assurance                  budget setting under the CSAPR Update
                                                 for each state for each control period,                 level.288                                              in the 2019–2021 period, even though
                                                 defined as the sum of the state’s                          • Finally, other common design                      the Revised CSAPR Update found that
                                                 emissions budget plus a specified                       elements ensure program integrity,                     these states remained linked through at
                                                 ‘‘variability limit.’’ The purpose of the               source accountability, and                             least 2021 to receptors for the 2008
                                                 assurance provisions is to limit the total              administrative transparency. Most                      ozone NAAQS, and the CSAPR Update
                                                 emissions from each state’s sources in                  notably, each unit must monitor and                    itself was only a partial remedy. See 86
                                                 each control period to an amount close                  report emissions and operational data in               FR 23071, 23083. While this unit-level
                                                 to the state’s emissions budget for the                 accordance with the provisions of 40                   behavior may have been permissible
                                                 control period, consistent with the good                CFR part 75; all allowance allocations or              under the prior program, emissions from
                                                 neighbor provision’s mandate that                       auction results, transfers, and                        these individual sources can contribute
                                                 required emissions reductions must be                   deductions must be properly recorded                   to increased pollution concentrations
                                                 achieved within the state, while                        in the EPA’s Allowance Management                      downwind on the particular days that
                                                 allowing some flexibility beyond the                    System; each source must have a                        matter for downwind exceedances of the
                                                 emissions budget to accommodate year-                   designated representative who is                       relevant air quality standard. This
                                                 to-year operational variability. In the                 authorized to represent all of the                     indicates that the prior program design
                                                 event a state’s assurance level is                      source’s owners and operators and is                   was not effectively ensuring the
                                                 exceeded, responsibility for the                        responsible for certifying the accuracy                elimination of significant
                                                 exceedance is apportioned among the                     of the source’s reports to the EPA and                 contribution.289
                                                 state’s sources through a procedure that                overseeing the source’s Allowance                         The EPA has analyzed hourly
                                                 accounts for the sources’ shares of the                 Management System account; and                         emissions data reported in prior cap-
                                                 state’s total emissions for the control                 comprehensive data on emissions and                    and-trade programs and identified
                                                 period as well as the sources’ shares of                allowances are made publicly available.                instances of sources that did not operate
                                                 the state’s assurance level for the control                The EPA continues to believe that the               SCR controls for substantial portions of
                                                 period.                                                 historical CSAPR trading program                       recent ozone seasons. In an effort to
                                                    • At the program’s compliance                        structure established by the common                    ensure emissions control on critically
                                                 deadlines after each control period,                    design elements just described has                     important highest ozone days, guard
                                                 sources are required to hold for                        important positive attributes,                         against non-operation of emissions
                                                 surrender specified quantities of                       particularly with respect to the                       controls under a more protective
                                                 allowances. The minimum quantities of                   exceptional degree of compliance                       NAAQS, and provide assurance of
                                                 allowances that must be surrendered are                 flexibility it can provide to a sector such            elimination of significant contribution
                                                 based on the sources’ reported                          as the electric power sector where such                to downwind areas, while also
                                                 emissions for the control period at a 1-                flexibility is especially useful and                   maintaining appropriate compliance
                                                 for-1 ratio of allowances to tons of                    valuable. However, the EPA also shares                 and operational flexibility for EGUs, the
                                                 emissions (or 2-for-1 in instances of late              many stakeholders’ concerns about                      EPA in this rule is implementing a suite
                                                 compliance). In addition, two more                      whether the historical structure, without              of enhancements to the trading program.
                                                 allowances must be surrendered for                      enhancements, is capable of adequately                 These will help to ensure reductions
                                                 each ton of emissions exceeding a state’s               addressing states’ good neighbor                       occur on the highest ozone days
                                                 assurance level for a control period,                   obligations with respect to the 2015                   commensurate with our Step 3
                                                 yielding an overall 3-for-1 surrender                   ozone NAAQS in light of the rapidly                    determinations, in addition to
                                                 ratio for those emissions (or 4-for-1 in                evolving EGU fleet and the                             maintaining a mass-based seasonal
                                                 instances of late compliance). Failure to               protectiveness and short-term form of                  requirement. To meet the statutory
                                                 timely surrender all required allowances                the ozone standard. One set of concerns                mandate to eliminate significant
                                                 is potentially subject to penalties under               relates to the historically observed                   contribution and interference with
                                                 the CAA’s enforcement provisions.                       tendency under the trading programs for
                                                    • To continuously incentivize sources                the supply of allowances to grow over                    289 We also observe that these sources’ emissions

                                                 to reduce their emissions even when                     time while the demand for allowances                   have the potential to impact downwind
                                                 they already hold sufficient allowances                                                                        overburdened communities. See Ozone Transport
                                                                                                         falls, reducing allowance prices and                   Policy Analysis Final Rule TSD, Section E. The EPA
                                                 to cover their expected emissions for a                 eroding the consequent incentives for                  conducted a screening-level analysis to determine
                                                 control period, and to promote                          sources to effectively control their                   whether there may be impacts on overburdened
                                                 compliance cost minimization,                                                                                  communities resulting from those EGUs receiving
                                                                                                         emissions. A second, overlapping set of                backstop emissions rates under this rule. This
                                                 operational flexibility, and allowance                  concerns relates to the general absence                analysis identified a greater potential for these
                                                 market liquidity, the programs allow                    of source- or unit-specific emissions                  sources to affect areas of potential concern than the
                                                 trading of allowances—both among
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                                                                                                         reduction requirements, allowing some                  national coal-fired EGU fleet on average. However,
                                                 sources in the program and with non-                                                                           this analysis is distinct from the more
                                                                                                                                                                comprehensive exposure analysis conducted as
                                                 source entities—and also let allowances                    288 As discussed in section VI.B.6 of this
                                                                                                                                                                discussed in section VII of this document and the
                                                 that are unused in one control period be                document, while allowance banking has not              RIA. In addition, we note that our conclusions
                                                 carried over for use in future control                  previously been limited under any of the CSAPR         regarding the EGU trading program enhancements
                                                                                                         trading programs, limits on the use of banked          in this final rule are wholly supportable and
                                                 periods as banked allowances. Although                  allowances were included in the earlier NOX            justified under the good neighbor provision, even
                                                 the CSAPR programs do not limit                         Budget Trading Program in the form of ‘‘flow           in the absence of any potential benefits to
                                                 trading of allowances, and prior to this                control’’ provisions.                                  overburdened communities.



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                                                 maintenance on the critically important                 certain rates of emissions per unit of                 budgets in the CSAPR Update
                                                 days, this combination of provisions                    heat input (i.e., the amount of fuel                   established in 2016 reflected
                                                 will strongly incentivize sources to plan               consumed) and the effects of the                       implementation of the emissions control
                                                 to run controls all season, including on                resulting emissions reductions on                      strategy of operating and optimizing
                                                 the highest ozone days, while giving                    downwind air quality. After                            existing SCR controls, within four years
                                                 reasonable flexibility for occasional                   determining the emissions control                      the EPA found that EGU retirements and
                                                 operational needs.290                                   strategies and associated emissions                    changes in utilization not anticipated in
                                                   In this rulemaking, the EPA is                        reductions that should be required                     EPA’s previous budget-setting
                                                 revising the Group 3 trading program to                 under the good neighbor provision by                   computations had made it economically
                                                 include enhancements designed to                        considering these factors in a                         attractive for at least some sources to
                                                 address both sets of concerns described                 multifactor test at Step 3, the EPA has                idle or reduce the effectiveness of their
                                                 previously. The principles guiding the                  then for purposes of Step 4                            existing controls (relying on purchased
                                                 various revisions and the relationships                 implementation program design                          allowances instead).291 While the EPA
                                                 of the revisions to one another are                     projected the amounts of emissions that                has provided analysis indicating that,
                                                 discussed in sections VI.B.1.b and                      would remain after the assumed                         on average, sources operate their
                                                 VI.B.1.c of this document. The                          implementation of the selected                         controls more effectively on high
                                                 individual revisions are discussed in                   emissions control strategies at various                electric demand days, it has also
                                                 more detail in sections VI.B.4 through                  points in the future and has established               identified cases where units fail to
                                                 VI.B.9 of this document.                                the projected remaining amounts of                     optimize their controls on these days.
                                                                                                         emissions as the state emissions budgets               Downwind states have suggested this
                                                 b. Enhancements To Maintain Selected
                                                                                                         in trading programs.                                   type of reduced pollution control
                                                 Control Stringency Over Time                               Projecting the amounts of emissions                 performance has occurred on the day
                                                    The first set of concerns noted about                remaining after implementation of                      and preceding day of an ozone
                                                 the current CSAPR trading program                       selected emissions controls necessarily                exceedance.292 293 While the EPA had
                                                 structure relates to the programs’ ability              requires projections not only for                      previously provided analysis focusing
                                                 to maintain the rule’s selected control                 sources’ future emissions rates but also               on the year of initial program
                                                 stringency and related EGU effective                    for other factors that influence total                 implementation, when allowance prices
                                                 emissions performance level as the EGU                  emissions, notably the composition of                  were high (i.e., 2017 for the CSAPR
                                                 fleet evolves over time. Under the                      the future EGU fleet (i.e., the capacity               Update), to demonstrate that on average,
                                                 historical structure of the CSAPR                       amounts of different types of sources                  sources operate their controls more
                                                 trading programs, the effectiveness of                  with different emissions rates) and their              effectively on high electric demand
                                                 the programs at maintaining the rule’s                  future utilization levels (i.e., their heat            days, even in that case it had identified
                                                 selected control stringency depends                     input). To the extent conditions unfold                situations where particular units failed
                                                 entirely on how allowance prices over                   in practice that differ from the                       to optimize their controls on these days.
                                                 time compare to the costs of sources’                   projections made at the time of a                      In later years, when allowance prices
                                                 various emissions reduction                             rulemaking for these other factors, over               had fallen, more sources, including
                                                 opportunities, which in turn depends                    time the emissions budgets may not                     some identified by commenters, had
                                                 on the relationship between the supply                  reflect the intended stringency of the                 idled or reduced the effectiveness of
                                                 for allowances and the demand for                       emissions control strategies identified in             their controls. Such an outcome
                                                 allowances. In considering possible                     the rulemaking as consistent with                      undermined the ongoing achievement of
                                                 ways to address concerns about the                      addressing states’ good neighbor                       emissions rate performance consistent
                                                 ability to enhance the historical trading               obligations. Further, projecting EGU                   with the control strategies identified in
                                                 program structure to better sustain                     fleet composition and utilization                      the CSAPR Update to eliminate
                                                 incentives to control emissions over                    beyond the relatively near-term analytic               significant contribution to
                                                 time, the EPA has focused on the                        years of 2023 and 2026 given particular                nonattainment and interference with
                                                 trading program design elements that                    attention in this rulemaking has become                maintenance, despite the fact that the
                                                 determine the supply of allowances,                     increasingly challenging in light of the               mass-based budgets were being met.
                                                 specifically the approach for setting                   anticipated continued evolution of the                    In the Revised CSAPR Update, the
                                                 state emissions budgets and the rules                   electric power sector toward more                      EPA took steps to better address the
                                                 concerning the carryover of unused                      efficient and cleaner sources of                       rapid evolution of the EGU fleet,
                                                 allowances for use in future control                    generation, including as driven by                     specifically by setting updated
                                                 periods as banked allowances.                           incentives provided by the                             emissions budgets for individual future
                                                                                                         Infrastructure Investment and Jobs Act
                                                 i. Revised Emissions Budget-Setting                     as well as the Inflation Reduction Act.                   291 The price of allowances in CSAPR Update
                                                 Process                                                    A consequence of using a trading                    states started at levels near $800 per ton in 2017 but
                                                    In each of the previous rulemakings                  program approach with preset emissions                 declined to less than $100 per ton by 2019 and were
                                                                                                         budgets that do not keep pace with the                 less than $70 per ton in July 2020 (data from S&P
                                                 establishing CSAPR trading programs,                                                                           Global Market Intelligence).
                                                 the EPA has evaluated the emissions                     trends in EGU fleet composition and                       292 86 FR 23117.

                                                 that could be eliminated through                        heat input is that the preset emissions                   293 See EPA–HQ–OAR–2020–0272–0094 (‘‘[This]

                                                 implementation of certain types of                      budgets maintain the supply of                         is demonstrated through examination of Maryland’s
                                                 emissions control strategies available at               allowances at levels that increasingly                 ozone design value days for June 26th–28th, 2019.
                                                                                                                                                                On those days, Maryland recorded 8-hour ozone
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                                                 various cost thresholds to achieve                      exceed the emissions that would occur
                                                                                                                                                                levels of 75, 85 and 83 ppb at the Edgewood
                                                                                                         even without implementation of the                     monitor. Maryland Department of the Environment
                                                   290 Deferral of the backstop daily emissions rate     emissions control strategies used as the               evaluated the daily NOX emission rate for units in
                                                 for certain EGUs, for reasons discussed in section      basis for determining the emissions                    Pennsylvania that were found to influence the
                                                 VI.B.7 of this document, does not alter this finding    budgets, causing decreases in allowance                design values on the 3 exceedance days (and 1 day
                                                 that this trading program enhancement is an                                                                    prior to the exceedance) against the past-best ozone
                                                 important part of the solution to eliminating
                                                                                                         prices and hence the incentives to                     season 30-day rolling average optimized NOX rate
                                                 significant contribution from EGUs under CAA            implement the control strategies. As an                (which tends to be higher than the absolute lowest
                                                 section 110(a)(2)(D)(i)(I).                             example, although the emissions                        seasonal average rate).’’).



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                                                 years though 2024 that reflect future                   Policy Analysis Final Rule TSD. To                        generation shifting associated with
                                                 EGU fleet changes known with                            summarize here, the methodology used                      implementation of the selected control
                                                 reasonable certainty at the time of the                 to determine the preset budgets largely                   strategies, because any such shifting
                                                 rulemaking. Some commenters in that                     follows the Revised CSAPR Update’s                        should already be reflected in the
                                                 rulemaking requested that the EPA also                  emissions budget-setting methodology,                     reported heat input data used to update
                                                 update the year-by-year emissions                       which included three primary steps: (1)                   the baseline.
                                                 budgets to reflect future fleet changes                 establishment of a baseline inventory of                     The EPA believes that the revisions to
                                                 that might become known after the time                  EGUs adjusted for known retirements                       the emissions budget-setting process
                                                 of the rulemaking, but the EPA declined                 and new units, with heat input and                        will substantially improve the ability of
                                                 to do so, in part because no                            emissions rate data for each EGU in the                   the emissions budgets to keep pace with
                                                 methodology for making future                           inventory based on recent historical                      changes in the composition and
                                                 emissions budget adjustments in                         data; (2) adjustment of the baseline data                 utilization of the EGU fleet. The
                                                 response to post-rulemaking data had                    to reflect assumed emissions rate                         dynamic budget-setting methodology
                                                 been included in the proposal for the                   changes resulting from known new                          will account for the electric power
                                                 rulemaking.                                             controls, known gas conversions, and                      sector’s overall trends toward more
                                                    Based on information available as of                 implementation of the emissions control                   efficient and cleaner resources, both of
                                                 December 2022, it appears that the                      strategies used to determine states’ good                 which tend to decrease total heat input
                                                 emissions budgets set for the first two                 neighbor obligations; and (3) application                 at affected EGUs, and through 2029 the
                                                 control periods covered by the Revised                  of an increment or decrement to reflect                   preset budgets established in the rule
                                                 CSAPR Update generally succeeded at                     the effect on emissions from projected                    will also account for these factors to the
                                                 creating incentives to operate emissions                generation shifting among the units in a                  extent known. The dynamic budget-
                                                 controls under the Group 3 trading                      state at the emissions reduction cost                     setting methodology will also account
                                                 program for those control periods.                      associated with the selected emissions                    for other factors that could lead to
                                                 However, the EPA recognizes that the                    control strategies. In this rulemaking,                   increased heat input in some states,
                                                 lack of emissions budget adjustments                    the EPA has determined the preset state                   such as generation shifting from other
                                                 after 2024 in conjunction with industry                 emissions budgets for the control                         states or increases in electricity demand
                                                 trends toward more efficient and cleaner                periods from 2023 through 2029 by                         caused by rising electrification. The
                                                 resources will likely lead to a surplus of              using the Revised CSAPR Update’s                          dynamic budget-setting procedure is
                                                 allowances after the adjustments end.                   budget-setting methodology, except that                   specified in this final rule’s trading
                                                 This prospect for the existing Group 3                  the step of that methodology intended to                  program regulations and the
                                                 trading program should be avoided by                    reflect the effects of generation shifting                computations, which are
                                                 the changes being made in this                          has been eliminated.                                      straightforward, can be performed in a
                                                 rulemaking. In this rulemaking, besides                    The dynamic budget-setting                             spreadsheet to deliver reliable results.
                                                 establishing new preset emissions                       methodology used to determine                             The EPA will provide public notice of
                                                 budgets for the 2023 through 2029                       dynamic state emissions budgets in the                    the preliminary calculations and the
                                                 control periods, the EPA is also                        year before each control period starting                  data used by March 1 of the year
                                                 extending the Group 3 trading program                   with the 2026 control period is set forth                 preceding the control period and will
                                                 budget-setting methodology used in the                  in the revised Group 3 trading program                    provide an opportunity for submission
                                                 Revised CSAPR Update to routinely                       regulations at 40 CFR 97.1010(a). This                    of any objections to the data and
                                                 calculate dynamic emissions budgets for                 methodology modifies the Revised                          preliminary calculations before
                                                 each future control period from 2026 on,                CSAPR Update’s budget-setting                             finalizing the dynamic budgets for each
                                                 to be published in the year before that                 methodology in two ways. First, the                       control period by May 1 of the year
                                                 control period, with each dynamic                       baseline EGU inventory and heat input                     before the control period to which those
                                                 emissions budget generally reflecting                   data, but not the emissions rate data,                    dynamic budgets apply. Thus, for
                                                 the latest available information on the                 will be updated for each control period                   example, sources and other stakeholders
                                                 composition and utilization of the EGU                  using the most recent available reported                  will have certainty by May 1, 2025, of
                                                 fleet at the time that dynamic emissions                data in combination with reported data                    the dynamic emissions budgets that will
                                                 budget is determined. For the control                   from the four immediately preceding                       be calculated for the 2026 control period
                                                 periods in 2026 through 2029, each                      years. For example, in early 2025, using                  that starts May 1, 2026. Moreover, as of
                                                 state’s final emissions budget will be the              the final data reported for 2020 through                  the issuance of this final rule,
                                                 preset budget determined for the state in               2024, the EPA will update the baseline                    stakeholders will know the state-level
                                                 this rulemaking except in instances                     inventory and heat input data used to                     preset emissions budgets for the 2026–
                                                 when the dynamic budget determined                      determine dynamic state emissions                         2029 control periods, which serve as
                                                 for the state (and published                            budgets for the 2026 control period.294                   floors that will only be supplanted by
                                                 approximately one year before the                       Second, the EPA will not apply an                         dynamic budgets calculated for those
                                                 control period using the dynamic                        increment or decrement to any state                       control periods if such a dynamic
                                                 budget-setting methodology) is higher.                  emissions budget for projected                            budget yields a higher amount of tons
                                                 For control periods in 2030 and                                                                                   than the corresponding preset budget
                                                 thereafter, the emissions budgets will be                  294 As discussed in section VI.B.4 of this             established in this action.
                                                 the amounts determined for each state                   document, the state-level data used to determine             It bears emphasis that the annually
                                                 in the year before the control period                   the overall state-level heat input for computing a        updated information used in the
                                                                                                         state’s dynamic budget will be a three-year average
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                                                 using the dynamic budget-setting                                                                                  dynamic budget-setting computations
                                                                                                         (e.g., 2022–2024 state-level data will be used in
                                                 methodology.                                            2025 to set the 2026 dynamic budgets). The unit-
                                                                                                                                                                   will concern only the composition and
                                                    The current budget-setting                           level data used to determine individual units’            utilization of the EGU fleet and not the
                                                 methodology established in the Revised                  shares of the state-level heat input in the               emissions rate data also used in those
                                                 CSAPR Update and the revisions being                    computations will be the average of the three             computations. The dynamically
                                                                                                         highest non-zero heat input amounts for the
                                                 made to that methodology are discussed                  respective units over the most recent five years (e.g.,
                                                                                                                                                                   determined emissions budget
                                                 in detail in section VI.B.4 of this                     2020–2024 unit-level data will be used in 2025 to         computations for all years will reflect
                                                 document and the Ozone Transport                        set the 2026 dynamic budgets).                            only the specific emissions control


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                                                 strategies used to determine states’ good               program to maintain the rule’s selected                strategies defined as eliminating
                                                 neighbor obligations as determined in                   control stringency as the EGU fleet                    significant contribution to
                                                 this rulemaking, along with fixed                       evolves over time, is the set of rules                 nonattainment and interference with
                                                 historical emissions rates for units that               concerning the carryover of unused                     maintenance.
                                                 are not assumed to implement                            allowances for use in future control                      As discussed in detail in section
                                                 additional control strategies, thereby                  periods as banked allowances. As noted                 VI.B.6 of this rule, the EPA is revising
                                                 ensuring that the annual updates will                   previously, trading and banking of                     the Group 3 trading program by adding
                                                 eliminate emissions as determined to be                 allowances in the CSAPR trading                        provisions that establish a routine
                                                 required under the good neighbor                        programs can serve a variety of                        recalibration process for banked
                                                 provision. The stringency of the                        purposes: continuously incentivizing                   allowances that will be carried out in
                                                 emissions budgets will simply reflect                   sources to reduce their emissions even                 August 2024 and each subsequent
                                                 the stringency of the emissions control                 when they already hold sufficient                      August, after the compliance deadline
                                                 strategies determined in the Step 3                     allowances to cover their expected                     for the control period in the previous
                                                 multifactor analysis and will do so more                emissions for a control period,                        year. In each recalibration, the EPA will
                                                 consistently over time than the EPA’s                   facilitating compliance cost                           reset the total quantity of banked
                                                 previous approach of computing                          minimization, accommodating                            allowances for the Group 3 trading
                                                 emissions budgets for all future control                necessary operational flexibility, and                 program (‘‘Group 3 allowances’’) held in
                                                 periods at the time of the rulemaking.                  promoting allowance market liquidity.                  all Allowance Management System
                                                    The rule’s revisions relating to state               All of these purposes are advanced by                  accounts to a level computed as a target
                                                 emissions budgets and the budget-                       rules that allow sources to trade                      percentage of the sum of the state
                                                 setting process generally follow the                    allowances freely (both with other                     emissions budgets for the current
                                                 proposal except for two changes we are                  sources and with non-source entities                   control period. The target percentage
                                                 making in response to comments,                         such as brokers). All of these purposes                will be 21 percent for the 2024–2029
                                                 specifically: we will use historical data               are also advanced by rules that allow                  control periods and 10.5 percent for
                                                 from multiple years rather than a single                unused allowances to be carried over for               control periods in 2030 and later years.
                                                 year in the dynamic budget-setting                      possible use in future control periods,                The recalibration procedure entails
                                                 process, and we are establishing preset                 thereby preserving a value for the                     identifying the ratio of the target bank
                                                 emissions budgets for the 2026–2029                     unused allowances. However, while the                  amount to the total quantity of banked
                                                 control periods such that the dynamic                   EPA considers it generally advantageous                allowances held in all accounts before
                                                 budgets for those control periods will                  to place as few restrictions on the                    the recalibration and then, if the ratio is
                                                 only be imposed where they exceed the                   trading of allowances as possible,295                  less than 1.0, multiplying the quantity
                                                 corresponding preset budgets finalized                  unrestricted banking of allowances has                 of banked allowances held in each
                                                 in this rule. The rationale for these                   a potentially significant disadvantage                 account by the ratio to identify the
                                                 changes is discussed later in this section              offsetting its advantages, namely that it              appropriate recalibrated amount for the
                                                 as part of the responses to the relevant                allows what might otherwise be                         account (rounded to the nearest
                                                 comments. Details of the final budget-                  temporary surpluses of allowances in                   allowance), and deducting any
                                                 setting methodology and responses to                    some individual control periods to                     allowances in the account exceeding the
                                                 additional comments are discussed                       accumulate into a long-term allowance                  recalibrated amount.
                                                 further in section VI.B.4 of this                       surplus that reduces allowance prices                     As noted previously, recalibration of
                                                 document.                                               and weakens the trading program’s                      the bank for each control period will be
                                                    The final rule’s provisions relating to              incentives to control emissions. With                  carried out in August of that control
                                                 the determination of state-level                        weakened incentives, some operators                    period. This timing will accommodate
                                                 variability limits and assurance levels                 would be more likely to choose not to                  the process of deducting allowances for
                                                 and unit-level allowance allocations are                continuously operate and optimize their                compliance for the previous control
                                                 coordinated with the budget-setting                     emissions controls, imperiling the                     period, which cannot be completed
                                                 methodology. These provisions                           ongoing achievement of emissions rate                  before sources’ June 1 compliance
                                                 generally follow the proposal except                    performance consistent with the control                deadline for the previous control period,
                                                 that the change to the methodology for                                                                         and will then provide approximately
                                                 determining variability limits is                          295 The advantages of trading programs discussed    two additional months for sources to
                                                 implemented starting with the 2023                      earlier in this section—providing continuous           engage in any desired allowance
                                                                                                         emissions reduction incentives, facilitating           transactions before recalibration occurs.
                                                 control period instead of the 2025                      compliance cost minimization, and supporting
                                                 control period and the final                            operational flexibility—depend on the existence of     However, data that can be used to
                                                 methodology for determining unit-level                  a marketplace for purchasing and selling               estimate the bank recalibration ratio for
                                                 allocations of allowances to coal-fired                 allowances. Broader marketplaces generally provide     each control period will be available
                                                                                                         greater market liquidity and therefore make trading    shortly after the end of the previous
                                                 units considers the controlled emissions                programs better at providing these advantages. The
                                                 rate assumptions applicable to the same                 EPA recognizes that unrestricted use of net            control period, and the EPA will use
                                                 units in the budget-setting process.                    purchased allowances—meaning quantities of             these data to make information on the
                                                 Details of these provisions, including                  purchased allowances that exceed the quantities of     estimated bank recalibration ratio for
                                                                                                         allowances sold—by a source or group of sources
                                                 the rationales for the changes from                     as an alternative to making emissions reductions
                                                                                                                                                                each control period publicly available
                                                 proposal, are discussed in sections                     can interfere with the achievement of the desired      no later than March 1 of the year of that
                                                 VI.B.5 and VI.B.9, respectively.                        environmental outcome. Therefore, section VI.B.1.c     control period, thereby facilitating the
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                                                                                                         of this document discusses the enhancements to the     ability of affected EGUs to anticipate
                                                 ii. Allowance Bank Recalibration                        Group 3 trading program that the EPA is making in
                                                                                                                                                                their ultimate holdings of recalibrated
                                                                                                         this rulemaking to reduce reliance on net purchased
                                                    Besides the levels of the emissions                  allowances by incentivizing or requiring better        banked allowances to inform their
                                                 budgets, the second design element of                   environmental performance at individual EGUs.          compliance planning for that control
                                                 the trading program structure that                      However, the concern arises from the use of an         season. Affected EGUs will also have
                                                                                                         excessive quantity of net purchased allowances for
                                                 affects the supply of allowances in each                a particular purpose, not from the existence of a
                                                                                                                                                                several months following the completed
                                                 control period, and that consequently                   marketplace where allowances may be freely             bank recalibration in August to transact
                                                 also affects the ability of a trading                   bought and sold.                                       allowances with other parties as needed


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                                                 before the allowance transfer deadline                  concentrations downwind on the                         each day of the control period, any
                                                 of June 1 of the following year.                        particular days that matter for                        excess of the unit’s reported emissions
                                                    The EPA believes this revision to the                downwind exceedances of the relevant                   (in pounds) over the emissions that
                                                 Group 3 trading program’s banking                       air quality standard.                                  would have resulted from combusting
                                                 provisions establishing an annual bank                     This EPA intends that the trading                   that day’s actual heat input at an
                                                 recalibration process will complement                   program enhancements described in                      average daily emissions rate of 0.14 lb/
                                                 the revisions to the budget-setting                     section VI.B.1.b of this rule will                     mmBtu, summing the daily amounts,
                                                 process by preventing any surplus of                    improve the Group 3 trading program’s                  converting from pounds to tons,
                                                 allowances created in one control                       ability to sustain emissions control                   computing the amount of any excess
                                                 period from diminishing the intended                    incentives over time such that needed                  over 50 tons, and multiplying by two.
                                                 stringency and resulting emissions                      emissions performance will be achieved                 Starting with the second control period
                                                 reductions of the emissions budgets for                 by all participating units without the                 in which newly installed SCR controls
                                                 subsequent control periods.                             need for additional requirements to be                 are operational, but not later than the
                                                    The calibration procedure will not                   imposed at the level of individual units.              2030 control period, the 3-for-1
                                                 erase the value of unused allowances for                However, because obtaining needed                      surrender ratio will apply in the same
                                                 the holder, because the larger the                      emissions performance at individual                    way to all large coal-fired EGUs except
                                                 quantity of banked allowances that is                   units is also important to the                         circulating fluidized bed units,
                                                 held in a given account before each                     elimination of significant contribution                consistent with EPA’s determination
                                                 recalibration, the larger the quantity of               in keeping with the EPA’s Step 3                       that a control stringency reflecting
                                                 banked allowances that will be left in                  determinations, the EPA is                             installation and operation of SCR
                                                 the account after the recalibration for                 supplementing the previously discussed                 controls on all such large coal-fired
                                                 possible sale or use in meeting future                  enhancements with two other new sets                   EGUs is appropriate to address states’
                                                 compliance requirements. Because the                    of provisions that will apply to certain               good neighbor obligations with respect
                                                 banked allowances will always have                      individual units within the larger                     to the 2015 ozone NAAQS.
                                                 value, the opportunity to bank                          context of the Group 3 trading program.                   In prior rules addressing interstate
                                                 allowances will continue to advance the                 The allowance price will continue to be                transport of air pollution, stakeholders
                                                 purposes served by otherwise                            the most important driver of good                      have noted that while seasonal cap-and-
                                                 unrestricted banking as described                       environmental performance for most                     trade programs are effective at lowering
                                                 previously. Opportunities to bank                       units, but the proposed unit-level                     ozone and ozone-forming precursors
                                                 unused allowances can serve all these                   requirements will be important                         across the ozone season, attainment of
                                                 same purposes whether a banked                          supplemental drivers of performance                    the standard is measured on key days
                                                 allowance is of partial value (if the bank              and will offer additional assurance that               and therefore it is necessary to ensure
                                                 needs recalibrating to its target level) or             significant contribution is eliminated on              that the rule requires emissions
                                                 is of full value compared to a newly                    a daily basis during the ozone season by               reductions not just seasonally, but also
                                                 issued allowance for the next control                   more continuous operation of existing                  on those key days.296 They have noted
                                                 period.                                                 pollution controls.                                    that while the trading programs
                                                    The final rule’s provisions relating to                                                                     established under the NOX SIP Call,
                                                 bank recalibration generally follow the                 i. Unit-Specific Backstop Daily
                                                                                                         Emissions Rates                                        CAIR, and CSAPR have all been
                                                 proposal except that, in response to                                                                           successful in ensuring seasonal
                                                 comments, the target percentage used to                    The first of the trading program                    reductions, states must remain below
                                                 determine the recalibrated bank levels                  enhancements intended to improve                       daily peak levels, not just seasonal
                                                 for the 2024–2029 control periods is                    emissions performance at the level of                  levels, to reach attainment. These
                                                 being set at 21 percent instead of 10.5                 individual units is the addition of                    downwind stakeholder communities
                                                 percent. The rationale for this change is               backstop daily NOX emissions rate                      have suggested that operating pollution
                                                 discussed later in this section as part of              provisions that will apply to large coal-              controls on the highest ozone days (and
                                                 the responses to the relevant comments.                 fired EGUs, defined for this purpose as                immediately preceding days) during the
                                                 Details of the bank recalibration                       units serving electricity generators with              ozone season is of critical importance.
                                                 provisions are discussed further in                     nameplate capacities equal to or greater               The EPA has analyzed hourly emissions
                                                 section VI.B.6 of this rule.                            than 100 MW and combusting any coal                    data reported in prior cap-and-trade
                                                                                                         during the control period in question.                 programs and has identified instances of
                                                 c. Enhancements To Improve Emissions                    Starting with the 2024 control period, a
                                                 Performance at Individual Units                                                                                sources that did not operate SCR
                                                                                                         3-for-1 allowance surrender ratio                      controls for substantial portions of
                                                    The second set of concerns about the                 (instead of the usual 1-for-1 surrender                recent ozone seasons. These instances
                                                 structure of the current CSAPR trading                  ratio) will apply to emissions during the              are discussed in section V.B.1.a of this
                                                 programs relates to the general absence                 ozone season from any large coal-fired                 document and in the EGU NOX
                                                 of source- or unit-specific emissions                   EGU with existing SCR controls                         Mitigation Strategies Final Rule TSD in
                                                 reduction requirements. Without such                    exceeding by more than 50 tons a daily                 the docket. While the EPA has in prior
                                                 requirements, the programs affect                       average NOX emissions rate of 0.14 lb/                 ozone transport actions not found
                                                 individual sources’ emissions                           mmBtu. The additional allowance                        sufficient evidence of emissions control
                                                 performance only to the extent that the                 surrender requirement will be integrated               idling or non-optimization to take the
                                                 incentives created by allowance prices                  into the trading program as a new                      step of building in enhancements to the
                                                 are high enough relative to the costs of
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                                                                                                         component in the calculation of each                   trading program to ensure unit-level
                                                 the sources’ various emissions control                  unit’s primary emissions limitation,                   control operation, our review of
                                                 opportunities. In circumstances where                   such that the additional allowances will               subsequent-year data for prior programs
                                                 the incentives to control emissions are                 have to be surrendered by the same                     suggests that the non-optimization
                                                 insufficient, some individual sources                   compliance deadline of June 1 after each
                                                 even idle existing emissions controls.                  control period. The amount of                            296 E.g., comments of Maryland Department of the
                                                 Emissions from these individual sources                 additional allowances to be surrendered                Environment on the proposed Revised CSAPR
                                                 can contribute to increased pollution                   will be determined by computing, for                   Update at 3, EPA–HQ–OAR–2020–0272–0094.



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                                                 behavior increases in the latter years of                  We considered whether, as some                         higher NOX allowance prices.
                                                 a program. Applied to this context (e.g.,               commenters suggested, it would be                         Downwind stakeholders have noted that
                                                 a rule providing a full remedy to                       appropriate to simply implement unit-                     some of the higher emissions rates
                                                 interstate transport for the more                       specific daily emissions limitation at all                (specifically in the case of Conemaugh
                                                 protective 2015 ozone NAAQS and an                      of the large, coal-fired EGUs, and forego                 Unit 2 in 2019) have occurred on the
                                                 extended period of expected persistence                 an emissions trading approach                             day of and the preceding day of an
                                                 of receptors), this data suggests this                  altogether. While this is within the                      ozone exceedance in bordering states.299
                                                 deterioration in performance could                      EPA’s statutory authority, see CAA                           The EPA believes that the design of
                                                 become prevalent and problematic in                     section 110(a)(2)(A) and 302(y), and                      the daily emissions rate provisions will
                                                 future years if not addressed. Rather                   merits careful consideration, we are                      be effective in addressing these types of
                                                 than allow for the potential of continued               declining to do so in this action but                     high-emitting behavior by significantly
                                                 deterioration in the environmental                      intend to closely monitor EGU                             raising the cost of planned operator
                                                 performance of our trading programs,                    emissions performance in response to                      decisions that substantially compromise
                                                 the EPA finds the evidence of declining                 the trading program finalized here. The                   environmental performance. At the
                                                 SCR performance in later years of                       purpose of establishing a backstop daily                  same time, the provision will not
                                                 trading programs sufficient to justify                  NOX emissions rate and implementing it                    unduly penalize an occasional
                                                 prophylactic measures in this rule to                   through additional allowance surrender                    unplanned exceedance, because the
                                                 ensure the emissions control strategy                   requirements instead of as an                             amount of additional allowances that
                                                 selected at Step 3 is indeed                            enforceable emissions limitation is to                    would have to be surrendered to address
                                                 implemented at Step 4. Thus,                            incentivize improved emissions                            a single day’s exceedance would be
                                                 particularly in the context of the more                 performance at the individual unit level                  much smaller than the amount that
                                                 protective 2015 ozone NAAQS                             while continuing to preserve, to the                      would have to be surrendered to address
                                                 combined with the full remedy nature of                 extent possible, the advantages that the                  planned poor performance sustained
                                                 this action and the extended timeframe                  flexibility of a trading program brings to                over longer time periods. Moreover, the
                                                 for which upwind contribution to                        the electric power sector. As discussed                   EPA believes that the inclusion of a 50-
                                                 downwind nonattainment is projected                     in section VI.B.7 of this document,                       ton threshold before the increased
                                                 to persist, the EPA agrees with these                   under the EPA’s historical trading                        surrender requirements would apply is
                                                 stakeholders that the set of measures                   programs without the enhancements                         sufficient to address virtually all
                                                 promulgated in this rulemaking to                       made in this rulemaking, some                             instances where a unit’s emissions
                                                 implement the control stringency levels                 individual coal-fired units with SCR                      would exceed the 0.14 lb/mmBtu daily
                                                 found necessary to address states’ good                 controls have chosen to operate the                       rate because of unavoidable startup or
                                                 neighbor obligations should include                     controls at lower removal efficiencies                    shutdown conditions during which SCR
                                                 measures designed to more effectively                   than in past ozone seasons or even to                     equipment cannot be operated, thereby
                                                 ensure that individual units operate                    idle the controls for entire ozone                        ensuring that the provision will not
                                                 their emissions controls routinely                      seasons. In addition, some SCR-                           penalize units for emissions that are
                                                 throughout the ozone season, thereby                    equipped units have chosen to routinely                   beyond their reasonable control.
                                                 also ensuring that the controls are                                                                                  The EPA is applying the daily
                                                                                                         cycle their emissions controls off at
                                                 planned to be in operation on the                                                                                 emissions rate provisions to large coal-
                                                                                                         lower load levels, such as while
                                                 particular days that turn out to be most                                                                          fired EGUs, and not to other types of
                                                                                                         operating overnight, instead of operating
                                                 critical for ozone formation and for                                                                              units, for reasons that are consistent
                                                                                                         the controls, upgrading the units to
                                                 attainment of the NAAQS. Routine                                                                                  with EPA’s determinations regarding the
                                                                                                         enable the controls to be operated under
                                                 operation of emissions controls will also                                                                         appropriate control stringency for EGUs
                                                                                                         those conditions, or not operating the                    to address states’ good neighbor
                                                 provide relief to overburdened                          units under those conditions.
                                                 communities downwind of any units                                                                                 obligations with respect to the 2015
                                                                                                         Collectively, this non-optimization of                    ozone NAAQS. Installation and
                                                 that might otherwise have chosen not to                 existing controls has a detrimental
                                                 operate their controls. In the Ozone                                                                              operation of SCR controls is well-
                                                                                                         impact on problematic receptors. Table                    established as a common practice for the
                                                 Transport Policy Analysis Final Rule                    V.D.1–1 shows the expected air quality
                                                 TSD, the EPA conducted a screening                                                                                best control of NOX emissions from
                                                                                                         benefit from control optimization                         coal-fired EGUs, as evidenced by the
                                                 analysis that found nearly all of the                   (totaling nearly 1.6 ppb change across
                                                 EGUs included in this analysis are                                                                                fact that the technology is already
                                                                                                         all receptors).298                                        installed on more than 60 percent of the
                                                 located within a 24-hour transport                         The EPA has identified sources of
                                                 distance of many areas with potential EJ                                                                          sector’s total coal-fired capacity and
                                                                                                         interstate ozone pollution such as the                    installed on nearly 100 percent of the
                                                 concerns. Thus, the EPA is adopting                     New Madrid and Conemaugh plants (in
                                                 backstop daily rate limits at the                                                                                 coal fired boilers in the top quartile of
                                                                                                         Missouri and Pennsylvania,                                emissions rate performance. In the
                                                 individual unit level because it is                     respectively) whose SCR controls were
                                                 appropriate and justified in the context                                                                          context of addressing good neighbor
                                                                                                         not operating for substantial portions of                 obligations with respect to the 2015
                                                 of eliminating significant contribution                 recent ozone seasons. The data included
                                                 under CAA section 110(a)(2)(D)(i)(I).                                                                             ozone NAAQS, the EPA is determining
                                                                                                         in Appendix G of the Ozone Transport                      that a control stringency reflecting
                                                 While the former justification is                       Policy Analysis Final Rule TSD,
                                                 sufficient to finalize this enhancement                                                                           universal installation and operation of
                                                                                                         available in the docket for this                          SCR technology at large coal-fired EGUs
                                                 to the trading program, we also                         rulemaking, demonstrate that these
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                                                 anticipate that this measure will deliver                                                                         (other than circulating fluidized bed
                                                                                                         units have operated their SCRs better                     units) is appropriate at Step 3. Finally,
                                                 public health and environmental                         and more consistently during years with
                                                 benefits to overburdened communities                                                                              where SCR controls are installed on
                                                 (as well as the rest of the population).297                                                                       such units, optimized operation of those
                                                                                                         persist even under this final rule. See section VII
                                                                                                         of this document.
                                                                                                                                                                   controls is an extremely cost-effective
                                                   297 Nonetheless, the environmental justice               298 As illustrated in the table and underlying data,   method of achieving NOX emissions
                                                 exposure analysis indicates that preexisting            a small portion of this ppb impact is attributable to
                                                 disparities among demographic groups are likely to      combustion control upgrade potential.                      299 EPA–HQ–OAR–2020–0272–0094.




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                                                 reductions. The EPA believes these                      will be held to increased allowance-                   controls. This lag is permissible
                                                 considerations support establishment of                 surrender consequences for exceeding                   consistent with the obligation to
                                                 the daily emissions rate provisions on a                the daily rate. Second, it provides the                eliminate significant contribution for
                                                 universal basis for large coal-fired EGUs,              subset of units that exhaust to common                 reasons that are further discussed in
                                                 with near-term application of the                       stacks with other units that currently                 response to comments in section
                                                 provisions for units that already have                  lack SCR controls an opportunity to                    VI.B.1.d of this document. However, for
                                                 the controls installed and deferred                     exercise the option to install and certify             any units that choose a compliance
                                                 application for other units, as discussed               any additional monitoring systems                      strategy of installing new SCR controls
                                                 later.                                                  needed to monitor the individual units’                before 2030, the daily average emissions
                                                    With regard to gas-fired steam EGUs,                 NOX emissions rates separately;                        rate provisions would apply in the
                                                 SCR controls are nowhere near as                        otherwise, the daily emissions rate                    second control period of operation.
                                                 prevalent, and while the EPA is                         provisions will apply to the SCR-                      Specification of the second control
                                                 including some SCR controls at gas-fired                equipped units based on the combined                   period rather than the first control
                                                 steam units in the selected control                     NOX emissions rates measured in the                    period provides the unit operators with
                                                 stringency at Step 3, the EPA is not                    common stacks. Third, it provides all                  an opportunity to gain operational
                                                 including universal SCR controls at gas-                units sufficient time to update the data               experience with the new equipment
                                                 fired steam units. Because the EPA is                   handling software in their existing                    before the units will be held to
                                                 not determining that universal                          monitoring systems as needed to                        increased allowance-surrender
                                                 installation and operation of SCR                       compute and report the additional                      consequences for exceeding the daily
                                                 controls at gas-fired steam EGUs is part                hourly and daily data values needed for                rate.
                                                 of the selected control stringency, in                  implementation of the provisions.300                      The unit-specific daily emissions rate
                                                 order not to constrain the power sector’s                  With respect to the units without                   provisions are being finalized as
                                                 flexibility to choose which particular                  existing SCR controls, the daily average               proposed except for two changes noted
                                                 gas-fired steam EGUs are the preferred                  emissions rate provisions will apply                   in the previous summary: the exclusion
                                                 candidates for achieving the required                   starting with the second control period                from extra allowance surrender
                                                 emissions reductions, the EPA is not                    in which newly installed SCR controls                  requirements of a unit’s first 50 tons of
                                                 applying the daily emissions rate                       are operational at the unit, but not later             emissions in a control period exceeding
                                                 provisions to large gas-fired steam                     than the 2030 control period. This                     the backstop daily rate, and the revision
                                                 EGUs. Focusing the backstop daily                       implementation timing represents a                     of the starting date for implementation
                                                 emissions rates on coal-fired units is                  change from the proposal, under which                  of the requirement for units without
                                                 also consistent with stakeholder input                  the daily average emissions rate                       existing SCR controls to 2030 or the
                                                 which has emphasized the need for                       provisions would have applied to units                 second control period of SCR operation,
                                                 short-term rate limits at coal units given              without existing SCR starting in the                   if earlier. The rationale for these
                                                 their relatively higher emissions rates.                2027 control period. Commenters noted                  changes is further discussed in the
                                                    The EPA developed the level of the                   that for many units without SCR,                       responses to comments later in this
                                                 daily average NOX emissions rate—0.14                   replacement of the unit within a few                   section. Additional details of the unit-
                                                 lb/mmBtu—through analysis of                            years, and shifting of some generation to              specific daily emissions rate provisions
                                                 historical data, as described in section                cleaner units in the interim, would be                 are discussed in section VI.B.7 of this
                                                 VI.B.7 of this document. A rate of 0.14                 a more economic compliance strategy                    document.
                                                 lb/mmBtu represents the daily average                   than installation of new SCR controls.
                                                 NOX emissions rate that has been                                                                               ii. Unit-Specific Emissions Limitations
                                                                                                         The commenters further noted that
                                                 demonstrated to be achievable on                                                                               Contingent on Assurance Level
                                                                                                         implementation of the daily average
                                                 approximately 95 percent of days                                                                               Exceedances
                                                                                                         emissions rate for these units starting in
                                                 covering more than 99 percent of total                  2027 would strongly disadvantage such                     The second of the trading program
                                                 ozone-season NOX emissions by coal-                     an alternative strategy if the capacity                enhancements intended to improve
                                                 fired units with SCR controls that are                  replacement and any associated                         emissions performance at the level of
                                                 achieving a seasonal NOX average                        transmission improvements could not                    individual units is the addition of unit-
                                                 emissions rate of 0.08 lb/mmBtu (or                     be implemented by 2027. In light of                    specific secondary emissions limitations
                                                 less), which is the seasonal NOX                        these comments, the EPA has                            for units with post-combustion controls
                                                 emissions rate that the EPA has                         determined that as long as the emissions               starting with the 2024 control period.
                                                 determined is indicative of optimized                   budgets determined in this rule to                     The secondary emissions limitations
                                                 SCR performance by units with existing                  eliminate significant contribution are                 will be determined on a unit-specific
                                                 SCR controls.                                           still being implemented as                             basis according to each unit’s individual
                                                    As noted previously, the daily average               expeditiously as practicable—which in                  performance but will apply to a given
                                                 emissions rate provisions will apply                    this instance the EPA has determined                   unit only under the circumstance where
                                                 beginning in the 2024 control period for                requires phasing in the required                       a state’s assurance level for a control
                                                 large coal-fired units with installed SCR               emissions reductions by 2027—it is                     period has been exceeded, the unit is
                                                 controls, one control period later than                 reasonable to defer implementation of                  included in a group of units to which
                                                 optimization of those controls will be                  the daily average emissions rate                       responsibility for the exceedance has
                                                 reflected in the state emissions budgets                provisions to 2030 for units without                   been apportioned under the program’s
                                                 under this rule. For these units, not                   SCR to allow temporarily greater                       assurance provisions, and the unit
                                                                                                                                                                operated during at least 10 percent of
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                                                 applying the daily average rate                         flexibility to pursue compliance
                                                 provisions until 2024 serves three                      strategies other than installation of new              the hours in the control period. Where
                                                 purposes. First, it provides all the units                                                                     these conditions for application of a
                                                 with a preparatory interval to focus                      300 For further discussion of emissions monitoring   secondary emissions limitation to a
                                                 attention on improving not only the                     and reporting requirements under the rule,             given unit for a given control period are
                                                                                                         including the options available to plants where
                                                 average performance of their SCR                        SCR-equipped and non-SCR-equipped coal-fired
                                                                                                                                                                met, the unit’s secondary emissions
                                                 controls but also the day-to-day                        units exhaust to common stacks, see section VI.B.10    limitation consists of a prohibition on
                                                 consistency of performance before they                  of this document.                                      NOX emissions during the control


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                                                 period that exceed by more than 50 tons                 individual owner’s or operator’s control,              this rule through expansion and
                                                 the NOX emissions that would have                       not to allow owners and operators to                   enhancement of the Group 3 trading
                                                 resulted if the unit had achieved an                    plan to emit at emissions rates that                   program originally established in the
                                                 average emissions rate for the control                  could be anticipated to cause a state’s                Revised CSAPR Update, particularly
                                                 period equal to the higher of 0.10 lb/                  total emissions to exceed the state’s                  comments on electric system reliability.
                                                 mmBtu or 125 percent of the unit’s                      emissions budget or assurance level.                   Responses to comments about
                                                 lowest average emissions rate for any                   Conduct leading to a foreseeable, readily              individual aspects of the enhanced
                                                 previous control period under any                       avoidable exceedance of a state’s                      trading program are addressed in the
                                                 CSAPR seasonal NOX trading program                      assurance level cannot be reconciled                   respective subsections of this section in
                                                 during which the unit operated for at                   with the statutory mandate of the CAA’s                which those aspects are discussed.
                                                 least 10 percent of the hours.                          good neighbor provision that emissions                 Responses to comments concerning
                                                    The secondary emissions limitation is                ‘‘within the state’’ significantly                     alleged overcontrol and the EPA’s legal
                                                 in addition to, not in lieu of, the                     contributing to nonattainment or                       authority are in sections V.D. and III.
                                                 primary emissions limitation applicable                 interfering with maintenance of a                      Comments not addressed in this
                                                 to each source, which continues to take                 NAAQS in another state must be                         document are addressed in the separate
                                                 the form of a requirement to surrender                  prohibited. Because the current CSAPR                  RTC document available in the docket
                                                 a quantity of allowances based on the                   regulations do not expressly prohibit                  for this action.
                                                 source’s emissions, and also in addition                such conduct and have proven                              Comment: Some commenters,
                                                 to the existing assurance provisions,                   insufficient to deter it in some                       including EGU owners, states, and
                                                 which similarly continue to take the                    circumstances, the EPA is correcting the               several RTOs, expressed concern that
                                                 form of a requirement for the owners                    regulatory deficiency in the Group 3                   the requirements for EGUs as
                                                 and operators of some sources to                        trading program by adding secondary                    formulated in the proposal could lead to
                                                 surrender additional allowances when a                  emissions limitations that cannot be                   a degradation in the reliability of the
                                                 state’s assurance level is exceeded. In                 complied with through the use of                       electric system. As background, some of
                                                 contrast to these other requirements, the               allowances.                                            these commenters noted that the power
                                                 unit-specific secondary emissions                          The EPA notes that although the                     sector is currently undergoing rapid
                                                 limitation takes the form of a                          purpose of the secondary emissions                     change, with older and less economic
                                                 prohibition on emissions over a                         limitations is to strengthen the                       fossil-fuel-fired steam generating units
                                                 specified level, such that any emissions                assurance provisions, which apply on a                 retiring while the majority of the new
                                                 by a unit exceeding its secondary                       statewide, seasonal basis, the unit-                   capacity being added consists of wind
                                                 emissions limitation would be subject to                specific structure of the new limitations              and solar capacity. They noted that
                                                 potential administrative or judicial                    will strengthen the incentives for                     fossil-fuel-fired generating capacity
                                                 action and subject to penalties and other               individual units with post-combustion                  provides reliability benefits not
                                                 forms of relief under the CAA’s                         controls to maintain their emissions                   necessarily provided by other types of
                                                 enforcement authorities. The reason for                 performance at levels consistent with                  generating capacity, including not only
                                                 establishing this form of limitation is                 their previously demonstrated                          the ability to generate electricity in the
                                                 that experience under the existing                      capabilities. The new limitations will                 absence of wind or sunlight, but also
                                                 CSAPR trading programs has shown                        strengthen the incentives to operate and               inertia, ramping capability, voltage
                                                 that, in some circumstances, the existing               optimize the controls continuously,                    support, and frequency response.
                                                 assurance provisions have been                          which can be expected to reduce some                   Commenters stated that past EGU
                                                 insufficient to prevent exceedances of a                individual units’ emissions rates                      retirements and the pace of change in
                                                 state’s assurance level for a control                   throughout the ozone season, including                 the generating capacity mix have
                                                 period even when the likelihood of an                   on the days that turn out to be most                   already been stressing the electric
                                                 exceedance has been foreseeable and the                 critical for downwind ozone levels.                    system in some regions, and that the
                                                 exceedance could have been readily                      Better emissions performance on                        forecasted risk of events where the
                                                 avoided if certain units had operated                   average across the ozone season by                     electric system would be unable to fully
                                                 with emissions rates closer to the lower                individual units likely will also help                 meet load is rising.
                                                 emissions rates achieved in past control                address impacts of pollution on                           For purposes of their comments, these
                                                 periods. The assurance levels exist to                  overburdened communities downwind                      commenters generally assumed that the
                                                 ensure that emissions from each state                   from some such units. See Ozone                        rule would lead to additional
                                                 that contribute significantly to                        Transport Policy Analysis Final Rule                   retirements of fossil-fuel-fired
                                                 nonattainment or interfere with                         TSD, Section E.                                        generating capacity beyond the
                                                 maintenance of a NAAQS in another                          The unit-specific secondary emissions               retirements that EGU owners have
                                                 state are prohibited. North Carolina v.                 limitations are being finalized as                     already planned and announced. Some
                                                 EPA, 531 F.3d 896, 906–08 (D.C. Cir.                    proposed except that the limitations                   of the commenters also suggested that
                                                 2008). The EPA’s programs to eliminate                  will apply only to units with post-                    remaining fossil-fuel-fired generators
                                                 significant contribution must therefore                 combustion controls. The rationale for                 would be unwilling to operate when
                                                 achieve this prohibition, and the                       this change, and additional details                    needed because allowances might be
                                                 evidence of foreseeable and avoidable                   regarding the provisions, are discussed                unavailable for purchase or too costly.
                                                 exceedances of the assurance levels                     in section VI.B.8 of this document.                    In the context of an already-stressed
                                                 demonstrates that EPA’s existing                                                                               electric system, the commenters
                                                                                                         d. Responses to General Comments on
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                                                 approach has not been sufficient to                                                                            predicted that these assumed
                                                 accomplish this.                                        the Revisions to the Group 3 Trading                   consequences of the rule would threaten
                                                    The purpose of including assurance                   Program                                                resource adequacy and result in
                                                 levels higher than the state emissions                    This section summarizes and provides                 degraded electric reliability. To support
                                                 budgets in the CSAPR trading programs                   the EPA’s responses to overarching                     their assumptions concerning additional
                                                 is to provide flexibility to accommodate                comments received on the EPA’s                         retirements, some of the commenters
                                                 operational variability attributable to                 proposal to implement the emissions                    pointed to projections of incremental
                                                 factors that are largely outside of an                  reductions required from EGUs under                    generating capacity retirements


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                                                 included in the results of modeling                     entities with responsibilities relating to             reliable electric service. Assumptions of
                                                 performed by the EPA to analyze the                     electric system reliability and to                     this nature are simply not reasonable.
                                                 costs and benefits of the proposed rule.                perform additional analysis. Some                      Like many commenters, the EPA does
                                                 Some commenters indicated that they                     commenters advocated for renewed                       expect that retirement will be viewed as
                                                 expected EGU owners to be interested in                 consultations and analysis before each                 a more economic compliance strategy
                                                 retiring and replacing uncontrolled                     planned adjustment to emissions                        for some EGUs than installing new
                                                 units as of the date of implementation                  budgets under the dynamic budget-                      controls, but the Agency also expects
                                                 of the backstop daily rate requirement                  setting process. Commenters cited the                  that any resulting unit retirements will
                                                 on uncontrolled units, and expressed                    consultation processes followed during                 be carried out through an orderly
                                                 concern that the proposal to implement                  implementation of other EPA rules,                     process in which RTOs, balancing
                                                 that requirement as of the 2027 control                 such as the Mercury and Air Toxics                     authorities, and state regulators use
                                                 period did not allow sufficient time for                Standards (MATS) (77 FR 9304, Feb. 16,                 their powers to ensure that electric
                                                 planning and implementation of all the                  2012).                                                 system reliability is protected. The
                                                 necessary generation and transmission                      Response: The EPA disagrees with the                trading program inherently provides
                                                 investments to make this a viable                       comments asserting that this rule would                ample flexibility to allow such an
                                                 compliance strategy; for these                          threaten resource adequacy or otherwise                orderly transition to take place. In
                                                 commenters, 2027 and the immediately                    degrade electric system reliability. The               addition, as discussed later in this
                                                 following years were the period of                      emissions reduction requirements for                   section, the EPA has adopted several
                                                 greatest concern. Some commenters                       EGUs under this rule are being                         changes in the final rule to increase
                                                 appear simply to have assumed that                      implemented through the mechanism of                   flexibility specifically for the early years
                                                 owners of units not already equipped                    an allowance trading program. Under                    of the trading program for which
                                                 with SCR controls would choose to                       the trading program, no EGU is required                commenters have indicated the greatest
                                                 retire the units as of the ozone season                 to cease operation. The core trading                   concerns about electric system
                                                 in which the units would otherwise                      program requirements for a participating               reliability.
                                                 become subject to the backstop daily                    EGU are to monitor and report the unit’s                  As an initial matter, the EPA notes
                                                 emissions rate provisions, regardless of                NOX emissions for each ozone season                    two fundamental aspects of this
                                                 whether replacement investments had
                                                                                                         period and to surrender a quantity of                  rulemaking which together provide a
                                                 been completed.
                                                                                                         allowances after the end of the ozone                  strong foundation for the Agency’s
                                                    Some of the commenters raising
                                                 concerns about electric system                          season based on the reported emissions.                conclusion that the emissions
                                                 reliability suggested potential                         To address states’ obligations under the               reductions required from EGUs can be
                                                 modifications to the proposed rule that                 good neighbor provision, some units of                 achieved with no adverse impacts on
                                                 the commenters believed could help                      course will have to take some type of                  electric system reliability. First, there is
                                                 address their concerns. The suggestions                 action to reduce emissions, the actions                ample evidence indicating that the
                                                 included various mechanisms for                         taken to reduce emissions will generally               required emissions reductions are
                                                 suspending some or all of the trading                   have costs, and some EGU owners will                   feasible. As discussed in section V of
                                                 program’s requirements for certain                      conclude that, all else being equal,                   this document, the magnitude and
                                                 EGUs at times when an RTO or other                      retiring a particular EGU and replacing                timing of the EGU emissions reductions
                                                 entity responsible for overseeing a                     it with cleaner generating capacity is                 required by this action reflect
                                                 region of the interconnected electrical                 likely to be a more economic option                    application of technologies that are
                                                 grid determines that generation from                    from the perspective of the unit’s                     already in widespread use, on schedules
                                                 those EGUs is needed and the EGUs                       customers and/or owners than making                    that are supported by industry
                                                 might not otherwise agree to operate.                   substantial investments in new                         experience. Second, the required
                                                 Other suggestions focused on ways of                    emissions controls at the unit. However,               emissions reductions are being
                                                 providing EGUs with greater confidence                  the EPA also understands that before                   implemented through the mechanism of
                                                 that allowances would be available to                   implementing such a retirement                         a trading program. The enhanced
                                                 cover their incremental emissions                       decision, the unit’s owner will follow                 trading program under this rule, like the
                                                 during particular events. A number of                   the processes put in place by the                      trading programs established by the EPA
                                                 commenters used the term ‘‘reliability                  relevant RTO, balancing authority, or                  under prior rules, provides EGU owners
                                                 safety valve,’’ in some cases with                      state regulator to protect electric system             with opportunities to substitute
                                                 reference to the types of suggestions just              reliability. These processes typically                 emissions reductions from sources
                                                 mentioned and in other cases without                    include analysis of the potential impacts              where achieving reductions is cheaper
                                                 details. Some commenters pointed to                     of the proposed EGU retirement on                      and easier for emissions reductions from
                                                 the ‘‘safety valve’’ provision included in              electrical system reliability,                         other sources where achieving
                                                 the Group 2 trading program regulations                 identification of options for mitigating               reductions is more costly or difficult. In
                                                 under the Revised CSAPR Update.                         any identified adverse impacts, and, in                general, an EGU owner has options to
                                                 Another commenter pointed to                            some cases, temporary provision of                     operate the emissions controls
                                                 provisions for a ‘‘reliability safety                   additional revenues to support the                     identified by the EPA for that type of
                                                 valve’’ included in the Clean Power                     EGU’s continued operation until longer-                unit (including installation or upgrade
                                                 Plan (80 FR 64662, Oct. 23, 2015).                      term mitigation measures can be put in                 of controls where necessary), operate
                                                    In addition to offering critiques and                place. No commenter stated that this                   other types of emissions controls, or
                                                                                                         rule would somehow authorize any EGU                   adapt the unit’s levels of operation to
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                                                 recommendations concerning the
                                                 proposed rule’s contents, some                          owner to unilaterally retire a unit                    produce less generation if the unit is a
                                                 commenters claimed that the EPA had                     without following these processes, yet                 higher-emitting EGU or more generation
                                                 failed to conduct sufficient analysis of                some comments nevertheless assume                      if the unit is a lower-emitting EGU. The
                                                 the potential implications of the                       that is how multiple EGU owners would                  backstop daily emissions rate provisions
                                                 proposed rule on electrical system                      proceed, in violation of their obligations             in this rule reduce the degree of
                                                 reliability. These commenters called on                 to RTOs, balancing authorities, or state               available flexibility relative to the
                                                 the EPA to consult with RTOs and other                  regulators relating to the provision of                degree of flexibility in the Agency’s


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                                                 previous trading programs under CAIR                    would have had adverse reliability                     through approximately the 2029 control
                                                 and CSAPR but by no means eliminate                     impacts were proved to be groundless.                  period.
                                                 it. Moreover, even the backstop rate                       Notwithstanding the long experience                    The RTOs also described a concern
                                                 provisions are structured as                                                                                   about potentially illiquid allowance
                                                                                                         confirming the ability of the EPA’s
                                                 requirements to surrender additional                                                                           markets. They believed it was possible
                                                                                                         trading programs to obtain emissions
                                                 allowances rather than as hard limits,                                                                         that some EGUs might claim an inability
                                                                                                         reductions from EGUs without
                                                 providing a further element of flexibility                                                                     to operate at particular times when
                                                                                                         impairing the sector’s ability to provide              needed unless they had confidence that
                                                 No EGU is required to retire or is                      reliable electric service, the Agency of
                                                 prohibited from operating at any time                                                                          they would be able obtain additional
                                                                                                         course does not rely here solely on its                allowances. The RTOs were particularly
                                                 under this rule. EGUs only need to
                                                                                                         experience, but has carefully reviewed                 concerned that introduction of dynamic
                                                 surrender of the appropriate quantities
                                                                                                         the comments on this topic for any                     budgeting as proposed would create
                                                 of allowances after the end of the
                                                                                                         information that might indicate the                    uncertainty for some EGUs regarding the
                                                 control period.301
                                                                                                         appropriateness of modifications to the                quantities of allowances they would
                                                    Further, in the large number of
                                                 comments submitted in this rulemaking                   enhanced trading program as proposed.                  have available for use, particularly given
                                                 that assert concerns over electric system               In recognition of the important role that              the potentially large year-to-year swings
                                                 reliability, no commenter has cited a                   RTOs play in ensuring electric system                  if budgets were based on historical data
                                                 single instance where implementation                    reliability, and consistent with the                   from a single year. Some of the RTOs
                                                 of an EPA trading program has actually                  requests of some commenters, the EPA                   suggested potential solutions for these
                                                 caused an adverse reliability impact.                   has engaged in outreach to the RTOs                    issues, principally in the form of
                                                 Indeed, similar claims made in the                      that commented on the proposal to                      auctions or RTO-administered
                                                 context of the EPA’s prior trading                      better understand their comments                       allocations of allowances from pools of
                                                 program rulemakings have shown a                        specifically and the reliability-related               supplemental allowances, with access to
                                                 considerable gap between rhetoric and                   comments of other commenters more                      the supplemental allowances triggered
                                                 reality. For example, in the litigation                 generally.303 Through these meetings,                  by certain indications of temporary
                                                 over the industry’s multiple motions to                 the central reliability-related concern                stress on the electric system.
                                                 stay implementation of CSAPR, claims                    was identified as one of timing. In order                 In the final rule, the EPA is adopting
                                                 were made that allowing the rule to go                  for retirement to be a viable compliance               several changes from the proposal to
                                                 into effect would compromise                            strategy for a unit that cannot be entirely            help address the reliability-related
                                                 reliability. Yet in the 2012 ozone season               spared until replacement investments in                concerns that were identified in
                                                 starting just over 4 months after the rule              generation or transmission are                         comments and brought into greater
                                                                                                         completed, it must be possible for the                 focus by the consultations with the
                                                 was stayed, EGUs covered by CSAPR
                                                                                                         unit to operate at critical times for a                RTOs. The first change adopted in
                                                 collectively emitted below the overall
                                                                                                         transition period. Like other                          response to these comments is that
                                                 program budgets that the rule would
                                                                                                         stakeholders, the RTOs perceived                       application of the backstop daily NOX
                                                 have imposed in that year if the rule had
                                                                                                         implementation of the backstop daily                   emissions rate to units without existing
                                                 been allowed to take effect, with most
                                                                                                         emissions rate provisions on                           SCR controls is being deferred until the
                                                 individual states emitting below their
                                                                                                         uncontrolled units as materially                       2030 control period, or the second
                                                 respective state budgets despite CSAPR
                                                                                                         strengthening incentives for such units                control period in which a unit operates
                                                 not being in effect.302 Similarly, in the
                                                                                                         to either install controls or retire. The              new SCR controls, if earlier. The
                                                 litigation over the 2015 Clean Power
                                                                                                         RTOs were concerned that the option                    purpose of this change is to address the
                                                 Plan, assertions that the rule would
                                                                                                         for a coal-fired unit without SCR                      concerns that application of the
                                                 threaten electric system reliability were                                                                      backstop daily NOX emissions rate to
                                                 made by some utilities or their                         controls to maintain limited operation
                                                                                                                                                                EGUs without existing SCR starting in
                                                 representatives, yet even though the                    while surrendering allowances at a 3-
                                                                                                                                                                2027 would provide insufficient time
                                                 Supreme Court stayed the rule in 2016,                  for-1 ratio for all emissions exceeding
                                                                                                                                                                for planning and investments needed to
                                                 the industry achieved the rule’s                        the backstop daily rate was one that
                                                                                                                                                                facilitate unit retirement as a
                                                 emissions reduction targets without the                 EGU owners would be reluctant to                       compliance pathway, which some
                                                 rule ever going into effect. See West                   pursue. Accordingly, the RTOs expected                 commenters noted they prefer or have
                                                 Virginia v. EPA, 142 S. Ct. 2587, 2638                  considerable interest from EGU owners                  already planned. In particular, where an
                                                 (2022) (Kagan, J., dissenting) (‘‘[T]he                 in retiring and replacing uncontrolled                 EGU owner would prefer to retire and
                                                 industry didn’t fall short of the [Clean                units as of the date of implementation                 replace an uncontrolled EGU rather than
                                                 Power] Plan’s goal; rather, the industry                of the backstop daily rate requirement                 to install new controls, and in
                                                 exceeded that target, all on its                        on uncontrolled units, and they were                   recognition that reliability-related needs
                                                 own. . . . At the time of the repeal . . .              concerned that the proposal to                         may require some degree of operation
                                                 ‘there [was] likely to be no difference                 implement that requirement as of the                   from such units in the period before the
                                                 between a world where the [Clean                        2027 control period did not allow                      investments needed to replace the unit
                                                 Power Plan was] implemented and one                     sufficient time for planning and                       can be completed, deferral of the
                                                 where it [was] not.’ ’’) (quoting 84 FR                 implementation of all the necessary                    backstop daily emissions rate provisions
                                                 32561). The claims that these rules                     generation and transmission                            ensures that the necessary generation
                                                                                                         investments to make this a viable                      can be provided without being made
                                                   301 The EPA has prepared a resource adequacy
                                                                                                         compliance strategy. The RTOs
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                                                 assessment of the projected impacts of the final rule
                                                                                                                                                                subject to a 3-for-1 allowance surrender
                                                 showing that the projected impacts of the final rule
                                                                                                         described their concerns as greatest                   ratio that might render that compliance
                                                 on power system operations, under conditions                                                                   strategy uneconomic compared to the
                                                 preserving resource adequacy, are modest and              303 The EPA also met with non-RTO balancing          faster but less environmentally
                                                 manageable. See Resource Adequacy and Reliability       authorities that submitted comments. Memoranda         beneficial compliance strategy of
                                                 Analysis Final Rule TSD, available in the docket.       identifying the dates, attendees, and topics of
                                                   302 For a state-by-state comparison, see Appendix     discussion of these meetings with RTOs and non-
                                                                                                                                                                installing new controls. The EPA has
                                                 G of the Ozone Transport Policy Analysis Final          RTO balancing authorities are available in the         considered the statutory mandate that
                                                 Rule TSD.                                               docket.                                                states’ good neighbor obligations—


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                                                 including this action’s requirement for                 bank recalibration process in 2024                     dynamic budget to be published in the
                                                 large coal-fired EGUs to make emissions                 generally to boost market liquidity (by                future will only supplant the preset
                                                 reductions commensurate with good                       discouraging allowance hoarding) and                   budget finalized in this rule for a control
                                                 SCR operation—be addressed as                           also considers the target percentage of                period in which that dynamic budget is
                                                 expeditiously as practicable. The EPA                   10.5 percent set forth in the proposal                 higher than the corresponding preset
                                                 has also considered the fact that in this               well supported. Nevertheless, the                      budget. The reason for using dynamic
                                                 rule, the backstop daily emissions rate                 Agency agrees with suggestions by                      budgets when they are higher than the
                                                 serves as a supplement to the broader                   commenters that, at least in the early                 corresponding preset budgets is that the
                                                 requirement for emissions reductions                    years of the enhanced trading program,                 EPA recognizes that evolution of the
                                                 commensurate with application of                        a larger bank would provide further                    EGU fleet will not follow the exact path
                                                 several control technologies at several                 liquidity and would give program                       projected at the time of the rulemaking,
                                                 types of EGUs, encompassing the extent                  participants greater confidence that                   and that by not accounting for certain
                                                 of emissions reductions that would be                   allowances would be available for                      events, the preset methodology could
                                                 incentivized by the backstop emissions                  purchase when needed. Greater                          result in issuance of smaller quantities
                                                 rate requirement. The EPA views the                     confidence by sources would help                       of allowances than the EPA would find
                                                 backstop daily emissions rate as part of                address RTOs’ concern about the                        consistent with the quantities of
                                                 the solution to eliminating significant                 possibility that some sources could be                 emissions from a well-controlled EGU
                                                 contribution in that it strongly                        reluctant to operate if they were unsure               fleet using the dynamic budget-setting
                                                 incentivizes emissions-control operation                of their ability to procure allowances to              methodology. Events that could cause
                                                 throughout each day of the ozone                        cover their emissions. In finding that                 preset budgets to underpredict a state’s
                                                 season. See sections III.B.1.d, VI.B.1.b,               this modification from proposal is                     well-controlled emissions, which are
                                                 VI.B.1.c.i. For that reason, in general we              appropriate, the EPA has considered the                more likely in years farther in the future
                                                 are finalizing the daily backstop                       fact that use of a higher target                       from the time of the rulemaking, include
                                                 emissions rate for units that have SCR                  percentage will not result in the creation             deferral of a large EGU’s previously
                                                 installed or that install it in the future.             of any additional allowances in any                    planned retirement date or increases in
                                                 It is only as an exception to that general              control period, because under the                      electricity demand that outpace the
                                                 rule that we defer the backstop daily                   recalibration provisions, when the total               general trend of lower-emitting or non-
                                                 emissions rate given the transition                     quantity of allowances banked from the                 emitting generation replacing higher-
                                                 period and reliability concerns                         previous control period is less than the               emitting generation. After considering
                                                 identified by commenters. The EPA                       bank target level, the consequence is not              the commenters’ interest in greater
                                                 finds that in this circumstance, as long                that additional allowances are created to              predictability during the early years of
                                                 as state emissions budgets continue to                  raise the bank to the target level, but                the amended trading program as well as
                                                 reflect the required degree of emissions                simply that no bank adjustment is                      the need to protect against instances
                                                 reductions, deferral of the backstop rate               carried out. We also note that while                   where the preset budgets could
                                                 requirement for uncontrolled units for a                including an annual bank recalibration                 underpredict a state’s well-controlled
                                                 transition period can be justified on the               of any percentage is an enhancement in                 emissions in years farther from the year
                                                 basis of the greater long-term                          the trading program from prior trading                 of the rulemaking, the EPA finds that
                                                 environmental benefits obtained                         programs under the good neighbor                       the combination of these factors justifies
                                                 through facilitating the replacement of                 provision established in the CAIR,                     the approach of using the higher of the
                                                 these affected EGUs with cleaner                        CSAPR, CSAPR Update, and Revised                       two budgets for the control periods from
                                                 sources of generation. Beginning in the                 CSAPR Update rulemakings, it is not                    2026 through 2029.
                                                 2030 ozone season, all coal-fired EGUs                  unprecedented; the trading program                        In addition to the changes made in
                                                 identified for SCR retrofit potential in                established under the NOX SIP Call                     response to reliability-related
                                                 this action will be subject to the                      included ‘‘progressive flow control’’                  comments, several other changes to the
                                                 backstop daily emissions rate. Any such                 provisions that were designed                          proposal being adopted primarily for
                                                 units that remain in operation in that                  differently from the bank recalibration                other reasons will also help address the
                                                 year can and should meet the backstop                   provisions in this rule but had the same               factors identified as reliability-related
                                                 daily emissions rate or be subject to the               purpose and general effect.                            concerns. Most notably, the EPA is
                                                 heightened allowance surrender ratio.                      The third change from the proposal                  adopting changes to the dynamic budget
                                                    The second change from the proposal                  adopted in response to the reliability-                computation procedure to incorporate
                                                 adopted in response to the reliability-                 related comments is that the EPA is                    multiple years of heat input data, which
                                                 related comments is that the target                     determining preset state emissions                     will reduce year-to-year variability in
                                                 percentage of the states’ emissions                     budgets not only for the control periods               the budgets determined under that
                                                 budgets used to recalibrate the target                  in 2023 and 2024 as proposed, but also                 procedure and should to some extent
                                                 bank level will be set at the proposed                  for the control periods in 2025 through                reduce uncertainty about the quantities
                                                 10.5 percent starting in the 2030 control               2029. Finalizing preset state emissions                of allowances available for use in
                                                 period, and for the control periods from                budgets through 2029 will establish                    instances where a dynamic budget is
                                                 2024 through 2029, a target percentage                  predictable amounts for the minimum                    being used instead of preset budget. In
                                                 of 21 percent will be used instead. The                 quantities of allowances available                     addition, the adoption of a 50-ton
                                                 adoption of the higher target percentage                during the period when commenters                      threshold before application of the 3-for-
                                                 for use through the 2029 control period                 have expressed concern that the                        1 surrender ratio to emissions exceeding
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                                                 is intended to promote greater                          reliability-related need for such                      the backstop daily NOX emissions rate
                                                 allowance market liquidity during a                     predictability is greatest. Moreover, the              should ensure that no unit incurs the
                                                 period of relatively rapid fleet transition             EPA will also determine state emissions                higher surrender ratio solely because of
                                                 about which commenters expressed                        budgets using the final dynamic budget-                unavoidable emissions during startup
                                                 more focused reliability-related needs.                 setting methodology for the control                    and should help address concerns that
                                                 As discussed later in this section, the                 periods in 2026 through 2029, and for                  some units might be reluctant to operate
                                                 EPA expects the introduction of the                     each state and control period, the                     because of the associated emissions-


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                                                 related costs. Also, the 2026–2027                      responsibilities determines there is a                 advance of the recurring dynamic
                                                 phase-in of emissions reductions                        reliability-related need, the EPA again                budget adjustments, which do not
                                                 commensurate with installation of new                   observes that the rule’s emissions                     increase the stringency of the rule’s
                                                 SCR controls will increase the quantities               reduction requirements are being                       emissions reduction requirements
                                                 of allowances available in the 2026 state               implemented through a trading program                  established in the final rule. The
                                                 emissions budgets for most states in the                mechanism which makes exceptions of                    extensive consultation processes
                                                 trading program.                                        this nature unnecessary. Trading                       adopted by the Agency in conjunction
                                                    To summarize: in light of the strong                 programs inherently offer the flexibility              with the MATS rulemaking are not a
                                                 record supporting the feasibility of the                to accommodate variability in the                      relevant precedent; the MATS rule,
                                                 emissions reductions required from                      utilization of individual units. The                   which was promulgated to address a
                                                 EGUs; the use of a trading program as                   ‘‘reliability safety valve’’ provisions in             different statutory mandate, was
                                                 the mechanism for achieving those                       the Clean Power Plan, which one                        structured in the form of unit-specific
                                                 emissions reductions, with multiple                     commenter cited as a precedent to                      emissions constraints, fundamentally
                                                 options for achieving compliance and                    support some form of temporary                         different from the requirements of this
                                                 no requirements to cease operation of                   exemption under this rule, in fact was                 rule. The EPA notes that other entities
                                                 any individual EGU at any time; the                     available only in situations where a                   responsible for maintaining reliability
                                                 established processes of RTOs, other                    state plan did not allow emissions                     and managing entry and exit of
                                                 balancing authorities, and state                        trading and instead imposed unit-                      resources, including the North
                                                 regulators for managing any EGU                         specific emissions constraints. See 80                 American Electric Reliability
                                                 retirement requests that do occur in an                 FR 64877–879. Even the 3-for-1                         Corporation (NERC) and RTOs and other
                                                 orderly manner with evaluation of                       allowance surrender ratio under the                    balancing authorities, already routinely
                                                 potential reliability impacts and                       backstop daily NOX emissions rate                      assess resource adequacy and reliability
                                                 implementation of mitigation measures                   provisions can be met through the                      inclusive of meeting all regulatory
                                                 where needed; the unbroken, decades-                    surrender of additional allowances. The                requirements, including environmental
                                                 long historical success of the EPA’s                    rule does not bar any EGU from                         requirements.
                                                 trading programs at achieving emissions                 operating at any time as long as all                      While the EPA does not agree that
                                                 reductions without any adverse                          allowance surrender requirements are                   such consultations are a necessary
                                                 reliability impacts; the views expressed                met.                                                   precondition for successful
                                                 by commenters that facilitating EGU                                                                            implementation of this rule, the Agency
                                                 retirement and replacement as a                            With respect to suggestions that the                remains available to engage with any
                                                 possible compliance strategy through                    EPA must undertake recurring modeling                  affected EGU or reliability authority
                                                 2029 would be particularly helpful; the                 of the evolving electrical system and                  requesting to meet and discuss the
                                                 changes made in the final rule for                      consult with RTOs before each planned                  intersection of its power sector
                                                 control periods through 2029                            adjustment to emissions budgets, which                 regulatory programs with electric
                                                 specifically to increase flexibility during             start from the premise that the rule                   reliability planning and operations. The
                                                 this transitional period, including                     poses risk to electric system reliability              EPA is also continuing its practice of
                                                 deferring application of the backstop                   that must be continuously monitored,                   meeting with the U.S. Department of
                                                 daily emissions rate provisions for EGUs                the EPA disagrees with the premise and                 Energy and the Federal Energy
                                                 without existing SCR controls,                          therefore also disagrees with the                      Regulatory Commission to maintain
                                                 increasing the target percentage used to                suggestions. As discussed in section V                 mutual awareness of how Federal
                                                 determine the target allowance bank                     of this document, the EPA has taken                    actions and programs intersect with the
                                                 level for purposes of the bank                          care to ensure that the emissions                      industry’s responsibility to maintain
                                                 recalibration provisions, and                           reduction requirements applicable to                   electric reliability.304
                                                 establishing preset state emissions                     EGUs under this rule are feasible                         The EPA is not adopting the
                                                 budgets which serve as floors against                   through application of the control                     suggestion to replicate the so-called
                                                 potential dynamic budget imposition in                  technologies selected as the basis of the              ‘‘safety valve’’ mechanism created under
                                                 those control periods; and the changes                  emissions reductions. The EPA has also                 the Revised CSAPR Update. That
                                                 made in the final rule incorporating                    performed modeling in this rulemaking                  mechanism, cited by some commenters
                                                 multiple years of heat input data into                  to assess the benefits and costs of the                as potential precedent for an
                                                 the dynamic budget-setting procedure,                   rule when all required emissions                       unspecified form of ‘‘reliability safety
                                                 adding a 50-ton threshold before                        reductions are achieved. That modeling,                valve’’ in this action, gave owners of
                                                 application of the 3-for-1 surrender ratio              which incorporates a representation of                 covered EGUs a one-time opportunity to
                                                 to emissions exceeding the backstop                     electrical grid regions and interregional              voluntarily convert allowances banked
                                                 daily NOX emissions rate, and phasing                   constraints on energy and capacity                     under the Group 2 trading program to
                                                 in emissions reductions requirements                    exchange, affirms the feasibility of the               allowances useable in the Group 3
                                                 commensurate with new SCR                               overall emissions reduction                            trading program at an 18-for-1 ratio for
                                                 installations through 2027; the EPA                     requirements and is illustrative of a                  use in the trading program’s initial
                                                 concludes that this action does not pose                control strategy where some units retire               control period in 2021. See 82 FR
                                                 any material risk of adverse impact to                  and are replaced instead of installing                 23137–138. EGU owners chose to use
                                                 electric system reliability.                            new controls. The EPA has also                         the voluntary mechanism to acquire a
                                                    The EPA has also considered the                      consulted with the RTOs (as well as                    total of 382 allowances, representing
                                                                                                         other balancing authorities) in the
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                                                 other suggestions offered by                                                                                   only 0.36 percent of the sum of the state
                                                 commenters for addressing reliability-                  course of this rulemaking to ensure that               emissions budgets and only 0.26 percent
                                                 related issues. With respect to                         the EPA understood the concerns
                                                 suggestions that the rule should include                expressed in their comments such that                    304 See, e.g., U.S. Department of Energy and U.S.

                                                 provisions allowing some or all of the                  we could address those comments in                     Environmental Protection Agency, Joint
                                                                                                                                                                Memorandum on Interagency Communication and
                                                 trading program’s requirements to be                    this final rule. The EPA does not agree                Consultation on Electric Reliability (March 8, 2023),
                                                 suspended at times when an RTO or                       that further modeling or ongoing                       available at https://www.epa.gov/power-sector/
                                                 other entity with grid management                       consultations with RTOs are needed in                  electric-reliability-mou.



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                                                 of the total quantity of allowances                     in the implementation framework at                         respect to sources in Indian country in
                                                 available for compliance in that control                Step 4.307                                                 general and in these areas in particular
                                                 period.305 For the 2023 control period,                                                                            are discussed in section III.C.2 of this
                                                                                                         2. Expansion of Geographic Scope
                                                 the bank of allowances carried over                                                                                document. EPA’s approach for
                                                 from the 2022 control period plus the                      In light of the findings at Steps 1, 2,                 determining a portion of each state’s
                                                 incremental starting bank that will be                  and 3 of the 4-step interstate transport                   budget for each control period that will
                                                 created by conversion of additional                     framework, the EPA is expanding the                        be set aside for allocation to any units
                                                 allowances banked under the Group 2                     geographic scope of the existing CSAPR                     in areas of Indian country within the
                                                 trading program (see section VI.B.12.b of               NOX Ozone Season Group 3 Trading                           state not subject to the state’s CAA
                                                 this document) will total over 30                       Program to encompass additional states                     implementation planning authority is
                                                 percent of the full-season emissions                    (and Indian country within the borders                     discussed in section VI.B.9 of this
                                                 budgets.306 Given the larger starting                   of such states) with EGU emissions that                    document.
                                                 bank and this rule’s bank recalibration                 significantly contribute for purposes of                      Units within the borders of each
                                                 provisions (which will be implemented                   the 2015 ozone NAAQS. Specifically,                        newly added state will join the Group
                                                 starting with the 2024 control period,                  the EPA is expanding the Group 3                           3 trading program on one of two
                                                 but which the EPA expects will increase                 trading program to include the                             possible dates during the program’s
                                                 allowance market liquidity starting with                following states and Indian country                        2023 control period (that is, the period
                                                 the 2023 control period), the Agency                    within the borders of the states:                          from May 1, 2023, through September
                                                 views establishment of a one-time                       Alabama, Arkansas, Minnesota,                              30, 2023). The reason that two entry
                                                 voluntary conversion opportunity for                    Mississippi, Missouri, Nevada,                             dates are necessary is that, as discussed
                                                 the 2023 control period analogous to the                Oklahoma, Texas, Utah, and Wisconsin.                      in section VI.B.12.a of this document,
                                                 Revised CSAPR Update’s ‘‘safety valve’’                 Any unit located in a newly added                          the effective date is expected to fall after
                                                 provision as unnecessary.                               jurisdiction that meets the applicability                  May 1, 2023. In the case of states (and
                                                    Finally, in the final rule the EPA is                criteria for the Group 3 trading program                   Indian country within the states’
                                                 not adopting any of the other                           will become an affected unit under the                     borders) whose sources do not currently
                                                 suggestions concerning additional                       program, as discussed in section VI.B.3                    participate in the CSAPR NOX Ozone
                                                 mechanisms to make additional                           of this document.                                          Season Group 2 trading program—
                                                                                                            CSAPR, the CSAPR Update, and the                        Minnesota, Nevada, and Utah—the
                                                 allowances available through auctions
                                                                                                         Revised CSAPR Update also applied to                       sources will begin participating in the
                                                 or RTO-administered allowance pools.
                                                                                                         sources in Indian country, although,                       Group 3 trading program on the rule’s
                                                 For the reasons discussed throughout
                                                                                                         when those rules were issued, no                           effective date. However, in the case of
                                                 this section, the EPA concludes that the
                                                                                                         existing EGUs within the regions                           the states (and Indian country within
                                                 trading program as established in this                  covered by the rules were located on
                                                 action provides a flexible compliance                                                                              the states’ borders) whose sources do
                                                                                                         lands that the EPA understood at the                       currently participate in the Group 2
                                                 mechanism that will allow the required                  time to be Indian country.308 In contrast,
                                                 emissions reductions to be achieved                                                                                trading program—Alabama, Arkansas,
                                                                                                         within the geographic scope of this                        Mississippi, Missouri, Oklahoma, Texas,
                                                 without the need for creation of                        rulemaking, the EPA is aware of areas of
                                                 additional allowances. However, the                                                                                and Wisconsin—the sources will begin
                                                                                                         Indian country within the borders of                       participating in the Group 3 trading
                                                 EPA also recognizes the potential for                   both Utah and Oklahoma with existing
                                                 allowance market liquidity to be further                                                                           program on May 1, 2023, regardless of
                                                                                                         EGUs that meet the program’s                               the rule’s effective date, subject to
                                                 increased through some form of auction                  applicability criteria. Issues related to                  transitional provisions designed to
                                                 mechanism. For instance, it may be                      state, tribal, and Federal CAA                             ensure that the increased stringency of
                                                 appropriate to pair the introduction of                 implementation planning authority with                     the Group 3 trading program as revised
                                                 an auction with a reduction in the bank
                                                                                                                                                                    in this rulemaking will not
                                                 recalibration percentage that begins                       307 Such a rulemaking would not reopen any
                                                                                                                                                                    substantively affect the sources’
                                                 earlier than 2030. Through a                            determinations which the Agency has made at
                                                                                                                                                                    requirements prior to the rule’s effective
                                                 supplemental rulemaking, the Agency                     Steps 1, 2, or 3 of the interstate transport framework
                                                                                                         in this action. Nor would it reopen any aspects of         date. This approach provides a simpler
                                                 intends to propose and take comment                     implementation of the program at Step 4 except for         transition for the sources historically
                                                 on potential amendments to the Group                    those in relation to establishing an auction and           covered by the Group 2 trading program
                                                 3 trading program that would add such                   associated adjustments to ensure program
                                                                                                                                                                    than the alternative approach of being
                                                 an auction mechanism to the regulations                 stringency is maintained. In this respect, such a
                                                                                                         rulemaking would constitute a discretionary action         required to switch from the Group 2
                                                 and make other appropriate adjustments                  that is not necessary to resolution of good neighbor       trading program to the Group 3 trading
                                                                                                         obligations. Rather, these adjustments, if finalized,      program in the middle of a control
                                                    305 Additional allowances available for
                                                                                                         would reflect a shift from one acceptable form of
                                                 compliance under the Group 3 trading program in         implementation at Step 4 to a slightly modified but
                                                                                                                                                                    period, and it is the same approach that
                                                 the 2021 control period included a starting             also acceptable form of implementation at Step 4,          was followed for sources that
                                                 allowance bank created through mandatory                as related to EGUs. No legal or technical                  transitioned from the Group 2 trading
                                                 conversion of a portion of the allowances banked        justification for this action as set forth in the record   program to the Group 3 trading program
                                                 under the Group 2 trading program as well as            here depends on or would be undermined by the
                                                 supplemental allowances issued to ensure that no        development of an alternative approach that
                                                                                                                                                                    in 2021 under the Revised CSAPR
                                                 provisions of the Revised CSAPR Update increasing       includes an auction, and if the EPA for any reason         Update. Section VI.B.12.a of this
                                                 regulatory stringency would take effect before that     determines not to propose or finalize such a               document contains further discussion of
                                                 rule’s effective date. See 86 FR 23133–137.             rulemaking, no aspect of this rule would thereby be        the rationale for this approach and the
                                                    306 The full-season emissions budgets for the 2023   rendered infeasible or incomplete.
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                                                                                                                                                                    specific transitional provisions.
                                                 control period under the Group 3 trading program           308 CSAPR and the CSAPR Update both applied

                                                 and the incremental starting bank created in this       to EGUs located in areas within Oklahoma’s borders
                                                                                                                                                                       The EPA notes that under the rule, the
                                                 action through conversion of additional Group 2         that are now understood to be Indian country,              expanded Group 3 trading program will
                                                 allowances (but not the bank of allowances carried      consistent with the U.S. Supreme Court’s decision          include not only 19 states for which the
                                                 over from the 2022 control period under the Group       in McGirt v. Oklahoma, 140 S. Ct. 2452 (2020) (and         EPA is determining that the required
                                                 3 trading program) will be prorated to reflect the      subsequent case law), clarifying the extent of
                                                 portion of the 2023 ozone season occurring after the    certain Indian country within Oklahoma’s borders.
                                                                                                                                                                    control stringency includes, among
                                                 effective date of this rule. See sections VI.B.12.a.    However, those rules were issued before the McGirt         other measures, installation of new post-
                                                 and VI.B.12.b.                                          decision. See section III.C.2.a.                           combustion controls, but also three


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                                                 states—Alabama, Minnesota, and                          supported the approach, which is                       states)—will also become subject to the
                                                 Wisconsin—for which the EPA is                          finalized as proposed.                                 Group 3 trading program.
                                                 determining that the required control                                                                             In the additional states where other
                                                                                                         3. Applicability and Tentative                         CSAPR trading programs are not
                                                 stringency does not include such
                                                                                                         Identification of Newly Affected Units                 currently in effect—Nevada and Utah
                                                 measures. In previous rulemakings, the
                                                 EPA has chosen to combine states in a                      The Group 3 trading program                         (including Indian country within the
                                                 single multi-state trading program only                 generally applies to any stationary,                   borders of such states)—units already
                                                 where the selected control stringencies                 fossil-fuel-fired boiler or stationary,                subject to the Acid Rain Program under
                                                 were comparable, to ensure that states                  fossil fuel-fired combustion turbine                   that program’s applicability criteria (see
                                                 did not effectively shift their emissions               located in a covered state (or Indian                  40 CFR 72.6) generally also meet the
                                                 reduction requirements to other states                  country within the borders of a covered                applicability criteria for the Group 3
                                                 with less stringent emissions reduction                 state) and serving at any time on or after             trading program. Based on a preliminary
                                                 requirements by using net out-of-state                  January 1, 2005, a generator with                      screening analysis of the units in these
                                                 purchased allowances. Although the                      nameplate capacity exceeding 25 MW                     states that currently report emissions
                                                 assurance provisions in the CSAPR                       and producing electricity for sale, with               and operating data to the EPA under the
                                                 trading programs were designed to                       exemptions for certain cogeneration                    Acid Rain Program, the Agency believes
                                                 address the same general concern about                  units and certain solid waste                          that all such units are likely to meet the
                                                 excessive shifting of emissions                         incineration units. To qualify for an                  applicability criteria for the Group 3
                                                 reduction activities between states, EPA                exemption as a cogeneration unit, an                   trading program.
                                                 chose not to rely on the assurance                      otherwise-affected unit generally (1)                     Because the applicability criteria for
                                                 provisions as sufficient to allow for                   must be designed to produce electricity                the Acid Rain Program and the Group 3
                                                 interstate trading in situations where the              and useful thermal energy through the                  trading program are not identical, it is
                                                 states were assigned differing emissions                sequential use of energy, (2) must                     possible that some units could meet the
                                                 control stringencies.                                   convert energy inputs to energy outputs                applicability criteria for the Group 3
                                                    In this rulemaking, the EPA believes                 with efficiency exceeding specified                    trading program even if they are not
                                                 the previous concern about the                          minimum levels, and (3) may not                        subject to the Acid Rain Program. Using
                                                 possibility that certain states might not               produce electricity for sale in amounts                data reported to the U.S. Energy
                                                 make the required emissions reductions                  above specified thresholds. To qualify                 Information Administration, in the
                                                 is sufficiently addressed through the                   for an exemption as a solid waste                      proposal the EPA identified six sources
                                                 various enhancements to the design of                   incineration unit, an otherwise-affected               in Nevada and Utah (and Indian country
                                                 the trading program, even where states                  unit generally (1) must meet the CAA                   within the borders of the states) with a
                                                 have been assigned differing emissions                  section 129(g)(1) definition of a ‘‘solid              total of 15 units that appear to meet the
                                                 control stringencies. First, the existing               waste incineration unit’’ and (2) may                  general applicability criteria for the
                                                 assurance provisions are being                          not consume fossil fuel in amounts                     Group 3 trading program and that do not
                                                 substantially strengthened through the                                                                         currently report NOX emissions and
                                                                                                         above specified thresholds. The
                                                 addition of the unit-specific secondary                                                                        operating data to the EPA under the
                                                                                                         complete text of the Group 3 trading
                                                 emissions limitations discussed in                                                                             Acid Rain Program. These units were
                                                                                                         program’s applicability provisions and
                                                 sections VI.B.1.c.ii and VI.B.8. Second,                                                                       listed in a table in the proposed rule,
                                                                                                         the associated definitions can be found
                                                 by ensuring that individual units                                                                              and the data from that table for these
                                                                                                         at 40 CFR 97.1004 and 97.1002,
                                                 operate their emissions controls                                                                               units are reproduced as Table VI.B.3–1
                                                                                                         respectively. The applicability of this
                                                 effectively, the unit-specific backstop                                                                        of this document. For each of these
                                                                                                         rule to MWCs and cogeneration units
                                                 daily emissions rate provisions                                                                                units, the table shows the estimated
                                                                                                         outside the Group 3 trading program is
                                                 discussed in sections VI.B.1.c.i and                                                                           historical heat input and emissions data
                                                                                                         discussed in sections V.B.3.a and
                                                 VI.B.7 will necessarily also ensure that                                                                       that the EPA proposed to use for the
                                                 required emissions reductions occur                     V.B.3.c of this document, respectively,
                                                                                                         and MWC applicability criteria are                     unit when determining state emissions
                                                 within the state. With these                                                                                   budgets if the unit was ultimately
                                                 enhancements to the design of the                       further discussed in section VI.C.6 of
                                                                                                         this document.                                         treated as subject to the Group 3 trading
                                                 trading program, the EPA does not                                                                              program.309 The EPA requested
                                                 believe it is necessary for sources in                     In this rulemaking, the EPA did not
                                                                                                         propose and is not finalizing any                      comment on whether each listed unit
                                                 Alabama, Minnesota, and Wisconsin to                                                                           would or would not meet all relevant
                                                 be excluded from the revised Group 3                    revisions to the existing applicability
                                                                                                         provisions for the Group 3 trading                     criteria set forth in 40 CFR 97.1004 and
                                                 trading program simply because their                                                                           the associated definitions in 97.1002 to
                                                 emissions budgets reflect a different                   program. Thus, any unit that is located
                                                                                                         in a newly added state and that meets                  qualify for an exemption from the
                                                 selected emissions control stringency                                                                          trading program and whether the
                                                 than the other states in the program.                   the existing applicability criteria for the
                                                                                                         Group 3 trading program will become an                 estimated historical heat input and
                                                    The EPA’s legal and analytic bases for
                                                                                                         affected unit under the program. The                   emissions data identified for each unit
                                                 expansion of the Group 3 trading
                                                 program to each of the additional                       fact that the applicability criteria for all             309 As discussed in section VI.B.10, any unit that
                                                 covered states, as well as responses to                 of the CSAPR trading programs are                      becomes subject to the Group 3 trading program
                                                 the principal related comments, are                     identical therefore is sufficient to                   pursuant to this rule and that does not already
                                                 discussed in sections III, IV, and V of                 establish that any units that are                      report emissions data to the EPA in accordance
                                                                                                         currently required to participate in                   with 40 CFR part 75 will not be required to report
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                                                 this document, respectively, and
                                                                                                                                                                emissions data or be subject to allowance holding
                                                 responses to additional comments are                    another CSAPR trading program in any                   requirements under the Group 3 trading program
                                                 contained in the RTC document. With                     of the additional states where such other              until May 1, 2024, in order to provide time for
                                                 respect to the proposed approach of                     programs currently are in effect—                      installation and certification of the required
                                                 including all states covered by the rule                Alabama, Arkansas, Minnesota,                          monitoring systems. Such a unit will not be taken
                                                                                                                                                                into account for purposes of determining state
                                                 in a single trading program even where                  Mississippi, Missouri, Oklahoma, Texas,                emissions budgets and unit-level allocations under
                                                 the assigned control stringencies differ,               and Wisconsin (including Indian                        the Group 3 trading program until the 2024 control
                                                 the only comments received by the EPA                   country within the borders of such                     period.



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                                                 were representative. With respect to the                           EPA were unrepresentative.310 For                                      each unit are representative. However,
                                                 listed units within the borders of                                 purposes of this rule, the EPA is                                      the owners and operators of the sources
                                                 Nevada or Utah, the EPA received no                                therefore presuming that the units listed                              retain the option to seek applicability
                                                 comments asserting either that the units                           in Table VI.B.3–1 do not qualify for                                   determinations under the trading
                                                 qualified for applicability exemptions or                          applicability exemptions and that the                                  program regulations at 40 CFR
                                                 that the estimated data identified by the                          estimated data shown in the table for                                  97.1004(c).

                                                       TABLE VI.B.3–1—ESTIMATED DATA TO BE USED FOR PRESUMPTIVELY AFFECTED UNITS WITHIN THE BORDERS OF
                                                                      NEVADA AND UTAH THAT DO NOT REPORT UNDER THE ACID RAIN PROGRAM
                                                                                                                                                                                                                     Estimated
                                                                                                                                                                                                    Estimated      ozone season
                                                                            Facility                                                                                                              ozone season     average NOX
                                                        State                                              Facility name                                 Unit ID               Unit type                                               Notes
                                                                              ID                                                                                                                    heat input       emissions
                                                                                                                                                                                                     (mmBtu)            rate
                                                                                                                                                                                                                    (lb/mmBtu)

                                                 Nevada .............          2322       Clark .................................................   GT4 ..............      CT ................        190,985              0.0475    ............
                                                 Nevada .............          2322       Clark .................................................   GT5 ..............      CT ................      1,455,741              0.0191    ............
                                                 Nevada .............          2322       Clark .................................................   GT6 ..............      CT ................      1,455,741              0.0187    ............
                                                 Nevada .............          2322       Clark .................................................   GT7 ..............      CT ................      1,455,741              0.0178    ............
                                                 Nevada .............          2322       Clark .................................................   GT8 ..............      CT ................      1,455,741              0.0204    ............
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTA ..............      CT ................        660,100              0.0377              1
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTB ..............      CT ................        660,100              0.0387              1
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTC .............       CT ................        660,100              0.0387              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTA ..............      CT ................        749,778              0.0323              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTB ..............      CT ................        749,778              0.0370              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTC .............       CT ................        749,778              0.0364              1
                                                 Nevada .............         56405       Nevada Solar One ...........................              HI .................    Boiler ............        479,452              0.1667    ............
                                                 Nevada .............         54271       Saguaro ...........................................       CTG1 ...........        CT ................      1,383,149              0.0314              1
                                                 Nevada .............         54271       Saguaro ...........................................       CTG2 ...........        CT ................      1,383,149              0.0301              1
                                                 Utah ..................      50951       Sunnyside ........................................        1 ...................   Boiler ............      1,888,174              0.1715    ............
                                                    Table notes:
                                                    1 Unit reports capability of producing both electricity and useful thermal energy.




                                                 4. State Emissions Budgets                                         control stringency.’’ Preset budgets                                   periods in those years, with no role for
                                                                                                                    provide greater certainty for planning                                 dynamic budgeting. For the control
                                                    In this final rule, the EPA is using a                          purposes and can be reliably established                               periods from 2026 through 2029, the
                                                 combination of a ‘‘preset’’ budget                                 in the short-term based on known,                                      EPA is determining preset emissions
                                                 calculation methodology and a                                      upcoming changes in the EGU fleet. Due                                 budgets for each control period in the
                                                 ‘‘dynamic’’ budget calculation                                     to build time for new units and                                        rule and will also calculate and publish
                                                 methodology to establish state                                     planning and approval processes for                                    dynamic budgets for each state in the
                                                 emissions budgets for the Group 3                                  plant retirements, these major fleet                                   year before each control period using
                                                 trading program. A ‘‘preset’’ budget is                            alterations are often known several                                    the dynamic budget-setting
                                                 one for which the absolute amount                                  years in advance. This information                                     methodology finalized in this rule,
                                                 expressed as tons per ozone season                                 facilitates presetting budgets that                                    applied to data available at the time of
                                                 control period is established in this final                        appropriately calibrate the identified                                 the calculations. For these four control
                                                 rule. It uses the latest data currently                            control stringency to the fleet. Dynamic                               periods, each state’s preset budget
                                                 available on EGU fleet composition at                              budgets better assure that the budgets                                 serves as a floor and may be supplanted
                                                 the time of this final action. A                                   remain commensurate with the Step 3                                    by the dynamic emissions budget EPA
                                                 ‘‘dynamic’’ budget is one for which the                            emissions control stringency over the                                  calculates for the state for that control
                                                 formula and emissions-rate information                             longer term, as currently unknown                                      period only if the dynamic budget is
                                                 is finalized in this rule, but updated                             changes in the EGU fleet occur. In this                                higher than the preset budget. For
                                                 EGU heat input and inventory                                       final rule, in response to comments, we                                control periods in 2030 and thereafter,
                                                 information is used on a rolling basis to                          have adjusted the proposal to give a                                   the state emissions budgets will be the
                                                 set the total tons per ozone season for                            greater role for preset budgets through                                dynamic budgets calculated and
                                                 each control period. Both methods of                               2029, while dynamic budgeting will be                                  published in the year before each
                                                 budget calculation are designed to set                             phased in to provide greater certainty in                              control period.
                                                 budgets reflective of the emissions                                the short term and allow for a transition                                 In the dynamic budget calculation
                                                 control strategies and associated                                  period to an exclusively ‘‘dynamic’’                                   methodology, it is the fleet composition
                                                 stringency levels (expressed as an                                 approach beginning in 2030.                                            (reflected by heat input patterns across
                                                 emissions rate of pounds of NOX per                                   For the control periods from 2023                                   the fleet in service, inclusive of EGU
                                                 mmBtu) identified for relevant EGU                                 through 2025, the preset budgets                                       entry and exit) that is dynamic, while
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                                                 types at Step 3—which we will refer to                             established in the rule will serve as the                              the emissions stringency finalized in
                                                 in this section as the ‘‘Step 3 emissions                          state emissions budgets for the control                                this rule is constant, as reflected in
                                                   310 One commenter expressed the view that eight                  EPA–HQ–OAR–2021–0668–0554, at 58–59. The                               the Group 3 trading program in the final rule. See
                                                 of the listed units within Nevada’s borders appear                 EPA also received comments concerning sources                          comments of Calpine, EPA–HQ–OAR–2021–0668–
                                                 to meet the CSAPR applicability criteria but                       within Delaware’s borders that were included in the                    0515; comments of Delaware City Refining, EPA–
                                                 provided no comments on the specific proposed                      proposal’s request for comment; these comments                         HQ–OAR–2021–0668–0309.
                                                 data. See comments of Berkshire Hathaway Energy,                   are moot because Delaware is not being added to



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                                                 emissions rates for various types of                    time period. During this period, the                   input values—as the latest
                                                 units. Multiplying the assumed                          state emissions budget for each state for              representative values to inform the 2028
                                                 emissions rate for each unit (as finalized              a given control period will be the preset              state emissions budget, which would
                                                 in this rule) by the identified recent                  state emissions budget unless the                      reflect the decline in coal heat input and
                                                 historical heat input for each unit and                 dynamic budget is higher. This                         replacement with natural gas heat input
                                                 summing the results to the state level                  approach accommodates scenarios                        (capturing the coal unit’s retirement).
                                                 would provide a given year’s state                      where baseline fossil heat input may                   Therefore, the heat input values under
                                                 dynamic emissions budgets. Dynamic                      exceed levels anticipated by EPA in the                the dynamic budget scenario reflect the
                                                 budgets are a product of the formula                    preset budgets (e.g., this could result                change in fleet composition, and when
                                                 promulgated in this action applied to a                 from greater electric vehicle penetration              multiplied by the relevant emissions
                                                 rolling three-year average of reported                  rates). Table VI.B.4–1 illustrates this                rates reflecting the Step 3 emissions
                                                 heat input data at the state level and a                scenario. In the preset budget approach                control stringency identified in this
                                                 rolling highest-three-of-five-year average              for 2028, the 2028 heat input is                       final rule, the corresponding emissions
                                                 of reported heat input data at the unit                 estimated based on the latest available                (15,000 tons) constitute a state budget
                                                 level. As such, the EPA is confident that               heat input data at the time of rule                    that reflects the identified control
                                                 dynamic budgets will more accurately                    proposal (i.e., 2021; see the subsection               stringency applied to the fleet
                                                 reflect power sector composition,                       on preset budget methodology later in                  composition for that year as opposed to
                                                 particularly in later years, and certainly              this section), which cannot reflect a                  the 17,000 tons in summed in the first
                                                 from 2030 and beyond, than preset                       subsequent change in fleet heat input                  table. However, for the 2026–2029
                                                 budgets could and will therefore better                 values (column 2) due to, e.g., increased              period, in which the EPA implements
                                                 implement the Step 3 emissions control                  utilization to meet increased electric                 an approach that utilizes the higher of
                                                 stringency over long time horizons.                     load. However, the dynamic budget                      the dynamic budget or preset budget,
                                                    Starting in 2025 (for the 2026 control               would use 2022–2026 heat input values                  the budget implemented for 2028 in this
                                                 period), the dynamic budgets, along                     at the unit level and 2024–2026 heat                   scenario would be the 17,000 ton preset
                                                 with the underlying data and                            input values at the state level—as                     amount.
                                                 calculations will be publicly                           opposed to 2021 heat input values—as                      During the 2026–2029 transition
                                                 announced, and this will occur                          the latest representative values to                    period—during which substantial,
                                                 approximately one year before the                       inform the 2028 state emissions budget.                publicly announced utility
                                                 relevant control period begins. These                   Therefore, the heat input values in                    commitments exist for higher emitting
                                                 will be published in the Federal                        column 2 under the dynamic scenario
                                                 Register through notices of data                                                                               units to exit the fleet—it is still possible
                                                                                                         reflect the change in fleet utilization                that yet-to-be known, unit-specific
                                                 availability (NODAs), similar to how                    levels, and when multiplied by the
                                                 other periodic actions that are                                                                                retirements (such as illustrated in this
                                                                                                         emissions rates reflecting the Step 3                  second scenario) may result in dynamic
                                                 ministerial in nature to implement the                  emissions control stringency in this
                                                 trading programs are currently handled.                                                                        budgets that are lower than the preset
                                                                                                         final rule, the corresponding emissions                budgets finalized in this rule. However,
                                                 And as with such other actions,                         (18,700 tons) summed in column 4
                                                 interested parties will have the                                                                               during this transition period EPA
                                                                                                         constitute a state budget that more                    believes that having the preset budgets
                                                 opportunity to seek corrections or                      accurately reflects the Step 3 emissions
                                                 administrative adjudication under 40                                                                           serve as floors for the state emissions
                                                                                                         control stringency applied to the fleet                budgets is appropriate for two primary
                                                 CFR part 78 if they believe any data
                                                                                                         composition for that year, as opposed to               reasons identified by commenters. First,
                                                 used in making these calculations, or
                                                                                                         the 17,000 tons identified in the preset               commenters repeatedly emphasized the
                                                 the calculations themselves, are in error.
                                                    To illustrate how dynamic budgeting                  budget approach. As illustrated in the                 need for certainty and flexibility to
                                                 will work after the transition from                     example, the dynamic variable is the                   successfully carryout plans for
                                                 preset budgets, the dynamic budgets for                 heat input variable, which changes over                significant fleet transition through the
                                                 the 2030 ozone season control period                    time. In this instance, the dynamic                    end of the decade. The 2026–2029
                                                 will be identified by May 1, 2029, using                budget value of 18,700 tons would be                   period is expected to have substantial
                                                 the latest available average of three                   implemented for 2028 instead of the                    fleet turnover. Current Form EIA–860
                                                 years of reported operational data at that              preset value, and thus accommodate the                 data, in which utilities report their
                                                 time (i.e., the average of 2026–2028 heat               unforeseen utilization changes in                      retirement plans, identify 2028 as the
                                                 input data at the state level and 2024–                 response to higher demand.                             year with the most planned coal
                                                 2028 years of rolling data at the unit                     In the second table, Table VI.B.4–2,                capacity retirements during the 2023–
                                                 level) applied in a simple mathematical                 the dynamic budget is lower than the                   2029 timeframe. Using preset budgets as
                                                 formula finalized in this rule, which                   preset budget due to retirements that                  state emissions budget floors provides
                                                 multiplies this heat input data by the                  were not foreseen at the time the preset               states and utilities with information on
                                                 emissions rates quantified in this rule.                budgets were determined. In the preset                 minimum quantities of allowances that
                                                 Therefore, if a unit retires before the                 budget approach for 2028, the 2028 heat                can be used for planning purposes. In
                                                 start of the 2028 ozone season but had                  input is still estimated based on the                  turn, this fosters the operational
                                                 not announced its upcoming retirement                   latest available heat input data at the                flexibility needed while putting
                                                 at the time of this rule’s finalization, the            time of rule proposal (i.e., 2021), which              generation and transmission solutions
                                                 dynamic budget approach ensures that                    cannot reflect a subsequent fleet change               into place to accommodate such
                                                                                                         in heat input values due to an                         elevated levels of retirements. Second,
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                                                 the dynamic budgets for 2030 and
                                                 subsequent control periods would                        unanticipated retirement of one of the                 the latter part of the decade has a
                                                 represent the identified control                        state’s coal-fired units before the start of           significant amount of unit-level firm
                                                 stringency applied to a fleet reflecting                the 2028 ozone season. However, the                    retirements already planned and
                                                 that retirement.                                        dynamic budget again would use 2022–                   announced for purposes of compliance
                                                    The two examples discussed next                      2026 heat input values at the unit level               with other power sector regulations or
                                                 illustrate the implementation of the                    and 2024–2026 heat input values at the                 fulfillment of utility commitments.
                                                 dynamic budget during the 2026–2029                     state level—as opposed to 2021 heat                    These known retirements are already


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                                                 captured in the preset state budgets,                                     will fully capture all prior retirements                          reported with a planned retirement is
                                                 with the result that the likelihood and                                   and new builds when the fleet is                                  less than 2 GW each year.311 This yet-
                                                 magnitude of instances where a state’s                                    entering this period where unit-specific                          to-be available data and relative lack of
                                                 dynamic budget for a given control                                        data on such plans is less frequently                             currently known firm retirement plans
                                                 period would be lower than its preset                                     available. For instance, through the                              for 2030 and beyond make dynamic
                                                 budget for the control period is reduced                                  remaining portion of the decade, the                              budget implementation for those years
                                                 in this 2026–2029 period relative to                                      amount of coal steam retirements                                  essential for state emissions budgets to
                                                 control periods further in the future for                                 identified and reported through Form                              maintain the Step 3 control stringency
                                                 which retirement plans have not yet                                       EIA–860 is nearly 7 GW each year.                                 required under this rule.
                                                 been announced. After 2029, the                                           However, for the decade beginning in
                                                 dynamic budgets from 2030 forward                                         2030—the amount of capacity currently

                                                   TABLE VI.B.4–1—EXAMPLE OF PRESET AND DYNAMIC BUDGET CALCULATION IN SCENARIO OF INCREASED FOSSIL HEAT
                                                                                                  INPUT
                                                                                                                                       Preset budget approach (2028)                                 Dynamic budget approach (2028)

                                                                                                                                                         Preset               Preset tons                                                        Tons
                                                                                                                              Preset                                                                                  Emissions
                                                                                                                                                       emissions             (heat input ×    Heat input                                     (heat input ×
                                                                                                                             heat input                                                                                   rate
                                                                                                                                                          rate                emissions         (tBtu)                                        emissions
                                                                                                                               (tBtu)                                                                                 (lb/mmBtu)
                                                                                                                                                      (lb/mmBtu)              rate)/2000                                                      rate)/2000

                                                 Coal Units ............................................................                 600                       0.05             15,000                 660                     0.05             16,500
                                                 Gas Units .............................................................                 400                       0.01              2,000                 440                     0.01              2,200

                                                       State Budget (tons) ......................................           ....................    ......................          17,000   ....................   ......................          18,700


                                                           TABLE VI.B.4–2—EXAMPLE OF PRESET AND DYNAMIC BUDGET CALCULATION IN SCENARIO OF UNANTICIPATED
                                                                                                   RETIREMENT
                                                                                                                                       Preset budget approach (2028)                                 Dynamic budget approach (2028)

                                                                                                                                                         Preset               Preset tons                                                        Tons
                                                                                                                              Preset                                                                                  Emissions
                                                                                                                                                       emissions             (heat input ×    Heat input                                     (heat input ×
                                                                                                                             heat input                                                                                   rate
                                                                                                                                                          rate                emissions         (tBtu)                                        emissions
                                                                                                                               (tBtu)                                                                                 (lb/mmBtu)
                                                                                                                                                      (lb/mmBtu)              rate)/2000                                                      rate)/2000

                                                 Coal Units ............................................................                 600                       0.05             15,000                 500                     0.05             12,500
                                                 Gas Units .............................................................                 400                       0.01              2,000                 500                     0.01              2,500

                                                       State Budget (tons) ......................................           ....................    ......................          17,000   ....................   ......................          15,000



                                                    In summary, for the control periods in                                 notice regarding the total quantities of                          retirement plans), the PJM Retirement
                                                 2023 through 2025, EPA is providing                                       allowances available to accommodate                               Tracker, utilities’ integrated resource
                                                 only preset budgets in this final rule                                    compliance planning through the latter                            plans, notification of compliance plans
                                                 because those control periods are in the                                  half of the decade, during a period of                            with other EPA power sector regulatory
                                                 immediate future and would not                                            particularly high fleet transition                                requirements, and other information
                                                 substantially benefit from the use of                                     expected with or without this                                     sources that EPA routinely canvasses to
                                                 future reported data. For these years, the                                rulemaking.                                                       populate the data fields included in the
                                                 certainty around new builds and                                              EPA’s emissions budget methodology                             Agency’s NEEDS database. The EPA has
                                                 retirements is higher than ensuing years.                                 and formula for establishing Group 3                              updated this data on retirements and
                                                 For the ozone season control periods of                                   budgets are described in detail in the                            new builds using the latest information
                                                 2026 through 2029, EPA is providing                                       Ozone Transport Policy Analysis Final                             available from these sources at the time
                                                 both preset budgets in this final rule and                                Rule TSD and summarized later in this                             of final rule development as well as
                                                 dynamic budgets via future ministerial                                    section.                                                          input provided by commenters.
                                                 actions. For those control periods from                                                                                                        For determining preset state
                                                                                                                           a. Methodology for Determining Preset
                                                 2026 through 2029, the preset budgets                                                                                                       emissions budgets, the EPA generally
                                                                                                                           State Emissions Budgets for the 2023
                                                 finalized in this rule serve as floors,                                   Through 2029 Control Periods                                      uses historical ozone season data from
                                                 such that a given state’s dynamic budget                                                                                                    the 2021 ozone season, the most recent
                                                 ultimately calculated and published for                                     To compose preset state emissions                               data available to EPA and to
                                                 that control period will apply to that                                    budgets, the EPA is using the best                                commenters responding to this
                                                 state’s affected EGUs only if it is higher                                available data at the time of developing                          rulemaking’s proposal and providing a
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                                                 than the corresponding preset budget                                      this final rule regarding retirements and                         reasonable representation of near-term
                                                 finalized in this rulemaking. This                                        new builds. The EPA relies on a                                   fleet conditions. This is similar to the
                                                 approach is in response to stakeholder                                    compilation of data from Form EIA–860                             approach taken in the CSAPR Update
                                                 comments requesting more advance                                          (where facilities report their future                             and the Revised CSAPR Update, where


                                                   311 See 2021 Form EIA Form 860—Schedule 3,

                                                 Generator Data. Department of Energy, Energy
                                                 Information Administration.

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                                                 the EPA likewise began with data for the                                adjusting 2021 unit-level data to reflect                           lb/mmBtu or less in the historical
                                                 most recent ozone season at the time of                                 changes announced and planned to                                    baseline, the EPA lowered that unit’s
                                                 proposal (2015 and 2019, respectively).                                 occur by 2023). The EPA adjusted the                                assumed emissions rate to 0.08 lb/
                                                   By using historical unit-level NOX                                    2021 ozone-season data to reflect                                   mmBtu and calculated the impact on
                                                 emissions rates, heat input, and                                        committed fleet changes expected to                                 the unit’s mass emissions. Note that the
                                                 emissions data in the first stage of                                    occur in the baseline. This includes                                heat input is held constant for the unit
                                                 determining preset emissions budgets,                                   announced and confirmed retirements,                                in the process, reflecting the same level
                                                 the EPA is grounding its budgets in the                                 new builds, and retrofits that occur after                          of unit operation compared to historical
                                                 most recent representative historical                                   2021 but prior to 2023. For example, if                             2021 data. The improved emissions rate
                                                 operation for the covered units at the                                  a unit emitted in 2021, but retired prior                           of 0.08 lb/mmBtu is applied to this
                                                 time EPA began its final rulemaking.                                    to May 1, 2022, its 2021 emissions                                  constant heat input, reflecting control
                                                 This data set is a reasonable starting                                  would not be included in the 2023                                   optimization. In this manner, the unit-
                                                 point for the budget-setting process as it                              baseline estimate. For units that had no                            level totals from Step 1 are adjusted to
                                                 reflects recent publicly available and                                  known changes, the EPA uses the actual                              reflect the additional application of the
                                                 quality assured data reported by affected                               emissions, heat input, and emissions                                assumed control technology at a given
                                                 facilities under 40 CFR part 75, largely                                rates reported for 2021 as the baseline                             control stringency. This is illustrated in
                                                 using CEMS. The reporting                                               starting point for calculating the 2023                             Table VI.B.4.a–1. Row 1 reflects the
                                                 requirements include quality control                                    state emissions budgets. Using this                                 2021 historical data for this SCR-
                                                 measures, verification measures, and                                    method, the EPA arrived at a baseline                               controlled unit. Row 2 reflects no
                                                 instrumentation to best record and                                      emission, heat input, and emissions rate                            change (as there are no known changes
                                                 report the data. In addition, the                                       estimate for each unit for a future year                            such as planned retirement or coal-to-
                                                 designated representatives of EGU                                       (e.g., 2023).                                                       gas conversion). Row 3 reflects
                                                 sources are required to attest to the                                      The second step in deriving the preset                           application of the Step 3 stringency (i.e.,
                                                 accuracy and completeness of the data.                                  state emissions budgets is for EPA to                               a 0.08 lb/mmBtu emissions rate from
                                                   The first step in deriving the future                                 take the adjusted historical data from                              SCR optimization). The resulting impact
                                                 year state emissions budget is to                                       Step 1, and adjust the emissions rates                              on emissions is a reduction from the
                                                 calibrate historical data to planned                                    and mass emissions to reflect the                                   historical 4,700 tons to an expected
                                                 future fleet conditions. EPA does this by                               control stringencies identified as                                  future level of 615 tons. A state’s preset
                                                 adjusting this historical baseline                                      appropriate for EGUs of that type. For                              budget for a given control period is the
                                                 information to reflect the known                                        instance, if an SCR-equipped unit was                               sum of the amounts computed in this
                                                 changes (e.g., when deriving the 2023                                   not operating its SCR so as to achieve                              manner for each unit in the state for the
                                                 state emissions budget, EPA starts by                                   a seasonal average emissions rate of 0.08                           control period.

                                                           TABLE VI.B.4.a–1—EXAMPLE OF UNIT-LEVEL DATA CALCULATIONS FOR DERIVING STATE EMISSIONS BUDGETS
                                                                                                                                                                                                              Emission
                                                                                                                                                                                             Heat input                     Emissions
                                                                                                                                                                                                                 rate
                                                                                                                                                                                               (tBtu)                        (tons)
                                                                                                                                                                                                             (lb/mmBtu)

                                                 Historical Data (2021) ..................................................................................................................        15.384            0.61           4,700
                                                 Step 1 (Baseline)—Historical data adjusted for planned changes .............................................                                     15.384            0.61           4,700
                                                 Step 2—Baseline further adjusted for Step 3 stringency ............................................................                              15.384            0.08             615



                                                   For each control period from 2026                                     pollution control measure). The                                     Therefore, EPA believes it is important
                                                 onward, the unit-specific emissions                                     emissions rates assigned to these large                             to incorporate expected new builds,
                                                 rates assumed for all affected states                                   coal-fired EGUs for 2027 state emissions                            retirements, and unit changes already
                                                 except Alabama, Minnesota, and                                          budget computations reflect the full                                slated to occur. Ignoring these factors
                                                 Wisconsin will reflect the selected                                     assumed SCR retrofit emissions                                      would dilute, rather than strengthen, the
                                                 control stringency that incorporates                                    potential at those units, by applying the                           ability of preset budgets to capture the
                                                 post-combustion control retrofit                                        controlled emissions rate only. For                                 most representative fleet of EGUs to
                                                 opportunities for the relevant units                                    example, a coal steam unit greater than                             which they will be applied. Omitting
                                                 identified in the state emissions budgets                               or equal to 100 MW currently lacking a                              scheduled retirements and new builds
                                                 and calculations appendix to the Ozone                                  SCR and emitting at 0.20 lb/mmBtu                                   from state emissions budgets would
                                                 Transport Policy Analysis Final Rule                                    would be assumed to reduce its                                      reflect units that power sector operators
                                                 TSD. The emissions rates assigned to                                    emissions rate to 0.125 lb/mmBtu rate in                            and planning authorities do not expect
                                                 large coal-fired EGUs for 2026 state                                    2026 and 0.050 lb/mmBtu rate in 2027                                to exist, while failing to reflect units
                                                 emissions budget computations only                                      for purposes of deriving its preset state                           that are expected to exist.
                                                 reflect 50 percent of the SCR retrofit                                  emissions budgets in those years.                                      EPA notes it is using the best
                                                 emissions reduction potential at each of                                  Comment: Some commenters                                          available data at the time of the final
                                                 those units, to capture the phase-in                                    suggested that EPA should not reflect                               rule. EPA relies on a compilation of data
                                                 approach EPA is taking for this control                                 planned retirements in its preset                                   from Form EIA–860 where facilities
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                                                 as described in section VI.A of this                                    budgets. The suggestion stems from                                  report their future retirement plans. In
                                                 document. The EPA calculates these                                      commenters’ observation that those                                  addition, EPA is using data from
                                                 unit-level emissions rates in 2026 as the                               retirement decisions may yet change.                                regional transmission organizations who
                                                 sum of the unit’s baseline emissions rate                                 Response: The effectiveness of EPA’s                              are cataloging, evaluating, and
                                                 and its controlled emissions rate                                       future year preset state emissions                                  approving such retirement plans and
                                                 divided by two (i.e., 50 percent of the                                 budgets depends on how well they are                                data; data from notifications submitted
                                                 emissions reduction potential of that                                   calibrated to the expected future fleet.                            directly to EPA by the utility themselves


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                                                 through comments; and retirement                          We further observe that the                            conditions for the period in which they
                                                 notifications submitted to permitting                   commenters’ concern is only materially                   are applied.
                                                 authorities. This information is highly                 meaningful for the 2023 through 2025                        Comment: Some commenters
                                                 reliable, real-world information that                   preset budget periods, where the                         suggested that EPA should use a multi-
                                                 provides EPA with the high confidence                   currently known information is                           year baseline for all of its state budget
                                                 that such retirements will in fact occur.               generally the most reliable. For the                     derivations, including preset budgets, to
                                                    If a unit’s future retirement does not               2026–2029 control periods, if an                         control for outlier years that may not be
                                                 occur on the currently scheduled date,                  anticipated fleet change such as an EGU                  representative of future years due to
                                                 EPA observes that such an unexpected                    retirement does not actually occur, the                  major weather events or other fleet
                                                 departure from the currently available                  dynamic budget setting methodology                       disruptions (such as a large nuclear unit
                                                 evidence would still not undermine the                  would, all else being equal, generate a                  outage).
                                                 ability of affected EGUs to comply with                 budget reflective of that unit’s                            Response: For preset state emissions
                                                 their applicable state budgets. EPA’s                   continued operation (as the budget                       budget derivation, EPA is finalizing use
                                                 approach of using historical data and                   would be based on the preceding years                    of the same single-year 316 historical
                                                 incorporation only of announced fleet                   of historical data), and that dynamic                    baseline approach it used in the
                                                 changes in estimating its future                        budget will supplant the preset budget                   proposed rule. This approach is similar
                                                 engineering analytics baseline means                    for that state (if it represents a total                 to the Revised CSAPR Update, where
                                                 that its future year baseline generation                quantity of emissions higher than the                    EPA also relied on a single-year
                                                 and retirement outlook for higher                       preset budget).                                          historical baseline to inform its Step 3
                                                 emitting sources is more likely to                        Because the future is inherently                       approach. EPA’s interest in a historical
                                                 understate future retirements (rather                   uncertain, all analytic tools and                        data set to inform this part of the
                                                 than overstate as suggested by                          information resources used in any                        analysis is to capture the most
                                                                                                         estimation of future EGU emissions will                  representative view of the power sector.
                                                 commenter), as EPA does not assume for
                                                                                                         yield some differences between the                       For estimating preset state budgets, EPA
                                                 the purpose of preset budget
                                                                                                         projected future and the realized future.                finds that, particularly at the state level,
                                                 quantification any retirements beyond
                                                                                                         Such potential differences may either                    more recent data is a better
                                                 those that are already planned. In other
                                                                                                         increase or decrease future emissions in                 representation and basis for future year
                                                 words, in the 2023 through 2029
                                                                                                         practice, and the unavoidable existence                  baselines rather than incorporating
                                                 timeframe for which EPA is establishing
                                                                                                         of such differences does not, on its own,                older data. Taking as an example preset
                                                 preset state emissions budgets in this
                                                                                                         render the EPA’s inclusion of currently                  budget estimation for the 2023 through
                                                 rulemaking, there are more likely to be
                                                                                                         announced retirements an unreasonable                    2025 ozone seasons, the EPA is able to
                                                 additional future EGU retirements
                                                                                                         feature of the methodology for                           compare its single-year base line to an
                                                 beyond those scheduled prior to the                                                                              alternative multi-year baseline (e.g., a 3-
                                                 finalization of this rule than there are to             determining future year preset
                                                                                                                                                                  year baseline encompassing 2020–2022)
                                                 be reversed or substantially delayed                    emissions budgets. To the contrary, if
                                                                                                                                                                  and determine that the single year
                                                 changes to already announced EGU                        the EPA failed to include these
                                                                                                                                                                  baseline better reflects future fleet
                                                 retirement plans. For instance,                         announced retirements, the rule would
                                                                                                                                                                  operation expectation than a multi-year
                                                 subsequent to the EPA’s finalization of                 knowingly authorize amounts of
                                                                                                                                                                  baseline that incorporates units which
                                                 the Revised CSAPR Update Rule                           additional, sustained pollution that are
                                                                                                                                                                  have since retired as well as outlier
                                                 budgets for 2023 (rule finalized in                     not currently expected to occur. If those
                                                                                                                                                                  patterns in load during pandemic-
                                                 March 2021), the owners of Sammis                       retirements largely or entirely occur as
                                                                                                                                                                  related shutdowns.
                                                 Units 5–7 and Zimmer Unit 1 in Ohio                     currently scheduled, the overestimated
                                                                                                                                                                     EPA recognizes that 2021 is the latest
                                                 (totaling nearly 3 GW of coal capacity)                 state budgets would allow other EGUs to
                                                                                                                                                                  available historical data as of the
                                                 announced that the units would retire                   emit additional pollution in place of the
                                                                                                                                                                  preparation of this rulemaking, and
                                                 by 2023—nearly 5 years earlier than                     emissions from the retired EGUs instead
                                                                                                                                                                  therefore the most up-to-date picture of
                                                 previously planned.312 313 These coal                   of maintaining or improving their
                                                                                                                                                                  the fleet at the time EPA began its
                                                 retirements were not captured in Ohio’s                 emissions performance to eliminate
                                                                                                                                                                  analysis. EPA then further evaluates the
                                                 2023 or 2024 state emissions budgets                    significant contribution with
                                                                                                                                                                  2021 historical data at the state level to
                                                 established under the Revised CSAPR                     nonattainment and interference with
                                                                                                                                                                  determine whether it was a
                                                 Update. Meanwhile, there have been no                   maintenance of the NAAQS.315
                                                                                                                                                                  representative starting point for
                                                 announcements of previously                               Additionally, as noted elsewhere,                      estimating future year baseline levels
                                                 announced retirement plans being                        EPA’s use of a market-based program, a                   and subsequently deriving the preset
                                                 rescinded or delayed for other Ohio                     starting bank of converted allowances,                   state emissions budgets. If the Agency
                                                 units. Similarly, the Joppa Power Plant                 and variability limits are all features                  finds any state-level anomalies, it makes
                                                 in Illinois accelerated its retirement                  that will readily accommodate whatever                   necessary adjustments to the data.
                                                 from 2025 to 2022 shortly after the                     relatively limited differences in                        While unit-level variation may occur
                                                 Revised CSAPR Update Rule was                           emissions may occur if a currently                       from year-to-year, those variations are
                                                 signed.314                                              scheduled EGU retirement is ultimately                   often offset by substitute generation
                                                                                                         postponed during the preset budget                       from other units within the state.
                                                   312 Available at https://www.prnewswire.com/          years of 2023 through 2025. Therefore,                   Therefore, EPA conducts its first
                                                 news-releases/energy-harbor-transitions-to-100-         EPA’s resulting preset state emissions                   screening at the state level by
                                                 carbon-free-energy-infrastructure-company-in-2023-      budgets—inclusive of expected fleet
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                                                 301501879.html.                                                                                                  identifying any states where 2021 heat
                                                   313 Available at https://www.spglobal.com/
                                                                                                         turnover—are robust to the inherent
                                                 commodityinsights/en/market-insights/latest-news/       uncertainty in future year baseline                        316 For the purposes of this rulemaking, when
                                                 coal/071921-vistra-plans-to-retire-13-gw-zimmer-                                                                 describing a ‘‘year’’ or ‘‘years’’ of data utilized in
                                                 coal-plant-in-ohio-five-years-early.                       315 Some of these announced retirements reflect       state emission budget computations, the EPA is
                                                   314 Available at https://www.prnewswire.com/          the operator’s reported intention to EPA to retire the   actually utilizing the relevant data from May 1
                                                 news-releases/joppa-power-plant-to-close-in-2022-       affected capacity by that time as part of their          through September 30 of the referenced year(s),
                                                 as-company-transitions-to-a-cleaner-future-             compliance with effluent limitation guidelines or        consistent with the control period duration of this
                                                 301263013.html.                                         with the coal combustion residuals rule.                 rule’s EGU trading program.



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                                                 input and 2021 emissions were the                                     latest, most representative data in a                    input. Ozone seasons for which a unit
                                                 lowest year for heat input and emissions                              manner that is robust to any substantial                 reported zero heat input are excluded
                                                 relative to the past several years (2018–                             state-level or region-level outlier events               from the averaging of the three highest
                                                 2022, excluding 2020 due to shut downs                                within that dataset and further validates                heat input values for that unit. These
                                                 and corresponding reduced utilization                                 EPA’s comprehensive approach to using                    representative unit-level heat input
                                                 related to the pandemic onset).317 318                                the most recent single year of data for                  values established for each unit
                                                 Then, for that limited number of states                               preset budgets.                                          individually are then summed for all
                                                 (AL, LA, MS, and TX) in which 2021                                                                                             units in each state. Each unit’s
                                                                                                                       b. Methodology for Determining
                                                 reflects the minimum fossil fuel heat                                                                                          representative unit-level heat input is
                                                                                                                       Dynamic State Emissions Budgets for
                                                 input and minimum emissions over the                                                                                           then divided into this state-level sum to
                                                                                                                       Control Periods in 2026 onwards
                                                 baseline evaluation period, EPA—                                                                                               get that unit’s representative percent of
                                                 similar to prior rules—evaluated                                         In this final rule, the EPA is finalizing             the aggregated average heat input values
                                                 whether any unit-level anomalies in                                   an approach of using multi-year                          for all affected EGUs in that state.
                                                 operation were driving this lower heat                                baseline data for purposes of dynamic
                                                 input at the state level. EPA examined                                budget computation. The                                     Next, EPA calculates a representative
                                                 unit-level 2021 outages to determine                                  aforementioned testing of the                            state-level heat input by taking the
                                                 where an individual unit-level outage                                 representative nature of a single year of                average state-level total heat input
                                                 might yield a significant difference in                               baseline data for purposes of preset                     across affected EGUs from the most
                                                 state heat input, corresponding                                       budget setting is not possible in the                    recent three ozone seasons for which
                                                 emissions baseline and resulting state                                dynamic budget process as that data                      data have been reported, to which the
                                                 emissions budgets. When applying this                                 will not be available until a later date.                above-derived representative unit-level
                                                 test to all of the units in the previously                            Further, the EPA generally agrees with                   percentages of heat input are applied.
                                                 identified states (and even when                                      commenters that use of a multi-year                      The EPA uses a three-year baseline
                                                 applying to EGUs in all states for whom                               period will be more robust to any                        period for state-level heat input versus
                                                 Federal implementation plans are                                      unrepresentative outlier years in fleet                  the five-year baseline period noted
                                                 finalized in this rulemaking), the EPA                                operation and thus better suited for                     previously for unit-level heat input
                                                 determined that the only unit with a                                  purposes of dynamic budgets. The                         because there is less variation from year
                                                 2021 outage that (1) decreased its output                             methodology for determining dynamic                      to year at the state level compared to the
                                                 relative to preceding or subsequent                                   state emissions budgets for later control                unit level. Multiplying the
                                                 years by 75 percent or more (signifying                               periods (2026 and beyond) relies on a                    representative unit-level percentages of
                                                 an outage), and (2) could potentially                                 nearly identical methodology for                         heat input by the representative state-
                                                 impact the state’s emissions budget                                   applying unit-level emissions rate                       level heat input yields a normalized
                                                 substantially as it constituted more than                             assumptions as the preset budget                         unit-level heat input value for each
                                                 5 percent of the state’s heat input in a                              methodology. But it uses more recent                     affected EGU. This step assures that the
                                                 non-outage year was Daniel Unit 2 in                                  heat input data that will become                         total heat input being reflected in a
                                                 Mississippi. EPA therefore adjusted this                              available by that future time, employing                 dynamic state budget does not exceed
                                                 state’s baseline heat input and NOX                                   a multi-year approach for identifying                    the average total heat input reported by
                                                 emissions to reflect the operation of this                            the heat input data so as to ensure                      affected EGUs in that state from the
                                                 unit based on its 2019 data—which was                                 representativeness.                                      three most recent years. Finally, each
                                                 the second most recent year of data                                      For dynamic budgets, EPA uses more                    normalized unit-level heat input value
                                                 available at the time of proposal                                     years of baseline data to control for any                is multiplied by the emissions rate
                                                 (excluding 2020 given atypical impacts                                state-level and unit-level variation that                reflecting the assumed unit-specific
                                                 from pandemic-related shutdowns) for                                  may occur in a future single year that is                control stringency for each particular
                                                 which this unit operated. The EPA then                                not possible to identify at present. First,              year (determined at Step 3) to get a unit-
                                                 applied the Step 3 mitigation strategies                              for each unit operating in the most                      level emissions estimate. These unit-
                                                 as appropriate to this unit (i.e.,                                    recent ozone season for which data have                  level emissions estimates are then
                                                 combustion controls upgrade in 2024,                                  been reported, EPA identifies the                        summed to the state level to identify the
                                                 SCR retrofit in 2026/2027) to derive this                             average of the three highest unit-level                  dynamic budget for that year. This
                                                 portion of Mississippi’s budget. This                                 heat input values from the five ozone                    procedure to derive normalized unit-
                                                 test, and subsequent adjustment as                                    seasons ending with that ozone season                    level heat input is captured in the
                                                 necessary, enables EPA to utilize the                                 to get a representative unit-level heat                  following table:
                                                                                             TABLE VI.B.4.b–1—DERIVATION OF NORMALIZED UNIT-LEVEL HEAT INPUT
                                                                                                                                             [Illustrative]

                                                                                                                                                      Representative                               Representative
                                                                                             2022        2023      2024      2025        2026          unit-level heat     Representative          state level heat       Normalized
                                                                                             Heat        Heat      Heat      Heat        Heat               input            unit-level                 input             unit—level
                                                                                             input       input     input     input       input           (avg of 3            percent                (avg 3 most          heat input
                                                                                                                                                     highest of past 5)                          recent state totals)

                                                 Unit A ..................................     100          200       150      200         300                       233              41%                           483          199
                                                 Unit B ..................................      50          100       200       50         100                       133                24                          483          114
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                                                 Unit C ..................................     250          150       150      200         100                       200                35                          483          170


                                                   317 EPA identified states for which 2021 both heat                    318 EPA also conducted a similar test to identify      lower levels and was correlated with retirements
                                                 input and emissions were the low year among the                       states in which 2021 heat input and emissions were       elsewhere in the region—indicating that some of
                                                 examined baseline period as a preliminary screen                      the high year among the examined baseline period         this heat input increase may be representative of the
                                                 to identify potential instances where reduced                         and found that it was for both Utah and                  future fleet and that planned retirements factored
                                                 utilization may lead to an understated emissions                      Pennsylvania. However, for both states the elevated      into preset budget will remove any unrepresentative
                                                 baseline value.                                                       heat input trend persisted into 2022 (at slightly        heat input from 2021.



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                                                                              TABLE VI.B.4.b–1—DERIVATION OF NORMALIZED UNIT-LEVEL HEAT INPUT—Continued
                                                                                                                                        [Illustrative]

                                                                                                                                                 Representative                                            Representative
                                                                                        2022        2023      2024      2025        2026          unit-level heat      Representative                      state level heat                      Normalized
                                                                                        Heat        Heat      Heat      Heat        Heat               input             unit-level                             input                            unit—level
                                                                                        input       input     input     input       input           (avg of 3             percent                            (avg 3 most                         heat input
                                                                                                                                                highest of past 5)                                       recent state totals)

                                                     State Total ....................     400          450       500      450         500                       567   ............................   ........................................   ......................



                                                    The EPA will issue these dynamic                              corresponding data and formulas, and                           subsequently reduced utilization by the
                                                 budget quantifications approximately 1                           examples for the dynamic budget are                            target year for which the dynamic
                                                 year before the relevant control period.                         described in the Ozone Transport Policy                        budget is being calculated) to estimate
                                                 We view such actions as ministerial in                           Analysis Final Rule TSD.                                       the expected future fleet performance at
                                                 nature in that no exercise of agency                                Comment: Multiple commenters                                the emissions performance levels
                                                 discretion is required. For instance,                            claimed that designing a dynamic                               determined by the Step 3 result in this
                                                 starting in early 2025, the EPA would                            budget process that relies on a single                         rulemaking, that drawback is worth the
                                                 take the most recent three years of state-                       year of yet-to-be known heat input data                        advantage of protecting against
                                                 level heat input data and the most                               may produce an unrepresentative view                           instances where atypical circumstances
                                                 recent five years of unit-level heat input                       of fleet operations for the immediate                          in the most recent single year may occur
                                                 data and calculate 2026 state emissions                          ensuing years. Commenters pointed to                           and not be representative of the
                                                 budgets using the methodology                                    the hypothetical of another pandemic-                          subsequent year for which the dynamic
                                                 described previously. For 2026–2029,                             like year (e.g., 2020) occurring in the                        budget is being estimated. This singular
                                                 EPA is establishing the preset state                             future, noting that 2020 would have                            drawback of moving to a multi-year
                                                 emissions budgets finalized in this                              been a poor choice for estimating 2022                         baseline is most pronounced in the early
                                                 rulemaking and will only supplant                                fleet operation and the same would                             years of dynamic budgeting. Therefore,
                                                 those preset emissions budgets with the                          likely hold true if a similar event                            EPA is able to lessen the impact of this
                                                 to-be-published dynamic emissions                                occurred, for example, in 2025—that                            drawback of the multi-year baseline by
                                                 budgets if, for a given state and a given                        would consequently make that year a                            extending the earliest start date of
                                                 control period, that dynamic budget                              poor choice as a representative of 2027                        dynamic budgets from 2025 (as
                                                 yields a higher level of emissions than                          baseline. They further pointed out that                        proposed) to 2026 in the final rule.
                                                 the corresponding preset budget                                  severe weather events and operating                               Comment: Commenters suggested that
                                                 finalized in this rulemaking. For 2030                           disruptions (a large nuclear plant                             the dynamic budget procedure would
                                                 and beyond, the EPA solely uses the                              outage) can similarly render a single                          not provide enough advance notice of
                                                 dynamic budget process.                                          year baseline a risky choice to inform                         state budget and unit level allocation for
                                                    By March 1 of 2025, and each year                             future expectations.                                           sources to adequately plan future year
                                                 thereafter, the EPA will make publicly                              Response: Insofar as the commenters                         operation.
                                                 available through a NODA the                                     are addressing the reference period for                           Response: EPA disagrees with the
                                                 preliminary state emissions budgets for                          dynamic budget computation regarding                           notion that the timing of the dynamic
                                                 the subsequent control period and will                           years of data that have not yet occurred                       budget determination would occur too
                                                 provide stakeholders with a 30-day                               and therefore not currently available for                      close to the control period to allow
                                                 opportunity to submit any objections to                          evaluating their representative nature,                        adequate operations planning for
                                                 the updated data and computations.                               EPA agrees and is incorporating a                              compliance. As described previously,
                                                 (This process will be similar to the                             rolling 3-year baseline at the state level                     the dynamic budget level would be
                                                 releases of data and preliminary                                 and a rolling 5-year baseline at the unit                      provided approximately 1 year in
                                                 computations for allocations from new                            level for determining dynamic budgets                          advance of the start of the control period
                                                 unit set-asides that is already used in                          in this final rule. These multi-year                           (i.e., around May 1), and the allowance
                                                 existing CSAPR trading programs.) By                             rolling baseline (or reference periods)                        allocations would occur on July 1,
                                                 May 1 of 2025, and each year thereafter,                         will minimize any otherwise undue                              approximately 10 months prior to the
                                                 the EPA will publish the dynamic                                 impact from individual years where                             start of the compliance period. Not only
                                                 budgets for the ozone-season control                             fleet-level or unit-level heat input was                       is this an adequate amount of time as
                                                 period in the following calendar year.                           uncharacteristically high or low. EPA                          demonstrated by the successful
                                                 Through the 2029 ozone season control                            determined that such an approach,                              implementation of past rules that have
                                                 period, these budgets will only be                               while not needed for preset budgets, is                        been finalized and implemented within
                                                 imposed if the applicable dynamic state                          necessary in the case of dynamic                               several months of the beginning of the
                                                 budget is higher than the corresponding                          budgets because the baseline in that                           first affected compliance period (e.g.,
                                                 preset state budget finalized in this                            instance is occurring in a future year                         Revised CSAPR Update), but EPA notes
                                                 rulemaking. Preliminary and final unit-                          and therefore is not knowable and                              it is maintaining similar trading
                                                 level allowance allocations for the units                        available to test for representativeness at                    program flexibility and banking
                                                 in each state in each control period will                        the time of the final rule. To control for                     flexibilities of past programs which
                                                 be published on the same schedule as                             this type of uncertainty, the EPA finds                        provide further opportunities for
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                                                 the dynamic budgets for the control                              it appropriate to use a multi-year                             sources to procure allowances and plan
                                                 period. For the control periods from                             baseline in this instance per commenter                        for any future operating conditions.
                                                 2026 through 2029, the allocations will                          suggestion. While a multi-year baseline                        Finally, as noted previously, the EPA is
                                                 reflect the higher of the preset or                              may have a slight drawback of using a                          providing preset budgets for the years
                                                 dynamic budget for each state, and after                         slightly more dated past fleet                                 2023–2029, which serve as an effective
                                                 2030, the allocations will reflect the                           performance (including emissions from                          floor on the state’s ultimate emissions
                                                 dynamic budgets. Additional details,                             higher emitting EGUs that may have                             budget level for years 2026–2029, as


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                                                 states will receive the higher of the                   budgets for 2023 through 2025 based                    limit for a given control period so that
                                                 preset or dynamic budget for those                      upon 2021 data, and at no point in the                 the percentage value used will be the
                                                 years. This provision of certain preset                 long history of EPA’s trading programs                 higher of 21 percent or the percentage
                                                 state emissions budgets serving as a                    has such a data lag in state budget                    (if any) by which the total reported heat
                                                 floor level for 2026–2029 should further                computation yielded any compliance                     input of the state’s affected EGUs in the
                                                 assuage commenters’ concerns regarding                  problems for affected EGUs. Without                    control period exceeds the total reported
                                                 planning certainty about allowance                      dynamic budgeting, the data lag                        heat input of the state’s affected EGUs
                                                 allocations and state emissions budget                  inherent in calculating preset budgets                 as reflected in the state’s emissions
                                                 levels during this period of power sector               would grow unabated with the passage                   budget for the control period. Thus, if in
                                                 transition to cleaner energy sources.                   of time, as a fixed reference year of heat             year 2030, for example, a state’s actual
                                                    Comment: Commenters raised                           input levels would continually apply                   heat input levels increase to a level that
                                                 concerns that there is a two-year lag in                regardless of potentially higher heat                  is not reflected in the dynamic budget
                                                 the dynamic budgets in that, for                        input levels farther and farther into the              calculation using earlier years of data,
                                                 example, for the dynamic budget in the                  future. By eliminating the increase in                 the assurance level (which absent the
                                                 2026 control period, the calculations                   the length of the data lag, this new                   unusually high heat input would be 121
                                                 will be based on heat input and                         dynamic budgeting approach is a                        percent of the state’s budget) will be
                                                 inventory information reflective of data                substantial improvement in                             calculated by the EPA following the
                                                 through 2024. Commenters contend                        performance of the program relative to                 2030 ozone season, using that higher
                                                 that, if there is a much greater need for               previous approaches that were not                      reported heat input. This will avoid
                                                 allowances for compliance due to                        capable of capturing changes over time                 imposing a three-for-one allowance
                                                 unavoidable or unforeseen need for a                    in the fleet and its utilization beyond                surrender penalty on sources except
                                                 higher amount of heat input than                        the scheduled changes known to the                     where emissions exceed the assurance
                                                 reflected in prior years’ data, the budget              EPA at the time of establishing preset                 level even factoring in the increase in
                                                 for that control period will not reflect                budgets.                                               heat input in that year. Finally, as some
                                                 this need, and the allowances will only                                                                        commenters observed, the inherent data
                                                                                                            The EPA disagrees that this lag will in
                                                 become available when the dynamic                                                                              lag in dynamic budget quantification
                                                                                                         fact pose compliance challenges for
                                                 budget is calculated using that                                                                                means that a state budget for the year
                                                                                                         EGUs even if the unlikely scenario
                                                 information (i.e., 2025 data would be                                                                          2030 will continue to reflect emissions
                                                                                                         described by commenters were to occur.
                                                 reflected starting in the 2027 dynamic                                                                         from any EGU that retires before the
                                                 budget). According to commenters, this                  Several factors influence this. First, the
                                                                                                                                                                2030 control period but is still operating
                                                 lag could present a serious compliance                  change in methodology to preset
                                                                                                                                                                anytime during the 2026–2028 reference
                                                 challenge. Other commenters raised a                    budgets serving as a floor on budgets
                                                                                                                                                                years from which the 2030 dynamic
                                                 concern in the opposite direction about                 through 2029 means that the dynamic
                                                                                                                                                                budget will be calculated. Given the
                                                 the potential ‘‘slack’’ created by the lag              budget methodology can only produce
                                                                                                                                                                likely ongoing trend of relatively high-
                                                 time—meaning that as high-emitting                      an increase in the budget from this final
                                                                                                                                                                emitting EGU retirements over time, this
                                                 units retire, their emissions and                       rule through that year. Second, the                    method for determining dynamic
                                                 operation will still inform the state                   adoption of a multi-year approach for                  budgets should further assist the ability
                                                 emissions budgets for additional years                  identifying the heat input used to                     of remaining EGUs to obtain sufficient
                                                 beyond their retirement due to the lag.                 calculate the dynamic budgets will                     allowances to cover future heat input
                                                    Response: The EPA recognizes there                   smooth the year-to-year budget changes                 levels.
                                                 will be a data lag inherent in the                      and effectively eliminate the possibility                 With respect to the comments
                                                 computation of future year dynamic                      of greatest concern, which was that a                  expressing concern that dynamic
                                                 emissions budgets, because the dynamic                  single year of unusually low heat input                budgets would create too much slack
                                                 budgets will reflect fleet composition                  would be used to set the budget for a                  because of the lag in incorporating
                                                 and utilization data from recent                        subsequent year that turned out to have                retirements, the EPA observes that
                                                 previous control periods rather than the                unusually high heat input. While a year                dynamic budgets will yield a closer
                                                 control periods for which the dynamic                   of unusually high heat input for a given               representation of Step 3 control
                                                 budgets are being calculated. This                      state may still occur, the state’s budgets             stringency across the future fleet than
                                                 means that the resulting dynamic                        for those years will never be based on                 preset budgets for years in which
                                                 budgets will reflect a limited lag behind               heat input from an anomalously low                     retirement plans are currently relatively
                                                 the actual pace of the EGU fleet’s trends.              year, but instead will always be based                 unknown. Moreover, any risk that the
                                                 However, on the whole, those trends are                 on an average of several years’ heat                   lag would lead to an unacceptably large
                                                 clearly toward more efficient and                       input. Third, because the Group 3                      surplus of allowances is limited by
                                                 cleaner generating resources. Thus, the                 trading program is an interstate program               EPA’s finalization of the annual bank
                                                 data lag on the whole will inure to the                 implemented over a wide geographic                     recalibration to 21 percent and 10.5
                                                 compliance benefit of EGUs by resulting                 region, and it is unlikely that all regions            percent of the budget beginning in 2024
                                                 in dynamic budgets that are generally                   of the country would uniformly                         and 2030 respectively. The
                                                 calculated at levels likely to be                       experience a marked increase in fossil                 corresponding risk that a lag will lead
                                                 somewhat higher than what a dynamic                     fuel heat input necessitating an                       sources to not operate emissions
                                                 budget calculation reflecting real-time                 additional supply of allowances, it is                 controls, due to a surplus of allowances,
                                                 EGU operations would produce. The                       likely that allowances will be available               is also limited by the backstop daily
                                                                                                         for trade from one area of the country
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                                                 EPA believes this data lag is worthwhile                                                                       emissions rates that start in 2024 (for
                                                 to provide more compliance planning                     where there is less demand to another                  sources with existing SCR controls) and
                                                 certainty and advance notice to affected                area where there is greater demand.                    no later than 2030 for other coal-fired
                                                 EGUs of the dynamic budget applicable                   Fourth, as explained in section VI.B.5 of              sources.
                                                 to an upcoming control period.                          this document, each state’s assurance                     Comment: Commenters allege that the
                                                 Furthermore, this data lag in dynamic                   level will adjust to reflect actual heat               dynamic budget methodology is
                                                 budget computation is comparable to                     input in that year. Specifically, the EPA              effectively a ‘‘one-way ratchet’’ because,
                                                 the data lag of quantifying preset state                will determine each state’s variability                if EGUs pursue compliance strategies


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                                                 such as reduced utilization or                                              whole, modulate the dynamic budgets                   slack) budgets and corresponding
                                                 generation shifting to comply with the                                      such that the budgets over time will                  conditions where the incentive to
                                                 rule rather than install or optimize                                        only gradually change with changes in                 operate a control dissipated over time.
                                                 pollution controls pursuant to the                                          the operating profile of the EGU fleet.               In the event that sources reduce
                                                 identified Step 3 emissions control                                            For the control periods 2030 and later,            utilization whether for compliance
                                                 strategies, the effect will be that the                                     this rule is premised on the expectation              purposes or market-driven reasons, that
                                                 dynamic budget calculated in a future                                       that all large coal-fired EGU sources                 also does not obviate the importance of
                                                 year will reflect that reduced heat input,                                  identified for SCR-retrofit potential will,           continuing to incentivize the Step 3
                                                 but the applied emissions rate                                              if they continue operating in 2030 or                 emissions control stringency at
                                                 assumption will be the same. Thus, the                                      later, have installed the requisite post-             identified sources.
                                                 approach according to commenters                                            combustion controls. Thus, the backstop
                                                 actually ‘‘punishes’’ sources for                                           daily emissions rate applies for all such             c. Final Preset State Emissions Budgets
                                                 achievement of emissions reductions                                         sources beginning in the 2030 ozone
                                                 commensurate with EPA’s Step 3                                              season. In this latter period (post-2030),               For affected EGUs in each covered
                                                 determinations through alternative                                          the EPA disagrees that the dynamic                    state (and Indian country within the
                                                 compliance means, by producing a                                            budget will punish fleet segments                     state’s borders), this final rule
                                                 smaller budget in later years (less heat                                    seeking to continue to pursue a strategy              establishes preset budgets for the
                                                 input multiplied by the same emissions                                      of reduced utilization. Rather, the                   control periods 2023 through 2029. For
                                                 rate). If the source again reduces                                          dynamic budget will simply continue to                control periods 2026 through 2029, any
                                                 utilization or shifts generation to                                         reflect the Step 3 emissions control                  of those preset budgets may be
                                                 comply with this budget, then budgets                                       stringency. For instance, if there are two            supplanted by the corresponding
                                                 in later years will again ratchet down,                                     otherwise high-emitting sources in a                  dynamic budget that will be tabulated at
                                                 and so on.                                                                  state that can reduce emissions by                    later date, if and only if that dynamic
                                                    Response: First, the claims of                                           operating SCR, this rule’s control                    budget yields a higher amount. For 2030
                                                 dynamic budgeting being a one-way                                           stringency finds it cost effective for both           and beyond, the dynamic budget
                                                 ratchet are incorrect. As pointed out at                                    sources to operate their controls. If one             formula promulgated in this rule will be
                                                 proposal, the dynamic budget process                                        source retires and is replaced by new                 applied to future year data to quantify
                                                 would allow for increased utilization to                                    lower-emitting generation, it is not a                state emissions budgets for those control
                                                 result in increased budgets. Moreover,                                      punishment to have the budgets adjust                 periods. The procedures for allocating
                                                 this concern is entirely mooted for the                                     in a way that still incentivize remaining             the allowances from each state budget
                                                 period 2026 through 2029 with the shift                                     units to operate their controls. This is              among the units in each state (and
                                                 to preset budgets serving as a floor;                                       simply right-sizing the budget to an                  Indian country within the state’s
                                                 dynamic budgeting can only increase                                         evolving fleet. It is a feature of the rule,          borders) are described in section VI.B.9
                                                 the budget used in any given year in this                                   not a flaw, and is designed to address                of this document. The amounts of the
                                                 time period. Additionally, the use of a                                     observed instances in prior rules where               final preset state emissions budgets for
                                                 multi-year average heat input in the                                        market-driven reduced utilization                     the 2023 through 2029 control periods
                                                 budget-setting calculations will, on the                                    resulted in non-binding (i.e., overly                 are shown in Table VI.B.4.c–1.

                                                         TABLE VI.B.4.c–1—CSAPR NOX OZONE SEASON GROUP 3 PRESET STATE EMISSIONS BUDGETS FOR THE 2023
                                                                                       THROUGH 2029 CONTROL PERIODS
                                                                                                                                                 [Tons] a b

                                                                                                                                     Final         Final          Final         Preset        Preset       Preset      Preset
                                                                                                                                  emissions     emissions      emissions      emissions     emissions    emissions   emissions
                                                                                   State                                           budgets       budgets        budgets        budgets       budgets      budgets     budgets
                                                                                                                                   for 2023      for 2024       for 2025       for 2026      for 2027     for 2028    for 2029

                                                 Alabama .................................................................            6,379          6,489            6,489        6,339         6,236       6,236       5,105
                                                 Arkansas ................................................................            8,927          8,927            8,927        6,365         4,031       4,031       3,582
                                                 Illinois .....................................................................       7,474          7,325            7,325        5,889         5,363       4,555       4,050
                                                 Indiana ...................................................................         12,440         11,413           11,413        8,410         8,135       7,280       5,808
                                                 Kentucky ................................................................           13,601         12,999           12,472       10,190         7,908       7,837       7,392
                                                 Louisiana ................................................................           9,363          9,363            9,107        6,370         3,792       3,792       3,639
                                                 Maryland ................................................................            1,206          1,206            1,206          842           842         842         842
                                                 Michigan .................................................................          10,727         10,275           10,275        6,743         5,691       5,691       4,656
                                                 Minnesota ...............................................................            5,504          4,058            4,058        4,058         2,905       2,905       2,578
                                                 Mississippi ..............................................................           6,210          5,058            5,037        3,484         2,084       1,752       1,752
                                                 Missouri ..................................................................         12,598         11,116           11,116        9,248         7,329       7,329       7,329
                                                 Nevada ...................................................................           2,368          2,589            2,545        1,142         1,113       1,113         880
                                                 New Jersey ............................................................                773            773              773          773           773         773         773
                                                 New York ...............................................................             3,912          3,912            3,912        3,650         3,388       3,388       3,388
                                                 Ohio ........................................................................        9,110          7,929            7,929        7,929         7,929       6,911       6,409
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                                                 Oklahoma ...............................................................            10,271          9,384            9,376        6,631         3,917       3,917       3,917
                                                 Pennsylvania ..........................................................              8,138          8,138            8,138        7,512         7,158       7,158       4,828
                                                 Texas .....................................................................         40,134         40,134           38,542       31,123        23,009      21,623      20,635
                                                 Utah ........................................................................       15,755         15,917           15,917        6,258         2,593       2,593       2,593
                                                 Virginia ...................................................................         3,143          2,756            2,756        2,565         2,373       2,373       1,951
                                                 West Virginia ..........................................................            13,791         11,958           11,958       10,818         9,678       9,678       9,678
                                                 Wisconsin ...............................................................            6,295          6,295            5,988        4,990         3,416       3,416       3,416




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                                                       TABLE VI.B.4.c–1—CSAPR NOX OZONE SEASON GROUP 3 PRESET STATE EMISSIONS BUDGETS FOR THE 2023
                                                                                THROUGH 2029 CONTROL PERIODS—Continued
                                                                                                                                                  [Tons] a b

                                                                                                                                    Final           Final          Final          Preset        Preset       Preset      Preset
                                                                                                                                 emissions       emissions      emissions       emissions     emissions    emissions   emissions
                                                                                 State                                            budgets         budgets        budgets         budgets       budgets      budgets     budgets
                                                                                                                                  for 2023        for 2024       for 2025        for 2026      for 2027     for 2028    for 2029

                                                      Total ................................................................        208,119           198,014         195,259      151,329       119,663     115,193     105,201
                                                    Table Notes:
                                                    a The state emissions budget calculations pertaining to Table VI.B.4.c–1 are described in greater detail in the Ozone Transport Policy Analysis
                                                 Final Rule TSD. Budget calculations and underlying data are also available in Appendix A of that TSD.
                                                    b In the event this final rule becomes effective after May 1, 2023, the emissions budgets and assurance levels for the 2023 control period will
                                                 be adjusted under the rule’s transitional provisions to ensure that the increased stringency of the new budgets would apply only after the rule’s
                                                 effective date. The 2023 budget amounts shown in Table VI.B.4.c–1 do not reflect these possible adjustments. The transitional provisions are
                                                 discussed in section VI.B.12 of this document.


                                                 5. Variability Limits and Assurance                                      requirement to surrender allowances at                     each state’s variability limit for a given
                                                 Levels                                                                   a ratio of one allowance per ton of                        control period so that, instead of always
                                                                                                                          emissions. In contrast, emissions above                    multiplying the state’s emissions budget
                                                    Like each of the other CSAPR trading                                  the state’s assurance level for a given                    for the control period by a value of 21
                                                 programs, the Group 3 trading program                                    control period are strongly discouraged                    percent, the percentage value used will
                                                 includes assurance provisions designed                                   as inconsistent with the state’s good                      be the higher of 21 percent or the
                                                 to limit the total emissions from the                                    neighbor obligations and are subject to                    percentage (if any) by which the total
                                                 sources in each state (and Indian                                        an overall 3-for-1 allowance surrender                     reported heat input of the state’s
                                                 country within the state’s borders) in                                   ratio. The establishment of assurance                      affected EGUs in the control period
                                                 each control period to an amount close                                   levels with associated extra allowance                     exceeds the total historical heat input of
                                                 to the state’s emissions budget for the                                  surrender requirements was intended to                     the state’s affected EGUs as reflected in
                                                 control period, consistent with the                                      respond to the D.C. Circuit’s holding in                   the state’s emissions budget for the
                                                 principle that each state’s sources must                                 North Carolina requiring the EPA to                        control period. For example, if the total
                                                 be held to the elimination of significant                                ensure within the context of an                            reported heat input of the state’s
                                                 contribution within that state, while                                    interstate trading program that sources                    covered sources for the 2025 control
                                                 allowing some flexibility beyond the                                     in each state are required to address                      period is 130 percent of the historical
                                                 emissions budget to accommodate year-                                    their good neighbor obligations within                     heat input used in computing the state’s
                                                 to-year operational variability beyond                                   the state and may not simply shift those                   2025 budget, then the state’s variability
                                                 sources’ reasonable ability to control.                                  obligations to other states by failing to                  limit for the 2025 control period will be
                                                 For each state, the assurance provisions                                 reduce their own emissions and instead                     30 percent of the state’s emissions
                                                 establish an assurance level for each                                    surrendering surplus allowances                            budget instead of 21 percent of the
                                                 control period, defined as the sum of the                                purchased from sources in other                            state’s emissions budget. The EPA
                                                 state’s emissions budget for the control                                 states.319                                                 expects that the minimum 21 percent
                                                 period plus a variability limit, which                                      In this rulemaking, the EPA did not                     will apply in almost all instances, and
                                                 under the Group 3 trading program                                        propose and is not making changes to                       that the alternative, higher percentage
                                                 regulations in effect before this                                        the basic structure of the Group 3                         value will apply only in control periods
                                                 rulemaking was 21 percent of the                                         trading program’s assurance provisions,                    where operational variability causes an
                                                 relevant state emissions budget. The                                     which will continue to set an assurance                    unusually large increase relative to the
                                                 purpose of the variability limit is to                                   level for each control period equal to the                 historical data used in setting the state’s
                                                 account for year-to-year variability in                                  state’s emissions budget for the control                   emissions budget, which would be a
                                                 EGU operations, which can occur for a                                    period plus a variability limit and will                   situation meriting a temporarily higher
                                                 variety of reasons including changes in                                  continue to apply a 3-for-1 surrender                      variability limit and assurance level.
                                                 weather patterns, changes in electricity                                 ratio to emissions exceeding the state’s                   The revised methodology for
                                                 demand, and disruptions in electricity                                   assurance level.320 Each assurance level                   determining the variability limits will
                                                 supply from other units or from the                                      also will continue to apply to the                         apply both with respect to control
                                                 transmission grid. Because of the need                                   collective emissions of all units within                   periods when a state’s emissions budget
                                                 to account for such variability in                                       the state and Indian country within the                    is a preset budget established in this
                                                 operations of each state’s EGUs, the fact                                state’s borders.321 However, the EPA is                    final rule and with respect to control
                                                 that emissions from the state’s EGUs                                     making a change to the methodology for                     periods when a state’s emissions budget
                                                 may exceed the state’s emissions budget                                  determining the variability limits.                        is a dynamically-determined budget
                                                 for a given control period is not treated                                Specifically, the EPA will determine                       computed using the procedures laid out
                                                 as inconsistent with satisfaction of the                                                                                            in the regulations, and it will apply
                                                                                                                               319 531 F.3d at 908.
                                                 state’s good neighbor obligations as long                                                                                           starting with the 2023 control period
                                                                                                                            320 As discussed in section VI.B.8, the EPA is also
                                                 as the total emissions from the EGUs
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                                                                                                                          establishing a new secondary emissions limitation
                                                                                                                                                                                     rather than starting with the 2025
                                                 remain below the state’s assurance level.                                for individual units that will apply in situations         control period as proposed.
                                                 Emissions from a state’s EGUs above the                                  where an exceedance of the relevant state’s                   The purpose of the revision to the
                                                 state’s emissions budget but below the                                   assurance level has occurred.                              variability limits is to better align the
                                                                                                                            321 See 40 CFR 97.1002 (definitions of ‘‘common
                                                 state’s assurance level are treated in the                                                                                          variability limits for successive control
                                                                                                                          designated representative,’’ ‘‘common designated
                                                 same manner as emissions below the                                       representative’s assurance level’’ and ‘‘common
                                                                                                                                                                                     periods with the heat input data used in
                                                 state’s emissions budget in that such                                    designated representative’s share’’), 97.1006(c)(2),       setting the state emissions budgets.
                                                 emissions are subject to the same                                        and 97.1025.                                               Under the final rule, each dynamically


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                                                 determined emissions budget will be                     apply the same principle in setting the                on that analysis, the variability limits
                                                 computed using the latest available                     variability limit in control periods                   for ozone season NOX in both CSAPR
                                                 reported heat input, which for each                     where the preset floor budgets are used                and the CSAPR Update were set at 21
                                                 budget set for a control period in 2026                 as in control periods where the                        percent of each state’s budget, and these
                                                 or a later year will be the average state-              dynamically determined budgets are                     variability limits for the NOX ozone
                                                 level heat input for the control periods                used, because the preset floor budgets                 season trading programs were then
                                                 two, three, and four years before the                   are computed using the same principles                 codified in 40 CFR 97.510 and 97.810,
                                                 control period whose budget is being                    as the dynamically determined budgets,                 along with the respective state
                                                 determined (for example, the dynamic                    with the major difference being that the               budgets.323 For the Revised CSAPR
                                                 state emissions budgets for the 2026                    available heat input data used in                      Update, the EPA performed an updated
                                                 control period will be computed in early                computing the preset budgets are                       variability analysis for the twelve states
                                                 2025 using the reported state-level heat                necessarily less current. Accordingly,                 being moved into the Group 3 trading
                                                 input for the 2022–2024 control                         because preset budgets established in                  program in that rulemaking, evaluating
                                                 periods). The revised variability limits                this manner are used starting with the                 historical state-level heat input
                                                 will be well coordinated with the                       2023 control period, the EPA believes it               variability over the period from 2000
                                                 budgets established using this dynamic                  is also reasonable to begin                            through 2019. The updated analysis
                                                 budgeting process, because the                          implementing the revised methodology                   again resulted in a variability estimate
                                                 percentage change in the actual heat                    for determining variability limits                     of 21 percent. The EPA also considered
                                                 input for the control period relative to                starting with the 2023 control period.                 shorter time periods for the updated
                                                 the earlier multi-year average heat input                  The reason the EPA is using the                     analysis and found that the resulting
                                                 used in computing the state’s emissions                 higher of a fixed 21 percent or the                    variability estimates were not especially
                                                 budget will be an appropriate measure                   percentage change in heat input                        sensitive to the particular time period
                                                 of the degree of operational variability                computed as just described is that the                 analyzed.324 A further updated analysis
                                                 actually experienced by the state‘s EGUs                EPA believes that, for operational                     for this rulemaking again results in a
                                                 in the control period relative to the                   planning purposes, it can be useful for                variability estimate of 21 percent for
                                                 assumed operating conditions reflected                  sources to know in advance of the                      most states, and although the historical
                                                 in the state’s budget. Setting a                        control period a minimum value for                     analysis indicates a higher percentage
                                                 variability limit in this manner is thus                what the variability limit could turn out              for the covered state with the smallest
                                                 entirely consistent with the overall                    to be. Because a state’s actual total heat             total heat input figures in this analysis—
                                                 purpose of including variability limits                 input for a control period is not known                New Jersey—the EPA does not consider
                                                 in the assurance provisions.                            until after the end of the control period,             it appropriate to raise the minimum
                                                    As discussed in sections VI.B.1.b.i                  this revision will have the consequence                variability limit percentage beyond 21
                                                 and VI.B.4, for the 2023–2025 control                   that the state’s final variability limit and           percent for all other covered states
                                                 periods the state emissions budget for a                assurance level for the control period                 based on the analytic results for one
                                                 given control period will be the preset                 also will not be known until after the                 state, where small absolute heat input
                                                 budget determined in this rule, and for                 control period. However, because the                   figures have resulted in a larger
                                                 the 2026–2029 control periods, the state                rule provides that the variability limit               variability percentage.325 (Moreover,
                                                 emissions budget for a given control                    will always be at least 21 percent, the                because of the provision allowing a
                                                 period will be the preset budget                        sources in a state will be able to rely for            state’s variability limit for a given
                                                 determined in this rule rather than the                 planning purposes on the knowledge                     control period to be higher than 21
                                                 dynamically determined budget                           that the assurance level will always be                percent if the state’s actual heat input
                                                 computed in the year before the control                 at least 121 percent of the state’s                    exceeds the heat input used to set the
                                                 period unless the dynamic budget is                     emissions budget for the control period.               state’s emissions budget by more than
                                                 higher than the preset budget. If the                   Advance knowledge of the minimum                       21 percent, there is no need to set a
                                                 state emissions budget is the preset                    possible amount of the assurance level                 minimum variability limit higher than
                                                 budget, the historical heat input data                  can be useful to sources, because one                  21 percent specifically for New Jersey.)
                                                 reflected in that budget will be the heat               way a fleet owner can be confident that                Based on the consistent conclusions of
                                                 input data for the 2021 control period,                 it will never incur the 3-for-1 allowance              these multiple analyses, the EPA is
                                                 adjusted to reflect projected changes in                surrender ratio owed for emissions                     continuing to use 21 percent as the
                                                 fleet composition over time that are                    exceeding its state’s assurance level is to
                                                 known at the time of this rulemaking,                   plan its operations so as to never allow                  323 Briefly, the 21 percent variability limit was

                                                 but not adjusted to reflect changes in                  the emissions from its fleet to exceed                 determined in the analysis by identifying, for all the
                                                                                                                                                                states in the region covered by the ozone season
                                                 fleet composition that are not known at                 the fleet’s aggregated share of the state’s            NOX trading program, and at a 95 percent
                                                 the time of the rulemaking or changes in                assurance level for the control period.                confidence level, the maximum expected deviation
                                                 the utilization of individual units.322 In              Knowing that the variability limit will                in any state’s total heat input for any single control
                                                 this case, the variability limit for the                always be at least 21 percent will                     period in the data sample from that state’s trend-
                                                                                                                                                                adjusted mean total heat input for all the control
                                                 control period would be the higher of 21                provide sources with minimum values                    periods in the data sample. For details on the
                                                 percent or the percentage change in the                 they could use for such planning                       original variability analysis for 26 states over the
                                                 actual heat input for the control period                purposes.                                              2000–2010 period, including a description of the
                                                 relative to the heat input for the 2021                    The EPA believes that 21 percent is a               methodology, see the Power Sector Variability Final
                                                 control period as adjusted to reflect the               reasonable value to use as the minimum                 Rule TSD from the CSAPR (EPA–HQ–OAR–2009–
                                                                                                                                                                0491–4454), available in the docket for this rule.
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                                                 projected changes in fleet composition.                 variability limit. To determine                           324 For the updated variability analysis for twelve
                                                 The EPA believes it is reasonable to                    appropriate variability limits for the                 states for the 2000–2019 period, see the Excel file
                                                                                                         trading programs established in CSAPR,                 ‘‘Historical Variability in Heat Input 2000 to
                                                    322 The total heat input amount used in              the EPA analyzed historical state-level                2019.xls’’, available in the docket for this rule.
                                                 computing each state’s preset emissions budget for                                                                325 See the Excel document, ‘‘OS Heat Input—
                                                                                                         heat input variability over the period
                                                 each control period from 2023 through 2029 is                                                                  Variability 2000 to 2021.xls’’ for updated data,
                                                 included in Appendix A of the Ozone Transport
                                                                                                         from 2000 through 2010 as a proxy for                  application of the CSAPR variability methodology,
                                                 Policy Analysis Final Rule TSD at column I of the       emissions variability, assuming constant               and results applied to heat input for 2000 through
                                                 ‘‘State 2023’’–‘‘State 2029’’ worksheets.               emissions rates. See 76 FR 48265. Based                2021 for all states and for the region collectively.



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                                                 minimum value in the revised approach                   acquisition of allowances issued to                    with reasonable accuracy shortly after
                                                 for establishing variability limits for all             sources in other states or the use of                  the end of each control period what
                                                 control periods under this rule.                        banked allowances. Thus, to the extent                 degree of recalibration to expect for the
                                                    The provisions of the final rule                     that the change in the variability limit               next control period, even if the
                                                 relating to assurance levels and                        provisions facilitates shifting of                     recalibration would not actually be
                                                 variability limits are unchanged from                   generation from some states to other                   carried out until the following August.
                                                 proposal, with the exception that the                   states, increased heat input in the first              The EPA will make an estimate of the
                                                 provision establishing a higher                         set of states would generally be offset by             applicable calibration ratio for each
                                                 variability limit for a state in a given                decreased heat input in the second set                 control period publicly available no
                                                 control period where the state’s actual                 of states, such that any increases in                  later than March 1 of the year of the
                                                 heat input exceeds the heat input used                  future dynamic budgets for the first set               control period for which the bank will
                                                 in computing the state emissions budget                 of states would be offset by decreases in              be recalibrated.
                                                 for that control period by more than 21                 future dynamic budgets for the second                     Before undertaking a recalibration
                                                 percent will be implemented starting                    set of states. In addition, the final rule’s           process each control period, the EPA
                                                 with the 2023 control period instead of                 use of multiple years of historical heat               will first determine whether the total
                                                 the 2025 control period.                                input data to compute the dynamically-                 amount of all banked Group 3
                                                    Comment: Some commenters                             determined state budgets will moderate                 allowances from previous control
                                                 supported the EPA’s proposal to raise a                 the effect of any single year’s heat input             periods held in all facility accounts and
                                                 state’s variability limit above 21 percent              on the dynamically-determined budgets                  general accounts in the Allowance
                                                 for a given control period if the state’s               for future control periods.                            Management System exceeds the target
                                                 actual heat input for the control period                                                                       bank amount. (For this purpose, no
                                                 was more than 121 percent of the                        6. Annual Recalibration of Allowance                   distinction will be made between
                                                 historical heat input used to set the                   Bank                                                   banked Group 3 allowances issued from
                                                 state’s budget for that control period.                    As discussed in section VI.B.1.b of                 the state emissions budgets for previous
                                                 These commenters agreed with the EPA                    this document, the EPA is making two                   control periods and banked Group 3
                                                 that making this adjustment is                          revisions to the Group 3 trading                       allowances issued through the
                                                 consistent with the assurance                           program designed to better maintain the                conversion of previously banked Group
                                                 provisions’ purpose of strongly                         Step 3 emissions control stringency over               2 allowances.) If the total amount of
                                                 incentivizing each state to achieve its                 time. The first proposed revision,                     banked Group 3 allowances does not
                                                 required emissions reductions within                    discussed in section VI.B.4 of this                    exceed the target bank amount, the EPA
                                                 the state while also accounting for year-               document, is to adopt a dynamic                        will not carry out any recalibration for
                                                 to-year variability in electric system                  budget-setting methodology that will                   that control period. If the total amount
                                                 operations.                                             allow state emissions budgets in future                of unused allowances does exceed the
                                                    One commenter stated that the EPA                    years to reflect more accurate                         target bank amount, the EPA will
                                                 should not finalize the proposed                        information about the composition and                  determine for each account with
                                                 revision to the variability limit                       utilization of the EGU fleet. The second,              holdings of banked Group 3 allowances
                                                 provisions, claiming that by allowing                   complementary, revision is to                          the account-specific recalibrated
                                                 sources in some states to increase                      recalibrate the bank of unused                         amount of allowances, computed as the
                                                 utilization and heat input so as to                     allowances each control period to                      account’s total holdings of banked
                                                 exceed the state’s budget by more than                  prevent allowance surpluses from                       Group 3 allowances immediately before
                                                 21 percent in a given year, the                         accumulating and adversely impacting                   the recalibration multiplied by the target
                                                 adjustment would then cause the state’s                 the ability of the trading program in                  bank amount and divided by the total
                                                 subsequent dynamically determined                       future control periods to maintain the                 amount of banked Group 3 allowances
                                                 budgets to be higher, allowing greater                  Step 3 emissions control stringency.                   in all accounts, rounded up to the
                                                 emissions over time.                                       As proposed and now finalized in this               nearest allowance. Finally, the EPA will
                                                    Response: The EPA disagrees with the                 rule, the bank recalibration process will              deduct from each account any banked
                                                 comment advocating against finalization                 start with the 2024 control period, after              Group 3 allowances exceeding the
                                                 of the proposed change to the variability               the compliance process for the 2023                    account’s recalibrated amount of banked
                                                 limit provisions. The Agency continues                  control period for all current and newly               allowances.
                                                 to view the proposed change as useful                   added states in the Group 3 trading                       As the target bank amount used in the
                                                 for accommodating instances where,                      program has been completed. The                        recalibration process for each control
                                                 because of electrical system operating                  recalibration process for each control                 period, the EPA will use an amount
                                                 needs, a state’s actual total heat input in             period will be carried out on or shortly               determined as a percentage of the sum
                                                 a control period exceeds the historical                 after August 1 of that control period,                 of the state emissions budgets for the
                                                 heat input used to set the state                        two months after the compliance                        control period. For the control periods
                                                 emissions budget for the control period,                deadline for the previous control period,              from 2024 through 2029, the target
                                                 potentially causing increased emissions                 making the date of the first recalibration             percentage will be 21 percent, which is
                                                 even when all EGUs in a state are                       August 1, 2024. The recalibrations take                the sum of the states’ minimum
                                                 achieving emissions rates consistent                    place on August 1 each year because                    variability limits.326 For control periods
                                                 with the Step 3 emissions control                       compliance for the previous control                    in 2030 and later years, the target
                                                 stringency. Moreover, the EPA does not                  period would not be completed until                    percentage will be 10.5 percent, or half
                                                 believe that the provision would lead to                after June 1. However, because data on
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                                                                                                                                                                of the sum of the states’ minimum
                                                 higher overall program-wide budgets.                    the amounts of allowances held are
                                                 No extra allowances would be created                    publicly available and the total quantity                326 As discussed in section VI.B.5, an individual

                                                 by the increase in a state’s variability                of allowances needed for compliance for                state’s variability limit can be higher than 21
                                                 limit, so with or without the adjustment,               the previous control period will be                    percent in a given control period if the state’s actual
                                                                                                                                                                heat input for that control period is more than 121
                                                 any allowances to cover the emissions                   known shortly after the end of that                    percent of the historical heat input used in
                                                 in excess of the state’s budget would                   control period, sources and other market               computing the state emissions budget for the
                                                 still need to be obtained through                       participants will be able to ascertain                 control period.



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                                                 variability limits. In the proposal, the                enhancement to the trading program                     of the reasons for bank recalibration, see
                                                 EPA cited two reasons for proposing the                 that will help maintain the control                    section VI.B.1.b.ii of this document.
                                                 10.5 percentage amount. First, in the                   stringency determined to be necessary                     The bank recalibration mechanism
                                                 transition from CSAPR to the CSAPR                      to address states’ good neighbor                       finalized in this rule is unchanged from
                                                 Update, where the EPA set a target bank                 obligations for the 2015 ozone NAAQS                   the proposal except for the final rule’s
                                                 amount 1.5 times the sum of the                         over time. Moreover, the recalibrations                adoption of a target percentage of 21
                                                 variability limits, and in the transition               are less complex than alternative                      percent rather than 10.5 percent for the
                                                 from the CSAPR Update to the Revised                    approaches would be. For example, the                  control periods from 2024 through 2029.
                                                 CSAPR Update, where the EPA set a                       NOX Budget Trading Program                             The EPA’s responses to comments on
                                                 target bank amount of 1.0 times the sum                 established in the NOX SIP Call also                   the bank recalibration mechanism are
                                                 of the variability limits, in each case the             contained provisions designed to                       discussed in the remainder or this
                                                 initial bank proved larger than                         prevent excessive accumulations of                     section and in section 5 of the RTC
                                                 necessary, as total emissions of all                    banked allowances on program                           document. Further discussion of the
                                                 sources in the program were less than                   stringency, but those provisions—under                 reasons for adopting a higher target
                                                 the budgets. Second, an analysis of year-               the name ‘‘progressive flow control’’—                 percentage for the 2024–2029 control
                                                 to-year variability of heat input for the               introduced uncertainty as to whether                   periods is included in section VI.B.1.d
                                                 region covered by this rule suggests that               banked allowances would be usable to                   of this document.
                                                 the regional heat input for an individual                                                                         Comment: Some commenters
                                                                                                         offset one ton of emissions or less than
                                                 year can be expected to vary by up to                                                                          acknowledged the EPA’s authority to
                                                                                                         one ton of emissions in the current
                                                 10.5 percent above or below the central                                                                        manage the quantities of allowances
                                                                                                         control period. As a consequence of this
                                                 trend with 95 percent confidence. This                                                                         carried over from one control period to
                                                                                                         uncertainty, in some control periods,
                                                 variability analysis is an application to                                                                      the next as banked allowances,
                                                                                                         allowances banked from earlier control
                                                 the entire region of the variability                                                                           including some commenters who as a
                                                                                                         periods traded at lower prices than                    policy matter did not support such an
                                                 analysis EPA has performed for                          allowances issued for the current
                                                 individual states to establish the                                                                             approach. Other commenters claimed
                                                                                                         control period.328 The EPA considers                   that any removal from the program of
                                                 minimum variability limit of 21 percent                 the recalibration mechanism established
                                                 for the states in the trading program.327                                                                      allowances banked in earlier control
                                                                                                         in this rule to be simpler with less                   periods would constitute an unlawful
                                                 When the analysis is performed at the                   associated uncertainty. Following each
                                                 regional level, the data show less year-                                                                       taking of property or would constitute
                                                                                                         bank recalibration, all allowances usable              unlawful overcontrol.
                                                 to-year variation than when the analysis                for compliance in the control period                      Response: The EPA disagrees with
                                                 is performed at the individual state                    will have known, equal compliance                      comments contending that the proposed
                                                 level. Within the trading program                       values for the remainder of the control                bank recalibration provisions would be
                                                 structure, it is reasonable to use                      period and until the deadline for                      unlawful, either as asserted takings of
                                                 variability analyzed at the level of                    surrendering allowances after the                      property or as over-control for purposes
                                                 individual states to set the variability                control period.                                        of the Good Neighbor provision. With
                                                 limits, which apply at the level of                                                                            respect to the claim that removing
                                                                                                            Finally, the EPA observes that the
                                                 individual states, while using variability                                                                     allowances would constitute takings of
                                                                                                         recalibration mechanism is entirely
                                                 analyzed at the level of the overall                                                                           property, the commenters misconstrue
                                                                                                         consistent with the Agency’s existing
                                                 region to set a target level for a bank,                                                                       the nature of an allowance. The
                                                                                                         authority under 40 CFR 97.1006(c)(6) to
                                                 which will apply at the level of the                                                                           allowances used in the Group 3 trading
                                                                                                         ‘‘terminate or limit the use and
                                                 overall program.                                                                                               program are created under the program’s
                                                    In the final rule, in response to                    duration’’ of any Group 3 allowance ‘‘to
                                                                                                         the extent the Administrator determines                regulations, which expressly provide
                                                 comments, the EPA has determined to                                                                            that the allowances are not property
                                                 maintain the 10.5 target percentage for                 is necessary or appropriate to
                                                                                                         implement any provision of the Clean                   rights but are limited authorizations to
                                                 the reasons discussed in previous                                                                              emit NOX in accordance with the
                                                 paragraphs, but to defer application of                 Air Act.’’ The Administrator is
                                                                                                         determining that the recalibrations are                provisions of the Group 3 trading
                                                 this target percentage until the 2030                                                                          program.329 These provisions of the
                                                 control period. For the control periods                 both necessary and appropriate to
                                                                                                         ensure that the control stringency                     Group 3 trading program regulations
                                                 from 2024 through 2029, the EPA will                                                                           have been in existence since the Revised
                                                 instead use a target percentage of 21                   selected in this rulemaking is
                                                                                                         maintained and states’ good neighbor                   CSAPR Update and were not reopened
                                                 percent. The reason for using a higher                                                                         in this action. This approach of creating
                                                 target percentage for the 2024–2029                     obligations with respect to the 2015
                                                                                                         ozone NAAQS are addressed. The                         limited authorizations to engage in
                                                 control periods is to provide additional                                                                       particular forms of conduct within a
                                                 support for allowance market liquidity                  recalibration process will complement
                                                                                                         the revised budget-setting process by                  regulatory program extends back to the
                                                 during these years, which both the EPA                                                                         Acid Rain Program, where the approach
                                                 and commenters view as an important                     preventing any surplus of allowances
                                                                                                         created in one control period from                     was mandated by Congress, and has
                                                 period of generating fleet transition for                                                                      been followed by EPA in each
                                                 the power industry.                                     diminishing the intended stringency
                                                                                                         and resulting emissions reductions of                  subsequent allowance trading program
                                                    The annual bank recalibrations, at                                                                          for the electric power sector.330
                                                 either ratio, are an important                          the emissions budgets for subsequent
                                                                                                         control periods. For further discussion                Moreover, as noted earlier in this
                                                                                                                                                                section, the Group 3 trading program
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                                                   327 See the Power Sector Variability Final Rule

                                                 TSD from CSAPR, available at https://www.epa.gov/          328 For more discussion of the progressive flow
                                                                                                                                                                regulations provide the EPA
                                                 csapr/power-sector-variability-final-rule-tsd for a     control mechanism, as well as allowance price data
                                                                                                                                                                  329 40 CFR 97.1006(c)(6)–(7).
                                                 description of the methodology. Also see the Excel      showing a discounted value for banked allowances,
                                                 document ‘‘OS Heat Input—Variability 2000 to            see ‘‘NOX Budget Trading Program: 2005 Program           330 See, e.g., 42 U.S.C. 7651b(f) and 40 CFR

                                                 2021.xls’’ for updated data, application of the         Compliance and Environmental Results’’                 72.9(c)(6)–(7) (Acid Rain Program example); 40 CFR
                                                 CSAPR variability methodology, and results applied      (September 2006) at 28–30, https://www.epa.gov/        97.6(c)(6)–(7) (Federal NOX Budget Trading
                                                 to heat input for 2000 through 2021 for all states      sites/default/files/2015-08/documents/2005-nbp-        Program example); 40 CFR 97.106(c)(5)–(6) (CAIR
                                                 and for the region collectively.                        compliance-report.pdf.                                 NOX Annual Trading Program example).



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                                                 Administrator with the authority to                     notes that the NAAQS apply                             stringency regardless of the quantities of
                                                 terminate or limit the use and duration                 continuously, and the possibility that                 banked allowances are similarly
                                                 of such authorization to the extent the                 the sources in a state may have done                   mistaken, because rather than reducing
                                                 Administrator determines is necessary                   more than the minimum necessary to                     overall emissions of all sources in the
                                                 or appropriate to implement any                         meet the state’s Good Neighbor                         trading program, the backstop rate
                                                 provision of the Clean Air Act, and the                 obligations in one control period does                 provisions are designed to ensure that
                                                 Administrator is making such a                          not create a right for the state to do less            the largest individual sources of
                                                 determination in this rule.                             than is necessary to meet the state’s                  potential emissions operate their
                                                    The EPA also disagrees that bank                     Good Neighbor obligations in                           controls consistently. If the quantities of
                                                 recalibration would constitute                          subsequent control periods.                            banked allowances are allowed to grow
                                                 overcontrol. The emissions that are                        Comment: Some commenters                            to the point where sources collectively
                                                 permissible in a given control period                   expressed concern that excessive                       can plan to emit above the collective
                                                 consistent with the Step 3 control                      quantities of banked allowances, like                  state emissions budgets, the backstop
                                                 stringency are quantified in the state                  excessive quantities of budgeted                       rate provisions would do nothing to
                                                 emissions budgets for the control                       allowances, can lead to lower allowance                constrain emissions from the sources
                                                 period. Banked allowances from                          prices. The commenters observed that                   not subject to the backstop rate.
                                                 previous control periods are necessarily                with lower allowance prices, some units                   With respect to the suggestion that
                                                 surplus to the state emissions budgets                  would likely operate their controls less               state emissions budgets reflecting
                                                                                                         effectively, resulting in a greater                    sufficient control stringency can avoid
                                                 for the current control period. As noted
                                                                                                         likelihood that the emissions stringency               the need for bank recalibration, the EPA
                                                 in section VI.B.1, in an allowance
                                                                                                         found necessary in this rule would not                 observes that the budget-setting and
                                                 trading program, banking provisions can
                                                                                                         be sustained. Other commenters                         bank recalibration provisions in this
                                                 serve several useful purposes, including
                                                                                                         expressed the view that other provisions               rule are complements, not substitutes. If
                                                 continuously incentivizing sources to
                                                                                                         of the rule, including more stringent                  in a given year sources collectively emit
                                                 reduce their emissions even when they
                                                                                                         state emissions budgets, the backstop                  against the collective state emissions
                                                 already hold sufficient allowances to
                                                                                                         daily NOX emissions rate provisions,                   budgets such that the ending allowance
                                                 cover their expected emissions for a
                                                                                                         and the assurance provisions would be                  bank—that is, the allowances remaining
                                                 control period, facilitating compliance
                                                                                                         sufficient to incentivize EGUs to operate              after deduction of the allowances
                                                 cost minimization, accommodating
                                                                                                         their controls effectively, making                     required for compliance—is less than
                                                 necessary operational flexibility, and                  allowance bank recalibration                           the bank target amount, then the bank
                                                 promoting allowance market liquidity.                   superfluous for this purpose.                          will not be recalibrated for the following
                                                 However, these useful purposes do not                      Response: The EPA agrees with the                   control period. However, in the event
                                                 include allowing sources to plan to emit                comments explaining that without bank                  that sources collectively emit against the
                                                 in excess of the Step 3 control                         recalibration, the quantities of banked                collective state emissions budgets such
                                                 stringency as represented by the state                  allowances can grow, leading to lower                  that the ending allowance bank is above
                                                 emissions budgets for the control                       allowance prices, diminished incentives                the bank target amount, then the
                                                 period. Accordingly, in the overcontrol                 for sources to optimize control                        recalibration provisions will ensure that
                                                 analysis discussed in section V.D.4, the                operation, and greater risk of failure to              the recalibrated allowance bank does
                                                 EPA analyzed whether the emissions                      sustain the Step 3 control stringency,                 not introduce an excessive overall
                                                 reductions necessary to meet the state                  and disagrees with the comments                        quantity of allowances into the trading
                                                 emissions budgets without relying for                   arguing that other rule provisions would               program for the following control period
                                                 compliance purposes on any allowances                   make bank recalibration unnecessary.                   when combined with the state
                                                 banked in earlier control periods would                 The suggestion that the assurance                      emissions budgets calculated for that
                                                 result in overcontrol and determined                    provisions can maintain program                        control period. Without the
                                                 there would be no overcontrol. (That is,                stringency regardless of allowance                     recalibration provisions, the trading
                                                 the modeling of the effects of the Group                quantities ignores the fact that the                   program would lack any mechanism for
                                                 3 emissions budgets in 2026 did not                     emission levels consistent with the                    removing excess allowances that are
                                                 include an assumption that there would                  Group 3 control stringency in a given                  inconsistent with maintaining the Step
                                                 be any banked allowances.) Thus, even                   control period are the state emissions                 3 emissions control stringency which
                                                 if the Agency had finalized regulatory                  budgets, not the higher assurance levels.              the Step 4 trading program is designed
                                                 provisions removing all banked                          If the quantities of banked allowances in              to implement.
                                                 allowances from the trading program                     the program grow to the point where                       Comment: Some commenters claimed
                                                 between control periods—in contrast to                  sources collectively can plan to emit                  that the recalibration process itself
                                                 the actual bank recalibration provisions,               above the collective state emissions                   would have undesirable consequences.
                                                 which permit substantial quantities of                  budgets, then the trading program                      First, some said that because bank
                                                 banked allowances to remain in the                      would be unable to ensure that the                     recalibration would be executed
                                                 trading program—the information                         Group 3 control stringency is being                    partway through the control period, it
                                                 available to the Agency suggests such                   achieved, even if emissions do not rise                would introduce uncertainty concerning
                                                 provisions would not constitute over-                   further than the assurance levels.                     the quantities of allowances each source
                                                 control. With respect to some                           Further, there are now examples from                   would have available, impeding efforts
                                                 commenters’ assertions that bank                        the Group 2 trading program of sources                 to plan. Second, some commenters
                                                 recalibration would over-control by
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                                                                                                         emitting in excess of the state-wide                   claimed that the prospect of bank
                                                 ‘‘writing off’’ emission reductions that                assurance levels, because a glut of                    recalibration would create
                                                 may have gone beyond the reductions                     banked allowances which was not                        counterproductive incentives for
                                                 necessary to address the Good Neighbor                  prevented by the regulations for that                  allowance holders. According to the
                                                 provision or would make it more                         trading program rendered even the                      commenters, allowances holders would
                                                 difficult to create surplus allowances in               three-to-one surrender ratio ineffective.              be incentivized to ‘‘use or lose’’ their
                                                 one control period to offset excess                     Suggestions that the backstop emissions                allowances (to reduce the number of
                                                 emissions in later control periods, EPA                 rate provisions can maintain program                   allowances that would be removed from


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                                                 their accounts in the recalibration                     recalibration mechanism in this                        adjustment for such a reason at this
                                                 process), thereby causing increased                     program will continue to incentivize                   time.
                                                 emissions, or alternatively would be                    early emissions reductions.                              With respect to the comments
                                                 incentivized to refuse to sell allowances                  Comment: Turning to the level of the                advocating for an even higher bank
                                                 (to allow the holders to have more                      bank recalibration target, some                        target percentage to facilitate trading
                                                 allowances after the next recalibration),               commenters objected to the target bank                 and promote market liquidity, the
                                                 thereby reducing allowance market                       percentage of 10.5 percent, saying that                Agency observes that any such
                                                 liquidity.                                              a larger bank would be needed to ensure                advantage of larger allowance banks
                                                    Response: The EPA disagrees with                     that sufficient allowances would be                    must be balanced with the
                                                 these comments. As discussed                            available to enable sources to run as                  disadvantages of excess allowance
                                                 previously in this section, the                         needed to provide reliable electricity                 supply—specifically, reduced allowance
                                                 recalibration process has been                          service, particularly with the large year-             prices, diminished incentives for
                                                 scheduled for August 1 of each control                  to-year swings in budgets that the                     sources to optimize control operation,
                                                 period because compliance for the                       commenters anticipated could occur                     and greater risk of failure to sustain the
                                                 previous control period (and the                        with dynamic budgets computed using                    Step 3 control stringency. In the final
                                                 associated allowance trading activities)                a single rolling historical year and with              rule, the EPA finds that a reasonable
                                                 would not be completed until after June                 anticipated growth in renewable                        balance between these opposing
                                                 1. However, the information needed to                   generation. Some commenters                            considerations is struck by temporarily
                                                 project the degree of recalibration will                recommended a target bank percentage                   adopting a higher bank target percentage
                                                 be available by early November of the                   of 21 percent. Some commenters stated                  of 21 percent (consistent with the initial
                                                 previous year, and the EPA will make                    that even if the overall quantity of                   bank targets used in this rule and
                                                 an estimate publicly available no later                 allowances available for use was greater               previous rules) and deferring
                                                 than March 1, two months before the                     than the total amount of emissions, a                  implementation of the 10.5 percent
                                                 start of the control period. Further, at                larger bank of allowances would                        target bank percentage identified by the
                                                 least 80 percent of the allowances for                  facilitate trading and promote greater                 Agency’s analysis as a sustainable
                                                 use in a given control period will be the               allowance market liquidity, citing                     percentage in the longer term until the
                                                 allowances allocated from the state                     reports of high allowance prices in                    2030 control period.
                                                 emissions budgets (with the recalibrated                2022.                                                  7. Unit-Specific Backstop Daily
                                                 banked allowances from the prior
                                                                                                            Response: As discussed in sections                  Emissions Rates
                                                 control period comprising the
                                                 remainder), and the emissions budgets                   VI.B.1.d and VI.B.4 and earlier in this                   While the identified EGU emissions
                                                 and unit-level allocations amounts will                 section, the EPA does not agree with                   reductions in section V of this
                                                 be known approximately a year before                    comments suggesting that annual bank                   document (i.e., the Step 3 emissions
                                                 the start of the control period.                        recalibration in itself poses a risk to                control stringency) are incentivized and
                                                    The comments claiming that the                       electric grid reliability. Nevertheless,               secured primarily through the
                                                 introduction of a bank recalibration                    the Agency has made several changes                    corresponding seasonal state emissions
                                                 process would create incentives to ‘‘use                from proposal in the final rule designed               budgets (expressed as a seasonal
                                                 or lose’’ allowances or to hoard                        to address concerns expressed about                    tonnage limit for all covered EGUs
                                                 allowances are not persuasive. By                       reliability by increasing compliance                   within a state’s borders) described
                                                 reducing the supply of allowances                       flexibility through the 2029 control                   earlier, the EPA is also incorporating a
                                                 carried over from previous control                      period. These changes through the 2029                 backstop daily emissions rate of 0.14 lb/
                                                 periods, bank recalibration would tend                  control period include the use of a target             mmBtu applied to coal-fired steam units
                                                 to raise the price of allowances in the                 bank percentage of 21 percent and the                  serving generators with nameplate
                                                 current control period, making it more                  promulgation of preset budgets that will               capacity greater than or equal to 100
                                                 cost-effective and therefore in sources’                serve as the state emissions budgets                   MW in covered states, except circulating
                                                 interest to further reduce their                        unless the dynamic budgets for the                     fluidized bed units. This is important
                                                 emissions than to increase their                        control periods are higher. In addition,               for ensuring the elimination of
                                                 emissions. Higher allowance prices                      to reduce year-to-year variability under               significant contribution on a more
                                                 would also increase the cost of hoarding                the budget-setting methodology,                        consistent basis from the relevant
                                                 allowances just as higher fuel prices                   dynamic budgets will be calculated                     sources and over each day of the ozone
                                                 raise the cost of maintaining large fuel                using multiple years of historical heat                season.
                                                 inventories. Moreover, the EPA expects                  input data instead of heat input data                     Starting with the 2024 control period,
                                                 that the prospect of having banked                      from a single year. The EPA views these                a 3-for-1 allowance surrender ratio
                                                 allowances recalibrated after the end of                changes as responsive to the principal                 (instead of the usual 1-for-1 surrender
                                                 the control period is much more likely                  reasons that commenters gave for their                 ratio) will apply to emissions during the
                                                 to discourage hoarding than to                          claims that the target bank percentage                 ozone season from any large coal-fired
                                                 encourage it. Given the choice between                  should be higher than 10.5 percent.                    EGU with existing SCR controls
                                                 holding an allowance which may be                       Regarding the claim that a higher target               exceeding by more than 50 tons a daily
                                                 removed as part of an upcoming                          bank percentage is needed because                      average NOX emissions rate of 0.14 lb/
                                                 recalibration process or instead selling                increased renewable generation makes                   mmBtu. The daily average emissions
                                                 the allowance for cash, the sale option                 the demand for fossil generation more                  rate provisions will apply to large coal-
                                                                                                         variable, commenters did not provide
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                                                 will become more attractive. By creating                                                                       fired EGUs without existing SCR
                                                 a ‘‘sell or lose’’ incentive for holders of             evidence demonstrating that the overall                controls (except circulating fluidized
                                                 surplus allowances, the recalibration                   quantities of fossil generation                        bed units) starting with the second
                                                 process should increase allowance                       throughout the multi-state region                      control period in which newly installed
                                                 market liquidity. At the same time, by                  covered by this rule—as opposed to the                 SCR controls are operational at the unit,
                                                 ensuring a banked allowance will                        operating patterns of some individual                  but not later than the 2030 control
                                                 always have some value for use in a                     units—are becoming more variable, and                  period. See Appendix A of the Ozone
                                                 future control period, the bank                         the Agency declines to make an                         Transport Policy Analysis Final Rule


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                                                 TSD for a list of coal-fired steam units                EPA first conducted an empirical                          the most important example being the
                                                 serving generators larger than or equal                 exercise using reported daily emissions                   emissions during unit startup before
                                                 to 100 MW in covered states for which                   rate data from existing, SCR-controlled                   SCR equipment can be brought into
                                                 the identified backstop emissions rate                  coal units that were emitting at or below                 service, and to a lesser extent the
                                                 will apply.                                             0.08 lb/mmBtu on a seasonal average                       emissions during unit shutdown. The
                                                    For each unit subject to the backstop                basis. This seasonal rate reflects the                    analysis used by the EPA to derive the
                                                 daily emissions rate provisions for a                   average across a unit’s range of varying                  50-ton threshold is described in detail
                                                 given control period, the amount of                     daily rates reflecting different operation                in the Ozone Transport Policy Analysis
                                                 emissions subject to the 3-for-1                        conditions. When the EPA examined the                     Final Rule TSD. Briefly, for a set of 164
                                                 surrender ratio will be determined as                   daily emissions rate pattern for these                    SCR-equipped units with seasonal
                                                 follows, generally on an automated basis                units considered to be optimizing their                   average NOX emissions rates at or below
                                                 using the unit’s data acquisition and                   SCRs on a seasonal basis, the EPA                         0.08 lb/mmBtu in 2021, the EPA
                                                 handling system (DAHS) required under                   observed that over 95 percent of the                      evaluated the total amounts of
                                                 40 CFR part 75. For each day of the                     time, their daily rates were below 0.14                   emissions that would have been
                                                 control period where the unit’s average                 lb/mmBtu. In addition, for these units,                   determined to exceed a daily average
                                                 emissions rate for that day was higher                  less than 1 percent of their seasonal                     emissions rate of 0.14 lb/mmBtu in the
                                                 than 0.14 lb/mmBtu, the owner or                        emissions would exceed this daily rate                    2021 and 2022 ozone seasons. In the
                                                 operator will compute what the unit’s                   limit.                                                    2021 ozone season, only 572 tons out of
                                                 reported emissions on that day would                       The EPA conducted this analysis to be                  these units’ total emissions of 60,350
                                                 have been (given the unit’s reported                    consistent with the methodology                           tons, or 0.9 percent, would have been
                                                 heat input for the day) at an emissions                 developed in the 2014 1-hr SO2                            considered exceedances, with an
                                                 rate of 0.14 lb/mmBtu. The difference                   attainment area guidance for identifying                  average exceedance per unit of less than
                                                 between the unit’s emissions for the day                ‘‘comparably stringent’’ emissions rates                  4 tons. The highest amount for any of
                                                 as actually reported and the emissions                  over varying time-periods.333 Appendix                    the 164 individual units in either ozone
                                                 that would have been reported if the                    C of that guidance describes a series of                  season was 48 tons. Based on this
                                                 unit’s emissions rate was 0.14 lb/mmBtu                 steps that involve: (1) compiling                         analysis, the EPA concludes that adding
                                                 is the unit’s daily exceedance. The                     emissions data to reflect a distribution                  a 50-ton threshold to the backstop daily
                                                 amount of emissions subject to the 3-for-               of emissions rates with various                           emissions rate provisions will ensure
                                                 1 surrender ratio for the control period                averaging times, (2) determining the                      that substantially all emissions outside
                                                 is the sum of the unit’s daily                          99th percentile of the average emissions                  the control of an SCR-equipped unit’s
                                                 exceedances for all days of the control                 values compiled in the previous step,                     operator will not be subject to the 3-for-
                                                 period minus 50 tons (but not less than                 and then (3) applying ‘‘adjustment                        1 surrender ratio. Because there is no
                                                 zero).331 All calculations will rely on                 factors’’ or ratios of the 99th percentile                reason to expect the range of emissions
                                                 the data monitored and reported for the                 values to emissions rates to convert                      during conditions when SCR controls
                                                 unit in accordance with 40 CFR part 75.                 them (usually from a short-term rate to                   cannot be operated to differ between
                                                    The EGU NOX Mitigation Strategies                    a longer-term rate). In this case, the EPA                SCR-equipped units and units without
                                                 Final Rule TSD describes the                            applied the methodology in reverse to                     SCR, inclusion of the 50-ton threshold
                                                 methodology for deriving the 0.14 lb/                   convert a longer-term limit (the seasonal                 effectively prevents application of the 3-
                                                 mmBtu daily rate limit in more detail.                  rate of 0.08 lb/mmBtu which was                           for-1 ratio to emissions during startup
                                                 The methodology is summarized as                        assumed to be equivalent to a 30-day                      and shutdown by units without SCR as
                                                 follows. First, consistent with                         rate of 0.08 lb/mmBtu for purposes of                     well.
                                                 stakeholders’ focus on providing daily                  this comparison of rates across                              At the same time, the EPA believes
                                                 assurance of control operation, which is                averaging times) to a comparably                          the 50-ton threshold is not large enough
                                                 consistent with the 8-hour form of the                  stringent short-term limit (a daily rate of               to eliminate the intended incentive to
                                                 2015 ozone NAAQS and the tendency                       0.14 lb/mmBtu).                                           achieve emissions rates consistent with
                                                 for ozone levels to spike on a diurnal                     The inclusion of a 50-ton threshold                    good SCR performance under conditions
                                                 cycle, the EPA determined that daily (as                for emissions exceeding the backstop                      other than startup and shutdown. For a
                                                 opposed to hourly or monthly) was an                    daily emissions rate before the 3-for-1                   set of 124 SCR-equipped units with
                                                 appropriate time metric for backstop                    surrender applies is a change from the                    seasonal average NOX emissions rates
                                                 emissions rate limits instituted to                     proposal. As discussed in section                         above 0.08 lb/mmBtu, the total amount
                                                 ensure operation of controls on high                    VI.B.1.d of this document, the EPA                        of emissions exceeding a daily average
                                                 ozone days. The EPA derived the 0.14                    made this change in response to                           emissions rate of 0.14 lb/mmBtu in the
                                                 lb/mmBtu daily rate limit by                            comments concerning the possibility                       2021 ozone season was 18,629 tons. Of
                                                 determining the particular level of a                   that the 3-for-1 surrender ratio could                    this total amount, 15,374 tons would
                                                 daily rate that would be comparable in                  otherwise have applied to emissions                       have been in excess of the 50-ton
                                                 stringency to the 0.08 lb/mmBtu                         outside an EGU operator’s control, with                   thresholds for the various units,
                                                 seasonal emissions rate that the Agency                                                                           indicating that even after application of
                                                 has identified as reflecting SCR                        www.epa.gov/sites/default/files/2016-06/                  the threshold, the 3-for-1 surrender ratio
                                                 optimization at existing units.332 The                  documents/20140423guidance_nonattainment_                 would have applied to over 80 percent
                                                                                                         sip.pdf. ‘‘A limit based on the 30-day average of         of the daily exceedance amounts.
                                                    331 In the regulatory text at 40 CFR 97.1024         emissions, for example, at a particular level is likely      The backstop daily NOX emissions
                                                 defining the total quantity of allowances that must     to be a less stringent limit than a 1-hour limit at
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                                                                                                         the same level 1 since the control level needed to
                                                                                                                                                                   rate provisions finalized in this rule are
                                                 be surrendered for a source’s emissions in a control
                                                 period, these amounts of emissions for all the units    meet a 1-hour limit every hour is likely to be greater    unchanged from the proposal except for
                                                 at the source are subject to a requirement to           than the control level needed to achieve the same         the inclusion of a 50-ton threshold for
                                                 surrender two extra allowances per ton in addition      limit on a 30-day average basis.’’                        emissions exceeding the backstop
                                                 to the usual 1-for-1 allowance surrender                  333 See Guidance for 1-Hour SO Nonattainment
                                                                                                                                             2                     emissions rate before the 3-for-1
                                                 requirement, yielding a total surrender ratio of 3-     Area SIP Submissions available at https://
                                                 for-1 for emissions over the 50-ton threshold.          www.epa.gov/sites/default/files/2016-06/
                                                                                                                                                                   surrender ratio applies and the deferral
                                                    332 See page 24 of ‘‘Guidance for 1-hour SO
                                                                                                 2       documents/20140423guidance_nonattainment_                 of the application of the provisions to
                                                 Nonattainment Area SIP Submission’’ at https://         sip.pdf.                                                  units without existing SCR controls


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                                                 until the 2030 control period or, if                    with comments suggesting that the need                 units to operate and optimize their
                                                 earlier, the second control period in                   for the backstop daily emissions rate                  controls for entire ozone seasons.
                                                 which new SCR controls are operated at                  provisions is contradicted by previous                    The EPA acknowledges that some
                                                 a unit. The EPA’s responses to                          EPA analyses or is already adequately                  SCR-equipped units are likely already
                                                 comments on the backstop daily NOX                      addressed by other provisions of this                  subject to other legal requirements
                                                 emissions rate provisions, including the                rule or other legal requirements. As                   calling for their SCR controls to be
                                                 reasons for these changes, are discussed                discussed in sections V.D.1 and VI.B.1.c               operated and optimized such that their
                                                 in the remainder of this section and in                 of this document, the EPA has                          seasonal average NOX emissions rates
                                                 section 5 of the RTC document.                          determined that a control stringency                   will generally not exceed 0.08 lb/
                                                    Comment: Some commenters strongly                    reflecting universal installation and                  mmBtu (the level of seasonal SCR
                                                 supported the backstop daily emissions                  operation of SCR technology at large                   performance that the EPA used to derive
                                                 rate provisions, noting their benefit to                coal-fired EGUs is appropriate. There                  the equivalent 0.14 lb/mmBtu level of
                                                 downwind receptors on potential                         are several important differences                      daily SCR performance for the backstop
                                                 nonattainment days, their benefit to                                                                           daily NOX emissions rate). However,
                                                                                                         between this rule and previous actions
                                                 neighboring communities, and evidence                                                                          commenters do not claim, and the EPA
                                                                                                         addressing interstate ozone transport
                                                 of deterioration in SCR performance in                                                                         does not believe, that all SCR-equipped
                                                                                                         where the Agency did not include such
                                                 the absence of such provisions. Other                                                                          units are subject to other legal
                                                 commenters stated that the backstop                     provisions. First, this rule constitutes a             requirements calling for an equivalent
                                                 daily emissions rate provisions are                     full remedy, unlike some prior actions.                degree of SCR operation and
                                                 unnecessary, either because SCR-                        Second, this rule is the first rule in                 optimization. In the context of a multi-
                                                 equipped EGUs would already be                          which the EPA is addressing good                       state trading program, it is more
                                                 sufficiently incentivized to operate and                neighbor obligations with respect to the               efficient and equitable, and far more
                                                 optimize their controls by the stringency               more protective 2015 ozone NAAQS.                      transparent, for the EPA to establish rule
                                                 of the state emissions budgets and the                  Third, the EPA has examined the most                   provisions uniformly incentivizing all
                                                 resulting allowance prices or because                   recent data over a broader geographic                  large coal-fired EGUs to install and
                                                 most SCR-equipped EGUs are already                      and temporal footprint specific to the                 operate SCR controls than to attempt to
                                                 required to operate and optimize their                  coverage of this rule, and it illustrates a            establish differentiated requirements for
                                                 SCRs by conditions in their operating                   greater degree of SCR performance                      various units according to the EPA’s
                                                 permits. Some commenters cited                          erosion than in the prior years in which               analysis of the effectiveness of their pre-
                                                 previous EPA analyses showing that it                   EPA conducted such analysis. Fourth,                   existing permit conditions. Further, to
                                                 is unusual for SCR-equipped units to                    nonattainment and maintenance for this                 the extent that a given unit’s permits
                                                 turn off their SCRs only on high                        NAAQS are projected to persist well                    already require SCR performance that
                                                 electricity demand days (HEDD).                         into the future in EPA’s baseline,                     would meet the backstop emissions rate
                                                    Commenters suggested diverse                         making enhancements and safeguards                     established in this rule, or to the extent
                                                 possible changes to the types of EGUs                   such as the backstop daily emissions                   that allowance prices would incentivize
                                                 that would be covered by the backstop                   rate provisions essential for securing                 the unit to operate the SCR anyway, the
                                                 daily emissions rate provisions. Some                   elimination of significant contribution                EPA expects that the backstop daily
                                                 commenters stated that the provisions                   in future periods for which fleet                      emissions rate provisions (as finalized
                                                 should apply to all EGUs or to all SCR-                 configuration is inherently more                       with a 50-ton threshold to address
                                                 equipped EGUs, including non-coal-                      uncertain.                                             emissions outside an EGU’s control
                                                 fired units. Other commenters stated                                                                           before the 3-for-1 surrender ratio
                                                                                                            With respect to claims that inclusion
                                                 that exemptions should be provided for                                                                         applies) will cause no incremental cost
                                                                                                         of the backstop daily emissions rate
                                                 units operating at capacity factors below                                                                      for the unit.
                                                                                                         provisions is contradicted by the EPA’s
                                                 10 percent or for emissions during                                                                                The EPA disagrees with the suggested
                                                                                                         earlier analyses concerning SCR
                                                 emergencies.                                                                                                   changes to applicability of the backstop
                                                    Some commenters stated that                          operational changes specific to high
                                                                                                                                                                emissions rate provisions. With respect
                                                 implementation of the backstop daily                    electricity demand days, the EPA                       to the comments advocating broader
                                                 emissions rate provisions would cause                   disagrees. Historical data reported to the             coverage, the EPA discusses its reasons
                                                 unintended and counterproductive                        EPA show that multiple SCR-equipped                    for applying the provisions only to coal-
                                                 consequences. Some of these                             units across the states covered by this                fired EGUs in section VI.B.1.c of this
                                                 commenters claimed that by requiring                    action have chosen not to operate their                document, including the fact that
                                                 the surrender of extra allowances, the                  SCRs, or to operate them at materially                 operation of SCR controls is a well-
                                                 backstop emissions rate provisions                      less than their full removal capability,               established practice among the best
                                                 would create shortages of allowances for                for entire ozone seasons. The apparent                 performing coal-fired boilers but not for
                                                 the program overall. Other commenters                   infrequency of one type of behavior—                   non-coal-fired units.334 The comments
                                                 claimed that the disincentives to operate               i.e., instances of units running their                 indicate a preference for a less flexible
                                                 units subject to the backstop emissions                 controls on most days but turning the                  trading program design than the EPA
                                                 rate provisions would cause load to shift               controls off specifically on high                      has found appropriate but do not
                                                 to higher-emitting generators not                       electricity demand days—does not                       demonstrate that EPA’s decision to
                                                 covered by the trading program (such as                 contradict the evidence concerning                     allow greater flexibility is either
                                                 sources in states outside the program’s                 another type of behavior—i.e., non-                    impermissible or unreasonable; our
                                                                                                         operation or suboptimal operation of
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                                                 geographic region, EGUs smaller than 25                                                                        reasoning in this regard is further
                                                 MW, and sources considered demand-                      controls for entire ozone seasons. The                 explained in section VI.B.1.c.i of this
                                                 side resources, including end-user-sited                evidence from previous trading
                                                 diesel generator units), potentially                    programs demonstrates that reliance                       334 Nationwide and among operating units in

                                                 resulting in higher overall emissions.                  solely on the incentives created by                    2021, EPA identified the best performing quartile
                                                                                                                                                                (i.e., lowest ozone season emissions rate) of coal-
                                                    Response: The EPA agrees that                        allowance prices and corresponding                     fired EGU boilers (excluding CFB units). Nearly 100
                                                 backstop daily emissions rate provisions                static state emissions budgets has been                percent of these units (159 of 160 units) were
                                                 should be implemented and disagrees                     insufficient to cause all SCR-equipped                 equipped with SCR controls.



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                                                 document. With respect to the                           received the most attention in                            Response: With respect to the topic of
                                                 comments advocating narrower                            comments was how emissions outside                     emissions outside an operator’s control,
                                                 coverage, the commenters have                           the operator’s control should be treated.              as a general matter the EPA agrees that
                                                 provided no information indicating that                 Multiple commenters expressed concern                  the backstop daily emissions rate
                                                 the sources for which exemptions are                    that the backstop daily emissions rate                 provisions are intended to incentivize
                                                 sought could not comply with the                        would be exceeded on days when the                     good SCR operation and that it was not
                                                 provisions, including through the                       SCR equipment cannot be operated for                   the Agency’s intent to apply a higher
                                                 surrender of additional allowances if                   all or a portion of the day. The most                  surrender ratio to emissions that are
                                                 necessary. The EPA notes that emissions                 commonly cited example of a situation                  truly unavoidable, such as emissions
                                                 from coal-fired units operating at low                  where SCR equipment cannot be                          occurring before an operator could
                                                 capacity factors may be concentrated                    operated was unit startups, although                   reasonably initialize SCR operation
                                                 around days of high electricity demand                  some commenters also mentioned unit                    when a unit is started up. As explained
                                                 when incentives to minimize such                        shutdowns, boiler or emissions control                 elsewhere in this section, the EPA
                                                 emissions may be most helpful in                        malfunctions, and unit maintenance or                  selected the level of the backstop rate
                                                 mitigating downwind air quality                         tests. The commenters expressed the                    based on analysis of 2021 emissions
                                                 problems. The EPA also notes that to the                view that emissions that cannot be                     data showing that for SCR-equipped
                                                 extent the comments are intended to                     controlled by SCR equipment should be                  coal-fired units achieving seasonal
                                                 support exemptions for units without                    exempted from the backstop emissions                   average NOX emissions rates at or below
                                                 existing SCR controls, the final rule                   rate provisions and suggested a variety                0.08 lb/mmBtu, more than 99 percent of
                                                 defers application of the backstop                      of approaches for implementing an                      the units’ emissions would fall below a
                                                 emissions rate provisions to such units                 exemption.                                             backstop daily emissions rate of 0.14 lb/
                                                 until the 2030 control period, providing                   Some commenters also stated that the                mmBtu. In response to the comments
                                                 additional flexibility to develop                       backstop emissions rate provisions                     summarized previously, the EPA has
                                                 alternatives to the use of such units if                would not sufficiently accommodate                     further analyzed 2021 and 2022
                                                 the owners choose not to equip them                     sustained low-load operation, such as                  emissions data to determine what if any
                                                 with SCR controls.                                      where an SCR-equipped unit operates                    modifications to the proposal might be
                                                    Finally, the EPA also disagrees with                 for extended periods at a load level too               appropriate to limit the imposition of a
                                                 the comments asserting that the                         low to permit SCR operation so that the                3-to-1 allowance surrender requirement
                                                 backstop emissions rate provisions                      unit is ready to ramp up to higher load                for emissions caused by circumstances
                                                 would cause unintended and                              levels in less time than would be                      outside an operator’s control while
                                                 counterproductive consequences. With                    required for a startup. The commenters                 preserving the intended incentive to
                                                 respect to units already equipped with                  suggested that implementation of a                     operate and optimize SCR controls
                                                 SCR controls, the EPA expects that by                   backstop daily rate would reduce the                   whenever possible. The analysis
                                                 far the most important effect of the                    ability to operate the units in this                   showed that for the same set of units
                                                 provisions will be to incentivize the                   manner, generally reducing system                      achieving seasonal average emissions
                                                 units to operate and optimize their                     flexibility. Some noted that the need for              rates at or below 0.08 lb/mmBtu, the
                                                 controls. The EPA sees no basis for                     flexibility of this nature is increasing               highest total amount of emissions
                                                 speculation that such units would                       because of the rapid growth in                         exceeding the backstop daily emissions
                                                 choose to operate in a manner that                      intermittent renewable generation.                     rate in either the 2021 or 2022 control
                                                 would result in large amounts of                           Additional comments on the backstop
                                                                                                                                                                period for any unit was 48 tons. The
                                                 emissions becoming subject to the 3-for-                daily emissions rate provisions for units
                                                                                                                                                                Agency views this amount as a
                                                 1 allowance surrender ratio or in                       with existing SCR controls addressed
                                                                                                         the level of the daily emissions rate and              reasonable upper bound on the quantity
                                                 generation being shifted to sources
                                                                                                         the implementation timing. With                        of emissions that might contribute to an
                                                 outside the trading program. The results
                                                                                                         respect to the rate level, various                     exceedance of the backstop emissions
                                                 of the EPA’s modeling of benefits and
                                                                                                         commenters suggested rates from 0.08 to                rate arising from circumstances outside
                                                 costs of the rule show little leakage of
                                                                                                         0.20 lb/mmBtu. With respect to                         an operator’s control for any coal-fired
                                                 emissions to non-covered sources, and
                                                                                                         implementation timing, some                            unit, not just the well-controlled units
                                                 commenters have presented no analysis
                                                                                                         commenters stated that because                         in the data set analyzed, because the
                                                 to the contrary. For instance, as shown
                                                 in Table 4.6 of the RIA, non-covered                    immediate compliance was possible, the                 amount generally encompasses all of a
                                                 state ozone season NOX emissions                        good neighbor provision required                       unit’s emissions occurring in hours
                                                 increased on average by 1 percent over                  implementation as of the 2023 control                  when an SCR could not be operated
                                                 the 2023–2030 time period between the                   period rather than the 2024 control                    over an ozone season.
                                                 base and final rule scenarios, while                    period as proposed. Other commenters                      Based on this analysis, the backstop
                                                 covered state emissions fell by 14                      expressed the view that units with                     daily emissions rate provisions in this
                                                 percent on average over the same                        existing SCR controls should not be                    final rule exclude the first 50 tons of a
                                                 period. With respect to units without                   required to comply with the backstop                   unit’s emissions in a given control
                                                 existing SCR controls, the EPA expects                  emissions rate provisions earlier than                 period exceeding the backstop daily
                                                 the backstop emissions rate provisions,                 units without existing SCR controls.                   emissions rate from incremental
                                                 when they would take effect for such                    Some owners of SCR-equipped EGUs                       allowance surrender requirements. The
                                                 units, to provide a strong incentive                    that exhaust to stacks shared with EGUs                EPA finds that establishing a threshold
                                                                                                                                                                of this nature will provide an
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                                                 against extensive operation (unless and                 without SCR suggested that their
                                                 until such controls are installed), again               particular units with existing SCR                     appropriate maximum exclusion to all
                                                 not resulting in large amounts of                       controls should not be required to                     coal-fired units for unavoidable
                                                 emissions becoming subject to the 3-for-                comply with the backstop emissions                     emissions caused by circumstances
                                                 1 allowance surrender ratio.                            rate provisions earlier than units                     outside the operator’s control while
                                                    Comment: For units with existing SCR                 without existing SCR controls in order                 maintaining the incentives for less well-
                                                 controls, the aspect of the backstop                    to avoid the cost of upgrading their                   controlled units to improve their
                                                 daily emissions rate provisions that                    emissions monitoring equipment.                        emissions performance on all days of


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                                                 the ozone season. Well-controlled units                 higher, the unit cycled down to a load                 implementation of the provisions in the
                                                 will likely have no emissions over the                  level of approximately 540 MW                          2023 control period feasible because it
                                                 threshold that will be subject to                       overnight and did operate its SCR.                     is currently unknown whether the
                                                 incremental allowance surrender                         Despite the higher nighttime generation                necessary updates to the emissions
                                                 requirements, while for SCR-equipped                    levels, the result was a decrease of                   recordkeeping and reporting software
                                                 units not already achieving a seasonal                  roughly 50 percent in the unit’s seasonal              for all the affected sources could be
                                                 average emissions rates sufficiently low                average NOX emissions rate, from                       completed and tested before July 30,
                                                 to routinely operate at daily average                   approximately 0.14 lb/mmBtu to                         2023, which is the first quarterly
                                                 emissions rates of 0.14 lb/mmBtu or                     approximately 0.07 lb/mmBtu, and a                     reporting deadline for the 2023 control
                                                 less, the incentive to reduce daily                     comparable reduction in NOX mass                       period. Moreover, as discussed in
                                                 emissions rates will remain in place,                   emissions. This unit is not uniquely                   section VI.B.1.c.i of this document,
                                                 because the 50-ton threshold is not                     situated; operating data for several other             implementing the requirements starting
                                                 expected to encompass all emissions                     large SCR-equipped EGUs in                             in 2024 will provide a window for EGUs
                                                 exceeding the backstop daily emissions                  Pennsylvania show the same past                        to improve the consistency of SCR
                                                 rate for such units. In contrast to more                pattern of cycling down to low load                    operation or in some cases to optionally
                                                 complicated exceptions suggested by                     levels at which the SCR controls cannot                install additional emissions monitoring
                                                 commenters, the 50-ton threshold can                    be operated, and these other units have                equipment. As for the suggestion that
                                                 be easily integrated into the overall                   similar opportunities to cycle down to                 implementation timing of the backstop
                                                 trading program structure with minimal                  somewhat higher load levels                            daily emissions rate provisions for units
                                                 additional recordkeeping and reporting                  (necessarily subject to the needs and                  with existing SCR controls should be
                                                 requirements.                                           constraints of the integrated electric                 synchronized with the later
                                                    With respect to the comments                         system) at which their SCR controls can                implementation timing for units without
                                                 claiming that the inability of some SCR-                be operated.335 No commenter has                       existing SCR controls, the EPA is not
                                                 equipped units to operate their SCR                     submitted data to the contrary.                        persuaded that there is any inequity in
                                                 controls at sustained low load levels                   Furthermore, this example demonstrates                 implementing provisions intended to
                                                 likewise merits alteration of the                       the need for this rule’s backstop                      incentivize operation of SCR controls
                                                 backstop daily emissions rate                           emissions rate provision, which (had it                first at sources that already have such
                                                 provisions, the EPA disagrees. There is                 been in place) would have motivated                    controls and later at sources that do not
                                                 no dispute concerning the technical                     this facility to operate its SCR overnight             already have such controls, allowing
                                                 need for a unit to attain and maintain a                during the 2021 ozone season when the                  time for the latter sources to install the
                                                 certain range of exhaust gas                            prevailing allowance price provided an                 controls. In any event, in this instance,
                                                 temperatures at the SCR inlet in order                  insufficient incentive to do so.                       where some upwind sources have an
                                                                                                            The EPA disagrees with the comments                 immediate and highly cost-effective
                                                 to achieve optimal SCR performance
                                                                                                         advocating for a backstop daily                        option for controlling their emissions,
                                                 and no dispute concerning the general
                                                                                                         emissions rate lower or higher than 0.14               the statutory requirement for significant
                                                 relationship between a unit’s load level
                                                                                                         lb/mmBtu. In general, these comments                   contribution to be eliminated as
                                                 in a given hour and its ability to attain
                                                                                                         simply represent disagreements with the                expeditiously as practicable so as to
                                                 and maintain that exhaust gas
                                                                                                         EPA’s conclusions regarding the                        provide downwind states with the
                                                 temperature range in that hour.
                                                                                                         identification of required emissions                   protection intended by the Good
                                                 However, the EPA is also aware that at
                                                                                                         reductions under this rule, as reflected               Neighbor provision overrides these
                                                 least in some cases, units whose role in
                                                                                                         in part by the EPA’s conclusion that a                 sources’ claim of inequity relative to
                                                 the integrated electric system currently
                                                                                                         seasonal average emissions rate of 0.08                sources whose emissions control
                                                 calls for them to operate at low load
                                                                                                         lb/mmBtu reasonably reflects the                       options would take longer and have
                                                 levels for sustained periods (such as
                                                                                                         seasonal average emissions rate                        higher cost. We conclude that the
                                                 overnight) in fact may be able to operate
                                                                                                         achievable through optimization of                     backstop daily emissions rate is an
                                                 at slightly higher load levels that would
                                                                                                         controls by existing SCR-equipped units                important aspect of the elimination of
                                                 accommodate SCR operation during
                                                                                                         that are not already achieving a lower                 significant contribution and should be
                                                 those periods and still meet the needs
                                                                                                         seasonal average emissions rate.                       applied at the relevant units. It is only
                                                 of the integrated electric system, thereby
                                                                                                         Comments concerning the selection of                   out of recognition of unique
                                                 avoiding operation of the unit for
                                                                                                         the 0.08 lb/mmBtu seasonal average                     circumstances associated with
                                                 sustained periods with the SCR out of
                                                                                                         emissions rate are addressed in section                facilitating power-sector transition as
                                                 service. Figure B.5 in the EGU NOX
                                                                                                         V of this document. Commenters did                     identified by commenters, that we defer
                                                 Mitigation Strategies Final Rule TSD
                                                                                                         not challenge the EPA’s analysis                       the application of the rate for the
                                                 illustrates this opportunity using data
                                                                                                         identifying a daily emissions rate of 0.14             minority of units that have not yet
                                                 reported for the 2021 and 2022 ozone
                                                                                                         lb/mmBtu as comparable in stringency                   installed SCR controls.
                                                 seasons by a large SCR-equipped EGU in
                                                                                                         to a seasonal average emissions rate of
                                                 Pennsylvania. In both ozone seasons,                                                                              Finally, with respect to the SCR-
                                                                                                         0.08 lb/mmBtu (see further discussion
                                                 the unit often cycled daily between its                                                                        equipped units that share common
                                                                                                         elsewhere in this section).
                                                 maximum load of approximately 900                                                                              stacks with units that do not have SCR,
                                                                                                            The EPA also disagrees with the
                                                 MW during the daytime and a lower                                                                              the EPA disagrees that monitoring cost
                                                                                                         comments stating that the backstop
                                                 load level overnight, and in both ozone                                                                        considerations merit a later
                                                                                                         daily emissions rate provisions should
                                                 seasons the unit’s typical daytime                                                                             implementation date for the backstop
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                                                                                                         apply to units with existing SCR
                                                 emissions rate was between 0.05 and                                                                            daily emissions rate provisions. As
                                                                                                         controls starting in a control period
                                                 0.07 lb/mmBtu. However, while in the                                                                           discussed in section VI.B.10 of this
                                                                                                         earlier or later than the 2024 control
                                                 2021 ozone season, the unit cycled                                                                             document, five plants with this
                                                                                                         period. The EPA does not consider
                                                 down to a load level of approximately                                                                          configuration are covered by the rule
                                                 440 MW overnight and did not operate                      335 See the spreadsheet ‘‘Conemaugh and              (one of which has announced plans to
                                                 its SCR, in the 2022 ozone season, when                 Keystone unit 2021 to 2022 hourly ozone season         retire in 2023). Under this rule, as
                                                 allowance prices were considerably                      data’’ in the docket.                                  proposed, the owner of a plant with this


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                                                 configuration can choose between either                 such units to operate as needed to back                noted in section VI.B.1.c of this
                                                 upgrading the plant’s monitoring                        up intermittent renewable generation.                  document, the backstop daily emissions
                                                 systems so as to obtain unit-specific                   Some commenters claimed that                           rate provisions are structured as
                                                 NOX emissions rate data for each unit                   inclusion of the backstop daily                        incremental allowance surrender
                                                 subject to the backstop daily emissions                 emissions rate provisions would                        requirements rather than as directly
                                                 rate or else using the NOX emissions                    substantially eliminate the potential                  enforceable emissions limits to
                                                 rate data from the common stack,                        benefits of allowance trading, because                 incentivize improved emissions
                                                 recognizing that the common stack                       all units would have to meet the same                  performance at the individual unit level
                                                 emissions rate would generally be                       emissions rate.                                        while continuing to preserve, to the
                                                 biased upwards relative to the emissions                   Some commenters stated that the                     extent possible, the advantages that the
                                                 rate that could be reported for the SCR-                proposed application of the daily                      flexibility of a trading program brings to
                                                 equipped unit if that unit’s emissions                  backstop emissions rate provisions in                  the electric power sector. The EPA
                                                 were monitored separately. Commenters                   the 2027 control period in some cases                  appreciates that, in comparison to
                                                 have suggested a third option of a                      would occur only slightly before the                   previous transport rules using a trading
                                                 temporary exemption from the backstop                   units’ otherwise planned retirement                    program mechanism for the power
                                                 emissions rate to avoid the cost of                     dates, and that short-term reliability                 sector, the degree of flexibility available
                                                 upgrading their monitoring systems.                     considerations could create the need to                under this rule is reduced both by the
                                                 With the timing for implementation of                   make substantial investments in new                    greater stringency of the overall
                                                 the backstop emissions rate provisions                  controls at the units, which in turn                   emissions reduction requirements,
                                                 for currently uncontrolled units in the                 could result in deferral of the units’                 which leave less room to accommodate
                                                 proposal, the temporary exemption for                   retirement plans. In the proposal, the                 emissions from high-emitting units such
                                                 the SCR-equipped units would have                       EPA requested comment on the                           as uncontrolled coal-fired units, and by
                                                 been in place for three control periods,                possibility of deferring the application               the backstop daily emissions rate
                                                 from 2024 through 2026. With the final                  of the backstop emissions rate                         provisions. However, the EPA maintains
                                                 rule’s deferral of the implementation of                provisions to units without existing SCR               that the trading program structure still
                                                 the backstop emissions rate provisions                  controls until the 2029 control period if              is significantly more flexible than an
                                                 for the uncontrolled units for up to three              the owners provided the EPA with                       array of directly enforceable emissions
                                                 years, the suggested temporary                          information indicating with sufficient                 limits imposed on all EGUs or even on
                                                 exemption for the SCR-equipped units                    certainty that the units would retire by               all coal-fired EGUs, and the comments
                                                 would be in effect for up to six control                the end of 2028. Commenters in favor of                do not show otherwise.
                                                 periods, from 2024 through 2029. The                    this concept suggested longer deferral                    With respect to the comments
                                                 EPA does not consider it reasonable to                  periods, ranging from 2029 through                     concerning the timing for application of
                                                 allow these SCR-equipped units an                       2032, and some also suggested that the                 the backstop daily emissions rate
                                                 exemption from the backstop rate                        EPA should simultaneously enlarge the                  provisions to EGUs without existing
                                                 provisions for six years to avoid the cost              emissions budgets to provide more                      SCR controls, in the final rule the
                                                 of upgrading their monitoring systems,                  allowances for units subject to the                    provisions will apply to these units
                                                 particularly given that the additional                  deferred requirement. Other                            starting with the second control period
                                                 costs of monitoring at the individual-                  commenters opposed any deferral of the                 in which newly installed SCR controls
                                                 unit level are already borne by the large               applicability of the backstop rate                     are operational at the unit, but not later
                                                 majority of other plants and the rule                   provisions.                                            than the 2030 control period. As
                                                 already provides these plants with an                      Response: The EPA disagrees that                    discussed in section VI.B.1.d of this
                                                 alternative to the monitoring system                    implementation of the backstop daily                   document, the purpose of this change
                                                 upgrades, if desired, by allowing the                   emissions rate provisions for EGUs                     from the proposal is to address concerns
                                                 plants to use the emissions rate data                   without existing SCR controls                          expressed by RTOs and other
                                                 from the common stack.336                               constitutes a mandate for such units to                commenters that application of the
                                                    Comment: With respect to units                       install controls or retire but agrees that,            backstop daily NOX emissions rate to
                                                 without existing SCRs, some                             as intended, the provisions would create               EGUs without existing SCR controls
                                                 commenters viewed the backstop daily                    strong incentives to minimize operation                starting in the 2027 control period
                                                 emissions rate provisions as likely to                  of the units unless and until controls are             would provide insufficient time for
                                                 make units without SCR altogether                       installed, and further agrees that in                  planning and investments needed to
                                                 unwilling or unable to operate and                      some instances retirement and                          facilitate the unit retirements they
                                                 characterized the provisions as a                       replacement may be a more                              viewed as likely to be a preferred
                                                 mandate for such units to install such                  economically attractive option for the                 compliance pathway for some owners.
                                                 controls or retire as of the control period             unit’s customers and/or owners than                    The EPA recognizes that retrofitting new
                                                 when the provisions are implemented.                    installation of new controls. The EPA’s                emissions controls on aging coal-fired
                                                 Other commenters acknowledged that                      rationale for determining at Step 3 that               EGUs may be less environmentally
                                                 the provisions are not actually hard                    the control stringency required to                     efficient than the alternative of
                                                 limits but stated that the higher                       address states’ good neighbor                          retirement and replacement, which
                                                 allowance surrender ratio for emissions                 obligations includes achievement of                    could yield lower cumulative emissions
                                                 in excess of the backstop daily rate                    emissions rates consistent with good                   of NOX and multiple other pollutants
                                                 would nevertheless reduce the ability of                SCR performance at all large coal-fired                over time. The EPA also recognizes that
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                                                                                                         EGUs (other than circulating fluidized                 several coal-fired EGUs have already
                                                   336 The owner of one of the five plants with          bed boilers) is discussed in section                   been considering retirement in 2028 (or
                                                 common stacks submitted comments stating that no        V.D.1 of this document, and the EPA’s                  earlier) under compliance pathways
                                                 location in the plant’s ductwork could meet the         rationale for determining at Step 4 that               available under the Clean Water Act
                                                 criteria for a unit-specific monitoring location. As    the trading program should include                     effluent guidelines 337 and the coal
                                                 discussed in section VI.B.10 of this document, EPA
                                                 staff have reviewed the comment and do not believe
                                                                                                         strong unit-level incentives to                        combustion residuals rule under the
                                                 the commenter has provided sufficient information       implement these controls is discussed
                                                 to reach such a conclusion.                             in section VI.B.1.c. of this document. As               337 See 40 CFR 423.11(w).




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                                                 Resource Conservation and Recovery                      neighbor obligations as expeditiously as               transition period identified by
                                                 Act.338 The year 2028 also represents                   practicable and is based on a                          commenters can be justified on the basis
                                                 the end of the second planning period                   demonstration that emissions                           of the greater long-term environmental
                                                 under the Regional Haze program, and                    reductions commensurate with the                       benefits obtained through greater
                                                 thus is a significant year in states’                   overall emissions control strategy at                  compliance flexibility.
                                                 planning of strategies to make                          Step 3 can be achieved beginning in the                8. Unit-Specific Emissions Limitations
                                                 reasonable progress towards natural                     2027 ozone season (following a two-year                Contingent on Assurance Level
                                                 visibility at Class I areas.339 In addition,            phase in of emissions reductions                       Exceedances
                                                 other regulatory actions at the state or                associated with installation of SCR
                                                 Federal level are being or recently have                retrofits). In the RIA, we demonstrate                    As emphasized by the D.C. Circuit in
                                                 been proposed. This includes among                      that EGUs will have multiple pathways                  its decision invalidating CAIR, under
                                                 other things a proposed revision to the                 to meeting the state budgets even if they              the CAA’s good neighbor provision,
                                                 PM NAAQS for which transport SIPs                       choose not to install the SCR controls—                emissions ‘‘within the State’’ that
                                                 would be due later in the 2020s. We                     thus no relaxation in the stringency of                contribute significantly to
                                                 understand that EGUs may wish to take                                                                          nonattainment or interfere with
                                                                                                         these budgets has been demonstrated to
                                                 the entire regulatory and market                                                                               maintenance of a NAAQS in another
                                                                                                         be warranted based on feasibility,
                                                 landscape into account when deciding                                                                           state must be prohibited. North Carolina
                                                                                                         necessity, or impossibility. The EGU
                                                 whether to invest in SCR or pursue                                                                             v. EPA, 531 F.3d 896, 906–08 (D.C. Cir.
                                                                                                         economic modeling discussed in the
                                                 other NOX reduction strategies. To                                                                             2008). The CAIR trading programs
                                                                                                         RIA illustrates that many sources
                                                 facilitate a unit-level compliance                                                                             contained no provisions limiting the
                                                                                                         identified as currently having SCR                     degree to which a state could rely on net
                                                 alternative under this rule that                        retrofit potential elect not to install a
                                                 maintains the NOX reductions                                                                                   purchased allowances as a substitute for
                                                                                                         SCR, and those that do retrofit SCR                    making in-state emissions reductions,
                                                 corresponding to SCR-level emissions                    make no such installation until 2030.
                                                 control performance required by the                                                                            an omission which the court found was
                                                                                                         Yet, the fleet is able to comply with                  inconsistent with the requirements of
                                                 state budgets from 2026 forward and                     2026 state emissions budgets (whose
                                                 that is potentially superior both                                                                              the good neighbor provision. Id. In
                                                                                                         emissions reductions are premised in                   response to that holding, the EPA
                                                 economically and environmentally
                                                                                                         large part on assumed SCR retrofits)                   established the CSAPR trading
                                                 across multiple regulatory programs
                                                                                                         through reduced utilization (many of                   programs’ assurance provisions to
                                                 than installation of new, capital-
                                                                                                         these units are projected to retire, and               ensure that, in the context of a flexible
                                                 intensive, post-combustion controls, the
                                                                                                         thus reduce emissions). While these                    trading program, the emissions
                                                 EPA is providing the fleet more
                                                                                                         changes in coal fleet utilization are not              reductions required under the good
                                                 flexibility in how to achieve those
                                                                                                         required or imposed through the EPA’s                  neighbor provision in fact will take
                                                 emissions reductions in the years
                                                                                                         state emissions budgets, they are                      place within the state. The EPA believes
                                                 through 2029. Relatedly, the deferral of
                                                                                                         projected to be an economic preference                 the assurance provisions have generally
                                                 the application of the backstop
                                                                                                         for a substantial portion of the                       been successful in achieving that
                                                 emissions rate provisions to
                                                 uncontrolled units also addresses                       unretrofitted fleet owing to future                    objective, as evidenced by the fact that
                                                 commenters’ concerns that the                           market and policy conditions. If sources               since the assurance provisions took
                                                 provisions otherwise would reduce the                   do ultimately elect this pathway, then                 effect in 2017, out of the nearly 300
                                                 ability of uncontrolled units to operate                compliance will occur with significantly               instances where a given state’s
                                                 as needed to back up intermittent                       less demand on SCR retrofit labor and                  compliance with the assurance
                                                 renewable generation (subject of course                 material markets than assumed at Step                  provisions of a given CSAPR trading
                                                 to the allowance-holding requirements                   3. The daily emissions rates are a                     program for a given control period has
                                                 to cover emissions). The deferral                       backstop to the broader emissions                      been assessed, a state’s collective
                                                 addresses this concern directly for the                 reduction requirements, which we view                  emissions have exceeded the applicable
                                                 period through 2029, by eliminating                     as an important and necessary                          assurance level only four times.
                                                 application of the backstop provisions                  component to the elimination of                           Unfortunately, the EPA also
                                                 to uncontrolled EGUs through this                       significant contribution. But we also                  recognizes that the assurance
                                                 period, and also indirectly after 2029, by              recognize that the objectives to be                    provisions’ very good historical
                                                 ensuring the availability of sufficient                 accomplished by the backstop must be                   compliance record is not good enough.
                                                 time for owners and operators to                        balanced with larger economic and                      The four past exceedances all occurred
                                                 complete other investments that may be                  environmental conditions facing EGUs                   under the Group 2 trading program:
                                                 needed to back up renewable generation                  for which a deferral of the backstop rate              sources in Mississippi collectively
                                                 after that point.                                       ultimately is the most reasonable                      exceeded their applicable assurance
                                                    The EPA disagrees with the comments                  approach given these competing                         levels in the 2019 and 2020 control
                                                 stating that application of the backstop                concerns. See Wisconsin, 938 F.3d at                   periods, and sources in Missouri
                                                 daily emissions rate provisions to                      320 (‘‘EPA, though, possesses a measure                collectively exceeded their applicable
                                                 uncontrolled units should not be                        of latitude in defining which upwind                   assurance levels in the 2020 and 2021
                                                 deferred and also disagrees with the                    contribution ‘amounts’ count as                        control periods.340 Both of the
                                                 comments stating that deferral should                   ‘significant[ ]’ and thus must be                      exceedances by Missouri sources could
                                                 be accompanied by increases in the state                abated.’’). As noted in section VI.B.1.d               easily have been avoided if the owner
                                                                                                         of this document, the EPA finds that as
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                                                 emissions budgets reflecting higher                                                                            and operator of several SCR-equipped,
                                                 assumed emissions rates for these units.                long as state emissions budgets continue
                                                 The responses to these two comments                     to reflect the required degree of                        340 Information on the assurance level

                                                 are related. This rule complies with the                emissions reductions at least for an                   exceedances in the 2019, 2020, and 2021 control
                                                                                                         interim period until the backstop rate                 periods is available in the final notices concerning
                                                 mandate for the EPA to address good                                                                            EPA’s administration of the assurance provisions
                                                                                                         would apply more uniformly, deferral of                for those control periods. 85 FR 53364 (August 28,
                                                   338 See 40 CFR 257.103(b).                            the backstop rate requirement for                      2020); 86 FR 52674 (September 22, 2021); 87 FR
                                                   339 See 40 CFR 51.308(f).                             uncontrolled units in recognition of the               57695 (September 21, 2022).



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                                                 coal-fired steam units had not chosen to                   The two historical emissions-related                new unit-level requirement as the
                                                 idle the units’ controls and rely instead               compliance requirements in the Group 3                 ‘‘secondary emissions limitation.’’ (The
                                                 on net out-of-state purchased                           trading program regulations are both                   regulations label the designated
                                                 allowances. The exceedances were                        structured in the form of requirements                 representative-level requirement as
                                                 large, and ample quantities of                          to hold allowances. The first                          ‘‘compliance with the . . . assurance
                                                 allowances to cover the resulting 3-for-                requirement applies at the source level:               provisions.’’)
                                                 1 allowance surrender requirements                      specifically, at the compliance deadline                  Because the purpose of the new unit-
                                                 were purchased in advance, suggesting                   after each control period, the owners                  level secondary emissions limitation is
                                                 that the assurance level exceedances                    and operators of each source covered by                to deter conduct causing exceedances of
                                                 may have been anticipated as a                          the program must surrender a quantity                  a state’s assurance level, the EPA is
                                                 possibility. In the case of the                         of allowances that is determined based                 conditioning applicability of the new
                                                 Mississippi exceedances, the                            on the emissions from the units at the                 limitation on (1) the occurrence of an
                                                 exceedances were smaller, operational                   source during the control period. The                  exceedance of the state’s assurance level
                                                 variability (manifesting as increased                   second requirement applies at the                      for the control period, and (2) the
                                                 heat input) appears to have been a                      designated representative level (which                 apportionment of at least some of the
                                                 material contributing factor, and the                   typically is the owner or operator level):             responsibility for the assurance level
                                                 EPA has not concluded that the owners                   if the state’s sources collectively emit in            exceedance to the set of units
                                                 and operators anticipated the                           excess of the state’s assurance level, the             represented by the unit’s designated
                                                 exceedances. However, an additional                     owners and operators of each set of                    representative. Apportionment of
                                                 contributing factor was the fact that                   sources determined to have contributed                 responsibility for the assurance level
                                                 several large, gas-fired steam units                    to the exceedance must surrender an                    exceedance will be carried out
                                                 without SCR controls emitted NOX at                     additional quantity of allowances. As                  according to the existing assurance
                                                 average rates much higher than the                      long as a source’s owners and operators                provision procedures and will therefore
                                                 average emissions rates the same units                  comply with these two allowance                        depend on the designated
                                                 had achieved in previous control                        surrender requirements (and meet                       representative’s shares of both the
                                                 periods. In short, while the Missouri                   certain other requirements not related to              state’s total emissions for the control
                                                 exceedances appear far more significant,                the amounts of the sources’ emissions),                period and the state’s assurance level for
                                                 the EPA’s analysis indicates that all four              they are in compliance with the                        the control period. To ensure that the
                                                 past exceedances could have been                        program.                                               secondary emissions limitation is
                                                 avoided if the units most responsible                      In light of the operation of the                    focused on units where the need for
                                                 had achieved emissions rates more                       Missouri sources, the EPA is doubtful                  improved incentives is greatest, and also
                                                 comparable to the same units’ previous                  that strengthening the assurance                       to ensure that the limitation will not
                                                 performance. In the EPA’s view, the                     provisions by increasing allowance                     apply to units used only to meet peak
                                                 operation of the Missouri units in                      surrender requirements at the unit,                    electricity demand, the limitation
                                                 particular—although not prohibited by                   source, or designated representative                   applies only to units that are equipped
                                                 the current regulatory requirements—                    level would create a sufficient deterrent.             with post-combustion controls (i.e., SCR
                                                 cannot be reconciled with the statutory                 Accordingly, the EPA is instead adding                 or SNCR) and that operated for at least
                                                 requirements of the good neighbor                       a new, unit-level emissions limitation                 ten percent of the hours in the control
                                                 provision. The fact that such operation                 structured as a prohibition to emit NOX                period in question and in at least one
                                                 is not prohibited by the current                        in excess of a defined amount. A                       previous control period.
                                                 regulations therefore indicates a                       violation of the prohibition will not                     For units to which a secondary
                                                 deficiency in the current regulatory                    trigger additional allowance surrender                 emissions limitation applies in a given
                                                 requirements.                                           requirements beyond the surrender                      control period based on the conditions
                                                    To correct the deficiency in the                     requirements that would otherwise                      just summarized, the limitation is
                                                 regulatory requirements, the EPA in this                apply, but will trigger the possible                   defined by a formula in the regulations.
                                                 rulemaking is revising the Group 3                      application of the CAA’s enforcement                   The formula is generally designed to
                                                 trading program regulations to establish                authorities. The new emissions                         compute the potential amount the unit
                                                 an additional emissions limitation to                   limitation will be in addition to, not in              would have emitted during the control
                                                 more effectively deter avoidable                        lieu of, the other requirements of the                 period, given its actual heat input
                                                 assurance level exceedances starting                    Group 3 trading program. This point is                 during the control period, if the unit
                                                 with the 2024 control period. Because                   being made explicit by relabeling the                  had achieved an average emissions rate
                                                 the pollutant involved is ozone season                  source-level allowance holding                         equal to the unit’s lowest average
                                                 NOX and the particular sources for                      requirement, currently called the                      emissions rate in a previous control
                                                 which deterrence is most needed are                     ‘‘emissions limitation,’’ as the ‘‘primary             period plus a margin of 25 percent. To
                                                 located in states that are transitioning                emissions limitation’’ and labeling the                ensure that the data used to establish
                                                 from the Group 2 trading program to the                                                                        the unit’s lowest previous average
                                                 Group 3 trading program, the EPA is                     the same revisions to the assurance provisions for     emissions rate are representative and of
                                                                                                         all the other CSAPR trading programs. The EPA is       high quality, only past control periods
                                                 promulgating the strengthening                          not doing so at this time because the Agency has
                                                 provisions as revisions to the Group 3                  seen no reason to expect exceedances of the
                                                                                                                                                                where the unit participated in a CSAPR
                                                 trading program regulations rather than                 assurance levels under any of the other CSAPR          trading program for ozone season NOX
                                                 the Group 2 trading program                             trading programs by any of the states that will        and operated in at least ten percent of
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                                                                                                         remain subject to the respective trading programs      the hours in the control period are
                                                 regulations.341                                         after this rulemaking, except possibly by Missouri
                                                                                                         under the CSAPR NOX Annual Trading Program.
                                                                                                                                                                considered. Further, to avoid causing
                                                   341 The EPA believes that the occurrence of
                                                                                                         The EPA expects that reductions in Missouri’s          units that achieve emissions rates lower
                                                 avoidable assurance level exceedances under the         seasonal NOX emissions sufficient to comply with       than 0.08 lb/mmBtu from becoming
                                                 Group 2 trading program, combined with the              the proposed provisions of the revised Group 3         subject to more stringent secondary
                                                 express statutory directive that good neighbor          trading program, including the secondary emissions
                                                 obligations must be addressed ‘‘within the state,’’     limitations, would also prevent exceedances of
                                                                                                                                                                emissions limitations in subsequent
                                                 and through ‘‘prohibition,’’ would also provide a       Missouri’s currently applicable assurance level for    control periods, the secondary
                                                 sufficient legal basis for the Agency to promulgate     annual NOX emissions.                                  emissions limitation formula uses a


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                                                 floor emissions rate of 0.10 lb/mmBtu                                    units represented by the unit’s                                   if the limitations and formula had been
                                                 (which is 0.08 lb/mmBtu plus the                                         designated representative, the unit is                            in effect for the Group 2 trading program
                                                 formula’s 25 percent margin). In                                         equipped with post-combustion                                     in 2020 and 2021 when assurance level
                                                 addition to making sure that                                             controls, and the unit operated for at                            exceedances occurred in Missouri.
                                                 performance better than 0.08 lb/mmBtu                                    least ten percent of the hours in the                             Following consideration of comments,
                                                 is not disincentivized, the inclusion of                                 control period. Where a secondary                                 the EPA believes that in each case the
                                                 the floor emissions rate also ensures that                               emissions limitation applies to a unit for                        formula functions in a reasonable
                                                 no unit achieving an average emissions                                   a given control period, the amount of                             manner, and the Missouri units
                                                 rate of 0.10 lb/mmBtu or less in a given                                 the limitation is computed as the sum                             identified as exceeding their respective
                                                 control period will exceed a secondary                                   of 50 tons plus the product of (1) the                            secondary emissions limitations are
                                                 emissions limitation in that control                                     unit’s heat input for the control period                          sources for which an enforcement
                                                 period. Finally, the formula includes a                                  times (2) a NOX emissions rate of 0.10                            deterrent under CAA sections 113 and
                                                 50-ton threshold, which will avert                                       lb/mmBtu or, if higher, 125 percent                               304 would have been appropriate to
                                                 violations for small performance                                         times the lowest seasonal average NOX                             compel better control of NOX emissions.
                                                 deviations at large EGUs and also ensure                                 emissions rate achieved by the unit in                            Table VI.B.8–1 does not show any units
                                                 that no unit emitting less than 50 tons                                  a previous control period when the unit                           that would have been identified as
                                                 in a given control period will exceed a                                  participated in a CSAPR trading                                   subject to secondary emissions
                                                 secondary emissions limitation in that                                   program for ozone season NOX                                      limitations in the case of the 2019 and
                                                 control period.                                                          emissions and operated in at least ten                            2020 assurance level exceedances in
                                                    In summary, a secondary emissions                                     percent of the hours in the control                               Mississippi because no units in the state
                                                 limitation is applicable to a unit for a                                 period.342                                                        meeting all conditions for
                                                 given control period only if the state’s                                   Table VI.B.8–1 shows the secondary                              applicability—including the
                                                 assurance level is exceeded,                                             emissions limitations that the formula                            requirement to be equipped with post-
                                                 responsibility for the exceedance is                                     would have produced and which units                               combustion controls—exceeded their
                                                 apportioned at least in part to the set of                               would have exceeded those limitations                             respective limitations.
                                                   TABLE VI.B.8–1—ILLUSTRATIVE RESULTS OF APPLYING SECONDARY EMISSIONS LIMITATION IN PREVIOUS INSTANCES OF
                                                                                       ASSURANCE LEVEL EXCEEDANCES
                                                                                                                                                                    125% of Lowest         Actual       Secondary      Actual
                                                                                                                                                                       previously           NOX         emissions       NOX       Exceedance
                                                                Owner/operator                                                  Unit                                 achieved NOX        emissions       limitation   emissions      (tons)
                                                                                                                                                                     emissions rate         rate           (tons)      (tons)
                                                                                                                                                                      (lb/mmBtu)        (lb/mmBtu)

                                                                                                                                                   Missouri—2020

                                                 Assoc. Elec. Coop ..................................   New Madrid 1 .........................................                 0.135          0.670             961       4,524         3,563
                                                 Assoc. Elec. Coop ..................................   New Madrid 2 .........................................                 0.131          0.497             866       3,108         2,242
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 1 .........................................                0.123          0.526             374       1,384         1,010
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 2 .........................................                0.122          0.537             548       2,187         1,639
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 3 .........................................                0.104          0.195             780       1,374           594

                                                                                                                                                   Missouri—2021

                                                 Assoc. Elec. Coop ..................................   New Madrid 1 .........................................                 0.135          0.652             353       1,466         1,113
                                                 Assoc. Elec. Coop ..................................   New Madrid 2 .........................................                 0.131          0.611           1,054       4,700         3,646
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 1 .........................................                0.123          0.146             421         440            19
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 2 .........................................                0.122          0.400             600       1,801         1,201



                                                   For further illustrations of the                                       apportionment of responsibility for a                             experience shows that exceedances of
                                                 application of the secondary emissions                                   share of the exceedance to the unit                               the assurance level have been rare, and
                                                 limitation formula to other units in the                                 under the assurance provisions.                                   where exceedances of a state’s assurance
                                                 states to be subject to the expanded                                        The secondary emissions limitation                             level have occurred, the 3-for-1
                                                 Group 3 trading program in the control                                   provisions are being finalized as                                 surrender ratio under the existing
                                                 periods from 2016 through 2021, see the                                  proposed except for the addition of the                           regulations has applied, providing a
                                                 spreadsheet ‘‘Illustrative Calculations                                  condition that a unit to which the                                sufficient remedy.
                                                 Using Proposed Secondary Emissions                                       provisions apply must be equipped with                               Response: The EPA disagrees with
                                                 Limitation Formula,’’ available in the                                   post-combustion controls. The EPA’s                               these comments. The purpose of the
                                                 docket. The EPA notes that, with the                                     responses to comments concerning the                              assurance provisions in the CSAPR
                                                 exception of the units listed in Table                                   secondary emissions limitation                                    trading programs is to ensure that the
                                                 VI.B.8–1, no unit shown in the                                           provisions, including the comments                                emissions reductions required to
                                                 spreadsheet as having emissions                                          giving rise to the change just mentioned,                         address a state’s obligations under the
                                                 exceeding the illustrative secondary                                     are in the remainder of this section and                          Good Neighbor Provision occur ‘‘within
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                                                 emissions limitation calculated for the                                  section 5 of the RTC document.                                    the state’’ as mandated by the CAA. See
                                                 unit would have violated the                                                Comment: Some commenters stated                                North Carolina v. EPA, 531 F.3d 896,
                                                 prohibition because no violation would                                   that the secondary emissions limitation                           906–08 (D.C. Cir. 2008). Prior to this
                                                 occur in the absence of an exceedance                                    is not necessary, or would be a                                   action, the sole consequence for an
                                                 of the assurance level and                                               disproportionate remedy, because                                  exceedance of a state’s assurance level


                                                   342 For the actual regulatory language, see 40 CFR

                                                 97.1025(c) as added by this rule.


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                                                 has been a requirement to surrender two                 control periods is caused by factors in                EPA views as inappropriate when that
                                                 additional allowances for each ton of                   that control period beyond the                         exceedance could have been avoided.
                                                 the exceedance. The repeated, large,                    operator’s control, such as being                         The asserted possible consequences of
                                                 foreseeable, and easily avoidable                       mandated by a regulator to combust a                   uncertainty about whether the
                                                 exceedances of Missouri’s assurance                     higher proportion of oil or operating for              limitation would apply rest on
                                                 level under the Group 2 trading program                 a higher proportion of hours at load                   mischaracterizations of the provision.
                                                 in 2020 and 2021 have made clear that                   levels where the unit has a higher NOX                 The formula for the limitation reflects
                                                 a remedy based solely on additional                     emissions rate for reasons other than                  the unit’s actual heat input for the
                                                 allowance surrenders is insufficient to                 non-operation of emissions controls.                   control period, so there is no penalty for
                                                 address this statutory requirement and                     Comment: Some commenters asserted                   increased operation as long as the unit’s
                                                 that a materially stronger deterrent is                 that because it is not known if a state’s              seasonal NOX average emissions rate
                                                 needed.                                                 assurance level has been exceeded until                stays below the level just referenced.
                                                    Comment: Some commenters stated                      after the end of the control period, EGU               Finally, nothing about the secondary
                                                 that the secondary emissions limitation                 operators would be unable to know                      emissions limitation disincentivizes an
                                                 could apply to exceedances caused by                    whether the secondary emissions                        EGU fleet owner from transferring
                                                 factors outside the control of the EGU                  limitation would apply to them during                  allocated allowances among the fleet’s
                                                 operator, going beyond the EPA’s intent                 the control period. Some of these                      EGUs, because apportionment of
                                                 of deterring exceedances that are                       commenters suggested that where a unit                 responsibility for an assurance level
                                                 foreseeable and avoidable. For example,                 has been found to have contributed to                  exceedance—one of the conditions for
                                                 commenters pointed out that some units                  an assurance level exceedance, the EPA                 application of the secondary emissions
                                                 that typically combust gas may                          should apply a secondary emissions                     limitation—is determined at the level of
                                                 sometimes be ordered to combust oil at                  limitation to the unit not in that control             the group of units represented by a
                                                 times when supplies of gas are                          period but instead in the following                    common designated representative
                                                 constrained and expressed concern that                  control period.                                        (typically the set of all units operated by
                                                 the resulting higher NOX emissions                         Commenters suggested that                           a particular owner) rather than the
                                                 could cause a unit to exceed its                                                                               individual unit.
                                                                                                         uncertainty about whether a unit would
                                                 secondary emissions limitation. Another                                                                           Comment: Some commenters stated
                                                                                                         be subject to a secondary emissions
                                                 commenter stated that it is not                                                                                that the EPA should revise the
                                                                                                         limitation could have a variety of                     secondary emissions limitation formula
                                                 uncommon for units’ seasonal average
                                                                                                         undesirable consequences. For example,                 so that where a limitation applies to a
                                                 NOX emissions rate to vary by more
                                                                                                         they asserted that some EGUs could                     unit, the unit’s previous NOX emissions
                                                 than 25 percent across control periods.
                                                    Response: The EPA agrees that the                    become unwilling to operate when                       rate used in the formula would not be
                                                 secondary emissions limitation is                       needed for reliability because they                    subject to any floor. These commenters
                                                 intended to apply to units in a position                would be concerned that merely                         also recommended that if the secondary
                                                 to avert an exceedance of a state’s                     operating more than in previous control                emissions limitation provisions are not
                                                 assurance level. The contention that                    periods could cause a unit to exceed its               finalized, the EPA instead should raise
                                                 year-to-year variability of 25 percent in               limitation. One commenter asserted that                the allowance surrender ratio applied to
                                                 units’ seasonal average emissions rates                 the uncertainty would make it difficult                exceedances of the assurance level in
                                                 is common is not in itself a persuasive                 for an owner of multiple EGUs to use                   this final rule.
                                                 reason to omit the secondary emissions                  allowances allocated to one EGU to                        Response: The EPA disagrees with the
                                                 limitation from the final rule, because                 meet another EGU’s surrender                           suggestion to remove the emissions rate
                                                 the mere existence of such variability                  requirements, possibly leading to                      floor from the secondary emissions
                                                 says nothing about whether the                          operating restrictions on multiple EGUs.               limitation formula, which would have
                                                 operators of those units could reduce                      Response: The EPA disagrees with                    the effect of making the limitation more
                                                 that variability through their operational              these comments. While an operator                      stringent for any unit that has achieved
                                                 decisions, and the commenter provided                   cannot be certain that the secondary                   a seasonal average NOX emissions rate
                                                 no data regarding the extent to which                   emissions limitation will apply to a                   lower than 0.08 lb/mmBtu in a past
                                                 the historical variability was avoidable.               particular EGU until after the end of a                control period. As indicated by their
                                                 However, the EPA agrees that a                          control period, the operator can be                    label, the secondary emissions
                                                 secondary emissions limitation should                   certain that the limitation will not apply             limitation provisions play a secondary
                                                 be designed to avoid application to a                   to a particular EGU simply by ensuring                 role in the Group 3 trading program
                                                 unit whose increase in emissions rate                   that the unit’s seasonal average NOX                   regulations, specifically to provide the
                                                 was caused by mandated combustion of                    emissions rate does not exceed the                     strongest possible deterrent against
                                                 a higher-NOX fuel than the unit’s                       higher of 0.10 lb/mmBtu or 125 percent                 conduct leading to foreseeable and
                                                 normal fuel. Moreover, based on the                     of the unit’s lowest seasonal average                  avoidable exceedances of a state’s
                                                 analysis of the secondary emissions                     NOX emissions rate in a previous                       assurance level. The distinguishing
                                                 limitation formula prepared for the                     control period under a CSAPR trading                   feature of the secondary emissions
                                                 proposal, the EPA has reviewed the                      program (excluding control periods                     limitation provisions is therefore the
                                                 applicability of the limitation more                    where the unit operated for less than 10               remedy for an exceedance, which is
                                                 generally and has determined that it                    percent of the hours). Because any                     potential application of the CAA’s
                                                 should apply only to units with post-                   operator of a unit with post-combustion                enforcement authorities. The trading
                                                                                                         controls can readily avoid being subject
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                                                 combustion controls, which are the                                                                             program’s primary role of achieving
                                                 units with the greatest ability to manage               to the limitation, there is no need for                required emissions reductions in a more
                                                 their emissions rates through their                     application of the limitation to be                    flexible and cost-effective manner than
                                                 operating behavior. This modification                   deferred to the following control period.              command-and-control regulation is
                                                 will avoid application of a secondary                   Deferral of the limitation’s application               played by the primary emissions
                                                 emissions limitation in situations where                would also have the effect of excusing                 limitation provisions, which are
                                                 a unit’s increase in seasonal average                   a unit’s first contribution to an                      structured as allowance surrender
                                                 NOX emissions rate relative to past                     assurance level exceedance, which the                  requirements. Within this overall


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                                                 trading program structure, the EPA                      areas of Indian country not subject to a                 rulemaking, will update the regulations
                                                 considers it sufficient for the operation               state’s CAA implementation planning                      for the Group 3 trading program 346 to
                                                 of units at emissions rates lower than                  authority as well as ‘‘new’’ units                       reflect the D.C. Circuit’s holding in
                                                 0.08 lb/mmBtu to be incentivized                        anywhere within a state’s borders.345                    ODEQ v. EPA that the relevant states
                                                 through the allowance surrender                         Second, in advance of each control                       have initial CAA implementation
                                                 requirements instead of being mandated                  period, the unreserved portion of the                    planning authority in non-reservation
                                                 through potential application of the                    state budget is allocated among the                      areas of Indian country until displaced
                                                 CAA’s enforcement authorities.                          state’s eligible existing units, any                     by a demonstration of tribal jurisdiction
                                                    The recommendation to raise the                      portion of the state budget reserved for                 over such an area.347 Consistent with
                                                 allowance surrender ratio applicable to                 existing units in Indian country not                     this holding, the EPA is revising
                                                 exceedances of the assurance level if the               subject to the state’s CAA                               language in the Group 3 trading program
                                                 secondary emissions limitation is not                   implementation planning authority is                     regulations that prior to this rule, for
                                                 finalized is moot because the secondary                 allocated among those units, and the                     purposes of allocating allowances from
                                                 emissions limitation is being finalized.                allocations are recorded in the                          a given state’s emissions budget,
                                                 9. Unit-Level Allowance Allocation and                  respective sources’ compliance                           distinguished between (1) the set of
                                                 Recordation Procedures                                  accounts. Finally, after the control                     units within the state’s borders that are
                                                                                                         period but before the compliance                         not in Indian country and (2) the set of
                                                    In this rule, the EPA is establishing                deadline by which sources must hold                      units within the state’s borders that are
                                                 default procedures for allocating CSAPR                 allowances to cover their emissions for                  in Indian country. As revised, the
                                                 NOX Ozone Season Group 3 allowances                     the control period, allowances from the                  provisions now distinguish between (1)
                                                 (‘‘Group 3 allowances’’) in amounts                     portion of the budget reserved for new                   the set of units within the state’s borders
                                                 equal to each state emissions budget for                units are allocated to qualifying units,                 that are not in Indian country or are in
                                                 each control period among the sources                   any remaining reserved allowances not                    areas of Indian country covered by the
                                                 in the state for use in complying with                  allocated to qualifying units are                        state’s CAA implementation planning
                                                 the Group 3 trading program. Like the                   allocated among the state’s existing                     authority and (2) the set of units within
                                                 allocation processes established in                     units, and the allocations are recorded                  the state’s borders that are in areas of
                                                 CSAPR, the CSAPR Update, and the                        in the respective sources’ compliance                    Indian country not covered by the
                                                 Revised CSAPR Update, the revised                       accounts.                                                state’s CAA implementation planning
                                                 allocation process finalized in this rule                  While the overall three-step allocation               authority. The revised language more
                                                 is designed to provide default allowance                process summarized in this section was                   accurately distinguishes which units
                                                 allocations to all units that are subject               also followed in CSAPR, the CSAPR                        are, or are not, covered by a state’s CAA
                                                 to allowance holding requirements. The                  Update, and the Revised CSAPR                            implementation planning authority,
                                                 EPA’s allocations and allocation                        Update, in this rule the EPA is making                   which is the underlying purpose for
                                                 procedures apply for the 2023 control                   revisions to each step to better address                 which the term ‘‘Indian country’’ is
                                                 period 343 and, by default, for                         units in Indian country and to better                    currently used in the allowance
                                                 subsequent control periods unless and                   coordinate the unit-level allocation                     allocation provisions. The effect of the
                                                 until a state or tribe provides state-                  process with the dynamic budget-setting                  revision is that any units located in
                                                 determined or tribe-determined                          process discussed in section VI.B.4 of                   areas of ‘‘Indian country’’ as defined in
                                                 allowance allocations under an                          this document. The revisions to the                      18 U.S.C. 1151 that are covered by a
                                                 approved SIP revision or tribal                         three steps are discussed in sections                    state’s CAA implementation planning
                                                 implementation plan.344                                 VI.B.9.a, VI.B.9.b, and VI.B.9.c,                        authority will be treated for allowance
                                                    The default allocation process for the               respectively.                                            allocation purposes in the same manner
                                                 Group 3 trading program as updated in
                                                                                                         a. Set-Asides of Portions of State                       as units in areas of the state that are not
                                                 this rule involves three main steps.
                                                                                                         Emissions Budgets                                        Indian country, consistent with the
                                                 First, portions of each state emissions
                                                                                                                                                                  ODEQ holding.348
                                                 budget for each control period are                         The first step of the overall unit-level                 The remaining revisions, which are
                                                 reserved for potential allocation to units              allocation process for a given control                   interrelated, concern the types of set-
                                                 that are subject to allowance holding                   period involves reserving portions of                    asides that in the context of this rule
                                                 requirements and that might not                         each state’s budget for the control                      will best accomplish the goal of
                                                 otherwise receive allowance allocations                 period in ‘‘set-asides.’’ In this rule, the              ensuring the availability of allocations
                                                 in the overall allocation process,                      EPA is making several revisions                          to units that are subject to allowance
                                                 including both ‘‘existing’’ units in any                affecting the establishment of set-asides.               holding requirements and that would
                                                                                                         The first revision, which is largely
                                                    343 The rule does not include an option for states
                                                                                                         unrelated to the other aspects of this                      346 As discussed in section VI.B.13, the EPA is
                                                 to replace the EPA’s unit-level allocations for the
                                                 2023 control period because the Agency believes a                                                                also making this revision to the regulations for the
                                                 process for obtaining appropriately authorized             345 Under this rule, the unit-level allocations to    other CSAPR trading programs in addition to the
                                                 allowance allocations determined by a state or tribe    ‘‘existing’’ units are generally computed in the year    Group 3 trading program.
                                                                                                                                                                     347 For additional discussion of the ODEQ v. EPA
                                                 could not be completed in time for those allocations    before the year of each control period, and the
                                                 to be recorded before the end of the 2023 control       determination of whether to treat a particular unit      decision and other issues related to the CAA
                                                 period.                                                 as existing for purposes of that control period’s        implementation planning authority of states, tribes,
                                                    344 The options for states to submit SIP revisions   allocations is made as part of the allocation process,   and the EPA in various areas of Indian country, see
                                                 that would replace the EPA’s default allowance          generally based on whether the Agency has the data       section III.C.2.
                                                                                                         needed to compute an allocation for the unit as an          348 The EPA notes that the units that will be
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                                                 allocations are discussed in sections VI.D.1, VI.D.2,
                                                 and VI.D.3 of this document. Similarly, for a           existing unit. A unit that is subject to allowance       treated for allocation purposes in the same manner
                                                 covered area of Indian country not subject to a         holding requirements for a given control period and      as units not in Indian country will include units in
                                                 state’s CAA implementation planning authority, a        that did not receive an allocation for that control      any areas of Indian country subject to a state’s CAA
                                                 tribe could elect to work with the EPA under the        period as an existing unit is generally eligible to      implementation planning authority, whether those
                                                 Tribal Authority Rule to develop a full or partial      receive an allocation from the portion of the budget     are non-reservation areas (consistent with ODEQ) or
                                                 tribal implementation plan under which the tribe        reserved for ‘‘new’’ units. For further discussion of    reservation areas (such as areas of Indian country
                                                 would determine allowance allocations that would        which units are considered eligible for allocations      within Oklahoma’s borders covered by the EPA’s
                                                 replace the EPA’s default allocations for subsequent    as existing units or new units in particular control     October 1, 2020 approval of Oklahoma’s request
                                                 control periods.                                        periods, see sections VI.B.9.b and VI.B.9.c.             under SAFETEA, as discussed in section III.C.2).



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                                                 not otherwise receive allowance                         accounts at the same time as the                       new unit set-asides is to avoid
                                                 allocations. One revision to the types of               allocations to other sources not in                    unnecessary and potentially inequitable
                                                 set-asides addresses allocations to                     Indian country. The existence of the                   changes to the degree to which
                                                 existing units in Indian country. The                   Indian country existing unit set-aside                 individual existing units contribute to,
                                                 revised geographic scope of the Group 3                 thus will have no substantive effect                   or benefit from, the new unit set-asides.
                                                 trading program under this rule will for                unless and until the relevant state                    The allowances used to establish these
                                                 the first time include an existing EGU in               chooses to replace the EPA’s default                   set-asides are reserved from each state
                                                 Indian country not covered by a state’s                 allowance allocations through a SIP                    emissions budget before determination
                                                 CAA implementation planning                             revision, in which case the state would                of the allocations from the unreserved
                                                 authority—the Bonanza coal-fired unit                   have the ability to establish state-                   portion of the budget to existing units,
                                                 in the Uintah and Ouray Reservation                     determined allocations for the units                   so that certain existing units—generally
                                                 within Utah’s borders. To provide an                    subject to the state’s CAA                             those receiving the largest allocations—
                                                 option for Utah (or a similarly situated                implementation planning authority                      contribute to creation of the set-asides
                                                 state in the future) to replace the                     while the EPA would continue to                        through roughly proportional reductions
                                                 Agency’s default allowance allocations                  administer the Indian country existing                 in their allocations. Later, if any
                                                 to most existing units with state-                      unit set-aside for the units in Indian                 allowances in a set-aside are not
                                                 determined allocations through a SIP                    country not covered by the state’s CAA                 allocated to qualifying new units, the
                                                 revision while continuing to ensure the                 implementation planning authority.350                  remaining allowances are reallocated to
                                                 availability of a default allocation to the             The EPA believes the establishment of                  the existing units in proportion to their
                                                 Bonanza unit, which is not subject to                   Indian country existing unit set-asides                initial allocations from the unreserved
                                                 the state’s jurisdiction or control (or                 accomplishes the objective of allowing                 portion of the budget, so that certain
                                                 similarly situated units in the future),                states to control allowance allocations to             existing units—again, generally those
                                                 the EPA is revising the Group 3 trading                 units covered by their CAA                             receiving the largest allocations—benefit
                                                 program regulations to provide for                      implementation planning authority                      from the reallocations in rough
                                                 ‘‘Indian country existing unit set-                     while ensuring that the allocations to                 proportion to their previous
                                                 asides.’’ Specifically, for each state and              units in Indian country not covered by                 contributions.351 The EPA believes
                                                 for each control period where the set of                such authority remain under Federal                    maintaining this symmetry, where the
                                                 units within a state’s borders eligible to              authority (unless replaced by a tribal                 same existing units—whether in Indian
                                                 receive allocations as existing units                   implementation plan).                                  country or not—both contribute to and
                                                 includes one or more units 349 in an area                  The remaining revisions to the types                potentially benefit from the set-asides, is
                                                 of Indian country not covered by the                    of set-asides address the set-asides used              a reasonable policy objective, and doing
                                                 state’s CAA implementation planning                     to ensure availability of allowance                    so requires that the EPA continue to
                                                 authority, the EPA will reserve a portion               allocations to new units in light of the               administer the new unit set-asides in
                                                 of the state’s emissions budget in an                   division of the budget for existing units              the event a state chooses to replace the
                                                 Indian country existing unit set-aside                  into a reserved portion for existing units             EPA’s default allocations to existing
                                                 for the unit or units. The amount of each               in Indian country and an unreserved                    units with state-determined allocations,
                                                 Indian country existing unit set-aside                  portion for other existing units. Under                because otherwise the EPA would be
                                                 will equal the sum of the default                       the Group 3 trading program regulations                unable to maintain Federal
                                                 allocations that the units covered by the               as in effect before this rule, allowances              implementation authority and ensure
                                                                                                         for new units have been provided from                  that the units in Indian country would
                                                 set-aside would receive if the
                                                                                                         separate new unit set-asides and Indian                receive an appropriate share of any
                                                 allocations to all existing units within
                                                                                                         country new unit set-asides. Under this                reallocated allowances.352 The principal
                                                 the state’s borders were computed
                                                                                                         rule, the EPA is combining these two                   difference between the new unit set-
                                                 according to EPA’s default allocation
                                                                                                         types of set-asides starting with the 2023             asides and the Indian country new unit
                                                 procedure (which is discussed in
                                                                                                         control period by eliminating the Indian               set-asides under the regulations in effect
                                                 section VI.B.9.b of this document).
                                                                                                         country new unit set-asides and                        before this rule was that, if a state chose
                                                 Immediately after determining the
                                                                                                         expanding eligibility for allocations                  to replace the EPA’s default allocations
                                                 amount of a state’s emissions budget for
                                                                                                         from the new unit set-asides to include                with state-determined allocations, the
                                                 a control period (and after reserving a
                                                                                                         units anywhere within the relevant                     state would take over administration of
                                                 portion for potential allocation to new
                                                                                                         states’ borders. However, as with the                  the new unit set-aside, but not any
                                                 units, as discussed later in this section),
                                                                                                         Indian country new unit set-asides                     Indian country new unit set-aside.
                                                 the EPA will first determine the default
                                                                                                         under the current regulations, the EPA
                                                 allocations for all existing units within
                                                                                                         will continue to administer the new unit                  351 Under the regulations in effect before this final
                                                 the state’s borders, then allocate the                                                                         rule, allowances from an Indian country new unit
                                                                                                         set-asides in the event a state chooses to
                                                 appropriate quantity of allowances to                                                                          set-aside that are not allocated to qualifying new
                                                                                                         replace the EPA’s default allocations to               units in Indian country are first transferred to the
                                                 the Indian country existing unit set-
                                                                                                         existing units with state-determined                   state’s new unit set-aside, and if the allowances are
                                                 aside, then allocate the allowances from                                                                       not allocated to qualifying new units elsewhere
                                                                                                         allocations, thereby ensuring the
                                                 the set-aside to the covered units in                                                                          within the state’s borders, the allowances are then
                                                                                                         availability of allocations to any new
                                                 Indian country, and finally record the                                                                         reallocated to the state’s existing units.
                                                                                                         units not covered by a state’s CAA                        352 If units in Indian country were unable to share
                                                 allocations in the sources’ compliance
                                                                                                         implementation planning authority.                     in the benefits of reallocation of allowances from
                                                    349 In coordination with the dynamic budgeting
                                                                                                            The reason for the revisions to the                 the new unit set-asides, it would be possible to
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                                                                                                         new unit set-asides and Indian country                 achieve a different form of symmetry by
                                                 process discussed in section VI.B.4, each unit                                                                 simultaneously exempting the units in Indian
                                                 included in the unit inventory used to determine                                                               country from the obligation to share in the
                                                 a state’s dynamic emissions budget for a given             350 As noted in section VI.D, a tribe could elect
                                                                                                                                                                contribution of allowances to the new unit set-
                                                 control period in 2026 or a later year will be          to work with EPA under the Tribal Authority Rule       asides. However, some stakeholders might view this
                                                 considered an ‘‘existing’’ unit for that control        to develop a full or partial tribal implementation     alternative as potentially inequitable because
                                                 period for purposes of the determination of unit-       plan under which the tribe would determine             existing units in Indian country would then make
                                                 level allowance allocations. In other words, there      allowance allocations for units in the relevant area   no contributions toward the new unit set-aside
                                                 will no longer be a single fixed date that divides      of Indian country that would replace EPA’s default     while other existing units would still be required
                                                 ‘‘existing’’ from ‘‘new’’ units.                        allocations for subsequent control periods.            to do so.



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                                                 Under the revised regulations finalized                                       new unit set-aside for the state would be                                York’s preferences as reflected in an
                                                 in this rule, states will not be able to                                      set at 6 percent, which is the sum of the                                approved SIP addressing allowance
                                                 take over administration of the new unit                                      4 percent for planned units plus the                                     allocations for the Group 2 trading
                                                 set-asides in this situation. Therefore,                                      base 2 percent for unknown new units.                                    program.
                                                 there is no longer any reason to                                              Alternatively, if planned new units are                                     The final regulations issued under
                                                 establish separate Indian country new                                         projected to emit only 1 percent of the                                  this rule specify the new unit set-aside
                                                 unit set-asides in order to preserve                                          state’s budget, the new unit set-aside                                   amounts in terms of the percentages of
                                                 Federal (and potentially tribal) authority                                    would be set at the minimum 5 percent                                    the state emissions budgets. The
                                                 to implement the rule in areas of Indian                                      amount. Except for the addition of the                                   amounts are shown in Tables VI.B.9.a–
                                                 country subject to tribal jurisdiction.                                       5 percent minimum, which is a change                                     1, VI.B.9.a–2, and VI.B.9.a–3 of this
                                                    With respect to the total amounts of                                       being made in response to comments,                                      document show the tonnage amounts of
                                                 allowances that will be set aside for                                         the approach to setting the new unit set-                                the new unit set-asides for the control
                                                 potential allocation to new units from                                        aside amounts is generally the same                                      periods in 2023 through 2025 that are
                                                 the emissions budgets for each state, for                                     approach previously used to establish                                    computed by multiplying the new unit
                                                 the control periods in 2023 through                                           the amounts of new unit set-asides in                                    set-aside percentages by the preset
                                                 2025 (but not for subsequent control                                          CSAPR, the CSAPR Update, and the                                         budgets finalized in this rule for those
                                                 periods, as discussed later in this                                           Revised CSAPR Update for all the                                         control periods. The amounts of the
                                                 section), the EPA is establishing total                                       CSAPR trading programs. See, e.g., 76                                    2023 new unit set-asides are illustrative
                                                 set-aside amounts equal to the projected                                      FR 48292 (August 8, 2011).                                               because they do not reflect the impact
                                                 amounts of emissions from any planned                                           As under the Revised CSAPR Update,                                     of transitional adjustments included in
                                                 units in the state for the control period,                                    the EPA is making an exception for New                                   the rule that that are likely to affect the
                                                 plus an additional base 2 percent of the                                      York for the 2023 through 2025 control                                   2023 budgets as implemented.353 The
                                                 state emissions budget to address any                                         periods, establishing a total new unit                                   amounts of the 2024 and 2025 new unit
                                                 unknown new units, with a minimum                                             set-aside amount for each control period                                 set-asides are the actual amounts,
                                                 total amount of 5 percent. For example,                                       of 5 percent of the state’s emissions                                    because the 2024 and 2025 budgets
                                                 if planned units in a state are projected                                     budget, with no additional                                               computed in this rule are the budgets
                                                 to emit 4 percent of the state’s NOX                                          consideration for planned units, because                                 that will be implemented, without any
                                                 ozone season emissions budget, then the                                       this approach is consistent with New                                     need for transitional adjustments.

                                                  TABLE VI.B.9.a–1—ILLUSTRATIVE CSAPR NOX OZONE SEASON GROUP 3 NEW UNIT SET-ASIDE (NUSA) AMOUNTS FOR
                                                                                        THE 2023 CONTROL PERIOD

                                                                                                                                                                                                                           New unit          New unit
                                                                                                                                                                                                        Emissions          set-aside         set-aside
                                                                                                                      State                                                                              budgets            amount            amount
                                                                                                                                                                                                          (tons)           (percent)           (tons)

                                                 Alabama .......................................................................................................................................              6,379                    5               319
                                                 Arkansas ......................................................................................................................................              8,927                    5               446
                                                 Illinois ...........................................................................................................................................         7,474                    5               374
                                                 Indiana .........................................................................................................................................           12,440                    5               622
                                                 Kentucky ......................................................................................................................................             13,601                    5               680
                                                 Louisiana ......................................................................................................................................             9,363                    5               468
                                                 Maryland ......................................................................................................................................              1,206                    5                60
                                                 Michigan .......................................................................................................................................            10,727                    5               536
                                                 Minnesota ....................................................................................................................................               5,504                    5               275
                                                 Mississippi ....................................................................................................................................             6,210                    5               311
                                                 Missouri ........................................................................................................................................           12,598                    5               630
                                                 Nevada .........................................................................................................................................             2,368                    9               213
                                                 New Jersey ..................................................................................................................................                  773                    5                39
                                                 New York .....................................................................................................................................               3,912                    5               196
                                                 Ohio .............................................................................................................................................           9,110                    6               547
                                                 Oklahoma .....................................................................................................................................              10,271                    5               514
                                                 Pennsylvania ................................................................................................................................                8,138                    5               407
                                                 Texas ...........................................................................................................................................           40,134                    5             2,007
                                                 Utah .............................................................................................................................................          15,755                    5               788
                                                 Virginia .........................................................................................................................................           3,143                    5               157
                                                 West Virginia ................................................................................................................................              13,791                    5               690
                                                 Wisconsin .....................................................................................................................................              6,295                    5               315
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                                                    353 As discussed in section VI.B.12, the EPA                               rule’s transitional provisions so as to ensure that the                  adjusted budgets, but the 2023 budget amounts
                                                 expects that this final rule will become effective                            new budgets will apply only after the rule’s                             shown in Table VI.B.9.a–1 do not reflect these
                                                 after May 1, 2023, causing the emissions budgets for                          effective date. The actual new unit set-asides for the                   adjustments.
                                                 the 2023 control period to be adjusted under the                              2023 control period will be computed using the



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                                                     TABLE VI.B.9.a–2—CSAPR NOX OZONE SEASON GROUP 3 NEW UNIT SET-ASIDE (NUSA) AMOUNTS FOR THE 2024
                                                                                            CONTROL PERIOD
                                                                                                                                                                                                                        New unit        New unit
                                                                                                                                                                                                        Emissions       set-aside       set-aside
                                                                                                                      State                                                                              budgets         amount          amount
                                                                                                                                                                                                          (tons)        (percent)         (tons)

                                                 Alabama .......................................................................................................................................              6,489                 5           324
                                                 Arkansas ......................................................................................................................................              8,927                 5           446
                                                 Illinois ...........................................................................................................................................         7,325                 5           366
                                                 Indiana .........................................................................................................................................           11,413                 5           571
                                                 Kentucky ......................................................................................................................................             12,999                 5           650
                                                 Louisiana ......................................................................................................................................             9,363                 5           468
                                                 Maryland ......................................................................................................................................              1,206                 5            60
                                                 Michigan .......................................................................................................................................            10,275                 5           514
                                                 Minnesota ....................................................................................................................................               4,058                 5           203
                                                 Mississippi ....................................................................................................................................             5,058                 5           253
                                                 Missouri ........................................................................................................................................           11,116                 5           556
                                                 Nevada .........................................................................................................................................             2,589                 9           233
                                                 New Jersey ..................................................................................................................................                  773                 5            39
                                                 New York .....................................................................................................................................               3,912                 5           196
                                                 Ohio .............................................................................................................................................           7,929                 6           476
                                                 Oklahoma .....................................................................................................................................               9,384                 5           469
                                                 Pennsylvania ................................................................................................................................                8,138                 5           407
                                                 Texas ...........................................................................................................................................           40,134                 5         2,007
                                                 Utah .............................................................................................................................................          15,917                 5           796
                                                 Virginia .........................................................................................................................................           2,756                 5           138
                                                 West Virginia ................................................................................................................................              11,958                 5           598
                                                 Wisconsin .....................................................................................................................................              6,295                 5           315


                                                     TABLE VI.B.9.a–3—CSAPR NOX OZONE SEASON GROUP 3 NEW UNIT SET-ASIDE (NUSA) AMOUNTS FOR THE 2025
                                                                                            CONTROL PERIOD
                                                                                                                                                                                                                        New unit        New unit
                                                                                                                                                                                                        Emissions       set-aside       set-aside
                                                                                                                      State                                                                              budgets         amount          amount
                                                                                                                                                                                                          (tons)        (percent)         (tons)

                                                 Alabama .......................................................................................................................................              6,489                 5           324
                                                 Arkansas ......................................................................................................................................              8,927                 5           446
                                                 Illinois ...........................................................................................................................................         7,325                 5           366
                                                 Indiana .........................................................................................................................................           11,413                 5           571
                                                 Kentucky ......................................................................................................................................             12,472                 5           624
                                                 Louisiana ......................................................................................................................................             9,107                 5           455
                                                 Maryland ......................................................................................................................................              1,206                 5            60
                                                 Michigan .......................................................................................................................................            10,275                 5           514
                                                 Minnesota ....................................................................................................................................               4,058                 5           203
                                                 Mississippi ....................................................................................................................................             5,037                 5           252
                                                 Missouri ........................................................................................................................................           11,116                 5           556
                                                 Nevada .........................................................................................................................................             2,545                 9           229
                                                 New Jersey ..................................................................................................................................                  773                 5            39
                                                 New York .....................................................................................................................................               3,912                 5           196
                                                 Ohio .............................................................................................................................................           7,929                 6           476
                                                 Oklahoma .....................................................................................................................................               9,376                 5           469
                                                 Pennsylvania ................................................................................................................................                8,138                 5           407
                                                 Texas ...........................................................................................................................................           38,542                 5         1,927
                                                 Utah .............................................................................................................................................          15,917                 5           796
                                                 Virginia .........................................................................................................................................           2,756                 5           138
                                                 West Virginia ................................................................................................................................              11,958                 5           598
                                                 Wisconsin .....................................................................................................................................              5,988                 5           299



                                                   For control periods in 2026 and later                                       control period. The procedure for                                        the dynamic budget-setting process that
                                                 years, the EPA will allocate a total of 5                                     determining the amounts of the set-                                      may be used to determine budgets
                                                 percent of each state emissions budget                                        asides based on the amounts of the state                                 beginning with the 2026 control period.
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                                                 to a new unit set-aside, with no                                              emissions budgets is being codified in                                   As discussed in section VI.B.4 of this
                                                 additional amount for planned new                                             the Group 3 trading program regulations                                  document, under the dynamic budget-
                                                 units. The amounts of the set-asides for                                      and will reflect the same percentage of                                  setting process, each state’s budget for
                                                 each state and control period will be                                         the emissions budget for all states.                                     each control period will be computed
                                                 computed when the emissions budgets                                             The purpose of the change to the                                       using fleet composition information and
                                                 for the control period are established, by                                    procedure for establishing the amounts                                   the total ozone season heat input
                                                 May 1 of the year before the year of the                                      of the set-asides is to coordinate with                                  reported by all affected units in the state


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                                                 for the most recent control periods                     rule for areas of Indian country subject               of the methodology used in the Revised
                                                 before the budget-setting computations.                 to tribal jurisdiction. The comments and               CSAPR Update to reflect more recent
                                                 (For example, 2026 emissions budgets                    the EPA’s responses are discussed in                   data (for example, the unit inventories
                                                 would be based on 2022–2024 state-                      greater detail in section 1 of the RTC                 used to compute 2026 budgets and
                                                 level heat input data.) Moreover, as                    document.                                              allocations will reflect reported data up
                                                 discussed in section VI.B.9.b of this                   b. Allocations to Existing Units,                      through the 2024 control period). These
                                                 document, the set of units eligible to                  Including Units That Cease Operation                   inventories, which are generally the
                                                 receive allocations as ‘‘existing’’ units in                                                                   same as the inventories used to compute
                                                 a given control period will generally be                   In conjunction with the new and                     dynamic budgets for each control
                                                 the set of units that operated in the                   revised state emissions budget-setting                 period, include any unit whose monitor
                                                 control period two years earlier (with                  methodology for the Group 3 trading                    certification deadline was no later than
                                                 the exception of any units whose                        program finalized in this rulemaking,                  the start of the relevant historical
                                                 monitor certification deadlines fell after              the EPA is necessarily establishing a                  control period and that reported
                                                 the start of that earlier control period).              revised procedure for making unit-level                emissions data during the relevant
                                                 Consequently, by the 2025 control                       allocations of Group 3 allowances to                   historical control period. The EPA notes
                                                 period, all or almost all units that                    existing units.354 The procedure that the              that basing the list of eligible units on
                                                 commenced commercial operation                          EPA is employing to compute the unit-                  the list of units that reported heat input
                                                 before issuance of this rule will be                    level allocations is very similar but not              in the control period two years earlier
                                                 considered ‘‘existing’’ units for purposes              identical to the procedure used to                     than the control period for which
                                                 of budget-setting and allocations, and                  compute unit-level allocations for units               allocations are being determined
                                                 units commencing commercial                             subject to the Group 3 trading program                 represents a revision to the Group 3
                                                 operation after issuance of this rule                   in the Revised CSAPR Update. The                       trading program regulations as in effect
                                                 generally will be considered ‘‘existing’’               steps of the procedure for determining                 before this rule concerning the
                                                 units for all but their first two full                  allocations from each state emissions                  treatment of allocations to retired units.
                                                 control periods of operation (and                       budget for each control period are                     Under the prior regulations, units that
                                                 possibly a preceding partial control                    described in detail in the Unit-Level                  cease operations for two consecutive
                                                 period). Given that new units will not                  Allowance Allocations Final Rule TSD.                  control periods would continue to
                                                 be relying on the new unit set-asides as                The steps are summarized in the                        receive allocations as existing units for
                                                 a permanent source of allowances, as is                 following paragraphs, with changes                     three additional years (that is, a total of
                                                 the case for ‘‘new’’ units under the other              from the procedure followed in the                     five years) before the allowances they
                                                 CSAPR trading programs, the EPA                         Revised CSAPR Update noted.                            would otherwise have received are
                                                                                                            In the first step, the EPA identifies the
                                                 believes it is unnecessary to establish                                                                        reallocated to the new unit set-aside for
                                                                                                         list of units eligible to receive
                                                 set-aside percentages for some states                                                                          the state. Under the regulations as
                                                                                                         allocations for the control period. The
                                                 that are permanently larger than 5                                                                             revised in this rule, units that cease
                                                                                                         unit inventories used to compute unit-
                                                 percent based solely on the fact that                                                                          operation will receive allocations for
                                                                                                         level allocations for the control periods
                                                 projected emissions from planned new                                                                           only two full control periods of non-
                                                                                                         in 2023 through 2025 are the same
                                                 units happen to be a somewhat larger                                                                           operation. While the EPA has in prior
                                                                                                         inventories that have been used to
                                                 proportion of those states’ overall                                                                            transport rulemakings noted a
                                                                                                         determine the preset emissions budget
                                                 budgets at the time of this rule’s                                                                             qualitative concern that ceasing
                                                                                                         for these control periods. These
                                                 issuance.                                                                                                      allowance allocations prematurely
                                                                                                         inventories have been determined in
                                                    The changes to the structure and                                                                            could distort the economic incentives of
                                                                                                         this rulemaking in essentially the same
                                                 amounts of set-asides in this rule largely                                                                     EGUs to continue operating when
                                                                                                         manner as in the Revised CSAPR
                                                 follow the proposal. The EPA received                                                                          retirement is more economical, the EPA
                                                                                                         Update. The procedures for updating
                                                 few comments on these topics. As noted                                                                         believes that anticipated market
                                                                                                         the unit inventories for these control
                                                 previously, one commenter expressed                                                                            conditions (in particular, the incentives
                                                                                                         periods are discussed in section VI.B.4
                                                 the view that if the amounts of the new                                                                        toward power sector transition to
                                                                                                         of this document, and the criteria that
                                                 unit set-asides were based on 2 percent                                                                        cleaner generating sources), particularly
                                                                                                         the EPA has applied to determine
                                                 of the respective states’ budgets, the set-                                                                    in the later 2020s, are such that a
                                                                                                         whether a unit’s scheduled retirement is
                                                 asides would be too small in certain                                                                           continuation of allowance allocations to
                                                                                                         sufficiently certain to serve as a basis for
                                                 circumstances, and in response the final                                                                       retiring units likely has no more than a
                                                                                                         adjusting emissions budgets and unit-
                                                 rule bases the amounts of the set-asides                                                                       de minimis effect on the consideration
                                                                                                         level allocations, are discussed in
                                                 on a floor percentage of 5 percent                                                                             of an EGU whether to retire or not.
                                                                                                         section V.B of this document and in the
                                                 instead of 2 percent. The remaining                     Ozone Transport Policy Analysis Final                     In the second step of the procedure
                                                 commenters expressed a concern that                     Rule TSD.                                              for determining allocations to existing
                                                 the final rule’s provisions regarding set-                 The unit inventories used to compute                units, the EPA will compile a database
                                                 asides should ensure that any tribal                    unit-level allocations for control periods             containing for each eligible unit the
                                                 decisions relating to allowance                         in 2026 and later years will be                        unit’s historical heat input and total
                                                 allocations would not be constrained by                 determined in the year before the                      NOX emissions data for the five most
                                                 state decisions. The EPA had this same                  control period in question based on the                recent ozone seasons. For each unit, the
                                                 concern in mind when designing the                      latest reported emissions and                          EPA will compute an average heat input
                                                 rule and believes that the final set-aside
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                                                                                                         operational data, which is an extension                value based on the three highest non-
                                                 structure—encompassing Indian                                                                                  zero heat input values over the 5-year
                                                 country existing unit set-asides as well                   354 The revisions to the procedures for computing   period, or as the average of all the non-
                                                 as EPA-administered new unit set-                       unit-level allowance allocations in this rulemaking    zero values in the period if there are
                                                 asides for sources in all areas within                  apply only to the Group 3 trading program. In this     fewer than three non-zero values. For
                                                                                                         rulemaking, the EPA is not reopening the
                                                 each state’s borders—fully addresses the                methodology for computing the amounts of
                                                                                                                                                                each unit, the EPA will also determine
                                                 concern, is equitable, and preserves                    allowances allocated to any unit under any other       the maximum total NOX emissions
                                                 Federal and tribal authority under this                 CSAPR trading program.                                 value over the 5-year period. For coal-


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                                                 fired units of 100 MW or larger, the EPA                proportion to the share each unit’s                    while the 2025 allocations will be
                                                 will further determine a ‘‘maximum                      average heat input value represents of                 recorded by July 1, 2024.355
                                                 controlled baseline’’ NOX emissions                     the total of the average heat input values                The default unit-level allocations for
                                                 value, computed as the unit’s maximum                   for all the state’s eligible units, but not            each control period in 2026 or a later
                                                 heat input over the 5-year period times                 more than the unit’s maximum total                     year will be computed immediately
                                                 a NOX emissions rate of 0.08 lb/mmBtu.                  NOX value or, if applicable, the unit’s                following the determination of the state
                                                 The maximum controlled baseline will                    maximum controlled baseline. If the                    emissions budgets for the control
                                                 serve as an additional cap on unit-level                allocations to one or more units are                   period. The EPA will perform the
                                                 allocations for all such coal-fired units               curtailed because of the units’                        computations and issue a notice of data
                                                 starting with the control periods in                    applicable caps, the EPA will iterate the              availability concerning the preliminary
                                                 which the assumed use of SCR controls                   calculation procedure as needed to                     unit-level allocations for each control
                                                 at the units is reflected in the state                  allocate the remaining allowances,                     period by March 1 of the year before the
                                                 emissions budgets. Thus, the maximum                    excluding from each successive iteration               control period. There will be a 30-day
                                                 controlled baseline will apply for                      any units whose allocations have
                                                 purposes of allocations to units with                                                                          period in which objections to the data
                                                                                                         already reached their caps. (If all units              and preliminary computations may be
                                                 existing SCR controls for all control                   in a state reach their caps, any
                                                 periods starting with the 2024 control                                                                         submitted, and the EPA will then make
                                                                                                         remaining allowances are allocated in                  any appropriate revisions and issue
                                                 period and for all other coal-fired units               proportion to the units’ average heat
                                                 of 100 MW or more (except circulating                                                                          another notice of data availability by
                                                                                                         input values, notwithstanding the caps.)               May 1 of the year before the control
                                                 fluidized bed units) starting with the                  This calculation procedure is identical
                                                 2027 control period. These procedures                                                                          period. The EPA will then record the
                                                                                                         to the calculation procedure used in the
                                                 are nearly identical to the procedures                                                                         allocations by July 1 of the year before
                                                                                                         Revised CSAPR Update (as well as the
                                                 used in the Revised CSAPR Update,                                                                              the control period.356
                                                                                                         CSAPR Update and CSAPR), but using
                                                 with three exceptions. First, instead of                caps that reflect both the units’                         All covered states also have options to
                                                 using only the data available at the time               maximum historical NOX values and                      establish state-determined allowance
                                                 of the rulemaking, for each control                     also, where applicable, the maximum                    allocations for control periods in 2024
                                                 period the EPA will use data from the                   controlled baseline values.                            and later years. As discussed in section
                                                 most recent five control periods for                                                                           VI.D.1 of this rule, a state choosing to
                                                 which data had been reported. (For                         Illustrative unit-level allocations for
                                                                                                                                                                establish state-determined allocations
                                                 example, for the 2026 control period,                   the 2023 control period and final unit-
                                                                                                                                                                for the 2024 control period would need
                                                 the EPA will use data for the 2020–2024                 level allocations for the 2024 and 2025
                                                                                                                                                                to submit a letter of intent to the EPA
                                                 control periods.) Second, to simplify the               control periods are being determined in
                                                                                                                                                                by August 4, 2023, and would need to
                                                 data compilation process, the EPA will                  this rulemaking based on the emissions
                                                                                                                                                                submit the SIP revision with the
                                                 use only a five-year period for NOX                     budgets for those control periods also
                                                                                                                                                                allocations by September 1, 2023. The
                                                 mass emissions, in contrast to the 8-year               determined in the rulemaking and are
                                                                                                                                                                EPA would defer recordation of the
                                                 period used in the Revised CSAPR                        included in the docket. The 2023
                                                                                                                                                                2024 allocations for the state’s sources
                                                 Update for NOX mass emissions. Third,                   allocations are only illustrative because,
                                                                                                                                                                until March 1, 2024, to provide time for
                                                 the use of the maximum controlled                       as discussed in section VI.B.12.a, the
                                                                                                                                                                this process to be completed. As
                                                 baseline as an additional cap on                        EPA expects the effective date of the
                                                                                                                                                                discussed in sections VI.D.2 and VI.D.3
                                                 emissions is a change adopted in this                   rule to occur after the start of the 2023
                                                                                                                                                                of this rule, a state choosing to establish
                                                 rule in response to comments received                   control period and consequently expects
                                                                                                                                                                state-determined allocations for control
                                                 on the proposal. Specifically,                          the 2023 control period to be a
                                                                                                                                                                periods in 2025 and later years would
                                                 commenters observed that if a state’s                   transitional period in which the
                                                                                                                                                                need to submit a SIP revision by
                                                 emissions budget is decreased to reflect                emissions budgets determined in this
                                                                                                                                                                December 1 of the year two years before
                                                 an assumption that a particular unit in                 rulemaking apply only for the portion of
                                                                                                                                                                the first year for which state-determined
                                                 the state is capable of reducing its                    the control period occurring on and
                                                                                                                                                                allocations are being established—e.g.,
                                                 emissions through the installation of                   after the rule’s effective date, while any
                                                                                                                                                                by December 1, 2023, for allocations for
                                                 new SCR controls, but the historical                    previously determined emissions
                                                                                                                                                                the 2025 control period—and would
                                                 emissions cap applied to that unit in the               budgets apply for the portion of the
                                                                                                                                                                need to submit the allocations for each
                                                 unit-level allocation methodology does                  control period before the rule’s effective
                                                                                                                                                                control period by June 1 of the year
                                                 not reflect use of the new controls, then               date. The rule’s effective date will
                                                                                                                                                                before the control period—e.g., by June
                                                 the allocation methodology could have                   become known when the rule is
                                                                                                                                                                1, 2024, for allocations for the 2025
                                                 the effect of reducing unit-level                       published in the Federal Register. As
                                                 allocations to the other units in the state             soon as practicable thereafter, the EPA
                                                                                                                                                                   355 The recordation schedule for the 2023 and
                                                 whose historical emissions already                      will calculate the final prorated or                   2024 allocations represents an expected
                                                 reflect use of existing controls rather                 blended 2023 state emissions budgets                   acceleration of the recordation schedule in effect
                                                 than the unit assumed to install new                    and 2023 unit-level allocations based on               immediately before this final rule, which called for
                                                 controls. The EPA agrees with the                       the transitional formulas finalized in                 allocations of 2023 and 2024 Group 3 allowances
                                                                                                                                                                to existing units to be recorded by September 1,
                                                 comment and in this rule has added the                  this action (see section VI.B.12.a of this             2023. See Deadlines for Submission and
                                                 maximum controlled baseline provision                   document) and will communicate the                     Recordation of Allowance Allocations Under the
                                                 to the allocation methodology to                        information to the public through a                    Cross-State Air Pollution Rule (CSAPR) Trading
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                                                 mitigate the potential effect identified                notice of data availability. The 2023 and              Programs and the Texas SO2 Trading Program (the
                                                                                                                                                                ‘‘Recordation Rule’’), 87 FR 52473 (August 26,
                                                 by the commenters.                                      2024 allocations will then be recorded                 2022).
                                                    In the third step of the procedure for               30 days after the effective date of the                   356 The current recordation schedule, which

                                                 determining allocations to existing units               final rule (to provide an interval in                  provides for almost all allowance allocations to
                                                                                                         which to execute the recall of 2023 and                existing units for a given control period under all
                                                 in each state, the EPA will allocate the                                                                       the CSAPR trading programs to be recorded by July
                                                 available allowances for that state                     2024 Group 2 allowances, as discussed                  1 of the year before the year of that control period,
                                                 among the state’s eligible units in                     in section VI.B.12.c of this document),                was adopted in the Recordation Rule.



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                                                 control period.357 The EPA would                        condition, which will facilitate the                   EPA issues a notice of data availability
                                                 record any state-determined allocations                 continued functioning of the Group 2                   concerning the proposed allocations by
                                                 for control periods in 2025 and later                   trading program, to be an appropriate                  March 1 following the control period,
                                                 years by July 1 of the year before the                  exercise of the Agency’s authority under               provides an opportunity for submission
                                                 control period, simultaneously with the                 CAA section 301 (42 U.S.C. 7601) to                    of objections, and issues a final notice
                                                 recordation of allocations to units in                  prescribe such regulations as are                      of data availability and record the
                                                 states where the EPA determines the                     necessary to carry out its functions                   allocations by May 1 following the
                                                 unit-level allocations.                                 under the Act.                                         control period, one month before the
                                                    The EPA notes that for the three states                 The provisions governing allocations                June 1 compliance deadline.
                                                 with approved SIP revisions                             to existing units are being finalized                     This EPA notes that the revisions to
                                                 establishing their own methodologies                    substantially as proposed, except for the              other provisions of the Group 3 trading
                                                 for allocating Group 2 allowances—                      addition of an additional cap on unit-                 program regulations discussed
                                                 Alabama, Indiana, and New York—the                      level allocations in response to                       elsewhere in this document will reduce
                                                 EPA will follow the states’                             comments. The EPA’s responses to                       the portions of the state emissions
                                                 methodologies to the extent possible in                 comments on the unit-level allocation                  budgets that are allocated through the
                                                 developing the EPA’s allocations of                     provisions for existing units are in                   new unit set-asides. Specifically,
                                                 Group 3 allowances to the units in those                section 5 of the RTC document.                         because the new unit set-asides will no
                                                 states for the control periods in 2023                                                                         longer receive any additional
                                                                                                         c. Allocations From Portions of State
                                                 through 2025.358 The EPA will not                                                                              allowances when units retire, for control
                                                                                                         Emissions Budgets Set Aside for New
                                                 follow any state-specific methodologies                                                                        periods in 2025 and later years the
                                                                                                         Units
                                                 as part of the procedures for                                                                                  amounts of allowances in the new unit
                                                 determining default unit-level                             The Group 3 trading program                         set-asides will always be 5 percent of
                                                 allocations of Group 3 allowances for                   regulations provide for the EPA to                     the respective state emissions budgets
                                                 control periods in 2026 or later years.                 allocate allowances from each new unit                 for the respective control periods. This
                                                 However, like other states, these three                 set-aside after the end of the control                 limit on growth of the new unit set-
                                                 states have options to replace the EPA’s                period at issue. An eligible new unit for              asides is appropriate given that the
                                                 default allocations with state-                         purposes of allocations from a set-aside               number of consecutive control periods
                                                 determined allocations through SIP                      for a given control period is generally                for which any particular unit is likely to
                                                 revisions starting with the 2024 control                any unit in the relevant area that                     receive allocations from a state’s new
                                                 period.                                                 reported emissions subject to allowance                unit set-aside will be reduced to two full
                                                    As an exception to all of the                        surrender requirements during the                      control periods (and possibly a partial
                                                 recordation deadlines that would                        control period and that was not eligible               control period before those two control
                                                 otherwise apply, the EPA will not                       to receive an allowance allocation as an               periods) before the unit becomes eligible
                                                 record any allocations of Group 3                       ‘‘existing’’ unit for the control period.              to receive allocations as an ‘‘existing’’
                                                 allowances in a source’s compliance                     Thus, in addition to units that have not               unit from the unreserved portion of the
                                                 account unless that source has complied                 yet completed two full control periods                 state’s emissions budget. This approach
                                                 with the requirements to surrender                      of operation since their monitor                       contrasts with the approach under the
                                                 previously allocated 2023–2024 Group 2                  certification deadlines, units eligible for            other CSAPR trading programs where a
                                                 allowances. The surrender requirements                  allocations from the new unit set-asides               new unit never becomes eligible to
                                                 are necessary to maintain the previously                may also include existing coal-fired                   receive allocations from the unreserved
                                                 established levels of stringency of the                 units that first lose their eligibility for            portion of the emissions budget and
                                                 Group 2 trading program for the states                  allocations from the unreserved portion                where the new unit set-aside therefore
                                                 and sources that remain subject to that                 of the applicable state budget by ceasing              needs to grow to accommodate an ever-
                                                 program under this final rule. The EPA                  operation, and then resume operation in                increasing share of the state’s total
                                                 finds that it is reasonable to condition                a later control period. The regulations                emissions.
                                                 the recordation of Group 3 allowances                   call for the EPA to allocate allowances                   The EPA also notes that, as discussed
                                                 on compliance with the surrender                        to any eligible ‘‘new’’ units in the state             in sections VI.D.2 and VI.D.3 of this
                                                 requirements because the condition will                 generally in proportion to their                       document, in the event that a state
                                                 spur compliance and will not impose an                  respective emissions during the control                chooses to replace EPA’s default
                                                 inappropriate burden on sources. The                    period, up to the amounts of those                     allowance allocations under the Group
                                                 EPA considers establishment of this                     emissions if the relevant set-aside                    3 trading program with state-determined
                                                                                                         contains sufficient allowances, and not                allocations through a SIP revision, the
                                                    357 The current deadlines for states to submit       exceeding those emissions. However, in                 EPA will continue to administer the
                                                 state-determined allowance allocations to the EPA       the case of a unit whose allocation for                portion of each state emissions budget
                                                 were adopted in the Recordation Rule and are
                                                 coordinated with the schedule for computation of
                                                                                                         the control period would have been                     reserved in a new unit set-aside to
                                                 state emissions budgets for control periods in 2026     subject to a maximum controlled                        ensure the availability of allowance
                                                 and later years. For example, for the 2026 control      baseline if the unit was eligible to                   allocations to new units in any areas of
                                                 period, by May 1, 2025, the EPA will publish the        receive allocations as an existing unit,               Indian country within the state not
                                                 final state emissions budgets and the EPA’s default
                                                 unit-level allocations; by June 1, 2025, states will    the unit’s allocation from the new unit                covered by the state’s CAA
                                                 submit any state-determined unit-level allocations      set-aside will not exceed a cap equal to               implementation planning authority.
                                                 that would replace the default allocations; and by      the unit’s reported heat input for the                    The final rule’s provisions concerning
                                                 July 1, 2025, the EPA will record the default unit-                                                            unit-level allocations from the new unit
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                                                                                                         control period times an emissions rate
                                                 level allocations or the state-determined unit-level
                                                 allocations, as applicable, in sources’ compliance      of 0.08 lb/mmBtu.                                      set-asides are unchanged from the
                                                 accounts.                                                  Any allowances remaining in a new                   proposal except for the addition of the
                                                    358 For discussion of how the EPA is using the       unit set-aside after the allocations to                allocation cap in a given control period
                                                 previously approved allocation methodologies for        new units are reallocated to the existing              for any unit that would have been
                                                 Alabama, Indiana, and New York to determine
                                                 allocations to units in these states for the 2023–
                                                                                                         units in the state in proportion to those              subject to a maximum controlled
                                                 2025 control periods, see the Allowance Allocation      units’ previous allocations for the                    baseline if the unit was eligible to
                                                 Final Rule TSD.                                         control period as existing units. The                  receive an allocation as an existing unit


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                                                 for that control period.359 This change                 revisions to provide that, starting with               requirements under the Group 3 trading
                                                 was made to address the same                            allowances allocated for the 2024                      program starting with the 2024 control
                                                 comments discussed in section VI.B.9.b                  control period, any incorrectly allocated              period. Second, to implement the
                                                 of this document that caused the                        allowances that are recovered after the                trading program enhancements, the EPA
                                                 Agency to add the maximum controlled                    deadline for allocating allowances from                is adding certain new recordkeeping
                                                 baseline provision to the procedure for                 the new unit set-aside for that control                and reporting requirements, which will
                                                 allocating allowances to existing units.                period (i.e., May 1 of the year following              be implemented through amendments to
                                                 The Agency did not receive any other                    the control period) will be transferred to             the regulations in 40 CFR part 75 and
                                                 comments on the proposed provisions                     a surrender account instead of being                   will apply starting January 1, 2024.
                                                 concerning unit-level allocations of                    reallocated to other units in the state.               Sources generally will be able to meet
                                                 allowances from the new unit set-asides.                The EPA received no comments on this                   the additional recordkeeping and
                                                                                                         proposed revision, which is being                      reporting requirements using the data
                                                 d. Incorrectly Allocated Allowances
                                                                                                         finalized as proposed.                                 that are already collected by their
                                                    The Group 3 trading program                                                                                 current monitoring systems, and the
                                                 regulations as promulgated in the                       10. Monitoring and Reporting
                                                                                                                                                                EPA is not requiring the installation of
                                                 Revised CSAPR Update include                            Requirements
                                                                                                                                                                additional monitoring systems at any
                                                 provisions addressing incorrectly                          The Group 3 trading program requires                source. However, a small number of
                                                 allocated allowances. With regard to any                monitoring and reporting of emissions                  sources with common stacks could find
                                                 allowances that were incorrectly                        and heat input data in accordance with                 it advantageous to upgrade their
                                                 allocated and are subsequently                          the provisions of 40 CFR part 75. Under                monitoring systems so as to monitor at
                                                 recovered, the provisions as in effect                  40 CFR part 75, a given unit may have                  the individual units instead of
                                                 prior to this rule have generally called                several options for monitoring and                     monitoring at the common stack. The
                                                 for the recovered allowances to be                      reporting. Any unit can use CEMS.                      Group 3 trading program monitor
                                                 reallocated to other units in the relevant              Qualifying gas- or oil-fired units can use             certification deadline revisions and the
                                                 state (or Indian country within the                     certain excepted monitoring                            additional recordkeeping and reporting
                                                 borders of the state) through the process               methodologies that rely in part on fuel-               requirements are discussed in sections
                                                 for allocating allowances from the new                  flow metering in combination with                      VI.B.10.a and VI.B.10.b, respectively.360
                                                 unit set-aside (or Indian country new                   CEMS-based or testing-based NOX
                                                 unit set-aside) for the state. If the                   emissions rate data. Certain non-coal-                 a. Monitor Certification Deadlines
                                                 procedures for allocating allowances                    fired, low-emitting units can use a low                   In general, a unit subject to the Group
                                                 from the set-asides have already been                   mass emissions (LME) methodology,                      3 trading program must monitor and
                                                 carried out for the control period for                  and sources can seek approval of                       report emissions data using certified
                                                 which the recovered allowances were                     alternative monitoring systems                         monitoring systems starting as of the
                                                 issued, the allowances would be                         approved by the Administrator through                  date the unit enters the trading program
                                                 allocated through the set-asides for                    a petition process. Each CEMS must                     or, if later, 180 days after the unit
                                                 subsequent control periods.                             undergo rigorous initial certification                 commences commercial operation.
                                                    The EPA continues to view the                        testing and periodic quality assurance                 Where an EGU has already certified and
                                                 current provisions for disposition of                   testing thereafter, including the use of               maintained monitoring systems in
                                                 recovered allowances as reasonable in                   relative accuracy test audits and 24-hour              accordance with 40 CFR part 75 for
                                                 the case of any allowances that are                     calibrations. In addition, when a                      purposes of another trading program, no
                                                 recovered before the deadline for                       monitoring system is not operating                     recertification solely for purposes of
                                                 recording allocations of allowances from                properly, standard substitute data                     entering the Group 3 trading program is
                                                 the new unit set-aside for the control                  procedures are applied to produce a                    required. Under these pre-existing
                                                 period for which the recovered                          conservative estimate of emissions for                 provisions of the Group 3 trading
                                                 allowances were issued. However, in                     the period involved. Further, 40 CFR                   program regulations, nearly all currently
                                                 the case of any allowances that are                     part 75 requires electronic submission                 operating EGUs transitioning to the
                                                 recovered after that deadline, adding the               of quarterly emissions reports to the                  trading program under this rule are
                                                 recovered allowances to the new unit                    Administrator, in a format prescribed by               positioned to begin monitoring and
                                                 set-aside for a subsequent control                      the Administrator. The quarterly reports               reporting under the trading program as
                                                 period, as provided in the current                      will contain all the data required                     of their dates of entry (or if later, 180
                                                 regulations, would be inconsistent with                 concerning ozone season NOX emissions                  days after they commence commercial
                                                 the trading program enhancements                        under the Group 3 trading program.                     operation) because of the units’ previous
                                                 discussed elsewhere in this document,                      In this rulemaking, as proposed, the                requirements to monitor and report
                                                 where the amounts of allowances                         EPA is making two changes to the                       emissions under other programs
                                                 provided in the state emissions budgets                 Group 3 trading program’s previous                     including the CSAPR NOX Ozone
                                                 for each control period are designed to                 requirements related to monitoring,                    Season Group 2 Trading Program (for
                                                 reflect the most current available                      recordkeeping, and reporting. First, the
                                                 information on fleet composition and                    EPA is revising the monitor certification                360 The EPA is not amending the existing

                                                 utilization and where the quantities of                 deadline in the Group 3 trading program                provisions of the Group 3 trading program
                                                                                                                                                                regulations that govern whether units covered by
                                                 banked allowances available for use in                  regulations applicable to certain units                the program must record and report required data
                                                 each control period are recalibrated for                that have not already certified                        on a year-round basis or may elect to record and
                                                                                                         monitoring systems for use under 40
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                                                 consistency with the state emissions                                                                           report required data on an ozone season-only basis.
                                                 budgets. The EPA is therefore finalizing                CFR part 75. This revision is expected                 See 40 CFR 97.1034(d)(1); see also 40 CFR 75.74(a)-
                                                                                                                                                                (b). Thus, for units that are required or elect to
                                                                                                         to provide approximately 15 EGUs in                    report other data on a year-round basis, the
                                                   359 As discussed in section IX.B of this rule, the    Nevada and Utah with 180 days                          additional recordkeeping and reporting
                                                 EPA is relocating some of the regulatory provisions     following the rule’s effective date to                 requirements will also apply year-round, while for
                                                 relating to administration of the new unit set-asides                                                          units that are allowed and elect to report other data
                                                 and is also removing certain provisions that are
                                                                                                         certify monitoring systems, with the                   on an ozone season-only basis, the additional
                                                 made obsolete by revisions to other provisions of       consequence that the units are expected                requirements will also apply for the ozone season
                                                 the Group 3 trading program regulations.                to become subject to allowance holding                 only.



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                                                 units in Alabama, Arkansas,                             fuel in their monitoring plans, serving                emissions rates for certain coal-fired
                                                 Mississippi, Missouri, Oklahoma, Texas,                 generators of 100 MW or larger, and                    units, and secondary emissions
                                                 and Wisconsin), the CSAPR NOX                           equipped with SCR controls on or                       limitations for units contributing to
                                                 Annual Trading Program (for units in                    before the end of the previous control                 assurance level exceedances all require
                                                 Minnesota), and the Acid Rain Program                   period (except circulating fluidized bed               the use of unit-level reported data on
                                                 (for most units in Nevada and Utah).                    units) will be required to record and                  NOX mass emissions (or unit-level NOX
                                                    As discussed in section VI.B.3 of this               report total daily NOX emissions and                   emissions rates computed in part based
                                                 document, the EPA has identified 15                     total daily heat input, daily average NOX              on unit-level reported data on NOX mass
                                                 potentially affected units in Nevada and                emissions rate, and daily NOX emissions                emissions). To facilitate the
                                                 Utah that commenced commercial                          exceeding the backstop daily NOX                       implementation of these provisions, the
                                                 operation more than 180 days before the                 emissions rate. The units will also be                 final rule requires all units covered by
                                                 effective date of this rule and that do not             required to record and report                          the Group 3 trading program exhausting
                                                 currently report emissions data to the                  cumulative NOX emissions exceeding                     to common stacks to record and report
                                                 Agency under 40 CFR part 75.361 To                      the backstop daily NOX emissions rate                  unit-level hourly and cumulative NOX
                                                 ensure that units in this situation have                for the ozone season and any portion of                mass emissions data starting January 1,
                                                 sufficient time to certify monitoring                   such cumulative NOX emissions                          2024. To obtain the necessary unit-level
                                                 systems as required under this rule, the                exceeding 50 tons. Starting January 1,                 hourly mass emissions values, the
                                                 final rule establishes a monitoring                     2030, the same recordkeeping and                       revised regulations rule allow the units
                                                 certification deadline of 180 days after                reporting requirements will apply to all               to apportion hourly mass emissions
                                                 the effective date of the rule for affected             units listing coal as a fuel in their                  values determined at the common stack
                                                 units that are not already required to                  monitoring plans and serving generators                in proportion to the individual units’
                                                 report emissions under 40 CFR part 75                   of 100 MW or larger (except circulating                recorded hourly heat input. The
                                                 under another program, equivalent to                    fluidized bed units), including units not              apportionment procedure is very similar
                                                 the 180-day window already provided                     equipped with SCR controls. These data                 to the apportionment procedure that
                                                 to units commencing commercial                          will be used to determine the allowance                most such units already apply to
                                                 operation after (or less than 180 days                  surrender requirements related to the                  compute reported unit-level heat input
                                                 before) the final rule’s effective date.                backstop daily NOX emissions rates.                    data. Where sources choose to obtain
                                                 The 180th day for units in this situation               Implementation of these additional                     the additional required data values
                                                 will likely fall after the end of the 2023              recordkeeping and reporting                            through apportionment, implementation
                                                 ozone season, with the result that the                  requirements would necessitate a one-                  of the additional recordkeeping and
                                                 certification deadline will be extended                 time update to the units’ data                         reporting requirements will necessitate
                                                 until May 1, 2024, the first day of the                 acquisition and handling systems but                   a one-time update to the units’ data
                                                 2024 ozone season. Because the Group                    would not require any changes to the                   acquisition and handling systems but
                                                 3 trading program’s allowance holding                   monitoring systems already needed to                   will not require any changes to the
                                                 requirements apply to a given unit only                 meet other requirements under 40 CFR                   monitoring systems already needed to
                                                 after that unit’s monitor certification                 part 75.                                               meet other requirements under 40 CFR
                                                 deadline, the units in this situation                      The second type of additional                       part 75.
                                                 consequently will become subject to                     recordkeeping and reporting
                                                 allowance holding requirements as of                    requirements applies to units                             For most units sharing common
                                                 the 2024 ozone season rather than the                   exhausting to common stacks. For these                 stacks, the EPA expects that the
                                                 2023 ozone season.                                      units, 40 CFR part 75 includes options                 reported unit-specific hourly NOX
                                                    The EPA received no comments on                      that often allow monitoring to be                      emissions values computed through the
                                                 the provisions establishing a monitor                   conducted at the common stack on a                     apportionment procedures will
                                                 certification deadline 180 days after the               combined basis for all the units as an                 reasonably approximate the values that
                                                 effective date of this rule for affected                alternative to installing separate                     could be obtained through installation
                                                 units that are not already required to                  monitoring systems for the individual                  and operation of separate monitoring
                                                 report emissions under 40 CFR part 75,                  units in the ductwork leading to the                   systems for the individual units,
                                                 and the provisions are being finalized as               common stack. The units then keep                      because the units exhausting to the
                                                 proposed.                                               records and report hourly and                          common stack would be expected to
                                                                                                         cumulative NOX mass emissions and in                   have similar NOX emissions rates.
                                                 b. Additional Recordkeeping and                                                                                However, the EPA also recognizes that
                                                                                                         many cases heat input data on a
                                                 Reporting Requirements                                                                                         at some plants, particularly those where
                                                                                                         combined basis for all units exhausting
                                                    To facilitate implementation of the                  to the common stack. With respect to                   SCR-equipped and non-SCR-equipped
                                                 backstop daily NOX emissions rates for                  heat input data, but not NOX mass                      coal-fired units share a common stack,
                                                 certain coal-fired units, the secondary                 emissions data, most such units have                   unit-level values determined through
                                                 emissions limitations for units                         also been required historically to record              apportionment based on electricity or
                                                 contributing to assurance level                         and report hourly and cumulative data                  steam output could overstate the
                                                 exceedances, and the revised default                    on an individual-unit basis, and where                 reported NOX mass emissions for the
                                                 unit-level allowance allocation                         necessary they typically have computed                 SCR-equipped units and
                                                 procedures, the final rule amends 40                    the necessary unit-level hourly heat                   correspondingly understate the reported
                                                 CFR part 75 to establish two sets of                    input values by apportioning the                       NOX mass emissions for the non-SCR-
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                                                 additional recordkeeping and reporting                  combined hourly heat input values for                  equipped units.362 As proposed, the
                                                 requirements. The first set of additional               the common stack in proportion to the
                                                 recordkeeping and reporting                             individual units’ recorded hourly                        362 The EPA is aware of five plants in the states

                                                 requirements is specific to the backstop                output of electricity or steam. See                    covered by this rule where SCR-equipped and non-
                                                 daily emissions rate provisions. Starting               generally 40 CFR 75.72.                                SCR-equipped coal-fired units exhaust to a common
                                                                                                                                                                stack: Clifty Creek in Indiana; Cooper, Ghent, and
                                                 January 1, 2024, units listing coal as a                   In this rulemaking, the provisions                  Shawnee in Kentucky; and Sammis in Ohio. The
                                                                                                         governing default unit-level allowance                 owners of the Sammis plant have announced plans
                                                   361 The units are listed in Table VI.B.3–1.           allocations, backstop daily NOX                        to retire the plant in 2023.



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                                                 final rule leaves in place the existing                 owners of some units sharing common                    11. Designated Representative
                                                 options under 40 CFR part 75 for plants                 stacks might find it advantageous to                   Requirements
                                                 to upgrade their monitoring equipment                   upgrade their monitoring systems, the                     As noted in section VI.B.1.a of this
                                                 to monitor on a unit-specific basis                     final rule does not mandate such                       document, a core design element of all
                                                 instead of at the common stack. Plant                   upgrades and explicitly provides a                     the CSAPR trading programs is the
                                                 owners may find this option attractive if               reporting option that can be used if a                 requirement that each source must have
                                                 they believe it would reduce the                        plant owner continues to monitor only                  a designated representative who is
                                                 quantities of reported emissions                        at the common stack. For example, a                    authorized to represent all of the
                                                 exceeding the backstop daily emissions                  plant owner might choose not to                        source’s owners and operators and is
                                                 rate.
                                                                                                         upgrade monitoring systems if the                      responsible for certifying the accuracy
                                                    The EPA is finalizing the additional
                                                 recordkeeping and reporting                             owner does not plan to operate the non-                of the source’s reports to the EPA and
                                                 requirements generally as proposed,                     SCR-equipped units sharing the stack                   overseeing the source’s Allowance
                                                 with modifications as needed to                         frequently. Regarding the contention                   Management System account. The
                                                 accommodate the changes in the                          that the cost of additional monitoring                 necessary authorization of a designated
                                                 backstop daily emissions rate provisions                systems should be considered a cost of                 representative is certified to the EPA in
                                                 from proposal discussed in sections                     the rule, the EPA notes that the                       a certificate of representation.
                                                 VI.B.1.c.i and VI.B.1.7. No comments                    monitoring cost estimates that the                        The existing designated representative
                                                 were received on the recordkeeping and                  Agency regularly develops for 40 CFR                   provisions in the Group 3 trading
                                                 reporting requirements added to                         part 75 already reflect the conservative               program regulations already provide
                                                 facilitate implementation of the                        assumption that all affected units                     that the EPA will interpret references to
                                                 backstop daily emissions rate.                          perform monitoring on a unit-specific                  the Group 2 trading program in certain
                                                 Comments on the requirement to report                                                                          documents—including a certificate of
                                                                                                         basis.
                                                 unit-specific NOX emissions data for                                                                           representation as well as a notice of
                                                                                                            With respect to the comment asserting               delegation to an agent or an application
                                                 units sharing common stacks are
                                                                                                         an inability to install unit-specific                  for a general account—as if the
                                                 addressed in the following paragraphs.
                                                    Comment: Some commenters claimed                     monitoring equipment because of a lack                 documents referenced the Group 3
                                                 that for plants where SCR-equipped and                  of suitable locations, the EPA does not                trading program instead of the Group 2
                                                 non-SCR-equipped coal-fired units                       believe the commenter has provided                     trading program. For these reasons,
                                                 share common stacks, the rule as                        sufficient information to support the                  sources that have participated in the
                                                 proposed would have effectively                         assertion. Although the commenter cites                Group 2 trading program and that are
                                                 mandated installation of unit-specific                  the EPA Method 1 location criteria, the                transitioning to the Group 3 trading
                                                 monitoring systems in order to comply                   CEMS location provisions in 40 CFR                     program under this rule will not need to
                                                 with the backstop daily emissions rate                  part 75 do not reference those location                submit any new forms as part of the
                                                 provisions. The commenters generally                    criteria but instead reference the EPA                 transition, because previously submitted
                                                 requested that application of the                       Performance Specification 2 location                   forms will be valid for purposes of the
                                                 backstop daily rate provisions be                       criteria, which recommend that a CEMS                  Group 3 trading program.
                                                 delayed for plants with common stacks                   be located at least two duct diameters                    For a source that is newly affected
                                                 until all units sharing the stacks were                 downstream and a half duct diameter                    under the Group 3 trading program and
                                                 subject to the provisions. Alternatively,               upstream from a point at which a                       that is not currently affected under the
                                                 they claimed that the EPA should                                                                               Group 2 trading program, a designated
                                                                                                         change in pollutant concentration may
                                                 consider the cost of the additional unit-                                                                      representative who has been duly
                                                                                                         occur.363 Thus, while the commenter
                                                 specific monitoring system to be a cost                                                                        authorized by the source’s owners and
                                                                                                         states that its units do not have straight
                                                 of the rule.                                                                                                   operators must submit a new or updated
                                                    One commenter claimed that the                       runs of ductwork ten duct diameters                    certificate of representation to the EPA.
                                                 option to install unit-specific                         long, the relevant siting criteria actually            The EPA will not record any Group 3
                                                 monitoring systems for the units sharing                call for straight runs of ductwork only                allowances allocated to a source in the
                                                 a common stack at its plant was not                     2.5 duct diameters long, and the                       source’s compliance account until a
                                                 feasible because of a lack of locations in              commenter has not provided                             certificate of representation has been
                                                 the units’ ductwork suitable for                        information indicating that these criteria             submitted for the source. If a source is
                                                 installation of the monitoring                          could not be met. Moreover, even EPA                   also affected under other CSAPR trading
                                                 equipment. Specifically, the commenter                  Method 1 does not require monitoring                   programs or the Acid Rain Program, the
                                                 claimed that EPA Method 1 requires                      equipment to be located eight duct                     same individual must be the source’s
                                                 monitoring equipment to be located at                   diameters upstream and two duct                        designated representative for purposes
                                                 least eight duct diameters downstream                   diameters downstream of any flow                       of all the programs.
                                                 and two duct diameters upstream of any                  disturbance. While the method                             The EPA did not propose and is not
                                                 flow disturbance and stated that the                    recommends those distances as the first                finalizing any changes to the designated
                                                 units had no straight runs of ductwork                  option, the method also allows for                     representative requirements. The EPA
                                                 sufficiently long to meet these criteria.               locations two duct diameters upstream                  received no comments on the provisions
                                                    Response: The EPA’s response to                      and a half duct diameter upstream from                 of the proposal relating to these
                                                 comments about the application of                       any flow disturbance, as well as other                 requirements.
                                                 backstop rate requirements to units
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                                                                                                         locations if certain performance criteria              12. Transitional Provisions
                                                 sharing common stacks is in section                     can be met.364
                                                 VI.B.7 of this document. With respect to                                                                         This section discusses several
                                                 assertions that the rule effectively                      363 Appendix B to 40 CFR part 60, Performance
                                                                                                                                                                provisions that the EPA will implement
                                                 mandates installation of unit-specific                  Specification 2, sec. 8.1.2; see also appendix A to
                                                                                                                                                                to address the transition of sources into
                                                 monitoring systems, the EPA disagrees.                  40 CFR part 75, section 1.1.                           the Group 3 trading program as revised.
                                                 Although the EPA pointed out the                          364 Appendix A–1 to 40 CFR part 60, Method 1,        The purposes of the transitional
                                                 option in the proposal, anticipating that               sec. 11.1.                                             provisions are generally the same as the


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                                                 purposes of the analogous transitional                   limits, assurance levels, and unit-level               allocations for both the 2023 and 2024
                                                 provisions promulgated in the Revised                    allocations for 2023 will all be                       control periods will be recorded in
                                                 CSAPR Update: first, addressing the                      computed using the appropriately                       facilities’ compliance accounts
                                                 likelihood that the effective date of this               prorated emissions budgets amounts.367                 approximately 30 days after the rule’s
                                                 rule will fall after the starting date of the               As discussed in section VI.B.2 of this              effective date, as discussed in section
                                                 first affected ozone season (which in                    document, in the case of the three states              VI.B.9.b of this document.
                                                 this case is, May 1, 2023); second,                      (and Indian country within the states’                    In the case of the states (and Indian
                                                 establishing an appropriately-sized                      borders) whose sources do not currently                country within the states’ borders)
                                                 initial allowance bank through the                       participate in either the Group 2 trading              whose sources currently participate in
                                                 conversion of previously banked                          program or the Group 3 trading                         the Group 3 trading program—Illinois,
                                                 allowances; and third, preserving the                    program—Minnesota, Nevada, and                         Indiana, Kentucky, Louisiana,
                                                 intended stringency of the Group 2                       Utah—the sources will begin                            Maryland, Michigan, New Jersey, New
                                                 trading program for the sources that will                participating in the Group 3 trading                   York, Ohio, Pennsylvania, Virginia, and
                                                 continue to be subject to that                           program on the later of May 1, 2023, or                West Virginia—the sources will
                                                 program.365 However, the sources that                    the rule’s effective date. For these states,           continue to participate in the Group 3
                                                 will be participants in the revised Group                in the rulemaking the EPA has                          trading program for the 2023 control
                                                 3 trading program under this rule are                    computed the full-season emissions                     period, subject to prorating procedures
                                                 transitioning from several different                     budgets that would have applied for the                designed to ensure that the changes in
                                                 starting points—with some sources                        entire 2023 control period if the final                2023 emissions budgets and assurance
                                                 already in the existing Group 3 trading                  rule had become effective no later than
                                                                                                                                                                 levels will not substantively affect the
                                                 program, some sources coming from the                    May 1, 2023, and were therefore in
                                                                                                                                                                 sources’ requirements prior to the rule’s
                                                 Group 2 trading program, and some                        effect for the entire 153-day control
                                                                                                                                                                 effective date. For these states, in the
                                                 sources not currently participating in                   period from May 1, 2023, through
                                                                                                                                                                 rulemaking the EPA has computed the
                                                 any seasonal NOX trading program. The                    September 30, 2023. Assuming that the
                                                                                                                                                                 full-season emissions budgets that
                                                 EPA is therefore finalizing transitional                 final rule becomes effective after May 1,
                                                                                                                                                                 would have applied for the entire 2023
                                                 provisions that differ across the sets of                2023, as expected, the EPA will
                                                                                                                                                                 control period if the final rule had
                                                 potentially affected sources based on the                determine prorated emissions budgets
                                                                                                                                                                 become effective no later than May 1,
                                                 sources’ different starting points.                      for the 2023 control period by
                                                                                                                                                                 2023, but the EPA has also retained in
                                                                                                          multiplying each full-season emissions
                                                 a. Prorating Emissions Budgets,                          budget by the number of days from the                  the regulations the full-season emissions
                                                 Assurance Levels, and Unit-Level                         rule’s effective date through September                budgets for the 2023 control period that
                                                 Allowance Allocations in the Event of                    30, 2023, dividing by 153 days, and                    were established in the Revised CSAPR
                                                 an Effective Date After May 1, 2023                      rounding to the nearest allowance. The                 Update rulemaking. The EPA has added
                                                    The EPA expects that the effective                    prorated variability limits for the 2023               a provision to the regulations indicating
                                                 date of this rule will fall after the start              control period will be computed by first               that the emissions budgets promulgated
                                                 of the Group 3 trading program’s 2023                    determining for each state the                         in the Revised CSAPR Update will
                                                 control period on May 1, 2023, because                   percentage by which the state’s reported               apply on a prorated basis for the portion
                                                 the effective date of the rule will be 60                heat input for the full 2023 ozone                     of the 2023 control period before the
                                                 days after the date of the final rule’s                  season (i.e., May 1, 2023 through                      final rule’s effective date and the
                                                 publication in the Federal Register. The                 September 30, 2023) exceeds the heat                   emissions budgets established in this
                                                 EPA is addressing this circumstance by                   input used to compute the state’s full-                rulemaking will apply on a prorated
                                                 determining the amounts of emissions                     season 2023 emissions budget under                     basis for the portion of the 2023 control
                                                 budgets and unit-level allowance                         this rule and then multiplying the                     period on and after the final rule’s
                                                 allocations on a full-season basis in the                higher of this percentage or 21 percent                effective date. Under this provision, the
                                                 rulemaking and by also including                         by the state’s prorated emissions budget               EPA will determine a blended emissions
                                                 provisions in the revised regulations to                 and rounding to the nearest allowance,                 budget for each state for the 2023
                                                 prorate the full-season amounts as                       yielding prorated assurance levels that                control period, computed as the sum of
                                                 needed to ensure that no sources                         equal a minimum of 121 percent of the                  the appropriately prorated amounts of
                                                 become subject to new or more stringent                  prorated emissions budgets. To                         the state’s previous and revised
                                                 regulatory requirements before the final                 determine unit-level allocation amounts                emissions budgets. (For example, if the
                                                 rule’s effective date.366 Variability                    from the prorated emissions budgets,                   final rule becomes effective on the
                                                                                                          the EPA will apply the unit-level                      eleventh day of the 153-day 2023
                                                    365 As discussed in section VI.B.1.d, the EPA is
                                                                                                          allocation procedure described in                      control period, the blended emissions
                                                 not creating a ‘‘safety valve’’ mechanism in this rule
                                                                                                          section VI.B.9 to the prorated budgets.                budget will equal the sum of 10/153
                                                 analogous to the voluntary supplemental allowance                                                               times the previous emissions budget
                                                 conversion mechanism established under the               All calculations required to determine
                                                 Revised CSAPR Update, but intends in the near            the prorated emissions budgets, the                    plus 143/153 times the revised
                                                 future to propose and take comment on potential          minimum 21 percent variability limits,                 emissions budget, rounded to the
                                                 amendments to the Group 3 trading program that                                                                  nearest allowance.) Blended variability
                                                 would add an auction mechanism to the regulations        and the unit-level allocations for the
                                                 for the purpose of further increasing allowance          2023 control period will be carried out                limits for the 2023 control period will
                                                 market liquidity in conjunction with other               as soon as possible after the EPA learns               be computed by first determining for
                                                 appropriate changes to ensure program stringency
                                                                                                          the rule’s effective date. The unit-level              each state the percentage by which the
                                                 is maintained. While these changes may provide an                                                               state’s reported heat input for the full
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                                                 additional measure of assurance to the market that
                                                 allowances will be available for compliance to a         emissions rates and, for units contributing to         2023 ozone season exceeds the heat
                                                 degree consistent with the Step 3 emissions control      assurance level exceedances, secondary unit-           input used to compute the state’s full-
                                                 stringency, the EPA does not anticipate that market      specific emissions limitations, will not take effect   season 2023 emissions budget under
                                                 liquidity concerns pose a challenge to the feasibility   until the 2024 control period or later.                this rule and then multiplying the
                                                 of sources to comply with the Group 3 trading              367 The EPA notes that transitional provisions
                                                 program as finalized in this action.                     similar to the prorating provisions being finalized
                                                                                                                                                                 higher of this percentage or 21 percent
                                                    366 As discussed in sections VI.B.7 and VI.B.8, the   in this rule were finalized and implemented            by the state’s prorated emissions budget
                                                 revisions establishing unit-specific backstop daily      without issue under the Revised CSAPR Update.          and rounding to the nearest allowance,


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                                                 yielding blended assurance levels that                  timing for the recordation of unit-level               Group 2 trading program to the Group
                                                 equal a minimum of 121 percent of the                   allocations, are the same as for the states            3 trading program. Thus, the EPA
                                                 blended emissions budgets. Unit-level                   currently in the Group 3 trading                       believes that no substantive concerns
                                                 allocations will be determined by                       program.                                               regarding retroactivity arise from
                                                 applying the allocation procedure                          Beginning administrative                            transitioning the sources currently in
                                                 described in section VI.B.9 to the                      implementation of the Group 3 trading                  the Group 2 trading program to the
                                                 blended budgets. Again, all calculations                program starting on May 1, 2023, for                   Group 3 trading program starting on
                                                 required to determine the prorated                      sources currently in the Group 2 trading               May 1, 2023, as long as those aspects of
                                                 emissions budgets, the minimum 21                       program imposes no new or different                    the revised Group 3 trading program for
                                                 percent variability limits, and the unit-               requirements on these sources. It would                the 2023 control period that do
                                                 level allocations for the 2023 control                  serve the public interest and greatly aid              meaningfully differ from the analogous
                                                 period will be carried out as soon as                   in administrative efficiency for most                  aspects of the Group 2 trading
                                                 possible after the EPA learns the                       elements of the Group 3 trading                        program—that is, the relative
                                                 effective date of this rule. The unit-level             program—specifically, all elements of                  stringencies of the two trading
                                                 allocations for both the 2023 and 2024                  the trading program other than the                     programs, as reflected in the emissions
                                                 control periods will be recorded in                     elements designed to establish more                    budgets and associated assurance
                                                 facilities’ compliance accounts                         stringent emissions limitations for the                levels—are applied only as of the
                                                 approximately 30 days after the final                   sources coming from the Group 2                        effective date of the final rule.
                                                 rule’s effective date, as discussed in                  trading program—to apply to the                           In all respects other than prorating the
                                                 section VI.B.9.b of this document.                                                                             emissions budgets, variability limits and
                                                                                                         sources starting on May 1, 2023. This is
                                                                                                                                                                assurance levels, and unit-level
                                                    In the case of the states (and Indian                how the EPA handled the earlier
                                                                                                                                                                allowance allocations, with respect to
                                                 country within the states’ borders)                     transition of twelve states from the
                                                                                                                                                                the sources currently participating in
                                                 whose sources currently participate in                  Group 2 to the Group 3 trading program
                                                                                                                                                                the Group 2 trading program or the
                                                 the Group 2 trading program—Alabama,                    in the Revised CSAPR Update, which
                                                                                                                                                                Group 3 trading program, the EPA will
                                                 Arkansas, Mississippi, Missouri,                        was accomplished successfully and
                                                                                                                                                                implement the revised Group 3 trading
                                                 Oklahoma, Texas, and Wisconsin—the                      without incident. See 86 FR 23133–34.
                                                                                                                                                                program for the 2023 control period in
                                                 sources will begin to participate in the                This approach would facilitate
                                                                                                                                                                a uniform manner for the entire control
                                                 Group 3 trading program as of May 1,                    implementation of the Group 3 trading
                                                                                                                                                                period. Thus, emissions will be
                                                 2023, regardless of the rule’s effective                program in an orderly manner for the                   monitored and reported for the entire
                                                 date, as discussed in section VI.B.2 of                 entire 2023 ozone season and reduce                    2023 ozone season (i.e., May 1, 2023,
                                                 this document, subject to prorating                     compliance burdens and potential                       through September 30, 2023), and as of
                                                 procedures designed to ensure that the                  confusion. Each of the CSAPR trading                   the allowance transfer deadline for the
                                                 transition from the Group 2 trading                     programs for ozone season NOX is                       2023 control period (i.e., June 1, 2024)
                                                 program to the Group 3 trading program                  designed to be implemented over an                     each source will be required to hold in
                                                 will not substantively affect the sources’              entire ozone season. Implementing the                  its compliance account vintage-year
                                                 requirements prior to the rule’s effective              transition from the Group 2 trading                    2023 Group 3 allowances not less than
                                                 date. The prorating procedures for these                program to the Group 3 trading program                 the source’s emissions of NOX during
                                                 states mirror the procedures for the                    in a manner that required the covered                  the entire 2023 ozone season. Any
                                                 states currently in the Group 3 trading                 sources to participate in the Group 2                  efforts undertaken by one of these
                                                 program, except that because no                         trading program for part of the 2023                   sources to reduce its emissions during
                                                 emissions budgets currently appear in                   ozone season and the Group 3 trading                   the portion of the 2023 ozone season
                                                 the Group 3 trading program regulations                 program for the remainder of that ozone                before the effective date of the rule will
                                                 for the states that are currently covered               season would be complex and                            aid the source’s compliance by reducing
                                                 by the Group 2 trading program, the                     burdensome for sources. Attempting to                  the amount of Group 3 allowances that
                                                 EPA has added two sets of emissions                     address the issue by splitting the Group               the source would need to hold in its
                                                 budgets for these states to the Group 3                 2 and Group 3 requirements for these                   compliance account as of the allowance
                                                 trading program regulations: first, the                 sources into separate years is not a                   transfer deadline, increasing the range
                                                 states’ emissions budgets for the 2023                  viable approach, because the EPA has                   of options available to the source for
                                                 control period that currently appear in                 no legal basis for releasing the                       meeting its compliance obligations
                                                 the Group 2 trading program                             transitioning Group 2 sources from the                 under the revised Group 3 trading
                                                 regulations, which are being included in                emissions reduction requirements found                 program.
                                                 the revised Group 3 trading program                     to be necessary in the CSAPR Update for                   In the case of the sources in the three
                                                 regulations to represent the states’                    a portion of the 2023 ozone season, and                states that do not currently participate
                                                 emissions budgets for the portion of the                the EPA similarly has no legal basis for               in the Group 2 trading program or the
                                                 2023 control period before the rule’s                   deferring implementation of the 2023                   Group 3 trading program, the 2023
                                                 effective date, and second, the                         emissions reduction requirements found                 control period will begin on the
                                                 emissions budgets for the 2023 control                  to be necessary under this rule for the                effective date of the rule, and because
                                                 period established for the states in this               transitioning Group 2 sources until                    the effective date of the rule is expected
                                                 rulemaking, which are being included                    2024. Moreover, the requirements of the                to fall after May 1, 2023, the 2023
                                                 in the revised Group 3 trading program                  current Group 2 trading program and                    control period for the sources in these
                                                 regulations to represent the state’s                    the revised Group 3 trading program for
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                                                                                                                                                                states will be shorter than the 153-day
                                                 emissions budgets for the portion of the                the 2023 control period are                            length of the 2023 control period for the
                                                 2023 control period on and after the                    substantively identical as to almost all               sources in the remaining states.
                                                 rule’s effective date. The procedures and               provisions, such that with respect to                  However, the EPA similarly will
                                                 timing for determining blended                          those provisions, a source will not need               implement the revised Group 3 trading
                                                 emissions budgets, variability limits and               to alter its operations in any manner or               program for the sources in these states
                                                 assurance levels, and unit-level                        face different compliance obligations as               in a uniform manner for the entire
                                                 allowance allocations, as well as the                   a consequence of a transition from the                 shorter control period.


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                                                    The prorating provisions are being                   2023 and later years. Because the EPA                  accounts, including other accounts
                                                 finalized as proposed. The EPA received                 is transitioning over 80 percent of the                controlled by source owners as well as
                                                 no comments on the portion of the                       remaining sources in the Group 2                       accounts controlled by non-source
                                                 proposal discussing these provisions.                   trading program to the Group 3 trading                 entities such as allowance brokers).
                                                                                                         program—much closer to the situation                   Creating the new Group 3 allowances
                                                 b. Creation of Additional Group 3
                                                                                                         in the CSAPR Update than the situation                 through conversion of previously
                                                 Allowance Bank for 2023 Control Period
                                                                                                         in the Revised CSAPR Update—in this                    banked Group 2 allowances will also
                                                    In the CSAPR Update, where the EPA                   rule the EPA is applying a conversion                  help preserve the stringency of the
                                                 established the Group 2 trading program                 procedure similar to the procedure                     Group 2 trading program for the states
                                                 and transitioned over 95 percent of the                 followed in the CSAPR Update. Under                    that remain covered by that trading
                                                 sources that had been participating in                  the conversion procedure in this rule,                 program at levels consistent with the
                                                 what is now the CSAPR NOX Ozone                         the EPA has not set a predetermined                    stringency found to be appropriate to
                                                 Season Group 1 Trading Program (the                     conversion ratio in the regulations (as                address those states’ good neighbor
                                                 ‘‘Group 1 trading program’’) to the new                 was done in the Revised CSAPR                          obligations with respect to the 2008
                                                 program, the EPA determined that it                     Update) but instead has established                    ozone NAAQS in the CSAPR Update.
                                                 was reasonable to establish an initial                  provisions identifying the target amount                  With respect to the denominator of
                                                 bank of allowances for the Group 2                      of new Group 3 allowances that will be                 the conversion ratio—that is, the target
                                                 trading program by converting almost                    created and defining the types of                      amount of Group 3 allowances that will
                                                 all allowances banked under the Group                   accounts whose holdings of Group 2                     be created in the conversion process—
                                                 1 trading program at a conversion ratio                 allowances will be converted to Group                  the EPA has followed the same
                                                 determined by a formula. In the Revised                 3 allowances (as was done in the CSAPR                 approach for setting the target amount
                                                 CSAPR Update, where the EPA                             Update). The conversion date will be                   that was used in the Revised CSAPR
                                                 established the Group 3 trading program                 carried out by September 18, 2023,                     Update for creation of the initial Group
                                                 and transitioned approximately 55                       which is expected to be approximately                  3 allowance bank. Specifically, the
                                                 percent of the sources that had been                    2 months after the compliance deadline                 target amount of Group 3 allowances to
                                                 participating in the Group 2 trading                    for the 2022 control period under the                  be created in this rule will be computed
                                                 program to the new program, the EPA                     Group 2 trading program and                            as the sum of the minimum 21 percent
                                                 similarly determined that it was                        approximately ten months before the                    variability limits for the 2024 control
                                                 reasonable to provide for an initial bank               compliance deadline for the 2023                       period 369 established for the ten states
                                                 of allowances for the Group 3 trading                   control period under the Group 3                       being added to the Group 3 trading
                                                 program by converting allowances                        trading program. The actual conversion                 program, prorated to reflect the portion
                                                 banked under the Group 2 trading                        ratio will be determined as of the                     of the 2023 control period occurring on
                                                 program at a conversion ratio                           conversion date and will be the ratio of               and after the effective date of the final
                                                 determined by a formula, using a                        the total amount of Group 2 allowances                 rule. Based on the amounts of the state
                                                 conversion procedure that was modified                  held in the identified types of accounts               emissions budgets and variability limits,
                                                 to leave much of the Group 2 allowance                  prior to the conversion to the total                   the full-season target amount for the
                                                 bank available for use by the                                                                                  conversion would be 23,094 Group 3
                                                                                                         amount of Group 3 allowances being
                                                 approximately 45 percent of sources                                                                            allowances. The quantity of banked
                                                                                                         created.
                                                 then in the Group 2 trading program                        With respect to the numerator of the                Group 2 allowances currently held in
                                                 that would remain in that program. Any                  conversion ratio—that is, the total                    accounts other than the facility accounts
                                                 conversion of banked allowances from a                  amount of Group 2 allowances being                     of sources in Iowa, Kansas, and
                                                 previous trading program for use in a                   converted—the EPA has defined the                      Tennessee exceeding the quantity of
                                                 new trading program must ensure that                    types of accounts included in the                      allowances likely to be needed for 2022
                                                 implementation of the new trading                       conversion to include all accounts                     compliance is approximately 149,386
                                                 program will result in NOX emissions                                                                           allowances. Thus, if the quantities of
                                                                                                         except the facility accounts of sources in
                                                 reductions sufficient to address                                                                               banked Group 2 allowances held in the
                                                                                                         states that will remain in the Group 2
                                                 significant contribution by all states that                                                                    accounts being included in the
                                                                                                         trading program, consistent with the
                                                 would be participating in the new                                                                              conversion do not change between now
                                                                                                         approach taken in the CSAPR
                                                 trading program, while also providing                                                                          and the conversion date, and if there
                                                                                                         Update.368 Thus, the accounts whose
                                                 industry certainty (and obtaining an                                                                           was no prorating adjustment, the
                                                                                                         holdings of Group 2 allowances will be
                                                 environmental benefit) through                                                                                 conversion ratio would be
                                                                                                         converted to Group 3 allowances will
                                                 continued recognition of the value of                                                                          approximately 6.5-to-1, meaning that
                                                                                                         include (1) the facility accounts of all
                                                 saving allowances through early                                                                                one Group 3 allowance would be
                                                                                                         sources in the states transitioning from
                                                 reductions in emissions. The EPA’s                                                                             created for every 6.5 Group 2
                                                 approach to balancing these concerns in                 the Group 2 trading program to the
                                                                                                                                                                allowances deducted in the conversion
                                                 the CSAPR Update through the                            Group 3 trading program, (2) the facility
                                                                                                                                                                process.370
                                                 conversion of banked allowances from                    accounts of all sources in the states
                                                                                                                                                                   As noted in section VI.B.12.a of this
                                                 the Group 1 trading program to the                      already participating in the Group 3                   document, the EPA expects that the
                                                 Group 2 trading program was upheld in                   trading program, (3) the facility                      effective date of this rule will occur after
                                                 Wisconsin v. EPA, 938 F.3d at 321.                      accounts of all sources in any other
                                                    Under this final rule, applying the                  states not covered by the Group 2                        369 Similar to the approach taken in the Revised

                                                 same balancing principle as in the                      trading program that happen to hold                    CSAPR Update, because emissions reductions from
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                                                 CSAPR Update and the Revised CSAPR                      Group 2 allowances as of the conversion                some of the emissions controls that EPA has
                                                                                                         date, and (4) all general accounts (that               identified as appropriate to use in setting budgets
                                                 Update, the EPA will carry out a further                                                                       are first reflected in the 2024 state budgets rather
                                                 conversion of allowances banked for                     is, accounts that are not facility                     than the 2023 state budgets, the EPA is basing the
                                                 control periods before 2023 under the                                                                          bank target amount on the sum of the states’ 2024
                                                                                                           368 The states whose sources will continue to        variability limits rather than the 2023 variability
                                                 Group 2 trading program into                            participate in the Group 2 trading program for the     limits.
                                                 allowances usable in the Group 3                        2023 control period will be Iowa, Kansas, and            370 By comparison, the analogous conversion ratio

                                                 trading program in control periods in                   Tennessee.                                             under the Revised CSAPR Update was 8-to-1.



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                                                 the start of the 2023 ozone season, and                 compelling reasons in this instance to                 conversion results in a larger bank of
                                                 prorating provisions are being                          use a bank target higher than the                      allowances remaining after the 2023
                                                 promulgated in this rule to ensure that                 minimum practicable level.                             control period than is considered
                                                 the increased stringency of this rule’s                    First, making an allowance bank                     necessary to sustain a well-functioning
                                                 state budgets and state assurance levels                available for use in the 2023 control                  trading program in subsequent control
                                                 (i.e., the sums of the budgets and                      period that is somewhat higher than the                periods, the excess will be removed
                                                 variability limits) will take effect only               minimum practicable level will help to                 from the program in the bank
                                                 after the rule’s effective date. Consistent             address concerns that might otherwise                  recalibration process that will be
                                                 with these other procedures, the EPA                    arise regarding the transition to a new                implemented starting with the 2024
                                                 will similarly prorate the bank target                  set of compliance requirements, for                    control period and therefore will not
                                                 amount used in the conversion process.                  some sources, and the transition to                    weaken sources’ incentives to control
                                                 For example, if the effective date of the               compliance requirements based on                       emissions on a permanent basis.
                                                 final rule is the eleventh day of the 153-              revised emissions budgets different from                  The rule’s provisions relating to the
                                                 day 2023 ozone season, the full-season                  the emissions budgets that the sources                 creation of an incremental Group 3
                                                 initial bank target amount of 23,094                    had reason to anticipate under previous                allowance bank are being finalized as
                                                 allowances would be prorated to an                      rulemakings, for the remaining sources.                proposed. Comments on the creation of
                                                 initial bank target amount of 21,585                    Although the EPA is confident that the                 the incremental allowance bank are
                                                 allowances.371 The EPA notes that                       emissions budgets being established in                 discussed in section 5 of the RTC.
                                                 prorating the bank amount in this                       this rulemaking for the 2023 control                   c. Recall of Group 2 Allowances
                                                 manner will not reduce sources’                         period are readily achievable, the EPA                 Allocated for Control Periods After 2022
                                                 compliance flexibility for the 2023                     also believes that the existence of a
                                                 ozone season, because the amounts of                                                                              To maintain the previously
                                                                                                         somewhat larger allowance bank at this                 established levels of stringency of the
                                                 Group 3 allowances that sources will                    transition point will promote sources’
                                                 receive for the portion of the 2023 ozone                                                                      Group 2 trading program for the states
                                                                                                         confidence in their ability to meet their              and sources that remain subject to that
                                                 season before the rule’s effective date                 2023 compliance obligations in general
                                                 will be based on the trading program                                                                           program, the EPA is recalling CSAPR
                                                                                                         and in a liquid allowance market in                    NOX Ozone Season Group 2 allowances
                                                 budgets for the 2023 control period that
                                                                                                         particular. Second, because the large                  equivalent in amount and usability to
                                                 were in effect before this rulemaking.
                                                                                                         majority of the remaining Group 2                      all vintage year 2023–2024 CSAPR NOX
                                                 These trading program budgets exceed
                                                                                                         allowances that will be converted to                   Ozone Season Group 2 allowances
                                                 the sources’ collective 2022 emissions
                                                                                                         Group 3 allowances in this rulemaking                  previously allocated to sources in states
                                                 by approximately 29,789 tons,
                                                                                                         are held by the sources currently in the               and areas of Indian country
                                                 indicating potentially surplus
                                                                                                         Group 2 trading program, while the                     transitioning to the Group 3 trading
                                                 allowances roughly 1.3 times the full-
                                                                                                         large majority of the initial bank of                  program and recorded in the sources’
                                                 season bank conversion target amount of
                                                                                                         Group 3 allowances previously created                  compliance accounts. The recall
                                                 23,094 allowances. Thus, although the
                                                                                                         in the conversion under the Revised                    provisions apply to all sources in
                                                 prorating procedure will reduce the
                                                 amount of Group 3 allowances that                       CSAPR Update are held by the sources                   jurisdictions newly added to the Group
                                                 would be available to sources in the                    already in the Group 3 trading program,                3 trading program in whose compliance
                                                 form of an initial bank, the reduction in               basing the conversion in this                          accounts CSAPR NOX Ozone Season
                                                 the quantity of these allowances will be                rulemaking on a target bank amount set                 Group 2 allowances for a control period
                                                 more than offset by the quantities of                   in the same manner as the target bank                  in 2023 or 2024 were recorded,
                                                 Group 3 allowances that will be                         amount used in the Revised CSAPR                       including sources where some or all
                                                 allocated in excess of sources’ recent                  Update is expected to result in a less                 units have permanently retired or where
                                                 historical emissions levels for the                     concentrated distribution of holdings of               the previously recorded 2023–2024
                                                 portion of the ozone season before the                  banked Group 3 allowances following                    allowances have been transferred out of
                                                 final rule’s effective date.                            the conversion than would be the case                  the compliance account. The recall
                                                    As in the CSAPR Update and the                       if a more stringent target bank amount                 provisions provide a flexible
                                                 Revised CSAPR Update, the EPA’s                         were used under this rulemaking than                   compliance schedule intended to
                                                 overall objective in establishing the                   was used in the Revised CSAPR Update.                  accommodate any sources that have
                                                 target amount for the allowance                         A lower concentration of holdings of                   already transferred the previously
                                                 conversion is to achieve a total target                 banked Group 3 allowances would                        recorded 2023–2024 allowances out of
                                                 amount for the bank at a level high                     generally be expected to help ensure                   their compliance accounts and allow
                                                 enough to accommodate year-to-year                      allowance market liquidity. Third, the                 Group 2 allowances of earlier vintages
                                                 variability in operations and emissions,                EPA considers it equitable to treat the                to be surrendered to achieve
                                                 as reflected in states’ variability limits,             sources in the states transitioning from               compliance. Like the similar recall
                                                 but not high enough to allow sources                    the Group 2 trading program to the                     provisions finalized in the Revised
                                                 collectively to plan to emit in excess of               Group 3 trading program in this                        CSAPR Update, the recall provisions
                                                 the collective state budgets. The EPA                   rulemaking roughly similarly to the                    include specifications for how the recall
                                                 believes that a well-established trading                sources in the states that transitioned                provisions apply in instances where a
                                                 program should be able to function with                 between the same two trading programs                  source and its allowances have been
                                                 an allowance bank lower than the full                   in the Revised CSAPR Update with                       transferred to different parties and for
                                                                                                         respect to the benefit they would receive
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                                                 amount of the covered states’ variability                                                                      the procedures that the EPA will follow
                                                 limits, as discussed in section VI.B.6 of               under the Group 3 trading program for                  to implement the recall.
                                                 this document with respect to the bank                  any efforts they may have made to make                    Under the Group 2 trading program
                                                 recalibration process that will begin                   emissions reductions under the Group 2                 regulations, each Group 2 allowance is
                                                 with the 2024 control period. However,                  trading program beyond the minimum                     a ‘‘limited authorization to emit one ton
                                                 the EPA also believes there are several                 efforts that were required to comply                   of NOX during the control period in one
                                                                                                         with the emissions budgets under that                  year,’’ where the relevant limitations
                                                   371 23,094 × (153¥10) ÷ 153 = 21,585.                 program. Finally, to the extent that the               include the EPA Administrator’s


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                                                 authority ‘‘to terminate or limit the use               compliance account, one Group 2                          requirement with regard to a 2024
                                                 and duration of such authorization to                   allowance of equivalent usability under                  Group 2 allowance could be met
                                                 the extent the Administrator determines                 the Group 2 trading program. The                         through the surrender of any 2017–2024
                                                 is necessary or appropriate to                          surrender requirements apply to the                      Group 2 allowance.
                                                 implement any provision of the Clean                    owners and operators of the Group 3                         Owners and operators subject to the
                                                 Air Act.’’ 40 CFR 97.806(c)(6)(ii). The                 sources in whose compliance account                      surrender requirements can choose from
                                                 Administrator is determining that, to                   the excess 2023–2024 Group 2                             two possible deadlines for meeting the
                                                 effectively implement the Group 2                       allowances were initially recorded. In                   requirements. The optional first
                                                 trading program as a compliance                         general, each source’s current owners                    deadline will be 15 days after the
                                                 mechanism through which states not                      and operators are required to comply                     effective date of this rule.374 As soon as
                                                 subject to the Group 3 trading program                  with the surrender requirements for the                  practicable or after this date, the EPA
                                                 may continue to meet their obligations                  source by ensuring that sufficient                       will make a first attempt to complete the
                                                 under CAA section 110(a)(2)(D)(i)(I)                    allowances to complete the deductions                    deductions of Group 2 allowances
                                                 with regard to the 2008 ozone NAAQS,                    are available in the source’s compliance                 required for each Group 3 source from
                                                 it is necessary to limit the use of Group               account by one of two possible                           the source’s compliance account. The
                                                 2 allowances equivalent in quantity and                 deadlines discussed later in this section.               EPA will deduct Group 2 allowances
                                                 usability to all Group 2 allowances                     However, an exception is provided if a                   first to address any surrender
                                                 previously allocated for the 2023–2024                  source’s current owners and operators                    requirements for the 2023 control period
                                                 control periods and recorded in the                     obtained ownership and operational                       and then to address any surrender
                                                 compliance accounts of sources in the                   control of the source in a transaction                   requirements for the 2024 control
                                                 newly added Group 3 jurisdictions. The                  that did not include rights to direct the                period. When deducting Group 2
                                                 Group 2 allowances that have already                    use and transfer of some or all of the                   allowances to address the surrender
                                                 been allocated to sources in the newly                  2023–2024 Group 2 allowances                             requirements for each control period,
                                                 added Group 3 states for the 2023–2024                  allocated and recorded (either before or                 EPA will first deduct allowances
                                                 control periods and recorded in the                     after that transaction) in the source’s                  allocated for that control period and
                                                 sources’ compliance accounts represent                  compliance account. The rule provides                    then will deduct allowances allocated
                                                 the substantial majority of the total                   that in such a circumstance, with                        for each successively earlier control
                                                 remaining quantity of Group 2                           respect to the 2023–2024 Group 2                         period. This order of deductions is
                                                 allowances that have been allocated and                 allowances for which rights were not                     intended to ensure that whatever Group
                                                 recorded for the 2023–2024 control                      included in the transaction, the                         2 allowances are available in the
                                                 periods and that were not already made                  surrender requirements apply to the                      account are applied to the surrender
                                                 subject to recall when other                            most recent former owners and                            requirements in a manner that both
                                                 jurisdictions were transferred from the                 operators of the source before any such                  maximizes the extent to which all of the
                                                 Group 2 trading program to the Group                    transactions occurred. Because in this                   source’s surrender requirements will be
                                                 3 trading program in the Revised CSAPR                  situation a source’s former owners and                   met and also ensures that any Group 2
                                                 Update. Because allowances can be                       operators might lack the ability to access               allowances left in the source’s
                                                 freely traded, if the use of the 2023–                  the source’s compliance account for                      compliance account after completion of
                                                 2024 Group 2 allowances previously                      purposes of complying with the                           all required deductions will be the
                                                 recorded in newly added Group 3                         surrender requirements, the former                       earliest allocated, and therefore most
                                                 sources’ compliance accounts (or                        owners and operators would instead be                    useful, Group 2 allowances possible.
                                                 equivalent Group 2 allowances) were                     allowed to meet the surrender                            Among the Group 2 allowances
                                                 not limited, the effect would be the                    requirements with Group 2 allowances                     allocated for a given control period, The
                                                 same as if the EPA had issued to sources                held in a general account.372                            EPA will first deduct allowances that
                                                                                                            To provide as much flexibility as                     were initially recorded in that account,
                                                 in the states that will remain covered by
                                                                                                         possible consistent with the need to                     in the order of recordation, and will
                                                 the Group 2 trading program a quantity
                                                                                                         limit the use of the excess Group 2                      then deduct allowances that were
                                                 of allowances available for compliance
                                                                                                         allowances, for each 2023–2024 Group 2                   transferred into that account after
                                                 under the 2023–2024 control periods
                                                                                                         allowance recorded in a Group 3                          having been initially recorded in some
                                                 many times the levels that the EPA
                                                                                                         source’s compliance account, the EPA                     other account, in the order of
                                                 determined to be appropriate emissions                  will accept the surrender of either the
                                                 budgets for these states in the CSAPR                                                                            recordation.
                                                                                                         same specific 2023–2024 Group 2                             Following the first attempt to deduct
                                                 Update. Through the use of banked                       allowance or any other Group 2
                                                 allowances, the excess Group 2                                                                                   Group 2 allowances to address Group 3
                                                                                                         allowance with equivalent (or greater)                   sources’ surrender requirements, the
                                                 allowances would affect compliance                      usability under the Group 2 trading
                                                 under the Group 2 trading program in                    program. Thus, a surrender requirement                      374 As discussed later in this section and in
                                                 control periods after 2024 as well.                     with regard to a Group 2 allowance                       section VI.B.9.b, the EPA has conditioned
                                                 Continued implementation of the Group                   allocated for the 2023 control period                    recordation of any allocations of Group 3
                                                 2 trading program at levels of stringency               could be met through the surrender of                    allowances in a source’s compliance account on the
                                                 consistent with the levels contemplated                                                                          source’s prior compliance with the recall
                                                                                                         any Group 2 allowance allocated for the                  requirements for Group 2 allowances. The purpose
                                                 under the CSAPR Update therefore                        2023 control period or the control                       of providing an optional first deadline for the recall
                                                 requires that the EPA limit the use of                  period in any earlier year—in other                      provisions 15 days after a final rule’s effective is to
                                                 the excess allowances, as the EPA is                                                                             ensure that sources have an early opportunity to
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                                                                                                         words, any 2017–2023 Group 2
                                                 doing through the recall provisions.                                                                             comply with the recall provisions to be eligible to
                                                                                                         allowance.373 Similarly, the surrender                   have allocations of Group 3 allowances recorded in
                                                    In this rule, the EPA is implementing                                                                         their accounts 30 days after the final rule’s effective
                                                 limitations on the use of the excess                      372 The EPA is currently unaware of any source         date. Because the vast majority of sources subject
                                                 2023–2024 Group 2 allowances through                    that would need to use this flexibility but has          to the recall provisions already hold sufficient
                                                                                                         included the option in the rule to address the           Group 2 allowances to comply with the recall
                                                 requirements to surrender, for each                     theoretical possibility of such a situation.             provisions, the EPA anticipates that the sources will
                                                 2023–2024 Group 2 allowance recorded                      373 The first control period for the Group 2 trading   easily be able to comply with the optional first
                                                 in a newly added Group 3 source’s                       program was in 2017.                                     recall deadline.



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                                                 EPA will send a notification to the                     directly or indirectly under common                    of each Group 3 source are required to
                                                 designated representative for each such                 ownership with an owner or operator of                 surrender under the recall provisions,
                                                 source (as well as any alternate                        the source.375 Before making any                       the EPA has prepared a list of the
                                                 designated representative) indicating                   deduction under this provision, the EPA                sources in the additional Group 3 states
                                                 whether all required deductions were                    will send a notification to the                        and areas of Indian country in whose
                                                 completed and, if not, the additional                   authorized account representative for                  compliance accounts allocations of
                                                 amounts of Group 2 allowances usable                    the account in which the allowance is                  2023–2024 Group 2 allowances were
                                                 in the 2023 or 2024 control periods that                held and will provide an opportunity                   recorded, with the amounts of the
                                                 must be held in the appropriate account                 for submission of objections concerning                allocations recorded in each such
                                                 by the second surrender deadline of                     the data upon which the EPA is relying.                compliance account for the 2023 and
                                                 September 15, 2023. Each notification                   In EPA’s view, this provision does not                 2024 control periods. An additional list
                                                 will be sent to the email addresses most                unduly interfere with the legitimate                   shows, for each newly added Group 3
                                                 recently provided to the EPA for the                    expectations of participants in the                    source, the specific Group 2 allowances
                                                 recipients and will include information                 allowance markets because the                          (batched by serial number) allocated for
                                                 on how to contact the EPA with any                      provision will not be invoked in the                   each control period and recorded in the
                                                 questions. The EPA has provided that                    case of any allowance that was                         source’s compliance account and
                                                 no allocations of Group 3 allowances                    transferred to an independent party in                 indicates whether, as of April 30, 2022,
                                                 will be recorded in a source’s                          an arms-length transaction before EPA’s                that batch of allowances was held in the
                                                 compliance account until all the                        intent to recall 2023–2024 Group 2                     source’s compliance account, in an
                                                 source’s surrender requirements with                    allowances became widely known. The                    account believed to be partially or fully
                                                 regard to 2023–2024 Group 2                             provision would apply only to a Group                  controlled by a related party (i.e., an
                                                 allowances have been met. For this                      2 allowance that, as of April 30, 2022,                owner or operator of the source or an
                                                 reason, the principal consequence to a                  was still controlled either by the owners              affiliate of an owner or operator of the
                                                 source of failure to fully comply with                  and operators of the source in whose                   source), or in an account believed to be
                                                 the surrender requirements by 15 days                   compliance account it was initially                    fully controlled by independent parties.
                                                 after the effective date of this rule will              recorded or by an entity affiliated with               The lists are in a spreadsheet titled,
                                                 be that any Group 3 allowances                          such an owner or operator. The EPA                     ‘‘Recall of Additional CSAPR NOX
                                                 allocated to the units at the source for                believes that by April 30, 2022, all                   Ozone Season Group 2 Allowances,’’
                                                 the 2023 and 2024 control periods that                  market participants had ample                          available in the docket for this rule.
                                                 would otherwise have been recorded in                   opportunity to become informed of the                  After the first and second surrender
                                                 the source’s compliance account by 30                   proposed rule provisions to recall 2023–               deadlines, the EPA intends to update
                                                 days after the effective date of a final                2024 Group 2 allowances recorded in                    the lists to indicate for each Group 3
                                                 rule will not be recorded as of that                    Group 3 sources’ compliance accounts,                  source whether the surrender
                                                 recordation date.                                       particularly since the EPA implemented                 requirements for the source under the
                                                    If all surrender requirements of 2023–               a closely analogous recall of Group 2                  recall provisions have been fully
                                                 2024 Group 2 allowances for a source                    allowances in the Revised CSAPR                        satisfied. The EPA will post the updated
                                                 have not been met in EPA’s first                        Update.376                                             lists on a publicly accessible website to
                                                 attempt, the EPA will make a second                        The final revised regulations provide               ensure that all market participants have
                                                 attempt to complete the required                        that failure of a source’s owners and                  the ability to determine which specific
                                                 deductions from the source’s                            operators to comply with the surrender                 2023–2024 Group 2 allowances initially
                                                 compliance account (or from a specified                 requirements will be subject to possible               recorded in any given Group 3 source’s
                                                 general account, in the limited                         enforcement as a violation of the CAA,                 compliance account do or do not remain
                                                 circumstance noted previously) as soon                  with each allowance and each day of the                subject to potential deduction to address
                                                 as practicable on or after September 15,                control period constituting a separate                 the source’s surrender requirements
                                                 2023. The order in which Group 2                        violation.                                             under the recall provisions.
                                                 allowances are deducted will be the                        To eliminate any possible uncertainty                  The recall provisions have been
                                                 same as described previously for the                    regarding the amounts of Group 2                       finalized without change from the
                                                 first attempt.                                          allowances allocated for the 2023–2024                 proposal. The EPA received no
                                                    If the second attempt to deduct Group                control periods (or earlier control                    comments on the proposed provisions.
                                                 2 allowances to meet the surrender                      periods) that the owners and operators
                                                 requirements through deductions from                                                                           13. Conforming Revisions to Regulations
                                                 the source’s compliance account (or                       375 The provision under which the EPA will not       for Other CSAPR Trading Programs
                                                 from a specified general account) is                    deduct Group 2 allowances transferred to unrelated        As noted in section VI.B.1.a of this
                                                                                                         parties before April 30, 2022 from the transferees’    document, in addition to the Group 3
                                                 unsuccessful for a given source, as soon                accounts does not relieve the source to which the
                                                 as practicable on or after November 15,                 Group 2 allowances were originally allocated from      trading program, EPA currently
                                                 2023, to the extent necessary to address                the obligation to comply with the recall               administers five other CSAPR trading
                                                 the unsatisfied surrender requirements                  requirements. Specifically, the source would be        programs, all of which have provisions
                                                                                                         required to comply with the recall requirements by     that in most respects parallel the
                                                 for the source, the EPA will deduct the                 obtaining and surrendering other Group 2
                                                 2023–2024 Group 2 allowances that                       allowances.                                            provisions of the Group 3 trading
                                                 were initially recorded in the source’s                    376 Even before publication of the proposed rule,   program.377 In this rulemaking, in
                                                 compliance account from whatever                        the EPA posted information on its websites to notify   addition to the revisions to the Group 3
                                                                                                         market participants that a pending rulemaking          trading program, the EPA is finalizing a
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                                                 accounts the allowances are held in as
                                                                                                         could have consequences for the value and usability    set of conforming revisions that concern
                                                 of the date of the deduction, except for                of Group 2 allowances. The posted locations
                                                 any allowances where, as of April 30,                   included the electronic portal that authorized         how various areas of Indian country are
                                                 2022, no person with an ownership                       account representatives use to enter allowance
                                                 interest in the allowances was an owner                 transfers for recordation by the EPA in the              377 The regulations for the Group 3 Trading
                                                                                                         Allowance Management System. Additionally, the         Program are at 40 CFR part 97, subpart GGGGG. The
                                                 or operator of the source, was a direct                 EPA emailed a notice identifying the possibility of    regulations for the other five CSAPR trading
                                                 or indirect parent or subsidiary of an                  such consequences to the representatives for all       programs are at 40 CFR part 97, subparts AAAAA,
                                                 owner or operator of the source, or was                 Allowance Management System accounts.                  BBBBB, CCCCC, DDDDD, and EEEEE.



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                                                 treated for purposes of the allowance                     to nonattainment or interfering with                  industry groups generally supported
                                                 allocation provisions of the regulations                  maintenance in other states. The                      other monitoring options over CEMS,
                                                 for all the CSAPR trading programs.378                    emissions control requirements of these               such as parametric monitoring,
                                                    As discussed in section VI.B.9.a of                    FIPs for non-EGU sources apply only                   performance testing, and predictive
                                                 this document, to reflect the D.C.                        during the ozone season (May through                  emissions monitoring systems (PEMS).
                                                 Circuit’s holding in ODEQ v. EPA that                     September) each year, beginning in                    Additional commenters voiced concern
                                                 states have initial CAA implementation                    2026.                                                 with the expense and burden of
                                                 planning authority in non-reservation                        To achieve the necessary non-EGU                   continuous parametric monitoring and
                                                 areas of Indian country until displaced                   emissions reductions for these 20 states,             semi-annual performance tests.
                                                 by a demonstration of tribal jurisdiction                 the EPA is finalizing the proposed                    Specifically, commenters explained that
                                                 over such an area, the EPA is revising                    emissions limitations with some                       semi-annual testing should not be
                                                 the allowance allocation provisions in                    adjustments as a result of information                required when the emissions limits only
                                                 the Group 3 trading program regulations                   received during the public comment                    apply during the ozone season.
                                                 so that, instead of distinguishing                        period. The final emissions limits apply              Commenters also noted that many non-
                                                 between the sets of units within a given                  to the most impactful types of units in               EGU boilers have recently been relieved
                                                 state’s borders that either are not or are                the relevant industries and are                       from meeting the CEMS requirements
                                                 in Indian country, the revised                            achievable with the control technologies              under the 1998 NOX SIP Call and that
                                                 regulations distinguish between (1) the                   identified in this preamble and further               implementing CEMS on many of the
                                                 set of units within the state’s borders                   discussed in the Final Non-EGU Sectors                non-EGU sources would be difficult and
                                                 that are not in Indian country or are in                  TSD. The non-EGU regulatory                           unnecessary.
                                                 areas of Indian country covered by the                    requirements unique to each industry
                                                                                                                                                                    Response: The EPA is finalizing a
                                                 state’s CAA implementation planning                       that EPA is finalizing after considering
                                                                                                                                                                 unit-specific approach with rate-based
                                                 authority and (2) the set of units within                 public comments are discussed in
                                                                                                                                                                 emissions limitations set on a uniform
                                                 the state’s borders that are in areas of                  sections VI.C.1 through VI.C.6 of this
                                                                                                                                                                 basis for the different segments of non-
                                                 Indian country not covered by the                         document.
                                                                                                              These final FIP requirements apply to              EGU emissions units using applicability
                                                 state’s CAA implementation planning
                                                                                                           both new and existing emissions units.                criteria based on size and type of unit
                                                 authority. For the same reasons stated in
                                                                                                           The non-EGU emissions limits and                      and, in some cases, emissions
                                                 section VI.B.9.a of this document for the
                                                                                                           compliance requirements will apply in                 thresholds. In response to public
                                                 Group 3 trading program, the EPA is
                                                                                                           all 20 states (and, as discussed in                   comments, the EPA has adjusted these
                                                 revising the allowance allocation
                                                                                                           section III.C.2 of this document, in areas            requirements as necessary to ensure that
                                                 provisions in the regulations for all the
                                                                                                           of Indian country within the borders of               the emissions control requirements are
                                                 other CSAPR trading programs
                                                                                                           those states), even if some of those states           achievable while ensuring that the FIPs
                                                 establishing the same substantive
                                                                                                           do not currently have emissions units in              achieve the necessary emissions
                                                 distinction among the sets of units
                                                                                                           a particular source category. This                    reductions from the covered units to
                                                 within each state’s borders. The specific
                                                                                                           approach is consistent with the                       eliminate significant contribution to
                                                 regulatory provisions that are affected
                                                                                                           approach that the EPA proposed, and                   nonattainment and interference with
                                                 are identified in section IX.D of this
                                                                                                           the EPA did not receive any comments                  maintenance as discussed in section V
                                                 document. The EPA is unaware of any
                                                                                                           specifically objecting to our proposal to             of this document. The EPA has
                                                 currently operating units that would be
                                                                                                           regulate new units. This approach will                concluded that a unit-specific approach
                                                 affected by this revision to the
                                                                                                           ensure that all new sources constructed               is more appropriate for non-EGUs at this
                                                 regulations for the other CSAPR trading
                                                                                                           in any of the 20 states will be subject to            time than implementing a trading
                                                 programs.
                                                                                                           the same good neighbor requirements                   program and requiring all units to
                                                    The conforming revisions to the
                                                                                                           that apply to existing units under this               implement rigorous part 75 monitoring
                                                 regulations for the other CSAPR trading
                                                                                                           final rule. This will also avoid creating             and reporting requirements. As
                                                 programs concerning Indian country are
                                                                                                           incentives to move production from an                 explained in the proposal, to be
                                                 being finalized as proposed with no
                                                                                                           existing non-EGU source to a new non-                 considered for a trading program, non-
                                                 changes. The EPA received no
                                                                                                           EGU source of the same type but lacking               EGU sources would have to comply
                                                 comments on this portion of the
                                                                                                           the relevant emissions control                        with requirements for monitoring and
                                                 proposal.
                                                                                                           requirements either within a linked                   reporting of hourly mass emissions in
                                                 C. Regulatory Requirements for                            state or in another linked state.                     accordance with 40 CFR part 75 as we
                                                 Stationary Industrial Sources                                Comment: The EPA received several                  have required for all previous trading
                                                    The EPA is finalizing FIPs with                        comments regarding the proposed                       programs. Monitoring and reporting
                                                 requirements for certain non-EGU                          approach of establishing unit-specific                under part 75 include CEMS (or an
                                                 industry sources for 20 of the states                     emissions limitations for non-EGUs                    approved alternative method), rigorous
                                                 covered in this final rule. See section                   instead of an emissions trading program.              initial certification testing, and periodic
                                                 II.B of this document for the list of                     Some commenters suggested that a                      quality assurance testing thereafter,
                                                 states. The FIPs include new emissions                    trading program for non-EGUs could                    such as relative accuracy test audits and
                                                 limitations for units in nine non-EGU                     provide for operational flexibility and               daily calibrations. Consistent and
                                                 industries that the EPA finds (as                         that EPA should allow sources to work                 accurate measurement of emissions is
                                                 discussed in sections IV and V of this                    with regulatory authorities to develop a              necessary to ensure that each allowance
                                                                                                           trading program. Other commenters                     actually represents one ton of emissions
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                                                 final rule) are significantly contributing
                                                                                                           generally supported EPA’s proposed                    and that one ton of reported emissions
                                                    378 Additional conforming revisions concerning         approach and the decision to not                      from one source would be equivalent to
                                                 the schedules for the EPA to record allowance             include non-EGUs in an emissions                      one ton of reported emissions from
                                                 allocations in source’s compliance accounts and for       trading program, because the EPA                      another source. See 75 FR 45325
                                                 states to submit state-determined allowance
                                                 allocations to the EPA for subsequent recordation
                                                                                                           would not need to require sources to                  (August 2, 2010). Moreover, these
                                                 were finalized in an earlier final rule in this docket.   unnecessarily install CEMS.                           monitoring requirements generally
                                                 See 87 FR 52473 (August 26, 2022).                        Commenters from several states and                    would need to be in place for at least


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                                                 one full ozone season to establish                      provisions require controls on the most                have resulted in relatively small
                                                 baseline data before it would be                        impactful non-EGU industrial sources                   reductions in emissions. Finally, the
                                                 appropriate to rely on a trading program                while providing the flexibility needed to              EPA has modified the monitoring and
                                                 as the mechanism to achieve the                         accommodate unique circumstances on                    recordkeeping requirements for all non-
                                                 required emissions reductions. Many                     a case-by-case basis.                                  EGU industries where possible to
                                                 industry and state commenters provided                     Comment: Commenters from several                    reduce the testing frequency to once a
                                                 information confirming that many non-                   non-EGU industries and states raised                   year and to provide for alternative
                                                 EGU units subject to this rulemaking do                 general concerns regarding the ability                 monitoring protocols where appropriate,
                                                 not currently utilize CEMS and                          for all sources to comply with the                     which should further reduce the costs of
                                                 specifically requested that EPA avoid                   proposed emissions limits. Some                        compliance on non-EGU sources. With
                                                 requiring CEMS for all non-EGU                          commenters suggested that the EPA                      these modifications to the final rule in
                                                 industries. The EPA generally agrees                    allow for case-by-case limits where                    response to comments, the non-EGU
                                                 that CEMS is not necessary for all non-                 necessary, similar to case-by-case RACT                sources subject to this rule should be
                                                 EGU industries under the approach of                    determinations. Specifically,                          able to meet the applicable control
                                                 this final rule and is finalizing other                 commenters operating boilers, furnaces,                requirements established in this final
                                                 continuous monitoring, recordkeeping,                   and MWCs provided general                              rule.
                                                 and reporting requirements, as                          explanations of how some units might                      The EPA also recognizes, however,
                                                 appropriate, that are specific to each                  not be able to meet the proposed                       that there may be unique circumstances
                                                 non-EGU industry. The EPA has                           emissions limits and requested that EPA                the Agency cannot anticipate that
                                                 determined that establishing unit-                      provide for compliance flexibility where               would, for a particular source, render
                                                 specific emissions limitations for non-                 a source can demonstrate technical and                 the final emissions control requirements
                                                 EGUs is a preferable approach in part                   economical infeasibility.                              technically impossible or impossible
                                                 because it avoids the rigorous                             Response: As explained more in                      without extreme economic hardship. To
                                                 monitoring requirements that would be                   sections VI.C.1 through VI.C.6, the EPA                address these limited circumstances, the
                                                 applied to non-EGUs for the first time                  has made several adjustments to the                    EPA is finalizing a provision that allows
                                                 under a trading program.                                proposed applicability criteria,                       a source to request EPA approval of a
                                                    Furthermore, to address commenters’                  emissions limits, and compliance                       case-by-case emissions limit based on a
                                                 concerns regarding non-EGU                              requirements in response to public                     showing that an emissions unit cannot
                                                 requirements for performance testing on                 comments and to reduce the costs of                    meet the applicable standard due to
                                                 a semi-annual basis, the EPA has also                   compliance with the final rule. For                    technical impossibility or extreme
                                                 reduced the frequency of all required                   Pipeline Transportation and Natural                    economic hardship. The EPA has
                                                 performance testing for non-EGU                         Gas, the EPA is finalizing emissions                   modeled the case-by-case emissions
                                                 sources to once per calendar year. As                   averaging provisions and exemptions for                limit mechanism on case-by-case RACT
                                                 commenters correctly pointed out, the                   emergency engines to allow facilities to               requirements and certain facility-
                                                 emissions limits in these final FIPs only               avoid installing controls on units with                specific emissions limits under 40 CFR
                                                 apply during the ozone season and                       lower actual emissions where the                       part 60 identified by commenters.379
                                                 testing once per calendar year should be                installation of controls would be less                 The owner or operator of a source
                                                 sufficient to confirm the accuracy of the               cost effective compared to higher-                     seeking a case-by-case emissions limit
                                                 parameters being monitored to                           emitting units. For Cement and Concrete                must submit a request meeting specific
                                                 demonstrate continuous compliance                       Product Manufacturing, the EPA has                     requirements to the EPA by August 5,
                                                 during the ozone season. The EPA also                   removed the daily source cap that                      2024, one year after the effective date of
                                                 agrees with commenters that the annual                  would have resulted in an artificially                 this final rule. The applicable emissions
                                                 testing requirements need not occur                     restrictive NOX emissions limit for                    limits established in this final rule
                                                 during the ozone season.                                affected cement kilns that have operated               remain in effect until the EPA approves
                                                    In addition, the EPA is modifying the                at lower levels due to the COVID–19                    a source’s request for a case-by-case
                                                 applicability criteria and other                        pandemic. For Iron and Steel and                       emissions limit. Given the May 1, 2026
                                                 regulatory requirements in response to                  Ferroalloy Manufacturing, the EPA is                   compliance date that generally applies
                                                 public comments to provide certain                      finalizing a ‘‘test-and-set’’ requirement              to all affected units in the non-EGU
                                                 compliance flexibilities for non-EGU                    for reheat furnaces that will require the              industries covered by this final rule, we
                                                 industries where appropriate. As                        installation of low-NOX burners or                     encourage owners and operators of
                                                 discussed further in section V.C.1 of this              equivalent technology. The EPA has                     affected units who believe they must
                                                 document, the EPA is modifying the                      addressed the economic concerns raised                 seek case-by-case emissions limits to
                                                 requirements for Pipeline                               by commenters regarding installation of                submit their requests to the EPA before
                                                 Transportation of Natural Gas by                        controls at Iron and Steel facilities by               the one-year deadline for such requests,
                                                 finalizing an exemption for emergency                   not finalizing the other ten proposed                  if possible, to ensure adequate time for
                                                 engines and allowing any owner or                       emissions limits that were intended to                 EPA review and to install the necessary
                                                 operator of an affected unit to propose                 require the installation of SCR at these               controls.
                                                 a ‘‘Facility-Wide Averaging Plan’’ that                 facilities. For Glass and Glass Product                   For a source requesting a case-by-case
                                                 would, if approved by EPA, provide an                   Manufacturing, the EPA is finalizing                   limit due to technical impossibility, the
                                                 alternative means for compliance with                   alternative standards that apply during                final rule requires that the request
                                                 the emissions limits in this final rule.                startup, shutdown, and idling                          include emissions data obtained
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                                                 Further, as discussed in section VI.C.5                 conditions. For boilers in Basic                       through CEMS or stack tests, an analysis
                                                 of this document, the EPA is finalizing                 Chemical Manufacturing, Petroleum and
                                                 a low-use exemption for non-EGU                         Coal Products Manufacturing, Pulp,                       379 For examples of case-by-case RACT provisions

                                                 boilers that operates less than 10                      Paper, and Paperboard Mills, Metal Ore                 and source specific limits for boilers in subpart Db
                                                 percent per year on an hourly basis,                    Mining, and the Iron and Steel Industry,               of the EPA’s NSPS, see 40 CFR 60.44b(f);
                                                                                                                                                                Regulations of Connecticut State Agencies section
                                                 based on the three most recent years of                 the EPA is finalizing a low-use                        22a–174–22e; Code of Maryland Regulations section
                                                 use and no more than 20 percent in any                  exemption to eliminate the need to                     26.11.09.08(B)(3); and Code of Maine Rules section
                                                 one of the three years. These final rule                install controls on boilers that would                 096–138–3, subsection (I).



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                                                 of all available control technologies                    be met to qualify for a case-by-case limit             constructing the list of potential sources
                                                 based on an engineering assessment by                    are designed to meet this statutory                    subject to the final rule, the EPA relied
                                                 a professional engineer or data from a                   mandate.                                               on available information to identify the
                                                 representative sample of similar                            Comment: Several commenters raised                  PTE of the emissions units in the
                                                 sources, and a recommendation                            concerns about the EPA’s differing                     various non-EGU industries that are
                                                 concerning the most stringent emissions                  applicability criteria for the various                 captured by the applicability criteria.
                                                 limit the source can technically achieve.                non-EGU industries. Specifically, the                  See Memo to Docket titled Summary of
                                                    For a source requesting a case-by-case                commenters questioned why EPA set                      Final Rule Applicability Criteria and
                                                 limit on the basis of extreme economic                   applicability criteria for engines in                  Emissions Limits for Non-EGU
                                                 hardship, the final rule requires that the               Pipeline Transportation of Natural Gas                 Emissions Units, Assumed Control
                                                 request include at least three vendor                    and non-EGU boilers based on design                    Technologies for Meeting the Final
                                                 estimates from three separate vendors                    capacity instead of potential to emit                  Emissions Limits, and Estimated
                                                 that do not have a corporate or business-                (PTE). Commenters also requested that                  Emissions Units, Emissions Reductions,
                                                 affiliation with the source of the costs of              the EPA allow each non-EGU category                    and Costs. Thus, the EPA’s Step 3
                                                 installing the control technology                        to rely on operating permits or other                  analysis takes into account available
                                                 necessary to meet the applicable                         federally enforceable instruments to                   information about currently enforceable
                                                 emissions limit and other information                    avoid being subject to the rule, such as               emissions limits and physical and
                                                 that demonstrates, to the satisfaction of                limits to the PTE or limits on fuels used.             operational limitations identified in
                                                 the Administrator, that the cost of                         Response: The 100 tpy PTE threshold                 existing permits. The EPA finds it
                                                 compliance with the applicable                           and comparable design capacity                         necessary to define PTE consistent with
                                                 emissions limit for that particular                      thresholds of 1,000 horsepower (hp) for                its use in the title V and NSR permit
                                                 source would present an extreme                          engines and 100 mmBtu/hr for boilers                   programs to ensure that the
                                                 economic hardship relative to the costs                  are appropriate to ensure that the final               requirements of the final FIPs apply to
                                                 borne by other comparable sources in                     rule reduces emissions from the most                   the most impactful units identified in
                                                 the industry under this rule. In                         impactful units. The EPA finds the                     Step 3 of our analysis. However, to
                                                 evaluating a source’s request for a case-                control technologies assumed to be                     ensure that these FIPs achieve the
                                                 by-case limit due to extreme economic                    installed to meet the final emissions                  emissions reductions necessary to
                                                 hardship, the EPA will consider the                      limits would not be as readily available               eliminate significant contribution or
                                                 emissions reductions and costs                           or cost effective for emissions units with             interference with maintenance as
                                                 identified in this final rulemaking (and                 PTE or design capacities lower than the                described in this final rule, the
                                                 related support documents) for other                     applicability thresholds in this final                 applicability criteria for the Cement and
                                                 sources in the relevant industry and                     rule.                                                  Concrete Manufacturing, Iron and Steel
                                                 whether the costs of compliance for the                     With regard to the selection of design
                                                                                                                                                                 and Ferroalloy Manufacturing, and
                                                                                                          capacity thresholds for boilers and
                                                 source seeking the case-by-case limit                                                                           Glass and Glass Product Manufacturing
                                                                                                          engines, the EPA finds that most RACT
                                                 would significantly exceed the highest                                                                          industries take into account only those
                                                                                                          requirements and other standards
                                                 representative end of the range of                                                                              enforceable PTE limits in effect as of the
                                                                                                          reviewed by the EPA establish
                                                 estimated cost-per-ton figures identified                                                                       effective date of this final rule. Thus,
                                                                                                          applicability criteria for engines and
                                                 for any source in the relevant industry                                                                         any emissions unit in these three
                                                                                                          boilers based on design capacity rather
                                                 as discussed in section V of this                                                                               industries that has a PTE equal to or
                                                                                                          than PTE. We further explain our basis
                                                 document.                                                                                                       greater than 100 tons per year and thus
                                                                                                          for establishing applicability thresholds
                                                    As discussed in section VI.A of this                                                                         meets the definition of an ‘‘affected
                                                                                                          based on design capacity for these two
                                                 document, in Wisconsin the court held                                                                           unit’’ as of August 4, 2023, will remain
                                                                                                          source categories in sections VI.C.1. and
                                                 that some deviation from the CAA’s                                                                              subject to the applicable FIPs, without
                                                                                                          VI.C.5. For consistency with preexisting
                                                 mandate to eliminate prohibited                                                                                 regard to any PTE limit that the
                                                                                                          requirements for engines and boilers
                                                 transport by downwind attainment                                                                                emissions unit may subsequently
                                                                                                          and to capture the sizes of units
                                                 deadlines may be allowed only ‘‘under                                                                           become subject to. Each affected unit in
                                                                                                          identified in Step 3 of our analysis, the
                                                 particular circumstances and upon a                                                                             these three industries must submit an
                                                                                                          EPA selected design capacities of 1,000
                                                 sufficient showing of necessity,’’ e.g.,                                                                        initial notification of applicability to the
                                                                                                          hp for engines and 100 mmBtu/hr for
                                                 when compliance with the statutory                                                                              EPA by December 4, 2023, that
                                                                                                          boilers. The EPA recognizes that these
                                                 mandate amounts to an impossibility.380                  applicability thresholds captured more                 identifies its PTE as of the effective date
                                                 Given these directives, the EPA cannot                   units than the EPA intended,                           of this final rule. Additionally, any
                                                 allow a covered source to avoid                          particularly some low-use units.                       owner or operator of an existing
                                                 complying with the emissions limits                      Therefore, as explained in sections                    emissions unit that is not an affected
                                                 established in this final rule unless the                VI.C.1 and VI.C.5., the EPA is                         unit as of August 4, 2023, but
                                                 source can demonstrate that compliance                   establishing exemptions for low-use                    subsequently meets the applicability
                                                 with the limit would either be                           boilers and emergency engines, as well                 criteria (e.g., due to a change in fuel use
                                                 impossible as a technical matter or                      as new emissions averaging provisions                  that increases the unit’s PTE) will
                                                 result in an extreme economic                            for engines, to ensure that this final rule            become an affected unit subject to the
                                                 hardship—i.e., exceed the high end of                    focuses on larger, more impactful units.               applicable requirements of this final
                                                 the cost-effectiveness estimates that                       The EPA also agrees with commenters                 rule at that time.
                                                 informed the EPA’s Step 3                                that the applicability criteria should                    Comment: In responding to the EPA’s
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                                                 determination of significant                             allow for sources to rely on enforceable               request for comment on whether some
                                                 contribution, as discussed in section V                  requirements that limit a source’s PTE                 non-EGU units would need to run
                                                 of this document. The criteria that must                 and is finalizing a regulatory definition              controls required by the final FIP year-
                                                   380 Wisconsin, 938 F.3d at 316 and 319–320
                                                                                                          of PTE that is generally consistent with               round, one commenter anticipated that
                                                 (noting that any such deviation must be ‘‘rooted in
                                                                                                          the definitions of that term in the EPA’s              control equipment would be operated as
                                                 Title I’s framework’’ and ‘‘provide a sufficient level   title V and NSR permit programs. See,                  necessary to achieve applicable
                                                 of protection to downwind States’’).                     e.g., 40 CFR 51.165(a)(1)(iii), 70.2. In               emissions limits, but that operational


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                                                 flexibility, cost considerations and                    performance test results collected using               Impacts, and Costs from Non-EGU
                                                 equipment longevity would warrant                       test methods that are supported by the                 Emissions Units for 2026, as described
                                                 operation of certain control equipment                  EPA’s Electronic Reporting Tool (ERT)                  in section V.B of this document.
                                                 on a schedule such that the equipment                   as listed on the ERT website 381 at the                   The EPA is also modifying certain
                                                 would not be used when unnecessary to                   time of the test be submitted in the                   provisions in response to public
                                                 meet emissions limits and/or outside of                 format generated through the use of the                comments to provide compliance
                                                 ozone season (i.e., during winter                       ERT or an electronic file consistent with              flexibilities for the Pipeline
                                                 months). The commenter further                          the XML schema on the ERT website                      Transportation of Natural Gas industry
                                                 explained that flexibility in the                       and that other performance test results                sector in order to focus emissions
                                                 operation of certain control equipment                  be submitted in portable document                      reduction efforts on the highest emitting
                                                 when unnecessary to meet emissions                      format (PDF) using the attachment                      units. Specifically, the EPA is finalizing
                                                 limits will allow for routine                           module of the ERT. Similarly, the EPA                  an exemption for emergency engines,
                                                 maintenance and repairs without                         is finalizing a requirement that                       and establishing provisions that allow
                                                 requiring variances or similar                          performance evaluation results of CEMS                 any owner or operator of an affected
                                                 exemptions from continuous operation                    measuring relative accuracy test audit                 unit to propose a Facility-Wide
                                                 requirements.                                           (RATA) pollutants that are supported by                Averaging Plan that would, if approved
                                                    Response: Based on the feedback                      the ERT at the time of the test be                     by EPA, provide an alternative means
                                                 received during the public comment                      submitted in the format generated                      for compliance with the emissions
                                                 period, the EPA is finalizing                           through the use of the ERT or an                       limits in this final rule.
                                                 requirements for non-EGU sources that                   electronic file consistent with the XML                   For purposes of this rule, the EPA is
                                                 will apply only during the ozone                        schema on the ERT website, and a                       clarifying and narrowing the definition
                                                 season, which runs annually from May                    requirement that other performance                     of ‘‘pipeline transportation of natural
                                                 to September. As discussed in the                       evaluation results be submitted in PDF                 gas’’ to mean the transport or storage of
                                                 proposed rule, this is consistent with                  using the attachment module of the                     natural gas prior to delivery to a local
                                                 EPA’s prior practice in Federal actions                 ERT. The final rule also requires that                 distribution company custody transfer
                                                 to eliminate significant contribution of                initial notifications of applicability,                station or to a final end-user (if there is
                                                 ozone in the 1998 NOX SIP Call, CAIR,                   annual compliance reports, and excess                  no local distribution company custody
                                                 CSAPR, CSAPR Update, and the                            emissions reports be submitted in PDF                  transfer station). The revised definition
                                                 Revised CSAPR Update. In addition, the                  uploaded in CEDRI.                                     of this term in § 52.41(a) is consistent
                                                 EPA did not receive any information                        Furthermore, the EPA is finalizing, as              with the EPA’s regulatory definition of
                                                 during the public comment period                        proposed, provisions that allow owners                 ‘‘natural gas transmission and storage
                                                 suggesting that sources would have to                   and operators to seek extensions of time               segment’’ in 40 CFR 60.5430(a) (subpart
                                                 run the necessary controls year-round                   to submit electronic reports due to                    OOOOa, Standards of Performance for
                                                 due to the nature of those controls. We                 circumstances beyond the control of the                Crude Oil and Natural Gas Facilities for
                                                 note, however, that certain emissions-                  owner or operator (e.g., due to a possible             Which Construction, Modification, or
                                                 control technologies, such as                           outage in CDX or CEDRI or a force                      Reconstruction Commenced After
                                                 combustion controls that are integrated                 majeure event) in the time just prior to               September 18, 2015).
                                                 into the unit itself, would likely                      a report’s due date, as well as provisions                The EPA is also adding definitions of
                                                 function to reduce NOX emissions year-                  specifying how to submit such a claim.                 the terms ‘‘local distribution company’’
                                                 round as a practical engineering matter.                Public commenters supported these                      and ‘‘local distribution company
                                                    Comment: Regarding electronic                        proposed provisions.                                   custody transfer station’’ that are
                                                 reporting through the Compliance and                       The EPA agrees with commenters that                 consistent with the definitions found in
                                                 Emissions Data Reporting Interface                      the CEDRI reporting requirements could                 40 CFR 98.400 (subpart NN, Suppliers
                                                 (CEDRI), one commenter requested that                   be centralized and has moved the CEDRI                 of Natural Gas and Natural Gas Liquids)
                                                 CEDRI reporting requirements be                         reporting requirements to 40 CFR 52.40.                and 40 CFR 60.5430(a) (subpart OOOOa,
                                                 consolidated in one location rather than                                                                       Standards of Performance for Crude Oil
                                                                                                         1. Pipeline Transportation of Natural                  and Natural Gas Facilities for Which
                                                 repeated in each section. Another
                                                 commenter requested that EPA include                    Gas                                                    Construction, Modification, or
                                                 electronic reporting requirements for                   Applicability                                          Reconstruction Commenced After
                                                 MWCs and specifically require that                         The EPA is finalizing regulatory                    September 18, 2015), respectively.
                                                 MWCs report CEMS data to CEDRI.                         requirements for the Pipeline                             Comment: Several commenters asked
                                                 Another commenter requested that EPA                    Transportation of Natural Gas industry                 EPA to exclude emergency engines in
                                                 allow for extensions of time for                                                                               the final rule and one commenter
                                                                                                         that apply to stationary, natural gas-
                                                 electronic reports due to technical                                                                            recommended that the EPA revise the
                                                                                                         fired, spark ignited reciprocating
                                                 glitches.                                                                                                      definition of affected unit to specifically
                                                                                                         internal combustion engines
                                                    Response: To increase the ease and                                                                          exempt emergency engines.
                                                                                                         (‘‘stationary SI engines’’) within these
                                                 efficiency of data submittal and data                                                                          Commenters stated that doing so would
                                                                                                         facilities that have a maximum rated
                                                 accessibility, the EPA is finalizing, as                                                                       not only be consistent with other
                                                                                                         capacity of 1,000 hp or greater. Based on
                                                 proposed, a requirement that owners                                                                            regulations applicable to stationary SI
                                                                                                         our review of the potential emissions
                                                 and operators of non-EGU sources                                                                               engines, but it would also be more
                                                                                                         from stationary SI engines, we find that
                                                 subject to the final FIPs, including                                                                           consistent with EPA’s applicability
                                                                                                         use of a maximum rated capacity of
                                                 MWCs, submit electronic copies of                                                                              analysis, which assumes stationary SI
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                                                                                                         1,000 hp reasonably approximates the
                                                 required initial notifications of                                                                              engines will operate for 7,000 hours a
                                                                                                         100 tpy PTE threshold used in the
                                                 applicability, performance test reports,                                                                       year, something emergency engines are
                                                                                                         Screening Assessment of Potential
                                                 performance evaluation reports,                                                                                prohibited from doing by Federal
                                                                                                         Emissions Reductions, Air Quality
                                                 quarterly and semi-annual reports, and                                                                         regulation. Commenters also stated that
                                                 excess emissions reports through EPA’s                    381 The ERT website is located at https://           emergency generators are currently
                                                 Central Data Exchange (CDX) using the                   www.epa.gov/electronic-reporting-air-emissions/        exempt from requirements applicable to
                                                 CEDRI. The final rule requires that                     electronic-reporting-tool-ert.                         non-emergency RICE covered by both


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                                                 the relevant NSPS rule (subpart JJJJ), as                  Comment: Several commenters raised                  use units and some units with emissions
                                                 well as the relevant NESHAP rule                        concerns about the EPA’s proposal to                   of less than 100 tons per year. However,
                                                 (subpart ZZZZ), and that although the                   establish applicability criteria for                   it is also not possible to guarantee
                                                 NSPS and NESHAP standards EPA has                       engines in Pipeline Transportation of                  without an effective emissions control
                                                 adopted for emergency RICE do not                       Natural Gas based on design capacity                   program that all such units could not
                                                 limit the amount of time they may run                   rather than PTE. Other commenters                      increase emissions in the future. As
                                                 for emergency purposes, EPA has                         asserted that the horsepower rating of an              discussed in section V of this document,
                                                 recognized in the past that states may                  engine does not necessarily correspond                 we continue to find that collectively
                                                 assume a maximum of 500 hours of                        to its annual emissions and that engines               engines with a design capacity of 1,000
                                                 operation to estimate the ‘‘potential to                with a rated capacity of more than 1,000               hp or higher in the states and industries
                                                 emit’’ in issuing air permits for                       hp in this industry sector may operate                 covered by this final rule emit
                                                 emergency RICE. One commenter                           at low load and/or infrequently and be                 substantial amounts of NOX that
                                                 asserted that emergency engines                         associated with limited NOX emissions.                 significantly contribute to downwind air
                                                 operating under other standards                         One commenter stated that most of the                  quality problems.
                                                 currently only operate for emergencies                  subject facilities in their state that have
                                                                                                                                                                   However, in response to concerns
                                                 or for a few hours at a time to                         natural gas fired SI engines with a
                                                                                                                                                                raised by commenters while continuing
                                                 periodically conduct regular                            nameplate capacity rating of 1,000 hp or
                                                                                                                                                                to ensure that this rule establishes an
                                                 maintenance, that their emissions are                   greater have annual NOX emissions less
                                                                                                                                                                effective emissions control program for
                                                 low, and that their contribution to the                 than 100 tpy, with nearly 25 percent of
                                                                                                                                                                these units that is consistent with our
                                                 ozone transport issues EPA’s proposal                   them less than 25 tpy. The commenter
                                                                                                                                                                Step 3 determinations, the EPA is
                                                 seeks to address is negligible. Another                 suggested that the 1,000 hp applicability
                                                                                                                                                                establishing a compliance alternative
                                                 commenter stated that the EPA has                       threshold would result in overcontrol.
                                                                                                                                                                using facility-wide emissions averaging,
                                                 traditionally exempted emergency                        According to one commenter, the EPA
                                                                                                                                                                which will allow facilities to prioritize
                                                 engines in past standards because the                   has overestimated the emissions rates
                                                                                                                                                                emissions reductions from larger,
                                                 EPA has typically found that the use of                 and operating hours of engines with a
                                                                                                                                                                higher-emitting units. (As previously
                                                 add-on emissions controls cannot be                     rated capacity of more than 1,000 hp
                                                                                                                                                                discussed, we are also establishing an
                                                 justified due to the cost of the                        and thus underestimated the size of
                                                                                                                                                                exemption for emergency engines,
                                                 technology relative to the emissions                    pipeline RICE that would be expected to
                                                                                                                                                                which also helps ensure that this final
                                                 reduction that would be obtained.                       emit more than 100 tpy of NOX
                                                                                                                                                                rule focuses on larger, more impactful
                                                    Response: With respect to stationary                 annually. According to this commenter,
                                                                                                                                                                units in this industry.) The facility-wide
                                                 SI emergency engines, the EPA has                       only engines much larger than 1,000 hp
                                                                                                                                                                emissions averaging alternative is
                                                 reviewed the information submitted by                   are likely to emit at the level EPA
                                                                                                                                                                explained in the following paragraphs.
                                                 the commenters and has decided to                       deemed appropriate for regulation.
                                                 exempt such engines from the                               Another commenter suggested that                    Emissions Limitations and Rationale
                                                 requirements of the final rule.                         the EPA should use a 150 ton per year
                                                 Exemption of emergency engines is                       threshold that the commenter alleges                     In developing the emissions limits for
                                                 generally consistent with the EPA’s                     was used in the Revised CSAPR Update                   the Pipeline Transportation of Natural
                                                 treatment of emergency engines in other                 rulemaking so that stationary SI engines               Gas industry, the EPA reviewed RACT
                                                 CAA rulemakings. See, e.g., 40 CFR                      are regulated on equal footing with                    NOX rules, air permits, and OTC model
                                                 63.6585(f). The EPA expects that this                   EGUs and raise the 1,000 hp threshold                  rules. While some permits and rules
                                                 change from the proposed rule                           to 2,000 hp, which according to the                    express engine emissions limits in parts
                                                 addresses the concerns expressed by the                 commenter would not sacrifice the                      per million by volume (ppmv), the
                                                 commenters about the requirements for                   emissions reductions to be achieved.                   majority of rules and source-specific
                                                 stationary emergency engines.                              Response: As explained in the                       requirements express the emissions
                                                    The final rule defines emergency                     proposal, the EPA found that most                      limits in grams per horsepower per hour
                                                 engines as engines that are stationary                  RACT requirements and other standards                  (g/hp-hr). The EPA has historically set
                                                 and operated to provide electrical power                reviewed by the EPA establish                          emissions limits for these types of
                                                 or mechanical work during an                            applicability criteria for engines based               engines using g/hp-hr and finds that
                                                 emergency situation. These engines are                  on design capacity rather than PTE. For                method appropriate for this final FIP as
                                                 typically used only a few hours per                     consistency with preexisting                           well.
                                                 year, and the costs of emissions control                requirements for engines, the EPA                        Based on the available information for
                                                 are not warranted when compared to the                  selected a design capacity of 1,000 hp                 this industry, including applicable State
                                                 emissions reductions that would be                      for engines to capture the sizes of units              and local air agency rules and active air
                                                 achieved.                                               identified in Step 3 of our analysis.                  permits issued to sources with similar
                                                    In the final rule, emergency engines                 Based on the Non-EGU Screening                         engines, the EPA is finalizing the
                                                 are subject to certain compliance                       Assessment memorandum, engines with                    following emissions limits for stationary
                                                 requirements on a continuous basis.                     a potential to emit of 100 tpy or greater              SI engines in the covered states.
                                                 Continuous compliance requirements                      had the most significant potential for                 Beginning in the 2026 ozone season and
                                                 include operating limitations that apply                NOX emissions reductions. The EPA                      in each ozone season thereafter, the
                                                 during non-emergency use but do not                     recognizes that the use of a 1,000 hp                  following emissions limits apply, based
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                                                 include emissions testing of emergency                  design capacity as part of the                         on a 30-day rolling average emissions
                                                 engines.                                                applicability criteria may capture low-                rate during the ozone season:




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                                                          TABLE VI.C–1—SUMMARY OF FINAL NOX EMISSIONS LIMITS FOR PIPELINE TRANSPORTATION OF NATURAL GAS
                                                                                                                                                                                                                                   Final NOX
                                                                                                                         Engine type and fuel                                                                                    emissions limit
                                                                                                                                                                                                                                    (g/hp-hr)

                                                 Natural Gas Fired Four Stroke Rich Burn .....................................................................................................................................                1.0
                                                 Natural Gas Fired Four Stroke Lean Burn ....................................................................................................................................                 1.5
                                                 Natural Gas Fired Two Stroke Lean Burn .....................................................................................................................................                 3.0



                                                    The EPA anticipates that, in some                                appropriate for four stroke lean burn                                provisions and criteria for establishing
                                                 cases, affected engines will need to                                engines.                                                             case-by-case alternative emissions limits
                                                 install NOX controls to comply with the                                Comment: One commenter stated that                                in response to the concerns raised by
                                                 final emissions limits in Table VI.C–1.                             the limits as proposed were not                                      commenters. NSCR can achieve NOX
                                                 The emissions limits for four stroke rich                           technically feasible in all circumstances.                           reductions of 90 to 99 percent, and
                                                 burn engines, four stroke lean burn                                 The commenter explained that its                                     engines in California, Colorado,
                                                 engines and two stroke lean burn                                    company has 150 four stroke rich burn                                Pennsylvania and Texas have achieved
                                                 engines are designed to be achievable by                            engines in its fleet and that some of                                the emissions limits that the EPA had
                                                 installing Non-Selective Catalytic                                  those engines cannot achieve the                                     proposed. Based on this information
                                                 Reduction (NSCR) on existing four                                   proposed 1.0 g/hp-hr limit even with                                 and the emissions limits and NOX
                                                 stroke rich burn engines; installing SCR                            both NSCR and layered combustion due                                 controls analysis developed by the OTC
                                                 on existing four stroke lean burn                                   to the vintage design of the individual                              in a report entitled Technical
                                                 engines; and retrofitting layer                                     cylinder geometry and the fact that most                             Information Oil and Gas Sector
                                                 combustion on existing two stroke lean                              of these engines are not in production                               Significant Stationary Sources of NOX
                                                 burn engines as identified in the Final                             today, which limits availability of parts                            Emissions (October 17, 2012), the EPA
                                                 Non-EGU Sectors TSD. Sources have the                               and retrofit technologies. The                                       is finalizing a 1.0 g/hp-hr emissions
                                                 flexibility to install any other control                            commenter asserted that 10 of its four                               limit for four stroke rich burn engines
                                                 technologies that enable the affected                               stroke rich burn engines have all                                    and a 1.5 g/hp-hr emissions limit for
                                                 units to meet the applicable emissions                              available controls on them and half of                               four stroke lean burn engines. The Final
                                                 limit on a continuous basis.                                        those still exceed the proposed limits.                              Non-EGU Sectors TSD provides a more
                                                    The EPA is establishing provisions                               The commenter estimated that 10 of its                               detailed explanation of the basis for
                                                 that allow any owner or operator of an                              four stroke lean burn engines would                                  these emissions limits.
                                                 affected unit in the Pipeline                                       require SCR to meet the 1.5 g/hp-hr                                     To address the concerns raised by
                                                 Transportation of Natural Gas Industry                              limit and that this control installation                             some commenters that not all engines
                                                 to propose a Facility-Wide Averaging                                would require custom retrofit due to the                             may be able to achieve the emissions
                                                 Plan that would, if approved by EPA,                                age of these engines. Furthermore, the                               limits as proposed due to engine vintage
                                                 provide an alternative means for                                    commenter stated that if current limits                              and technical constraints, the final rule
                                                 compliance with the emissions limits in                             are not achievable in all circumstances,                             allows any owner or operator of an
                                                 this final rule. These provisions will                              then lower limits are likewise                                       affected unit to request a Facility-Wide
                                                 provide some flexibility to owners and                              impossible for four stroke rich burn                                 Averaging Plan that would, if approved
                                                 operators of affected units to determine                            engines and four stroke lean burn                                    by EPA, provide an alternative means
                                                 which engines to control and at what                                engines in even more circumstances.                                  for compliance with the emissions
                                                 level, so long as the average emissions                             The commenter stated that the technical                              limits in the final rule. An approved
                                                 across all covered units, on a weighted                             feasibility of installing controls on any                            Facility-Wide Averaging Plan would
                                                 basis, meet the applicable emissions                                single existing engine varies and                                    allow the owner or operator of the
                                                 limits for each engine type. This                                   depends, in part, on site-specific and                               facility to identify the most cost-
                                                 approach allows facilities to target the                            engine-specific considerations such as                               effective means for installing the
                                                 most cost-effective emissions reductions                            space for the installation of the control,                           necessary controls (i.e., by installing
                                                 and to avoid installing controls on                                 the availability of sufficient power, the                            controls on the subset of engines that
                                                 equipment that is infrequently operated.                            emissions reductions required to meet                                provide the greatest emissions reduction
                                                                                                                     the applicable standards, and the                                    potential at lowest costs). In addition to
                                                    We provide a more detailed                                       vintage, make, and model of a particular                             the Facility-Wide Averaging Plan
                                                 discussion of the basis for the final                               engine. Another commenter                                            provisions, the final rule allows owners
                                                 emissions limits and the anticipated                                recommended tightening the proposed                                  and operators to seek EPA approval of
                                                 control technologies to be installed in                             emissions standards for four stroke lean                             alternative emissions limits, on a case-
                                                 the Final Non-EGU Sectors TSD.                                      burn engines to an emissions limit                                   by-case basis, where necessary due to
                                                 Four Stroke Rich Burn and Four Stroke                               similar to Colorado’s limit of 1.2 g/hp-                             technical impossibility or to avoid
                                                 Lean Burn Engines                                                   hr. A third commenter noted that the                                 extreme economic hardship. The
                                                                                                                     District of Columbia Department of                                   provisions governing case-by-case
                                                   The EPA requested comment on                                      Energy and Environment has NOX                                       alternative limits are explained in more
                                                 whether a lower emissions limit is
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                                                                                                                     emissions limits for both rich- and lean                             detail in section VI.C of this document.
                                                 appropriate for four stroke rich burn                               burn engines burning natural gas at 0.7
                                                 engines since even an assumed                                       g/hp-hr.                                                             Two Stroke Lean Burn Engines
                                                 reduction of 95 percent would result in                                Response: The EPA is finalizing the                                 The EPA requested comment on
                                                 most engines being able to achieve an                               emissions limits for both four stroke                                whether a lower emissions limit would
                                                 emissions rate of 0.5 g/hp-hr. The EPA                              rich burn engines and four stroke lean                               be achievable with layered combustion
                                                 also requested comment on whether a                                 burn engines as proposed but also                                    alone for the two stroke lean burn
                                                 lower or higher emissions limit is                                  establishing alternative compliance                                  engines covered by this final rule. The


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                                                 EPA also sought comment on whether                      that a 3.0 g/hp-hr emissions limit                     installation of controls on equipment
                                                 these engines could install additional                  generally reflects a level of control that             that is infrequently operated or
                                                 control technology at or below the                      is cost-effective for the majority of the              otherwise less cost-effective to control).
                                                 marginal cost threshold to achieve a                    affected units and sufficient to achieve               So long as all of the emissions units
                                                 lower emissions rate.                                   the necessary emissions reductions. As                 covered by the Facility-Wide Averaging
                                                    Comment: Commenters did not                          explained in the proposed rule and                     Plan collectively emit less than or equal
                                                 specifically address whether a lower                    expressed by public commenters, if the                 to the total amount of NOX emissions (in
                                                 emissions limit would be achievable                     EPA were to establish an emissions                     tons per day) that would be emitted if
                                                 with layered combustion alone at two                    limit lower than 3.0 g/hp-hr, some two                 each covered unit individually met the
                                                 stroke lean burn engines. However, one                  stroke lean burn engines would not be                  applicable NOX emissions limitations,
                                                 commenter stated that older two stroke                  able to meet the emissions limit with                  the covered units will be in compliance
                                                 lean burn engines generally would not                   the installation of layered combustion                 with the final rule. Under this
                                                 be able to achieve the proposed NOX                     control alone. In that case, the lower                 alternative compliance option, facilities
                                                 emissions limits. The commenter stated                  limit might require the installation of                have the flexibility to prioritize
                                                 that conversion kits are available for                  SCR, which the EPA did not find to be                  emissions reductions from larger, dirtier
                                                 several models that can reduce                          cost-effective for two stroke lean burn                engines.
                                                 emissions but that such kits are not                    engines in its Step 3 analysis.382 The                    Comment: Several commenters
                                                 made for all models, especially older                   Final Non-EGU Sectors TSD provides a                   recommended that the EPA promulgate
                                                 stationary engines. Commenters further                  more detailed explanation of the basis                 emissions averaging provisions, as it did
                                                 stated that where conversion kits are not               for this emissions limit.                              in the 2004 NOX SIP Call Phase 2 rule
                                                 available, a company would likely have                     In response to commenters’ concerns                 (69 FR 21604), in which the EPA
                                                 no choice but to replace the older four                 about the difficulties involved in                     evaluated and supported reliance on
                                                 stroke or two stroke stationary engines,                retrofitting or replacing older stationary             emissions averaging for RICE in the
                                                 typically at a cost of $2 million to $4                 engines to achieve the EPA’s proposed                  Pipeline Transportation of Natural Gas
                                                 million each.                                           emissions limit, the final rule allows                 industry sector. The commenter stated
                                                    Two commenters stated that they are                  any owner or operator of an affected                   that the EPA’s guidance to states on
                                                 required by their state agency to have                  unit to request a Facility-Wide                        developing an appropriate SIP in
                                                 RACT, BACT, or BART controls, at                        Averaging Plan that would, if approved                 response to the SIP Call provided
                                                 minimum. Commenters stated that                         by EPA, provide an alternative means                   companies the ‘‘flexibility’’ to use a
                                                 requiring additional controls at facilities             for compliance with the emissions                      number of control options, as long as
                                                 already equipped with RACT, BACT or                     limits in the final rule. In addition to the           the collective result achieved the
                                                 BART control technologies would not                     Facility-Wide Averaging Plan                           required NOX reductions, and that many
                                                 achieve the anticipated emissions                                                                              states built their revised SIPs around the
                                                                                                         provisions, the final rule allows owners
                                                 reductions due to operational factors                                                                          emissions averaging approach addressed
                                                                                                         and operators to seek EPA approval of
                                                 inherent in the preexisting and pre-                                                                           in this guidance document.383 One
                                                                                                         alternative emissions limits, on a case-
                                                 controlled equipment and that the                                                                              commenter recommended that the EPA
                                                                                                         by-case basis, where necessary due to
                                                 achievability of targeted control levels is                                                                    allow intra-state emissions averaging
                                                                                                         technical impossibility or to avoid
                                                 highly dependent upon a number of                                                                              across all pipeline RICE owned or
                                                                                                         extreme economic hardship. However,
                                                 variables at each facility.                                                                                    operated by the same company. Another
                                                    Another commenter suggested that                     in the context of older or ‘‘vintage,’’
                                                                                                                                                                commenter asserted that units of certain
                                                 the EPA set lower limits for two stroke                 high-emitting engines in this industry
                                                                                                                                                                vintages and units from certain
                                                 lean burn engines similar to the OTC-                   for which commenters claim emissions
                                                                                                                                                                manufacturers will not be able to meet
                                                 recommended limits in the range of 1.5–                 control technology retrofit is not
                                                                                                                                                                the emissions rate limits the EPA had
                                                 2.0 g/hp-hr.                                            feasible, the Agency anticipates taking
                                                                                                                                                                proposed. The commenter claimed that,
                                                    Response: Information currently                      into consideration the cost associated
                                                                                                                                                                absent a system based on source-specific
                                                 available to the EPA indicates that the                 with alternative compliance strategies,
                                                                                                                                                                emissions limits, emissions averaging is
                                                 amount of emissions reductions                          such as replacement with new, far more
                                                                                                                                                                one of the only practical mechanisms
                                                 achievable with layered combustion                      efficient and less polluting engines, in
                                                                                                                                                                for addressing these challenges.
                                                 controls is unit specific and can range                 evaluating claims of extreme economic
                                                                                                                                                                   One commenter stated that it had
                                                 from a 60 to 90 percent reduction in                    hardship.
                                                                                                                                                                evaluated the cost of controls for
                                                 NOX emissions. The EPA estimates that                   Facility-Wide Averaging Plan                           engines in its fleet and that the variety
                                                 existing uncontrolled two stroke lean                                                                          in cost-per-ton for each potential project
                                                 burn engines would need to reduce                         The EPA is finalizing regulatory text
                                                                                                         that provides for an emissions limit                   counsels for a more flexible approach,
                                                 emissions by up to 80 percent to comply                                                                        like an averaging program. Another
                                                 with a 3.0 g/hp-hr emissions limit. The                 compliance alternative using facility-
                                                                                                         level emissions averaging. An approved                 commenter advocated for an emissions
                                                 EPA has found that engines in                                                                                  averaging plan that would allow an
                                                 California, Colorado, Pennsylvania and                  Facility-Wide Averaging Plan will allow
                                                                                                         the owner or operator of the facility to               engine-by-engine showing of economic
                                                 Texas have achieved these emissions                                                                            infeasibility to ensure a cost-effective
                                                 rates. Based on this information and the                average emissions across all
                                                                                                         participating units and thus to select the             application of the emissions standards,
                                                 emissions limits and NOX controls                                                                              a reduced impact on natural gas
                                                 analysis developed by the OTC in a                      most cost-effective means for installing
                                                                                                         the necessary controls (i.e., by installing            capacity, and a means for addressing the
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                                                 report entitled Technical Information                                                                          problem presented by achieving
                                                 Oil and Gas Sector Significant                          controls on the subset of engines that
                                                 Stationary Sources of NOX Emissions                     provide the greatest emissions reduction                 383 The commenter refers to an August 22, 2002

                                                 (October 17, 2012), the EPA is finalizing               potential at lowest costs and avoiding                 memorandum from Lydia N. Wegman, Director,
                                                 a 3.0 g/hp-hr emissions limit for two                                                                          EPA, Air Quality Strategies and Standards Division
                                                                                                            382 87 FR 20036, 20143 (noting that an emissions    to EPA Air Division Directors, entitled ‘‘State
                                                 stroke lean burn engines. Although                      limit below 3.0 g/hp-hr may require some two           Implementation Plan (SIP) Call for Reducing
                                                 some affected units may be able to                      stroke lean burn engines to install additional         Nitrogen Oxides (NOX)—Stationary Reciprocating
                                                 achieve a lower emissions rate, we find                 controls beyond the EPA’s cost threshold).             Internal Combustion Engines.’’



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                                                 compliance on engines that are                            Wide Averaging Plan provisions, and                   emissions control installations for
                                                 technically impossible to retrofit.                       the number of affected units that would               certain stationary SI engines, by
                                                    One commenter stated that the EPA                      install controls under such an emissions              allowing facility owners and operators
                                                 should also consider allowing                             averaging plan, the EPA conducted an                  to average emissions across all
                                                 companies to choose a mass-based                          analysis on a subset of the estimated                 participating units and thus to select the
                                                 alternative that would ensure emissions                   3,005 stationary IC engines subject to                most cost-effective means for installing
                                                 reductions align with the tons per year                   the final rule. The EPA evaluated the                 the necessary controls (i.e., by installing
                                                 reductions upon which the EPA based                       reported actual NOX emissions data in                 controls on the subset of engines that
                                                 its significant contribution and over-                    tpy from a subset of facilities in the                provide the greatest emissions reduction
                                                 control analyses.                                         covered states using 2019 NEI data for                potential at lowest costs and avoiding
                                                    Response: Based upon the EPA’s 2019                    stationary IC engines with design                     installation of controls on equipment
                                                 NEI emissions inventory data, the EPA                     capacities of 1,000 hp or greater. The                that is infrequently operated or
                                                 estimates that a total of 3,005 stationary                EPA then identified a number of                       otherwise less cost-effective to control).
                                                 SI engines are subject to the final rule.                 facilities that have more than one                       An owner or operator of a facility
                                                 The EPA recognizes that many low-use                      affected engine, calculated each                      containing more than one affected unit
                                                 engines are captured by the 1,000 hp                      facility’s emissions ‘‘cap’’ as the total             may elect to use an EPA-approved
                                                 design capacity applicability threshold.                  NOX emissions (in tpy) allowed facility-              Facility-Wide Averaging Plan as an
                                                 In the process of reviewing public                        wide based on the unit-specific NOX                   alternative means of compliance with
                                                 comments, the EPA reviewed emissions                      emissions limits applicable to all                    the NOX emissions limits in § 52.41(c).
                                                 averaging plans found in state air                        affected units at the facility, and                   The owner or operator of such a facility
                                                 quality rules for Colorado, Illinois,                     identified a number of higher-emitting                must submit a request to the EPA that,
                                                 Louisiana, New Jersey, and                                engines at each facility that were                    among other things, specifies the
                                                 Tennessee.384 Based on these additional                   candidates for having controls installed.             affected units that will be covered by
                                                 reviews, the EPA is finalizing in                         For engines that EPA identified were                  the plan, provides facility and unit-level
                                                 § 52.41(c) of this final rule an emissions                likely to install controls, the EPA                   identification information, identifies the
                                                 limit compliance alternative using                        assumed that four stroke rich burn                    facility-wide emissions ‘‘cap’’ (in tpd)
                                                 facility-level emissions averaging.                       engines, four stroke lean burn engines,               that the facility must comply with on a
                                                 Emissions averaging plans will allow                      and two stroke lean burn engines could                30-day rolling average basis, and
                                                 facility owners and operators to                          achieve a NOX emissions rate of 0.5 g/                provides the calculation methodology
                                                 determine how to best achieve the                         hp-hr with the installation of SCR based              used to demonstrate compliance with
                                                 necessary emissions reductions by                         on data obtained from the Ozone                       the identified emissions cap. The EPA
                                                 installing controls on the affected                       Transport Commission report entitled                  will approve a request for a Facility-
                                                 engines with the greatest emissions                       Technical Information Oil and Gas                     Wide Averaging Plan if the EPA
                                                 reduction potential rather than on units                  Sector Significant Stationary Sources of              determines that the facility-wide
                                                 with lower actual emissions where the                     NOX Emissions (October 17, 2012). For                 emissions total (in tpd), based on a 30-
                                                 installation of controls would be less                    the remaining engines identified as                   day rolling emissions average basis
                                                 cost effective. The final rule defines                    uncontrolled, the EPA assumed a NOX                   during the ozone season, is less than the
                                                 ‘‘facility’’ consistent with the definition               emissions rate of 16 g/hp-hr for all                  emissions cap (in tpd) and the plan
                                                 of this term as it generally applies in the               engine types. Thus, under the assumed                 establishes satisfactory means for
                                                 EPA’s NSR and title V permitting                          averaging scenarios, engines with                     determining initial and continuous
                                                 regulations,385 with one addition to                      controls installed would achieve                      compliance, including appropriate
                                                 make clear that, for purposes of this                     emissions levels below the emissions                  testing, monitoring, and recordkeeping
                                                 final rule, a ‘‘facility’’ may not extend                 limits in the final rule and would offset             requirements.
                                                 beyond the boundaries of the 20 states                    the higher emissions from the remaining               Compliance Assurance Requirements
                                                 covered by the FIP for industrial                         uncontrolled units.
                                                 sources, as identified in § 52.40(b)(2).                     The EPA then calculated the total                    The EPA is requiring owners and
                                                 Because a facility cannot extend beyond                   facility-wide emissions (in tpy) under                operators of affected units to conduct
                                                 this geographic area, a Facility-Wide                     various assumed averaging scenarios                   annual performance tests in accordance
                                                 Averaging Plan also cannot extend                         and compared those totals to each                     with 40 CFR 60.8 to demonstrate
                                                 beyond the 20-state area covered by the                   facility’s calculated emissions cap (in               compliance with the NOX emissions
                                                 FIP.                                                      tpy) to estimate the number of affected               limit in this final rule. The EPA is also
                                                    To estimate the number of facilities                   units at each facility that would need to             requiring owners and operators to
                                                 that may take advantage of the Facility-                  install controls to ensure that total                 monitor and record hours of operation
                                                                                                           facility-wide emissions remained below                and fuel consumption and to use
                                                    384 See Code of Colorado Regulations, Regulation       the emissions cap. Based on these                     continuous parametric monitoring
                                                 Number 7 (5 CCR 1001–9), Part E, Section I.D.5.c.,        analyses, the EPA found that emissions                systems to demonstrate ongoing
                                                 Illinois Administrative Code, Title 35, Section           averaging should allow most facilities to             compliance with the applicable NOX
                                                 217.390, Louisiana Administrative Code, Title 33,                                                               emissions limit. For example, owners
                                                 Section 2201, New Jersey Administrative Code,             install controls on approximately one-
                                                 Title 7, Chapter 27, Section 19.6, and Rules of the       third of the engines at their sites, on               and operators of engines that utilize
                                                 Tennessee Dept. of Environment and Conservation,          average, while complying with the                     layered combustion controls will need
                                                 Rule 1200–03–27–.09.                                      applicable NOX emissions cap on a                     to monitor and record temperature, air
                                                    385 See 40 CFR 51.165(a)(1)(ii)(A), 51.166(b)(6)(i),
                                                                                                                                                                 to fuel ratio, and other parameters as
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                                                                                                           facility-wide basis. For a more detailed
                                                 and 52.21(b)(6)(i) (defining ‘‘building, structure,
                                                 facility, or installation’’ for Nonattainment New         discussion of the EPA’s analysis and                  appropriate to ensure that combustion
                                                 Source Review and Prevention of Significant               related assumptions, see the Final Non-               conditions are optimized to reduce NOX
                                                 Deterioration permits) and Natural Resources              EGU Sectors TSD.                                      emissions and assure compliance with
                                                 Defense Council v. EPA, 725 F.2d 761 (D.C. Cir.              The Facility-Wide Averaging Plan                   the emissions limit. For engines using
                                                 1984) (vacating and remanding EPA’s categorial
                                                 exclusion of vessel activities from this definition);
                                                                                                           provisions that the EPA is finalizing                 SCR or NSCR, owners and operators
                                                 see also 40 CFR 70.2 (defining ‘‘major source’’ for       provide the flexibility needed to address             must monitor and record parameters
                                                 title V operating permits).                               the concerns about the costs of                       such as inlet temperature to the catalyst


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                                                 and pressure drop across the catalyst.                  EPA is revising the frequency of                       units in the Pipeline Transportation of
                                                 For affected engines that meet the                      required performance tests from a semi-                Natural Gas industry and agrees that it
                                                 certification requirements of                           annual basis to once per calendar year.                is not necessary to require CEMS for
                                                 § 60.4243(a), however, the facility-wide                As commenters correctly pointed out,                   purposes of compliance with the
                                                 emissions calculations may be based on                  the emissions limits in these final FIPs               requirements of this final rule for this
                                                 certified engine emissions standards                    only apply during the 5-month ozone                    industry. Accordingly, the EPA is not
                                                 data pursuant to § 60.4243(a), instead of               season and testing once per calendar                   finalizing requirements for affected
                                                 performance tests.                                      year should be sufficient to confirm the               units in this industry sector to install or
                                                    In calculating the facility-wide                     accuracy of the parameters being                       operate CEMS. Instead, the EPA is
                                                 emissions total during the ozone season,                monitored to determine continuous                      requiring parametric monitoring
                                                 affected engines covered by the Facility-               compliance during the ozone season.                    protocols, as described earlier, coupled
                                                 Wide Averaging Plan must be identified                  The EPA also agrees with commenters                    with an annual performance test, which
                                                 by each engine’s nameplate capacity in                  that the annual tests required under the               will ensure that the emissions limits are
                                                 horsepower, its actual operating hours                  final rule need not occur during the                   legally and practically enforceable on a
                                                 during the ozone season, and its                        ozone season. However, where sources                   continuous basis, and that data are
                                                 emissions rates in g/hp-hr from certified               are able to do so, we recommend                        recorded, reported, and can be made
                                                 engine data or from the most recent                     conducting a stack test in the period                  publicly available, ensuring the ability
                                                 performance test results for non-                       relatively soon before the start of the                of state and Federal regulators and other
                                                 certified engines according to § 52.41(e).              ozone season. This would provide the                   persons under CAA sections 113 and
                                                    Comment: Several commenters stated                   greatest assurance that the emissions                  304 to enforce the requirements of the
                                                 that semi-annual performance testing                    control systems are working as intended                Act.
                                                 would not be appropriate due to its high                and the applicable emissions limit will
                                                                                                                                                                2. Cement and Concrete Product
                                                 costs and limited benefits. One                         be met when the ozone season starts.
                                                                                                                                                                Manufacturing
                                                 commenter proposed a ‘‘step-down’’                         Comment: Commenters generally
                                                 testing alternative that could be                       stated that requiring CEMS would add                   Applicability
                                                 conducted after establishing an engine’s                an unnecessary cost and complexity,
                                                 initial compliance via performance                      would provide no emissions reduction                     For cement kilns in the Cement and
                                                 testing. Under this approach, owners                    benefit for the affected units the                     Cement Product Manufacturing
                                                 and operators would conduct one                         proposed FIP intends to control and are                industry, the EPA is finalizing the
                                                 performance test and would only need                    not warranted due to the availability of               proposed applicability provisions
                                                 to conduct a second performance test                    other established methods of                           without change. The affected units in
                                                 within a given year if the first                        compliance assurance, such as                          this industry are cement kilns that emit
                                                 performance test demonstrated that an                   parametric monitoring and periodic                     or have a PTE of 100 tpy or more of
                                                 engine was not meeting the applicable                   testing. One commenter stated that                     NOX. The EPA received comments
                                                 emissions standards.                                    requiring CEMS would add unnecessary                   regarding the definition of PTE, which
                                                    Another commenter asserted that to                   CEMS testing obligations. Another                      we address in section VI.C, but no
                                                 test all of its 950 units, a minimum of                 commenter stated that the costs                        comments concerning the 100 tpy PTE
                                                 12 months would be needed rather than                   associated with CEMS and frequent                      threshold for applicability purposes.
                                                 the six months the EPA had proposed to                  performance testing on affected RICE                   Emissions Limitations and Rationale
                                                 provide (or five months if the EPA                      would be as much, if not more, than the
                                                 would require one of the semi-annual                    costs associated with installation and                    As explained in the proposal, the EPA
                                                 tests to be conducted during the ozone                  operation of some of the control                       based the proposed emissions limits for
                                                 season). The commenter stated that the                  technologies EPA has considered in                     cement kilns on the types of limits being
                                                 EPA had accounted for these                             setting the proposed emissions limits.                 met across the nation in RACT NOX
                                                 operational realities in the past and that              According to one commenter, the EPA                    rules, NSPS, air permits, and consent
                                                 under the NSPS and NESHAP, testing is                   has traditionally agreed with this                     decrees. Based on these requirements,
                                                 generally required only once for every                  viewpoint on the high cost of CEMS, as                 the EPA proposed emissions limits in
                                                 8,760 hours of run time. The commenter                  most stationary engines are not                        the form of mass of pollutant emitted (in
                                                 asserted that there is no reason to                     currently required under the NSPS or                   pounds) per kiln’s clinker output (in
                                                 require more frequent testing than those                NESHAP to install or operate CEMS.                     tons), i.e., pounds of NOX emitted per
                                                 required under the NSPS and NESHAP.                        Another commenter stated that in                    ton of clinker produced during a 30-
                                                    Several commenters requested that                    addition to cost, there are other barriers             operating day rolling average period.
                                                 the EPA allow for reduction in the                      to installing CEMS on RICE across the                  Further, the EPA proposed specific
                                                 frequency of testing to once every two                  Pipeline Transportation of Natural Gas                 emissions limits for long wet, long dry,
                                                 years if testing shows that NOX                         industry. Many RICE in the Pipeline                    preheater, precalciner, and combined
                                                 emissions are no more than 75 percent                   Transportation of Natural Gas industry                 preheater/precalciner kilns. The EPA
                                                 of permitted NOX emissions limits. In                   are located at remote, unstaffed                       also proposed a daily source cap limit
                                                 addition, several commenters stated that                locations, meaning that there would be                 that would apply to all units at a
                                                 since the rule is intended to address the               no staff available to respond and react                facility. Based on information received
                                                 ozone season, a single, annual test is                  to communication or alarms from                        from public comments, the EPA is
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                                                 more feasible than semi-annual testing                  CEMS.                                                  removing the daily source cap limit but
                                                 and reporting.                                             Response: The EPA acknowledges the                  finalizing the emissions limits as
                                                    Response: For the stationary SI                      costs associated with the installation                 proposed in all other respects, as shown
                                                 engines subject to this final rule, the                 and maintenance of CEMS at affected                    in Table VI.C–2.




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                                                            TABLE VI.C–2—SUMMARY OF NOX EMISSIONS LIMITS FOR KILN TYPES IN CEMENT AND CONCRETE PRODUCT
                                                                                                 MANUFACTURING
                                                                                                                                                                                                                                             NOX emissions limit
                                                                                                                                      Kiln type                                                                                               (lb/ton of clinker)

                                                 Long Wet ...............................................................................................................................................................................                      4.0
                                                 Long Dry ................................................................................................................................................................................                     3.0
                                                 Preheater ...............................................................................................................................................................................                     3.8
                                                 Precalciner .............................................................................................................................................................................                     2.3
                                                 Preheater/Precalciner ............................................................................................................................................................                            2.8



                                                   Comment: Numerous commenters                                              ozone season emissions limits for                                           sources is provided in section VI.A.
                                                 raised concerns about designing a                                           individual kiln types listed in Table                                       Regarding the comment that certain
                                                 source cap limit based on average                                           VI.C–2 will achieve the necessary                                           facilities may already have SNCR
                                                 annual production in tons of clinker and                                    emissions reductions for purposes of                                        control technology installed, we
                                                 kiln type. Commenters stated that the                                       eliminating significant contribution as                                     recognize that many sources throughout
                                                 source cap limit equation as used in a                                      defined in section V and is, therefore,                                     the EGU sector and non-EGU industries
                                                 prior action applied to long wet and dry                                    finalizing these emissions limitations                                      covered by this rule may already be
                                                 preheater-precalciner or precalciner                                        without change.                                                             achieving enforceable emissions
                                                 kilns and did not include other kiln                                           Comment: One commenter supported                                         performance commensurate with the
                                                 types. Commenters expressed concern                                         retirement of existing long wet kilns and                                   requirements of this action. This is
                                                 that the CAP2015 Ozone Transport                                            replacement of these kilns with modern
                                                                                                                                                                                                         entirely consistent with the logic of our
                                                 equation the EPA proposed in this rule                                      kilns. Other commenters opposed the
                                                 could lead to artificially low and                                                                                                                      4-step interstate transport framework,
                                                                                                                             phase out and retiring of these kilns,
                                                 restrictive daily emissions caps for                                        stating that many of the screened kilns                                     which is designed to bring all covered
                                                 facilities that experienced a temporary                                     have SNCR already installed and                                             sources within the region of linked
                                                 decrease in production due to the                                           questioning whether replacement of                                          upwind states up to a uniform level of
                                                 COVID–19 pandemic, during the                                               existing long wet kilns is cost-effective.                                  NOX emissions performance during the
                                                 historical three-year period proposed for                                   Some commenters also stated that                                            ozone season. See EME Homer City, 572
                                                 use in determining the NOX source cap.                                      according to EPA’s ‘‘NOX Control                                            U.S. at 519. Sources that are already
                                                 Also, commenters expressed concern                                          Technologies for the Cement Industry,                                       achieving that level of performance will
                                                 that the proposed daily emissions cap                                       Final Report,’’ SNCR is not an                                              face relatively limited compliance costs
                                                 limit originated as a local or regional                                     appropriate NOX control technique for                                       associated with this rule.
                                                 limit for a single county and would not                                     long wet kilns.
                                                 be appropriate for national application                                                                                                                 Compliance Assurance Requirements
                                                                                                                                Response: The EPA appreciates the
                                                 without further evaluation taking into                                      challenges identified by commenters,                                           The EPA received no comments on
                                                 account the specific characteristics of                                     such as site-specific technical                                             the proposed test methods and
                                                 cement kilns in other states. One                                           evaluation and review and significant                                       procedures provisions for the cement
                                                 commenter suggested more stringent                                          capital investment associated with                                          industry. Therefore, we are finalizing
                                                 emissions limits than those the EPA had                                     undertaking kiln conversions or to                                          the proposed test methods and
                                                 proposed for individual kiln types.                                         install new kilns and is not finalizing
                                                   Response: The EPA is not finalizing                                                                                                                   procedures for affected cement kilns
                                                                                                                             any requirements to replace existing
                                                 the proposed daily source cap limit as                                                                                                                  without change.
                                                                                                                             long wet kilns in this rule.
                                                 the Agency agrees with the commenters                                          Comment: Several commenters                                                 Comment: Commenters generally
                                                 that this proposed limit would be                                           expressed concern about the supply                                          supported requiring performance testing
                                                 unnecessarily restrictive and was based                                     chain issues relevant to the                                                or installation of CEMS on affected
                                                 on a formula that did not include all                                       procurement, design, construction, and                                      cement kilns. Some commenters
                                                 kiln types. Given the unusual reduction                                     installation of control devices, as well as                                 suggested that no performance testing
                                                 in cement production activities due to                                      securing related contracts, for the                                         should be required and others suggested
                                                 the COVID–19 pandemic, production                                           cement industry, particularly when                                          that performance testing should only be
                                                 rates during the 2019–2021 period are                                       cement sources will be competing with                                       required when a title V permit is due for
                                                 not representative of cement plants                                         the EGU and other industrial sectors for                                    renewal (every 5 years). One commenter
                                                 activities generally. Accordingly, use of                                   similar services. One commenter stated                                      suggested requiring sources to conduct
                                                 the proposed daily source cap limit                                         that many preheater/precalciner kilns                                       stack tests during the ozone season.
                                                 would result in an artificially restrictive                                 are already equipped with SNCR and
                                                 NOX emissions limit for affected cement                                     that one facility not equipped with                                            Response: Affected kilns that operate
                                                 kilns, particularly when this sector                                        SNCR is already meeting NOX emissions                                       a NOX CEMS may use CEMS data
                                                 operates longer hours during the spring                                     levels of 1.95 lb/ton of clinker or less.                                   consistent with the requirements of 40
                                                 and summer construction season. With                                        The commenter stated that the EPA                                           CFR 60.13 in lieu of performance tests
                                                                                                                                                                                                         to demonstrate compliance with the
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                                                 respect to those comments supporting                                        should revise its assessment of potential
                                                 more stringent emissions limits than                                        NOX reductions and cost estimates by                                        requirements of this final rule. For
                                                 those the EPA proposed for individual                                       accurately accounting for existing                                          affected kilns subject to this final rule
                                                 kiln types, we disagree given the                                           operating efficiencies and control                                          that do not employ NOX CEMS, the EPA
                                                 significant differences among different                                     devices at cement kilns.                                                    is adjusting the performance testing
                                                 kilns in design, configuration, age, fuel                                      Response: The EPA’s response to                                          frequency and requiring kilns to
                                                 capabilities, and raw material                                              comments on the time needed for                                             conduct a performance test on an
                                                 composition. The EPA finds that the                                         installation of controls for non-EGU                                        annual basis during a given calendar


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                                                 year.386 The EPA finds that annual                      tpy or more of NOX. After review of all                furnaces (oxy-fuel burners), and many
                                                 performance testing and recordkeeping                   available information received during                  other examples at refineries and other
                                                 of cement production and fuel                           public comment, the EPA has                            large industrial facilities. The EPA
                                                 consumption during the ozone season                     determined that there is sufficient                    anticipates that with adequate time,
                                                 will assure compliance with the                         information to determine that low-NOX                  modeling, and optimization efforts, such
                                                 emissions limits during the ozone                       burners can be installed on reheat                     NOX reduction technology may be
                                                 season (May through September) each                     furnaces. As explained further in the                  achievable and cost-effective for these
                                                 year for purposes of this rule. The                     Final Non-EGU Sectors TSD, the EPA                     emissions units in the Iron and Steel
                                                 required annual performance test may                    identified 32 reheat furnaces with low-                Mills and Ferroalloy Manufacturing
                                                 be performed at any time during the                     NOX burners installed and has                          sector as well. However, the data we
                                                 calendar year. However, where sources                   concluded that low-NOX burners are a                   have reviewed is insufficient at this
                                                 are able to do so, we recommend                         readily available and widely                           time to support a generalized
                                                 conducting a stack test in the period                   implemented emissions reduction                        conclusion that the application of NOX
                                                 relatively soon before the start of the                 strategy.387 This rule defines reheat                  controls, including SCR or other NOX
                                                 ozone season. This would provide the                    furnaces to include all furnaces used to               control technologies such as LNB, is
                                                 greatest assurance that the emissions                   heat steel product—metal ingots, billets,              currently both technically feasible and
                                                 control systems are working as intended                 slabs, beams, blooms and other similar                 cost effective on a fleetwide basis for
                                                 and the applicable emissions limit will                 products—to temperatures at which it                   these emission source types in this
                                                 be met when the ozone season starts.                    will be suitable for deformation and                   industry. We provide a more detailed
                                                    Comment: One commenter stated that                   further processing.                                    discussion of the economic and
                                                 CEMS has been used successfully at its                     Comment: Several industry                           technical issues associated with
                                                 facility. Another commenter explained                   commenters requested that the EPA not                  implementation of NOX control
                                                 that the inside of a cement kiln is an                  include certain iron and steel emissions               technologies on these emissions units,
                                                 extremely challenging environment for                   units—including blast furnaces, basic                  including information provided by
                                                 making any kind of continuous                           oxygen furnaces (BOFs), ladle and                      commenters, in section 4 of the Final
                                                 measurement as temperatures are high,                   tundish preheaters, annealing furnaces,                Non-EGU Sectors TSD.
                                                 and there is a lot of dust and tumbling                 vacuum degassers, taconite kilns, coke                    Reheat furnaces are the only type of
                                                 clinker can damage in situ measuring                    ovens, and electric arc furnaces                       emissions unit within the Iron and Steel
                                                 instruments.                                            (EAFs)—in the final rule as proposed                   Mills and Ferroalloy Manufacturing
                                                    Response: The majority of cement                     due to, among other things, the                        industry that this final rule applies to.
                                                 kilns in the United States are already                  uniqueness of each emissions unit,                     Low-NOX controls (e.g., low-NOX
                                                 equipped with CEMS. However, in                         various design-related challenges, and
                                                                                                                                                                burners) are a demonstrated control
                                                 response to commenters concerns                         expected impossibility of successful
                                                                                                                                                                technology that many reheat furnaces
                                                 regarding the installation of CEMS, the                 implementation of add-on NOX control
                                                 EPA is finalizing alternative compliance                                                                       have successfully employed.
                                                                                                         technology. Commenters expressed
                                                 requirements in lieu of CEMS. Owners                    concern about requirements to install                     Comment: One commenter claimed
                                                 or operators of affected emissions units                SCR for all iron and steel units for                   that the proposed definition of ‘‘reheat
                                                 without CEMS installed must conduct                     which the EPA proposed emissions                       furnaces’’ is overly vague and requested
                                                 annual performance testing and                          limits. The commenters stated that iron                that the EPA amend the definition.
                                                 continuous parametric monitoring to                     and steel units had not installed SCR                  Specifically, the commenter asserted
                                                 demonstrate compliance with the                         except in a few rare instances for                     that the EPA’s proposed definition does
                                                 emissions limits in this final rule.                    experimental reasons and that SCR                      not indicate what counts as ‘‘steel
                                                 Specifically, owners or operators of                    technology was not readily available or                product’’ and whether this includes
                                                 affected units without CEMS must                        known for the iron and steel industry,                 only products that have already been
                                                 monitor and record stack exhaust gas                    unlike the control technologies expected               manufactured into some form before
                                                 flow rate, hourly production rate, and                  to be installed in other non-EGU                       being introduced to a reheat furnace, or
                                                 stack exhaust temperature during the                    industries. Furthermore, commenters                    whether it also includes steel that has
                                                 initial performance test and subsequent                 stated that SCR had not been applied for               never left the original production
                                                 annual performance tests to assure                      RACT, BACT, or LAER purposes on iron                   process, such as hot steel coming
                                                 compliance with the applicable                          and steel units.                                       directly from a connected casting
                                                 emissions limit. The owner or operator                     Response: In light of the comments                  process which has not yet been formed
                                                 must then continuously monitor and                      we received on the complex economic                    into a definitive product. The
                                                 record those parameters to demonstrate                  and, in some cases, technical challenges               commenter referenced the definition of
                                                 continuous compliance with the NOX                      associated with implementation of NOX                  reheat furnaces in Ohio’s RACT
                                                 emissions limits.                                       control technologies on certain                        regulations as an example to consider.
                                                                                                         emissions units in this sector, the EPA                   Response: In response to these
                                                 3. Iron and Steel Mills and Ferroalloy                  is not finalizing the proposed emissions               comments, the EPA is finalizing a
                                                 Manufacturing                                           limits for blast furnaces, BOFs, ladle                 definition of reheat furnaces that is
                                                 Applicability                                           and tundish preheaters, annealing                      consistent with the definition in Ohio’s
                                                                                                         furnaces, vacuum degassers, taconite                   NOX RACT regulations. See Ohio
                                                   The EPA is establishing emissions
                                                 control requirements for the Iron and                   kilns, coke ovens, or EAFs.                            Admin. Code 3745–110–01(b)(35)
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                                                 Steel Mills and Ferroalloy                                 The EPA is aware of many examples                   (March 25, 2022). Specifically, the EPA
                                                 Manufacturing source category that                      of low-NOX technology utilized at                      is defining reheat furnaces to mean ‘‘all
                                                 apply to reheat furnaces that directly                  furnaces, kilns, and other emissions                   furnaces used to heat steel product,
                                                 emit or have the potential to emit 100                  units in other sectors with similar                    including metal ingots, billets, slabs,
                                                                                                         stoichiometry, including taconite kilns,               beams, blooms and other similar
                                                   386 40 CFR 63.11237 ‘‘Calendar year’’ defined as      blast furnace stoves, electric arc                     products, to temperatures at which it
                                                 the period between January 1 and December 31,                                                                  will be suitable for deformation and
                                                 inclusive, for a given year.                              387 See Final Non-EGU Sectors TSD, Section 4.        further processing.’’


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                                                 Emissions Control Requirements,                         installed low-NOX burners and are                      installed, high-efficiency low-NOX
                                                 Testing, and Rationale                                  achieving various emissions rates.388                  burners. Many sources throughout the
                                                                                                            Due to variations in the emissions                  EGU sector and non-EGU industries
                                                    Based on the available information for               rates that different types of reheat                   covered by this rule may already be
                                                 this industry, applicable Federal and                   furnaces can achieve, the EPA is not                   achieving enforceable emissions
                                                 state rules, and active air permits or                  finalizing one emissions limit for all                 performance commensurate with the
                                                 enforceable orders issued to affected                   reheat furnaces and is instead requiring               requirements of this action. This is
                                                 facilities in the iron and steel and                    the installation of low-NOX burners or                 entirely consistent with the logic of our
                                                 ferroalloy manufacturing industry, the                  equivalent low-NOX technology                          4-step interstate transport framework,
                                                 EPA is finalizing requirements for each                 designed to achieve a minimum 40                       which is designed to bring all covered
                                                 facility with an affected reheat furnace                percent reduction from baseline NOX                    sources within the region of linked
                                                 to design, fabricate and install high-                  emission levels, together with source                  upwind states up to a uniform level of
                                                 efficiency low-NOX burners designed to                  specific emissions limits to be set                    NOX emissions performance during the
                                                 reduce NOX emissions from pre-                          thereafter based on performance testing.               ozone season. See EME Homer City, 572
                                                 installation emissions rates by at least                Specifically, the final rule requires that             U.S. at 519. Sources that are already
                                                 40 percent by volume, and to conduct                    each owner or operator of an affected                  achieving that level of performance will
                                                 performance testing before and after                    unit submit to the EPA, within one year                face relatively limited compliance costs
                                                 burner installation to set emissions                    after the effective date of the final rule,            associated with this rule.
                                                 limits and verify emissions reductions                  a work plan that identifies the low-NOX                   The EPA is finalizing requirements for
                                                 from pre-installation emissions rates.                  burner or alternative low-NOX                          reheat furnaces to install high-efficiency
                                                 Each low-NOX burner shall be designed                   technology selected, the phased                        low-NOX burners designed to reduce
                                                 to achieve at least 40 percent NOX                      construction timeframe by which the                    NOX emissions from pre-installation
                                                 reduction from existing reheat furnace                  owner or operator will design, install,                emissions rates by 40 percent by
                                                 exhaust emissions rates. Each facility                  and consistently operate the control                   volume, and to perform pre- and post-
                                                                                                         device, an emissions limit reflecting the              installation performance testing at
                                                 with an affected reheat furnace shall,
                                                                                                         required 40 percent reduction in NOX                   exhaust outlets to determine rate-based
                                                 within 60 days of conclusion of the
                                                                                                         emission levels, and, where applicable,                emissions limits for reheat furnaces in
                                                 post-installation performance test,
                                                                                                         performance test results obtained no                   lb/hour, lb/mmBtu, or lb/ton on a
                                                 submit testing results to the EPA to                    more than five years before the effective              rolling 30-operating day average.
                                                 establish NOX emissions limits over a                   date of the final rule to be used as                   Owners and operators of affected units
                                                 30-day rolling average. Each proposed                   baseline emissions testing data                        must also monitor NOX emissions from
                                                 emissions limit must be supported by                    providing the basis for the required                   reheat furnaces using CEMS or annual
                                                 performance test data and analysis.                     emissions reductions. If no such data                  performance testing and recordkeeping
                                                    In evaluating potential emissions                    exist, then the owner or operator must                 and operate low-NOX burners in
                                                 limits for the Iron and Steel and                       perform pre-installation testing to                    accordance with work practice
                                                 Ferroalloy Manufacturing industry, the                  establish baseline emissions data.                     standards set forth in the regulatory text.
                                                 EPA reviewed RACT NOX rules,                               Comment: One commenter stated that                  Due to the many types of emissions
                                                 NESHAP rules, air permits and related                   the standard practice for setting NOX                  units within the Iron and Steel Mills
                                                 emissions tests, technical support                      limits for iron and steel sources often                and Ferroalloy Manufacturing industry,
                                                 documents, and consent decrees. These                   requires consideration of site or unit-                and the limited information available at
                                                 rules and source-specific requirements                  specific issues. Similarly, another                    this time regarding NOX control options
                                                 most commonly express emissions                         commenter stated that a single limit                   that are achievable for these units, the
                                                 limits for this industry in terms of mass               would not provide an adequate basis for                EPA is finalizing requirements only for
                                                 of pollutant emitted (pounds) per                       establishing NOX emissions limits that                 reheat furnaces at this time.
                                                 operating hour (hour) (i.e., pounds of                  will universally apply to multiple,                       Comment: Commenters expressed
                                                 NOX emitted per production hour),                       unique facilities. The same commenter                  concern that the proposed emissions
                                                 pounds per energy unit (i.e., million                   stated that NOX reduction in certain                   limits identified both a 3-hour and a 30-
                                                 British thermal unit (mmBtu)), or                       furnaces is routinely achievable by                    day averaging time for the same limits
                                                 pounds of NOX per ton of steel                          combustion controls or measures other                  and requested that the EPA clarify the
                                                 produced. Regulated iron and steel                      than SCR.                                              averaging time in the final rule.
                                                                                                            Response: The EPA acknowledges the                  Commenters requested that the EPA
                                                 facilities, including facilities operating
                                                                                                         difficulty in crafting one emissions limit             finalize limits with a 30-day averaging
                                                 reheat furnaces in this sector, routinely               for multiple iron and steel facilities and             time consistent with the requirements
                                                 monitor and keep track of production in                 units of varying size, age, and design, in             for other non-EGU industries.
                                                 terms of tons of steel produced per hour                light of the unique issues associated                     Response: In determining the
                                                 (heat rate) as it pertains to each facility’s           with varying unit types in this                        appropriateness of 30-day rolling
                                                 rate of iron and steel production.                      particular industry. We also                           averaging times, the EPA initially
                                                 Several facilities, including Steel                     acknowledge that in some cases, reheat                 reviewed the NESHAP for Iron and Steel
                                                 Dynamics, Columbia, Indiana,                            furnaces are equipped with recently                    Foundries codified at 40 CFR part 63,
                                                 Cleveland-Cliffs, Cleveland, Ohio, and                                                                         subpart EEEEE, the NESHAP for
                                                 Cleveland-Cliffs, Burns Harbor, Indiana,                  388 Specifically, through a review of title V        Integrated Iron and Steel manufacturing
                                                 are already operating various types of                  permits, the EPA identified reheat furnaces with       facilities codified at 40 CFR part 63,
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                                                 reheat furnaces with low-NOX burners                    low-NOX burners installed at Steel Dynamics in
                                                                                                                                                                subpart FFFFF, the NESHAP for
                                                                                                         Columbia City, Indiana (two furnaces), Steel
                                                 and achieving emissions rates as low as                 Dynamics in Butler, Indiana (one furnace),             Ferroalloys Production: Ferromanganese
                                                 0.11 lb/mmBtu of NOX. The EPA                           Cleveland Cliffs in Burns Harbor, Indiana (four        and Silicomanganese codified at 40 CFR
                                                 identified at least nine reheat furnaces                furnaces), Cleveland Cliffs in East Chicago, Indiana   part 63, subpart XXX, and the NESHAP
                                                 with a PTE greater than 100 tpy,                        (one furnace), and Cleveland Cliffs in Cleveland,
                                                                                                         Ohio (one furnace). For a further discussion of the
                                                                                                                                                                for Ferroalloys Production Facilities
                                                 including slab, rotary hearth, and                      limits and information on these facilities, see the    codified at 40 CFR part 63, subpart
                                                 walking beam furnaces, that have                        Final Non-EGU Sectors TSD.                             YYYYYY. The EPA also reviewed


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                                                 various RACT NOX rules from states                      regarding their concerns of affected                   finalizing the proposed applicability
                                                 located within the OTR, several of                      units within the iron and steel mills and              provisions without change.
                                                 which have chosen to implement OTC                      ferroalloy manufacturing sector being                     Comment: One commenter requested
                                                 model rules and recommendations.                        required to demonstrate compliance                     that the applicability threshold for glass
                                                 Based on this information and the                       through CEMS. The EPA acknowledges                     manufacturing furnaces should be based
                                                 information provided by public                          the cost associated with the installation              on a unit’s design production capacity
                                                 commenters, the EPA is requiring a 30-                  and maintenance of CEMS to                             instead of the proposed applicability
                                                 operating day rolling average period as                 demonstrate compliance with the                        criteria (i.e., units that directly emit or
                                                 the averaging timeframe for reheat                      finalized emissions standards for reheat               have the potential to emit 100 TPY or
                                                 furnaces. The EPA finds that a 30-                      furnaces. In this final rule, the EPA is               more of NOX). The commenter stated
                                                 operating day rolling average period                    revising the compliance assurance                      that the production capacity for glass
                                                 provides a reasonable balance between                   requirements to provide flexibility to                 manufacturing furnaces is a more
                                                 short term (hourly or daily) and long                   owners or operators of affected units.                 relevant basis for applicability and
                                                 term (annual) averaging periods, while                  Compliance may be demonstrated                         would focus the EPA analysis on cost-
                                                 providing the flexibility needed to                     through CEMS or annual performance                     effective regulations.
                                                 address fluctuations in operations and                  testing and continuous parametric                         Response: During the EPA’s
                                                 production.                                                                                                    development of the proposed emissions
                                                                                                         monitoring to demonstrate compliance
                                                                                                                                                                limits, the EPA reviewed the
                                                 Compliance Assurance Requirements                       with the emissions limits in this final
                                                                                                                                                                applicability provisions in various state
                                                                                                         rule. If an affected unit does not use
                                                    The EPA is finalizing requirements for                                                                      RACT NOX rules, air permits, consent
                                                 each owner or operator of an affected                   CEMS, the final rule requires the owner
                                                                                                                                                                decrees, and Federal regulations
                                                 unit in the Iron and Steel Mills and                    or operator to monitor and record stack
                                                                                                                                                                applicable to glass manufacturing
                                                 Ferroalloy Manufacturing industry to                    exhaust gas flow rate, hourly production               furnaces. Most of these applicability
                                                 use CEMS or annual performance tests                    rate, and stack exhaust temperature                    provisions were expressed in terms of
                                                 and continuous parametric monitoring                    during the initial performance test and                actual emissions or PTE. Given the
                                                 to determine compliance with the 30-                    subsequent annual performance tests to                 significant differences in the types,
                                                 day rolling average emissions limit                     assure compliance with the applicable                  designs, configurations, ages, and fuel
                                                 during the ozone season. Facilities                     emissions limit. The owner or operator                 capabilities among glass furnaces, and
                                                 choosing to use CEMS must perform an                    must then continuously monitor and                     differences in raw material
                                                 initial RATA per CEMS and maintain                      record those parameters to demonstrate                 compositions within the sector, the EPA
                                                 and operate the CEMS according to the                   continuous compliance with the NOX                     finds that applicability criteria based on
                                                 applicable performance specifications in                emissions limits. Affected units that                  emissions or potential to emit are the
                                                 40 CFR part 60, appendix B. Facilities                  operate NOX CEMS meeting specified                     most appropriate way to capture higher-
                                                 choosing to use testing and continuous                  requirements may use CEMS data in                      emitting glass manufacturing furnaces
                                                 parametric monitoring for compliance                    lieu of performance testing and                        that contribute NOX emissions to
                                                 purposes must use the test methods and                  monitoring of operating parameters. For                downwind receptors.
                                                 procedures in 40 CFR part 60, appendix                  sources relying on annual performance
                                                                                                         tests and continuous parametric                        Emissions Limitations and Rationale
                                                 A–4, Method 7E, or other EPA-approved
                                                 (federally enforceable) test methods and                monitoring to assure compliance, the                      The EPA is finalizing the proposed
                                                 procedures.                                             EPA is requiring that sources keep                     NOX emissions limits for furnaces
                                                    Comment: Several commenters raised                   records of production and fuel usage                   within the Glass and Glass Product
                                                 concerns with the requirement to install                during the ozone season to assure                      Manufacturing industry, except that for
                                                 and operate CEMS to monitor NOX                         compliance with the emissions limits on                flat glass manufacturing furnaces the
                                                 emissions. Commenters cited the high                    a 30-day rolling average basis. To avoid               EPA is finalizing an emissions limit
                                                 relative costs of installing CEMS,                      challenges in scheduling and                           slightly lower than the limit we had
                                                 especially for smaller units with lower                 availability of testing firms, the annual              proposed, based on a correction to a
                                                 actual emissions, and the complexities                  performance test required under this                   factual error in our proposal. For further
                                                 with installing CEMS on mobile reheat                   final rule does not have to be performed               discussion of the basis for the form and
                                                 furnaces. Further, commenters                           during the ozone season. However,                      level of the final emissions limits, see
                                                 explained that due to the unique                        where sources are able to do so, we                    the proposed rule, 87 FR 20036, 20146
                                                 configuration of certain facilities, it                 recommend conducting a stack test in                   (April 6, 2022) (discussing EPA review
                                                 would be impossible for a CEMS to                       the period relatively soon before the                  of state RACT rules, NSPS, and other
                                                 differentiate emissions from a reheat                   start of the ozone season. This would                  regulations applicable to the Glass and
                                                 furnace and other units, like waste heat                provide the greatest assurance that the                Glass Product Manufacturing industry).
                                                 boilers. As an alternative to CEMS,                     emissions control systems are working                  Several comments supported the EPA’s
                                                 commenters requested that the EPA                       as intended and the applicable                         effort to regulate sources within the
                                                 finalize similar monitoring and                         emissions limit will be met when the                   Glass and Glass Product Manufacturing
                                                 recordkeeping requirements as proposed                  ozone season starts.                                   industry but also requested that the EPA
                                                 for the Cement and Concrete Product                                                                            establish more stringent emissions
                                                 Manufacturing industry in the proposed                  4. Glass and Glass Product                             limits for this industry.
                                                 rule, which allow for CEMS or                           Manufacturing                                             Comment: One commenter stated that
                                                                                                                                                                NOX emissions from the Glass and Glass
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                                                 performance testing and recordkeeping.                  Applicability
                                                 Commenters explained that for reheat                                                                           Product Manufacturing industry are not
                                                 furnaces that are natural gas-fired,                      The EPA is finalizing regulatory                     currently subject to any Federal NSPS
                                                 emissions can be tracked by relying on                  requirements for the Glass and Glass                   and that the industry is expected to
                                                 vendor guarantees and emissions factors                 Product Manufacturing source category                  grow in the coming years. The
                                                 and natural gas throughput.                             that apply to furnaces that directly emit              commenter stated that while the EPA’s
                                                    Response: The EPA reviewed                           or have a PTE of 100 tpy or more of                    proposed limits on glass furnaces fell
                                                 comments received from the industry                     NOX. For this industry, the EPA is                     within the ranges of limits required by


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                                                 various states and air districts, they fell                          determine the appropriate NOX                                         states to meet CAA RACT requirements,
                                                 at the weakest levels within those                                   emissions limits for the different types                              and that some of these programs have
                                                 ranges. For example, the commenter                                   of glass manufacturing furnaces. Based                                implemented more stringent emissions
                                                 stated that the EPA had proposed a 4.0                               on these reviews and given the                                        limits than those the EPA is finalizing
                                                 lb/ton NOX emissions limit for container                             significant differences in the types,                                 in these FIPs. However, as noted in the
                                                 glass manufacturing furnaces, while                                  designs, configurations, ages, and fuel                               preamble to the proposed rule and
                                                 state and local NOX emissions limits for                             capabilities among glass furnaces, and                                related TSD, many OTR states do not
                                                 these emissions units range from 1 to 4                              differences in raw material                                           establish specific NOX emissions limits
                                                 lb/ton. Similarly, the commenter stated                              compositions within the sector, the EPA                               for glass manufacturing sources.390 See
                                                 that the EPA had proposed a 4.0 lb/ton                               has concluded that it is appropriate to                               87 FR 20146. In addition to state RACT
                                                 NOX emissions limit for pressed/blown                                finalize the emissions limits for this                                rules, air permits, ACT documents, and
                                                 glass manufacturing furnaces, while                                  industry as proposed, except for the                                  consent decrees applicable to this
                                                 state and local NOX emissions limits for                             limit proposed for flat glass                                         industry, the EPA reviewed reports and
                                                 these emissions units range from 1.36 to                             manufacturing furnaces. For flat glass                                recommendations from the National
                                                 4 lb/ton, and that EPA had proposed a                                manufacturing furnaces, the EPA had                                   Association of Clean Air Agencies
                                                 9.2 lb/ton NOX emissions limit for flat                              proposed a NOX emissions limit of 9.2                                 (NACAA), the European Union
                                                 glass manufacturing furnaces, while                                  pounds (lbs) per ton of glass pulled but
                                                                                                                                                                                            Commission, and EPA’s Menu of
                                                 state NOX emissions limits for these                                 is finalizing a limit of 7.0 lbs/ton of
                                                                                                                                                                                            Control Measures (MCM) to identify
                                                 emissions units range from 5–9.2 lb/ton.                             glass pulled on a 30-day rolling average
                                                                                                                                                                                            potentially available control measures
                                                 The commenter urged the EPA to                                       basis. This is based on our review of
                                                 establish emissions limits lower than                                specific state RACT NOX regulations                                   for reducing NOX emissions from the
                                                 those the EPA had proposed.                                          that contain a 9.2 lbs/ton limit averaged                             glass manufacturing industry. The EPA
                                                    Response: The EPA is finalizing the                               over a single day but contain a 7.0 lbs/                              also reviewed permit data for existing
                                                 emissions limits for affected units in the                           ton limit over a 30-day averaging period.                             glass manufacturing furnaces to identify
                                                 glass and glass product manufacturing                                This change aligns the final limit for flat                           control devices currently in use at these
                                                 industry as proposed for all but flat                                glass manufacturing furnaces with the                                 sources. Based on these reviews, we
                                                 glass manufacturing furnaces, for which                              correct averaging time and is consistent                              find that the final emissions limits for
                                                 the EPA is finalizing a slightly lower                               with both the state RACT regulations                                  the Glass and Glass Product
                                                 emissions limit to reflect a correction to                           that we reviewed 389 and our evaluation                               Manufacturing industry provided in
                                                 a factual error in our proposal. During                              of cost-effective controls for this                                   Table VI.C.3–1 generally reflect a level
                                                 the EPA’s development of the proposed                                industry in the supporting documents                                  of control that is cost-effective for the
                                                 emissions limits, the EPA reviewed the                               for the proposed and final rule.                                      majority of the affected units and
                                                 control requirements or                                                 The EPA acknowledges that NOX                                      sufficient to achieve the necessary
                                                 recommendations and related analyses                                 emissions from some glass                                             emissions reductions. The Final Non-
                                                 in various RACT NOX rules, air permits,                              manufacturing furnaces are subject to                                 EGU Sectors TSD provides a more
                                                 Alternative Control Techniques (ACT)                                 control under other regulatory                                        detailed explanation of the basis for
                                                 documents, and consent decrees to                                    programs, such as those adopted by                                    these emissions limits.

                                                      TABLE VI.C.3–1—SUMMARY OF FINALIZED NOX EMISSIONS LIMITS FOR FURNACE UNIT TYPES IN GLASS AND GLASS
                                                                                           PRODUCT MANUFACTURING
                                                                                                                                                                                                                             NOX emissions limit
                                                                                                                                                                                                                              (lbs/ton of glass
                                                                                                                            Furnace type                                                                                           produced,
                                                                                                                                                                                                                              30 operating-day
                                                                                                                                                                                                                               rolling average)

                                                 Container Glass Manufacturing Furnace ...............................................................................................................................                        4.0
                                                 Pressed/Blown Glass Manufacturing Furnace or Fiberglass Manufacturing Furnace ..........................................................                                                     4.0
                                                 Flat Glass Manufacturing Furnace ........................................................................................................................................                    7.0



                                                 Alternative Emissions Standards During                               abnormally low production rate),                                      would be technologically infeasible to
                                                 Periods of Start-Up, Shutdown, and                                   furnace start-up days, furnace                                        equip furnaces with NOX control
                                                 Idling                                                               maintenance days, and malfunction                                     devices including SCR. Commenters
                                                                                                                      days from the definition of ‘‘operating                               also stated that because control
                                                    Comment: Numerous commenters
                                                                                                                      day’’ to allow for exclusion of these                                 equipment cannot be operated during
                                                 urged the EPA to provide additional
                                                                                                                      days from the calculation of an                                       these periods without damaging the
                                                 flexibilities, alternative NOX emissions
                                                 limits, or exceptions to the NOX                                     emissions unit’s 30-operating day                                     equipment, it would be very difficult or
                                                 emissions limits for glass manufacturing                             rolling average emissions. The                                        impossible to meet the proposed NOX
                                                 furnaces during periods of startup,                                  commenters argued that because the                                    limits during these periods.
                                                 shutdown and idling. Commenters                                      glass furnace temperature is much lower                                 Response: After review of the
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                                                 requested that the EPA consider                                      during these periods than they are                                    comments received and the EPA’s
                                                 excluding days with low glass pull (e.g.,                            during normal operating conditions, it                                assessment of current practices within
                                                   389 For example, Pennsylvania’s RACT NO                            regulation/pennsylvania-code-rules-and-                               control-of-nox-emissions-from-glass-melting-
                                                                                                 X
                                                 emission limits for flat glass furnaces are 7.0 lbs of               regulations/title-25-environmental-protection/part-                   furnaces/section-129304-emission-requirements.
                                                 NOX per ton of glass produced on 30-day rolling                      i-department-of-environmental-protection/subpart-                       390 See Proposed Non-EGU Sectors TSD at 56,
                                                 average. See Title 25, Part I, Subpart C, Article III,               c-protection-of-natural-resources/article-iii-air-
                                                                                                                                                                                            EPA–HQ–OAR–2021–0668–0145.
                                                 Section 129.304, available at https://casetext.com/                  resources/chapter-129-standards-for-sources/



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                                                 the glass manufacturing industry, the                   operation as soon as technologically                   operated continuously for as long as
                                                 EPA is establishing provisions for                      feasible to minimize emissions. For                    fifteen to twenty years between
                                                 alternative work practice standards and                 shutdowns, the owner or operator must                  rebricking events. The commenter also
                                                 emissions limits that may apply in lieu                 operate the emissions control system                   states that electric furnaces for
                                                 of the emissions limits in § 52.44(c)                   whenever technologically feasible to                   manufacture of glass containers are
                                                 during periods of start-up, shutdown,                   minimize emissions.                                    limited to a maximum glass production
                                                 and idling. The emissions limits for                      For periods of idling, the owner or                  of about 120 tons per day, which is a
                                                 glass melting furnaces in § 52.44(c) do                 operator of an affected unit may comply                stark contrast to large natural gas fired
                                                 not apply during periods of start-up,                   with an alternative emissions limit                    glass melting furnaces, which are
                                                 shutdown, and/or idling at affected                     calculated in accordance with a specific               capable of producing over 400 tons of
                                                 units that comply instead with the                      equation to limit emissions to an                      glass per day. The commenter also
                                                 alternative requirements for start-up,                  amount (in pounds per day) that reflects               stated that the cullet percentage is
                                                 shutdown, and/or idling periods                         the furnace’s permitted production                     greatly reduced in all-electric furnaces
                                                 specified in § 52.44(d), (e), and/or (f),               capacity in tons of glass produced per                 which increases energy consumption in
                                                 respectively. The EPA has modeled                       day. Additionally, the owner or operator               the affected facility.
                                                 these alternative requirements that                     must maintain operating records as                        Response: At proposal, the EPA
                                                 apply during startup, shutdown, and                     necessary to demonstrate compliance                    solicited comment on whether it is
                                                 idling to some extent on State RACT                     with the alternative emissions                         feasible or appropriate for owners or
                                                 requirements identified by                              limitations during idling periods.                     operators of existing glass
                                                 commenters.391 These alternative work                   During idling, the owner or operator                   manufacturing furnaces to phase out
                                                 practice standards adequately address                   must operate the emissions control                     and retire their units and replace them
                                                 the seven criteria that the EPA has                     system to minimize emissions whenever                  with less emitting units like all-electric
                                                 recommended states consider when                        technologically feasible.                              furnace installations. As explained in
                                                 establishing appropriate alternative                                                                           the Final Non-EGU Sectors TSD, over
                                                                                                         All-Electric Glass Furnaces
                                                 emissions limitations for periods of                                                                           the last few decades the demand for flat,
                                                 startup and shutdown.392 We provide a                      The EPA solicited comment on                        container, and pressed/blown glass has
                                                 more detailed evaluation of these                       whether it is feasible or appropriate to               continued to grow annually. Nitrogen
                                                 provisions in the TSD supporting this                   phase out and retire existing glass                    oxides remain one of the primary air
                                                 final rule.                                             manufacturing furnaces in the affected                 pollutants emitted during the
                                                    Specifically, each owner or operator                 states and replace them with more                      production and manufacturing of glass
                                                 of an affected unit seeking to comply                   energy efficient and less emitting units               products. However, no current Federal
                                                 with alternative work practice standards                like all-electric melter installations. The            CAA regulation controls NOX emissions
                                                 in lieu of emissions limits during                      EPA also requested comment on the                      from the industry on a category-wide
                                                 startup or shutdown periods must                        time needed to complete such a task.                   basis.394 Therefore, the glass
                                                 submit specific information to the                      All-electric melters are glass melting                 manufacturing industry has conducted
                                                 Administrator no later than 30 days                     furnaces in which all the heat required                various pollution prevention and
                                                 prior to the anticipated date of startup                for melting is provided by electric                    research efforts to help identify
                                                 or shutdown. The required information                   current from electrodes submerged in                   preferred techniques for the control of
                                                 is necessary to ensure that the furnace                 the molten glass.393 The EPA received                  NOX. Some of these studies revealed
                                                 will be properly operated during the                    numerous comments from the glass                       recent trends to control NOX emissions
                                                 startup or shutdown period, as                          industry regarding their concerns with                 in the glass industry, including the use
                                                 applicable. The final rule establishes                  replacing an existing glass                            of all-electric glass furnaces. We
                                                 limits on the number of days when the                   manufacturing furnace with an all-                     understand based on the comments
                                                 owner or operator may comply with                       electric melter. The commenters stated                 received from the glass manufacturing
                                                 alternative work practice standards in                  that various operational restrictions                  industry that significant differences
                                                 lieu of emissions limits during startup                 present within all-electric furnaces                   exist in the design, configuration, age,
                                                 and shutdown, depending on the type of                  prevent these units from being                         and replacement cost of glass furnaces
                                                 glass furnace. Additionally, the owner                  implemented throughout the industry,                   and in the feasibility of controls and raw
                                                 or operator must maintain operating                     including limited glass production                     material compositions. These
                                                 records and additional documentation                    output, reduced glass furnace life, and                differences as well as the production
                                                 as necessary to demonstrate compliance                  increased glass plant operating cost due               limitations present with all-electric
                                                 with the alternative requirements during                to high levels of electric current usage.              furnaces create difficulties in
                                                 startup or shutdown periods. For                        Based on the EPA’s review of comments                  implementing all-electric furnaces
                                                 startups, the owner or operator must                    submitted on this issue, the EPA has                   across the industry while keeping up
                                                 place the emissions control system in                   decided not to establish any                           with glass product demands. Therefore,
                                                                                                         requirements to replace existing glass                 the EPA is not mandating any
                                                    391 See Pennsylvania Code, Title 25, Part I,         manufacturing furnaces with all-electric               requirement for owners or operators of
                                                 Subpart C, Article III, Sections 129.305–129.307        furnaces at this time. We provide in the               existing glass manufacturing furnaces to
                                                 (effective June 19, 2010), available at https://
                                                 www.pacodeandbulletin.gov/Display/pacode?file=/         following paragraphs a summary of the                  replace their units with all-electric
                                                 secure/pacode/data/025/chapter129/                      comments and the EPA’s responses                       furnaces.
                                                 chap129toc.html&d=reduce and San Joaquin Valley         thereto.
                                                 Unified Air Pollution Control District, Rule 4354,                                                             Combustion Modification and Post-
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                                                                                                            Comment: One commenter stated that
                                                 ‘‘Glass Melting Furnaces,’’ sections 5.5–5.7
                                                                                                         the lifetime of an all-electric glass                  Combustion Modification Control
                                                 (amended May 19, 2011), available at https://
                                                 www.valleyair.org/rules/currntrules/R4354               melting furnace is only about three to                 Devices
                                                 %20051911.pdf.                                          five years before it must be rebricked,                  According to the EPA’s ‘‘Alternative
                                                    392 See 80 FR 33840, 33914 (June 12, 2015)
                                                                                                         compared to well-maintained natural                    Control Techniques Document—NOX
                                                 (identifying the EPA’s recommended criteria for
                                                 developing and evaluating alternative emissions
                                                                                                         gas or hybrid furnace that may be                      Emissions from Glass
                                                 limitations applicable during startup and
                                                 shutdown).                                                393 See definitions in 40 CFR part 60, subpart CC.    394 See Final Non-EGU Sectors TSD.




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                                                 Manufacturing,’’ 395 glass manufacturing                finalizing the limits as proposed to offer             provide flexibility to owners or
                                                 furnaces may utilize combustion                         sources some flexibility to choose the                 operators of affected units. Compliance
                                                 modifications equivalent to low-NOX                     control technology that works best for                 with the emissions limits in this final
                                                 burners and oxy-firing. At proposal, the                their unique circumstances.                            rule may be demonstrated through
                                                 EPA solicited comments on whether it                                                                           CEMS or via annual performance test
                                                                                                         Compliance Assurance Requirements
                                                 is feasible or appropriate to require                                                                          and continuous parametric monitoring.
                                                 sources with existing glass                                The EPA proposed to require owners                  If an affected unit does not use CEMS,
                                                 manufacturing furnaces in affected                      or operators of an affected facility that              the final rule requires the owner or
                                                 states that currently utilize these                     is subject to the NOX emissions                        operator to monitor and record stack
                                                 combustion modifications to add or                      standards for glass manufacturing                      exhaust gas flow rate, hourly production
                                                 operate a post-combustion                               furnaces to install, calibrate, maintain               rate, and stack exhaust temperature
                                                 modifications control device like SNCR                  and operate a CEMS for the                             during the initial performance test and
                                                 or SCR to further improve their NOX                     measurement of NOX emissions                           subsequent annual performance tests to
                                                 removal efficiency. The EPA received                    discharged. The EPA also solicited                     assure compliance with the applicable
                                                 numerous comments from the glass                        comments on alternative monitoring                     emissions limit. The owner or operator
                                                 industry that detailed the differences                  systems or methods that are equivalent                 must then continuously monitor and
                                                 present in glass furnace designs,                       to CEMS to demonstrate compliance                      record those parameters to demonstrate
                                                 operations and finished product that                    with the emissions limits. The EPA                     continuous compliance with the NOX
                                                 influenced the type of combustion                       received numerous comments from the                    emissions limits. Affected units that
                                                 modification or post-combustion                         glass industry expressing concern with                 operate NOX CEMS meeting specified
                                                 modification control device that is                     any requirement to use CEMS at affected                requirements may use CEMS data in
                                                 feasible for such unit. Several                         units. After review of the comments                    lieu of performance testing and
                                                 commenters have requested that the                      received and EPA’s assessment of                       monitoring of operating parameters. To
                                                 EPA focus on establishing an emissions                  practices conducted within the glass                   avoid challenges in scheduling and
                                                 limit rather than specifying the use of a               manufacturing industry, the EPA is                     availability of testing firms, the annual
                                                 particular control technology given the                 finalizing compliance assurance                        performance test required under this
                                                 significant differences across glass                    requirements that allow affected glass                 final rule does not have to be performed
                                                 furnaces. As a result of the comments                   manufacturing furnaces to demonstrate                  during the ozone season.
                                                 received, the EPA is not specifically                   compliance through annual testing or
                                                 requiring affected units to install                     use CEMS, or similar alternative                       5. Boilers at Basic Chemical
                                                 combustion modification and post-                       monitoring system data in lieu of a                    Manufacturing, Petroleum and Coal
                                                 combustion controls to meet the                         performance test. The EPA is also                      Products Manufacturing, Pulp, Paper,
                                                 finalized emissions limits. The EPA is                  establishing recordkeeping provisions                  and Paperboard Mills, Iron and Steel
                                                 finalizing the emissions limits as                      that require owners or operators of                    and Ferroalloys Manufacturing, and
                                                 proposed, which may be met with                         affected units to conduct parametric                   Metal Ore Mining facilities
                                                 combustion modifications (e.g., low-                    monitoring of fuel use and glass                       Applicability
                                                 NOX burners, oxy-firing), process                       production during performance testing
                                                                                                         to assure continuous compliance on a                     The EPA is finalizing regulatory
                                                 modifications (e.g., modified furnace,                                                                         requirements for the Iron and Steel
                                                 cullet preheat), and/or post-combustion                 30-operating day rolling average.
                                                                                                            Comment: Commenters representing                    Mills and Ferroalloy Manufacturing
                                                 controls (SNCR or SCR) and thus                                                                                industry, Basic Chemical Manufacturing
                                                 provide sources some flexibility to                     the glass industry stated that a
                                                                                                         requirement to install and operate                     industry, Petroleum and Coal Products
                                                 choose the control technology that                                                                             Manufacturing industry, Pulp, Paper,
                                                                                                         CEMS would present significant costs
                                                 works best for their unique                                                                                    and Paperboard Mills industry, and the
                                                                                                         and technical complexities in a
                                                 circumstances.                                                                                                 Metal Ore Mining industry that apply to
                                                    Comment: Multiple commenters                         situation where emissions can be
                                                                                                         effectively monitored using stack testing              boilers that have a design capacity of
                                                 responded to EPA’s request for
                                                                                                         rather than continuous monitoring.                     100 mmBtu/hr or greater. The Non-EGU
                                                 comments by stating it is unnecessary
                                                                                                         Commenters also objected to the EPA’s                  Screening Assessment memorandum
                                                 and unhelpful for the proposed rule to
                                                                                                         proposal to require CEMS together with                 developed in support of Step 3 of our
                                                 specify use of particular post-
                                                                                                         semi-annual stack testing. Commenters                  proposal identified emissions from large
                                                 combustion control device. The
                                                                                                         stated that a requirement to both operate              boilers in certain industries (i.e., those
                                                 commenters note that various flat glass
                                                                                                         CEMS and conduct semi-annual testing                   projected to emit more than 100 tpy of
                                                 furnaces have a variety of combustion
                                                                                                         would be unnecessary and excessive                     NOX in 2026) as having adverse impacts
                                                 and post-combustion control options.
                                                                                                         and would not provide commensurate                     on downwind receptors. As discussed
                                                 Each furnace is different in its design,
                                                                                                         benefit unless a facility’s emissions are              in the proposed rule, we developed
                                                 operations, and finished product
                                                                                                         near or above the proposed emissions                   applicability criteria for boilers based on
                                                 produced. The commenters state that it
                                                                                                         limit. Commenters requested that                       design capacity (i.e., heat input), rather
                                                 is more appropriate for EPA to establish
                                                                                                         owners or operators of affected units be               than on potential emissions, because
                                                 an emissions limit in the proposed rule
                                                                                                         allowed to use alternative monitoring                  use of a boiler design capacity of 100
                                                 than it is for the EPA to specify use of
                                                                                                         systems, e.g., parametric emissions                    mmBtu/hr reasonably approximates the
                                                 a particular control technology.
                                                    Response: In response to these                       monitoring. The commenters stated that                 100 tpy threshold used in the Non-EGU
                                                                                                                                                                Screening Assessment memorandum to
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                                                 comments, the EPA is not establishing                   parametric monitoring requires less
                                                 any requirements for affected units to                  initial and ongoing manpower                           identify impactful boilers. In this final
                                                 install specific control technologies to                requirements, has lower capital and                    rule, we are establishing the heat input-
                                                 meet the emissions limits. The EPA is                   operating costs than CEMS, does not                    based applicability criteria described in
                                                                                                         require spare parts, and is accurate over              our proposal, with some adjustments as
                                                   395 EPA, Alternative Control Techniques               a mapped range.                                        explained further in this section.
                                                 Document—NOX Emissions from Glass                          Response: The EPA is establishing                   Additionally, we have determined that
                                                 Manufacturing, EPA–453/R–94–037, June 1994.             compliance assurance requirements that                 boilers meeting these applicability


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                                                 criteria exist within the following five                                  impactful boilers within the Non-EGU                                       and provisions for EPA approval of
                                                 industries: Basic Chemical                                                Screening Assessment memorandum.                                           alternative emissions limits on a case-
                                                 Manufacturing, Petroleum and Coal                                         We are finalizing NOX emissions limits                                     by-case basis, where specific criteria are
                                                 Products Manufacturing, Pulp, Paper,                                      that apply to boilers with design                                          met. Additionally, only boilers that
                                                 and Paperboard Mills, Metal Ore                                           capacities of 100 mmBTU/hr or greater                                      combust, on a BTU basis, 90 percent or
                                                 Mining, and Iron and Steel Mills and                                      located at any of the five identified                                      more of coal, residual or distillate oil,
                                                 Ferroalloy Manufacturing.                                                 industries in any of the 20 covered                                        natural gas, or combinations of these
                                                   As we explained in the proposed rule,                                   states with non-EGU emissions                                              fuels are subject to the requirements of
                                                 the potential emissions from industrial
                                                                                                                           reduction obligations. In response to                                      these final FIPs.
                                                 boilers with a design capacity of 100
                                                                                                                           comments on our proposed rule,                                                The EPA has determined that boilers
                                                 mmBtu/hr or greater burning coal,
                                                 residual or distillate oil, or natural gas                                however, the EPA is finalizing a low-use                                   meeting the applicability criteria of this
                                                 can equal or exceed the 100 tpy                                           exemption for industrial boilers that                                      section exist within the five industrial
                                                 threshold that we used to identify                                        operate less than 10 percent per year                                      sectors identified in Table VI.C.5–1:

                                                                       TABLE VI.C.5—1: NON-EGU INDUSTRIES WITH LARGE BOILERS AND ASSOCIATED NAICS CODES
                                                                                                                                        Industry                                                                                                NAICS code

                                                 Basic Chemical Manufacturing ......................................................................................................................................................                  3251xx
                                                 Petroleum and Coal Products Manufacturing ...............................................................................................................................                            3241xx
                                                 Pulp, Paper, and Paperboard Mills ...............................................................................................................................................                    3221xx
                                                 Iron and Steel and Ferroalloys Manufacturing ..............................................................................................................................                          3311xx
                                                 Metal Ore Mining ...........................................................................................................................................................................         2122xx



                                                    Comment: Several commenters                                            indicated by the manufacture on the                                        that some industrial boilers burn natural
                                                 requested that the EPA establish PTE-                                     unit’s nameplate.                                                          gas in conjunction with other gaseous
                                                 based applicability criteria for boilers as                                  In response to the comments                                             fuels, such as hydrogen/methane off-gas
                                                 it had proposed to do for other non-EGU                                   expressing concern that infrequently-                                      and vent gas from various on-site
                                                 sectors and stated that using heat input                                  operated boilers would be captured by                                      processes, and may not be able to meet
                                                 as the basis for determining                                              the EPA’s proposed applicability                                           the EPA’s proposed 0.08 lb/mmBtu NOX
                                                 applicability would result in low-                                        criteria, the EPA is finalizing a low-use                                  emissions limit for boilers burning
                                                 emitting boilers being subject to the                                     exemption for industrial boilers that                                      natural gas. One commenter stated that
                                                 final rule’s control requirements.                                        operate less than 10 percent per year on                                   it operated a boiler that burns hazardous
                                                 Commenters stated that the EPA should                                     an hourly basis, based on the three most                                   waste and is subject to 40 CFR part 63,
                                                 provide a low-use exemption for                                           recent years of use and no more than 20                                    subpart EEE, National Emission
                                                 infrequently run units because these                                      percent in any one of the three years.                                     Standards for Hazardous Air Pollutants
                                                 units produce a lower amount of                                           Such boilers will be exempt from the                                       from Hazardous Waste Combustors, and
                                                 emissions.                                                                emissions limits in these FIPs provided                                    that this boiler uses natural gas for start-
                                                                                                                           they operate less than 10 percent per                                      up and at other times to stabilize
                                                    Response: The EPA is finalizing                                        year, on an hourly basis, based on the                                     operations but also combusts other fuels
                                                 applicability criteria for boilers based on                               three most recent years of use and no                                      such as liquid waste. The commenter
                                                 boiler design capacity for a number of                                    more than 20 percent in any one of the                                     asserted that such boilers should not be
                                                 reasons. First, Federal emissions                                         three years, but will have recordkeeping                                   covered by the final rule.
                                                 standards applicable to boilers 396 and                                   obligations. The EPA finds it                                                 Response: In recognition and
                                                 all of the state RACT rules that we                                       appropriate to exempt such low-use                                         consideration of comments received on
                                                 reviewed contain applicability criteria                                   boilers from the emissions limits in this                                  our proposal, the EPA is finalizing
                                                 based on boiler design capacity. Second,                                  final rule because the amount of air                                       requirements for boilers that apply only
                                                 as explained in the Final Non-EGU                                         pollution emitted from a boiler is                                         to boilers burning 90 percent or more
                                                 Sectors TSD, most boilers with design                                     directly related to its operational hours,                                 coal, residual or distillate oil, or natural
                                                 capacities of 100 mmBTU/hr or greater                                     and installation of controls on                                            gas or combinations of these fuels on a
                                                 that are fueled by coal, oil, or gas have                                 infrequently operated units results in                                     heat-input basis. Public commenters
                                                 the potential to emit 100 tpy or more of                                  reduced air quality benefits.                                              presented information indicating that
                                                 NOX. Thus, use of a boiler design                                            Comment: Commenters asked                                               the burning of fuels other than coal,
                                                 capacity of 100 mmBtu/hr for                                              whether the EPA’s proposed emissions                                       residual or distillate oil, or natural gas
                                                 applicability purposes reasonably                                         limits for boilers would apply to                                          at levels exceeding 10 percent may
                                                 approximates the 100 tpy threshold                                        emissions units that burn fuels other                                      interfere with the functions of the
                                                 used in the Non-EGU Screening                                             than coal, residual or distillate oil, or                                  control technologies that may be
                                                 Assessment memorandum to identify                                         natural gas. For example, one                                              necessary to the meet the final rule, like
                                                 impactful boilers. Finally, use of a                                      commenter stated that some biomass                                         SCR. The EPA does not have sufficient
                                                                                                                           boilers start up by co-firing oil or gas                                   information at this time to conclude that
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                                                 boiler’s design capacity for applicability
                                                 purposes facilitates applicability                                        and that some NOX controls such as                                         units burning more than 10 percent
                                                 determinations given that a boiler’s                                      low-NOX burners (LNB) cannot be used                                       fuels other than coal, residual or
                                                 design capacity is, in most cases, clearly                                on biomass boilers. The commenter                                          distillate oil, or natural gas can operate
                                                                                                                           requested clarification on whether                                         the necessary controls effectively and at
                                                   396 See, e.g., 40 CFR 60.44b (subpart Db,                               boilers burning biomass would be                                           a reasonable cost. Therefore, boilers that
                                                 Standards of Performance for Industrial-                                  covered by the EPA’s proposed                                              burn greater than 10 percent fuels other
                                                 Commercial-Institutional Steam Generating Units).                         requirements. Other commenters noted                                       than coal, residual or distillate oil,


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                                                 natural gas, or combinations of these                                       these boilers and agrees with                                   multiplied by 0.15. Thus calculated, the
                                                 three fuels are not subject to the                                          commenters who stated that the EPA’s                            NOX emissions limits for boilers
                                                 emissions limits and other requirements                                     proposed emissions limits can be                                burning combinations of coal, residual
                                                 of this final rule.                                                         extended to such boilers provided the                           or distillate oil, or natural gas are
                                                    Comment: Some commenters claimed                                         EPA provides criteria for doing so. The                         consistent with the NOX emissions
                                                 that the EPA cannot include emissions                                       applicability criteria in the final rule                        limits identified in our proposed rule
                                                 limits for boilers that burn combinations                                   cover boilers burning combinations of                           for each of these individual fuels.
                                                 of coal, residual or distillate oil, and                                    coal, residual or distillate oil, or natural
                                                                                                                                                                                             Emissions Limitations and Rationale
                                                 natural gas, because the EPA did not                                        gas and include a methodology for
                                                 propose limits for such boilers. Other                                      determining the emissions limits for                               The EPA is finalizing all of the
                                                 commenters suggested it would be                                            such units based on a simple formula                            proposed NOX emissions limits for
                                                 appropriate to establish emissions limits                                   that correlates the amount of heat input                        industrial boilers and adding a formula
                                                 for such boilers as long as the EPA                                         expended while burning each fuel with                           for calculating emissions limits for
                                                 provides criteria for establishing such                                     the corresponding emissions limit for                           multi-fueled units as shown in Table
                                                 emissions limits.                                                           that particular fuel. For example, a                            VI.C.5–2. The emissions limits apply to
                                                    Response: The EPA disagrees with the                                     boiler with a heat input of 85 percent                          boilers with design capacities of 100
                                                 claim that boilers burning combinations                                     natural gas and 15 percent distillate oil                       mmBtu/hr or greater located at any of
                                                 of coal, residual or distillate oil, or                                     would be subject to an emissions limit                          the five industries identified in Table
                                                 natural gas cannot be covered by the                                        derived by multiplying the natural gas                          II.A–1 within any of the 20 states
                                                 final FIP because the EPA did not                                           emissions limit by 0.85 and adding to                           covered by the non-EGU requirements
                                                 propose specific emissions limits for                                       that the distillate oil emissions limit                         of this final rule.

                                                                                              TABLE VI.C.5–2—NOX EMISSIONS LIMITS FOR BOILERS >100 mmBtu/hr
                                                                                                                                     [Based on a 30-day rolling average]

                                                                                                                                                                                                 Emissions limit
                                                                                                 Unit type                                                                                     (lbs NOX/mmBtu)

                                                 Coal ..........................................................................................................   0.20.
                                                 Residual oil ...............................................................................................      0.20.
                                                 Distillate oil ...............................................................................................    0.12.
                                                 Natural gas ...............................................................................................       0.08.
                                                 Multi-fueled unit ........................................................................................        Limit derived by formula based on heat input contribution from each
                                                                                                                                                                     fuel.



                                                   Additional information on the EPA’s                                         Regarding RACT controls, some of the                          distillate oil, and natural gas-fired
                                                 derivation of these proposed emissions                                      sources covered by the final rule are not                       industrial boilers on RACT limits that
                                                 rates for boilers is provided in the Final                                  subject to RACT requirements because                            are already in place in many areas of the
                                                 Non-EGU Sectors TSD.                                                        RACT is only applicable to sources                              country.
                                                   Comment: Some commenters noted                                            located in ozone nonattainment areas                              Regarding NSR control requirements,
                                                 that many boilers are already subject to                                    and in the OTR, and many sources                                we note that the NSR program was
                                                 other state and Federal controls, and                                       covered by the final rule are not located                       created by the 1977 amendments to the
                                                 that programs such as RACT, NSR,                                            within such jurisdictions. Regarding                            CAA and applies only to new or
                                                 BACT, NSPS, and maximum achievable                                          sources that are subject to RACT, we                            modified stationary sources. Many of
                                                 control technology (MACT) are all                                           note that unlike RACT requirements                              the boilers covered by the applicability
                                                 achieving emissions reductions from                                         applicable to sources of VOCs, where a                          requirement of this final rule were
                                                 boilers.                                                                    majority of such sources are covered by                         initially installed or last modified prior
                                                   Response: The EPA acknowledges                                            state RACT rules adopted to conform                             to 1977 and have not undergone NSR
                                                 that some affected units may already be                                     with uniform ‘‘presumptive’’ limits                             analysis, such as a BACT analysis for
                                                 meeting the emissions limits established                                    contained within the EPA’s Control                              sources located within an attainment
                                                 in this rule as a result of controls                                        Technique Guidelines (CTGs), in most                            area or a LAER analysis for sources
                                                 installed to comply with other                                              cases presumptive NOX emissions limits                          located within nonattainment areas.
                                                 regulatory programs, such as the CAA’s                                      have not been established for industrial                        Additionally, BACT and LAER
                                                 RACT requirements. However,                                                 sources of this pollutant. In light of this,                    determinations made many years ago
                                                 emissions from the universe of boilers                                      NOX RACT requirements are primarily                             are not likely to be as stringent as more
                                                 subject to the applicability requirements                                   determined on a state-by-state basis and                        recent determinations.
                                                 of this final rule are not being uniformly                                  exhibit a range of stringencies as                                Regarding NSPS requirements, 40
                                                 reduced by these programs to the same                                       determined by each state. Additionally,                         CFR part 60, subpart Db, Standards of
                                                 extent that the limits we are adopting                                      RACT requirements tend to become                                Performance for Industrial-Commercial-
                                                 will require, nor for the same reason,                                      more stringent with the passage of time                         Institutional Steam Generating Units,
                                                 which is to mitigate the impact of                                          as existing control options are                                 contains NOX emissions limits for
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                                                 emissions from upwind sources on                                            improved, and new options become                                boilers with capacities of 100 mmBTU/
                                                 downwind locations that are                                                 available. Thus, older RACT                                     hr or greater that were constructed or
                                                 experiencing air quality problems. The                                      determinations may not be as stringent                          modified after June 19, 1984, and so
                                                 EPA has determined that the limits we                                       as more recent determinations made for                          boilers constructed or modified prior to
                                                 are finalizing in this action are readily                                   similar equipment types. As noted in                            that date are not subject to its
                                                 achievable and are already required in                                      our proposal, we based our NOX                                  requirements. Additionally, the limits
                                                 practice in many parts of the country.                                      emissions limits for coal, residual or                          for coal, residual or distillate oil, and


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                                                 gas-fired units are not as stringent as                 did not select the most stringent limits               appear achievable for industrial coal-
                                                 more recent limits adopted by states                    because such limits may reflect case-                  fired boilers that experience load swings
                                                 pursuant to RACT control obligations.                   specific technological and economic                    unless SCR is installed. Other
                                                    Lastly, MACT controls are primarily                  feasibility considerations that do not                 commenters stated that while there have
                                                 designed to reduce emissions of                         apply more broadly across the industry.                been recent advancements in SNCR
                                                 hazardous air pollutants, not to reduce                 Furthermore, although the EPA                          technology, such as the setting up of
                                                 NOX emissions. We anticipate the                        acknowledges that some industrial                      multiple injection grids and the
                                                 MACT program’s boiler tune-up                           boilers powered by coal, residual or                   addition of sophisticated CEMs-based
                                                 requirement should reduce NOX                           distillate oil, natural gas, or                        feedback loops, implementing SNCR on
                                                 emissions to some extent, but not to the                combinations of these fuels can meet                   industrial load-following boilers
                                                 extent that compliance with the limits                  very low NOX emissions limits as noted                 continues to pose several technical
                                                 adopted within this final rule will                     by the commenter, it is unlikely that all              challenges, including lack of
                                                 achieve.                                                such units could meet these limits given               achievement of optimal temperature
                                                    Comment: One commenter noted that                    case-specific considerations such as                   range for the reduction reactions to
                                                 a 2017 OTC survey found that boilers,                   boiler design and operation, some of                   successfully complete, and inadequate
                                                 including those used in the paper                       which limit the types of control                       reagent dispersion in the injection
                                                 products, chemical, and petroleum                       technology that may be available to a                  region due to boiler design which can
                                                 industries, are already required to                     particular unit.                                       lead to significant amounts of unreacted
                                                 achieve more stringent limits, and                                                                             ammonia exhausted to the atmosphere
                                                 pointed to limits for distillate oil that               a. Coal-Fired Industrial Boilers
                                                                                                                                                                (i.e., large ammonia slip). The
                                                 are lower than what the EPA considered                     As we proposed, coal-fired industrial               commenter noted that at least one pulp
                                                 in developing the proposal. The                         boilers subject to the applicability                   mill boiler had to abandon its SNCR
                                                 commenter also noted that California’s                  requirements of this section are required              system due to problems caused by poor
                                                 South Coast Air Quality Management                      to meet a NOX emissions limit of 0.2 lb/               dispersion of the reagent within the
                                                 District has adopted a facility-wide NOX                mmBtu on a 30-day rolling average                      boiler, and that SNCR has yet to be
                                                 emissions limit of 0.03 lb/mmBtu at                     basis. Various forms of combustion and                 successfully demonstrated for a pulp
                                                 petroleum refineries. The commenter                     post-combustion NOX control                            mill boiler with constant swing loads.
                                                 noted that CEMs data shows a residual                   technology exist that should enable
                                                 oil-fired boiler at the Ravenswood                      most facilities to retrofit with equipment                Response: To the extent the
                                                 Steam Plant in New York achieves an                     to meet this emissions limit. As we                    commenter’s concerns pertain primarily
                                                 average NOX emissions rate of 0.0716 lb                 explained in our proposal, many states                 to SNCR control technology, we note
                                                 NOX/MMBtu and that CEMS data shows                      containing ozone nonattainment areas                   that the final rule does not mandate the
                                                 that a gas-fired boiler in Johnsonville,                or located within the OTR have already                 use of any particular type of control
                                                 Tennessee, achieves an average NOX                      adopted RACT emissions limits similar                  technology and that other types of
                                                 emissions rate of 0.0058 lb NOX/                        to or more stringent than the limits in                control equipment such as SCR should
                                                 mmBTU. Regarding coal-fired boilers,                    this final rule, and most of those RACT                be examined as a means for meeting the
                                                 the commenter stated that a coal boiler                 limits apply statewide and extend to                   final emissions limits. The EPA
                                                 at the Ingredion Incorporated Argo Plant                boilers located at commercial and                      acknowledges that some coal-fired
                                                 in Illinois achieves an average NOX                     institutional facilities, not just to boilers          industrial boilers subject to this section
                                                 emissions rate of 0.1153 lb NOX/MMBtu                   located in the industrial sector.                      of the final rule may need to install SCR
                                                 with selective non-catalytic control                       Comment: One commenter noted that                   to meet the NOX emissions limits. This
                                                 technology, and the Axiall Corporation                  the coal-fired boilers it operates already             is reflected in our evaluation of costs for
                                                 facility in West Virginia achieves a                    use combustion controls to reduce NOX                  the non-EGU sector contained within
                                                 0.1162 lb/mmBtu using low-NOX burner                    emissions and contended that the                       the Non-EGU Screening Assessment
                                                 technology with overfire air. The                       effectiveness of SNCR on these boilers is              memorandum and the cost calculations
                                                 commenter also noted that more than                     unknown but would likely be on the                     for the final rule discussed in section V
                                                 half of the gas-fired boilers included in               low end of the control effectiveness                   and the Memo to Docket—Non-EGU
                                                 the air markets program database                        range because they experience variable                 Applicability Requirements and
                                                 already emit NOX at rates below the                     loads, which would compromise the                      Estimate Emissions Reductions and
                                                 EPA’s proposed emissions rate, and that                 proper functioning of an SNCR control                  Costs. We note that although the RBLC
                                                 the RACT/BACT/LAER Clearinghouse                        system. The commenter stated that the                  contains information on emissions
                                                 (RBLC) shows more stringent limits for                  only way their coal-fired boilers would                limits and control technology for some
                                                 gas boilers than the limits the EPA                     be able to comply with the EPA’s                       units, it only provides information on a
                                                 proposed, with many facilities being                    proposed NOX limit would be to install                 relatively small number of units subject
                                                 required to meet a NOX limit of less                    SCR. The commenter added that for                      to NOX emissions limits and operating
                                                 than 0.0400 lb/mmBtu.                                   coal-fired industrial boilers with a heat              NOX controls. Additionally, our final
                                                    Response: The EPA’s intent was not to                input rating of 100 MMBtu/hr or more,                  rule provides an exemption for units
                                                 set the NOX emissions limits for coal,                  a review of the available RBLC records                 that operate infrequently (i.e., ‘‘low-use
                                                 residual or distillate oil, and natural gas-            indicates that out of the 23 RBLC entries              boilers’’), and also allows a facility
                                                 fired boilers to match the lowest levels                identified, nine units (less than half)                owner or operator to submit a request
                                                 required elsewhere by state or local                    were subject to an emissions limit at or               for a case-by-case alternative emissions
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                                                 authorities, but rather to establish limits             below 0.2 lb/mmBtu, and eight of these                 limit in cases where compliance with
                                                 that are commensurate with broadly                      nine units were equipped with SNCR.                    the emissions limit in this final rule is
                                                 applicable RACT limits currently in                     The commenter stated that based on a                   technically impossible or would result
                                                 place in a number of states as noted                    review of the available data in the RBLC               in extreme economic hardship. We note
                                                 within our proposal. The limits we                      and given the technical difficulties and               that non-EGU boilers share many
                                                 selected were not the most stringent of                 low control efficiencies when applying                 similarities with EGU boilers, many of
                                                 the state RACT rules we reviewed but                    SNCR to swing boilers, the EPA’s                       which already operate SCR to control
                                                 were relatively close to that value. We                 proposed limit for coal firing does not                NOX emissions or will be required to


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                                                 install and operate SCR systems under                   numerous combustion and post-                             Comment: One commenter stated that
                                                 the requirements for EGUs contained in                  combustion NOX control technologies                    the proposed reporting obligations
                                                 this final rule. Lastly, we note that                   exist that should generally enable                     require the submittal of excess
                                                 information collected during the                        facilities meeting the applicability                   emissions reports, continuous
                                                 development of updates to the EPA’s                     criteria of this section to meet this                  monitoring, and quarterly emissions
                                                 MACT requirements for industrial,                       emissions limit. Additionally, many                    reports. The commenter suggested that
                                                 commercial, and institutional (ICI)                     states have already adopted emissions                  since the NOX emissions standards only
                                                 boilers indicates that over 150 ICI                     limits similar to the emissions limit in               apply during the ozone season (May 1–
                                                 boilers have installed SCR control                      this final rule, and some natural gas-                 September 30), the reporting
                                                 systems to reduce their NOX emissions.                  fired industrial boilers may be able to                requirements should only apply during
                                                 This information is available in the                    meet the 0.08 lb/mmBtu emissions limit                 the second and third quarters of the year
                                                 docket for this final rule.                             by modifying existing NOX control                      and should require that only emissions
                                                   All affected units must install and                   equipment installed to meet the                        and monitoring data from this time
                                                 operate NOX control equipment as                        requirements in 40 CFR 60.44b (subpart                 period be included in these reports.
                                                 necessary to meet the applicable                        Db of 40 CFR part 60, Standards of                        Response: In response to these
                                                 emissions limits in the final rule, except              Performance for Industrial-Commercial-                 comments, the EPA is finalizing
                                                 that if the owner or operator requests,                 Institutional Steam Generating Units),                 recordkeeping, monitoring, and
                                                 and the EPA approves, a case-by-case                    which already requires that natural gas-               reporting requirements that are designed
                                                 emissions limit based on a showing of                   fired units meet a NOX emissions limit                 to ensure compliance with the
                                                 technical impossibility or extreme                      of between 0.1 to 0.2 lbs/MMBtu.                       applicable emissions limits only during
                                                 economic hardship, the affected unit                    Compliance Assurance Requirements                      the ozone season. Additionally, the final
                                                 would be required to comply with the                                                                           rule requires annual reports rather than
                                                 EPA-approved case-by-case emissions                        We proposed compliance provisions                   the proposed quarterly reports as annual
                                                 limit instead.                                          for boilers subject to the requirements of             reports are adequate to determine
                                                                                                         this section similar to the emissions                  compliance with the emissions limits
                                                 b. Residual or Distillate Oil-Fired                     monitoring requirements found in 40
                                                 Industrial Boilers                                                                                             during the ozone season.
                                                                                                         CFR 60.45 (subpart D of 40 CFR part 60,                   Comment: A number of commenters
                                                    Most oil-fired boilers are fueled by                 Standards of Performance for Fossil-                   stated that some of their boilers that
                                                 either residual (heavy) oil or distillate               Fuel-Fired Steam Generators). Those                    may potentially be subject to a final FIP
                                                 (light) oil. We proposed a NOX                          requirements include, among other                      already have a NOX CEMS installed and
                                                 emissions limit of 0.2 lb/mmBtu 397 for                 provisions, the performance of an initial              requested that the EPA clarify whether
                                                 residual oil-fired boilers and proposed a               compliance test and installation of a                  a 30-day initial compliance test is
                                                 NOX emissions limit of 0.12 lb/mmBtu                    CEMS unless the initial performance                    required in such cases.
                                                 for distillate oil-fired boilers. We are                test indicates the unit’s emissions rate is               Response: The EPA’s final rule
                                                 finalizing both limits as proposed, based               70 percent or less of the emissions limit              provides that in instances where a boiler
                                                 on a 30-day rolling average. As with                    in this final rule. We received a number
                                                                                                                                                                meeting the applicability requirements
                                                 coal-fired industrial boilers, a number of              of comments on this portion of our
                                                                                                                                                                of this section has already installed a
                                                 combustion and post-combustion NOX                      proposal and provide responses to some
                                                                                                                                                                NOX CEMs that meets the requirements
                                                 control technologies exist that should                  of these comments in the following
                                                                                                                                                                for such equipment located within 40
                                                 generally enable facilities meeting the                 paragraphs. Our full responses to
                                                                                                                                                                CFR 60.13 or 40 CFR part 75,
                                                 applicability criteria of this section to               comments are provided in the response
                                                                                                                                                                Continuous Emissions Monitoring,
                                                 meet these emissions limits, and the                    to comments document included in the
                                                                                                                                                                pursuant to a federally enforceable
                                                 Final Non-EGU Sectors TSD identifies                    docket for this action.
                                                                                                            Comment: A number of commenters                     requirement, a 30-day initial
                                                 numerous states that have already                                                                              compliance test is not required.
                                                 adopted emissions limits similar to the                 stated that CEMS monitoring is too
                                                                                                         expensive and unnecessary for ensuring                    Comment: One commenter stated that
                                                 limits in this final rule. There are                                                                           § 52.45(d) of the EPA’s proposed rule
                                                 relatively few boilers fueled by residual               compliance with the emissions limits
                                                                                                         for boilers and requested that alternative             included requirements to complete an
                                                 or distillate oil within the industries                                                                        initial 30-day compliance test within 90
                                                 affected by this final rule that meet the               monitoring techniques be allowed.
                                                                                                            Response: The EPA acknowledges                      days of installing pollution control
                                                 applicability criteria of this section, and                                                                    equipment but did not specify whether
                                                 we received relatively few comments                     that the installation and operation of
                                                                                                         CEMs systems is more expensive than                    the test must be complete prior to the
                                                 regarding our proposed emissions limits                                                                        May 1, 2026, ozone season or by some
                                                 for them.                                               other monitoring techniques and may
                                                                                                         not be necessary for smaller sized                     later date.
                                                 c. Natural Gas-Fired Industrial Boilers                 boilers that typically produce less                       Response: In response to this
                                                                                                         emissions than larger ones. In response                comment, the EPA is finalizing
                                                    We proposed a NOX emissions limit
                                                                                                         to these comments, we have modified                    provisions requiring that initial
                                                 of 0.08 lb/mmBtu based on a 30-day
                                                                                                         the monitoring requirements in the final               compliance tests occur prior to the May
                                                 rolling average for natural gas-fired
                                                                                                         rule such that boilers rated with heat-                1, 2026 compliance date.
                                                 boilers meeting the applicability criteria
                                                 of this section, and we are finalizing this             input capacities less than 250 mmBTU/                  6. Municipal Waste Combustors
                                                 emissions limit and averaging time as                   hr can demonstrate compliance by
                                                                                                         conducting an annual stack test as an                  Applicability
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                                                 proposed. As explained in our proposal,
                                                                                                         alternative to monitoring using a CEMs                   The EPA is finalizing regulatory
                                                   397 Section 52.45(c) of the regulatory text in our    system and by complying with the                       requirements that apply to municipal
                                                 proposed rule identified a proposed emissions limit     provisions of a monitoring plan meeting                solid waste combustors located in a
                                                 of 0.15 lb/mmBtu for residual oil-fired boilers, but    specific criteria that enables the facility            state subject to the non-EGU
                                                 the emissions limit that we intended to propose for
                                                 this equipment and discussed both in the preamble
                                                                                                         owner or operator to demonstrate                       requirements of this final rule (i.e., the
                                                 to the proposed rule and in the TSD supporting the      continuous compliance with the                         20 states with linkages that persist in
                                                 proposed rule was 0.20 lb/mmBtu.                        emissions limits of this final rule.                   2026 as identified in section II.B) and


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                                                 that combust greater than or equal to                                 range from 165 to 250 ppm depending                    threshold that the EPA identified at
                                                 250 tons per day of municipal solid                                   on the combustor design type. The NOX                  proposal. Some commenters confirmed
                                                 waste (‘‘affected units’’). See 40 CFR                                limits for large MWCs constructed after                the accuracy of the OTC workgroup’s
                                                 52.46(d) for guidelines on calculating                                September 20, 1994 or for which                        estimated cost of controls for reducing
                                                 municipal waste combustor unit                                        modification or reconstruction is                      NOX emissions from MWCs of $2,900 to
                                                 capacity. This applicability threshold                                commenced after June 19, 1996 under                    $6,600 while others stated that the cost
                                                 was supported by commenters and is                                    NSPS subpart Eb are found at 40 CFR                    of controls is well below $7,500. One
                                                 consistent with the applicability criteria                            60.52b(d) and are 180 ppm during a                     commenter asserted that the EPA should
                                                 in 40 CFR part 60, subpart Eb, Standards                              unit’s first year of operation and 150                 set a 24-hour NOX emissions limit of 50
                                                 of Performance for New Stationary                                     ppm afterwards, applicable across all                  ppmvd for MWCs, which could be
                                                 Sources and Emission Guidelines for                                   combustor types. These limits                          achieved by the installation of SCR
                                                 Existing Sources: Large Municipal                                     correspond to NOX emissions rates of                   technology. Alternatively, the
                                                 Waste Combustors. State RACT rules for                                0.31 and 0.26 lb/mmBtu, respectively.                  commenters stated that the EPA should
                                                 MWCs and the OTC MWC report                                           In reviewing active air permits for                    set a 24-hour emissions limit no higher
                                                 similarly define large MWC units as                                   MWCs, the EPA found that most MWCs                     than 110 ppm based on less effective,
                                                 units with a combustion capacity greater                              are meeting emissions limits similar to                though still widely available, control
                                                 than or equal to 250 tons per day.                                    those reflected in the applicable                      technology. Although some commenters
                                                    Across the 20 states subject to the                                NSPS.400                                               stated that MWCs should not be
                                                 non-EGU requirements, this                                              The EPA also cited the OTC’s MWC                     included in the rulemaking, no
                                                 applicability threshold captures 28                                   report that evaluated the emissions                    commenters specifically identified units
                                                 MWC facilities with a total of 80                                     reduction potential of large MWCs                      or categories of units that could not
                                                 affected units. The identified affected                               located in the OTR from two different                  achieve emissions limits of 105 ppmvd
                                                 units include mass burn waterwall                                     control levels, one based on a NOX                     on a 30-day rolling averaging basis and
                                                 units, mass burn rotary waterwall units,                              concentration of 105 to 110 ppm, and                   110 ppmvd on a 24-hour block
                                                 refuse derived fuel (RDF) units, and one                              another based on a limit of 130 ppm.                   averaging basis.
                                                 CLEERGASTM (‘‘Covanta Low Emissions                                   The OTC MWC report found that a
                                                                                                                                                                                 Response: The EPA recognizes that
                                                 Energy Recovery Gasification’’) modular                               control level of 105 ppmvd on a 30-day
                                                                                                                                                                              there have been instances where MWCs
                                                 system.398 The EPA analyzed actual                                    rolling average basis and a 110 ppmvd
                                                                                                                                                                              have installed SCR and achieved
                                                 emissions from the facilities captured by                             on a 24-hour block averaging period
                                                                                                                       would reduce NOX emissions from                        emissions rates of 50 ppmvd on a 24-hr
                                                 this threshold and found that on                                                                                             averaging basis and 45 ppmvd on a 30-
                                                 average, a unit with a design capacity of                             MWCs by approximately 7,300 tons
                                                                                                                       annually, and that a limit of 130 ppmvd                day rolling averaging basis with cost
                                                 250 tons per day has a PTE of                                                                                                effectiveness estimates around $10,296/
                                                 approximately 138 tons per year,399                                   on a 30 day-average could achieve a
                                                                                                                       4,000 ton reduction. The OTR MWC                       ton to $12,779/ton of NOX reduced.
                                                 which is similar to the PTE threshold                                                                                        Given uncertainties pertaining to
                                                 applied to other non-EGU sources under                                Report noted that at the time of
                                                                                                                       publication, eight MWC units were                      whether SCR can be installed on all
                                                 this rulemaking.                                                                                                             types of MWCs, the EPA has decided
                                                                                                                       already subject to permit limits of 110
                                                 Emissions Limitations and Rationale                                   ppm, seven in Virginia, and one in                     not to establish emissions limits as low
                                                                                                                       Florida. In consideration of control                   as 50 ppmvd for MWCs using SCR at
                                                   Based on the available information for
                                                                                                                       costs, the report cited multiple studies               this time. However, as generally
                                                 this industry, including information
                                                                                                                       evaluating MWCs similar in design to                   supported by most commenters, the
                                                 provided during the public comment
                                                                                                                       the large MWCs in the OTR and found                    EPA is finalizing emissions limits of 105
                                                 period, the OTC MWC Report, a review
                                                                                                                       NOX reductions could be achieved at                    ppmvd at 7 percent oxygen (O2) on a 30-
                                                 of State and local RACT rules that apply
                                                                                                                       costs ranging from $2,900 to $6,600 per                day rolling average and 110 ppmvd at 7
                                                 to MWCs, and active air permits issued
                                                                                                                       ton of NOX reduced.                                    percent O2 on a 24-hour block average
                                                 to MWCs, the EPA is finalizing the
                                                                                                                         To further inform the EPA’s                          that apply at all times except during
                                                 following emissions limits for
                                                                                                                       consideration of emissions limits for                  periods of startup and shutdown. The
                                                 municipal solid waste combustors.
                                                                                                                       MWCs, the EPA requested comment on                     EPA recognizes that the final emissions
                                                                                                                       the emissions limit and averaging time                 limits for steady-state operations cannot
                                                      TABLE VI.C.6–1—NOX EMISSIONS                                                                                            be achieved during periods of startup,
                                                     LIMITS FOR LARGE MUNICIPAL                                        MWCs should be required to meet, and
                                                                                                                       specifically whether the EPA should                    shutdown, and malfunction. This is
                                                     WASTE COMBUSTORS                                                                                                         primarily due to the fact that during
                                                                                                                       adopt emissions rates of 105 ppmvd on
                                                                                                                       a 30-day rolling averaging basis and 110               periods of startup and shutdown,
                                                             NOX Limit
                                                              (ppmvd)                                   Averaging      ppmvd on a 24-hour block averaging                     additional ambient air is introduced
                                                                                                         period                                                               into the units, resulting in higher
                                                   corrected to 7 percent oxygen                                       basis.
                                                                                                                         Comment: The agency received                         oxygen concentrations. Therefore, the
                                                 110 .............................................     24-hour.        several comments regarding emissions                   EPA is finalizing provisions applicable
                                                 105 .............................................     30-day.                                                                during periods of startup and shutdown
                                                                                                                       limits and averaging time for MWCs.
                                                                                                                       Many commenters asserted that the EPA                  that do not require correction of CEMS
                                                   At proposal, the EPA noted that the                                                                                        data to 7 percent oxygen but do require
                                                                                                                       should set a 24-hour emissions limit no
                                                 NOX limits for large MWCs constructed                                                                                        that such data be measured at stack
                                                                                                                       higher than 110 ppm, noting that recent
                                                 on or before September 20, 1994 under                                                                                        oxygen content. This approach is
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                                                                                                                       studies have shown that there are a
                                                 NSPS subpart Cb are found within                                                                                             consistent with EPA regulations
                                                                                                                       variety of technologies that can help a
                                                 Tables 1 and 2 of 40 CFR 60.39b and                                                                                          applicable during startup and shutdown
                                                                                                                       wide range of MWC types achieve this
                                                                                                                       limit at costs that are significantly below            periods for other solid-waste
                                                   398 See the Final Non-EGU Sectors TSD for
                                                                                                                       the $7,500/ton cost effectiveness                      incinerators under the NSPS for
                                                 additional information on this inventory.
                                                   399 See the Final Non-EGU Sectors TSD for                                                                                  Commercial and Industrial Solid Waste
                                                 additional information on the calculation of PTE for                    400 For further discussion of the permits            Incineration Units. See 40 CFR part 60,
                                                 large MWCs.                                                           reviewed, see the Final Non-EGU Sectors TSD.           subparts CCCC and DDDD.


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                                                    Information received from public                     basis. Studies show that these limits can              under the final rule should be required
                                                 commenters generally aligned with the                   be achieved through a variety of                       to report NOX CEMS data electronically
                                                 results from studies showing that the                   emissions controls, including ASNCR                    at least annually to the EPA’s CEDRI
                                                 emissions limits of 105 ppmvd on a 30-                  and the addition of low NOX technology                 and any other database that the EPA
                                                 day rolling averaging basis and 110                     to existing SNCR.402 Of the 80 MWC                     will utilize when considering revisions
                                                 ppmvd on a 24-hour block averaging                      units subject to this rule, 55 units                   to the NSPS for large MWCs. The
                                                 basis can be reached using ASNCR or                     already have SNCR installed, 16 units                  commenters asserted that MWC
                                                 low NOX technology in addition to                       already have SNCR and low NOX                          operators should be required to report
                                                 SNCR.401 The EPA recognizes that not                    technology installed, and three units                  NOX CEMS data to the EPA’s Clean Air
                                                 all units can implement low NOX                         already have ASNCR installed.                          Markets database, to allow the public
                                                 technology, including those using Aireal                Applying the cost values provided in                   access to MWC CEMS data on a large
                                                 grate technology, those operating RFD                   the OTC’s MWC report to the MWC                        scale for the first time.
                                                 units, and those with rotary combustor                  inventory in section 7 of the Final Non-                  Response: The EPA is finalizing
                                                 units. Of the 80 affected MWC units that                EGU Sectors TSD, the estimated                         provisions that require MWCs subject to
                                                 the EPA identified, nine units across                   weighted average cost effectiveness of                 the requirements of this section to
                                                 two facilities are classified as rotary                 applying advanced SNCR to units with                   install, calibrate, maintain, and operate
                                                 combustors, four units at a single                      and without existing SNCR and adding                   a CEMS for the measurement of NOX
                                                 facility are classified as RDF, and no                  low NOX technology to eligible units                   emissions discharged into the
                                                 units captured are classified as using                  with SNCR was found to be                              atmosphere from the affected facility.
                                                 Aireal grate technology. One affected                   approximately $7,929.02/ton.403 This                   This is consistent with NSPS
                                                 unit is classified as CLEERGAS                          value is in line with the control                      requirements for large MWCs under 40
                                                 gasification while the remaining 64                     technology costs for other non-EGU                     CFR part 60, subparts Ea and Eb, and
                                                 affected units are classified as mass                   sectors and the EGU costs associated                   state RACT rules that are applicable to
                                                 burn waterwall combustors, which have                   with this final rule.                                  MWCs in many of the states covered
                                                 not been explicitly identified as units                                                                        under this rulemaking.404 Additionally,
                                                                                                         Compliance Assurance Requirements                      each emissions unit will be required to
                                                 unable to install low NOX technology.
                                                 For those units unable to install low                     In this final rule, the EPA is                       conduct an initial performance test.
                                                 NOX technology or SNCR, the EPA has                     establishing compliance requirements                   With regard to electronic reporting, the
                                                 identified ASCNR as an alternative                      for MWCs similar to the NSPS                           final rule requires performance tests and
                                                                                                         requirements for large MWCs under 40                   reports, including CEMS data, to be
                                                 control technology that has been shown
                                                                                                         CFR part 60, subpart Eb. Those                         submitted to CEDRI, as required for all
                                                 to enable units to achieve emissions
                                                                                                         requirements include, among other                      non-EGU industries covered by this
                                                 limits of 105 ppmvd on a 30-day rolling
                                                                                                         provisions, the performance of an initial              final rule.
                                                 averaging basis and 110 ppmvd on a 24-
                                                                                                         performance test and installation of a
                                                 hour block averaging basis, either as a                                                                        D. Submitting a SIP
                                                                                                         CEMS. At proposal, the EPA requested
                                                 new retrofit technology or as a                                                                                   A state may submit a SIP at any time
                                                                                                         comment on whether it would be
                                                 significant upgrade to existing SNCR.                                                                          to address CAA requirements that are
                                                                                                         appropriate to rely on existing testing,
                                                 The EPA finds that the availability of                                                                         covered by a FIP, and if the EPA
                                                                                                         monitoring, recordkeeping, and
                                                 ASNCR or SNCR and low NOX burners                                                                              approves the SIP it would replace the
                                                                                                         reporting requirements for MWCs under
                                                 provides sufficient flexibility for MWCs                applicable NSPS or other requirements.                 FIP, in whole or in part, as appropriate.
                                                 to meet the emissions limits in the final                 Comment: Some commenters noted                       As discussed in this section, states may
                                                 rule, especially considering 74 of the 80               that all large MWCs are already required               opt for one of several alternatives that
                                                 affected units already have SNCR                        to use CEMS to demonstrate compliance                  the EPA has provided to take over all or
                                                 installed. Although there is uncertainty                with NOX limits under the NSPS                         portions of the FIP. However, as
                                                 on the cost effectiveness of ASNCR for                  program. These commenters asserted                     discussed in greater detail further in this
                                                 achieving significant NOX reductions in                 that the EPA should improve electronic                 section, the EPA also recognizes that
                                                 small MWCs, small MWCs that combust                     reporting requirements beyond current                  states retain the discretion to develop
                                                 less than 250 tons per day of municipal                 requirements in the NSPS. The                          SIPs to replace a FIP under approaches
                                                 solid waste are not included in this                    commenters suggested that an owner or                  that differ from those the EPA has
                                                 rulemaking.                                             operator of an MWC subject to a limit                  finalized.
                                                    While commenters noted                                                                                         The EPA has established certain
                                                 discrepancies across cost effectiveness                    402 See OTC MWC Report at 6–7; Trinity              specialized provisions for replacing FIPs
                                                 values for specific types of control                    Consultants, Project Report Covanta Alexandria/        with SIPs within all the CSAPR trading
                                                 technology, no commenters specifically                  Arlington, Inc., Reasonably Available Control          programs, including the use of so-called
                                                 indicated that emissions control                        Technology Determination for NOX (September
                                                                                                         2017); Trinity Consultants, Project Report Covanta     ‘‘abbreviated SIPs’’ and ‘‘full SIPs,’’ see
                                                 technology could not be cost effectively                Fairfax, Inc., Reasonably Available Control            40 CFR 52.38(a)(4) and (5) and (b)(4),
                                                 installed on large MWCs to achieve an                   Technology Determination for NOX (September            (5), (8), (9), (11), and (12); 40 CFR
                                                 emissions limit of 105 ppmvd on a 30-                   2017); Babcock Power Environmental, Waste to           52.39(e), (f), (h), and (i). For a state to
                                                 day rolling averaging basis and 110                     Energy NOX Feasibility Study, Prepared for:
                                                                                                         Wheelabrator Technologies Baltimore Waste to
                                                                                                                                                                remove all FIP provisions through an
                                                 ppmvd on a 24-hour block averaging                      Energy Facility Baltimore, MD (February 20, 2020);     approved SIP revision, a state would
                                                                                                         White, M., Goff, S., Deduck, S., Gohlke, O., New       need to address all of the required
                                                    401 The only demonstrated use of low NO              Process for Achieving Very Low NOX, Proceedings        reductions addressed by the FIP for that
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                                                                                               X
                                                 technology in addition to SNCR at MWC facilities        of the 17th Annual North American Waste-to-
                                                                                                         Energy Conference, NAWTEC17 (May 2009); Letter
                                                                                                                                                                state, i.e., reductions achieved through
                                                 is at Covanta facilities using Covanta’s proprietary
                                                 low NOX combustion system (LNTM). For the               from the State of New Jersey to Michael Klein, In      both EGU control and non-EGU control,
                                                 purpose of this rule, EPA is assuming Covanta           Rreference to Covanta Energy Group, Inc. Essex
                                                 facilities will take advantage of this technology and   County Resource Recovery Facility, Newark Annual         404 For examples of RACT provisions applicable

                                                 others will use ASNCR. However, other iterations        Stack Test Program (March 14, 2019).                   to MWCs that require CEMS, see Regulations of
                                                 of low NOX technology could become available, or           403 See Final Non-EGU Sectors TSD for more          Connecticut State Agencies section 22a–174–22e;
                                                 facilities could work with Covanta to apply this        information on these cost effectiveness estimates      and Virginia Administrative Code section 5–40–
                                                 technology to their units.                              were generated.                                        6730, subsection (D).



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                                                 as applicable to that state. Additionally,              their SIPs at any point. The EPA has                   with a SIP that takes an alternative
                                                 tribes in Indian country within the                     repeatedly emphasized that states are                  approach would need to establish, at a
                                                 geographic scope of this rule may elect                 free to develop a SIP revision to replace              minimum, an equivalent level of
                                                 to work with EPA under the Tribal                       a transport FIP and submit that to the                 emissions reduction to what the FIP
                                                 Authority Rule to replace the FIP for                   EPA for approval, and this remains true.               requires at Step 3, and any such
                                                 areas of Indian country, in whole or in                 See 87 FR 20036, 20051 (April 6, 2022);                replacement SIP will need to comply
                                                 part, with a tribal implementation plan                 86 FR 23054, 23062 (April 30, 2021); 81                with CAA section 110(l).
                                                 or reasonably severable portions of a                   FR 74504, 74506 (Oct. 26, 2016). In the                   The concept of equivalency is
                                                 tribal implementation plan.                             FIP proposal, as in prior transport                    important for the state to consider.
                                                    Under the FIPs for the 22 states whose               actions, the EPA discussed a number of                 Under CAA section 110(l), ‘‘the
                                                 EGUs are required to participate in the                 ways in which states could take over or                Administrator shall not approve a
                                                 CSAPR NOX Ozone Season Group 3                          replace a FIP, see 87 FR 20036, 20149–                 revision of a plan if the revision would
                                                 Trading Program with the modifications                  51 (section VII.D: ‘‘Submitting A SIP’’);              interfere with any applicable
                                                 finalized in this rule, EPA continues to                see also id. at 20040 (noting as one                   requirement concerning attainment . . .
                                                 offer ‘‘abbreviated’’ and ‘‘full’’ SIP                  purpose in proposing the FIP that ‘‘this               or any other applicable requirement of
                                                 options for states. An ‘‘abbreviated SIP’’              proposal will provide states with as                   this chapter.’’ Section 110(l) applies to
                                                 allows a state to submit a SIP revision                 much information as the EPA can                        all CAA requirements, including
                                                 that establishes state-determined                       supply at this time to support their                   110(a)(2)(D) requirements relating to
                                                 allowance allocation provisions                         ability to submit SIP revisions to                     interstate transport. The EPA interprets
                                                 replacing the default FIP allocation                    achieve the emissions reductions the                   section 110(l) such that states have two
                                                 provisions but leaving the remaining                    EPA believes necessary to eliminate                    main options to make a noninterference
                                                 FIP provisions in place. A ‘‘full SIP’’                 significant contribution’’). The EPA                   demonstration. First, the state could
                                                 allows a state to adopt a trading program               provides further guidance on submitting                demonstrate that emissions reductions
                                                 meeting certain requirements that allow                 SIPs in this section. If, and when, the                removed from the SIP are replaced with
                                                 sources in the state to continue to use                 EPA receives a SIP submission that                     new control measures that achieve
                                                 the EPA-administered trading program                    satisfies the requirements of CAA                      equivalent or greater emissions
                                                 through an approved SIP revision,                       section 110(a)(2)(D)(i)(I) and 110(l), the             reductions. Thus, a 110(l) analysis
                                                 rather than a FIP. In addition, as under                Agency will take action to approve                     would generally need to show that the
                                                 past CSAPR rulemakings, states have                     those SIP submissions and withdraw the                 SIP revision, or, in this case, a potential
                                                 the option to adopt state-determined                    FIP.                                                   SIP submission replacing an existing
                                                 allowance allocations for existing units                   At the outset, we note that the Agency              FIP, will not interfere with any area’s
                                                 for the second control period under this                does not anticipate revisiting its                     ability to continue to attain or maintain
                                                 rule—in this case, the 2024 control                     findings at Steps 1 or 2 of the transport              the affected NAAQS or other CAA
                                                 period—through streamlined SIP                          framework. Those findings establish                    requirements. The EPA further has
                                                 revisions. See 76 FR 48326–48332 for                    that the projected baseline                            interpreted section 110(l) as requiring
                                                 additional discussion of full and                       anthropogenic emissions from these                     such substitute measures to be
                                                 abbreviated SIP options; see also 40 CFR                states contribute to downwind                          quantifiable, permanent, and
                                                 52.38(b).                                               nonattainment or maintenance receptors                 enforceable, among other
                                                    Comments: Some commenters alleged                    in 2023, and, for certain states, that                 considerations. For section 110(l)
                                                 that by taking this action, EPA is                      contribution continues through 2026.                   purposes, ‘‘permanent’’ means the state
                                                 depriving states of the ability to develop              Those represent critical analytical years              cannot modify or remove the substitute
                                                 SIPs to implement good neighbor                         for downwind areas as they are the last                measure without EPA review and
                                                 obligations for the 2015 ozone NAAQS                    full ozone season before the Moderate                  approval. Second, the state could
                                                 or from choosing their own compliance                   and Serious area attainment dates.                     conduct air quality modeling or develop
                                                 strategies. Commenters also claimed                     Those findings, for those years, establish             an attainment or maintenance
                                                 that the EPA cannot require states to                   the basis for an upwind state’s linkage,               demonstration based on the EPA’s most
                                                 implement emissions reductions                          from which we proceed to evaluate                      recent technical guidance to show that,
                                                 equivalent to the emissions control                     emissions control opportunities and                    even without the control measure or
                                                 stringency that the EPA determined at                   their implementation at Steps 3 and 4.                 with the control measure in its modified
                                                 Step 3 if their proposed SIPs are                          We cannot prejudge now whether                      form, significant contribution from the
                                                 otherwise shown to be adequate to                       state submissions to replace the EPA’s                 state would continue to be prohibited as
                                                 eliminate significant contribution. Other               FIP will be approvable, but we note a                  the Act requires. As discussed further in
                                                 commenters raised concerns that the                     number of statutory and implementation                 this section, for purposes of interstate
                                                 trading program enhancements for EGUs                   considerations states should be aware of               ozone transport, such an analysis entails
                                                 made it too uncertain what a state could                if designing a replacement SIP. We have                important questions of consistency and
                                                 develop as an approvable replacement                    demonstrated that the EPA’s transport                  equity among states for resolving air
                                                 SIP. At least one commenter argued that                 FIP is adequate to eliminate significant               quality problems that the EPA would
                                                 the EPA must give states a single, mass-                contribution to downwind air quality                   need to carefully evaluate.405
                                                 based emissions budget so that they can                 problems for purposes of the 2015 ozone
                                                 understand how to replace the FIP with                  NAAQS, and that the FIP does not result                   405 For instance, future circumstances in which

                                                 a SIP.                                                  in overcontrol. The level of reductions                the receptor or receptors to which a state is linked
                                                    Response: The EPA disagrees that it is                                                                      come fully into attainment or to which the upwind
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                                                                                                         required by the FIP therefore provides
                                                                                                                                                                state’s linkage drops below 1 percent of the NAAQS
                                                 depriving States of the opportunity to                  an important benchmark for states in                   would likely not, solely on those grounds, be
                                                 replace the FIP with a SIP or preventing                evaluating the equivalency of possible                 sufficient to relax transport requirements
                                                 states from targeting alternative                       replacement SIPs. As discussed in more                 established by the FIP or justify approving a less
                                                 emissions reductions strategies that can                detail in this section, in order to comply             stringent SIP. First, the emissions reductions
                                                                                                                                                                achieved by the FIP are part of the reason that a
                                                 be shown to be equivalent to the FIP.                   with their obligation under CAA section                receptor may come into attainment or a linkage may
                                                 States have always possessed the                        110(a)(2)(D)(i)(I), we generally anticipate            drop below 1 percent of the NAAQS. Simply
                                                 authority and the opportunity to revise                 that states seeking to replace the FIP                                                            Continued




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                                                    In the EPA’s experience implementing                  considered ‘‘permanent and                            ozone season. As explained in section
                                                 the CAA criteria pollutant program,                      enforceable’’ under the statute); Sierra              V.D.4 of this document, these aspects of
                                                 reductions arising from the good                         Club v. EPA, 793 F.3d 656, 665–68 (6th                the trading program do not in
                                                 neighbor provision have been critically                  Cir. 2015) (same). States seeking area                themselves introduce an overcontrol
                                                 important to the improvement of air                      redesignations are also required under                concern. Nonetheless, consistent with
                                                 quality in downwind areas struggling                     CAA section 107(d)(3)(E)(iv) to develop               the more general principles discussed in
                                                 with attainment and maintenance of the                   revisions to their state implementation               this section with respect to the potential
                                                 NAAQS, and states’ reliance on good                      plans that provide for maintenance of                 bases on which states may replace the
                                                 neighbor FIP reductions will need to be                  the NAAQS. In so doing, states develop                FIP with SIPs, we reserve judgment at
                                                 taken into account in any replacement                    air quality modeling, in which they                   this time on whether some future
                                                 SIP. In order for a nonattainment area to                project future air quality based on                   demonstration could successfully
                                                 be redesignated to attainment, the CAA                   emissions inputs that account for                     establish that revision of the FIP or its
                                                 requires not only that an area attain the                enforceable emissions reductions, or                  replacement with a SIP could be
                                                 standard, but also the Administrator                     states project emissions in the future                acceptable even if the way that
                                                 must determine ‘‘that the improvement                    relative to emissions in an attainment                significant contribution is eliminated is
                                                 in air quality is due to permanent and                   year, showing that the future emissions               through means that differ from the
                                                 enforceable reductions in emissions                      (which, again, account for on-the-books,              trading program enhancements included
                                                 resulting from implementation of the                     enforceable emissions limits) do not                  for EGUs in this action. As discussed
                                                 applicable implementation plan and                       exceed emissions in the baseline                      further in this section, a state may
                                                 applicable Federal air pollutant control                 attainment year. See ‘‘Procedures for                 choose to withdraw its EGUs from the
                                                 regulations and other permanent and                      Processing Requests to Redesignate                    trading program and instead subject
                                                 enforceable reductions.’’ CAA section                    Areas to Attainment,’’ Memo from John                 those EGUs to daily emissions rates
                                                 107(d)(3)(E)(i) and (iii). Many                          Calcagni to EPA Regions, September 4,                 commensurate with installation and
                                                 nonattainment areas across the country                   1992, at 9. Reductions required by                    optimization of state-of-the-art
                                                 that have attained various PM2.5 and                     Federal good neighbor programs may                    combustion and post-combustion
                                                 ozone NAAQS have done so in part due                     therefore also be relied upon by states               controls as the EPA determined at Step
                                                 to the imposition of Federal good                        seeking area redesignations in the                    3. Likewise, states are free to explore an
                                                 neighbor emissions control measures,                     context of how states demonstrate that                alternative set of emissions controls on
                                                 and, per CAA section 107(d)(3)(E)(iii),                  areas will maintain the NAAQS.                        non-EGU industrial sources (or other
                                                 states have specifically relied on the                      We anticipate that air quality in areas            sources in the state), so long as they can
                                                 emissions reductions required by those                   struggling to attain and maintain the                 demonstrate that an equivalent amount
                                                 programs in order to be redesignated to                  2015 ozone NAAQS will improve due to                  of emissions is eliminated. In any case,
                                                 attainment. See, e.g., 84 FR 8422, 8425                  the emissions reductions required by                  we need not resolve these questions
                                                 (March 8, 2019) (noting that ‘‘[a]t least                EPA’s FIP. We also anticipate that,                   here. The EPA, in promulgating a FIP,
                                                 140 EPA final actions redesignating                      consistent with EPA’s historical                      is not obligated to identify each way a
                                                 areas in 20 states to attainment with an                 experience implementing the NAAQS                     state could replace it with a SIP
                                                 ozone NAAQS or a fine particulate                        and acting on state requests for                      revision. Several options are discussed
                                                 matter (PM2.5) NAAQS—because NOX is                      nonattainment area redesignations,                    further in this section, and, as always,
                                                 a precursor to PM2.5 as well as ozone—                   emissions reductions associated with                  EPA Regional Offices will work closely
                                                 have relied in part on the NOX SIP Call’s                EPA’s transport FIP for the 2015 ozone                with states who wish to explore these
                                                 emissions reductions’’); see also Sierra                 NAAQS are likely to be a critical                     options or other alternatives.
                                                 Club v. EPA, 774 F.3d 383, 397–99 (7th                   component in those requests for
                                                                                                          redesignation. Where states have relied               1. SIP Option To Modify Allocations for
                                                 Cir. 2014) (upholding EPA’s approval of
                                                                                                          and are relying on the FIP’s reductions               2024 Under EGU Trading Program
                                                 a redesignation, and specifically EPA’s
                                                 determination that reductions from                       in order to attain and maintain the                      As with the start of past CSAPR
                                                 Federal good neighbor transport trading                  NAAQS, EPA will look very critically at               rulemakings, the EPA is finalizing the
                                                 programs could reasonably be                             any replacement SIP that appears to fall              option to allow a state to use a similar
                                                                                                          short of equivalent emissions                         process to submit a SIP revision
                                                 removing emissions control requirements the              reductions—in terms of the level of                   establishing allowance allocations for
                                                 moment this occurs is illogical, since those             reductions or the permanence of those                 existing EGU units in the state for the
                                                 reductions are part of the solution by which the                                                               second control period of the new
                                                 attaining air quality was achieved or the linkage
                                                                                                          reductions.
                                                 was resolved. See CAA section 107(d)(3)(E)(iii)             Finally, we disagree with commenters               requirements, i.e., in 2024, to replace
                                                 (areas cannot be redesignated unless based on            that the absence of fixed, mass-based                 the EPA-determined default allocations.
                                                 permanent and enforceable reductions); see also          emissions budgets for each state make it              A state must submit a letter to EPA by
                                                 Wisconsin, 938 F.3d at 324–25 (explaining that           impossible to replace the FIP with an                 August 4, 2023, indicating its intent to
                                                 upwind states are held to a contribution standard,
                                                 not a but-for causation standard and thus cannot         equivalent SIP. In the case of the trading            submit a complete SIP revision by
                                                 escape good neighbor obligations on the basis that       program enhancements for EGUs, the                    September 1, 2023. The SIP would
                                                 other emissions ‘‘cause’’ the NAAQS to be                EPA recognizes that the dynamic                       provide in an EPA-prescribed format a
                                                 exceeded). There is a risk of inconsistency and                                                                list of existing units within the state and
                                                 inequity in removing any requirements in this
                                                                                                          budgeting methodology will generally
                                                 manner in that any increase in emissions that could      function to impose a continuous                       their allocations for the 2024 control
                                                 occur in one upwind state would likely need to be        incentive on relevant EGUs to continue                period. If a state does not submit a letter
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                                                 reviewed in relation to the obligations other            to implement the emissions control                    of intent to submit a SIP revision, the
                                                 upwind states would continue to meet. Further, any                                                             EPA-determined default allocations will
                                                 such relaxation in upwind state requirements could
                                                                                                          strategies determined at Step 3. Further,
                                                 then unreasonably shift the burden for maintaining       the backstop rate and banking                         be recorded by September 5, 2023. If a
                                                 air quality onto the downwind states where               recalibration enhancements also are                   state submits a timely letter of intent but
                                                 receptors are located. These issues may entail           designed to ensure that EGUs                          fails to submit a SIP revision, the EPA-
                                                 complex state- or case-specific analyses that would
                                                 need to be evaluated at the time such a SIP revision
                                                                                                          implement emissions controls                          determined default allocations will be
                                                 is submitted; these issues are not ripe for resolution   consistent with Step 3 determinations                 recorded by September 15, 2023. If a
                                                 in this action.                                          on a continuous basis throughout each                 state submits a timely letter of intent


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                                                 followed by a timely SIP revision that is               Season Group 3 Trading Program                         program with an integrated State EGU
                                                 approved, the approved SIP allocations                  applicability, which the EPA would                     trading program through an approved
                                                 will be recorded by March 1, 2024.                      evaluate on a case-by-case basis. The                  SIP revision. Under this option, a state
                                                    The EPA received no comments on                      SIP revision would need to address                     can submit a SIP revision that makes
                                                 the proposed option to modify                           critical program elements, and include:                changes only to modify the EPA-
                                                 allowance allocations under the Group                   (1) high-quality baseline data, (2)                    determined default allocations and that
                                                 3 trading program for EGUs for the 2024                 ongoing Part 75 monitoring, and (3)                    adopts identical provisions for the
                                                 control period through a SIP revision                   provisions to update the non-EGU                       remaining portions of the EGU trading
                                                 and is finalizing the provisions as                     portion of the budget to appropriately                 program. This SIP option allows states
                                                 proposed.                                               reflect changes to the fleet over time.                to replace these FIP provisions with
                                                                                                            For states that want to modify the                  state-based SIP provisions while
                                                 2. SIP Option To Modify Allocations for
                                                                                                         EPA-determined default allocations, the                continuing participation in the larger
                                                 2025 and Beyond Under EGU Trading
                                                                                                         EPA proposed that a state could submit                 regional trading program. As with the
                                                 Program
                                                                                                         a SIP revision that makes changes only                 abbreviated SIP option discussed
                                                    For the 2025 control period and later,               to that provision while relying on the                 previously, to ensure the availability of
                                                 states in the CSAPR NOX Ozone Season                    FIP for the remaining provisions of the                allowance allocations for units in any
                                                 Group 3 Trading Program can modify                      EGU trading program. This abbreviated                  Indian country within a state not
                                                 the EPA-determined default allocations                  SIP option allows states to tailor the FIP             covered by the state’s CAA
                                                 with an approved SIP revision. For the                  to their individual choices while                      implementation planning authority, if
                                                 2025 control period and later, SIPs can                 maintaining the FIP-based structure of                 the state chooses to replace the EPA’s
                                                 be full or abbreviated SIPs. See 76 FR                  the trading program. To ensure the                     default allocations with state-
                                                 48326–48332 for additional discussion                   availability of allowance allocations for              determined allocations, the EPA would
                                                 of full and abbreviated SIP options; see                units in any Indian country within a                   continue to administer any portion of
                                                 also 40 CFR 52.38(b).                                   state not covered by the state’s CAA                   each state emissions budget reserved as
                                                    In this final rule, the EPA is removing              implementation planning authority, if                  a new unit set-aside or an Indian
                                                 the previous regulatory text defining                   the state chose to replace the EPA’s                   country existing unit set-aside. Also, for
                                                 specific options for states to expand                   default allocations with state-                        the same reasons discussed with respect
                                                 CSAPR NOX Ozone Season Group 3                          determined allocations, the EPA would                  to the abbreviated SIP option, the EPA
                                                 trading program applicability to include                continue to administer any portion of                  is removing the option for states to
                                                 EGUs between 15 MWe and 25 MWe or,                      each state emissions budget reserved as                expand CSAPR NOX Ozone Season
                                                 in the case of states subject to the NOX                a new unit set-aside or an Indian                      Group 3 trading program applicability to
                                                 SIP Call, large non-EGU boilers and                     country existing unit set-aside.                       include EGUs between 15 MWe and 25
                                                 combustion turbines. These options for                     The SIP submittal deadline for this                 MWe or, in the case of states subject to
                                                 expanding trading program applicability                 type of revision is December 1, 2023, if               the NOX SIP Call, large non-EGU boilers
                                                 through SIP revisions have been                         the state intends for the SIP revision to              and combustion turbines.
                                                 available to states since the start of the              be effective beginning with the 2025                      Deadlines for this type of SIP revision
                                                 CSAPR trading programs for small EGUs                   control period. For states that submit                 are the same as the deadlines for
                                                 and since the CSAPR Update for large                    this type of SIP revision, the deadline to             abbreviated SIP revisions. For the SIP-
                                                 non-EGU boilers and combustion                          submit state-determined allocations                    based program to start with the 2025
                                                 turbines, and no state has chosen to use                beginning with the 2025 control period                 control period, the SIP deadline is
                                                 the SIP process for this purpose.                       under an approved SIP is June 1, 2024,                 December 1, 2023, the deadline to
                                                 Additionally, the EPA did not receive                   and the deadline for the EPA to record                 submit state-determined allocations for
                                                 comment supporting these expansion                      those allocations is July 1, 2024.                     the 2025 control period under an
                                                 options during the comment period for                   Similarly, a state can submit a SIP                    approved SIP is June 1, 2024, and the
                                                 this rule. The EPA is finalizing a                      revision beginning with the 2026                       deadline for the EPA to record those
                                                 methodology for updating the affected                   control period and beyond by December                  allocations is July 1, 2024, and so on.
                                                 EGU portion of the budget in this rule,                 1, 2024, with state allocations for the                   The EPA received no comment on the
                                                 and the regulatory text defining the                    2026 control period due June 1, 2025,                  option to replace the Federal trading
                                                 applicability expansion to non-EGUs                     and EPA recordation of the allocations                 program for EGUs with an integrated
                                                 did not include a mechanism for                         by July 1, 2025.                                       state trading program for EGUs for
                                                 updating the incremental non-EGU                           The EPA received no comment on the                  control periods in 2025 and later years
                                                 portion of a state’s budget based on                    option to replace certain allowance                    through a SIP revision and is finalizing
                                                 changes over time of the non-EGU fleet;                 allocation provisions under the Group 3                the provisions generally as proposed,
                                                 therefore, continuation of the option to                trading program for EGUs for control                   with the exception that any potential
                                                 expand applicability to certain non-                    periods in 2025 and later years through                expansion of trading program
                                                 EGUs subject to the NOX SIP Call would                  a SIP revision and is finalizing the                   applicability under a SIP revision would
                                                 be inconsistent with the trading                        provisions generally as proposed, with                 be evaluated on a case-by-case basis.
                                                 program as applied to EGUs in this rule.                the exception that any potential
                                                    However, the EPA recognizes that                                                                            4. SIP Revisions That Do Not Use the
                                                                                                         expansion of trading program
                                                 states may seek to include non-EGUs                                                                            Trading Program
                                                                                                         applicability under a SIP revision would
                                                 covered in this action in an emissions                  be evaluated on a case-by-case basis.                     States can submit SIP revisions to
                                                 trading program, subject to important                                                                          replace the FIP that achieve the
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                                                 considerations to ensure equivalency in                 3. SIP Option To Replace the Federal                   necessary EGU emissions reductions but
                                                 emissions reductions is maintained.                     EGU Trading Program With an                            do not use the CSAPR NOX Ozone
                                                 While the EPA is not offering specific                  Integrated State EGU Trading Program                   Season Group 3 Trading Program. For a
                                                 regulatory text to implement an option                     For the 2025 control period and later,              transport SIP revision that does not use
                                                 to expand the trading program                           states in the CSAPR NOX Ozone Season                   the CSAPR NOX Ozone Season Group 3
                                                 applicability, a state could submit a SIP               Group 3 Trading Program can choose to                  Trading Program, the EPA would
                                                 to expand the CSAPR NOX Ozone                           replace the Federal EGU trading                        evaluate the transport SIP based on the


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                                                 particular control strategies selected and              requirements of the FIP with state                     emissions projections and air quality
                                                 whether the strategies as a whole                       requirements. To replace the non-EGU                   modeling conducted at Steps 1 and 2.
                                                 provide adequate and enforceable                        portion of the FIP in a state, the state’s             Such reductions must also be achieved
                                                 provisions ensuring that the necessary                  SIP must provide adequate provisions to                by the 2026 ozone season.
                                                 emissions reductions (i.e., reductions                  prohibit NOX emissions that contribute                    EPA further acknowledges that a
                                                 equal to or greater than what the Group                 significantly to nonattainment or                      demonstration of equivalency using
                                                 3 trading program will achieve) will be                 interfere with maintenance of the 2015                 other control strategies is complicated
                                                 achieved. To address the applicable                     ozone NAAQS in any other state. The                    by the fact that the final emissions
                                                 CAA requirements, the SIP revision                      state SIP submittal must demonstrate                   limits for non-EGU sources are generally
                                                 should include the following general                    that the emissions reductions required                 unit-specific and expressed in a variety
                                                 elements: (1) a comprehensive baseline                  by the SIP would continue to ensure                    of forms; comparative analysis with
                                                 2023 statewide NOX emissions                            that significant contribution from that                alternative control requirements to
                                                 inventory (which includes existing                      state has been eliminated through                      determine equivalency would need to
                                                 control requirements), which should be                  permanent and enforceable measures.                    take this into account. Similarly, we
                                                 consistent with the 2023 emissions                      The non-EGU requirements of the FIP                    recognize that the emissions trading
                                                 inventory that the EPA used to calculate                would remain in place in each covered                  program for EGUs in this action
                                                 the required state budget in this final                 state until a state’s SIP has been                     includes a number of enhancements to
                                                 rule (unless the state can explain the                  approved by the EPA to replace the FIP.                ensure that the Step 3 determination of
                                                 discrepancy); (2) a list and description                   The most straightforward method for                 which emissions are ‘‘significant’’ and
                                                 of control measures to satisfy the state                a state to submit a presumptively                      must be eliminated continues to be
                                                 emissions reduction obligation and a                    approvable SIP revision to replace the                 implemented over time. Although there
                                                 demonstration showing when each                         non-EGU portion of the FIPs for the                    is not a fixed, mass-based emissions
                                                 measure would be implemented to meet                    state would be to provide a SIP that                   budget established for each state in this
                                                 the 2023 and successive control periods;                includes emissions limits at an                        action, there are other objective metrics
                                                 (3) fully-adopted state rules providing                 equivalent or greater level of stringency              that could guide states in developing
                                                 for such NOX controls during the ozone                  than is specified for non-EGU sources                  replacement SIPs. For example, for non-
                                                 season; (4) for EGUs greater than 25                    meeting the applicability criteria and                 EGUs, states may choose to conduct an
                                                 MWe, monitoring and reporting under                     associated compliance assurance                        analysis of their industrial stationary
                                                 40 CFR part 75, and for other units,                    provisions for each of the unit types                  sources and present an alternative set of
                                                 monitoring and reporting procedures                     identified in section VI.C of this                     emissions limits applying to specific
                                                 sufficient to demonstrate that sources                  document.                                              units that it believes would achieve an
                                                 are complying with the SIP (see 40 CFR                     Comment: One commenter stated that                  equivalent level of emissions reduction.
                                                 part 51, subpart K (‘‘source                            they believed EPA’s assertion in the                   States could apply cost-effectiveness
                                                 surveillance’’ requirements)); and (5) a                proposal that any SIP submittal would                  thresholds for emissions control
                                                 projected inventory demonstrating that                  have to achieve equal or greater                       technologies that could be applied to
                                                 state measures along with Federal                       reductions for non-EGUs than the FIP                   establish that some alternative
                                                 measures will achieve the necessary                     was unlawful. The commenter asserted                   emissions control strategy results in
                                                 emissions reductions in time to meet the                that a state’s ability to replace the FIP              equivalent or greater improvement at
                                                 2023 and successive compliance                          must be tied to whether it has addressed               downwind receptors. The EPA
                                                 deadlines (e.g., enforceable reductions                 the underlying nonattainment/                          anticipates that such a comparison may
                                                 commensurate with installation of SCR                   maintenance concerns by reducing                       entail review of both baseline emissions
                                                 on coal-fired EGUs by the 2027 ozone                    significant contribution from sources in               information and growth projections
                                                 season). The SIPs must meet procedural                  the state below the significance                       between the different sets of units to
                                                 requirements under the Act, such as the                 threshold, (as opposed to whether it                   ensure that a truly equivalent or greater
                                                 requirements for public hearing, be                     prohibits equivalent emissions to the                  degree of emissions reduction is
                                                 adopted by the appropriate state board                  FIP).                                                  achieved; additionality and emissions
                                                 or authority, and establish by a                           Response: The EPA recognizes that                   shifting potential may also need to be
                                                 practically enforceable regulation or                   states may select emissions reductions                 considered. We note that the CAMx
                                                 permit(s) a schedule and date for each                  strategies that differ from the emissions              policy case run for 2026 provides a
                                                 affected source or source category to                   limitations included in the proposed                   benchmark for assessing the level of air
                                                 achieve compliance. Once the state has                  non-EGU FIP; this is discussed in                      quality improvement anticipated at
                                                 made a SIP submission, the EPA will                     response to comments earlier in this                   receptors with implementation of the
                                                 evaluate the submission(s) for                          section. For example, some states may                  FIP. This data may be of use to states as
                                                 completeness before acting on the SIP.                  desire to include non-EGUs in a trading                part of a demonstration that a
                                                 EPA’s criteria for determining                          program. This may be possible subject                  replacement SIP achieves an equivalent
                                                 completeness of a SIP submission are                    to taking into account a number of                     or greater level of air quality
                                                 codified at 40 CFR part 51, appendix V.                 considerations as discussed earlier in                 improvement to the FIP; however, the
                                                    For further background information                   this section to ensure equivalency                     use of such modeling in such a
                                                 on considerations for replacing a FIP                   between the different approaches. But                  demonstration would need to be more
                                                 with a SIP, see the discussion in the                   the state must still demonstrate that the              fully evaluated at the time of such a SIP
                                                 final CSAPR rulemaking (76 FR 48326).                   replacement SIP provides an equivalent                 revision.
                                                                                                         or greater amount of emissions
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                                                                                                                                                                   In all cases, a SIP submitted by a state
                                                 5. SIP Revision Requirements for Non-                   reductions as the proposed FIP to be                   to replace the non-EGU components of
                                                 EGU or Industrial Source Control                        presumptively approvable. The EPA                      the FIPs would very likely need to rely
                                                 Requirements                                            anticipates that such emissions                        on permanent and practically
                                                    EPA’s promulgation of a non-EGU                      reductions strategies would have to                    enforceable controls measures that are
                                                 transport FIP would in no way affect the                achieve reductions equivalent to or                    included in the SIP and, once approved
                                                 ability of states to submit, for review                 beyond those emissions reductions                      by the EPA, rendered federally
                                                 and approval, a SIP that replaces the                   already projected to occur in EPA’s                    enforceable. So-called ‘‘demonstration-


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                                                 only’’ or ‘‘non-regulatory’’ SIPs would                  to the provisions for reopening for cause               shall be required under any approved
                                                 very likely be insufficient; see                         (40 CFR 70.7(f) and 71.7(f)), significant               . . . emissions trading and other similar
                                                 discussion in response to comments                       modifications (40 CFR 70.7(e)(4)) or the                programs or processes for changes that
                                                 earlier in this section. Further, the EPA                standard permit renewal provisions (40                  are provided for in the permit.’’ 40 CFR
                                                 anticipates that states would bear the                   CFR 70.7(c) and 71.7(c)).407 For sources                70.6(a)(8) and 71.6(a)(8). Consistent
                                                 burden of establishing that the state’s                  newly subject to title V that are affected              with these provisions in the title V
                                                 alternative approach achieves at least an                sources under the FIPs, the initial title               regulations, in CSAPR, the CSAPR
                                                 equivalent level of emissions reduction                  V permit issued pursuant to 40 CFR                      Update and the Revised CSAPR Update,
                                                 as the FIP.                                              70.7(a) should address the final FIP                    the EPA included a provision stating
                                                                                                          requirements.                                           that no permit revision is necessary for
                                                 E. Title V Permitting                                      As was the case in the CSAPR, the                     the allocation, holding, deduction, or
                                                    This final rule, like CSAPR, the                      CSAPR Update and the Revised CSAPR                      transfer of allowances. 40 CFR
                                                 CSAPR Update, and the Revised CSAPR                      Update, the new and amended FIPs                        97.506(d)(1), 97.806(d)(1) and
                                                 Update does not establish any                            impose no independent permitting                        97.1006(d)(1). This provision is also
                                                 permitting requirements independent of                   requirements and the title V permitting                 included in each title V permit for an
                                                 those under Title V of the CAA and the                   process will impose no additional                       affected source. This final rule
                                                 regulations implementing Title V, 40                     burden on sources already required to                   maintains the approach taken under
                                                 CFR parts 70 and 71.406 All major                        be permitted under title V.                             CSAPR, the CSAPR Update and the
                                                 stationary sources of air pollution and                  1. Title V Permitting Considerations for                Revised CSAPR Update that allows
                                                 certain other sources are required to                    EGUs                                                    allowances to be traded (or allocated,
                                                 apply for title V operating permits that                                                                         held, or deducted) without a revision to
                                                 include emissions limitations and other                     Title V of the CAA establishes the                   the title V permit of any of the sources
                                                 conditions as necessary to ensure                        basic requirements for state title V
                                                                                                                                                                  involved.
                                                 compliance with the applicable                           permitting programs, including, among
                                                                                                          other things, provisions governing                         Similarly, this final rule would also
                                                 requirements of the CAA, including the                                                                           continue to support the means by which
                                                 requirements of the applicable SIP. CAA                  permit applications, permit content, and
                                                                                                          permit revisions that address applicable                a source in the final trading program can
                                                 sections 502(a) and 504(a), 42 U.S.C.                                                                            use the title V minor modification
                                                 7661a(a) and 7661c(a). The ‘‘applicable                  requirements under final FIPs in a
                                                                                                          manner that provides the flexibility                    procedure to change its approach for
                                                 requirements’’ that must be addressed in                                                                         monitoring and reporting emissions, in
                                                 title V permits are defined in the title V               necessary to implement market-based
                                                                                                          programs such as the trading programs                   certain circumstances. Specifically,
                                                 regulations (40 CFR 70.2 and 71.2                                                                                sources may use the minor modification
                                                 (definition of ‘‘applicable                              established in CSAPR, the CSAPR
                                                                                                          Update, the Revised CSAPR Update and                    procedure so long as the new
                                                 requirement’’)).                                                                                                 monitoring and reporting approach is
                                                    The EPA anticipates that, given the                   this final rule. 42 U.S.C. 7661a(b); 40
                                                                                                          CFR 70.6(a)(8) & (10); 40 CFR 71.6(a)(8)                one of the prior-approved approaches
                                                 nature of the units subject to this final                                                                        under CSAPR, the CSAPR Update and
                                                 rule, most if not all of the sources at                  & (10).
                                                                                                             In CSAPR, the CSAPR Update and the                   the Revised CSAPR Update (i.e.,
                                                 which the units are located are already                                                                          approaches using a continuous
                                                 subject to title V permitting                            Revised CSAPR Update, the EPA
                                                                                                          established standard requirements                       emissions monitoring system under
                                                 requirements and already possess a title                                                                         subparts B and H of 40 CFR part 75, an
                                                 V operating permit. For sources subject                  governing how sources covered by those
                                                                                                          rules would comply with title V and its                 excepted monitoring system under
                                                 to title V, the interstate transport                                                                             appendices D and E to 40 CFR part 75,
                                                 requirements for the 2015 ozone                          regulations.408 40 CFR 97.506(d),
                                                                                                          97.806(d) and 97.1006(d). For any new                   a low mass emissions excepted
                                                 NAAQS that are applicable to them                                                                                monitoring methodology under 40 CFR
                                                                                                          or existing sources subject to this rule,
                                                 under the FIPs finalized in this action                                                                          75.19, or an alternative monitoring
                                                                                                          identical title V compliance provisions
                                                 would be ‘‘applicable requirements’’                                                                             system under subpart E of 40 CFR part
                                                                                                          will apply with respect to the CSAPR
                                                 under title V and therefore must be                                                                              75), and the permit already includes a
                                                                                                          NOX Ozone Season Group 3 Trading
                                                 addressed in the title V permits. For                                                                            description of the new monitoring and
                                                                                                          Program. For example, the title V
                                                 example, EGU requirements concerning                                                                             reporting approach to be used. See 40
                                                                                                          regulations provide that a permit issued
                                                 designated representatives, monitoring,                                                                          CFR 97.506(d)(2), 97.806(d)(2) and
                                                                                                          under title V must include ‘‘[a]
                                                 reporting, and recordkeeping, the                                                                                97.1006(d)(2); 40 CFR 70.7(e)(2)(i)(B)
                                                                                                          provision stating that no permit revision
                                                 requirement to hold allowances                                                                                   and 71.7(e)(1)(i)(B). As described in
                                                 covering emissions, the compliance                         407 A permit is reopened for cause if any new         EPA’s 2015 Title V Guidance, sources
                                                 assurance provisions, and liability, and                 applicable requirements (such as those under a FIP)     may comply with this requirement by
                                                 for non-EGUs, the emissions limits and                   become applicable to an affected source with a
                                                                                                                                                                  including a table of all of the approved
                                                 compliance requirements are, to the                      remaining permit term of 3 or more years. If the
                                                                                                          remaining permit term is less than 3 years, such        monitoring and reporting approaches
                                                 extent relevant to each source,                          new applicable requirements will be added to the        under CSAPR, the CSAPR Update and
                                                 ‘‘applicable requirements’’ that must be                 permit during permit renewal. See 40 CFR                the Revised CSAPR Update trading
                                                 addressed in the permits.                                70.7(f)(1)(i) and 71.7(f)(1)(i).
                                                                                                                                                                  programs in which the source is
                                                    Consistent with EPA’s approach                          408 The EPA has also issued a guidance document
                                                                                                                                                                  required to participate, and the
                                                 under CSAPR, the CSAPR Update and                        and template that includes instructions for how to
                                                                                                          incorporate the applicable requirements into a          applicable requirements governing each
                                                 the Revised CSAPR Update, the                            source’s Title V permit. See Memorandum dated           of those approaches.409 Inclusion of
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                                                 applicable requirements resulting from                   May 13, 2015, from Anna Marie Wood, Director, Air       such a table in a source’s title V permit
                                                 the FIPs generally will have to be                       Quality Policy Division, and Reid P. Harvey,
                                                                                                          Director, Clean Air Market Division, EPA, to            therefore allows a covered unit that
                                                 incorporated into affected sources’
                                                                                                          Regional Air Division Directors, Subject: ‘‘Title V     seeks to change or add to its chosen
                                                 existing title V permits either pursuant                 Permit Guidance and Template for the Cross-State        monitoring and recordkeeping approach
                                                                                                          Air Pollution Rule’’ (‘‘2015 Title V Guidance’’),       to easily comply with the regulations
                                                   406 Part 70 addresses requirements for state title     available at https://www.epa.gov/sites/default/files/
                                                 V programs, and part 71 governs the Federal title        2016–10/documents/csapr_title_v_permit_
                                                 V program.                                               guidance.pdf.                                            409 Id.




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                                                 governing the use of the title V minor                  emissions reduction requirements under                 been met by participation of the state’s
                                                 modification procedure.                                 the NOX SIP Call for these large EGUs.                 large EGUs in the CSAPR NOX Ozone
                                                    Under CSAPR, the CSAPR Update                          With respect to the large non-EGU                    Season Group 2 Trading Program (or
                                                 and the Revised CSAPR Update, to                        boilers and combustion turbines that                   earlier by the CSAPR NOX Ozone
                                                 employ a monitoring or reporting                        formerly participated in the NOX Budget                Season Group 1 Trading Program), the
                                                 approach different from the prior-                      Trading Program under the NOX SIP                      EPA will deem those obligations to be
                                                 approved approaches discussed                           Call, the EPA provided options under                   satisfied by the participation of the same
                                                 previously, unit owners and operators                   both the CSAPR Update and the Revised                  sources in the CSAPR NOX Ozone
                                                 must submit monitoring system                           CSAPR Update for states to address                     Season Group 3 Trading Program.
                                                 certification applications to the EPA                   these sources’ ongoing NOX SIP Call                    Specifically, for all states covered by the
                                                 establishing the monitoring and                         requirements by expanding applicability                Group 3 trading program under this rule
                                                 reporting approach actually to be used                  of the relevant CSAPR trading programs                 except Minnesota, Nevada, and Utah,
                                                 by the unit, or, if the owners and                      for ozone season NOX emissions to                      participation of the state’s EGUs in the
                                                 operators choose to employ an                           include the sources, and no state chose                Group 3 trading program will be
                                                 alternative monitoring system, to submit                to use these options. As discussed in                  deemed to satisfy not only the EGU-
                                                 petitions for that alternative to the EPA.              sections VI.D.2 and VI.D.3, in this rule               related portion of the state’s good
                                                 These applications and petitions are                    the EPA is removing the previous                       neighbor obligations with respect to the
                                                 subject to the EPA review and approval                  regulatory text defining specific options              2015 ozone NAAQS but also the state’s
                                                 to ensure consistency in monitoring and                 for states to expand trading program                   good neighbor obligations with respect
                                                 reporting among all trading program                     applicability to include these sources                 to the 2008 ozone NAAQS. In addition,
                                                 participants. EPA’s responses to any                    and instead will evaluate any SIP                      for Alabama, Arkansas, Illinois, Indiana,
                                                 petitions for alternative monitoring                    revisions seeking to include these                     Kentucky, Louisiana, Michigan,
                                                 systems or for alternatives to specific                 sources in the Group 3 trading program                 Mississippi, Missouri, Oklahoma, and
                                                 monitoring or reporting requirements                    on a case-by-case basis.411                            Wisconsin, participation of the state’s
                                                 are posted on EPA’s website.410 The                                                                            EGUs in the Group 3 trading program
                                                 EPA maintains the same approach for                     2. Acid Rain Program                                   will also be deemed to satisfy the state’s
                                                 the trading program in this final rule.                    This rule does not affect any SO2 and               good neighbor obligations with respect
                                                 2. Title V Permitting Considerations for                NOX requirements under the Acid Rain                   to the 1997 ozone NAAQS.412
                                                 Industrial Stationary Sources                           Program, which are established
                                                                                                                                                                VII. Environmental Justice Analytical
                                                                                                         separately under 40 CFR parts 72
                                                    For non-EGU sources, affected sources                                                                       Considerations and Stakeholder
                                                                                                         through 78 and will continue to apply
                                                 will need to work with their local, state,                                                                     Outreach and Engagement
                                                                                                         independently of this rule’s provisions.
                                                 or tribal permitting authority to                       Sources subject to the Acid Rain                         Consistent with EPA’s commitment to
                                                 determine if the new applicable                         Program will continue to be required to                integrating environmental justice in the
                                                 requirements should be incorporated                     comply with all requirements of that                   agency’s actions, and following the
                                                 into their existing title V permit under                program, including the requirement to                  directives set forth in multiple
                                                 the reopening for cause, significant                    hold sufficient allowances issued under                Executive orders, the Agency has
                                                 modification, or permit renewal                         the Acid Rain Program to cover their                   analyzed the impacts of this final rule
                                                 procedures of the approved permitting                   SO2 emissions after the end of each                    on communities with environmental
                                                 program. Title V permits for existing                   control period.                                        justice concerns and engaged with
                                                 sources will need to be updated to                                                                             stakeholders representing these
                                                 include the applicable requirements of                  3. Other CSAPR Trading Programs                        communities to seek input and
                                                 this final rule and any necessary                          This rule does not substantively affect             feedback. Executive Order 12898 is
                                                 preconstruction permits obtained in                     any provisions of the CSAPR NOX                        discussed in section X.J of this final rule
                                                 order to comply with this final rule.                   Annual, CSAPR SO2 Group 1, CSAPR                       and analytical results are available in
                                                 F. Relationship to Other Emissions                      SO2 Group 2, CSAPR NOX Ozone                           Chapter 7 of the RIA. This analysis is
                                                 Trading and Ozone Transport Programs                    Season Group 1, or CSAPR NOX Ozone                     being provided for informational
                                                                                                         Season Group 2 trading programs for                    purposes only.
                                                 1. NOX SIP Call                                         sources that continue to participate in                A. Introduction
                                                    Sources in states affected by both the               those programs. Sources subject to any
                                                 NOX SIP Call for the 1979 ozone                         of the CSAPR trading programs will                       Executive Order 12898 directs EPA to
                                                 NAAQS and the requirements                              continue to be required to comply with                 identify the populations of concern who
                                                 established in this final rule for the 2015             all requirements of all such trading                   are most likely to experience unequal
                                                 ozone NAAQS will be required to                         programs to which they are subject,                    burdens from environmental harms;
                                                 comply with the requirements of both                    including the requirement to hold                      specifically, minority populations, low-
                                                 rules. With respect to EGUs larger than                 sufficient allowances issued under the                 income populations, and indigenous
                                                 25 MW, in this rule the EPA is requiring                respective programs to cover emissions                 peoples.413 Additionally, Executive
                                                 NOX ozone season emissions reductions                   after the end of each control period.                     412 For the remaining state transitioning from the
                                                 from these sources in many of the NOX                      The EPA also notes that where a                     Group 2 trading program to the Group 3 trading
                                                 SIP Call states, and at greater stringency              state’s good neighbor obligations with                 program under this rule—Texas—as well as the
                                                 than required by the NOX SIP Call, by                   respect to the 1997 ozone NAAQS or the                 remaining states that transitioned from the Group
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                                                                                                                                                                2 trading program to the Group 3 trading program
                                                 requiring the EGUs to participate in the                2008 ozone NAAQS have previously                       under the Revised CSAPR Update—Maryland, New
                                                 CSAPR NOX Ozone Season Group 3                                                                                 Jersey, New York, Ohio, Pennsylvania, Virginia, and
                                                 Trading Program. The emissions                             411 Only one NO SIP Call state—Tennessee—
                                                                                                                            X                                   West Virginia—participation of the states’ EGUs in
                                                 reductions required under this rule are                 continues to participate in the Group 2 trading        the Group 2 trading program as required by the
                                                                                                         program, and the EPA has already approved other        CSAPR Update was addressing good neighbor
                                                 therefore sufficient to satisfy the                     SIP provisions addressing the ongoing NOX SIP Call     obligations of the states with respect to only the
                                                                                                         obligations for Tennessee’s large non-EGU boilers      2008 ozone NAAQS, not the 1997 ozone NAAQS.
                                                   410 https://www.epa.gov/airmarkets/part-75-           and combustion turbines. See 84 FR 7998 (March         See 81 FR 74523–74526.
                                                 petition-responses.                                     6, 2019); 86 FR 12092 (March 2, 2021).                    413 59 FR 7629, February 16, 1994.




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                                                 Order 13985 is intended to advance                         For the final rule, we employ two                   associated with unique limitations and
                                                 racial equity and support underserved                   types of analytics to respond to the                   uncertainties.
                                                 communities through Federal                             previous three questions: proximity                       Baseline demographic proximity
                                                 Government actions.414 The EPA                          analyses and exposure analyses. Both                   analyses can be relevant for identifying
                                                 defines environmental justice as the fair               types of analyses can inform whether                   populations that may be exposed to
                                                 treatment and meaningful involvement                    there are potential EJ concerns for                    local pollutants, such as NO2 emitted
                                                 of all people regardless of race, color,                population groups of concern in the                    from affected sources in this final rule.
                                                 national origin, or income, with respect                baseline (question 1).417 In contrast,                 However, such analyses are less useful
                                                 to the development, implementation,                     only the exposure analyses, which are                  here as they do not account for the
                                                 and enforcement of environmental laws,                  based on future air quality modeling,                  potential impacts of this final rule on
                                                 regulations, and policies. The EPA                      can inform whether there will be                       long-range concentration changes.
                                                 further defines the term fair treatment to              potential EJ concerns after                            Baseline demographic proximity
                                                 mean that ‘‘no group of people should                   implementation of the regulatory                       analysis presented in the RIA suggest
                                                 bear a disproportionate burden of                       options under consideration (question                  that larger percentages of Hispanics,
                                                 environmental harms and risks,                          2) and whether potential EJ concerns                   African Americans, people below the
                                                 including those resulting from the                      will be created or mitigated compared to               poverty level, people with less
                                                 negative environmental consequences of                  the baseline (question 3). While the                   educational attainment, and people
                                                 industrial, governmental, and                           exposure analysis can respond to all                   linguistically isolated are living within
                                                 commercial operations or programs and                   three questions, several caveats should                5 km and 10 km of an affected EGU,
                                                 policies.’’ 415 In recognizing that                     be noted. For example, the air pollutant               compared to national averages. It also
                                                 minority and low-income populations                     exposure metrics are limited to those                  finds larger percentages of African
                                                 often bear an unequal burden of                         used in the benefits assessment. For                   Americans, people below the poverty
                                                 environmental harms and risks, the EPA                  ozone, that is the maximum daily 8-                    level, and with less educational
                                                 continues to consider ways of protecting                hour average, averaged across the April                attainment living within 5 km and 10
                                                 them from adverse public health and                     through September warm season (AS–                     km of an affected non-EGU facility.
                                                 environmental effects of air pollution.                 MO3) and for PM2.5 that is the annual                  Relating these results to question 1 from
                                                                                                         average. This ozone metric likely                      section 7.2 of the RIA, we conclude that
                                                 B. Analytical Considerations                            smooths potential daily ozone gradients                there may be potential EJ concerns
                                                   The EPA’s environmental justice (EJ)                  and is not directly relatable to the                   associated with directly emitted
                                                 technical guidance 416 states that:                     National Ambient Air Quality Standard                  pollutants that are affected by the
                                                                                                         (NAAQS), whereas the PM2.5 metric is                   regulatory action (e.g., NO2) for certain
                                                    The analysis of potential EJ concerns for
                                                                                                         more similar to the long term PM2.5                    population groups of concern in the
                                                 regulatory actions should address three
                                                 questions:                                              standard. The air quality modeling                     baseline. However, as proximity to
                                                    1. Are there potential EJ concerns                   estimates are also based on state level                affected facilities does not capture
                                                 associated with environmental stressors                 emissions data paired with facility-level              variation in baseline exposure across
                                                 affected by the regulatory action for                   baseline emissions, and provided at a                  communities, nor does it indicate that
                                                 population groups of concern in the baseline?           resolution of 12km2. Additionally, here                any exposures or impacts will occur,
                                                    2. Are there potential EJ concerns                   we focus on air quality changes due to                 these results do not in themselves
                                                 associated with environmental stressors                 this final rulemaking and infer post-                  demonstrate disproportionate impacts of
                                                 affected by the regulatory action for                   policy exposure burden impacts.                        affected facilities in the baseline and
                                                 population groups of concern for the                       Exposure analytic results are provided              should not be interpreted as a direct
                                                 regulatory option(s) under consideration?
                                                                                                         in two formats: aggregated and                         measure of exposure or impact.
                                                    3. For the regulatory option(s) under
                                                                                                         distributional. The aggregated results                    Whereas proximity analyses are
                                                 consideration, are potential EJ concerns
                                                 created or mitigated compared to the                    provide an overview of potential ozone                 limited to evaluating the
                                                 baseline?                                               exposure differences across populations                representativeness of populations
                                                                                                         at the national- and state-levels, while               residing nearby affected facilities, the
                                                    To address these questions in the                    the distributional results show detailed               ozone and PM2.5 exposure analyses can
                                                 EPA’s first quantitative EJ analysis in                 information about ozone concentration                  provide insight into all three EJ
                                                 the context of a transport rule, the EPA                changes experienced by everyone                        questions. Even though both the
                                                 developed a unique analytical approach                  within each population.                                proximity and exposure analyses can
                                                 that considers the purpose and specifics                   In Chapter 7 of the RIA we utilize the              potentially improve understanding of
                                                 of the final rulemaking, as well as the                 two types of analytics to address the                  baseline EJ concerns (question 1), the
                                                 nature of known and potential                           three EJ questions by quantitatively                   two should not be directly compared.
                                                 exposures and impacts. However, due to                  evaluating: (1) the proximity of affected              This is because the demographic
                                                 data limitations, it is possible that our               facilities to potentially disadvantaged                proximity analysis does not include air
                                                 analysis failed to identify disparities                 populations (section 7.3); and (2) the                 quality information and is based on
                                                 that may exist, such as potential                       potential for disproportionate ozone and               current, not future, population
                                                 environmental justice characteristics                   PM2.5 concentrations in the baseline and               information.
                                                 (e.g., residence of historically red lined              concentration changes after rule                          The baseline analysis of ozone and
                                                 areas), environmental impacts (e.g.,                    implementation across different                        PM2.5 concentration burden responds to
                                                 other ozone metrics), and more granular                 demographic groups (section 7.4). Each                 question 1 from EPA’s environmental
                                                 spatial resolutions (e.g., neighborhood
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                                                                                                         of these analyses depends on mutually                  justice technical guidance document
                                                 scale) that were not evaluated.                         exclusive assumptions, was performed                   more directly than the proximity
                                                                                                         to answer separate questions, and is                   analyses, as it evaluates a form of the
                                                   414 86 FR 7009, January 20, 2021.
                                                                                                                                                                environmental stressor targeted by the
                                                   415 https://www.epa.gov/environmentaljustice.
                                                   416 U.S. Environmental Protection Agency (EPA),
                                                                                                           417 The baseline for proximity analyses is current
                                                                                                                                                                regulatory action. Baseline ozone and
                                                                                                         population information (e.g., 2021), whereas the       PM2.5 analyses show that certain
                                                 2015. Guidance on Considering Environmental             baseline for ozone exposure analyses are the future
                                                 Justice During the Development of Regulatory            years in which the regulatory options will be          populations, such as Hispanics, Asians,
                                                 Actions.                                                implemented (e.g., 2023 and 2026).                     those linguistically isolated, those less


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                                                 educated, and children may experience                                   public to submit written comments to                                     (2016$) in 2026. The EPA also analyzed
                                                 somewhat higher ozone and PM2.5                                         the regulatory docket for this                                           a more and a less stringent alternative.
                                                 concentrations compared to the national                                 rulemaking.420 The EPA also invited the                                  The more and less stringent alternatives
                                                 average. Therefore, also in response to                                 public to participate in a public hearing                                differ from the rule in that they set
                                                 question 1, there likely are potential                                  held on April 21, 2022. A transcript of                                  different NOX ozone season emissions
                                                 environmental justice concerns                                          the public hearing is available in the                                   budgets for the affected EGUs and
                                                 associated with ozone and PM2.5                                         docket for this rulemaking.                                              different dates for large, coal-fired
                                                 exposures affected by the regulatory                                    Additionally, on March 31, 2022, the                                     EGUs’ compliance with the backstop
                                                 action for population groups of concern                                 EPA hosted an informational webinar                                      emissions rate.
                                                 in the baseline. However, these baseline                                with non-governmental groups and                                            For non-EGUs, the EPA developed an
                                                 exposure results have not been fully                                    environmental justice stakeholders to                                    analytical framework to determine
                                                 explored and additional analyses are                                    answer questions and share information                                   which industries and emissions unit
                                                 likely needed to understand potential                                   about the proposed rule. A record of this                                types to include in a proposed
                                                 implications. In addition, we infer that                                webinar, including the informational                                     Transport FIP for the 2015 ozone
                                                 disparities in the ozone and PM2.5                                      power point shared at the webinar is                                     NAAQS transport obligations. A
                                                 concentration burdens are likely to                                     available in the docket for this                                         February 28, 2022 memorandum, titled
                                                 persist after implementation of the                                     rulemaking.                                                              ‘‘Screening Assessment of Potential
                                                 regulatory action or alternatives under                                                                                                          Emissions Reductions, Air Quality
                                                                                                                         VIII. Costs, Benefits, and Other Impacts
                                                 consideration due to similar modeled                                                                                                             Impacts, and Costs from Non-EGU
                                                                                                                         of the Final Rule
                                                 concentration reductions across                                                                                                                  Emissions Units for 2026,’’ documents
                                                 population demographics (question 2).                                      In the RIA for the Federal Good                                       the analytical framework used to
                                                    Question 3 asks whether potential EJ                                 Neighbor Plan Addressing Regional                                        identify industries and emissions unit
                                                 concerns will be created or mitigated as                                Ozone Transport for the 2015 Ozone                                       types included in the proposed FIP. To
                                                 compared to the baseline. Due to the                                    National Ambient Air Quality                                             further evaluate the industries and
                                                 very small differences observed in the                                  Standards, the EPA estimated the health                                  emissions unit types identified and to
                                                 distributional analyses of post-policy                                  and climate benefits, compliance costs,                                  establish the proposed emissions limits,
                                                 ozone and PM2.5 exposure impacts                                        and emissions changes that may result                                    the EPA reviewed Reasonably RACT
                                                 across populations, we do not find                                      from the final rule for the analysis                                     rules, NSPS rules, NESHAP rules,
                                                 evidence that potential EJ concerns                                     period 2023 to 2042. The estimated                                       existing technical studies, rules in
                                                 related to ozone and PM2.5                                              health and climate benefits and                                          approved SIP submittals, consent
                                                 concentrations will be created or                                       compliance costs are presented in detail                                 decrees, and permit limits. That
                                                 mitigated as compared to the                                            in this RIA. The EPA notes that for                                      evaluation is detailed in the Proposed
                                                 baseline.418                                                            EGUs the estimated benefits and                                          Non-EGU Sectors TSD prepared for the
                                                                                                                         compliance costs are directly associated                                 proposed FIP. The EPA is retaining the
                                                 C. Outreach and Engagement                                              with fully operating existing SCRs                                       industries and many of the emissions
                                                    Prior to proposal, the EPA hosted an                                 during ozone season; fully operating                                     unit types included in the proposal in
                                                 outreach webinar with environmental                                     existing SNCRs during ozone season;                                      this final action. For the non-EGU
                                                 justice stakeholders to share information                               installing state-of-the-art combustion                                   industries, in the final rule we made
                                                 about the proposed rule and solicit                                     controls; imposing a backstop emissions                                  some minor changes to the non-EGU
                                                 feedback about potential environmental                                  rate on certain units that lack SCR                                      emissions units covered, the
                                                 justice considerations. The webinar was                                 controls; and installing SCR and SNCR                                    applicability criteria, as well as
                                                 attended by representatives of state                                    post-combustion controls. The EPA also                                   provided for facility-wide emissions
                                                 governments, federally recognized                                       notes that for non-EGUs the estimated                                    averaging for engines and for a low-use
                                                 tribes, environmental NGOs, higher                                      health benefits and compliance costs are                                 exemption to eliminate the need to
                                                 education institutions, industry, and the                               directly associated with installing                                      install controls on low-use boilers.
                                                 EPA.419 Participants were invited to                                    controls to meet the NOX emissions                                          Table VIII–1 provides the projected
                                                 comment on pre-proposal                                                 requirements presented in section I.B of                                 2023 through 2027, 2030, 2035, and
                                                 environmental justice considerations                                    this document.                                                           2042 EGU NOX, SO2, PM2.5, and CO2
                                                 during the webinar or submit written                                       For EGUs, the EPA analyzed this                                       emissions reductions for the evaluated
                                                 comments to a pre-proposal non-                                         action’s emissions budgets using                                         regulatory control alternatives. For
                                                 regulatory docket.                                                      uniform control stringency represented                                   additional information on emissions
                                                    After proposal, the EPA opened a                                     by $1,800 per ton of NOX (2016$) in                                      changes, see Table 4–6 and Table 4–7 in
                                                 public comment period to invite the                                     2023 and $11,000 per ton of NOX                                          Chapter 4 of the RIA.

                                                  TABLE VIII–1—EGU OZONE SEASON NOX EMISSIONS CHANGES AND ANNUAL EMISSIONS REDUCTIONS (TONS) FOR NOX,
                                                               SO2, PM2.5, AND CO2 FOR THE REGULATORY CONTROL ALTERNATIVES FROM 2023–2042
                                                                                                                                                                                                                   Less stringent                 More stringent
                                                                                                                                                                                         Final rule                 alternative                    alternative

                                                 2023:
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                                                     NOX (ozone season) ..................................................................................................                         10,000                         10,000                         10,000
                                                     NOX (annual) ..............................................................................................................                   15,000                         15,000                         15,000
                                                     SO2 (annual) ...............................................................................................................                    1,000                          3,000                          1,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                  ..........................   ............................   ............................

                                                   418 Please note, exposure results should not be                         419 This does not constitute EPA’s tribal                                420 Comments and responses regarding

                                                 extrapolated to other air pollutant. Detailed                           consultation under E.O. 13175, which is described                        environmental justice considerations are available
                                                 environmental justice analytical results can be                         in section XI.F of this rule.                                            in Section 6 of the RTC document for this
                                                 found in Chapter 7 of the RIA.                                                                                                                   rulemaking.



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                                                  TABLE VIII–1—EGU OZONE SEASON NOX EMISSIONS CHANGES AND ANNUAL EMISSIONS REDUCTIONS (TONS) FOR NOX,
                                                          SO2, PM2.5, AND CO2 FOR THE REGULATORY CONTROL ALTERNATIVES FROM 2023–2042—Continued
                                                                                                                                                                                                                   Less stringent                 More stringent
                                                                                                                                                                                         Final rule                 alternative                    alternative

                                                     PM2.5 (annual) ............................................................................................................    ..........................   ............................   ............................
                                                 2024:
                                                     NOX (ozone season) ..................................................................................................                         21,000                         10,000                        33,000
                                                     NOX (annual) ..............................................................................................................                   25,000                         15,000                        57,000
                                                     SO2 (annual) ...............................................................................................................                  19,000                           5,000                       59,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 10,000                           4,000                       20,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000        ............................                    1,000
                                                 2025:
                                                     NOX (ozone season) ..................................................................................................                         32,000                        10,000                        56,000
                                                     NOX (annual) ..............................................................................................................                   35,000                        15,000                        99,000
                                                     SO2 (annual) ...............................................................................................................                  38,000                         7,000                       118,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 21,000                         8,000                        40,000
                                                     PM2.5 (annual) ............................................................................................................                    2,000                         1,000                         2,000
                                                 2026:
                                                     NOX (ozone season) ..................................................................................................                         25,000                           8,000                      49,000
                                                     NOX (annual) ..............................................................................................................                   29,000                         12,000                       88,000
                                                     SO2 (annual) ...............................................................................................................                  29,000                           5,000                     104,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 16,000                           6,000                      34,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000        ............................                   2,000
                                                 2027:
                                                     NOX (ozone season) ..................................................................................................                         19,000                           6,000                       43,000
                                                     NOX (annual) ..............................................................................................................                   22,000                           9,000                       78,000
                                                     SO2 (annual) ...............................................................................................................                  21,000                           4,000                       91,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 10,000                           3,000                       28,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000        ............................                    2,000
                                                 2030:
                                                     NOX (ozone season) ..................................................................................................                         34,000                        33,000                          31,000
                                                     NOX (annual) ..............................................................................................................                   62,000                        59,000                          50,000
                                                     SO2 (annual) ...............................................................................................................                  93,000                        98,000                          51,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 26,000                        23,000                            8,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000                         1,000         ............................
                                                 2035:
                                                     NOX (ozone season) ..................................................................................................                         29,000                        30,000                          27,000
                                                     NOX (annual) ..............................................................................................................                   46,000                        46,000                          41,000
                                                     SO2 (annual) ...............................................................................................................                  21,000                        19,000                          15,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 16,000                        15,000                            8,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000                         1,000         ............................
                                                 2042:
                                                     NOX (ozone season) ..................................................................................................                         22,000                        22,000                          22,000
                                                     NOX (annual) ..............................................................................................................                   23,000                        22,000                          21,000
                                                     SO2 (annual) ...............................................................................................................                  15,000                        15,000                           7,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                  9,000                         8,000                           4,000
                                                     PM2.5 (annual).
                                                    Emissions changes for NOX, SO2, and PM2.5 are in tons.


                                                   Table VIII–2 provides a summary of                                          starting in 2026, along with the                                   in the RIA assumes that the estimated
                                                 the ozone season NOX emissions for                                            estimated ozone season NOX reductions                              reductions in 2026 will be the same in
                                                 non-EGUs for the 20 states subject to the                                     for 2026 for the rule and the less and                             later years.
                                                 non-EGU emissions requirements                                                more stringent alternatives. The analysis

                                                    TABLE VIII–2—OZONE SEASON NOX EMISSIONS AND EMISSIONS REDUCTIONS (TONS) FOR NON-EGUS FOR THE FINAL
                                                                            RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES
                                                                                                                                                             2019 Ozone              Final rule—                 Less stringent—                More stringent—
                                                                                                 State                                                         season               ozone season                  ozone season                   ozone season
                                                                                                                                                             emissions a            NOX reductions               NOX reductions                 NOX reductions

                                                 AR ....................................................................................................                8,790                        1,546                            457                          1,690
                                                 CA ....................................................................................................               16,562                        1,600                          1,432                          4,346
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                                                 IL ......................................................................................................             15,821                        2,311                            751                          2,991
                                                 IN .....................................................................................................              16,673                        1,976                          1,352                          3,428
                                                 KY ....................................................................................................               10,134                        2,665                            583                          3,120
                                                 LA .....................................................................................................              40,954                        7,142                          1,869                          7,687
                                                 MD ...................................................................................................                 2,818                          157                            147                          1,145
                                                 MI .....................................................................................................              20,576                        2,985                            760                          5,087
                                                 MO ...................................................................................................                11,237                        2,065                            579                          4,716
                                                 MS ....................................................................................................                9,763                        2,499                            507                          2,650



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                                                    TABLE VIII–2—OZONE SEASON NOX EMISSIONS AND EMISSIONS REDUCTIONS (TONS) FOR NON-EGUS FOR THE FINAL
                                                                       RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES—Continued
                                                                                                                                                              2019 Ozone                   Final rule—                 Less stringent—                More stringent—
                                                                                                State                                                           season                    ozone season                  ozone season                   ozone season
                                                                                                                                                              emissions a                 NOX reductions               NOX reductions                 NOX reductions

                                                 NJ .....................................................................................................                  2,078                             242                            242                            258
                                                 NV 421 ...............................................................................................                    2,544                               0                              0                              0
                                                 NY ....................................................................................................                   5,363                             958                            726                          1,447
                                                 OH ....................................................................................................                  18,000                           3,105                          1,031                          4,006
                                                 OK ....................................................................................................                  26,786                           4,388                          1,376                          5,276
                                                 PA ....................................................................................................                  14,919                           2,184                          1,656                          4,550
                                                 TX ....................................................................................................                  61,099                           4,691                          1,880                          9,963
                                                 UT ....................................................................................................                   4,232                             252                             52                            615
                                                 VA ....................................................................................................                   7,757                           2,200                            978                          2,652
                                                 WV ...................................................................................................                    6,318                           1,649                            408                          2,100

                                                        Totals ........................................................................................                 302,425                          44,616                         16,786                         67,728
                                                    a The 2019 ozone season emissions are calculated as 5/12 of the annual emissions from the following two emissions inventory files: nonegu_
                                                 SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_13sep2021_v0 and oilgas_SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_
                                                 13sep2021_v0.


                                                    For EGUs, the EPA analyzed ozone                                          complying with the emissions                                              into the forecast period, since future
                                                 season NOX emissions reductions and                                          requirements for non-EGUs. The costs                                      costs are discounted more heavily than
                                                 the associated costs to the power sector                                     presented in Table VIII–3 do not include                                  near term costs. This can result in a
                                                 using the Integrated Planning Model                                          monitoring and reporting costs, which                                     policy scenario showing single year
                                                 (IPM) and its underlying data and                                            EPA summarizes in section X.B.2 of this                                   costs that are lower than the Baseline,
                                                 inputs. For non-EGUs, the EPA prepared                                       document. The monitoring and                                              but over the entire forecast horizon, the
                                                 an assessment summarized in the                                              reporting costs presented in section                                      policy scenario shows higher costs.422
                                                 memorandum titled Summary of Final                                           X.B.2 are $0.35 million per year for                                      For a detailed description of these cost
                                                 Rule Applicability Criteria and                                              EGUs and $3.8 million per year for non-                                   trends, please see Chapter 4, section
                                                 Emissions Limits for Non-EGU
                                                                                                                              EGUs. For EGUs, compliance costs are                                      4.5.2, of the RIA. For a detailed
                                                 Emissions Units, Assumed Control
                                                                                                                              negative in 2026. While seemingly                                         description of the methods and results
                                                 Technologies for Meeting the Final
                                                 Emissions Limits, and Estimated                                              counterintuitive, estimating negative                                     from the memorandum titled Summary
                                                 Emissions Units, Emissions Reductions,                                       compliance costs in a single year is                                      of Final Rule Applicability Criteria and
                                                 and Costs, and the memorandum                                                possible given IPM’s objective function                                   Emissions Limits for Non-EGU
                                                 includes estimated emissions reductions                                      is to minimize the discounted net                                         Emissions Units, Assumed Control
                                                 by state for the rule.421                                                    present value (NPV) of a stream of                                        Technologies for Meeting the Final
                                                    Table VIII–3 reflects the estimates of                                    annual total cost of generation over a                                    Emissions Limits, and Estimated
                                                 the changes in the cost of supplying                                         multi-decadal time period. As such the                                    Emissions Units, Emissions Reductions,
                                                 electricity for the regulatory control                                       model may undertake a compliance                                          and Costs, see Chapter 4, sections 4.4
                                                 alternatives for EGUs and estimates of                                       pathway that pushes higher costs later                                    and 4.5.4 of the RIA.
                                                                                   TABLE VIII–3—TOTAL ESTIMATED COMPLIANCE COSTS (MILLION 2016$), 2023–2042
                                                                                                                                                                                                                         Less-stringent                 More-stringent
                                                                                                                                                                                               Final rule                 alternative                    alternative

                                                 2023:
                                                     EGUs ..........................................................................................................................                            57                             56                             49
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................

                                                     Total ............................................................................................................................                         57                             56                             49
                                                 2024:
                                                     EGUs ..........................................................................................................................                            (5)                          (35)                           840
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................

                                                     Total ............................................................................................................................                        (5)                          (35)                            840
                                                 2025:
                                                     EGUs ..........................................................................................................................                            (5)                          (35)                           840
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................
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                                                     Total ............................................................................................................................                        (5)                          (35)                            840
                                                 2026:

                                                    421 We are not aware of existing non-EGU                                  Nevada that meets the applicability criteria in the                       resulted in annualized 2023–42 costs under the
                                                 emissions units in Nevada that meet the                                      final rule will be subject to the final rule’s                            final rule increasing from $448.6 million to $449.5
                                                 applicability criteria for non-EGUs in the final rule.                       requirements. See section III.B.1.d.                                      million (less than 1%) and did not change the
                                                 If any such units in fact exist, they would be subject                          422 As a sensitivity, the EPA re-calculated costs                      conclusions of the RIA. See Section 4.5.2 of the RIA
                                                 to the requirements of the rule just as in any other
                                                                                                                              assuming annual costs cannot be negative. This                            for more information.
                                                 state. In addition, any new emissions unit in



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                                                                      TABLE VIII–3—TOTAL ESTIMATED COMPLIANCE COSTS (MILLION 2016$), 2023–2042—Continued
                                                                                                                                                                                                           Less-stringent    More-stringent
                                                                                                                                                                                          Final rule        alternative       alternative

                                                       EGUs ..........................................................................................................................              (5)               (35)               840
                                                       Non-EGUs ..................................................................................................................                 570                140              1,300

                                                     Total ............................................................................................................................            570                 110             2,100
                                                 2027:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97             2,000
                                                 2028:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97             2,000
                                                 2029:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97             2,000
                                                 2030:
                                                     EGUs ..........................................................................................................................               710                 770               840
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,300                 920             2,100
                                                 2031:
                                                     EGUs ..........................................................................................................................               710                 770               840
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,300                 920             2,100
                                                 2032:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2033:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2034:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2035:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2036:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2037:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2038:
                                                     EGUs ..........................................................................................................................               820                 830               600
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300
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                                                     Total ............................................................................................................................          1,400                 970             1,900
                                                 2039:
                                                     EGUs ..........................................................................................................................               820                 830               600
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 970             1,900
                                                 2040:
                                                     EGUs ..........................................................................................................................               820                 830              600



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                                                                          TABLE VIII–3—TOTAL ESTIMATED COMPLIANCE COSTS (MILLION 2016$), 2023–2042—Continued
                                                                                                                                                                                                                  Less-stringent       More-stringent
                                                                                                                                                                                               Final rule          alternative          alternative

                                                        Non-EGUs ..................................................................................................................                        570                140                 1,300

                                                     Total ............................................................................................................................                  1,400                970                 1,900
                                                 2041:
                                                     EGUs ..........................................................................................................................                       820                830                   600
                                                     Non-EGUs ..................................................................................................................                           570                140                 1,300

                                                     Total ............................................................................................................................                  1,400                970                 1,900
                                                 2042:
                                                     EGUs ..........................................................................................................................                       820                830                   600
                                                     Non-EGUs ..................................................................................................................                           570                140                 1,300

                                                        Total ............................................................................................................................               1,400                970                 1,900



                                                   Tables VIII–4 and VIII–5 report the                                        the 95 percent confidence interval. In                                    reflecting alternative ozone and PM2.5
                                                 estimated economic value of avoided                                          each of these tables, for each discount                                   mortality risk estimates. For additional
                                                 premature deaths and illness in each                                         rate and regulatory control alternative,                                  information on these benefits, see
                                                 year relative to the baseline along with                                     two benefits estimates are presented                                      Chapter 5 of the RIA.
                                                    TABLE VIII–4—ESTIMATED DISCOUNTED ECONOMIC VALUE OF AVOIDED OZONE-RELATED PREMATURE MORTALITY AND
                                                                ILLNESS FOR THE FINAL RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES IN 2023
                                                                                                                         [95 Percent confidence interval; millions of 2016$] a b

                                                                                                                                                                                       Less stringent                          More stringent
                                                     Disc rate                     Pollutant                                     Final rule                                             alternative                             alternative

                                                 3% ...................    Ozone Benefits ...........       $100 [$27 to $220] c and $820 [$91 to                     $100 [$27 to $220] c and $810 [$91 to        $110 [$28 to $230] c and $840 [$94 to
                                                                                                              $2,100] d.                                                $2,100] d.                                   $2,200] d.
                                                 7% ...................    Ozone Benefits ...........       $93 [$17 to 210] c and $730 [$75 to                       $93 [$17 to $210] c and $730 [$75 to         $96 [$18 to $210] c and $750 [$77 to
                                                                                                              $1,900] d.                                                $1,900] d.                                   $2,000] d.
                                                    a Values rounded to two significant figures. The two benefits estimates are separated by the word ‘‘and’’ to signify that they are two separate estimates. The esti-
                                                 mates do not represent lower- and upper-bound estimates and should not be summed.
                                                    b We estimated ozone benefits for changes in NO for the ozone season. This table does not include benefits from reductions for non-EGUs because reductions
                                                                                                       X
                                                 from these sources are not expected prior to 2026 when the final standards would apply to these sources.
                                                    c Using the pooled short-term ozone exposure mortality risk estimate.
                                                    d Using the long-term ozone exposure mortality risk estimate.



                                                         TABLE VIII–5—ESTIMATED DISCOUNTED ECONOMIC VALUE OF AVOIDED OZONE AND PM2.5-RELATED PREMATURE
                                                           MORTALITY AND ILLNESS FOR THE FINAL RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES IN 2026
                                                                                                                              [95% Confidence interval; millions of 2016$] a b

                                                                                                                                                                                       Less stringent                          More stringent
                                                     Disc rate                     Pollutant                                     Final rule                                             alternative                             alternative

                                                 3% ...................    Ozone Benefits ...........       $1,100 [$280 to $2,400] c and $9,400                      $420 [$110 to $900] c and $3,400             $1,900 [470 to $4,000] c and $15,000
                                                                                                              [$1,000 to $25,000] d.                                    [$380 to $8,900] d.                          [$1,700 to $40,000] d.
                                                                           PM Benefits ................     $2,000 [$220 to $5,300] and $4,400                        $530 [$57 to $1,400] and $1,100 [$110        $6,400 [$690 to $17,000] and $14,000
                                                                                                              [$430 to $12,000].                                        to $3,100].                                  [$1,300 to $37,000]
                                                                           Ozone plus PM Bene-              $3,200 [$500 to $7,700] c and $14,000                     $950 [$160 to $2,300] c and $4,600           $8,300 [$1,200 to $21,000] c and
                                                                            fits.                             [$1,500 to $36,000] d.                                    [$490 to $12,000] d.                         $29,000 [$3,000 to $77,000] d.
                                                 7% ...................    Ozone Benefits ...........       $1,000 [$180 to $2,300] c and $8,400                      $380 [$68 to $850] c and $3,100 [$310        $1,700 [$300 to $3,800] c and $14,000
                                                                                                              [$850 to $22,000] d.                                      to $8,100] d.                                [$1,400 to $36,000] d.
                                                                           PM Benefits ................     $1,800 [$190 to $4,700] and $3,900                        470 [$50 to $1,200] and $1,000 [$100         $5,800 [$600 to $15,000] and $12,000
                                                                                                              [$380 to $11,000].                                        to $2,800].                                  [$1,200 to $33,000].
                                                                           Ozone plus PM Bene-              $2,800 [$370 to $7,000] c and $12,000                     $850 [$120 to $2,100] c and $4,100           $7,500 [$910 to $19,000] c and
                                                                            fits.                             [$1,200 to $33,000] d.                                    [$410 to $11,000] d.                         $26,000 [$2,600 to $69,000] d.
                                                  a Values rounded to two significant figures. The two benefits estimates are separated by the word ‘‘and’’ to signify that they are two separate estimates. The esti-
                                                 mates do not represent lower- and upper-bound estimates and should not be summed.
                                                  b We estimated changes in NO for the ozone season and annual changes in PM
                                                                                 X                                                 2.5 and PM2.5 precursors in 2026.
                                                  c Sum of ozone mortality estimated using the pooled short-term ozone exposure risk estimate and the Di et al. (2017) long-term PM
                                                                                                                                                                                         2.5 exposure mortality risk esti-
                                                 mate.
                                                  d Sum of the Turner et al. (2016) long-term ozone exposure risk estimate and the Di et al. (2017) long-term PM     exposure  mortality risk estimate.
                                                                                                                                                                 2.5
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                                                   In Tables VIII–6, VIII–7, and VIII–8,                                      benefits and health benefits associated                                   monetized climate benefits are
                                                 the EPA presents a summary of the                                            with reductions in concentrations of air                                  presented for purposes of providing a
                                                 monetized health and climate benefits,                                       pollutants other than ozone and PM2.5                                     complete economic impact analysis
                                                 costs, and net benefits of the rule and                                      that are not quantified. Discussion of the                                under E.O. 12866 and other relevant
                                                 the more and less stringent alternatives                                     non-monetized health, welfare, and                                        Executive orders. The estimates of GHG
                                                 for 2023, 2026, and 2030, respectively.                                      water quality benefits is found in                                        emissions changes and the monetized
                                                 There are important water quality                                            Chapter 5 of the RIA. In this action,                                     benefits associated with those changes


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                                                 is not part of the record basis for this                                 110(a)(2)(D)(i)(I), for the 2015 ozone
                                                 action, which is taken to implement the                                  NAAQS.
                                                 good neighbor provision, CAA section

                                                  TABLE VIII–6—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE FINAL RULE AND LESS AND MORE STRINGENT
                                                                                    ALTERNATIVES FOR 2023 FOR THE U.S.
                                                                                                                      [3% Discount rate for benefits, millions of 2016$] a b

                                                                                                                                                                               Less stringent                                    More stringent
                                                                                                                           Final rule                                           alternative                                       alternative

                                                 Health Benefits c ............................         $100 and $820 .............................             $100 and $810 .............................             $110 and $840.
                                                 Climate Benefits .............................         $5 ..................................................   $4 ..................................................   $5.
                                                 Total Benefits .................................       $100 and $820 .............................             $100 and $820 .............................             $110 and $840.
                                                 Costs d ............................................   $57 ................................................    $56 ................................................    $49.
                                                 Net Benefits ...................................       $48 and $760 ...............................            $48 and $760 ...............................            $66 and $800.
                                                    a We focus results to provide a snapshot of costs and benefits in 2023, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2023 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM’s objective function for cost-minimization. For further information on the dis-
                                                 count rate use, please see Chapter 4, Table 4–8 in the RIA.

                                                  TABLE VIII–7—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE FINAL RULE AND LESS AND MORE STRINGENT
                                                                                    ALTERNATIVES FOR 2026 FOR THE U.S.
                                                                                                                      [3% Discount rate for benefits, millions of 2016$] a b

                                                                                                                                                                               Less stringent                                    More stringent
                                                                                                                           Final rule                                           alternative                                       alternative

                                                 Health Benefits c ............................         $3,200 and $14,000 .....................                $950 and $4,600 ..........................              $8,300 and $29,000.
                                                 Climate Benefits .............................         $1,100 ...........................................      $420 ..............................................     $2,100.
                                                 Total Benefits .................................       $4,300 and $15,000 .....................                $1,400 and $5,000 .......................               $10,000 and $31,000.
                                                 Costs d ............................................   $570 ..............................................     $110 ..............................................     $2,100.
                                                 Net Benefits ...................................       $3,700 and $14,000 .....................                $1,300 and $4,900 .......................               $8,300 and $29,000.
                                                    a We focus results to provide a snapshot of costs and benefits in 2026, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2026 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM’s objective function for cost-minimization. For further information on the dis-
                                                 count rate use, please see Chapter 4, Table 4–8 in the RIA.

                                                  TABLE VIII–8—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE FINAL RULE AND LESS AND MORE STRINGENT
                                                                                    ALTERNATIVES FOR 2030 FOR THE U.S.
                                                                                                                      [3% Discount rate for benefits, millions of 2016$] a b

                                                                                                                                                                               Less stringent                                    More stringent
                                                                                                                           Final rule                                           alternative                                       alternative

                                                 Health Benefits c ............................         $3,400 and $15,000 .....................                $1,000 and $4,900 .......................               $9,000 and $31,000.
                                                 Climate Benefits .............................         $1,500 ...........................................      $1,300 ...........................................      $500.
                                                 Total Benefits .................................       $4,900 and $16,000 .....................                $2,300 and $6,200 .......................               $9,500 and $31,000.
                                                 Costs d ............................................   $1,300 ...........................................      $920 ..............................................     $2,100.
                                                 Net Benefits ...................................       $3,600 and $15,000 .....................                $1,400 and $5,300 .......................               $7,400 and $29,000.
                                                    a We focus results to provide a snapshot of costs and benefits in 2030, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2030 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM’s objective function for cost-minimization. For further information on the dis-
                                                 count rate use, please see Chapter 4, Table 4–8 in the RIA.
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                                                   In addition, Table VIII–9 presents                                     the net benefits consistent with the                                       recommended by OMB’s Circular A–4
                                                 estimates of the present value (PV) of                                   present value, over the twenty-year                                        and are presented in 2016 dollars
                                                 the monetized benefits and costs and                                     period of 2023 to 2042. The estimates of                                   discounted to 2023.
                                                 the equivalent annualized value (EAV),                                   the PV and EAV are calculated using
                                                 an estimate of the annualized value of                                   discount rates of 3 and 7 percent as


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                                                  TABLE VIII–9—MONETIZED ESTIMATED HEALTH AND CLIMATE BENEFITS, COMPLIANCE COSTS, AND NET BENEFITS OF THE
                                                                 FINAL RULE AND LESS AND MORE STRINGENT ALTERNATIVES, 2023 THROUGH 2042
                                                                                                                                    [Millions 2016$, discounted to 2023]

                                                                                                                                                                             3 Percent discount rate          7 Percent discount rate

                                                                                                                                                                              PV              EAV               PV              EAV

                                                                                                                                                   Health benefits

                                                 Final Rule .........................................................................................................         $200,000          $13,000        $130,000           $12,000
                                                 Less Stringent Alternative ................................................................................                    67,000            4,500          40,000             3,800
                                                 More Stringent Alternative ...............................................................................                    410,000           28,000         240,000            23,000

                                                                                                                                                 Climate Benefits a

                                                 Final Rule .........................................................................................................           15,000                 970        15,000                970
                                                 Less Stringent Alternative ................................................................................                    11,000                 770        11,000                770
                                                 More Stringent Alternative ...............................................................................                     14,000                 920        14,000                920

                                                                                                                                                Compliance Costs

                                                 Final Rule .........................................................................................................           14,000                 910         9,400              770
                                                 Less Stringent Alternative ................................................................................                     8,700                 590         5,300              500
                                                 More Stringent Alternative ...............................................................................                     25,000               1,700        17,000            1,600

                                                                                                                                                     Net Benefits

                                                 Final Rule .........................................................................................................          200,000              13,000      140,000            12,000
                                                 Less Stringent Alternative ................................................................................                    70,000               4,700       42,000             4,000
                                                 More Stringent Alternative ...............................................................................                    400,000              27,000      240,000            22,000
                                                   a Climate benefits are calculated using four different estimates of the social cost of carbon (SC–CO ) (model average at 2.5 percent, 3 percent,
                                                                                                                                                       2
                                                 and 5 percent discount rates; 95th percentile at 3 percent discount rate). For presentational purposes in this table, the climate benefits associ-
                                                 ated with the average SC–CO2 at a 3-percent discount rate are used in the columns displaying results of other costs and benefits that are dis-
                                                 counted at either a 3-percent or 7-percent discount rate.


                                                    As shown in Table VIII–9, the PV of                                     control emissions reductions in this                            ozone design values at identified
                                                 the monetized health benefits of this                                      final rule. These results do not replace                        receptors are predicted to occur in the
                                                 rule, discounted at a 3-percent discount                                   the AQAT-generated estimates used for                           Houston-Galveston-Brazoria, Texas area.
                                                 rate, is estimated to be about $200                                        our Step 3 determinations, and the EPA                          In this area the reductions from the final
                                                 billion ($200,000 million), with an EAV                                    needed to continue to use AQAT for                              rule case range from 0.7 to 0.9 ppb. At
                                                 of about $13 billion ($13,000 million).                                    Step 3 determinations in order to                               most of the receptors in both the Dallas/
                                                 At a 7-percent discount rate, the PV of                                    characterize various potential control                          Ft Worth and the New York/Coastal
                                                 the monetized health benefits is                                           scenarios to inform these regulatory                            Connecticut areas the reductions in
                                                 estimated to be $130 billion ($130,000                                     determinations. Nonetheless, though                             ozone range from 0.4 to 0.5 ppb. At
                                                 million), with an EAV of about $12                                         they differ slightly from the AQAT-                             receptors in Indiana, Michigan, and
                                                 billion ($12,000 million). The PV of the                                   generated air quality estimates of the                          Wisconsin near the shoreline of Lake
                                                 monetized climate benefits of this rule,                                   final rule control scenario conducted for                       Michigan, ozone is projected to decline
                                                 discounted at a 3-percent discount rate,                                   purposes of our Step 3 analysis (as                             by 0.3 to 0.4 ppb, but by as much as 0.5
                                                 is estimated to be about $15 billion                                       presented in section V.D of this                                ppb at the receptor in Muskegon, MI.
                                                 ($15,000 million), with an EAV of about                                    document), these results using full-scale                       Reductions of 0.1 ppb are predicted in
                                                 $970 million. The PV of the monetized                                      photochemical grid modeling                                     the urban and near-urban receptors in
                                                 compliance costs, discounted at a 3-                                       complement those estimates and                                  Chicago. In the West, ozone reductions
                                                 percent rate, is estimated to be about                                     confirm in all cases the regulatory                             just under 0.2 ppb are predicted at
                                                 $14 billion ($14,000 million), with an                                     conclusions reached applying AQAT.423                           receptors in Denver with slightly greater
                                                 EAV of about $910 million. At a 7-                                         Appendix 3A of the RIA presents the                             reductions, just above 0.2 ppb, at
                                                 percent discount rate, the PV of the                                       full results of the projected impacts of                        receptors in Salt Lake City. At receptors
                                                 compliance costs is estimated to be                                        the final rule control scenario on ozone                        in Phoenix, California, El Paso/Las
                                                 about $9.4 billion ($9,400 million), with                                  levels using CAMx. To briefly                                   Cruces, and southeast New Mexico the
                                                                                                                            summarize, the largest reductions in                            reductions in ozone are predicted to be
                                                 an EAV of about $770 million.
                                                                                                                                                                                            less than 0.1 ppb.
                                                    In addition to the analysis of costs                                       423 Note that the EPA’s ‘‘overcontrol’’ analysis

                                                 and benefits as described above, for the                                   relies primarily on a ‘‘Step 3’’ control scenario               IX. Summary of Changes to the
                                                 final rule, the EPA was able to conduct                                    rather than the ‘‘full geography’’ scenario. The                Regulatory Text for the Federal
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                                                 a full-scale photochemical grid                                            CAMx modeling described here captures the effects               Implementation Plans and Trading
                                                                                                                            of the rule as a whole and so is more akin to the               Programs for EGUs
                                                 modeling run of the effects of the ‘‘final                                 ‘‘full geography’’ scenario, which the EPA does not
                                                 rule’’ emissions control scenario in                                       believe is the appropriate method for conducting                  This section describes the
                                                 2026. This modeling can be used to                                         overcontrol analysis. Nonetheless, as explained in              amendments to the regulatory text that
                                                                                                                            the Ozone Transport Policy Analysis Final Rule
                                                 estimate the impacts on projected 2026                                     TSD, the results under either scenario establish no
                                                                                                                                                                                            implement the findings and remedy
                                                 ozone design values that are expected                                      overcontrol, and the CAMx results presented here                discussed elsewhere in this rule with
                                                 from the combined EGU and non-EGU                                          do not call those conclusions into question.                    respect to EGUs. The primary CFR


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                                                 amendments are revisions to the FIP                     52.39(a) with respect to the CSAPR FIP                      § 52.38(b)(10) to replace allowance
                                                 provisions addressing states’ good                      requirements relating to annual NOX                         allocations for a single control period is
                                                 neighbor obligations related to ozone in                emissions, SO2 emissions, and                               being amended to be available for the
                                                 40 CFR part 52 as well as the revisions                 transported fine particulate pollution.                     2024 control period, with attendant
                                                 to the regulations for the CSAPR NOX                       The states whose EGU sources are                         revisions to the years and dates shown
                                                 Ozone Season Group 3 Trading Program                    required to participate in the CSAPR                        in § 52.38(b)(10) (multiple paragraphs)
                                                 in 40 CFR part 97, subpart GGGGG. In                    NOX Ozone Season Group 1, Group 2,                          and (b)(17)(i) as well as the Group 3
                                                 conjunction with the amendments to the                  and Group 3 trading programs under the                      trading program regulations, as
                                                 Group 3 trading program, the                            FIPs established in CSAPR, the CSAPR                        discussed in section IX.B. The options
                                                 monitoring, recordkeeping, and                          Update, and the Revised CSAPR                               under § 52.38(b)(11) and (12) to adopt
                                                 reporting regulations in 40 CFR part 75                 Update, as well as the control periods                      abbreviated or full SIP revisions are
                                                 are being amended to reflect the                        for which those requirements apply, are                     being amended to be available starting
                                                 addition of certain new reporting                       identified in § 52.38(b)(2). The                            with the 2025 control period, with
                                                 requirements associated with the                        amendments to this paragraph expand                         attendant revisions to § 52.38(b)(11)(iii),
                                                 amended trading program and the                         the applicability of the Group 3 trading                    (b)(12)(iii), and (b)(17)(ii).426 The
                                                 administrative appeal provisions in 40                  program to sources in the ten additional                    removal of the previous options for
                                                 CFR part 78 are being amended to                        states that the EPA is adding to the                        states to expand applicability of the
                                                 identify certain additional types of                    Group 3 trading program starting with                       trading programs for ozone season NOX
                                                 appealable decisions of the EPA                         the 2023 control period and end the                         emissions to certain non-EGUs and
                                                 Administrator under the amended                         applicability of the Group 2 trading                        smaller EGUs, discussed in sections
                                                 trading program. The provisions to                      program (with the exception of certain                      VI.D.2 and VI.D.3, is accomplished by
                                                 address the transition of the EGUs in                   provisions) for sources in seven of the                     the removal or revision of multiple
                                                 certain states from the Group 2 trading                 ten states after the 2022 control period,                   paragraphs of § 52.38(b), including most
                                                 program to the Group 3 trading program                  as discussed in section VI.B.2.424 The                      notably the removal of § 52.38(b)(4)(i),
                                                 are implemented in part through                         paragraphs within § 52.38(b)(2) are                         (b)(5)(i), (b)(8)(i)–(ii), (b)(9)(i)–(ii),
                                                 revisions to the regulations noted                      being renumbered to clarify the                             (b)(11)(i)–(iii), and (b)(12)(i)–(iii).
                                                 previously and in part through revisions                organization of the provisions and to                          The changes with respect to set-asides
                                                 to the regulations for the Group 2                      facilitate cross-references from other                      and the treatment of units in Indian
                                                 trading program in 40 CFR part 97,                      regulatory provisions. Regarding the two                    country discussed in section VI.B.9,
                                                 subpart EEEEE.                                          states currently participating in the                       although implemented largely through
                                                    In addition to these primary                         Group 2 trading program through                             amendments to the Group 3 trading
                                                 amendments, certain revisions are being                 approved SIP revisions that replaced the                    program regulations, are also
                                                 made to the regulations for the other                   previous FIPs issued under the CSAPR                        implemented in part through
                                                 CSAPR trading programs in 40 CFR part                   Update (Alabama and Missouri), a                            amendments to § 52.38(b)(11) and (12).
                                                 97, subparts AAAAA through EEEEE,                       provision indicating that the EPA will                      First, the text in § 52.38(b)(11)(iii)(A)
                                                 for conformity with the amended                         no longer administer the state trading                      and (b)(12)(iii)(A) identifying the
                                                 provisions of the Group 3 trading                       programs adopted under those SIP                            portion of each state trading budget for
                                                 program, as discussed in section                        revisions after the 2022 control period is                  which a state may establish state-
                                                 VI.B.13. Documents have been included                   being added at § 52.38(b)(16)(ii)(B).                       determined allowance allocations is
                                                 in the docket for this rule showing all                    In the Revised CSAPR Update, the                         being revised to exclude any allowances
                                                 of the revisions in redline-strikeout                   EPA established several options for                         in a new unit set-aside or Indian
                                                 format.                                                 states to revise their SIPs to modify or                    country existing unit set-aside. Second,
                                                                                                         replace the FIPs applicable to their                        the text in § 52.38(b)(12)(vi) identifying
                                                 A. Amendments to FIP Provisions in 40
                                                                                                         sources while continuing to use the                         provisions that states may not adopt
                                                 CFR Part 52
                                                                                                         Group 3 trading program as the                              into their SIPs (because the provisions
                                                   The CSAPR, CSAPR Update, and                          mechanism for meeting the states’ good                      concern regulation of sources in Indian
                                                 Revised CSAPR Update FIP                                neighbor obligations. As in effect before                   country not subject to a state’s CAA
                                                 requirements related to ozone season                                                                                implementation planning authority) are
                                                                                                         this rule, § 52.38(b)(10), (11), and (12)
                                                 NOX emissions are set forth in 40 CFR                                                                               being revised to include the provisions
                                                                                                         established options to replace allowance
                                                 52.38(b) as well as other sections of part                                                                          of the amended Group 3 trading
                                                                                                         allocations for the 2022 control period,
                                                 52 specific to each covered state. The                                                                              program addressing allocation and
                                                                                                         to adopt an abbreviated SIP revision for
                                                 existing text of § 52.38(b)(1) identifies                                                                           recordation of allowances from all types
                                                                                                         control periods in 2023 or later years,
                                                 the trading program regulations in 40                                                                               of set-asides. Finally, the text in
                                                                                                         and to adopt a full SIP revision for
                                                 CFR part 97, subparts BBBBB, EEEEE,                                                                                 § 52.38(b)(12)(vii) authorizing the EPA
                                                                                                         control periods in 2023 or later years,
                                                 and GGGGG, as constituting the relevant                                                                             to modify the previous approval of a SIP
                                                                                                         respectively.425 As discussed in section
                                                 FIP provisions relating to seasonal NOX                                                                             revision with regard to the assurance
                                                                                                         VI.D, the EPA is retaining these SIP
                                                 emissions and transported ozone                                                                                     provisions ‘‘if and when a covered unit
                                                                                                         revision options and is making them
                                                 pollution. Because in this rulemaking                                                                               is located in Indian country’’ are being
                                                                                                         available for all states covered by the
                                                 the EPA is establishing new or amended                                                                              revised to account for the fact that at
                                                                                                         Group 3 trading program after the
                                                 FIP requirements not only for the types                                                                             least one covered unit is already located
                                                                                                         geographic expansion. The option under
                                                 of EGUs covered by the trading                                                                                      in Indian country not subject to a state’s
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                                                 programs but also for certain types of                     424 Like the previous text of § 52.38(b)(2), the final   CAA planning authority.
                                                 industrial sources, an amendment to                     amended text expressly encompasses sources in                  The transitional provisions discussed
                                                 § 52.38(b)(1) clarifies that the trading                Indian country within the respective states’ borders.       in sections VI.B.12.b and VI.B.12.c to
                                                 programs constitute the FIP provisions                     425 Revisions to the deadlines for states with

                                                 only for the sources meeting the                        approved SIP revisions to submit their state-                 426 No state currently in the Group 3 trading
                                                                                                         determined allowance allocations to the EPA for             program has submitted a SIP revision to make use
                                                 applicability requirements of the trading               subsequent recordation were finalized in an earlier         of these options in control periods before the
                                                 programs. A parallel clarification is                   final rule in this docket. See 87 FR 52473 (August          control periods in which the options can be used
                                                 being added to §§ 52.38(a)(1) and                       26, 2022).                                                  under the amended provisions.



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                                                 convert certain 2017–2022 Group 2                       repeating the substance of                                limits and assurance levels discussed in
                                                 allowances to Group 3 allowances and                    § 52.38(b)(14)(iii), which identifies                     section VI.B.5 is implemented at
                                                 to recall certain 2023–2024 Group 2                     certain provisions that continue to                       § 97.1010(e). The Group 3 allowance
                                                 allowances, although promulgated as                     apply to sources and allowances                           bank recalibration process discussed in
                                                 amendments to the Group 2 trading                       notwithstanding discontinuation of a                      sections VI.B.1.b.ii and VI.B.6 is
                                                 program regulations, will necessarily be                trading program with respect to a                         implemented at § 97.1026(d). The
                                                 implemented after the end of the 2022                   particular state.428 In addition, for the                 backstop daily NOX emissions rate
                                                 control period. Amendments clarifying                   five states that during their time in the                 component of the primary emissions
                                                 that these provisions continue to apply                 Group 2 trading program have not                          limitation discussed in sections
                                                 to the relevant sources and holders of                  exercised the option to adopt full SIP                    VI.B.1.c.i and VI.B.7 is implemented at
                                                 allowances notwithstanding the                          revisions to replace the FIPs issued                      §§ 97.1006(c)(1)(i) and 97.1024(b)(1) and
                                                 transition of certain states out of the                 under the CSAPR Update (all but                           (3), accompanied by the addition of a
                                                 Group 2 trading program after the 2022                  Alabama and Missouri), obsolete                           definition of ‘‘backstop daily NOX
                                                 control period are being added at                       provisions concerning the unexercised                     emissions rate’’ and modification of the
                                                 § 52.38(b)(14)(iii). Cross-references                   SIP revision option are being removed.                    definition of ‘‘CSAPR NOX Ozone
                                                 clarifying that the EPA’s allocations of                   No amendments with respect to FIP                      Season Group 3 allowance’’ in
                                                 the converted Group 3 allowances are                    requirements for EGUs are being made                      §§ 97.1002 and 97.1006(c)(6). The
                                                 not subject to modification through SIP                 to the state-specific CFR subparts for the                secondary emissions limitation for
                                                 revisions are also being added to the                   twelve states whose sources currently                     sources found responsible for
                                                 existing provisions at                                  participate in the Group 3 trading                        exceedances of the assurance levels
                                                 § 52.38(b)(11)(iii)(D) and (b)(12)(iii)(D).             program429 except as needed to update                     discussed in sections VI.B.1.c.ii and
                                                    The general FIP provisions applicable                cross-references or to implement the                      VI.B.8 is implemented at
                                                 to all states covered by this rule as set               changes related to the treatment of                       §§ 97.1006(c)(1)(iii) and (iv) and
                                                 forth in § 52.38(b)(2) are being                        Indian country, as discussed in section                   (c)(3)(ii) and 97.1025(c), accompanied
                                                 replicated in the state-specific subparts               IX.D.                                                     by the addition of a definition of
                                                 of 40 CFR part 52 for each of the ten                                                                             ‘‘CSAPR NOX Ozone Season Group 3
                                                                                                         B. Amendments to Group 3 Trading
                                                 states that the EPA is adding to the                                                                              secondary emissions limitation’’ in
                                                                                                         Program and Related Regulations
                                                 Group 3 trading program.427 In each                                                                               § 97.1002.
                                                 such state-specific CFR subpart,                           To implement the geographic                               The changes relating to set-asides, the
                                                 provisions are being added indicating                   expansion of the Group 3 trading                          treatment of Indian country, and unit-
                                                 that sources in the state are required to               program and the revised trading budgets
                                                                                                                                                                   level allowance allocations discussed in
                                                 participate in the CSAPR NOX Ozone                      that are being established under the new
                                                                                                                                                                   section VI.B.9 of this document are
                                                 Season Group 3 Trading Program with                     and amended FIPs in this rulemaking,
                                                                                                                                                                   implemented through revisions to
                                                 respect to emissions starting in 2023.                  several sections of the Group 3 trading
                                                                                                                                                                   multiple paragraphs of §§ 97.1010,
                                                 Provisions are also being added                         program regulations are being amended.
                                                                                                                                                                   97.1011, and 97.1012, as well as limited
                                                 repeating the substance of                              Revisions identifying the applicable
                                                                                                                                                                   revisions to §§ 97.1002 (definition of
                                                 § 52.38(b)(13)(i), which generally                      control periods, deadlines for
                                                                                                                                                                   ‘‘allocate or allocation’’) and
                                                 provides that the Administrator’s full                  certification of monitoring systems, and
                                                                                                                                                                   97.1006(b)(2). In § 97.1010, paragraphs
                                                 and unconditional approval of a full SIP                deadlines for commencement of
                                                                                                                                                                   (b), (c), and (d) address the amounts for
                                                 revision correcting the same SIP                        quarterly reporting for sources not
                                                                                                         previously covered by the Group 3                         each control period of the Indian
                                                 deficiency that is the basis for a FIP                                                                            country existing unit set-asides, new
                                                 promulgated in this rulemaking would                    trading program are being made at
                                                                                                         §§ 97.1006(c)(3)(i), 97.1030(b)(1), and                   unit set-asides, and Indian country new
                                                 cause the FIP to no longer apply to                                                                               unit set-asides, respectively.430
                                                 sources subject to the state’s CAA                      97.1034(d)(2)(i), respectively. Revisions
                                                                                                         identifying the new or revised budgets                    Paragraphs (b) and (d) reflect the
                                                 implementation planning authority, and                                                                            establishment of Indian country existing
                                                 § 52.38(b)(14)(ii), which generally                     and new unit set-asides for the control
                                                                                                         periods after 2022 for all covered states                 unit set-asides starting with the 2023
                                                 provides the EPA with authority to                                                                                control period and the discontinuation
                                                 complete recordation of EPA-                            are being made at § 97.1010(a)(1) and
                                                                                                         (c)(2), respectively.                                     of Indian country new unit set-asides
                                                 determined allowance allocations for
                                                                                                            Each of the enhancements to the                        after the 2022 control period.
                                                 any control period for which EPA has                                                                                 A newly added definition at § 97.1002
                                                 already started such recordation                        Group 3 trading program discussed in
                                                                                                         section VI.B is also implemented                          for ‘‘coal-derived fuel’’ (based on the
                                                 notwithstanding the approval of a state’s                                                                         existing definition in 40 CFR 72.2) helps
                                                 SIP revision establishing state-                        primarily through revisions to the
                                                                                                         trading program regulations. The                          in implementation of both the backstop
                                                 determined allowance allocations.                                                                                 daily NOX emissions rate provisions and
                                                    For each of the seven states that the                dynamic budget-setting process
                                                                                                         discussed in sections VI.B.1.b.i and                      the unit-level allocation provisions by
                                                 EPA is removing from the Group 2
                                                                                                         VI.B.4 is implemented at § 97.1010(a)(2)                  clarifying that the provisions apply
                                                 trading program, the provisions of the
                                                 state-specific CFR subparts indicating                  through (4), and the associated revised                   without regard to how any coal
                                                 that sources in the state are required to               process for determining variability                       combusted by a unit might have been
                                                 participate in that trading program are                                                                           processed before combustion. Another
                                                 being revised to end that requirement                     428 See §§ 52.54(b) (Alabama), 52.184(a)                newly added definition at § 97.1002 for
                                                                                                         (Arkansas), 52.1824(a) (Mississippi), 52.1326(b)          ‘‘historical control period’’ helps in
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                                                 with respect to emissions after 2022,                   (Missouri), 52.1930(a) (Oklahoma), 52.2283(d)
                                                 and a further provision is being added                                                                            implementation of the dynamic budget-
                                                                                                         (Texas), and 52.2587(e) (Wisconsin).
                                                                                                           429 See §§ 52.731(b) (Illinois), 52.789(b) (Indiana),
                                                                                                                                                                   setting provisions, the secondary
                                                   427 See §§ 52.54(b) (Alabama), 52.184(a)              52.940(b) (Kentucky), 52.984(d) (Louisiana),              emissions limitation provisions, and the
                                                 (Arkansas), 52.1240(d) (Minnesota), 52.1824(a)          52.1084(b) (Maryland), 52.1186(e) (Michigan),
                                                 (Mississippi), 52.1326(b) (Missouri), 52.1492           52.1584(e) (New Jersey), 52.1684(b) (New York),              430 The former § 97.1011(c), which addresses the

                                                 (Nevada), 52.1930(a) (Oklahoma), 52.2283(d)             52.1882(b) (Ohio), 52.2040(b) (Pennsylvania),             relationships of set-asides and variability limits to
                                                 (Texas), 52.2356 (Utah), and 52.2587(e)                 52.2440(b) (Virginia), and 52.2540(b) (West               state trading budgets, is being relocated to
                                                 (Wisconsin).                                            Virginia).                                                § 97.1011(f).



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                                                 unit-level allocation provisions by                        state but instead would be transferred to                 Implementation of the revisions to the
                                                 facilitating references to data reported                   a surrender account.                                   Group 3 trading program is also
                                                 by a unit for periods before the unit’s                       The revisions to § 97.1012 retain the               accomplished in part through
                                                 entry into the Group 3 trading program.                    section’s current focus on allocations to              amendments to regulations in other CFR
                                                    The revisions to § 97.1011 refocus the                  ‘‘new’’ units, generally combining the                 parts. In 40 CFR part 75, which contains
                                                 section exclusively on allocation to                       former provisions at § 97.1012 with the                detailed monitoring, recordkeeping, and
                                                 ‘‘existing’’ units from the portion of                     former provisions at § 97.1011(b) and (c)              reporting requirements applicable to
                                                 each state emissions budget not reserved                   that address new units. The text of                    sources covered by the Group 3 trading
                                                 in a new unit set-aside or Indian                          multiple paragraphs in both § 97.1012(a)               program, the additional recordkeeping
                                                 country new unit set-aside. In                             and (b) is being revised as needed to                  and reporting requirements discussed in
                                                 § 97.1011(a), the provision formerly in                    reflect the change in treatment of Indian              section VI.B.10 of this document are
                                                 § 97.1011(a)(1) requiring allocations to                   country discussed in section VI.B.9.a,                 implemented through the addition of
                                                 existing units to be made in the amounts                   under which the new unit set-asides                    §§ 75.72(f) and 75.73(f)(1)(ix) and (x)
                                                 provided in NODAs issued by the EPA                        will be used to provide allowance                      and revisions to § 75.75, and the
                                                 is being split into two separate                           allocations to new units both in non-                  procedures for calculating daily total
                                                 provisions, with paragraph (a)(1)                          Indian country and Indian country                      heat input and daily total NOX
                                                 applying to existing units in the state                    within the borders of the respective                   emissions and the procedures for
                                                 and areas of Indian country covered by                     states for control periods starting in                 apportioning NOX mass emissions
                                                 the state’s CAA implementation                             2023.432 The timing and notice                         monitored at a common stack among the
                                                 planning authority and paragraph (a)(2)                    provisions in § 97.1012(a)(13) and                     individual units using the common
                                                 applying to existing units in areas of                     (b)(13) are relocated from former                      stack are being added at sections 5.3.3,
                                                 Indian country not covered by the                          § 97.1011(b)(1) and (2). The text of                   8.4(c), and 8.5.3 of appendix F to part
                                                 state’s CAA implementation planning                        § 97.1012(c), addressing incorrect                     75. In 40 CFR part 78, which contains
                                                 authority.431 This split will facilitate the               allocations to new units, is largely                   the administrative appeal procedures
                                                 submission and approval of SIP                             relocated from § 97.1011(c) (which                     applicable to decisions of the EPA
                                                 revisions by states interested in                          addresses incorrect allocations to                     Administrator under the Group 3
                                                 submitting state-determined allowance                      existing units) and reflects a parallel                trading program, § 78.1(b)(19) is being
                                                 allocations for the units over which they                  revision addressing the disposition of                 amended to add calculation of the
                                                 exercise CAA implementation authority,                     recovered allowances, as discussed in                  dynamic budgets to the list of
                                                 while leaving allocations to any units                     section VI.B.9.d.                                      administrative decisions under the
                                                 outside their authority to be addressed                       The amendments to § 97.1021                         trading program regulations that will be
                                                 either by the EPA or by the relevant                       implement two distinct sets of changes                 appealable under those procedures.
                                                 tribe under an approved tribal                             discussed in sections VI.B.9 and VI.D.1.               C. Transitional Provisions
                                                 implementation plan. The process for                       First, revisions to § 97.1021(b) through
                                                                                                                                                                      As discussed in section VI.B.12, the
                                                 determining default allocations to                         (e) replace the previous schedule for
                                                                                                                                                                   EPA is establishing several transitional
                                                 existing units of allowances from state                    recording Group 3 allowances for the
                                                                                                                                                                   provisions for sources entering the
                                                 trading budgets starting with the 2026                     2023 and 2024 control periods
                                                                                                                                                                   Group 3 trading program. The
                                                 control period is set forth in revised                     established in the August 2022
                                                                                                                                                                   provisions discussed in section
                                                 § 97.1011(b), while the former                             Recordation Rule with an updated                       VI.B.12.a of this document, concerning
                                                 provisions of § 97.1011(b), which                          recordation schedule tailored to the                   the prorating of state emissions budgets,
                                                 concern timing and notice procedures                       effective date of this rule. The updated               assurance levels, and unit-level
                                                 for allocations to new units, are being                    schedule also eliminates the unused                    allocations for the 2023 control period,
                                                 relocated to § 97.1012. The provisions                     former option for states to provide state-             are implemented through the Group 3
                                                 addressing incorrectly allocated                           determined allowance allocations for                   trading program regulations.
                                                 allowances at § 97.1011(c) are being                       the 2022 control period and establishes                Specifically, the state emissions budgets
                                                 streamlined by relocating the portions                     a substantively equivalent new option                  for the 2023 control period will be
                                                 applicable to new units to § 97.1012(c).                   for states to provide state-determined                 prorated according to procedures set out
                                                 In addition, as discussed in section                       allowance allocations for the 2024                     at § 97.1010(a)(1)(ii). Variability limits
                                                 VI.B.9.d, § 97.1011(c)(5) is being revised                 control period. Second, revisions to                   for the 2023 control period, and the
                                                 to provide that, starting with the 2024                    § 97.1021(g) through (j) begin                         resulting assurance levels, will be
                                                 control period, any incorrectly allocated                  recordation for Indian country existing                computed under § 97.1010(e) from the
                                                 allowances recovered after May 1 of the                    unit set-asides starting with allocations              prorated state emissions budgets. Unit-
                                                 year following the control period will                     for the 2023 control period, modify the                level allocations to existing units for the
                                                 not be reallocated to other units in the                   text to eliminate references to state-                 2023 control period will be computed
                                                                                                            determined allocations of allowances                   from the prorated state emissions
                                                    431 An additional provision currently in                from new unit set-asides, and end                      budgets according to procedures
                                                 § 97.1011(a)(1), which clarifies that an allocation or     recordation for Indian country new unit                substantively the same as the
                                                 lack of allocation to a unit in a NODA does not            set-asides after allocations for the 2022
                                                 constitute a determination by the EPA that the unit                                                               procedures codified in § 97.1011(b) for
                                                 is or is not a CSAPR NOX Ozone Season Group 3
                                                                                                            control period.                                        calculating default allocations to
                                                 unit, is being relocated to § 97.1011(a)(3). The                                                                  existing units for later control periods,
                                                 former § 97.1011(a)(2), which provides for certain            432 Revisions are also being made to the text of
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                                                                                                                                                                   as discussed in section VI.B.9.b, and
                                                 existing units that cease operations to receive            § 97.1012(a) and (b) for the control periods in 2021
                                                 allocations for their first five control periods of non-   and 2022 consistent with the revisions to the          will be announced in the notice of data
                                                 operation and provides for the allowances for              parallel provisions in the regulations for the other   availability issued under § 97.1011(a)(1)
                                                 subsequent control periods to be allocated to the          CSAPR trading programs, generally calling for          and (2) for the 2023 through 2025
                                                 relevant state’s new unit set-asides, is inconsistent      allocations to units in areas of Indian country        control periods.
                                                 with the proposed revisions to the set-asides and          subject to a state’s CAA implementation planning
                                                 the default allowance allocation process, as               authority to be made from the new unit set-asides
                                                                                                                                                                      The remaining transitional provisions
                                                 discussed in section VI.B.9, and is being removed          instead of from the Indian country new unit set-       are being implemented through the
                                                 as obsolete.                                               asides.                                                Group 2 trading program regulations.


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                                                 The creation of an additional Group 3                   Indian country new unit set-asides, and                have been removed from the programs,
                                                 allowance bank for the 2023 control                     variability limits for states that the EPA             consistent with the text of the latter
                                                 period through the conversion of                        is transitioning out of the Group 2                    provisions.
                                                 banked 2017–2022 Group 2 allowances                     trading program are being modified to                    Finally, the EPA is updating cross-
                                                 as discussed in section VI.B.12.b of this               indicate that the amounts are applicable               references throughout 40 CFR parts 52
                                                 document is implemented at                              under that program only for control                    and 97 for consistency with the other
                                                 § 97.826(e).433 Related provisions                      periods through 2022.                                  amendments being made in this
                                                 addressing the use of Group 3                              Second, as noted in sections VI.D.2                 rulemaking.
                                                 allowances to satisfy after-arising                     and VI.D.3, the existing options for
                                                                                                         states subject to the NOX SIP Call to                  X. Statutory and Executive Orders
                                                 compliance obligations under the Group
                                                                                                         expand applicability of the Group 2                    Reviews
                                                 2 trading program or the Group 1
                                                 trading program are implemented at                      trading program to include certain non-                  Additional information about these
                                                 §§ 97.826(f)(2) and 97.526(e)(3),                       EGUs and smaller EGUs are being                        statutes and Executive orders (‘‘E.O.’’)
                                                 respectively, and related provisions                    eliminated. While the most directly                    can be found at https://www2.epa.gov/
                                                 addressing recordation of late-arising                  affected provisions are the provisions                 laws-regulations/laws-and-executive-
                                                 allocations of Group 1 allowances are                   setting forth the SIP options at                       orders.
                                                 implemented at § 97.526(d)(2)(iii). The                 § 52.38(b)(4), (5), (8), (9), (12), and (13),
                                                                                                         as discussed in section IX.A of this                   A. Executive Order 12866: Regulatory
                                                 recall of Group 2 allowances previously                                                                        Planning and Review and Executive
                                                 issued for the 2023 and 2024 control                    document, the changes also render
                                                                                                         references to ‘‘base’’ units and ‘‘base’’              Order 13563: Improving Regulation and
                                                 periods as discussed in section VI.B.12.c                                                                      Regulatory Review
                                                 of this document is implemented at                      sources in the regulations for the Group
                                                 § 97.811(e).                                            2 trading program and the Group 3                        This action is a significant regulatory
                                                    Decisions of the Administrator related               trading program obsolete. Removal of                   action within the scope of section 3(f)(1)
                                                 to the allowance bank creation                          the references to ‘‘base’’ units and                   of Executive Order 12866 that was
                                                 provisions and the allowance recall                     ‘‘base’’ sources affects multiple                      submitted to the Office of Management
                                                 provisions are identified as appealable                 paragraphs of §§ 97.802, 97.806, 97.825,               and Budget (OMB) for review. Any
                                                 decisions under 40 CFR part 78 through                  97.1002, 97.1006, and 97.1025.                         changes made in response to Executive
                                                 revisions to § 78.1(b)(17)(viii) and (ix).                 Third, to clarify the regulatory text,              Order 12866 review have been
                                                                                                         the EPA is removing the language in the                documented in the docket. The EPA
                                                 D. Clarifications and Conforming                        Group 3 trading program regulations                    prepared an analysis of the potential
                                                 Revisions                                               that formerly appeared at §§ 97.1002                   costs and benefits associated with this
                                                    As discussed in section VI.B.13 of this              (definition of ‘‘common designated                     action. This analysis, which is
                                                 document, the EPA is revising the                       representative’s assurance level’’),                   contained in the ‘‘Regulatory Impact
                                                 provisions regarding allowance                          97.1006(c)(2)(iii), 97.1010(d), and                    Analysis for Final Federal Good
                                                 allocations for units in Indian country                 97.1011(a)(1) referencing supplemental                 Neighbor Plan Addressing Regional
                                                 in all the CSAPR trading programs so                    amounts of allowances issued for the                   Ozone Transport for the 2015 Ozone
                                                 that instead of distinguishing among                    2021 control period and associated                     National Ambient Air Quality
                                                 units based on whether they are or are                  increments to the 2021 assurance levels                Standard’’ [EPA–452–R–23–001], is
                                                 not located in Indian country, the                      (each state’s assurance level increment                available in the docket and is briefly
                                                 revised provisions distinguish among                    was described as 21 percent of the                     summarized in section VIII of this
                                                 units based on whether they are or are                  state’s supplemental amount of                         document.
                                                 not covered by a state’s CAA                            allowances). In place of the removed
                                                                                                         language, the EPA is restating the                     B. Paperwork Reduction Act (PRA)
                                                 implementation planning authority. The
                                                                                                         amounts of the 2021 state emissions                    1. Information Collection Request for
                                                 revisions are implemented in multiple
                                                                                                         budgets in § 97.1010(a)(1)(i) so as to                 Electric Generating Units
                                                 paragraphs of §§ 97.411(b), 97.412,
                                                                                                         include the supplemental amounts of
                                                 97.511(b), 97.512, 97.611(b), 97.612,                                                                             The information collection activities
                                                                                                         allowances and is restating the amounts
                                                 97.711(b), 97.712, 97.811(b), and 97.812.                                                                      in this rule have been submitted for
                                                                                                         of the 2021 variability limits in
                                                 The associated revisions to states’                                                                            approval to the Office of Management
                                                                                                         § 97.1010(e)(1) so as to include the
                                                 options regarding SIP revisions to                                                                             and Budget (OMB) under the PRA. The
                                                                                                         associated assurance level increments.
                                                 establish state-determined allowance                                                                           Information Collection Request (ICR)
                                                                                                         The revised language is substantively
                                                 allocations for units covered by their                                                                         document that the EPA prepared has
                                                                                                         equivalent to and simpler than the
                                                 CAA implementation planning                                                                                    been assigned EPA ICR number 2709.01.
                                                                                                         previous language.
                                                 authority are implemented in multiple                      Fourth, in 40 CFR part 75, the EPA is               The EPA has placed a copy of the ICR
                                                 paragraphs of §§ 52.38(a) and (b) and                   removing obsolete text in § 75.73(c) and               in the docket for this rule, and it is
                                                 52.39 as well as the state-specific                     (f) to clarify the context for other text              briefly summarized here.
                                                 subparts of 40 CFR part 52.                             being added to the section, as discussed                  The EPA is finalizing an information
                                                    Certain other revisions to the                       in section IX.B of this document.                      collection request (ICR), related
                                                 regulatory text in the FIP and trading                     Fifth, in 40 CFR part 52, the EPA is                specifically to electric generating units
                                                 program regulations are minor                           adding §§ 52.38(a)(7)(iii) and 52.39(k)(3)             (EGU), for the Federal ‘‘Good Neighbor
                                                 simplifications and clarifications. First,              to clarify in §§ 52.38 and 52.39 that the              Plan’’ for the 2015 Ozone National
                                                 in the Group 2 trading program                          Allowance Management System                            Ambient Air Quality Standards. The
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                                                 regulations, the paragraphs in § 97.810                 housekeeping provisions added by the                   rule would amend the Cross-State Air
                                                 setting forth the amounts of state                      Revised CSAPR Update at §§ 97.426(c),                  Pollution Rule (CSAPR) NOX Ozone
                                                 emissions budgets, new unit set-asides,                 97.626(c), and 97.726(c) in the                        Season Group 3 trading program
                                                   433 The provision formerly at § 97.826(e)(1) is
                                                                                                         regulations for the CSAPR NOX Annual,                  addressing seasonal NOX emissions in
                                                 being relocated to § 97.826(f)(1), and the provision
                                                                                                         SO2 Group 1, and SO2 Group 2 trading                   various states. Under the amendments,
                                                 formerly at § 97.826(e)(2) is being removed as no       programs, respectively, continue to                    all EGU sources in the original twelve
                                                 longer necessary.                                       apply after the sources in a given state               Group 3 states (Illinois, Indiana,


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                                                 Kentucky, Louisiana, Maryland,                          already accounted for in both the ARP                    Total estimated additional burden:
                                                 Michigan, New Jersey, New York, Ohio,                   and CSAPR ICRs.                                        2,289 hours (per year). Burden is
                                                 Pennsylvania, Virginia, and West                           For most sources already reporting                  defined at 5 CFR 1320.03(b).
                                                 Virginia) would remain. Additionally,                   data under the CSAPR NOX Ozone                           Total estimated additional cost:
                                                 EGU sources in seven states (Alabama,                   Season Group 3 or the CSAPR NOX                        $356,623 (per year); includes $182,379
                                                 Arkansas, Mississippi, Missouri,                        Ozone Group 2 trading programs, the                    annualized capital or operation &
                                                 Oklahoma, Texas, and Wisconsin)                         reporting requirements will remain                     maintenance costs.
                                                 currently covered by the CSAPR NOX                      identical so there will be no incremental                An agency may not conduct or
                                                 Ozone Season Group 2 Trading Program                    burden or cost. Certain sources                        sponsor, and a person is not required to
                                                 would transition from the Group 2                       currently reporting data will be subject               respond to, a collection of information
                                                 program to the revised Group 3 trading                  to additional emissions reporting                      unless it displays a currently valid OMB
                                                 program beginning with the 2023 ozone                   requirements under the rule requiring                  control number. The OMB control
                                                 season. Further, sources in three states                these sources to make a one-time                       numbers for the EPA’s regulations in 40
                                                 not currently covered by any CSAPR                      monitoring plan and DAHS update.                       CFR are listed in 40 CFR part 9. When
                                                 NOX ozone season trading program                        These sources include those with a                     OMB approves this ICR, the Agency will
                                                 would join the revised Group 3 trading                  common stack configuration and/or                      announce that approval in the Federal
                                                 program: Minnesota, Nevada, and Utah.                   those that are large, coal-fired EGUs.                 Register and publish a technical
                                                 In total, EGU sources in 22 states would                Additionally, sources with a common                    amendment to 40 CFR part 9 to display
                                                 now be covered by the Group 3                           stack configuration have the option to                 the OMB control number for the
                                                 program.                                                install additional monitoring equipment                approved information collection
                                                    There is an existing ICR (OMB Control                to measure emissions at each individual                activities contained in this final rule.
                                                 Number 2060–0667), that includes                        unit within the facility, and for                      2. Information Collection Request for
                                                 information collection requirements                     purposes of estimating information                     Non-Electric Generating Units
                                                 placed on EGU sources for the six Cross-                collection costs and burden, the EPA
                                                                                                         assumes certain sources will utilize this                 The information collection activities
                                                 State Air Pollution Rule (CSAPR)                                                                               in this final rule have been submitted
                                                 trading programs addressing sulfur                      option. Finally, the assessment of
                                                                                                         incremental cost and burden are                        for approval to the Office of
                                                 dioxide (SO2) emissions, annual                                                                                Management and Budget (OMB) under
                                                 nitrogen oxides (NOX) emissions, or                     required for those sources in the three
                                                                                                         states not currently reporting data under              the PRA. The Information Collection
                                                 seasonal NOX emissions in various sets                                                                         Request (ICR) document that the EPA
                                                 of states, and the Texas SO2 trading                    a CSAPR NOX Ozone Season program.
                                                                                                         Sources in Minnesota are already                       prepared has been assigned EPA ICR
                                                 program which is modeled after CSAPR.                                                                          number 2705.02. The EPA has filed a
                                                 This ICR accounts for the additional                    reporting data for the CSAPR NOX
                                                                                                         Annual program with almost identical                   copy of the non-EGU ICR in the docket
                                                 respondent burden related to the                                                                               for this rule, and it is briefly
                                                                                                         information collection requirements,
                                                 amendments to the CSAPR NOX Ozone                                                                              summarized here.
                                                                                                         requiring only a one-time monitoring
                                                 Group 3 trading program.                                                                                          ICR No. 2705.02 is a new request and
                                                                                                         plan and DAHS update. Most of the
                                                    The principal information collection                 affected sources in Nevada and Utah are                it addresses the burden associated with
                                                 requirements under the CSAPR and                        already reporting data as part of the                  new regulatory requirements under the
                                                 Texas trading programs relate to the                    Acid Rain Program, thus only requiring                 final rule. Owners and operators of
                                                 monitoring and reporting of emissions                   a monitoring plan and DAHS update as                   certain non-Electric Generating Unit
                                                 and associated data in accordance with                  well. There are a small number of                      (non-EGU) industry stationary sources
                                                 40 CFR part 75. Other information                       sources in Nevada and Utah that do not                 will potentially modify or install new
                                                 collection requirements under the                       report emissions data to the EPA under                 emissions controls and associated
                                                 programs concern the submittal of                       40 CFR part 75 and will need to                        monitoring systems to meet the nitrogen
                                                 information necessary to allocate and                   implement a Part 75 monitoring                         oxides (NOX) emissions limits of this
                                                 transfer emissions allowances and the                   methodology which includes burdens                     final rule. The burden in this ICR
                                                 submittal of certificates of                            related to installation, certification, and            reflects the new monitoring, calibrating,
                                                 representation and other typically one-                 necessary updates.                                     recordkeeping, reporting and testing
                                                 time registration forms.                                   Respondents/affected entities:                      activities required of covered industrial
                                                    Affected sources under the CSAPR                     Industry respondents are stationary,                   sources. This information is being
                                                 and Texas trading programs are                          fossil fuel-fired boilers and combustion               collected to assure compliance with the
                                                 generally stationary, fossil fuel-fired                 turbines serving electricity generators                final rule. In accordance with the Clean
                                                 boilers and combustion turbines serving                 subject to the CSAPR and Texas trading                 Air Act Amendments of 1990, any
                                                 generators larger than 25 megawatts                     programs, as well as non-source entities               monitoring information to be submitted
                                                 (MW) producing electricity for sale.                    voluntarily participating in allowance                 by sources is a matter of public record.
                                                 Most of these affected sources are also                 trading activities. Potential state                    Information received and identified by
                                                 subject to the Acid Rain Program (ARP).                 respondents are states that can elect to               owners or operators as confidential
                                                 The information collection requirements                 submit state-determined allowance                      business information (CBI) and
                                                 under the CSAPR and Texas trading                       allocations for sources located in their               approved as CBI by the EPA, in
                                                 programs and the ARP substantially                      states.                                                accordance with 40 CFR chapter I, part
                                                 overlap and are fully integrated. The                      Respondent’s obligation to respond:                 2, subpart B, shall be maintained
                                                 burden and costs of overlapping
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                                                                                                         Industry respondents: voluntary and                    appropriately (see 40 CFR part 2; 41 FR
                                                 requirements are accounted for in the                   mandatory (sections 110(a) and 301(a) of               36902, September 1, 1976; amended by
                                                 ARP ICR (OMB Control Number 2060–                       the Clean Air Act).                                    43 FR 39999, September 8, 1978; 43 FR
                                                 0258). Thus, this ICR accounts for                         Estimated number of respondents:                    42251, September 28, 1978; 44 FR
                                                 information collection burden and costs                 The EPA estimates that there would be                  17674, March 23, 1979).
                                                 under the CSAPR NOX Ozone Season                        120 industry respondents.                                 Respondents/affected entities: The
                                                 Group 3 trading program that are                           Frequency of response: on occasion,                 respondents/affected entities are the
                                                 incremental to the burden and costs                     quarterly, and annually.                               owners/operators of certain non-EGU


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                                                 industry sources in the following                       the EPA identified a total of 29 small                 F. Executive Order 13175: Consultation
                                                 industry sectors: furnaces in Glass and                 entities affected by the rule. Of these, 2             and Coordination With Indian Tribal
                                                 Glass Product Manufacturing; boilers                    small entities may experience costs of                 Governments
                                                 and furnaces in Iron and Steel Mills and                greater than 1 percent of revenues. In
                                                 Ferroalloy Manufacturing; kilns in                                                                                This final action has tribal
                                                                                                         2026 for EGUs, the EPA identified 19
                                                 Cement and Cement Product                                                                                      implications. However, it would neither
                                                                                                         small entities. The EPA’s decision to
                                                 Manufacturing; reciprocating internal                                                                          impose substantial direct compliance
                                                                                                         exclude units smaller than 25 MW
                                                 combustion engines in Pipeline                                                                                 costs on federally recognized tribal
                                                                                                         capacity from the final rule, and                      governments, nor preempt tribal law.
                                                 Transportation of Natural Gas; and                      exclusion of uncontrolled units smaller
                                                 boilers in Metal Ore Mining, Basic                      than 100 MW from backstop emissions                       The EPA is finalizing a finding that
                                                 Chemical Manufacturing, Petroleum and                   rates significantly reduced the burden                 interstate transport of ozone precursor
                                                 Coal Products Manufacturing, and Pulp,                  on small entities by reducing the                      emissions from 23 upwind states
                                                 Paper, and Paperboard Mills; and                                                                               (Alabama, Arkansas, California, Illinois,
                                                                                                         number of affected small entity-owned
                                                 combustors and incinerators in Solid                                                                           Indiana, Kentucky, Louisiana,
                                                                                                         units. Further, in 2026 for non-EGUs,
                                                 Waste Combustors and Incinerators.                                                                             Maryland, Michigan, Minnesota,
                                                    Respondent’s obligation to respond:                  there are ten small entities, and two
                                                                                                                                                                Mississippi, Missouri, Nevada, New
                                                 Voluntary and mandatory. (Sections                      small entities are estimated to have a
                                                                                                                                                                Jersey, New York, Ohio, Oklahoma,
                                                 110(a) and 301(a) of the Clean Air Act.)                cost-to-sales impact between 1.7 and 2.4
                                                                                                                                                                Pennsylvania, Texas, Utah, Virginia,
                                                 All data that is recorded or reported by                percent of their revenues.
                                                                                                                                                                West Virginia, and Wisconsin) is
                                                 respondents is required by the final                       The Agency has not determined that                  significantly contributing to downwind
                                                 rule, titled ‘‘Federal ‘‘Good Neighbor                  a significant number of small entities                 nonattainment or interfering with
                                                 Plan’’ for the 2015 Ozone National                      potentially affected by the rule will have             maintenance of the 2015 ozone NAAQS
                                                 Ambient Air Quality Standards.’’                        compliance costs greater than 1 percent                in other states. The EPA is promulgating
                                                    Estimated number of respondents:                     of annual revenues during the                          FIP requirements to eliminate interstate
                                                 3,328.                                                  compliance period. The EPA has                         transport of ozone precursors from these
                                                    Frequency of response: The specific                  concluded that there will be no                        23 states. Under CAA section 301(d)(4),
                                                 frequency for each information                          significant economic impact on a                       the EPA is extending FIP requirements
                                                 collection activity within the non-EGU                  substantial number of small entities (No               to apply in Indian country located
                                                 ICR is shown at the end of the ICR                      SISNOSE) for this rule overall. Details of             within the upwind geography of the
                                                 document in Tables 1 through 18. In                     this analysis are presented in Chapter 6               final rule, including Indian reservation
                                                 general, the frequency varies across the                of the RIA, which is in the public                     lands and other areas of Indian country
                                                 monitoring, recordkeeping, and                          docket.                                                over which the EPA or a tribe has
                                                 reporting activities. Some recordkeeping                                                                       demonstrated that a tribe has
                                                 such as work plan preparation is a one-                 D. Unfunded Mandates Reform Act                        jurisdiction. The EPA’s determinations
                                                 time activity whereas pipeline engine                   (UMRA)                                                 in this regard are described further in
                                                 maintenance recordkeeping is                                                                                   section III.C.2 of this document,
                                                 conducted quarterly. Reporting                            This action contains no unfunded
                                                                                                         Federal mandate for State, local, or                   Application of Rule in Indian Country
                                                 frequency is on an annual basis.                                                                               and Necessary or Appropriate Finding.
                                                    Total estimated burden: 11,481 hours                 Tribal governments as described in
                                                                                                                                                                The EPA finds that all covered existing
                                                 (per year). Burden is defined at 5 CFR                  UMRA, 2 U.S.C. 1531–1538, and does
                                                                                                                                                                and new EGU and non-EGU sources that
                                                 1320.3(b).                                              not significantly or uniquely affect small
                                                                                                                                                                are located in the ‘‘301(d) FIP’’ areas
                                                    Total estimated cost: $3,823,000                     governments. This action imposes no
                                                                                                                                                                within the geographic boundaries of the
                                                 (average per year); includes $2,400,000                 enforceable duty on any State, local, or
                                                                                                                                                                covered states, and which would be
                                                 annualized capital or operation &                       Tribal government. This action contains                subject to this rule if located within
                                                 maintenance costs.                                      a Federal mandate under UMRA, 2                        areas subject to state CAA planning
                                                    An agency may not conduct or                         U.S.C. 1531–1538, that may result in                   authority, should be included in this
                                                 sponsor, and a person is not required to                expenditures of $100 million or more in                rule. To the EPA’s knowledge, only one
                                                 respond to, a collection of information                 any one year for the private sector.                   covered existing EGU or non-EGU
                                                 unless it displays a currently valid OMB                Accordingly, the costs and benefits                    source is located within the 301(d) FIP
                                                 control number. The OMB control                         associated with this action are discussed              areas: the Bonanza Power Plant, an EGU
                                                 numbers for the EPA’s regulations in 40                 in section VIII of this preamble and in                source, located on the Uintah and Ouray
                                                 CFR are listed in 40 CFR part 9. When                   the RIA, which is in the docket for this               Reservation, geographically located
                                                 OMB approves this ICR, the Agency will                  rule. Additional details are presented in              within the borders of Utah. This final
                                                 announce that approval in the Federal                   the RIA. This action is not subject to the             action has tribal implication because of
                                                 Register and publish a technical                        requirements of UMRA section 203                       the extension of FIP requirements into
                                                 amendment to 40 CFR part 9 to display                   because it contains no regulatory                      Indian country and because, in general,
                                                 the OMB control number for the                          requirements that might significantly or               tribes have a vested interest in how this
                                                 approved information collection                         uniquely affect small governments.                     final rule would affect air quality.
                                                 activities contained in this final rule.
                                                                                                         E. Executive Order 13132: Federalism                      The EPA hosted an environmental
                                                 C. Regulatory Flexibility Act (RFA)                                                                            justice webinar on October 26, 2021,
                                                    I certify that this action will not have               This action does not have federalism                 that was attended by state regulatory
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                                                 a significant economic impact on a                      implications. It will not have substantial             authorities, environmental groups,
                                                 substantial number of small entities                    direct effects on the states, on the                   federally recognized tribes, and small
                                                 under the RFA. The small entities                       relationship between the National                      business stakeholders. The EPA issued
                                                 subject to the requirements of this                     Government and the states, or on the                   tribal consultation letters addressed to
                                                 action are small businesses, which                      distribution of power and                              574 tribes in February 2022 after the
                                                 includes EGUs and non-EGUs and are                      responsibilities among the various                     proposed rule was signed. The EPA
                                                 described in more detail below. In 2026,                levels of government.                                  received no further requests to facilitate


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                                                 additional tribal consultation for the                  J. Executive Order 12898: Federal                      exposures will be meaningfully
                                                 final rule.                                             Actions To Address Environmental                       exacerbated or mitigated in the
                                                                                                         Justice in Minority Populations and                    regulatory alternatives under
                                                 G. Executive Order 13045: Protection of                 Low-Income Populations                                 consideration as compared to the
                                                 Children From Environmental Health                                                                             baseline. We infer that baseline
                                                 Risks and Safety Risks                                     Executive Order 12898 (59 FR 7629,
                                                                                                         February 16, 1994) directs Federal                     disparities in the ozone and PM2.5
                                                   The EPA interprets Executive Order                    agencies, to the greatest extent                       concentration burdens are likely to
                                                                                                         practicable and permitted by law, to                   persist after implementation of the
                                                 13045 as applying only to those
                                                                                                         make environmental justice part of their               regulatory action or alternatives under
                                                 regulatory actions that concern
                                                                                                         mission by identifying and addressing,                 consideration, due to similar modeled
                                                 environmental health or safety risks that                                                                      concentration reductions across
                                                 the EPA has reason to believe may                       as appropriate, disproportionately high
                                                                                                         and adverse human health or                            population demographics. Importantly,
                                                 disproportionately affect children, per                                                                        the action described in this rule is
                                                 the definition of ‘‘covered regulatory                  environmental effects of their programs,
                                                                                                         policies, and activities on minority                   expected to lower ozone and PM2.5 in
                                                 action’’ in section 2–202 of the                                                                               many areas, including in ozone
                                                 Executive order. This action is not                     populations (people of color and/or
                                                                                                         indigenous peoples) and low-income                     nonattainment areas, and thus mitigate
                                                 subject to Executive Order 13045                                                                               some pre-existing health risks across all
                                                                                                         populations.
                                                 because it implements a previously                         The EPA believes that the human                     populations evaluated.
                                                 promulgated health-based Federal                        health or environmental conditions that                  The EPA additionally identified and
                                                 standard. This action’s health and risk                 exist prior to this action result in or                addressed environmental justice
                                                 assessments are contained in Chapter 5                  have the potential to result in                        concerns by providing the public,
                                                 and 6 of the RIA. The EPA believes that                 disproportionate and adverse human                     including those communities
                                                 the ozone-related benefits, PM2.5-related               health or environmental effects on                     disproportionately impacted by the
                                                 benefits, and CO2- related benefits from                people of color, low-income populations                burdens of pollution, opportunities for
                                                 this final rule will further improve                    and/or Indigenous peoples. The                         meaningful engagement with the EPA
                                                 children’s health. Additionally, the                    documentation for this decision is                     on this action through outreach
                                                 ozone and PM2.5 EJ exposure analyses in                 contained in section VII of this                       activities conducted by the Agency. The
                                                 Chapter 7 of the RIA suggests that                      document, Environmental Justice                        information supporting this Executive
                                                 nationally, children (ages 0–17) will                   Analytical Considerations and                          order review is contained in section VII
                                                 experience at least as great a reduction                Stakeholder Outreach and Engagement,                   of this document.
                                                 in ozone and PM2.5 exposures as adults                  and in Chapter 7, Environmental Justice                K. Congressional Review Act
                                                 (ages 18–64) in 2023 and 2026 under all                 Impacts of the RIA, which is in the                      This action is subject to the CRA, and
                                                 regulatory alternatives of this                         public document. Briefly, proximity                    the EPA will submit a rule report to
                                                 rulemaking.                                             demographic analyses found larger                      each House of the Congress and to the
                                                                                                         percentages of Hispanics, African                      Comptroller General of the United
                                                 H. Executive Order 13211: Actions                       Americans, people below the poverty
                                                 Concerning Regulations That                                                                                    States. Because this action falls within
                                                                                                         level, people with less educational                    the definition provided by 5 U.S.C.
                                                 Significantly Affect Energy Supply,                     attainment, and people linguistically                  804(2), the rule’s effective date is
                                                 Distribution or Use                                     isolated are living within 5 km and 10                 consistent with 5 U.S.C. 801(a)(3).
                                                                                                         km of an affected EGU, compared to
                                                    This action is not a ‘‘significant                   national averages. It also finds larger                L. Determinations Under CAA Section
                                                 energy action’’ because it is not likely to             percentages of African Americans,                      307(b)(1) and (d)
                                                 have a significant adverse effect on the                people below the poverty level, and                       Section 307(b)(1) of the CAA governs
                                                 supply, distribution, or use of energy.                 with less educational attainment living                judicial review of final actions by the
                                                 The EPA has prepared a Statement of                     within 5 km and 10 km of an affected                   EPA. This section provides, in part, that
                                                 Energy Effects for the final regulatory                 non-EGU facility. Considering the                      petitions for review must be filed in the
                                                 control alternative as follows. The                     known limitations of proximity                         D.C. Circuit: (i) when the agency action
                                                 Agency estimates a 1 percent change in                  analyses, including the inability to                   consists of ‘‘nationally applicable
                                                 retail electricity prices on average across             assess policy-specific impacts, we also                regulations promulgated, or final actions
                                                 the contiguous U.S. in the 2025 run                     performed analysis of baseline EJ ozone                taken, by the Administrator,’’ or (ii)
                                                 year, a 4 percent reduction (28 GWh) in                 and PM2.5 exposures. Baseline ozone                    when such action is locally or regionally
                                                 coal-fired electricity generation, a 2                  and PM2.5 exposure analyses show that                  applicable, but ‘‘such action is based on
                                                 percent increase (21 GWh) in natural                    certain populations, such as Hispanics,                a determination of nationwide scope or
                                                 gas-fired electricity generation, and a 1               Asians, those linguistically isolated,                 effect and if in taking such action the
                                                 percent increase (8 GWh) in renewable                   those less educated, and children may                  Administrator finds and publishes that
                                                 electricity generation as a result of this              experience disproportionately higher                   such action is based on such a
                                                 final rule. The EPA projects that utility               ozone and PM2.5 exposures as compared                  determination.’’ For locally or regionally
                                                 power sector delivered natural gas                      to the national average. American                      applicable final actions, the CAA
                                                 prices will change by less than 1 percent               Indians may also experience                            reserves to the EPA complete discretion
                                                 in 2025. Details of the estimated energy                disproportionately higher ozone                        whether to invoke the exception in
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                                                 effects are presented in Chapter 4 of the               concentrations than the reference group.               (ii).434
                                                                                                            The EPA believes that this action is
                                                 RIA, which is in the public docket.
                                                                                                         not likely to change existing                             434 In deciding whether to invoke the exception

                                                 I. National Technology Transfer and                     disproportionate and adverse effects on                by making and publishing a finding that an action
                                                                                                         people of color, low-income populations                is based on a determination of nationwide scope or
                                                 Advancement Act (NTTAA)                                                                                        effect, the Administrator takes into account a
                                                                                                         and/or Indigenous peoples. Specifically,               number of policy considerations, including his
                                                   This rulemaking does not involve                      we do not find evidence that potential                 judgment balancing the benefit of obtaining the D.C.
                                                 technical standards.                                    EJ concerns related to ozone or PM2.5                                                             Continued




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                                                    This rulemaking is ‘‘nationally                      geographic area covered by this final                   List of Subjects
                                                 applicable’’ within the meaning of CAA                  rule.435
                                                                                                                                                                 40 CFR Part 52
                                                 section 307(b)(1). In this final action, the               The Administrator finds that this is a
                                                 EPA is applying a uniform legal                                                                                   Environmental protection,
                                                                                                         matter on which national uniformity in                  Administrative practice and procedure,
                                                 interpretation and common, nationwide                   judicial resolution of any petitions for
                                                 analytical methods with respect to the                                                                          Air pollution control, Incorporation by
                                                                                                         review is desirable, to take advantage of               reference, Intergovernmental relations,
                                                 requirements of CAA section                             the D.C. Circuit’s administrative law                   Nitrogen oxides, Ozone, Particulate
                                                 110(a)(2)(D)(i)(I) concerning interstate                expertise, and to facilitate the orderly                matter, Sulfur dioxide.
                                                 transport of pollution (i.e., ‘‘good                    development of the basic law under the
                                                 neighbor’’ requirements) to promulgate                  Act. The Administrator also finds that                  40 CFR Part 75
                                                 FIPs that satisfy these requirements for                consolidated review of this action in the                 Environmental protection,
                                                 the 2015 ozone NAAQS. Based on these                    D.C. Circuit will avoid piecemeal                       Administrative practice and procedure,
                                                 analyses, the EPA is promulgating FIPs                  litigation in the regional circuits, further            Air pollution control, Continuous
                                                 for 23 states located across a wide                     judicial economy, and eliminate the risk                emissions monitoring, Electric power
                                                 geographic area in eight of the ten EPA                 of inconsistent results for different                   plants, Nitrogen oxides, Ozone,
                                                 regions and ten Federal judicial circuits.              states, and that a nationally consistent                Particulate matter, Reporting and
                                                 Given that this action addresses                        approach to the CAA’s mandate                           recordkeeping requirements, Sulfur
                                                 implementation of the good neighbor                     concerning interstate transport of ozone                dioxide.
                                                 requirements of CAA section                             pollution constitutes the best use of                   40 CFR Part 78
                                                 110(a)(2)(D)(i)(I) in a large number of                 agency resources. The EPA’s responses
                                                 states located across the country, and                                                                            Environmental protection,
                                                                                                         to comments on the appropriate venue                    Administrative practice and procedure,
                                                 given the interdependent nature of                      for petitions for review are contained in
                                                 interstate pollution transport and the                                                                          Air pollution control, Electric power
                                                                                                         section 1.10 of the RTC document.                       plants, Nitrogen oxides, Ozone,
                                                 common core of knowledge and analysis
                                                                                                            For these reasons, this final action is              Particulate matter, Sulfur dioxide.
                                                 involved in promulgating these FIPs,
                                                                                                         nationally applicable or, alternatively,
                                                 this is a ‘‘nationally applicable’’ action                                                                      40 CFR Part 97
                                                                                                         the Administrator is exercising the
                                                 within the meaning of CAA section                                                                                 Environmental protection,
                                                                                                         complete discretion afforded to him by
                                                 307(b)(1).                                                                                                      Administrative practice and procedure,
                                                                                                         the CAA and finds that this final action
                                                    In the alternative, to the extent a court            is based on a determination of                          Air pollution control, Electric power
                                                 finds this action to be locally or                      nationwide scope or effect for purposes                 plants, Nitrogen oxides, Ozone,
                                                 regionally applicable, the Administrator                                                                        Particulate matter, Reporting and
                                                                                                         of CAA section 307(b)(1) and is
                                                 is exercising the complete discretion                                                                           recordkeeping requirements, Sulfur
                                                                                                         publishing that finding in the Federal
                                                 afforded to him under the CAA to make                                                                           dioxide.
                                                                                                         Register. Under section 307(b)(1) of the
                                                 and publish a finding that this action is               CAA, petitions for judicial review of                   Michael S. Regan,
                                                 based on a determination of                             this action must be filed in the United                 Administrator.
                                                 ‘‘nationwide scope or effect’’ within the               States Court of Appeals for the District                   For the reasons stated in the
                                                 meaning of CAA section 307(b)(1). In                    of Columbia Circuit by August 4, 2023.                  preamble, parts 52, 75, 78, and 97 of
                                                 this final action, the EPA is interpreting                                                                      title 40 of the Code of Federal
                                                                                                            This action is subject to the
                                                 and applying section 110(a)(2)(d)(i)(I) of                                                                      Regulations are amended as follows:
                                                                                                         provisions of section 307(d). CAA
                                                 the CAA for the 2015 ozone NAAQS
                                                                                                         section 307(d)(1)(B) provides that
                                                 based on a common core of nationwide                                                                            PART 52—APPROVAL AND
                                                                                                         section 307(d) applies to, among other
                                                 policy judgments and technical analysis                                                                         PROMULGATION OF
                                                                                                         things, ‘‘the promulgation or revision of
                                                 concerning the interstate transport of                                                                          IMPLEMENTATION PLANS
                                                                                                         an implementation plan by the
                                                 pollutants throughout the continental
                                                 U.S. In particular, the EPA is applying                 Administrator under [CAA section                        ■ 1. The authority citation for part 52
                                                 here the same, nationally consistent 4-                 110(c)].’’ 42 U.S.C. 7407(d)(1)(B). This                continues to read as follows:
                                                 step framework for assessing good                       action, among other things, promulgates                   Authority: 42 U.S.C. 7401 et seq.
                                                 neighbor obligations for the 2015 ozone                 new Federal implementation plans
                                                 NAAQS that it has applied in other                      pursuant to the authority of section                    Subpart A—General Provisions
                                                 nationally applicable rulemakings, such                 110(c). To the extent any portion of this
                                                                                                         final action is not expressly identified                ■ 2. Amend § 52.38 by:
                                                 as CSAPR, the CSAPR Update, and the                                                                             ■ a. In paragraph (a)(1), removing
                                                 Revised CSAPR Update. The EPA is                        under section 307(d)(1)(B), the
                                                                                                         Administrator determines that the                       ‘‘(NOX), except’’ and adding in its place
                                                 relying on the results from nationwide                                                                          ‘‘(NOX) for sources meeting the
                                                 photochemical grid modeling using a                     provisions of section 307(d) apply to
                                                                                                                                                                 applicability criteria set forth in subpart
                                                 2016 base year and 2023 projection year                 such final action. See CAA section
                                                                                                                                                                 AAAAA, except’’;
                                                 as the primary basis for its assessment                 307(d)(1)(V) (the provisions of section                 ■ b. In paragraph (a)(3) introductory
                                                 of air quality conditions and pollution                 307(d) apply to ‘‘such other actions as                 text:
                                                 contribution levels at Step 1 and Step 2                the Administrator may determine’’).                     ■ i. Removing ‘‘(a)(2)(i) or (ii)’’ and
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                                                 of that 4-step framework and applying a                                                                         adding in its place ‘‘(a)(2)’’; and
                                                 nationally uniform approach to the
                                                                                                           435 In the report on the 1977 Amendments that
                                                                                                                                                                 ■ ii. Removing ‘‘the State and’’ and
                                                                                                         revised section 307(b)(1) of the CAA, Congress          adding in its place ‘‘sources in the State
                                                 identification of nonattainment and                     noted that the Administrator’s determination that
                                                 maintenance receptors across the entire                                                                         and areas of Indian country within the
                                                                                                         the ‘‘nationwide scope or effect’’ exception applies
                                                                                                         would be appropriate for any action that has a          borders of the State subject to the State’s
                                                 Circuit’s authoritative centralized review versus       scope or effect beyond a single judicial circuit. See   SIP authority for’’;
                                                 allowing development of the issue in other contexts     H.R. Rep. No. 95–294 at 323, 324, reprinted in 1977     ■ c. In paragraph (a)(3)(i), removing
                                                 and the best use of agency resources.                   U.S.C.C.A.N. 1402–03.                                   ‘‘State and’’ and adding in its place


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                                                 ‘‘State and areas of Indian country                     subparts BBBBB, EEEEE, and GGGGG,                      the State not subject to the State’s SIP
                                                 within the borders of the State subject                 except’’;                                              authority’’;
                                                 to the State’s SIP authority and that’’;                ■ q. Redesignating paragraphs (b)(2)(i)                ■ ii. Revising paragraphs (b)(9)(vii) and
                                                 ■ d. In paragraph (a)(4) introductory                   and (ii) as paragraphs (b)(2)(i)(A) and                (viii), (b)(10) introductory text, (b)(10)(i)
                                                 text, removing ‘‘for the State’s sources,               (B), respectively, paragraphs (b)(2)(iii)              and (ii), (b)(10)(v)(A) and (B), and
                                                 and’’ and adding in its place ‘‘with                    and (iv) as paragraphs (b)(2)(ii)(A) and               (b)(11) introductory text;
                                                 regard to sources in the State and areas                (B), respectively, and paragraph (b)(2)(v)             ■ jj. Removing and reserving paragraphs
                                                 of Indian country within the borders of                 as paragraph (b)(2)(iii)(A);                           (b)(11)(i) and (ii);
                                                 the State subject to the State’s SIP                    ■ r. In newly redesignated paragraph                   ■ kk. In paragraph (b)(11)(iii)
                                                 authority, and’’;                                       (b)(2)(ii)(A), removing ‘‘Alabama,                     introductory text, removing
                                                 ■ e. Revising table 1 to paragraph                      Arkansas, Iowa, Kansas, Mississippi,                   ‘‘§§ 97.1011(a) and (b)(1) and
                                                 (a)(4)(i)(B);                                           Missouri, Oklahoma, Tennessee, Texas,                  97.1012(a)’’ and adding in its place
                                                 ■ f. In paragraph (a)(4)(ii), removing                  and Wisconsin.’’ and adding in its place               ‘‘§ 97.1011(a)(1)’’;
                                                 ‘‘deadlines for submission of allocations               ‘‘Iowa, Kansas, and Tennessee.’’;                      ■ ll. Revising paragraph (b)(11)(iii)(A);
                                                 or auction results under paragraphs                     ■ s. Adding paragraphs (b)(2)(ii)(C) and                  mm. In paragraph (b)(11)(iii)(B):
                                                 (a)(4)(i)(B) and (C)’’ and adding in its                (b)(2)(iii)(B) and (C);                                ■ i. Removing ‘‘§ 97.1011(a)’’ and
                                                 place ‘‘deadline for submission of                      ■ t. In paragraph (b)(3) introductory                  adding in its place ‘‘§ 97.1011(a)(1)’’;
                                                 allocations or auction results under                    text:                                                  and
                                                 paragraph (a)(4)(i)(B)’’;                               ■ i. Removing ‘‘or (ii)’’; and                         ■ ii. Adding ‘‘and’’ after the semicolon;
                                                                                                         ■ ii. Removing ‘‘the State and’’ and                   ■ nn. Removing and reserving
                                                 ■ g. In paragraph (a)(5) introductory
                                                 text, removing ‘‘State (but not sources in              adding in its place ‘‘sources in the State             paragraph (b)(11)(iii)(C);
                                                                                                         and areas of Indian country within the                 ■ oo. Revising paragraphs (b)(11)(iii)(D),
                                                 any Indian country within the borders
                                                 of the State), regulations’’ and adding in              borders of the State subject to the State’s            (b)(11)(iv), and (b)(12) introductory text;
                                                                                                         SIP authority for’’;                                   ■ pp. Removing and reserving
                                                 its place ‘‘State and areas of Indian
                                                                                                         ■ u. In paragraph (b)(3)(i), removing                  paragraphs (b)(12)(i) and (ii);
                                                 country within the borders of the State
                                                                                                         ‘‘State and’’ and adding in its place                  ■ qq. In paragraph (b)(12)(iii)
                                                 subject to the State’s SIP authority,
                                                                                                         ‘‘State and areas of Indian country                    introductory text, removing
                                                 regulations’’;
                                                                                                         within the borders of the State subject                ‘‘§§ 97.1011(a) and (b)(1) and
                                                 ■ h. Revising table 2 to paragraph
                                                                                                         to the State’s SIP authority and that’’;               97.1012(a)’’ and adding in its place
                                                 (a)(5)(i)(B);
                                                                                                         ■ v. Revising paragraph (b)(4)                         ‘‘§ 97.1011(a)(1)’’;
                                                 ■ i. In paragraph (a)(5)(iv), removing
                                                                                                         introductory text;                                     ■ rr. Revising paragraph (b)(12)(iii)(A);
                                                 ‘‘Indian country within the borders of                                                                         ■ ss. In paragraph (b)(12)(iii)(B):
                                                                                                         ■ w. Removing and reserving paragraph
                                                 the State’’ and adding in its place ‘‘areas                                                                    ■ i. Removing ‘‘§ 97.1011(a)’’ and
                                                                                                         (b)(4)(i);
                                                 of Indian country within the borders of                                                                        adding in its place ‘‘§ 97.1011(a)(1)’’;
                                                                                                         ■ x. Revising table 3 to paragraph
                                                 the State not subject to the State’s SIP                                                                       and
                                                                                                         (b)(4)(ii)(B) and paragraphs (b)(4)(iii)
                                                 authority’’;                                                                                                   ■ ii. Adding ‘‘and’’ after the semicolon;
                                                                                                         and (b)(5) introductory text;
                                                 ■ j. In paragraph (a)(5)(v), removing                                                                          ■ tt. Removing and reserving paragraph
                                                                                                         ■ y. Removing and reserving paragraph
                                                 ‘‘Indian country within the borders of                  (b)(5)(i);                                             (b)(12)(iii)(C);
                                                 the State, the’’ and adding in its place                ■ z. Revising table 4 to paragraph                     ■ uu. Revising paragraphs (b)(12)(iii)(D),
                                                 ‘‘areas of Indian country within the                    (b)(5)(ii)(B);                                         (b)(12)(vi) through (viii), (b)(13)
                                                 borders of the State not subject to the                 ■ aa. In paragraph (b)(5)(v), removing                 introductory text, and (b)(13)(i);
                                                 State’s SIP authority, the’’;                           ‘‘Indian country within the borders of                 ■ vv. In paragraph (b)(13)(ii), removing
                                                 ■ k. In paragraph (a)(5)(vi), removing                  the State’’ and adding in its place ‘‘areas            ‘‘regulations, including any sources
                                                 ‘‘deadlines for submission of allocations               of Indian country within the borders of                made subject to such regulations
                                                 or auction results under paragraphs                     the State not subject to the State’s SIP               pursuant to paragraph (b)(9)(ii) or
                                                 (a)(5)(i)(B) and (C)’’ and adding in its                authority’’;                                           (b)(12)(ii) of this section, the’’ and
                                                 place ‘‘deadline for submission of                      ■ bb. In paragraph (b)(5)(vi), removing                adding in its place ‘‘regulations the’’;
                                                 allocations or auction results under                    ‘‘Indian country within the borders of                 ■ ww. In paragraph (b)(14)(i)(F),
                                                 paragraph (a)(5)(i)(B)’’;                               the State, the’’ and adding in its place               removing ‘‘§ 97.825(b)’’ and adding in
                                                 ■ l. Revising paragraphs (a)(6) and                     ‘‘areas of Indian country within the                   its place ‘‘§§ 97.806(c)(2) and (3) and
                                                 (a)(7)(ii);                                             borders of the State not subject to the                97.825(b)’’;
                                                 ■ m. Adding paragraph (a)(7)(iii);                      State’s SIP authority, the’’;                          ■ xx. In paragraph (b)(14)(i)(G),
                                                 ■ n. In paragraphs (a)(8)(i) and (ii),                  ■ cc. Revising paragraphs (b)(5)(vii),                 removing ‘‘§ 97.826(e)’’ and adding in
                                                 removing ‘‘the State and’’ and adding in                (b)(7) introductory text, (b)(7)(i), and               its place ‘‘§ 97.826(f)’’;
                                                 its place ‘‘sources in the State and areas              (b)(8) introductory text;                              ■ yy. Revising paragraphs (b)(14)(ii) and
                                                 of Indian country within the borders of                 ■ dd. Removing and reserving                           (iii);
                                                 the State subject to the State’s SIP                    paragraphs (b)(8)(i) and (ii);                         ■ zz. In paragraph (b)(15)(i), removing
                                                 authority for’’;                                        ■ ee. Revising paragraph (b)(8)(iii)(A),               ‘‘the State and’’ and adding in its place
                                                 ■ o. In paragraph (a)(8)(iii), removing                 table 5 to paragraph (b)(8)(iii)(B), and               ‘‘sources in the State and areas of Indian
                                                 ‘‘State (but not sources in any Indian                  paragraphs (b)(8)(iv) and (b)(9)                       country within the borders of the State
                                                 country within the borders of the                       introductory text;                                     subject to the State’s SIP authority for’’;
                                                 State):’’ and adding in its place ‘‘State
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                                                                                                         ■ ff. Removing and reserving paragraphs                ■ aaa. Revising paragraph (b)(15)(ii);
                                                 and areas of Indian country within the                  (b)(9)(i) and (ii);                                    ■ bbb. In paragraph (b)(15)(iii),
                                                 borders of the State subject to the State’s             ■ gg. Revising paragraph (b)(9)(iii)(A)                removing ‘‘State (but not sources in any
                                                 SIP authority:’’;                                       and table 6 to paragraph (b)(9)(iii)(B);               Indian country within the borders of the
                                                 ■ p. In paragraph (b)(1), removing                      ■ hh. In paragraph (b)(9)(vi), removing                State):’’ and adding in its place ‘‘State
                                                 ‘‘year), except’’ and adding in its place               ‘‘Indian country within the borders of                 and areas of Indian country within the
                                                 ‘‘year) for sources meeting the                         the State’’ and adding in its place ‘‘areas            borders of the State subject to the State’s
                                                 applicability criteria set forth in                     of Indian country within the borders of                SIP authority:’’;


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                                                 ■ ccc. In paragraph (b)(16)(i)(A),                                          and, in newly redesignated paragraph                            § 52.38 What are the requirements of the
                                                 removing ‘‘the State and’’ and adding in                                    (b)(16)(ii)(A), removing ‘‘(b)(2)(iv)’’ and                     Federal Implementation Plans (FIPs) for the
                                                 its place ‘‘sources in the State and areas                                  adding in its place ‘‘(b)(2)(ii)(B)’’;                          Cross-State Air Pollution Rule (CSAPR)
                                                 of Indian country within the borders of                                                                                                     relating to emissions of nitrogen oxides?
                                                                                                                             ■ fff. Adding paragraph (b)(16)(ii)(B);
                                                 the State subject to the State’s SIP                                        and                                                               (a) * * *
                                                 authority for’’;
                                                                                                                             ■ ggg. Revising paragraphs (b)(17)(i)                             (4) * * *
                                                 ■ ddd. Revising paragraphs (b)(16)(i)(B)
                                                 and (C);                                                                    through (iii).                                                    (i) * * *
                                                 ■ eee. Redesignating paragraph                                                The revisions and additions read as                             (B) * * *
                                                 (b)(16)(ii) as paragraph (b)(16)(ii)(A),                                    follows:

                                                                                                                                TABLE 1 TO PARAGRAPH (a)(4)(i)(B)
                                                     Year of the control period for which CSAPR NOX Annual allowances                                                      Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *       *     *              *         *                                        (B) * * *
                                                     (5) * * *
                                                     (i) * * *

                                                                                                                                TABLE 2 TO PARAGRAPH (a)(5)(i)(B)
                                                     Year of the control period for which CSAPR NOX Annual allowances                                                      Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *      *    *      *     *                                                  State to address interstate air pollution,                      (a)(2)(ii) or (a)(6) of this section of the
                                                    (6) Withdrawal of CSAPR FIP                                              the SIP revision likewise will constitute                       applicability of subpart AAAAA of part
                                                 provisions relating to NOX annual                                           a partial rather than full remedy for the                       97 of this chapter to the sources in a
                                                 emissions. Except as provided in                                            State’s obligation unless provided                              State and areas of Indian country within
                                                 paragraph (a)(7) of this section,                                           otherwise in the Administrator’s                                the borders of the State subject to the
                                                 following promulgation of an approval                                       approval of the SIP revision.                                   State’s SIP authority with regard to
                                                 by the Administrator of a State’s SIP                                         (7) * * *                                                     emissions occurring in any control
                                                 revision as correcting the SIP’s                                              (ii) Notwithstanding the provisions of                        period, the following provisions shall
                                                 deficiency that is the basis for the                                        paragraph (a)(6) of this section, if, at the                    continue to apply with regard to all
                                                 CSAPR Federal Implementation Plan set                                       time of any approval of a State’s SIP                           CSAPR NOX Annual allowances at any
                                                 forth in paragraphs (a)(1), (a)(2)(i), and                                  revision under this section, the                                time allocated for any control period to
                                                 (a)(3) and (4) of this section for sources                                  Administrator has already started                               any source or other entity in the State
                                                 in the State and Indian country within                                      recording any allocations of CSAPR                              and areas of Indian country within the
                                                 the borders of the State subject to the                                     NOX Annual allowances under subpart                             borders of the State subject to the State’s
                                                 State’s SIP authority, the provisions of                                    AAAAA of part 97 of this chapter to                             SIP authority and shall apply to all
                                                 paragraph (a)(2)(i) of this section will no                                 units in the State and areas of Indian                          entities, wherever located, that at any
                                                 longer apply to sources in the State and                                    country within the borders of the State                         time held or hold such allowances:
                                                 areas of Indian country within the                                          subject to the State’s SIP authority for a                        (A) The provisions of § 97.426(c) of
                                                 borders of the State subject to the State’s                                 control period in any year, the                                 this chapter (concerning the transfer of
                                                 SIP authority, unless the                                                   provisions of subpart AAAAA                                     CSAPR NOX Annual allowances
                                                 Administrator’s approval of the SIP                                         authorizing the Administrator to                                between certain Allowance Management
                                                 revision is partial or conditional, and                                     complete the allocation and recordation                         System accounts under common
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                                                 will continue to apply to sources in                                        of such allowances to such units for                            control).
                                                 areas of Indian country within the                                          each such control period shall continue                           (B) [Reserved]
                                                 borders of the State not subject to the                                     to apply, unless provided otherwise by                          *      *     *      *     *
                                                 State’s SIP authority, provided that if                                     such approval of the State’s SIP
                                                 the CSAPR Federal Implementation                                            revision.                                                         (b) * * *
                                                 Plan was promulgated as a partial rather                                      (iii) Notwithstanding any                                       (2) * * *
                                                 than full remedy for an obligation of the                                   discontinuation pursuant to paragraph                             (ii) * * *


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                                                   (C) The provisions of subpart EEEEE                                       borders of such States with regard to                           Federal CSAPR NOX Ozone Season
                                                 of part 97 of this chapter apply to                                         emissions occurring in 2023 and each                            Group 1 Trading Program. A State listed
                                                 sources in each of the following States                                     subsequent year: Alabama, Arkansas,                             in paragraph (b)(2)(i)(A) of this section
                                                 and Indian country located within the                                       Mississippi, Missouri, Oklahoma, Texas,                         may adopt and include in a SIP
                                                 borders of such States with regard to                                       and Wisconsin.                                                  revision, and the Administrator will
                                                 emissions occurring in 2017 through                                            (C) The provisions of subpart GGGGG                          approve, regulations replacing specified
                                                 2022 only, except as provided in                                            of part 97 of this chapter apply to                             provisions of subpart BBBBB of part 97
                                                 paragraph (b)(14)(iii) of this section:                                     sources in each of the following States                         of this chapter with regard to sources in
                                                 Alabama, Arkansas, Mississippi,                                             and Indian country located within the                           the State and areas of Indian country
                                                 Missouri, Oklahoma, Texas, and                                              borders of such States with regard to                           within the borders of the State subject
                                                 Wisconsin.                                                                  emissions occurring on and after August                         to the State’s SIP authority, and not
                                                   (iii) * * *                                                               4, 2023, and in each subsequent year:                           substantively replacing any other
                                                   (B) The provisions of subpart GGGGG                                       Minnesota, Nevada, and Utah.                                    provisions, as follows:
                                                 of part 97 of this chapter apply to                                         *      *    *     *    *                                        *      *    *     *    *
                                                 sources in each of the following States                                        (4) Abbreviated SIP revisions                                  (ii) * * *
                                                 and Indian country located within the                                       replacing certain provisions of the                               (B) * * *

                                                                                                                               TABLE 3 TO PARAGRAPH (b)(4)(ii)(B)
                                                 Year of the control period for which CSAPR NOX Ozone Season Group                                                         Deadline for submission of allocations or auction results
                                                                 1 allowances are allocated or auctioned                                                                                    to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *      *    *     *     *                                                     (5) Full SIP revisions adopting State                         country within the borders of the State
                                                   (iii) Provided that the State must                                        CSAPR NOX Ozone Season Group 1                                  subject to the State’s SIP authority,
                                                 submit a complete SIP revision meeting                                      Trading Programs. A State listed in                             regulations that are substantively
                                                 the requirements of paragraph (b)(4)(ii)                                    paragraph (b)(2)(i)(A) of this section                          identical to the provisions of the CSAPR
                                                 of this section by December 1 of the year                                   may adopt and include in a SIP                                  NOX Ozone Season Group 1 Trading
                                                 before the year of the deadline for                                         revision, and the Administrator will                            Program set forth in §§ 97.502 through
                                                 submission of allocations or auction                                        approve, as correcting the deficiency in                        97.535 of this chapter, except that the
                                                 results under paragraph (b)(4)(ii)(B) of                                    the SIP that is the basis for the CSAPR                         SIP revision:
                                                 this section applicable to the first                                        Federal Implementation Plan set forth in                        *      *    *     *     *
                                                 control period for which the State wants                                    paragraphs (b)(1), (b)(2)(i), and (b)(3)
                                                 to make allocations or hold an auction                                      and (4) of this section with regard to                            (ii) * * *
                                                 under paragraph (b)(4)(ii) of this section.                                 sources in the State and areas of Indian                          (B) * * *
                                                                                                                               TABLE 4 TO PARAGRAPH (b)(5)(ii)(B)
                                                  Year of the control period for which CSAPR NOX Ozone Season group                                                        Deadline for submission of allocations or auction results
                                                                 1 allowances are allocated or auctioned                                                                                    to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *     *      *     *     *                                                     (7) State-determined allocations of                          NOX Ozone Season Group 2 units and
                                                   (vii) Provided that the State must                                        CSAPR NOX Ozone Season Group 2                                  the amount of CSAPR NOX Ozone
                                                 submit a complete SIP revision meeting                                      allowances for 2018. A State listed in                          Season Group 2 allowances allocated to
                                                 the requirements of paragraphs (b)(5)(ii)                                   paragraph (b)(2)(ii) of this section may                        each unit on such list, provided that the
                                                 through (v) of this section by December                                     adopt and include in a SIP revision, and                        list of units and allocations meets the
                                                 1 of the year before the year of the                                        the Administrator will approve, as                              following requirements:
                                                 deadline for submission of allocations                                      CSAPR NOX Ozone Season Group 2
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                                                 or auction results under paragraph                                                                                                             (i) All of the units on the list must be
                                                                                                                             allowance allocation provisions
                                                 (b)(5)(ii)(B) of this section applicable to                                                                                                 units that are in the State and areas of
                                                                                                                             replacing the provisions in § 97.811(a)
                                                 the first control period for which the                                                                                                      Indian country within the borders of the
                                                                                                                             of this chapter with regard to sources in
                                                 State wants to make allocations or hold                                     the State and areas of Indian country                           State subject to the State’s SIP authority
                                                 an auction under paragraph (b)(5)(ii) of                                    within the borders of the State subject                         and that commenced commercial
                                                 this section.                                                               to the State’s SIP authority for the                            operation before January 1, 2015;
                                                 *     *      *     *     *                                                  control period in 2018, a list of CSAPR                         *      *      *    *     *


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                                                   (8) Abbreviated SIP revisions                                         within the borders of the State subject                       not exceeding the amount, under
                                                 replacing certain provisions of the                                     to the State’s SIP authority, and not                         §§ 97.810(a) and 97.821 of this chapter
                                                 Federal CSAPR NOX Ozone Season                                          substantively replacing any other                             for the State and such control period, of
                                                 Group 2 Trading Program. A State listed                                 provisions, as follows:                                       the CSAPR NOX Ozone Season Group 2
                                                 in paragraph (b)(2)(ii) of this section                                 *       *    *    *    *                                      trading budget minus the sum of the
                                                 may adopt and include in a SIP                                             (iii) * * *                                                Indian country new unit set-aside and
                                                 revision, and the Administrator will                                       (A) Requires the State or the                              the amount of any CSAPR NOX Ozone
                                                 approve, regulations replacing specified                                permitting authority to allocate and, if                      Season Group 2 allowances already
                                                 provisions of subpart EEEEE of part 97                                  applicable, auction a total amount of                         allocated and recorded by the
                                                 of this chapter with regard to sources in                               CSAPR NOX Ozone Season Group 2                                Administrator;
                                                 the State and areas of Indian country                                   allowances for any such control period                           (B) * * *
                                                                                                                           TABLE 5 TO PARAGRAPH (b)(8)(iii)(B)
                                                 Year of the control period for which CSAPR NOX Ozone Season Group                                                   Deadline for submission of allocations or auction results
                                                                 2 allowances are allocated or auctioned                                                                              to the administrator

                                                 2019 or 2020 ............................................................................................   June 1, 2018.
                                                 2021 or 2022 ............................................................................................   June 1, 2019.
                                                 2023 or 2024 ............................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................          June 1 of the year before the year of the control period.



                                                 *     *     *     *     *                                               adopt and include in a SIP revision, and                         (iii) * * *
                                                   (iv) Provided that the State must                                     the Administrator will approve, as                               (A) Requires the State or the
                                                 submit a complete SIP revision meeting                                  correcting the deficiency in the SIP that                     permitting authority to allocate and, if
                                                 the requirements of paragraph (b)(8)(iii)                               is the basis for the CSAPR Federal                            applicable, auction a total amount of
                                                 of this section by December 1 of the year                               Implementation Plan set forth in                              CSAPR NOX Ozone Season Group 2
                                                 before the year of the deadline for                                     paragraphs (b)(1), (b)(2)(ii), and (b)(7)                     allowances for any such control period
                                                 submission of allocations or auction                                    and (8) of this section with regard to                        not exceeding the amount, under
                                                 results under paragraph (b)(8)(iii)(B) of                               sources in the State and areas of Indian                      §§ 97.810(a) and 97.821 of this chapter
                                                 this section applicable to the first                                    country within the borders of the State                       for the State and such control period, of
                                                 control period for which the State wants                                subject to the State’s SIP authority,                         the CSAPR NOX Ozone Season Group 2
                                                 to make allocations or hold an auction                                  regulations that are substantively                            trading budget minus the sum of the
                                                 under paragraph (b)(8)(iii) of this                                     identical to the provisions of the CSAPR                      Indian country new unit set-aside and
                                                 section.                                                                NOX Ozone Season Group 2 Trading                              the amount of any CSAPR NOX Ozone
                                                   (9) Full SIP revisions adopting State                                 Program set forth in §§ 97.802 through                        Season Group 2 allowances already
                                                 CSAPR NOX Ozone Season Group 2                                          97.835 of this chapter, except that the                       allocated and recorded by the
                                                 Trading Programs. A State listed in                                     SIP revision:                                                 Administrator;
                                                 paragraph (b)(2)(ii) of this section may                                *     *     *      *    *                                        (B) * * *

                                                                                                                           TABLE 6 TO PARAGRAPH (b)(9)(iii)(B)
                                                 Year of the control period for which CSAPR NOX Ozone Season Group                                                   Deadline for submission of allocations or auction results
                                                                 2 allowances are allocated or auctioned                                                                              to the administrator

                                                 2019 or 2020 ............................................................................................   June 1, 2018.
                                                 2021 or 2022 ............................................................................................   June 1, 2019.
                                                 2023 or 2024 ............................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................          June 1 of the year before the year of the control period.



                                                 *     *     *     *     *                                               97.825 and may modify any portion of                             (10) State-determined allocations of
                                                   (vii) Provided that, if and when any                                  the CSAPR Federal Implementation                              CSAPR NOX Ozone Season Group 3
                                                 covered unit is located in areas of                                     Plan that is not replaced by the SIP                          allowances for 2024. A State listed in
                                                 Indian country within the borders of the                                revision to include these provisions;                         paragraph (b)(2)(iii) of this section may
                                                 State not subject to the State’s SIP                                    and                                                           adopt and include in a SIP revision, and
                                                 authority, the Administrator may                                          (viii) Provided that the State must                         the Administrator will approve, as
                                                 modify his or her approval of the SIP                                   submit a complete SIP revision meeting                        CSAPR NOX Ozone Season Group 3
                                                 revision to exclude the provisions in                                   the requirements of paragraphs (b)(9)(iii)                    allowance allocation provisions
                                                 §§ 97.802 (definitions of ‘‘common                                      through (vi) of this section by December                      replacing the provisions in
                                                 designated representative’’, ‘‘common                                   1 of the year before the year of the                          § 97.1011(a)(1) of this chapter with
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                                                 designated representative’s assurance                                   deadline for submission of allocations                        regard to sources in the State and areas
                                                 level’’, and ‘‘common designated                                        or auction results under paragraph                            of Indian country within the borders of
                                                 representative’s share’’), 97.806(c)(2),                                (b)(9)(iii)(B) of this section applicable to                  the State subject to the State’s SIP
                                                 and 97.825 of this chapter and the                                      the first control period for which the                        authority for the control period in 2024,
                                                 portions of other provisions of subpart                                 State wants to make allocations or hold                       a list of CSAPR NOX Ozone Season
                                                 EEEEE of part 97 of this chapter                                        an auction under paragraph (b)(9)(iii) of                     Group 3 units and the amount of CSAPR
                                                 referencing §§ 97.802, 97.806(c)(2), and                                this section.                                                 NOX Ozone Season Group 3 allowances


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                                                 allocated to each unit on such list,                       (D) Does not provide for any change,                the Administrator under subpart
                                                 provided that the list of units and                     after the submission deadlines in                      GGGGG of part 97 of this chapter or
                                                 allocations meets the following                         paragraph (b)(11)(iii)(B) of this section,             § 97.526(d) or § 97.826(d) or (e) of this
                                                 requirements:                                           in the allocations submitted to the                    chapter;
                                                    (i) All of the units on the list must be             Administrator by such deadlines and                    *      *     *    *      *
                                                 units that are in the State and areas of                does not provide for any change in any                    (vi) Must not include any of the
                                                 Indian country within the borders of the                allocation determined and recorded by                  requirements imposed on any unit in
                                                 State subject to the State’s SIP authority              the Administrator under subpart                        areas of Indian country within the
                                                 and that commenced commercial                           GGGGG of part 97 of this chapter or                    borders of the State not subject to the
                                                 operation before January 1, 2021;                       § 97.526(d) or § 97.826(d) or (e) of this              State’s SIP authority in the provisions in
                                                    (ii) The total amount of CSAPR NOX                   chapter; and                                           §§ 97.1002 through 97.1035 of this
                                                 Ozone Season Group 3 allowance                             (iv) Provided that the State must                   chapter and must not include the
                                                 allocations on the list must not exceed                 submit a complete SIP revision meeting                 provisions in §§ 97.1011(a)(2), 97.1012,
                                                 the amount, under § 97.1010 of this                     the requirements of paragraph                          and 97.1021(g) through (j) of this
                                                 chapter for the State and the control                   (b)(11)(iii) of this section by December               chapter, all of which provisions will
                                                 period in 2024, of the CSAPR NOX                        1 of the year before the year of the                   continue to apply under any portion of
                                                 Ozone Season Group 3 trading budget                     deadline for submission of allocations                 the CSAPR Federal Implementation
                                                 minus the sum of the Indian country                     or auction results under paragraph                     Plan that is not replaced by the SIP
                                                 existing unit set-aside and the new unit                (b)(11)(iii)(B) of this section applicable             revision;
                                                 set-aside;                                              to the first control period for which the                 (vii) Provided that, if before the
                                                 *       *     *    *     *                              State wants to make allocations or hold                Administrator’s approval of the SIP
                                                                                                         an auction under paragraph (b)(11)(iii)                revision any covered unit is located in
                                                    (v) * * *
                                                                                                         of this section.                                       areas of Indian country within the
                                                    (A) By August 4, 2023, the State must                   (12) Full SIP revisions adopting State
                                                 notify the Administrator electronically                                                                        borders of the State not subject to the
                                                                                                         CSAPR NOX Ozone Season Group 3                         State’s SIP authority before the
                                                 in a format specified by the                            Trading Programs. A State listed in
                                                 Administrator of the State’s intent to                                                                         Administrator’s approval of the SIP
                                                                                                         paragraph (b)(2)(iii) of this section may              revision, the SIP revision must exclude
                                                 submit to the Administrator a complete                  adopt and include in a SIP revision, and
                                                 SIP revision meeting the requirements                                                                          the provisions in §§ 97.1002 (definitions
                                                                                                         the Administrator will approve, as                     of ‘‘common designated representative’’,
                                                 of paragraphs (b)(10)(i) through (iv) of                correcting the deficiency in the SIP that
                                                 this section by September 1, 2023; and                                                                         ‘‘common designated representative’s
                                                                                                         is the basis for the CSAPR Federal                     assurance level’’, and ‘‘common
                                                    (B) The State must submit to the                     Implementation Plan set forth in
                                                 Administrator a complete SIP revision                                                                          designated representative’s share’’),
                                                                                                         paragraphs (b)(1), (b)(2)(iii), and (b)(10)            97.1006(c)(2), and 97.1025 of this
                                                 described in paragraph (b)(10)(v)(A) of                 and (11) of this section with regard to
                                                 this section by September 1, 2023.                                                                             chapter and the portions of other
                                                                                                         sources in the State and areas of Indian               provisions of subpart GGGGG of part 97
                                                    (11) Abbreviated SIP revisions                       country within the borders of the State                of this chapter referencing §§ 97.1002,
                                                 replacing certain provisions of the                     subject to the State’s SIP authority,                  97.1006(c)(2), and 97.1025, and further
                                                 Federal CSAPR NOX Ozone Season                          regulations that are substantively                     provided that, if and when after the
                                                 Group 3 Trading Program. A State listed                 identical to the provisions of the CSAPR               Administrator’s approval of the SIP
                                                 in paragraph (b)(2)(iii) of this section                NOX Ozone Season Group 3 Trading                       revision any covered unit is located in
                                                 may adopt and include in a SIP                          Program set forth in §§ 97.1002 through                areas of Indian country within the
                                                 revision, and the Administrator will                    97.1035 of this chapter, except that the               borders of the State not subject to the
                                                 approve, regulations replacing specified                SIP revision:                                          State’s SIP authority, the Administrator
                                                 provisions of subpart GGGGG of part 97
                                                                                                         *       *    *      *     *                            may modify his or her approval of the
                                                 of this chapter with regard to sources in                  (iii) * * *                                         SIP revision to exclude these provisions
                                                 the State and areas of Indian country                      (A) Requires the State or the                       and may modify any portion of the
                                                 within the borders of the State subject                 permitting authority to allocate and, if               CSAPR Federal Implementation Plan
                                                 to the State’s SIP authority, and not                   applicable, auction a total amount of                  that is not replaced by the SIP revision
                                                 substantively replacing any other                       CSAPR NOX Ozone Season Group 3                         to include these provisions; and
                                                 provisions, as follows:                                 allowances for any such control period                    (viii) Provided that the State must
                                                 *       *     *    *     *                              not exceeding the amount, under                        submit a complete SIP revision meeting
                                                    (iii) * * *                                          §§ 97.1010 and 97.1021 of this chapter                 the requirements of paragraphs
                                                    (A) Requires the State or the                        for the State and such control period, of              (b)(12)(iii) through (vi) of this section by
                                                 permitting authority to allocate and, if                the CSAPR NOX Ozone Season Group 3                     December 1 of the year before the year
                                                 applicable, auction a total amount of                   trading budget minus the sum of the                    of the deadline for submission of
                                                 CSAPR NOX Ozone Season Group 3                          Indian country existing unit set-aside,                allocations or auction results under
                                                 allowances for any such control period                  the new unit set-aside, and the amount                 paragraph (b)(12)(iii)(B) of this section
                                                 not exceeding the amount, under                         of any CSAPR NOX Ozone Season                          applicable to the first control period for
                                                 §§ 97.1010 and 97.1021 of this chapter                  Group 3 allowances already allocated                   which the State wants to make
                                                 for the State and such control period, of               and recorded by the Administrator;                     allocations or hold an auction under
                                                 the CSAPR NOX Ozone Season Group 3                                                                             paragraph (b)(12)(iii) of this section.
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                                                                                                         *       *    *      *     *
                                                 trading budget minus the sum of the                        (D) Does not provide for any change,                   (13) Withdrawal of CSAPR FIP
                                                 Indian country existing unit set-aside,                 after the submission deadlines in                      provisions relating to NOX ozone season
                                                 the new unit set-aside, and the amount                  paragraph (b)(12)(iii)(B) of this section,             emissions; satisfaction of NOX SIP Call
                                                 of any CSAPR NOX Ozone Season                           in the allocations submitted to the                    requirements. Following promulgation
                                                 Group 3 allowances already allocated                    Administrator by such deadlines and                    of an approval by the Administrator of
                                                 and recorded by the Administrator;                      does not provide for any change in any                 a State’s SIP revision as correcting the
                                                 *       *     *    *     *                              allocation determined and recorded by                  SIP’s deficiency that is the basis for the


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                                                 CSAPR Federal Implementation Plan set                   subject to the State’s SIP authority with              regard to sources in the State and areas
                                                 forth in paragraphs (b)(1), (b)(2)(i), and              regard to emissions occurring in any                   of Indian country within the borders of
                                                 (b)(3) and (4) of this section, paragraphs              control period, the following provisions               the State subject to the State’s SIP
                                                 (b)(1), (b)(2)(ii), and (b)(7) and (8) of this          shall continue to apply with regard to                 authority for the control period in 2019
                                                 section, or paragraphs (b)(1), (b)(2)(iii),             all CSAPR NOX Ozone Season Group 1                     or any subsequent year: New York.
                                                 and (b)(10) and (11) of this section for                allowances and CSAPR NOX Ozone                            (C) For each of the following States,
                                                 sources in the State and areas of Indian                Season Group 2 allowances at any time                  the Administrator has approved a SIP
                                                 country within the borders of the State                 allocated for any control period to any                revision under paragraph (b)(9) of this
                                                 subject to the State’s SIP authority—                   source or other entity in the State and                section as correcting the SIP’s
                                                    (i) Except as provided in paragraph                  areas of Indian country within the                     deficiency that is the basis for the
                                                 (b)(14) of this section, the provisions of              borders of the State subject to the State’s            CSAPR Federal Implementation Plan set
                                                 paragraph (b)(2)(i), (ii), or (iii) of this             SIP authority and shall apply to all                   forth in paragraphs (b)(1), (b)(2)(ii), and
                                                 section, as applicable, will no longer                  entities, wherever located, that at any                (b)(7) and (8) of this section with regard
                                                 apply to sources in the State and areas                 time held or hold such allowances:                     to sources in the State and areas of
                                                 of Indian country within the borders of                    (A) The provisions of §§ 97.526(c) and              Indian country within the borders of the
                                                 the State subject to the State’s SIP                    97.826(c) of this chapter (concerning the              State subject to the State’s SIP authority:
                                                 authority, unless the Administrator’s                   transfer of CSAPR NOX Ozone Season                     Alabama, Indiana, and Missouri.
                                                 approval of the SIP revision is partial or              Group 1 allowances and CSAPR NOX                          (ii) * * *
                                                 conditional, and will continue to apply                 Ozone Season Group 2 allowances                           (B) Notwithstanding any provision of
                                                 to sources in areas of Indian country                   between certain Allowance Management                   subpart EEEEE of part 97 of this chapter
                                                 within the borders of the State not                     System accounts under common                           or any State’s SIP, with regard to any
                                                 subject to the State’s SIP authority,                   control);                                              State listed in paragraph (b)(2)(ii)(C) of
                                                 provided that if the CSAPR Federal                         (B) The provisions of §§ 97.526(d) and              this section and any control period that
                                                 Implementation Plan was promulgated                     97.826(d) and (e) of this chapter                      begins after December 31, 2022, the
                                                 as a partial rather than full remedy for                                                                       Administrator will not carry out any of
                                                                                                         (concerning the conversion of unused
                                                                                                                                                                the functions set forth for the
                                                 an obligation of the State to address                   CSAPR NOX Ozone Season Group 1
                                                                                                                                                                Administrator in subpart EEEEE of part
                                                 interstate air pollution, the SIP revision              allowances allocated for specified
                                                                                                                                                                97 of this chapter, except §§ 97.811(e)
                                                 likewise will constitute a partial rather               control periods to different amounts of
                                                                                                                                                                and 97.826(c) and (e) of this chapter, or
                                                 than full remedy for the State’s                        CSAPR NOX Ozone Season Group 2
                                                                                                                                                                in any emissions trading program
                                                 obligation unless provided otherwise in                 allowances or CSAPR NOX Ozone
                                                                                                                                                                provisions in a State’s SIP approved
                                                 the Administrator’s approval of the SIP                 Season Group 3 allowances and the
                                                                                                                                                                under paragraph (b)(8) or (9) of this
                                                 revision; and                                           conversion of unused CSAPR NOX
                                                                                                                                                                section.
                                                 *       *    *       *    *                             Ozone Season Group 2 allowances                           (17) * * *
                                                    (14) * * *                                           allocated for specified control periods to                (i) For each of the following States,
                                                    (ii) Notwithstanding the provisions of               different amounts of CSAPR NOX Ozone                   the Administrator has approved a SIP
                                                 paragraph (b)(13)(i) of this section, if, at            Season Group 3 allowances); and                        revision under paragraph (b)(10) of this
                                                 the time of any approval of a State’s SIP                  (C) The provisions of § 97.811(d) and               section as replacing the CSAPR NOX
                                                 revision under this section, the                        (e) of this chapter (concerning the recall             Ozone Season Group 3 allowance
                                                 Administrator has already started                       of CSAPR NOX Ozone Season Group 2                      allocation provisions in § 97.1011(a)(1)
                                                 recording any allocations of CSAPR                      allowances equivalent in quantity and                  of this chapter with regard to sources in
                                                 NOX Ozone Season Group 1 allowances                     usability to all CSAPR NOX Ozone                       the State and areas of Indian country
                                                 under subpart BBBBB of part 97 of this                  Season Group 2 allowances allocated for                within the borders of the State subject
                                                 chapter, or allocations of CSAPR NOX                    specified control periods and recorded                 to the State’s SIP authority for the
                                                 Ozone Season Group 2 allowances                         in specified Allowance Management                      control period in 2024: [none].
                                                 under subpart EEEEE of part 97 of this                  System accounts).                                         (ii) For each of the following States,
                                                 chapter, or allocations of CSAPR NOX                       (15) * * *                                          the Administrator has approved a SIP
                                                 Ozone Season Group 3 allowances                            (ii) For each of the following States,              revision under paragraph (b)(11) of this
                                                 under subpart GGGGG of part 97 of this                  the Administrator has approved a SIP                   section as replacing the CSAPR NOX
                                                 chapter, to units in the State and areas                revision under paragraph (b)(4) of this                Ozone Season Group 3 allowance
                                                 of Indian country within the borders of                 section as replacing the CSAPR NOX                     allocation provisions in § 97.1011(a)(1)
                                                 the State subject to the State’s SIP                    Ozone Season Group 1 allowance                         of this chapter with regard to sources in
                                                 authority for a control period in any                   allocation provisions in §§ 97.511(a) and              the State and areas of Indian country
                                                 year, the provisions of such subpart                    (b)(1) and 97.512(a) of this chapter with              within the borders of the State subject
                                                 authorizing the Administrator to                        regard to sources in the State and areas               to the State’s SIP authority for the
                                                 complete the allocation and recordation                 of Indian country within the borders of                control period in 2025 or any
                                                 of such allowances to such units for                    the State subject to the State’s SIP                   subsequent year: [none].
                                                 each such control period shall continue                 authority for the control period in 2017                  (iii) For each of the following States,
                                                 to apply, unless provided otherwise by                  or any subsequent year: [none].                        the Administrator has approved a SIP
                                                 such approval of the State’s SIP                        *       *    *     *     *                             revision under paragraph (b)(12) of this
                                                 revision.                                                  (16) * * *                                          section as correcting the SIP’s
                                                    (iii) Notwithstanding any                               (i) * * *                                           deficiency that is the basis for the
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                                                 discontinuation pursuant to paragraph                      (B) For each of the following States,               CSAPR Federal Implementation Plan set
                                                 (b)(2)(i)(B), (b)(2)(ii)(B) or (C), or                  the Administrator has approved a SIP                   forth in paragraphs (b)(1), (b)(2)(iii), and
                                                 (b)(13)(i) of this section of the                       revision under paragraph (b)(8) of this                (b)(10) and (11) of this section with
                                                 applicability of subpart BBBBB or                       section as replacing the CSAPR NOX                     regard to sources in the State and areas
                                                 EEEEE of part 97 of this chapter to the                 Ozone Season Group 2 allowance                         of Indian country within the borders of
                                                 sources in a State and areas of Indian                  allocation provisions in §§ 97.811(a) and              the State subject to the State’s SIP
                                                 country within the borders of the State                 (b)(1) and 97.812(a) of this chapter with              authority: [none].


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                                                 ■ 3. Amend § 52.39 by:                                                      borders of the State not subject to the                         ■ t. In paragraph (i)(5), removing
                                                 ■ a. In paragraph (a), removing ‘‘(SO2),                                    State’s SIP authority, the’’;                                   ‘‘Indian country within the borders of
                                                 except’’ and adding in its place ‘‘(SO2)                                    ■ k. In paragraph (f)(6), removing                              the State, the’’ and adding in its place
                                                 for sources meeting the applicability                                       ‘‘deadlines for submission of allocations                       ‘‘areas of Indian country within the
                                                 criteria set forth in subparts CCCCC and                                    or auction results under paragraphs                             borders of the State not subject to the
                                                 DDDDD, except’’;                                                            (f)(1)(ii) and (iii)’’ and adding in its                        State’s SIP authority, the’’;
                                                 ■ b. In paragraph (d) introductory text,                                    place ‘‘deadline for submission of                              ■ u. In paragraph (i)(6), removing
                                                 removing ‘‘the State and’’ and adding in                                    allocations or auction results under                            ‘‘deadlines for submission of allocations
                                                 its place ‘‘sources in the State and areas                                  paragraph (f)(1)(ii)’’;                                         or auction results under paragraphs
                                                 of Indian country within the borders of                                     ■ l. In paragraph (g) introductory text:
                                                                                                                                                                                             (i)(1)(ii) and (iii)’’ and adding in its
                                                 the State subject to the State’s SIP                                        ■ i. Removing ‘‘(c)(1) or (2)’’ and adding
                                                                                                                                                                                             place ‘‘deadline for submission of
                                                 authority for’’;                                                            in its place ‘‘(c)’’; and                                       allocations or auction results under
                                                 ■ c. In paragraph (d)(1), removing ‘‘State                                  ■ ii. Removing ‘‘the State and’’ and
                                                                                                                                                                                             paragraph (i)(1)(ii)’’;
                                                 and’’ and adding in its place ‘‘State and                                   adding in its place ‘‘sources in the State
                                                                                                                             and areas of Indian country within the                          ■ v. Revising paragraphs (j) and (k)(2);
                                                 areas of Indian country within the                                                                                                          ■ w. Adding paragraph (k)(3);
                                                 borders of the State subject to the State’s                                 borders of the State subject to the State’s
                                                                                                                             SIP authority for’’;                                            ■ x. In paragraphs (l)(1) and (2),
                                                 SIP authority and that’’;
                                                                                                                             ■ m. In paragraph (g)(1), removing                              removing ‘‘the State and’’ and adding in
                                                 ■ d. In paragraph (e) introductory text,
                                                 removing ‘‘for the State’s sources, and’’                                   ‘‘State and’’ and adding in its place                           its place ‘‘sources in the State and areas
                                                                                                                             ‘‘State and areas of Indian country                             of Indian country within the borders of
                                                 and adding in its place ‘‘with regard to
                                                                                                                             within the borders of the State subject                         the State subject to the State’s SIP
                                                 sources in the State and areas of Indian
                                                                                                                             to the State’s SIP authority and that’’;                        authority for’’;
                                                 country within the borders of the State                                     ■ n. In paragraph (h) introductory text,
                                                 subject to the State’s SIP authority,                                                                                                       ■ y. In paragraph (l)(3), removing ‘‘State
                                                                                                                             removing ‘‘for the State’s sources, and’’                       (but not sources in any Indian country
                                                 and’’;                                                                      and adding in its place ‘‘with regard to
                                                 ■ e. Revising table 1 to paragraph                                                                                                          within the borders of the State):’’ and
                                                                                                                             sources in the State and areas of Indian                        adding in its place ‘‘State and areas of
                                                 (e)(1)(ii);                                                                 country within the borders of the State
                                                 ■ f. In paragraph (e)(2), removing                                                                                                          Indian country within the borders of the
                                                                                                                             subject to the State’s SIP authority,                           State subject to the State’s SIP
                                                 ‘‘deadlines for submission of allocations                                   and’’;
                                                 or auction results under paragraphs                                                                                                         authority:’’.
                                                                                                                             ■ o. Revising table 3 to paragraph
                                                 (e)(1)(ii) and (iii)’’ and adding in its                                                                                                    ■ z. In paragraphs (m)(1) and (2),
                                                                                                                             (h)(1)(ii);
                                                 place ‘‘deadline for submission of                                          ■ p. In paragraph (h)(2), removing
                                                                                                                                                                                             removing ‘‘the State and’’ and adding in
                                                 allocations or auction results under                                        ‘‘deadlines for submission of allocations                       its place ‘‘sources in the State and areas
                                                 paragraph (e)(1)(ii)’’;                                                     or auction results under paragraphs                             of Indian country within the borders of
                                                 ■ g. In paragraph (f) introductory text,                                    (h)(1)(ii) and (iii)’’ and adding in its                        the State subject to the State’s SIP
                                                 removing ‘‘State (but not sources in any                                    place ‘‘deadline for submission of                              authority for’’; and
                                                 Indian country within the borders of the                                    allocations or auction results under                            ■ aa. In paragraph (m)(3), removing
                                                 State), regulations’’ and adding in its                                     paragraph (h)(1)(ii)’’;                                         ‘‘State (but not sources in any Indian
                                                 place ‘‘State and areas of Indian country                                   ■ q. In paragraph (i) introductory text,                        country within the borders of the
                                                 within the borders of the State subject                                     removing ‘‘State (but not sources in any                        State):’’ and adding in its place ‘‘State
                                                 to the State’s SIP authority,                                               Indian country within the borders of the                        and areas of Indian country within the
                                                 regulations’’;                                                              State), regulations’’ and adding in its                         borders of the State subject to the State’s
                                                 ■ h. Revising table 2 to paragraph                                          place ‘‘State and areas of Indian country                       SIP authority:’’.
                                                 (f)(1)(ii);                                                                 within the borders of the State subject                            The revisions and addition read as
                                                 ■ i. In paragraph (f)(4), removing                                          to the State’s SIP authority,                                   follows:
                                                 ‘‘Indian country within the borders of                                      regulations’’;
                                                 the State’’ and adding in its place ‘‘areas                                 ■ r. Revising table 4 to paragraph                              § 52.39 What are the requirements of the
                                                 of Indian country within the borders of                                                                                                     Federal Implementation Plans (FIPs) for the
                                                                                                                             (i)(1)(ii);
                                                                                                                                                                                             Cross-State Air Pollution Rule (CSAPR)
                                                 the State not subject to the State’s SIP                                    ■ s. In paragraph (i)(4), removing
                                                                                                                                                                                             relating to emissions of sulfur dioxide?
                                                 authority’’;                                                                ‘‘Indian country within the borders of
                                                 ■ j. In paragraph (f)(5), removing                                          the State’’ and adding in its place ‘‘areas                     *        *   *    *      *
                                                 ‘‘Indian country within the borders of                                      of Indian country within the borders of                             (e) * * *
                                                 the State, the’’ and adding in its place                                    the State not subject to the State’s SIP                            (1) * * *
                                                 ‘‘areas of Indian country within the                                        authority’’;                                                        (ii) * * *

                                                                                                                                  TABLE 1 TO PARAGRAPH (e)(1)(ii)
                                                   Year of the control period for which CSAPR SO2 group 1 allowances                                                       Deadline for submission of allocations or auction results
                                                                         are allocated or auctioned                                                                                         to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
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                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.




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                                                 *        *     *             *         *                                        (ii) * * *
                                                      (f) * * *
                                                      (1) * * *

                                                                                                                                   TABLE 2 TO PARAGRAPH (f)(1)(ii)
                                                     Year of the control period for which CSAPR SO2 group 1 allowances                                                     Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *        *    *              *         *                                        (ii) * * *
                                                      (h) * * *
                                                      (1) * * *

                                                                                                                                  TABLE 3 TO PARAGRAPH (h)(1)(ii)
                                                     Year of the control period for which CSAPR SO2 group 2 allowances                                                     Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *        *     *             *         *                                        (ii) * * *
                                                      (i) * * *
                                                      (1) * * *

                                                                                                                                   TABLE 4 TO PARAGRAPH (i)(1)(ii)
                                                     Year of the control period for which CSAPR SO2 group 2 allowances                                                     Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *      *    *      *     *                                                  unless the Administrator’s approval of                          Administrator has already started
                                                    (j) Withdrawal of CSAPR FIP                                              the SIP revision is partial or conditional,                     recording any allocations of CSAPR SO2
                                                 provisions relating to SO2 emissions.                                       and will continue to apply to sources in                        Group 1 allowances under subpart
                                                 Except as provided in paragraph (k) of                                      areas of Indian country within the                              CCCCC of part 97 of this chapter, or
                                                 this section, following promulgation of                                     borders of the State not subject to the                         allocations of CSAPR SO2 Group 2
                                                 an approval by the Administrator of a                                       State’s SIP authority, provided that if                         allowances under subpart DDDDD of
                                                 State’s SIP revision as correcting the                                      the CSAPR Federal Implementation                                part 97 of this chapter, to units in the
                                                 SIP’s deficiency that is the basis for the                                  Plan was promulgated as a partial rather                        State and areas of Indian country within
                                                 CSAPR Federal Implementation Plan set                                       than full remedy for an obligation of the                       the borders of the State subject to the
                                                 forth in paragraphs (a), (b), (d), and (e)                                  State to address interstate air pollution,                      State’s SIP authority for a control period
                                                 of this section or paragraphs (a), (c)(1),                                  the SIP revision likewise will constitute                       in any year, the provisions of such
                                                 (g), and (h) of this section for sources in                                 a partial rather than full remedy for the                       subpart authorizing the Administrator to
                                                 the State and Indian country within the                                     State’s obligation unless provided                              complete the allocation and recordation
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                                                 borders of the State subject to the State’s                                 otherwise in the Administrator’s                                of such allowances to such units for
                                                 SIP authority, the provisions of                                            approval of the SIP revision.                                   each such control period shall continue
                                                 paragraph (b) or (c)(1) of this section, as                                   (k) * * *                                                     to apply, unless provided otherwise by
                                                 applicable, will no longer apply to                                           (2) Notwithstanding the provisions of                         such approval of the State’s SIP
                                                 sources in the State and areas of Indian                                    paragraph (j) of this section, if, at the                       revision.
                                                 country within the borders of the State                                     time of any approval of a State’s SIP                              (3) Notwithstanding any
                                                 subject to the State’s SIP authority,                                       revision under this section, the                                discontinuation pursuant to paragraph


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                                                 (c)(2) or (j) of this section of the                          nitrogen oxides from Municipal Waste             average of all the hourly averages of the
                                                 applicability of subpart CCCCC or                             Combustors?                                      specific operating parameter. For
                                                 DDDDD of part 97 of this chapter to the                 *      *      *       *      *                         demonstration of compliance with an
                                                 sources in a State and areas of Indian                                                                         emissions limit based on pollutant
                                                 country within the borders of the State                 § 52.40 What are the requirements of the               concentration, a 30-day rolling average
                                                                                                         Federal Implementation Plans (FIPs)
                                                 subject to the State’s SIP authority with                                                                      is comprised of the average of all the
                                                                                                         relating to ozone season emissions of
                                                 regard to emissions occurring in any                    nitrogen oxides from sources not subject to            hourly average concentrations over the
                                                 control period, the following provisions                the CSAPR ozone season trading program?                previous 30 operating days. For
                                                 shall continue to apply with regard to                                                                         demonstration of compliance with an
                                                                                                            (a) Purpose. This section establishes
                                                 all CSAPR SO2 Group 1 allowances and                                                                           emissions limit based on lbs-pollutant
                                                                                                         Federal Implementation Plan
                                                 CSAPR SO2 Group 2 allowances at any                                                                            per production unit, the 30-day rolling
                                                                                                         requirements for new and existing units
                                                 time allocated for any control period to                                                                       average is calculated by summing the
                                                                                                         in the industries specified in paragraph
                                                 any source or other entity in the State                                                                        hourly mass emissions over the
                                                                                                         (b) of this section to eliminate
                                                 and areas of Indian country within the                                                                         previous 30 operating days, then
                                                                                                         significant contribution to
                                                 borders of the State subject to the State’s                                                                    dividing that sum by the total
                                                                                                         nonattainment, or interference with
                                                 SIP authority and shall apply to all                                                                           production during the same period.
                                                                                                         maintenance, of the 2015 8-hour ozone                     (c) General requirements. (1) The NOX
                                                 entities, wherever located, that at any                 National Ambient Air Quality Standards
                                                 time held or hold such allowances:                                                                             emissions limitations or emissions
                                                                                                         in other states pursuant to 42 U.S.C.                  control requirements and associated
                                                    (i) The provisions of §§ 97.626(c) and               7410(a)(2)(D)(i)(I).
                                                 97.726(c) of this chapter (concerning the                                                                      compliance requirements for the
                                                                                                            (b) Definitions. The terms used in this             following listed source categories not
                                                 transfer of CSAPR SO2 Group 1                           section and §§ 52.41 through § 52.46 are
                                                 allowances and CSAPR SO2 Group 2                                                                               subject to the CSAPR ozone season
                                                                                                         defined as follows:                                    trading program constitute the Federal
                                                 allowances between certain Allowance                       Calendar year means the period
                                                 Management System accounts under                                                                               Implementation Plan provisions that
                                                                                                         between January 1 and December 31,                     relate to emissions of NOX during the
                                                 common control).                                        inclusive, for a given year.                           ozone season (defined as May 1 through
                                                    (ii) [Reserved]                                         Existing affected unit means any                    September 30 of a calendar year):
                                                 *       *     *     *     *                             affected unit for which construction                   §§ 52.41 for engines in the Pipeline
                                                 ■ 4. Add §§ 52.40 through 52.46 to
                                                                                                         commenced before August 4, 2023.                       Transportation of Natural Gas Industry,
                                                 subpart A to read as follows:                              New affected unit means any affected                52.42 for kilns in the Cement and
                                                                                                         unit for which construction commenced                  Concrete Product Manufacturing
                                                 Sec.                                                    on or after August 4, 2023.                            Industry, 52.43 for reheat furnaces in
                                                 *      *     *       *      *                              Operator means any person who                       the Iron and Steel Mills and Ferroalloy
                                                 52.40 What are the requirements of the                  operates, controls, or supervises an
                                                     Federal Implementation Plans (FIPs)                                                                        Manufacturing Industry, 52.44 for
                                                                                                         affected unit and shall include, but not               furnaces in the Glass and Glass Product
                                                     relating to ozone season emissions of               be limited to, any holding company,
                                                     nitrogen oxides from sources not subject                                                                   Manufacturing Industry, 52.45 for
                                                     to the CSAPR ozone season trading
                                                                                                         utility system, or plant manager of such               boilers in the Iron and Steel Mills and
                                                     program?                                            affected unit.                                         Ferroalloy Manufacturing, Metal Ore
                                                 52.41 What are the requirements of the                     Owner means any holder of any                       Mining, Basic Chemical Manufacturing,
                                                     Federal Implementation Plans (FIPs)                 portion of the legal or equitable title in             Petroleum and Coal Products
                                                     relating to ozone season emissions of               an affected unit.                                      Manufacturing, and Pulp, Paper, and
                                                     nitrogen oxides from the Pipeline                      Potential to emit means the maximum                 Paperboard Mills industries, and 52.46
                                                     Transportation of Natural Gas Industry?             capacity of a unit to emit a pollutant                 for Municipal Waste Combustors.
                                                 52.42 What are the requirements of the                  under its physical and operational                        (2) The provisions of this section or
                                                     Federal Implementation Plans (FIPs)                 design. Any physical or operational
                                                     relating to ozone season emissions of                                                                      § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,
                                                                                                         limitation on the capacity of the unit to              or § 52.46 apply to affected units located
                                                     nitrogen oxides from the Cement and
                                                     Concrete Product Manufacturing                      emit a pollutant, including air pollution              in each of the following States,
                                                     Industry?                                           control equipment and restrictions on                  including Indian country located within
                                                 52.43 What are the requirements of the                  hours of operation or on the type or                   the borders of such States, beginning in
                                                     Federal Implementation Plans (FIPs)                 amount of material combusted, stored,                  the 2026 ozone season and in each
                                                     relating to ozone season emissions of               or processed, shall be treated as part of              subsequent ozone season: Arkansas,
                                                     nitrogen oxides from the Iron and Steel             its design only if the limitation or the               California, Illinois, Indiana, Kentucky,
                                                     Mills and Ferroalloy Manufacturing                  effect it would have on emissions is                   Louisiana, Maryland, Michigan,
                                                     Industry?                                           federally enforceable. Secondary                       Mississippi, Missouri, Nevada, New
                                                 52.44 What are the requirements of the
                                                                                                         emissions do not count in determining                  Jersey, New York, Ohio, Oklahoma,
                                                     Federal Implementation Plans (FIPs)
                                                     relating to ozone season emissions of               the potential to emit of a unit.                       Pennsylvania, Texas, Utah, Virginia,
                                                     nitrogen oxides from the Glass and Glass               Rolling average means the weighted                  and West Virginia.
                                                     Product Manufacturing Industry?                     average of all data, meeting quality                      (3) The testing, monitoring,
                                                 52.45 What are the requirements of the                  assurance and quality control (QA/QC)                  recordkeeping, and reporting
                                                     Federal Implementation Plans (FIPs)                 requirements in this part or otherwise                 requirements of this section or § 52.41,
                                                     relating to ozone season emissions of               normalized, collected during the                       § 52.42, § 52.43, § 52.44, § 52.45, or
                                                     nitrogen oxides from the Basic Chemical             applicable averaging period. The period                § 52.46 only apply during the ozone
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                                                     Manufacturing, Petroleum and Coal                   of a rolling average stipulates the                    season, except as otherwise specified in
                                                     Products Manufacturing, the Pulp, Paper,            frequency of data averaging and                        these sections. Additionally, if an owner
                                                     and Paperboard Mills Industries, Metal
                                                     Ore Mining, and the Iron and Steel and
                                                                                                         reporting. To demonstrate compliance                   or operator of an affected unit chooses
                                                     Ferroalloy Manufacturing Industries?                with an operating parameter a 30-day                   to conduct a performance or compliance
                                                 52.46 What are the requirements of the                  rolling average period requires                        test outside of the ozone season, all
                                                     Federal Implementation Plans (FIPs)                 calculation of a new average value each                recordkeeping, reporting, and
                                                     relating to ozone season emissions of               operating day and shall include the                    notification requirements associated


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                                                 with that test shall apply, without                     specify a proposed compliance date no                  be provided by notification via the
                                                 regard to whether they occur during the                 later than May 1, 2029, and identify                   CEDRI or analogous electronic
                                                 ozone season.                                           additional actions taken by the owner or               submission system provided by the EPA
                                                    (d) Requests for extension of                        operator to ensure that the affected                   and publicly available, and will identify
                                                 compliance. (1) The owner or operator                   unit(s) will be in compliance with the                 each affected unit covered by the
                                                 of an existing affected unit under                      applicable requirements in this section                extension; specify the termination date
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,            by that proposed compliance date;                      of the extension; and specify any
                                                 or § 52.46 that cannot comply with the                     (vi) Include all information obtained               additional conditions that the
                                                 applicable requirements in those                        from control technology vendors                        Administrator deems necessary to
                                                 sections by May 1, 2026, due to                         demonstrating that the identified                      ensure timely installation of the
                                                 circumstances entirely beyond the                       controls cannot be installed by the                    necessary controls (e.g., the date(s) by
                                                 owner or operator’s control, may request                applicable compliance date;                            which on-site construction, installation
                                                 an initial compliance extension to a date                  (vii) Include any and all contract(s)               of control equipment, and/or process
                                                 certain no later than May 1, 2027. The                  entered into for the installation of the               changes will be initiated).
                                                 extension request must contain a                        identified controls or an explanation as                  (7) The Administrator will provide
                                                 demonstration of necessity consistent                   to why no contract is necessary or                     notification via the CEDRI or analogous
                                                 with the requirements of paragraph                      obtainable; and                                        electronic submission system provided
                                                 (d)(3) of this section.                                    (viii) Include any permit(s) obtained               by the EPA to the owner or operator of
                                                    (2) If, after the EPA has granted a                  for the installation of the identified                 an affected unit who has requested a
                                                 request for an initial compliance                       controls or, where a required permit has               compliance extension under this
                                                 extension, the source remains unable to                 not yet been issued, a copy of the permit              paragraph (d)(7) whether the submitted
                                                 comply with the applicable                              application submitted to the permitting                request is complete, that is, whether the
                                                 requirements in § 52.41, § 52.42, § 52.43,              authority and a statement from the                     request contains sufficient information
                                                 § 52.44, § 52.45, or § 52.46 by the                     permitting authority identifying its                   to make a determination, within 60
                                                 extended compliance date due to                         anticipated timeframe for issuance of                  calendar days after receipt of the
                                                 circumstances entirely beyond the                       such permit(s).                                        original request and within 60 calendar
                                                 owner or operator’s control, the owner                     (4) Each request for a compliance                   days after receipt of any supplementary
                                                 or operator may apply for a second                      extension shall be submitted via the                   information.
                                                 compliance extension to a date certain                  Compliance and Emissions Data                             (8) The Administrator will provide
                                                 no later than May 1, 2029. The                          Reporting Interface (CEDRI) or                         notification via the CEDRI or analogous
                                                 extension request must contain an                       analogous electronic submission system                 electronic submission system provided
                                                 updated demonstration of necessity                      provided by the EPA no later than 180                  by the EPA, which shall be publicly
                                                 consistent with the requirements of                     days prior to the applicable compliance                available, to the owner or operator of a
                                                 paragraph (d)(3) of this section.                       date. Until an extension has been                      decision to grant or intention to deny a
                                                    (3) Each request for a compliance                    granted by the Administrator under this                request for a compliance extension
                                                 extension shall demonstrate that the                    section, the owner or operator of an                   within 60 calendar days after providing
                                                 owner or operator has taken all steps                   affected unit shall comply with all                    written notification pursuant to
                                                 possible to install the controls necessary              applicable requirements of this section                paragraph (d)(7) of this section that the
                                                 for compliance with the applicable                      and shall remain subject to the May 1,                 submitted request is complete.
                                                 requirements in § 52.41, § 52.42, § 52.43,              2026 compliance date or the initial                       (9) Before denying any request for an
                                                 § 52.44, § 52.45, or § 52.46 by the                     extended compliance date, as                           extension of compliance, the
                                                 applicable compliance date and shall:                   applicable. A denial will be effective as              Administrator will provide notification
                                                    (i) Identify each affected unit for                  of the date of denial.                                 via the CEDRI or analogous electronic
                                                 which the owner or operator is seeking                     (5) The owner or operator of an                     submission system provided by the EPA
                                                 the compliance extension;                               affected unit who has requested a                      to the owner or operator in writing of
                                                    (ii) Identify and describe the controls              compliance extension under this                        the Administrator’s intention to issue
                                                 to be installed at each affected unit to                paragraph (d)(5) and is required to have               the denial, together with:
                                                 comply with the applicable                              a title V permit shall apply to have the                  (i) Notice of the information and
                                                 requirements in § 52.41, § 52.42, § 52.43,              relevant title V permit revised to                     findings on which the intended denial
                                                 § 52.44, § 52.45, or § 52.46;                           incorporate the conditions of the                      is based; and
                                                    (iii) Identify the circumstances                     extension of compliance. The                              (ii) Notice of opportunity for the
                                                 entirely beyond the owner or operator’s                 conditions of a compliance extension                   owner or operator to present via the
                                                 control that necessitate additional time                granted under this paragraph (d)(5) will               CEDRI or analogous electronic
                                                 to install the identified controls;                     be incorporated into the affected unit’s               submission system provided by the
                                                    (iv) Identify the date(s) by which on-               title V permit according to the                        EPA, within 15 calendar days after he/
                                                 site construction, installation of control              provisions of an EPA-approved state                    she is notified of the intended denial,
                                                 equipment, and/or process changes will                  operating permit program or the Federal                additional information or arguments to
                                                 be initiated;                                           title V regulations in 40 CFR part 71,                 the Administrator before further action
                                                    (v) Identify the owner or operator’s                 whichever apply.                                       on the request.
                                                 proposed compliance date. A request for                    (6) Based on the information provided                  (10) The Administrator’s final
                                                 an initial compliance extension under                   in any request made under paragraph                    decision to deny any request for an
                                                 paragraph (d)(1) of this section must                   (d) of this section or other information,              extension will be provided via the
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                                                 specify a proposed compliance date no                   the Administrator may grant an                         CEDRI or analogous electronic
                                                 later than May 1, 2027, and state                       extension of time to comply with                       submission system provided by the EPA
                                                 whether the owner or operator                           applicable requirements in § 52.41,                    and publicly available, and will set forth
                                                 anticipates a need to request a second                  § 52.42, § 52.43, § 52.44, § 52.45, or                 the specific grounds on which the
                                                 compliance extension. A request for a                   § 52.46 consistent with the provisions of              denial is based. The final decision will
                                                 second compliance extension under                       paragraph (d)(1) or (2) of this section.               be made within 60 calendar days after
                                                 paragraph (d)(2) of this section must                   The decision to grant an extension will                presentation of additional information


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                                                 or argument (if the request is complete),               emissions limit even with available                    applicable emissions limit in § 52.41,
                                                 or within 60 calendar days after the                    control technology, including:                         § 52.42, § 52.43, § 52.44, § 52.45, or
                                                 deadline for the submission of                             (i) Stack test data or other emissions              § 52.46. The decision to approve a case-
                                                 additional information or argument                      data for the affected unit; or                         by-case emissions limit will be provided
                                                 under paragraph (d)(9)(ii) of this                         (ii) A third-party engineering                      via the CEDRI or analogous electronic
                                                 section, if no such submission is made.                 assessment demonstrating that the                      submission system provided by the EPA
                                                    (11) The granting of an extension                    affected unit cannot meet the applicable               in paragraph (d) of this section and
                                                 under this section shall not abrogate the               emissions limit with available control                 publicly available, and will identify
                                                 Administrator’s authority under section                 technology.                                            each affected unit covered by the case-
                                                 114 of the Clean Air Act (CAA or the                       (B) A demonstration of extreme                      by-case emissions limit.
                                                 Act).                                                   economic hardship shall include at least                  (5) The Administrator will provide
                                                    (e) Requests for case-by-case                        three vendor estimates of the costs of                 notification via the CEDRI or analogous
                                                 emissions limits. (1) The owner or                      installing control technology necessary                electronic submission system provided
                                                 operator of an existing affected unit                   to meet the applicable emissions limit                 by the EPA in paragraph (d) of this
                                                 under § 52.41, § 52.42, § 52.43, § 52.44,               and other information that                             section to the owner or operator of an
                                                 § 52.45, or § 52.46 that cannot comply                  demonstrates, to the satisfaction of the               affected unit who has requested a case-
                                                 with the applicable requirements in                     Administrator, that the cost of                        by-case emissions limit under this
                                                 those sections due to technical                         complying with the applicable                          paragraph (e)(5) whether the submitted
                                                 impossibility or extreme economic                       emissions limit would present an                       request is complete, that is, whether the
                                                 hardship may submit to the                              extreme economic hardship relative to                  request contains sufficient information
                                                 Administrator, by August 5, 2024, a                     the costs borne by other comparable                    to make a determination, within 60
                                                 request for approval of a case-by-case                  sources in the industry.                               calendar days after receipt of the
                                                 emissions limit. The request shall                         (ii) An analysis of available control               original request and within 60 calendar
                                                 contain information sufficient for the                  technology options and a proposed case-                days after receipt of any supplementary
                                                 Administrator to confirm that the                       by-case emissions limit that represents                information.
                                                 affected unit is unable to comply with                  the lowest emissions limitation                           (6) The Administrator will provide
                                                 the applicable emissions limit, due to                  technically achievable by the affected                 notification via the CEDRI or analogous
                                                 technical impossibility or extreme                      unit without causing extreme economic                  electronic submission system described
                                                 economic hardship, and to establish an                  hardship relative to the costs borne by                by the EPA in paragraph (d) of this
                                                 appropriate alternative case-by-case                    other comparable sources in the                        section, which shall be publicly
                                                 emissions limit for the affected unit.                  industry. The owner or operator may                    available, to the owner or operator of a
                                                 Until a case-by-case emissions limit has                propose additional measures to reduce                  decision to approve or intention to deny
                                                 been approved by the Administrator                      NOX emissions, such as operational                     the request within 60 calendar days
                                                 under this section, the owner or                        standards or work practice standards.                  after providing notification pursuant to
                                                 operator shall remain subject to all                       (iii) Calculations of the NOX                       paragraph (e)(5) of this section that the
                                                 applicable requirements in § 52.41,                     emissions reduction to be achieved                     submitted request is complete.
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  through implementation of the proposed                    (7) Before denying any request for a
                                                 § 52.46. A denial will be effective as of               case-by-case emissions limit and any                   case-by-case emissions limit, the
                                                 the date of denial.                                     additional proposed measures, the                      Administrator will provide notification
                                                    (2) Each request for a case-by-case                  difference between this NOX emissions                  via the CEDRI or analogous electronic
                                                 emissions limit shall include, but not be               reduction level and the NOX emissions                  submission system provided by the EPA
                                                 limited to, the following:                              reductions that would have occurred if                 to the owner or operator in writing of
                                                    (i) A demonstration that the affected                the affected unit complied with the                    the Administrator’s intention to issue
                                                 unit cannot achieve the applicable                      applicable emissions limitations in                    the denial, together with:
                                                 emissions limit with available control                  § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,              (i) Notice of the information and
                                                 technology due to technical                             or § 52.46, and a description of the                   findings on which the intended denial
                                                 impossibility or extreme economic                       methodology used for these                             is based; and
                                                 hardship.                                               calculations.                                             (ii) Notice of opportunity for the
                                                    (A) A demonstration of technical                        (3) The owner or operator of an                     owner or operator to present via the
                                                 impossibility shall include:                            affected unit who has requested a case-                CEDRI or analogous electronic
                                                    (1) Uncontrolled NOX emissions for                   by-case emissions limit under this                     submission system provided by the
                                                 the affected unit established with a                    paragraph (e)(3) and is required to have               EPA, within 15 calendar days after he/
                                                 CEMS, or stack tests obtained during                    a title V permit shall apply to have the               she is notified of the intended denial,
                                                 steady state operation in accordance                    relevant title V permit revised to                     additional information or arguments to
                                                 with the applicable reference test                      incorporate the case-by-case emissions                 the Administrator before further action
                                                 methods of 40 CFR part 60, appendix                     limit. Any case-by-case emissions limit                on the request.
                                                 A–4, any alternative test method                        approved under this paragraph (e)(3)                      (8) The Administrator’s final decision
                                                 approved by the EPA as of June 5, 2023,                 will be incorporated into the affected                 to deny any request for a case-by-case
                                                 under 40 CFR 59.104(f), 60.8(b)(3),                     unit’s title V permit according to the                 emissions limit will be provided by
                                                 61.13(h)(1)(ii), 63.7(e)(2)(ii)(2), or                  provisions of an EPA-approved state                    notification via the CEDRI or analogous
                                                 65.158(a)(2) and available at the EPA’s                 operating permit program or the Federal                electronic submission system provided
                                                                                                                                                                by the EPAand publicly available, and
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                                                 website (https://www.epa.gov/emc/                       title V regulations in 40 CFR part 71,
                                                 broadly-applicable-approved-                            whichever apply.                                       will set forth the specific grounds on
                                                 alternative-test-methods), or other                        (4) Based on the information provided               which the denial is based. The final
                                                 methods and procedures approved by                      in any request made under this                         decision will be made within 60
                                                 the EPA through notice-and-comment                      paragraph (e)(4) or other information,                 calendar days after presentation of
                                                 rulemaking; and                                         the Administrator may approve a case-                  additional information or argument (if
                                                    (2) A demonstration that the affected                by-case emissions limit that will apply                the request is complete), or within 60
                                                 unit cannot meet the applicable                         to an affected unit in lieu of the                     calendar days after the deadline for the


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                                                 submission of additional information or                    (ii) Data collected using test methods                 (F) All CBI claims must be asserted at
                                                 argument under paragraph (e)(7)(ii) of                  that are not supported by the EPA’s ERT                the time of submission. Anything
                                                 this section, if no such submission is                  as listed on the EPA’s ERT website at                  submitted using CEDRI cannot later be
                                                 made.                                                   the time of the test. The results of the               claimed CBI. Furthermore, under CAA
                                                    (9) The approval of a case-by-case                   performance test must be included as an                section 114(c), emissions data is not
                                                 emissions limit under this section shall                attachment in the ERT or an alternate                  entitled to confidential treatment, and
                                                 not abrogate the Administrator’s                        electronic file consistent with the XML                the EPA is required to make emissions
                                                 authority under section 114 of the Act.                 schema listed on the EPA’s ERT                         data available to the public. Thus,
                                                    (f) Recordkeeping requirements. (1)                  website. Submit the ERT generated                      emissions data will not be protected as
                                                 The owner or operator of an affected                    package or alternative file to the EPA via             CBI and will be made publicly available.
                                                 unit subject to the provisions of this                  CEDRI.                                                    (G) You must submit the same file
                                                 section or § 52.41, § 52.42, § 52.43,                      (iii)(A) The EPA will make all the                  submitted to the CBI office with the CBI
                                                 § 52.44, § 52.45, or § 52.46 shall                      information submitted through CEDRI                    omitted to the EPA via the EPA’s CDX
                                                 maintain files of all information                       available to the public without further                as described in paragraphs (g)(1) and (2)
                                                 (including all reports and notifications)               notice to you. Do not use CEDRI to                     of this section.
                                                 required by these sections recorded in a                submit information you claim as                           (2) Annual reports must be submitted
                                                 form suitable and readily available for                 confidential business information (CBI).               via CEDRI or analogous electronic
                                                 expeditious inspection and review. The                  Although we do not expect persons to                   reporting approach provided by the EPA
                                                 files shall be retained for at least 5 years            assert a claim of CBI, if you wish to                  to report data required by § 52.41,
                                                 following the date of each occurrence,                  assert a CBI claim for some of the                     § 52.42, § 52.43, § 52.44, § 52.45, or
                                                 measurement, maintenance, corrective                    information submitted under paragraph                  § 52.46.
                                                 action, report, or record. At minimum,                  (g)(1) or (2) of this section, you should                 (3) If you are required to
                                                 the most recent 2 years of data shall be                submit a complete file, including                      electronically submit a report through
                                                 retained on site. The remaining 3 years                 information claimed to be CBI, to the                  CEDRI in the EPA’s CDX, you may
                                                 of data may be retained off site. Such                  EPA.                                                   assert a claim of EPA system outage for
                                                                                                            (B) The file must be generated using                failure to timely comply with that
                                                 files may be maintained on microfilm,
                                                                                                         the EPA’s ERT or an alternate electronic
                                                 on a computer, on computer floppy                                                                              reporting requirement. To assert a claim
                                                                                                         file consistent with the XML schema
                                                 disks, on magnetic tape disks, or on                                                                           of EPA system outage, you must meet
                                                                                                         listed on the EPA’s ERT website.
                                                 microfiche.                                                (C) Clearly mark the part or all of the             the requirements outlined in paragraphs
                                                    (2) Any records required to be                       information that you claim to be CBI.                  (g)(3)(i) through (vii) of this section.
                                                 maintained by § 52.41, § 52.42, § 52.43,                Information not marked as CBI may be                      (i) You must have been or will be
                                                 § 52.44, § 52.45, or § 52.46 that are                   authorized for public release without                  precluded from accessing CEDRI and
                                                 submitted electronically via the EPA’s                  prior notice. Information marked as CBI                submitting a required report within the
                                                 Compliance and Emissions Data                           will not be disclosed except in                        time prescribed due to an outage of
                                                 Reporting Interface (CEDRI) may be                      accordance with procedures set forth in                either the EPA’s CEDRI or CDX systems.
                                                 maintained in electronic format. This                   40 CFR part 2.                                            (ii) The outage must have occurred
                                                 ability to maintain electronic copies                      (D) The preferred method to receive                 within the period of time beginning five
                                                 does not affect the requirement for                     CBI is for it to be transmitted                        business days prior to the date that the
                                                 facilities to make records, data, and                   electronically using email attachments,                submission is due.
                                                 reports available upon request to the                   File Transfer Protocol, or other online                   (iii) The outage may be planned or
                                                 EPA as part of an on-site compliance                    file sharing services. Electronic                      unplanned.
                                                 evaluation.                                             submissions must be transmitted                           (iv) You must submit notification to
                                                    (g) CEDRI reporting requirements. (1)                directly to the Office of Air Quality                  the Administrator in writing as soon as
                                                 You shall submit the results of the                     Planning and Standards (OAQPS) CBI                     possible following the date you first
                                                 performance test following the                          Office at the email address oaqpscbi@                  knew, or through due diligence should
                                                 procedures specified in paragraphs                      epa.gov, and as described in this                      have known, that the event may cause
                                                 (g)(1)(i) through (iii) of this section:                paragraph (g), should include clear CBI                or has caused a delay in reporting.
                                                    (i) Data collected using test methods                markings and be flagged to the attention                  (v) You must provide to the
                                                 supported by the EPA’s Electronic                       of Lead of 2015 Ozone Transport FIP. If                Administrator a written description
                                                 Reporting Tool (ERT) as listed on the                   assistance is needed with submitting                   identifying:
                                                 EPA’s ERT website (https://                             large electronic files that exceed the file               (A) The date(s) and time(s) when CDX
                                                 www.epa.gov/electronic-reporting-air-                   size limit for email attachments, and if               or CEDRI was accessed and the system
                                                 emissions/electronic-reporting-tool-ert)                you do not have your own file sharing                  was unavailable;
                                                 at the time of the test. Submit the results             service, please email oaqpscbi@epa.gov                    (B) A rationale for attributing the
                                                 of the performance test to the EPA via                  to request a file transfer link.                       delay in reporting beyond the regulatory
                                                 the CEDRI or analogous electronic                          (E) If you cannot transmit the file                 deadline to EPA system outage;
                                                 reporting approach provided by the EPA                  electronically, you may send CBI                          (C) A description of measures taken or
                                                 to report data required by § 52.41,                     information through the postal service                 to be taken to minimize the delay in
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  to the following address: OAQPS                        reporting; and
                                                 § 52.46, which can be accessed through                  Document Control Officer (C404–02),                       (D) The date by which you propose to
                                                 the EPA’s Central Data Exchange (CDX)                   OAQPS, U.S. Environmental Protection                   report, or if you have already met the
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                                                 (https://cdx.epa.gov/). The data must be                Agency, Research Triangle Park, North                  reporting requirement at the time of the
                                                 submitted in a file format generated                    Carolina 27711, Attention Lead of 2015                 notification, the date you reported.
                                                 using the EPA’s ERT. Alternatively, you                 Ozone Transport FIP. The mailed CBI                       (vi) The decision to accept the claim
                                                 may submit an electronic file consistent                material should be double wrapped and                  of EPA system outage and allow an
                                                 with the extensible markup language                     clearly marked. Any CBI markings                       extension to the reporting deadline is
                                                 (XML) schema listed on the EPA’s ERT                    should not show through the outer                      solely within the discretion of the
                                                 website.                                                envelope.                                              Administrator.


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                                                    (vii) In any circumstance, the report                § 52.41 What are the requirements of the               not extend beyond the 20 states
                                                 must be submitted electronically as                     Federal Implementation Plans (FIPs)                    identified in § 52.40(b)(2).
                                                 soon as possible after the outage is                    relating to ozone season emissions of                     Four stroke means any type of engine
                                                                                                         nitrogen oxides from the Pipeline                      which completes the power cycle in two
                                                 resolved.                                               Transportation of Natural Gas Industry?                crankshaft revolutions, with intake and
                                                    (4) If you are required to                              (a) Definitions. All terms not defined              compression strokes in the first
                                                 electronically submit a report through                  in this paragraph (a) shall have the                   revolution and power and exhaust
                                                 CEDRI in the EPA’s CDX, you may                         meaning given to them in the Act and                   strokes in the second revolution.
                                                 assert a claim of force majeure for                     in subpart A of 40 CFR part 60.                           ISO conditions means 288 Kelvin (15
                                                 failure to timely comply with that                         Affected unit means an engine                       °C), 60 percent relative humidity, and
                                                 reporting requirement. To assert a claim                meeting the applicability criteria of this             101.3 kilopascals pressure.
                                                 of force majeure, you must meet the                     section.                                                  Lean burn means any two-stroke or
                                                 requirements outlined in paragraphs                        Cap means the total amount of NOX                   four-stroke spark ignited reciprocating
                                                 (g)(4)(i) through (v) of this section.                  emissions, in tons per day on a 30-day                 internal combustion engine that does
                                                                                                         rolling average basis, that is collectively            not meet the definition of a rich burn
                                                    (i) You may submit a claim if a force                allowed from all of the affected units                 engine.
                                                 majeure event is about to occur, occurs,                covered by a Facility-Wide Averaging                      Local Distribution Companies (LDCs)
                                                 or has occurred or there are lingering                  Plan and is calculated as the sum each                 are companies that own or operate
                                                 effects from such an event within the                   affected unit’s NOX emissions at the                   distribution pipelines, but not interstate
                                                 period of time beginning five business                  emissions limit applicable to such unit                pipelines or intrastate pipelines, that
                                                 days prior to the date the submission is                under paragraph (c) of this section,                   physically deliver natural gas to end
                                                 due. For the purposes of this section, a                converted to tons per day in accordance                users and that are within a single state
                                                 force majeure event is defined as an                    with paragraph (d)(3) of this section.                 that are regulated as separate operating
                                                 event that will be or has been caused by                   Emergency engine means any                          companies by State public utility
                                                 circumstances beyond the control of the                 stationary reciprocating internal                      commissions or that operate as
                                                 affected unit, its contractors, or any                  combustion engine (RICE) that meets all                independent municipally-owned
                                                 entity controlled by the affected unit                  of the criteria in paragraphs (i) and (ii)             distribution systems. LDCs do not
                                                 that prevents you from complying with                   of this definition. All emergency                      include pipelines (both interstate and
                                                 the requirement to submit a report                      stationary RICE must comply with the                   intrastate) delivering natural gas directly
                                                 electronically within the time period                   requirements specified in paragraph                    to major industrial users and farm taps
                                                 prescribed. Examples of such events are                 (b)(1) of this section in order to be                  upstream of the local distribution
                                                 acts of nature (e.g., hurricanes,                       considered emergency engines. If the                   company inlet.
                                                 earthquakes, or floods), acts of war or                 engine does not comply with the                           Local Distribution Company (LDC)
                                                                                                         requirements specified in paragraph                    custody transfer station means a
                                                 terrorism, or equipment failure or safety
                                                                                                         (b)(1), it is not considered an emergency              metering station where the LDC receives
                                                 hazard beyond the control of the
                                                                                                         engine under this section.                             a natural gas supply from an upstream
                                                 affected unit (e.g., large scale power
                                                                                                            (i) The stationary engine is operated               supplier, which may be an interstate
                                                 outage).                                                to provide electrical power or                         transmission pipeline or a local natural
                                                    (ii) You must submit notification to                 mechanical work during an emergency                    gas producer, for delivery to customers
                                                 the Administrator in writing as soon as                 situation. Examples include stationary                 through the LDC’s intrastate
                                                 possible following the date you first                   RICE used to produce power for critical                transmission or distribution lines.
                                                 knew, or through due diligence should                   networks or equipment (including                          Nameplate rating means the
                                                 have known, that the event may cause                    power supplied to portions of a facility)              manufacturer’s maximum design
                                                 or has caused a delay in reporting.                     when electric power from the local                     capacity in horsepower (hp) at the
                                                                                                         utility (or the normal power source, if                installation site conditions. Starting
                                                    (iii) You must provide to the
                                                                                                         the facility runs on its own power                     from the completion of any physical
                                                 Administrator:
                                                                                                         production) is interrupted, or stationary              change in the engine resulting in an
                                                    (A) A written description of the force               RICE used to pump water in the case of                 increase in the maximum output (in hp)
                                                 majeure event;                                          fire or flood, etc.                                    that the engine is capable of producing
                                                    (B) A rationale for attributing the                     (ii) The stationary RICE is operated                on a steady state basis and during
                                                 delay in reporting beyond the regulatory                under limited circumstances for                        continuous operation, such increased
                                                 deadline to the force majeure event;                    purposes other than those identified in                maximum output shall be as specified
                                                                                                         paragraph (i) of this definition, as                   by the person conducting the physical
                                                    (C) A description of measures taken or               specified in paragraph (b)(1) of this                  change.
                                                 to be taken to minimize the delay in                    section.                                                  Natural gas means a fluid mixture of
                                                 reporting; and                                             Facility means all of the pollutant-                hydrocarbons (e.g., methane, ethane, or
                                                    (D) The date by which you propose to                 emitting activities which belong to the                propane) or non-hydrocarbons,
                                                 report, or if you have already met the                  same industrial grouping, are located on               composed of at least 70 percent methane
                                                 reporting requirement at the time of the                one or more contiguous or adjacent                     by volume or that has a gross calorific
                                                 notification, the date you reported.                    properties, and are under the control of               value between 35 and 41 megajoules
                                                                                                         the same person (or persons under                      (MJ) per dry standard cubic meter (950
                                                    (iv) The decision to accept the claim
                                                                                                         common control). Pollutant-emitting                    and 1,100 Btu per dry standard cubic
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                                                 of force majeure and allow an extension                                                                        foot), that maintains a gaseous state
                                                                                                         activities shall be considered as part of
                                                 to the reporting deadline is solely                     the same industrial grouping if they                   under ISO conditions. Natural gas does
                                                 within the discretion of the                            belong to the same ‘‘Major Group’’ (i.e.,              not include the following gaseous fuels:
                                                 Administrator.                                          which have the same first two digit code               Landfill gas, digester gas, refinery gas,
                                                    (v) In any circumstance, the reporting               as described in the Standard Industrial                sour gas, blast furnace gas, coal-derived
                                                 must occur as soon as possible after the                Classification Manual, 1987). For                      gas, producer gas, coke oven gas, or any
                                                 force majeure event occurs.                             purposes of this section, a facility may               gaseous fuel produced in a process


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                                                 which might result in highly variable                   technology for nitrogen oxides (NOX)                   for maintenance checks and readiness
                                                 CO2 content or heating value.                           (such as pre-combustion chambers) will                 testing for a maximum of 100 hours per
                                                    Natural gas-fired means that greater                 be considered lean burn engines.                       calendar year, provided that the tests are
                                                 than or equal to 90% of the engine’s                    Existing affected unit where there are no              recommended by a Federal, state, or
                                                 heat input, excluding recirculated or                   manufacturer’s recommendations                         local government agency, the
                                                 recuperated exhaust heat, is derived                    regarding air/fuel ratio will be                       manufacturer, the vendor, or the
                                                 from the combustion of natural gas.                     considered rich burn engines if the                    insurance company associated with the
                                                    Natural gas processing plant means                   excess oxygen content of the exhaust at                engine. Any operation for non-
                                                 any processing site engaged in the                      full load conditions is less than or equal             emergency situations as allowed by
                                                 extraction of natural gas liquids from                  to 2 percent.                                          paragraph (b)(1)(iii) of this section
                                                 field gas, fractionation of mixed natural                 Spark ignition means a reciprocating                 counts as part of the 100 hours per
                                                 gas liquids to natural gas products, or                 internal combustion engine utilizing a                 calendar year allowed by paragraph
                                                 both. A Joule-Thompson valve, a dew                     spark plug (or other sparking device) to               (b)(1)(ii) of this section. The owner or
                                                 point depression valve, or an isolated or               ignite the air/fuel mixture and with                   operator may petition the Administrator
                                                 standalone Joule-Thompson skid is not                   operating characteristics significantly                for approval of additional hours to be
                                                 a natural gas processing plant.                         similar to the theoretical Otto                        used for maintenance checks and
                                                    Natural gas production facility means                combustion cycle.                                      readiness testing, but a petition is not
                                                 all equipment at a single stationary                      Stoichiometric means the theoretical                 required if the owner or operator
                                                 source directly associated with one or                  air-to-fuel ratio required for complete                maintains records confirming that
                                                 more natural gas wells upstream of the                  combustion.                                            Federal, state, or local standards require
                                                 natural gas processing plant. This                        Two stroke means a type of                           maintenance and testing of emergency
                                                 equipment includes, but is not limited                  reciprocating internal combustion                      RICE beyond 100 hours per calendar
                                                 to, equipment used for storage,                         engine which completes the power                       year. Any approval of a petition for
                                                 separation, treating, dehydration,                      cycle in a single crankshaft revolution                additional hours granted by the
                                                 artificial lift, combustion, compression,               by combining the intake and                            Administrator under 40 CFR part 63,
                                                 pumping, metering, monitoring, and                      compression operations into one stroke
                                                                                                                                                                subpart ZZZZ, shall constitute approval
                                                 flowline.                                               (one-half revolution) and the power and
                                                                                                                                                                by the Administrator of the same
                                                    Operating day means a 24-hour                        exhaust operations into a second stroke.
                                                 period beginning at 12:00 midnight                                                                             petition under this paragraph (b)(1)(ii).
                                                                                                         This system requires auxiliary exhaust
                                                 during which any fuel is combusted at                                                                             (iii) Emergency stationary RICE may
                                                                                                         scavenging of the combustion products
                                                 any time in the engine.                                                                                        be operated for up to 50 hours per
                                                                                                         and inherently runs lean (excess of air)
                                                    Pipeline transportation of natural gas                                                                      calendar year in non-emergency
                                                                                                         of stoichiometry.
                                                 means the movement of natural gas                         (b) Applicability. You are subject to                situations. The 50 hours of operation in
                                                 through an interconnected network of                    the requirements under this section if                 non-emergency situations are counted
                                                 compressors and pipeline components,                    you own or operate a new or existing                   as part of the 100 hours per calendar
                                                 including the compressor and pipeline                   natural gas-fired spark ignition engine,               year for maintenance and testing
                                                 network used to transport the natural                   other than an emergency engine, with a                 provided in paragraph (b)(1)(ii) of this
                                                 gas from processing plants over a                       nameplate rating of 1,000 hp or greater                section.
                                                 distance (intrastate or interstate) to and              that is used for pipeline transportation                  (2) If you own or operate a natural
                                                 from storage facilities, to large natural               of natural gas and is located within any               gas-fired two stroke lean burn spark
                                                 gas end-users, and prior to delivery to                 of the States listed in § 52.40(c)(2),                 ignition engine manufactured after July
                                                 a ‘‘local distribution company custody                  including Indian country located within                1, 2007 that is meeting the applicable
                                                 transfer station’’ (as defined in this                  the borders of any such State(s).                      emissions limits in 40 CFR part 60,
                                                 section) of an LDC that provides the                      (1) For purposes of this section, the                subpart JJJJ, table 1, the engine is not an
                                                 natural gas to end-users. Pipeline                      owner or operator of an emergency                      affected unit under this section and you
                                                 transportation of natural gas does not                  stationary RICE must operate the RICE                  do not have to comply with the
                                                 include natural gas production facilities,              according to the requirements in                       requirements of this section.
                                                 natural gas processing plants, or the                   paragraphs (b)(1)(i) through (iii) of this                (3) If you own or operate a natural
                                                 portion of a compressor and pipeline                    section to be treated as an emergency                  gas-fired four stroke lean or rich burn
                                                 network that is upstream of a natural gas               stationary RICE. In order for stationary               spark ignition engine manufactured
                                                 processing plant.                                       RICE to be treated as an emergency RICE                after July 1, 2010, that is meeting the
                                                    Reciprocating internal combustion                    under this subpart, any operation other                applicable emissions limits in 40 CFR
                                                 engine (RICE) means a reciprocating                     than emergency operation, maintenance                  part 60, subpart JJJJ, table 1, the engine
                                                 engine in which power, produced by                      and testing, and operation in non-                     is not an affected unit under this section
                                                 heat and/or pressure that is developed                  emergency situations for up to 50 hours                and you do not have to comply with the
                                                 in the engine combustion chambers by                    per year, as described in paragraphs                   requirements of this section.
                                                 the burning of a mixture of air and fuel,               (b)(1)(i) through (iii), is prohibited. If                (c) Emissions limitations. If you are
                                                 is subsequently converted to mechanical                 you do not operate the RICE according                  the owner or operator of an affected
                                                 work.                                                   to the requirements in paragraphs                      unit, you must meet the following
                                                    Rich burn means any four-stroke                      (b)(1)(i) through (iii), the RICE will not             emissions limitations on a 30-day
                                                 spark ignited reciprocating internal                    be considered an emergency engine                      rolling average basis during the 2026
                                                 combustion engine where the                                                                                    ozone season and in each ozone season
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                                                                                                         under this section and must meet all
                                                 manufacturer’s recommended operating                    requirements for affected units in this                thereafter:
                                                 air/fuel ratio divided by the                           section.                                                  (1) Natural gas-fired four stroke rich
                                                 stoichiometric air/fuel ratio at full load                (i) There is no time limit on the use                burn spark ignition engine: 1.0 grams
                                                 conditions is less than or equal to 1.1.                of emergency stationary RICE in                        per hp-hour (g/hp-hr);
                                                 Internal combustion engines originally                  emergency situations.                                     (2) Natural gas-fired four stroke lean
                                                 manufactured as rich burn engines but                     (ii) The owner or operator may                       burn spark ignition engine: 1.5 g/hp-hr;
                                                 modified with passive emissions control                 operate your emergency stationary RICE                 and


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                                                   (3) Natural gas-fired two stroke lean                 reporting requirements. You may only                   Facility-Wide Averaging Plan will be
                                                 burn spark ignition engine: 3.0 g/hp-hr.                include affected units (i.e., engines                  subject to during the ozone season,
                                                   (d) Facility-Wide Averaging Plan. If                  meeting the applicability criteria in                  together with all assumptions included
                                                 you are the owner or operator of a                      paragraph (b) of this section) in a                    in such calculation; and
                                                 facility containing more than one                       Facility-Wide Averaging Plan. Upon                        (iv) Adequate provisions for testing,
                                                 affected unit, you may submit a request                 EPA approval of a proposed Facility-                   monitoring, recordkeeping, and
                                                 via the CEDRI or analogous electronic                   Wide Averaging Plan, you cannot                        reporting for each affected unit.
                                                 submission system provided by the EPA                   withdraw any affected unit listed in                      (2) Upon the Administrator’s approval
                                                 to the Administrator for approval of a                  such plan, and the terms of the plan                   of a proposed Facility-Wide Averaging
                                                 proposed Facility-Wide Averaging Plan                   may not be changed unless approved in                  Plan, the owner or operator of the
                                                 as an alternative means of compliance                   writing by the Administrator.                          affected units covered by the Facility-
                                                 with the applicable emissions limits in                    (1) Each request for approval of a                  Wide Averaging Plan shall comply with
                                                 paragraph (c) of this section. Any such                 proposed Facility-Wide Averaging Plan                  the cap identified in the plan in lieu of
                                                 request shall be submitted to the                       shall include, but not be limited to:                  the emissions limits in paragraph (c) of
                                                 Administrator on or before October 1st                     (i) The address of the facility;                    this section. You will be in compliance
                                                 of the year prior to each emissions                        (ii) A list of all affected units at the            with the cap if the sum of NOX
                                                 averaging year. The Administrator will                  facility that will be covered by the plan,             emissions from all units covered by the
                                                 approve a proposed Facility-Wide                        identified by unit identification number,              Facility-Wide Averaging Plan, in tons
                                                 Averaging Plan submitted under this                     the engine manufacturer’s name, and                    per day on a 30-day rolling average
                                                 paragraph (d) if the Administrator                      model;                                                 basis, is less than or equal to the cap.
                                                 determines that the proposed Facility-                     (iii) For each affected unit, a                        (3) The owner or operator will
                                                 Wide Averaging Plan meets the                           description of any existing NOX                        calculate the cap according to equation
                                                 requirements of this paragraph (d), will                emissions control technology and the                   1 to this paragraph (d)(3). You will
                                                 provide total emissions reductions                      date of installation, and a description of             monitor and record daily hours of
                                                 equivalent to or greater than those                     any NOX emissions control technology                   engine operation for use in calculating
                                                 achieved by the applicable emissions                    to be installed and the projected date of              the cap on a 30-day rolling average
                                                 limits in paragraph (c), and identifies                 installation;                                          basis. You will base the hours of
                                                 satisfactory means for determining                         (iv) Identification of the emissions                operation on hour readings from a non-
                                                 initial and continuous compliance,                      cap, calculated in accordance with                     resettable hour meter or an equivalent
                                                 including appropriate testing,                          paragraph (d)(3) of this section, that all             monitoring device.
                                                 monitoring, recordkeeping, and                          affected units covered by the proposed                    Equation 1 to Paragraph (d)(3)




                                                 Where:                                                  tons per day on a 30-day rolling average               following requirements for using CEMS
                                                 Hi = the average daily operating hours based            basis, exceeds the cap. Each day of                    to monitor NOX emissions:
                                                      on the highest consecutive 30-day period           noncompliance by each affected unit                       (i) You shall install, calibrate,
                                                      during the ozone season of the two most            covered by the Facility-Wide Averaging                 maintain, and operate a continuous
                                                      recent years preceding the emissions               Plan shall be a violation of the cap until             emissions monitoring system (CEMS)
                                                      averaging year (hours).
                                                                                                         corrective action is taken to achieve                  for measuring NOX emissions and either
                                                 i = each affected unit included in the Cap.
                                                 N = number of affected units.                           compliance.                                            oxygen (O2) or carbon dioxide (CO2).
                                                 DC = the engine manufacturer’s design                      (e) Testing and monitoring                             (ii) The CEMS shall be operated and
                                                      maximum capacity in horsepower (hp) at             requirements. (1) If you are the owner or              data recorded during all periods of
                                                      the installation site conditions.                  operator of an affected unit subject to a              operation during the ozone season of the
                                                 Rli = the emissions limit for each affected                                                                    affected unit except for CEMS
                                                      unit from paragraph (c) of this section
                                                                                                         NOX emissions limit under paragraph
                                                                                                                                                                breakdowns and repairs. Data shall be
                                                      (grams/hp-hr).                                     (c) of this section, you must keep a
                                                                                                                                                                recorded during calibration checks and
                                                                                                         maintenance plan and records of
                                                    (i) Any affected unit for which less                                                                        zero and span adjustments.
                                                                                                         conducted maintenance and must, to
                                                 than two years of operating data are                                                                              (iii) The 1-hour average NOX
                                                                                                         the extent practicable, maintain and
                                                 available shall not be included in the                                                                         emissions rates measured by the CEMS
                                                                                                         operate the engine in a manner
                                                 Facility-Wide Averaging Plan unless the                                                                        shall be used to calculate the average
                                                                                                         consistent with good air pollution                     emissions rates to demonstrate
                                                 owner or operator extrapolates the
                                                                                                         control practice for minimizing                        compliance with the applicable
                                                 available operating data for the affected
                                                                                                         emissions.                                             emissions limits in this section.
                                                 unit to two years of operating data, for
                                                 use in calculating the emissions cap in                    (2) If you are the owner or operator of                (iv) The procedures under 40 CFR
                                                                                                         an affected unit and are operating a NOX               60.13 shall be followed for installation,
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                                                 accordance with paragraph (d)(3) of this
                                                 section.                                                continuous emissions monitoring                        evaluation, and operation of the
                                                    (ii) [Reserved]                                      system (CEMS) that monitors NOX                        continuous monitoring systems.
                                                    (4) The owner or operator of an                      emissions from the affected unit, you                     (v) When NOX emissions data are not
                                                 affected units covered by an EPA-                       may use the CEMS data in lieu of the                   obtained because of CEMS breakdowns,
                                                 approved Facility-Wide Averaging Plan                   annual performance tests and                           repairs, calibration checks, and zero and
                                                 will be in violation of the cap if the sum              parametric monitoring required under                   span adjustments, emissions data will
                                                 of NOX emissions from all such units, in                this section. You must meet the                        be obtained by using standby
                                                                                                                                                                                                            ER05JN23.006</GPH>




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                                                 monitoring systems, Method 7 of 40                      accordance with the requirements of 40                    (v) You must conduct performance
                                                 CFR part 60, appendix A–4, Method 7A                    CFR 60.4244(d).                                        evaluations, system accuracy audits, or
                                                 of 40 CFR part 60, appendix A–4, or                        (4) If you are the owner or operator of             other audit procedures specified in your
                                                 other approved reference methods to                     an affected unit that has a non-selective              site-specific monitoring plan at least
                                                 provide emissions data for a minimum                    catalytic reduction (NSCR) control                     annually.
                                                 of 75 percent of the operating hours in                 device to reduce emissions, you must:                     (vi) You must conduct a performance
                                                 each affected unit operating day, in at                    (i) Monitor the inlet temperature to                evaluation of each parametric
                                                 least 22 out of 30 successive operating                 the catalyst daily and conduct                         monitoring device in accordance with
                                                 days.                                                   maintenance if the temperature is not                  your site-specific monitoring plan.
                                                    (3)(i) If you are the owner or operator              within the observed inlet temperature
                                                 of a new affected unit, you must                        range from the most recent performance                    (6) If you are the owner or operator of
                                                 conduct an initial performance test                     test or the temperatures specified by the              an affected unit that is only operated
                                                 within six months of engine startup and                 manufacturer if no performance test was                during peak periods outside of the
                                                 conduct subsequent performance tests                    required by this section; and                          ozone season and your hours of
                                                 every twelve months thereafter to                          (ii) Measure the pressure drop across               operation during the ozone season are 0,
                                                 demonstrate compliance. If pollution                    the catalyst monthly and conduct                       you are not subject to the testing and
                                                 control equipment is installed to                       maintenance if the pressure drop across                monitoring requirements of this
                                                 comply with a NOX emissions limit in                    the catalyst changes by more than 2                    paragraph (e)(6) so long as you record
                                                 paragraph (c) of this section, however,                 inches of water at 100 percent load plus               and report your hours of operation
                                                 the initial performance test shall be                   or minus 10 percent from the pressure                  during the ozone season in accordance
                                                 conducted within 90 days of such                        drop across the catalyst measured                      with paragraphs (f) and (g) of this
                                                 installation.                                           during the most recent performance test.               section.
                                                    (ii) If you are the owner or operator                   (5) If you are the owner of operator of                (f) Recordkeeping requirements. If you
                                                 of an existing affected unit, you must                  an affected unit not using an NSCR                     are the owner or operator of an affected
                                                 conduct an initial performance test                     control device to reduce emissions, you                unit, you must keep records of:
                                                 within six months of becoming subject                   are required to conduct continuous
                                                 to an emissions limit under paragraph                                                                             (1) Performance tests conducted
                                                                                                         parametric monitoring to assure
                                                 (c) of this section and conduct                                                                                pursuant to paragraph (e)(2) of this
                                                                                                         compliance with the applicable
                                                 subsequent performance tests every                                                                             section, including the date, engine
                                                                                                         emissions limits according to the
                                                 twelve months thereafter to demonstrate                                                                        settings on the date of the test, and
                                                                                                         requirements in paragraphs (e)(5)(i)
                                                 compliance. If pollution control                                                                               documentation of the methods and
                                                                                                         through (vi) of this section.
                                                 equipment is installed to comply with a                    (i) You must prepare a site-specific                results of the testing.
                                                 NOX emissions limit in paragraph (c) of                 monitoring plan that includes all of the                  (2) Catalyst monitoring required by
                                                 this section, however, the initial                      following monitoring system design,                    paragraph (e)(3) of this section, if
                                                 performance test shall be conducted                     data collection, and quality assurance                 applicable, and any actions taken to
                                                 within 90 days of such installation.                    and quality control elements:                          address monitored values outside the
                                                    (iii) If you are the owner or operator                  (A) The performance criteria and                    temperature or pressure drop
                                                 of a new or existing affected unit that is              design specifications for the monitoring               parameters, including the date and a
                                                 only operated during peak demand                        system equipment, including the sample                 description of actions taken.
                                                 periods outside of the ozone season and                 interface, detector signal analyzer, and                  (3) Parameters monitored pursuant to
                                                 the engine’s hours of operation during                  data acquisition and calculations.                     the facility’s site-specific parametric
                                                 the ozone season are 50 hours or less,                     (B) Sampling interface (e.g.,                       monitoring plan.
                                                 the affected unit is not subject to the                 thermocouple) location such that the
                                                 testing and monitoring requirements of                  monitoring system will provide                            (4) Hours of operation on a daily
                                                 this paragraph (e)(3)(iii) as long as you               representative measurements.                           basis.
                                                 record and report your hours of                            (C) Equipment performance                              (5) Tuning, adjustments, or other
                                                 operation during the ozone season in                    evaluations, system accuracy audits, or                combustion process adjustments and the
                                                 accordance with paragraphs (f) and (g)                  other audit procedures.                                date of the adjustment(s).
                                                 of this section.                                           (D) Ongoing operation and
                                                    (iv) If you are the owner or operator                                                                          (6) For any Facility-Wide Averaging
                                                                                                         maintenance procedures in accordance                   Plan approved by the Administrator
                                                 of an affected unit, you must conduct all               with the requirements of paragraph
                                                 performance tests consistent with the                                                                          under paragraph (d) of this section,
                                                                                                         (e)(1) of this section.                                daily calculations of total NOX
                                                 requirements of 40 CFR 60.4244 in                          (E) Ongoing recordkeeping and
                                                 accordance with the applicable                                                                                 emissions to demonstrate compliance
                                                                                                         reporting procedures in accordance with
                                                 reference test methods identified in                                                                           with the cap during the ozone season.
                                                                                                         the requirements of paragraphs (f) and
                                                 table 2 to subpart JJJJ of 40 CFR part 60,                                                                     You must use the equation in this
                                                                                                         (g) of this section.
                                                 any alternative test method approved by                    (ii) You must continuously monitor                  paragraph (f)(6) to calculate total NOX
                                                 the EPA as of June 5, 2023, under 40                    the selected operating parameters                      emissions from all affected units
                                                 CFR 59.104(f), 60.8(b)(3), 61.13(h)(1)(ii),             according to the procedures in your site-              covered by the Facility-Wide Averaging
                                                 63.7(e)(2)(ii), or 65.158(a)(2) and                     specific monitoring plan.                              Plan, in tons per day on a 30-day rolling
                                                 available at the EPA’s website (https://                   (iii) You must collect parametric                   average basis, for purposes of
                                                 www.epa.gov/emc/broadly-applicable-                                                                            determining compliance with the cap
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                                                                                                         monitoring data at least once every 15
                                                 approved-alternative-test-methods), or                  minutes.                                               during the ozone season. A new 30-day
                                                 other methods and procedures approved                      (iv) When measuring temperature                     rolling average emissions rate in tpd is
                                                 by the EPA through notice-and-                          range, the temperature sensor must have                calculated for each operating day during
                                                 comment rulemaking. To determine                        a minimum tolerance of 2.8 degrees                     the ozone season, using the 30-day
                                                 compliance with the NOX emissions                       Celsius (5 degrees Fahrenheit) or 1                    rolling average daily operating hours for
                                                 limit in paragraph (c) of this section, the             percent of the measurement range,                      the preceding 30 operating days.
                                                 emissions rate shall be calculated in                   whichever is larger.                                      Equation 2 to Paragraph (f)(6)


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                                                 Where:                                                  with good air pollution control practices              requirements of this section even if that
                                                 Hai = the consecutive 30-day rolling average            for minimizing emissions;                              unit later becomes subject to a physical
                                                      daily operating hours for the preceding              (vii) The date and results of the                    or operational limitation that lowers its
                                                      30 operating days during ozone season              performance test conducted pursuant to                 potential to emit below 100 tons per
                                                      (hours).                                           paragraph (e) of this section;                         year of NOX.
                                                 i = each affected unit.                                   (viii) Any records required by                          (c) Emissions limitations. If you are
                                                 N = number of affected units.                           paragraph (f) of this section, including
                                                 DC = the engine manufacturer’s maximum
                                                                                                                                                                the owner or operator of an affected
                                                      design capacity in horsepower (hp) at the
                                                                                                         records of parametric monitoring data,                 unit, you must meet the following
                                                      installation site conditions.                      to demonstrate compliance with the                     emissions limitations on a 30-day
                                                 Rai = the actual emissions rate for each                applicable emissions limit under                       rolling average basis during the 2026
                                                      affected unit based on the most recent             paragraph (c) of this section or a                     ozone season and in each ozone season
                                                      performance test results, (grams/hp-hr).           Facility-Wide Averaging Plan under                     thereafter:
                                                   (g) Reporting requirements. (1) If you                paragraph (d) of this section, if                         (1) Long wet kilns: 4.0 lb/ton of
                                                 are the owner or operator of an affected                applicable;                                            clinker;
                                                 unit, you must submit the results of the                  (ix) If applicable, a statement                         (2) Long dry kilns: 3.0 lb/ton of
                                                 performance test or performance                         documenting any change in the                          clinker;
                                                 evaluation of the CEMS following the                    operating characteristics of the subject                  (3) Preheater kilns: 3.8 lb/ton of
                                                 procedures specified in § 52.40(g)                      engine; and                                            clinker;
                                                                                                           (x) A statement certifying that the                     (4) Precalciner kilns: 2.3 lb/ton of
                                                 within 60 days after completing each
                                                                                                         information included in the annual                     clinker; and
                                                 performance test required by this
                                                                                                         report is complete and accurate.                          (5) Preheater/Precalciner kilns: 2.8 lb/
                                                 section.
                                                   (2) If you are the owner or operator of                                                                      ton of clinker.
                                                                                                         § 52.42 What are the requirements of the
                                                 an affected unit, you are required to                   Federal Implementation Plans (FIPs)
                                                                                                                                                                   (d) Testing and monitoring
                                                 submit excess emissions reports for any                 relating to ozone season emissions of                  requirements. (1) If you are the owner or
                                                 excess emissions that occurred during                   nitrogen oxides from the Cement and                    operator of an affected unit you must
                                                 the reporting period. Excess emissions                  Concrete Product Manufacturing Industry?               conduct performance tests, on an annual
                                                 are defined as any calculated 30-day                       (a) Definitions. All terms not defined              basis, in accordance with the applicable
                                                 rolling average NOX emissions rate that                 in this paragraph (a) shall have the                   reference test methods of 40 CFR part
                                                 exceeds the applicable emissions limit                  meaning given to them in the Act and                   60, appendix A–4, any alternative test
                                                 in paragraph (c) of this section. Excess                in subpart A of 40 CFR part 60.                        method approved by the EPA as of June
                                                 emissions reports must be submitted in                     Affected unit means a cement kiln                   5, 2023, under 40 CFR 59.104(f),
                                                 PDF format to the EPA via CEDRI or                      meeting the applicability criteria of this             60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),
                                                 analogous electronic reporting approach                 section.                                               or 65.158(a)(2) and available at the
                                                 provided by the EPA to report data                         Cement kiln means an installation,                  EPA’s website (https://www.epa.gov/
                                                 required by this section following the                  including any associated pre-heater or                 emc/broadly-applicable-approved-
                                                 procedures specified in § 52.40(g).                     pre-calciner devices, that produces                    alternative-test-methods), or other
                                                   (3) If you are the owner or operator of               clinker by heating limestone and other                 methods and procedures approved by
                                                 an affected unit, you must submit an                    materials to produce Portland cement.                  the EPA through notice-and-comment
                                                 annual report in PDF format to the EPA                     Cement plant means any facility                     rulemaking. The annual performance
                                                 by January 30th of each year via CEDRI                  manufacturing cement by either the wet                 test does not have to be performed
                                                 or analogous electronic reporting                       or dry process.                                        during the ozone season. You must
                                                 approach provided by the EPA to report                     Clinker means the product of a                      calculate and record the 30-operating
                                                 data required by this section. Annual                   cement kiln from which finished                        day rolling average emissions rate of
                                                 reports shall be submitted following the                cement is manufactured by milling and                  NOX as the total of all hourly emissions
                                                 procedures in paragraph (g) of this                     grinding.                                              data for a cement kiln in the preceding
                                                 section. The report shall contain the                      Operating day means a 24-hour                       30 days, divided by the total tons of
                                                 following information:                                  period beginning at 12:00 midnight                     clinker produced in that kiln during the
                                                   (i) The name and address of the owner                 during which the kiln produces clinker                 same 30-operating day period, using
                                                 and operator;                                           at any time.                                           equation 1 to this paragraph (d)(1):
                                                   (ii) The address of the subject engine;                  (b) Applicability. You are subject to                  Equation 1 to Paragraph (d)(1)
                                                   (iii) Longitude and latitude                          the requirements of this section if you
                                                 coordinates of the subject engine;                      own or operate a new or existing cement
                                                   (iv) Identification of the subject                    kiln that emits or has the potential to
                                                 engine;                                                 emit 100 tons per year or more of NOX
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                                                   (v) Statement of compliance with the                  on or after August 4, 2023, and is
                                                                                                                                                                Where:
                                                 applicable emissions limit under                        located within any of the States listed in
                                                                                                         § 52.40(c)(2), including Indian country                E30D = 30 kiln operating day average
                                                 paragraph (c) of this section or a
                                                                                                                                                                                                                ER05JN23.002</GPH>




                                                                                                                                                                    emissions rate of NOX, in lbs/ton of
                                                 Facility-Wide Averaging Plan under                      located within the borders of any such                     clinker.
                                                 paragraph (d) of this section;                          State(s). Any existing cement kiln with                Ci = Concentration of NOX for hour i, in ppm.
                                                   (vi) Statement of compliance                          a potential to emit of 100 tons per year               Qi = Volumetric flow rate of effluent gas for
                                                 regarding the conduct of maintenance                    or more of NOX on August 4, 2023, will                     hour i, where Ci and Qi are on the same
                                                 and operations in a manner consistent                   continue to be subject to the
                                                                                                                                                                                                                ER05JN23.007</GPH>




                                                                                                                                                                    basis (either wet or dry), in scf/hr.



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                                                 P = 30 days of clinker production during the            and kiln stack exhaust temperature                     affected unit, you shall maintain records
                                                     same Time period as the NOX emissions               during the initial performance test and                of the following information for each
                                                     measured, in tons.                                  subsequent annual performance tests to                 day the affected unit operates:
                                                 k = Conversion factor, 1.194 × 10¥7 for NOX,            demonstrate continuous compliance                         (1) Calendar date;
                                                     in lb/scf/ppm.                                                                                                (2) The average hourly NOX emissions
                                                 n = Number of kiln operating hours over 30
                                                                                                         with your NOX emissions limits.
                                                     kiln operating days.
                                                                                                            (ii) You must determine hourly                      rates measured or predicted;
                                                                                                         clinker production by one of two                          (3) The 30-day average NOX emissions
                                                    (2) If you are the owner or operator of              methods:                                               rates calculated at the end of each
                                                 an affected unit and are operating a NOX                   (A) Install, calibrate, maintain, and               affected unit operating day from the
                                                 continuous emissions monitoring                         operate a permanent weigh scale system                 measured or predicted hourly NOX
                                                 system (CEMS) that monitors NOX                         to record weight rates of the amount of                emissions rates for the preceding 30
                                                 emissions from the affected unit, you                   clinker produced in tons of mass per                   operating days;
                                                 may use the CEMS data in lieu of the                    hour. The system of measuring hourly                      (4) Identification of the affected unit
                                                 annual performance tests and                            clinker production must be maintained                  operating days when the calculated 30-
                                                 parametric monitoring required under                    within ±5 percent accuracy; or                         day average NOX emissions rates are in
                                                 this section. You must meet the                            (B) Install, calibrate, maintain, and               excess of the applicable site-specific
                                                 following requirements for using CEMS                   operate a permanent weigh scale system                 NOX emissions limit with the reasons
                                                 to monitor NOX emissions:                               to measure and record weight rates of                  for such excess emissions as well as a
                                                    (i) You shall install, calibrate,                    the amount of feed to the kiln in tons                 description of corrective actions taken;
                                                 maintain, and operate a continuous                      of mass per hour. The system of                           (5) Identification of the affected unit
                                                 emissions monitoring system (CEMS)                      measuring feed must be maintained                      operating days for which pollutant data
                                                 for measuring NOX emissions and either                  within ±5 percent accuracy. Calculate                  have not been obtained, including
                                                 oxygen (O2) or carbon dioxide (CO2).                    your hourly clinker production rate                    reasons for not obtaining sufficient data
                                                    (ii) The CEMS shall be operated and                  using a kiln specific feed-to-clinker ratio            and a description of corrective actions
                                                 data recorded during all periods of                     based on reconciled clinker production                 taken;
                                                 operation during the ozone season of the                rates determined for accounting                           (6) Identification of the times when
                                                 affected unit except for CEMS                           purposes and recorded feed rates. This                 emissions data have been excluded from
                                                 breakdowns and repairs. Data shall be                   ratio should be updated monthly. Note                  the calculation of average emissions
                                                 recorded during calibration checks and                  that if this ratio changes at clinker                  rates and the reasons for excluding data;
                                                 zero and span adjustments.                              reconciliation, you must use the new                      (7) If a CEMS is used to verify
                                                    (iii) The 1-hour average NOX                         ratio going forward, but you do not have               compliance:
                                                 emissions rates measured by the CEMS                    to retroactively change clinker                           (i) Identification of the times when
                                                 shall be expressed in terms of lbs/ton of               production rates previously estimated.                 the pollutant concentration exceeded
                                                 clinker and shall be used to calculate                     (C) For each kiln operating hour for                full span of the CEMS;
                                                 the average emissions rates to                          which you do not have data on clinker                     (ii) Description of any modifications
                                                 demonstrate compliance with the                         production or the amount of feed to the                to the CEMS that could affect the ability
                                                 applicable emissions limits in this                     kiln, use the value from the most recent               of the CEMS to comply with
                                                 section.                                                previous hour for which valid data are                 Performance Specification 2 or 3 in
                                                    (iv) The procedures under 40 CFR                     available.                                             appendix B to 40 CFR part 60; and
                                                 60.13 shall be followed for installation,                  (D) If you measure clinker production                  (iii) Results of daily CEMS drift tests
                                                 evaluation, and operation of the                        directly, record the daily clinker                     and quarterly accuracy assessments as
                                                 continuous monitoring systems.                          production rates; if you measure the                   required under Procedure 1 of 40 CFR
                                                    (v) When NOX emissions data are not                  kiln feed rates and calculate clinker                  part 60, appendix F;
                                                 obtained because of CEMS breakdowns,                    production, record the daily kiln feed                    (8) Operating parameters required
                                                 repairs, calibration checks and zero and                and clinker production rates.                          under paragraph (d) of this section to
                                                 span adjustments, emissions data will                      (iii) You must use the kiln stack                   demonstrate compliance during the
                                                 be obtained by using standby                            exhaust gas flow rate, hourly kiln                     ozone season;
                                                 monitoring systems, Method 7 of 40                      production rate or kiln feed rate, and                    (9) Each fuel type, usage, and heat
                                                 CFR part 60, appendix A–4, Method 7A                    kiln stack exhaust temperature during                  content; and
                                                 of 40 CFR part 60, appendix A–4, or                     the initial performance test and                          (10) Clinker production rates.
                                                 other approved reference methods to                     subsequent annual performance tests as                    (f) Reporting requirements. (1) If you
                                                 provide emissions data for a minimum                    indicators of NOX operating parameters                 are the owner or operator of an affected
                                                 of 75 percent of the operating hours in                 to demonstrate continuous compliance                   unit, you shall submit the results of the
                                                 each affected unit operating day, in at                 and establish site-specific indicator                  performance test or performance
                                                 least 22 out of 30 successive operating                 ranges for these operating parameters.                 evaluation of the CEMS following the
                                                 days.                                                      (iv) You must repeat the performance                procedures specified in § 52.40(g)
                                                    (3) If you are the owner or operator of              test annually to reassess and adjust the               within 60 days after the date of
                                                 an affected unit not operating NOX                      site-specific operating parameter                      completing each performance test
                                                 CEMS, you must conduct an initial                       indicator ranges in accordance with the                required by this section.
                                                 performance test before the 2026 ozone                  results of the performance test.                          (2) If you are the owner or operator of
                                                 season to establish appropriate indicator                  (v) You must report and include your                an affected unit, you are required to
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                                                 ranges for operating parameters and                     ongoing site-specific operating                        submit excess emissions reports for any
                                                 continuously monitor those operator                     parameter data in the annual reports                   excess emissions that occurred during
                                                 parameters consistent with the                          required under paragraph (e) of this                   the reporting period. Excess emissions
                                                 requirements of paragraphs (d)(3)(i)                    section and semi-annual title V                        are defined as any calculated 30-day
                                                 through (v) of this section.                            monitoring reports to the relevant                     rolling average NOX emissions rate that
                                                    (i) You must monitor and record kiln                 permitting authority.                                  exceeds the applicable emissions limit
                                                 stack exhaust gas flow rate, hourly                        (e) Recordkeeping requirements. If                  established under paragraph (c) of this
                                                 clinker production rate or kiln feed rate,              you are the owner or operator of an                    section. Excess emissions reports must


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                                                 be submitted in PDF format to the EPA                      Affected unit means any reheat                      affected unit by August 5, 2024. The
                                                 via CEDRI or analogous electronic                       furnace meeting the applicability                      work plan must be submitted via CEDRI
                                                 reporting approach provided by the EPA                  criteria of this section.                              or analogous electronic reporting
                                                 to report data required by this section                    Day means a calendar day unless                     approach provided by the EPA to report
                                                 following the procedures specified in                   expressly stated to be a business day. In              data required by this section following
                                                 § 52.40(g).                                             computing any period of time for                       the procedures specified in § 52.40(g).
                                                    (3) If you are the owner or operator of              recordkeeping and reporting purposes                   Each work plan must include a
                                                 an affected unit, you shall submit an                   where the last day would fall on a                     description of the affected unit and
                                                 annual report in PDF format to the EPA                  Saturday, Sunday, or Federal holiday,                  rated production and energy capacities,
                                                 by January 30th of each year via CEDRI                  the period shall run until the close of                identification of the low-NOX burner or
                                                 or analogous electronic reporting                       business of the next business day.                     alternative low NOX technology
                                                 approach provided by the EPA to report                     Low NOX burner means a burner                       selected, and the phased construction
                                                 data required by this section. Annual                   designed to reduce flame turbulence by                 timeframe by which you will design,
                                                 reports shall be submitted following the                the mixing of fuel and air and by                      install, and consistently operate the
                                                 procedures in § 52.40(g). The report                    establishing fuel-rich zones for initial               device. Each work plan shall also
                                                 shall include records all records                       combustion, thereby reducing the                       include, where applicable, performance
                                                 required by paragraph (d) of this                       formation of NOX.                                      test results obtained no more than five
                                                                                                            Low-NOX technology means any post-                  years before August 4, 2023, to be used
                                                 section, including record of CEMS data
                                                                                                         combustion NOX control technology                      as baseline emissions testing data
                                                 or operating parameters required by
                                                                                                         capable of reducing NOX emissions by                   providing the basis for required
                                                 paragraph (d) to demonstrate
                                                                                                         40% from baseline emission levels as                   emissions reductions. If no such data
                                                 continuous compliance the applicable
                                                                                                         measured during pre-installation                       exist, then the owner or operator must
                                                 emissions limits under paragraph (c) of
                                                                                                         testing.                                               perform pre-installation testing as
                                                 this section.                                              Operating day means a 24-hour                       described in paragraph (e)(3) of this
                                                    (g) Initial notification requirements                period beginning at 12:00 midnight                     section.
                                                 for existing affected units. (1) The                    during which any fuel is combusted at                     (2) The owner or operator of an
                                                 requirements of this paragraph (g) apply                any time in the reheat furnace.                        affected unit shall design each low-NOX
                                                 to the owner or operator of an existing                    Reheat furnace means a furnace used                 burner or alternative low-NOX
                                                 affected unit.                                          to heat steel product—including metal                  technology identified in the work plan
                                                    (2) The owner or operator of an                      ingots, billets, slabs, beams, blooms and              to achieve NOX emission reductions by
                                                 existing affected unit that emits or has                other similar products—for the purpose                 a minimum of 40% from baseline
                                                 a potential to emit 100 tons per year or                of deformation and rolling.                            emission levels measured during
                                                 greater as of August 4, 2023, shall notify                 (b) Applicability. The requirements of              performance testing that meets the
                                                 the Administrator via the CEDRI or                      this section apply to each new or                      criteria set forth in paragraph (e)(1) of
                                                 analogous electronic submission system                  existing reheat furnace at an iron and                 this section, or during pre-installation
                                                 provided by the EPA that the unit is                    steel mill or ferroalloy manufacturing                 testing as described in paragraph (e)(3)
                                                 subject to this section. The notification,              facility that directly emits or has the                of this section. Each low-NOX burner or
                                                 which shall be submitted not later than                 potential to emit 100 tons per year or                 alternative low-NOX technology shall be
                                                 December 4, 2023, shall be submitted in                 more of NOX on or after August 4, 2023,                continuously operated during all
                                                 PDF format to the EPA via CEDRI,                        does not have low-NOX burners                          production periods according to
                                                 which can be accessed through the                       installed, and is located within any of                paragraph (c) of this section.
                                                 EPA’s CDX (https://cdx.epa.gov/). The                   the States listed in § 52.40(c)(2),                       (3) The owner or operator of an
                                                 notification shall provide the following                including Indian country located within                affected unit shall establish an
                                                 information:                                            the borders of any such State(s). Any                  emissions limit in the work plan that
                                                    (i) The name and address of the owner                existing reheat furnace with a potential               the affected unit must comply with in
                                                 or operator;                                            to emit of 100 tons per year or more of                accordance with paragraph (c) of this
                                                    (ii) The address (i.e., physical                     NOX on August 4, 2023, will continue                   section.
                                                 location) of the affected unit;                         to be subject to the requirements of this                 (4) The EPA’s action on work plans:
                                                    (iii) An identification of the relevant              section even if that unit later becomes                   (i) The Administrator will provide via
                                                 standard, or other requirement, that is                 subject to a physical or operational                   the CEDRI or analogous electronic
                                                 the basis for the notification and the                  limitation that lowers its potential to                submission system provided by the EPA
                                                 unit’s compliance date; and                             emit below 100 tons per year of NOX.                   notification to the owner or operator of
                                                                                                            (c) Emissions control requirements. If              an affected unit if the submitted work
                                                    (iv) A brief description of the nature,
                                                                                                         you are the owner or operator of an                    plan is complete, that is, whether the
                                                 size, design, and method of operation of
                                                                                                         affected unit without low-NOX burners                  request contains sufficient information
                                                 the facility and an identification of the
                                                                                                         already installed, you must install and                to make a determination, within 60
                                                 types of emissions points (units) within
                                                                                                         operate low-NOX burners or equivalent                  calendar days after receipt of the
                                                 the facility subject to the relevant
                                                                                                         alternative low-NOX technology                         original work plan and within 60
                                                 standard.
                                                                                                         designed to achieve at least a 40%                     calendar days after receipt of any
                                                 § 52.43 What are the requirements of the                reduction from baseline NOX emissions                  supplementary information.
                                                 Federal Implementation Plans (FIPs)                     in accordance with the work plan                          (ii) The Administrator will provide
                                                                                                                                                                notification via the CEDRI or analogous
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                                                 relating to ozone season emissions of                   established pursuant to paragraph (d) of
                                                 nitrogen oxides from the Iron and Steel                 this section. You must meet the                        electronic submission system provided
                                                 Mills and Ferroalloy Manufacturing                      emissions limit established under                      by the EPA, which shall be publicly
                                                 Industry?                                               paragraph (d) on a 30-day rolling                      available, to the owner or operator of a
                                                   (a) Definitions. All terms not defined                average basis.                                         decision to approve or intention to
                                                 in this paragraph (a) shall have the                       (d) Work plan requirements. (1) The                 disapprove the work plan within 60
                                                 meaning given to them in the Act and                    owner or operator of each affected unit                calendar days after providing written
                                                 in subpart A of 40 CFR part 60.                         must submit a work plan for each                       notification pursuant to paragraph


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                                                 (d)(4)(i) of this section that the                      emissions from the affected unit, you                     (iii) You must repeat the performance
                                                 submitted work plan is complete.                        may use the CEMS data in lieu of the                   test annually to reassess and adjust the
                                                    (iii) Before disapproving a work plan,               annual performance tests and                           site-specific operating parameter
                                                 the Administrator will notify the owner                 parametric monitoring required under                   indicator ranges in accordance with the
                                                 or operator via the CEDRI or analogous                  this section. You must meet the                        results of the performance test.
                                                 electronic submission system provided                   following requirements for using CEMS                     (iv) You must report and include your
                                                 by the EPA of the Administrator’s                       to monitor NOX emissions:                              ongoing site-specific operating
                                                 intention to issue the disapproval,                        (i) You shall install, calibrate,                   parameter data in the annual reports
                                                 together with:                                          maintain, and operate a continuous                     required under paragraph (f) of this
                                                    (A) Notice of the information and                    emissions monitoring system (CEMS)                     section and semi-annual title V
                                                 findings on which the intended                          for measuring NOX emissions and either                 monitoring reports to the relevant
                                                 disapproval is based; and                               oxygen (O2) or carbon dioxide (CO2).                   permitting authority.
                                                    (B) Notice of opportunity for the                       (ii) The CEMS shall be operated and                    (f) Recordkeeping requirements. If you
                                                 owner or operator to present in writing,                data recorded during all periods of                    are the owner or operator of an affected
                                                 within 15 calendar days after he/she is                 operation during the ozone season of the               unit, you shall maintain records of the
                                                 notified of the intended disapproval,                   affected unit except for CEMS                          following information for each day the
                                                 additional information or arguments to                  breakdowns and repairs. Data shall be                  affected unit operates:
                                                 the Administrator before further action                 recorded during calibration checks and                    (1) Calendar date;
                                                 on the work plan.                                       zero and span adjustments.                                (2) The average hourly NOX emissions
                                                    (iv) The Administrator’s final decision                                                                     rates measured or predicted;
                                                 to disapprove a work plan will be via                      (iii) The 1-hour average NOX
                                                                                                         emissions rates measured by the CEMS                      (3) The 30-day average NOX emissions
                                                 the CEDRI or analogous electronic                                                                              rates calculated at the end of each
                                                 submission system provided by the EPA                   shall be expressed in form of the
                                                                                                         emissions limit established in the work                affected unit operating day from the
                                                 and publicly available, and will set forth                                                                     measured or predicted hourly NOX
                                                 the specific grounds on which the                       plan and shall be used to calculate the
                                                                                                         average emissions rates to demonstrate                 emissions rates for the preceding 30
                                                 disapproval is based. The final decision                                                                       operating days;
                                                 will be made within 60 calendar days                    compliance with the applicable
                                                                                                         emissions limits established in the work                  (4) Identification of the affected unit
                                                 after presentation of additional                                                                               operating days when the calculated 30-
                                                 information or argument (if the                         plan.
                                                                                                                                                                day average NOX emissions rates are in
                                                 submitted work plan is complete), or                       (iv) The procedures under 40 CFR
                                                                                                                                                                excess of the applicable site-specific
                                                 within 60 calendar days after the                       60.13 shall be followed for installation,
                                                                                                                                                                NOX emissions limit with the reasons
                                                 deadline for the submission of                          evaluation, and operation of the
                                                                                                                                                                for such excess emissions as well as a
                                                 additional information or argument                      continuous monitoring systems.
                                                                                                                                                                description of corrective actions taken;
                                                 under paragraph (d)(5)(iii)(B) of this                     (v) When NOX emissions data are not
                                                                                                                                                                   (5) Identification of the affected unit
                                                 section, if no such submission is made.                 obtained because of CEMS breakdowns,
                                                                                                                                                                operating days for which pollutant data
                                                    (v) If the Administrator disapproves                 repairs, calibration checks and zero and
                                                                                                                                                                have not been obtained, including
                                                 the submitted work plan for failure to                  span adjustments, emissions data will
                                                                                                                                                                reasons for not obtaining sufficient data
                                                 satisfy the requirements of paragraphs                  be obtained by using standby
                                                                                                                                                                and a description of corrective actions
                                                 (c) and (d)(1) through (3) of this section,             monitoring systems, Method 7 of 40
                                                                                                                                                                taken;
                                                 or if the owner or operator of an affected              CFR part 60, appendix A–4, Method 7A                      (6) Identification of the times when
                                                 unit fails to submit a work plan by                     of 40 CFR part 60, appendix A–4, or                    emissions data have been excluded from
                                                 August 5, 2024, the owner or operator                   other approved reference methods to                    the calculation of average emissions
                                                 will be in violation of this section. Each              provide emissions data for a minimum                   rates and the reasons for excluding data;
                                                 day that the affected unit operates                     of 75 percent of the operating hours in                   (7) If a CEMS is used to verify
                                                 following such disapproval or failure to                each affected unit operating day, in at                compliance:
                                                 submit shall constitute a violation.                    least 22 out of 30 successive operating                   (i) Identification of the times when
                                                    (e) Testing and monitoring                           days.                                                  the pollutant concentration exceeded
                                                 requirements. (1) If you are the owner or                  (3) If you are the owner or operator of             full span of the CEMS;
                                                 operator of an affected unit you must                   an affected unit not operating NOX                        (ii) Description of any modifications
                                                 conduct performance tests, on an annual                 CEMS, you must conduct an initial                      to the CEMS that could affect the ability
                                                 basis, in accordance with the applicable                performance test before the 2026 ozone                 of the CEMS to comply with
                                                 reference test methods of 40 CFR part                   season to establish appropriate indicator              Performance Specification 2 or 3 in
                                                 60, appendix A–4, any alternative test                  ranges for operating parameters and                    appendix B to 40 CFR part 60; and
                                                 method approved by the EPA as of June                   continuously monitor those operator                       (iii) Results of daily CEMS drift tests
                                                 5, 2023, under 40 CFR 59.104(f),                        parameters consistent with the                         and quarterly accuracy assessments as
                                                 60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),            requirements of paragraphs (e)(3)(i)                   required under Procedure 1 of 40 CFR
                                                 or 65.158(a)(2) and available at the                    through (iv) of this section.                          part 60, appendix F;
                                                 EPA’s website (https://www.epa.gov/                        (i) You must monitor and record stack                  (8) Operating parameters required
                                                 emc/broadly-applicable-approved-                        exhaust gas flow rate and temperature                  under paragraph (d) of this section to
                                                 alternative-test-methods), or other                     during the initial performance test and                demonstrate compliance during the
                                                 methods and procedures approved by                      subsequent annual performance tests to                 ozone season; and
                                                                                                         demonstrate continuous compliance
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                                                 the EPA through notice-and-comment                                                                                (9) Each fuel type, usage, and heat
                                                 rulemaking. The annual performance                      with your NOX emissions limits.                        content.
                                                 test does not have to be performed                         (ii) You must use the stack exhaust                    (g) Reporting requirements. (1) If you
                                                 during the ozone season.                                gas flow rate and temperature during the               are the owner or operator of an affected
                                                    (2) If you are the owner or operator of              initial performance test and subsequent                unit, you shall submit a final report via
                                                 an affected unit and are operating a NOX                annual performance tests to establish a                the CEDRI or analogous electronic
                                                 continuous emissions monitoring                         site-specific indicator for these                      submission system provided by the
                                                 system (CEMS) that monitors NOX                         operating parameters.                                  EPA, by no later than March 30, 2026,


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                                                 certifying that installation of each                    cdx.epa.gov/). The notification shall                     Idling means the operation of a glass
                                                 selected control device has been                        provide the following information:                     melting furnace at less than 25% of the
                                                 completed. You shall include in the                       (i) The name and address of the owner                permitted production capacity or fuel
                                                 report the dates of final construction                  or operator;                                           use capacity as stated in the operating
                                                 and relevant performance testing, where                   (ii) The address (i.e., physical                     permit.
                                                 applicable, demonstrating compliance                    location) of the affected unit;                           Lead recipe means glass product
                                                 with the selected emission limits                         (iii) An identification of the relevant              composition of the following ranges of
                                                 pursuant to paragraphs (c) and (d) of                   standard, or other requirement, that is                weight proportions: 50 to 60 percent
                                                 this section.                                           the basis for the notification and the                 silicon dioxide, 18 to 35 percent lead
                                                    (2) If you are the owner or operator of              unit’s compliance date; and                            oxides, 5 to 20 percent total R2O (e.g.,
                                                 an affected unit, you must submit the                     (iv) A brief description of the nature,              Na2O and K2O), 0 to 8 percent total R2O3
                                                 results of the performance test or                      size, design, and method of operation of               (e.g., Al2O3), 0 to 15 percent total RO
                                                 performance evaluation of the CEMS                      the facility and an identification of the              (e.g., CaO, MgO), other than lead oxide,
                                                                                                         types of emissions points (units) within               and 5 to 10 percent other oxides.
                                                 following the procedures specified in
                                                                                                         the facility subject to the relevant                      Operating day means a 24-hr period
                                                 § 52.40(g) within 60 days after the date
                                                                                                         standard.                                              beginning at 12:00 midnight during
                                                 of completing each performance test
                                                 required by this section.                                                                                      which the furnace combusts fuel at any
                                                                                                         § 52.44 What are the requirements of the
                                                    (3) If you are the owner or operator of              Federal Implementation Plans (FIPs)                    time but excludes any period of startup,
                                                 an affected unit, you are required to                   relating to ozone season emissions of                  shutdown, or idling during which the
                                                 submit excess emissions reports for any                 nitrogen oxides from the Glass and Glass               affected unit complies with the
                                                 excess emissions that occurred during                   Product Manufacturing Industry?                        requirements in paragraphs (d) through
                                                 the reporting period. Excess emissions                    (a) Definitions. All terms not defined               (f) of this section, as applicable.
                                                                                                         in this paragraph (a) shall have the                      Pressed and blown glass means glass
                                                 are defined as any calculated 30-day
                                                                                                         meaning given to them in the Act and                   which is pressed, blown, or both,
                                                 rolling average NOX emissions rate that
                                                                                                         in subpart A of 40 CFR part 60.                        including textile fiberglass,
                                                 exceeds the applicable emissions limit
                                                                                                           Affected units means a glass                         noncontinuous flat glass, noncontainer
                                                 established under paragraphs (c) and (d)                                                                       glass, and other products listed in SIC
                                                 of this section. Excess emissions reports               manufacturing furnace meeting the
                                                                                                         applicability criteria of this section.                3229. It is separated into: Glass of
                                                 must be submitted in PDF format to the                                                                         borosilicate recipe, Glass of soda-lime
                                                                                                           Borosilicate recipe means glass
                                                 EPA via CEDRI or analogous electronic                                                                          and lead recipes, and Glass of opal,
                                                                                                         product composition of the following
                                                 reporting approach provided by the EPA                                                                         fluoride, and other recipes.
                                                                                                         approximate ranges of weight
                                                 to report data required by this section                                                                           Raw material means minerals, such as
                                                                                                         proportions: 60 to 80 percent silicon
                                                 following the procedures specified in                                                                          silica sand, limestone, and dolomite;
                                                                                                         dioxide, 4 to 10 percent total R2O (e.g.,
                                                 § 52.40(g).                                                                                                    inorganic chemical compounds, such as
                                                                                                         Na2O and K2O), 5 to 35 percent boric
                                                    (4) If you are the owner or operator of              oxides, and 0 to 13 percent other oxides.              soda ash (sodium carbonate), salt cake
                                                 an affected unit, you shall submit an                     Container glass means glass made of                  (sodium sulfate), and potash (potassium
                                                 annual report in PDF format to the EPA                  soda-lime recipe, clear or colored,                    carbonate); metal oxides and other
                                                 by January 30th of each year via CEDRI                  which is pressed and/or blown into                     metal-based compounds, such as lead
                                                 or analogous electronic reporting                       bottles, jars, ampoules, and other                     oxide, chromium oxide, and sodium
                                                 approach provided by the EPA to report                  products listed in Standard Industrial                 antimonate; metal ores, such as
                                                 data required by this section. Annual                   Classification (SIC) 3221 (SIC 3221).                  chromite and pyrolusite; and other
                                                 reports shall be submitted following the                  Flat glass means glass made of soda-                 substances that are intentionally added
                                                 procedures in § 52.40(g). The report                    lime recipe and produced into                          to a glass manufacturing batch and
                                                 shall include records all records                       continuous flat sheets and other                       melted in a glass melting furnace to
                                                 required by paragraphs (e) and (f) of this              products listed in SIC 3211.                           produce glass. Metals that are naturally-
                                                 section, including record of CEMS data                    Glass melting furnace means a unit                   occurring trace constituents or
                                                 or operating parameters required by                     comprising a refractory vessel in which                contaminants of other substances are
                                                 paragraph (e) to demonstrate                            raw materials are charged, melted at                   not considered to be raw materials.
                                                 compliance the applicable emissions                     high temperature, refined, and                            Shutdown means the period of time
                                                 limits established under paragraphs (c)                 conditioned to produce molten glass.                   during which a glass melting furnace is
                                                 and (d) of this section.                                The unit includes foundations,                         taken from an operational to a non-
                                                    (h) Initial notification requirements                superstructure and retaining walls, raw                operational status by allowing it to cool
                                                 for existing affected units. (1) The                    material charger systems, heat                         down from its operating temperature to
                                                 requirements of this paragraph (h) apply                exchangers, melter cooling system,                     a cold or ambient temperature as the
                                                 to the owner or operator of an existing                 exhaust system, refractory brick work,                 fuel supply is turned off.
                                                 affected unit.                                          fuel supply and electrical boosting                       Soda-lime recipe means glass product
                                                    (2) The owner or operator of an                      equipment, integral control systems and                composition of the following ranges of
                                                 existing affected unit that emits or has                instrumentation, and appendages for                    weight proportions: 60 to 75 percent
                                                 a potential to emit 100 tons per year or                conditioning and distributing molten                   silicon dioxide, 10 to 17 percent total
                                                 more of NOX as of August 4, 2023, shall                 glass to forming apparatuses. The                      R2O (e.g., Na2O and K2O), 8 to 20
                                                 notify the Administrator via the CEDRI                  forming apparatuses, including the float               percent total RO but not to include any
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                                                 or analogous electronic submission                      bath used in flat glass manufacturing                  PbO (e.g., CaO, and MgO), 0 to 8 percent
                                                 system provided by the EPA that the                     and flow channels in wool fiberglass                   total R2O3 (e.g., Al2O3), and 1 to 5
                                                 unit is subject to this section. The                    and textile fiberglass manufacturing, are              percent other oxides.
                                                 notification, which shall be submitted                  not considered part of the glass melting                  Startup means the period of time,
                                                 not later than December 4, 2023, shall                  furnace.                                               after initial construction or a furnace
                                                 be submitted in PDF format to the EPA                     Glass produced means the weight of                   rebuild, during which a glass melting
                                                 via CEDRI, which can be accessed                        the glass pulled from the glass melting                furnace is heated to operating
                                                 through the EPA’s CDX (https://                         furnace.                                               temperatures by the primary furnace


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                                                 combustion system, and systems and                         (ii) A description of the material                     (2) The duration of a shutdown, as
                                                 instrumentation are brought to                          process flow rates, system operating                   measured from the time the furnace
                                                 stabilization.                                          parameters, and other information that                 operations drop below 25% of the
                                                    Textile fiberglass means fibrous glass               the owner or operator shall monitor and                permitted production capacity or fuel
                                                 in the form of continuous strands                       record during the startup period.                      use capacity to when all emissions from
                                                 having uniform thickness.                                  (iii) Identification of the control                 the furnace cease, may not exceed 20
                                                    Wool fiberglass means fibrous glass of               technologies or strategies to be utilized.             days.
                                                 random texture, including accoustical                      (iv) A description of the physical                     (3) If you are the owner or operator of
                                                 board and tile (mineral wool), fiberglass               conditions present during startup                      an affected unit, you shall operate the
                                                 insulation, glass wool, insulation (rock                periods that prevent the controls from                 emissions control system whenever
                                                 wool, fiberglass, slag, and silicia                     being effective.                                       technologically feasible during
                                                 minerals), and mineral wool roofing                        (v) A reasonably precise estimate as to             shutdown to minimize emissions.
                                                 mats.                                                   when physical conditions will have                        (f) Idling requirements. (1) If you are
                                                    (b) Applicability. You are subject to                reached a state that allows for the                    the owner or operator of an affected
                                                 the requirements under this section if                  effective control of emissions.                        unit, you shall operate the emissions
                                                 you own or operate a new or existing                       (2) The length of startup following                 control system whenever
                                                 glass manufacturing furnace that                        activation of the primary furnace                      technologically feasible during idling to
                                                 directly emits or has the potential to                  combustion system may not exceed:                      minimize emissions.
                                                 emit 100 tons per year or more of NOX                      (i) Seventy days for a container,                      (2) If you are the owner or operator of
                                                 on or after August 4, 2023, and is                      pressed or blown glass furnace;                        an affected unit, your NOX emissions
                                                 located within any of the States listed in                 (ii) Forty days for a fiberglass furnace;           during idling may not exceed the
                                                 § 52.40(c)(2), including Indian country                 and                                                    amount calculated using the following
                                                 located within the borders of any such                     (iii) One hundred and four days for a               equation: Pounds per day emissions
                                                 State(s). Any existing glass                            flat glass furnace and for all other glass             limit of NOX = (Applicable NOX
                                                 manufacturing furnace with a potential                  melting furnaces not covered under                     emissions limit specified in paragraph
                                                 to emit of 100 tons per year or more of                 paragraphs (d)(2)(i) and (ii) of this                  (c) of this section expressed in pounds
                                                 NOX on August 4, 2023, will continue                    section.                                               per ton of glass produced) × (Furnace
                                                 to be subject to the requirements of this                  (3) During the startup period, the                  permitted production capacity in tons of
                                                 section even if that unit later becomes                 owner or operator of an affected unit                  glass produced per day).
                                                 subject to a physical or operational                    shall maintain the stoichiometric ratio                   (3) To demonstrate compliance with
                                                 limitation that lowers its potential to                 of the primary furnace combustion                      the alternative daily NOX emissions
                                                 emit below 100 tons per year of NOX.                    system so as not to exceed 5 percent                   limit identified in paragraph (f)(2) of
                                                    (c) Emissions limitations. If you are                excess oxygen, as calculated from the                  this section during periods of idling, the
                                                 the owner or operator of an affected                    actual fuel and oxidant flow                           owners or operators of an affected unit
                                                 unit, you must meet the emissions                       measurements for combustion in the                     shall maintain records consistent with
                                                 limitations in paragraphs (c)(1) and (2)                affected unit.                                         paragraph (h)(3) of this section.
                                                 of this section on a 30-day rolling                        (4) The owner or operator of an                        (g) Testing and monitoring
                                                 average basis during the 2026 ozone                     affected unit shall place the emissions                requirements. (1) If you own or operate
                                                 season and in each ozone season                         control system in operation as soon as                 an affected unit subject to the NOX
                                                 thereafter. For the 2026 ozone season,                  technologically feasible during startup                emissions limits under paragraph (c) of
                                                 the emissions limitations in paragraphs                 to minimize emissions.                                 this section you must conduct
                                                 (c)(1) and (2) do not apply during                         (e) Shutdown requirements. (1) If you               performance tests, on an annual basis,
                                                 shutdown and idling if the affected unit                are the owner or operator of an affected               in accordance with the applicable
                                                 complies with the requirements in                       unit, you shall submit via the CEDRI or                reference test methods of 40 CFR part
                                                 paragraphs (e) and (f) of this section, as              analogous electronic submission system                 60, appendix A–4, any alternative test
                                                 applicable. For the 2027 and subsequent                 provided by the EPA to the                             method approved by the EPA as of June
                                                 ozone seasons, the emissions limitations                Administrator, no later than 30 days                   5, 2023, under 40 CFR 59.104(f),
                                                 in paragraphs (c)(1) and (2) do not apply               prior to the anticipated date of                       60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),
                                                 during startup, shutdown, and idling, if                shutdown, the following information to                 or 65.158(a)(2) and available at the
                                                 the affected unit complies with the                     assure proper operation of the furnace:                EPA’s website (https://www.epa.gov/
                                                 requirements in paragraphs (d) through                     (i) A detailed list of activities to be             emc/broadly-applicable-approved-
                                                 (f) of this section, as applicable.                     performed during shutdown and                          alternative-test-methods), or other
                                                    (1) Container glass, pressed/blown                   explanations to support the length of                  methods and procedures approved by
                                                 glass, or fiberglass manufacturing                      time needed to complete each activity.                 the EPA through notice-and-comment
                                                 furnace: 4.0 lb/ton of glass; and                          (ii) A description of the material                  rulemaking. The annual performance
                                                    (2) Flat glass manufacturing furnace:                process flow rates, system operating                   test does not have to be performed
                                                 7.0 lb/ton of glass.                                    parameters, and other information that                 during the ozone season. Owners or
                                                    (d) Startup requirements. (1) If you are             the owner or operator shall monitor and                operators of affected units must
                                                 the owner or operator of an affected                    record during the shutdown period.                     calculate and record the 30-day rolling
                                                 unit, you shall submit via the CEDRI or                    (iii) Identification of the control                 average emissions rate of NOX as the
                                                 analogous electronic submission system                  technologies or strategies to be utilized.             total of all hourly emissions data for an
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                                                 provided by the EPA, no later than 30                      (iv) A description of the physical                  affected unit in the preceding 30 days,
                                                 days prior to the anticipated date of                   conditions present during shutdown                     divided by the total tons of glass
                                                 startup, the following information to                   periods that prevent the controls from                 produced in that affected unit during
                                                 assure proper operation of the furnace:                 being effective.                                       the same 30-day period. Direct
                                                    (i) A detailed list of activities to be                 (v) A reasonably precise estimate as to             measurement or material balance using
                                                 performed during startup and                            when physical conditions will have                     good engineering practice shall be used
                                                 explanations to support the length of                   reached a state that allows for the                    to determine the amount of glass
                                                 time needed to complete each activity.                  effective control of emissions.                        produced during the performance test.


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                                                 The rate of glass produced is defined as                performance tests to demonstrate                         (vii) If a CEMS is used to verify
                                                 the weight of glass pulled from the                     continuous compliance with your NOX                    compliance:
                                                 affected unit during the performance                    emissions limits.                                        (A) Identification of the times when
                                                 test divided by the number of hours                        (ii) You must use the stack exhaust                 the pollutant concentration exceeded
                                                 taken to perform the performance test.                  gas flow rate, hourly glass production,                full span of the CEMS;
                                                    (2) If you are the owner or operator of              and stack exhaust gas temperature                        (B) Description of any modifications
                                                 an affected unit subject to the NOX                     during the initial performance test and                to the CEMS that could affect the ability
                                                 emissions limits under paragraph (c)(1)                 subsequent annual performance tests as                 of the CEMS to comply with
                                                 of this section and are operating a NOX                 NOX CEMS indicators to demonstrate                     Performance Specification 2 or 3 in
                                                 CEMS that monitors NOX emissions                        continuous compliance and establish a                  appendix B to 40 CFR part 60; and
                                                 from the affected unit, you may use the                 site-specific indicator ranges for these                 (C) Results of daily CEMS drift tests
                                                 CEMS data in lieu of the annual                         operating parameters.                                  and quarterly accuracy assessments as
                                                 performance tests and parametric                           (iii) You must repeat the performance               required under Procedure 1 of 40 CFR
                                                 monitoring required under this section.                 test annually to reassess and adjust the               part 60, appendix F;
                                                 You must meet the following                             site-specific operating parameter                        (D) Operating parameters required
                                                 requirements for using CEMS to monitor                  indicator ranges in accordance with the                under paragraph (g) to demonstrate
                                                 NOX emissions:                                          results of the performance test.                       compliance during the ozone season;
                                                    (i) You shall install, calibrate,                                                                             (viii) Each fuel type, usage, and heat
                                                                                                            (iv) You must report and include your
                                                 maintain, and operate a continuous                                                                             content; and
                                                                                                         ongoing site-specific operating
                                                 emissions monitoring system (CEMS)                                                                               (ix) Glass production rate.
                                                                                                         parameter data in the annual reports                     (2) If you are the owner or operator of
                                                 for measuring NOX emissions and either                  required under paragraph (h) of this
                                                 oxygen (O2) or carbon dioxide (CO2).                                                                           an affected unit, you shall maintain all
                                                                                                         section and semi-annual title V                        records necessary to demonstrate
                                                    (ii) The CEMS shall be operated and
                                                                                                         monitoring reports to the relevant                     compliance with the startup and
                                                 data recorded during all periods of
                                                                                                         permitting authority.                                  shutdown requirements in paragraphs
                                                 operation during the ozone season of the
                                                                                                            (4) If you are the owner or operator of             (d) and (e) of this section, including but
                                                 affected unit except for CEMS
                                                                                                         an affected unit seeking to comply with                not limited to records of material
                                                 breakdowns and repairs. Data shall be
                                                                                                         the requirements for startup under                     process flow rates, system operating
                                                 recorded during calibration checks and
                                                                                                         paragraph (d) of this section or                       parameters, the duration of each startup
                                                 zero and span adjustments.
                                                    (iii) The 1-hour average NOX                         shutdown under paragraph (e) of this                   and shutdown period, fuel throughput,
                                                 emissions rates measured by the CEMS                    section in lieu of the applicable                      oxidant flow rate, and any additional
                                                 shall be expressed in terms of lbs/ton of               emissions limit under paragraph (c) of                 records necessary to determine whether
                                                 glass and shall be used to calculate the                this section, you must monitor material                the stoichiometric ratio of the primary
                                                 average emissions rates to demonstrate                  process flow rates, fuel throughput,                   furnace combustion system exceeded 5
                                                 compliance with the applicable                          oxidant flow rate, and the selected                    percent excess oxygen during startup.
                                                 emissions limits in this section.                       system operating parameters in                           (3) If you are the owner or operator of
                                                    (iv) The procedures under 40 CFR                     accordance with paragraphs (d)(1)(ii)                  an affected unit, you shall maintain
                                                 60.13 shall be followed for installation,               and (e)(1)(ii) of this section.                        records of daily NOX emissions in
                                                 evaluation, and operation of the                           (h) Recordkeeping requirements. (1) If              pounds per day for purposes of
                                                 continuous monitoring systems.                          you are the owner or operator of an                    determining compliance with the
                                                    (v) When NOX emissions data are not                  affected unit, you shall maintain records              applicable emissions limit for idling
                                                 obtained because of CEMS breakdowns,                    of the following information for each                  periods under paragraph (f)(2) of this
                                                 repairs, calibration checks and zero and                day the affected unit operates:                        section. Each owner or operator shall
                                                 span adjustments, emissions data will                      (i) Calendar date;                                  also record the duration of each idling
                                                 be obtained by using standby                               (ii) The average hourly NOX emissions               period.
                                                 monitoring systems, Method 7 of 40                      rates measured or predicted;                             (i) Reporting requirements. (1) If you
                                                 CFR part 60, appendix A–4, Method 7A                       (iii) The 30-day average NOX                        are the owner or operator of an affected
                                                 of 40 CFR part 60, appendix A–4, or                     emissions rates calculated at the end of               unit, you must submit the results of the
                                                 other approved reference methods to                     each affected unit operating day from                  performance test or performance
                                                 provide emissions data for a minimum                    the measured or predicted hourly NOX                   evaluation of the CEMS following the
                                                 of 75 percent of the operating hours in                 emissions rates for the preceding 30                   procedures specified in § 52.40(g)
                                                 each affected unit operating day, in at                 operating days;                                        within 60 days after the date of
                                                 least 22 out of 30 successive operating                    (iv) Identification of the affected unit            completing each performance test
                                                 days.                                                   operating days when the calculated 30-                 required by this section.
                                                    (3) If you are the owner or operator of              day average NOX emissions rates are in                   (2) If you are the owner or operator of
                                                 an affected unit not operating NOX                      excess of the applicable site-specific                 an affected unit, you are required to
                                                 CEMS, you must conduct an initial                       NOX emissions limit with the reasons                   submit excess emissions reports for any
                                                 performance test before the 2026 ozone                  for such excess emissions as well as a                 excess emissions that occurred during
                                                 season to establish appropriate indicator               description of corrective actions taken;               the reporting period. Excess emissions
                                                 ranges for operating parameters and                        (v) Identification of the affected unit             are defined as any calculated 30-day
                                                 continuously monitor those operator                     operating days for which pollutant data                rolling average NOX emissions rate that
                                                                                                         have not been obtained, including
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                                                 parameters consistent with the                                                                                 exceeds the applicable emissions limit
                                                 requirements of paragraphs (g)(3)(i)                    reasons for not obtaining sufficient data              in paragraph (c) of this section. Excess
                                                 through (iv) of this section.                           and a description of corrective actions                emissions reports must be submitted in
                                                    (i) You must monitor and record stack                taken;                                                 PDF format to the EPA via CEDRI or
                                                 exhaust gas flow rate, hourly glass                        (vi) Identification of the times when               analogous electronic reporting approach
                                                 production, and stack exhaust gas                       emissions data have been excluded from                 provided by the EPA to report data
                                                 temperature during the initial                          the calculation of average emissions                   required by this section following the
                                                 performance test and subsequent annual                  rates and the reasons for excluding data;              procedures specified in § 52.40(g).


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                                                    (3) If you own or operate an affected                recovering thermal energy in the form of               via the low-use exemption provisions
                                                 unit, you shall submit an annual report                 steam or hot water. Controlled flame                   and must meet the applicable emissions
                                                 in PDF format to the EPA by January                     combustion refers to a steady-state, or                limits and other applicable provisions
                                                 30th of each year via CEDRI or                          near steady-state, process wherein fuel                as soon as possible but not later than
                                                 analogous electronic reporting approach                 and/or oxidizer feed rates are                         one year from the date eligibility as a
                                                 provided by the EPA to report data                      controlled.                                            low-use boiler was negated by
                                                 required by this section. Annual reports                   Coal means ‘‘coal’’ as defined in 40                exceedance of the low-use boiler
                                                 shall be submitted following the                        CFR 60.41b.                                            criteria.
                                                 procedures in § 52.40(g). The report                       Distillate oil means ‘‘distillate oil’’ as             (ii) [Reserved]
                                                 shall include records all records                       defined in 40 CFR 60.41b.                                 (c) Emissions limitations. If you are
                                                 required by paragraph (g) of this section,                 Maximum heat input capacity means                   the owner or operator of an affected
                                                 including record of CEMS data or                        means the ability of a steam generating                unit, you must meet the following
                                                 operating parameters to demonstrate                     unit to combust a stated maximum                       emissions limitations on a 30-day
                                                 continuous compliance the applicable                    amount of fuel on a steady state basis,                rolling average basis during the 2026
                                                 emissions limits under paragraphs (c) of                as determined by the physical design                   ozone season and in each ozone season
                                                 this section.                                           and characteristics of the steam                       thereafter:
                                                    (j) Initial notification requirements for            generating unit.                                          (1) Coal-fired industrial boilers: 0.20
                                                 existing affected units. (1) The                           Natural gas means ‘‘natural gas’’ as
                                                                                                                                                                lbs NOX/mmBtu;
                                                 requirements of this paragraph (j) apply                defined in 40 CFR 60.41.
                                                                                                            Operating day means a 24-hour                          (2) Residual oil-fired industrial
                                                 to the owner or operator of an existing                                                                        boilers: 0.20 lbs NOX/mmBtu;
                                                 affected unit.                                          period between 12:00 midnight and the
                                                                                                         following midnight during which any                       (3) Distillate oil-fired industrial
                                                    (2) The owner or operator of an                                                                             boilers: 0.12 lbs NOX/mmBtu;
                                                 existing affected unit that emits or has                fuel is combusted at any time in the
                                                                                                         steam generating unit. It is not necessary                (4) Natural gas-fired industrial boilers:
                                                 a potential to emit greater than 100 tons                                                                      0.08 lbs NOX/mmBtu; and
                                                 per year or greater as of August 4, 2023,               for fuel to be combusted continuously
                                                                                                         for the entire 24-hour period.                            (5) Boilers using combinations of fuels
                                                 shall notify the Administrator via the                                                                         listed in paragraphs (c)(1) through (4) of
                                                 CEDRI or analogous electronic                              Residual oil means ‘‘residual oil’’ as
                                                                                                         defined in 40 CFR 60.41c.                              this section: such units shall comply
                                                 submission system provided by the EPA                                                                          with a NOX emissions limit derived by
                                                 that the unit is subject to this section.                  (b) Applicability. (1) The requirements
                                                                                                         of this section apply to each new or                   summing the products of each fuel’s
                                                 The notification, which shall be                                                                               heat input and respective emissions
                                                 submitted not later than June 23, 2023,                 existing boiler with a design capacity of
                                                                                                         100 mmBtu/hr or greater that receives                  limit and dividing by the sum of the
                                                 shall be submitted in PDF format to the                                                                        heat input contributed by each fuel.
                                                 EPA via CEDRI, which can be accessed                    90% or more of its heat input from coal,
                                                                                                         residual oil, distillate oil, natural gas, or             (d) Testing and monitoring
                                                 through the EPA’s CDX (https://                                                                                requirements. (1) If you are the owner or
                                                 cdx.epa.gov/). The notification shall                   combinations of these fuels in the
                                                                                                         previous ozone season, is located at                   operator of an affected unit, you shall
                                                 provide the following information:                                                                             conduct an initial compliance test as
                                                    (i) The name and address of the owner                sources that are within the Basic
                                                                                                         Chemical Manufacturing industry, the                   described in 40 CFR 60.8 using the
                                                 or operator;
                                                                                                         Petroleum and Coal Products                            continuous system for monitoring NOX
                                                    (ii) The address (i.e., physical
                                                                                                         Manufacturing industry, the Pulp,                      specified by EPA Test Method 7E of 40
                                                 location) of the affected unit;
                                                    (iii) An identification of the relevant              Paper, and Paperboard industry, the                    CFR part 60, appendix A–4, to
                                                 standard, or other requirement, that is                 Metal Ore Mining industry, and the Iron                determine compliance with the
                                                 the basis for the notification and the                  and Steel and Ferroalloys                              emissions limits for NOX identified in
                                                 unit’s compliance date; and                             Manufacturing industry and which is                    paragraph (c) of this section. In lieu of
                                                    (iv) A brief description of the nature,              located within any of the States listed in             the timing of the compliance test
                                                 size, design, and method of operation of                § 52.40(c)(2), including Indian country                described in 40 CFR 60.8(a), you shall
                                                 the facility and an identification of the               located within the borders of any such                 conduct the test within 90 days from the
                                                 types of emissions points (units) within                State(s). The requirements of this                     installation of the pollution control
                                                 the facility subject to the relevant                    section do not apply to an emissions                   equipment used to comply with the
                                                 standard.                                               unit that meets the requirements for a                 NOX emissions limits in paragraph (c) of
                                                                                                         low-use exemption as provided in                       this section and no later than May 1,
                                                 § 52.45 What are the requirements of the                paragraph (b)(2) of this section.                      2026.
                                                 Federal Implementation Plans (FIPs)                        (2) If you are the owner or operator of                (i) For the initial compliance test, you
                                                 relating to ozone season emissions of                                                                          shall monitor NOX emissions from the
                                                                                                         a boiler meeting the applicability
                                                 nitrogen oxides from the Basic Chemical
                                                                                                         criteria of paragraph (b)(1) of this                   affected unit for 30 successive operating
                                                 Manufacturing, Petroleum and Coal
                                                 Products Manufacturing, the Pulp, Paper,                section that operates less than 10% per                days and the 30-day average emissions
                                                 and Paperboard Mills Industries, Metal Ore              year on an hourly basis, based on the                  rate will be used to determine
                                                 Mining, and the Iron and Steel and                      three most recent years of use and no                  compliance with the NOX emissions
                                                 Ferroalloy Manufacturing Industries?                    more than 20% in any one of the three                  limits in paragraph (c) of this section.
                                                   (a) Definitions. All terms not defined                years, you are exempt from meeting the                 You shall calculate the 30-day average
                                                 in this paragraph (a) shall have the                    emissions limits of this section and are               emission rate as the average of all
                                                                                                                                                                hourly emissions data recorded by the
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                                                 meaning given to them in the Act and                    only subject to the recordkeeping and
                                                 in subpart A of 40 CFR part 60.                         reporting requirements of paragraph                    monitoring system during the 30-day
                                                   Affected unit means an industrial                     (f)(2) of this section.                                test period.
                                                 boiler meeting the applicability criteria                  (i) If you are the owner or operator of                (ii) You are not required to conduct an
                                                 of this section.                                        an affected unit that exceeds the 10%                  initial compliance test if the affected
                                                   Boiler means an enclosed device                       per year hour of operation over three                  unit is subject to a pre-existing,
                                                 using controlled flame combustion and                   years or the 20% hours of operation per                federally enforceable requirement to
                                                 having the primary purpose of                           year criteria, you can no longer comply                monitor its NOX emissions using a


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                                                 CEMS in accordance with 40 CFR 60.13                    and zero and span adjustments, you will                to 40 CFR part 60, Method 320 of
                                                 or 40 CFR part 75.                                      obtain emissions data by using standby                 appendix A to 40 CFR part 63, or other
                                                    (2) If you are the owner or operator of              monitoring systems, Method 7 of 40                     approved reference methods. The
                                                 an affected unit with a heat input                      CFR part 60, appendix A–4, Method 7A                   annual performance test must be
                                                 capacity of 250 mmBTU/hr or greater,                    of 40 CFR part 60, appendix A–4, or                    conducted before the affected units
                                                 you are subject to the following                        other approved reference methods to                    operates more than 400 hours in a given
                                                 monitoring requirements:                                provide emissions data for a minimum                   year.
                                                    (i) You shall install, calibrate,                    of 75 percent of the operating hours in                  (iii) You must develop and comply
                                                 maintain, and operate a continuous                      each affected unit operating day, in at                with a monitoring plan that relates the
                                                 emissions monitoring system (CEMS)                      least 22 out of 30 successive operating                operational parameters to emissions of
                                                 for measuring NOX emissions and either                  days.                                                  the affected unit. The owner or operator
                                                 oxygen (O2) or carbon dioxide (CO2),                       (vii) You may delay installing a CEMS               of each affected unit shall develop a
                                                 unless the Administrator has approved                   for NOX until after the initial                        monitoring plan that identifies the
                                                 a request from you to use an alternative                performance test has been conducted. If                operating conditions of the affected unit
                                                 monitoring technique under paragraph                    you demonstrate during the                             to be monitored and the records to be
                                                 (d)(2)(vii) of this section. If you have                performance test that emissions of NOX                 maintained in order to reliably predict
                                                 previously installed a NOX emissions                    are less than 70 percent of the                        NOX emissions and determine
                                                 rate CEMS to meet the requirements of                   applicable emissions limit in paragraph                compliance with the applicable
                                                 40 CFR 60.13 or 40 CFR part 75 and                      (c) of this section, you are not required              emissions limits of this section on a
                                                 continue to meet the ongoing                            to install a CEMS for measuring NOX. If                continuous basis. You shall include the
                                                 requirements of 40 CFR 60.13 or 40 CFR                  you demonstrate your affected unit                     following information in the plan:
                                                 part 75, that CEMS may be used to meet                  emits less than 70 percent of the                        (A) You shall identify the specific
                                                 the monitoring requirements of this                     applicable emissions limit chooses to                  operating parameters to be monitored
                                                 section.                                                not install a CEMS, you must submit a                  and the relationship between these
                                                    (ii) You shall operate the CEMS and                  written request to the Administrator that              operating parameters and the applicable
                                                 record data during all periods of                       documents the results of the initial                   NOX emission rates. Operating
                                                 operation during the ozone season of the                performance test and includes an                       parameters of the affected unit include,
                                                 affected unit except for CEMS                           alternative monitoring procedure that                  but are not limited to, the degree of
                                                 breakdowns and repairs. You shall                       will be used to track compliance with                  staged combustion (i.e., the ratio of
                                                 record data during calibration checks                   the applicable NOX emissions limit(s) in               primary air to secondary and/or tertiary
                                                 and zero and span adjustments.                          paragraph (c) of this section. The                     air) and the level of excess air (i.e., flue
                                                    (iii) You shall express the 1-hour                   Administrator may consider the request                 gas O2 level).
                                                 average NOX emissions rates measured                    and, following public notice and                         (B) You shall include the data and
                                                 by the CEMS in terms of lbs/mmBtu                       comment, may approve the alternative                   information used to identify the
                                                 heat input and shall be used to calculate               monitoring procedure with or without                   relationship between NOX emission
                                                 the average emissions rates under                       revision, or disapprove the request.                   rates and these operating conditions.
                                                 paragraph (c) of this section.                          Upon receipt of a disapproved request,                   (C) You shall identify: how these
                                                    (iv) Following the date on which the                 you will have one year to install a                    operating parameters, including steam
                                                 initial compliance test is completed,                   CEMS.                                                  generating unit load, will be monitored
                                                 you shall determine compliance with                        (3) If you are the owner or operator of             on an hourly basis during periods of
                                                 the applicable NOX emissions limit in                   an affected unit with a heat input                     operation of the affected unit; the
                                                 paragraph (c) of this section during the                capacity less than 250 mmBTU/hr, you                   quality assurance procedures or
                                                 ozone season on a continuous basis                      must monitor NOX emission via the                      practices that will be employed to
                                                 using a 30-day rolling average emissions                requirements of paragraph (e)(1) of this               ensure that the data generated by
                                                 rate unless you monitor emissions by                    section or you must monitor NOX                        monitoring these operating parameters
                                                 means of an alternative monitoring                      emissions by conducting an annual test                 will be representative and accurate; and
                                                 procedure approved pursuant to                          in conjunction with the implementation                 the type and format of the records of
                                                 paragraph (d)(2)(vii) of this section. You              of a monitoring plan meeting the                       these operating parameters, including
                                                 shall calculate a new 30-day rolling                    following requirements:                                steam generating unit load, that you will
                                                 average emissions rate for each                            (i) You must conduct an initial                     maintain.
                                                 operating day as the average of all the                 performance test over a minimum of 24                    (4) You shall submit the monitoring
                                                 hourly NOX emissions data for the                       consecutive steam generating unit                      plan to the EPA via the CEDRI reporting
                                                 preceding 30 operating days.                            operating hours at maximum heat input                  system, and request that the relevant
                                                    (v) You shall follow the procedures                  capacity to demonstrate compliance                     permitting agency incorporate the
                                                 under 40 CFR 60.13 for installation,                    with the NOX emission standards under                  monitoring plan into the facility’s title
                                                 evaluation, and operation of the                        paragraph (c) of this section using                    V permit.
                                                 continuous monitoring systems.                          Method 7, 7A, or 7E of appendix A–4                      (e) Recordkeeping requirements. (1) If
                                                 Additionally, you shall use a span value                to 40 CFR part 60, Method 320 of                       you are the owner or operator of an
                                                 of 1000 ppm NOX for affected units                      appendix A to 40 CFR part 63, or other                 affected unit, which is not a low-use
                                                 combusting coal and span value of 500                   approved reference methods.                            boiler, you shall maintain records of the
                                                 ppm NOX for units combusting oil or                        (ii) You must conduct annual                        following information for each day the
                                                                                                         performance tests once per calendar
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                                                 gas. As an alternative to meeting these                                                                        affected unit operates during the ozone
                                                 span values, you may elect to use the                   year to demonstrate compliance with                    season:
                                                 NOX span values determined according                    the NOX emission standards under                          (i) Calendar date;
                                                 to section 2.1.2 in appendix A to 40 CFR                paragraph (c) of this section over a                      (ii) The average hourly NOX emissions
                                                 part 75.                                                minimum of 3 consecutive steam                         rates (expressed as lbs NO2/mmBtu heat
                                                    (vi) When you are unable to obtain                   generating unit operating hours at                     input) measured or predicted;
                                                 NOX emissions data because of CEMS                      maximum heat input capacity using                        (iii) The 30-day average NOX
                                                 breakdowns, repairs, calibration checks                 Method 7, 7A, or 7E of appendix A–4                    emissions rates calculated at the end of


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                                                 each affected unit operating day from                   excess emissions that occurred during                  waterwall furnace or on a tumbling-tile
                                                 the measured or predicted hourly NOX                    the reporting period. Excess emissions                 grate.
                                                 emissions rates for the preceding 30                    are defined as any calculated 30-day                      Mass burn waterwall municipal waste
                                                 steam generating unit operating days;                   rolling average NOX emissions rate, as                 combustor means a field-erected
                                                   (iv) Identification of the affected unit              determined under paragraph (e)(1)(iii) of              combustor that combusts municipal
                                                 operating days when the calculated 30-                  this section, that exceeds the applicable              solid waste in a waterwall furnace.
                                                 day rolling average NOX emissions rates                 emissions limit in paragraph (c) of this                  Municipal waste combustor, MWC, or
                                                 are in excess of the applicable NOX                     section. Excess emissions reports must                 municipal waste combustor unit means:
                                                 emissions limit in paragraph (c) of this                be submitted in PDF format to the EPA                     (i) Means any setting or equipment
                                                 section with the reasons for such excess                via CEDRI or analogous electronic                      that combusts solid, liquid, or gasified
                                                 emissions as well as a description of                   reporting approach provided by the EPA                 MSW including, but not limited to,
                                                 corrective actions taken;                               to report data required by this section                field-erected incinerators (with or
                                                   (v) Identification of the affected unit               following the procedures specified in                  without heat recovery), modular
                                                 operating days for which pollutant data                 § 52.40(g).                                            incinerators (starved-air or excess-air),
                                                 have not been obtained, including                          (3) If you are the owner or operator an             boilers (i.e., steam-generating units),
                                                 reasons for not obtaining sufficient data               affected unit subject to the continuous                furnaces (whether suspension-fired,
                                                 and a description of corrective actions                 monitoring requirements for NOX under                  grate-fired, mass-fired, air curtain
                                                 taken;                                                  paragraph (d) of this section, you shall               incinerators, or fluidized bed-fired), and
                                                   (vi) Identification of the times when                 submit reports containing the                          pyrolysis/combustion units. Municipal
                                                 emissions data have been excluded from                  information recorded under paragraph                   waste combustors do not include
                                                 the calculation of average emissions                    (d) of this section as described in                    pyrolysis/combustion units located at
                                                 rates and the reasons for excluding data;               paragraph (e)(1) of this section. You                  plastics/rubber recycling units.
                                                   (vii) Identification of ‘‘F’’ factor used             shall submit compliance reports for                    Municipal waste combustors do not
                                                 for calculations, method of                             continuous monitoring in PDF format to                 include internal combustion engines,
                                                 determination, and type of fuel                         the EPA via CEDRI or analogous                         gas turbines, or other combustion
                                                 combusted;                                              electronic reporting approach provided                 devices that combust landfill gases
                                                   (viii) Identification of the times when               by the EPA to report data required by                  collected by landfill gas collection
                                                 the pollutant concentration exceeded                    this section following the procedures                  systems.
                                                 full span of the CEMS;                                  specified in § 52.40(g).                                  (ii) The boundaries of a MWC are
                                                   (ix) Description of any modifications                    (4) If you are the owner or operator of             defined as follows. The MWC unit
                                                 to the CEMS that could affect the ability               an affected unit, you shall submit an                  includes, but is not limited to, the MSW
                                                 of the CEMS to comply with                              annual report in PDF format to the EPA                 fuel feed system, grate system, flue gas
                                                 Performance Specification 2 or 3 in                     by January 30th of each year via CEDRI                 system, bottom ash system, and the
                                                 appendix B to 40 CFR part 60;                           or analogous electronic reporting                      combustor water system. The MWC
                                                   (x) Results of daily CEMS drift tests                 approach provided by the EPA to report                 boundary starts at the MSW pit or
                                                 and quarterly accuracy assessments as                   data required by this section. Annual                  hopper and extends through:
                                                 required under Procedure 1 of 40 CFR                    reports shall be submitted following the                  (A) The combustor flue gas system,
                                                 part 60, appendix F; and                                procedures in § 52.40(g).                              which ends immediately following the
                                                   (xi) The type and amounts of each                                                                            heat recovery equipment or, if there is
                                                 fuel combusted.                                         § 52.46 What are the requirements of the               no heat recovery equipment,
                                                   (2) If you are the owner or operator of               Federal Implementation Plans (FIPs)                    immediately following the combustion
                                                 an affected unit complying as a low-use                 relating to ozone season emissions of                  chamber;
                                                 boiler, you must maintain the following                 nitrogen oxides from Municipal Waste                      (B) The combustor bottom ash system,
                                                                                                         Combustors?                                            which ends at the truck loading station
                                                 records consistent with the
                                                 requirements of § 52.40(g):                               (a) Definitions. All terms not defined               or similar ash handling equipment that
                                                   (i) Identification and location of the                in this paragraph (a) shall have the                   transfer the ash to final disposal,
                                                 boiler;                                                 meaning given them in the Act and in                   including all ash handling systems that
                                                   (ii) Nameplate capacity;                              subpart A of 40 CFR part 60.                           are connected to the bottom ash
                                                   (iii) The fuel or fuels used by the                     Affected unit means a municipal                      handling system; and
                                                 boiler;                                                 waste combustor meeting the                               (C) The combustor water system,
                                                   (iv) For each operating day, the type                 applicability criteria of this section.                which starts at the feed water pump and
                                                 and amount of fuel combusted, and the                     Chief facility operator means the                    ends at the piping exiting the steam
                                                 date and total number of hours of                       person in direct charge and control of                 drum or superheater.
                                                 operation; and                                          the operation of a municipal waste                        (iii) The MWC unit does not include
                                                   (v) the annual hours of operation for                 combustor and who is responsible for                   air pollution control equipment, the
                                                 each of the prior 3 years, and the 3-year               daily onsite supervision, technical                    stack, water treatment equipment, or the
                                                 average hours or operation.                             direction, management, and overall                     turbine generator set.
                                                   (f) Reporting requirements. (1) If you                performance of the facility.                              Municipal waste combustor unit
                                                 are the owner or operator of an affected                  Mass burn refractory municipal waste                 capacity means the maximum charging
                                                 unit, you must submit the results of the                combustor means a field-erected                        rate of a municipal waste combustor
                                                 performance test or performance                         combustor that combusts municipal                      unit expressed in tons per day of
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                                                 evaluation of the CEMS following the                    solid waste in a refractory wall furnace.              municipal solid waste combusted,
                                                 procedures specified in § 52.40(g)                      Unless otherwise specified, this                       calculated according to the procedures
                                                 within 60 days after the date of                        includes combustors with a cylindrical                 under paragraph (e)(4) of this section.
                                                 completing each performance test                        rotary refractory wall furnace.                           Shift supervisor means the person
                                                 required by this section.                                 Mass burn rotary waterwall municipal                 who is in direct charge and control of
                                                   (2) If you are the owner or operator of               waste combustor means a field-erected                  the operation of a municipal waste
                                                 an affected unit, you are required to                   combustor that combusts municipal                      combustor and who is responsible for
                                                 submit excess emissions reports for any                 solid waste in a cylindrical rotary                    onsite supervision, technical direction,


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                                                 management, and overall performance                     consistent with the technological                      performance test for nitrogen oxides
                                                 of the facility during an assigned shift.               limitations, manufacturers’                            consistent with 40 CFR 60.8.
                                                   (b) Applicability. The requirements of                specifications, good engineering and                      (ii) You shall install and operate the
                                                 this section apply to each new or                       maintenance practices, and good air                    NOX CEMS according to Performance
                                                 existing municipal waste combustor                      pollution control practices for                        Specification 2 in 40 CFR part 60,
                                                 unit with a combustion capacity greater                 minimizing emissions (as defined in 40                 appendix B, and shall follow the
                                                 than 250 tons per day (225 megagrams                    CFR 60.11(d)) for such equipment and                   requirements of 40 CFR 60.58b(h)(10).
                                                 per day) of municipal solid waste and                   the unit at all times the unit is in                      (iii) Quarterly accuracy
                                                 which is located within any of the                      operation.                                             determinations and daily calibration
                                                 States listed in § 52.40(c)(2), including                  (e) Testing and monitoring                          drift tests for the CEMS shall be
                                                 Indian country located within the                       requirements. (1) If you are the owner or              performed in accordance with
                                                 borders of any such State(s).                           operator of an affected unit, you shall                Procedure 1 in 40 CFR part 60,
                                                    (c) Emissions limitations. If you are                install, calibrate, maintain, and operate              appendix F.
                                                 the owner or operator of an affected                    a continuous emissions monitoring                         (iv) When NOX continuous emissions
                                                 unit, you must meet the following                       system (CEMS) for measuring the                        data are not obtained because of CEMS
                                                 emissions limitations at all times,                     oxygen or carbon dioxide content of the                breakdowns, repairs, calibration checks,
                                                 except during startup and shutdown, on                  flue gas at each location where NOX are                and zero and span adjustments,
                                                 a 30-day rolling average basis during the               monitored and record the output of the                 emissions data shall be obtained using
                                                 2026 ozone season and in each ozone                     system. You shall comply with the                      other monitoring systems as approved
                                                 season thereafter:                                      following test procedures and test                     by the EPA or EPA Reference Method 19
                                                    (1) 110 ppmvd at 7 percent oxygen on                 methods:                                               in 40 CFR part 60, appendix A–7, to
                                                 a 24-hour block averaging period; and                      (i) You shall use a span value of 25                provide, as necessary, valid emissions
                                                    (2) 105 ppmvd at 7 percent oxygen on                 percent oxygen for the oxygen monitor                  data for a minimum of 90 percent of the
                                                 a 30-day rolling averaging period.                      or 20 percent carbon dioxide for the                   hours per calendar quarter and 95
                                                    (d) Startup and shutdown                             carbon dioxide monitor;                                percent of the hours per calendar year
                                                 requirements. If you are the owner or                      (ii) You shall install, evaluate, and               the unit is operated and combusting
                                                 operator of an affected unit, you must                  operate the CEMS in accordance with 40                 municipal solid waste.
                                                 comply with the following requirements                  CFR 60.13;                                                (v) You shall use EPA Reference
                                                 during startup and shutdown:                               (iii) You shall complete the initial                Method 19, section 4.1, in 40 CFR part
                                                    (1) During periods of startup and                    performance evaluation no later than                   60, appendix A–7, for determining the
                                                 shutdown, you shall meet the following                  180 days after the date of initial startup             daily arithmetic average NOX emissions
                                                 emissions limits at stack oxygen                        of the affected unit, as specified under               concentration.
                                                 content:                                                40 CFR 60.8;                                              (A) You may request that compliance
                                                    (i) 110 ppmvd at stack oxygen content                   (iv) You shall operate the monitor in               with the NOX emissions limit be
                                                 on a 24-hour block averaging period;                    conformance with Performance                           determined using carbon dioxide
                                                 and                                                     Specification 3 in 40 CFR part 60,                     measurements corrected to an
                                                    (ii) 105 ppmvd at stack oxygen                       appendix B, except for section 2.3                     equivalent of 7 percent oxygen. The
                                                 content on a 30-day rolling averaging                   (relative accuracy requirement);                       relationship between oxygen and carbon
                                                 period.                                                    (v) You shall operate the monitor in                dioxide levels for the affected unit shall
                                                    (2) Duration of startup and shutdown,                accordance with the quality assurance                  be established as specified in paragraph
                                                 periods are limited to 3 hours per                      procedures of 40 CFR part 60, appendix                 (e)(1)(vi) of this section.
                                                 occurrence.                                             F, except for section 5.1.1 (relative                     (B) [Reserved]
                                                    (3) The startup period commences                     accuracy test audit); and                                 (vi) At a minimum, you shall obtain
                                                 when the affected unit begins the                          (vi) If you select carbon dioxide for               valid CEMS hourly averages for 90
                                                 continuous burning of municipal solid                   use in diluent corrections, you shall                  percent of the operating hours per
                                                 waste and does not include any warmup                   establish the relationship between                     calendar quarter and for 95 percent of
                                                 period when the affected unit is                        oxygen and carbon dioxide levels                       the operating hours per calendar year
                                                 combusting fossil fuel or other                         during the initial performance test                    that the affected unit is combusting
                                                 nonmunicipal solid waste fuel, and no                   according to the following procedures                  municipal solid waste:
                                                 municipal solid waste is being fed to the               and methods:                                              (A) At least 2 data points per hour
                                                 combustor.                                                 (A) This relationship may be                        shall be used to calculate each 1-hour
                                                    (4) Continuous burning is the                        reestablished during performance                       arithmetic average.
                                                 continuous, semicontinuous, or batch                    compliance tests; and                                     (B) Each NOX 1-hour arithmetic
                                                 feeding of municipal solid waste for                       (B) You shall submit the relationship               average shall be corrected to 7 percent
                                                 purposes of waste disposal, energy                      between carbon dioxide and oxygen                      oxygen on an hourly basis using the 1-
                                                 production, or providing heat to the                    concentrations to the EPA as part of the               hour arithmetic average of the oxygen
                                                 combustion system in preparation for                    initial performance test report and as                 (or carbon dioxide) continuous
                                                 waste disposal or energy production.                    part of the annual test report if the                  emissions monitoring system data.
                                                 The use of municipal solid waste solely                 relationship is reestablished during the                  (vii) The 1-hour arithmetic averages
                                                 to provide thermal protection of the                    annual performance test.                               section shall be expressed in parts per
                                                 grate or hearth during the startup period                  (2) If you are the owner or operator of             million by volume (dry basis) and used
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                                                 when municipal solid waste is not being                 an affected unit, you shall use the                    to calculate the 24-hour daily arithmetic
                                                 fed to the grate is not considered to be                following procedures and test methods                  average concentrations. The 1-hour
                                                 continuous burning.                                     to determine compliance with the NOX                   arithmetic averages shall be calculated
                                                    (5) The owner and operator of an                     emission limits in paragraph (c) of this               using the data points required under 40
                                                 affected unit shall minimize NOX                        section:                                               CFR 60.13(e)(2).
                                                 emissions by operating and optimizing                      (i) If you are not already operating a                 (viii) All valid CEMS data must be
                                                 the use of all installed pollution control              CEMS in accordance with 40 CFR 60.13,                  used in calculating emissions averages
                                                 technology and combustion controls                      you shall conduct an initial                           even if the minimum CEMS data


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                                                 requirements of paragraph (e)(2)(iv) of                 calculated as the maximum design                         (ii) Records showing the names of the
                                                 this section are not met.                               amount of municipal solid waste that                   municipal waste combustor chief
                                                    (ix) The procedures under 40 CFR                     can be charged per batch multiplied by                 facility operator, shift supervisors, and
                                                 60.13 shall be followed for installation,               the maximum number of batches that                     control room operators who have been
                                                 evaluation, and operation of the CEMS.                  could be processed in a 24-hour period.                fully certified by the American Society
                                                 The initial performance evaluation shall                The maximum number of batches that                     of Mechanical Engineers or an
                                                 be completed no later than 180 days                     could be processed in a 24-hour period                 equivalent State-approved certification
                                                 after the date of initial startup of the                is calculated as 24 hours divided by the               program as required by 40 CFR
                                                 municipal waste combustor unit.                         design number of hours required to                     60.54b(b) including the dates of initial
                                                    (3) If you are the owner or operator of              process one batch of municipal solid                   and renewal certifications and
                                                 an affected unit, you must determine                    waste, and may include fractional                      documentation of current certification;
                                                 compliance with the startup and                         batches (e.g., if one batch requires 16                  (iii) Records showing the names of the
                                                 shutdown requirements of paragraph (d)                  hours, then 24/16, or 1.5 batches, could               municipal waste combustor chief
                                                 of this section by following the                        be combusted in a 24-hour period). For                 facility operator, shift supervisors, and
                                                 requirements in paragraphs (e)(3)(i) and                batch combustors that are designed                     control room operators who have
                                                 (ii) of this section:                                   based on heat capacity, the design                     completed the EPA municipal waste
                                                    (i) You can measure CEMS data at                     heating value of 12,800 kilojoules per                 combustor operator training course or a
                                                 stack oxygen content. You can dismiss                   kilogram for combustors firing refuse-                 State-approved equivalent course as
                                                 or exclude CEMS data from compliance                    derived fuel and a heating value of                    required by 40 CFR 60.54b(d) including
                                                 calculations, but you shall record and                  10,500 kilojoules per kilogram for                     documentation of training completion;
                                                 report CEMS data in accordance with                     combustors firing municipal solid waste                and
                                                 the provisions of 40 CFR 60.59b(d)(7).                  that is not refuse-derived fuel shall be                 (iv) Records of when a certified
                                                    (ii) You shall determine compliance                  used in calculating the municipal waste                operator is temporarily off site. Include
                                                 with the NOX mass loading emissions                     combustor unit capacity in megagrams                   two main items:
                                                 limitation for periods of startup and                   per day of municipal solid waste.                        (A) If the certified chief facility
                                                 shutdown by calculating the 24-hour                        (f) Recordkeeping requirements. If you              operator and certified shift supervisor
                                                 average of all hourly average NOX                       are the owner or operator of an affected               are off site for more than 12 hours, but
                                                 emissions concentrations from                           unit, you shall maintain records of the                for 2 weeks or less, and no other
                                                 continuous emissions monitoring                         following information, as applicable, for              certified operator is on site, record the
                                                 systems.                                                each affected unit consistent with the                 dates that the certified chief facility
                                                    (A) You shall perform this                           requirements of § 52.40(g).                            operator and certified shift supervisor
                                                 calculations using stack flow rates                        (1) The calendar date of each record.               were off site.
                                                 derived from flow monitors, for all the                    (2) The emissions concentrations and                  (B) When all certified chief facility
                                                 hours during the 3-hour startup or                      parameters measured using continuous                   operators and certified shift supervisors
                                                 shutdown period and the remaining 21                    monitoring systems.                                    are off site for more than 2 weeks and
                                                 hours of the 24-hour period.                                                                                   no other certified operator is on site,
                                                                                                            (i) All 1-hour average NOX emissions
                                                    (B) [Reserved]                                                                                              keep records of four items:
                                                    (4) If you are the owner or operator of              concentrations.
                                                                                                                                                                  (1) Time of day that all certified
                                                 an affected unit, you shall calculate                      (ii) The average concentrations and
                                                                                                                                                                persons are off site.
                                                 municipal waste combustor unit                          percent reductions, as applicable,                       (2) The conditions that cause those
                                                 capacity using the following procedures:                including all 24-hour daily arithmetic                 people to be off site.
                                                    (i) For municipal waste combustor                    average NOX emissions concentrations.                    (3) The corrective actions taken by the
                                                 units capable of combusting municipal                      (3) Identification of the calendar dates            owner or operator of the affected unit to
                                                 solid waste continuously for a 24-hour                  and times (hours) for which valid                      ensure a certified chief facility operator
                                                 period, municipal waste combustor unit                  hourly NOX emissions, including                        or certified shift supervisor is on site as
                                                 capacity shall be calculated based on 24                reasons for not obtaining the data and a               soon as practicable.
                                                 hours of operation at the maximum                       description of corrective actions taken.                 (4) Copies of the reports submitted
                                                 charging rate. The maximum charging                        (4) Identification of each occurrence               every 4 weeks that summarize the
                                                 rate shall be determined as specified in                that NOX emissions data, or operational                actions taken by the owner or operator
                                                 paragraphs (e)(4)(i)(A) and (B) of this                 data (i.e., unit load) have been excluded              of the affected unit to ensure that a
                                                 section as applicable.                                  from the calculation of average                        certified chief facility operator or
                                                    (A) For combustors that are designed                 emissions concentrations or parameters,                certified shift supervisor will be on site
                                                 based on heat capacity, the maximum                     and the reasons for excluding the data.                as soon as practicable.
                                                 charging rate shall be calculated based                    (5) The results of daily drift tests and              (7) Records showing the names of
                                                 on the maximum design heat input                        quarterly accuracy determinations for                  persons who have completed a review
                                                 capacity of the unit and a heating value                CEMS, as required under 40 CFR part                    of the operating manual as required by
                                                 of 12,800 kilojoules per kilogram for                   60, appendix F, Procedure 1.                           40 CFR 60.54b(f) including the date of
                                                 combustors firing refuse-derived fuel                      (6) The following records:                          the initial review and subsequent
                                                 and a heating value of 10,500 kilojoules                   (i) Records showing the names of the                annual reviews.
                                                 per kilogram for combustors firing                      municipal waste combustor chief                          (8) Records of steps taken to minimize
                                                 municipal solid waste that is not refuse-               facility operator, shift supervisors, and              emissions during startup and shutdown
                                                                                                         control room operators who have been
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                                                 derived fuel.                                                                                                  as required by paragraph (d)(5) of this
                                                    (B) For combustors that are not                      provisionally certified by the American                section.
                                                 designed based on heat capacity, the                    Society of Mechanical Engineers or an                    (g) Reporting requirements. (1) If you
                                                 maximum charging rate shall be the                      equivalent State-approved certification                are the owner or operator of an affected
                                                 maximum design charging rate.                           program as required by 40 CFR                          unit, you must submit the results of the
                                                    (ii) For batch feed municipal waste                  60.54b(a) including the dates of initial               performance test or performance
                                                 combustor units, municipal waste                        and renewal certifications and                         evaluation of the CEMS following the
                                                 combustor unit capacity shall be                        documentation of current certification;                procedures specified in § 52.40(g)


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                                                 within 60 days after the date of                        requirements are set forth under the                   Group 2 allowances equivalent in
                                                 completing each performance test                        CSAPR NOX Ozone Season Group 3                         quantity and usability to all such
                                                 required by this section.                               Trading Program in subpart GGGGG of                    allowances allocated to units in the
                                                   (2) If you are the owner or operator of               part 97 of this chapter must comply                    State and Indian country within the
                                                 an affected unit, you shall submit an                   with such requirements with regard to                  borders of the State for control periods
                                                 annual report in PDF format to the EPA                  emissions occurring in 2023 and each                   after 2022) shall continue to apply.
                                                 by January 30th of each year via CEDRI                  subsequent year. The obligation to
                                                 or analogous electronic reporting                       comply with such requirements with                     Subpart E—Arkansas
                                                 approach provided by the EPA to report                  regard to sources and units in the State
                                                 data required by this section. Annual                                                                          ■ 6. Amend § 52.184 by:
                                                                                                         and areas of Indian country within the
                                                                                                                                                                ■ a. Redesignating paragraphs (a)
                                                 reports shall be submitted following the                borders of the State subject to the State’s
                                                 procedures in § 52.40(g). The report                                                                           through (c) as paragraphs (a)(1) through
                                                                                                         SIP authority will be eliminated by the
                                                 shall include all information required                                                                         (3);
                                                                                                         promulgation of an approval by the
                                                                                                                                                                ■ b. In newly redesignated paragraph
                                                 by paragraph (e) of this section,                       Administrator of a revision to Alabama’s
                                                 including CEMS data to demonstrate                                                                             (a)(2):
                                                                                                         State Implementation Plan (SIP) as                     ■ i. Removing ‘‘2017 and each
                                                 compliance with the applicable                          correcting the SIP’s deficiency that is                subsequent year’’ and adding in its
                                                 emissions limits under paragraph (c) of                 the basis for the CSAPR Federal                        place ‘‘2017 through 2022’’; and
                                                 this section.                                           Implementation Plan (FIP) under                        ■ ii. Removing the second sentence;
                                                                                                         § 52.38(b)(1) and (b)(2)(iii) for those                ■ c. Revising newly redesignated
                                                 Subpart B—Alabama                                       sources and units, except to the extent                paragraph (a)(3); and
                                                                                                         the Administrator’s approval is partial                ■ d. Adding paragraphs (a)(4) and (5)
                                                 ■ 5. Amend § 52.54 by revising
                                                                                                         or conditional. The obligation to comply               and (b).
                                                 paragraphs (b)(2) and (3) and adding
                                                                                                         with such requirements with regard to                     The revision and additions read as
                                                 paragraphs (b)(4) and (5) to read as
                                                                                                         sources and units located in areas of                  follows:
                                                 follows:
                                                                                                         Indian country within the borders of the
                                                 § 52.54 Interstate pollutant transport                  State not subject to the State’s SIP                   § 52.184 Interstate pollutant transport
                                                 provisions; What are the FIP requirements               authority will not be eliminated by the                provisions; What are the FIP requirements
                                                 for decreases in emissions of nitrogen                  promulgation of an approval by the                     for decreases in emissions of nitrogen
                                                 oxides?                                                                                                        oxides?
                                                                                                         Administrator of a revision to Alabama’s
                                                 *     *     *     *     *                               SIP.                                                      (a) * * *
                                                   (b) * * *                                                (4) Notwithstanding the provisions of                  (3) The owner and operator of each
                                                   (2) The owner and operator of each                    paragraphs (b)(2) and (3) of this section,             source and each unit located in the State
                                                 source and each unit located in the State               if, at the time of the approval of                     of Arkansas and for which requirements
                                                 of Alabama and Indian country within                    Alabama’s SIP revision described in                    are set forth under the CSAPR NOX
                                                 the borders of the State and for which                  paragraph (b)(2) or (3) of this section,               Ozone Season Group 3 Trading Program
                                                 requirements are set forth under the                    the Administrator has already started                  in subpart GGGGG of part 97 of this
                                                 CSAPR NOX Ozone Season Group 2                          recording any allocations of CSAPR                     chapter must comply with such
                                                 Trading Program in subpart EEEEE of                     NOX Ozone Season Group 2 allowances                    requirements with regard to emissions
                                                 part 97 of this chapter must comply                     or CSAPR NOX Ozone Season Group 3                      occurring in 2023 and each subsequent
                                                 with such requirements with regard to                   allowances under subpart EEEEE or                      year. The obligation to comply with
                                                 emissions occurring in 2017 through                     GGGGG, respectively, of part 97 of this                such requirements will be eliminated by
                                                 2022. The obligation to comply with                     chapter to units in the State and areas                the promulgation of an approval by the
                                                 such requirements with regard to                        of Indian country within the borders of                Administrator of a revision to Arkansas’
                                                 sources and units in the State and areas                the State subject to the State’s SIP                   State Implementation Plan (SIP) as
                                                 of Indian country within the borders of                 authority for a control period in any                  correcting the SIP’s deficiency that is
                                                 the State subject to the State’s SIP                    year, the provisions of such subpart                   the basis for the CSAPR Federal
                                                 authority will be eliminated by the                     authorizing the Administrator to                       Implementation Plan (FIP) under
                                                 promulgation of an approval by the                      complete the allocation and recordation                § 52.38(b)(1) and (b)(2)(iii), except to the
                                                 Administrator of a revision to Alabama’s                of such allowances to such units for                   extent the Administrator’s approval is
                                                 State Implementation Plan (SIP) as                      each such control period shall continue                partial or conditional.
                                                 correcting the SIP’s deficiency that is                 to apply, unless provided otherwise by                    (4) Notwithstanding the provisions of
                                                 the basis for the CSAPR Federal                         such approval of the State’s SIP                       paragraph (a)(3) of this section, if, at the
                                                 Implementation Plan (FIP) under                         revision.                                              time of the approval of Arkansas’ SIP
                                                 § 52.38(b)(1) and (b)(2)(ii) for those                     (5) Notwithstanding the provisions of               revision described in paragraph (a)(3) of
                                                 sources and units, except to the extent                 paragraph (b)(2) of this section, after                this section, the Administrator has
                                                 the Administrator’s approval is partial                 2022 the provisions of § 97.826(c) of this             already started recording any allocations
                                                 or conditional. The obligation to comply                chapter (concerning the transfer of                    of CSAPR NOX Ozone Season Group 3
                                                 with such requirements with regard to                   CSAPR NOX Ozone Season Group 2                         allowances under subpart GGGGG of
                                                 sources and units located in areas of                   allowances between certain accounts                    part 97 of this chapter to units in the
                                                 Indian country within the borders of the                under common control), the provisions                  State for a control period in any year,
                                                 State not subject to the State’s SIP                    of § 97.826(e) of this chapter                         the provisions of subpart GGGGG of part
                                                                                                                                                                97 of this chapter authorizing the
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                                                 authority will not be eliminated by the                 (concerning the conversion of amounts
                                                 promulgation of an approval by the                      of unused CSAPR NOX Ozone Season                       Administrator to complete the
                                                 Administrator of a revision to Alabama’s                Group 2 allowances allocated for control               allocation and recordation of CSAPR
                                                 SIP.                                                    periods before 2023 to different amounts               NOX Ozone Season Group 3 allowances
                                                   (3) The owner and operator of each                    of CSAPR NOX Ozone Season Group 3                      to such units for each such control
                                                 source and each unit located in the State               allowances), and the provisions of                     period shall continue to apply, unless
                                                 of Alabama and Indian country within                    § 97.811(e) of this chapter (concerning                provided otherwise by such approval of
                                                 the borders of the State and for which                  the recall of CSAPR NOX Ozone Season                   the State’s SIP revision.


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                                                    (5) Notwithstanding the provisions of                Subpart P—Indiana                                      of Indian country within the borders of
                                                 paragraph (a)(2) of this section, after                                                                        the State subject to the State’s SIP
                                                 2022 the provisions of § 97.826(c) of this              ■ 9. Amend § 52.789 by:                                authority will be eliminated by the
                                                 chapter (concerning the transfer of                     ■ a. In paragraph (b)(2), removing                     promulgation of an approval by the
                                                 CSAPR NOX Ozone Season Group 2                          ‘‘(b)(2)(iv), except’’ and adding in its               Administrator of a revision to
                                                 allowances between certain accounts                     place ‘‘(b)(2)(ii), except’’;                          Louisiana’s State Implementation Plan
                                                 under common control), the provisions                   ■ b. In paragraph (b)(3), removing                     (SIP) as correcting the SIP’s deficiency
                                                 of § 97.826(e) of this chapter                          ‘‘(b)(2)(v), except’’ and adding in its                that is the basis for the CSAPR Federal
                                                 (concerning the conversion of amounts                   place ‘‘(b)(2)(iii), except’’; and                     Implementation Plan (FIP) under
                                                 of unused CSAPR NOX Ozone Season                        ■ c. Adding paragraph (c).                             § 52.38(b)(1) and (b)(2)(iii) for those
                                                 Group 2 allowances allocated for control                   The addition reads as follows:                      sources and units, except to the extent
                                                 periods before 2023 to different amounts                                                                       the Administrator’s approval is partial
                                                                                                         § 52.789 Interstate pollutant transport
                                                 of CSAPR NOX Ozone Season Group 3                       provisions; What are the FIP requirements
                                                                                                                                                                or conditional. The obligation to comply
                                                 allowances), and the provisions of                      for decreases in emissions of nitrogen                 with such requirements with regard to
                                                 § 97.811(e) of this chapter (concerning                 oxides?                                                sources and units located in areas of
                                                 the recall of CSAPR NOX Ozone Season                    *     *     *     *     *                              Indian country within the borders of the
                                                 Group 2 allowances equivalent in                          (c) The owner and operator of each                   State not subject to the State’s SIP
                                                 quantity and usability to all such                      source located in the State of Indiana                 authority will not be eliminated by the
                                                 allowances allocated to units in the                    and for which requirements are set forth               promulgation of an approval by the
                                                 State for control periods after 2022)                   in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                                                                                                                                Administrator of a revision to
                                                 shall continue to apply.                                                                                       Louisiana’s SIP.
                                                                                                         § 52.44, § 52.45, or § 52.46 must comply
                                                    (b) The owner and operator of each                                                                             (4) Notwithstanding the provisions of
                                                                                                         with such requirements with regard to
                                                 source located in the State of Arkansas                                                                        paragraph (d)(3) of this section, if, at the
                                                 and for which requirements are set forth                emissions occurring in 2026 and each                   time of the approval of Louisiana’s SIP
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               subsequent year.                                       revision described in paragraph (d)(3) of
                                                 § 52.44, § 52.45, or § 52.46 must comply                Subpart S—Kentucky                                     this section, the Administrator has
                                                 with such requirements with regard to                                                                          already started recording any allocations
                                                 emissions occurring in 2026 and each                    ■ 10. Amend § 52.940 by:                               of CSAPR NOX Ozone Season Group 3
                                                 subsequent year.                                        ■ a. In paragraph (b)(3), removing                     allowances under subpart GGGGG of
                                                                                                         ‘‘(b)(2)(v), except’’ and adding in its                part 97 of this chapter to units in the
                                                 Subpart F—California                                    place ‘‘(b)(2)(iii), except’’; and                     State and areas of Indian country within
                                                                                                         ■ b. Adding paragraph (c).                             the borders of the State subject to the
                                                 ■ 7. Add § 52.284 to read as follows:
                                                                                                            The addition reads as follows:                      State’s SIP authority for a control period
                                                 § 52.284 Interstate pollutant transport                                                                        in any year, the provisions of subpart
                                                 provisions; What are the FIP requirements               § 52.940 Interstate pollutant transport                GGGGG of part 97 of this chapter
                                                 for decreases in emissions of nitrogen                  provisions; What are the FIP requirements              authorizing the Administrator to
                                                 oxides?                                                 for decreases in emissions of nitrogen                 complete the allocation and recordation
                                                                                                         oxides?
                                                   The owner and operator of each                                                                               of CSAPR NOX Ozone Season Group 3
                                                 source located in the State of California               *     *     *     *     *                              allowances to such units for each such
                                                 and Indian country within the borders                     (c) The owner and operator of each                   control period shall continue to apply,
                                                 of the State and for which requirements                 source located in the State of Kentucky                unless provided otherwise by such
                                                 are set forth in § 52.40 and § 52.41,                   and for which requirements are set forth               approval of the State’s SIP revision.
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  in § 52.40 and § 52.41, § 52.42, § 52.43,              *      *    *      *     *
                                                 § 52.46 must comply with such                           § 52.44, § 52.45, or § 52.46 must comply                  (e) The owner and operator of each
                                                 requirements with regard to emissions                   with such requirements with regard to                  source located in the State of Louisiana
                                                 occurring in 2026 and each subsequent                   emissions occurring in 2026 and each                   and Indian country within the borders
                                                 year.                                                   subsequent year.                                       of the State and for which requirements
                                                                                                                                                                are set forth in § 52.40 and § 52.41,
                                                 Subpart O—Illinois                                      Subpart T—Louisiana
                                                                                                                                                                § 52.42, § 52.43, § 52.44, § 52.45, or
                                                                                                         ■ 11. Amend § 52.984 by:                               § 52.46 must comply with such
                                                 ■ 8. Amend § 52.731 by:
                                                 ■ a. In paragraph (b)(3), removing                      ■ a. In paragraph (d)(3), revising the                 requirements with regard to emissions
                                                 ‘‘(b)(2)(v), except’’ and adding in its                 second and third sentences;                            occurring in 2026 and each subsequent
                                                 place ‘‘(b)(2)(iii), except’’; and                      ■ b. Revising paragraph (d)(4);                        year.
                                                 ■ b. Adding paragraph (c).                              ■ c. In paragraph (d)(5), adding ‘‘and
                                                                                                         Indian country within the borders of the               Subpart V—Maryland
                                                    The addition reads as follows:
                                                                                                         State’’ after ‘‘in the State’’; and                    ■ 12. Amend § 52.1084 by:
                                                 § 52.731 Interstate pollutant transport                 ■ d. Adding paragraph (e).
                                                 provisions; What are the FIP requirements                                                                      ■ a. In paragraph (b)(3), removing
                                                                                                           The revision and addition read as                    ‘‘(b)(2)(v), except’’ and adding in its
                                                 for decreases in emissions of nitrogen
                                                 oxides?                                                 follows:                                               place ‘‘(b)(2)(iii), except’’; and
                                                                                                                                                                ■ b. Adding paragraph (c).
                                                 *     *     *     *     *                               § 52.984 Interstate pollutant transport
                                                                                                                                                                   The addition reads as follows:
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                                                   (c) The owner and operator of each                    provisions; What are the FIP requirements
                                                 source located in the State of Illinois                 for decreases in emissions of nitrogen                 § 52.1084 Interstate pollutant transport
                                                 and for which requirements are set forth                oxides?                                                provisions; What are the FIP requirements
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               *     *    *    *     *                                for decreases in emissions of nitrogen
                                                 § 52.44, § 52.45, or § 52.46 must comply                  (d) * * *                                            oxides?
                                                 with such requirements with regard to                     (3) * * * The obligation to comply                   *     *    *     *     *
                                                 emissions occurring in 2026 and each                    with such requirements with regard to                    (c) The owner and operator of each
                                                 subsequent year.                                        sources and units in the State and areas               source located in the State of Maryland


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                                                 and for which requirements are set forth                unless provided otherwise by such                      State’s SIP authority for a control period
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               approval of the State’s SIP revision.                  in any year, the provisions of subpart
                                                 § 52.44, § 52.45, or § 52.46 must comply                *     *     *      *    *                              GGGGG of part 97 of this chapter
                                                 with such requirements with regard to                     (f) The owner and operator of each                   authorizing the Administrator to
                                                 emissions occurring in 2026 and each                    source located in the State of Michigan                complete the allocation and recordation
                                                 subsequent year.                                        and Indian country within the borders                  of CSAPR NOX Ozone Season Group 3
                                                                                                         of the State and for which requirements                allowances to such units for each such
                                                 Subpart X—Michigan                                      are set forth in § 52.40 and § 52.41,                  control period shall continue to apply,
                                                                                                         § 52.42, § 52.43, § 52.44, § 52.45, or                 unless provided otherwise by such
                                                 ■ 13. Amend § 52.1186 by:                                                                                      approval of the State’s SIP revision.
                                                                                                         § 52.46 must comply with such
                                                 ■ a. In paragraph (e)(3), revising the
                                                                                                         requirements with regard to emissions
                                                 second and third sentences;                                                                                    Subpart Z—Mississippi
                                                                                                         occurring in 2026 and each subsequent
                                                 ■ b. Revising paragraph (e)(4);
                                                                                                         year.                                                  ■ 15. Amend § 52.1284 by:
                                                 ■ c. In paragraph (e)(5), adding ‘‘and
                                                 Indian country within the borders of the                                                                       ■ a. Redesignating paragraphs (a)
                                                                                                         Subpart Y—Minnesota                                    through (c) as paragraphs (a)(1) through
                                                 State’’ after ‘‘in the State’’; and
                                                 ■ d. Adding paragraph (f).                              ■ 14. Amend § 52.1240 by adding
                                                                                                                                                                (3);
                                                                                                                                                                ■ b. In newly redesignated paragraph
                                                   The revision and addition read as                     paragraph (d) to read as follows:
                                                 follows:                                                                                                       (a)(2):
                                                                                                         § 52.1240 Interstate pollutant transport               ■ i. Removing ‘‘2017 and each
                                                 § 52.1186 Interstate pollutant transport                provisions; What are the FIP requirements              subsequent year’’ and adding in its
                                                 provisions; What are the FIP requirements               for decreases in emissions of nitrogen                 place ‘‘2017 through 2022’’; and
                                                 for decreases in emissions of nitrogen                  oxides?                                                ■ ii. Removing the second and third
                                                 oxides?                                                 *      *    *      *     *                             sentences;
                                                 *      *    *      *     *                                 (d)(1) The owner and operator of each               ■ c. Revising newly redesignated
                                                    (e) * * *                                            source and each unit located in the State              paragraph (a)(3); and
                                                    (3) * * * The obligation to comply                   of Minnesota and Indian country within                 ■ d. Adding paragraphs (a)(4) and (5)
                                                 with such requirements with regard to                   the borders of the State and for which                 and (b).
                                                 sources and units in the State and areas                requirements are set forth under the                      The revision and additions read as
                                                 of Indian country within the borders of                 CSAPR NOX Ozone Season Group 3                         follows:
                                                 the State subject to the State’s SIP                    Trading Program in subpart GGGGG of                    § 52.1284 Interstate pollutant transport
                                                 authority will be eliminated by the                     part 97 of this chapter must comply                    provisions; What are the FIP requirements
                                                 promulgation of an approval by the                      with such requirements with regard to                  for decreases in emissions of nitrogen
                                                 Administrator of a revision to                          emissions occurring in 2023 and each                   oxides?
                                                 Michigan’s State Implementation Plan                    subsequent year. The obligation to                       (a) * * *
                                                 (SIP) as correcting the SIP’s deficiency                comply with such requirements with                       (3) The owner and operator of each
                                                 that is the basis for the CSAPR Federal                 regard to sources and units in the State               source and each unit located in the State
                                                 Implementation Plan (FIP) under                         and areas of Indian country within the                 of Mississippi and Indian country
                                                 § 52.38(b)(1) and (b)(2)(iii) for those                 borders of the State subject to the State’s            within the borders of the State and for
                                                 sources and units, except to the extent                 SIP authority will be eliminated by the                which requirements are set forth under
                                                 the Administrator’s approval is partial                 promulgation of an approval by the                     the CSAPR NOX Ozone Season Group 3
                                                 or conditional. The obligation to comply                Administrator of a revision to                         Trading Program in subpart GGGGG of
                                                 with such requirements with regard to                   Minnesota’s State Implementation Plan                  part 97 of this chapter must comply
                                                 sources and units located in areas of                   (SIP) as correcting the SIP’s deficiency               with such requirements with regard to
                                                 Indian country within the borders of the                that is the basis for the CSAPR Federal                emissions occurring in 2023 and each
                                                 State not subject to the State’s SIP                    Implementation Plan (FIP) under                        subsequent year. The obligation to
                                                 authority will not be eliminated by the                 § 52.38(b)(1) and (b)(2)(iii) for those                comply with such requirements with
                                                 promulgation of an approval by the                      sources and units, except to the extent                regard to sources and units in the State
                                                 Administrator of a revision to                          the Administrator’s approval is partial                and areas of Indian country within the
                                                 Michigan’s SIP.                                         or conditional. The obligation to comply               borders of the State subject to the State’s
                                                    (4) Notwithstanding the provisions of                with such requirements with regard to                  SIP authority will be eliminated by the
                                                 paragraph (e)(3) of this section, if, at the            sources and units located in areas of                  promulgation of an approval by the
                                                 time of the approval of Michigan’s SIP                  Indian country within the borders of the               Administrator of a revision to
                                                 revision described in paragraph (e)(3) of               State not subject to the State’s SIP                   Mississippi’s State Implementation Plan
                                                 this section, the Administrator has                     authority will not be eliminated by the                (SIP) as correcting the SIP’s deficiency
                                                 already started recording any allocations               promulgation of an approval by the                     that is the basis for the CSAPR Federal
                                                 of CSAPR NOX Ozone Season Group 3                       Administrator of a revision to                         Implementation Plan (FIP) under
                                                 allowances under subpart GGGGG of                       Minnesota’s SIP.                                       § 52.38(b)(1) and (b)(2)(iii) for those
                                                 part 97 of this chapter to units in the                   (2) Notwithstanding the provisions of                sources and units, except to the extent
                                                 State and areas of Indian country within                paragraph (d)(1) of this section, if, at the           the Administrator’s approval is partial
                                                 the borders of the State subject to the                 time of the approval of Minnesota’s SIP                or conditional. The obligation to comply
                                                 State’s SIP authority for a control period              revision described in paragraph (d)(1) of              with such requirements with regard to
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                                                 in any year, the provisions of subpart                  this section, the Administrator has                    sources and units located in areas of
                                                 GGGGG of part 97 of this chapter                        already started recording any allocations              Indian country within the borders of the
                                                 authorizing the Administrator to                        of CSAPR NOX Ozone Season Group 3                      State not subject to the State’s SIP
                                                 complete the allocation and recordation                 allowances under subpart GGGGG of                      authority will not be eliminated by the
                                                 of CSAPR NOX Ozone Season Group 3                       part 97 of this chapter to units in the                promulgation of an approval by the
                                                 allowances to such units for each such                  State and areas of Indian country within               Administrator of a revision to
                                                 control period shall continue to apply,                 the borders of the State subject to the                Mississippi’s SIP.


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                                                    (4) Notwithstanding the provisions of                are set forth under the CSAPR NOX                      of CSAPR NOX Ozone Season Group 3
                                                 paragraph (a)(3) of this section, if, at the            Ozone Season Group 2 Trading Program                   allowances), and the provisions of
                                                 time of the approval of Mississippi’s SIP               in subpart EEEEE of part 97 of this                    § 97.811(e) of this chapter (concerning
                                                 revision described in paragraph (a)(3) of               chapter must comply with such                          the recall of CSAPR NOX Ozone Season
                                                 this section, the Administrator has                     requirements with regard to emissions                  Group 2 allowances equivalent in
                                                 already started recording any allocations               occurring in 2017 through 2022. The                    quantity and usability to all such
                                                 of CSAPR NOX Ozone Season Group 3                       obligation to comply with such                         allowances allocated to units in the
                                                 allowances under subpart GGGGG of                       requirements will be eliminated by the                 State for control periods after 2022)
                                                 part 97 of this chapter to units in the                 promulgation of an approval by the                     shall continue to apply.
                                                 State and areas of Indian country within                Administrator of a revision to Missouri’s                 (c) The owner and operator of each
                                                 the borders of the State subject to the                 State Implementation Plan (SIP) as                     source located in the State of Missouri
                                                 State’s SIP authority for a control period              correcting the SIP’s deficiency that is                and for which requirements are set forth
                                                 in any year, the provisions of subpart                  the basis for the CSAPR Federal                        in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                 GGGGG of part 97 of this chapter                        Implementation Plan (FIP) under                        § 52.44, § 52.45, or § 52.46 must comply
                                                 authorizing the Administrator to                        § 52.38(b)(1) and (b)(2)(ii), except to the            with such requirements with regard to
                                                 complete the allocation and recordation                 extent the Administrator’s approval is                 emissions occurring in 2026 and each
                                                 of CSAPR NOX Ozone Season Group 3                       partial or conditional.                                subsequent year.
                                                 allowances to such units for each such                     (3) The owner and operator of each
                                                 control period shall continue to apply,                 source and each unit located in the State              Subpart DD—Nevada
                                                 unless provided otherwise by such                       of Missouri and for which requirements
                                                                                                                                                                ■ 17. Add § 52.1492 to read as follows:
                                                 approval of the State’s SIP revision.                   are set forth under the CSAPR NOX
                                                    (5) Notwithstanding the provisions of                Ozone Season Group 3 Trading Program                   § 52.1492 Interstate pollutant transport
                                                 paragraph (a)(2) of this section, after                 in subpart GGGGG of part 97 of this                    provisions; What are the FIP requirements
                                                 2022 the provisions of § 97.826(c) of this              chapter must comply with such                          for decreases in emissions of nitrogen
                                                 chapter (concerning the transfer of                     requirements with regard to emissions                  oxides?
                                                 CSAPR NOX Ozone Season Group 2                          occurring in 2023 and each subsequent                     (a)(1) The owner and operator of each
                                                 allowances between certain accounts                     year. The obligation to comply with                    source and each unit located in the State
                                                 under common control), the provisions                   such requirements will be eliminated by                of Nevada and Indian country within
                                                 of § 97.826(e) of this chapter                          the promulgation of an approval by the                 the borders of the State and for which
                                                 (concerning the conversion of amounts                   Administrator of a revision to Missouri’s              requirements are set forth under the
                                                 of unused CSAPR NOX Ozone Season                        State Implementation Plan (SIP) as                     CSAPR NOX Ozone Season Group 3
                                                 Group 2 allowances allocated for control                correcting the SIP’s deficiency that is                Trading Program in subpart GGGGG of
                                                 periods before 2023 to different amounts                the basis for the CSAPR Federal                        part 97 of this chapter must comply
                                                 of CSAPR NOX Ozone Season Group 3                       Implementation Plan (FIP) under                        with such requirements with regard to
                                                 allowances), and the provisions of                      § 52.38(b)(1) and (b)(2)(iii), except to the           emissions occurring in 2023 and each
                                                 § 97.811(e) of this chapter (concerning                 extent the Administrator’s approval is                 subsequent year. The obligation to
                                                 the recall of CSAPR NOX Ozone Season                    partial or conditional.                                comply with such requirements with
                                                 Group 2 allowances equivalent in                           (4) Notwithstanding the provisions of               regard to sources and units in the State
                                                 quantity and usability to all such                      paragraphs (b)(2) and (3) of this section,             and areas of Indian country within the
                                                 allowances allocated to units in the                    if, at the time of the approval of                     borders of the State subject to the State’s
                                                 State and Indian country within the                     Missouri’s SIP revision described in                   SIP authority will be eliminated by the
                                                 borders of the State for control periods                paragraph (b)(2) or (3) of this section,               promulgation of an approval by the
                                                 after 2022) shall continue to apply.                    the Administrator has already started                  Administrator of a revision to Nevada’s
                                                    (b) The owner and operator of each                   recording any allocations of CSAPR                     State Implementation Plan (SIP) as
                                                 source located in the State of                          NOX Ozone Season Group 2 allowances                    correcting the SIP’s deficiency that is
                                                 Mississippi and Indian country within                   or CSAPR NOX Ozone Season Group 3                      the basis for the CSAPR Federal
                                                 the borders of the State and for which                  allowances under subpart EEEEE or                      Implementation Plan (FIP) under
                                                 requirements are set forth in § 52.40 and               GGGGG, respectively, of part 97 of this                § 52.38(b)(1) and (b)(2)(iii) for those
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,            chapter to units in the State for a control            sources and units, except to the extent
                                                 or § 52.46 must comply with such                        period in any year, the provisions of                  the Administrator’s approval is partial
                                                 requirements with regard to emissions                   such subpart authorizing the                           or conditional. The obligation to comply
                                                 occurring in 2026 and each subsequent                   Administrator to complete the                          with such requirements with regard to
                                                 year.                                                   allocation and recordation of such                     sources and units located in areas of
                                                                                                         allowances to such units for each such                 Indian country within the borders of the
                                                 Subpart AA—Missouri                                     control period shall continue to apply,                State not subject to the State’s SIP
                                                                                                         unless provided otherwise by such                      authority will not be eliminated by the
                                                 ■ 16. Amend § 52.1326 by revising
                                                                                                         approval of the State’s SIP revision.                  promulgation of an approval by the
                                                 paragraph (b)(2) and (3) and adding                        (5) Notwithstanding the provisions of               Administrator of a revision to Nevada’s
                                                 paragraphs (b)(4) and (5) and (c) to read               paragraph (b)(2) of this section, after                SIP.
                                                 as follows:                                             2022 the provisions of § 97.826(c) of this               (2) Notwithstanding the provisions of
                                                 § 52.1326 Interstate pollutant transport                chapter (concerning the transfer of                    paragraph (a)(1) of this section, if, at the
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                                                 provisions; What are the FIP requirements               CSAPR NOX Ozone Season Group 2                         time of the approval of Nevada’s SIP
                                                 for decreases in emissions of nitrogen                  allowances between certain accounts                    revision described in paragraph (a)(1) of
                                                 oxides?                                                 under common control), the provisions                  this section, the Administrator has
                                                 *     *    *    *     *                                 of § 97.826(e) of this chapter                         already started recording any allocations
                                                   (b) * * *                                             (concerning the conversion of amounts                  of CSAPR NOX Ozone Season Group 3
                                                   (2) The owner and operator of each                    of unused CSAPR NOX Ozone Season                       allowances under subpart GGGGG of
                                                 source and each unit located in the State               Group 2 allowances allocated for control               part 97 of this chapter to units in the
                                                 of Missouri and for which requirements                  periods before 2023 to different amounts               State and areas of Indian country within


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                                                 the borders of the State subject to the                 promulgation of an approval by the                     § 52.44, § 52.45, or § 52.46 must comply
                                                 State’s SIP authority for a control period              Administrator of a revision to New                     with such requirements with regard to
                                                 in any year, the provisions of subpart                  York’s State Implementation Plan (SIP)                 emissions occurring in 2026 and each
                                                 GGGGG of part 97 of this chapter                        as correcting the SIP’s deficiency that is             subsequent year.
                                                 authorizing the Administrator to                        the basis for the CSAPR Federal
                                                 complete the allocation and recordation                 Implementation Plan (FIP) under                        Subpart LL—Oklahoma
                                                 of CSAPR NOX Ozone Season Group 3                       § 52.38(b)(1) and (b)(2)(iii) for those
                                                                                                                                                                ■ 21. Amend § 52.1930 by:
                                                 allowances to such units for each such                  sources and units, except to the extent                ■ a. Redesignating paragraphs (a)
                                                 control period shall continue to apply,                 the Administrator’s approval is partial                through (c) as paragraphs (a)(1) through
                                                 unless provided otherwise by such                       or conditional. The obligation to comply               (3);
                                                 approval of the State’s SIP revision.                   with such requirements with regard to                  ■ b. In newly redesignated paragraph
                                                    (b) The owner and operator of each                   sources and units located in areas of                  (a)(2):
                                                 source located in the State of Nevada                   Indian country within the borders of the               ■ i. Removing ‘‘2017 and each
                                                 and Indian country within the borders                   State not subject to the State’s SIP                   subsequent year’’ and adding in its
                                                 of the State and for which requirements                 authority will not be eliminated by the                place ‘‘2017 through 2022’’; and
                                                 are set forth in § 52.40 and § 52.41,                   promulgation of an approval by the                     ■ ii. Removing the second and third
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  Administrator of a revision to New                     sentences;
                                                 § 52.46 must comply with such                           York’s SIP.                                            ■ c. Revising newly redesignated
                                                 requirements with regard to emissions                      (4) Notwithstanding the provisions of               paragraph (a)(3); and
                                                 occurring in 2026 and each subsequent                   paragraph (b)(3) of this section, if, at the           ■ d. Adding paragraphs (a)(4) and (5)
                                                 year.                                                   time of the approval of New York’s SIP                 and (b).
                                                                                                         revision described in paragraph (b)(3) of                 The revision and additions read as
                                                 Subpart FF—New Jersey                                   this section, the Administrator has                    follows:
                                                                                                         already started recording any allocations
                                                 ■ 18. Amend § 52.1584 by:                                                                                      § 52.1930 Interstate pollutant transport
                                                                                                         of CSAPR NOX Ozone Season Group 3
                                                 ■ a. In paragraph (e)(3), removing                                                                             provisions; What are the FIP requirements
                                                                                                         allowances under subpart GGGGG of                      for decreases in emissions of nitrogen
                                                 ‘‘(b)(2)(v), except’’ and adding in its                 part 97 of this chapter to units in the
                                                 place ‘‘(b)(2)(iii), except’’; and                                                                             oxides?
                                                                                                         State and areas of Indian country within                 (a) * * *
                                                 ■ b. Adding paragraph (f).
                                                                                                         the borders of the State subject to the                  (3) The owner and operator of each
                                                    The addition reads as follows:                       State’s SIP authority for a control period             source and each unit located in the State
                                                 § 52.1584 Interstate pollutant transport                in any year, the provisions of subpart                 of Oklahoma and Indian country within
                                                 provisions; What are the FIP requirements               GGGGG of part 97 of this chapter                       the borders of the State and for which
                                                 for decreases in emissions of nitrogen                  authorizing the Administrator to                       requirements are set forth under the
                                                 oxides?                                                 complete the allocation and recordation                CSAPR NOX Ozone Season Group 3
                                                 *     *     *     *     *                               of CSAPR NOX Ozone Season Group 3                      Trading Program in subpart GGGGG of
                                                   (f) The owner and operator of each                    allowances to such units for each such                 part 97 of this chapter must comply
                                                 source located in the State of New Jersey               control period shall continue to apply,                with such requirements with regard to
                                                 and for which requirements are set forth                unless provided otherwise by such                      emissions occurring in 2023 and each
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               approval of the State’s SIP revision.                  subsequent year. The obligation to
                                                 § 52.44, § 52.45, or § 52.46 must comply                *      *    *      *    *                              comply with such requirements with
                                                 with such requirements with regard to                      (c) The owner and operator of each                  regard to sources and units in the State
                                                 emissions occurring in 2026 and each                    source located in the State of New York                and areas of Indian country within the
                                                 subsequent year.                                        and Indian country within the borders                  borders of the State subject to the State’s
                                                                                                         of the State and for which requirements                SIP authority will be eliminated by the
                                                 Subpart HH—New York                                     are set forth in § 52.40 and § 52.41,                  promulgation of an approval by the
                                                                                                         § 52.42, § 52.43, § 52.44, § 52.45, or                 Administrator of a revision to
                                                 ■ 19. Amend § 52.1684 by:
                                                                                                         § 52.46 must comply with such                          Oklahoma’s State Implementation Plan
                                                 ■ a. In paragraph (b)(3), revising the
                                                                                                         requirements with regard to emissions                  (SIP) as correcting the SIP’s deficiency
                                                 second and third sentences;
                                                                                                         occurring in 2026 and each subsequent                  that is the basis for the CSAPR Federal
                                                 ■ b. Revising paragraph (b)(4);
                                                                                                         year.                                                  Implementation Plan (FIP) under
                                                 ■ c. In paragraph (b)(5), adding ‘‘and
                                                 Indian country within the borders of the                                                                       § 52.38(b)(1) and (b)(2)(iii) for those
                                                                                                         Subpart KK—Ohio                                        sources and units, except to the extent
                                                 State’’ after ‘‘in the State’’; and
                                                 ■ d. Adding paragraph (c).
                                                                                                                                                                the Administrator’s approval is partial
                                                                                                         ■ 20. Amend § 52.1882 by:
                                                   The revision and addition read as                                                                            or conditional. The obligation to comply
                                                                                                         ■ a. In paragraph (b)(3), removing
                                                 follows:                                                                                                       with such requirements with regard to
                                                                                                         ‘‘(b)(2)(v), except’’ and adding in its
                                                                                                                                                                sources and units located in areas of
                                                                                                         place ‘‘(b)(2)(iii), except’’; and
                                                 § 52.1684 Interstate pollutant transport
                                                                                                         ■ b. Adding paragraph (c).
                                                                                                                                                                Indian country within the borders of the
                                                 provisions; What are the FIP requirements
                                                                                                            The addition reads as follows:                      State not subject to the State’s SIP
                                                 for decreases in emissions of nitrogen                                                                         authority will not be eliminated by the
                                                 oxides?                                                 § 52.1882 Interstate pollutant transport               promulgation of an approval by the
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                                                 *     *     *    *      *                               provisions; What are the FIP requirements              Administrator of a revision to
                                                   (b) * * *                                             for decreases in emissions of nitrogen                 Oklahoma’s SIP.
                                                   (3) * * * The obligation to comply                    oxides?                                                  (4) Notwithstanding the provisions of
                                                 with such requirements with regard to                   *     *    *     *     *                               paragraph (a)(3) of this section, if, at the
                                                 sources and units in the State and areas                  (c) The owner and operator of each                   time of the approval of Oklahoma’s SIP
                                                 of Indian country within the borders of                 source located in the State of Ohio and                revision described in paragraph (a)(3) of
                                                 the State subject to the State’s SIP                    for which requirements are set forth in                this section, the Administrator has
                                                 authority will be eliminated by the                     § 52.40 and § 52.41, § 52.42, § 52.43,                 already started recording any allocations


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                                                 of CSAPR NOX Ozone Season Group 3                       occurring in 2026 and each subsequent                  in any year, the provisions of subpart
                                                 allowances under subpart GGGGG of                       year.                                                  GGGGG of part 97 of this chapter
                                                 part 97 of this chapter to units in the                                                                        authorizing the Administrator to
                                                 State and areas of Indian country within                Subpart SS—Texas                                       complete the allocation and recordation
                                                 the borders of the State subject to the                                                                        of CSAPR NOX Ozone Season Group 3
                                                                                                         ■ 23. Amend § 52.2283 by:
                                                 State’s SIP authority for a control period                                                                     allowances to such units for each such
                                                                                                         ■ a. In paragraph (d)(2):
                                                 in any year, the provisions of subpart                  ■ i. Removing ‘‘2017 and each
                                                                                                                                                                control period shall continue to apply,
                                                 GGGGG of part 97 of this chapter                        subsequent year’’ and adding in its                    unless provided otherwise by such
                                                 authorizing the Administrator to                        place ‘‘2017 through 2022’’; and                       approval of the State’s SIP revision.
                                                 complete the allocation and recordation                 ■ ii. Removing the second and third
                                                                                                                                                                   (5) Notwithstanding the provisions of
                                                 of CSAPR NOX Ozone Season Group 3                       sentences;                                             paragraph (d)(2) of this section, after
                                                 allowances to such units for each such                  ■ b. Revising paragraph (d)(3); and                    2022 the provisions of § 97.826(c) of this
                                                 control period shall continue to apply,                 ■ c. Adding paragraphs (d)(4) and (5)                  chapter (concerning the transfer of
                                                 unless provided otherwise by such                       and (e).                                               CSAPR NOX Ozone Season Group 2
                                                 approval of the State’s SIP revision.                     The revision and additions read as                   allowances between certain accounts
                                                    (5) Notwithstanding the provisions of                follows:                                               under common control), the provisions
                                                 paragraph (a)(2) of this section, after                                                                        of § 97.826(e) of this chapter
                                                                                                         § 52.2283 Interstate pollutant transport               (concerning the conversion of amounts
                                                 2022 the provisions of § 97.826(c) of this              provisions; What are the FIP requirements
                                                 chapter (concerning the transfer of                                                                            of unused CSAPR NOX Ozone Season
                                                                                                         for decreases in emissions of nitrogen                 Group 2 allowances allocated for control
                                                 CSAPR NOX Ozone Season Group 2                          oxides?
                                                 allowances between certain accounts                                                                            periods before 2023 to different amounts
                                                                                                         *      *    *     *    *                               of CSAPR NOX Ozone Season Group 3
                                                 under common control), the provisions                      (d) * * *
                                                 of § 97.826(e) of this chapter                                                                                 allowances), and the provisions of
                                                                                                            (3) The owner and operator of each                  § 97.811(e) of this chapter (concerning
                                                 (concerning the conversion of amounts                   source and each unit located in the State
                                                 of unused CSAPR NOX Ozone Season                                                                               the recall of CSAPR NOX Ozone Season
                                                                                                         of Texas and Indian country within the                 Group 2 allowances equivalent in
                                                 Group 2 allowances allocated for control                borders of the State and for which
                                                 periods before 2023 to different amounts                                                                       quantity and usability to all such
                                                                                                         requirements are set forth under the                   allowances allocated to units in the
                                                 of CSAPR NOX Ozone Season Group 3                       CSAPR NOX Ozone Season Group 3
                                                 allowances), and the provisions of                                                                             State and Indian country within the
                                                                                                         Trading Program in subpart GGGGG of                    borders of the State for control periods
                                                 § 97.811(e) of this chapter (concerning                 part 97 of this chapter must comply
                                                 the recall of CSAPR NOX Ozone Season                                                                           after 2022) shall continue to apply.
                                                                                                         with such requirements with regard to                     (e) The owner and operator of each
                                                 Group 2 allowances equivalent in                        emissions occurring in 2023 and each                   source located in the State of Texas and
                                                 quantity and usability to all such                      subsequent year. The obligation to                     Indian country within the borders of the
                                                 allowances allocated to units in the                    comply with such requirements with                     State and for which requirements are set
                                                 State and Indian country within the                     regard to sources and units in the State               forth in § 52.40 and § 52.41, § 52.42,
                                                 borders of the State for control periods                and areas of Indian country within the                 § 52.43, § 52.44, § 52.45, or § 52.46 must
                                                 after 2022) shall continue to apply.                    borders of the State subject to the State’s            comply with such requirements with
                                                    (b) The owner and operator of each                   SIP authority will be eliminated by the                regard to emissions occurring in 2026
                                                 source located in the State of Oklahoma                 promulgation of an approval by the                     and each subsequent year.
                                                 and Indian country within the borders                   Administrator of a revision to Texas’
                                                 of the State and for which requirements                 State Implementation Plan (SIP) as                     Subpart TT—Utah
                                                 are set forth in § 52.40 and § 52.41,                   correcting the SIP’s deficiency that is
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  the basis for the CSAPR Federal                        ■ 24. Add § 52.2356 to read as follows:
                                                 § 52.46 must comply with such                           Implementation Plan (FIP) under                        § 52.2356 Interstate pollutant transport
                                                 requirements with regard to emissions                   § 52.38(b)(1) and (b)(2)(iii) for those                provisions; What are the FIP requirements
                                                 occurring in 2026 and each subsequent                   sources and units, except to the extent                for decreases in emissions of nitrogen
                                                 year.                                                   the Administrator’s approval is partial                oxides?
                                                                                                         or conditional. The obligation to comply                 (a)(1) The owner and operator of each
                                                 Subpart NN—Pennsylvania                                 with such requirements with regard to                  source and each unit located in the State
                                                 ■ 22. Amend § 52.2040 by:
                                                                                                         sources and units located in areas of                  of Utah and Indian country within the
                                                 ■ a. In paragraph (b)(3), removing
                                                                                                         Indian country within the borders of the               borders of the State and for which
                                                 ‘‘(b)(2)(v), except’’ and adding in its                 State not subject to the State’s SIP                   requirements are set forth under the
                                                 place ‘‘(b)(2)(iii), except’’; and                      authority will not be eliminated by the                CSAPR NOX Ozone Season Group 3
                                                 ■ b. Adding paragraph (c).
                                                                                                         promulgation of an approval by the                     Trading Program in subpart GGGGG of
                                                    The addition reads as follows:                       Administrator of a revision to Texas’                  part 97 of this chapter must comply
                                                                                                         SIP.                                                   with such requirements with regard to
                                                 § 52.2040 Interstate pollutant transport                  (4) Notwithstanding the provisions of                emissions occurring in 2023 and each
                                                 provisions; What are the FIP requirements               paragraph (d)(3) of this section, if, at the           subsequent year. The obligation to
                                                 for decreases in emissions of nitrogen                  time of the approval of Texas’ SIP                     comply with such requirements with
                                                 oxides?                                                 revision described in paragraph (d)(3) of              regard to sources and units in the State
                                                 *     *     *     *     *                               this section, the Administrator has
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                                                                                                                                                                and areas of Indian country within the
                                                   (c) The owner and operator of each                    already started recording any allocations              borders of the State subject to the State’s
                                                 source located in the State of                          of CSAPR NOX Ozone Season Group 3                      SIP authority will be eliminated by the
                                                 Pennsylvania and for which                              allowances under subpart GGGGG of                      promulgation of an approval by the
                                                 requirements are set forth in § 52.40 and               part 97 of this chapter to units in the                Administrator of a revision to Utah’s
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,            State and areas of Indian country within               State Implementation Plan (SIP) as
                                                 or § 52.46 must comply with such                        the borders of the State subject to the                correcting the SIP’s deficiency that is
                                                 requirements with regard to emissions                   State’s SIP authority for a control period             the basis for the CSAPR Federal


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                                                 Implementation Plan (FIP) under                         ■ a. In paragraph (b)(3), removing                     authority will not be eliminated by the
                                                 § 52.38(b)(1) and (b)(2)(iii) for those                 ‘‘(b)(2)(v), except’’ and adding in its                promulgation of an approval by the
                                                 sources and units, except to the extent                 place ‘‘(b)(2)(iii), except’’; and                     Administrator of a revision to
                                                 the Administrator’s approval is partial                 ■ b. Adding paragraph (c).                             Wisconsin’s SIP.
                                                 or conditional. The obligation to comply                   The addition reads as follows:                         (4) Notwithstanding the provisions of
                                                 with such requirements with regard to                                                                          paragraph (e)(3) of this section, if, at the
                                                                                                         § 52.2540 Interstate pollutant transport
                                                 sources and units located in areas of                                                                          time of the approval of Wisconsin’s SIP
                                                                                                         provisions; What are the FIP requirements
                                                 Indian country within the borders of the                for decreases in emissions of nitrogen                 revision described in paragraph (e)(3) of
                                                 State not subject to the State’s SIP                    oxides?                                                this section, the Administrator has
                                                 authority will not be eliminated by the                                                                        already started recording any allocations
                                                                                                         *     *     *     *     *
                                                 promulgation of an approval by the                        (c) The owner and operator of each                   of CSAPR NOX Ozone Season Group 3
                                                 Administrator of a revision to Utah’s                   source located in the State of West                    allowances under subpart GGGGG of
                                                 SIP.                                                    Virginia and for which requirements are                part 97 of this chapter to units in the
                                                    (2) Notwithstanding the provisions of                                                                       State and areas of Indian country within
                                                                                                         set forth in § 52.40 and § 52.41, § 52.42,
                                                 paragraph (a)(1) of this section, if, at the                                                                   the borders of the State subject to the
                                                                                                         § 52.43, § 52.44, § 52.45, or § 52.46 must
                                                 time of the approval of Utah’s SIP                                                                             State’s SIP authority for a control period
                                                                                                         comply with such requirements with
                                                 revision described in paragraph (a)(1) of                                                                      in any year, the provisions of subpart
                                                                                                         regard to emissions occurring in 2026
                                                 this section, the Administrator has                                                                            GGGGG of part 97 of this chapter
                                                                                                         and each subsequent year.
                                                 already started recording any allocations                                                                      authorizing the Administrator to
                                                 of CSAPR NOX Ozone Season Group 3                       Subpart YY—Wisconsin                                   complete the allocation and recordation
                                                 allowances under subpart GGGGG of                                                                              of CSAPR NOX Ozone Season Group 3
                                                 part 97 of this chapter to units in the                 ■ 27. Amend § 52.2587 by:                              allowances to such units for each such
                                                 State and areas of Indian country within                ■ a. In paragraph (e)(2):                              control period shall continue to apply,
                                                 the borders of the State subject to the                 ■ i. Removing ‘‘2017 and each                          unless provided otherwise by such
                                                 State’s SIP authority for a control period              subsequent year’’ and adding in its                    approval of the State’s SIP revision.
                                                 in any year, the provisions of subpart                  place ‘‘2017 through 2022’’; and                          (5) Notwithstanding the provisions of
                                                 GGGGG of part 97 of this chapter                        ■ ii. Removing the second and third                    paragraph (e)(2) of this section, after
                                                 authorizing the Administrator to                        sentences;                                             2022 the provisions of § 97.826(c) of this
                                                 complete the allocation and recordation                 ■ b. Revising paragraph (e)(3); and                    chapter (concerning the transfer of
                                                 of CSAPR NOX Ozone Season Group 3                       ■ c. Adding paragraphs (e)(4) and (5).                 CSAPR NOX Ozone Season Group 2
                                                 allowances to such units for each such                    The revision and additions read as                   allowances between certain accounts
                                                 control period shall continue to apply,                 follows:                                               under common control), the provisions
                                                 unless provided otherwise by such                       § 52.2587 Interstate pollutant transport
                                                                                                                                                                of § 97.826(e) of this chapter
                                                 approval of the State’s SIP revision.                   provisions; What are the FIP requirements              (concerning the conversion of amounts
                                                    (b) The owner and operator of each                   for decreases in emissions of nitrogen                 of unused CSAPR NOX Ozone Season
                                                 source located in the State of Utah and                 oxides?                                                Group 2 allowances allocated for control
                                                 Indian country within the borders of the                *     *     *      *     *                             periods before 2023 to different amounts
                                                 State and for which requirements are set                  (e) * * *                                            of CSAPR NOX Ozone Season Group 3
                                                 forth in § 52.40 and § 52.41, § 52.42,                    (3) The owner and operator of each                   allowances), and the provisions of
                                                 § 52.43, § 52.44, § 52.45, or § 52.46 must              source and each unit located in the State              § 97.811(e) of this chapter (concerning
                                                 comply with such requirements with                      of Wisconsin and Indian country within                 the recall of CSAPR NOX Ozone Season
                                                 regard to emissions occurring in 2026                   the borders of the State and for which                 Group 2 allowances equivalent in
                                                 and each subsequent year.                               requirements are set forth under the                   quantity and usability to all such
                                                                                                         CSAPR NOX Ozone Season Group 3                         allowances allocated to units in the
                                                 Subpart VV—Virginia                                                                                            State and Indian country within the
                                                                                                         Trading Program in subpart GGGGG of
                                                                                                         part 97 of this chapter must comply                    borders of the State for control periods
                                                 ■ 25. Amend § 52.2440 by:
                                                 ■ a. In paragraph (b)(3), removing                      with such requirements with regard to                  after 2022) shall continue to apply.
                                                 ‘‘(b)(2)(v), except’’ and adding in its                 emissions occurring in 2023 and each
                                                                                                                                                                PART 75—CONTINUOUS EMISSION
                                                 place ‘‘(b)(2)(iii), except’’; and                      subsequent year. The obligation to
                                                                                                                                                                MONITORING
                                                 ■ b. Adding paragraph (c).                              comply with such requirements with
                                                    The addition reads as follows:                       regard to sources and units in the State               ■ 28. The authority citation for part 75
                                                                                                         and areas of Indian country within the                 is revised to read as follows:
                                                 § 52.2440 Interstate pollutant transport                borders of the State subject to the State’s
                                                 provisions; What are the FIP requirements                                                                        Authority: 42 U.S.C. 7401–7671q and
                                                 for decreases in emissions of nitrogen
                                                                                                         SIP authority will be eliminated by the
                                                                                                                                                                7651k note.
                                                 oxides?                                                 promulgation of an approval by the
                                                                                                         Administrator of a revision to                         Subpart H—NOX Mass Emissions
                                                 *     *     *     *     *
                                                                                                         Wisconsin’s State Implementation Plan                  Provisions
                                                   (c) The owner and operator of each
                                                                                                         (SIP) as correcting the SIP’s deficiency
                                                 source located in the State of Virginia
                                                                                                         that is the basis for the CSAPR Federal                ■ 29. Amend § 75.72 by:
                                                 and for which requirements are set forth
                                                                                                         Implementation Plan (FIP) under                        ■ a. In paragraph (c)(3), removing
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                                                                         § 52.38(b)(1) and (b)(2)(iii) for those
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                                                 § 52.44, § 52.45, or § 52.46 must comply                                                                       ‘‘appendix B of this part’’ and adding in
                                                                                                         sources and units, except to the extent                its place ‘‘appendix B to this part’’;
                                                 with such requirements with regard to
                                                                                                         the Administrator’s approval is partial                ■ b. In paragraph (e)(1)(ii), removing
                                                 emissions occurring in 2026 and each
                                                                                                         or conditional. The obligation to comply               ‘‘heat input from’’ and adding in its
                                                 subsequent year.
                                                                                                         with such requirements with regard to                  place ‘‘heat input rate to’’;
                                                 Subpart XX—West Virginia                                sources and units located in areas of                  ■ c. In paragraph (e)(2), removing
                                                                                                         Indian country within the borders of the               ‘‘appendix D of this part’’ and adding in
                                                 ■ 26. Amend § 52.2540 by:                               State not subject to the State’s SIP                   its place ‘‘appendix D to this part’’; and


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                                                 ■ d. Adding paragraph (f).                              information in § 75.53(h)(1)(ii) and                   or before September 30 of the previous
                                                     The addition reads as follows:                      (h)(2)(ii) in hardcopy format. For units               year:
                                                                                                         using the low mass emissions excepted                     (A) Daily NOX emissions (lbs) for each
                                                 § 75.72 Determination of NOX mass                                                                              day of the reporting period;
                                                                                                         methodology under § 75.19, the
                                                 emissions for common stack and multiple
                                                                                                         monitoring plan shall include the                         (B) Daily heat input (mmBtu) for each
                                                 stack configurations.
                                                                                                         additional information in § 75.53(h)(4)(i)             day of the reporting period;
                                                 *      *      *   *      *                              and (ii). The monitoring plan also shall                  (C) Daily average NOX emission rate
                                                    (f) Procedures for apportioning hourly                                                                      (lb/mmBtu, rounded to the nearest
                                                                                                         include a seasonal controls indicator
                                                 NOX mass emission rate to the unit                                                                             thousandth) for each day of the
                                                                                                         and an ozone season fuel-switching flag.
                                                 level. If the owner or operator of a unit                                                                      reporting period;
                                                 determining hourly NOX mass emission                    *      *     *    *      *
                                                                                                           (f) * * *                                               (D) Daily NOX emissions (lbs)
                                                 rate at a common stack under this                                                                              exceeding the applicable backstop daily
                                                 section is subject to a State or Federal                  (1) Electronic submission. The
                                                                                                         designated representative for an affected              NOX emission rate for each day of the
                                                 NOX mass emissions reduction program                                                                           reporting period;
                                                 under subpart GGGGG of part 97 of this                  unit shall electronically report the data
                                                                                                         and information in this paragraph (f)(1)                  (E) Cumulative NOX emissions (tons,
                                                 chapter or under a state implementation                                                                        rounded to the nearest tenth) exceeding
                                                 plan approved pursuant to                               and in paragraphs (f)(2) and (3) of this
                                                                                                         section to the Administrator quarterly,                the applicable backstop daily NOX
                                                 § 52.38(b)(12) of this chapter, then on                                                                        emission rate during the ozone season;
                                                 and after January 1, 2024, the owner or                 unless the unit has been placed in long-
                                                                                                         term cold storage (as defined in § 72.2                and
                                                 operator shall apportion the hourly NOX                                                                           (F) Cumulative NOX emissions (tons,
                                                 mass emissions rate at the common                       of this chapter). Each electronic report
                                                                                                                                                                rounded to the nearest tenth) exceeding
                                                 stack to each unit using the common                     must be submitted to the Administrator
                                                                                                                                                                the applicable backstop daily NOX
                                                 stack based on the ratio of the hourly                  within 30 days following the end of
                                                                                                                                                                emission rate during the ozone season
                                                 heat input rate for each such unit to the               each calendar quarter. Each electronic
                                                                                                                                                                by more than 50 tons, calculated as the
                                                 total hourly heat input rate for all such               report shall include the information
                                                                                                                                                                remainder of the amount calculated
                                                 units, in conjunction with the                          provided in paragraphs (f)(1)(i) through
                                                                                                                                                                under paragraph (f)(1)(x)(E) of this
                                                 appropriate unit and stack operating                    (x) of this section and shall also include
                                                                                                                                                                section minus 50, but not less than zero.
                                                 times, according to the procedures in                   the date of report generation. A unit
                                                                                                                                                                   (2) Verification of identification codes
                                                 section 8.5.3 of appendix F to this part.               placed into long-term cold storage is
                                                                                                                                                                and formulas. * * *
                                                                                                         exempted from submitting quarterly                        (4) Electronic format, method of
                                                 *      *      *   *      *                              reports beginning with the calendar
                                                 ■ 30. Amend § 75.73 by:                                                                                        submission, and explanatory
                                                                                                         quarter following the quarter in which                 information. The designated
                                                 ■ a. Revising paragraph (a)(3);                         the unit is placed into long-term cold
                                                 ■ b. In paragraph (c)(1), removing ‘‘NOX                                                                       representative shall comply with all of
                                                                                                         storage, provided that the owner or                    the quarterly reporting requirements in
                                                 emissions’’ and adding in its place                     operator shall submit quarterly reports
                                                 ‘‘NOX emissions’’;                                                                                             § 75.64(d), (f), and (g).
                                                                                                         for the unit beginning with the data
                                                 ■ c. Adding a heading to paragraph                                                                             ■ 31. Revise § 75.75 to read as follows:
                                                                                                         from the quarter in which the unit
                                                 (c)(2);                                                 recommences operation (where the
                                                 ■ d. Revising paragraphs (c)(3) and (f)(1)
                                                                                                                                                                § 75.75 Additional ozone season
                                                                                                         initial quarterly report contains hourly               calculation procedures.
                                                 introductory text;                                      data beginning with the first hour of
                                                 ■ e. Removing and reserving paragraph                                                                            (a) The owner or operator of a unit
                                                                                                         recommenced operation of the unit).                    that is required to calculate daily or
                                                 (f)(1)(i)(B);
                                                 ■ f. In paragraph (f)(1)(ii)(G), removing               *      *     *    *      *                             ozone season heat input shall do so by
                                                 ‘‘appendix D;’’ and adding in its place                   (ix) On and after on January 1, 2024,                summing the unit’s hourly heat input
                                                 ‘‘appendix D to this part;’’;                           for a unit subject to subpart GGGGG of                 determined according to the procedures
                                                 ■ g. Adding paragraphs (f)(1)(ix) and (x);              part 97 of this chapter or a state                     in this part for all hours in which the
                                                 ■ h. Adding a heading to paragraph                      implementation plan approved under                     unit operated during the day or ozone
                                                 (f)(2); and                                             § 52.38(b)(12) of this chapter and                     season.
                                                 ■ i. Revising paragraph (f)(4).                         determining NOX mass emission rate at                    (b) The owner or operator of a unit
                                                    The revisions and additions read as                  a common stack, apportioned hourly                     that is required to determine daily or
                                                 follows:                                                NOX mass emission rate for the unit, lb/               ozone season NOX emission rate (in lbs/
                                                                                                         hr.                                                    mmBtu) shall do so by dividing daily or
                                                 § 75.73   Recordkeeping and reporting.                     (x) On and after January 1, 2024, for               ozone season NOX mass emissions (in
                                                   (a) * * *                                             a unit that is subject to subpart GGGGG                lbs) determined in accordance with this
                                                   (3) For each hour when the unit is                    of part 97 of this chapter or a state                  subpart, by daily or ozone season heat
                                                 operating, NOX mass emission rate,                      implementation plan approved under                     input determined in accordance with
                                                 calculated in accordance with section 8                 § 52.38(b)(12) of this chapter, that lists             paragraph (a) of this section.
                                                 of appendix F to this part.                             coal or a solid coal-derived fuel as a fuel            ■ 32. Amend appendix F to part 75 by:
                                                 *     *      *     *     *                              in the unit’s monitoring plan under                    ■ a. Adding section 5.3.3;
                                                   (c) * * *                                             § 75.53 for any portion of the ozone                   ■ b. In section 8.1.2, revising the
                                                   (2) Monitoring plan updates. * * *                    season in the year for which data are                  introductory text preceding Equation F–
                                                   (3) Contents of the monitoring plan.                  being reported, that serves a generator of             25;
                                                                                                         100 MW or larger nameplate capacity,
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                                                 Each monitoring plan shall contain the                                                                         ■ c. In section 8.4, revising the
                                                 information in § 75.53(g)(1) in electronic              and that is not a circulating fluidized                introductory text, paragraph (a)
                                                 format and the information in                           bed boiler, provided that through                      introductory text (preceding Equation
                                                 § 75.53(g)(2) in hardcopy format. In                    December 31, 2029, the requirements                    F–27), and paragraph (b) introductory
                                                 addition, to the extent applicable, each                under this paragraph (f)(1)(x) shall                   text (preceding Equation F–27a) and
                                                 monitoring plan shall contain the                       apply to a unit in a given calendar year               adding paragraph (c);
                                                 information in § 75.53(h)(1)(i) and                     only if the unit also was equipped with                ■ d. In section 8.5.2, removing ‘‘the
                                                 (h)(2)(i) in electronic format and the                  selective catalytic reduction controls on              hourly NOX mass emissions at each


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                                                 unit’’ and adding in its place ‘‘hourly                 Appendix F to Part 75—Conversion                       5.3 Heat Input Summation (for Heat Input
                                                 NOX mass emissions at the common                        Procedures                                             Determined Using a Flow Monitor and
                                                 stack’’; and                                                                                                   Diluent Monitor)
                                                                                                         *      *      *       *      *                         *       *    *     *     *
                                                 ■ e. Adding section 8.5.3.
                                                                                                         5. Procedures for Heat Input                             5.3.3 Calculate total daily heat input for
                                                   The additions and revisions read as                                                                          a unit using a flow monitor and diluent
                                                                                                         *      *      *       *      *                         monitor to calculate heat input, using the
                                                 follows:
                                                                                                                                                                following equation:




                                                 Where:                                                  8. Procedures for NOX Mass Emissions                   to calculate quarterly, cumulative ozone
                                                 HId = Total heat input for a unit for the day,          *      *      *       *      *                         season, and cumulative year-to-date NOX
                                                      mmBtu.                                               8.1.2 If NOX emission rate is measured at            mass emissions in tons.
                                                 HIh = Heat input rate for the unit for hour ‘‘h’’       a common stack and heat input rate is                  *       *    *     *     *
                                                      from Equation F–15, F–16, F–17, F–18,              measured at the unit level, calculate the                 (b) When hourly NOX mass emission rate
                                                      F–21a, or F–21b to this appendix,                  hourly heat input rate at the common stack             is reported in lb/hr, use Eq. F–27a to this
                                                                                                         according to the following formula:
                                                      mmBtu/hr.                                                                                                 appendix to calculate quarterly, cumulative
                                                 th = Unit operating time, fraction of the hour          *      *      *       *      *                         ozone season, and cumulative year-to-date
                                                      (0.00 to 1.00, in equal increments from              8.4 Use the following equations to                   NOX mass emissions in tons.
                                                      one hundredth to one quarter of an hour,           calculate daily, quarterly, cumulative ozone
                                                                                                         season, and cumulative year-to-date NOX                *       *    *     *     *
                                                      at the option of the owner or operator).                                                                    (c) To calculate daily NOX mass emissions
                                                                                                         mass emissions:
                                                 h = Designation of a particular hour.                     (a) When hourly NOX mass emissions are               for a unit in pounds, use Eq. F–27b to this
                                                 *      *     *       *      *                           reported in lb., use Eq. F–27 to this appendix         appendix.




                                                 Where:                                                  th = Unit operating time, fraction of the hour           8.5.3 Where applicable, the owner or
                                                 M(NOX)d = NOX mass emissions for a unit for                  (0.00 to 1.00, in equal increments from           operator of a unit that determines hourly
                                                     the day, pounds.                                         one hundredth to one quarter of an hour,          NOX mass emission rate at a common stack
                                                                                                              at the option of the owner or operator).          shall apportion hourly NOX mass emissions
                                                 E(NOX)h = NOX mass emission rate for the unit
                                                                                                         h = Designation of a particular hour.                  rate to the units using the common stack
                                                     for hour ‘‘h’’ from Equation F–24a, F–                                                                     based on the hourly heat input rate, using
                                                     26a, F–26b, or F–28, lb/hr.                         *      *      *       *      *                         Equation F–28 to this appendix:




                                                 Where:                                                       quarter of an hour, at the option of the          PART 78—APPEAL PROCEDURES
                                                 E(NOX)i = Apportioned NOX mass emission                      owner or operator).
                                                                                                                                                                                                               ER05JN23.005</GPH>




                                                      rate for the hour for unit ‘‘i’’, lb/hr.           tCS = Common stack operating time, fraction            ■ 33. The authority citation for part 78
                                                 E(NOX)CS = NOX mass emission rate for the                    of the hour (0.00 to 1.00, in equal
                                                                                                                                                                continues to read as follows:
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                                                      hour at the common stack, lb/hr.                        increments from one hundredth to one
                                                 HIi = Heat input rate for the hour for unit                  quarter of an hour, at the option of the              Authority: 42 U.S.C. 7401–7671q.
                                                      ‘‘i’’,’’ from Equation F–15, F–16, F–17,                owner or operator).
                                                                                                                                                                                                               ER05JN23.004</GPH>




                                                                                                                                                                ■ 34. Amend § 78.1 by:
                                                      F–18, F–21a, or F–21b to this appendix,            n = Number of units using the common stack.
                                                      mmBtu/hr.                                          i = Designation of a particular unit.                  ■ a. In paragraphs (b)(13)(i), (b)(14)(i),
                                                 ti = Operating time for unit ‘‘i’’, fraction of                                                                (b)(15)(i), (b)(16)(i), and (b)(17)(i),
                                                                                                         *      *      *       *      *
                                                      the hour (0.00 to 1.00, in equal                                                                          removing ‘‘decision on the’’ and adding
                                                                                                                                                                in its place ‘‘calculation of an’’;
                                                                                                                                                                                                               ER05JN23.003</GPH>




                                                      increments from one hundredth to one



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                                                 ■ b. In paragraph (b)(17)(viii), adding                 Program’’, removing ‘‘(b)(2)(iii) and (iv),            Subpart BBBBB—CSAPR NOX Ozone
                                                 ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;                       and’’ and adding in its place ‘‘(b)(2)(ii),            Season Group 1 Trading Program
                                                 ■ c. In paragraph (b)(17)(ix), adding ‘‘or              and’’; and
                                                 (e)’’ after ‘‘§ 97.811(d)’’;                                                                                   § 97.502   [Amended]
                                                                                                         ■ c. In the definition of ‘‘CSAPR NOX
                                                 ■ d. In paragraph (b)(18)(i), removing                                                                         ■ 40. Amend § 97.502 by:
                                                                                                         Ozone Season Group 3 Trading
                                                 ‘‘decision on the’’ and adding in its                   Program’’, removing ‘‘(b)(2)(v), and’’ and             ■ a. In the definition of ‘‘CSAPR NOX
                                                 place ‘‘calculation of an’’; and                        adding in its place ‘‘(b)(2)(iii), and’’.              Ozone Season Group 1 Trading
                                                 ■ e. Revising paragraph (b)(19).                                                                               Program’’, removing ‘‘(b)(2)(i) and (ii),
                                                    The revision reads as follows:                       § 97.411    [Amended]                                  and’’ and adding in its place ‘‘(b)(2)(i),
                                                 § 78.1   Purpose and scope.                                                                                    and’’;
                                                                                                         ■ 37. Amend § 97.411 by:
                                                                                                                                                                ■ b. In the definition of ‘‘CSAPR NOX
                                                 *       *    *     *    *                               ■ a. In paragraphs (b)(1)(i)(A) and (B),               Ozone Season Group 2 Trading
                                                    (b) * * *                                            removing ‘‘State, in accordance’’ and
                                                    (19) Under subpart GGGGG of part 97                                                                         Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                                                                         adding in its place ‘‘State and areas of               and’’ and adding in its place ‘‘(b)(2)(ii),
                                                 of this chapter:                                        Indian country within the borders of the
                                                    (i) The calculation of a dynamic                                                                            and’’;
                                                                                                         State subject to the State’s SIP authority,            ■ c. In the definition of ‘‘CSAPR NOX
                                                 trading budget under § 97.1010(a)(4) of
                                                                                                         in accordance’’; and                                   Ozone Season Group 3 allowance’’:
                                                 this chapter.
                                                                                                         ■ b. In paragraphs (b)(2)(i)(A) and (B),               ■ i. Adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;
                                                    (ii) The calculation of an allocation of
                                                 CSAPR NOX Ozone Season Group 3                          removing ‘‘Indian country within the                   and
                                                                                                         borders of a State, in accordance’’ and                ■ ii. Adding ‘‘or less’’ after ‘‘one ton’’;
                                                 allowances under § 97.1011 or § 97.1012
                                                                                                         adding in its place ‘‘areas of Indian                  ■ d. In the definition of ‘‘CSAPR NOX
                                                 of this chapter.
                                                    (iii) The decision on the transfer of                country within the borders of a State not              Ozone Season Group 3 Trading
                                                 CSAPR NOX Ozone Season Group 3                          subject to the State’s SIP authority, in               Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                 allowances under § 97.1023 of this                      accordance’’.                                          adding in its place ‘‘(b)(2)(iii), and’’; and
                                                                                                                                                                ■ e. In the definition of ‘‘State’’,
                                                 chapter.
                                                    (iv) The decision on the deduction of                § 97.412    [Amended]                                  removing ‘‘(b)(2)(i) and (ii), and’’ and
                                                 CSAPR NOX Ozone Season Group 3                                                                                 adding in its place ‘‘(b)(2)(i), and’’.
                                                                                                         ■ 38. Amend § 97.412 by:
                                                 allowances under § 97.1024, § 97.1025,                                                                         § 97.511   [Amended]
                                                                                                         ■ a. In paragraph (a) introductory text,
                                                 or § 97.1026(d) of this chapter.
                                                    (v) The correction of an error in an                 removing ‘‘State, the Administrator’’                  ■ 41. Amend § 97.511 by:
                                                 Allowance Management System account                     and adding in its place ‘‘State and areas              ■ a. In paragraphs (b)(1)(i)(A) and (B),

                                                 under § 97.1027 of this chapter.                        of Indian country within the borders of                removing ‘‘State, in accordance’’ and
                                                    (vi) The adjustment of information in                the State subject to the State’s SIP                   adding in its place ‘‘State and areas of
                                                 a submission and the decision on the                    authority, the Administrator’’;                        Indian country within the borders of the
                                                 deduction and transfer of CSAPR NOX                     ■ b. In paragraphs (a)(3)(iii) and (a)(5),             State subject to the State’s SIP authority,
                                                 Ozone Season Group 3 allowances                         adding ‘‘and areas of Indian country                   in accordance’’; and
                                                                                                         within the borders of the State subject                ■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                 based on the information as adjusted
                                                 under § 97.1028 of this chapter.                        to the State’s SIP authority’’ after ‘‘in the          removing ‘‘Indian country within the
                                                    (vii) The finalization of control period             State’’;                                               borders of a State, in accordance’’ and
                                                 emissions data, including retroactive                                                                          adding in its place ‘‘areas of Indian
                                                                                                         ■ c. In paragraph (a)(10), removing
                                                 adjustment based on audit.                                                                                     country within the borders of a State not
                                                                                                         ‘‘State, is allocated’’ and adding in its              subject to the State’s SIP authority, in
                                                    (viii) The approval or disapproval of                place ‘‘State and areas of Indian country
                                                 a petition under § 97.1035 of this                                                                             accordance’’.
                                                                                                         within the borders of the State subject
                                                 chapter.                                                to the State’s SIP authority, is                       § 97.512   [Amended]
                                                 *       *    *     *    *                               allocated’’;                                           ■ 42. Amend § 97.512 by:
                                                                                                         ■ d. In paragraph (b) introductory text,               ■ a. In paragraph (a) introductory text,
                                                 PART 97—FEDERAL NOX BUDGET
                                                 TRADING PROGRAM, CAIR NOX AND                           removing ‘‘Indian country within the                   removing ‘‘State, the Administrator’’
                                                 SO2 TRADING PROGRAMS, CSAPR                             borders of each State, the                             and adding in its place ‘‘State and areas
                                                 NOX AND SO2 TRADING PROGRAMS,                           Administrator’’ and adding in its place                of Indian country within the borders of
                                                 AND TEXAS SO2 TRADING PROGRAM                           ‘‘areas of Indian country within the                   the State subject to the State’s SIP
                                                                                                         borders of each State not subject to the               authority, the Administrator’’;
                                                 ■ 35. The authority citation for part 97                State’s SIP authority, the                             ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                 continues to read as follows:                           Administrator’’; and                                   adding ‘‘and areas of Indian country
                                                   Authority: 42 U.S.C. 7401, 7403, 7410,                ■ e. In paragraph (b)(5), removing                     within the borders of the State subject
                                                 7426, 7491, 7601, and 7651, et seq.                     ‘‘Indian country within the borders of                 to the State’s SIP authority’’ after ‘‘in the
                                                                                                         the State’’ and adding in its place ‘‘areas            State’’;
                                                 Subpart AAAAA—CSAPR NOX Annual                          of Indian country within the borders of                ■ c. In paragraph (a)(10), removing
                                                 Trading Program                                         the State not subject to the State’s SIP               ‘‘State, is allocated’’ and adding in its
                                                                                                         authority’’.                                           place ‘‘State and areas of Indian country
                                                 § 97.402   [Amended]                                                                                           within the borders of the State subject
                                                                                                         § 97.426    [Amended]
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                                                 ■ 36. Amend § 97.402 by:                                                                                       to the State’s SIP authority, is
                                                 ■ a. In the definition of ‘‘CSAPR NOX                                                                          allocated’’;
                                                                                                         ■ 39. In § 97.426, amend paragraph (c)
                                                 Ozone Season Group 1 Trading                                                                                   ■ d. In paragraph (b) introductory text,
                                                                                                         by:
                                                 Program’’, removing ‘‘(b)(2)(i) and (ii),                                                                      removing ‘‘Indian country within the
                                                 and’’ and adding in its place ‘‘(b)(2)(i),              ■ a. Removing ‘‘set forth in’’ and adding              borders of each State, the
                                                 and’’;                                                  in its place ‘‘established under’’; and                Administrator’’ and adding in its place
                                                 ■ b. In the definition of ‘‘CSAPR NOX                   ■ b. Removing ‘‘State (or Indian’’ and                 ‘‘areas of Indian country within the
                                                 Ozone Season Group 2 Trading                            adding in its place ‘‘State (and Indian’’.             borders of each State not subject to the


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                                                 State’s SIP authority, the                              2017 computed as the quotient, rounded                 Program’’, removing ‘‘(b)(2)(i) and (ii),
                                                 Administrator’’; and                                    up to the nearest allowance, of such                   and’’ and adding in its place ‘‘(b)(2)(i),
                                                 ■ e. In paragraph (b)(5), removing                      given number of CSAPR NOX Ozone                        and’’;
                                                 ‘‘Indian country within the borders of                  Season Group 1 allowances divided by                   ■ b. In the definition of ‘‘CSAPR NOX
                                                 the State’’ and adding in its place ‘‘areas             the conversion factor determined under                 Ozone Season Group 2 Trading
                                                 of Indian country within the borders of                 paragraph (d)(1)(ii) of this section.                  Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                 the State not subject to the State’s SIP                *       *    *     *     *                             and’’ and adding in its place ‘‘(b)(2)(ii),
                                                 authority’’.                                               (iii) After the Administrator has                   and’’; and
                                                 ■ 43. Amend § 97.526 by:                                carried out the procedures set forth in                ■ c. In the definition of ‘‘CSAPR NOX
                                                 ■ a. In paragraph (c):                                  paragraph (d)(1) of this section and                   Ozone Season Group 3 Trading
                                                 ■ i. Removing ‘‘set forth in’’ and adding               § 97.826(e)(1), upon any determination                 Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                 in its place ‘‘established under’’; and                 that would otherwise result in the initial             adding in its place ‘‘(b)(2)(iii), and’’.
                                                 ■ ii. Removing ‘‘State (or Indian’’ and                 recordation of a given number of CSAPR
                                                 adding in its place ‘‘State (and Indian’’;              NOX Ozone Season Group 1 allowances                    § 97.611   [Amended]
                                                 ■ b. In paragraph (d)(1) introductory                   in the compliance account for a source                 ■ 45. Amend § 97.611 by:
                                                 text, removing ‘‘§ 52.38(b)(2)(i) of this               in a State listed in § 52.38(b)(2)(iii)(B) of          ■ a. In paragraphs (b)(1)(i)(A) and (B),
                                                 chapter (or’’ and adding in its place                   this chapter (and Indian country within                removing ‘‘State, in accordance’’ and
                                                 ‘‘§ 52.38(b)(2)(i)(A) of this chapter                   the borders of such a State), the                      adding in its place ‘‘State and areas of
                                                 (and’’;                                                 Administrator will not record such                     Indian country within the borders of the
                                                 ■ c. In paragraph (d)(1)(ii), removing                  CSAPR NOX Ozone Season Group 1                         State subject to the State’s SIP authority,
                                                 ‘‘except a State listed in § 52.38(b)(2)(i)’’           allowances but instead will allocate and               in accordance’’; and
                                                 and adding in its place ‘‘listed in                     record in such account an amount of                    ■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                 § 52.38(b)(2)(ii)’’;                                    CSAPR NOX Ozone Season Group 3                         removing ‘‘Indian country within the
                                                 ■ d. In paragraph (d)(1)(iv), removing                  allowances for the control period in                   borders of a State, in accordance’’ and
                                                 ‘‘§ 52.38(b)(2)(iii) or (iv) of this chapter            2023 computed as the quotient, rounded                 adding in its place ‘‘areas of Indian
                                                 (or’’ and adding in its place                           up to the nearest allowance, of such                   country within the borders of a State not
                                                 ‘‘§ 52.38(b)(2)(ii) of this chapter (and’’;             given number of CSAPR NOX Ozone                        subject to the State’s SIP authority, in
                                                 ■ e. Revising paragraph (d)(2)(i);                      Season Group 1 allowances divided by                   accordance’’.
                                                 ■ f. In paragraph (d)(2)(ii), removing                  the conversion factor determined under
                                                 ‘‘§ 52.38(b)(2)(v) of this chapter (or’’ and            paragraph (d)(1)(ii) of this section and               § 97.612   [Amended]
                                                 adding in its place ‘‘§ 52.38(b)(2)(iii)(A)             further divided by the conversion factor               ■ 46. Amend § 97.612 by:
                                                 of this chapter (and’’;                                 determined under § 97.826(e)(1)(ii).                   ■ a. In paragraph (a) introductory text,
                                                 ■ g. Adding paragraph (d)(2)(iii);                         (e) * * *                                           removing ‘‘State, the Administrator’’
                                                 ■ h. In paragraph (e)(1), removing                         (3) After the Administrator has carried
                                                                                                                                                                and adding in its place ‘‘State and areas
                                                 ‘‘§ 52.38(b)(2)(ii) of this chapter (or                 out the procedures set forth in
                                                                                                                                                                of Indian country within the borders of
                                                 Indian’’ and adding in its place                        paragraph (d)(1) of this section and
                                                                                                                                                                the State subject to the State’s SIP
                                                 ‘‘§ 52.38(b)(2)(i)(B) of this chapter (and              § 97.826(e)(1), the owner or operator of
                                                                                                                                                                authority, the Administrator’’;
                                                 Indian’’;                                               a CSAPR NOX Ozone Season Group 1
                                                                                                                                                                ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                 ■ i. In paragraph (e)(2), removing                      source in a State listed in
                                                 ‘‘§ 52.38(b)(2)(iv) of this chapter (or’’                                                                      adding ‘‘and areas of Indian country
                                                                                                         § 52.38(b)(2)(ii)(C) of this chapter (and
                                                 and adding in its place                                                                                        within the borders of the State subject
                                                                                                         Indian country within the borders of
                                                 ‘‘§ 52.38(b)(2)(ii)(B) of this chapter                                                                         to the State’s SIP authority’’ after ‘‘in the
                                                                                                         such a State) may satisfy a requirement
                                                 (and’’; and                                                                                                    State’’;
                                                                                                         to hold a given number of CSAPR NOX
                                                                                                                                                                ■ c. In paragraph (a)(10), removing
                                                 ■ j. Adding paragraph (e)(3).                           Ozone Season Group 1 allowances for
                                                    The revisions and additions read as                  the control period in 2015 or 2016 by                  ‘‘State, is allocated’’ and adding in its
                                                 follows:                                                holding instead, in a general account                  place ‘‘State and areas of Indian country
                                                                                                         established for this sole purpose, an                  within the borders of the State subject
                                                 § 97.526   Banking and conversion.
                                                                                                         amount of CSAPR NOX Ozone Season                       to the State’s SIP authority, is
                                                 *      *     *     *     *                              Group 3 allowances for the control                     allocated’’;
                                                    (d) * * *                                                                                                   ■ d. In paragraph (b) introductory text,
                                                                                                         period in 2023 (or any later control
                                                    (2)(i) Except as provided in                         period for which the allowance transfer                removing ‘‘Indian country within the
                                                 paragraphs (d)(2)(ii) and (iii) of this                 deadline defined in § 97.1002 has                      borders of each State, the
                                                 section, after the Administrator has                    passed) computed as the quotient,                      Administrator’’ and adding in its place
                                                 carried out the procedures set forth in                 rounded up to the nearest allowance, of                ‘‘areas of Indian country within the
                                                 paragraph (d)(1) of this section, upon                  such given number of CSAPR NOX                         borders of each State not subject to the
                                                 any determination that would otherwise                  Ozone Season Group 1 allowances                        State’s SIP authority, the
                                                 result in the initial recordation of a                  divided by the conversion factor                       Administrator’’; and
                                                 given number of CSAPR NOX Ozone                                                                                ■ e. In paragraph (b)(5), removing
                                                                                                         determined under paragraph (d)(1)(ii) of
                                                 Season Group 1 allowances in the                        this section and further divided by the                ‘‘Indian country within the borders of
                                                 compliance account for a source in a                    conversion factor determined under                     the State’’ and adding in its place ‘‘areas
                                                 State listed in § 52.38(b)(2)(ii) of this               § 97.826(e)(1)(ii).                                    of Indian country within the borders of
                                                                                                                                                                the State not subject to the State’s SIP
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                                                 chapter (and Indian country within the
                                                 borders of such a State), the                           Subpart CCCCC—CSAPR SO2 Group 1                        authority’’.
                                                 Administrator will not record such                      Trading Program                                        § 97.626   [Amended]
                                                 CSAPR NOX Ozone Season Group 1
                                                 allowances but instead will allocate and                § 97.602    [Amended]                                  ■ 47. In § 97.626, amend paragraph (c)
                                                 record in such account an amount of                     ■ 44. Amend § 97.602 by:                               by:
                                                 CSAPR NOX Ozone Season Group 2                          ■ a. In the definition of ‘‘CSAPR NOX                  ■ a. Removing ‘‘set forth in’’ and adding
                                                 allowances for the control period in                    Ozone Season Group 1 Trading                           in its place ‘‘established under’’; and


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                                                 ■ b. Removing ‘‘State (or Indian’’ and                  country within the borders of a State not              ‘‘base CSAPR’’ and adding in its place
                                                 adding in its place ‘‘State (and Indian’’.              subject to the State’s SIP authority, in               ‘‘CSAPR’’;
                                                                                                         accordance’’.                                          ■ d. In the definition of ‘‘Common
                                                 Subpart DDDDD—CSAPR SO2 Group 2                                                                                designated representative’s assurance
                                                 Trading Program                                         § 97.712    [Amended]
                                                                                                                                                                level’’, revising paragraph (1);
                                                                                                         ■ 50. Amend § 97.712 by:                               ■ e. In the definition of ‘‘Common
                                                 ■ 48. Amend § 97.702 by:
                                                                                                         ■ a. In paragraph (a) introductory text,               designated representative’s share’’,
                                                 ■ a. In the definition of ‘‘Alternate
                                                                                                         removing ‘‘State, the Administrator’’                  removing ‘‘base CSAPR’’ and adding in
                                                 designated representative’’, removing                   and adding in its place ‘‘State and areas              its place ‘‘CSAPR’’ each time it appears;
                                                 ‘‘or CSAPR NOX Ozone Season Group 2                     of Indian country within the borders of                ■ f. In the definition of ‘‘CSAPR NOX
                                                 Trading Program, then’’ and adding in                   the State subject to the State’s SIP                   Ozone Season Group 2 Trading
                                                 its place ‘‘CSAPR NOX Ozone Season                      authority, the Administrator’’;                        Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                 Group 2 Trading Program, or CSAPR                       ■ b. In paragraphs (a)(3)(iii) and (a)(5),             and’’ and adding in its place ‘‘(b)(2)(ii),
                                                 NOX Ozone Season Group 3 Trading                        adding ‘‘and areas of Indian country                   and’’;
                                                 Program, then’’;                                        within the borders of the State subject                ■ g. In the definition of ‘‘CSAPR NOX
                                                 ■ b. In the definition of ‘‘CSAPR NOX
                                                                                                         to the State’s SIP authority’’ after ‘‘in the          Ozone Season Group 3 allowance’’:
                                                 Ozone Season Group 1 Trading                            State’’;                                               ■ i. Adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;
                                                 Program’’, removing ‘‘(b)(2)(i) and (ii),               ■ c. In paragraph (a)(10), removing
                                                 and’’ and adding in its place ‘‘(b)(2)(i),                                                                     and
                                                                                                         ‘‘State, is allocated’’ and adding in its              ■ ii. Adding ‘‘or less’’ after ‘‘one ton’’;
                                                 and’’;                                                  place ‘‘State and areas of Indian country
                                                 ■ c. In the definition of ‘‘CSAPR NOX                                                                          ■ h. In the definition of ‘‘CSAPR NOX
                                                                                                         within the borders of the State subject                Ozone Season Group 3 Trading
                                                 Ozone Season Group 2 Trading                            to the State’s SIP authority, is
                                                 Program’’, removing ‘‘(b)(2)(iii) and (iv),                                                                    Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                                                                         allocated’’;                                           adding in its place ‘‘(b)(2)(iii), and’’; and
                                                 and’’ and adding in its place ‘‘(b)(2)(ii),             ■ d. In paragraph (b) introductory text,
                                                 and’’;                                                                                                         ■ i. In the definition of ‘‘State’’,
                                                                                                         removing ‘‘Indian country within the                   removing ‘‘(b)(2)(iii) and (iv), and’’ and
                                                 ■ d. Adding in alphabetical order a
                                                                                                         borders of each State, the                             adding in its place ‘‘(b)(2)(ii), and’’.
                                                 definition for ‘‘CSAPR NOX Ozone                        Administrator’’ and adding in its place
                                                 Season Group 3 Trading Program’’; and                                                                             The revision reads as follows:
                                                                                                         ‘‘areas of Indian country within the
                                                 ■ e. In the definition of ‘‘Designated
                                                                                                         borders of each State not subject to the               § 97.802   Definitions.
                                                 representative’’, removing ‘‘or CSAPR
                                                                                                         State’s SIP authority, the                             *      *     *    *    *
                                                 NOX Ozone Season Group 2 Trading
                                                                                                         Administrator’’; and                                      Common designated representative’s
                                                 Program, then’’ and adding in its place
                                                                                                         ■ e. In paragraph (b)(5), removing                     assurance level * * *
                                                 ‘‘CSAPR NOX Ozone Season Group 2
                                                                                                         ‘‘Indian country within the borders of                    (1) The amount (rounded to the
                                                 Trading Program, or CSAPR NOX Ozone
                                                                                                         the State’’ and adding in its place ‘‘areas            nearest allowance) equal to the sum of
                                                 Season Group 3 Trading Program, then’’.
                                                                                                         of Indian country within the borders of                the total amount of CSAPR NOX Ozone
                                                    The addition reads as follows:
                                                                                                         the State not subject to the State’s SIP               Season Group 2 allowances allocated for
                                                 § 97.702   Definitions.                                 authority’’.                                           such control period to the group of one
                                                 *     *      *    *     *                               § 97.726    [Amended]
                                                                                                                                                                or more CSAPR NOX Ozone Season
                                                    CSAPR NOX Ozone Season Group 3                                                                              Group 2 units in such State (and such
                                                 Trading Program means a multi-state                     ■ 51. In § 97.726, amend paragraph (c)                 Indian country) having the common
                                                 NOX air pollution control and emission                  by:                                                    designated representative for such
                                                 reduction program established in                        ■ a. Removing ‘‘set forth in’’ and adding              control period and the total amount of
                                                 accordance with subpart GGGGG of this                   in its place ‘‘established under’’; and                CSAPR NOX Ozone Season Group 2
                                                                                                         ■ b. Removing ‘‘State (or Indian’’ and                 allowances purchased by an owner or
                                                 part and § 52.38(b)(1), (b)(2)(iii), and
                                                 (b)(10) through (14) and (17) of this                   adding in its place ‘‘State (and Indian’’.             operator of such CSAPR NOX Ozone
                                                 chapter (including such a program that                  § 97.734    [Amended]                                  Season Group 2 units in an auction for
                                                 is revised in a SIP revision approved by                                                                       such control period and submitted by
                                                                                                         ■ 52. In § 97.734, amend paragraph                     the State or the permitting authority to
                                                 the Administrator under § 52.38(b)(10)
                                                 or (11) of this chapter or that is                      (d)(3) by removing ‘‘or CSAPR NOX                      the Administrator for recordation in the
                                                 established in a SIP revision approved                  Ozone Season Group 2 Trading                           compliance accounts for such CSAPR
                                                 by the Administrator under                              Program, quarterly’’ and adding in its                 NOX Ozone Season Group 2 units in
                                                 § 52.38(b)(12) of this chapter), as a                   place ‘‘CSAPR NOX Ozone Season                         accordance with the CSAPR NOX Ozone
                                                 means of mitigating interstate transport                Group 2 Trading Program, or CSAPR                      Season Group 2 allowance auction
                                                 of ozone and NOX.                                       NOX Ozone Season Group 3 Trading                       provisions in a SIP revision approved by
                                                                                                         Program, quarterly’’.                                  the Administrator under § 52.38(b)(8) or
                                                 *     *      *    *     *
                                                                                                                                                                (9) of this chapter, multiplied by the
                                                                                                         Subpart EEEEE—CSAPR NOX Ozone
                                                 § 97.711   [Amended]                                                                                           sum of the State NOX Ozone Season
                                                                                                         Season Group 2 Trading Program
                                                 ■ 49. Amend § 97.711 by:                                                                                       Group 2 trading budget under
                                                 ■ a. In paragraphs (b)(1)(i)(A) and (B),                ■ 53. Amend § 97.802 by:                               § 97.810(a) and the State’s variability
                                                 removing ‘‘State, in accordance’’ and                   ■ a. In the definition of ‘‘Assurance                  limit under § 97.810(b) for such control
                                                                                                                                                                period, and divided by such State NOX
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                                                 adding in its place ‘‘State and areas of                account’’, removing ‘‘base CSAPR’’ and
                                                 Indian country within the borders of the                adding in its place ‘‘CSAPR’’;                         Ozone Season Group 2 trading budget;
                                                 State subject to the State’s SIP authority,             ■ b. Removing the definitions for ‘‘Base               *      *     *    *    *
                                                 in accordance’’; and                                    CSAPR NOX Ozone Season Group 2
                                                                                                                                                                § 97.806   [Amended]
                                                 ■ b. In paragraphs (b)(2)(i)(A) and (B),                source’’ and ‘‘Base CSAPR NOX Ozone
                                                 removing ‘‘Indian country within the                    Season Group 2 unit’’;                                 ■ 54. Amend § 97.806 by:
                                                 borders of a State, in accordance’’ and                 ■ c. In the definition of ‘‘Common                     ■ a. In paragraphs (c)(2)(i) introductory
                                                 adding in its place ‘‘areas of Indian                   designated representative’’, removing                  text, (c)(2)(i)(B), and (c)(2)(iii) and (iv),


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                                                 removing ‘‘base CSAPR’’ and adding in                   allowance remains in such compliance                   corresponding surrender requirements
                                                 its place ‘‘CSAPR’’ each time it appears;               account or has been transferred to                     for the source under paragraph (e)(2)(i)
                                                 ■ b. In paragraph (c)(3)(i), removing                   another Allowance Management System                    of this section.
                                                 ‘‘paragraph (c)(1)’’ and adding in its                  account.                                                  (ii) As soon as practicable on or after
                                                 place ‘‘paragraphs (c)(1) and (2)’’; and                   (2)(i) For each CSAPR NOX Ozone                     August 21, 2023, the Administrator will
                                                 ■ c. Removing and reserving paragraph                   Season Group 2 allowance described in                  deduct from the compliance account for
                                                 (c)(3)(ii).                                             paragraph (e)(1) of this section that was              each source described in paragraph
                                                                                                         allocated for a given control period and               (e)(1) of this section CSAPR NOX Ozone
                                                 § 97.810   [Amended]                                    initially recorded in a given source’s                 Season Group 2 allowances eligible to
                                                 ■ 55. In § 97.810, amend paragraphs                     compliance account, one CSAPR NOX                      satisfy the surrender requirements for
                                                 (a)(1)(i) through (iii), (a)(2)(i) and (ii),            Ozone Season Group 2 allowance that                    the source under paragraph (e)(2)(i) of
                                                 (a)(12)(i) through (iii), (a)(13)(i) and (ii),          was allocated for the same or an earlier               this section until all such surrender
                                                 (a)(17)(i) through (iii), (a)(20)(i) through            control period and initially recorded in               requirements for the source are satisfied
                                                 (iii), (a)(23)(i) through (iii), and (b)(1),            the same or any other Allowance                        or until no more CSAPR NOX Ozone
                                                 (2), (12), (13), (17), (20), and (23) by                Management System account must be                      Season Group 2 allowances eligible to
                                                 removing ‘‘and thereafter’’ and adding                  surrendered in accordance with the                     satisfy such surrender requirements
                                                 in its place ‘‘through 2022’’.                          procedures in paragraphs (e)(3) and (4)                remain in such compliance account.
                                                 ■ 56. Amend § 97.811 by:                                of this section.                                          (iii) As soon as practicable after
                                                 ■ a. In paragraphs (b)(1)(i)(A) and (B),                   (ii)(A) The surrender requirement                   completion of the deductions under
                                                 removing ‘‘State, in accordance’’ and                   under paragraph (e)(2)(i) of this section              paragraph (e)(3)(ii) of this section, the
                                                 adding in its place ‘‘State and areas of                corresponding to each CSAPR NOX                        Administrator will identify for each
                                                 Indian country within the borders of the                Ozone Season Group 2 allowance                         source described in paragraph (e)(1) of
                                                 State subject to the State’s SIP authority,             described in paragraph (e)(1) of this                  this section the amounts, if any, of
                                                 in accordance’’;                                        section initially recorded in a given                  CSAPR NOX Ozone Season Group 2
                                                 ■ b. In paragraphs (b)(2)(i)(A) and (B),                source’s compliance account shall apply                allowances allocated for each control
                                                 removing ‘‘Indian country within the                    to such source’s current owners and                    period after 2022 and recorded in the
                                                 borders of a State, in accordance’’ and                 operators, except as provided in                       source’s compliance account for which
                                                 adding in its place ‘‘areas of Indian                   paragraph (e)(2)(ii)(B) of this section.               the corresponding surrender
                                                 country within the borders of a State not                  (B) If the owners and operators of a                requirements under paragraph (e)(2)(i)
                                                 subject to the State’s SIP authority, in                given source as of a given date assumed                of this section have not been satisfied
                                                 accordance’’;                                           ownership and operational control of                   and will send a notification concerning
                                                 ■ c. In paragraph (d)(1), removing                      the source through a transaction that did              such identified amounts to the
                                                 ‘‘§ 52.38(b)(2)(iv) of this chapter (or’’               not also provide rights to direct the use              designated representative for the source.
                                                 and adding in its place                                 or transfer of a given CSAPR NOX Ozone                    (iv) With regard to each source for
                                                 ‘‘§ 52.38(b)(2)(ii)(B) of this chapter                  Season Group 2 allowance described in                  which unsatisfied surrender
                                                 (and’’; and                                             paragraph (e)(1) of this section with                  requirements under paragraph (e)(2)(i)
                                                 ■ d. Adding paragraph (e).                              regard to such source (whether                         of this section remain after the
                                                    The addition reads as follows:                       recordation of such CSAPR NOX Ozone                    deductions under paragraph (e)(3)(ii) of
                                                                                                         Season Group 2 allowance in the                        this section:
                                                 § 97.811 Timing requirements for CSAPR                  source’s compliance account occurred                      (A) Except as provided in paragraph
                                                 NOX Ozone Season Group 2 allowance                      before such transaction or was                         (e)(3)(iv)(B) of this section, not later
                                                 allocations.                                            anticipated to occur after such                        than September 15, 2023, the owners
                                                 *      *     *    *     *                               transaction), then the surrender                       and operators of the source shall hold
                                                    (e) Recall of CSAPR NOX Ozone                        requirement under paragraph (e)(2)(i) of               sufficient CSAPR NOX Ozone Season
                                                 Season Group 2 allowances allocated                     this section corresponding to such                     Group 2 allowances eligible to satisfy
                                                 for control periods after 2022. (1)                     CSAPR NOX Ozone Season Group 2                         such unsatisfied surrender requirements
                                                 Notwithstanding any other provision of                  allowance shall apply to the most recent               under paragraph (e)(2)(i) of this section
                                                 this subpart, part 52 of this chapter, or               former owners and operators of the                     in the source’s compliance account.
                                                 any SIP revision approved under                         source before the occurrence of such a                    (B) With regard to any portion of such
                                                 § 52.38(b) of this chapter, the provisions              transaction.                                           unsatisfied surrender requirements that
                                                 of this paragraph (e)(1) and paragraphs                    (C) The Administrator will not                      apply to former owners and operators of
                                                 (e)(2) through (7) of this section shall                adjudicate any private legal dispute                   the source pursuant to paragraph
                                                 apply with regard to each CSAPR NOX                     among the owners and operators of a                    (e)(2)(ii)(B) of this section, not later than
                                                 Ozone Season Group 2 allowance that                     source or among the former owners and                  September 15, 2023, such former
                                                 was allocated for a control period after                operators of a source, including any                   owners and operators shall hold
                                                 2022 to any unit (including a                           disputes relating to the requirements to               sufficient CSAPR NOX Ozone Season
                                                 permanently retired unit qualifying for                 surrender CSAPR NOX Ozone Season                       Group 2 allowances eligible to satisfy
                                                 an exemption under § 97.805) in a State                 Group 2 allowances for the source under                such portion of the unsatisfied
                                                 listed in § 52.38(b)(2)(ii)(C) of this                  paragraph (e)(2)(i) of this section.                   surrender requirements under paragraph
                                                 chapter (and Indian country within the                     (3)(i) As soon as practicable on or                 (e)(2)(i) of this section either in the
                                                 borders of such a State) and that was                   after August 4, 2023, the Administrator                source’s compliance account or in
                                                 initially recorded in the compliance                    will send a notification to the
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                                                                                                                                                                another Allowance Management System
                                                 account for the source that includes the                designated representative for each                     account identified to the Administrator
                                                 unit, whether such CSAPR NOX Ozone                      source described in paragraph (e)(1) of                on or before such date in a submission
                                                 Season Group 2 allowance was allocated                  this section identifying the amounts of                by the authorized account
                                                 pursuant to this subpart or pursuant to                 CSAPR NOX Ozone Season Group 2                         representative for such account.
                                                 a SIP revision approved under § 52.38(b)                allowances allocated for each control                     (C) As soon as practicable on or after
                                                 of this chapter and whether such                        period after 2022 and recorded in the                  September 15, 2023, the Administrator
                                                 CSAPR NOX Ozone Season Group 2                          source’s compliance account and the                    will deduct from the Allowance


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                                                 Management System account identified                    Season Group 2 allowances have been                    with any other remedy imposed under
                                                 in accordance with paragraph                            deducted, except as provided in                        the Clean Air Act; and
                                                 (e)(3)(iv)(A) or (B) of this section CSAPR              paragraph (e)(4)(ii) of this section.                     (ii) Each such CSAPR NOX Ozone
                                                 NOX Ozone Season Group 2 allowances                        (ii) If no person with an ownership                 Season Group 2 allowance, and each
                                                 eligible to satisfy the surrender                       interest in a given CSAPR NOX Ozone                    day in such control period, shall
                                                 requirements for the source under                       Season Group 2 allowance as of April                   constitute a separate violation of this
                                                 paragraph (e)(2)(i) of this section until               30, 2022, was an owner or operator of                  subpart and the Clean Air Act.
                                                 all such surrender requirements for the                 the source in whose compliance account                    (6) The Administrator will record in
                                                 source are satisfied or until no more                   such CSAPR NOX Ozone Season Group                      the appropriate Allowance Management
                                                 CSAPR NOX Ozone Season Group 2                          2 allowance was initially recorded, was                System accounts all deductions of
                                                 allowances eligible to satisfy such                     a direct or indirect parent or subsidiary              CSAPR NOX Ozone Season Group 2
                                                 surrender requirements remain in such                   of an owner or operator of such source,                allowances under paragraphs (e)(3) and
                                                 account.                                                or was directly or indirectly under                    (4) of this section.
                                                    (v) When making deductions under                     common ownership with an owner or                         (7)(i) Each submission, objection, or
                                                 paragraph (e)(3)(ii) or (iv) of this section            operator of such source, the                           other written communication from a
                                                 to address the surrender requirements                   Administrator will not deduct such                     designated representative, authorized
                                                 under paragraph (e)(2)(i) of this section               CSAPR NOX Ozone Season Group 2                         account representative, or other person
                                                 for a given source:                                     allowance under paragraph (e)(4)(i) of                 to the Administrator under paragraph
                                                    (A) The Administrator will make                      this section. For purposes of this                     (e)(2), (3), or (4) of this section shall be
                                                 deductions to address any surrender                     paragraph (e)(4)(ii), each owner or                    sent electronically to the email address
                                                 requirements with regard to first the                   operator of a source shall be deemed to                CSAPR@epa.gov. Each such
                                                 2023 control period and then the 2024                   be a person with an ownership interest                 communication from a designated
                                                 control period.                                         in any CSAPR NOX Ozone Season                          representative must contain the
                                                    (B) When making deductions to
                                                                                                         Group 2 allowance held in that source’s                certification statement set forth in
                                                 address the surrender requirements with
                                                                                                         compliance account. The limitation                     § 97.814(a), and each such
                                                 regard to a given control period, the
                                                                                                         established by this paragraph (e)(4)(ii)               communication from the authorized
                                                 Administrator will first deduct CSAPR
                                                                                                         on the deductibility of certain CSAPR                  account representative for a general
                                                 NOX Ozone Season Group 2 allowances
                                                                                                         NOX Ozone Season Group 2 allowances                    account must contain the certification
                                                 allocated for such given control period
                                                                                                         under paragraph (e)(4)(i) of this section              statement set forth in § 97.820(c)(2)(ii).
                                                 and will then deduct CSAPR NOX
                                                 Ozone Season Group 2 allowances                         shall not be construed as a waiver of the                 (ii) Each notification from the
                                                 allocated for each successively earlier                 surrender requirements under paragraph                 Administrator to a designated
                                                 control period in sequence.                             (e)(2)(i) of this section corresponding to             representative or authorized account
                                                    (C) When deducting CSAPR NOX                         such CSAPR NOX Ozone Season Group                      representative under paragraph (e)(3) or
                                                 Ozone Season Group 2 allowances                         2 allowances.                                          (4) of this section will be sent
                                                 allocated for a given control period from                  (iii) Not less than 45 days before the              electronically to the email address most
                                                 a given Allowance Management System                     planned date for any deductions under                  recently received by the Administrator
                                                 account, the Administrator will first                   paragraph (e)(4)(i) of this section, the               for such representative. In any such
                                                 deduct CSAPR NOX Ozone Season                           Administrator will send a notification to              notification, the Administrator may
                                                 Group 2 allowances initially recorded in                the authorized account representative                  provide information by means of a
                                                 the account under § 97.821 (if the                      for the Allowance Management System                    reference to a publicly accessible
                                                 account is a compliance account) in the                 account from which such deductions                     website where the information is
                                                 order of recordation and will then                      will be made identifying the CSAPR                     available.
                                                 deduct CSAPR NOX Ozone Season                           NOX Ozone Season Group 2 allowances
                                                                                                         to be deducted and the data upon which                 § 97.812   [Amended]
                                                 Group 2 allowances recorded in the
                                                 account under § 97.526(d) or § 97.823 in                the Administrator has relied and                       ■ 57. Amend § 97.812 by:
                                                 the order of recordation.                               specifying a process for submission of                 ■ a. In paragraph (a) introductory text,
                                                    (4)(i) To the extent the surrender                   any objections to such data. Any                       removing ‘‘State, the Administrator’’
                                                 requirements under paragraph (e)(2)(i)                  objections must be submitted to the                    and adding in its place ‘‘State and areas
                                                 of this section corresponding to any                    Administrator not later than 15 days                   of Indian country within the borders of
                                                 CSAPR NOX Ozone Season Group 2                          before the planned date for such                       the State subject to the State’s SIP
                                                 allowances allocated for a control                      deductions as indicated in such                        authority, the Administrator’’;
                                                 period after 2022 and initially recorded                notification.                                          ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                 in a given source’s compliance account                     (5) To the extent the surrender                     adding ‘‘and areas of Indian country
                                                 have not been fully satisfied through the               requirements under paragraph (e)(2)(i)                 within the borders of the State subject
                                                 deductions under paragraph (e)(3) of                    of this section corresponding to any                   to the State’s SIP authority’’ after ‘‘in the
                                                 this section, as soon as practicable on or              CSAPR NOX Ozone Season Group 2                         State’’;
                                                 after November 15, 2023, the                            allowances allocated for a control                     ■ c. In paragraph (a)(10), removing
                                                 Administrator will deduct such initially                period after 2022 and initially recorded               ‘‘State, is allocated’’ and adding in its
                                                 recorded CSAPR NOX Ozone Season                         in a given source’s compliance account                 place ‘‘State and areas of Indian country
                                                 Group 2 allowances from any                             have not been fully satisfied through the              within the borders of the State subject
                                                                                                         deductions under paragraphs (e)(3) and                 to the State’s SIP authority, is
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                                                 Allowance Management System
                                                 accounts in which such CSAPR NOX                        (4) of this section:                                   allocated’’;
                                                 Ozone Season Group 2 allowances are                        (i) The persons identified in                       ■ d. In paragraph (b) introductory text,
                                                 held, making such deductions in any                     accordance with paragraph (e)(2)(ii) of                removing ‘‘Indian country within the
                                                 order determined by the Administrator,                  this section with regard to such source                borders of each State, the
                                                 until all such surrender requirements                   and each such CSAPR NOX Ozone                          Administrator’’ and adding in its place
                                                 for such source have been satisfied or                  Season Group 2 allowance shall pay any                 ‘‘areas of Indian country within the
                                                 until all such CSAPR NOX Ozone                          fine, penalty, or assessment or comply                 borders of each State not subject to the


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                                                 State’s SIP authority, the                              submitted under § 97.822 and, before                   may record such CSAPR NOX Ozone
                                                 Administrator’’; and                                    resuming acceptance of such transfers,                 Season Group 3 allowances in a general
                                                 ■ e. In paragraph (b)(5), removing                      will take the following actions with                   account identified or established by the
                                                 ‘‘Indian country within the borders of                  regard to every general account and                    Administrator with the designated
                                                 the State’’ and adding in its place ‘‘areas             every compliance account except a                      representative as the authorized account
                                                 of Indian country within the borders of                 compliance account for a CSAPR NOX                     representative and with the owners and
                                                 the State not subject to the State’s SIP                Ozone Season Group 2 source in a State                 operators of such source (as indicated
                                                 authority’’.                                            listed in § 52.38(b)(2)(ii)(A) of this                 on the certificate of representation for
                                                                                                         chapter (and Indian country within the                 the source) as the persons represented
                                                 § 97.825   [Amended]                                    borders of such a State):                              by the authorized account
                                                 ■ 58. In § 97.825, amend paragraphs (a)                    (i) The Administrator will deduct all               representative.
                                                 introductory text, (a)(2), (b)(1)(i),                   CSAPR NOX Ozone Season Group 2                            (v)(A) In computing any amounts of
                                                 (b)(1)(ii)(A) and (B), (b)(3), (b)(4)(i),               allowances allocated for the control                   CSAPR NOX Ozone Season Group 3
                                                 (b)(5), (b)(6)(i), (b)(6)(iii) introductory             periods in 2017 through 2022 from each                 allowances to be allocated to and
                                                 text, and (b)(6)(iii)(A) and (B) by                     such account.                                          recorded in general accounts under
                                                 removing ‘‘base CSAPR’’ and adding in                      (ii) The Administrator will determine               paragraph (e)(1)(iii) of this section, the
                                                 its place ‘‘CSAPR’’ each time it appears.               a conversion factor equal to the greater               Administrator may group multiple
                                                                                                         of 1.0000 or the quotient, expressed to                general accounts whose ownership
                                                 ■ 59. Amend § 97.826 by:
                                                                                                         four decimal places, of—                               interests are held by the same or related
                                                 ■ a. In paragraph (b), removing ‘‘(c) or
                                                                                                            (A) The sum of all CSAPR NOX Ozone                  persons or entities and treat the group
                                                 (d)’’ and adding in its place ‘‘(c), (d), or            Season Group 2 allowances deducted                     of accounts as a single account for
                                                 (e)’’;                                                  from all such accounts under paragraph                 purposes of such computation.
                                                 ■ b. In paragraph (c):
                                                                                                         (e)(1)(i) of this section; divided by                     (B) Following a computation for a
                                                 ■ i. Removing ‘‘set forth in’’ and adding                  (B) The product of the sum of the                   group of general accounts in accordance
                                                 in its place ‘‘established under’’; and                 variability limits for the control period              with paragraph (e)(1)(v)(A) of this
                                                 ■ ii. Removing ‘‘State (or Indian’’ and                 in 2024 under § 97.1010(e) for all States              section, the Administrator will allocate
                                                 adding in its place ‘‘State (and Indian’’;              listed in § 52.38(b)(2)(iii)(B) and (C) of             to and record in each individual
                                                 ■ c. In paragraphs (d)(1)(i)(A) and (B),                this chapter multiplied by a fraction                  account in such group a proportional
                                                 removing ‘‘§ 52.38(b)(2)(iv)’’ and adding               whose numerator is the number of days                  share of the quantity of CSAPR NOX
                                                 in its place ‘‘§ 52.38(b)(2)(ii)(B)’’;                  from August 4, 2023 through September                  Ozone Season Group 3 allowances
                                                 ■ d. Revising paragraph (d)(1)(i)(C);                   30, 2023, inclusive, and whose                         computed for such group, basing such
                                                 ■ e. In paragraph (d)(1)(ii) introductory               denominator is 153.                                    shares on the respective quantities of
                                                 text, removing ‘‘§ 52.38(b)(2)(v)’’ and                    (iii) The Administrator will allocate               CSAPR NOX Ozone Season Group 2
                                                 adding in its place                                     and record in each such account an                     allowances removed from such
                                                 ‘‘§ 52.38(b)(2)(iii)(A)’’;                              amount of CSAPR NOX Ozone Season                       individual accounts under paragraph
                                                 ■ f. In paragraphs (d)(2)(i) and (d)(3),                Group 3 allowances for the control                     (e)(1)(i) of this section.
                                                 removing ‘‘§ 52.38(b)(2)(v) of this                     period in 2023 computed as the                            (C) In determining the proportional
                                                 chapter (or’’ and adding in its place                   quotient, rounded up to the nearest                    shares under paragraph (e)(1)(v)(B) of
                                                 ‘‘§ 52.38(b)(2)(iii)(A) of this chapter                 allowance, of the number of CSAPR                      this section, the Administrator may
                                                 (and’’;                                                 NOX Ozone Season Group 2 allowances                    employ any reasonable adjustment
                                                 ■ g. Redesignating paragraph (e) as                     deducted from such account under                       methodology to truncate or round each
                                                 paragraph (f) and adding a new                          paragraph (e)(1)(i) of this section                    such share up or down to a whole
                                                 paragraph (e); and                                      divided by the conversion factor                       number and to cause the total of such
                                                 ■ h. Revising newly redesignated                        determined under paragraph (e)(1)(ii) of               whole numbers to equal the amount of
                                                 paragraphs (f)(1) and (2).                              this section, except as provided in                    CSAPR NOX Ozone Season Group 3
                                                    The revisions and additions read as                  paragraph (e)(1)(iv) or (v) of this section.           allowances computed for such group of
                                                 follows:                                                   (iv) Where, pursuant to paragraph                   accounts in accordance with paragraph
                                                                                                         (e)(1)(i) of this section, the                         (e)(1)(v)(A) of this section, even where
                                                 § 97.826   Banking and conversion.                      Administrator deducts CSAPR NOX                        such adjustments cause the numbers of
                                                 *     *     *     *     *                               Ozone Season Group 2 allowances from                   CSAPR NOX Ozone Season Group 3
                                                   (d) * * *                                             the compliance account for a source in                 allowances allocated to some individual
                                                   (1) * * *                                             a State not listed in § 52.38(b)(2)(iii) of            accounts to equal zero.
                                                   (i) * * *                                             this chapter (and Indian country within                   (2) After the Administrator has carried
                                                   (C) The full-season CSAPR NOX                         the borders of such a State), the                      out the procedures set forth in
                                                 Ozone Season Group 3 allowance bank                     Administrator will not record CSAPR                    paragraph (e)(1) of this section, upon
                                                 target, computed as the sum for all                     NOX Ozone Season Group 3 allowances                    any determination that would otherwise
                                                 States listed in § 52.38(b)(2)(iii)(A) of               in that compliance account but instead                 result in the initial recordation of a
                                                 this chapter of the variability limits                  will allocate and record the amount of                 given number of CSAPR NOX Ozone
                                                 under § 97.1010(e) for such States for                  CSAPR NOX Ozone Season Group 3                         Season Group 2 allowances in the
                                                 the control period in 2022.                             allowances for the control period in                   compliance account for a source in a
                                                 *     *     *     *     *                               2023 computed for such source in                       State listed in § 52.38(b)(2)(iii)(B) of this
                                                   (e) Notwithstanding any other
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                                                                                                         accordance with paragraph (e)(1)(iii) of               chapter (and Indian country within the
                                                 provision of this subpart, part 52 of this              this section in a general account                      borders of such a State), the
                                                 chapter, or any SIP revision approved                   identified by the designated                           Administrator will not record such
                                                 under § 52.38(b)(8) or (9) of this chapter:             representative for such source, provided               CSAPR NOX Ozone Season Group 2
                                                   (1) By September 18, 2023, the                        that if the designated representative fails            allowances but instead will allocate and
                                                 Administrator will temporarily suspend                  to identify such a general account in a                record in such account an amount of
                                                 acceptance of CSAPR NOX Ozone                           submission to the Administrator by                     CSAPR NOX Ozone Season Group 3
                                                 Season Group 2 allowance transfers                      September 18, 2023, the Administrator                  allowances for the control period in


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                                                 2023 computed as the quotient, rounded                  Program, or CSAPR NOX Ozone Season                     ■ e. Adding in alphabetical order a
                                                 up to the nearest allowance, of such                    Group 3 Trading Program, then’’;                       definition for ‘‘Backstop daily NOX
                                                 given number of CSAPR NOX Ozone                         ■ b. In the definition of ‘‘CSAPR NOX                  emissions rate’’;
                                                 Season Group 2 allowances divided by                    Ozone Season Group 2 Trading                           ■ f. Removing the definitions for ‘‘Base
                                                 the conversion factor determined under                  Program’’, removing ‘‘(b)(2)(iii) and (iv),            CSAPR NOX Ozone Season Group 3
                                                 paragraph (e)(1)(ii) of this section.                   and’’ and adding in its place ‘‘(b)(2)(ii),            source’’ and ‘‘Base CSAPR NOX Ozone
                                                    (f) * * *                                            and’’;                                                 Season Group 3 unit’’;
                                                                                                         ■ c. Adding in alphabetical order a                    ■ g. Adding in alphabetical order a
                                                    (1) After the Administrator has carried
                                                                                                         definition for ‘‘CSAPR NOX Ozone                       definition for ‘‘Coal-derived fuel’’;
                                                 out the procedures set forth in
                                                                                                         Season Group 3 Trading Program’’; and                  ■ h. In the definition of ‘‘Common
                                                 paragraph (d)(1) of this section, the
                                                                                                         ■ d. In the definition of ‘‘Designated                 designated representative’’, removing
                                                 owner or operator of a CSAPR NOX                                                                               ‘‘base CSAPR’’ and adding in its place
                                                 Ozone Season Group 2 source in a State                  representative’’, removing ‘‘Program or
                                                                                                         CSAPR NOX Ozone Season Group 2                         ‘‘CSAPR’’;
                                                 listed in § 52.38(b)(2)(ii)(B) of this                                                                         ■ i. Revising the definition of ‘‘Common
                                                 chapter (and Indian country within the                  Trading Program, then’’ and adding in
                                                                                                         its place ‘‘Program, CSAPR NOX Ozone                   designated representative’s assurance
                                                 borders of such a State) may satisfy a                                                                         level’’;
                                                 requirement to hold a given number of                   Season Group 2 Trading Program, or
                                                                                                                                                                ■ j. In the definition of ‘‘Common
                                                 CSAPR NOX Ozone Season Group 2                          CSAPR NOX Ozone Season Group 3
                                                                                                         Trading Program, then’’.                               designated representative’s share’’,
                                                 allowances for a control period in 2017                                                                        removing ‘‘base CSAPR’’ and adding in
                                                 through 2020 by holding instead, in a                      The addition reads as follows:
                                                                                                                                                                its place ‘‘CSAPR’’ each time it appears;
                                                 general account established for this sole               § 97.902    Definitions.                               ■ k. In the definition of ‘‘Compliance
                                                 purpose, an amount of CSAPR NOX                         *     *      *    *     *                              account’’, adding ‘‘primary’’ before
                                                 Ozone Season Group 3 allowances for                        CSAPR NOX Ozone Season Group 3                      ‘‘emissions limitation’’;
                                                 the control period in 2021 (or any later                Trading Program means a multi-state                    ■ l. Adding in alphabetical order a
                                                 control period for which the allowance                  NOX air pollution control and emission                 definition for ‘‘CSAPR NOX Ozone
                                                 transfer deadline defined in § 97.1002                  reduction program established in                       Season Group 1 Trading Program’’;
                                                 has passed) computed as the quotient,                                                                          ■ m. In the definition of ‘‘CSAPR NOX
                                                                                                         accordance with subpart GGGGG of this
                                                 rounded up to the nearest allowance, of                 part and § 52.38(b)(1), (b)(2)(iii), and               Ozone Season Group 2 Trading
                                                 such given number of CSAPR NOX                          (b)(10) through (14) and (17) of this                  Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                 Ozone Season Group 2 allowances                         chapter (including such a program that                 and’’ and adding in its place ‘‘(b)(2)(ii),
                                                 divided by the conversion factor                        is revised in a SIP revision approved by               and’’;
                                                 determined under paragraph (d)(1)(i)(D)                                                                        ■ n. In the definition of ‘‘CSAPR NOX
                                                                                                         the Administrator under § 52.38(b)(10)
                                                 of this section.                                                                                               Ozone Season Group 3 allowance’’:
                                                                                                         or (11) of this chapter or that is                     ■ i. Adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;
                                                    (2) After the Administrator has carried              established in a SIP revision approved
                                                 out the procedures set forth in                                                                                and
                                                                                                         by the Administrator under                             ■ ii. Adding ‘‘or less’’ after ‘‘one ton’’;
                                                 paragraph (e)(1) of this section, the                   § 52.38(b)(12) of this chapter), as a                  ■ o. In the definitions of ‘‘CSAPR NOX
                                                 owner or operator of a CSAPR NOX                        means of mitigating interstate transport               Ozone Season Group 3 allowance
                                                 Ozone Season Group 2 source in a State                  of ozone and NOX.                                      deduction’’ and ‘‘CSAPR NOX Ozone
                                                 listed in § 52.38(b)(2)(ii)(C) of this                  *     *      *    *     *                              Season Group 3 emissions limitation’’,
                                                 chapter (and Indian country within the
                                                                                                                                                                adding ‘‘primary’’ before ‘‘emissions
                                                 borders of such a State) may satisfy a                  § 97.934    [Amended]
                                                                                                                                                                limitation’’;
                                                 requirement to hold a given number of                   ■ 61. In § 97.934, amend paragraph                     ■ p. Adding in alphabetical order a
                                                 CSAPR NOX Ozone Season Group 2                          (d)(3) by removing ‘‘Program or CSAPR                  definition for ‘‘CSAPR NOX Ozone
                                                 allowances for a control period in 2017                 NOX Ozone Season Group 2 Trading                       Season Group 3 secondary emissions
                                                 through 2022 by holding instead, in a                   Program, quarterly’’ and adding in its                 limitation’’;
                                                 general account established for this sole               place ‘‘Program, CSAPR NOX Ozone                       ■ q. In the definition of ‘‘CSAPR NOX
                                                 purpose, an amount of CSAPR NOX                         Season Group 2 Trading Program, or                     Ozone Season Group 3 Trading
                                                 Ozone Season Group 3 allowances for                     CSAPR NOX Ozone Season Group 3                         Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                 the control period in 2023 (or any later                Trading Program, quarterly’’.                          adding in its place ‘‘(b)(2)(iii), and’’;
                                                 control period for which the allowance                                                                         ■ r. Adding in alphabetical order a
                                                 transfer deadline defined in § 97.1002                  Subpart GGGGG—CSAPR NOX Ozone                          definition for ‘‘CSAPR SO2 Group 2
                                                 has passed) computed as the quotient,                   Season Group 3 Trading Program                         Trading Program’’;
                                                 rounded up to the nearest allowance, of                                                                        ■ s. In the definition of ‘‘Designated
                                                 such given number of CSAPR NOX                          ■ 62. Amend § 97.1002 by:                              representative’’, removing ‘‘or CSAPR
                                                 Ozone Season Group 2 allowances                         ■ a. Revising the definition of ‘‘Allocate             SO2 Group 1 Trading Program, then’’
                                                 divided by the conversion factor                        or allocation’’;                                       and adding in its place ‘‘CSAPR SO2
                                                 determined under paragraph (e)(1)(ii) of                ■ b. In the definition of ‘‘Allowance                  Group 1 Trading Program, or CSAPR
                                                 this section.                                           transfer deadline’’, adding ‘‘primary’’                SO2 Group 2 Trading Program, then’’.
                                                                                                         before ‘‘emissions limitation’’;                       ■ t. In the definition of ‘‘Excess
                                                 Subpart FFFFF—Texas SO2 Trading                         ■ c. In the definition of ‘‘Alternate                  emissions’’, adding ‘‘primary’’ before
                                                 Program                                                 designated representative’’, removing                  ‘‘emissions limitation’’;
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                                                                                                         ‘‘or CSAPR SO2 Group 1 Trading                         ■ u. Adding in alphabetical order a
                                                 ■ 60. Amend § 97.902 by:                                Program, then’’ and adding in its place                definition for ‘‘Historical control
                                                 ■ a. In the definition of ‘‘Alternate                   ‘‘CSAPR SO2 Group 1 Trading Program,                   period’’; and
                                                 designated representative’’, removing                   or CSAPR SO2 Group 2 Trading                           ■ v. In the definition of ‘‘State’’,
                                                 ‘‘Program or CSAPR NOX Ozone Season                     Program, then’’;                                       removing ‘‘(b)(2)(v), and’’ and adding in
                                                 Group 2 Trading Program, then’’ and                     ■ d. In the definition of ‘‘Assurance                  its place ‘‘(b)(2)(iii), and’’.
                                                 adding in its place ‘‘Program, CSAPR                    account’’, removing ‘‘base CSAPR’’ and                    The revisions and additions read as
                                                 NOX Ozone Season Group 2 Trading                        adding in its place ‘‘CSAPR’’;                         follows:


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                                                 § 97.1002   Definitions.                                CSAPR NOX Ozone Season Group 3                         interstate transport of fine particulates
                                                 *      *     *    *     *                               allowances purchased by an owner or                    and SO2.
                                                   Allocate or allocation means, with                    operator of such CSAPR NOX Ozone                       *      *     *     *     *
                                                 regard to CSAPR NOX Ozone Season                        Season Group 3 units in an auction for                    Historical control period means, for a
                                                 Group 3 allowances, the determination                   such control period and submitted by                   unit as of a given calendar year, the
                                                 by the Administrator, State, or                         the State or the permitting authority to               period starting May 1 of a previous
                                                 permitting authority, in accordance with                the Administrator for recordation in the               calendar year and ending September 30
                                                 this subpart, §§ 97.526(d) and 97.826(d)                compliance accounts for such CSAPR                     of that previous calendar year,
                                                 and (e), and any SIP revision submitted                 NOX Ozone Season Group 3 units in                      inclusive, without regard to whether the
                                                 by the State and approved by the                        accordance with the CSAPR NOX Ozone                    unit was subject to requirements under
                                                 Administrator under § 52.38(b)(10), (11),               Season Group 3 allowance auction                       the CSAPR NOX Ozone Season Group 3
                                                 or (12) of this chapter, of the amount of               provisions in a SIP revision approved by               Trading Program during such period.
                                                 such CSAPR NOX Ozone Season Group                       the Administrator under § 52.38(b)(11)                 *      *     *     *     *
                                                 3 allowances to be initially credited, at               or (12) of this chapter, multiplied by the
                                                                                                                                                                ■ 63. Amend § 97.1006 by:
                                                 no cost to the recipient, to:                           sum of the State NOX Ozone Season
                                                                                                                                                                ■ a. Revising paragraph (b)(2),
                                                   (1) A CSAPR NOX Ozone Season                          Group 3 trading budget under
                                                                                                         § 97.1010(a) and the State’s variability               paragraph (c)(1) heading, paragraph
                                                 Group 3 unit;
                                                   (2) A new unit set-aside;                             limit under § 97.1010(e) for such control              (c)(1)(i), and paragraph (c)(1)(ii)
                                                   (3) An Indian country new unit set-                   period, and divided by such State NOX                  introductory text;
                                                                                                                                                                ■ b. Adding paragraphs (c)(1)(iii) and
                                                 aside;                                                  Ozone Season Group 3 trading budget;
                                                   (4) An Indian country existing unit                      (2) Provided that the allocations of                (iv);
                                                                                                                                                                ■ c. In paragraphs (c)(2)(i) introductory
                                                 set-aside; or                                           CSAPR NOX Ozone Season Group 3
                                                   (5) An entity not listed in paragraphs                allowances for any control period taken                text and (c)(2)(i)(B), removing ‘‘base
                                                 (1) through (4) of this definition;                     into account for purposes of this                      CSAPR’’ and adding in its place
                                                   (6) Provided that, if the                             definition shall exclude any CSAPR                     ‘‘CSAPR’’ each time it appears;
                                                 Administrator, State, or permitting                                                                            ■ d. Revising paragraph (c)(2)(iii);
                                                                                                         NOX Ozone Season Group 3 allowances
                                                 authority initially credits, to a CSAPR                                                                        ■ e. In paragraph (c)(2)(iv), removing
                                                                                                         allocated for such control period under
                                                 NOX Ozone Season Group 3 unit                           § 97.526(d) or § 97.826(d) or (e).                     ‘‘base CSAPR’’ and adding in its place
                                                 qualifying for an initial credit, a credit                                                                     ‘‘CSAPR’’ each time it appears;
                                                                                                         *      *     *    *      *                             ■ f. Revising paragraph (c)(3); and
                                                 in the amount of zero CSAPR NOX                            CSAPR NOX Ozone Season Group 1
                                                 Ozone Season Group 3 allowances, the                                                                           ■ g. In paragraph (c)(6) introductory
                                                                                                         Trading Program means a multi-state
                                                 CSAPR NOX Ozone Season Group 3 unit                                                                            text, adding ‘‘or less’’ after ‘‘one ton’’.
                                                                                                         NOX air pollution control and emission                    The revisions and additions read as
                                                 will be treated as being allocated an                   reduction program established in
                                                 amount (i.e., zero) of CSAPR NOX                                                                               follows:
                                                                                                         accordance with subpart BBBBB of this
                                                 Ozone Season Group 3 allowances.                        part and § 52.38(b)(1), (b)(2)(i), and                 § 97.1006   Standard requirements.
                                                 *      *     *    *     *                               (b)(3) through (5) and (13) through (15)               *      *    *    *      *
                                                   Backstop daily NOX emissions rate                     of this chapter (including such a                        (b) * * *
                                                 means a NOX emissions rate used in the                  program that is revised in a SIP revision                (2) The emissions and heat input data
                                                 determination of the CSAPR NOX Ozone                    approved by the Administrator under                    determined in accordance with
                                                 Season Group 3 primary emissions                        § 52.38(b)(3) or (4) of this chapter or that           §§ 97.1030 through 97.1035 shall be
                                                 limitation for a CSAPR NOX Ozone                        is established in a SIP revision approved              used to calculate allocations of CSAPR
                                                 Season Group 3 source in accordance                     by the Administrator under § 52.38(b)(5)               NOX Ozone Season Group 3 allowances
                                                 with § 97.1024(b).                                      of this chapter), as a means of mitigating             under §§ 97.1011 and 97.1012 and to
                                                 *      *     *    *     *                               interstate transport of ozone and NOX.                 determine compliance with the CSAPR
                                                   Coal-derived fuel means any fuel,                     *      *     *    *      *                             NOX Ozone Season Group 3 primary
                                                 whether in a solid, liquid, or gaseous                     CSAPR NOX Ozone Season Group 3                      and secondary emissions limitations
                                                 state, produced by the mechanical,                      secondary emissions limitation means,                  and assurance provisions under
                                                 thermal, or chemical processing of coal.                for a CSAPR NOX Ozone Season Group                     paragraph (c) of this section, provided
                                                 *      *     *    *     *                               3 unit to which such a limitation                      that, for each monitoring location from
                                                   Common designated representative’s                    applies under § 97.1025(c)(1) for a                    which mass emissions are reported, the
                                                 assurance level means, with regard to a                 control period in a given year, the                    mass emissions amount used in
                                                 specific common designated                              tonnage of NOX emissions calculated for                calculating such allocations and
                                                 representative and a State (and Indian                  the unit in accordance with                            determining such compliance shall be
                                                 country within the borders of such                      § 97.1025(c)(2) for such control period.               the mass emissions amount for the
                                                 State) and control period in a given year               *      *     *    *      *                             monitoring location determined in
                                                 for which the State assurance level is                     CSAPR SO2 Group 2 Trading Program                   accordance with §§ 97.1030 through
                                                 exceeded as described in                                means a multi-state SO2 air pollution                  97.1035 and rounded to the nearest ton,
                                                 § 97.1006(c)(2)(iii):                                   control and emission reduction program                 with any fraction of a ton less than 0.50
                                                   (1) The amount (rounded to the                        established in accordance with subpart                 being deemed to be zero.
                                                 nearest allowance) equal to the sum of                  DDDDD of this part and § 52.39(a), (c),                  (c) * * *
                                                 the total amount of CSAPR NOX Ozone                                                                              (1) CSAPR NOX Ozone Season Group
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                                                                                                         (g) through (k), and (m) of this chapter
                                                 Season Group 3 allowances allocated for                 (including such a program that is                      3 primary and secondary emissions
                                                 such control period to the group of one                 revised in a SIP revision approved by                  limitations—(i) Primary emissions
                                                 or more CSAPR NOX Ozone Season                          the Administrator under § 52.39(g) or (h)              limitation. As of the allowance transfer
                                                 Group 3 units in such State (and such                   of this chapter or that is established in              deadline for a control period in a given
                                                 Indian country) having the common                       a SIP revision approved by the                         year, the owners and operators of each
                                                 designated representative for such                      Administrator under § 52.39(i) of this                 CSAPR NOX Ozone Season Group 3
                                                 control period and the total amount of                  chapter), as a means of mitigating                     source and each CSAPR NOX Ozone


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                                                 Season Group 3 unit at the source shall                                     calculated in accordance with                                              of this section or the deadline for
                                                 hold, in the source’s compliance                                            § 97.1025(c)(2).                                                           meeting the unit’s monitor certification
                                                 account, CSAPR NOX Ozone Season                                                (iv) Exceedances of secondary                                           requirements under § 97.1030(b) and for
                                                 Group 3 allowances available for                                            emissions limitation. If total NOX                                         each control period thereafter:
                                                 deduction for such control period under                                     emissions during a control period in a                                        (A) May 1, 2021, for a unit in a State
                                                 § 97.1024(a) in an amount not less than                                     given year from a CSAPR NOX Ozone                                          (and Indian country within the borders
                                                 the amount determined under                                                 Season Group 3 unit are in excess of the                                   of such State) listed in
                                                 § 97.1024(b), comprising the sum of—                                        amount of a CSAPR NOX Ozone Season                                         § 52.38(b)(2)(iii)(A) of this chapter;
                                                    (A) The tons of total NOX emissions                                      Group 3 secondary emissions limitation                                        (B) May 1, 2023, for a unit in a State
                                                 for such control period from all CSAPR                                      applicable to the unit for the control                                     (and Indian country within the borders
                                                 NOX Ozone Season Group 3 units at the                                       period under paragraph (c)(1)(iii) of this                                 of such State) listed in
                                                 source; plus                                                                section, then the owners and operators                                     § 52.38(b)(2)(iii)(B) of this chapter; or
                                                    (B) Two times the excess, if any, over                                   of the unit and the source at which the                                       (C) August 4, 2023, for a unit in a
                                                 50 tons of the sum, for all CSAPR NOX                                       unit is located shall pay any fine,                                        State (and Indian country within the
                                                 Ozone Season Group 3 units at the                                           penalty, or assessment or comply with                                      borders of such State) listed in
                                                 source and all calendar days of the                                         any other remedy imposed, for the same                                     § 52.38(b)(2)(iii)(C) of this chapter.
                                                 control period, of any NOX emissions                                        violations, under the Clean Air Act, and                                      (ii) A CSAPR NOX Ozone Season
                                                 from such a unit on any calendar day of                                     each ton of such excess emissions and                                      Group 3 unit shall be subject to the
                                                 the control period exceeding the NOX                                        each day of such control period shall                                      requirements under paragraphs
                                                 emissions that would have occurred on                                       constitute a separate violation of this                                    (c)(1)(iii) and (iv) of this section for the
                                                 that calendar day if the unit had                                           subpart and the Clean Air Act.                                             control period starting on the later of
                                                 combusted the same daily heat input                                            (2) * * *                                                               May 1, 2024, or the deadline for meeting
                                                 and emitted at any backstop daily NOX                                          (iii) Total NOX emissions from all                                      the unit’s monitor certification
                                                 emissions rate applicable to the unit for                                   CSAPR NOX Ozone Season Group 3                                             requirements under § 97.1030(b) and for
                                                 that control period.                                                        units at CSAPR NOX Ozone Season                                            each control period thereafter.
                                                    (ii) Exceedances of primary emissions                                    Group 3 sources in a State (and Indian                                     *       *    *     *      *
                                                 limitation. If total NOX emissions during                                   country within the borders of such
                                                                                                                                                                                                        ■ 64. Revise § 97.1010 to read as
                                                 a control period in a given year from the                                   State) during a control period in a given
                                                 CSAPR NOX Ozone Season Group 3                                              year exceed the State assurance level if                                   follows:
                                                 units at a CSAPR NOX Ozone Season                                           such total NOX emissions exceed the                                        § 97.1010 State NOX Ozone Season Group
                                                 Group 3 source are in excess of the                                         sum, for such control period, of the                                       3 trading budgets, set-asides, and
                                                 CSAPR NOX Ozone Season Group 3                                              State NOX Ozone Season Group 3                                             variability limits.
                                                 primary emissions limitation set forth in                                   trading budget under § 97.1010(a) and                                         (a) State NOX Ozone Season Group 3
                                                 paragraph (c)(1)(i) of this section, then:                                  the State’s variability limit under                                        trading budgets. (1)(i) The State NOX
                                                 *       *    *     *    *                                                   § 97.1010(e).                                                              Ozone Season Group 3 trading budgets
                                                    (iii) Secondary emissions limitation.                                    *       *    *    *     *                                                  for allocations of CSAPR NOX Ozone
                                                 The owner or operator of a CSAPR NOX                                           (3) Compliance periods. (i) A CSAPR                                     Season Group 3 allowances for the
                                                 Ozone Season Group 3 unit subject to an                                     NOX Ozone Season Group 3 unit shall                                        control periods in 2021 through 2025
                                                 emissions limitation under                                                  be subject to the requirements under                                       shall be as indicated in table 1 to this
                                                 § 97.1025(c)(1) shall not discharge, or                                     paragraphs (c)(1)(i) and (ii) and (c)(2) of                                paragraph (a)(1)(i), subject to prorating
                                                 allow to be discharged, emissions of                                        this section for the control period                                        for the control period in 2023 as
                                                 NOX to the atmosphere during a control                                      starting on the later of the applicable                                    provided in paragraph (a)(1)(ii) of this
                                                 period in excess of the tonnage amount                                      date in paragraph (c)(3)(i)(A), (B), or (C)                                section:

                                                      TABLE 1 TO PARAGRAPH (a)(1)(i)—STATE NOX OZONE SEASON GROUP 3 TRADING BUDGETS BY CONTROL PERIOD,
                                                                                                  2021–2025
                                                                                                                                                             [Tons]

                                                                                                                                                                             Portion of                  Portion of
                                                                                                                                                                            2023 control               2023 control
                                                                                                                                                                            period before             period on and
                                                                            State                                           2021                       2022                                                               2024            2025
                                                                                                                                                                              August 4,               after August 4,
                                                                                                                                                                            2023, before               2023, before
                                                                                                                                                                              prorating                  prorating

                                                 Alabama ...................................................         ........................   ........................                13,211                 6,379          6,489           6,489
                                                 Arkansas ..................................................         ........................   ........................                  9,210                8,927          8,927           8,927
                                                 Illinois .......................................................                 11,223                       9,102                      8,179                7,474          7,325           7,325
                                                 Indiana .....................................................                    17,004                     12,582                     12,553                12,440         11,413          11,413
                                                 Kentucky ..................................................                      17,542                     14,051                     14,051                13,601         12,999          12,472
                                                 Louisiana ..................................................                     16,291                     14,818                     14,818                 9,363          9,363           9,107
                                                 Maryland ..................................................                        2,397                      1,266                      1,266                1,206          1,206           1,206
                                                 Michigan ...................................................                     14,384                     12,290                       9,975               10,727         10,275          10,275
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                                                 Minnesota .................................................         ........................   ........................   ........................            5,504          4,058           4,058
                                                 Mississippi ................................................        ........................   ........................                  6,315                6,210          5,058           5,037
                                                 Missouri ....................................................       ........................   ........................                15,780                12,598         11,116          11,116
                                                 Nevada .....................................................        ........................   ........................   ........................            2,368          2,589           2,545
                                                 New Jersey ..............................................                          1,565                      1,253                      1,253                  773            773             773
                                                 New York .................................................                         4,079                      3,416                      3,421                3,912          3,912           3,912
                                                 Ohio ..........................................................                  13,481                       9,773                      9,773                9,110          7,929           7,929
                                                 Oklahoma .................................................          ........................   ........................                11,641                10,271          9,384           9,376



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                                                      TABLE 1 TO PARAGRAPH (a)(1)(i)—STATE NOX OZONE SEASON GROUP 3 TRADING BUDGETS BY CONTROL PERIOD,
                                                                                             2021–2025—Continued
                                                                                                                                                              [Tons]

                                                                                                                                                                              Portion of                  Portion of
                                                                                                                                                                             2023 control               2023 control
                                                                                                                                                                             period before             period on and
                                                                             State                                           2021                        2022                                                             2024           2025
                                                                                                                                                                               August 4,               after August 4,
                                                                                                                                                                             2023, before               2023, before
                                                                                                                                                                               prorating                  prorating

                                                 Pennsylvania ............................................                         12,071                       8,373                      8,373                8,138        8,138           8,138
                                                 Texas .......................................................        ........................   ........................                52,301                40,134       40,134          38,542
                                                 Utah ..........................................................      ........................   ........................   ........................           15,755       15,917          15,917
                                                 Virginia .....................................................                      6,331                      3,897                      3,980                3,143        2,756           2,756
                                                 West Virginia ............................................                        15,062                     12,884                     12,884                13,791       11,958          11,958
                                                 Wisconsin .................................................          ........................   ........................                  7,915                6,295        6,295           5,988



                                                    (ii) For the control period in 2023, the                                  2023 control period for the State)                                         August 4, 2023, through September 30,
                                                 State NOX Ozone Season Group 3                                               multiplied by a fraction whose                                             2023, inclusive, and whose denominator
                                                 trading budget for each State shall be                                       numerator is the number of days from                                       is 153.
                                                 calculated as the sum, rounded to the                                        May 1, 2023, through the day before                                           (2)(i) The State NOX Ozone Season
                                                 nearest allowance, of the following                                          August 4, 2023, inclusive, and whose
                                                                                                                                                                                                         Group 3 trading budget for each State
                                                 prorated amounts:                                                            denominator is 153; plus
                                                    (A) The product of the non-prorated                                          (B) The product of the non-prorated                                     and each control period in 2026 through
                                                 trading budget for the portion of the                                        trading budget for the portion of the                                      2029 shall be the preset trading budget
                                                 2023 control period before August 4,                                         2023 control period on and after August                                    indicated for the State and control
                                                 2023, shown for the State in table 1 to                                      4, 2023, shown for the State in table 1                                    period in table 2 to this paragraph
                                                 paragraph (a)(1)(i) of this section (or                                      to paragraph (a)(1)(i) of this section                                     (a)(2)(i), except as provided in
                                                 zero if table 1 to paragraph (a)(1)(i)                                       multiplied by a fraction whose                                             paragraph (a)(2)(ii) of this section.
                                                 shows no amount for such portion of the                                      numerator is the number of days from

                                                                       TABLE 2 TO PARAGRAPH (a)(2)(i)—PRESET TRADING BUDGETS BY CONTROL PERIOD, 2026–2029
                                                                                                                                                              [Tons]

                                                                                                        State                                                                      2026                    2027           2028           2029

                                                 Alabama ...........................................................................................................                      6,339                 6,236        6,236           5,105
                                                 Arkansas ..........................................................................................................                      6,365                 4,031        4,031           3,582
                                                 Illinois ...............................................................................................................                 5,889                 5,363        4,555           4,050
                                                 Indiana .............................................................................................................                    8,363                 8,135        7,280           5,808
                                                 Kentucky ..........................................................................................................                      9,697                 7,908        7,837           7,392
                                                 Louisiana ..........................................................................................................                     6,370                 3,792        3,792           3,639
                                                 Maryland ..........................................................................................................                        842                   842          842             842
                                                 Michigan ...........................................................................................................                     6,743                 5,691        5,691           4,656
                                                 Minnesota ........................................................................................................                       4,058                 2,905        2,905           2,578
                                                 Mississippi ........................................................................................................                     3,484                 2,084        1,752           1,752
                                                 Missouri ............................................................................................................                    9,248                 7,329        7,329           7,329
                                                 Nevada .............................................................................................................                     1,142                 1,113        1,113             880
                                                 New Jersey ......................................................................................................                          773                   773          773             773
                                                 New York .........................................................................................................                       3,650                 3,388        3,388           3,388
                                                 Ohio .................................................................................................................                   7,929                 7,929        6,911           6,409
                                                 Oklahoma .........................................................................................................                       6,631                 3,917        3,917           3,917
                                                 Pennsylvania ....................................................................................................                        7,512                 7,158        7,158           4,828
                                                 Texas ...............................................................................................................                   31,123                23,009       21,623          20,635
                                                 Utah .................................................................................................................                   6,258                 2,593        2,593           2,593
                                                 Virginia .............................................................................................................                   2,565                 2,373        2,373           1,951
                                                 West Virginia ....................................................................................................                      10,818                 9,678        9,678           9,678
                                                 Wisconsin .........................................................................................................                      4,990                 3,416        3,416           3,416



                                                    (ii) If the preset trading budget                                         budget for the State and control period                                    thereafter shall be the dynamic trading
                                                 indicated for a given State and control                                      shall be the dynamic trading budget for                                    budget for the State and control period
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                                                 period in table 2 to paragraph (a)(2)(i) of                                  the State and control period referenced                                    referenced in the applicable notice
                                                 this section is less than the dynamic                                        in the applicable notice promulgated                                       promulgated under paragraph
                                                 trading budget for the State and control                                     under paragraph (a)(4)(v)(C) of this                                       (a)(4)(v)(C) of this section.
                                                 period referenced in the applicable                                          section.                                                                      (4) The Administrator will calculate
                                                 notice promulgated under paragraph                                             (3) The State NOX Ozone Season                                           the dynamic trading budget for each
                                                 (a)(4)(v)(C) of this section, then the State                                 Group 3 trading budget for each State                                      State and each control period in 2026
                                                 NOX Ozone Season Group 3 trading                                             and each control period in 2030 and


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                                                 and thereafter in the year before the year                 (B) For the State, the Administrator                   (B) For a unit not listed in the
                                                 of the control period as follows:                       will determine the following state-level               document referenced in paragraph
                                                    (i) The Administrator will include a                 amounts:                                               (a)(4)(iii)(A) of this section, the NOX
                                                 unit in a State (and Indian country                        (1) The sum for all units in the State              emissions rate used in the calculation
                                                 within the borders of the State) in the                 meeting the criterion under paragraph                  for the control period shall be identified
                                                 calculation of the State’s dynamic                      (a)(4)(i)(A) of this section, without                  according to the type of unit and the
                                                 trading budget for a control period if—                 regard to whether such units also meet                 type of fuel combusted by the unit
                                                    (A) To the best of the Administrator’s               the criteria under paragraphs (a)(4)(i)(B)             during the control period beginning
                                                 knowledge, the unit qualifies as a                      and (C) of this section, of the total heat             May 1 on or immediately after the unit’s
                                                 CSAPR NOX Ozone Season Group 3 unit                     input amounts reported in accordance                   deadline for certification of monitoring
                                                 under § 97.1004, without regard to                      with part 75 of this chapter for the                   systems under § 97.1030(b) as follows:
                                                 whether the unit has permanently                        historical control periods in the years                   (1) 0.011 lb/mmBtu, for a simple cycle
                                                 retired, provided that including a unit                 two, three, and four years before the                  combustion turbine or a combined cycle
                                                 in the calculation of a dynamic trading                 year of the control period for which the               combustion turbine other than an
                                                 budget does not constitute a                            dynamic trading budget is being                        integrated coal gasification combined
                                                 determination that the unit is a CSAPR                  calculated, provided that for the                      cycle unit;
                                                 NOX Ozone Season Group 3 unit, and                      historical control periods in 2022 and                    (2) 0.030 lb/mmBtu, for a boiler
                                                 not including a unit in the calculation                 2023, the total reported heat input                    combusting only fuel oil or gaseous fuel
                                                 of a dynamic trading budget does not                    amounts for Nevada and Utah as                         (other than coal-derived fuel) during
                                                 constitute a determination that the unit                otherwise determined under this                        such control period; or
                                                                                                         paragraph (a)(4)(ii)(B)(1) shall be                       (3) 0.050 lb/mmBtu, for a boiler
                                                 is not a CSAPR NOX Ozone Season
                                                                                                                                                                combusting any amount of coal or coal-
                                                 Group 3 unit;                                           increased by 13,489,332 mmBtu for
                                                                                                                                                                derived fuel during such control period
                                                    (B) The unit’s deadline for                          Nevada and by 1,888,174 mmBtu for
                                                                                                                                                                or any other unit not covered by
                                                 certification of monitoring systems                     Utah;
                                                                                                                                                                paragraph (a)(4)(iii)(B)(1) or (2) of this
                                                 under § 97.1030(b) is on or before May                     (2) The average of the three state-level
                                                                                                                                                                section.
                                                 1 of the year two years before the year                 total heat input amounts calculated for                   (iv) The Administrator will calculate
                                                 of the control period for which the                     the State under paragraph (a)(4)(ii)(B)(1)             the State’s dynamic trading budget for
                                                 dynamic trading budget is being                         of this section; and                                   the control period as the sum (converted
                                                 calculated; and                                            (3) The sum for all units identified for            to tons at a conversion factor of 2,000
                                                    (C) The owner or operator reported                   inclusion in the calculation of the                    lb/ton and rounded to the nearest ton),
                                                 heat input greater than zero for the unit               State’s dynamic trading budget for the                 for all units identified for inclusion in
                                                 in accordance with part 75 of this                      control period under paragraph (a)(4)(i)               the calculation under paragraph (a)(4)(i)
                                                 chapter for the historical control period               of this section of the unit-level average              of this section, of the product for each
                                                 in the year two years before the year of                heat input amounts calculated under                    such unit of the heat input amount in
                                                 the control period for which the                        paragraph (a)(4)(ii)(A)(2) of this section.            mmBtu calculated for the unit under
                                                 dynamic trading budget is being                            (C) The heat input amount for a unit                paragraph (a)(4)(ii) of this section
                                                 calculated.                                             used in the calculation of the State’s                 multiplied by the NOX emissions rate in
                                                    (ii) For each unit identified for                    dynamic trading budget shall be the                    lb/mmBtu identified for the unit under
                                                 inclusion in the calculation of the                     product of the unit-level average total                paragraph (a)(4)(iii) of this section.
                                                 State’s dynamic trading budget for a                    heat input amount calculated for the                      (v)(A) By March 1, 2025 and March 1
                                                 control period under paragraph (a)(4)(i)                unit under paragraph (a)(4)(ii)(A)(2) of               of each year thereafter, the
                                                 of this section, the Administrator will                 this section multiplied by a fraction                  Administrator will calculate the
                                                 calculate the heat input amount in                      whose numerator is the state-level                     dynamic trading budget for each State,
                                                 mmBtu to be used in the budget                          average total heat input amount                        in accordance with paragraphs (a)(4)(i)
                                                 calculation as follows:                                 calculated under paragraph                             through (iv) of this section and
                                                    (A) For each such unit, the                          (a)(4)(ii)(B)(2) of this section and whose             §§ 97.1006(b)(2) and 97.1030 through
                                                 Administrator will determine the                        denominator is the state-level sum of                  97.1035, for the control period in the
                                                 following unit-level amounts:                           the unit-level average heat input                      year after the year of the applicable
                                                    (1) The total heat input amounts                     amounts calculated under paragraph                     calculation deadline under this
                                                 reported in accordance with part 75 of                  (a)(4)(ii)(B)(3) of this section.                      paragraph (a)(4)(v)(A) and will
                                                 this chapter for the unit for the                          (iii) For each unit identified for                  promulgate a notice of data availability
                                                 historical control periods in the years                 inclusion in the calculation of the                    of the results of the calculations.
                                                 two, three, four, five, and six years                   State’s dynamic trading budget for a                      (B) For each notice of data availability
                                                 before the year of the control period for               control period under paragraph (a)(4)(i)               required in paragraph (a)(4)(v)(A) of this
                                                 which the dynamic trading budget is                     of this section, the Administrator will                section, the Administrator will provide
                                                 being calculated, except any historical                 identify the NOX emissions rate in lb/                 an opportunity for submission of
                                                 control period that commenced before                    mmBtu to be used in the calculation as                 objections to the calculations referenced
                                                 the unit’s first deadline under any                     follows:                                               in such notice. Objections shall be
                                                 regulatory program to begin recording                      (A) For a unit listed in the document               submitted by the deadline specified in
                                                 and reporting heat input in accordance                  entitled ‘‘Unit-Specific Ozone Season                  such notice and shall be limited to
                                                 with part 75 of this chapter; and                       NOX Emissions Rates for Dynamic
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                                                                                                                                                                addressing whether the calculations
                                                    (2) The average of the three highest                 Budget Calculations’’ posted at                        (including the identification of the units
                                                 unit-level total heat input amounts                     www.regulations.gov in docket EPA–                     included in the calculations) are in
                                                 identified for the unit under paragraph                 HQ–OAR–2021–0668, the NOX                              accordance with the provisions
                                                 (a)(4)(iv)(A)(1) of this section or, if fewer           emissions rate used in the calculation                 referenced in paragraph (a)(4)(v)(A) of
                                                 than three non-zero amounts are                         for the control period shall be the NOX                this section.
                                                 identified for the unit, the average of all             emissions rate shown for the unit and                     (C) The Administrator will adjust the
                                                 such non-zero total heat input amounts.                 control period in that document.                       calculations to the extent necessary to


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                                                 ensure that they are in accordance with                            accordance with paragraph (a) of this                                      TABLE 5 TO PARAGRAPH (e)(1)—VARI-
                                                 the provisions referenced in paragraph                             section multiplied by—                                                      ABILITY LIMITS BY CONTROL PE-
                                                 (a)(4)(v)(A) of this section. By May 1                               (i) 0.09, for Nevada for the control                                      RIOD—Continued
                                                 immediately after the promulgation of                              periods in 2023 through 2025;
                                                                                                                                                                                                                  [2021–2022 (tons)]
                                                 each notice of data availability required                            (ii) 0.06, for Ohio for the control
                                                 in paragraph (a)(4)(v)(A) of this section,                         periods in 2023 through 2025;                                                              State                        2021     2022
                                                 the Administrator will promulgate a                                  (iii) 0.05, for each State other than
                                                 notice of data availability of the results                         Nevada and Ohio for the control periods                                   Ohio ......................................   2,831    2,052
                                                 of the calculations incorporating any                              in 2023 through 2025; or                                                  Pennsylvania ........................         2,535    1,758
                                                 adjustments that the Administrator                                   (iv) 0.05, for each State for each                                      Virginia ..................................   1,329      818
                                                 determines to be necessary and the                                 control period in 2026 and thereafter.                                    West Virginia ........................        3,163    2,706
                                                 reasons for accepting or rejecting any                               (d) Indian country new unit set-asides
                                                 objections submitted in accordance with                            for the control periods in 2021 and                                          (2) The variability limit for the State
                                                 paragraph (a)(4)(v)(B) of this section.                            2022. The Indian country new unit set-                                    NOX Ozone Season Group 3 trading
                                                    (b) Indian country existing unit set-                           asides for allocations of CSAPR NOX                                       budget for each State for each control
                                                 asides for the control periods in 2023                             Ozone Season Group 3 allowances for                                       period in 2023 and thereafter shall be
                                                 and thereafter. The Indian country                                 the control periods in 2021 and 2022 for                                  calculated as the product (rounded to
                                                 existing unit set-aside for allocations of                         each State with CSAPR NOX Ozone                                           the nearest ton) of the State NOX Ozone
                                                 CSAPR NOX Ozone Season Group 3                                     Season Group 3 trading budgets for such                                   Season Group 3 trading budget for the
                                                 allowances for each State for each                                 control periods shall be as indicated in                                  State and control period established in
                                                 control period in 2023 and thereafter                              table 4 to this paragraph (d):                                            accordance with paragraph (a) of this
                                                 shall be calculated as the sum of all                                                                                                        section multiplied by the greater of—
                                                 allowance allocations to units in areas                              TABLE 4 TO PARAGRAPH (d)—INDIAN                                            (i) 0.21; or
                                                 of Indian country within the borders of                               COUNTRY NEW UNIT SET-ASIDES BY                                            (ii) Any excess over 1.00 of the
                                                 the State not subject to the State’s SIP                              CONTROL PERIOD                                                         quotient (rounded to two decimal
                                                 authority as provided in the applicable                                                                                                      places) of—
                                                                                                                                         [2021–2022 (tons)]
                                                 notice of data availability for the control                                                                                                     (A) The sum for all CSAPR NOX
                                                 period referenced in § 97.1011(a)(2).                                                State                         2021         2022         Ozone Season Group 3 units in the State
                                                    (c) New unit set-asides. (1) The new                                                                                                      and Indian country within the borders
                                                 unit set-asides for allocations of CSAPR                           Illinois ....................................   ..........   ..........   of the State of the total heat input
                                                 NOX Ozone Season Group 3 allowances                                Indiana ..................................      ..........   ..........   reported for the control period in
                                                 for the control periods in 2021 and 2022                           Kentucky ...............................        ..........   ..........   mmBtu, provided that, for purposes of
                                                 for each State with CSAPR NOX Ozone                                Louisiana ..............................              15           15
                                                                                                                                                                                              this paragraph (e)(2)(ii)(A), the 2023
                                                 Season Group 3 trading budgets for such                            Maryland ...............................        ..........   ..........
                                                                                                                    Michigan ...............................              13           12
                                                                                                                                                                                              control period for all States shall be
                                                 control periods shall be as indicated in                                                                                                     deemed to be the period from May 1,
                                                 table 3 to this paragraph (c)(1):                                  New Jersey ...........................          ..........   ..........
                                                                                                                    New York ..............................                 3            3    2023 through September 30, 2023,
                                                                                                                    Ohio ......................................     ..........   ..........   inclusive; divided by
                                                 TABLE 3 TO PARAGRAPH (c)(1)—NEW
                                                                                                                    Pennsylvania ........................           ..........   ..........      (B) The state-level total heat input
                                                 UNIT SET-ASIDES BY CONTROL PERIOD                                  Virginia ..................................     ..........   ..........   amount used in the calculation of the
                                                                      [2021–2022 (tons)]                            West Virginia ........................          ..........   ..........   State NOX Ozone Season Group 3
                                                                                                                                                                                              trading budget for the State and control
                                                                   State                         2021     2022         (e) Variability limits. (1) The                                        period in mmBtu, as identified in
                                                                                                                    variability limits for the State NOX                                      accordance with paragraph (e)(3) of this
                                                 Illinois ....................................    265         265
                                                 Indiana ..................................       262         254
                                                                                                                    Ozone Season Group 3 trading budgets                                      section.
                                                 Kentucky ...............................         309         283   for the control periods in 2021 and 2022                                     (3) For purposes of paragraph
                                                 Louisiana ..............................         430         430   for each State with such trading budgets                                  (e)(2)(ii)(B) of this section, the state-
                                                 Maryland ...............................         135         115   for such control periods shall be as                                      level total heat input amount used in
                                                 Michigan ...............................         500         482   indicated in table 5 to this paragraph                                    the calculation of a State NOX Ozone
                                                 New Jersey ...........................            27          27   (e)(1).                                                                   Season Group 3 trading budget for a
                                                 New York ..............................          168         168
                                                                                                                                                                                              given control period shall be identified
                                                 Ohio ......................................      291         290    TABLE 5 TO PARAGRAPH (e)(1)—VARI-
                                                 Pennsylvania ........................            335         339                                                                             as follows:
                                                                                                                      ABILITY LIMITS BY CONTROL PERIOD                                           (i) For a control period in 2023
                                                 Virginia ..................................      185         161
                                                 West Virginia ........................           266         261                        [2021–2022 (tons)]                                   through 2025, and for a control period
                                                                                                                                                                                              in 2026 through 2029 if the State NOX
                                                    (2) The new unit set-aside for                                                    State                         2021         2022         Ozone Season Group 3 trading budget
                                                 allocations of CSAPR NOX Ozone                                                                                                               for the State and control period under
                                                                                                                    Illinois ....................................   2,356        1,911
                                                 Season Group 3 allowances for each                                 Indiana ..................................      3,571        2,642
                                                                                                                                                                                              paragraph (a)(2) of this section is the
                                                 State for each control period in 2023                              Kentucky ...............................        3,684        2,951        preset trading budget set forth for the
                                                 and thereafter shall be calculated as the                          Louisiana ..............................        3,421        3,112        State and control period in table 2 to
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                                                 product (rounded to the nearest                                    Maryland ...............................          504          266        paragraph (a)(2)(i) of this section, the
                                                 allowance) of the State NOX Ozone                                  Michigan ...............................        3,021        2,581        state-level total heat input amounts
                                                 Season Group 3 trading budget for the                              New Jersey ...........................            329          263        shall be as indicated in table 6 to this
                                                 State and control period established in                            New York ..............................           856          717        paragraph (e)(3)(i).




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                                                         TABLE 6 TO PARAGRAPH (e)(3)(i)—STATE-LEVEL TOTAL HEAT INPUT USED IN CALCULATIONS OF PRESET TRADING
                                                                                             BUDGETS BY CONTROL PERIOD
                                                                                                                                              [2023–2029 (mmBtu)]

                                                                               State                                        2023            2024               2025            2026            2027             2028            2029

                                                 Alabama ........................................................          313,037,541     333,030,691        333,030,691     330,396,046     328,650,653      328,650,653     307,987,882
                                                 Arkansas .......................................................          192,843,561     192,843,561        192,843,561     190,921,052     190,921,052      190,921,052     190,921,052
                                                 Illinois ............................................................     274,005,935     286,568,112        286,568,112     253,219,463     253,219,463      214,086,655     193,900,867
                                                 Indiana ...........................................................       356,047,916     330,175,944        330,175,944     302,245,332     302,245,332      277,218,546     236,611,101
                                                 Kentucky ........................................................         301,161,750     301,161,750        295,857,697     295,857,697     295,857,697      293,016,485     274,595,978
                                                 Louisiana .......................................................         280,592,592     280,592,592        278,766,253     278,461,807     277,262,840      277,262,840     277,262,840
                                                 Maryland ........................................................          70,725,007      70,725,007         70,725,007      70,725,007      70,725,007       70,725,007      70,725,007
                                                 Michigan ........................................................         313,846,533     299,124,688        299,124,688     258,225,107     258,225,107      258,225,107     222,314,181
                                                 Minnesota ......................................................          128,893,685     107,821,236        107,821,236     107,821,236      93,890,928       93,890,928      85,707,385
                                                 Mississippi .....................................................         192,978,295     189,415,018        189,279,160     189,279,160     189,279,160      176,004,820     176,004,820
                                                 Missouri .........................................................        284,308,851     249,153,661        249,153,661     249,153,661     248,413,545      248,413,545     248,413,545
                                                 Nevada ..........................................................         103,489,785     116,979,117        114,729,782     105,018,415     100,193,805      100,193,805      96,378,269
                                                 New Jersey ...................................................            112,233,231     112,233,231        112,233,231     112,233,231     112,233,231      112,233,231     112,233,231
                                                 New York .......................................................          242,853,661     242,853,661        242,853,661     242,853,661     242,853,661      242,853,661     242,853,661
                                                 Ohio ...............................................................      412,292,609     386,560,212        386,560,212     386,560,212     386,560,212      358,992,155     342,075,946
                                                 Oklahoma ......................................................           212,903,386     211,187,283        211,165,691     211,145,820     196,160,642      196,160,642     196,160,642
                                                 Pennsylvania .................................................            550,993,363     550,993,363        550,993,363     550,993,363     550,993,363      550,993,363     487,590,728
                                                 Texas .............................................................     1,395,116,925   1,395,116,925      1,389,251,813   1,389,251,813   1,356,192,532    1,320,040,162   1,280,014,875
                                                 Utah ...............................................................      164,519,648     166,407,822        166,407,822     127,217,396     127,217,396      127,217,396     127,217,396
                                                 Virginia ..........................................................       202,953,791     194,015,719        194,015,719     194,015,719     194,015,719      194,015,719     186,848,587
                                                 West Virginia .................................................           306,845,495     273,151,957        273,151,957     273,151,957     273,151,957      273,151,957     273,151,957
                                                 Wisconsin ......................................................          220,794,282     220,792,155        213,038,308     185,469,476     151,343,287      151,343,287     151,343,287



                                                    (ii) For a control period in 2026                                           under paragraph (b)(11)(iii) of this                   set-aside for the control period under
                                                 through 2029 if the State NOX Ozone                                            section.                                               § 97.1010(c).
                                                 Season Group 3 trading budget for the                                             (2) For the control periods in 2023                    (2) The Administrator will calculate a
                                                 State and control period under                                                 and each year thereafter, CSAPR NOX                    default allocation of CSAPR NOX Ozone
                                                 paragraph (a)(2) of this section is the                                        Ozone Season Group 3 allowances will                   Season Group 3 allowances for each
                                                 dynamic trading budget for the State                                           be allocated to units in areas of Indian               CSAPR NOX Ozone Season Group 3 unit
                                                 and control period referenced in the                                           country within the borders of each State               in the State and Indian country within
                                                 applicable notice promulgated under                                            not subject to the State’s SIP authority               the borders of the State meeting the
                                                 paragraph (a)(4)(v)(C) of this section,                                        as provided in notices of data                         following criteria:
                                                 and for a control period in 2030 and                                           availability issued by the Administrator.                 (i) To the best of the Administrator’s
                                                 thereafter, the state-level total heat input                                   Starting with the control period in 2026,              knowledge, the unit qualifies as a
                                                 amount shall be the amount for the State                                       the notices of data availability will be               CSAPR NOX Ozone Season Group 3 unit
                                                 and control period calculated under                                            the notices issued under paragraph                     under § 97.1004, without regard to
                                                 paragraph (a)(4)(ii)(B)(2) of this section.                                    (b)(11)(iii) of this section.                          whether the unit has permanently
                                                    (f) Relationship of trading budgets,                                           (3) Providing an allocation to a unit in            retired;
                                                 set-asides, and variability limits. Each                                       a notice of data availability does not                    (ii) The unit’s deadline for
                                                 State NOX Ozone Season Group 3                                                 constitute a determination that the unit               certification of monitoring systems
                                                 trading budget in this section includes                                        is a CSAPR NOX Ozone Season Group                      under § 97.1030(b) is on or before May
                                                 any tons in an Indian country existing                                         3 unit, and not providing an allocation                1 of the year two years before the year
                                                 unit set-aside, a new unit set-aside, or                                       to a unit in such notice does not                      of the control period for which the
                                                 an Indian country new unit set-aside but                                       constitute a determination that the unit               allowances are being allocated; and
                                                 does not include any tons in a                                                 is not a CSAPR NOX Ozone Season                           (iii) The owner or operator reported
                                                 variability limit.                                                             Group 3 unit.                                          heat input greater than zero for the unit
                                                 ■ 65. Amend § 97.1011 by revising the
                                                                                                                                   (b) Calculation of default allocations              in accordance with part 75 of this
                                                 section heading and paragraphs (a), (b),                                       to existing units for control periods in               chapter for the historical control period
                                                 paragraph (c) heading, and paragraphs                                          2026 and thereafter. For each control                  in the year two years before the year of
                                                 (c)(1) and (5) to read as follows:                                             period in 2026 and thereafter, and for                 the control period for which the
                                                                                                                                the CSAPR NOX Ozone Season Group 3                     allowances are being allocated.
                                                 § 97.1011 CSAPR NOX Ozone Season                                               units in each State and areas of Indian                   (3) For each CSAPR NOX Ozone
                                                 Group 3 allowance allocations to existing                                      country within the borders of the State,               Season Group 3 unit for which a default
                                                 units.                                                                         the Administrator will calculate default               allocation is being calculated for a
                                                   (a) Allocations to existing units in                                         allocations of CSAPR NOX Ozone                         control period, the Administrator will
                                                 general. (1) For the control periods in                                        Season Group 3 allowances to the                       calculate an average heat input amount
                                                 2021 and each year thereafter, CSAPR                                           CSAPR NOX Ozone Season Group 3                         to be used in the allocation calculations
                                                 NOX Ozone Season Group 3 allowances                                            units as follows:                                      as follows:
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                                                 will be allocated to units in each State                                          (1) For each State and control period,                 (i) The Administrator will identify the
                                                 and areas of Indian country within the                                         the total amount of CSAPR NOX Ozone                    total heat input amounts reported for
                                                 borders of the State subject to the State’s                                    Season Group 3 allowances for which                    the unit in accordance with part 75 of
                                                 SIP authority as provided in notices of                                        the Administrator will calculate default               this chapter for the historical control
                                                 data availability issued by the                                                allocations shall be the remainder of the              periods in the years two, three, four,
                                                 Administrator. Starting with the control                                       State NOX Ozone Season Group 3                         five, and six years before the year of the
                                                 period in 2026, the notices of data                                            trading budget for the control period                  control period for which the allowances
                                                 availability will be the notices issued                                        under § 97.1010(a) minus the new unit                  are being allocated, except any


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                                                 historical control period that                          derived fuel during the historical                     in paragraphs (b)(9) and (10) of this
                                                 commenced before the unit’s first                       control period for which the unit’s heat               section.
                                                 deadline under any regulatory program                   input was most recently reported and                      (7) If the unrounded default allocation
                                                 to begin recording and reporting heat                   that serves a generator with nameplate                 determined in the previous round of the
                                                 input in accordance with part 75 of this                capacity of 100 MW or more, except a                   calculation procedure for at least one
                                                 chapter.                                                circulating fluidized bed boiler.                      CSAPR NOX Ozone Season Group 3 unit
                                                    (ii) The average heat input amount                      (5) The Administrator will calculate                is less than the unit’s tentative
                                                 used in the allocation calculations shall               the initial unrounded default allocations              maximum allocation amount
                                                 be the average of the three highest total               for each CSAPR NOX Ozone Season                        determined under paragraph (b)(4)(ii) of
                                                 heat input amounts identified for the                   Group 3 unit according to the procedure                this section, the Administrator will
                                                 unit under paragraph (b)(3)(i) of this                  in paragraph (b)(6) of this section and                recalculate the unrounded default
                                                 section or, if fewer than three non-zero                will recalculate the unrounded default                 allocations as follows:
                                                 amounts are identified for the unit, the                allocations according to the procedures                   (i) The Administrator will calculate
                                                 average of all such non-zero total heat                 in paragraph (b)(7) or (8) of this section,            the additional pool of allowances to be
                                                 input amounts.                                          as applicable, iterating the                           allocated as the remainder of the total
                                                    (4) For each CSAPR NOX Ozone                         recalculations as necessary until the                  amount of allowances determined for
                                                 Season Group 3 unit for which a default                 total of the unrounded default                         the State and control period under
                                                 allocation is being calculated for a                    allocations to all eligible units equals               paragraph (b)(1) of this section minus
                                                 control period, the Administrator will                  the amount of allowances determined                    the sum of the unrounded default
                                                 calculate a tentative maximum                           for the State under paragraph (b)(1) of                allocations from the previous round of
                                                 allocation amount to be used in the                     this section.                                          the calculation procedure for all units
                                                 allocation calculations as follows:                        (6) The Administrator will calculate                determined under paragraph (b)(2) of
                                                    (i) The Administrator will identify the              the initial unrounded default allocations              this section to be eligible to receive
                                                 total NOX emissions amounts reported                    to CSAPR NOX Ozone Season Group 3                      default allocations.
                                                 for the unit in accordance with part 75                 units as follows:                                         (ii) The Administrator will calculate
                                                 of this chapter for the historical control                 (i) The Administrator will calculate                the sum, for all units whose unrounded
                                                 periods in the years two, three, four,                  the sum, for all units determined under                default allocations determined in the
                                                 five, and six years before the year of the              paragraph (b)(2) of this section to be                 previous round of the calculation
                                                 control period for which the allowances                 eligible to receive default allocations, of            procedure were less than the respective
                                                 are being allocated.                                    the units’ average heat input amounts                  units’ tentative maximum allocation
                                                    (ii) The tentative maximum allocation                determined under paragraph (b)(3)(ii) of               amounts determined under paragraph
                                                 amount used in the allocation                           this section.                                          (b)(4)(ii) of this section, of the units’
                                                 calculations shall be the highest of the                   (ii) For each unit determined under                 average heat input amounts determined
                                                 total NOX emissions amounts identified                  paragraph (b)(2) of this section to be                 under paragraph (b)(3)(ii) of this section.
                                                 for the unit under paragraph (b)(4)(i) of               eligible to receive a default allocation,                 (iii) For each unit whose unrounded
                                                 this section or, if less, any applicable                the Administrator will calculate the                   default allocation determined in the
                                                 amount calculated under paragraph                       unit’s unrounded default allocation as                 previous round of the calculation
                                                 (b)(4)(iii) of this section.                            the lesser of—                                         procedure was less than the unit’s
                                                    (iii)(A) The tentative maximum                          (A) The product of the total amount                 tentative maximum allocation amount
                                                 allocation amount under paragraph                       of allowances determined for the State                 determined under paragraph (b)(4)(ii) of
                                                 (b)(4)(ii) of this section for a unit                   and control period under paragraph                     this section, the Administrator will
                                                 described in paragraph (b)(4)(iii)(B) or                (b)(1) of this section multiplied by a                 recalculate the unit’s unrounded default
                                                 (C) of this section may not exceed a                    fraction whose numerator is the unit’s                 allocation as the lesser of—
                                                 maximum controlled baseline                             average heat input amount determined                      (A) The sum of the unit’s unrounded
                                                 calculated as the product (converted to                 under paragraph (b)(3)(ii) of this section             default allocation determined in the
                                                 tons at a conversion factor of 2,000 lb/                and whose denominator is the sum                       previous round of the calculation
                                                 ton and rounded to the nearest ton) of                  determined under paragraph (b)(6)(i) of                procedure plus the product of the
                                                 the highest total heat input amount                     this section; and                                      additional pool of allowances
                                                 identified for the unit under paragraph                    (B) The unit’s tentative maximum                    determined under paragraph (b)(7)(i) of
                                                 (b)(3)(i) of this section in mmBtu                      allocation amount determined under                     this section multiplied by a fraction
                                                 multiplied by a NOX emissions rate of                   paragraph (b)(4)(ii) of this section.                  whose numerator is the unit’s average
                                                 0.08 lb/mmBtu.                                             (iii) If the sum of the unrounded                   heat input amount determined under
                                                    (B) For the control period in 2026, a                default allocations determined under                   paragraph (b)(3)(ii) of this section and
                                                 maximum controlled baseline under                       paragraph (b)(6)(ii) of this section is less           whose denominator is the sum
                                                 paragraph (b)(4)(iii)(A) of this section                than the total amount of allowances                    determined under paragraph (b)(7)(ii) of
                                                 shall apply to any unit that combusted                  determined for the State and control                   this section; and
                                                 any coal or solid coal-derived fuel                     period under paragraph (b)(1) of this                     (B) The unit’s tentative maximum
                                                 during the historical control period for                section, the Administrator will follow                 allocation amount determined under
                                                 which the unit’s heat input was most                    the procedures in paragraph (b)(7) or (8)              paragraph (b)(4)(ii) of this section.
                                                 recently reported, that serves a generator              of this section, as applicable.                           (iv) Except as provided in paragraph
                                                 with nameplate capacity of 100 MW or                       (iv) If the sum of the unrounded                    (b)(7)(iii) of this section, a unit’s
                                                                                                         default allocations determined under
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                                                 more, and that is equipped with                                                                                unrounded default allocation shall
                                                 selective catalytic reduction controls,                 paragraph (b)(6)(ii) of this section equals            equal the amount determined in the
                                                 except a circulating fluidized bed boiler.              the total amount of allowances                         previous round of the calculation
                                                    (C) For each control period in 2027                  determined for the State and control                   procedure.
                                                 and thereafter, a maximum controlled                    period under paragraph (b)(1) of this                     (v) If the sum of the unrounded
                                                 baseline under paragraph (b)(4)(iii)(A) of              section, the Administrator will                        default allocations determined under
                                                 this section shall apply to any unit that               determine the rounded default                          paragraphs (b)(7)(iii) and (iv) of this
                                                 combusted any coal or solid coal-                       allocations according to the procedures                section is less than the total amount of


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                                                 allowances determined for the State and                 section, the Administrator will adjust                    (c) Incorrect allocations of CSAPR
                                                 control period under paragraph (b)(1) of                the default allocations as follows. The                NOX Ozone Season Group 3 allowances
                                                 this section, the Administrator will                    Administrator will list the CSAPR NOX                  to existing units. (1) For each control
                                                 iterate the procedures in paragraph                     Ozone Season Group 3 units in                          period in 2021 and thereafter, if the
                                                 (b)(7) of this section or follow the                    descending order based on such units’                  Administrator determines that CSAPR
                                                 procedures in paragraph (b)(8) of this                  allocation amounts under paragraph                     NOX Ozone Season Group 3 allowances
                                                 section, as applicable.                                 (b)(9) of this section and, in cases of                were allocated for the control period to
                                                    (vi) If the sum of the unrounded                     equal allocation amounts, in                           a recipient covered by the provisions of
                                                 default allocations determined under                    alphabetical order of the relevant                     paragraph (c)(1)(i), (ii), or (iii) of this
                                                 paragraphs (b)(7)(iii) and (iv) of this                 sources’ names and numerical order of                  section, then the Administrator will
                                                 section equals the total amount of                      the relevant units’ identification                     notify the designated representative of
                                                 allowances determined for the State and                 numbers, and will adjust each unit’s                   the recipient and will act in accordance
                                                 control period under paragraph (b)(1) of                allocation amount upward or downward                   with the procedures set forth in
                                                 this section, the Administrator will                    by one CSAPR NOX Ozone Season                          paragraphs (c)(2) through (5) of this
                                                 determine the rounded default                           Group 3 allowance (but not below zero)                 section:
                                                 allocations according to the procedures                 in the order in which the units are                       (i) The recipient is not actually a
                                                 in paragraphs (b)(9) and (10) of this                   listed, and will repeat this adjustment                CSAPR NOX Ozone Season Group 3 unit
                                                 section.                                                process as necessary, until the total of               under § 97.1004 as of the first day of the
                                                    (8) If the unrounded default allocation              the adjusted default allocations equals                control period and is allocated CSAPR
                                                 determined in the previous round of the                 the total amount of allowances                         NOX Ozone Season Group 3 allowances
                                                 calculation procedure for every CSAPR                   determined for the State and control                   for such control period under paragraph
                                                 NOX Ozone Season Group 3 unit equals                    period under paragraph (b)(1) of this                  (a)(1) or (2) of this section;
                                                 the unit’s tentative maximum allocation                 section.                                                  (ii) The recipient is not actually a
                                                 amount determined under paragraph                          (11)(i) By March 1, 2025 and March 1                CSAPR NOX Ozone Season Group 3 unit
                                                 (b)(4)(ii) of this section, the                         of each year thereafter, the                           under § 97.1004 as of the first day of the
                                                 Administrator will recalculate the                      Administrator will calculate the default               control period and is allocated CSAPR
                                                 unrounded default allocations as                        allocation of CSAPR NOX Ozone Season                   NOX Ozone Season Group 3 allowances
                                                 follows:                                                Group 3 allowances to each CSAPR NOX                   for such control period under a
                                                    (i) The Administrator will calculate                 Ozone Season Group 3 unit in a State                   provision of a SIP revision approved
                                                 the additional pool of allowances to be                 and Indian country within the borders                  under § 52.38(b)(10), (11), or (12) of this
                                                 allocated as the remainder of the total                 of the State, in accordance with                       chapter that the SIP revision provides
                                                 amount of allowances determined for                     paragraphs (b)(1) through (10) of this                 should be allocated only to recipients
                                                 the State and control period under                      section and §§ 97.1006(b)(2) and                       that are CSAPR NOX Ozone Season
                                                 paragraph (b)(1) of this section minus                  97.1030 through 97.1035, for the control               Group 3 units as of the first day of such
                                                 the sum of the unrounded default                        period in the year after the year of the               control period; or
                                                 allocations from the previous round of                  applicable calculation deadline under                     (iii) The recipient is not located as of
                                                 the calculation procedure for all units                 this paragraph (b)(11)(i) and will                     the first day of the control period in the
                                                 determined under paragraph (b)(2) of                    promulgate a notice of data availability               State (and Indian country within the
                                                 this section to be eligible to receive                  of the results of the calculations.                    borders of the State) from whose NOX
                                                 default allocations.                                       (ii) For each notice of data availability
                                                                                                                                                                Ozone Season Group 3 trading budget
                                                    (ii) The Administrator will recalculate              required in paragraph (b)(11)(i) of this
                                                                                                                                                                CSAPR NOX Ozone Season Group 3
                                                 the unrounded default allocation for                    section, the Administrator will provide
                                                                                                         an opportunity for submission of                       allowances were allocated to the
                                                 each eligible unit as the sum of—
                                                    (A) The unit’s unrounded default                     objections to the calculations referenced              recipient for such control period under
                                                 allocation as determined in the previous                in such notice. Objections shall be                    paragraph (a)(1) or (2) of this section or
                                                 round of the calculation procedure; plus                submitted by the deadline specified in                 under a provision of a SIP revision
                                                    (B) The product of the additional pool               such notice and shall be limited to                    approved under § 52.38(b)(10), (11), or
                                                 of allowances determined under                          addressing whether the calculations                    (12) of this chapter.
                                                 paragraph (b)(8)(i) of this section                     (including the identification of the                   *       *     *     *     *
                                                 multiplied by a fraction whose                          CSAPR NOX Ozone Season Group 3                            (5) With regard to any CSAPR NOX
                                                 numerator is the unit’s average heat                    units) are in accordance with the                      Ozone Season Group 3 allowances that
                                                 input amount determined under                           provisions referenced in paragraph                     are not recorded, or that are deducted as
                                                 paragraph (b)(3)(ii) of this section and                (b)(11)(i) of this section.                            an incorrect allocation, in accordance
                                                 whose denominator is the sum                               (iii) The Administrator will adjust the             with paragraphs (c)(2) and (3) of this
                                                 determined under paragraph (b)(6)(i) of                 calculations to the extent necessary to                section:
                                                 this section.                                           ensure that they are in accordance with                   (i) If the non-recordation decision
                                                    (9) The Administrator will round the                 the provisions referenced in paragraph                 under paragraph (c)(2) of this section or
                                                 default allocation for each eligible unit               (b)(11)(i) of this section. By May 1                   the deduction under paragraph (c)(3) of
                                                 determined under paragraph (b)(6), (7),                 immediately after the promulgation of                  this section occurs on or before May 1,
                                                 or (8) of this section to the nearest                   each notice of data availability required              2024, the Administrator will transfer the
                                                 allowance and make any adjustments                      in paragraph (b)(11)(i) of this section,               CSAPR NOX Ozone Season Group 3
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                                                 required under paragraph (b)(10) of this                the Administrator will promulgate a                    allowances to the new unit set-aside for
                                                 section.                                                notice of data availability of the results             2021, 2022, or 2023 for the State from
                                                    (10) If the sum of the default                       of the calculations incorporating any                  whose NOX Ozone Season Group 3
                                                 allocations after rounding under                        adjustments that the Administrator                     trading budget the CSAPR NOX Ozone
                                                 paragraph (b)(9) of this section does not               determines to be necessary and the                     Season Group 3 allowances were
                                                 equal the total amount of allowances                    reasons for accepting or rejecting any                 allocated.
                                                 determined for the State and control                    objections submitted in accordance with                   (ii) If the non-recordation decision
                                                 period under paragraph (b)(1) of this                   paragraph (b)(11)(ii) of this section.                 under paragraph (c)(2) of this section or


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                                                 the deduction under paragraph (c)(3) of                 2023 and thereafter for a State listed in              (iii) of this section and for each control
                                                 this section occurs after May 1, 2024,                  § 52.38(b)(2)(iii)(B) or (C) of this chapter,          period described in paragraph (a)(3) of
                                                 and on or before May 1 of the year                      and for the CSAPR NOX Ozone Season                     this section will be an amount equal to
                                                 following the year of the control period                Group 3 units in each State and areas of               the unit’s total tons of NOX emissions
                                                 for which the CSAPR NOX Ozone                           Indian country within the borders of the               during the control period or, if less, any
                                                 Season Group 3 allowances were                          State (except, for the control periods in              applicable amount calculated under
                                                 allocated, the Administrator will                       2021 and 2022, areas of Indian country                 paragraph (a)(4)(ii) of this section.
                                                 transfer the CSAPR NOX Ozone Season                     within the borders of the State not                       (ii)(A) The allocation under paragraph
                                                 Group 3 allowances to the new unit set-                 subject to the State’s SIP authority), the             (a)(4)(i) of this section to a unit
                                                 aside for such control period for the                   Administrator will allocate CSAPR NOX                  described in paragraph (a)(4)(ii)(B) or
                                                 State from whose NOX Ozone Season                       Ozone Season Group 3 allowances to                     (C) of this section may not exceed a
                                                 Group 3 trading budget the CSAPR NOX                    the CSAPR NOX Ozone Season Group 3                     maximum controlled baseline
                                                 Ozone Season Group 3 allowances were                    units as follows:                                      calculated as the product (converted to
                                                 allocated.                                                 (1) * * *                                           tons at a conversion factor of 2,000 lb/
                                                    (iii) If the non-recordation decision                   (i) CSAPR NOX Ozone Season Group                    ton and rounded to the nearest ton) of
                                                 under paragraph (c)(2) of this section or               3 units that are not allocated an amount               the unit’s total heat input during the
                                                 the deduction under paragraph (c)(3) of                 of CSAPR NOX Ozone Season Group 3                      control period in mmBtu multiplied by
                                                 this section occurs after May 1, 2024,                  allowances for such control period in                  a NOX emissions rate of 0.08 lb/mmBtu.
                                                 and after May 1 of the year following the               the applicable notice of data availability                (B) For a control period in 2024
                                                 year of the control period for which the                referenced in § 97.1011(a)(1) or (2) and               through 2026, a maximum controlled
                                                 CSAPR NOX Ozone Season Group 3                          that have deadlines for certification of               baseline under paragraph (a)(4)(ii)(A) of
                                                 allowances were allocated, the                          monitoring systems under § 97.1030(b)                  this section shall apply to any unit
                                                 Administrator will transfer the CSAPR                   not later than September 30 of the year                combusting any coal or solid coal-
                                                 NOX Ozone Season Group 3 allowances                     of the control period; or                              derived fuel during the control period,
                                                 to a surrender account.                                    (ii) CSAPR NOX Ozone Season Group                   serving a generator with nameplate
                                                 ■ 66. Amend § 97.1012 by:                               3 units whose allocation of an amount                  capacity of 100 MW or more, and
                                                 ■ a. Revising paragraphs (a)                            of CSAPR NOX Ozone Season Group 3                      equipped with selective catalytic
                                                 introductory text and (a)(1)(i) and (ii);               allowances for such control period in                  reduction controls on or before
                                                 ■ b. Removing paragraphs (a)(1)(iii) and                the applicable notice of data availability             September 30 of the preceding control
                                                 (iv);                                                   referenced in § 97.1011(a)(1) or (2) is                period, except a circulating fluidized
                                                 ■ c. Revising paragraphs (a)(2) and                     covered by § 97.1011(c)(2) or (3).                     bed boiler.
                                                 (a)(3)(i);                                                 (2) The Administrator will establish a                 (C) For a control period in 2027 and
                                                 ■ d. In paragraph (a)(3)(ii), adding                    separate new unit set-aside for the State              thereafter, a maximum controlled
                                                 ‘‘and’’ after the semicolon;                            for each such control period. Each such                baseline under paragraph (a)(4)(ii)(A) of
                                                 ■ e. Revising paragraph (a)(3)(iii);                    new unit set-aside will be allocated                   this section shall apply to any unit
                                                 ■ f. Removing paragraph (a)(3)(iv);                     CSAPR NOX Ozone Season Group 3                         combusting any coal or solid coal-
                                                 ■ g. Revising paragraph (a)(4)(i);                      allowances in an amount equal to the                   derived fuel during the control period
                                                 ■ h. Redesignating paragraph (a)(4)(ii) as              applicable amount of tons of NOX                       and serving a generator with nameplate
                                                 paragraph (a)(4)(iii) and adding a new                  emissions as set forth in § 97.1010(c)                 capacity of 100 MW or more, except a
                                                 paragraph (a)(4)(ii);                                   and will be allocated additional CSAPR                 circulating fluidized bed boiler.
                                                 ■ i. Revising paragraphs (a)(5) and (10):               NOX Ozone Season Group 3 allowances                    *       *     *     *    *
                                                 ■ j. In paragraph (a)(11), removing                     (if any) in accordance with                               (5) The Administrator will calculate
                                                 ‘‘§ 97.1011(b)(1)(i), (ii), and (v), of’’ and           § 97.1011(c)(5) and paragraphs (b)(10)                 the sum of the allocation amounts of
                                                 adding in its place ‘‘paragraph (a)(13) of              and (c)(5) of this section.                            CSAPR NOX Ozone Season Group 3
                                                 this section, of’’;                                        (3) * * *                                           allowances determined for all such
                                                 ■ k. Adding paragraph (a)(13);                             (i) The control period in 2021, for a               CSAPR NOX Ozone Season Group 3
                                                 ■ l. Revising paragraphs (b) introductory               State listed in § 52.38(b)(2)(iii)(A) of this          units under paragraph (a)(4)(i) of this
                                                 text and (b)(1) and (2);                                chapter, or the control period in 2023,                section in the State and Indian country
                                                 ■ m. In paragraph (b)(5), removing                      for a State listed in § 52.38(b)(2)(iii)(B)            within the borders of the State (except,
                                                 ‘‘Indian country within the borders of                  or (C) of this chapter;                                for the control periods in 2021 and
                                                 the State’’ and adding in its place ‘‘areas                                                                    2022, areas of Indian country within the
                                                                                                         *       *     *     *     *
                                                 of Indian country within the borders of                                                                        borders of the State not subject to the
                                                                                                            (iii) For a unit described in paragraph
                                                 the State not subject to the State’s SIP                                                                       State’s SIP authority) for such control
                                                                                                         (a)(1)(ii) of this section, the first control
                                                 authority’’;                                                                                                   period.
                                                 ■ n. Revising paragraph (b)(10);
                                                                                                         period in which the CSAPR NOX Ozone
                                                 ■ o. In paragraph (b)(11), removing
                                                                                                         Season Group 3 unit operates in the                    *       *     *     *    *
                                                 ‘‘§ 97.1011(b)(2)(i), (ii), and (v), of’’ and           State and Indian country within the                       (10)(i) For a control period in 2021 or
                                                 adding in its place ‘‘paragraph (b)(13) of              borders of the State (except, for the                  2022, if, after completion of the
                                                 this section, of’’; and                                 control periods in 2021 and 2022, areas                procedures under paragraphs (a)(2)
                                                 ■ p. Adding paragraphs (b)(13) and (c).
                                                                                                         of Indian country within the borders of                through (7) and (12) of this section for
                                                    The revisions and additions read as                  the State not subject to the State’s SIP               a control period, any unallocated
                                                                                                         authority) after operating in another                  CSAPR NOX Ozone Season Group 3
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                                                 follows:
                                                                                                         jurisdiction and for which the unit is                 allowances remain in the new unit set-
                                                 § 97.1012 CSAPR NOX Ozone Season                        not already allocated one or more                      aside for the State for such control
                                                 Group 3 allowance allocations to new units.             CSAPR NOX Ozone Season Group 3                         period, the Administrator will allocate
                                                   (a) Allocations from new unit set-                    allowances.                                            to each CSAPR NOX Ozone Season
                                                 asides. For each control period in 2021                    (4)(i) The allocation to each CSAPR                 Group 3 unit that is in the State and
                                                 and thereafter for a State listed in                    NOX Ozone Season Group 3 unit                          areas of Indian country within the
                                                 § 52.38(b)(2)(iii)(A) of this chapter, or               described in paragraphs (a)(1)(i) through              borders of the State subject to the State’s


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                                                 SIP authority and is allocated an                       2021 and 2022, areas of Indian country                 aside for the State for each such control
                                                 amount of CSAPR NOX Ozone Season                        within the State not subject to the                    period. Each such Indian country new
                                                 Group 3 allowances for the control                      State’s SIP authority), in accordance                  unit set-aside will be allocated CSAPR
                                                 period in the applicable notice of data                 with paragraphs (a)(2) through (7), (10),              NOX Ozone Season Group 3 allowances
                                                 availability referenced in § 97.1011(a)(1)              and (12) of this section and                           in an amount equal to the applicable
                                                 an amount of CSAPR NOX Ozone                            §§ 97.1006(b)(2) and 97.1030 through                   amount of tons of NOX emissions as set
                                                 Season Group 3 allowances equal to the                  97.1035, for the control period in the                 forth in § 97.1010(d) and will be
                                                 following: The total amount of such                     year before the year of the applicable                 allocated additional CSAPR NOX Ozone
                                                 remaining unallocated CSAPR NOX                         calculation deadline under this                        Season Group 3 allowances (if any) in
                                                 Ozone Season Group 3 allowances in                      paragraph (a)(13)(i) and will promulgate               accordance with paragraph (c)(5) of this
                                                 such new unit set-aside, multiplied by                  a notice of data availability of the results           section.
                                                 the unit’s allocation under                             of the calculations.                                   *       *     *     *    *
                                                 § 97.1011(a)(1) for such control period,                   (ii) For each notice of data availability              (10) If, after completion of the
                                                 divided by the remainder of the amount                  required in paragraph (a)(13)(i) of this               procedures under paragraphs (b)(2)
                                                 of tons in the applicable State NOX                     section, the Administrator will provide                through (7) and (12) of this section for
                                                 Ozone Season Group 3 trading budget                     an opportunity for submission of                       a control period, any unallocated
                                                 minus the sum of the amounts of tons                    objections to the calculations referenced              CSAPR NOX Ozone Season Group 3
                                                 in such new unit set-aside and the                      in such notice. Objections shall be                    allowances remain in the Indian country
                                                 Indian country new unit set-aside for                   submitted by the deadline specified in                 new unit set-aside for the State for such
                                                 the State for such control period, and                  such notice and shall be limited to                    control period, the Administrator will
                                                 rounded to the nearest allowance.                       addressing whether the calculations                    transfer such unallocated CSAPR NOX
                                                    (ii) For a control period in 2023 or                 (including the identification of the                   Ozone Season Group 3 allowances to
                                                 thereafter, if, after completion of the                 CSAPR NOX Ozone Season Group 3                         the new unit set-aside for the State for
                                                 procedures under paragraphs (a)(2)                      units) are in accordance with the                      such control period.
                                                 through (7) and (12) of this section for                provisions referenced in paragraph
                                                                                                         (a)(13)(i) of this section.                            *       *     *     *    *
                                                 a control period, any unallocated                                                                                 (13)(i) By March 1, 2022, and March
                                                 CSAPR NOX Ozone Season Group 3                             (iii) The Administrator will adjust the
                                                                                                         calculations to the extent necessary to                1, 2023, the Administrator will calculate
                                                 allowances remain in the new unit set-                                                                         the CSAPR NOX Ozone Season Group 3
                                                 aside for the State for such control                    ensure that they are in accordance with
                                                                                                         the provisions referenced in paragraph                 allowance allocation to each CSAPR
                                                 period, the Administrator will allocate                                                                        NOX Ozone Season Group 3 unit in
                                                 to each CSAPR NOX Ozone Season                          (a)(13)(i) of this section. By May 1
                                                                                                         immediately after the promulgation of                  areas of Indian country within the
                                                 Group 3 unit that is in the State and                                                                          borders of a State not subject to the
                                                                                                         each notice of data availability required
                                                 Indian country within the borders of the                                                                       State’s SIP authority, in accordance with
                                                                                                         in paragraph (a)(13)(i) of this section,
                                                 State and is allocated an amount of                                                                            paragraphs (b)(2) through (7), (10), and
                                                                                                         the Administrator will promulgate a
                                                 CSAPR NOX Ozone Season Group 3                                                                                 (12) of this section and §§ 97.1006(b)(2)
                                                                                                         notice of data availability of the results
                                                 allowances for the control period by the                                                                       and 97.1030 through 97.1035, for the
                                                                                                         of the calculations incorporating any
                                                 Administrator in the applicable notice                                                                         control period in the year before the
                                                                                                         adjustments that the Administrator
                                                 of data availability referenced in                                                                             year of the applicable calculation
                                                                                                         determines to be necessary and the
                                                 § 97.1011(a)(1) or (2), or under a                                                                             deadline under this paragraph (b)(13)(i)
                                                                                                         reasons for accepting or rejecting any
                                                 provision of a SIP revision approved                                                                           and will promulgate a notice of data
                                                                                                         objections submitted in accordance with
                                                 under § 52.38(b)(10), (11), or (12) of this                                                                    availability of the results of the
                                                                                                         paragraph (a)(13)(ii) of this section.
                                                 chapter, an amount of CSAPR NOX                            (b) Allocations from Indian country                 calculations.
                                                 Ozone Season Group 3 allowances equal                   new unit set-asides. For the control                      (ii) For each notice of data availability
                                                 to the following: The total amount of                   periods in 2021 and 2022, for a State                  required in paragraph (b)(13)(i) of this
                                                 such remaining unallocated CSAPR                        listed in § 52.38(b)(2)(iii)(A) of this                section, the Administrator will provide
                                                 NOX Ozone Season Group 3 allowances                     chapter, and for the CSAPR NOX Ozone                   an opportunity for submission of
                                                 in such new unit set-aside, multiplied                  Season Group 3 units in areas of Indian                objections to the calculations referenced
                                                 by the unit’s allocation under                          country within the borders of each such                in such notice. Objections shall be
                                                 § 97.1011(a)(1) or (2) or a provision of a              State not subject to the State’s SIP                   submitted by the deadline specified in
                                                 SIP revision approved under                             authority, the Administrator will                      such notice and shall be limited to
                                                 § 52.38(b)(10), (11), or (12) of this                   allocate CSAPR NOX Ozone Season                        addressing whether the calculations
                                                 chapter for such control period, divided                Group 3 allowances to the CSAPR NOX                    (including the identification of the
                                                 by the remainder of the amount of tons                  Ozone Season Group 3 units as follows:                 CSAPR NOX Ozone Season Group 3
                                                 in the applicable State NOX Ozone                          (1) The CSAPR NOX Ozone Season                      units) are in accordance with the
                                                 Season Group 3 trading budget minus                     Group 3 allowances will be allocated to                provisions referenced in paragraph
                                                 the amount of tons in such new unit set-                CSAPR NOX Ozone Season Group 3                         (b)(13)(i) of this section.
                                                 aside for the State for such control                    units that are not allocated an amount                    (iii) The Administrator will adjust the
                                                 period, and rounded to the nearest                      of CSAPR NOX Ozone Season Group 3                      calculations to the extent necessary to
                                                 allowance.                                              allowances for such control period in                  ensure that they are in accordance with
                                                 *       *     *     *    *                              the applicable notice of data availability             the provisions referenced in paragraph
                                                    (13)(i) By March 1, 2022, and March
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                                                                                                         referenced in § 97.1011(a)(1) and that                 (b)(13)(i) of this section. By May 1
                                                 1 of each year thereafter, the                          have deadlines for certification of                    immediately after the promulgation of
                                                 Administrator will calculate the CSAPR                  monitoring systems under § 97.1030(b)                  each notice of data availability required
                                                 NOX Ozone Season Group 3 allowance                      not later than September 30 of the year                in paragraph (b)(13)(i) of this section,
                                                 allocation to each CSAPR NOX Ozone                      of the control period, except as provided              the Administrator will promulgate a
                                                 Season Group 3 unit in a State and                      in paragraph (b)(10) of this section.                  notice of data availability of the results
                                                 Indian country within the borders of the                   (2) The Administrator will establish a              of the calculations incorporating any
                                                 State (except, for the control periods in               separate Indian country new unit set-                  adjustments that the Administrator


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                                                 determines to be necessary and the                      with paragraphs (c)(2) and (3) of this                 CSAPR NOX Ozone Season Group 3
                                                 reasons for accepting or rejecting any                  section:                                               source’s compliance account the CSAPR
                                                 objections submitted in accordance with                     (i) If the non-recordation decision                NOX Ozone Season Group 3 allowances
                                                 paragraph (b)(13)(ii) of this section.                  under paragraph (c)(2) of this section or              allocated to the CSAPR NOX Ozone
                                                    (c) Incorrect allocations of CSAPR                   the deduction under paragraph (c)(3) of                Season Group 3 units at the source in
                                                 NOX Ozone Season Group 3 allowances                     this section occurs on or before May 1,                accordance with § 97.1011(a)(1) for the
                                                 to new units. (1) For each control period               2023, the Administrator will transfer the              control period in 2022.
                                                 in 2021 and thereafter, if the                          CSAPR NOX Ozone Season Group 3                         *      *      *     *   *
                                                 Administrator determines that CSAPR                     allowances to the new unit set-aside, in                  (d) By September 5, 2023, the
                                                 NOX Ozone Season Group 3 allowances                     the case of allowances allocated under                 Administrator will record in each
                                                 were allocated for the control period                   paragraph (a) of this section, or the                  CSAPR NOX Ozone Season Group 3
                                                 under paragraphs (a)(2) through (7) and                 Indian country new unit set-aside, in                  source’s compliance account the CSAPR
                                                 (12) of this section or paragraphs (b)(2)               the case of allowances allocated under                 NOX Ozone Season Group 3 allowances
                                                 through (7) and (12) of this section to a               paragraph (b) of this section, for the                 allocated to the CSAPR NOX Ozone
                                                 recipient that is not actually a CSAPR                  control period in 2021 or 2022 for the                 Season Group 3 units at the source in
                                                 NOX Ozone Season Group 3 unit under                     State from whose NOX Ozone Season                      accordance with § 97.1011(a)(1) for the
                                                 § 97.1004 as of the first day of such                   Group 3 trading budget the CSAPR NOX                   control period in 2023.
                                                 control period, then the Administrator                  Ozone Season Group 3 allowances were                      (e) By September 5, 2023, the
                                                 will notify the designated representative               allocated.                                             Administrator will record in each
                                                 of the recipient and will act in                            (ii) If the non-recordation decision               CSAPR NOX Ozone Season Group 3
                                                 accordance with the procedures set                      under paragraph (c)(2) of this section or              source’s compliance account the CSAPR
                                                 forth in paragraphs (c)(2) through (5) of               the deduction under paragraph (c)(3) of                NOX Ozone Season Group 3 allowances
                                                 this section.                                           this section occurs after May 1, 2023,                 allocated to the CSAPR NOX Ozone
                                                    (2) Except as provided in paragraph                  and on or before May 1, 2024, the                      Season Group 3 units at the source in
                                                 (c)(3) or (4) of this section, the                      Administrator will transfer the CSAPR                  accordance with § 97.1011(a)(1) for the
                                                 Administrator will not record such                      NOX Ozone Season Group 3 allowances                    control period in 2024, unless the State
                                                 CSAPR NOX Ozone Season Group 3                          to the new unit set-aside for the control              in which the source is located notifies
                                                 allowances under § 97.1021.                             period in 2023 for the State from whose                the Administrator in writing by August
                                                    (3) If the Administrator already                     NOX Ozone Season Group 3 trading                       4, 2023, of the State’s intent to submit
                                                 recorded such CSAPR NOX Ozone                           budget the CSAPR NOX Ozone Season                      to the Administrator a complete SIP
                                                 Season Group 3 allowances under                         Group 3 allowances were allocated.                     revision by September 1, 2023, meeting
                                                 § 97.1021 and if the Administrator                          (iii) If the non-recordation decision              the requirements of § 52.38(b)(10)(i)
                                                 makes the determination under                           under paragraph (c)(2) of this section or              through (iv) of this chapter.
                                                 paragraph (c)(1) of this section before                 the deduction under paragraph (c)(3) of                   (1) If, by September 1, 2023, the State
                                                 making deductions for the source that                   this section occurs after May 1, 2024,                 does not submit to the Administrator
                                                 includes such recipient under                           the Administrator will transfer the                    such complete SIP revision, the
                                                 § 97.1024(b) for such control period,                   CSAPR NOX Ozone Season Group 3                         Administrator will record by September
                                                 then the Administrator will deduct from                 allowances to a surrender account.                     15, 2023, in each CSAPR NOX Ozone
                                                 the account in which such CSAPR NOX                     ■ 67. Amend § 97.1021 by:                              Season Group 3 source’s compliance
                                                 Ozone Season Group 3 allowances were                    ■ a. In paragraph (a), removing                        account the CSAPR NOX Ozone Season
                                                 recorded an amount of CSAPR NOX                         ‘‘§ 97.1011(a)’’ and adding in its place               Group 3 allowances allocated to the
                                                 Ozone Season Group 3 allowances                         ‘‘§ 97.1011(a)(1)’’;                                   CSAPR NOX Ozone Season Group 3
                                                 allocated for the same or a prior control               ■ b. Revising paragraph (b);                           units at the source in accordance with
                                                 period equal to the amount of such                      ■ c. Removing and reserving paragraph                  § 97.1011(a)(1) for the control period in
                                                 already recorded CSAPR NOX Ozone                        (c);                                                   2024.
                                                 Season Group 3 allowances. The                          ■ d. Adding paragraphs (d) and (e);                       (2) If the State submits to the
                                                 authorized account representative shall                 ■ e. In paragraph (f), removing
                                                                                                                                                                Administrator by September 1, 2023,
                                                 ensure that there are sufficient CSAPR                  ‘‘§ 97.1011(a), or’’ and adding in its                 and the Administrator approves by
                                                 NOX Ozone Season Group 3 allowances                     place ‘‘§ 97.1011(a)(1), or’’;                         March 1, 2024, such complete SIP
                                                 in such account for completion of the                   ■ f. Redesignating paragraphs (g) and (h)
                                                                                                                                                                revision, the Administrator will record
                                                 deduction.                                              as paragraphs (i) and (j), respectively,               by March 1, 2024, in each CSAPR NOX
                                                    (4) If the Administrator already                     and adding new paragraphs (g) and (h);                 Ozone Season Group 3 source’s
                                                                                                         ■ g. Revising newly redesignated
                                                 recorded such CSAPR NOX Ozone                                                                                  compliance account the CSAPR NOX
                                                 Season Group 3 allowances under                         paragraph (i);                                         Ozone Season Group 3 allowances
                                                                                                         ■ h. In newly redesignated paragraph (j),
                                                 § 97.1021 and if the Administrator                                                                             allocated to the CSAPR NOX Ozone
                                                 makes the determination under                           removing ‘‘and May 1 of each year
                                                                                                                                                                Season Group 3 units at the source as
                                                 paragraph (c)(1) of this section after                  thereafter, the’’ and adding in its place
                                                                                                                                                                provided in such approved, complete
                                                 making deductions for the source that                   ‘‘, and May 1, 2023, the’’; and
                                                                                                                                                                SIP revision for the control period in
                                                                                                         ■ i. In paragraph (m), adding ‘‘or (e)’’
                                                 includes such recipient under                                                                                  2024.
                                                                                                         after ‘‘§ 97.811(d)’’ each time it appears.
                                                 § 97.1024(b) for such control period,                                                                             (3) If the State submits to the
                                                                                                             The revisions and addition read as
                                                 then the Administrator will not make                                                                           Administrator by September 1, 2023,
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                                                                                                         follows:
                                                 any deduction to take account of such                                                                          and the Administrator does not approve
                                                 already recorded CSAPR NOX Ozone                        § 97.1021 Recordation of CSAPR NOX                     by March 1, 2024, such complete SIP
                                                 Season Group 3 allowances.                              Ozone Season Group 3 allowance                         revision, the Administrator will record
                                                    (5) With regard to any CSAPR NOX                     allocations and auction results.                       by March 1, 2024, in each CSAPR NOX
                                                 Ozone Season Group 3 allowances that                    *    *    *     *     *                                Ozone Season Group 3 source’s
                                                 are not recorded, or that are deducted as                (b) By July 29, 2021, the                             compliance account the CSAPR NOX
                                                 an incorrect allocation, in accordance                  Administrator will record in each                      Ozone Season Group 3 allowances


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                                                 allocated to the CSAPR NOX Ozone                        calendar days in the control period and                emissions limitation established under
                                                 Season Group 3 units at the source in                   all CSAPR NOX Ozone Season Group 3                     this paragraph (c)(1) shall apply to a
                                                 accordance with § 97.1011(a)(1) for the                 units at the source to which the                       unit for a control period only if:
                                                 control period in 2024.                                 backstop daily NOX emissions rate                         (i) The unit is included for the control
                                                 *      *      *     *     *                             applies for the control period under                   period in a group of CSAPR NOX Ozone
                                                    (g) By September 5, 2023, the                        paragraph (b)(3) of this section, of any               Season Group 3 units at CSAPR NOX
                                                 Administrator will record in each                       amount by which a unit’s NOX                           Ozone Season Group 3 sources in a
                                                 CSAPR NOX Ozone Season Group 3                          emissions for a given calendar day in                  State (and Indian country within the
                                                 source’s compliance account the CSAPR                   pounds exceed the product in pounds of                 borders of such State) having a common
                                                 NOX Ozone Season Group 3 allowances                     the unit’s total heat input in mmBtu for               designated representative and the
                                                 allocated to the CSAPR NOX Ozone                        that calendar day multiplied by 0.14 lb/               owners and operators of such units and
                                                 Season Group 3 units at the source in                   mmBtu; or                                              sources are subject to a requirement for
                                                 accordance with § 97.1011(a)(2) for the                 *      *     *       *     *                           such control period to hold one or more
                                                 control periods in 2023 and 2024.                         (3) The backstop daily NOX emissions                 CSAPR NOX Ozone Season Group 3
                                                    (h) By July 1, 2024, and July 1 of each              rate of 0.14 lb/mmBtu applies as                       allowances under § 97.1006(c)(2)(i) and
                                                 year thereafter, the Administrator will                 follows:                                               paragraph (b) of this section with
                                                 record in each CSAPR NOX Ozone                             (i) For each control period in 2024                 respect to such group; and
                                                 Season Group 3 source’s compliance                      through 2029, the backstop daily NOX                      (ii) The unit was required to report
                                                 account the CSAPR NOX Ozone Season                      emissions rate shall apply to each                     NOX emissions and heat input data for
                                                 Group 3 allowances allocated to the                     CSAPR NOX Ozone Season Group 3 unit                    all or portions of at least 367 operating
                                                 CSAPR NOX Ozone Season Group 3                          combusting any coal or solid coal-                     hours during the control period and all
                                                 units at the source in accordance with                  derived fuel during the control period,                or portions of at least 367 operating
                                                 § 97.1011(a)(2) for the control period in               serving a generator with nameplate                     hours during at least one historical
                                                 the year after the year of the applicable               capacity of 100 MW or more, and                        control period under the CSAPR NOX
                                                 recordation deadline under this                         equipped with selective catalytic                      Ozone Season Group 1 Trading
                                                 paragraph (h).                                          reduction controls on or before                        Program, CSAPR NOX Ozone Season
                                                    (i) By May 1, 2022, and May 1 of each                September 30 of the preceding control                  Group 2 Trading Program, or CSAPR
                                                 year thereafter, the Administrator will                 period, except a circulating fluidized                 NOX Ozone Season Group 3 Trading
                                                 record in each CSAPR NOX Ozone                          bed boiler.                                            Program.
                                                                                                           (ii) For each control in 2030 and                       (2) The amount of the emissions
                                                 Season Group 3 source’s compliance
                                                                                                         thereafter, the backstop daily NOX                     limitation applicable to a CSAPR NOX
                                                 account the CSAPR NOX Ozone Season
                                                                                                         emissions rate shall apply to each                     Ozone Season Group 3 unit for a control
                                                 Group 3 allowances allocated to the
                                                                                                         CSAPR NOX Ozone Season Group 3 unit                    period under paragraph (c)(1) of this
                                                 CSAPR NOX Ozone Season Group 3
                                                                                                         combusting any coal or solid coal-                     section, in tons of NOX, shall be
                                                 units at the source in accordance with
                                                                                                         derived fuel during the control period                 calculated as the sum of 50 plus the
                                                 § 97.1012(a) for the control period in the
                                                                                                         and serving a generator with nameplate                 product (converted to tons at a
                                                 year before the year of the applicable                                                                         conversion factor of 2,000 lb/ton and
                                                 recordation deadline under this                         capacity of 100 MW or more, except a
                                                                                                         circulating fluidized bed boiler.                      rounded to the nearest ton) of
                                                 paragraph (i).                                                                                                 multiplying—
                                                 *      *      *     *     *                             *      *     *       *     *                              (i) The total heat input in mmBtu
                                                 ■ 68. Amend § 97.1024 by:                               ■ 69. Amend § 97.1025 by:                              reported for the unit for the control
                                                 ■ a. Revising the section heading;                      ■ a. Revising the section heading;                     period in accordance with §§ 97.1030
                                                 ■ b. In paragraphs (a) introductory text                ■ b. In paragraphs (a) introductory text,              through 97.1035; and
                                                 and (b) introductory text, adding                       (a)(2), (b)(1)(i), (b)(1)(ii)(A) and (B),                 (ii) A NOX emission rate of 0.10 lb/
                                                 ‘‘primary’’ before ‘‘emissions                          (b)(3), (b)(4)(i), (b)(5), (b)(6)(i), (b)(6)(iii)      mmBtu or, if higher, the product of 1.25
                                                 limitation’’;                                           introductory text, and (b)(6)(iii)(A) and              times the lowest seasonal average NOX
                                                 ■ c. Revising paragraph (b)(1);                         (B), removing ‘‘base CSAPR’’ and adding                emission rate in lb/mmBtu achieved by
                                                 ■ d. Adding paragraph (b)(3); and                       in its place ‘‘CSAPR’’ each time it                    the unit in any historical control period
                                                 ■ e. In paragraph (c)(2)(ii), adding ‘‘or               appears; and                                           for which the unit was required to
                                                 (e)’’ after ‘‘§ 97.826(d)’’.                            ■ c. Adding paragraph (c).                             report NOX emissions and heat input
                                                    The revisions and addition read as                      The revision and addition read as                   data for all or portions of at least 367
                                                 follows:                                                follows:                                               operating hours under the CSAPR NOX
                                                 § 97.1024 Compliance with CSAPR NOX                     § 97.1025 Compliance with CSAPR NOX                    Ozone Season Group 1 Trading
                                                 Ozone Season Group 3 primary emissions                  Ozone Season Group 3 assurance                         Program, CSAPR NOX Ozone Season
                                                 limitation; backstop daily NOX emissions                provisions; CSAPR NOX Ozone Season                     Group 2 Trading Program, or CSAPR
                                                 rate.                                                   Group 3 secondary emissions limitation.                NOX Ozone Season Group 3 Trading
                                                 *      *    *    *     *                                *      *     *     *     *                             Program, where the unit’s seasonal
                                                   (b) * * *                                                (c) CSAPR NOX Ozone Season Group                    average NOX emission rate for each such
                                                   (1) Until the amount of CSAPR NOX                     3 secondary emissions limitation. (1)                  historical control period shall be
                                                 Ozone Season Group 3 allowances                         The owner or operator of a CSAPR NOX                   calculated from such reported data as
                                                 deducted equals the sum of:                             Ozone Season Group 3 unit equipped                     the quotient (converted to lb/mmBtu at
                                                                                                                                                                a conversion factor of 2,000 lb/ton, and
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                                                   (i) The number of tons of total NOX                   with selective catalytic reduction
                                                 emissions from all CSAPR NOX Ozone                      controls or selective non-catalytic                    rounded to the nearest 0.0001 lb/
                                                 Season Group 3 units at the source for                  reduction controls shall not discharge,                mmBtu) of the unit’s total NOX
                                                 such control period; plus                               or allow to be discharged, emissions of                emissions in tons for the historical
                                                   (ii) Two times the excess, if any, over               NOX to the atmosphere during a control                 control period divided by the unit’s
                                                 50 tons of the sum (converted to tons at                period in excess of the tonnage amount                 total heat input in mmBtu for the
                                                 a conversion factor of 2,000 lb/ton and                 calculated in accordance with paragraph                historical control period.
                                                 rounded to the nearest ton), for all                    (c)(2) of this section, provided that the              ■ 70. Amend § 97.1026 by:



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                                                 ■ a. Revising the section heading and                      (B) 0.105, for a control period in 2030             account for purposes of such
                                                 paragraph (b);                                          and thereafter.                                        computation.
                                                 ■ b. In paragraph (c):                                     (3) If the total amount of CSAPR NOX                   (ii) Following a computation for a
                                                 ■ i. Removing ‘‘set forth in’’ and adding               Ozone Season Group 3 allowances                        group of general accounts in accordance
                                                 in its place ‘‘established under’’; and                 determined under paragraph (d)(2)(i) of                with paragraph (d)(4)(i) of this section,
                                                 ■ ii. Removing ‘‘State (or Indian’’ and                 this section exceeds the CSAPR NOX                     the Administrator will deduct from and
                                                 adding in its place ‘‘State (and Indian’’;              Ozone Season Group 3 allowance bank                    record in each individual account in
                                                 and                                                     ceiling target determined under                        such group a proportional share of the
                                                 ■ c. Adding paragraph (d).                              paragraph (d)(2)(ii) of this section, then             quantity of CSAPR NOX Ozone Season
                                                   The revision and addition read as                     for each compliance account or general                 Group 3 allowances computed for such
                                                 follows:                                                account holding CSAPR NOX Ozone                        group, basing such shares on the
                                                                                                         Season Group 3 allowances issued for                   respective quantities of CSAPR NOX
                                                 § 97.1026   Banking; bank recalibration.                control periods in years before the year               Ozone Season Group 3 allowances
                                                 *       *    *     *     *                              of the deadline under paragraph (d)(1)                 determined for such individual
                                                    (b) Any CSAPR NOX Ozone Season                       of this section, the Administrator will:               accounts under paragraph (d)(3)(i) of
                                                 Group 3 allowance that is held in a                        (i) Determine the total amount of                   this section.
                                                 compliance account or a general                         CSAPR NOX Ozone Season Group 3                            (iii) In determining the proportional
                                                 account will remain in such account                     allowances issued for control periods in               shares under paragraph (d)(4)(ii) of this
                                                 unless and until the CSAPR NOX Ozone                    years before the year of the deadline                  section, the Administrator may employ
                                                 Season Group 3 allowance is deducted                    under paragraph (d)(1) of this section                 any reasonable adjustment methodology
                                                 or transferred under § 97.1011(c),                      and held in the account.                               to truncate or round each such share up
                                                 § 97.1012(c), § 97.1023, § 97.1024,                        (ii) Determine the account’s share of
                                                                                                                                                                or down to a whole number and to
                                                 § 97.1025, § 97.1027, or § 97.1028 or                   the CSAPR NOX Ozone Season Group 3
                                                                                                                                                                cause the total of such whole numbers
                                                 paragraph (c) or (d) of this section.                   allowance bank ceiling target for the
                                                                                                                                                                to equal the amount of CSAPR NOX
                                                                                                         control period, calculated as the
                                                 *       *    *     *     *                                                                                     Ozone Season Group 3 allowances
                                                                                                         product, rounded up to the nearest
                                                    (d) Before the allowance transfer                                                                           computed for such group of accounts in
                                                                                                         allowance, of the CSAPR NOX Ozone
                                                 deadline for each control period in 2024                                                                       accordance with paragraph (d)(4)(i) of
                                                                                                         Season Group 3 allowance bank ceiling
                                                 and thereafter, the Administrator will                                                                         this section, even where such
                                                                                                         target determined under paragraph
                                                 deduct amounts of CSAPR NOX Ozone                       (d)(2)(ii) of this section multiplied by a             adjustments cause the numbers of
                                                 Season Group 3 allowances issued for                    fraction whose numerator is the total                  CSAPR NOX Ozone Season Group 3
                                                 the control periods in previous years                   amount of CSAPR NOX Ozone Season                       allowances remaining in some
                                                 exceeding the CSAPR NOX Ozone                           Group 3 allowances held in the account                 individual accounts following the
                                                 Season Group 3 allowance bank ceiling                   determined under paragraph (d)(3)(i) of                deductions to equal zero.
                                                 target for the control period in                        this section and whose denominator is                  ■ 71. Amend § 97.1030 by:
                                                 accordance with paragraphs (d)(1)                       the total amount of CSAPR NOX Ozone                    ■ a. Revising paragraph (b)(1); and
                                                 through (4) of this section.                            Season Group 3 allowances held in all                  ■ b. In paragraph (b)(3), removing
                                                    (1) As soon as practicable on or after               compliance and general accounts                        ‘‘(b)(2)’’ and adding in its place ‘‘(b)(1)
                                                 August 1, 2024, and August 1 of each                    determined under paragraph (d)(2)(i) of                or (2)’’ each time it appears.
                                                 year thereafter, the Administrator will                 this section.                                             The revision reads as follows:
                                                 temporarily suspend acceptance of                          (iii) Deduct an amount of CSAPR NOX
                                                 CSAPR NOX Ozone Season Group 3                          Ozone Season Group 3 allowances                        § 97.1030 General monitoring,
                                                 allowance transfers submitted under                                                                            recordkeeping, and reporting requirements.
                                                                                                         issued for control periods in years
                                                 § 97.1022 and, before resuming                          before the year of the deadline under                  *       *   *      *     *
                                                 acceptance of such transfers, will take                 paragraph (d)(1) of this section equal to                 (b) * * *
                                                 the actions in paragraphs (d)(2) through                any positive remainder of the total                       (1)(i) May 1, 2021, for a unit in a State
                                                 (4) of this section.                                    amount of CSAPR NOX Ozone Season                       (and Indian country within the borders
                                                    (2) The Administrator will determine                 Group 3 allowances held in the account                 of such State) listed in
                                                 each of the following values:                           determined under paragraph (d)(3)(i) of                § 52.38(b)(2)(iii)(A) of this chapter;
                                                    (i) The total amount of CSAPR NOX                    this section minus the account’s share of                 (ii) May 1, 2023, for a unit in a State
                                                 Ozone Season Group 3 allowances                         the CSAPR NOX Ozone Season Group 3                     (and Indian country within the borders
                                                 issued for control periods in years                     allowance bank ceiling target for the                  of such State) listed in
                                                 before the year of the deadline under                   control period determined under                        § 52.38(b)(2)(iii)(B) of this chapter;
                                                 paragraph (d)(1) of this section and held               paragraph (d)(3)(ii) of this section. The                 (iii) August 4, 2023, for a unit in a
                                                 in all compliance and general accounts.                 allowances will be deducted on a first-                State (and Indian country within the
                                                    (ii) The CSAPR NOX Ozone Season                      in, first-out basis in the order set forth             borders of such State) listed in
                                                 Group 3 allowance bank ceiling target                   in § 97.1024(c)(2)(i) and (ii).                        § 52.38(b)(2)(iii)(C) of this chapter,
                                                 for the control period in the year of the                  (iv) Record the deductions under                    where the unit is required to report NOX
                                                 deadline under paragraph (d)(1) of this                 paragraph (d)(3)(iii) of this section in               mass emissions data or NOX emissions
                                                 section, calculated as the product,                     the account.                                           rate data according to 40 CFR part 75 to
                                                 rounded to the nearest allowance, of the                   (4)(i) In computing any amounts of                  address other regulatory requirements;
                                                 sum for all States listed in                            CSAPR NOX Ozone Season Group 3                         or
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                                                 § 52.38(b)(2)(iii) of this chapter of the               allowances to be deducted from general                    (iv) January 31, 2024, for a unit in a
                                                 State NOX Ozone Season Group 3                          accounts under paragraph (d)(3) of this                State (and Indian country within the
                                                 trading budgets under § 97.1010(a) for                  section, the Administrator may group                   borders of such State) listed in
                                                 such States for such control period                     multiple general accounts whose                        § 52.38(b)(2)(iii)(C) of this chapter,
                                                 multiplied by—                                          ownership interests are held by the                    where the unit is not required to report
                                                    (A) 0.210, for a control period in 2024              same or related persons or entities and                NOX mass emissions data or NOX
                                                 through 2029; or                                        treat the group of accounts as a single                emissions rate data according to 40 CFR


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                                                 part 75 to address other regulatory                     § 97.1034    Recordkeeping and reporting.              within the borders of such State) listed
                                                 requirements.                                           *      *    *     *      *                             in § 52.38(b)(2)(iii)(B) of this chapter; or
                                                 *     *     *    *     *                                   (d) * * *                                             (C) The calendar quarter covering
                                                 ■ 72. Amend § 97.1034 by:                                  (2) * * *                                           August 4, 2023, through June 30, 2023,
                                                 ■ a. Revising paragraph (d)(2)(i); and                     (i)(A) The calendar quarter covering                for a unit in a State (and Indian country
                                                 ■ b. In paragraph (d)(4), removing ‘‘or                 May 1, 2021, through June 30, 2021, for                within the borders of such State) listed
                                                 CSAPR SO2 Group 1 Trading Program,                      a unit in a State (and Indian country                  in § 52.38(b)(2)(iii)(C) of this chapter;
                                                 quarterly’’ and adding in its place                     within the borders of such State) listed
                                                 ‘‘CSAPR SO2 Group 1 Trading Program,                    in § 52.38(b)(2)(iii)(A) of this chapter;              *     *     *     *      *
                                                                                                                                                                [FR Doc. 2023–05744 Filed 6–2–23; 8:45 am]
                                                 or CSAPR SO2 Group 2 Trading                               (B) The calendar quarter covering May
                                                 Program, quarterly’’.                                   1, 2023, through June 30, 2023, for a                  BILLING CODE 6560–50–P
                                                    The revision reads as follows:                       unit in a State (and Indian country
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                                      (D.C. Cir.)

                                      Exhibit B

   Air Plan Disapprovals; Interstate Transport for Air Pollution for the 2015 8-Hour
         Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 9,336
                                    (Feb. 13, 2023)
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                                              ENVIRONMENTAL PROTECTION                                 See the memo ‘‘Regional Dockets                       support the proposals that are now
                                              AGENCY                                                   Containing Additional Supporting                      being finalized in this national action.
                                                                                                       Materials for Final Action on 2015                    These include all public comments,
                                              40 CFR Part 52                                           Ozone NAAQS Good Neighbor SIP                         technical support materials, and other
                                              [EPA–HQ–OAR–2021–0663; EPA–R02–                          Submissions’’ in the docket for this                  files associated with this final action.
                                              OAR–2021–0673; EPA–R03–OAR–2021–                         action. All documents in the dockets are              Each regional docket contains a
                                              0872; EPA–R03–OAR–2021–0873; EPA–                        listed on the https://                                memorandum directing the public to the
                                              R04–OAR–2021–0841; EPA–R05–OAR–                          www.regulations.gov website. Although                 headquarters docket for this final action.
                                              2022–0006; EPA–R06–OAR–2021–0801;                        listed in the index, some information is              While all documents in regional dockets
                                              EPA–R07–OAR–2021–0851; EPA–R08–                          not publicly available, i.e., confidential            are listed in the electronic indexes at
                                              OAR–2022–0315; EPA–R09–OAR–2022–                         business information (CBI) or other                   https://www.regulations.gov, some
                                              0394; EPA–R09–OAR–2022–0138; FRL–                        information whose disclosure is                       information may not be publicly
                                              10209–01–OAR]                                            restricted by statute. Certain other                  available via the online dockets due to
                                                                                                       material, such as copyrighted material,               docket file size restrictions, such as
                                              Air Plan Disapprovals; Interstate
                                                                                                       is not placed on the internet and will be             certain modeling files, or content (e.g.,
                                              Transport of Air Pollution for the 2015
                                                                                                       publicly available only in hard copy                  CBI). Please contact the EPA Docket
                                              8-Hour Ozone National Ambient Air
                                                                                                       form. Publicly available docket                       Center Services for further information.
                                              Quality Standards
                                                                                                       materials are available through https://
                                              AGENCY: Environmental Protection                         www.regulations.gov or please contact                 B. How is the preamble organized?
                                              Agency (EPA).                                            the person identified in the FOR FURTHER              Table of Contents
                                              ACTION: Final rule; final agency action.                 INFORMATION CONTACT section for
                                                                                                                                                             I. General Information
                                                                                                       additional information.                                  A. How can I get copies of this document
                                              SUMMARY: Pursuant to the Federal Clean                   FOR FURTHER INFORMATION CONTACT:                            and other related information?
                                              Air Act (CAA or the Act), the                            General questions concerning this                        B. How is the preamble organized?
                                              Environmental Protection Agency (EPA                     document should be addressed to Mr.                      C. Where do I go if I have state-specific
                                              or the Agency) is finalizing the                         Thomas Uher, Office of Air Quality                          questions?
                                              disapproval of State Implementation                      Planning and Standards, Air Quality                   II. Background and Overview
                                              Plan (SIP) submissions for 19 states                                                                              A. Description of Statutory Background
                                                                                                       Policy Division, Mail Code C539–04,                      B. Description of the EPA’s 4-Step
                                              regarding interstate transport and                       109 TW Alexander Drive, Research                            Interstate Transport Framework
                                              finalizing a partial approval and partial                Triangle Park, NC 27711; telephone                       C. Background on the EPA’s Ozone
                                              disapproval of elements of the SIP                       number: (919) 541–5534; email address:                      Transport Modeling Information
                                              submission for two states for the 2015                   uher.thomas@epa.gov.                                     D. The EPA’s Approach to Evaluating
                                              8-hour ozone national ambient air                        SUPPLEMENTARY INFORMATION:                                  Interstate Transport SIPs for the 2015 8-
                                              quality standards (NAAQS). The ‘‘good                                                                                Hour Ozone NAAQS
                                                                                                       Throughout this document ‘‘we,’’ ‘‘us,’’
                                              neighbor’’ or ‘‘interstate transport’’                                                                         III. The EPA’s Updated Air Quality and
                                                                                                       and ‘‘our’’ refer to the EPA.                               Contribution Analysis
                                              provision requires that each state’s SIP                    References to section numbers in                      A. Description of Air Quality Modeling for
                                              contain adequate provisions to prohibit                  roman numeral refer to sections of this                     the Final Action
                                              emissions from within the state from                     preamble unless otherwise specified.                     B. Air Quality Modeling To Identify
                                              significantly contributing to                                                                                        Nonattainment and Maintenance
                                              nonattainment or interfering with                        I. General Information                                      Receptors
                                              maintenance of the NAAQS in other                        A. How can I get copies of this                          C. Air Quality Modeling To Quantify
                                              states. This requirement is part of the                  document and other related                                  Upwind State Contributions
                                              broader set of ‘‘infrastructure’’                                                                              IV. Summary of Bases for Disapproval
                                                                                                       information?                                             A. Alabama
                                              requirements, which are designed to
                                                                                                         The EPA established a Headquarters                     B. Arkansas
                                              ensure that the structural components of                                                                          C. California
                                                                                                       docket for this action under Docket ID
                                              each state’s air quality management                                                                               D. Illinois
                                                                                                       No. EPA–HQ–OAR–2021–0663 and
                                              program are adequate to meet the state’s                                                                          E. Indiana
                                                                                                       several regional dockets. All documents
                                              responsibilities under the CAA.                                                                                   F. Kentucky
                                                                                                       in the docket are listed in the electronic               G. Louisiana
                                              Disapproving a SIP submission
                                                                                                       indexes, which, along with publicly                      H. Maryland
                                              establishes a 2-year deadline for the
                                                                                                       available documents, are available at                    I. Michigan
                                              EPA to promulgate Federal
                                                                                                       https://www.regulations.gov. Publicly                    J. Minnesota
                                              Implementation Plans (FIPs) to address                                                                            K. Mississippi
                                                                                                       available docket materials are also
                                              the relevant requirements, unless the                                                                             L. Missouri
                                                                                                       available in hard copy at the Air and
                                              EPA approves a subsequent SIP                                                                                     M. Nevada
                                                                                                       Radiation Docket and Information
                                              submission that meets these                                                                                       N. New Jersey
                                                                                                       Center, EPA/DC, William Jefferson
                                              requirements. Disapproval does not start                                                                          O. New York
                                                                                                       Clinton West Building, Room 3334,                        P. Ohio
                                              a mandatory sanctions clock. The EPA
                                                                                                       1301 Constitution Avenue NW,                             Q. Oklahoma
                                              is deferring final action at this time on
                                                                                                       Washington, DC. Some information in                      R. Texas
                                              the disapprovals it proposed for
                                                                                                       the docket may not be publicly available                 S. Utah
                                              Tennessee and Wyoming.                                                                                            T. West Virginia
                                                                                                       via the online docket due to docket file
                                              DATES: The effective date of this final                  size restrictions, such as certain                       U. Wisconsin
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                                              rule is March 15, 2023.                                  modeling files, or content (e.g., CBI). For           V. Response to Key Comments
                                              ADDRESSES: The EPA has established a                                                                              A. SIP Evaluation Process
                                                                                                       further information on the EPA Docket
                                                                                                                                                                B. Application of the 4-Step Interstate
                                              docket for this action under Docket ID                   Center services and the current status,                     Transport Framework
                                              No. EPA–HQ–OAR–2021–0663.                                please visit us online at https://                       C. Good Neighbor Provision Policy
                                              Additional supporting materials                          www.epa.gov/dockets.                                  VI. Statutory and Executive Orders Reviews
                                              associated with this final action are                      The EPA also established dockets in                    A. Executive Orders 12866: Regulatory
                                              included in certain regional dockets.                    each of the EPA Regional offices to help                    Planning and Executive Order 13563:



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                                                   Improving Regulation and Regulatory                   G. Executive Order 13045: Protection of               K. Congressional Review Act (CRA)
                                                   Review                                                   Children From Environmental Health                 L. Judicial Review
                                                 B. Paperwork Reduction Act (PRA)                           and Safety Risks
                                                 C. Regulatory Flexibility Act (RFA)                     H. Executive Order 13211: Actions That              C. Where do I go if I have state-specific
                                                                                                            Significantly Affect Energy Supply,              questions?
                                                 D. Unfunded Mandates Reform Act of 1995
                                                                                                            Distribution or Use
                                                   (UMRA)                                                I. National Technology Transfer and                   The following table identifies the
                                                 E. Executive Order 13132: Federalism                       Advancement Act (NTTAA)                          states covered by this final action along
                                                 F. Executive Order 13175: Consultation                  J. Executive Order 12898: Federal Actions
                                                   and Coordination With Indian Tribal
                                                                                                                                                             with an EPA Regional office contact
                                                                                                            To Address Environmental Justice in
                                                   Governments                                              Minority Populations and Low-Income              who can respond to questions about
                                                                                                            Populations                                      specific SIP submissions.

                                                                                                       Regional offices                                                                      States

                                              EPA Region 2: Kenneth Fradkin, Air and Radiation Division/Air Programs Branch, EPA Region 2, 290 Broadway,                         New Jersey, New York.
                                               25th Floor, New York, NY 10007.
                                              EPA Region 3: Mike Gordon, Planning and Implementation Branch, EPA Region III, 1600 JFK Boulevard, Phila-                          Maryland, West Virginia.
                                               delphia, Pennsylvania 19103.
                                              EPA Region 4: Evan Adams, Air and Radiation Division/Air Planning and Implementation Branch, EPA Region IV,                        Alabama, Kentucky, Mis-
                                               61 Forsyth Street SW, Atlanta, Georgia 30303.                                                                                       sissippi.
                                              EPA Region 5: Olivia Davidson, Air & Radiation Division/Air Programs Branch, EPA Region V, 77 W. Jackson                           Indiana, Illinois, Michigan,
                                               Boulevard, Chicago, Illinois 60604–3511.                                                                                            Minnesota, Ohio, Wis-
                                                                                                                                                                                   consin.
                                              EPA Region 6: Sherry Fuerst, Air and Radiation Division, EPA Region 6, 1201 Elm Street, Suite 500, Dallas,                         Arkansas, Louisiana, Okla-
                                               Texas 75270.                                                                                                                        homa, Texas.
                                              EPA Region 7: William Stone, Air and Radiation Division, Air Quality Planning Branch, EPA Region VII, 11201                        Missouri.
                                               Renner Boulevard, Lenexa, Kansas 66219.
                                              EPA Region 8: Adam Clark, Air and Radiation Division, EPA, Region VIII, Mailcode 8ARD–IO, 1595 Wynkoop                             Utah.
                                               Street, Denver, Colorado 80202.
                                              EPA Region 9: Tom Kelly, Air and Radiation Division, EPA Region IX, 75 Hawthorne St., San Francisco, Cali-                         California, Nevada.
                                               fornia 94105.



                                              II. Background and Overview                              transport’’ provision, which generally                On May 24, 2022, the EPA proposed to
                                                 The following provides background                     requires SIPs to contain adequate                     disapprove four additional good
                                              for the EPA’s final action on these SIP                  provisions to prohibit in-state emissions             neighbor SIP submissions from the
                                              submissions related to the interstate                    activities from having certain adverse                States of California, Nevada, Utah, and
                                              transport requirements for the 2015 8-                   air quality effects on other states due to            Wyoming.6 On October 25, 2022, the
                                              hour ozone NAAQS (2015 ozone                             interstate transport of pollution. There              EPA proposed to disapprove a new good
                                              NAAQS).                                                  are two so-called ‘‘prongs’’ within CAA               neighbor SIP submission from Alabama
                                                                                                       section 110(a)(2)(D)(i)(I). A SIP for a               submitted on June 21, 2022.7 The EPA
                                              A. Description of Statutory Background                   new or revised NAAQS must contain                     is deferring action on the proposals
                                                On October 1, 2015, the EPA                            adequate provisions prohibiting any                   related to the good neighbor SIP
                                              promulgated a revision to the ozone                      source or other type of emissions                     submissions from Tennessee and
                                              NAAQS (2015 ozone NAAQS), lowering                       activity within the state from emitting               Wyoming at this time. As explained in
                                              the level of both the primary and                        air pollutants in amounts that will                   the notifications of proposed
                                              secondary standards to 0.070 parts per                   significantly contribute to                           disapproval, the EPA’s justification for
                                              million (ppm) for the 8-hour standard.1                  nonattainment of the NAAQS in another                 each of these proposals applies uniform,
                                              Section 110(a)(1) of the CAA requires                    state (prong 1) or interfere with                     nationwide analytical methods, policy
                                              states to submit, within 3 years after                   maintenance of the NAAQS in another                   judgments, and interpretation with
                                              promulgation of a new or revised                         state (prong 2). The EPA and states must              respect to the same CAA obligations,
                                              standard, SIP submissions 2 meeting the                  give independent significance to prong                i.e., implementation of good neighbor
                                              applicable requirements of section                       1 and prong 2 when evaluating                         requirements under CAA section
                                              110(a)(2).3 One of these applicable                      downwind air quality problems under                   110(a)(2)(D)(i)(I) for the 2015 ozone
                                              requirements is found in CAA section                     CAA section 110(a)(2)(D)(i)(I).4                      NAAQS for states across the country.
                                              110(a)(2)(D)(i)(I), otherwise known as                      On February 22, 2022, the EPA
                                                                                                                                                             The EPA’s final action is likewise based
                                              the ‘‘good neighbor’’ or ‘‘interstate                    proposed to disapprove 19 good
                                                                                                                                                             on this common core of determinations.
                                                                                                       neighbor SIP submissions from the
                                                                                                                                                             As indicated at proposal, the EPA is
                                                 1 National Ambient Air Quality Standards for          States of Alabama, Arkansas, Illinois,
                                                                                                                                                             taking a consolidated, single final action
                                              Ozone, Final Rule, 80 FR 65292 (October 26, 2015).       Indiana, Kentucky, Louisiana,
                                              Although the level of the standard is specified in       Maryland, Michigan, Minnesota,
                                              the units of ppm, ozone concentrations are also                                                                (February 22, 2022) (Kentucky); 87 FR 9484
                                              described in parts per billion (ppb). For example,
                                                                                                       Mississippi, Missouri, New Jersey, New                (February 22, 2022) (New Jersey, New York); 87 FR
                                              0.070 ppm is equivalent to 70 ppb.                       York, Ohio, Oklahoma, Tennessee,                      9463 (February 22, 2022) (Maryland); 87 FR 9533
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                                                 2 The terms ‘‘submission,’’ ‘‘revision,’’ and         Texas, West Virginia, and Wisconsin.5                 (February 22, 2022) (Missouri); 87 FR 9516
                                              ‘‘submittal’’ are used interchangeably in this                                                                 (February 22, 2022) (West Virginia).
                                              document.                                                  4 See North Carolina v. EPA, 531 F.3d 896, 909–       6 87 FR 31443 (May 24, 2022) (California); 87 FR
                                                 3 SIP revisions that are intended to meet the         11 (D.C. Cir. 2008) (North Carolina).                 31485 (May 24, 2022) (Nevada); 87 FR 31470 (May
                                              applicable requirements of section 110(a)(1) and (2)       5 87 FR 9545 (February 22, 2022) (Alabama,          24, 2022) (Utah); 87 FR 31495 (May 24, 2022)
                                              of the CAA are often referred to as infrastructure       Mississippi, Tennessee); 87 FR 9798 (February 22,     (Wyoming).
                                              SIPs and the applicable elements under CAA               2022) (Arkansas, Louisiana, Oklahoma, Texas); 87        7 87 FR 64412 (October 25, 2022) (Alabama).

                                              section 110(a)(2) are referred to as infrastructure      FR 9838 (February 22, 2022) (Illinois, Indiana,       Alabama withdrew its original good neighbor SIP
                                              requirements.                                            Michigan, Minnesota, Ohio, Wisconsin); 87 FR 9498     submission on April 21, 2022. Id. at 64419.



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                                              on the proposed SIP disapprovals.8                       stakeholders on EPA’s prior interstate                C. Background on the EPA’s Ozone
                                              Included in this document is final                       transport rulemakings and SIP actions,13              Transport Modeling Information
                                              action on 2015 ozone NAAQS interstate                    as well as a number of court decisions,                  In general, the EPA has performed
                                              transport SIPs addressing CAA section                    the EPA has developed and used the                    nationwide air quality modeling to
                                              110(a)(2)(D)(i)(I) for Alabama, Arkansas,                following 4-step interstate transport                 project ozone design values, which are
                                              California, Illinois, Indiana, Kentucky,                 framework to evaluate a state’s                       used in combination with measured
                                              Louisiana, Maryland, Michigan,                           obligations to eliminate interstate                   data to identify nonattainment and
                                              Minnesota, Mississippi, Missouri,                        transport emissions under the interstate              maintenance receptors at Step 1. To
                                              Nevada, New Jersey, New York, Ohio,                      transport provision for the ozone                     quantify the contribution of emissions
                                              Oklahoma, Texas, Utah, West Virginia,                    NAAQS: (1) Identify monitoring sites                  from specific upwind states on 2023
                                              and Wisconsin. The 2015 ozone NAAQS                      that are projected to have problems                   ozone design values for the identified
                                              interstate transport SIP submissions                     attaining and/or maintaining the                      downwind nonattainment and
                                              addressing CAA section                                                                                         maintenance receptors at Step 2, the
                                                                                                       NAAQS (i.e., nonattainment and/or
                                              110(a)(2)(D)(i)(I) for Tennessee and                                                                           EPA performed nationwide, state-level
                                                                                                       maintenance receptors); (2) identify
                                              Wyoming will be addressed in a                                                                                 ozone source apportionment modeling
                                              separate action.                                         states that impact those air quality
                                                                                                       problems in other (i.e., downwind)                    for 2023. The source apportionment
                                              B. Description of the EPA’s 4-Step                       states sufficiently such that the states              modeling projected contributions to
                                              Interstate Transport Framework                           are considered ‘‘linked’’ and therefore               ozone at receptors from precursor
                                                                                                       warrant further review and analysis; (3)              emissions of anthropogenic nitrogen
                                                 The EPA used a 4-step interstate
                                                                                                       identify the emissions reductions                     oxides (NOX) and volatile organic
                                              transport framework (or 4-step
                                                                                                                                                             compounds (VOCs) in individual
                                              framework) to evaluate each state’s                      necessary (if any), applying a
                                                                                                                                                             upwind states.
                                              implementation plan submission                           multifactor analysis, to eliminate each                  The EPA has released several
                                              addressing the interstate transport                      linked upwind state’s significant                     documents containing projected design
                                              provision for the 2015 ozone NAAQS.                      contribution to nonattainment or                      values, contributions, and information
                                              The EPA has addressed the interstate                     interference with maintenance of the                  relevant to air agencies for evaluating
                                              transport requirements of CAA section                    NAAQS at the locations identified in                  interstate transport with respect to the
                                              110(a)(2)(D)(i)(I) with respect to prior                 Step 1; and (4) adopt permanent and                   2015 ozone NAAQS. First, on January 6,
                                              NAAQS in several regulatory actions,                     enforceable measures needed to achieve                2017, the EPA published a notice of data
                                              including the Cross-State Air Pollution                  those emissions reductions.                           availability (NODA) in which the
                                              Rule (CSAPR), which addressed                                                                                  Agency requested comment on
                                              interstate transport with respect to the                    The general steps of this framework
                                                                                                       allow for some methodological                         preliminary interstate ozone transport
                                              1997 ozone NAAQS as well as the 1997                                                                           data including projected ozone design
                                              and 2006 fine particulate matter                         variation, and this can be seen in the
                                                                                                       evolution of the EPA’s analytical                     values and interstate contributions for
                                              standards,9 the Cross-State Air Pollution                                                                      2023 using a 2011 base year platform.14
                                              Rule Update (CSAPR Update) 10 and the                    process across its prior rulemakings.
                                                                                                       This also means states have some                      In the NODA, the EPA used the year
                                              Revised CSAPR Update, both of which                                                                            2023 as the analytic year for this
                                              addressed the 2008 ozone NAAQS.11                        flexibility in developing analytical
                                                                                                                                                             preliminary modeling because that year
                                                 Shaped through the years by input                     methods within this framework (and
                                                                                                                                                             aligns with the expected attainment year
                                              from state air agencies 12 and other                     may also attempt to justify an
                                                                                                                                                             for Moderate ozone nonattainment areas
                                                                                                       alternative framework altogether). The                for the 2015 ozone NAAQS.15 On
                                                 8 In its proposals, the EPA stated ‘‘The EPA may
                                                                                                       four steps of the framework simply                    October 27, 2017, the EPA released a
                                              take a consolidated, single final action on all the      provide a reasonable organization to the
                                              proposed SIP disapproval actions with respect to                                                               memorandum (October 2017
                                              obligations under CAA section 110(a)(2)(D)(i)(I) for     analysis of the complex air quality                   memorandum) containing updated
                                              the 2015 ozone NAAQS. Should EPA take a single           challenge of interstate ozone transport.              modeling data for 2023, which
                                              final action on all such disapprovals, this action       As discussed further throughout this
                                              would be nationally applicable, and the EPA would                                                              incorporated changes made in response
                                              also anticipate, in the alternative, making and
                                                                                                       document, the EPA has organized its                   to comments on the NODA, and was
                                              publishing a finding that such final action is based     evaluation of the states’ SIP submissions             intended to provide information to
                                              on a determination of nationwide scope or effect.’’      around this analytical framework                      assist states’ efforts to develop SIP
                                              E.g., 87 FR 9463, 9475 n.51.                             (including the specific methodologies
                                                 9 See Federal Implementation Plans: Interstate
                                                                                                                                                             submissions to address interstate
                                              Transport of Fine Particulate Matter and Ozone and
                                                                                                       within each step as evolved over the                  transport obligations for the 2008 ozone
                                              Correction of SIP Approvals, 76 FR 48208 (August         course of the CSAPR rulemakings since                 NAAQS.16 On March 27, 2018, the EPA
                                              8, 2011).                                                2011), but where states presented                     issued a memorandum (March 2018
                                                 10 Cross-State Air Pollution Rule Update for the
                                                                                                       alternative approaches either to the                  memorandum) noting that the same
                                              2008 Ozone NAAQS, 81 FR 74504 (October 26,               EPA’s methodological approaches
                                              2016).                                                                                                         2023 modeling data released in the
                                                 11 In 2019, the United States Court of Appeals for    within the framework, or organized
                                              the District of Columbia Circuit (D.C. Circuit)          their analysis in some manner that                      14 See Notice of Availability of the Environmental

                                              remanded CSAPR Update to the extent it failed to         differed from it entirely, we have                    Protection Agency’s Preliminary Interstate Ozone
                                              require upwind states to eliminate their significant                                                           Transport Modeling Data for the 2015 8-hour Ozone
                                                                                                       evaluated those analyses on their merits              National Ambient Air Quality Standard (NAAQS),
                                              contribution by the next applicable attainment date
                                              by which downwind states must come into                  or, in some cases, identified why even                82 FR 1733 (January 6, 2017).
                                              compliance with the NAAQS, as established under          if those approaches were acceptable, the                15 See 82 FR 1733, 1735 (January 6, 2017).
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                                              CAA section 181(a). Wisconsin v. EPA, 938 F.3d           state still does not have an approvable                 16 See Information on the Interstate Transport
                                              303, 313 (D.C. Cir. 2019) (Wisconsin). The Revised                                                             State Implementation Plan Submissions for the
                                              CSAPR Update for the 2008 Ozone NAAQS, 86 FR
                                                                                                       SIP submission as a whole.
                                                                                                                                                             2008 Ozone National Ambient Air Quality
                                              23054 (April 30, 2021), responded to the remand of                                                             Standards under Clean Air Act Section
                                              CSAPR Update in Wisconsin and the vacatur of a             13 In addition to CSAPR rulemakings, other          110(a)(2)(D)(i)(I), October 27, 2017 (‘‘October 2017
                                              separate rule, the ‘‘CSAPR Close-Out,’’ 83 FR 65878      regional rulemakings addressing ozone transport       memorandum’’), available in Docket No. EPA–HQ–
                                              (December 21, 2018), in New York v. EPA, 781 F.          include the ‘‘NOX SIP Call,’’ 63 FR 57356 (October    OAR–2021–0663 or at https://www.epa.gov/
                                              App’x. 4 (D.C. Cir. 2019).                               27, 1998), and the ‘‘Clean Air Interstate Rule’’      interstate-air-pollution-transport/interstate-air-
                                                 12 See 63 FR 57356, 57361 (October 27, 1998).         (CAIR), 70 FR 25162 (May 12, 2005).                   pollution-transport-memos-and-notices.



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                                              October 2017 memorandum could also                       joint effort by the EPA, MJOs, and states             and technically appropriate information
                                              be useful for identifying potential                      to develop a new, more recent emissions               for the proposed rulemakings that were
                                              downwind air quality problems with                       platform for use by the EPA and states                issued earlier in 2022.
                                              respect to the 2015 ozone NAAQS at                       in regulatory modeling as an                             The EPA invited and received
                                              Step 1 of the 4-step interstate transport                improvement over the dated, 2011-                     comments on the 2016v2 emissions
                                              framework.17 The March 2018                              based platform that the EPA had used to               inventories and modeling that were
                                              memorandum also included the then                        project ozone design values and                       used to support proposals related to
                                              newly available contribution modeling                    contribution data provided in the 2017                2015 ozone NAAQS interstate transport.
                                              data for 2023 to assist states in                        and 2018 memoranda. The EPA used                      (The EPA had earlier published the
                                              evaluating their impact on potential                     the 2016v1 emissions to project ozone                 emissions inventories on its website in
                                              downwind air quality problems for the                    design values and contributions for                   September of 2021 and invited initial
                                              2015 ozone NAAQS under Step 2 of the                     2023. On October 30, 2020, in the notice              feedback from states and other
                                              4-step interstate transport framework.18                 of proposed rulemaking for the Revised                interested stakeholders.24) In response
                                              The EPA subsequently issued two more                     CSAPR Update, the EPA released and                    to these comments, the EPA made a
                                              memoranda in August and October                          accepted public comment on 2023                       number of updates to the 2016v2
                                              2018, providing additional information                   modeling that used the 2016v1                         inventories and model design to
                                              to states developing interstate transport                emissions platform.21 Although the                    construct a 2016v3 emissions platform
                                              SIP submissions for the 2015 ozone                       Revised CSAPR Update addressed                        which was used to update the air
                                              NAAQS concerning, respectively,                          transport for the 2008 ozone NAAQS,                   quality modeling. The EPA made
                                              potential contribution thresholds that                   the projected design values and                       additional updates to its modeling in
                                              may be appropriate to apply in Step 2                    contributions from the 2016v1 platform                response to comments as well. The EPA
                                              of the 4-step interstate transport                       were also useful for identifying                      is now using this updated modeling to
                                              framework, and considerations for                        downwind ozone problems and linkages                  inform its final action on these SIP
                                              identifying downwind areas that may                      with respect to the 2015 ozone                        submissions. Details on the air quality
                                              have problems maintaining the standard                   NAAQS.22                                              modeling and the methods for
                                              at Step 1 of the 4-step interstate                          Following the final Revised CSAPR                  projecting design values and
                                              transport framework.19                                   Update, the EPA made further updates                  determining contributions in 2023 are
                                                 Following the release of the modeling                 to the 2016-based emissions platform to               described in Section III and in the TSD
                                              data shared in the March 2018                            include updated onroad mobile                         titled ‘‘Air Quality Modeling TSD for
                                              memorandum, the EPA performed                            emissions from Version 3 of the EPA’s                 the 2015 8-hour ozone NAAQS
                                              updated modeling using a 2016-based                      Motor Vehicle Emission Simulator                      Transport SIP Final Actions’’, hereafter
                                              emissions modeling platform (i.e.,                       (MOVES) model (MOVES3) 23 and                         known as the Final Action AQM
                                              2016v1). This emissions platform was                     updated emissions projections for                     TSD.25 26 Additional details related to
                                              developed under the EPA/Multi-                           electric generating units (EGUs) that                 the updated 2016v3 emissions platform
                                              Jurisdictional Organization (MJO)/state                  reflect the emissions reductions from                 are located in the TSD titled
                                              collaborative project.20 This                            the Revised CSAPR Update, recent                      ‘‘Preparation of Emissions Inventories
                                              collaborative project was a multi-year                   information on plant closures, and other              for the 2016v3 North American
                                                                                                       inventory improvements. The construct                 Emissions Modeling Platform,’’
                                                 17 See Information on the Interstate Transport
                                                                                                       of the updated emissions platform,                    hereafter known as the 2016v3
                                              State Implementation Plan Submissions for the            2016v2, is described in the ‘‘Technical               Emissions Modeling TSD, included in
                                              2015 Ozone National Ambient Air Quality
                                              Standards under Clean Air Act Section                    Support Document (TSD): Preparation                   Docket ID No. EPA–HQ–OAR–2021–
                                              110(a)(2)(D)(i)(I), March 27, 2018 (‘‘March 2018         of Emissions Inventories for the 2016v2               0663.27
                                              memorandum’’), available in Docket No. EPA–HQ–           North American Emissions Modeling
                                              OAR–2021–0663 or at https://www.epa.gov/                                                                       D. The EPA’s Approach To Evaluating
                                              interstate-air-pollution-transport/interstate-air-
                                                                                                       Platform,’’ hereafter known as the                    Interstate Transport SIPs for the 2015
                                              pollution-transport-memos-and-notices.                   2016v2 Emissions Modeling TSD, and is                 Ozone NAAQS
                                                 18 The March 2018 memorandum, however,                included in Docket No. EPA–HQ–OAR–
                                              provided, ‘‘While the information in this                2021–0663. The EPA performed air                         The EPA is applying a consistent set
                                              memorandum and the associated air quality                quality modeling using the 2016v2                     of policy judgments across all states for
                                              analysis data could be used to inform the                                                                      purposes of evaluating interstate
                                              development of these SIPs, the information is not        emissions to provide projections of
                                              a final determination regarding states’ obligations      ozone design values and contributions                 transport obligations and the
                                              under the good neighbor provision. Any such              in 2023 that reflect the effects on air               approvability of interstate transport SIP
                                              determination would be made through notice-and-
                                                                                                       quality of the 2016v2 emissions                       submissions for the 2015 ozone NAAQS
                                              comment rulemaking.’’ March 2018 memorandum                                                                    under CAA section 110(a)(2)(D)(i)(I).
                                              at 2.                                                    platform. The results of the 2016v2
                                                 19 See Analysis of Contribution Thresholds for        modeling were used by the EPA as part                 These policy judgments conform with
                                              Use in Clean Air Act Section 110(a)(2)(D)(i)(I)          of the Agency’s evaluation of state SIP               relevant case law and past agency
                                              Interstate Transport State Implementation Plan           submissions with respect to Steps 1 and               practice as reflected in CSAPR and
                                              Submissions for the 2015 Ozone National Ambient
                                                                                                       2 of the 4-step interstate transport                  related rulemakings. Employing a
                                              Air Quality Standards, August 31, 2018) (‘‘August                                                              nationally consistent approach is
                                              2018 memorandum’’); Considerations for                   framework at the proposal stage of this
                                              Identifying Maintenance Receptors for Use in Clean       action. By using the 2016v2 modeling                    24 https://www.epa.gov/air-emissions-modeling/
                                              Air Act Section 110(a)(2)(D)(i)(I) Interstate
                                              Transport State Implementation Plan Submissions
                                                                                                       results, the EPA used the most current                2016v2-platform.
                                                                                                                                                               25 See Final Action AQM TSD in Docket ID No.
                                              for the 2015 Ozone National Ambient Air Quality
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                                                                                                         21 See 85 FR 68964, 68981 (October 30, 2020).       EPA–HQ–OAR–2021–0663
                                              Standards, October 19, 2018 (‘‘October 2018
                                              memorandum’’), available in Docket No. EPA–HQ–             22 See the Air Quality Modeling Technical             26 References to section numbers in roman

                                              OAR–2021–0663 or at https://www.epa.gov/                 Support Document for the Final Revised Cross-State    numeral refer to sections of this preamble unless
                                              airmarkets/memo-and-supplemental-information-            Air Pollution Rule Update, included in Docket No.     otherwise specified, and references to section
                                              regarding-interstate-transport-sips-2015-ozone-          EPA–HQ–OAR–2021–0663.                                 numbers in numeric form refer to the Response to
                                              naaqs.                                                     23 86 FR 1106. Additional details and               Comments document for this final action included
                                                 20 The results of this modeling, as well as the       documentation related to the MOVES3 model can         in the docket.
                                              underlying modeling files, are included in Docket        be found at https://www.epa.gov/moves/latest-           27 See 2016v3 Emissions Modeling TSD in Docket

                                              No. EPA–HQ–OAR–2021–0663.                                version-motor-vehicle-emission-simulator-moves.       ID No. EPA–HQ–OAR–2021–0663.



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                                              particularly important in the context of                 as the EPA or others may have                             guidance, but was intended to generate
                                              interstate ozone transport, which is a                   identified or suggested in the past, the                  further discussion around potential
                                              regional-scale pollution problem                         EPA evaluated whether the state                           approaches to addressing ozone
                                              involving many smaller contributors.                     adequately justified the technical and                    transport among interested stakeholders.
                                              Effective policy solutions to the problem                legal basis for doing so. For example,                    To the extent states sought to develop or
                                              of interstate ozone transport going back                 the EPA has considered the arguments                      rely on one or more of these ideas in
                                              to the NOX SIP Call have necessitated                    put forward by Alabama, Missouri,                         support of their SIP submissions, the
                                              the application of a uniform framework                   Ohio, Oklahoma, Texas, and Utah                           EPA reviewed their technical and legal
                                              of policy judgments to ensure an                         related to alternative methods of                         justifications for doing so.35
                                              ‘‘efficient and equitable’’ approach. See                identifying receptors.29 The EPA also                        The remainder of this section
                                              EPA v. EME Homer City Generation, LP,                    has considered the arguments                              describes the EPA’s analytical
                                              572 U.S. 489, 519 (2014) (EME Homer                      attempting to justify an alternative                      framework with respect to analytic year,
                                              City). Some comments on EPA’s                            contribution threshold at Step 2                          definition of nonattainment and
                                              proposed SIP disapprovals claim the                      pursuant to the August 2018                               maintenance receptors, selection of
                                              EPA is imposing non-statutory                            memorandum made by Alabama,                               contribution threshold, and multifactor
                                              requirements onto SIPs or that the EPA                   Arkansas, Illinois, Indiana, Kentucky,                    control strategy assessment.
                                              must allow states to take inconsistent                   Louisiana, Michigan, Mississippi,
                                                                                                                                                                 1. Selection of Analytic Year
                                              approaches to implementing good                          Missouri, Oklahoma, and Utah,30 as
                                              neighbor requirements. Both views are                    well as criticisms of the 1 percent of the                   In general, the states and the EPA
                                              incorrect; the EPA’s use of its                          NAAQS contribution threshold made by                      must implement the interstate transport
                                              longstanding framework to evaluate                       Nevada and Ohio.31 These topics are                       provision in a manner ‘‘consistent with
                                              these SIP submissions reflects a                         further addressed in Section V.B as well                  the provisions of [title I of the CAA.]’’
                                              reasonable and consistent approach to                    as the RTC document.                                      See CAA section 110(a)(2)(D)(i). This
                                              implementing the requirements of CAA                        The EPA notes that certain potential                   requires, among other things, that these
                                              section 110(a)(2)(D)(i)(I), while                        concepts included in an attachment to                     obligations are addressed consistently
                                              remaining open to alternative                            the March 2018 memorandum require                         with the timeframes for downwind areas
                                              approaches states may present. These                     unique consideration, and these ideas                     to meet their CAA obligations. With
                                              comments are further addressed in                        do not constitute agency guidance with                    respect to ozone NAAQS, under CAA
                                              Section V and the Response to Comment                    respect to interstate transport                           section 181(a), this means obligations
                                              (RTC) document contained in the docket                   obligations for the 2015 ozone NAAQS.                     must be addressed ‘‘as expeditiously as
                                              for this action, Docket ID No. EPA–HQ–                   Attachment A to the March 2018                            practicable’’ and no later than the
                                              OAR–2021–0663.                                           memorandum identified a ‘‘Preliminary                     schedule of attainment dates provided
                                                 In the March, August, and October                     List of Potential Flexibilities’’ that could              in CAA section 181(a)(1).36 Several D.C.
                                              2018 memoranda, the EPA recognized                       potentially inform SIP development.                       Circuit court decisions address the issue
                                              that states may be able to establish                     However, the EPA made clear in both                       of the relevant analytic year for the
                                              alternative approaches to addressing                     the March 2018 memorandum 32 and in                       purposes of evaluating ozone transport
                                              their interstate transport obligations for               Attachment A that the list of ideas was                   air-quality problems. On September 13,
                                              the 2015 ozone NAAQS that vary from                      not endorsed by the Agency but rather                     2019, the D.C. Circuit issued a decision
                                              a nationally uniform framework. The                      ‘‘comments provided in various forums’’                   in Wisconsin, remanding the CSAPR
                                              EPA emphasized in these memoranda,                       on which the EPA sought ‘‘feedback                        Update to the extent that it failed to
                                              however, that such alternative                           from interested stakeholders.’’ 33                        require upwind states to eliminate their
                                              approaches must be technically justified                 Further, Attachment A stated, ‘‘EPA is                    significant contribution by the next
                                              and appropriate in light of the facts and                not at this time making any                               applicable attainment date by which
                                              circumstances of each particular state’s                 determination that the ideas discussed                    downwind states must come into
                                              submission.28 In general, the EPA                        below are consistent with the                             compliance with the NAAQS, as
                                              continues to believe that deviation from                 requirements of the CAA, nor are we                       established under CAA section 181(a).
                                              a nationally consistent approach to                      specifically recommending that states                     See 938 F.3d 303, 313.
                                              ozone transport must be substantially                    use these approaches.’’ 34 Attachment A                      On May 19, 2020, the D.C. Circuit
                                              justified and have a well-documented                     to the March 2018 memorandum,                             issued a decision in Maryland v. EPA
                                              technical basis that is consistent with                  therefore, does not constitute agency                     that cited the Wisconsin decision in
                                              CAA obligations and relevant case law.                                                                             holding that the EPA must assess the
                                              Where states submitted SIP submissions                      29 87 FR 64421–64422 (Alabama); 87 FR 9540–            impact of interstate transport on air
                                              that rely on any such potential concepts                 9541 (Missouri); 87 FR 9869–9870 (Ohio); 87 FR            quality at the next downwind
                                                                                                       9820–9822 (Oklahoma); 87 FR 9826–9829 (Texas);            attainment date, including Marginal
                                                                                                       and 87 FR 31480–31481 (Utah).
                                                 28 March 2018 memorandum at 3 (‘‘EPA also
                                                                                                          30 87 FR 64423–64424 (Alabama); 87 FR 9806–
                                                                                                                                                                 area attainment dates, in evaluating the
                                              notes that, in developing their own rules, states                                                                  basis for the EPA’s denial of a petition
                                                                                                       9807 (Arkansas); 87 FR 9852–9853 (Illinois); 87 FR
                                              have flexibility to follow the familiar four-step
                                              transport framework (using EPA’s analytical
                                                                                                       9855–9856 (Indiana); 87 FR 9509–9510 (Kentucky);          under CAA section 126(b) Maryland v.
                                                                                                       87 FR 9815–9816 (Louisiana); 87 FR 9861–9862
                                              approach or somewhat different analytical
                                                                                                       (Michigan); 87 FR 9557 (Mississippi); 87 FR 9541–            35 E.g., 87 FR 64423–64425 (Alabama); 87 FR
                                              approaches within this steps) or alternative
                                                                                                       9544 (Missouri); 87 FR 9819 (Oklahoma); 87 FR             31453–31454 (California); 87 FR 9852–9854
                                              framework, so long as their chosen approach has
                                                                                                       31478 (Utah).                                             (Illinois); 87 FR 9859–9860 (Indiana); 87 FR 9508,
                                              adequate technical justification and is consistent          31 87 FR 31492 (Nevada); 87 FR 9871 (Ohio).
                                              with the requirements of the CAA.’’); August 2018                                                                  9515 (Kentucky); 87 FR 9861–9862 (Michigan); 87
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                                                                                                          32 ‘‘In addition, the memorandum is accompanied
                                              memorandum at 1 (‘‘The EPA and air agencies                                                                        FR 9869–9870 (Ohio); 87 FR 9798, 9818–9820
                                              should consider whether the recommendations in           by Attachment A, which provides a preliminary list        (Oklahoma); 87 FR 31477–31481 (Utah); 87 FR
                                              this guidance are appropriate for each situation.’’);    of potential flexibilities in analytical approaches for   9526–9527 (West Virginia).
                                              October 2018 memorandum at 1 (‘‘Following the            developing a good neighbor SIP that may warrant              36 For attainment dates for the 2015 ozone

                                              recommendations in this guidance does not ensure         further discussion between EPA and states.’’ March        NAAQS, refer to CAA section 181(a), 40 CFR
                                              that EPA will approve a SIP revision in all instances    2018 memorandum at 1.                                     51.1303, and Additional Air Quality Designations
                                                                                                          33 March 2018 memorandum, Attachment A at A–
                                              where the recommendations are followed, as the                                                                     for the 2015 Ozone National Ambient Air Quality
                                              guidance may not apply to the facts and                  1.                                                        Standards, 83 FR 25776 (June 4, 2018, effective
                                              circumstances underlying a particular SIP.’’).              34 Id.                                                 August 3, 2018).



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                                              EPA, 958 F.3d 1185, 1203–04 (D.C. Cir.                   and it is now past 2021. In this                         In addition, the EPA identifies a
                                              2020) (Maryland). The court noted that                   circumstance, the EPA does not believe                receptor to be a ‘‘maintenance’’ receptor
                                              ‘‘section 126(b) incorporates the Good                   it would be appropriate to evaluate                   for purposes of defining interference
                                              Neighbor Provision,’’ and, therefore,                    states’ obligations under CAA section                 with maintenance, consistent with the
                                              ‘‘EPA must find a violation [of section                  110(a)(2)(D)(i)(I) as of an attainment date           method used in CSAPR and upheld by
                                              126] if an upwind source will                            that is wholly in the past, because the               the D.C. Circuit in EME Homer City
                                              significantly contribute to downwind                     Agency interprets the interstate                      Generation, L.P. v. EPA, 795 F.3d 118,
                                              nonattainment at the next downwind                       transport provision as forward looking.               136 (D.C. Cir. 2015) (EME Homer City
                                              attainment deadline. Therefore, the                      See 86 FR 23054, 23074; see also                      II).41 Specifically, the EPA identified
                                              agency must evaluate downwind air                        Wisconsin, 938 F.3d at 322 (rejecting                 maintenance receptors as those
                                              quality at that deadline, not at some                    Delaware’s argument that the EPA                      receptors that would have difficulty
                                              later date.’’ Id. at 1204 (emphasis                      should have used an analytic year of                  maintaining the relevant NAAQS in a
                                              added). The EPA interprets the court’s                   2011 instead of 2017). Consequently, in               scenario that takes into account
                                              holding in Maryland as requiring the                     this proposal the EPA will use the                    historical variability in air quality at
                                              states and the Agency, under the good                    analytical year of 2023 to evaluate each              that receptor. The variability in air
                                              neighbor provision, to assess downwind                   state’s CAA section 110(a)(2)(D)(i)(I) SIP            quality was determined by evaluating
                                              air quality as expeditiously as                          submission with respect to the 2015                   the ‘‘maximum’’ future design value at
                                              practicable and no later than the next                   ozone NAAQS.                                          each receptor based on a projection of
                                              applicable attainment date,37 which at                                                                         the maximum measured design value
                                                                                                       2. Step 1 of the 4-Step Interstate
                                              the time of EPA’s proposed and final                                                                           over the relevant period. The EPA
                                                                                                       Transport Framework
                                              actions on the SIPs addressed in this                                                                          interprets the projected maximum
                                              action is the Moderate area attainment                      In Step 1, the EPA identifies                      future design value to be a potential
                                              date under CAA section 181 for ozone                     monitoring sites that are projected to                future air quality outcome consistent
                                              nonattainment. The Moderate area                         have problems attaining and/or                        with the meteorology that yielded
                                              attainment date for the 2015 ozone                       maintaining the NAAQS in the 2023                     maximum measured concentrations in
                                              NAAQS is August 3, 2024.38 Thus, 2023                    analytic year. Where the EPA’s analysis               the ambient data set analyzed for that
                                              is now the appropriate year for analysis                 shows that a site does not fall under the             receptor (i.e., ozone conducive
                                              of interstate transport obligations for the              definition of a nonattainment or                      meteorology). The EPA also recognizes
                                              2015 ozone NAAQS, because the 2023                       maintenance receptor, that site is                    that previously experienced
                                              ozone season is the last relevant ozone                  excluded from further analysis under                  meteorological conditions (e.g.,
                                              season during which achieved                             the EPA’s 4-step interstate transport                 dominant wind direction, temperatures,
                                              emissions reductions in linked upwind                    framework. For sites that are identified              air mass patterns) promoting ozone
                                              states could assist downwind states                      as a nonattainment or maintenance                     formation that led to maximum
                                              with meeting the August 3, 2024,                         receptor in 2023, the EPA proceeds to                 concentrations in the measured data
                                              Moderate area attainment date for the                    the next step of the 4-step interstate                may reoccur in the future. The
                                              2015 ozone NAAQS.                                        transport framework by identifying                    maximum design value gives a
                                                 The EPA recognizes that the                           which upwind states contribute to those               reasonable projection of future air
                                              attainment date for nonattainment areas                  receptors above the contribution                      quality at the receptor under a scenario
                                              classified as Marginal for the 2015                      threshold.                                            in which such conditions do, in fact,
                                              ozone NAAQS was August 3, 2021.                             The EPA’s approach to identifying
                                                                                                                                                             reoccur. The projected maximum design
                                              Under the Maryland holding, any                          ozone nonattainment and maintenance
                                                                                                                                                             value is used to identify upwind
                                              necessary emissions reductions to                        receptors in this action gives
                                                                                                                                                             emissions that, under those
                                              satisfy interstate transport obligations                 independent consideration to both the
                                                                                                                                                             circumstances, could interfere with the
                                              should have been implemented by no                       ‘‘contribute significantly to
                                                                                                                                                             downwind area’s ability to maintain the
                                              later than this date. At the time of the                 nonattainment’’ and the ‘‘interfere with
                                                                                                                                                             NAAQS.
                                              statutory deadline to submit interstate                  maintenance’’ prongs of CAA section                      Recognizing that nonattainment
                                              transport SIPs (October 1, 2018), many                   110(a)(2)(D)(i)(I), consistent with the               receptors are also, by definition,
                                              states relied upon the EPA’s modeling of                 D.C. Circuit’s direction in North
                                                                                                                                                             maintenance receptors, the EPA often
                                              the year 2023, and no state provided an                  Carolina.39
                                                                                                                                                             uses the term ‘‘maintenance-only’’ to
                                              alternative analysis using a 2021                           The EPA identifies nonattainment
                                                                                                                                                             refer to those receptors that are not
                                              analytic year (or the prior 2020 ozone                   receptors as those monitoring sites that
                                                                                                                                                             nonattainment receptors. Consistent
                                              season). However, the EPA must act on                    are projected to have average design
                                                                                                                                                             with the concepts for maintenance
                                              SIP submissions using the information                    values that exceed the NAAQS and that
                                                                                                                                                             receptors, as described earlier, the EPA
                                              available at the time it takes such action,              are also measuring nonattainment based
                                                                                                                                                             identifies ‘‘maintenance-only’’ receptors
                                                                                                       on the most recent monitored design
                                                                                                                                                             as those monitoring sites that have
                                                 37 The EPA notes that the court in Maryland did       values. This approach is consistent with
                                                                                                                                                             projected average design values above
                                              not have occasion to evaluate circumstances in           prior transport rulemakings, such as the
                                              which the EPA may determine that an upwind                                                                     the level of the applicable NAAQS, but
                                                                                                       CSAPR Update, where the EPA defined
                                              linkage to a downwind air quality problem exists                                                               that are not currently measuring
                                              at Steps 1 and 2 of the interstate transport             nonattainment receptors as those areas
                                                                                                                                                             nonattainment based on the most recent
                                              framework by a particular attainment date, but for       that both currently measure
                                                                                                                                                             official design values. In addition, those
                                              reasons of impossibility or profound uncertainty the     nonattainment and that the EPA projects
                                              Agency is unable to mandate upwind pollution             will be in nonattainment in the analytic
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                                              controls by that date. See Wisconsin, 938 F.3d at                                                              and modeling to define nonattainment receptor,
                                              320. The D.C. Circuit noted in Wisconsin that upon       year (i.e., 2023).40                                  was also applied in CAIR. See 70 FR 25241, 25249
                                              a sufficient showing, these circumstances may                                                                  (January 14, 2005); see also North Carolina, 531
                                              warrant flexibility in effectuating the purpose of the     39 See North Carolina, 531 F.3d at 910–11           F.3d at 913–14 (affirming as reasonable the EPA’s
                                              interstate transport provision.                          (holding that the EPA must give ‘‘independent         approach to defining nonattainment in CAIR).
                                                 38 See CAA section 181(a); 40 CFR 51.1303;            significance’’ to each prong of CAA section              41 See 76 FR 48208 (August 8, 2011). The CSAPR

                                              Additional Air Quality Designations for the 2015         110(a)(2)(D)(i)(I)).                                  Update and Revised CSAPR Update also used this
                                              Ozone National Ambient Air Quality Standards, 83           40 See 81 FR 74504 (October 26, 2016). This same    approach. See 81 FR 74504 (October 26, 2016) and
                                              FR 25776 (June 4, 2018, effective August 3, 2018).       concept, relying on both current monitoring data      86 FR 23054 (April 30, 2021).



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                                              monitoring sites with projected average                  NAAQS (i.e., 0.70 ppb) at downwind                    Mississippi, Missouri, Oklahoma, and
                                              design values below the NAAQS, but                       receptors. This is consistent with the                Utah. Ohio also criticized the 1 percent
                                              with projected maximum design values                     Step 2 approach that the EPA applied in               of the NAAQS threshold, though it
                                              above the NAAQS are also identified as                   CSAPR for the 1997 ozone NAAQS,                       acknowledged it was linked above
                                              ‘‘maintenance-only’’ receptors, even if                  which has subsequently been applied in                either a 1 percent of the NAAQS or 1
                                              they are currently measuring                             the CSAPR Update and Revised CSAPR                    ppb contribution threshold. Nevada also
                                              nonattainment based on the most recent                   Update when evaluating interstate                     criticized the 1 percent of the NAAQS
                                              official design values.                                  transport obligations for the 2008 ozone              contribution threshold, but ultimately
                                                As discussed further in Section III.B.,                NAAQS, and in the EPA’s proposals for                 relied on it to support its submission.
                                              in response to comments, the Agency                      this action. The EPA continues to find                   In the proposals for this action, the
                                              has also taken a closer look at measured                 1 percent to be an appropriate                        EPA evaluated each states’ support for
                                              ozone levels at monitoring sites in 2021                 threshold. For ozone, as the EPA found                the use of an alternative threshold at
                                              and 2022 for the purposes of informing                   in the CAIR, CSAPR, and CSAPR                         Step 2 (e.g., 1 ppb), and additionally
                                              the identification of additional receptors               Update, a portion of the nonattainment                shared its experience since the issuance
                                              in 2023. We find there is a basis to                     problems from anthropogenic sources in                of the August 2018 memorandum
                                              consider certain sites with elevated                     the U.S. result from the combined                     regarding use of alternative thresholds
                                              ozone levels that are not otherwise                      impact of relatively small contributions,             at Step 2. The EPA solicited comment
                                              identified as receptors to be an                         typically from multiple upwind states                 on the subject as it considered the
                                              additional type of maintenance-only                      and, in some cases, substantially larger              appropriateness of rescinding the
                                              receptor given the likelihood that ozone                 contributions from a subset of particular             memorandum.42 The EPA received
                                              levels above the NAAQS could persist at                  upwind states, along with contributions               numerous comments related to both the
                                              those locations through at least 2023.                   from in-state sources. The EPA’s                      EPA’s evaluation of SIP submissions
                                              We refer to these as violating-monitor                   analysis shows that much of the ozone                 relying on an alternative threshold, and
                                              maintenance-only receptors (‘‘violating                  transport problem being analyzed in this              the EPA’s experience with alternative
                                              monitors’’). For purposes of this action,                action is still the result of the collective          thresholds. The EPA is not, at this time
                                              we use this information only in a                        impacts of contributions from upwind                  rescinding the August 2018
                                              confirmatory way for states that are                     states. Therefore, application of a                   memorandum; however, for purposes of
                                              otherwise found to be linked using the                   consistent contribution threshold is                  evaluating contribution thresholds for
                                              modeling-based methodology. The EPA                      necessary to identify those upwind                    the 2015 ozone NAAQS, the EPA
                                              intends to take separate action to                       states that should have responsibility for            continues to find the use of an
                                              address states that are linked only to                   addressing their contribution to the                  alternative threshold problematic for the
                                              one or more violating-monitor receptors.                 downwind nonattainment and                            reasons stated at proposal. Regardless of
                                                                                                       maintenance problems to which they                    the EPA’s position on the August 2018
                                              3. Step 2 of the 4-Step Interstate
                                                                                                       collectively contribute. Continuing to                memorandum, the EPA continues to
                                              Transport Framework
                                                                                                       use 1 percent of the NAAQS as the                     find that the arguments put forth in the
                                                 In Step 2, the EPA quantifies the                                                                           SIP submissions of by Alabama,
                                              contribution of each upwind state to                     screening metric to evaluate collective
                                                                                                       contribution from many upwind states                  Arkansas, Illinois, Indiana, Kentucky,
                                              each receptor in the 2023 analytic year.                                                                       Louisiana, Michigan, Mississippi,
                                              The contribution metric used in Step 2                   also allows the EPA (and states) to apply
                                                                                                       a consistent framework to evaluate                    Missouri, Oklahoma, and Utah, as well
                                              is defined as the average impact from                                                                          as arguments in comments received on
                                              each state to each receptor on the days                  interstate emissions transport under the
                                                                                                                                                             these actions, to be inadequate. See
                                              with the highest ozone concentrations at                 interstate transport provision from one
                                                                                                                                                             Section V.B.7 and the RTC Document
                                              the receptor based on the 2023                           NAAQS to the next. See 81 FR 74518;
                                                                                                                                                             for additional detail.
                                              modeling. If a state’s contribution value                see also 86 FR 23085 (reviewing and
                                              does not equal or exceed the threshold                   explaining rationale from CSAPR, 76 FR                4. Step 3 of the 4-Step Interstate
                                              of 1 percent of the NAAQS (i.e., 0.70                    48237–38, for selection of 1 percent                  Transport Framework
                                              ppb for the 2015 ozone NAAQS), the                       threshold).                                              Consistent with the EPA’s
                                              upwind state is not ‘‘linked’’ to a                         The EPA’s August 2018 memorandum                   longstanding approach to eliminating
                                              downwind air quality problem, and the                    recognizes that in certain circumstances,             significant contribution and interference
                                              EPA, therefore, concludes that the state                 a state may be able to establish that an              with maintenance, at Step 3, a
                                              does not contribute significantly to                     alternative contribution threshold of 1               multifactor assessment of potential
                                              nonattainment or interfere with                          ppb is justifiable. Where a state relies on           emissions controls is conducted for
                                              maintenance of the NAAQS in the                          this alternative threshold in their SIP               states linked at Steps 1 and 2. The EPA’s
                                              downwind states. However, if a state’s                   submission, and where that state                      analysis at Step 3 in prior Federal
                                              contribution equals or exceeds the 1                     determined that it was not linked at                  actions addressing interstate transport
                                              percent threshold, the state’s emissions                 Step 2 using the alternative threshold,               requirements has primarily focused on
                                              are further evaluated in Step 3,                         the EPA evaluated whether the state                   an evaluation of cost-effectiveness of
                                              considering both air quality and cost as                 provided a technically sound                          potential emissions controls (on a
                                              part of a multi-factor analysis, to                      assessment of the appropriateness of                  marginal cost-per-ton basis), the total
                                              determine what, if any, emissions might                  using this alternative threshold based on             emissions reductions that may be
                                              be deemed ‘‘significant’’ and, thus, must                the facts and circumstances underlying                achieved by requiring such controls (if
                                              be eliminated pursuant to the                            its application in the particular SIP                 applied across all linked upwind states),
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                                              requirements of CAA section                              submission. The states covered by this                and an evaluation of the air quality
                                              110(a)(2)(D)(i)(I).                                      action that rely on a contribution                    impacts such emissions reductions
                                                 In this final action, the EPA relies in               threshold other than 1 percent of the                 would have on the downwind receptors
                                              the first instance on the 1 percent                      NAAQS in their 2015 ozone NAAQS                       to which a state is linked; other factors
                                              threshold for the purpose of evaluating                  good neighbor SIP submission are                      may potentially be relevant if
                                              a state’s contribution to nonattainment                  Alabama, Arkansas, Illinois, Indiana,
                                              or maintenance of the 2015 ozone                         Kentucky, Louisiana, Michigan,                          42 See, e.g., 87 FR 9551.




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                                              adequately supported. In general, where                  maintenance of the NAAQS.44 For a                     proposals, and the EPA in this final
                                              the EPA’s or state-provided alternative                  state linked at Steps 1 and 2 to rely on              action has responded to comments on
                                              air quality and contribution modeling                    an emissions control measure at Step 3                our evaluation of the various
                                              establishes that a state is linked at Steps              to address its interstate transport                   information and arguments made by
                                              1 and 2, it will be insufficient at Step                 obligations, that measure must be                     states. The EPA’s final decision to
                                              3 for a state merely to point to its                     included in the state’s SIP so that it is             disapprove these states’ SIP submittals
                                              existing rules requiring control                         permanent and federally enforceable.                  is based on our evaluation of the entire
                                              measures as a basis for SIP approval. In                 See CAA section 110(a)(2)(D) (‘‘Each                  record, recognizing that states possess
                                              general, the emissions-reducing effects                  such [SIP] shall . . . contain adequate               the authority in the first instance to
                                              of all existing emissions control                        provisions. . . .’’). See also CAA                    propose how they would address their
                                              requirements are already reflected in the                section 110(a)(2)(A); Committee for a                 significant contribution to air quality
                                              future year projected air quality results                Better Arvin v. EPA, 786 F.3d 1169,                   problems in other states. Nonetheless, as
                                              of the modeling for Steps 1 and 2. If the                1175–76 (9th Cir. 2015) (holding that                 explained in the proposals, and in this
                                              state is shown to still be linked to one                 measures relied on by a state to meet                 document and supporting materials in
                                              or more downwind receptor(s) despite                     CAA requirements must be included in                  the docket, we conclude that no state
                                              these existing controls, but that state                  the SIP).                                             included in this action effectively
                                              believes it has no outstanding good                                                                            demonstrated that it will not be linked
                                                                                                       III. The EPA’s Updated Air Quality and
                                              neighbor obligations, the EPA expects                                                                          to at least one air quality receptor in
                                                                                                       Contribution Analysis
                                              the state to provide sufficient                                                                                2023, and none of these states’ various
                                              justification to support a conclusion by                    As noted in Section II, the EPA relied
                                                                                                       in part on its 2016v2 emissions                       arguments for alternative approaches
                                              the EPA that the state has adequate                                                                            ultimately present a satisfactory basis
                                              provisions prohibiting ‘‘any source or                   platform-based air quality modeling to
                                                                                                       support its proposed interstate transport             for the EPA to approve these states’ SIP
                                              other type of emissions activity within                                                                        submissions.
                                              the State from emitting any air pollutant                actions taken in 2022. Following receipt
                                              in amounts which will’’ ‘‘contribute                     of comments, the EPA updated this                     A. Description of Air Quality Modeling
                                              significantly to nonattainment in, or                    modeling, incorporating new                           for the Final Action
                                              interfere with maintenance by,’’ any                     information received to create the
                                              other State with respect to the NAAQS.                   2016v3 emissions inventory and making                    In this section, the Agency describes
                                              See CAA section 110(a)(2)(D)(i)(I).                      additional updates to improve model                   the air quality modeling performed
                                              While the EPA has not prescribed a                       performance. Using the 2016v3                         consistent with Steps 1 and 2 of the 4-
                                              particular method for this assessment,                   emissions inventory, the EPA evaluated                step interstate transport framework to
                                              as many commenters note, the EPA                         modeling projections for air quality                  (1) Identify locations where it expects
                                              expects states at a minimum to present                   monitoring sites and considered current               nonattainment or maintenance problems
                                              a sufficient technical evaluation. This                  ozone monitoring data at these sites to               with respect to the 2015 ozone NAAQS
                                              would typically include information on                   identify receptors that are anticipated to            for the 2023 analytic year, and (2)
                                              emissions sources, applicable control                    have problems attaining or maintaining                quantify the contributions from
                                              technologies, emissions reductions,                      the 2015 ozone NAAQS.                                 anthropogenic emissions from upwind
                                              costs, cost effectiveness, and downwind                     This section presents a summary of                 states to downwind ozone
                                              air quality impacts of the estimated                     the methodology and results of the                    concentrations at monitoring sites
                                              reductions, before concluding that no                    2016v3 modeling of 2023, along with                   projected to be in nonattainment or have
                                              additional emissions controls should be                  the application of the EPA’s Step 1 and               maintenance problems for the 2015
                                              required.43 The EPA responds to                          Step 2 methodology for identifying                    ozone NAAQS in 2023. This section
                                              comment on issues related to Step 3 in                   receptors and upwind states that                      includes information on the air quality
                                              Section V.B.8. and in the RTC                            contribute to those receptors. We also                modeling platform used in support of
                                              document.                                                explain that current measured ozone                   the final SIP disapproval action with a
                                                                                                       levels based on data for 2021 and                     focus on the base year and future base
                                              5. Step 4 of the 4-Step Interstate
                                                                                                       preliminary data for 2022 at other                    case emissions inventories. The EPA
                                              Transport Framework
                                                                                                       monitoring sites (i.e., monitoring sites              also provides the projection of 2023
                                                 At Step 4, states (or the EPA) develop                that are not projected to be receptors in             ozone concentrations and the interstate
                                              permanent and federally-enforceable                      2023 based on air quality modeling)                   contributions for 8-hour ozone. The
                                              control strategies to achieve the                        confirm the likely continuation of                    Final Action AQM TSD in Docket ID
                                              emissions reductions determined to be                    elevated ozone levels in 2023 at these                No. EPA–HQ–OAR–2021–0663 contains
                                              necessary at Step 3 to eliminate                         locations and confirm that nearly all                 more detailed information on the air
                                              significant contribution to                              upwind states in this action are also                 quality modeling aspects supporting our
                                              nonattainment or interference with                       linked above 1 percent of the NAAQS to                final action on these SIP submissions.
                                                                                                       one or more of these monitors.
                                                43 Because no state included new enforceable
                                                                                                          While all of this information                      1. Public Review of Air Quality
                                              emissions control measures in the submissions                                                                  Modeling Information for the Proposed
                                              under review here, we focus our analysis on
                                                                                                       compiled by the EPA (both the
                                              whether states justified that no additional controls     modeling and monitoring data) plays a                 Action
                                              were required. As examples of general approaches         critical role in the basis for this final
                                              for how a Step 3 analysis could be conducted for                                                                 The EPA provided several
                                                                                                       action, the EPA has also thoroughly
                                              their sources, states could look to the CSAPR                                                                  opportunities to comment on the
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                                              Update, 81 FR 74504, 74539–51; CSAPR, 76 FR              evaluated the modeling information and
                                                                                                                                                             emissions modeling platform and air
                                              48208, 48246–63; CAIR, 70 FR 25162, 25195–229;           other analyses and arguments presented
                                                                                                                                                             quality modeling results that were used
                                              or the NOX SIP Call, 63 FR 57356, 57399–405. See         by the upwind states in their SIP
                                              also Revised CSAPR Update, 86 FR 23054, 23086–                                                                 for the proposed SIP submission
                                                                                                       submittals. Our evaluation of the states’
                                              23116. Consistently across these rulemakings, the                                                              actions. On September 20, 2021, the
                                              EPA has developed emissions inventories, analyzed        analyses was generally set forth in the
                                                                                                                                                             EPA publicly released via our web page
                                              different levels of control stringency at different
                                              cost thresholds, and assessed resulting downwind           44 The EPA notes that any controls included in an   updated emissions inventories (2016v2)
                                              air quality improvements.                                approved SIP are federally-enforceable.               and requested comment from states and


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                                              MJOs on these data.45 In January 2022,                   modeling region (i.e., modeling domain)               improved from a 21.4 percent under
                                              the EPA released air quality modeling                    that covers the contiguous 48 states                  prediction for May and June to a 12.6
                                              results including projected ozone design                 using a horizontal resolution of 12 x 12              percent under prediction in the period
                                              values and contributions from 2023                       km. The EPA used the CAMx version                     July through September. As described in
                                              based on the 2016v2 emissions. At that                   7.10 for air quality modeling which is                the AQM TSD, the seasonal pattern in
                                              time the EPA indicated its intent to use                 the same model that the EPA used for                  bias in the Upper Midwest region
                                              these data to support upcoming                           the proposed rule air quality                         improves somewhat gradually with time
                                              transport rulemakings. Then, on                          modeling.50 Additional information on                 from the middle of May to the latter part
                                              February 22, 2022, the EPA published                     the 2016-based air quality modeling                   of June. In view of the seasonal pattern
                                              proposed disapprovals for 19 interstate                  platform can be found in the Final                    in bias in the Upper Midwest and in
                                              transport SIP submissions using the                      Action AQM TSD.                                       other regions of the U.S., the EPA
                                              modeling data released in January 2022                      Comments: Commenters noted that
                                                                                                                                                             focused its investigation of model
                                              and the emissions inventories shared in                  the 2016 base year summer maximum
                                                                                                                                                             performance on model inputs that, by
                                              September 2021.46 The EPA provided a                     daily average 8-hour (MDA8) ozone
                                                                                                       predictions from the proposal modeling                their nature, have the largest temporal
                                              60-day comment period on these
                                              proposals. On May 24, 2022, the EPA                      were biased low compared to the                       variation within the ozone season.
                                              proposed disapprovals for an additional                  corresponding measured concentrations                 These inputs include emissions from
                                              four states’ interstate transport SIP                    in certain locations. In this regard,                 biogenic sources and lightning NOX,
                                              submissions using the same modeling                      commenters said that model                            and contributions from transport of
                                              platform, and provided a 62-day                          performance statistics for a number of                international anthropogenic emissions
                                              comment period.47 The EPA provided a                     monitoring sites, particularly those in               and natural sources into the U.S. Both
                                              30-day comment period beginning on                       portions of the West and in the area                  biogenic and lightning NOX emissions
                                              October 25, 2022, on the proposed                        around Lake Michigan, were outside the                in the U.S. dramatically increase from
                                              disapproval of Alabama’s June 21, 2022,                  range of published performance criteria               spring to summer.52 53 In contrast, ozone
                                              SIP submission, which relied on the                      for normalized mean bias (NMB) and                    transported into the U.S. from
                                              same modeling platform as the other                      normalized mean error (NME) of less                   international anthropogenic and natural
                                              noted proposals.48 In addition to its                    than plus or minus 15 percent and less                sources peaks during the period March
                                              proposed disapprovals, the EPA also                      than 25 percent, respectively.51                      through June, with lower contributions
                                              proposed approval of Iowa’s, Arizona’s,                  Comments say the EPA must investigate                 during July through September.54 55 To
                                              and Colorado’s SIP submissions using                     the factors contributing to low bias and              investigate the impacts of the sources,
                                              the 2016v2 modeling and provided 30-                     make necessary corrections to improve                 the EPA conducted sensitivity model
                                              day comment periods. 87 FR 9477                          model performance in the modeling                     runs which focused on the effects on
                                              (February 22, 2022) (Iowa); 87 FR 37776                  supporting final SIP actions. Some                    model performance of adding NOX
                                              (June 24, 2022) (Arizona); and 87 FR                     commenters said that the EPA should                   emissions from lightning strikes, using
                                              27050 (May 6, 2022) (Colorado).                          include NOX emissions from lightning                  updated biogenic emissions, and using
                                              2. Overview of Air Quality Modeling                      strikes and assess the treatment of other             an alternative approach (described in
                                              Platform                                                 background sources of ozone to improve                more detail later in this section) for
                                                                                                       model performance for the final action.               quantifying transport of ozone and
                                                 The EPA used version 3 of the 2016-                   Additional information on the                         precursor pollutants into the U.S. from
                                              based modeling platform (i.e., 2016v3)                   comments on model performance can be                  international anthropogenic and natural
                                              for the air quality modeling for this final              found in the RTC document for this                    sources. In the air quality modeling for
                                              SIP disapproval action. This modeling                    final SIP disapproval action.                         proposal, the amount of transport from
                                              platform includes 2016 base year                            EPA Response: In response to these                 international sources was based on a
                                              emissions from anthropogenic and                         comments the EPA examined the                         simulation of the hemispheric version of
                                              natural sources and future year                          temporal and spatial characteristics of               the Community Multi-scale Air Quality
                                              projected anthropogenic emissions for                    model under prediction to investigate
                                              2023.49 The emissions data contained in                  the possible causes of under prediction                  52 Guenther, A.B., 1997. Seasonal and spatial
                                              the 2016v3 platform represent an update                  of MDA8 ozone concentrations in                       variations in natural volatile organic compound
                                              to the 2016 version 2 inventories used                   different regions of the U.S. in the                  emissions. Ecol. Appl. 7, 34–45. http://dx.doi.org/
                                              for the proposal modeling.                               proposal modeling. The EPA’s analysis                 10.1890/1051-0761(1997)
                                                 The air quality modeling for this final                                                                     007[0034:SASVIN]2.0.CO;2. Guenther, A., Hewitt,
                                                                                                       indicates that the under prediction was               C.N., Erickson, D., Fall, R.
                                              disapproval action was performed for a                   most extensive during May and June                       53 Kang D, Mathur R, Pouliot GA, Gilliam RC,

                                                                                                       with less bias during July and August in              Wong DC. Significant ground-level ozone attributed
                                                 45 https://www.epa.gov/air-emissions-modeling/
                                                                                                       most regions of the U.S. For example, in              to lightning-induced nitrogen oxides during
                                              2016v2-platform.                                                                                               summertime over the Mountain West States. NPJ
                                                 46 These proposals are listed in footnote 5 of this   the Upper Midwest region model under                  Clim Atmos Sci. 2020 Jan 30;3:6. doi: 10.1038/
                                              action.                                                  prediction was larger in May and June                 s41612–020–0108–2. PMID: 32181370; PMCID:
                                                 47 The EPA also relied on this same modeling data     compared to July through September.                   PMC7075249.
                                              to support proposed Federal Implementation Plans         Specifically, the normalized mean bias                   54 Jaffe DA, Cooper OR, Fiore AM, Henderson BH,
                                              (FIPs) resolving interstate transport obligations for                                                          Tonnesen GS, Russell AG, Henze DK, Langford AO,
                                              27 states for the 2015 ozone NAAQS. 87 FR 20036
                                                                                                       for days with measured concentrations
                                                                                                                                                             Lin M, Moore T. Scientific assessment of
                                              (April 6, 2022). The EPA allowed 60 days to receive      greater than or equal to 60 ppb                       background ozone over the U.S.: Implications for air
                                              comments on the proposed FIP rule, including                                                                   quality management. Elementa (Wash DC).
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                                              acceptance of comment on the 2016v2 emissions              50 Ramboll Environment and Health, January          2018;6(1):56. doi: 10.1525/elementa.309. PMID:
                                              inventory-based modeling platform. The EPA then          2021, https://www.camx.com.                           30364819; PMCID: PMC6198683.
                                              allowed for an additional 15 days via an extension         51 Christopher Emery, Zhen Liu, Armistead G.           55 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,
                                              of the comment period. 87 FR 29108 (May 12,              Russell, M. Talat Odman, Greg Yarwood & Naresh        J. Vukovich, R. Mathur, C. Hogrefe, N. Possiel, G.
                                              2022).                                                   Kumar (2017) Recommendations on statistics and        Pouliot, B. Timin, K.W. Appel, 2019. Global
                                                 48 87 FR 64412, 64413.
                                                                                                       benchmarks to assess photochemical model              Sources of North American Ozone. Presented at the
                                                 49 The 2016v3 platform also includes projected        performance, Journal of the Air & Waste               18th Annual Conference of the UNC Institute for the
                                              emissions for 2026. However, the 2026 data are not       Management Association, 67:5, 582–598, DOI:           Environment Community Modeling and Analysis
                                              applicable and were not used in this final action.       10.1080/10962247.1265027.                             System (CMAS) Center, October 21–23, 2019.



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                                              Model (H–CMAQ) 56 for 2016. The                          MDA8 ozone greater than or equal to 60                inventories using the Sparse Matrix
                                              outputs from this hemispheric modeling                   ppb is considerably improved (i.e., less              Operator Kernel Emissions (SMOKE)
                                              were then used to provide boundary                       bias and error) compared to the proposal              Modeling System version 4.9 to produce
                                              conditions for the national scale air                    modeling in nearly all regions. For                   the gridded, hourly, speciated, model-
                                              quality modeling at proposal.57 Overall,                 example, in the Upper Midwest, which                  ready emissions for input to the air
                                              H–CMAQ tends to under predict                            includes monitoring sites along Lake                  quality model. Additional information
                                              daytime ozone concentrations at rural                    Michigan, the normalized mean bias                    on the development of the emissions
                                              and remote monitoring sites across the                   improved from a 19 percent under                      inventories and on data sets used during
                                              U.S. during the spring of 2016 whereas                   prediction to a 6.9 percent under                     the emissions modeling process are
                                              the predictions from the GEOS-Chem                       prediction and in the Southwest region,               provided in the document titled
                                              global model 58 were generally less                      which includes monitoring sites in                    ‘‘Technical Support Document (TSD):
                                              biased.59 During the summer of 2016                      Denver, Las Cruces, El Paso, and Salt                 Preparation of Emissions Inventories for
                                              both models showed varying degrees of                    Lake City, normalized mean bias                       the 2016v3 North American Emissions
                                              over prediction with GEOS-Chem                           improved from a 13.6 percent under                    Modeling Platform,’’ hereafter known as
                                              showing somewhat greater over                            prediction to a 4.8 percent under                     the ‘‘2016v3 Emissions Modeling TSD.’’
                                              prediction, compared to H–CMAQ. In                       prediction.60 In all regions, the                     This TSD is available in the docket for
                                              view of those results, the EPA examined                  normalized mean bias and normalized                   this action.62
                                              the impacts of using GEOS-Chem as an                     mean error statistics for high ozone days
                                              alternative to H–CMAQ for providing                      based on the modeling supporting final                4. Foundation Emissions Inventory
                                              boundary conditions for the modeling                     SIP actions are within the range of
                                              supporting this final action.                            performance criteria benchmarks (i.e.,                   The 2016v3 emissions platform is
                                                 For the lightning NOX, biogenics, and                 less than plus or minus 15 percent for                comprised of data from various sources
                                              GEOS-Chem sensitivity runs, the EPA                      normalized mean bias and less than 25                 including data developed using models,
                                              reran the proposal modeling using each                   percent for normalized mean error).61                 methods, and source datasets that
                                              of these inputs, individually. Results                   Additional information on model                       became available in calendar years 2020
                                              from these sensitivity runs indicate that                performance information is provided in                through 2022, in addition to data
                                              each of the three updates provides an                    the AQM TSD. In summary, the EPA                      retained from the Inventory
                                              improvement in model performance.                        included emissions of lightning NOX, as               Collaborative 2016 version 1 (2016v1)
                                              However, by far the greatest                             requested by commenters, and                          Emissions Modeling Platform, released
                                              improvement in modeling performance                      investigated and addressed concerns                   in October 2019. The 2016v1 platform
                                              is attributable to the use of GEOS-Chem.                 about model performance for the                       was developed through a national
                                              In view of these results the EPA has                     modeling supporting final SIP actions.                collaborative effort between the EPA
                                              included lightning NOX emissions,                                                                              and state and local agencies along with
                                              updated biogenic emissions, and                          3. Emissions Inventories                              MJOs. The 2016v2 platform used to
                                              international transport from GEOS-                          The EPA developed emissions                        support the proposed action included
                                              Chem in the air quality modeling                         inventories to support air quality                    updated data, models and methods as
                                              supporting final SIP actions. Details on                 modeling for this final action, including             compared to 2016v1. The 2016v3
                                              the results of the individual sensitivity                emissions estimates for EGUs, non-EGU                 platform includes updates implemented
                                              runs can be found in the AQM TSD. For                    point sources (i.e., stationary point                 in response to comments along with
                                              the air quality modeling supporting                      sources), stationary nonpoint sources,                other updates to the 2016v2 platform
                                              final SIP actions, model performance                     onroad mobile sources, nonroad mobile                 such as corrections and the
                                              based on days in 2016 with measured                      sources, other mobile sources, wildfires,             incorporation of updated data sources
                                                                                                       prescribed fires, and biogenic emissions              that became available prior to the
                                                 56 Mathur, R., Gilliam, R., Bullock, O.R., Roselle,   that are not the direct result of human               2016v3 inventories being developed.
                                              S., Pleim, J., Wong, D., Binkowski, F., and 1 Streets,   activities. The EPA’s air quality                     Several commenters noted that the
                                              D.: Extending the applicability of the community
                                              multiscale air quality model to 2 hemispheric
                                                                                                       modeling relies on this comprehensive                 2016v2 platform did not include NOX
                                              scales: motivation, challenges, and progress. In:        set of emissions inventories because                  emissions that resulted from lightning
                                              Steyn DG, Trini S (eds) Air 3 pollution modeling         emissions from multiple source                        strikes. To address this, lightning NOX
                                              and its applications, XXI. Springer, Dordrecht, pp       categories are needed to model ambient
                                              175–179, 2012.                                                                                                 emissions were computed and included
                                                 57 Boundary conditions are the concentrations of
                                                                                                       air quality and to facilitate comparison              in the 2016v3 platform.
                                              pollutants along the north, east, south, and west        of model outputs with ambient
                                                                                                       measurements.                                            For this final action, the EPA
                                              boundaries of the air quality modeling domain.
                                              Boundary conditions vary in space and time and are          Prior to the modeling of air quality,              developed emissions inventories for the
                                              typically obtained from predictions of global or         the emissions inventories must be                     base year of 2016 and the projected year
                                              hemispheric models. Information on how boundary
                                                                                                       processed into a format that is                       of 2023. The 2023 inventories represent
                                              conditions were developed for modeling supporting                                                              changes in activity data and of predicted
                                              EPA’s final SIP actions can be found in the AQM          appropriate for the air quality model to
                                              TSD.                                                     use. To prepare the emissions                         emissions reductions from on-the-books
                                                 58 I. Bey, D.J. Jacob, R.M. Yantosca, J.A. Logan,
                                                                                                       inventories for air quality modeling, the             actions, planned emissions control
                                              B.D. Field, A.M. Fiore, Q. Li, H.Y. Liu, L.J. Mickley,
                                                                                                       EPA processed the emissions                           installations, and promulgated Federal
                                              M.G. Schultz. Global modeling of tropospheric                                                                  measures that affect anthropogenic
                                              chemistry with assimilated meteorology: model
                                              description and evaluation. J. Geophys. Res.               60 A comparison of model performance from the       emissions. The 2016 emissions
                                              Atmos., 106 (2001), pp. 23073–23095, 10.1029/            proposal modeling to the final modeling for           inventories for the U.S. primarily
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                                              2001jd000807.                                            individual monitoring sites can be found in the       include data derived from the 2017
                                                 59 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,    docket for this final action.
                                                                                                         61 Christopher Emery, Zhen Liu, Armistead G.
                                                                                                                                                             National Emissions Inventory (2017
                                              J. Vukovich, R. Mathur, C. Hogrefe, G. Pouliot, N.
                                              Possiel, B. Timin, K.W. Appel, 2022. Meteorological      Russell, M. Talat Odman, Greg Yarwood & Naresh
                                              and Emission Sensitivity of Hemispheric Ozone and        Kumar (2017) Recommendations on statistics and          62 See Preparation of Emissions Inventories for

                                              PM2.5. Presented at the 21st Annual Conference of        benchmarks to assess photochemical model              the 2016v3 North American Emissions Modeling
                                              the UNC Institute for the Environment Community          performance, Journal of the Air & Waste               Platform TSD, also available at https://
                                              Modeling and Analysis System (CMAS) Center,              Management Association, 67:5, 582–598, DOI:           www.epa.gov/air-emissions-modeling/2016v3-
                                              October 17–19, 2022.                                     10.1080/10962247.1265027.                             platform.



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                                              NEI) 63 and data specific to the year of                 of the contiguous U.S. electric power                 under construction new builds known
                                              2016. The following sections provide an                  sector. It provides forecasts of least cost           as of early summer 2022. This projected
                                              overview of the construct of the 2016v3                  capacity expansion, electricity dispatch,             base case accounts for the effects of the
                                              emissions and projections. The fire                      and emissions control strategies while                final Mercury and Air Toxics Standards
                                              emissions were unchanged between the                     meeting energy demand and                             rule, CSAPR, the CSAPR Update, the
                                              2016v2 and 2016v3 emissions                              environmental, transmission, dispatch,                Revised CSAPR Update, New Source
                                              platforms. For the 2016v3 platform, the                  and reliability constraints. The EPA has              Review enforcement settlements, the
                                              biogenic emissions were updated to use                   used IPM for over two decades to better               final Effluent Limitation Guidelines
                                              the latest available versions of the                     understand power sector behavior under                (ELG) Rule, the Coal Combustion
                                              Biogenic Emissions Inventory System                      future business-as-usual conditions and               Residual (CCR) Rule, and other on-the-
                                              and associated land use data to help                     to evaluate the economic and emissions                books Federal and state rules (including
                                              address comments related to a                            impacts of prospective environmental                  renewable energy tax credit extensions
                                              degradation in model performance in                      policies. The model is designed to                    from the Consolidated Appropriations
                                              the 2016v2 platform as compared to the                   reflect electricity markets as accurately             Act of 2021) through early 2021
                                              2016v1 platform. Details on the                          as possible. The EPA uses the best                    impacting emissions of SO2, NOX,
                                              construction of the inventories are                      available information from utilities,                 directly emitted particulate matter,
                                              available in the 2016v3 Emissions                        industry experts, gas and coal market                 carbon dioxide (CO2), and power plant
                                              Modeling TSD. Details on how the EPA                     experts, financial institutions, and                  operations. It also includes final actions,
                                              responded to comments related to                         government statistics as the basis for the            up through the Summer 2022, the EPA
                                              emissions inventories are available in                   detailed power sector modeling in IPM.                has taken to implement the Regional
                                              the RTC document for this action.                        The model documentation provides                      Haze Rule and best available retrofit
                                                 Development of emissions inventories                  additional information on the                         technology (BART) requirements.
                                              for annual NOX and sulfur dioxide (SO2)                  assumptions discussed here as well as                 Documentation of IPM version 6 and
                                              emissions for EGUs in the 2016 base                      all other model assumptions and                       NEEDS, along with updates, is in Docket
                                              year inventory are based primarily on                    inputs.64 The EPA relied on the same                  ID No. EPA–HQ–OAR–2021–0663 and
                                              data from continuous emissions                           model platform as in the proposals but                available online at https://www.epa.gov/
                                              monitoring systems (CEMS) and other                      made substantial updates to reflect                   airmarkets/power-sector-modeling.
                                              monitoring systems allowed for use by                    public comments on near-term fossil                      Non-EGU point source emissions are
                                              qualifying units under 40 CFR part 75,                   fuel market price volatility and updated              mostly consistent with those in the
                                              with other EGU pollutants estimated                      fleet information reflecting Summer                   proposal modeling except where they
                                              using emissions factors and annual heat                  2022 U.S. Energy Information Agency                   were updated in response to comments.
                                              input data reported to the EPA. For                      (EIA) 860 data, unit-level comments,                  Several commenters mentioned that
                                              EGUs not reporting under part 75, the                    and additional updates to the National                point source emissions carried forward
                                              EPA used data submitted to the NEI by                    Electric Energy Data System (NEEDS)                   from 2014 NEI were not the best
                                              state, local, and tribal agencies. The                   inventory.                                            estimates of 2017 emissions. Thus,
                                              final action inventories include updates                    The IPM version 6—Updated Summer
                                                                                                                                                             emissions sources in 2016v2 that had
                                              made in response to comments on the                      2021 Reference Case incorporated recent
                                                                                                                                                             been projected from the 2014 NEI in the
                                              proposed actions including the                           updates through the summer 2022 to
                                                                                                                                                             proposal were replaced with emissions
                                              proposed SIP submission disapprovals                     account for updated Federal and state
                                                                                                                                                             based on the 2017 NEI. Point source
                                              and the proposed FIP. The Air                            environmental regulations (including
                                                                                                                                                             emissions submitted to the 2016 NEI or
                                              Emissions Reporting Rule, (80 FR 8787;                   Renewable Portfolio Standards (RPS),
                                                                                                                                                             to the 2016v1 platform development
                                              February 19, 2015), requires that Type A                 Clean Energy Standards (CES) and other
                                                                                                                                                             process specifically for the year 2016
                                              point sources large enough to meet or                    state mandates), fleet changes
                                                                                                                                                             were retained in 2016v3.
                                              exceed specific thresholds for emissions                 (committed EGU retirements and new
                                                                                                       builds), electricity demand, technology                  The 2023 non-EGU point source
                                              be reported to the EPA via the NEI every
                                                                                                       cost and performance assumptions from                 emissions were grown from 2016 to
                                              year, while the smaller Type B point
                                                                                                       recent data for renewables adopting                   2023 using factors based on AEO 2022
                                              sources must only be reported to EPA
                                                                                                       from National Renewable Energy Lab                    and reflect emissions reductions due to
                                              every 3 years. In response to comments,
                                                                                                       (NREL’s) Annual Technology Baseline                   known national and local rules, control
                                              emissions data for EGUs that did not
                                                                                                       2020 and for fossil sources from the                  programs, plant closures, consent
                                              have data submitted to the NEI specific
                                                                                                       EIA’s Annual Energy Outlook (AEO)                     decrees, and settlements that could be
                                              to the year 2016 were filled in with data
                                                                                                       2020. Natural gas and coal price                      computed as reductions to specific units
                                              from the 2017 NEI. For more
                                                                                                       projections reflect data developed in fall            by July 2022.
                                              information on the details of how the
                                              2016 EGU emissions were developed                        2020 but updated in summer 2022 to                       Aircraft emissions and ground
                                              and prepared for air quality modeling,                   capture near-term price volatility and                support equipment at airports are
                                              see the 2016v3 Emissions Modeling                        current market conditions. The                        represented as point sources and are
                                              TSD.                                                     inventory of EGUs provided as an input                based on adjustments to emissions in
                                                 The EPA projected 2023 baseline EGU                   to the model was the NEEDS fall 2022                  the January 2021 version of the 2017
                                              emissions using version 6 of the                         version and is available on the EPA’s                 NEI. The EPA developed and applied
                                              Integrated Planning Model (IPM)                          website.65 This version of NEEDS                      factors to adjust the 2017 airport
                                              (www.epa.gov/airmarkets/powersector-                     reflects announced retirements and                    emissions to 2016 and 2023 based on
                                                                                                                                                             activity growth projected by the Federal
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                                              modeling). IPM, developed by ICF
                                              Consulting, is a state-of-the-art, peer-                   64 Detailed information and documentation of the    Aviation Administration Terminal Area
                                              reviewed, multi-regional, dynamic,                       EPA’s Base Case, including all the underlying         Forecast 2021,66 the latest available
                                                                                                       assumptions, data sources, and architecture           version at the time the factors were
                                              deterministic linear programming model                   parameters can be found on the EPA’s website at:
                                                                                                       https://www.epa.gov/airmarkets/power-sector-
                                                                                                                                                             developed.
                                                63 https://www.epa.gov/air-emissions-inventories/      modeling.
                                              2017-national-emissions-inventory-nei-technical-           65 Available at https://www.epa.gov/airmarkets/       66 https://www.faa.gov/data_research/aviation/

                                              support-document-tsd.                                    national-electric-energy-data-system-needs-v6.        taf/.



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                                                Emissions at rail yards were                           and nonpoint oil and gas emissions                    account for pandemic impacts, and then
                                              represented as point sources. The 2016                   inventories are available in the 2016v3               projected from 2021 to 2023 using AEO
                                              rail yard emissions are largely                          Emissions Modeling TSD in Docket ID                   2022-based factors.69 Recent updates to
                                              consistent with the 2017 NEI rail yard                   No. EPA–HQ–OAR–2021–0663.                             inspection and maintenance programs
                                              emissions. The 2016 and 2023 rail yard                      Onroad mobile sources include                      in North Carolina and Tennessee were
                                              emissions were developed through the                     exhaust, evaporative, and brake and tire              reflected in the MOVES inputs for the
                                              2016v1 Inventory Collaborative process.                  wear emissions from vehicles that drive               modeling supporting this final action.
                                              Class I rail yard emissions were                         on roads, parked vehicles, and vehicle                The 2023 onroad mobile emissions were
                                              projected based on the AEO freight rail                  refueling. Emissions from vehicles using              computed within SMOKE by
                                              energy use growth rate projections for                   regular gasoline, high ethanol gasoline,              multiplying the respective emissions
                                              2023 with the fleet mix assumed to be                    diesel fuel, and electric vehicles were               factors developed using MOVES with
                                              constant throughout the period.                          represented, along with buses that used               the year-specific activity data. Prior to
                                                The EPA made multiple updates to                       compressed natural gas. The EPA                       computing the final action emissions for
                                              point source oil and gas emissions in                    developed the onroad mobile source                    2023, the EPA made updates to some
                                              response to comments. For the 2016v3                     emissions for states other than                       onroad inputs in response to comments
                                              modeling, the point source oil and gas                   California using the EPA’s Motor                      and to implement corrections.
                                              emissions for 2016 were based on the                     Vehicle Emissions Simulator (MOVES).                     The commercial marine vessel (CMV)
                                              2016v2 point inventory except that most                  MOVES3 was released in November                       emissions in the 2016 base case
                                              2014 NEI-based emissions were                            2020 and has been followed by some                    emissions inventory for this action were
                                              replaced with 2017 NEI emissions.                        minor releases that improved the usage                based on those in the 2017 NEI. Factors
                                              Additionally, in response to comments,                   of the model but that do not have                     were applied to adjust the 2017 NEI
                                              state-provided emissions equivalent to                   substantive impacts on the emissions                  emissions backward to represent
                                              those in the 2016v1 platform were used                   estimates. For 2016v2, MOVES3 was                     emissions for the year 2016. The CMV
                                              for Colorado, and some New Mexico                        run using inputs provided by state and                emissions are consistent with the
                                              emissions were replaced with data                        local agencies through the 2017 NEI                   emissions for the 2016v1 platform CMV
                                              backcast from 2020 to 2016. To develop                   where available, in combination with                  emissions released in February 2020
                                              inventories for 2023 for the 2016v3                      nationally available data sets to develop             although, in response to comments, the
                                              platform, the year 2016 oil and gas point                a complete inventory. Onroad emissions                EPA implemented an improved process
                                              source inventories were first projected                  were developed based on emissions                     for spatially allocating CMV emissions
                                              to 2021 values based on actual historical                factors output from MOVES3 run for the                along state and county boundaries for
                                              production data, then those 2021                         year 2016, coupled with activity data                 the modeling supporting this final
                                              emissions were projected to 2023 using                   (e.g., vehicle miles traveled and vehicle             action.
                                              regional projection factors based on                     populations) representing the year 2016.                 The EPA developed nonroad mobile
                                              AEO 2022 projections. This was an                        The 2016 activity data were provided by               source emissions inventories (other than
                                              update from the 2016v2 approach in                       some state and local agencies through                 CMV, locomotive, and aircraft
                                              which actual data were used only                         the 2016v1 process, and the remaining                 emissions) for 2016 and 2023 from
                                              through the year 2019, because 2021                      activity data were derived from those                 monthly, county, and process level
                                              data were not yet available. NOX and                     used to develop the 2017 NEI. The                     emissions output from MOVES3. Types
                                                                                                       onroad emissions were computed                        of nonroad equipment include
                                              VOC reductions resulting from co-
                                                                                                       within SMOKE by multiplying
                                              benefits to New Source Performance                                                                             recreational vehicles, pleasure craft, and
                                                                                                       emissions factors developed using
                                              Standards (NSPS) for Stationary                                                                                construction, agricultural, mining, and
                                                                                                       MOVES with the appropriate activity
                                              Reciprocating Internal Combustion                                                                              lawn and garden equipment.70 The
                                                                                                       data. Prior to computing the final action
                                              Engines (RICE) are reflected, along with                                                                       nonroad emissions for the final action
                                                                                                       emissions for 2016, updates to some
                                              Natural Gas Turbine and Process Heater                                                                         were unchanged from those at the
                                                                                                       onroad inputs were made in response to
                                              NSPS NOX controls and Oil and Gas                                                                              proposal. The nonroad mobile
                                                                                                       comments and to implement
                                              NSPS VOC controls. In some cases, year                                                                         emissions control programs include
                                                                                                       corrections. Onroad mobile source
                                              2019 point source inventory data were                                                                          reductions to locomotives, diesel
                                                                                                       emissions for California were consistent
                                              used instead of the projected future year                with the updated emissions data
                                                                                                                                                             engines, and recreational marine
                                              emissions except for the Western                         provided by the state for the final                   engines, along with standards for fuel
                                              Regional Air Partnership (WRAP) states                   action.                                               sulfur content and evaporative
                                              of Colorado, New Mexico, Montana,                           The 2023 onroad emissions reflect                  emissions. A comprehensive list of
                                              Wyoming, Utah, North Dakota, and                         projected changes to fuel properties and
                                              South Dakota. The WRAP future year                       usage, along with the impact of the rules
                                                                                                                                                               69 VMT data for 2020 were the latest available at

                                              inventory 67 was used in these WRAP                                                                            the time of final rule data development but were
                                                                                                       included in MOVES3 for each of those                  heavily impacted by the pandemic and unusable to
                                              states in all future years except in New                 years. MOVES emissions factors for the                project to 2023; in addition, it was determined that
                                              Mexico where the WRAP base year                          year 2023 were used. A comprehensive                  chaining factors based on AEO 2020 and AEO2021
                                              emissions were projected using the EIA                   list of control programs included for                 obtain the needed factors led to unrealistic artifacts,
                                              historical and AEO forecasted                                                                                  thus only AEO 2022 data were used.
                                                                                                       onroad mobile sources is available in                   70 Line haul locomotives are also considered a
                                              production data. Estimated impacts                       the 2016v3 Emissions Modeling TSD.                    type of nonroad mobile source but the emissions
                                              from the recent oil and gas rule in the                  Year 2023 activity data for onroad                    inventories for locomotives were not developed
                                              New Mexico Administrative code                           mobile sources were provided by some                  using MOVES3. Year 2016 and 2023 locomotive
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                                              20.2.50 68 were also included. Details on                                                                      emissions were developed through the 2016v1
                                                                                                       state and local agencies, and otherwise               process, and the year 2016 emissions are mostly
                                              the development of the projected point                   were projected to 2023 by first                       consistent with those in the 2017 NEI. The
                                                                                                       projecting the 2016 activity to year 2019             projected locomotive emissions for 2023 were
                                                 67 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                                                                                       based on county level vehicle miles                   developed by applying factors to the base year
                                              2028_OTB_RevFinalReport_05March2020.pdf.                                                                       emissions using activity data based on AEO freight
                                                 68 https://www.env.nm.gov/air-quality/ozone-          traveled (VMT) from the Federal                       rail energy use growth rate projections along with
                                              draft-rule/ and https://www.srca.nm.gov/parts/           Highway Administration. The VMT                       emissions rates adjusted to account for recent
                                              title20/20.002.0050.html.                                were held flat from 2019 to 2021 to                   historical trends.



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                                              control programs included for mobile                     WRAP baseline inventory.72 A                          D.C. Circuit confirmed that the EPA’s
                                              sources is available in the 2016v3                       California Air Resources Board-                       approach to identifying maintenance
                                              Emissions Modeling TSD.                                  provided inventory was used for 2016                  receptors in CSAPR comported with the
                                                 For stationary nonpoint sources, some                 oil and gas emissions in California.                  court’s prior instruction to give
                                              emissions in the 2016 base case                          Nonpoint oil and gas inventories for                  independent meaning to the ‘‘interfere
                                              emissions inventory come directly from                   2023 were developed by first projecting               with maintenance’’ prong in the good
                                              the 2017 NEI, others were adjusted from                  the 2016 oil and gas inventories to 2021              neighbor provision.75
                                              the 2017 NEI to represent 2016 levels,                   values based on actual production data.                  In the CSAPR Update and the Revised
                                                                                                       Next, those 2021 emissions were                       CSAPR Update, the EPA identified
                                              and the remaining emissions including
                                                                                                       projected to 2023 using regional                      nonattainment receptors as those
                                              those from oil and gas, fertilizer, and
                                                                                                       projection factors by product type based              monitoring sites that are projected to
                                              solvents were computed specifically to
                                                                                                       on AEO 2022 projections. A 2017–2019                  have average design values that exceed
                                              represent 2016. Stationary nonpoint
                                                                                                       average inventory was used for oil and                the NAAQS and that are also measuring
                                              sources include evaporative sources,                     natural gas exploration emissions in
                                              consumer products, fuel combustion                                                                             nonattainment based on the most recent
                                                                                                       2023 everywhere except for California                 monitored design values. This approach
                                              that is not captured by point sources,                   and in the WRAP states in which data
                                              agricultural livestock, agricultural                                                                           is consistent with prior transport
                                                                                                       from the WRAP future year inventory 73                rulemakings, such as the NOX SIP Call
                                              fertilizer, residential wood combustion,                 were used. NOX and VOC reductions
                                              fugitive dust, and oil and gas sources.                                                                        and CAIR, where the EPA defined
                                                                                                       that are co-benefits to the NSPS for RICE             nonattainment receptors as those areas
                                              The emissions sources derived from the                   are reflected, along with Natural Gas
                                              2017 NEI include agricultural livestock,                                                                       that both currently monitor
                                                                                                       Turbines and Process Heaters NSPS                     nonattainment and that the EPA projects
                                              fugitive dust, residential wood                          NOX controls and NSPS Oil and Gas
                                              combustion, waste disposal (including                                                                          will be in nonattainment in the future
                                                                                                       VOC controls. The WRAP future year                    compliance year.
                                              composting), bulk gasoline terminals,                    inventory was used for oil and natural
                                              and miscellaneous non-industrial                                                                                  The Agency explained in the NOX SIP
                                                                                                       gas production sources in 2023 except                 Call and CAIR and then reaffirmed in
                                              sources such as cremation, hospitals,                    in New Mexico where the WRAP Base
                                              lamp breakage, and automotive repair                                                                           the CSAPR Update that the EPA has the
                                                                                                       year emissions were projected using the               most confidence in our projections of
                                              shops. A recent method to compute                        EIA historical and AEO forecasted
                                              solvent VOC emissions was used.71                                                                              nonattainment for those counties that
                                                                                                       production data. Estimated impacts                    also measure nonattainment for the
                                                 Where comments were provided                          from the New Mexico Administrative                    most recent period of available ambient
                                              about projected control measures or                      Code 20.2.50 were included.                           data. The EPA separately identified
                                              changes in nonpoint source emissions,                    B. Air Quality Modeling To Identify                   maintenance receptors as those
                                              those inputs were first reviewed by the                  Nonattainment and Maintenance                         receptors that would have difficulty
                                              EPA. Those found to be based on                          Receptors                                             maintaining the relevant NAAQS in a
                                              reasonable data for affected emissions                                                                         scenario that accounts for historical
                                              sources were incorporated into the                          This section describes the air quality
                                                                                                       modeling and analyses that the EPA                    variability in air quality at that receptor.
                                              projected inventories for 2023 to the                                                                          The variability in air quality was
                                              extent possible. Where possible,                         performed in Step 1 to identify locations
                                                                                                       where the Agency expects there to be                  determined by evaluating the
                                              projection factors based on the AEO                                                                            ‘‘maximum’’ future design value at each
                                              used data from AEO 2022, the most                        nonattainment or maintenance receptors
                                                                                                       for the 2015 ozone NAAQS in 2023.                     receptor based on a projection of the
                                              recent AEO at the time available at the                                                                        maximum measured design value over
                                              time the inventories were developed.                     Where the EPA’s analysis shows that an
                                                                                                       area or site does not fall under the                  the relevant period. The EPA interprets
                                              Federal regulations that impact the                                                                            the projected maximum future design
                                              nonpoint sources were reflected in the                   definition of a nonattainment or
                                                                                                       maintenance receptor in 2023, that site               value to be a potential future air quality
                                              inventories. Adjustments for state fuel                                                                        outcome consistent with the
                                              sulfur content rules for fuel oil in the                 is excluded from further analysis under
                                                                                                       the EPA’s good neighbor framework.                    meteorology that yielded maximum
                                              Northeast were included along with                                                                             measured concentrations in the ambient
                                              solvent controls applicable within the                   1. Approach for Identifying Receptors                 data set analyzed for that receptor (i.e.,
                                              northeast ozone transport region (OTR)                      In the proposed actions, the EPA                   ozone conducive meteorology). The EPA
                                              states. Details are available in the                     applied the same approach used in the                 also recognizes that previously
                                              2016v3 Emissions Modeling TSD.                           CSAPR Update and the Revised CSAPR                    experienced meteorological conditions
                                                 Nonpoint oil and gas emissions                        Update to identify nonattainment and                  (e.g., dominant wind direction,
                                              inventories for many states were                         maintenance receptors for the 2008                    temperatures, and air mass patterns)
                                              developed based on outputs from the                      ozone NAAQS.74 The EPA’s approach                     promoting ozone formation that led to
                                              2017 NEI version of the EPA Oil and                      gives independent effect to both the                  maximum concentrations in the
                                              Gas Tool using activity data for year                    ‘‘contribute significantly to                         measured data may reoccur in the
                                              2016. Production-related emissions data                  nonattainment’’ and the ‘‘interfere with              future. The maximum design value
                                              from the 2017 NEI were used for                          maintenance’’ prongs of section                       gives a reasonable projection of future
                                              Oklahoma, 2016v1 emissions were used                     110(a)(2)(D)(i)(I), consistent with the               air quality at the receptor under a
                                              for Colorado and Texas production-                       D.C. Circuit’s direction in North                     scenario in which such conditions do,
                                              related sources to respond to comments.                  Carolina. Further, in its decision on the             in fact, reoccur. The projected
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                                              Data for production-related nonpoint oil                 remand of CSAPR from the Supreme                      maximum design value is used to
                                              and gas emissions in the States of                       Court in the EME Homer City II case, the              identify upwind emissions that, under
                                              Colorado, Montana, New Mexico, North                                                                           those circumstances, could interfere
                                                                                                         72 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                              Dakota, South Dakota, Utah, and                                                                                with the downwind area’s ability to
                                                                                                       Report_Baseline_17Sep2019.pdf.
                                              Wyoming were obtained from the                             73 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                                                                                                                                             maintain the NAAQS.
                                                                                                       2028_OTB_RevFinalReport_05March2020.pdf.
                                                71 https://doi.org/10.5194/acp-21-5079-2021.             74 See 86 FR 23078–79.                                75 EME Homer City II, 795 F.3d at 136.




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                                                 Therefore, applying this methodology                     EPA Response: In response to                       our modeling did not identify these sites
                                              for this action, the EPA assessed the                    comments, the EPA compared the                        as receptors, we do not believe it is
                                              magnitude of the maximum projected                       projected 2023 design values based on                 sufficiently certain that these sites will
                                              design values for 2023 at each receptor                  the proposal modeling to recent trends                be in nonattainment that they should be
                                              in relation to the 2015 ozone NAAQS                      in measured data. As a result of this                 considered nonattainment receptors. In
                                              and, where such a value exceeds the                      analysis, the EPA agrees that current                 the face of this uncertainty in the
                                              NAAQS, the EPA determined that                           data indicate that there are monitoring               record, we regard our ability to consider
                                              receptor to be a ‘‘maintenance’’ receptor                sites at risk of continued nonattainment              such sites as receptors for purposes of
                                              for purposes of defining interference                    in 2023 even though the model                         good neighbor analysis under CAA
                                              with maintenance, consistent with the                    projected average and maximum design                  section 110(a)(2)(D)(i)(I) to be a function
                                              method used in CSAPR and upheld by                       values at these sites are below the                   of the requirement to prohibit emissions
                                              the D.C. Circuit in EME Homer City II.76                 NAAQS (i.e., these sites would not be                 that interfere with maintenance of the
                                              That is, monitoring sites with a                         modeling-based receptors at Step 1).                  NAAQS; even if an area may be
                                              maximum design value that exceeds the                    While the EPA has confidence in the                   projected to be in attainment, we have
                                              NAAQS are projected to have                              reliability of the modeling for projecting            reliable information indicating that
                                              maintenance problems in the future                       air quality conditions and contributions              there is a clear risk that attainment will
                                              analytic years.                                          in future years, it would not be                      not in fact be achieved in 2023. Thus,
                                                 Recognizing that nonattainment                        reasonable to ignore recent measured                  our authority for treating these sites as
                                              receptors are also, by definition,                       ozone levels in many areas that are                   receptors at Step 1 in 2023 flows from
                                              maintenance receptors, the EPA often                     clearly not fully consistent with certain             the responsibility in CAA section
                                              uses the term ‘‘maintenance-only’’ to                    concentrations in the Step 1 analysis for             110(a)(2)(i)(I) to prohibit emissions that
                                              refer to receptors that are not also                     2023. Therefore, the EPA has developed                interfere with maintenance of the
                                              nonattainment receptors. Consistent                      an additional maintenance-only                        NAAQS. See, e.g., North Carolina, 531
                                              with the concepts for maintenance                        receptor category, which includes what                F.3d at 910–11 (failing to give effect to
                                              receptors, as described earlier, the EPA                 we refer to as ‘‘violating monitor’’                  the interfere with maintenance clause
                                                                                                       receptors, based on current ozone                     ‘‘provides no protection for downwind
                                              identifies ‘‘maintenance-only’’ receptors
                                                                                                       concentrations measured by regulatory                 areas that, despite EPA’s predictions,
                                              as those monitoring sites that have
                                                                                                       ambient air quality monitoring sites.                 still find themselves struggling to meet
                                              projected average design values above                       Specifically, the EPA has identified
                                              the level of the applicable NAAQS, but                                                                         NAAQS due to upwind interference
                                                                                                       monitoring sites with measured 2021                   . . . .’’) (emphasis added). Recognizing
                                              that are not currently measuring                         and preliminary 2022 design values and
                                              nonattainment based on the most recent                                                                         that no modeling can perfectly forecast
                                                                                                       4th high maximum daily 8-hour average                 the future, and ‘‘a degree of imprecision
                                              official design values. In addition, those               (MDA8) ozone in both 2021 and 2022
                                              monitoring sites with projected average                                                                        is inevitable in tackling the problem of
                                                                                                       (preliminary data) that exceed the                    interstate air pollution,’’ this approach
                                              design values below the NAAQS, but                       NAAQS as having the greatest risk of
                                              with projected maximum design values                                                                           in the Agency’s judgement best balances
                                                                                                       continuing to have a problem attaining                the need to avoid both ‘‘under-control’’
                                              above the NAAQS are also identified as                   the standard in 2023. These criteria
                                              ‘‘maintenance only’’ receptors, even if                                                                        and ‘‘overcontrol,’’ EME Homer City,
                                                                                                       sufficiently consider measured air                    572 U.S. at 523. The EPA’s analysis of
                                              they are currently measuring                             quality data so as to avoid including
                                              nonattainment based on the most recent                                                                         these additional receptors further is
                                                                                                       monitoring sites that have measured
                                              official certified design values.77                                                                            explained in Section III.C.
                                                                                                       nonattainment data in recent years but
                                                 Comment: The EPA received                             could reasonably be anticipated to not                   However, because we did not propose
                                              comments claiming that the projected                     have a nonattainment or maintenance                   to apply this expansion of the basis for
                                              design values for 2023 were biased low                   problem in 2023, in line with our                     regulation under the good neighbor
                                              compared to recent measured data.                        modeling results. Our methodology is                  provision receptor-identification
                                              Commenters noted that a number of                        intended only to identify those sites that            methodology as the sole basis for
                                              monitoring sites that are projected to be                have sufficiently poor ozone levels that              finding an upwind state linked, in this
                                              below the NAAQS in 2023 based on the                     there is clearly a reasonable expectation             action we are only using this receptor
                                              EPA’s modeling for the proposed action                   that an ozone nonattainment or                        category on a confirmatory basis. That
                                              are currently measuring nonattainment                    maintenance problem will persist in the               is, for states that we find linked based
                                              based on data from 2020 and 2021. One                    2023 ozone season. Moreover, the 2023                 on our traditional modeling-based
                                              commenter requested that the EPA                         ozone season is so near in time that                  methodology in 2023, we find in this
                                              determine whether its past modeling                      recent measured ozone levels can be                   final analysis that the linkage at Step 2
                                              tends to overestimate or underestimate                   used to reasonably project whether an                 is strengthened and confirmed if that
                                              actual observed design values. If EPA                    air quality problem is likely to persist.             state is also linked to one or more
                                              finds that the agency’s model tends to                   We view this approach to identifying                  ‘‘violating-monitor’’ receptors. If a state
                                              underestimate future year design values,                 additional receptors in 2023 as the best              is only linked to a violating-monitor
                                              the commenter requests that EPA re-run                   means of responding to the comments                   receptor in this final analysis, we are
                                              its ozone modeling, incorporating                        on this issue in this action, while also              deferring taking final action on that
                                              parameters that account for this                         identifying all transport receptors.                  state’s SIP submittal. This is the case for
                                              tendency.                                                   For purposes of this action, we will               the State of Tennessee. Among the states
                                                                                                       treat these violating monitors as an                  that previously had their transport SIPs
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                                                76 EME Homer City II, 795 F.3d at 136.                 additional type of maintenance-only                   approved for the 2015 ozone NAAQS,
                                                 77 See https://www.epa.gov/air-trends/air-quality-    receptor. We acknowledge that the                     the EPA has also identified a linkage to
                                              design-values for design value reports. At the time      traditional modeling plus monitoring                  violating-monitor receptors for the State
                                              of this action, the most recent reports of certified     methodology we used at proposal and in                of Kansas. The EPA intends to further
                                              design values available are for the calendar year
                                              2021. The 2022 values are considered
                                                                                                       prior ozone transport rules would                     review its air quality modeling results
                                              ‘‘preliminary’’ and therefore subject to change          otherwise have identified such sites as               and recent measured ozone levels, and
                                              before certification.                                    being in attainment in 2023. Because                  we intend to address these states’ good


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                                              neighbor obligations as expeditiously as                 concentrations. Following the approach                For those sites that are projected to be
                                              practicable in a future action.                          in the CSAPR Update and the Revised                   violating the NAAQS based on the
                                                                                                       CSAPR Update, the EPA also projected                  average design values in 2023, the
                                              2. Methodology for Projecting Future
                                                                                                       future year design values based on a                  Agency examined the measured design
                                              Year Ozone Design Values
                                                                                                       modified version of the ‘‘3 x 3’’                     values for 2021, which are the most
                                                 Consistent with the EPA’s modeling                    approach for those monitoring sites                   recent official measured design values at
                                              guidance, the 2016 base year and future                  located in coastal areas. In this                     the time of this final action.
                                              year air quality modeling results were                   alternative approach, the EPA                           As noted earlier, the Agency proposes
                                              used in a relative sense to project design               eliminated from the RRF calculations                  to identify nonattainment receptors in
                                              values for 2023.78 That is, the ratios of                the modeling data in those grid cells                 this rulemaking as those sites that are
                                              future year model predictions to base                    that are dominated by water (i.e., more               violating the NAAQS based on current
                                              year model predictions are used to                       than 50 percent of the area in the grid               measured air quality through 2021 and
                                              adjust ambient ozone design values up                    cell is water) and that do not contain a              have projected average design values of
                                              or down depending on the relative                        monitoring site (i.e., if a grid cell is more         71 ppb or greater. Maintenance-only
                                              (percent) change in model predictions                    than 50 percent water but contains an                 receptors include both: (1) Those sites
                                              for each location. The EPA’s modeling                    air quality monitor, that cell would                  with projected average design values
                                              guidance recommends using measured                       remain in the calculation). The choice of             above the NAAQS that are currently
                                              ozone concentrations for the 5-year                      more than 50 percent of the grid cell                 measuring clean data (i.e., ozone design
                                              period centered on the base year as the                  area as water as the criteria for                     values below the level of the 2015 ozone
                                              air quality data starting point for future               identifying overwater grid cells is based             NAAQS in 2021) and (2) those sites
                                              year projections. This average design                    on the treatment of land use in the                   with projected average design values
                                              value is used to dampen the effects of                   Weather Research and Forecasting                      below the level of the NAAQS, but with
                                              inter-annual variability in meteorology                  model (WRF). Specifically, in the WRF                 projected maximum design values of 71
                                              on ozone concentrations and to provide                   meteorological model those grid cells                 ppb or greater. In addition to the
                                              a reasonable projection of future air                    that are greater than 50% overwater are               maintenance-only receptors, ozone
                                              quality at the receptor under average                    treated as being 100 percent overwater.               nonattainment receptors are also
                                              conditions. In addition, the Agency                      In such cases the meteorological                      maintenance receptors because the
                                              calculated maximum design values from                    conditions in the entire grid cell reflect            projected maximum design values for
                                              within the 5-year base period to                         the vertical mixing and winds over                    each of these sites is always greater than
                                              represent conditions when meteorology                                                                          or equal to the average design value.
                                                                                                       water, even if part of the grid cell also
                                              is more favorable than average for ozone                                                                       Further, as explained previously in this
                                                                                                       happens to be over land with land-based
                                              formation. Because the base year for the                                                                       section, the EPA identifies certain
                                                                                                       emissions, as can often be the case for
                                              air quality modeling used in this final                                                                        monitoring sites as ‘‘violating monitor’’
                                                                                                       coastal areas. Overlaying land-based
                                              action is 2016, measured data for 2014–                                                                        maintenance-only receptors based on
                                                                                                       emissions with overwater meteorology
                                              2018 (i.e., design values for 2016, 2017,                                                                      2021 and 2022 measured ozone levels.
                                                                                                       may be representative of conditions at
                                              and 2018) were used to project average                                                                           The monitoring sites that the Agency
                                                                                                       coastal monitors during times of on-
                                              and maximum design values in 2023.                                                                             projects to be nonattainment and
                                                 The ozone predictions from the 2016                   shore flow associated with synoptic
                                                                                                                                                             maintenance receptors for the ozone
                                              and future year air quality model                        conditions or sea-breeze or lake-breeze
                                                                                                                                                             NAAQS in the 2023 base case are used
                                              simulations were used to project 2016–                   wind flows. But there may be other
                                                                                                                                                             for assessing the contribution of
                                              2018 average and maximum ozone                           times, particularly with off-shore wind
                                                                                                                                                             emissions in upwind states to
                                              design values to 2023 using an approach                  flow, when vertical mixing of land-                   downwind nonattainment and
                                              similar to the approach in the EPA’s                     based emissions may be too limited due                maintenance of the 2015 ozone NAAQS
                                              guidance for attainment demonstration                    to the presence of overwater                          as part of this final action.
                                              modeling. This guidance recommends                       meteorology. Thus, for our modeling the
                                              using model predictions from the 3 x 3                   EPA projected average and maximum                     3. 2023 Nonattainment and
                                              array of grid cells surrounding the                      design values at individual monitoring                Maintenance-Only Receptors for the
                                                                                                       sites based on both the ‘‘3 x 3’’ approach            Final Action
                                              location of the monitoring site to
                                              calculate a Relative Response Factor                     as well as the alternative approach that                 In this section we provide information
                                              (RRF) for that site. However, the                        eliminates overwater cells in the RRF                 on modeling-based design values and
                                              guidance also notes that an alternative                  calculation for near-coastal areas (i.e.,             measured data for monitoring sites
                                              array of grid cells may be used in certain               ‘‘no water’’ approach). The projected                 identified as nonattainment or
                                              situations where local topographic or                    2023 design values using both the ‘‘3 x               maintenance-only receptors in 2023 for
                                              geographical feature (e.g., a large water                3’’ and ‘‘no-water’’ approaches are                   this final action. Table III.B–1 of this
                                              body or a significant elevation change)                  provided in the docket for this final                 action contains the 2016-centered base
                                              may influence model response.                            action. Both approaches result in the                 period average and maximum 8-hour
                                                 The 2016–2018 base period average                     same set of receptors in 2023. That is,               ozone design values, the 2023 projected
                                              and maximum design values were                           monitoring sites that are identified as               average and maximum design values
                                              multiplied by the RRF to project each of                 receptors in 2023 based on the ‘‘3 x 3’’              and the measured 2021 design values
                                              these design values to 2023. In this                     approach are also receptors based on the              for monitoring sites that are projected to
                                              manner, the projected design values are                  ‘‘no water’’ approach.                                be nonattainment receptors in 2023.
                                              grounded in monitored data, and not the                     Consistent with the truncation and                 Table III.B–2 of this action contains this
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                                              absolute model-predicted future year                     rounding procedures for the 8-hour                    same information for monitoring sites
                                                                                                       ozone NAAQS, the projected design                     that are projected to be maintenance-
                                                78 U.S. Environmental Protection Agency, 2018.         values are evaluated after truncation to              only receptors in 2023, based on air
                                              Modeling Guidance for Demonstrating Attainment           integers in units of ppb. Therefore,                  quality modeling. Table III.B–3 of this
                                              of Air Quality Goals for Ozone, PM2.5, and Regional
                                              Haze, Research Triangle Park, NC. https://
                                                                                                       projected design values that are greater              action contains the 2023 projected
                                              www.epa.gov/scram/state-implementation-plan-sip-         than or equal to 71 ppb are considered                average and maximum design values
                                              attainment-demonstration-guidance.                       to be violating the 2015 ozone NAAQS.                 and 2021 design values and 4th high


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                                              MDA8 ozone concentrations and                                monitor maintenance-only receptors.                    on the approach for projecting average
                                              preliminary 2020 design values and 4th                       The design values for all monitoring                   and maximum design values are
                                              high MDA8 ozone concentrations for                           sites in the U.S. are provided in the                  provided in the AQM TSD.
                                              monitoring sites identified as violating                     docket for this action. Additional details

                                                TABLE III.B–1—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                  2021 DESIGN VALUES (PPB) AT PROJECTED NONATTAINMENT RECEPTORS a
                                                                                                                            2016 centered    2016 centered                           2023
                                                    Monitor ID              State                  County                                                       2023 average                      2021
                                                                                                                               average         maximum                              maximum

                                              060650016 ................            CA   Riverside ...................               79.0                80.0              72.2          73.1              78
                                              060651016 ................            CA   Riverside ...................               99.7                101               91.0          92.2              95
                                              080350004 ................            CO   Douglas ....................                77.3                 78               71.3          71.9              83
                                              080590006 ................            CO   Jefferson ...................               77.3                 78               72.8          73.5              81
                                              080590011 ................            CO   Jefferson ...................               79.3                 80               73.5          74.1              83
                                              090010017 ................            CT   Fairfield .....................             79.3                 80               71.6          72.2              79
                                              090013007 ................            CT   Fairfield .....................             82.0                 83               72.9          73.8              81
                                              090019003 ................            CT   Fairfield .....................             82.7                 83               73.3          73.6              80
                                              481671034 ................            TX   Galveston .................                 75.7                  77              71.5          72.8              72
                                              482010024 ................            TX   Harris ........................             79.3                 81               75.1          76.7              74
                                              490110004 ................            UT   Davis .........................             75.7                 78               72.0          74.2              78
                                              490353006 ................            UT   Salt Lake ..................                76.3                 78               72.6          74.2              76
                                              490353013 ................            UT   Salt Lake ..................                76.5                 77               73.3          73.8              76
                                              551170006 ................            WI   Sheboygan ...............                   80.0                 81               72.7          73.6              72
                                                a 2016-centered base period average design values and projected average and maximum design values are reported with 1 digit to the right of
                                              the decimal, as recommended in the EPA’s modeling guidance. The 2016 maximum design values and 2021 design values are truncated to inte-
                                              ger values consistent with ozone design value reporting convention in appendix U of 40 CFR part 50.

                                                TABLE III.B–2—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                 2021 DESIGN VALUES (PPB) AT PROJECTED MAINTENANCE-ONLY RECEPTORS
                                                                                                                            2016 centered    2016 centered                           2023
                                                    Monitor ID              State                  County                                                       2023 average                      2021
                                                                                                                               average         maximum                              maximum

                                              040278011 ................        AZ       Yuma ........................               72.3                  74              70.4          72.1              67
                                              080690011 ................        CO       Larimer .....................               75.7                  77              70.9          72.1              77
                                              090099002 ................        CT       New Haven ...............                   79.7                  82              70.5          72.6              82
                                              170310001 ................         IL      Cook .........................              73.0                  77              68.2          71.9              71
                                              170314201 ................         IL      Cook .........................              73.3                  77              68.0          71.5              74
                                              170317002 ................         IL      Cook .........................              74.0                  77              68.5          71.3              73
                                              350130021 ................        NM       Dona Ana .................                  72.7                  74              70.8          72.1              80
                                              350130022 ................        NM       Dona Ana .................                  71.3                  74              69.7          72.4              75
                                              350151005 ................        NM       Eddy .........................              69.7                  74              69.7          74.1              77
                                              350250008 ................        NM       Lea ............................            67.7                  70              69.8          72.2              66
                                              480391004 ................        TX       Brazoria ....................               74.7                  77              70.4          72.5              75
                                              481210034 ................        TX       Denton ......................               78.0                  80              69.8          71.6              74
                                              481410037 ................        TX       El Paso .....................               71.3                  73              69.8          71.4              75
                                              482010055 ................        TX       Harris ........................             76.0                  77              70.9          71.9              77
                                              482011034 ................        TX       Harris ........................             73.7                  75              70.1          71.3              71
                                              482011035 ................        TX       Harris ........................             71.3                  75              67.8          71.3              71
                                              530330023 ................        WA       King ..........................             73.3                  77              67.6          71.0              64
                                              550590019 ................        WI       Kenosha ...................                 78.0                  79              70.8          71.7              74
                                              551010020 ................        WI       Racine ......................               76.0                  78              69.7          71.5              73



                                                In total, in 2023 there are a total of                     are identified as ‘‘violating-monitor’’                the analytical basis for our Step 2
                                              projected 33 modeling-based receptors                        maintenance-only receptors in 2023.As                  findings by establishing that many
                                              nationwide including 14 nonattainment                        noted earlier in this section, the EPA                 upwind states covered in this action are
                                              receptors in 9 different counties and 19                     uses the approach of considering                       also projected to contribute above 1
                                              maintenance-only receptors in 13                             ‘‘violating-monitor’’ maintenance-only                 percent of the NAAQS to these
                                              additional counties (Harris County, TX,                      receptors as confirmatory of the                       additional ‘‘violating monitor’’
                                              has both nonattainment and                                   proposal’s identification of receptors                 maintenance-only receptors.
                                              maintenance-only receptors).                                 and does not implicate additional
                                                As shown in Table III.B–3 of this                          linked states in this final action, Rather,
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                                              action, there are 49 monitoring sites that                   using this approach serves to strengthen




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                                                TABLE III.B–3—AVERAGE AND MAXIMUM 2023 BASE CASE 8-HOUR OZONE, AND 2021 AND PRELIMINARY 2022 DESIGN
                                                                   VALUES (PPB) AND 4TH HIGH CONCENTRATIONS AT VIOLATING MONITORS a
                                                                                                                         2023            2023                                               2021          2022 P
                                                    Monitor ID             State                  County                                                   2021           2022 P
                                                                                                                        average         maximum                                           4th high        4th high

                                              40070010 ................         AZ     Gila .........................          67.9             69.5              77               76             75                  74
                                              40130019 ................         AZ     Maricopa .................              69.8             70.0              75               77             78                  76
                                              40131003 ................         AZ     Maricopa .................              70.1             70.7              80               80             83                  78
                                              40131004 ................         AZ     Maricopa .................              70.2             70.8              80               81             81                  77
                                              40131010 ................         AZ     Maricopa .................              68.3             69.2              79               80             80                  78
                                              40132001 ................         AZ     Maricopa .................              63.8             64.1              74               78             79                  81
                                              40132005 ................         AZ     Maricopa .................              69.6             70.5              78               79             79                  77
                                              40133002 ................         AZ     Maricopa .................              65.8             65.8              75               75             81                  72
                                              40134004 ................         AZ     Maricopa .................              65.7             66.6              73               73             73                  71
                                              40134005 ................         AZ     Maricopa .................              62.3             62.3              73               75             79                  73
                                              40134008 ................         AZ     Maricopa .................              65.6             66.5              74               74             74                  71
                                              40134010 ................         AZ     Maricopa .................              63.8             66.9              74               76             77                  75
                                              40137020 ................         AZ     Maricopa .................              67.0             67.0              76               77             77                  75
                                              40137021 ................         AZ     Maricopa .................              69.8             70.1              77               77             78                  75
                                              40137022 ................         AZ     Maricopa .................              68.2             69.1              76               78             76                  79
                                              40137024 ................         AZ     Maricopa .................              67.0             67.9              74               76             74                  77
                                              40139702 ................         AZ     Maricopa .................              66.9             68.1              75               77             72                  77
                                              40139704 ................         AZ     Maricopa .................              65.3             66.2              74               77             76                  76
                                              40139997 ................         AZ     Maricopa .................              70.5             70.5              76               79             82                  76
                                              40218001 ................         AZ     Pinal ........................          67.8             69.0              75               76             73                  77
                                              80013001 ................         CO     Adams .....................             63.0             63.0              72               77             79                  75
                                              80050002 ................         CO     Arapahoe ................               68.0             68.0              80               80             84                  73
                                              80310002 ................         CO     Denver ....................             63.6             64.8              72               74             77                  71
                                              80310026 ................         CO     Denver ....................             64.5             64.8              75               77             83                  72
                                              90079007 ................         CT     Middlesex ................              68.7             69.0              74               73             78                  73
                                              90110124 ................         CT     New London ...........                  65.5             67.0              73               72             75                  71
                                              170310032 ..............            IL   Cook .......................            67.3             69.8              75               75             77                  72
                                              170311601 ..............            IL   Cook .......................            63.8             64.5              72               73             72                  71
                                              181270024 ..............           IN    Porter ......................           63.4             64.6              72               73             72                  73
                                              260050003 ..............           MI    Allegan ....................            66.2             67.4              75               75             78                  73
                                              261210039 ..............           MI    Muskegon ...............                67.5             68.4              74               79             75                  82
                                              320030043 ..............          NV     Clark .......................           68.4             69.4              73               75             74                  74
                                              350011012 ..............          NM     Bernalillo .................            63.8             66.0              72               73             76                  74
                                              350130008 ..............          NM     Dona Ana ................               65.6             66.3              72               76             79                  78
                                              361030002 ..............          NY     Suffolk .....................           66.2             68.0              73               74             79                  74
                                              390850003 ..............          OH     Lake ........................           64.3             64.6              72               74             72                  76
                                              480290052 ..............          TX     Bexar ......................            67.1             67.8              73               74             78                  72
                                              480850005 ..............          TX     Collin .......................          65.4             66.0              75               74             81                  73
                                              481130075 ..............          TX     Dallas ......................           65.3             66.5              71               71             73                  72
                                              481211032 ..............          TX     Denton ....................             65.9             67.7              76               77             85                  77
                                              482010051 ..............          TX     Harris ......................           65.3             66.3              74               73             83                  72
                                              482010416 ..............          TX     Harris ......................           68.8             70.4              73               73             78                  71
                                              484390075 ..............          TX     Tarrant ....................            63.8             64.7              75               76             76                  77
                                              484391002 ..............          TX     Tarrant ....................            64.1             65.7              72               77             76                  80
                                              484392003 ..............          TX     Tarrant ....................            65.2             65.9              72               72             74                  72
                                              484393009 ..............          TX     Tarrant ....................            67.5             68.1              74               75             75                  75
                                              490571003 ..............          UT     Weber .....................             69.3             70.3              71               74             77                  71
                                              550590025 ..............          WI     Kenosha ..................              67.6             70.7              72               73             72                  71
                                              550890008 ..............          WI     Ozaukee .................               65.2             65.8              71               72             72                  72
                                                a 2022 preliminary design values are based on 2022 measured MDA8 concentrations provided by state air agencies to the EPA’s Air Quality
                                              System (AQS), as of January 3, 2023.


                                              C. Air Quality Modeling To Quantify                         CAMx employs enhanced source                              The EPA performed nationwide, state-
                                              Upwind State Contributions                                  apportionment techniques that track the                 level ozone source apportionment
                                                This section documents the                                formation and transport of ozone from                   modeling using the CAMx Ozone
                                              procedures the EPA used to quantify the                     specific emissions sources and                          Source Apportionment Technology/
                                              impact of emissions from specific                           calculates the contribution of sources                  Anthropogenic Precursor Culpability
                                              upwind states on ozone design values in                     and precursors to ozone for individual                  Analysis (OSAT/APCA) technique 79 to
                                              2023 for the identified downwind                            receptor locations. The benefit of the                  quantify the contribution of 2023 NOX
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                                              nonattainment and maintenance                               photochemical model source                              and VOC emissions from all sources in
                                              receptors. The EPA used CAMx                                apportionment technique is that all                     each state to the corresponding
                                              photochemical source apportionment                          modeled ozone at a given receptor                       projected ozone design values in 2023 at
                                              modeling to quantify the impact of                          location in the modeling domain is
                                                                                                                                                                    79 As part of this technique, ozone formed from
                                              emissions in specific upwind states on                      tracked back to specific sources of                     reactions between biogenic VOC and NOX with
                                              downwind nonattainment and                                  emissions and boundary conditions to                    anthropogenic NOX and VOC are assigned to the
                                              maintenance receptors for 8-hour ozone.                     fully characterize culpable sources.                    anthropogenic emissions.



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                                              air quality monitoring sites. The CAMx                                           The contribution modeling provided                                            (2) Average the contributions and
                                              OSAT/APCA model run was performed                                             contributions to ozone from                                                   average the concentrations for the top 10
                                              for the period May 1 through September                                        anthropogenic NOX and VOC emissions                                           modeled ozone concentration days in
                                              30 using the projected future base case                                       in each state, individually. The                                              2023;
                                              emissions and 2016 meteorology for this                                       contributions to ozone from chemical                                             (3) Divide the average contribution by
                                              time period. In the source                                                    reactions between biogenic NOX and                                            the corresponding average concentration
                                              apportionment modeling the Agency                                             VOC emissions were modeled and                                                to obtain a Relative Contribution Factor
                                              tracked (i.e., tagged) the amount of                                          assigned to the ‘‘biogenic’’ category. The                                    (RCF) for each monitoring site;
                                              ozone formed from anthropogenic                                               contributions from wildfire and
                                              emissions in each state individually as                                       prescribed fire NOX and VOC emissions                                            (4) Multiply the 2023 average design
                                              well as the contributions from other                                          were modeled and assigned to the                                              value by the 2023 RCF at each site to
                                              sources (e.g., natural emissions).                                            ‘‘fires’’ category. That is, the                                              produce the average contribution metric
                                                 In the state-by-state source                                               contributions from the ‘‘biogenic’’ and                                       values in 2023; 81
                                              apportionment model run, the EPA                                              ‘‘fires’’ categories are not assigned to                                         (5) Truncate the average contribution
                                              tracked the ozone formed from each of                                         individual states nor are they included                                       metric values to two digits to the right
                                              the following tags:                                                           in the state contributions.                                                   of the decimal for comparison to the 1
                                                 • States—anthropogenic NOX                                                    For the Step 2 analysis, the EPA                                           percent of the NAAQS screening
                                              emissions and VOC emissions from                                              calculated a contribution metric that                                         threshold (0.70 ppb)
                                              individual state (emissions from all                                          considers the average contribution on
                                              anthropogenic sectors in a given state                                                                                                                         The resulting contributions from each
                                                                                                                            the 10 highest ozone concentration days
                                              were combined);                                                                                                                                             tag to each monitoring site in the U.S.
                                                                                                                            (i.e., top 10 days) in 2023 using the same
                                                 • Biogenics—biogenic NOX and VOC                                           approach as the EPA used in the
                                                                                                                                                                                                          for 2023 can be found in the docket for
                                              emissions domain-wide (i.e., not by                                                                                                                         this final action. Additional details on
                                                                                                                            proposed action and in the Revised
                                              state);                                                                                                                                                     the source apportionment modeling and
                                                                                                                            CSAPR Update.80 This average
                                                 • Boundary Concentrations—                                                                                                                               the procedures for calculating
                                              concentrations transported into the air                                       contribution metric is intended to
                                                                                                                                                                                                          contributions can be found in the AQM
                                              quality modeling domain;                                                      provide a reasonable representation of
                                                                                                                                                                                                          TSD. The EPA’s response to comments
                                                 • Tribes—the emissions from those                                          the contribution from individual states
                                                                                                                                                                                                          on the method for calculating the
                                              tribal lands for which the Agency has                                         to projected future year design values,
                                                                                                                            based on modeled transport patterns                                           contribution metric can be found in the
                                              point source inventory data emissions                                                                                                                       RTC document for this final action.
                                              modeling platform (EPA did not model                                          and other meteorological conditions
                                              the contributions from individual                                             generally associated with modeled high                                           The largest contribution from each
                                              tribes);                                                                      ozone concentrations at the receptor. An                                      state that is the subject of this final
                                                 • Canada and Mexico—                                                       average contribution metric constructed                                       action to modeled 8-hour ozone
                                              anthropogenic emissions from those                                            in this manner ensures the magnitude of                                       nonattainment and modeling-based
                                              sources in the portions of Canada and                                         the contributions is directly related to                                      maintenance receptors in downwind
                                              Mexico included within the modeling                                           the magnitude of the ozone design value                                       states in 2023 are provided in Table
                                              domain (the EPA did not model the                                             at each site.                                                                 III.C–1 of this action. The largest
                                              contributions from Canada and Mexico                                             The analytic steps for calculating the                                     contribution from each state to the
                                              separately);                                                                  contribution metric for the 2023 analytic                                     additional ‘‘violating monitor’’
                                                 • Fires—combined emissions from                                            year are as follows:                                                          maintenance-only receptors is provided
                                              wild and prescribed fires domain-wide                                            (1) Calculate the 8-hour average                                           in Table III.C–2 of this action. All states
                                              (i.e., not by state); and                                                     contribution from each source tag to                                          that are linked to one or more
                                                 • Offshore—combined emissions                                              individual ozone monitoring site for the                                      nonattainment or maintenance-only
                                              from offshore marine vessels and                                              time period of the 8-hour daily                                               receptors are also linked to one or more
                                              offshore drilling platforms within the                                        maximum modeled concentrations in                                             violating monitor maintenance
                                              modeling domain.                                                              2023;                                                                         receptors, except for Minnesota.

                                                TABLE III.C–1—LARGEST CONTRIBUTION BY STATE TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE
                                                                                       RECEPTORS IN 2023 (ppb)
                                                                                                                                                                                                                          Largest             Largest
                                                                                                                                                                                                                        contribution        contribution
                                                                                                                     Upwind state                                                                                     to a downwind       to a downwind
                                                                                                                                                                                                                      nonattainment      maintenance-only
                                                                                                                                                                                                                         receptor            receptor

                                              Alabama .......................................................................................................................................................                    0.75                   0.65
                                              Arkansas ......................................................................................................................................................                    0.94                   1.21
                                              California ......................................................................................................................................................                 35.27                   6.31
                                              Illinois ...........................................................................................................................................................              13.89                  19.09
                                              Indiana .........................................................................................................................................................                  8.90                  10.03
                                              Kentucky ......................................................................................................................................................                    0.84                   0.79
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                                              Louisiana ......................................................................................................................................................                   9.51                   5.62

                                                80 The use of daily contributions on the top 10                               81 Note that a contribution metric value was not                            contributions are based on the days with the highest
                                              concentration days for calculating the average                                calculated for any receptor at which there were                               ozone projections. This criterion is consistent with
                                              contribution metric is designed to be consistent                              fewer than 5 days with model-predicted MDA8                                   the criterion for projecting design values, as
                                              with the method specified in the modeling                                     ozone concentrations greater than or equal to 60                              recommended in the EPA’s modeling guidance. In
                                              guidance in terms of the number of days to use                                ppb in 2023. Eliminating from the Step 2 evaluation                           the modeling for this final action, the monitoring
                                              when projecting future year design values.                                    any receptors for which the modeling does not meet                            site in Seattle, Washington (530330023), was the
                                                                                                                            this criterion ensures that upwind state                                      only receptor that did not meet this criterion.



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                                                TABLE III.C–1—LARGEST CONTRIBUTION BY STATE TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE
                                                                                 RECEPTORS IN 2023 (ppb)—Continued
                                                                                                                                                                                                                        Largest             Largest
                                                                                                                                                                                                                      contribution        contribution
                                                                                                                        Upwind state                                                                                to a downwind       to a downwind
                                                                                                                                                                                                                    nonattainment      maintenance-only
                                                                                                                                                                                                                       receptor            receptor

                                              Maryland ......................................................................................................................................................                  1.13                  1.28
                                              Michigan .......................................................................................................................................................                 1.59                  1.56
                                              Minnesota ....................................................................................................................................................                   0.36                  0.85
                                              Mississippi ....................................................................................................................................................                 1.32                  0.91
                                              Missouri ........................................................................................................................................................                1.87                  1.39
                                              Nevada .........................................................................................................................................................                 1.11                  1.13
                                              New Jersey ..................................................................................................................................................                    8.38                  5.79
                                              New York .....................................................................................................................................................                  16.10                 11.29
                                              Ohio .............................................................................................................................................................               2.05                  1.98
                                              Oklahoma .....................................................................................................................................................                   0.79                  1.01
                                              Texas ...........................................................................................................................................................                1.03                  4.74
                                              Utah .............................................................................................................................................................               1.29                  0.98
                                              West Virginia ................................................................................................................................................                   1.37                  1.49
                                              Wisconsin .....................................................................................................................................................                  0.21                  2.86

                                                 TABLE III.C–2—LARGEST CONTRIBU-                                             more recent air quality and contribution                                   summary of Alabama’s June 21, 2022,
                                                 TION TO DOWNWIND 8-HOUR OZONE                                               information. Here we provide a brief,                                      SIP submission, as well as Alabama’s
                                                 ‘‘VIOLATING   MONITOR’’ MAINTE-                                             high level overview of the SIP                                             previous submission history, was
                                                 NANCE-ONLY RECEPTORS (ppb)
                                                                                                                             submissions and the EPA’s evaluation                                       provided in the proposed SIP
                                                                                                                             and key bases for disapproval. These                                       submission disapproval.83 In its
                                                                                                            Largest          summaries are presented for ease of                                        submission, Alabama advocated for
                                                                                                          contribution       reference and to direct the public to the                                  discounting maintenance receptors
                                                                                                        to a downwind
                                                                                                           violating         most relevant portions of the proposals                                    through use of historical data trends.
                                                               Upwind State                                 monitor          and final rule record for further                                          The EPA finds Alabama’s approach is
                                                                                                         maintenance-
                                                                                                             only            information. The full basis for the EPA’s                                  not adequately justified.84 The EPA
                                                                                                           receptor          disapprovals is available in relevant                                      disagrees with Alabama’s assessment of
                                                                                                                             Federal Register notifications of                                          the 2016v2 modeling,85 and further
                                              Alabama ..........................................                      0.79
                                              Arkansas .........................................                      1.16
                                                                                                                             proposed disapproval for each state, in                                    responds to comments on model
                                              California .........................................                    6.97   the technical support documents                                            performance in Section III. The EPA
                                              Illinois ..............................................                16.53   informing the proposed and final action,                                   disagrees with Alabama’s arguments for
                                              Indiana .............................................                   9.39   and in the responses to comments in                                        application of a higher contribution
                                              Kentucky ..........................................                     1.57
                                              Louisiana .........................................                     5.06   Section V and the RTC document. In                                         threshold than 1 percent of the NAAQS
                                              Maryland ..........................................                     1.14   general, except as otherwise noted, the                                    at Step 2,86 and further addresses the
                                              Michigan ..........................................                     3.47   comments and updated air quality                                           relevance of ‘‘significant impact levels’’
                                              Minnesota ........................................                      0.64   information did not convince the
                                              Mississippi .......................................                     1.02
                                                                                                                                                                                                        within the Prevention of Significant
                                              Missouri ...........................................                    2.95   Agency that a change from proposal was                                     Deterioration program (‘‘PSD SILs’’) in
                                              Nevada ............................................                     1.11   warranted for any state. The exceptions                                    Section V.B.6. The EPA found technical
                                              New Jersey .....................................                        8.00   are that the EPA is deferring action at                                    flaws in Alabama’s back trajectory
                                              New York .........................................                     12.08
                                              Ohio .................................................                  2.25
                                                                                                                             this time on the proposed disapprovals                                     analysis.87 The State did not conduct an
                                              Oklahoma ........................................                       1.57   for Tennessee and Wyoming. Further,                                        adequate Step 3 analysis, and the EPA
                                              Texas ...............................................                   3.83   the EPA is finalizing partial approvals of                                 identified several unsupported
                                              Utah .................................................                  1.46   prong 1 (‘‘significant contribution to                                     assertions in the SIP submission.88
                                              West Virginia ...................................                       1.79
                                              Wisconsin ........................................                      5.10   nonattainment’’) for Minnesota and                                         Alabama also argued in its SIP
                                                                                                                             Wisconsin because they are linked only                                     submission that it had already
                                              IV. Summary of Bases for Disapproval                                           to maintenance-only receptors; the EPA                                     implemented all cost-effective controls.
                                                                                                                             is finalizing a partial disapproval with                                   However, the State included an
                                                 As explained in Section II, the EPA                                         respect to prong 2 (‘‘interference with                                    insufficient evaluation of additional
                                              relies on the 4-step interstate transport                                      maintenance’’) obligations for these two                                   emissions control opportunities to
                                              framework to evaluate obligations under                                        states.                                                                    support such a conclusion.89 The EPA
                                              CAA section 110(a)(2)(D)(i)(I). At
                                                                                                                             A. Alabama                                                                 further addresses arguments related to
                                              proposal, the EPA used this framework
                                              to guide its evaluation of each state’s                                          In the 2016v3 modeling, Alabama is                                       modeling-based receptors and does not consider the
                                              SIP submission. While the EPA used                                             projected to be linked above 1 percent                                     contributions to violating-monitor maintenance-
                                              this framework to maintain a nationally                                        of the NAAQS to one nonattainment                                          only receptors. Each state’s maximum contribution
                                              consistent and equitable approach to                                                                                                                      to downwind violating-monitor maintenance-only
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                                                                                                                             receptor. It is also linked to one                                         receptors is available in the Final Action AQM TSD.
                                              interstate transport, the contents of each                                     violating-monitor maintenance-only                                           83 87 FR 64419–64421.
                                              individual state’s submission were                                             receptor. Its highest-level contribution is                                  84 Id. at 64421–64422.
                                              evaluated on their own merits, and the                                         0.75 ppb to Galveston County, Texas                                          85 Id. at 64422–64423.
                                              EPA considered the facts and                                                   (AQS Site ID 481671034).82 A full                                            86 Id. at 64423–64424.
                                              information, including information from                                                                                                                     87 Id. at 64424–64425.

                                              the Agency, available to the state at the                                         82 The highest-magnitude downwind contribution                            88 Id. at 64425–64426.

                                              time of its submission, in addition to                                         from each state is based on the contributions to                             89 Id.




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                                              mobile sources in Section V.C.1.90                           transport SIP submission for the 2015                  ozone NAAQS.106 California included
                                              Additionally, as explained in Section                        ozone NAAQS.                                           no permanent and enforceable
                                              V.B.9,91 reliance on prior transport FIPs                                                                           emissions controls in its SIP
                                                                                                           C. California
                                              such as the CSAPR Update is not a                                                                                   submission 107 and argued that interstate
                                              sufficient analysis at Step 3. The State                       In the 2016v3 modeling, California is                transport is fundamentally different in
                                              included no permanent and enforceable                        projected to be linked above 1 percent                 the western U.S. than in the eastern
                                              emissions controls in its SIP                                of the NAAQS to eight nonattainment                    U.S., to which the EPA responds in
                                              submission.92 We provide further                             receptors and four maintenance-only                    Section V.C.3.108 We provide further
                                              response to comments regarding                               receptors. It is also linked to 26                     response to comments regarding
                                              Alabama’s SIP submission in the RTC                          violating-monitor maintenance-only                     California’s SIP submission in the RTC
                                              document. The EPA is finalizing                              receptor. Its highest-level contribution is
                                                                                                                                                                  document. The EPA is finalizing
                                              disapproval of Alabama’s interstate                          35.27 ppb to the nonattainment receptor
                                                                                                                                                                  disapproval of California’s interstate
                                              transport SIP submission for the 2015                        located on the Morongo Band of
                                                                                                                                                                  transport SIP submission for the 2015
                                              ozone NAAQS.                                                 Missions Indians reservation (AQS Site
                                                                                                           ID 060651016).101 A full summary of                    ozone NAAQS.
                                              B. Arkansas                                                  California’s October 1, 2018, SIP                      D. Illinois
                                                 In the 2016v3 modeling, Arkansas is                       submission was provided in the
                                              projected to be linked above 1 percent                       proposed SIP submission                                   In the 2016v3 modeling, Illinois is
                                              of the NAAQS to one nonattainment                            disapproval.102 The EPA found                          projected to be linked above 1 percent
                                              receptor and five maintenance-only                           technical and legal flaws in California’s              of the NAAQS to two nonattainment
                                              receptors. It is also linked to seven                        geographic, meteorological, wildfire,                  receptors and three maintenance-only
                                              violating-monitor maintenance-only                           and trajectories analysis, and the State’s             receptors. It is also linked to six
                                              receptor. Its highest-level contribution is                  arguments related to local, international,             violating-monitor maintenance-only
                                              1.21 ppb to Brazoria County Texas (AQS                       and non-anthropogenic emissions.103                    receptor. Its highest-level contribution is
                                              Site ID 480391004). A full summary of                        The EPA further addresses the topic of                 19.09 ppb to Kenosha County,
                                              Arkansas’s October 10, 2019, SIP                             international emissions in Section                     Wisconsin (AQS Site ID 550590019). A
                                              submission was provided in the                               V.C.2. The State did not conduct an                    full summary of Illinois’s May 21, 2019,
                                              proposed SIP submission disapproval.93                       adequate Step 3 analysis.104 California                SIP submission was provided in the
                                              The EPA disagrees with Arkansas’s                            in its SIP submission argued that it had               proposed SIP submission
                                              arguments for application of a higher                        already implemented all cost-effective                 disapproval.109 The EPA disagrees with
                                              contribution threshold than 1 percent of                     controls. However, California provided                 Illinois’s arguments for application of a
                                              the NAAQS at Step 2, and further                             an insufficient evaluation of additional               higher contribution threshold than 1
                                              addresses the relevance of PSD SILs in                       control opportunities to support such a                percent of the NAAQS at Step 2.110 The
                                              Section V.B.6.94 The EPA also found                          conclusion.105 Further, the State’s                    state did not conduct an adequate Step
                                              technical flaws in Arkansas’s                                reliance on the cost-effectiveness                     3 analysis.111 The State included an
                                              ‘‘consistent and persistent’’ claims and                     threshold in the CSAPR Update is                       insufficient evaluation of additional
                                              back trajectory analysis,95 and legal                        insufficient for the more protective 2015              emissions control opportunities in its
                                              flaws in the state’s arguments related to                                                                           SIP submission.112 The EPA also found
                                              relative contribution.96 The State did                         101 We note that, consistent with the EPA’s prior
                                                                                                                                                                  technical and legal flaws in Illinois’
                                              not conduct an adequate Step 3                               good neighbor actions in California, the regulatory
                                                                                                           ozone monitor located on the Morongo Band of           arguments related to ‘‘on-the-way’’
                                              analysis.97 Arkansas argued in its SIP                       Mission Indians (‘‘Morongo’’) reservation is a         controls, participation in the Lake
                                              submission that it had already                               projected downwind receptor in 2023. See               Michigan Air Directors Consortium
                                              implemented all cost-effective controls.                     monitoring site 060651016 in Table V.D–1. of this
                                                                                                                                                                  (LADCO), and international
                                              However, the State included an                               action. We also note that the Temecula, California,
                                                                                                           regulatory ozone monitor is a projected downwind       contributions.113 The EPA further
                                              insufficient evaluation of additional                        receptor in 2023 and in past regulatory actions has    addresses the topic of international
                                              emissions control opportunities to                           been deemed representative of air quality on the
                                                                                                                                                                  contribution in Section V.C.2. Further,
                                              support such a conclusion.98 Further,                        Pechanga Band of Luiseño Indians (‘‘Pechanga’’)
                                                                                                           reservation. See, e.g., Approval of Tribal             as explained in Section V.B.9., states
                                              the State’s reliance on the cost-
                                                                                                           Implementation Plan and Designation of Air             may not rely on non-SIP measures to
                                              effectiveness thresholds in the CSAPR                        Quality Planning Area; Pechanga Band of Luiseño
                                              and CSAPR Update is insufficient for                                                                                meet SIP requirements, and reliance on
                                                                                                           Mission Indians, 80 FR 18120, at 18121–18123
                                              the more protective 2015 ozone                               (April 3, 2015); see also monitoring site 060650016    prior transport FIPs such as the CSAPR
                                              NAAQS.99 The State included no                               in Table V.D–1. of this action. The presence of        Update is not a sufficient analysis at
                                              permanent and enforceable controls in
                                                                                                           receptors on, or representative of, the Morongo and    Step 3.114 The State included no
                                                                                                           Pechanga reservations does not trigger obligations     permanent and enforceable controls in
                                              its SIP submission.100 We provide                            for the Morongo and Pechanga Tribes. Nevertheless,
                                              further response to comments regarding                       these receptors are relevant to the EPA’s assessment   its SIP submission.115 We provide
                                              Arkansas’s SIP submission in the RTC                         of any linked upwind states’ good neighbor             further response to comments regarding
                                                                                                           obligations. See, e.g., Approval and Promulgation of   Illinois’s SIP submission in the RTC
                                              document. The EPA is finalizing                              Air Quality State Implementation Plans; California;
                                              disapproval of Arkansas’s interstate                         Interstate Transport Requirements for Ozone, Fine
                                                                                                                                                                  document. The EPA is finalizing
                                                                                                           Particulate Matter, and Sulfur Dioxide, 83 FR 65093    disapproval of Illinois’s interstate
                                                90 See also id. at 64425–64426.                            (December 19, 2018). Under 40 CFR 49.4(a), tribes
                                                91 See also id. at 64426.                                  are not subject to the specific plan submittal and      106 Id. at 31458–31459.
                                                92 Id.                                                     implementation deadlines for NAAQS-related              107 Id. at 31461.
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                                                93 87 FR 9798, 9803–9806 (February 22, 2022).
                                                                                                           requirements, including deadlines for submittal of      108 See also id. at 31453.
                                                                                                           plans addressing transport impacts. We also note
                                                94 Id. at 9806–9807.                                                                                               109 Id. at 9845.
                                                                                                           that California’s maximum contribution to a
                                                95 Id. at 9808–9809.                                                                                               110 Id. at 9852–9853.
                                                                                                           downwind state receptor is 6.31 ppb in Yuma
                                                96 Id. at 9809–9810.                                       County, Arizona (AQS Site ID 040278011).                111 Id. at 9853–9855.
                                                97 Id. at 9809–9810.                                         102 87 FR 31448–31452.                                112 Id. at 9853.
                                                98 Id. at 9810.                                              103 Id. at 31454–31457, 31460.                        113 Id. at 9853–9854.
                                                99 Id.                                                       104 Id. at 31458–31461.                               114 See also id. at 9854.
                                                100 Id. at 9811.                                             105 Id. at 31458.                                     115 Id. at 9855.




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                                              transport SIP submission for the 2015                     F. Kentucky                                           modeling.131 Kentucky in its SIP
                                              ozone NAAQS.                                                                                                    submission advocated for lower
                                                                                                           In the 2016v3 modeling, Kentucky is                interstate ozone transport responsibility
                                              E. Indiana                                                projected to be linked above 1 percent                for states linked only to maintenance-
                                                                                                        of the NAAQS to two nonattainment                     only receptors. The EPA finds
                                                 In the 2016v3 modeling, Indiana is                     receptors and one maintenance-only
                                              projected to be linked above 1 percent                                                                          Kentucky’s arguments in this regard
                                                                                                        receptor. It is also linked to four                   inadequately supported.132 The
                                              of the NAAQS to four nonattainment                        violating-monitor maintenance-only
                                              receptors and six maintenance-only                                                                              Commonwealth included no permanent
                                                                                                        receptor. Its highest-level contribution              and enforceable emissions controls in
                                              receptors. It is also linked to 10                        based on the 2016v3 modeling is 0.84
                                              violating-monitor maintenance                                                                                   its SIP submission.133 We provide
                                                                                                        ppb to Fairfield County, Connecticut                  further response to comments regarding
                                              receptors. Its highest-level contribution                 (AQS Site ID 090019003). A full
                                              is 10.03 ppb to Racine County,                                                                                  Kentucky’s SIP submission in the RTC
                                                                                                        summary of Kentucky’s January 11,                     document. The EPA is finalizing
                                              Wisconsin (AQS Site ID 551010020). A                      2019, SIP submission was provided in
                                              full summary of Indiana’s November 2,                                                                           disapproval of Kentucky’s interstate
                                                                                                        the proposed SIP submission                           transport SIP submission for the 2015
                                              2018, SIP submission was provided in                      disapproval.124 Although the EPA’s
                                              the proposed SIP submission                                                                                     ozone NAAQS.
                                                                                                        2016v3 modeling indicated a highest-
                                              disapproval.116 The EPA disagrees with                    level contribution below 1 ppb, the EPA               G. Louisiana
                                              Indiana’s arguments for application of a                  disagrees with Kentucky’s arguments for
                                              higher contribution threshold than 1                      application of a higher contribution                     In the 2016v3 modeling, Louisiana is
                                              percent of the NAAQS at Step 2.117 The                    threshold than 1 percent of the NAAQS                 projected to be linked above 1 percent
                                              State did not conduct an adequate Step                    at Step 2.125 Further, Kentucky is linked             of the NAAQS to two nonattainment
                                              3 analysis.118 The EPA found technical                    above 1 ppb to a violating-monitor                    receptors and five maintenance-only
                                              and legal flaws in Indiana’s arguments                    receptor. The EPA addresses the                       receptors. It is also linked to 10
                                              related to ozone concentration and                        relevance of the PSD SILs in Section                  violating-monitor maintenance-only
                                              design value trends, the timing of                        V.B.6. The Commonwealth did not                       receptor. Its highest-level contribution is
                                              expected source shutdowns, local                          conduct an adequate Step 3 analysis.126               9.51 ppb to Galveston County Texas
                                              emissions, international and offshore                     The EPA found technical and legal                     (AQS Site ID 481671034). A full
                                              contributions, Indiana’s portion of                       flaws in Kentucky’s arguments related                 summary of Louisiana’s November 13,
                                              contribution, and Indiana’s back                          to the level and timing of upwind versus              2019, SIP submission was provided in
                                                                                                        downwind-state responsibilities, NOX                  the proposed SIP submission
                                              trajectory analysis.119 The EPA further
                                                                                                        emissions trends and other air quality                disapproval.134 The EPA disagrees with
                                              addresses the topic of international
                                                                                                        information, and back-trajectory                      Louisiana’s arguments for application of
                                              emissions in Section V.C.2. Indiana
                                                                                                        analyses.127 The EPA also found                       a higher contribution threshold than 1
                                              argued that it would not be cost-
                                                                                                        technical and legal flaws in certain                  percent of the NAAQS and disagrees
                                              effective to implement controls on non-
                                                                                                        State-level comments submitted by                     with Louisiana’s criticisms of a 1
                                              EGUs. However, the State included an
                                                                                                        Midwest Ozone Group and attached to                   percent of the NAAQS contribution
                                              insufficient evaluation of additional                                                                           threshold at Step 2.135 The EPA further
                                              emissions control opportunities, for any                  Kentucky’s submission, including
                                                                                                        arguments related to international                    addresses technical comments on the 1
                                              type of source, to support that                                                                                 percent of the NAAQS contribution
                                              conclusion.120 The EPA also confirmed                     emissions.128 The EPA further addresses
                                                                                                        the topics of international emissions in              threshold in Section V.B.4. Louisiana
                                              that EGU shutdowns identified by                                                                                did not conduct an adequate Step 3
                                              Indiana were included in the 2016v2                       Section V.C.2. Kentucky in its SIP
                                                                                                        submission also argued that it had                    analysis.136 The State included an
                                              modeling,121 and if they were valid and                                                                         insufficient evaluation of additional
                                              not included in the 2016v2 modeling,                      already implemented all cost-effective
                                                                                                        controls. However, the Commonwealth                   emissions control opportunities in its
                                              then they were incorporated into the                                                                            SIP submission.137 The EPA also found
                                              2016v3 modeling as explained in                           included an insufficient evaluation of
                                                                                                        additional emissions control                          technical flaws in Louisiana’s
                                              Section III and the 2016v3 Emissions                                                                            ‘‘consistent and persistent’’ claims,
                                                                                                        opportunities to support such a
                                              Modeling TSD. Further, in Section                                                                               assessment of seasonal weather patterns,
                                                                                                        conclusion.129 As explained in Section
                                              V.B.9., states may not rely on non-SIP                                                                          surface wind directions, and back
                                                                                                        V.B.9., states may not rely on non-SIP
                                              measures to meet SIP requirements.122                                                                           trajectory analysis.138 The State
                                                                                                        measures to meet SIP requirements, and
                                              The State included no permanent and                                                                             included no permanent and enforceable
                                                                                                        reliance on prior transport FIPs such as
                                              enforceable emissions controls in its SIP                 the CSAPR Update is not a sufficient                  controls in its SIP submission.139 We
                                              submission.123 We provide further                         analysis at Step 3.130 The EPA also                   provide further response to comments
                                              response to comments regarding                            confirmed in the proposed SIP                         regarding Louisiana’s SIP submission in
                                              Indiana’s SIP submission in the RTC                       submission disapproval that EGU                       the RTC document. The EPA is
                                              document. The EPA is finalizing                           shutdowns identified by Kentucky were                 finalizing disapproval of Louisiana’s
                                              disapproval of Indiana’s interstate                       included in the 2016v2 modeling, and                  interstate transport SIP submission for
                                              transport SIP submission for the 2015                     yet Kentucky was still linked in that                 the 2015 ozone NAAQS.
                                              ozone NAAQS.
                                                                                                                                                                131 Id. at 9511–9512.
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                                                                                                          124 87 FR 9498, 9503–9507 (February 22, 2022).
                                                116 Id. at 9845–9847.                                     125 Id. at 9509–9510.                                 132 Id. at 9514–9515.
                                                117 Id. at 9855–9856.                                     126 Id. at 9511–9515.                                 133 Id. at 9515.
                                                118 Id. at 9857–9861.                                     127 Id. at 9512–9514.                                 134 Id. at 9811–9812.
                                                119 Id. at 9858–9861.                                     128 Id. at 9508, 9515. The state also did not         135 Id. at 9812, 9815–9816.
                                                120 Id. at 9857–9858.                                                                                           136 Id. at 9814–9816.
                                                                                                        explain its own views regarding the relevance of
                                                121 Id. at 9858–9859.                                   these materials to its submission. Id.                  137 Id. at 9814. 9816.
                                                122 See also id. at 9861.                                 129 Id. at 9511–9512.                                 138 Id. at 9814–9816.
                                                123 Id.                                                   130 See also id. at. 9512.                            139 Id. at 9816.




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                                              H. Maryland                                                  EPA further addresses technical                          the EPA acknowledges that Minnesota’s
                                                 In the 2016v3 modeling, Maryland is                       comments on the 1 percent of the                         Step 3 analysis was insufficient in part
                                              projected to be linked above 1 percent                       NAAQS contribution threshold in                          because the State assumed it was not
                                              of the NAAQS to three nonattainment                          Section V.B.4 and addresses comments                     linked at Step 2, this is ultimately
                                              receptors and one maintenance-only                           regarding the relevance of the PSD SILs                  inadequate to support a conclusion that
                                              receptor. It is also linked to three                         in Section V.B.6. The State did not                      the State’s sources do not interfere with
                                              violating-monitor maintenance                                conduct an adequate Step 3 analysis.148                  maintenance of the 2015 ozone NAAQS
                                              receptors. Its highest-level contribution                    Michigan argued in its SIP submission                    in other states in light of more recent air
                                              is 1.28 ppb to New Haven County,                             that additional controls would be                        quality analysis.154 The State included
                                              Connecticut (AQS Site ID 090099002). A                       premature and burdensome. However,                       no permanent and enforceable
                                              full summary of Maryland’s October 16,                       the State included an insufficient                       emissions controls in its SIP
                                              2019, SIP submission was provided in                         evaluation of additional emissions                       submission.155 We provide further
                                              the proposed SIP submission                                  control opportunities to support such a                  response to comments regarding
                                              disapproval.140 The state did not                            conclusion.149 The EPA found technical                   Minnesota’s SIP submission in the RTC
                                              conduct an adequate Step 3 analysis.141                      and legal flaws in Michigan’s arguments                  document. Although EPA proposed to
                                              The State included an insufficient                           related to upwind-state obligations as to                disapprove both prong 1 and prong 2 of
                                              evaluation of additional emissions                           maintenance-only receptors,                              Minnesota’s SIP submission, the present
                                              control opportunities in its SIP                             international emissions, relative                        record, including the results of the
                                              submission.142 Further, as explained in                      contribution, apportionment, and                         2016v3 modeling, indicates that
                                              Section V.B.9, states may not rely on                        upwind versus downwind-state                             Minnesota is not linked to any
                                              non-SIP measures to meet SIP                                 responsibilities.150 The EPA further                     nonattainment receptors.156 The EPA is
                                              requirements, and reliance on prior                          addresses the topics of mobile sources
                                                                                                                                                                    finalizing a partial approval of
                                              transport FIPs such as the CSAPR                             and international emissions in Sections
                                                                                                                                                                    Minnesota’s interstate transport SIP
                                              Update is not a sufficient analysis at                       V.C.1 and V.C.2, respectively. The EPA
                                                                                                                                                                    submission for the 2015 ozone NAAQS
                                              Step 3.143 The EPA also confirmed in                         also confirmed in the proposed SIP
                                                                                                                                                                    as to prong 1 and a partial disapproval
                                              the proposed SIP submission                                  submission disapproval that the EGU
                                                                                                                                                                    as to prong 2.
                                              disapproval that state emissions                             retirements identified by Michigan as
                                              controls and regulations identified by                       not included in the 2011-based EPA                       K. Mississippi
                                              Maryland were generally included in                          modeling, as well as various Federal
                                              the 2016v2 modeling, and yet Maryland                        rules, were included in the 2016v2                          In the 2016v3 modeling, Mississippi
                                              was still linked in that modeling.144 The                    modeling, and yet Michigan was still                     is projected to be linked above 1 percent
                                              State included no permanent and                              linked in that modeling.151 The State                    of the NAAQS to one nonattainment
                                              enforceable controls in its SIP                              included no permanent and enforceable                    receptor and two maintenance-only
                                              submission.145 We provide further                            emissions controls in its SIP                            receptors. It is also linked to eight
                                              response to comments regarding                               submission.152 We provide further                        violating-monitor maintenance
                                              Maryland’s SIP submission in the RTC                         response to comments regarding                           receptors. Its highest-level contribution
                                              document. The EPA is finalizing                              Michigan’s SIP submission in the RTC                     is 1.32 ppb to Galveston County, Texas
                                              disapproval of Maryland’s interstate                         document. The EPA is finalizing                          (AQS Site ID 481671034). A full
                                              transport SIP submission for the 2015                        disapproval of Michigan’s interstate                     summary of Mississippi’s September 3,
                                              ozone NAAQS.                                                 transport SIP submission for the 2015                    2019, SIP submission was provided in
                                                                                                           ozone NAAQS.                                             the proposed SIP submission
                                              I. Michigan                                                                                                           disapproval.157 In its submission,
                                                                                                           J. Minnesota
                                                 In the 2016v3 modeling, Michigan is                                                                                Mississippi advocated for discounting
                                              projected to be linked above 1 percent                          In the 2016v3 modeling, Minnesota is                  receptors through use of historical data
                                              of the NAAQS to four nonattainment                           projected to be linked above 1 percent                   trends. The EPA finds Mississippi’s
                                              receptors and six maintenance-only                           of the NAAQS to one maintenance-only                     approach is not adequately justified.158
                                              receptors. It is also linked to eight                        receptor. It is not linked to a violating-               In the 2011-based modeling,
                                              violating-monitor maintenance                                monitor maintenance-only receptor. Its                   Mississippi’s contribution to receptors
                                              receptors. Its highest-level contribution                    highest-level contribution is 0.85 ppb to                was above 1 percent of the NAAQS, but
                                              is 1.59 to Sheboygan County, Wisconsin                       Cook County, Illinois (AQS Site ID                       below 1 ppb. The EPA disagrees with
                                              (AQS Site ID 551170006). A full                              170310001). A full summary of                            Mississippi’s arguments for application
                                              summary of Michigan’s March 5, 2019,                         Minnesota’s October 1, 2018, SIP                         of a higher contribution threshold than
                                              SIP submission was provided in the                           submission was provided in the
                                              proposed SIP submission                                      proposed SIP submission                                    154 Id. at 9868–9869.

                                              disapproval.146 The EPA disagrees with                       disapproval.153 Because Minnesota was                      155 Id. at 9869.

                                              Michigan’s arguments for application of                      not projected to be linked to any                          156 The EPA received a comment that it would be

                                              a higher contribution threshold than 1                       receptor in 2023 in the EPA’s 2011-                      arbitrary and capricious for the EPA to finalize a
                                                                                                           based modeling, comments argued that                     full disapproval of Tennessee’s good neighbor SIP
                                              percent of the NAAQS as well as                                                                                       submission (both prong 1 and prong 2) if EPA
                                              criticisms of a 1 percent of the NAAQS                       the EPA must approve the SIP                             concluded the state is linked only to a maintenance-
                                              contribution threshold at Step 2.147 The                     submission and not rely on new                           only receptor (prong 2). EPA is deferring final
                                                                                                           modeling. The EPA responds to these                      action on Tennessee’s good neighbor SIP
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                                                140 Id. at 9469.                                           comments in Section V.A.4. Although                      submission, but in reviewing linkages in the 2016v3
                                                141 Id. at 9470–9473.                                                                                               modeling we determined that Minnesota and
                                                142 Id. at 9471, 9473.                                       148 Id. at 9863–9867.
                                                                                                                                                                    Wisconsin are not linked above 1 percent of the
                                                                                                                                                                    NAAQS to any nonattainment receptors (prong 1)
                                                143 See also id. at 9471, 9473 n.46, 9474.                   149 Id. at 9864.
                                                                                                                                                                    but are linked to maintenance-only receptors (prong
                                                144 Id. at 9472–9473.                                        150 Id. at 9864–9867.
                                                                                                                                                                    2); these states are receiving partial approvals and
                                                145 Id. at 9473–9474.                                        151 Id. at 9866.                                       partial disapprovals.
                                                146 Id. at 9847–9848.                                        152 Id. at 9867.                                         157 87 FR 9554.
                                                147 Id. at 9861–9862.                                        153 Id. at 9867.                                         158 Id. at 9556.




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                                              1 percent of the NAAQS at Step 2,159                         finalizing disapproval of Missouri’s June                New Jersey argued in its SIP submission
                                              and further addresses the relevance of                       10, 2019, interstate transport SIP                       that existing controls were sufficient to
                                              the PSD SILs in Section V.B.6. The state                     submission for the 2015 ozone NAAQS.                     address the State’s good neighbor
                                              did not conduct a Step 3 analysis.160                                                                                 obligations. However, the State included
                                                                                                           M. Nevada
                                              The State included no evaluation of                                                                                   an insufficient evaluation of additional
                                              additional emissions control                                    In the 2016v3 modeling, Nevada is                     emissions control opportunities to
                                              opportunities in its SIP submission.161                      projected to be linked above 1 percent                   support such a conclusion.175 The
                                              The State included no permanent and                          of the NAAQS to three nonattainment                      State’s reliance on the cost-effectiveness
                                              enforceable emissions controls in its SIP                    receptors and one maintenance-only                       threshold in the CSAPR Update is
                                              submission.162 We provide further                            receptor. It is also linked to one                       insufficient for a more protective
                                              response to comments regarding                               violating-monitor maintenance receptor.                  NAAQS.176 The State included no
                                              Mississippi’s SIP submission in the RTC                      Its highest-level contribution is 1.13 ppb               permanent and enforceable emissions
                                              document. The EPA is finalizing                              to Weber County, Utah (AQS Site ID                       controls in its SIP submission.177 We
                                              disapproval of Mississippi’s interstate                      490570002). A full summary of                            provide further response to comments
                                              transport SIP submission for the 2015                        Nevada’s October 1, 2018, SIP                            regarding New Jersey’s SIP submission
                                              ozone NAAQS.                                                 submission was provided in the                           in the RTC document. The EPA is
                                                                                                           proposed SIP submission                                  finalizing disapproval of New Jersey’s
                                              L. Missouri
                                                                                                           disapproval.169 Because Nevada was not                   interstate transport SIP submission for
                                                 In the 2016v3 modeling, Missouri is                       projected to be linked to any receptor in                the 2015 ozone NAAQS.
                                              projected to be linked above 1 percent                       2023 in the EPA’s 2011-based modeling,
                                              of the NAAQS to one nonattainment                                                                                     O. New York
                                                                                                           commenters on the proposed SIP
                                              receptor and three maintenance-only                          submission disapproval argued that the                      In the 2016v3 modeling, New York is
                                              receptors. It is also linked to five                         EPA must approve the SIP submission                      projected to be linked above 1 percent
                                              violating-monitor maintenance                                and not rely on new modeling. The EPA                    of the NAAQS to three nonattainment
                                              receptors. Its highest-level contribution                    responds to these comments in Section                    receptors and one maintenance-only
                                              is 1.87 ppb to Sheboygan County,                             V.A.4. The EPA also responds to                          receptor. It is also linked to two
                                              Wisconsin (AQS Site ID 551170006). A                         technical criticisms of the 1 percent of                 violating-monitor maintenance
                                              full summary of Missouri’s June 10,                          the NAAQS contribution threshold and                     receptors. Its highest-level contribution
                                              2019, SIP submission was provided in                         the relevance of the PSD SILs in Section                 is 16.10 ppb to Fairfield County,
                                              the proposed SIP submission                                  V.B.4 and in Section V.B.6, respectively.                Connecticut (AQS Site ID 090010017). A
                                              disapproval.163 In its submission,                           The State did not conduct a Step 3                       full summary of New York’s September
                                              Missouri advocated for discounting                           analysis.170 The State included no                       25, 2018, SIP submission was provided
                                              certain maintenance receptors through                        evaluation of additional emissions                       in the proposed SIP submission
                                              use of historical data trends. The EPA                       control opportunities in its SIP                         disapproval.178 The state did not
                                              finds Missouri’s approach is not                             submission.171 The State included no                     conduct an adequate Step 3 analysis.179
                                              adequately justified.164 The EPA                             additional emissions controls in its SIP                 New York argued in its SIP submission
                                              disagrees with Missouri’s arguments for                      submission.172 We provide response to                    that existing controls were sufficient to
                                              application of a higher contribution                         comments specific to interstate                          address the State’s good neighbor
                                              threshold than 1 percent of the NAAQS                        transport policy in the western U.S. in                  obligations. However, the state included
                                              at Step 2, and further addresses                                                                                      an insufficient evaluation of additional
                                                                                                           Section V.C.3. We provide further
                                              comments regarding the August 2018                                                                                    emissions control opportunities to
                                                                                                           response to comments regarding
                                              memorandum in Section V.B.7.165 The                                                                                   support such a conclusion.180 The
                                                                                                           Nevada’s SIP submission in the RTC
                                              State did not conduct a Step 3                                                                                        State’s reliance on the cost-effectiveness
                                                                                                           document. The EPA is finalizing
                                              analysis.166 The State included no                                                                                    threshold in the CSAPR Update is
                                                                                                           disapproval of Nevada’s interstate
                                              evaluation of additional emissions                                                                                    insufficient for the more protective 2015
                                                                                                           transport SIP submission for the 2015
                                              control opportunities in its SIP                                                                                      ozone NAAQS.181 The State included
                                                                                                           ozone NAAQS.
                                              submission.167 The State included no                                                                                  no permanent and enforceable
                                              permanent and enforceable emissions                          N. New Jersey                                            emissions controls in its SIP
                                              controls in its SIP submission.168 We                           In the 2016v3 modeling, New Jersey is                 submission.182 We provide further
                                              provide further response to comments                                                                                  response to comments regarding New
                                                                                                           projected to be linked above 1 percent
                                              regarding Missouri’s SIP submission in                                                                                York’s SIP submission in the RTC
                                                                                                           of the NAAQS to three nonattainment
                                              the RTC document. The EPA is                                                                                          document. The EPA is finalizing
                                                                                                           receptors and one maintenance-only
                                                                                                                                                                    disapproval of New York’s interstate
                                                                                                           receptor. It is also linked to three
                                                159 Id. at 9557.
                                                                                                                                                                    transport SIP submission for the 2015
                                                160 Id. at 9558.                                           violating-monitor maintenance
                                                                                                                                                                    ozone NAAQS.
                                                161 Id.                                                    receptors. Its highest-level contribution
                                                162 Id.                                                    is 8.38 ppb to Fairfield County,                         P. Ohio
                                                163 Id. at 9538–9540.                                      Connecticut (AQS Site ID 090019003). A                     In the 2016v3 modeling, Ohio is
                                                164 Id. at 9540–9541.
                                                                                                           full summary of New Jersey’s May 13,                     projected to be linked above 1 percent
                                                165 See also id. at 9541–9544.
                                                166 Id. at 9544.
                                                                                                           2019, SIP submission was provided in                     of the NAAQS to four nonattainment
                                                167 Id.
                                                                                                           the proposed SIP submission                              receptors and five maintenance-only
                                                 168 We note that in comments, Missouri indicated          disapproval.173 The State did not
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                                              its intent to submit a new SIP submission to the             conduct an adequate Step 3 analysis.174                    175 Id.

                                              EPA, which would re-evaluate good neighbor                                                                              176 Id.
                                              obligations based on its 2016v2 linkages and                   169 87 FR 31485, 31492–31493 (May 24, 2022).             177 Id. at 9496–9497.
                                              provide an analysis that would include emissions               170 Id. at 31493.                                        178 Id. at 9489–9490.
                                              reductions requirements. The EPA received this                 171 Id.                                                  179 Id. at 9492–9494.
                                              submission on November 1, 2022. The EPA
                                                                                                             172 Id.                                                  180 Id. at 9493.
                                              explains its consideration of this new submission
                                                                                                             173 Id. at 9490–9491.                                    181 Id. at 9493–9494.
                                              as separate SIP submission in the RTC document for
                                              this final action.                                             174 Id. at 9496.                                         182 Id. at 9494–9495.




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                                              receptors. It is also linked to nine                     sources.194 We further address this topic                threshold than 1 percent of the NAAQS
                                              violating-monitor maintenance                            in Section V.C.1. Ohio also argued in its                at Step 2 203 and further addresses
                                              receptors. Its highest-level contribution                SIP submission that it had already                       comments regarding the relevance of the
                                              is 2.05 ppb to Fairfield County,                         implemented all cost-effective controls.                 PSD SILs in Section V.B.6. The State did
                                              Connecticut (AQS Site ID 090019003). A                   However, the state included no                           not conduct an adequate Step 3
                                              full summary of Ohio’s September 28,                     evaluation of additional emissions                       analysis.204 Oklahoma argued in its SIP
                                              2018, SIP submission was provided in                     control opportunities to support such a                  submission that it had already
                                              the proposed SIP submission                              claim.195 Further, the State’s reliance on               implemented all cost-effective controls.
                                              disapproval.183 In its submission, Ohio                  the cost-effectiveness threshold in the                  However, the State included an
                                              advocated for use of the Texas                           CSAPR Update is insufficient for the                     insufficient evaluation of additional
                                              Commission on Environmental Quality                      more protective 2015 ozone NAAQS.196                     emissions control opportunities to
                                              (TCEQ)’s definition of maintenance                       The State included no permanent and                      support such a conclusion.205 As
                                              receptors. The EPA finds that TCEQ’s                     enforceable emissions controls in its SIP                explained in Section V.B.9, states may
                                              definition is legally and technically                    submission.197 We provide further                        not rely on non-SIP measures to meet
                                              flawed,184 and as a result Ohio’s                        response to comments regarding Ohio’s                    SIP requirements, and reliance on prior
                                              approach is also not adequately                          SIP submission in the RTC document.                      transport FIPs such as the CSAPR
                                              justified.185 The EPA further evaluates                  The EPA is finalizing disapproval of
                                                                                                                                                                Update is not a sufficient analysis at
                                              TCEQ’s technical arguments in a TSD                      Ohio’s interstate transport SIP
                                                                                                                                                                Step 3.206 Further, the State’s reliance
                                              prepared by regional modeling staff.186                  submission for the 2015 ozone NAAQS.
                                                                                                                                                                on the cost-effectiveness threshold in
                                              The EPA disagrees with Ohio’s
                                                                                                       Q. Oklahoma                                              the CSAPR Update is insufficient for the
                                              arguments for application of a higher
                                              contribution threshold than 1 percent of                    In the 2016v3 modeling, Oklahoma is                   more protective 2015 ozone NAAQS.207
                                              the NAAQS at Step 2.187 The EPA                          projected to be linked above 1 percent                   The EPA finds legal flaws in
                                              responds to technical criticisms of the 1                of the NAAQS to one nonattainment                        Oklahoma’s argument related to
                                              percent of the NAAQS contribution                        receptor and one maintenance-only                        collective contribution.208 The State
                                              threshold in Section V.B.4. The State                    receptor. It is also linked to eight                     included no permanent and enforceable
                                              did not conduct an adequate Step 3                       violating-monitor maintenance                            emissions controls in its SIP
                                              analysis.188 The State included an                       receptors. Its highest-level contribution                submission.209 We provide further
                                              insufficient evaluation of additional                    is 1.01 ppb to Denton County, Texas                      response to comments regarding
                                              emissions control opportunities in its                   (AQS Site ID 481210034). A full                          Oklahoma’s SIP submission in the RTC
                                              SIP submission.189 The EPA found                         summary of Oklahoma’s October 25,                        document. The EPA is finalizing
                                              technical deficiencies in Ohio’s                         2018, SIP submission was provided in                     disapproval of Oklahoma’s interstate
                                              unsubstantiated claims that emissions                    the proposed SIP submission                              transport SIP submission for the 2015
                                              are overestimated.190 The EPA also                       disapproval.198 In its submission,                       ozone NAAQS.
                                              confirmed in the proposed SIP                            Oklahoma advocated for use of TCEQ’s
                                                                                                       definition of maintenance receptors and                  R. Texas
                                              submission disapproval that several
                                              EGU and non-EGUs identified by Ohio                      modeling to discount receptors in                          In the 2016v3 modeling, Texas is
                                              were included in the 2016v2 modeling,                    Texas. The EPA finds that TCEQ’s                         projected to be linked above 1 percent
                                              and yet Ohio was still linked in that                    definition is legally and technically
                                                                                                                                                                of the NAAQS to one nonattainment
                                              modeling.191 The EPA summarizes the                      flawed 199 and, as a result, Oklahoma’s
                                                                                                                                                                receptor and nine maintenance-only
                                              emissions inventories used in the                        approach is also not adequately
                                                                                                                                                                receptors. It is also linked to ten
                                              2016v3 modeling in Section III.A.                        justified.200 The EPA further evaluates
                                                                                                                                                                violating-monitor maintenance-only
                                              Further, as explained in Section V.B.9,                  TCEQ’s technical arguments in the EPA
                                                                                                                                                                receptor. Its highest-level contribution is
                                              states may not rely on non-SIP measures                  Region 6 2015 8-Hour Ozone Transport
                                                                                                       SIP Proposal TSD (Evaluation of TCEQ                     4.74 ppb to Dona Ana County, New
                                              to meet SIP requirements, and reliance                                                                            Mexico (AQS Site ID 350130021). A full
                                              on prior transport FIPs such as the                      Modeling TSD) prepared by regional
                                                                                                       modeling staff.201 Comments argued                       summary of Texas’s August 17, 2018,
                                              CSAPR Update is not a sufficient                                                                                  SIP submission was provided in the
                                              analysis at Step 3.192 The EPA finds                     against the use of updated modeling
                                                                                                       where linkages in the EPA’s 2011-based                   proposed SIP submission
                                              legal flaws and deficiencies in Ohio’s                                                                            disapproval,210 and additional details
                                              arguments related to upwind versus                       modeling and later iterations of EPA
                                                                                                       modeling differ. The EPA addressed the                   were provided in the Evaluation of
                                              downwind-state responsibilities, the                                                                              TCEQ Modeling TSD. The EPA
                                              role of international emissions, relative                change in identified linkages between
                                                                                                       the 2011-based modeling and the                          identified several technical flaws in
                                              contribution, and overcontrol.193 The                                                                             TCEQ’s modeling and analysis of
                                              EPA discusses international emissions                    2016v2 modeling in the proposed SIP
                                                                                                       disapproval,202 and further responds to                  modeling results.211 In its submission,
                                              in Section V.C.2. The EPA disagrees                                                                               Texas advocated for use of its own
                                              with Ohio’s arguments related to mobile                  comments on the use of updated
                                                                                                       modeling in Section V.A.4. The EPA                       definition of maintenance receptors and
                                                183 Id. at 9849–9851.                                  disagrees with Oklahoma’s arguments                      modeling. The EPA finds Texas’s
                                                184 Id. at 9826–9829.                                  for application of a higher contribution                 approach inadequately justified and
                                                185 Id. at 9869–9870.
                                                186 2015 8-Hour Ozone Transport SIP Proposal             194 Id.                                                  203 Id. at 9819.

                                              TSD, in Docket ID No. EPA–R06–OAR–2021–0801                195 Id. at 9872–9873.                                    204 Id. at 9822–9824.
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                                              (hereinafter Evaluation of TCEQ Modeling TSD).             196 Id. at 9874.                                         205 Id. at 9822–9824.
                                                187 Id. at 9871.                                         197 Id. at 9875.                                         206 See also id. at. 9822–9823.
                                                188 Id. at 9871–9875.                                    198 Id. at 9816–9818.                                    207 Id.
                                                189 Id. at 9871–9875.                                    199 Id. at 9826–9829.                                    208 Id. at 9823.
                                                190 Id. at 9872.                                         200 Id. at 9820–9822.                                    209 Id. at 9824.
                                                191 Id.                                                  201 Evaluation of TCEQ Modeling TSD in Docket            210 Id. at 9824–9826.
                                                192 See also id. at 9874–9875.                         ID No. EPA–R06–OAR–2021–0801.                             211 Id. at 9829–9830; Evaluation of TCEQ
                                                193 Id. at 9873–9874.                                    202 87 FR 9823.                                        Modeling TSD.



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                                              legally and technically flawed.212 The                       eastern U.S., an argument we have                        additional emissions control
                                              EPA further evaluated TCEQ’s technical                       previously rejected and respond to                       opportunities to support such a
                                              arguments in the Evaluation of TCEQ                          further in Section V.C.3.221 The State                   conclusion.230 The EPA also confirmed
                                              Modeling TSD. In comment on the                              did not conduct an adequate Step 3                       in the proposed SIP submission
                                              proposal, Texas pointed to differences                       analysis.222 The State included an                       disapproval that specific EGU
                                              in linkages in the EPA’s 2011-based                          insufficient evaluation of additional                    shutdowns identified by West Virginia
                                              modeling and 2016v2 modeling. The                            emissions control opportunities in its                   were included in the 2016v2 modeling,
                                              EPA addressed the change in identified                       SIP submission.223 The EPA finds                         which continued to show West Virginia
                                              linkages between the 2011-based                              technical and legal flaws in the State’s                 was linked at Step 2.231 As explained in
                                              modeling and the 2016v2 modeling in                          arguments related to relative                            Section V.B.9, a state may not rely on
                                              the proposed SIP submission                                  contribution, international and non-                     non-SIP measures to satisfy SIP
                                              disapproval,213 and further responds to                      anthropogenic emissions, and the                         requirements, and reliance on prior
                                              comments on the use of updated                               relationship of upwind versus                            transport FIPs such as the CSAPR
                                              modeling in Section V.A.4. The State                         downwind-state responsibilities.224 The                  Update is not a sufficient analysis at
                                              did not conduct an adequate Step 3                           EPA further addresses the topics of                      Step 3.232 Further, the State’s reliance
                                              analysis.214 The State included an                           international emissions in Section V.C.2                 on the cost-effectiveness threshold in
                                              insufficient evaluation of additional                        and wildfires in the RTC document. The                   the CSAPR Update is insufficient for a
                                              emissions control opportunities in its                       EPA also confirmed in the proposed SIP                   more protective NAAQS.233 The State
                                              SIP submission.215 The EPA found                             submission disapproval that several                      included no permanent and enforceable
                                              technical flaws in Texas’s arguments                         anticipated controls identified by Utah                  emissions controls in its SIP
                                              related to ‘‘consistent and persistent’’                     were included in the 2016v2 modeling,                    submission.234 We provide further
                                              claims and its other assessments,                            and yet Utah was still linked in that                    response to comments regarding West
                                              including analysis of back                                   modeling.225 The State included no                       Virginia’s SIP submission in the RTC
                                              trajectories.216 The State included no                       permanent and enforceable emissions                      document. The EPA is finalizing
                                              permanent and enforceable emissions                          controls in its SIP submission.226 We                    disapproval of West Virginia’s interstate
                                              controls in its SIP submission.217 We                        provide further response to comments                     transport SIP submission for the 2015
                                              provide further response to comments                         regarding Utah’s SIP submission in the                   ozone NAAQS.
                                              regarding Texas’s SIP submission in the                      RTC document. The EPA is finalizing
                                                                                                                                                                    U. Wisconsin
                                              RTC document. The EPA is finalizing                          disapproval of Utah’s interstate
                                              disapproval of Texas’s interstate                            transport SIP submission for the 2015                       In the 2016v3 modeling, Wisconsin is
                                              transport SIP submission for the 2015                        ozone NAAQS.                                             projected to be linked above 1 percent
                                              ozone NAAQS.                                                                                                          of the NAAQS to three maintenance-
                                                                                                           T. West Virginia                                         only receptors. It is also linked to five
                                              S. Utah                                                         In the 2016v3 modeling, West                          violating-monitor maintenance
                                                 In the 2016v3 modeling, Utah is                           Virginia is projected to be linked above                 receptors. Its highest-level contribution
                                              projected to be linked above 1 percent                       1 percent of the NAAQS to three                          is 2.86 ppb to Cook County, Illinois
                                              of the NAAQS to three nonattainment                          nonattainment receptors and one                          (AQS Site ID 170314201). A full
                                              receptors and one maintenance-only                           maintenance-only receptor. It is also                    summary of Wisconsin’s September 14,
                                              receptor. It is also linked to four                          linked to four violating-monitor                         2018, SIP submission was provided in
                                              violating-monitor maintenance                                maintenance receptors. Its highest-level                 the proposed SIP submission
                                              receptors. Its highest-level contribution                    contribution is 1.49 ppb to New Haven                    disapproval.235 The State did not assess
                                              is 1.29 ppb to Douglas County, Colorado                      County, Connecticut (AQS Site ID                         in its SIP submission whether the state
                                              (AQS Site ID 080350004). A full                              090099002). A full summary of West                       was linked at Step 2,236 and did not
                                              summary of Utah’s January 29, 2020,                          Virginia’s February 4, 2019, SIP                         conduct an adequate Step 3 analysis.237
                                              SIP submission was provided in the                           submission was provided in the                           The State included an insufficient
                                              proposed SIP submission                                      proposed SIP submission                                  evaluation of additional emissions
                                              disapproval.218 In its submission, Utah                      disapproval.227 The EPA finds technical                  control opportunities.238 Further, as
                                              argued that certain receptors in                             and legal flaws in the State’s                           explained in Section V.B.9, reliance on
                                              Colorado should not be counted as                            examination of back trajectories and                     prior transport FIPs such as the CSAPR
                                              receptors for the purpose of 2015 ozone                      arguments related to mobile sources and                  Update is not a sufficient analysis at
                                              NAAQS interstate transport, but Utah’s                       international emissions.228 The EPA                      Step 3.239 The EPA found additional
                                              explanation is insufficient to discount                      further addresses the topics of mobile                   inadequacies and legal flaws in
                                              those receptors.219 The EPA disagrees                        sources and international emissions in                   Wisconsin’s submission.240 The State
                                              with Utah’s arguments for application of                     Section V.C.1 and in Section V.C.2,                      included no permanent and enforceable
                                              a higher contribution threshold than 1                       respectively. The State did not conduct                  emissions controls in its SIP
                                              percent of the NAAQS at Step 2.220 Utah                      an adequate Step 3 analysis.229 West                     submission.241 We provide further
                                              suggested in its SIP submission that                         Virginia argued in its SIP submission                    response to comments regarding
                                              interstate transport is fundamentally                        that it had already implemented all cost-
                                              different in the western U.S. than in the                    effective controls. However, the State                     230 Id. at 9528–9529.

                                                                                                           included an insufficient evaluation of                     231 Id. at 9529–9530.

                                                212 87 FR 9826–9829.                                                                                                  232 See also id. at 9530–9532.

                                                213 Id. at 9831.                                             221 See also id. at 31479–31481, 31482.                  233 Id. at 9531.
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                                                214 Id. at 9831–9834.                                        222 Id. at 31481–31483.                                  234 Id. at 9532.

                                                215 Id. at 9831, 9834.                                       223 Id. at 31482                                         235 Id. at 9851.

                                                216 Id. at 9832–9833, Evaluation of TCEQ                     224 Id. at 31481–31483.                                  236 Id. at 9875.

                                              Modeling TSD.                                                  225 Id. at 31483.                                        237 Id. at 9875–9876.
                                               217 87 FR 9834.                                               226 Id.                                                  238 Id. at 9876.
                                               218 Id. at 31475–31477.                                       227 Id. at 9522–9524.                                    239 See also id.
                                               219 Id. at 31480–31481.                                       228 Id. at 9526–9527, 9528.                              240 Id.
                                               220 Id. at 31478.                                             229 Id. at 9527–9532.                                    241 Id. at 9876–9877.




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                                              Wisconsin’s SIP submission in the RTC                        EPA Response: The EPA disagrees.                    EPA, 723 F.3d 1201, 1223 (10th Cir.
                                              document. Although EPA proposed to                        The EPA has followed the Clean Air Act                 2013).
                                              disapprove both prong 1 and prong 2 of                    provisions, which prescribe specified                     It is true that the EPA would not be
                                              Wisconsin’s SIP submission, the present                   maximum amounts of time for states to                  legally authorized to finalize a FIP for
                                              record, including the results of the                      make SIP submissions, for the EPA to                   any state unless and until the EPA
                                              2016v3 modeling, indicates that                           act on those submissions, and for the                  formally finalizes a disapproval of that
                                              Wisconsin is not linked to any                            EPA to promulgate FIPs if necessary, but               state’s SIP submission (or makes a
                                              nonattainment receptors.242 The EPA is                    do not prohibit the EPA from acting                    finding of failure to submit for any state
                                              finalizing a partial approval of                          before that time elapses. Nothing                      that fails to make a complete SIP
                                              Wisconsin’s interstate transport SIP                      relieves the EPA from its statutory                    submission), per CAA section 110(c),
                                              submission for the 2015 ozone NAAQS                       obligation to take final action on                     but the EPA has not yet finalized a FIP
                                              as to prong 1 and a partial disapproval                   complete SIP submissions before the                    for any state for good neighbor
                                              as to prong 2.                                            Agency within the timeframes                           obligations for the 2015 ozone NAAQS.
                                              V. Response to Key Comments                               prescribed by the statute.245 The EPA’s                Further, the sequencing of our actions
                                                                                                        proposed FIP does not constitute the                   here is consistent with the EPA’s past
                                                The EPA received numerous
                                                                                                        ‘‘promulgation’’ of a FIP because the                  practice in our efforts to timely address
                                              comments on the proposed action
                                                                                                        proposed FIP is not a final action that                good neighbor obligations. For example,
                                              which are summarized in the RTC
                                                                                                        imposes any requirements on sources or                 at the time the EPA proposed the
                                              document along with the EPA’s
                                                                                                        states. And although the EPA’s FIP                     CSAPR Update FIPs in December of
                                              responses to those comments in Docket
                                                                                                        authority is not at issue in this action,              2015, we had not yet proposed action on
                                              ID No. EPA–HQ–OAR–2021–0663. Each
                                                                                                        the EPA notes the Agency has been clear                several states’ SIP submissions but
                                              comment in its entirety is available in
                                                                                                        that it will not finalize a FIP for any                finalized those SIP disapproval actions
                                              the relevant regional docket(s) for this
                                              action.243 The following sections                         state until predicate authority is                     prior to finalization of the FIP.246
                                              summarize key comments and the EPA’s                      established for doing so under CAA                        Additional comments on cooperative
                                              responses.                                                section 110(c)(1). 87 FR 20036, 20057                  federalism are addressed in Section
                                                                                                        (April 6, 2022) (‘‘The EPA is proposing                V.B.5.
                                              A. SIP Evaluation Process                                                                                           Further, The D.C. Circuit in Wisconsin
                                                                                                        this FIP action now to address twenty-
                                              1. Relationship Between Timing of                         six states’ good neighbor obligations for              held that states and the EPA are
                                              Proposals To Disapprove SIPs and                          the 2015 ozone NAAQS, but the EPA                      obligated to fully address good neighbor
                                              Promulgate FIPs                                           will not finalize this FIP action for any              obligations for ozone ‘‘as expeditiously
                                                 Comment: Comments alleged                              state unless and until it has issued a                 as practical’’ and in no event later than
                                              generally that the timing of the EPA’s                    final finding of failure to submit or a                the next relevant downwind attainment
                                              proposed actions on the SIP                               final disapproval of that state’s SIP                  dates found in CAA section 181(a),247
                                              submissions in relation to proposed                       submission.’’). The EPA strongly                       and states and the EPA may not delay
                                              FIPs was unlawful, unfair, or both.                       disagrees that proposing a FIP prior to                implementation of measures necessary
                                              Some comments claimed that the                            proposing or finalizing disapproval of a               to address good neighbor requirements
                                              sequence of the EPA’s actions is                          SIP submission oversteps the Agency’s                  beyond the next applicable attainment
                                              improper, unreasonable, or bad policy.                    authority. Indeed, the ability to propose              date without a showing of impossibility
                                              Several commenters asserted that                          a FIP before finalizing a SIP disapproval              or necessity.248 It is important for the
                                              because the EPA proposed FIPs (or,                        follows ineluctably from the structure of              states and the EPA to assure that
                                              according to some, promulgated FIPs,                      the statute, which, as the Supreme Court               necessary emissions reductions are
                                              which is not factually correct) prior to                  recognized in EME Homer City, does not                 achieved, to the extent feasible, by the
                                              finalizing disapproval of the state SIP                   oblige the EPA ‘‘to wait two years or                  2023 ozone season to assist downwind
                                              submission, the EPA allegedly exceeded                    postpone its [FIP] action even a single                areas with meeting the August 3, 2024,
                                              its statutory authority and overstepped                   day.’’ 572 U.S. at 509. If the EPA can                 attainment deadline for Moderate
                                              the states’ primary role in addressing                    finalize a FIP immediately upon                        nonattainment areas. Further, the D.C.
                                              the good neighbor provision under CAA                     disapproving a SIP, then surely the EPA                Circuit in Wisconsin emphasized that
                                              section 110.244                                           must have the authority to propose that                the EPA has the authority under CAA
                                                                                                        FIP before taking final action on the SIP              section 110 to structure its actions so as
                                                242 The EPA received a comment that it would be
                                                                                                        submission. Accord Oklahoma v. U.S.                    to ensure necessary reductions are
                                              arbitrary and capricious for the EPA to finalize a                                                               achieved by the downwind attainment
                                              full disapproval of Tennessee’s good neighbor SIP
                                              submission (both prong 1 and prong 2) if EPA                 245 Although the EPA anticipates responding to
                                                                                                                                                                  246 The proposed CSAPR Update was published
                                              concluded the State is linked only to a                   comments related to the EPA’s FIP authority in a
                                              maintenance-only receptor (prong 2).The EPA is            separate FIP rulemaking, the EPA notes with regard     on December 3, 2015, and included proposed FIPs
                                              deferring final action on Tennessee’s good neighbor       to the procedural timing concerns raised in            for Indiana, Louisiana, New York, Ohio, Texas, and
                                              SIP submission, but in reviewing linkages in the          comments on this action that the Supreme Court         Wisconsin. 80 FR 75705. At that time, the EPA had
                                              2016v3 modeling we determined that Minnesota              confirmed in EME Homer City Generation, ‘‘EPA is       not yet even proposed action on good neighbor SIP
                                              and Wisconsin are not linked above 1 percent of the       not obliged to wait two years or postpone its action   submissions for the 2008 ozone NAAQS from
                                              NAAQS to any nonattainment receptors (prong 1)            even a single day: The Act empowers the Agency         Indiana, Louisiana, New York, Ohio, Texas, and
                                              but are linked to maintenance-only receptors (prong       to promulgate a FIP ‘at any time’ within the           Wisconsin; however, the EPA subsequently
                                              2); these States are receiving partial approvals and      two-year limit.’’ 572 U.S. 489 at 509. The             proposed and finalized these disapprovals before
                                              partial disapprovals.                                     procedural timeframes under CAA section 110 do         finalizing the CSAPR Update FIPs, published on
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                                                243 See the memo ‘‘Regional Dockets Containing          not function to establish a norm or expectation that   October 26, 2016 (81 FR 74504). See 81 FR 38957
                                              Additional Supporting Materials for Final Action          the EPA must or should use the full amount of time     (June 15, 2016) (Indiana); 81 FR 53308 (August 12,
                                              on 2015 Ozone NAAQS Good Neighbor SIP                     allotted, particularly when doing so would place       2016) (Louisiana); 81 FR 58849 (August 26, 2016)
                                              Submissions’’ in the docket for this action, for a list   the Agency in conflict with the more ‘‘central’’       (New York); 81 FR 38957 (June 15, 2016) (Ohio); 81
                                              of all regional dockets.                                  statutory objective of meeting the NAAQS               FR 53284 (August 12, 2016) (Texas); 81 FR 53309
                                                244 The EPA notes the commenters’ reference to          attainment deadlines in the Act. EME Homer City,       (August 12, 2016) (Wisconsin).
                                                                                                                                                                  247 Wisconsin, 938 F.3d at 313–14 (citing North
                                              FIPs is to proposed good neighbor FIPs for the 2015       572 U.S. 489, 509 (2014). See also Wisconsin, 938
                                              ozone NAAQS that were proposed separately from            F.3d at 318, 322; Sierra Club v. EPA, 294 F.3d 155,    Carolina, 531 F.3d at 911–12.
                                              this rulemaking action. 87 FR 20036 (April 6, 2022).      161 (D.C. Cir. 2002) (Sierra Club).                       248 See Wisconsin, 938 F.3d at 320.




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                                              dates,249 the next of which for the 2015                 significant contribution and thereby                  Hawaii,260 Idaho,261 Iowa,262 Kansas,263
                                              ozone NAAQS is now the Moderate area                     protect human health and welfare is                   Maine,264 Massachusetts,265
                                              attainment date of August 3, 2024.250                    already several years delayed. The EPA                Montana,266 Nebraska,267 New
                                              The court pointed out that the CAA                       shares additional responses related to                Hampshire,268 North Carolina,269 North
                                              section 110 schedule of SIP and FIP                      the timing of 2015 ozone NAAQS good                   Dakota,270 Oregon,271 Rhode Island,272
                                              deadlines is procedural whereas the                      neighbor actions in Section V.A.                      South Carolina,273 South Dakota,274
                                              attainment schedule is ‘‘central to the                     Comment: Some comments allege the                  Vermont,275 and Washington.276
                                              regulatory scheme[.]’’ 251 Thus, the                     EPA is depriving States of the                           The policy judgments made by the
                                              sequence and timing of the EPA’s action                  opportunity to target specific emissions              EPA in all actions on 2015 ozone
                                              in disapproving these SIP submissions                    reductions opportunities, or the                      NAAQS good neighbor SIP submissions,
                                              is informed by the need to ensure that                   opportunity to revise their submissions               including approval actions, reflect
                                              any necessary good neighbor obligations                  at any point in the future.                           consistency with relevant good neighbor
                                              identified in the separate FIP                                                                                 case law and past agency practice
                                                                                                          EPA Response: The EPA disagrees.
                                              rulemaking are implemented as                                                                                  implementing the good neighbor
                                                                                                       The EPA has repeatedly emphasized
                                              expeditiously as practicable and no later                                                                      provision as reflected in the original
                                                                                                       that states have the freedom at any time
                                              than the next attainment date. As                                                                              CSAPR, CSAPR Update, Revised CSAPR
                                                                                                       to develop a revised SIP submission and
                                              explained in our proposed disapproval,                                                                         Update, and related rulemakings.
                                                                                                       submit that to the EPA for approval, and
                                              analysis (and, if possible,                                                                                    Employing a nationally consistent
                                                                                                       this remains true. See 87 FR 20036,
                                              implementation) of good neighbor                                                                               approach is particularly important in
                                                                                                       20051 (April 6, 2022); 86 FR 23054,
                                              obligations should begin in the 2023                                                                           the context of interstate ozone transport,
                                              ozone season. See, e.g., 87 FR 9798,                     23062 (April 30, 2021); 81 FR 74504,
                                                                                                       74506 (Oct. 26, 2016). In the proposed                which is a regional-scale pollution
                                              9801–02 (Feb. 22, 2022). Indeed, states’                                                                       problem involving many smaller
                                              and the EPA’s analysis would have been                   FIPs, as in prior transport actions, the
                                                                                                       EPA discusses a number of ways in                     contributors. Effective policy solutions
                                              more appropriately aligned with 2020,                                                                          to the problem of interstate ozone
                                              rather than 2023 (as had been presented                  which states could take over or replace
                                                                                                       a FIP, see 87 FR 20036, 20149–51                      transport dating back to the NOX SIP
                                              in the EPA’s March 2018                                                                                        Call [63 FR 57356 (October 27, 1998)]
                                              memorandum 252), corresponding with                      (Section VII.D: ‘‘Submitting A SIP’’); see
                                                                                                       also id. at 20040 (noting as one purpose              have necessitated the application of a
                                              the 2021 Marginal area attainment date.                                                                        uniform framework of policy judgments
                                              However, that clarification in legal                     in proposing the FIP that ‘‘this proposal
                                                                                                       will provide states with as much                      to ensure an ‘‘efficient and equitable’’
                                              obligations was not established by case                                                                        approach. See EME Homer City, 572
                                              law until 2020. See Maryland, 958 F.3d                   information as the EPA can supply at
                                                                                                       this time to support their ability to                 U.S. at 519. In any case, the approach
                                              at 1203–04.                                                                                                    of the proposed transport FIP is not the
                                                 In short, nothing in the language of                  submit SIP revisions to achieve the
                                                                                                       emissions reductions the EPA believes                 subject of this SIP disapproval. This
                                              CAA section 110(c) prohibits the EPA                                                                           rulemaking does not impose any
                                              from proposing a FIP as a backstop, to                   necessary to eliminate significant
                                                                                                       contribution’’). If, and when, the EPA                specific emissions control measures on
                                              be finalized and implemented only in                                                                           the states. Nor is the EPA disapproving
                                              the event that a SIP submission is first                 receives a SIP submission that satisfies
                                                                                                       the requirements of CAA section                       these SIP submittals because they did
                                              found to be deficient and final                                                                                not follow exactly the control strategies
                                              disapproval action on the SIP                            110(a)(2)(D)(i)(I), the Agency will take
                                                                                                       action to approve that SIP submission.                in the proposed FIP—the EPA has
                                              submission is taken. Such an approach                                                                          repeatedly indicated openness to
                                              is a reasonable and prudent means of                        Comment: Some commenters assert                    alternative approaches to addressing
                                              assuring that the statutory obligation to                that the EPA is disapproving SIP                      interstate pollution obligations, but for
                                              reduce air pollution affecting the health                submissions for the sole purpose of                   reasons explained elsewhere in the
                                              and welfare of those living in                           pursuing an alleged objective of                      rulemaking record, the EPA finds that
                                              downwind states is implemented                           establishing nation-wide standards in                 none of the states included in this
                                              without delay, either via a SIP, or where                FIPs. Other commenters point to the                   action submitted approvable approaches
                                              such plan is deficient, via a FIP. The                   proposed FIPs to make arguments that                  to addressing those obligations.
                                              sequencing of the EPA’s actions here is                  the EPA’s decision to finalize                           The EPA disputes the contentions that
                                              therefore reasonably informed by its                     disapproval of the SIPs is an allegedly               the FIP proposal itself indicates that the
                                              legal obligations under the CAA,                         foregone conclusion or that the EPA has               EPA did not earnestly examine the SIP
                                              including in recognition of the fact that                allegedly failed to provide the                       submissions for compliance with the
                                              the implementation of necessary                          opportunity for meaningful public                     CAA or have an appropriate rationale
                                              emissions reductions to eliminate                        engagement on the proposed
                                                                                                       disapproval of the SIPs.                                260 86 FR 73129 (December 27, 2021).
                                                249 Wisconsin, 938 F.3d at 318 (‘‘When EPA

                                              determines a State’s SIP is inadequate, the EPA
                                                                                                          EPA Response: The EPA disagrees as                   261 85 FR 65722 (October 16, 2020).


                                              presumably must issue a FIP that will bring that         the facts do not support this assertion.                262 87 FR 22463 (April 15, 2022).
                                                                                                                                                               263 87 FR 19390 (April 4, 2022).
                                              State into compliance before upcoming attainment         To date, the EPA has approved 24 good
                                                                                                                                                               264 86 FR 45870 (August 17, 2021).
                                              deadlines, even if the outer limit of the statutory      neighbor SIPs for the 2015 ozone
                                              timeframe gives the EPA more time to formulate the                                                               265 85 FR 5572 (January 31, 2020).

                                              FIP.’’) (citing Sierra Club, 294 F.3d at 161).
                                                                                                       NAAQS: Alaska,253 Colorado,254                          266 87 FR 21578 (April 12, 2022).
                                                 250 See CAA section 181(a); 40 CFR 51.1303;           Connecticut,255 Delaware,256 District of                267 85 FR 21325 (April 17, 2020).
                                              Additional Air Quality Designations for the 2015         Columbia,257 Florida,258 Georgia,259                    268 86 FR 45870 (August 17, 2021).
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                                              Ozone National Ambient Air Quality Standards, 83                                                                 269 86 FR 68413 (December 2, 2021).
                                              FR 25776 (June 4, 2018, effective August 3, 2018).         253 84 FR 69331 (December 18, 2019).                  270 85 FR 20165 (April 10, 2020).
                                                 251 Wisconsin, 938 F.3d at 322 (‘‘Delaware’s
                                                                                                         254 87 FR 61249 (October 11, 2022).                   271 84 FR 22376 (May 17, 2019).
                                              argument leans too heavily on the SIP submission           255 86 FR 71830 (December 20, 2021).                  272 86 FR 70409 (December 10, 2021).
                                              deadline. SIP submission deadlines, unlike
                                                                                                         256 85 FR 25307 (May 1, 2020).                        273 86 FR 68413 (December 2, 2021).
                                              attainment deadlines, are ‘procedural’ and,
                                                                                                         257 85 FR 5570 (January 31, 2020).                    274 85 FR 67653 (October 26, 2020).
                                              therefore, not ‘central to the regulatory scheme.’ ’’)
                                              (citing Sierra Club, 294 F.3d at 161).                     258 86 FR 68413 (December 2, 2021).                   275 85 FR 34357 (June 4, 2020).
                                                 252 See March 2018 memorandum.                          259 Id.                                               276 83 FR 47568 (September 20, 2018).




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                                              for proposing to disapprove certain SIP                  110(a)(2)(D)(i)(I). For the same reason,               event later than the next relevant
                                              submissions. The EPA also disputes that                  comments criticizing specific                          downwind attainment dates found in
                                              the FIP proposal indicates that the EPA                  substantive requirements or                            CAA section 181(a),278 and the EPA may
                                              did not intend to consider comments on                   implementation timelines in the                        not delay implementation of measures
                                              the proposed disapprovals. Comments                      proposed FIPs are beyond the scope of                  necessary to address good neighbor
                                              making claims the EPA did not follow                     this action.                                           requirements beyond the next
                                              proper administrative procedure have                                                                            applicable attainment date without a
                                              been submitted utilizing the very notice                 2. Requests for Additional Time To
                                                                                                                                                              showing of impossibility or necessity.279
                                              and comment process these comments                       Revise SIP Submissions
                                                                                                                                                              Further, the court pointed out that the
                                              claim the EPA is skipping, and these                        Comment: Some commenters argue                      CAA section 110 schedule of SIP and
                                              claims are factually unsupported.                        that the EPA must or should delay                      FIP deadlines is procedural, and while
                                              Comments related to the length of the                    action on these SIP submissions so that                the EPA has complied with the
                                              comment period and claims of ‘‘pretext’’                 states can reexamine and resubmit SIP                  mandatory sequence of actions required
                                              are addressed in the RTC document.                       submissions. Other commenters argue                    under section 110 here, we are mindful
                                                 Comment: Several comments pointed                     that states must be given more time to                 of the court’s observation that, as
                                              out how hard many states have worked                     re-examine and resubmit their SIP                      compared with the fundamental
                                              to develop an approvable SIP                             submission for various reasons,                        substantive obligations of title I of the
                                              submission.                                              including the substantive requirements                 CAA to attain and maintain the NAAQS,
                                                 EPA Response: The EPA                                 in the proposed FIPs.                                  the maximum timeframes allotted under
                                              acknowledges and appreciates states’                        EPA Response: The EPA notes that                    section 110 are less ‘‘central to the
                                              efforts to develop approvable SIPs.                      there is no support in the Clean Air Act               regulatory scheme[.]’’ 280
                                              Cooperative federalism is a cornerstone                  for such a delay. CAA section 110(a)(1)                   Comment: Other comments take the
                                              of CAA section 110, and the EPA strives                  requires states to adopt and submit SIP                position that states are owed a second
                                              to collaborate with its state partners.                  submissions meeting certain                            opportunity to submit SIP submissions
                                              The timing of the EPA’s 2015 ozone                       requirements including the                             before the EPA takes final action for
                                              NAAQS good neighbor actions is not in                    requirements of CAA section                            various reasons, including claims that
                                              any way intended to call into question                   110(a)(2)(D)(i)(I), ‘‘within 3 years (or               the EPA failed to issue adequate
                                              any state’s commitment to develop                        such shorter period as the Administrator               guidance or is otherwise walking back
                                              approvable SIPs. The EPA evaluated                       prescribe) after the promulgation of a                 previously issued guidance. They allege
                                              each SIP submission on its merits. The                   national primary ambient air quality                   that a state cannot choose controls to
                                              EPA relies on collaboration with state                   standard (or any revision thereof).’’ CAA              eliminate significant contribution until
                                              air agencies to ensure SIP submissions                   section 110(a)(1). The submission                      the EPA quantifies the contribution.
                                              are technically and legally defensible,                  deadline clearly runs from the date of                 Other comments argue that the EPA
                                              and the Agency’s action here is in no                    promulgation of the NAAQS, which for                   should not or cannot base the
                                              way meant to undermine that                              the 2015 ozone NAAQS was October 1,                    disapprovals on alleged shifts in policy
                                              collaboration between state and Federal                  2015. 80 FR 65291 (Oct. 26, 2015). In                  that occurred after the Agency received
                                              partners respecting SIP development.                     addition, while the Administrator is
                                                 Comment: Several comments make                                                                               the SIP submissions.
                                                                                                       given authority to prescribe a period                     EPA Response: The EPA disagrees
                                              various arguments about when the EPA
                                                                                                       shorter than three years for the states to             that the Agency was required to issue
                                              can finalize FIPs. Some commenters
                                                                                                       adopt and submit such SIP submissions,                 guidance or quantify individual states’
                                              argue that CAA section 110(c)(1)
                                                                                                       the Act does not give the Administrator                level of significant contribution for 2015
                                              guarantees states an additional two
                                                                                                       authority to lengthen the time allowed                 ozone NAAQS good neighbor
                                              years to correct their SIP submissions
                                                                                                       for CAA section 110(a)(2) submissions.                 obligations, because as noted in EME
                                              before the EPA finalizes a FIP. Others
                                                                                                       And the EPA would be in violation of                   Homer City, the Supreme Court clearly
                                              argue that the notice and comment
                                              requirements of the Administrative                       court-ordered deadlines if it deferred                 held that ‘‘nothing in the statute places
                                              Procedures Act mandate that the EPA                      taking final action beyond January 31,                 EPA under an obligation to provide
                                              finalize a SIP submission disapproval                    2023, for all but two of the states                    specific metrics to States before they
                                              before proposing a FIP. One commenter                    covered by this action.277                             undertake to fulfill their good neighbor
                                              suggested that a state must be allowed                      Comments asserting that the EPA                     obligations.’’ 281 The Agency issued
                                              to fully exhaust its judicial remedies to                must give more time to states to correct               three memoranda in 2018 to provide
                                              challenge a SIP submission disapproval                   deficiencies and re-submit conflict with               modeling results and some ideas to
                                              before the EPA can promulgate a FIP.                     the controlling caselaw in that they                   states in the development of their SIP
                                              Commenters also raise concerns about                     would elevate the maximum timeframes                   submissions. However, certain aspects
                                              the analysis and requirements in the                     allowable within the procedural                        of those discussions were specifically
                                              proposed FIPs.                                           framework of CAA section 110 over the
                                                 EPA Response: Comments opining on                     attainment schedule of CAA section 181                    278 Wisconsin, 938 F.3d at 313–14 (citing North

                                                                                                       that the D.C. Circuit has now held                     Carolina, 531 F.3d at 911–12). On May 19, 2020, the
                                              when the EPA is legally authorized to                                                                           D.C. Circuit in Maryland, applying the Wisconsin
                                              propose or finalize a FIP are outside the                multiple times must be the animating                   decision, held that the EPA must assess air quality
                                              scope of this action. While the EPA                      focus in the timing of good neighbor                   at the next downwind attainment date, including
                                              acknowledges that the Agency has no                      obligations. The D.C. Circuit in                       Marginal area attainment dates, in evaluating the
                                                                                                       Wisconsin held that states and the EPA                 basis for the EPA’s denial of a petition under CAA
                                              obligation or authority to finalize a FIP
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                                                                                                                                                              section 126(b). Maryland, 958 F.3d at 1203–04.
                                              until finalizing a disapproval of a SIP                  are obligated to fully address good                       279 See Wisconsin, 938 F.3d at 320.

                                              submission or determining that a state                   neighbor obligations for ozone ‘‘as                       280 Wisconsin, 938 F.3d at 322 (‘‘Delaware’s

                                              failed to submit a complete SIP                          expeditiously as practical’’ and in no                 argument leans too heavily on the SIP submission
                                              submission (CAA section 110(c)(1)), this                                                                        deadline. SIP submission deadlines, unlike
                                                                                                          277 The EPA has no court-ordered deadline to take   attainment deadlines, are ‘procedural’ and therefore
                                              action is limited to determining whether                 final action on the good neighbor SIP submission       not ‘central to the regulatory scheme.’’’) (citing
                                              the covered SIP submissions meet the                     from Alabama dated June 21, 2022, or Utah’s good       Sierra Club, 294 F.3d at 161).
                                              requirements of CAA section                              neighbor SIP submission.                                  281 EME Homer City, 572 U.S. at 510.




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                                              identified as not constituting agency                    memorandum rather than on the most                    emissions platform standing alone. Use
                                              guidance (especially Attachment A to                     recent modeling results is not                        of that platform, or any other modeling
                                              the March 2018 memorandum, which                         prejudicial to the outcome of the EPA’s               platform, is not ipso facto grounds for
                                              comprised an unvetted list of outside                    analysis, as our action on Alabama’s                  disapproval at all. As evident in the
                                              stakeholders’ ideas). Further, states’                   more recent submission evaluating the                 proposed disapprovals and summarized
                                              submissions did not meet the terms of                    State’s arguments with respect to the                 in Section IV, the EPA evaluated the SIP
                                              the August or October 2018 memoranda                     newer, 2016-based modeling makes                      submissions based on the merits of the
                                              addressing contribution thresholds and                   clear.                                                arguments put forward in each SIP
                                              maintenance receptors, respectively.                        Contrary to commenters’ arguments,                 submission.
                                              (See Section V.B for further discussion                  the EPA had no obligation to issue
                                                                                                       further guidance, define obligations, or              3. Alleged Harm to States Caused by
                                              of these memoranda.) We acknowledge                                                                            Time Between SIP Submission and the
                                              that the EPA reassessed air quality and                  otherwise clarify or attempt to interpret
                                                                                                       states’ responsibilities since the                    EPA’s Action
                                              states’ contribution levels through
                                              additional modeling before proposing                     issuance of the 2018 memoranda, prior                    Comment: Many comments pointed to
                                              action on these SIP submissions. But                     to acting on these SIP submissions.                   the EPA’s statutory deadlines to take
                                              that is not in any way an effort to                      States themselves were aware or should                action on the SIP submissions to argue
                                              circumvent the SIP/FIP process; rather it                have been aware of the case law                       that the EPA’s delay harmed the upwind
                                              is an outcome of the reality that the EPA                developments in Wisconsin and in                      state’s interests because now the EPA
                                              updated its modeling platform from a                     Maryland, which called into question                  may conclude they need to reduce their
                                              2011 to a 2016 base year and updated                     the EPA’s use of 2023 as the analytical               emissions to satisfy their good neighbor
                                              its emissions inventory information                      year in the March 2018 memorandum.                    obligations in the separate FIP
                                              along with other updates. There is                       Those decisions were issued in 2019                   rulemaking whereas had the EPA acted
                                              nothing improper in the Agency                           and 2020 respectively, yet no state                   by statutory deadlines using the older
                                              improving its understanding of a                         moved to amend or supplement their                    modeling, they might have had their SIP
                                              situation before taking action, and the                  SIP submissions with analysis of an                   submissions approved. Some
                                              Agency reasonably must be able to act                    earlier analytical year or to otherwise               commenters suggest that the EPA never
                                              on SIP submissions using the                             bring their analyses into conformance                 gave the state SIP submissions the
                                              information available at the time it takes               with those decisions (e.g., through fuller            appropriate review or suggest that the
                                              such action. Those updates have not                      analysis of non-EGU emissions                         EPA’s review of the SIP submissions
                                                                                                       reduction potential or through treatment              was prejudiced by the FIP it had
                                              uniformly been used to disapprove
                                                                                                       of international contribution). Given the             proposed.
                                              SIPs—the new modeling for instance
                                                                                                       Supreme Court’s 2014 holding in EME                      EPA Response: The EPA
                                              supported the approval of Montana’s                                                                            acknowledges that the Agency’s
                                              and Colorado’s SIPs.282 Nor has the new                  Homer City, 572 U.S. at 508–510, which
                                                                                                       reversed a D.C. Circuit holding that the              statutory deadlines to take final action
                                              modeling prevented states from                                                                                 on these SIP submissions generally fell
                                              submitting new SIP submissions based                     EPA was obligated to define good
                                                                                                       neighbor obligations,284 states had no                in 2020 and 2021. However, the delay
                                              on that modeling. For instance, the State                                                                      in acting caused no prejudice to the
                                              of Alabama withdrew its prior                            reason to expect the EPA would be
                                                                                                       obligated to issue further guidance to                upwind states. First, this action to
                                              submission in April of 2022, following                                                                         disapprove SIP submissions itself will
                                              our proposed disapproval, and                            clarify requirements in the wake of
                                                                                                       those decisions. The EPA agrees with                  not impose any requirements or
                                              submitted a new submission (further                                                                            penalties on any state or sources within
                                                                                                       those commenters who point out that
                                              updated in June of 2022) analyzing the                                                                         that state. Second, these delays have
                                                                                                       states have the first opportunity to
                                              2016v2 modeling used at proposal. The                                                                          primarily had the effect of deferring
                                                                                                       assess and address obligations in
                                              EPA is acting on that new submission                                                                           relief to downwind states and their
                                                                                                       implementing the NAAQS, but with that
                                              and evaluating the new arguments the                                                                           citizens from excessive levels of ozone
                                                                                                       understanding in mind, it is notable that
                                              State developed regarding the more                                                                             pollution under the good neighbor
                                                                                                       prior to the proposed disapprovals in
                                              recent modeling. Nonetheless, as                                                                               provision. Further, the EPA has
                                                                                                       February of 2022, no state moved to
                                              explained in the EPA’s proposed                                                                                generally had a practice of correcting its
                                                                                                       amend or supplement their SIP
                                              disapproval of Alabama’s new                                                                                   action on good neighbor SIP submittals
                                                                                                       submission as the case law on good
                                              submission and in Section IV.A, the                                                                            if later information indicates that a prior
                                                                                                       neighbor obligations evolved or in
                                              new arguments that Alabama has                                                                                 action was in error—thus, it is not the
                                                                                                       response to new modeling information
                                              presented in its more recent submission                                                                        case that simply having obtained an
                                                                                                       as it became available.
                                              do not lead the EPA to a contrary                                                                              approval based on earlier modeling
                                                                                                          Further, the EPA has evaluated state
                                              conclusion that its SIP submission                                                                             would have meant a state would be
                                                                                                       SIP submissions on the merits of what
                                              should be approved.283 This                                                                                    forever insulated from later being
                                                                                                       is contained in the submission, not the
                                              demonstrates two points contrary to                      use of any particular modeling platform.              subject to corrective or remedial good
                                              commenters’ contentions: first, the EPA                  The EPA disagrees with commenters’                    neighbor actions. See, e.g.,86 FR 23056,
                                              is following the science and is making                   assertions that the EPA has proposed                  23067–68 (April 30, 2021) (error
                                              nationally consistent determinations at                  disapproval of a state’s proposed SIP                 correcting Kentucky’s approval to a
                                              Steps 1 and 2, based on its review of                    due to the use of a particular modeling               disapproval and promulgating FIP
                                              each state’s submission; and second, the                 platform. As noted previously, the EPA                addressing Kentucky’s outstanding 2008
                                              fact that states made submissions based                                                                        ozone NAAQS good neighbor
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                                                                                                       approved state SIP submissions that
                                              on the 2011-based modeling results                       have used the earlier modeling. The                   obligations); 87 FR 20036, 20041 (April
                                              presented in the March 2018                              EPA did not reach its conclusion to                   6, 2022) (proposing error correction for
                                                                                                       disapprove states’ SIP submissions                    Delaware’s 2015 ozone NAAQS SIP
                                                282 87 FR 6095, 6097 at n. 15 (February 3, 2022)
                                                                                                       based on the use of the 2016v2                        approval to a disapproval based on
                                              (Montana proposal); 87 FR 27050, 27056 (May 6,
                                              2022) (Colorado, proposal), 87 FR 61249 (October                                                               updated air quality modeling). Finally,
                                              11, 2022) (Colorado, final).                               284 EME Homer City Generation, L.P. v. EPA, 696     there is no basis in the CAA to use the
                                                283 87 FR 64412 (October 25, 2022).                    F.3d 7 (D.C. Cir. 2012) (EME Homer City I).           Agency’s own delay as a basis to nullify


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                                              the authority granted in the Act to                      unexpected rulemaking obligation to                   expeditiously as practicable.’’ 287 The
                                              address the nation’s air pollution                       complete good neighbor requirements as                downsides of commenters’ policy
                                              problems, as the statute itself contains                 to the states with remanded CSAPR                     preference in favor of giving states
                                              other forms of adequate remedy. CAA                      Update FIPs. This led to the EPA                      another opportunity to develop SIP
                                              section 304(a)(2) provides for judicial                  proposing and then issuing an                         submissions, or in first acting on each
                                              recourse where there is an alleged                       economically significant, major rule                  SIP submission before proposing a FIP,
                                              failure by the agency to perform a                       assessing additional EGU emissions                    are that such a sequence of actions
                                              nondiscretionary duty, and that                          reduction obligations as well as                      would have led to multiple years of
                                              recourse is for the Agency to be placed                  presenting updated air quality modeling               additional delay in addressing good
                                              on a court-ordered deadline to address                   analysis using novel techniques and                   neighbor obligations. Even if such a
                                              the relevant obligations. Accord                         presenting information on a host of non-              choice was available to the Agency
                                              Oklahoma, 723 F.3d at 1223–24;                           EGU industrial sources for the first time,            using the CAA section 110(k)(5) SIP call
                                              Montana Sulphur and Chemical Co. v.                      i.e., the Revised CSAPR Update, 86 FR                 mechanism, it was entirely reasonable
                                              U.S. EPA, 666 F.3d 1174, 1190–91 (9th                    23054 (April 30, 2021). That rule is now              for the EPA to decline to use that
                                              Cir. 2012).                                              currently subject to judicial review in               mechanism in this instance. (EPA
                                                 Comment: Some comments contend                        the D.C. Circuit, Midwest Ozone Group                 further addresses comments in support
                                              that the EPA’s delay in acting on SIP                    v. EPA, No. 21–1146 (D.C. Cir. argued                 of a SIP call approach in the RTC
                                              submissions was a deliberate attempt to                  Sept. 28, 2022).285 The EPA has also                  document.)
                                              circumvent the SIP/FIP process, unduly                   been in the process of reviewing and                     In short, commenters’ notion that the
                                              burden the states, or to defer making                    acting upon many states’ good neighbor                EPA was deliberately or intentionally
                                              information available to states.                         SIPs where the available information                  deferring or delaying action on these SIP
                                              Comments allege that the EPA                             indicates that an approval of the state’s             submissions to circumvent any required
                                              intentionally stalled an evaluative                      submission was appropriate.286                        legal process or reach any specific result
                                              action until the perceived ‘‘facts’’ of the                 Finally, the Agency needed time to                 is simply incorrect. Commenters have
                                              situation changed such that the analyses                 review and evaluate the SIP                           not supplied any evidence to support
                                              submitted by states were rendered                        submissions in a coordinated fashion to               the claim either that any legal process
                                              outdated.                                                act on all the states’ submissions in a               was circumvented or that the Agency’s
                                                 EPA Response: The EPA disagrees                       consistent manner. As the EPA                         conduct was in bad faith. See Biden v.
                                              with both allegations. In this respect, it               explained in the proposed disapproval                 Texas, 142 S.Ct. 2528, 2546–47 (2022)
                                              is important to review the recent history                action, consistency in defining CAA                   (presumption of regularity attends
                                              of the EPA’s regulatory actions and                      obligations is critically important in the            agency action absent a ‘‘strong showing
                                              litigation with respect to good neighbor                 context of addressing a regional-scale                of bad faith or improper behavior’’)
                                              obligations for both the 2008 and 2015                   pollutant like ozone. See, e.g., 87 FR                (citing Citizens to Protect Overton Park
                                              ozone NAAQS, and in particular, the                      9807 n.48. Through coordinated                        v. Volpe, 401 U.S. 302, 420 (1971); SEC
                                              substantial additional workload the                      development of the bases for how the                  v. Chenery, 318 U.S. 80, 87 (1943)).
                                              Agency took on in the wake of the                        Agency could act on the SIP
                                              remand of the CSAPR Update in                                                                                  4. Use of Updated Modeling
                                                                                                       submissions, while also evaluating the
                                              Wisconsin. In 2018, as the EPA issued                    contours of a potential Federal plan to                  Comment: Comments allege that by
                                              the memoranda cited by commenters                        implement obligations where required,                 relying on modeling not available at the
                                              and planned to shift its focus to                        the EPA sequenced its deliberations and               time of SIP submission development,
                                              implementing the 2015 standards, it                      decision making to maximize efficient,                the EPA ‘‘moved the goal post.’’
                                              also issued the CSAPR Close-out, which                   consistent, and timely action, in                     Comments note the timeframes set out
                                              made an analytical finding that there                    recognition of the need to implement                  for action on SIPs, citing section 110 of
                                              were no further obligations for 21 states                any necessary obligations ‘‘as                        the Act, and allege that by failing to act
                                              for the 2008 standards following the                                                                           on SIP submissions in a timely manner
                                              CSAPR Update. 83 FR 65878 (Dec. 21,                         285 During this time, the EPA also fulfilled its   and basing such actions on new
                                              2018). However, contrary to the EPA’s                    obligations to act on several petitions brought by    modeling, the EPA imposes an arbitrary
                                              understanding that it had fully                          downwind states under section 126(b) of the CAA.      and capricious standard. Comments
                                              addressed good neighbor obligations for                  These actions culminated in litigation and
                                                                                                       ultimately adverse decisions in Maryland and New
                                                                                                                                                             state that the EPA should not
                                              the 2008 ozone NAAQS, the D.C.                           York v. EPA. Maryland v, 958 F.3d; New York v.        disapprove a SIP based on data not
                                              Circuit’s decisions in Wisconsin                         EPA, 964 F.3d 1214, 2020 WL 3967838 (D.C. Cir.        available to states during development
                                              (remanding the CSAPR Update) and in                      2020). Further review and action on these remands     of the SIP submissions or to the EPA
                                              New York (vacating the CSAPR Close-                      remains pending before the agency.
                                                                                                          286 In chronological order: 83 FR 47568
                                                                                                                                                             during the period statutorily allotted for
                                              out), forced the Agency to quickly pivot                                                                       the EPA to take final action on SIP
                                                                                                       (September 20, 2018) (Washington); 84 FR 69331
                                              back to addressing remaining                             (December 18, 2019) (Alaska); 84 FR 22376 (May 17,    submissions.
                                              obligations under the 2008 standards.                    2019) (Oregon); 85 FR 5570 (January 31, 2020)            EPA Response: In response to
                                              Wisconsin v. EPA, 938 F.3d 303 (D.C.                     (Washington, DC); 85 FR 5572 (January 31, 2020)       comments’ claims that the EPA has
                                              Cir. 2019); New York v. EPA, 781 F.                      (Massachusetts); 85 FR 20165 (April 10, 2020)
                                                                                                       (North Dakota); 85 FR 21325 (April 17, 2020)          inappropriately changed states’
                                              App’x. 4 (D.C. Cir. 2019). The EPA was                   (Nebraska); 85 FR 25307 (May 1, 2020) (Delaware);     obligations for interstate transport by
                                              subject to renewed deadline suit                         85 FR 34357 (June 4, 2020) (Vermont); 85 FR 65722     relying on updated modeling not
                                              litigation under CAA section 304, which                  (October 16, 2020) (Idaho); 85 FR 67653 (October      available to states at the time they
                                              led to a March 15, 2021, deadline to take                26, 2020) (South Dakota); 86 FR 45870 (August 17,
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                                                                                                       2021) (Maine and New Hampshire); 86 FR 68413          prepared their SIP submissions, the EPA
                                              final action on several states whose FIPs                (December 2, 2021) (Florida, Georgia, North           disagrees. As an initial matter, the EPA
                                              had been remanded and were                               Carolina, and South Carolina); 86 FR 70409            disagrees with comment’s claiming that
                                              incomplete in the wake of the CSAPR                      (December 10, 2021) (Rhode Island); 86 FR 71830       the agency expected state air agencies to
                                              Close-out vacatur. New Jersey v.                         (December 20, 2021) (Connecticut); 86 FR 73129
                                                                                                       (December 27, 2021) (Hawaii); 87 FR 19390 (April      develop a SIP submission based on
                                              Wheeler, 475 F.Supp.3d 308 (S.D.N.Y.                     4, 2022) (Kansas); 87 FR 21578 (April 12, 2022)
                                              2020). Throughout 2020 and 2021, the                     (Montana); 87 FR 22463 (April 15, 2022) (Iowa); and     287 CAA section 181(a); Wisconsin, 938 F.3d at

                                              EPA was therefore focused on an                          87 FR 61249 (October 11, 2022) (Colorado).            313–14 (citing North Carolina, 531 F.3d at 911–12).



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                                              some unknown future data. The EPA                        States from emitting in amounts ‘‘which will’’        receptors and linkages for the 2015
                                              recognizes that states generally                         contribute to downwind nonattainment. 42              ozone NAAQS in the 2023 analytic year.
                                              developed their SIP submissions with                     U.S.C. 7410(a)(2)(D)(i) (emphasis added).             The 2016-based meteorology and
                                                                                                       Given the use of the future tense, it would
                                              the best available information at the                                                                          boundary conditions used in the
                                                                                                       be anomalous for EPA to subject upwind
                                              time of their development. As stated in                  States to good neighbor obligations in 2017           modeling have been available through
                                              the proposals, the EPA did not evaluate                  by considering which downwind States were             the 2016v1 platform, which was used
                                              states’ SIP submissions based solely on                  once in nonattainment in 2011.                        for the Revised CSAPR Update
                                              the 2016v2 emissions platform (or the                                                                          (proposed in November of 2020, 85 FR
                                                                                                          Wisconsin, 903 F.3d at 322. By the
                                              2016v3 platform, which incorporates                                                                            68964). The updated emissions
                                                                                                       same token, here, holding the EPA to a
                                              comments generated during the public                                                                           inventory files used in the current
                                                                                                       consideration only of what information
                                              comment period on the proposed SIP                                                                             modeling were publicly released
                                                                                                       states had available regarding the 2023
                                              actions and which supports these final                                                                         September 21, 2021, for stakeholder
                                                                                                       analytic year at the time of their SIP
                                              SIP disapproval actions). We evaluated                                                                         feedback, and have been available on
                                                                                                       submissions or at the time of a deadline
                                              the SIP submissions based on the merits                                                                        our website since that time.288 The
                                                                                                       under CAA section 110, would likewise
                                              of the arguments put forward in each                                                                           CAMx modeling software that the EPA
                                                                                                       elevate the ‘‘procedural’’ deadlines of
                                              SIP submission, which included any                                                                             used has likewise been publicly
                                                                                                       CAA section 110 above the substantive
                                              analysis put forward by states to support                                                                      available for over a year. CAMx version
                                                                                                       requirements of the CAA that are
                                              their conclusions. Thus, we disagree                                                                           7.10 was released by the model
                                                                                                       ‘‘central to the regulatory scheme.’’
                                              with commenters who allege the Agency                                                                          developer, Ramboll, in December 2020.
                                                                                                       Doing so here would force the Agency
                                              has ignored the information provided by                                                                        On January 19, 2022, we released on our
                                                                                                       to act on these SIP submissions knowing               website and notified a wide range of
                                              the states in their submissions. Indeed,
                                                                                                       that more recent refined, high quality,               stakeholders of the availability of both
                                              the record for this action reflects our
                                                                                                       state-of-the-science modeling and                     the modeling results for 2023 and 2026
                                              extensive evaluation of states’ air
                                                                                                       monitoring data would produce a                       (including contribution data) along with
                                              quality and contribution analyses. See
                                                                                                       different result in our forward-looking               many key underlying input files.289
                                              generally Section IV, which summarizes
                                                                                                       analysis of 2023 than the information                    By providing the 2016 meteorology
                                              our evaluation for each state.
                                                 We disagree with commenters who                       available in 2018. Nothing in the CAA                 and boundary conditions (used in the
                                              advocate that the EPA’s evaluation of                    dictates that the EPA must be forced                  2016v1 version) in fall of 2020, and by
                                              these submissions must be limited to                     into making substantive errors in its                 releasing updated emissions inventory
                                              the information available to states at the               good neighbor analysis on this basis.                 information used in 2016v2 in
                                                                                                          We relied on CAMx Version 7.10 and                 September of 2021,290 states and other
                                              time they made their submissions, or
                                                                                                       the 2016v2 emissions platform to make                 interested parties had multiple
                                              information at the time of the deadline
                                                                                                       updated determinations regarding                      opportunities prior to the proposed
                                              for the EPA to act on their submissions.
                                                                                                       which receptors would likely exist in                 disapprovals in February of 2022 to
                                              It can hardly be the case that the EPA
                                                                                                       2023 and which states are projected to                consider how our modeling updates
                                              is prohibited from taking rulemaking
                                                                                                       contribute above the contribution                     could affect their status for purposes of
                                              action using the best information
                                                                                                       threshold to those receptors. As                      evaluating potential linkages for the
                                              available to it at the time it takes such
                                                                                                       explained in the preamble of the EPA’s                2015 ozone NAAQS. Further, by using
                                              action. Nothing in the CAA suggests that
                                                                                                       proposed actions and further detailed in              the updated modeling results, the EPA
                                              the Agency must deviate from that
                                                                                                       the document titled ‘‘Air Quality                     is using the most current and
                                              general principle when acting on SIP
                                                                                                       Modeling TSD: 2015 Ozone National                     technically appropriate information for
                                              submissions. While CAA section
                                                                                                       Ambient Air Quality Standards                         this rulemaking. This modeling was not
                                              110(k)(2) specifies a time period in
                                                                                                       Proposed Interstate Transport Air Plan                performed to ‘‘move the goal posts’’ for
                                              which the Administrator is to act on a
                                                                                                       Disapproval’’ and 2016v2 Emissions                    states but meant to provide updated
                                              state submission, neither this provision
                                                                                                       Inventory TSD, both available in Docket               emissions projections, such as
                                              nor any other provision of the CAA
                                                                                                       ID no. EPA–HQ–OAR–2021–0663, the                      additional emissions reductions for
                                              specifies that the remedy for the EPA’s
                                                                                                       2016v2 modeling built off previous                    EGUs following promulgation of the
                                              failure to meet a statutory deadline is to
                                                                                                       modeling iterations used to support the               Revised CSAPR Update for the 2008
                                              arrest or freeze the information the EPA
                                                                                                       EPA’s action on interstate transport                  ozone NAAQS, more recent information
                                              may consider to what was available at
                                                                                                       obligations. The EPA continuously                     on plant closures and fuel switches, and
                                              the time of a SIP submission deadline
                                                                                                       refines its modeling to ensure the results            sector trends, including non-EGU
                                              under CAA section 110. Indeed, in the
                                                                                                       are as indicative as possible of air                  sectors. The construct of the 2016v2
                                              interstate transport context, this would
                                                                                                       quality in future years. This includes                emissions platform is described in the
                                              lead to an anomalous result. For
                                                                                                       adjusting our modeling platform and                   2016v2 Emissions Modeling TSD
                                              example, the D.C. Circuit rejected an
                                                                                                       updating our emissions inventories to                 contained in Docket ID No. EPA–HQ–
                                              argument made by Delaware against the
                                                                                                       reflect current information.                          OAR–2021–0663.
                                              CSAPR Update air quality analysis that                      Additionally, we disagree with                        Finally, comments related to the
                                              the EPA was limited to reviewing air                     comments claiming that the 2016v2                     timing of the EPA’s action to disapprove
                                              quality conditions in 2011 (rather than                  modeling results were sprung upon the                 these SIP submissions are addressed in
                                              2017) at the time of the statutory                       states with the publication of the                    Section V.A.1. The EPA notes the
                                              deadline for SIP submittals. The court                   proposed disapprovals. The EPA has                    statute provides a separate remedy for
                                              explained,                                               been publishing a series of data and                  agency action unlawfully delayed. In
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                                                 Delaware’s argument leans too heavily on              modeling releases beginning as early as               section 304 of the CAA, there is a
                                              the SIP submission deadline. SIP submission              the publication of the 2016v1 modeling
                                              deadlines, unlike attainment deadlines, are              with the proposed Revised CSAPR                         288 See https://www.epa.gov/air-emissions-
                                              ‘‘procedural’’ and therefore not ‘‘central to                                                                  modeling/2016v2-platform.
                                              the regulatory scheme.’’ Sierra Club, 294 F.3d           Update in November of 2020, which                       289 See https://www.epa.gov/scram/
                                              at 161. Nor can Delaware’s argument be                   could have been used to track how the                 photochemical-modeling-applications.
                                              reconciled with the text of the Good                     EPA’s modeling updates were                             290 https://www.epa.gov/air-emissions-modeling/

                                              Neighbor Provision, which prohibits upwind               potentially affecting the list of possible            2016v2-platform.



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                                              process for filing suit against the EPA                     EPA Response: Although some                        5. Cooperative Federalism and the
                                              for its failure to comply with a non-                    commenters indicate that our modeling                 EPA’s Authority
                                              discretionary statutory duty under the                   iterations have provided differing                       Comment: Many comments point to
                                              CAA. The appropriate remedy in such                      outcomes and are therefore unreliable,                the concept of cooperative federalism as
                                              cases is an order to compel agency                       this is not what the overall record                   embodied in the CAA to make various
                                              action, not a determination that the                     indicates. Rather, in general, although               arguments as to why the EPA cannot or
                                              agency, by virtue of missing a deadline,                 the specifics of states’ linkages may                 should not be allowed to exercise its
                                              has been deprived of or constrained in                   change slightly, our modeling overall                 independent judgment in evaluating the
                                              its authority to act. See Oklahoma, 723                  has provided consistent outcomes                      arguments presented by the states in the
                                              F.3d at 1224 (‘‘[W]hen ‘there are less                   regarding which states are linked to                  SIP submissions, and some also argue
                                              drastic remedies available for failure to                downwind air quality problems. For                    that the EPA must approve each state’s
                                              meet a statutory deadline’—such as a                     example, the EPA’s modeling shows                     submission in deference to how states
                                              motion to compel agency action—                          that most states that were linked to one              choose to interpret the CAA
                                              ‘courts should not assume that Congress                  or more receptors using the 2011-based
                                                                                                                                                             requirements they must meet.
                                              intended the agency to lose its power to                 platform (i.e., the March 2018 data                      EPA Response: The CAA establishes a
                                              act.’ The Court ‘would be most reluctant                 release) are also linked to one or more               framework for state-Federal partnership
                                              to conclude that every failure of an                     receptors using the newer 2016-based                  to implement the NAAQS based on
                                              agency to observe a procedural                           platform. Because each platform uses                  cooperative federalism. Under the
                                              requirement voids subsequent agency                      different meteorology (i.e., 2011 and                 general model of cooperative federalism,
                                              action, especially when important                        2016) it is not at all unexpected that an             the Federal Government establishes
                                              public rights are at stake.’’’) (cleaned up)             upwind state could be linked to
                                                                                                                                                             broad standards or goals, states are
                                              (quoting Brock v. Pierce County, 476                     different receptors using 2011 versus
                                                                                                                                                             given the opportunity to determine how
                                              U.S. 253, 260 (1986)).                                   2016 meteorology.
                                                 Comment: Comments state that it is                       In addition, although a state may be               they wish to achieve those goals, and if
                                              inappropriate for the EPA to revise its                  linked to a different set of receptors,               states choose not to or fail to adequately
                                              emissions inventory and to conduct new                   states are often linked to receptors in the           implement programs to achieve those
                                              air quality modeling without allowing                    same area that has a persistent air                   goals, a Federal agency is empowered to
                                              an appropriate opportunity for                           quality problem. These differing results              directly regulate to achieve the
                                              stakeholder review and comment and                       regarding receptors and linkages can be               necessary ends. Under the CAA, once
                                              that the EPA must allow public                           affected by the varying meteorology                   the EPA establishes or revises a
                                              comment on any updated (i.e., 2016v3)                    from year to year, but this does not                  NAAQS, states have the obligation and
                                              modeling prior to use by the EPA in a                    indicate that the modeling or the EPA or              opportunity in the first instance to
                                              final action. Comments claim that the                    the state’s methodology for identifying               develop an implementation plan under
                                              EPA must withdraw the proposed                           receptors or linkages is inherently                   CAA section 110 and the EPA will
                                              disapproval and provide states time to                   unreliable. Rather, for many states these             approve SIP submissions under CAA
                                              develop new SIP submissions based on                     separate modeling runs all indicated: (i)             section 110 that fully satisfy the
                                              the updated information.                                 that there would be receptors in areas                requirements of the CAA. This sequence
                                                 EPA Response: The EPA has                             that would struggle with nonattainment                of steps is not in dispute.
                                              evaluated a wide range of technical                      or maintenance in the future, and (ii)                   The EPA does not, however, agree
                                              information and critiques of its 2016v2                  that the state was linked to some set of              with the comments’ characterization of
                                              emissions inventory and modeling                         these receptors, even if the receptors                the EPA’s role in the state-Federal
                                              platform following a solicitation of                     and linkages differed from one another                relationship as being ‘‘secondary’’ such
                                              public feedback as well the public                       in their specifics (e.g., a different set of          that the EPA must defer to state choices
                                              comment period on this action (and the                   receptors were identified to have                     heedless of the substantive objectives of
                                              proposed FIP action) and has responded                   nonattainment or maintenance                          the Act; such deference would be
                                              to those comments and incorporated                       problems, or a state was linked to                    particularly inappropriate in the context
                                              updates into the version of the modeling                 different receptors in one modeling run               of addressing interstate pollution. The
                                              being used in this final action (2016v3).                versus another).                                      EPA believes that the comments
                                              See Section III, the Final Action AQM                       The EPA interprets this common                     fundamentally misunderstand or
                                              TSD, and Section 4 of the RTC                            result as indicative that a state’s                   inaccurately describe this action, as well
                                              document for further discussion.                         emissions have been substantial enough                as the ‘‘‘division of responsibilities’
                                                 The EPA’s development of and                          to generate linkages at Step 2 to varying             between the states and the federal
                                              reliance on newer modeling to confirm                    sets of downwind receptors generated                  government’’ they identify in CAA
                                              modeling used at the proposal stage is                   under varying assumptions and                         section 110 citing the Train-Virginia
                                              in no way improper and is simply                         meteorological conditions, even if the                line of cases 291 and other cases.292
                                              another iteration of the EPA’s                           precise set of linkages changed between
                                                                                                                                                               291 See Virginia v. EPA, 108 F.3d 1397, 1407 (D.C.
                                              longstanding scientific and technical                    modeling runs. Under these
                                                                                                                                                             Cir. 1997) (Virginia) (quoting Train v. Natural
                                              work to improve our understanding of                     circumstances, we think it is                         Resources Defense Council, Inc., 421 U.S. 60, 79
                                              air quality issues and causes going back                 appropriate to proceed to a Step 3                    (1975) (Train)). The ‘‘Train-Virginia line of cases’’
                                              decades. Where the 2016v3 modeling                       analysis to determine what portion of a               are named for the U.S. Supreme Court case Train,
                                              produced a potentially different                         particular state’s emissions should be                421 U.S. and to the D.C. Circuit case Virginia, 108
                                                                                                                                                             F.3d. The D.C. Circuit has described these cases as
                                              outcome for states from proposal, that is                deemed ‘‘significant.’’ We also note that
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                                                                                                                                                             defining a ‘‘federalism bar’’ that generally
                                              reflected in this action (e.g., our deferral             only four states included in the                      recognizes states’ ability to select emissions control
                                              of final action on Tennessee and                         proposed disapprovals went from being                 measures in their SIPs so long as CAA requirements
                                              Wyoming’s SIP submissions).                              unlinked to being linked between the                  are met. See, e.g., Michigan v. EPA, 213 F.3d 663,
                                                 Comment: Comments allege that                         2011-based modeling provided in the                   687 (D.C. Cir. 2000) (Michigan).
                                                                                                                                                               292 Union Elec. Co. v. EPA, 427 U.S. 246 (1976),
                                              EPA’s modeling results have been                         March 2018 memorandum and the                         Am. Elec. Power Co. v. Connecticut, 565 U.S. 410
                                              inconsistent, questioning the reliability                2016v2-based modeling—Alabama,                        (2011), Fla. Power & Light v. Costle, 650 F.2d 579
                                              of the results.                                          Minnesota, Nevada, and Tennessee.                                                                  Continued




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                                              Those cases, some of which pre-date the                   after those SIPs were due. Some                       comment also characterizes the EPA’s
                                              CAA amendments of 1990 resulting in                       comments additionally claim that it is                invocation of Maryland as an
                                              the current Good Neighbor Provision,293                   unreasonable for the EPA to disapprove                inappropriate shifting of regulatory
                                              stand only for the proposition that the                   SIP submissions based on standards that               burden to upwind states.
                                              EPA must approve state plans if they                      were not defined, mandated, or required                  EPA Response: This is an incorrect
                                              meet the applicable CAA requirements.                     by official guidance.                                 interpretation of the D.C. Circuit’s
                                              But these cases say nothing about what                       EPA Response: Comments’ contention                 holdings in North Carolina, Wisconsin,
                                              those applicable requirements are. The                    is unsupported by the statute or                      and Maryland, which held that the EPA
                                              EPA is charged under CAA section 110                      applicable case law. Regarding the need               and the states must align good neighbor
                                              with reviewing states’ plans for                          for the EPA’s guidance in addressing                  obligations to the extent possible with
                                              compliance with the CAA and                               good neighbor obligations, in EME                     the downwind areas’ attainment dates.
                                              approving or disapproving them based                      Homer City, the Supreme Court clearly                 These are set by the statute and remain
                                              on EPA’s determinations. Thus, the EPA                    held that ‘‘nothing in the statute places             fixed regardless of whether downwind
                                              must ultimately determine whether state                   the EPA under an obligation to provide                areas are delayed in implementing their
                                              plans satisfy the requirements of the Act                 specific metrics to States before they                own obligations. It would be
                                              or not. Abundant case law reflects an                     undertake to fulfill their good neighbor              unworkable to expect that upwind
                                              understanding that the EPA must                           obligations.’’ 296                                    states’ obligations could be perfectly
                                              evaluate SIP submissions under the                           Nonetheless, as comments point out,                aligned with each downwind area’s
                                              CAA section 110(k)(2) and (3).294 If they                 the EPA issued three ‘‘memoranda’’ in                 actual timetable for implementing the
                                              are deficient, the EPA must so find, and                  2018 to provide some assistance to                    relevant emissions controls, and no
                                              become subject to the obligation to                       states in developing these SIP                        court has held that this is the EPA’s or
                                              directly implement the relevant                           submissions. In acting on the SIP                     the states’ obligation under the good
                                              requirements through a Federal                            submissions in this action, the EPA is                neighbor provision. Further, this ignores
                                              implementation plan under CAA                             neither rescinding nor acting                         the fact that upwind states must also
                                              section 110(c), unless EPA approves an                    inconsistently with the memoranda—to                  address their interference with
                                              applicable SIP first.295                                  the extent the memoranda constituted                  maintenance of the NAAQS, as well as
                                                The EPA responds in greater detail to                   agency guidance (not all the information              the Maryland court’s holding that good
                                              these comments in the RTC document.                       provided did constitute guidance),                    neighbor obligations should be
                                                                                                        information or ideas in the memoranda                 addressed by the Marginal area
                                              6. Availability of Guidance for SIP
                                                                                                        had not at that time been superseded by               attainment date for ozone under subpart
                                              Submissions
                                                                                                        case law developments, and the                        2 of part D of title I of the CAA. Both
                                                 Comment: Comments contend the                          memoranda’s air quality and                           circumstances may involve situations in
                                              EPA failed to issue guidance in a timely                                                                        which the home state for an identified
                                                                                                        contribution data had not at that time
                                              fashion by releasing its August 2018                                                                            downwind receptor does not have a
                                                                                                        been overtaken by updated modeling
                                              memorandum 31 days prior to when                                                                                specific obligation to plan for and
                                                                                                        and other updated air quality
                                              SIPs addressing interstate ozone                                                                                implement specific emissions controls
                                                                                                        information. While comments specific
                                              transport were due and issuing the                                                                              while an upwind state may nonetheless
                                                                                                        to each of those memoranda are
                                              October 2018 memorandum 18 days                                                                                 be found to have good neighbor
                                                                                                        addressed elsewhere in this record, we
                                                                                                        note in brief that each memorandum                    obligations. But, as the Maryland court
                                              (5th Cir. 1981), Bethlehem Steel Corp. v. Gorsuch,                                                              recognized, the absence of specific
                                              742 F.2d 1028 (7th Cir. 1984), Concerned Citizens         made clear that the EPA’s action on SIP
                                              of Bridesburg v. EPA, 836 F.2d 777 (3d Cir. 1987),        submissions would be through a                        enumerated requirements does not
                                              North Carolina, 531 F.3d 896, Luminant, 675 F.3d          separate notice-and-comment                           mean the downwind state does not have
                                              917 (5th. Cir. 2012), Luminant Co. LLC v. EPA, 714
                                                                                                        rulemaking process and that SIP                       a statutorily binding obligation subject
                                              F.3d 841 (5th. Cir. 2013), North Dakota v. EPA, 730                                                             to burdensome regulatory consequences:
                                              F.3d 750 (8th. Cir. 2013), EME Homer City II, 795         submissions seeking to rely on or take
                                              F.3d 118 (D.C. Cir. 2015), and Texas v. USEPA, 829        advantage of any information or                       ‘‘Delaware must achieve attainment ‘as
                                              F.3d 405 (5th. Cir. 2016).                                concepts in these memoranda would be                  expeditiously as practicable,’’’ and ‘‘an
                                                 293 The 1970 version of the Act required SIPs to
                                                                                                        carefully reviewed against the relevant               upgrade from a marginal to a moderate
                                              include ‘‘adequate provisions for intergovernmental
                                                                                                        legal requirements and technical                      nonattainment area carries significant
                                              cooperation’’ concerning interstate air pollution.                                                              consequences . . . .’’ Maryland, 958
                                              CAA section 110(a)(2)(E), 84 Stat. 1681, 42 U.S.C.        information available to the EPA at the
                                              1857c–5(a)(2)(E). In 1977, Congress amended the                                                                 F.3d at 1204.
                                                                                                        time it would take such rulemaking
                                              Good Neighbor Provision to direct States to submit                                                                 Further, where any downwind-state
                                              SIP submissions that included provisions
                                                                                                        action.                                               delays are unreasonable or violate
                                              ‘‘adequate’’ to ‘‘prohibi[t] any stationary source        B. Application of the 4-Step Interstate               statutory timeframes, the CAA provides
                                              within the State from emitting any air pollutant in
                                              amounts which will . . . prevent attainment or            Transport Framework                                   recourse to compel the completion of
                                              maintenance [of air quality standards] by any other                                                             such duties in CAA section 304, not to
                                              State.’’ CAA section 108(a)(4), 91 Stat. 693, 42          1. Analytic Year                                      defer the elimination of significant
                                              U.S.C. 7410(a)(2)(E) (1976 ed., Supp. II). Congress          Comment: One comment asserted that                 contribution and thereby expose the
                                              again amended the Good Neighbor Provision in
                                              1990 to its current form.
                                                                                                        2023 is not an appropriate analytical                 public in downwind areas to the
                                                 294 See, e.g., Virginia, 108 F.3d at 1406. See also,   year because, according to the                        elevated pollution levels caused in part
                                              e.g., Westar Energy v. EPA, 608 Fed. App’x 1, 3           commenter, the EPA and at least some                  by upwind states’ pollution. Regardless,
                                              (D.C. Cir. 2015) (‘‘EPA acted well within the bounds      downwind states have not in fact                      in this action, 2023 aligns with the
                                              of its delegated authority when it disapproved of
                                                                                                        implemented mandatory emissions                       Moderate area attainment date in 2024,
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                                              Kansas’s proposed [good neighbor] SIP.’’) (emphasis
                                              added); Oklahoma, 723 F.3d at 1209 (upholding the         control requirements associated with                  and all of the downwind nonattainment
                                              EPA’s disapproval of ‘‘best available retrofit            their nonattainment areas, and North                  areas corresponding to receptor
                                              technology’’ (BART) SIP, noting BART ‘‘does not           Carolina and Wisconsin require that                   locations identified at Step 1 in this
                                              differ from other parts of the CAA—states have the                                                              action are already classified as being in
                                              ability to create SIPs, but they are subject to EPA
                                                                                                        upwind and downwind state obligations
                                              review’’).                                                must be implemented ‘‘on par.’’ The                   Moderate nonattainment or have been
                                                 295 EME Homer City Generation, 572 U.S. at 508–                                                              reclassified to Moderate and the
                                              510.                                                        296 EME Homer City, 572 U.S. at 510.                relevant states face obligations to submit


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                                              SIP submissions and implement                            guidance, but was intended to generate                transport framework as a guide for its
                                              reasonably available control                             further discussion around potential                   review to ensure a consistent and
                                              technologies (RACT) by January 1, 2023.                  approaches to addressing ozone                        equitable evaluation of each states’
                                              See 87 FR 60897, 60899 (October 7,                       transport among interested stakeholders.              submissions, the EPA has also
                                              2022). The EPA further responds to this                  The EPA emphasized in this                            considered states’ individual arguments
                                              comment in the RTC document.                             memorandum that any such alternative                  without predetermining the EPA’s
                                                                                                       approaches must be technically justified              conclusions about the state’s transport
                                              2. Attachment A to the March 2018
                                                                                                       and appropriate in light of the facts and             obligations.
                                              Memorandum
                                                                                                       circumstances of each particular state’s                 It was never the Agency’s intent in
                                                 Comment: Comments state that states                   submittal.300 As stated in the proposed               sharing Attachment A that states would
                                              conducted their analyses based on the                    SIP disapprovals,301 the March 2018                   invoke one or more of the potential
                                              flexibilities listed in Attachment A of                  memorandum provided that, ‘‘While the                 ‘‘flexibilities’’ that outside parties
                                              the March 2018 Memorandum.                               information in this memorandum and                    advocated for as a basis for concluding
                                              Comments cite the part of the                            the associated air quality analysis data              that no additional emissions controls
                                              memorandum where the EPA notes that                      could be used to inform the                           were necessary to address interstate
                                              ‘‘in developing their own rules, states                  development of these SIPs, the                        transport for the more protective 2015
                                              have flexibility to follow the familiar                  information is not a final determination              ozone NAAQS without proper
                                              four-step transport framework (using                     regarding states’ obligations under the               justification. Nothing in Attachment A
                                              [the] EPA’s analytical approach or                       good neighbor provision.’’ 302 In this                suggested that was the Agency’s
                                              somewhat different analytical                            final SIP disapproval action, the EPA                 intended objective. Indeed, where
                                              approaches within these steps) or                        again affirms that certain concepts                   certain approaches identified in
                                              alternative frameworks, so long as their                 included in Attachment A to the March                 Attachment A might have produced
                                              chosen approach has adequate technical                   2018 memorandum require unique                        analytical conclusions requiring upwind
                                              justification and is consistent with the                 consideration, and these ideas do not                 states to reduce their emissions, no state
                                              requirements of the CAA.’’ Comments                      constitute agency guidance with respect               invoking Attachment A followed
                                              state that the EPA’s disapproval of SIP                  to transport obligations for the 2015                 through with implementing those
                                              submissions that took advantage of the                   ozone NAAQS.                                          controls. We observe this dynamic at
                                              flexibilities is arbitrary and capricious                   In response to comments’ claims that               work in Kentucky’s submission, because
                                              because the EPA has changed, without                     since the time transport SIP submissions              Kentucky appended comments from the
                                              communication, its consideration of                      were submitted to the EPA for review,                 Midwest Ozone Group to its submission
                                              what is deemed to be the ‘‘necessary                     the EPA has changed, without                          that demonstrated that applying a
                                              provisions’’ required for an approvable                  communication, its consideration of                   ‘‘weighted’’ approach to allocating
                                              SIP submission too late in the SIP                       what is deemed to be the ‘‘necessary                  upwind-state responsibility at Step 3
                                              submission process and because, in                       provisions’’ required for an approvable               would have resulted in an emissions
                                              disapproving these SIPs, the EPA is                      SIP submission, the EPA disagrees. As                 control obligation on Kentucky’s
                                              applying a consistent set of policy                      comments note, and as stated in the                   sources, yet the State offered no
                                              judgments across all states.                             proposed disapproval notifications, the               explanation in its submittal why it was
                                                 EPA Response: Comments mistakenly                     EPA recognizes that states have                       not adopting that approach or even what
                                              view Attachment A to the March 2018                      discretion to develop their own SIP                   its views on that approach were. See 87
                                              memorandum releasing modeling                            transport submissions and agrees that                 FR 9515. As another example, Michigan
                                              results as constituting agency guidance.                 states are not bound to using the 4-step              cited Attachment A to the March 2018
                                              The EPA further disagrees with                           interstate transport framework the EPA                in developing a methodology for
                                              commenters’ characterization of the                      has historically used. However, states                calculating significant contribution
                                              EPA’s stance regarding the                               must then provide sufficient                          under which Michigan would have been
                                              ‘‘flexibilities’’ listed (without analysis)              justification and reasoning to support                responsible for eliminating up to 0.12
                                              in Attachment A. Attachment A to the                     their analytical conclusions and                      ppb of contribution to downwind
                                              March 2018 memorandum identified a                       emissions control strategies. See, e.g., 87           receptors; however, the State suggested
                                              ‘‘Preliminary List of Potential                          FR 9798, 9801. In the SIP submissions                 that uncertainty caused by modeling
                                              Flexibilities’’ that could potentially                   being disapproved in this action, no                  ‘‘noise’’ was too great to either require
                                              inform SIP development.297 However,                      state provided any enforceable
                                                                                                                                                             emissions reductions or demonstrate
                                              the EPA made clear in that attachment                    emissions control strategies for approval
                                                                                                                                                             that Michigan had any linkages to
                                              that the list of ideas were not                          into their SIP. The EPA has evaluated
                                                                                                                                                             receptors at all. See 87 FR 9860–9861.
                                              suggestions endorsed by the Agency but                   the merits of each state’s arguments as
                                                                                                                                                             However, this explanation did not, as an
                                              rather ‘‘comments provided in various                    to why no additional emissions
                                                                                                                                                             analytical matter, demonstrate a level of
                                              forums’’ from outside parties on which                   reduction requirements are needed to
                                                                                                                                                             scientific uncertainty which might
                                              the EPA sought ‘‘feedback from                           satisfy their obligations under CAA
                                                                                                                                                             allow for ignoring the results,303
                                              interested stakeholders.’’ 298 Further,                  section 110(a)(2)(D)(i)(I) for the more
                                              Attachment A stated, ‘‘EPA is not at this                protective 2015 ozone NAAQS. While                       303 Scientific uncertainty may only be invoked to
                                              time making any determination that the                   the EPA used its own 4-step interstate                avoid comporting with the requirements of the CAA
                                              ideas discussed later are consistent with                                                                      when ‘‘the scientific uncertainty is so profound that
                                                                                                         300 March 2018 memorandum.                          it precludes . . . reasoned judgment’’
                                              the requirements of the CAA, nor are we                    301 E.g., 87 FR 9487.                               Massachusetts v. EPA, 127 S.Ct. 1438 (2007). See
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                                              specifically recommending that states                      302 See Information on the Interstate Transport     Wisconsin, 938 F.3d at 318–19 (‘‘Scientific
                                              use these approaches.’’ 299 Attachment                   State Implementation Plan Submissions for the         uncertainty, however, does not excuse EPA’s failure
                                              A to the March 2018 memorandum,                          2015 Ozone National Ambient Air Quality               to align the deadline for eliminating upwind States’
                                              therefore, does not constitute agency                    Standards under Clean Air Act Section                 significant contributions with the deadline for
                                                                                                       110(a)(2)(D)(i)(I), March 27, 2018, available in      downwind attainment of the NAAQS.’’). See also
                                                                                                       docket EPA–HQ–OAR–2021–0663 or at https://            EME Homer City, 795 F.3d at 135–36 (‘‘We will not
                                                297 March 2018 memorandum, Attachment A.
                                                                                                       www.epa.gov/interstate-air-pollution-transport/       invalidate EPA’s predictions solely because there
                                                298 Id.
                                                                                                       interstate-air-pollution-transport-memos-and-         might be discrepancies between those predictions
                                                299 Id.                                                notices.                                                                                         Continued




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                                              particularly when the Agency has                         reason to justify using a design value                concentration threshold is lower than
                                              implemented good neighbor                                from the baseline period that is lower                what monitoring devices are capable of
                                              requirements at levels of ‘‘significant                  than the maximum design value based                   detecting. Comments reference the
                                              contribution’’ comparable to or even                     on monitored data during the same                     reported precision of Federal reference
                                              less than 0.12 ppb. See Wisconsin, 938                   baseline period. To justify such an                   monitors for ozone and the rounding
                                              F.3d at 322–23 (rejecting Wisconsin’s                    approach, the EPA anticipated that any                requirements found in 40 CFR part 50,
                                              argument that it should not face good                    such showing would be based on an                     appendix U, Interpretation of the
                                              neighbor obligations for the 2008 ozone                  analytical demonstration that: (1)                    Primary and Secondary National
                                              NAAQS on the basis that its emission                     Meteorological conditions in the area of              Ambient Air Quality Standards for
                                              reductions would only improve a                          the monitoring site were conducive to                 Ozone, for support. Comments note that
                                              downwind receptor by two ten-                            ozone formation during the period of                  the 1 percent contribution threshold of
                                              thousandths of a part per billion).                      clean data or during the alternative base             0.70 ppb is lower than the
                                                 The EPA continues to neither endorse                  period design value used for                          manufacturer’s reported precision of
                                              the ‘‘flexibilities’’ in Attachment A, nor               projections; (2) ozone concentrations                 Federal reference monitors for ozone
                                              stakes a position that states are                        have been trending downward at the                    and that the requirements found in
                                              precluded from relying on these                          site since 2011 (and ozone precursor                  appendix U truncates monitor values of
                                              concepts in the development of their                     emissions of NOX and VOC have also                    0.70 ppb to 0 ppb.
                                              good neighbor SIP submissions,                           decreased); and (3) emissions are                        EPA Response: The EPA disagrees
                                              assuming they could be adequately                        expected to continue to decline in the                that a 1 percent of the NAAQS
                                              justified both technically and legally.                  upwind and downwind states out to the                 contribution threshold at Step 2 is
                                              This has been demonstrated through the                   attainment date of the receptor. EPA                  ‘‘inappropriate’’ for the 2015 ozone
                                              EPA’s extensive evaluation of the merits                 evaluated state’s analyses and found no               NAAQS due to modeling biases and
                                              of each states’ SIP submissions,                         state successfully applied these criteria             errors. The explanation for how the 1
                                              including their attempted use of                         to justify the use of one of these                    percent contribution threshold was
                                              flexibilities and derivatives of the EPA’s               alternative approaches. The air quality               originally derived is available in the
                                              historically applied 4-step interstate                   data and projections in Section III                   2011 CSAPR rulemaking. See 76 FR
                                              transport framework.304                                  indicate that trends in historic measured             48208, 48236–38 (Aug. 8, 2011). The
                                                                                                       data do not necessarily support                       EPA has effectively applied a 1 percent
                                              3. Step 1: October 2018 Memorandum
                                                                                                       adopting a less stringent approach for                of the NAAQS threshold to identify
                                                 Comments: Comments claimed that                       identifying maintenance receptors for                 linked upwind states in three prior FIP
                                              the EPA is not honoring its October                      purposes of the 2015 ozone NAAQS. In                  rulemakings and numerous state-
                                              2018 memorandum, which they claim                        fact, as explained in Section III, the EPA            specific actions. The D.C. Circuit has
                                              would allow for certain monitoring sites                 has found in its analysis for this final              declined to establish bright line criteria
                                              identified as maintenance-only                           action that, in general, recent measured              for model performance. In upholding
                                              receptors in the EPA’s methodology to                    data from regulatory ambient air quality              the EPA’s approach to evaluating
                                              be excluded as receptors based on                        ozone monitoring sites suggest a number               interstate transport in CSAPR, the D.C.
                                              historical data trends. They assert that                 of receptors with elevated ozone levels               Circuit held that it would not
                                              the EPA is inappropriately disapproving                  will persist in 2023 even though our                  ‘‘invalidate EPA’s predictions solely
                                              SIP submissions where the state                          traditional methodology at Step 1 did                 because there might be discrepancies
                                              sufficiently demonstrated certain                        not identify these monitoring sites as                between those predictions and the real
                                              monitoring sites should not be                           receptors in 2023. Thus, the EPA is not               world. That possibility is inherent in the
                                              considered to have a maintenance                         acting inconsistently with that                       enterprise of prediction.’’ EME Homer
                                              problem in 2023.                                         memorandum—the factual conditions                     City II, 795 F.3d at 135. The court
                                                 EPA Response: The October 2018                        that would need to exist for the                      continued to note that ‘‘the fact that a
                                              memorandum recognized that states                        suggested approaches of that                          ‘model does not fit every application
                                              may be able to demonstrate in their SIPs                 memorandum to be applicable have not                  perfectly is no criticism; a model is
                                              that conditions exist that would justify                 been demonstrated as being applicable                 meant to simplify reality in order to
                                              treating a monitoring site as not being a                or appropriate based on the relevant                  make it tractable.’ ’’ Id. at 135–36
                                              maintenance receptor despite results                     data.                                                 (quoting Chemical Manufacturers
                                              from our modeling methodology                               We further respond to comments                     Association v. EPA, 28 F.3d 1259, 1264
                                              identifying it as such a receptor. The                   related to the identification of receptors            (DC Cir. 1994). See also Sierra Club v.
                                              EPA explained that this demonstration                    at Step 1 the RTC document.                           EPA, 939 F.3d 649, 686–87 (5th Cir.
                                              could be appropriate under two                                                                                 2019) (upholding the EPA’s modeling in
                                              circumstances: (1) the site currently has                4. Step 2: Technical Merits of a 1
                                                                                                                                                             the face of complaints regarding an
                                                                                                       Percent of the NAAQS Contribution
                                              ‘‘clean data’’ indicating attainment of                                                                        alleged ‘‘margin of error,’’ noting
                                                                                                       Threshold
                                              the 2015 ozone NAAQS based on                                                                                  challengers face a ‘‘considerable
                                              measured air quality concentrations, or                     Comment: Several comments contend                  burden’’ in overcoming a ‘‘presumption
                                              (2) the state believes there is a technical              that for technical reasons, the 0.70 ppb              of regularity’’ afforded ‘‘the EPA’s
                                                                                                       threshold is inappropriate for                        choice of analytical methodology’’)
                                              and the real world. That possibility is inherent in      determining whether a state is linked to              (citing BCCA Appeal Grp. v. EPA, 355
                                              the enterprise of prediction.’’).                        a downwind receptor at Step 2 of the 4-               F.3d 817, 832 (5th Cir. 2003)).
                                                304 Nor in the course of this evaluation has the
                                                                                                       step interstate transport framework.                     Furthermore, it is not appropriate to
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                                              EPA uniformly ruled out the concepts in
                                              Attachment A. For example, we noted at proposal
                                                                                                       Comments state that the degree to which               compare the bias/error involved in the
                                              that California’s identification of a flexibility in     errors exist in modeling ozone                        estimation of total ozone to the potential
                                              Attachment A related to excluding certain air            concentrations and contributions make                 error in the estimation of the subset of
                                              quality data associated with atypical events may be      it inappropriate for a threshold as low               ozone that is contributed by a single
                                              generally consistent with the EPA’s modeling
                                              guidance, but this does not affect the ultimate
                                                                                                       as 0.70 ppb to be used. Some comments                 state.305 For example, on a specific day
                                              determination that California’s SIP is not               further state that the 0.70 ppb threshold
                                              approvable. See 87 FR 31454.                             is inappropriate because the                            305 See, e.g., 87 FR 9798 at 9816.




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                                              the modeled versus monitored ozone                       revised CSAPR Update when evaluating                     EPA Response: To clarify, the EPA
                                              value may differ by 2 ppb but that is a                  interstate transport obligations for the              does not use the 1 percent of the
                                              relatively small percentage of the total                 2008 ozone NAAQS. The EPA continues                   NAAQS threshold as the definition of
                                              modeled ozone, which for a receptor of                   to find 1 percent to be an appropriate                ‘‘significance.’’ Rather, where a state’s
                                              interest would be on the order of 70                     threshold. For ozone, as the EPA found                contribution equals or exceeds the 1
                                              ppb. It would be unrealistic to assign all               in the CAIR, CSAPR, and CSAPR                         percent of the NAAQS threshold, the
                                              of the 2 ppb discrepancy in the earlier                  Update, a portion of the nonattainment                EPA expects states to further evaluate
                                              example to the estimated impact from a                   and maintenance problems in the U.S.                  their emissions to determine whether
                                              single state because the 2 ppb error                     results from the combined impact of                   their emissions constitute significant
                                              would be the combination of the error                    relatively small contributions from                   contribution or interference with
                                              from all sources of ozone that contribute                many upwind states, along with                        maintenance. The contribution
                                              to the total, including estimated impacts                contributions from in-state sources and               threshold is a screening threshold to
                                              from other states, the home state of the                 other sources. The EPA’s analysis shows               identify states which may be
                                              receptor, and natural background                         that much of the ozone transport                      ‘‘contributing’’ to an out of state
                                              emissions.                                               problem being analyzed for purposes of                receptor. The EPA has maintained this
                                                 To address comments that compare                      evaluating 2015 ozone NAAQS SIP                       interpretation of the relevant statutory
                                              the 0.70 ppb threshold to the Federal                    obligations is still the result of the                language across many rulemakings,
                                              reference monitors for ozone and the                     collective impacts of contributions from              though commenters continue to confuse
                                              rounding requirements found in 40 CFR                    many upwind states. Therefore,                        the Step 2 threshold with a
                                              part 50, appendix U, the EPA notes that                  application of a consistent contribution              determination of ‘‘significance,’’ which
                                              the comment is mistaken in applying                      threshold is necessary to identify those              it is not. See EME Homer City, 572 U.S.
                                              criteria related to the precision of                     upwind states that should have                        at 500–502 (explaining the difference
                                              monitoring data to the modeling                          responsibility for addressing their                   between the ‘‘screening’’ analysis at
                                              methodology by which we project                          contribution to the downwind                          Steps 1 and 2 whereby the EPA
                                              contributions when quantifying and                       nonattainment and maintenance                         ‘‘excluded as de minimis any upwind
                                              evaluating interstate transport at Step 2.               problems to which they collectively                   State that contributed less than one
                                              Indeed, contributions by source or state                 contribute. Where a great number of                   percent of the . . . NAAQS’’ and the
                                              cannot be derived from the total                         geographically dispersed emissions                    ‘‘control’’ analysis at Step 3 whereby the
                                              ambient concentration of ozone at a                      sources contribute to a downwind air                  EPA determined ‘‘cost thresholds’’ to
                                              monitor at all but must be apportioned                   quality problem, which is the case for                define significance).
                                              through modeling. Under our                              ozone, EPA believes that, in the context                 Further, the EPA’s air quality and
                                              longstanding methodology for doing so,                   of CAA section 110(a)(2)(D)(i)(I), a state-           contribution modeling for ozone
                                              the contribution values identified from                  level threshold of 1 percent of the                   transport is based on application of the
                                              upwind states are based on a robust                      NAAQS is a reasonably small enough                    model in a relative sense rather than
                                              assessment of the average impact of                      value to identify only the greater-than-              relying upon absolute model
                                              each upwind state’s ozone-precursor                      de minimis contributers yet is not so                 predictions. All models have limitations
                                              emissions over a range of scenarios, as                  large that it unfairly focuses attention              resulting from uncertainties in inputs
                                              explained in the Final Action AQM                        for further action only on the largest                and scientific formulation. To minimize
                                              TSD. This analysis is in no way                                                                                the effects of these uncertainties, the
                                                                                                       single or few upwind contributers.
                                              connected with or dependent on                                                                                 modeling is anchored to base period
                                                                                                       Continuing to use 1 percent of the
                                              monitoring instruments’ precision of                                                                           measured data in the EPA’s guidance
                                                                                                       NAAQS as the screening metric to
                                              measurement. See EME Homer City II,                                                                            approach for projecting design values.
                                                                                                       evaluate collective contribution from
                                              795 F.3d 118, 135–36 (‘‘‘[A] model is                                                                          Notably, the EPA also uses our source
                                                                                                       many upwind states also allows the EPA
                                              meant to simplify reality in order to                                                                          apportionment modeling in a relative
                                                                                                       (and states) to apply a consistent
                                              make it tractable.’’’).                                                                                        sense when calculating the average
                                                                                                       framework to evaluate interstate
                                                                                                                                                             contribution metric (used to identify
                                              5. Step 2: Justification of a 1 Percent of               emissions transport under the interstate
                                                                                                                                                             linkages). In this method the magnitude
                                              the NAAQS Contribution Threshold                         transport provision from one NAAQS to
                                                                                                                                                             of the contribution metric is tied to the
                                                 Comment: Comments contend that the                    the next. See 81 FR 74504, 74518. See                 magnitude of the projected average
                                              EPA has not provided enough basis for                    also 86 FR 23054, 23085 (reviewing and                design value which is tied to the base
                                              reliance on the 0.70 ppb threshold,                      explaining rationale from CSAPR, 76 FR                period average measured design value.
                                              claiming that its use is therefore                       48208, 48236–38, for selection of 1                   The EPA’s guidance has recommended
                                              arbitrary and capricious.                                percent threshold).                                   against applying bright-line criteria for
                                                 EPA Response: The EPA is finalizing                      Further, the EPA notes that the role of            judging whether statistical measures of
                                              its proposed approach of consistently                    the Step 2 threshold is limited and just              model performance constitute
                                              using a 1 percent of the NAAQS                           one step in the 4-Step interstate                     acceptable or unacceptable model
                                              contribution threshold at Step 2. This                   transport framework. It serves to screen              performance.
                                              approach ensures both national                           in states for further evaluation of                      The Agency continues to find that this
                                              consistency across all states and                        emissions control opportunities                       method using the CAMx model to
                                              consistency and continuity with our                      applying a multifactor analysis at Step               evaluate contributions from upwind
                                              prior interstate transport actions for                   3. Thus, as the Supreme Court has                     states to downwind areas is reliable.
                                              other NAAQS. Comments have not                           recognized, the contribution threshold                The agency has used CAMx routinely in
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                                              established that this approach is either                 essentially functions to exclude states               previous notice and comment transport
                                              unlawful or arbitrary and capricious.                    with ‘‘de minimis’’ impacts. EME Homer                rulemakings to evaluate contributions
                                                 The 1 percent threshold is consistent                 City, 572 U.S. at 500.                                relative to the 1 percent threshold for
                                              with the Step 2 approach that the EPA                       Comment: Commenters contend that                   both ozone and PM2.5. In fact, in the
                                              applied in CSAPR for the 1997 ozone                      the EPA cannot use the 1 percent                      original CSAPR, the EPA found that
                                              NAAQS, which has subsequently been                       threshold as a determination for                      ‘‘[t]here was wide support from
                                              applied in the CSAPR Update and                          significance.                                         commenters for the use of CAMx as an


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                                              appropriate, state-of-the science air                    made equivalent. Further, comments                    future attainment/nonattainment, the
                                              quality tool for use in the [Cross-State                 incorrectly associate the EPA’s Step 2                good neighbor methodology of using
                                              Air Pollution] Rule. There were no                       contribution threshold with the                       multiple days provides a more robust
                                              comments that suggested that the EPA                     identification of ‘‘significant’’ emissions           approach to establishing that a linkage
                                              should use an alternative model for                      (which does not occur until Step 3), and              exists at the state level than relying on
                                              quantifying interstate transport.’’ 76 FR                so it is not the case that the EPA is                 a single day of data.
                                              48229 (August 8, 2011). In this action,                  interpreting the same term differently.
                                                                                                         The EPA has previously explained                    7. Step 2: August 2018 Memorandum
                                              the EPA has taken a number of steps
                                              based on comments and new                                this distinction between the good                        Comment: Comments assert that in
                                              information to ensure to the greatest                    neighbor framework and PSD SILs. See                  the August 2018 memorandum the EPA
                                              extent the accuracy and reliability of its               70 FR 25162, 25190–25191 (May 12,                     committed itself to approving SIP
                                              modeling projections at Step 1 and 2, as                 2005); 76 FR 48208, 48237 (August 8,                  submissions from states with
                                              discussed elsewhere in this document.                    2011). Importantly, the implication of                contributions below 1 ppb, and so now
                                                                                                       the PSD SIL threshold is not that single-             the EPA should or must approve the
                                              6. Step 2: Prevention of Significant                     source contribution below this level                  good neighbor SIP submission from any
                                              Deterioration Significant Impact Levels                  indicates the absence of a contribution               state with a contribution below 1 ppb,
                                                 Comment: Several comments insist                      or that no emissions control                          either based on modeling available at
                                              that when identifying an appropriate                     requirements are warranted. Rather, the               the time of the state’s SIP submission or
                                              linkage threshold at Step 2 of the 4-step                PSD SIL threshold addresses whether                   at any time.
                                              framework, the EPA should consider or                    further, more comprehensive, multi-                      EPA Response: These comments
                                              rely on the 1 ppb significant impact                     source review or analysis of air quality              mischaracterize the content and the
                                              level (SIL) for ozone used as part of the                impacts are required of the source to                 EPA’s application of August 2018
                                              prevention of significant deterioration                  support a demonstration that it meets                 memorandum. Further, the EPA
                                              PSD permitting process. Comments                         the criteria for a permit. A source with              disputes that the EPA misled states or
                                              reference the EPA’s April 17, 2018,                      estimated impacts below the PSD SIL                   that the EPA has not appropriately
                                              guidance memorandum, ‘‘Significant                       may use this to demonstrate that it will              reviewed SIP submissions from states
                                              Impact Levels for Ozone and Fine                         not cause or contribute (as those terms               that attempted to rely on an alternative
                                              Particles in the Prevention of Significant               are used within the PSD program) to a                 contribution threshold at Step 2.
                                              Deterioration Permitting Program’’ (SIL                  violation of an ambient air quality                      Specifically, the EPA’s August 2018
                                              guidance), as well as the EPA’s March                    standard, but is still subject to meeting             memorandum provided an analysis
                                              2018 memorandum’s Attachment A                           applicable control requirements,                      regarding ‘‘the degree to which certain
                                              flexibilities to lend support to their                   including best available control                      air quality threshold amounts capture
                                              opinion that the 1 ppb SIL should also                   technology, designed to moderate the                  the collective amount of upwind
                                              be used to determine linkages at Step 2.                 source’s impact on air quality.                       contribution from upwind states.’’ 306 It
                                                 EPA Response: The EPA’s SIL                             Moreover, other aspects of the                      interpreted ‘‘that information to make
                                              guidance relates to a different provision                technical methodology in the SIL                      recommendations about what
                                              of the Clean Air Act regarding                           guidance compared to the good                         thresholds may be appropriate for use
                                              implementation of the prevention of                      neighbor framework make a direct                      in’’ SIP submissions (emphasis
                                              significant deterioration (PSD)                          comparison between these two values                   added).307 Specifically, the August 2018
                                              permitting program. This program                         misleading. For instance, in PSD permit               memorandum said, ‘‘Because the
                                              applies in areas that have been                          modeling using a single year of                       amount of upwind collective
                                              designated attainment of the NAAQS                       meteorology the maximum single-day 8-                 contribution capture with the 1 percent
                                              and is intended to ensure that such                      hour contribution is evaluated with                   and the 1 ppb thresholds is generally
                                              areas remain in attainment even if                       respect to the SIL. The purpose of the                comparable, overall, we believe it may
                                              emissions were to increase as a result of                contribution threshold at Step 2 of the               be reasonable and appropriate for states
                                              new sources or major modifications to                    4-step good neighbor framework is to                  to use a 1 ppb contribution threshold, as
                                              existing sources located in those areas.                 determine whether the average                         an alternative to a 1 percent threshold,
                                              This purpose is different than the                       contribution from a collection of sources             at Step 2 of the 4-step framework in
                                              purpose of the good neighbor provision,                  in a state is small enough not to warrant             developing their SIP revisions
                                              which is to assist downwind areas (in                    any additional control for the purpose of             addressing the good neighbor provision
                                              some cases hundreds or thousands of                      mitigating interstate transport, even if              for the 2015 ozone NAAQS.’’ (emphasis
                                              miles away) in resolving ongoing                         that control were highly cost effective.              added).308 Thus, the text of the August
                                              nonattainment of the NAAQS or                            Using a 1 percent of the NAAQS                        2018 memorandum does not guarantee
                                              difficulty maintaining the NAAQS                         threshold is more appropriate for                     that any state with a contribution below
                                              through eliminating the emissions from                   evaluating multi-day average                          1 ppb has an automatically approvable
                                              other states that are significantly                      contributions from upwind states than a               good neighbor SIP. In fact, the August
                                              contributing to those problems. In                       1 ppb threshold applied for a single day,             2018 memorandum indicated that
                                              addition, as discussed earlier, the                      since that lower value of 1 percent of                ‘‘[f]ollowing these recommendations
                                              purpose of the Step 2 threshold within                   the NAAQS will capture variations in                  does not ensure that EPA will approve
                                              the EPA’s interstate transport framework                 contribution. If EPA were to use a single             a SIP revision in all instances where the
                                              for ozone is to broadly sweep in all                     day reflecting the maximum amount of                  recommendations are followed, as the
                                              states contributing to identified                        contribution from an upwind state to
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                                                                                                                                                             guidance may not apply to the facts and
                                              receptors above a de minimis level in                    determine whether a linkage exists at                 circumstances underlying a particular
                                              recognition of the collective-                           Step 2, comments’ arguments for use of                SIP. Final decisions by the EPA to
                                              contribution problem associated with                     the PSD SIL might have more force.                    approve a particular SIP revision will
                                              regional-scale ozone transport. The                      However, that would likely cause more
                                              threshold used in the context of PSD SIL                 states to become linked, not less. And in               306 August 2018 memorandum, page 1.

                                              serves an entirely different purpose, and                any case, consistent with the method in                 307 August 2018 memorandum, page 1.

                                              so it does not follow that they should be                our modeling guidance for projecting                    308 August 2018 memorandum, page 4.




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                                              only be made based on the requirements                     The EPA disagrees with comments’                    is not clear that any states invested
                                              of the statute and will only be made                     claims that the Agency has reversed                   much of their own public resources in
                                              following an air agency’s final                          course on applying the August 2018                    developing state-specific arguments in
                                              submission of the SIP revision to the                    memorandum. In line with the                          support of a 1 ppb threshold. As the
                                              EPA, and after appropriate notice and                    memorandum, the EPA evaluated every                   EPA observed at proposal, in nearly all
                                              opportunity for public review and                        justification put forward by every state              submittals, the states did not provide
                                              comment.’’ 309 The August 2018                           covered by this SIP disapproval action                the EPA with analysis specific to their
                                              memorandum also stated, ‘‘EPA and air                    that attempted to justify an alternative              state or the receptors to which its
                                              agencies should consider whether the                     threshold under the August 2018                       emissions are potentially linked. In one
                                              recommendations in this guidance are                     memorandum, which are Alabama,312                     case, the EPA’s proposed approval of
                                              appropriate for each situation.’’ 310 The                Arkansas,313 Illinois,314 Indiana,315                 Iowa’s SIP submittal, ‘‘the EPA
                                              EPA’s assessment of every SIP                            Kentucky,316 Louisiana,317 Michigan,318               expended its own resources to attempt
                                              submission that invoked the August                       Mississippi,319 Missouri,320 and                      to supplement the information
                                              2018 memorandum considered the                           Oklahoma,321 and Utah.322 The EPA                     submitted by the state, in order to more
                                              particular arguments raised by the                       also addressed criticisms of the 1                    thoroughly evaluate the state-specific
                                              state.311                                                percent of the NAAQS contribution                     circumstances that could support
                                                Comment: Some comments allege that                     threshold made by Ohio 323 and                        approval.’’ E.g., 87 FR 9806–07
                                              the EPA representatives led the states to                Nevada.324 (The topic of the EPA’s input              (emphasis added). The EPA emphasizes
                                              believe that their SIP submission would                  during state’s SIP-development                        again that it was the EPA’s sole
                                              be approved on the basis of a 1 ppb                      processes is further discussed in the                 discretion to perform this analysis in
                                              contribution threshold. The comments                     RTC document.)                                        support of the state’s submittal, and the
                                              further claim that the EPA has now                         For this reason, the EPA disagrees                  Agency is not obligated to conduct
                                              since reversed course on its August                      with comment that case law reviewing                  supplemental analysis to fill the gaps
                                              2018 memorandum and imposed new                          changes in agency positions as                        whenever it believes a state’s analysis is
                                              requirements on states that were not                     articulated in FCC v. Fox TV Stations,                insufficient. Id.
                                              included in the EPA’s guidance. One                      Inc., is applicable to this action. The                  We acknowledge that certain states
                                              comment suggested EPA switched                           Agency has not imposed a requirement                  may have assumed the EPA would
                                              position without explanation from the                    that states must use a 1 percent of the               approve SIP submissions from states
                                              August 2018 guidance to its proposed                     NAAQS threshold (which would reflect                  whose contribution to any receptor was
                                              disapprovals, which it viewed as                         a change in position from the August                  below 1 ppb, but that assumption
                                              unlawful under FCC v. Fox TV Stations,                   2018 memorandum). Rather, under the                   reflected a misunderstanding of the
                                              Inc., 556 U.S. 502 (2009).                               terms of the August 2018 memorandum,                  August 2018 memorandum, and in any
                                                EPA Response: As an initial matter,                    the Agency has found that Alabama,                    case, an assumption is not, as a legal
                                              we note that the salience of these                       Arkansas, Illinois, Indiana, Kentucky,                matter, the same thing as a reliance
                                              comments is limited to only a handful                    Louisiana, Michigan, Mississippi,                     interest.
                                              of states. The August 2018                               Missouri, Nevada, Ohio, Oklahoma, and                    The EPA is not formally rescinding
                                              memorandum made clear that the                           Utah have not made a sufficient                       the August 2018 memorandum in this
                                              Agency had substantial doubts that any                   showing that the use of an alternative                action or at this time, but since guidance
                                              threshold greater than 1 ppb (such as 2                  contribution threshold is justified for               memoranda are not binding in the first
                                              ppb) would be acceptable, and the                        those States. Even if it were found that              place, it is not required that agencies
                                              Agency is affirming that a threshold                     the Agency’s position had                             must ‘‘rescind’’ a guidance the moment
                                              higher than 1 ppb would not be justified                 fundamentally changed between this                    it becomes outdated or called into
                                              under any circumstance for purposes of                   rulemaking action and the August 2018                 question. As the Agency made clear in
                                              this action. No comment provided a                       memorandum (which we do not                           the August 2018 memorandum, all of
                                              credible basis for using a threshold even                concede to be the case), we do not                    EPA’s proposals for action on interstate
                                              higher than 1 ppb. So this issue is                      believe that any state had a legitimate               transport SIP submissions are subject to
                                              primarily limited to the difference                      reliance interest that would be sufficient            rulemaking procedure, including public
                                                                                                       to overcome the countervailing public                 notice and comment, before the EPA
                                              between a 0.70 ppb threshold and a 1.0
                                                                                                       interest that is served in declining to               makes a final decision.
                                              ppb threshold. Therefore, we note that
                                                                                                       approve a state’s use of the 1 ppb                       Although the EPA is not formally
                                              this issue is only relevant to a small                                                                         revoking the August 2018 memorandum
                                              number of states whose only                              threshold where the state did not have
                                                                                                       adequate technical justification. First,              at this time, and we have separately
                                              contributions to any receptor are above                                                                        found that no state successfully
                                              1 percent of the NAAQS but lower than                    neither states nor the emissions sources
                                                                                                       located in those states have incurred                 established a basis for use of a 1 ppb
                                              1 ppb. Under the 2016v3 modeling of                                                                            threshold, we also continue to believe,
                                              2023 being used in this final action,                    any compliance costs based on the
                                                                                                       August 2018 memorandum. Second, it                    as set forth in our proposed
                                              those states with contributions that fall                                                                      disapprovals, that national ozone
                                              between 0.70 ppb and 1 ppb included                        312 87 FR 64423–64424.                              transport policy associated with
                                              in this action are Alabama, Kentucky,                      313 87 FR 9806–9807.                                addressing obligations for the 2015
                                              and Minnesota.                                             314 87 FR 9852–9853.                                ozone NAAQS is not well-served by
                                                309 August 2018 memorandum, page 1.
                                                                                                         315 87 FR 9855–9856.
                                                                                                                                                             allowing for less protective thresholds at
                                                                                                         316 87 FR 9508–9511.
                                                                                                                                                             Step 2. Furthermore, the EPA disagrees
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                                                310 August 2018 memorandum, page 1.                      317 87 FR 9812–9813.
                                                311 87 FR 64423–64424 (Alabama); 87 FR 9806–             318 87 FR 9861–9862.
                                                                                                                                                             that national consistency is an
                                              9807 (Arkansas); 87 FR 9852–9853 (Illinois); 87 FR         319 87 FR 9557.
                                                                                                                                                             inappropriate consideration in the
                                              9855–9856 (Indiana); 87 FR 9508–9511 (Kentucky);           320 87 FR 9541–9543.                                context of interstate ozone transport.
                                              87 FR 9812–9813 (Louisiana); 87 FR 9861–9862               321 87 FR 9818–9820.                                The Good Neighbor provision, CAA
                                              (Michigan); 87 FR 9557 (Mississippi); 87 FR 9541–
                                              9543 (Missouri); 87 FR 31492 (Nevada); 87 FR
                                                                                                         322 87 FR 31477–31451.                              section 110(a)(2)(D)(i)(I), requires to a
                                              9870–9871 (Ohio); 87 FR 9818–9820 (Oklahoma);              323 87 FR 9870–9871.                                unique degree of concern for
                                              87 FR 31477–31451 (Utah).                                  324 87 FR 31492.                                    consistency, parity, and equity across


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                                              state lines.325 For a regional air                       every state. Indeed, the 1 ppb threshold              NAAQS contribution threshold, the EPA
                                              pollutant such as ozone, consistency in                  has the disadvantage of losing a certain              would be obligated to seek feedback on
                                              requirements and expectations across all                 amount of total upwind contribution for               that contribution threshold through a
                                              states is essential. Based on the EPA’s                  further evaluation at Step 3 (e.g.,                   public notice and comment process. The
                                              review of good neighbor SIP                              roughly 7 percent of total upwind state               EPA’s basis and rationale for every SIP
                                              submissions to-date and after further                    contribution was lost according to the                submission covered by this final SIP
                                              consideration of the policy implications                 modeling underlying the August 2018                   disapproval action, including the use of
                                              of attempting to recognize an alternative                memorandum; in the EPA’s 2016v2 and                   a 1 percent of the NAAQS contribution
                                              Step 2 threshold for certain states, the                 2016v3 modeling, the amount lost is 5                 threshold, was in fact presented for
                                              Agency now believes the attempted use                    percent). Further, this logic has no end              public comment. The EPA received, and
                                              of different thresholds at Step 2 with                   point. A similar observation could be                 is addressing in this action, many
                                              respect to the 2015 ozone NAAQS raises                   made with respect to any incremental                  detailed comments about contribution
                                              substantial policy consistency and                       change. For example, should the EPA                   thresholds. Further, the EPA’s
                                              practical implementation concerns. The                   next recognize a 1.2 ppb threshold                    application of a 1 percent of the NAAQS
                                              availability of different thresholds at                  because that would only cause some                    threshold has been consistently used in
                                              Step 2 has the potential to result in                    small additional loss in capture of                   notice-and-comment rulemakings
                                              inconsistent application of good                         upwind state contribution as compared                 beginning with the CSAPR rulemaking
                                              neighbor obligations based solely on the                 to 1 ppb? If the only basis for moving                in 2010–2011 and including both FIP
                                              strength of a state’s SIP submission at                  to a 1 ppb threshold is that it captures              actions (CSAPR Update and Revised
                                              Step 2 of the 4-step interstate transport                a ‘‘similar’’ (but actually smaller)                  CSAPR Update) and numerous actions
                                              framework. From the perspective of                       amount of upwind contribution, then                   on ozone transport SIP submissions. In
                                              ensuring effective regional                              there is no basis for moving to that                  each case, the 1 percent of the NAAQS
                                              implementation of good neighbor                          threshold at all. Considering the core                threshold was subject to rigorous vetting
                                              obligations, the more important analysis                 statutory objective of ensuring                       through public comment and the
                                              is the evaluation of the emissions                       elimination of all significant                        Agency’s response to those comments,
                                              reductions needed, if any, to address a                  contribution to nonattainment or                      including through analytical evaluations
                                              state’s significant contribution after                   interference with maintenance of the                  of alternative thresholds. See, e.g., 81 FR
                                              consideration of a multifactor analysis                  NAAQS in other states as well as the                  74518–19. By contrast, the August 2018
                                              at Step 3, including a detailed                          broad, regional nature of the collective              memorandum was not issued through
                                              evaluation that considers air quality                    contribution problem with respect to                  notice-and-comment rulemaking
                                              factors and cost. While alternative                      ozone, we continue to find no                         procedures, and the EPA was careful to
                                              thresholds for purposes of Step 2 may                    compelling policy reason to adopt a new               caveat its utility and ultimate reliability
                                              be ‘‘similar’’ in terms of capturing the                 threshold for all states of 1 ppb.                    for that reason.
                                              relative amount of upwind contribution                      It also is unclear why use of a 1 ppb                 Comment: Some comments claim that
                                              (as described in the August 2018                         threshold would be appropriate for all                the EPA is applying the August 2018
                                              memorandum), nonetheless, use of an                      states under a more protective NAAQS                  memorandum inconsistently based on
                                              alternative threshold would allow                        when a 1 percent of the NAAQS                         the EPA’s actions with regard to action
                                              certain states to avoid further evaluation               contribution threshold has been used for              good neighbor SIP submissions from
                                              of potential emissions controls while                    less protective NAAQS. To illustrate, a               Iowa and Oregon for the 2015 ozone
                                              other states with a similar level of                     state contributing greater than 0.75 ppb              NAAQS and Arizona’s good neighbor
                                              contribution would proceed to a Step 3                   but less than 1 ppb to a receptor under               SIP submission for the 2008 ozone
                                              analysis. This can create significant                    the 2008 ozone NAAQS was ‘‘linked’’ at                NAAQS.
                                              equity and consistency problems among                    Step 2 using the 1 percent of the                        EPA Response: The EPA disagrees
                                              states.                                                  NAAQS contribution threshold, but if a                that there is any such inconsistency.
                                                 One comment suggested that the EPA                    1 ppb threshold were used for the 2015                The EPA withdrew a previously
                                              could address this potentially                           ozone NAAQS, then that same state                     proposed approval of Iowa’s SIP
                                              inequitable outcome by simply adopting                   would not be ‘‘linked’’ to a receptor at              submission where the Agency had
                                              a 1 ppb contribution threshold for all                   Step 2 under a NAAQS that is set to be                attempted to substantiate the use of a 1
                                              states. However, the August 2018                         more protective of human health and                   ppb contribution threshold, and re-
                                              memorandum did not conclude that 1                       the environment. Consistency with past                proposed and finalized approval of that
                                              ppb would be appropriate for all states,                 interstate transport actions such as                  SIP based on a different rationale using
                                              and the EPA does not view that                           CSAPR, and the CSAPR Update and                       a 1 percent of the NAAQS contribution
                                              conclusion to be supported at present.                   Revised CSAPR Update rulemakings                      threshold. 87 FR 9477 (Feb. 22, 2022);
                                              The EPA recognized in the August 2018                    (which used a Step 2 threshold of 1                   87 FR 22463 (April 15, 2022). As
                                              memorandum that on a nationwide                          percent of the NAAQS for two less                     explained earlier in this section, this
                                              basis there was some similarity in the                   protective ozone NAAQS), is an                        experience of the EPA attempting to
                                              amount of total upwind contribution                      important consideration. Continuing to                justify 1 ppb for a state through
                                              captured between 1 percent and 1 ppb.                    use a 1 percent of NAAQS approach                     additional air quality analysis, where
                                              However, while this may be true in                       ensures that if the NAAQS are revised                 the state had not conducted an analysis
                                              some sense, that is hardly a compelling                  and made more protective, an                          the Agency considered to be sufficient
                                              basis to move to a 1 ppb threshold for                   appropriate increase in stringency at                 is part of the reason the Agency is
                                                                                                       Step 2 occurs, to ensure an                           moving away from attempting to justify
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                                                325 The EPA notes that Congress has placed on the      appropriately larger amount of total                  use of this alternative contribution
                                              EPA a general obligation to ensure the requirements      upwind-state contribution is captured                 threshold.
                                              of the CAA are implemented consistently across           for purposes of fully addressing                         The EPA also disputes the claim that
                                              states and regions. See CAA section 301(a)(2).           interstate transport obligations. See 76              Oregon and Arizona were the only states
                                              Where the management and regulation of interstate
                                              pollution levels spanning many states is at stake,       FR 48208, 48237–38.                                   ‘‘allowed’’ to use a 1 ppb threshold. The
                                              consistency in application of CAA requirements is           One comment identified that if the                 EPA approved Oregon’s SIP submission
                                              paramount.                                               EPA were to use a 1 percent of the                    for the 2015 ozone NAAQS on May 17,


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                                              2019, and both Oregon and the EPA                        intentionally exploiting the Supreme                  while the EPA does not direct states to
                                              relied on a 1 percent of the NAAQS                       Court decision in EME Homer City to                   use a particular framework, nonetheless,
                                              contribution threshold. 84 FR 7854,                      justify any requirements it deems                     each state must show that its decision-
                                              7856 (March 5, 2019) (proposal); 84 FR                   necessary to further Federal policy                   making was based on a ‘‘technically
                                              22376 (May 17, 2019) (final). In our FIP                 decisions. Some comments identify that                appropriate or justifiable’’ evaluation.
                                              proposal for the 2015 ozone NAAQS,                       some states did not conduct a Step 3                     Further, the Agency has a statutory
                                              the EPA explained it was not proposing                   analysis in their submitted SIPs                      obligation to review and approve or
                                              to conduct an error correction for                       because, using the flexibilities provided             disapprove SIP submittals according to
                                              Oregon even though updated modeling                      in the 2018 memoranda, these states                   the requirements of the Clean Air Act.
                                              indicated Oregon contributed above 1                     concluded in Step 1 and Step 2 that no                See CAA section 110(k)(3). And the
                                              percent of the NAAQS to monitors in                      controls were required. One comment                   Agency is empowered to interpret those
                                              California, because the specific monitors                suggests that the EPA propose an 18-                  statutory requirements and exercise
                                              in California are not interstate ozone                   month period to allow these states to                 both technical and policy judgment in
                                              transport ‘‘receptors’’ at Step 1. See 87                proceed with Steps 3 and 4.                           acting on SIP submissions. Indeed, the
                                              FR 20036, 20074–20075 (April 6, 2022).                      EPA Response: The EPA disagrees                    task of allocating responsibility for
                                              The EPA solicited public comment on                      that it is obligated to defer to states’              interstate pollution particularly
                                              its approach to Oregon’s contribution to                 choices in the development of good                    necessitates Federal involvement. See
                                              California receptors as part of the 2015                 neighbor SIP submissions. As required                 EME Homer City, 572 U.S. at 514 (‘‘The
                                              ozone NAAQS transport FIP                                by the Act, the EPA has evaluated each                statute . . . calls upon the Agency to
                                              development, and the Agency has not                                                                            address a thorny causation problem:
                                                                                                       of the SIP submissions for compliance
                                              yet taken final action on that FIP. In                                                                         How should EPA allocate among
                                                                                                       with the CAA, including whether an
                                              2016, the EPA previously approved                                                                              multiple contributing upwind States
                                                                                                       adequate Step 3 analysis was
                                              Arizona’s good neighbor SIP for the                                                                            responsibility for a downwind State’s
                                                                                                       conducted—or whether states had
                                              earlier 2008 ozone NAAQS based on a                                                                            excess pollution?’’); see also Wisconsin,
                                                                                                       offered an approvable alternative
                                              similar rationale with regard to certain                                                                       938 F.3d at 320. Further, we have
                                                                                                       approach to evaluating their good
                                              monitors in California in 2016. 81 FR                                                                          consistently disapproved states’ good
                                                                                                       neighbor obligations—and found in
                                              15200 (March 22, 2016) (proposal); 81                                                                          neighbor SIP submissions addressing
                                                                                                       each case that what these states
                                              FR 31513 (May 19, 2016) (final rule).                                                                          prior ozone NAAQS when we have
                                                                                                       submitted was not approvable. The
                                              The Agency’s view with respect to its                                                                          found those states linked through our
                                                                                                       Supreme Court has recognized that the                 air quality modeling and yet the state
                                              evaluation of both Arizona and Oregon
                                                                                                       EPA is not obligated to provide states                failed to conduct an analysis of
                                              is that specific monitors in California
                                                                                                       with guidance before taking action to                 emissions control opportunities, or such
                                              are not interstate ozone transport
                                                                                                       disapprove a SIP submission. EME                      analysis was perfunctory or otherwise
                                              ‘‘receptors’’ at Step 1. The EPA has not
                                                                                                       Homer City, 572 U.S. at 508–10.                       unsatisfactory. We have been upheld in
                                              approved or applied an alternative Step
                                                                                                       Nonetheless, throughout the entire                    our judgment that such SIPs are not
                                              2 threshold for any state.
                                                 Comments related to the specific                      history of the EPA’s actions to                       approvable. See Westar Energy v. EPA,
                                              circumstances of an individual state                     implement the good neighbor provision                 608 Fed. App’x 1, 3 (DC Cir. 2015)
                                              and/or its arguments put forth in its SIP                for ozone, starting with the 1998 NOX                 (‘‘EPA acted well within the bounds of
                                              submission as it pertains to the August                  SIP Call, we have consistently adopted                its delegated authority when it
                                              2018 Memorandum are further                              a similar approach at Step 3 that                     disapproved of Kansas’s proposed SIP.’’)
                                              addressed in the RTC document.                           evaluates emissions reduction                         (emphasis added).
                                                                                                       opportunities for linked states applying                 With respect to the assertion that no
                                              8. Step 3: States’ Step 3 Analyses for the               a multifactor analysis. States could have             state has successfully avoided a FIP
                                              2015 Ozone NAAQS                                         performed a similar analysis of                       with an approvable Step 3 analysis, we
                                                 Comment: Comments state that the                      emissions control opportunities. The                  note first that at this time, no final FIP
                                              EPA has not provided any guidance on                     EPA has not directed states that they                 addressing the 2015 ozone NAAQS has
                                              what an appropriate Step 3 analysis                      must conduct a Step 3 analysis in                     been promulgated. More directly to the
                                              would entail, and therefore any decision                 precisely the manner the EPA has done                 point, no state submission that is the
                                              where the Agency rejects a Step 3                        in its prior regional transport                       subject of this disapproval action
                                              analysis is arbitrary and capricious. One                rulemakings; however, SIPs addressing                 offered any additional emissions control
                                              comment claims that not a single state                   the obligations in CAA section                        measures. While it is conceivable that a
                                              has successfully made a Step 3                           110(a)(2)(D)(i)(I) must prohibit ‘‘any                Step 3 analysis may result in a
                                              demonstration leading to an approvable                   source or other type of emissions                     determination that no additional
                                              interstate transport SIP for the 2015                    activity within the State’’ from emitting             controls are needed, EPA expects that
                                              ozone NAAQS. Comments note that                          air pollutants which will contribute                  such circumstances will generally be
                                              there is no requirement in the CAA that                  significantly to downwind air quality                 rare, else the CAA’s interstate transport
                                              states must complete an analysis similar                 problems. Thus, States seeking to rely                provisions are rendered ineffective. For
                                              to the EPA’s, and the EPA cannot                         on an alternative approach to defining                example, the EPA determined in the
                                              substitute its own judgment for that of                  ‘‘significance’’ must use an approach                 CSAPR Update that even though the
                                              the state’s in crafting a SIP. Rather, the               that comports with the statute’s                      District of Columbia and Delaware were
                                              EPA is obligated to defer to state                       objectives to determine whether and to                linked to out of state receptors at Steps
                                              choices. One comment asserts that the                    what degree emissions from a state                    1 and 2 of the 4-step interstate transport
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                                              EPA is required to interpret the term                    should be ‘‘prohibited’’ to eliminate                 framework, no additional control
                                              ‘‘significant contribution’’ in a manner                 emissions that will ‘‘contribute                      measures were required of either
                                              ‘‘which ties contribution to an amount                   significantly to nonattainment in, or                 jurisdiction. As to the District of
                                              which contributes significantly to                       interfere with maintenance of’’ the                   Columbia, we found that there were no
                                              downwind maintenance or                                  NAAQS in any other state. Further, the                affected EGU sources that would fall
                                              nonattainment problems.’’ Another                        approach selected must be reasonable                  under the CSAPR Update’s control
                                              comment claims the EPA is                                and technically justified. Therefore,                 program. For Delaware, we found that


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                                              there were no emissions reductions                       failure to use this particular                        Update or the Revised CSAPR Update,
                                              available from any affected sources for                  methodology.                                          as a permissible means of achieving
                                              any of the emissions control                                In its March 2018 memorandum,                      emissions reductions to eliminate
                                              stringencies that were analyzed. See 81                  Attachment A, the Agency                              significant contribution for the 2015
                                              FR 74504, 74553. No state’s submission                   acknowledged that there could be                      ozone NAAQS.
                                              covered in this action contained an                      multiple ways of conducting a Step 3                     EPA Response: The EPA disagrees. As
                                              emissions control analysis that would                    analysis. The Agency did not endorse                  the EPA has noted on page 16 of our
                                              allow for these types of conclusions to                  any particular approach and noted the                 September 2013 memorandum
                                              be reached for all of its sources.326                    Attachment was merely a list of                       ‘‘Guidance on Infrastructure State
                                              States generally did not conduct any                     stakeholder ideas that the EPA was not                Implementation Plan (SIP) Elements
                                              comparative analysis of available                        recommending any state follow. The                    under Clean Air Act sections 110(a)(1)
                                              emissions control strategies—nor did                     apparent result of this ‘‘flexibility,’’              and 110(a)(2)’’ (2013 Infrastructure SIP
                                              they prohibit any additional ozone-                      however, was that no state presented a                Guidance): ‘‘a FIP is not a state plan and
                                              precursor emissions.                                     Step 3 analysis that resulted in                      thus cannot serve to satisfy the state’s
                                                                                                       including any enforceable emissions                   obligation to submit a SIP.’’ 327 Indeed,
                                                 We are unclear what another                           reductions to address good neighbor                   the general principle that measures
                                              comment intends in asserting that the                    obligations for the 2015 ozone NAAQS                  relied on to meet states’ CAA
                                              EPA is required to interpret ‘‘significant               in their interstate transport SIP                     obligations must be part of the SIP has
                                              contribution’’ in a manner ‘‘which ties                  submittals. Likewise, the comment here                been recognized by courts, such as in
                                              contribution to an amount which                          did not include information or analysis               Committee for a Better Arvin, 786 F.3d
                                              contributes significantly to downwind                    establishing that any particular                      1169 (9th Cir. 2015).
                                              maintenance or nonattainment                             alternative Step 3 approach should have                  This principle is grounded in the
                                              problems.’’ The EPA disagrees that: (1)                  been approved or that any state                       recognition that if such measures are not
                                              It has imposed or mandated a specific                    performed such an analysis in a manner                rendered enforceable within the SIP
                                              approach to Step 3 in this action, (2)                   that would have addressed ‘‘significant               itself, then they may be modified or
                                              this action established a particular level               contribution’’ even in the manner the                 amended in ways that would undermine
                                              of emissions reduction that states were                  comment appears to be suggesting.                     the basis for the state’s reliance on them,
                                              required to achieve, or (3) it mandated                     Notably, materials appended to one                 while the approved SIP itself would
                                              a particular methodology for making                      State’s SIP submission, developed by                  purport to have addressed the relevant
                                              such a determination. To the extent the                  the Midwest Ozone Group (MOG), did                    obligation merely by outdated reference
                                              comment suggests that the Agency                         present an analysis applying an                       to that modified or nonexistent control
                                              cannot mandate that states use cost as                   approach to ‘‘significant contribution’’              measure residing outside the SIP. For
                                              a method of allocating responsibility in                 that was based on calculating a                       example, to be credited for attainment
                                              their transport SIPs, first, the Agency                  proportional share of each state’s                    demonstration purposes, requirements
                                              has not done so. Further, as to whether                  contribution to a downwind receptor,                  that may otherwise be federally
                                              cost could be used as a permissible                      and this methodology would have                       enforceable (such as new source review
                                              method of allocating responsibility, the                 imposed on that State’s, Kentucky’s,                  permit limits or terms in federally
                                              comment ignores the Supreme Court’s                      sources an obligation to eliminate 0.02               enforceable consent orders), must be in
                                              holding to the contrary in EME Homer                     ppb of ozone at the relevant receptor.                the state’s implementation plan so that
                                              City, 572 U.S. at 518, and the D.C.                      See 87 FR 9507. While the EPA does not                they could not later be changed without
                                              Circuit’s earlier holding to the same                    endorse or here evaluate the merits of                being subject to the EPA’s approval.
                                              effect in Michigan, 213 F.3d at 687–88,                  such an approach, it is noteworthy that               This principle is instrumental to
                                              both of which upheld the EPA’s                           the State in that instance did not adopt              ensuring that states cannot take credit
                                              approach of using uniform cost-                          that approach, did not impose that                    for control measures that might be
                                              effectiveness thresholds to allocate                     obligation on its sources through                     changed (even by the EPA itself)
                                              upwind state responsibilities under the                  enforceable measures by revising its SIP,             without the EPA’s required approval
                                              good neighbor provision for prior                        and offered no explanation for its                    action under CAA section 110, which
                                              NAAQS. While this approach may be                        decision not to do so. See id. 9516                   includes the obligation to ensure there
                                              reasonable to apply again for the 2015                   (‘‘This approach would have imposed                   is no interference or backsliding with
                                              ozone NAAQS (and the EPA has                             additional emissions reductions for                   respect to all applicable CAA
                                              proposed to do so in the proposed FIP                    Kentucky sources. Kentucky’s final SIP                requirements. See CAA section 110(l).
                                              action published on April 6, 2022), the                  did not consider MOG’s proposal and                   See also Montana Sulfur and Chemical
                                              EPA did not impose such a requirement                    did not provide an explanation for why                Co. v. EPA, 666 F.3d 1174, 1195–96 (9th
                                              on states in developing SIP submissions,                 it was rejecting this approach to                     Cir. 2012) (‘‘The EPA correctly reads 42
                                              nor is the EPA finding any SIP                           allocating upwind emissions reductions,               U.S.C. 7410(a)(2) as requiring states to
                                              submission not approvable based on a                     even though it appended this                          include enforceable emissions limits
                                                                                                       recommendation to its SIP submittal.’’).              and other control measures in the plan
                                                 326 We note that California’s SIP submission is not
                                                                                                       9. Step 4: Attempt To Rely on FIPs in                 itself.’’) (emphasis in original); 40 CFR
                                              approvable at Step 3, despite the fact that the EPA      a SIP Submission                                      51.112(a) (‘‘Each plan must demonstrate
                                              has not identified NOX emissions control                                                                       that the measures, rules, and regulations
                                              opportunities at the state’s EGUs. Nonetheless, the         Comment: One comment states that                   contained in it are adequate to provide
                                              SIP submission is not approvable because the state       FIPs or other Federal emissions control
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                                              attempted to rely on the CSAPR Update cost                                                                     for the timely attainment and
                                              threshold to justify a no-control determination
                                                                                                       measures do not have to be incorporated
                                              when that threshold was in relation to a partial         into and enforceable under state law to                 327 Guidance on Infrastructure State

                                              remedy for a less protective NAAQS, and even if          be an approvable SIP measure. They                    Implementation Plan (SIP) Elements under Clean
                                              it could be reasonably concluded that no emissions       view it as acceptable for a state to rely             Air Act Sections 110(a)(1) and 110(a)(2), September
                                              reductions are appropriate at EGUs in California,                                                              13, 2013 (available at https://www.epa.gov/sites/
                                              the SIP submission did not conduct an adequate
                                                                                                       in its SIP Submission on the emissions                default/files/2015-12/documents/guidance_on_
                                              analysis of emissions control opportunities at its       reductions achieved by prior ozone                    infrastructure_sip_elements_multipollutant_final_
                                              non-EGU industrial sources. See 87 FR 31459–60.          transport FIPs, such as the CSAPR                     sept_2013.pdf).



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                                              maintenance of the national standard                     emissions control requirements (e.g.,                 EPA believes that the NOX reductions
                                              that it implements.’’) (emphasis added).                 Step 4). The EPA is not aware of any                  from its Federal programs are an
                                                 The EPA has applied this same                         good neighbor SIP submission that it                  important reason for the historical and
                                              interpretation in implementing other                     has approved where a state purported to               long-running trend of improving air
                                              infrastructure SIP requirements found in                 eliminate its significant contribution                quality in the United States. The trend
                                              CAA section 110(a)(2). For example, in                   (e.g., satisfy Steps 3 and 4) simply by               helps explain why the overall number of
                                              implementing CAA section 110(a)(2)(C),                   referring to Federal measures that were               receptors and severity of ozone
                                              (D)(i)(II), (D)(ii), and (J) relating to the             not included in its SIP and enforceable               nonattainment problems under the 1997
                                              permitting program for PSD, the EPA                      as a matter of state law. Finally, it bears           and 2008 ozone NAAQS have declined.
                                              has developed FIPs that incorporate by                   emphasizing that the EPA’s assessment                 As a result of this long history, NOX
                                              reference provisions codified at 40 CFR                  of the 2015 ozone transport SIPs has                  emissions from onroad and nonroad
                                              51.21, and some states have taken                        already accounted for the emissions-                  mobile sources have substantially
                                              delegation of that FIP to implement the                  reducing effects of both the CSAPR                    decreased and are predicted to continue
                                              relevant requirements. But the EPA does                  Update and the Revised CSAPR Update                   to decrease into the future as newer
                                              not and cannot approve the state as                      in its baseline air quality modeling at               vehicles and engines that are subject to
                                              having met these infrastructure SIP                      Steps 1 and 2, and so pointing to either              the more recent and more stringent
                                              elements, even by virtue of taking                       of those rules as measures that would                 standards replace older vehicles and
                                              delegation of the FIP. See, e.g., 83 FR                  eliminate significant contribution at                 engines.329
                                              8818, 8820 (March 1, 2018). Likewise,                    Step 3, for purposes of the 2015 ozone                   The EPA included mobile source
                                              under one of the pathways presented in                   NAAQS, would be impermissible                         emissions in the 2016v2 modeling used
                                              our 2013 Infrastructure SIP Guidance,                    double-counting.                                      to support the proposal of these SIP
                                              the EPA does not approve SIPs                                                                                  disapproval actions to help determine
                                              addressing interstate visibility transport               C. Good Neighbor Provision Policy                     state linkages at Steps 1 and 2 of the
                                              obligations under CAA section                            1. Mobile Source Emissions                            4-step interstate transport framework
                                              110(a)(2)(D)(i)(II) (‘‘prong 4’’) until the                                                                    and has done likewise in its 2016v3
                                              state itself has a fully approved regional                  Comment: Several comments assert                   modeling. However, whether mobile
                                              haze plan, and states cannot rely on the                 that mobile source emissions within the               source emissions are a large portion of
                                              CSAPR ‘‘better than BART’’ FIPs to meet                  home state of the location of receptors               an upwind or downwind state’s NOX
                                              their prong 4 requirements until they                    are the primary source of nonattainment               emissions, and whether they represent a
                                              have replaced that FIP with an approved                  problems in downwind areas. Some                      large portion of the contribution to
                                              SIP. See, e.g., 84 FR 13800, 13801 (April                comments additionally state that a                    downwind nonattainment and
                                              8, 2019); 84 FR 43741, 43744 (Aug. 22,                   larger portion of their own upwind state              maintenance receptors, does not answer
                                              2019).                                                   emissions is from mobile source                       the question regarding the adequacy of
                                                 The comment does not provide                          emissions. These comments request that                an upwind state’s SIP submission. The
                                              contrary examples where the EPA has                      the EPA focus on these emissions                      question is whether ‘‘any source or
                                              approved, as a SIP-based emissions                       sources rather than stationary sources to             other type of emissions activity’’ (in the
                                              control program, requirements that are                   reduce ongoing nonattainment                          collective) in an upwind state is
                                              established through Federal regulation                   problems. These comments claim                        contributing significantly to downwind
                                              or other types of emissions control                      mobile sources are federally regulated                receptors, see CAA section
                                              programs that are outside the SIP. It is                 and, therefore, the EPA bears the                     110(a)(2)(D)(i). A state’s transport SIP
                                              true that in the first two steps of the                  responsibility to either take action to               must include a technical and adequate
                                              4-step interstate transport framework,                   reduce mobile source emissions                        justification to support its conclusion
                                              the EPA conducts air quality modeling                    nationwide or encourage downwind                      that the state has satisfied its interstate
                                              based on emissions inventories                           states to implement strategies to reduce              transport obligations for the 2015 ozone
                                              reflective of on-the-books state and                     their own local mobile source                         NAAQS.
                                              Federal emissions control requirements,                  emissions.                                               To the extent that comments argue
                                              to make determinations about air quality                    Response: The EPA recognizes that                  that mobile source emissions should be
                                              conditions and contribution levels that                  nationwide, mobile sources represent a                the focus of emissions reductions for the
                                              can be anticipated in the baseline in a                  large portion of ozone-precursor                      purposes of resolving interstate
                                              future analytic year. If the comment’s                   emissions and, as such, would be                      transport obligations, states could have
                                              examples were intended to reference                      expected to have a large impact on                    provided such an analysis for how
                                              this consideration of Federal measures                   nonattainment and maintenance                         mobile source reductions might achieve
                                              in prior actions on SIP submittals, the                  receptors.                                            necessary reductions. See, e.g., 70 FR
                                              EPA agrees that it does consider such                       The EPA has been regulating mobile                 25209. However, states conducted no
                                              measures at these steps of its analysis,                 source emissions since it was                         such analysis of methods or control
                                              and the EPA has consistently taken this                  established as a Federal agency in 1970               techniques that could be used to reduce
                                              approach throughout its prior ozone                      and is committed to continuing the                    mobile source emissions, instead
                                              transport actions. But here we are                       effective implementation and                          claiming that states cannot control
                                              discussing Step 3 and 4 of the                           enforcement of current mobile source                  mobile source emissions, as this is a
                                              framework, where states that have been                   emissions standards and evaluating the                federally-regulated sector, or states
                                              found to contribute to downwind                          need for additional standards.328 The                 cannot reasonably control these
                                              nonattainment and maintenance
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                                                                                                                                                             emissions. States do have options,
                                              problems, e.g., are linked at Steps 1 and                  328 On December 20, 2022, the EPA finalized
                                                                                                                                                             however, to reduce emissions from
                                              2 to an out of state receptor, would need                more stringent emissions standards for NOX and
                                                                                                                                                             certain aspects of their mobile source
                                              to evaluate their continuing emissions                   other pollutants from heavy-duty vehicles and
                                              to determine what if any of those                        engines, beginning with model year 2027. See
                                                                                                       https://www.epa.gov/regulations-emissions-            and medium-duty vehicles as well as options to
                                              emissions should be deemed                               vehicles-and-engines/final-rule-and-related-          address pollution from locomotives.
                                              ‘‘significant’’ (e.g., Step 3) and                       materials-control-air-pollution. The EPA is also        329 https://gispub.epa.gov/air/trendsreport/2022/

                                              eliminated through enforceable                           developing new multi-pollutant standards for light-   #home.



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                                              sectors, and to the extent a state is                    to downwind states’ ability to attain and             international emissions also contribute
                                              attributing its contribution to out of                   maintain the NAAQS. Whether                           some amount of pollution to the same
                                              state receptors to its mobile sources, it                emissions from other states or other                  receptors to which the state is linked.
                                              could have conducted an analysis of                      countries also contribute to the same                   To the extent comments compare the
                                              possible programs or measures that                       downwind air quality issue is typically               influence of international emissions
                                              could achieve emissions reductions                       not relevant in assessing whether a                   with the EPA’s treatment of receptors in
                                              from those sources. (For example, a                      downwind state has an air quality                     California to which Oregon contributes
                                              general list of types of transportation                  problem, or whether an upwind state is                greater than 0.70 ppb, the EPA responds
                                              control measures can be found in CAA                     significantly contributing to that                    to these comments in the RTC
                                              section 108(f).330)                                      problem. (Only in rare cases has EPA                  document.
                                                 State-specific issues raised by                       concluded that certain monitoring sites               3. Western Interstate Transport Policy
                                              comments are further addressed in the                    should not be considered receptors at
                                              RTC document.                                            Step 1 due to the very low collective                    Comment: Several comments argue
                                                                                                       upwind-state contribution at those                    that the EPA should consider an
                                              2. International Contributions                                                                                 alternative approach to evaluating
                                                                                                       receptors. See the RTC document.)
                                                 Comment: Several comments state                       States are not obligated under CAA                    interstate transport in the western U.S.
                                              that international emissions contribute                  section 110(a)(2)(D)(i)(I) to act alone to            Comments assert there are
                                              to nonattainment and maintenance                         reduce emissions in amounts sufficient                considerations unique to the western
                                              receptors downwind, and these                            to resolve a downwind receptor’s                      states, such as increased background,
                                              emissions are not within the jurisdiction                nonattainment or maintenance problem.                 international, and wildfire contributions
                                              of the states. They advocate for the EPA                 Rather, states are obligated to eliminate             to ozone concentrations in the west.
                                              should considering this when acting on                                                                         Some commenters believe a ‘‘case-by-
                                                                                                       their own ‘‘significant contribution’’ to
                                              SIP submissions. Some comments claim                                                                           case’’ assessment is more appropriate
                                                                                                       that receptor or ‘‘interference’’ with the
                                              that, in the west, international                                                                               for evaluating western states’ interstate
                                                                                                       ability of other states to attain or
                                              contributions are even greater than in                                                                         transport obligations, as they claim the
                                                                                                       maintain the NAAQS. The statutory
                                              eastern portions of the U.S. and support                                                                       EPA had done for the 2008 ozone
                                                                                                       standard is, fundamentally, one of
                                              their notion that the EPA’s evaluation of                                                                      standards. They additionally argue that
                                                                                                       contribution, not causation.
                                              interstate transport should take special                                                                       the EPA modeling is not able to
                                              consideration of unique regional factors                    Indeed, the D.C. Circuit in Wisconsin              accurately project ozone concentrations
                                              when determining upwind state                            specifically rejected petitioner                      in the west because of these factors,
                                              obligations, or that the Agency should                   arguments suggesting that upwind states               along with the west’s unique
                                              otherwise explain why it is still                        should be excused from good neighbor                  topographical influence on ozone
                                              inappropriate to factor in higher                        obligations on the basis that some other              transport.
                                              international contributions, as the                      source of emissions (whether                             Response: The EPA disagrees that
                                              Agency has done in Oregon’s case.                        international or another upwind state)                either its nationwide photochemical
                                                 Response: The EPA responded to                        could be considered the ‘‘but-for’’ cause             grid modeling or the 4-step interstate
                                              similar arguments related to                             of downwind air quality problem. See                  transport framework for ozone cannot
                                              international emissions included in the                  Wisconsin, 938 F.3d at 323–324. The                   generally be applied to states in the
                                              SIP submissions of Arkansas, California,                 court viewed petitioners’ arguments as                western region of the U.S. and has
                                              Illinois, Indiana, Kentucky, Michigan,                   essentially an argument ‘‘that an                     maintained that position consistently
                                              Missouri, Ohio, Utah, Wyoming, and                       upwind state ‘contributes significantly’              throughout numerous actions.332
                                              West Virginia in the proposed                            to downwind nonattainment only when                   Though at times the EPA has found it
                                              disapprovals.331 No comments on the                      its emissions are the sole cause of                   appropriate to examine more closely
                                              proposed disapprovals provided new                       downwind nonattainment.’’ Id. at 324.                 discreet issues for some western
                                              information to indicate the EPA’s initial                The court explained that ‘‘an upwind                  states,333 the 4-step interstate transport
                                              assessment was incorrect. These                          state can ‘contribute’ to downwind                    framework itself is appropriate for
                                              comments’ reasoning related to                           nonattainment even if its emissions are               assessing good neighbor obligations of
                                              international emissions is inapplicable                  not the but-for cause.’’ Id. at 324–325.              western states in the absence of those
                                              to the requirements of CAA section                       See also Catawba County v. EPA, 571                   circumstances. The EPA evaluated the
                                              110(a)(2)(D)(i)(I). The good neighbor                    F.3d 20, 39 (DC Cir. 2009) (rejecting the             contents of the western states’ SIP
                                              provision requires states and the EPA to                 argument ‘‘that ‘significantly contribute’            submissions covered by this action on
                                              address interstate transport of air                      unambiguously means ‘strictly cause’’’                the merits of the information the states
                                              pollution that significantly contributes                 because there is ‘‘no reason why the                  provided. As described at proposal and
                                                                                                       statute precludes EPA from determining                reiterated in Section IV, the EPA is
                                                 330 In making this observation, the EPA is not        that [an] addition of [pollutant] into the            finalizing its disapproval of California,
                                              suggesting that mobile source emissions reductions       atmosphere is significant even though a
                                              are necessarily required to address a state’s good       nearby county’s nonattainment problem                   332 For a discussion of this history, see for

                                              neighbor obligations, but merely pointing out that       would still persist in its absence’’); Miss.          example 87 FR 31480–81 (proposed disapproval of
                                              if the state itself attributes the problem to mobile                                                           Utah SIP submission) and 87 FR 31453–56
                                              sources, then it is reasonable to expect that further    Comm’n on Envtl. Quality v. EPA, 790                  (proposed disapproval of California SIP
                                              analysis of such control strategies would be             F.3d 138, 163 n.12 (DC Cir. 2015)                     submission).
                                              explored.                                                (observing that the argument that ‘‘there               333 See, e.g., Approval of Arizona’s 2008 ozone
                                                 331 87 FR 9798, 9809–9810 (Feb. 22, 2022)                                                                   NAAQS interstate transport SIP submission, 81 FR
                                                                                                       likely would have been no violation at
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                                              (Arkansas); 87 FR 31443, 31460–31461 (May 24,                                                                  15200 (March 22, 2016) (Step 1 analysis concluding
                                              2022) (California); 87 FR 9854 (Illinois); 87 FR
                                                                                                       all . . . if it were not for the emissions            certain monitors in California should not be
                                              9859–9860 (Indiana); 87 FR 9498, 9508 (Feb. 22,          resulting from [another source]’’ is                  considered interstate transport receptors for
                                              2022) (Kentucky); 87 FR 9838, 9865 (Michigan); 87        ‘‘merely a rephrasing of the but-for                  purposes of the good neighbor provision for the
                                              FR 9533, 9543 (Feb. 22, 2022) (Missouri); 87 FR          causation rule that we rejected in                    2008 ozone NAAQS); see also 87 FR 61249, 61254–
                                              9838 at 9874 (Ohio); 87 FR 31470, 31482 (May 24,                                                               55 (Oct. 11, 2022) (in approving Colorado’s
                                              2022) (Utah); 87 FR 9516, 9527 (Feb. 22, 2022)
                                                                                                       Catawba County’’). Therefore, a state is              interstate transport SIP for the 2015 ozone NAAQS,
                                              (West Virginia); 87 FR 31495, 31507 (May 24, 2022)       not excused from eliminating its                      analyzing unique issues associated with wintertime
                                              (Wyoming).                                               significant contribution on the basis that            inversion conditions in certain western areas).



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                                              Nevada, and Utah’s SIP submissions.                      support their conclusions regarding long               C. Regulatory Flexibility Act (RFA)
                                              This final determination is based on                     range transport of ozone in the west.336                  I certify that this action will not have
                                              these evaluations, as well as the EPA’s                    While comments point to relatively                   a significant economic impact on a
                                              2016v2 and 2016v3 modeling following                     higher level of contributions from non-                substantial number of small entities
                                              stakeholder feedback.                                    anthropogenic, local, or international                 under the RFA. This action will not
                                                 The EPA continues to find it                          contributions in the west as reason for                impose any requirements on small
                                              appropriate to rely on the results of its                evaluating interstate transport                        entities. This action is disapproving SIP
                                              nationwide modeling in the western                       differently in the west, a state is not                submissions for not containing the
                                              U.S., despite comments concerning the                    excused from eliminating its significant               necessary provisions to satisfy interstate
                                              ability for the EPA’s modeling to                        contribution due to contributions from                 transport requirements under CAA
                                              accurately project ozone concentrations                  these sources, where the data shows that               section 110(a)(2)(D)(i)(I).
                                              and contributions in western states, as                  anthropogenic emissions from upwind                    D. Unfunded Mandates Reform Act of
                                              well as its ability to support the EPA’s                 states also contribute collectively to                 1995 (UMRA)
                                              4-step framework for assessing interstate                identified receptors at levels that
                                                                                                       indicate there to be an interstate                        This action does not contain any
                                              transport. The EPA’s nationwide                                                                                 unfunded mandate as described in
                                              photochemical grid modeling considers                    contribution problem as well. As stated
                                                                                                                                                              UMRA 2 U.S.C. 1531–1538 and does not
                                              multiple complex factors, including                      in Section V.C.2, a state is not excused
                                                                                                                                                              significantly or uniquely affect small
                                              those raised in comments, such as                        from eliminating its significant
                                                                                                                                                              governments. The action imposes no
                                              terrain complexities, variability in                     contribution on the basis that
                                                                                                                                                              enforceable duty on any state, local or
                                              emissions (e.g., wildfire emissions),                    international emissions also contribute
                                                                                                                                                              tribal governments or the private sector.
                                              meteorology, and topography. While the                   some amount of pollution to the same
                                                                                                       receptors to which the state is linked.                E. Executive Order 13132: Federalism
                                              EPA continues to believe its 2016v2
                                              modeling performs equally as well in                     This same principle applies broadly to                   This action does not have federalism
                                              both the west and the east, the EPA has                  other arguments as to which emissions                  implications. It will not have substantial
                                                                                                       are the ‘‘cause’’ of the problem; the good             direct effects on the states, on the
                                              adjusted its 2016v3 modeling to ensure
                                                                                                       neighbor provision established a                       relationship between the National
                                              its predictions more closely replicate
                                                                                                       contribution standard, not a but-for                   Government and the states, or on the
                                              the relative magnitude of concentrations
                                                                                                       causation standard. See Wisconsin, 938                 distribution of power and
                                              and day-to-day variability that are
                                                                                                       F.3d at 323–25.                                        responsibilities among the various
                                              characteristic of observed 8-hour daily
                                                                                                                                                              levels of government.
                                              maximum ozone concentrations in each                     VI. Statutory and Executive Order
                                              region, as explained in Section III.A and                Reviews                                                F. Executive Order 13175: Consultation
                                              the RTC document. As such, the EPA                                                                              and Coordination With Indian Tribal
                                              continues to find its modeling reliable                    Additional information about these                   Governments
                                              for characterizing ozone concentrations                  statutes and Executive orders can be
                                                                                                       found at https://www.epa.gov/laws-                        This action has tribal implications.
                                              and contribution values in the western                                                                          However, this action does not impose
                                              U.S. Further responses regarding the                     regulations/laws-and-executive-orders.
                                                                                                                                                              substantial direct compliance costs on
                                              reliability of the EPA’s modeling in the                 A. Executive Orders 12866: Regulatory                  federally recognized tribal governments,
                                              western U.S. is provided in the RTC                      Planning and Executive Order 13563:                    nor preempt tribal law. This action
                                              document.                                                Improving Regulation and Regulatory                    includes disapproving the portion of
                                                 The EPA disagrees with comments                       Review                                                 Oklahoma’s SIP submission addressing
                                              noting that the Agency took an                                                                                  the state’s good neighbor obligations
                                                                                                         This action is not a significant                     under CAA section 110(a)(2)(D)(i)(I) for
                                              alternative approach for western states                  regulatory action and was, therefore, not
                                              when assessing interstate transport                                                                             the 2015 ozone NAAQS and applies to
                                                                                                       submitted to the Office of Management                  certain areas of Indian country as
                                              obligations under the 2008 ozone                         and Budget for review.                                 discussed in Section IV.C of the
                                              NAAQS. As explained in our proposed
                                                                                                       B. Paperwork Reduction Act (PRA)                       proposed action, ‘‘Air Plan Disapproval;
                                              disapproval of California’s 2015 ozone
                                                                                                                                                              Arkansas, Louisiana, Oklahoma, and
                                              NAAQS interstate transport SIP
                                                                                                          This action does not impose an                      Texas; Interstate Transport of Air
                                              submission, while the EPA has in                                                                                Pollution for the 2015 Ozone National
                                              limited circumstances found unique                       information collection burden under the
                                                                                                       provisions of the Paperwork Reduction                  Ambient Air Quality Standards’’ (87 FR
                                              issues associated with addressing ozone                                                                         9798 at 9824, February 2, 2022).
                                              transport in western states, the EPA has                 Act. This final action does not establish
                                                                                                       any new information collection                         However, this action does not impose
                                              consistently applied the 4-step interstate                                                                      substantial direct compliance costs on
                                                                                                       requirement apart from what is already
                                              transport framework in western states,                                                                          federally recognized tribal governments
                                                                                                       required by law. This finding relates to
                                              as it has done here, and has identified                                                                         because no actions will be required of
                                                                                                       the requirement in the CAA for states to
                                              ozone transport problems in the west                                                                            tribal governments. This action will also
                                                                                                       submit SIPs under CAA section
                                              that are similar to those in the east.334 335                                                                   not preempt tribal law as no Oklahoma
                                                                                                       110(a)(2)(D)(i)(I) addressing interstate
                                              At proposal, the EPA addressed states’                   transport obligations associated with the              tribe implements a regulatory program
                                              arguments regarding the impact of                        2015 ozone NAAQS.                                      under the CAA, and thus does not have
                                              unique factors such as topography and,                                                                          applicable or related tribal laws. The
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                                              as part of the EPA’s evaluation of the                      336 See, e.g., 87 FR 31443, 31457. The EPA          EPA consulted with tribal officials
                                              contents of the SIP submission,                          evaluated California’s qualitative consideration of    under the EPA Policy on Consultation
                                              provided explanation as to why the EPA                   unique topographic factors that may influence the      and Coordination with Indian Tribes
                                              found the states’ arguments did not                      transport of emissions from sources within the state   early in the process of developing this
                                                                                                       to downwind receptors in Colorado and Arizona.
                                                                                                       The EPA concluded that the State’s arguments do
                                                                                                                                                              regulation to permit them to have
                                                334 87 FR 31443, 31453.
                                                                                                       not present sufficient evidence that called into       meaningful and timely input into its
                                                335 81 FR 74503, 74523.                                question the results of the EPA’s modeling.            development. A summary of that


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                                              consultation is provided in the file                        Under the CAA, the Administrator is                   This rulemaking is ‘‘nationally
                                              ‘‘2015 Ozone Transport OK Tribal                         required to approve a SIP submission                  applicable’’ within the meaning of CAA
                                              Consultation Meeting Record 3–3–                         that complies with the provisions of the              section 307(b)(1). In this final action, the
                                              2022,’’ in the docket for this action.                   Act and applicable Federal regulations.               EPA is applying a uniform legal
                                                                                                       42 U.S.C. 7410(k); 40 CFR 52.02(a).                   interpretation and common, nationwide
                                              G. Executive Order 13045: Protection of                                                                        analytical methods with respect to the
                                                                                                       Thus, in reviewing SIP submissions, the
                                              Children From Environmental Health                                                                             requirements of CAA section
                                                                                                       EPA’s role is to review state choices,
                                              and Safety Risks                                                                                               110(a)(2)(D)(i)(I) concerning interstate
                                                                                                       and approve those choices if they meet
                                                 The EPA interprets Executive Order                    the minimum criteria of the Act. As                   transport of pollution (i.e., ‘‘good
                                              13045 as applying only to those                          articulated in this final action, the EPA             neighbor’’ requirements) to disapprove
                                              regulatory actions that concern health or                is determining that certain SIPs do not               SIP submissions that fail to satisfy these
                                              safety risks that the EPA has reason to                  meet certain minimum requirements,                    requirements for the 2015 ozone
                                              believe may disproportionately affect                    and the EPA is disapproving those SIPs.               NAAQS. Based on these analyses, the
                                              children, per the definition of ‘‘covered                Specifically, this action disapproves                 EPA is disapproving SIP submittals for
                                              regulatory action’’ in section 2–202 of                  certain SIP submissions as not                        the 2015 ozone NAAQS for 21 states
                                              the Executive order. This action is not                  containing the necessary provisions to                located across a wide geographic area in
                                              subject to Executive Order 13045                         satisfy ‘‘good neighbor’’ requirements                eight of the ten EPA Regions and ten
                                              because it merely disapproves SIP                        under CAA section 110(a)(2)(D)(i)(I).                 Federal judicial circuits. Given that on
                                              submissions as not containing the                        The EPA did not perform an EJ analysis                its face this action addresses
                                              necessary provisions to satisfy interstate               and did not consider EJ in this action.               implementation of the good neighbor
                                              transport requirements under CAA                         The CAA and applicable implementing                   requirements of CAA section
                                              section 110(a)(2)(D)(i)(I).                              regulations neither prohibit nor require              110(a)(2)(D)(i)(I) in a large number of
                                                                                                       such an evaluation. In a wholly separate              states located across the country and
                                              H. Executive Order 13211: Actions That                   regulatory action, the EPA will fully                 given the interdependent nature of
                                              Significantly Affect Energy Supply,                      address the CAA ‘‘good neighbor’’                     interstate pollution transport and the
                                              Distribution or Use                                      requirements under section                            common core of knowledge and analysis
                                                This action is not subject to Executive                110(a)(2)(D)(i)(I) for the 2015 ozone                 involved in evaluating the submitted
                                              Order 13211, because it is not a                         NAAQS as it regards the SIP                           SIPs, this is a ‘‘nationally applicable’’
                                              significant regulatory action under                      disapprovals included in this final                   action within the meaning of CAA
                                              Executive Order 12866.                                   action. Consideration of EJ is not                    section 307(b)(1).
                                                                                                       required as part of this action, and there               In the alternative, to the extent a court
                                              I. National Technology Transfer and                      is no information in the record                       finds this action to be locally or
                                              Advancement Act (NTTAA)                                  inconsistent with the stated goal of E.O.             regionally applicable, the Administrator
                                                                                                       12898 of achieving EJ for people of                   is exercising the complete discretion
                                                This rulemaking does not involve                                                                             afforded to him under the CAA to make
                                              technical standards.                                     color, low-income populations, and
                                                                                                       Indigenous peoples.                                   and publish a finding that this action is
                                              J. Executive Order 12898: Federal                                                                              based on a determination of
                                              Actions To Address Environmental                         K. Congressional Review Act (CRA)                     ‘‘nationwide scope or effect’’ within the
                                              Justice in Minority Populations and                        This action is subject to the CRA, and              meaning of CAA section 307(b)(1). In
                                              Low-Income Populations                                   the EPA will submit a rule report to                  this final action, the EPA is interpreting
                                                                                                       each House of the Congress and to the                 and applying section 110(a)(2)(D)(i)(I) of
                                                 Executive Order 12898 (Federal                                                                              the CAA for the 2015 ozone NAAQS
                                              Actions To Address Environmental                         Comptroller General of the United
                                                                                                       States. This action is not a ‘‘major rule’’           based on a common core of nationwide
                                              Justice in Minority Populations and                                                                            policy judgments and technical analysis
                                              Low-Income Populations, 59 FR 7629,                      as defined by 5 U.S.C. 804(2).
                                                                                                                                                             concerning the interstate transport of
                                              Feb. 16, 1994) directs Federal agencies                  L. Judicial Review                                    pollutants throughout the continental
                                              to identify and address                                                                                        U.S. In particular, the EPA is applying
                                                                                                          Section 307(b)(1) of the CAA governs
                                              ‘‘disproportionately high and adverse                                                                          here the same, nationally consistent 4-
                                                                                                       judicial review of final actions by the
                                              human health or environmental effects’’                                                                        step interstate transport framework for
                                                                                                       EPA. This section provides, in part, that
                                              of their actions on minority populations                                                                       assessing obligations for the 2015 ozone
                                                                                                       petitions for review must be filed in the
                                              and low-income populations to the                                                                              NAAQS that it has applied in other
                                                                                                       D.C. Circuit: (i) when the agency action
                                              greatest extent practicable and                                                                                nationally applicable rulemakings, such
                                                                                                       consists of ‘‘nationally applicable
                                              permitted by law. The EPA defines                                                                              as CSAPR, the CSAPR Update, and the
                                                                                                       regulations promulgated, or final actions
                                              environmental justice (EJ) as ‘‘the fair                                                                       Revised CSAPR Update. The EPA is
                                                                                                       taken, by the Administrator,’’ or (ii)
                                              treatment and meaningful involvement                                                                           relying on the results from nationwide
                                                                                                       when such action is locally or regionally
                                              of all people regardless of race, color,                                                                       photochemical grid modeling using a
                                                                                                       applicable, but ‘‘such action is based on
                                              national origin, or income with respect                                                                        2016 base year and 2023 projection year
                                                                                                       a determination of nationwide scope or
                                              to the development, implementation,                                                                            as the primary basis for its assessment
                                                                                                       effect and if in taking such action the
                                              and enforcement of environmental laws,                                                                         of air quality conditions and pollution
                                                                                                       Administrator finds and publishes that
                                              regulations, and policies.’’ The EPA                                                                           contribution levels at Step 1 and Step 2
                                                                                                       such action is based on such a
                                              further defines the term fair treatment to                                                                     of that 4-step framework and applying a
                                                                                                       determination.’’ For locally or regionally
                                              mean that ‘‘no group of people should                                                                          nationally uniform approach to the
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                                                                                                       applicable final actions, the CAA
                                              bear a disproportionate burden of                                                                              identification of nonattainment and
                                                                                                       reserves to the EPA complete discretion
                                              environmental harms and risks,
                                                                                                       whether to invoke the exception in
                                              including those resulting from the                                                                             effect, the Administrator takes into account a
                                                                                                       (ii).337                                              number of policy considerations, including his
                                              negative environmental consequences of
                                                                                                                                                             judgment balancing the benefit of obtaining the D.C.
                                              industrial, governmental, and                               337 In deciding whether to invoke the exception    Circuit’s authoritative centralized review versus
                                              commercial operations or programs and                    by making and publishing a finding that an action     allowing development of the issue in other contexts
                                              policies.’’                                              is based on a determination of nationwide scope or    and the best use of agency resources.



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                                              maintenance receptors across the entire                  States Court of Appeals for the District                Subpart F—California
                                              geographic area covered by this final                    of Columbia Circuit by April 14, 2023.
                                              action.338 The EPA has also evaluated                                                                            ■ 4. Section 52.223 is amended by
                                                                                                       List of Subjects in 40 CFR Part 52                      adding paragraph (p)(7) to read as
                                              each state’s arguments for the use of
                                              alternative approaches or alternative                      Environmental protection, Air                         follows:
                                              sets of data with an eye to ensuring                     pollution control, Incorporation by
                                                                                                       reference, Ozone.                                       § 52.223    Approval status.
                                              national consistency and avoiding
                                              inconsistent or inequitable results                                                                              *     *    *     *      *
                                                                                                       Michael S. Regan,                                         (p) * * *
                                              among upwind states (i.e., those states
                                                                                                       Administrator.                                            (7) The interstate transport
                                              for which good neighbor obligations are
                                              being evaluated in this action) and                        For the reasons set forth in the                      requirements for Significant
                                              between upwind and downwind states                       preamble, 40 CFR part 52 is amended as                  Contribution to Nonattainment (Prong 1)
                                              (i.e., those states that contain receptors               follows:                                                and Interstate Transport—Interference
                                              signifying ozone nonattainment or                                                                                with Maintenance (Prong 2) of Clean Air
                                                                                                       PART 52—APPROVAL AND                                    Act (CAA) section 110(a)(2)(D)(i)(I).
                                              maintenance problems).
                                                                                                       PROMULGATION OF                                         ■ 5. Section 52.283 is amended by
                                                 The Administrator finds that this is a                IMPLEMENTATION PLANS
                                              matter on which national uniformity in                                                                           adding paragraph (h) to read as follows:
                                              judicial resolution of any petitions for                 ■ 1. The authority citation for part 52                 § 52.283   Interstate Transport.
                                              review is desirable, to take advantage of                continues to read as follows:
                                              the D.C. Circuit’s administrative law                                                                            *     *    *       *    *
                                                                                                           Authority: 42 U.S.C. 7401 et seq.                     (h) 2015 ozone NAAQS. The 2018
                                              expertise, and to facilitate the orderly
                                              development of the basic law under the                                                                           Infrastructure SIP Revision, submitted
                                                                                                       Subpart B—Alabama                                       on October 1, 2018, does not meet the
                                              Act. The Administrator also finds that
                                              consolidated review of this action in the                ■ 2. Section 52.56 is added to read as
                                                                                                                                                               following specific requirements of Clean
                                              D.C. Circuit will avoid piecemeal                        follows:                                                Air Act section 110(a)(2)(D)(i)(I) for the
                                              litigation in the regional circuits, further                                                                     2015 ozone national ambient air quality
                                              judicial economy, and eliminate the risk                 § 52.56     Control strategy: Ozone.                    standards (NAAQS).
                                              of inconsistent results for different                      (a) The state implementation plan                       (1) The requirements of CAA section
                                              states, and that a nationally consistent                 (SIP) revision submitted on June 21,                    110(a)(2)(D)(i)(I) regarding significant
                                              approach to the CAA’s mandate                            2022, addressing Clean Air Act section                  contribution to nonattainment of the
                                              concerning interstate transport of ozone                 110(a)(2)(D)(i)(I) (prongs 1 and 2) for the             2015 ozone NAAQS in any other State
                                              pollution constitutes the best use of                    2015 ozone national ambient air quality                 and interference with maintenance of
                                              agency resources. The EPA’s responses                    standards (NAAQS) is disapproved.                       the 2015 ozone NAAQS by any other
                                              to comments on the appropriate venue                       (b) [Reserved]                                        State.
                                              for petitions for review are contained in                                                                          (2) [Reserved]
                                              the RTC document.                                        Subpart E—Arkansas
                                                                                                                                                               Subpart O—Illinois
                                                 For these reasons, this final action is               ■ 3. Section 52.174 is amended by
                                              nationally applicable or, alternatively,                 adding paragraph (b) to read as follows:                ■ 6. Section 52.720 is amended in the
                                              the Administrator is exercising the                                                                              table in paragraph (e), under the
                                              complete discretion afforded to him by                   § 52.174        Control strategy and regulations:       heading ‘‘Section 110(a)(2)
                                              the CAA and finds that this final action                 Ozone.
                                                                                                                                                               Infrastructure Requirements,’’ by
                                              is based on a determination of                           *      *    *    *      *                               revising the entry for ‘‘2015 Ozone
                                              nationwide scope or effect for purposes                     (b) The portion of the SIP submittal                 NAAQS Infrastructure Requirements’’ to
                                              of CAA section 307(b)(1) and is                          from October 10, 2019, addressing Clean                 read as follows:
                                              publishing that finding in the Federal                   Air Act section 110(a)(2)(D)(i)(I) for the
                                              Register. Under section 307(b)(1) of the                 2015 ozone national ambient air quality                 § 52.720   Identification of plan.
                                              CAA, petitions for judicial review of                    standards (NAAQS) is disapproved.                       *       *    *         *    *
                                              this action must be filed in the United                                                                              (e) * * *

                                                                         EPA-APPROVED ILLINOIS NONREGULATORY AND QUASI-REGULATORY PROVISIONS
                                                                                      Applicable
                                                                                      geographic             State
                                                   Name of SIP provision                or non-            submittal             EPA approval date                                   Comments
                                                                                      attainment             date
                                                                                         area


                                                        *                       *                          *                      *                       *                      *                     *

                                                                                                      Section 110(a)(2) Infrastructure Requirements
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                                                338 In the report on the 1977 Amendments that          the ‘‘nationwide scope or effect’’ exception applies    H.R. Rep. No. 95–294 at 323, 324, reprinted in 1977
                                              revised section 307(b)(1) of the CAA, Congress           would be appropriate for any action that has a          U.S.C.C.A.N. 1402–03.
                                              noted that the Administrator’s determination that        scope or effect beyond a single judicial circuit. See



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                                                                  EPA-APPROVED ILLINOIS NONREGULATORY AND QUASI-REGULATORY PROVISIONS—Continued
                                                                                        Applicable
                                                                                        geographic             State
                                                   Name of SIP provision                  or non-            submittal             EPA approval date                                    Comments
                                                                                        attainment             date
                                                                                           area

                                                       *                 *                                 *                        *                *                            *                    *
                                              2015 Ozone NAAQS Infrastruc-             Statewide ...     5/16/2019           2/13/2023, [INSERT FEDERAL          All CAA infrastructure elements under
                                                ture Requirements.                                         and 9/22/           REGISTER CITATION].                 110(a)(2) have been approved except
                                                                                                           2020.                                                   (D)(i)(I) Prongs 1, 2, which are disapproved,
                                                                                                                                                                   and no action has been taken on (D)(i)(II)
                                                                                                                                                                   Prong 4.



                                              Subpart P—Indiana                                          Requirements for the 2015 Ozone                         § 52.770    Identification of plan.
                                                                                                         NAAQS’’ after the entry for ‘‘Section                   *       *    *          *   *
                                              ■ 7. Section 52.770 is amended in the                      110(a)(2) Infrastructure Requirements
                                                                                                                                                                     (e) * * *
                                              table in paragraph (e) by adding an entry                  for the 2008 8-Hour Ozone NAAQS’’ to
                                              for ‘‘Section 110(a)(2) Infrastructure                     read as follows:

                                                                  EPA-APPROVED INDIANA NONREGULATORY PROVISIONS AND QUASI-REGULATORY PROVISIONS
                                                                 Title                      Indiana date                     EPA approval                                          Explanation


                                                       *                     *                               *                   *                          *                        *             *
                                              Section 110(a)(2) Infrastructure Re-            11/2/2018          2/13/2023, [INSERT FEDERAL               All CAA infrastructure elements have been approved
                                                quirements for the 2015 Ozone                                      REGISTER CITATION].                       except (D)(i)(I) Prongs 1 and 2, which are dis-
                                                NAAQS.                                                                                                       approved, and no action has been taken on the
                                                                                                                                                             visibility portion of (D)(i)(II).

                                                         *                        *                          *                      *                       *                       *                   *



                                              Subpart S—Kentucky                                         § 52.996        Disapprovals.                           intended to address the Clean Air Act
                                                                                                         *     *    *     *     *                                (CAA) section 110(a)(2)(D)(i)(I)
                                              ■ 8. Section 52.930 is amended by                                                                                  interstate transport requirements for the
                                                                                                           (b) The SIP submittal from November
                                              adding paragraph (n) to read as follows:                                                                           2015 8-hour ozone national ambient air
                                                                                                         13, 2019, addressing Clean Air Act
                                              § 52.930       Control strategy: Ozone.                    section 110(a)(2)(D)(i)(I) for the 2015                 quality standard (NAAQS).
                                              *     *    *       *    *                                  ozone NAAQS is disapproved.
                                                                                                                                                                 Subpart X—Michigan
                                                (n) Disapproval. The state
                                              implementation plan (SIP) revision                         Subpart V—Maryland
                                                                                                                                                                 ■ 11. Section 52.1170 is amended in the
                                              submitted on January 11, 2019,                                                                                     table in paragraph (e), under the
                                                                                                         ■ 10. Section 52.1076 is amended by
                                              addressing Clean Air Act section                                                                                   heading ‘‘Infrastructure,’’ by revising the
                                              110(a)(2)(D)(i)(I) (prongs 1 and 2) for the                adding paragraph (gg) to read as follows:
                                                                                                                                                                 entry for ‘‘Section 110(a)(2)
                                              2015 ozone national ambient air quality                    § 52.1076 Control strategy plans for                    infrastructure requirements for the 2015
                                              standards (NAAQS) is disapproved.                          attainment and rate-of-progress: Ozone.                 ozone NAAQS’’ to read as follows:
                                                                                                         *     *    *    *     *
                                              Subpart T—Louisiana                                                                                                § 52.1170    Identification of plan.
                                                                                                           (gg) Disapproval. EPA is disapproving
                                              ■ 9. Section 52.996 is amended by                          Maryland’s October 16, 2019, State                      *       *    *          *   *
                                              adding paragraph (b) to read as follows:                   Implementation Plan (SIP) revision                          (e) * * *

                                                                         EPA-APPROVED MICHIGAN NONREGULATORY AND QUASI-REGULATORY PROVISIONS
                                                                                        Applicable
                                                                                        geographic             State
                                                   Name of nonregulatory                  or non-            submittal             EPA approval date                                    Comments
                                                      SIP provision                     attainment             date
                                                                                           area
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                                                         *                        *                          *                      *                       *                       *                   *

                                                                                                                              Infrastructure




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                                                               EPA-APPROVED MICHIGAN NONREGULATORY AND QUASI-REGULATORY PROVISIONS—Continued
                                                                                      Applicable
                                                                                      geographic             State
                                                   Name of nonregulatory                or non-            submittal             EPA approval date                                   Comments
                                                      SIP provision                   attainment             date
                                                                                         area

                                                       *                     *                             *                      *                *                              *                       *
                                              Section 110(a)(2) infrastructure       Statewide ...             3/8/2019    2/13/2023, [INSERT FEDERAL          Approved CAA elements: 110(a)(2)(A), (B),
                                                requirements for the 2015                                                    REGISTER CITATION].                 (C), (D)(i)(II) Prong 3, D(ii), (E)(i), (F), (G),
                                                ozone NAAQS.                                                                                                     (H), (J), (K), (L), and (M).
                                                                                                                                                               Disapproved CAA elements: 110(a)(2)(D)(i)(I)
                                                                                                                                                                 Prongs 1 and 2, and 110(a)(2)(D)(i)(II) Prong
                                                                                                                                                                 4. No action on CAA element
                                                                                                                                                                 110(1)(2)(E)(ii).

                                                        *                       *                          *                      *                       *                      *                    *



                                              Subpart Y—Minnesota                                      entry for ‘‘Section 110(a)(2)                           § 52.1220    Identification of plan.
                                                                                                       Infrastructure Requirements for the 2015                *       *    *         *    *
                                              ■ 12. Section 52.1220 is amended in the                  Ozone NAAQS’’ to read as follows:
                                              table in paragraph (e) by revising the                                                                               (e) * * *

                                                                                        EPA-APPROVED MINNESOTA NONREGULATORY PROVISIONS
                                                                                      Applicable             State
                                                                                      geographic           submittal
                                                   Name of nonregulatory                or non-              date/              EPA approved date                                    Comments
                                                      SIP provision                   attainment           effective
                                                                                         area                date


                                                       *                     *                             *                      *                *                           *                      *
                                              Section 110(a)(2) Infrastructure       Statewide ...          10/1/2018      2/13/2023, [INSERT FEDERAL          Fully approved for all CAA elements except
                                                Requirements for the 2015                                                    REGISTER CITATION].                 transport elements of (D)(i)(I) Prong 2, which
                                                Ozone NAAQS.                                                                                                     are disapproved, and no action has been
                                                                                                                                                                 taken on the visibility protection require-
                                                                                                                                                                 ments of (D)(i)(II).



                                              Subpart Z—Mississippi                                    disapproved for section 110(a)(2)(D)(i)(I)              the CAA infrastructure requirements of
                                                                                                       (prongs 1 and 2).                                       section 110(a)(2) for the 2015 8-hour
                                              ■ 13. Section 52.1273 is amended by                        (2) [Reserved]                                        ozone NAAQS, is disapproved for
                                              adding paragraph (b) read as follows:                                                                            section 110(a)(2)(D)(i)(I) (prongs 1 and
                                                                                                       Subpart DD—Nevada                                       2).
                                              § 52.1273     Control strategy: Ozone.
                                                                                                       ■ 15. Section 52.1472 is amended by
                                                                                                                                                                 (2) [Reserved]
                                              *     *    *       *    *
                                                                                                       adding paragraph (k) to read as follows:                  (d) [Reserved]
                                                (b) Disapproval. The state
                                              implementation plan (SIP) revision                       § 52.1472       Approval status.                        Subpart HH—New York
                                              submitted on September 3, 2019,
                                                                                                       *     *     *    *     *
                                              addressing Clean Air Act section                           (k) 2015 8-hour ozone NAAQS. The                      ■ 17. Section 52.1683 is amended by
                                              110(a)(2)(D)(i)(I) (prongs 1 and 2) for the              SIP submittal from October 1, 2018, is                  adding paragraph (v) to read as follows:
                                              2015 ozone national ambient air quality                  disapproved for Clean Air Act (CAA)
                                              standards (NAAQS) is disapproved.                                                                                § 52.1683    Control strategy: Ozone.
                                                                                                       section 110(a)(2)(D)(i)(I) (prongs 1 and                *     *     *    *     *
                                              Subpart AA—Missouri                                      2) for the NDEP, Clark County, and
                                                                                                       Washoe County portions of the Nevada                      (v) Disapproval. The portion of the
                                                                                                       SIP submission.                                         SIP revision submitted on September
                                              ■ 14. Section 52.1323 is amended by                                                                              25, 2018, addressing Clean Air Act
                                              adding paragraph (p) to read as follows:                                                                         section 110(a)(2)(D)(i)(I) (prongs 1 and
                                                                                                       Subpart FF—New Jersey
                                              § 52.1323     Approval status.                                                                                   2) for the 2015 ozone NAAQS is
                                                                                                       ■ 16. Section 52.1586 is amended by                     disapproved.
                                              *     *     *    *    *
                                                                                                       adding paragraph (c) and reserved
                                                (p) For the 2015 8-hour ozone                                                                                  Subpart KK—Ohio
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                                                                                                       paragraph (d) to read as follows:
                                              NAAQS:
                                                (1) Disapproval. Missouri state                        § 52.1586 Section 110(a)(2) infrastructure              ■ 18. Section 52.1870 is amended in the
                                              implementation plan (SIP) revision                       requirements.                                           table in paragraph (e), under
                                              submitted on June 10, 2019, to address                   *     *    *    *    *                                  ‘‘Infrastructure Requirements,’’ by
                                              the Clean Air Act (CAA) infrastructure                     (c) 2015 8-hour ozone NAAQS—(1)                       revising the entry for ‘‘Section 110(a)(2)
                                              requirements of section 110(a)(2) for the                Disapproval. New Jersey SIP revision                    infrastructure requirements for the 2015
                                              2015 8-hour ozone NAAQS, is                              submitted on May 13, 2019, to address                   ozone NAAQS’’ to read as follows:


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                                              § 52.1870      Identification of plan.                         (e) * * *
                                              *      *       *         *    *

                                                                            EPA-APPROVED OHIO NONREGULATORY AND QUASI-REGULATORY PROVISIONS
                                                                                        Applicable
                                                                                        geographic
                                                               Title                      or non-         State date                    EPA approval                                   Comments
                                                                                        attainment
                                                                                           area


                                                         *                        *                          *                      *                       *                      *                    *

                                                                                                                     Infrastructure Requirements


                                                       *                     *                               *                      *                *                              *                    *
                                              Section 110(a)(2) infrastructure         Statewide ...          9/28/2018      2/13/2023, [INSERT FEDERAL          Approved CAA elements: 110(a)(2)(A), (B),
                                                requirements for the 2015                                                      REGISTER CITATION].                 (C), (D)(i)(II) prongs 3 and 4, (E), (F), (G),
                                                ozone NAAQS.                                                                                                       (H), (J), (K), (L), and (M). Elements (D)(i)(I)
                                                                                                                                                                   prongs 1 and 2 are disapproved.

                                                         *                        *                          *                      *                       *                      *                    *



                                              Subpart LL—Oklahoma                                        Subpart SS—Texas                                        110(a)(2)(D)(i)(I) for the 2015 ozone
                                                                                                                                                                 NAAQS is disapproved.
                                              ■ 19. Section 52.1922 is amended by                        ■ 20. Section 52.2275 is amended by:
                                                                                                         ■ a. Removing the first paragraph (m);
                                                                                                                                                                 Subpart XX—West Virginia
                                              adding paragraph (c) to read as follows:
                                                                                                         and                                                     ■ 21. Section 52.2520 is amended in the
                                              § 52.1922      Approval status.
                                                                                                         ■ b. Adding paragraph (o).                              table in paragraph (e) by adding the
                                              *      *    *     *     *                                      The addition reads as follows:                      entry ‘‘Section 110(a)(2) Infrastructure
                                                 (c) The portion of the SIP submittal                                                                            Requirements for the 2015 8-Hour
                                                                                                         § 52.2275 Control strategy and
                                              from October 25, 2018, addressing Clean                                                                            Ozone NAAQS’’ at the end of the table
                                                                                                         regulations: Ozone.
                                              Air Act section 110(a)(2)(D)(i)(I) for the                                                                         to read as follows:
                                              2015 ozone national ambient air quality                    *     *    *     *   *
                                                                                                           (o) Disapproval. The portion of the                   § 52.2520    Identification of plan.
                                              standards (NAAQS) is disapproved.
                                                                                                         SIP submittal from September 12, 2018,                  *       *    *         *   *
                                                                                                         addressing Clean Air Act section                            (e) * * *

                                                                                        Applicable             State
                                                   Name of non-regulatory               geographic           submittal             EPA approval date                          Additional explanation
                                                       SIP revision                        area                date


                                                       *                     *                               *                      *                *                           *                    *
                                              Section 110(a)(2) Infrastructure         Statewide ...             2/4/2019    2/13/2023, [INSERT FEDERAL          Disapproval—EPA is disapproving West Vir-
                                                Requirements for the 2015 8-                                                   REGISTER CITATION].                 ginia’s February 4, 2019, State Implementa-
                                                Hour Ozone NAAQS.                                                                                                  tion Plan (SIP) revision intended to address
                                                                                                                                                                   the CAA section 110(a)(2)(D)(i)(I) interstate
                                                                                                                                                                   transport requirements for the 2015 8-hour
                                                                                                                                                                   ozone national ambient air quality standard
                                                                                                                                                                   (NAAQS).



                                              Subpart YY—Wisconsin                                         (l) Partial approval/disapproval. In a                EPA did not take action on any other
                                                                                                         September 14, 2018, submission, WDNR                    elements. We will address the
                                              ■ 22. Section 52.2591 is amended by                        certified that the State has satisfied the              remaining requirements in a separate
                                              adding paragraph (l) to read as follows:                   infrastructure SIP requirements of                      action.
                                                                                                         section 110(a)(2)(A) through (H), and (J)               [FR Doc. 2023–02407 Filed 2–10–23; 8:45 am]
                                              § 52.2591 Section 110(a)(2) infrastructure
                                              requirements.
                                                                                                         through (M) for the 2015 ozone NAAQS.
                                                                                                                                                                 BILLING CODE 6560–50–P
                                                                                                         For section 110(a)(2)(D)(i)(I), prong 1 is
                                              *      *       *         *    *                            approved and prong 2 is disapproved.
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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
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                                     Exhibit C

     Federal Implementation Plan Addressing Regional Ozone Transport for the
      2015 Ozone National Ambient Air Quality Standard, 87 Fed. Reg. 20,036
                                 (Apr. 6, 2022)
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                                                ENVIRONMENTAL PROTECTION                                ADDRESSES: You may send comments,                      4-Step Framework 4-Step Interstate
                                                AGENCY                                                  identified by Docket ID No. EPA–HQ–                      Transport Framework
                                                                                                        OAR–2021–0668; via the Federal                         ACS American Community Survey
                                                40 CFR Parts 52, 75, 78 and 97                                                                                 AEO Annual Energy Outlook
                                                                                                        eRulemaking Portal: https://                           AQAT Air Quality Assessment Tool
                                                [EPA–HQ–OAR–2021–0668; FRL 8670–01–                     www.regulations.gov/ (our preferred                    AQMTSD Air Quality Modeling Technical
                                                OAR]                                                    method). Follow the online instructions                  Support Document
                                                                                                        for submitting comments.                               BACT Best Available Control Technology
                                                RIN 2060–AV51                                              Instructions: All submissions received              BPT Benefit Per Ton
                                                                                                        must include the Docket ID No. for this                CAA or Act Clean Air Act
                                                Federal Implementation Plan                                                                                    CAIR Clean Air Interstate Rule
                                                                                                        rulemaking. Comments received may be
                                                Addressing Regional Ozone Transport                                                                            CBI Confidential Business Information
                                                                                                        posted without change to https://
                                                for the 2015 Ozone National Ambient                                                                            CCR Coal Combustion Residual
                                                                                                        www.regulations.gov/, including any                    CDC Centers for Disease Control and
                                                Air Quality Standard
                                                                                                        personal information provided. For                       Prevention
                                                AGENCY: Environmental Protection                        detailed instructions on sending                       CEMS Continuous Emissions Monitoring
                                                Agency (EPA).                                           comments and additional information                      Systems
                                                                                                        on the rulemaking process, see the                     CES Clean Energy Standards
                                                ACTION: Proposed rule.
                                                                                                        ‘‘Public Participation’’ heading of the                CHP Combined Heat and Power
                                                SUMMARY: This action proposes Federal                   SUPPLEMENTARY INFORMATION section of                   CMDB Control Measures Database
                                                                                                                                                               CMV Commercial Marine Vehicle
                                                Implementation Plan (FIP) requirements                  this document. Out of an abundance of                  CoST Control Strategy Tool
                                                to address twenty-six states’ obligations               caution for members of the public and                  CPT Cost Per Ton
                                                to eliminate significant contribution to                our staff, the EPA Docket Center and                   CSAPR Cross-State Air Pollution Rule
                                                nonattainment, or interference with                     Reading Room are open to the public by                 EGU Electric Generating Unit
                                                maintenance, of the 2015 ozone                          appointment only to reduce the risk of                 EIA U.S. Energy Information Agency
                                                National Ambient Air Quality Standard                   transmitting COVID–19. Our Docket                      EISA Energy Independence and Security
                                                (NAAQS) in other states. The U.S.                       Center staff also continues to provide                   Act
                                                                                                        remote customer service via email,                     ELG Effluent Limitation Guidelines
                                                Environmental Protection Agency (EPA)                                                                          E.O. Executive Order
                                                is proposing this action under the ‘‘good               phone, and webform. Hand deliveries                    EPA or the Agency United States
                                                neighbor’’ or ‘‘interstate transport’’                  and couriers may be received by                          Environmental Protection Agency
                                                provision of the Clean Air Act (CAA or                  scheduled appointment only. For                        FFS Finding of Failure To Submit
                                                Act). The Agency proposes establishing                  further information on EPA Docket                      FIP Federal Implementation Plan
                                                nitrogen oxides emissions budgets                       Center services and the current status,                GIS Geographic Information System
                                                requiring fossil fuel-fired power plants                please visit us online at https://                     HDGHG Greenhouse Gas Emissions and
                                                in 25 states to participate in an                       www.epa.gov/dockets.                                     Fuel Efficiency Standards for Medium- and
                                                                                                           The virtual public hearing will be                    Heavy-Duty Engines and Vehicles
                                                allowance-based ozone season trading                                                                           HEDD High Electricity Demand Days
                                                program beginning in 2023. The Agency                   held on April 21, 2022. The virtual                    ICI Industrial, Commercial, and
                                                is also proposing to establish nitrogen                 public hearing will convene at 10 a.m.                   Institutional
                                                oxides emissions limitations applicable                 Eastern Time (ET) and will conclude at                 I/M Inspection and Maintenance
                                                to certain other industrial stationary                  7 p.m. ET. The EPA may close a session                 IPM Integrated Planning Model
                                                sources in 23 states with an earliest                   15 minutes after the last pre-registered               LNB Low-NOX Burners
                                                possible compliance date of 2026. These                 speaker has testified if there are no                  MJO Multi-Jurisdictional Organization
                                                industrial source types are:                            additional speakers. For information or                MOVES Motor Vehicle Emission Simulator
                                                                                                        questions about the public hearing,                    MSAT2 Mobile Source Air Toxics Rule
                                                Reciprocating internal combustion                                                                              MWC Municipal Waste Combustor
                                                engines in Pipeline Transportation of                   please contact Ms. Holly DeJong at                     NAAQS National Ambient Air Quality
                                                Natural Gas; kilns in Cement and                        Dejong.holly@epa.gov. The EPA will                       Standards
                                                Cement Product Manufacturing; boilers                   announce further details at https://                   NAICS North American Industry
                                                and furnaces in Iron and Steel Mills and                www.epa.gov/csapr/csapr-2015-ozone-                      Classification System
                                                Ferroalloy Manufacturing; furnaces in                   naaqs. Refer to the SUPPLEMENTARY                      NEEDS National Electric Energy Data
                                                Glass and Glass Product Manufacturing;                  INFORMATION section for additional                       System
                                                and high-emitting equipment and large                   information.                                           NEI National Emissions Inventory
                                                                                                                                                               NESHAP National Emissions Standards for
                                                boilers in Basic Chemical                               FOR FURTHER INFORMATION CONTACT: Ms.                     Hazardous Air Pollutants
                                                Manufacturing, Petroleum and Coal                       Elizabeth Selbst, Air Quality Policy                   No SISNOSE No Significant Economic
                                                Products Manufacturing, and Pulp,                       Division, Office of Air Quality Planning                 Impact on a Substantial Number of Small
                                                Paper, and Paperboard Mills.                            and Standards (C539–01),                                 Entities
                                                DATES: Comments must be received on                     Environmental Protection Agency, 109                   Non-EGU Non-Electric Generating Unit
                                                or before June 6, 2022.                                 TW Alexander Drive, Research Triangle                  NOX Nitrogen Oxides
                                                                                                                                                               NSPS New Source Performance Standard
                                                   Public Hearing: The EPA will hold a                  Park, NC 27711; telephone number:                      NREL National Renewable Energy Lab
                                                virtual public hearing on April 21, 2022.               (919)-541–3918; email address:                         NTTAA National Technology Transfer and
                                                Please refer to the SUPPLEMENTARY                       Selbst.elizabeth@epa.gov.                                Advancement Act
                                                INFORMATION section for additional                      SUPPLEMENTARY INFORMATION:                             OFA Over-Fire Air
                                                information on the public hearing.                                                                             OMB United States Office of Management
                                                   Information Collection Request (ICR):                Preamble Glossary of Terms and                           and Budget
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                                                Under the Paperwork Reduction Act                       Abbreviations                                          OSAT/APCA Ozone Source Apportionment
                                                (PRA), comments on the information                        The following are abbreviations of                     Technology/Anthropogenic Precursor
                                                                                                                                                                 Culpability Analysis
                                                collection provisions are best assured of               terms used in the preamble.                            OTC Ozone Transport Commission
                                                consideration if the Office of                          2016v1 2016 Version 1 Emissions Modeling               OTR Ozone Transport Region
                                                Management and Budget (OMB)                               Platform                                             OTSA Oklahoma Tribal Statistical Area
                                                receives a copy of your comments on or                  2016v2 2016 Version 2 Emissions Modeling               PEMS Predictive Emissions Monitoring
                                                before May 6, 2022.                                       Platform                                               Systems



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                                                PM2.5 Fine Particulate Matter                             1. Correction of EPA’s Determination                   2. Non-EGU Emissions Reduction
                                                ppb parts per billion                                        Regarding Delaware’s SIP Submission                    Potential—Cost Threshold Up to $7,500/
                                                ppm parts per million                                        and Its Impact on EPA’s FIP Authority                  Ton
                                                ppmvd parts per million by volume, dry                       for Delaware                                        D. Assessing Cost, EGU and Non-EGU NOX
                                                PRA Paperwork Reduction Act                               2. Application of Rule in Indian Country                  Reductions, and Air Quality
                                                RACT Reasonably Available Control                            and Necessary or Appropriate Finding                1. EGU Assessment
                                                  Technology                                              a. Indian Country Subject to State                     2. Non-EGU Assessment
                                                RFA Regulatory Flexibility Act                               Implementation Planning Authority                   a. Request for Comment on Non-EGU
                                                RICE Reciprocating Internal Combustion                  V. Analyzing Downwind Air Quality                           Control Strategies and Measures
                                                  Engines                                                    Problems and Contributions From                     3. Combined EGU and Non-EGU
                                                ROP Rate of Progress                                         Upwind States                                          Assessment
                                                RPS Renewable Portfolio Standards                         A. Selection of Analytic Years for                     4. Over-Control Analysis
                                                RRF Relative Response Factor                                 Evaluating Ozone Transport                        VII. Implementation of Emissions Reductions
                                                SAFE Safer Affordable Fuel-Efficient                         Contributions to Downwind Air Quality               A. NOX Reduction Implementation
                                                  Vehicles Rule                                              Problems                                               Schedule
                                                SAFETEA Safe, Accountable, Flexible,                      B. Overview of Air Quality Modeling                    1. 2023–2025: EGU NOX Reductions
                                                  Efficient, Transportation Equity Act                       Platform                                               Beginning in 2023
                                                SCR Selective Catalytic Reduction                         C. Emissions Inventories                               2. 2026 and Later Years: EGU and Non-
                                                SIP State Implementation Plan                             1. Foundation Emissions Inventory Data                    EGU EGU NOX Reductions Beginning in
                                                SMOKE Sparse Matrix Operator Kernel                          Sets                                                   2026
                                                  Emissions                                               2. Development of Emissions Inventories                a. EGU Schedule for 2026 and Later Years
                                                SNCR Selective Non-Catalytic Reduction                       for EGUs                                            b. Non-EGU Schedule for 2026 and Later
                                                SO2 Sulfur Dioxide                                        3. Development of Emissions Inventories                   Years
                                                tpd ton per day                                              for Non-EGU Point Sources                           B. Regulatory Requirements for EGUs
                                                TSD Technical Support Document                            4. Development of Emissions Inventories                1. Trading Program Background and
                                                UMRA Unfunded Mandates Reform Act                            for Onroad Mobile Sources                              Overview of Proposed Revisions
                                                VMT Vehicle Miles Traveled                                5. Development of Emissions Inventories                a. Current CSAPR Trading Program Design
                                                VOCs Volatile Organic Compounds                              for Commercial Marine Vessels                          Elements and Identified Concerns
                                                WRAP Western Regional Air Partnership                     6. Development of Emissions Inventories                b. Enhancements To Maintain Selected
                                                WRF Weather Research and Forecasting                         for Other Nonroad Mobile Sources                       Control Stringency Over Time
                                                                                                          7. Development of Emissions Inventories                i. Revised Emissions Budget-Setting
                                                Table of Contents                                            for Nonpoint Sources                                   Process
                                                I. Executive Summary                                      D. Air Quality Modeling To Identify                    ii. Allowance Bank Recalibration
                                                   A. Purpose of Regulatory Action                           Nonattainment and Maintenance                       c. Enhancements To Improve Emissions
                                                   1. Emissions Limitations for EGUs                         Receptors                                              Performance at Individual Units
                                                      Established by the Proposed Rule                    E. Pollutant Transport From Upwind States              i. Unit-Specific Backstop Daily Emissions
                                                   2. Emissions Limitations for Non-EGU                   1. Air Quality Modeling To Quantify                       Rates
                                                      Stationary Point Sources Established by                Upwind State Contributions                          ii. Unit-Specific Emissions Limitations
                                                      the Proposed Rule                                   2. Application of Contribution Screening                  Contingent on Assurance Level
                                                   3. Proposed Error Correction for Previously               Threshold                                              Exceedances
                                                      Approved 2015 Ozone Transport SIP                   a. States That Contribute at or Above the              2. Expansion of Geographic Scope
                                                   4. Request for Comment on All Aspects of                  Screening Threshold                                 3. Applicability and Tentative
                                                      the Proposal                                        F. Treatment of Certain Receptors in                      Identification of Newly Affected Units
                                                   B. Summary of the Major Provisions of the                 California and Implications for Oregon’s            4. New and Revised State Emissions
                                                      Regulatory Action                                      Good Neighbor Obligations for 2015                     Budgets
                                                   C. Benefits and Costs                                     Ozone NAAQS                                         a. Methodology for Determining Preset
                                                II. Public Participation                                VI. Quantifying Upwind-State NOX                            State Emissions Budgets for the 2023 and
                                                   A. Written Comments                                       Emissions Reduction Potential To                       2024 Control Periods
                                                   B. Submitting Confidential Business                       Reduce Interstate Ozone Transport for               b. Methodology for Determining Dynamic
                                                      Information                                            the 2015 Ozone NAAQS                                   State Emissions Budgets for Control
                                                   C. Participation in Virtual Public Hearing             A. The Multi-Factor Test for Determining                  Periods in 2025 and Beyond
                                                III. General Information                                     Significant Contribution                            c. Proposed and Illustrative State
                                                   A. Does this action apply to me?                       B. Identifying Control Stringency Levels                  Emissions Budgets
                                                   B. What action is the Agency taking?                   1. EGU NOX Mitigation Strategies                       5. Variability Limits and Assurance Levels
                                                   C. What is the Agency’s legal authority for            a. Optimizing Existing SCRs                            6. Annual Recalibration of Allowance Bank
                                                      taking this action?                                 b. Installing State-of-the-Art NOX                     7. Unit-Specific Backstop Daily Emissions
                                                   1. Statutory Authority                                    Combustion Controls                                    Rates
                                                   D. What actions has EPA previously issued              c. Optimizing Already Operating SNCRs or               8. Unit-Specific Emissions Limitations
                                                      to address regional ozone transport?                   Turning on Idled Existing SNCRs                        Contingent on Assurance Level
                                                IV. Air Quality Issues Addressed and Overall              d. Installing New SNCRs                                   Exceedances
                                                      Approach for the Proposed Rule                      e. Installing New SCRs                                 9. Unit-Level Allowance Allocation and
                                                   A. The Interstate Ozone Transport Air                  f. Generation Shifting                                    Recordation Procedures
                                                      Quality Challenge                                   2. Non-EGU NOX Mitigation Strategies                   a. Set-Asides of Portions of State Emissions
                                                   1. Nature of Ozone and the Ozone NAAQS                 a. Determining Non-EGU NOX Reduction                      Budgets for New Units
                                                   2. Ozone Transport                                        Potential                                           b. Allocations to Existing Units, Including
                                                   3. Health and Environmental Effects                    3. Other Stationary Sources NOX                           Units That Cease Operation
                                                   B. Proposed Rule Approach                                 Mitigation Strategies                               c. Allocations From Portions of State
                                                   1. The 4-Step Interstate Transport                     a. Units Less Than or Equal to 25 MW                      Emissions Budgets Set Aside for New
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                                                      Framework                                           b. Municipal Solid Waste Units                            Units
                                                   a. Step 1 Approach                                     c. Cogeneration Units                                  d. Incorrectly Allocated Allowances
                                                   b. Step 2 Approach                                     4. Mobile Source NOX Mitigation Strategies             10. Other Trading Program Provisions
                                                   c. Step 3 Approach                                     C. Control Stringencies Represented by                 a. Designated Representative Requirements
                                                   d. Step 4 Approach                                        Cost Threshold ($ per Ton) and                      b. Monitoring and Reporting Requirements
                                                   2. FIP Authority for Each State Covered by                Corresponding Emissions Reductions                  11. Transitional Provisions
                                                      the Proposed Rule                                   1. EGU Emissions Reduction Potential by                a. Prorating Emissions Budgets, Assurance
                                                   C. Other CAA Authorities for This Action                  Cost Threshold                                         Levels, and Unit-Level Allowance



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                                                     Allocations in the Event of an Effective                Significantly Affect Energy Supply,               section 301(d)(4), the EPA proposes to
                                                     Date After May 1, 2023                                  Distribution or Use                               extend FIP requirements to apply in
                                                  b. Creation of Additional Group 3                       I. National Technology Transfer and                  Indian country located within the
                                                     Allowance Bank for 2023 Control Period                  Advancement Act (NTTAA)
                                                  c. Recall of Group 2 Allowances for Control             J. Executive Order 12898: Federal Actions
                                                                                                                                                               upwind geography of the proposed rule,
                                                     Periods After 2022                                      To Address Environmental Justice in               including Indian reservation lands and
                                                  12. Conforming Revisions to Other                          Minority Populations and Low-Income               other areas of Indian country over
                                                     Regulations                                             Populations                                       which the EPA or a tribe has
                                                  C. Regulatory Requirements for Non-EGUs                 K. Determinations Under CAA Section                  demonstrated that a tribe has
                                                  1. Pipeline Transportation of Natural Gas                  307(b)(1) and (d)                                 jurisdiction.2 The EPA is also proposing
                                                  2. Cement and Concrete Product                                                                               a FIP for Delaware and an error
                                                     Manufacturing                                      I. Executive Summary
                                                                                                                                                               correction for the Agency’s May 1, 2020,
                                                  3. Iron and Steel Mills and Ferroalloy                   This proposed rule would resolve the
                                                     Manufacturing                                                                                             approval at 85 FR 25307 of the interstate
                                                                                                        interstate transport obligations of 26                 transport elements for Delaware’s
                                                  4. Glass and Glass Product Manufacturing              states under CAA section
                                                  5. Boilers From Basic Chemical                                                                               October 11, 2018, and December 26,
                                                     Manufacturing, Petroleum and Coal                  110(a)(2)(D)(i)(I), referred to as the                 2019, ozone infrastructure SIP
                                                     Products Manufacturing, and Pulp,                  ‘‘good neighbor provision’’ or the                     submissions.
                                                     Paper, and Paperboard Mills                        ‘‘interstate transport provision’’ of the                 In this proposed rule, the EPA
                                                  a. Coal-Fired Industrial Boilers                      Act, for the 2015 ozone NAAQS. On                      proposes to establish new ozone season
                                                  b. Oil-Fired Industrial Boilers                       October 1, 2015, the EPA revised the                   NOX emissions budgets beginning in
                                                  c. Gas-Fired Industrial Boilers                       primary and secondary 8-hour standards
                                                  D. Submitting a SIP                                                                                          2023 for Electric Generating Unit (EGU)
                                                                                                        for ozone to 70 parts per billion (ppb).1
                                                  1. SIP Option To Modify Allocations for                                                                      sources. The EPA is also proposing to
                                                                                                        States were required to provide ozone
                                                     2024 Under EGU Trading Program                                                                            establish emissions limitations
                                                  2. SIP Option To Modify Allocations for               infrastructure State Implementation
                                                                                                                                                               beginning in 2026 for certain other
                                                     2025 and Beyond Under EGU Trading                  Plan (SIP) submissions to fulfill
                                                                                                                                                               industrial stationary sources (referred to
                                                     Program                                            interstate transport obligations for the
                                                                                                                                                               generally as ‘‘non-Electric Generating
                                                  3. SIP Option To Replace the Federal EGU              2015 ozone NAAQS by October 1, 2018.
                                                     Trading Program With an Integrated                    The EPA proposes to make a finding                  Units’’ (non-EGUs)). Taken together,
                                                     State EGU Trading Program                          that interstate transport of ozone                     these strategies will fully eliminate the
                                                  4. SIP Revisions That Do Not Use the New              precursor emissions from 26 upwind                     covered states’ significant contribution
                                                     Trading Program                                    states (Alabama, Arkansas, California,                 to downwind ozone air quality
                                                  5. SIP Revision Requirements for Non-EGU
                                                                                                        Delaware, Illinois, Indiana, Kentucky,                 problems in other states.
                                                     Emissions Limits                                                                                             The EPA proposes to implement the
                                                  E. Title V Permitting                                 Louisiana, Maryland, Michigan,
                                                                                                        Minnesota, Mississippi, Missouri,                      necessary emissions reductions as
                                                  F. Relationship to Other Emissions Trading                                                                   follows. The proposed FIP requirements
                                                     and Ozone Transport Programs                       Nevada, New Jersey, New York, Ohio,
                                                  1. NOX SIP Call                                       Oklahoma, Pennsylvania, Tennessee,                     establish ozone season NOX emissions
                                                  2. Acid Rain Program                                  Texas, Utah, Virginia, West Virginia,                  budgets for EGUs in 25 states (Alabama,
                                                  3. Other Current Emissions Trading                    Wisconsin, and Wyoming) is                             Arkansas, Delaware, Illinois, Indiana,
                                                     Programs                                           significantly contributing to downwind                 Kentucky, Louisiana, Maryland,
                                                VIII. Environmental Justice Considerations,             nonattainment or interfering with                      Michigan, Minnesota, Mississippi,
                                                     Implications, and Stakeholder Outreach                                                                    Missouri, Nevada, New Jersey, New
                                                  A. Introduction                                       maintenance of the 2015 ozone NAAQS
                                                                                                        in other states, based on projected                    York, Ohio, Oklahoma, Pennsylvania,
                                                  B. Analytical Considerations                                                                                 Tennessee, Texas, Utah, Virginia, West
                                                  C. Outreach and Engagement                            nitrogen oxides (NOX) emissions in the
                                                IX. Costs, Benefits, and Other Impacts of the           2023 ozone season. The EPA is                          Virginia, Wisconsin, and Wyoming) and
                                                     Proposed Rule                                      proposing to issue FIP requirements to                 require EGUs in these states to
                                                X. Summary of Proposed Changes to the                   eliminate interstate transport of ozone                participate in a revised version of the
                                                     Regulatory Text for the Federal                    precursors from these 26 states that                   Cross-State Air Pollution Rule (CSAPR)
                                                     Implementation Plans and Trading                   significantly contributes to                           NOX Ozone Season Group 3 Trading
                                                     Programs for EGUs                                                                                         Program that was previously established
                                                  A. Amendments to FIP Provisions in 40                 nonattainment or interferes with
                                                                                                        maintenance of the NAAQS in other                      in the Revised CSAPR Update.3 The
                                                     CFR Part 52                                                                                               EPA proposes to amend existing FIPs for
                                                  B. Amendments to Group 3 Trading                      states.
                                                     Program and Related Regulations                       The EPA is proposing FIPs for 23                    12 states currently participating in the
                                                  C. Transitional Provisions                            states for which the Agency has not                    CSAPR NOX Ozone Season Group 3
                                                  D. Clarifications and Conforming Revisions            approved an ozone transport SIP that                   Trading Program (Illinois, Indiana,
                                                XI. Statutory and Executive Order Reviews               was submitted for the 2015 ozone                       Kentucky, Louisiana, Maryland,
                                                  A. Executive Order 12866: Regulatory                  NAAQS: Alabama, Arkansas, California,                  Michigan, New Jersey, New York, Ohio,
                                                     Planning and Review and Executive                                                                         Pennsylvania, Virginia, and West
                                                                                                        Illinois, Indiana, Kentucky, Louisiana,
                                                     Order 13563: Improving Regulation and                                                                     Virginia) to replace their existing
                                                     Regulatory Review                                  Maryland, Michigan, Minnesota,
                                                                                                        Mississippi, Missouri, Nevada, New                     emissions budgets established in the
                                                  B. Paperwork Reduction Act (PRA)
                                                  C. Regulatory Flexibility Act (RFA)                   Jersey, New York, Ohio, Oklahoma,                      Revised CSAPR Update (with respect to
                                                  D. Unfunded Mandates Reform Act                       Tennessee, Texas, Utah, West Virginia,                 the 2008 ozone NAAQS) with new
                                                     (UMRA)                                             Wisconsin, and Wyoming. In this
                                                                                                                                                                 2 In general, specific tribal names or reservations
                                                  E. Executive Order 13132: Federalism
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                                                                                                        proposed rule, the EPA is proposing to                 are not identified separately in this proposal except
                                                  F. Executive Order 13175: Consultation                issue FIPs for two states—Pennsylvania                 as needed. See Section IV.C.2 of this notice for
                                                     and Coordination With Indian Tribal
                                                                                                        and Virginia—for which the EPA issued                  further discussion.
                                                     Governments
                                                  G. Executive Order 13045: Protection of               a Finding of Failure to Submit for 2015                  3 As explained in Section VI.C.1 of this notice,

                                                                                                        ozone transport SIPs with an effective                 EPA proposes finding that EGU sources within the
                                                     Children From Environmental Health                                                                        State of California are sufficiently controlled such
                                                     Risks and Safety Risks                             date of January 6, 2020. Under CAA                     that no further emissions reductions are needed
                                                  H. Executive Order 13211: Actions                                                                            from them to eliminate significant contribution to
                                                     Concerning Regulations That                          1 See 80 FR 65291 (October 26, 2015).                downwind states.



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                                                emissions budgets. For eight states                     rate limits for most coal-fired units, that            evidence of the harmful effects of ozone
                                                currently covered by the CSAPR NOX                      will help maintain control stringency                  exposure on human health and the
                                                Ozone Season Group 2 Trading Program                    over time and improve emissions                        environment. Studies have established
                                                under SIPs or FIPs, the EPA is                          performance at individual units,                       that ozone air pollution can be
                                                proposing to issue new FIPs for two                     providing further assurance that existing              transported over hundreds of miles,
                                                states (Alabama and Missouri) and                       pollution controls will be operated                    with elevated ground-level ozone
                                                amend existing FIPs for six states                      during the ozone season and that the                   concentrations occurring in rural and
                                                (Arkansas, Mississippi, Oklahoma,                       emission reductions necessary to meet                  metropolitan areas.4 5 Assessments of
                                                Tennessee, Texas, and Wisconsin) to                     good neighbor requirements will be                     ozone control approaches have
                                                transition EGU sources in these states                  achieved.                                              concluded that control strategies
                                                from the Group 2 program to the revised                   The EPA proposes to find that NOX                    targeting reduction of NOX emissions
                                                Group 3 trading program, beginning                      emissions from non-EGU sources are                     are an effective method to reduce
                                                with the 2023 ozone season. EPA                         significantly contributing to                          regional-scale ozone transport.6
                                                proposes to issue new FIPs for five                     nonattainment or interfering with                         CAA section 110(a)(2)(D)(i)(I) requires
                                                states not currently covered by any                     maintenance of the 2015 ozone NAAQS                    states to prohibit emissions that will
                                                CSAPR NOX ozone season trading                          and that cost-effective controls for NOX               contribute significantly to
                                                program: Delaware, Minnesota, Nevada,                   emissions reductions are available in                  nonattainment or interfere with
                                                Utah, and Wyoming.                                      certain industrial source categories that              maintenance in any other state with
                                                   Under this proposed rulemaking,                      would result in meaningful air quality                 respect to any primary or secondary
                                                emissions reductions in the selected                    improvements in downwind receptors.                    NAAQS.7 States fulfill their primary
                                                control stringency would be achieved as                 The EPA proposes to require emissions                  responsibility to address interstate
                                                soon as they are available, some of                     limitations beginning in 2026 for non-                 transport emissions under the good
                                                which are scheduled to occur by the                     EGUs located within 23 states:                         neighbor provision by submitting SIPs
                                                2023 ozone season and prior to the                      Arkansas, California, Illinois, Indiana,               containing enforceable emission
                                                August 3, 2024, attainment date for                     Kentucky, Louisiana, Maryland,                         limitations and other control measures,
                                                areas classified as Moderate                            Michigan, Minnesota, Mississippi,                      means, or techniques required to
                                                nonattainment for the 2015 ozone                        Missouri, Nevada, New Jersey, New                      address the interstate transport
                                                NAAQS, and the rest of which occur as                   York, Ohio, Oklahoma, Pennsylvania,                    provision. Within 3 years of the EPA
                                                soon as possible thereafter through the                 Texas, Utah, Virginia, West Virginia,                  promulgating a new or revised NAAQS,
                                                2026 ozone season, prior to the August                  Wisconsin, and Wyoming. The                            states are required to provide
                                                3, 2027, attainment date for areas                      proposed rule establishes NOX                          infrastructure SIP submittals, including
                                                classified as Serious nonattainment for                 emissions limitations during the ozone                 good neighbor SIPs. See CAA section
                                                the 2015 ozone NAAQS. As discussed                      season for the following unit types for                110(a)(1) and (2). When states do not
                                                in Section VII.A.2 of this notice, the                  sources in non-EGU industries:                         submit approvable interstate transport
                                                EPA proposes to find that the 2026                      Reciprocating internal combustion in                   SIPs or fail to submit interstate transport
                                                ozone season is as expeditious as                       Pipeline Transportation of Natural Gas                 SIPs by the statutory deadline, the CAA
                                                practicable to implement substantial                    sources; kilns in Cement and Cement                    requires the EPA to issue FIPs to ensure
                                                emissions reductions from potential                     Product Manufacturing sources; boilers                 that states eliminate their significant
                                                new post-combustion control                             and furnaces in Iron and Steel Mills and               contribution to downwind air quality
                                                installations at EGUs as well as from                   Ferroalloy Manufacturing sources;                      problems under the good neighbor
                                                installation of new pollution controls at               furnaces in Glass and Glass Product                    provision. See generally CAA section
                                                non-EGUs.                                               Manufacturing sources; and high-                       110(k) and 110(c). As such, in this
                                                   These EGU emissions reductions are                   emitting equipment and large boilers in                proposed rule, the EPA is proposing
                                                scheduled to begin in the 2026 ozone                    Basic Chemical Manufacturing,                          requirements to fully address good
                                                season based on the feasibility of control              Petroleum and Coal Products                            neighbor obligations for these states for
                                                installation for EGUs in 22 states that                 Manufacturing, and Pulp, Paper, and                    the 2015 ozone NAAQS under its
                                                remain linked to downwind                               Paperboard Mills.                                      authority to promulgate FIPs under CAA
                                                nonattainment and maintenance                                                                                  section 110(c).
                                                receptors in that year. These 22 states                 A. Purpose of the Regulatory Action                       It is appropriate to issue this proposal
                                                are: Arkansas, Illinois, Indiana,                          The purpose of this rulemaking is to                at this time for at least three reasons.
                                                Kentucky, Louisiana, Maryland,                          protect public health and the                          First, this proposal will ensure that
                                                Michigan, Minnesota, Mississippi,                       environment by reducing interstate                     necessary emissions reductions to
                                                Missouri, Nevada, New Jersey, New                       transport of certain air pollutants that               eliminate significant contribution are
                                                York, Ohio, Oklahoma, Pennsylvania,                     significantly contribute to                            achieved as expeditiously as
                                                Texas, Utah, Virginia, West Virginia,                   nonattainment, or interfere with                       practicable. The EPA’s anticipated
                                                Wisconsin, and Wyoming. The                             maintenance, of the 2015 ozone NAAQS                   timing will provide for all possible
                                                additional emissions reductions                         in other states. Ground-level ozone has                emissions reductions to go into effect
                                                required for these states are based                     detrimental effects on human health as
                                                primarily on the potential retrofit of                  well as vegetation and ecosystems.                        4 Bergin, M.S. et al. (2007) Regional air quality:

                                                additional post-combustion controls for                 Acute and chronic exposure to ozone in                 Local and interstate impacts of NOX and SO2
                                                                                                        humans is associated with premature                    emissions on ozone and fine particulate matter in
                                                NOX on most coal steam EGUs and a                                                                              the eastern United States. Environmental Sci &
                                                                                                        mortality and a number of morbidity
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                                                portion of oil/gas steam EGUs that are                                                                         Tech. 41: 4677–4689.
                                                currently lacking such controls.                        effects, such as asthma exacerbation.                     5 Liao, K. et al. (2013) Impacts of interstate

                                                   In this proposed rule, the EPA                       Ozone exposure can also negatively                     transport of pollutants on high ozone events over
                                                introduces additional features to the                   impact ecosystems by limiting tree                     the Mid-Atlantic United States. Atmospheric
                                                                                                                                                               Environment 84, 100–112.
                                                allowance-based trading program                         growth, causing foliar injury, and                        6 See 82 FR 51238, 51248 (November 3, 2017)
                                                approach for EGUs, including dynamic                    changing ecosystem community                           [citing 76 FR 48208, 48222 (August 8, 2011)] and
                                                adjustments of the emissions budgets                    composition. Section IV of this                        63 FR 57381 (October 27, 1998).
                                                over time and backstop daily emissions                  proposed rule provides additional                         7 42 U.S.C. 7410(a)(2)(D)(i)(I).




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                                                beginning in the 2023 ozone season,                     Section V of this proposed rule provides                TABLE I.A–1—PROPOSED LIST OF 25
                                                which is aligned with the next                          a full description of the results of EPA’s               COVERED STATES FOR EGU EMIS-
                                                upcoming attainment date of August 3,                   air quality modeling and relevant                        SIONS REDUCTIONS FOR THE 2015
                                                2024, for areas classified as Moderate                  analyses for the proposed rulemaking.                    8-HOUR OZONE NAAQS
                                                nonattainment under the 2015 ozone                      Based on EPA’s air quality analysis, a
                                                standard. Additional emissions                          total of 27 upwind states are linked                                          State
                                                reductions that the EPA finds not                       above the 1 percent of the NAAQS
                                                possible to implement by that                           threshold to downwind air quality                      Alabama
                                                attainment date are proposed to take                    problems in other states. The EPA had                  Arkansas
                                                effect as expeditiously as practicable,                                                                        Delaware
                                                                                                        previously approved 2015 ozone                         Illinois
                                                with the full suite of emissions
                                                                                                        transport SIPs submitted by two of these               Indiana
                                                reductions taking effect by the 2026
                                                ozone season, which is aligned with the                 states—Oregon and Delaware—and                         Kentucky
                                                                                                        proposes in this proposed rule to issue                Louisiana
                                                August 3, 2027, attainment date for                                                                            Maryland
                                                areas classified as Serious                             an error correction for its prior approval
                                                                                                                                                               Michigan
                                                nonattainment under the 2015 ozone                      of Delaware’s 2015 ozone transport SIP                 Minnesota
                                                NAAQS. As explained in sections V.A,                    (see Section IV.C.1 of this notice for                 Mississippi
                                                VI, and VII.A of this proposed rule,                    additional information on the proposed                 Missouri
                                                these proposed timeframes for                           error correction). The EPA is not                      Nevada
                                                eliminating significant contribution are                proposing any change to its prior                      New Jersey
                                                consistent with the provisions of title I               approval of Oregon’s 2015 ozone                        New York
                                                                                                                                                               Ohio
                                                of the CAA. Second, this proposal will                  transport SIP, a determination which is                Oklahoma
                                                provide states with as much information                 further described in Section V.F of this               Pennsylvania
                                                as the EPA can supply at this time to                   proposed rule.                                         Tennessee
                                                support their ability to submit SIP                        In this proposed rule, the EPA is                   Texas
                                                revisions to achieve the emissions                                                                             Utah
                                                                                                        proposing to issue FIP requirements for
                                                reductions the EPA believes necessary                                                                          Virginia
                                                to eliminate significant contribution.                  26 states, which include emissions                     West Virginia
                                                Third, for all of the states included in                reductions for EGU sources within the                  Wisconsin
                                                this proposed rule, the EPA’s modeling                  borders of 25 states (described in                     Wyoming
                                                and analysis indicate that additional                   Section VII.B of this proposed rule) and
                                                emissions reductions beyond those                       include emissions reductions for non-                     The EPA proposes to expand the
                                                which are provided in any state’s 2015                  EGU sources within the borders of 23                   CSAPR NOX Ozone Season Group 3
                                                ozone transport SIP are necessary to                    states (described in Section VII.C in this             Trading Program beginning in the 2023
                                                eliminate significant contribution.                     proposed rule). Based on EPA’s                         ozone season. Specifically, the FIPs
                                                   The EPA anticipates that the states                  assessment of remaining air quality                    would require power plants within the
                                                covered in this proposed FIP                            issues and additional emissions control                borders of the 25 states listed in Table
                                                rulemaking may not have adequate                        strategies, the EPA further proposes to                I.A–1 to participate in a revised version
                                                provisions in their SIPs to address their                                                                      of the CSAPR NOX Ozone Season Group
                                                                                                        find that the EGU and non-EGU NOX
                                                interstate transport obligations for the                                                                       3 Trading Program created by the
                                                                                                        emissions reductions required in the
                                                2015 ozone NAAQS. As discussed in                                                                              Revised CSAPR Update. Affected EGUs
                                                                                                        proposed rule would fully eliminate
                                                Section IV.B.2 of this proposed rule, the                                                                      within the borders of twelve states
                                                                                                        these states’ significant contributions to             currently participating in the Group 3
                                                EPA has, for certain states, made                       downwind air quality problems for the
                                                findings that the state failed to submit                                                                       Trading Program under FIPs or SIPs
                                                                                                        2015 ozone NAAQS. By eliminating                       would remain in the program, with
                                                a complete good neighbor SIP revision
                                                                                                        significant contribution from these                    revised provisions beginning in the
                                                for the 2015 ozone NAAQS. For certain
                                                                                                        upwind states, this rule, if finalized as              2023 ozone season, under this proposed
                                                other states, the EPA has proposed, but
                                                has not finalized, actions disapproving                 proposed, will make substantial and                    rule: Illinois, Indiana, Kentucky,
                                                good neighbor SIP revisions. And for                    meaningful improvements in air quality                 Louisiana, Maryland, Michigan, New
                                                other states, the EPA has not yet                       by reducing ozone levels at the                        Jersey, New York, Ohio, Pennsylvania,
                                                proposed action on their good neighbor                  identified downwind receptors as well                  Virginia, and West Virginia. The FIPs
                                                SIP submittals, but these submittals are                as many other areas of the country.                    would also require affected EGUs within
                                                currently under review, and EPA                                                                                the borders of eight states currently
                                                                                                        1. Emissions Limitations for EGUs
                                                intends to act on these submittals in the                                                                      covered by the CSAPR NOX Ozone
                                                                                                        Established by the Proposed Rule                       Season Group 2 Trading Program (the
                                                coming months. The EPA will not
                                                finalize this proposed FIP action for any                 In this proposed rule, the EPA                       ‘‘Group 2 trading program’’) under
                                                state for which it has not taken final                  proposes to issue FIP requirements that                existing FIPs or existing SIPs to
                                                action either disapproving that state’s                 include new NOX ozone season                           transition from the Group 2 program to
                                                good neighbor SIP submittal or finding                  emissions budgets for EGU sources                      the revised Group 3 trading program
                                                that the state failed to submit a complete              within the borders of the 25 states listed             beginning with the 2023 control period:
                                                SIP.                                                                                                           (Alabama, Arkansas, Mississippi,
                                                                                                        in Table I.A–1, with implementation of
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                                                   The EPA conducted air quality                                                                               Missouri, Oklahoma, Tennessee, Texas,
                                                                                                        these emissions budgets beginning in
                                                modeling for future analytic years to                                                                          and Wisconsin).8 Finally, the EPA is
                                                identify (1) the downwind areas that are                the 2023 ozone season. The EPA
                                                expected to have trouble attaining or                   proposes to find that these emissions                    8 Six of these eight states (Arkansas, Mississippi,

                                                maintaining the 2015 ozone NAAQS in                     reductions are necessary to address                    Oklahoma, Tennessee, Texas, and Wisconsin)
                                                                                                        upwind states’ interstate transport                    currently participate in the federal Group 2 trading
                                                the future and (2) the contribution of                                                                         program pursuant to the FIPs finalized in the
                                                ozone transport from upwind states to                   obligations for the 2015 ozone NAAQS.                  CSAPR Update, so the FIPs proposed in this
                                                the downwind air quality problems.                                                                             rulemaking would amend the existing FIPs for these



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                                                proposing to issue new FIPs for EGUs                      TABLE I.A–2—PROPOSED LIST OF 23                      4. Request for Comment on All Aspects
                                                within the borders of five states not                      COVERED STATES FOR NON-EGU                          of the Proposal
                                                currently covered by any CSAPR trading                     EMISSIONS REDUCTIONS FOR THE                           Throughout this proposed rule, unless
                                                program for seasonal NOX emissions:                        2015 8-HOUR OZONE NAAQS—                            noted otherwise, the EPA is requesting
                                                Delaware, Minnesota, Nevada, Utah,                                                                             comments on all aspects of the proposal
                                                and Wyoming. If the proposed FIP is
                                                                                                           Continued
                                                                                                                                                               to enable the Agency to develop a final
                                                finalized, sources in these states would                                       State                           rule that, consistent with our
                                                enter the Group 3 trading program in the                                                                       responsibilities under section 110 of the
                                                2023 control period following the                       Ohio                                                   CAA, eliminates air pollution that
                                                effective date of the final rule.9 In all               Oklahoma                                               significantly contributes to
                                                cases, if the state submits and the EPA                 Pennsylvania
                                                                                                                                                               nonattainment or interference with
                                                approves a SIP revision that would fully                Texas
                                                                                                        Utah                                                   maintenance of the 2015 ozone NAAQS.
                                                achieve the emissions reductions                                                                               This proposed rule adheres closely to
                                                needed to meet the state’s good neighbor                Virginia
                                                                                                        West Virginia                                          the legal and analytical framework that
                                                obligations with respect to the 2015                    Wisconsin                                              the EPA has applied in the past in
                                                ozone NAAQS before a final rule is                      Wyoming                                                implementing the good neighbor
                                                promulgated in this rulemaking, the                                                                            provision of the CAA, as well as the
                                                proposed FIP requirements summarized                      The EPA is proposing to require                      ample case law reviewing that
                                                above would not be finalized. Refer to                  emissions limitations for the following                framework. At the same time, in this
                                                Section VII.B of this proposed rule for                 unit types in non-EGU industries:                      proposal, the EPA is applying lessons
                                                details on EGU regulatory requirements.                 Reciprocating internal combustion                      learned from the performance of
                                                2. Emissions Limitations for Non-EGU                    engines in Pipeline Transportation of                  regulatory programs established by
                                                Stationary Point Sources Established by                 Natural Gas sources; kilns in Cement                   previous ozone transport rulemakings,
                                                the Proposed Rule                                       and Cement Product Manufacturing                       as well as updating the Agency’s
                                                                                                        sources; boilers and furnaces in Iron and              application of the 4-step interstate
                                                   In this proposed rule, the EPA
                                                                                                        Steel Mills and Ferroalloy                             transport framework with recent
                                                proposes to issue FIP requirements that
                                                                                                        Manufacturing sources; furnaces in                     information on the nature of ozone
                                                include new NOX emissions limitations
                                                                                                        Glass and Glass Product Manufacturing                  transport and emissions reductions
                                                for non-Electric Generating Unit (non-
                                                                                                        sources; and high-emitting equipment                   opportunities in order to eliminate
                                                EGU) sources in 23 states, with earliest
                                                                                                        and large boilers in Basic Chemical                    significant contribution for the more
                                                possible compliance dates for these
                                                                                                        Manufacturing, Petroleum and Coal                      stringent 2015 ozone NAAQS under the
                                                emissions limitations beginning in 2026.
                                                                                                        Products Manufacturing, and Pulp,                      good neighbor provision. The EPA
                                                The EPA proposes to require emissions
                                                                                                        Paper, and Paperboard Mills. Refer to                  invites comments and information to
                                                reductions from non-EGU sources to
                                                                                                        Table III.A–1 for a list of North                      support its efforts to improve the
                                                address interstate transport obligations
                                                                                                        American Industry Classification                       regulation of interstate ozone transport
                                                for the 2015 ozone NAAQS for the 23
                                                                                                        System (NAICS) codes for each entity                   under the good neighbor provision and
                                                states listed in Table I.A–2.
                                                                                                        included for regulation under this                     to fulfill our mission to protect human
                                                                                                        proposed rule.                                         health and the environment. The EPA
                                                  TABLE I.A–2—PROPOSED LIST OF 23
                                                                                                                                                               will carefully consider information
                                                   COVERED STATES FOR NON-EGU 3. Proposed Error Correction for                                                 provided in response to this request and
                                                   EMISSIONS REDUCTIONS FOR THE Previously Approved 2015 Ozone                                                 will respond to comments submitted
                                                   2015 8-HOUR OZONE NAAQS        Transport SIP                                                                through the regulatory docket in the
                                                                                                           The EPA proposes to make an error                   final rule.
                                                                       State
                                                                                                        correction under CAA section 110(k)(6)                 B. Summary of the Major Provisions of
                                                Arkansas                                                of its May 1, 2020, approval at 85 FR                  the Regulatory Action
                                                California                                              25307 of the interstate transport
                                                Illinois                                                elements for Delaware’s October 11,                       The EPA is applying the 4-step
                                                Indiana                                                 2018, and December 26, 2019, ozone                     interstate transport framework
                                                Kentucky                                                infrastructure SIP submissions as                      developed in CSAPR, the CSAPR
                                                Louisiana                                               satisfying the requirements of CAA                     Update, the Revised CSAPR Update,
                                                Maryland                                                                                                       and other previous ozone transport rules
                                                                                                        section 110(a)(2)(D)(i)(I) for the 2015
                                                Michigan                                                                                                       to propose to further limit NOX
                                                Minnesota                                               ozone NAAQS. The EPA proposes to
                                                                                                        determine that the basis for the prior SIP             emissions from EGU sources within the
                                                Mississippi
                                                Missouri                                                approval is invalidated by the Agency’s                borders of 25 states during the ozone
                                                Nevada                                                  more recent technical evaluation of air                season (May 1 through September 30)
                                                New Jersey                                              quality modeling performed in support                  and to limit ozone season NOX
                                                New York                                                of the proposed rule,10 and that                       emissions from non-EGU sources in 23
                                                                                                        Delaware has unresolved interstate                     states to reduce interstate ozone
                                                states. The other two states (Alabama and Missouri)     transport obligations for the 2015 ozone               transport under the authority provided
                                                have already replaced the FIPs finalized in the
                                                                                                        NAAQS. In this proposed rule, the EPA                  in CAA section 110(a)(2)(D)(i)(I). The 4-
                                                CSAPR Update with approved SIP revisions that                                                                  step interstate transport framework
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                                                require their EGUs to participate in state Group 2      is also exercising its authority to
                                                trading programs integrated with the federal Group      propose to issue a FIP for Delaware in                 provides a stepwise method for the EPA
                                                2 trading program, so the FIPs proposed in this         light of these unresolved interstate                   to propose rule provisions that are
                                                action would constitute new FIPs for these states,
                                                                                                        transport obligations.                                 required to address the requirements of
                                                and the EPA would cease implementation of the                                                                  the good neighbor provision for the
                                                state Group 2 trading programs included in the two
                                                states’ SIPs.                                             10 See the Air Quality Modeling Technical            2015 ozone NAAQS: (1) Identifying
                                                   9 Two states, Kansas and Iowa, will remain in the    Support Document (AQM TSD) in the docket for           downwind receptors that are expected
                                                Group 2 Trading Program.                                this proposed rule.                                    to have problems attaining or


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                                                maintaining the NAAQS; (2)                              States with contributions that equaled                 that cannot be implemented until the
                                                determining which upwind states                         or exceeded 1 percent of the NAAQS                     2026 ozone season.
                                                contribute to these identified problems                 were identified as warranting further                     At the third step of the 4-step
                                                in amounts sufficient to ‘‘link’’ them to               analysis at Step 3 of the four-step                    framework, EPA applied a multi-factor
                                                the downwind air quality problems (i.e.,                framework to determine if the upwind                   test that incorporates cost, availability of
                                                in this proposed rule, a contribution                   state significantly contributes to                     emissions reductions, and air quality
                                                threshold of 1 percent of the NAAQS);                   nonattainment or interference with                     impacts at the downwind receptors to
                                                (3) for states linked to downwind air                   maintenance in a downwind state.                       determine the amount of ozone
                                                quality problems, identifying upwind                    States with contributions below 1                      precursor emissions from the linked
                                                emissions that significantly contribute                 percent of the NAAQS were considered                   upwind states that ‘‘significantly’’
                                                to downwind nonattainment or interfere                  not to significantly contribute to                     contribute to downwind nonattainment
                                                with downwind maintenance of the                        nonattainment or interfere with                        or maintenance receptors. In this
                                                NAAQS; and (4) for states that are found                maintenance of the NAAQS in                            proposed rule, the EPA proposes to
                                                to have emissions that significantly                    downwind states. Based on EPA’s most                   apply the multifactor test described in
                                                contribute to nonattainment or interfere                recent air quality modeling and                        Section VI.A of this proposed rule to
                                                with maintenance of the NAAQS in                        contribution analysis using 2023 as the                both EGU and non-EGU sources. The
                                                downwind areas, implementing the                        analytic year, the EPA proposes to find                EPA assessed the potential emissions
                                                necessary emissions reductions through                  that the following 27 states have                      reductions in 2023 and 2026, as well as
                                                enforceable measures. In this proposed                  contributions that equal or exceed 1                   in intervening and later years to
                                                rule, the EPA applies the 4-step                        percent of the 2015 ozone NAAQS, and,                  determine the emissions reductions
                                                framework to evaluate upwind states’                    thereby, warrant further analysis of                   required to eliminate significant
                                                obligations to reduce interstate transport              significant contribution to                            contribution in any future year where
                                                of ozone precursor emissions for the                    nonattainment or interference with                     downwind areas are projected to have
                                                2015 ozone NAAQS. The remainder of                      maintenance of the NAAQS: Alabama,                     potential problems attaining or
                                                this section provides a general overview                Arkansas, California, Delaware, Illinois,              maintaining the 2015 ozone NAAQS.
                                                of the EPA’s application of the 4-step                  Indiana, Kentucky, Louisiana,                             For EGU sources, the EPA evaluated
                                                framework as it applies to major                        Maryland, Michigan, Minnesota,                         the following set of widely-available
                                                provisions of the proposed rule;                        Mississippi, Missouri, Nevada, New                     NOX emissions control technologies: (1)
                                                additional details regarding EPA’s                      Jersey, New York, Ohio, Oklahoma,                      Fully operating existing selective
                                                proposed rule approach are found in                     Oregon, Pennsylvania, Tennessee,                       catalytic reduction (SCR) controls,
                                                Section IV of this proposed rule.                       Texas, Utah, Virginia, West Virginia,                  including both optimizing NOX removal
                                                   In order to apply the first step of the              Wisconsin, and Wyoming. Further                        by existing operational SCRs and
                                                4-step framework to the 2015 ozone                                                                             turning on and optimizing existing idled
                                                                                                        evaluation of the locations in California
                                                NAAQS, the EPA performed air quality                                                                           SCRs; (2) installing state-of-the-art NOX
                                                                                                        to which Oregon was linked at Step 2
                                                modeling to project ozone                                                                                      combustion controls; (3) fully operating
                                                                                                        leads the EPA to conclude downwind
                                                concentrations at air quality monitoring                                                                       existing selective non-catalytic
                                                                                                        areas represented by these monitoring
                                                sites in 2023, 2026, and 2032.11 The                                                                           reduction (SNCR) controls, including
                                                                                                        sites should not be considered interstate
                                                EPA evaluated projected ozone                                                                                  both optimizing NOX removal by
                                                                                                        ozone transport receptors. Therefore, the
                                                concentrations for the 2023 analytic                                                                           existing operational SNCRs and turning
                                                                                                        EPA is not proposing any further
                                                year at individual monitoring sites and                                                                        on and optimizing existing idled
                                                                                                        emissions reductions from the state of
                                                considered current ozone monitoring                                                                            SNCRs; (4) installing new SNCRs; (5)
                                                                                                        Oregon because there is no significant
                                                data at these sites to identify receptors                                                                      installing new SCRs; and (6) generation
                                                                                                        contribution required to be eliminated                 shifting. For the reasons explained in
                                                that are anticipated to have problems                   under the interstate transport provision,
                                                attaining or maintaining the 2015 ozone                                                                        Section VI of this proposed rule and
                                                                                                        as described in Section V.F of this                    supported by the EGU NOX Mitigation
                                                NAAQS. This analysis was then                           proposed rule.
                                                repeated using projected ozone                                                                                 Strategies Proposed Rule Technical
                                                                                                           Based on the air quality analysis                   Support Document (TSD) included in
                                                concentrations for 2026 and 2032.
                                                                                                        presented in Section V of this proposed                the docket for this proposed rule, the
                                                   To apply the second step of the
                                                                                                        rule, the EPA proposes to find that in                 EPA determined that for the regional,
                                                framework, the EPA used air quality
                                                                                                        the absence of additional emissions                    multi-state scale of this rulemaking,
                                                modeling to quantify the contributions
                                                                                                        reductions in those states the majority of             only fully operating and optimizing
                                                from upwind states to ozone
                                                                                                        the states that the EPA is proposing to                existing SCRs and existing SNCRs (EGU
                                                concentrations in 2023 and 2026 at
                                                                                                        participate in the Ozone Season Group                  NOX emissions controls options 1 and 3
                                                downwind receptors.12 Once quantified,
                                                                                                        3 Trading Program will continue to                     in the list earlier) are possible for the
                                                EPA then evaluated these contributions
                                                                                                        contribute above the 1 percent of the                  2023 ozone season. The EPA
                                                relative to a screening threshold of 1
                                                                                                        NAAQS threshold to at least one                        determined that state-of-the-art NOX
                                                percent of the NAAQS (i.e., 0.70 ppb).13
                                                                                                        receptor whose nonattainment and                       combustion controls at EGUs (emissions
                                                   11 These 3 analytic years are the last full ozone    maintenance concerns persist through                   control option 2 in the list above) are
                                                seasons before, and thus align with, upcoming           the 2026 ozone season, with the                        available by the beginning of the 2024
                                                attainment dates for the 2015 ozone NAAQS:              exception of Alabama, Delaware, and                    ozone season. Based on EPA’s
                                                August 3, 2024, for areas classified as Moderate        Tennessee. As a result, EPA’s evaluation               assessment of the earliest possible
                                                nonattainment, August 3, 2027, for areas classified
                                                                                                        of emissions reduction potential at Step
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                                                as Serious nonattainment, and August 3, 2033, for                                                              timeframe for installation of new SNCR
                                                areas classified as Severe. See 83 FR 25776.            3 for Alabama, Delaware, and Tennessee                 and SCRs (EGU emissions controls
                                                   12 The EPA did not perform contribution              is limited to emission reductions                      options 4 and 5 in the list), the EPA
                                                modeling for 2032 since contribution data for this      achievable by the 2023 ozone season.                   proposes to require emissions
                                                year were not needed to identify upwind states to       For each of these three states, EPA’s                  reductions commensurate with these
                                                be analyzed in Step 3.
                                                   13 See Section V of this proposed rule for           analysis does not consider, nor does the               controls by the beginning of the 2026
                                                explanation of EPA’s use of the 1 percent of the        EPA propose to require, emissions                      ozone season. See Section VI.B.1 of this
                                                NAAQS threshold in the Step 2 analysis.                 reductions at either EGUs or non-EGUs                  proposed rule for a full description of


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                                                EPA’s analysis of NOX emissions                         regional scale. See 86 FR 23054, 23110                 to evaluate the air quality impacts of
                                                mitigation strategies for EGU sources.                  (April 30, 2021).                                      potential emissions reductions from
                                                   The EPA proposes control stringency                     In this proposed rulemaking, the EPA                non-EGU sources located in the linked
                                                levels that maximize incremental NOX                    is addressing good neighbor obligations                upwind states. The EPA incorporated
                                                emissions reduction potential from                      for the more stringent 2015 ozone                      air quality modeling information,
                                                EGUs and corresponding downwind                         NAAQS, and the Agency observes                         annual emissions, and information
                                                ozone air quality improvements to the                   ongoing and persistent contribution                    about potential controls to determine
                                                extent feasible in each year analyzed.                  from upwind states to ozone                            which industries, if subject to further
                                                The EPA believes that the required                      nonattainment and maintenance                          control requirements, would have the
                                                controls provide cost-effective                         receptors in other states under that                   greatest impact in providing air quality
                                                reductions of NOX emissions that will                   NAAQS. As further discussed in Section                 improvements at the downwind
                                                provide substantial improvements in                     VI of this proposed rule, the nature of                receptors. This evaluation was subject to
                                                downwind ozone air quality to address                   this contribution warrants a greater                   a marginal cost threshold of up to
                                                interstate transport obligations for the                degree of control stringency than the                  $7,500 per ton, which the EPA
                                                2015 ozone NAAQS in a timely manner.                    EPA determined to be necessary to                      determined based on information
                                                These controls represent greater                        eliminate significant contribution of                  available to the Agency about existing
                                                stringency in upwind EGU controls than                  ozone transport in prior CSAPR                         control device efficiency and cost
                                                in EPA’s most recent ozone transport                    rulemakings. The EPA is therefore                      information. Additional information on
                                                rulemakings, such as the CSAPR Update                   returning to EGU NOX control strategies                the analytical framework is described in
                                                and the Revised CSAPR Update.                           commensurate with those determined to                  Section VI.B.2 of this proposed rule and
                                                However, programs to address interstate                 be necessary in the NOX SIP Call and                   is presented in the memorandum titled
                                                ozone transport based on the retrofit of                CAIR.                                                  Screening Assessment of Potential
                                                                                                           Based on the Step 3 analysis                        Emissions Reductions, Air Quality
                                                post-combustion controls are by no
                                                                                                        described in Section VI of this proposed               Impacts, and Costs from Non-EGU
                                                means unprecedented. In prior ozone
                                                                                                        rule, the EPA is proposing that                        Emissions Units for 2026 (‘‘Non-EGU
                                                transport rulemakings such as the NOX                   emissions reductions commensurate
                                                SIP Call and the Clean Air Interstate                                                                          Screening Assessment memorandum’’),
                                                                                                        with the full operation of all existing                which is available in the docket for this
                                                Rule (CAIR), the EPA established EGU                    post-combustion controls (both SCRs
                                                budgets premised on the widespread                                                                             proposed rulemaking. Based on the
                                                                                                        and SNCRs) and state-of-the-art                        results of this assessment, the EPA
                                                availability of retrofitting EGUs with                  combustion control upgrades constitute
                                                post-combustion emissions controls                                                                             identified emissions unit types in seven
                                                                                                        the Agency’s selected control stringency               industries (identified in Section I.A.2 of
                                                such as SCR.14 While these programs                     for EGUs within the borders of 25 states
                                                successfully drove many EGUs to                                                                                this proposed rule) that provide
                                                                                                        linked to downwind nonattainment or
                                                retrofit post-combustion controls, other                                                                       opportunities for NOX emissions
                                                                                                        maintenance in 2023 (Alabama,
                                                EGUs throughout the present geography                                                                          reductions that result in meaningful
                                                                                                        Arkansas, Delaware, Illinois, Indiana,
                                                of linked upwind states continue to                                                                            impacts on air quality at the downwind
                                                                                                        Kentucky, Louisiana, Maryland,
                                                operate without such controls and                                                                              receptors.
                                                                                                        Michigan, Minnesota, Mississippi,
                                                continue to emit at relatively high rates               Missouri, Nevada, New Jersey, New                         The EPA performed air quality
                                                more than 20 years after similar units                  York, Ohio, Oklahoma, Pennsylvania,                    analysis using the Ozone Air Quality
                                                reduced these emissions under prior                     Tennessee, Texas, Utah, Virginia, West                 Assessment Tool (AQAT) to determine
                                                interstate ozone transport rulemakings.                 Virginia, Wisconsin, and Wyoming). For                 whether the proposed emissions
                                                   Furthermore, the CSAPR Update                        22 of those states that are also linked in             reductions for both EGUs and non-EGUs
                                                provided only a partial remedy for                      2026 (Arkansas, Illinois, Indiana,                     potentially create an ‘‘over-control’’
                                                eliminating significant contribution for                Kentucky, Louisiana, Maryland,                         scenario whereby (1) the expected ozone
                                                the 2008 ozone NAAQS, as needed to                      Michigan, Minnesota, Mississippi,                      improvements would be greater than
                                                obtain available reductions by the 2017                 Missouri, Nevada, New Jersey, New                      necessary to resolve the downwind
                                                ozone season. In that rule, the EPA                     York, Ohio, Oklahoma, Pennsylvania,                    ozone pollution problem (i.e., beyond
                                                made no determination regarding the                     Texas, Utah, Virginia, West Virginia,                  what is necessary to resolve all
                                                appropriateness of more stringent EGU                   Wisconsin, and Wyoming), the EPA is                    nonattainment and maintenance
                                                NOX controls that would be required for                 determining that the selected EGU                      problems to which an upwind state is
                                                a full remedy for interstate transport for              control stringency also includes                       linked) or (2) the expected ozone
                                                the 2008 ozone NAAQS. Following the                     emissions reductions commensurate                      improvements would reduce the
                                                remand of the CSAPR Update in                           with the retrofit of SCR at coal steam                 upwind state’s ozone contributions
                                                Wisconsin v. EPA, 938 F.3d 303 (D.C.                    units of 100 MW or greater capacity                    below the screening threshold (i.e., 1
                                                Cir. 2019) (Wisconsin), the EPA again                   (excepting circulating fluidized bed                   percent of the NAAQS or 0.70 ppb). The
                                                declined to require the retrofit of new                 units (CFB)), new SNCR on coal steam                   EPA’s over-control analysis, discussed
                                                post-combustion controls on EGUs in                     units of less than 100 MW capacity and                 in Section VI.D.4 of this proposed rule,
                                                the Revised CSAPR Update, but that                      CFBs, and SCR on oil/gas steam units                   shows that the proposed control
                                                determination was based on a specific                   greater than 100 MW that have                          stringencies for EGU and non-EGU
                                                timing consideration: Downwind air                      historically emitted at least 150 tons of              sources do not over-control upwind
                                                quality problems under the 2008 ozone                   NOX per ozone season.                                  states’ emissions either with respect to
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                                                NAAQS were projected to resolve before                     To identify appropriate control                     the downwind air quality problems to
                                                post-combustion control retrofits could                 strategies for non-EGU sources to                      which they are linked or with respect to
                                                be accomplished on a fleetwide,                         achieve NOX emissions reductions that                  the 1 percent of the NAAQS
                                                                                                        would result in meaningful air quality                 contribution threshold, such that over-
                                                  14 See, e.g., 70 FR 25162, 25205–06 (May 12,          improvements in downwind areas, the                    control would trigger re-evaluation at
                                                2005).                                                  EPA developed an analytical framework                  Step 3 for any linked upwind state.




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                                                   Based on the multi-factor test applied                                       In this fourth step of the 4-step                             trading program for seasonal NOX
                                                to both EGU and non-EGU sources and                                          framework, the EPA proposes to include                           emissions—Delaware, Minnesota,
                                                our subsequent assessment of over-                                           enforceable measures in the                                      Nevada, Utah, and Wyoming—would
                                                control, the EPA finds that the selected                                     promulgated FIPs to achieve the                                  enter the Group 3 trading program in the
                                                EGU and non-EGU control stringencies                                         required emissions reductions in each of                         2023 control period following the
                                                constitute the elimination of significant                                    the 26 states. Specifically, the FIPs                            effective date of the final rule. In
                                                contribution and interference with                                           would require covered power plants                               addition, the EPA proposes to revise
                                                maintenance, without over-controlling                                        within the borders of the 25 states listed                       other aspects of the Group 3 trading
                                                emissions, from the 26 upwind states                                         in Table I.A–1 to participate in the                             program to help maintain control
                                                subject to EGU and non-EGU emissions                                         CSAPR NOX Ozone Season Group 3                                   stringency over time and improve
                                                reductions requirements under the                                            Trading Program created by the Revised                           emissions performance at individual
                                                proposed rule. In order to eliminate                                         CSAPR Update. Affected EGUs within                               units, offering a necessary measure of
                                                significant contribution and interference                                    the borders of twelve states currently                           assurance that existing pollution
                                                with maintenance through the fourth                                          participating in the Group 3 Trading                             controls will be operated during the
                                                step of the 4-step framework, as                                             Program would remain in the program,                             ozone season, as described in Section
                                                described in Section VII of this                                             with revised provisions beginning in the                         VII of this proposed rule. This proposal
                                                proposed rule, the EPA is establishing                                       2023 ozone season, under this proposed                           does not revise the budget stringency
                                                emissions budgets for EGUs within the                                        rule: Illinois, Indiana, Kentucky,                               and geography of the existing CSAPR
                                                borders of 25 states that reflect the                                        Louisiana, Maryland, Michigan, New                               NOX Ozone Season Group 1 trading
                                                remaining allowable emissions after the                                      Jersey, New York, Ohio, Pennsylvania,
                                                                                                                                                                                              program. Aside from the eight states
                                                emissions reductions associated with                                         Virginia, and West Virginia. Affected
                                                                                                                                                                                              moving from the Group 2 trading
                                                the selected control stringency have                                         EGUs within the borders of eight states
                                                                                                                                                                                              program to the Group 3 trading program
                                                been achieved. For the same reason, the                                      currently covered by the CSAPR NOX
                                                                                                                                                                                              under the proposed rule, this proposal
                                                EPA is establishing non-EGU emissions                                        Ozone Season Group 2 Trading Program
                                                                                                                                                                                              otherwise leaves unchanged the budget
                                                limits in 23 states that result in the                                       (the ‘‘Group 2 trading program’’)—
                                                elimination of significant contribution                                      Alabama, Arkansas, Mississippi,                                  stringency of the existing CSAPR NOX
                                                from non-EGU sources in these states.                                        Missouri, Oklahoma, Tennessee, Texas,                            Ozone Season Group 2 trading program.
                                                For additional details about the test and                                    and Wisconsin—would transition from                                 The EPA is proposing preset ozone
                                                the over-control analysis, see the                                           the Group 2 program to the revised                               season NOX emissions budgets for the
                                                document titled, ‘‘Ozone Transport                                           Group 3 trading program beginning with                           2023 and 2024 ozone seasons, as
                                                Policy Analysis Proposed Rule TSD’’                                          the 2023 control period,15 and affected                          explained in Section VII.B of this
                                                included in the docket for this                                              EGUs within the borders of five states                           proposed rule and as shown in Table
                                                rulemaking.                                                                  not currently covered by any CSAPR                               I.B–1.

                                                  TABLE I.B–1—PROPOSED AND ILLUSTRATIVE CSAPR NOX OZONE SEASON GROUP 3 STATE EMISSIONS BUDGETS FOR
                                                                                 2023 THROUGH 2026 CONTROL PERIODS *
                                                                                                                                                                            Proposed         Proposed            Illustrative       Illustrative
                                                                                                                                                                            emissions        emissions           emissions          emissions
                                                                                                                                                                           budgets for      budgets for         budgets for        budgets for
                                                                                                       State                                                               2023 control     2024 control        2025 control       2026 control
                                                                                                                                                                              period           period               period             period
                                                                                                                                                                              (tons)           (tons)               (tons)             (tons)

                                                Alabama ...........................................................................................................                6,364               6,306            6,306               6,306
                                                Arkansas ..........................................................................................................                8,889               8,889            8,889               3,923
                                                Delaware ..........................................................................................................                  384                 434              434                 434
                                                Illinois ...............................................................................................................           7,364               7,463            7,463               6,115
                                                Indiana .............................................................................................................             11,151               9,391            8,714               7,791
                                                Kentucky ..........................................................................................................               11,640              11,640           11,134               7,573
                                                Louisiana ..........................................................................................................               9,312               9,312            9,179               3,752
                                                Maryland ..........................................................................................................                1,187               1,187            1,187               1,189
                                                Michigan ...........................................................................................................              10,718              10,718           10,759               6,114
                                                Minnesota ........................................................................................................                 3,921               3,921            3,910               2,536
                                                Mississippi ........................................................................................................               5,024               4,400            4,400               1,914
                                                Missouri ............................................................................................................             11,857              11,857           10,456               7,246
                                                Nevada .............................................................................................................               2,280               2,372            2,372               1,211
                                                New Jersey ......................................................................................................                    799                 799              799                 799
                                                New York .........................................................................................................                 3,763               3,763            3,763               3,238
                                                Ohio .................................................................................................................             8,369               8,369            8,369               8,586
                                                Oklahoma .........................................................................................................                10,265               9,573            9,393               4,275
                                                Pennsylvania ....................................................................................................                  8,855               8,855            8,855               6,819
                                                Tennessee .......................................................................................................                  4,234               4,234            4,008               4,008
                                                Texas ...............................................................................................................             38,284              38,284           36,619              21,946
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                                                Utah .................................................................................................................            14,981              15,146           15,146               2,620
                                                Virginia .............................................................................................................             3,090               2,814            2,948               2,567
                                                West Virginia ....................................................................................................                12,478              12,478           12,478              10,597
                                                Wisconsin .........................................................................................................                5,963               5,057            4,198               3,473

                                                  15 The EPA would deem participation in the                                 NAAQS (for all eight states), the 1997 ozone                     are currently being addressed by participation of
                                                Group 3 trading program by the EGUs in these eight                           NAAQS (for all the states except Texas), and the                 the states’ EGUs in the Group 2 trading program.
                                                states as also addressing the respective states’ good                        1979 ozone NAAQS (for Alabama, Missouri, and
                                                neighbor obligations with respect to the 2008 ozone                          Tennessee) to the same extent that those obligations



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                                                  TABLE I.B–1—PROPOSED AND ILLUSTRATIVE CSAPR NOX OZONE SEASON GROUP 3 STATE EMISSIONS BUDGETS FOR
                                                                            2023 THROUGH 2026 CONTROL PERIODS *—Continued
                                                                                                                                                                      Proposed         Proposed           Illustrative    Illustrative
                                                                                                                                                                      emissions        emissions          emissions       emissions
                                                                                                                                                                     budgets for      budgets for        budgets for     budgets for
                                                                                                     State                                                           2023 control     2024 control       2025 control    2026 control
                                                                                                                                                                        period           period              period          period
                                                                                                                                                                        (tons)           (tons)              (tons)          (tons)

                                                Wyoming ..........................................................................................................           9,125              8,573            8,573           4,490
                                                   * Further information on the state-level emissions budget calculations pertaining to Table I.B–1 is provided in Section VII.B.4 of this proposed
                                                rule as well as the Ozone Transport Policy Analysis Proposed Rule TSD. Further information on the proposed approach for allocating a portion
                                                of Utah’s emissions budget for each control period to the existing EGU in the Uintah and Ouray Reservation within Utah’s borders is provided in
                                                Section VII.B.9 of this proposed rule.


                                                   Beyond preset emissions budgets for                                   rates would be subject to increased                            will apply during the ozone season
                                                the 2023 and 2024 control periods, the                                   allowance surrender requirements                               (annually from May to September) for
                                                EPA also proposes to extend the Group                                    under the trading program. The                                 seven non-EGU industries in the
                                                3 trading program budget-setting                                         backstop daily emissions rates would                           promulgated FIPs to achieve the
                                                methodology used in the Revised                                          work in tandem with the ozone season                           required emissions reductions in 23
                                                CSAPR Update so as to routinely set                                      emissions budgets to offer downwind                            states with remaining interstate
                                                emissions budgets for each future                                        stakeholders a necessary measure of                            transport obligations for the 2015 ozone
                                                control period (beginning in 2025) in                                    assurance that they will be protected on                       NAAQS in 2026: Arkansas, California,
                                                the year before that control period, with                                a daily basis during the ozone season by                       Illinois, Indiana, Kentucky, Louisiana,
                                                each emissions budget reflecting the                                     continuous operation of installed                              Maryland, Michigan, Minnesota,
                                                latest available information on the                                      pollution controls. The EPA’s                                  Mississippi, Missouri, Nevada, New
                                                composition and utilization of the EGU                                   experience with the CSAPR trading                              Jersey, New York, Ohio, Oklahoma,
                                                fleet at the time that emissions budget                                  programs has revealed instances where                          Pennsylvania, Texas, Utah, Virginia,
                                                is determined (see Table VII.B.4.c–2 for                                 EGUs have reduced their SCRs’                                  West Virginia, Wisconsin, and
                                                illustrative examples of dynamic budget                                  performance on a given day, or across                          Wyoming. These requirements would
                                                calculations that the EPA will publish                                   the entire ozone seasons in some cases,                        apply to all existing emissions units and
                                                in advance of each ozone season,                                         including high ozone days.16 In addition                       to any future emissions units
                                                effective for the 2025 control period and                                to maintaining a mass-based seasonal                           constructed in the covered states after
                                                beyond). The stringency of the dynamic                                   requirement, the EPA proposes to                               promulgation of the final rule. Thus, the
                                                emissions budgets would simply reflect                                   require controls while maintaining as                          emissions limits for non-EGU sources
                                                the stringency of the emissions control                                  much compliance flexibility as possible                        and associated compliance requirements
                                                strategies selected in the rulemaking                                    through a unit-level emission rate                             would apply in all 23 states listed in
                                                more consistently over time and ensure                                   designed to ensure that controls operate                       this paragraph, even if certain of these
                                                that the annual updates would eliminate                                  continuously and that required                                 states do not currently have existing
                                                emissions determined to be unlawful                                      reductions occur on the highest ozone                          emissions units within a particular
                                                under the good neighbor provision. See                                   days. These trading program                                    industry.
                                                Section VII.B of this proposed rule for                                  improvements also promote consistent
                                                additional discussion of EPA’s proposed                                  emissions control performance across                              Based on our evaluation of the time
                                                method for adjusting emissions budgets                                   the power sector, which protects                               required to install controls at the types
                                                to ensure elimination of significant                                     communities living in downwind ozone                           of non-EGU sources covered by this
                                                contribution from EGU sources in the                                     nonattainment areas from exceedances                           proposed rule, the EPA has identified
                                                linked upwind states.                                                    of the NAAQS that might otherwise                              the 2026 ozone season as the earliest
                                                   As an enhancement to the structure of                                 occur.                                                         compliance date possible for non-EGU
                                                the trading program as originally                                                                                                       emissions reductions. The EPA is
                                                                                                                            The EPA proposes to include
                                                promulgated in the Revised CSAPR                                                                                                        therefore proposing to include non-EGU
                                                                                                                         enforceable emissions standards that
                                                Update, the EPA is also proposing to                                                                                                    emissions reductions beginning in 2026.
                                                establish backstop daily emissions rates                                    16 See 86 FR 23090. The EPA highlighted the
                                                                                                                                                                                        For sources located in the 23 states
                                                for coal steam units greater than or                                     Miami Fort Unit 7 (possessing a SCR) more than
                                                                                                                                                                                        listed in the previous paragraph, The
                                                equal to 100 MW in covered states.                                       tripled its ozone-season NOX emission rate between             EPA proposes to require the emissions
                                                Units emitting in excess of these daily                                  2017 and 2019.                                                 limits listed in Table I.B–2 for
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                                                reciprocating internal combustion                                           TABLE I.B–2—SUMMARY OF PRO-                                  TABLE I.B–3—SUMMARY OF PRO-
                                                engines in Pipeline Transportation of                                       POSED NOX EMISSIONS LIMITS FOR                               POSED NOX EMISSIONS LIMITS FOR
                                                Natural Gas; the emissions limits listed                                    PIPELINE TRANSPORTATION OF NAT-                              KILN TYPES IN CEMENT AND CON-
                                                in Table I.B–3 for kilns in Cement and                                      URAL GAS                                                     CRETE PRODUCT MANUFACTURING
                                                Cement Product Manufacturing; the
                                                emissions limits listed in Table I.B–4 for                                                                         Proposed NOX                                                  Proposed NOX
                                                                                                                              Engine type and fuel                                                                               emissions limit
                                                boilers and furnaces in Iron and Steel                                                                             emissions limit                  Kiln type                       (lb/ton of
                                                Mills and Ferroalloy Manufacturing; the                                                                                                                                              clinker)
                                                emissions limits listed in Table I.B–5 for                              Natural Gas Fired Four                     1.0 g/hp-hr.
                                                                                                                          Stroke Rich Burn.
                                                furnaces in Glass and Glass Product                                                                                                   Long Wet ..............................               4.0
                                                                                                                        Natural Gas Fired Four                     1.5 g/hp-hr.
                                                Manufacturing; and the emissions limits                                   Stroke Lean Burn.
                                                                                                                                                                                      Long Dry ...............................              3.0
                                                listed in Table I.B–6 for high-emitting                                                                                               Preheater ..............................              3.8
                                                                                                                        Natural Gas Fired Two                      3.0 g/hp-hr.       Precalciner ............................              2.3
                                                equipment and large boilers in Basic                                      Stroke Lean Burn.                                           Preheater/Precalciner ...........                     2.8
                                                Chemical Manufacturing, Petroleum and
                                                Coal Products Manufacturing, and Pulp,                                                                                                  The EPA is also proposing a source
                                                Paper, and Paperboard Mills.                                                                                                          cap limit expressed in ton per day (tpd)
                                                                                                                                                                                      of NOX for each individual cement plant
                                                                                                                                                                                      according to the following equation.17


                                                                                             CAP2015 Ozone Transport= (KW x NW)+ (KD x ND)
                                                                                                                      (2000 pounds x 365 days)
                                                                                                                              ton        year

                                                Where:                                                                  ND = the average annual production in tons                      An affected cement plant will need to
                                                CAP2015 Ozone Transport = total allowable                                  of clinker plus one standard deviation                     comply with both the source cap limit
                                                   NOX emissions from all cement kilns                                     for the three most recent calendar years                   and the specific NOX emissions limits
                                                   located at one cement plant, in tons per                                from all dry preheater-precalciner or
                                                                                                                           precalciner kilns located at one cement
                                                                                                                                                                                      assigned to its individual kiln type(s).
                                                   day, on a 30-operating day rolling
                                                   average basis;                                                          plant; and                                                 Refer to Section VII.C.2 of this proposed
                                                KD = 1.7 pounds NOX per ton of clinker for                              NW = the average annual production in tons                    rule for additional information
                                                   dry preheater-precalciner or precalciner                                of clinker plus one standard deviation                     concerning the application of the source
                                                   kilns;                                                                  for the 3 most recent calendar years from                  cap limit to this industry source group.
                                                KW = 3.4 pounds NOX per ton of clinker for                                 all long wet kilns located at one cement
                                                   long wet kilns;                                                         plant.

                                                     TABLE I.B–4—SUMMARY OF PROPOSED NOX EMISSIONS LIMITS FOR IRON AND STEEL AND FERROALLOY EMISSIONS
                                                                                                 UNITS
                                                                                                                                                                        Proposed NOX emissions standard or requirement
                                                                                         Emissions unit                                                                            (lbs/hour or lb/mmBtu)

                                                Blast Furnace ...........................................................................................   0.03 lb/mmBtu.
                                                Basic Oxygen Furnace .............................................................................          0.07 lb/ton.
                                                Electric Arc Furnace .................................................................................      0.15 lb/ton steel.
                                                Ladle/tundish Preheaters ..........................................................................         0.06 lb/mmBtu.
                                                Reheat furnace .........................................................................................    0.05 lb/mmBtu.
                                                Annealing Furnace ...................................................................................       0.06 lb/mmBtu.
                                                Vacuum Degasser ....................................................................................        0.03 lb/mmBtu.
                                                Ladle Metallurgy Furnace .........................................................................          0.1 lb/ton.
                                                Taconite production kilns ..........................................................................        Work practice standard to install low NOX technology/burners, test and
                                                                                                                                                              set.
                                                Coke ovens (charging and coking) ..........................................................                 0.6 lb/ton of coal charged.
                                                Coke ovens (pushing) ..............................................................................         0.015 lb/ton of coal pushed.
                                                Boilers—Coal ............................................................................................   0.20 lb/mmBtu.
                                                Boilers—Residual oil ................................................................................       0.20 lb/mmBtu.
                                                Boilers—Distillate oil .................................................................................    0.12 lb/mmBtu.
                                                Boilers—Natural gas .................................................................................       0.08 lb/mmBtu.
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                                                   17 Based on source cap equation at 30 TAC                            Docket ID No. EPA–R06–OAR–2007–1147, also see                 20210527223433/https://www.tceq.texas.gov/
                                                                                                                                                                                                                                                   EP06AP22.000</GPH>




                                                § 117.3123(b); January 14, 2009 (74 FR 1927),                           https://wayback.archive-it.org/414/                           assets/public/legal/rules/rules/pdflib/117e.pdf.



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                                                      TABLE IV.B–5—SUMMARY OF PROPOSED NOX EMISSIONS LIMITS FOR FURNACE UNIT TYPES IN GLASS AND GLASS
                                                                                        PRODUCT MANUFACTURING
                                                                                                                                                                                                                                   Proposed NOX
                                                                                                                                                                                                                                   emissions limit
                                                                                                                                   Furnace type                                                                                    (lb/ton of glass
                                                                                                                                                                                                                                      produced)

                                                Container Glass Manufacturing Furnace .....................................................................................................................................                       4.0
                                                Pressed/Blown Glass Manufacturing Furnace or Fiberglass Manufacturing Furnace ................................................................                                                    4.0
                                                Flat Glass Manufacturing Furnace ..............................................................................................................................................                   9.2


                                                    TABLE I.B–6—SUMMARY OF PRO-                                            authority for this proposed rule, the                                      the proposed rule; Section IX of this
                                                    POSED NOX EMISSIONS LIMITS FOR                                         relationship of the proposed rule to                                       proposed rule describes the expected
                                                    HIGH-EMITTING EQUIPMENT AND                                            previous interstate ozone transport                                        costs, benefits, and other impacts of this
                                                    LARGE BOILERS IN BASIC CHEMICAL                                        rulemakings, and the incremental costs                                     proposed rule; Section X of this
                                                                                                                           and benefits of the proposed rule;                                         proposed rule provides a summary of
                                                    MANUFACTURING, PETROLEUM AND                                           Section IV of this proposed rule                                           proposed changes to the existing
                                                    COAL PRODUCTS MANUFACTURING,                                           describes the human health and                                             regulatory text; and Section XI of this
                                                    AND PULP, PAPER, AND PAPER-                                            environmental challenges posed by                                          proposed rule discusses the statutory
                                                    BOARD MILLS                                                            interstate transport contributions to                                      and executive orders affecting this
                                                                                                                           ozone air quality problems, as well as                                     proposed rulemaking.
                                                                                                Emissions limit            EPA’s overall approach for addressing
                                                               Unit type                          (lbs NOX/                                                                                           C. Costs and Benefits
                                                                                                   mmBtu)                  interstate transport for the 2015 ozone
                                                                                                                           NAAQS in this proposed rule; Section
                                                                                                                                                                                                         A summary of the key results of the
                                                Coal ......................................                     0.20       V of this proposed rule describes the
                                                                                                                                                                                                      cost-benefit analysis that was prepared
                                                Residual oil ...........................                        0.20       Agency’s analyses of air quality data to
                                                Distillate oil ...........................                      0.12       inform this proposed rulemaking,                                           for this proposed rule is presented in
                                                Natural gas ...........................                         0.08       including descriptions of the air quality                                  Table I.C–1. Table I.C–1 presents
                                                                                                                           modeling platform and emissions                                            estimates of the present values (PV) and
                                                  Refer to Section VII.C of this proposed                                  inventories used in the proposed rule,                                     equivalent annualized values (EAV),
                                                rule for applicability criteria,                                           as well as EPA’s methods for identifying                                   calculated using discount rates of 3 and
                                                compliance assurance requirements,                                         downwind air quality problems and                                          7 percent as directed by OMB’s Circular
                                                and the EPA’s rationale in proposing                                       upwind states’ ozone transport                                             A–4, of the health benefits, compliance
                                                these emissions limits for each of the                                     contributions to downwind states;                                          costs, and net benefits of the proposed
                                                non-EGU industries covered by the                                          Section VI of this proposed rule                                           rule, in 2016 dollars, discounted to
                                                proposed rule. In addition, the EPA                                        describes EPA’s approach to quantifying                                    2022. The estimated monetized net
                                                requests comment on several topics                                         upwind states’ obligations in the form of                                  benefits are the estimated monetized
                                                regarding the implementation of                                            EGU NOX control stringencies and non-                                      benefits minus the estimated monetized
                                                emissions limits for non-EGU sources                                       EGU emissions limits; Section VII of                                       costs of the proposed rule. These results
                                                that are proposed in this rulemaking,                                      this proposed rule describes key                                           present an incomplete overview of the
                                                including controls on emissions units                                      elements of the implementation                                             effects of the proposal, because
                                                and control installation timing. See                                       schedule for EGU and non-EGU                                               important categories of benefits—
                                                Section VI.D.2.a of this proposed rule                                     emissions reductions requirements,                                         including benefits from reducing
                                                for a list of detailed questions on which                                  including details regarding the revised                                    climate pollution, other types of air
                                                the Agency is soliciting public                                            aspects of the CSAPR NOX Group 3                                           pollutants, and water pollution—were
                                                comment.                                                                   trading program and compliance                                             not monetized and are therefore not
                                                  The remainder of this preamble is                                        deadlines, as well as regulatory                                           reflected in the cost-benefit tables. We
                                                organized as follows: Section III of this                                  requirements and compliance deadlines                                      anticipate that taking non-monetized
                                                proposed rule outlines general                                             for non-EGU sources; Section VIII of this                                  effects into account would show the
                                                applicability criteria for the proposed                                    proposed rule discusses the                                                proposal to be more net beneficial than
                                                rule and describes the EPA’s legal                                         environmental justice considerations of                                    this table reflects.

                                                    TABLE I.C–1—ESTIMATED MONETIZED BENEFITS, COMPLIANCE COSTS, AND NET BENEFITS OF THE PROPOSED RULE,
                                                                                           2023 THROUGH 2042
                                                                                                                                  [Millions 2016$, discounted to 2022] a

                                                                                                                                                                                                             3% Discount rate     7% Discount rate

                                                Present Value:
                                                    Benefits b ...........................................................................................................................................             250,000               150,000
                                                    Compliance Costs c ..........................................................................................................................                       22,000                14,000
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                                                             Net Benefits ...............................................................................................................................              220,000               130,000

                                                Equivalent Annualized Value:
                                                    Benefits .............................................................................................................................................              17,000                14,000
                                                    Compliance Costs ............................................................................................................................                        1,500                 1,300




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                                                   TABLE I.C–1—ESTIMATED MONETIZED BENEFITS, COMPLIANCE COSTS, AND NET BENEFITS OF THE PROPOSED RULE,
                                                                                     2023 THROUGH 2042—Continued
                                                                                                                           [Millions 2016$, discounted to 2022] a

                                                                                                                                                                                                     3% Discount rate   7% Discount rate

                                                                 Net Benefits ....................................................................................................................             15,000              12,000
                                                   a Rows may not appear to add correctly due to rounding.
                                                   b The annualized present value of costs and benefits are calculated over a 20-year period from 2023 to 2042. Monetized benefits include those
                                                related to public health associated with reductions in PM2.5 and ozone concentrations. The health benefits are associated with several point esti-
                                                mates and are presented at real discount rates of 3 and 7 percent. Several categories of benefits remain unmonetized and are thus not reflected
                                                in the table. Non-monetized benefits include important climate benefits from reductions in CO2 emissions. The U.S. District Court for the Western
                                                District of Louisiana has issued an injunction concerning the monetization of the benefits of greenhouse gas emission reductions by EPA and
                                                other defendants. See Louisiana v. Biden, No. 21–cv–01074–JDC–KK (W.D. La. Feb. 11, 2022). Therefore, such values are not presented in the
                                                benefit-cost analysis of this proposal conducted pursuant to E.O. 12866. Please see Chapter 5, Section 5.2 of the RIA for more discussion. In
                                                addition, there are important unquantified water quality benefits and benefits associated with reductions in other air pollutants.
                                                   c The costs presented in this table are consistent with the costs presented in Chapter 4 of the RIA. To estimate these annualized costs, EPA
                                                uses a conventional and widely accepted approach that applies a capital recovery factor (CRF) multiplier to capital investments and adds that to
                                                the annual incremental operating expenses. Costs were calculated using a 3.76% real discount rate consistent with the rate used in IPM’s objec-
                                                tive function for cost-minimization.


                                                   As shown in Table I.C–1, the PV of                              information about CBI or multimedia                                        Information not marked as CBI will be
                                                the benefits, associated with reductions                           submissions, and general guidance on                                       included in the public docket and the
                                                in PM2.5 and ozone concentrations, of                              making effective comments, please visit                                    EPA’s electronic public docket without
                                                this proposed rule, discounted at a 3-                             https://www.epa.gov/dockets/                                               prior notice. Information marked as CBI
                                                percent discount rate, is estimated to be                          commenting-epa-dockets.                                                    will not be disclosed except in
                                                about $250,000 million, with an EAV of                               Due to public health concerns related                                    accordance with procedures set forth in
                                                about $17,000 million. At a 7-percent                              to COVID–19, the EPA Docket Center                                         40 Code of Federal Regulations (CFR)
                                                discount rate, the PV of the benefits is                           and Reading Room are open to the                                           part 2. Our preferred method to receive
                                                estimated to be $150,000 million, with                             public by appointment only. Our Docket                                     CBI is for it to be transmitted to
                                                an EAV of about $14,000 million. The                               Center staff also continues to provide                                     electronically using email attachments,
                                                PV of the compliance costs, discounted                             remote customer service via email,                                         File Transfer Protocol (FTP), or other
                                                at a 3-percent rate, is estimated to be                            phone, and webform. Hand deliveries or                                     online file sharing services (e.g.,
                                                about $22,000 million, with an EAV of                              couriers will be received by scheduled                                     Dropbox, OneDrive, Google Drive).
                                                about $1,500 million. At a 7-percent                               appointment only. For further                                              Electronic submissions must be
                                                discount rate, the PV of the compliance                            information and updates on EPA Docket                                      transmitted directly to the OAQPS CBI
                                                costs is estimated to be about $14,000                             Center services, please visit us online at                                 Office using the email address,
                                                million, with an EAV of about $1,300                               https://www.epa.gov/dockets.                                               oaqpscbi@epa.gov, and should include
                                                million.                                                             The EPA continues to carefully and                                       clear CBI markings as described above.
                                                                                                                   continuously monitor information from                                      If assistance is needed with submitting
                                                II. Public Participation                                           the Centers for Disease Control and                                        large electronic files that exceed the file
                                                A. Written Comments                                                Prevention (CDC), local area health                                        size limit for email attachments, and if
                                                                                                                   departments, and our Federal partners                                      you do not have your own file sharing
                                                  Submit your comments, identified by                              so that we can respond rapidly as                                          service, please email oaqpscbi@epa.gov
                                                Docket ID No. EPA–HQ–OAR–2021–                                     conditions change regarding COVID–19.                                      to request a file transfer link. If sending
                                                0668 at https://www.regulations.gov                                                                                                           CBI information through the postal
                                                (our preferred method), or the other                               B. Submitting Confidential Business
                                                                                                                   Information                                                                service, please send it to the following
                                                methods identified in the ADDRESSES                                                                                                           address: OAQPS Document Control
                                                section. Once submitted, comments                                    Do not submit information containing                                     Officer (C404–02), OAQPS, U.S.
                                                cannot be edited or removed from the                               CBI to the EPA through https://                                            Environmental Protection Agency,
                                                docket. The EPA may publish any                                    www.regulations.gov. Clearly mark the                                      Research Triangle Park, North Carolina
                                                comment received to its public docket.                             part or all of the information that you                                    27711, Attention Docket ID No. EPA–
                                                Do not submit to EPA’s docket at                                   claim to be CBI. For CBI information on                                    HQ–OAR–2021–0668. The mailed CBI
                                                https://www.regulations.gov any                                    any digital storage media that you mail                                    material should be double wrapped and
                                                information you consider to be                                     to the EPA, mark the outside of the                                        clearly marked. Any CBI markings
                                                Confidential Business Information (CBI)                            digital storage media as CBI and then                                      should not show through the outer
                                                or other information whose disclosure is                           identify electronically within the digital                                 envelope.
                                                restricted by statute. Multimedia                                  storage media the specific information
                                                submissions (audio, video, etc.) must be                           that is claimed as CBI. In addition to                                     C. Participation in Virtual Public
                                                accompanied by a written comment.                                  one complete version of the comments                                       Hearing
                                                The written comment is considered the                              that includes information claimed as                                          Please note that because of current
                                                official comment and should include                                CBI, you must submit a copy of the                                         CDC recommendations, as well as state
                                                discussion of all points you wish to                               comments that does not contain the
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                                                                                                                                                                                              and local orders for social distancing to
                                                make. The EPA will generally not                                   information claimed as CBI directly to                                     limit the spread of COVID–19, the EPA
                                                consider comments or comment                                       the public docket through the                                              cannot hold in-person public meetings
                                                contents located outside of the primary                            procedures outlined in Instructions                                        at this time.
                                                submission (i.e., on the web, cloud, or                            earlier. If you submit any digital storage                                    The EPA will begin pre-registering
                                                other file sharing system). For                                    media that does not contain CBI, mark                                      speakers for the hearing no later than 1
                                                additional submission methods, the full                            the outside of the digital storage media                                   business day after publication of this
                                                EPA public comment policy,                                         clearly that it does not contain CBI.                                      document in the Federal Register. To


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                                                register to speak at the virtual hearing,               III. General Information                                     of the CAA. The EPA will ensure that
                                                please use the online registration form                                                                              these NOX emissions reductions are
                                                                                                        A. Does this action apply to me?
                                                available at https://www.epa.gov/csapr/                                                                              achieved by issuing proposed FIP
                                                csapr-2015-ozone-naaqs. The last day to                    This proposed rule affects EGU and                        requirements for 26 states: Alabama,
                                                pre-register to speak at the hearing will               non-EGU sources, and regulates the                           Arkansas, California, Delaware, Illinois,
                                                be April 21, 2022. The EPA will post a                  groups identified in Table III.A–1.                          Indiana, Kentucky, Louisiana,
                                                general agenda for the hearing that will                                                                             Maryland, Michigan, Minnesota,
                                                list pre-registered speakers in                           TABLE III.A–1—REGULATED GROUPS Mississippi, Missouri, Nevada, New
                                                approximate order at: https://                                                                                       Jersey, New York, Ohio, Oklahoma,
                                                www.epa.gov/csapr/csapr-2015-ozone-                                  Industry group                           NAICS  Pennsylvania, Tennessee, Texas, Utah,
                                                naaqs.                                                                                                               Virginia, West Virginia, Wisconsin, and
                                                                                                        Fossil fuel-fired electric power gen-                        Wyoming.
                                                   The virtual public hearing will be                      eration .........................................  221112
                                                held on via teleconference on April 21,                                                                                 The EPA is proposing to revise the
                                                                                                        Pipeline Transportation of Natural
                                                2022. The virtual public hearing will                                                                                existing CSAPR Group 3 Trading
                                                                                                           Gas ..............................................   4862
                                                convene at 10:00 a.m. Eastern Time (ET)                 Cement and Concrete Product                                  Program to include additional states
                                                and will conclude at 7:00 p.m. ET. The                     Manufacturing .............................          3273 beginning in the 2023 ozone season.
                                                EPA may close a session 15 minutes                      Iron and Steel Mills and Ferroalloy                          EGUs in five states not currently
                                                after the last pre-registered speaker has                  Manufacturing .............................          3311 covered by any CSAPR trading program
                                                testified if there are no additional                    Glass and Glass Product Manufac-                             for seasonal NOX emissions—Delaware,
                                                                                                           turing ...........................................   3272 Minnesota, Nevada, Utah, and
                                                speakers. For information or questions                  Basic Chemical Manufacturing .......                    3251 Wyoming—would be added to the
                                                about the public hearing, please contact                Petroleum and Coal Products Man-                             CSAPR Group 3 Trading Program under
                                                Ms. Holly DeJong at Dejong.holly@                          ufacturing ....................................      3241 this proposed rule. EGUs in twelve
                                                epa.gov. The EPA will announce further                  Pulp, Paper, and Paperboard Mills                       3221
                                                                                                                                                                     states currently participating in the
                                                details at https://www.epa.gov/csapr/
                                                                                                                                                                     Group 3 Trading Program would remain
                                                csapr-2015-ozone-naaqs.                                    This table is not intended to be                          in the program under this proposed
                                                   The EPA will make every effort to                    exhaustive, but rather provides a guide                      rule: Illinois, Indiana, Kentucky,
                                                follow the schedule as closely as                       for readers regarding entities likely to be Louisiana, Maryland, Michigan, New
                                                possible on the day of the hearing;                     regulated by this proposed rule. This                        Jersey, New York, Ohio, Pennsylvania,
                                                however, please plan for the hearings to                table lists the types of entities that the                   Virginia, and West Virginia. EGUs in
                                                run either ahead of schedule or behind                  EPA is now aware could potentially be                        eight states (Alabama, Arkansas,
                                                schedule.                                               regulated by this proposed rule. Other                       Mississippi, Missouri, Oklahoma,
                                                   Each commenter will have 5 minutes                   types of entities not listed in the table                    Tennessee, Texas, and Wisconsin) will
                                                to provide oral testimony. The EPA                      could also be regulated. For example,                        transition from the CSAPR Group 2
                                                encourages commenters to provide the                    the EPA is requesting comment in                             Trading Program to the CSAPR Group 3
                                                EPA with a copy of their oral testimony                 Section VI.B.3 of this proposed rule on                      Trading Program under this proposed
                                                electronically (via email) by emailing it               potential control strategies for sources                     rule beginning in the 2023 ozone
                                                to Dejong.holly@epa.gov. The EPA also                   outside of the categories listed in the                      season. The EPA proposes to establish
                                                recommends submitting the text of your                  Table III.A.1, such as municipal waste                       control stringency levels reflecting
                                                oral comments as written comments to                    combustors (MWCs). To determine                              installation of state-of-the-art
                                                the rulemaking docket.                                  whether your EGU entity is proposed to combustion controls on certain covered
                                                                                                        be regulated by this proposed rule, you                      EGU sources in emissions budgets
                                                   The EPA may ask clarifying questions                 should carefully examine the
                                                during the oral presentations, but will                                                                              beginning in the 2024 ozone season. The
                                                                                                        applicability criteria found in 40 CFR                       EPA proposes to establish control
                                                not respond to the presentations at that                97.1004, which the EPA is not
                                                time. Written statements and supporting                                                                              stringency levels reflecting installation
                                                                                                        proposing to alter in this proposed rule. of new SCR or SNCR controls on certain
                                                information submitted during the                        If you have questions regarding the
                                                comment period will be considered                                                                                    covered EGU sources in emissions
                                                                                                        applicability of this proposed rule to a                     budgets beginning in the 2026 ozone
                                                with the same weight as oral comments                   particular entity, consult the person
                                                and supporting information presented at                                                                              season.
                                                                                                        listed in the FOR FURTHER INFORMATION                           As a complement to the ozone season
                                                the public hearing.                                     CONTACT section.                                             emissions budgets, the EPA is also
                                                   Please note that any updates made to                                                                              proposing to establish backstop daily
                                                any aspect of the hearing will be posted                B. What action is the Agency taking?
                                                                                                                                                                     emissions rates of 0.14 lb/mmBtu for
                                                online at https://www.epa.gov/csapr/                       The EPA evaluated whether interstate coal-fired steam units greater than or
                                                csapr-2015-ozone-naaqs. While the EPA                   ozone transport emissions from upwind equal to 100 MW in covered states. The
                                                expects the hearing to go forward as set                states are significantly contributing to                     backstop emissions rates will first apply
                                                forth above, please monitor our website                 nonattainment, or interfering with                           in 2024 for coal-fired steam sources
                                                or contact Ms. Holly DeJong at                          maintenance, of the 2015 ozone NAAQS with existing SCRs, and in 2027 for
                                                Dejong.holly@epa.gov to determine if                    in any downwind state using the same                         those currently without SCRs.
                                                there are any updates. The EPA does not                 4-step interstate transport framework                           In this proposed rule, the EPA is
                                                intend to publish a document in the                     that was developed in previous ozone                         proposing to require emissions
                                                Federal Register announcing updates.                    transport rulemakings. The EPA is                            limitations for non-EGU sources in 23
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                                                   If you require the services of a                     proposing to find that emissions                             states: Arkansas, California, Illinois,
                                                translator or special accommodations                    reductions are required from EGU and                         Indiana, Kentucky, Louisiana,
                                                such as audio description, please pre-                  non-EGU sources in a total of 26                             Maryland, Michigan, Minnesota,
                                                register for the hearing and describe                   upwind states to eliminate significant                       Mississippi, Missouri, Nevada, New
                                                your needs by April 18, 2022. EPA may                   contribution to downwind air quality                         Jersey, New York, Ohio, Oklahoma,
                                                not be able to arrange accommodations                   problems for the 2015 ozone standard                         Pennsylvania, Texas, Utah, Virginia,
                                                without advanced notice.                                under the interstate transport provision                     West Virginia, Wisconsin, and


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                                                Wyoming. In these states, EPA is                           The EPA has historically referred to                imposing progressively more stringent
                                                proposing to require emissions                          SIP submissions made for the purpose                   control requirements. See CAA sections
                                                limitations for the following unit types                of satisfying the applicable requirements              181, 182.26 In general, states with
                                                in non-EGU industries: Furnaces in                      of CAA sections 110(a)(1) and 110(a)(2)                nonattainment areas classified as
                                                Glass and Glass Product Manufacturing;                  as ‘‘infrastructure SIP’’ or ‘‘iSIP’’                  Moderate or higher must submit plans
                                                boilers and furnaces in Iron and Steel                  submissions. CAA section 110(a)(1)                     to EPA to bring these areas into
                                                Mills and Ferroalloy Manufacturing;                     addresses the timing and general                       attainment according to the statutory
                                                kilns in Cement and Cement Product                      requirements for iSIP submissions, and                 schedule. CAA section 182.27 If an area
                                                Manufacturing; reciprocating internal                   CAA section 110(a)(2) provides more                    fails to attain the NAAQS by the
                                                combustion engines in Pipeline                          details concerning the required content                attainment date associated with its
                                                Transportation of Natural Gas; and high-                of these submissions.20 It includes a list             classification, it is ‘‘bumped up’’ to the
                                                emitting equipment and large boilers in                 of specific elements that ‘‘[e]ach such                next classification. CAA section
                                                Basic Chemical Manufacturing,                           plan’’ must address.21                                 181(b).28
                                                Petroleum and Coal Products                                CAA section 110(c)(1) requires the
                                                                                                        Administrator to promulgate a FIP at                      Section 301(a)(1) of the CAA gives the
                                                Manufacturing, and Pulp, Paper, and
                                                                                                        any time within two years after the                    Administrator the general authority to
                                                Paperboard Mill. See Table III.A–1 for a
                                                                                                        Administrator: (1) Finds that a state has              prescribe such regulations as are
                                                list of NAICS codes for each entity
                                                included for regulation under this                      failed to make a required SIP                          necessary to carry out functions under
                                                proposed rule.                                          submission; (2) finds a SIP submission                 the Act.29 Pursuant to this section, EPA
                                                   The proposed rule would reduce the                   to be incomplete pursuant to CAA                       has authority to clarify the applicability
                                                transport of ozone precursor emissions                  section 110(k)(1)(C); or (3) disapproves               of CAA requirements and undertake
                                                to downwind areas, which is protective                  a SIP submission. This obligation                      other rulemaking action as necessary to
                                                of human health and the environment                     applies unless the state corrects the                  implement CAA requirements. CAA
                                                because acute and chronic exposure to                   deficiency through a SIP revision that                 section 301 affords the Agency any
                                                ozone are both associated with negative                 the Administrator approves before the                  additional authority that may be needed
                                                health impacts. Ozone exposure is also                  FIP is promulgated.22                                  in order to make certain other changes
                                                associated with negative effects on                        CAA section 110(a)(2)(D)(i)(I), also                to its regulations under 40 CFR parts 52,
                                                ecosystems. Additional information on                   known as the ‘‘good neighbor’’                         75, 78, and 97, in order to effectuate the
                                                the human health and environmental                      provision, provides the primary basis                  purposes of the Act. Such changes are
                                                benefits from the air quality issues                    for this proposed rule.23 It requires that             discussed in Section X of this proposed
                                                addressed by this proposed rule are                     each state SIP include provisions                      rule.
                                                included in Section IV of this proposed                 sufficient to ‘‘prohibit[ ], consistent with              Section 110(k)(6) of the CAA gives the
                                                                                                        the provisions of this subchapter, any
                                                rule.                                                                                                          Administrator authority, without any
                                                                                                        source or other type of emissions
                                                                                                                                                               further submission from a state, to
                                                C. What is the Agency’s legal authority                 activity within the State from emitting
                                                                                                                                                               revise certain prior actions, including
                                                for taking this action?                                 any air pollutant in amounts which
                                                                                                                                                               actions to approve SIPs, upon
                                                                                                        will—(I) contribute significantly to
                                                1. Statutory Authority                                                                                         determining that those actions were in
                                                                                                        nonattainment in, or interfere with
                                                   The statutory authority for this                     maintenance by, any other State with                   error.30 The EPA proposes to make an
                                                proposed rule is provided by the CAA                    respect to any [NAAQS].’’ 24 The EPA                   error correction under CAA section
                                                as amended (42 U.S.C. 7401 et seq.).                    often refers to the emissions reduction                110(k)(6) with respect to its prior
                                                Specifically, sections 110 and 301 of the               requirements under this provision as                   approval of the 2015 ozone transport
                                                CAA provide the primary statutory                       ‘‘good neighbor obligations’’ and                      SIP submission from the State of
                                                underpinnings for this proposed rule.                   submissions addressing these                           Delaware. This is further discussed in
                                                The most relevant portions of CAA                       requirements as ‘‘good neighbor SIPs.’’                Section IV.C.1 of the proposed rule.
                                                section 110 are subsections 110(a)(1),                     Once EPA promulgates a NAAQS, the                      Tribes are not required to submit state
                                                110(a)(2) (including 110(a)(2)(D)(i)(I)),               EPA must designate areas as being in                   implementation plans. However, as
                                                110(c)(1), and 110(k)(6)).                              ‘‘attainment’’ or ‘‘nonattainment’’ of the             explained in EPA’s regulations outlining
                                                   CAA section 110(a)(1) provides that                  NAAQS, or ‘‘unclassifiable.’’ CAA                      Tribal Clean Air Act authority, the EPA
                                                states must make SIP submissions                        section 107(d).25 For ozone,                           is authorized to promulgate FIPs for
                                                ‘‘within 3 years (or such shorter period                nonattainment is further split into five               Indian country as necessary or
                                                as the Administrator may prescribe)                     classifications based on the severity of               appropriate to protect air quality if a
                                                after the promulgation of a national                    the violation—Marginal, Moderate,                      tribe does not submit, and obtain EPA
                                                primary ambient air quality standard (or                Serious, Severe, or Extreme. Higher                    approval of, an implementation plan.
                                                any revision thereof),’’ and that these                 classifications provide states with                    See 40 CFR 49.11(a); see also CAA
                                                SIP submissions are to provide for the                  progressively more time to attain while                section 301(d)(4).31 In this proposed
                                                ‘‘implementation, maintenance, and                                                                             rule, the EPA proposes an ‘‘appropriate
                                                enforcement’’ of such NAAQS.18 The                        20 42 U.S.C. 7410(a)(2).
                                                                                                                                                               or necessary’’ finding under CAA
                                                                                                          21 EPA’s general approach to infrastructure SIP
                                                statute directly imposes on states the                                                                         section 301(d) and proposes tribal FIP(s)
                                                                                                        submissions is explained in greater detail in
                                                duty to make these SIP submissions,                     individual notices acting or proposing to act on       as necessary to implement the relevant
                                                and the requirement to make the                         state infrastructure SIP submissions and in            requirements. This is further discussed
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                                                submissions is not conditioned upon                     guidance. See, e.g., Memorandum from Stephen D.        in Section IV.C.2 of the proposed rule.
                                                the EPA taking any action other than                    Page on Guidance on Infrastructure State
                                                                                                        Implementation Plan (SIP) Elements under Clean
                                                promulgating a new or revised                           Air Act Sections 110(a)(1) and 110(a)(2) (September     26 42 U.S.C. 7511, 7511a.
                                                NAAQS.19                                                13, 2013).                                              27 42 U.S.C. 7511a.
                                                                                                          22 42 U.S.C. 7410(c)(1).                              28 42 U.S.C. 7511(b).

                                                  18 42 U.S.C. 7410(a)(1).                                23 42 U.S.C. 7410(a)(2)(D)(i)(I).                     29 42 U.S.C. 7601(a)(1).

                                                  19 See EPA v. EME Homer City Generation, L.P.,          24 Id.                                                30 42 U.S.C. 7410(k)(6).

                                                572 U.S. 489, 509–10 (2014).                              25 42 U.S.C. 7407(d).                                 31 42 U.S.C. 7601(d)(4).




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                                                D. What actions has EPA previously                      PM2.5 and 1997 ozone NAAQS.35 On                       interpretation of various statutory
                                                issued to address regional ozone                        March 15, 2006, the EPA promulgated                    provisions and EPA’s technical
                                                transport?                                              FIPs to implement the emissions                        decisions. EME Homer City Generation,
                                                   The EPA has issued several major                     reductions required by CAIR.36 CAIR                    L.P. v. EPA, 795 F.3d 118 (2015) (EME
                                                rules interpreting and clarifying the                   was remanded to EPA by the D.C.                        Homer City II). However, the court
                                                requirements of CAA section                             Circuit in North Carolina v. EPA, 531                  remanded the rule without vacatur for
                                                110(a)(2)(D)(i)(I) with respect to the                  F.3d 896 (D.C. Cir. 2008), modified on                 reconsideration of EPA’s emissions
                                                regional transport of ozone. These rules,               reh’g, 550 F.3d 1176. For more                         budgets for certain states, which the
                                                and the associated court decisions                      information on the legal issues                        court found may have over-controlled
                                                addressing these rules, summarized                      underlying CAIR and the D.C. Circuit’s                 those states’ emissions with respect to
                                                here, provide important direction                       holding in North Carolina, refer to the                the downwind air quality problems to
                                                regarding the requirements of CAA                       preamble of the CSAPR rule.37                          which the states were linked. Id. at 129–
                                                section 110(a)(2)(D)(i)(I).                               In 2011, the EPA promulgated CSAPR                   30, 138. For more information on the
                                                   The ‘‘NOX SIP Call,’’ promulgated in                 to address the issues raised by the                    legal issues associated with CSAPR and
                                                1998, addressed the good neighbor                       remand of CAIR. CSAPR addressed the                    the Supreme Court’s and D.C. Circuit’s
                                                provision for the 1979 1-hour ozone                     two NAAQS at issue in CAIR and                         decisions in the EME Homer City
                                                NAAQS.32 The rule required 22 states                    additionally addressed the good                        litigation, refer to the preamble of the
                                                and the District of Columbia to amend                   neighbor provision for the 2006 PM2.5                  CSAPR Update.41
                                                their SIPs to reduce NOX emissions that                 NAAQS.38 CSAPR required 28 states to                      In 2016, the EPA promulgated the
                                                contribute to ozone nonattainment in                    reduce SO2 emissions, annual NOX                       CSAPR Update to address interstate
                                                downwind states. The EPA set ozone                      emissions, or ozone season NOX                         transport of ozone pollution with
                                                season NOX budgets for each state, and                  emissions that significantly contribute                respect to the 2008 ozone NAAQS.42
                                                the states were given the option to                     to other states’ nonattainment or                      The final rule updated the CSAPR ozone
                                                participate in a regional allowance                     interfere with other states’ abilities to              season NOX emissions budgets for 22
                                                trading program, known as the NOX                       maintain these air quality standards.39                states to achieve cost-effective and
                                                Budget Trading Program.33 The D.C.                      To align implementation with the                       immediately feasible NOX emissions
                                                Circuit largely upheld the NOX SIP Call                 applicable attainment deadlines, the                   reductions from EGUs within those
                                                in Michigan v. EPA, 213 F.3d 663 (D.C.                  EPA promulgated FIPs for each of the 28                states.43 The EPA aligned the analysis
                                                Cir. 2000), cert. denied, 532 U.S. 904                  states covered by CSAPR. The FIPs                      and implementation of the CSAPR
                                                (2001).                                                 require EGUs in the covered states to                  Update with the 2017 ozone season in
                                                   EPA’s next rule addressing the good                  participate in regional trading programs               order to assist downwind states with
                                                neighbor provision, the Clean Air                       to achieve the necessary emissions                     timely attainment of the 2008 ozone
                                                Interstate Rule (CAIR), was promulgated                 reductions. Each state can submit a good               NAAQS.44 The CSAPR Update
                                                in 2005 and addressed both the 1997                     neighbor SIP at any time that, if                      implemented the budgets through FIPs
                                                fine particulate matter (PM2.5) NAAQS                   approved by EPA, would replace the                     requiring sources to participate in a
                                                and 1997 ozone NAAQS.34 CAIR                            CSAPR FIP for that state.                              revised CSAPR NOX ozone season
                                                required SIP revisions in 28 states and                   CSAPR was the subject of an adverse                  trading program beginning with the
                                                the District of Columbia to reduce                      decision by the D.C. Circuit in August                 2017 ozone season. As under CSAPR,
                                                emissions of sulfur dioxide (SO2) or                    2012.40 However, this decision was                     each state could submit a good neighbor
                                                NOX—important precursors of                             reversed in April 2014 by the Supreme                  SIP at any time that, if approved by the
                                                regionally transported PM2.5 (SO2 and                   Court, which largely upheld the rule,                  EPA, would replace the CSAPR Update
                                                annual NOX) and ozone (summer-time                      including EPA’s approach to addressing                 FIP for that state. The final CSAPR
                                                NOX). As in the NOX SIP Call, states                    interstate transport in CSAPR. EPA v.                  Update also addressed the remand by
                                                were given the option to participate in                 EME Homer City Generation, L.P., 572                   the D.C. Circuit of certain states’ CSAPR
                                                regional trading programs to achieve the                U.S. 489 (2014) (EME Homer City I). The                phase 2 ozone season NOX emissions
                                                reductions. When the EPA promulgated                    rule was remanded to the D.C. Circuit to               budgets in EME Homer City II.
                                                the final CAIR in 2005, the EPA also                    consider claims not addressed by the                      In December 2018, the EPA
                                                                                                        Supreme Court. Id. In July 2015 the D.C.               promulgated the CSAPR ‘‘Close-Out,’’
                                                issued findings that states nationwide
                                                                                                        Circuit generally affirmed EPA’s                       which determined that no further
                                                had failed to submit SIPs to address the
                                                requirements of CAA section                               35 70 FR 21147 (April 25, 2005).
                                                                                                                                                               enforceable reductions in emissions of
                                                110(a)(2)(D)(i) with respect to the 1997                  36 71 FR 25328 (April 28, 2006).
                                                                                                                                                               NOX were required with respect to the
                                                                                                           37 Federal Implementation Plans: Interstate
                                                  32 Finding of Significant Contribution and                                                                      41 Cross-State Air Pollution Rule Update for the
                                                                                                        Transport of Fine Particulate Matter and Ozone and
                                                Rulemaking for Certain States in the Ozone              Correction of SIP Approvals, 76 FR 48208, 48217        2008 Ozone NAAQS, 81 FR 74504, 74511 (October
                                                Transport Assessment Group Region for Purposes of       (August 8, 2011).                                      26, 2016).
                                                Reducing Regional Transport of Ozone, 63 FR                38 76 FR 48208.                                        42 81 FR 74504.

                                                57356 (Oct. 27, 1998). As originally promulgated,          39 CSAPR was revised by several rulemakings            43 One state, Kansas, was made newly subject to
                                                the NOX SIP Call also addressed good neighbor           after its initial promulgation in order to revise      ozone season NOX requirements by the CSAPR
                                                obligations under the 1997 8-hour ozone NAAQS,          certain states’ budgets and to promulgate FIPs for     Update. All other CSAPR Update states were
                                                but EPA subsequently stayed and later rescinded         five additional states addressing the good neighbor    already subject to ozone season NOX requirements
                                                the rule’s provisions with respect to that standard.    obligation for the 1997 ozone NAAQS. See 76 FR         under CSAPR.
                                                See 84 FR 8422 (March 8, 2019).                         80760 (December 27, 2011); 77 FR 10324 (February          44 81 FR 74516. EPA’s final 2008 Ozone NAAQS
                                                   33 ‘‘Allowance Trading,’’ sometimes referred to as
                                                                                                        21, 2012); 77 FR 34830 (June 12, 2012).                SIP Requirements Rule, 80 FR 12264, 12268 (March
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                                                ‘‘cap and trade,’’ is an approach to reducing              40 On August 21, 2012, the D.C. Circuit issued a    6, 2015), revised the attainment deadline for ozone
                                                pollution that has been used successfully to protect    decision in EME Homer City Generation, L.P. v.         nonattainment areas designated as Moderate to July
                                                human health and the environment. The design            EPA, 696 F.3d 7 (D.C. Cir. 2012), vacating CSAPR.      20, 2018. See 40 CFR 51.1103. In order to
                                                elements of EPA’s most recent trading programs are      The EPA sought review with the D.C. Circuit en         demonstrate attainment by this deadline, states
                                                discussed in Section VII.B.1.a of this proposed rule.   banc and the D.C. Circuit declined to consider         were required to rely on design values calculated
                                                   34 Rule To Reduce Interstate Transport of Fine       EPA’s appeal en banc. EME Homer City Generation,       using ozone season data from 2015 through 2017,
                                                Particulate Matter and Ozone (Clean Air Interstate      L.P. v. EPA, No. 11–1302 (D.C. Cir. January 24,        since the July 20, 2018, deadline did not afford
                                                Rule); Revisions to Acid Rain Program; Revisions to     2013), ECF No. 1417012 (denying EPA’s motion for       enough time for measured data of the full 2018
                                                the NOX SIP Call, 70 FR 25162 (May 12, 2005).           rehearing en banc).                                    ozone season.



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                                                2008 ozone NAAQS for 20 of the 22                       emissions budgets for EGUs beginning                    nonattainment classification, see CAA
                                                eastern states covered by the CSAPR                     with the 2021 ozone season. Based on                    sections 181, 182.
                                                Update, and reflected that                              EPA’s assessment of remaining air                          In the process of setting the 2015
                                                determination in revisions to the                       quality issues and additional emissions                 ozone NAAQS, the EPA noted that the
                                                existing state-specific sections of the                 control strategies for EGUs and                         conditions conducive to the formation
                                                CSAPR Update regulations for those                      emissions sources in other industry                     of ozone (i.e., seasonally-dependent
                                                states.45                                               sectors (non-EGUs), the EPA determined                  factors such as ambient temperature,
                                                  The CSAPR Update and the CSAPR                        that the NOX emissions reductions                       strength of solar insolation, and length
                                                Close-Out were both subject to legal                    achieved by the Revised CSAPR Update                    of day) differ by location, and that the
                                                challenges in the D.C. Circuit.                         fully eliminated these states’ significant              Agency believes it is important that
                                                Wisconsin v. EPA, 938 F.3d 303 (D.C.                    contributions to downwind air quality                   ozone monitors operate during all
                                                Cir. 2019) (Wisconsin); New York v.                     problems for the 2008 ozone NAAQS.                      periods when there is a reasonable
                                                EPA, 781 Fed. App’x 4 (D.C. Cir. 2019)                  As under the CSAPR and the CSAPR                        possibility of ambient levels
                                                (New York). In September 2019, the D.C.                 Update, each state can submit a good                    approaching the level of the NAAQS. At
                                                Circuit upheld the CSAPR Update in                      neighbor SIP at any time that, if                       that time, the EPA stated that ambient
                                                virtually all respects but remanded the                 approved by EPA, would replace the                      ozone concentrations in many areas
                                                rule because it was partial in nature and               Revised CSAPR Update FIP for that                       could approach or exceed the level of
                                                did not fully eliminate upwind states’                  state.48                                                the NAAQS, more frequently and during
                                                significant contribution to                                                                                     more months of the year compared with
                                                nonattainment or interference with                      IV. Air Quality Issues Addressed and
                                                                                                                                                                the historical ozone season monitoring
                                                maintenance of the 2008 ozone NAAQS                     Overall Approach for the Proposed
                                                                                                                                                                lengths. Consequently, the EPA
                                                by ‘‘the relevant downwind attainment                   Rule
                                                                                                                                                                extended the ozone monitoring season
                                                deadlines’’ in the CAA. Wisconsin, 938                  A. The Interstate Ozone Transport Air                   for many locations. See 80 FR 65416 for
                                                F.3d at 313–15. In October 2019, the                    Quality Challenge                                       more details.
                                                D.C. Circuit vacated the CSAPR Close-                                                                              Furthermore, the EPA stated that in
                                                Out on the same grounds that it                         1. Nature of Ozone and the Ozone
                                                                                                        NAAQS                                                   addition to being affected by changing
                                                remanded the CSAPR Update in                                                                                    emissions, future ozone concentrations
                                                Wisconsin, specifically that the Close-                    Ground-level ozone is not emitted                    may also be affected by climate change.
                                                Out rule did not address good neighbor                  directly into the air but is created by                 Modeling studies in the EPA’s Interim
                                                obligations by ‘‘the next applicable                    chemical reactions between NOX and                      Assessment (U.S. EPA, 2009a) that are
                                                attainment date’’ of downwind states.                   volatile organic compounds (VOCs) in                    cited in support of the 2009
                                                New York, 781 Fed. App’x at 7.46                        the presence of sunlight. Emissions from                Endangerment Finding under CAA
                                                  In response to the Wisconsin remand                   electric utilities and industrial facilities,           section 202(a) (74 FR 66496, Dec. 15,
                                                of the CSAPR Update and the New York                    motor vehicles, gasoline vapors, and                    2009) as well as a recent assessment of
                                                vacatur of the CSAPR Close-Out, the                     chemical solvents are some of the major                 potential climate change impacts (Fann
                                                EPA promulgated the Revised CSAPR                       sources of NOX and VOCs.                                et al., 2015) project that climate change
                                                Update on April 30, 2021.47 The                            Because ground-level ozone formation                 may lead to future increases in summer
                                                Revised CSAPR Update found that the                     increases with temperature and                          ozone concentrations across the
                                                CSAPR Update was a full remedy for                      sunlight, ozone levels are generally                    contiguous U.S.51 (80 FR 65300). The
                                                nine of the covered states. For the 12                  higher during the summer months.                        increase in ozone results from changes
                                                remaining states, the EPA found that                    Increased temperature also increases                    in local weather conditions, including
                                                their projected 2021 ozone season NOX                   emissions of volatile man-made and                      temperature and atmospheric
                                                emissions significantly contribute to                   biogenic organics and can also                          circulation patterns, as well as changes
                                                downwind states’ nonattainment or                       indirectly increase NOX emissions (e.g.,                in ozone precursor emissions that are
                                                maintenance problems. The EPA issued                    increased electricity generation for air                influenced by meteorology (Nolte et al.,
                                                new or amended FIPs for these 12 states                 conditioning).                                          2018). While the projected impact may
                                                and required implementation of revised                     On October 1, 2015, the EPA                          not be uniform, climate change has the
                                                                                                        strengthened the primary and secondary                  potential to increase average
                                                   45 Determination Regarding Good Neighbor
                                                                                                        ozone standards to 70 ppb as an 8-hour                  summertime ozone relative to a future
                                                Obligations for the 2008 Ozone National Ambient         level.49 Specifically, the standards
                                                Air Quality Standard, 83 FR 65878, 65882 (Dec. 21,                                                              without climate change.52 53 54 Climate
                                                2018). After promulgating the CSAPR Update and          require that the 3-year average of the
                                                before promulgating the CSAPR Close-Out, the EPA        fourth highest 24-hour maximum 8-hour                      51 These modeling studies are based on coupled

                                                approved a SIP from Kentucky resolving the              average ozone concentration may not                     global climate and regional air quality models and
                                                Commonwealth’s good neighbor obligations for the        exceed 70 ppb as a truncated value (i.e.,               are designed to assess the sensitivity of U.S. air
                                                2008 ozone NAAQS. 83 FR 33730 (July 17, 2018).                                                                  quality to climate change. A wide range of future
                                                In the Revised CSAPR Update, the EPA made an            digits to right of decimal removed).50 In               climate scenarios and future years have been
                                                error correction under CAA section 110(k)(6) to         general, areas that exceed the ozone                    modeled and there can be variations in the expected
                                                convert this approval to a disapproval, because the     standard are designated as                              response in U.S. O3 by scenario and across models
                                                Kentucky approval relied on the same analysis           nonattainment areas, pursuant to the                    and years, within the overall signal of higher
                                                which the D.C. Circuit determined to be unlawful                                                                summer O3 concentrations in a warmer climate.
                                                in the CSAPR Close-Out.                                 designations process under CAA section                     52 Fann NL, Nolte CG, Sarofim MC, Martinich J,
                                                   46 Subsequently, the D.C. Circuit made clear in a    107, and are subject to heightened                      Nassikas NJ. Associations Between Simulated
                                                decision reviewing EPA’s denial of a petition under     planning requirements depending on                      Future Changes in Climate, Air Quality, and Human
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                                                CAA section 126 that the holding in Wisconsin           the degree of severity of their                         Health. JAMA Netw Open. 2021;4(1):e2032064. doi:
                                                regarding alignment with downwind area’s                                                                        10.1001/jamanetworkopen.2020.32064.
                                                attainment schedules applies with equal force to the                                                               53 Christopher G Nolte, Tanya L Spero, Jared H
                                                                                                          48 The Revised CSAPR Update is currently subject
                                                Marginal area attainment date established under                                                                 Bowden, Marcus C Sarofim, Jeremy Martinich,
                                                CAA section 181(a). See Maryland v. EPA, 958 F.3d       to a petition for judicial review pending in the D.C.   Megan S Mallard. Regional temperature-ozone
                                                1185, 1203–04 (D.C. Cir. 2020).                         Circuit Court of Appeals, Midwest Ozone Group v.        relationships across the U.S. under multiple climate
                                                   47 Revised Cross-State Air Pollution Rule Update     EPA, No. 21–1146 (D.C. Cir. June 25, 2021).             and emissions scenarios. J Air Waste Manag Assoc.
                                                                                                          49 80 FR 65291.
                                                for the 2008 Ozone NAAQS, 86 FR 23054 (April 30,                                                                2021 Oct;71(10):1251–1264. doi: 10.1080/
                                                2021).                                                    50 40 CFR part 50, Appendix P to part 50              10962247.2021.1970048.



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                                                change has the potential to offset some                 achieved under the NOX Budget Trading                  EPA conducted a demographic analysis
                                                of the improvements in ozone air                        Program (i.e., the NOX SIP Call) shows                 as part of the regulatory impact analysis
                                                quality, and therefore some of the                      that regulating NOX emissions in that                  for the 2015 revisions to the primary
                                                improvements in public health, that are                 program was highly effective in                        and secondary ozone NAAQS. This
                                                expected from reductions in emissions                   reducing ozone concentrations during                   analysis, which is included in the
                                                of ozone precursors (80 FR 65300).                      the ozone season.56                                    docket for this proposed rulemaking,
                                                                                                           Previous regional ozone transport                   found greater representation of minority
                                                2. Ozone Transport                                      efforts, including the NOX SIP Call,                   populations in areas with poor air
                                                   Studies have established that ozone                  CAIR, CSAPR, the CSAPR Update, and                     quality relative to the revised ozone
                                                formation, atmospheric residence, and                   the Revised CSAPR Update, required                     standard than in the U.S. as a whole.
                                                transport occur on a regional scale (i.e.,              ozone season NOX reductions from EGU                   The EPA concluded that populations in
                                                thousands of kilometers) over much of                   sources to address interstate transport of             these areas would be expected to benefit
                                                the U.S.55 While substantial progress                   ozone. Together with NOX, EPA has also                 from implementation of future air
                                                has been made in reducing ozone in                      identified VOCs as a precursor in                      pollution control actions from state and
                                                many areas, the interstate transport of                 forming ground-level ozone. Ozone                      local air agencies in implementing the
                                                ozone precursor emissions remains an                    formation chemistry can be ‘‘NOX-                      strengthened standard. This proposed
                                                important contributor to peak ozone                     limited,’’ where ozone production is                   rule is an example of air pollution
                                                concentrations and high-ozone days                      primarily determined by the amount of                  control actions implemented by the
                                                during the summer ozone season.                         NOX emissions or ‘‘VOC-limited,’’                      federal government in support of the
                                                   The EPA has previously concluded in                  where ozone production is primarily                    more stringent 2015 ozone NAAQS, and
                                                the NOX SIP Call, CAIR, CSAPR, the                      determined by the amount of VOC                        populations living in downwind ozone
                                                CSAPR Update, and the Revised CSAPR                     emissions.57 The EPA and others have                   nonattainment areas are expected to
                                                Update that a regional NOX control                      long regarded NOX to be the more                       benefit from improved air quality that
                                                strategy would be effective in reducing                 significant ozone precursor in the                     will result from reducing ozone
                                                regional-scale transport of ozone                       context of interstate ozone transport.58               transport. Further discussion of the
                                                precursor emissions. NOX emissions can                     The EPA has determined that the                     environmental justice impacts of this
                                                be transported downwind as NOX or as                    regulation of VOCs as an ozone                         proposed rule is located in Section VIII
                                                ozone after transformation in the                       precursor is not necessary to eliminate                of this proposed rule and in the
                                                atmosphere. In any given location,                      significant contribution of ozone                      accompanying regulatory impact
                                                ozone pollution levels are impacted by                  transport to downwind areas in this                    analysis, titled ‘‘Regulatory Impact
                                                a combination of background ozone                       proposed rule. As described in Section                 Analysis for the Proposed Federal
                                                concentration, local emissions, and                     VI.A of this proposed rule, the EPA                    Implementation Plan Addressing
                                                emissions from upwind sources                           examined the results of the contribution               Regional Ozone Transport for the 2015
                                                resulting from ozone transport.                         modeling performed for this rule to                    Ozone National Ambient Air Quality
                                                Downwind states’ ability to meet health-                identify the portion of the ozone                      Standard’’ [EPA–452/D–22–001], which
                                                based air quality standards such as the                 contribution attributable to                           is available in the docket for this
                                                NAAQS is challenged by the transport                    anthropogenic NOX emissions versus                     rulemaking.
                                                of ozone pollution across state borders.                VOC emissions from each linked                            The Agency regulates exposure to
                                                For example, ozone assessments                          upwind state to each downwind                          toxic pollutant concentrations and
                                                conducted for the October 2015                          receptor. Our analysis of the ozone                    ambient exposure to criteria pollutants
                                                Regulatory Impact Analysis of the Final                 contribution from upwind states subject                other than ozone through other sections
                                                Revisions to the National Ambient Air                   to regulation under this proposed rule                 of the Act, such as the regulation of
                                                Quality Standards for Ground-Level                      demonstrates that the vast majority of                 hazardous air pollutants under CAA
                                                Ozone continue to show the importance                   the downwind air quality areas are                     section 112 or the process for revising
                                                of NOX emissions for ozone transport.                   NOX-limited, rather than VOC-limited.                  and implementing the NAAQS under
                                                This analysis is included in the docket                 Therefore, the proposed rule’s strategy                CAA sections 107–110. The purpose of
                                                for this proposal.                                      for reducing regional-scale transport of               the proposed rulemaking is to protect
                                                   Further, studies have found that EGU                 ozone targets NOX emissions from                       public health and the environment by
                                                NOX emissions reductions can be                         stationary sources to achieve the most                 eliminating significant contribution
                                                effective in reducing individual 8-hour                 effective reductions of ozone transport                from 26 states to nonattainment or
                                                peak ozone concentrations and in                        over the geography of the affected                     maintenance of the 2015 ozone NAAQS
                                                reducing 8-hour peak ozone                              downwind areas.                                        in order to meet the requirements of the
                                                concentrations averaged across the                         Commenters on prior ozone transport                 CAA’s interstate transport provision. In
                                                ozone season. For example, a study that                 rules have asserted that VOC emissions                 this proposed rule, the EPA continues to
                                                evaluates the effectiveness on ozone                    harm underserved and overburdened                      observe that requiring NOX emissions
                                                concentrations of EGU NOX reductions                    communities experiencing                               reductions from stationary sources is an
                                                                                                        disproportionate environmental health                  effective strategy for reducing regional
                                                  54 Nolte, C.G., P.D. Dolwick, N. Fann, L.W.
                                                                                                        burdens and facing other environmental                 ozone transport in the U.S.
                                                Horowitz, V. Naik, R.W. Pinder, T.L. Spero, D.A.
                                                Winner, and L.H. Ziska, 2018: Air Quality. In           injustices. The EPA acknowledges that                     In Section VI of this proposed rule,
                                                Impacts, Risks, and Adaptation in the United States:    VOCs can contain toxic chemicals that                  EPA describes the multi-factor test that
                                                Fourth National Climate Assessment, Volume II           are detrimental to public health. The                  is used to determine NOX emissions
                                                [Reidmiller, D.R., C.W. Avery, D.R. Easterling, K.E.
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                                                                                                                                                               reductions that are cost-effective and
                                                Kunkel, K.L.M. Lewis, T.K. Maycock, and B.C.
                                                Stewart (eds.)]. U.S. Global Change Research
                                                                                                          56 Butler, et al., ‘‘Response of Ozone and Nitrate   reduce interstate transport of ground-
                                                Program, Washington, DC, USA, pp. 512–538. doi:         to Stationary Source Reductions in the Eastern         level ozone. Our analysis indicates that
                                                10.7930/NCA4.2018.CH13.                                 USA’’. Atmospheric Environment, 2011.                  the EGU and non-EGU control
                                                  55 Bergin, M.S. et al. (2007) Regional air quality:     57 ‘‘Ozone Air Pollution.’’ Introduction to
                                                                                                                                                               requirements proposed in this rule will
                                                Local and interstate impacts of NOX and SO2             Atmospheric Chemistry, by DANIEL J. JACOB,
                                                emissions on ozone and fine particulate matter in       Princeton University Press, PRINCETON, NEW             provide meaningful improvements in air
                                                the eastern United States. Environmental Sci &          JERSEY, 1999, pp. 231–244.                             quality at the downwind receptors.
                                                Tech. 41: 4677–4689.                                      58 81 FR 74514.                                      Based on the implementation schedule


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                                                established in Section VII.A of this                    downwind maintenance of the NAAQS,                      proposal are described in Section V.D of
                                                proposed rule, the EPA proposes to                      considering cost- and air quality-based                 this proposed rule.
                                                determine that the regulatory                           factors; and (4) for upwind states that
                                                                                                                                                                b. Step 2 Approach
                                                requirements included in the proposed                   are found to have emissions that
                                                rule are as expeditious as practicable                  significantly contribute to                                The EPA proposes to apply the same
                                                and are aligned with the attainment                     nonattainment or interfere with                         approach for identifying which states
                                                schedule of downwind areas.                             maintenance of the NAAQS in any                         are contributing to downwind
                                                                                                        downwind state, implementing the                        nonattainment and maintenance
                                                3. Health and Environmental Effects                                                                             receptors as it has applied in the three
                                                                                                        necessary emissions reductions through
                                                   Exposure to ambient ozone causes a                   enforceable measures.                                   prior CSAPR rulemakings. CSAPR, the
                                                variety of negative effects on human                                                                            CSAPR Update, and the Revised CSAPR
                                                health, vegetation, and ecosystems. In                  a. Step 1 Approach                                      Update used a screening threshold of 1
                                                humans, acute and chronic exposure to                      The EPA proposes to continue to                      percent of the NAAQS to identify
                                                ozone is associated with premature                      apply the method of the CSAPR Update                    upwind states that were ‘‘linked’’ to
                                                mortality and a number of morbidity                     and the Revised CSAPR Update for                        downwind air pollution problems.
                                                effects, such as asthma exacerbation. In                identifying nonattainment and                           States with contributions greater than or
                                                ecosystems, ozone exposure causes                       maintenance receptors. In the Revised                   equal to the threshold for at least one
                                                visible foliar injury, decreases plant                  CSAPR Update, the EPA assessed                          downwind nonattainment or
                                                growth, and affects ecosystem                           downwind air quality problems using                     maintenance receptor identified in Step
                                                community composition. See EPA’s                        modeled future air quality                              1 were identified as needing further
                                                October 2015 Regulatory Impact                          concentrations for an analytic year                     evaluation of their good neighbor
                                                Analysis of the Final Revisions to the                  aligned with the relevant attainment                    obligations to downwind states.63 The
                                                National Ambient Air Quality Standards                  deadline for the NAAQS under                            EPA evaluated each state’s contribution
                                                for Ground-Level Ozone 59 in the docket                 consideration in that rulemaking.61                     based on the average relative downwind
                                                for this proposal for more information                  Similarly, in CSAPR, downwind air                       impact calculated over multiple days.64
                                                on the human health and ecosystem                       quality problems were assessed using                    States whose air quality impacts to all
                                                effects associated with ambient ozone                   modeled future air quality                              downwind receptors were below this
                                                exposure.                                               concentrations for a year aligned with                  threshold did not require further
                                                                                                        attainment deadlines for the NAAQS                      evaluation for actions to address
                                                B. Proposed Rule Approach                                                                                       transport. In other words, the EPA
                                                                                                        considered in that rulemaking. The base
                                                1. The 4-Step Interstate Transport                      case scenario provides an assessment of                 determined that these states did not
                                                Framework                                               future air quality conditions that                      contribute to downwind air quality
                                                   The EPA first developed a multi-step                 generally accounts for enforceable ‘‘on-                problems and therefore had no
                                                process to address the requirements of                  the-books’’ emissions reductions and                    emissions reduction obligations under
                                                                                                        provides the most up-to-date forecast of                the good neighbor provision. The EPA
                                                the good neighbor provision in the NOX
                                                                                                        what future emissions would resemble,                   applies a contribution screening
                                                SIP Call and CAIR. The Agency built
                                                                                                        in the absence of the transport policy in               threshold because many downwind
                                                upon this framework and further refined
                                                                                                        the proposed rule under evaluation.                     ozone nonattainment areas receive
                                                the methodology for addressing
                                                                                                        Downwind air quality problems are                       transport contributions from a number
                                                interstate transport obligations in
                                                                                                        identified as the locations of monitoring               of upwind states. While the proportion
                                                subsequent rules such as CSAPR, the
                                                                                                        sites that are projected to be unable to                of contribution from a single upwind
                                                CSAPR Update, and the Revised CSAPR
                                                                                                        attain the NAAQS (‘‘nonattainment                       state may be relatively small, the effect
                                                Update.60 In CSAPR, the EPA first
                                                                                                        receptors’’) or as the locations of                     of collective contribution resulting from
                                                articulated a ‘‘4-step framework’’ within
                                                                                                        monitoring sites that are projected to be               multiple upwind states may
                                                which to assess interstate transport                                                                            substantially contribute to
                                                obligations for ozone. In this proposed                 unable to maintain the NAAQS
                                                                                                        (‘‘maintenance receptors’’). In the                     nonattainment of or interference with
                                                action to address interstate transport                                                                          maintenance of the NAAQS in
                                                obligations for the 2015 ozone NAAQS,                   CSAPR Update and the Revised CSAPR
                                                                                                        Update, unlike CSAPR,62 the EPA also                    downwind areas. The preambles to the
                                                the EPA is again utilizing the 4-step
                                                interstate transport framework. These                   considered currently available                             63 For ozone, the impacts include those from VOC
                                                steps are: (1) Identifying downwind                     monitored air quality data to further                   and NOX from all sectors.
                                                receptors that are expected to have                     inform the identification of projected                     64 The number of days used in calculating the

                                                problems attaining the NAAQS                            downwind air quality problems. These                    average contribution metric has historically been
                                                                                                        same considerations are included for                    determined in a manner that is generally consistent
                                                (nonattainment receptors) or                                                                                    with EPA’s recommendations for projecting future
                                                maintaining the NAAQS (maintenance                      this proposal. Further details regarding                year ozone design values. Our ozone attainment
                                                receptors); (2) determining which                       the application of Step 1 of the 4-step                 demonstration modeling guidance at the time of
                                                upwind states are ‘‘linked’’ to these                   interstate transport framework in this                  CSAPR recommended using all model-predicted
                                                                                                                                                                days above the NAAQS to calculate future year
                                                identified downwind receptors based on                                                                          design values (https://www3.epa.gov/ttn/scram/
                                                                                                          61 Specifically, the EPA analyzed 2021 to align
                                                a numerical contribution threshold; (3)                                                                         guidance/guide/final-03-pm-rh-guidance.pdf). In
                                                                                                        with the attainment date for areas classified as        2014, the EPA issued draft revised guidance that
                                                for states linked to downwind air                       Severe nonattainment for the 2008 ozone NAAQS,          changed the recommended number of days to the
                                                quality problems, identifying upwind                    and because the last full ozone season before that      top-10 model predicted days (https://
                                                emissions on a statewide basis that                     date, in 2020, was already in the past.
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                                                                                                                                                                www3.epa.gov/ttn/scram/guidance/guide/Draft-O3-
                                                                                                          62 In CSAPR, the EPA did not use current
                                                significantly contribute to downwind                                                                            PM-RH-Modeling_Guidance-2014.pdf). For the
                                                                                                        monitored air quality conditions, because that data     CSAPR Update, the EPA transitioned to calculating
                                                nonattainment or interfere with                         was influenced by the invalidated CAIR rule, which      design values based on this draft revised approach.
                                                                                                        the EPA was replacing with CSAPR. See 81 FR             The revised modeling guidance was finalized in
                                                   59 Available at https://www.epa.gov/sites/default/
                                                                                                        74506, 74531. As the EPA is not replacing an            2019 and, in this regard, EPA is calculating both the
                                                files/2016-02/documents/20151001ria.pdf.                existing transport program in this proposed rule,       ozone design values and the contributions based on
                                                   60 See CSAPR, Final Rule, 76 FR 48208, 48248–        the Agency proposes to once again consider current      a top-10 day approach (https://www3.epa.gov/ttn/
                                                48249 (August 8, 2011); CSAPR Update, Final Rule,       monitored data as part of the process for identifying   scram/guidance/guide/O3-PM-RH-Modeling_
                                                81 FR 74504, 74517–74521 (October 26, 2016).            projected receptors for this rulemaking.                Guidance-2018.pdf).



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                                                proposed and final CSAPR rules discuss                  was upheld by the U.S. Supreme Court                   comprehensive evaluation of major
                                                the use of the 1 percent threshold for                  in EPA v. EME Homer City.66                            stationary source non-EGU industries in
                                                CSAPR. See 75 FR 45237 (August 2,                          The EPA proposes in this action to                  the linked upwind states. The EPA is
                                                2010); 76 FR 48238 (August 8, 2011).                    apply this approach to identify EGU and                proposing to find that emissions from
                                                The same metric is discussed in the                     non-EGU NOX control stringencies                       certain non-EGU sources in the upwind
                                                CSAPR Update, see 81 FR 74538, and in                   necessary to address significant                       states significantly contribute to
                                                the Revised CSAPR Update, see 86 FR                     contribution for the 2015 ozone                        downwind air quality problems for the
                                                23054. In this proposed rule, the EPA                   NAAQS. The EPA applies a multifactor                   2015 ozone NAAQS, and that cost-
                                                updated the air quality modeling data                   assessment using cost-thresholds, total                effective emissions reductions from
                                                used for determining contributions at                   emissions reduction potential, and                     these sources are required to eliminate
                                                                                                        downwind air quality effects as key                    significant contribution under the
                                                Step 2 of the four-step interstate
                                                                                                        factors in determining a reasonable                    interstate transport provision. Therefore,
                                                transport framework. The EPA
                                                                                                        balance of NOX controls in light of the                this proposed rule includes required
                                                otherwise continues to find that this                   downwind air quality problems. EPA’s
                                                threshold is appropriate to continue to                                                                        emissions reductions from non-EGU
                                                                                                        evaluation of available NOX mitigation                 sources in upwind states to fulfill
                                                apply for the 2015 ozone NAAQS. This                    strategies for EGUs focuses on the same
                                                proposal’s application of the Step 2                                                                           interstate transport obligations for the
                                                                                                        core set of measures as prior transport                2015 ozone NAAQS. This analysis is
                                                approach is comprehensively described                   rules, and the EPA proposes a control                  described fully in Section VI of the
                                                in Section V of this proposed rule.                     stringency for EGUs from these                         proposed rule.
                                                c. Step 3 Approach                                      measures that is commensurate with the                    In this proposed rule, the EPA also
                                                                                                        nature of the ongoing ozone                            continues to apply its approach for
                                                   The EPA proposes to continue to                      nonattainment and maintenance                          assessing and avoiding ‘‘over-control.’’
                                                apply the same approach as the prior                    problems observed for the 2015 ozone                   In EME Homer City, the Supreme Court
                                                three CSAPR rulemakings for evaluating                  NAAQS. Similarly, in this action, the                  held that ‘‘EPA cannot require a State to
                                                ‘‘significant contribution’’ at Step 3.65               EPA includes other industrial sources                  reduce its output of pollution by more
                                                For states that are linked in Step 3 to                 (non-EGUs) in its Step 3 analysis and                  than is necessary to achieve attainment
                                                downwind air quality problems,                          proposes emissions limitations for                     in every downwind State or at odds
                                                CSAPR, the CSAPR Update, and the                        certain non-EGU sources as needed to                   with the one-percent threshold the
                                                Revised CSAPR Update evaluated NOX                      eliminate significant contribution and                 Agency has set.’’ 572 U.S. at 521. The
                                                reduction potential, cost, and                          interference with maintenance. The                     Court acknowledged that ‘‘instances of
                                                downwind air quality improvements                       available reductions and cost-levels for               ‘over-control’ in particular downwind
                                                                                                        the non-EGU stringency is generally                    locations may be incidental to
                                                available at various mitigation
                                                                                                        commensurate with the control strategy                 reductions necessary to ensure
                                                technology breakpoints (represented by
                                                                                                        for EGUs.                                              attainment elsewhere.’’ Id. at 492.
                                                cost thresholds) in the multi-factor test.                 In CSAPR, the CSAPR Update, and
                                                In CSAPR, the CSAPR Update, and the                     the Revised CSAPR Update, EPA                             ‘‘Because individual upwind States often
                                                Revised CSAPR Update, the EPA                           focused its Step 3 analysis on EGUs. In                ‘contribute significantly’ to nonattainment in
                                                selected the technology breakpoint                                                                             multiple downwind locations, the emissions
                                                                                                        the Revised CSAPR Update, in response
                                                (represented by a cost threshold) that, in                                                                     reductions required to bring one linked
                                                                                                        to the Wisconsin decision’s finding that               downwind State into attainment may well be
                                                general, maximized cost-effectiveness—                  the EPA had not adequately evaluated                   large enough to push other linked downwind
                                                i.e., that achieved a reasonable balance                potential non-EGU reductions, see 938                  States over the attainment line. As the Good
                                                of incremental NOX reduction potential                  F.3d at 318, the EPA determined that                   Neighbor Provision seeks attainment in every
                                                and corresponding downwind ozone air                    the available NOX emissions reductions                 downwind State, however, exceeding
                                                quality improvements, relative to the                   from non-EGU sources, for purposes of                  attainment in one State cannot rank as ‘over-
                                                other emissions budget levels evaluated.                addressing good neighbor obligations for               control’ unless unnecessary to achieving
                                                See, e.g., 81 FR 74550. The EPA                         the 2008 ozone NAAQS, at a                             attainment in any downwind State. Only
                                                determined the level of emissions                       comparable cost threshold to the                       reductions unnecessary to downwind
                                                                                                                                                               attainment anywhere fall outside the
                                                reductions associated with that level of                required EGU emissions reductions (for                 Agency’s statutory authority.’’
                                                control stringency to constitute                        which EPA used an adjusted
                                                significant contribution to                             representative cost of $1,800 per ton),                Id. at 522 (footnotes excluded).
                                                nonattainment or interfere with                         and based on the timing of when such                      The Court further explained that
                                                maintenance of a NAAQS downwind.                        measures could be implemented, did                     ‘‘while EPA has a statutory duty to
                                                See, e.g., 86 FR 23116. This approach                   not provide a sufficiently meaningful                  avoid over-control, the Agency also has
                                                                                                        and timely air quality improvement at                  a statutory obligation to avoid ‘under-
                                                   65 For simplicity, the EPA (and courts) at times     the downwind receptors before those                    control,’ i.e., to maximize achievement
                                                will refer to the Step 3 analysis as determining        receptors were projected to resolve. See               of attainment downwind.’’ Id. at 523.
                                                ‘‘significant contribution’’; however, EPA’s            86 FR 23110. On that basis, the EPA                    Therefore, in the CSAPR Update and
                                                approach at Step 3 also implements the                                                                         Revised CSAPR Update, the EPA
                                                ‘‘interference with maintenance’’ prong of the good     made a finding that emissions
                                                neighbor provision, by also addressing emissions        reductions from non-EGU sources were                   evaluated possible over-control by
                                                that impact the maintenance receptors identified at     not required to eliminate significant                  considering whether an upwind state is
                                                Step 1. See 86 FR 23074 (‘‘In effect, EPA’s             contribution to downwind air quality                   linked solely to downwind air quality
                                                determination of what level of upwind contribution                                                             problems that can be resolved at a lower
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                                                constitutes ‘interference’ with a maintenance           problems under the interstate transport
                                                receptor is the same determination as what              provision for the 2008 ozone NAAQS. In                 cost threshold, or if upwind states
                                                constitutes ‘significant contribution’ for a            this proposal, EPA’s ‘‘significant                     would reduce their emissions at a lower
                                                nonattainment receptor. Nonetheless, this continues     contribution’’ analysis at Step 3 of the               cost threshold to the extent that they
                                                to give independent effect to prong 2 because the                                                              would no longer meet or exceed the 1
                                                EPA applies a broader definition for identifying        4-step framework includes a
                                                maintenance receptors, which accounts for the
                                                                                                                                                               percent air quality contribution
                                                possibility of problems maintaining the NAAQS             66 EPA v. EME Homer City Generation, L.P., 572       threshold. See, e.g., 81 FR at 74551–52.
                                                under realistic potential future conditions.’’).        U.S. 489 (2014).                                       See also Wisconsin, 938 F.3d at 325


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                                                (over-control must be proven through a                  rules, EGUs in each covered state are                  fluctuations in demand and EGU
                                                ‘‘ ‘particularized, as-applied                          assigned an emissions budget for their                 operations and is responsive to previous
                                                challenge’ ’’) (quoting EME Homer City                  collective emissions. Emissions                        court decisions (see discussion in
                                                Generation, 572 U.S. at 523–24). The                    allowances are allocated to units                      Section VII.B.4 of this proposed rule). In
                                                EPA continues to apply this framework                   covered by the trading program, and the                this action, the EPA again proposes to
                                                for assessing over-control in this                      covered units then surrender allowances                retain the existing assurance provisions
                                                proposed rule, and, as discussed in                     after the close of each control period,                that limit state emissions to levels below
                                                Section VI.D.4 of this proposed rule,                   usually in an amount equal to their                    121 percent of the state’s budget by
                                                does not find any over-control at the                   ozone season EGU NOX emissions.                        requiring additional allowance
                                                proposed stringency to be sufficiently                  While these programs have been                         surrenders in the instance that
                                                certain to warrant a relaxation in                      effective in achieving overall reductions              emissions in the state exceed this level
                                                requirements for the sources in any                     in emissions, experience has shown that                for the 2023 and 2024 control periods.
                                                covered state.                                          these programs may not fully reflect in                For control periods in 2025 and later
                                                    This evaluation of cost, NOX                        perpetuity the degree of emissions                     years, the EPA is proposing to maintain
                                                reductions, and air quality                             stringency determined necessary to
                                                                                                                                                               the same general approach, but with
                                                improvements, including consideration                   eliminate significant contribution in
                                                of whether there is proven over-control,                                                                       adjustments that account for actual
                                                                                                        Step 3 and may not adequately ensure
                                                results in EPA’s determination of the                                                                          operational conditions in each control
                                                                                                        the control of emissions throughout all
                                                appropriate level of upwind control                     days of the ozone season. At the same                  period to determine the specific levels
                                                stringency that would result in                         time, the EPA continues to find that an                above which additional allowance
                                                elimination of emissions that                           interstate-trading program approach                    surrenders would be required. In
                                                significantly contribute to                             delivers substantial benefits at Step 4 in             addition, EPA is also proposing several
                                                nonattainment or interfere with                         terms of affording an appropriate degree               additional enhancements to the EGU
                                                maintenance of the NAAQS in                             of compliance flexibility, certainty in                trading program in this action,
                                                downwind areas.                                         emissions outcomes, data and                           including routine recalibrations of the
                                                                                                        performance transparency, and cost-                    total amount of banked allowances,
                                                d. Step 4 Approach                                                                                             unit-specific backstop daily emissions
                                                                                                        effective achievement of a high degree
                                                   The EPA proposes an approach                         of aggregate emissions reductions. As                  rates for certain units, and unit-specific
                                                similar to its prior transport                          such, EPA proposes to retain an                        secondary emissions limitations for
                                                rulemakings to implement the necessary                  interstate trading program approach                    units that contribute to exceedances of
                                                emissions reductions through                            while proposing several enhancements                   the assurance levels, to ensure EGU
                                                permanent and enforceable measures.                     to that approach.                                      emissions control operation and
                                                The EPA proposes to require EGU                            Thus, in this rulemaking, the EPA is                associated air quality improvements.
                                                sources to participate in an emissions                  proposing to include budget-setting                    Implementation of the proposed EGU
                                                trading program and proposes                            procedures in the regulations that will                emissions reductions using a CSAPR
                                                additional enhancements to the trading                  allow state emissions budgets for                      NOX trading program is further
                                                regime to maintain the selected control                 control periods in 2025 and later years                described in Section VII.B of this
                                                stringency over time and improve                        to reflect more current data on the                    proposed rule.
                                                emissions performance at individual                     composition and utilization of the EGU
                                                units, offering a necessary measure of                                                                            In this action, the EPA is also
                                                                                                        fleet (e.g., the 2025 budgets would
                                                assurance that emissions controls will                  reflect 2023 data, the 2026 budgets                    proposing to establish emissions
                                                be operated throughout the ozone                        would reflect 2024 data, etc.). These                  limitations for the non-EGU industry
                                                season. For non-EGUs, the EPA                           enhancements would enable the trading                  sources listed in Table III.A–1. The EPA
                                                proposes permanent and enforceable                      program to better maintain over time the               has the authority to require emissions
                                                emissions rate limits and work practice                 selected control stringency that was                   limitations from stationary sources, as
                                                standards, and associated compliance                    determined to be necessary to address                  well as from other sources and
                                                requirements, on several types of NOX-                  states’ good neighbor obligations with                 emissions activities, under CAA section
                                                emitting combustion units across                        respect to the 2015 ozone NAAQS. In                    110(a)(2)(D)(i)(I). The EPA proposes that
                                                several industrial sectors. The measures                prior programs, where state emissions                  requiring NOX emissions reductions
                                                for both EGUs and non-EGUs are                          budgets were static across years rather                through emissions rate limits from
                                                proposed to be required throughout the                  than calibrated to yearly fleet changes,               certain non-EGU industry sources that
                                                May 1–September 30 ozone season                         the EPA has observed instances of units                the EPA found at Step 3 to be relatively
                                                annually. The EGU program will begin                    idling their emission controls in the                  impactful 67 on downwind air quality is
                                                with the 2023 ozone season, and non-                    latter years of the program.                           an effective strategy for reducing
                                                EGU implementation will begin with                         In the trading programs established                 regional ozone transport. Therefore, the
                                                the 2026 ozone season. Refer to Section                 for ozone season NOX emissions under                   EPA proposes NOX emissions
                                                VII.A of this proposed rule for details on              CSAPR, the CSAPR Update, and the                       limitations and associated compliance
                                                the implementation schedule.                            Revised CSAPR Update, the EPA                          requirements for non-EGU sources to
                                                   Based on the EPA’s experience in                     included assurance provisions to limit                 ensure the elimination of significant
                                                implementing prior transport                            state emissions to levels below 121                    contribution of ozone precursor
                                                rulemakings, the Agency is proposing                    percent of the state’s budget by                       emissions required under the interstate
                                                several enhancements to its trading-
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                                                                                                        requiring additional allowance
                                                program approach for implementing                       surrenders in the instance that                          67 Section III of the Non-EGU Screening
                                                good neighbor requirements for EGUs.                    emissions in the state exceed this level.              Assessment memorandum in the docket for this
                                                In CSAPR, the CSAPR Update, and the                     This limit on the degree to which a                    rulemaking describes EPA’s approach to evaluating
                                                Revised CSAPR Update, the EPA                           state’s emissions can exceed its budget                impacts on downwind air quality, considering
                                                                                                                                                               estimated total, maximum, and average
                                                established interstate trading programs                 is designed to allow for a certain level               contributions from each industry and the total
                                                for EGUs to implement the necessary                     of year-to-year variability within power               number of receptors with contributions from each
                                                emissions reductions. In each of these                  sector emissions to account for                        industry.



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                                                transport provision for the 2015 ozone                  in turn, established a 3-year deadline for              immediately following predicate final
                                                NAAQS.                                                  states to provide SIP submissions                       action on a SIP (or finding no SIP was
                                                   Finally, the EPA proposes that the                   addressing infrastructure requirements                  submitted). In order to accomplish this,
                                                control measures determined to be                       under CAA sections 110(a)(1) and                        the EPA must necessarily be able to
                                                required for the identified EGU and                     110(a)(2), including the good neighbor                  propose a FIP prior to taking final action
                                                non-EGU sources apply to both existing                  provision, by October 1, 2018. If the                   to disapprove a SIP or make a finding
                                                units and any new, modified, or                         EPA makes a determination that a state                  of failure to submit. The Supreme Court
                                                reconstructed units meeting the                         failed to submit a SIP, or if EPA                       recognized this in EME Homer City in
                                                applicability criteria established in this              disapproves a SIP submission, then the                  holding that the EPA is not obligated to
                                                proposal. This is consistent with EPA’s                 EPA is obligated under CAA section                      first define a state’s good neighbor
                                                transport actions dating back to the NOX                110(c) to promulgate a FIP for that state               obligations or give the state an
                                                SIP Call and the NOX Budget Trading                     within 2 years. For a more detailed                     additional opportunity to submit an
                                                Program. In all CSAPR EGU trading                       discussion of CAA section 110 authority                 approvable SIP before promulgating a
                                                programs, for instance, new EGUs are                    and timelines, refer to Section III.C of                FIP: ‘‘EPA is not obliged to wait two
                                                subject to the program, and the EPA                     this proposed rule.                                     years or postpone its action even a
                                                established provisions for the allocation                  The EPA is proposing this FIP action                 single day: The Act empowers the
                                                of allowances to such units through                     now to address twenty-six states’ good                  Agency to promulgate a FIP ‘at any time’
                                                ‘‘new unit set asides.’’ See, e.g., 86 FR               neighbor obligations for the 2015 ozone                 within the two-year limit.’’ 70
                                                23126. In the NOX SIP Call, the EPA                     NAAQS, but the EPA will not finalize                    Furthermore, the D.C. Circuit in
                                                required that states cover new and                      this FIP action for any state unless and                Wisconsin held that states and EPA are
                                                existing units in the relevant source                   until it has issued a final finding of                  obligated to fully address good neighbor
                                                sectors through an enforceable cap or                   failure to submit or a final disapproval                obligations for ozone ‘‘as expeditiously
                                                other emissions limitation. See 40 CFR                  of that state’s SIP submission. The EPA                 as practical’’ and in no event later than
                                                51.121(f). EPA’s approach of including                  is not required to wait to propose a FIP                the next relevant downwind attainment
                                                new units in the NOX Budget Trading                     until after the Agency proposes or                      dates found in CAA section 181(a).71 In
                                                Program promulgated under EPA’s CAA                     finalizes a SIP disapproval or makes a                  Maryland v. EPA, the D.C. Circuit made
                                                section 126 authority was upheld by the                 finding of failure to submit.69 CAA                     clear that Wisconsin’s and North
                                                D.C. Circuit in Appalachian Power v.                    section 110(c) authorizes EPA to                        Carolina’s holdings are fully applicable
                                                EPA, 249 F.3d 1032 (2001). The EPA                      promulgate a FIP ‘‘at any time within 2                 to the Marginal area attainment date for
                                                explained in its action:                                years’’ of a SIP disapproval or making a                the 2015 ozone NAAQS,72 which fell on
                                                                                                        finding of failure to submit. Thus, the                 August 3, 2021.73 The Wisconsin court
                                                   Once EPA has determined that the                     EPA may promulgate a FIP
                                                emissions from the existing sources in an                                                                       emphasized that EPA has the authority
                                                                                                        contemporaneously with or                               under CAA section 110 to structure and
                                                upwind State already make a significant
                                                contribution to one or more petitioning                                                                         time its actions in a manner such that
                                                                                                        described in parts per billion (ppb). For example,      the Agency can ensure necessary
                                                downwind States, any additional emissions               0.070 ppm is equivalent to 70 ppb.
                                                from a new source in that upwind State                     69 The EPA notes there are three consent decrees     reductions are achieved by the
                                                would also constitute a portion of that                 to resolve three deadline suits related to EPA’s duty   downwind attainment dates.74
                                                significant contribution, unless the emissions          to act on good neighbor SIP submissions for the            On February 22, 2022, the EPA
                                                from that new source are limited to the level           2015 ozone NAAQS. In New York et al. v. Regan,          proposed to disapprove 19 good
                                                of highly effective controls.                           et al. (No. 1:21–CV–00252, S.D.N.Y.), the EPA
                                                                                                        agreed to take final action on the 2015 ozone
                                                                                                                                                                neighbor SIP submissions (Alabama,
                                                Id. at 1058 (quoting EPA 1999 RTC at                    NAAQS good neighbor SIP submissions from                Arkansas, Illinois, Indiana, Kentucky,
                                                39). The court affirmed this approach:                  Indiana, Kentucky, Michigan, Ohio, Texas, and           Louisiana, Maryland, Michigan,
                                                ‘‘Indeed, it would be irrational to enable              West Virginia by April 30, 2022; however, if the        Minnesota, Mississippi, Missouri, New
                                                                                                        EPA proposes to disapprove any SIP submissions
                                                the EPA to make findings that a group                   and proposes a replacement FIP by February 28,
                                                                                                                                                                Jersey, New York, Ohio, Oklahoma,
                                                of sources in an upwind state contribute                2022, then EPA’s deadline to take final action on       Tennessee, Texas, West Virginia,
                                                to downwind nonattainment, but then                     that SIP submission is extended to December 30,         Wisconsin).75 The EPA is proposing to
                                                preclude the EPA from regulating new                    2022. In Downwinders at Risk et al. v. Regan (No.
                                                                                                        21–cv–03551, N.D. Cal.), the EPA agreed to take            70 See EPA v. EME Homer City Generation, L.P.,
                                                sources that contribute to that same                    final action on the 2015 ozone NAAQS good               572 U.S. 489, 509 (2014) (citations omitted).
                                                pollution.’’ Id. at 1057–58. The EPA                    neighbor SIP submissions from Alabama, Arkansas,           71 Wisconsin v. EPA, 938 F.3d 303, 313–14 (D.C.
                                                proposes to adopt the same approach in                  Connecticut, Florida, Georgia, Illinois, Indiana,
                                                                                                                                                                Cir. 2019) (citing North Carolina v. EPA, 531 F.3d
                                                this action, because this reasoning is                  Iowa, Kansas, Kentucky, Louisiana, Maryland,
                                                                                                                                                                896 (D.C. Cir. 2008).
                                                                                                        Michigan, Minnesota, Mississippi, New Jersey, New
                                                equally applicable to addressing                        York, North Carolina, Ohio, Oklahoma, South
                                                                                                                                                                   72 Maryland v. EPA, 958 F.3d 1185, 1203–04 (D.C.

                                                interstate transport obligations under                  Carolina, Tennessee, Texas, West Virginia, and          Cir. 2020).
                                                                                                                                                                   73 See CAA section 181(a); 40 CFR 51.1303;
                                                CAA section 110(a)(2)(D)(i)(I) for the                  Wisconsin by April 30, 2022; however, if the EPA
                                                                                                        proposes to disapprove any of these SIP                 Additional Air Quality Designations for the 2015
                                                2015 ozone NAAQS.                                                                                               Ozone National Ambient Air Quality Standards, 83
                                                                                                        submissions and proposes a replacement FIP by
                                                                                                        February 28, 2022, then EPA’s deadline to take final    FR 25776 (June 4, 2018, effective August 3, 2018).
                                                2. FIP Authority for Each State Covered                                                                            74 938 F.3d at 318 (‘‘When EPA determines a
                                                                                                        action on that SIP submission is December 30, 2022.
                                                by the Proposed Rule                                    In this CD, the EPA also agreed to take final action    State’s SIP is inadequate, EPA presumably must
                                                                                                        on Hawaii’s SIP submission by April 30, 2022, and       issue a FIP that will bring that State into
                                                  On October 1, 2015, the EPA                                                                                   compliance before upcoming attainment deadlines,
                                                                                                        to take final action on the SIP submissions of
                                                promulgated a revision to the 2015 8-                   Arizona, California, Montana, Nevada, and               even if the outer limit of the statutory timeframe
                                                hour ozone NAAQS, lowering the level                    Wyoming by December 15, 2022. In Our Children’s         gives EPA more time to formulate the FIP.’’) (citing
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                                                of both the primary and secondary                       Earth Foundation v. EPA (No. 20–8232, S.D.N.Y.),        Sierra Club v. EPA, 294 F.3d 155, 161 (D.C. Cir.
                                                                                                        the EPA agreed to take final action on the 2015         2002)).
                                                standards to 0.070 parts per million                                                                               75 See 87 FR 9463 (Maryland); 87 FR 9484 (New
                                                                                                        ozone NAAQS good neighbor SIP submission from
                                                (ppm).68 These revisions of the NAAQS,                  New York by April 30, 2022; however, if the EPA         Jersey, New York); 87 FR 9498 (Kentucky); 87 FR
                                                                                                        proposes to disapprove New York’s SIP submission        9516 (West Virginia); 87 FR 9533 (Missouri); 87 FR
                                                  68 National Ambient Air Quality Standards for         and proposes a replacement FIP by February 28,          9545 (Alabama, Mississippi, Tennessee); 87 FR
                                                Ozone, Final Rule, 80 FR 65292 (October 26, 2015).      2022, then EPA’s deadline to take final action on       9798 (Arkansas, Louisiana, Oklahoma, Texas); 87
                                                Although the level of the standard is specified in      New York’s SIP submission is extended to                FR 9838 (Illinois, Indiana, Michigan, Minnesota,
                                                the units of ppm, ozone concentrations are also         December 30, 2022.                                                                                 Continued




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                                                promulgate 2015 ozone NAAQS good                        C. Other CAA Authorities for This                      further submission from a state, to
                                                neighbor FIPs for these same states, as                 Action                                                 revise certain prior actions, including
                                                well as California, Nevada, and                         1. Correction of EPA’s Determination                   actions to approve SIPs, upon
                                                Wyoming, but will not finalize a FIP for                Regarding Delaware’s SIP Submission                    determining that those actions were in
                                                any of these states unless and until the                and Its Impact on EPA’s FIP Authority                  error.84 The modeling data demonstrate
                                                EPA formally finalizes disapprovals of                  for Delaware                                           that EPA’s prior conclusion that
                                                their SIP submittals or, in the event that                                                                     Delaware will not significantly
                                                any of these states withdraw their good                    In 2020, the EPA approved an                        contribute to nonattainment or interfere
                                                neighbor SIP submissions after this                     infrastructure SIP submission from                     with maintenance in any other state in
                                                proposal, makes a finding of failure to                 Delaware for the 2015 ozone NAAQS,                     the 2023 analytic year was incorrect,
                                                                                                        which in part addressed the good
                                                submit.76 See CAA section 110(c).                                                                              which means that EPA’s approval of
                                                                                                        neighbor provision at CAA section
                                                   Additionally, the EPA has taken                                                                             Delaware’s good neighbor SIP
                                                                                                        110(a)(2)(D)(i)(I).80 The EPA concluded
                                                action that has triggered EPA’s                                                                                submission was in error.
                                                                                                        that, based on the modeling results
                                                obligation under CAA section 110(c) to                  presented in a 2018 March                                 Therefore, the EPA proposes to
                                                promulgate FIPs addressing the good                     memorandum and using a 2023 analytic                   correct the error in Delaware’s good
                                                neighbor provision for some other                       year, Delaware’s largest impact on any                 neighbor SIP approval. This error
                                                states. On December 5, 2019, the EPA                    potential downwind nonattainment or                    correction under CAA section 110(k)(6)
                                                published a rule finding that seven                     maintenance receptor was less than 1                   would revise the approval of the portion
                                                states (Maine, New Mexico,                              percent of the NAAQS.81 As a result, the               of Delaware’s 2015 ozone NAAQS
                                                Pennsylvania, Rhode Island, South                       EPA found that Delaware would not                      infrastructure SIP that addresses CAA
                                                Dakota, Utah, and Virginia) failed to                   significantly contribute to                            section 110(a)(2)(D)(i)(I) to a disapproval
                                                submit or otherwise make complete                       nonattainment or interfere with                        and rescind any statements that the
                                                submissions that address the                            maintenance in any other state.82                      portion of Delaware’s infrastructure SIP
                                                requirements of CAA section                             Therefore, the EPA approved the                        submission that addresses CAA section
                                                110(a)(2)(D)(i)(I) for the 2015 ozone                   portion of Delaware’s infrastructure SIP               110(a)(2)(D)(i)(I) satisfies the
                                                NAAQS.77 This finding triggered a 2-                    that addressed CAA section                             requirements of the good neighbor
                                                year deadline for the EPA to issue FIPs                 110(a)(2)(D)(i)(I) for the 2015 ozone                  provision. The EPA is not proposing to
                                                to address the good neighbor provision                  NAAQS.                                                 correct the elements of Delaware’s 2015
                                                for these states by January 6, 2022. As                    Subsequent to the release of the                    ozone NAAQS infrastructure SIP that do
                                                the EPA has subsequently received and                   modeling data shared in the March 2018                 not address CAA section
                                                taken final action to approve good                      memorandum and EPA’s approval of                       110(a)(2)(D)(i)(I).
                                                neighbor SIPs from Maine, Rhode                         Delaware’s 2015 ozone NAAQS good
                                                                                                        neighbor SIP submission, the EPA                          As discussed in greater detail in the
                                                Island, and South Dakota,78 the EPA                                                                            sections that follow, the EPA is
                                                currently has authority under the                       performed updated modeling, as
                                                                                                        described in Section V of this proposed                proposing to determine that there are
                                                December 5, 2019, finding of failure to                                                                        additional emissions reductions that are
                                                submit to issue FIPs for New Mexico,                    rule. The data from this updated air
                                                                                                        quality modeling now show that                         required for Delaware to satisfy its good
                                                Pennsylvania, Utah, and Virginia. In                                                                           neighbor obligations for the 2015 ozone
                                                this proposal, EPA is issuing proposed                  Delaware is projected to contribute more
                                                                                                        than 1 percent of the NAAQS to                         NAAQS. The analysis on which the EPA
                                                FIP requirements for Pennsylvania,                                                                             proposes this conclusion for Delaware is
                                                Utah, and Virginia.79                                   downwind receptors in Bristol,
                                                                                                        Pennsylvania, in the 2023 analytic                     the same, regionally consistent
                                                                                                        year.83 Therefore, in light of the                     analytical framework on which the
                                                Ohio, Wisconsin). EPA has not yet proposed action                                                              Agency proposes FIP action for the
                                                on interstate transport SIPs submitted by California,   modeling data, EPA is proposing to find
                                                Nevada, Utah, and Wyoming.                              that its approval of Delaware’s 2015                   other states included in this proposal.
                                                  76 See the document titled ‘‘Status of CAA Section
                                                                                                        ozone NAAQS infrastructure SIP                         The Agency recognizes that it is
                                                110(a)(2)(D)(i)(I) SIP Submissions for the 2015         submission, with regard only to the                    possible, based on updated information
                                                Ozone NAAQS for States Covered by the Proposed                                                                 for the final rule—as applied within a
                                                Federal Implementation Plan Addressing Regional         portion addressing the good neighbor
                                                Ozone Transport for the 2015 Ozone National             provision at CAA section                               regionally consistent analytical
                                                Ambient Air Quality Standards,’’ included in the        110(a)(2)(D)(i)(I), was in error. Section              framework—that Delaware (or other
                                                docket for this rulemaking, for additional              110(k)(6) of the CAA gives the                         states for which the EPA proposes FIPs
                                                information on EPA’s statutory authorities for this                                                            in this action) may be found to have no
                                                proposed rule.                                          Administrator authority, without any
                                                  77 Findings of Failure To Submit a Clean Air Act                                                             further interstate transport obligation for
                                                Section 110 State Implementation Plan for                 80 Approval and Promulgation of Air Quality          the 2015 ozone NAAQS. If such a
                                                Interstate Transport for the 2015 Ozone National        Implementation Plans; Delaware; Infrastructure         circumstance were to occur, the EPA
                                                Ambient Air Quality Standards (NAAQS), 84 FR            Requirements for the 2015 Ozone Standard and           anticipates that it would not finalize
                                                66612 (December 5, 2019, effective January 6, 2020).    Revisions to Modeling Requirements, 85 FR 25307
                                                  78 Air Plan Approval; Maine and New Hampshire;        (May 1, 2020).                                         this proposed error correction or may
                                                2015 Ozone NAAQS Interstate Transport                     81 ‘‘Technical Support Document for the Delaware     modify the error correction such that the
                                                Requirements, 86 FR 45870 (August 17, 2021); Air        State Implementation Plan for the Infrastructure       approval of Delaware’s portion of the
                                                Plan Approval; Rhode Island; 2015 Ozone NAAQS           Requirements for the 2015 Ozone Standard and           SIP as it relates to its good neighbor
                                                Interstate Transport Requirements, 86 FR 70409          Revisions to Modeling Requirements’’ at 16,
                                                (December 10, 2021); Promulgation of State              available in Docket No. EPA–R03–OAR–2019–0663.         obligations may be affirmed.
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                                                Implementation Plan Revisions; Infrastructure             82 Id. at 17. Based on the 2023 modeling from the

                                                Requirements for the 2015 Ozone National Ambient        2018 memorandum, Delaware was expected in 2023           84 See, e.g., 86 FR 23054, 23068 (error correcting
                                                Air Quality Standards; South Dakota; Revisions to       to have a 0.40 ppb impact on a potential               prior approval of Kentucky’s transport SIP
                                                the Administrative Rules of South Dakota, 85 FR         nonattainment receptor in Fairfield, Connecticut       submission for the 2008 ozone NAAQS to a
                                                29882 (May 19, 2020).                                   (Site ID 90019003) and a 0.38 ppb impact at a          disapproval and simultaneously promulgating FIP
                                                  79 The EPA has not yet taken action on a              potential maintenance receptor in Queens, New          on the basis of the Wisconsin and New York
                                                subsequent good neighbor SIP submission from            York (Site ID 360810124).                              decisions remanding CSAPR Update and vacating
                                                New Mexico or Utah; EPA is not including New              83 The contribution from Delaware in 2023 to the     CSAPR Close-Out and new information establishing
                                                Mexico in this proposed action.                         receptor in Bristol, Pennsylvania, is 1.36 ppb.        Kentucky was linked to downwind receptors).



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                                                2. Application of Rule in Indian Country                submit tribal plans to implement CAA                   included all areas of Indian country
                                                and Necessary or Appropriate Finding                    requirements, including the good                       within the geographic scope of those
                                                   The EPA proposes that this rule will                 neighbor provision. Section 301(d) of                  FIPs, such that any new or existing
                                                be applicable in all areas of Indian                    the CAA and 40 CFR part 49 authorize                   sources meeting the rules’ applicability
                                                country (as defined at 18 U.S.C. 1151)                  the Administrator to treat an Indian                   criteria would be subject to the rule
                                                within the covered geography of the                     Tribe in the same manner as a state (i.e.,             irrespective of whether subject to state
                                                proposal, as defined below. Currently,                  TAS) for purposes of developing and                    or tribal underlying CAA planning
                                                certain areas of Indian country within                  implementing a tribal plan                             authority. In CSAPR, the CSAPR
                                                the geography of the proposal are                       implementing good neighbor                             Update, and the Revised CSAPR
                                                subject to state implementation                         obligations. See 40 CFR 49.3; see also                 Update, the scope of the emissions
                                                planning authority. Other areas of                      ‘‘Indian Tribes: Air Quality Planning                  trading programs established for EGUs
                                                Indian country within that geography                    and Management,’’ hereafter ‘‘Tribal                   extended to cover all areas of Indian
                                                would be subject to tribal planning                     Authority Rule,’’ (63 FR 7254, February                country located within the geographic
                                                authority, although none of the relevant                12, 1998). The EPA is authorized to                    boundaries of the covered states. In
                                                tribes have as yet sought eligibility to                directly implement the good neighbor                   these rules, at the time of their
                                                administer a tribal plan to implement                   provision in the 301(d) FIP areas when                 promulgation, no existing units were
                                                the good neighbor provision.85 As                       it finds, consistent with the authority of             located in the covered areas of Indian
                                                described later, the EPA is proposing to                CAA section 301—which the EPA has                      country; under the general applicability
                                                include all areas of Indian country                     exercised in 40 CFR 49.11—that it is                   criteria of the trading programs,
                                                within the covered geography,                           necessary or appropriate to do so.86                   however, any new sources locating in
                                                notwithstanding whether those areas are                    The EPA proposes in this action to                  such areas would become subject to the
                                                currently subject to a state’s                          find that it is both necessary and                     programs. Thus, EPA established a
                                                implementation planning authority or                    appropriate to regulate all new and                    separate allowance allocation that
                                                the potential planning authority of a                   existing EGU and non-EGU sources                       would be available for any new units
                                                tribe.                                                  meeting the applicability criteria set                 locating in any of the relevant areas of
                                                   With respect to areas of Indian                      forth in this proposed rule in all of the              Indian country. See, e.g., 76 FR at 48293
                                                country not currently subject to a state’s              301(d) FIP areas that are located within               (describing the CSAPR methodology of
                                                implementation planning authority—                      the geographic scope of coverage of the                allowance allocation under the ‘‘Indian
                                                i.e., Indian reservation lands (with the                rule. For purposes of this proposed                    country new unit set-aside’’ provisions);
                                                partial exception of reservation lands                  finding, the geographic scope of                       see also id. at 48217 (explaining EPA’s
                                                located in the State of Oklahoma, as                    coverage of the rule means the areas of                source of authority for directly
                                                described further below) and other areas                the United States encompassed within                   regulating in relevant areas of Indian
                                                of Indian country over which the EPA                    the borders of the states EPA has                      country as necessary or appropriate).
                                                or a tribe has demonstrated that a tribe                determined to be linked at Steps 1 and                 Further, in any action in which the EPA
                                                has jurisdiction—the EPA here proposes                  2 of the 4-step interstate transport                   subsequently approved a state’s SIP
                                                a ‘‘necessary or appropriate’’ finding                  framework.87 For EGU applicability                     submittal to partially or wholly replace
                                                that direct federal implementation of the               criteria, see Section VII.B of this                    the provisions of a CSAPR FIP, EPA has
                                                rule’s requirements is warranted under                  proposed rule; for non-EGU                             clearly delineated that it will continue
                                                CAA section 301(d)(4) and 40 CFR                        applicability criteria, see Section VII.C              to administer the Indian country new
                                                49.11(a) (the areas of Indian country                   of this proposed rule. To EPA’s                        unit set aside for sources in any areas of
                                                subject to this finding are referred to                 knowledge, only one existing EGU or                    Indian country geographically located
                                                                                                        non-EGU source is located within the                   within a state’s borders and not subject
                                                later as the 301(d) FIP areas). Indian
                                                                                                        301(d) FIP areas: The Bonanza Power                    to that state’s CAA planning authority,
                                                Tribes may, but are not required to,
                                                                                                        Plant, an EGU source, located on the                   and the state may not exercise
                                                   85 We note that, consistent with EPA’s prior good    Uintah and Ouray Reservation,                          jurisdiction over any such sources. See,
                                                neighbor actions in California, the regulatory ozone    geographically located within the                      e.g., 82 FR 46674, 46677 (October 6.
                                                monitor located on the Morongo Band of Mission                                                                 2017) (approving Alabama’s SIP
                                                                                                        borders of Utah.
                                                Indians (‘‘Morongo’’) reservation is a projected                                                               submission establishing a state CSAPR
                                                downwind receptor in 2023. See monitoring site             This proposed finding is consistent
                                                                                                                                                               trading program for ozone season NOX,
                                                060651016 in Table V.D–1. We also note that the         with EPA’s prior good neighbor rules. In
                                                Temecula, California regulatory ozone monitor is a                                                             but providing, ‘‘The SIP is not approved
                                                                                                        prior rulemakings under the good
                                                projected downwind receptor in 2023 and in past                                                                to apply on any Indian reservation land
                                                                                                        neighbor provision, the EPA has
                                                regulatory actions has been deemed representative                                                              or in any other area where EPA or an
                                                of air quality on the Pechanga Band of Luiseño                                                                Indian tribe has demonstrated that a
                                                                                                           86 See Arizona Pub. Serv. Co. v. U.S. E.P.A., 562
                                                Indians (‘‘Pechanga’’) reservation. See, e.g.,
                                                Approval of Tribal Implementation Plan and              F.3d 1116, 1125 (10th Cir. 2009) (stating that 40      tribe has jurisdiction.’’).
                                                Designation of Air Quality Planning Area; Pechanga      CFR 49.11(a) ‘‘provides the EPA discretion to             In this proposed rule, the EPA
                                                Band of Luiseño Mission Indians, 80 FR 18120, at       determine what rulemaking is necessary or              proposes to take an approach similar to
                                                18121–18123 (April 3, 2015); see also monitoring        appropriate to protect air quality and requires the
                                                                                                        EPA to promulgate such rulemaking’’); Safe Air For
                                                                                                                                                               the prior CSAPR rulemakings with
                                                site 060650016 in Table V.D–1. The presence of
                                                receptors on, or representative of, the Morongo and     Everyone v. U.S. Env’t Prot. Agency, No. 05–73383,     respect to regulating sources in the
                                                Pechanga reservations does not trigger obligations      2006 WL 3697684, at *1 (9th Cir., Dec. 15, 2006)       301(d) FIP areas.88 The EPA believes
                                                for the Morongo and Pechanga Tribes. Nevertheless,      (‘‘The statutes and regulations that enable EPA to     this approach is necessary and
                                                these receptors are relevant to EPA’s assessment of     regulate air quality on Indian reservations provide
                                                                                                        EPA with broad discretion in setting the content of
                                                                                                                                                               appropriate for several reasons. First,
                                                any linked upwind states’ good neighbor
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                                                obligations. See, e.g., Approval and Promulgation of    such regulations.’’).                                  the purpose of this rule is to address the
                                                Air Quality State Implementation Plans; California;        87 With respect to any non-EGU sources located

                                                Interstate Transport Requirements for Ozone, Fine       in the 301(d) FIP areas, the geographic scope of          88 See Section VII.B.9 of this action for a

                                                Particulate Matter, and Sulfur Dioxide, 83 FR 65093     coverage of this proposed rule does not include        discussion of revisions that are proposed in this
                                                (December 19, 2018). Under 40 CFR 49.4(a), tribes       those states for which EPA proposes to find, based     rulemaking regarding the point in the allowance
                                                are not subject to the specific plan submittal and      on air quality modeling, that no further linkage       allocation process at which the EPA would
                                                implementation deadlines for NAAQS-related              exists by the 2026 analytic year at Steps 1 and 2.     establish set-asides of allowances for units in Indian
                                                requirements, including deadlines for submittal of      The states no longer projected to be linked in 2026    country not subject to a state’s CAA implementation
                                                plans addressing transport impacts.                     are Alabama, Delaware, and Tennessee.                  planning authority.



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                                                interstate transport of ozone on a                      Reservation of the Ute Tribe is in an                  reductions as expeditiously as
                                                national scale, and the technical record                area that is interconnected with the                   practicable.
                                                establishes that the nonattainment and                  western electricity grid and is owned                     Further, the EPA recognizes that
                                                maintenance receptors located                           and operated by an entity that generates               Indian country, including the 301(d) FIP
                                                throughout the country are impacted by                  and provides electricity to customers in               areas, is often home to communities
                                                sources of ozone pollution on a broad                   several states. It is both necessary and               with environmental justice concerns,
                                                geographic scale. The upwind regions                    appropriate, in EPA’s view, to avoid                   and these communities may bear a
                                                associated with each receptor typically                 creating, via this proposed rule, a                    disproportionate level of pollution
                                                span at least two, and often far more,                  structure of incentives that may cause                 burden as compared with other areas of
                                                states. Within the broad upwind region                  generation or production—and the                       the United States. EPA’s draft Strategic
                                                covered by this proposal, the EPA                       associated NOX emissions—to shift into                 Plan for Fiscal Year 2022–2026 89
                                                proposes to apply—consistent with the                   the 301(d) FIP areas to escape regulation              includes an objective to promote
                                                methodology of allocating upwind                        needed to eliminate interstate transport               environmental justice at the Federal,
                                                responsibility in prior transport rules                 under the good neighbor provision.                     Tribal, state, and local levels and states:
                                                going back to the NOX SIP Call—a                           The EPA believes it is appropriate to               ‘‘Integration of environmental justice
                                                uniform level of control stringency. (See               propose direct federal implementation                  principles into all EPA activities with
                                                Section VI of this proposed rule for a                  of the proposed rule’s requirements in                 Tribal governments and in Indian
                                                discussion of EPA’s determination of                    the 301(d) FIP areas at this time rather               country is designed to be flexible
                                                control stringency for this proposal.)                  than at a later date. Tribes have the                  enough to accommodate EPA’s Tribal
                                                Within this approach, consistency in                                                                           program activities and goals, while at
                                                                                                        opportunity to seek TAS and to
                                                rule requirements across all                                                                                   the same time meeting the Agency’s
                                                                                                        undertake tribal implementation plans
                                                jurisdictions is vital in ensuring the                                                                         environmental justice goals.’’ By
                                                                                                        under the CAA. To date, the one tribe
                                                remedy for ozone transport is, in the                                                                          including all areas of Indian country
                                                                                                        which could develop and seek approval
                                                words of the Supreme Court, ‘‘efficient                                                                        within the covered geography of the
                                                                                                        of a tribal implementation plan to
                                                and equitable,’’ 572 U.S. 489, 519. In                                                                         rule, the EPA is advancing
                                                                                                        address good neighbor obligations with
                                                particular, as the Supreme Court found                                                                         environmental justice, lowering
                                                                                                        respect to an existing EGU in the 301(d)
                                                in EME Homer City Generation,                                                                                  pollution burdens in such areas, and
                                                                                                        FIP areas for the 2015 ozone NAAQS (or
                                                allocating responsibility through                                                                              preventing the potential for ‘‘pollution
                                                                                                        for any other NAAQS), the Ute Indian
                                                uniform levels of control across the                                                                           havens’’ to form in such areas as a result
                                                                                                        Tribe of the Uintah and Ouray                          of facilities seeking to locate there to
                                                entire upwind geography is ‘‘equitable’’                Reservation, has not expressed an intent
                                                because, by imposing uniform cost                                                                              avoid the requirements that would
                                                                                                        to do so. Nor has the EPA heard such                   otherwise apply outside of such areas
                                                thresholds on regulated States, EPA’s                   intentions from any other tribe, and it
                                                rule subjects to stricter regulation those                                                                     under this proposed rule.
                                                                                                        would not be reasonable to expect tribes                  Therefore, in order to ensure timely
                                                States that have done relatively less in                to undertake that planning effort,
                                                the past to control their pollution.                                                                           alignment of all needed emissions
                                                                                                        particularly when no existing sources                  reductions with the larger timetable of
                                                Upwind States that have not yet                         are currently located on their lands.
                                                implemented pollution controls of the                                                                          this proposed rule, to ensure equitable
                                                                                                        Further, the EPA is mindful that under                 distribution of the upwind pollution
                                                same stringency as their neighbors will                 court precedent, the EPA and states
                                                be stopped from free riding on their                                                                           reduction obligation across all upwind
                                                                                                        generally bear an obligation to fully                  jurisdictions, to avoid perverse
                                                neighbors’ efforts to reduce pollution.                 implement any required emissions
                                                They will have to bring down their                                                                             economic incentives to locate sources of
                                                                                                        reductions to eliminate significant                    ozone-precursor pollution in the 301(d)
                                                emissions by installing devices of the                  contribution under the good neighbor
                                                kind in which neighboring States have                                                                          FIP areas, and to deliver greater
                                                                                                        provision as expeditiously as                          environmental justice to tribal
                                                already invested. Id.                                   practicable and in alignment with                      communities in line with Executive
                                                   In the context of addressing regional-               downwind areas’ attainment schedule                    Order 13985: Advancing Racial Equity
                                                scale ozone transport in this proposal, a               under the Act. As discussed in Section                 and Support for Underserved
                                                uniform level of stringency that extends                VII.A of this proposed rule, the EPA                   Communities Through the Federal
                                                to and includes the 301(d) FIP areas                    anticipates implementing certain                       Government,90 EPA proposes to find it
                                                geographically located within the                       required emissions reductions by the                   both necessary and appropriate that all
                                                boundaries of the linked upwind states                  2023 ozone season, the last full ozone                 existing and new EGU and non-EGU
                                                carries significant force. Failure to                   season before the 2024 Moderate area                   sources that are located in the 301(d)
                                                include all such areas within the scope                 attainment date, and other key                         FIP areas within the geographic
                                                of the rule creates a significant risk that             additional required emissions                          boundaries of the covered states, and
                                                these areas may be targeted for the siting              reductions by the 2026 ozone season,                   which would be subject to this rule if
                                                of facilities emitting ozone-precursor                  the last full ozone season before the                  located within areas subject to state
                                                pollutants, in order to avoid the                       2027 Serious area attainment date.                     CAA planning authority, should be
                                                regulatory costs that would be imposed                  Absent this proposed federal                           included in this rule. The EPA proposes
                                                under this proposed rule in the                         implementation plan in the 301(d) FIP                  this finding under section 301(d)(4) of
                                                surrounding areas of state jurisdiction.                areas, NOX emissions from any existing                 the Act and 40 CFR 49.11. Further, in
                                                Electricity generation or the production                or new EGU or non-EGU sources located                  order to avoid ‘‘unreasonable delay’’ in
                                                of other goods and commodities may                      in, or locating in, the 301(d) FIP areas
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                                                become more cost-competitive at any                     within the covered geography of the rule                 89 https://www.epa.gov/system/files/documents/
                                                EGUs or non-EGUs not subject to the                     would remain unregulated and could                     2021-10/fy-2022-2026-epa-draft-strategic-plan.pdf
                                                rule but located in a geography where                   potentially increase. This would be                      90 Executive Order 13985 (January 20, 2021):

                                                all surrounding facilities in the same                  inconsistent with EPA’s overall goal of                https://www.whitehouse.gov/briefing-room/
                                                                                                                                                               presidential-actions/2021/01/20/executiveorder-
                                                industrial category are subject to the                  aligning good neighbor obligations with                advancing-racial-equity-and-support-for-
                                                rule. For instance, the affected EGU                    the downwind areas’ attainment                         underserved-communities-through-the-federal-
                                                source located on the Uintah and Ouray                  schedule and to achieve emissions                      government/.



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                                                promulgating this FIP, as required under                   On October 1, 2020, the EPA                           disapproved aspects of the State’s good
                                                section 49.11, the EPA believes it is                   approved Oklahoma’s SAFETEA request                      neighbor SIP submittal.94 In accordance
                                                appropriate to make this proposed                       to administer all the State’s EPA-                       with the discussion above, EPA’s FIP
                                                finding now, in order to align emissions                approved environmental regulatory                        authority in this circumstance would
                                                reduction obligations for any covered                   programs, including the Oklahoma SIP,                    extend to all Indian country in
                                                new or existing sources in the 301(d)                   in the requested areas of Indian                         Oklahoma, other than the excluded
                                                FIP areas with the larger schedule of                   country.92 As requested by Oklahoma,                     Indian country lands, as described
                                                reductions under this proposed rule.                    the EPA’s approval under SAFETEA                         previously.95 Because—per the State’s
                                                Because all other covered EGU and non-                  does not include Indian country lands,                   request under SAFETEA—EPA’s
                                                EGU sources within the geography of                     including rights-of-way running through                  October 1, 2020 approval does not
                                                this proposed rule would be subject to                  the same, that: (1) Qualify as Indian                    displace any SIP authority previously
                                                emissions reductions of uniform                         allotments, the Indian titles to which                   exercised by the State under the CAA as
                                                stringency beginning in the 2023 ozone                  have not been extinguished, under 18                     interpreted in ODEQ v. EPA, EPA’s FIP
                                                season, and as necessary to fully and                   U.S.C. 1151(c); (2) are held in trust by                 authority under CAA section 110(c)
                                                expeditiously address good neighbor                     the United States on behalf of an                        would also apply to any Indian
                                                obligations for the 2015 ozone NAAQS,                   individual Indian or Tribe; or (3) are                   allotments or dependent Indian
                                                there is little benefit to be had by not                owned in fee by a Tribe, if the Tribe (a)                communities located outside of an
                                                proposing to include the 301(d) FIP                     acquired that fee title to such land, or                 Indian reservation over which there has
                                                areas in this rule now and a potentially                an area that included such land, in                      been no demonstration of tribal
                                                significant downside to not doing so.                   accordance with a treaty with the                        authority. EPA’s FIP authority under
                                                   The Agency recognizes that Tribal                    United States to which such Tribe was                    CAA section 110(c) would similarly
                                                governments may still choose to seek                    a party, and (b) never allotted the land                 apply to Indian allotments or dependent
                                                TAS to develop a Tribal plan with                       to a member or citizen of the Tribe                      Indian communities located outside of
                                                respect to the obligations under this                   (collectively ‘‘excluded Indian country                  an Indian reservation over which there
                                                proposed rule, and this proposed                        lands’’).                                                has been no demonstration of tribal
                                                determination does not preclude the                        EPA’s approval under SAFETEA                          authority located in any other state
                                                tribes from taking such actions. The                    expressly provided that to the extent                    within the geographic scope of this
                                                EPA will continue to consult with the                   EPA’s prior approvals of Oklahoma’s                      proposed rule.
                                                government of the Ute Indian Tribe of                   environmental programs excluded                             In light of the relevant legal
                                                the Uintah and Ouray Reservation, and                   Indian country, any such exclusions are                  authorities discussed above regarding
                                                any other tribe wishing to continue                     superseded for the geographic areas of                   the scope of the State of Oklahoma’s
                                                consultation, during the comment                        Indian country covered by EPA’s                          regulatory jurisdiction under the CAA,
                                                period for this proposal. The EPA                       approval of Oklahoma’s SAFETEA                           the EPA has FIP authority under CAA
                                                invites comment on this proposed                        request.93 The approval also provided                    section 110(c) with respect to all Indian
                                                finding.                                                that future revisions or amendments to                   country in Oklahoma other than
                                                                                                        Oklahoma’s approved environmental                        excluded Indian country lands. To the
                                                a. Indian Country Subject to State                      regulatory programs would extend to
                                                Implementation Planning Authority                                                                                extent any change occurs in the scope
                                                                                                        the covered areas of Indian country                      of Oklahoma’s SIP authority in Indian
                                                   Following the U.S. Supreme Court                     (without any further need for additional                 country before the finalization of this
                                                decision in McGirt v. Oklahoma, 140 S.                  requests under SAFETEA).                                 proposed rule, such a change may affect
                                                Ct. 2452 (2020), the Governor of the                       In a Federal Register notice published                the ability of the Agency to exercise the
                                                State of Oklahoma requested approval                    on February 22, 2022 (87 FR 9798), the                   FIP authority provided under section
                                                under Section 10211(a) of the Safe,                     EPA proposed to disapprove the portion
                                                                                                                                                                 110(c) of the Act.96 In that eventuality,
                                                Accountable, Flexible, Efficient                        of an Oklahoma SIP submittal
                                                Transportation Equity Act of 2005: A                    pertaining to the state’s interstate                       94 The antecedent fact that the state had the
                                                Legacy for Users, Public Law 109–59,                    transport obligations under CAA section                  authority and jurisdiction to implement
                                                119 Stat. 1144, 1937 (August 10, 2005)                  110(a)(2)(D)(i)(I) for the 2015 ozone                    requirements under the good neighbor provision, in
                                                (‘‘SAFETEA’’), to administer in certain                 NAAQS. Consistent with the D.C.                          EPA’s view, supplies the condition necessary for
                                                                                                                                                                 the Agency to exercise its FIP authority to the
                                                areas of Indian country (as defined at 18               Circuit’s decision in ODEQ v. EPA and                    extent the EPA has disapproved the state’s SIP
                                                U.S.C. 1151) the State’s environmental                  with EPA’s October 1, 2020 SAFETEA                       submission with respect to those requirements.
                                                regulatory programs that were                           approval, if this disapproval is finalized               Under CAA section 110(c), the EPA ‘‘stands in the
                                                previously approved by the EPA for                      as proposed, EPA will have authority                     shoes of the defaulting state, and all of the rights
                                                                                                        under CAA section 110(c) to promulgate                   and duties that would otherwise fall to the state
                                                areas outside of Indian country. The                                                                             accrue instead to the EPA.’’ Central Ariz. Water
                                                State’s request excluded certain areas of               a FIP as needed to address the                           Conservation Dist. v. EPA, 990 F.2d 1531, 1541 (9th
                                                Indian country further described later.                                                                          Cir. 1993).
                                                In addition, the State only sought                      reservations. ODEQ did not, however, substantively         95 With respect to those areas of Indian country

                                                                                                        address the separate authority in Indian country         constituting ‘‘excluded Indian country lands’’ in the
                                                approval to the extent that such                        provided specifically to Oklahoma under                  State of Oklahoma, as defined above, the EPA
                                                approval is necessary for the State to                  SAFETEA. That separate authority was not invoked         proposes to apply the same necessary or
                                                administer a program in light of                        until the State submitted its request under              appropriate finding as set forth above with respect
                                                Oklahoma Dept. of Environmental                         SAFETEA, and was not approved until EPA’s                to all other 301(d) FIP areas within the geographic
                                                                                                        decision, described in this section, on October 1,       scope of coverage of the rule.
                                                Quality v. EPA, 740 F.3d 185 (D.C. Cir.                 2020.                                                      96 On December 22, 2021, the EPA proposed to
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                                                2014).91                                                  92 Available in the docket for this rulemaking.
                                                                                                                                                                 withdraw and reconsider the October 1, 2020,
                                                                                                          93 EPA’s prior approvals relating to Oklahoma’s        SAFETEA approval. See https://www.epa.gov/ok/
                                                  91 In ODEQ v. EPA, the D.C. Circuit held that         SIP frequently noted that the SIP was not approved       proposed-withdrawal-and-reconsideration-and-
                                                under the CAA, a state has the authority to             to apply in areas of Indian country (consistent with     supporting-information. The EPA is engaging in
                                                implement a SIP in non-reservation areas of Indian      the D.C. Circuit’s decision in ODEQ v. EPA) located      further consultation with tribal governments and
                                                country in the state, where there has been no           in the state. See, e.g., 85 FR 20178, 20180 (April 10,   expects to have discussions with the State of
                                                demonstration of tribal jurisdiction. Under the D.C.    2020). Such prior expressed limitations are              Oklahoma as part of this reconsideration. The EPA
                                                Circuit’s decision, the CAA does not provide            superseded by EPA’s approval of Oklahoma’s               also notes that the October 1, 2020, approval is the
                                                authority to states to implement SIPs in Indian         SAFETEA request.                                                                                    Continued




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                                                and to the extent any such areas would                  an interpretation upheld in Wisconsin,                 Agency also provides the design values
                                                then fall more appropriately within the                 938 F.3d at 322. It would be                           for nonattainment and maintenance
                                                301(d) FIP areas as described earlier in                ‘‘anomalous,’’ id., for the EPA to impose              receptors and the predicted interstate
                                                this section, EPA’s proposed necessary                  good neighbor obligations in 2023 and                  contributions that are at or above the 1
                                                or appropriate finding as set forth above               future years based solely on finding that              percent of the NAAQS screening
                                                with respect to all other 301(d) FIP areas              ‘‘significant contribution’’ had existed at            threshold. The 2016 base period and
                                                within the geographic scope of coverage                 some time in the past. Id.                             2023, 2026, and 2032 future design
                                                of the rule would then apply.                              Applying this framework in this                     values and contributions for all ozone
                                                                                                        proposal, the EPA recognizes that the                  monitoring sites are provided in the
                                                V. Analyzing Downwind Air Quality                       2021 Marginal area attainment date has
                                                Problems and Contributions From                                                                                docket for this proposed rule. The Air
                                                                                                        already passed. Further, based on the                  Quality Modeling Technical Support
                                                Upwind States                                           timing of this proposal, it will not be                Document (AQM TSD) in the docket for
                                                A. Selection of Analytic Years for                      possible to finalize this rulemaking                   this proposed rule contains more
                                                Evaluating Ozone Transport                              before the 2022 ozone season has also                  detailed information on the air quality
                                                Contributions to Downwind Air Quality                   passed. Thus, EPA has selected 2023 as                 modeling aspects of this rule.
                                                Problems                                                the first appropriate future analytic year
                                                                                                        for this proposed rule because it reflects             B. Overview of Air Quality Modeling
                                                   In this section, the EPA describes its                                                                      Platform
                                                process for selecting analytic years for                implementation of good neighbor
                                                air quality modeling and analyses                       obligations as expeditiously as                           The EPA used version 2 of the 2016-
                                                performed to identify nonattainment                     practicable and coincides with the                     based modeling platform for the air
                                                and maintenance receptors and identify                  August 3, 2024, Moderate area                          quality modeling for this proposed rule.
                                                upwind state linkages. For this                         attainment date established for the 2015               This modeling platform includes 2016
                                                proposed rule, the EPA evaluated air                    ozone NAAQS.                                           base year emissions from anthropogenic
                                                                                                           The EPA conducted additional                        and natural sources and 2016
                                                quality to identify receptors at Step 1 for
                                                                                                        analysis for the 2026 and 2032 analytic                meteorology. The platform also includes
                                                three analytic years: 2023, 2026, and
                                                                                                        years in order to ensure a complete Step
                                                2032. The EPA evaluated interstate                                                                             anthropogenic emissions projections for
                                                                                                        3 analysis for future ozone transport
                                                contributions to these receptors from                                                                          2023, 2026, and 2032. The emissions
                                                                                                        contributions to downwind areas. These
                                                individual upwind states at Step 2 for                                                                         data contained in this platform
                                                                                                        years also coincide with the last full
                                                two of these analytic years: 2023 and                                                                          represent an update to the 2016 version
                                                                                                        ozone seasons before future attainment
                                                2026. In selecting these years, the EPA                                                                        1 inventories that were developed by
                                                                                                        dates for the 2015 ozone NAAQS, and
                                                views 2023 and 2026, in particular, to                                                                         the EPA, the Multi-Jurisdictional
                                                                                                        2026 coincides with the ozone season
                                                constitute years by which key emissions                                                                        Organizations (MJOs), and state and
                                                                                                        by which key additional emissions
                                                reductions from EGUs and non-EGUS                                                                              local air agencies as part of the
                                                                                                        reductions from EGUs and non-EGUs
                                                can be implemented ‘‘as expeditiously                                                                          Emissions Inventory Collaborative
                                                                                                        become available. Thus, the EPA
                                                as practicable.’’ (The EPA explains in                                                                         Process.
                                                                                                        analyzed additional years beyond 2023
                                                detail in Section VII of this proposed                                                                            The air quality modeling for this
                                                                                                        to determine whether any additional
                                                rule its proposed determination that the                                                                       proposal was performed for a modeling
                                                                                                        emissions reductions that are
                                                necessary emissions reductions cannot                                                                          region (i.e., modeling domain) that
                                                                                                        impossible to obtain by the 2024
                                                be achieved any more quickly.) In                                                                              covers the contiguous 48 states using a
                                                                                                        attainment date could still be necessary
                                                addition, these years are the last full                                                                        horizontal resolution of 12 x 12 km. The
                                                                                                        in order to fully address significant
                                                ozone seasons before the Moderate and                                                                          EPA used the CAMx version 7.10 for air
                                                                                                        contribution, taking into account the
                                                Serious area attainment dates for the                                                                          quality modeling since this was the
                                                                                                        2027 Serious area attainment date and
                                                2015 ozone NAAQS (ozone seasons run                                                                            most recent version of CAMx available
                                                                                                        the 2033 Severe area attainment date for
                                                each year from May 1–September 30). In                                                                         at the time the air quality modeling was
                                                                                                        the 2015 ozone NAAQS. In all cases, the
                                                order to demonstrate attainment by                                                                             performed.97 Additional information on
                                                                                                        proposed implementation of necessary
                                                these deadlines, downwind states                                                                               the 2016-based air quality modeling
                                                                                                        emissions reductions is as expeditiously
                                                would be required to rely on design                                                                            platform can be found in the AQM TSD.
                                                                                                        as practicable, with all possible
                                                values calculated using ozone design
                                                                                                        emissions reductions implemented by                    C. Emissions Inventories
                                                values from 2021 through 2023 and
                                                                                                        the next applicable attainment date.
                                                2024 through 2026, respectively. By
                                                                                                           The timing framework and selection                    The EPA developed emissions
                                                focusing its analysis, and, potentially,
                                                                                                        of analytic years set forth above                      inventories for this proposal, including
                                                achieving emissions reductions by, the
                                                                                                        comports with the D.C. Circuit’s                       emissions estimates for EGUs, non-EGU
                                                last full ozone seasons before the
                                                                                                        direction in Wisconsin that                            point sources, stationary nonpoint
                                                attainment dates (i.e., in 2023 or 2026),
                                                                                                        implementing good neighbor obligations                 sources, onroad mobile sources,
                                                this proposed rule, if finalized, can
                                                                                                        beyond the dates established for                       nonroad mobile sources, other mobile
                                                assist the downwind areas with
                                                                                                        attainment may be justified on a proper                sources, wildfires, prescribed fires, and
                                                demonstrating attainment or receiving
                                                                                                        showing of impossibility or necessity.                 biogenic emissions that are not the
                                                extensions of attainment dates under
                                                                                                        See 938 F.3d at 320.                                   direct result of human activities. EPA’s
                                                CAA section 181(a)(5).
                                                                                                           The remainder of this section                       air quality modeling relies on this
                                                   It would not make sense for the EPA
                                                                                                        includes information on (1) the air                    comprehensive set of emissions
                                                to analyze any earlier year than 2023.
                                                                                                        quality modeling platform used in
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                                                EPA continues to interpret the good                                                                            inventories because emissions from
                                                                                                        support of the proposed rule with a                    multiple source categories are needed to
                                                neighbor provision as forward-looking,
                                                                                                        focus on the base year and future year                 model ambient air quality and to
                                                based on Congress’s use of the future-
                                                                                                        base case emissions inventories, (2) the               facilitate comparison of model outputs
                                                tense ‘‘will’’ in section 110(a)(2)(D)(i),
                                                                                                        method for projecting design values in                 with ambient measurements.
                                                subject of a pending challenge in federal court.
                                                                                                        2023, 2026, and 2032, and (3) the
                                                Pawnee Nation of Oklahoma v. Regan, No. 20–9635         approach for calculating ozone                           97 Ramboll Environment and Health, January

                                                (10th Cir.).                                            contributions from upwind states. The                  2021, http://www.camx.com.



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                                                   To prepare the emissions inventories                 2. Development of Emissions                            updates through the Summer of 2021 to
                                                for air quality modeling, the EPA                       Inventories for EGUs                                   account for updated federal and state
                                                processed the emissions inventories                        Annual NOX and SO2 emissions for                    environmental regulations (including
                                                using the Sparse Matrix Operator Kernel                 EGUs in the 2016 base year inventory                   Renewable Portfolio Standards (RPS),
                                                Emissions (SMOKE) Modeling System                       are based primarily on data from                       Clean Energy Standards (CES) and other
                                                version 4.8.1 to produce the gridded,                   continuous emissions monitoring                        state mandates), fleet changes
                                                hourly, speciated, model-ready                          systems (CEMS) and other monitoring                    (committed EGU retirements and new
                                                emissions for input to the air quality                  systems allowed for use by qualifying                  builds), electricity demand, technology
                                                model. Additional information on the                    units under 40 CFR part 75, with other                 cost and performance assumptions from
                                                                                                        EGU pollutants estimated using                         recent data (for renewables adopting
                                                development of the emissions
                                                                                                        emissions factors and annual heat input                from National Renewable Energy Lab
                                                inventories and on data sets used during
                                                                                                        data reported to the EPA. For EGUs not                 (NREL’s) Annual Technology Baseline
                                                the emissions modeling process are                                                                             2020 and for fossil sources from U.S.
                                                provided in the TSD titled, ‘‘Preparation               reporting under part 75, the EPA used
                                                                                                        data submitted to the NEI and the                      Energy Information Agency’s (EIA)
                                                of Emissions Inventories for the 2016v2                                                                        Annual Energy Outlook (AEO) 2020.
                                                North American Emissions Modeling                       2016v1 platform by the states.
                                                                                                        Emissions data for EGUs that did not                   Natural gas and coal price projections
                                                Platform,’’ hereafter known as the                                                                             reflect data developed in Fall 2020. The
                                                                                                        have data provided for the year 2016
                                                ‘‘Emissions Modeling TSD.’’ This TSD is                                                                        inventory of EGUs provided as an input
                                                                                                        were pulled forward from data
                                                available in the docket for this rule.                                                                         to the model was the National Electric
                                                                                                        submitted for the 2014 NEI. The Air
                                                                                                        Emissions Reporting Rule, (80 FR 8787;                 Energy Data System (NEEDS) Summer
                                                1. Foundation Emissions Inventory Data
                                                                                                        February 19, 2015), requires that Type A               2021 version and is available on EPA’s
                                                Sets
                                                                                                        point sources large enough to meet or                  website.100 This version of NEEDS
                                                  The 2016v2 emissions platform is                      exceed specific thresholds for emissions               reflects announced retirements and
                                                comprised of data from various sources                  be reported to the EPA every year, while               under construction new builds known
                                                including data developed using models,                  the smaller Type B point sources must                  as of early summer 2021. This projected
                                                methods, and source datasets that                       only be reported to EPA every 3 years.                 base case accounts for the effects of the
                                                became available in calendar years 2020                    The EPA projected future 2023, 2026,                finalized Mercury and Air Toxics
                                                                                                        and 2032 baseline EGU emissions using                  Standards rule, CSAPR, the CSAPR
                                                and 2021, in addition to data from the
                                                                                                        the version 6—Summer 2021 Reference                    Update, the Revised CSAPR Update,
                                                Inventory Collaborative 2016 version 1                                                                         New Source Review settlements, the
                                                (2016v1) Emissions Modeling Platform,                   Case of the Integrated Planning Model
                                                                                                        (IPM). IPM, developed by ICF Consulting,               final Effluent Limitation Guidelines
                                                released in October 2019. The 2016v1                                                                           (ELG) Rule, the Coal Combustion
                                                platform was developed through a                        is a state-of-the-art, peer-reviewed,
                                                                                                        multi-regional, dynamic, deterministic                 Residual (CCR) Rule, and other on-the-
                                                national collaborative effort between the                                                                      books federal and state rules (including
                                                                                                        linear programming model of the
                                                EPA and state and local agencies along                  contiguous U.S. electric power sector. It              renewable energy tax credit extensions
                                                with MJOs and included emissions                        provides forecasts of least cost capacity              from the Consolidated Appropriations
                                                inventories for the years 2016, 2023, and               expansion, electricity dispatch, and                   Act of 2021) through early 2021
                                                2028. For this proposed rule, emissions                 emissions control strategies while                     impacting SO2, NOX, directly emitted
                                                inventories were developed for the years                meeting energy demand and                              particulate matter, CO2, and power plant
                                                2016, 2023, 2026, and 2032 that                         environmental, transmission, dispatch,                 operations. It also includes final actions
                                                represent changes in activity data and of               and reliability constraints. The EPA has               the EPA has taken to implement the
                                                predicted emissions reductions from on-                 used IPM for over two decades,                         Regional Haze Rule and BART
                                                the-books actions, planned emissions                    including all prior implemented CSAPR                  requirements. IPM has projected output
                                                control installations, and promulgated                  rulemakings, to better understand power                years for 2023 and 2025. IPM year 2025
                                                federal measures that affect                            sector behavior under future business-                 outputs were adjusted for known
                                                anthropogenic emissions.98 The 2016                     as-usual conditions and to evaluate the                retirements to be reflective of year 2026,
                                                emissions inventories for the U.S.                      economic and emissions impacts of                      and IPM year 2030 outputs were used
                                                                                                        prospective environmental policies. The                for the year 2032 as is specified by the
                                                include data derived from the 2017
                                                                                                        model is designed to reflect electricity               mapping of IPM output years to specific
                                                National Emissions Inventory (2017NEI)
                                                                                                        markets as accurately as possible. The                 years.
                                                and some data derived from the 2014                                                                               Additional 2023 through 2026 EGU
                                                National Emissions Inventory (NEI),                     EPA uses the best available information
                                                                                                        from utilities, industry experts, gas and              emissions baseline levels were
                                                version 2 (2014NEIv2). All of the                                                                              developed through engineering
                                                inventory sectors were updated to better                coal market experts, financial
                                                                                                        institutions, and government statistics                analytics as an alternative approach that
                                                represent the year 2016 through the                                                                            did not involve IPM. The EPA
                                                                                                        as the basis for the detailed power sector
                                                incorporation of 2016-specific state and                modeling in IPM. The model                             developed this inventory for use in Step
                                                local data along with nationally applied                documentation provides additional                      3 of this final rule, where it determines
                                                adjustment methods. The following                       information on the assumptions                         emissions reduction potential and
                                                sections provide an overview of the                     discussed here as well as all other                    corresponding state-level emissions
                                                construct of the 2016v2 emissions and                   model assumptions and inputs.99                        budgets. IPM includes optimization and
                                                projections.                                               The IPM version 6—Summer 2021                       perfect foresight in solving for least cost
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                                                                                                        Reference Case incorporated recent                     dispatch. Given that this final rule will
                                                  98 Biogenic emissions and emissions from
                                                                                                                                                               likely become effective immediately
                                                wildfires and prescribed fires were held constant
                                                                                                          99 Detailed information and documentation of         prior to the start of the 2023 ozone
                                                                                                        EPA’s Base Case, including all underlying              season, the EPA is adopting a similar
                                                between 2016 and the future years because (1) these
                                                                                                        assumptions, data sources, and architecture
                                                emissions are tied to the 2016 meteorological           parameters can be found on EPA’s website at:
                                                                                                                                                               approach to the CSAPR Update and the
                                                conditions and (2) the focus of this rule is on the     https://www.epa.gov/airmarkets/epas-power-sector-
                                                contribution from anthropogenic emissions to            modeling-platform-v6-using-ipm-summer-2021-              100 Available at https://www.epa.gov/airmarkets/

                                                projected ozone nonattainment and maintenance.          reference-case.                                        national-electric-energy-data-system-needs-v6.



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                                                Revised CSAPR Update where it relied                    requirements. Using the Engineering                    National Emissions Standards for
                                                on IPM in a relative way in Step 3 to                   Analytics tool at this step ensures that               Hazardous Air Pollutants (NESHAP)
                                                avoid overstating optimization and                      the EPA is not codifying into the base                 standards are included. Projection
                                                dispatch decisions in state-emissions                   case, and consequently into state                      approaches for corn ethanol and
                                                budget quantification that may not be                   emissions budgets, changes in the                      biodiesel plants, refineries and
                                                possible in a short time frame. The EPA                 power sector that are merely modeled to                upstream impacts represent
                                                does this by using the difference in                    occur rather than announced by real-                   requirements pursuant to the Energy
                                                emissions rate observed between IPM                     world actors.                                          Independence and Security Act of 2007
                                                runs with and without the cost                             Finally, both in the Revised CSAPR                  (EISA).
                                                threshold applied, rather than using                    Update and in this rule, the EPA was                      Aircraft emissions and ground
                                                absolute values. In both the CSAPR                      able to use the Air Quality Assessment                 support equipment at airports are
                                                Update and in this rule at Step 3, EPA                  Tool to verify that regardless of which                represented as point sources and are
                                                complemented that projected IPM EGU                     EGU inventory is used, the 2023 starting               based on adjustments to emissions in
                                                outlook with historical (e.g., engineering              geography of the program is not                        the January 2021 version of the 2017
                                                analytics) perspective based on                         impacted. In other words, regardless of                NEI (see https://www.epa.gov/air-
                                                historical data that only factors in                    whether a stakeholder takes a more                     emissions-inventories/2017-national-
                                                known changes to the fleet. This 2023                   comprehensive view of the EGU future                   emissions-inventory-nei-data for data
                                                engineering analytics data set is                       (IPM) or a more conservative view of                   and a TSD). A notable update in the
                                                described in more detail in the Ozone                   change in the EGU fleet (Engineering                   January 2021 version of the 2017 NEI as
                                                Transport Policy Analysis Proposed                      Analysis) the starting geography would                 compared to the April 2020 version was
                                                Rule TSD and corresponding Appendix                     be the same. This finding is consistent                a correction to some double counting of
                                                A: State Emissions Budgets Calculations                 with the observation that EGUs are now                 some airport emissions. This correction
                                                and Underlying Data. The Engineering                    less than 10% of the total ozone-season                is incorporated into the inventories for
                                                Analysis used in Step 3 is also                         NOX inventory and the degree of near-                  this proposed rule. The EPA developed
                                                discussed further in Section VII.B of this              term difference between the IPM and                    and applied factors to adjust the 2017
                                                proposed rule.                                          Engineering Analytic regional                          airport emissions to 2016, 2023, 2026,
                                                   Both IPM and the Engineering                         projections is relatively small on the                 and 2032 based on activity growth
                                                Analytics tools are valuable for                        regional level. While the EPA continues                projected by the Federal Aviation
                                                estimating future EGU emissions and                     to believe that IPM is best suited for                 Administration 2019 Terminal Area
                                                examining the cone of uncertainty                       Step 1 and Step 2, and engineering                     Forecast 101 system, the latest available
                                                around any future sector-level inventory                analytics is best suited for Step 3 efforts            version at the time the factors were
                                                estimate. A key difference between the                  in this rulemaking, the Agency is                      developed.
                                                two tools is that IPM reflects both                     requesting comment on the EGU                             Emissions at rail yards were
                                                announced and projected changes in                      emissions inventory most reasonable for                represented as point sources. The 2016
                                                fleet operation, whereas the Engineering                Step 1 and Step 2 in the analysis. The                 rail yard emissions are largely
                                                Analytics tool only reflects announced                  Ozone Transport Policy Analysis                        consistent with the 2017 NEI rail yard
                                                changes. By not including projected                     Proposed Rule TSD contains data on                     emissions. The 2016 and 2023 rail yard
                                                changes that are anticipated in response                2023 and 2026 AQ impacts of each                       emissions were developed through the
                                                to market forces and fleet trends, the                  dataset.                                               2016v1 Inventory Collaborative process,
                                                Engineering Analysis is deliberately                                                                           with the 2026 emissions interpolated
                                                                                                        3. Development of Emissions
                                                conservative in its estimate of change in                                                                      between the 2023 and 2028 emissions
                                                                                                        Inventories for Non-EGU Point Sources
                                                the power sector. Throughout all of the                                                                        from 2016v1 rail yard emissions were
                                                CSAPR rules to date, and prior interstate                  The updates to the non-EGU point
                                                                                                                                                               interpolated from the 2016 and 2023
                                                transport actions, the EPA has used IPM                 source emissions include a few sources
                                                                                                                                                               emissions. Class I rail yard emissions
                                                at Steps 1 and 2 as it is best suited for               being moved to the EGU inventory and
                                                                                                                                                               were projected based on the AEO freight
                                                projecting emissions in an airshed, at                  additional control efficiency
                                                                                                                                                               rail energy use growth rate projections
                                                projecting emissions for time horizons                  information for the year 2016. In the
                                                                                                                                                               for 2016, 2023, and 2032 with the fleet
                                                more than a few years out (for which                    2016v2 platform, some non-EGU point
                                                                                                                                                               mix assumed to be constant throughout
                                                changes would not yet be announced                      source emissions were based on data
                                                                                                        submitted for 2016, others were                        the period.
                                                and thus projecting changes is critical),                                                                         Point source oil and gas emissions for
                                                and for scenarios where the assumed                     projected from 2014 to 2016, and the
                                                                                                                                                               2016 were based on the 2016v1 point
                                                change in emissions is not being                        emissions for any remaining small
                                                                                                                                                               inventory except that an inventory
                                                codified into a state emissions reduction               sources were kept at 2014 levels. Prior
                                                                                                                                                               generated by the Western Regional Air
                                                requirement. Using IPM at Steps 1 and                   to air quality modeling, the emissions
                                                                                                                                                               Partnership (WRAP) 102 was used for the
                                                2 helps the EPA avoid overstating future                inventories were processed into a format
                                                                                                                                                               states of Colorado, Montana, New
                                                year receptor values (Step 1) and future                that is appropriate for the air quality
                                                                                                                                                               Mexico, North Dakota, South Dakota,
                                                year linkages (Step 2) by reflecting                    model to use. The future year non-EGU
                                                                                                                                                               Utah, and Wyoming. The 2016 oil and
                                                reductions anticipated to occur within                  point inventories were grown from 2016
                                                                                                                                                               gas inventories were first projected to
                                                the airshed in the relevant timeframe.                  to the future years using factors based
                                                                                                                                                               2019 values based on actual production
                                                   Engineering analytics has been a                     on the AEO 2021 except for limited
                                                                                                                                                               data, and those 2019 emissions were
                                                useful tool for Step 3 state-level                      cases where errors were identified with
                                                                                                                                                               projected to 2023, 2026, and 2032 using
                                                                                                        the AEO 2021 data in which case data
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                                                emissions reduction estimates in CSAPR
                                                                                                                                                               regional projection factors by product
                                                rulemaking, because at that step EPA is                 from AEO 2020 were used. The future
                                                                                                                                                               type based on AEO 2021 projections.
                                                dealing with more geographic                            year inventories reflect emissions
                                                                                                                                                               NOX and VOC reductions that are co-
                                                granularity (state-level as opposed to                  reductions due to national and local
                                                regional air shed), more near-term (as                  rules, control programs, plant closures,                 101 https://www.faa.gov/data_research/aviation/
                                                opposed to medium-term) assessments,                    consent decrees, and settlements.                      taf/.
                                                and scenarios where reduction estimates                 Reductions from several Maximum                         102 http://www.wrapair2.org/pdf/WRAP_

                                                are codified into regulatory                            Achievable Control Technology and                      OGWG_Report_Baseline_17Sep2019.pdf.



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                                                benefits to the NESHAP and New                          time of modeling including rules newly                  5. Development of Emissions
                                                Source Performance Standards (NSPS)                     added in MOVES3: The Greenhouse Gas                     Inventories for Commercial Marine
                                                for Stationary Reciprocating Internal                   Emissions and Fuel Efficiency                           Vessels
                                                Combustion Engines (RICE) are reflected                 Standards for Medium- and Heavy-Duty                       The commercial marine vessel (CMV)
                                                for select source categories. In addition,              Engines and Vehicles (HDGHG)—Phase                      emissions in the 2016 base case
                                                Natural Gas Turbines and Process                        2 105 and the Safer Affordable Fuel-                    emissions inventory for this rule were
                                                Heaters NSPS NOX controls and NSPS                      Efficient (SAFE) Vehicles Rule.106 Other                based on those in the 2017 NEI. Factors
                                                Oil and Gas VOC controls 103 are                        finalized rules incorporated into the                   were then applied to adjust the 2017
                                                reflected for select source categories.                 onroad mobile source emissions                          NEI emissions backward to represent
                                                The WRAP future year inventory was                      estimates include: Tier 3 Standards                     emissions for the year 2016. The CMV
                                                used in WRAP states in all future                       (March 2014), the Light-Duty                            emissions reflect reductions associated
                                                years.104                                               Greenhouse Gas Rule (March 2013),                       with the Emissions Control Area
                                                4. Development of Emissions                             Heavy (and Medium)-Duty Greenhouse                      proposal to the International Maritime
                                                Inventories for Onroad Mobile Sources                   Gas Rule (August 2011), the Renewable                   Organization control strategy (EPA–
                                                   Onroad mobile sources include                        Fuel Standard (February 2010), the                      420–F–10–041, August 2010);
                                                exhaust, evaporative, and brake and tire                Light Duty Greenhouse Gas Rule (April                   reductions of NOX, VOC, and CO
                                                wear emissions from vehicles that drive                 2010), the Corporate-Average Fuel                       emissions for new C3 engines that went
                                                on roads, parked vehicles, and vehicle                  Economy standards for 2008–2011                         into effect in 2011; and fuel sulfur limits
                                                refueling. Emissions from vehicles using                (April 2010), the 2007 Onroad Heavy-                    that went into effect prior to 2016. The
                                                regular gasoline, high ethanol gasoline,                Duty Rule (February 2009), and the                      cumulative impacts of these rules
                                                diesel fuel, and electric vehicles were                 Final Mobile Source Air Toxics Rule                     through 2023, 2026 and 2030 107 were
                                                represented, along with buses that used                 (MSAT2) (February 2007). Estimates of                   incorporated into the projected
                                                compressed natural gas. The EPA                         the impacts of rules that were in effect                emissions for CMV sources. The CMV
                                                developed the onroad mobile source                      in 2016 are included in the 2016 base                   emissions were split into emissions
                                                emissions for states other than                         year emissions at a level that                          inventories from the larger category 3
                                                California using EPA’s Motor Vehicle                    corresponds to the extent to which each                 (C3) engines, and those from the smaller
                                                Emissions Simulator (MOVES).                            rule had penetrated into the fleet and                  category 1 and 2 (C1C2) engines. CMV
                                                MOVES3 was released in November                         fuel supply by the year 2016. Local                     emissions in California are based on
                                                2020 and has been followed by some                      control programs such as the California                 emissions provided by the state. The
                                                minor releases that improved the usage                  LEV III program for criteria pollutants                 CMV emissions are consistent with the
                                                of the model but that do not have                       are included in the onroad mobile                       emissions for the 2016v1 platform
                                                substantive impacts on the emissions                    source emissions.                                       updated CMV emissions released by
                                                estimates. For this proposal, MOVES3                                                                            February 2020 although they include
                                                                                                           The future year onroad emissions                     future years of 2026 and 2030 instead of
                                                was run using inputs provided by state
                                                                                                        reflect projected changes to fuel                       2028.
                                                and local agencies through the 2017 NEI
                                                                                                        properties and usage, along with the
                                                where available, in combination with                                                                            6. Development of Emissions
                                                nationally available data sets to develop               impact of the rules included in
                                                                                                        MOVES3 for each of the future years.                    Inventories for Other Nonroad Mobile
                                                a complete inventory. Onroad emissions                                                                          Sources
                                                for 2016v2 were developed based on                      MOVES was run for the years 2023,
                                                emissions factors output from MOVES3                    2026, and 2032 to generate the                             Nonroad mobile source emissions
                                                run for the year 2016, coupled with                     emissions factors relevant to those                     inventories (other than CMV,
                                                activity data (e.g., vehicle miles traveled             years. Future year activity data for                    locomotive, and aircraft emissions) were
                                                and vehicle populations) representing                   onroad mobile sources were provided                     developed from monthly, county, and
                                                the year 2016. The 2016 activity data                   by some state and local agencies, and                   process level emissions output from
                                                were provided by some state and local                   otherwise were projected to 2023, 2026,                 MOVES3. Types of nonroad equipment
                                                agencies through the 2016v1 process,                    and 2032 by first projecting the 2016                   include recreational vehicles, pleasure
                                                and the remaining activity data were                    activity to year 2019 based on county                   craft, and construction, agricultural,
                                                derived from the 2017 NEI. The onroad                   level vehicle miles traveled (VMT) from                 mining, and lawn and garden
                                                emissions were computed within                          the Federal Highway Administration,                     equipment. State-submitted emissions
                                                SMOKE by multiplying emissions                          and then from 2019 to the future years                  data for nonroad sources were used for
                                                factors developed using MOVES with                      using AEO 2021-based factors. The                       California.
                                                the appropriate activity data. Onroad                   future year emissions were computed                        The EPA also ran MOVES3 for 2023,
                                                mobile source emissions for California                  within SMOKE by multiplying the                         2026, and 2032 to prepare nonroad
                                                were consistent with the emissions data                 future year emissions factors developed                 mobile emissions inventories for future
                                                provided by the state.                                  using MOVES with the year-specific                      years. The nonroad mobile emissions
                                                   The future-year emissions estimates                  activity data.                                          control programs include reductions to
                                                for onroad mobile sources represent all                                                                         locomotives, diesel engines, and
                                                national control programs known at the                    105 The effect of the HDGHG Phase 2 rule on
                                                                                                                                                                recreational marine engines, along with
                                                                                                        criteria pollutants is estimated in Table 5–48 of the   standards for fuel sulfur content and
                                                   103 On November 15, 2021, the EPA published          Regulatory Impact Analysis, available from https://     evaporative emissions. A
                                                proposed revisions to standards of performance for      nepis.epa.gov/Exe/ZyPDF.cgi/P100P7NS.PDF                comprehensive list of control programs
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                                                new, reconstructed, and modified sources and            ?Dockey=P100P7NS.PDF.
                                                proposed revisions to emissions guidelines for            106 Information on the SAFE vehicles rule is
                                                                                                                                                                included for mobile sources is available
                                                existing sources in the oil and natural gas sector at   available from https://www.epa.gov/regulations-         in the Emissions Modeling TSD.
                                                86 FR 63110. Emissions reductions from proposed         emissions-vehicles-and-engines/safer-affordable-
                                                federal regulatory programs are not included in         fuel-efficient-safe-vehicles-final-rule. Preliminary      107 CMV emissions were projected out to 2030
                                                EPA’s baseline analyses until they have been            analysis by the Office of Transportation and Air        instead of 2032 because that was the last year of
                                                finalized.                                              Quality of the impact of this rule on criteria          data available in a dataset used in the projections
                                                   104 http://www.wrapair2.org/pdf/WRAP_OGWG            pollutants show impacts of less than 1 percent for      process. The year 2030 inventories were used in the
                                                _2028_OTB_RevFinalReport_05March2020.pdf.               VOC and no impact for NOX.                              2032 emissions case.



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                                                  Line haul locomotives are also                          For 2016, nonpoint oil and gas                       Carolina.111 Further, in its decision on
                                                considered a type of nonroad mobile                     emissions inventories were developed                   the remand of the CSAPR from the
                                                source but the emissions inventories for                based on a run of the 2017 NEI version                 Supreme Court in the EME Homer City
                                                locomotives were not developed using                    of the EPA Oil and Gas Tool with data                  case, the D.C. Circuit confirmed that
                                                MOVES3. Year 2016 and 2023                              for year 2016 coupled with the WRAP                    EPA’s approach to identifying
                                                locomotive emissions were developed                     inventory for production-related                       maintenance receptors in the CSAPR
                                                through the 2016v1 process and the year                 nonpoint oil and gas emissions in the                  comported with the court’s prior
                                                2016 emissions are mostly consistent                    states of Colorado, Montana, New                       instruction to give independent
                                                with those in the 2017 NEI. The                         Mexico, North Dakota, South Dakota,                    meaning to the ‘‘interfere with
                                                projected locomotive emissions for                      Utah, and Wyoming, and a California                    maintenance’’ prong in the good
                                                2023, 2026, and 2030 108 were                           Air Resources Board-provided inventory                 neighbor provision. EME Homer City II,
                                                developed by applying factors to the                    was used for emissions in California.                  795 F.3d at 136.
                                                base year emissions using activity data                 Nonpoint oil and gas emissions in other                   In the CSAPR Update and the Revised
                                                based on AEO freight rail energy use                    states and exploration-related emissions               CSAPR Update, the EPA identified
                                                growth rate projections along with                      in the WRAP states were based on a run                 nonattainment receptors as those
                                                emissions rates adjusted to account for                 of the 2017 NEI version of the EPA Oil                 monitoring sites that are projected to
                                                recent historical trends.                               and Gas Tool with input data for the                   have average design values that exceed
                                                                                                        year 2016. The 2016 oil and gas                        the NAAQS and that are also measuring
                                                7. Development of Emissions                                                                                    nonattainment based on the most recent
                                                Inventories for Nonpoint Sources                        inventories were first projected to 2019
                                                                                                        values based on actual production data,                monitored design values. This approach
                                                   Some emissions for stationary                                                                               is consistent with prior transport
                                                                                                        and those 2019 emissions were
                                                nonpoint sources in the 2016 base case                                                                         rulemakings, such as the NOX SIP Call
                                                                                                        projected to 2023, 2026, and 2032 using
                                                emissions inventory come from the 2017                                                                         and CAIR, where the EPA defined
                                                                                                        regional projection factors by product
                                                NEI adjusted to 2016 levels, while                                                                             nonattainment receptors as those areas
                                                                                                        type based on AEO 2021 projections.
                                                others are based on data from the                                                                              that both currently monitor
                                                                                                        NOX and VOC reductions that are co-                    nonattainment and that the EPA projects
                                                2014NEIv2 adjusted to reflect year 2016                 benefits to the NESHAP and NSPS for
                                                more closely using factors based on                                                                            will be in nonattainment in the future
                                                                                                        RICE are reflected for select source                   compliance year.112
                                                changes to human population from 2014
                                                                                                        categories. In addition, Natural Gas                      The Agency explained in the NOX SIP
                                                to 2016. Stationary nonpoint sources
                                                                                                        Turbines and Process Heaters NSPS                      Call and CAIR and then reaffirmed in
                                                include evaporative sources, consumer
                                                                                                        NOX controls and NSPS Oil and Gas                      the CSAPR Update that the EPA has the
                                                products, fuel combustion that is not
                                                                                                        VOC controls are reflected for select                  most confidence in our projections of
                                                captured by point sources, agricultural
                                                                                                        source categories. The WRAP future                     nonattainment for those counties that
                                                livestock, agricultural fertilizer,
                                                                                                        year inventory was used in WRAP states                 also measure nonattainment for the
                                                residential wood combustion, fugitive
                                                                                                        in all future years.110                                most recent period of available ambient
                                                dust, and oil and gas sources. The
                                                emissions sources based on the 2017                     D. Air Quality Modeling To Identify                    data. The EPA separately identified
                                                NEI include agricultural livestock,                     Nonattainment and Maintenance                          maintenance receptors as those
                                                fugitive dust, residential wood                         Receptors                                              receptors that would have difficulty
                                                combustion, waste disposal (including                                                                          maintaining the relevant NAAQS in a
                                                composting), bulk gasoline terminals,                      In this section, the Agency describes               scenario that accounts for historical
                                                and miscellaneous non-industrial                        the air quality modeling and analyses                  variability in air quality at that receptor.
                                                sources such as cremation, hospitals,                   performed in Step 1 to identify locations              The variability in air quality was
                                                lamp breakage, and automotive repair                    where the Agency expects there to be                   determined by evaluating the
                                                shops. A new method for solvent VOC                     nonattainment or maintenance receptors                 ‘‘maximum’’ future design value at each
                                                emissions was used.109                                  for the 2015 ozone NAAQS in the 2023,                  receptor based on a projection of the
                                                   Where states provided the Inventory                  2026, and 2032 analytic future years.                  maximum measured design value over
                                                Collaborative information about                         Where EPA’s analysis shows that an                     the relevant period. The EPA interprets
                                                projected control measures or changes                   area or site does not fall under the                   the projected maximum future design
                                                in nonpoint source emissions for                        definition of a nonattainment or                       value to be a potential future air quality
                                                2016v1 or 2016v2, those inputs were                     maintenance receptor in 2023, that site                outcome consistent with the
                                                incorporated into the projected                         is excluded from further analysis under                meteorology that yielded maximum
                                                inventories for 2023, 2026, and 2032 to                 EPA’s good neighbor framework.                         measured concentrations in the ambient
                                                the extent possible. Where possible,                                                                           data set analyzed for that receptor (i.e.,
                                                                                                           In this proposed rule, the EPA is
                                                projection factors based on the AEO                                                                            ozone conducive meteorology). The EPA
                                                                                                        applying the same approach used in the
                                                were based on AEO 2021. Adjustments                                                                            also recognizes that previously
                                                                                                        CSAPR Update and the Revised CSAPR                     experienced meteorological conditions
                                                for state fuel sulfur content rules for fuel            Update to identify nonattainment and
                                                oil in the Northeast were included.                                                                            (e.g., dominant wind direction,
                                                                                                        maintenance receptors for the 2008                     temperatures, and air mass patterns)
                                                Projected emissions for portable fuel                   ozone NAAQS. See 86 FR 23078–79.
                                                containers reflect the impact of                                                                               promoting ozone formation that led to
                                                projection factors required by the final                   EPA’s approach gives independent                    maximum concentrations in the
                                                MSAT2 rule and the EISA, including                      effect to both the ‘‘contribute                        measured data may reoccur in the
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                                                updates to cellulosic ethanol plants,                   significantly to nonattainment’’ and the
                                                ethanol transport working losses, and                   ‘‘interfere with maintenance’’ prongs of                 111 531 F.3d at 910–911 (holding that the EPA

                                                                                                        section 110(a)(2)(D)(i)(I), consistent with            must give ‘‘independent significance’’ to each prong
                                                ethanol distribution vapor losses.                                                                             of CAA section 110(a)(2)(D)(i)(I)).
                                                                                                        the D.C. Circuit’s direction in North                    112 See 63 FR 57375, 57377 (October 27, 1998); 70
                                                  108 The farthest out year for which locomotive
                                                                                                                                                               FR 25241(January 14, 2005). See also North
                                                emissions were projected was 2030 and those were          110 http://www.wrapair2.org/pdf/WRAP_                Carolina, 531 F.3d at 913–914 (affirming as
                                                used in the 2032 case.                                  OGWG_2028_OTB_RevFinalReport_                          reasonable EPA’s approach to defining
                                                  109 https://doi.org/10.5194/acp-21-5079-2021.         05March2020.pdf.                                       nonattainment in CAIR).



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                                                future. The maximum design value                         nonattainment receptors. Consistent                   monitoring site to calculate a Relative
                                                gives a reasonable projection of future                  with the concepts for maintenance                     Response Factor (RRF) for that site.118
                                                air quality at the receptor under a                      receptors, as described above, the EPA                The 2016–2018 base period average and
                                                scenario in which such conditions do,                    identifies ‘‘maintenance-only’’ receptors             maximum design values were
                                                in fact, reoccur.113 The projected                       as those monitoring sites that have                   multiplied by the RRF to project each of
                                                maximum design value is used to                          projected average design values above                 these design values to each of the three
                                                identify upwind emissions that, under                    the level of the applicable NAAQS, but                future years. In this manner, the
                                                those circumstances, could interfere                     that are not currently measuring                      projected design values are grounded in
                                                with the downwind area’s ability to                      nonattainment based on the most recent                monitored data, and not the absolute
                                                maintain the NAAQS.                                      official design values. In addition, those            model-predicted future year
                                                   Therefore, applying this methodology                  monitoring sites with projected average               concentrations. Following the approach
                                                in this proposed rule, EPA assessed the                  design values below the NAAQS, but                    in the CSAPR Update and the Revised
                                                magnitude of the maximum projected                       with projected maximum design values                  CSAPR Update, the EPA also projected
                                                design values for 2023, 2026, and 2032                   above the NAAQS are also identified as                future year design values based on a
                                                at each receptor in relation to the 2015                 ‘‘maintenance only’’ receptors, even if               modified version of the ‘‘3 x 3’’
                                                ozone NAAQS and, where such a value                      they are currently measuring                          approach for those monitoring sites
                                                exceeds the NAAQS, the EPA                               nonattainment based on the most recent                located in coastal areas. In this
                                                determined that receptor to be a                         official design values.                               alternative approach, EPA eliminated
                                                ‘‘maintenance’’ receptor for purposes of                    Consistent with EPA’s modeling                     from the RRF calculations the modeling
                                                defining interference with maintenance,                  guidance, the 2016 base year and future               data in those grid cells that are
                                                consistent with the method used in                       year air quality modeling results were                dominated by water (i.e., more than 50
                                                CSAPR and upheld by the D.C. Circuit                     used in a relative sense to project design            percent of the area in the grid cell is
                                                in EME Homer City II.114 That is,                        values for 2023, 2026, and 2032. That is,             water) and that do not contain a
                                                monitoring sites with a maximum                          the ratios of future year model                       monitoring site (i.e., if a grid cell is more
                                                design value that exceeds the NAAQS                      predictions to base year model                        than 50 percent water but contains an
                                                are projected to have maintenance                        predictions are used to adjust ambient                air quality monitor, that cell would
                                                problems in the future analytic years.115                ozone design values 116 up or down                    remain in the calculation). The choice of
                                                   Recognizing that nonattainment                        depending on the relative (percent)                   more than 50 percent of the grid cell
                                                receptors are also, by definition,                       change in model predictions for each                  area as water as the criteria for
                                                maintenance receptors, the EPA often                     location. The modeling guidance                       identifying overwater grid cells is based
                                                uses the term ‘‘maintenance-only’’ to                    recommends using measured ozone                       on the treatment of land use in the
                                                refer to receptors that are not also                     concentrations for the 5-year period                  Weather Research and Forecasting
                                                                                                         centered on the base year as the air                  model (WRF).119 Specifically, in the
                                                   113 The EPA’s air quality modeling guidance           quality data starting point for future                WRF meteorological model those grid
                                                identifies the use of the highest of the relevant base   year projections. This average design
                                                period design values as a means to evaluate future
                                                                                                                                                               cells that are greater than 50%
                                                year attainment under meteorological conditions
                                                                                                         value is used to dampen the effects of                overwater are treated as being 100
                                                that are especially conducive to ozone formation.        inter-annual variability in meteorology               percent overwater. In such cases the
                                                See U.S. Environmental Protection Agency, 2018.          on ozone concentrations and to provide                meteorological conditions in the entire
                                                Modeling Guidance for Demonstrating Attainment           a reasonable projection of future air
                                                of Air Quality Goals for Ozone, PM2.5, and Regional
                                                                                                                                                               grid cell reflect the vertical mixing and
                                                                                                         quality at the receptor under average                 winds over water, even if part of the
                                                Haze, Research Triangle Park, NC.
                                                   114 See 795 F.3d at 136.                              conditions. In addition, the Agency                   grid cell also happens to be over land
                                                   115 The EPA issued a memorandum in October            calculated maximum design values from                 with land-based emissions, as can often
                                                2018, providing additional information to states         within the 5-year base period to                      be the case for coastal areas. Overlaying
                                                developing interstate transport SIP submissions for      represent conditions when meteorology                 land-based emissions with overwater
                                                the 2015 8-hour ozone NAAQS concerning                   is more favorable than average for ozone
                                                considerations for identifying downwind areas that                                                             meteorology may be representative of
                                                may have problems maintaining the standard at            formation. Because the base year for the              conditions at coastal monitors during
                                                Step 1 of the 4-step interstate transport framework.     air quality modeling used in this                     times of on-shore flow associated with
                                                See Considerations for Identifying Maintenance           proposed rule is 2016, measured data                  synoptic conditions or sea-breeze or
                                                Receptors for Use in Clean Air Act Section               for 2014–2018 (i.e., design values for
                                                110(a)(2)(D)(i)(I) Interstate Transport State                                                                  lake-breeze wind flows. But there may
                                                Implementation Plan Submissions for the 2015
                                                                                                         2016, 2017, and 2018) were used in                    be other times, particularly with off-
                                                Ozone National Ambient Air Quality Standards,            order to project average and maximum                  shore wind flow, when vertical mixing
                                                October 19, 2018 (‘‘October 2018 memorandum’’),          design values in 2023, 2026, and 2032.                of land-based emissions may be too
                                                available in Docket No. EPA–HQ–OAR–2021–0663                The ozone predictions from the 2016
                                                or at https://www.epa.gov/airmarkets/memo-and-           and future year air quality model                       118 The relative response factor represents the
                                                supplemental-information-regarding-interstate-
                                                transport-sips-2015-ozone-naaqs. The EPA does not        simulations were used to project 2016–                change in ozone at a given site. In order to calculate
                                                propose to adopt the information or suggested            2018 average and maximum ozone                        the RRF, EPA’s modeling guidance recommends
                                                analytical approaches in that memorandum in this         design values to 2023, 2026, and 2032                 selecting the 10 highest ozone days in an ozone
                                                proposed rule proposing FIPs. Potential alternative                                                            season at a given monitor in the base year, noting
                                                                                                         using an approach similar to the                      which of the grid cells surrounding the monitor
                                                approaches would introduce unnecessary and
                                                substantial additional analytical burdens that could     approach in EPA’s guidance for                        experienced the highest ozone concentrations in the
                                                frustrate timely and efficient implementation of         attainment demonstration modeling.                    base year, and averaging those ten highest
                                                good neighbor obligations. In addition, the              This guidance recommends using model                  concentrations. The model is then run using the
                                                information supplied in that memorandum is now                                                                 projected year emissions, in this case 2023, with all
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                                                                                                         predictions from the 3 x 3 array of grid              other model variables held constant. Ozone
                                                outdated due to several additional years of air
                                                quality monitoring data and updated modeling
                                                                                                         cells 117 surrounding the location of the             concentrations from the same ten days, in the same
                                                results. EPA’s current approach to defining                                                                    grid cells, are then averaged. The fractional change
                                                ‘‘maintenance’’ receptors has been upheld and              116 The ozone design value at a particular          between the base year (2016 model run) averaged
                                                continues to provide an appropriate approach to          monitoring site is the 3-year average of the annual   ozone concentrations and the future year (e.g., 2023
                                                addressing the ‘‘interference with maintenance’’         4th highest daily maximum 8-hour ozone                model run) averaged ozone concentrations
                                                prong of the Good Neighbor provision. See EME            concentration at that site.                           represents the relative response factor.
                                                Homer City, 795 F.3d 118, 136–37; Wisconsin, 938           117 As noted above, each model grid cell is 12 x      119 https://www.mmm.ucar.edu/weather-research-

                                                F.3d at 325–26.                                          12 km.                                                and-forecasting-model.



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                                                limited due to the presence of overwater                       NAAQS based on the average design                      equal to the average design value. The
                                                meteorology. Thus, for our modeling                            values in the future analytic years, the               monitoring sites that the Agency
                                                EPA projected average and maximum                              Agency examined the measured design                    projects to be nonattainment and
                                                design values at individual monitoring                         values for 2020, which are the most                    maintenance receptors for the ozone
                                                sites based on both the ‘‘3 x 3’’ approach                     recent official measured design values at              NAAQS in the 2023 and 2026 base case
                                                as well as the alternative approach that                       the time of this proposal. As noted                    are used for assessing the contribution
                                                eliminates overwater cells in the RRF                          earlier, the Agency proposes to identify               of emissions in upwind states to
                                                calculation for near-coastal areas (i.e.,                      nonattainment receptors in this                        downwind nonattainment and
                                                ‘‘no water’’ approach). The projected                          rulemaking as those sites that are                     maintenance of ozone NAAQS as part of
                                                2023, 2026, and 2032 design values                             violating the NAAQS based on current                   this proposal.
                                                using both the ‘‘3 x 3’’ and ‘‘no-water’’                      measured air quality and also have                        Table V.D–1 contains the 2016-
                                                approaches are provided in the docket                          projected average design values of 71                  centered 122 base period average and
                                                for this proposed rule. For this proposed                      ppb or greater. Maintenance-only                       maximum 8-hour ozone design values,
                                                rule, the EPA is relying upon design                           receptors include both (1) those sites                 the 2023 base case average and
                                                values based on the ‘‘no water’’                               with projected average design values                   maximum design values and the 2020
                                                approach for identifying nonattainment                         above the NAAQS that are currently                     design values for the sites that are
                                                and maintenance receptors.120                                  measuring clean data and (2) those sites               projected to be nonattainment receptors
                                                   Consistent with the truncation and                          with projected average design values                   in 2023. Table V.D–2 contains this same
                                                rounding procedures for the 8-hour                             below the level of the NAAQS, but with                 information for monitoring sites that are
                                                ozone NAAQS, the projected design                              projected maximum design values of 71                  projected to be maintenance-only
                                                values are truncated to integers in units                      ppb or greater. In addition to the                     receptors in 2023. The design values for
                                                of ppb.121 Therefore, projected design                         maintenance-only receptors, the 2021                   all monitoring sites in the U.S. are
                                                values that are greater than or equal to                       ozone nonattainment receptors are also                 provided in the docket for this rule.
                                                71 ppb are considered to be violating                          maintenance receptors because the                      Additional details on the approach for
                                                the 2015 ozone NAAQS. For those sites                          maximum design values for each of                      projecting average and maximum design
                                                that are projected to be violating the                         these sites is always greater than or                  values are provided in the AQM TSD.

                                                  TABLE V.D–1—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                  2020 DESIGN VALUES (ppb) AT PROJECTED NONATTAINMENT RECEPTORS *
                                                                                                                                   2016              2016              2023               2023
                                                        Monitor ID               State                County                     centered          centered                                                    2020
                                                                                                                                                                      average            maximum
                                                                                                                                 average           maximum

                                                060170010 ....................   CA       El Dorado .....................               85.3                  88              76.3                78.7                 84
                                                060170020 ....................   CA       El Dorado .....................               82.0                  84              74.3                76.2                 80
                                                060190007 ....................   CA       Fresno ..........................             87.0                  89              80.4                82.2                 80
                                                060190011 ....................   CA       Fresno ..........................             90.0                  91              82.9                83.8                 84
                                                060190242 ....................   CA       Fresno ..........................             84.3                  86              79.5                81.1                 79
                                                060194001 ....................   CA       Fresno ..........................             90.3                  92              82.8                84.4                 81
                                                060195001 ....................   CA       Fresno ..........................             91.0                  94              83.7                86.4                 84
                                                060250005 ....................   CA       Imperial .........................            76.7                  77              76.3                76.6                 78
                                                060251003 ....................   CA       Imperial .........................            76.0                  76              75.4                75.4                 68
                                                060290007 ....................   CA       Kern ..............................           87.7                  89              82.8                84.0                 93
                                                060290008 ....................   CA       Kern ..............................           83.0                  85              79.1                81.0                 85
                                                060290011 ....................   CA       Kern ..............................           83.3                  85              78.8                80.4                 86
                                                060290014 ....................   CA       Kern ..............................           86.0                  88              81.3                83.2                 85
                                                060290232 ....................   CA       Kern ..............................           79.3                  82              74.9                77.5                 83
                                                060292012 ....................   CA       Kern ..............................           89.3                  90              84.1                84.7                 85
                                                060295002 ....................   CA       Kern ..............................           87.3                  89              82.4                84.0                 89
                                                060296001 ....................   CA       Kern ..............................           80.7                  81              77.1                77.4                 82
                                                060311004 ....................   CA       Kings .............................           83.3                  84              76.9                77.6                 80
                                                060370002 ....................   CA       Los Angeles ..................                94.3                  99              88.0                92.4                 97
                                                060370016 ....................   CA       Los Angeles ..................               100.0                 103              93.4                96.2                107
                                                060371201 ....................   CA       Los Angeles ..................                88.3                  91              82.7                85.3                 92
                                                060371602 ....................   CA       Los Angeles ..................                75.7                  76              73.6                73.9                 78
                                                060371701 ....................   CA       Los Angeles ..................                92.0                  95              85.6                88.4                 88
                                                060372005 ....................   CA       Los Angeles ..................                84.7                  86              80.7                81.9                 93
                                                060376012 ....................   CA       Los Angeles ..................                98.0                 100              91.6                93.4                101
                                                060379033 ....................   CA       Los Angeles ..................                87.3                  89              80.7                82.2                 80
                                                060390004 ....................   CA       Madera .........................              80.3                  83              75.7                78.3                 76
                                                060392010 ....................   CA       Madera .........................              82.7                  84              77.0                78.2                 78
                                                060430003 ....................   CA       Mariposa .......................              76.0                  79              74.2                77.1                 79
                                                060470003 ....................   CA       Merced ..........................             80.7                  82              74.7                75.9                 76
                                                060570005 ....................   CA       Nevada .........................              86.3                  90              78.1                81.5                 82
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                                                  120 Using design values from the ‘‘3 x 3’’                   ‘‘no water’’ approach would be a maintenance-only        121 40 CFR part 50, Appendix P to Part 50—

                                                approach, the maintenance-only receptor at site                receptor with the ‘‘3 x 3’’ approach because the       Interpretation of the Primary and Secondary
                                                170317002 in Cook County, IL would become a                    maximum design value with the ‘‘no water’’             National Ambient Air Quality Standards for Ozone.
                                                nonattainment receptor because the average design              approach was 69.9 ppb versus a maximum design            122 2016-centered averaged design values

                                                value with the ‘‘3 x 3’’ approach is 71.1 ppb versus           value of 71.2 ppb with the ‘‘3 x 3’’ approach.         represent the average of the design values for 2016,
                                                70.1 ppb with the ‘‘no water’’ approach. In addition,          However, including this Lake County, Illinois site     2017, and 2018. Similarly, the maximum 2016-
                                                the monitor at site 170971007 in Lake County, IL               as a receptor would not affect which states are        centered design value is the highest measured
                                                which was not projected to be a receptor using the             covered by this proposed rule.                         design value from these three design value periods.



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                                                  TABLE V.D–1—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                              2020 DESIGN VALUES (ppb) AT PROJECTED NONATTAINMENT RECEPTORS *—Continued
                                                                                                                                   2016              2016              2023             2023
                                                        Monitor ID               State                County                     centered          centered                                        2020
                                                                                                                                                                      average          maximum
                                                                                                                                 average           maximum

                                                060592022 ....................   CA       Orange ..........................             77.7                  78               72.5         72.8           82
                                                060595001 ....................   CA       Orange ..........................             75.3                  76               72.3         73.0           77
                                                060610003 ....................   CA       Placer ...........................            85.0                  88               77.1         79.8          N/A
                                                060610004 ....................   CA       Placer ...........................            79.3                  85               71.9         77.0          N/A
                                                060610006 ....................   CA       Placer ...........................            80.0                  81               72.8         73.7           72
                                                060650008 ....................   CA       Riverside .......................             76.5                  79               71.0         73.3          N/A
                                                060650012 ....................   CA       Riverside .......................             95.3                  98               85.9         88.3           99
                                                060650016 ....................   CA       Riverside .......................             79.0                  80               72.0         72.9           78
                                                060651016 ....................   CA       Riverside .......................             99.7                 101               89.8         90.9           99
                                                060652002 ....................   CA       Riverside .......................             82.7                  85               76.4         78.5           84
                                                060655001 ....................   CA       Riverside .......................             88.7                  91               80.5         82.6           88
                                                060656001 ....................   CA       Riverside .......................             92.3                  93               83.5         84.1           94
                                                060658001 ....................   CA       Riverside .......................             96.7                  98               89.5         90.7           96
                                                060658005 ....................   CA       Riverside .......................             95.0                  98               87.9         90.7           98
                                                060659001 ....................   CA       Riverside .......................             88.7                  91               80.8         82.9           87
                                                060670002 ....................   CA       Sacramento ..................                 77.7                  78               71.4         71.7           72
                                                060670012 ....................   CA       Sacramento ..................                 82.3                  83               74.8         75.4          N/A
                                                060710001 ....................   CA       San Bernardino ............                   79.0                  80               74.5         75.4           81
                                                060710005 ....................   CA       San Bernardino ............                  110.3                 112              100.3        101.8          109
                                                060710012 ....................   CA       San Bernardino ............                   95.0                  98               87.3         90.1           90
                                                060710306 ....................   CA       San Bernardino ............                   84.0                  86               76.8         78.6           83
                                                060711004 ....................   CA       San Bernardino ............                  105.7                 109               97.2        100.2          106
                                                060712002 ....................   CA       San Bernardino ............                   97.7                  99               90.1         91.3          102
                                                060714001 ....................   CA       San Bernardino ............                   90.3                  91               82.6         83.3           87
                                                060714003 ....................   CA       San Bernardino ............                  104.0                 107               95.2         98.0          114
                                                060719002 ....................   CA       San Bernardino ............                   87.3                  89               80.1         81.6           86
                                                060719004 ....................   CA       San Bernardino ............                  108.7                 111               99.5        101.6          110
                                                060731006 ....................   CA       San Diego .....................               83.0                  84               76.9         77.9           79
                                                060773005 ....................   CA       San Joaquin .................                 77.3                  79               71.3         72.8           70
                                                060990005 ....................   CA       Stanislaus .....................              81.0                  82               75.4         76.3           79
                                                060990006 ....................   CA       Stanislaus .....................              83.7                  84               77.5         77.8           80
                                                061030004 ....................   CA       Tehama ........................               79.7                  81               72.3         73.4           74
                                                061070006 ....................   CA       Tulare ...........................            84.7                  86               79.1         80.3           83
                                                061070009 ....................   CA       Tulare ...........................            89.0                  89               82.6         82.6           88
                                                061072002 ....................   CA       Tulare ...........................            82.7                  85               75.5         77.6           83
                                                061072010 ....................   CA       Tulare ...........................            84.0                  86               77.0         78.8           80
                                                061090005 ....................   CA       Tuolumne ......................               80.7                  83               75.6         77.8           77
                                                080350004 ....................   CO       Douglas ........................              77.3                  78               71.7         72.3           81
                                                080590006 ....................   CO       Jefferson .......................             77.3                  78               72.6         73.3           79
                                                080590011 ....................   CO       Jefferson .......................             79.3                  80               73.8         74.4           80
                                                080690011 ....................   CO       Larimer .........................             75.7                  77               71.3         72.6           75
                                                090010017 ....................   CT       Fairfield .........................           79.3                  80               73.0         73.7           82
                                                090013007 ....................   CT       Fairfield .........................           82.0                  83               74.2         75.1           80
                                                090019003 ....................   CT       Fairfield .........................           82.7                  83               76.1         76.4           79
                                                090099002 ....................   CT       New Haven ...................                 79.7                  82               71.8         73.9           80
                                                481671034 ....................   TX       Galveston .....................               75.7                  77               71.1         72.3           74
                                                482010024 ....................   TX       Harris ............................           79.3                  81               75.2         76.8           79
                                                482010055 ....................   TX       Harris ............................           76.0                  77               71.0         72.0           76
                                                490110004 ....................   UT       Davis .............................           75.7                  78               72.9         75.1           77
                                                490353006 ....................   UT       Salt Lake ......................              76.3                  78               73.6         75.3           74
                                                490353013 ....................   UT       Salt Lake ......................              76.5                  77               74.4         74.9           73
                                                550590019 ....................   WI       Kenosha .......................               78.0                  79               72.8         73.7           74
                                                551010020 ....................   WI       Racine ..........................             76.0                  78               71.3         73.2           73
                                                551170006 ....................   WI       Sheboygan ...................                 80.0                  81               73.6         74.5           75
                                                   * ‘‘N/A’’ is used to denote that there is no valid 2020 design value.

                                                  TABLE V.D–2—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                 2020 DESIGN VALUES (ppb) AT PROJECTED MAINTENANCE-ONLY RECEPTORS
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                                                                                                                                   2016              2016              2023             2023
                                                        Monitor ID               State                County                     centered          centered                                        2020
                                                                                                                                                                      average          maximum
                                                                                                                                 average           maximum

                                                040278011 ....................   AZ       Yuma ............................             72.3                  74               70.5         72.2          68
                                                060070007 ....................   CA       Butte .............................           76.7                  79               68.9         71.0          73
                                                060090001 ....................   CA       Calaveras .....................               77.0                  78               70.9         71.9          72
                                                060371103 ....................   CA       Los Angeles ..................                73.0                  74               70.5         71.5          76
                                                060430006 ....................   CA       Mariposa .......................              75.0                  76               70.1         71.0          79



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                                                  TABLE V.D–2—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                             2020 DESIGN VALUES (ppb) AT PROJECTED MAINTENANCE-ONLY RECEPTORS—Continued
                                                                                                                                   2016              2016              2023             2023
                                                        Monitor ID               State                County                     centered          centered                                                 2020
                                                                                                                                                                      average          maximum
                                                                                                                                 average           maximum

                                                060675003 ....................   CA       Sacramento ..................                 77.3                  79              70.2              71.7                70
                                                060711234 ....................   CA       San Bernardino ............                   72.3                  76              70.6              74.2                76
                                                061112002 ....................   CA       Ventura .........................             77.3                  78              70.9              71.6                77
                                                170310001 ....................   IL       Cook .............................            73.0                  77              69.6              73.4                75
                                                170310032 ....................   IL       Cook .............................            72.3                  75              69.8              72.4                74
                                                170310076 ....................   IL       Cook .............................            72.0                  75              69.3              72.1                69
                                                170314201 ....................   IL       Cook .............................            73.3                  77              69.9              73.4                77
                                                170317002 ....................   IL       Cook .............................            74.0                  77              70.1              73.0                75
                                                320030075 ....................   NV       Clark .............................           75.0                  76              70.0              71.0                74
                                                350130021 ....................   NM       Dona Ana .....................                72.7                  74              70.9              72.2                78
                                                350130022 ....................   NM       Dona Ana .....................                71.3                  74              69.5              72.1                74
                                                420170012 ....................   PA       Bucks ............................            79.3                  81              70.7              72.2                74
                                                480391004 ....................   TX       Brazoria ........................             74.7                  77              70.1              72.3                73
                                                481210034 ....................   TX       Denton ..........................             78.0                  80              70.4              72.2                72
                                                481410037 ....................   TX       El Paso .........................             71.3                  73              69.6              71.3                76
                                                482011034 ....................   TX       Harris ............................           73.7                  75              70.3              71.6                73
                                                482011035 ....................   TX       Harris ............................           71.3                  75              68.0              71.6                70
                                                490450004 ....................   UT       Tooele ...........................            73.5                  74              70.8              71.3                69
                                                490570002 ....................   UT       Weber ...........................             73.0                  75              70.6              72.5               N/A
                                                490571003 ....................   UT       Weber ...........................             73.0                  74              70.5              71.5                71
                                                550590025 ....................   WI       Kenosha .......................               73.7                  77              69.2              72.3                74



                                                  In total, in the 2023 base case there                        E. Pollutant Transport From Upwind                     quantify the contribution of 2023 and
                                                are a total of 111 receptors nationwide                        States                                                 2026 base case NOX and VOC emissions
                                                including 85 nonattainment receptors                                                                                  from all sources in each state to the
                                                                                                               1. Air Quality Modeling To Quantify                    corresponding projected ozone design
                                                and 26 maintenance-only receptors.123
                                                                                                               Upwind State Contributions                             values in 2023 and 2026 at air quality
                                                Of the 85 nonattainment receptors in
                                                2023, 75 remain nonattainment                                     This section documents the                          monitoring sites. The CAMx OSAT/
                                                receptors while 8 are projected to                             procedures the EPA used to quantify the                APCA model run was performed for the
                                                become maintenance-only receptors and                          impact of emissions from specific                      period May 1 through September 30
                                                2 are projected to be in attainment in                         upwind states on ozone design values in                using the projected future base case
                                                2026. Of the 26 maintenance-only                               2023 and 2026 for the identified                       emissions and 2016 meteorology for this
                                                receptors in 2023, 13 are projected to                         downwind nonattainment and                             time period. As described earlier, in the
                                                remain maintenance-only receptors and                          maintenance receptors. The EPA used                    source apportionment modeling the
                                                                                                               CAMx photochemical source                              Agency tracked (i.e., tagged) the amount
                                                13 are projected to be in attainment in
                                                                                                               apportionment modeling to quantify the                 of ozone formed from anthropogenic
                                                2026. The projected average and
                                                                                                               impact of emissions in specific upwind                 emissions in each state individually as
                                                maximum design values in 2026 for all                                                                                 well as the contributions from other
                                                receptors are included in the AQM TSD.                         states on downwind nonattainment and
                                                                                                               maintenance receptors for 8-hour ozone.                sources (e.g., natural emissions).
                                                                                                                                                                         In the state-by-state source
                                                                                                               CAMx employs enhanced source
                                                                                                                                                                      apportionment model run, the EPA
                                                                                                               apportionment techniques that track the
                                                                                                                                                                      tracked the ozone formed from each of
                                                                                                               formation and transport of ozone from
                                                                                                                                                                      the following tags:
                                                                                                               specific emissions sources and                            • States—anthropogenic NOX and
                                                  123 The EPA’s modeling also projects that three              calculates the contribution of sources                 VOC emissions from each state tracked
                                                monitoring sites in the Uintah Basin (i.e., monitor            and precursors to ozone for individual                 individually (emissions from all
                                                490472003 in Uintah County, Utah and monitors                  receptor locations. The benefit of the                 anthropogenic sectors in a given state
                                                490130002 and 490137011 in Duchesne County,                    photochemical model source                             were combined);
                                                Utah) will have average design values above the                apportionment technique is that all                       • Biogenics—biogenic NOX and VOC
                                                NAAQS in 2023. However, as described in the                    modeled ozone at a given receptor
                                                AQM TSD, the Uinta Basin nonattainment area was                                                                       emissions domain-wide (i.e., not by
                                                                                                               location in the modeling domain is                     state);
                                                designated as nonattainment for the 2015 ozone
                                                NAAQS not because of an ongoing problem with
                                                                                                               tracked back to specific sources of                       • Boundary Concentrations—
                                                summertime ozone (as is usually the case in other              emissions and boundary conditions to                   concentrations transported into the air
                                                parts of the country), but instead because it violates         fully characterize culpable sources.                   quality modeling domain;
                                                the ozone NAAQS in winter. The main causes of                     The EPA performed nationwide, state-                   • Tribes—the emissions from those
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                                                the Uinta Basin’s wintertime ozone are sources                                                                        tribal lands for which the Agency has
                                                                                                               level ozone source apportionment
                                                located at low elevations within the Basin, the
                                                                                                               modeling using the CAMx Ozone                          point source inventory data in the
                                                Basin’s unique topography, and the influence of the
                                                wintertime meteorologic inversions that keep ozone             Source Apportionment Technology/                       2016v1 emissions modeling platform
                                                and ozone precursors near the Basin floor and                  Anthropogenic Precursor Culpability                    (EPA did not model the contributions
                                                restrict air flow in the Basin. Because of the                 Analysis (OSAT/APCA) technique 124 to                  from individual tribes);
                                                localized nature of the ozone problem at these sites
                                                the EPA has not identified these three monitors as               124 As part of this technique, ozone formed from     anthropogenic NOX and VOC are assigned to the
                                                receptors in Step 1 of this proposed rule.                     reactions between biogenic VOC and NOX with            anthropogenic emissions.



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                                                   • Canada and Mexico—                                                          For the Step 2 analysis, the EPA                                           modeled ozone concentration days in
                                                anthropogenic emissions from sources                                          calculated a contribution metric that                                         2023;
                                                in the portions of Canada and Mexico                                          considers the average contribution on                                           (3) Divide the average contribution by
                                                included in the modeling domain (the                                          the 10 highest ozone concentration days                                       the corresponding average concentration
                                                EPA did not model the contributions                                           (i.e., top 10 days) in 2023. This average                                     to obtain a Relative Contribution Factor
                                                from Canada and Mexico separately);                                           contribution metric is intended to                                            (RCF) for each monitoring site;
                                                   • Fires—combined emissions from                                            provide a reasonable representation of                                          (4) Multiply the 2023 average design
                                                wild and prescribed fires domain-wide                                         the contribution from individual states                                       values by the 2023 RCF at each site to
                                                (i.e., not by state); and                                                     to projected future year design values,                                       produce the average contribution metric
                                                   • Offshore—combined emissions                                              based on modeled transport patterns                                           values in 2023.125
                                                from offshore marine vessels and                                              and other meteorological conditions                                             This same approach was applied to
                                                offshore drilling platforms.                                                  generally associated with modeled high                                        calculate contribution metric values at
                                                The contribution modeling provided                                            ozone concentrations at the receptor. An                                      individual monitoring sites for 2026.126
                                                contributions to ozone from                                                   average contribution metric constructed                                         The resulting contributions from each
                                                anthropogenic NOX and VOC emissions                                           in this manner is beneficial since the                                        tag to each monitoring site in the U.S.
                                                in each state, individually. The                                              magnitude of the contributions is                                             for 2023 and 2026 can be found in the
                                                contributions to ozone from chemical                                          directly related to the magnitude of the                                      docket for this proposed rule.
                                                reactions between biogenic NOX and                                            design value at each site.                                                    Additional details on the source
                                                VOC emissions were modeled and                                                   The analytic steps for calculating the                                     apportionment modeling and the
                                                assigned to the ‘‘biogenic’’ category. The                                    contribution metric for the 2023 analytic                                     procedures for calculating contributions
                                                contributions from wildfire and                                               year are as follows:                                                          can be found in the AQM TSD.
                                                prescribed fire NOX and VOC emissions                                            (1) Calculate the 8-hour average                                             The largest contribution from each
                                                were modeled and assigned to the                                              contribution from each source tag to                                          state that is the subject of this rule to
                                                ‘‘fires’’ category. That is, the                                              each monitoring site for the time period                                      8-hour ozone nonattainment and
                                                contributions from the ‘‘biogenic’’ and                                       of the 8-hour daily maximum modeled                                           maintenance receptors in downwind
                                                ‘‘fires’’ categories are not assigned to                                      concentrations in 2023;                                                       states in 2023 and 2026 are provided in
                                                individual states nor are they included                                          (2) Average the contributions and                                          Table V.E.1–1 and Table V.E.1–2,
                                                in the state contributions.                                                   average the concentrations for the top 10                                     respectively.

                                                          TABLE V.E.1–1—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE
                                                                                            RECEPTORS IN 2023 (ppb)
                                                                                                                                                                                                                                                       Largest
                                                                                                                                                                                                                                       Largest       contribution
                                                                                                                                                                                                                                     contribution   to downwind
                                                                                                                             Upwind state                                                                                           to downwind     maintenance-
                                                                                                                                                                                                                                   nonattainment         only
                                                                                                                                                                                                                                      receptors       receptors

                                                Alabama ...................................................................................................................................................................                 0.88             0.71
                                                Arizona .....................................................................................................................................................................               0.40             0.21
                                                Arkansas ..................................................................................................................................................................                 1.00             1.39
                                                California ..................................................................................................................................................................              34.24             7.44
                                                Colorado ..................................................................................................................................................................                 0.07             0.20
                                                Connecticut ..............................................................................................................................................................                  0.01             0.21
                                                Delaware ..................................................................................................................................................................                 0.53             1.36
                                                District of Columbia .................................................................................................................................................                      0.04             0.07
                                                Florida ......................................................................................................................................................................              0.16             0.15
                                                Georgia ....................................................................................................................................................................                0.16             0.17
                                                Idaho ........................................................................................................................................................................              0.55             0.57
                                                Illinois .......................................................................................................................................................................           18.13            18.55
                                                Indiana .....................................................................................................................................................................               6.60             7.10
                                                Iowa .........................................................................................................................................................................              0.64             0.58
                                                Kansas .....................................................................................................................................................................                0.42             0.59
                                                Kentucky ..................................................................................................................................................................                 0.83             0.88
                                                Louisiana ..................................................................................................................................................................                5.39             7.03
                                                Maine .......................................................................................................................................................................               0.01             0.01
                                                Maryland ..................................................................................................................................................................                 1.29             2.40
                                                Massachusetts .........................................................................................................................................................                     0.30             0.30
                                                Michigan ...................................................................................................................................................................                1.27             1.67
                                                Minnesota ................................................................................................................................................................                  0.50             0.97
                                                Mississippi ................................................................................................................................................................                1.04             1.14
                                                Missouri ....................................................................................................................................................................               1.08             1.66
                                                Montana ...................................................................................................................................................................                 0.08             0.11
                                                Nebraska ..................................................................................................................................................................                 0.26             0.36
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                                                Nevada .....................................................................................................................................................................                0.89             0.58
                                                New Hampshire .......................................................................................................................................................                       0.10             0.06
                                                New Jersey ..............................................................................................................................................................                   8.85             5.79

                                                  125 Note that a contribution metric value was not                           ppb in 2023. See the AQM TSD for information on                               metric values for 2026 are based on the 2026 daily
                                                calculated for any receptor at which there were                               those receptors that did not meet this criterion.                             contributions for the same days that were used to
                                                fewer than 5 days with model-predicted MDA8                                     126 In order to provide consistency in the
                                                                                                                                                                                                            calculate the contribution metric values for 2023.
                                                ozone concentrations greater than or equal to 60                              contributions for 2023 and 2026, the contribution



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                                                          TABLE V.E.1–1—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE
                                                                                      RECEPTORS IN 2023 (ppb)—Continued
                                                                                                                                                                                                                                                       Largest
                                                                                                                                                                                                                                       Largest       contribution
                                                                                                                                                                                                                                     contribution   to downwind
                                                                                                                             Upwind state                                                                                           to downwind     maintenance-
                                                                                                                                                                                                                                   nonattainment         only
                                                                                                                                                                                                                                      receptors       receptors

                                                New Mexico .............................................................................................................................................................                    0.30             0.13
                                                New York .................................................................................................................................................................                 16.81             1.80
                                                North Carolina ..........................................................................................................................................................                   0.61             0.33
                                                North Dakota ............................................................................................................................................................                   0.12             0.37
                                                Ohio .........................................................................................................................................................................              1.94             1.88
                                                Oklahoma .................................................................................................................................................................                  0.57             1.19
                                                Oregon .....................................................................................................................................................................                1.10             1.31
                                                Pennsylvania ............................................................................................................................................................                   6.90             0.51
                                                Rhode Island ............................................................................................................................................................                   0.04             0.04
                                                South Carolina .........................................................................................................................................................                    0.19             0.07
                                                South Dakota ...........................................................................................................................................................                    0.05             0.09
                                                Tennessee ...............................................................................................................................................................                   0.60             0.94
                                                Texas .......................................................................................................................................................................               1.72             1.81
                                                Utah .........................................................................................................................................................................              1.37             0.10
                                                Vermont ...................................................................................................................................................................                 0.02             0.02
                                                Virginia .....................................................................................................................................................................              1.77             1.63
                                                Washington ..............................................................................................................................................................                   0.34             0.40
                                                West Virginia ............................................................................................................................................................                  1.45             1.44
                                                Wisconsin .................................................................................................................................................................                 0.19             2.61
                                                Wyoming ..................................................................................................................................................................                  0.81             0.19


                                                          TABLE V.E.1–2—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE
                                                                                            RECEPTORS IN 2026 (ppb)
                                                                                                                                                                                                                                                       Largest
                                                                                                                                                                                                                                       Largest       contribution
                                                                                                                                                                                                                                     contribution   to downwind
                                                                                                                             Upwind state                                                                                           to downwind     maintenance-
                                                                                                                                                                                                                                   nonattainment         only
                                                                                                                                                                                                                                      receptors       receptors

                                                Alabama ...................................................................................................................................................................                 0.17             0.48
                                                Arizona .....................................................................................................................................................................               0.35             0.23
                                                Arkansas ..................................................................................................................................................................                 0.62             1.30
                                                California ..................................................................................................................................................................              33.45             4.85
                                                Colorado ..................................................................................................................................................................                 0.05             0.08
                                                Connecticut ..............................................................................................................................................................                  0.01             0.01
                                                Delaware ..................................................................................................................................................................                 0.42             0.52
                                                District of Columbia .................................................................................................................................................                      0.03             0.04
                                                Florida ......................................................................................................................................................................              0.10             0.09
                                                Georgia ....................................................................................................................................................................                0.14             0.16
                                                Idaho ........................................................................................................................................................................              0.48             0.48
                                                Illinois .......................................................................................................................................................................           17.81            18.14
                                                Indiana .....................................................................................................................................................................               6.43             6.99
                                                Iowa .........................................................................................................................................................................              0.57             0.57
                                                Kansas .....................................................................................................................................................................                0.40             0.57
                                                Kentucky ..................................................................................................................................................................                 0.80             0.80
                                                Louisiana ..................................................................................................................................................................                4.25             6.97
                                                Maine .......................................................................................................................................................................               0.01             0.01
                                                Maryland ..................................................................................................................................................................                 1.11             1.23
                                                Massachusetts .........................................................................................................................................................                     0.29             0.14
                                                Michigan ...................................................................................................................................................................                1.03             1.58
                                                Minnesota ................................................................................................................................................................                  0.36             0.91
                                                Mississippi ................................................................................................................................................................                0.36             0.90
                                                Missouri ....................................................................................................................................................................               0.98             1.53
                                                Montana ...................................................................................................................................................................                 0.07             0.08
                                                Nebraska ..................................................................................................................................................................                 0.11             0.23
                                                Nevada .....................................................................................................................................................................                0.81             0.51
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                                                New Hampshire .......................................................................................................................................................                       0.09             0.02
                                                New Jersey ..............................................................................................................................................................                   8.54             5.47
                                                New Mexico .............................................................................................................................................................                    0.29             0.23
                                                New York .................................................................................................................................................................                 16.58            11.29
                                                North Carolina ..........................................................................................................................................................                   0.38             0.54
                                                North Dakota ............................................................................................................................................................                   0.11             0.34
                                                Ohio .........................................................................................................................................................................              1.78             1.83
                                                Oklahoma .................................................................................................................................................................                  0.54             0.72



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                                                          TABLE V.E.1–2—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE
                                                                                      RECEPTORS IN 2026 (ppb)—Continued
                                                                                                                                                                                                                                                     Largest
                                                                                                                                                                                                                                     Largest       contribution
                                                                                                                                                                                                                                   contribution   to downwind
                                                                                                                            Upwind state                                                                                          to downwind     maintenance-
                                                                                                                                                                                                                                 nonattainment         only
                                                                                                                                                                                                                                    receptors       receptors

                                                Oregon .....................................................................................................................................................................               0.98            0.88
                                                Pennsylvania ............................................................................................................................................................                  6.82            4.74
                                                Rhode Island ............................................................................................................................................................                  0.04            0.01
                                                South Carolina .........................................................................................................................................................                   0.15            0.17
                                                South Dakota ...........................................................................................................................................................                   0.03            0.06
                                                Tennessee ...............................................................................................................................................................                  0.25            0.34
                                                Texas .......................................................................................................................................................................              1.61            1.70
                                                Utah .........................................................................................................................................................................             0.95            1.18
                                                Vermont ...................................................................................................................................................................                0.02            0.01
                                                Virginia .....................................................................................................................................................................             1.14            1.68
                                                Washington ..............................................................................................................................................................                  0.31            0.28
                                                West Virginia ............................................................................................................................................................                 1.23            1.35
                                                Wisconsin .................................................................................................................................................................                0.15            2.44
                                                Wyoming ..................................................................................................................................................................                 0.46            0.80



                                                2. Application of Contribution                                               that ‘‘it may be reasonable and                                              implementation concerns.128 The
                                                Screening Threshold                                                          appropriate’’ for states to rely on an                                       availability of different thresholds at
                                                   The EPA evaluated the magnitude of                                        alternative 1 ppb threshold at Step 2.127                                    Step 2 has the potential to result in
                                                the contributions from each upwind                                           (The memorandum also indicated that                                          inconsistent application of good
                                                state to downwind nonattainment and                                          any higher alternative threshold, such as                                    neighbor obligations. From the
                                                maintenance receptors. In Step 2 of the                                      2 ppb, would likely not be appropriate.)                                     perspective of ensuring effective
                                                interstate transport framework, the EPA                                      Here, the EPA proposes to fulfill its role                                   regional implementation of good
                                                                                                                             under CAA section 110(c) in                                                  neighbor obligations, the more
                                                uses an air quality screening threshold
                                                                                                                             promulgating FIPs to directly                                                important analysis is the evaluation of
                                                to identify upwind states that contribute
                                                                                                                             implement good neighbor requirements,                                        the emissions reductions needed, if any,
                                                to downwind ozone concentrations in
                                                                                                                             and in this role, the EPA notes that it                                      to address a state’s significant
                                                amounts sufficient to ‘‘link’’ them to
                                                                                                                             is authorized to exercise discretion in                                      contribution after consideration of a
                                                these to downwind nonattainment and
                                                                                                                             making policy determinations such as                                         multifactor analysis at Step 3, including
                                                maintenance receptors. The
                                                                                                                             the appropriateness of a particular                                          a detailed evaluation that considers air
                                                contributions from each state to each
                                                                                                                             contribution threshold that would                                            quality factors and cost. Where
                                                downwind nonattainment or
                                                                                                                             otherwise have been exercised by states.                                     alternative thresholds for purposes of
                                                maintenance receptor that were used for
                                                                                                                             Further, as the EPA has explained in                                         Step 2 may be ‘‘similar’’ in terms of
                                                the Step 2 evaluation can be found in                                                                                                                     capturing the relative amount of upwind
                                                the AQM TSD.                                                                 several notices proposing transport SIP
                                                                                                                             disapprovals, see, e.g., 87 FR 9498 and                                      contribution (as described in the August
                                                   The EPA proposes to apply an air                                                                                                                       2018 memorandum), nonetheless, use of
                                                quality screening threshold of 1 percent                                     87 FR 9510 (Feb. 22, 2022), its
                                                                                                                             experience since the issuance of the                                         an alternative threshold would allow
                                                of the NAAQS, as it has used since the                                                                                                                    certain states to avoid further evaluation
                                                CSAPR rulemaking, including in the                                           August 2018 memorandum regarding
                                                                                                                             use of alternative thresholds leads the                                      of potential emissions controls while
                                                CSAPR Update, the Revised CSAPR                                                                                                                           other states must proceed to a Step 3
                                                Update, and numerous actions                                                 Agency to now believe it may not be
                                                                                                                             appropriate to continue to attempt to                                        analysis. This can create significant
                                                evaluating states’ transport SIP                                                                                                                          equity and consistency problems among
                                                submittals. EPA continues to observe                                         recognize alternative contribution
                                                                                                                             thresholds at Step 2, either in the                                          states.
                                                that the majority of nonattainment and                                                                                                                       More importantly, in promulgating
                                                maintenance receptors identified at Step                                     context of SIPs or FIPs.
                                                                                                                                                                                                          FIPs to address these obligations on a
                                                1 are impacted collectively by                                                  EPA’s experience since 2018 is that                                       nationwide scale, national ozone
                                                contributions of ozone transport from                                        allowing for alternative Step 2                                              transport policy is not well-served by
                                                numerous upwind states. Therefore,                                           thresholds may be impractical or                                             allowing for less stringent thresholds at
                                                application of a uniform screening                                           otherwise inadvisable for a number of                                        Step 2. The EPA recognized in the
                                                threshold allows EPA to identify                                             additional policy reasons. For a regional                                    August 2018 memo that there was some
                                                upwind states that share a responsibility                                    air pollutant such as ozone, consistency                                     similarity in the amount of total upwind
                                                under the interstate transport provision                                     in requirements and expectations across                                      contribution captured (on a nationwide
                                                to eliminate their significant                                               all states is essential. In the context of                                   basis) between 1 percent and 1 ppb.
                                                contribution.                                                                a FIP proposal (as much as in the
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                                                                                                                                                                                                          However, the EPA notes that while this
                                                   The EPA recognizes that in 2018 it                                        context of SIP actions), the Agency now
                                                issued a memorandum indicating the                                           believes using different thresholds at                                         128 We note that Congress has placed on the EPA

                                                potential for states to use a higher                                         Step 2 with respect to the 2015 ozone                                        a general obligation to ensure the requirements of
                                                threshold at Step 2 in the development                                       NAAQS raises substantial policy                                              the CAA are implemented consistently across states
                                                                                                                             consistency and practical                                                    and regions. See CAA section 301(a)(2). Where the
                                                of their good neighbor SIP submissions                                                                                                                    management and regulation of interstate pollution
                                                where it could be technically justified.                                                                                                                  levels spanning many states is at stake, consistency
                                                The August 2018 memorandum stated                                               127 August 2018 memo at 4.                                                in application of CAA requirements is paramount.



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                                                may be true in some sense, that is                      quantification of 1 percent of the 2015                Virginia, and Wisconsin. The levels of
                                                hardly a compelling basis to move to a                  ozone NAAQS for purposes of Step 2.                    contribution between each of these
                                                1 ppb threshold. Indeed, the 1 ppb                                                                             linked upwind states and downwind
                                                                                                        a. States That Contribute Below the
                                                threshold has the disadvantage of losing                                                                       nonattainment receptors and
                                                                                                        Screening Threshold
                                                a certain amount of total upwind                                                                               maintenance-only receptors are
                                                contribution for further evaluation at                     Based on EPA’s modeling, the                        provided in the AQM TSD.
                                                Step 3 (e.g., roughly 7 percent of total                contributions from each of the following                  Among the linked states are several
                                                upwind state contribution was lost                      states to nonattainment or maintenance-                western states—California, Nevada,
                                                according to the modeling underlying                    only receptors in the 2023 analytic year               Oregon, Utah, and Wyoming. While the
                                                the August 2018 memo; 129 in EPA’s                      are below the 1% of the NAAQS                          EPA has not previously included action
                                                updated modeling, the amount lost is                    threshold: Arizona, Colorado,                          on linked western states in its prior
                                                roughly 5 percent). Considering the core                Connecticut, the District of Columbia,                 CSAPR rulemakings, the EPA has
                                                statutory objective of ensuring                         Florida, Georgia, Idaho, Iowa, Kansas,                 consistently applied the 4-step
                                                elimination of all significant                          Maine, Massachusetts, Montana,                         framework in evaluating good neighbor
                                                contribution to nonattainment or                        Nebraska, New Hampshire, New                           obligations from these states. On a case-
                                                interference of the NAAQS in other                      Mexico, North Carolina, North Dakota,                  by-case basis, the EPA has found in
                                                states and the broad, regional nature of                Rhode Island, South Carolina, South                    some instances with respect to the 2008
                                                the collective contribution problem with                Dakota, Vermont, and Washington. The                   ozone NAAQS that a unique
                                                respect to ozone, there does not appear                 EPA has already approved many of                       consideration has warranted approval of
                                                to be a compelling policy imperative in                 these states’ SIP submittals or is in the              a linked western state’s good neighbor
                                                moving to a 1 ppb threshold.                            process of taking action to approve                    SIP submittal without concluding that
                                                   Consistency with past interstate                     them. Because the contributions from                   additional emissions reductions are
                                                transport actions such as CSAPR, and                    these states to projected downwind air                 required at Step 3 of the framework.132
                                                the CSAPR Update and Revised CSAPR                      quality problems are below the                         The EPA has also explained in prior
                                                                                                        screening threshold in the current                     actions that its air quality modeling is
                                                Update rulemakings (which used a Step
                                                                                                        modeling, these states are not within the              reliable for assessing downwind air
                                                2 threshold of 1 percent of the NAAQS
                                                                                                        scope of this proposed rule.                           quality problems and ozone transport
                                                for two less stringent ozone NAAQS) is
                                                                                                        Additionally, the EPA has made                         contributions from upwind states
                                                also important. Continuing to use a 1
                                                                                                        proposed or final determinations that                  throughout the nationwide modeling
                                                percent of NAAQS approach ensures
                                                                                                        two states outside the modeling domain                 domain.133
                                                that as the NAAQS are revised and
                                                                                                        for the air quality modeling analyzed in                  In EPA’s current analysis, the EPA
                                                made more stringent, an appropriate
                                                                                                        this proposed rulemaking—Hawaii 130                    finds that for one linked state—
                                                increase in stringency at Step 2 occurs,
                                                                                                        and Alaska 131—do not significantly                    Oregon—the same considerations that
                                                so as to ensure an appropriately larger
                                                                                                        contribute to nonattainment or interfere               led it to approve another state’s SIP
                                                amount of total upwind-state
                                                                                                        with maintenance of the NAAQS in any                   submission, Arizona’s, for the 2008
                                                contribution is captured for purposes of                other state.                                           ozone NAAQS apply to Oregon’s
                                                fully addressing interstate transport for
                                                                                                                                                               circumstances for the 2015 ozone
                                                the more stringent NAAQS. EPA made                      a. States That Contribute at or Above the
                                                                                                                                                               NAAQS. As explained in the following
                                                this point when it originally                           Screening Threshold
                                                                                                                                                               section, the EPA therefore proposes to
                                                promulgated CSAPR to address the 1997                      Based on the maximum downwind                       affirm its prior approval of Oregon’s
                                                ozone NAAQS. The Agency continues                       contributions in Table V.E.1–1, the Step               good neighbor SIP submission for the
                                                to consider this an important                           2 analysis identifies that the following               2015 ozone NAAQS. For the remaining
                                                consideration for the more stringent                    22 states contribute at or above the 0.70              western states included in this proposed
                                                2015 ozone NAAQS. See 76 FR 48237–                      ppb threshold to downwind                              rule, EPA’s modeling supports a
                                                38.                                                     nonattainment receptors in 2023:                       conclusion that these states are linked
                                                   Lastly, the Agency does not find it to               Alabama, Arkansas, California, Illinois,               above the contribution threshold to
                                                be a good use of limited resources to                   Indiana, Kentucky, Louisiana,                          identified ozone transport receptors in
                                                attempt to further justify the use of                   Maryland, Michigan, Mississippi,                       other states, and therefore, consistent
                                                alternative thresholds for certain states               Missouri, Nevada, New Jersey, New                      with the treatment of all other states
                                                at Step 2 for purposes of the 2015 ozone                York, Ohio, Oregon, Pennsylvania,                      within the modeling domain, the EPA
                                                NAAQS. Therefore, while EPA                             Texas, Utah, Virginia, West Virginia,                  proposes to proceed to evaluate these
                                                articulated a potential basis for                       and Wyoming. Based on the maximum                      states for a determination of ‘‘significant
                                                recognizing the usefulness of alternative               downwind contributions in Table                        contribution’’ at Step 3.
                                                Step 2 thresholds (particularly a 1 ppb                 V.E.1–1, the following 23 states                          In conclusion, as described above,
                                                threshold) in the August 2018                           contribute at or above the 0.70 ppb                    states with contributions that equal or
                                                memorandum, EPA’s experience and                        threshold to downwind maintenance-                     exceed 1 percent of the NAAQS to
                                                further evaluation since the issuance of                only receptors in 2023: Alabama,                       either nonattainment or maintenance
                                                that memo has revealed substantial                      Arkansas, California, Delaware, Illinois,              receptors are identified as ‘‘linked’’ at
                                                programmatic and policy difficulties in                 Indiana, Kentucky, Louisiana,                          Step 2 of the good neighbor framework
                                                attempting to implement this approach.                  Maryland, Michigan, Minnesota,                         and warrant further analysis for
                                                Depending on comment and further                        Mississippi, Missouri, New Jersey, New                 significant contribution to
                                                evaluation of this issue, the EPA may                   York, Ohio, Oklahoma, Oregon,
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                                                                                                                                                               nonattainment or interference with
                                                determine to rescind the 2018                           Tennessee, Texas, Virginia, West
                                                memorandum in the future.                                                                                        132 See interstate transport approval actions under

                                                   In light of the considerations above,                  130 The EPA proposed to approve Hawaii’s 2015        the 2008 ozone NAAQS for Arizona, California, and
                                                EPA proposes using a contribution                       ozone transport SIP on September 28, 2021. See 86      Wyoming at 81 FR 36179 (June 6, 2016), 83 FR
                                                                                                        FR 53571.                                              65093 (December 19, 2018), and 84 FR 14270 (April
                                                threshold of 0.70 ppb as the                               131 The EPA approved Alaska’s 2015 ozone            10, 2019), respectively.
                                                                                                        transport SIP on December 18, 2019. See 84 FR            133 See 81 FR 71991 (October 19, 2016), 82 FR
                                                  129 See August 2018 memo, at 4.                       69331.                                                 9155 (February 3, 2017).



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                                                maintenance under Step 3. The EPA                       [. . .] relevant to determining the nature                As a consequence of this proposed
                                                proposes that the following 27 States are               of a projected receptor’s interstate                   finding, the EPA continues to find that
                                                linked at Step 2 in 2023: Alabama,                      transport problem is the magnitude of                  ozone-precursor emissions from Oregon
                                                Arkansas, California, Delaware, Illinois,               ozone attributable to transport from all               do not significantly contribute to
                                                Indiana, Kentucky, Louisiana,                           upwind states collectively contributing                nonattainment or interfere with
                                                Maryland, Michigan, Minnesota,                          to the air quality problem.’’ 136 The EPA              maintenance of the NAAQS in any
                                                Mississippi, Missouri, Nevada, New                      observed that only one upwind state                    downwind state, because the total
                                                Jersey, New York, Ohio, Oklahoma,                       (Arizona) was linked above 1 percent of                collective upwind state ozone
                                                Oregon, Pennsylvania, Tennessee,                        the 2008 ozone NAAQS to the two                        contribution to the California
                                                Texas, Utah, Virginia, West Virginia,                   relevant monitoring sites in California,               monitoring sites is extremely low
                                                Wisconsin, and Wyoming. In addition,                    and the cumulative ozone contribution                  compared to the air quality problems
                                                the EPA proposes that the following 24                  from all upwind states to those sites was              typically addressed under the good
                                                States are linked at Step 2 in 2026:                    2.5 percent and 4.4 percent of the total               neighbor provision. Therefore, the EPA
                                                Arkansas, California, Illinois, Indiana,                ozone, respectively. The EPA                           is not proposing any change in this
                                                Kentucky, Louisiana, Maryland,                          determined the size of those cumulative                action to its prior approval of Oregon’s
                                                Michigan, Minnesota, Mississippi,                       upwind contributions was ‘‘negligible,                 SIP. The EPA is not proposing any new
                                                Missouri, Nevada, New Jersey, New                       particularly when compared to the                      FIP requirements and is not proposing
                                                York, Ohio, Oklahoma, Oregon,                           relatively large contributions from                    to require reductions from new or
                                                Pennsylvania, Texas, Utah, Virginia,                    upwind states in the East or in certain                existing EGU or non-EGU sources in
                                                West Virginia, Wisconsin, and                           other areas of the West.’’ 137 In that                 Oregon in this action. If, however, EPA
                                                Wyoming. Three states, Alabama,                         action, the EPA concluded the two                      were not to finalize this proposed
                                                Delaware, and Tennessee, that were                      California sites to which Arizona was                  approach, then EPA anticipates that it
                                                linked in 2023 are not linked in 2026                   linked should not be treated as receptors              would apply the same control strategies
                                                because the receptor(s) to which each                   for the purposes of determining Good                   in Oregon as applied in all other linked
                                                state was linked in 2023 are projected to               Neighbor obligations for the 2008 ozone                upwind states, as discussed in Sections
                                                attain by 2026.                                         NAAQS.138                                              VI and VII of this proposed rule. EPA
                                                F. Treatment of Certain Receptors in                       The EPA proposes to make a similar                  requests public comment on its
                                                California and Implications for Oregon’s                finding for the monitoring sites in                    approach to characterizing the nature of
                                                Good Neighbor Obligations for the 2015                  California otherwise projected in its                  the interstate transport problem at the
                                                Ozone NAAQS                                             current modeling to be ‘‘receptors’’ for               California monitoring sites at issue and
                                                                                                        the 2015 ozone NAAQS and to which                      the consequent approach to assessing
                                                   The EPA previously approved                          Oregon is linked. The highest percent of               Oregon’s good neighbor obligations.
                                                Oregon’s September 25, 2018 transport                   the total cumulative upwind ozone
                                                SIP submittal for the 2015 ozone                        contribution to any of these sites is 2.8              VI. Quantifying Upwind-State NOX
                                                NAAQS on May 17, 2019 (84 FR 22376),                    percent.139 This is lower than the largest             Emissions Reduction Potential To
                                                because in an earlier round of modeling                 transport contribution relative to total               Reduce Interstate Ozone Transport for
                                                Oregon was not projected to contribute                  ozone at the California sites identified               the 2015 Ozone NAAQS
                                                above 1 percent of the NAAQS to any                     in EPA’s approval of Arizona’s 2008                    A. The Multi-Factor Test for
                                                downwind receptors. In EPA’s updated                    ozone transport SIP (4.4 percent).140                  Determining Significant Contribution
                                                modeling, Oregon is linked above the 1                  Further, as was the case for the sites in
                                                percent of NAAQS threshold to several                                                                             This section describes EPA’s
                                                                                                        California analyzed in EPA’s Arizona
                                                monitoring sites in California that                                                                            methodology at Step 3 of the 4-step
                                                                                                        action, the identified sites in California
                                                would generally meet EPA’s definition                                                                          framework for identifying upwind
                                                                                                        each have only one upwind state
                                                of nonattainment or maintenance                                                                                emissions that constitute ‘‘significant’’
                                                                                                        contributing above 1 percent of the
                                                ‘‘receptors’’ at Step 1.134 However,                                                                           contribution for the states subject to this
                                                                                                        NAAQS to them (Oregon). These
                                                EPA’s analysis of the nature of the air                                                                        proposed rule and focuses on the 26
                                                                                                        monitoring sites in California are
                                                quality problem at these monitoring                                                                            states with FIP requirements identified
                                                                                                        overwhelmingly impacted by in-state
                                                sites leads EPA to propose a                                                                                   in the sections above. Following the
                                                                                                        emissions to a degree not comparable
                                                determination that these monitoring                                                                            existing framework as applied in all of
                                                                                                        with any other identified nonattainment
                                                sites should not be treated as receptors                                                                       the prior CSAPR rulemakings, EPA’s
                                                                                                        or maintenance-only receptors in the
                                                for purposes of determining interstate                                                                         assessment of linked upwind state
                                                                                                        country.
                                                transport obligations of upwind states                     The EPA proposes to find that these                 emissions is based primarily on analysis
                                                under CAA section 110(a)(2)(D)(i)(I).                   monitoring sites should not be                         of several alternative levels of NOX
                                                EPA reaches this conclusion at Step 1 of                considered receptors for the purpose of                emissions control stringency applied
                                                its four-step framework.                                assessing 2015 ozone NAAQS interstate                  uniformly across all of the linked states.
                                                   The EPA previously made a similar                    transport obligations. The EPA is not                  The analysis includes assessment of
                                                assessment of the nature of certain other               proposing a different contribution                     non-EGU stationary sources in addition
                                                monitoring sites in California in                       threshold at Step 2 for Western states or              to EGU sources in the linked upwind
                                                approving Arizona’s 2008 ozone                          receptors, nor does the EPA reach its                  states.
                                                NAAQS transport SIP submittal.135                       conclusion based on any evaluation at                     The EPA applies a multi-factor test—
                                                There, the EPA noted that a ‘‘factor                    Step 3 of emissions reduction                          the same multi-factor test that was used
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                                                                                                        opportunities in Oregon.                               in CSAPR, the CSAPR Update, and the
                                                  134 Monitors are listed in the AQM TSD included                                                              Revised CSAPR Update 141—to evaluate
                                                in the docket for this rulemaking. While EPA is           136 81 FR at 15203.                                  increasing levels of uniform NOX
                                                providing information about cumulative upwind                                                                  control stringency. The multi-factor test,
                                                                                                          137 Id.
                                                contribution to the California monitors, the Agency
                                                does not consider these monitors as ozone transport       138 Id.                                              which is central to EPA’s Step 3
                                                receptors in this proposal.                               139 See Air Quality Modeling TSDin the docket
                                                  135 81 FR 15200 (March 22, 2016) (proposal); 81       for this action.                                          141 See CSAPR, Final Rule, 76 FR 48208 (August

                                                FR 31513 (May 19, 2016) (final rule).                     140 81 FR at 15203; 81 FR 31513.                     8, 2011).



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                                                quantification of significant                           contribution from NOX emissions ranges                 EGUs and independently evaluates non-
                                                contribution, considers cost, available                 from 77 percent to 99 percent of the                   EGU industries in a consistent but
                                                emissions reductions, downwind air                      total anthropogenic contribution. This                 parallel track to its Step 3 assessment
                                                quality impacts, and other factors to                   review of the portion of the ozone                     for EGUs. This is consistent with the
                                                determine the appropriate level of                      contribution attributable to                           parallel assessment approach taken for
                                                uniform NOX control stringency that                     anthropogenic NOX emissions versus                     EGUs and non-EGUs in the Revised
                                                would eliminate significant contribution                VOC emissions from each linked                         CSAPR Update. Following the
                                                to downwind nonattainment or                            upwind state leads the Agency to                       conclusions of the EGU and non-EGU
                                                maintenance receptors. The selection of                 conclude that the vast majority of the                 multi-factor tests, the identified
                                                a uniform level of NOX emissions                        downwind air quality areas addressed                   reductions for EGUs and non-EGUs are
                                                control stringency across all of the                    by the proposed rule under are                         combined and collectively analyzed to
                                                linked states, reflected as a                           primarily NOX-limited, rather than                     assess their effects on downwind air
                                                representative cost per ton of emissions                VOC-limited. Therefore, the EPA is                     quality and whether the rule achieves a
                                                reduction (or a weighted average cost                   proposing to determine that the                        full remedy to ‘‘significant
                                                per ton in the case of EPA’s non-EGU                    regulation of VOCs as an ozone                         contribution’’ while avoiding over-
                                                and EGU analysis for 2026 mitigation                    precursor is not necessary to eliminate                control.
                                                measures), also serves to apportion the                 significant contribution of ozone                         In order to ensure that this rule
                                                reduction responsibility among                          transport to downwind areas in this                    implements a full remedy for the
                                                collectively contributing upwind states.                proposed rule. The remainder of this                   elimination of significant contribution
                                                This approach to quantifying upwind                     section focuses on EPA’s strategy for                  from upwind states, the EPA has
                                                state emission-reduction obligations                    reducing regional-scale transport of                   reviewed available information on all
                                                using uniform cost was reviewed by the                  ozone by targeting NOX emissions from                  major industrial source sectors in the
                                                Supreme Court in EME Homer City                         stationary sources to achieve the most                 upwind states. This analysis leads the
                                                Generation, which held that using such                  effective reductions of ozone transport                EPA to propose that both EGUs and
                                                an approach to apportion emissions                      over the geography of the affected                     certain large sources in several specific
                                                reduction responsibilities among                        downwind areas.                                        industrial categories should be
                                                upwind states that are collectively                        For both EGUs and non-EGUs, Section
                                                                                                                                                               evaluated for emissions control
                                                responsible for downwind air quality                    VI.B of this proposed rule describes the
                                                                                                                                                               opportunities. As discussed in the
                                                impacts ‘‘is an efficient and equitable                 available NOX emissions controls that
                                                                                                        the EPA evaluated for this proposed rule               sections that follow, the EPA proposes
                                                solution to the allocation problem the
                                                                                                        and their representative cost levels (in               that for both EGUs and the selected non-
                                                Good Neighbor Provision requires the
                                                                                                        2016$). Section VI.C of this proposed                  EGU source categories, there are
                                                Agency to address.’’ 572 U.S. at 519.
                                                   There are four stages in developing                  rule discusses EPA’s application of that               impactful emissions reduction
                                                the multi-factor test: (1) Identify levels              information to assess emissions                        opportunities available at reasonable
                                                of uniform NOX control stringency; (2)                  reduction potential of the identified                  cost-effectiveness thresholds. As in the
                                                evaluate potential NOX emissions                        control stringencies. Finally, Section                 Revised CSAPR Update, the EPA
                                                reductions associated with each                         VI.D of this proposed rule describes                   examines EGUs and non-EGUs in this
                                                identified level of uniform control                     EPA’s assessment of associated air                     section on consistent but distinct,
                                                stringency; (3) assess air quality                      quality impacts and EPA’s subsequent                   parallel tracks due to differences
                                                improvements at downwind receptors                      identification of appropriate control                  stemming from the unique
                                                for each level of uniform control                       stringencies considering the key                       characteristics of the power sector
                                                stringency; and (4) select a level of                   relevant factors (cost, available                      compared to other industrial source
                                                control stringency considering the                      emissions reductions, and downwind                     categories. Since the NOX SIP Call,
                                                identified cost, available NOX emissions                air quality impacts).                                  EGUs have consistently been regulated
                                                reductions, and downwind air quality                       This multi-factor approach is                       under ozone transport rules. These units
                                                impacts, while also ensuring that                       consistent with EPA’s approach in prior                operate in a coordinated manner across
                                                emissions reductions do not                             transport actions, such as CSAPR. In                   a highly interconnected electrical grid.
                                                unnecessarily over-control relative to                  addition, as was evaluated in the                      Their configuration and emissions
                                                the contribution threshold or downwind                  CSAPR Update and Revised CSAPR                         control strategies are relatively
                                                air quality.                                            Update, the EPA evaluated possible                     homogenous, and their emissions levels
                                                   As mentioned in Section IV.A.2 of                    over-control by examining whether an                   and emissions control opportunities are
                                                this proposed rule, commenters on                       upwind state is linked solely to                       generally very well understood due to
                                                previous ozone transport rules have                     downwind air quality problems that                     longstanding monitoring and data-
                                                suggested that the EPA should regulate                  could have been resolved at a lesser                   reporting requirements. Non-EGU
                                                VOCs as an ozone precursor. For this                    threshold of control stringency and                    sources, by contrast, are relatively
                                                proposed rule, the EPA examined the                     whether an upwind state could reduce                   heterogeneous, even within a single
                                                results of the contribution modeling                    its emissions below the 1 percent air                  industrial category, and have far greater
                                                performed for this rule to identify the                 quality contribution threshold at a lesser             variation in existing emissions control
                                                portion of the ozone contribution                       threshold of control stringency. This                  requirements, emissions levels, and
                                                attributable to anthropogenic NOX                       analysis is described in Section VI.D of               technologies to reduce emissions. In
                                                emissions versus VOC emissions from                     this proposed rule.                                    general, despite these differences, the
                                                                                                           Finally, while the EPA has evaluated                information available for this proposal
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                                                each linked upwind state to each
                                                downwind receptor. Of the total                         potential emissions reductions from                    indicates that both EGUs and certain
                                                upwind-downwind linkages in 2023,                       non-EGU sources in prior rules, this is                non-EGU categories have available cost-
                                                the contributions from NOX emissions                    the first action for which the EPA is                  effective NOX emissions reduction
                                                comprise 80 percent or more of the total                proposing non-EGU emissions                            opportunities at relatively
                                                anthropogenic contribution at the vast                  reductions within the context of its 4-                commensurate cost per ton levels, and
                                                majority of linkages (136 out of 140                    step interstate transport framework. The               these emissions reductions will make a
                                                total). Across all receptors, the                       EPA applies its multi-factor test to non-              meaningful improvement in air quality


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                                                at the downwind receptors. Section                       combustion controls; (3) fully operating                  emissions reduction measure is
                                                VI.B.2 of this proposed rule describes                   existing SNCRs, including both                            currently available at EGUs across the
                                                EPA’s process for selecting specific Tier                optimizing NOX removal by existing                        broader geography affected in this
                                                I and Tier II non-EGU source categories                  operational SNCRs and turning on and                      proposed rulemaking (including in
                                                included in this proposed rulemaking.                    optimizing existing idled SNCRs; (4)                      states not previously affected by the
                                                   The EPA notes that its Step 3 analysis                installing new SNCRs; (5) installing new                  Revised CSAPR Update). The EPA thus
                                                does not assess emissions reduction                      SCRs; and (6) generation shifting (i.e.,                  proposes that SCR optimization, of both
                                                opportunities from mobile sources. The                   emission reductions anticipated to                        idled and partially operating controls, is
                                                EPA continues to believe that title II of                occur from generation shifting from                       a viable mitigation strategy for the 2023
                                                the CAA provides the primary authority                   higher to lower emitting units at each of                 ozone season.
                                                and process for reducing ozone-                          these stringency levels). For the reasons                    The EPA estimates a representative
                                                precursor pollutants from mobile                         explained in the EGU NOX Mitigation                       marginal cost of optimizing SCR
                                                sources. EPA’s federal mobile source                     Strategies Proposed Rule TSD included                     controls to be approximately $1,600 per
                                                programs have delivered and are                          in the docket for this proposed rule, the                 ton, consistent with its estimation in the
                                                projected to continue to deliver                         EPA determined that for the regional,                     Revised CSAPR Update for this
                                                substantial nationwide reductions in                     multi-state scale of this rulemaking,                     technology. EPA’s EGU NOX Mitigation
                                                both VOCs and NOX emissions; these                       only EGU NOX emissions controls 1, 3,                     Strategies Proposed Rule TSD for this
                                                reductions are factored into the                         and 6 are possible for the 2023 ozone                     rule describes a range of cost estimates
                                                Agency’s assessment of air quality and                   season (fully operating existing SCRs                     for this technology noting that the costs
                                                contributions at Steps 1 and 2. Further,                 and SNCRs, and associated generation                      are frequently lower than—and for the
                                                states are generally preempted from                      shifting). The EPA finds that it is not                   majority of EGUs, significantly lower
                                                regulating new vehicles and engines                      possible to install state-of-the-art NOX                  than—this representative marginal cost.
                                                with certain exceptions, and therefore a                 combustion controls by the 2023 ozone                     While the costs of optimizing existing,
                                                question exists regarding EPA’s                          season on a regional scale for Group 3                    operational SCRs include only variable
                                                authority to address such emissions                      states not covered under the Revised                      costs, the cost of optimizing SCR units
                                                when regulating in place of the states                   CSAPR Rule. The EPA also determined                       that are currently idled considers both
                                                under CAA section 110(c). See generally                  that state-of-the-art NOX combustion                      variable and fixed costs of returning the
                                                CAA sections 209, 177. See also 86 FR                    controls at EGUs are available by the                     control into service. Variable and fixed
                                                23099. As noted earlier, the EPA                         beginning of the 2024 ozone season. All                   costs include labor, maintenance and
                                                accounted for mobile source emissions                    cost values discussed below for EGUs                      repair, parasitic load, and ammonia or
                                                reductions resulting from other federally                are in 2016 dollars.                                      urea for use as a NOX reduction reagent
                                                enforceable regulatory programs in the                                                                             in SCR systems. Depending on a unit’s
                                                development of emissions inventories                     a. Optimizing Existing SCRs                               control operating status, the
                                                used to support analysis for this                          Optimizing (i.e., turning on idled or                   representative cost at the 90th percentile
                                                proposed rulemaking, and the EPA does                    improving operation of partially                          unit (among the relevant fleet of coal
                                                not evaluate any mobile source control                   operating) existing SCRs can                              units with SCR covered in this
                                                measures in its Step 3 evaluation in this                substantially reduce EGU NOX                              rulemaking) ranges between $900 and
                                                proposal.142 For further discussion of                   emissions quickly, using investments                      $1,700 per ton. The EPA performed an
                                                EPA’s existing and ongoing mobile                        that have already been made in                            in-depth cost assessment for all coal-
                                                source measures, see Section VI.B.4 of                   pollution control technologies. With the                  fired units with SCRs and found that for
                                                this proposed rule.                                      promulgation of the CSAPR Update and                      the subset of SCRs that are already
                                                B. Identifying Control Stringency Levels                 the Revised CSAPR Update, most                            partially operating, the cost of
                                                                                                         operators in the covered states improved                  optimizing is often much lower than
                                                1. EGU NOX Mitigation Strategies                         their SCR performance and have                            $1,600 per ton and is often under $900
                                                   In identifying levels of uniform                      continued to maintain that level of                       per ton. The EPA anticipates the vast
                                                control stringency for EGUs, the EPA                     improved operation. However, this                         majority of realized cost for compliance
                                                assessed the same NOX emissions                          optimized SCR performance was not                         with this strategy to be better reflected
                                                controls that the Agency analyzed in the                 universal and not always sustained.                       by the $900 per ton end of that range
                                                CSAPR Update and the Revised CSAPR                       Between 2017 and 2020, as the CSAPR                       (reflecting the 90th percentile of EGUs
                                                Update, all of which are considered to                   Update ozone-season NOX allowance                         optimizing SCRs that are already
                                                be widely available in this sector: (1)                  price declined, NOX emissions rates at                    partially operating) because this
                                                Fully operating existing SCR, including                  some SCR-controlled EGUs increased.                       circumstance is considerably more
                                                both optimizing NOX removal by                           For example, power sector data from                       common than EGUs that have ceased
                                                existing operational SCRs and turning                    2019 revealed that, in some cases,                        operating their SCR. EPA’s analysis of
                                                on and optimizing existing idled SCRs;                   operating units had SCR controls that                     this emissions control is informed by
                                                (2) installing state-of-the-art NOX                      had been idled or were operating                          the latest engineering modeling
                                                                                                         partially, and therefore suggested that                   equations used in EPA’s IPM platform.
                                                  142 The EPA recognizes that mechanisms exist
                                                                                                         there remained emissions reduction                        These cost and performance equations
                                                under title I of the CAA that allow for the regulation   potential through optimization.143 The                    were recently updated in the summer of
                                                of the use and operation of mobile sources to reduce
                                                ozone-precursor emissions. These include motor           EPA determined that optimizing all of                     2021. The description and development
                                                vehicle inspection and maintenance (I/M)                 these remaining SCRs in the 12 linked                     of the equations are documented in EGU
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                                                programs, gasoline vapor recovery, clean-fuel            states for the Revised CSAPR Update                       NOX Mitigation Strategies Proposed
                                                vehicle programs, transportation control programs,       was a readily available approach for                      Rule TSD and accompanying
                                                and vehicle miles traveled programs. See, e.g., CAA
                                                sections 182(b)(3), 182(b)(4), 182(c)(3), 182(c)(4),     EGUs to reduce NOX emissions. This                        documents.144 They are also
                                                182(c)(5), 182(d)(1), 182(e)(3), and 182(e)(4). The
                                                EPA views these programs as most effective and              143 See ‘‘Ozone Season Data 2018 vs. 2019’’ and          144 The CSAPR Update estimated $1,400 per ton

                                                appropriate in the context of the planning               ‘‘Coal-fired Characteristics and Controls’’ at https://   as a representative cost of turning on idled SCR
                                                requirements applicable to designated                    www.epa.gov/airmarkets/power-plant-data-                  controls. EPA used the same costing methodology
                                                nonattainment areas.                                     highlights#OzoneSeason.                                                                            Continued




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                                                implemented in an interactive                           identified as having a 2021 emissions                  the EPA believes that optimization of
                                                spreadsheet tool called the Retrofit Cost               rate greater than 0.08 lb/mmBtu, the                   existing SCRs is possible for the portion
                                                Analyzer and applied to all units in the                EPA verified that in prior years, the                  of the 2023 ozone season covered under
                                                fleet. These materials are available in                 majority (more than 90 percent) of these               this proposed rule.
                                                the docket for this proposal.                           same units had demonstrated and                           The vast majority of SCR-controlled
                                                   The EPA is using the same                            achieved a NOX emissions rate of 0.08                  units (nationwide and in the 25 linked
                                                methodology to identify SCR                             lb/mmBtu or less on a seasonal or                      states for which EPA is issuing a FIP for
                                                performance as it did in the Revised                    monthly basis. This further supports                   EGUs) are already partially operating
                                                CSAPR Update. To estimate EGU NOX                       EPA’s determination that 0.08 lb/                      these controls during the ozone season
                                                reduction potential from optimizing, the                mmBtu reflects a reasonable emissions                  based on reported 2021 emissions rates.
                                                EPA considers the difference between                    rate for representing SCR optimization                 Existing SCRs operating at partial
                                                the non-optimized NOX emissions rates                   at coal steam units in identifying                     capacity still provide functioning,
                                                and an achievable operating and                         uniform control stringency. This                       maintained systems that may only
                                                optimized SCR NOX emissions rate. To                    emissions rate assumption of 0.08 lb/                  require an increased chemical reagent
                                                determine this rate, EPA evaluated                      mmBtu reflects what those units would                  feed rate (i.e., ammonia or urea) up to
                                                nationwide coal-fired EGU NOX ozone                     achieve on average when optimized,                     their design potential and catalyst
                                                season emissions data from 2009                         recognizing that individual units may                  maintenance for mitigating NOX
                                                through 2019 and calculated an average                  achieve lower or higher rates based on                 emissions; such units may require
                                                NOX ozone season emissions rate across                  unit-specific configuration and dispatch               increased frequency or quantity of
                                                the fleet of coal-fired EGUs with SCR for               patterns. Units historically performing                deliveries, which can be accomplished
                                                each of these eleven years. The EPA                     at, or better, than this rate of 0.08 lb/              within a few weeks. In many cases,
                                                found it prudent to not consider the                    mmBtu are assumed to continue to                       EGUs with SCR have historically
                                                lowest or second-lowest ozone season                    operate at that prior performance level.               achieved more efficient NOX removal
                                                NOX emissions rates, which may reflect                     Given the magnitude and duration of                 rates than their current performance and
                                                SCR systems that have all new                           the air quality problems addressed by                  can therefore simply revert to earlier
                                                components (e.g., new layers of                         this rulemaking, the EPA also applied                  operation and maintenance plans that
                                                catalyst). Data from these systems are                  the same methodology to identify a                     achieved demonstrably better SCR
                                                potentially not representative of ongoing               reasonable level of performance for                    performance.
                                                achievable NOX emissions rates                          optimizing existing SCRs at oil- and gas-                 In the 12 states subject to this control
                                                considering broken-in components and                    fired steam units and simple cycle units               stringency in the Revised CSAPR
                                                routine maintenance schedules. To                       (for which EPA determined that a 0.03                  Update, the EPA observed significant
                                                identify the potential reductions from                  lb/mmBtu emissions rate reflected SCR                  immediate-term improvements in SCR
                                                SCR optimization in this proposed rule,                 optimization) as well as at combined-                  performance in the first ozone season
                                                the EPA followed the same methodology                   cycle units (for which the EPA                         following finalization of that rule, as
                                                as the Revised CSAPR Update.                            determined that a 0.012 lb/mmBtu                       evidenced in particular by the sharp
                                                Considering the emissions data over the                 emissions rate reflected SCR                           drop in emissions rate at Miami Fort
                                                full time period from 2009–2019 data                    optimization).                                         unit 7 (see EGU NOX Mitigation
                                                results in a third-best rate of 0.079                      The EPA evaluated the feasibility of                Strategies Proposed Rule TSD). Such
                                                pounds NOX per million British thermal                  optimizing idled SCRs for the 2023                     empirical data further illustrates the
                                                units (lb/mmBtu).145 Therefore,                         ozone season. Based on industry past                   viability of this mitigation strategy for
                                                consistent with the Revised CSAPR                       practice, the EPA determined that idled                the 2023 control period in response to
                                                Update, where EPA identified 0.08 lb/                   controls can be restored to operation                  this rule.
                                                mmBtu as a reasonable level of                          quickly (i.e., in less than 2 months).
                                                performance for units with optimized                    This timeframe is informed by many                     b. Installing State-of-the-Art NOX
                                                SCR, the EPA proposes a rate of 0.08 lb/                electric utilities’ previous long-standing             Combustion Controls
                                                mmBtu as the optimized rate for this                    practice of utilizing SCRs to reduce EGU                  The EPA estimates that the
                                                rule. The EPA notes that half of the                    NOX emissions during the ozone season                  representative cost of installing state-of-
                                                SCR-controlled EGUs achieved a NOX                      while putting the systems into                         the-art combustion controls is
                                                emissions rate of 0.064 lbs/mmBtu or                    protective lay-up during the non-ozone                 comparable to, if not notably less than,
                                                less over their third-best entire ozone                 season months. For example, this was                   the estimated cost of optimizing existing
                                                season. Moreover, for the SCR-                          the long-standing practice of many                     SCR (represented by $1,600 per ton).
                                                controlled coal units that the EPA                      EGUs that used SCR systems for                         State-of-the-art combustion controls
                                                                                                        compliance with the NOX Budget                         such as low-NOX burners (LNB) and
                                                while updating for input cost increases (e.g., urea     Trading Program. It was quite typical for              over-fire air (OFA) can be installed or
                                                reagent) to arrive at $1,600 per ton in the final       SCRs to be turned off following the                    updated quickly and can substantially
                                                Revised CSAPR Update (while also updating from
                                                2011 dollars to 2016 dollars).
                                                                                                        September 30 end of the ozone season                   reduce EGU NOX emissions.
                                                   145 The EPA notes that updating the inventory of     control period. These controls would                   Nationwide, approximately 99 percent
                                                units to reflect recent retirements and most recent     then be put into protective lay-up for                 of coal-fired EGU capacity greater than
                                                year data (e.g., 2009–2021) would provide a lower       several months of non-use before being                 25 MW is equipped with some form of
                                                value of 0.071 lb/mmBtu. This value is lower than       returned to operation by May 1 of the                  combustion control; however, the
                                                the 0.08 pounds per million British thermal units
                                                (lb/mmBtu) assessed in the Revised CSAPR Update         following ozone season.146 Therefore,                  control configuration or corresponding
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                                                as it reflects 2020 data and also excludes the SCR                                                             emissions rates at a small portion of
                                                performance of since retired coal units with SCRs.        146 In the 22-state CSAPR Update region, 2005
                                                                                                                                                               those units (including units in those
                                                However, 2020 was an outlier year (related to           EGU NOX emissions data suggest that 125 EGUs           states covered in this action) indicate
                                                pandemic impacts on the electric grid).                 operated SCR systems in the summer ozone season
                                                Additionally, a unit’s retirement does not obviate      while idling these controls for the remaining 7 non-   they do not currently have state-of-the-
                                                the usefulness of its data for assessing technology     ozone season months of the year. Units with SCR
                                                performance. Consequently, EPA is proposing the         were identified as those with 2005 ozone season        emissions rates that exceeded 0.12 lbs/mmBtu and
                                                same value of 0.08 lb/mmBtu identified at the time      average NOX rates that were less than 0.12 lbs/        where the average non-ozone season NOX rate was
                                                of the final Revised CSAPR Update Rule.                 mmBtu and 2005 average non-ozone season NOX            more than double the ozone season rate.



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                                                art combustion control technology. As                   placement, fabrication, and delivery).148               Proposed Rule TSD for additional
                                                described in the Revised CSAPR                          In prior rules, the EPA has documented                  details.
                                                Update, the Agency updated its NOX                      its own assessment of combustion
                                                emissions rates for upgrading existing                  control timing installation as well as                  c. Optimizing Already Operating SNCRs
                                                combustion controls to state-of-the-art                 evaluated comments it received                          or Turning on Idled Existing SNCRs
                                                combustion control. The EPA is                          regarding installation of combustion                      Optimizing already operating SNCRs
                                                maintaining its determination that NOX                  controls from the Institute of Clean Air                or turning on idled existing SNCRs can
                                                emissions rates of 0.146 to 0.199 lbs/                  Companies.149 Those comments                            also reduce EGU NOX emissions
                                                mmBtu can be achieved on average                        provided information on the equipment                   quickly, using investments in pollution
                                                depending on the unit’s boiler                          and typical installation time frame for                 control technologies that have already
                                                configuration,147 and, once installed,                  new combustion controls, accounting                     been made. Compared to no post-
                                                reduce NOX emissions at all times of                    for all steps. Commenters noted that it                 combustion controls on a unit, SNCRs
                                                EGU operation.                                          generally takes between 6–8 months on
                                                   These assumptions are consistent                                                                             can achieve a 25 percent reduction on
                                                                                                        a typical boiler—covering the time                      average in EGU NOX emissions (with
                                                with the Revised CSAPR Update and                       through bid evaluation through start-up
                                                they are further discussed in the EGU                                                                           sufficient reagent). They are less capital
                                                                                                        of the technology. The deployment                       intensive but less efficient at NOX
                                                NOX Mitigation Strategies Proposed                      schedule is repeated here as:
                                                Rule TSD. In particular, the EPA                                                                                removal than SCRs. These controls are
                                                                                                        • 4–8 weeks—bid evaluation and                          in use to some degree across the U.S.
                                                proposes to apply the 0.199 lb/mmBtu                       negotiation
                                                emissions rate assumption for all unit                                                                          power sector. In the 25 linked states
                                                                                                        • 4–6 weeks—engineering and                             identified in this proposed rule with
                                                types, consistent with its determination
                                                                                                           completion of engineering drawings                   identified EGU reductions in their
                                                in the Revised CSAPR Update. The
                                                                                                        • 2 weeks—drawing review and                            proposed FIP, approximately 11 percent
                                                average emissions rate assumption
                                                                                                           approval from user                                   of coal-fired EGU capacity is equipped
                                                derived from EPA’s analysis would be
                                                                                                        • 10–12 weeks—fabrication of                            with SNCR.150 Recent power sector data
                                                0.199 lb/mmBtu for combustion controls
                                                                                                           equipment and shipping to end user                   suggest that, in some cases, SNCR
                                                on dry bottom wall fired units and 0.146
                                                                                                           site                                                 controls have been operating less in
                                                lb/mmBtu for tangentially fired units.
                                                                                                        • 2–3 weeks—installation at end user                    2021 relative to performance in prior
                                                However, stakeholders have provided
                                                                                                           site                                                 years.
                                                detailed analysis of how other unit
                                                                                                        • 1 week—commissioning and start-up
                                                considerations, such as coal rank, can                                                                            The EPA determined that optimizing
                                                                                                           of technology
                                                result in large deviations from what has                                                                        already operating SNCRs or turning on
                                                been historically demonstrated with this                Given the above timeframe of                            idled SNCRs is an available approach
                                                combustion control technology. Based                    approximately 6 to 8 months to                          for EGUs to reduce NOX emissions, has
                                                on this and EPA’s review of historical                  complete combustion control                             similar implementation timing to
                                                performance data for tangentially-fired                 installation in the region, the EPA is                  restarting idled SCR controls (less than
                                                units by coal rank with state-of-the-art                proposing to determine that installation                2 months for a given unit), and therefore
                                                combustion controls, the EPA                            of state-of-the-art combustion controls is              could be implemented in time for the
                                                determined in the final Revised CSAPR                   a readily available approach for EGUs to                2023 ozone season. The EPA is
                                                Update that it was appropriate to use                   reduce NOX emissions by the start of the                proposing implementation of this
                                                the 0.199 lb/mmBtu rate for both                        2024 ozone season. More details on                      emissions control technology beginning
                                                tangentially and wall-fired units when                  these analyses can be found in the EGU                  in the 2023 ozone season.
                                                estimating reduction potential for units                NOX Mitigation Strategies Proposed
                                                                                                        Rule TSD.                                                 Using an updated data assessment
                                                with combustion control upgrade
                                                                                                           The cost of installing state-of-the-art              using the Retrofit Cost Analyzer
                                                potential.
                                                   The EPA proposes to continue that                    combustion controls per ton of NOX                      described in the EGU NOX Mitigation
                                                approach in this action. Many of the                    reduced is dependent on the                             Strategies Proposed TSD, the EPA
                                                likely impacted units burn bituminous                   combustion control type and unit type.                  estimates a representative cost of
                                                coal, and the 0.146 lb/mmBtu                            The EPA estimates the cost per ton of                   optimizing SNCR ranging from
                                                nationwide average for tangentially-                    state-of-the-art combustion controls to                 approximately $1,800 per ton (for
                                                fired (inclusive of subbituminous units)                be $400 per ton to $1,200 per ton of                    partially operating SNCRs) to $3,900 per
                                                appears to be below the demonstrated                    NOX removed using a representative                      ton (for idled SNCRs). For existing
                                                emissions rate of state-of-the-art                      capacity factor of 85 percent. This cost                SNCRs that have been idled, unit
                                                combustion controls for bituminous coal                 fits well within EPA’s representative                   operators may need to restart payment
                                                units of this boiler type. Therefore,                   cost threshold observed for SCR                         of some fixed and variable operating
                                                EPA’s assumption of 0.199 lb/mmBtu                      optimization and combustion controls                    costs including labor, maintenance and
                                                for combustion controls is robust to                    (of $1,600 per ton) which would                         repair, parasitic load, and ammonia or
                                                current and future coal choice at a unit.               accommodate combustion control                          urea. The EPA determined that the
                                                   In promulgating CSAPR, the EPA                       upgrade even under scenarios where a                    majority of units with existing SNCR
                                                examined the feasibility of installing                  lower capacity factor is assumed. See                   optimization potential were already
                                                combustion controls, and found that                     the EGU NOX Mitigation Strategies                       partially operating their controls.
                                                industry had demonstrated ability to                                                                            Therefore, the EPA proposes a
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                                                install state-of-the-art LNB controls on a                148 The EPA finds that, generally, the installation   representative cost of $1,800 per ton for
                                                large unit (800 MW) in under six                        phase of state-of-the-art combustion control            SNCR optimization as this value best
                                                months when including the pre-                          upgrades—on a single-unit basis—can be as little as     reflects the circumstances of the
                                                                                                        4 weeks to install with a scheduled outage (not         majority of the affected EGUs with
                                                installation phases (design, order                      including the pre-installation phases such as
                                                                                                        permitting, design, order, fabrication, and delivery)
                                                                                                                                                                SNCR.
                                                 147 Details of EPA’s assessment of state-of-the-art    and as little as 6 months considering all
                                                NOX combustion controls are provided in the EGU         implementation phases.                                    150 https://www.epa.gov/airmarkets/national-

                                                NOX Mitigation Strategies Proposed Rule TSD.              149 EPA–HQ–OAR–2015–0500–0093.                        electric-energy-data-system-needs-v6.



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                                                d. Installing New SNCRs                                 need to account for the same regional                   (BACT) purposes. Other than circulating
                                                   Like existing SNCRs, new SNCR                        factors as SCR installations.152                        fluidized bed coal units which can
                                                retrofit is also available to power plants              Therefore, while the EPA is determining                 achieve a comparably low emissions
                                                and can achieve a 25% NOX reduction                     that at least 16 months would be needed                 rate without this technology, the EPA
                                                on average. The EPA evaluated potential                 to complete all necessary steps of SNCR                 identifies this emissions reduction
                                                emissions reductions and associated                     development and installation at the                     measure for coal steam units greater
                                                                                                        EGUs not currently equipped with                        than or equal to 100 MW. SCR is widely
                                                costs from retrofitting EGUs with new
                                                                                                        SNCRs in the 25 states linked to                        available for existing coal units of this
                                                SNCR post-combustion controls at
                                                                                                        downwind receptors in this proposed                     size and can provide significant
                                                steam units lacking such controls. New
                                                                                                        rule, the EPA notes that the Agency                     emissions reduction potential, with
                                                SNCR technology provides owners with
                                                                                                        evaluated SNCR as a post-combustion                     removal efficiencies of up to 90 percent.
                                                a relatively less capital-intensive option
                                                                                                        control technology collectively with                    The EPA limited its consideration of
                                                for reducing NOX emissions compared
                                                                                                        SCR and estimated installation timing                   SCR technology to steam units greater
                                                to new SCR technology, albeit at the
                                                                                                        considerations of 36 months. EPA                        than or equal to 100 MW. The costs for
                                                expense of higher operating costs on a
                                                                                                        believes its proposed collective timing                 retrofitting a plant smaller than 100 MW
                                                per-ton basis and less total emissions
                                                                                                        considerations for post-combustion                      with SCR increase rapidly due to a lack
                                                reduction potential. SNCR is more                       control retrofit (SNCR and SCR) are
                                                widely observed on relatively smaller                                                                           of economy of scale.153
                                                                                                        practicable given that the preferable
                                                coal units given its low capital/variable               capital-intensive investment retrofit                      The amount of time needed to retrofit
                                                cost ratio. The average capacity of a coal              decision would be highly unit-specific                  an EGU with new SCR extends beyond
                                                unit with SNCR is half the size of the                  and subject to a unit’s compliance                      the 2023 ozone season. The EPA
                                                average capacity of coal unit with                      strategy choices with respect to multiple               proposes that a strategy of retrofitting
                                                SCR.151 Given these observations, the                   regulatory requirements.                                new SCR on a fleetwide, regional scale
                                                EPA identifies this technology as an                       Nonetheless, the EPA is requesting                   is available by, but no earlier than, the
                                                emissions reduction measure for coal                    comment on whether post-combustion                      2026 ozone season. Similar to the SNCR
                                                units less than 100 MW lacking post-                    control timing assumptions (SCR and                     retrofits discussed above, the EPA
                                                combustion NOX control technology. As                   SNCR) should be decoupled, which                        evaluated potential emissions
                                                described in the EGU NOX Mitigation                     would result in the EPA using the 16-                   reductions and associated costs from
                                                Strategies Proposed Rule TSD, the EPA                   month time frame specific to SNCR                       this control technology, as well as the
                                                estimated that $6,700 per ton reflects a                installation to estimate the first year in              impacts and need for this emissions
                                                representative SNCR retrofit cost level                 which these reductions are available.                   control strategy, at the earliest point in
                                                for a majority of these units.                          The EPA is only identifying this                        time when their installation could be
                                                   SNCR installations generally have                    technology for units less than 100 MW                   achieved. In the past, the EPA has found
                                                shorter project installation timeframes                 (a size at which units rarely implement                 the amount of time to retrofit a single
                                                relative to other post-combustion                       SCR retrofit technology). In effect,                    EGU with new SCR, depending on the
                                                controls. The time for engineering                      decoupling these timing assumptions                     regulatory program under which such
                                                review, contract award, fabrication,                    would move the reductions associated                    control may be required, may vary
                                                delivery, and hookup is as little as 16                 with this control stringency from                       between approximately 2 and 4 years
                                                months including pre-contract award                     beginning in the 2026 ozone season to                   depending on site-specific engineering
                                                steps for an individual power plant                     beginning in the 2024 or 2025 ozone                     considerations and on the number of
                                                installing controls on more than one                    season (depending on when this                          installations being considered. This
                                                boiler. This timeframe would mean the                   proposal is finalized). This would                      includes steps for engineering review,
                                                control would be available for the start                impact approximately 1,000 tons of                      construction permit, operating permit,
                                                of the 2024 or 2025 ozone season (i.e.,                 identified reduction potential related to               and control technology installation
                                                calculating 16 months from when this                    SNCR retrofit.                                          (including fabrication, pre hookup,
                                                proposal is finalized). However, SNCR                                                                           control hookup, and testing). EPA’s
                                                retrofits have less pollution reduction                 e. Installing New SCRs
                                                                                                                                                                assessment of installation procedures
                                                potential than alternative post-                           Selective Catalytic Reduction (SCR)                  suggests as little as 21 months may be
                                                combustion controls such as SCRs. The                   controls already exist on approximately                 needed for a single SCR at an individual
                                                EPA is not identifying SNCR technology                  60% of the coal fleet in the linked states              plant and 36 months at a single plant
                                                as a strategy for larger steam units due                that would be subject to a FIP in this                  with multiple boilers. EPA’s assessment
                                                to this lower removal efficiency and the                proposed rulemaking. Nearly every                       of units with SCR retrofit potential
                                                empirical evidence of existing sources                  pulverized coal unit larger than 100 MW                 indicate the majority fall into this first
                                                preferring the more efficient SCRs. Even                built in the last 30 years has installed                classification, i.e., a single SCR at a
                                                for those smaller units less than 100                   this control, which is generally required               power plant. Given that some of the
                                                MWs identified as potential candidates                  for Best Available Control Technology                   assumed SCR retrofit potential occurs at
                                                for this technology, the EPA does not                                                                           plants with multiple units identified
                                                                                                           152 A month-by-month evaluation of SNCR
                                                want to preclude those units from                                                                               with retrofit potential, and given the
                                                                                                        installation is discussed in EPA’s NOX Mitigation
                                                pursuing more advanced pollution                        Strategies Proposed Rule TSD and in EPA’s               total volume of SCR retrofit capacity
                                                controls. Therefore, the EPA also                       ‘‘Engineering and Economic Factors Affecting the        being implemented across the region,
                                                considers the point in time when all                    Installation of Control Technologies for                The EPA is proposing 36 months as an
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                                                types of post-combustion control                        Multipollutant Strategies’’. The analysis in this
                                                                                                        exhibit estimates the installation period from
                                                                                                                                                                appropriate time frame to accommodate
                                                installation could be achieved—i.e., by                 contract award as within a 10–13-month timeframe.       both instances as well as scheduling
                                                the 2026 ozone season. SNCR                             The exhibit also indicates a 16-month timeframe         necessities attributable to the regional-
                                                installation share similar                              from start to finish, inclusive of pre-contract award   scale nature of the program.
                                                                                                        steps of the engineering assessment of technologies
                                                implementation steps with and also                      and bid request development. The timeframe cited
                                                                                                        for installation of SNCR at an individual source in       153 IPM Model-Updates to Cost and Performance
                                                  151 See EGU NO
                                                                   X Mitigation Strategies Proposed     this action is consistent with this more complete       for APC Technologies. SCR Cost Development
                                                Rule TSD for additional discussion.                     timeframe estimated by the analysis in the exhibit.     Methodology for Coal-fired Boilers. February 2022.



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                                                  Further, the EPA notes that it has                       incentives were not necessarily in place             units falling below these criteria
                                                previously determined in the context of                    during this time period for these SCRs               increased significantly. Therefore, the
                                                ozone transport that regional scale                        to operate at their full potential, the EPA          EPA identified the portion of the oil/gas
                                                implementation of SCRs at numerous                         found that half of these units had still             steam fleet meeting this criteria as
                                                EGUs is achievable in 36 months. See 63                    demonstrated a seasonal emission rate                representative of the SCR retrofit
                                                FR 57356, 57447–50 (October. 27, 1998).                    of 0.05 lb/mmBtu or lower and 78                     reduction potential.157 For this segment
                                                The EPA has at times also found up to                      percent had demonstrated this rate on a              of the oil/gas steam units lacking post-
                                                39–48 months to be an appropriate                          monthly basis. The best performing 10                combustion NOX control technology, the
                                                installation timeframe for regionwide                      percent of these SCRs were                           EPA estimated a weighted-average
                                                actions when the EPA is evaluating                         demonstrating seasonal emission rates                representative SCR cost of $7,700 per
                                                multiple installations at multiple                         of 0.036 lb/mmBtu during this time.                  ton.
                                                locations.154 However, as discussed in                        While the EPA identified the 0.05 lb/
                                                greater detail in Section VII.A in this                    mmBtu performance assumption                         f. Generation Shifting
                                                proposed rule, the EPA now recognizes                      consistent with historical data, these
                                                                                                           performance levels are also informed                    Finally, EPA evaluates emissions
                                                that the Wisconsin decision invalidated
                                                                                                           and consistent with the Agency’s IPM                 reduction potential from generation
                                                the standard under which the EPA had
                                                                                                           modeling assumptions used for more                   shifting across the representative dollar
                                                been evaluating appropriate compliance
                                                                                                           than a decade. These modeling                        per ton levels estimated for the
                                                timeframes for purposes of assessing
                                                interstate transport under the good                        assumptions are based on input from                  emissions controls considered above. As
                                                neighbor provision when the Agency                         leading engineering and pollution                    the cost of emitting NOX increases, it
                                                had concluded a 39–48 month                                control consulting entities. Most                    becomes increasingly cost-effective for
                                                timeframe to install SCR was                               recently, these data assumptions were                units with lower NOX rates to increase
                                                appropriate.                                               affirmed and updated in the summer of                generation, while units with higher NOX
                                                  The Agency examined the cost for                         2021 and included in the docket for this             rates reduce generation. Because the
                                                retrofitting a coal unit with new SCR                      rulemaking. The EPA relies on a global               cost of generation is unit-specific, this
                                                technology, which typically attains                        firm providing engineering,                          generation shifting occurs incrementally
                                                controlled NOX rates of 0.05 lbs/mmBtu                     construction management, and                         on a continuum. Consequently, there is
                                                or less. These updates are further                         consulting services for power and                    more generation shifting at higher cost
                                                discussed in the EGU NOX Mitigation                        energy with expertise in grid                        NOX-control levels.
                                                Strategies Proposed Rule TSD.155 Based                     modernization, renewable energy,                        It is reasonable for the EPA to
                                                on the characteristics of coal units of                    energy storage, nuclear power, and                   quantify and include the emissions
                                                100 MW or greater capacity that do not                     fossil fuels. Their familiarity with state-          reduction potential from generation
                                                have post-combustion NOX control                           of-the art pollution controls at power               shifting at cost levels that are
                                                technology, the EPA estimated a                            plants derives from experience                       representative of the emissions control
                                                weighted-average representative SCR                        providing comprehensive project                      technologies evaluated in the multi-
                                                cost of $11,000 per ton.156                                services—from consulting, design, and                factor analysis, because all EGUs that
                                                  The 0.05 lb/mmBtu emission rate                          implementation to construction                       would be regulated by this proposed
                                                performance assumption for new SCR                         management, commissioning, and                       rule participate in highly coordinated,
                                                retrofits is supported by historical data                  operations/maintenance. This review                  interconnected systems where
                                                and third party independent review by                      and update supported the 0.05 lb/                    generation shifting will inevitably occur
                                                pollution control engineering and                          mmBtu performance assumption as a                    in response to pollution control
                                                consulting firms. The EPA first                            representative emission rate for new                 requirements. If the EPA did not
                                                examined unit-level emission rate data                     SCR across coal types.                               account for such emissions reduction
                                                for coal-fired units that had a relatively                    The EPA performed an assessment for               potential in its analysis at Step 3,
                                                recent SCR installation (within the last                   oil/gas steam units in which it evaluated            seeking emissions reductions from
                                                10 years). These SCR retrofits reflect the                 the nationwide performance of those                  pollution control measures at higher-
                                                most recent vintage of the pollution                       units with SCR technology. For these                 NOX-emitting EGUs would still
                                                control technology applied to the power                    units, the EPA tabulated EGU NOX                     incentivize generation shifting toward
                                                sector and are representative of new                       ozone season emissions data from 2009                lower-NOX-emitting EGUs when sources
                                                SCR retrofit capability. Although                          through 2021 and calculated an average               comply under the remedy mechanism
                                                regulatory requirements or economic                        NOX ozone season emissions rate across               established in Step 4, and the
                                                                                                           the fleet of oil- and gas-fired EGUs with            corresponding reductions in emissions
                                                   154 See, e.g., CSAPR Close-Out, 83 FR 65878,            SCR for each of these years. The EPA                 achieved through such generation
                                                65895 (December 21, 2018). See also Final Report:          identified the third lowest year which
                                                Engineering and Economic Factors Affecting the                                                                  shifting would potentially substitute for
                                                Installation of Control Technologies for                   yielded an SCR performance rate of 0.03              some of the emissions reductions
                                                Multipollutant Strategies, EPA–600/R–02/073 (Oct.          lb/mmBtu as representative of                        intended through control operation and
                                                2002), available at https://nepis.epa.gov/Adobe/           performance for this retrofit technology             installation, potentially lessening the
                                                PDF/P1001G0O.pdf.                                          applied to this type of EGU. Next, the
                                                   155 As noted in that TSD, approximately half of                                                              implementation of those mitigation
                                                the recent SCR retrofits (i.e., installed in the last 10
                                                                                                           EPA evaluated the emissions and                      strategies. Generation shifting treatment
                                                years) have demonstrated an emission rate across           operational characteristics for the                  and results are discussed in greater
                                                the ozone season below 0.05 lb/mmBtu, even absent          existing oil/gas steam fleet lacking SCR             detail in the EGU NOX Mitigation
                                                a requirement or strong incentive to operate at that
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                                                                                                           technology. EPA’s analysis indicated                 Strategies Proposed TSD and the Ozone
                                                level in many cases.
                                                                                                           that the majority of reduction potential
                                                   156 This cost estimate is representative of coal                                                             Transport Policy Analysis Proposed
                                                units lacking any post-combustion control. A subset        (approximately 76 percent) from these
                                                                                                                                                                Rule TSD.
                                                of units within the universe of coal sources with          units occurred at units greater than or
                                                SCR retrofit potential, but that have an existing          equal to 100 MW and that were emitting
                                                SNCR technology in place would have a weighted                                                                    157 The EPA used a 3 year average of 2019–2021

                                                average cost that falls above this level, but still cost
                                                                                                           more than 150 tons per ozone season                  reported ozone season emissions to derive a tons
                                                effective. See the EGU NOX Mitigation Strategies           (i.e., approximately 1 ton per day).                 per ozone season value representative for each
                                                Proposed Rule TSD for more discussion.                     Moreover, the cost of reductions for                 covered oil/gas steam unit.



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                                                   The EPA notes that its treatment of                  installation.160 Additionally, the EPA                 measures, or strategies and resulting
                                                generation shifting here is consistent                  requests comment on whether other                      impactful emissions reductions.
                                                with the prior CSAPR rulemakings and                    EGU ozone-season NOX Mitigation                        Because of these challenges, the EPA
                                                is grounded on the same statutory                       technologies should be required to                     adopted a different approach for
                                                authority. See, e.g., 76 FR 48208, 48280                eliminate significant contribution. For                assessing non-EGU NOX emissions
                                                (August 8, 2011). As the EPA explained                  instance, the EGU NOX Mitigation                       reduction potential than the approach
                                                in the CSAPR Update: 158                                Strategies Proposed Rule TSD discusses                 for EGUs described in the preceding
                                                   The good neighbor provision requires state           certain mitigation technologies that                   section. To assess emissions reduction
                                                and federal plans implementing its                      have been applied to ‘‘peaking’’ units                 potential from non-EGUs, the EPA first
                                                requirements to ‘‘prohibit[ ] . . . any source          (small, low capacity factor gas                        performed a screening assessment to
                                                or other type of emissions activity within the          combustion turbines often only                         identify those industries that could have
                                                State from emitting any air pollutant in                operating during periods of peak                       the greatest air quality impact at
                                                amounts which will’’ significantly contribute           demand). To the extent that any of these               downwind receptors. This was followed
                                                to nonattainment or interfere with                      sources meet the applicability
                                                maintenance of the NAAQS in any other
                                                                                                                                                               by an assessment estimating annual
                                                                                                        requirements and are covered in the                    NOX emissions reduction potential at
                                                state. CAA section 110(a)(2)(D)(i)(I)
                                                (emphasis added). . . . [T]he statute does              Group 3 trading program under this                     specific cost thresholds for each of the
                                                not limit the EPA’s authority under the good            proposed rulemaking, they would have                   most impactful industries. Next, the
                                                neighbor provision to basing regulation only            an incentive to reduce emissions                       EPA estimated the reductions in ozone
                                                to control strategies for individual sources.           consistent with the ozone season NOX                   concentrations resulting from the
                                                The statute authorizes the state or EPA in              allowance price. The EPA has not                       emissions reductions for each industry
                                                promulgating a plan to prohibit emissions               identified determinative evidence that                 in each of the 27 linked upwind states.
                                                from ‘‘any source or other type of emissions            there are additional meaningful, cost-
                                                activity within the State’’ that contributes (as                                                               As described later, the results indicate
                                                                                                        effective upwind reductions from these                 that the most impactful industries fall
                                                determined by EPA) to the interstate
                                                transport problem with respect to a particular          emission controls that are not already                 into two tiers based on the estimated
                                                NAAQS. This broad statutory language                    being addressed by state rules. EPA’s                  reductions in ozone concentrations
                                                shows that Congress was directing the states            analysis discussed in the EGU NOX                      associated with the NOX emissions
                                                and the EPA to address a wide range of                  Mitigation Strategies Proposed Rule                    reductions.
                                                entities and activities that may be responsible         TSD highlights that there are 32 units                    The Agency incorporated air quality
                                                for downwind emissions. However, this                   emitting more than 10 tons per year on
                                                provision is silent as to the type of emissions
                                                                                                                                                               information as a first step in an
                                                                                                        average for the 2019–2021 ozone                        analytical framework to help determine
                                                reduction measures that the states and the
                                                                                                        seasons and lacking combustion                         potentially impactful industries to focus
                                                EPA may consider in establishing emissions
                                                reduction requirements, and it does not limit           controls or more advanced controls                     on for further assessing potential
                                                those measures to individual source                     (totaling approximately 1,000 tons of                  controls, emissions reduction potential,
                                                controls. . . . The EPA reasonably interprets           ozone season NOX emissions in 2021).                   air quality improvements, and costs.
                                                this provision to authorize consideration of a          Some of the units in the limited                       The EPA developed the analytical
                                                wide range of measures to reduce emissions              inventory are subject to state                         framework using inputs from the air
                                                from sources, which is consistent with the              requirements delivering additional
                                                broad scope of this provision, as noted
                                                                                                                                                               quality modeling for the Revised CSAPR
                                                                                                        reductions by 2023. Moreover, the EPA                  Update for 2023,161 as well as the
                                                immediately above.                                      analysis suggested $25,000–$30,000 per                 projected 2023 annual emissions
                                                81 FR 74545.159 The EPA continued to                    ton estimates for dry low NOX burners                  inventory from the 2016v2 emissions
                                                apply this same understanding in the                    or ultra-low NOX burners at these units,               platform that was used for the air
                                                Revised CSAPR Update. See 86 FR                         and over $100,000 per ton for SCR                      quality modeling for this proposed rule.
                                                23054, 23095–97 (April 30, 2021); see                   retrofit at some combustion turbines.                  Additional information on the analytical
                                                also 85 FR 68964, 68992–93 (October                     Therefore, the EPA is not proposing any                framework is presented in the Non-EGU
                                                30, 2020).                                              additional reductions from new controls                Screening Assessment memorandum
                                                  The EPA requests comment on the                       for inclusion in its combustion control                available in the docket.
                                                suite of mitigation technologies for                    or retrofit technology breakpoints.
                                                                                                                                                                  Using the Revised CSAPR Update
                                                EGUs described earlier and assessed in                  Although the EPA is not proposing a
                                                                                                                                                               modeling for 2023, the EPA identified
                                                the determination of significant                        mitigation technology for this type of
                                                                                                                                                               upwind states linked to downwind
                                                contribution. The EPA requests                          unit, it requests comment on the
                                                                                                                                                               nonattainment or maintenance receptors
                                                comment on the assumed performance                      potential emissions reductions and cost
                                                                                                                                                               using the 1 percent of the NAAQS
                                                or emissions rate of the technology, the                from such sources in covered states that
                                                                                                                                                               threshold criterion, which is 0.7 ppb (1
                                                representative cost, and the timing for                 do not currently have mitigation
                                                                                                                                                               percent of a 70 ppb NAAQS). In 2023
                                                                                                        requirements for such sources.
                                                   158 The EPA discussed its legal authority for and
                                                                                                                                                               there were 27 linked states for the 2015
                                                the technical viability of generation shifting as a     2. Non-EGU NOX Mitigation Strategies                   ozone NAAQS: Alabama, Arkansas,
                                                method of emissions reduction under the good            a. Determining Non-EGU NOX                             California, Delaware, Illinois, Indiana,
                                                neighbor provision in the CSAPR Update. See
                                                                                                        Reduction Potential                                    Kentucky, Louisiana, Maryland,
                                                especially 81 FR 74504, 74545–47; see also CSAPR                                                               Michigan, Minnesota, Mississippi,
                                                Update Response to Comment Document at 546–                The number of different industries
                                                550 (legal authority); id. 528–533 (technical                                                                  Missouri, Nevada, New Jersey, New
                                                feasibility). See Final Revised CSAPR Update, 86
                                                                                                        and emissions unit categories and types,               York, Ohio, Oklahoma, Oregon,
                                                FR 23096–97.                                            as well as the total number of emissions               Pennsylvania, Tennessee, Texas, Utah,
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                                                   159 The EPA also noted in the CSAPR Update,          units that comprise the universe of non-               Virginia, West Virginia, Wisconsin, and
                                                ‘‘Interpreting the Good Neighbor Provision to be        EGU sources, makes it challenging to                   Wyoming.
                                                sufficiently broad to authorize reliance on             define a single method to identify
                                                generation shifting is also consistent with the
                                                legislative history for the 1970 CAA Amendments.        appropriate control technologies,                        161 The EPA used the Revised CSAPR Update air

                                                The Senate Report stated that to achieve the                                                                   quality modeling for this screening assessment
                                                NAAQS, ‘[g]reater use of natural gas for electric         160 The feasibility of the timetable for emissions   because the air quality modeling for this proposed
                                                power generation may be required,’ S. Rep. No. 91–      reductions from both EGUs and non-EGUs is further      rule was not completed in time to support the
                                                1196 at 2.’’ 81 FR 74545 n.141.                         addressed in Section VII.A of this proposed rule.      assessment.



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                                                   To analyze non-EGU emissions units,                  EPA used this information to identify                  Control Measures Database (CMDB),166
                                                the EPA aggregated the underlying                       breakpoints in the data to determine                   and the projected 2023 emissions
                                                projected 2023 emissions inventory data                 which industries to focus on for the next              inventory to prepare a listing of
                                                into industries defined by 4-digit                      steps in its analysis, as described in the             potential control measures, and costs,
                                                NAICS. Then for linked states, the EPA                  Non-EGU Screening Assessment                           applied to non-EGU emissions units in
                                                followed the 2-step process below:                      memorandum.                                            the projected 2023 emissions inventory.
                                                   Step 1—The EPA identified industries                   A review of the maximum                              Using these data, the EPA plotted curves
                                                whose potentially controllable                          contribution data indicated that the EPA               for Tier 1 industries, Tier 2 industries,
                                                emissions have the greatest ppb impact                  should focus the assessment of NOX                     Tier 1 and 2 industries, and all
                                                on downwind air quality, and                            reduction potential and cost primarily                 industries at $500 per ton increments.
                                                   Step 2—The EPA determined which                      on four industries. These industries                   Figure 1 on page 4 of the Non-EGU
                                                of the most impactful industries and                    each (1) have a maximum contribution                   Screening Assessment memorandum,
                                                emissions units had the most emissions                  to any one receptor of greater than 0.10               which is available in the docket for this
                                                reductions that would make meaningful                   ppb and (2) contribute greater than or                 proposed rulemaking, indicates there is
                                                air quality improvements at the                         equal to 0.01 ppb to at least 10                       a ‘‘knee in the curve’’ at approximately
                                                downwind receptors at a marginal cost                   receptors. The four industries identified              $7,500 per ton (all non-EGU cost
                                                threshold the EPA determined using                      below comprise the ‘‘Tier 1’’ non-EGU                  estimates in the assessment and
                                                underlying control device efficiency and                industries.                                            presented in the rest of this section are
                                                cost information.                                       • Pipeline Transportation of Natural                   in 2016 dollars). The EPA used this
                                                   To estimate the contributions by                       Gas                                                  marginal cost threshold to further assess
                                                industry, defined by 4-digit NAICS, at                  • Cement and Concrete Product                          potential control strategies, estimated
                                                each downwind receptor the EPA used                       Manufacturing                                        emissions reductions, air quality
                                                the 2023 state-receptor specific Revised                • Iron and Steel Mills and Ferroalloy                  improvements, and costs from the
                                                CSAPR Update ppb/ton values and the                       Manufacturing                                        potentially impactful industries. Note
                                                Revised CSAPR Update calibration                        • Glass and Glass Product                              that controls and related emissions
                                                factors used in the air quality                           Manufacturing                                        reductions are available at several
                                                assessment tool (AQAT) for control                        In addition to these industries, the                 estimated cost levels up to the $7,500
                                                analyses in 2023.162 The EPA focused                    maximum contribution data suggests                     per ton threshold. (These costs do not
                                                on assessing emissions units that emit                  including five additional industries as a              include monitoring, recordkeeping,
                                                greater than 100 tons per year (tpy) of                 second tier in the assessment. These                   reporting, or testing costs.)
                                                NOX.163 By limiting the focus to                        industries each either have (1) a                         Next, using the marginal cost
                                                potentially controllable emissions, well-               maximum contribution to any one                        threshold of $7,500 per ton, to estimate
                                                controlled sources that still emit greater              receptor greater than or equal to 0.10                 emissions reductions and costs the EPA
                                                than 100 tpy are excluded. Instead, the                 ppb but contribute greater than or equal               processed the CoST run using the
                                                focus is on uncontrolled sources or                     to 0.01 ppb to fewer than 10 receptors,                maximum emissions reduction
                                                sources that could be better controlled                 or (2) a maximum contribution less than                algorithm,167 with known controls.168
                                                at a reasonable cost. As a result,                      0.10 ppb but contribute greater than or                The EPA identified controls for non-
                                                reductions from any industry identified                 equal to 0.01 ppb to at least 10                       EGU emissions units in the Tier 1 and
                                                by this process are more likely to be                   receptors. The five industries identified              Tier 2 industries that cost up to $7,500
                                                achievable and to lead to air quality                   below comprise the ‘‘Tier 2’’ non-EGU                  per ton. The EPA then calculated air
                                                improvements.                                           industries.                                            quality impacts associated with the
                                                   From this information, the EPA                       • Basic Chemical Manufacturing                         estimated reductions for the 27 linked
                                                prepared a summary with the estimated                   • Petroleum and Coal Products                          states in 2023 using the following steps.
                                                total, maximum, and average                               Manufacturing                                           1. The EPA binned the estimated
                                                contributions from each industry and                    • Metal Ore Mining                                     reductions by 4-digit NAICS code into
                                                the number of receptors with                            • Lime and Gypsum Product                              the Tier 1 and Tier 2 industries.
                                                contributions greater than or equal to                    Manufacturing                                           2. The EPA used the 2023 state-
                                                0.01 ppb from each industry.164 The                     • Pulp, Paper, and Paperboard Mills                    receptor specific Revised CSAPR
                                                                                                          For additional discussion of the                     Update ppb/ton values and the Revised
                                                   162 The calibration factors are receptor-specific
                                                                                                        contribution information, see Appendix                 CSAPR Update calibration factors used
                                                factors. For the Revised CSAPR Update, the              A of the Non-EGU Screening                             in the AQAT for control analyses in
                                                calibration factors were generated using 2016 base
                                                case and 2023 base case air quality model runs.         Assessment memorandum included in                      2023. The EPA multiplied the estimated
                                                These receptor-level ppb/ton factors are discussed      the docket for this proposed rulemaking.
                                                in the Ozone Transport Policy Analysis Final Rule         Next, to identify an annual cost                     and-cost-analysis-air-pollution-regulations/cost-
                                                TSD found here: https://www.epa.gov/sites/default/      threshold for evaluating potential                     analysis-modelstools-air-pollution.
                                                files/2021-03/documents/ozone_transport_policy_         emissions reductions in the Tier 1 and
                                                                                                                                                                 166 The CMDB is available at the following link:

                                                analysis_final_rule_tsd_0.pdf.                                                                                 https://www.epa.gov/economic-and-cost-analysis-
                                                   163 In the non-EGU emissions reduction               Tier 2 industries, the EPA used the                    air-pollution-regulations/cost-analysis-modelstools-
                                                assessment prepared for the Revised Cross State Air     Control Strategy Tool (CoST),165 the                   air-pollution.
                                                Pollution Rule Update (https://                                                                                  167 The maximum emissions reduction algorithm

                                                www.regulations.gov/document/EPA-HQ-OAR-                magnitude of contributions from 41 industries, as      assigns to each source the single measure (if a
                                                2020-0272-0014), The EPA reviewed emissions             identified in the Non-EGU Screening Assessment         measure is available for the source) that provides
                                                units with >150 tpy of NOX emissions. In this           memorandum. From this analysis the EPA                 the maximum reduction to the target pollutant. For
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                                                assessment, EPA broadened the scope to include          determined that 0.01 ppb provides a meaningful         more information, see the CoST User’s Guide
                                                emissions units with greater than or equal to 100       conservative breakpoint for screening out non-         available at the following link: https://
                                                tpy of NOX emissions.                                   impactful industries from the Non-EGU analysis in      www.cmascenter.org/cost/documentation/3.7/
                                                   164 The EPA chose to include in the Non-EGU          this proposed rule. Details on this analysis that      CoST%20User’s%20Guide/.
                                                NOX reduction potential analysis those industries       provides the basis for using 0.01 ppb can be found       168 Known controls are well-demonstrated control

                                                that contribute at least 0.01 ppb to a downwind         in the Non-EGU Screening Assessment                    devices and methods that are currently used in
                                                receptor in order to focus the analysis on the most     memorandum.                                            practice in many industries. Known controls do not
                                                impactful industries. The 0.01 criterion is based on      165 Further information on CoST can be found at      include cutting edge or emerging pollution control
                                                an analysis of the distribution and relative            the following link: https://www.epa.gov/economic-      technologies.



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                                                non-EGU reductions by the ppb/ton                       on all of the non-EGU emissions units                    identified a basis for inclusion in this
                                                values and by the receptor-specific                     cannot be installed by the 2023 ozone                    proposal.
                                                calibration factor to estimate the ppb                  season. The EPA prepared the non-EGU                       The EPA has not historically
                                                impacts from these emissions                            screening assessment for the year 2026                   identified substantial emissions
                                                reductions.                                             by generally applying the analytical                     reduction or air quality gains from
                                                   Next, because boilers represent the                  framework detailed above, with some                      corresponding reductions from these
                                                majority emissions units in the Tier 2                  modifications. The updated screening                     segments of units and has therefore not
                                                industries for which there were controls                assessment results for 2026 are                          considered inclusion of these segments
                                                that cost up to $7,500 per ton, the EPA                 discussed in Section VI.C.2 173 of this                  of stationary sources in its federal
                                                further targeted emissions reductions                   proposed rule. Specifically, the EPA                     programs for interstate transport.
                                                and air quality improvements in Tier 2                     • Retained the impactful industries                     However, given the need to
                                                industries by identifying potentially                   identified in Tier 1 and Tier 2, the                     implement a full remedy to address
                                                impactful industrial, commercial, and                   $7,500 cost per ton threshold, and the                   interstate transport, the more stringent
                                                institutional (ICI) boilers. To identify                methodology for identifying impactful                    2015 ozone NAAQS of 70 ppb, and the
                                                potentially impactful boilers, using the                boilers;                                                 extended period of time for which the
                                                projected 2023 emissions inventory in                      • Modified the framework to address                   EPA projects upwind contribution to
                                                the linked upwind states, the EPA                       challenges associated with using the                     persistent nonattainment and
                                                identified a universe of boilers with                   projected 2023 emissions inventory by                    maintenance problems, the EPA is
                                                greater than 100 tpy NOX emissions that                 using the 2019 emissions inventory; 174                  requesting comment on whether sources
                                                had contributions at downwind                           and                                                      within these three segments—units
                                                receptors.169 170 The EPA refined the                      • Updated the air quality modeling                    serving a generator equal or smaller than
                                                universe of boilers to a subset of                      data by using the most recent air quality                25 MW, cogeneration units, and solid
                                                impactful boilers by sequentially                       modeling data for this proposal for the                  waste incineration units—could merit
                                                applying the three criteria below to each               analytic year 2026.                                      inclusion within EPA’s proposed NOX
                                                boiler. This approach is similar to the                                                                          mitigation strategy in this rule.
                                                                                                        3. Other Stationary Sources NOX
                                                overall analytical framework and was                                                                             Specifically, the EPA requests comment
                                                                                                        Mitigation Strategies
                                                tailored for application to individual                                                                           on available NOX mitigation
                                                boilers.171                                                As part of its analysis for this                      technologies, NOX emissions rate
                                                   • Criterion 1—Estimated maximum                      proposed rule, the EPA also reviewed                     performance, total potentially available
                                                air quality contribution at an individual               whether NOX mitigation strategies for                    NOX reductions, installation timing,
                                                receptor of greater than or equal to                    any other stationary sources may be                      cost, air quality impacts, source-specific
                                                0.0025 ppb or estimated total                           appropriate. In this section, the EPA                    information, and any other information
                                                contribution across downwind receptors                  discusses three classes of units that have               that could inform a control
                                                of greater than or equal to 0.01 ppb.                   historically been excluded from our                      determination specific to these three
                                                   • Criterion 2—Controls that cost up to               interstate air transport programs: (1)                   types of units. The EPA provides an
                                                $7,500 per ton.                                         Units less than or equal to 25 MW, (2)                   assessment of these three segments,
                                                   • Criterion 3—Estimated maximum                      solid waste incineration units, and (3)                  their emissions control opportunities,
                                                air quality improvement at an                           cogeneration units. EPA’s initial                        and potential air quality benefits below.
                                                individual receptor of greater than or                  assessment does not lead it to propose                   Additional considerations are further
                                                equal to 0.001 ppb.                                     inclusion of the units less than or equal                discussed in the EGU NOX Mitigation
                                                   Lastly, the EPA updated its analytical               to 25 MW, but the EPA is requesting                      Strategies Proposed Rule TSD.
                                                framework to the 2026 analytic year by                  comment on any particular units within
                                                                                                                                                                 a. Units Less Than or Equal to 25 MW
                                                which the EPA is proposing non-EGU                      this category that may offer cost-
                                                controls be installed across the Tier 1                 effective reduction potential. The EPA is                   The EPA has historically not included
                                                and Tier 2 industries and various                       also taking comment on and considering                   control requirements for emissions for
                                                emissions unit types. The EPA                           whether to include emissions                             units less than or equal to 25 MW for
                                                concluded, based on the most recent                     limitations for solid waste incineration                 three primary reasons: Low potential
                                                information available from the CSAPR                    units (many of which are less than 25                    reductions, relatively high cost per ton
                                                Update Non-EGU TSD,172 that controls                    MW) in a final rule, as discussed later.                 of reduction, and high monitoring and
                                                                                                        For cogeneration units previously                        other compliance burdens. In the
                                                  169 The EPA used the 2023fj non-EGU point
                                                                                                        exempted from EGU emissions budgets                      January 11, 1993, Acid Rain permitting
                                                source inventory files from the 2016v2 emissions
                                                                                                        established through ozone interstate                     rule, the EPA provided for a conditional
                                                platform.                                                                                                        exemption from the emissions
                                                  170 Maryland, Missouri, Nevada, and Wyoming           transport rules, the EPA has not
                                                did not have boilers with >100 tpy NOX emissions.
                                                                                                                                                                 reduction, emitting, and emissions
                                                  171 For the impactful boiler assessment, the          www.epa.gov/csapr/assessment-non-egu-NOX-                monitoring requirements of the Acid
                                                estimated air quality contributions and                 emission-controls-cost-controls-and-time-                Rain Program for new units having a
                                                improvements were not based on modeling of              compliance-final-tsd.                                    nameplate capacity of 25 MWe or less
                                                individual emissions units or emissions source            173 The non-EGU screening assessment is not
                                                                                                                                                                 that burn fuels with a sulfur content no
                                                sectors. The air quality estimates were derived by      intended to be, nor take the place of, a unit-specific
                                                using the 2023 state/receptor specific Revised          detailed engineering analysis that evaluates the         greater than 0.05% by weight, because
                                                CSAPR Update ppb/ton values and the Revised             feasibility of retrofits for the emissions units,        of the de minimis nature of their
                                                CSAPR Update calibration factors used in AQAT.          potential controls, and related costs. For more          potential SO2, CO2 and NOX emissions.
                                                The results indicate a level of precision not           detailed discussion of these issues, see Section         See 63 FR 57484. The NOX SIP Call
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                                                supported by the underlying air quality modeling.       VII.C of this proposed rule and the Non-EGU
                                                The results were intended to provide an indication      Sectors TSD included in the docket.                      identified these as Small Point Sources.
                                                of the relative impact across sources.                    174 The EPA determined that the 2019 inventory         For the purposes of that rulemaking, the
                                                  172 Final Technical Support Document (TSD) for        was appropriate because it provided a more               EPA considered electricity generating
                                                the Final Cross-State Air Pollution Rule for the 2008   accurate prediction of potential near-term emissions     boilers and turbines serving a generator
                                                Ozone NAAQS, Assessment of Non-EGU NOX                  reductions. See the Non-EGU Screening Assessment
                                                Emissions Controls, Cost of Controls, and Time for      memorandum, available in the docket, for a
                                                                                                                                                                 25 MWe or less, to be small point
                                                Compliance Final TSD (‘‘CSAPR Update Non-EGU            discussion of the challenges associated with using       sources. The EPA noted that the
                                                TSD’’), August 2016, available at https://              the projected 2023 emissions inventory.                  collective emissions from small sources


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                                                were relatively small and the                           new source performance standard                           contain them. Table 8 of the Non-EGU
                                                administrative burden to the states and                 (NSPS) for this industry. These more                      Sectors TSD contains a list of MWC
                                                regulated entities of controlling such                  stringent limits, if applied broadly to the               facilities located within the states
                                                sources was likely to be considerable.                  26 states included in this proposed FIP                   included in this proposal along with
                                                As a result, the rule did not assume                    action, would create an additional                        their NOX emissions as reported to the
                                                reductions from those sources in state                  means of reducing NOX emissions.                          NEI.
                                                emissions budgets requirements (63 FR                      MWCs burn garbage and other non-                          The EPA has promulgated NOX
                                                57402). Similar size thresholds have                    hazardous solid material using a variety                  emissions limits for large MWCs,
                                                been incorporated in subsequent                         of combustion techniques. Section 2.1,                    defined as those that process 250 tons
                                                transport programs such as CAIR and                     Refuse Combustion, of the EPA                             of municipal solid waste per day or
                                                CSAPR. As these sources were not                        emissions factor reference document                       more at 40 CFR part 60, subpart Cb and
                                                identified as having cost-effective                     AP–42 176 contains a description of the                   40 CFR part 60, subpart Eb. Subpart Cb
                                                reductions and so were not included in                  seven different combustion process                        is applicable to MWCs that commenced
                                                those programs, they were also                          technologies most commonly used in                        construction on or before September 20,
                                                exempted from certain reporting                         the industry. A copy of Section 2.1 of                    1994, while Subpart Eb is applicable to
                                                requirements and the data for these                     AP–42 is included within the Docket for                   MWCs that commenced construction,
                                                sources is, therefore, not of the same                  this proposed rule. These seven                           modification, or reconstruction after
                                                caliber as that of covered larger sources.              combustion processes are as follows:                      September 20, 1994. The NOX limits for
                                                   EPA’s preliminary survey of current                  Mass burn waterwall, mass burn rotary                     subpart Cb are found within Tables 1
                                                data, compared to this initial                          waterwall, mass burn refractory wall,                     and 2 of 40 CFR 60.39b and range from
                                                justification, does not appear to offer a               refuse-derived fuel-fired, fluidized bed,                 165 to 250 ppm depending on the
                                                compelling reason to depart from this                   modular starved air, and modular excess                   combustor design type. The NOX limits
                                                past practice by requiring emission                     air. Section 2.1 of AP–42 contains                        for Subpart Eb are found at 40 CFR
                                                reductions from these small EGU                         detailed process descriptions of each of                  60.52b(d) and are 180 ppm during a
                                                sources as part of this rule. For instance,             these MWC processes. During the                           unit’s first year of operation and drop to
                                                as explained in the EGU NOX Mitigation                  combustion process, a number of                           150 ppm afterwards, applicable across
                                                Strategies Proposed Rule TSD, EPA has                   pollutants are produced, including NOX,                   all combustor types. These limits
                                                evaluated the costs of SCR retrofits at                 which forms through oxidation of                          correspond to NOX emissions rates of
                                                small EGUs using its Retrofit Cost                      nitrogen in the waste and from fixation                   0.31 and 0.26 lbs/MMBtu, respectively.
                                                Analyzer and found that such controls                   of nitrogen in the air used to burn the                      Section 182(b)(2) and (f) of the CAA
                                                become markedly less cost-effective at                  waste. NOX emissions from MWCs are                        requires states with ozone
                                                lower levels of generating capacity. This               typically released through tall stacks                    nonattainment areas classified as
                                                                                                        which enables the emissions to be                         Moderate or higher to adopt regulations
                                                analysis concluded that, after
                                                                                                        transported long distances.                               with control requirements representing
                                                controlling for all other unit
                                                                                                           Most MWCs are cogeneration facilities                  reasonably available control technology
                                                characteristics, the dollar per ton cost
                                                                                                        that recover heat from the combustion                     (RACT) for major sources of VOCs and
                                                for a SCR retrofit increases by about a
                                                                                                        process to power a turbine to produce                     NOX. Sections 184(b)(1)(B) and 182(f) of
                                                factor of 2.5 when moving from a 500
                                                                                                        electricity. According to a 2018 report                   the Act require RACT requirements be
                                                MW to a 10 MW unit, and a factor of
                                                                                                        from the Energy Recovery Council,177 72                   adopted in all areas included within the
                                                8 when moving to a 1 MW unit.175
                                                                                                        of the 75 operating MWC facilities in the                 Ozone Transport Region (OTR). Due
                                                Moreover, the EPA estimates that under
                                                                                                        U.S. produce electricity from heat                        primarily to the NOX RACT
                                                6% of nationwide EGU emissions come
                                                                                                        captured from the combustion process.                     requirement, many states within the
                                                from units less than 25 MW and not                                                                                Northeast located within the OTR have
                                                covered by current applicability criteria               The electrical output of MWCs is
                                                                                                        relatively small compared to the EGUs                     adopted NOX emissions limits for
                                                due to this size exemption threshold.                                                                             MWCs that are more stringent than what
                                                Therefore, the EPA is not proposing to                  that will be regulated per the proposed
                                                                                                        requirements of Section VII.B of this                     would otherwise be required by EPA’s
                                                require any emissions reductions from                                                                             NSPS or the emissions guideline for
                                                these units, but the EPA requests                       proposal, with most MWCs having an
                                                                                                        electrical output capacity of less than 25                these units. For example, the
                                                comment on whether there are any cost-                                                                            Montgomery County Resource Recovery
                                                effective reductions and corresponding                  MW. The Non-EGU Sectors TSD located
                                                                                                        in the Docket identifies the electrical                   Facility in Maryland is required to meet
                                                air quality benefits to nonattainment or                                                                          a NOX RACT limit of 140 ppm (at 7
                                                maintenance receptors from any units                    output capacity for MWC units that
                                                                                                        produce electricity as reflected in EPA’s                 percent oxygen) on a 24-hour block
                                                within this segment.                                                                                              average. Additionally, MWC facilities
                                                                                                        NEEDS database.
                                                b. Municipal Solid Waste Units                             However, despite their relatively                      located in Virginia operated by Covanta,
                                                                                                        small electricity-generating potential,                   Inc., are required to meet a NOX RACT
                                                  The EPA seeks comment on whether                                                                                limit of 110 ppm (at 7 percent oxygen)
                                                NOX emissions reductions should be                      NOX emissions from MWCs located in
                                                                                                        the transport states identified in this                   on a 24-hour basis, and a limit of 90
                                                sought from municipal solid waste                                                                                 ppm (at 7 percent oxygen) on an annual
                                                combustor units (MWCs) to address                       proposal are substantial. According to
                                                                                                        the EPA’s NEI database, MWCs emitted                      average basis.178 The 110 ppm limit
                                                interstate ozone transport. As noted                                                                              equates to a limit of 0.19 lbs/MMBtu.
                                                below, MWCs emit substantial amounts                    19,222 tons of NOX in 2017 in the ten
                                                                                                        states included in this proposal that                        The Ozone Transport Commission
                                                of NOX, and some states have required                                                                             (OTC) issued a report entitled
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                                                emissions limits for these facilities that                176 ‘‘AP–42, Fifth Edition Compilation of Air           ‘‘Municipal Waste Combustor
                                                are more stringent than the federal                     Pollutant Emissions Factors, Volume 1: Stationary         Workgroup Report’’ in June of 2021. The
                                                requirements contained within EPA’s                     Point and Area Sources’’, available at: https://
                                                                                                        www.epa.gov/air-emissions-factors-and-                      178 The NO permit limits for the Montgomery
                                                                                                                                                                               X
                                                  175 Preliminary estimate based on representative      quantification/ap-42-compilation-air-emissions-           County facility and the Virginia facilities can be
                                                coal units with starting NOX rate of 0.2 lb/mmBtu,      factors.                                                  found within the OTC’s Municipal Waste
                                                10,000 BTU/kwh, and assuming 80 percent                   177 ‘‘2018 Directory of Waste to Energy Facilities’’;   Combustor Workgroup Report included within the
                                                reduction.                                              Energy Recovery Council.                                  Docket for this proposed rule.



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                                                report is included within the docket for                 should the EPA adopt the combustion                    wasted in the form of heat discharged to
                                                this proposal.179 The report notes that                  control modifications made to units                    the atmosphere. By recovering wasted
                                                MWCs are a significant source of NOX                     with previously installed SNCR                         heat, combined heat and power (CHP)
                                                emissions in the OTR, releasing                          identified by the MWC workgroup?                       systems at cogeneration units typically
                                                approximately 22,000 tons of NOX from                      • Whether there is information that                  achieve total system efficiencies of 60 to
                                                facilities within 9 OTR states in 2018.                  would call into question the OTC                       80% for producing electricity and useful
                                                The report summarizes the results of a                   workgroup’s estimated cost of controls                 thermal energy. Some systems achieve
                                                literature review of state-of-the-art NOX                for reducing NOX emissions from MWCs                   efficiencies approaching 90%. This
                                                controls that have been successfully                     of $2,900 to $6,600 per ton, and,                      increased efficiency allows the same
                                                installed and concludes that significant                 assuming that range is accurate, whether               level of energy use to be achieved with
                                                reductions could be achieved using                       there is any justification for not                     fewer criteria-pollutant and greenhouse
                                                several different technologies described                 requiring these controls in light of their             gas emissions. Additionally, these
                                                in the report, primarily via combustion                  relative cost-effectiveness and total level            systems increase the reliability of access
                                                modifications made to MWC units                          of reductions available, which compare                 to electrical power for the facilities they
                                                already equipped with SNCR. The MWC                      favorably with the proposed EGU and                    serve and reduce the need for electricity
                                                workgroup evaluated the emissions                        non-EGU control strategies?                            from regional power plants and their
                                                reduction potential from two different                     • If the final FIP includes emissions                associated transmission and distribution
                                                control levels, one based on a NOX                       reduction requirements for MWCs,                       networks.
                                                concentration in the effluent of 105 to                  should any mechanism be available by
                                                                                                         which a particular MWC source could                       According to information contained
                                                110 ppm, and another based on a limit
                                                                                                         seek to establish that meeting the                     in the EPA’s Combined Heat and Power
                                                of 130 ppm. The workgroup’s findings
                                                                                                         required emissions limits is not                       Partnership’s document ‘‘Catalog of CHP
                                                were that a control level of 105 parts per
                                                                                                         feasible?                                              Technologies’’,181 there are 4,226 CHP
                                                million by volume, dry (ppmvd) on a
                                                                                                           • Is there any evidence that retrofit of             installations in the U.S. providing
                                                30-day average basis and a 110 ppmvd
                                                                                                         MWC emissions controls would take                      83,317 MWe of electrical capacity. Over
                                                on a 24-hour averaging period would
                                                                                                         longer to implement than the 2026                      99% of the installations are powered by
                                                reduce NOX emissions from MWCs by
                                                approximately 7,300 tons annually, and                   ozone season?                                          5 equipment types, those being
                                                that a limit of 130 ppmvd on a 30 day-                     • Would it be appropriate to rely on                 reciprocating engines (52 percent),
                                                average could achieve a 4,000 ton                        existing testing, monitoring,                          boilers/steam turbines (17 percent), gas
                                                reduction. The report notes that 8 MWC                   recordkeeping, and reporting                           turbines (16 percent), microturbines (8
                                                units exist that are already subject to                  requirements for MWCs under the                        percent), and fuel cells (4 percent). The
                                                permit limits of 110 ppm, 7 in Virginia,                 applicable NSPS or other requirements?                 majority of the electrical capacity is
                                                and one in Florida. Studies evaluating                                                                          provided by gas turbine CHP systems
                                                                                                         c. Cogeneration Units                                  (64 percent) and boiler/steam turbine
                                                MWCs similar in design to the large
                                                MWCs in the OTR found NOX                                   Consistent with prior transport rules,              CHP systems (32 percent). The various
                                                reductions could be achieved at costs                    fossil fuel-fired boilers and combustion               CHP technologies described above are
                                                ranging from $2,900 to $6,600 per ton of                 turbines that produce both electricity                 available in a large range of sizes, from
                                                NOX reduced. Based on the findings of                    and useful thermal energy (generally                   as small as 1 kilowatt reciprocating
                                                this report, the Commissioners of the                    referred to as ‘‘cogeneration units’’) and             engine systems to as large as 300
                                                states within the OTR adopted a                          that meet the applicability criteria to be             megawatt gas turbine powered systems.
                                                resolution to develop a recommendation                   included in the CSAPR NOX Ozone                           NOX emissions from fuel cell powered
                                                for emissions reductions from MWCs                       Season Group 3 Trading Program would                   systems are negligible, and NOX
                                                during their June 15, 2021, annual                       be subject to the emissions reduction                  emissions from rich-burn reciprocating
                                                public meeting.180                                       requirements established in this                       engine, gas turbine, and microturbine
                                                   In light of the above, the EPA requests               rulemaking for EGUs. However, those                    systems are low, ranging from 0.013 to
                                                comment on whether NOX limits for                        applicability criteria—which the EPA is                0.05 lbs/mmBTU. NOX emissions from
                                                MWCs located in the states covered by                    not proposing to alter in this rulemaking              lean-burn reciprocating engine systems
                                                this proposed rule should be included                    (see Section VII.B.3 of this proposed                  and gas-powered steam turbines systems
                                                in the final FIP. Specifically, if NOX                   rule)—exempt some cogeneration units                   range from 0.1 to 0.2 lbs/mmBTU. The
                                                controls are included in the final FIP,                  from coverage as EGUs under the                        highest NOX emitting CHP units are
                                                the EPA requests comment on the                          trading program. The EPA is proposing                  solid fuel-fired boiler/steam turbine
                                                following issues:                                        that fossil fuel-fired boilers and                     systems which emit NOX at rates
                                                   • What NOX emissions limit and                        combustion turbines that produce both                  ranging from 0.2 to 1.2 lbs/mmBTU. A
                                                averaging time should MWCs be                            electricity and useful thermal energy                  preliminary assessment from EPA’s IPM
                                                required to meet, and in particular                      and that do not meet the applicability                 Summer 2021 Reference Case model
                                                should the EPA adopt emissions rates of                  criteria to be included in the CSAPR                   suggest that cogeneration units
                                                105 ppmvd on a 30-day averaging basis                    NOX Ozone Season Group 3 Trading                       exempted from current EPA EGU
                                                and 110 ppmvd on a 24-hour averaging                     Program as EGUs would not be subject                   transport programs due to such
                                                basis?                                                   to any other emissions reduction                       classification are projected to account
                                                   • What types of NOX control                           requirements under this rulemaking.                    for approximately 5% of nationwide
                                                technology could be used to reduce NOX                      Cogeneration systems can offer                      summer NOX emissions in 2023.182
                                                                                                         considerable environmental benefit as
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                                                emissions at MWCs, and in particular
                                                                                                         they often require less fuel to produce                  181 This document is available at: https://
                                                  179 This report is also available at https://          a given energy output. The average                     www.epa.gov/sites/default/files/2015-07/
                                                otcair.org/upload/Documents/Reports/20210624%            efficiency of fossil-fuel fired power                  documents/catalog_of_chp_technologies.pdf.
                                                20OTC%20SAS%20MWC%20report%20final.pdf.                  plants in the United States is 33 percent.               182 https://www.epa.gov/airmarkets/results-using-
                                                  180 See ‘‘Notice of Proposed rules Taken by Ozone                                                             epas-power-sector-modeling-platform-v6-summer-
                                                Transport Commission At Annual Public Meeting,
                                                                                                         This means that two-thirds of the energy               2021-reference-case. The EPA notes that
                                                June 15, 2021’’ included in the Docket for this          used to produce electricity at most                    cogeneration units not exempted from EGU Air
                                                proposed rule.                                           power plants in the United States is                   programs are included in the EPA assessment of



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                                                   Under the proposed rule (consistent                  boilers in the non-EGU industries                      that are subject to the most recent,
                                                with prior CSAPR rulemakings), certain                  identified earlier (Section VI.B.2.a of                stringent standards replace older
                                                cogeneration units would be exempt                      this proposed rule) that serve electricity             vehicles and engines.184
                                                from coverage under the CSAPR NOX                       generators and that qualify for an                        For example, in 2014, the EPA
                                                Ozone Season Group 3 Trading Program                    exemption from inclusion in the CSAPR                  promulgated new, more stringent
                                                as EGUs. Specifically, the trading                      NOX Ozone Season Group 3 Trading                       emissions and fuel standards for light-
                                                program regulations include an                          Program as EGUs to instead meet the                    duty passenger cars and trucks.185 The
                                                exemption for a unit that qualifies as a                same emissions standards, if any, that                 fuel standards took effect in 2017, and
                                                cogeneration unit throughout the later of               would apply under this proposed                        the vehicle standards phase in between
                                                2005 or the first 12 months during                      rulemaking to fossil fuel-fired boilers at             2017 and 2025. Other EPA actions that
                                                which the unit first produces electricity               facilities in the same non-EGU                         are continuing to reduce NOX emissions
                                                and continues to qualify through each                   industries that do not serve electricity               include the Heavy-Duty Engine and
                                                calendar year ending after the later of                 generators. These proposed emissions                   Vehicle Standards and Highway Diesel
                                                2005 or that 12-month period and that                   standards are set forth in Section VII.C.5             Fuel Sulfur Control Requirements (66
                                                meets the limitation on electricity sales               of this proposed rule. Cogeneration                    FR 5002; January 18, 2001); the Clean
                                                to the grid. In order to meet the trading               units at these facilities are in the non-              Air Nonroad Diesel Rule (69 FR 38957;
                                                program’s definition of ‘‘cogeneration                  EGU industries identified in EPA’s non-                June 29, 2004); the Locomotive and
                                                unit’’ under the regulations, a unit (i.e.,             EGU screening assessment for this                      Marine Rule (73 FR 25098; May 6,
                                                a fossil-fuel-fired boiler or combustion                proposal (although potential emissions                 2008); the Marine Spark-Ignition and
                                                turbine) must be a topping-cycle or                     reductions from such cogeneration units                Small Spark-Ignition Engine Rule (73 FR
                                                bottoming-cycle type that operates as                   were not specifically quantified in the                59034; October 8, 2008); the New
                                                part of a ‘‘cogeneration system.’’ A                    assessment). Under this alternative                    Marine Compression-Ignition Engines at
                                                cogeneration system is defined as an                    approach, to the extent these industries               or Above 30 Liters per Cylinder Rule (75
                                                integrated group of equipment at a                      have otherwise been determined in this                 FR 22895; April 30, 2010); and the
                                                source (including a boiler, or                          proposal to significantly contribute to                Aircraft and Aircraft Engine Emissions
                                                combustion turbine, and a generator)                    nonattainment or interfere with                        Standards (77 FR 36342; June 18, 2012).
                                                designed to produce useful thermal                      maintenance, the EPA would find that                      The EPA is currently developing a
                                                energy for industrial, commercial,                      cogeneration units in these industries                 new regulatory effort to reduce NOX and
                                                heating, or cooling purposes and                        should not be excluded from EPA’s                      other pollution from heavy-duty trucks
                                                electricity through the sequential use of               overall NOX mitigation strategy.                       (known as the Cleaner Trucks
                                                energy. A topping-cycle unit is a unit                                                                         Initiative), as described in the January
                                                where the sequential use of energy                      4. Mobile Source NOX Mitigation                        21, 2020, Advance Notice of Proposed
                                                results in production of useful power                   Strategies                                             Rulemaking (85 FR 3306). Heavy-duty
                                                first and then, through use of reject heat                 Under a variety of CAA programs, the                vehicles are the largest contributor to
                                                from such production, in production of                  EPA has established federal emissions                  mobile source emissions of NOX and
                                                useful thermal energy. A bottoming-                     and fuel quality standards that reduce                 will be one of the largest mobile source
                                                cycle unit is a unit where the sequential               emissions from cars, trucks, buses,                    contributors to ozone in 2025.186
                                                use of energy results in production of                  nonroad engines and equipment,                         Reducing heavy-duty vehicle emissions
                                                useful thermal energy first, and then,                  locomotives, marine vessels, and aircraft              nationally would improve air quality
                                                through use of reject heat from such                    (i.e., ‘‘mobile sources’’). Because states             where the trucks are operating as well
                                                production, in production of useful                     are generally preempted from regulating                as downwind. As required by CAA
                                                power. In order to qualify as a                         new vehicles and engines with certain                  section 202(a)(3)(A) of the Act, the EPA
                                                cogeneration unit, a unit also must meet                exceptions (see generally CAA sections                 will be proposing NOX emissions
                                                certain efficiency and operating                        209, 177), mobile source emissions are                 standards that ‘‘reflect the greatest
                                                standards in 2005 and each year                         primarily controlled through EPA’s                     degree of emissions reduction
                                                thereafter. The electricity sales                       federal programs. The EPA has been                     achievable through the application of
                                                limitation under the exemption is                       regulating mobile source emissions                     technology which the Administrator
                                                applied in the same way whether a unit                  since it was established as a federal                  determines will be available for the
                                                serves only one generator or serves more                agency in 1970, and all mobile source                  model year to which such standards
                                                than one generator. In both cases, the                  sectors are currently subject to NOX                   apply, giving appropriate consideration
                                                total amount of electricity produced                    emissions standards. The EPA factors                   to cost, energy, and safety factors
                                                annually by a unit and sold to the grid                 these standards and associated                         associated with the application of such
                                                cannot exceed the greater of one-third of               emissions reductions into its baseline                 technology.’’ Section 202(a)(3)(C) of the
                                                the unit’s potential electric output                    air quality assessment in good neighbor                Act requires that standards apply for no
                                                capacity or 219,000 MWh. This is                        rulemaking, including in this proposed                 less than 3 model years and apply no
                                                consistent with the approach taken in                   rule. These data are factored into EPA’s               earlier than 4 years after promulgation.
                                                the Acid Rain Program (40 CFR                           analysis at Steps 1 and 2 of the 4-step                   The EPA’s existing regulatory
                                                72.7(b)(4)), where the cogeneration-unit                framework. As a result of this long                    program for mobile sources will
                                                exemption originated.                                   history, NOX emissions from onroad and                   184 National Emissions Inventory Collaborative
                                                   The EPA is requesting comment on                     nonroad mobile sources have                            (2019). 2016v1 Emissions Modeling Platform.
                                                the proposal to exempt cogeneration                     substantially decreased (73 percent and                Retrieved from http://views.cira.colostate.edu/wiki/
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                                                units meeting the above criteria from                   57 percent since 2002, for onroad and                  wiki/10202.
                                                any emissions reduction requirements                    nonroad, respectively) 183 and are                       185 Control of Air Pollution from Motor Vehicles:

                                                under this proposed rulemaking. The                                                                            Tier 3 Motor Vehicle Emissions and Fuel Standards,
                                                                                                        predicted to continue to decrease into                 79 FR 23414 (April 28, 2014).
                                                EPA also requests comment on the                        the future as newer vehicles and engines                 186 Zawacki et al., 2018. Mobile source
                                                alternative of requiring fossil fuel-fired                                                                     contributions to ambient ozone and particulate
                                                                                                           183 US EPA. Our Nation’s Air: Status and Trends     matter in 2025. Atmospheric Environment. Vol 188,
                                                EGU reduction potential in Section VI.B.1 of this       Through 2019. https://gispub.epa.gov/air/              pg 129–141. Available online: https://doi.org/
                                                proposed rule.                                          trendsreport/2020/#home.                               10.1016/j.atmosenv.2018.04.057.



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                                                continue to reduce NOX emissions into                                                factor test considers increasing levels of                  states examined at Step 3. EPA’s Step 3
                                                the future, and the EPA is currently                                                 uniform control stringency in                               analysis, including analysis of the
                                                taking active steps to ensure that these                                             combination with considering total NOX                      emissions reduction factors from EGU
                                                NOX reductions occur. The CAA                                                        reduction potential and corresponding                       sources in the state, therefore resulted in
                                                prohibits tampering with emissions                                                   air quality improvements. The EPA                           no additional emission reductions
                                                controls, as well as manufacturing,                                                  evaluated EGU NOX emissions controls                        required to eliminate significant
                                                selling, and installing aftermarket                                                  that are widely available (described                        contribution from any EGU sources in
                                                devices intended to defeat those                                                     previously in Section VI.B.1 of this                        California.
                                                controls. The EPA currently has a                                                    proposed rule), that were assessed in
                                                National Compliance Initiative called                                                previous rules to address ozone                               The tables below summarize the
                                                ‘‘Stopping Aftermarket Defeat Devices                                                transport, and that have been                               emissions reduction potentials (in ozone
                                                for Vehicles and Engines,’’ which                                                    incorporated into state planning                            season tons) from these emissions
                                                focuses on stopping the manufacture,                                                 requirements to address ozone                               controls across the affected
                                                sale, and installation of hardware and                                               nonattainment.                                              jurisdictions. Table VI.C.1–1 focuses on
                                                software specifically designed to defeat                                                The EPA evaluated the EGU sources                        near-term emissions controls while
                                                required emissions controls on onroad                                                within the state of California and found                    Table VI.C.1–2 includes emissions
                                                and nonroad vehicles and engines.                                                    there were no covered coal steam                            controls with extended implementation
                                                C. Control Stringencies Represented by                                               sources greater than 100 MW that would                      timeframes.
                                                Cost Threshold ($ per Ton) and                                                       have emissions reduction potential
                                                Corresponding Emissions Reductions                                                   according to EPA’s assumed EGU SCR
                                                                                                                                     retrofit mitigation technologies.187 The
                                                1. EGU Emissions Reduction Potential                                                 EGUs in the state are sufficiently well-
                                                by Cost Threshold                                                                    controlled resulting in the lowest fossil-
                                                   For EGUs, as discussed in Section                                                 fuel emission rate and highest share of
                                                VI.A of this proposed rule, the multi-                                               renewable generation among the 26
                                                                             TABLE VI.C.1–1—EGU OZONE-SEASON EMISSIONS AND REDUCTION POTENTIAL (tons)—2023
                                                                                                                                                                   Reduction potential (tons) for varying levels of technology inclusion

                                                                                                                                  Baseline 2023                                                                               SCR/SNCR optimization
                                                                                  State                                                                                   SCR optimization        SCR/SNCR optimization
                                                                                                                                    OS NOX              SCR                                                                     + combustion control
                                                                                                                                                                        + combustion control       + combustion control
                                                                                                                                                    optimization                                                               upgrades + generation
                                                                                                                                                                            upgrades *                  upgrades                      shifting

                                                Alabama ................................................................                    6,648             32                           156                          156                      387
                                                Arkansas ...............................................................                    8,955             28                            28                           28                       66
                                                Delaware ...............................................................                      423             35                            35                           39                       35
                                                Illinois ....................................................................               7,662             70                            70                          247                      120
                                                Indiana ...................................................................                12,351            856                           856                          865                    1,191
                                                Kentucky ................................................................                  13,900            446                         1,047                        1,047                    2,260
                                                Louisiana ...............................................................                   9,987            579                           579                          675                      579
                                                Maryland ................................................................                   1,208              0                             0                            8                       13
                                                Michigan ................................................................                  10,737              4                             4                           19                        4
                                                Minnesota ..............................................................                    4,207             98                            98                          139                      246
                                                Mississippi .............................................................                   5,097             73                           697                          697                      697
                                                Missouri .................................................................                 20,094          7,345                         7,345                        7,569                    8,013
                                                Nevada ..................................................................                   2,346             66                            66                           66                       66
                                                New Jersey ...........................................................                        915            105                           105                          105                      116
                                                New York ...............................................................                    3,927             64                            64                           64                      164
                                                Ohio .......................................................................               10,295          1,161                         1,161                        1,161                    1,926
                                                Oklahoma ..............................................................                    10,463            199                           890                          890                      890
                                                Pennsylvania .........................................................                     12,242          2,878                         2,878                        2,978                    3,287
                                                Tennessee .............................................................                     4,319            110                           110                          110                       85
                                                Texas .....................................................................                40,860            921                           921                        1,154                    2,344
                                                Utah .......................................................................               15,500              7                             7                            7                      519
                                                Virginia ..................................................................                 3,415            164                           242                          296                      271
                                                West Virginia .........................................................                    14,686            554                         1,099                        1,380                    1,927
                                                Wisconsin ..............................................................                    5,933              7                             7                           26                      -50
                                                Wyoming ...............................................................                    10,191             82                           677                          690                    1,648

                                                      Total ...............................................................             236,363           15,883                        19,143                      20,417                    26,806
                                                  * The EPA shows reduction potential from state-of-the-art LNB upgrade as near-term reduction emissions controls, but explains in Section VI.B and VI.D of this pro-
                                                posed rule that this reduction potential would not be implemented until 2024 for states not included in the Revised CSAPR Update.
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                                                   187 The only coal-fired power plant in California

                                                is the 63 MW Argus Cogeneration facility in Trona,
                                                California.

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                                                                            TABLE VI.C.1–2—EGU OZONE-SEASON EMISSIONS AND REDUCTION POTENTIAL (tons)—2026
                                                                                                                                            Reduction potential (tons) for varying levels of technology inclusion

                                                                                                                                                                                                                SCR/SNCR optimization
                                                                                                                                             SCR                                     SCR/SNCR optimization
                                                                                                    Baseline 2026                                                                                                    + combustion
                                                                    State                                                                optimization     SCR/SNCR optimization       + combustion control
                                                                                                      OS NOX               SCR          + combustion       + combustion control            upgrades                control upgrades
                                                                                                                       optimization                                                                                  + SCR/SNCR
                                                                                                                                           control              upgrades                 + SCR/SNCR              retrofits + generation
                                                                                                                                          upgrades                                          retrofits                    shifting

                                                Alabama ....................................                6,701                  32             156                         156                        916                       916
                                                Arkansas ...................................                8,728                  28              28                          28                      4,697                     4,805
                                                Delaware ...................................                  473                  35              35                          39                         39                        39
                                                Illinois ........................................           7,763                  70              70                         247                      1,298                     1,648
                                                Indiana .......................................             9,737                 720             720                         729                      1,740                     1,946
                                                Kentucky ....................................              13,211                 446             885                         885                      5,450                     5,638
                                                Louisiana ...................................               9,854                 579             579                         675                      6,102                     6,102
                                                Maryland ....................................               1,208                   0               0                           8                          8                        19
                                                Michigan ....................................               9,129                   4               4                          19                      2,959                     3,015
                                                Minnesota ..................................                4,197                  98              98                         139                      1,613                     1,661
                                                Mississippi .................................               5,077                  73             697                         697                      3,164                     3,163
                                                Missouri .....................................             18,610               7,345           7,345                       7,569                     11,237                    11,364
                                                Nevada ......................................               2,438                  66              66                          66                      1,227                     1,227
                                                New Jersey ...............................                    915                 105             105                         105                        105                       116
                                                New York ...................................                3,927                  64              64                          64                        589                       689
                                                Ohio ...........................................           10,295               1,161           1,161                       1,161                      1,354                     1,709
                                                Oklahoma ..................................                10,283                 199             890                         890                      5,968                     6,008
                                                Pennsylvania .............................                 11,738               2,737           2,737                       2,837                      4,510                     4,919
                                                Tennessee .................................                 4,064                  81              81                          81                         81                        81
                                                Texas .........................................            39,186                 921             921                       1,154                     15,817                    17,240
                                                Utah ...........................................            9,679                   7               7                           7                      7,076                     7,059
                                                Virginia ......................................             3,243                 164             242                         263                        646                       676
                                                West Virginia .............................                14,686                 554           1,099                       1,380                      3,660                     4,089
                                                Wisconsin ..................................                3,628                   7               7                          26                         54                       155
                                                Wyoming ...................................                10,249                  82             677                         690                      5,669                     5,759

                                                      Total ...................................           219,017              15,577          18,675                      19,917                     85,978                    90,041



                                                2. Non-EGU Emissions Reduction                                           estimates do not include monitoring,                          The EPA re-ran CoST with known
                                                Potential—Cost Threshold Up to $7,500/                                   recordkeeping, reporting, or testing                       controls, the CMDB, and the 2019
                                                ton                                                                      costs.                                                     emissions inventory.188 The EPA
                                                                                                                           To prepare the non-EGU screening                         specified CoST to allow replacing an
                                                   The EPA used the updated non-EGU                                                                                                 existing control if a replacement control
                                                screening assessment for 2026 to                                         assessment for 2026, the EPA applied
                                                                                                                         the analytical framework detailed in                       is estimated to be greater than 10%
                                                estimate emissions reduction potential                                                                                              more effective than the existing control.
                                                from the Tier 1 and Tier 2 industries                                    Section VI.B.2 of this proposed rule.
                                                                                                                                                                                    The EPA did not replace an existing
                                                and non-EGU emissions units. The EPA                                     The assessment includes emissions
                                                                                                                                                                                    control if the 2019 emissions inventory
                                                used CoST to identify emissions units,                                   units from the Tier 1 industries and
                                                                                                                                                                                    indicated the presence of that control,
                                                emissions reductions, and associated                                     impactful high-emitting boilers in Tier 2                  even if the CMDB reflects a greater
                                                compliance costs to evaluate the effects                                 Industries. Using the latest air quality                   control efficiency for that control. Also,
                                                of potential non-EGU emissions control                                   modeling for 2026, the EPA identified                      the EPA removed six facilities from
                                                measures and technologies. CoST is                                       upwind states linked to downwind                           consideration because they are subject
                                                designed to be used for illustrative                                     nonattainment or maintenance receptors                     to an existing consent decree, are shut
                                                control strategy analyses (e.g., NAAQS                                   using the 1% of the NAAQS threshold                        down, or will shut down by 2026. For
                                                regulatory impact analyses) and not for                                  criterion, or 0.7 ppb. In 2026 there are                   additional detail on the six facilities
                                                unit-specific, detailed engineering                                      23 linked states for the 2015 ozone                        removed, see Appendix B in the Non-
                                                analyses. These estimates from CoST                                      NAAQS: Arkansas, California, Illinois,                     EGU Screening Assessment
                                                identify proxies for (1) non-EGU                                         Indiana, Kentucky, Louisiana,                              memorandum. Table VI.C.2–1
                                                emissions units that have emissions                                      Maryland, Michigan, Minnesota,                             summarizes the estimated reductions,
                                                reduction potential, (2) potential                                       Mississippi, Missouri, Nevada, New                         total ppb improvements across all
                                                controls for and emissions reductions                                    Jersey, New York, Ohio, Oklahoma,                          receptors, and annual total and average
                                                from these emissions units, and (3)                                      Pennsylvania, Texas, Utah, Virginia,                       annual costs (in 2016 dollars) and Table
                                                control costs from the potential controls                                West Virginia, Wisconsin, and                              VI.C.2–2 below summarizes the
                                                on these emissions units. The cost                                       Wyoming.                                                   estimated reductions by state.
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                                                 188 The EPA determined that the 2019 inventory                          accurate prediction of potential near-term non-EGU
                                                was appropriate because it provided a more                               emissions reductions.



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                                                 TABLE VI.C.2–1—ESTIMATED EMISSIONS REDUCTIONS (OZONE SEASON TONS), TOTAL PPB IMPROVEMENTS ACROSS ALL
                                                                                    DOWNWIND RECEPTORS, AND COSTS
                                                                                                                                                  Total PPB                Annual total cost
                                                                                                             Ozone season                        improvement                (million 2016$)                                  Industries
                                                                       Tier                                emissions reductions                    across all              (average annual             (# of emissions units >100 tpy in identified industries)
                                                                                                               (East/West)                         downwind                    cost/ton)
                                                                                                                                                   receptors

                                                Tier 1 Industries with Known Controls                        41,153 (37,972/3,181)                           4.352             $356.6 ($3,610)        Cement and Concrete Product Manufacturing (47) Glass
                                                  that Cost up to $7,500/ton.                                                                                                                           and Glass Product Manufacturing (44) Iron and Steel
                                                                                                                                                                                                        Mills & Ferroalloy Manufacturing (39) Pipeline Trans-
                                                                                                                                                                                                        portation of Natural Gas (307).
                                                Tier 2 Industry Boilers with Known                                   6,033 (5,965/68)                        0.809                  54.2 (3,744)      Basic Chemical Manufacturing (17) Petroleum and Coal
                                                  Controls that Cost up to $7,500/ton.                                                                                                                  Products Manufacturing (10) Pulp Paper, and Paper-
                                                                                                                                                                                                        board Mills (25).


                                                                   TABLE VI.C.2–2—ESTIMATED EMISSIONS REDUCTIONS (OZONE SEASON TONS) BY UPWIND STATE * **
                                                                                                                    State                                                                           2019 OS NOX emissions             OS NOX reductions

                                                AR ............................................................................................................................................                         8,265                            1,654
                                                CA ............................................................................................................................................                        14,579                            1,666
                                                IL ..............................................................................................................................................                      16,870                            2,452
                                                IN .............................................................................................................................................                       19,604                            3,175
                                                KY ............................................................................................................................................                        11,934                            2,291
                                                LA .............................................................................................................................................                       35,831                            6,769
                                                MD ...........................................................................................................................................                          2,365                               45
                                                MI .............................................................................................................................................                       18,996                            2,731
                                                MN ...........................................................................................................................................                         17,591                              673
                                                MO ...........................................................................................................................................                          9,109                            3,103
                                                MS ............................................................................................................................................                        12,284                            1,761
                                                NJ .............................................................................................................................................                        2,025                                0
                                                NV ............................................................................................................................................                         2,418                                0
                                                NY ............................................................................................................................................                         6,003                              500
                                                OH ............................................................................................................................................                        19,729                            2,790
                                                OK ............................................................................................................................................                        22,146                            3,575
                                                PA ............................................................................................................................................                        15,861                            3,284
                                                TX ............................................................................................................................................                        47,135                            4,440
                                                UT ............................................................................................................................................                         6,276                              757
                                                VA ............................................................................................................................................                         7,041                            1,563
                                                WI .............................................................................................................................................                        6,571                            2,150
                                                WV ...........................................................................................................................................                          9,825                              982
                                                WY ...........................................................................................................................................                         10,335                              826

                                                       Total ..................................................................................................................................                       322,793                           47,187
                                                  * In the non-EGU screening assessment, EPA estimated emissions reduction potential from the non-EGU industries and emissions units. The
                                                estimated emissions reductions by state in the table above are from the non-EGU screening assessment; for additional results from the non-EGU
                                                screening assessment, including estimated reductions by state and by industry, please see the Non-EGU Screening Assessment memorandum
                                                available in the docket.
                                                  ** In the assessment, EPA used CoST to identify emissions units, emissions reductions, and associated compliance costs to evaluate the ef-
                                                fects of potential non-EGU emissions control measures and technologies. CoST is designed to be used for illustrative control strategy analyses
                                                (e.g., NAAQS regulatory impact analyses) and not for unit-specific, detailed engineering analyses. These estimates from CoST identify proxies
                                                for (1) non-EGU emissions units that have emissions reduction potential, (2) potential controls for and emissions reductions from these emissions
                                                units, and (3) control costs from the potential controls on these emissions units. The cost estimates do not include monitoring, recordkeeping, re-
                                                porting, or testing costs.


                                                   In this section, EPA provides a                                            Because of the number of industries and                                   $6,300 per ton, all of which are below
                                                summary of the control technologies                                           emissions unit types, the available                                       the marginal cost per ton threshold of
                                                applied and their average costs across                                        information does not easily allow                                         $7,500 per ton. Note that the average
                                                all of the non-EGU emissions units                                            grouping estimated emissions                                              cost per ton values are in 2016 dollars
                                                included in the screening assessment.                                         reductions by cost per ton threshold for                                  and reflect simple averages and not a
                                                This summary reflects one approach to                                         a few control technologies, measures, or                                  percentile or other representative cost
                                                organizing this information, which the                                        strategies. Nonetheless, Table VI.C.2–3                                   values from a distribution of cost
                                                Agency finds reasonable based on the                                          below provides a summary of estimated                                     estimates.
                                                information available for this proposal.                                      reductions and average cost per ton                                          The Non-EGU Screening Assessment
                                                As discussed in Section VI.B.2 of this                                        values by control technology across all                                   memorandum includes two other
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                                                proposed rule, the number of different                                        non-EGU emissions units included in                                       summaries of estimated reductions and
                                                industries and emissions unit categories                                      the non-EGU screening assessment. The                                     average cost per ton values by
                                                and types present a challenge to                                              summary reflects fourteen control                                         technology across non-EGU emissions
                                                defining a single method to identify                                          technologies applied by CoST across all                                   units. First, the memorandum includes
                                                appropriate control technologies,                                             emissions units in the non-EGU                                            a summary by control technology as
                                                measures or strategies, and related costs                                     screening assessment. The average cost                                    applied across non-EGU emissions units
                                                across non-EGU emissions units.                                               per ton values range from $585 to                                         grouped by the Tier 1 industries and


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                                                impactful boilers in Tier 2 industries,                                 memorandum includes a summary by                                 which given this disaggregation reflects
                                                which given this further disaggregation                                 control technology across non-EGU                                26 control technologies across the
                                                reflects 18 control technologies across                                 emissions units grouped by the seven                             industries applied by CoST.
                                                the tiers applied by CoST. Second, the                                  individual Tier 1 and 2 industries,

                                                    TABLE VI.C.2–3—ESTIMATED EMISSIONS REDUCTIONS (OZONE SEASON TONS), ANNUAL TOTAL COST, AND AVERAGE
                                                                  COST PER TON BY CONTROL TECHNOLOGY ACROSS ALL NON-EGU EMISSIONS UNITS
                                                                                                                                                                                        Ozone season             Average cost
                                                                                                    Control technology                                                                   emissions                 per ton
                                                                                                                                                                                         reductions

                                                Adjust Air to Fuel Ratio and Ignition Retard ...........................................................................                                 212                $2,393
                                                Layered Combustion ................................................................................................................                   12,706                 5,457
                                                Low NOX Burner ......................................................................................................................                    231                 3,773
                                                Low NOX Burner and Flue Gas Recirculation .........................................................................                                      200                 4,288
                                                Natural Gas Reburn .................................................................................................................                     284                 2,703
                                                Non-Selective Catalytic Reduction ..........................................................................................                             147                   585
                                                Non-Selective Catalytic Reduction or Layered Combustion ...................................................                                            6,359                 4,743
                                                Oxygen Enriched Air Staging ..................................................................................................                            52                   764
                                                SCR + DLN Combustion .........................................................................................................                           136                 6,301
                                                Selective Catalytic Reduction ..................................................................................................                      12,239                 2,543
                                                Selective Catalytic Reduction and Steam Injection .................................................................                                      929                 3,787
                                                Selective Non-Catalytic Reduction ..........................................................................................                           8,076                 1,485
                                                Ultra-Low NOX Burner .............................................................................................................                     1,670                 2,890
                                                Ultra-Low NOX Burner and Selective Catalytic Reduction ......................................................                                          3,946                 4,114



                                                  Refer to the Non-EGU Screening                                        1. EGU Assessment                                                   Similarly, the EPA also identified
                                                Assessment memorandum for additional                                       For EGUs, the EPA examined the                                installation of new SCR post-
                                                2026 screening assessment results—                                      emissions reduction potential associated                         combustion controls at coal steam
                                                including by industry and by state,                                     with each EGU emissions control                                  sources greater than or equal to 100 MW
                                                estimated emissions reductions and                                      technology (presented in Section VI.C.1                          and for a more limited portion of the
                                                costs, as well as by industry, emissions                                of this proposed rule) and its impact on                         oil/gas steam fleet that had higher levels
                                                source groups, control technologies,                                    the air quality at downwind receptors.                           of emissions as components of the
                                                number of emissions units, estimated                                    Specifically, EPA identified and                                 required control stringency. These SCR
                                                ozone season reductions, and annual                                     assessed the projected average air                               retrofits are widely available by the
                                                total cost.                                                             quality improvements relative to the                             2026 ozone season at $11,000 and
                                                                                                                        base case and whether these                                      $7,700 per ton respectively. For all but
                                                D. Assessing Cost, EGU and Non-EGU                                      improvements are sufficient to shift the                         3 of the affected states (Alabama,
                                                NOX Reductions, and Air Quality                                         status of receptors from projected                               Delaware, and Tennessee—which are no
                                                                                                                        nonattainment to maintenance or from                             longer linked in 2026 at Steps 1 and 2
                                                   To determine the emissions that are                                                                                                   in EPA’s base case air quality modeling),
                                                                                                                        maintenance to attainment. Combining
                                                significantly contributing to                                           these air quality factors, costs, and                            EPA’s evaluation also shows that the
                                                nonattainment or interfering with                                       emissions reductions, the EPA                                    effective emissions rate performance
                                                maintenance, the EPA applied the                                        identified a control stringency for EGUs                         across EGUs consistent with realization
                                                multi-factor test to EGUs and non-EGUs                                  that results in substantial air quality                          of these mitigation measures does not
                                                separately, considering for each the                                    improvement from emissions controls                              over-control upwind states’ emissions in
                                                relationship of cost, available emissions                               that are available in the timeframe for                          2026 relative to either the downwind air
                                                reductions, and downwind air quality                                    which air quality problems at                                    quality problems to which they are
                                                impacts. Specifically, for each sector,                                 downwind receptors persist. For all                              linked at Step 1 or the 1 percent
                                                the EPA proposes a determination                                        affected jurisdictions, this control                             contribution threshold that triggers
                                                regarding the appropriate level of                                      stringency reflects, at a minimum, the                           further evaluation at Step 3 of the 4-step
                                                uniform NOX control stringency that                                     optimization of existing post-                                   framework for the 2015 ozone NAAQS
                                                would collectively eliminate significant                                combustion controls and installation of                          (see the Ozone Transport Policy
                                                contribution to downwind                                                state-of-the-art NOX combustion                                  Analysis Proposed Rule TSD for
                                                nonattainment and maintenance                                           controls, which are widely available at                          details).
                                                receptors. The EPA also evaluated                                       a representative marginal cost of $1,800                            To assess downwind air quality
                                                whether the proposed rule resulted in                                   per ton. EPA’s evaluation also shows                             impacts for the nonattainment and
                                                possible over-control scenarios by                                      that the effective emissions rate                                maintenance receptors identified in
                                                evaluating if an upwind state is linked                                 performance across affected EGUs                                 Section V.D of this proposed rule, the
                                                solely to downwind air quality                                          consistent with realization of these                             EPA evaluated the air quality change at
                                                                                                                        mitigation measures does not over-                               that receptor expected from the
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                                                problems that could have been resolved
                                                                                                                        control upwind states’ emissions                                 progressively more stringent upwind
                                                at a lower cost threshold, or if an
                                                                                                                        relative to either the downwind air                              EGU control stringencies that were
                                                upwind state could have reduced its
                                                                                                                        quality problems to which they are                               available for that time period in upwind
                                                emissions below the 1 percent air
                                                                                                                        linked at Step 1 or the 1 percent                                states linked to that receptor. This
                                                quality contribution threshold at a lower                               contribution threshold that triggers                             assessment provides the downwind
                                                cost threshold.                                                         further evaluation at Step 3 of the 4-step                       ozone improvements for consideration
                                                                                                                        framework for the 2015 ozone NAAQS.                              and provides air quality data that is


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                                                used to evaluate potential over-control                                      Moderate (2024) and Serious (2027)                                  mitigation strategies in place. Table
                                                situations.                                                                  attainment dates. For each EGU                                      VI.D.1–1 summarizes the results of
                                                   To assess the air quality impacts of                                      emissions control technology, the EPA                               EPA’s Step 3 evaluation of air quality
                                                the various control stringencies at                                          first evaluated the magnitude of the                                improvements at these receptors using
                                                downwind receptors for the purposes of                                       change in ozone concentrations at the                               AQAT.
                                                Step 3, the EPA evaluated changes                                            nonattainment and maintenance                                          For 2026, the EPA determined that the
                                                resulting from the emissions reductions                                      receptors for each relevant year (i.e.,                             average air quality improvement at these
                                                associated with the identified emissions                                     2023 and 2026). Next, the EPA                                       receptors relative to the engineering
                                                controls in each of the upwind states, as                                    evaluated whether the estimated change                              analytics base case was 0.43 ppb for
                                                well as assumed corresponding                                                in concentration would resolve the
                                                reductions of similar stringency in the                                                                                                          emissions reductions commensurate
                                                                                                                             receptor’s nonattainment or                                         with optimization of existing SCRs/
                                                downwind state containing the receptor                                       maintenance concern by lowering the
                                                to which they are linked. By applying                                                                                                            SNCRs, combustion control upgrades,
                                                                                                                             average or maximum design values,                                   and new post-combustion control (SCR
                                                these emissions reductions to the state                                      respectively, below 71 ppb. For a
                                                containing the receptor, the EPA                                                                                                                 and SNCR) retrofits at eligible units are
                                                                                                                             complete set of estimates, see the Ozone                            assumed to be implemented. The EPA
                                                assumes that the downwind state will                                         Transport Policy Analysis Proposed
                                                implement (if it has not already) an                                                                                                             determined for the purposes of Step 3
                                                                                                                             Rule TSD or the ozone AQAT excel file.                              that in 2026, all but one of the receptors
                                                emissions control stringency for its
                                                sources that is comparable to the                                               For 2023, the EPA evaluated potential                            are expected to remain nonattainment or
                                                upwind control stringency identified                                         air quality improvements at the                                     maintenance across these control
                                                here. Consequently, The EPA is                                               downwind receptors outside of                                       stringencies, with one receptor in
                                                accounting for the downwind state’s                                          California associated with available                                Douglas County, Colorado switching
                                                share of a nonattainment or                                                  EGU emissions control technologies in                               from maintenance to attainment with
                                                maintenance problem as a part of the                                         that timeframe. The EPA determined for                              these mitigation strategies in place.190
                                                over-control evaluation.189                                                  the purposes of Step 3 that the average                             Table VI.D.1–2 summarizes the results
                                                   For this assessment, the EPA used an                                      air quality improvement at the receptors                            of EPA’s Step 3 evaluation of air quality
                                                ozone air quality assessment tool (ozone                                     relative to the engineering analytics base                          improvements at the receptors included
                                                AQAT) to estimate downwind changes                                           case was 0.11 ppb for emissions                                     in the AQAT analysis. For more
                                                in ozone concentrations related to                                           reductions commensurate with                                        information about how this assessment
                                                upwind changes in emissions levels.                                          optimization of existing SCRs/SNCRs                                 was performed and the results of the
                                                The EPA focused its assessment on the                                        and combustion control upgrades. The                                analysis for each receptor, refer to the
                                                years 2023 and 2026 as they pertain to                                       EPA determined for the purposes of                                  Ozone Transport Policy Analysis
                                                the last years for which ozone season                                        Step 3 that one receptor in Clark                                   Proposed Rule TSD and to the Ozone
                                                emissions data can be used for purposes                                      County, Nevada switches from                                        AQAT included in the docket for this
                                                of determining attainment for the                                            maintenance to attainment with these                                rule.
                                                    TABLE VI.D.1–1—AIR QUALITY AT THE 29 RECEPTORS IN 2023 FROM EGU EMISSIONS CONTROL TECHNOLOGIES a b
                                                                                                                                                                                  Average DV                                  Max DV
                                                                                                                                                                                     (ppb)                                     (ppb)
                                                      Monitor ID No.                              State                                   County                          Baseline         SCR/SNCR             Baseline            SCR/SNCR
                                                                                                                                                                        (engineering      optimization +      (engineering         optimization +
                                                                                                                                                                          analysis)       LNB upgrade           analysis)          LNB upgrade

                                                040278011 ......................   Arizona ............................      Yuma ...............................                 70.53            70.53              72.25                      72.24
                                                080350004 ......................   Colorado ..........................       Douglas ...........................                  72.35            72.28              72.96                      72.89
                                                080590006 ......................   Colorado ..........................       Jefferson .........................                  73.23            73.19              73.84                      73.80
                                                080590011 ......................   Colorado ..........................       Jefferson .........................                  74.41            74.38              75.13                      75.09
                                                090010017 ......................   Connecticut .....................         Fairfield ...........................                73.11            73.14              73.82                      73.85
                                                090013007 ......................   Connecticut .....................         Fairfield ...........................                74.45            74.44              75.37                      75.36
                                                090019003 ......................   Connecticut .....................         Fairfield ...........................                76.30            76.29              76.51                      76.50
                                                090099002 ......................   Connecticut .....................         New Haven .....................                      72.11            72.07              74.16                      74.12
                                                170310001 ......................   Illinois ..............................   Cook ................................                70.02            70.02              73.90                      73.89
                                                170310032 ......................   Illinois ..............................   Cook ................................                70.14            70.15              72.78                      72.79
                                                170310076 ......................   Illinois ..............................   Cook ................................                69.64            69.65              72.49                      72.49
                                                170314201 ......................   Illinois ..............................   Cook ................................                70.19            70.18              73.75                      73.74
                                                170317002 ......................   Illinois ..............................   Cook ................................                70.42            70.33              73.37                      73.29
                                                320030075 ......................   Nevada ............................       Clark ................................               70.09            70.06              71.01                      70.98
                                                420170012 ......................   Pennsylvania ...................          Bucks ..............................                 71.09            71.03              72.63                      72.57
                                                480391004 ......................   Texas ..............................      Brazoria ...........................                 71.71            71.29              73.89                      73.45
                                                481210034 ......................   Texas ..............................      Denton .............................                 71.20            71.03              73.06                      72.89
                                                482010024 ......................   Texas ..............................      Harris ...............................               76.92            76.55              78.48                      78.10
                                                482010055 ......................   Texas ..............................      Harris ...............................               72.50            72.14              73.54                      73.17
                                                482011034 ......................   Texas ..............................      Harris ...............................               72.07            71.67              73.32                      72.91
                                                482011035 ......................   Texas ..............................      Harris ...............................               69.69            69.31              73.32                      72.92
                                                490110004 ......................   Utah .................................    Davis ...............................                73.65            73.59              75.91                      75.85
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                                                  189 For EGUs, this analysis for the Connecticut                            evaluated air quality changes resulting from the                    other states in order to address air quality problems
                                                receptors shows no EGU reduction potential from                              application of the emissions reductions in only                     at other receptors do not increase or decrease this
                                                the emissions reduction measures identified given                            those states that are linked to each receptor as well               share. The air quality impacts on design values that
                                                that state’s already low-emitting fleet; however,                            as the state containing the receptor. By applying                   reflect the emissions reductions in all linked states
                                                EGU reductions were identified in Colorado and                               reductions to the state containing the receptor, the                and the health and climate benefits from this
                                                these reductions were included in the over-control                           EPA ensures that it is accounting for the downwind
                                                analysis.                                                                                                                                        proposal are discussed in Section IX of this
                                                                                                                             state’s fair share. This method holds each upwind
                                                  190 As in prior rules, for the purpose of defining                         state responsible for its fair share of the downwind                proposed rule.
                                                significant contribution at Step 3, the EPA                                  problems to which it is linked. Reductions made by



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                                                   TABLE VI.D.1–1—AIR QUALITY AT THE 29 RECEPTORS IN 2023 FROM EGU EMISSIONS CONTROL TECHNOLOGIES a b—
                                                                                                Continued
                                                                                                                                                                                                Average DV                                                              Max DV
                                                                                                                                                                                                   (ppb)                                                                 (ppb)
                                                       Monitor ID No.                                 State                                    County                              Baseline                   SCR/SNCR                         Baseline                       SCR/SNCR
                                                                                                                                                                                 (engineering                optimization +                  (engineering                    optimization +
                                                                                                                                                                                   analysis)                 LNB upgrade                       analysis)                     LNB upgrade

                                                490353006 ......................       Utah .................................    Salt Lake .........................                           74.35                         74.29                          75.99                         75.93
                                                490353013 ......................       Utah .................................    Salt Lake .........................                           75.27                         75.21                          75.78                         75.72
                                                490570002 ......................       Utah .................................    Weber ..............................                          71.35                         71.29                          73.29                         73.23
                                                490571003 ......................       Utah .................................    Weber ..............................                          71.24                         71.19                          72.16                         72.11
                                                550590019 ......................       Wisconsin ........................        Kenosha ..........................                            73.17                         73.07                          74.09                         73.99
                                                550590025 ......................       Wisconsin ........................        Kenosha ..........................                            69.62                         69.46                          72.69                         72.52
                                                551010020 ......................       Wisconsin ........................        Racine .............................                          71.70                         71.61                          73.64                         73.55

                                                Average AQ Change Relative to Base (ppb) .......................................................................................................................................................                                              0.11

                                                Total PPB Change Across All Receptors Relative to Base c                              ...............................................................................................................................                         3.08
                                                   Table Notes:
                                                   a These results reflect the inclusion of all identified LNB upgrade potential. Some of which will be implemented in 2023 state emissions budgets, and some be im-
                                                plemented in 2024 state emissions budgets (for those states not included in the Revised CSAPR Update).
                                                   b The EPA notes that the design values reflected in tables VI.D.1–1 and 2 correspond to the engineering analysis EGU emissions inventory that was used in AQAT
                                                to determine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone Transport Policy Analysis Proposed
                                                Rule TSD.
                                                   c The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close proximity to one another)
                                                in this part of the Step 3 analysis. Section IX of this proposed rule provides a more complete picture of the air quality impacts of the proposed rule.

                                                               TABLE VI.D.1–2—AIR QUALITY AT RECEPTORS IN 2026 FROM EGU EMISSIONS CONTROL TECHNOLOGIES
                                                                                                                                                                                                Average DV                                                              Max DV
                                                                                                                                                                                                   (ppb)                                                                 (ppb)

                                                                                                                                                                                                              SCR/SNCR
                                                       Monitor ID No.                                 State                                    County                              Baseline                   optimization                     Baseline                  SCR/SNCR optimization
                                                                                                                                                                                 (engineering               + LNB upgrade                    (engineering                  + LNB upgrade +
                                                                                                                                                                                   analysis)                 + SCR/SNCR                        analysis)                   SCR/SNCR retrofit
                                                                                                                                                                                                                 retrofit

                                                40278011 ........................      Arizona ............................      Yuma ...............................                          70.11                         70.09                          71.81                         71.79
                                                80350004 ........................      Colorado ..........................       Douglas ...........................                           70.94                         70.23                          71.55                         70.83
                                                80590006 ........................      Colorado ..........................       Jefferson .........................                           72.09                         71.42                          72.69                         72.02
                                                80590011 ........................      Colorado ..........................       Jefferson .........................                           72.97                         72.32                          73.68                         73.02
                                                90010017 ........................      Connecticut .....................         Fairfield ...........................                         71.60                         71.52                          72.30                         72.22
                                                90013007 ........................      Connecticut .....................         Fairfield ...........................                         73.09                         72.84                          73.99                         73.74
                                                90019003 ........................      Connecticut .....................         Fairfield ...........................                         74.83                         74.63                          75.03                         74.83
                                                90099002 ........................      Connecticut .....................         New Haven .....................                               70.77                         70.51                          72.78                         72.51
                                                170310001 ......................       Illinois ..............................   Cook ................................                         69.05                         68.96                          72.87                         72.77
                                                170310032 ......................       Illinois ..............................   Cook ................................                         69.37                         69.32                          71.98                         71.93
                                                170310076 ......................       Illinois ..............................   Cook ................................                         68.75                         68.71                          71.56                         71.52
                                                170314201 ......................       Illinois ..............................   Cook ................................                         69.10                         69.02                          72.61                         72.53
                                                170317002 ......................       Illinois ..............................   Cook ................................                         69.36                         69.18                          72.27                         72.09
                                                480391004 ......................       Texas ..............................      Brazoria ...........................                          70.93                         69.35                          73.09                         71.46
                                                482010024 ......................       Texas ..............................      Harris ...............................                        76.28                         74.77                          77.82                         76.28
                                                490110004 ......................       Utah .................................    Davis ...............................                         72.20                         71.61                          74.42                         73.81
                                                490353006 ......................       Utah .................................    Salt Lake .........................                           73.00                         72.40                          74.61                         74.00
                                                490353013 ......................       Utah .................................    Salt Lake .........................                           74.10                         73.45                          74.60                         73.95
                                                490570002 ......................       Utah .................................    Weber ..............................                          70.30                         69.74                          72.22                         71.64
                                                550590019 ......................       Wisconsin ........................        Kenosha ..........................                            72.01                         71.80                          72.91                         72.70
                                                550590025 ......................       Wisconsin ........................        Kenosha ..........................                            68.46                         68.19                          71.48                         71.19
                                                551010020 ......................       Wisconsin ........................        Racine .............................                          70.52                         70.33                          72.42                         72.24

                                                Average AQ Change Relative to Base (ppb) .......................................................................................................................................................                                              0.43

                                                Total PPB Change Across All Receptors Relative to Base (ppb) ........................................................................................................................                                                         9.42



                                                  Figures 1 and 2 to Section VI.D.1,                                             implemented. Figure 1 to Section                                                         controls (mainly SCRs) layered on top of
                                                included in Appendix G of the Ozone                                              VI.D.1 191 reflects emissions reductions                                                 the emissions reduction potential from
                                                Transport Policy Analysis Proposed                                               commensurate with optimization of                                                        the technologies represented in Figure 1
                                                Rule TSD available in the docket for this                                        existing SNCRs and SCRs. Figure 2 to                                                     to Section VI.D.1.193 The graphic, and
                                                rulemaking, illustrate the air quality                                           Section VI.D.1 192 reflects emissions                                                    underlying AQAT receptor-by-receptor
                                                improvement relative to the estimated                                            reductions commensurate with
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                                                                                                                                                                                                                          analysis demonstrates that air quality
                                                representative cost associated with the                                          installation of new post combustion                                                      continues to improve at downwind
                                                previously identified emissions control                                                                                                                                   receptors as EPA examines increasingly
                                                technologies. The graphs show                                                      191 Included in Appendix G of the Ozone
                                                                                                                                                                                                                          stringent EGU NOX control
                                                improving air quality at the downwind                                            Transport Policy Analysis Proposed Rule TSD,
                                                                                                                                 which is available in the docket for this rulemaking.
                                                receptors as emissions reductions                                                  192 Included in Appendix G of the Ozone                                                  193 Included in Appendix G of the Ozone
                                                commensurate with the identified                                                 Transport Policy Analysis Proposed Rule TSD,                                             Transport Policy Analysis Proposed Rule TSD,
                                                control technologies are assumed to be                                           which is available in the docket for this rulemaking.                                    which is available in the docket for this rulemaking.



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                                                technologies. While all major                           years.194 Similarly, the Clean Air                      threshold of $1,800 per ton, there is
                                                technology breakpoints identified in                    Interstate Rule established emissions                   some additional air quality
                                                Sections VI.B and VI.C of this proposed                 reductions requirements in 2006 that                    improvement from optimization of
                                                rule show continued air quality                         assumed another 58 units (15 GW)                        existing SNCRs. These measures taken
                                                improvements at problematic receptors                   would be installed in the ensuing years                 together represent the control stringency
                                                and at cost and technology choice levels                among just 10 states, and an even                       at which near-term incremental EGU
                                                that are commensurate with mitigation                   greater volume of capacity chose SCR                    NOX reduction potential and
                                                strategies that are proven to be widely                 retrofit measures in the wake of                        corresponding downwind ozone air
                                                available and implemented, EPA’s                        finalizing that action.195                              quality improvements are maximized.
                                                quantification and application of those                    Basing emission reduction                            This evaluation shows that EGU NOX
                                                breakpoints reflect certain exclusions to:              requirements for EGUs on SCR retrofits                  reductions for each of the near-term
                                                (1) Preserve this consistency with                      is also consistent with regulatory                      emissions control technologies are
                                                widely observed mitigation measures in                  approaches adopted by states, which—                    available at reasonable cost and that
                                                states, and (2) remove any retrofit                     particularly in downwind areas more                     these reductions provide meaningful
                                                assumptions at marginal units that                      impacted by ozone transport                             improvements in downwind ozone
                                                would have much higher dollar per ton                   contribution from upwind state                          concentrations at the identified
                                                representative cost and little or no air                emissions—have already adopted SCR-                     nonattainment and maintenance
                                                quality benefit. For instance, the EPA                  based standards as part of stringent NOX                receptors. Figure 1 to Section VI.D.1 201
                                                                                                        control programs. Regulatory programs                   highlights (1) the continuous connection
                                                does not define the SCR retrofit
                                                                                                        that impose stringent Reasonably                        between identified emission reduction
                                                breakpoint ($11,000 per ton) to include
                                                                                                        Available Control Technology (RACT)                     potential and downwind air quality
                                                retrofit application at steam units less
                                                                                                        requirements on all major power plants                  improvement across the range of near-
                                                than 100 MW or at oil/gas steam units
                                                                                                        and Lowest Achievable Emission Rate                     term mitigation measures assessed, and
                                                emitting at less than 150 tons per ozone
                                                                                                        (LAER) standards on all new major                       (2) the cost-effective availability of these
                                                season. The emissions reductions from
                                                                                                        sources of NOX have resulted in                         reductions and corresponding air
                                                these potential categories of measures
                                                                                                        remaining coal sources in states along                  quality improvements.
                                                are small and do not constitute
                                                                                                        the Northeast Corridor such as                             Additional considerations that are
                                                additional ‘‘breakpoints’’ in EPA’s                     Connecticut, Delaware, New Jersey,
                                                estimation. They would entail much                                                                              unique to EGUs provide additional
                                                                                                        New York, and Massachusetts all being                   support for EPA’s proposal to include
                                                higher dollar per ton costs, going                      retrofitted with SCR.196 The Maryland
                                                beyond what is widely observed in the                                                                           SCR and SNCR optimization as part of
                                                                                                        Code of Regulations requires coal fired                 the identified near-term control
                                                fleet. This careful calibration of                      sources to operate existing SCR controls
                                                technology breakpoints through                                                                                  stringency, including:
                                                                                                        or install SCR controls by specified                       • These controls are already installed
                                                exclusion of measures that are clearly                  dates.197 Programs like North Carolina’s                and available for operation on these
                                                not cost-effective in terms of air quality              Clean Smokestacks Act and Colorado’s                    units;
                                                benefit allows for the identification of                Clean Air, Clean Jobs Act have also                        • they are on average already partially
                                                an EGU strategy that is an appropriate                  required or prompted SCR retrofits on                   operating, but not necessarily
                                                reflection of those readily available and               units.198 Unit-level Best Available                     optimized;
                                                widely implemented emissions                            Retrofit Technology (BART)                                 • the reductions are available in the
                                                reduction strategies that will have                     requirements for the first Regional Haze                near-term (during ozone seasons when
                                                meaningful downwind air quality                         planning period also determined SCR                     the problematic receptors are projected
                                                impact.                                                 retrofits (and corresponding emissions                  to persist), including by the 2023 ozone
                                                   Moreover, these technologies (and                    rates) were cost-effective controls for a               season aligned with the Moderate area
                                                representative cost) are demonstrated                   variety of sources in the U.S.199                       attainment date; and
                                                ozone pollution mitigation strategies                      As shown in Figure 1 to Section                         • these sources are already covered
                                                that are widely practiced across the EGU                VI.D.1,200 the majority of EGU emissions                under the existing CSAPR NOX Ozone
                                                fleet and are of comparable stringency to               reduction potential and associated air                  Season Group 2 or Group 3 Trading
                                                emissions reduction measures that                       quality improvements estimated for                      Programs or the Acid Rain Program and
                                                many downwind states have already                       2023 occurs from optimization of                        thus have the monitoring, reporting,
                                                instituted. The coal SCR retrofit                       existing SCRs, with some additional                     recordkeeping, and all other necessary
                                                measures driving the majority of the                    reductions from installation of state-of-               elements of compliance with the trading
                                                emissions reductions in this action not                 the-art combustion controls at the same                 program already in place.
                                                only reflect industry best practice, but                representative cost threshold. At the                      The majority of emissions reduction
                                                they also reflect prevailing practice                   slightly higher representative cost                     potential and associated air quality
                                                among EGUs. More than 60% of the                                                                                improvements estimated for 2026 occur
                                                existing coal capacity already has this
                                                                                                          194 63 FR 57448.
                                                                                                                                                                from retrofitting uncontrolled steam
                                                                                                          195 71 FR 25345.
                                                technology in place. For nearly 25 years,                                                                       sources with post-combustion controls.
                                                                                                           196 EPA–HQ–OAR–2020–0272. Comment letter
                                                all new coal-fired EGUs that                                                                                    At the representative cost threshold of
                                                                                                        from Attorneys General of NY, NJ, CT, DE, MA.
                                                commenced construction have had SCR                        197 COMAR 26.11.38 (control of NO Emissions
                                                                                                                                                                $11,000 per ton, there are significant
                                                                                                                                               X
                                                (or equivalent emissions rates). The                    from Coal-Fired Electric Generating Units).             additional air quality improvements
                                                1997 proposed amendments to subpart                        198 https://www.epa.gov/system/files/documents/      from emissions reductions
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                                                Da revised the NOX standard based on                    2021-09/table-3-30-state-power-sector-regulations-      commensurate with installation of new
                                                                                                        included-in-epa-platform-v6-summer-2021-refe.pdf.       SCRs and SNCRs. These measures taken
                                                the use of SCR. The NOX SIP Call                           199 See table 3–35 BART regulations in EPA IPM
                                                (promulgated in 1998) established                       documentation available at https://www.epa.gov/
                                                                                                                                                                together with the near-term emissions
                                                emissions reduction requirements                        airmarkets/documentation-epas-power-sector-             reduction measures described
                                                premised on extensive SCR installation                  modeling-platform-v6-summer-2021-reference-case.
                                                                                                           200 Included in Appendix G of the Ozone                201 Included in Appendix G of the Ozone
                                                (142 units) and incentivized well over                  Transport Policy Analysis Proposed Rule TSD,            Transport Policy Analysis Proposed Rule TSD,
                                                40 GWs of SCR retrofit in the ensuing                   which is available in the docket for this rulemaking.   which is available in the docket for this rulemaking.



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                                                previously represent the level of control               TSD, the EPA considered other methods                  at Step 3 that so long as the identified
                                                stringency in 2026 at which incremental                 of identifying mitigation measures (e.g.,              NOX emissions reduction controls are
                                                EGU NOX reduction potential and                         SCRs on smaller units, combustion                      available and can be implemented (such
                                                corresponding downwind ozone air                        control upgrades on combustion                         as optimization of SCRs), they must be
                                                quality improvements are maximized.                     turbines, SCRs on combustion turbines).                implemented, even as total NOX
                                                This evaluation shows that EGU NOX                      The emission reductions from these                     emissions reductions on a mass basis
                                                reductions for each of the emissions                    potential categories of measures do not                decline. EPA’s Step 3 finding is not
                                                control technologies are available at                   constitute additional ‘‘technology                     limited to a determination of the mass-
                                                reasonable cost and that these                          breakpoints’’ in EPA’s estimation, but                 based reduction in emissions that the
                                                reductions can provide improvements                     rather reflect a different tier of                     EPA determines is achievable for the
                                                in downwind ozone concentrations at                     assessment where further mitigation                    covered EGU fleet under current
                                                the identified nonattainment and                        measures are based on inclusion of                     operating conditions. Rather, the EPA
                                                maintenance receptors.                                  smaller and/or different generator type                finds at Step 3 that EGUs must continue
                                                   The EPA finds that the control                       of unit (rather than pollution control                 to achieve NOX emissions performance
                                                stringency that reflects optimization of                technology). Emissions reductions from                 in the ozone season commensurate with
                                                existing SCRs and SNCRs, installation of                these measures are relatively small and                the level of emissions control stringency
                                                state-of-the-art combustion controls, and               would entail much higher dollar per ton                the EPA determines appropriate under
                                                the retrofitting of new post combustion                 costs, going beyond what is widely                     the multifactor test as set forth in this
                                                controls at the coal and oil/gas steam                  observed in the fleet. Although these                  section. The stringency of the emissions
                                                capacity described previously results in                additional measures are not included in                budgets would simply reflect the
                                                nearly 90,000 tons of NOX reduction                     EPA’s technology breakpoint analysis                   stringency of the emissions control
                                                (approximately 43 percent of the 2026                   discussed above, the EPA did examine                   strategies and would do so more
                                                baseline level) for the 22 linked states in             the cost, potential reductions, and air                consistently over time than EPA’s
                                                2026 subject to a FIP for EGUs, which                   quality impact of these additional                     previous approach of computing
                                                will deliver notable air quality                        measures in a supplemental analysis to                 emissions budgets for all future control
                                                improvements across all transport-                      affirm that they do not merit inclusion                periods at the time of the rulemaking.
                                                impacted receptors and assist in fully                  in the proposed stringency for this                    This retention of a constant degree of
                                                resolving one downwind air quality                      action. Similar to prior rules, there is a             stringency over time in emissions
                                                problem for the 2015 ozone NAAQS.                       notable ‘‘knee-in-the-curve’’ breakpoint               budgets under a flexible trading
                                                Figure 2 to Section VI.D.1 202                          if these additional measures are                       program would not constitute over-
                                                demonstrates the continuous connection                  included in EPA’s analysis. In other                   control any more than the permanent
                                                between identified emissions reduction                  words, there are very little additional                imposition of emissions rate standards
                                                potential and downwind air quality                      emissions reductions and air quality                   on individual sources at the time of the
                                                improvement across the range of                         improvement at problematic receptors,                  rulemaking would constitute over-
                                                mitigation measures assessed in 2026.                   and the cost associated with these                     control.
                                                At no point do the additional emission                  measures increases substantially on a                     EPA acknowledges that this is an
                                                mitigation measures examined here fail                  dollar per ton basis. The graphic below                adjustment in its historical approach to
                                                to produce corresponding downwind air                   illustrates the significant loss in cost-              eliminating significant contribution,
                                                quality improvements.                                   effectiveness of reductions if these                   although it is consistent with the
                                                   The EPA is proposing that emissions                  measures had been included in EPA’s                    evolution of the Agency’s thinking as set
                                                reductions commensurate with the full                   proposed stringency.203                                forth in the Revised CSAPR Update. In
                                                operation of all existing post-                            This proposed determination                         CSAPR and the CSAPR Update, EPA
                                                combustion controls (both SCRs and                      regarding the appropriate level of                     established static budgets at Step 4
                                                SNCRs) and state-of-the-art combustion                  control stringency for EGUs to eliminate               based on the selected level of control
                                                control upgrades constitute the                         significant contribution from upwind                   stringency at Step 3. EPA’s experience
                                                Agency’s selected control stringency for                states finds that the amounts of NOX                   with this approach has been that while
                                                EGUs for those states linked to                         emissions reduction achieved through                   the initial mass-based budgets are
                                                downwind nonattainment or                               these strategies at EGUs are necessary                 achieved and compliance targets are
                                                maintenance in 2023. For those states                   and cost-justified under the Step 3                    even exceeded, this leads to a loss in
                                                also linked in 2026, the EPA is                         multifactor analysis for as long as the                efficacy of the program as the incentive
                                                determining that the appropriate EGU                    strategies remain available to the                     to reduce emissions declines over time.
                                                control stringency also includes                        sources. In other words, the EPA finds                 Some sources emit at higher levels or
                                                emissions reductions commensurate
                                                                                                                                                               relax their operation of NOX controls in
                                                with the retrofit of SCR at coal steam                     203 This is not to discount the potential
                                                                                                                                                               response to the build-up of allowances
                                                units of 100 MW or greater capacity                     effectiveness of these or other NOX mitigation
                                                                                                        strategies outside the context of this rulemaking to   available for compliance, even though
                                                (excepting circulating fluidized bed
                                                                                                        address regional ozone transport on a nationwide       EPA has concluded those controls are
                                                units), new SNCR on coal steam units of                 basis. States and local jurisdictions may find such    necessary to meet the statutory good
                                                less than 100 MW capacity and                           measures particularly impactful or necessary in the
                                                                                                                                                               neighbor requirements. This result is
                                                circulating fluidized bed units, and SCR                context of local attainment planning or other
                                                                                                        unique circumstances. Further, while the EPA           inconsistent with the statutory mandate
                                                on oil/gas steam units greater than 100
                                                                                                        proposes this rule as a complete remedy to the         to ‘‘prohibit’’ significant contribution
                                                MW that have historically emitted at                    problem of interstate transport for the 2015 ozone     and interference with maintenance of
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                                                least 150 tons of NOX per ozone season.                 NAAQS, the EPA has in the past recognized that
                                                                                                                                                               the NAAQS in other states, as evidenced
                                                   As noted previously in Section VI.B of               circumstances may arise after the promulgation of
                                                                                                        remedies under CAA section 110(a)(2)(D)(i)(I) in       most clearly in CAA section 126, which
                                                this proposed rule and in the EGU NOX
                                                                                                        which the exercise of further remedial authority       makes it unlawful for a source ‘‘to
                                                Mitigation Strategies Proposed Rule                     against specific stationary sources or groups of       operate more than three months after [a
                                                                                                        sources under CAA section 126 may be warranted.
                                                  202 Included in Appendix G of the Ozone               See Response to Clean Air Act Section 126(b)
                                                                                                                                                               finding that the source emits or would
                                                Transport Policy Analysis Proposed Rule TSD,            Petition From Delaware and Maryland, 83 FR             emit in violation of the good neighbor
                                                which is available in the docket for this rulemaking.   50444, 50453–54 (Oct. 5, 2018).                        provision] has been made with respect


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                                                to it.’’ 42 U.S.C. 7426(c)(2) (emphasis                                          emissions rate to each EGU, based on                                      CMDB, and the 2019 emissions
                                                added). Moreover, there is no policy                                             the operation of the selected NOX                                         inventory and estimated emissions
                                                justification at Step 3 for an upwind                                            control strategy (e.g., optimizing                                        reductions from emissions units in the
                                                source to relax or cease operating its                                           existing SCRs) that would apply in                                        Tier 1 industries and impactful boilers
                                                emissions controls simply because other                                          perpetuity. By continually adjusting                                      in the Tier 2 industries.
                                                sources of pollution have been reduced.                                          budgets to ensure that emissions                                             Using 2026 as the potential earliest
                                                In the Revised CSAPR Update, the EPA                                             outcomes are achieved—and downwind                                        date by which controls on emissions
                                                began to address this problem by                                                 air quality benefits are delivered—that                                   units in the Tier 1 industries and
                                                establishing adjusted emissions budgets                                          are commensurate with the continuous                                      impactful boilers in the Tier 2 industries
                                                for each year from 2021 through 2025                                             operation of emissions controls at the                                    could be installed, the EPA assessed
                                                based on information about the                                                   selected control stringency at Step 3, the                                whether these emissions reduction
                                                changing EGU fleet known at the time                                             EPA is better aligning the                                                controls should be required at Step 3
                                                of promulgation of the rule. See 86 FR                                           implementation of the program at Step                                     under its multi-factor test.
                                                23118. As discussed in Section VII.B of                                          4 with the level of emissions reductions
                                                                                                                                 from upwind sources that the EPA has                                         The EPA determined that, for 2026,
                                                this proposed rule, the EPA is now                                                                                                                         the average air quality improvement at
                                                implementing a more complete                                                     determined is appropriate through the
                                                                                                                                 Step 3 multifactor analysis.204 The EPA                                   receptors relative to the EGU case when
                                                approach to eliminating significant                                                                                                                        SCR post-combustion controls were
                                                contribution by imposing dynamic                                                 requests comment on its identified EGU
                                                                                                                                 control stringencies, including its                                       installed was 0.18 ppb when Tier 1 non-
                                                budget updates and banking restrictions                                                                                                                    EGU controls were applied and an
                                                to ensure that its selected control                                              consideration of the cost, air quality
                                                                                                                                 impacts, and timing of such mitigation                                    additional 0.04 ppb when Tier 2 non-
                                                stringency at Step 3 continues to be                                                                                                                       EGU controls were applied, based on
                                                implemented.                                                                     strategies.
                                                                                                                                                                                                           the Step 3 analysis. The EPA
                                                   This approach at Step 4 is wholly                                             2. Non-EGU Assessment                                                     determined for the purposes of Step 3
                                                consistent with EPA’s findings at Step 3.                                           The Agency prepared the non-EGU                                        that all but 3 receptors remain
                                                This is best illustrated by comparing the                                        screening assessment for 2026 using the                                   nonattainment or maintenance after the
                                                trading program approach with the                                                analytical framework detailed in Section                                  application of these controls, with two
                                                requirements the EPA could promulgate                                            VI.B.2 of this proposed rule. Using a                                     receptors (one in Brazoria County, Texas
                                                for EGUs based on an approach of                                                 $7,500/ton (in 2016 dollars) marginal                                     and one in Kenosha County, Wisconsin)
                                                assigning unit-specific emissions rate                                           cost threshold identified in the                                          switching from maintenance to
                                                limitations. Under the latter approach,                                          framework, the screening assessment                                       attainment with these non-EGU controls
                                                the EPA would assign an enforceable                                              used CoST with known controls, the                                        in place.
                                                                                  TABLE VI.D.2–2—AIR QUALITY AT RECEPTORS IN 2026 FROM NON-EGU INDUSTRIES
                                                                                                                                                                                      Average DV                                                   Max DV
                                                                                                                                                                                         (ppb)                                                      (ppb)

                                                                                                                                                                                                  EGU SCR/
                                                                                                                                                                                                    SNCR                                               EGU SCR/SNCR
                                                                                                                                                                                                 optimization
                                                       Monitor ID No.                                 State                                   County                                                                                                      optimization
                                                                                                                                                                              Baseline              + LNB                     Baseline                       + LNB
                                                                                                                                                                            (engineering          upgrade +                 (engineering            upgrade + SCR/SNCR
                                                                                                                                                                              analysis)          SCR/SNCR                     analysis)               retrofit + non-EGU
                                                                                                                                                                                                retrofit + non-                                         Tier 1 + Tier 2
                                                                                                                                                                                                     EGU
                                                                                                                                                                                                Tier 1 + Tier 2

                                                40278011 ........................      Arizona ............................      Yuma ...............................                 70.11                   70.06                     71.81                       71.76
                                                80350004 ........................      Colorado ..........................       Douglas ...........................                  70.94                   70.07                     71.55                       70.67
                                                80590006 ........................      Colorado ..........................       Jefferson .........................                  72.09                   71.26                     72.69                       71.86
                                                80590011 ........................      Colorado ..........................       Jefferson .........................                  72.97                   72.16                     73.68                       72.86
                                                90010017 ........................      Connecticut .....................         Fairfield ...........................                71.60                   71.35                     72.30                       72.04
                                                90013007 ........................      Connecticut .....................         Fairfield ...........................                73.09                   72.54                     73.99                       73.43
                                                90019003 ........................      Connecticut .....................         Fairfield ...........................                74.83                   74.40                     75.03                       74.59
                                                90099002 ........................      Connecticut .....................         New Haven .....................                      70.77                   70.22                     72.78                       72.21
                                                170310001 ......................       Illinois ..............................   Cook ................................                69.05                   68.73                     72.87                       72.53
                                                170310032 ......................       Illinois ..............................   Cook ................................                69.37                   69.20                     71.98                       71.80
                                                170310076 ......................       Illinois ..............................   Cook ................................                68.75                   68.51                     71.56                       71.31
                                                170314201 ......................       Illinois ..............................   Cook ................................                69.10                   68.83                     72.61                       72.32
                                                170317002 ......................       Illinois ..............................   Cook ................................                69.36                   68.98                     72.27                       71.88
                                                480391004 ......................       Texas ..............................      Brazoria ...........................                 70.93                   68.72                     73.09                       70.81
                                                482010024 ......................       Texas ..............................      Harris ...............................               76.28                   74.23                     77.82                       75.73
                                                490110004 ......................       Utah .................................    Davis ...............................                72.20                   71.51                     74.42                       73.70
                                                490353006 ......................       Utah .................................    Salt Lake .........................                  73.00                   72.30                     74.61                       73.90
                                                490353013 ......................       Utah .................................    Salt Lake .........................                  74.10                   73.34                     74.60                       73.84
                                                490570002 ......................       Utah .................................    Weber ..............................                 70.30                   69.63                     72.22                       71.53
                                                550590019 ......................       Wisconsin ........................        Kenosha ..........................                   72.01                   71.57                     72.91                       72.47
                                                550590025 ......................       Wisconsin ........................        Kenosha ..........................                   68.46                   67.95                     71.48                       70.95
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                                                551010020 ......................       Wisconsin ........................        Racine .............................                 70.52                   70.12                     72.42                       72.02

                                                Average AQ Change Relative to Base (ppb) .......................................................................................................................................................                     0.64


                                                   204 The EPA does not believe this adjustment in                               and enforceable unit-specific emissions limits—                           that there is no over-control at the proposed
                                                its Step 3 approach for EGUs, or its corresponding,                              violates the prohibition on over-control. Our over-                       stringency (for both EGUs and non-EGUs) in any
                                                improved approach to the trading program at Step                                 control analysis is set forth below in Section VI.D                       upwind state.
                                                4—which, again, mimics the effect of permanent                                   of this proposed rule, and the EPA proposes to find



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                                                                    TABLE VI.D.2–2—AIR QUALITY AT RECEPTORS IN 2026 FROM NON-EGU INDUSTRIES—Continued
                                                                                                                                                                                   Average DV                                              Max DV
                                                                                                                                                                                      (ppb)                                                 (ppb)

                                                                                                                                                                                                 EGU SCR/
                                                                                                                                                                                                   SNCR                                         EGU SCR/SNCR
                                                                                                                                                                                                optimization
                                                       Monitor ID No.                               State                                 County                                                                                                   optimization
                                                                                                                                                                        Baseline                   + LNB                      Baseline                + LNB
                                                                                                                                                                      (engineering               upgrade +                  (engineering     upgrade + SCR/SNCR
                                                                                                                                                                        analysis)               SCR/SNCR                      analysis)        retrofit + non-EGU
                                                                                                                                                                                               retrofit + non-                                   Tier 1 + Tier 2
                                                                                                                                                                                                    EGU
                                                                                                                                                                                               Tier 1 + Tier 2

                                                Total PPB Change Across All Receptors Relative to Base (ppb) ........................................................................................................................                        14.13



                                                  For more information about how this                                       NOX burners or low NOX burners are                                           remaining in the 2026 air quality
                                                assessment was performed and the                                            generally considered part of the process                                     modeling base case to inform the over-
                                                results of the analysis for each receptor,                                  or add-on controls for ICI boilers (and                                      control analysis. EPA’s evaluation
                                                refer to the Ozone Transport Policy                                         how process changes or retrofits to                                          demonstrated air quality improvement
                                                Analysis Proposed Rule TSD and to the                                       accommodate controls would affect the                                        at the 22 remaining nonattainment or
                                                Ozone AQAT included in the docket for                                       cost estimates). We request comment on                                       maintenance receptors outside of
                                                this rule.                                                                  our estimates regarding the effectiveness                                    California (see Section V.D of this
                                                                                                                            of low emissions combustion in                                               proposed rule for receptor details). The
                                                a. Request for Comment on Non-EGU
                                                                                                                            controlling NOX from RICE compared to                                        EPA estimated that the average air
                                                Control Strategies and Measures
                                                                                                                            other potential NOX controls for these                                       quality improvement at these receptors
                                                  In the non-EGU screening assessment,                                      engines. We request comment on                                               relative to the engineering analytics base
                                                the EPA used CoST, the CMDB, and the                                        whether controls on ICI boilers and                                          case was 0.64 ppb for emissions
                                                2019 emissions inventory to assess                                          reciprocating IC engines are likely to be                                    reductions commensurate with
                                                emissions reduction potential from non-                                     run all year (e.g., 8,760 hours/year) or                                     optimization of existing SCRs/SNCRs,
                                                EGU emissions units in several                                              only during the ozone season.                                                combustion control upgrades,
                                                industries. The EPA identified                                                The EPA notes that the non-EGU NOX                                         application of new post-combustion
                                                emissions units that were uncontrolled                                      mitigation strategy in this proposed rule                                    control (SCR and SNCR) retrofits at
                                                or that could be better controlled and                                      focuses on obtaining emissions                                               eligible units, and all estimated
                                                then applied control technologies to                                        reductions from non-EGU units that                                           emissions reductions from the Tier 1
                                                estimate emissions reductions and costs.                                    were quantitatively determined to have                                       industries and impactful boilers in the
                                                As noted previously, the cost estimates                                     the most significant impacts on air                                          Tier 2 industries. Table VI.D.1–3
                                                do not include monitoring,                                                  quality improvements at the downwind                                         summarizes the results of EPA’s Step 3
                                                recordkeeping, reporting, or testing                                        nonattainment and maintenance                                                evaluation of air quality improvements
                                                costs. Based on the available                                               receptors. However, the EPA requests                                         at these receptors using AQAT. In
                                                information, the EPA is proposing to                                        comment on the merits of requiring non-                                      summary, the collective application of
                                                require implementation of the non-EGU                                       EGU sources within the linked upwind                                         these mitigation measures and
                                                emissions reductions at Step 3 by the                                       states to meet specified technology-                                         emissions reductions continue to
                                                beginning of the 2026 ozone season. The                                     based control standards, such as the                                         deliver downwind air quality
                                                EPA discusses the basis for this                                            RACT SIP requirements outlined in CFR                                        improvements up until the most
                                                proposed compliance schedule in                                             part 51 for non-EGU sources located in                                       stringent thresholds identified. The
                                                Section VII.A.2 of this proposed rule.                                      OTR states.                                                                  health and climate benefits resulting
                                                  The EPA requests comment on certain                                                                                                                    from application of these measures (as
                                                estimates and assumptions in this                                           3. Combined EGU and Non-EGU                                                  described in the RIA) are estimated to
                                                proposal that may affect EPA’s                                              Assessment                                                                   exceed the costs, and the identified
                                                evaluation of the capital and annual                                          The EPA used the Ozone AQAT to                                             technologies reflect not only
                                                costs of several potential control                                          evaluate the combined impact of these                                        demonstrated best practices—but
                                                technologies. In particular, the EPA                                        selected stringency levels for both EGUs                                     widely adopted best practices in the
                                                requests comment on whether ultra-low                                       and non-EGUs on all receptors                                                case of EGU retrofits.

                                                 TABLE VI.D.3–1—CHANGE IN AIR QUALITY REDUCTIONS AT RECEPTORS IN 2026 FROM PROPOSED EGU AND NON-EGU
                                                                                        EMISSIONS REDUCTIONS a b c
                                                                                                                                                                                                                                Total PPB            Average PPB
                                                                                                                                                                                                Ozone season                  change across         change across
                                                                                                         Tier/technology                                                                          emissions                    all downwind          all downwind
                                                                                                                                                                                                 reductions                     receptors d            receptors
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                                                EGU (SCR/SNCR optimization + LNB upgrade) + Gen shifting ...........................................                                                          26,250                        1.53             0.07
                                                EGU SCR/SNCR Retrofit + Gen shifting ...............................................................................                                          63,883                        7.89             0.36
                                                Non-EGU (Tier 1) ..................................................................................................................                           41,153                        3.89             0.18
                                                Non-EGU (Tier 2) ..................................................................................................................                            6,033                        0.82             0.04

                                                      Total ................................................................................................................................   ..........................                  14.13             0.64
                                                   Table Notes:



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                                                   a As in prior rules, for the purpose of defining significant contribution at Step 3, the EPA evaluated air quality changes resulting from the appli-
                                                cation of the emissions reductions in only those states that are linked to each receptor as well as the state containing the receptor. By applying
                                                reductions to the state containing the receptor, the EPA ensures that it is accounting for the downwind state’s fair share. In addition, this method
                                                holds each upwind state responsible for its fair share of the downwind problems to which it is linked. Reductions made by other states in order to
                                                address air quality problems at other receptors do not increase or decrease this share. The air quality impacts on design values that reflect the
                                                emissions reductions in all linked states and the health and climate benefits from this proposal are discussed in Section IX of this proposed rule.
                                                   b The EPA notes that the design values reflected in Tables VI.D.1–1 and 2 correspond to the engineering analysis EGU emissions inventory
                                                used in AQAT to determine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone
                                                Transport Policy Analysis Proposed Rule TSD. Additionally, these emission reduction values vary slightly from the technology reduction esti-
                                                mates described in Section VI.C, as the values here reflect (1) the sum of the final identified stringency for each state (e.g., SCR retrofit potential
                                                is not assumed in Alabama, Delaware, and Tennessee), and (2) generation shifting reduction potential identified at each step.
                                                   c The total and average ppb results from non-EGUs emissions reductions shown here were generated using the Step 3 AQAT methodology
                                                consistent with that for EGUs (i.e., including reductions from the state containing the receptor and excluding states that are not explicitly linked to
                                                particular receptors). The values shown in Table VI.C.2–1 were prepared for the non-EGU screening assessment using a methodology where
                                                states within the program make emissions reductions for all receptors. States that contain receptors (i.e., Connecticut and Colorado) that are not
                                                linked to other receptors are not assumed to make reductions under that methodology.
                                                   d The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close prox-
                                                imity to one another) in this part of the Step 3 analysis. Section IX of this proposed rule provides a more complete picture of the air quality im-
                                                pacts of the proposed rule.


                                                4. Over-Control Analysis                                inevitable in tackling the problem of                  hence, the EPA finds no over-control in
                                                   The EPA applied its over-control test                interstate air pollution’’ and that                    the proposed level of stringency.
                                                to this same set of aggregated EGU and                  incidental over-control may be                            Based on the air quality baseline
                                                non-EGU data described in the previous                  unavoidable. Id. ‘‘Required to balance                 modeling for 2026, all receptors to
                                                section. As part of the air quality                     the possibilities of under-control and                 which Alabama, Delaware, and
                                                analysis using the Ozone AQAT, the                      over-control, EPA must have leeway in                  Tennessee are linked in 2023 are
                                                EPA evaluated potential over-control                    fulfilling its statutory mandate.’’ Id.205             projected to be in attainment in 2026.
                                                with respect to whether (1) the expected                   Consistent with these instructions                  Therefore, no additional emissions
                                                ozone improvements would be greater                     from the Supreme Court and the D.C.                    reductions are proposed for EGUs or
                                                than necessary to resolve the downwind                  Circuit, using the Ozone AQAT, the                     non-EGUs in those states beyond the
                                                ozone pollution problem (i.e., beyond                   EPA first evaluated whether reductions                 2023 level of stringency. For the
                                                what is necessary to resolve all                        resulting from the selected control                    remaining 23 states, the selected control
                                                nonattainment and maintenance                           stringencies for EGUs in 2023 and 2026                 stringency (at a representative cost per
                                                problems to which an upwind state is                                                                           ton threshold of $11,000 for EGUs and
                                                                                                        combined with the emissions reductions
                                                linked) or (2) the expected ozone                                                                              a marginal cost threshold of $7,500 for
                                                                                                        selected for non-EGUs in 2026 can be
                                                improvements would reduce the                                                                                  non-EGUs) beginning in 2026 includes
                                                                                                        anticipated to resolve any downwind
                                                upwind state’s ozone contributions                                                                             additional EGU controls and estimated
                                                                                                        nonattainment or maintenance problems
                                                below the screening threshold (i.e., 1                                                                         non-EGU emissions reductions for Tier
                                                                                                        (see the Ozone Policy Analysis
                                                percent of the 2015 ozone NAAQS).                                                                              1 and Tier 2 non-EGU industries. The
                                                                                                        Proposed Rule TSD for details on the                   EPA used the Ozone AQAT to evaluate
                                                   In EME Homer City, the Supreme
                                                                                                        construction and application of AQAT).                 the impact of this selected stringency
                                                Court held that the EPA cannot
                                                                                                        The control stringency selected for 2023               level (as well as other potential
                                                ‘‘require[ ] an upwind State to reduce
                                                                                                        (a representative cost threshold of                    stringency levels) on all receptors
                                                emissions by more than the amount
                                                                                                        $1,800 per ton for EGUs) includes                      remaining in the 2026 air quality
                                                necessary to achieve attainment in every
                                                                                                        emissions reductions commensurate                      modeling base case. This assessment
                                                downwind State to which it is linked.’’
                                                                                                        with optimization of existing SCRs and                 shows that the selected control
                                                572 U.S. at 521. On remand from the
                                                                                                        SNCRs and installation of state-of-the-                stringency level and emissions
                                                Supreme Court, the D.C. Circuit held
                                                that this means that the EPA might                      art combustion controls, which are                     reductions are estimated to change the
                                                overstep its authority ‘‘when those                     estimated to change the status of one                  status of three maintenance receptors to
                                                downwind locations would achieve                        maintenance receptor, shifting the Clark               attainment in 2026—Douglas County,
                                                attainment even if less stringent                       County, Nevada monitor to attainment                   Colorado; Brazoria County, Texas; and
                                                emissions limits were imposed on the                    in 2023. However, no other                             Kenosha County, Wisconsin. Based on
                                                upwind States linked to those                           nonattainment or maintenance problems                  these data, EPA proposes that at least 20
                                                locations.’’ EME Homer City II, 795 F.3d                would be resolved in 2023 with this                    of the 23 states continue to be linked to
                                                at 127. The D.C. Circuit qualified this                 level of stringency, and no state is                   nonattainment or maintenance receptors
                                                statement by noting that this ‘‘does not                linked solely to this receptor. Nor do                 after implementation of all identified
                                                mean that every such upwind state                       any states’ contribution levels drop                   Step 3 reductions, and hence, the EPA
                                                would then be entitled to less stringent                below the 1% of NAAQS threshold.                       finds no over-control in its
                                                emissions limits. Some of those upwind                  Thus, the EPA determined that none of                  determination of that level of stringency
                                                States may still be subject to the more                 the 26 linked states have all of their                 for those 20 states.
                                                stringent emissions limits so as not to                 linkages resolved at the proposed EGU                     For 2 of the 23 states, Arkansas and
                                                cause other downwind locations to                       level of control stringency in 2023, and               Mississippi, the last downwind receptor
                                                which those States are linked to fall into                                                                     to which these two states are linked (i.e.,
                                                                                                           205 Although the Court described over-control as
                                                nonattainment.’’ Id. at 14–15. As the                                                                          Brazoria County, Texas) is estimated to
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                                                                                                        going beyond what is needed to address
                                                Supreme Court explained, ‘‘while EPA                    ‘‘nonattainment’’ problems, the EPA interprets this
                                                                                                                                                               achieve attainment and maintenance
                                                has a statutory duty to avoid over-                     holding as not impacting its approach to defining      after full application of EGU reductions
                                                control, the Agency also has a statutory                and addressing both nonattainment and                  and Tier 1 non-EGU reductions. This
                                                obligation to avoid ‘under-control,’ i.e.,              maintenance receptors. In particular, the EPA          suggests application of the estimated
                                                                                                        continues to interpret the Good Neighbor provision
                                                to maximize achievement of attainment                   as requiring it to give independent effect to the
                                                                                                                                                               non-EGU emissions reductions from
                                                downwind.’’ 572 U.S. at 523. The Court                  ‘‘interfere with maintenance’’ prong. Accord           Tier 2 may constitute over-control for
                                                noted that ‘‘a degree of imprecision is                 Wisconsin, 938 F.3d at 325–27.                         these states. However, this downwind


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                                                receptor only resolves by a small margin                 Step 3 of the good neighbor framework,                even slight changes in analytics based
                                                after the application of all EGU and Tier                assessed for the selected control                     on comments or new information
                                                1 non-EGU emissions reductions. The                      stringencies for each state for each                  between proposal and final could result
                                                EPA anticipates that updates to                          period that downwind nonattainment                    in the Brazoria, Texas site remaining
                                                emissions inventories, emissions                         and maintenance problems persist (i.e.,               either a nonattainment or maintenance
                                                reduction potential from identified                      2023 and 2026). Specifically, the EPA                 receptor. Further, with respect to
                                                technologies, or the over-control test                   evaluated whether the selected control                Wyoming, its linkage only resolves
                                                methodology resulting from comments                      stringencies would reduce upwind                      based on an unenforceable assumption
                                                or other updated information could                       emissions to a level where the                        regarding a certain level of emissions
                                                possibly move this site back into                        contribution from any of the 26 linked                reduction in Colorado. The proposed
                                                nonattainment- or maintenance-receptor                   states in 2023 or 23 linked states in 2026            determination that the stringency of this
                                                status when the EPA conducts an over-                    would be below the 1 percent threshold.               proposal does not constitute over-
                                                control analysis prior to finalizing this                The EPA finds that for the mitigation                 control for any linked state is further
                                                proposal.                                                measures assumed in 2023 and in 2026,                 reinforced by EPA’s observation in
                                                   For 1 of the 23 states, Wyoming, the                  all states that contributed greater than or           Section IV.A.1 of this proposed rule
                                                EPA also notes a potential over-control                  equal to the 1 percent threshold in the               regarding the nature of ozone, and in
                                                finding under the methodological                         base case continued to contribute                     particular, that future ozone
                                                assumption where emissions reductions                    greater than or equal to 1 percent of the             concentrations and the formation of
                                                of commensurate stringency are                           NAAQS to at least one remaining                       ground level ozone, may be impacted by
                                                assumed in the downwind state of                         downwind nonattainment or                             climate change in future years.
                                                Colorado (which is not subject to this                   maintenance receptor for as long as that                 Under these circumstances, the EPA
                                                proposal). As demonstrated in the                        receptor remained in nonattainment or                 cannot conclude based on the current
                                                Ozone Transport Policy Analysis                          maintenance. In the case of Arkansas,                 record that any aspect of its selected
                                                Proposed Rule TSD, the last downwind                     Mississippi, and Wyoming, while their                 Step 3 level of control stringency
                                                receptor for Wyoming (i.e., Douglas                      linkages resolved based on a change in                constitutes unnecessary over-control for
                                                County, Colorado) is estimated to                        receptor status at Step 1 (as discussed               any of the 23 states found to be linked
                                                achieve attainment and maintenance                       above), their contribution to the relevant            in 2026. The EPA requests comment on
                                                after full application of EGU reductions.                monitoring sites remained above 1                     this proposed conclusion. The EPA
                                                This suggests application of estimated                   percent of the NAAQS, and thus, the                   requests comment on an alternative
                                                non-EGU emissions reductions from                        potential basis for an over-control                   conclusion that, if this same analysis
                                                Tier 1 and Tier 2 industries may                         finding with respect to these states is               were to persist for a final rule, it must
                                                constitute over-control for this state.                  not based on their contribution                       limit non-EGU reduction requirements
                                                However, when the assumption of                          dropping below 1 percent of the                       for Arkansas and Mississippi to only the
                                                commensurate downwind state                              NAAQS at those sites. For more                        Tier 1 industries, and for Wyoming to
                                                reductions in Colorado is removed from                   information about this assessment, refer              limit the stringency of the rule to only
                                                the methodology, the downwind                            to the Ozone Transport Policy Analysis                the EGU reduction strategies.
                                                receptor to which Wyoming is linked                      Proposed Rule TSD and the Ozone
                                                                                                         AQAT.                                                 VII. Implementation of Emissions
                                                does not resolve and there is no
                                                                                                            Based on these results, under no                   Reductions
                                                identified over-control estimated for
                                                Wyoming.206                                              scenario does EPA’s AQAT analysis for                 A. NOX Reduction Implementation
                                                   Next, the EPA evaluated the potential                 this proposal indicate that including all             Schedule
                                                for over-control with respect to the 1                   identified EGU reductions would
                                                                                                         constitute over-control. Rather, if these                This proposal, if finalized, will ensure
                                                percent of the NAAQS threshold                                                                                 that emissions reductions necessary to
                                                applied in this proposed rulemaking at                   results hold for a final rule, the potential
                                                                                                         over-control for Arkansas and                         eliminate significant contribution will
                                                   206 In this proposal, the EPA continues to assume,    Mississippi can be avoided by not                     be achieved as ‘‘as expeditiously as
                                                as it has in prior transport rules, that home-states     requiring Tier 2 non-EGU reductions,                  practicable’’ as required under CAA
                                                (that are not otherwise linked) will make similar        and over-control for Wyoming can be                   section 181(a). The EPA’s anticipated
                                                reductions as those assumed in this action for           avoided by not requiring any non-EGU                  timing will provide for all possible
                                                purposes of local attainment. While the EPA                                                                    emissions reductions to go into effect
                                                continues to view this to be an equitable means of
                                                                                                         reductions.
                                                assessing air quality improvement from good                 Nonetheless, while acknowledging                   beginning in the 2023 ozone season,
                                                neighbor actions, because the downwind receptor          these preliminary analytic results, the               which is aligned with the next
                                                state is assumed to do its ‘‘fair share,’’ the EPA       EPA is proposing that all of the selected             upcoming attainment date of August 3,
                                                recognizes that recent case law has called the need      EGU and non-EGU NOX reduction                         2024, for areas classified as Moderate
                                                for such an assumption into question, and thus
                                                using this assumption as a basis for finding over-       strategies selected in EPA’s Step 3                   nonattainment under the 2015 ozone
                                                control may be inappropriate. In Maryland, the EPA       analysis be applied to all linked states              standard. Additional emissions
                                                had argued that good neighbor obligations should         in 2026—including to Arkansas,                        reductions that the EPA finds not
                                                not be required by the Marginal area attainment          Mississippi, and Wyoming—to                           possible to implement by that
                                                deadline in part because ‘‘marginal nonattainment
                                                areas often achieve the NAAQS without further            eliminate significant contribution to                 attainment date are proposed to take
                                                downwind reductions, so it would be unreasonable         nonattainment and interference with                   effect as expeditiously as practicable,
                                                to impose reductions on upwind sources based on          maintenance of the 2015 ozone NAAQS.                  with the full suite of emissions
                                                the next marginal attainment deadline.’’ 958 F.3d                                                              reductions taking effect by the 2026
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                                                                                                         The Supreme Court has directed the
                                                1185, 1204. The D.C. Circuit rejected that argument,
                                                noting regulatory consequences for the downwind
                                                                                                         EPA to avoid both over-control and                    ozone season, which is aligned with the
                                                state for failure to attain even at the Marginal date,   under-control in addressing good                      August 3, 2027, attainment date for
                                                and, citing Wisconsin, the court held that upwind        neighbor obligations. In addition, the                areas classified as Serious
                                                sources violate the good neighbor provision if they      D.C. Circuit has reinforced that over-                nonattainment under the 2015 ozone
                                                significantly contribute even at the Marginal area
                                                attainment date. Id. Thus, the EPA examines over-
                                                                                                         control must be established based on                  NAAQS. This schedule of emissions
                                                control in this proposal with and without this           particularized, record evidence on an                 reductions meets the requirement in the
                                                assumption of home-state emission reductions.            as-applied basis. As noted previously,                Good Neighbor Provision that it must be


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                                                implemented ‘‘consistent with the                       prohibited transport by downwind                       sources that may need more time than
                                                provisions of [title I of the CAA.]’’ CAA               attainment deadlines, ‘‘under particular               what is representative of the fleet
                                                section 110(a)(2)(D)(i). Finally, the                   circumstances and upon a sufficient                    average to implement these mitigation
                                                timing of this proposed rulemaking is                   showing of necessity,’’ but concluded                  strategies while providing an economic
                                                designed to achieve reductions as                       that ‘‘[a]ny such deviation would need                 incentive to outperform rate and timing
                                                expeditiously as practicable while                      to be rooted in Title I’s framework’’ and              assumptions for those sources that can
                                                adhering to the procedural requirements                 would need to ‘‘provide a sufficient                   do so. In effect, this trading program
                                                of CAA section 110. The EPA proposes                    level of protection to downwind                        implementation operationalizes the
                                                this rule to constitute a full remedy for               States.’’ 211                                          mitigation measures as state-wide
                                                interstate transport for the 2015 ozone                                                                        assumptions for the EGU fleet rather
                                                NAAQS for the states covered by this                    1. 2023–2025: EGU NOX Reductions                       than unit-specific assumptions.
                                                proposal; the EPA does not anticipate                   Beginning in 2023                                         However, starting in 2024, as
                                                further rulemaking to address good                         The near-term EGU control                           described in Section VII.B.7 of this
                                                neighbor obligations will be required for               stringencies and corresponding                         proposed rule, unit-specific daily
                                                these states with the finalization of this              reductions in this proposed rulemaking                 emissions rate limits are applied to coal
                                                rule.                                                   cover the 2023, 2024, and 2025 ozone                   units with existing SCR at a level
                                                   EPA’s proposed determinations                        seasons. This is the period in which                   consistent with operating that control.
                                                regarding the timing of this proposed                   some reductions will be available, but                 The EPA believes that implementing
                                                rule are informed by and in compliance                  the large portion of full remedy                       these emissions reductions at the state
                                                with several recent court decisions. The                reductions—mainly those reductions                     level starting in 2023 (through state
                                                D.C. Circuit has reiterated several times               that are driven by post combustion                     emissions budgets) while imposing the
                                                since 2008 that, under the terms of the                 control installation—identified in                     unit-specific emissions rate limits in
                                                Good Neighbor Provision, upwind states                  Sections VI.B through VI.D of this                     2024 achieves the necessary
                                                must eliminate their significant                        proposed rule are not yet available. The               environmental performance as soon as
                                                contributions to downwind areas                         EGU NOX mitigation strategies available                possible while accommodating any
                                                ‘‘consistent with the provisions of [title              during these initial 3 years are the                   heterogeneity in unit-level
                                                I of the Act],’’ including those                        optimization of existing post-                         implementation schedules regarding
                                                provisions setting attainment deadlines                 combustion controls (SCRs and SNCRs)                   daily operation of optimized SCRs.
                                                for downwind areas.207 In North                         and combustion control upgrades. As                       Additionally, as in prior rules, the
                                                Carolina, the D.C. Circuit found the                    described in Sections VI.B through VI.D                EPA assumes combustion control
                                                2015 compliance deadline that the EPA                   of this proposed rule and in                           upgrade implementation may take up to
                                                had established in CAIR unlawful in                     accompanying TSDs, these mitigation                    6 months. In the Revised CSAPR
                                                light of the downwind nonattainment                     measures can be implemented in under                   Update, covering 12 of the 25 states for
                                                areas’ 2010 deadline for attaining the                  two months in the case of existing                     which emissions reduction
                                                1997 NAAQS for ozone and PM2.5.208                      control optimization and in 6 months in                requirements for EGUs are established
                                                Similarly, in Wisconsin, the Court found                the case of combustion control                         under this proposed action, the EPA
                                                the CSAPR Update unlawful to the                        upgrades.                                              finalized the rule in March of 2021 and
                                                extent it allowed upwind states to                         As described in Section VI.B of this                thus did not require these combustion
                                                continue their significant contributions                proposed rule and in the identified                    control-based emissions reductions in
                                                to downwind air quality problems                        TSDs, these timing assumptions account                 ozone-season state emissions budgets
                                                beyond the downwind states’ statutory                   for planning, procurement, and any                     until 2022 (year two of that program).212
                                                deadlines for attaining the 2008 ozone                  physical or structural modification                    The EPA is applying the same timing
                                                NAAQS.209 More recently, in Maryland,                                                                          assumption regarding combustion
                                                                                                        necessary. The EPA provides significant
                                                the Court found the EPA’s selection of                                                                         control upgrades for this proposed
                                                                                                        historical data, including the
                                                a 2023 analysis year in evaluating state                                                                       rulemaking given the expected similar
                                                                                                        implementation of the most recent
                                                petitions submitted under CAA section                                                                          window between an anticipated final
                                                                                                        Revised CSAPR Update, as well as
                                                126 unlawful in light of the downwind                                                                          action date and the start of the year one
                                                                                                        engineering studies and input factor
                                                Marginal nonattainment areas’ 2021                                                                             ozone season. The EPA is not assuming
                                                                                                        analysis documenting the feasibility of
                                                deadline for attaining the 2015 ozone                                                                          the implementation of any additional
                                                                                                        these timing assumptions. However,
                                                NAAQS.210 The Court noted in                                                                                   combustion control upgrades in state
                                                                                                        these timing assumptions are
                                                Wisconsin that the statutory command—                                                                          emissions budgets until 2024. Therefore,
                                                                                                        representative of fleet averages, and the
                                                that compliance with the Good                                                                                  those 13 states covered in this action for
                                                                                                        EPA has noted that some units will                     EGU emissions reductions that were not
                                                Neighbor Provision must be achieved in                  likely overperform their installation
                                                a manner ‘‘consistent with’’ title I of the                                                                    covered in the Revised CSAPR Rule
                                                                                                        timing assumptions, while others may                   have 2023 emissions budgets that only
                                                CAA—may be read to allow for some                       have unit configuration or operational
                                                deviation from the mandate to eliminate                                                                        reflect optimization of existing controls.
                                                                                                        considerations that result in their                    Any identified combustion control
                                                   207 North Carolina v. EPA, 531 F.3d 896 (D.C. Cir.
                                                                                                        underperforming these timing                           upgrade emissions reductions are
                                                2008), Wisconsin v. EPA, 938 F.3d 303 (D.C. Cir.
                                                                                                        assumptions. As in prior interstate                    reflected beginning in the 2024 ozone-
                                                2019), and Maryland v. EPA, 958 F.3d 1185 (D.C.         transport rules, the EPA is                            season budgets for these states. For the
                                                Cir. 2020).                                             implementing these EGU reductions                      12 states covered under the Revised
                                                   208 North Carolina, 531 F.3d at 911–913.
                                                                                                        through a trading program approach.
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                                                   209 Wisconsin, 938 F. 3d at 303, 3018–20.
                                                                                                                                                               CSAPR Update, any identified
                                                                                                        The trading program’s option to buy                    emissions reduction potential from
                                                   210 Maryland, 958 F.3d at 1203–1204. Similarly,
                                                                                                        additional allowances provides                         combustion control upgrade was
                                                in New York v. EPA, 964 F.3d 1214 (D.C. Cir. 2020),
                                                the Court found the EPA’s selection of a 2023           flexibility in the program for outlier                 included and reflected in those state
                                                analysis year in evaluating New York’s section 126                                                             budgets beginning in 2022 under the
                                                petition unlawful in light of the New York                 211 Wisconsin, 938 F. 3d at 320 (citing CAA

                                                Metropolitan Area’s 2021 Serious area deadline for      section 181(a) (allowing one-year extension of         Revised CSAPR Update. Therefore, the
                                                attaining the 2008 ozone NAAQS. 964 F.3d at 1226        attainment deadlines in particular circumstances)
                                                (citing Wisconsin and Maryland).                        and North Carolina, 531 F.3d at 912).                   212 86 FR 23093.




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                                                EPA is assuming that this combustion                     and achievable. A 3-year period for                      implementation of RACT SIP revisions
                                                control upgrade potential is available, if               installation of post-combustion control                  as expeditiously as practicable but no
                                                not already realized, by the first year of               technologies is consistent with the                      later than January 1 of the fifth year after
                                                this action (i.e., 2023) in this proposed                statutory timeframe for implementation                   the effective date of designation, which
                                                rule.                                                    of the controls required to address                      is less than 3 years after the deadline for
                                                                                                         interstate pollution under section                       submitting RACT SIP revisions.216 For
                                                2. 2026 and Later Years: EGU and Non-
                                                                                                         110(a)(2)(D) and 126 of the Act, the                     areas initially designated nonattainment
                                                EGU NOX Reductions Beginning in 2026
                                                                                                         statutory timeframes for implementation                  with a Moderate or higher classification
                                                   In accordance with the good neighbor                  of RACT in ozone nonattainment areas                     effective August 3, 2018 (83 FR 25776),
                                                provision and the downwind attainment                    classified as Moderate or above, and                     that implementation deadline falls on
                                                schedule under CAA section 181 for the                   other statutory provisions that establish                January 1, 2023, approximately 29
                                                2015 ozone NAAQS, the EPA is                             control requirements for existing                        months after the August 3, 2020
                                                proposing to align its analysis and                      stationary sources of pollution.                         submission deadline.217 Moderate ozone
                                                implementation of the emissions                             For example, section 126 of the CAA                   nonattainment areas must also
                                                reductions addressing significant                        authorizes a downwind state or tribe to                  implement all reasonably available
                                                contribution from EGU and non-EGU                        petition the EPA for a finding that                      control measures (including RACT)
                                                sources that require relatively longer                   emissions from ‘‘any major source or                     needed for expeditious attainment
                                                lead time at a sectoral scale with the                   group of stationary sources’’ in an                      within three years after the statutory
                                                2026 ozone season, which is the last full                upwind state contribute significantly to                 deadline for states to submit these
                                                ozone season preceding the August 3,                     nonattainment in, or interfere with                      measures to the EPA as part of a
                                                2027, Serious area attainment date for                   maintenance by, the downwind state. If                   Moderate area attainment
                                                the 2015 ozone NAAQS.213 The EPA                         the EPA makes a finding that a major                     demonstration.218
                                                proposes to find that this compliance                    source or a group of stationary sources                     The EPA notes that the types and
                                                deadline is the most expeditious date                    emits or would emit pollutants in                        sizes of the EGU and non-EGU sources
                                                practicable and would achieve the                        violation of the relevant prohibition in                 that the EPA proposes to include in this
                                                required emissions reductions prior to                   CAA section 110(a)(2)(D), the source(s)                  proposed rule, as well as the types of
                                                the next applicable attainment date by                   must shut down within 3 months from                      emissions control technologies on
                                                which such reductions are, in fact,                      the finding unless the EPA directly                      which the EPA proposes to base the
                                                possible. The EPA proposes to find that                  regulates the source(s) by establishing
                                                it is not possible to require                            emissions limitations and a compliance                      216 40 CFR 51.1312(a)(2)(i) (requiring submission

                                                implementation of all necessary                          schedule extending no later than three                   of RACT SIP revisions no later than 24 months after
                                                emissions controls across all of the                                                                              the effective date of designation) and
                                                                                                         years from the date of the finding, to                   51.1312(a)(3)(i) (requiring implementation of RACT
                                                affected EGU and non-EGU sources by                      eliminate the prohibited interstate                      SIP revisions as expeditiously as practicable, but no
                                                the August 3, 2024, Moderate area                        transport of pollutants as expeditiously                 later than January 1 of the fifth year after the
                                                attainment date.                                         as practicable.214 Thus, in the provision                effective date of designation). For reclassified areas,
                                                   Thus, the EPA is proposing to require                                                                          states must implement RACT SIP revisions as
                                                                                                         that allows for direct federal regulation                expeditiously as practicable, but no later than the
                                                compliance with the control                              of sources violating the good neighbor                   start of the attainment year ozone season associated
                                                requirements for all non-EGUs and the                    provision, Congress established 3 years                  with the area’s new attainment deadline, or January
                                                EGU reductions related to post-                          as the maximum amount of time                            1 of the third year after the associated SIP revision
                                                combustion control retrofit identified in                                                                         submittal deadline, whichever is earlier; or the
                                                                                                         available from a final action to when                    deadline established by the Administrator in the
                                                this section no later than the 2026 ozone
                                                                                                         emissions reductions need to be                          final action issuing the area reclassification. 40 CFR
                                                season (May through September). If                                                                                51.1312(a)(3)(ii); see also 83 FR 62989, 63012–
                                                                                                         achieved at the relevant source or group
                                                finalized in early 2023, the final rule                                                                           63014.
                                                                                                         of sources.
                                                would provide more than three years for                     Additionally, for ozone
                                                                                                                                                                     217 40 CFR 51.1312(a)(2)(i) (requiring submission

                                                EGU and non-EGU sources to install                                                                                of RACT SIP revisions no later than 24 months after
                                                                                                         nonattainment areas classified as                        the effective date of designation).
                                                whatever controls they deem suitable to                  Moderate or higher, the CAA requires                        218 See, e.g., 40 CFR 51.1108(d) (requiring
                                                comply with required emissions                           states to implement RACT requirements                    implementation of all control measures (including
                                                reductions by the 2026 ozone season. In                  less than three years after the statutory                RACT) needed for expeditious attainment no later
                                                addition, the publication of this                        deadline for submitting these measures
                                                                                                                                                                  than the beginning of the attainment year ozone
                                                proposal provides roughly an additional                                                                           season, which, for a Moderate nonattainment area,
                                                                                                         to the EPA.215 Specifically, for these                   occurs less than 3 years after the deadline for
                                                year of notice to these source owners                    areas, CAA sections 182(b)(2) and 182(f)                 submission of reasonably available control
                                                and operators that they should begin                     require that states implement RACT for                   measures under 40 CFR 51.1112(c) and 51.1108(a))
                                                engineering and financial planning now                   existing VOC and NOX sources as
                                                                                                                                                                  and 40 CFR 51.1308(d) (requiring implementation
                                                to be prepared to meet this                                                                                       of all control measures (including RACT) needed
                                                                                                         expeditiously as practicable but no later                for expeditious attainment no later than the
                                                implementation timetable.                                than May 31, 1995, approximately 30                      beginning of the attainment year ozone season,
                                                   The EPA views this timeframe for                                                                               which, for a Moderate nonattainment area, occurs
                                                                                                         months after the November 15, 1992,
                                                retrofitting post-combustion NOX                                                                                  less than three years after the deadline for
                                                                                                         deadline for submitting RACT SIP                         submission of reasonably available control
                                                emissions controls and other non-EGU
                                                                                                         revisions. For purposes of the 2015                      measures under 40 CFR 51.1312(c) and 51.1308(a)).
                                                controls to be presumptively reasonable                                                                           Because the attainment demonstration for a
                                                                                                         ozone NAAQS, the EPA has interpreted
                                                                                                                                                                  Moderate nonattainment area (including RACT
                                                   213 For each nonattainment area classified under
                                                                                                         these provisions to require                              needed for expeditious attainment) is due three
                                                CAA section 181(a) for the 2015 ozone NAAQS, the                                                                  years after the effective date of the area’s
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                                                                                                           214 CAA 110(a)(2)(D)(i) and 126(c).
                                                attainment date is ‘‘as expeditiously as practicable’’                                                            designation (40 CFR 51.1308(a) and 51.1312(c)), and
                                                but not later than the date provided in table 1 to          215 See, e.g., 40 CFR 51.1112(a)(3) and               all Moderate nonattainment areas must attain the
                                                40 CFR 51.1303(a). Thus, for areas initially             51.1312(a)(3)(i) (requiring implementation of RACT       NAAQS as expeditiously as practicable but no later
                                                designated nonattainment effective August 3, 2018        required pursuant to initial nonattainment area          than 6 years after the effective date of the area’s
                                                (83 FR 25776), the latest permissible attainment         designations no later than January 1 of the fifth year   designation (40 CFR 51.1303(a)), the beginning of
                                                dates are: August 3, 2021 (for Marginal areas),          after the effective date of designation, which is less   the ‘‘attainment year ozone season’’ (as defined in
                                                August 3, 2024 (for Moderate areas), August 3, 2027      than 3 years after the submission deadline under 40      40 CFR 51.1300(g)) for such an area is less than
                                                (for Serious areas), and August 3, 2033 (for Severe      CFR 51.1112(a)(2)) and 51.1312(a)(2)(i),                 three years after the due date for the attainment
                                                areas).                                                  respectively).                                           demonstration.



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                                                emissions limitations that would take                   by the Marginal area attainment date in                 only ‘‘under particular circumstances
                                                effect for the 2026 ozone season,                       2021,221 many states are substantially                  and upon a sufficient showing of
                                                generally are intended to be consistent                 delayed in implementing their good                      necessity,’’ e.g., when compliance with
                                                with the scope and stringency of RACT                   neighbor obligations for these NAAQS,                   the statutory mandate amounts to an
                                                requirements for existing major sources                 and the sources proposed for NOX                        impossibility.224
                                                of NOX in downwind Moderate                             emissions control in this rule have                        For the reasons provided below in
                                                nonattainment areas and some upwind                     continued to operate for several years                  this section, the EPA is proposing to
                                                areas, which many states have already                   without the controls necessary to                       find that installation of certain EGU
                                                implemented in their SIPs.219 Thus, the                 eliminate their significant contribution                controls and all non-EGU controls is not
                                                timing Congress allotted for sources in                 to ongoing and persistent ozone                         possible by the Moderate area
                                                downwind states to come into                            nonattainment and maintenance                           attainment date for the 2015 ozone
                                                compliance with RACT requirements                       problems in other states. Under these                   NAAQS (i.e., August 3, 2024),225 and
                                                bears directly on the amount of time                    circumstances, we find it more than                     that the 2026 ozone season, which
                                                that should be allotted here and                        reasonable to require compliance with                   corresponds to the August 3, 2027,
                                                indicates, as does CAA section 126, that                the control requirements for all non-                   Serious area attainment date for these
                                                3 years is an outer limit on the time that              EGUs and the EGU reductions related to                  NAAQS, is the earliest downwind
                                                should be given sources to come into                    post-combustion control retrofit                        attainment date by which the required
                                                compliance.                                             identified in Section VI.B.1.b of this                  emissions reductions from these
                                                   Finally, with respect to emissions                   proposed rule by the beginning of the                   strategies are possible.
                                                standards for hazardous air pollutants,                 2026 ozone season (i.e., by May 1,
                                                section 112(i)(3) of the CAA requires the                                                                       a. EGU Schedule for 2026 and Later
                                                                                                        2026). May 1, 2026, is more than 3 years
                                                EPA to establish compliance dates for                                                                           Years
                                                                                                        after the date by which the EPA
                                                each category or subcategory of existing                currently anticipates promulgating a                       As discussed in Sections VI.B through
                                                sources subject to an emissions standard                final FIP for the covered states, more                  VI.D of this proposed rule, significant
                                                that ‘‘provide for compliance as                        than three years after the January 1,                   emissions reduction potential exists and
                                                expeditiously as practicable, but in no                 2023, deadline for implementation of                    is included in EPA’s quantification of
                                                event later than 3 years after the                      section 182 RACT SIP provisions in                      significant contribution based on the
                                                effective date of such standard,’’ with                 areas classified as Moderate or higher,                 potential to install post-combustion
                                                limited exceptions.220 Here again, where                and almost 8 years after the October 1,                 controls (SCR and SNCRs) at EGUs.
                                                Congress was concerned with                             2018, deadline for submission of good                   However, as discussed in detail in those
                                                addressing emissions of pollutants that                 neighbor SIPs that prohibit significant                 sections, the assumption for installation
                                                impact public health, a 3-year time                     contribution to nonattainment or                        of this technology on a region-wide
                                                period was allotted as the time needed                  interference with maintenance in                        scale is 36 months in this proposed rule.
                                                for existing sources to come into                       downwind states.222                                     This amount of time allows for all
                                                compliance.                                                As the D.C. Circuit noted in                         necessary procurement, permitting, and
                                                   All of these statutory timeframes for                Wisconsin, the good neighbor provision                  installation milestones across multiple
                                                implementation of new control                           requires upwind states to ‘‘eliminate                   units in the covered region. Therefore,
                                                requirements on existing stationary                     their substantial contributions to                      the EPA proposes to find that these
                                                sources indicate that Congress                          downwind nonattainment in concert                       emissions reductions are not available
                                                considered 3 years to be not only a                     with the attainment deadlines’’ in the                  any earlier than the 2026 compliance
                                                sufficient amount of time but a                         downwind states, even where those                       period. For each year in 2026 and
                                                maximum amount of time allowable for                    attainment deadlines occur before EPA’s                 beyond, state emissions budgets include
                                                existing stationary sources to install                  statutory deadline to promulgate a                      reductions commensurate with these
                                                pollution controls as necessary for                     FIP.223 Referencing the Supreme Court’s                 post-combustion control technologies
                                                expeditious attainment, to eliminate                    description of the attainment deadlines                 identified for covered units in Step 3.
                                                prohibited interstate transport of                      as ‘‘the heart’’ of the CAA, the                        The EPA notes that similar compliance
                                                pollutants, and to protect public health.               Wisconsin court noted that some                         schedules and post-combustion control
                                                   Further, the EPA notes that, given the               deviation from the mandate to eliminate                 retrofit installations have been realized
                                                number of years that have passed since                  prohibited transport by downwind                        successfully in prior programs allowing
                                                EPA’s promulgation of the 2015 ozone                    attainment deadlines may be allowed                     similar timeframes. Subsequent to the
                                                NAAQS and related nonattainment area                                                                            NOX SIP Call and the parallel Finding
                                                designations in 2018, and in light of the                  221 958 F.3d at 1203–1204 (remanding the EPA
                                                                                                                                                                of Significant Contribution and
                                                Maryland court’s holding that good                      denial of section 126 petition based on the EPA
                                                                                                                                                                Rulemaking on Section 126 Petitions
                                                neighbor obligations for the 2015 ozone                 analysis of downwind air quality in 2023 rather
                                                                                                        than 2021, the year containing the Marginal area        (which became effective December 28,
                                                NAAQS should have been implemented                      attainment date).                                       1998, and February 17, 2000,
                                                                                                           222 CAA sections 110(a)(1) and 110(a)(2)(D)(i)
                                                  219 See the Non-EGU Sectors TSD for a discussion
                                                                                                                                                                respectively 226), nearly 19 GW of SCR
                                                                                                        (requiring states to submit, within 3 years after
                                                of SIP-approved RACT rules in effect in downwind        EPA’s promulgation of a new or revised NAAQS,
                                                                                                                                                                  224 Id. at 316 and 319–320 (noting that any such
                                                states.                                                 SIP provisions adequate to satisfy the Good
                                                  220 CAA section 112(i)(3)(B) generally authorizes     Neighbor Provision). As the Supreme Court noted         deviation must be ‘‘rooted in Title I’s framework’’
                                                the EPA to grant an extension of up to 1 additional     in EME Homer City I, ‘‘nothing in the statute places    and ‘‘provide a sufficient level of protection to
                                                year for an existing source to comply with              EPA under an obligation to provide specific metrics     downwind States’’).
                                                                                                                                                                  225 Compliance by the August 3, 2021, Marginal
                                                emissions standards ‘‘if such additional period is      to States before they undertake to fulfill their good
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                                                necessary for the installation of controls,’’ and       neighbor obligations.’’ 572 U.S. 489, 510.              area attainment date is also impossible as that date
                                                sections 112(i)(4) through (8) provide for limited         223 938 F.3d at 317–318. For example, the court      has passed.
                                                extensions granted by the President where certain       observed that the EPA may shorten the deadline for        226 See 63 FR 57356 (October 27, 1998); 65 FR

                                                conditions are met, for existing sources that have      SIP submissions under CAA section 110(a)(1) and         2674 (January 18, 2000). The D.C. Circuit stayed the
                                                installed the best available control technology         may issue FIPs soon thereafter under CAA section        NOX SIP Call by an order issued May 25, 1999.
                                                (BACT) or technology required to meet a lowest          110(c)(1), to align the upwind states’ deadline for     After upholding the rule in most respects in
                                                achievable emissions rate (LAER), and for new           satisfying good neighbor obligations with the           Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000), the
                                                sources for which construction or reconstruction is     downwind states’ deadline for attaining the             court lifted the stay by an order issued June 22,
                                                commenced by certain dates.                             NAAQS. Id. at 318.                                      2000.



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                                                retrofit came online in 2002 and another                account necessary scale-up of                          design, installation, and testing, and
                                                42 GW of SCR retrofit came online for                   construction services for multiple                     obtaining an operating permit, the EPA
                                                steam boilers in 2003, illustrating that a              control installations at several emissions             found that (a) about 21 months would
                                                considerable volume of SCR retrofit                     units, the time needed to have NOX                     be needed to implement an SCR retrofit
                                                capacity is possible in a 36 month                      monitoring installed and operating, and                on a single unit and (b) about 19 months
                                                period.                                                 other necessary steps in the permitting                would be needed to implement an
                                                  However, the EPA is not proposing to                  and construction processes (e.g., review               SNCR retrofit on a single unit.233 The
                                                apply daily emissions rates on coal-fired               of vendor bids), the EPA estimates an                  EPA also examined several particularly
                                                steam EGUs assumed to retrofit SCR                      additional period of 6 to 18 months may                complicated implementation efforts and
                                                until 2027 (as described in Section                     be necessary for existing non-EGU                      found that 34 months would be needed
                                                VII.B.1.c.i of this proposed rule). The                 sources to install the necessary controls,             for a plant to install a maximum of 6
                                                EPA believes that implementing these                    depending on the number of control                     SCRs while 24 months would be needed
                                                emissions reductions at the state level                 installations at a facility.229                        for a plant to install a maximum of 10
                                                starting in 2026 (through state emissions                  Additionally, the EPA previously                    SNCRs.234 Finally, the EPA found that
                                                budgets) while imposing the unit-                       considered the installation timing needs               the necessary controls could be installed
                                                specific emissions rate limits in 2027                  for NOX controls (including SCR, SNCR,                 on EGUs without any disruptions in the
                                                achieves the necessary environmental                    and combustion controls) at both EGU                   supply of electricity because
                                                performance as soon as possible while                   and non-EGU sources as part of the 1998                connections between a NOX control
                                                accommodating any heterogeneity in                      NOX SIP Call.230 With respect to                       system and a boiler can generally be
                                                unit-level implementation schedules                     combustion controls (e.g., low-NOX                     completed in 5 weeks or less and thus
                                                regarding installation of new SCR.227                   burners, overfire air, etc.), the EPA                  could occur during the 5-week planned
                                                                                                        found that sources should be able to                   outage that each EGU typically has each
                                                b. Non-EGU Schedule for 2026 and                        complete control technology                            year.235
                                                Later Years                                             installations and obtain relevant permits
                                                                                                                                                                  Thus, for both EGUs and non-EGUs,
                                                   For the suite of non-EGU controls on                 in relatively short timeframes given
                                                                                                                                                               EPA’s technical analysis for the 1998
                                                which the EPA has based its Step 3                      considerable experience at that time
                                                                                                                                                               NOX SIP Call indicated that a 3-year
                                                findings as described in Section VI of                  among sources and permitting agencies
                                                                                                                                                               period would be sufficient for
                                                this proposed rule, the EPA proposes to                 with the implementation of such
                                                                                                                                                               installation of both combustion and
                                                require that these controls be installed                controls, the fact that combustion
                                                                                                        controls are constructed of commonly                   post-combustion controls, from the
                                                and operational by the 2026 ozone                                                                              planning and specification of controls to
                                                season and to find that any earlier date                available materials (steel, piping, etc.)
                                                                                                        and do not require reagent during                      completion of control technology
                                                is not possible. The EPA previously                                                                            implementation.236 EPA’s evaluation of
                                                examined the time necessary to install                  operation, and the then availability of
                                                                                                        many vendors of combustion control                     the timeframes for post-combustion
                                                the controls identified for several non-                                                                       controls was based on the Agency’s
                                                EGU industries. Although the                            technology.231
                                                                                                           With respect to post-combustion                     projection that 639 retrofit installations
                                                information on installation times for                                                                          at EGU sources and 235 retrofit
                                                most NOX controls applied to glass and                  controls (primarily SCR and SNCR), the
                                                                                                        EPA considered three basic factors in                  installations at non-EGU industrial
                                                cement manufacturing was uncertain,                                                                            sources would be necessary for existing
                                                the EPA identified minimum estimated                    assessing installation timing needs: (1)
                                                                                                        Availability of materials and labor, (2)               sources in the covered states to comply
                                                installation times for a number of other                                                                       with the NOX SIP Call.237 Although the
                                                non-EGU source categories that ranged                   the time needed to implement controls
                                                                                                        at plants with single or multiple retrofit             scope of types of non-EGU sources
                                                from several weeks to slightly over a                                                                          covered by this proposed FIP is broader,
                                                year. This included timeframes of 42–51                 requirements, and (3) the potential for
                                                                                                        interruptions in power supply resulting                and the estimated number of emissions
                                                weeks for SNCR applied to dry cement                                                                           units is greater (potentially including as
                                                manufacturing facilities and cement                     from outages needed to complete
                                                                                                        installations on EGUs.232 Assuming                     many as 490 emissions units), than the
                                                kilns/dryers burning bituminous coal,                                                                          scope and number of non-EGU sources
                                                28–58 weeks for SCR applied to boilers                  adequate supplies of both off-the-shelf
                                                                                                        hardware (such as steel, piping, nozzles,              evaluated in the 1998 NOX SIP Call, and
                                                and process heaters, 28–58 weeks for                                                                           although a later analysis of timeframes
                                                SCR applied to iron and steel in-process                pumps, and related equipment) and the
                                                                                                        catalyst used in the SCR process, as well              for installation of post-combustion
                                                combustion, and 6–8 months for low                                                                             controls at EGUs produced a more
                                                NOX burners and flue gas recirculation                  as sufficient vendor capacity to supply
                                                                                                        retrofit SCR catalyst to sources, and                  refined estimate for that sector only,238
                                                at iron and steel mills.228 Taking into                                                                        EPA’s prior analyses nonetheless inform
                                                                                                        taking into account the additional time
                                                  227 However, as discussed in Section VII.B.1.c.i of   needed for facility engineering review,                the evaluation in this proposal of the
                                                this proposed rule, EPA’s determinations in this        developing control technology                          necessary implementation schedule for
                                                regard are not based on a finding that the retrofit     specifications, awarding a procurement                 non-EGU sources given they generally
                                                of post-combustion controls would not be feasible       contract, obtaining a construction                     address NOX control technologies
                                                in the 2026 ozone season for all relevant units. The                                                           similar to those that the EPA anticipates
                                                EPA finds that such retrofits are available and
                                                                                                        permit, completing control technology
                                                feasible on a fleetwide scale starting in the 2026                                                             non-EGU sources may install to comply
                                                ozone season.                                           Controlling NOX Emissions,’’ at 5 (noting that         with the provisions of the proposed FIP
                                                  228 Final Technical Support Document (TSD) for        ‘‘SNCR retrofits typically do not require extended
                                                the Final Cross-State Air Pollution Rule for the 2008   source shutdowns’’).
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                                                                                                                                                                 233 Id.
                                                                                                           229 63 FR 57356, 57448 (October 27, 1998). EPA
                                                Ozone NAAQS, Assessment of Non-EGU NOX                                                                           234 Id.
                                                Emissions Controls, Cost of Controls, and Time for      generally anticipates that any required permitting
                                                                                                                                                                 235 Id.
                                                Compliance Final TSD (‘‘CSAPR Update Non-EGU            processes may run concurrent with other steps in
                                                TSD’’), August 2016 (Table 3), available at https://    the installation processes and thus may not              236 Id. at 57449.

                                                www.epa.gov/csapr/assessment-non-egu-NOX-               significantly lengthen the total time needed for         237 Id. at 57448 (Table V–1 and Table V–2).

                                                emission-controls-cost-controls-and-time-               installation.                                            238 See Final Report, ‘‘Engineering and Economic
                                                                                                           230 Id. at 57447–57449.
                                                compliance-final-tsd. See also Institute of Clean Air                                                          Factors Affecting the Installation of Control
                                                                                                           231 Id. at 57447, 57449.
                                                Companies, SNCR Committee, ‘‘White Paper,                                                                      Technologies for Multipollutant Strategies,’’ EPA–
                                                Selective Non-Catalytic Reduction (SNCR) For               232 Id. at 57448.                                   600/R–02/073 (October 2002).



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                                                (e.g., SCR, SNCR, low-NOX burners and                   kilns; ultra-low NOX burners, low NOX                  upwind states to eliminate their
                                                ultra-low NOX burners).                                 burners, and SCR on ICI boilers (coal-                 significant contribution in accordance
                                                   Additionally, as part of EPA’s                       fired, gas-fired, or oil-fired); low NOX               with the downwind states’ attainment
                                                evaluation of installation timing needs                 burners on large non-EGU ICI boilers;                  deadlines, without regard to questions
                                                in the proposed CAIR (69 FR 4566), the                  and low emissions combustion, layered                  of feasibility.242
                                                EPA projected that it would take on                     emissions combustion, NSCR, and SCR                       The EPA solicits comment on the
                                                average 21 months to install an SCR on                  on reciprocating rich-burn or lean-burn                specific criteria that the EPA should
                                                one EGU unit, 27 months to install a                    IC engines.                                            apply in evaluating requests for
                                                scrubber on one EGU unit, and 3 years                      With respect to emissions monitoring                extension of the 2026 compliance
                                                to install seven SCRs at a single EGU.239               requirements, EPA requests comment on                  deadline for non-EGU sources. Such
                                                The EPA also noted that some EGUs                       the costs of installing and operating                  criteria could include documentation of
                                                could install SCR controls in as short of               CEMS at non-EGU sources without NOX                    inability, despite best efforts, to procure
                                                a period as 13 months.240 This                          emissions monitors; the time needed to                 necessary materials or equipment (e.g.,
                                                information and EPA’s general                           program and install CEMS at non-EGU                    equipment manufacturers are not able to
                                                experience indicate that a two-year                     sources; whether monitoring techniques                 deliver equipment before a specific
                                                installation timeframe for a rule                       other than CEMS, such as predictive                    date) or hire labor as needed to install
                                                requiring installation of new control                   emissions monitoring systems (PEMS),                   the emissions control technology by
                                                technologies across a variety of                        may be sufficient for certain non-EGU                  2026; documentation of installation
                                                emissions sources in several industries                 facilities, and the types of non-EGU                   costs well in excess of the highest
                                                on a regional basis is a relatively fast                facilities for which such PEMS may be                  representative cost-per ton threshold
                                                installation timeframe, but that a 3-year               sufficient; and the costs of installing and            identified for any source (including
                                                installation timeframe should be                        operating monitoring techniques other                  EGUs) discussed in Section VI of this
                                                feasible for most if not all of the                     than CEMS.                                             proposed rule (e.g., vendor estimate
                                                identified industries. A shorter                           The EPA also requests comment on                    showing equipment cost);
                                                installation timeframe of approximately                 whether the FIP should provide a                       documentation of a source owner or
                                                one year would likely raise significant                 limited amount of time beyond the 2026                 operator’s inability to secure necessary
                                                challenges for sources, suppliers,                      ozone season for individual non-EGU                    financing, due to circumstances beyond
                                                contractors, and other economic actors,                 sources to meet the emissions                          the owner/operator’s control, in time to
                                                potentially including customers relying                 limitations and associated compliance                  complete the installation of controls by
                                                on the products or services supplied by                 requirements, based on a facility-                     2026; or documentation of extreme
                                                the regulated sources. Thus, if the EPA                 specific demonstration of necessity. As                financial or technological constraints
                                                finalizes this proposed rule in 2023,                   the D.C. Circuit stated in Wisconsin, the              that would require the subject non-EGU
                                                implementation of the necessary                         good neighbor provision may be read to                 emissions unit or facility to significantly
                                                emissions controls across all of the                    allow for some deviation from the                      curtail its operations or shut down
                                                affected non-EGU sources by the August                  mandate to eliminate prohibited                        before it could comply with the
                                                3, 2024, Moderate area attainment date                  transport by downwind attainment                       requirements of this proposed rule by
                                                would not be possible.                                  deadlines, ‘‘under particular                          2026. Finally, the EPA requests
                                                   For purposes of this proposed rule,                  circumstances and upon a sufficient                    comment on the process through which
                                                the EPA estimates that the required                     showing of necessity,’’ provided such                  the EPA should review and act on an
                                                controls for non-EGU source categories                  deviation is ‘‘rooted in Title I’s                     extension request—e.g., the appropriate
                                                would take up to 3 years to install                     framework [and] provide[s] a sufficient                deadline for submitting a request, and
                                                across the affected industries in the 23                level of protection to downwind                        whether the EPA should provide an
                                                states that remain linked in 2026.                      States.’’ 241 Consistent with this                     opportunity for public comment before
                                                Therefore, based on the available                       directive, and recognizing that in                     granting or denying a request.
                                                information, the EPA proposes to                        general, the EPA aligns good neighbor                     The EPA anticipates that the owner or
                                                require compliance with these non-EGU                   obligations in the first instance with the             operator of the facility would bear the
                                                control requirements by the beginning                   last full ozone season before the                      burden of establishing the necessity of
                                                of the 2026 ozone season.                               downwind attainment date, the EPA                      an extension of time to comply, based
                                                   The EPA requests comment on the                      requests comment on whether                            on particular circumstances described
                                                time needed to install the various                      individual non-EGU sources should be                   and sufficiently documented in the
                                                control technologies across all of the                  allowed to request an extension of the                 submitted request. Claims of generalized
                                                emissions units in the Tier 1 and Tier                  May 1, 2026, compliance deadline by no                 financial or economic hardship or any
                                                2 industries. In particular, the EPA                    more than 1 year (i.e., to May 1, 2027)                claim that controls are not necessary to
                                                solicits comment on the time needed to                  based on a sufficient showing of                       eliminate significant contribution would
                                                obtain permits (including the potential                 necessity. Any such comments should                      242 Wisconsin, 938 F.3d at 313–314, 319 (‘‘When
                                                applicability of NSR requirements), the                 be supported by a detailed discussion of               an agency faces a statutory mandate, a decision to
                                                availability of vendors and materials,                  the facility-specific economic,                        disregard it cannot be grounded in mere
                                                design, construction, and the earliest                  technological, and other circumstances                 infeasibility’’). We note also that in the CSAPR
                                                possible installation times for SCR on                  that may justify such an extension. The                Close-Out Rule (83 FR 65878, December 21, 2018),
                                                                                                                                                               the EPA required no further reductions from
                                                glass furnaces; SNCR or SCR on cement                   EPA notes that claims about infeasibility              upwind states beyond those set forth in the prior
                                                                                                        of controls are generally insufficient to              CSAPR Update based, in part, on the Agency’s
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                                                  239 69 FR 4566, 4617 (January 30, 2004) (citing
                                                                                                        justify an extension of time to comply,                conclusion that it was not feasible to implement
                                                Final Report, ‘‘Engineering and Economic Factors                                                               cost-effective emissions controls before 2023, 2
                                                Affecting the Installation of Control Technologies
                                                                                                        given the Wisconsin court’s holding that
                                                                                                                                                               years after the 2021 attainment deadline for the
                                                for Multipollutant Strategies,’’ EPA–600/R–02/073       the good neighbor provision requires                   downwind serious areas. The D.C. Circuit vacated
                                                (October 2002)).                                                                                               the Close-Out Rule for its reliance on the same
                                                  240 Final Report, ‘‘Engineering and Economic             241 Wisconsin, 938 F. 3d at 320 (citing CAA         interpretation of the Good Neighbor Provision that
                                                Factors Affecting the Installation of Control           section 181(a) (allowing one-year extension of         the court had rejected in Wisconsin. New York v.
                                                Technologies for Multipollutant Strategies,’’ EPA–      attainment deadlines in particular circumstances)      EPA, 781 F. App’x 4 (D.C. Cir. 2019) (unpublished
                                                600/R–02/073 (October 2002), at 21.                     and North Carolina, 531 F.3d at 912).                  opinion).



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                                                not suffice to justify an extension. If the             proposed enhancements, the EPA                         the program’s existing applicability
                                                EPA finalizes a provision allowing                      believes the inherently greater flexibility            provisions.
                                                sources to request limited extensions of                of a trading program continues to favor                   In addition to expanding the Group 3
                                                time to comply, the Agency would                        the use of this form of regulation,                    trading program’s geographic scope, the
                                                review each request on a case-by-case                   relative to more prescriptive forms of                 EPA proposes to modify the program’s
                                                basis as necessary to ensure consistency                regulation, as a vehicle for achieving the             regulations prospectively to include
                                                with the provisions of title I of the CAA.              emissions reductions from the electric                 certain enhancements to improve
                                                                                                        power sector found to be necessary in                  environmental outcomes. Two of the
                                                B. Regulatory Requirements for EGUs                                                                            proposed enhancements would adjust
                                                                                                        this rulemaking.
                                                   To implement the required emissions                                                                         the overall quantities of allowances
                                                reductions from EGUs, the EPA                              The Group 3 trading program                         available for compliance in the trading
                                                proposes to revise the existing CSAPR                   currently applies to EGUs meeting the                  program in each control period so as to
                                                NOX Ozone Season Group 3 Trading                        program’s applicability criteria within                maintain the rule’s selected control
                                                Program (the ‘‘Group 3 trading                          the borders of twelve states: Illinois,                stringency and related EGU effective
                                                program’’) established in the Revised                   Indiana, Kentucky, Louisiana,                          emissions rate performance level as the
                                                CSAPR Update both to expand the                         Maryland, Michigan, New Jersey, New                    EGU fleet evolves. First, instead of
                                                program’s geographic scope and to                       York, Ohio, Pennsylvania, Virginia, and                establishing emissions budgets for all
                                                enhance the program’s ability to ensure                 West Virginia. Affected EGUs in these                  future years under the program at the
                                                favorable environmental outcomes.243                    twelve states would continue to                        time of the rulemaking, which cannot
                                                The EPA proposes to use a trading                       participate in the Group 3 trading                     reflect future changes in the EGU fleet
                                                program for EGUs because of the                         program as revised in this rulemaking,                 unknown at the time of the rulemaking,
                                                inherently greater flexibility that a                   with some revised provisions taking                    the EPA proposes to revise the trading
                                                trading program can provide relative to                 effect in the 2023 control period and                  program regulations to include a
                                                more prescriptive, ‘‘command-and-                       other revised provisions taking effect                 dynamic budgeting procedure. This
                                                control’’ forms of regulation of sufficient             later as discussed elsewhere in this                   procedure would calculate emissions
                                                stringency to achieve the necessary                     document. The EPA proposes to expand                   budgets for control periods in 2025 and
                                                emissions reductions. In the electric                   the Group 3 trading program’s                          later years based on more current
                                                power sector, EGUs’ extensive                           geographic scope to include all of the                 information about the composition and
                                                interconnectedness and coordination                     additional states for which EGU                        utilization of the EGU fleet, specifically
                                                create the ability to shift both electricity            emissions reduction requirements are                   data available from the 2023 ozone
                                                production and emissions among units,                   being established in this rulemaking.                  season and following (e.g., for 2025,
                                                providing a closely related ability to                  Affected EGUs within the borders of                    data from 2023; for 2026, data from
                                                achieve emissions reductions in part by                 eight states currently covered by the                  2024; etc.). (Associated revisions to the
                                                shifting electricity production from                    CSAPR NOX Ozone Season Group 2                         program’s variability limits and unit-
                                                higher-emitting units to lower-emitting                 Trading Program (the ‘‘Group 2 trading                 level allowance allocation procedures
                                                or non-emitting units. The sector’s                     program’’)—Alabama, Arkansas,                          would coordinate these provisions with
                                                unusual flexibility with respect to how                 Mississippi, Missouri, Oklahoma,                       the revised budget-setting procedures.)
                                                emissions reductions can be achieved                    Tennessee, Texas, and Wisconsin—                       Second, starting with the 2024 control
                                                makes the flexibility of a trading                      would transition from the Group 2                      period, the EPA proposes to annually
                                                program particularly useful as a means                  program to the revised Group 3 trading                 recalibrate the quantity of accumulated
                                                of lowering the overall costs of                        program at the beginning of the 2023                   banked allowances under the program
                                                obtaining such reductions. In addition,                 control period,244 and affected EGUs                   to prevent the quantity of allowances
                                                it is essential for the electric power                  within the borders of the five states not              carried over from each control period to
                                                sector to retain short-term operational                 currently covered by any CSAPR trading                 the next from exceeding the target bank
                                                flexibility sufficient to allow electricity             program for seasonal NOX emissions—                    level, which would be revised to
                                                to be produced at all times in the                      Delaware, Minnesota, Nevada, Utah,                     represent 10.5 percent of the sum of the
                                                quantities needed to meet demand                        and Wyoming—would enter the Group                      state emissions budgets. Together, these
                                                simultaneously, and the flexibility of a                3 trading program in the 2023 control                  enhancements would protect the
                                                trading program can be helpful in                       period following the effective date of a               intended stringency of the trading
                                                supporting this aspect of the industry as               final rule in this rulemaking. As is the               program against potential erosion
                                                well. As discussed later, to provide                    case for the states already in the Group               caused by EGU fleet turnover and would
                                                improved environmental outcomes, in                     3 trading program, for each state added                better sustain over time the incentives
                                                this rulemaking, the EPA is proposing                   to the program, the set of affected EGUs               created by the trading program to apply
                                                certain enhancements to the current                     would include new units as well as                     continuously the degree of emissions
                                                provisions of the Group 3 trading                       existing units and units located in                    control the EPA determines is necessary
                                                program addressing environmental                        Indian country within the state’s                      to address states’ good neighbor
                                                performance that will necessarily                       borders as well as units not located in                obligations.
                                                reduce the flexibility of the individual                Indian country. Sections VII.B.2 and                      Two further enhancements to the
                                                units participating in the program to                   VII.B.3 of this proposed rule provide                  Group 3 trading program proposed in
                                                some extent. However, with the                                                                                 this rulemaking would establish
                                                                                                        additional discussion of the proposed
                                                                                                        geographic expansion of the Group 3                    provisions designed to promote more
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                                                   243 If any of the states whose sources currently
                                                                                                                                                               consistent emissions control by
                                                participate in the Group 3 trading program is           trading program and the units in the
                                                                                                                                                               individual EGUs within the context of
                                                determined in the final rule to not have additional     expanded geography that would likely
                                                emissions reduction requirements for EGUs, the                                                                 the trading program. First, starting with
                                                                                                        become subject to the program under
                                                EPA proposes in the alternative to establish a new                                                             the 2024 control period for most coal-
                                                trading program substantially similar to the revised
                                                                                                          244 Affected EGUs in the two other states
                                                                                                                                                               fired EGUs with existing SCR controls
                                                Group 3 trading program described in this proposal                                                             and the 2027 control period for most
                                                that would cover units within the borders of all the    currently covered by the Group 2 trading program—
                                                states determined to have emissions reduction           Iowa and Kansas—would continue to participate in       other coal-fired EGUs, a daily NOX
                                                requirements for EGUs in the final rule.                that program.                                          emissions rate of 0.14 lb/mmBtu would


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                                                apply as a backstop to the more                         1. Trading Program Background and                      of allowances available for use in the
                                                stringent seasonal emissions budgets.                   Overview of Proposed Revisions                         control period, consisting of the sum of
                                                Each ton of emissions exceeding a unit’s                a. Current CSAPR Trading Program                       all states’ emissions budgets for the
                                                backstop daily emissions rate would                     Design Elements and Identified                         control period plus any unused
                                                incur a 3-for-1 allowance surrender ratio               Concerns                                               allowances carried over from previous
                                                instead of the usual 1-for-1 allowance                                                                         control periods as ‘‘banked’’ allowances.
                                                surrender ratio. Second, also starting                     The use of allowance trading                           • ‘‘Assurance provisions’’ in each
                                                with the 2024 control period, the                       programs to achieve required emissions                 program establish an ‘‘assurance level’’
                                                trading program’s existing assurance                    reductions from the electric power                     for each state for each control period,
                                                provisions, which require extra                         sector has a long history, rooted in the               defined as the sum of the state’s
                                                allowance surrenders from sources that                  Clean Air Act Amendments of 1990. In                   emissions budget plus a specified
                                                are found responsible for contributing to               Title IV of those amendments, Congress                 ‘‘variability limit.’’ The purpose of the
                                                an exceedance of the relevant state’s                   specified the design elements for a 48-                assurance provisions is to limit the total
                                                ‘‘assurance level’’ (i.e., currently 121                state allowance trading program to                     emissions from each state’s sources in
                                                percent of the state’s emissions budget),               reduce SO2 emissions and the resulting                 each control period to an amount close
                                                would be strengthened by the addition                   acid precipitation. Building on the                    to the state’s emissions budget for the
                                                of another backstop requirement.                        success of that first allowance trading                control period, consistent with the good
                                                Specifically, for any unit found                        program as a tool for addressing multi-                neighbor provision’s mandate that
                                                responsible for contributing to an                      state air pollution issues, since 1998                 required emissions reductions must be
                                                                                                        EPA has promulgated and implemented                    achieved within the state, while
                                                exceedance of the state’s assurance
                                                                                                        multiple allowance trading programs for                allowing some flexibility beyond the
                                                level, the revised regulations would
                                                                                                        SO2 or NOX emissions to address the                    emissions budget to accommodate year-
                                                prohibit the unit’s seasonal emissions
                                                                                                        requirements of the CAA’s good                         to-year operational variability. In the
                                                from exceeding by more than 50 tons
                                                                                                        neighbor provision with respect to                     event a state’s assurance level is
                                                the emissions that would have resulted
                                                                                                        successively more stringent NAAQS for                  exceeded, responsibility for the
                                                if the unit had achieved a seasonal
                                                                                                        fine particulate matter and ozone. Most                exceedance is apportioned among the
                                                average emissions rate equal to the
                                                                                                        of these trading programs have applied                 state’s sources through a procedure that
                                                higher of 0.10 lb/mmBtu or 125 percent
                                                                                                        either exclusively or primarily to EGUs.               accounts for the sources’ shares of the
                                                of the unit’s lowest previous seasonal                     The EPA currently administers six
                                                average emissions rate under any                                                                               state’s total emissions for the control
                                                                                                        CSAPR trading programs for EGUs                        period as well as the sources’ shares of
                                                CSAPR seasonal NOX trading                              (promulgated in CSAPR, the CSAPR
                                                program.245                                                                                                    the state’s assurance level for the control
                                                                                                        Update, and the Revised CSAPR                          period.
                                                   These two enhancements are designed                  Update) that differ in the pollutants,                    • At the program’s compliance
                                                to ensure that all individual units with                geographic regions, and time periods                   deadlines after each control period,
                                                SCR controls have strong incentives to                  covered and in the levels of stringency,               sources are required to hold for
                                                continuously operate and optimize their                 but that otherwise are nearly identical                surrender specified quantities of
                                                controls, and also to ensure that even                  in their core design elements and their                allowances. The minimum quantities of
                                                units without SCR controls have strong                  regulatory text.246 The principal                      allowances that must be surrendered are
                                                incentives to optimize their emissions                  common design elements currently                       based on the sources’ reported
                                                performance when a state’s assurance                    reflected in all of the programs are as                emissions for the control period at a 1-
                                                level might otherwise be exceeded.                      follows:                                               for-1 ratio of allowances to tons of
                                                These enhancements are generally                           • An ‘‘emissions budget’’ is                        emissions (or 2-for-1 in instances of late
                                                designed to ensure consistency with                     established for each state for each                    compliance). In addition, two more
                                                EPA’s determination regarding the                       control period, representing EPA’s                     allowances must be surrendered for
                                                emissions control stringency needed                     quantification of the emissions that                   each ton of emissions exceeding a state’s
                                                from EGUs to eliminate significant                      would remain under certain projected                   assurance level for a control period,
                                                contribution under the Step 3                           conditions after elimination of the                    yielding an overall 3-for-1 surrender
                                                multifactor analysis as discussed in                    emissions prohibited by the good                       ratio for those emissions (or 4-for-1 in
                                                Section VI of this proposed rule.                       neighbor provision under those                         instances of late compliance). Failure to
                                                Further, these enhancements are                         projected conditions. For each control                 timely surrender all required allowances
                                                designed to provide greater assurance                   period of program operation, a quantity                is potentially subject to penalties under
                                                that emissions controls will be operated                of newly issued ‘‘allowances’’ equal to                the CAA’s enforcement provisions.
                                                on all days of the ozone season and                     the amount of each state’s emissions                      • To continuously incentivize sources
                                                therefore necessarily on the days that                  budget is allocated among the state’s                  to reduce their emissions even when
                                                turn out to be most critical for                        sources. (States have options to replace               they already hold sufficient allowances
                                                downwind ozone levels. The EPA                          EPA’s default allocations or to institute              to cover their expected emissions for a
                                                expects that promoting more                             an auction process.) Total emissions in                control period, and to promote
                                                consistently good emissions                             a given control period from all sources                compliance cost minimization,
                                                performance by individual EGUs will                     in the program are effectively capped at               operational flexibility, and allowance
                                                also help address disparate impacts of                  a level no higher than the total quantity              market liquidity, the programs allow
                                                pollution on overburdened communities                                                                          trading of allowances—both among
                                                from individual units that might                          246 The six current CSAPR trading programs are
                                                                                                                                                               sources in the program and with non-
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                                                otherwise have chosen not to optimize                   the CSAPR NOX Annual Trading Program, CSAPR
                                                                                                        NOX Ozone Season Group 1 Trading Program,
                                                                                                                                                               source entities—and also let allowances
                                                their emissions performance.                            CSAPR SO2 Group 1 Trading Program, CSAPR SO2           that are unused in one control period be
                                                                                                        Group 2 Trading Program, CSAPR NOX Ozone               carried over for use in future control
                                                  245 The requirement would not apply for control       Season Group 2 Trading Program, and CSAPR NOX          periods as banked allowances. Although
                                                periods during which the unit operated for less than    Ozone Season Group 3 Trading Program. The
                                                10 percent of the hours, and emissions rates            regulations for the six programs are set forth at
                                                                                                                                                               the programs do not directly limit either
                                                achieved in such previous control periods would be      subparts AAAAA, BBBBB, CCCCC, DDDDD, EEEEE,            trading or banking of allowances, the 3-
                                                excluded from the comparison.                           and GGGGG, respectively, of 40 CFR part 97.            for-1 surrender ratio imposed by the


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                                                assurance provisions on any emissions                   data reported in prior cap-and-trade                   ability to enhance the current trading
                                                exceeding a state’s assurance level                     programs and identified instances of                   program structure to better sustain
                                                disincentivizes sources from relying on                 sources that did not operate SCR                       incentives to control emissions over
                                                either in-state banked allowances or net                controls for substantial portions of                   time, the EPA has focused on the
                                                out-of-state purchased allowances to                    recent ozone seasons. In an effort to                  trading program design elements that
                                                emit over the assurance level.                          maintain as much compliance and                        determine the supply of allowances,
                                                   • Finally, other common design                       operational flexibility as possible,                   specifically the approach for setting
                                                elements ensure program integrity,                      ensure controls happen on critically                   state emissions budgets and the rules
                                                source accountability, and                              important highest ozone days, guard                    concerning the carryover of unused
                                                administrative transparency. Most                       against this behavior under a more                     allowances for use in future control
                                                notably, each unit must monitor and                     stringent NAAQS, and provide relief to                 periods as banked allowances.
                                                report emissions and operational data in                overburdened communities, the EPA
                                                accordance with the provisions of 40                    would require control operation every                  i. Revised Emissions Budget-Setting
                                                CFR part 75; all allowance allocations or               day through a unit-level emission rate                 Process
                                                auction results, transfers, and                         designed to ensure reductions occur on                    In each of the previous rulemakings
                                                deductions must be properly recorded                    the highest ozone days in addition to                  establishing CSAPR trading programs,
                                                in EPA’s Allowance Management                           maintaining a mass-based seasonal                      the EPA has evaluated the emissions
                                                System; each source must have a                         requirement. To meet the statutory                     that could be eliminated through
                                                designated representative who is                        requirement to eliminate significant                   implementation of certain types of
                                                authorized to represent all of the                      contribution and interference with                     emissions control strategies available at
                                                source’s owners and operators and is                    maintenance on the critically important                various cost thresholds to achieve
                                                responsible for certifying the accuracy                 days, this combination of requirements                 certain rates of emissions per unit of
                                                of the source’s reports to the EPA and                  would require sources to plan to run                   heat input (i.e., the amount of fuel
                                                overseeing the source’s Allowance                       controls all season, including the                     consumed) and the effects of the
                                                Management System account; and                          highest ozone days, while giving                       resulting emissions reductions on
                                                comprehensive data on emissions and                     reasonable flexibility for occasional                  downwind air quality. After
                                                allowances are made publicly available.                 operational needs.                                     determining the emissions control
                                                   The EPA continues to believe that the                   In this rulemaking, the EPA is                      strategies and associated emissions
                                                current CSAPR trading program                           proposing to revise the Group 3 trading                reductions that should be required
                                                structure established by the common                     program to include enhancements                        under the good neighbor provision by
                                                design elements described previously                    designed to address both sets of                       considering these factors in a
                                                has important positive attributes,                      concerns described above.247 The                       multifactor test, the EPA has then
                                                particularly with respect to the                        principles guiding the various proposed                projected the amounts of emissions that
                                                exceptional degree of compliance                        revisions and the relationships of the                 would remain after the assumed
                                                flexibility it can provide to a sector such             revisions to one another are discussed                 implementation of the selected
                                                as the electric power sector where such                 in Sections VII.B.1.b and VII.B.1.c of                 emissions control strategies at various
                                                flexibility is especially useful and                    this proposed rule. The individual
                                                valuable. However, the EPA also shares                                                                         points in the future and has established
                                                                                                        proposed revisions are discussed in                    the projected remaining amounts of
                                                some stakeholders’ concerns about                       more detail in Sections VII.B.4 through
                                                whether the current structure, without                                                                         emissions as the state emissions budgets
                                                                                                        VII.B.9 of this proposed rule.                         in trading programs.
                                                enhancements, is capable of adequately
                                                addressing states’ good neighbor                        b. Enhancements To Maintain Selected                      Projecting the amounts of emissions
                                                obligations with respect to the 2015                    Control Stringency Over Time                           remaining after implementation of
                                                ozone NAAQS in light of the rapidly                        The first set of concerns noted about               selected emissions controls necessarily
                                                evolving EGU fleet and the stringency                   the current CSAPR trading program                      requires projections not only for
                                                and short-term form of the standard.                    structure relates to the programs’ ability             sources’ future emissions rates but also
                                                One set of concerns relates to the                      to maintain the rule’s selected control                for other factors that influence total
                                                observed tendency under the current                     stringency and related EGU effective                   emissions, notably the composition of
                                                trading programs for the supply of                      emissions rate performance level as the                the future EGU fleet (i.e., the capacity
                                                allowances to grow over time while the                  EGU fleet evolves over time. Under the                 amounts of different types of sources
                                                demand for allowances falls, reducing                   structure of the current CSAPR trading                 with different emissions rates) and their
                                                allowance prices and eroding the                        programs, the effectiveness of the                     future utilization levels (i.e., their heat
                                                consequent incentives for sources to                    programs at maintaining the rule’s                     input). To the extent the projections
                                                effectively control their emissions. A                  selected control stringency depends                    made at the time of a rulemaking for
                                                second, overlapping set of concerns                     entirely on how allowance prices over                  these other factors prove inaccurate,
                                                relates to the general absence of source-               time compare to the costs of sources’                  over time the emissions budgets may
                                                or unit-specific emissions reduction                    various emissions reduction                            not reflect the intended stringency of
                                                requirements, allowing some individual                  opportunities, which in turn depends                   the emissions control strategies
                                                sources to idle existing emissions                      on the relationship between the supply                 identified in the rulemaking as
                                                controls. Emissions from these                          for allowances and the demand for                      consistent with addressing states’ good
                                                individual sources can contribute to                    allowances. In considering possible                    neighbor obligations. Further, projecting
                                                                                                                                                               EGU fleet composition and utilization
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                                                increased pollution concentrations                      ways to address concerns about the
                                                downwind on the particular days that                                                                           has become increasingly challenging in
                                                matter for downwind exceedances of the                     247 With the exception of the proposed              light of the rapid evolution of the
                                                relevant air quality standard and also                  conforming revisions to allowance recordation          electric power sector toward more
                                                have the potential to cause                             schedules discussed in Section VII.B.12 of this        efficient and cleaner sources of
                                                                                                        proposed rule, the EPA is not proposing in this
                                                disproportionate adverse impacts on                     rulemaking to extend the enhancements proposed
                                                                                                                                                               generation, driven by factors including
                                                downwind overburdened communities.                      for the Group 3 trading program to the other CSAPR     lower prices for natural gas and wind
                                                The EPA has analyzed hourly emissions                   trading programs.                                      and solar generation.


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                                                   A consequence of using a trading                      years though 2024 that reflect future                 associated with the selected emissions
                                                program approach with preset emissions                   EGU fleet changes known with                          control strategies. In this rulemaking,
                                                budgets that do not keep pace with the                   reasonable certainty at the time of the               the EPA proposes to modify this
                                                trends in EGU fleet composition and                      rulemaking. Some commenters                           methodology in two ways. First, the
                                                heat input is that the preset emissions                  requested that the EPA also update the                baseline EGU inventory and heat input
                                                budgets maintain the supply of                           year-by-year emissions budgets to reflect             data, but not the emissions rate data,
                                                allowances at levels that increasingly                   future fleet changes that might become                would be updated for each control
                                                exceed the emissions that would occur                    known after the time of the rulemaking,               period using the most recent available
                                                even without implementation of the                       but the EPA declined to do so, in part                reported data. For example, in early
                                                emissions control strategies used as the                 because no methodology for making                     2024, using the final data reported for
                                                basis for determining the emissions                      future emissions budget adjustments in                2023, the EPA would update the
                                                budgets, causing decreases in allowance                  response to post-rulemaking data had                  baseline inventory and heat input data
                                                prices and hence the incentives to                       been included in the proposal for the                 used to determine state emissions
                                                implement the control strategies. As an                  rulemaking.                                           budgets for the 2025 control period.
                                                example, although the emissions                             Based on information available as of               Second, the EPA would not apply an
                                                budgets in the CSAPR Update                              December 2021, it appears that the                    increment or decrement to any state
                                                established in 2016 reflected                            emissions budgets set for the first                   emissions budget for projected
                                                implementation of the emissions control                  control period covered by the Revised                 generation shifting associated with
                                                strategy of operating and optimizing                     CSAPR Update generally succeeded at                   implementation of the selected control
                                                existing SCR controls, within 4 years the                creating incentives to operate emissions              strategies, because any such shifting
                                                EPA found that EGU retirements and                       controls under the Group 3 trading                    should already be reflected in the heat
                                                changes in utilization not anticipated in                program for the programs’ first control
                                                                                                                                                               input data used to update the
                                                EPA’s previous budget-setting                            period. However, the EPA recognizes
                                                                                                                                                               baseline.251
                                                computations had made it economically                    that the lack of emissions budget
                                                attractive for at least some sources to                  adjustments after 2024 in conjunction                    The EPA believes that the proposed
                                                idle or reduce the effectiveness of their                with industry trends toward more                      revisions to the emissions budget-setting
                                                existing controls (relying on purchased                  efficient and cleaner resources would                 process would substantially improve the
                                                allowances instead).248 While the EPA                    likely lead to a surplus of allowances                ability of the emissions budgets to keep
                                                has provided analysis indicating that,                   after the adjustments end. In this                    pace with changes in the composition
                                                on average, sources operate their                        rulemaking, besides setting new                       and utilization of the EGU fleet. The
                                                controls more effectively on high                        emissions budgets for the 2023 and 2024               revised methodology would account for
                                                electric demand days, it has also                        control periods, the EPA also proposes                the electric power sector’s overall trends
                                                identified cases where units fail to                     to extend the Group 3 trading program                 toward more efficient and cleaner
                                                optimize their controls on these days.                   budget-setting methodology used in the                resources, both of which tend to
                                                Downwind states have suggested this                      Revised CSAPR Update to routinely set                 decrease total heat input at affected
                                                type of reduced pollution control                        emissions budgets for each future                     EGUs. The revised methodology would
                                                performance has occurred on the day                      control period in the year before that                also account for other factors that could
                                                and preceding day of an ozone                            control period, with each emissions                   lead to increased heat input in some
                                                exceedance.249 250 Such an outcome                       budget reflecting the latest available                states, such as generation shifting from
                                                undermined the ongoing achievement of                    information on the composition and                    other states or increases in electricity
                                                emissions rate performance consistent                    utilization of the EGU fleet at the time              demand caused by rising electrification.
                                                with the control strategies defined to                   that emissions budget is determined.                  The updating procedure would be
                                                eliminate significant contribution to                       The current budget-setting                         specified in the program regulations and
                                                nonattainment and interference with                      methodology established in the Revised                the computations, which would be
                                                maintenance, including continuous                        CSAPR Update and the proposed                         straightforward, could be performed in
                                                operation and optimization of existing                   revisions are discussed in detail in                  a spreadsheet to deliver reliable results.
                                                controls.                                                Section VII.B.4 of this proposed rule                 EPA would provide public notice of the
                                                   In the Revised CSAPR Update, the                      and the Ozone Transport Policy                        preliminary calculations and the data
                                                EPA took steps to better address the                     Analysis Proposed Rule TSD. To                        used by March 1 of the year preceding
                                                rapid evolution of the EGU fleet,                        summarize here, the Revised CSAPR                     the control period and would provide
                                                specifically by setting updated                          Update’s emissions budget-setting                     an opportunity for submission of any
                                                emissions budgets for individual future                  methodology includes three primary                    objections to the data and preliminary
                                                                                                         steps: (1) Establishment of a baseline                calculations before finalizing the
                                                  248 The price of allowances in CSAPR Update            inventory of EGUs adjusted for known                  budgets for each control period by May
                                                states started out at levels near $800 per ton in 2017   retirements and new units, with heat                  1 of the year before the control period
                                                but declined to less than $100 per ton by 2019 and       input and emissions rate data for each                to which those budgets apply. Thus, for
                                                were less than $70 per ton in July 2020 (data from       EGU in the inventory based on recent
                                                S&P Global Market Intelligence).                                                                               example, sources and other stakeholders
                                                  249 86 FR 23117.                                       historical data; (2) adjustment of the                will have certainty by May 1, 2024, of
                                                  250 See EPA–HQ–OAR–2020–0272–0094. ‘‘. . . is          baseline data to reflect assumed                      the emissions budgets that will be set
                                                demonstrated through examination of Maryland’s           emissions rate changes resulting from                 for the 2025 control period that starts
                                                ozone design value days for June 26th–28th, 2019.        known new controls, known gas                         May 1, 2025.
                                                On those days, Maryland recorded 8-hour ozone
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                                                                                                         conversions, and implementation of the
                                                levels of 75, 85 and 83 ppb at the Edgewood
                                                monitor. Maryland Department of the Environment
                                                                                                         emissions control strategies used to                     251 Emission reductions derived from generation

                                                evaluated the daily NOX emission rate for units in       determine states’ good neighbor                       shifting will be captured in the dynamic budgets in
                                                Pennsylvania that were found to influence the            obligations; and (3) application of an                all cases. For the pre-set budget years it is estimated
                                                design values on the 3 exceedance days (and 1 day        increment or decrement to reflect the                 and incorporated through an additional calculation
                                                prior to the exceedance) against the past-best ozone                                                           step. For dynamic budget years, it is directly
                                                season 30-day rolling average optimized NOX rate
                                                                                                         effect on emissions from projected                    incorporated through the inclusion of updated heat
                                                (which tends to be higher than the absolute lowest       generation shifting among the units in a              input data reflecting observed, compliance period
                                                seasonal average rate).’’                                state at the emissions reduction cost                 generation shifting.



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                                                   It bears emphasis that the annually                  are also advanced by rules that allow                  bank amount to the total quantity of
                                                updated information would concern                       unused allowances to be carried over for               banked allowances held in all accounts
                                                only the composition and utilization of                 possible use in future control periods,                before the conversion and then, if the
                                                the EGU fleet and not the emissions rate                thereby preserving a value for the                     ratio was less than 1.0, multiplying the
                                                data also used in the emissions budget                  unused allowances. However, while the                  quantity of banked allowances held in
                                                computations. The emissions budget                      EPA considers it generally advantageous                each account by the ratio to identify the
                                                computations for all years would reflect                to place as few restrictions on the                    appropriate recalibrated amount for the
                                                only the specific emissions control                     trading of allowances as possible,252                  account (rounded to the nearest
                                                strategies used to determine states’ good               unrestricted banking of allowances has                 allowance), and deducting any
                                                neighbor obligations as determined in                   a potentially significant disadvantage                 allowances in the account exceeding the
                                                this rulemaking, along with fixed                       offsetting its advantages, namely that it              recalibrated amount.
                                                historical emissions rates for units that               allows what might otherwise be                            The EPA believes this revision to the
                                                are not assumed to implement                            temporary surpluses of allowances in                   Group 3 trading program’s banking
                                                additional control strategies, thereby                  some individual control periods to                     provisions would complement the
                                                ensuring that the annual updates would                  accumulate into a long-term allowance                  proposed revisions to the budget-setting
                                                eliminate emissions as determined to be                 surplus that reduces allowances prices                 process by ensuring that the annual
                                                required under the good neighbor                        and weakens the trading program’s                      bank recalibration would prevent any
                                                provision. The stringency of the                        incentives to control emissions. With                  surplus of allowances created in one
                                                emissions budgets would simply reflect                  weakened incentives, some operators                    control period from diminishing the
                                                the stringency of the emissions control                 would be more likely to choose not to                  intended stringency and resulting
                                                strategies determined in the Step 3                     continuously operate and optimize their                emissions reductions of the emissions
                                                multifactor analysis and would do so                    emissions controls, imperiling the                     budgets for subsequent control
                                                more consistently over time than EPA’s                  ongoing achievement of emissions rate                  periods.253
                                                previous approach of computing                          performance consistent with the control                   The calibration procedure would not
                                                emissions budgets for all future control                strategies defined as eliminating                      erase the value of unused allowances for
                                                periods at the time of the rulemaking.                  significant contribution to                            the holder, because the larger the
                                                   The proposed revisions to state                      nonattainment and interference with                    quantity of banked allowances that is
                                                emissions budgets and the budget-                       maintenance.                                           held in a given account before each
                                                setting process are discussed further in                   As discussed in detail in Section                   recalibration, the larger the quantity of
                                                Section VII.B.4 of this proposed rule.                  VII.B.6 of this proposed rule, the EPA is              banked allowances that would be left in
                                                Proposed coordinated revisions to the                   proposing to revise the Group 3 trading                the account after the recalibration for
                                                determination of state-level variability                program by adding provisions that                      possible sale or use in meeting future
                                                limits and assurance levels and to unit-                would establish a routine recalibration                compliance requirements. Because the
                                                level allowance allocations are                         process for banked allowances that                     banked allowances would always have
                                                discussed in Sections VII.B.5 and                       would be carried out in August 2024                    value, the opportunity to bank
                                                VII.B.9 of this proposed rule,                          and each subsequent August, after the                  allowances would continue to advance
                                                respectively.                                           compliance deadline for the control                    the purposes served by otherwise
                                                                                                        period in the previous year. In each                   unrestricted banking as described above.
                                                ii. Allowance Bank Recalibration
                                                                                                        recalibration, the EPA would reset the                 Opportunities to bank unused
                                                   Besides the levels of the emissions                  total quantity of banked allowances for                allowances can serve all these same
                                                budgets, the second design element of                   the Group 3 trading program (‘‘Group 3                 purposes whether a banked allowance is
                                                the trading program structure that                      allowances’’) held in all Allowance                    of partial value (if the bank needs
                                                affects the supply of allowances in each                Management System accounts to a target                 recalibrating to its target level) or is of
                                                control period, and that consequently                   level of 10.5 percent of the sum of the                full value compared to a newly issued
                                                also affects the ability of a trading                   state emissions budgets for the current                allowance for the next control period.
                                                program to maintain the rule’s selected                 control period. The procedure would                       The proposal to routinely recalibrate
                                                control stringency and related EGU                      entail identifying the ratio of the target             the allowance bank is discussed further
                                                effective emissions rate performance                                                                           in Section VII.B.6 of this proposed rule.
                                                level as the EGU fleet evolves over time,                  252 The advantages of trading programs discussed

                                                is the set of rules concerning the                      earlier in this section—providing continuous           d. Enhancements To Improve Emissions
                                                carryover of unused allowances for use                  emissions reduction incentives, facilitating           Performance at Individual Units
                                                                                                        compliance cost minimization, and supporting
                                                in future control periods as banked                     operational flexibility—depend on the existence of        The second set of concerns about the
                                                allowances. As noted previously,                        a marketplace for purchasing and selling               structure of the current CSAPR trading
                                                trading and banking of allowances in                    allowances, and broader marketplaces generally         programs relates to the general absence
                                                the CSAPR trading programs can serve                    provide greater market liquidity and therefore make
                                                                                                        trading programs better at providing these             of source- or unit-specific emissions
                                                a variety of purposes: Continuously                     advantages. The EPA recognizes that unrestricted       reduction requirements. Without such
                                                incentivizing sources to reduce their                   use of net purchased allowances—meaning                requirements, the programs affect
                                                emissions even when they already hold                   quantities of purchased allowances that exceed the     individual sources’ emissions
                                                sufficient allowances to cover their                    quantities of allowances sold—by a source or group
                                                                                                        of sources as an alternative to making emissions
                                                expected emissions for a control period,                reductions can interfere with the achievement of          253 The EPA recognizes there will be a data lag

                                                facilitating compliance cost                            the desired environmental outcome, and Section         inherent in the future year emissions budgets,
                                                minimization, accommodating                             VII.B.1.c of this proposed rule discusses the          because the budgets would reflect fleet composition
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                                                                                                        enhancements to the Group 3 trading program that       and utilization data reported for a previous control
                                                necessary operational flexibility, and                  the EPA is proposing in this rulemaking to reduce      period. This means that the budgets for some
                                                promoting allowance market liquidity.                   reliance on net purchased allowances by                individual control periods may fail to fully keep
                                                All of these purposes are advanced by                   incentivizing or requiring better environmental        pace with the EGU fleet’s trends toward more
                                                rules that allow sources to trade                       performance at individual EGUs. However, the           efficient and cleaner resources. Nonetheless, the
                                                                                                        concern arises from the use of an excessive quantity   new approach is a substantial improvement in
                                                allowances freely (both with other                      of net purchased allowances for a particular           environmental performance of the program
                                                sources and with non-source entities                    purpose, not from the existence of a marketplace       compared to a more unlimited approach to
                                                such as brokers). All of these purposes                 where allowances may be freely bought and sold.        allowance banking.



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                                                performance only to the extent that the                 The additional allowance surrender                     has in prior ozone transport actions not
                                                incentives created by allowance prices                  requirement would be integrated into                   found sufficient evidence of emissions
                                                are high enough relative to the costs of                the trading program as a new                           control idling or non-operation to take
                                                the sources’ various emissions control                  component in the calculation of each                   the step of building in enhancements to
                                                opportunities. In circumstances where                   unit’s primary emissions limitation,                   the trading program to ensure unit-level
                                                the incentives to control emissions are                 such that the additional allowances                    control operation, our review of that
                                                insufficient, some individual sources                   would have to be surrendered by the                    information applied to this context
                                                even idle existing emissions controls.                  same compliance deadline of June 1                     suggests this problem could become
                                                Emissions from these individual sources                 after each control period. The amount of               more prevalent in future years relevant
                                                can contribute to increased pollution                   additional allowances to be surrendered                to this action. Rather than allow for the
                                                concentrations downwind on the                          would be determined by computing, for                  potential of continued deterioration in
                                                particular days that matter for                         each day of the control period, any                    the environmental performance of our
                                                downwind exceedances of the relevant                    excess of the unit’s reported emissions                trading programs, the EPA finds the
                                                air quality standard and also have the                  (in pounds) over the emissions that                    evidence of declining SCR performance
                                                potential to cause disproportionate                     would have resulted from combusting                    in later years of trading programs
                                                adverse impacts on downwind                             that day’s actual heat input at an                     sufficient to justify prophylactic
                                                overburdened communities.                               average daily emissions rate of 0.14 lb/               measures in this proposal to ensure the
                                                   This EPA intends that the trading                    mmBtu, summing the daily amounts,                      emissions control strategy selected at
                                                program enhancements described in                       converting from pounds to tons, and                    Step 3 is indeed implemented at Step 4.
                                                Section VII.B.1.b of this proposed rule                 multiplying by two. Starting with the                  Thus, particularly in the context of the
                                                would improve the Group 3 trading                       2027 control period, the 3-for-1                       more stringent 2015 ozone NAAQS
                                                program’s ability to sustain emissions                  surrender ratio would apply in the same                combined with the full remedy nature of
                                                control incentives over time such that                  way to all large coal-fired EGUs,                      this action and the extended timeframe
                                                needed emissions performance would                      consistent with EPA’s proposed                         for which upwind contribution to
                                                be achieved by all participating units                  determinations, first, that a control                  downwind nonattainment is projected
                                                without the need for additional                         stringency reflecting installation and                 to persist, the EPA agrees with these
                                                requirements to be imposed at the level                 operation of SCR controls on all large                 stakeholders that the set of measures
                                                of individual units. However, because                   coal-fired EGUs is appropriate to                      promulgated in this rulemaking to
                                                obtaining needed emissions                              address states’ good neighbor                          implement the control stringency levels
                                                performance at individual units is also                 obligations with respect to the 2015                   found necessary to address states’ good
                                                important, the EPA proposes to                          ozone NAAQS, and second, that such                     neighbor obligations should include
                                                supplement the previously discussed                     controls could reasonably be installed                 measures designed to more effectively
                                                enhancements with two other new sets                    by the 2026 control period.                            ensure that individual units operate
                                                of provisions that would apply to                          In prior rules addressing interstate                their emission controls routinely
                                                certain individual units within the                     transport of air pollution, stakeholders               throughout the ozone season, thereby
                                                larger context of the Group 3 trading                   have noted that while seasonal cap-and-                also ensuring that the controls are
                                                program. The allowance price would                      trade programs are effective at lowering               planned to be in operation on the
                                                continue to be the most important driver                ozone and ozone-forming precursors                     particular days that turn out to be most
                                                of good environmental performance for                   across the ozone season, attainment of                 critical for ozone formation and for
                                                most units, but the proposed unit-level                 the standard is measured on key days                   attainment of the NAAQS.255 Routine
                                                requirements would be important                         and therefore it is necessary to ensure                operation of emissions controls will also
                                                supplemental drivers of performance                     that the rule requires emissions                       provide relief to overburdened
                                                and would offer additional assurance                    reductions not just seasonally, but also               communities downwind of any units
                                                that significant contribution is                        on those key days.254 They have noted                  that might otherwise have chosen not to
                                                eliminated on a daily basis during the                  that while the trading programs                        operate their controls. In the Ozone
                                                ozone season by continuous operation                    established under the NOX SIP Call,                    Transport TSD, the EPA conducted a
                                                of existing pollution controls.                         CAIR, and CSAPR have all been                          screening analysis that found nearly all
                                                i. Unit-Specific Backstop Daily                         successful in ensuring seasonal                        of the EGUs included in this analysis
                                                Emissions Rates                                         reductions, states must remain below                   are located within a 24-hour transport
                                                                                                        daily peak levels, not just seasonal                   distance of many areas with potential EJ
                                                   The first of the proposed trading                    levels, to reach attainment. These                     concerns. The EPA is proposing to
                                                program enhancements intended to                        downwind stakeholder communities                       adopt backstop daily rate limits at the
                                                improve emissions performance at the                    have suggested that operating pollution                individual unit level for this purpose,
                                                level of individual units is the addition               controls on the highest ozone days (and                implemented in the context of a trading
                                                of backstop daily NOX emissions rate                    immediately preceding days) during the                 program (i.e., through enhanced
                                                provisions that would apply to large                    ozone season is of critical importance.                allowance surrender ratios), as an
                                                coal-fired EGUs, defined for this                       The EPA has analyzed hourly emissions                  alternative to adopting enforceable rate
                                                purpose as units serving electricity                    data reported in prior cap-and-trade                   limits.
                                                generators with nameplate capacities                    programs and has identified instances of                  The purpose of establishing a
                                                equal to or greater than 100 MW and                     sources that did not operate SCR                       backstop daily NOX emissions rate and
                                                combusting any coal during the control                  controls for substantial portions of                   implementing it through additional
                                                period in question. Starting with the
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                                                                                                        recent ozone seasons. These instances
                                                2024 control period, a 3-for-1 allowance                are discussed below and in the EGU                       255 The CSAPR Update was a partial remedy and
                                                surrender ratio (instead of the usual 1-                NOX Mitigation Strategies Proposed                     the Revised CSAPR Update addressed downwind
                                                for-1 surrender ratio) would apply to                                                                          nonattainment and maintenance issues that were
                                                                                                        Rule TSD in the docket. While the EPA                  projected to be resolved within a 4 year window.
                                                emissions during the ozone season from
                                                                                                                                                               In contrast, this rule reflects a full remedy and is
                                                any large coal-fired EGU with existing                    254 EPA–HQ–OAR–2020–0272. Comment                    addressing downwind nonattainment and
                                                SCR controls exceeding a daily average                  submitted by Ben Grumbles, Secretary, Maryland         maintenance issues that are projected to persist for
                                                NOX emissions rate of 0.14 lb/mmBtu.                    Department of the Environment (MDE).                   more than a decade.



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                                                allowance surrender requirements                           The EPA proposes to apply the daily                  reductions, the EPA is not proposing to
                                                instead of as an enforceable rate limit is              emissions rate provisions to large coal-                apply the daily emissions rate
                                                to incentivize improved emissions                       fired EGUs, and not to other types of                   provisions to large gas-fired steam
                                                performance at the individual unit level                units, for reasons that are consistent                  EGUs. Focusing the backstop daily
                                                while continuing to preserve, to the                    with EPA’s determinations regarding the                 emissions rates on coal-fired units is
                                                extent possible, the advantages that the                appropriate control stringency for EGUs                 also consistent with stakeholder input
                                                flexibility of a trading program brings to              to address states’ good neighbor                        which has emphasized the need for
                                                the electric power sector. As discussed                 obligations with respect to the 2015                    short-term rate limits at coal units given
                                                in Section VII.B.7 of this proposed rule,               ozone NAAQS. Installation and                           their relatively higher emissions rates.
                                                under existing trading programs without                 operation of SCR controls is well-                         The EPA developed the proposed
                                                the enhancements proposed in this                       established as best practice for control                level of the daily average NOX emissions
                                                rulemaking, some individual coal-fired                  of NOX emissions from coal-fired EGUs,                  rate—0.14 lb/mmBtu—through analysis
                                                units with SCR controls have chosen to                  as evidenced by the fact that the                       of historical data, as described in
                                                operate the controls at lower removal                   technology is already installed on more                 Section VII.B.7 of this proposed rule. A
                                                efficiencies than in past ozone seasons                 than 60 percent of the sector’s total coal-             rate of 0.14 lb/mmBtu represents the
                                                or even to idle the controls for entire                 fired capacity. In the context of the need              daily average NOX emissions rate that
                                                ozone seasons. In addition, some SCR-                   for states to address their good neighbor               has been demonstrated to be achievable
                                                equipped units have chosen to routinely                 obligations with respect to the 2015                    on approximately 95 percent of days
                                                cycle their emissions controls off at                   ozone NAAQS, the EPA is proposing to                    covering more than 99 percent of total
                                                lower load levels, such as while                        determine that a control stringency                     ozone-season NOX emissions by coal-
                                                operating overnight, instead of operating               reflecting universal installation and                   fired units with SCR controls that are
                                                the controls, upgrading the units to                    operation of SCR technology at large                    achieving a seasonal NOX average
                                                enable the controls to be operated under                coal-fired EGUs is appropriate, based on                emissions rate of 0.08 lb/mmBtu (or
                                                those conditions, or not operating the                  a multi-factor test that includes                       less), which is the seasonal NOX
                                                units under those conditions.                           consideration of cost-effectiveness along               emissions rate that the EPA has
                                                   The EPA has identified sources of                    with air quality factors. Finally, where                determined is indicative of optimized
                                                interstate ozone pollution such as the                  SCR controls are installed, optimized                   SCR performance by units with existing
                                                New Madrid and Conemaugh plants (in                     operation of those controls is an                       SCR controls.
                                                Missouri and Pennsylvania,                              extremely cost-effective method of                         As noted previously, the daily average
                                                respectively) whose SCR controls were                   achieving NOX emissions reductions.                     emissions rate provisions are proposed
                                                not operating for substantial portions of               The EPA believes these considerations                   to apply beginning in the 2024 control
                                                recent ozone seasons. The data in                       support establishment of the proposed                   period for large coal-fired units with
                                                Figures 1 and 2 to Section VII.B.1.c.i,                 daily emissions rate provisions on a                    installed SCR controls, one control
                                                included in Appendix G of the Ozone                     universal basis for large coal-fired EGUs,              period later than optimization of those
                                                Transport Policy Analysis Proposed                      with near-term application of the                       controls would be reflected in the state
                                                Rule TSD available in the docket for this               provisions for units that already have                  emissions budgets under the proposal.
                                                rulemaking, demonstrate that these                      the controls installed and deferred                     Likewise, the daily average emissions
                                                units have operated their SCRs better                   application for other units, as discussed               rate provisions are proposed to apply
                                                and more consistently during years with                 later.                                                  beginning in the 2027 control period for
                                                higher NOX allowance prices.                               With regard to gas-fired steam EGUs,                 other large coal-fired units, one control
                                                Downwind stakeholders have noted that                   SCR controls are nowhere near as                        period later than emissions reductions
                                                some of the higher emission rates                       prevalent, and while the EPA is                         consistent with the installation and
                                                (specifically in the case of Conemaugh                  proposing to include some SCR controls                  operation of SCR controls for such units
                                                Unit 2 in 2019) have occurred on the                    at gas-fired steam units in the selected                would be reflected in the state
                                                day of and the preceding day of an                      control stringency, the EPA is not                      emissions budgets under the proposal.
                                                ozone exceedance in bordering states.256                proposing to include universal SCR                      With respect to the units with existing
                                                   The EPA believes that the design of                  controls at gas-fired steam units.                      SCR controls, not applying the daily
                                                the proposed daily emissions rate                       Because the EPA does not propose to                     average rate provisions until 2024
                                                provisions would be effective in                        determine that universal installation                   would serve two purposes. First, it
                                                addressing these types of high-emitting                 and operation of SCR controls at gas-                   would provide all the units with a
                                                behavior by significantly raising the cost              fired steam EGUs is part of the selected                preparatory interval to focus attention
                                                of planned operator decisions that                      control stringency, in order not to                     on improving not only the average
                                                substantially compromise                                constrain the power sector’s flexibility                performance of their SCR controls but
                                                environmental performance. At the                       to choose which particular gas-fired                    also the day-to-day consistency of
                                                same time, the provision would not                      steam EGUs are the preferred candidates                 performance before they would be held
                                                unduly penalize an occasional                           for achieving the required emissions                    to increased allowance-surrender
                                                unplanned exceedance, because the                                                                               consequences for exceeding the daily
                                                amount of additional allowances that                    behavior—i.e., turning off emissions controls at        rate. Second, it would provide the
                                                would have to be surrendered to address                 times of peak electricity demand in order to sell the
                                                                                                        additional electricity that otherwise would have
                                                                                                                                                                subset of units that exhaust to common
                                                a single day’s exceedance would be                      been used to run the control equipment—EPA’s            stacks with other units that currently
                                                much smaller than the amount that                       analysis of hourly emissions data does not show         lack SCR controls an opportunity to
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                                                would have to be surrendered to address                 that this behavior is actually occurring. The data      exercise the option to install and certify
                                                planned poor performance sustained                      actually suggest the opposite—that emissions
                                                                                                        controls are generally operated better on peak
                                                                                                                                                                any additional monitoring systems
                                                over longer time periods.257                            demand days than on other days. See the Ozone           needed to monitor the individual units’
                                                                                                        Policy Analysis Proposed Rule TSD for additional        NOX emissions rates separately;
                                                  256 EPA–HQ–OAR–2020–0272–0094.
                                                                                                        details about the assessment of the tons and the        otherwise, the daily emissions rate
                                                  257 While the proposed design of the daily            Discussion of Short-term Emissions Limit document
                                                emissions rate provision would not deter another        for an assessment of control operation on peak
                                                                                                                                                                provisions would apply to the SCR-
                                                theoretical type of poor emissions control              demand days.                                            equipped units based on the combined


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                                                NOX emissions rates measured in the                     a group of units to which responsibility               2008). EPA’s programs to eliminate
                                                common stacks.258                                       for the exceedance has been                            significant contribution must therefore
                                                  With respect to the units without                     apportioned under the program’s                        achieve this prohibition, and the new
                                                existing SCR controls, not applying the                 assurance provisions, and the unit                     evidence of exceedances of the
                                                daily average emissions rate provisions                 operated during at least 10% of the                    assurance provisions demonstrate that
                                                until 2027 would also serve two                         hours in the control period. Where these               EPA’s existing approach may not be
                                                purposes. First, it would provide a                     conditions for application of a                        sufficient to accomplish this statutory
                                                window for plant personnel to gain                      secondary emissions limitation to a                    mandate.
                                                experience operating any new SCR                        given unit for a given control period are                 The purpose of including assurance
                                                controls, and second, it would provide                  met, the unit’s secondary emissions                    levels higher than the state emissions
                                                some timing flexibility for any                         limitation would consist of a                          budgets in the CSAPR trading programs
                                                individual unit operators who fail to                   prohibition on NOX emissions during                    is to provide flexibility to accommodate
                                                complete SCR control installations                      the control period that exceed by more                 operational variability attributable to
                                                before the start of the 2026 control                    than 50 tons the NOX emissions that                    factors that are largely outside of an
                                                period. With respect to both sets of                    would have resulted if the unit had                    individual owner’s or operator’s control,
                                                units, the EPA believes that the lag in                 achieved an average emissions rate for                 not to allow owners and operators to
                                                applicability of one control period is                  the control period equal to the higher of              plan to emit at emissions rates that
                                                permissible because the emissions                       0.10 lb/mmBtu or 125 percent of the                    could be anticipated to cause a state’s
                                                budget provisions are the principal                     unit’s lowest average emissions rate for               total emissions to exceed the state’s
                                                provisions intended to drive the                        any previous control period under any                  emissions budget or assurance level.
                                                emissions reductions required under the                 CSAPR seasonal NOX trading program                     Conduct leading to a foreseeable, readily
                                                proposal, while the daily average                       during which the unit operated for at                  avoidable exceedance of a state’s
                                                emissions rate provisions are included                  least 10 percent of the hours.                         assurance level cannot be reconciled
                                                only to backstop those provisions.                                                                             with the statutory mandate of the CAA’s
                                                                                                           The proposed secondary emissions
                                                  The EPA believes that the proposed                                                                           good neighbor provision that emissions
                                                                                                        limitation would be in addition to, not
                                                unit-specific daily emissions rate                                                                             ‘‘within the state’’ significantly
                                                                                                        in lieu of, the primary emissions
                                                provisions would strengthen the                                                                                contributing to nonattainment or
                                                                                                        limitation applicable to each source,
                                                incentives for individual coal-fired units                                                                     interfering with maintenance of a
                                                                                                        which would continue to take the form                  NAAQS in another state must be
                                                with SCR controls to operate and                        of a requirement to surrender a quantity
                                                optimize performance of the controls.                                                                          prohibited. Because the current CSAPR
                                                                                                        of allowances based on the source’s                    regulations do not expressly prohibit
                                                Continuous operation and optimization                   emissions, and also in addition to the
                                                of post-combustion controls at                                                                                 such conduct and have proven
                                                                                                        existing assurance provisions, which                   insufficient to deter it in some
                                                individual units would help address                     similarly would continue to take the
                                                individual days that prove in real time                                                                        circumstances, the EPA is proposing to
                                                                                                        form of a requirement for the owners                   correct the regulatory deficiency in the
                                                to be most critical for downwind ozone                  and operators of some sources to
                                                levels. Better continuous emissions                                                                            Group 3 trading program by adding
                                                                                                        surrender additional allowances when a                 secondary emissions limitations that
                                                performance by individual units would                   state’s assurance level is exceeded. In
                                                also help address disparate impacts of                                                                         cannot be complied with through the
                                                                                                        contrast to these other requirements, the              use of allowances.
                                                pollution on overburdened communities                   proposed unit-specific secondary
                                                downwind from the units.                                                                                          The EPA notes that although the
                                                                                                        emissions limitation would take the                    principal purpose of the proposed
                                                  The proposed unit-specific target                     form of a prohibition on emissions over
                                                daily emissions rates are discussed                                                                            secondary emissions limitations is to
                                                                                                        a specified level, such that any                       strengthen the assurance provisions,
                                                further in Section VII.B.7 of this                      emissions by a unit exceeding its
                                                proposed rule.                                                                                                 which apply on a statewide, seasonal
                                                                                                        secondary emissions limitation would                   basis, the unit-specific structure of the
                                                ii. Unit-Specific Emissions Limitations                 be subject to potential administrative or              new limitations would strengthen the
                                                Contingent on Assurance Level                           judicial action and subject to penalties               incentives for individual units to
                                                Exceedances                                             and other forms of relief under the                    maintain their emissions performance at
                                                   The second of the proposed trading                   CAA’s enforcement authorities. The                     levels consistent with their previously
                                                program enhancements intended to                        reason for proposing this form of                      demonstrated capabilities. For units
                                                improve emissions performance at the                    limitation is that experience under the                with existing post-combustion
                                                level of individual units is the addition               existing CSAPR trading programs has                    emissions controls, the new limitations
                                                of unit-specific secondary emissions                    shown that, in some circumstances, the                 would strengthen the incentives to
                                                limitations. The secondary emissions                    existing assurance provisions have been                operate and optimize the controls
                                                limitations would be determined on a                    insufficient to prevent exceedances of a               continuously, and for units without
                                                unit-specific basis according to each                   state’s assurance level for a control                  such existing controls, the new
                                                unit’s individual performance but                       period even when the likelihood of an                  limitations would strengthen the
                                                would apply to a given unit only under                  exceedance has been foreseeable and the                incentives to minimize NOX emissions
                                                the circumstance where a state’s                        exceedance could have been readily                     rates through other possible measures
                                                assurance level for a control period has                avoided if certain units had operated                  such as improved maintenance and
                                                been exceeded, the unit is included in                  with emissions rates closer to the lower               optimization of combustion parameters.
                                                                                                        emissions rates achieved in past control
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                                                                                                                                                               Continuous operation of post-
                                                  258 Based on the information reported by sources      periods. The assurance levels exist to                 combustion controls and greater
                                                to the EPA in their monitoring plans under 40 CFR       ensure that emissions from each state                  attention to the combustion process at
                                                part 75, five plants subject to this proposal have      that contribute significantly to                       individual units can be expected to
                                                SCR-equipped and non-SCR-equipped coal-fired            nonattainment or interfere with                        reduce some individual units’ emissions
                                                EGUs that exhaust together to common stacks: The
                                                Clifty Creek plant in Indiana; the Cooper, Ghent,
                                                                                                        maintenance of a NAAQS in another                      rates throughout the ozone season,
                                                and Shawnee plants in Kentucky; and the Sammis          state are prohibited. North Carolina v.                including on the days that turn out to
                                                plant in Ohio.                                          EPA, 531 F.3d 896, 906–908 (D.C. Cir.                  be most critical for downwind ozone


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                                                levels. Better emissions performance on                 EPA’s proposed approach for                            other measures, installation of new post-
                                                average across the ozone season by                      determining a portion of each state’s                  combustion controls, but also the three
                                                individual units would also help                        budget for each control period that                    states—Alabama, Delaware, and
                                                address disparate impacts of pollution                  would be set aside for allocation to any               Tennessee—for which the EPA is
                                                on overburdened communities                             units in areas of Indian country within                proposing to determine that the required
                                                downwind from some such units.                          the state not subject to the state’s CAA               control stringency does not include
                                                  The proposed unit-specific secondary                  implementation planning authority is                   such measures. In previous
                                                emissions limitations are discussed                     discussed in Section VII.B.9 of this                   rulemakings, the EPA has chosen to
                                                further in Section VII.B.8 of this                      proposed rule.                                         combine states in a single multi-state
                                                proposed rule.                                             Units in each state would join the                  trading program only where the selected
                                                                                                        Group 3 trading program on one of two                  control stringencies were comparable, in
                                                2. Expansion of Geographic Scope                        possible dates during the program’s                    order to ensure that states did not
                                                   As part of the proposed approach for                 2023 control period (that is, the period               effectively shift their emissions
                                                implementing the NOX emissions                          from May 1, 2023, through September                    reduction requirements to other states
                                                reductions from EGUs identified as                      30, 2023). The reason that two entry                   with less stringent emissions reduction
                                                necessary to address various states’                    dates are possible is that, as discussed               requirements by using net out-of-state
                                                obligations under the good neighbor                     in Section VII.B.11 of this proposed                   purchased allowances. Although the
                                                provision with respect to the 2015                      rule, the effective date of a final rule in            assurance provisions in the CSAPR
                                                ozone NAAQS, the EPA is proposing to                    this rulemaking may fall after May 1,                  trading programs were designed to
                                                expand the existing geographic scope of                 2023. In the case of states (and Indian                address the same general concern about
                                                the existing CSAPR NOX Ozone Season                     country within the states’ borders)                    excessive shifting of emissions
                                                Group 3 Trading Program to encompass                    whose sources do not currently                         reduction activities between states, EPA
                                                the additional states (and Indian                       participate in the CSAPR NOX Ozone                     chose not to rely on the assurance
                                                country within the borders of such                      Season Group 2 trading program—                        provisions as sufficient to allow for
                                                states) found to have such obligations                  Delaware, Minnesota, Nevada, Utah,                     interstate trading in situations where the
                                                with respect to EGUs. Specifically, the                 and Wyoming—EPA proposes that the                      states were assigned differing emissions
                                                EPA is proposing to expand the Group                    sources would begin participating in the               control stringencies.
                                                3 trading program to include the                        Group 3 trading program on the later of                   In this rulemaking, the EPA believes
                                                following states and Indian country                     May 1, 2023, or the final rule’s effective             the previous concern about the
                                                within the borders of the states:                       date. However, in the case of the states
                                                                                                                                                               possibility that certain states might not
                                                Alabama, Arkansas, Delaware,                            (and Indian country within the states’
                                                                                                                                                               make the required emissions reductions
                                                Minnesota, Mississippi, Missouri,                       borders) whose sources do currently
                                                                                                                                                               is sufficiently addressed through the
                                                Nevada, Oklahoma, Tennessee, Texas,                     participate in the Group 2 trading
                                                                                                                                                               various proposed enhancements to the
                                                Utah, Wisconsin, and Wyoming. Any                       program—Alabama, Arkansas,
                                                                                                                                                               design of the trading program, even
                                                unit located in a newly added                           Mississippi, Missouri, Oklahoma,
                                                                                                                                                               where states have been assigned
                                                jurisdiction that meets the existing                    Tennessee, Texas, and Wisconsin—EPA
                                                                                                                                                               differing emissions control stringencies.
                                                applicability criteria for the Group 3                  proposes that the sources would begin
                                                                                                                                                               First, the existing assurance provisions
                                                trading program would become an                         participating in the Group 3 trading
                                                                                                                                                               would be substantially strengthened
                                                affected unit under the program, as                     program on May 1, 2023, regardless of
                                                                                                        the final rule’s effective date, subject to            through the addition of the unit-specific
                                                discussed in Section VII.B.3 of this                                                                           secondary emissions limitations
                                                proposed rule.                                          transitional provisions designed to
                                                                                                        ensure that the increased stringency of                discussed in Sections VII.B.1.c.ii and
                                                   CSAPR, the CSAPR Update, and the                                                                            VII.B.8 of this proposed rule. Second, by
                                                Revised CSAPR Update also applied to                    the Group 3 trading program as revised
                                                                                                        in this rulemaking would not                           ensuring that individual units operate
                                                sources in Indian country, although,                                                                           their emissions controls effectively, the
                                                when those rules were issued, no                        substantively affect the sources’
                                                                                                        requirements prior to the rule’s effective             unit-specific backstop daily emissions
                                                existing EGUs within the regions                                                                               rate provisions discussed in Sections
                                                covered by the rules were located on                    date. This approach provides a simpler
                                                                                                        transition for the sources currently                   VII.B.1.c.i and VII.B.7 of this proposed
                                                lands that the EPA understood at the                                                                           rule would necessarily also ensure that
                                                time to be Indian country.259 In contrast,              covered by the Group 2 trading program
                                                                                                        than the alternative approach of being                 required emissions reductions occur
                                                within the proposed geographic scope of                                                                        within the state. With these
                                                                                                        required to switch from the Group 2
                                                this rulemaking, the EPA is aware of                                                                           enhancements to the design of the
                                                                                                        trading program to the Group 3 trading
                                                areas of Indian country within the                                                                             trading program, the EPA does not
                                                                                                        program in the middle of a control
                                                borders of both Utah and Oklahoma                                                                              believe it would be necessary for
                                                                                                        period, and it is the same approach that
                                                with existing EGUs that would meet the                                                                         sources in Alabama, Delaware, and
                                                                                                        was followed for sources that
                                                program’s applicability criteria. Issues                                                                       Tennessee to be excluded from the
                                                                                                        transitioned from the Group 2 trading
                                                related to state, tribal, and federal                                                                          revised Group 3 trading program simply
                                                                                                        program to the Group 3 trading program
                                                jurisdiction with respect to sources in                                                                        because their emissions budgets would
                                                                                                        in 2021 under the Revised CSAPR
                                                Indian country in general and in these                                                                         reflect a different selected emissions
                                                                                                        Update. Section VII.B.11 of this
                                                areas in particular are discussed in                    proposed rule contains further                         control stringency than the other states
                                                Section IV.C.2 of this proposed rule.                   discussion of the rationale for this                   in the program.
                                                                                                                                                                  The EPA requests comment on the
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                                                  259 CSAPR and the CSAPR Update both applied
                                                                                                        approach and the specific proposed
                                                to EGUs located in areas within Oklahoma’s borders      transitional provisions.                               proposed expansion of the geographic
                                                that are now understood to be Indian country,              The EPA notes that under the                        scope of the Group 3 trading program to
                                                consistent with the U.S. Supreme Court’s decision       proposed rule, the expanded Group 3                    include the states and areas of Indian
                                                in McGirt v. Oklahoma, 140 S. Ct. 2452 (2020) (and      trading program would include not only                 country identified above. The EPA also
                                                subsequent case law), clarifying the extent of
                                                certain Indian country within Oklahoma’s borders.
                                                                                                        the 22 states for which the EPA is                     requests comment on the proposed
                                                However, those rules were issued before the McGirt      proposing to determine that the required               timing under which the two sets of
                                                decision. See Section IV.C.2.a.                         control stringency includes, among                     states and Indian country within the


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                                                respective states’ borders would be                                    The EPA is not proposing in this                                                the Agency believes that all such units
                                                added to the program.                                               rulemaking to revise the existing                                                  are likely to meet the applicability
                                                                                                                    applicability provisions for the Group 3                                           criteria for the Group 3 trading program.
                                                3. Applicability and Tentative                                      trading program. Thus, any unit that is
                                                Identification of Newly Affected Units                                                                                                                    Because the applicability criteria for
                                                                                                                    located in a newly added state and that                                            the Acid Rain Program and the Group 3
                                                   The Group 3 trading program                                      meets the existing applicability criteria                                          trading program are not identical, it is
                                                generally applies to any stationary,                                for the Group 3 trading program would                                              possible that some units could meet the
                                                fossil-fuel-fired boiler or stationary,                             become an affected unit under the                                                  applicability criteria for one program
                                                fossil fuel-fired combustion turbine                                program. The fact that the applicability
                                                                                                                                                                                                       but not the other. Using data reported to
                                                                                                                    criteria for all of the CSAPR trading
                                                located in a covered state (or Indian                                                                                                                  the U.S. Energy Information
                                                                                                                    programs are identical therefore is
                                                country within the borders of a covered                                                                                                                Administration, the EPA has identified
                                                                                                                    sufficient to establish that any units that
                                                state) and serving at any time on or after                                                                                                             10 sources in Delaware, Nevada, Utah,
                                                                                                                    are currently required to participate in
                                                January 1, 2005, a generator with                                                                                                                      and Wyoming (and Indian country
                                                                                                                    another CSAPR trading program in any
                                                nameplate capacity exceeding 25 MW                                                                                                                     within the borders of the states) with 27
                                                                                                                    of the proposed additional states where
                                                and producing electricity for sale, with                            such other programs currently are in                                               units that appear to meet the general
                                                exemptions for certain cogeneration                                 effect—Alabama, Arkansas, Minnesota,                                               applicability criteria for the Group 3
                                                units and certain solid waste                                       Mississippi, Missouri, Oklahoma,                                                   trading program and that either (1) do
                                                incineration units. To qualify for an                               Tennessee, Texas, and Wisconsin                                                    not currently report NOX emissions and
                                                exemption as a cogeneration unit, an                                (including Indian country within the                                               operating data to the EPA under the
                                                otherwise-affected unit generally (1)                               borders of such states)—would also                                                 Acid Rain Program or (2) currently
                                                must be designed to produce electricity                             become subject to the Group 3 trading                                              report NOX emissions and operating
                                                and useful thermal energy through the                               program.                                                                           data to the EPA under the Acid Rain
                                                sequential use of energy, (2) must                                     In the proposed additional states                                               Program and also report the capability
                                                convert energy inputs to energy outputs                             where other CSAPR trading programs                                                 to produce both electricity and useful
                                                with efficiency exceeding specified                                 are not currently in effect—Delaware,                                              thermal energy. These units are listed in
                                                minimum levels, and (3) may not                                     Nevada, Utah, and Wyoming (including                                               Table VII.B.3–1 of this proposed rule.
                                                produce electricity for sale in amounts                             Indian country within the borders of                                               For each of these units, the table shows
                                                above specified thresholds. To qualify                              such states)—units already subject to                                              the estimated historical heat input and
                                                for an exemption as a solid waste                                   the Acid Rain Program generally would                                              emissions data that the EPA proposes to
                                                incineration unit, an otherwise-affected                            also meet the applicability criteria for                                           use for the unit when determining state
                                                unit generally (1) must meet the CAA                                the Group 3 trading program, especially                                            emissions budgets if the unit is
                                                section 129(g)(1) definition of a ‘‘solid                           if the units are not capable of producing                                          ultimately treated as subject to the
                                                waste incineration unit’’ and (2) may                               both electricity and useful thermal                                                Group 3 trading program.260 The EPA
                                                not consume fossil fuel in amounts                                  energy. Based on a preliminary                                                     currently lacks sufficient information to
                                                above specified thresholds. The                                     screening analysis of the units in these                                           determine whether any of the units
                                                complete text of the Group 3 trading                                states that currently report emissions                                             listed in the table meets all of the
                                                program’s applicability provisions and                              and operating data to the EPA under the                                            relevant criteria to qualify for an
                                                the associated definitions can be found                             Acid Rain Program and that do not                                                  exemption from the Group 3 trading
                                                at 40 CFR 97.1004 and 97.1002,                                      report the capability to produce both                                              program as a cogeneration unit or a
                                                respectively.                                                       electricity and useful thermal energy,                                             solid waste incineration unit.
                                                                          TABLE VII.B.3–1—SELECTED EXISTING UNITS THAT COULD BE AFFECTED UNDER PROPOSAL
                                                                                                                                                                                                                                         Estimated
                                                                                                                                                                                                                         Estimated         ozone
                                                                                                                                                                                                                           ozone           season
                                                                                                                                                                                                    Unit
                                                                State                       Facility ID                Facility name                               Unit ID                                                 season      average NOX    Notes
                                                                                                                                                                                                    type                 heat input      emissions
                                                                                                                                                                                                                          (mmBtu)           rate
                                                                                                                                                                                                                                        (lb/mmBtu)

                                                Delaware ...............................            591    Christiana ..............................      11 .........................    CT .........................         1,974         0.2594           1
                                                Delaware ...............................            591    Christiana ..............................      14 .........................    CT .........................         1,816         0.2027           1
                                                Delaware ...............................          52193    Delaware City Refinery .........               DCPP2 .................         Boiler ....................        872,824         0.0176           2
                                                Delaware ...............................          52193    Delaware City Refinery .........               DCPP3 .................         Boiler ....................      2,380,430         0.0169           2
                                                Delaware ...............................          52193    Delaware City Refinery .........               DCPP4 .................         Boiler ....................      1,374,817         0.0438       2, 3
                                                Delaware ...............................          52193    Delaware City Refinery .........               MECCU1 ..............           CT .........................     1,679,396         0.0070           2
                                                Delaware ...............................          52193    Delaware City Refinery .........               MECCU2 ..............           CT .........................     1,679,396         0.0062           2
                                                Delaware ...............................           7153    Hay Road ..............................        1 ...........................   CT .........................     1,354,272         0.0685           1
                                                Delaware ...............................           7153    Hay Road ..............................        2 ...........................   CT .........................     1,311,286         0.0663           1
                                                Nevada ..................................          2322    Clark ......................................   GT4 ......................      CT .........................       190,985         0.0475   ..........
                                                Nevada ..................................          2322    Clark ......................................   GT5 ......................      CT .........................     1,455,741         0.0191   ..........
                                                Nevada ..................................          2322    Clark ......................................   GT6 ......................      CT .........................     1,455,741         0.0187   ..........
                                                Nevada ..................................          2322    Clark ......................................   GT7 ......................      CT .........................     1,455,741         0.0178   ..........
                                                Nevada ..................................          2322    Clark ......................................   GT8 ......................      CT .........................     1,455,741         0.0204   ..........
                                                Nevada ..................................         54350    Nev. Cogen. Assoc. 1—Gar-                      GTA ......................      CT .........................       660,100         0.0377       2, 4
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                                                                                                             net Val.

                                                  260 As discussed in Section VII.B.10.b of this                    allowance holding requirements under the Group 3                                   program until the 2024 control period. As indicated
                                                proposed rule, the EPA expects that any unit that                   trading program until May 1, 2024, because of the                                  in the notes to Table VII.B.3–1 of this proposed
                                                becomes subject to the Group 3 trading program                      minimum time interval allowed for installation and                                 rule, six of the listed units have reported to the
                                                pursuant to a final rule in this rulemaking and that                certification of the required monitoring systems.                                  Energy Information Administration that they plan
                                                does not already report emissions data to the EPA                   Such a unit would not be taken into account for
                                                                                                                                                                                                       to retire in 2023.
                                                in accordance with 40 CFR part 75 would not be                      purposes of determining state emissions budgets
                                                required to report emissions data or be subject to                  and unit-level allocations under the Group 3 trading



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                                                               TABLE VII.B.3–1—SELECTED EXISTING UNITS THAT COULD BE AFFECTED UNDER PROPOSAL—Continued
                                                                                                                                                                                                                                          Estimated
                                                                                                                                                                                                                         Estimated          ozone
                                                                                                                                                                                                                           ozone            season
                                                                                                                                                                                                    Unit
                                                                  State                        Facility ID               Facility name                             Unit ID                                                 season       average NOX    Notes
                                                                                                                                                                                                    type                 heat input       emissions
                                                                                                                                                                                                                          (mmBtu)            rate
                                                                                                                                                                                                                                         (lb/mmBtu)

                                                Nevada ..................................            54350    Nev. Cogen. Assoc. 1—Gar-                   GTB ......................      CT .........................       660,100          0.0387      2, 4
                                                                                                                net Val.
                                                Nevada ..................................            54350    Nev. Cogen. Assoc. 1—Gar-                   GTC ......................      CT .........................       660,100          0.0387      2, 4
                                                                                                                net Val.
                                                Nevada ..................................            54349    Nev. Cogen. Assoc. 2—Black                  GTA ......................      CT .........................       749,778          0.0323      2, 4
                                                                                                                Mtn.
                                                Nevada ..................................            54349    Nev. Cogen. Assoc. 2—Black                  GTB ......................      CT .........................       749,778          0.0370      2, 4
                                                                                                                Mtn.
                                                Nevada ..................................            54349    Nev. Cogen. Assoc. 2—Black                  GTC ......................      CT .........................       749,778          0.0364      2, 4
                                                                                                                Mtn.
                                                Nevada ..................................            56405    Nevada Solar One .................          HI ..........................   Boiler ....................         479,452         0.1667   ..........
                                                Nevada ..................................            54271    Saguaro .................................   CTG1 ....................       CT .........................      1,383,149         0.0314           2
                                                Nevada ..................................            54271    Saguaro .................................   CTG2 ....................       CT .........................      1,383,149         0.0301           2
                                                Utah .......................................         50951    Sunnyside ..............................    1 ...........................   Boiler ....................       1,888,174         0.1715   ..........
                                                Wyoming ................................             56312    Shute Creek ..........................      021A .....................      CT .........................      1,000,050         0.0081           2
                                                Wyoming ................................             56312    Shute Creek ..........................      021B .....................      CT .........................      1,000,050         0.0093           2
                                                Wyoming ................................             56312    Shute Creek ..........................      021C .....................      CT .........................      1,000,050         0.0084           2
                                                   Table notes:
                                                   1 Unit already reports NO emissions and heat input data to the EPA under 40 CFR part 75 to comply with SIP requirements.
                                                                              X
                                                   2 Unit reports capability of producing both electricity and useful thermal energy.
                                                   3 Unit already reports NO emissions and heat input data to EPA under 40 CFR part 75 for the Acid Rain Program.
                                                                              X
                                                   4 Unit has reported a planned retirement date of March 2023 to the Energy Information Administration.




                                                  The EPA requests comment on which                                    following year, then the state emissions                                        (reflected by unit heat input) is
                                                existing units in Delaware, Nevada,                                    budget for 2024 will reflect these                                              dynamic. Multiplying the assumed
                                                Utah, and Wyoming and Indian country                                   scheduled changes by establishing a                                             emissions rate for each unit by the heat
                                                within the borders of such states would                                budget of 5,000 tons¥100 tons + 50 tons                                         input for each unit and summing the
                                                or would not meet the applicability                                    = 4,950 tons for the subsequent year.                                           results to the state level would provide
                                                criteria for the Group 3 trading program.                                 In the Revised CSAPR Update, the                                             a given year’s state emissions budget,
                                                In addition, with respect to each of the                               EPA included announced fleet changes                                            and thus under this approach the state
                                                units listed in Table VII.B.3–1 of this                                in state emissions budgets. Several                                             emissions budgets would be dynamic as
                                                proposed rule, the EPA requests                                        commenters applauded the merit of this                                          well.
                                                comment, with supporting data, on                                      approach and the importance of                                                     The EPA is proposing a dynamic
                                                whether the unit would or would not                                    establishing emissions budgets that                                             budget approach in this rule, where
                                                meet all relevant criteria set forth in 40                             were robust to an evolving fleet while                                          emissions budgets starting in the 2025
                                                CFR 97.1004 and the associated                                         noting that ‘‘fleet composition is                                              control period and beyond will be
                                                definitions in 97.1002 to qualify for an                               changing constantly and can be                                                  determined through ministerial actions
                                                exemption from the trading program as                                  exceedingly difficult to project’’ leading                                      subsequent to this rule’s promulgation
                                                a cogeneration unit or a solid waste                                   to overstated emissions budgets to the                                          and based upon the formula described
                                                incineration unit (however, see Section                                extent that future retirements were not                                         in this rule. This rule will determine the
                                                VI.B.3 of this proposed rule). The EPA                                 announced at the time of rule                                                   mitigation strategies, respective
                                                also requests comment, with supporting                                 promulgation. Commenters added that                                             emissions rates, and formulas and
                                                data, on whether the estimated                                         ‘‘to address this problem and prevent                                           methodologies to be applied to future
                                                historical heat input and emissions data                               future unknown retirements from                                                 year data, with which the EPA will
                                                identified for the units in Table VII.B.3–                             exacerbating this issue, the final rule                                         perform ministerial actions to calculate
                                                1 of this proposed rule are                                            should include a provision to make                                              emissions budgets for control periods in
                                                representative for the respective units.                               additional adjustments to the NOX                                               2025 and each year thereafter. (Such
                                                                                                                       budgets based on newly discovered fleet                                         actions will be publicly announced
                                                4. New and Revised State Emissions
                                                                                                                       changes.’’ 261 Commenters were                                                  through notices of data availability
                                                Budgets
                                                                                                                       suggesting a dynamic budget approach                                            (NODAs), similar to how other periodic
                                                   The EPA is quantifying budgets or                                   where the mitigation measures and                                               ministerial actions to implement the
                                                budget formulas specific to each year to                               control stringencies that constituted                                           trading programs are currently handled.
                                                ensure that EGUs continue to be                                        removal of significant contribution                                             And as with such other actions,
                                                incentivized to implement the full                                     would be identified in a final rule, but                                        interested parties will have the
                                                extent of EPA’s selected control                                       the future year state budgets would be                                          opportunity to seek corrections or
                                                stringency for future control periods. By                              dynamic as the EPA applied those                                                administrative adjudication under 40
                                                doing so, the EPA is accounting for both                               stringency assumptions to future year                                           CFR part 78 if they believe any data
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                                                scheduled and not-yet-scheduled fleet                                  fleet composition data as it became                                             used in making these calculations, or
                                                turnover in future years. For instance, if                             available. While the stringency                                                 the calculations themselves, are in
                                                State X’s budget was 5,000 tons in 2023                                (reflected by assumed emissions rate for                                        error.) In this manner, the state
                                                but there are 100 tons of emissions from                               a mitigation technology), would be                                              emissions budgets ultimately
                                                a unit scheduled to retire at the end of                               constant, the fleet composition                                                 implemented for each such future
                                                that year and 50 tons expected from a                                                                                                                  control period will be a product of the
                                                new unit coming online by the                                             261 EPA–HQ–OAR–2020–0272–0094.                                               data and formula promulgated in this


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                                                action applied to future year reported                                                  that retirement. If the EPA took an                    one of the state’s coal-fired units in late
                                                data that is closer to that future control                                              alternative approach of computing the                  2023. However, the dynamic budget
                                                period and therefore more                                                               2025 budget with available data at the                 would use 2024 heat input values as
                                                representative of the fleet for that future                                             time final rule analysis was being                     opposed to the 2021 heat input values
                                                control period. As such, the budgets                                                    conducted, this retirement would likely                as the latest representative values to
                                                will more accurately reflect power                                                      not be captured in the 2025 state                      inform the 2026 state emissions budget.
                                                sector composition in that future year                                                  emissions budget, which would lead to                  Therefore, the heat input values in
                                                and will therefore better achieve the                                                   a budget that did not fully reflect the                column 2 under the dynamic scenario
                                                desired environmental outcome over                                                      application of the identified control                  reflect the change in fleet composition,
                                                time.                                                                                   stringency. This approach has the                      and when multiplied by the relevant
                                                   For instance, 2025 budgets will be                                                   advantage of mitigating uncertainty                    identified control stringency (to be
                                                identified by May 1, 2024, using the                                                    regarding future retirements, new
                                                latest available reported operational                                                                                                          identified when this rule is finalized),
                                                                                                                                        builds, and existing fleet operational/
                                                data at that time (2023 heat input data                                                                                                        the corresponding tonnage (15,000 tons)
                                                                                                                                        dispatch changes in response to EGU
                                                and fleet inventory) along with the                                                     inventory changes.                                     summed in column 4 constitutes a state
                                                formulas and emissions rates quantified                                                    The example below illustrates the                   budget that better reflects the identified
                                                in this rule. Therefore, if a unit retires                                              effectiveness of the dynamic budget. In                control stringency applied to the fleet
                                                in early 2023 but had not announced its                                                 the preset budget approach for 2026, the               composition for that year as opposed to
                                                upcoming retirement at the time of rule                                                 2026 heat input is estimated based on                  the 17,000 tons in summed in the first
                                                finalization, the dynamic budget                                                        the latest available heat input data at the            table. As illustrated in the example, the
                                                approach would ensure that the budgets                                                  time of rule promulgation (e.g., 2021),                dynamic variable is the heat input
                                                for future control periods starting in                                                  which cannot reflect a subsequent fleet                variable which changes over time to
                                                2025 would reflect the identified control                                               change in heat input values (column 2)                 reflect the most representative EGU
                                                stringency applied to a fleet that reflects                                             due to an unanticipated retirement of                  fleet.


                                                                                                                                   Preset Budget Appraoch (2026)                       Dynamic Budget Approach (2026)
                                                          I - • -~~~y • - •• ? . . ~   -··   ~---=-~-~-•~~"-~"'~~~-~~~---- ~-
                                                                                                                                                        Preset
                                                                                                                                           Preset                                                                   Updated Tons
                                                                                                                                Preset                  Tons (Heat                Updated         Emissions
                                                                                                                                           Emissions                                                                (Heat Input X
                                                                                                                                Heat Input              input X                   Heat Input      Rate
                                                                                                                                           Rate                                                                     Emissions
                                                                                                                                (tBtu)                  Emissions                 (tBtu)          0b/mmBtu)
                                                                                                                                           0b/mmBtu)                                                                Rate)/2OOO
                                                                                                                                                        Rate)/2OOO
                                                           Coal Units                                                                  600         0.05      15,000                         500              0.05               12,500
                                                           Gas Units                                                                   400         0.01        2,000                        500              0.01                2,500
                                                           State Budget (tons)                                                                               17,000                                                             15,000


                                                   The EPA requests comment on this                                                     Proposed Rule TSD and summarized                       level emissions control technologies
                                                dynamic budget approach, including the                                                  below.                                                 identified in this control stringency, adjust
                                                methodology, the start year, and the                                                                                                           the baseline unit-level emissions and
                                                                                                                                        a. Methodology for Determining Preset                  emissions rates. For example, if an SCR-
                                                impacts.                                                                                State Emissions Budgets for the 2023                   controlled coal unit had a baseline emissions
                                                   With regard to the state emissions                                                   and 2024 Control Periods                               rate greater than 0.08 lb/mmBtu, its
                                                budgets for the 2023 and 2024 control                                                                                                          emissions rate and corresponding emissions
                                                                                                                                           For determining state emissions                     would be adjusted down to levels reflecting
                                                periods promulgated in this rule, the                                                   budgets, the EPA generally uses                        its operation at 0.08 lb/mmBtu.
                                                EPA is using the best available data at                                                 historical ozone season data from the                     (3) Incorporate generation shifting—Use
                                                the time of the proposed rule regarding                                                 2021 ozone season, the most recent data                IPM in a relative way to capture the
                                                retirements and new builds. The EPA                                                     and therefore the most representative of               reductions expected from generation shifting
                                                relies on a compilation of data from                                                    near-term fleet conditions. This is                    (constrained to within each state) at the
                                                DOE EIA Form 860 (where facilities                                                                                                             representative dollar per ton level
                                                                                                                                        similar to the approach taken in the                   corresponding to the selected control
                                                report their future retirement plans) and                                               CSAPR Update where the EPA began                       stringency.
                                                information included in the Agency’s                                                    with 2015 data (the most recent year at
                                                NEEDS database. This information is                                                     the time). As in the CSAPR Update, the                   By using historical unit and state-
                                                considered to be highly reliable, real-                                                 EPA combined historical data with IPM                  level NOX emissions rates, heat input,
                                                world information that provides the                                                     data to determine emissions budgets as                 and emissions data in the first stage of
                                                EPA with high confidence that such                                                      follows:                                               budget setting process outlined above,
                                                retirements will in fact occur. EPA plans                                                                                                      the EPA is grounding its budgets in the
                                                                                                                                          (1) Determine a future year baseline—Start           most recent representative historical
                                                to update this data on retirements and                                                  with the latest reported historical unit-level
                                                new builds at final rule using the latest                                                                                                      operation for the covered units.262 This
                                                                                                                                        data (e.g., 2021), and adjust any unit data
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                                                information available from these sources                                                                                                       dataset is a reasonable starting point for
                                                                                                                                        where a retirement, a new build, a coal-to-gas
                                                at that time as well as input provided by                                               conversion, or a SCR retrofit is known to
                                                                                                                                                                                                  262 The EPA notes that historical state-level ozone
                                                commenter.                                                                              occur by the baseline year. This results in a
                                                                                                                                                                                               season EGU NOX emissions rates are publicly
                                                                                                                                        future year (e.g., 2023) baseline for emissions        available and quality assured data. They are
                                                   EPA’s emissions budget methodology                                                   budget purposes.                                       monitored using CEMS or other methodologies
                                                and formula for establishing Group 3                                                      (2) Factor in additional emissions controls          allowed for use by qualifying units under 40 CFR
                                                budgets are described in detail in the                                                  for the selected control stringency for the            part 75 and are reported to the EPA directly by
                                                                                                                                                                                                                                                        EP06AP22.001</GPH>




                                                Ozone Transport Policy Analysis                                                         given state in the given year—For the unit-            power sector sources.



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                                                the budget-setting process as it reflects               shifting in more detail in Section VI.B                emissions budgets, the EPA would use the
                                                the latest data reported by affected                    of this proposed rule and in the Ozone                 newly available 2023 heat input data rather
                                                facilities under 40 CFR part 75. The                    Transport Policy Analysis Proposed                     than 2021 heat input data). Doing so would
                                                                                                                                                               capture the latest operational data reflecting
                                                reporting requirements include quality                  Rule TSD. In this rule, as a proxy for the
                                                                                                                                                               new builds and retirements. This would
                                                control measures, verification measures,                near-term reductions required in 2023                  yield a future year (e.g., 2025) baseline for
                                                and instrumentation to best record and                  and 2024, the EPA has constrained                      emissions budget purposes.
                                                report the data. In addition, the                       generation shifting to occur only within-                (2) Factor in additional emissions controls
                                                designated representatives of EGU                       state. The EPA also estimates emissions                for the selected control stringency for the
                                                sources are required to attest to the                   reductions associated with generation                  given state in the given year—For the unit-
                                                accuracy and completeness of the data.                  shifting in 2025 and 2026 for purposes                 level emissions reduction measures
                                                The EPA adjusted the 2021 ozone-                        of the illustrative state budgets, but as              identified in the selected control stringency,
                                                season data to reflect committed fleet                  explained below, the dynamic budget                    adjust the baseline unit-level emissions and
                                                                                                                                                               emissions rates. This step would be nearly
                                                changes under a baseline scenario (i.e.,                process to determine budgets for those
                                                                                                                                                               the same for control periods in 2025 and
                                                announced and confirmed retirements,                    years will incorporate emissions                       beyond as for the 2023 and 2024 control
                                                new builds, and retrofits that have                     reductions attributable to generation                  periods, the only difference being that as
                                                already occurred). For example, if a unit               shifting through the inclusion of newly                described in Section VI.D of this proposed
                                                emitted in 2021, but retired in 2022, its               reported unit-level data from the future               rule, for each control period from 2026
                                                2021 emissions would not be included                    compliance periods.                                    onward, the unit-specific emissions rates
                                                in the 2023 baseline estimate. For units                                                                       assumed for all affected states except
                                                                                                        b. Methodology for Determining                         Alabama, Delaware, and Tennessee will
                                                that had no known changes, the 2023
                                                                                                        Dynamic State Emissions Budgets for                    reflect the selected control stringency that
                                                baseline emissions assumption was the
                                                                                                        Control Periods in 2025 Onwards                        incorporates post-combustion control retrofit
                                                actual reported data from 2021. The
                                                                                                           The methodology for determining                     opportunities for the relevant units identified
                                                EPA also included known new units                                                                              in the state emissions budgets and
                                                and scheduled retrofits in this manner.                 state emissions budgets for later control              calculations appendix to the Ozone
                                                Using this method, the EPA arrived at                   periods (2025 and beyond) is nearly                    Transport Policy Analysis Proposed Rule
                                                a baseline emission, heat input, and                    identical to the process for quantifying               TSD. These rates would be defined in this
                                                emissions rate estimate for each unit for               preset budgets in 2023 and 2024                        rule and would not change subsequently.
                                                a future year (e.g., 2023), and then was                described earlier; it is just applied at a             They would not be applied until 2026, based
                                                able to aggregate those unit-level                      later date and applied to the most recent              on the time necessary to install these
                                                estimates to state-level totals. These                  representative operational available at                mitigation technologies as discussed in
                                                                                                        that time. The EPA will issue by                       Sections VI.B, VI.C, and VII.A of this
                                                state-level totals constituted the state’s                                                                     proposed rule.
                                                baseline from an engineering analytics                  ministerial action these dynamic budget
                                                                                                                                                                 (3) Incorporate generation shifting—This
                                                perspective. The ozone-season state-                    quantifications approximately 1 year                   step would be automatically captured in
                                                level emissions, heat input, and                        before the relevant control period. For                dynamic budget calculations as generation
                                                emissions rates for covered sources                     instance, starting in early 2024, the EPA              shifting in a compliance scenario would no
                                                under a baseline scenario were                          would take the most recent 2023 ozone                  longer have to be projected by IPM and
                                                determined for each future year                         season data, calculate 2025 state                      incorporated into the state budgets through
                                                examined that receives a preset budget                  emissions budgets using the                            an additional calculation. Instead, it would
                                                under this proposed rule (2023 and                      methodology below and update its unit-                 be embodied in the newly reported heat
                                                                                                        level and state-level state emissions                  input data described above and that is used
                                                2024).                                                                                                         to determine the dynamic budgets.
                                                   The EPA then examined how the                        budget files that will be released when
                                                baseline emissions and emissions rates                  this rule is finalized (and for which the                Additional details, corresponding
                                                would change under different control                    EPA has included in this proposed rule                 data and formulas, and examples for the
                                                stringencies for EGUs. For instance,                    current examples for public comment).                  dynamic budget are described in the
                                                under the SCR optimization scenario, if                 By March 1 of 2024, and each year                      Ozone Transport Policy Analysis
                                                a unit was not operating its SCR at 0.08                thereafter, the EPA would make                         Proposed Rule TSD.
                                                lb/mmBtu or lower in the baseline, the                  publicly available (in manner similar to
                                                                                                                                                               c. Proposed and Illustrative State
                                                EPA lowered that unit’s assumed                         data and preliminary computations for
                                                                                                                                                               Emissions Budgets
                                                emissions rate to 0.08 lb/mmBtu and                     allocations from new unit set-asides) the
                                                calculated the impact on the unit’s and                 preliminary state emissions budgets and                   For each covered state (and Indian
                                                state’s emissions rate and emissions.                   unit-level allocations for the subsequent              country within the state’s borders),
                                                Note that the heat input is held constant               control period (e.g., 2025) and would                  preset budgets are established for the
                                                for the unit in the process, reflecting the             provide stakeholders with a 30-day                     two individual control periods 2023 and
                                                same level of unit operation compared                   opportunity to submit any objections to                2024. For 2025 and beyond, the
                                                to historical 2021 data. An improved                    the updated data and computations. By                  dynamic budget formula promulgated in
                                                emissions rate is then applied to this                  May 1 of 2024, and each year thereafter,               this proposed rule would be applied to
                                                heat input, reflecting control                          the EPA would issue the final budgets                  future year data to quantify state
                                                optimization. In this manner, the state-                and allowance allocations for the next                 emissions budgets for those control
                                                level baseline totals reflecting known                  control period (e.g., 2025).                           periods. The proposed default
                                                changes were adjusted to reflect the                       The differences to each of the formula              procedures for allocating the allowances
                                                additional application of the assumed                   steps to calculate dynamic budgets for                 from each state budget among the units
                                                                                                                                                               in each state (and Indian country within
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                                                control technology at a given control                   control periods in 2025 and beyond,
                                                stringency.                                             relative to the calculation of preset                  the state’s borders) are described in
                                                   Finally, the EPA used IPM to capture                 budgets for the 2023 and 2024 control                  Section VII.B.9 of this proposed rule.
                                                any generation shifting at a given                      periods, are described later:                          The amounts of the proposed state
                                                control stringency necessary for the                      (1) Determine a future year baseline—At              emissions budgets for the 2023 and 2024
                                                majority of the respective emissions                    this step, the EPA would start with the latest         control periods are shown in Table
                                                control technology to operate. The EPA                  reported historical unit-level heat input data         VII.B.4.c–1. Table VII.B.4.c–2 shows
                                                explains how it accounts for generation                 available at that time (e.g., for 2025 state           illustrative state emissions budgets for


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                                                the 2025 and 2026 control periods                                             proposal, the implemented state                                                  the emissions control stringencies
                                                derived by applying the identified                                            emissions budgets for these years will                                           finalized in the rulemaking combined
                                                control stringency to the most recent                                         be determined at a future date through                                           with the latest available data on the
                                                historical data, but these budgets are                                        application of the proposed budget-                                              composition and utilization of the EGU
                                                only illustrative because, under the                                          setting methodology to data that reflect                                         fleet.

                                                TABLE VII.B.4.C–1—PROPOSED CSAPR NOX OZONE SEASON GROUP 3 STATE EMISSIONS BUDGETS FOR THE 2023 AND
                                                                                     2024 CONTROL PERIODS a b
                                                                                                                                                                                                                 Proposed emissions   Proposed emissions
                                                                                                                                                                                                                  budgets for 2023     budgets for 2024
                                                                                                                         State                                                                                      control period       control period
                                                                                                                                                                                                                        (tons)               (tons)

                                                Alabama ...............................................................................................................................................                       6,364                6,306
                                                Arkansas ..............................................................................................................................................                       8,889                8,889
                                                Delaware ..............................................................................................................................................                         384                  434
                                                Illinois ...................................................................................................................................................                  7,364                7,463
                                                Indiana .................................................................................................................................................                    11,151                9,391
                                                Kentucky ..............................................................................................................................................                      11,640               11,640
                                                Louisiana ..............................................................................................................................................                      9,312                9,312
                                                Maryland ..............................................................................................................................................                       1,187                1,187
                                                Michigan ...............................................................................................................................................                     10,718               10,718
                                                Minnesota ............................................................................................................................................                        3,921                3,921
                                                Mississippi ............................................................................................................................................                      5,024                4,400
                                                Missouri ................................................................................................................................................                    11,857               11,857
                                                Nevada .................................................................................................................................................                      2,280                2,372
                                                New Jersey ..........................................................................................................................................                           799                  799
                                                New York .............................................................................................................................................                        3,763                3,763
                                                Ohio .....................................................................................................................................................                    8,369                8,369
                                                Oklahoma .............................................................................................................................................                       10,265                9,573
                                                Pennsylvania ........................................................................................................................................                         8,855                8,855
                                                Tennessee ...........................................................................................................................................                         4,234                4,234
                                                Texas ...................................................................................................................................................                    38,284               38,284
                                                Utah .....................................................................................................................................................                   14,981               15,146
                                                Virginia .................................................................................................................................................                    3,090                2,814
                                                West Virginia ........................................................................................................................................                       12,478               12,478
                                                Wisconsin .............................................................................................................................................                       5,963                5,057
                                                Wyoming ..............................................................................................................................................                        9,125                8,573
                                                  Table Notes:
                                                  a The state emissions budget calculations pertaining to Tables VII.B.4.c–1 and VII.B.4.c–2 are described in greater detail in the Ozone Trans-
                                                port Policy Analysis Proposed Rule TSD. Budget calculations and underlying data are also available in Appendix A of that TSD.
                                                  b In the event a final rule in this rulemaking becomes effective after May 1, 2023, the emissions budgets and assurance levels for the 2023
                                                control period would be adjusted under the rule’s proposed transitional provisions to ensure that the increased stringency of the new budgets
                                                would apply only after the rule’s effective date, even though the revised Group 3 trading program would be implemented for most sources as of
                                                the start of the 2023 ozone season on May 1, 2023. The 2023 budget amounts shown in Table VII.B.4.c–1 do not reflect these possible adjust-
                                                ments. The transitional provisions are discussed in Section VII.B.11 of this proposed rule.

                                                  TABLE VII.B.4.C–2—ILLUSTRATIVE CSAPR NOX OZONE SEASON GROUP 3 STATE EMISSIONS BUDGETS FOR THE 2025
                                                                                        AND 2026 CONTROL PERIODS

                                                                                                                                                                                                                     Illustrative         Illustrative
                                                                                                                                                                                                                 emissions budgets    emissions budgets
                                                                                                                         State                                                                                         for 2025             for 2026
                                                                                                                                                                                                                   control period       control period
                                                                                                                                                                                                                         (tons)               (tons)

                                                Alabama ...............................................................................................................................................                       6,306                6,306
                                                Arkansas ..............................................................................................................................................                       8,889                3,923
                                                Delaware ..............................................................................................................................................                         434                  434
                                                Illinois ...................................................................................................................................................                  7,463                6,115
                                                Indiana .................................................................................................................................................                     8,714                7,791
                                                Kentucky ..............................................................................................................................................                      11,134                7,573
                                                Louisiana ..............................................................................................................................................                      9,179                3,752
                                                Maryland ..............................................................................................................................................                       1,187                1,189
                                                Michigan ...............................................................................................................................................                     10,759                6,114
                                                Minnesota ............................................................................................................................................                        3,910                2,536
                                                Mississippi ............................................................................................................................................                      4,400                1,914
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                                                Missouri ................................................................................................................................................                    10,456                7,246
                                                Nevada .................................................................................................................................................                      2,372                1,211
                                                New Jersey ..........................................................................................................................................                           799                  799
                                                New York .............................................................................................................................................                        3,763                3,238
                                                Ohio .....................................................................................................................................................                    8,369                8,586
                                                Oklahoma .............................................................................................................................................                        9,393                4,275
                                                Pennsylvania ........................................................................................................................................                         8,855                6,819
                                                Tennessee ...........................................................................................................................................                         4,008                4,008



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                                                  TABLE VII.B.4.C–2—ILLUSTRATIVE CSAPR NOX OZONE SEASON GROUP 3 STATE EMISSIONS BUDGETS FOR THE 2025
                                                                                   AND 2026 CONTROL PERIODS—Continued

                                                                                                                                                                                                                    Illustrative         Illustrative
                                                                                                                                                                                                                emissions budgets    emissions budgets
                                                                                                                        State                                                                                         for 2025             for 2026
                                                                                                                                                                                                                  control period       control period
                                                                                                                                                                                                                        (tons)               (tons)

                                                Texas ...................................................................................................................................................                   36,619               21,946
                                                Utah .....................................................................................................................................................                  15,146                2,620
                                                Virginia .................................................................................................................................................                   2,948                2,567
                                                West Virginia ........................................................................................................................................                      12,478               10,597
                                                Wisconsin .............................................................................................................................................                      4,198                3,473
                                                Wyoming ..............................................................................................................................................                       8,573                4,490



                                                5. Variability Limits and Assurance                                          emissions. In contrast, emissions above                                         EPA is proposing to revise the state
                                                Levels                                                                       the state’s assurance level for a given                                         emissions budgets for these control
                                                   Like each of the other CSAPR trading                                      control period are strongly discouraged                                         periods, the EPA proposes to determine
                                                programs, the Group 3 trading program                                        as inconsistent with the state’s good                                           the corresponding variability limits as
                                                currently includes assurance provisions                                      neighbor obligations and are subject to                                         21 percent of the revised budgets.
                                                designed to limit the total emissions                                        an overall 3-for-1 allowance surrender                                          However, for control periods after 2024,
                                                from the sources in each state (and                                          ratio. The establishment of assurance                                           the EPA is proposing a change to the
                                                                                                                             levels with associated extra allowance                                          methodology for determining the
                                                Indian country within the state’s
                                                                                                                             surrender requirements was intended to                                          variability limits. Specifically, the EPA
                                                borders) in each control period to an
                                                                                                                             respond to the D.C. Circuit’s holding in                                        proposes to determine each state’s
                                                amount close to the state’s emissions
                                                                                                                             North Carolina requiring the EPA to                                             variability limit for the control periods
                                                budget for the control period, consistent
                                                                                                                             ensure within the context of an                                                 in 2025 or a later year so that, instead
                                                with the good neighbor provision’s
                                                                                                                             interstate trading program that sources
                                                requirement that required emissions                                                                                                                          of always multiplying the state’s
                                                                                                                             in each state are required to address
                                                reductions must be achieved within the                                                                                                                       emissions budget for the control period
                                                                                                                             their good neighbor obligations within
                                                state, while allowing some flexibility                                                                                                                       by a value of 21 percent, the percentage
                                                                                                                             the state and may not simply shift those
                                                beyond the emissions budget to                                                                                                                               value used would be the higher of 21
                                                                                                                             obligations to other states by failing to
                                                accommodate year-to-year operational                                         reduce their own emissions and instead                                          percent or the percentage (if any) by
                                                variability beyond sources’ reasonable                                       surrendering surplus allowances                                                 which the total reported heat input of
                                                ability to control. For each state, the                                      purchased from sources in other                                                 the state’s affected EGUs in the control
                                                assurance provisions establish an                                            states.263                                                                      period exceeds the total reported heat
                                                assurance level for each control period,                                       In this rulemaking, the EPA is not                                            input of the state’s affected EGUs as
                                                defined as the sum of the state’s                                            proposing to alter the basic structure of                                       reflected in the state’s emissions budget
                                                emissions budget for the control period                                      the Group 3 trading program’s assurance                                         for the control period. For example, if
                                                plus a variability limit, which under the                                    provisions, which would continue to set                                         the total reported heat input of the
                                                existing Group 3 trading program                                             an assurance level for each control                                             state’s covered sources for the 2025
                                                regulations is 21 percent of the relevant                                    period equal to the state’s emissions                                           control period was 90 percent or 110
                                                state emissions budget. The purpose of                                       budget for the control period plus a                                            percent of the total reported heat input
                                                the variability limit is to account for                                      variability limit and would continue to                                         of the state’s covered sources for the
                                                year-to-year variability in EGU                                              apply a 3-for-1 surrender ratio to                                              2023 control period (i.e., the heat input
                                                operations, which can occur for a                                            emissions exceeding the state’s                                                 the EPA would have used in computing
                                                variety of reasons including changes in                                      assurance level.264 Each assurance level                                        the state’s 2025 emissions budget), then
                                                weather patterns, changes in electricity                                     also would continue to apply to the                                             the state’s variability limit for the 2025
                                                demand, and disruptions in electricity                                       collective emissions of all units within
                                                supply from other units or from the                                                                                                                          control period would be 21 percent of
                                                                                                                             the state and Indian country within the                                         the state’s emissions budget, while if the
                                                transmission grid. Because of the need                                       state’s borders.265 For the 2023 and 2024
                                                to account for such variability in                                                                                                                           total reported heat input of the state’s
                                                                                                                             control periods, the EPA proposes to
                                                operations of each state’s EGUs, the fact                                                                                                                    covered sources for the 2025 control
                                                                                                                             retain the Revised CSAPR Update’s
                                                that emissions from the state’s EGUs                                                                                                                         period was 130 percent of the total
                                                                                                                             methodology for determining each
                                                may exceed the state’s emissions budget                                      state’s variability limit as 21 percent of                                      reported heat input of the state’s
                                                for a given control period is not treated                                    the state’s emissions budget for the                                            covered sources for the 2023 control
                                                as inconsistent with satisfaction of the                                     control period, except that because the                                         period, then the state’s variability limit
                                                state’s good neighbor obligations as long                                                                                                                    for the 2025 control period would be 30
                                                as the total emissions from the EGUs                                            263 531 F.3d at 908.                                                         percent of the state’s emissions budget.
                                                remain below the state’s assurance level.                                      264 As discussed in Section VII.B.8 of this                                   The EPA expects that the minimum 21
                                                Emissions from a state’s EGUs above the                                      proposed rule, the EPA is also proposing to                                     percent would apply in almost all
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                                                                                                                             establish a new secondary emissions limitation for                              instances, and that the alternative,
                                                state’s emissions budget but below the                                       individual units that would apply in situations
                                                state’s assurance level are treated in the                                   where an exceedance of the relevant state’s                                     higher percentage value would apply
                                                same manner as emissions below the                                           assurance level has occurred.                                                   only in control periods where
                                                state’s emissions budget in that such                                          265 See 40 CFR 97.1002 (definitions of ‘‘common
                                                                                                                                                                                                             operational variability caused an
                                                                                                                             designated representative,’’ ‘‘common designated
                                                emissions are subject to the same                                            representative’s assurance level’’ and ‘‘common
                                                                                                                                                                                                             extreme increase relative to the earlier
                                                requirement to surrender allowances at                                       designated representative’s share’’), 97.1006(c)(2),                            year used in setting the state’s emissions
                                                a ratio of one allowance per ton of                                          and 97.1025.                                                                    budget, which would be a situation


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                                                meriting a temporarily higher variability               will never incur the 3-for-1 allowance                   have resulted in larger variability
                                                limit and assurance level.                              surrender ratio owed for emissions                       percentages.267 Based on the consistent
                                                   The purpose of the proposed revision                 exceeding its state’s assurance level is to              conclusions of these multiple analyses,
                                                to the variability limits is to better align            plan its operations so as to never allow                 the EPA proposes to continue using 21
                                                the variability limits for successive                   its own emissions to exceed its own                      percent as the fixed variability limit
                                                control periods with the regularly                      share of the state’s assurance level for                 percentage for the 2023 and 2024
                                                updated heat input data that would be                   the control period. Knowing that the                     control periods and as the minimum
                                                used in the proposed process for                        variability limit would always be at                     value in the revised approach for
                                                dynamically setting the state emissions                 least 21 percent would provide sources                   establishing variability limits for the
                                                budgets. Under EPA’s proposed budget-                   with values they could use for such                      control periods in 2025 and later years.
                                                setting process, each emissions budget                  planning purposes.                                         The EPA requests comment on the
                                                would be computed using the latest                         The EPA believes that 21 percent is a                 proposed rule to set variability limits for
                                                available reported heat input, which for                reasonable value to use as the fixed                     the 2023 and 2024 control periods as 21
                                                each budget set for a control period in                 variability limit for the 2023 and 2024                  percent of the respective revised state
                                                2025 or a later year would be the heat                  control periods and as the minimum                       emissions budgets, consistent with the
                                                input for the control period two years                  variability limit for the control periods                methodology used to determine the
                                                before the control period whose budget                  in 2025 and later years. To determine                    variability limits for these control
                                                is being determined (for example, the                   appropriate variability limits for the                   periods set in the Revised CSAPR
                                                state emissions budgets for the 2025                    trading programs established in CSAPR,                   Update. In addition, the EPA requests
                                                control period would be computed in                     the EPA analyzed historical state-level                  comment on whether to set higher
                                                early 2024 using the reported heat input                heat input variability over the period                   variability limits for Delaware and New
                                                for the 2023 control period). The                       from 2000 through 2010 as a proxy for                    Jersey for 2023 and 2024 based on the
                                                proposed revised variability limits                     emissions variability, assuming constant                 results of the most recent variability
                                                would be well coordinated with the                      emissions rates. See 76 FR 48265. Based                  analysis. The EPA also requests
                                                budgets established using this dynamic                  on that analysis, the variability limits                 comment on the proposed rule to
                                                budgeting process, because the                          for ozone season NOX in both CSAPR                       establish a revised methodology for
                                                percentage change in the actual heat                    and the CSAPR Update were set at 21                      setting variability limits for all states for
                                                input for the control period relative to                percent of each state’s budget, and these                control periods in 2025 and later years,
                                                the earlier-year heat input used in                     variability limits for the NOX ozone                     as discussed in this section.
                                                computing the state’s emissions budget                  season trading programs were then                        6. Annual Recalibration of Allowance
                                                would be an appropriate measure of the                  codified in 40 CFR 97.510 and 40 CFR                     Bank
                                                degree of operational variability actually              97.810, along with the respective state
                                                experienced by the state‘s EGUs in the                                                                              As discussed in Section VII.B.1.b of
                                                                                                        budgets. For the Revised CSAPR                           this proposed rule, in this rulemaking,
                                                control period relative to the assumed                  Update, the EPA performed an updated
                                                operating conditions reflected in the                                                                            the EPA is proposing two revisions to
                                                                                                        variability analysis for the twelve states               the Group 3 trading program designed to
                                                state’s budget. Setting a variability limit             being moved into the Group 3 trading
                                                in this manner would be entirely                                                                                 better maintain the control stringency
                                                                                                        program in that rulemaking, evaluating                   selected in the final rule in this
                                                consistent with the overall purpose of                  historical state-level heat input
                                                including variability limits in the                                                                              rulemaking. The first proposed revision,
                                                                                                        variability over the period from 2000                    discussed Section VII.B.4 of this
                                                assurance provisions.
                                                                                                        through 2019. The updated analysis                       proposed rule, is to adopt a dynamic
                                                   The reason the EPA is proposing to
                                                                                                        again resulted in a variability estimate                 budget-setting methodology that would
                                                use the higher of a fixed 21% or the
                                                percentage change in heat input                         of 21 percent. The EPA also considered                   allow state emissions budgets in future
                                                computed as just described is that the                  shorter time periods for the updated                     years to reflect more accurate
                                                EPA believes that, for operational                      analysis and found that the resulting                    information about the composition and
                                                planning purposes, it can be useful for                 variability estimates were not especially                utilization of the EGU fleet. The second,
                                                sources to know in advance of the                       sensitive to the particular time period                  complementary, proposed revision is to
                                                control period a minimum value for                      analyzed.266 A further updated analysis                  recalibrate the bank of unused
                                                what the variability limit could turn out               for this rulemaking again results in a                   allowances each control period in order
                                                to be. Because a state’s actual total heat              variability estimate of 21 percent for                   to prevent allowance surpluses in
                                                input for a control period is not known                 most states, and although the historical                 individual control periods from
                                                until after the end of the control period,              analysis indicates higher percentages for                accumulating and adversely impacting
                                                this proposed revision would have the                   the two states with the smallest total                   the ability of the trading program in
                                                consequence that the state’s final                      heat input figures in this analysis—                     future control periods to maintain the
                                                variability limit and assurance level for               Delaware and New Jersey—the EPA                          selected control stringency identified in
                                                the control period also would not be                    does not consider it appropriate to raise                the rulemaking as necessary to address
                                                known until after the control period.                   the variability limit percentage beyond                  states’ good neighbor obligations with
                                                However, because the proposed rule                      21 percent for all other states based on                 respect to the 2015 ozone NAAQS.
                                                provides that the variability limit would               the analytic results for these states,                      The EPA proposes to begin the bank
                                                always be at least 21 percent, the                      where small absolute heat input figures                  recalibration process starting with the
                                                sources in a state would be able to rely                                                                         2024 control period, after the
                                                                                                          266 For details on the original variability analysis
                                                                                                                                                                 compliance process for the 2023 control
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                                                for planning purposes on the knowledge
                                                                                                        for 26 states over the 2000–2010 period, including       period for all current and newly added
                                                that the assurance level would always                   a description of the methodology, see the Power
                                                be at least 121 percent of the state’s                  Sector Variability Final Rule TSD from the CSAPR         states in the Group 3 trading program
                                                emissions budget for the control period.                (EPA–HQ–OAR–2009–0491–4454). For the updated
                                                Advance knowledge of the minimum                        variability analysis for twelve states for the 2000–       267 See the Excel document, ‘‘OS Heat Input

                                                                                                        2019 period, see the Excel file ‘‘Historical             Variability 2000 to 2021.xls’’ for updated data,
                                                possible amount of the assurance level                  Variability in Heat Input 2000 to 2019.xls.’’ Both       application of the CSAPR variability methodology,
                                                can be useful to sources, because one                   documents are available in the docket for this           and results applied to heat input for 2000 through
                                                way a source can be confident that it                   proposal.                                                2021 for all states and for the region collectively.



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                                                has been completed. The recalibration                   variability limits. The EPA has two                    to be simpler with less associated
                                                process for each control period would                   reasons for proposing this amount. First,              uncertainty.
                                                be carried out on or shortly after August               in the transition from CSAPR to the                       Finally, the EPA observes that the
                                                1 of that control period, two months                    CSAPR Update, where the EPA set a                      proposed recalibration mechanism is
                                                after the compliance deadline for the                   target bank amount 1.5 times the sum of                entirely consistent with the Agency’s
                                                previous control period, making the                     the variability limits, and in the                     existing authority under 40 CFR
                                                proposed date of the first recalibration                transition from the CSAPR Update to                    97.1006(c)(6) to ‘‘terminate or limit the
                                                August 1, 2024. The recalibrations could                the Revised CSAPR Update, where the                    use and duration’’ of any Group 3
                                                not take place significantly earlier than               EPA set a target bank amount of 1.0                    allowance ‘‘to the extent the
                                                August 1 each year because compliance                   times the sum of the variability limits,               Administrator determines is necessary
                                                for the previous control period would                   in each case the initial bank proved                   or appropriate to implement any
                                                not be completed until after June 1.                    larger than necessary, as total emissions              provision of the Clean Air Act.’’ The
                                                However, because data on the amounts                    of all sources in the program were less                Administrator proposes to determine
                                                of allowances held are publicly                         than the budgets. Second, an analysis of               that the recalibrations are both
                                                available and the total quantity of                     year-to-year variability of heat input for             necessary and appropriate to ensure that
                                                allowances needed for compliance for                    the region covered by this proposed rule               the control stringency selected in this
                                                the previous control period would be                    suggests that the regional heat input for              rulemaking is maintained and states’
                                                known shortly after the end of that                     an individual year can be expected to                  good neighbor obligations with respect
                                                control period, sources and other market                vary by up to 10.5 percent above or                    to the 2015 ozone NAAQS are
                                                participants would be able to ascertain                 below the central trend with 95%                       addressed.
                                                with reasonable accuracy shortly after                  confidence. This variability analysis is                  The EPA requests comment on the
                                                the end of each control period what                     an application to the entire region of the             proposed bank recalibration provisions
                                                degree of recalibration to expect for the               variability analysis EPA has performed                 and the proposed use of a target bank
                                                next control period, even if the                        for individual states to establish the                 amount computed as 10.5 percent times
                                                recalibration would not actually be                     variability limit of 21 percent for the                the sum of the state emissions budgets
                                                carried out until the following August.                 states in the trading program.268 When                 for each control period.
                                                   Before undertaking a recalibration                   the analysis is performed at the regional              7. Unit-Specific Backstop Daily
                                                process each control period, the EPA                    level, the data show less year-to-year                 Emissions Rates
                                                would first determine whether the total                 variation than when the analysis is
                                                amount of all banked Group 3                                                                                      While the identified EGU emissions
                                                                                                        performed at the individual state level.
                                                allowances from previous control                                                                               reductions in Section VI of this
                                                                                                        Within the trading program structure, it               proposed rule are incentivized and
                                                periods held in all facility accounts and               is logical to use variability analyzed at
                                                general accounts in the Allowance                                                                              secured primarily through the
                                                                                                        the level of individual states to set the              corresponding seasonal state emissions
                                                Management System accounts exceeds                      variability limits, which apply at the
                                                the target bank amount. (For this                                                                              budgets (expressed as a seasonal
                                                                                                        level of individual states, while using                tonnage limit for all covered EGUs
                                                purpose, no distinction would be made                   variability analyzed at the level of the
                                                between banked Group 3 allowances                                                                              within a state’s borders) described
                                                                                                        overall region to set a target level for a             earlier, the EPA is also incorporating
                                                issued from the state emissions budgets                 bank, which will apply at the level of
                                                for previous control periods and banked                                                                        backstop daily emissions rates of 0.14
                                                                                                        the overall program.                                   lb/mmBtu for coal-fired steam units
                                                Group 3 allowances issued through the                      The annual bank recalibrations will
                                                conversion of previously banked Group                                                                          serving generators with nameplate
                                                                                                        help maintain the control stringency                   capacity greater than or equal to 100
                                                2 allowances.) If the total amount of                   determined to be necessary to address
                                                banked Group 3 allowances does not                                                                             MW in covered states. The backstop
                                                                                                        states’ good neighbor obligations for the              emissions rates will first apply in 2024
                                                exceed the target bank amount, the EPA                  2015 ozone NAAQS. Moreover, the
                                                would not carry out any recalibration                                                                          for coal-fired steam units with existing
                                                                                                        proposed recalibrations are less                       SCR controls, and in 2027 for coal-fired
                                                for that control period. If the total                   complex than alternative approaches
                                                amount of unused allowances does                                                                               steam units currently without SCR
                                                                                                        would be. For example, the NOX Budget                  controls. For a unit that exceeds its
                                                exceed the target bank amount, the EPA                  Trading Program established in the NOX
                                                would determine for each account with                                                                          applicable backstop daily emissions rate
                                                                                                        SIP Call also contained provisions                     on any day, all emissions on that day
                                                holdings of banked Group 3 allowances                   designed to prevent excessive
                                                the account-specific recalibrated                                                                              exceeding the emissions that would
                                                                                                        accumulations of banked allowances on                  have occurred at the backstop daily
                                                amount of allowances, computed as the                   program stringency, but those
                                                target bank amount multiplied by the                                                                           emissions rate will be subject to a 3-for-
                                                                                                        provisions—under the name                              1 allowance surrender ratio instead of
                                                account’s total holdings of banked                      ‘‘progressive flow control’’—introduced
                                                Group 3 allowances and divided by the                                                                          the normal 1-for-1 allowance surrender
                                                                                                        uncertainty as to whether banked                       ratio. See Appendix A of the Ozone
                                                total amount of banked Group 3
                                                                                                        allowances would be usable to offset                   Transport Policy Proposed Rule TSD for
                                                allowances in all accounts, rounded up
                                                                                                        one ton of emissions or less than one                  a list of coal-fired steam units serving
                                                to the nearest allowance. Finally, the
                                                                                                        ton of emissions in the current control                generators larger than or equal to 100
                                                EPA would deduct from each account
                                                                                                        period. The EPA considers the                          MW in covered states for which the
                                                any banked Group 3 allowances
                                                                                                        recalibration mechanism proposed here                  identified backstop emissions rate
                                                exceeding the account’s recalibrated
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                                                amount of banked allowances.                              268 See the Power Sector Variability Final Rule
                                                                                                                                                               would apply starting in either 2024 or
                                                   As the target bank amount used in the                TSD from CSAPR, available at https://www.epa.gov/      2027.
                                                recalibration process for each control                  csapr/power-sector-variability-final-rule-tsd for a       The EGU NOX Mitigation Strategies
                                                period, the EPA proposes to use an                      description of the methodology. Also see the Excel     Proposed Rule TSD describes the
                                                amount determined as 10.5 percent of                    document ‘‘OS Heat Input—Variability 2000 to           methodology for deriving the 0.14 lb/
                                                                                                        2021.xls’’ for updated data, application of the
                                                the sum of the state emissions budgets                  CSAPR variability methodology, and results applied
                                                                                                                                                               mmBtu daily rate limit in more detail.
                                                for the control period, or half of the sum              to heat input for 2000 through 2021 for all states     The methodology is summarized as
                                                of the states’ proposed minimum                         and for the region collectively.                       follows. First, consistent with


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                                                stakeholders’ focus on providing daily                    applied the methodology in reverse to                  appropriate enforcement proposed rule
                                                assurance of control operation, EPA                       convert a longer-term limit (the seasonal              under the Clean Air Act or other
                                                determined that daily (as opposed to                      rate of 0.08 lb/mmBtu which was                        relevant authorities.
                                                hourly or monthly) was an appropriate                     assumed to be equal to a 30-day rate of
                                                                                                                                                                 8. Unit-Specific Emissions Limitations
                                                time metric for backstop emissions rate                   0.08 lb/mmBtu) to a comparably
                                                                                                                                                                 Contingent on Assurance Level
                                                limits instituted to ensure operation of                  stringent short-term limit (a daily rate of
                                                                                                                                                                 Exceedances
                                                controls on high ozone days. The EPA                      0.14 lb/mmBtu). The EPA requests
                                                derived the 0.14 lb/mmBtu daily rate                      comment on the proposed incorporation                     As emphasized by the D.C. Circuit in
                                                limit by determining the particular level                 of a backstop daily emissions rate                     its decision invalidating CAIR, under
                                                of a daily rate that would be comparable                  element into the Group 3 trading                       the CAA’s good neighbor provision,
                                                in stringency to the 0.08 lb/mmBtu                        program and on the proposed                            emissions ‘‘within the State’’ that
                                                seasonal emissions rate that the Agency                   methodology for determining the daily                  contribute significantly to
                                                has identified as reflecting SCR                          emissions rate of 0.14 lb/mmBtu.                       nonattainment or interfere with
                                                optimization at existing units.269 The                       In addition, the EPA requests                       maintenance of a NAAQS in another
                                                EPA first conducted an empirical                          comment on application of the backstop                 state must be prohibited. North Carolina
                                                exercise using reported daily emissions                   daily emissions rates in the event that                v. EPA, 531 F.3d 896, 906–908 (D.C. Cir.
                                                rate data from existing, SCR-controlled                   an affected unit finds it more economic                2008). The CAIR trading programs
                                                coal units that were emitting at or below                 to retire shortly after the start of the               contained no provisions limiting the
                                                0.08 lb/mmBtu on a seasonal average                       2027 ozone season in lieu of investing                 degree to which a state could rely on net
                                                basis. Recognizing that this seasonal rate                in new NOX post-combustion control                     purchased allowances as a substitute for
                                                reflects the average across a unit’s range                technology. This proposed rule’s state                 making in-state emissions reductions,
                                                of varying daily rates reflecting different               emissions budgets would require                        an omission which the court found was
                                                operation conditions, including some                      emissions reductions starting in 2026                  inconsistent with the requirements of
                                                occasions when the SCR control may                        commensurate with SCR retrofits at                     the good neighbor provision. Id. In
                                                not be operating or may not be fully                      these units regardless of when these                   response to that holding, the EPA
                                                optimized, the EPA identified the upper                   unit-level backstop rates are                          established the CSAPR trading
                                                end of the daily emissions rate range for                 subsequently imposed. The EPA                          programs’ assurance provisions to
                                                these units. When the EPA examined                        recognizes that such retrofits in practice             ensure that, in the context of a flexible
                                                the daily emissions rate pattern for these                may be less environmentally efficient                  trading program, the emissions
                                                units considered to be optimizing their                   compared to imminent retirement that                   reductions required under the good
                                                SCRs on a seasonal basis, the EPA                         would potentially yield lower                          neighbor provision in fact will take
                                                observed that over 95 percent of the                      cumulative emissions of NOX and                        place within the state. The EPA believes
                                                time, their daily rates were below 0.14                   multiple other pollutants over time. The               the assurance provisions have generally
                                                lb/mmBtu. In addition, for these units,                   EPA also recognizes that several coal-                 been successful in achieving that
                                                less than 1 percent of their seasonal                     fired EGUs have been considering                       objective, as evidenced by the fact that
                                                emissions would exceed this daily rate                    retirement by 2028 under compliance                    since the assurance provisions took
                                                limit.                                                    pathways available under Clean Water                   effect in 2017, out of the nearly 300
                                                   The EPA conducted this analysis to be                  Act effluent guidelines 271 and the coal               instances where a given state’s
                                                consistent with the methodology                           combustion residuals rule under the                    compliance with the assurance
                                                developed in the 2014 1-hr SO2                            Resource Conservation and Recovery                     provisions of a given CSAPR trading
                                                attainment area guidance for identifying                  Act.272 2028 also represents the end of                program for a given control period has
                                                ‘‘comparably stringent’’ emissions rates                  the second planning period under the                   been assessed, a state’s collective
                                                over varying time-periods.270 Appendix                    Regional Haze program, and thus is a                   emissions have exceeded the applicable
                                                C of that guidance describes a series of                  significant year in states’ planning of                assurance level only four times.
                                                steps that involve: (1) Compiling                         strategies to make reasonable progress                    Unfortunately, the EPA also
                                                emissions data to reflect a distribution                  towards natural visibility at Class I                  recognizes that the assurance
                                                of emissions rates with various                           areas.273 To facilitate a potentially                  provisions’ very good historical
                                                averaging times, (2) determining the                      economic and environmentally superior                  compliance record is not good enough.
                                                99th percentile of the average emissions                  unit-level compliance response across                  The four past exceedances all occurred
                                                values compiled in the previous step,                     these programs that nonetheless                        under the Group 2 trading program:
                                                and then (3) applying ‘‘adjustment                        maintains the NOX reductions required                  Sources in Mississippi collectively
                                                factors’’ or ratios of the 99th percentile                by the state budgets from 2026 forward                 exceeded their applicable assurance
                                                values to emissions rates to convert                      in this proposed rule, the EPA is                      levels in the 2019 and 2020 control
                                                them (usually from a short-term rate to                   requesting comment on potentially                      periods, and sources in Missouri
                                                a longer-term rate). In this case, the EPA                deferring the application of the backstop              collectively exceeded their applicable
                                                                                                          daily rate for large coal EGUs that                    assurance levels in the 2020 and 2021
                                                  269 See page 24 of ‘‘Guidance for 1-hour SO
                                                                                                2         submit written attestation to the EPA                  control periods.274 Both of the
                                                Nonattainment Area SIP Submission’’ at https://           that they make an enforceable
                                                www.epa.gov/sites/default/files/2016-06/
                                                documents/20140423guidance_nonattainment_                 commitment to retire by no later than                     274 Information on the assurance level

                                                sip.pdf. ‘‘A limit based on the 30-day average of         the end of calendar year 2028. EPA                     exceedances in the 2019 and 2020 control periods
                                                emissions, for example, at a particular level is likely   anticipates that units failing to retire               is available in the final notices concerning EPA’s
                                                to be a less stringent limit than a 1-hour limit at                                                              administration of the assurance provisions for those
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                                                the same level 1 since the control level needed to        contrary to their attestation would                    control periods. 85 FR 53364 (August 28, 2020); 86
                                                meet a 1-hour limit every hour is likely to be greater    become subject to the backstop                         FR 52674 (September 22, 2021). The EPA will
                                                than the control level needed to achieve the same         emissions rate in the 2029 ozone season,               publish an analogous final notice for the 2021
                                                limit on a 30-day average basis.’’                        and would likely be subject to other                   control period by October 1, 2022, and will also
                                                  270 See Guidance for 1-Hour SO Nonattainment
                                                                                    2                                                                            publish a preliminary notice by August 1, 2022. At
                                                Area SIP Submissions available at https://                                                                       this time, information on the relevant Missouri
                                                                                                           271 See 40 CFR 423.11(w).
                                                www.epa.gov/sites/default/files/2016-06/                                                                         assurance level for the 2021 control period is
                                                                                                           272 See 40 CFR 257.103(b).
                                                documents/20140423guidance_nonattainment_                                                                        available at 40 CFR 97.806(c)(2) and 97.810 and
                                                sip.pdf.                                                   273 See 40 CFR 51.308(f).                             preliminary data on Missouri units’ emissions of



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                                                exceedances by Missouri sources could                      The two current emissions-related                   condition applicability of the new
                                                easily have been avoided if the owner                   compliance requirements in the Group 3                 limitation on (1) the occurrence of an
                                                and operator of several SCR-equipped,                   trading program regulations are both                   exceedance of the state’s assurance level
                                                coal-fired steam units had not chosen to                structured in the form of requirements                 for the control period, and (2) the
                                                idle the units’ controls and rely instead               to hold allowances. The first                          apportionment of at least some of the
                                                on net out-of-state purchased                           requirement applies at the source level:               responsibility for the assurance level
                                                allowances. The exceedances were                        Specifically, at the compliance deadline               exceedance to the set of units
                                                large, and ample quantities of                          after each control period, the owners                  represented by the unit’s designated
                                                allowances to cover the resulting 3-for-                and operators of each source covered by                representative. Apportionment of
                                                1 allowance surrender requirements                      the program must surrender a quantity                  responsibility for the assurance level
                                                were purchased in advance, suggesting                   of allowances that is determined based                 exceedance would be carried out
                                                that the assurance level exceedances                    on the emissions from the units at the                 according to the existing assurance
                                                may have been anticipated as a                          source during the control period. The                  provision procedures and would
                                                possibility. In the case of the                         second requirement applies at the                      therefore depend on the designated
                                                Mississippi exceedances, the                            designated representative level (which                 representative’s shares of both the
                                                exceedances were smaller, operational                   typically is the owner or operator level):             state’s total emissions for the control
                                                variability (manifesting as increased                   If the state’s sources collectively emit in            period and the state’s assurance level for
                                                heat input) appears to have been a                      excess of the state’s assurance level, the             the control period. The new emissions
                                                material contributing factor, and the                   owners and operators of each set of                    limitation would be in addition to, not
                                                EPA has not concluded that the owners                   sources determined to have contributed                 in lieu of, the other requirements of the
                                                and operators anticipated the                           to the exceedance must surrender an                    Group 3 trading program. This point
                                                exceedances. However, an additional                     additional quantity of allowances. As                  would be made explicit by relabeling
                                                contributing factor was the fact that                   long as a source’s owners and operators                the source-level allowance holding
                                                several large, gas-fired steam units                    comply with these two allowance                        requirement, currently called the
                                                without SCR controls emitted NOX at                     surrender requirements (and meet                       ‘‘emissions limitation,’’ as the ‘‘primary
                                                average rates much higher than the                      certain other requirements not related to              emissions limitation’’ and labeling the
                                                average emissions rates the same units                  the amounts of the sources’ emissions),                new unit-level requirement as the
                                                had achieved in previous control                        they are in compliance with the                        ‘‘secondary emissions limitation.’’ (The
                                                periods. In short, while the Missouri                   program.                                               regulations label the designated
                                                exceedances appear far more significant,                   In light of the operation of the                    representative-level requirement as
                                                EPA’s analysis indicates that all four                  Missouri sources, the EPA is doubtful                  ‘‘compliance with the . . . assurance
                                                past exceedances could have been                        that strengthening the assurance                       provisions.’’)
                                                avoided if the units most responsible                   provisions by increasing allowance                        The EPA proposes to define the unit-
                                                had achieved emissions rates more                       surrender requirements at the unit,                    level secondary emissions limitation by
                                                comparable to the same units’ previous                  source, or designated representative                   formula to reflect the amount of
                                                performance. In EPA’s view, the                         level would create a sufficient deterrent.             additional NOX emissions caused by the
                                                operation of the Missouri units in                      Accordingly, the EPA is proposing                      unit’s deviation from a benchmark
                                                particular—although not prohibited by                   instead to add a new, unit-level                       seasonal average NOX emissions rate
                                                the current regulatory requirements—                    emissions limitation structured as a                   during the control period, where the
                                                cannot be reconciled with the statutory                 prohibition to emit NOX in excess of a                 benchmark seasonal average NOX
                                                requirements of the good neighbor                       defined amount. A violation of the                     emissions rate for the unit would be
                                                provision. The fact that such operation                 prohibition would not trigger additional               based on emissions rates the unit has
                                                is not prohibited by the current                        allowance surrender requirements                       achieved in the past plus a 25 percent
                                                regulations therefore indicates a                       beyond the surrender requirements that                 margin. The EPA also proposes to use a
                                                deficiency in the current regulatory                    would otherwise apply, but would                       floor for past performance of 0.08 lb/
                                                requirements.                                           trigger the possible application of the                mmBtu (yielding 0.10 lb/mmBtu when
                                                   To correct the deficiency in the                     CAA’s enforcement authorities. Because                 the 25 percent margin is added),
                                                regulatory requirements, the EPA                        the purpose of the new unit-level                      exclude control periods where the unit
                                                proposes in this rulemaking to revise                   emissions limitation would be to deter                 operated in less than 10 percent of the
                                                the Group 3 trading program regulations                 conduct causing exceedances of a state’s               hours (in order to avoid data that might
                                                to establish an additional emissions                    assurance level, the EPA proposes to                   be unrepresentative), and screen out
                                                limitation to more effectively deter                                                                           instances where the amount of
                                                avoidable assurance level exceedances.                  Group 2 trading program, combined with the             additional emissions caused by the poor
                                                                                                        express statutory directive that good neighbor         performance is less than 50 tons.
                                                Because the pollutant involved is ozone                 obligations must be addressed ‘‘within the state,’’
                                                season NOX and the particular sources                   and through ‘‘prohibition,’’ would also provide a
                                                                                                                                                               Specifically:
                                                                                                        sufficient legal basis for the Agency to promulgate       • The EPA proposes to define a unit’s
                                                for which deterrence is most needed are
                                                                                                        the same revisions to the assurance provisions for     secondary emissions limitation for a
                                                located in states that are proposed to                  all the other CSAPR trading programs. The EPA is       control period, in tons of NOX, as the
                                                transition soon from the Group 2 trading                not proposing to do so at this time because the
                                                                                                                                                               sum of 50 tons plus the product of (1)
                                                program to the Group 3 trading program,                 Agency has seen no reason to expect exceedances
                                                                                                        of the assurance levels under any of the other         the unit’s benchmark seasonal average
                                                the EPA is proposing to promulgate the
                                                                                                        CSAPR trading programs by any of the states that       emissions rate times (2) the unit’s actual
                                                strengthening provisions as revisions to                will remain subject to the respective trading
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                                                                                                                                                               heat input for the control period, except
                                                the Group 3 trading program regulations                 programs after this rulemaking, except possibly by
                                                                                                        Missouri under the CSAPR NOX Annual Trading
                                                                                                                                                               that if the unit operated during less than
                                                rather than the Group 2 trading program
                                                                                                        Program. The EPA expects that reductions in            10 percent of the hours in the control
                                                regulations.275                                         Missouri’s seasonal NOX emissions sufficient to        period, no secondary emissions
                                                                                                        comply with the proposed provisions of the revised     limitation would be defined for the unit
                                                NOX during the 2021 ozone season are available at       Group 3 trading program, including the secondary
                                                ampd.epa.gov.                                           emissions limitations, would also prevent              for that control period.
                                                  275 The EPA believes that the occurrence of           exceedances of Missouri’s currently applicable            • The EPA proposes to calculate the
                                                avoidable assurance level exceedances under the         assurance level for annual NOX emissions.              benchmark seasonal average NOX


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                                                emissions rate for a unit for this                         unit operated for less than 10 percent of                occurred in Mississippi and Missouri.
                                                purpose, in lb NOX/mmBtu, as the                           the hours in the ozone season.276                        The EPA believes that in each case the
                                                higher of (1) 0.10 lb/mmBtu or (2) 125                        Table VII.B.8–1 shows the secondary                   formula functions in a reasonable
                                                percent of the unit’s lowest seasonal                      emissions limitations that the proposed                  manner, and the units identified as
                                                average NOX emissions rate in a                            formula would have produced and                          exceeding their respective secondary
                                                previous control period under the                          which units would have exceeded those                    emissions limitations are sources for
                                                CSAPR NOX Ozone Season Group 1,                            limitations if the limitations and                       which an enforcement deterrent under
                                                Group 2, or Group 3 Trading Program,                       formula had been in effect for the Group                 CAA sections 113 and 304 would have
                                                excluding any control periods where the                    2 trading program in 2019, 2020, and                     been appropriate to compel better
                                                                                                           2021 when assurance level exceedances                    control of NOX emissions.

                                                   TABLE VII.B.8–1—ILLUSTRATIVE RESULTS OF APPLYING PROPOSED SECONDARY EMISSIONS LIMITATION IN PREVIOUS
                                                                                 INSTANCES OF ASSURANCE LEVEL EXCEEDANCES
                                                                                                                     Benchmark              Actual NOX          Secondary              Actual NOX
                                                                                                                    NOX emissions            emissions          emissions                               Exceedance
                                                     Owner/operator                         Unit                                                                                        emissions
                                                                                                                         rate                   rate             limitation                                (tons)
                                                                                                                                                                                         (tons)
                                                                                                                     (lb/mmBtu)             (lb/mmBtu)             (tons)

                                                Mississippi—2019
                                                    Miss. Power ............   Watson 4 .......................                 0.137                 0.176               458                   524                  66
                                                    Miss. Power ............   Watson 5 .......................                 0.215                 0.349             1,247                 1,943                 696
                                                Mississippi—2020
                                                    Entergy Miss. ..........   Andrus 1 ........................                0.224                 0.289             1,219                 1,508                 289
                                                    Miss. Power ............   Watson 5 .......................                 0.215                 0.286             1,086                 1,381                 295
                                                Missouri—2020
                                                    Assoc. Elec. Coop.         New Madrid 1 ................                    0.135                 0.670                 961               4,524               3,563
                                                    Assoc. Elec. Coop.         New Madrid 2 ................                    0.131                 0.497                 866               3,108               2,242
                                                    Assoc. Elec. Coop.         Thomas Hill 1 ................                   0.123                 0.526                 374               1,384               1,010
                                                    Assoc. Elec. Coop.         Thomas Hill 2 ................                   0.122                 0.537                 548               2,187               1,639
                                                    Assoc. Elec. Coop.         Thomas Hill 3 ................                   0.104                 0.195                 780               1,374                 594
                                                Missouri—2021
                                                    Assoc. Elec. Coop.         New Madrid 1 ................                    0.135                 0.652               353                 1,466               1,113
                                                    Assoc. Elec. Coop.         New Madrid 2 ................                    0.131                 0.611             1,054                 4,700               3,646
                                                    Assoc. Elec. Coop.         Thomas Hill 1 ................                   0.123                 0.146               421                   440                  19
                                                    Assoc. Elec. Coop.         Thomas Hill 2 ................                   0.122                 0.400               600                 1,801               1,201



                                                   For further illustrations of the                        comment on the proposed form of the                      apply for the 2021 control period and,
                                                application of the proposed formula and                    secondary emissions limitation, the                      by default, for subsequent control
                                                secondary emissions limitation to other                    proposed formula for computing each                      periods unless and until a state provides
                                                units in the states proposed to be subject                 unit’s secondary emissions limitation,                   state-determined allowance allocations
                                                to the expanded Group 3 trading                            and the proposed values for the                          under an approved SIP revision.
                                                program in the control periods from                        screening parameters used in the                            The current default allocation process
                                                2016 through 2021, see the spreadsheet                     calculations.                                            for the Group 3 trading program
                                                ‘‘Illustrative Calculations Using                                                                                   established in the Revised CSAPR
                                                                                                           9. Unit-Level Allowance Allocation and
                                                Proposed Secondary Emissions                                                                                        Update involves three main steps. First,
                                                                                                           Recordation Procedures
                                                Limitation Formula’’, available in the                                                                              a portion of each state emissions budget
                                                docket. The EPA notes that, with the                          In the Revised CSAPR Update, the                      for each control period is reserved for
                                                exception of the units listed in Table                     EPA established default procedures for                   potential allocation to units that are
                                                VII.B.8–1, no unit shown in the                            allocating CSAPR NOX Ozone Season                        subject to allowance holding
                                                spreadsheet as having emissions                            Group 3 allowances (‘‘Group 3                            requirements and that would not
                                                exceeding the illustrative secondary                       allowances’’) in amounts equal to each                   otherwise receive allowance allocations
                                                emissions limitation calculated for the                    state emissions budget for each control                  in the overall allocation process. Under
                                                unit would have violated the proposed                      period among the sources in the state for                the current Group 3 trading programs,
                                                prohibition because no violation would                     use in complying with the Group 3                        the reserved allowances are made
                                                occur in the absence of an exceedance                      trading program. The EPA also provided                   available generally (but not
                                                of the assurance level and                                 states with several options to submit SIP                exclusively 277) to ‘‘new’’ units—which
                                                apportionment of responsibility for a                      revisions which, if approved, would                      for purposes of the Revised CSAPR
                                                share of the exceedance to the unit                        result in the replacement of EPA’s                       Update means units commencing
                                                under the assurance provisions.                            allowance allocations with state-                        commercial operation on or after
                                                   The EPA requests comment on the                         determined allowance allocations for                     January 1, 2019—through a ‘‘new unit
                                                proposal to establish a secondary                          the 2022 control period and beyond.                      set-aside’’ established for qualifying
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                                                emissions limitation for the Group 3                       The current regulations (i.e., before this               units in each state and, if areas of Indian
                                                trading program as described in this                       proposed rule) provide that EPA’s                        country exist within the state’s borders,
                                                section. The EPA specifically requests                     allocations and allocation procedures                    a separate ‘‘Indian country new unit set-
                                                   276 In proposing a formulation for a benchmark          that the same formulation of a benchmark rate            have recently started operating but also units that
                                                rate for the specific regulatory purpose of defining       would be suitable for any other regulatory purpose.      previously received, but are no longer eligible to
                                                a secondary emissions limitation under the Group             277 The units qualifying for allocations from a        receive, allocations from the unreserved portion of
                                                3 trading program, the EPA is not expressing a view        new unit set-aside may include not only units that       the budget as ‘‘existing’’ units.



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                                                aside’’ for qualifying units in such                    in Section VII.D of this document.                         subcategory of ‘‘new’’ units, and the two
                                                Indian country. Second, in advance of                   Similarly, for a covered area of Indian                    types of set-asides that have been
                                                each control period, the unreserved                     country not subject to a state’s CAA                       created are ‘‘new unit set-asides’’ and
                                                portion of the state budget is allocated                implementation planning authority, a                       ‘‘Indian country new unit set-asides.’’
                                                among the state’s eligible ‘‘existing’’                 tribe could elect to work with the EPA                     The principal difference between these
                                                units—which for purposes of the                         under the Tribal Authority Rule to                         two types of set-asides under the
                                                Revised CSAPR Update generally means                    develop a full or partial tribal                           regulations for all of the CSAPR trading
                                                units that commenced commercial                         implementation plan under which the                        programs has been that a state can take
                                                operation before January 1, 2019—and                    tribe would determine allowance                            over administration of the allowances
                                                the allocations are recorded in the                     allocations that would replace EPA’s                       allocated to a new unit set-aside from
                                                respective sources’ compliance                          default allocations for subsequent                         the EPA through an approved SIP
                                                accounts. Finally, after the control                    control periods.                                           revision but cannot take over
                                                period but before the compliance                                                                                   administration of the allowances
                                                                                                        a. Set-Asides of Portions of State
                                                deadline by which sources must hold                                                                                allocated to an Indian country new unit
                                                                                                        Emissions Budgets for New Units
                                                allowances to cover their emissions for                                                                            set-aside.
                                                the control period, allowances from the                    As the first step in the default                           In this rulemaking, the EPA is
                                                reserved portions of the budget are                     allocation process that the EPA has                        proposing several revisions affecting the
                                                allocated to qualifying units, any                      applied under CSAPR, the CSAPR                             establishment of set-asides. The first
                                                remaining reserved allowances not                       Update, and the Revised CSAPR Update                       proposed revision, which is largely
                                                allocated to qualifying units are                       for any control period where a state                       unrelated to the other aspects of this
                                                allocated among the state’s existing                    does not employ an alternative                             rulemaking, would update the
                                                units, and the allocations are recorded                 allocation process pursuant to an                          regulations for the Group 3 trading
                                                in the respective sources’ compliance                   approved SIP revision, EPA has                             program 280 to reflect the D.C. Circuit’s
                                                accounts.                                               reserved a portion of the state’s                          holding in ODEQ v. EPA that the
                                                   In this rulemaking, the EPA would                    emissions budget for potential                             relevant states have initial CAA
                                                retain the overall three-step allocation                allocation to units that are subject to                    implementation planning authority in
                                                process summarized above but is                         allowance holding requirements and                         non-reservation areas of Indian country
                                                proposing revisions to each step to                     that would not otherwise receive                           until displaced by a demonstration of
                                                better address units in Indian country                  allowance allocations in the overall
                                                                                                                                                                   tribal jurisdiction over such an area.281
                                                and to better coordinate the unit-level                 allocation process. Consistent with the
                                                                                                                                                                   Consistent with this holding, EPA is
                                                allocation process with the proposed                    budget-setting approach in those
                                                                                                                                                                   proposing to revise language in the
                                                dynamic budget-setting process                          rulemakings, where the state emissions
                                                                                                                                                                   Group 3 trading program regulations
                                                discussed in Section VII.B.4 of this                    budgets for all future control periods
                                                                                                                                                                   that, for purposes of allocating
                                                proposed rule. Like the allocation                      were determined in the initial
                                                                                                                                                                   allowances from a given state’s
                                                process established in CSAPR, the                       rulemakings, the amounts of the
                                                                                                                                                                   emissions budget, currently
                                                CSAPR Update, and the Revised CSAPR                     reserved portions of the budgets were
                                                                                                                                                                   distinguishes between (1) the set of
                                                Update, the revised process proposed in                 also determined in the initial
                                                                                                                                                                   units within the state’s borders that are
                                                this rulemaking would be designed to                    rulemakings.278
                                                                                                           The units for which portions of the                     not in Indian country and (2) the set of
                                                provide default allowance allocations to                                                                           units within the state’s borders that are
                                                all units that are subject to allowance                 budgets were reserved in set-asides have
                                                                                                        fallen into two main categories: First,                    in Indian country. As revised, the
                                                holding requirements, including, for the
                                                                                                        units for which the data needed to                         provisions would distinguish between
                                                first time under any CSAPR trading
                                                                                                        determine allowance allocations does                       (1) the set of units within the state’s
                                                program, an existing EGU in Indian
                                                                                                        not exist at the time when the                             borders that are not in Indian country or
                                                country not covered by a state’s CAA
                                                                                                        allocations for other units were being                     are in areas of Indian country covered
                                                implementation planning authority. The
                                                                                                        determined—i.e., ‘‘new’’ units 279—and                     by the state’s CAA implementation
                                                proposed revisions to the three steps are
                                                                                                        second, units that would be left out if                    planning authority and (2) the set of
                                                discussed in Sections VII.B.4.a,
                                                                                                        a state chooses to replace EPA’s default                   units within the state’s borders that are
                                                VII.B.4.b, and VII.B.4.c of this proposed
                                                                                                        allocations with state-determined                          in areas of Indian country not covered
                                                rule, respectively.
                                                   Echoing the approach to unit-level                   allocations—i.e., any units in Indian                      by the state’s CAA implementation
                                                allocations followed in CSAPR, the                      country not covered by a state’s CAA                       planning authority. The revised
                                                CSAPR Update, and the Revised CSAPR                     implementation planning authority.                         language would more accurately
                                                Update, in this rulemaking, EPA is again                Because there were no existing units in                    distinguish which units are, or are not,
                                                proposing to provide states with several                what the EPA understood to be Indian                       covered by a state’s CAA
                                                options to submit SIP revisions which,                  country for purposes of CSAPR, the                         implementation planning authority,
                                                if approved, would result in the                        CSAPR Update, and the Revised CSAPR                        which is the underlying purpose for
                                                replacement of EPA’s default allocations                Update, potential units in Indian                          which the term ‘‘Indian country’’ is
                                                with state-determined allocations for                   country were considered to be a                            currently used in the allowance
                                                subsequent control periods.                                                                                        allocation provisions. The effect of the
                                                Specifically, the proposed regulations                     278 Under the current regulations for each of the       proposed revision would be that any
                                                would provide that EPA’s allocations                    CSAPR trading programs, when a unit that has
                                                                                                        received allocations as an ‘‘existing’’ unit ceases           280 As further discussed in Section VII.B.12 of this
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                                                and allocation procedures will apply for                operation, after a specified number of control             proposed rule, the EPA is also proposing to make
                                                the 2023 control period and, by default,                periods the unit loses the allocations, which are          this revision to the regulations for the other CSAPR
                                                for subsequent control periods unless                   then allocated to the state’s new unit set-asides for      trading programs in addition to the Group 3 trading
                                                and until a state provides state-                       subsequent control periods.                                program.
                                                                                                           279 A unit that has received allocations as an             281 For additional discussion of the ODEQ v. EPA
                                                determined allocations under an
                                                                                                        ‘‘existing’’ unit, then loses its allocations because of   decision and other issues related to the CAA
                                                approved SIP revision. The options to                   non-operation, and then later resumes operation is         implementation planning authority of states, tribes,
                                                submit SIP revisions that would                         treated as a type of ‘‘new’’ unit for allocations          and the EPA in various areas of Indian country, see
                                                accomplish this purpose are discussed                   purposes.                                                  Section IV.C.2 of this proposed rule.



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                                                units located in areas of ‘‘Indian                       of each Indian country existing unit set-             asides and Indian country new unit set-
                                                country’’ as defined in 18 U.S.C. 1151                   aside would equal the sum of the                      asides. The EPA proposes to combine
                                                that are covered by a state’s CAA                        default allocations that the units                    these two types of set-asides starting
                                                implementation planning authority                        covered by the set-aside would receive                with the 2023 control period by
                                                would be treated for allowance                           if the allocations to all existing units              eliminating the Indian country new unit
                                                allocation purposes in the same manner                   within the state’s borders were                       set-asides and expanding eligibility for
                                                as units in areas of the state that are not              computed according to EPA’s default                   allocations from the new unit set-asides
                                                Indian country, consistent with the                      allocation procedure (which is                        to include units anywhere within the
                                                ODEQ holding.282                                         discussed in Section VII.B.9.b of this                relevant states’ borders. However, as
                                                   The remaining proposed revisions,                     proposed rule). Immediately after                     with the Indian country new unit set-
                                                which are interrelated, concern the                      determining the amount of a state’s                   asides under the current regulations, the
                                                types of set-asides that in the context of               emissions budget for a control period                 EPA would continue to administer the
                                                this proposal will best accomplish the                   (and after reserving a portion for                    new unit set-asides in the event a state
                                                goal of ensuring the availability of                     potential allocation to new units, as                 chose to replace EPA’s default
                                                allocations to units that are subject to                 discussed below), the EPA would first                 allocations to existing units with state-
                                                allowance holding requirements and                       determine the default allocations for all             determined allocations, thereby
                                                that would not otherwise receive                         existing units within the state’s borders,            ensuring the availability of allocations
                                                allowance allocations. One proposed                      then allocate the appropriate quantity of             to any new units not covered by a state’s
                                                revision to the types of set-asides                      allowances to the Indian country                      CAA implementation planning
                                                addresses allocations to existing units in               existing unit set-aside, then allocate the            authority.
                                                Indian country. The revised geographic                   allowances from the set-aside to the                     The reason for the proposed revisions
                                                scope of the Group 3 trading program                     covered units in Indian country, and                  to the new unit set-asides and Indian
                                                under this proposal would for the first                  finally record the allocations in the                 country new unit set-asides is to avoid
                                                time include an existing EGU in Indian                   sources’ compliance accounts at the                   unnecessary and potentially inequitable
                                                country not covered by a state’s CAA                     same time as the allocations to other                 changes to the degree to which
                                                implementation planning authority—the                    sources not in Indian country. The                    individual existing units contribute to,
                                                Bonanza coal-fired unit in the Uintah                    existence of the Indian country existing              or benefit from, the new unit set-asides.
                                                and Ouray Reservation within Utah’s                      unit set-aside thus would have no                     Under the current regulations, the
                                                borders. In order to provide an option                   substantive effect unless and until the               allowances used to establish these set-
                                                for Utah (or a similarly situated state in               relevant state chose to replace EPA’s                 asides are reserved from each state
                                                the future) to replace EPA’s default                     default allowance allocations through a               emissions budget before determination
                                                allowance allocations to most existing                   SIP revision, in which case the state                 of the allocations from the unreserved
                                                units with state-determined allocations                  would have the ability to establish state-            portion of the budget to existing units,
                                                through a SIP revision while continuing                  determined allocations for the units                  so that certain existing units—generally
                                                to ensure the availability of a default                  subject to the state’s CAA                            those receiving the largest allocations—
                                                allocation to the Bonanza unit (or                       implementation planning authority                     contribute to creation of the set-asides
                                                similarly situated units in the future),                 while the EPA would continue to                       through roughly proportional reductions
                                                the EPA proposes to revise the Group 3                   administer the Indian country existing                in their allocations. Later, if any
                                                trading program regulations to provide                   unit set-aside for the units in Indian
                                                for ‘‘Indian country existing unit set-                                                                        allowances in a set-aside are not
                                                                                                         country not covered by the state’s CAA                allocated to qualifying new units, the
                                                asides.’’ Specifically, for each state and               implementation planning authority.284
                                                for each control period where the                                                                              remaining allowances are reallocated to
                                                                                                         The EPA believes the proposal to                      the existing units in proportion to their
                                                inventory of units used to compute the                   establish Indian country existing unit
                                                state’s emissions budget includes one or                                                                       initial allocations from the unreserved
                                                                                                         set-asides would accomplish the                       portion of the budget, so that certain
                                                more existing units 283 in an area of                    objective of allowing states to control
                                                Indian country not covered by the                                                                              existing units—again, generally those
                                                                                                         allowance allocations to units covered                receiving the largest allocations—benefit
                                                state’s CAA implementation planning                      by their CAA implementation planning
                                                authority, the EPA would reserve a                                                                             from the reallocations in rough
                                                                                                         authority while providing equitable                   proportion to their previous
                                                portion of the state’s emissions budget                  allocations to units in Indian country
                                                in an Indian country existing unit set-                                                                        contributions.285 The EPA believes
                                                                                                         not covered by such authority.                        maintaining this symmetry, where the
                                                aside for the unit or units. The amount                     The remaining revisions to the types
                                                                                                                                                               same existing units—whether in Indian
                                                                                                         of set-asides address the set-asides used
                                                   282 The EPA notes that the units that would be                                                              country or not—both contribute to and
                                                                                                         to ensure availability of allowance
                                                treated for allocation purposes in the same manner                                                             potentially benefit from the set-asides, is
                                                as units not in Indian country would include units       allocations to new units in light of the
                                                                                                                                                               a reasonable policy objective, and doing
                                                in any areas of Indian country subject to a state’s      division of the budget for existing units
                                                CAA implementation planning authority, whether
                                                                                                                                                               so requires that the EPA continue to
                                                                                                         into a reserved portion for existing units
                                                those are non-reservation areas (consistent with                                                               administer the new unit set-asides in
                                                                                                         in Indian country and an unreserved
                                                ODEQ) or reservation areas (such as areas of Indian                                                            the event a state chooses to replace
                                                country within Oklahoma’s borders covered by the         portion for other existing units. Under
                                                                                                                                                               EPA’s default allocations to existing
                                                EPA’s October 1, 2020 approval of Oklahoma’s             the current Group 3 trading program
                                                request under SAFETEA, as discussed in Section                                                                 units with state-determined allocations,
                                                                                                         regulations, allowances for new units
                                                IV.C.2 of this proposed rule).                                                                                 because otherwise the EPA would be
                                                                                                         are provided from separate new unit set-
                                                                                                                                                               unable to ensure that the units in Indian
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                                                   283 In coordination with the dynamic budgeting

                                                process discussed in Section VII.B.4 of this                                                                   country would receive an appropriate
                                                                                                            284 As noted in Section VII.D, of this proposed
                                                proposed rule, each unit included in the unit
                                                inventory used to determine a state’s emissions          rule a tribe could elect to work with EPA under the
                                                budget for a given control period in 2025 or a later     Tribal Authority Rule to develop a full or partial      285 Allowances from an Indian country new unit

                                                year would be considered an ‘‘existing’’ unit for that   tribal implementation plan under which the tribe      set-aside that are not allocated to qualifying new
                                                control period for purposes of the determination of      would determine allowance allocations for units in    units are first transferred to the state’s new unit set-
                                                unit-level allowance allocations. In other words,        the relevant area of Indian country that would        aside, and if the allowances are still not allocated
                                                there would no longer be a single fixed date that        replace EPA’s default allocations for subsequent      to qualifying new units, the allowances are then
                                                would divide ‘‘existing’’ from ‘‘new’’ units.            control periods.                                      reallocated to the state’s existing units.



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                                                share of any reallocated allowances.286                                       as discussed below), EPA proposes to                                     proposes to make an exception for New
                                                Since the principal difference between                                        establish total set-aside amounts equal                                  York for the 2023 and 2024 control
                                                the new unit set-asides and the Indian                                        to the projected amounts of emissions                                    periods, establishing a total new unit
                                                country new unit set-asides under the                                         from any planned units in the state for                                  set-aside amount for each control period
                                                current regulations is that the EPA                                           the control period, plus an additional                                   of 5 percent of the state’s emissions
                                                continues to administer the Indian                                            2% of the state emissions budget to                                      budget, with no additional
                                                country new unit set-asides in the event                                      address any unknown new units. For                                       consideration for planned units, because
                                                a state chooses to replace EPA’s default                                      example, if planned units in a state are                                 this approach is consistent with New
                                                allocations with state-determined                                             projected to emit 3% of the state’s NOX                                  York’s preferences as reflected in an
                                                allocations, if under the revised                                             ozone season emissions budget, then the                                  approved SIP addressing allowance
                                                regulations the EPA would need to                                             new unit set-aside for the state would be                                allocations for the Group 2 trading
                                                continue to administer the new unit set-                                      set at 5 percent, which is the sum of the                                program. Because the amounts of the
                                                asides, then there would no longer be                                         minimum 2% set-aside plus an                                             state emissions budgets for the 2023 and
                                                any reason to establish separate Indian                                       additional 3 percent for planned units.                                  2024 control periods would be
                                                country new unit set-asides.                                                  This is the same approach previously                                     determined in the rulemaking, the
                                                   With respect to the total amounts of                                       used to establish the amounts of new                                     amounts of the new unit set-asides for
                                                allowances that would be set aside for                                        unit set-asides in CSAPR, the CSAPR                                      these control periods would also be
                                                potential allocation to new units from                                        Update, and the Revised CSAPR Update                                     determined in the rulemaking. The
                                                the emissions budgets for each state, for                                     for all the CSAPR trading programs. See,                                 proposed amounts are shown in Tables
                                                the control periods in 2023 and 2024                                          e.g., 76 FR 48292 (August 8, 2011). As                                   VII.B.9.a-1 and VII.B.9.a-2 of this
                                                (but not for subsequent control periods,                                      under the Revised CSAPR Update, EPA                                      proposed rule.

                                                  TABLE VII.B.9.a–1—PROPOSED CSAPR NOX OZONE SEASON GROUP 3 NEW UNIT SET-ASIDE (NUSA) AMOUNTS FOR
                                                                                     THE 2023 CONTROL PERIOD a

                                                                                                                                                                                                                          New unit            New unit
                                                                                                                                                                                                       Emissions          set-aside           set-aside
                                                                                                                     State                                                                              budgets            amount              amount
                                                                                                                                                                                                         (tons)           (percent)             (tons)

                                                Alabama .......................................................................................................................................               6,364                    3                191
                                                Arkansas ......................................................................................................................................               8,889                    2                178
                                                Delaware ......................................................................................................................................                 384                   14                 54
                                                Illinois ...........................................................................................................................................          7,364                    5                368
                                                Indiana .........................................................................................................................................            11,151                    2                223
                                                Kentucky ......................................................................................................................................              11,640                    2                233
                                                Louisiana ......................................................................................................................................              9,312                    2                186
                                                Maryland ......................................................................................................................................               1,187                    2                 24
                                                Michigan .......................................................................................................................................             10,718                    4                429
                                                Minnesota ....................................................................................................................................                3,921                    2                 78
                                                Mississippi ....................................................................................................................................              5,024                    2                100
                                                Missouri ........................................................................................................................................            11,857                    2                237
                                                Nevada .........................................................................................................................................              2,280                    6                137
                                                New Jersey ..................................................................................................................................                   799                    2                 16
                                                New York .....................................................................................................................................                3,763                    5                188
                                                Ohio .............................................................................................................................................            8,369                    5                418
                                                Oklahoma .....................................................................................................................................               10,265                    2                205
                                                Pennsylvania ................................................................................................................................                 8,855                    3                266
                                                Tennessee ...................................................................................................................................                 4,234                    2                 85
                                                Texas ...........................................................................................................................................            38,284                    2                766
                                                Utah .............................................................................................................................................           14,981                    3                449
                                                Virginia .........................................................................................................................................            3,090                    5                155
                                                West Virginia ................................................................................................................................               12,478                    2                250
                                                Wisconsin .....................................................................................................................................               5,963                    2                119
                                                Wyoming ......................................................................................................................................                9,125                    3                274
                                                  Table Notes:
                                                  a In the event a final rule in this rulemaking becomes effective after May 1, 2023, the emissions budgets for the 2023 control period would be
                                                adjusted under the rule’s proposed transitional provisions to ensure the new budgets would apply only after the rule’s effective date, even though
                                                the revised Group 3 trading program would be implemented for most sources as of the start of the 2023 ozone season on May 1, 2023. The
                                                2023 budget amounts shown in Table VII.B.9.a–1 do not reflect these possible adjustments. The transitional provisions are discussed in Section
                                                VII.B.11 of this proposed rule.
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                                                  286 If units in Indian country were unable to share                         country from the obligation to share in the                              no contributions toward the new unit set-aside
                                                in the benefits of reallocation of allowances from                            contribution of allowances to the new unit set-                          while other existing units would still be required
                                                the new unit set-asides, it would be possible to                              asides. However, some stakeholders might view this                       to do so.
                                                achieve a different form of symmetry by                                       alternative as potentially inequitable because
                                                simultaneously exempting the units in Indian                                  existing units in Indian country would then make



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                                                  TABLE VII.B.9.a–2—PROPOSED CSAPR NOX OZONE SEASON GROUP 3 NEW UNIT SET-ASIDE (NUSA) AMOUNTS FOR
                                                                                     THE 2024 CONTROL PERIOD

                                                                                                                                                                                                                          New unit           New unit
                                                                                                                                                                                                       Emissions          set-aside          set-aside
                                                                                                                     State                                                                              budgets            amount             amount
                                                                                                                                                                                                         (tons)           (percent)            (tons)

                                                Alabama .......................................................................................................................................              6,306                     3              189
                                                Arkansas ......................................................................................................................................              8,889                     2              178
                                                Delaware ......................................................................................................................................                434                    14               61
                                                Illinois ...........................................................................................................................................         7,463                     5              373
                                                Indiana .........................................................................................................................................            9,391                     2              188
                                                Kentucky ......................................................................................................................................             11,640                     2              233
                                                Louisiana ......................................................................................................................................             9,312                     2              186
                                                Maryland ......................................................................................................................................              1,187                     2               24
                                                Michigan .......................................................................................................................................            10,718                     4              429
                                                Minnesota ....................................................................................................................................               3,921                     2               78
                                                Mississippi ....................................................................................................................................             4,400                     2               88
                                                Missouri ........................................................................................................................................           11,857                     2              237
                                                Nevada .........................................................................................................................................             2,372                     6              142
                                                New Jersey ..................................................................................................................................                  799                     2               16
                                                New York .....................................................................................................................................               3,763                     5              188
                                                Ohio .............................................................................................................................................           8,369                     5              418
                                                Oklahoma .....................................................................................................................................               9,573                     2              191
                                                Pennsylvania ................................................................................................................................                8,855                     3              266
                                                Tennessee ...................................................................................................................................                4,234                     2               85
                                                Texas ...........................................................................................................................................           38,284                     2              766
                                                Utah .............................................................................................................................................          15,146                     3              454
                                                Virginia .........................................................................................................................................           2,814                     5              141
                                                West Virginia ................................................................................................................................              12,478                     2              250
                                                Wisconsin .....................................................................................................................................              5,057                     2              101
                                                Wyoming ......................................................................................................................................               8,573                     3              257



                                                   For control periods in 2025 and later                                      2023 fleet composition and heat input                                    and new unit set-asides) for the Uintah
                                                years, the EPA proposes to allocate a                                         data.) Moreover, as discussed in Section                                 and Ouray Reservation separate from
                                                total of 2% of each state emissions                                           VII.B.9.b of this proposed rule, all units                               the emissions budgets (and assurance
                                                budget to a new unit set-aside, with no                                       whose heat input was used in the                                         levels, new unit set-asides, and Indian
                                                additional amount for planned new                                             budget computations for a given control                                  country new unit set-asides) established
                                                units. The amounts of the set-asides for                                      period would be eligible to receive                                      for the remaining lands within Utah’s
                                                each state and control period would be                                        allocations as ‘‘existing’’ units in that                                borders, and otherwise retaining the
                                                computed when the emissions budgets                                           control period. Consequently, by the                                     structure of prior CSAPR trading
                                                for the control period are established, by                                    2025 control period, all or almost all                                   programs’ approach to allocations to
                                                May 1 of the year before the year of the                                      units that commence commercial                                           new units in Indian country (i.e.,
                                                control period. The procedure for                                             operation before issuance of a final rule                                keeping the Indian country new unit
                                                determining the amounts of the set-                                           in this rulemaking would be considered                                   set-asides, and not expanding eligibility
                                                asides based on the amounts of the state                                      ‘‘existing’’ units for purposes of budget-                               for allocations from the new unit set-
                                                emissions budgets would be codified in                                        setting and allocations, and units                                       asides). The EPA also requests comment
                                                the Group 3 trading program regulations                                       commencing commercial operation after                                    on the proposed new unit set-aside
                                                and would reflect the same percentage                                         issuance of a final rule generally would                                 amounts for the 2023 and 2024 control
                                                of the emissions budget for all states.                                       be considered ‘‘existing’’ units for all                                 periods, the proposed procedure for
                                                   The purpose of the proposed change                                         but their first two full control periods of                              establishing the new unit set-aside
                                                to the procedure for establishing the                                         operation (and possibly a preceding                                      amounts for the control periods in 2025
                                                amounts of the set-asides is to                                               partial control period). Given that new                                  and later years, and the proposed
                                                coordinate with the dynamic budget-                                           units would not be relying on the new                                    procedure for establishing the Indian
                                                setting process that would also become                                        unit set-asides as a permanent source of                                 country existing unit set-aside amounts
                                                effective as of the 2025 control period.                                      allowances, as is the case for ‘‘new’’                                   for the control periods in 2023 and later
                                                As discussed in Section VII.B.4 of this                                       units under the other CSAPR trading                                      years.
                                                proposed rule, under the dynamic                                              programs, the EPA believes smaller set-                                  b. Allocations to Existing Units,
                                                budget-setting process, each state’s                                          asides would be sufficient.                                              Including Units That Cease Operation
                                                budget for each control period would be                                          The EPA requests comment on the
                                                                                                                                                                                                          In conjunction with the new and
                                                computed using fleet composition                                              proposals to establish Indian country
                                                                                                                                                                                                       revised state emissions budgets for the
                                                information and the total ozone season                                        existing unit set-asides, eliminate Indian
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                                                                                                                                                                                                       Group 3 trading program proposed in
                                                heat input reported by all affected units                                     country new unit set-asides, and expand
                                                                                                                                                                                                       this rulemaking, the EPA is necessarily
                                                in the state for the latest control period                                    eligibility for allocations from new unit
                                                                                                                                                                                                       proposing new unit-level allocations of
                                                before the budget-setting computations,                                       set-asides to include units in Indian
                                                                                                                                                                                                       Group 3 allowances to existing units.287
                                                which would be 2 years before the                                             country for control periods in 2023 and
                                                control period for which the budgets are                                      later years. In the alternative, the EPA                                   287 The proposed revisions to the procedures for
                                                being determined. (For example, 2025                                          requests comment on establishing                                         computing unit-level allowance allocations in this
                                                emissions budgets would be based on                                           emissions budgets (and assurance levels                                  rulemaking apply only to the Group 3 trading



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                                                The procedure that the EPA proposes to                  allocations, except that units that                    control period, the EPA would use data
                                                employ to compute the unit-level                        commenced construction after January                   for the 2019–2023 control periods.)
                                                allocations is very similar but not                     1, 2019, were not treated as eligible to               Second, to simplify the data
                                                identical to the procedure used to                      receive allocations as existing units and              compilation process, the EPA would use
                                                compute unit-level allocations for units                instead received allocations from the                  only a five-year period for NOX mass
                                                subject to the Group 3 trading program                  new unit set-asides. Under this                        emissions, in contrast to the 8-year
                                                in the Revised CSAPR Update. The                        rulemaking, any unit whose heat input                  period used in the Revised CSAPR
                                                steps of the proposed procedure for                     is used to set a state’s emissions budget              Update for NOX mass emissions.
                                                determining allocations from each state                 for a given control period would also be                  In the third step of the procedure for
                                                emissions budget for each control                       eligible to receive allocations as an                  determining allocations to existing units
                                                period, are described in detail in the                  existing unit for that control period.                 in each state, the EPA would allocate
                                                Unit-Level Allowance Allocations                           The EPA notes that this proposal to                 the available allowances for that state
                                                Proposed Rule TSD. The steps are                        base the list of eligible units on the list            among the state’s eligible units in
                                                summarized later, with changes from                     of units that reported heat input in the               proportion to the share each unit’s
                                                the procedure followed in the Revised                   control period 2 years earlier than the                average heat input value represents of
                                                CSAPR Update noted.                                     control period for which allocations are               the total of the average heat input values
                                                   In the first step, the EPA would                     being determined would represent a                     for all the state’s eligible units, but not
                                                identify the list of units eligible to                  revision to the current regulations                    more than the unit’s maximum total
                                                receive allocations for the control                     concerning the treatment of allocations                NOX value. If the allocations to one or
                                                period, which would be the same set of                  to retired units. Under the current                    more units are curtailed because of the
                                                units whose heat input was used in                      regulations, units that cease operations               units’ maximum total NOX values, the
                                                computing the state’s emissions budget                  for 2 consecutive control periods                      EPA would iterate the calculation
                                                for the control period (except any units                continue to receive allocations as                     procedure as needed to allocate the
                                                that are included in the budgets as                     existing units for 3 additional years (that            remaining allowances, excluding from
                                                ‘‘new’’ units, which would receive                      is, a total of 5 years) before the                     each successive iteration any units
                                                allocations from the new unit set-asides                allowances they would otherwise have                   whose allocations have already reached
                                                instead). The unit inventories used to                  received are reallocated to the new unit               their maximum total NOX values. This
                                                compute emissions budgets for the 2023                  set-aside for the state. Under the                     calculation procedure is identical to the
                                                and 2024 control periods would be                       proposal in this rulemaking, units that                calculation procedure used in the
                                                determined in the rulemaking in the                     cease operation would receive                          Revised CSAPR Update (as well as the
                                                same manner as in the Revised CSAPR                     allocations for only two full control                  CSAPR Update and CSAPR).
                                                Update. The unit inventories used to                    periods of non-operation. While the                       The unit-level allocations for the 2023
                                                                                                        EPA has in prior transport rulemakings                 and the 2024 control periods would be
                                                compute emissions budgets and unit-
                                                                                                        noted a qualitative concern that ceasing               determined in the rulemaking based on
                                                level allocations for control periods in
                                                                                                        allowance allocations prematurely                      the emissions budgets for those control
                                                2025 and later years would be
                                                                                                        could distort the economic incentives of               periods also determined in the
                                                determined in the year before the
                                                                                                        EGUs to continue operating when                        rulemaking and would be recorded 30
                                                control period in question based on the
                                                                                                        retirement is more economical, the EPA                 days after the effective date of the final
                                                latest reported emissions and
                                                                                                        believes current market conditions are                 rule (in order to provide time to execute
                                                operational data, which is an extension
                                                                                                        such that a continuation of allowance                  the proposed recall of 2023 and 2024
                                                of the methodology used in the Revised
                                                                                                        allocations to retiring units likely has no            Group 2 allowances, as discussed in
                                                CSAPR Update to reflect more recent
                                                                                                        more than a de minimis effect on the                   Section VII.B.11.c of this proposed rule).
                                                data (for example, the unit inventories                                                                        This proposed recordation schedule
                                                                                                        consideration of an EGU whether to
                                                used to compute 2025 budgets and                                                                               represents a revision to the recordation
                                                                                                        retire or not.
                                                allocations would reflect reported data                    In the second step of the procedure                 schedule currently in the Group 3
                                                for the 2023 control period). The                       for determining allocations to existing                trading program regulations which calls
                                                procedures for updating the unit                        units, the EPA would compile a                         for allocations of 2023 and 2024 Group
                                                inventories for 2023 and 2024 and for                   database containing for each eligible                  3 allowances to existing units to be
                                                2025 and beyond are discussed in                        unit the unit’s historical heat input and              recorded on July 1, 2022. The EPA notes
                                                Section VII.B.4 of this proposed rule,                  total NOX emissions data for the five                  that for the three states with approved
                                                and the criteria that the EPA has applied               most recent ozone seasons. For each                    SIP revisions establishing their own
                                                to determine whether a unit’s scheduled                 unit, the EPA would compute an                         methodologies for allocating Group 2
                                                retirement is sufficiently certain to serve             average heat input value based on the                  allowances—Alabama, Indiana, and
                                                as a basis for adjusting emissions                      three highest non-zero heat input values               New York—EPA proposes to follow
                                                budgets and unit-level allocations are                  over the 5-year period, or as the average              those methodologies to the extent
                                                discussed in Section VI.B and in the                    of all the non-zero values in the period               possible in developing the allocations of
                                                Ozone Transport Policy Analysis                         if there are fewer than three non-zero                 Group 3 allowances for the 2023 and
                                                Proposed Rule TSD. With regard to the                   values. For each unit, the EPA would                   2024 control periods. For the amounts
                                                use of the inventories from the budget-                 also determine the maximum total NOX                   of the proposed allocations to existing
                                                setting procedure in setting unit-level                 emissions value over the 5-year period.                units for the 2023 and 2024 control
                                                allocations, in the Revised CSAPR                       These procedures are nearly identical to               periods, see the ‘‘Unit-Level Allowance
                                                Update, the inventories used to
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                                                                                                        the procedures used in the Revised                     Allocations Proposed Rule TSD’’ in the
                                                establish the budgets were generally                    CSAPR Update, with two exceptions.                     docket.
                                                also used to compute unit-level                         First, instead of using only the data                     The unit-level allocations for each
                                                                                                        available at the time of the rulemaking,               control period in 2025 or a later year
                                                program. In this rulemaking, the EPA is not             for each control period the EPA would                  would be computed immediately
                                                proposing changes to or reopening the methodology
                                                for computing the amounts of allowances allocated
                                                                                                        use data from the most recent five                     following the determination of the
                                                to any unit under any other CSAPR trading               control periods for which data had been                emissions budgets for the control
                                                program.                                                reported. (For example, for the 2025                   period. The EPA would perform the


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                                                computations and issue a notice of data                 before the control period. Submission                  control period and that was not eligible
                                                availability concerning the preliminary                 by June 1 would allow the allowance                    to receive an allowance allocation as an
                                                unit-level allocations for each control                 allocations to the units in the state to be            ‘‘existing’’ unit for the control period.
                                                period by March 1 of the year before the                recorded by July 1 of the year before the              Any allowances remaining in an Indian
                                                control period. Objections to the data                  control period, simultaneously with the                country new unit set-aside after the
                                                and preliminary computations could be                   recordation of allocations to units in                 allocations to new units are transferred
                                                submitted for 30 days, and the EPA                      states where the EPA determines the                    to the new unit set-aside for the state for
                                                would make any appropriate revisions                    allocations.                                           potential allocation to new units in non-
                                                and issue another notice of data                           As an exception to all of the                       Indian country areas of the state, and
                                                availability by May 1 of the year before                recordation deadlines that would                       any allowances remaining in a new unit
                                                the control period. The EPA would then                  otherwise apply, the EPA proposes to                   set-aside after the allocations to new
                                                record the allocations by July 1 of the                 not record any allocations of Group 3                  units are reallocated to the existing
                                                year before the control period. This                    allowances in a source’s compliance                    units in the state in proportion to those
                                                proposed recordation schedule—which                     account unless that source has complied                units’ previous allocations for the
                                                is necessitated by the fact that the                    with the requirements to surrender                     control period as existing units. The
                                                amounts of the unit-level allocations to                previously allocated 2023–2024 Group 2                 EPA issues a notice of data availability
                                                be recorded would not be known until                    allowances. The surrender requirements                 concerning the proposed allocations by
                                                the year before the control period, as                  are necessary to maintain the previously               March 1 following the control period,
                                                just discussed—represents a revision to                 established levels of stringency of the                provides an opportunity for submission
                                                the recordation schedule currently in                   Group 2 trading program for the states                 of objections, and issues a final notice
                                                the Group 3 trading program regulations                 and sources that remain subject to that                of data availability and record the
                                                which calls for allocations of Group 3                  program under this final rule. The EPA                 allocations by May 1 following the
                                                allowances to existing units for control                finds that it is reasonable to condition               control period, one month before the
                                                periods in 2025 and later years to be                   the recordation of Group 3 allowances                  June 1 compliance deadline.
                                                recorded on July 1 of the third year                    on compliance with the surrender                          In this rulemaking, as discussed in
                                                before the year of the control period.                  requirements because the condition will                Section VII.B.9.a of this document, the
                                                The EPA does not propose to follow any                  spur compliance and will not impose an                 EPA is proposing to eliminate Indian
                                                state-specific methodologies as part of                 inappropriate burden on sources. The                   country new unit set-asides after the
                                                the procedures for determining default                  EPA considers establishment of this                    2022 control period and to expand
                                                unit-level allocations of Group 3                       condition, which will facilitate the                   eligibility for allocations from each
                                                allowances for control periods in 2025                  continued functioning of the Group 2                   state’s new unit set-aside for a control
                                                or later years, but any state wishing to                trading program, to be an appropriate                  period in 2023 or a later year to include
                                                use a procedure different than EPA’s                    exercise of the Agency’s authority under               units in Indian country within the
                                                default allocations procedure could do                  CAA section 301 (42 U.S.C. 7601) to                    state’s borders, regardless of whether the
                                                so by obtaining approval of a SIP                       prescribe such regulations as are                      area of Indian country is covered by the
                                                revision, as discussed in Section VII.D                 necessary to carry out its functions                   state’s CAA implementation planning
                                                of this proposed rule.                                  under the Act.                                         authority. The reasons for these
                                                                                                           The EPA requests comment on the                     proposed revisions are discussed in
                                                   In the case of any states making state-              proposed revisions to the procedures for               Section VII.B.9.a of this proposed rule.
                                                determined allocations under approved                   allocating allowances to existing units                The EPA is not proposing any
                                                SIP revisions, the allocations would                    under the Group 3 trading program, the                 substantive revisions to the current
                                                have to be submitted to EPA by June 1                   deadlines for recording the allocations,               Group 3 trading program provisions
                                                of the year before the control period and               and the deadlines for submission of                    governing the procedures for allocating
                                                the EPA would record the allocations by                 state-determined allowance allocations                 allowances from a state’s new unit set-
                                                July 1 of the year before the control                   to the EPA.                                            aside for a control period to the eligible
                                                period. The proposed submission                                                                                units within the state’s borders.288
                                                deadline would represent a revision of                  c. Allocations From Portions of State
                                                                                                        Emissions Budgets Set Aside for New                       This EPA notes that the proposed
                                                the current deadline of June 1 of the                                                                          revisions to other provisions of the
                                                year 3 years before the control period,                 Units
                                                                                                                                                               Group 3 trading program regulations
                                                and the proposed recordation deadline                      As promulgated in the Revised                       discussed elsewhere in this document
                                                would represent a revision of the                       CSAPR Update, the Group 3 trading                      will reduce the portions of the state
                                                current deadline of July 1 of the year 3                program regulations provide for the EPA                emissions budgets that are allocated
                                                years before the control period. The                    to allocate allowances from each new                   through the new unit set-asides.
                                                purpose of revising the submission                      unit set-aside and Indian country new                  Specifically, because the new unit set-
                                                deadline is to provide each state for                   unit set-aside after the end of the control            asides will no longer receive any
                                                which the EPA has approved a SIP                        period at issue. The regulations call for              additional allowances when units retire,
                                                revision authorizing state-determined                   the EPA to allocate allowances to any                  for control periods in 2025 and later
                                                allowance allocations a period of time                  eligible ‘‘new’’ units in the state in                 years the amounts of allowances in the
                                                in which to apply the state’s preferred                 proportion to their respective emissions               new unit set-asides will always be 2
                                                allocation methodology to the state’s                   during the control period, up to the                   percent of the respective state emissions
                                                trading budget for the appropriate                      amounts of those emissions if the                      budgets for the respective control
                                                control period. Because the state trading               relevant set-aside contains sufficient
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                                                                                                                                                               periods. This reduction in the size of the
                                                budgets under the Group 3 trading                       allowances, and not exceeding those
                                                program as revised would not be known                   emissions. An eligible new unit for                      288 As discussed in Section X of this proposed

                                                until May 1 of the year before each                     purposes of allocations from a set-aside               rule, the EPA is proposing to relocate some of the
                                                control period, states could not                        for a given control period is generally                regulatory provisions relating to administration of
                                                                                                                                                               the new unit set-asides and is also proposing to
                                                determine unit-level allocations of the                 any unit in the relevant area that                     remove certain provisions that would be made
                                                budgets using their own methodologies                   reported emissions subject to allowance                obsolete by proposed revisions to other provisions
                                                significantly before June 1 of the year                 surrender requirements during the                      of the Group 3 trading program regulations.



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                                                new unit set-asides is appropriate given                recovered allowances to the new unit                   program regulations already provide
                                                that the number of consecutive control                  set-aside for a subsequent control                     that EPA will interpret references to the
                                                periods for which any particular unit is                period, as provided in the current                     Group 2 trading program in certain
                                                likely to receive allocations from a                    regulations, would be inconsistent with                documents—including a certificate of
                                                state’s new unit set-aside will be                      the proposed trading program                           representation as well as a notice of
                                                reduced to two or three before the unit                 enhancements discussed elsewhere in                    delegation to an agent or an application
                                                becomes eligible to receive allocations                 this document, where the amounts of                    for a general account—as if the
                                                from the unreserved portion of the                      allowances provided in the state                       documents referenced the Group 3
                                                state’s emissions budget. This approach                 emissions budgets for each control                     trading program instead of the Group 2
                                                contrasts with the approach under the                   period are designed to reflect the most                trading program. For these reasons,
                                                other CSAPR trading programs where a                    current available information on fleet                 sources that currently participate in the
                                                new unit never becomes eligible to                      composition and utilization and where                  Group 2 trading program and that
                                                receive allocations from the unreserved                 the quantities of banked allowances                    transition to the Group 3 trading
                                                portion of the emissions budget and                     available for use in each control period               program because of a final rule in this
                                                where the new unit set-aside therefore                  are recalibrated for consistency with the              rulemaking will not need to submit any
                                                needs to grow to accommodate an ever-                   state emissions budgets. The EPA                       new forms as part of the transition,
                                                increasing share of the state’s total                   therefore proposes that, starting with                 because previously submitted forms will
                                                emissions.                                              allowances allocated for the 2024                      be valid for purposes of the Group 3
                                                   The EPA also notes that, as discussed                control period, any incorrectly allocated              trading program.
                                                in Sections VII.D.2 and VII.D.3 of this                 allowances that are recovered after the                   Designated representatives for sources
                                                proposed rule, in the event that a state                deadline for allocating allowances from                that are newly affected under the Group
                                                chooses to replace EPA’s default                        the new unit set-aside for that control                3 trading program and that are not
                                                allowance allocations under the Group                   period (i.e., May 1 of the year following              currently affected under the Group 2
                                                3 trading program with state-determined                 the control period) would be transferred               trading program would need to submit
                                                allocations through a SIP revision, the                 to a surrender account instead of being                new or updated certificates of
                                                EPA will continue to administer the                     reallocated to other units in the state.               representation. If the source is also
                                                portion of each state emissions budget                     The EPA requests comment on the                     affected under other CSAPR trading
                                                reserved in a new unit set-aside in order               proposed revision to the provisions for                programs or the Acid Rain Program, the
                                                to ensure the availability of allowance                 disposition of incorrectly allocated                   source’s designated representative for
                                                allocations to new units in any areas of                allowances that are recovered after the                all of the programs must be the same
                                                Indian country within the state not                     deadline for allocating allowances from                individual. The EPA will not record any
                                                covered by the state’s CAA                              the new unit set-asides for the control                Group 3 allowances allocated to a
                                                implementation planning authority.                      periods for which the recovered                        source in the source’s compliance
                                                                                                        allowances were issued.                                account until the source has a properly
                                                d. Incorrectly Allocated Allowances
                                                                                                                                                               authorized designated representative.
                                                   The Group 3 trading program                          10. Other Trading Program Provisions
                                                regulations as promulgated in the                          This section discusses how certain                  b. Monitoring and Reporting
                                                Revised CSAPR Update include                            existing provisions of the Group 3                     Requirements
                                                provisions addressing incorrectly                       trading program regulations would                         The Group 3 trading program requires
                                                allocated allowances. With regard to any                apply to sources that become subject to                monitoring and reporting of emissions
                                                allowances that were incorrectly                        the program as a result of a final rule in             and heat input data in accordance with
                                                allocated and are subsequently                          this rulemaking as well as certain                     the provisions of 40 CFR part 75. In this
                                                recovered, the current provisions                       proposed changes to reporting                          rulemaking, the EPA is not proposing
                                                generally call for the recovered                        requirements associated with the                       any change to these provisions of the
                                                allowances to be reallocated to other                   proposed backstop daily NOX emissions                  Group 3 trading program except with
                                                units in the relevant state (or Indian                  rates for coal-fired units.                            respect to the monitor certification
                                                country within the borders of the state)                                                                       deadline for certain units. The EPA is
                                                through the process for allocating                      a. Designated Representative                           also not proposing any changes to the
                                                allowances from the new unit set-aside                  Requirements                                           monitoring requirements in 40 CFR part
                                                (or Indian country new unit set-aside)                     As noted in Section VII.B.1.a of this               75 for units subject to such
                                                for the state. If the procedures for                    document, a core design element of all                 requirements. However, because of the
                                                allocating allowances from the set-                     the CSAPR trading programs is the                      proposed geographic expansion of the
                                                asides have already been carried out for                requirement that each source must have                 Group 3 trading program, certain units
                                                the control period for which the                        a designated representative who is                     that were not previously subject to
                                                recovered allowances were issued, the                   authorized to represent all of the                     monitoring requirements under 40 CFR
                                                allowances would be allocated through                   source’s owners and operators and is                   part 75 would become subject to such
                                                the set-asides for subsequent control                   responsible for certifying the accuracy                requirements. Also, the EPA is
                                                periods.                                                of the source’s reports to the EPA and                 proposing certain additional
                                                   The EPA continues to view the                        overseeing the source’s Allowance                      recordkeeping and reporting
                                                current provisions for disposition of                   Management System account. The                         requirements that would be met using
                                                recovered allowances as reasonable in                   necessary authorization of a designated                some of the data that are already
                                                the case of any allowances that are
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                                                                                                        representative is certified to the EPA in              collected by the required monitoring
                                                recovered before the deadline for                       a certificate of representation. The EPA               systems.289
                                                recording allocations of allowances from                is not proposing any change to the
                                                the new unit set-aside for the control                  Group 3 trading program’s designated                     289 The EPA is not proposing to amend the

                                                period for which the recovered                          representative provisions in this                      existing provisions of the Group 3 trading program
                                                                                                                                                               regulations that govern whether units covered by
                                                allowances were issued. However, in                     rulemaking.                                            the program must record and report required data
                                                the case of any allowances that are                        The existing designated representative              on a year-round basis or may elect to record and
                                                recovered after that deadline, adding the               provisions in the Group 3 trading                                                                Continued




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                                                   Under 40 CFR part 75, a unit has                     input values for the common stack in                   requirements in this rule to be less
                                                several options for monitoring and                      proportion to the individual units’                    stringent overall, the Agency requests
                                                reporting, including the use of                         recorded hourly output of electricity or               comment on whether units in particular
                                                continuous emissions monitoring                         steam. See generally 40 CFR 75.72.                     situations should be required to obtain
                                                systems (CEMS), excepted monitoring                        In this rulemaking, the proposed                    the necessary hourly mass emissions
                                                methodologies for qualifying gas- or oil-               provisions governing default unit-level                values through installation and
                                                fired units that rely in part on fuel-flow              allowance allocations, backstop daily                  operation of monitoring systems at the
                                                metering in combination with CEMS-                      NOX emissions rates for certain coal-                  individual-unit level.290
                                                based or testing-based NOX emissions                    fired units, and secondary emissions                      In addition, to implement the
                                                rate data, low-mass emissions                           limitations for units contributing to                  proposed backstop daily NOX emissions
                                                monitoring for certain non-coal-fired,                  assurance level exceedances would all                  rates during the ozone season for certain
                                                low emitting units, and alternative                     require the use of unit-level reported                 coal-fired units, the EPA is proposing to
                                                monitoring systems approved by the                      data on NOX mass emissions (or unit-                   require additional recordkeeping and
                                                Administrator through a petition                        level NOX emissions rates computed in                  reporting requirements for these units.
                                                process. In addition, sources can submit                part based on unit-level reported data                 Specifically, starting in 2024 for coal-
                                                petitions to the Administrator for                      on NOX mass emissions). To facilitate                  fired units with existing SCR controls
                                                alternatives to individual monitoring,                  the implementation of these proposed                   serving generators larger than 100 MW,
                                                recordkeeping, and reporting                            provisions, the EPA is proposing to                    and starting in 2027 for other coal-fired
                                                requirements specified in 40 CFR part                   require all units covered by the Group                 units serving generators larger than 100
                                                75. Each CEMS must undergo rigorous                                                                            MW (except circulating fluidized bed
                                                                                                        3 trading program exhausting to
                                                initial certification testing and periodic                                                                     units), the units would be required to
                                                                                                        common stacks to record and report
                                                quality assurance testing thereafter,                                                                          record and report total daily NOX
                                                                                                        unit-level hourly and cumulative NOX
                                                including the use of relative accuracy                                                                         emissions and total daily heat input,
                                                                                                        mass emissions data starting with the
                                                test audits and 24-hour calibrations. In                                                                       daily average NOX emissions rate, and
                                                                                                        2024 control period. To obtain the
                                                addition, when a monitoring system is                                                                          daily NOX emissions exceeding the
                                                                                                        necessary unit-level hourly mass
                                                not operating properly, standard                                                                               applicable backstop daily NOX
                                                                                                        emissions values, the EPA proposes to
                                                substitute data procedures are applied                                                                         emissions rates. The units would also be
                                                                                                        allow the units to apportion hourly
                                                to produce a conservative estimate of                                                                          required to record and report
                                                                                                        mass emissions values determined at
                                                emissions for the period involved.                                                                             cumulative NOX emissions exceeding
                                                                                                        the common stack in proportion to the                  the backstop daily NOX emissions rates
                                                Further, 40 CFR part 75 requires                        individual units’ recorded hourly heat
                                                electronic submission of quarterly                                                                             for the ozone season. These data would
                                                                                                        input. The proposed apportionment                      be used to determine the allowance
                                                emissions reports to the Administrator,                 procedure would be very similar to the
                                                in a format prescribed by the                                                                                  surrender requirements related to the
                                                                                                        apportionment procedure that most                      backstop daily NOX emissions rates. As
                                                Administrator. The reports would                        such units already apply to compute
                                                contain all of the data required                                                                               with the additional recordkeeping and
                                                                                                        reported unit-level heat input data.                   reporting requirements discussed above
                                                concerning ozone season NOX                             Because the additional required data
                                                emissions.                                                                                                     for units exhausting to common stacks,
                                                                                                        values would be obtained through                       implementation of the additional
                                                   For units exhausting to common                       apportionment, implementation of the
                                                stacks, 40 CFR part 75 includes options                                                                        recordkeeping and reporting
                                                                                                        proposed additional recordkeeping and                  requirements for coal-fired units would
                                                that often allow monitoring to be                       reporting requirements would                           necessitate a one-time update to the
                                                conducted at the common stack on a                      necessitate a one-time update to the                   units’ data acquisition and handling
                                                combined basis for all the units as an                  units’ data acquisition and handling                   systems but would not require any
                                                alternative to installing separate                      systems but would not require any                      changes to the monitoring systems
                                                monitoring systems for the individual                   changes to the monitoring systems                      already needed to meet other
                                                units in the ductwork leading to the                    already needed to meet other                           requirements under 40 CFR part 75.
                                                common stack. The units then keep                       requirements under 40 CFR part 75. In                     In states whose sources currently
                                                records and report hourly and                           most cases, the EPA expects that the                   participate in the Group 3 trading
                                                cumulative NOX mass emissions and in                    reported values computed through these                 program, as well as states whose sources
                                                many cases heat input data on a                         apportionment procedures would                         participate in the Group 2 trading
                                                combined basis for all units exhausting                 reasonably approximate the values that                 program and would transition to the
                                                to the common stack. With respect to                    could be obtained through installation
                                                heat input data, but not NOX mass                       and operation of separate monitoring                     290 For example, as noted in Section VII.B.7 of
                                                emissions data, most such units are also                systems for the individual units,                      this proposed rule, there are currently five plants
                                                required to record and report hourly and                because the units exhausting to the                    in the states covered by this proposal where SCR-
                                                cumulative data on an individual-unit                                                                          equipped coal-fired units and non-SCR-equipped
                                                                                                        common stack would be expected to                      coal-fired units exhaust to common stacks. If the
                                                basis, and where necessary they                         have similar NOX emissions rates.                      owners and operators of these plants choose to
                                                typically compute the necessary unit-                   However, the EPA also recognizes that                  report apportioned NOX mass emissions data in
                                                level hourly heat input values by                                                                              preference to installing and operating separate
                                                                                                        at some plants, unit-level values                      monitoring systems, the likely effect would be to
                                                apportioning the combined hourly heat                   determined through apportionment                       overstate reported NOX mass emissions for the SCR-
                                                                                                        based on electricity or steam output                   equipped units and correspondingly understate
                                                report required data on an ozone season-only basis.     could overstate the reported NOX mass                  reported NOX mass emissions for the non-SCR
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                                                See 40 CFR 97.1034(d)(1); see also 40 CFR 75.74(a)–                                                            equipped units. This would make compliance with
                                                (b). Thus, for units that are required or elect to
                                                                                                        emissions for some units and                           the proposed backstop daily NOX emissions rate
                                                report other data on a year-round basis, the            correspondingly understate the reported                more challenging for the SCR-equipped units. If the
                                                proposed additional recordkeeping and reporting         NOX mass emissions for other units.                    EPA does not require the owners and operators to
                                                requirements would also apply year-round, while         While the EPA has not at this time                     install and operate separate monitoring systems for
                                                for units that are allowed and elect to report other                                                           the individual units in a final rule in this
                                                data on an ozone season-only basis, the proposed
                                                                                                        identified any reason to expect such                   rulemaking, the owners and operators would still
                                                additional requirements would also apply for the        potential overstatement and                            have the option to do so if they believed it would
                                                ozone season only.                                      understatement to cause the proposed                   be to their benefit.



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                                                Group 3 trading program under this                      currently report NOX emissions data to                   The EPA requests comment on the
                                                proposal, units that are not subject to                 the EPA under 40 CFR part 75 would                     proposed revisions to the recordkeeping
                                                the proposed backstop daily NOX                         need to certify new monitoring systems                 and reporting provisions in 40 CFR part
                                                emissions rates would not need to make                  in accordance with part 75 before they                 75 and the proposed establishment of a
                                                any changes to their current monitoring                 would be required to monitor and report                180-day window for certification of new
                                                and reporting as a result of the                        emissions for purposes of the Group 3                  monitoring systems after the effective
                                                transition. The sources in states                       trading program. The units the EPA has                 date of a final rule in this rulemaking for
                                                currently in the Group 2 trading                        been able to identify as potentially                   units that do not already have
                                                program would be required to begin                      affected under this proposal that may                  monitoring systems certified under 40
                                                monitoring and reporting of NOX                         need to certify new monitoring systems                 CFR part 75. As discussed above, with
                                                emissions and operational data for                      are listed in Table VII.B.3–1 (along with              respect to units exhausting to common
                                                purposes of the Group 3 trading                         some other units that are potentially                  stacks, the EPA also requests comment
                                                program as of May 1, 2023, the start of                 affected under this proposal and that                  on whether units in particular situations
                                                the 2023 control period.                                already have certified monitoring                      should be required to obtain hourly
                                                   In states whose sources do not                       systems). Because each of the listed                   NOX mass emissions values through
                                                currently participate in the Group 2                    units commenced commercial operation                   installation and operation of monitoring
                                                trading program, any sources that                       more than 180 days before the date                     systems at the individual-unit level
                                                currently report ozone season NOX mass                  when a final rule in this rulemaking                   instead of being allowed to obtain
                                                emissions according to 40 CFR part 75                   would become effective, under the                      values for individual units through
                                                to comply with SIP requirements and                     current Group 3 trading program                        apportionment of the combined values
                                                that are not subject to the proposed                    regulations (i.e., without the revisions               for the units exhausting to the common
                                                backstop daily NOX emissions rates                      proposed in this section), each unit’s                 stack.
                                                similarly would not need to make any                    monitor certification deadline would
                                                changes to their current monitoring and                                                                        11. Transitional Provisions
                                                                                                        generally be the effective date of the
                                                reporting as a result of the transition.                final rule. To ensure that the final rule                 This section discusses several
                                                Other sources in these states that                      does not impose monitor installation                   provisions that the EPA proposes to
                                                currently report SO2 and NOX emissions                  and certification requirements on these                implement in order to address the
                                                data according to 40 CFR part 75 under                  units before the effective date of the                 transition of sources into the Group 3
                                                other CSAPR trading programs or the                     final rule, the EPA is proposing to revise             trading program as revised. The
                                                Acid Rain Program would not need to                     the Group 3 trading program’s monitor                  purposes of the proposed transitional
                                                certify new monitoring systems for                      certification deadline provisions to                   provisions are generally the same as the
                                                purposes of the Group 3 trading                         establish a 180-day window for                         purposes of the analogous transitional
                                                program but would need to update their                  certification of the new monitoring                    provisions promulgated in the Revised
                                                monitoring plans and possibly update                    systems after the effective date of a final            CSAPR Update: First, accounting for the
                                                the software in their data acquisition                  rule in this rulemaking for units that do              possibility that the effective date of a
                                                and handling systems to compute                         not already have monitoring systems                    final rule in this rulemaking will fall
                                                certain additional values from the                      certified under 40 CFR part 75, similar                after the starting date of the first affected
                                                measurements that are already being                     to the 180-day window already                          ozone season (which in this case is, May
                                                recorded. All the sources in these states               provided to units commencing                           1, 2023); second, establishing an
                                                that already have monitoring systems                                                                           appropriately-sized initial allowance
                                                                                                        commercial operation after (or less than
                                                certified under 40 CFR part 75 would be                                                                        bank through the conversion of
                                                                                                        180 days before) the final rule’s effective
                                                required to begin monitoring and                                                                               previously banked allowances; and
                                                                                                        date. The 180th day for units in this
                                                reporting of NOX emissions and                                                                                 third, preserving the intended
                                                                                                        situation would likely fall after the end
                                                operational data for purposes of the                                                                           stringency of the Group 2 trading
                                                                                                        of the 2023 ozone season, with the
                                                Group 3 trading program as of the later                                                                        program for the sources that will
                                                                                                        result that the certification deadline
                                                of May 1, 2023, or the effective date of                                                                       continue to be subject to that
                                                                                                        would be extended until May 1, 2024,
                                                the final rule.291                                                                                             program.293 However, the sources that
                                                                                                        the first day of the 2024 ozone season.
                                                   Finally, any sources that meet the                                                                          would be participants in the revised
                                                                                                        Because the program’s allowance
                                                applicability criteria of the Group 3                                                                          Group 3 trading program under this
                                                                                                        holding requirements apply to a given                  proposal are transitioning from several
                                                trading program and that do not                         unit only after that unit’s monitor                    different starting points—with some
                                                   291 For units that currently report under 40 CFR
                                                                                                        certification deadline, the units in this              sources already in the Group 3 trading
                                                part 75 only for annual programs and that use the       situation consequently would become
                                                optional low mass emissions methodology in 40           subject to allowance holding                           monitor certification deadline proposed in this
                                                CFR 75.19, an additional consideration could arise.     requirements as of the 2024 ozone                      section, and the related delay in allowance holding
                                                Specifically, eligibility to use the low mass           season rather than the 2023 ozone                      requirements from 2023 to 2024, could apply to
                                                emissions methodology for reporting ozone season                                                               between seven and 22 units, with the total
                                                NOX mass emissions is restricted to units               season.292
                                                                                                                                                               estimated 2021 ozone season NOX emissions for all
                                                demonstrating that they have not exceeded or will                                                              such units ranging between 250 and 450 tons.
                                                not exceed a maximum of 50 tons of NOX per ozone          292 Table VII.B.3–1 of this proposed rule lists 22
                                                                                                                                                               During the period before allowance holding
                                                season. In theory, some units that would be eligible    existing units in Delaware, Nevada, Utah, and          requirements apply to the units—i.e., the period
                                                to use the low mass emissions methodology for           Wyoming that appear to meet the Group 3 trading        from the effective date of a final rule in this
                                                purposes of annual programs only might lose that        program’s general applicability criteria and that do   rulemaking until the start of the 2024 control
                                                eligibility because of the 50-ton ozone season cap      not already report NOX emissions data to the EPA       period—other requirements of the program would
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                                                (which does not apply to units reporting for annual     under 40 CFR part 75 pursuant to any other existing    still apply, such as the requirement for submission
                                                programs only). Based on the emissions reports          regulatory requirements. As noted in Section           of a certificate of representation by a designated
                                                submitted for the 2018–2020 control periods under       VII.B.3 of this proposed rule, six of the 22 listed    representative and the requirements related to
                                                the Acid Rain Program and the CSAPR annual              units have reported that they may retire before the    installation and certification of required monitoring
                                                programs, none of the existing units that currently     2023 ozone season, and the possibility exists that     systems.
                                                report under 40 CFR part 75 for annual programs         up to nine of the remaining listed units could            293 The EPA is not proposing to create a ‘‘safety

                                                only and that would be added to the Group 3             qualify for an exemption from the Group 3 trading      valve mechanism’’ in this rulemaking analogous to
                                                trading program under the proposal are presently in     program available to certain cogeneration units.       the safety valve mechanism established under the
                                                this theoretical situation.                             EPA therefore projects that the revision to the        Revised CSAPR Update.



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                                                program under its current regulations,                  full-season emissions budget by the                    Update rulemaking. Instead, the EPA
                                                some sources coming from the Group 2                    number of days from the rule’s effective               would include both sets of emissions
                                                trading program, and some sources not                   date through September 30, 2023,                       budgets and variability limits in the
                                                currently participating in any seasonal                 dividing by 153 days, and rounding to                  regulations, along with a provision
                                                NOX trading program. EPA is therefore                   the nearest allowance. The prorated                    indicating that the emissions budgets
                                                proposing transitional provisions that                  variability limits would be computed as                promulgated in the Revised CSAPR
                                                differ across the sets of potentially                   21 percent of the prorated emissions                   Update would apply on a prorated basis
                                                affected sources based on the sources’                  budgets, rounded to the nearest                        for the portion of the 2023 control
                                                different starting points.                              allowance, yielding prorated assurance                 period before the final rule’s effective
                                                a. Prorating Emissions Budgets,                         levels that equal 121 percent of the                   date and the emissions budgets
                                                Assurance Levels, and Unit-Level                        prorated emissions budgets. To                         established in this rulemaking would
                                                Allowance Allocations in the Event of                   determine unit-level allocation amounts                apply on a prorated basis for the portion
                                                an Effective Date After May 1, 2023                     from the prorated emissions budgets,                   of the 2023 control period on and after
                                                                                                        the EPA would determine full-season                    the final rule’s effective date. Under this
                                                   While it is EPA’s intent for a final rule            allocation amounts in the rulemaking                   provision, the EPA would determine a
                                                in this rulemaking to take effect before                and would determine preliminary                        blended emissions budget for each state
                                                the start of the Group 3 trading                        prorated allocation amounts in the same                for the 2023 control period, computed
                                                program’s 2023 control period on May                    manner as described for the emissions                  as the sum of the appropriately prorated
                                                1, 2023, it is possible that the final rule’s           budgets previously. The preliminary                    amounts of the state’s current and
                                                effective date will fall after that date.               prorated amounts of the largest unit-                  revised emissions budgets. (For
                                                The EPA proposes to address this                        level allowance allocations for each
                                                contingency by determining the                                                                                 example, if the final rule became
                                                                                                        state would then each be adjusted up or                effective on the eleventh day of the 153-
                                                amounts of emissions budgets and unit-                  down by one allowance as needed to
                                                level allowance allocations on a full-                                                                         day 2023 control period, the blended
                                                                                                        cause the sum of the final prorated unit-              emissions budget would equal the sum
                                                season basis in the rulemaking and by                   level allowance allocations for the state
                                                also including provisions in the revised                                                                       of 10/153 times the current emissions
                                                                                                        to equal the state’s prorated emissions                budget plus 143/153 times the revised
                                                regulations to prorate the full-season                  budget. All calculations required to
                                                amounts as needed to ensure that no                                                                            emissions budget, rounded to the
                                                                                                        determine the prorated emissions                       nearest allowance.) Blended variability
                                                sources become subject to new or more                   budgets and variability limits and the
                                                stringent regulatory requirements before                                                                       limits for the 2023 control period would
                                                                                                        unit-level allocations for the 2023                    be computed as 21% of the blended
                                                the final rule’s effective date.294
                                                                                                        control period would be carried out as                 emissions budgets, yielding blended
                                                Variability limits and assurance levels
                                                                                                        soon as possible after the EPA learns the              assurance levels equal to 121 percent of
                                                for 2023 would be computed using the
                                                                                                        effective date of a final rule in this                 the blended emissions budgets. Unit-
                                                appropriately prorated emissions
                                                                                                        rulemaking (which is expected to be                    level allocations would be determined
                                                budgets amounts, and unit-level
                                                                                                        approximately 60 days after the date of                by applying the allocation procedure
                                                allocations would also be prorated.295
                                                   As discussed in Section VII.B.2 of this              the final rule’s publication in the                    described in Section VII.B.9 of this
                                                proposed rule, in the case of states (and               Federal Register). The unit-level                      proposed rule to the blended budgets. In
                                                Indian country within the states’                       allocations for both the 2023 and 2024                 the case of states (and Indian country
                                                borders) whose sources do not currently                 control periods would be recorded in                   within the states’ borders) whose
                                                participate in either the Group 2 trading               facilities’ compliance accounts                        sources currently participate in the
                                                program or the Group 3 trading                          approximately 30 days after the final                  Group 2 trading program—Alabama,
                                                program—Delaware, Minnesota,                            rule’s effective date, as discussed in                 Arkansas, Mississippi, Missouri,
                                                Nevada, Utah, and Wyoming—the                           Section VII.B.9.b of this proposed rule.               Oklahoma, Tennessee, Texas, and
                                                sources would begin participating in the                   In the case of states (and Indian                   Wisconsin—the sources would begin to
                                                Group 3 trading program on the later of                 country within the states’ borders)                    participate in the Group 3 trading
                                                May 1, 2023, or the final rule’s effective              whose sources currently participate in                 program as of May 1, 2023, regardless of
                                                date. For these states, in the rulemaking               the Group 3 trading program—Illinois,                  the final rule’s effective date, as
                                                the EPA would compute the full-season                   Indiana, Kentucky, Louisiana,                          discussed in Section VII.B.2 of this
                                                emissions budgets that would apply for                  Maryland, Michigan, New Jersey, New                    proposed rule, subject to prorating
                                                the entire 2023 control period if the                   York, Ohio, Pennsylvania, Virginia, and                procedures designed to ensure that the
                                                final rule becomes effective no later                   West Virginia—the sources would                        transition from the Group 2 trading
                                                than May 1, 2023, and is therefore in                   continue to participate in the Group 3                 program to the Group 3 trading program
                                                effect for the entire 153-day control                   trading program for the 2023 control                   would not substantively affect the
                                                period from May 1, 2023, through                        period, subject to prorating procedures                sources’ requirements prior to the rule’s
                                                September 30, 2023. If the final rule                   designed to ensure that the changes in                 effective date. The prorating procedures
                                                becomes effective after May 1, 2023, the                2023 emissions budgets and assurance                   for these states would mirror the
                                                EPA would determine prorated                            levels would not substantively affect the              procedures for the states currently in the
                                                emissions budgets by multiplying each                   sources’ requirements prior to the rule’s              Group 3 trading program, except that
                                                                                                        effective date. For these states, in the               because no emissions budgets currently
                                                  294 As discussed in Sections VII.B.7 and VII.B.8
                                                                                                        rulemaking the EPA would compute the                   appear in the Group 3 trading program
                                                of this proposed rule, the proposed revisions           full-season emissions budgets that                     regulations for the states that are
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                                                establishing unit-specific backstop daily emissions
                                                rates and, for units contributing to assurance level    would apply for the entire 2023 control                currently covered by the Group 2
                                                exceedances, secondary unit-specific emissions          period if the final rule becomes effective             trading program, the EPA would add
                                                limitations, would not take effect until the 2024       no later than May 1, 2023, but the EPA                 two sets of emissions budgets for these
                                                control period or later.                                would not remove from the regulations                  states to the Group 3 trading program
                                                  295 The EPA notes that transitional provisions

                                                similar to the prorating provisions proposed in this
                                                                                                        the full-season emissions budgets for the              regulations: First, the states’ emissions
                                                section were finalized and implemented under the        2023 control period that were                          budgets for the 2023 control period that
                                                Revised CSAPR Update.                                   established in the Revised CSAPR                       currently appear in the Group 2 trading


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                                                program regulations, which would be                     season would be complex and                            of the 2023 ozone season before the
                                                included in the revised Group 3 trading                 burdensome for sources. Attempting to                  effective date of the rule would aid the
                                                program regulations to represent the                    address the issue by splitting the Group               source’s compliance by reducing the
                                                states’ emissions budgets for the portion               2 and Group 3 requirements for these                   amount of Group 3 allowances that the
                                                of the 2023 control period before the                   sources into separate years is not a                   source would need to hold in its
                                                final rule’s effective date, and second,                viable approach, because EPA has no                    compliance account as of the allowance
                                                the emissions budgets for the 2023                      legal basis for releasing the transitioning            transfer deadline, increasing the range
                                                control period established for the states               Group 2 sources from the emissions                     of options available to the source for
                                                in this rulemaking, which would be                      reduction requirements found to be                     meeting its compliance obligations
                                                included in the revised Group 3 trading                 necessary in the CSAPR Update for a                    under the revised Group 3 trading
                                                program regulations to represent the                    portion of the 2023 ozone season, and                  program. In the case of the sources that
                                                state’s emissions budgets for the portion               EPA similarly has no legal basis for                   do not currently participate in the
                                                of the 2023 control period on and after                 deferring implementation of the 2023                   Group 2 trading program or the Group
                                                the final rule’s effective date. The                    emissions reduction requirements found                 3 trading program, the EPA similarly
                                                procedures for determining blended                      to be necessary under this rule for the                proposes to implement the revised
                                                emissions budgets, variability limits and               transitioning Group 2 sources until                    Group 3 trading program for the 2023
                                                assurance levels, and unit-level                        2024. Moreover, the requirements of the                control period in a uniform manner for
                                                allowance allocations would be the                      current Group 2 trading program and                    the entire control period, except that the
                                                same as for the states currently in the                 the revised Group 3 trading program for                2023 control period for these sources
                                                Group 3 trading program. Again, all                     the 2023 control period are                            may be shorter than the normal 153-day
                                                calculations required to determine the                  substantively identical as to almost all               length.
                                                prorated emissions budgets and                          provisions, such that with respect to                     The EPA requests comment on this
                                                variability limits and the unit-level                   those provisions, a source will not need               approach for implementing the Group 3
                                                allocations for the 2023 control period                 to alter its operations in any manner or               trading program in a manner that would
                                                would be carried out as soon as possible                face different compliance obligations as               apply the substantive increases in
                                                after the EPA learns the effective date of              a consequence of a transition from the                 stringency of the emissions budgets and
                                                a final rule in this rulemaking (which is               Group 2 trading program to the Group                   assurance levels established under the
                                                expected to be approximately 60 days                    3 trading program. Thus, the EPA                       final rule on and after, but not before,
                                                after the date of the final rule’s                      believes that no substantive concerns                  the final rule’s effective date.
                                                publication in the Federal Register).                   regarding retroactivity arise from                     b. Creation of Additional Group 3
                                                The unit-level allocations for both the                 transitioning the sources currently in                 Allowance Bank for 2023 Control Period
                                                2023 and 2024 control periods would be                  the Group 2 trading program to the                        In the CSAPR Update, where the EPA
                                                recorded in facilities’ compliance                      Group 3 trading program starting on                    established the Group 2 trading program
                                                accounts approximately 30 days after                    May 1, 2023, as long as those aspects of               and transitioned over 95% of the
                                                the final rule’s effective date, as                     the revised Group 3 trading program for                sources that had been participating in
                                                discussed in Section VII.B.9.b of this                  the 2023 control period that do                        what is now the CSAPR NOX Ozone
                                                proposed rule.                                          meaningfully differ from the analogous                 Season Group 1 Trading Program (the
                                                   The reason for proposing that sources                aspects of the Group 2 trading                         ‘‘Group 1 trading program’’) to the new
                                                currently in the Group 2 trading                        program—that is, the relative                          program, the EPA determined that it
                                                program would begin to participate in                   stringencies of the two trading                        was reasonable to establish an initial
                                                the Group 3 trading program on May 1,                   programs, as reflected in the emissions                bank of allowances for the Group 2
                                                2023 even if the final rule’s effective                 budgets and associated assurance                       trading program by converting almost
                                                date is after May 1, 2023, is that it                   levels—are applied only as of the                      all allowances banked under the Group
                                                would serve the public interest and                     effective date of the final rule.                      1 trading program at a conversion ratio
                                                greatly aid in administrative efficiency                   In all respects other than prorating the            determined by a formula. In the Revised
                                                for most elements of the Group 3 trading                emissions budgets, variability limits and              CSAPR Update, where EPA established
                                                program—specifically, all elements of                   assurance levels, and unit-level                       the Group 3 trading program and
                                                the trading program other than the                      allowance allocations, with respect to                 transitioned approximately 55% of the
                                                elements designed to establish more                     the sources currently participating in                 sources that had been participating in
                                                stringent emissions limitations for the                 the Group 2 trading program or the                     the Group 2 trading program to the new
                                                sources coming from the Group 2                         Group 3 trading program, the EPA                       program, the EPA similarly determined
                                                trading program—to apply to the                         proposes to implement the revised                      that it was reasonable to establish an
                                                sources starting on May 1, 2023. This                   Group 3 trading program for the 2023                   initial bank of allowances for the Group
                                                would facilitate implementation of the                  control period in a uniform manner for                 3 trading program by converting
                                                Group 3 trading program in an orderly                   the entire control period. Thus,                       allowances banked under the Group 2
                                                manner for the entire 2023 ozone season                 emissions would be monitored and                       trading program at a conversion ratio
                                                and reduce compliance burdens and                       reported for the entire 2023 ozone                     determined by a formula, using a
                                                potential confusion. Each of the CSAPR                  season (i.e., May 1, 2023, through                     conversion procedure that was modified
                                                trading programs for ozone season NOX                   September 30, 2023), and as of the                     to leave much of the Group 2 allowance
                                                is designed to be implemented over an                   allowance transfer deadline for the 2023               bank available for use by the
                                                entire ozone season. Implementing the                   control period (i.e., June 1, 2024) each               approximately 45% of sources then in
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                                                transition from the Group 2 trading                     source would be required to hold in its                the Group 2 trading program that would
                                                program to the Group 3 trading program                  compliance account vintage-year 2023                   remain in that program. Any conversion
                                                in a manner that required the covered                   Group 3 allowances not less than the                   of banked allowances from a previous
                                                sources to participate in the Group 2                   source’s emissions of NOX during the                   trading program for use in a new trading
                                                trading program for part of the 2023                    entire 2023 ozone season. Any efforts                  program must ensure that
                                                ozone season and the Group 3 trading                    undertaken by one of these sources to                  implementation of the new trading
                                                program for the remainder of that ozone                 reduce its emissions during the portion                program will result in NOX emissions


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                                                reductions sufficient to address                        holdings of Group 2 allowances would                   allowances. If the quantities of banked
                                                significant contribution by all states that             be converted to Group 3 allowances                     Group 2 allowances did not change
                                                would be participating in the new                       would include (1) the facility accounts                between now and the conversion date,
                                                trading program, while also providing                   of all sources in the states transitioning             and if there was no prorating
                                                industry certainty (and obtaining an                    from the Group 2 trading program to the                adjustment, the conversion ratio would
                                                environmental benefit) through                          Group 3 trading program, (2) the facility              be approximately 5.9-to-1, meaning that
                                                continued recognition of the value of                   accounts of all sources in the states                  one Group 3 allowance would be
                                                saving allowances through early                         already participating in the Group 3                   created for every 5.9 Group 2
                                                reductions in emissions. EPA’s                          trading program, (3) the facility                      allowances deducted in the conversion
                                                approach to balancing these concerns in                 accounts of all sources in any other                   process.298
                                                the CSAPR Update through the                            states not covered by the Group 2                         As noted in Section VII.B.11.a of this
                                                conversion of banked allowances from                    trading program that happen to hold                    proposed rule, it is possible that the
                                                the Group 1 trading program to the                      Group 2 allowances as of the conversion                effective date of this rule will occur after
                                                Group 2 trading program was upheld in                   date, and (4) all general accounts (that               the start of the 2023 ozone season, and
                                                Wisconsin v. EPA, see 938 F.3d at 321.                  is, accounts that are not facility                     provisions are being proposed to ensure
                                                   In the current rulemaking, applying                  accounts, including other accounts                     that the increased stringency of this
                                                the same balancing principle as in the                  controlled by source owners as well as                 rule’s state budgets and state assurance
                                                CSAPR Update and the Revised CSAPR                      accounts controlled by non-source                      levels (i.e., the sums of the budgets and
                                                Update, the EPA proposes to carry out                   entities such as allowance brokers).                   variability limits) would take effect only
                                                a further conversion of allowances                      Creating the new Group 3 allowances                    after the rule’s effective date. Consistent
                                                banked for control periods before 2023                  through conversion of previously                       with these other procedures, the EPA is
                                                under the Group 2 trading program into                  banked Group 2 allowances would also                   proposing to similarly prorate the bank
                                                allowances usable in the Group 3                        help preserve the stringency of the                    target amount used in the conversion
                                                trading program in control periods in                   Group 2 trading program for the states                 process. For example, if the effective
                                                2023 and later years. Because the EPA                   that remain covered by that trading                    date of the final rule is the eleventh day
                                                is proposing to transition over 90% of                  program at levels consistent with the                  of the 153-day 2023 ozone season, the
                                                the remaining sources in the Group 2                    stringency found to be appropriate to                  full-season initial bank target amount of
                                                trading program to the Group 3 trading                  address those states’ good neighbor                    18,517 allowances would be prorated to
                                                program—much closer to the situation                    obligations with respect to the 2008                   an initial bank target amount of 17,307
                                                in the CSAPR Update than the situation                  ozone NAAQS in the CSAPR Update.                       allowances.299 The EPA notes that
                                                in the Revised CSAPR Update—in this                        With respect to setting the target                  prorating the bank amount in this
                                                rulemaking EPA proposes to apply a                      amount of Group 3 allowances that                      manner would not reduce sources’
                                                conversion procedure similar to the                     would be created in the conversion                     compliance flexibility for the 2023
                                                procedure followed in the CSAPR                         process, the EPA proposes to follow the                ozone season, because the amounts of
                                                Update. Under the proposed conversion                   same approach that was used in the                     Group 3 allowances that sources would
                                                procedure, in the final rule in this                    Revised CSAPR Update for creation of                   receive for the portion of the 2023 ozone
                                                rulemaking the EPA would not set a                      the initial Group 3 allowance bank.                    season before the rule’s effective date
                                                predetermined conversion ratio but                      Specifically, the target amount of Group               would be based on the current trading
                                                instead would set provisions defining                   3 allowances to be created would be                    program budgets for the 2023 control
                                                the types of accounts whose holdings of                 computed as the sum of the variability                 period before this rulemaking. The
                                                Group 2 allowances would be converted                   limits for the 2024 control period 297                 current trading program budgets exceed
                                                to Group 3 allowances and establishing                  established in the final rule for the                  the sources’ collective 2021 emissions
                                                the target amount of new Group 3                        states being transitioned to the Group 3               by approximately 18,600 tons,
                                                allowances that would be created. The                   trading program from the Group 2                       indicating potentially surplus
                                                proposed conversion date would be                       trading program, prorated to reflect the               allowances roughly equal to the full-
                                                August 1, 2023, which is 2 months after                 portion of the 2023 control period                     season bank conversion target amount of
                                                the compliance deadline for the 2022                    occurring on and after the effective date              18,517 allowances. Thus, although the
                                                control period under the Group 2                        of the final rule. Based on the amounts                prorating procedure would reduce the
                                                trading program and ten months before                   of the proposed state emissions budgets                amount of Group 3 allowances that
                                                the compliance deadline for the 2023                    and variability limits, the full-season                would be available to sources in the
                                                control period under the Group 3                        target amount for the conversion would                 form of an initial bank, the reduction in
                                                trading program. The actual conversion                  be 18,517 Group 3 allowances. The                      the quantity of these allowances would
                                                ratio would be determined as of the                     quantity of banked Group 2 allowances                  be offset by the quantities of Group 3
                                                conversion date and would be the ratio                  currently held in accounts other than                  allowances that would be allocated in
                                                of the total amount of Group 2                          the facility accounts of sources in Iowa               excess of sources’ recent historical
                                                allowances held in the identified types                 and Kansas exceeding the quantity of                   emissions levels for the portion of the
                                                of accounts prior to the conversion to                  allowances likely to be needed for 2021                ozone season before the final rule’s
                                                the total amount of Group 3 allowances                  compliance is approximately 110,000                    effective date.
                                                being created. Consistent with the                                                                                As in the CSAPR Update and the
                                                approach taken in the CSAPR Update,                     final rule, the states whose sources would continue    Revised CSAPR Update, EPA’s overall
                                                                                                        to participate in the Group 2 trading program would
                                                the EPA proposes to define the types of                 be Iowa and Kansas.                                    objective in establishing the target
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                                                accounts included in the conversion to                     297 Similar to the approach taken in the Revised    amount for the allowance conversion
                                                include all accounts except the facility                CSAPR Update, because emissions reductions from        would be to achieve a total target
                                                accounts of sources in states that would                some of the emissions controls that EPA has            amount for the bank at a level high
                                                remain in the Group 2 trading                           identified as appropriate to use in setting budgets
                                                                                                        are first reflected in the 2024 state budgets rather
                                                                                                                                                               enough to accommodate year-to-year
                                                program.296 Thus, the accounts whose                    than the 2023 state budgets, the EPA is proposing
                                                                                                                                                                 298 By comparison, the analogous conversion ratio
                                                                                                        to base the bank target amount on the sum of the
                                                  296 If the proposed expansion of geographic scope     states’ 2024 variability limits rather than the 2023   under the Revised CSAPR Update was 8-to-1.
                                                for the Group 3 trading program is unchanged in the     variability limits.                                      299 18,517 × (153¥10) ÷ 153 = 17,307.




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                                                variability in operations and emissions,                sources in the states transitioning from               provisions finalized in the Revised
                                                as reflected in states’ variability limits,             the Group 2 trading program to the                     CSAPR Update, the proposed recall
                                                but not high enough to allow sources                    Group 3 trading program in this                        provisions include specifications for
                                                collectively to plan to emit in excess of               rulemaking roughly similarly to the                    how the recall provisions apply in
                                                the collective state budgets. EPA                       sources in the states that transitioned                instances where a source and its
                                                believes that a well-established trading                between the same two trading programs                  allowances have been transferred to
                                                program would be able to function with                  in the Revised CSAPR Update with                       different parties and for the procedures
                                                an allowance bank lower than the full                   respect to the benefit they would receive              that the EPA will follow to implement
                                                amount of the covered states’ variability               under the Group 3 trading program for                  the recall.
                                                limits, as discussed in section VII.B.6                 any efforts they may have made to make                    Under the Group 2 trading program
                                                with respect to the proposed bank                       emissions reductions under the Group 2                 regulations, each Group 2 allowance is
                                                recalibration process that would begin                  trading program beyond the minimum                     a ‘‘limited authorization to emit one ton
                                                with the 2024 control period. However,                  efforts that were required to comply                   of NOX during the control period in one
                                                EPA also believes there are several                     with the emissions budgets under that                  year,’’ where the relevant limitations
                                                compelling reasons in this instance to                  program. Finally, to the extent that the               include the EPA Administrator’s
                                                use a bank target higher than the                       proposed conversion results in a larger                authority ‘‘to terminate or limit the use
                                                minimum practicable level.                              bank of allowances remaining after the                 and duration of such authorization to
                                                   First, making an allowance bank                      2023 control period than is considered                 the extent the Administrator determines
                                                available for use in the 2023 control                   necessary to sustain a well-functioning                is necessary or appropriate to
                                                period that is somewhat higher than the                 trading program in subsequent control                  implement any provision of the Clean
                                                minimum practicable level would help                    periods, the excess would be removed                   Air Act.’’ 40 CFR 97.806(c)(6)(ii). The
                                                to address concerns that might                          from the program in the proposed bank                  Administrator proposes to determine
                                                otherwise arise regarding the transition                recalibration process that would be                    that, in order to effectively implement
                                                to a new set of compliance                              implemented starting with the 2024                     the Group 2 trading program as a
                                                requirements, for some sources, and the                 control period and therefore would not                 compliance mechanism through which
                                                                                                        weaken sources’ incentives to control
                                                transition to compliance requirements                                                                          states not subject to the Group 3 trading
                                                                                                        emissions on a permanent basis.
                                                based on revised emissions budgets                                                                             program may continue to meet their
                                                                                                           The EPA requests comment on the
                                                different from the emissions budgets                    proposal to create additional banked                   obligations under CAA section
                                                that the sources had reason to anticipate               Group 3 allowances through the                         110(a)(2)(D)(i)(I) with regard to the 2008
                                                under previous rulemakings, for the                     conversion of Group 2 allowances                       ozone NAAQS, it is necessary to limit
                                                remaining sources. Although the EPA is                  banked for control periods before 2023.                the use of Group 2 allowances
                                                confident that the emissions budgets                                                                           equivalent in quantity and usability to
                                                being proposed in this rulemaking for                   c. Recall of Group 2 Allowances                        all Group 2 allowances previously
                                                the 2023 control period are readily                     Allocated for Control Periods After 2022               allocated for the 2023–2024 control
                                                achievable, the EPA also believes that                     To maintain the previously                          periods and recorded in the compliance
                                                the existence of a somewhat larger                      established levels of stringency of the                accounts of sources in the newly added
                                                allowance bank at this transition point                 Group 2 trading program for the states                 Group 3 jurisdictions. The Group 2
                                                will promote sources’ confidence in                     and sources that remain subject to that                allowances that have already been
                                                their ability to meet their 2023                        program under this proposed rule, the                  allocated to sources in the newly added
                                                compliance obligations in general and                   EPA proposes to recall CSAPR NOX                       Group 3 states for the 2023–2024 control
                                                in a liquid allowance market in                         Ozone Season Group 2 allowances                        periods and recorded in the sources’
                                                particular. Second, because the large                   equivalent in amount and usability to                  compliance accounts represent the
                                                majority of the remaining Group 2                       all vintage year 2023–2024 CSAPR NOX                   substantial majority of the total
                                                allowances that would be converted to                   Ozone Season Group 2 allowances                        remaining quantity of Group 2
                                                Group 3 allowances in this rulemaking                   previously allocated to sources in Group               allowances that have been allocated and
                                                are held by the sources currently in the                3 states and areas of Indian country and               recorded for the 2023–2024 control
                                                Group 2 trading program, while the                      recorded in the sources’ compliance                    periods and that were not already made
                                                large majority of the initial bank of                   accounts. The proposed recall                          subject to recall when other
                                                Group 3 allowances previously created                   provisions would apply to all sources in               jurisdictions were transferred from the
                                                in the conversion under the Revised                     jurisdictions newly added to the Group                 Group 2 trading program to the Group
                                                CSAPR Update are held by the sources                    3 trading program in whose compliance                  3 trading program in the Revised CSAPR
                                                already in the Group 3 trading program,                 accounts CSAPR NOX Ozone Season                        Update. Because allowances can be
                                                basing the conversion in this                           Group 2 allowances for a control period                freely traded, if the use of the 2023–
                                                rulemaking on a target bank amount set                  in 2023 or 2024 were recorded,                         2024 Group 2 allowances previously
                                                in the same manner as the target bank                   including sources where some or all                    recorded in newly added Group 3
                                                amount used in the Revised CSAPR                        units have permanently retired or where                sources’ compliance accounts (or
                                                Update is expected to result in a less                  the previously recorded 2023–2024                      equivalent Group 2 allowances) were
                                                concentrated distribution of holdings of                allowances have been transferred out of                not limited, the effect would be the
                                                banked Group 3 allowances following                     the compliance account. The proposed                   same as if the EPA had issued to sources
                                                the conversion than would be the case                   recall provisions provide a flexible                   in the states that will remain covered by
                                                if a more stringent target bank amount                  compliance schedule intended to                        the Group 2 trading program a quantity
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                                                were used under this rulemaking than                    accommodate any sources that have                      of allowances available for compliance
                                                was used in the Revised CSAPR Update.                   already transferred the previously                     under the 2023–2024 control periods
                                                A lower concentration of holdings of                    recorded 2023–2024 allowances out of                   many times the levels that the EPA
                                                banked Group 3 allowances would                         their compliance accounts and allows                   determined to be appropriate emissions
                                                generally be expected to help ensure                    Group 2 allowances of earlier vintages                 budgets for these states in the CSAPR
                                                allowance market liquidity. Third, EPA                  to be surrendered to achieve                           Update. Through the use of banked
                                                considers it equitable to treat the                     compliance. Like the similar recall                    allowances, the excess Group 2


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                                                allowances would affect compliance                      source’s compliance account, the EPA                      compliance account after completion of
                                                under the Group 2 trading program in                    proposes to accept the surrender of                       all required deductions would be the
                                                control periods after 2024 as well.                     either the same specific 2023–2024                        earliest allocated, and therefore most
                                                Continued implementation of the Group                   Group 2 allowance or any other Group                      useful, Group 2 allowances possible.
                                                2 trading program at levels of stringency               2 allowance with equivalent (or greater)                  Among the Group 2 allowances
                                                consistent with the levels contemplated                 usability under the Group 2 trading                       allocated for a given control period, The
                                                under the CSAPR Update therefore                        program. Thus, a surrender requirement                    EPA would first deduct allowances that
                                                requires that the EPA limit the use of                  with regard to a Group 2 allowance                        were initially recorded in that account,
                                                the excess allowances, as the EPA is                    allocated for the 2023 control period                     in the order of recordation, and would
                                                proposing here.                                         could be met through the surrender of                     then deduct allowances that were
                                                   In this rulemaking, the EPA proposes                 any Group 2 allowance allocated for the                   transferred into that account after
                                                to implement limitations on the use of                  2023 control period or the control                        having been initially recorded in some
                                                the excess 2023–2024 Group 2                            period in any earlier year—in other                       other account, in the order of
                                                allowances through requirements to                      words, any 2017–2023 Group 2                              recordation.
                                                surrender, for each 2023–2024 Group 2                   allowance.301 Similarly, the surrender                       Following the first attempt to deduct
                                                allowance recorded in a newly added                     requirement with regard to a 2024                         Group 2 allowances to address Group 3
                                                Group 3 source’s compliance account,                    Group 2 allowance could be met                            sources’ surrender requirements, the
                                                one Group 2 allowance of equivalent                     through the surrender of any 2017–2024                    EPA would send a notification to the
                                                usability under the Group 2 trading                     Group 2 allowance.                                        designated representative for each such
                                                program. The surrender requirements                        Owners and operators subject to the                    source (as well as any alternate
                                                would apply to the owners and                           surrender requirements could choose                       designated representative) indicating
                                                operators of the Group 3 sources in                     from two possible deadlines for meeting                   whether all required deductions were
                                                whose compliance account the excess                     the requirements. The first deadline                      completed and, if not, the additional
                                                2023–2024 Group 2 allowances were                       would be 15 days after the effective date                 amounts of Group 2 allowances usable
                                                initially recorded. In general, each                    of a final rule in this rulemaking.302 As                 in the 2023 or 2024 control periods that
                                                source’s current owners and operators                   soon as practicable or after this date, the               must be held in the appropriate account
                                                would be required to comply with the                    EPA would make a first attempt to                         by the second surrender deadline of
                                                surrender requirements for the source                   complete the deductions of Group 2                        September 15, 2023. Each notification
                                                by ensuring that sufficient allowances to               allowances required for each Group 3                      would be sent to the email addresses
                                                complete the deductions are available in                source from the source’s compliance                       most recently provided to the EPA for
                                                the source’s compliance account by one                  account. The EPA would deduct Group                       the recipients and would include
                                                of two possible deadlines discussed                     2 allowances first to address any                         information on how to contact the EPA
                                                below. However, an exception would be                   surrender requirements for the 2023                       with any questions. The EPA proposes
                                                provided if a source’s current owners                   control period and then to address any                    that no allocations of Group 3
                                                and operators obtained ownership and                    surrender requirements for the 2024                       allowances would be recorded in a
                                                operational control of the source in a                  control period. When deducting Group                      source’s compliance account until all
                                                transaction that did not include rights to              2 allowances to address the surrender                     the source’s surrender requirements
                                                direct the use and transfer of some or all              requirements for each control period,                     with regard to 2023–2024 Group 2
                                                of the 2023–2024 Group 2 allowances                     EPA would first deduct allowances                         allowances have been met. For this
                                                allocated and recorded (either before or                allocated for that control period and                     reason, the principal consequence to a
                                                after that transaction) in the source’s                 then would deduct allowances allocated                    source of failure to fully comply with
                                                compliance account. The proposed rule                   for each successively earlier control                     the surrender requirements by 15 days
                                                provides that in such a circumstance,                   period. This order of deductions is                       after the effective date of a final rule
                                                with respect to the 2023–2024 Group 2                   intended to ensure that whatever Group                    would be that any Group 3 allowances
                                                allowances for which rights were not                    2 allowances are available in the                         allocated to the units at the source for
                                                included in the transaction, the                        account are applied to the surrender                      the 2023 and 2024 control periods that
                                                surrender requirements would apply to                   requirements in a manner that both                        would otherwise have been recorded in
                                                                                                        maximizes the extent to which all of the                  the source’s compliance account by 30
                                                the most recent former owners and
                                                                                                        source’s surrender requirements would                     days after the effective date of a final
                                                operators of the source before any such
                                                                                                        be met and also ensures that any Group                    rule would not be recorded as of that
                                                transactions occurred. Because in this
                                                                                                        2 allowances left in the source’s                         recordation date.
                                                situation a source’s former owners and                                                                               If all surrender requirements of 2023–
                                                operators might lack the ability to access                 301 The first control period for the Group 2 trading   2024 Group 2 allowances for a source
                                                the source’s compliance account for                     program was in 2017.                                      have not been met in EPA’s first
                                                purposes of complying with the                             302 As discussed later in this section and in
                                                                                                                                                                  attempt, the EPA would make a second
                                                surrender requirements, the former                      Section VII.B.9.b, the EPA is proposing to condition
                                                                                                                                                                  attempt to complete the required
                                                owners and operators would instead be                   recordation of any allocations of Group 3
                                                                                                        allowances in a source’s compliance account on the        deductions from the source’s
                                                allowed to meet the surrender                           source’s prior compliance with the proposed recall        compliance account (or from a specified
                                                requirements with Group 2 allowances                    requirements for Group 2 allowances. The purpose
                                                                                                                                                                  general account, in the limited
                                                held in a general account.300                           of providing a first deadline for the recall
                                                                                                        provisions 15 days after a final rule’s effective         circumstance noted above) as soon as
                                                   To provide as much flexibility as                    would be to ensure that sources have an early             practicable on or after September 15,
                                                possible consistent with the need to
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                                                                                                        opportunity to comply with the recall provisions in       2023. The order in which Group 2
                                                limit the use of the excess Group 2                     order to be eligible to have allocations of Group 3
                                                                                                                                                                  allowances are deducted would be the
                                                allowances, for each 2023–2024 Group 2                  allowances recorded in their accounts as proposed
                                                                                                        30 days after the final rule’s effective date. Because    same as described above for the first
                                                allowance recorded in a Group 3                         the vast majority of sources subject to the proposed      attempt.
                                                                                                        recall provisions already hold sufficient Group 2            If the second attempt to deduct Group
                                                  300 The EPA is currently unaware of any source        allowances to comply with the recall provisions,
                                                that would need to use this flexibility but has         the EPA anticipates that the sources would easily
                                                                                                                                                                  2 allowances to meet the surrender
                                                included the option in the proposal to address the      be able to comply with the proposed first recall          requirements through deductions from
                                                theoretical possibility of such a situation.            deadline.                                                 the source’s compliance account (or


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                                                from a specified general account) is                       The EPA proposes that failure of a                  equivalent in quantity and usability to
                                                unsuccessful for a given source, the EPA                source’s owners and operators to                       the Group 2 allowances previously
                                                proposes that as soon as practicable on                 comply with the surrender requirements                 issued for the 2023 and 2024 control
                                                or after November 15, 2023, to the                      would be subject to possible                           periods and recorded in the compliance
                                                extent necessary to address the                         enforcement as a violation of the CAA,                 accounts of sources in jurisdictions
                                                unsatisfied surrender requirements for                  with each allowance and each day of the                being newly added to the Group 3
                                                the source, the EPA would deduct the                    control period constituting a separate                 trading program in this proposed rule.
                                                2023–2024 Group 2 allowances that                       violation.
                                                                                                           To eliminate any possible uncertainty               12. Conforming Revisions to Other
                                                were initially recorded in the source’s                                                                        Regulations
                                                compliance account from whatever                        regarding the amounts of Group 2
                                                accounts the allowances are held in as                  allowances allocated for the 2023–2024                    As noted in Section VII.B.1.a of this
                                                of the date of the deduction, except for                control periods (or earlier control                    proposed rule, in addition to the Group
                                                any allowances where, as of April 1,                    periods) that the owners and operators                 3 trading program, EPA currently
                                                2022, no person with an ownership                       of each Group 3 source would be                        administers five other CSAPR trading
                                                interest in the allowances was an owner                 required to surrender under the recall                 programs, all of which have provisions
                                                or operator of the source, was a direct                 provisions, the EPA has prepared a list                that in most respects parallel the
                                                or indirect parent or subsidiary of an                  of the sources in the proposed                         provisions of the Group 3 trading
                                                owner or operator of the source, or was                 additional Group 3 states and areas of                 program.305 The EPA also administers
                                                directly or indirectly under common                     Indian country in whose compliance                     the Texas SO2 Trading Program, whose
                                                ownership with an owner or operator of                  accounts allocations of 2023–2024                      provisions parallel the provisions of the
                                                the source.303 Before making any                        Group 2 allowances were recorded, with                 CSAPR trading programs to a somewhat
                                                deduction under this provision, the EPA                 the amounts of the allocations recorded                lesser extent.306 In this rulemaking, in
                                                would send a notification to the                        in each such compliance account for the                addition to the proposed revisions to the
                                                authorized account representative for                   2023 and 2024 control periods. An                      Group 3 trading program, the EPA is
                                                the account in which the allowance is                   additional list shows, for each newly                  proposing a small number of
                                                held and would provide an opportunity                   added Group 3 source, the specific                     conforming revisions to the other
                                                for submission of objections concerning                 Group 2 allowances (batched by serial                  CSAPR trading programs and/or the
                                                the data upon which the EPA is relying.                 number) allocated for each control                     Texas SO2 Trading Program to maintain
                                                In EPA’s view, this provision would not                 period and recorded in the source’s                    consistency across the regulations for
                                                                                                        compliance account and indicates                       the various trading programs to the
                                                unduly interfere with the legitimate
                                                                                                        whether, as of December 31, 2021, that                 extent possible.
                                                expectations of participants in the
                                                                                                        batch of allowances was held in the                       The first set of proposed conforming
                                                allowance markets because the                                                                                  revisions concerns the use of the term
                                                provision would not be invoked in the                   source’s compliance account, in an
                                                                                                        account believed to be partially or fully              ‘‘Indian country’’ in the allowance
                                                case of any allowance that was                                                                                 allocation provisions of the regulations
                                                transferred to an independent party in                  controlled by a related party (i.e., an
                                                                                                        owner or operator of the source or an                  for all the CSAPR trading programs. As
                                                an arms-length transaction before EPA’s                                                                        discussed in Section VII.B.9.a of this
                                                intent to recall 2023–2024 Group 2                      affiliate of an owner or operator of the
                                                                                                        source), or in an account believed to be               proposed rule, to reflect the D.C.
                                                allowances became widely known. The                                                                            Circuit’s holding in ODEQ v. EPA that
                                                provision would apply only to a Group                   fully controlled by independent parties.
                                                                                                        The lists are in a spreadsheet titled,                 states have initial CAA implementation
                                                2 allowance that, as of April 1, 2022,                                                                         planning authority in non-reservation
                                                                                                        ‘‘Recall of Additional CSAPR NOX
                                                was still controlled either by the owners                                                                      areas of Indian country until displaced
                                                                                                        Ozone Season Group 2 Allowances’’,
                                                and operators of the source in whose                                                                           by a demonstration of tribal jurisdiction
                                                                                                        available in the docket for this proposed
                                                compliance account it was initially                                                                            over such an area, the EPA is proposing
                                                                                                        rule. After the first and second
                                                recorded or by an entity affiliated with                                                                       to revise the allowance allocation
                                                                                                        surrender deadlines, the EPA intends to
                                                such an owner or operator. The EPA                                                                             provisions in the Group 3 trading
                                                                                                        update the lists to indicate for each
                                                believes that by April 1, 2022, all market                                                                     program regulations so that, instead of
                                                                                                        Group 3 source whether the surrender
                                                participants will have had ample                                                                               distinguishing between the sets of units
                                                                                                        requirements for the source under the
                                                opportunity to become informed of the                                                                          within a given state’s borders that either
                                                                                                        recall provisions have been fully
                                                proposed rule provisions to recall 2023–                                                                       are not or are in Indian country, the
                                                                                                        satisfied. The EPA would post the
                                                2024 Group 2 allowances recorded in                                                                            revised regulations would distinguish
                                                                                                        updated lists on a publicly accessible
                                                Group 3 sources’ compliance accounts,                                                                          between (1) the set of units within the
                                                                                                        website to ensure that all market
                                                particularly since the EPA implemented                                                                         state’s borders that are not in Indian
                                                                                                        participants have the ability to
                                                a closely analogous recall of Group 2                                                                          country or are in areas of Indian country
                                                                                                        determine which specific 2023–2024
                                                allowances in the Revised CSAPR                                                                                covered by the state’s CAA
                                                                                                        Group 2 allowances initially recorded in
                                                Update.304                                                                                                     implementation planning authority and
                                                                                                        any given Group 3 source’s compliance
                                                   303 The proposed provision under which the EPA       account do or do not remain subject to                 (2) the set of units within the state’s
                                                would not deduct Group 2 allowances transferred         potential deduction to address the                     borders that are in areas of Indian
                                                to unrelated parties before April 1, 2022 from the      source’s surrender requirements under                  country not covered by the state’s CAA
                                                transferees’ accounts would not relieve the source      the recall provisions.                                 implementation planning authority. For
                                                to which the Group 2 allowances were originally                                                                the same reasons stated in Section
                                                allocated from the obligation to comply with the
                                                                                                           The EPA requests comment on the
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                                                recall requirements. Specifically, the source would     proposal to recall Group 2 allowances                  VII.B.9.a of this proposed rule for the
                                                be required to comply with the recall requirements
                                                by obtaining and surrendering other Group 2             included the electronic portal that authorized           305 The regulations for the Group 3 Trading

                                                allowances.                                             account representatives use to enter allowance         Program are at 40 CFR 97, subpart GGGGG. The
                                                   304 Even before publication of the proposed rule,    transfers for recordation by the EPA in the            regulations for the other five CSAPR trading
                                                the EPA posted information on its websites to notify    Allowance Management System. Additionally, the         programs are at 40 CFR part 97, subparts AAAAA,
                                                market participants that a pending rulemaking           EPA emailed a notice identifying the possibility of    BBBBB, CCCCC, DDDDD, and EEEEE.
                                                could have consequences for the value and usability     such consequences to the representatives for all         306 The regulations for the Texas SO Trading
                                                                                                                                                                                                      2
                                                of Group 2 allowances. The posted locations             Allowance Management System accounts.                  Program are at 40 CFR part 97, subpart FFFFF.



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                                                Group 3 trading program, the EPA                           This EPA believes that revising the                 and 2024 consequently had not yet been
                                                proposes to make revisions to the                       recordation schedules as proposed to                   recorded.
                                                allowance allocation provisions in the                  establish a new common recordation                        Further details on the specific
                                                regulations for all the other CSAPR                     schedule for the affected trading                      regulatory provisions that would be
                                                trading programs establishing the same                  programs would make the programs                       affected by the proposed revisions to
                                                substantive distinction among the sets                  procedurally more consistent, generally                allowance allocation recordation
                                                of units within each state’s borders. The               reducing the time and cost expended by                 schedules are provided in Section X of
                                                specific regulatory provisions that                     sources to understand and comply with                  the proposed rule.
                                                would be affected are identified in                     multiple trading programs. Greater                        The EPA requests comment on the
                                                Section X of this proposed rule. The                    consistency across the various programs                proposed revision to the definition of
                                                EPA is unaware of any currently                         would also support greater                             ‘‘Indian country’’ under the CSAPR NOX
                                                operating units that would be affected                  administrative efficiency by the EPA                   Annual, NOX Ozone Season Group 1,
                                                by this proposed revision to the                        and by states that elect to determine                  SO2 Group 1, SO2 Group 2, and NOX
                                                regulations for the other CSAPR trading                 allowances allocations under the                       Ozone Season Group 2 Trading
                                                programs.                                               various programs. In addition, by                      Programs and the proposed revisions to
                                                   The second set of proposed                           reducing the number of future control                  the allowance allocation recordation
                                                conforming revisions concerns the                       periods for which allowances are                       deadlines under the CSAPR NOX
                                                schedule for recording allocations of                   recorded, the proposed revisions would                 Annual, NOX Ozone Season Group 1,
                                                allowances to existing units. To                        reduce the likelihood that the EPA                     SO2 Group 1, SO2 Group 2, and NOX
                                                maintain consistency with the                           might need to recall already-recorded                  Ozone Season Group 2 Trading
                                                provisions of the revised Group 3                                                                              Programs and the Texas SO2 Trading
                                                                                                        allowances as part of a transition for
                                                Trading Program to the extent possible,                                                                        Program.
                                                                                                        some sources to new regulatory
                                                the EPA proposes to revise the
                                                                                                        requirements in a future rulemaking.                   C. Regulatory Requirements for Non-
                                                regulations for each of the other five
                                                                                                        The EPA has implemented such a recall                  EGUs
                                                CSAPR trading programs and the Texas
                                                SO2 Trading Program to reflect whatever                 in the Revised CSAPR Update and has
                                                                                                                                                                 The EPA is proposing that the FIPs for
                                                revised schedule for recording most                     proposed to implement a similar recall
                                                                                                                                                               23 of the states covered in this proposed
                                                allowance allocations the EPA may                       in this rulemaking.
                                                                                                                                                               rule will include new emissions
                                                adopt for the revised Group 3 trading                      Finally, the EPA believes that revising             limitations on emissions units in seven
                                                program in a final rule in this                         the recordation schedules for the other                non-EGU industries that EPA finds (as
                                                rulemaking. The proposed revisions to                   CSAPR trading programs and the Texas                   discussed in Section VI of this proposed
                                                the recordation deadlines would affect                  SO2 Trading Program as proposed                        rule) to be significantly contributing to
                                                only the timing of recordation, not the                 would not adversely impact allowance                   nonattainment or interfering with
                                                amounts of allowances allocated to and                  market liquidity. Allowances issued for                maintenance in other states.
                                                recorded for any source for any control                 control periods through 2024 under                       In order to achieve the necessary non-
                                                period.                                                 each of these programs were recorded                   EGU emissions reductions for the 23
                                                   The effect of the proposed revisions                 by July 1, 2020. As of December 2021,                  states, the EPA proposes emissions
                                                would be to establish a new common                      although recorded private transfers of                 limitations for the most impactful units
                                                recordation schedule for all the CSAPR                  earlier vintage allowances usable for                  in the relevant industries that are
                                                trading programs and the Texas SO2                      2021 compliance have been increasing                   achievable with the control technologies
                                                Trading Program. Assuming the                           in advance of the upcoming June 1,                     identified in the Step 3 analysis. The
                                                common schedule adopted is the                          2022, compliance deadline for the 2021                 EPA is proposing a direct control
                                                specific schedule proposed for the                      control periods, few allowances                        approach with rate-based limits,
                                                Group 3 trading program in Section                      recorded for the 2023 or 2024 control                  production-based limits, and work
                                                VII.B.9 of this proposed rule, allocations              periods (or even the 2022 control                      practice standards set on a uniform
                                                from the portion of each state emissions                period) under any of the programs have                 basis for the different segments of non-
                                                budget under each program not reserved                  been transferred out of the accounts in                EGU emissions units using applicability
                                                in a set-aside would be recorded by July                which they were initially recorded,                    criteria based on size and type of unit
                                                1 of the year immediately preceding the                 except as needed to comply with the                    and, in some cases, emissions
                                                year of the relevant control period.                    recall of certain allowances under the                 thresholds. The EPA believes this
                                                Under the current regulations before the                Revised CSAPR Update. Moreover, most                   approach can achieve the requisite level
                                                proposed revisions, the equivalent                      of the recorded transfers of allowances                of emissions reductions from the
                                                recordation deadline is July 1 of the year              issued for 2022, 2023, and 2024 have                   covered units through the assignment of
                                                three years before the year of the                      been between accounts controlled by                    emissions limits that are achievable
                                                relevant control period. Relatedly, the                 the same entity, corporate affiliates, or              across the entire segment. The EPA
                                                EPA also proposes to revise the deadline                other related entities (such as unit co-               believes that establishing emissions
                                                for states to submit any state-determined               owners) rather than between accounts                   limits for emissions units based on size
                                                allocations to the EPA under each                       controlled by unrelated parties. The                   and type of unit and, in some cases,
                                                trading program to June 1 of the year                   EPA therefore believes there would have                emissions thresholds, will achieve the
                                                immediately preceding the year of the                   been little effect on arms-length                      necessary reductions without requiring
                                                relevant control period, instead of June                allowance market activity in these                     a unit-by-unit assessment.308 By
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                                                1 of the year three years before the year               programs if the proposed revised
                                                of the relevant control period.307                      recordation schedule had already been                    308 If an emissions unit installs SCR or SNCR to

                                                                                                        in effect and the allowances for 2023                  meet an emissions limit in response to the proposed
                                                  307 The regulations for the various programs                                                                 FIP that would be a physical change under new
                                                already establish a common recordation schedule                                                                source review (NSR) and lead to an assessment of
                                                for the portion of each state emissions budget set      submit any state-determined allocations of these       potential emissions changes. If the installation of
                                                aside for possible allocation to new units—namely,      allowances to the EPA under each program is April      SCR results in an emissions increase that exceeds
                                                by May 1 of the year after the year of the relevant     1 of the year after the year of the relevant control   the thresholds in the NSR regulations for one or
                                                control period. The related deadline for states to      period.                                                more regulated NSR pollutants, including the



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                                                establishing uniform emissions limits                   the same type but lacking the relevant                 submitted in portable document format
                                                for categories of units rather than on a                emissions control requirements in                      (PDF) using the attachment module of
                                                unit-by-unit basis, the EPA can also                    another linked state.                                  the ERT. Similarly, the EPA is
                                                ensure that any new source of emissions                    At this time, this EPA is not                       proposing to require that performance
                                                constructed after this proposed                         proposing to include non-EGUs in the                   evaluation results of CEMS measuring
                                                rulemaking are also subject to the                      trading program described in this                      relative accuracy test audit (RATA)
                                                emissions limits identified later (see                  proposed rule. If EPA were to include                  pollutants that are supported by the ERT
                                                Section IV.B.1.d of this proposed rule).                non-EGUs in the trading program, we                    at the time of the test be submitted in
                                                   The EPA recognizes that the                          would require monitoring and reporting                 the format generated through the use of
                                                numerous variables that contribute to                   of hourly mass emissions in accordance                 the ERT or an electronic file consistent
                                                differences in units’ emissions rates may               with 40 CFR part 75 as we have required                with the xml schema on the ERT
                                                complicate development of limits for                    for all trading programs. Monitoring and               website, and that other performance
                                                groups of units as large as those                       reporting under part 75 include CEMS                   evaluation results be submitted in PDF
                                                addressed in this proposed rule. For                    (or an approved alternative method),                   using the attachment module of the
                                                each emissions source category, the EPA                 rigorous initial certification testing, and            ERT. In addition, the EPA is proposing
                                                considered the range of emissions limits                periodic quality assurance testing                     to require that quarterly and semi-
                                                that currently apply to these sources                   thereafter, such as relative accuracy test             annual reports and excess emissions
                                                under other CAA programs, such as                       audits and daily calibrations. This type               reports be submitted in PDF uploaded
                                                RACT, NSPS, NESHAP, and OTC model                       of consistent and accurate measurement                 in CEDRI.
                                                rules, to develop an emissions limit that               of emissions is necessary to ensure each                  The EPA is proposing to allow for an
                                                should be achievable by all sources after               allowance actually represents one ton of               extension of time to file a report where
                                                installing the controls identified in the               emissions and that one ton of reported                 an owner or operator demonstrates that
                                                Step 3 analysis. For a detailed                         emissions from one source would be                     it cannot meet the reporting deadline for
                                                discussion of the technical bases for                   equivalent to one ton of reported                      reasons outside of its control.
                                                EPA’s proposed requirements for non-                    emissions from another source. See 75                  Specifically, the EPA has identified two
                                                EGU emissions units, see the Non-EGU                    FR 45325 (August 2, 2010). Moreover,                   broad circumstances under which the
                                                Sectors TSD.                                            these monitoring requirements generally                EPA may grant a request for an
                                                   The EPA is proposing that the                        would need to be in place for at least                 extension of time to file an electronic
                                                emissions limits and compliance                         one full ozone season to establish                     report. These circumstances are (1)
                                                requirements for non-EGUs will apply                    baseline data before it would be                       outages of EPA’s CDX or CEDRI which
                                                only during the ozone season (which                     appropriate to rely on a trading program               preclude an owner or operator from
                                                runs annually from May–September).                      as the mechanism to achieve the                        accessing the system and submitting
                                                This is consistent with EPA’s prior                     required emissions reductions.                         required reports and (2) force majeure
                                                practice in federal actions to eliminate                Therefore, at this time, the EPA believes              events, which are defined as events that
                                                significant contribution of ozone in the                that applying unit-level emissions                     will be or have been caused by
                                                1998 NOX SIP Call, CAIR, CSAPR,                         limitations on non-EGU emissions units                 circumstances beyond the control of the
                                                CSAPR Update, and the Revised CSAPR                     rather than constructing an emissions                  affected facility, its contractors, or any
                                                Update. EPA is seeking comment on                       trading regime is more administratively                entity controlled by the affected facility
                                                whether non-EGU sources would run                       feasible and more easily implementable                 that prevent an owner or operator from
                                                controls that would be installed as a                   at the source level, and it will                       complying with the requirement to
                                                result of this proposed FIP year-round                  effectively eliminate each state’s                     submit a report electronically. Examples
                                                (i.e., will some source categories run                  significant contribution without the                   of force majeure events are acts of
                                                their controls year-round due to the                    need for establishing a new emissions                  nature, acts of war or terrorism, or
                                                nature of those controls?).                             trading program.                                       equipment failure or safety hazards
                                                   In addition, the EPA proposes to                        The EPA is proposing to require                     beyond the control of the facility. In
                                                apply the FIP requirements to all                       electronic reporting for all seven non-                both circumstances, the decision to
                                                existing emissions units and any future                 EGU industries. Specifically, owners                   grant an extension of time to report is
                                                emissions units constructed after the                   and operators of affected units must                   within the discretion of the
                                                promulgation of a final rule. Further, the              submit electronic copies of required                   Administrator, and reporting should
                                                non-EGU emissions limits and                            performance test reports, performance                  occur as soon as possible.
                                                compliance requirements will apply in                   evaluation reports, quarterly and semi-                   Electronic submittal of required
                                                all 23 states (and, as discussed in                     annual reports, and excess emissions                   reports will increase the usefulness of
                                                Section IV.C.2 of this proposed rule, in                reports through EPA’s Central Data                     the data contained in those reports, is in
                                                areas of Indian country within the                      Exchange (CDX) using the Compliance                    keeping with current trends in data
                                                borders of those states), even if some of               and Emissions Data Reporting Interface                 availability and transparency, will
                                                those states do not currently have                      (CEDRI). The EPA is proposing to                       further assist in the protection of public
                                                emissions units in a particular source                  require that performance test results                  health and the environment, will
                                                category. This approach will ensure that                collected using test methods that are                  improve compliance by facilitating the
                                                all new sources constructed in any of                   supported by EPA’s Electronic                          ability of regulated facilities to
                                                the 23 states will be subject to the same               Reporting Tool (ERT) as listed on the                  demonstrate compliance with
                                                regulatory requirements as applied for                  ERT website 309 at the time of the test be             requirements and by facilitating the
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                                                the existing units under this proposed                  submitted in the format generated                      ability of the EPA to assess and
                                                rule. This will also mitigate any                       through the use of the ERT or an                       determine compliance, and will
                                                potential incentive to move production                  electronic file consistent with the xml                ultimately reduce burden on regulated
                                                from an existing non-EGU source in one                  schema on the ERT website, and that                    facilities and the EPA. Electronic
                                                linked state to a new non-EGU source of                 other performance test results be                      reporting also eliminates paper-based,
                                                                                                                                                               manual processes, thereby saving time
                                                netting analysis, the changes would trigger the           309 https://www.epa.gov/electronic-reporting-air-    and resources, simplifying data entry,
                                                applicability of NSR.                                   emissions/electronic-reporting-tool-ert.               eliminating redundancies, minimizing


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                                                data reporting errors, and providing data               1. Pipeline Transportation of Natural                       industry and have a maximum rated
                                                quickly and accurately to the affected                  Gas                                                         capacity of 1,000 hp or greater.
                                                facilities, air agencies, EPA, and the                  Applicability                                               Emissions Limitations and Rationale
                                                public. Moreover, electronic reporting is
                                                consistent with EPA’s plan 310 to                          The EPA is proposing to establish                           In developing the emissions limits for
                                                implement Executive Order 13563 and                     regulatory requirements for the Pipeline                    the Pipeline Transportation of Natural
                                                is in keeping with EPA’s agency-wide                    Transportation of Natural Gas industry                      Gas industry, EPA reviewed RACT NOX
                                                policy 311 developed in response to the                 that apply to stationary, natural gas-                      rules, air permits, and OTC model rules.
                                                White House’s Digital Government                        fired, spark ignited reciprocating                          While some permits and rules express
                                                                                                        internal combustion engines                                 engine emissions limits in parts per
                                                Strategy.312
                                                                                                        (‘‘stationary SI engines’’) within these                    million by volume (pmmv), the majority
                                                   The EPA notes that no emissions                      facilities that have a maximum rated                        of rules and source-specific
                                                standard or other requirement                           capacity of 1,000 horsepower (hp) or                        requirements express the emissions
                                                established for non-EGUs in these FIPs                  greater. Based on our review of the                         limits in grams per horsepower per hour
                                                may be interpreted, construed, or                       potential emissions from stationary SI                      (g/hp-hr). The EPA has historically set
                                                applied to diminish or replace the                      engines, we find that use of a maximum                      emissions limits for these types of
                                                requirements of any emissions                           rated capacity of 1,000 hp reasonably                       engines using g/hp-hr and finds that
                                                limitation or other applicable                          approximates the selection of 100 tpy                       method appropriate for this proposed
                                                requirement established by the                          used within the non-EGU screening                           FIP as well.
                                                Administrator pursuant to other CAA                     assessment. Therefore, stationary SI                           Based on the available information for
                                                authority or a standard issued under                    engines subject to the proposed rule                        this industry, applicable State and local
                                                State authority.                                        requirements of this section are those                      air agency rules, and active air permits
                                                                                                        found within any of the 23 covered                          issued to sources with similar engines,
                                                                                                        states with non-EGU emissions                               the EPA is proposing the following
                                                                                                        reduction obligations that are within the                   emissions limits for stationary SI
                                                                                                        Pipeline Transportation of Natural Gas                      engines in the covered states:

                                                   TABLE VII.C–1—SUMMARY OF PROPOSED NOX EMISSIONS LIMITS FOR PIPELINE TRANSPORTATION OF NATURAL GAS
                                                                                                                     Proposed NOX emissions
                                                                    Engine type and fuel                                                                                    Additional information
                                                                                                                              limit

                                                Natural Gas Fired Four Stroke Rich Burn ........................   1.0 g/hp-hr ..........................   Limits reviewed ranged between 0.2 and 3.0 g/hp-hr.
                                                Natural Gas Fired Four Stroke Lean Burn .......................    1.5 g/hp-hr ..........................   Limits reviewed ranged between 0.5 and 3.0 g/hp-hr.
                                                Natural Gas Fired Two Stroke Lean Burn ........................    3.0 g/hp-hr ..........................   Limits reviewed ranged between 0.5 and 3.0 g/hp-hr.



                                                   With regard to four stroke rich burn                 hr should be readily achievable by all                      still able to meet the emissions limit.
                                                engines, the EPA is proposing an                        four stroke rich burn engines subject to                    For example, it might be more cost
                                                emissions limit of 1.0 g/hp-hr. This                    this proposed rulemaking. The EPA is                        effective on an ongoing basis for some
                                                limit is designed to be achievable by                   taking comment on whether a lower                           four stroke lean burn engines to install
                                                installing Non-Selective Catalytic                      emissions limit is more appropriate                         layered combustion controls alone or
                                                Reduction (NSCR) on existing four                       since even an assumed reduction of 95                       along with SCR to achieve the necessary
                                                stroke rich burn engines, as identified in              percent would result in most engines                        emissions reductions. Information
                                                the non-EGU screening assessment.                       being able to achieve an emissions rate                     available to the EPA suggests that some
                                                Sources are free to install another                     of 0.5 g/hp-hr. However, at this time, the                  four stroke lean burn engines can
                                                control technology besides NSCR as                      EPA does not have the information                           achieve 90% reductions from layered
                                                long as the unit is still able to meet the              necessary to determine if a lower                           combustion controls alone, such as
                                                                                                        emissions limit is achievable for the
                                                emissions limit. In particular for four                                                                             turbochargers and inter-cooling, pre-
                                                                                                        four stroke rich burn engines subject to
                                                stroke rich burn engines, NSCR can be                                                                               chamber ignition or high energy
                                                                                                        the proposed rulemaking, and therefore,
                                                an effective control technology due to                  the EPA is proposing an emissions limit                     ignition, improved fuel injection
                                                the low oxygen percentage in the                        of 1.0 g/hp-hr.                                             control, air/fuel ratio control.313
                                                exhaust. Efficient operation of the                       With regard to four stroke lean burn                      Independent of unit specific
                                                catalyst in NSCR requires the engine                    engines, the EPA is proposing an                            considerations, the EPA believes that
                                                exhaust gases contain no more than 0.5                  emissions limit of 1.5 g/hp-hr. This                        four stroke lean burn engines subject to
                                                percent oxygen, which makes rich burn                   limit is designed to be achievable by                       this proposed FIP can achieve an
                                                engines uniquely suitable to NCSR.                      installing SCR on existing four stroke                      emissions limit of 1.5 g/hp-hr with the
                                                Given that NSCR can achieve NOX                         lean burn engines. Sources are free to                      installation and operation of SCR or
                                                reductions of 90 to 99 percent, the EPA                 install another control technology with                     other control technologies at the
                                                believes an emissions limit of 1.0 g/hp-                or without SCR as long as the unit is                       marginal cost threshold of $7,500 per
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                                                  310 EPA’s Final Plan for Periodic Retrospective         312 Digital Government: Building a 21st Century           Standards for Hazardous Air Pollutants (NESHAP)
                                                Reviews, August 2011. Available at: https://            Platform to Better Serve the American People, May           Rules, referenced earlier in this section.
                                                www.regulations.gov/document?D=EPA-HQ-OA-               2012. Available at: https://obamawhitehouse.                  313 Ozone Transport Commission, Technical
                                                2011-0156-0154.                                         archives.gov/sites/default/files/omb/egov/digital-
                                                                                                                                                                    Information Oil and Gas Sector Significant
                                                  311 E-Reporting Policy Statement for EPA              government/digital-government.html. For more
                                                                                                                                                                    Stationary Sources of NOX Emissions, 35–39,
                                                Regulations, September 2013. Available at: https://     information on the benefits of electronic reporting,
                                                www.epa.gov/sites/production/files/2016-03/             see the memorandum Electronic Reporting                     October 17, 2012.
                                                documents/epa-ereporting-policy-statement-2013-         Requirements for New Source Performance
                                                09-30.pdf.                                              Standards (NSPS) and National Emission



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                                                ton identified in the non-EGU screening                 sources at or below the marginal cost                  industry, the EPA reviewed RACT NOX
                                                assessment. While a lower emissions                     threshold to achieve a lower emissions                 rules, air permits, and consent decrees.
                                                limit may be achievable with SCR for                    rate.                                                  These rules and source-specific
                                                some four stroke lean burn engines, the                                                                        requirements most commonly express
                                                                                                        Compliance Assurance Requirement
                                                achievability of those lower limits may                                                                        the emissions limits for this industry in
                                                depend on engine age and come with                         The EPA is proposing to require                     terms of mass of pollutant emitted
                                                increased costs not accounted for in this               stationary SI engines subject to this
                                                                                                                                                               (pounds) per kiln’s clinker output
                                                proposed rule. The EPA is seeking                       proposed FIP to conduct semi-annual
                                                                                                                                                               (tons), i.e., pounds of NOX emitted per
                                                comment on whether a lower and higher                   performance testing in accordance with
                                                                                                        40 CFR 60.8 to ensure that the engine                  ton of clinker produced. A regulated
                                                emissions limit is appropriate for these
                                                                                                        is meeting the NOX emissions limit. The                entity routinely monitors and keeps
                                                units.
                                                   For two stroke lean burn engines, the                EPA is proposing that affected engines                 track of its clinker output as it pertains
                                                EPA is currently proposing an emissions                 then monitor and record hours of                       to a kiln design capacity and the plant’s
                                                limit of 3.0 g/hp-hr. This limit is                     operation and fuel consumption to                      production. Therefore, the EPA believes
                                                designed to be achievable by retrofitting               calculate ongoing compliance with the                  that this form of NOX emissions limit is
                                                existing two stroke lean burn engines                   applicable emissions limit. In addition,               effective, practicable and convenient to
                                                with layered combustion to achieve this                 the EPA is proposing that affected                     record and report to an air agency.
                                                emissions limit. Sources are free to                    engines would use continuous                              In determining the averaging time for
                                                install another control technology                      parametric monitoring systems (CPMS)                   the limit, the EPA considered the NSPS
                                                besides layered combustion as long as                   to ensure that the NOX emissions limit                 for Portland Cement Plants at 40 CFR
                                                the unit is still able to meet the                      is being met at all times. For example,                part 60, subpart F. Section 60.62(a)(3) of
                                                emissions limit. As identified in the                   engines utilizing layered combustion
                                                                                                                                                               this subpart establishes a 30-operating
                                                non-EGU screening assessment, the EPA                   controls would need to monitor and
                                                                                                                                                               day rolling average period for the NOX
                                                believes that layered combustion                        record temperature, air to fuel ratio, and
                                                                                                        other parameters as appropriate to                     emitted per ton of clinker produced and
                                                controls, such as improved airflow,
                                                                                                        ensure that combustion conditions are                  further states that an operating day
                                                improved fuel to air mixing, improved
                                                ignition, and modern engine electronic                  optimized to reduce NOX emissions and                  includes all valid data obtained in any
                                                controls can be achieved on two stroke                  assure compliance with the emissions                   daily 24-hour period during which the
                                                engines at the marginal cost threshold of               limit. For engines using SCR or NSCR,                  kiln operates and excludes any
                                                $7,500 per ton. With these types of                     the EPA is proposing that source                       measurements made during the daily
                                                controls, the information currently                     monitor and record parameters such as                  24-hour period when the kiln was not
                                                available to the EPA indicates that the                 inlet temperature to the catalyst and                  operating. In addition, 40 CFR 60.44b(i)
                                                amount of achievable emissions                          pressure drop across the catalyst.                     requires that compliance with the
                                                reductions is unit specific and can range                  The EPA is seeking comment on                       applicable NOX emissions limit be
                                                from a 60 to 90 percent reduction in                    whether it is feasible or appropriate to               determined on a 30-day rolling average
                                                NOX emissions. The EPA estimates that                   require affected engines to be equipped                basis. The EPA is proposing to require
                                                existing uncontrolled two stroke lean                   with continuous emissions monitoring                   a 30-operating day rolling average
                                                burn engines would need to reduce                       systems (CEMS) to measure and monitor                  period as the averaging time frame for
                                                emissions by about 80 percent to                        the NOx emissions instead of                           this particular industry. The proposed
                                                comply with a 3.0 g/hp-hr emissions                     conducting performance tests on a                      averaging timeframe is consistent with
                                                limit. While some RACT and model                        semiannual basis.                                      the longstanding national technology-
                                                rules reviewed contained more stringent                 2. Cement and Concrete Product                         based NSPS for this industry at 40 CFR
                                                emissions limits for two stroke lean                    Manufacturing                                          part 60, subpart F. Furthermore, an air
                                                burn engines, the EPA does not have                                                                            agency may choose to require an
                                                information adequate to conclude that                   Applicability
                                                                                                                                                               averaging period shorter than a 30-
                                                the two stroke lean burn engines across                   The EPA is proposing to establish                    operating day rolling average in air
                                                all 23 states can meet a lower limit.                   regulatory requirements for the Cement
                                                Further, some information available                                                                            permit(s) issued to these plants. The
                                                                                                        and Concrete Product Manufacturing
                                                supports a finding that an emissions                                                                           EPA finds that a 30-operating day
                                                                                                        source category that apply to emissions
                                                limit below 3.0 g/hp-hr might not be                                                                           rolling average period provides a
                                                                                                        units (kilns) that directly emit or have
                                                achievable with layered combustion                      the potential to emit 100 tpy or more of               reasonable balance between short term
                                                controls alone for some units, and those                NOX. Further, the EPA is proposing                     (hourly or daily) and long term (annual)
                                                units would require additional controls                 emissions limits based on type of unit                 averaging periods, while being flexible
                                                beyond our cost threshold.314 Therefore,                to ensure that the necessary NOX                       and responsive to fluctuations in
                                                the EPA is proposing an emissions limit                 emissions reductions occur. The EPA is                 operations and production.
                                                of 3.0 g/bhp-hr for two stroke engines.                 seeking comment on whether it should                      Based on the available information for
                                                The EPA is seeking comment on                           set an applicability threshold based on                this industry, applicable State and local
                                                whether a lower emissions limit would                   a unit’s design production capacity                    air agency rules, and active air permits
                                                be achievable with layered combustion                   rather than an emissions threshold.                    or enforceable orders issued to affected
                                                alone for the sources covered by this                                                                          cement plants, the EPA is proposing the
                                                FIP. Further, the EPA is seeking                        Emissions Limitations and Rationale
                                                                                                                                                               following emissions limits for cement
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                                                comment on whether additional control                     In developing the emissions limits for
                                                                                                                                                               kilns:
                                                technology could be installed on these                  the Cement and Concrete Manufacturing




                                                  314 Ozone Transport Commission, Technical

                                                Information Oil and Gas Sector Significant
                                                Stationary Sources of NOX Emissions at 24–25.

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                                                TABLE VII.C–2—SUMMARY OF PROPOSED NOX EMISSIONS LIMITS FOR KILN TYPES IN CEMENT AND CONCRETE PRODUCT
                                                                                         MANUFACTURING
                                                                                          Proposed NOX
                                                           Kiln type                       emissions limit                                                  Additional information
                                                                                         (lb/ton of clinker)

                                                Long Wet ........................                              4.0   Limits reviewed ranged between 3.88–5.2; one State rule allows as high as 6.0; with addi-
                                                                                                                       tion of a post combustion NOX control the upper range could be reduced significantly.
                                                Long Dry .........................                             3.0   Limits reviewed showed 5.1; with addition of post combustion NOX control the limit could
                                                                                                                       be reduced significantly; limit of 3.0 would achieve a 41% reduction in NOX emissions.
                                                Preheater ........................                             3.8   Limits reviewed ranged between 1.5–3.44; limit of 3.8 is consistent with 30 TAC
                                                                                                                       117.3110(a)(3) and 35 IAC 217.224(a).
                                                Precalciner .....................                              2.3   Requires post combustion NOX control; consistent with permit A0017 for Lehigh Southwest
                                                                                                                       Cement Company issued on May 5, 2020 by the Bay Area Air Quality Management Dis-
                                                                                                                       trict.
                                                Preheater/Precalciner .....                                    2.8   Limits reviewed ranged between 1.8–3.4; limit of 2.8 is consistent with 30 TAC
                                                                                                                       117.3110(a)(4); Mitsubishi Cement Corporation Lucerne Valley Federal Operating Permit
                                                                                                                       11800001 issued by the Mojave Desert Air Quality Management District (MDAQMD)
                                                                                                                       June 18, 2020; MDAQMD Rule 1161 (C)(2); and Illinois 35 IAC 217.224(a).



                                                Although the EPA is proposing NOX                              provide operational flexibility the EPA                for each individual cement plant
                                                emissions limits based on the specific                         is also proposing a source cap limit                   according to the following equation.
                                                kiln types listed in Table VII.C–2, to                         expressed in tons per day (tpd) of NOX


                                                                                         CAP2015 Ozone Transport= (KW x NW)+ (KD x ND)
                                                                                                                  (2000 pounds x 365 days)
                                                                                                                          ton        year

                                                Where:                                                         kilns in the affected states and to                    We note that the EPA previously stated
                                                CAP2015 Ozone Transport = total allowable                      replace them with more energy efficient                that it expects that the controls for
                                                   NOX emissions from all cement kilns                         and less emitting units like preheater/                cement kilns would take at least 2 years
                                                   located at one cement plant, in tons per                    precalciner installations. The EPA is                  to install on a sector-wide basis across
                                                   day, on a 30-operating day rolling                          also requesting comment on the time                    the 12-state region affected by the
                                                   average basis;
                                                KD = 1.7 pounds NOX per ton of clinker for
                                                                                                               needed to complete such a task. It has                 Revised CSAPR Update.315
                                                   dry preheater-precalciner or precalciner                    been shown that such kilns
                                                                                                                                                                      Compliance Assurance Requirements
                                                   kilns;                                                      replacements (preheater/precalciner
                                                KW = 3.4 pounds NOX per ton of clinker for                     kilns), when equipped with post-                          The EPA is proposing that
                                                   long wet kilns;                                             combustion NOX control devices such                    performance tests be conducted on a
                                                ND = the average annual production in tons                     as SNCR, are capable of meeting NOX                    semiannual basis. Such tests shall be
                                                   of clinker plus one standard deviation                      emissions limit of 1.5 lb/ton of clinker               conducted in conformance with the
                                                   for the three most recent calendar years                    on a 30-operating day basis. For this                  requirements of 40 CFR 60.8. Stack tests
                                                   from all dry preheater-precalciner or                                                                              will need to conform with the Test
                                                   precalciner kilns located at one cement
                                                                                                               reason, the EPA proposes to find that
                                                   plant; and                                                  conversion from long wet kilns to                      Methods and Procedures in 40 CFR 60
                                                NW = the average annual production in tons                     preheater/precalciner installations is                 appendix A, or other EPA-approved
                                                   of clinker plus one standard deviation                      generally feasible. Given that long wet                (federally enforceable) test methods and
                                                   for the three most recent calendar years                    kilns are less energy efficient and                    procedures.
                                                   from all long wet kilns located at one                      generally emit more NOX than other kiln                   The EPA is soliciting comments on
                                                   cement plant.                                               types, conversion to preheater/                        whether it is feasible or appropriate to
                                                  An affected cement plant will need to                        precalciner installations would be the                 require affected units (kilns) to be
                                                comply with both the source cap limit                          most effective method of NOX reduction                 equipped with CEMS to measure and
                                                and the specific NOX emissions limits                          (per ton of clinker produced).                         monitor the NOX concentration
                                                assigned to its individual kiln type(s).                          Additionally, EPA is soliciting                     (emissions level) instead of conducting
                                                The EPA notes that the above source cap                        comments on whether it is feasible or                  performance tests on semiannual basis.
                                                would be calculated and assigned to                            appropriate to require sources with                       We are also soliciting comment on
                                                operating kilns in a particular plant.                         existing preheater/precalciner kilns in                whether it is appropriate for the affected
                                                That is, the total allowable NOX                               the affected states that currently utilize             units (kilns) to use CPMS instead of
                                                emissions in tpd from one plant cannot                         low NOX burners, combustion controls,                  CEMS to monitor the NOX concentration
                                                                                                               staged combustion, or mid-kiln firing to               (emissions level). We note that CPMS,
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                                                be traded with another plant, regardless
                                                of these plants’ control of ownership or                       add and operate a post combustion                      also called parametric monitoring,
                                                operator’s status, or regardless of these                      control device like SNCR or SCR to                     measures a parameter (or multiple
                                                plants’ proximity to each other or their                       further improve their NOX removal                      parameters) as a key indicator of system
                                                location.                                                      efficiency and lower NOX emissions to                  performance. The parameter is generally
                                                  The EPA is soliciting comment on                             1.95 lb/ton of clinker or less. The EPA                an operational parameter of the process
                                                whether it is feasible or appropriate to                       is also requesting comments on the time
                                                                                                                                                                                                                   EP06AP22.002</GPH>




                                                phase out and retire existing long wet                         needed to complete such an addition.                    315 85 FR 68999 (October 30, 2020).




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                                                or the air pollution control device                               set an applicability threshold based on                    codified at 40 CFR part 63 subpart
                                                (APCD) that is known to affect the                                a unit’s production capacity rather than                   EEEEE, the NESHAP for Integrated Iron
                                                emissions levels from the process or the                          an emissions threshold.                                    and Steel manufacturing facilities
                                                control efficiency of the APCD.                                                                                              codified at 40 CFR part 63 subpart
                                                                                                                  Emissions Limitations and Rationale
                                                Examples of parametric monitoring                                                                                            FFFFF, the NESHAP for Ferroalloys
                                                include kiln feed rate, clinker                                      In developing the emissions limits for                  Production: Ferromanganese and
                                                production rate, fuel type, fuel flow rate,                       the Iron and Steel and Ferroalloy                          Silicomanganese codified at 40 CFR part
                                                specific heat consumption, secondary                              Manufacturing industry, the EPA                            63 subpart XXX, and the NESHAP for
                                                air temperature, kiln feed-end                                    reviewed RACT NOX rules, NESHAP                            Ferroalloys Production Facilities
                                                temperature, preheater exhaust gas                                rules, air permits and related emissions                   codified at 40 CFR part 63 subpart
                                                temperature, induced draught fan                                  tests, technical support documents, and                    YYYYYY. EPA also reviewed various
                                                pressure drop, kiln feed-end percentage                           consent decrees. These rules and                           RACT NOX rules from states located
                                                oxygen, percentage downcomer oxygen,                              source-specific requirements most                          within the OTR, several of which have
                                                primary air flow rate, ammonia feed rate                          commonly express the emissions limits                      chosen to implement OTC model rules
                                                and slippage.                                                     for this industry in terms of mass of                      and recommendations. Based on this
                                                                                                                  pollutant emitted (pounds) per                             information, the EPA is proposing to
                                                3. Iron and Steel Mills and Ferroalloy                            operating hour (hours) (i.e., pounds of
                                                Manufacturing                                                                                                                require a 30-operating day rolling
                                                                                                                  NOX emitted per production hour),                          average period as the averaging time
                                                Applicability                                                     pounds per energy unit (i.e., million
                                                                                                                                                                             frame for this particular industry. The
                                                                                                                  British thermal unit (mmBtu)), or
                                                   The EPA is proposing to establish                                                                                         EPA finds that a 30-operating day
                                                                                                                  pounds of NOX per ton of steel
                                                regulatory requirements for the Iron and                                                                                     rolling average period provides a
                                                                                                                  produced. A regulated entity routinely
                                                Steel Mills and Ferroalloy                                                                                                   reasonable balance between short term
                                                                                                                  monitors and keeps track of its
                                                Manufacturing source category that                                                                                           (hourly or daily) and long term (annual)
                                                                                                                  production in terms of tons of steel
                                                apply to emissions units that directly                                                                                       averaging periods, while being flexible
                                                                                                                  produced per hour (heat rate) as it
                                                emit or have the potential to emit 100                                                                                       and responsive to fluctuations in
                                                                                                                  pertains to the facility’s rate of iron and
                                                tpy or more of NOX and to facilities                                                                                         operations and production.
                                                                                                                  steel production. Depending on the type
                                                containing two or more such units that                            of unit and industry practice, the EPA                        Based on the available information for
                                                collectively emit or have the potential to                        is proposing rate-based emissions limits                   this industry, applicable federal and
                                                emit 100 tpy or more of NOX. The EPA                              in the form of lb/mmBtu, production-                       state rules, and active air permits or
                                                is setting emissions limits based on type                         based limits in the form of lb/ton, and                    enforceable orders issued to affected
                                                of unit to ensure that the necessary                              work practice standards.                                   facilities in the iron and steel and
                                                emissions reductions occur across all                                In determining the averaging times for                  ferroalloy manufacturing industry, the
                                                units of the same type. The EPA is                                the limits, EPA initially reviewed the                     EPA proposes the following emissions
                                                seeking comment on whether it should                              NESHAP for Iron and Steel Foundries                        limits:

                                                   TABLE VII.C–3—SUMMARY OF PROPOSED NOX EMISSIONS LIMITS FOR IRON AND STEEL AND FERROALLOY EMISSIONS
                                                                                                UNITS
                                                                                                 Proposed NOX emissions
                                                           Emissions unit                        standard or requirement                                                  Additional information
                                                                                                  (lbs/hour or lb/mmBtu)

                                                Blast Furnace ...........................    0.03 lb/mmBtu .........................         OH NOX RACT rules limit NOX emissions from blast furnaces to 0.06 lb/
                                                                                                                                               mmBtu without requiring specific control technology. Control NOX at stoves
                                                                                                                                               (typically 3 or 4 per blast furnace), assuming 40–50% reduction) by burner
                                                                                                                                               replacement plus SCR.
                                                Basic Oxygen Furnace .............           0.07 lb/ton ................................    Potential 25–50% reduction by SCR/SNCR from 0.14 lb/ton based on emis-
                                                                                                                                               sions testing.
                                                Electric Arc Furnace .................       0.15 lb/ton steel .......................       Example permit limits at around 0.2 lb/ton. Assumes 25% reduction by SCR
                                                                                                                                               to achieve 0.15 lb/ton steel.
                                                Ladle/tundish Preheaters .........           0.06 lb/mmBtu .........................         Nucor Kankakee BACT permit limit issued January 2021 is 0.1 lb/mmBtu,
                                                                                                                                               2021. Assume 40% reduction by SCR.
                                                Reheat furnace .........................     0.05 lb/mmBtu .........................         Sterling Steel permit, issued 2019: Low-NOX natural gas fired burners de-
                                                                                                                                               signed to emit no more than 0.073 lb NOX/mmBtu, Ohio RACT limit is 0.09
                                                                                                                                               lb/mmBtu. Assume 40% reduction by SCR.
                                                Annealing Furnace ...................        0.06 lb/mmBtu .........................         Big River Steel (AR) 2018 limit and Benteler Steel (LA) 2019 limit (0.11 lb/
                                                                                                                                               mmBtu), 85 mmBtu/hr and 13 mmBtu/hr, respectively. Lowest was 0.0915
                                                                                                                                               lb/mmBtu, Nucor AR. Assume 40% reduction by SCR.
                                                Vacuum Degasser ....................         0.03 lb/mmBtu .........................         0.05 lb/mmBtu Nucor Darlington (SC) and Nucor Tuscaloosa (AL). Assume
                                                                                                                                               40% reduction by SCR.
                                                Ladle Metallurgy Furnace .........           0.1 lb/ton ..................................   Assume 40% reduction by SCR.
                                                Taconite Production Kilns ........           Work practice standard to in-                   Consistent with requirements in Minnesota Taconite FIP See 81 FR 21671.
                                                                                               stall and operate low NOX
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                                                                                               burners.
                                                Coke Ovens (charging) ............           0.15 lb/ton of coal charged ......              Assume 50% reduction staged combustion and/or limited use SCR/SNCR
                                                                                                                                               during charging operations from AP–42 0.3 lb/ton emission factor.
                                                Coke Ovens (pushing) .............           0.015 lb/ton of coal pushed .....               SunCoke Middletown limit is 0.02 lb/ton of coal. Assume 25% reduction by
                                                                                                                                               SCR.
                                                Boilers—Coal ............................    0.20 lb/mmBtu .........................         See explanation in Section VII.C.5.
                                                Boilers—Residual oil ................        0.20 lb/mmBtu .........................         See explanation in Section VII.C.5.
                                                Boilers—Distillate oil .................     0.12 lb/mmBtu .........................         See explanation in Section VII.C.5.



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                                                   TABLE VII.C–3—SUMMARY OF PROPOSED NOX EMISSIONS LIMITS FOR IRON AND STEEL AND FERROALLOY EMISSIONS
                                                                                          UNITS—Continued
                                                                                           Proposed NOX emissions
                                                         Emissions unit                    standard or requirement                                             Additional information
                                                                                            (lbs/hour or lb/mmBtu)

                                                Boilers—Natural gas ................    0.08 lb/mmBtu .........................   See explanation in Section VII.C.5.



                                                   Due to the many types of units within                  methods and procedures in 40 CFR 60                     or averaging times for NOX. In order to
                                                Iron and Steel Mills and Ferroalloy                       appendix A, Method 7E, or other EPA-                    determine the averaging time for the
                                                Manufacturing facilities that are not                     approved (federally enforceable) test                   NOX emissions limits, the EPA reviewed
                                                currently subject to NOX limitations of                   methods and procedures. The EPA is                      various RACT NOX rules from states
                                                the stringency necessary to eliminate                     also soliciting comments on alternative                 located within the OTR, several of
                                                significant contribution, most of the                     monitoring systems or methods that are                  which have chosen to implement OTC
                                                emissions limits in this proposed rule                    equivalent to CEMS to demonstrate                       model rules and recommendations.
                                                are based on examples of permitted                        compliance with the emissions limits.                      Most of the states within the OTR
                                                emissions and estimated reduction                                                                                 implement RACT regulations for the
                                                                                                          4. Glass and Glass Product
                                                potential from the identified control                                                                             glass manufacturing industry that do not
                                                                                                          Manufacturing
                                                technology. Based on the selection of                                                                             specify presumptive NOX limits.316
                                                SCR, SNCR, and burner replacement in                      Applicability                                           With respect to those RACT rules in the
                                                the non-EGU screening assessment, the                       The EPA is proposing to establish                     OTR states that contain presumptive
                                                EPA assumed reductions of 20 to 50                        regulatory requirements for the Glass                   RACT NOX limits for glass
                                                percent from current permitted limits                     and Glass Product Manufacturing source                  manufacturing furnaces, EPA found
                                                and emissions tests depending on the                      category that apply to emissions units                  variations in averaging times, ranging
                                                type of unit and controls being                           that directly emit or have the potential                from a 30-day rolling average to a more
                                                implemented.                                              to emit 100 tpy or more of NOX. The                     stringent daily average.317 The EPA also
                                                   In addition, for Taconite Production                   EPA is setting emissions limits based on                reviewed RACT NOX regulations for the
                                                Kilns, the EPA does not currently have                    type of unit to ensure that the necessary               glass manufacturing industry outside
                                                the data to determine appropriate                         emissions reductions occur. The EPA is                  the OTR and observed that 30-day
                                                emissions limits that these units could                   seeking comment on whether it should                    rolling averages and daily averages
                                                achieve by installing low NOX burners.                    set an applicability threshold based on                 varied throughout the states.318 The
                                                Therefore, the EPA is proposing to                        a unit’s production capacity rather than                EPA is proposing to require owners or
                                                require the installation of low NOX                       an emissions threshold.                                 operators of glass manufacturing
                                                burners for Taconite Production Kilns                                                                             furnaces to comply with the applicable
                                                and work practice standards for                           Emissions Limitations and Rationale
                                                                                                                                                                  presumptive NOX emissions limits on a
                                                operating these control technologies to                      In developing the emissions limits for               30-day rolling average time frame. This
                                                achieve emissions reductions. The EPA                     the Glass and Glass Product                             averaging time frame is consistent with
                                                is also proposing to require these                        Manufacturing industry, the EPA                         other statewide RACT NOX regulations
                                                sources to perform performance tests                      reviewed RACT NOX rules, air permits,                   for this particular industry.
                                                and establish a unit-specific emissions                   Alternative Control Techniques (ACT),                   Furthermore, a state’s air agency may
                                                limit at that time. These work practice                   and consent decrees. These rules and                    choose to require an averaging period
                                                standards are consistent with EPA’s                       source-specific requirements most                       shorter than a 30-operating day rolling
                                                Taconite FIP for Minnesota. See 81 FR                     commonly express the emissions limits
                                                21671 (April 12, 2016). Due to the                        for this industry in terms of mass of                     316 RACT NO rules of the following OTR states
                                                                                                                                                                                  X
                                                ongoing nature of this FIP, the EPA is                    pollutant emitted (pounds) per weight                   CT, DC, DE, MD, ME, NH, NY, RI, VA, and VT do
                                                proposing to require installation of                      of glass removed from the furnace                       not provide presumptive NOX limits for glass
                                                                                                                                                                  manufacturing sources. These RACT regulations
                                                specific control technologies and a                       (tons), i.e., pounds of NOX emitted per                 require owners or operators to submit RACT case-
                                                period of evaluation before setting a                     ton of glass produced. A regulated entity               by-case analysis.
                                                numerical emissions limit.                                routinely monitors and keeps track of its                 317 Pennsylvania’s presumptive RACT NO
                                                                                                                                                                                                                X
                                                                                                          glass outputs as it pertains to a furnace’s             emissions limits are based on 30-day rolling
                                                Compliance Assurance Requirements                                                                                 average. New Jersey’s and Massachusetts’ rules
                                                                                                          design capacity and the plant’s
                                                  The EPA is proposing to require each                                                                            contain more stringent daily averages. Maryland’s
                                                                                                          production. Therefore, the EPA believes                 RACT rule, section 26.11.09.08.I, requires owner or
                                                owner or operator of an affected facility                 that this form of NOX emissions limit is                operators to optimize combustion by performing
                                                that is subject to the NOX emissions                      effective, practicable, and convenient to               daily oxygen tests and maintain excess oxygen at
                                                limit for Iron and Steel Mills and                        record and report to an air agency.                     4.5% or less. See http://www.dsd.state.md.us/
                                                Ferroalloy Manufacturing emissions                           In determining the averaging time for                comar/comarhtml/26/26.11.09.08.htm.
                                                                                                                                                                    318 For example, presumptive RACT NO
                                                units contained in this section to install,               the limits, the EPA initially reviewed                                                              X
                                                                                                                                                                  emissions limits in California are based on both 30-
                                                calibrate, maintain, and operate a CEMS                   the NSPS for glass manufacturing plants                 day rolling and daily averages (see https://
                                                for the measurement of NOX emissions                      codified at 40 CFR part 60 subpart CC.                  www.valleyair.org/rules/currntrules/
                                                discharged into the atmosphere from the                   This NSPS applied to any glass melting                  R4354%20051911.pdf). Wisconsin’s NOX emissions
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                                                                                                                                                                  limits are based on a 30-day rolling average (see
                                                affected facility. The EPA is proposing                   furnace in an affected facility that                    https://casetext.com/regulation/wisconsin-
                                                that each emissions unit will be                          commenced construction or                               administrative-code/agency-department-of-natural-
                                                required to conduct an initial                            modification after June 15, 1979, and                   resources/environmental-protection-air-pollution-
                                                performance test and to operate CEMS                      produced more than 5 tons of glass per                  control/chapter-nr-428-control-of-nitrogen-
                                                                                                                                                                  compound-emissions/subchapter-iv-NOX-
                                                to assure compliance. In conducting the                   day. It was noted that the NSPS only                    reasonably-available-control-technology-
                                                performance tests to demonstrate                          provides standards for particulate                      requirements/section-nr-42822-emission-limitation-
                                                compliance, sources must use test                         matter and does not provide standards                   requirements).



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                                                average in air permits or RACT                           daily) and long term (annual) averaging                 air agency rules, and active air permits
                                                regulations for these plants. The EPA                    periods, while being flexible and                       or enforceable orders issued to affected
                                                finds that a 30-operating day rolling                    responsive to fluctuations in operation                 glass manufacturing plants, EPA is
                                                average period provides a reasonable                     and production.                                         proposing the following emissions
                                                balance between short term (hourly or                      Based on the available information for                limits for glass manufacturing furnaces:
                                                                                                         this industry, applicable state and local
                                                    TABLE VII.C–4—SUMMARY OF PROPOSED NOX EMISSIONS LIMITS FOR FURNACE UNIT TYPES IN GLASS AND GLASS
                                                                                       PRODUCT MANUFACTURING
                                                                                        Proposed NOX
                                                                                        emissions limit
                                                         Furnace type                                                                                 Additional information
                                                                                        (lb/ton of glass
                                                                                           produced)

                                                Container Glass Manufac-                                 4.0   Limits reviewed ranged between 1–4; one state rule allowed as high as 5; with addition of
                                                  turing Furnace.                                                post combustion NOX controls, the upper range could be reduced significantly; con-
                                                                                                                 sistent with 25 Pennsylvania Code 129.304(a)(1) and New Jersey Administrative Code
                                                                                                                 7:27 Subchapter 19.1.
                                                Pressed/Blown Glass Manu-                                4.0   Limits reviewed ranged between 1.36–4; one state rule allowed as high as 7; with addition
                                                  facturing Furnace or Fiber-                                    of post combustion control the limit could be reduced significantly; limit of 4.0 is con-
                                                  glass Manufacturing Fur-                                       sistent with RACT regulations for states located within OTR.
                                                  nace.
                                                Flat Glass Manufacturing Fur-                            9.2   Limits reviewed ranged between 5–9.2; with the addition of post combustion controls the
                                                  nace.                                                          limit could be reduced significantly; consistent with San Joaquin Valley Air Pollution Con-
                                                                                                                 trol District Rule 4354 5.1.1 and New Jersey Administrative Code 7:27 Subchapter 19.1.



                                                   The EPA is soliciting comment on                      manufacturing furnaces in affected                      EPA-approved (federally enforceable)
                                                whether it is feasible or appropriate to                 states that currently utilize these                     methods and procedures. Owners or
                                                phase out and retire existing glass                      combustion modifications to add and                     operators must calculate and record the
                                                manufacturing furnaces in the affected                   operate a post-combustion control                       30-operating day rolling emissions rate
                                                states and replace them with more                        device like SNCR and SCR to further                     of NOX as the total of all hourly
                                                energy efficient and less emitting units                 improve their NOX removal efficiency.                   emissions data for a glass manufacturing
                                                like all-electric melter installations. The              The EPA is also requesting comments                     furnace in the preceding 30 days,
                                                EPA is also requesting comment on the                    on the time needed to install such                      divided by the total tons of glass
                                                time needed to complete such a task.                     controls.                                               produced in that furnace during the
                                                All-electric melters are glass melting                   Compliance Assurance Requirements                       same 30-operating day period. Owners
                                                furnaces in which all the heat required                                                                          or operators of glass manufacturing
                                                for melting is provided by electric                         The EPA is proposing to require each
                                                                                                         owner or operator of an affected facility               furnaces installed with continuous
                                                current from electrodes submerged in                                                                             emissions monitoring may demonstrate
                                                                                                         that is subject to the NOX emissions
                                                the molten glass.319 All-electric melter                                                                         compliance with the emissions limit as
                                                                                                         standards for glass manufacturing
                                                furnaces could provide an energy                                                                                 follows: (1) Determine the average
                                                                                                         furnaces contained in this section to
                                                efficient and NOX emission-free                                                                                  pounds of NOX emitted per day, (2)
                                                                                                         install, calibrate, maintain, and operate
                                                alternative to current methods of                                                                                determine the tons of glass removed per
                                                                                                         a CEMS for the measurement of NOX
                                                melting and producing glass.                             emissions discharged into the                           day during the same day, (3) divide the
                                                   According to the EPA’s ‘‘Alternative                  atmosphere from the affected facility.                  average pounds of NOX emitted per day
                                                Control Techniques Document—NOX                          The EPA is also soliciting comments on                  by the tons of glass removed per day as
                                                Emissions from Glass                                     alternative monitoring systems or                       determined in step (2), and (4) compare
                                                Manufacturing,’’ 320 glass manufacturing                 methods that are equivalent to CEMS to                  the quotient to the emissions limits
                                                furnaces may utilize combustion                          demonstrate compliance with the                         prescribed in the Section VII of this
                                                modifications equivalent to low-NOX                      emissions limits. In conducting the                     proposed rule. If the pollutant mass
                                                burners and oxy-firing. The EPA is                       performance tests to demonstrate                        emissions rate is in lb/hr, the following
                                                soliciting comment on whether it is                      compliance, sources must use test                       equation 321 shall be used to convert the
                                                feasible or appropriate to require                       methods and procedures in 40 CFR part                   emissions rate to lb pollutant/ton of
                                                sources with existing glass                              60 appendix A, method 7E, or other                      glass pulled:


                                                                                                           .                                           !:!!..emitted
                                                                                                   lb emitted I ton ofglass pulled =                   hr       . tons
                                                                                                                                                    Pull rate m""'iir
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                                                  319 See definitions in 40 CFR part 60 subpart CC.        320 ‘‘Alternative Control Techniques Document—          321 This equation is provided in the San Joaquin

                                                                                                         NOX Emissions from Glass Manufacturing,’’ EPA–          Valley Unified Air Pollution Control District’s Rule
                                                                                                                                                                                                                        EP06AP22.003</GPH>




                                                                                                         453/R–94–037, June 1994.                                4354, section 8.1.



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                                                5. Boilers From Basic Chemical                               seeking comment on whether EPA                                  code 2122xx). As such the EPA is not
                                                Manufacturing, Petroleum and Coal                            should alternatively set an applicability                       expressly proposing to include boilers
                                                Products Manufacturing, and Pulp,                            threshold based on potential to emit.                           in those industries. However, if as a
                                                Paper, and Paperboard Mills                                                                                                  result of receiving additional
                                                                                                             Emissions Limitations and Rationale
                                                Applicability                                                                                                                information during the comment period
                                                                                                               This section of the proposed rule                             the EPA identifies large boilers within
                                                   The EPA is proposing to establish                         applies to certain boilers located at any                       these two industries that meet the
                                                regulatory requirements for the Basic                        facility identified as a Tier 2 industry                        applicability criteria described below,
                                                Chemical Manufacturing, Petroleum and                        within the non-EGU screening                                    those boilers could be subject to the
                                                Coal Products Manufacturing, and Pulp,                       assessment. As described within the                             requirements of the final rule.
                                                Paper, and Paperboard Mills industries                       Non-EGU Screening Assessment
                                                that apply to boilers within these                                                                                              As described within the Non-EGU
                                                                                                             memorandum, the EPA reviewed the                                Sectors TSD, the RACT rules we
                                                facilities that have a design capacity of                    projected 2026 emissions data to
                                                100 mmBtu/hr or greater. These                                                                                               reviewed containing NOX limits for
                                                                                                             identify large boilers within the Tier 2                        industrial boilers relied primarily on
                                                requirements are consistent with EPA’s                       industries, defined as boilers projected
                                                findings at Step 3 with respect to Tier                                                                                      design capacity in mmBtu/hr as the
                                                                                                             to emit more than 100 tons per year in                          metric for selecting design criteria. The
                                                2 non-EGU industries. As noted below,                        2026. Boilers meeting this threshold
                                                we do not believe boilers meeting this                                                                                       EPA is proposing to use that same
                                                                                                             were found in three of the five Tier 2                          metric to establish control requirements
                                                size classification exist within the other
                                                                                                             industries, as identified in Table                              for boilers with a design capacity of 100
                                                Tier 2, or Tier 1 industries, but if they
                                                                                                             VII.C.5–1.                                                      mmBtu/hr or greater. As noted within
                                                do, the EPA proposes that they would
                                                also be subject to the requirements of                                                                                       the Non-EGU Sectors TSD, boilers rated
                                                this part. Based on our review of the
                                                                                                               TABLE VII.C.5–1—TIER 2 INDUSTRIES                             at 100 mmBtu/hr or greater can emit
                                                potential emissions from industrial                             WITH LARGE BOILERS AND ASSOCI-                               large amounts of NOX, particularly if
                                                boilers of various fuel types, we find                          ATED NAICS CODES                                             they do not operate NOX control
                                                that use of a boiler design capacity of                                                                                      equipment.
                                                100 mmBtu/hr reasonably approximates                                                                                NAICS       The EPA reviewed NOX emissions
                                                                                                                                 Industry                            code
                                                the selection of 100 tpy used within the                                                                                     limits for industrial boilers with design
                                                Non-EGU Screening Assessment                                 Basic Chemical Manufacturing .........                 3251xx   capacities of 100 mmBtu/hr or greater
                                                memorandum. Therefore, boilers subject                       Petroleum and Coal Products Manu-                               that have been adopted by states and
                                                to the requirements of this section of the                     facturing ........................................   3241xx   incorporated into their SIPs. The Non-
                                                proposed rule are those found within                         Pulp, Paper, and Paperboard Mills ..                   3221xx   EGU Sectors TSD contains a detailed
                                                any of the 23 covered states with non-                                                                                       discussion of that evaluation. Based on
                                                EGU emissions reduction obligations                            The EPA did not find large boilers                            our review, we propose to establish the
                                                that are within a Tier 1 or Tier 2                           within the Lime and Gypsum Product                              following NOX emissions limits for coal,
                                                industry and have a design capacity of                       Manufacturing (NAICS code 3274xx) or                            oil, and gas fired industrial boilers
                                                100 mmBTU/hr or greater. The EPA is                          the Metal Ore Mining industries (NAICS                          located at a Tier 2 industry:

                                                                     TABLE VII.C.5–2—PROPOSED NOX EMISSIONS LIMITS FOR INDUSTRIAL BOILERS >100 MMBTU/HR
                                                                                         Emissions limit
                                                           Unit type                                                                                            Additional information
                                                                                       (lbs NOX/mmBtu)

                                                Coal ...............................         0.20           Limits reviewed ranged from 0.08 to 1.0. Proposed limit will likely require a combination of com-
                                                                                                              bustion controls or post-combustion controls.
                                                Residual oil ....................            0.20           Limits reviewed ranged from 0.15 to 0.50. Proposed limit will likely require combustion controls.
                                                Distillate oil ....................          0.12           Limits reviewed ranged from 0.10 to 0.43. Proposed limit will likely require combustion controls.
                                                Natural gas ....................             0.08           Limits reviewed ranged from 0.06 to 0.25.
                                                                                                            Proposed limit will likely require a combination of combustion controls or post-combustion con-
                                                                                                              trols.



                                                Additional information on the EPA’s                          various NOx emission limits based on                            most facilities to be retrofit with
                                                derivation of these proposed emissions                       factors such as unit type or heat rate.                         equipment that will enable them to meet
                                                rates for boilers is provided below and                      Additionally, industrial boilers located                        these emissions limits. Additionally, as
                                                in the Non-EGU Sectors TSD.                                  in ozone nonattainment areas or within                          noted in the Non-EGU Sectors TSD,
                                                  The EPA notes that some coal, oil,                         the ozone transport region may have                             many states containing ozone
                                                and gas-fired industrial boilers may                         installed controls to meet emission                             nonattainment areas or located within
                                                have already installed combustion or                         limits adopted by states to meet NOx                            the OTR have already adopted
                                                post-combustion control equipment,                           RACT requirements.                                              emissions limits similar to or more
                                                such as SCR or SNCR, sufficient to meet                                                                                      stringent than the limits the EPA
                                                the emission limits established in this                      a. Coal-Fired Industrial Boilers                                proposes here. Furthermore, some coal-
                                                FIP. Some of the boilers covered by this
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                                                                                                               Coal-fired industrial boilers subject to                      fired industrial boilers may have
                                                FIP might have install controls to meet                      the proposed requirements of this                               installed combustion or post-
                                                the emission limits contained within                         section would have to meet a NOX                                combustion control equipment to meet
                                                EPA’s NSPS located at 40 CFR 60                              emissions limit of 0.2 lbs/mmBtu on a                           the emissions limits contained within
                                                Subpart Db, which requires that some                         30-day rolling average basis.                                   EPA’s NSPS located at 40 CFR part 60
                                                fossil fuel-fired units that commenced                         Various forms of combustion and                               subpart Db, which requires that coal-
                                                construction, modification, or                               post-combustion NOX control                                     fired industrial boilers meet a NOX
                                                reconstruction after June 19, 1984, meet                     technology exist that should enable                             emissions limit of between 0.5 and 0.8


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                                                lbs/mmBtu depending on unit type.322                    the ICI Boiler ACT indicates that two                  limits. However, we request comment
                                                Enhancements to or retrofit of                          types of NOX combustion control, low-                  on whether emissions limits for other
                                                additional NOX control technology                       NOX burners and flue gas recirculation,                types of fuels should be included in a
                                                should enable most sources to meet the                  are commonly found on oil-fueled                       final FIP, and if so, the types of fuels
                                                proposed NOX limit.                                     industrial boilers, and that SNCR, a                   and the emissions limits that boilers
                                                   There are two main types of NOX                      post-combustion control technology, is                 powered by these fuels should be
                                                control technology that we believe can                  suitable to most oil-fueled industrial                 required to meet. Additionally, the EPA
                                                be retrofit to most existing industrial                 boilers other than those of the packaged               seeks comment on whether the EPA
                                                boilers, or incorporated into the design                firetube design. Some oil-fired                        should establish less stringent emissions
                                                of new boilers, to meet our proposed                    industrial boilers may have already                    rates for boilers with low utilization
                                                emissions limits. These two control                     installed combustion or post-                          rates, and if so, the appropriate
                                                types are combustion controls and post-                 combustion control equipment to meet                   emissions rate(s) and corresponding
                                                combustion controls, and in some                        the emissions limits contained within                  boiler utilization rate(s). The EPA also
                                                instances both types are used together.                 EPA’s NSPS at 40 CFR part 60 subpart                   seeks comment on whether a different
                                                As noted in the EPA’s ‘‘Alternative                     Db, which requires that distillate oil-                averaging time other than the 30-day
                                                Control Techniques Document—NOX                         fired units meet a NOX emissions limit                 averaging time proposed for boilers
                                                Emissions from Industrial/Commercial/                   of between 0.1 to 0.2 lbs/mmBtu                        would be more appropriate and requests
                                                Institutional (ICI) Boilers’’ (hereafter                depending on heat release rate, and that               information supporting any suggested
                                                ‘‘ICI Boiler ACT’’),323 the type of NOX                 residual oil-fired units meet a NOX                    alternative.
                                                control available for use on a particular               emissions limit of between 0.3 to 0.4
                                                                                                                                                               Compliance Assurance Requirements
                                                unit depends primarily on the type of                   lbs/mmBtu also depending on heat
                                                boiler, fuel type, and fuel-firing                      release rate.325 The additional resources                Given the similarities in the types of
                                                configuration. For example, Table 2–3 of                noted in the paragraph above discussing                units covered, the EPA proposes that
                                                the ICI Boiler ACT indicates which                      coal-fired industrial boilers also contain             boilers subject to the requirements of
                                                types of combustion and post-                           useful information regarding effective                 this section demonstrate compliance in
                                                combustion NOX controls are suitable to                 NOX control equipment for residual and                 a manner similar to the emissions
                                                various types of coal-fired ICI boilers.                distillate fueled industrial boilers.                  monitoring requirements found in
                                                We note that one type of combustion                                                                            section 60.45 of the NSPS for industrial,
                                                                                                        c. Gas-Fired Industrial Boilers                        commercial, and institutional (ICI)
                                                control, staged combustion air, and one
                                                type of post-combustion control, SNCR,                     The proposed NOX emissions limit for                boilers at 40 CFR part 60 subpart D.
                                                are indicated as being compatible with                  gas-fired boilers subject to the                       Those requirements include, among
                                                all coal-fired unit types. Additional                   requirements of this section is 0.08 lbs/              other provisions, the performance of an
                                                resources are available that document                   mmBtu. The proposed averaging time                     initial compliance test, installation of a
                                                the availability of NOX control                         for these emissions limits is a 30-day                 CEMS unless the initial performance
                                                equipment for industrial boilers.324                    rolling average.                                       test indicates the unit’s emissions rate is
                                                                                                           As with fossil-fuel-fired boilers,                  70 percent or less of the required
                                                b. Oil-Fired Industrial Boilers                         numerous combustion and post-                          emissions rate, and an annual stack test
                                                   Most oil-fired boilers are fueled by                 combustion NOX control technologies                    for units not required to install a CEMS.
                                                either residual (heavy) oil or distillate               exist that should enable most facilities
                                                                                                        to meet these emissions limits, and                    D. Submitting a SIP
                                                (light) oil. The proposed NOX emissions
                                                limit for residual oil-fired boilers subject            many states have already adopted                          A state may submit a SIP at any time
                                                to the requirements of this section is 0.2              emissions limits similar to the limits the             to address CAA requirements that are
                                                lbs/mmBtu, and the proposed emissions                   EPA proposes here. Table 2–3 of the ICI                covered by a FIP, and if the EPA
                                                limit for distillate oil-fired boilers is               Boiler ACT indicates the same control                  approves the SIP it would replace the
                                                0.12 lbs/mmBtu. The proposed                            technologies that are suitable for                     FIP, in whole or in part, as
                                                averaging time for these emissions                      application to oil-fired boilers are also              appropriate.326 The EPA has established
                                                limits is a 30-day rolling average. As                  likely to be effective at controlling NOX              certain specialized provisions for
                                                with coal-fired industrial boilers, a                   emissions from gas-fired industrial                    replacing FIPs with SIPs within all the
                                                number of combustion and post-                          boilers. Some gas-fired industrial boilers             CSAPR trading programs, including the
                                                combustion NOX control technologies                     may have already installed combustion                  use of so-called ‘‘abbreviated SIPs’’ and
                                                exist that should enable most facilities                or post-combustion control equipment                   ‘‘full SIPs,’’ see 40 CFR 52.38(a)(4) and
                                                to meet these emissions limits, and the                 to meet the emissions limits contained                 (5) and (b)(4), (5), (8), (9), (11), and (12);
                                                Non-EGU Sectors TSD identifies                          within EPA’s NSPS at 40 CFR 60                         40 CFR 52.39(e), (f), (h), and (i). For a
                                                numerous states that have already                       Subpart Db, which requires that gas-                   state to remove all FIP provisions
                                                adopted emissions limits similar to the                 fired units meet a NOX emissions limit                 through an approved SIP revision, a
                                                limits EPA proposes here. Table 2–3 of                  of between 0.1 to 0.2 lbs/MMBtu                        state would need to address all of the
                                                                                                        depending on heat release rate. The                    required reductions addressed by the
                                                  322 40 CFR 60.44b.                                    additional resources noted in the                      FIP for that state, i.e., reductions
                                                   323 ‘‘Alternative Control Techniques Document—       discussion of coal-fired industrial                    achieved through both EGU control and
                                                NOX Emissions from Industrial/Commercial/               boilers also contain useful information                non-EGU control, as applicable to that
                                                Institutional (ICI) Boilers,’’ EPA–453/R–94–022,        regarding effective NOX control                        state. Additionally, tribes in Indian
                                                March 1994.
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                                                   324 For example, see ‘‘Applicability and
                                                                                                        equipment for gas-fired industrial                     country within the geographic scope of
                                                Feasibility of NOX, SO2, and PM Emissions Control       boilers.                                               this proposed rule may elect to work
                                                Technologies for Industrial, Commercial, and               The EPA anticipates that the majority               with EPA under the Tribal Authority
                                                Institutional Boilers,’’ Northeast States for           of boilers covered by this section of the              Rule to replace the FIP for areas of
                                                Coordinated Air Use Management, November 2008           FIP will combust one of the fuels for                  Indian country, in whole or in part, with
                                                (revised January 2009) and ‘‘Nitrogen Oxides (NOx),
                                                Why and How They Are Controlled,’’ EPA, Clean           which we have proposed emissions                       a tribal implementation plan or
                                                Air Technical Center, 456/F–99–006R, November
                                                1999.                                                     325 40 CFR 60.44b.                                    326 CAA sections 110(c)(1)(B), 110(k)(3).




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                                                reasonably severable portions of a tribal               program for EGUs for the 2024 control                  proposed new deadlines a state could
                                                implementation plan.                                    period through a SIP revision.                         submit a SIP revision beginning with
                                                   Under the proposed new FIPs for the                                                                         the 2026 control period and beyond by
                                                                                                        2. SIP Option To Modify Allocations for
                                                25 states whose EGUs would be                                                                                  December 1, 2024, with state allocations
                                                                                                        2025 and Beyond Under EGU Trading
                                                required to participate in the CSAPR                    Program                                                for the 2026 control period due June 1,
                                                NOX Ozone Season Group 3 Trading                                                                               2025, and the EPA recordation of the
                                                Program with its proposed                                  For the 2025 control period and later,              allocations by July 1, 2025.
                                                modifications, ‘‘abbreviated’’ and ‘‘full’’             the EPA proposes that states in the                       The EPA requests comment on the
                                                SIP options continue to be available. An                CSAPR NOX Ozone Season Group 3                         proposed option to replace certain
                                                ‘‘abbreviated SIP’’ allows a state to                   Trading Program can modify the EPA-                    allowance allocation or applicability
                                                submit a SIP revision that would                        determined default allocations with an                 provisions under the Group 3 trading
                                                establish state-determined allowance                    approved SIP revision. For the 2025                    program for EGUs for control periods in
                                                allocation provisions replacing the                     control period and later, SIPs can be full             2025 and later years through a SIP
                                                default FIP allocation provisions but                   or abbreviated SIPs. States will also                  revision.
                                                leaves the remaining FIP provisions in                  have the option to expand applicability
                                                                                                        to include EGUs between 15 MWe and                     3. SIP Option To Replace the Federal
                                                place. A ‘‘full SIP’’ allows a state to
                                                                                                        25 MWe or, in the case of states subject               EGU Trading Program With an
                                                adopt a trading program meeting certain
                                                                                                        to the NOX SIP Call, as discussed in                   Integrated State EGU Trading Program
                                                requirements that would allow sources
                                                in the state to continue to use the EPA-                Section VII.F.1 of this proposed rule,                    For the 2025 control period and later,
                                                                                                        large non-EGU boilers and combustion                   the EPA proposes that states in the
                                                administered trading program through
                                                                                                        turbines. Inclusion of the large non-                  CSAPR NOX Ozone Season Group 3
                                                an approved SIP revision, rather than a
                                                                                                        EGUs would serve as a mechanism to                     Trading Program can choose to replace
                                                FIP. In addition, as under past CSAPR
                                                                                                        address the state’s outstanding                        the Federal EGU trading program with
                                                rulemakings, the EPA proposes to
                                                                                                        regulatory obligations under the NOX
                                                provide states with an opportunity to                                                                          an integrated State EGU trading program
                                                                                                        SIP Call with respect to those sources,
                                                adopt state-determined allowance                                                                               through an approved SIP revision.
                                                                                                        and the state would be allowed to
                                                allocations for existing units for the                                                                         Under this option, a state would submit
                                                                                                        allocate a defined quantity of additional
                                                second control period under this rule—                                                                         a SIP revision that makes changes only
                                                                                                        Group 3 allowances because of the
                                                in this case, the 2024 control period—                                                                         to modify the EPA-determined default
                                                                                                        expanded set of sources. See above and
                                                through streamlined SIP revisions. See                                                                         allocations or expand applicability of
                                                                                                        76 FR 48326–48332 for additional
                                                76 FR 48326–48332 for additional                                                                               the EGU trading program and adopt
                                                                                                        discussion of full and abbreviated SIP
                                                discussion of full and abbreviated SIP                                                                         identical provisions for the remaining
                                                                                                        options; see also 40 CFR 52.38(b).
                                                options; see also 40 CFR 52.38(b).                         For states that want to modify the                  portions of the EGU trading program.
                                                                                                        EPA-determined default allocations or                  This SIP option allows states to replace
                                                1. SIP Option To Modify Allocations for
                                                                                                        expand applicability of the EGU trading                these FIP provisions with state-based
                                                2024 Under EGU Trading Program
                                                                                                        program, the EPA proposes that a state                 SIP provisions while continuing
                                                   As with the start of past CSAPR                      could submit a SIP revision that makes                 participation in the larger regional
                                                rulemakings, the EPA proposes to allow                  changes only to one or both of those                   trading program. As with the
                                                a state to use a similar process to submit              type of provisions while relying on the                abbreviated SIP option discussed above,
                                                a SIP revision establishing allowance                   FIP for the remaining provisions of the                in order to ensure the availability of
                                                allocations for existing EGU units in the               EGU trading program. This abbreviated                  allowance allocations for units in any
                                                state for the second control period of the              SIP option allows states to tailor the FIP             Indian country within a state not
                                                new requirements, i.e., in 2024, to                     to their individual choices while                      covered by the state’s CAA
                                                replace the EPA-determined default                      maintaining the FIP-based structure of                 implementation planning authority, if
                                                allocations. This proposed process                      the trading program. In order to ensure                the state chose to replace EPA’s default
                                                would use updated deadlines, i.e., a                    the availability of allowance allocations              allocations with state-determined
                                                state must submit a letter to EPA within                for units in any Indian country within                 allocations, EPA would continue to
                                                60 days of publication of the final rule                a state not covered by the state’s CAA                 administer any portion of each state
                                                indicating its intent to submit a                       implementation planning authority, if                  emissions budget reserved as a new unit
                                                complete SIP revision by September 1,                   the state chose to replace EPA’s default               set-aside or an Indian country existing
                                                2023. The SIP would provide in an EPA-                  allocations with state-determined                      unit set-aside.
                                                prescribed format a list of existing units              allocations, the EPA would continue to                    Proposed deadlines for this type of
                                                within the state and their allocations for              administer any portion of each state                   SIP revision are the same as the
                                                the 2024 control period. If a state does                emissions budget reserved as a new unit                deadlines for abbreviated SIP revisions.
                                                not submit a letter of intent to submit                 set-aside or an Indian country existing                For the SIP-based program to start with
                                                a SIP revision, the EPA-determined                      unit set-aside.                                        the 2025 control period, the SIP
                                                default allocations will be recorded by                    The proposed SIP submittal deadline                 deadline would be December 1, 2023,
                                                90 days of publication of the final rule.               for this type of revision is December 1,               the deadline to submit state-determined
                                                If a state submits a timely letter of intent            2023, if the state intends for the SIP                 allocations for the 2025 control period
                                                but fails to submit a SIP revision, the                 revision to be effective beginning with                under an approved SIP would be June
                                                EPA-determined default allocations will                 the 2025 control period. For states that               1, 2024, and the deadline for the EPA
                                                be recorded by September 15, 2023. If a                 submit this type of SIP revision, the                  to record those allocations would be
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                                                state submits a timely letter of intent                 EPA proposes that the deadline to                      July 1, 2024, and so on.
                                                followed by a timely SIP revision that is               submit state-determined allocations                       The EPA requests comment on the
                                                approved, the approved SIP allocations                  beginning with the 2025 control period                 proposed option to replace the federal
                                                will be recorded by March 1, 2024.                      under an approved SIP would be June                    trading program for EGUs with an
                                                   The EPA requests comment on the                      1, 2024, and the deadline for the EPA                  integrated state trading program for
                                                proposed option to modify allowance                     to record those allocations would be                   EGUs for control periods in 2025 and
                                                allocations under the Group 3 trading                   July 1, 2024. Similarly, under the                     later years through a SIP revision.


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                                                4. SIP Revisions That Do Not Use the                       For further information on replacing a                 In all cases, a SIP submitted by a state
                                                New Trading Program                                     FIP with a SIP, see the discussion in the              to replace the non-EGU FIPs would
                                                   States can submit SIP revisions to                   final CSAPR rulemaking (76 FR 48326).                  need to rely on permanent and
                                                replace the FIP that achieve the                                                                               practically enforceable controls
                                                                                                        5. SIP Revision Requirements for Non-
                                                necessary EGU emissions reductions but                                                                         measures that are included in the SIP
                                                                                                        EGU Emissions Limits
                                                do not use the CSAPR NOX Ozone                                                                                 and, once approved by the EPA,
                                                Season Group 3 Trading Program. For a                      EPA’s promulgation of a non-EGU                     rendered federally enforceable. So-
                                                transport SIP revision that does not use                transport FIP would in no way affect the               called ‘‘demonstration-only’’ or ‘‘non-
                                                the CSAPR NOX Ozone Season Group 3                      ability of states to submit, for review                regulatory’’ SIPs would be insufficient.
                                                Trading Program, the EPA would                          and approval, a SIP that replaces the                  Further, the EPA anticipates that states
                                                evaluate the transport SIP based on the                 requirements of the FIP with state                     would bear the burden of establishing
                                                particular control strategies selected and              requirements. In order to replace the                  that the state’s alternative approach
                                                whether the strategies as a whole                       non-EGU portion of the FIP in a state,                 achieves at least an equivalent level of
                                                provide adequate and enforceable                        the state’s SIP must provide adequate                  emissions reduction as the FIP, and
                                                provisions ensuring that the necessary                  provisions to prohibit an equivalent or                (unless merely adopting directly the
                                                emissions reductions (i.e., reductions                  greater amount of NOX emissions that                   control requirements of the FIP) the
                                                equal to or greater than what the Group                 contribute significantly to                            state would need to provide a Step 3
                                                3 trading program will achieve) will be                 nonattainment or interfere with                        multifactor analysis that the state’s SIP
                                                achieved. In order to address the                       maintenance of the 2015 ozone NAAQS                    eliminates significant contribution.
                                                applicable CAA requirements, the SIP                    in any other state. The non-EGU
                                                                                                                                                               E. Title V Permitting
                                                revision should include the following                   requirements of the FIP would remain
                                                general elements: (1) A comprehensive                   in place in each covered state until a                    This proposed rule, like CSAPR, the
                                                baseline 2023 statewide NOX emissions                   state’s SIP has been approved by the                   CSAPR Update, and the Revised CSAPR
                                                inventory (which includes existing                      EPA to replace the FIP.                                Update does not establish any
                                                control requirements), which should be                     After promulgation of the final FIP,                permitting requirements independent of
                                                consistent with the 2023 emissions                      the EPA anticipates that the most                      those under Title V of the CAA and the
                                                inventory that the EPA used to calculate                straightforward method for a state to                  regulations implementing Title V, 40
                                                the required state budget in this final                 submit a SIP revision to replace the non-              CFR parts 70 and 71.327 All major
                                                proposed rule (unless the state can                     EGU portion of the FIP for the state                   stationary sources of air pollution and
                                                explain the discrepancy); (2) a list and                would be to provide a SIP that includes                certain other sources are required to
                                                description of control measures to                      emissions limits at an equivalent or                   apply for title V operating permits that
                                                satisfy the state emissions reduction                   greater level of stringency than is                    include emissions limitations and other
                                                obligation and a demonstration showing                  specified for non-EGU sources meeting                  conditions as necessary to ensure
                                                when each measure would be                              the applicability criteria and associated              compliance with the applicable
                                                implemented to meet the 2023 and                        compliance assurance provisions for                    requirements of the CAA, including the
                                                successive control periods; (3) fully-                  each of the unit types identified in                   requirements of the applicable SIP. CAA
                                                adopted state rules providing for such                  Section VII.C of this proposed rule.                   sections 502(a) and 504(a), 42 U.S.C.
                                                NOX controls during the ozone season;                      The EPA seeks comment on other                      7661a(a) and 7661c(a). The ‘‘applicable
                                                (4) for EGUs greater than 25 MWe,                       potential methods by which states could                requirements’’ that must be addressed in
                                                monitoring and reporting under 40 CFR                   develop a SIP to obtain emissions                      title V permits are defined in the title V
                                                part 75, and for other units, monitoring                reductions from non-EGU sources that                   regulations (40 CFR 70.2 and 71.2
                                                and reporting procedures sufficient to                  would replace the state’s non-EGU                      (definition of ‘‘applicable
                                                demonstrate that sources are complying                  portion of the FIP. The EPA recognizes                 requirement’’)).
                                                                                                                                                                  The EPA anticipates that, given the
                                                with the SIP (see 40 CFR part 51 subpart                that states may select emissions
                                                                                                                                                               nature of the units subject to this
                                                K (‘‘source surveillance’’ requirements));              reductions strategies that differ from the
                                                                                                                                                               proposed rule, most if not all of the
                                                and (5) a projected inventory                           emissions limitations included in the
                                                                                                                                                               sources at which the units are located
                                                demonstrating that state measures along                 proposed non-EGU FIP. But the state
                                                                                                                                                               are already subject to title V permitting
                                                with federal measures will achieve the                  must still demonstrate that the
                                                                                                                                                               requirements. For sources subject to title
                                                necessary emissions reductions in time                  replacement SIP provides an equivalent
                                                                                                                                                               V, the interstate transport requirements
                                                to meet the 2023 and successive                         or greater amount of emissions
                                                                                                                                                               for the 2015 ozone NAAQS that are
                                                compliance deadlines (e.g., enforceable                 reductions as the proposed FIP. The
                                                                                                                                                               applicable to them under the new or
                                                reductions commensurate with                            EPA anticipates that such emissions
                                                                                                                                                               amended FIPs would be ‘‘applicable
                                                installation of SCR on coal-fired EGUs                  reductions strategies would have to
                                                                                                                                                               requirements’’ under title V and
                                                by the 2026 ozone season). The SIPs                     achieve reductions beyond those
                                                                                                                                                               therefore must be addressed in the title
                                                must meet procedural requirements                       emissions reductions already projected
                                                                                                                                                               V permits. For example, requirements
                                                under the Act, such as the requirements                 to occur in EPA’s emissions projections
                                                                                                                                                               concerning designated representatives,
                                                for public hearing, be adopted by the                   and air quality modeling conducted at
                                                                                                                                                               monitoring, reporting, and
                                                appropriate state board or authority, and               Steps 1 and 2. Such reductions must
                                                                                                                                                               recordkeeping, the requirement to hold
                                                establish by a practically enforceable                  also be achieved on the same timeframe
                                                                                                                                                               allowances covering emissions, the
                                                regulation or permit(s) a schedule and                  as the reductions that would be required
                                                                                                                                                               compliance assurance provisions, and
                                                date for each affected source or source                 in a final FIP. A demonstration of
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                                                                                                                                                               liability are ‘‘applicable requirements’’
                                                category to achieve compliance. Once                    equivalency using other control
                                                                                                                                                               that must be addressed in the permits.
                                                the state has made a SIP submission, the                strategies is complicated by the fact that
                                                                                                                                                                  Title V of the CAA establishes the
                                                EPA will evaluate the submission(s) for                 the proposed emissions limits for non-
                                                                                                                                                               basic requirements for state title V
                                                completeness before acting on the SIP.                  EGU sources are generally rate-based
                                                EPA’s criteria for determining                          and expressed in a variety of forms; this                327 Part 70 addresses requirements for state title
                                                completeness of a SIP submission are                    will make comparative analysis to                      V programs, and Part 71 governs the federal title V
                                                codified at 40 CFR part 51 appendix V.                  determine equivalency challenging.                     program.



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                                                permitting programs, including, among                   approach for monitoring and reporting                  EPA maintains the same approach in
                                                other things, provisions governing                      emissions, in certain circumstances.                   this proposed rule.
                                                permit applications, permit content, and                Specifically, sources may use the minor                   Consistent with EPA’s approach
                                                permit revisions that address applicable                modification procedure so long as the                  under CSAPR, the CSAPR Update and
                                                requirements under final FIPs in a                      new monitoring and reporting approach                  the Revised CSAPR Update, the
                                                manner that provides the flexibility                    is one of the prior-approved approaches                applicable requirements resulting from
                                                necessary to implement market-based                     under CSAPR, the CSAPR Update and                      the new and amended FIPs generally
                                                programs such as the trading programs                   the Revised CSAPR Update (i.e.,                        will have to be incorporated into
                                                established in CSAPR, the CSAPR                         approaches using a continuous                          affected sources’ existing title V permits
                                                Update, the Revised CSAPR Update and                    emissions monitoring system under                      either pursuant to the provisions for
                                                this proposed rule. 42 U.S.C. 7661a(b);                 subparts B and H of part 75, an excepted               reopening for cause (40 CFR 70.7(f) and
                                                40 CFR 70.6(a)(8) & (10); 40 CFR                        monitoring system under appendices D                   71.7(f)) or the standard permit renewal
                                                71.6(a)(8) & (10).                                      and E to part 75, a low mass emissions                 provisions (40 CFR 70.7(c) and
                                                   In CSAPR, the CSAPR Update and the                                                                          71.7(c)).331 For sources newly subject to
                                                                                                        excepted monitoring methodology
                                                Revised CSAPR Update, the EPA                                                                                  title V that are affected sources under
                                                                                                        under 40 CFR 75.19, or an alternative
                                                established standard requirements                                                                              the FIPs, the initial title V permit issued
                                                                                                        monitoring system under subpart E of
                                                governing how sources covered by that                                                                          pursuant to 40 CFR 70.7(a) should
                                                rule would comply with title V and its                  part 75), and the permit already                       address the final FIP requirements.
                                                regulations.328 40 CFR 97.506(d),                       includes a description of the new                         As was the case in the CSAPR, the
                                                97.806(d) and 97.1006(d). For any new                   monitoring and reporting approach to be                CSAPR Update and the Revised CSAPR
                                                or existing sources subject to this                     used. See 40 CFR 97.506(d)(2),                         Update, the new and amended FIPs
                                                proposed rule, identical title V                        97.806(d)(2) and 97.1006(d)(2); 40 CFR                 impose no independent permitting
                                                compliance provisions would apply,                      70.7(e)(2)(i)(B) and 40 CFR                            requirements and the title V permitting
                                                just as they would have in the CSAPR                    71.7(e)(1)(i)(B). As described in EPA’s                process will impose no additional
                                                NOX Ozone Season Group 3 Trading                        2015 Title V Guidance, sources may                     burden on sources already required to
                                                Program. For example, the title V                       comply with this requirement by                        be permitted under title V.
                                                regulations provide that a permit issued                including a table of all of the approved
                                                                                                        monitoring and reporting approaches                    F. Relationship to Other Emissions
                                                under title V must include ‘‘[a]                                                                               Trading and Ozone Transport Programs
                                                provision stating that no permit revision               under CSAPR, the CSAPR Update and
                                                shall be required under any approved                    the Revised CSAPR Update trading                       1. NOX SIP Call
                                                . . . emissions trading and other similar               programs in which the source is                           States affected by both the NOX SIP
                                                programs or processes for changes that                  required to participate, and the                       Call for the 1979 ozone NAAQS and any
                                                are provided for in the permit.’’ 40 CFR                applicable requirements governing each                 final ozone season requirements
                                                70.6(a)(8) and 71.6(a)(8). Consistent                   of those approaches.329 Inclusion of                   established upon finalization of this
                                                with these provisions in the title V                    such a table in a source’s title V permit              proposed rule for the 2015 ozone
                                                regulations, in CSAPR, the CSAPR                        therefore allows a covered unit that                   NAAQS will be required to comply with
                                                Update and the Revised CSAPR Update,                    seeks to change or add to its chosen                   the requirements of both rules. EPA is
                                                the EPA included a provision stating                    monitoring and recordkeeping approach                  proposing to require NOX ozone season
                                                that no permit revision is necessary for                to easily comply with the regulations                  emissions reductions from EGUs larger
                                                the allocation, holding, deduction, or                  governing the use of the title V minor                 than 25 MWe in many of the NOX SIP
                                                transfer of allowances. 40 CFR                          modification procedure.                                Call states, and at greater stringency
                                                97.506(d)(1), 97.806(d)(1) and                             Under CSAPR, the CSAPR Update                       than required by the NOX SIP Call, by
                                                97.1006(d)(1). This provision is also                   and the Revised CSAPR Update, in                       requiring the EGUs to participate in the
                                                included in each title V permit for an                  order to employ a monitoring or                        CSAPR NOX Ozone Season Group 3
                                                affected source. This proposed rule                     reporting approach different from the                  Trading Program. Therefore, this
                                                maintains the approach taken under                      prior-approved approaches discussed                    proposed rule, if finalized, would satisfy
                                                CSAPR, the CSAPR Update and the                                                                                the requirements of the NOX SIP Call for
                                                                                                        previously, unit owners and operators
                                                Revised CSAPR Update that allows                                                                               these large EGUs.
                                                                                                        must submit monitoring system                             In the Revised CSAPR Update, the
                                                allowances to be traded (or allocated,
                                                                                                        certification applications to the EPA                  EPA finalized the option for any NOX
                                                held, or deducted) without a revision to
                                                                                                        establishing the monitoring and                        SIP Call state that was also subject to the
                                                the title V permit of any of the sources
                                                                                                        reporting approach actually to be used                 Revised CSAPR Update to voluntarily
                                                involved.
                                                   Similarly, this proposed rule would                  by the unit, or, if the owners and                     submit a SIP revision to expand the
                                                also continue to support the means by                   operators choose to employ an                          applicability of the Group 3 trading
                                                which a source in the proposed trading                  alternative monitoring system, to submit               program to include all NOX Budget
                                                program can use the title V minor                       petitions for that alternative to the EPA.             Trading Program units, which in
                                                modification procedure to change its                    These applications and petitions are                   addition to large EGUs also include
                                                                                                        subject to the EPA review and approval                 large non-EGU boilers and combustion
                                                  328 The EPA has also issued a guidance document       to ensure consistency in monitoring and                turbines with a maximum design heat
                                                and template that includes instructions for how to      reporting among all trading program                    input greater than 250 mmBtu/hr. As
                                                incorporate the applicable requirements into a          participants. EPA’s responses to any
                                                source’s Title V permit. See Memorandum dated                                                                  part of such a SIP revision, the state
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                                                May 13, 2015, from Anna Marie Wood, Director, Air
                                                                                                        petitions for alternative monitoring
                                                Quality Policy Division, and Reid P. Harvey,            systems or for alternatives to specific                  331 A permit is reopened for cause if any new

                                                Director, Clean Air Market Division, EPA, to            monitoring or reporting requirements                   applicable requirements (such as those under a FIP)
                                                Regional Air Division Directors, Subject: ‘‘Title V     are posted on EPA’s website.330 The                    become applicable to an affected source with a
                                                Permit Guidance and Template for the Cross-State                                                               remaining permit term of 3 or more years. If the
                                                Air Pollution Rule’’ (‘‘2015 Title V Guidance’’),                                                              remaining permit term is less than 3 years, such
                                                                                                          329 Id.
                                                available at https://www.epa.gov/sites/default/files/                                                          new applicable requirements will be added to the
                                                2016-10/documents/csapr_title_v_permit_                   330 https://www.epa.gov/airmarkets/part-75-          permit during permit renewal. See 40 CFR
                                                guidance.pdf.                                           petition-responses.                                    70.7(f)(1)(I) and 71.7(f)(1)(I).



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                                                would be allowed to issue additional                    VIII. Environmental Justice Analytical                 regulatory action for population groups of
                                                emissions allowances capped at a level                  Considerations and Stakeholder                         concern in the baseline?
                                                intended to preserve the stringency of                  Outreach and Engagement                                  2. Are there potential environmental
                                                                                                                                                               justice concerns associated with
                                                the Group 3 trading program. In today’s                   Consistent with EPA’s commitment to                  environmental stressors affected by the
                                                proposed rule, the EPA is not proposing                 integrating environmental justice in the               regulatory action for population groups of
                                                any changes to this provision of the                    agency’s actions, and following the                    concern for the regulatory option(s) under
                                                Group 3 trading program.332                             directives set forth in multiple                       consideration?
                                                                                                        Executive Orders, the Agency has                         3. For the regulatory option(s) under
                                                2. Acid Rain Program                                                                                           consideration, are potential environmental
                                                                                                        analyzed the impacts of this proposed
                                                                                                                                                               justice concerns created or mitigated
                                                  This proposed rule, if finalized,                     rule on communities with
                                                                                                                                                               compared to the baseline?’’
                                                would not affect any Acid Rain Program                  environmental justice concerns and
                                                requirements. Any Title IV sources that                 engaged with stakeholders representing                    To address these questions in EPA’s
                                                are subject to provisions of this                       these communities to seek input and                    first quantitative EJ analysis in the
                                                proposed rule would still need to                       feedback. Executive Order 12898 is                     context of a transport rule, the EPA
                                                continue to comply with all Acid Rain                   discussed in Section XI.J of this                      developed a unique analytical approach
                                                provisions. Acid Rain Program SO2 and                   proposed rule and analytical results are               that considers the purpose and specifics
                                                NOX requirements are established                        available in Chapter 7 of the RIA.                     of the proposed rulemaking, as well as
                                                                                                                                                               the nature of known and potential
                                                independently in Title IV of the CAA                    A. Introduction                                        exposures and impacts. However, due to
                                                and will continue to apply
                                                                                                           Executive Order 12898 directs EPA                   data limitations, it is possible that our
                                                independently of this proposed rule’s
                                                                                                        staff to identify the populations of                   analysis failed to identify disparities
                                                provisions. Acid Rain sources will still
                                                                                                        concern who are most likely to                         that may exist, such as potential
                                                be required to comply with Title IV
                                                                                                        experience unequal burdens from                        environmental justice characteristics
                                                requirements, including the requirement                                                                        (e.g., unemployed), environmental
                                                                                                        environmental harms; specifically,
                                                to hold Title IV allowances to cover SO2                                                                       impacts (e.g., other ozone metrics), and
                                                                                                        minority populations, low-income
                                                emissions after the end of a compliance                                                                        more granular spatial resolutions (e.g.,
                                                                                                        populations, and indigenous peoples.333
                                                year.                                                                                                          neighborhood scale) that were not
                                                                                                        Additionally, Executive Order 13985 is
                                                3. Other Current Emissions Trading                      intended to advance racial equity and                  evaluated.
                                                Programs                                                support underserved communities                           For the proposed rule, we employ two
                                                                                                        through federal government actions.334                 types of analytics to respond to the
                                                   This proposed rule, if finalized,                    The EPA defines environmental justice                  above three questions: Proximity
                                                would not substantively affect any                      as the fair treatment and meaningful                   analyses and exposure analyses. Both
                                                provisions of the CSAPR NOX Annual,                     involvement of all people regardless of                types of analyses can inform whether
                                                CSAPR SO2 Group 1, CSAPR SO2 Group                      race, color, national origin, or income,               there are potential EJ concerns for
                                                2, CSAPR NOX Ozone Season Group 1,                      with respect to the development,                       population groups of concern in the
                                                or CSAPR NOX Ozone Season Group 2                       implementation, and enforcement of                     baseline (question 1).337 In contrast,
                                                trading programs for sources that                       environmental laws, regulations, and                   only the exposure analyses, which are
                                                continue to participate in those                        policies. EPA further defines the term                 based on future air quality modeling,
                                                programs except with regard to the                      fair treatment to mean that ‘‘no group of              can inform whether there will be
                                                schedule for EPA to record certain                      people should bear a disproportionate                  potential EJ concerns after
                                                allowance allocations, as discussed in                  burden of environmental harms and                      implementation of the regulatory
                                                Section VII.B.12 of this proposed rule.                 risks, including those resulting from the              options under consideration (question
                                                In addition, certain revisions are                      negative environmental consequences of                 2) and whether potential EJ concerns
                                                proposed to the CSAPR NOX Ozone                         industrial, governmental, and                          will be created or mitigated compared to
                                                Season Group 2 Trading Program                          commercial operations or programs and                  the baseline (question 3). While the
                                                regulations to address the proposed                     policies.’’ 335 In recognizing that                    exposure analysis can respond to all
                                                transition of sources in eight states from              minority and low-income populations                    three questions, it should be noted that
                                                that program to the CSAPR NOX Ozone                     often bear an unequal burden of                        exposure is limited to a single ozone
                                                Season Group 3 Trading Program, as                      environmental harms and risks, EPA                     metric, the maximum daily 8-hour
                                                discussed in Section VII.B.11 of this                   continues to consider ways of protecting               average, averaged across the April
                                                proposed rule. Sources that are subject                 them from adverse public health and                    through September warm season (AS–
                                                to any of the CSAPR trading programs                    environmental effects of air pollution.                MO3). This ozone metric likely smooths
                                                will still be required to comply with all                                                                      potential daily ozone gradients and is
                                                                                                        B. Analytical Considerations                           not directly relatable to the National
                                                requirements, including the requirement
                                                to hold allowances to cover emissions                     EPA’s environmental justice technical                Ambient Air Quality Standard
                                                                                                        guidance 336 states that ‘‘[t]he analysis of           (NAAQS). Additionally, the ozone
                                                after the end of a control period.
                                                                                                        potential EJ concerns for regulatory                   exposure analytic results are provided
                                                  332 In the CSAPR Update, the EPA finalized an
                                                                                                        actions should address three questions:                in two formats: Aggregated and
                                                identical option allowing NOX SIP Call states to          1. Are there potential environmental                 distributional. The aggregated results
                                                expand applicability of the Group 2 trading             justice concerns associated with                       provide an overview of potential ozone
                                                program to cover certain non-EGUs. If the               environmental stressors affected by the                exposure differences across populations
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                                                geographic expansion of the Group 3 trading                                                                    at the national- and state-levels, while
                                                program proposed in this rulemaking is finalized as
                                                proposed, no NOX SIP Call states would continue
                                                                                                          333 59 FR 7629, February 16, 1994.                   the distributional results show detailed
                                                                                                          334 86 FR 7009, January 20, 2021.
                                                to be covered by the Group 2 trading program.
                                                                                                          335 https://www.epa.gov/environmentaljustice.
                                                Because the provision allowing NOX SIP Call states                                                               337 The baseline for proximity analyses is current

                                                to expand applicability of the Group 2 trading            336 U.S. Environmental Protection Agency (EPA),      population information (e.g., 2021), whereas the
                                                program to include such non-EGUs would therefore        2015. Guidance on Considering Environmental            baseline for ozone exposure analyses are the future
                                                be obsolete, the EPA is proposing to remove the         Justice During the Development of Regulatory           years in which the regulatory options will be
                                                provision.                                              Actions.                                               implemented (e.g., 2023 and 2026).



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                                                information about ozone concentrations                  information and is based on current, not               concentrations will be created or
                                                experienced by everyone within each                     future, population information.                        mitigated as compared to the baseline
                                                population.                                                Importantly, the baseline analysis of               (question 3).
                                                   In Chapter 7 of the RIA we utilize the               AS–MO3 ozone concentrations                              The ozone exposure results should
                                                two types of analytics to address the                   responds to question 1 from EPA’s                      not be extrapolated to ozone metrics
                                                three EJ questions by quantitatively                    environmental justice technical                        other than AS–MO3. Detailed
                                                evaluating (1) the proximity of affected                guidance document more directly than                   environmental justice analytical results
                                                facilities to potentially disadvantaged                 the proximity analyses, as it evaluates a              can be found in Chapter 7 of the RIA.
                                                populations (Section 7.3.1), (2) the                    form of the environmental stressor
                                                potential for disproportionate total                    targeted by the regulatory action.                     C. Outreach and Engagement
                                                ozone concentrations in the baseline                    Baseline AS–MO3 analyses show that                        Prior to this proposed rule, EPA
                                                across different demographic groups                     certain populations, such as American                  initiated a public outreach effort to
                                                (Sections 7.4.1.1 and 7.4.2.1), and (3)                 Indians, Hispanics, and Asians, may                    gather input from stakeholder groups
                                                how regulatory alternatives                             experience somewhat higher AS–MO3                      likely to be interested in this proposed
                                                differentially impact the ozone                         concentrations compared to the national                rule. Specifically, the EPA hosted an
                                                concentration changes experienced by                    average. The less educated and children                environmental justice webinar on
                                                different demographic populations                       may also experience higher                             October 26, 2021, to share information
                                                (Sections 7.4.1.2 and 7.4.2.2). Each of                 concentrations compared to the national                about the proposed rule and solicit
                                                these analyses depends on mutually                      average, but to a lesser extent.                       feedback about potential environmental
                                                exclusive assumptions, was performed                    Conversely, Black populations may                      justice considerations. The webinar was
                                                to answer separate questions, and is                    experience lower AS–MO3                                attended by over 180 individuals
                                                associated with unique limitations and                  concentrations than the national                       representing state governments,
                                                uncertainties.                                          average. Therefore, also in response to                federally recognized tribes,
                                                   Baseline demographic proximity                       question 1, there likely are potential                 environmental NGOs, higher education
                                                analyses can be relevant for identifying                environmental justice concerns                         institutions, industry, and the EPA.338
                                                populations that may be exposed to                      associated with ozone exposures                        Participants were invited to comment
                                                local pollutants, such as NO2 emitted                   affected by the regulatory action for                  during the webinar or provide written
                                                from affected sources in this proposed                  population groups of concern in the                    comments to a pre-regulatory docket.
                                                rule. However, such analyses are less                   baseline. However, these baseline                      The webinar was recorded and
                                                useful here as they do not account for                  exposure results have not been fully                   distributed to attendees after the event.
                                                the potential impacts of this proposed                  explored and additional analyses are                   Some of the key issues raised by
                                                rule on long-range ozone concentration                  likely needed to understand potential                  stakeholders during the webinar and in
                                                changes. The baseline demographic                       implications.                                          the pre-proposal comments are
                                                proximity analysis presented in the RIA                    The ozone exposure analysis                         described below.
                                                finds larger percentages of Hispanic                    evaluates the impacts of the proposed                     Daily emissions rate limits. Several
                                                individuals, Black individuals, people                  rule on future ozone concentrations                    commenters asserted that cap and trade
                                                below the poverty level, people with                    after rule implementation. When                        programs with seasonal limits on overall
                                                less educational attainment, and people                 comparing across the policy, more-, and                NOX emissions do not prevent facilities
                                                linguistically isolated living within 5                 less-stringent regulatory alternatives,                from running their controls inefficiently
                                                km and 10 km of an affected EGU,                        AS–MO3 concentrations are reduced                      on high ozone days. These commenters
                                                compared to national averages. It also                  across all populations evaluated in both               recommended that facilities linked to
                                                finds larger percentages of people below                future years and across both EGUs and                  downwind ozone problems comply with
                                                the poverty level and with less                         non-EGUs. In other words, we expect                    daily rate limits to ensure that emissions
                                                educational attainment living within 5                  that populations experiencing                          reductions occur on days when ozone is
                                                km and 10 km of an affected non-EGU.                    disproportionate AS–MO3 exposures in                   highest. The commenters noted that
                                                Separately, the tribal proximity analysis               the baseline will experience similar                   daily limits could particularly benefit
                                                finds multiple tribes and unique tribal                 disproportionate AS–MO3 exposures                      environmental justice communities
                                                lands located within 50 miles of an                     under the proposed rulemaking,                         located near facilities and would also
                                                affected facility. These results do not in              although to a lesser absolute extent as                benefit those located downwind.
                                                themselves demonstrate                                  the action described in this proposed                     Regulation of other sources. Several
                                                disproportionate impacts of affected                    rule is expected to lower ozone in many                commenters asserted that the EPA
                                                facilities in the baseline but could                    areas, including residual ozone                        should consider regulation of sources
                                                suggest that emission reductions from                   nonattainment areas, and thus alleviate                other than EGUs and sources of NOX in
                                                this proposed rule may be responsive to                 some pre-existing health risks of ozone                rulemakings pertaining to issues of
                                                potential local air quality concerns of                 across all populations evaluated.                      ozone transport. For example, some
                                                nearby communities.                                     Therefore, in response to question 2, we               commenters asserted that the EPA
                                                   Whereas the proximity analyses are                   expect that there will be potential EJ                 should regulate emissions from non-
                                                limited to evaluating local pollutants                  concerns with regard to AS–MO3                         EGUs, mobile sources, and sources of
                                                under baseline scenarios (question 1),                  concentrations after implementation of                 VOCs.
                                                the ozone exposure analyses can                         the regulatory options under                              Environmental justice analysis and
                                                provide insight into all three EJ                       consideration.                                         methodology in rulemakings. Several
                                                questions with regard to AS–MO3                            Question 3 asks whether potential EJ
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                                                                                                                                                               commenters offered recommendations
                                                concentrations. Even though both the                    concerns will be created or mitigated as
                                                                                                                                                               to improve environmental justice
                                                proximity and ozone exposure analyses                   compared to the baseline. As the RIA
                                                                                                                                                               analysis and methodology in
                                                can improve understanding of baseline                   estimates disproportionate AS–MO3
                                                                                                                                                               rulemakings that address air pollution.
                                                EJ concerns (question 1), the two should                exposures in the baseline and similar
                                                not be directly compared. This is                       reductions in all population evaluated,                  338 This does not constitute EPA’s tribal
                                                because the demographic proximity                       we do not predict that potential EJ                    consultation under E.O. 13175, which is described
                                                analysis does not include air quality                   concerns related to AS–MO3                             in Section XI.F of this proposed rule.



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                                                One commenter recommended that the                                      commenters recommended that the EPA                                         For EGUs, EPA analyzed this
                                                EPA should broadly: (1) Identify                                        consider strengthening cost thresholds                                   proposed rule’s emission budgets using
                                                communities of interest, based on the                                   for Reasonably Available Control                                         uniform control stringency represented
                                                number of and proximity to polluting                                    Technology (RACT), a program that is                                     by $1,800 per ton of NOX (2016$) in
                                                facilities; (2) integrate demographic                                   applicable to certain existing sources in                                2023 and $11,000 per ton of NOX
                                                factors to discern social, economic, and                                non-attainment areas.                                                    (2016$) in 2026. EPA also analyzed a
                                                racial disparities in these areas; (3)                                    In addition to the engagement                                          more and a less stringent alternative.
                                                consider the community’s particular                                     conducted prior to this proposed rule,                                   The more and less stringent alternatives
                                                vulnerabilities and sensitivities to                                    EPA is providing the public, including                                   differ from the proposed rule in that
                                                health harms and risks, and exposure to                                 those communities disproportionately                                     they set different NOX ozone season
                                                cumulative health harms and risks; and                                  impacted by the burdens of pollution,                                    emission budgets for the affected EGUs
                                                (4) reach out to the community members                                  opportunities to engage in the EPA’s                                     and different dates for compliance with
                                                near such facilities themselves to gain                                 public comment period for this                                           backstop emission rate limits.
                                                tangible, lived experiences across their                                proposed rule, including by hosting a                                       For non-EGUs, EPA analyzed this
                                                lifetimes. The commenter also suggested                                 public hearing. This public hearing will                                 proposed rule using a marginal cost
                                                that the EPA should build off factors                                                                                                            threshold of up to $7,500 per ton
                                                                                                                        occur according to the schedule
                                                identified in existing environmental                                                                                                             (2016$) for 2026 for the following
                                                                                                                        identified in the Public Participation
                                                justice screening tools, including EPA                                                                                                           emissions units and industries:
                                                                                                                        section of this proposed rule.
                                                EJSCREEN and California’s                                                                                                                        Reciprocating internal combustion
                                                CalEnviroScreen. One commenter noted                                    IX. Costs, Benefits, and Other Impacts                                   engines in Pipeline Transportation of
                                                that in developing environmental justice                                of the Proposed Rule                                                     Natural Gas; kilns in Cement and
                                                analyses, the EPA should consider and                                                                                                            Cement Product Manufacturing; boilers
                                                address the need for regulatory                                           In the Regulatory Impact Analysis for                                  and furnaces in Iron and Steel Mills and
                                                certainty, including the need for clear                                 the proposed Federal Implementation                                      Ferroalloy Manufacturing; furnaces in
                                                regulatory definitions of environmental                                 Plan Addressing Regional Ozone                                           Glass and Glass Product Manufacturing;
                                                justice areas and clear requirements for                                Transport for the 2015 Ozone National                                    and high-emitting boilers in Basic
                                                those areas.                                                            Ambient Air Quality Standards (RIA),                                     Chemical Manufacturing, Petroleum and
                                                   Environmental justice stakeholder                                    EPA estimated the benefits, compliance                                   Coal Products Manufacturing, and Pulp,
                                                outreach in rulemakings. Some                                           costs, and emissions changes that may                                    Paper, and Paperboard Mills. The less
                                                commenters asserted that the EPA could                                  result from the proposed rule for the                                    stringent alternative assumes there are
                                                improve stakeholder outreach in the                                     analysis period 2023 to 2042. The                                        emissions limits for all emission units
                                                rulemaking process. For example, one                                    estimated benefits and compliance costs                                  from the proposal except for high-
                                                commenter noted that during the                                         are presented in detail in the RIA                                       emitting boilers in Basic Chemical
                                                development of a rule proposal, the EPA                                 accompanying this proposed rule. EPA                                     Manufacturing, Petroleum and Coal
                                                could more directly reach out to all                                    notes that for EGUs the estimated                                        Products Manufacturing, and Pulp,
                                                potentially impacted environmental                                      benefits and compliance costs are                                        Paper, and Paperboard Mills. The more
                                                justice communities, be more prepared                                   directly associated with generation                                      stringent alternative assumes emissions
                                                to answer questions about the rule                                      shifting to minimize costs; fully                                        limits for all emission units from the
                                                proposal, and be more aware of holidays                                 operating existing SCRs during ozone                                     proposed rule and all boilers, not just
                                                when establishing comment periods.                                      season; fully operating existing SNCRs                                   high-emitting boilers, in Basic Chemical
                                                   Additionally, some comments                                          during ozone season; installing state-of-                                Manufacturing, Petroleum and Coal
                                                touched on issues that are also relevant                                the-art combustion controls; imposing                                    Products Manufacturing, and Pulp,
                                                to other EPA policies and programs. For                                 backstop emission rate limits on certain                                 Paper, and Paperboard Mills.
                                                example, some commenters asserted                                       units that lack SCR controls; and unit-                                     Table IX–1 provides the projected
                                                that the EPA should base air pollutant                                  level decisions to retrofit or retire. EPA                               2023 through 2027, 2030, 2035, and
                                                transport policy more on monitored data                                 also notes that for non-EGUs the                                         2042 EGU emission reductions for the
                                                rather than modeling data to promptly                                   estimated benefits and compliance costs                                  evaluated regulatory control
                                                address air pollution in areas where                                    are directly associated with installing                                  alternatives. For additional information
                                                current monitoring data indicates an                                    controls to meet the NOX emissions                                       on emissions changes, see Table 4.6 and
                                                exceedance of the NAAQS. Other                                          limits presented in Section I.B above.                                   Table 4–7 in Chapter 4 of the RIA.

                                                 TABLE IX–1—EGU OZONE SEASON NOX EMISSIONS CHANGES AND ANNUAL EMISSIONS REDUCTIONS (TONS) FOR NOX,
                                                             SO2, PM2.5, AND CO2 FOR THE REGULATORY CONTROL ALTERNATIVES FROM 2023–2042
                                                                                                                                                                                                                     Less stringent               More stringent
                                                                                                                                                                                        Proposed rule                 alternative                  alternative

                                                2023:
                                                    NOX (ozone season) ......................................................................................................                           6,000                        6,000                        7,000
                                                    NOX (annual) ..................................................................................................................                   10,000                       10,000                       10,000
                                                    SO2 (annual) * .................................................................................................................   ..........................                    1,000                        2,000
                                                    CO2 (annual, thousand metric) ......................................................................................               ..........................   ..........................   ..........................
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                                                    PM2.5 (annual) ................................................................................................................    ..........................   ..........................   ..........................
                                                2024:
                                                    NOX (ozone season) ......................................................................................................                         26,000                      14,000                        29,000
                                                    NOX (annual) ..................................................................................................................                   42,000                      22,000                        45,000
                                                    SO2 (annual) ...................................................................................................................                  42,000                      20,000                        43,000
                                                    CO2 (annual, thousand metric) ......................................................................................                              18,000                      10,000                        19,000
                                                    PM2.5 (annual) ................................................................................................................                    4,000                       1,000                         4,000
                                                2025:



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                                                 TABLE IX–1—EGU OZONE SEASON NOX EMISSIONS CHANGES AND ANNUAL EMISSIONS REDUCTIONS (TONS) FOR NOX,
                                                         SO2, PM2.5, AND CO2 FOR THE REGULATORY CONTROL ALTERNATIVES FROM 2023–2042—Continued
                                                                                                                                                                                                         Less stringent    More stringent
                                                                                                                                                                                       Proposed rule      alternative       alternative

                                                    NOX (ozone season) ......................................................................................................                 46,000             22,000            51,000
                                                    NOX (annual) ..................................................................................................................           73,000             33,000            80,000
                                                    SO2 (annual) ...................................................................................................................          83,000             39,000            84,000
                                                    CO2 (annual, thousand metric) ......................................................................................                      37,000             19,000            38,000
                                                    PM2.5 (annual) ................................................................................................................            9,000              2,000             9,000
                                                2026:
                                                    NOX (ozone season) ......................................................................................................                 47,000             32,000            53,000
                                                    NOX (annual) ..................................................................................................................           81,000             55,000            87,000
                                                    SO2 (annual) ...................................................................................................................         106,000             76,000           108,000
                                                    CO2 (annual, thousand metric) ......................................................................................                      40,000             26,000            42,000
                                                    PM2.5 (annual) ................................................................................................................            9,000              5,000             9,000
                                                2027:
                                                    NOX (ozone season) ......................................................................................................                 49,000             42,000            54,000
                                                    NOX (annual) ..................................................................................................................           88,000             76,000            95,000
                                                    SO2 (annual) ...................................................................................................................         129,000            113,000           131,000
                                                    CO2 (annual, thousand metric) ......................................................................................                      43,000             34,000            46,000
                                                    PM2.5 (annual) ................................................................................................................           10,000              7,000            10,000
                                                2030:
                                                    NOX (ozone season) ......................................................................................................                 52,000             52,000            57,000
                                                    NOX (annual) ..................................................................................................................           96,000             98,000           100,000
                                                    SO2 (annual) ...................................................................................................................         104,000            100,000           103,000
                                                    CO2 (annual, thousand metric) ......................................................................................                      50,000             45,000            50,000
                                                    PM2.5 (annual) ................................................................................................................            9,000              9,000             9,000
                                                2035:
                                                    NOX (ozone season) ......................................................................................................                 49,000             50,000            52,000
                                                    NOX (annual) ..................................................................................................................           90,000             93,000            93,000
                                                    SO2 (annual) ...................................................................................................................          96,000             93,000            98,000
                                                    CO2 (annual, thousand metric) ......................................................................................                      38,000             36,000            38,000
                                                    PM2.5 (annual) ................................................................................................................           11,000             12,000            10,000
                                                2042:
                                                    NOX (ozone season) ......................................................................................................                 47,000             47,000            48,000
                                                    NOX (annual) ..................................................................................................................           70,000             75,000            71,000
                                                    SO2 (annual) ...................................................................................................................          54,000             50,000            54,000
                                                    CO2 (annual, thousand metric) ......................................................................................                      25,000             23,000            24,000
                                                    PM2.5 (annual) ................................................................................................................            8,000              9,000             8,000
                                                  *SO2 emissions reductions under the proposed rule are 350 tons and rounded to zero. SO2 emissions reductions under the less stringent alter-
                                                native are 507 tons and rounded to 1,000 tons. SO2 emissions reductions are 1,699 tons under the more stringent alternative and rounded to
                                                2,000 tons. Given the rounding, the difference between the reductions under the proposed rule and the less stringent alternative is approximately
                                                160 tons.


                                                  Table IX–2 below provides a summary                                         starting in 2026, along with the                              analysis in the RIA assumes that the
                                                of the ozone season emissions for non-                                        estimated ozone season reductions for                         estimated reductions in 2026 will be the
                                                EGUs for the 23 states subject to the                                         2026 for the proposed rule and the less                       same in later years.
                                                proposed non-EGU emissions limits                                             and more stringent alternatives. The

                                                     TABLE IX–2—OZONE SEASON (OS) NOX EMISSIONS AND EMISSIONS REDUCTIONS (TONS) FOR NON-EGUS FOR THE
                                                                      PROPOSED RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES *
                                                                                                                                                                                  Proposed rule—        Less stringent     More stringent
                                                                                                                                                            2019 OS NOX
                                                                                                State                                                                                 OS NOX           alternative—OS     alternative—OS
                                                                                                                                                             emissions a             reductions        NOX reductions     NOX reductions

                                                AR ....................................................................................................                8,265                 1,654                 922              1,654
                                                CA ....................................................................................................               14,579                 1,666               1,598              1,777
                                                IL ......................................................................................................             16,870                 2,452               2,452              2,553
                                                IN .....................................................................................................              19,604                 3,175               2,787              3,175
                                                KY ....................................................................................................               11,934                 2,291               2,291              2,291
                                                LA .....................................................................................................              35,831                 6,769               4,121              6,955
                                                MD ...................................................................................................                 2,365                    45                  45                 45
                                                MI .....................................................................................................              18,996                 2,731               2,731              3,093
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                                                MN ...................................................................................................                17,591                   673                 673                789
                                                MO ...................................................................................................                 9,109                 3,103               3,103              3,103
                                                MS ....................................................................................................               12,284                 1,761               1,577              1,761
                                                NJ .....................................................................................................               2,025                     0                   0                 29
                                                NV ....................................................................................................                2,418                     0                   0                  0
                                                NY ....................................................................................................                6,003                   500                 389                613
                                                OH ....................................................................................................               19,729                 2,790               2,611              2,814
                                                OK ....................................................................................................               22,146                 3,575               3,575              3,871



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                                                     TABLE IX–2—OZONE SEASON (OS) NOX EMISSIONS AND EMISSIONS REDUCTIONS (TONS) FOR NON-EGUS FOR THE
                                                                 PROPOSED RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES *—Continued
                                                                                                                                                                                         Proposed rule—                 Less stringent                 More stringent
                                                                                                                                                           2019 OS NOX
                                                                                               State                                                                                         OS NOX                    alternative—OS                 alternative—OS
                                                                                                                                                            emissions a                     reductions                 NOX reductions                 NOX reductions

                                                PA ....................................................................................................                  15,861                          3,284                          3,132                          3,340
                                                TX ....................................................................................................                  47,135                          4,440                          4,440                          6,596
                                                UT ....................................................................................................                   6,276                            757                            757                            757
                                                VA ....................................................................................................                   7,041                          1,563                          1,465                          1,660
                                                WI .....................................................................................................                  6,571                          2,150                            677                          2,234
                                                WV ...................................................................................................                    9,825                            982                            982                            982
                                                WY ...................................................................................................                   10,335                            826                            826                            826

                                                       Totals ........................................................................................                 322,793                          47,186                         41,153                         50,918
                                                  * In the non-EGU screening assessment for 2026, EPA estimated emissions reduction potential from the non-EGU industries and emissions
                                                units. In the screening assessment, EPA used CoST to identify emissions units, emissions reductions, and associated compliance costs to evalu-
                                                ate the effects of potential non-EGU emissions control measures and technologies. CoST is designed to be used for illustrative control strategy
                                                analyses (e.g., NAAQS regulatory impact analyses) and not for unit-specific, detailed engineering analyses. The estimates from CoST identify
                                                proxies for (1) non-EGU emissions units that have emissions reduction potential, (2) potential controls for and emissions reductions from these
                                                emissions units, and (3) control costs from the potential controls on these emissions units. The control cost estimates do not include monitoring,
                                                recordkeeping, reporting, or testing costs. This screening assessment is not intended to be, nor take the place of, a unit-specific detailed engi-
                                                neering analysis that fully evaluates the feasibility of retrofits for the emissions units, potential controls, and related costs.
                                                  a EPA determined that the 2019 inventory was appropriate because it provided a more accurate prediction of potential near-term emissions re-
                                                ductions. The analysis in the RIA assumes that the 2019 ozone season emissions will be the same in 2026 and later years.


                                                   For EGUs, the EPA analyzed ozone                                          estimates of complying with the                                           future costs are discounted more heavily
                                                season NOX emission reductions and                                           emissions limits for non-EGUs. For                                        than near term costs. This can result in
                                                the associated costs to the power sector                                     EGUs, compliance costs are negative in                                    a policy scenario showing single year
                                                using the Integrated Planning Model                                          2023. While seemingly counterintuitive,                                   costs that are lower than the Baseline,
                                                (IPM) and its underlying data and                                            estimating negative compliance costs in                                   but over the entire forecast horizon, the
                                                inputs. For non-EGUs, the EPA analyzed                                       a single year is possible given IPM’s                                     policy scenario shows higher costs. For
                                                ozone season NOX emission reductions                                         objective function is to minimize the                                     a detailed description of these cost
                                                and the associated costs for 2026 in the                                     discounted net present value (NPV) of a                                   trends, please see Chapter 4, Section
                                                Non-EGU Screening Assessment                                                 stream of annual total cost of generation                                 4.5.2 of the RIA. For a detailed
                                                memorandum. Table IX–3 reflects the                                          over a multi-decadal time period. As                                      description of the methods and results
                                                estimates of the changes in the cost of                                      such the model may undertake a                                            from Non-EGU Screening Assessment
                                                supplying electricity for the regulatory                                     compliance pathway that pushes higher                                     memorandum, see Chapter 4, Sections
                                                control alternatives for EGUs and                                            costs later into the forecast period, since                               4.4 and 4.5.2 of the RIA.

                                                                                   TABLE IX–3—TOTAL ESTIMATED COMPLIANCE COSTS (MILLION 2016$), 2023–2042
                                                                                                                                                                                                                        Less-stringent                 More-stringent
                                                                                                                                                                                          Proposed rule                  alternative                    alternative

                                                2023:
                                                    EGUs ..........................................................................................................................                      ¥209                           ¥173                           ¥178
                                                    Non-EGUs ..................................................................................................................          ..........................   ............................   ............................
                                                    Total ............................................................................................................................                   ¥209                           ¥173                           ¥178
                                                2026:
                                                    EGUs ..........................................................................................................................                        707                          ¥406                           1,180
                                                    Non-EGUs ..................................................................................................................                            411                           357                             445
                                                    Total ............................................................................................................................                   1,117                           ¥49                           1,625
                                                2027:
                                                    EGUs ..........................................................................................................................                      1,544                          1,540                          1,983
                                                    Non-EGUs ..................................................................................................................                            411                            357                            445
                                                    Total ............................................................................................................................                   1,955                          1,896                          2,428
                                                2030:
                                                    EGUs ..........................................................................................................................                      1,235                          1,200                          1,740
                                                    Non-EGUs ..................................................................................................................                            411                            357                            445
                                                    Total ............................................................................................................................                   1,646                          1,557                          2,185
                                                2035:
                                                    EGUs ..........................................................................................................................                      1,729                          1,596                          2,335
                                                    Non-EGUs ..................................................................................................................                            411                            357                            445
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                                                    Total ............................................................................................................................                   2,139                          1,953                          2,780
                                                2042:
                                                    EGUs ..........................................................................................................................                        910                          1,757                          1,001
                                                    Non-EGUs ..................................................................................................................                            411                            357                            445
                                                    Total ............................................................................................................................                   1,321                          2,114                          1,446




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                                                  Tables IX–4 and IX–5 report the                                          the 95% confidence interval. In each of                                     reflecting alternative ozone and PM2.5
                                                estimated economic value of avoided                                        these tables, for each discount rate and                                    mortality risk estimates. For additional
                                                premature deaths and illness in each                                       regulatory control alternative, multiple                                    information on these benefits, see
                                                year relative to the baseline along with                                   benefits estimates are presented                                            Chapter 5 of the RIA.
                                                    TABLE IX–4—ESTIMATED DISCOUNTED ECONOMIC VALUE OF AVOIDED OZONE AND PM2.5-ATTRIBUTABLE PREMATURE
                                                                     MORTALITY AND ILLNESS FOR THE PROPOSED POLICY SCENARIOS IN 2023
                                                                                                                           [95% Confidence interval; millions of 2016$] a b

                                                       Disc. rate                     Pollutant                                Proposal                                     More stringent alternative                          Less stringent alternative

                                                3% ..........................   Ozone Benefits .....       $57 ($15 to $120) c and $460 ($51 to                     $65 ($17 to $140) c and $530 ($59 to                  $57 ($15 to $120) c and $460 ($51 to
                                                                                                             $1,200) d.                                               $1,400) d.                                            $1,200).d
                                                                                PM Benefit Per             $44 and $45 .........................................    $190 and $190 .....................................   $59 and $60.
                                                                                 Ton (BPT)s.
                                                                                Ozone Benefits             $100 ($59 to $160) c and $500 ($96 to                    $250 ($200 to $330) c and $720 ($250                  $120 ($74 to $180) c and $520 ($110
                                                                                 plus PM BPTs.               $1,200) d.                                               to $1,600) d.                                         to $1,300).d
                                                7% ..........................   Ozone Benefits .....       $51 ($9.6 to 110) c and $410 ($42 to                     $58 ($11 to $130) c and $480 ($49 to                  $51 ($9.6 to $110) c and $410 ($42 to
                                                                                                             $1,100) d.                                               $1,300) d.                                            $1,100).d
                                                                                PM BPTs ...............    $40 and $41 .........................................    $170 and $170 .....................................   $53 and $54.
                                                                                Ozone Benefits             $90 ($49 to $150) c and $450 ($83 to                     $230 ($180 to $300) c and $650 ($220                  $100 ($63 to $170) c and $470 ($97 to
                                                                                 plus PM BPTs.               $1,100) d.                                               to $1,400) d.                                         $1,100).d
                                                  a Values rounded to two significant figures. The two benefits estimates are separated by the word ‘‘and’’ to signify that they are two separate estimates. The esti-
                                                mates do not represent lower- and upper-bound estimates and should not be summed.
                                                  b We estimated ozone benefits for changes in NO for the ozone season and changes in PM
                                                                                                    X                                         2.5 and PM2.5 precursors for EGUs in 2023. This table does not include
                                                benefits from reductions for non-EGUs because reductions from these sources are not expected prior to 2026 when the proposed standards would become effective.
                                                  c Using the pooled short-term ozone exposure mortality risk estimate.
                                                  d Using the long-term ozone exposure mortality risk estimate.



                                                    TABLE IX–5—ESTIMATED DISCOUNTED ECONOMIC VALUE OF AVOIDED OZONE AND PM2.5-ATTRIBUTABLE PREMATURE
                                                                      MORTALITY AND ILLNESS FOR THE PROPOSED POLICY SCENARIO IN 2026
                                                                                                                           [95% Confidence interval; millions of 2016$] a b

                                                       Disc. rate                     Pollutant                                Proposal                                     More stringent alternative                          Less stringent alternative

                                                3% ..........................   Ozone Benefits .....       $1,200 ($310 to $2,600) c and $10,000                    $1,300 (340 to $2,900) c and $11,000                  $830 ($210 to $1,800) c and $6,900
                                                                                                             ($1,100 to $26,000) d.                                   ($1,200 to $29,000) d.                                ($760 to $18,000).d
                                                                                PM BPTs ...............    $8,100 and $8,300 ...............................        $7,800 and $7,900 ...............................     $3,400 and $3,500.
                                                                                Ozone Benefits             $9,300 ($8,400 to $11,000) c and                         $9,100 ($8,100 to $11,000) c and                      $4,300 ($3,700 to $5,200) c and
                                                                                 plus PM BPTs.               $18,000 ($9,400 to $35,000) d.                           $19,000 ($9,200 to $37,000) d.                        $10,000 ($4,300 to $22,000).d
                                                7% ..........................   Ozone Benefits .....       $1,100 ($200 to $2,400) c and $9,000                     $1,200 ($220 to $2,700) c and $10,000                 $740 ($140 to $1,700) c and $6,200
                                                                                                             ($920 to $24,000) d.                                     ($1,000 to $26,000) d.                                ($630 to $16,000).d
                                                                                PM BPTs ...............    $7,300 and $7,400 ...............................        $7,000 and $7,100 ...............................     $3,100 and $3,200.
                                                                                Ozone Benefits             $8,400 ($7,500 to $9,700) c and                          $8,200 ($7,200 to $9,700) c and                       $3,800 ($3,200 to $4,800) c and
                                                                                 plus PM BPTs.               $16,000 ($8,300 to $31,000) d.                           $17,000 ($8,200 to $34,000) d.                        $9,300 ($3,800 to $19,000).d
                                                  a Values rounded to two significant figures. The two benefits estimates are separated by the word ‘‘and’’ to signify that they are two separate estimates. The esti-
                                                mates do not represent lower- and upper-bound estimates and should not be summed.
                                                  b We estimated changes in NO for the ozone season and changes in PM
                                                                                  X                                          2.5 and PM2.5 precursors in 2026. This table represents changes in EGU and non-EGU
                                                ozone season and annual controls.
                                                  c Sum of ozone mortality estimated using the pooled short-term ozone exposure risk estimate and the Di et al. (2017) long-term PM
                                                                                                                                                                                         2.5 exposure mortality risk esti-
                                                mate.
                                                  d Sum of the Turner et al. (2016) long-term ozone exposure risk estimate and the Di et al. (2017) long-term PM     exposure  mortality risk estimate.
                                                                                                                                                                 2.5




                                                   In Tables IX–6, IX–7, and IX–8, EPA                                     climate benefits that were not                                              comment on how to address the climate
                                                presents a summary of the monetized                                        monetized in the RIA. In addition, there                                    benefits and other categories of non-
                                                benefits, costs, and net benefits of the                                   are important water quality benefits and                                    monetized benefits of the proposed rule.
                                                proposal and the more and less stringent                                   health benefits associated with                                             Discussion of the non-monetized health,
                                                alternatives for 2023, 2026, and 2030,                                     reductions in concentrations of air                                         climate, welfare, and water quality
                                                respectively. The monetized benefits                                       pollutants other than PM2.5 and ozone                                       benefits is found in Chapter 5 of the
                                                estimates do not include important                                         that are not quantified. We request                                         RIA.

                                                   TABLE IX–6—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE PROPOSED AND LESS AND MORE STRINGENT
                                                                                   ALTERNATIVES FOR 2023 FOR THE U.S.
                                                                                                                                               [Millions of 2016$] a b

                                                                                                                        Proposed rule                                    Less stringent alternative                           More stringent alternative

                                                Benefits c (3%) ...............................           $100 and $500 .............................              $120 and $520 .............................            $250 and $720.
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                                                Costs d ............................................      ¥$210 ..........................................         ¥$170 ..........................................       ¥$180.
                                                Net Benefits ...................................          $310 and $710 .............................              $290 and $690 .............................            $430 and $900.
                                                Benefits c (7%) ...............................           $90 and $450 ...............................             $100 and $470 .............................            $230 and $650.
                                                Costs d ............................................      ¥$210 ..........................................         ¥$170 ..........................................       ¥$180
                                                Net Benefits ...................................          $300 and $660 .............................              $280 and $640 .............................            $400 and $820.
                                                   a We focus results to provide a snapshot of costs and benefits in 2023, using the best available information to approximate social costs and so-
                                                cial benefits recognizing uncertainties and limitations in those estimates.
                                                   b Rows may not appear to add correctly due to rounding.




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                                                  c Monetized benefits include those related to public health associated with reductions in PM
                                                                                                                                                  2.5 and ozone concentrations. The health benefits
                                                are associated with several point estimates and are presented at a real discount rate of 3 percent. Several categories of benefits remain
                                                unmonetized and are thus not reflected in the table. Non-monetized benefits include important climate benefits from reductions in CO2 emissions.
                                                The U.S. District Court for the Western District of Louisiana has issued an injunction concerning the monetization of the benefits of greenhouse
                                                gas emission reductions by EPA and other defendants. See Louisiana v. Biden, No. 21–cv–01074–JDC–KK (W.D. La. Feb. 11, 2022). Therefore,
                                                such values are not presented in the benefit-cost analysis of this proposal conducted pursuant to E.O. 12866. Please see Chapter 5, Section 5.2
                                                of the RIA for more discussion. In addition, there are important unquantified water quality benefits and benefits associated with reductions in
                                                other air pollutants.
                                                  d The costs presented in this table are 2023 annual estimates for each alternative analyzed. An NPV of costs was calculated using a 3.76%
                                                real discount rate consistent with the rate used in IPM’s objective function for cost-minimization.

                                                   TABLE IX–7—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE PROPOSED AND LESS AND MORE STRINGENT
                                                                                   ALTERNATIVES FOR 2026 FOR THE U.S.
                                                                                                                                          [Millions of 2016$] a b

                                                                                                                     Proposed rule                                Less stringent alternative                         More stringent alternative

                                                Benefits c (3%) ...............................        $9,300 and $18,000 .....................             $4,300 and $10,000 .....................             $9,100 and $19,000.
                                                Costs d ............................................   $1,100 ...........................................   ¥$49 ............................................    $1,600.
                                                Net Benefits ...................................       $8,200 and $17,000 .....................             $4,300 and $10,000 .....................             $7,500 and $17,000.
                                                Benefits c (7%) ...............................        $8,400 and $16,000 .....................             $3,800 and $9,300 .......................            $8,200 and $17,000.
                                                Costs d ............................................   $1,100 ...........................................   ¥$49 ............................................    $1,600
                                                Net Benefits ...................................       $7,300 and $15,000 .....................             $9,300 and $3,900 .......................            $6,600 and $15,000.
                                                   a We focus results to provide a snapshot of costs and benefits in 2026, using the best available information to approximate social costs and so-
                                                cial benefits recognizing uncertainties and limitations in those estimates.
                                                   b Rows may not appear to add correctly due to rounding.
                                                   c Monetized benefits include those related to public health associated with reductions in PM
                                                                                                                                                  2.5 and ozone concentrations. The health benefits
                                                are associated with several point estimates and are presented at a real discount rate of 3 percent. Several categories of benefits remain
                                                unmonetized and are thus not reflected in the table. Non-monetized benefits include important climate benefits from reductions in CO2 emissions.
                                                The U.S. District Court for the Western District of Louisiana has issued an injunction concerning the monetization of the benefits of greenhouse
                                                gas emission reductions by EPA and other defendants. See Louisiana v. Biden, No. 21–cv–01074–JDC–KK (W.D. La. Feb. 11, 2022). Therefore,
                                                such values are not presented in the benefit-cost analysis of this proposal conducted pursuant to E.O. 12866. Please see Chapter 5, Section 5.2
                                                of the RIA for more discussion. In addition, there are important unquantified water quality benefits and benefits associated with reductions in
                                                other air pollutants.
                                                   d The costs presented in this table are 2026 annual estimates for each alternative analyzed. An NPV of costs was calculated using a 3.76%
                                                real discount rate consistent with the rate used in IPM’s objective function for cost-minimization.

                                                   TABLE IX–8—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE PROPOSED AND LESS AND MORE STRINGENT
                                                                                   ALTERNATIVES FOR 2030 FOR THE U.S.
                                                                                                                                          (Millions of 2016$) a b

                                                                                                                     Proposed rule                                Less stringent alternative                         More stringent alternative

                                                Benefits c (3%) ...............................        $9,400 and $20,000 .....................             $4,300 and $11,000 .....................             $9,200 and $21,000.
                                                Costs d ............................................   $1,600 ...........................................   $1,600 ...........................................   $2,200.
                                                Net Benefits ...................................       $7,700 and $18,000 .....................             $2,800 and $9,700 .......................            $7,000 and $19,000.
                                                Benefits c (7%) ...............................        $8,400 and $18,000 .....................             $3,900 and $10,000 .....................             $8,300 and $19,000.
                                                Costs d ............................................   $1,600 ...........................................   $1,600 ...........................................   $2,200.
                                                Net Benefits ...................................       $6,800 and $16,000 .....................             $2,300 and $8,400 .......................            $6,100 and $16,000.
                                                   a We focus results to provide a snapshot of costs and benefits in 2030, using the best available information to approximate social costs and so-
                                                cial benefits recognizing uncertainties and limitations in those estimates.
                                                   b Rows may not appear to add correctly due to rounding.
                                                   c Monetized benefits include those related to public health associated with reductions in PM
                                                                                                                                                  2.5 and ozone concentrations. The health benefits
                                                are associated with several point estimates and are presented at a real discount rate of 3 percent. Several categories of benefits remain
                                                unmonetized and are thus not reflected in the table. Non-monetized benefits include important climate benefits from reductions in CO2 emissions.
                                                The U.S. District Court for the Western District of Louisiana has issued an injunction concerning the monetization of the benefits of greenhouse
                                                gas emission reductions by EPA and other defendants. See Louisiana v. Biden, No. 21–cv–01074–JDC–KK (W.D. La. Feb. 11, 2022). Therefore,
                                                such values are not presented in the benefit-cost analysis of this proposed rule conducted pursuant to E.O. 12866. Please see Chapter 5, Sec-
                                                tion 5.2 of the RIA for more discussion. In addition, there are important unquantified water quality benefits and benefits associated with reduc-
                                                tions in other air pollutants.
                                                   d The costs presented in this table are 2030 annual estimates for each alternative analyzed. An NPV of costs was calculated using a 3.76%
                                                real discount rate consistent with the rate used in IPM’s objective function for cost-minimization.


                                                  In addition, Table IX–9 presents                                      the net benefits consistent with the                                   directed by OMB’s Circular A–4 and are
                                                estimates of the present value (PV) of                                  present value, over the twenty-year                                    presented in 2016 dollars discounted to
                                                the monetized benefits and costs and                                    period of 2023 to 2042. The estimates of                               2022.
                                                the equivalent annualized value (EAV),                                  the PV and EAV are calculated using
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                                                an estimate of the annualized value of                                  discount rates of 3 and 7 percent as




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                                                 TABLE IX–9—MONETIZED ESTIMATED BENEFITS, COMPLIANCE COSTS, AND NET BENEFITS OF THE PROPOSED RULE AND
                                                                      LESS AND MORE STRINGENT ALTERNATIVES, 2023 THROUGH 2042
                                                                                                                              (Millions 2016$, discounted to 2022) a

                                                                                                                                                                       3 Percent discount rate          7 Percent discount rate

                                                                                                                                                                        PV               EAV              PV              EAV
                                                                                                                                                                                   I                                 I
                                                                                                                                                   Benefits

                                                Proposed Rule .................................................................................................         $250,000          $17,000        $150,000           $14,000
                                                Less Stringent Alternative ................................................................................              150,000            9,500          88,000             7,800
                                                More Stringent Alternative ...............................................................................               270,000           17,000         160,000            14,000

                                                                                                                                           Compliance Costs

                                                Proposed Rule .................................................................................................           22,000               1,500        14,000            1,300
                                                Less Stringent Alternative ................................................................................               20,000               1,300        12,000            1,100
                                                More Stringent Alternative ...............................................................................                28,000               1,900        18,000            1,700

                                                                                                                                                Net Benefits

                                                Proposed Rule .................................................................................................          220,000              15,000      130,000            12,000
                                                Less Stringent Alternative ................................................................................              120,000               8,100       70,000             6,600
                                                More Stringent Alternative ...............................................................................               230,000              15,000      130,000            12,000
                                                  a The U.S. District Court for the Western District of Louisiana has issued an injunction concerning the monetization of the benefits of green-
                                                house gas emission reductions by EPA and other defendants. See Louisiana v. Biden, No. 21–cv–01074–JDC–KK (W.D. La. Feb. 11, 2022).
                                                Therefore, such values are not presented in the benefit-cost analysis of this proposed rule conducted pursuant to E.O. 12866.


                                                   As shown in Table IX–9, the PV of the                               The exceptions are at certain receptors                         Butte County, California, and Riverside
                                                benefits of this proposed rule,                                        in Connecticut, Illinois, Texas, and Utah                       County Californian (Monitor ID:
                                                discounted at a 3-percent discount rate,                               where impacts are between 0.1 and 0.2                           060650008) are projected to switch from
                                                is estimated to be about $250,000                                      ppb. In 2026, the largest impacts in the                        maintenance-only in the 2023 baseline
                                                million, with an EAV of about $17,000                                  proposed rule are estimated at the two                          to attainment and the receptor in Harris
                                                million. At a 7-percent discount rate,                                 receptors in Texas (i.e., Brazoria County                       County, Texas is projected to switch
                                                the PV of the benefits is estimated to be                              and Harris County), where the average                           from nonattainment to maintenance-
                                                $150,000 million, with an EAV of about                                 reduction is 1.3 ppb. Elsewhere in 2026,                        only under any of the alternatives in
                                                $14,000 million. The PV of the                                         the average reductions for the proposed                         2023. In 2026, six of the receptors in
                                                compliance costs, discounted at a 3-                                   rule are on the order of 0.5 ppb at                             this analysis are projected to change
                                                percent rate, is estimated to be about                                 receptors in Connecticut, Illinois, and                         attainment status as a result of the
                                                $22,000 million, with an EAV of about                                  Wisconsin. The average reduction for                            emissions reductions in this proposed
                                                $1,500 million. At a 7-percent discount                                the four receptors in Utah is                                   rule. Specifically, Calaveras County,
                                                rate, the PV of the compliance costs is                                approximately 0.3 ppb, while the                                California, Brazoria County, Texas, and
                                                estimated to be about $14,000 million,                                 average reduction at receptors in                               in Kenosha County, Wisconsin (Monitor
                                                with an EAV of about $1,300 million.                                   Colorado and California are                                     ID: 550590025) are projected to switch
                                                   In addition to the analysis of costs                                approximately 0.2 ppb. Overall, the less                        from maintenance-only to attainment in
                                                and benefits, EPA also estimated the                                   stringent alternative provides                                  2026 and a receptor in Riverside
                                                impacts on projected 2023 and 2026                                     approximately 0.1 to 0.3 ppb less ppb                           County, California (Monitor ID:
                                                ozone design values that are expected                                  reduction (i.e., 30 to 40 percent less                          060650016) is projected to switch from
                                                from the EGU and non-EGU control                                       reduction), on average, compared to the                         nonattainment to maintenance under
                                                alternatives in this proposed rule. As                                 proposed rule at receptors in the East                          any of the alternatives. The receptor in
                                                described above, the alternative                                       and in Colorado and Utah. The more                              Douglas County, Colorado and one of
                                                scenarios include the proposed rule                                    stringent alternative does not appear to                        the receptors in Cook County, Illinois
                                                along with scenarios that reflect less                                 provide any notable additional ozone                            (Monitor ID: 170310076) are projected to
                                                stringent and more stringent alternatives                              reductions compared to the proposed                             switch from maintenance-only to
                                                for EGUs and non-EGUs. The projected                                   rule in all receptor areas, except at                           attainment under the proposed and
                                                ozone design values and ozone impacts                                  receptors in Connecticut and Texas                              more stringent alternatives, but these
                                                estimated in 2023 and 2026 for the                                     where the average reduction increases                           receptors are projected to remain as
                                                proposed, less stringent, and more                                     by 0.1 ppb and 0.2 ppb with the more                            maintenance-only in the less stringent
                                                stringent alternatives are provided in                                 stringent alternative, respectively.                            alternative. The projected design values
                                                Appendix 3B of the RIA. In summary,                                       Examining the projected average and                          and additional information on the ozone
                                                the differences in the amount of ozone                                 maximum design values in 2023 at                                impact analysis can be found in
                                                reduction across the three alternatives at                             individual receptors for the proposed,
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                                                                                                                                                                                       Appendix 3B of the proposed rule RIA.
                                                individual receptors in 2023 are                                       less stringent, and more stringent
                                                consistent with the relative changes in                                alternatives indicates that three of the                        X. Summary of Proposed Changes to the
                                                NOX emissions in this year under the                                   receptors included in this impact                               Regulatory Text for the Federal
                                                different scenarios. Overall, in 2023 the                              analysis are projected to change                                Implementation Plans and Trading
                                                estimated ozone reductions from all                                    attainment status in 2023 as a result of                        Programs for EGUs
                                                three of the alternatives are projected to                             this proposed rule. Specifically,                                 This section describes the proposed
                                                be less than 0.1 ppb at most receptors.                                receptors in Clark County, Nevada,                              amendments to the regulatory text that


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                                                would implement the proposed findings                   of sources, a proposed amendment to                    respectively. As discussed in Section
                                                and remedy discussed elsewhere in this                  § 52.38(b)(1) would clarify that the                   VII.D of this proposed rule, the EPA is
                                                proposed rule with respect to EGUs. The                 trading programs constitute the FIP                    proposing to retain these SIP revision
                                                primary CFR amendments would be                         provisions only for the sources meeting                options and to make them available for
                                                revisions to the FIP provisions                         the applicability requirements of the                  all states that would be covered by the
                                                addressing states’ good neighbor                        trading programs. A parallel                           Group 3 trading program after the
                                                obligations related to ozone in 40 CFR                  clarification would be added to                        proposed geographic expansion. The
                                                part 52 as well as the revisions to the                 §§ 52.38(a)(1) and 52.39(a) with respect               option under § 52.38(b)(10) to replace
                                                regulations for the CSAPR NOX Ozone                     to the CSAPR FIP requirements relating                 allowance allocations for a single
                                                Season Group 3 Trading Program in 40                    to annual NOX emissions, SO2                           control period would be amended to be
                                                CFR part 97, subpart GGGGG. In                          emissions, and transported fine                        available for the 2024 control period,
                                                conjunction with the amendments to the                  particulate pollution.                                 with attendant revisions to the years
                                                Group 3 trading program, the                               The states whose EGU sources are                    and dates shown in § 52.38(b)(10)
                                                monitoring, recordkeeping, and                          required to participate in the CSAPR                   (multiple paragraphs) and (b)(17)(i) as
                                                reporting regulations in 40 CFR part 75                 NOX Ozone Season Group 1, Group 2,                     well as the Group 3 trading program
                                                would be amended to reflect the                         and Group 3 trading programs under the                 regulations, as discussed in Section X.B
                                                addition of certain new reporting                       FIPs established in CSAPR, the CSAPR                   of this proposed rule. The options under
                                                requirements associated with the                        Update, and the Revised CSAPR                          § 52.38(b)(11) and (12) to adopt
                                                amended trading program and the                         Update, as well as the control periods                 abbreviated or full SIP revisions would
                                                administrative appeal provisions in 40                  for which those requirements apply, are                be amended to be available starting with
                                                CFR part 78 would be amended to                         identified in § 52.38(b)(2). Proposed                  the 2025 control period, with attendant
                                                identify certain additional types of                    amendments to this paragraph would                     revisions to § 52.38(b)(11)(iii),
                                                appealable decisions of the EPA                         expand the applicability of the Group 3                (b)(12)(iii), and (b)(17)(ii).340
                                                Administrator under the amended                         trading program to sources in the                         The proposed changes with respect to
                                                trading program. The proposed                           thirteen additional states that the EPA is             set-asides, the treatment of units in
                                                provisions to address the transition of                 proposing to add to the Group 3 trading                Indian country, and recordation
                                                the EGUs in certain states from the                     program starting with the 2023 control                 schedules discussed in Section VII.B.9
                                                Group 2 trading program to the Group                    period and would end the applicability                 of this proposed rule, although
                                                3 trading program would be                              of the Group 2 trading program (with                   implemented largely through proposed
                                                implemented in part through revisions                   the exception of certain provisions) for               amendments to the Group 3 trading
                                                to regulations noted above and in part                  sources in eight of the thirteen states                program regulations, would also be
                                                through revisions to the regulations for                after the 2022 control period, as                      implemented in part through proposed
                                                the Group 2 trading program in 40 CFR                   discussed in Section VII.B.2 of this                   amendments to § 52.38(b)(11) and (12).
                                                part 97, subpart EEEEE.                                 proposed rule.339 The current                          First, the text in § 52.38(b)(11)(iii)(A)
                                                   In addition to these primary                         subparagraphs within § 52.38(b)(2)                     and (b)(12)(iii)(A) identifying the
                                                amendments, certain revisions are                       would also be renumbered to clarify the                portion of each state trading budget for
                                                proposed to the regulations for the other               organization of the provisions and to                  which a state could establish state-
                                                CSAPR trading programs in 40 CFR part                   facilitate cross-references from other                 determined allowance allocations
                                                97, subparts AAAAA through EEEEE,                       regulatory provisions. Regarding the two               would be revised to exclude any
                                                and the Texas SO2 Trading Program in                    states currently participating in the                  allowances in a new unit set-aside,
                                                40 CFR part 97, subpart FFFFF, for                      Group 2 trading program through                        Indian country new unit set-aside, or
                                                conformity with the proposed amended                    approved SIP revisions that replaced the               Indian country existing unit set-aside.
                                                provisions of the Group 3 trading                       previous FIPs issued under the CSAPR                   Second, the text in § 52.38(b)(12)(vi)
                                                program, as discussed in Section                        Update (Alabama and Missouri), a                       identifying provisions that states could
                                                VII.B.12 of this proposed rule.                         provision indicating that EPA would no                 not adopt into their SIPs (because the
                                                Documents have been included in the                     longer administer the state trading                    provisions concern regulation of sources
                                                docket for this proposed rule showing                   programs adopted under those SIP                       in Indian country not subject to a state’s
                                                all of the proposed revisions in redline-
                                                                                                        revisions after the 2022 control period                CAA implementation planning
                                                strikeout format.
                                                                                                        would be added at § 52.38(b)(16)(ii)(B).               authority) would be revised to include
                                                A. Amendments to FIP Provisions in 40                      In the Revised CSAPR Update, the                    the provisions of the amended Group 3
                                                CFR Part 52                                             EPA established several options for                    trading program addressing allocation
                                                   The CSAPR, CSAPR Update, and                         states to revise their SIPs to modify or               and recordation of allowances from all
                                                Revised CSAPR Update FIP                                replace the FIPs applicable to their                   types of set-asides. Third, the text in
                                                requirements related to ozone season                    sources while continuing to use the                    § 52.38(b)(12)(vii) authorizing the EPA
                                                NOX emissions are set forth in 40 CFR                   Group 3 trading program as the                         to modify the previous approval of a SIP
                                                52.38(b) as well as other sections of part              mechanism for meeting the states’ good                 revision with regard to the assurance
                                                52 specific to each covered state. The                  neighbor obligations. Existing                         provisions ‘‘if and when a covered unit
                                                existing text of § 52.38(b)(1) identifies               § 52.38(b)(10), (11), and (12) establish               is located in Indian country’’ would be
                                                the trading program regulations in 40                   options to replace allowance allocations               revised to account for the fact that at
                                                CFR part 97, subparts BBBBB, EEEEE,                     for the 2022 control period, to adopt an               least one covered unit would already be
                                                and GGGGG as constituting the relevant                  abbreviated SIP revision for control                   located in Indian country not subject to
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                                                FIP provisions relating to seasonal NOX                 periods in 2023 or later years, and to                 a state’s jurisdiction if the geographic
                                                emissions and transported ozone                         adopt a full SIP revision for control                  expansion proposed in this rulemaking
                                                pollution. Because the EPA is proposing                 periods in 2023 or later years,
                                                                                                                                                                 340 No state currently in the Group 3 trading
                                                in this rulemaking to establish new or                    339 Both the current text of § 52.38(b)(2) and the   program has submitted a SIP revision to make use
                                                amended FIP requirements not only for                   proposed amended text expressly encompass              of these options in control periods before the
                                                the types of EGUs covered by the                        sources in Indian country within the respective        control periods in which the options could be used
                                                trading programs but also for other types               states’ borders.                                       under the proposed amendments.



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                                                is finalized. Finally, the text in                      has already started such recordation                     respectively. Revisions identifying the
                                                § 52.38(b)(11)(iii)(B) and (b)(12)(iii)(B)              notwithstanding the approval of a state’s                proposed new or revised budgets and
                                                would be revised to amend the deadline                  SIP revision establishing state-                         new unit set-asides for the 2023 and
                                                for states to submit state-determined                   determined allowance allocations.                        2024 control periods for all covered
                                                allowance allocations to the EPA from                      For each of the eight states that the                 states would be made at § 97.1010(a)(1)
                                                June 1 in the third year before the                     EPA is proposing to remove from the                      and (b)(1), respectively.
                                                relevant control period to June 1 in the                Group 2 trading program, the current
                                                                                                        provisions of the state-specific CFR                        Each of the proposed enhancements
                                                year before the relevant control period.
                                                   The proposed transitional provisions                 subparts indicating that sources in the                  to the Group 3 trading program
                                                discussed in Section VII.B.11 of this                   state are required to participate in that                discussed in Section VII.B of this
                                                proposed rule to convert certain 2017–                  trading program would be revised to                      proposed rule would also be
                                                2022 Group 2 allowances to Group 3                      end that requirement with respect to                     implemented primarily through
                                                allowances and to recall certain 2023–                  emissions after 2022, and a further                      revisions to the trading program
                                                2024 Group 2 allowances, although                       provision would be added repeating the                   regulations. The dynamic budget-setting
                                                promulgated as amendments to the                        substance of § 52.38(b)(14)(iii), which                  process discussed in Section VII.B.4 of
                                                Group 2 trading program regulations,                    identifies certain provisions that                       this proposed rule would be
                                                would necessarily be implemented after                  continue to apply to sources and                         implemented at § 97.1010(a)(2) and (3),
                                                the end of the 2022 control period.                     allowances notwithstanding                               and the associated revised process for
                                                Proposed amendments clarifying that                     discontinuation of a trading program                     determining variability limits and
                                                these provisions continue to apply to                   with respect to a particular state.342 In                assurance levels discussed in Section
                                                the relevant sources and holders of                     addition, for the six states that during                 VII.B.5 of this proposed rule would be
                                                allowances notwithstanding the                          their time in the Group 2 trading                        implemented at § 97.1010(e). The Group
                                                transition of certain states out of the                 program have not exercised the option                    3 allowance bank recalibration process
                                                Group 2 trading program after the 2022                  to adopt full SIP revisions to replace the               discussed in Section VII.B.6 of this
                                                control period would be added at                        FIPs issued under the CSAPR Update                       proposed rule would be implemented at
                                                § 52.38(b)(14)(iii)(F) and (G). Cross-                  (all but Alabama and Missouri), obsolete                 § 97.1026(d). The backstop daily NOX
                                                references clarifying that EPA’s                        provisions concerning the unexercised                    emissions rate component of the
                                                allocations of the converted Group 3                    SIP revision option would be removed.                    primary emissions limitation discussed
                                                allowances would not be subject to                         No amendments with respect to FIP                     in Section VII.B.7 would be
                                                modification through SIP revisions                      requirements for EGUs would be made                      implemented at §§ 97.1006(c)(1)(i) and
                                                would also be added to the existing                     to the state-specific CFR subparts for the               97.1024(b)(1) and (3), accompanied by
                                                provisions at § 52.38(b)(11)(iii)(D) and                twelve states whose sources currently                    the addition of a definition of ‘‘backstop
                                                (b)(12)(iii)(D).                                        participate in the Group 3 trading
                                                                                                                                                                 daily NOX emissions rate’’ and
                                                   The general FIP provisions applicable                program 343 except as needed to update
                                                                                                                                                                 modification of the definition of
                                                to all states covered by this proposed                  cross-references or to implement the
                                                                                                                                                                 ‘‘CSAPR NOX Ozone Season Group 3
                                                rule as set forth in § 52.38(b)(2) would                proposed changes related to the
                                                be replicated in the state-specific                                                                              allowance’’ in § 97.1002. The secondary
                                                                                                        treatment of Indian country, as
                                                subparts of 40 CFR part 52 for each of                                                                           emissions limitation for sources found
                                                                                                        discussed in Section X.D of this
                                                the thirteen states that the EPA is                     proposed rule.                                           responsible for exceedances of the
                                                proposing to add to the Group 3 trading                                                                          assurance levels discussed in Section
                                                program.341 In each such state-specific                 B. Amendments to Group 3 Trading                         VII.B.8 of this proposed rule would be
                                                CFR subpart, provisions would be                        Program and Related Regulations                          implemented at §§ 97.1006(c)(1)(iii) and
                                                added indicating that sources in the                      To implement the geographic                            (iv) and (c)(3)(ii) and 97.1025(c),
                                                state are required to participate in the                expansion of the Group 3 trading                         accompanied by the addition of a
                                                CSAPR NOX Ozone Season Group 3                          program and the revised trading budgets                  definition of ‘‘CSAPR NOX Ozone
                                                Trading Program with respect to                         that would be established under the                      Season Group 3 secondary emissions
                                                emissions starting in 2023. Provisions                  new and amended FIPs proposed in this                    limitation’’ in § 97.1002.
                                                would also be added repeating the                       rulemaking, several sections of the                         The proposed changes relating to set-
                                                substance of § 52.38(b)(13)(i), which                   Group 3 trading program regulations                      asides, the treatment of Indian country,
                                                generally provides that the                             would be amended. Revisions                              unit-level allowance allocations, and
                                                Administrator’s full and unconditional                  identifying the applicable control                       recordation schedules discussed in
                                                approval of a full SIP revision correcting              periods, deadlines for certification of                  Section VII.B.9 of this proposed rule
                                                the same SIP deficiency that is the basis               monitoring systems, and deadlines for                    would be implemented through
                                                for a FIP promulgated in this                           commencement of quarterly reporting                      revisions to multiple sections of
                                                rulemaking would cause the FIP to no                    for sources not previously covered by                    §§ 97.1010, 97.1011, 97.1012, and
                                                longer apply to sources subject to the                  the Group 3 trading program would be                     97.1021, as well as limited revisions to
                                                state’s CAA implementation planning                     made at §§ 97.1006(c)(3)(i),                             97.1002 (definition of ‘‘allocate or
                                                authority, and § 52.38(b)(14)(ii), which                97.1030(b)(1), and 97.1034(d)(2)(i),                     allocation’’) and 97.1006(b)(2). In
                                                generally provides the EPA with                                                                                  § 97.1010, paragraphs (b), (c), and (d)
                                                                                                           342 See proposed §§ 52.54(b) (Alabama), 52.184(a)
                                                authority to complete recordation of                                                                             would address the amounts for each
                                                                                                        (Arkansas), 52.1824(a) (Mississippi), 52.1326(b)
                                                EPA-determined allowance allocations                    (Missouri), 52.1930(a) (Oklahoma), 52.2240(e)            control period of the new unit set-
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                                                for any control period for which EPA                    (Tennessee), 52.2283(d) (Texas), and 52.2587(e)          asides, Indian country new unit set-
                                                                                                        (Wisconsin).
                                                  341 See proposed §§ 52.54(b) (Alabama), 52.184(a)        343 See proposed §§ 52.731(b) (Illinois), 52.789(b)
                                                                                                                                                                 asides, and Indian country existing unit
                                                (Arkansas), 52.440(d) (Delaware), 52.1240(d)            (Indiana), 52.940(b) (Kentucky), 52.984(d)               set-asides, respectively. Paragraphs (c)
                                                (Minnesota), 52.1824(a) (Mississippi), 52.1326(b)       (Louisiana), 52.1084(b) (Maryland), 52.1186(e)           and (d) would reflect the
                                                (Missouri), 52.1492 (Nevada), 52.1930(a)                (Michigan), 52.1584(e) (New Jersey), 52.1684(b)          discontinuation of Indian country new
                                                (Oklahoma), 52.2240(e) (Tennessee), 52.2283(d)          (New York), 52.1882(b) (Ohio), 52.2040(b)
                                                (Texas), 52.2356 (Utah), 52.2587(e) (Wisconsin),        (Pennsylvania), 52.2440(b) (Virginia), and
                                                                                                                                                                 unit set-asides after the 2022 control
                                                and 52.2638(a) (Wyoming).                               52.2540(b) (West Virginia).                              period and the establishment of Indian


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                                                country existing unit set-asides starting                  control period, any incorrectly allocated              units for future control periods from
                                                with the 2023 control period.344                           allowances recovered after May 1 of the                July 1 of the year three years before the
                                                   The proposed revisions to § 97.1011                     year following the control period would                control period to July 1 of the year
                                                would refocus the section exclusively                      not be reallocated to other units in the               before the control period. Finally,
                                                on allocation to ‘‘existing’’ units from                   state but instead would be transferred to              revisions to § 97.1021(g) through (j)
                                                the portion of each state emissions                        a surrender account.                                   would end recordation for Indian
                                                budget not reserved in a new unit set-                        The proposed revisions to § 97.1012                 country new unit set-asides after
                                                aside or Indian country new unit set-                      would retain the section’s current focus               allocations for the 2022 control period,
                                                aside. In § 97.1011(a), the provision                      on allocations to ‘‘new’’ units, generally             begin recordation for Indian country
                                                currently in § 97.1011(a)(1) requiring                     combining the current provisions at                    existing unit set-asides starting with
                                                allocations to existing units to be made                   § 97.1012 with the current provisions at               allocations for the 2023 control period,
                                                in the amounts provided in notices of                      § 97.1011(b) and (c) that address new                  and modify the text to eliminate
                                                data availability (NODAs) issued by the                    units. The text of multiple paragraphs in              references to state-determined
                                                EPA would be split into two separate                       both § 97.1012(a) and (b) would be                     allocations of allowances from new unit
                                                provisions, with paragraph (a)(1)                          revised as needed to reflect the change                set-asides.
                                                applying to existing units in the state                    in treatment of Indian country discussed                  Implementation of the proposed
                                                and areas of Indian country covered by                     in Section VII.B.9.a of this proposed                  revisions to the Group 3 trading
                                                the state’s CAA implementation                             rule, under which the new unit set-                    program would also be accomplished in
                                                planning authority and paragraph (a)(2)                    asides would be used to provide                        part through amendments to regulations
                                                applying to existing units in areas of                     allowance allocations to new units both                in other CFR parts. In 40 CFR part 75,
                                                Indian country not covered by the                          in non-Indian country and Indian                       which contains detailed monitoring,
                                                state’s CAA implementation planning                        country within the borders of the                      recordkeeping, and reporting
                                                authority.345 This split would facilitate                  respective states for control periods                  requirements applicable to sources
                                                the submission and approval of SIP                         starting in 2023.346 The timing and                    covered by the Group 3 trading program,
                                                revisions by states interested in                          notice provisions in proposed                          the additional recordkeeping and
                                                submitting state-determined allowance                      § 97.1012(a)(13) and (b)(13) are                       reporting requirements discussed in
                                                allocations for the units over which they                  relocated from current § 97.1011(b)(1)                 Section VII.B.10.b of this proposed rule
                                                exercise CAA implementation authority,                     and (2). The text of § 97.1012(c),                     would be implemented through the
                                                while leaving allocations to any units                     addressing incorrect allocations to new                addition of §§ 75.72(f) and 75.73(f)(1)(ix)
                                                outside their authority to be addressed                    units, is largely relocated from                       and (x) and revisions to § 75.75, and the
                                                either by the EPA or by the relevant                       § 97.1011(c) (which addresses incorrect                procedures for calculating daily total
                                                tribe under an approved tribal                             allocations to existing units) and reflects            heat input and daily total NOX
                                                implementation plan. The proposed                          a parallel proposed revision addressing                emissions and for apportioning NOX
                                                dynamic process for determining default                    the disposition of recovered allowances,               mass emissions monitored at a common
                                                allocations to existing units of                           as discussed in Section VII.B.9.d of this              stack among the individual units using
                                                allowances from state trading budgets                      proposed rule.                                         the common stack would be added at
                                                                                                              The proposed amendments to                          sections 5.3.3, 8.4(c), and 8.5.3 of
                                                starting with the 2025 control period
                                                                                                           § 97.1021 would implement three                        appendix F to part 75. In 40 CFR part
                                                would be set forth in revised
                                                                                                           distinct sets of changes discussed in                  78, which contains the administrative
                                                § 97.1011(b), while the current
                                                                                                           Sections VII.B.9 and VII.D.1 of this                   appeal procedures applicable to
                                                provisions of § 97.1011(b), which
                                                                                                           proposed rule. First, revisions to                     decisions of the EPA Administrator
                                                concern timing and notice procedures
                                                                                                           § 97.1021(b) through (e) would replace                 under the Group 3 trading program,
                                                for allocations to new units, would be                     the previous schedule for recording                    § 78.1(b)(19) would be amended to list
                                                relocated to § 97.1012. The provisions                     Group 3 allowances for the 2023 and                    additional decisions made as part of the
                                                addressing incorrectly allocated                           2024 control periods established in the                trading program enhancements that
                                                allowances at § 97.1011(c) would be                        Revised CSAPR Update with an updated                   would be appealable under those
                                                streamlined by relocating the portions                     recordation schedule tailored to the                   procedures.
                                                applicable to new units to § 97.1012(c).                   expected timing for issuance of a final
                                                In addition, as discussed in Section                       rule in this rulemaking. The updated                   C. Transitional Provisions
                                                VII.B.9.d of this proposed rule,                           schedule would also reflect elimination                  As discussed in Section VII.D.11 of
                                                § 97.1011(c)(5) would be revised to                        of the unused former option for states to              this proposed rule, the EPA is proposing
                                                provide that, starting with the 2024                       provide state-determined allowance                     several transitional provisions for
                                                                                                           allocations for the 2022 control period                sources entering the Group 3 trading
                                                   344 The current § 97.1011(c), which addresses the
                                                                                                           and the proposed establishment of a                    program. The provisions discussed in
                                                relationships of set-asides and variability limits to
                                                state trading budgets, would be relocated to               substantively equivalent new option for                Section VII.D.11.a of this proposed rule,
                                                § 97.1011(f).                                              states to provide state-determined                     concerning the prorating of state
                                                   345 An additional provision currently in
                                                                                                           allowance allocations for the 2024                     emissions budgets, assurance levels, and
                                                § 97.1011(a)(1), which clarifies that an allocation or     control period. Second, revisions to                   unit-level allocations for the 2023
                                                lack of allocation to a unit in a NODA does not
                                                constitute a determination by the EPA that the unit        § 97.1021(f) would change the schedule                 control period, would be implemented
                                                is or is not a CSAPR NOX Ozone Season Group 3              for recording allocations to existing                  through the Group 3 trading program
                                                unit, would be relocated to § 97.1011(a)(3). The                                                                  regulations. Specifically, the state
                                                current § 97.1011(a)(2), which provides for certain                                                               emissions budgets for the 2023 control
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                                                                                                              346 Revisions are also proposed to the text of
                                                existing units that cease operations to receive            § 97.1012(a) and (b) for the control periods in 2021
                                                allocations for their first five control periods of non-
                                                                                                                                                                  period would be prorated according to
                                                                                                           and 2022 consistent with the proposed revisions to
                                                operation and provides for the allowances for              the parallel provisions in the regulations for the     procedures set out at § 97.1010(a)(1)(ii).
                                                subsequent control periods to be allocated to the          other CSAPR trading programs, generally calling for    Variability limits for the 2023 control
                                                relevant state’s new unit set-asides, is inconsistent      allocations to units in areas of Indian country        period, and the resulting assurance
                                                with the proposed revisions to the set-asides and          subject to a state’s CAA implementation planning
                                                the default allowance allocation process, as               authority to be made from the new unit set-asides
                                                                                                                                                                  levels, would be computed under
                                                discussed in Section VII.B.9 of this proposed rule,        instead of from the Indian country new unit set-       § 97.1010(e) from the prorated state
                                                and would be removed as obsolete.                          asides.                                                emissions budgets. Unit-level


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                                                allocations to existing units for the 2023              The associated revisions to states’                       Third, to clarify the regulatory text,
                                                control period would be computed from                   options regarding SIP revisions to                     the EPA is proposing to remove the
                                                the prorated state emissions budgets                    establish state-determined allowance                   language in the Group 3 trading program
                                                according to procedures substantively                   allocations for units covered by their                 regulations finalized in the Revised
                                                the same as the procedures codified in                  CAA implementation planning                            CSAPR Update relating to the
                                                § 97.1011(b) for calculating default                    authority would be implemented in                      ‘‘supplemental allowances’’ issued for
                                                allocations to existing units for later                 multiple paragraphs of §§ 52.38(a) and                 the 2021 control period in current
                                                control periods, as discussed in Section                (b) and 52.39 as well as the state-                    §§ 97.1002 (definition of ‘‘common
                                                VII.B.9.b of this proposed rule, and                    specific subparts of 40 CFR part 52.                   designated representative’s assurance
                                                would be announced in the notice of                        As also discussed in Section VII.B.12               level’’), 97.1006(c)(2)(iii), 97.1010(d),
                                                data availability issued under                          of this proposed rule, the EPA is                      and 97.1011(a)(1). In place of the
                                                § 97.1011(a)(1) and (2) for the 2023 and                proposing to revise the recordation                    removed language, the EPA proposes to
                                                2024 control periods.                                   schedule for allowance allocations to                  restate the amounts of the state
                                                   The remaining transitional provisions                existing units under all the CSAPR                     emissions budgets for the 2021 control
                                                would be implemented through the                        trading programs, as well as the Texas                 period in § 97.1010(a)(1)(i) so as to
                                                Group 2 trading program regulations.                    SO2 Trading Program, so that starting                  include the amounts of the
                                                The creation of an additional Group 3                   with the 2025 control period the                       supplemental allowances in the restated
                                                allowance bank for the 2023 control                     allocation deadline would generally be                 budget amounts. The revised language
                                                period through the conversion of                        July 1 of the year before the control                  would be substantively equivalent to
                                                banked 2017–2022 Group 2 allowances                     period instead of July 1 of the year 3                 and simpler than the current language.
                                                as discussed in Section VII.B.11.b of this              years before the control period. The                      Fourth, in 40 CFR part 75, the EPA
                                                document would be implemented at                        revisions would be implemented at                      proposes to remove obsolete text in
                                                § 97.826(e).347 Related provisions                      §§ 97.421(f)(2), 97.521(f)(2), 97.621(f)(2),           § 75.73(c) and (f) to clarify the context
                                                addressing the use of Group 3                           97.721(f)(2), 97.821(f), and 97.921(b)(2).             for other text that would be added to the
                                                allowances to satisfy after-arising                                                                            section, as discussed in Section X.B.
                                                                                                           Certain other revisions to the
                                                compliance obligations under the Group                                                                            Finally, the EPA proposes to update
                                                                                                        regulatory text in the FIP and trading
                                                2 trading program or the Group 1                                                                               cross-references throughout 40 CFR
                                                                                                        program regulations are proposed as
                                                trading program would be implemented                                                                           parts 52 and 97 for consistency with the
                                                                                                        non-substantive clarifications. First, in
                                                at §§ 97.826(f)(2) and 97.526(e)(3),                                                                           other amendments proposed in this
                                                                                                        the Group 2 trading program
                                                respectively, and related provisions                                                                           rulemaking.
                                                                                                        regulations, the paragraphs in § 97.810
                                                addressing recordation of late-arising                  setting forth the amounts of state                     XI. Statutory and Executive Orders
                                                allocations of Group 1 allowances                       emissions budgets, new unit set-asides,                Reviews
                                                would be implemented at                                 Indian country new unit set-asides, and
                                                § 97.526(d)(2)(iii). The recall of Group 2                                                                       Additional information about these
                                                                                                        variability limits for states that the EPA             statutes and Executive Orders (‘‘E.O.’’)
                                                allowances previously issued for the                    is proposing to transition out of the
                                                2023 and 2024 control periods as                                                                               can be found at http://www2.epa.gov/
                                                                                                        Group 2 trading program would be                       laws-regulations/laws-and-executive-
                                                discussed in Section VII.B.11.c of this                 modified to indicate that the amounts
                                                document would be implemented at                                                                               orders.
                                                                                                        are applicable under that program only
                                                § 97.811(e).                                            for control periods through 2022.                      A. Executive Order 12866: Regulatory
                                                   Decisions of the Administrator related                                                                      Planning and Review and Executive
                                                to the allowance bank creation                             Second, as noted in Section VII.F.1 of
                                                                                                        this proposed rule, the existing option                Order 13563: Improving Regulation and
                                                provisions and the allowance recall                                                                            Regulatory Review
                                                provisions would be identified as                       for states subject to the NOX SIP Call to
                                                                                                        expand applicability of the Group 2                      This proposed rule is an economically
                                                appealable decisions under 40 CFR part
                                                                                                        trading program to include certain large               significant regulatory action that was
                                                78 through revisions to
                                                                                                        non-EGU boilers and combustion                         submitted to the Office of Management
                                                § 78.1(b)(17)(viii) and (ix).
                                                                                                        turbines would become obsolete if this                 and Budget (OMB) for review. This
                                                D. Clarifications and Conforming                        rule is finalized as proposed because no               proposed rule is in response to a court-
                                                Revisions                                               NOX SIP Call states would continue to                  ordered legal mandate and proposes to
                                                   As discussed in Section VII.B.12 of                  be covered by the Group 2 trading                      implement EGU and novel non-EGU
                                                this proposed rule, the EPA is proposing                program. The proposed elimination of                   NOX ozone season emissions reductions
                                                to make revisions to the provisions                     the obsolete option would be                           as part of the overall strategy for
                                                regarding allowance allocations for                     implemented in part through revisions                  addressing interstate transport of ozone
                                                units in Indian country in all the CSAPR                to § 52.38(b)(8) (multiple paragraphs),                pollution for the 2015 ozone NAAQS.
                                                trading programs so that instead of                     (b)(9) (multiple paragraphs), (b)(13)(ii),             Any changes made in response to OMB
                                                distinguishing among units based on                     (b)(14)(i)(F), and (b)(16)(i)(B), and in               recommendations have been
                                                whether they are or are not located in                  part through revisions to the Group 2                  documented in the docket. The EPA
                                                Indian country, the revised provisions                  trading program regulations at                         prepared an analysis of the potential
                                                would distinguish among units based on                  §§ 97.806(c)(2) and (3), 97.825, and                   costs and benefits associated with this
                                                whether they are or are not covered by                  97.802 (removal of the definitions of                  proposed rule. This analysis, which is
                                                a state’s CAA implementation planning                   ‘‘base CSAPR NOX Ozone Season Group                    contained in the ‘‘Regulatory Impact
                                                                                                        2 source’’ and ‘‘base CSAPR NOX Ozone                  Analysis for the Proposed Federal
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                                                authority. The proposed revisions
                                                would be implemented in multiple                        Season Group 2 unit’’ and modification                 Implementation Plan Addressing
                                                paragraphs of §§ 97.411(b), 97.412,                     of the definitions of ‘‘assurance                      Regional Ozone Transport for the 2015
                                                97.511(b), 97.512, 97.611(b), 97.612,                   account’’, ‘‘common designated                         Ozone National Ambient Air Quality
                                                97.711(b), 97.712, 97.811(b), and 97.812.               representative’’, common designated                    Standard’’ [EPA–452/R–15–009], is
                                                                                                        representative’s assurance level’’, and                available in the docket and is briefly
                                                  347 The current provisions at § 97.826(e) would be    ‘‘common designated representative’s                   summarized in Section IX of this
                                                relocated to § 97.826(f)(1) and (3).                    share’’).                                              proposed rule.


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                                                B. Paperwork Reduction Act (PRA)                        and associated data in accordance with                 Program or the NOX SIP Call, with the
                                                                                                        40 CFR part 75. Other information                      exception of any one-time costs to
                                                1. Information Collection Request for
                                                                                                        collection requirements under the                      update monitoring plans and DAHS, all
                                                Electric Generating Units
                                                                                                        programs concern the submittal of                      information collection costs and burden
                                                   The information collection activities                information necessary to allocate and                  are already reflected in the previously
                                                in this proposed rule have been                         transfer emission allowances and the                   approved ICRs for those other rules
                                                submitted for approval to the Office of                 submittal of certificates of                           (OMB Control Nos. 2060–0258 and
                                                Management and Budget (OMB) under                       representation and other typically one-                2060–0445).
                                                the PRA. The Information Collection                     time registration forms.                                  In total, there are an estimated 16
                                                Request (ICR) document that the EPA                        Affected sources under the CSAPR                    units in Delaware, Nevada, Utah, and
                                                prepared has been assigned EPA ICR                      and Texas trading programs are                         Wyoming that do not already report data
                                                number 2709.01. EPA has placed a copy                   generally stationary, fossil fuel-fired                to EPA according to 40 CFR part 75 and
                                                of the ICR in the docket for this rule,                 boilers and combustion turbines serving                that would need to implement one of
                                                and it is briefly summarized here.                      generators larger than 25 megawatts                    the Part 75 monitoring methodologies
                                                   EPA is proposing an information                      (MW) producing electricity for sale.                   including certification of monitoring
                                                collection request (ICR), related                       Most of these affected sources are also                systems or implementation of the low
                                                specifically to electric generating units               subject to the Acid Rain Program (ARP).                mass emissions methodology. These
                                                (EGU), for the proposed Federal                         The information collection requirements                units would also require monitoring
                                                Implementation Plan Addressing                          under the CSAPR and Texas trading                      plan and DAHS updates. Of these
                                                Regional Ozone Transport for the 2015                   programs and the ARP substantially                     sixteen units, two units would be
                                                Primary Ozone National Ambient Air                      overlap and are fully integrated. The                  expected to adopt low mass emissions
                                                Quality Standard. The proposed rule                     burden and costs of overlapping                        (LME) as the monitoring method,
                                                would amend the Cross-State Air                         requirements are accounted for in the                  thirteen would be expected to adopt
                                                Pollution Rule (CSAPR) NOX Ozone                        ARP ICR (OMB Control Number 2060–                      Appendix D monitoring methods, and
                                                Season Group 3 trading program                          0258). Thus, this ICR accounts for                     one would be expected to adopt CEMS
                                                addressing seasonal NOX emissions in                    information collection burden and costs                monitoring methods.
                                                various states. Under the proposed                      under the CSAPR NOX Ozone Season                          Respondents/affected entities:
                                                amendments, all EGU sources in the                      Group 3 trading program that are                       Industry respondents are stationary,
                                                original twelve Group 3 states (Illinois,               incremental to the burden and costs                    fossil fuel-fired boilers and combustion
                                                Indiana, Kentucky, Louisiana,                           already accounted for in both the ARP                  turbines serving electricity generators
                                                Maryland, Michigan, New Jersey, New                     and CSAPR ICRs.                                        subject to the CSAPR and Texas trading
                                                York, Ohio, Pennsylvania, Virginia, and                    For most sources already reporting                  programs, as well as non-source entities
                                                West Virginia) would remain.                            data under the CSAPR NOX Ozone                         voluntarily participating in allowance
                                                Additionally, EGU sources in eight                      Season Group 3 or CSAPR NOX Ozone                      trading activities. Potential state
                                                states (Alabama, Arkansas, Mississippi,                 Group 2 trading programs, there would                  respondents are states that can elect to
                                                Missouri, Oklahoma, Tennessee, Texas,                   be no incremental burden or cost, as                   submit state-determined allowance
                                                and Wisconsin) currently covered by the                 reporting requirements will remain                     allocations for sources located in their
                                                CSAPR NOX Ozone Season Group 2                          identical. Certain sources with a                      states.
                                                Trading Program would transition from                   common stack configuration and/or                         Respondent’s obligation to respond:
                                                the Group 2 program to the revised                      those that are large, coal-fired EGUs,                 Industry respondents: Voluntary and
                                                Group 3 trading program beginning with                  will be subject to additional emission                 mandatory (Sections 110(a) and 301(a)
                                                the 2023 ozone season. Further, sources                 reporting requirements under the                       of the Clean Air Act).
                                                in five states not currently covered by                 proposed rule. These sources will need                    Estimated number of respondents:
                                                any CSAPR NOX ozone season trading                      to make a one-time monitoring plan and                 EPA estimates that there would be 188
                                                program would join the revised Group                    Data Acquisition and Handling System                   industry respondents.
                                                3 trading program: Delaware,                            (DAHS) update to meet the additional                      Frequency of response: On occasion,
                                                Minnesota, Nevada, Utah, and                            reporting requirements. Remaining for                  quarterly, and annually.
                                                Wyoming. In total, EGU sources in 25                    assessment of incremental cost and                        Total estimated additional burden:
                                                states would now be covered by the                      burden are only those sources in the five              1,834 hours (per year). Burden is
                                                Group 3 program.                                        states not currently reporting data under              defined at 5 CFR 1320.03(b).
                                                   There is an existing ICR (OMB Control                a CSAPR NOX Ozone Season program.                         Total estimated additional cost:
                                                Number 2060–0667), that includes                        Sources in Minnesota are already                       $396,520 (per year); includes $210,571
                                                information collection requirements                     reporting data for the CSAPR NOX                       annualized capital or operation &
                                                placed on EGU sources for the six Cross-                Annual program with almost identical                   maintenance costs.
                                                State Air Pollution Rule (CSAPR)                        information collection requirements,                      An agency may not conduct or
                                                trading programs addressing sulfur                      requiring only a one-time monitoring                   sponsor, and a person is not required to
                                                dioxide (SO2) emissions, annual                         plan and DAHS update. Most of the                      respond to, a collection of information
                                                nitrogen oxides (NOX) emissions, or                     affected sources in Delaware, Nevada,                  unless it displays a currently valid OMB
                                                seasonal NOX emissions in various sets                  Utah, and Wyoming are already                          control number. The OMB control
                                                of states, and the Texas SO2 trading                    reporting data as part of the Acid Rain                numbers for the EPA’s regulations in 40
                                                program which is modeled after CSAPR.                   Program, thus only requiring a                         CFR are listed in 40 CFR part 9.
                                                                                                                                                                  Submit your comments on the
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                                                This ICR accounts for the additional                    monitoring plan and DAHS update as
                                                respondent burden related to the                        well. Four additional EGUs in Delaware                 Agency’s need for this information, the
                                                amendments to the CSAPR NOX Ozone                       already report data under SIP                          accuracy of the provided burden
                                                Group 3 trading program.                                requirements adopted to meet the NOX                   estimates and any suggested methods
                                                   The principal information collection                 SIP Call and would face identical                      for minimizing respondent burden to
                                                requirements under the CSAPR and                        information requirements under this                    the EPA using the docket identified at
                                                Texas trading programs relate to the                    proposed rule. For the units that already              the beginning of this rule. You may also
                                                monitoring and reporting of emissions                   report to EPA under the Acid Rain                      send your ICR-related comments to


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                                                OMB’s Office of Information and                         emitting equipment and large boilers in                economic impact on a substantial
                                                Regulatory Affairs via email to OIRA_                   Basic Chemical Manufacturing,                          number of small entities under the
                                                submission@omb.eop.gov, Attention:                      Petroleum and Coal Products                            Regulatory Flexibility Act (RFA). The
                                                Desk Officer for the EPA. Since OMB is                  Manufacturing, and Pulp, Paper, and                    Regulatory Flexibility Act (5 U.S.C. 601
                                                required to make a decision concerning                  Paperboard Mill.                                       et seq.), as amended by the Small
                                                the ICR between 30 and 60 days after                       Respondent’s obligation to respond:                 Business Regulatory Enforcement
                                                receipt, OMB must receive comments no                   Voluntary and mandatory. (Sections                     Fairness Act (Pub. L. 104–121), provides
                                                later than May 6, 2022. The EPA will                    110(a) and 301(a) of the Clean Air Act).               that whenever an agency is required to
                                                respond to any ICR-related comments in                  All data that is recorded or reported by               publish a general notice of proposed
                                                the final rule.                                         respondents is required by the proposed                rulemaking, it must prepare and make
                                                                                                        rule, titled ‘‘Federal Implementation                  available an initial regulatory flexibility
                                                2. Information Collection Request for
                                                                                                        Plan Addressing Regional Ozone                         analysis, unless it certifies that the
                                                Non-Electric Generating Units
                                                                                                        Transport for the 2015 Primary Ozone                   proposed rule, if promulgated, will not
                                                   The information collection activities                National Ambient Air Quality Standard:                 have a significant economic impact on
                                                in this proposed rule have been                         Transport Obligations for non-Electric                 a substantial number of small entities (5
                                                submitted for approval to the Office of                 Generating Units’’.                                    U.S.C. 605(b)). Small entities include
                                                Management and Budget (OMB) under                          Estimated number of respondents:                    small businesses, small organizations,
                                                the PRA. The Information Collection                     489.                                                   and small governmental jurisdictions.
                                                Request (ICR) document that the EPA                        Frequency of response: The specific                    In 2026, EPA identified 34 small
                                                prepared has been assigned EPA ICR                      frequency for each information                         entities affected by the proposed rule,
                                                number 2705.01. The EPA has filed a                     collection activity within the non-EGU                 and of these 6 small entities may
                                                copy of the non-EGU ICR in the docket                   ICR is shown at the end of the ICR                     experience costs of greater than 1
                                                for this rule, and it is briefly                        document in the Tables 1–11. In                        percent of revenues. Of the 6 small
                                                summarized here.                                        general, the frequency varies across the               entities projected to have costs greater
                                                   ICR No. 2705.01 is a new request and                 monitoring, recordkeeping, and                         than 1 percent of revenues, two of them
                                                it addresses the burden associated with                 reporting activities. Some recordkeeping               operate in cost-of-service regions and
                                                new regulatory requirements under the                   such as work plan preparation is a one-                would generally be able to pass any
                                                proposed rule. Owners and operators of                  time activity whereas engine                           increased costs along to rate-payers. In
                                                certain non-Electric Generating Unit                    maintenance recordkeeping is                           EPA’s modeling, most of the cost
                                                (non-EGU) industry stationary sources                   conducted quarterly. Reporting                         impacts for these small entities and
                                                will potentially modify or install new                  frequency is on a quarterly and semi-                  their associated units are driven by
                                                emission controls and associated                        annual basis.                                          lower electricity generation relative to
                                                monitoring systems to meet the nitrogen                    Total estimated burden: 51,654 hours                the base case baseline. Specifically, four
                                                oxides (NOX) emission limits of this                    (per year). Burden is defined at 5 CFR                 units reduce their generation by
                                                proposed rule. The burden in this ICR                   1320.3(b).                                             significant amounts, driving the bulk of
                                                reflects the new monitoring, calibrating,                  Total estimated cost: $11,450,000                   the costs for all small entities. Finally,
                                                recordkeeping, reporting and testing                    (average per year); includes $5,467,000                EPA’s decision to exclude units smaller
                                                activities required by industry and the                 annualized capital or operation &                      than 25 MW capacity from the proposed
                                                administrative review conducted by the                  maintenance costs.                                     FIP, and exclusion of uncontrolled units
                                                states of the associated industry                          An agency may not conduct or                        smaller than 100 MW from backstop
                                                activities. This information is being                   sponsor, and a person is not required to               emission rate limits has already
                                                collected to assure compliance with the                 respond to, a collection of information                significantly reduced the burden on
                                                proposed rule. In accordance with the                   unless it displays a currently valid OMB               small entities by reducing the number of
                                                Clean Air Act Amendments of 1990, any                   control number. The OMB control                        affected small entity-owned units.
                                                monitoring information to be submitted                  numbers for the EPA’s regulations in 40                Further, in 2026 for non-EGUs, there are
                                                by sources is a matter of public record.                CFR are listed in 40 CFR part 9.                       five small entities, and one small entity
                                                Information received and identified by                     Submit your comments on the                         is estimated to have a cost-to-sales
                                                owners or operators as confidential                     Agency’s need for this information from                impact of 1.3 percent of their revenues.
                                                business information (CBI) and                          the EGU ICR and non-EGU ICR, the                          The EPA has determined that an
                                                approved as CBI by EPA, in accordance                   accuracy of the provided burden                        insignificant number of small entities
                                                with Title 40, Chapter 1, Part 2, Subpart               estimates and any suggested methods                    potentially affected by the proposed rule
                                                B, shall be maintained appropriately                    for minimizing respondent burden to                    will have compliance costs greater than
                                                (see 40 CFR 2; 41 FR 36902, September                   the EPA using the docket identified at                 1 percent of annual revenues during the
                                                1, 1976; amended by 43 FR 39999,                        the beginning of this rule. You may also               compliance period. EPA has concluded
                                                September 8, 1978; 43 FR 42251,                         send your ICR-related comments to                      that there will be no significant
                                                September 28, 1978; 44 FR 17674,                        OMB’s Office of Information and                        economic impact on a substantial
                                                March 23, 1979).                                        Regulatory Affairs via email to OIRA_                  number of small entities (No SISNOSE)
                                                   Respondents/affected entities: The                   submission@omb.eop.gov, Attention:                     for this proposed rule overall. Details of
                                                respondents/affected entities are the                   Desk Officer for the EPA. Since OMB is                 this analysis are presented in Chapter 6
                                                owners/operators of certain non-EGU                     required to make a decision concerning                 of the RIA, which is in the public
                                                industry sources in the following                       the ICR between 30 and 60 days after                   docket.
                                                industry sectors: Furnaces in Glass and
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                                                                                                        receipt, OMB must receive comments no
                                                Glass Product Manufacturing; boilers                                                                           D. Unfunded Mandates Reform Act
                                                                                                        later than May 6, 2022. The EPA will
                                                and furnaces in Iron and Steel Mills and                                                                       (UMRA)
                                                                                                        respond to any ICR-related comments in
                                                Ferroalloy Manufacturing; kilns in                      the final rule.                                          This proposed action does not contain
                                                Cement and Cement Product                                                                                      an unfunded mandate of $100 million or
                                                Manufacturing; reciprocating internal                   C. Regulatory Flexibility Act (RFA)                    more as described in UMRA, 2 U.S.C.
                                                combustion engines in Pipeline                            The EPA certifies that this proposed                 1531–1538, and will not significantly or
                                                Transportation of Natural Gas; and high-                action will not have a significant                     uniquely affect small governments. Note


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                                                that we expect the proposed rule to                     or Appropriate Finding. EPA proposes                   tribal consultation letters addressed to
                                                potentially have an impact on only one                  that all existing and new EGU and non-                 574 tribes in February 2022 after the
                                                category of government-owned entities                   EGU sources that are located in the                    proposed rule is signed. The EPA will
                                                (municipality-owned entities). This                     301(d) FIP areas within the geographic                 likely facilitate an additional tribal
                                                analysis does not examine potential                     boundaries of the covered states, and                  consultation through a webinar before
                                                indirect economic impacts associated                    which would be subject to this rule if                 finalizing this proposed rule.
                                                with the proposed rule, such as                         located within areas subject to state
                                                                                                                                                               G. Executive Order 13045: Protection of
                                                employment effects in industries                        CAA planning authority, should be
                                                                                                                                                               Children From Environmental Health
                                                providing fuel and pollution control                    included in this rule. This proposed
                                                                                                                                                               Risks and Safety Risks
                                                equipment, or the potential effects of                  action has tribal implication because of
                                                electricity price increases on                          the proposed extension of FIP                             The EPA interprets Executive Order
                                                government entities. For more                           requirements into Indian country and                   13045 as applying only to those
                                                information on the estimated impact on                  this proposed rule may have additional                 regulatory actions that concern
                                                government entities, refer to the RIA,                  tribal implications if a new affected                  environmental health or safety risks that
                                                which is in the public docket.                          EGU or non-EGU is built in Indian                      the EPA has reason to believe may
                                                                                                        country. To EPA’s knowledge, only one                  disproportionately affect children, per
                                                E. Executive Order 13132: Federalism                                                                           the definition of ‘‘covered regulatory
                                                                                                        existing EGU or non-EGU source is
                                                  This proposed action does not have                    located within the 301(d) FIP areas: The               action’’ in section 2–202 of the
                                                federalism implications. If finalized,                  Bonanza Power Plant, an EGU source,                    Executive Order. This action is not
                                                this proposed action will not have                      located on the Uintah and Ouray                        subject to Executive Order 13045
                                                substantial direct effects on the states,               Reservation, geographically located                    because it implements a previously
                                                on the relationship between the national                within the borders of Utah. In general,                promulgated health-based federal
                                                government and the states, or on the                    tribes have a vested interest in how this              standard. This action’s health and risk
                                                distribution of power and                               proposed rule would affect air quality.                assessments are contained in Chapter 5
                                                responsibilities among the various                         In the Revised CSAPR Update, EPA                    of this RIA. The EPA believes that the
                                                levels of government.                                   established default procedures for                     ozone-related benefits, PM2.5-related
                                                                                                        allocating CSAPR NOX Ozone Season                      benefits, and CO2-related benefits from
                                                F. Executive Order 13175: Consultation
                                                and Coordination With Indian Tribal                     Group 3 allowances (‘‘Group 3                          this proposed rule will further improve
                                                Governments                                             allowances’’) in amounts equal to each                 children’s health. Additionally, the
                                                                                                        state emissions budget for each control                ozone exposure analysis in Chapter 7 of
                                                   This proposed action has tribal                      period among the sources in the state for              the RIA suggests that nationally,
                                                implications. However, it would neither                 use in complying with the Group 3                      children (ages 0–17) will experience at
                                                impose substantial direct compliance                    trading program. Under the current                     least as great a reduction in ozone
                                                costs on federally recognized tribal                    Group 3 trading programs, reserved                     exposures as adults (ages 18–64) in 2023
                                                governments, nor preempt tribal law.                    allowances are made available generally                and 2026 under all regulatory
                                                   The EPA proposes to make a finding                   (but not exclusively 348) to ‘‘new’’                   alternatives of this proposed
                                                that interstate transport of ozone                      units—which for purposes of the                        rulemaking.
                                                precursor emissions from 26 upwind                      Revised CSAPR Update means units
                                                states (Alabama, Arkansas, California,                                                                         H. Executive Order 13211: Actions
                                                                                                        commencing commercial operation on
                                                Delaware, Illinois, Indiana, Kentucky,                                                                         Concerning Regulations That
                                                                                                        or after January 1, 2019—through a
                                                Louisiana, Maryland, Michigan,                                                                                 Significantly Affect Energy Supply,
                                                                                                        ‘‘new unit set-aside’’ established for
                                                Minnesota, Mississippi, Missouri,                       qualifying units in each state and, if                 Distribution or Use
                                                Nevada, New Jersey, New York, Ohio,                     areas of Indian country exist within the                 This action is not a ‘‘significant
                                                Oklahoma, Pennsylvania, Tennessee,                      state’s borders, a separate ‘‘Indian                   energy action’’ because it is not likely to
                                                Texas, Utah, Virginia, West Virginia,                   country new unit set-aside’’ for                       have a significant adverse effect on the
                                                Wisconsin, and Wyoming) is                              qualifying units in such Indian country.               supply, distribution, or use of energy.
                                                significantly contributing to downwind                  In this rulemaking, EPA is proposing                   EPA has prepared a Statement of Energy
                                                nonattainment or interfering with                       revisions to each step of the three-step               Effects for the proposed regulatory
                                                maintenance of the 2015 ozone NAAQS                     allocation process to better address                   control alternative as follows. The
                                                in other states, based on projected                     units in Indian country and to better                  Agency estimates a 1 percent change in
                                                nitrogen oxides (NOX) emissions in the                  coordinate the unit-level allocation                   retail electricity prices on average across
                                                2023 ozone season. EPA is proposing to                  process with the proposed dynamic                      the contiguous U.S. in 2025, a 7.8
                                                issue FIP requirements to eliminate                     budget-setting process.                                percent reduction in coal-fired
                                                interstate transport of ozone precursors                   The EPA hosted an environmental                     electricity generation, a 0.15 percent
                                                from these 26 states that significantly                 justice webinar on October 26, 2021,                   increase in natural gas-fired electricity
                                                contributes to nonattainment or                         that was attended by state regulatory                  generation, and a 3.8 percent increase in
                                                interferes with maintenance of the                      authorities, environmental groups,                     renewable electricity generation in 2025
                                                NAAQS in other states. Under CAA                        federally recognized tribes, and small                 as a result of this proposed rule. EPA
                                                section 301(d)(4), EPA proposes to                      business stakeholders. The EPA will                    projects that utility power sector
                                                extend FIP requirements to apply in                     also continue to consult with the                      delivered natural gas prices will change
                                                Indian country located within the                       government of the Ute Indian Tribe of                  by less than 1 percent in 2025. Details
                                                upwind geography of the proposed rule,
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                                                                                                        the Uintah and Ouray Reservation and                   of the estimated energy effects are
                                                including Indian reservation lands and                  plans to further consult with any other                presented in Chapter 4 of the RIA,
                                                other areas of Indian country over                      tribal officials under the EPA Policy on               which is in the public docket.
                                                which EPA or a tribe has demonstrated                   Consultation and Coordination with
                                                that a tribe has jurisdiction. EPA’s                    Indian Tribes early in the process of                  I. National Technology Transfer and
                                                proposed extension is described further                 developing this proposed regulation to                 Advancement Act (NTTAA)
                                                above in Section IV.C.2., Application of                solicit meaningful and timely input into                  This proposed rulemaking does not
                                                Rule in Indian Country and Necessary                    its development. The EPA plans to issue                involve technical standards.


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                                                J. Executive Order 12898: Federal                        petitions for review must be filed in the                findings, and policy determinations
                                                Actions To Address Environmental                         United States Court of Appeals for the                   concerning the transport of ozone-
                                                Justice in Minority Populations and                      District of Columbia Circuit: (i) When                   precursor pollutants from the different
                                                Low-Income Populations                                   the agency action consists of ‘‘nationally               states subject to it, as well as the
                                                   The EPA believes that this action does                applicable regulations promulgated, or                   impacts of those pollutants and the
                                                                                                         final action taken, by the                               impacts of options to address those
                                                not have disproportionately high and
                                                                                                         Administrator,’’ or (ii) when such action                pollutants in yet other states. In this
                                                adverse human health or environmental
                                                                                                         is locally or regionally applicable, but                 proposed action, EPA is applying its 4-
                                                effects on minority populations, low-
                                                                                                         ‘‘such action is based on a                              step analytic framework to implement
                                                income populations and/or indigenous
                                                                                                         determination of nationwide scope or                     the good neighbor provision across
                                                peoples, as specified in Executive Order
                                                                                                         effect and if in taking such action the                  these states, using a consistent set of
                                                12898.349 The documentation for this
                                                                                                         Administrator finds and publishes that                   policy and analytical determinations.
                                                decision is contained in Section VIII.
                                                                                                         such action is based on such a                           The proposed determinations include a
                                                Environmental Justice Analytical
                                                                                                         determination.’’ For locally or regionally               nationally consistent definition of
                                                Considerations and Stakeholder
                                                                                                         applicable final actions, the CAA                        receptors at Step 1 and findings
                                                Outreach and Engagement of this                          reserves to EPA complete discretion                      identifying downwind nonattainment
                                                Proposed rule and in Chapter 7,                          whether to invoke the exception in (ii).                 and maintenance receptors; the
                                                Environmental Justice Impacts of the                        This proposed action, if finalized,                   application of a nationally consistent
                                                RIA, which is in the public document.                    would be ‘‘nationally applicable’’                       contribution threshold at Step 2 to
                                                The RIA was prepared under E.O. 12866                    within the meaning of CAA section                        determine which states are linked to
                                                Regulatory Planning and Review for this                  307(b)(1). In the alternative, to the                    those receptors and should be further
                                                proposed rule. While the ozone                           extent a court finds this action to be                   evaluated at Step 3; the use of a
                                                exposure assessment was subject to                       locally or regionally applicable, the                    nationally consistent multi-factor test at
                                                several limitations, also described in                   Administrator proposes to exercise the                   Step 3 to determine which upwind-state
                                                Chapter 7 of the RIA, overall, ozone                     complete discretion afforded to him                      contributions to nonattainment and
                                                concentrations under the proposal, more                  under the CAA to make and publish a                      maintenance receptors are ‘‘significant’’
                                                stringent, and less stringent alternatives               finding that this action is based on a                   and must be eliminated; and the
                                                are predicted to impact demographic                      determination of ‘‘nationwide scope or                   proposed implementation at Step 4 of a
                                                groups very similarly in both future                     effect’’ within the meaning of CAA                       nationally consistent set of emissions
                                                years and across both EGUs and non-                      section 307(b)(1).350                                    control strategies through emissions
                                                EGUs.                                                       This proposed action, if finalized, will              budgets and an integrated interstate
                                                   Therefore, regarding ozone                            implement the good neighbor provision                    emissions trading program for EGUs, a
                                                concentrations, EPA does not find                        in 26 states, spanning 8 EPA regions and                 nationally consistent set of other
                                                evidence of meaningful environmental                     10 federal judicial circuits. The                        compliance requirements for EGUs, and
                                                justice concerns associated with ozone                   proposed action applies a uniform,                       a nationally consistent set of enforceable
                                                concentrations after imposition of the                   nationwide analytical method and                         emissions limits and associated
                                                proposed regulatory action or                            interpretation of CAA section                            compliance requirements for certain
                                                alternatives under consideration. We                     110(a)(2)(D)(i)(I) across these states, and              non-EGU sources in several industrial
                                                also do not find evidence that any                       the proposed rule is based on a common                   sectors across 23 states. Finally, the
                                                potential environmental justice                          core of legal, technical, and policy                     technical, scientific, and engineering
                                                concerns related to ozone would be                       determinations (as explained in further                  information in support of these
                                                meaningfully exacerbated in the                          detail in the following paragraph). For                  proposed determinations relies on a
                                                regulatory alternatives under                            these reasons, this proposed action is                   nationally consistent set of air quality
                                                consideration, compared to the baseline.                 nationally applicable.                                   modeling analyses and other nationally
                                                Importantly, the action described in this                   Alternatively, for these same reasons,                consistent analytical methods, as set
                                                proposed rule is expected to lower                       the Administrator is exercising the                      forth elsewhere in this proposed rule
                                                ozone in many areas, including residual                  discretion afforded to him by the CAA                    and in the relevant supporting
                                                ozone nonattainment areas, and thus                      and hereby finds that this proposed                      documents in the docket for this
                                                mitigate some pre-existing health risks                  action is based on multiple                              proposed rule.
                                                of ozone across all populations                          determinations of nationwide scope or                       Therefore, pursuant to CAA section
                                                evaluated.                                               effect for purposes of CAA section                       307(b), any petitions for review of this
                                                   In addition, the EPA provided the                     307(b)(1).351 Specifically, the proposed                 action, if and when it is finalized, must
                                                public, including those communities                      rule is based on a common core of                        be filed in the D.C. Circuit within 60
                                                disproportionately impacted by the                       statutory and case law analysis, factual                 days from the date such final action is
                                                burdens of pollution, opportunities for                                                                           published in the Federal Register.
                                                meaningful engagement with the EPA                         350 In proposing to invoke the exception by               This action is subject to the
                                                on this action. A summary of outreach                    making and publishing a finding that this final          provisions of section 307(d). CAA
                                                                                                         action is based on a determination of nationwide
                                                activities conducted by the Agency and                   scope or effect, the Administrator is taking into
                                                                                                                                                                  section 307(d)(1)(B) provides that
                                                what was heard from communities is                       account a number of policy considerations,               section 307(d) applies to, among other
                                                provided in section VIII of this proposed                including his judgment balancing the benefit of          things, ‘‘the promulgation or revision of
                                                rule.                                                    obtaining the D.C. Circuit’s authoritative centralized   an implementation plan by the
                                                                                                         review versus allowing development of the issue in
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                                                                                                         other contexts and the best use of agency resources.
                                                                                                                                                                  Administrator under [CAA section
                                                K. Determinations Under CAA Section                                                                               110(c)].’’ 42 U.S.C. 7407(d)(1)(B). This
                                                                                                           351 In the report on the 1977 Amendments that
                                                307(b)(1) and (d)                                                                                                 action, among other things, proposes
                                                                                                         revised section 307(b)(1) of the CAA, Congress
                                                  Section 307(b)(1) of the CAA governs                   noted that the Administrator’s determination that        new federal implementation plans
                                                judicial review of final actions by the                  the ‘‘nationwide scope or effect’’ exception applies     pursuant to the authority of section
                                                                                                         would be appropriate for any action that has a
                                                EPA. This section provides, in part, that                scope or effect beyond a single judicial circuit. See
                                                                                                                                                                  110(c). To the extent any portion of this
                                                                                                         H.R. Rep. No. 95–294 at 323, 324, reprinted in 1977      rulemaking, if finalized, is not expressly
                                                  349 59 FR 7629, February 16, 1994.                     U.S.C.C.A.N. 1402–03.                                    identified under section 307(d)(1)(B),


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                                                the Administrator determines that the                   ■ c. In table 1 to paragraph (a)(4)(i)(B),             the State’’ and adding in its place ‘‘areas
                                                provisions of section 307(d) apply to                   revising the entry for ‘‘2025 and any                  of Indian country within the borders of
                                                such final action. See CAA section                      year thereafter’’;                                     the State not subject to the State’s SIP
                                                307(d)(1)(V) (the provisions of section                 ■ d. In paragraph (a)(5) introductory                  authority’’;
                                                307(d) apply to ‘‘such other actions as                 text, removing ‘‘State (but not sources in             ■ t. In paragraph (b)(5)(vi), removing
                                                the Administrator may determine’’).                     any Indian country within the borders                  ‘‘Indian country within the borders of
                                                                                                        of the State), regulations’’ and adding in             the State, the’’ and adding in its place
                                                List of Subjects                                        its place ‘‘State and areas of Indian                  ‘‘areas of Indian country within the
                                                40 CFR Part 52                                          country within the borders of the State                borders of the State not subject to the
                                                                                                        subject to the State’s SIP authority,                  State’s SIP authority, the’’;
                                                  Environmental protection,                                                                                    ■ u. In paragraph (b)(7) introductory
                                                                                                        regulations’’;
                                                Administrative practice and procedure,                                                                         text, removing ‘‘(b)(2)(iii) or (iv)’’ and
                                                                                                        ■ e. In table 2 to paragraph (a)(5)(i)(B),
                                                Air pollution control, Incorporation by                                                                        adding in its place ‘‘(b)(2)(ii)’’;
                                                                                                        revising the entry for ‘‘2025 and any
                                                reference, Intergovernmental relations,                                                                        ■ v. Revising paragraph (b)(8)
                                                                                                        year thereafter’’;
                                                Nitrogen oxides, Ozone, Particulate                     ■ f. In paragraph (a)(5)(iv), removing                 introductory text;
                                                matter, Sulfur dioxide.                                 ‘‘Indian country within the borders of                 ■ w. In paragraph (b)(8)(i), adding
                                                40 CFR Part 75                                          the State’’ and adding in its place ‘‘areas            ‘‘and’’ after the semicolon;
                                                                                                        of Indian country within the borders of                ■ x. Removing and reserving paragraph
                                                  Environmental protection,                                                                                    (b)(8)(ii);
                                                                                                        the State not subject to the State’s SIP
                                                Administrative practice and procedure,                                                                         ■ y. Revising paragraph (b)(8)(iii)(A);
                                                                                                        authority’’;
                                                Air pollution control, Continuous                                                                              ■ z. In table 5 to paragraph (b)(8)(iii)(B),
                                                                                                        ■ g. In paragraph (a)(5)(v), removing
                                                emission monitoring, Electric power                                                                            revising the entry for ‘‘2025 and any
                                                                                                        ‘‘Indian country within the borders of
                                                plants, Incorporation by reference,                                                                            year thereafter’’;
                                                                                                        the State, the’’ and adding in its place
                                                Nitrogen oxides, Ozone, Particulate                                                                            ■ aa. In paragraph (b)(8)(iv), removing
                                                                                                        ‘‘areas of Indian country within the
                                                matter, Reporting and recordkeeping                                                                            ‘‘(b)(8)(i), (ii), or (iii)’’ and adding in its
                                                                                                        borders of the State not subject to the
                                                requirements, Sulfur dioxide.                                                                                  place ‘‘(b)(8)(i) or (iii)’’ each time it
                                                                                                        State’s SIP authority, the’’;
                                                                                                        ■ h. Revising paragraphs (a)(6) and
                                                                                                                                                               appears;
                                                40 CFR Part 78                                                                                                 ■ bb. Revising paragraph (b)(9)
                                                                                                        (a)(7)(ii);
                                                  Environmental protection,                                                                                    introductory text;
                                                                                                        ■ i. In paragraph (a)(8)(iii), removing
                                                Administrative practice and procedure,                                                                         ■ cc. Removing and reserving paragraph
                                                                                                        ‘‘State (but not sources in any Indian
                                                Air pollution control, Electric power                                                                          (b)(9)(ii);
                                                                                                        country within the borders of the                      ■ dd. Revising paragraph (b)(9)(iii)(A);
                                                plants, Nitrogen oxides, Ozone,
                                                                                                        State):’’ and adding in its place ‘‘State              ■ ee. In table 6 to paragraph
                                                Particulate matter, Sulfur dioxide.
                                                                                                        and areas of Indian country within the                 (b)(9)(iii)(B), revising the entry for ‘‘2025
                                                40 CFR Part 97                                          borders of the State subject to the State’s            and any year thereafter’’;
                                                                                                        SIP authority:’’;                                      ■ ff. In paragraph (b)(9)(vi), removing
                                                  Environmental protection,
                                                                                                        ■ j. In paragraph (b)(1), removing ‘‘year),            ‘‘Indian country within the borders of
                                                Administrative practice and procedure,
                                                                                                        except’’ and adding in its place ‘‘year)               the State’’ and adding in its place ‘‘areas
                                                Air pollution control, Electric power
                                                                                                        for sources meeting the applicability                  of Indian country within the borders of
                                                plants, Nitrogen oxides, Ozone,
                                                                                                        criteria set forth in those subparts,                  the State not subject to the State’s SIP
                                                Particulate matter, Reporting and
                                                                                                        except’’;                                              authority’’;
                                                recordkeeping requirements, Sulfur                      ■ k. Redesignating paragraphs (b)(2)(i)
                                                dioxide.                                                                                                       ■ gg. Revising paragraph (b)(9)(vii);
                                                                                                        and (ii)as paragraphs (b)(2)(i)(A) and (B),            ■ hh. In paragraph (b)(9)(viii), removing
                                                Michael Regan,                                          respectively, redesignating paragraphs                 ‘‘(b)(9)(i), (ii), or (iii)’’ and adding in its
                                                Administrator.                                          (b)(2)(iii) and (iv) as paragraphs                     place ‘‘(b)(9)(i) or (iii)’’;
                                                   For the reasons stated in the                        (b)(2)(ii)(A) and (B), respectively, and               ■ ii. Revising paragraphs (b)(10)
                                                preamble, parts 52, 75, 78, and 97 of                   redesignating paragraph (b)(2)(v) as                   introductory text, (b)(10)(i) and (ii),
                                                title 40 of the Code of Federal                         paragraph (b)(2)(iii)(A);                              (b)(10)(v)(A) and (B), (b)(11)
                                                Regulations are proposed to be amended                  ■ l. In newly redesignated paragraph                   introductory text, (b)(11)(iii)
                                                as follows:                                             (b)(2)(ii)(A), removing ‘‘Alabama,                     introductory text, (b)(11)(iii)(A)
                                                                                                        Arkansas, Iowa, Kansas, Mississippi,                   introductory text, and (b)(11)(iii)(B);
                                                PART 52—APPROVAL AND                                    Missouri, Oklahoma, Tennessee, Texas,                  ■ jj. Removing and reserving paragraph
                                                PROMULGATION OF                                         and Wisconsin.’’ and adding in its place               (b)(11)(iii)(C);
                                                IMPLEMENTATION PLANS                                    ‘‘Iowa and Kansas.’’;                                  ■ kk. Revising paragraph (b)(11)(iii)(D);
                                                                                                        ■ m. Adding paragraphs (b)(2)(ii)(C) and               ■ ll. In paragraph (b)(11)(iv), removing
                                                ■ 1. The authority citation for part 52                 (b)(2)(iii)(B) and (C);                                ‘‘paragraphs (b)(11)(iii)(B) and (C)’’ and
                                                continues to read as follows:                           ■ n. In paragraph (b)(3) introductory                  adding in its place ‘‘paragraph
                                                   Authority: 42 U.S.C. 7401 et seq.                    text, removing ‘‘or (ii)’’;                            (b)(11)(iii)(B)’’;
                                                                                                        ■ o. Revising paragraph (b)(4)                         ■ mm. Revising paragraphs (b)(12)
                                                Subpart A—General Provisions                            introductory text;                                     introductory text, (b)(12)(iii)
                                                                                                        ■ p. In table 3 to paragraph (b)(4)(ii)(B),            introductory text, (b)(12)(iii)(A)
                                                ■ 2. Amend § 52.38 by:                                  revising the entry for ‘‘2025 and any                  introductory text, and (b)(12)(iii)(B);
                                                ■ a. In paragraph (a)(1), removing
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                                                                                                        year thereafter’’;                                     ■ nn. Removing and reserving
                                                ‘‘(NOX), except’’ and adding in its place               ■ q. Revising paragraph (b)(5)                         paragraph (b)(12)(iii)(C);
                                                ‘‘(NOX) for sources meeting the                         introductory text;                                     ■ oo. Revising paragraphs (b)(12)(iii)(D)
                                                applicability criteria set forth in that                ■ r. In table 4 to paragraph (b)(5)(ii)(B),            and (b)(12)(vi) and (vii);
                                                subpart, except’’;                                      revising the entry for ‘‘2025 and any                  ■ pp. In paragraph (b)(12)(viii),
                                                ■ b. In paragraph (a)(4) introductory                   year thereafter’’;                                     removing ‘‘paragraphs (b)(12)(iii)(B) and
                                                text, removing ‘‘State’s sources, and’’                 ■ s. In paragraph (b)(5)(v), removing                  (C)’’ and adding in its place ‘‘paragraph
                                                and adding in its place ‘‘State, and’’;                 ‘‘Indian country within the borders of                 (b)(12)(iii)(B)’’;


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                                                ■ qq. Revising paragraphs (b)(13)                         and adding in its place ‘‘(b)(2)(ii)(B) of                paragraph, removing ‘‘(b)(2)(iv)’’ and
                                                introductory text and (b)(13)(i);                         this section);’’;                                         adding in its place ‘‘(b)(2)(ii)(B)’’;
                                                ■ rr. In paragraph (b)(13)(ii), removing                  ■ xx. Adding paragraphs (b)(14)(iii)(F)                   ■ ccc. Adding paragraph (b)(16)(ii)(B);
                                                ‘‘(b)(9)(ii) or’’;                                        and (G);                                                  and
                                                                                                          ■ yy. In paragraph (b)(15)(iii), removing                 ■ ddd. Revising paragraphs (b)(17)(i)
                                                ■ ss. In paragraph (b)(14)(i)(F), removing
                                                ‘‘§ 97.825(b)’’ and adding in its place                   ‘‘State (but not sources in any Indian                    through (iii).
                                                ‘‘§§ 97.806(c)(2) and (3) and 97.825(b)’’;                country within the borders of the                           The revisions and additions read as
                                                                                                          State):’’ and adding in its place ‘‘State                 follows:
                                                ■ tt. In paragraph (b)(14)(i)(G), removing
                                                                                                          and areas of Indian country within the
                                                ‘‘§ 97.826(e)’’ and adding in its place                                                                             § 52.38 What are the requirements of the
                                                                                                          borders of the State subject to the State’s
                                                ‘‘§ 97.826(f)’’;                                                                                                    Federal Implementation Plans (FIPs) for the
                                                                                                          SIP authority:’’;
                                                ■ uu. Revising paragraphs (b)(14)(ii) and                 ■ zz. In paragraph (b)(16)(i)(B),                         Cross-State Air Pollution Rule (CSAPR)
                                                (b)(14)(iii) introductory text;                           removing ‘‘§ 97.804(a) and (b) or’’;                      relating to emissions of nitrogen oxides?
                                                ■ vv. In paragraph (b)(14)(iii)(D),                       ■ aaa. Revising paragraph (b)(16)(i)(C);                     (a) * * *
                                                removing ‘‘and’’ after the semicolon;                     ■ bbb. Redesignating paragraph                               (4) * * *
                                                ■ ww. In paragraph (b)(14)(iii)(E),                       (b)(16)(ii) as paragraph (b)(16)(ii)(A),                     (i) * * *
                                                removing ‘‘(b)(2)(iv) of this section).’’                 and in the newly redesignated                                (B) * * *

                                                                                                            TABLE 1 TO PARAGRAPH (a)(4)(i)(B)
                                                    Year of the control period for which CSAPR NOX annual allowances                             Deadline for submission of allocations or auction results
                                                                         are allocated or auctioned                                                               to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *       *     *       *       *                                (B) * * *
                                                    (5) * * *
                                                    (i) * * *

                                                                                                            TABLE 2 TO PARAGRAPH (a)(5)(i)(B)
                                                    Year of the control period for which CSAPR NOX annual allowances                             Deadline for submission of allocations or auction results
                                                                         are allocated or auctioned                                                               to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *      *    *      *     *                                State to address interstate air pollution,                  (2) * * *
                                                   (6) Withdrawal of CSAPR FIP                            the SIP revision likewise will constitute                   (ii) * * *
                                                provisions relating to NOX annual                         a partial rather than full remedy for the                   (C) The provisions of subpart EEEEE
                                                emissions. Except as provided in                          State’s obligation unless provided                        of part 97 of this chapter apply to
                                                paragraph (a)(7) of this section,                         otherwise in the Administrator’s                          sources in each of the following States
                                                following promulgation of an approval                     approval of the SIP revision.                             and Indian country located within the
                                                by the Administrator of a State’s SIP                        (7) * * *                                              borders of such States with regard to
                                                revision as correcting the SIP’s                             (ii) Notwithstanding the provisions of                 emissions occurring in 2017 through
                                                deficiency that is the basis for the                      paragraph (a)(6) of this section, if, at the              2022 only, except as provided in
                                                CSAPR Federal Implementation Plan set                     time of any approval of a State’s SIP                     paragraph (b)(14)(iii) of this section:
                                                forth in paragraphs (a)(1), (a)(2)(i), and                revision under this section, the                          Alabama, Arkansas, Mississippi,
                                                (a)(3) and (4) of this section for sources                Administrator has already started                         Missouri, Oklahoma, Tennessee, Texas,
                                                in the State and Indian country within                    recording any allocations of CSAPR                        and Wisconsin.
                                                the borders of the State, the provisions                  NOX Annual allowances under subpart                         (iii) * * *
                                                of paragraph (a)(2)(i) of this section will               AAAAA of part 97 of this chapter to                         (B) The provisions of subpart GGGGG
                                                no longer apply to sources in the State                   units in the State and areas of Indian                    of part 97 of this chapter apply to
                                                and areas of Indian country within the                    country within the borders of the State                   sources in each of the following States
                                                borders of the State subject to the State’s               subject to the State’s SIP authority for a                and Indian country located within the
                                                SIP authority, unless the                                 control period in any year, the                           borders of such States with regard to
                                                Administrator’s approval of the SIP                       provisions of such subpart authorizing                    emissions occurring in 2023 and each
                                                revision is partial or conditional, and                   the Administrator to complete the                         subsequent year: Alabama, Arkansas,
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                                                will continue to apply to sources in                      allocation and recordation of such                        Mississippi, Missouri, Oklahoma,
                                                areas of Indian country within the                        allowances to such units for each such                    Tennessee, Texas, and Wisconsin.
                                                borders of the State not subject to the                   control period shall continue to apply,                     (C) The provisions of subpart GGGGG
                                                State’s SIP authority, provided that if                   unless provided otherwise by such                         of part 97 of this chapter apply to
                                                the CSAPR Federal Implementation                          approval of the State’s SIP revision.                     sources in each of the following States
                                                Plan was promulgated as a partial rather                  *       *   *     *     *                                 and Indian country located within the
                                                than full remedy for an obligation of the                    (b) * * *                                              borders of such States with regard to


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                                                emissions occurring on and after                            (4) Abbreviated SIP revisions                           provisions of subpart BBBBB of part 97
                                                [EFFECTIVE DATE OF FINAL RULE]                            replacing certain provisions of the                       of this chapter for the State, and not
                                                and in each subsequent year: Delaware,                    federal CSAPR NOX Ozone Season                            substantively replacing any other
                                                Minnesota, Nevada, Utah, and                              Group 1 Trading Program. A State listed                   provisions, as follows:
                                                Wyoming.                                                  in paragraph (b)(2)(i)(A) of this section                 *      *   *      *     *
                                                *    *     *    *    *                                    may adopt and include in a SIP
                                                                                                          revision, and the Administrator will                        (ii) * * *
                                                                                                          approve, regulations replacing specified                    (B) * * *

                                                                                                            TABLE 3 TO PARAGRAPH (b)(4)(ii)(B)
                                                 Year of the control period for which CSAPR NOX ozone season Group                               Deadline for submission of allocations or auction results
                                                                1 allowances are allocated or auctioned                                                           to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *     *     *     *    *                                  the SIP that is the basis for the CSAPR                   identical to the provisions of the CSAPR
                                                  (5) Full SIP revisions adopting State                   Federal Implementation Plan set forth in                  NOX Ozone Season Group 1 Trading
                                                CSAPR NOX Ozone Season Group 1                            paragraphs (b)(1), (b)(2)(i), and (b)(3)                  Program set forth in §§ 97.502 through
                                                Trading Programs. A State listed in                       and (4) of this section with regard to                    97.535 of this chapter, except that the
                                                paragraph (b)(2)(i)(A) of this section                    sources in the State and areas of Indian                  SIP revision:
                                                may adopt and include in a SIP                            country within the borders of the State                   *      *    *     *    *
                                                revision, and the Administrator will                      subject to the State’s SIP authority,                       (ii) * * *
                                                approve, as correcting the deficiency in                  regulations that are substantively                          (B) * * *

                                                                                                            TABLE 4 TO PARAGRAPH (b)(5)(ii)(B)
                                                 Year of the control period for which CSAPR NOX ozone season Group                               Deadline for submission of allocations or auction results
                                                                1 allowances are allocated or auctioned                                                           to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *     *    *      *     *                                 substantively replacing any other                         §§ 97.810(a) and 97.821 of this chapter
                                                  (8) Abbreviated SIP revisions                           provisions, as follows:                                   for the State and such control period, of
                                                replacing certain provisions of the                       *       *    *   *     *                                  the CSAPR NOX Ozone Season Group 2
                                                federal CSAPR NOX Ozone Season                                                                                      trading budget minus the sum of the
                                                Group 2 Trading Program. A State listed                      (iii) * * *
                                                                                                                                                                    Indian country new unit set-aside and
                                                in paragraph (b)(2)(ii) of this section                      (A) Requires the State or the                          the amount of any CSAPR NOX Ozone
                                                may adopt and include in a SIP                            permitting authority to allocate and, if                  Season Group 2 allowances already
                                                revision, and the Administrator will                      applicable, auction a total amount of                     allocated and recorded by the
                                                approve, regulations replacing specified                  CSAPR NOX Ozone Season Group 2
                                                                                                                                                                    Administrator;
                                                provisions of subpart EEEEE of part 97                    allowances for any such control period
                                                of this chapter for the State, and not                    not exceeding the amount, under                              (B) * * *

                                                                                                           TABLE 5 TO PARAGRAPH (b)(8)(iii)(B)
                                                 Year of the control period for which CSAPR NOX ozone season Group                               Deadline for submission of allocations or auction results
                                                                2 allowances are allocated or auctioned                                                           to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *      *     *     *    *                                 paragraphs (b)(1), (b)(2)(ii), and (b)(7)                 97.835 of this chapter, except that the
                                                   (9) Full SIP revisions adopting State                  and (8) of this section with regard to                    SIP revision:
                                                CSAPR NOX Ozone Season Group 2                            sources in the State and areas of Indian                  *       *    *   *     *
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                                                Trading Programs. A State listed in                       country within the borders of the State                      (iii) * * *
                                                paragraph (b)(2)(ii) of this section may                  subject to the State’s SIP authority,                        (A) Requires the State or the
                                                adopt and include in a SIP revision, and                  regulations that are substantively                        permitting authority to allocate and, if
                                                the Administrator will approve, as                        identical to the provisions of the CSAPR                  applicable, auction a total amount of
                                                correcting the deficiency in the SIP that                 NOX Ozone Season Group 2 Trading                          CSAPR NOX Ozone Season Group 2
                                                is the basis for the CSAPR Federal                        Program set forth in §§ 97.802 through                    allowances for any such control period
                                                Implementation Plan set forth in                                                                                    not exceeding the amount, under


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                                                §§ 97.810(a) and 97.821 of this chapter                   Indian country new unit set-aside and                     allocated and recorded by the
                                                for the State and such control period, of                 the amount of any CSAPR NOX Ozone                         Administrator;
                                                the CSAPR NOX Ozone Season Group 2                        Season Group 2 allowances already                            (B) * * *
                                                trading budget minus the sum of the

                                                                                                           TABLE 6 TO PARAGRAPH (b)(9)(iii)(B)
                                                 Year of the control period for which CSAPR NOX ozone season Group                               Deadline for submission of allocations or auction results
                                                                2 allowances are allocated or auctioned                                                           to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *       *     *    *     *                                and Indian country existing unit set-                     for the State and such control period, of
                                                   (vii) Provided that, if and when any                   aside;                                                    the CSAPR NOX Ozone Season Group 3
                                                covered unit is located in areas of                       *       *    *     *    *                                 trading budget minus the sum of the
                                                Indian country within the borders of the                     (v) * * *                                              new unit set-aside, the Indian country
                                                State not subject to the State’s SIP                         (A) By [EFFECTIVE DATE OF FINAL                        existing unit set-aside, and the amount
                                                authority, the Administrator may                          RULE], the State must notify the                          of any CSAPR NOX Ozone Season
                                                modify his or her approval of the SIP                     Administrator electronically in a format                  Group 3 allowances already allocated
                                                revision to exclude the provisions in                     specified by the Administrator of the                     and recorded by the Administrator,
                                                §§ 97.802 (definitions of ‘‘common                        State’s intent to submit to the                           plus, if the State adopts regulations
                                                designated representative’’, ‘‘common                     Administrator a complete SIP revision                     expanding applicability to additional
                                                designated representative’s assurance                     meeting the requirements of paragraphs                    units pursuant to paragraph (b)(11)(ii) of
                                                level’’, and ‘‘common designated                          (b)(10)(i) through (iv) of this section by                this section, an additional amount of
                                                representative’s share’’), 97.806(c)(2),                  September 1, 2023; and                                    CSAPR NOX Ozone Season Group 3
                                                and 97.825 of this chapter and the                           (B) The State must submit to the                       allowances not exceeding the lesser of:
                                                portions of other provisions of subpart                   Administrator a complete SIP revision                     *      *     *     *    *
                                                EEEEE of part 97 of this chapter                          described in paragraph (b)(10)(v)(A) of                      (B) Requires, to the extent the State
                                                referencing these sections and may                        this section by September 1, 2023.                        adopts provisions for allocations or
                                                modify any portion of the CSAPR                              (11) Abbreviated SIP revisions                         auctions of CSAPR NOX Ozone Season
                                                Federal Implementation Plan that is not                   replacing certain provisions of the                       Group 3 allowances for any such control
                                                replaced by the SIP revision to include                   federal CSAPR NOX Ozone Season                            period to any CSAPR NOX Ozone
                                                these provisions; and                                     Group 3 Trading Program. A State listed                   Season Group 3 units covered by
                                                *       *     *    *     *                                in paragraph (b)(2)(iii) of this section                  § 97.1011(a)(1) of this chapter, that the
                                                   (10) State-determined allocations of                   may adopt and include in a SIP                            State or the permitting authority submit
                                                CSAPR NOX Ozone Season Group 3                            revision, and the Administrator will                      such allocations or the results of such
                                                allowances for 2024. A State listed in                    approve, regulations replacing specified                  auctions for such control period (except
                                                paragraph (b)(2)(iii) of this section may                 provisions of subpart GGGGG of part 97                    allocations or results of auctions to such
                                                adopt and include in a SIP revision, and                  of this chapter for the State, and not                    units of CSAPR NOX Ozone Season
                                                the Administrator will approve, as                        substantively replacing any other                         Group 3 allowances remaining in a set-
                                                CSAPR NOX Ozone Season Group 3                            provisions, as follows:                                   aside after completion of the allocations
                                                allowance allocation provisions                           *       *    *     *    *                                 or auctions for which the set-aside was
                                                replacing the provisions in                                  (iii) The State may adopt, as CSAPR                    created) to the Administrator by June 1
                                                § 97.1011(a)(1) of this chapter with                      NOX Ozone Season Group 3 allowance                        of the year before the year of such
                                                regard to the State and the control                       allocation or auction provisions                          control period; and
                                                period in 2024, a list of CSAPR NOX                       replacing the provisions in                               *      *     *     *    *
                                                Ozone Season Group 3 units and the                        § 97.1011(a)(1) of this chapter with                         (D) Does not provide for any change,
                                                amount of CSAPR NOX Ozone Season                          regard to the State and the control                       after the submission deadlines in
                                                Group 3 allowances allocated to each                      period in 2025 or any subsequent year,                    paragraph (b)(11)(iii)(B) of this section,
                                                unit on such list, provided that the list                 any methodology under which the State                     in the allocations submitted to the
                                                of units and allocations meets the                        or the permitting authority allocates or                  Administrator by such deadlines and
                                                following requirements:                                   auctions CSAPR NOX Ozone Season                           does not provide for any change in any
                                                   (i) All of the units on the list must be               Group 3 allowances and may adopt, in                      allocation determined and recorded by
                                                units that are in the State and areas of                  addition to the definitions in § 97.1002                  the Administrator under subpart
                                                Indian country within the borders of the                  of this chapter, one or more definitions                  GGGGG of part 97 of this chapter or
                                                State subject to the State’s SIP authority                that shall apply only to terms as used in                 § 97.526(d) or § 97.826(d) or (e) of this
                                                and that commenced commercial                             the adopted CSAPR NOX Ozone Season                        chapter;
                                                operation before January 1, 2021;                         Group 3 allowance allocation or auction                   *      *     *     *    *
                                                   (ii) The total amount of CSAPR NOX                                                                                  (12) Full SIP revisions adopting State
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                                                                                                          provisions, if such methodology—
                                                Ozone Season Group 3 allowance                               (A) Requires the State or the                          CSAPR NOX Ozone Season Group 3
                                                allocations on the list must not exceed                   permitting authority to allocate and, if                  Trading Programs. A State listed in
                                                the amount, under § 97.1010 of this                       applicable, auction a total amount of                     paragraph (b)(2)(iii) of this section may
                                                chapter for the State and the control                     CSAPR NOX Ozone Season Group 3                            adopt and include in a SIP revision, and
                                                period in 2024, of the CSAPR NOX                          allowances for any such control period                    the Administrator will approve, as
                                                Ozone Season Group 3 trading budget                       not exceeding the amount, under                           correcting the deficiency in the SIP that
                                                minus the sum of the new unit set-aside                   §§ 97.1010 and 97.1021 of this chapter                    is the basis for the CSAPR Federal


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                                                Implementation Plan set forth in                        Administrator by such deadlines and                    country within the borders of the State
                                                paragraphs (b)(1), (b)(2)(iii), and (b)(10)             does not provide for any change in any                 subject to the State’s SIP authority—
                                                and (11) of this section with regard to                 allocation determined and recorded by                     (i) Except as provided in paragraph
                                                sources in the State and areas of Indian                the Administrator under subpart                        (b)(14) of this section, the provisions of
                                                country within the borders of the State                 GGGGG of part 97 of this chapter or                    paragraph (b)(2)(i), (ii), or (iii) of this
                                                subject to the State’s SIP authority,                   § 97.526(d) or § 97.826(d) or (e) of this              section, as applicable, will no longer
                                                regulations that are substantively                      chapter;                                               apply to sources in the State and areas
                                                identical to the provisions of the CSAPR                *      *     *       *    *                            of Indian country within the borders of
                                                NOX Ozone Season Group 3 Trading                           (vi) Must not include any of the                    the State subject to the State’s SIP
                                                Program set forth in §§ 97.1002 through                 requirements imposed on any unit in                    authority, unless the Administrator’s
                                                97.1035 of this chapter, except that the                areas of Indian country within the                     approval of the SIP revision is partial or
                                                SIP revision:                                           borders of the State not subject to the                conditional, and will continue to apply
                                                *       *    *    *     *                               State’s SIP authority in the provisions in             to sources in areas of Indian country
                                                   (iii) May adopt, as CSAPR NOX Ozone                  §§ 97.1002 through 97.1035 of this                     within the borders of the State not
                                                Season Group 3 allowance allocation                     chapter and must not include the                       subject to the State’s SIP authority,
                                                provisions replacing the provisions in                  provisions in §§ 97.1011(a)(2), 97.1012,               provided that if the CSAPR Federal
                                                § 97.1011(a)(1) of this chapter with                    and 97.1021(g) through (j) of this                     Implementation Plan was promulgated
                                                regard to the State and the control                     chapter, all of which provisions will                  as a partial rather than full remedy for
                                                period in 2025 or any subsequent year,                  continue to apply under the portion of                 an obligation of the State to address
                                                any methodology under which the State                   the CSAPR Federal Implementation                       interstate air pollution, the SIP revision
                                                or the permitting authority allocates or                Plan that is not replaced by the SIP                   likewise will constitute a partial rather
                                                auctions CSAPR NOX Ozone Season                         revision;                                              than full remedy for the State’s
                                                Group 3 allowances and that—                               (vii) Provided that, if any covered unit            obligation unless provided otherwise in
                                                   (A) Requires the State or the                        is located in areas of Indian country                  the Administrator’s approval of the SIP
                                                permitting authority to allocate and, if                within the borders of the State not                    revision; and
                                                applicable, auction a total amount of                   subject to the State’s SIP authority                   *       *    *     *      *
                                                CSAPR NOX Ozone Season Group 3                          before the Administrator’s approval of                    (14) * * *
                                                allowances for any such control period                  the SIP revision, the SIP revision must                   (ii) Notwithstanding the provisions of
                                                not exceeding the amount, under                         exclude the provisions in §§ 97.1002                   paragraph (b)(13)(i) of this section, if, at
                                                §§ 97.1010 and 97.1021 of this chapter                  (definitions of ‘‘base CSAPR NOX Ozone                 the time of any approval of a State’s SIP
                                                for the State and such control period, of               Season Group 3 source’’, ‘‘base CSAPR                  revision under this section, the
                                                the CSAPR NOX Ozone Season Group 3                      NOX Ozone Season Group 3 unit’’,                       Administrator has already started
                                                trading budget minus the sum of the                     ‘‘common designated representative’’,                  recording any allocations of CSAPR
                                                new unit set-aside, the Indian country                  ‘‘common designated representative’s                   NOX Ozone Season Group 1 allowances
                                                existing unit set-aside, and the amount                 assurance level’’, and ‘‘common                        under subpart BBBBB of part 97 of this
                                                of any CSAPR NOX Ozone Season                           designated representative’s share’’),                  chapter, or allocations of CSAPR NOX
                                                Group 3 allowances already allocated                    97.1006(c)(2), and 97.1025 of this                     Ozone Season Group 2 allowances
                                                and recorded by the Administrator,                      chapter and the portions of other                      under subpart EEEEE of part 97 of this
                                                plus, if the State adopts regulations                   provisions of subpart GGGGG of part 97                 chapter, or allocations of CSAPR NOX
                                                expanding applicability to additional                   of this chapter referencing these                      Ozone Season Group 3 allowances
                                                units pursuant to paragraph (b)(12)(ii) of              sections, and further provided that, if                under subpart GGGGG of part 97 of this
                                                this section, an additional amount of                   and when any covered unit is located in                chapter, to units in the State and areas
                                                CSAPR NOX Ozone Season Group 3                          areas of Indian country within the                     of Indian country within the borders of
                                                allowances not exceeding the lesser of:                 borders of the State not subject to the                the State subject to the State’s SIP
                                                *       *    *    *     *                               State’s SIP authority after the                        authority for a control period in any
                                                   (B) Requires, to the extent the State                Administrator’s approval of the SIP                    year, the provisions of such subpart
                                                adopts provisions for allocations or                    revision, the Administrator may modify                 authorizing the Administrator to
                                                auctions of CSAPR NOX Ozone Season                      his or her approval of the SIP revision                complete the allocation and recordation
                                                Group 3 allowances for any such control                 to exclude these provisions and may                    of such allowances to such units for
                                                period to any CSAPR NOX Ozone                           modify any portion of the CSAPR                        each such control period shall continue
                                                Season Group 3 units covered by                         Federal Implementation Plan that is not                to apply, unless provided otherwise by
                                                § 97.1011(a)(1) of this chapter, that the               replaced by the SIP revision to include                such approval of the State’s SIP
                                                State or the permitting authority submit                these provisions; and                                  revision.
                                                such allocations or the results of such                 *      *     *       *    *                               (iii) Notwithstanding any
                                                auctions for such control period (except                   (13) Withdrawal of CSAPR FIP                        discontinuation of the applicability of
                                                allocations or results of auctions to such              provisions relating to NOX ozone season                subpart BBBBB or EEEEE of part 97 of
                                                units of CSAPR NOX Ozone Season                         emissions; satisfaction of NOX SIP Call                this chapter to the sources in a State and
                                                Group 3 allowances remaining in a set-                  requirements. Following promulgation                   areas of Indian country within the
                                                aside after completion of the allocations               of an approval by the Administrator of                 borders of the State subject to the State’s
                                                or auctions for which the set-aside was                 a State’s SIP revision as correcting the               SIP authority with regard to emissions
                                                created) to the Administrator by June 1                 SIP’s deficiency that is the basis for the             occurring in any control period
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                                                of the year before the year of such                     CSAPR Federal Implementation Plan set                  pursuant to paragraph (b)(2)(i)(B),
                                                control period; and                                     forth in paragraphs (b)(1), (b)(2)(i), and             (b)(2)(ii)(B) or (C), or (b)(13)(i) of this
                                                *       *    *    *     *                               (b)(3) and (4) of this section, paragraphs             section, the following provisions shall
                                                   (D) Does not provide for any change,                 (b)(1), (b)(2)(ii), and (b)(7) and (8) of this         continue to apply with regard to all
                                                after the submission deadlines in                       section, or paragraphs (b)(1), (b)(2)(iii),            CSAPR NOX Ozone Season Group 1
                                                paragraph (b)(12)(iii)(B) of this section,              and (b)(10) and (11) of this section for               allowances and CSAPR NOX Ozone
                                                in the allocations submitted to the                     sources in the State and areas of Indian               Season Group 2 allowances at any time


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                                                allocated for any control period to any                   revision under paragraph (b)(10) of this                  of Indian country within the borders of
                                                source or other entity in the State and                   section as replacing the CSAPR NOX                        the State not subject to the State’s SIP
                                                shall apply to all entities, wherever                     Ozone Season Group 3 allowance                            authority’’;
                                                located, that at any time held or hold                    allocation provisions in § 97.1011(a)(1)                  ■ g. In paragraph (f)(5), removing
                                                such allowances:                                          of this chapter with regard to the State                  ‘‘Indian country within the borders of
                                                *       *    *     *     *                                and the control period in 2024: [none].                   the State, the’’ and adding in its place
                                                   (F) The provisions of § 97.826(e) of                      (ii) For each of the following States,                 ‘‘areas of Indian country within the
                                                this chapter (concerning the conversion                   the Administrator has approved a SIP                      borders of the State not subject to the
                                                of amounts of unused CSAPR NOX                            revision under paragraph (b)(11) of this                  State’s SIP authority, the’’;
                                                Ozone Season Group 2 allowances                           section as replacing the CSAPR NOX                        ■ h. In paragraph (h) introductory text,
                                                allocated for control periods before 2023                 Ozone Season Group 3 applicability                        removing ‘‘State’s sources, and’’ and
                                                to different amounts of CSAPR NOX                         provisions in § 97.1004(a) and (b) or                     adding in its place ‘‘State, and’’;
                                                Ozone Season Group 3 allowances); and                     § 97.1004(a)(1) and (2) of this chapter or                ■ i. In table 3 to paragraph (h)(1)(ii),
                                                   (G) The provisions of § 97.811(e) of                   the CSAPR NOX Ozone Season Group 2                        revising the entry for ‘‘2025 and any
                                                this chapter (concerning the recall of                    allowance allocation provisions in                        year thereafter’’;
                                                CSAPR NOX Ozone Season Group 2                            § 97.1011(a)(1) of this chapter with                      ■ j. In paragraph (i) introductory text,
                                                allowances equivalent in quantity and                     regard to the State and the control                       removing ‘‘State (but not sources in any
                                                usability to all CSAPR NOX Ozone                          period in 2025 or any subsequent year:                    Indian country within the borders of the
                                                Season Group 2 allowances allocated for                   [none].                                                   State), regulations’’ and adding in its
                                                control periods after 2022 and recorded                      (iii) For each of the following States,                place ‘‘State and areas of Indian country
                                                in the compliance accounts of sources                     the Administrator has approved a SIP                      within the borders of the State subject
                                                in States listed in paragraph (b)(2)(ii)(C)               revision under paragraph (b)(12) of this                  to the State’s SIP authority,
                                                of this section).                                         section as correcting the SIP’s                           regulations’’;
                                                *       *    *     *     *                                deficiency that is the basis for the                      ■ k. In table 4 to paragraph (i)(1)(ii),
                                                   (16) * * *                                             CSAPR Federal Implementation Plan set                     revising the entry for ‘‘2025 and any
                                                   (i) * * *                                              forth in paragraphs (b)(1), (b)(2)(iii), and              year thereafter’’;
                                                   (C) For each of the following States,                  (b)(10) and (11) of this section with                     ■ l. In paragraph (i)(4), removing
                                                the Administrator has approved a SIP                      regard to sources in the State and areas                  ‘‘Indian country within the borders of
                                                revision under paragraph (b)(9) of this                   of Indian country within the borders of                   the State’’ and adding in its place ‘‘areas
                                                section as correcting the SIP’s                           the State subject to the State’s SIP                      of Indian country within the borders of
                                                deficiency that is the basis for the                      authority: [none].                                        the State not subject to the State’s SIP
                                                CSAPR Federal Implementation Plan set                     ■ 3. Amend § 52.39 by:                                    authority’’;
                                                forth in paragraphs (b)(1), (b)(2)(ii), and               ■ a. In paragraph (a), removing ‘‘(SO2),                  ■ m. In paragraph (i)(5), removing
                                                (b)(7) and (8) of this section with regard                except’’ and adding in its place ‘‘(SO2)                  ‘‘Indian country within the borders of
                                                to sources in the State and areas of                      for sources meeting the applicability                     the State, the’’ and adding in its place
                                                Indian country within the borders of the                  criteria set forth in those subparts,                     ‘‘areas of Indian country within the
                                                State subject to the State’s SIP authority:               except’’;                                                 borders of the State not subject to the
                                                Alabama, Indiana, and Missouri.                           ■ b. In paragraph (e) introductory text,                  State’s SIP authority, the’’;
                                                   (ii) * * *                                             removing ‘‘State’s sources, and’’ and                     ■ n. Revising paragraphs (j) and (k)(2);
                                                   (B) Notwithstanding any provision of                   adding in its place ‘‘State, and’’;                       and
                                                subpart EEEEE of part 97 of this chapter                  ■ c. In table 1 to paragraph (e)(1)(ii),
                                                                                                                                                                    ■ o. In paragraphs (l)(3) and (m)(3),
                                                or any State’s SIP, with regard to any                    revising the entry for ‘‘2025 and any                     removing ‘‘State (but not sources in any
                                                State listed in paragraph (b)(2)(ii)(C) of                year thereafter’’;                                        Indian country within the borders of the
                                                this section and any control period that                  ■ d. In paragraph (f) introductory text,
                                                                                                                                                                    State):’’ and adding in its place ‘‘State
                                                begins after December 31, 2022, the                       removing ‘‘State (but not sources in any                  and areas of Indian country within the
                                                Administrator will not carry out any of                   Indian country within the borders of the                  borders of the State subject to the State’s
                                                the functions set forth for the                           State), regulations’’ and adding in its                   SIP authority:’’.
                                                Administrator in subpart EEEEE of part                    place ‘‘State and areas of Indian country                    The revisions read as follows:
                                                97 of this chapter, except §§ 97.811(e)                   within the borders of the State subject
                                                and 97.826(c) and (e) of this chapter, or                 to the State’s SIP authority,                             § 52.39 What are the requirements of the
                                                in any emissions trading program                          regulations’’;                                            Federal Implementation Plans (FIPs) for the
                                                provisions in a State’s SIP approved                      ■ e. In table 2 to paragraph (f)(1)(ii),                  Cross-State Air Pollution Rule (CSAPR)
                                                under paragraph (b)(8) or (9) of this                     revising the entry for ‘‘2025 and any                     relating to emissions of sulfur dioxide?
                                                section.                                                  year thereafter’’;                                        *        *   *         *       *
                                                   (17) * * *                                             ■ f. In paragraph (f)(4), removing                            (e) * * *
                                                   (i) For each of the following States,                  ‘‘Indian country within the borders of                        (1) * * *
                                                the Administrator has approved a SIP                      the State’’ and adding in its place ‘‘areas                   (ii) * * *

                                                                                                               TABLE 1 TO PARAGRAPH (e)(1)(ii)
                                                 Year of the control period for which CSAPR SO2 Group 1 allowances                               Deadline for submission of allocations or auction results
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                                                                       are allocated or auctioned                                                                 to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.




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                                                *       *     *       *       *                                (ii) * * *
                                                    (f) * * *
                                                    (i) * * *

                                                                                                                TABLE 2 TO PARAGRAPH (f)(1)(ii)
                                                 Year of the control period for which CSAPR SO2 Group 1 allowances                               Deadline for submission of allocations or auction results
                                                                       are allocated or auctioned                                                                 to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *       *    *        *       *                                (ii) * * *
                                                    (h) * * *
                                                    (1) * * *

                                                                                                               TABLE 3 TO PARAGRAPH (h)(1)(ii)
                                                 Year of the control period for which CSAPR SO2 Group 2 allowances                               Deadline for submission of allocations or auction results
                                                                       are allocated or auctioned                                                                 to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *       *     *       *       *                                (ii) * * *
                                                    (i) * * *
                                                    (1) * * *

                                                                                                                TABLE 4 TO PARAGRAPH (i)(1)(ii)
                                                 Year of the control period for which CSAPR SO2 Group 2 allowances                               Deadline for submission of allocations or auction results
                                                                       are allocated or auctioned                                                                 to the Administrator


                                                        *                    *                                 *                                *                   *                    *                   *
                                                2025 and any year thereafter ................................................................... June 1 of the year before the year of the control period.



                                                *      *    *      *     *                                State to address interstate air pollution,                such approval of the State’s SIP
                                                   (j) Withdrawal of CSAPR FIP                            the SIP revision likewise will constitute                 revision.
                                                provisions relating to SO2 emissions.                     a partial rather than full remedy for the                 *     *     *   *     *
                                                Except as provided in paragraph (k) of                    State’s obligation unless provided                        ■ 4. Add §§ 52.40 through 52.45 to read
                                                this section, following promulgation of                   otherwise in the Administrator’s                          as follows:
                                                an approval by the Administrator of a                     approval of the SIP revision.
                                                                                                                                                                    *     *     *   *     *
                                                State’s SIP revision as correcting the                       (k) * * *                                              Sec.
                                                SIP’s deficiency that is the basis for the                                                                          52.40 What are the requirements of the
                                                                                                             (2) Notwithstanding the provisions of
                                                CSAPR Federal Implementation Plan set                                                                                    Federal Implementation Plans (FIPs)
                                                forth in paragraphs (a), (b), (d), and (e)                paragraph (j) of this section, if, at the                      relating to ozone season emissions of
                                                of this section or paragraphs (a), (c)(1),                time of any approval of a State’s SIP                          nitrogen oxides from sources not subject
                                                (g), and (h) of this section for sources in               revision under this section, the                               to the CSAPR ozone season trading
                                                the State and Indian country within the                   Administrator has already started                              program?
                                                borders of the State, the provisions of                   recording any allocations of CSAPR SO2                    52.41 What are the requirements of the
                                                                                                          Group 1 allowances under subpart                               Federal Implementation Plans (FIPs)
                                                paragraph (b) or (c)(1) of this section, as                                                                              relating to ozone season emissions of
                                                applicable, will no longer apply to                       CCCCC of part 97 of this chapter, or
                                                                                                                                                                         nitrogen oxides from the Pipeline
                                                sources in the State and areas of Indian                  allocations of CSAPR SO2 Group 2                               Transportation of Natural Gas Industry?
                                                country within the borders of the State                   allowances under subpart DDDDD of                         52.42 What are the requirements of the
                                                subject to the State’s SIP authority,                     part 97 of this chapter, to units in the                       Federal Implementation Plans (FIPs)
                                                unless the Administrator’s approval of                    State and areas of Indian country within                       relating to ozone season emissions of
                                                the SIP revision is partial or conditional,               the borders of the State subject to the                        nitrogen oxides from the Cement and
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                                                and will continue to apply to sources in                  State’s SIP authority for a control period                     Concrete Product Manufacturing
                                                areas of Indian country within the                        in any year, the provisions of such                            Industry?
                                                                                                                                                                    52.43 What are the requirements of the
                                                borders of the State not subject to the                   subpart authorizing the Administrator to
                                                                                                                                                                         Federal Implementation Plans (FIPs)
                                                State’s SIP authority, provided that if                   complete the allocation and recordation                        relating to ozone season emissions of
                                                the CSAPR Federal Implementation                          of such allowances to such units for                           nitrogen oxides from the Iron and Steel
                                                Plan was promulgated as a partial rather                  each such control period shall continue                        Mills and Ferroalloy Manufacturing
                                                than full remedy for an obligation of the                 to apply, unless provided otherwise by                         Industry?



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                                                52.44 What are the requirements of the                  files of all information (including all                gas, producer gas, coke oven gas, or any
                                                    Federal Implementation Plans (FIPs)                 reports and notifications) required by                 gaseous fuel produced in a process
                                                    relating to ozone season emissions of               these sections recorded in a form                      which might result in highly variable
                                                    nitrogen oxides from the Glass and Glass            suitable and readily available for                     CO2 content or heating value.
                                                    Product Manufacturing Industry?
                                                52.45 What are the requirements of the
                                                                                                        expeditious inspection and review. The                    Natural gas-fired means that greater
                                                    Federal Implementation Plans (FIPs)                 files shall be retained for at least 5 years           than or equal to 90% of the engine’s
                                                    relating to ozone season emissions of               following the date of each occurrence,                 heat input, excluding recirculated or
                                                    nitrogen oxides from the Basic Chemical             measurement, maintenance, corrective                   recuperated exhaust heat, is derived
                                                    Manufacturing, Petroleum and Coal                   action, report, or record. At a minimum,               from the combustion of natural gas.
                                                    Products Manufacturing, and Pulp,                   the most recent 2 years of data shall be                  Operator means any person who
                                                    Paper, and Paperboard Mills Industries?             retained on site. The remaining 3 years                operates, controls, or supervises a
                                                *      *     *       *      *                           of data may be retained off site. Such                 natural gas-fired engine subject to this
                                                                                                        files may be maintained on microfilm,                  regulation and shall include, but not be
                                                § 52.40 What are the requirements of the                on a computer, on computer floppy
                                                Federal Implementation Plans (FIPs)
                                                                                                                                                               limited to, any holding company, utility
                                                relating to ozone season emissions of
                                                                                                        disks, on magnetic tape disks, or on                   system, or plant manager of such natural
                                                nitrogen oxides from sources not subject to             microfiche.                                            gas-fired engine.
                                                the CSAPR ozone season trading program?                                                                           Owner means any holder of any
                                                                                                        § 52.41 What are the requirements of the
                                                   (a) NOX ozone season emissions. This                 Federal Implementation Plans (FIPs)
                                                                                                                                                               portion of the legal or equitable title in
                                                section establishes Federal                             relating to ozone season emissions of                  a natural gas-fired engine subject to this
                                                Implementation Plan requirements for                    nitrogen oxides from the Pipeline                      regulation.
                                                new and existing units in the industries                Transportation of Natural Gas Industry?                   Pipeline transportation of natural gas
                                                specified in paragraph (b) of this section                 (a) Definitions. All terms not defined              means the movement of natural gas
                                                to eliminate significant contribution to                herein shall have the meaning given                    through an interconnected network of
                                                nonattainment, or interference with                     them in the Act and in subpart A of part               compressors and pipeline components,
                                                maintenance, of the 2015 8-hour ozone                   60.                                                    from field gathering networks near
                                                National Ambient Air Quality Standards                     Affected unit means an engine                       wellheads to end users, including:
                                                in other states pursuant to 42 U.S.C.                   meeting the applicability criteria of this                (i) The compressor and pipeline
                                                7410(a)(2)(D)(i)(I).                                    section.                                               network used for field gathering of
                                                   (b) General requirements (1) The NOX                    Four stroke means any type of engine                natural gas from the wellheads for
                                                emissions limitations and associated                    which completes the power cycle in two                 delivery to either processing facilities or
                                                compliance requirements for the                         crankshaft revolutions, with intake and                connections to pipelines used for
                                                following listed source categories not                  compression strokes in the first                       intrastate or interstate transportation of
                                                subject to the CSAPR ozone season                       revolution and power and exhaust                       the natural gas; and
                                                trading program constitute the Federal                  strokes in the second revolution.                         (ii) The compressor and pipeline
                                                Implementation Plan provisions that                        ISO conditions means 288 Kelvin                     network used to transport the natural
                                                relate to emissions of NOX during the                   (15 °C), 60 percent relative humidity and              gas from field gathering networks or
                                                ozone season (defined as May 1 through                  101.3 kilopascals pressure.                            processing facilities over a distance
                                                September 30 of a calendar year):                          Lean burn means any two-stroke or                   (intrastate or interstate) to and from
                                                § 52.41 for engines in the Pipeline                     four-stroke spark ignited reciprocating                storage facilities, to large natural gas
                                                Transportation of Natural Gas Industry,                 internal combustion engine that does                   end-users, and to distribution
                                                § 52.42 for kilns in the Cement and                     not meet the definition of a rich burn                 organizations that provide the natural
                                                Concrete Product Manufacturing                          engine.                                                gas to end-users.
                                                Industry, § 52.43 for units in the Iron                    Nameplate rating means the                             Reciprocating internal combustion
                                                and Steel Mills and Ferroalloy                          manufacturer’s design maximum                          engine means a reciprocating engine in
                                                Manufacturing Industry, § 52.44 for                     capacity in horsepower (hp) at the                     which power, produced by heat and/or
                                                units in the Glass and Glass Product                    installation site conditions. Starting                 pressure that is developed in the engine
                                                Manufacturing Industry, § 52.45 for                     from the completion of any physical                    combustion chambers by the burning of
                                                boilers in Basic Chemical                               change in the engine resulting in an                   a mixture of air and fuel, is
                                                Manufacturing, Petroleum and Coal                       increase in the maximum output (in hp)                 subsequently converted to mechanical
                                                Products Manufacturing, and Pulp,                       that the engine is capable of producing                work.
                                                Paper, and Paperboard Mills.                            on a steady state basis and during                        Rich burn means any four-stroke
                                                   (2) The provisions of §§ 52.41 through               continuous operation, such increased                   spark ignited reciprocating internal
                                                52.45 of this part apply to sources                     maximum output shall be as specified                   combustion engine where the
                                                located in each of the following States,                by the person conducting the physical                  manufacturer’s recommended operating
                                                including Indian country located within                 change.                                                air/fuel ratio divided by the
                                                the borders of such States, beginning in                   Natural gas means a fluid mixture of                stoichiometric air/fuel ratio at full load
                                                the 2026 ozone season and in each                       hydrocarbons (e.g., methane, ethane, or                conditions is less than or equal to 1.1.
                                                subsequent ozone season: Arkansas,                      propane) or non-hydrocarbons,                          Internal combustion engines originally
                                                California, Illinois, Indiana, Kentucky,                composed of at least 70 percent methane                manufactured as rich burn engines but
                                                Louisiana, Maryland, Michigan,                          by volume or that has a gross calorific                modified with passive emission control
                                                                                                        value between 35 and 41 megajoules                     technology for nitrogen oxides (NOX)
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                                                Minnesota, Mississippi, Missouri,
                                                Nevada, New Jersey, New York, Ohio,                     (MJ) per dry standard cubic meter (950                 (such as pre-combustion chambers) will
                                                Oklahoma, Pennsylvania, Texas, Utah,                    and 1,100 Btu per dry standard cubic                   be considered lean burn engines.
                                                Virginia, West Virginia, Wisconsin, and                 foot), that maintains a gaseous state                  Existing internal combustion engines
                                                Wyoming.                                                under ISO conditions. Natural gas does                 where there are no manufacturer’s
                                                   (3) The owner or operator of an                      not include the following gaseous fuels:               recommendations regarding air/fuel
                                                affected unit subject to the provisions of              Landfill gas, digester gas, refinery gas,              ratio will be considered rich burn
                                                §§ 52.40 through 52.45 shall maintain                   sour gas, blast furnace gas, coal-derived              engines if the excess oxygen content of


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                                                the exhaust at full load conditions is                  conducted maintenance and must, to                        (4) If you are not using a SCR or NSCR
                                                less than or equal to 2 percent.                        the extent practicable, maintain and                   control device to reduce emissions are
                                                   Spark ignition means a reciprocating                 operate the engine in a manner                         required to install a continuous
                                                internal combustion engine utilizing a                  consistent with good air pollution                     parameter monitoring system (CPMS).
                                                spark plug (or other sparking device) to                control practice for minimizing                        You must install, operate, and maintain
                                                ignite the air/fuel mixture and with                    emissions.                                             each CPMS according to the
                                                operating characteristics significantly                    (2) Performance Testing                             requirements in paragraphs (d)(4)(i)
                                                similar to the theoretical Otto                         Requirements:                                          through (vi) of this section.
                                                combustion cycle.                                          (i) Engines that meet the certification                (i) You must prepare a site-specific
                                                   Stoichiometric means the theoretical                 requirements of § 60.4243(a) need not                  monitoring plan that addresses the
                                                air-to-fuel ratio required for complete                 conduct any performance tests,                         monitoring system design, data
                                                combustion.                                             consistent with the requirements of 40                 collection, and quality assurance and
                                                   Two stroke means a type of                           CFR part 60, subpart JJJJ.                             quality control elements outlined in
                                                reciprocating internal combustion                          (ii) For non-certified engines, the                 paragraphs (d)(4)(i)(A) through (E) of
                                                engine which completes the power                        following performance testing                          this section.
                                                cycle in a single crankshaft revolution                 requirements apply:                                       (A) The performance criteria and
                                                by combining the intake and                                (A) New engines must conduct an                     design specifications for the monitoring
                                                compression operations into one stroke                  initial performance test within six                    system equipment, including the sample
                                                (one-half revolution) and the power and                 months of engine startup and conduct                   interface, detector signal analyzer, and
                                                exhaust operations into a second stroke.                subsequent performance testing every                   data acquisition and calculations.
                                                This system requires auxiliary exhaust                  six months thereafter to demonstrate                      (B) Sampling interface (e.g.,
                                                scavenging of the combustion products                   compliance.                                            thermocouple) location such that the
                                                and inherently runs lean (excess of air)                   (B) Existing engines must conduct an                monitoring system will provide
                                                of stoichiometry.                                       initial performance test within six                    representative measurements.
                                                   (b) Applicability. You are subject to                                                                          (C) Equipment performance
                                                                                                        months of becoming subject to an
                                                the requirements under this section if                                                                         evaluations, system accuracy audits, or
                                                                                                        emissions limit under paragraph (b) of
                                                you own or operate a new or existing                                                                           other audit procedures.
                                                                                                        this section and conduct subsequent
                                                natural gas-fired spark ignition engine                                                                           (D) Ongoing operation and
                                                                                                        performance testing every six months
                                                with a nameplate rating of 1,000 hp or                                                                         maintenance procedures in accordance
                                                                                                        thereafter to demonstrate compliance.
                                                greater that is used for pipeline                                                                              with the requirements of paragraph
                                                                                                           (iii) Performance tests must be
                                                transportation of natural gas and is                                                                           (d)(1) of this section.
                                                                                                        conducted in accordance with the
                                                located within any of the States listed in                                                                        (E) Ongoing recordkeeping and
                                                                                                        applicable reference test methods of 40
                                                § 52.40(a)(1)(ii), including Indian                                                                            reporting procedures in accordance with
                                                                                                        CFR part 60, appendix A, any
                                                country located within the borders of                                                                          the requirements of paragraphs (e) and
                                                                                                        alternative test method approved by
                                                any such State(s).                                                                                             (f) of this section.
                                                   (c) Emissions limitations. Beginning                 EPA as of April 6, 2022 under 40 CFR                      (ii) Install, operate, and maintain each
                                                with the 2026 ozone season and in each                  59.104(f), 60.8(b)(3), 61.13(h)(1)(ii),                CPMS in continuous operation
                                                ozone season thereafter, the following                  63.7(e)(2)(ii), or 65.158(a)(2) and                    according to the procedures in your site-
                                                emissions limitations must be met.                      available at EPA’s website (https://                   specific monitoring plan.
                                                Compliance with the numerical                           www.epa.gov/emc/broadly-applicable-                       (iii) The CPMS must collect data at
                                                emissions limitations established in this               approved-alternative-test-methods), or                 least once every 15 minutes.
                                                section is based on the average of three                other methods and procedures approved                     (iv) For a CPMS for measuring
                                                1-hour runs using the testing                           by EPA through notice-and-comment                      temperature range, the temperature
                                                requirements and procedures in                          rulemaking.                                            sensor must have a minimum tolerance
                                                paragraph (d) of this section.                             (3) If a selective catalytic reduction              of 2.8 degrees Celsius (5 degrees
                                                   (1) If you own or operate a natural gas              (SCR) or non-selective catalytic                       Fahrenheit) or 1 percent of the
                                                fired four stroke rich burn spark ignition              reduction (NSCR) control device is used                measurement range, whichever is larger.
                                                engine with a nameplate rating of 1,000                 to reduce emissions:                                      (v) You must conduct the CPMS
                                                hp or greater than you must meet a                         (i) Monitor the inlet temperature to                equipment performance evaluation,
                                                nitrogen oxides (NOX) emissions limits                  the catalyst daily and conduct                         system accuracy audits, or other audit
                                                of 1.0 grams per hp-hour (g/hp-hr).                     maintenance if the temperature is not                  procedures specified in your site-
                                                   (2) If you own or operate a natural gas              within the observed inlet temperature                  specific monitoring plan at least
                                                fired four stroke lean burn spark                       range from the most recent performance                 annually.
                                                ignition engine with a nameplate rating                 test or the temperatures specified by the                 (vi) You must conduct a performance
                                                of 1,000 hp or greater than you must                    manufacturer if no performance test was                evaluation of each CPMS in accordance
                                                meet a NOX emissions limits of 1.5 g/hp-                required by this section.                              with your site-specific monitoring plan.
                                                hr.                                                        (ii) Measure the pressure drop across                  (e) Recordkeeping requirements (1)
                                                   (3) If you own or operate a natural gas              the catalyst monthly and conduct                       You must keep records of:
                                                fired two stroke lean spark ignition                    maintenance if the pressure drop is                       (i) Performance tests conducted
                                                engine with a nameplate rating of 1,000                 greater than 2 inches outside the                      pursuant to § 52.41(d)(2), including the
                                                hp or greater than you must meet a NOX                  baseline value established after each                  date, engine settings on the date of the
                                                                                                        semiannual portable analyzer
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                                                emissions limits of 3.0 g/hp-hr.                                                                               test, and documentation of the methods
                                                   (d) Testing and monitoring                           monitoring.                                            and results of the testing.
                                                requirements (1) If you are an owner or                    (iii) Engines that are subject to                      (ii) Catalyst monitoring required by
                                                operator of a natural gas fired spark                   catalyst temperatures and catalyst                     § 52.41(d)(3), if applicable, and any
                                                ignition engine subject to a NOX                        pressure drop monitoring requirements                  actions taken to address monitored
                                                emissions limit under paragraph (b) of                  under 40 CFR part 63, subpart ZZZZ                     values outside the temperature or
                                                this section, you must keep a                           must satisfy the requirements of                       pressure drop parameters, including the
                                                maintenance plan and records of                         § 52.41(d)(3).                                         date and a description of actions taken.


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                                                   (iii) Parameters monitored pursuant to               CBI, to the EPA. The file must be                      time prescribed due to an outage of
                                                your site-specific monitoring plan for                  generated using the EPA’s ERT or an                    either the EPA’s CEDRI or CDX systems.
                                                your CPMS.                                              alternate electronic file consistent with                 (ii) The outage must have occurred
                                                   (iv) Hours of operation on a daily                   the XML schema listed on the EPA’s                     within the period of time beginning five
                                                basis.                                                  ERT website. Submit the file on a                      business days prior to the date that the
                                                   (v) Tuning, adjustments, or other                    compact disc, flash drive, or other                    submission is due.
                                                combustion process adjustments and the                  commonly used electronic storage                          (iii) The outage may be planned or
                                                date of the adjustment(s).                              medium and clearly mark the medium                     unplanned.
                                                   (2) Any records required to be                       as CBI. Mail the electronic medium to                     (iv) You must submit notification to
                                                maintained by this section that are                     U.S. EPA/OAQPS/CORE CBI Office, MD                     the Administrator in writing as soon as
                                                submitted electronically via the EPA’s                  C404–02, 4930 Old Page Rd., Durham,                    possible following the date you first
                                                Compliance and Emissions Data                           NC 27703. The same file with the CBI                   knew, or through due diligence should
                                                Reporting Interface (CEDRI) may be                      omitted must be submitted to the EPA                   have known, that the event may cause
                                                maintained in electronic format. This                   via the EPA’s CDX as described in                      or has caused a delay in reporting.
                                                ability to maintain electronic copies                   paragraphs (f)(1)(i) and (ii). All CBI                    (v) You must provide to the
                                                does not affect the requirement for                     claims must be asserted at the time of                 Administrator a written description
                                                facilities to make records, data, and                   submission. Furthermore, under CAA                     identifying:
                                                reports available upon request to the                   section 114(c), emissions data is not                     (A) The date(s) and time(s) when CDX
                                                EPA as part of an on-site compliance                    entitled to confidential treatment, and                or CEDRI was accessed and the system
                                                evaluation.                                             the EPA is required to make emissions
                                                   (f) Reporting requirements (1) Within                                                                       was unavailable;
                                                                                                        data available to the public. Thus,                       (B) A rationale for attributing the
                                                60 days after the date of completing
                                                                                                        emissions data will not be protected as                delay in reporting beyond the regulatory
                                                each performance test required by this
                                                                                                        CBI and will be made publicly available.               deadline to EPA system outage;
                                                section, you must submit the results of
                                                                                                           (2) If you are the owner or operator of                (C) A description of measures taken or
                                                the performance test following the
                                                                                                        an affected engine, you shall submit a                 to be taken to minimize the delay in
                                                procedures specified in paragraphs
                                                (f)(1)(i) through (iii):                                semi-annual report, at least every six                 reporting; and
                                                   (i) Data collected using test methods                months, in PDF format to the EPA via                      (D) The date by which you propose to
                                                supported by the EPA’s Electronic                       CEDRI or analogous electronic reporting                report, or if you have already met the
                                                Reporting Tool (ERT) as listed on the                   approach provided by the EPA to report                 reporting requirement at the time of the
                                                EPA’s ERT website (https://                             data required by this section. The report              notification, the date you reported.
                                                www.epa.gov/electronic-reporting-air-                   shall contain the following information:                  (vi) The decision to accept the claim
                                                emissions/electronic-reporting-tool-ert)                   (i) The name and address of the owner               of EPA system outage and allow an
                                                at the time of the test. Submit the results             and operator;                                          extension to the reporting deadline is
                                                of the performance test to the EPA via                     (ii) The address of the subject engine;             solely within the discretion of the
                                                the CEDRI or analogous electronic                          (iii) Longitude and latitude                        Administrator.
                                                reporting approach provided by the EPA                  coordinates of the subject engine;                        (vii) In any circumstance, the report
                                                to report data required by this section,                   (iv) Identification of the subject                  must be submitted electronically as
                                                which can be accessed through the                       engine;                                                soon as possible after the outage is
                                                EPA’s Central Data Exchange (CDX)                          (v) Statement of compliance with the                resolved.
                                                (https://cdx.epa.gov/). The data must be                applicable emission limit under                           (4) If you are required to
                                                submitted in a file format generated                    § 52.41(b);                                            electronically submit a report through
                                                using the EPA’s ERT. Alternatively, you                    (vi) Statement of compliance                        CEDRI in the EPA’s CDX, you may
                                                may submit an electronic file consistent                regarding the conduct of maintenance                   assert a claim of force majeure for
                                                with the extensible markup language                     and operations in a manner consistent                  failure to timely comply with that
                                                (XML) schema listed on the EPA’s ERT                    with good air pollution control practices              reporting requirement. To assert a claim
                                                website.                                                for minimizing emissions;                              of force majeure, you must meet the
                                                   (ii) Data collected using test methods                  (vii) The date and results of the                   requirements outlined in paragraphs
                                                that are not supported by the EPA’s ERT                 performance test conducted pursuant to                 (f)(4)(i) through (v) of this section.
                                                as listed on the EPA’s ERT website at                   § 52.41(d);                                               (i) You may submit a claim if a force
                                                the time of the test. The results of the                   (viii) If applicable, a statement                   majeure event is about to occur, occurs,
                                                performance test must be included as an                 documenting any change in the                          or has occurred or there are lingering
                                                attachment in the ERT or an alternate                   operating characteristics of the subject               effects from such an event within the
                                                electronic file consistent with the XML                 engine; and                                            period of time beginning five business
                                                schema listed on the EPA’s ERT                             (ix) A statement certifying that the                days prior to the date the submission is
                                                website. Submit the ERT generated                       information included in the semi-                      due. For the purposes of this section, a
                                                package or alternative file to the EPA via              annual report is complete and accurate.                force majeure event is defined as an
                                                CEDRI.                                                     (3) If you are required to                          event that will be or has been caused by
                                                   (iii) Confidential business information              electronically submit a report through                 circumstances beyond the control of the
                                                (CBI). Do not use CEDRI to submit                       CEDRI in the EPA’s CDX, you may                        affected facility, its contractors, or any
                                                information you claim as CBI. Anything                  assert a claim of EPA system outage for                entity controlled by the affected facility
                                                submitted using CEDRI cannot later be                   failure to timely comply with that                     that prevents you from complying with
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                                                claimed CBI. Although we do not expect                  reporting requirement. To assert a claim               the requirement to submit a report
                                                persons to assert a claim of CBI, if you                of EPA system outage, you must meet                    electronically within the time period
                                                wish to assert a CBI claim for some of                  the requirements outlined in paragraphs                prescribed. Examples of such events are
                                                the information submitted under                         (f)(3)(i) through (vii) of this section.               acts of nature (e.g., hurricanes,
                                                paragraphs (f)(1)(i) or (ii) of this section,              (i) You must have been or will be                   earthquakes, or floods), acts of war or
                                                you must submit a complete file,                        precluded from accessing CEDRI and                     terrorism, or equipment failure or safety
                                                including information claimed to be                     submitting a required report within the                hazard beyond the control of the


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                                                affected facility (e.g., large scale power                 Affected unit means a cement kiln                   average is calculated by summing the
                                                outage).                                                meeting the applicability criteria of this             hourly mass emissions over the
                                                   (ii) You must submit notification to                 section.                                               previous 30 operating days, then
                                                the Administrator in writing as soon as                    Cement plant means any facility                     dividing that sum by the total
                                                possible following the date you first                   manufacturing cement by either the wet                 production during the same period.
                                                knew, or through due diligence should                   or dry process.                                           (b) Applicability. You are subject to
                                                have known, that the event may cause                       Clinker means the product of a
                                                                                                                                                               the requirements of this section if you
                                                or has caused a delay in reporting.                     cement kiln from which finished
                                                                                                                                                               own or operate a new or existing cement
                                                   (iii) You must provide to the                        cement is manufactured by milling and
                                                                                                                                                               kiln that emits or has the potential to
                                                Administrator:                                          grinding.
                                                                                                           Cement kiln means an installation,                  emit 100 tons per year or more of NOX
                                                   (A) A written description of the force               including any associated pre-heater or                 and is located within any of the States
                                                majeure event;                                          pre-calciner devices, that produces                    listed in § 52.40(a)(1)(ii), including
                                                   (B) A rationale for attributing the                  clinker by heating limestone and other                 Indian country located within the
                                                delay in reporting beyond the regulatory                materials to produce Portland cement.                  borders of any such State(s).
                                                deadline to the force majeure event;                       Operating day means a 24-hour                          (c) Emission limitations (1) If you own
                                                   (C) A description of measures taken or               period beginning at 12:00 midnight                     or operate a cement kiln under
                                                to be taken to minimize the delay in                    during which the kiln produces clinker                 paragraph (b) of this section you are
                                                reporting; and                                          at any time.                                           subject to the NOX emissions limits in
                                                   (D) The date by which you propose to                    Rolling average means the weighted                  the following table and the NOX source
                                                report, or if you have already met the                  average of all data, meeting QA/QC                     cap limit under paragraph (c)(2) of this
                                                reporting requirement at the time of the                requirements or otherwise normalized,                  section, beginning with the 2026 ozone
                                                notification, the date you reported.                    collected during the applicable                        season and in each ozone season
                                                   (iv) The decision to accept the claim                averaging period. The period of a rolling              thereafter.
                                                of force majeure and allow an extension                 average stipulates the frequency of data
                                                to the reporting deadline is solely                     averaging and reporting. To demonstrate                      TABLE 1 TO PARAGRAPH (c)(1)
                                                within the discretion of the                            compliance with an operating parameter
                                                Administrator.                                          a 30-day rolling average period requires                                                          Proposed NOX
                                                                                                        calculation of a new average value each                                                             emissions
                                                   (v) In any circumstance, the reporting                                                                                    Kiln type                          limit
                                                must occur as soon as possible after the                operating day and shall include the
                                                                                                                                                                                                             (lb/ton of
                                                force majeure event occurs.                             average of all the hourly averages of the                                                             clinker)
                                                                                                        specific operating parameter. For
                                                § 52.42 What are the requirements of the                demonstration of compliance with an                    Long Wet ..............................              4.0
                                                Federal Implementation Plans (FIPs)                     emissions limit based on pollutant                     Long Dry ...............................             3.0
                                                relating to ozone season emissions of                   concentration, a 30-day rolling average                Preheater ..............................             3.8
                                                nitrogen oxides from the Cement and                     is comprised of the average of all the                 Precalciner ............................             2.3
                                                Concrete Product Manufacturing Industry?                hourly average concentrations over the                 Preheater/Precalciner ...........                    2.8
                                                  (a) Definitions. All terms not defined                previous 30 operating days. For
                                                herein shall have the meaning given                     demonstration of compliance with an                      (2) The NOX source cap limit is
                                                them in the Act and in subpart A of part                emissions limit based on lbs-pollutant                 calculated in accordance with the
                                                60.                                                     per production unit, the 30-day rolling                following equation:


                                                                                                                                       (KW x NW)+ (KD x ND)
                                                                                  CAP2015 Ozone Transport = (                                    pounds 365 days)
                                                                                                                                        2000       ton x    year

                                                Where:                                                  NW = the average annual production in tons             59.104(f), 60.8(b)(3), 61.13(h)(1)(ii),
                                                CAP2015 Ozone Transport = total allowable                  of clinker plus one standard deviation              63.7(e)(2)(ii), or 65.158(a)(2) and
                                                   NOX emissions from all cement kilns                     for the three most recent calendar years            available at EPA’s website (https://
                                                   located at one cement plant, in tons per                from all long wet kilns located at one              www.epa.gov/emc/broadly-applicable-
                                                   day, on a 30-operating day rolling                      cement plant.
                                                                                                                                                               approved-alternative-test-methods), or
                                                   average basis;                                          (d)Testing and monitoring                           other methods and procedures approved
                                                KD = 1.7 pounds NOX per ton of clinker for              requirements (1) If you own or operate                 by EPA through notice-and-comment
                                                   dry preheater-precalciner or precalciner             a cement manufacturing plant subject to                rulemaking. You must calculate and
                                                   kilns;
                                                                                                        the NOX emissions limits under                         record the 30-operating day rolling
                                                KW = 3.4 pounds NOX per ton of clinker for
                                                   long wet kilns;
                                                                                                        paragraph (c) of this section you must                 emission rate of NOX as the total of all
                                                ND = the average annual production in tons              conduct performance tests, on a semi-                  hourly emissions data for a cement kiln
                                                   of clinker plus one standard deviation               annual basis, in accordance with the                   in the preceding 30 days, divided by the
                                                                                                        applicable reference test methods of 40                total tons of clinker produced in that
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                                                   for the three most recent calendar years
                                                   from all dry preheater-precalciner or                CFR part 60, Appendix A, any                           kiln during the same 30-operating day
                                                   precalciner kilns located at one cement              alternative test method approved by                    period using Equation 6 of 40 CFR
                                                   plant; and                                           EPA as of April 6, 2022 under 40 CFR                   60.64(c)(1), shown in this equation:
                                                                                                                                                                                                                          EP06AP22.004</GPH>




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                                                                                                                 E3oD

                                                Where:                                                  schema listed on the EPA’s ERT                            (iii) The outage may be planned or
                                                E30D = 30 kiln operating day average emission           website. Submit the ERT generated                      unplanned.
                                                    rate of NOX, in lbs/ton of clinker.                 package or alternative file to the EPA via                (iv) You must submit notification to
                                                Ci = Concentration of NOX for hour i, in ppm.           CEDRI.                                                 the Administrator in writing as soon as
                                                Qi = Volumetric flow rate of effluent gas for
                                                    hour i, where Ci and Qi are on the same                (iii) CBI. Do not use CEDRI to submit               possible following the date you first
                                                    basis (either wet or dry), in scf/hr.               information you claim as CBI. Anything                 knew, or through due diligence should
                                                P = 30 days of clinker production during the            submitted using CEDRI cannot later be                  have known, that the event may cause
                                                    same time period as the NOX emissions               claimed CBI. Although we do not expect                 or has caused a delay in reporting.
                                                    measured, in tons.                                  persons to assert a claim of CBI, if you                  (v) You must provide to the
                                                k = Conversion factor, 1.194 × 10¥7 for NOX,            wish to assert a CBI claim for some of                 Administrator a written description
                                                    in lb/scf/ppm.                                      the information submitted under                        identifying:
                                                n = Number of kiln operating hours over 30                                                                        (A) The date(s) and time(s) when CDX
                                                    kiln operating days.
                                                                                                        paragraph (f)(1)(i) or (ii) of this section,
                                                                                                        you must submit a complete file,                       or CEDRI was accessed and the system
                                                   (e) Recordkeeping requirements (1) If                including information claimed to be                    was unavailable;
                                                you own or operate a cement                             CBI, to the EPA. The file must be                         (B) A rationale for attributing the
                                                manufacturing plant subject to the NOX                  generated using the EPA’s ERT or an                    delay in reporting beyond the regulatory
                                                emissions limits under paragraph (c) of                 alternate electronic file consistent with              deadline to EPA system outage;
                                                this section you must retain records of                 the XML schema listed on the EPA’s                        (C) A description of measures taken or
                                                the calculations and measurements as                    ERT website. Submit the file on a                      to be taken to minimize the delay in
                                                required in paragraph (d) of this section               compact disc, flash drive, or other                    reporting; and
                                                for the 5-year period specified in                      commonly used electronic storage                          (D) The date by which you propose to
                                                52.40(b)(3).                                            medium and clearly mark the medium                     report, or if you have already met the
                                                   (2) Any records required to be                       as CBI. Mail the electronic medium to                  reporting requirement at the time of the
                                                maintained by this section that are                     U.S. EPA/OAQPS/CORE CBI Office, MD                     notification, the date you reported.
                                                submitted electronically via the EPA’s                  C404–02, 4930 Old Page Rd., Durham,                       (vi) The decision to accept the claim
                                                CEDRI may be maintained in electronic                   NC 27703. The same file with the CBI                   of EPA system outage and allow an
                                                format. This ability to maintain                        omitted must be submitted to the EPA                   extension to the reporting deadline is
                                                electronic copies does not affect the                   via the EPA’s CDX as described in                      solely within the discretion of the
                                                requirement for facilities to make                      paragraphs (f)(1)(i) and (ii) of this                  Administrator.
                                                records, data, and reports available                    section. All CBI claims must be asserted                  (vii) In any circumstance, the report
                                                upon request to the EPA as part of an                   at the time of submission. Furthermore,                must be submitted electronically as
                                                on-site compliance evaluation.                          under CAA section 114(c), emissions                    soon as possible after the outage is
                                                   (f) Reporting requirements (1) Within                data is not entitled to confidential                   resolved.
                                                60 days after the date of completing                    treatment, and the EPA is required to                     (4) If you are required to
                                                each performance test required by this                  make emissions data available to the                   electronically submit a report through
                                                section, you must submit the results of                 public. Thus, emissions data will not be               CEDRI in the EPA’s CDX, you may
                                                the performance test following the                      protected as CBI and will be made                      assert a claim of force majeure for
                                                procedures specified in paragraphs                      publicly available.                                    failure to timely comply with that
                                                (f)(1)(i) through (iii) of this section:                                                                       reporting requirement. To assert a claim
                                                                                                           (2) If you are the owner or operator of
                                                   (i) Data collected using test methods                                                                       of force majeure, you must meet the
                                                                                                        an affected cement kiln, you shall
                                                supported by the EPA’s ERT as listed on                                                                        requirements outlined in paragraphs
                                                                                                        submit a semi-annual, at least every six
                                                the EPA’s ERT website (https://                                                                                (f)(4)(i) through (v) of this section.
                                                                                                        months, report in PDF format to the EPA
                                                www.epa.gov/electronic-reporting-air-                                                                             (i) You may submit a claim if a force
                                                                                                        via CEDRI or analogous electronic
                                                emissions/electronic-reporting-tool-ert)                                                                       majeure event is about to occur, occurs,
                                                                                                        reporting approach provided by the EPA
                                                at the time of the test. Submit the results                                                                    or has occurred or there are lingering
                                                                                                        to report data required by this section.
                                                of the performance test to the EPA via                                                                         effects from such an event within the
                                                the CEDRI or analogous electronic                          (3) If you are required to                          period of time beginning five business
                                                reporting approach provided by the EPA                  electronically submit a report through                 days prior to the date the submission is
                                                to report data required by this section,                CEDRI in the EPA’s CDX, you may                        due. For the purposes of this section, a
                                                which can be accessed through the                       assert a claim of EPA system outage for                force majeure event is defined as an
                                                EPA’s CDX (https://cdx.epa.gov/). The                   failure to timely comply with that                     event that will be or has been caused by
                                                data must be submitted in a file format                 reporting requirement. To assert a claim               circumstances beyond the control of the
                                                generated using the EPA’s ERT.                          of EPA system outage, you must meet                    affected facility, its contractors, or any
                                                Alternatively, you may submit an                        the requirements outlined in paragraphs                entity controlled by the affected facility
                                                electronic file consistent with the XML                 (f)(3)(i) through (vii) of this section.               that prevents you from complying with
                                                schema listed on the EPA’s ERT                             (i) You must have been or will be                   the requirement to submit a report
                                                                                                        precluded from accessing CEDRI and                     electronically within the time period
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                                                website.
                                                   (ii) Data collected using test methods               submitting a required report within the                prescribed. Examples of such events are
                                                that are not supported by the EPA’s ERT                 time prescribed due to an outage of                    acts of nature (e.g., hurricanes,
                                                as listed on the EPA’s ERT website at                   either the EPA’s CEDRI or CDX systems.                 earthquakes, or floods), acts of war or
                                                the time of the test. The results of the                   (ii) The outage must have occurred                  terrorism, or equipment failure or safety
                                                performance test must be included as an                 within the period of time beginning five               hazard beyond the control of the
                                                attachment in the ERT or an alternate                   business days prior to the date that the               affected facility (e.g., large scale power
                                                                                                        submission is due.                                     outage).
                                                                                                                                                                                                            EP06AP22.005</GPH>




                                                electronic file consistent with the XML


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                                                  (ii) You must submit notification to                                     Basic Oxygen Process Furnace (BOF)                            Ladle/Tundish Preheaters means
                                                the Administrator in writing as soon as                                 shall mean a refractory-lined vessel in                       equipment used to preheat ladles or
                                                possible following the date you first                                   which high-purity oxygen is blown                             tundishes to minimize temperature drop
                                                knew, or through due diligence should                                   under pressure through a bath of molten                       prior to use in iron or molten steel
                                                have known, that the event may cause                                    iron, scrap metal, and fluxes to produce                      refinement.
                                                or has caused a delay in reporting.                                     steel. This definition includes both top                         Reheat Furnace means a furnace used
                                                  (iii) You must provide to the                                         and bottom blown furnaces, but does                           to heat steel product to temperatures at
                                                Administrator:                                                          not include argon oxygen                                      which it will be suitable for deformation
                                                  (A) A written description of the force                                decarburization furnaces.                                     and further processing.
                                                majeure event;                                                             Blast furnace means refractory-lined
                                                  (B) A rationale for attributing the                                                                                                    Steel Production Cycle means the
                                                                                                                        furnaces charged through its top with
                                                delay in reporting beyond the regulatory                                                                                              operations conducted within the basic
                                                                                                                        iron ore pellets (taconite), sinter, flux
                                                deadline to the force majeure event;                                                                                                  oxygen process furnace shop that are
                                                                                                                        (limestone and dolomite), and coke in a
                                                  (C) A description of measures taken or                                                                                              required to produce each batch of steel,
                                                                                                                        reducing atmosphere to produce iron.
                                                to be taken to minimize the delay in                                       BOF Shop means the place where                             including scrap charging, preheating,
                                                reporting; and                                                          steel making operations occur,                                hot metal charging, primary oxygen
                                                  (D) The date by which you propose to                                  beginning with the transfer of molten                         blowing, sampling, (vessel turndown
                                                report, or if you have already met the                                  iron (hot metal) from the torpedo car                         and turnup), additional oxygen blowing,
                                                reporting requirement at the time of the                                and ending just prior to casting the                          tapping, and deslagging. The steel
                                                notification, the date you reported.                                    molten steel, including hot metal                             production cycle begins when the scrap
                                                  (iv) The decision to accept the claim                                 transfer, desulfurization, slag skimming,                     is charged to the furnace and ends three
                                                of force majeure and allow an extension                                 refining in a basic oxygen process                            minutes after the slag is emptied from
                                                to the reporting deadline is solely                                     furnace, and ladle metallurgy.                                the vessel into the slag pot.
                                                within the discretion of the                                               BOF Baghouse System means the                                 Taconite production kiln means a
                                                Administrator.                                                          control system for control of emissions                       furnace designed to dry and indurate
                                                  (v) In any circumstance, the reporting                                from charging and tapping of the BOFs,                        taconite concentrates to create taconite
                                                must occur as soon as possible after the                                including the capture hoods, ductwork                         pellets.
                                                force majeure event occurs.                                             and the BOF Baghouse.                                            Vacuum degasser means a unit
                                                § 52.43 What are the requirements of the                                   Coke means carbon product that is                          operated within an iron and steel
                                                Federal Implementation Plans (FIPs)                                     formed by the thermal distillation of                         facility to expose molten steel at low
                                                relating to ozone season emissions of                                   coal at high temperatures in the absence                      pressure to remove certain gases during
                                                nitrogen oxides from the Iron and Steel                                 of air in coke oven batteries.                                steel refinement.
                                                Mills and Ferroalloy Manufacturing                                         Coke Ovens means ovens producing
                                                Industry?                                                                                                                                (b) Applicability The requirements of
                                                                                                                        coke for use in blast furnaces.
                                                  (a) Definitions. All terms not defined                                   Day means a calendar day unless                            this section apply to each new or
                                                herein shall have the meaning given                                     expressly stated to be a business day. In                     existing emissions unit at an iron and
                                                them in the Act and in subpart A of part                                computing any period of time for                              steel mill or ferroalloy manufacturing
                                                60.                                                                     recordkeeping and reporting purposes                          facility that directly emits or has the
                                                  Affected unit means any annealing                                     where the last day would fall on a                            potential to emit 100 tons per year or
                                                furnace, basic oxygen process furnace,                                  Saturday, Sunday, or Federal holiday,                         more of NOX, and to each BOF Shop
                                                blast furnace, coke oven facility, electric                             the period shall run until the close of                       containing two or more such units that
                                                arc furnace, ladle metallurgy furnace,                                  business of the next business day.                            collectively emit or have the potential to
                                                ladle/tundish preheating system, reheat                                    Electric Arc Furnace means a furnace                       emit 100 tons per year or more of NOX,
                                                furnace, taconite production kiln,                                      equipped with electrodes used to                              and that is located within any of the
                                                vacuum degasser, and industrial boiler                                  produce carbon steels and alloy steels                        States listed in § 52.40(a)(1)(ii),
                                                meeting the applicability criteria of this                              primarily by recycling ferrous scrap.                         including Indian country located within
                                                section, and any such unit contained                                       Exceedance means a reading in excess                       the borders of any such State(s).
                                                within a BOF Shop meeting the                                           of an applicable opacity or emissions                            (c) Emissions Limitations and
                                                applicability criteria of this section.                                 limitation.                                                   Requirements. Beginning with the 2026
                                                  Annealing furnace shall mean a                                           Ladle Metallurgy Furnace means a                           ozone season and in each ozone season
                                                furnace used to heat materials at very                                  furnace used to refine molten steel into                      thereafter, the emissions limitations in
                                                high temperatures to change their                                       specialty grades while keeping the steel                      the following table must be met on a 3-
                                                hardness and strength properties.                                       in the ladle.                                                 hour rolling average.

                                                                                                                                  TABLE 1 TO PARAGRAPH (c)
                                                                                          Emission unit                                                                  NOX Emissions standard or control requirement

                                                Blast Furnace ...........................................................................................   0.03 lb/mmBtu.
                                                Basic Oxygen Process Furnace ...............................................................                0.07 lb/ton steel.
                                                Electric Arc Furnace .................................................................................      0.15 lb/ton steel.
                                                Ladle/tundish Preheaters ..........................................................................         0.06 lb/mmBtu.
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                                                Reheat furnace .........................................................................................    0.05 lb/mmBtu.
                                                Annealing Furnace ...................................................................................       0.06 lb/mmBtu.
                                                Vacuum Degasser ....................................................................................        0.03 lb/mmBtu.
                                                Ladle Metallurgy Furnace .........................................................................          0.1 lb/ton steel.
                                                Taconite Production Kilns .........................................................................         Install and operate low NOX burners as required by 2013 and 2016
                                                                                                                                                              Minnesota FIPs. 40 CFR § 52.1183.
                                                Coke Ovens (charging) ............................................................................          0.15 lb/ton of coal charged.
                                                Coke Oven push cars and pushing-charging machines (pushing) ..........                                      0.015 lb/ton of coal pushed.



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                                                                                                                      TABLE 1 TO PARAGRAPH (c)—Continued
                                                                                          Emission unit                                                                 NOX Emissions standard or control requirement

                                                Boilers—Coal, blast furnace gas, and coke oven gas .............................                           0.20 lb/mmBtu.
                                                Boilers—Residual oil ................................................................................      0.20 lb/mmBtu.
                                                Boilers—Distillate oil .................................................................................   0.12 lb/mmBtu.
                                                Boilers—Natural gas .................................................................................      0.08 lb/mmBtu.



                                                   (d) Compliance and Monitoring                                       the basis for required emission                               assurance or control activities should
                                                Requirements—(1) Compliance                                            reductions.                                                   not be used for purposes of calculating
                                                Requirements (i) Each affected unit                                       (2) Monitoring Requirements (i) For                        data averages. You must use all of the
                                                identified in Table 1 to paragraph (c) of                              each unit identified in Table 1 to                            data collected from all other periods in
                                                this section must design, install,                                     paragraph (c) of this section of this rule,                   assessing compliance. A monitoring
                                                maintain, and continuously operate                                     you must install, operate, and maintain                       malfunction is any sudden, infrequent,
                                                NOX control devices as necessary to                                    a NOX continuous emission monitoring                          not reasonably preventable failure of the
                                                achieve emissions limits set forth in                                  system (CEMS) to monitor compliance                           monitoring equipment to provide valid
                                                Table 1 to paragraph (c) of this section                               with the emissions limits set forth in                        data. Monitoring failures that are caused
                                                in a manner consistent with good air                                   Table 1 to paragraph (c) of this section.                     in part by poor maintenance or careless
                                                pollution control practices as described                               Each CEMS shall be installed and                              operation are not malfunctions. Any
                                                in 40 CFR 63.6(e).                                                     operated in accordance with                                   period for which the monitoring system
                                                   (A) If you are the owner or operator                                requirements set forth at 40 CFR part 60,                     is out-of-control and data are not
                                                of an affected unit not identified in                                  appendix B.                                                   available for required calculations
                                                paragraph (d)(1)(i)(B) of this section,                                   (ii) You must conduct a performance                        constitutes a deviation from the
                                                you must submit to EPA a work plan for                                 evaluation of each CEMS according to                          monitoring requirements.
                                                each affected unit within 180 days of                                  the requirements in 40 CFR 63.8 and                              (e) Recordkeeping requirements (1)
                                                the effective date of this rule identifying                            according to 40 CFR part 60, appendix                         You shall maintain records of the
                                                how each affected unit will comply with                                B.                                                            following information for each day the
                                                the emissions limits set forth in Table 1                                 (iii) You must notify EPA in writing                       affected unit operates:
                                                to paragraph (c) of this section. Each                                 of your intention to conduct a                                   (i) Calendar date;
                                                work plan must include identification of                               performance test at least 60 calendar                            (ii) The average hourly NOX emission
                                                the control device selected and the                                    days before the performance test is                           rates measured or predicted;
                                                phased construction timeframe by                                       initially scheduled to begin in                                  (iii) The 30-day average NOX emission
                                                which you will design, install, and                                    accordance with 40 CFR 63.7 (b).                              rates calculated at the end of each
                                                consistently operate the device.                                          (iv) As specified in 40 CFR                                affected unit operating day from the
                                                                                                                       63.8(c)(4)(ii), each CEMS must complete                       measured or predicted hourly NOX
                                                   (B) For each taconite production kiln                               a minimum of one cycle of operation                           emission rates for the preceding 30
                                                affected by this rule, you must install,                               (sampling, analyzing, and data                                steam generating unit operating days;
                                                maintain, and continuously operate                                     recording) for each successive 15-                               (iv) Identification of the affected unit
                                                low-NOX burners to reduce existing                                     minute period. You must have at least                         operating days when the calculated 30-
                                                average NOX emissions from the facility                                two data points, each representing a                          day average NOX emission rates are in
                                                by 40% during all periods of kiln                                      different 15-minute period within the                         excess of the applicable NOX emission
                                                operation.                                                             same hour, to have a valid hour of data.                      limit in Table 1 to paragraph (c) of this
                                                   (1) If you have already installed low-                                 (v) All CEMS data must be reduced as                       section with the reasons for such excess
                                                NOX burners as required by the 2013 or                                 specified in 40 CFR 63.8(g)(2) and                            emissions as well as a description of
                                                2016 Minnesota Regional Haze Federal                                   recorded as NOX in parts per million by                       corrective actions taken;
                                                Implementation Plans,352 then you must                                 volume, dry basis (ppmvd).                                       (v) Identification of the affected unit
                                                submit a report to EPA within 180 days                                    (vi) Proper maintenance. You must                          operating days for which pollutant data
                                                of the effective date of this rule                                     maintain the CEMS equipment at all                            have not been obtained, including
                                                demonstrating that the low-NOX burner                                  times that the unit is operating,                             reasons for not obtaining sufficient data
                                                is designed to achieve 40% reduction of                                including but not limited to,                                 and a description of corrective actions
                                                kiln NOX emissions.                                                    maintaining necessary parts for routine                       taken;
                                                   (2) If you have not yet installed low-                              repairs of the monitoring equipment.                             (vi) Identification of the times when
                                                NOX burners as required by the 2013 or                                    (vii) You must conduct all monitoring                      emission data have been excluded from
                                                2016 Minnesota Regional Haze Federal                                   in continuous operation at all times that                     the calculation of average emission rates
                                                Implementation Plans, then you must                                    the unit is operating, except for, as                         and the reasons for excluding data;
                                                submit a work plan identifying the low-                                applicable, monitoring malfunctions,                             (viii) Identification of the times when
                                                NOX burner selected and the phased                                     associated repairs, and required quality                      the pollutant concentration exceeded
                                                construction timeframe by which you                                    assurance or control activities                               full span of the CEMS;
                                                will design, install, and consistently                                 (including, as applicable, calibration                           (ix) Description of any modifications
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                                                operate the burner. Each work plan shall                               drift checks and required zero and high-                      to the CEMS that could affect the ability
                                                include performance test results                                       level adjustments). Quality assurance or                      of the CEMS to comply with
                                                obtained within five years of the                                      control activities must be performed                          Performance Specification 2 or 3 in
                                                effective date of this rule to be used as                              according to procedure 1 of 40 CFR part                       appendix B of 40 CFR part 60; and
                                                baseline emission testing data providing                               60, appendix F.                                                  (x) Results of daily CEMS drift tests
                                                                                                                          (viii) Data recorded during monitoring                     and quarterly accuracy assessments as
                                                  352 https://archive.epa.gov/reg5oair/taconite/web/                   malfunctions, associated repairs, out-of-                     required under Procedure 1 of 40 CFR
                                                html/index.html.                                                       control periods, and required quality                         part 60, appendix F.


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                                                   (2) Any records required to be                       attachment in the ERT or an alternate                  after the end of the calendar quarter.
                                                maintained by this section that are                     electronic file consistent with the XML                The reports shall be accompanied by a
                                                submitted electronically via the EPA’s                  schema listed on the EPA’s ERT                         certification from the owner or operator
                                                CEDRI may be maintained in electronic                   website. Submit the ERT generated                      indicating whether the affected unit was
                                                format. This ability to maintain                        package or alternative file to the EPA via             in compliance with the applicable
                                                electronic copies does not affect the                   CEDRI.                                                 emission limits and minimum data
                                                requirement for facilities to make                         (iii) CBI. Do not use CEDRI to submit               requirements of this section during the
                                                records, data, and reports available                    information you claim as CBI. Anything                 reporting period. These quarterly
                                                upon request to the EPA as part of an                   submitted using CEDRI cannot later be                  reports must be submitted in PDF
                                                on-site compliance evaluation.                          claimed CBI. Although we do not expect                 format to the EPA via CEDRI or
                                                   (f) Reporting requirements (1) Within                persons to assert a claim of CBI, if you               analogous electronic reporting approach
                                                180 days of the effective date of this                  wish to assert a CBI claim for some of                 provided by the EPA to report data
                                                rule, you shall submit a work plan in                   the information submitted under                        required by this section.
                                                accordance with requirements set forth                  paragraph (f)(1)(i) or (ii) of this section,              (7) If you are required to
                                                in paragraph (d)(1)(i)(A) of this section,              you must submit a complete file,                       electronically submit a report through
                                                including identification of the control                 including information claimed to be                    CEDRI in the EPA’s CDX, you may
                                                device selected and the phased                          CBI, to the EPA. The file must be                      assert a claim of EPA system outage for
                                                construction timeframe by which you                     generated using the EPA’s ERT or an                    failure to timely comply with that
                                                will design, install, and consistently                  alternate electronic file consistent with              reporting requirement. To assert a claim
                                                operate the device. For taconite kilns                  the XML schema listed on the EPA’s                     of EPA system outage, you must meet
                                                subject to paragraph (d)(1)(i)(B)(2) of                 ERT website. Submit the file on a                      the requirements outlined in paragraphs
                                                this section each work plan shall                       compact disc, flash drive, or other                    (f)(7)(i) through (vii) of this section.
                                                include performance test results                        commonly used electronic storage                          (i) You must have been or will be
                                                obtained within five years of the                       medium and clearly mark the medium                     precluded from accessing CEDRI and
                                                effective date of this rule to be used as               as CBI. Mail the electronic medium to                  submitting a required report within the
                                                baseline emission testing data providing                U.S. EPA/OAQPS/CORE CBI Office, MD                     time prescribed due to an outage of
                                                the basis for required emission                         C404–02, 4930 Old Page Rd., Durham,                    either the EPA’s CEDRI or CDX systems.
                                                reductions.                                             NC 27703. The same file with the CBI                      (ii) The outage must have occurred
                                                   (2) By no later than March 30, 2026,                 omitted must be submitted to the EPA                   within the period of time beginning five
                                                each owner/operator of an affected unit                 via the EPA’s CDX as described in                      business days prior to the date that the
                                                shall submit a final report certifying                  paragraphs (f)(1)(i) and (ii). All CBI                 submission is due.
                                                installation of each selected control                   claims must be asserted at the time of                    (iii) The outage may be planned or
                                                device has completed. Each such report                  submission. Furthermore, under CAA                     unplanned.
                                                shall contain dates of final construction               section 114(c), emissions data is not                     (iv) You must submit notification to
                                                and relevant performance testing, where                 entitled to confidential treatment, and                the Administrator in writing as soon as
                                                applicable, demonstrating compliance                    the EPA is required to make emissions                  possible following the date you first
                                                with limits set forth in Table 1 to                     data available to the public. Thus,                    knew, or through due diligence should
                                                paragraph (c) of this section.                          emissions data will not be protected as                have known, that the event may cause
                                                   (3) Within 60 days after the date of                 CBI and will be made publicly available.               or has caused a delay in reporting.
                                                completing each performance test                           (4) You are required to submit excess                  (v) You must provide to the
                                                required by this section, you must                      emission reports for any excess                        Administrator a written description
                                                submit the results of the performance                   emissions that occurred during the                     identifying:
                                                test or performance evaluation of the                   reporting period. Excess emissions are                    (A) The date(s) and time(s) when CDX
                                                CEMS following the procedures                           defined as any calculated 30-day rolling               or CEDRI was accessed and the system
                                                specified in paragraphs (c)(3)(i) through               average NOX emission rate, as                          was unavailable;
                                                (iii) of this section:                                  determined under paragraph (c)(3)(iii) of                 (B) A rationale for attributing the
                                                   (i) Data collected using test methods                this section, that exceeds the applicable              delay in reporting beyond the regulatory
                                                supported by the EPA’s ERT as listed on                 emission limit in paragraph (c) of this                deadline to EPA system outage;
                                                the EPA’s ERT website (https://                         section. Excess emission reports must be                  (C) A description of measures taken or
                                                www.epa.gov/electronic-reporting-air-                   submitted in PDF format to the EPA via                 to be taken to minimize the delay in
                                                emissions/electronic-reporting-tool-ert)                CEDRI or analogous electronic reporting                reporting; and
                                                at the time of the test. Submit the results             approach provided by the EPA to report                    (D) The date by which you propose to
                                                of the performance test to the EPA via                  data required by this section.                         report, or if you have already met the
                                                the CEDRI or analogous electronic                         (5) If you own or operate an affected                reporting requirement at the time of the
                                                reporting approach provided by the EPA                  unit subject to the continuous                         notification, the date you reported.
                                                to report data required by this section,                monitoring requirements for NOX under                     (vi) The decision to accept the claim
                                                which can be accessed through the                       paragraph (d) of this section, you shall               of EPA system outage and allow an
                                                EPA’s CDX (https://cdx.epa.gov/). The                   submit reports containing the                          extension to the reporting deadline is
                                                data must be submitted in a file format                 information recorded under paragraph                   solely within the discretion of the
                                                generated using the EPA’s ERT.                          (d) as described in paragraph (e)(6) of                Administrator.
                                                Alternatively, you may submit an                        this section. Compliance reports for                      (vii) In any circumstance, the report
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                                                electronic file consistent with the XML                 continuous monitoring must be                          must be submitted electronically as
                                                schema listed on the EPA’s ERT                          submitted in PDF format to the EPA via                 soon as possible after the outage is
                                                website.                                                CEDRI or analogous electronic reporting                resolved.
                                                   (ii) Data collected using test methods               approach provided by the EPA to report                    (8) If you are required to
                                                that are not supported by the EPA’s ERT                 data required by this section.                         electronically submit a report through
                                                as listed on the EPA’s ERT website at                      (6) If you own or operate an affected               CEDRI in the EPA’s CDX, you may
                                                the time of the test. The results of the                unit, you must submit electronic                       assert a claim of force majeure for
                                                performance test must be included as an                 quarterly reports no later than 30 days                failure to timely comply with that


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                                                reporting requirement. To assert a claim                required for melting is provided by                       Pressed and blown glass means glass
                                                of force majeure, you must meet the                     electric current from electrodes                       which is pressed, blown, or both,
                                                requirements outlined in paragraphs                     submerged in the molten glass, although                including textile fiberglass,
                                                (f)(8)(i) through (v) of this section.                  some fossil fuel may be charged to the                 noncontinuous flat glass, noncontainer
                                                   (i) You may submit a claim if a force                furnace as raw material only.                          glass, and other products listed in SIC
                                                majeure event is about to occur, occurs,                   Borosilicate recipe means glass                     3229. It is separated into: Glass of
                                                or has occurred or there are lingering                  product composition of the following                   borosilicate recipe, Glass of soda-lime
                                                effects from such an event within the                   approximate ranges of weight                           and lead recipes, and Glass of opal,
                                                period of time beginning five business                  proportions: 60 to 80 percent silicon                  fluoride, and other recipes.
                                                days prior to the date the submission is                dioxide, 4 to 10 percent total R2O (e.g.,                 Raw material means minerals, such as
                                                due. For the purposes of this section, a                Na2O and K2O), 5 to 35 percent boric                   silica sand, limestone, and dolomite;
                                                force majeure event is defined as an                    oxides, and 0 to 13 percent other oxides.              inorganic chemical compounds, such as
                                                event that will be or has been caused by                   Container glass means glass made of                 soda ash (sodium carbonate), salt cake
                                                circumstances beyond the control of the                 soda-lime recipe, clear or colored,                    (sodium sulfate), and potash (potassium
                                                affected facility, its contractors, or any              which is pressed and/or blown into                     carbonate); metal oxides and other
                                                entity controlled by the affected facility              bottles, jars, ampoules, and other                     metal-based compounds, such as lead
                                                that prevents you from complying with                   products listed in Standard Industrial                 oxide, chromium oxide, and sodium
                                                the requirement to submit a report                      Classification 3221 (SIC 3221).                        antimonate; metal ores, such as
                                                electronically within the time period                      Experimental furnace means a glass                  chromite and pyrolusite; and other
                                                prescribed. Examples of such events are                 melting furnace with the sole purpose of               substances that are intentionally added
                                                acts of nature (e.g., hurricanes,                       operating to evaluate glass melting                    to a glass manufacturing batch and
                                                earthquakes, or floods), acts of war or                 processes, technologies, or glass                      melted in a glass melting furnace to
                                                terrorism, or equipment failure or safety               products. An experimental furnace does                 produce glass. Metals that are naturally-
                                                hazard beyond the control of the                        not produce glass that is sold (except for             occurring trace constituents or
                                                affected facility (e.g., large scale power              further research and development                       contaminants of other substances are
                                                outage).                                                purposes) or that is used as a raw                     not considered to be raw materials.
                                                   (ii) You must submit notification to                 material for nonexperimental furnaces.
                                                                                                                                                                  Rebricking means cold replacement of
                                                the Administrator in writing as soon as                    Flat glass means glass made of soda-
                                                                                                                                                               damaged or worn refractory parts of the
                                                possible following the date you first                   lime recipe and produced into
                                                                                                                                                               glass melting furnace. Rebricking
                                                knew, or through due diligence should                   continuous flat sheets and other
                                                                                                                                                               includes replacement of the refractories
                                                have known, that the event may cause                    products listed in SIC 3211.
                                                                                                           Glass melting furnace means a unit                  comprising the bottom, sidewalls, or
                                                or has caused a delay in reporting.                                                                            roof of the melting vessel; replacement
                                                                                                        comprising a refractory vessel in which
                                                   (iii) You must provide to the                                                                               of refractory work in the heat exchanger;
                                                                                                        raw materials are charged, melted at
                                                Administrator:                                                                                                 replacement of refractory portions of the
                                                                                                        high temperature, refined, and
                                                   (A) A written description of the force                                                                      glass conditioning and distribution
                                                                                                        conditioned to produce molten glass.
                                                majeure event;                                                                                                 system.
                                                                                                        The unit includes foundations,
                                                   (B) A rationale for attributing the                                                                            Soda-lime recipe means glass product
                                                                                                        superstructure and retaining walls, raw
                                                delay in reporting beyond the regulatory                                                                       composition of the following ranges of
                                                                                                        material charger systems, heat
                                                deadline to the force majeure event;                                                                           weight proportions: 60 to 75 percent
                                                   (C) A description of measures taken or               exchangers, melter cooling system,
                                                                                                        exhaust system, refractory brick work,                 silicon dioxide, 10 to 17 percent total
                                                to be taken to minimize the delay in                                                                           R2O (e.g., Na2O and K2O), 8 to 20
                                                reporting; and                                          fuel supply and electrical boosting
                                                                                                        equipment, integral control systems and                percent total RO but not to include any
                                                   (D) The date by which you propose to                                                                        PbO (e.g., CaO, and MgO), 0 to 8 percent
                                                report, or if you have already met the                  instrumentation, and appendages for
                                                                                                        conditioning and distributing molten                   total R2O3 (e.g., Al2O3), and 1 to 5
                                                reporting requirement at the time of the                                                                       percent other oxides.
                                                notification, the date you reported.                    glass to forming apparatuses. The
                                                                                                        forming apparatuses, including the float                  Textile fiberglass means fibrous glass
                                                   (iv) The decision to accept the claim                                                                       in the form of continuous strands
                                                of force majeure and allow an extension                 bath used in flat glass manufacturing
                                                                                                        and flow channels in wool fiberglass                   having uniform thickness.
                                                to the reporting deadline is solely                                                                               Wool fiberglass means fibrous glass of
                                                within the discretion of the                            and textile fiberglass manufacturing, are
                                                                                                        not considered part of the glass melting               random texture, including fiber glass
                                                Administrator.                                                                                                 insulation, and other products listed in
                                                   (v) In any circumstance, the reporting               furnace.
                                                                                                           Glass produced means the weight of                  SIC 3296.
                                                must occur as soon as possible after the                                                                          (b) Applicability You are subject to
                                                                                                        the glass pulled from the glass melting
                                                force majeure event occurs.                                                                                    the requirements under this section if
                                                                                                        furnace.
                                                § 52.44 What are the requirements of the                   Hand glass melting furnace means a                  you own or operate a new or existing
                                                Federal Implementation Plans (FIPs)                     glass melting furnace where the molten                 glass manufacturing furnace that
                                                relating to ozone season emissions of                   glass is removed from the furnace by a                 directly emits or has the potential to
                                                nitrogen oxides from the Glass and Glass                glassworker using a blowpipe or a                      emit 100 tons per year or more of NOX
                                                Product Manufacturing Industry?                         pontil.                                                and is located within any of the States
                                                  (a) Definitions. All terms not defined                   Lead recipe means glass product                     listed in § 52.40(a)(1)(ii), including
                                                herein shall have the meaning given                     composition of the following ranges of                 Indian country located within the
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                                                them in the Act and in subpart A of part                weight proportions: 50 to 60 percent                   borders of any such State(s).
                                                60.                                                     silicon dioxide, 18 to 35 percent lead                    (c) Emissions limitations If you own
                                                  Affected units means a glass                          oxides, 5 to 20 percent total R2O (e.g.,               or operate an affected unit you are
                                                manufacturing furnace meeting the                       Na2O and K2O), 0 to 8 percent total R2O3               subject to the NOX emissions limits in
                                                applicability criteria of this section.                 (e.g., Al2O3), 0 to 15 percent total RO                the following table beginning with the
                                                  All-electric melter means a glass                     (e.g., CaO, MgO), other than lead oxide,               2026 ozone season and in each ozone
                                                melting furnace in which all the heat                   and 5 to 10 percent other oxides.                      season thereafter:


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                                                       TABLE 1 TO PARAGRAPH (c)                               (2) If a continuous emission                        (ii) Data collected using test methods
                                                                                                           monitoring system has been installed on             that are not supported by the EPA’s ERT
                                                                                          Proposed NOX the affected unit, on a daily basis the                 as listed on the EPA’s ERT website at
                                                                                             emissions     owner or operator shall conduct the                 the time of the test. The results of the
                                                         Furnace type                           limit                                                          performance test must be included as an
                                                                                          (lb/ton of glass following steps:
                                                                                             produced)        (A) Step 1: determine the average                attachment in the ERT or an alternate
                                                                                                           pounds of NOX emitted per day,                      electronic file consistent with the XML
                                                Container Glass Manufac-                                      (B) Step 2: determine the tons of glass          schema listed on the EPA’s ERT
                                                  turing Furnace ...................                   4.0 removed per day,                                    website. Submit the ERT generated
                                                Pressed/Blown Glass Manu-                                     (C) Step 3: divide the average pounds            package or alternative file to the EPA via
                                                  facturing Furnace or Fiber-                                                                                  CEDRI.
                                                  glass Manufacturing Fur-
                                                                                                           of NOX emitted per day determined in
                                                                                                           step   (1) by the tons of glass removed per            (iii) CBI. Do not use CEDRI to submit
                                                  nace ..................................              4.0                                                     information you claim as CBI. Anything
                                                Flat Glass Manufacturing                                   day determined in step (2). The quotient
                                                  Furnace .............................                9.2 is pounds of NOX emitted per ton of
                                                                                                                                                               submitted using CEDRI cannot later be
                                                                                                           glass removed; and                                  claimed CBI. Although we do not expect
                                                   (d) Testing and Monitoring                                 (D) Step 4: compare the quotient to              persons to assert a claim of CBI, if you
                                                Requirements If you own or operate an                      the emission limit specified at                     wish to assert a CBI claim for some of
                                                affected unit you must conduct                             § 52.44(c)(1).                                      the information submitted under
                                                performance tests, on a semiannual                            (e) Recordkeeping requirements (1) If            paragraph (f)(1)(i) or (ii) of this section,
                                                basis, in accordance with the applicable you own or operate an affected unit, you                              you must submit a complete file,
                                                reference test methods of 40 CFR part                      must retain records of the calculations             including information claimed to be
                                                                                                           and measurements as required in                     CBI, to the EPA. The file must be
                                                60, Appendix A, any alternative test
                                                                                                           paragraph (e) of this section for 5-year            generated using the EPA’s ERT or an
                                                method approved by EPA as of April 6,
                                                                                                                                                               alternate electronic file consistent with
                                                2022 under 40 CFR 59.104(f), 60.8(b)(3), period specified in 52.40(b)(3). You
                                                                                                                                                               the XML schema listed on the EPA’s
                                                61.13(h)(1)(ii), 63.7(e)(2)(ii), or                        must record the results of each
                                                                                                                                                               ERT website. Submit the file on a
                                                65.158(a)(2) and available at EPA’s                        inspection and maintenance proposed
                                                                                                                                                               compact disc, flash drive, or other
                                                website (https://www.epa.gov/emc/                          rule in a logbook (written or electronic
                                                                                                                                                               commonly used electronic storage
                                                broadly-applicable-approved-                               format). You shall keep the logbook
                                                                                                                                                               medium and clearly mark the medium
                                                alternative-test-methods), or other                        onsite and make the logbook available to
                                                                                                                                                               as CBI. Mail the electronic medium to
                                                methods and procedures approved by                         the permitting authority upon request,
                                                                                                                                                               U.S. EPA/OAQPS/CORE CBI Office, MD
                                                EPA through notice-and-comment                             consistent with the requirements of 40
                                                                                                                                                               C404–02, 4930 Old Page Rd., Durham,
                                                rulemaking. Direct measurement or                          CFR part 63, subpart SSSSSS,
                                                                                                                                                               NC 27703. The same file with the CBI
                                                material balance using good engineering § 63.11457(c).                                                         omitted must be submitted to the EPA
                                                practice shall be used to determine the                       (2) Any records required to be                   via the EPA’s CDX as described in
                                                amount of glass pulled during the                          maintained by this section that are                 paragraphs (f)(1)(i) and (ii). All CBI
                                                performance test. The rate of glass                        submitted electronically via the EPA’s              claims must be asserted at the time of
                                                produced is defined as the weight of                       CEDRI may be maintained in electronic               submission. Furthermore, under CAA
                                                glass pulled from the affected facility                    format. This ability to maintain                    section 114(c), emissions data is not
                                                during the performance test divided by                     electronic copies does not affect the               entitled to confidential treatment, and
                                                the number of hours taken to perform                       requirement for facilities to make                  the EPA is required to make emissions
                                                the performance test.                                      records, data, and reports available                data available to the public. Thus,
                                                   (1) Owners or operators of affected                     upon request to the EPA as part of an               emissions data will not be protected as
                                                units must calculate and record the 30-                    on-site compliance evaluation.                      CBI and will be made publicly available.
                                                operating day rolling emission rate of                        (f) Reporting requirements (1) Within               (2) If you own or operate an affected
                                                NOX as the total of all hourly emissions                   60 days after the date of completing                unit, you shall submit a semi-annual
                                                data for a glass manufacturing furnace                     each performance test required by this              report, at least every six months, in PDF
                                                in the preceding 30 days, divided by the section, you must submit the results of                               format to the EPA via CEDRI or
                                                total tons of glass produced in that                       the performance test following the                  analogous electronic reporting approach
                                                furnace during the same 30-operating                       procedures specified in paragraphs                  provided by the EPA to report data
                                                day period. If a continuous emission                       (e)(1)(i) through (iii) of this section:            required by this section.
                                                monitoring system has not been                                (i) Data collected using test methods               (3) If you are required to
                                                installed on the affected unit, the owner supported by the EPA’s ERT as listed on                              electronically submit a report through
                                                or operator shall conduct the following                    the EPA’s ERT website (https://                     CEDRI in the EPA’s CDX, you may
                                                steps:                                                     www.epa.gov/electronic-reporting-air-               assert a claim of EPA system outage for
                                                   (A) Step 1: determine the average                       emissions/electronic-reporting-tool-ert)            failure to timely comply with that
                                                pounds of NOX emitted per hour by                          at the time of the test. Submit the results         reporting requirement. To assert a claim
                                                averaging three one-hour tests,                            of the performance test to the EPA via              of EPA system outage, you must meet
                                                   (B) Step 2: determine the average tons the CEDRI or analogous electronic                                    the requirements outlined in paragraphs
                                                of glass removed per hour during the                       reporting approach provided by the EPA              (f)(3)(i) through (vii) of this section.
                                                same time period as the three one-hour                     to report data required by this section,               (i) You must have been or will be
                                                tests in step 1,                                           which can be accessed through the
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                                                                                                                                                               precluded from accessing CEDRI and
                                                   (C) Step 3: divide the average pounds                   EPA’s CDX (https://cdx.epa.gov/). The               submitting a required report within the
                                                of NOX emitted per hour determined in                      data must be submitted in a file format             time prescribed due to an outage of
                                                step 1 by the average tons of glass                        generated using the EPA’s ERT.                      either the EPA’s CEDRI or CDX systems.
                                                removed per hour determined in step 2, Alternatively, you may submit an                                           (ii) The outage must have occurred
                                                   (D) Step 4: compare the quotient to                     electronic file consistent with the XML             within the period of time beginning five
                                                the emission limits specified at                           schema listed on the EPA’s ERT                      business days prior to the date that the
                                                § 52.44(c)(1).                                             website.                                            submission is due.


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                                                   (iii) The outage may be planned or                   have known, that the event may cause          emission limits for NOX identified in
                                                unplanned.                                              or has caused a delay in reporting.           paragraph (c) of this section, you shall
                                                   (iv) You must submit notification to                   (iii) You must provide to the               conduct an initial compliance test as
                                                the Administrator in writing as soon as                 Administrator:                                described in 40 CFR § 60.8 using the
                                                possible following the date you first                     (A) A written description of the force      continuous system for monitoring NOX
                                                knew, or through due diligence should                   majeure event;                                specified by EPA Test Method 7E—
                                                have known, that the event may cause                      (B) A rationale for attributing the         Determination of Nitrogen Oxide
                                                or has caused a delay in reporting.                     delay in reporting beyond the regulatory      Emissions from Stationary Sources
                                                   (v) You must provide to the                          deadline to the force majeure event;          (Instrumental Analyzer Procedure), as
                                                Administrator a written description                       (C) A description of measures taken or      described at 40 CFR part 60, Appendix
                                                identifying:                                            to be taken to minimize the delay in          A–4. In lieu of the timing of the
                                                   (A) The date(s) and time(s) when CDX                 reporting; and                                compliance test described in 40 CFR
                                                or CEDRI was accessed and the system                      (D) The date by which you propose to        60.8(a), the test shall be conducted
                                                was unavailable;                                        report, or if you have already met the        within 90 days from the installation of
                                                   (B) A rationale for attributing the                  reporting requirement at the time of the      the pollution control equipment used to
                                                delay in reporting beyond the regulatory                notification, the date you reported.          comply with the NOX emission limits in
                                                                                                          (iv) The decision to accept the claim       paragraph (c) of this section.
                                                deadline to EPA system outage;
                                                                                                        of force majeure and allow an extension          (2) For the initial compliance test,
                                                   (C) A description of measures taken or
                                                                                                        to the reporting deadline is solely           NOX emissions from the affected unit
                                                to be taken to minimize the delay in
                                                                                                        within the discretion of the                  shall be monitored for 30 successive
                                                reporting; and
                                                                                                        Administrator.                                operating days and the 30-day average
                                                   (D) The date by which you propose to                   (v) In any circumstance, the reporting
                                                report, or if you have already met the                                                                emission rate will be used to determine
                                                                                                        must occur as soon as possible after the      compliance with the NOX emission
                                                reporting requirement at the time of the                force majeure event occurs.
                                                notification, the date you reported.                                                                  limits in paragraph (c) of this section.
                                                   (vi) The decision to accept the claim                § 52.45 What are the requirements of the
                                                                                                                                                      The 30-day average emission rate is
                                                                                                                                                      calculated as the average of all hourly
                                                of EPA system outage and allow an                       Federal Implementation Plans (FIPs)
                                                                                                        relating to ozone season emissions of         emission data recorded by the
                                                extension to the reporting deadline is
                                                                                                        nitrogen oxides from the Basic Chemical       monitoring system during the 30-day
                                                solely within the discretion of the
                                                                                                        Manufacturing, Petroleum and Coal             test period.
                                                Administrator.                                                                                           (e) Monitoring requirements. (1) The
                                                                                                        Products Manufacturing, and Pulp, Paper,
                                                   (vii) In any circumstance, the report                and Paperboard Mills Industries?              NOX emission limits in paragraph (c) of
                                                must be submitted electronically as                                                                   this section shall apply at all times.
                                                                                                           (a) Definitions. All terms not defined
                                                soon as possible after the outage is                                                                     (2) You shall install, calibrate,
                                                                                                        herein shall have the meaning given
                                                resolved.                                                                                             maintain, and operate a continuous
                                                                                                        them in the Act and in subpart A of 40
                                                   (4) If you are required to                                                                         emissions monitoring system (CEMS)
                                                                                                        CFR part 60.
                                                electronically submit a report through                     Affected unit means an industrial          for measuring NOX emissions and either
                                                CEDRI in the EPA’s CDX, you may                         boiler meeting the applicability criteria     oxygen (O2) or carbon dioxide (CO2),
                                                assert a claim of force majeure for                     of this section.                              unless the Administrator has approved
                                                failure to timely comply with that                         (b) Applicability. (1) The requirements a request from the you to use an
                                                reporting requirement. To assert a claim                of this section apply to each new or          alternative monitoring technique under
                                                of force majeure, you must meet the                     existing boiler with a design capacity of paragraph (e)(8) of this section. If you
                                                requirements outlined in paragraphs                     100 mmBtu/hr or greater fueled by coal, have previously installed a NOX
                                                (f)(4)(i) through (v) of this section.                  residual oil, distillate oil, or natural gas, emission rate CEMS to meet the
                                                   (i) You may submit a claim if a force                located at sources that are within the        requirements of 40 CFR part 75 and
                                                majeure event is about to occur, occurs,                Basic Chemical Manufacturing industry continue to meet the ongoing
                                                or has occurred or there are lingering                  (NAICS code 3251xx), the Petroleum            requirements of 40 CFR part 75, that
                                                effects from such an event within the                   and Coal Products Manufacturing               CEMS may be used to meet the
                                                period of time beginning five business                  industry (NAICS code 3241xx), and the         monitoring requirements of this section.
                                                days prior to the date the submission is                Pulp, Paper, and Paperboard industry             (3) The CEMS required under
                                                due. For the purposes of this section, a                (NAICS code 3221xx), and which is             paragraph (e)(2) of this section shall be
                                                force majeure event is defined as an                    located within any of the States listed in operated and data recorded during all
                                                event that will be or has been caused by                § 52.40(a)(1)(ii), including Indian           periods of operation of the affected unit
                                                circumstances beyond the control of the                 country located within the borders of         except for CEMS breakdowns and
                                                affected facility, its contractors, or any              any such State(s).                            repairs. Data shall be recorded during
                                                entity controlled by the affected facility                 (c) Emission limitations. Beginning        calibration checks and zero and span
                                                that prevents you from complying with                   with the 2026 ozone season and in each adjustments.
                                                the requirement to submit a report                      ozone season thereafter, the following           (4) The 1-hour average NOX emission
                                                electronically within the time period                   emission limits apply, based on a 30-         rates measured by the CEMS required by
                                                prescribed. Examples of such events are                 day averaging time:                           paragraph (e)(2) of this section shall be
                                                acts of nature (e.g., hurricanes,                          (1) Coal-fired industrial boilers: 0.20    expressed in terms of lbs/mmBtu heat
                                                earthquakes, or floods), acts of war or                 lbs NOX/mmBtu;                                input and shall be used to calculate the
                                                terrorism, or equipment failure or safety
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                                                                                                           (2) Residual oil-fired industrial          average emission rates under 40 CFR
                                                hazard beyond the control of the                        boilers: 0.15 lbs NOX/mmBtu;                  52.45(c).
                                                affected facility (e.g., large scale power                 (3) Distillate oil-fired industrial           (5) Following the date on which the
                                                outage).                                                boilers: 0.12 lbs NOX/mmBtu; and              initial compliance test is completed,
                                                   (ii) You must submit notification to                    (4) Natural gas-fired industrial boilers: you shall determine compliance with
                                                the Administrator in writing as soon as                 0.08 lbs NOX/mmBtu.                           the applicable NOX emission limit in
                                                possible following the date you first                      (d) Initial compliance testing. (1) To     paragraph (c) of this section on a
                                                knew, or through due diligence should                   determine compliance with the                 continuous basis using a 30-day rolling


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                                                average emission rate unless the affected                  (2) You shall maintain records of the               emissions/electronic-reporting-tool-ert)
                                                unit monitors emissions by means of an                  following information for each day the                 at the time of the test. Submit the results
                                                alternative monitoring procedure                        affected unit operates:                                of the performance test to the EPA via
                                                approved pursuant to paragraph (e)(8) of                   (i) Calendar date;                                  the CEDRI or analogous electronic
                                                this section. A new 30-day rolling                         (ii) The average hourly NOX emission                reporting approach provided by the EPA
                                                average emission rate is calculated for                 rates (expressed as lbs NO2/mmBtu heat                 to report data required by this section,
                                                each operating day as the average of all                input) measured or predicted;                          which can be accessed through the
                                                the hourly NOX emission data for the                       (iii) The 30-day average NOX emission               EPA’s CDX (https://cdx.epa.gov/). The
                                                preceding 30 operating days.                            rates calculated at the end of each                    data must be submitted in a file format
                                                   (6) The procedures under 40 CFR                      affected unit operating day from the                   generated using the EPA’s ERT.
                                                60.13 shall be followed for installation,               measured or predicted hourly NOX                       Alternatively, you may submit an
                                                evaluation, and operation of the                        emission rates for the preceding 30                    electronic file consistent with the XML
                                                continuous monitoring systems.                          steam generating unit operating days;                  schema listed on the EPA’s ERT
                                                Additionally, the span value for units                     (iv) Identification of the affected unit            website.
                                                combusting coal shall be 1,000 ppm                      operating days when the calculated 30-                    (ii) Data collected using test methods
                                                NOX, and for units combusting oil or gas                day average NOX emission rates are in                  that are not supported by the EPA’s ERT
                                                the span value shall be 500 ppm NOX.                    excess of the applicable NOX emission                  as listed on the EPA’s ERT website at
                                                As an alternative to meeting the span                   limit in paragraph (c) of this section                 the time of the test. The results of the
                                                value requirements stated above, you                    with the reasons for such excess                       performance test must be included as an
                                                may elect to use the NOX span values                    emissions as well as a description of                  attachment in the ERT or an alternate
                                                determined according to section 2.1.2 in                corrective actions taken;                              electronic file consistent with the XML
                                                appendix A to 40 CFR part 75.                              (v) Identification of the affected unit             schema listed on the EPA’s ERT
                                                   (7) When NOX emission data are not                   operating days for which pollutant data                website. Submit the ERT generated
                                                obtained because of CEMS breakdowns,                    have not been obtained, including                      package or alternative file to the EPA via
                                                repairs, calibration checks and zero and                reasons for not obtaining sufficient data              CEDRI.
                                                                                                        and a description of corrective actions                   (iii) CBI. Do not use CEDRI to submit
                                                span adjustments, emission data will be
                                                                                                        taken;                                                 information you claim as CBI. Anything
                                                obtained by using standby monitoring
                                                                                                           (vi) Identification of the times when               submitted using CEDRI cannot later be
                                                systems, Method 7 of 40 CFR part 60,
                                                                                                        emission data have been excluded from                  claimed CBI. Although we do not expect
                                                Method 7A of 40 CFR part 60, or other
                                                                                                        the calculation of average emission rates              persons to assert a claim of CBI, if you
                                                approved reference methods to provide
                                                                                                        and the reasons for excluding data;                    wish to assert a CBI claim for some of
                                                emission data for a minimum of 75                                                                              the information submitted under
                                                                                                           (vii) Identification of ‘‘F’’ factor used
                                                percent of the operating hours in each                                                                         paragraph (g)(1)(i) or (ii) of this section,
                                                                                                        for calculations, method of
                                                affected unit operating day, in at least                                                                       you must submit a complete file,
                                                                                                        determination, and type of fuel
                                                22 out of 30 successive operating days.                                                                        including information claimed to be
                                                                                                        combusted;
                                                   (8) Installation of a CEMS for NOX                      (viii) Identification of the times when             CBI, to the EPA. The file must be
                                                may be delayed until after the initial                  the pollutant concentration exceeded                   generated using the EPA’s ERT or an
                                                performance test has been conducted. If                 full span of the CEMS;                                 alternate electronic file consistent with
                                                you demonstrate during the                                 (ix) Description of any modifications               the XML schema listed on the EPA’s
                                                performance test that emissions of NOX                  to the CEMS that could affect the ability              ERT website. Submit the file on a
                                                are less than 70 percent of the                         of the CEMS to comply with                             compact disc, flash drive, or other
                                                applicable emission limit in paragraph                  Performance Specification 2 or 3 in                    commonly used electronic storage
                                                (c) of this section, a CEMS for measuring               appendix B of 40 CFR part 60; and                      medium and clearly mark the medium
                                                NOX emissions is not required. If you                      (x) Results of daily CEMS drift tests               as CBI. Mail the electronic medium to
                                                demonstrate its boiler emits less than 70               and quarterly accuracy assessments as                  U.S. EPA/OAQPS/CORE CBI Office, MD
                                                percent of the applicable emission limit                required under Procedure 1 of 40 CFR                   C404–02, 4930 Old Page Rd., Durham,
                                                chooses to not install a CEMS, you must                 part 60, appendix F.                                   NC 27703. The same file with the CBI
                                                submit a written request to the                            (3) Any records required to be                      omitted must be submitted to the EPA
                                                Administrator that documents the                        maintained by this section that are                    via the EPA’s CDX as described in
                                                results of the initial performance test                 submitted electronically via the EPA’s                 paragraphs (g)(1)(i) and (ii) of this
                                                and includes an alternative monitoring                  CEDRI may be maintained in electronic                  section. All CBI claims must be asserted
                                                procedure that will be used to track                    format. This ability to maintain                       at the time of submission. Furthermore,
                                                compliance with the applicable NOX                      electronic copies does not affect the                  under CAA section 114(c), emissions
                                                emission limit(s) in paragraph (c) of this              requirement for facilities to make                     data is not entitled to confidential
                                                section. The Administrator will                         records, data, and reports available                   treatment, and the EPA is required to
                                                consider the request and, following                     upon request to the EPA as part of an                  make emissions data available to the
                                                public notice and comment, may                          on-site compliance evaluation.                         public. Thus, emissions data will not be
                                                approve the alternative monitoring                         (g) Reporting requirements. (1) Within              protected as CBI and will be made
                                                procedure with or without revision, or                  60 days after the date of completing                   publicly available.
                                                disapprove the request. Upon receipt of                 each performance test required by this                    (2) You are required to submit excess
                                                a disapproved request, you will have                    section, you must submit the results of                emission reports for any excess
                                                one year to install a CEMS in                                                                                  emissions that occurred during the
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                                                                                                        the performance test or performance
                                                accordance with the provisions for                      evaluation of the CEMS following the                   reporting period. Excess emissions are
                                                CEMS described in paragraph (e) of this                 procedures specified in paragraphs (g)(i)              defined as any calculated 30-day rolling
                                                section.                                                through (iii) of this section:                         average NOX emission rate, as
                                                   (f) Recordkeeping requirements (1)                      (i) Data collected using test methods               determined under paragraph (g)(3)(iii) of
                                                You shall record and maintain records                   supported by the EPA’s ERT as listed on                this section, that exceeds the applicable
                                                of the amounts of each fuel combusted                   the EPA’s ERT website (https://                        emission limit in paragraph (c) of this
                                                during each calendar month.                             www.epa.gov/electronic-reporting-air-                  section. Excess emission reports must be


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                                                submitted in PDF format to the EPA via                     (C) A description of measures taken or              to the reporting deadline is solely
                                                CEDRI or analogous electronic reporting                 to be taken to minimize the delay in                   within the discretion of the
                                                approach provided by the EPA to report                  reporting; and                                         Administrator.
                                                data required by this section.                             (D) The date by which you propose to                  (v) In any circumstance, the reporting
                                                   (3) If you own or operate an affected                report, or if you have already met the                 must occur as soon as possible after the
                                                unit subject to the continuous                          reporting requirement at the time of the               force majeure event occurs.
                                                monitoring requirements for NOX under                   notification, the date you reported.
                                                paragraph (e) of this section, you shall                   (vi) The decision to accept the claim               Subpart B—Alabama
                                                submit reports containing the                           of EPA system outage and allow an                      ■ 5. Amend § 52.54 by revising
                                                information recorded under paragraph                    extension to the reporting deadline is                 paragraphs (b)(2) and (3) and adding
                                                (e) of this section as described in                     solely within the discretion of the                    paragraphs (b)(4) and (5) to read as
                                                paragraph (g)(2) of this section.                       Administrator.                                         follows:
                                                Compliance reports for continuous                          (vii) In any circumstance, the report
                                                monitoring must be submitted in PDF                     must be submitted electronically as                    § 52.54 Interstate pollutant transport
                                                format to the EPA via CEDRI or                          soon as possible after the outage is                   provisions; What are the FIP requirements
                                                                                                        resolved.                                              for decreases in emissions of nitrogen
                                                analogous electronic reporting approach
                                                                                                           (6) If you are required to                          oxides?
                                                provided by the EPA to report data
                                                required by this section.                               electronically submit a report through                 *     *     *     *     *
                                                   (4) If you own or operate an affected                CEDRI in the EPA’s CDX, you may                          (b) * * *
                                                unit, you must submit electronic                        assert a claim of force majeure for                      (2) The owner and operator of each
                                                quarterly reports no later than 30 days                 failure to timely comply with that                     source and each unit located in the State
                                                after the end of the calendar quarter.                  reporting requirement. To assert a claim               of Alabama and Indian country within
                                                The reports shall be accompanied by a                   of force majeure, you must meet the                    the borders of the State and for which
                                                                                                        requirements outlined in paragraphs                    requirements are set forth under the
                                                certification from the owner or operator
                                                                                                        (g)(6)(i) through (v) of this section.                 CSAPR NOX Ozone Season Group 2
                                                indicating whether the affected unit was
                                                                                                           (i) You may submit a claim if a force               Trading Program in subpart EEEEE of
                                                in compliance with the applicable
                                                                                                        majeure event is about to occur, occurs,               part 97 of this chapter must comply
                                                emission limits and minimum data
                                                                                                        or has occurred or there are lingering                 with such requirements with regard to
                                                requirements of this section during the
                                                                                                        effects from such an event within the                  emissions occurring in 2017 through
                                                reporting period. These quarterly
                                                                                                        period of time beginning five business                 2022. The obligation to comply with
                                                reports must be submitted in PDF
                                                                                                        days prior to the date the submission is               such requirements with regard to
                                                format to the EPA via CEDRI or
                                                                                                        due. For the purposes of this section, a               sources and units in the State and areas
                                                analogous electronic reporting approach
                                                                                                        force majeure event is defined as an                   of Indian country within the borders of
                                                provided by the EPA to report data                                                                             the State subject to the State’s SIP
                                                required by this section.                               event that will be or has been caused by
                                                                                                        circumstances beyond the control of the                authority will be eliminated by the
                                                   (5) If you are required to
                                                                                                        affected facility, its contractors, or any             promulgation of an approval by the
                                                electronically submit a report through
                                                                                                        entity controlled by the affected facility             Administrator of a revision to Alabama’s
                                                CEDRI in the EPA’s CDX, you may
                                                                                                        that prevents you from complying with                  State Implementation Plan (SIP) as
                                                assert a claim of EPA system outage for
                                                                                                        the requirement to submit a report                     correcting the SIP’s deficiency that is
                                                failure to timely comply with that
                                                                                                        electronically within the time period                  the basis for the CSAPR Federal
                                                reporting requirement. To assert a claim
                                                                                                        prescribed. Examples of such events are                Implementation Plan (FIP) under
                                                of EPA system outage, you must meet
                                                                                                        acts of nature (e.g., hurricanes,                      § 52.38(b)(1) and (b)(2)(ii) for those
                                                the requirements outlined in paragraphs
                                                                                                        earthquakes, or floods), acts of war or                sources and units, except to the extent
                                                (g)(5)(i) through (vii) of this section.
                                                   (i) You must have been or will be                    terrorism, or equipment failure or safety              the Administrator’s approval is partial
                                                precluded from accessing CEDRI and                      hazard beyond the control of the                       or conditional. The obligation to comply
                                                submitting a required report within the                 affected facility (e.g., large scale power             with such requirements with regard to
                                                time prescribed due to an outage of                     outage).                                               sources and units located in areas of
                                                either the EPA’s CEDRI or CDX systems.                     (ii) You must submit notification to                Indian country within the borders of the
                                                   (ii) The outage must have occurred                   the Administrator in writing as soon as                State not subject to the State’s SIP
                                                within the period of time beginning five                possible following the date you first                  authority will not be eliminated by the
                                                business days prior to the date that the                knew, or through due diligence should                  promulgation of an approval by the
                                                submission is due.                                      have known, that the event may cause                   Administrator of a revision to Alabama’s
                                                   (iii) The outage may be planned or                   or has caused a delay in reporting.                    SIP.
                                                unplanned.                                                 (iii) You must provide to the                         (3) The owner and operator of each
                                                   (iv) You must submit notification to                 Administrator:                                         source and each unit located in the State
                                                the Administrator in writing as soon as                    (A) A written description of the force              of Alabama and Indian country within
                                                possible following the date you first                   majeure event;                                         the borders of the State and for which
                                                knew, or through due diligence should                      (B) A rationale for attributing the                 requirements are set forth under the
                                                have known, that the event may cause                    delay in reporting beyond the regulatory               CSAPR NOX Ozone Season Group 3
                                                or has caused a delay in reporting.                     deadline to the force majeure event;                   Trading Program in subpart GGGGG of
                                                   (v) You must provide to the                             (C) A description of measures taken or              part 97 of this chapter must comply
                                                                                                                                                               with such requirements with regard to
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                                                Administrator a written description                     to be taken to minimize the delay in
                                                identifying:                                            reporting; and                                         emissions occurring in 2023 and each
                                                   (A) The date(s) and time(s) when CDX                    (D) The date by which you propose to                subsequent year. The obligation to
                                                or CEDRI was accessed and the system                    report, or if you have already met the                 comply with such requirements with
                                                was unavailable;                                        reporting requirement at the time of the               regard to sources and units in the State
                                                   (B) A rationale for attributing the                  notification, the date you reported.                   and areas of Indian country within the
                                                delay in reporting beyond the regulatory                   (iv) The decision to accept the claim               borders of the State subject to the State’s
                                                deadline to EPA system outage;                          of force majeure and allow an extension                SIP authority will be eliminated by the


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                                                promulgation of an approval by the                      ■ a. Redesignating paragraphs (a)                      Group 2 allowances allocated for control
                                                Administrator of a revision to Alabama’s                through (c) as paragraphs (a)(1) through               periods before 2023 to different amounts
                                                State Implementation Plan (SIP) as                      (3);                                                   of CSAPR NOX Ozone Season Group 3
                                                correcting the SIP’s deficiency that is                 ■ b. In newly redesignated paragraph                   allowances), and the provisions of
                                                the basis for the CSAPR Federal                         (a)(2), removing ‘‘2017 and each                       § 97.811(e) of this chapter (concerning
                                                Implementation Plan (FIP) under                         subsequent year.’’ and adding in its                   the recall of CSAPR NOX Ozone Season
                                                § 52.38(b)(1) and (b)(2)(iii) for those                 place ‘‘2017 through 2022.’’, and                      Group 2 allowances equivalent in
                                                sources and units, except to the extent                 removing the second sentence;                          quantity and usability to all such
                                                the Administrator’s approval is partial                 ■ c. Revising newly redesignated                       allowances allocated to units in the
                                                or conditional. The obligation to comply                paragraph (a)(3); and                                  State for control periods after 2022)
                                                with such requirements with regard to                   ■ d. Adding paragraphs (a)(4) and (5)                  shall continue to apply.
                                                sources and units located in areas of                   and (b).                                                  (b) The owner and operator of each
                                                Indian country within the borders of the                   The revision and additions read as                  source located in the State of Arkansas
                                                State not subject to the State’s SIP                    follows:                                               and for which requirements are set forth
                                                authority will not be eliminated by the                                                                        in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                                                                        § 52.184 Interstate pollutant transport
                                                promulgation of an approval by the                      provisions; What are the FIP requirements
                                                                                                                                                               § 52.44, or § 52.45 must comply with
                                                Administrator of a revision to Alabama’s                for decreases in emissions of nitrogen                 such requirements with regard to
                                                SIP.                                                    oxides?                                                emissions occurring in 2026 and each
                                                                                                           (a) * * *                                           subsequent year.
                                                   (4) Notwithstanding the provisions of
                                                paragraphs (b)(2) and (3) of this section,                 (3) The owner and operator of each                  Subpart F—California
                                                if, at the time of the approval of                      source and each unit located in the State
                                                                                                        of Arkansas and for which requirements                 ■ 7. Add § 52.284 to read as follows:
                                                Alabama’s SIP revision described in
                                                paragraph (b)(2) or (3) of this section,                are set forth under the CSAPR NOX
                                                                                                                                                               § 52.284 Interstate pollutant transport
                                                the Administrator has already started                   Ozone Season Group 3 Trading Program                   provisions; What are the FIP requirements
                                                recording any allocations of CSAPR                      in subpart GGGGG of part 97 of this                    for decreases in emissions of nitrogen
                                                                                                        chapter must comply with such                          oxides?
                                                NOX Ozone Season Group 2 allowances
                                                                                                        requirements with regard to emissions                    The owner and operator of each
                                                or CSAPR NOX Ozone Season Group 3
                                                                                                        occurring in 2023 and each subsequent                  source located in the State of California
                                                allowances under subpart EEEEE or
                                                                                                        year. The obligation to comply with                    and Indian country within the borders
                                                GGGGG, respectively, of part 97 of this
                                                                                                        such requirements will be eliminated by                of the State and for which requirements
                                                chapter to units in the State and areas
                                                                                                        the promulgation of an approval by the                 are set forth in § 52.40 and § 52.41,
                                                of Indian country within the borders of
                                                                                                        Administrator of a revision to Arkansas’               § 52.42, § 52.43, § 52.44, or § 52.45 must
                                                the State subject to the State’s SIP
                                                                                                        State Implementation Plan (SIP) as                     comply with such requirements with
                                                authority for a control period in any
                                                                                                        correcting the SIP’s deficiency that is                regard to emissions occurring in 2026
                                                year, the provisions of such subpart
                                                                                                        the basis for the CSAPR Federal                        and each subsequent year.
                                                authorizing the Administrator to
                                                                                                        Implementation Plan (FIP) under
                                                complete the allocation and recordation                 § 52.38(b)(1) and (b)(2)(iii), except to the
                                                of such allowances to such units for                                                                           Subpart I—Delaware
                                                                                                        extent the Administrator’s approval is
                                                each such control period shall continue                 partial or conditional.                                ■ 8. Amend § 52.440 by adding
                                                to apply, unless provided otherwise by                     (4) Notwithstanding the provisions of               paragraph (d) to read as follows:
                                                such approval of the State’s SIP                        paragraph (a)(3) of this section, if, at the
                                                revision.                                                                                                      § 52.440 Interstate pollutant transport
                                                                                                        time of the approval of Arkansas’ SIP                  provisions; What are the FIP requirements
                                                   (5) Notwithstanding the provisions of                revision described in paragraph (a)(3) of              for decreases in emissions of nitrogen
                                                paragraph (b)(2) of this section, after                 this section, the Administrator has                    oxides?
                                                2022 the provisions of § 97.826(c) of this              already started recording any allocations              *     *     *      *     *
                                                chapter (concerning the transfer of                     of CSAPR NOX Ozone Season Group 3                        (d)(1) The owner and operator of each
                                                CSAPR NOX Ozone Season Group 2                          allowances under subpart GGGGG of                      source and each unit located in the State
                                                allowances between certain accounts                     part 97 of this chapter to units in the                of Delaware and for which requirements
                                                under common control), the provisions                   State for a control period in any year,                are set forth under the CSAPR NOX
                                                of § 97.826(e) of this chapter                          the provisions of subpart GGGGG of part                Ozone Season Group 3 Trading Program
                                                (concerning the conversion of amounts                   97 of this chapter authorizing the                     in subpart GGGGG of part 97 of this
                                                of unused CSAPR NOX Ozone Season                        Administrator to complete the                          chapter must comply with such
                                                Group 2 allowances allocated for control                allocation and recordation of CSAPR                    requirements with regard to emissions
                                                periods before 2023 to different amounts                NOX Ozone Season Group 3 allowances                    occurring in 2023 and each subsequent
                                                of CSAPR NOX Ozone Season Group 3                       to such units for each such control                    year. The obligation to comply with
                                                allowances), and the provisions of                      period shall continue to apply, unless                 such requirements will be eliminated by
                                                § 97.811(e) of this chapter (concerning                 provided otherwise by such approval of                 the promulgation of an approval by the
                                                the recall of CSAPR NOX Ozone Season                    the State’s SIP revision.                              Administrator of a revision to
                                                Group 2 allowances equivalent in                           (5) Notwithstanding the provisions of               Delaware’s State Implementation Plan
                                                quantity and usability to all such                      paragraph (a)(2) of this section, after                (SIP) as correcting the SIP’s deficiency
                                                                                                        2022 the provisions of § 97.826(c) of this
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                                                allowances allocated to units in the                                                                           that is the basis for the CSAPR Federal
                                                State and Indian country within the                     chapter (concerning the transfer of                    Implementation Plan (FIP) under
                                                borders of the State for control periods                CSAPR NOX Ozone Season Group 2                         § 52.38(b)(1) and (b)(2)(iii), except to the
                                                after 2022) shall continue to apply.                    allowances between certain accounts                    extent the Administrator’s approval is
                                                                                                        under common control), the provisions                  partial or conditional.
                                                Subpart E—Arkansas                                      of § 97.826(e) of this chapter                           (2) Notwithstanding the provisions of
                                                                                                        (concerning the conversion of amounts                  paragraph (d)(1) of this section, if, at the
                                                ■ 6. Amend § 52.184 by:                                 of unused CSAPR NOX Ozone Season                       time of the approval of Delaware’s SIP


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                                                revision described in paragraph (d)(1) of               ■ b. Adding paragraph (c).                              the borders of the State subject to the
                                                this section, the Administrator has                           The addition reads as follows:                    State’s SIP authority for a control period
                                                already started recording any allocations                                                                       in any year, the provisions of subpart
                                                                                                        § 52.940 Interstate pollutant transport
                                                of CSAPR NOX Ozone Season Group 3                                                                               GGGGG of part 97 of this chapter
                                                                                                        provisions; What are the FIP requirements
                                                allowances under subpart GGGGG of                       for decreases in emissions of nitrogen                  authorizing the Administrator to
                                                part 97 of this chapter to units in the                 oxides?                                                 complete the allocation and recordation
                                                State for a control period in any year,                                                                         of CSAPR NOX Ozone Season Group 3
                                                                                                        *     *     *     *    *
                                                the provisions of subpart GGGGG of part                                                                         allowances to such units for each such
                                                                                                          (c) The owner and operator of each
                                                97 of this chapter authorizing the                                                                              control period shall continue to apply,
                                                                                                        source located in the State of Kentucky
                                                Administrator to complete the                                                                                   unless provided otherwise by such
                                                                                                        and for which requirements are set forth
                                                allocation and recordation of CSAPR                                                                             approval of the State’s SIP revision.
                                                                                                        in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                NOX Ozone Season Group 3 allowances                                                                             *      *    *      *    *
                                                                                                        § 52.44, or § 52.45 must comply with
                                                to such units for each such control                                                                                (e) The owner and operator of each
                                                                                                        such requirements with regard to
                                                period shall continue to apply, unless                                                                          source located in the State of Louisiana
                                                                                                        emissions occurring in 2026 and each
                                                provided otherwise by such approval of                                                                          and Indian country within the borders
                                                                                                        subsequent year.
                                                the State’s SIP revision.                                                                                       of the State and for which requirements
                                                                                                        Subpart T—Louisiana                                     are set forth in § 52.40 and § 52.41,
                                                Subpart O—Illinois                                                                                              § 52.42, § 52.43, § 52.44, or § 52.45 must
                                                                                                        ■ 12. Amend § 52.984 by:                                comply with such requirements with
                                                ■ 9. Amend § 52.731 by:
                                                                                                        ■ a. In paragraph (d)(3), revising the                  regard to emissions occurring in 2026
                                                ■ a. In paragraph (b)(3), removing
                                                ‘‘(b)(2)(v), except’’ and adding in its                 second and third sentences;                             and each subsequent year.
                                                                                                        ■ b. Revising paragraph (d)(4);
                                                place ‘‘(b)(2)(iii), except’’; and
                                                                                                        ■ c. In paragraph (d)(5), adding ‘‘and                  Subpart V—Maryland
                                                ■ b. Adding paragraph (c).
                                                   The addition reads as follows:                       Indian country within the borders of the
                                                                                                        State’’ after ‘‘in the State’’; and                     ■ 13. Amend § 52.1084 by:
                                                § 52.731 Interstate pollutant transport                 ■ d. Adding paragraph (e).                              ■ a. In paragraph (b)(3), removing
                                                provisions; What are the FIP requirements                 The revision and addition read as                     ‘‘(b)(2)(v), except’’ and adding in its
                                                for decreases in emissions of nitrogen                  follows:                                                place ‘‘(b)(2)(iii), except’’; and
                                                oxides?                                                                                                         ■ b. Adding paragraph (c).
                                                *     *     *     *    *                                § 52.984 Interstate pollutant transport                    The addition reads as follows:
                                                  (c) The owner and operator of each                    provisions; What are the FIP requirements
                                                                                                        for decreases in emissions of nitrogen                  § 52.1084 Interstate pollutant transport
                                                source located in the State of Illinois                                                                         provisions; What are the FIP requirements
                                                                                                        oxides?
                                                and for which requirements are set forth                                                                        for decreases in emissions of nitrogen
                                                in § 52.40 and § 52.41, § 52.42, § 52.43,               *      *    *      *     *                              oxides?
                                                § 52.44, or § 52.45 must comply with                       (d) * * *
                                                                                                           (3) * * * The obligation to comply                   *     *     *     *    *
                                                such requirements with regard to                                                                                  (c) The owner and operator of each
                                                emissions occurring in 2026 and each                    with such requirements with regard to
                                                                                                                                                                source located in the State of Maryland
                                                subsequent year.                                        sources and units in the State and areas
                                                                                                                                                                and for which requirements are set forth
                                                                                                        of Indian country within the borders of
                                                                                                                                                                in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                Subpart P—Indiana                                       the State subject to the State’s SIP
                                                                                                                                                                § 52.44, or § 52.45 must comply with
                                                                                                        authority will be eliminated by the
                                                ■ 10. Amend § 52.789 by:                                                                                        such requirements with regard to
                                                                                                        promulgation of an approval by the
                                                ■ a. In paragraph (b)(2), removing                                                                              emissions occurring in 2026 and each
                                                                                                        Administrator of a revision to
                                                ‘‘(b)(2)(iv), except’’ and adding in its                                                                        subsequent year.
                                                                                                        Louisiana’s State Implementation Plan
                                                place ‘‘(b)(2)(ii), except’’;
                                                                                                        (SIP) as correcting the SIP’s deficiency                Subpart X—Michigan
                                                ■ b. In paragraph (b)(3), removing
                                                                                                        that is the basis for the CSAPR Federal
                                                ‘‘(b)(2)(v), except’’ and adding in its                                                                         ■ 14. Amend § 52.1186 by:
                                                                                                        Implementation Plan (FIP) under
                                                place ‘‘(b)(2)(iii), except’’; and                                                                              ■ a. In paragraph (e)(3), revising the
                                                ■ c. Adding paragraph (c).
                                                                                                        § 52.38(b)(1) and(b)(2)(iii) for those
                                                                                                        sources and units, except to the extent                 second and third sentences;
                                                   The addition reads as follows:
                                                                                                        the Administrator’s approval is partial                 ■ b. Revising paragraph (e)(4);
                                                § 52.789 Interstate pollutant transport                 or conditional. The obligation to comply                ■ c. In paragraph (e)(5), adding ‘‘and
                                                provisions; What are the FIP requirements               with such requirements with regard to                   Indian country within the borders of the
                                                for decreases in emissions of nitrogen                  sources and units located in areas of                   State’’ after ‘‘in the State’’; and
                                                oxides?                                                                                                         ■ d. Adding paragraph (f).
                                                                                                        Indian country within the borders of the
                                                *     *     *     *    *                                State not subject to the State’s SIP                      The revision and addition read as
                                                  (c) The owner and operator of each                    authority will not be eliminated by the                 follows:
                                                source located in the State of Indiana                  promulgation of an approval by the                      § 52.1186 Interstate pollutant transport
                                                and for which requirements are set forth                Administrator of a revision to                          provisions; What are the FIP requirements
                                                in § 52.40 and § 52.41, § 52.42, § 52.43,               Louisiana’s SIP.                                        for decreases in emissions of nitrogen
                                                § 52.44, or § 52.45 must comply with                       (4) Notwithstanding the provisions of                oxides?
                                                such requirements with regard to                        paragraph (d)(3) of this section, if, at the            *     *     *    *      *
                                                emissions occurring in 2026 and each                    time of the approval of Louisiana’s SIP
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                                                                                                                                                                  (e) * * *
                                                subsequent year.                                        revision described in paragraph (d)(3) of                 (3) * * * The obligation to comply
                                                                                                        this section, the Administrator has                     with such requirements with regard to
                                                Subpart S—Kentucky
                                                                                                        already started recording any allocations               sources and units in the State and areas
                                                ■ 11. Amend § 52.940 by:                                of CSAPR NOX Ozone Season Group 3                       of Indian country within the borders of
                                                ■ a. In paragraph (b)(3), removing                      allowances under subpart GGGGG of                       the State subject to the State’s SIP
                                                ‘‘(b)(2)(v), except’’ and adding in its                 part 97 of this chapter to units in the                 authority will be eliminated by the
                                                place ‘‘(b)(2)(iii), except’’; and                      State and areas of Indian country within                promulgation of an approval by the


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                                                Administrator of a revision to                          comply with such requirements with                     ■ d. Adding paragraphs (a)(4) and (5)
                                                Michigan’s State Implementation Plan                    regard to sources and units in the State               and (b).
                                                (SIP) as correcting the SIP’s deficiency                and areas of Indian country within the                   The revision and additions read as
                                                that is the basis for the CSAPR Federal                 borders of the State subject to the State’s            follows:
                                                Implementation Plan (FIP) under                         SIP authority will be eliminated by the
                                                                                                                                                               § 52.1284 Interstate pollutant transport
                                                § 52.38(b)(1) and(b)(2)(iii) for those                  promulgation of an approval by the                     provisions; What are the FIP requirements
                                                sources and units, except to the extent                 Administrator of a revision to                         for decreases in emissions of nitrogen
                                                the Administrator’s approval is partial                 Minnesota’s State Implementation Plan                  oxides?
                                                or conditional. The obligation to comply                (SIP) as correcting the SIP’s deficiency                  (a) * * *
                                                with such requirements with regard to                   that is the basis for the CSAPR Federal                   (3) The owner and operator of each
                                                sources and units located in areas of                   Implementation Plan (FIP) under                        source and each unit located in the State
                                                Indian country within the borders of the                § 52.38(b)(1) and (b)(2)(iii) for those                of Mississippi and Indian country
                                                State not subject to the State’s SIP                    sources and units, except to the extent                within the borders of the State and for
                                                authority will not be eliminated by the                 the Administrator’s approval is partial                which requirements are set forth under
                                                promulgation of an approval by the                      or conditional. The obligation to comply               the CSAPR NOX Ozone Season Group 3
                                                Administrator of a revision to                          with such requirements with regard to                  Trading Program in subpart GGGGG of
                                                Michigan’s SIP.                                         sources and units located in areas of
                                                   (4) Notwithstanding the provisions of                                                                       part 97 of this chapter must comply
                                                                                                        Indian country within the borders of the               with such requirements with regard to
                                                paragraph (e)(3) of this section, if, at the            State not subject to the State’s SIP
                                                time of the approval of Michigan’s SIP                                                                         emissions occurring in 2023 and each
                                                                                                        authority will not be eliminated by the                subsequent year. The obligation to
                                                revision described in paragraph (e)(3) of               promulgation of an approval by the
                                                this section, the Administrator has                                                                            comply with such requirements with
                                                                                                        Administrator of a revision to                         regard to sources and units in the State
                                                already started recording any allocations               Minnesota’s SIP.
                                                of CSAPR NOX Ozone Season Group 3                                                                              and areas of Indian country within the
                                                                                                           (2) Notwithstanding the provisions of               borders of the State subject to the State’s
                                                allowances under subpart GGGGG of                       paragraph (d)(1) of this section, if, at the
                                                part 97 of this chapter to units in the                                                                        SIP authority will be eliminated by the
                                                                                                        time of the approval of Minnesota’s SIP                promulgation of an approval by the
                                                State and areas of Indian country within
                                                                                                        revision described in paragraph (d)(1) of              Administrator of a revision to
                                                the borders of the State subject to the
                                                                                                        this section, the Administrator has                    Mississippi’s State Implementation Plan
                                                State’s SIP authority for a control period
                                                                                                        already started recording any allocations              (SIP) as correcting the SIP’s deficiency
                                                in any year, the provisions of subpart
                                                                                                        of CSAPR NOX Ozone Season Group 3                      that is the basis for the CSAPR Federal
                                                GGGGG of part 97 of this chapter
                                                                                                        allowances under subpart GGGGG of                      Implementation Plan (FIP) under
                                                authorizing the Administrator to
                                                                                                        part 97 of this chapter to units in the                § 52.38(b)(1) and (b)(2)(iii) for those
                                                complete the allocation and recordation
                                                                                                        State and areas of Indian country within               sources and units, except to the extent
                                                of CSAPR NOX Ozone Season Group 3
                                                                                                        the borders of the State subject to the                the Administrator’s approval is partial
                                                allowances to such units for each such
                                                control period shall continue to apply,                 State’s SIP authority for a control period             or conditional. The obligation to comply
                                                unless provided otherwise by such                       in any year, the provisions of subpart                 with such requirements with regard to
                                                approval of the State’s SIP revision.                   GGGGG of part 97 of this chapter                       sources and units located in areas of
                                                                                                        authorizing the Administrator to                       Indian country within the borders of the
                                                *      *    *      *     *                              complete the allocation and recordation
                                                   (f) The owner and operator of each                                                                          State not subject to the State’s SIP
                                                                                                        of CSAPR NOX Ozone Season Group 3                      authority will not be eliminated by the
                                                source located in the State of Michigan
                                                                                                        allowances to such units for each such                 promulgation of an approval by the
                                                and Indian country within the borders
                                                                                                        control period shall continue to apply,                Administrator of a revision to
                                                of the State and for which requirements
                                                                                                        unless provided otherwise by such                      Mississippi’s SIP.
                                                are set forth in § 52.40 and § 52.41,
                                                                                                        approval of the State’s SIP revision.                     (4) Notwithstanding the provisions of
                                                § 52.42, § 52.43, § 52.44, or § 52.45 must
                                                comply with such requirements with                         (e) The owner and operator of each                  paragraph (a)(3) of this section, if, at the
                                                regard to emissions occurring in 2026                   source located in the State of Minnesota               time of the approval of Mississippi’s SIP
                                                and each subsequent year.                               and Indian country within the borders                  revision described in paragraph (a)(3) of
                                                                                                        of the State and for which requirements                this section, the Administrator has
                                                Subpart Y—Minnesota                                     are set forth in § 52.40 and § 52.41,                  already started recording any allocations
                                                                                                        § 52.42, § 52.43, § 52.44, or § 52.45 must             of CSAPR NOX Ozone Season Group 3
                                                ■ 15. Amend § 52.1240 by adding
                                                                                                        comply with such requirements with                     allowances under subpart GGGGG of
                                                paragraphs (d) and (e) to read as follows:              regard to emissions occurring in 2026                  part 97 of this chapter to units in the
                                                § 52.1240 Interstate pollutant transport                and each subsequent year.                              State and areas of Indian country within
                                                provisions; What are the FIP requirements                                                                      the borders of the State subject to the
                                                for decreases in emissions of nitrogen                  Subpart Z—Mississippi                                  State’s SIP authority for a control period
                                                oxides?                                                                                                        in any year, the provisions of subpart
                                                                                                        ■ 16. Amend § 52.1284 by:
                                                *     *     *     *    *                                                                                       GGGGG of part 97 of this chapter
                                                  (d)(1) The owner and operator of each                 ■ a. Redesignating paragraphs (a)                      authorizing the Administrator to
                                                source and each unit located in the State               through (c) as paragraphs (a)(1) through               complete the allocation and recordation
                                                of Minnesota and Indian country within                  (3);                                                   of CSAPR NOX Ozone Season Group 3
                                                the borders of the State and for which                  ■ b. In newly redesignated paragraph
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                                                                                                                                                               allowances to such units for each such
                                                requirements are set forth under the                    (a)(2), removing ‘‘2017 and each                       control period shall continue to apply,
                                                CSAPR NOX Ozone Season Group 3                          subsequent year.’’ and adding in its                   unless provided otherwise by such
                                                Trading Program in subpart GGGGG of                     place ‘‘2017 through 2022.’’, and                      approval of the State’s SIP revision.
                                                part 97 of this chapter must comply                     removing the second and third                             (5) Notwithstanding the provisions of
                                                with such requirements with regard to                   sentences;                                             paragraph (a)(2) of this section, after
                                                emissions occurring in 2023 and each                    ■ c. Revising newly redesignated                       2022 the provisions of § 97.826(c) of this
                                                subsequent year. The obligation to                      paragraph (a)(3); and                                  chapter (concerning the transfer of


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                                                CSAPR NOX Ozone Season Group 2                          occurring in 2023 and each subsequent                  § 52.1492 Interstate pollutant transport
                                                allowances between certain accounts                     year. The obligation to comply with                    provisions; What are the FIP requirements
                                                under common control), the provisions                   such requirements will be eliminated by                for decreases in emissions of nitrogen
                                                of § 97.826(e) of this chapter                                                                                 oxides?
                                                                                                        the promulgation of an approval by the
                                                (concerning the conversion of amounts                   Administrator of a revision to Missouri’s                 (a)(1) The owner and operator of each
                                                of unused CSAPR NOX Ozone Season                        State Implementation Plan (SIP) as                     source and each unit located in the State
                                                Group 2 allowances allocated for control                correcting the SIP’s deficiency that is                of Nevada and Indian country within
                                                periods before 2023 to different amounts                the basis for the CSAPR Federal                        the borders of the State and for which
                                                of CSAPR NOX Ozone Season Group 3                       Implementation Plan (FIP) under                        requirements are set forth under the
                                                allowances), and the provisions of                                                                             CSAPR NOX Ozone Season Group 3
                                                                                                        § 52.38(b)(1) and (b)(2)(iii), except to the
                                                § 97.811(e) of this chapter (concerning                                                                        Trading Program in subpart GGGGG of
                                                                                                        extent the Administrator’s approval is
                                                the recall of CSAPR NOX Ozone Season                                                                           part 97 of this chapter must comply
                                                Group 2 allowances equivalent in                        partial or conditional.
                                                                                                                                                               with such requirements with regard to
                                                quantity and usability to all such                         (4) Notwithstanding the provisions of               emissions occurring in 2023 and each
                                                allowances allocated to units in the                    paragraphs (b)(2) and (3) of this section,             subsequent year. The obligation to
                                                State and Indian country within the                     if, at the time of the approval of                     comply with such requirements with
                                                borders of the State for control periods                Missouri’s SIP revision described in                   regard to sources and units in the State
                                                after 2022) shall continue to apply.                    paragraph (b)(2) or (3) of this section,               and areas of Indian country within the
                                                   (b) The owner and operator of each                   the Administrator has already started                  borders of the State subject to the State’s
                                                source located in the State of                          recording any allocations of CSAPR                     SIP authority will be eliminated by the
                                                Mississippi and Indian country within                   NOX Ozone Season Group 2 allowances                    promulgation of an approval by the
                                                the borders of the State and for which                  or CSAPR NOX Ozone Season Group 3                      Administrator of a revision to Nevada’s
                                                requirements are set forth in § 52.40 and               allowances under subpart EEEEE or                      State Implementation Plan (SIP) as
                                                § 52.41, § 52.42, § 52.43, § 52.44, or                                                                         correcting the SIP’s deficiency that is
                                                                                                        GGGGG, respectively, of part 97 of this
                                                § 52.45 must comply with such                                                                                  the basis for the CSAPR Federal
                                                                                                        chapter to units in the State for a control
                                                requirements with regard to emissions                                                                          Implementation Plan (FIP) under
                                                occurring in 2026 and each subsequent                   period in any year, the provisions of
                                                                                                        such subpart authorizing the                           § 52.38(b)(1) and (b)(2)(iii) for those
                                                year.                                                                                                          sources and units, except to the extent
                                                                                                        Administrator to complete the
                                                                                                        allocation and recordation of such                     the Administrator’s approval is partial
                                                Subpart AA—Missouri
                                                                                                                                                               or conditional. The obligation to comply
                                                                                                        allowances to such units for each such
                                                ■ 17. Amend § 52.1326 by revising                                                                              with such requirements with regard to
                                                                                                        control period shall continue to apply,
                                                paragraph (b)(2) and (3) and adding                                                                            sources and units located in areas of
                                                                                                        unless provided otherwise by such
                                                paragraphs (b)(4) and (5) and (c) to read                                                                      Indian country within the borders of the
                                                                                                        approval of the State’s SIP revision.                  State not subject to the State’s SIP
                                                as follows:
                                                                                                           (5) Notwithstanding the provisions of               authority will not be eliminated by the
                                                § 52.1326 Interstate pollutant transport                paragraph (b)(2) of this section, after                promulgation of an approval by the
                                                provisions; What are the FIP requirements
                                                for decreases in emissions of nitrogen
                                                                                                        2022 the provisions of § 97.826(c) of this             Administrator of a revision to Nevada’s
                                                oxides?                                                 chapter (concerning the transfer of                    SIP.
                                                *     *     *     *     *                               CSAPR NOX Ozone Season Group 2                           (2) Notwithstanding the provisions of
                                                  (b) * * *                                             allowances between certain accounts                    paragraph (a)(1) of this section, if, at the
                                                  (2) The owner and operator of each                    under common control), the provisions                  time of the approval of Nevada’s SIP
                                                source and each unit located in the State               of § 97.826(e) of this chapter                         revision described in paragraph (a)(1) of
                                                of Missouri and for which requirements                  (concerning the conversion of amounts                  this section, the Administrator has
                                                are set forth under the CSAPR NOX                       of unused CSAPR NOX Ozone Season                       already started recording any allocations
                                                Ozone Season Group 2 Trading Program                    Group 2 allowances allocated for control               of CSAPR NOX Ozone Season Group 3
                                                in subpart EEEEE of part 97 of this                     periods before 2023 to different amounts               allowances under subpart GGGGG of
                                                chapter must comply with such                           of CSAPR NOX Ozone Season Group 3                      part 97 of this chapter to units in the
                                                requirements with regard to emissions                   allowances), and the provisions of                     State and areas of Indian country within
                                                occurring in 2017 through 2022. The                     § 97.811(e) of this chapter (concerning                the borders of the State subject to the
                                                obligation to comply with such                          the recall of CSAPR NOX Ozone Season                   State’s SIP authority for a control period
                                                requirements will be eliminated by the                  Group 2 allowances equivalent in                       in any year, the provisions of subpart
                                                promulgation of an approval by the                                                                             GGGGG of part 97 of this chapter
                                                                                                        quantity and usability to all such
                                                Administrator of a revision to Missouri’s                                                                      authorizing the Administrator to
                                                                                                        allowances allocated to units in the
                                                State Implementation Plan (SIP) as                                                                             complete the allocation and recordation
                                                                                                        State for control periods after 2022)
                                                correcting the SIP’s deficiency that is                                                                        of CSAPR NOX Ozone Season Group 3
                                                                                                        shall continue to apply.                               allowances to such units for each such
                                                the basis for the CSAPR Federal
                                                Implementation Plan (FIP) under                            (c) The owner and operator of each                  control period shall continue to apply,
                                                § 52.38(b)(1) and (b)(2)(ii), except to the             source located in the State of Missouri                unless provided otherwise by such
                                                extent the Administrator’s approval is                  and for which requirements are set forth               approval of the State’s SIP revision.
                                                partial or conditional.                                 in § 52.40 and § 52.41, § 52.42, § 52.43,                 (b) The owner and operator of each
                                                  (3) The owner and operator of each                    § 52.44, or § 52.45 must comply with                   source located in the State of Nevada
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                                                source and each unit located in the State               such requirements with regard to                       and Indian country within the borders
                                                of Missouri and for which requirements                  emissions occurring in 2026 and each                   of the State and for which requirements
                                                are set forth under the CSAPR NOX                       subsequent year.                                       are set forth in § 52.40 and § 52.41,
                                                Ozone Season Group 3 Trading Program                                                                           § 52.42, § 52.43, § 52.44, or § 52.45 must
                                                in subpart GGGGG of part 97 of this                     Subpart DD—Nevada                                      comply with such requirements with
                                                chapter must comply with such                                                                                  regard to emissions occurring in 2026
                                                requirements with regard to emissions                   ■ 18. Add § 52.1492 to read as follows:                and each subsequent year.


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                                                Subpart FF—New Jersey                                   already started recording any allocations              § 52.1930 Interstate pollutant transport
                                                                                                        of CSAPR NOX Ozone Season Group 3                      provisions; What are the FIP requirements
                                                ■ 19. Amend § 52.1584 by:                                                                                      for decreases in emissions of nitrogen
                                                                                                        allowances under subpart GGGGG of
                                                ■ a. In paragraph (e)(3), removing                                                                             oxides?
                                                                                                        part 97 of this chapter to units in the
                                                ‘‘(b)(2)(v), except’’ and adding in its                 State and areas of Indian country within                  (a) * * *
                                                place ‘‘(b)(2)(iii), except’’; and                      the borders of the State subject to the                   (3) The owner and operator of each
                                                ■ b. Adding paragraph (f).                                                                                     source and each unit located in the State
                                                   The addition reads as follows:                       State’s SIP authority for a control period
                                                                                                        in any year, the provisions of subpart                 of Oklahoma and Indian country within
                                                § 52.1584 Interstate pollutant transport                GGGGG of part 97 of this chapter                       the borders of the State and for which
                                                provisions; What are the FIP requirements               authorizing the Administrator to                       requirements are set forth under the
                                                for decreases in emissions of nitrogen                  complete the allocation and recordation                CSAPR NOX Ozone Season Group 3
                                                oxides?                                                 of CSAPR NOX Ozone Season Group 3                      Trading Program in subpart GGGGG of
                                                *     *     *     *    *                                                                                       part 97 of this chapter must comply
                                                                                                        allowances to such units for each such
                                                  (f) The owner and operator of each                                                                           with such requirements with regard to
                                                                                                        control period shall continue to apply,
                                                source located in the State of New Jersey                                                                      emissions occurring in 2023 and each
                                                                                                        unless provided otherwise by such
                                                and for which requirements are set forth                                                                       subsequent year. The obligation to
                                                                                                        approval of the State’s SIP revision.
                                                in § 52.40 and § 52.41, § 52.42, § 52.43,                                                                      comply with such requirements with
                                                                                                        *      *    *      *    *                              regard to sources and units in the State
                                                § 52.44, or § 52.45 must comply with
                                                                                                           (c) The owner and operator of each                  and areas of Indian country within the
                                                such requirements with regard to
                                                                                                        source located in the State of New York                borders of the State subject to the State’s
                                                emissions occurring in 2026 and each
                                                                                                        and Indian country within the borders                  SIP authority will be eliminated by the
                                                subsequent year.
                                                                                                        of the State and for which requirements                promulgation of an approval by the
                                                Subpart HH—New York                                     are set forth in § 52.40 and § 52.41,                  Administrator of a revision to
                                                                                                        § 52.42, § 52.43, § 52.44, or § 52.45 must             Oklahoma’s State Implementation Plan
                                                ■ 20. Amend § 52.1684 by:                               comply with such requirements with                     (SIP) as correcting the SIP’s deficiency
                                                ■ a. In paragraph (b)(3), revising the                  regard to emissions occurring in 2026                  that is the basis for the CSAPR Federal
                                                second and third sentences;                             and each subsequent year.                              Implementation Plan (FIP) under
                                                ■ b. Revising paragraph (b)(4);                                                                                § 52.38(b)(1) and (b)(2)(iii) for those
                                                ■ c. In paragraph (b)(5), adding ‘‘and                  Subpart KK—Ohio                                        sources and units, except to the extent
                                                Indian country within the borders of the                                                                       the Administrator’s approval is partial
                                                State’’ after ‘‘in the State’’; and                     ■ 21. Amend § 52.1882 by:
                                                                                                                                                               or conditional. The obligation to comply
                                                ■ d. Adding paragraph (c).                              ■ a. In paragraph (b)(3), removing                     with such requirements with regard to
                                                  The revision and addition read as                     ‘‘(b)(2)(v), except’’ and adding in its                sources and units located in areas of
                                                follows:                                                place ‘‘(b)(2)(iii), except’’; and                     Indian country within the borders of the
                                                § 52.1684 Interstate pollutant transport                ■ b. Adding paragraph (c).                             State not subject to the State’s SIP
                                                provisions; What are the FIP requirements                  The addition reads as follows:                      authority will not be eliminated by the
                                                for decreases in emissions of nitrogen                                                                         promulgation of an approval by the
                                                oxides?                                                 § 52.1882 Interstate pollutant transport
                                                                                                                                                               Administrator of a revision to
                                                                                                        provisions; What are the FIP requirements
                                                *     *     *     *     *                               for decreases in emissions of nitrogen                 Oklahoma’s SIP.
                                                  (b) * * *                                             oxides?                                                   (4) Notwithstanding the provisions of
                                                  (3) * * * The obligation to comply                                                                           paragraph (a)(3) of this section, if, at the
                                                with such requirements with regard to                   *     *     *     *    *
                                                                                                                                                               time of the approval of Oklahoma’s SIP
                                                sources and units in the State and areas                  (c) The owner and operator of each                   revision described in paragraph (a)(3) of
                                                of Indian country within the borders of                 source located in the State of Ohio and                this section, the Administrator has
                                                the State subject to the State’s SIP                    for which requirements are set forth in                already started recording any allocations
                                                authority will be eliminated by the                     § 52.40 and § 52.41, § 52.42, § 52.43,                 of CSAPR NOX Ozone Season Group 3
                                                promulgation of an approval by the                      § 52.44, or § 52.45 must comply with                   allowances under subpart GGGGG of
                                                Administrator of a revision to New                      such requirements with regard to                       part 97 of this chapter to units in the
                                                York’s State Implementation Plan (SIP)                  emissions occurring in 2026 and each                   State and areas of Indian country within
                                                as correcting the SIP’s deficiency that is              subsequent year.                                       the borders of the State subject to the
                                                the basis for the CSAPR Federal                                                                                State’s SIP authority for a control period
                                                                                                        Subpart LL—Oklahoma
                                                Implementation Plan (FIP) under                                                                                in any year, the provisions of subpart
                                                § 52.38(b)(1) and(b)(2)(iii) for those                  ■ 22. Amend § 52.1930 by:                              GGGGG of part 97 of this chapter
                                                sources and units, except to the extent                 ■ a. Redesignating paragraphs (a)
                                                                                                                                                               authorizing the Administrator to
                                                the Administrator’s approval is partial                 through (c) as paragraphs (a)(1) through               complete the allocation and recordation
                                                or conditional. The obligation to comply                (3);                                                   of CSAPR NOX Ozone Season Group 3
                                                with such requirements with regard to                                                                          allowances to such units for each such
                                                                                                        ■ b. In newly redesignated paragraph
                                                sources and units located in areas of                                                                          control period shall continue to apply,
                                                                                                        (a)(2), removing ‘‘2017 and each
                                                Indian country within the borders of the                                                                       unless provided otherwise by such
                                                                                                        subsequent year.’’ and adding in its
                                                State not subject to the State’s SIP                                                                           approval of the State’s SIP revision.
                                                                                                        place ‘‘2017 through 2022.’’, and                         (5) Notwithstanding the provisions of
                                                authority will not be eliminated by the
                                                                                                        removing the second and third                          paragraph (a)(2) of this section, after
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                                                promulgation of an approval by the
                                                                                                        sentences;                                             2022 the provisions of § 97.826(c) of this
                                                Administrator of a revision to New
                                                York’s SIP.                                             ■ c. Revising newly redesignated                       chapter (concerning the transfer of
                                                  (4) Notwithstanding the provisions of                 paragraph (a)(3); and                                  CSAPR NOX Ozone Season Group 2
                                                paragraph (b)(3) of this section, if, at the            ■ c. Adding paragraphs (a)(4) and (5)                  allowances between certain accounts
                                                time of the approval of New York’s SIP                  and (b).                                               under common control), the provisions
                                                revision described in paragraph (b)(3) of                  The revision and additions read as                  of § 97.826(e) of this chapter
                                                this section, the Administrator has                     follows:                                               (concerning the conversion of amounts


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                                                of unused CSAPR NOX Ozone Season                        part 97 of this chapter must comply                    § 52.2283 Interstate pollutant transport
                                                Group 2 allowances allocated for control                with such requirements with regard to                  provisions; What are the FIP requirements
                                                periods before 2023 to different amounts                emissions occurring in 2023 and each                   for decreases in emissions of nitrogen
                                                                                                                                                               oxides?
                                                of CSAPR NOX Ozone Season Group 3                       subsequent year. The obligation to
                                                allowances), and the provisions of                      comply with such requirements will be                  *      *    *     *     *
                                                § 97.811(e) of this chapter (concerning                 eliminated by the promulgation of an                      (d) * * *
                                                the recall of CSAPR NOX Ozone Season                    approval by the Administrator of a                        (3) The owner and operator of each
                                                Group 2 allowances equivalent in                        revision to Tennessee’s State                          source and each unit located in the State
                                                quantity and usability to all such                      Implementation Plan (SIP) as correcting                of Texas and Indian country within the
                                                allowances allocated to units in the                    the SIP’s deficiency that is the basis for             borders of the State and for which
                                                                                                        the CSAPR Federal Implementation                       requirements are set forth under the
                                                State and Indian country within the
                                                                                                                                                               CSAPR NOX Ozone Season Group 3
                                                borders of the State for control periods                Plan (FIP) under § 52.38(b)(1) and
                                                                                                                                                               Trading Program in subpart GGGGG of
                                                after 2022) shall continue to apply.                    (b)(2)(iii), except to the extent the
                                                   (b) The owner and operator of each                                                                          part 97 of this chapter must comply
                                                                                                        Administrator’s approval is partial or
                                                source located in the State of Oklahoma                                                                        with such requirements with regard to
                                                                                                        conditional.
                                                and Indian country within the borders                                                                          emissions occurring in 2023 and each
                                                                                                           (4) Notwithstanding the provisions of
                                                                                                                                                               subsequent year. The obligation to
                                                of the State and for which requirements                 paragraph (e)(3) of this section, if, at the
                                                                                                                                                               comply with such requirements with
                                                are set forth in § 52.40 and § 52.41,                   time of the approval of Tennessee’s SIP
                                                                                                                                                               regard to sources and units in the State
                                                § 52.42, § 52.43, § 52.44, or § 52.45 must              revision described in paragraph (e)(3) of
                                                                                                                                                               and areas of Indian country within the
                                                comply with such requirements with                      this section, the Administrator has
                                                                                                                                                               borders of the State subject to the State’s
                                                regard to emissions occurring in 2026                   already started recording any allocations
                                                                                                                                                               SIP authority will be eliminated by the
                                                and each subsequent year.                               of CSAPR NOX Ozone Season Group 3
                                                                                                                                                               promulgation of an approval by the
                                                                                                        allowances under subpart GGGGG of
                                                Subpart NN—Pennsylvania                                                                                        Administrator of a revision to Texas’
                                                                                                        part 97 of this chapter to units in the                State Implementation Plan (SIP) as
                                                ■ 23. Amend § 52.2040 by:                               State for a control period in any year,                correcting the SIP’s deficiency that is
                                                ■ a. In paragraph (b)(3), removing                      the provisions of subpart GGGGG of part                the basis for the CSAPR Federal
                                                ‘‘(b)(2)(v), except’’ and adding in its                 97 of this chapter authorizing the                     Implementation Plan (FIP) under
                                                place ‘‘(b)(2)(iii), except’’; and                      Administrator to complete the                          § 52.38(b)(1) and (b)(2)(iii) for those
                                                ■ b. Adding paragraph (c).                              allocation and recordation of CSAPR                    sources and units, except to the extent
                                                   The addition reads as follows:                       NOX Ozone Season Group 3 allowances                    the Administrator’s approval is partial
                                                                                                        to such units for each such control                    or conditional. The obligation to comply
                                                § 52.2040 Interstate pollutant transport                period shall continue to apply, unless
                                                provisions; What are the FIP requirements                                                                      with such requirements with regard to
                                                                                                        provided otherwise by such approval of                 sources and units located in areas of
                                                for decreases in emissions of nitrogen
                                                                                                        the State’s SIP revision.                              Indian country within the borders of the
                                                oxides?
                                                                                                           (5) Notwithstanding the provisions of               State not subject to the State’s SIP
                                                *     *     *     *     *                               paragraph (e)(2) of this section, after
                                                  (c) The owner and operator of each                                                                           authority will not be eliminated by the
                                                                                                        2022 the provisions of § 97.826(c) of this             promulgation of an approval by the
                                                source located in the State of                          chapter (concerning the transfer of
                                                Pennsylvania and for which                                                                                     Administrator of a revision to Texas’
                                                                                                        CSAPR NOX Ozone Season Group 2                         SIP.
                                                requirements are set forth in § 52.40 and               allowances between certain accounts
                                                § 52.41, § 52.42, § 52.43, § 52.44, or                                                                            (4) Notwithstanding the provisions of
                                                                                                        under common control), the provisions                  paragraph (d)(3) of this section, if, at the
                                                § 52.45 must comply with such                           of § 97.826(e) of this chapter
                                                requirements with regard to emissions                                                                          time of the approval of Texas’ SIP
                                                                                                        (concerning the conversion of amounts                  revision described in paragraph (d)(3) of
                                                occurring in 2026 and each subsequent                   of unused CSAPR NOX Ozone Season
                                                year.                                                                                                          this section, the Administrator has
                                                                                                        Group 2 allowances allocated for control               already started recording any allocations
                                                                                                        periods before 2023 to different amounts               of CSAPR NOX Ozone Season Group 3
                                                Subpart RR—Tennessee
                                                                                                        of CSAPR NOX Ozone Season Group 3                      allowances under subpart GGGGG of
                                                ■ 24. Amend § 52.2240 by:                               allowances), and the provisions of                     part 97 of this chapter to units in the
                                                ■ a. In paragraph (e)(2), removing ‘‘2017               § 97.811(e) of this chapter (concerning                State and areas of Indian country within
                                                and each subsequent year.’’ and adding                  the recall of CSAPR NOX Ozone Season                   the borders of the State subject to the
                                                in its place ‘‘2017 through 2022.’’, and                Group 2 allowances equivalent in                       State’s SIP authority for a control period
                                                removing the second sentence;                           quantity and usability to all such                     in any year, the provisions of subpart
                                                ■ b. Revising paragraph (e)(3); and                     allowances allocated to units in the                   GGGGG of part 97 of this chapter
                                                ■ c. Adding paragraphs (e)(4) and (5).                  State for control periods after 2022)                  authorizing the Administrator to
                                                  The revision and additions read as                    shall continue to apply.                               complete the allocation and recordation
                                                follows:
                                                                                                                                                               of CSAPR NOX Ozone Season Group 3
                                                                                                        Subpart SS—Texas
                                                § 52.2240 Interstate pollutant transport                                                                       allowances to such units for each such
                                                provisions; What are the FIP requirements               ■ 25. Amend § 52.2283 by:                              control period shall continue to apply,
                                                for decreases in emissions of nitrogen                  ■ a. In paragraph (d)(2), removing ‘‘2017              unless provided otherwise by such
                                                oxides?                                                 and each subsequent year.’’ and adding                 approval of the State’s SIP revision.
                                                                                                                                                                  (5) Notwithstanding the provisions of
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                                                *     *    *    *     *                                 in its place ‘‘2017 through 2022.’’, and
                                                  (e) * * *                                             removing the second and third                          paragraph (d)(2) of this section, after
                                                  (3) The owner and operator of each                    sentences;                                             2022 the provisions of § 97.826(c) of this
                                                source and each unit located in the State               ■ b. Revising paragraph (d)(3); and                    chapter (concerning the transfer of
                                                of Tennessee and for which                              ■ c. Adding paragraphs (d)(4) and (5)                  CSAPR NOX Ozone Season Group 2
                                                requirements are set forth under the                    and (e).                                               allowances between certain accounts
                                                CSAPR NOX Ozone Season Group 3                            The revision and additions read as                   under common control), the provisions
                                                Trading Program in subpart GGGGG of                     follows:                                               of § 97.826(e) of this chapter


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                                                (concerning the conversion of amounts                   this section, the Administrator has                    emissions occurring in 2026 and each
                                                of unused CSAPR NOX Ozone Season                        already started recording any allocations              subsequent year.
                                                Group 2 allowances allocated for control                of CSAPR NOX Ozone Season Group 3
                                                periods before 2023 to different amounts                allowances under subpart GGGGG of                      Subpart YY—Wisconsin
                                                of CSAPR NOX Ozone Season Group 3                       part 97 of this chapter to units in the                ■ 29. Amend § 52.2587 by:
                                                allowances), and the provisions of                      State and areas of Indian country within               ■ a. In paragraph (e)(2), removing ‘‘2017
                                                § 97.811(e) of this chapter (concerning                 the borders of the State subject to the                and each subsequent year.’’ and adding
                                                the recall of CSAPR NOX Ozone Season                    State’s SIP authority for a control period             in its place ‘‘2017 through 2022.’’, and
                                                Group 2 allowances equivalent in                        in any year, the provisions of subpart                 removing the second and third
                                                quantity and usability to all such                      GGGGG of part 97 of this chapter                       sentences;
                                                allowances allocated to units in the                    authorizing the Administrator to                       ■ b. Revising paragraph (e)(3); and
                                                State and Indian country within the                     complete the allocation and recordation                ■ c. Adding paragraphs (e)(4) and (5)
                                                borders of the State for control periods                of CSAPR NOX Ozone Season Group 3                      and (f).
                                                after 2022) shall continue to apply.                    allowances to such units for each such                   The revision and additions read as
                                                   (e) The owner and operator of each                   control period shall continue to apply,                follows:
                                                source located in the State of Texas and                unless provided otherwise by such
                                                Indian country within the borders of the                                                                       § 52.2587 Interstate pollutant transport
                                                                                                        approval of the State’s SIP revision.
                                                State and for which requirements are set                                                                       provisions; What are the FIP requirements
                                                                                                           (b) The owner and operator of each                  for decreases in emissions of nitrogen
                                                forth in § 52.40 and § 52.41, § 52.42,                  source located in the State of Utah and                oxides?
                                                § 52.43, § 52.44, or § 52.45 must comply                Indian country within the borders of the
                                                with such requirements with regard to                                                                          *      *    *      *     *
                                                                                                        State and for which requirements are set                  (e) * * *
                                                emissions occurring in 2026 and each                    forth in § 52.40 and § 52.41, § 52.42,
                                                subsequent year.                                                                                                  (3) The owner and operator of each
                                                                                                        § 52.43, § 52.44, or § 52.45 must comply               source and each unit located in the State
                                                                                                        with such requirements with regard to                  of Wisconsin and Indian country within
                                                Subpart TT—Utah
                                                                                                        emissions occurring in 2026 and each                   the borders of the State and for which
                                                ■ 26. Add § 52.2356 to read as follows:                 subsequent year.                                       requirements are set forth under the
                                                § 52.2356 Interstate pollutant transport                                                                       CSAPR NOX Ozone Season Group 3
                                                                                                        Subpart VV—Virginia                                    Trading Program in subpart GGGGG of
                                                provisions; What are the FIP requirements
                                                for decreases in emissions of nitrogen                  ■ 27. Amend § 52.2440 by:                              part 97 of this chapter must comply
                                                oxides?                                                 ■ a. In paragraph (b)(3), removing                     with such requirements with regard to
                                                  (a)(1) The owner and operator of each                 ‘‘(b)(2)(v), except’’ and adding in its                emissions occurring in 2023 and each
                                                source and each unit located in the State               place ‘‘(b)(2)(iii), except’’; and                     subsequent year. The obligation to
                                                of Utah and Indian country within the                   ■ b. Adding paragraph (c).                             comply with such requirements with
                                                borders of the State and for which                         The addition reads as follows:                      regard to sources and units in the State
                                                requirements are set forth under the                                                                           and areas of Indian country within the
                                                CSAPR NOX Ozone Season Group 3                          § 52.2440 Interstate pollutant transport               borders of the State subject to the State’s
                                                Trading Program in subpart GGGGG of                     provisions; What are the FIP requirements              SIP authority will be eliminated by the
                                                part 97 of this chapter must comply                     for decreases in emissions of nitrogen                 promulgation of an approval by the
                                                                                                        oxides?                                                Administrator of a revision to
                                                with such requirements with regard to
                                                emissions occurring in 2023 and each                    *     *     *     *    *                               Wisconsin’s State Implementation Plan
                                                subsequent year. The obligation to                        (c) The owner and operator of each                   (SIP) as correcting the SIP’s deficiency
                                                comply with such requirements with                      source located in the State of Virginia                that is the basis for the CSAPR Federal
                                                regard to sources and units in the State                and for which requirements are set forth               Implementation Plan (FIP) under
                                                and areas of Indian country within the                  in § 52.40 and § 52.41, § 52.42, § 52.43,              § 52.38(b)(1) and (b)(2)(iii) for those
                                                borders of the State subject to the State’s             § 52.44, or § 52.45 must comply with                   sources and units, except to the extent
                                                SIP authority will be eliminated by the                 such requirements with regard to                       the Administrator’s approval is partial
                                                promulgation of an approval by the                      emissions occurring in 2026 and each                   or conditional. The obligation to comply
                                                Administrator of a revision to Utah’s                   subsequent year.                                       with such requirements with regard to
                                                State Implementation Plan (SIP) as                                                                             sources and units located in areas of
                                                correcting the SIP’s deficiency that is                 Subpart XX—West Virginia                               Indian country within the borders of the
                                                the basis for the CSAPR Federal                         ■ 28. Amend § 52.2540 by:                              State not subject to the State’s SIP
                                                Implementation Plan (FIP) under                         ■ a. In paragraph (b)(3), removing                     authority will not be eliminated by the
                                                § 52.38(b)(1) and (b)(2)(iii) for those                 ‘‘(b)(2)(v), except’’ and adding in its                promulgation of an approval by the
                                                sources and units, except to the extent                 place ‘‘(b)(2)(iii), except’’; and                     Administrator of a revision to
                                                the Administrator’s approval is partial                 ■ b. Adding paragraph (c).
                                                                                                                                                               Wisconsin’s SIP.
                                                or conditional. The obligation to comply                                                                         (4) Notwithstanding the provisions of
                                                                                                           The addition reads as follows:
                                                with such requirements with regard to                                                                          paragraph (e)(3) of this section, if, at the
                                                sources and units located in areas of                   § 52.2540 Interstate pollutant transport               time of the approval of Wisconsin’s SIP
                                                Indian country within the borders of the                provisions; What are the FIP requirements              revision described in paragraph (e)(3) of
                                                State not subject to the State’s SIP                    for decreases in emissions of nitrogen                 this section, the Administrator has
                                                                                                        oxides?                                                already started recording any allocations
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                                                authority will not be eliminated by the
                                                promulgation of an approval by the                      *     *     *     *     *                              of CSAPR NOX Ozone Season Group 3
                                                Administrator of a revision to Utah’s                     (c) The owner and operator of each                   allowances under subpart GGGGG of
                                                SIP.                                                    source located in the State of West                    part 97 of this chapter to units in the
                                                  (2) Notwithstanding the provisions of                 Virginia and for which requirements are                State and areas of Indian country within
                                                paragraph (a)(1) of this section, if, at the            set forth in § 52.40 and § 52.41, § 52.42,             the borders of the State subject to the
                                                time of the approval of Utah’s SIP                      § 52.43, § 52.44, or § 52.45 must comply               State’s SIP authority for a control period
                                                revision described in paragraph (a)(1) of               with such requirements with regard to                  in any year, the provisions of subpart


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                                                GGGGG of part 97 of this chapter                        § 52.38(b)(1) and (b)(2)(iii) for those                level. If the owner or operator of a unit
                                                authorizing the Administrator to                        sources and units, except to the extent                determining hourly NOX mass emission
                                                complete the allocation and recordation                 the Administrator’s approval is partial                rate at a common stack under this
                                                of CSAPR NOX Ozone Season Group 3                       or conditional. The obligation to comply               section is subject to a State or federal
                                                allowances to such units for each such                  with such requirements with regard to                  NOX mass emissions reduction program
                                                control period shall continue to apply,                 sources and units located in areas of                  under subpart GGGGG of part 97 of this
                                                unless provided otherwise by such                       Indian country within the borders of the               chapter or under a state implementation
                                                approval of the State’s SIP revision.                   State not subject to the State’s SIP                   plan approved pursuant to
                                                   (5) Notwithstanding the provisions of                authority will not be eliminated by the                § 52.38(b)(12) of this chapter, then on
                                                paragraph (e)(2) of this section, after                 promulgation of an approval by the                     and after January 1, 2024, the owner or
                                                2022 the provisions of § 97.826(c) of this              Administrator of a revision to                         operator shall apportion the hourly NOX
                                                chapter (concerning the transfer of                     Wyoming’s SIP.                                         mass emissions rate at the common
                                                CSAPR NOX Ozone Season Group 2                             (2) Notwithstanding the provisions of               stack to each unit using the common
                                                allowances between certain accounts                     paragraph (a)(1) of this section, if, at the           stack based on the ratio of the hourly
                                                under common control), the provisions                   time of the approval of Wyoming’s SIP                  heat input rate for each such unit to the
                                                of § 97.826(e) of this chapter                          revision described in paragraph (a)(1) of              total hourly heat input rate for all such
                                                (concerning the conversion of amounts                   this section, the Administrator has                    units, in conjunction with the
                                                of unused CSAPR NOX Ozone Season                        already started recording any allocations              appropriate unit and stack operating
                                                Group 2 allowances allocated for control                of CSAPR NOX Ozone Season Group 3                      times, according to the procedures in
                                                periods before 2023 to different amounts                allowances under subpart GGGGG of                      section 8.5.3 of appendix F to this part.
                                                of CSAPR NOX Ozone Season Group 3                       part 97 of this chapter to units in the                *      *      *   *      *
                                                allowances), and the provisions of                      State and areas of Indian country within               ■ 33. Amend § 75.73 by:
                                                § 97.811(e) of this chapter (concerning                 the borders of the State subject to the                ■ a. Revising paragraph (a)(3);
                                                the recall of CSAPR NOX Ozone Season                    State’s SIP authority for a control period             ■ b. In paragraph (c)(1), removing ‘‘NoX
                                                Group 2 allowances equivalent in                        in any year, the provisions of subpart                 emissions’’ and adding in its place
                                                quantity and usability to all such                      GGGGG of part 97 of this chapter                       ‘‘NOX emissions’’;
                                                allowances allocated to units in the                    authorizing the Administrator to                       ■ c. Adding a paragraph heading to
                                                State and Indian country within the                     complete the allocation and recordation                paragraph (c)(2);
                                                borders of the State for control periods                of CSAPR NOX Ozone Season Group 3                      ■ d. Revising paragraphs (c)(3) and (f)(1)
                                                after 2022) shall continue to apply.                    allowances to such units for each such
                                                   (f) The owner and operator of each                                                                          introductory text;
                                                                                                        control period shall continue to apply,                ■ e. Removing and reserving paragraph
                                                source located in the State of Wisconsin                unless provided otherwise by such
                                                and Indian country within the borders                                                                          (f)(1)(i)(B);
                                                                                                        approval of the State’s SIP revision.                  ■ f. In paragraph (f)(1)(ii)(G), removing
                                                of the State and for which requirements                    (b) The owner and operator of each
                                                are set forth in § 52.40 and § 52.41,                                                                          ‘‘appendix D;’’ and adding in its place
                                                                                                        source located in the State of Wyoming                 ‘‘appendix D to this part;’’;
                                                § 52.42, § 52.43, § 52.44, or § 52.45 must              and Indian country within the borders
                                                comply with such requirements with                                                                             ■ g. Adding paragraphs (f)(1)(ix) and (x);
                                                                                                        of the State and for which requirements                ■ h. Adding a paragraph heading to
                                                regard to emissions occurring in 2026                   are set forth in § 52.40 and § 52.41,
                                                and each subsequent year.                                                                                      paragraph (f)(2); and
                                                                                                        § 52.42, § 52.43, § 52.44, or § 52.45 must             ■ i. Revising paragraph (f)(4).
                                                Subpart ZZ—Wyoming                                      comply with such requirements with                        The revisions and addition reads as
                                                                                                        regard to emissions occurring in 2026                  follows:
                                                ■ 30. Add § 52.2638 to read as follows:                 and each subsequent year.
                                                                                                                                                               § 75.73   Recordkeeping and reporting.
                                                § 52.2638 Interstate pollutant transport                PART 75—CONTINUOUS EMISSION
                                                provisions; What are the FIP requirements                                                                      *     *      *     *     *
                                                                                                        MONITORING                                               (a) * * *
                                                for decreases in emissions of nitrogen
                                                oxides?                                                 ■ 31. The authority citation for part 75                 (3) For each hour when the unit is
                                                  (a)(1) The owner and operator of each                 is revised to read as follows:                         operating, NOX mass emission rate,
                                                source and each unit located in the State                                                                      calculated in accordance with section 8
                                                                                                          Authority: 42 U.S.C. 7401–7671q and
                                                of Wyoming and Indian country within                                                                           of appendix F to this part.
                                                                                                        7651k note.
                                                the borders of the State and for which                                                                         *     *      *     *     *
                                                                                                        ■ 32. Amend § 75.72 by:
                                                requirements are set forth under the                                                                             (c) * * *
                                                                                                        ■ a. In paragraph (c)(3), removing
                                                CSAPR NOX Ozone Season Group 3                                                                                   (2) Monitoring plan updates. * * *
                                                Trading Program in subpart GGGGG of                     ‘‘appendix B of this part.’’ and adding                  (3) Contents of the monitoring plan.
                                                part 97 of this chapter must comply                     in its place ‘‘appendix B to this part.’’;             Each monitoring plan shall contain the
                                                                                                        ■ b. In paragraph (e)(1)(ii), removing
                                                with such requirements with regard to                                                                          information in § 75.53(g)(1) in electronic
                                                emissions occurring in 2023 and each                    ‘‘heat input from’’ and adding in its                  format and the information in
                                                subsequent year. The obligation to                      place ‘‘heat input rate to’’;                          § 75.53(g)(2) in hardcopy format. In
                                                                                                        ■ c. In paragraph (e)(2), removing
                                                comply with such requirements with                                                                             addition, to the extent applicable, each
                                                                                                        ‘‘appendix D of this part’’ and adding in
                                                regard to sources and units in the State                                                                       monitoring plan shall contain the
                                                                                                        its place ‘‘appendix D to this part’’; and
                                                and areas of Indian country within the                                                                         information in § 75.53(h)(1)(i) and
                                                                                                        ■ d. Adding paragraph (f).
                                                borders of the State subject to the State’s                                                                    (h)(2)(i) in electronic format and the
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                                                                                                           The addition reads as follows:
                                                SIP authority will be eliminated by the                                                                        information in § 75.53(h)(1)(ii) and
                                                promulgation of an approval by the                      § 75.72 Determination of NOX mass                      (h)(2)(ii) in hardcopy format. For units
                                                Administrator of a revision to Wyoming                  emissions for common stack and multiple                using the low mass emissions excepted
                                                State Implementation Plan (SIP) as                      stack configurations.                                  methodology under § 75.19, the
                                                correcting the SIP’s deficiency that is                 *    *    *     *     *                                monitoring plan shall include the
                                                the basis for the CSAPR Federal                          (f) Procedures for apportioning hourly                additional information in § 75.53(h)(4)(i)
                                                Implementation Plan (FIP) under                         NOX mass emission rate to the unit                     and (h)(4)(ii). The monitoring plan also


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                                                shall include a seasonal controls                       a common stack, apportioned hourly                     summing the unit’s hourly heat input
                                                indicator and an ozone season fuel-                     NOX mass emission rate for the unit, lb/               determined according to the procedures
                                                switching flag.                                         hr.                                                    in this part for all hours in which the
                                                   (f) * * *                                               (x) On and after January 1, 2024, for               unit operated during the day or ozone
                                                   (1) Electronic submission. The                       a unit subject to a backstop daily NOX                 season.
                                                designated representative for an affected               emission rate under subpart GGGGG of                     (b) The owner or operator of a unit
                                                unit shall electronically report the data               part 97 of this chapter or under a state               that is required to determine daily or
                                                and information in this paragraph (f)(1)                implementation plan approved under                     ozone season NOX emission rate (in lbs/
                                                and in paragraphs (f)(2) and (3) of this                § 52.38(b)(12) of this chapter:                        mmBtu) shall do so by dividing daily or
                                                section to the Administrator quarterly,                    (A) Daily NOX emissions (lbs) for each              ozone season NOX mass emissions (in
                                                unless the unit has been placed in long-                day of the reporting period;                           lbs) determined in accordance with this
                                                term cold storage (as defined in § 72.2                    (B) Daily heat input (mmBtu) for each               subpart, by daily or ozone season heat
                                                of this chapter). Each electronic report                day of the reporting period;                           input determined in accordance with
                                                must be submitted to the Administrator                     (C) Daily average NOX emission rate                 paragraph (a) of this section.
                                                within 30 days following the end of                     (lb/mmBtu, rounded to the nearest                      ■ 35. Amend appendix F to part 75 by:
                                                each calendar quarter. Each electronic                  thousandth) for each day of the                        ■ a. Adding section 5.3.3;
                                                report shall include the information                    reporting period;                                      ■ b. In section 8.1.2, revising the
                                                provided in paragraphs (f)(1)(i) through                   (D) Daily NOX emissions (lbs)                       introductory text preceding Equation F–
                                                (x) of this section and shall also include              exceeding the applicable backstop daily                25;
                                                the date of report generation. A unit                   NOX emission rate for each day of the                  ■ c. In section 8.4, revising the
                                                placed into long-term cold storage is                   reporting period; and                                  introductory text, paragraph (a)
                                                                                                           (E) Cumulative NOX emissions (tons,                 introductory text (preceding Equation
                                                exempted from submitting quarterly
                                                                                                        rounded to the nearest tenth) exceeding                F–27), and paragraph (b) introductory
                                                reports beginning with the calendar
                                                                                                        the applicable backstop daily NOX                      text (preceding Equation F–27a), and
                                                quarter following the quarter in which
                                                                                                        emission rate during the ozone season.                 adding paragraph (c);
                                                the unit is placed into long-term cold
                                                                                                           (2) Verification of identification codes            ■ d. In section 8.5.2, removing ‘‘the
                                                storage, provided that the owner or
                                                                                                        and formulas. * * *                                    hourly NOX mass emissions at each
                                                operator shall submit quarterly reports
                                                for the unit beginning with the data                    *      *     *     *      *                            unit’’ and adding in its place ‘‘hourly
                                                from the quarter in which the unit                         (4) Electronic format, method of                    NOX mass emissions at the common
                                                recommences operation (where the                        submission, and explanatory                            stack.’’; and
                                                initial quarterly report contains hourly                information. The designated                            ■ e. Adding section 8.5.3.
                                                data beginning with the first hour of                   representative shall comply with all of                  The additions and revisions read as
                                                recommenced operation of the unit).                     the quarterly reporting requirements in                follows
                                                                                                        § 75.64(d), (f), and (g).
                                                *      *     *    *     *                                                                                      Appendix F to Part 75—Conversion
                                                                                                        ■ 34. Revise § 75.75 to read as follows:
                                                   (ix) On and after on January 1, 2024,                                                                       Procedures
                                                for a unit subject to subpart GGGGG of                  § 75.75 Additional ozone season
                                                                                                                                                               *       *    *    *      *
                                                part 97 of this chapter or a state                      calculation procedures.
                                                                                                                                                                 5.3.3 Calculate total daily heat input for
                                                implementation plan approved under                        (a) The owner or operator of a unit                  a unit using a flow monitor and diluent
                                                § 52.38(b)(12) of this chapter and                      that is required to calculate daily or                 monitor to calculate heat input, using the
                                                determining NOX mass emission rate at                   ozone season heat input shall do so by                 following equation:


                                                                                                                                                            24

                                                                                                                                                  Hid=     L
                                                                                                                                                           h=l
                                                                                                                                                                   Hlhth


                                                                                          (Eq. F-18c)

                                                Where:                                                    8.1.2 If NOX emission rate is                        calculate quarterly, cumulative ozone
                                                HId = Total heat input for a unit for the day,          measured at a common stack and heat                    season, and cumulative year-to-date
                                                     mmBtu.                                             input rate is measured at the unit level,              NOX mass emissions in tons. * * *
                                                HIh = Heat input rate for the unit for hour ‘‘h’’       calculate the hourly heat input rate at                  (b) When hourly NOX mass emission
                                                     from Equation F–15, F–16, F–17, F–18,              the common stack according to the
                                                                                                                                                               rate is reported in lb/hr, use Eq. F–27a
                                                     F–21a, or F–21b, mmBtu/hr.                         following formula:
                                                                                                                                                               to calculate quarterly, cumulative ozone
                                                th = Unit operating time, fraction of the hour          *     *     *     *     *
                                                     (0.00 to 1.00, in equal increments from
                                                                                                                                                               season, and cumulative year-to-date
                                                                                                          8.4 Use the following equations to
                                                     one hundredth to one quarter of an hour,                                                                  NOX mass emissions in tons. * * *
                                                                                                        calculate daily, quarterly, cumulative
                                                     at the option of the owner or operator).           ozone season, and cumulative year-to-                    (c) To calculate daily NOX mass
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                                                h = Designation of a particular hour.                   date NOX mass emissions:                               emissions for a unit in pounds, use Eq.
                                                *      *     *       *      *                             (a) When hourly NOX mass emissions                   F–27b.
                                                                                                        are reported in lb., use Eq. F–27 to
                                                                                                                                                                                                              EP06AP22.006</GPH>




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                                                                                                                                                           24

                                                                                                                                          M(NOX)d      =   I
                                                                                                                                                           h=l
                                                                                                                                                                 E(NOX)h th



                                                                                      (Eq. F-27b)

                                                Where:                                                      one hundredth to one quarter of an hour,            common stack shall apportion hourly
                                                M(NOX)d = NOX mass emissions for a unit for                 at the option of the owner or operator).            NOX mass emissions rate to the units
                                                     the day, pounds.                                   h = Designation of a particular hour.                   using the common stack based on the
                                                E(NOX)h = NOX mass emission rate for the unit           *     *    *     *      *                               hourly heat input rate, using Equation
                                                     for hour ‘‘h’’ from Equation F–24a, F–
                                                     26a, F–26b, or F–28, lb/hr.                          8.5.3 Where applicable, the owner or                  F–28:
                                                th = Unit operating time, fraction of the hour          operator of a unit that determines
                                                     (0.00 to 1.00, in equal increments from            hourly NOX mass emission rate at a




                                                                               (Eq. F-28)

                                                Where:                                                     (iii) The decision on the transfer of                and’’ and adding in its place ‘‘(b)(2)(i),
                                                E(NOX)i = Apportioned NOX mass emission                 CSAPR NOX Ozone Season Group 3                          and’’;
                                                     rate for unit ‘‘i’’, lb/hr.                        allowances under § 97.1023 of this                      ■ b. In the definition of ‘‘CSAPR NOX
                                                E(NOX)CS = NOX mass emission rate at the                chapter.                                                Ozone Season Group 2 Trading
                                                     common stack, lb/hr.                                  (iv) The decision on the deduction of                Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                HIi = Heat input rate for unit ‘‘i’’, mmBtu/hr.         CSAPR NOX Ozone Season Group 3                          and’’ and adding in its place ‘‘(b)(2)(ii),
                                                ti = Operating time for unit ‘‘i’’, fraction of
                                                                                                        allowances under § 97.1024, § 97.1025,                  and’’; and
                                                     the hour (0.00 to 1.00, in equal
                                                                                                        or § 97.1026(d) of this chapter.                        ■ c. In the definition of ‘‘CSAPR NOX
                                                     increments from one hundredth to one
                                                     quarter of an hour, at the option of the              (v) The correction of an error in an                 Ozone Season Group 3 Trading
                                                     owner or operator).                                Allowance Management System account                     Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                tCS = Common stack operating time, fraction             under § 97.1027 of this chapter.                        adding in its place ‘‘(b)(2)(iii), and’’;
                                                     of the hour (0.00 to 1.00, in equal                   (vi) The adjustment of information in
                                                     increments from one hundredth to one               a submission and the decision on the                    § 97.411   [Amended]
                                                     quarter of an hour, at the option of the           deduction and transfer of CSAPR NOX                     ■ 40. Amend § 97.411 by:
                                                     owner or operator).                                Ozone Season Group 3 allowances                         ■ a. In paragraphs (b)(1)(i)(A) and (B),
                                                n = Number of units using the common stack.             based on the information as adjusted                    removing ‘‘State, in accordance’’ and
                                                i = Designation of a particular unit.                   under § 97.1028 of this chapter.                        adding in its place ‘‘State and areas of
                                                                                                           (vii) The finalization of control period             Indian country within the borders of the
                                                PART 78—APPEAL PROCEDURES                                                                                       State subject to the State’s SIP authority,
                                                                                                        emissions data, including retroactive
                                                ■ 36. The authority citation for part 78                adjustment based on audit.                              in accordance’’; and
                                                                                                           (viii) The approval or disapproval of                ■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                continues to read as follows:
                                                                                                        a petition under § 97.1035 of this                      removing ‘‘Indian country within the
                                                    Authority: 42 U.S.C. 7401–7671q.                                                                            borders of a State, in accordance’’ and
                                                                                                        chapter.
                                                ■ 37. Amend § 78.1 by:                                                                                          adding in its place ‘‘areas of Indian
                                                                                                        *       *    *     *    *
                                                ■ a. In paragraph (b)(17)(viii), adding                                                                         country within the borders of a State not
                                                ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;                       PART 97—FEDERAL NOX BUDGET                              subject to the State’s SIP authority, in
                                                ■ b. In paragraph (b)(17)(ix), adding ‘‘or              TRADING PROGRAM, CAIR NOX AND                           accordance’’.
                                                (e)’’ after ‘‘§ 97.811(d)’’; and                        SO2 TRADING PROGRAMS, CSAPR
                                                ■ c. Revising paragraph (b)(19).                                                                                § 97.412   [Amended]
                                                                                                        NOX AND SO2 TRADING PROGRAMS,                           ■ 41. Amend § 97.412 by:
                                                    The revision reads as follows:                      AND TEXAS SO2 TRADING PROGRAM                           ■ a. In paragraph (a) introductory text,
                                                § 78.1   Purpose and scope.                             ■ 38. The authority citation for part 97                removing ‘‘State, the Administrator’’
                                                *       *    *    *     *                               continues to read as follows:                           and adding in its place ‘‘State and areas
                                                   (b) * * *                                                                                                    of Indian country within the borders of
                                                                                                          Authority: 42 U.S.C. 7401, 7403, 7410,
                                                   (19) Under subpart GGGGG of part 97                  7426, 7491, 7601, and 7651, et seq.                     the State subject to the State’s SIP
                                                of this chapter,                                                                                                authority, the Administrator’’;
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                                                   (i) The decision on the calculation of               Subpart AAAAA—CSAPR NOX Annual                          ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                a state CSAPR NOX Ozone Season                          Trading Program                                         adding ‘‘and areas of Indian country
                                                Group 3 trading budget under                                                                                    within the borders of the State subject
                                                                                                                                                                                                                EP06AP22.008</GPH>




                                                § 97.1010(a)(3) of this chapter.                        § 97.402    [Amended]                                   to the State’s SIP authority’’ after ‘‘in the
                                                   (ii) The decision on the allocation of               ■ 39. Amend § 97.402 by:                                State’’;
                                                CSAPR NOX Ozone Season Group 3                          ■ a. In the definition of ‘‘CSAPR NOX                   ■ c. In paragraph (a)(10), removing
                                                allowances under § 97.1011 or § 97.1012                 Ozone Season Group 1 Trading                            ‘‘State, is allocated’’ and adding in its
                                                                                                                                                                                                                EP06AP22.007</GPH>




                                                of this chapter.                                        Program’’, removing ‘‘(b)(2)(i) and (ii),               place ‘‘State and areas of Indian country


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                                                within the borders of the State subject                 subject to the State’s SIP authority, in               and adding in its place
                                                to the State’s SIP authority, is                        accordance’’.                                          ‘‘§ 52.38(b)(2)(iii)(A) of this chapter
                                                allocated’’;                                                                                                   (and’’; and
                                                                                                        § 97.512    [Amended]
                                                ■ d. In paragraph (b) introductory text,                                                                       ■ j. Adding paragraph (e)(3).
                                                removing ‘‘Indian country within the                    ■ 46. Amend § 97.512 by:                                  The revisions and additions read as
                                                                                                        ■ a. In paragraph (a) introductory text,
                                                borders of each State, the                                                                                     follows:
                                                Administrator’’ and adding in its place                 removing ‘‘State, the Administrator’’
                                                ‘‘areas of Indian country within the                    and adding in its place ‘‘State and areas              § 97.526   Banking and conversion.
                                                borders of each State not subject to the                of Indian country within the borders of                *       *    *     *     *
                                                State’s SIP authority, the                              the State subject to the State’s SIP                      (d) * * *
                                                Administrator’’; and                                    authority, the Administrator’’;                           (2)(i) Except as provided in
                                                                                                        ■ b. In paragraphs (a)(3)(iii) and (a)(5),             paragraphs (d)(2)(ii) and (iii) of this
                                                ■ e. In paragraph (b)(5), removing
                                                                                                        adding ‘‘and areas of Indian country                   section, after the Administrator has
                                                ‘‘Indian country within the borders of
                                                                                                        within the borders of the State subject                carried out the procedures set forth in
                                                the State’’ and adding in its place ‘‘areas
                                                                                                        to the State’s SIP authority’’ after ‘‘in the          paragraph (d)(1) of this section, upon
                                                of Indian country within the borders of
                                                                                                        State’’;                                               any determination that would otherwise
                                                the State not subject to the State’s SIP                ■ c. In paragraph (a)(10), removing
                                                authority’’.                                                                                                   result in the initial recordation of a
                                                                                                        ‘‘State, is allocated’’ and adding in its              given number of CSAPR NOX Ozone
                                                § 97.421   [Amended]                                    place ‘‘State and areas of Indian country              Season Group 1 allowances in the
                                                ■ 42. In § 97.421, amend paragraph (f)(2)
                                                                                                        within the borders of the State subject                compliance account for a source in a
                                                by removing ‘‘2022’’ and adding in its                  to the State’s SIP authority, is                       State listed in § 52.38(b)(2)(ii) of this
                                                place ‘‘2024’’, and removing ‘‘third’’                  allocated’’;                                           chapter (and Indian country within the
                                                                                                        ■ d. In paragraph (b) introductory text,
                                                before ‘‘year after the year’’.                                                                                borders of such a State), the
                                                                                                        removing ‘‘Indian country within the                   Administrator will not record such
                                                § 97.426   [Amended]                                    borders of each State, the                             CSAPR NOX Ozone Season Group 1
                                                ■ 43. In § 97.426, amend paragraph (c)                  Administrator’’ and adding in its place                allowances but instead will allocate and
                                                by removing ‘‘State (or Indian’’ and                    ‘‘areas of Indian country within the                   record in such account an amount of
                                                adding in its place ‘‘State (and Indian’’.              borders of each State not subject to the               CSAPR NOX Ozone Season Group 2
                                                                                                        State’s SIP authority, the                             allowances for the control period in
                                                Subpart BBBBB—CSAPR NOX Ozone                           Administrator’’; and                                   2017 computed as the quotient, rounded
                                                Season Group 1 Trading Program                          ■ e. In paragraph (b)(5), removing
                                                                                                                                                               up to the nearest allowance, of such
                                                                                                        ‘‘Indian country within the borders of
                                                § 97.502   [Amended]                                                                                           given number of CSAPR NOX Ozone
                                                                                                        the State’’ and adding in its place ‘‘areas
                                                                                                                                                               Season Group 1 allowances divided by
                                                ■ 44. Amend § 97.502 by:                                of Indian country within the borders of
                                                                                                                                                               the conversion factor determined under
                                                ■ a. In the definition of ‘‘CSAPR NOX                   the State not subject to the State’s SIP
                                                                                                                                                               paragraph (d)(1)(ii) of this section.
                                                Ozone Season Group 1 Trading                            authority’’.
                                                Program’’, removing ‘‘(b)(2)(i) and (ii),                                                                      *       *    *     *     *
                                                                                                        § 97.521    [Amended]                                     (iii) After the Administrator has
                                                and’’ and adding in its place ‘‘(b)(2)(i),
                                                and’’;                                                  ■ 47. In § 97.521, amend paragraph (f)(2)              carried out the procedures set forth in
                                                ■ b. In the definition of ‘‘CSAPR NOX                   by removing ‘‘2022’’ and adding in its                 paragraph (d)(1) of this section and
                                                Ozone Season Group 2 Trading                            place ‘‘2024’’, and removing ‘‘third’’                 § 97.826(e)(1), upon any determination
                                                Program’’, removing ‘‘(b)(2)(iii) and (iv),             before ‘‘year after the year’’.                        that would otherwise result in the initial
                                                                                                        ■ 48. Amend § 97.526 by:                               recordation of a given number of CSAPR
                                                and’’ and adding in its place ‘‘(b)(2)(ii),
                                                                                                        ■ a. In paragraph (c), removing ‘‘State                NOX Ozone Season Group 1 allowances
                                                and’’;
                                                                                                        (or Indian’’ and adding in its place                   in the compliance account for a source
                                                ■ c. In the definition of ‘‘CSAPR NOX
                                                                                                        ‘‘State (and Indian’’;                                 in a State listed in § 52.38(b)(2)(iii)(B) of
                                                Ozone Season Group 3 allowance’’,                       ■ b. In paragraph (d)(1) introductory
                                                adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’, and                                                                   this chapter (and Indian country within
                                                                                                        text, removing ‘‘§ 52.38(b)(2)(i) of this              the borders of such a State), the
                                                adding ‘‘or less’’ after ‘‘one ton’’;                   chapter (or’’ and adding in its place
                                                ■ d. In the definition of ‘‘CSAPR NOX
                                                                                                                                                               Administrator will not record such
                                                                                                        ‘‘§ 52.38(b)(2)(i)(A) of this chapter                  CSAPR NOX Ozone Season Group 1
                                                Ozone Season Group 3 Trading                            (and’’;
                                                Program’’, removing ‘‘(b)(2)(v), and’’ and                                                                     allowances but instead will allocate and
                                                                                                        ■ c. In paragraph (d)(1)(ii), removing                 record in such account an amount of
                                                adding in its place ‘‘(b)(2)(iii), and’’; and           ‘‘except a State listed in § 52.38(b)(2)(i)’’
                                                ■ e. In the definition of ‘‘State’’,
                                                                                                                                                               CSAPR NOX Ozone Season Group 3
                                                                                                        and adding in its place ‘‘listed in                    allowances for the control period in
                                                removing ‘‘(b)(2)(i) and (ii), and’’ and                § 52.38(b)(2)(ii)’’;
                                                adding in its place ‘‘(b)(2)(i), and’’.                                                                        2023 computed as the quotient, rounded
                                                                                                        ■ d. In paragraph (d)(1)(iv), removing
                                                                                                                                                               up to the nearest allowance, of such
                                                § 97.511   [Amended]                                    ‘‘§ 52.38(b)(2)(iii) or (iv) of this chapter           given number of CSAPR NOX Ozone
                                                                                                        (or’’ and adding in its place                          Season Group 1 allowances divided by
                                                ■ 45. Amend § 97.511 by:
                                                                                                        ‘‘§ 52.38(b)(2)(ii) of this chapter (and’’;            the conversion factor determined under
                                                ■ a. In paragraphs (b)(1)(i)(A) and (B),                ■ e. Revising paragraph (d)(2)(i);
                                                removing ‘‘State, in accordance’’ and                   ■ f. In paragraph (d)(2)(ii), removing
                                                                                                                                                               paragraph (d)(1)(ii) of this section and
                                                adding in its place ‘‘State and areas of                ‘‘§ 52.38(b)(2)(v) of this chapter (or’’ and           further divided by the conversion factor
                                                Indian country within the borders of the                                                                       determined under § 97.826(e)(1)(ii).
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                                                                                                        adding in its place ‘‘§ 52.38(b)(2)(iii)(A)
                                                State subject to the State’s SIP authority,             of this chapter (and’’;                                *       *    *     *     *
                                                in accordance’’; and                                    ■ g. Adding paragraph (d)(2)(iii);                        (e) * * *
                                                ■ b. In paragraphs (b)(2)(i)(A) and (B),                ■ h. In paragraph (e)(1), removing                        (3) After the Administrator has carried
                                                removing ‘‘Indian country within the                    ‘‘chapter (or Indian’’ and adding in its               out the procedures set forth in
                                                borders of a State, in accordance’’ and                 place ‘‘chapter (and Indian’’;                         paragraph (d)(1) of this section and
                                                adding in its place ‘‘areas of Indian                   ■ i. In paragraph (e)(2), removing                     § 97.826(e)(1), the owner or operator of
                                                country within the borders of a State not               ‘‘§ 52.38(b)(2)(iv) of this chapter (or’’              a CSAPR NOX Ozone Season Group 1


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                                                source in a State listed in                             within the borders of the State subject                   CSAPR NOX Ozone Season Group 3
                                                § 52.38(b)(2)(iii)(B) of this chapter (and              to the State’s SIP authority’’ after ‘‘in the          Trading Program means a multi-state
                                                Indian country within the borders of                    State’’;                                               NOX air pollution control and emission
                                                such a State) may satisfy a requirement                 ■ c. In paragraph (a)(10), removing                    reduction program established in
                                                to hold a given number of CSAPR NOX                     ‘‘State, is allocated’’ and adding in its              accordance with subpart GGGGG of this
                                                Ozone Season Group 1 allowances for                     place ‘‘State and areas of Indian country              part and § 52.38(b)(1), (b)(2)(iii), and
                                                the control period in 2015 or 2016 by                   within the borders of the State subject                (b)(10) through (14) and (17) of this
                                                holding instead, in a general account                   to the State’s SIP authority, is                       chapter (including such a program that
                                                established for this sole purpose, an                   allocated’’;                                           is revised in a SIP revision approved by
                                                amount of CSAPR NOX Ozone Season                        ■ d. In paragraph (b) introductory text,               the Administrator under § 52.38(b)(10)
                                                Group 3 allowances for the control                      removing ‘‘Indian country within the                   or (11) of this chapter or that is
                                                period in 2023 (or any later control                    borders of each State, the                             established in a SIP revision approved
                                                period for which the allowance transfer                 Administrator’’ and adding in its place                by the Administrator under
                                                deadline defined in § 97.1002 has                       ‘‘areas of Indian country within the                   § 52.38(b)(12) of this chapter), as a
                                                passed) computed as the quotient,                       borders of each State not subject to the               means of mitigating interstate transport
                                                rounded up to the nearest allowance, of                 State’s SIP authority, the                             of ozone and NOX.
                                                such given number of CSAPR NOX                          Administrator’’; and                                   *     *      *    *     *
                                                Ozone Season Group 1 allowances                         ■ e. In paragraph (b)(5), removing
                                                divided by the conversion factor                        ‘‘Indian country within the borders of                 § 97.711   [Amended]
                                                determined under paragraph (d)(1)(ii) of                the State’’ and adding in its place ‘‘areas            ■ 55. Amend § 97.711 by:
                                                this section and further divided by the                 of Indian country within the borders of
                                                                                                                                                               ■ a. In paragraphs (b)(1)(i)(A) and (B),
                                                conversion factor determined under                      the State not subject to the State’s SIP
                                                                                                                                                               removing ‘‘State, in accordance’’ and
                                                § 97.826(e)(1)(ii).                                     authority’’.
                                                                                                                                                               adding in its place ‘‘State and areas of
                                                Subpart CCCCC—CSAPR SO2 Group 1                         § 97.621    [Amended]                                  Indian country within the borders of the
                                                Trading Program                                         ■ 52. In § 97.621, amend paragraph (f)(2)              State subject to the State’s SIP authority,
                                                                                                        by removing ‘‘2022’’ and adding in its                 in accordance’’; and
                                                § 97.602   [Amended]                                    place ‘‘2024’’, and removing ‘‘third’’                 ■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                ■ 49. Amend § 97.602 by:                                before ‘‘year after the year’’.                        removing ‘‘Indian country within the
                                                ■ a. In the definition of ‘‘CSAPR NOX                                                                          borders of a State, in accordance’’ and
                                                Ozone Season Group 1 Trading                            § 97.626    [Amended]                                  adding in its place ‘‘areas of Indian
                                                Program’’, removing ‘‘(b)(2)(i) and (ii),               ■ 53. In § 97.626, amend paragraph (c)                 country within the borders of a State not
                                                and’’ and adding in its place ‘‘(b)(2)(i),              by removing ‘‘State (or Indian’’ and                   subject to the State’s SIP authority, in
                                                and’’;                                                  adding in its place ‘‘State (and Indian’’.             accordance’’.
                                                ■ b. In the definition of ‘‘CSAPR NOX
                                                Ozone Season Group 2 Trading                            Subpart DDDDD—CSAPR SO2 Group 2                        § 97.712   [Amended]
                                                Program’’, removing ‘‘(b)(2)(iii) and (iv),             Trading Program                                        ■ 56. Amend § 97.712 by:
                                                and’’ and adding in its place ‘‘(b)(2)(ii),                                                                    ■ a. In paragraph (a) introductory text,
                                                                                                        ■ 54. Amend § 97.702 by:
                                                and’’;                                                  ■ a. In the definition of ‘‘alternate                  removing ‘‘State, the Administrator’’
                                                ■ c. In the definition of ‘‘CSAPR NOX
                                                                                                        designated representative’’, removing                  and adding in its place ‘‘State and areas
                                                Ozone Season Group 3 Trading
                                                                                                        ‘‘or CSAPR NOX Ozone Season Group 2                    of Indian country within the borders of
                                                Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                                                                        Trading Program, then’’ and adding in                  the State subject to the State’s SIP
                                                adding in its place ‘‘(b)(2)(iii), and’’;
                                                                                                        its place ‘‘CSAPR NOX Ozone Season                     authority, the Administrator’’;
                                                § 97.611   [Amended]                                    Group 2 Trading Program, or CSAPR                      ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                ■ 50. Amend § 97.611 by:                                NOX Ozone Season Group 3 Trading                       adding ‘‘and areas of Indian country
                                                ■ a. In paragraphs (b)(1)(i)(A) and (B),                Program, then’’;                                       within the borders of the State subject
                                                removing ‘‘State, in accordance’’ and                   ■ b. In the definition of ‘‘CSAPR NOX                  to the State’s SIP authority’’ after ‘‘in the
                                                adding in its place ‘‘State and areas of                Ozone Season Group 1 Trading                           State’’;
                                                Indian country within the borders of the                Program’’, removing ‘‘(b)(2)(i) and (ii),              ■ c. In paragraph (a)(10), removing
                                                State subject to the State’s SIP authority,             and’’ and adding in its place ‘‘(b)(2)(i),             ‘‘State, is allocated’’ and adding in its
                                                in accordance’’; and                                    and’’;                                                 place ‘‘State and areas of Indian country
                                                ■ b. In paragraphs (b)(2)(i)(A) and (B),                ■ c. In the definition of ‘‘CSAPR NOX
                                                                                                                                                               within the borders of the State subject
                                                removing ‘‘Indian country within the                    Ozone Season Group 2 Trading                           to the State’s SIP authority, is
                                                borders of a State, in accordance’’ and                 Program’’, removing ‘‘(b)(2)(iii) and (iv),            allocated’’;
                                                adding in its place ‘‘areas of Indian                   and’’ and adding in its place ‘‘(b)(2)(ii),
                                                                                                                                                               ■ d. In paragraph (b) introductory text,
                                                country within the borders of a State not               and’’;
                                                                                                        ■ d. Adding in alphabetical order a
                                                                                                                                                               removing ‘‘Indian country within the
                                                subject to the State’s SIP authority, in                                                                       borders of each State, the
                                                accordance’’.                                           definition for ‘‘CSAPR NOX Ozone
                                                                                                        Season Group 3 Trading Program’’; and                  Administrator’’ and adding in its place
                                                § 97.612   [Amended]                                    ■ e. In the definition of ‘‘designated
                                                                                                                                                               ‘‘areas of Indian country within the
                                                ■ 51. Amend § 97.612 by:                                representative’’, removing ‘‘or CSAPR                  borders of each State not subject to the
                                                                                                                                                               State’s SIP authority, the
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                                                ■ a. In paragraph (a) introductory text,                NOX Ozone Season Group 2 Trading
                                                removing ‘‘State, the Administrator’’                   Program, then’’ and adding in its place                Administrator’’; and
                                                and adding in its place ‘‘State and areas               ‘‘CSAPR NOX Ozone Season Group 2                       ■ e. In paragraph (b)(5), removing
                                                of Indian country within the borders of                 Trading Program, or CSAPR NOX Ozone                    ‘‘Indian country within the borders of
                                                the State subject to the State’s SIP                    Season Group 3 Trading Program, then’’.                the State’’ and adding in its place ‘‘areas
                                                authority, the Administrator’’;                                                                                of Indian country within the borders of
                                                ■ b. In paragraphs (a)(3)(iii) and (a)(5),              § 97.702    Definitions.                               the State not subject to the State’s SIP
                                                adding ‘‘and areas of Indian country                    *       *     *       *      *                         authority’’.


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                                                § 97.721   [Amended]                                    or more CSAPR NOX Ozone Season                            (e) Recall of CSAPR NOX Ozone
                                                ■ 57. In § 97.721, amend paragraph (f)(2)               Group 2 units in such State (and such                  Season Group 2 allowances allocated
                                                by removing ‘‘2022’’ and adding in its                  Indian country) having the common                      for control periods after 2022. (1)
                                                place ‘‘2024’’, and removing ‘‘third’’                  designated representative for such                     Notwithstanding any other provision of
                                                before ‘‘year after the year’’.                         control period and the total amount of                 this subpart, part 52 of this chapter, or
                                                                                                        CSAPR NOX Ozone Season Group 2                         any SIP revision approved under
                                                § 97.726   [Amended]                                    allowances purchased by an owner or                    § 52.38(b) of this chapter, the provisions
                                                ■ 58. In § 97.726, amend paragraph (c)                  operator of such CSAPR NOX Ozone                       of this paragraph and paragraphs (e)(2)
                                                by removing ‘‘State (or Indian’’ and                    Season Group 2 units in an auction for                 through (7) of this section shall apply
                                                adding in its place ‘‘State (and Indian’’.              such control period and submitted by                   with regard to each CSAPR NOX Ozone
                                                                                                        the State or the permitting authority to               Season Group 2 allowance that was
                                                § 97.734   [Amended]
                                                                                                        the Administrator for recordation in the               allocated for a control period after 2022
                                                ■ 59. In § 97.734, amend paragraph                      compliance accounts for such CSAPR                     to any unit (including a permanently
                                                (d)(3) by removing ‘‘or CSAPR NOX                       NOX Ozone Season Group 2 units in                      retired unit qualifying for an exemption
                                                Ozone Season Group 2 Trading                            accordance with the CSAPR NOX Ozone                    under § 97.805) in a State listed in
                                                Program, quarterly’’ and adding in its                  Season Group 2 allowance auction                       § 52.38(b)(2)(ii)(C) of this chapter (and
                                                place ‘‘CSAPR NOX Ozone Season                          provisions in a SIP revision approved by               Indian country within the borders of
                                                Group 2 Trading Program, or CSAPR                       the Administrator under § 52.38(b)(8) or               such a State) and that was initially
                                                NOX Ozone Season Group 3 Trading                        (9) of this chapter, multiplied by the                 recorded in the compliance account for
                                                Program, quarterly’’.                                   sum of the State NOX Ozone Season                      the source that includes the unit,
                                                                                                        Group 2 trading budget under                           whether such CSAPR NOX Ozone
                                                Subpart EEEEE—CSAPR NOX Ozone                           § 97.810(a) and the State’s variability                Season Group 2 allowance was allocated
                                                Season Group 2 Trading Program                          limit under § 97.810(b) for such control               pursuant to this subpart or pursuant to
                                                ■ 60. Amend § 97.802 by:                                period, and divided by such State NOX                  a SIP revision approved under § 52.38(b)
                                                ■ a. In the definition of ‘‘assurance                   Ozone Season Group 2 trading budget;                   of this chapter and whether such
                                                account’’, removing ‘‘base CSAPR’’ and                  *      *     *    *    *                               CSAPR NOX Ozone Season Group 2
                                                adding in its place ‘‘CSAPR’’;                                                                                 allowance remains in such compliance
                                                ■ b. Removing the definitions for ‘‘base                § 97.806    [Amended]                                  account or has been transferred to
                                                CSAPR NOX Ozone Season Group 2                          ■ 61. In § 97.806, amend paragraphs                    another Allowance Management System
                                                source’’ and ‘‘base CSAPR NOX Ozone                     (c)(2)(i) introductory text, (c)(2)(i)(B),             account.
                                                Season Group 2 unit’’;                                  (c)(2)(iii) and (iv), and (c)(3)(ii) by                   (2)(i) For each CSAPR NOX Ozone
                                                ■ c. In the definition of ‘‘common                      removing ‘‘base CSAPR’’ and adding in                  Season Group 2 allowance described in
                                                designated representative’’, removing                   its place ‘‘CSAPR’’ each time it appears.              paragraph (e)(1) of this section that was
                                                ‘‘base CSAPR’’ and adding in its place                                                                         allocated for a given control period and
                                                                                                        § 97.810    [Amended]
                                                ‘‘CSAPR’’;                                                                                                     initially recorded in a given source’s
                                                                                                        ■ 62. In § 97.810, amend paragraphs                    compliance account, one CSAPR NOX
                                                ■ d. In the definition of ‘‘common
                                                designated representative’s assurance                   (a)(1)(i) through (iii), (a)(2)(i) and (ii),           Ozone Season Group 2 allowance that
                                                level’’, revising paragraph (1);                        (a)(12)(i) through (iii), (a)(13)(i) and (ii),         was allocated for the same or an earlier
                                                ■ e. In the definition of ‘‘common
                                                                                                        (a)(17)(i) through (iii), (a)(19)(i) and (ii),         control period and initially recorded in
                                                designated representative’s share’’,                    (a)(20)(i) through (iii), (a)(23)(i) through           the same or any other Allowance
                                                removing ‘‘base CSAPR’’ and adding in                   (iii), and (b)(1), (2), (12), (13), (17), (19),        Management System account must be
                                                its place ‘‘CSAPR’’ each time it appears;               (20), and (23) by removing ‘‘and                       surrendered in accordance with the
                                                ■ f. In the definition of ‘‘CSAPR NOX
                                                                                                        thereafter’’ and adding in its place                   procedures in paragraphs (e)(3) and (4)
                                                Ozone Season Group 2 Trading                            ‘‘through 2022’’.                                      of this section.
                                                                                                        ■ 63. Amend § 97.811 by:                                  (ii)(A) The surrender requirement
                                                Program’’, removing ‘‘(b)(2)(iii) and (iv),             ■ a. In paragraphs (b)(1)(i)(A) and (B),
                                                and’’ and adding in its place ‘‘(b)(2)(ii),                                                                    under paragraph (e)(2)(i) of this section
                                                                                                        removing ‘‘State, in accordance’’ and                  corresponding to each CSAPR NOX
                                                and’’;                                                  adding in its place ‘‘State and areas of
                                                ■ g. In the definition of ‘‘CSAPR NOX                                                                          Ozone Season Group 2 allowance
                                                                                                        Indian country within the borders of the               described in paragraph (e)(1) of this
                                                Ozone Season Group 3 allowance’’,                       State subject to the State’s SIP authority,
                                                adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’, and                                                                   section initially recorded in a given
                                                                                                        in accordance’’;                                       source’s compliance account shall apply
                                                adding ‘‘or less’’ after ‘‘one ton’’;                   ■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                ■ h. In the definition of ‘‘CSAPR NOX                                                                          to such source’s current owners and
                                                                                                        removing ‘‘Indian country within the                   operators, except as provided in
                                                Ozone Season Group 3 Trading                            borders of a State, in accordance’’ and
                                                Program’’, removing ‘‘(b)(2)(v), and’’ and                                                                     paragraph (e)(2)(ii)(B) of this section.
                                                                                                        adding in its place ‘‘areas of Indian                     (B) If the owners and operators of a
                                                adding in its place ‘‘(b)(2)(iii), and’’; and           country within the borders of a State not
                                                ■ i. In the definition of ‘‘State’’,                                                                           given source as of a given date assumed
                                                                                                        subject to the State’s SIP authority, in               ownership and operational control of
                                                removing ‘‘(b)(2)(iii) and (iv), and’’ and              accordance’’;
                                                adding in its place ‘‘(b)(2)(ii), and’’.                                                                       the source through a transaction that did
                                                                                                        ■ c. In paragraph (d)(1), removing
                                                   The revision reads as follows:                                                                              not also provide rights to direct the use
                                                                                                        ‘‘§ 52.38(b)(2)(iv) of this chapter (or’’              or transfer of a given CSAPR NOX Ozone
                                                § 97.802   Definitions.                                 and adding in its place                                Season Group 2 allowance described in
                                                                                                        ‘‘§ 52.38(b)(2)(ii)(B) of this chapter                 paragraph (e)(1) of this section with
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                                                *     *     *    *    *
                                                  Common designated representative’s                    (and’’; and                                            regard to such source (whether
                                                                                                        ■ d. Adding paragraph (e).
                                                assurance level * * *                                      The addition reads as follows:                      recordation of such CSAPR NOX Ozone
                                                  (1) The amount (rounded to the                                                                               Season Group 2 allowance in the
                                                nearest allowance) equal to the sum of                  § 97.811 Timing requirements for CSAPR                 source’s compliance account occurred
                                                the total amount of CSAPR NOX Ozone                     NOX Ozone Season Group 2 allowance                     before such transaction or was
                                                Season Group 2 allowances allocated for                 allocations.                                           anticipated to occur after such
                                                such control period to the group of one                 *       *     *       *      *                         transaction), then the surrender


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                                                requirement under paragraph (e)(2)(i) of                than September 15, 2023, the owners                    account is a compliance account) in the
                                                this section corresponding to such                      and operators of the source shall hold                 order of recordation and will then
                                                CSAPR NOX Ozone Season Group 2                          sufficient CSAPR NOX Ozone Season                      deduct CSAPR NOX Ozone Season
                                                allowance shall apply to the most recent                Group 2 allowances eligible to satisfy                 Group 2 allowances recorded in the
                                                former owners and operators of the                      such unsatisfied surrender requirements                account under § 97.526(d) or § 97.823 in
                                                source before the occurrence of such a                  under paragraph (e)(2)(i) of this section              the order of recordation.
                                                transaction.                                            in the source’s compliance account.                       (4)(i) To the extent the surrender
                                                   (C) The Administrator will not                          (B) With regard to any portion of such              requirements under paragraph (e)(2)(i)
                                                adjudicate any private legal dispute                    unsatisfied surrender requirements that                of this section corresponding to any
                                                among the owners and operators of a                     apply to former owners and operators of                CSAPR NOX Ozone Season Group 2
                                                source or among the former owners and                   the source pursuant to paragraph                       allowances allocated for a control
                                                operators of a source, including any                    (e)(2)(ii)(B) of this section, not later than          period after 2022 and initially recorded
                                                disputes relating to the requirements to                September 15, 2023, such former                        in a given source’s compliance account
                                                surrender CSAPR NOX Ozone Season                        owners and operators shall hold                        have not been fully satisfied through the
                                                Group 2 allowances for the source under                 sufficient CSAPR NOX Ozone Season                      deductions under paragraph (e)(3) of
                                                paragraph (e)(2)(i) of this section.                    Group 2 allowances eligible to satisfy                 this section, as soon as practicable on or
                                                   (3)(i) As soon as practicable on or                  such portion of the unsatisfied                        after November 15, 2023, the
                                                after [EFFECTIVE DATE OF FINAL                          surrender requirements under paragraph                 Administrator will deduct such initially
                                                RULE], the Administrator will send a                    (e)(2)(i) of this section either in the                recorded CSAPR NOX Ozone Season
                                                notification to the designated                          source’s compliance account or in                      Group 2 allowances from any
                                                representative for each source described                another Allowance Management System                    Allowance Management System
                                                in paragraph (e)(1) of this section                     account identified to the Administrator                accounts in which such CSAPR NOX
                                                identifying the amounts of CSAPR NOX                    on or before such date in a submission                 Ozone Season Group 2 allowances are
                                                Ozone Season Group 2 allowances                         by the authorized account                              held, making such deductions in any
                                                allocated for each control period after                 representative for such account.                       order determined by the Administrator,
                                                2022 and recorded in the source’s                          (C) As soon as practicable on or after              until all such surrender requirements
                                                compliance account and the                              September 15, 2023, the Administrator                  for such source have been satisfied or
                                                corresponding surrender requirements                    will deduct from the Allowance                         until all such CSAPR NOX Ozone
                                                for the source under paragraph (e)(2)(i)                Management System account identified                   Season Group 2 allowances have been
                                                of this section.                                        in accordance with paragraph                           deducted, except as provided in
                                                   (ii) As soon as practicable on or after              (e)(3)(iv)(A) or (B) of this section CSAPR             paragraph (e)(4)(ii) of this section.
                                                [15 DAYS AFTER EFFECTIVE DATE OF                        NOX Ozone Season Group 2 allowances                       (ii) If no person with an ownership
                                                FINAL RULE], the Administrator will                     eligible to satisfy the surrender                      interest in a given CSAPR NOX Ozone
                                                deduct from the compliance account for                  requirements for the source under                      Season Group 2 allowance as of April
                                                each source described in paragraph                      paragraph (e)(2)(i) of this section until              30, 2022, was an owner or operator of
                                                (e)(1) of this section CSAPR NOX Ozone                  all such surrender requirements for the                the source in whose compliance account
                                                Season Group 2 allowances eligible to                   source are satisfied or until no more                  such CSAPR NOX Ozone Season Group
                                                satisfy the surrender requirements for                  CSAPR NOX Ozone Season Group 2                         2 allowance was initially recorded, was
                                                the source under paragraph (e)(2)(i) of                 allowances eligible to satisfy such                    a direct or indirect parent or subsidiary
                                                this section until all such surrender                   surrender requirements remain in such                  of an owner or operator of such source,
                                                requirements for the source are satisfied               account.                                               or was directly or indirectly under
                                                or until no more CSAPR NOX Ozone                           (v) When making deductions under                    common ownership with an owner or
                                                Season Group 2 allowances eligible to                   paragraph (e)(3)(ii) or (iv) of this section           operator of such source, the
                                                satisfy such surrender requirements                     to address the surrender requirements                  Administrator will not deduct such
                                                remain in such compliance account.                      under paragraph (e)(2)(i) of this section              CSAPR NOX Ozone Season Group 2
                                                   (iii) As soon as practicable after                   for a given source:                                    allowance under paragraph (e)(4)(i) of
                                                completion of the deductions under                         (A) The Administrator will make                     this section. For purposes of this
                                                paragraph (e)(3)(ii) of this section, the               deductions to address any surrender                    paragraph, each owner or operator of a
                                                Administrator will identify for each                    requirements with regard to first the                  source shall be deemed to be a person
                                                source described in paragraph (e)(1) of                 2023 control period and then the 2024                  with an ownership interest in any
                                                this section the amounts, if any, of                    control period.                                        CSAPR NOX Ozone Season Group 2
                                                CSAPR NOX Ozone Season Group 2                             (B) When making deductions to                       allowance held in that source’s
                                                allowances allocated for each control                   address the surrender requirements with                compliance account. The limitation
                                                period after 2022 and recorded in the                   regard to a given control period, the                  established by this paragraph on the
                                                source’s compliance account for which                   Administrator will first deduct CSAPR                  deductibility of certain CSAPR NOX
                                                the corresponding surrender                             NOX Ozone Season Group 2 allowances                    Ozone Season Group 2 allowances
                                                requirements under paragraph (e)(2)(i)                  allocated for such given control period                under paragraph (e)(4)(i) of this section
                                                of this section have not been satisfied                 and will then deduct CSAPR NOX                         shall not be construed as a waiver of the
                                                and will send a notification concerning                 Ozone Season Group 2 allowances                        surrender requirements under paragraph
                                                such identified amounts to the                          allocated for each successively earlier                (e)(2)(i) of this section corresponding to
                                                designated representative for the source.               control period in sequence.                            such CSAPR NOX Ozone Season Group
                                                                                                           (C) When deducting CSAPR NOX
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                                                   (iv) With regard to each source for                                                                         2 allowances.
                                                which unsatisfied surrender                             Ozone Season Group 2 allowances                           (iii) Not less than 45 days before the
                                                requirements under paragraph (e)(2)(i)                  allocated for a given control period from              planned date for any deductions under
                                                of this section remain after the                        a given Allowance Management System                    paragraph (e)(4)(i) of this section, the
                                                deductions under paragraph (e)(3)(ii) of                account, the Administrator will first                  Administrator will send a notification to
                                                this section:                                           deduct CSAPR NOX Ozone Season                          the authorized account representative
                                                   (A) Except as provided in paragraph                  Group 2 allowances initially recorded in               for the Allowance Management System
                                                (e)(3)(iv)(B) of this section, not later                the account under § 97.821 (if the                     account from which such deductions


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                                                will be made identifying the CSAPR                      § 97.812    [Amended]                                  chapter (or’’ and adding in its place
                                                NOX Ozone Season Group 2 allowances                     ■ 64. Amend § 97.812 by:                               ‘‘§ 52.38(b)(2)(iii) of this chapter (and’’;
                                                to be deducted and the data upon which                  ■ a. In paragraph (a) introductory text,               ■ j. Redesignating paragraph (e) as
                                                the Administrator has relied and                        removing ‘‘State, the Administrator’’                  paragraph (f) and adding a new
                                                specifying a process for submission of                  and adding in its place ‘‘State and areas              paragraph (e);
                                                any objections to such data. Any                        of Indian country within the borders of                ■ k. Revising newly redesignated
                                                objections must be submitted to the                     the State subject to the State’s SIP                   paragraphs (f)(1) and (2); and
                                                Administrator not later than 15 days                    authority, the Administrator’’;                        ■ l. Adding paragraph (f)(3).
                                                before the planned date for such                        ■ b. In paragraphs (a)(3)(iii) and (a)(5),                The revisions and additions read as
                                                deductions as indicated in such                         adding ‘‘and areas of Indian country                   follows:
                                                notification.                                           within the borders of the State subject
                                                                                                                                                               § 97.826   Banking and conversion.
                                                   (5) To the extent the surrender                      to the State’s SIP authority’’ after ‘‘in the
                                                requirements under paragraph (e)(2)(i)                  State’’;                                               *       *    *    *      *
                                                of this section corresponding to any                    ■ c. In paragraph (a)(10), removing                       (d) * * *
                                                CSAPR NOX Ozone Season Group 2                          ‘‘State, is allocated’’ and adding in its                 (1) * * *
                                                                                                                                                                  (i) * * *
                                                allowances allocated for a control                      place ‘‘State and areas of Indian country
                                                                                                                                                                  (C) The full-season CSAPR NOX
                                                period after 2022 and initially recorded                within the borders of the State subject
                                                                                                                                                               Ozone Season Group 3 allowance bank
                                                in a given source’s compliance account                  to the State’s SIP authority, is
                                                                                                                                                               target, computed as the sum for all
                                                have not been fully satisfied through the               allocated’’;
                                                                                                                                                               States listed in § 52.38(b)(2)(iii)(A) of
                                                deductions under paragraphs (e)(3) and                  ■ d. In paragraph (b) introductory text,
                                                                                                                                                               this chapter of the variability limits
                                                (4) of this section:                                    removing ‘‘Indian country within the
                                                   (i) The persons identified in                                                                               under § 97.1010(e) for such States for
                                                                                                        borders of each State, the
                                                accordance with paragraph (e)(2)(ii) of                                                                        the control period in 2022.
                                                                                                        Administrator’’ and adding in its place
                                                this section with regard to such source                 ‘‘areas of Indian country within the                   *       *    *    *      *
                                                and each such CSAPR NOX Ozone                           borders of each State not subject to the                  (iv) For the compliance account of
                                                Season Group 2 allowance shall pay any                  State’s SIP authority, the                             each source to which an amount of
                                                fine, penalty, or assessment or comply                  Administrator’’; and                                   CSAPR NOX Ozone Season Group 3
                                                with any other remedy imposed under                     ■ e. In paragraph (b)(5), removing                     allowances greater than zero is allocated
                                                the Clean Air Act; and                                  ‘‘Indian country within the borders of                 under paragraph (d)(1)(ii)(C) of this
                                                   (ii) Each such CSAPR NOX Ozone                       the State’’ and adding in its place ‘‘areas            section:
                                                Season Group 2 allowance, and each                      of Indian country within the borders of                *       *    *    *      *
                                                day in such control period, shall                       the State not subject to the State’s SIP                  (e) Notwithstanding any other
                                                constitute a separate violation of this                 authority’’.                                           provision of this subpart, part 52 of this
                                                subpart and the Clean Air Act.                                                                                 chapter, or any SIP revision approved
                                                   (6) The Administrator will record in                 § 97.821    [Amended]                                  under § 52.38(b)(8) or (9) of this chapter:
                                                the appropriate Allowance Management                    ■ 65. In § 97.821, amend paragraph (f)                    (1) By [45 DAYS AFTER EFFECTIVE
                                                System accounts all deductions of                       by removing ‘‘2022’’ and adding in its                 DATE OF FINAL RULE], the
                                                CSAPR NOX Ozone Season Group 2                          place ‘‘2024’’, and removing ‘‘third’’                 Administrator will temporarily suspend
                                                allowances under paragraphs (e)(3) and                  before ‘‘year after the year’’.                        acceptance of CSAPR NOX Ozone
                                                (4) of this section.                                                                                           Season Group 2 allowance transfers
                                                   (7)(i) Each submission, objection, or                § 97.825    [Amended]
                                                                                                                                                               submitted under § 97.822 and, before
                                                other written communication from a                      ■ 66. In § 97.825, amend paragraphs (a)
                                                                                                                                                               resuming acceptance of such transfers,
                                                designated representative, authorized                   introductory text, (a)(2), (b)(1)(i),                  will take the following actions with
                                                account representative, or other person                 (b)(1)(ii)(A) and (B), (b)(3), (b)(4)(i),              regard to every general account and
                                                to the Administrator under paragraph                    (b)(5), (b)(6)(i), (b)(6)(iii) introductory            every compliance account except a
                                                (e)(2), (3), or (4) of this section shall be            text, and (b)(6)(iii)(A) and (B) by                    compliance account for a CSAPR NOX
                                                sent electronically to the email address                removing ‘‘base CSAPR’’ and adding in                  Ozone Season Group 2 source in a State
                                                CSAPR@epa.gov. Each such                                its place ‘‘CSAPR’’ each time it appears.              listed in § 52.38(b)(2)(ii)(A) of this
                                                                                                        ■ 67. Amend § 97.826 by:
                                                communication from a designated                                                                                chapter (and Indian country within the
                                                                                                        ■ a. In paragraph (b), removing ‘‘(c) or
                                                representative must contain the                                                                                borders of such a State):
                                                certification statement set forth in                    (d)’’ and adding in its place ‘‘(c), (d), or
                                                                                                                                                                  (i) The Administrator will deduct all
                                                § 97.814(a), and each such                              (e)’’;
                                                                                                        ■ b. In paragraph (c), removing ‘‘State
                                                                                                                                                               CSAPR NOX Ozone Season Group 2
                                                communication from the authorized                                                                              allowances allocated for the control
                                                                                                        (or Indian’’ and adding in its place
                                                account representative for a general                                                                           periods in 2017 through 2022 from each
                                                                                                        ‘‘State (and Indian’’;
                                                account must contain the certification                  ■ c. In paragraphs (d)(1)(i)(A) and (B),               such account.
                                                statement set forth in § 97.820(c)(2)(ii).              removing ‘‘§ 52.38(b)(2)(iv)’’ and adding                 (ii) The Administrator will determine
                                                   (ii) Each notification from the                                                                             a conversion factor equal to the greater
                                                                                                        in its place ‘‘§ 52.38(b)(2)(ii)(B)’’;
                                                Administrator to a designated                           ■ d. Revising paragraph (d)(1)(i)(C);                  of 1.0000 or the quotient, expressed to
                                                representative or authorized account                    ■ e. In paragraph (d)(1)(ii) introductory              four decimal places, of the sum of all
                                                representative under paragraph (e)(3) or                text, removing ‘‘§ 52.38(b)(2)(v)’’ and                CSAPR NOX Ozone Season Group 2
                                                (4) of this section will be sent                        adding in its place ‘‘§ 52.38(b)(2)(iii)’’;            allowances deducted from all such
                                                electronically to the email address most
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                                                                                                        ■ f. Removing and reserving paragraph                  accounts under paragraph (e)(1)(i) of
                                                recently received by the Administrator                  (d)(1)(iii);                                           this section divided by the sum of the
                                                for such representative. In any such                    ■ g. Revising paragraph (d)(1)(iv)                     variability limits for the control period
                                                notification, the Administrator may                     introductory text;                                     in 2024 under § 97.1010(e) for all States
                                                provide information by means of a                       ■ h. In paragraphs (d)(1)(iv)(A) and (B),              listed in § 52.38(b)(2)(iii)(B) of this
                                                reference to a publicly accessible                      removing ‘‘or (d)(1)(iii)(C)’’;                        chapter.
                                                website where the information is                        ■ i. In paragraphs (d)(2)(i) and (d)(3),                  (iii) The Administrator will allocate
                                                available.                                              removing ‘‘§ 52.38(b)(2)(v) of this                    and record in each such account an


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                                                amount of CSAPR NOX Ozone Season                        allowances removed from such                           determined under paragraph (d)(1)(i)(D)
                                                Group 3 allowances for the control                      individual accounts under paragraph                    of this section.
                                                period in 2023 computed as the                          (e)(1)(i) of this section.                                (2) Except as provided in paragraph
                                                quotient, rounded up to the nearest                        (C) In determining the proportional                 (f)(3) of this section, after the
                                                allowance, of the number of CSAPR                       shares under paragraph (e)(1)(v)(B) of                 Administrator has carried out the
                                                NOX Ozone Season Group 2 allowances                     this section, the Administrator may                    procedures set forth in paragraph (e)(1)
                                                deducted from such account under                        employ any reasonable adjustment                       of this section, the owner or operator of
                                                paragraph (e)(1)(i) of this section                     methodology to truncate or round each                  a CSAPR NOX Ozone Season Group 2
                                                divided by the conversion factor                        such share up or down to a whole                       source in a State listed in
                                                determined under paragraph (e)(1)(ii) of                number and to cause the total of such                  § 52.38(b)(2)(iii)(B) of this chapter (and
                                                this section, except as provided in                     whole numbers to equal the amount of                   Indian country within the borders of
                                                paragraph (e)(1)(iv) or (v) of this section.            CSAPR NOX Ozone Season Group 3                         such a State) may satisfy a requirement
                                                   (iv) Where, pursuant to paragraph                    allowances computed for such group of                  to hold a given number of CSAPR NOX
                                                (e)(1)(i) of this section, the                          accounts in accordance with paragraph                  Ozone Season Group 2 allowances for
                                                Administrator deducts CSAPR NOX                         (e)(1)(v)(A) of this section, even where               the control period in a year from 2017
                                                Ozone Season Group 2 allowances from                    such adjustments cause the numbers of                  through 2022 by holding instead, in a
                                                the compliance account for a source in                  CSAPR NOX Ozone Season Group 3                         general account established for this sole
                                                a State not listed in § 52.38(b)(2)(iii) of             allowances allocated to some individual                purpose, an amount of CSAPR NOX
                                                this chapter (and Indian country within                 accounts to equal zero.                                Ozone Season Group 3 allowances for
                                                the borders of such a State), the                          (2) After the Administrator has carried             the control period in 2023 (or any later
                                                Administrator will not record CSAPR                     out the procedures set forth in                        control period for which the allowance
                                                NOX Ozone Season Group 3 allowances                     paragraph (e)(1) of this section, upon                 transfer deadline defined in § 97.1002
                                                in that compliance account but instead                  any determination that would otherwise                 has passed) computed as the quotient,
                                                will allocate and record the amount of                  result in the initial recordation of a                 rounded up to the nearest allowance, of
                                                CSAPR NOX Ozone Season Group 3                          given number of CSAPR NOX Ozone                        such given number of CSAPR NOX
                                                allowances for the control period in                    Season Group 2 allowances in the                       Ozone Season Group 2 allowances
                                                2023 computed for such source in                        compliance account for a source in a                   divided by the conversion factor
                                                accordance with paragraph (e)(1)(iii) of                State listed in § 52.38(b)(2)(iii)(B) of this          determined under paragraph (e)(1)(ii) of
                                                this section in a general account                       chapter (and Indian country within the                 this section.
                                                identified by the designated                                                                                      (3) CSAPR NOX Ozone Season Group
                                                                                                        borders of such a State), the
                                                representative for such source, provided                                                                       3 allowances may not be used to satisfy
                                                                                                        Administrator will not record such
                                                that if the designated representative fails                                                                    requirements to surrender CSAPR NOX
                                                                                                        CSAPR NOX Ozone Season Group 2
                                                to identify such a general account in a                                                                        Ozone Season Group 2 allowances
                                                                                                        allowances but instead will allocate and
                                                submission to the Administrator by [45                                                                         under § 97.811(d) or (e).
                                                                                                        record in such account an amount of
                                                DAYS AFTER EFFECTIVE DATE OF
                                                                                                        CSAPR NOX Ozone Season Group 3
                                                FINAL RULE], the Administrator may                                                                             Subpart FFFFF—Texas SO2 Trading
                                                                                                        allowances for the control period in
                                                record such CSAPR NOX Ozone Season                                                                             Program
                                                                                                        2023 computed as the quotient, rounded
                                                Group 3 allowances in a general account
                                                                                                        up to the nearest allowance, of such                   ■ 68. Amend § 97.902 by:
                                                identified or established by the
                                                Administrator with the designated                       given number of CSAPR NOX Ozone                        ■ a. In the definition of ‘‘alternate
                                                representative as the authorized account                Season Group 2 allowances divided by                   designated representative’’, removing
                                                representative and with the owners and                  the conversion factor determined under                 ‘‘Program or CSAPR NOX Ozone Season
                                                operators of such source (as indicated                  paragraph (e)(1)(ii) of this section.                  Group 2 Trading Program, then’’ and
                                                on the certificate of representation for                   (f) * * *                                           adding in its place ‘‘Program, CSAPR
                                                the source) as the persons represented                     (1) Except as provided in paragraph                 NOX Ozone Season Group 2 Trading
                                                by the authorized account                               (f)(3) of this section, after the                      Program, or CSAPR NOX Ozone Season
                                                representative.                                         Administrator has carried out the                      Group 3 Trading Program, then’’;
                                                   (v)(A) In computing any amounts of                   procedures set forth in paragraph (d)(1)               ■ b. In the definition of ‘‘CSAPR NOX
                                                CSAPR NOX Ozone Season Group 3                          of this section, the owner or operator of              Ozone Season Group 2 Trading
                                                allowances to be allocated to and                       a CSAPR NOX Ozone Season Group 2                       Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                recorded in general accounts under                      source in a State listed in                            and’’ and adding in its place ‘‘(b)(2)(ii),
                                                paragraph (e)(1)(iii) of this section, the              § 52.38(b)(2)(iii)(A) of this chapter (and             and’’;
                                                Administrator may group multiple                        Indian country within the borders of                   ■ c. Adding in alphabetical order a
                                                general accounts whose ownership                        such a State) may satisfy a requirement                definition for ‘‘CSAPR NOX Ozone
                                                interests are held by the same or related               to hold a given number of CSAPR NOX                    Season Group 3 Trading Program’’; and
                                                persons or entities and treat the group                 Ozone Season Group 2 allowances for                    ■ d. In the definition of ‘‘designated
                                                of accounts as a single account for                     the control period in a year from 2017                 representative’’, removing ‘‘Program or
                                                purposes of such computation.                           through 2020 by holding instead, in a                  CSAPR NOX Ozone Season Group 2
                                                   (B) Following a computation for a                    general account established for this sole              Trading Program, then’’ and adding in
                                                group of general accounts in accordance                 purpose, an amount of CSAPR NOX                        its place ‘‘Program, CSAPR NOX Ozone
                                                with paragraph (e)(1)(v)(A) of this                     Ozone Season Group 3 allowances for                    Season Group 2 Trading Program, or
                                                section, the Administrator will allocate                the control period in 2021 (or any later
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                                                                                                                                                               CSAPR NOX Ozone Season Group 3
                                                to and record in each individual                        control period for which the allowance                 Trading Program, then’’.
                                                account in such group a proportional                    transfer deadline defined in § 97.1002                    The addition reads as follows:
                                                share of the quantity of CSAPR NOX                      has passed) computed as the quotient,
                                                Ozone Season Group 3 allowances                         rounded up to the nearest allowance, of                § 97.902   Definitions.
                                                computed for such group, basing such                    such given number of CSAPR NOX                         *    *    *    *   *
                                                shares on the respective quantities of                  Ozone Season Group 2 allowances                          CSAPR NOX Ozone Season Group 3
                                                CSAPR NOX Ozone Season Group 2                          divided by the conversion factor                       Trading Program means a multi-state


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                                                NOX air pollution control and emission                  adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’, and           CSAPR NOX Ozone Season Group 3 unit
                                                reduction program established in                        adding ‘‘or less’’ after ‘‘one ton’’;                  will be treated as being allocated an
                                                accordance with subpart GGGGG of this                   ■ j. In the definition of ‘‘CSAPR NOX                  amount (i.e., zero) of CSAPR NOX
                                                part and § 52.38(b)(1), (b)(2)(iii), and                Ozone Season Group 3 allowance                         Ozone Season Group 3 allowances.
                                                (b)(10) through (14) and (17) of this                   deduction or deduct CSAPR NOX Ozone                    *      *    *     *      *
                                                chapter (including such a program that                  Season Group 3 allowances’’, adding                       Backstop daily NOX emissions rate
                                                is revised in a SIP revision approved by                ‘‘primary’’ before ‘‘emissions                         means an emissions rate limit used in
                                                the Administrator under § 52.38(b)(10)                  limitation’’;                                          the determination of the CSAPR NOX
                                                or (11) of this chapter or that is                      ■ k. In the definition of ‘‘CSAPR NOX                  Ozone Season Group 3 primary
                                                established in a SIP revision approved                  Ozone Season Group 3 emissions                         emissions limitation for a CSAPR NOX
                                                by the Administrator under                              limitation’’, adding ‘‘primary’’ before                Ozone Season Group 3 source in
                                                § 52.38(b)(12) of this chapter), as a                   ‘‘emissions limitation’’;                              accordance with § 97.1024(b).
                                                means of mitigating interstate transport                ■ l. Adding in alphabetical order a
                                                                                                                                                               *      *    *     *      *
                                                of ozone and NOX.                                       definition for ‘‘CSAPR NOX Ozone
                                                                                                                                                                  Common designated representative’s
                                                *     *      *    *     *                               Season Group 3 secondary emissions
                                                                                                                                                               assurance level * * *
                                                                                                        limitation’’;
                                                § 97.921   [Amended]                                    ■ m. In the definition of ‘‘CSAPR NOX
                                                                                                                                                                  (2) Provided that the allocations of
                                                                                                        Ozone Season Group 3 Trading                           CSAPR NOX Ozone Season Group 3
                                                ■ 69. In § 97.921, amend paragraph
                                                                                                        Program’’, removing ‘‘(b)(2)(v), and’’ and             allowances for any control period taken
                                                (b)(2) by removing ‘‘2022’’ and adding
                                                                                                        adding in its place ‘‘(b)(2)(iii), and’’;              into account for purposes of this
                                                in its place ‘‘2024’’, and removing
                                                                                                        ■ n. Adding in alphabetical order a
                                                                                                                                                               definition shall exclude any CSAPR
                                                ‘‘third’’ before ‘‘year after the year’’.
                                                                                                        definition for ‘‘CSAPR SO2 Group 2                     NOX Ozone Season Group 3 allowances
                                                § 97.934   [Amended]                                    Trading Program’’;                                     allocated for such control period under
                                                ■ 70. In § 97.934, amend paragraph                      ■ o. In the definition of ‘‘designated
                                                                                                                                                               § 97.526(d) or § 97.826(d) or (e).
                                                (d)(3) by removing ‘‘Program or CSAPR                   representative’’, removing ‘‘or CSAPR                  *      *    *     *      *
                                                NOX Ozone Season Group 2 Trading                        SO2 Group 1 Trading Program, then’’                       CSAPR NOX Ozone Season Group 1
                                                Program, quarterly’’ and adding in its                  and adding in its place ‘‘CSAPR SO2                    Trading Program means a multi-state
                                                place ‘‘Program, CSAPR NOX Ozone                        Group 1 Trading Program, or CSAPR                      NOX air pollution control and emission
                                                Season Group 2 Trading Program, or                      SO2 Group 2 Trading Program, then’’.                   reduction program established in
                                                CSAPR NOX Ozone Season Group 3                          ■ p. In the definition of ‘‘excess                     accordance with subpart BBBBB of this
                                                Trading Program, quarterly’’.                           emissions’’, adding ‘‘primary’’ before                 part and § 52.38(b)(1), (b)(2)(i), and
                                                                                                        ‘‘emissions limitation’’; and                          (b)(3) through (5) and (13) through (15)
                                                Subpart GGGGG—CSAPR NOX Ozone                           ■ q. In the definition of ‘‘State’’,                   of this chapter (including such a
                                                Season Group 3 Trading Program                          removing ‘‘(b)(2)(v), and’’ and adding in              program that is revised in a SIP revision
                                                ■ 71. Amend § 97.1002 by:                               its place ‘‘(b)(2)(iii), and’’.                        approved by the Administrator under
                                                ■ a. Revising the definition of ‘‘allocate                 The revisions and additions read as                 § 52.38(b)(3) or (4) of this chapter or that
                                                or allocation’’;                                        follows:                                               is established in a SIP revision approved
                                                ■ b. In the definition of ‘‘allowance                                                                          by the Administrator under § 52.38(b)(5)
                                                                                                        § 97.1002    Definitions.                              of this chapter), as a means of mitigating
                                                transfer deadline’’, adding ‘‘primary’’
                                                before ‘‘emissions limitation’’;                        *     *      *    *     *                              interstate transport of ozone and NOX.
                                                ■ c. In the definition of ‘‘alternate                     Allocate or allocation means, with                   *      *    *     *      *
                                                designated representative’’, removing                   regard to CSAPR NOX Ozone Season                          CSAPR NOX Ozone Season Group 3
                                                ‘‘or CSAPR SO2 Group 1 Trading                          Group 3 allowances, the determination                  secondary emissions limitation means,
                                                Program, then’’ and adding in its place                 by the Administrator, State, or                        for a CSAPR NOX Ozone Season Group
                                                ‘‘CSAPR SO2 Group 1 Trading Program,                    permitting authority, in accordance with               3 unit to which such a limitation
                                                or CSAPR SO2 Group 2 Trading                            this subpart, §§ 97.526(d) and 97.826(d)               applies under § 97.1025(c)(1) for a
                                                Program, then’’;                                        and (e), and any SIP revision submitted                control period in a given year, the
                                                ■ d. Adding in alphabetical order a                     by the State and approved by the                       tonnage of NOX emissions calculated for
                                                definition for ‘‘backstop daily NOX                     Administrator under § 52.38(b)(10), (11),              the unit in accordance with
                                                emissions rate’’;                                       or (12) of this chapter, of the amount of              § 97.1025(c)(2) for such control period.
                                                ■ e. In the definition of ‘‘common                      such CSAPR NOX Ozone Season Group
                                                                                                        3 allowances to be initially credited, at              *      *    *     *      *
                                                designated representative’s assurance
                                                                                                        no cost to the recipient, to:                             CSAPR SO2 Group 2 Trading Program
                                                level’’, in paragraph (1), removing
                                                                                                          (1) A CSAPR NOX Ozone Season                         means a multi-state SO2 air pollution
                                                ‘‘§ 97.1010(b)’’ and adding in its place
                                                                                                        Group 3 unit;                                          control and emission reduction program
                                                ‘‘§ 97.1010(e)’’, and revising paragraph
                                                                                                          (2) A new unit set-aside;                            established in accordance with subpart
                                                (2);
                                                ■ f. In the definition of ‘‘compliance                    (3) An Indian country new unit set-                  DDDDD of this part and § 52.39(a), (c),
                                                account’’, adding ‘‘primary’’ before                    aside;                                                 (g) through (k), and (m) of this chapter
                                                ‘‘emissions limitation’’;                                 (4) An Indian country existing unit                  (including such a program that is
                                                ■ g. Adding in alphabetical order a                     set-aside; or                                          revised in a SIP revision approved by
                                                definition for ‘‘CSAPR NOX Ozone                          (5) An entity not listed in paragraphs               the Administrator under § 52.39(g) or (h)
                                                                                                                                                               of this chapter or that is established in
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                                                Season Group 1 Trading Program’’;                       (1) through (4) of this definition;
                                                ■ h. In the definition of ‘‘CSAPR NOX                     (6) Provided that, if the                            a SIP revision approved by the
                                                Ozone Season Group 2 Trading                            Administrator, State, or permitting                    Administrator under § 52.39(i) of this
                                                Program’’, removing ‘‘(b)(2)(iii) and (iv),             authority initially credits, to a CSAPR                chapter), as a means of mitigating
                                                and’’ and adding in its place ‘‘(b)(2)(ii),             NOX Ozone Season Group 3 unit                          interstate transport of fine particulates
                                                and’’;                                                  qualifying for an initial credit, a credit             and SO2.
                                                ■ i. In the definition of ‘‘CSAPR NOX                   in the amount of zero CSAPR NOX                        *      *    *     *      *
                                                Ozone Season Group 3 allowance’’,                       Ozone Season Group 3 allowances, the                   ■ 72. Amend § 97.1006 by:



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                                                ■ a. Revising paragraph (b)(2), the                     source and all days of the control                     State NOX Ozone Season Group 3
                                                paragraph (c)(1) heading, paragraph                     period, of any NOX emissions from such                 trading budget under § 97.1010(a) and
                                                (c)(1)(i), and paragraph (c)(1)(ii)                     a unit on any day of the control period                the State’s variability limit under
                                                introductory text;                                      exceeding the NOX emissions that                       § 97.1010(e).
                                                ■ b. Adding paragraphs (c)(1)(iii) and                  would have occurred on that day if the                 *       *    *     *      *
                                                (iv); and                                               unit had combusted the same daily heat                    (3) Compliance periods.(i) A CSAPR
                                                ■ c. Revising paragraphs (c)(2)(iii) and                input and emitted at any backstop daily                NOX Ozone Season Group 3 unit shall
                                                (c)(3).                                                 NOX emissions rate applicable to the                   be subject to the requirements under
                                                   The revisions and additions read as                  unit for that control period.                          paragraphs (c)(1)(i) and (ii) of this
                                                follows:                                                   (ii) Exceedances of primary emissions
                                                                                                                                                               section, and a base CSAPR NOX Ozone
                                                                                                        limitation. If total NOX emissions during
                                                § 97.1006   Standard requirements.                                                                             Season Group 3 unit shall be subject to
                                                                                                        a control period in a given year from the
                                                *      *    *    *      *                                                                                      the requirements under paragraph (c)(2)
                                                                                                        CSAPR NOX Ozone Season Group 3
                                                  (b) * * *                                                                                                    of this section, for the control period
                                                                                                        units at a CSAPR NOX Ozone Season
                                                  (2) The emissions and heat input data                                                                        starting on the later of the applicable
                                                                                                        Group 3 source are in excess of the
                                                determined in accordance with                                                                                  date in paragraph (c)(3)(i)(A), (B), or (C)
                                                                                                        CSAPR NOX Ozone Season Group 3
                                                §§ 97.1030 through 97.1035 shall be                                                                            of this section or the deadline for
                                                                                                        primary emissions limitation set forth in
                                                used to calculate allocations of CSAPR                                                                         meeting the unit’s monitor certification
                                                                                                        paragraph (c)(1)(i) of this section, then:
                                                NOX Ozone Season Group 3 allowances                                                                            requirements under § 97.1030(b) and for
                                                                                                        *       *    *     *    *                              each control period thereafter:
                                                under §§ 97.1011 and 97.1012 and to                        (iii) Secondary emissions limitation.
                                                determine compliance with the CSAPR                                                                               (A) May 1, 2021, for a unit in a State
                                                                                                        The owner or operator of a base CSAPR
                                                NOX Ozone Season Group 3 primary                                                                               (and Indian country within the borders
                                                                                                        NOX Ozone Season Group 3 unit subject
                                                and secondary emissions limitations                                                                            of such State) listed in
                                                                                                        to an emissions limitation under
                                                and assurance provisions under                                                                                 § 52.38(b)(2)(iii)(A) of this chapter;
                                                                                                        § 97.1025(c)(1) shall not discharge, or
                                                paragraph (c) of this section, provided                 allow to be discharged, emissions of                      (B) May 1, 2023, for a unit in a State
                                                that, for each monitoring location from                 NOX to the atmosphere during a control                 (and Indian country within the borders
                                                which mass emissions are reported, the                  period in excess of the tonnage amount                 of such State) listed in
                                                mass emissions amount used in                           calculated in accordance with                          § 52.38(b)(2)(iii)(B) of this chapter; or
                                                calculating such allocations and                        § 97.1025(c)(2).                                          (C) [EFFECTIVE DATE OF FINAL
                                                determining such compliance shall be                       (iv) Exceedances of secondary                       RULE], for a unit in a State (and Indian
                                                the mass emissions amount for the                       emissions limitation. If total NOX                     country within the borders of such
                                                monitoring location determined in                       emissions during a control period in a                 State) listed in § 52.38(b)(2)(iii)(C) of
                                                accordance with §§ 97.1030 through                      given year from a base CSAPR NOX                       this chapter.
                                                97.1035 and rounded to the nearest ton,                 Ozone Season Group 3 unit are in                          (ii) A base CSAPR NOX Ozone Season
                                                with any fraction of a ton less than 0.50               excess of the amount of a CSAPR NOX                    Group 3 unit shall be subject to the
                                                being deemed to be zero.                                Ozone Season Group 3 secondary                         requirements under paragraphs
                                                  (c) * * *                                             emissions limitation applicable to the                 (c)(1)(iii) and (iv) of this section for the
                                                  (1) CSAPR NOX Ozone Season Group                      unit for the control period under                      control period starting on the later of
                                                3 primary and secondary emissions                       paragraph (c)(1)(iii) of this section, then            May 1, 2024 or the deadline for meeting
                                                limitations—(i) Primary emissions                       the owners and operators of the unit and               the unit’s monitor certification
                                                limitation. As of the allowance transfer                the source at which the unit is located                requirements under § 97.1030(b) and for
                                                deadline for a control period in a given                shall pay any fine, penalty, or                        each control period thereafter.
                                                year, the owners and operators of each                  assessment or comply with any other                    *       *    *     *      *
                                                CSAPR NOX Ozone Season Group 3                          remedy imposed, for the same                           ■ 73. Revise § 97.1010 to read as
                                                source and each CSAPR NOX Ozone                         violations, under the Clean Air Act, and               follows:
                                                Season Group 3 unit at the source shall                 each ton of such excess emissions and
                                                hold, in the source’s compliance                        each day of such control period shall                  § 97.1010 State NOX Ozone Season Group
                                                account, CSAPR NOX Ozone Season                         constitute a separate violation of this                3 trading budgets, set-asides, and
                                                Group 3 allowances available for                                                                               variability limits.
                                                                                                        subpart and the Clean Air Act.
                                                deduction for such control period under                    (2) * * *                                              (a) State NOX Ozone Season Group 3
                                                § 97.1024(a) in an amount not less than                    (iii) Total NOX emissions from all                  trading budgets. (1)(i) The State NOX
                                                the amount determined under                             base CSAPR NOX Ozone Season Group                      Ozone Season Group 3 trading budgets
                                                § 97.1024(b), comprising the sum of:                    3 units at base CSAPR NOX Ozone                        for allocations of CSAPR NOX Ozone
                                                  (A) The tons of total NOX emissions                   Season Group 3 sources in a State (and                 Season Group 3 allowances for the
                                                for such control period from all CSAPR                  Indian country within the borders of                   control periods in 2021, 2022, 2023, and
                                                NOX Ozone Season Group 3 units at the                   such State) during a control period in a               2024 are as indicated in Table 1 to this
                                                source; plus                                            given year exceed the State assurance                  paragraph, subject to prorating for the
                                                  (B) Two times the sum, for all CSAPR                  level if such total NOX emissions exceed               control period in 2023 as provided in
                                                NOX Ozone Season Group 3 units at the                   the sum, for such control period, of the               paragraph (a)(1)(ii) of this section:
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                                                      TABLE 1 TO PARAGRAPH (a)(1)(i)—STATE NOX OZONE SEASON GROUP 3 TRADING BUDGETS BY CONTROL PERIOD
                                                                                                                                                            [Tons]

                                                                                                                                                                                                                                  Portion of
                                                                                                                                                                                                       Portion of                2023 control
                                                                                                                                                                                                      2023 control              period on and
                                                                                                                                                                                                     period before                   after
                                                                                                                                                                                                     [EFFECTIVE
                                                                                         State                                                        2021                       2022                                           [EFFECTIVE      2024
                                                                                                                                                                                                       DATE OF                    DATE OF
                                                                                                                                                                                                     FINAL RULE],               FINAL RULE],
                                                                                                                                                                                                        before                      before
                                                                                                                                                                                                       prorating                  prorating

                                                Alabama ...............................................................................        ........................   ........................                13,211                6,364      6,306
                                                Arkansas ..............................................................................        ........................   ........................                  9,210               8,889      8,889
                                                Delaware ..............................................................................        ........................   ........................   ........................             384        434
                                                Illinois ...................................................................................                11,223                       9,102                      8,179               7,364      7,463
                                                Indiana .................................................................................                   17,004                     12,582                     12,553               11,151      9,391
                                                Kentucky ..............................................................................                     17,542                     14,051                     14,051               11,640     11,640
                                                Louisiana ..............................................................................                    16,291                     14,818                     14,818                9,312      9,312
                                                Maryland ..............................................................................                       2,397                      1,266                      1,266               1,187      1,187
                                                Michigan ...............................................................................                    14,384                     12,290                       9,975              10,718     10,718
                                                Minnesota .............................................................................        ........................   ........................   ........................           3,921      3,921
                                                Mississippi ............................................................................       ........................   ........................                  6,315               5,024      4,400
                                                Missouri ................................................................................      ........................   ........................                15,780               11,857     11,857
                                                Nevada .................................................................................       ........................   ........................   ........................           2,280      2,372
                                                New Jersey ..........................................................................                         1,565                      1,253                      1,253                 799        799
                                                New York .............................................................................                        4,079                      3,416                      3,421               3,763      3,763
                                                Ohio ......................................................................................                 13,481                       9,773                      9,773               8,369      8,369
                                                Oklahoma .............................................................................         ........................   ........................                11,641               10,265      9,573
                                                Pennsylvania ........................................................................                       12,071                       8,373                      8,373               8,855      8,855
                                                Tennessee ...........................................................................          ........................   ........................                  7,736               4,234      4,234
                                                Texas ...................................................................................      ........................   ........................                52,301               38,284     38,284
                                                Utah ......................................................................................    ........................   ........................   ........................          14,981     15,146
                                                Virginia .................................................................................                    6,331                      3,897                      3,980               3,090      2,814
                                                West Virginia ........................................................................                      15,062                     12,884                     12,884               12,478     12,478
                                                Wisconsin .............................................................................        ........................   ........................                  7,915               5,963      5,057
                                                Wyoming ..............................................................................         ........................   ........................   ........................           9,125      8,573



                                                   (ii) For the control period in 2023, the                                  and each control period in 2025 and                                         for the immediately preceding control
                                                State NOX Ozone Season Group 3                                               thereafter shall be the amount provided                                     period; or
                                                trading budget for each State shall be                                       for the State and control period in the                                        (B) The unit’s deadline for
                                                calculated as the sum of the following                                       applicable notice of data availability                                      certification of monitoring systems
                                                prorated amounts, rounded to the                                             issued under paragraph (a)(3)(v)(C) of                                      under § 97.1030(b) is on or before May
                                                nearest allowance:                                                           this section.                                                               1 of the year two years before the year
                                                   (A) The product of the non-prorated                                          (3) The Administrator will calculate                                     of the control period (e.g., May 1, 2023
                                                trading budget for the portion of the                                        the State NOX Ozone Season Group 3                                          for calculation of the trading budget for
                                                2023 control period before [EFFECTIVE                                        trading budget for each State and each                                      the control period in 2025);
                                                DATE OF FINAL RULE] shown for the                                            control period in 2025 and thereafter in                                       (C) Provided that a unit shall not be
                                                State in Table 1 to paragraph (a)(1)(i) of                                   the year before the year of the control                                     included in the calculation of a State’s
                                                this section (or zero if Table 1 shows no                                    period as follows:                                                          trading budget for a control period if,
                                                amount for such portion of the 2023                                             (i) The State’s trading budget for the                                   before completing such calculation, the
                                                control period for the State) multiplied                                     control period shall be calculated as the                                   Administrator determines that the unit
                                                by a fraction whose numerator is the                                         sum (converted to tons at a conversion                                      is not actually a CSAPR NOX Ozone
                                                number of days from May 1, 2023                                              factor of 2,000 lb/ton and rounded to the                                   Season Group 3 unit.
                                                through the day before [EFFECTIVE                                            nearest ton), for all units identified for                                     (iii) For each unit included in the
                                                DATE OF FINAL RULE], inclusive, and                                          inclusion in the calculation under                                          calculation of the State’s trading budget
                                                whose denominator is 153; and                                                paragraph (a)(3)(ii) of this section, of the                                for a control period, the NOX emissions
                                                   (B) The product of the non-prorated                                       product for each such unit of the NOX                                       rate in lb/mmBtu used in the calculation
                                                trading budget for the portion of the                                        emissions rate in lb/mmBtu identified                                       shall be identified as follows:
                                                2023 control period on and after                                             for the unit under paragraph (a)(3)(iii) of                                    (A) For a unit listed in the table
                                                [EFFECTIVE DATE OF FINAL RULE]                                               this section multiplied by the heat input                                   entitled ‘‘Dynamic Budget 2023
                                                shown for the State in Table 1 to                                            in mmBtu identified for the unit under                                      Template’’ and ‘‘Dynamic Budget 2026+
                                                paragraph (a)(1)(i) of this section                                          paragraph (a)(3)(iv) of this section.                                       Template’’ posted at
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                                                multiplied by a fraction whose                                                  (ii) A unit in a State (and Indian                                       www.regulations.gov with docket
                                                numerator is the number of days from                                         country within the borders of the State)                                    identification number EPA–HQ–OAR–
                                                [EFFECTIVE DATE OF FINAL RULE]                                               shall be included in the calculation of                                     2021–0668–[XXXX], the NOX emissions
                                                through September 30, 2023, inclusive,                                       the State’s trading budget for a control                                    rate used in the calculation for the
                                                and whose denominator is 153.                                                period if:                                                                  control period shall be the NOX
                                                   (2) The State NOX Ozone Season                                               (A) The unit was included in the                                         emissions rate shown for the unit and
                                                Group 3 trading budget for each State                                        calculation of the State’s trading budget                                   control period in the tables.


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                                                   (B) For a unit not listed in the table                                    period in the year two years before the                                         (B) For each notice of data availability
                                                referenced in paragraph (a)(3)(iii)(A) of                                    year of the control period (e.g., heat                                       required in paragraph (a)(3)(v)(A) of this
                                                this section, the NOX emissions rate                                         input reported for the control period in                                     section, the Administrator will provide
                                                used in the calculation for the control                                      2023 shall be used in calculating the                                        an opportunity for submission of
                                                period shall be identified according to                                      trading budget for the control period in                                     objections to the calculations referenced
                                                the type of unit and the type of fuel                                        2025).                                                                       in such notice. Objections shall be
                                                combusted by the unit during the                                                (B) If no heat input data were reported                                   submitted by the deadline specified in
                                                control period beginning May 1 on or                                         for the unit for the control period in the                                   such notice and shall be limited to
                                                immediately after the unit’s deadline for                                    year two years before the year of the                                        addressing whether the calculations
                                                certification of monitoring systems                                          control period and the heat input used                                       (including the identification of the units
                                                under § 97.1030(b) as follows:                                               for the unit in calculating the State’s                                      included in the calculations) are in
                                                   (1) 0.012 lb/mmBtu, for a combined                                                                                                                     accordance with the provisions
                                                                                                                             trading budget for the control period in
                                                cycle combustion turbine other than an                                                                                                                    referenced in paragraph (a)(3)(v)(A) of
                                                                                                                             2024 was an estimate rather than the
                                                integrated coal gasification combined                                                                                                                     this section.
                                                                                                                             unit’s actual reported heat input for the
                                                cycle unit;                                                                                                                                                  (C) The Administrator will adjust the
                                                                                                                             control period in 2021 or an earlier year,
                                                   (2) 0.030 lb/mmBtu, for a simple cycle                                                                                                                 calculations to the extent necessary to
                                                                                                                             the same estimated heat input used in
                                                combustion turbine or a boiler                                                                                                                            ensure that they are in accordance with
                                                                                                                             calculating the State’s trading budget for
                                                combusting only fuel oil or gaseous fuel                                                                                                                  the provisions referenced in paragraph
                                                                                                                             the control period in 2024 shall be used
                                                (other than coal-derived fuel) during                                                                                                                     (a)(3)(v)(A) of this section. By May 1
                                                                                                                             in the calculations of the State’s trading
                                                such control period; or                                                                                                                                   immediately after the promulgation of
                                                                                                                             budgets for the control periods in 2025
                                                   (3) 0.050 lb/mmBtu, for a boiler                                                                                                                       each notice of data availability required
                                                                                                                             and 2026.
                                                combusting any amount of coal or coal-                                                                                                                    in paragraph (a)(3)(v)(A) of this section,
                                                derived fuel during such control period                                         (v)(A) By March 1, 2024 and March 1                                       the Administrator will promulgate a
                                                or any other unit not covered by                                             of each year thereafter, the                                                 notice of data availability of the results
                                                paragraph (a)(3)(iii)(B)(1) or (2) of this                                   Administrator will calculate the State                                       of the calculations incorporating any
                                                section.                                                                     CSAPR NOX Ozone Season Group 3                                               adjustments that the Administrator
                                                   (iv) For each unit included in the                                        trading budget for each State, in                                            determines to be necessary and the
                                                calculation of the State’s trading budget                                    accordance with paragraph (a)(3)(i)                                          reasons for accepting or rejecting any
                                                for a control period, the heat input in                                      through (iv) of this section and                                             objections submitted in accordance with
                                                mmBtu used in the calculation shall be                                       §§ 97.1006(b)(2) and 97.1030 through                                         paragraph (a)(3)(v)(B) of this section.
                                                identified as follows:                                                       97.1035, for the control period in the                                          (b) New unit set-asides. (1) The States’
                                                   (A) Except as provided in paragraph                                       year after the year of the applicable                                        new unit set-asides for allocations of
                                                (a)(3)(iv)(B) of this section, the heat                                      calculation deadline under this                                              CSAPR NOX Ozone Season Group 3
                                                input used in the calculation for the                                        paragraph and will promulgate a notice                                       allowances for the control periods in
                                                control period shall be the heat input                                       of data availability of the results of the                                   2021, 2022, 2023, and 2024 are as
                                                reported for the unit for the control                                        calculations.                                                                indicated in Table 2 to this paragraph:

                                                                                         TABLE 2 TO PARAGRAPH (b)(1)—NEW UNIT SET-ASIDES BY CONTROL PERIOD
                                                                                                                                                             [Tons]

                                                                                                       State                                                                      2021                       2022                 2023         2024

                                                Alabama ...........................................................................................................        ........................   ........................           191          189
                                                Arkansas ..........................................................................................................        ........................   ........................           178          178
                                                Delaware ..........................................................................................................        ........................   ........................            54           61
                                                Illinois ...............................................................................................................                     265                        265              368          373
                                                Indiana .............................................................................................................                        262                        254              223          188
                                                Kentucky ..........................................................................................................                          309                        283              233          233
                                                Louisiana ..........................................................................................................                         430                        430              186          186
                                                Maryland ..........................................................................................................                          135                        115               24           24
                                                Michigan ...........................................................................................................                         500                        482              429          429
                                                Minnesota ........................................................................................................         ........................   ........................            78           78
                                                Mississippi ........................................................................................................       ........................   ........................           100           88
                                                Missouri ............................................................................................................      ........................   ........................           237          237
                                                Nevada .............................................................................................................       ........................   ........................           137          142
                                                New Jersey ......................................................................................................                              27                         27              16           16
                                                New York .........................................................................................................                           168                        168              188          188
                                                Ohio .................................................................................................................                       291                        290              418          418
                                                Oklahoma .........................................................................................................         ........................   ........................           205          191
                                                Pennsylvania ....................................................................................................                            335                        339              266          266
                                                Tennessee .......................................................................................................          ........................   ........................            85           85
                                                Texas ...............................................................................................................      ........................   ........................           766          766
                                                Utah .................................................................................................................     ........................   ........................           449          454
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                                                Virginia .............................................................................................................                       185                        161              155          141
                                                West Virginia ....................................................................................................                           266                        261              250          250
                                                Wisconsin .........................................................................................................        ........................   ........................           119          101
                                                Wyoming ..........................................................................................................         ........................   ........................           274          257




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                                                   (2) The new unit set-aside for                                   through 2024 shall be calculated as the                  the notices of data availability will be
                                                allocations of CSAPR NOX Ozone                                      product (rounded to the nearest ton) of                  the notices issued under paragraph
                                                Season Group 3 allowances for each                                  the State NOX Ozone Season Group 3                       (b)(10)(iii) of this section.
                                                State for each control period in 2025                               trading budget determined for the State                     (3) Providing an allocation to a unit in
                                                and thereafter shall be calculated as the                           and control period in accordance with                    a notice of data availability does not
                                                product (rounded to the nearest                                     paragraph (a)(1) of this section                         constitute a determination that the unit
                                                allowance) of the State NOX Ozone                                   multiplied by 0.21.                                      is a CSAPR NOX Ozone Season Group
                                                Season Group 3 trading budget                                          (2) The variability limit for the State               3 unit, and not providing an allocation
                                                determined for the State and control                                NOX Ozone Season Group 3 trading                         to a unit in such notice does not
                                                period under paragraph (a)(2) of this                               budget for each State for each control                   constitute a determination that the unit
                                                section multiplied by 0.02.                                         period in 2025 and thereafter shall be                   is not a CSAPR NOX Ozone Season
                                                   (c) Indian country new unit set-asides                           calculated as the product (rounded to                    Group 3 unit.
                                                for the control periods in 2021 and                                 the nearest ton) of the State NOX Ozone                     (b) Calculation of default allocations
                                                2022. The States’ Indian country new                                Season Group 3 trading budget                            to existing units for control periods in
                                                unit set-asides for allocations of CSAPR                            determined for the State and control                     2025 and thereafter. For each control
                                                NOX Ozone Season Group 3 allowances                                 period in accordance with paragraph                      period in 2025 and thereafter, and for
                                                for the control periods in 2021 and 2022                            (a)(2) of this section multiplied by the                 the CSAPR NOX Ozone Season Group 3
                                                are as indicated in Table 3 to this                                 greater of:                                              units in each State and areas of Indian
                                                paragraph:                                                             (i) 0.21; or                                          country within the borders of the State,
                                                                                                                       (ii) Any excess over 1.00 of the                      the Administrator will calculate default
                                                   TABLE 3 TO PARAGRAPH (c)—INDIAN quotient (rounded to two decimal                                                          allocations of CSAPR NOX Ozone
                                                    COUNTRY NEW UNIT SET-ASIDES BY places) of the total heat input reported                                                  Season Group 3 allowances to the
                                                    CONTROL PERIOD                                                  for the control period for all CSAPR                     CSAPR NOX Ozone Season Group 3
                                                                                                                    NOX Ozone Season Group 3 units in the                    units as follows:
                                                                              [Tons]                                                                                            (1) For each State and control period,
                                                                                                                    State and Indian country within the
                                                                                                                    borders of the State divided by the total                the total amount of CSAPR NOX Ozone
                                                           State                      2021             2022
                                                                                                                    heat input used in the calculation of the                Season Group 3 allowances for which
                                                Alabama .................... ................ ................ State’s trading budget for the control                        default allocations will be calculated
                                                Arkansas ................... ................ ................ period under paragraph (a)(3) of this                         will be the remainder of the State NOX
                                                Delaware ................... ................ ................ section.                                                      Ozone Season Group 3 trading budget
                                                Illinois ........................ ................ ................    (f) Relationship of trading budgets,                  for the control period under
                                                Indiana ...................... ................ ................ set-asides, and variability limits. Each                    § 97.1010(a)(2) minus the new unit set-
                                                Kentucky ................... ................ ................ State NO Ozone Season Group 3                                 aside for the control period under
                                                                                                                               X
                                                Louisiana ..................                  15               15
                                                                                                                                                                             § 97.1010(b)(2).
                                                Maryland ................... ................ ................ trading budget in this section includes
                                                Michigan ...................                  13               12 any tons in a new unit set-aside, Indian
                                                                                                                                                                                (2) A default allocation of CSAPR
                                                Minnesota ................. ................ ................ country new unit set-aside, or Indian                          NOX Ozone Season Group 3 allowances
                                                Mississippi ................ ................ ................ country existing unit set-aside but does                      will be calculated for a CSAPR NOX
                                                Missouri .................... ................ ................ not include any tons in a variability                        Ozone Season Group 3 unit in the State
                                                Nevada ..................... ................ ................ limit.                                                        and Indian country within the borders
                                                New Jersey ............... ................ ................ ■ 74. Amend § 97.1011 by revising the                           of the State for a control period if:
                                                New York ..................                     3                3 section heading and paragraphs (a), (b),                     (i) The unit meets the conditions
                                                Ohio .......................... ................ ................                                                            under § 97.1010(a)(3)(ii) to be included
                                                                                                                    and (c)(1) and (5) to read as follows:
                                                Oklahoma .................        ................   ................                                                        in the calculation of the State’s trading
                                                Pennsylvania ............         ................   ................   § 97.1011 CSAPR NOX Ozone Season
                                                Tennessee ................        ................   ................
                                                                                                                                                                             budget for the control period; and
                                                                                                                        Group 3 allowance allocations to existing               (ii) The unit reported heat input
                                                Texas ........................    ................   ................   units.
                                                Utah ..........................   ................   ................                                                        greater than zero for the control period
                                                Virginia ......................   ................   ................
                                                                                                                          (a) Allocations to existing units in               in the year two years before the year of
                                                West Virginia ............        ................   ................   general. (1) For the control periods in              the control period.
                                                Wisconsin .................       ................   ................   2021 and each year thereafter, CSAPR                    (3) For each CSAPR NOX Ozone
                                                Wyoming ...................       ................   ................   NOX Ozone Season Group 3 allowances                  Season Group 3 unit for which a default
                                                                                                                        will be allocated to units in each State             allocation is being calculated for a
                                                   (d) Indian country existing unit set-                                and areas of Indian country within the               control period, the Administrator will
                                                asides for the control periods in 2023                                  borders of the State subject to the State’s          determine the following amounts for the
                                                and thereafter. The Indian country                                      SIP authority as provided in notices of              five-year historical period ending with
                                                existing unit set-aside for allocations of                              data availability issued by the                      the year two years before the year of the
                                                CSAPR NOX Ozone Season Group 3                                          Administrator. Starting with the control             control period for which default
                                                allowances for each State for each                                      period in 2025, the notices of data                  allocations are being calculated:
                                                control period in 2023 and thereafter                                   availability will be the notices issued                 (i) The total heat input reported for
                                                shall be calculated as the sum of all                                   under paragraph (b)(10)(iii) of this                 the unit in accordance with part 75 of
                                                allowance allocations to units in areas                                 section.                                             this chapter for the control period in
                                                of Indian country within the borders of                                   (2) For the control periods in 2023                each year of the five-year historical
                                                                                                                        and each year thereafter, CSAPR NOX
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                                                the State not subject to the State’s SIP                                                                                     period;
                                                authority as provided in the applicable                                 Ozone Season Group 3 allowances will                    (ii) The average of the three highest of
                                                notice of data availability for the control                             be allocated to units in areas of Indian             the total heat input values determined
                                                period referenced in § 97.1011(a)(2).                                   country within the borders of each State             for the unit under paragraph (b)(3)(i) of
                                                   (e) Variability limits. (1) The                                      not subject to the State’s SIP authority             this section or, if fewer than three non-
                                                variability limit for the State NOX Ozone                               as provided in notices of data                       zero values were determined for the
                                                Season Group 3 trading budget for each                                  availability issued by the Administrator.            unit, the average of all such non-zero
                                                State for each control period from 2021                                 Starting with the control period in 2025,            heat input values;


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                                                   (iii) The total NOX emissions reported               determine the rounded default                          paragraphs (b)(6)(iii) and (iv) of this
                                                for the unit in accordance with part 75                 allocations according to the procedures                section is less than the total amount of
                                                of this chapter for the control period in               in paragraphs (b)(8) and (9) of this                   allowances determined for the State and
                                                each year of the five-year historical                   section.                                               control period under paragraph (b)(1) of
                                                period; and                                                (6) If the unrounded default allocation             this section, the Administrator will
                                                   (iv) The maximum of the total NOX                    determined in the previous round of the                iterate the procedures in paragraph
                                                emissions values determined for the                     calculation procedure for at least one                 (b)(6) of this section or follow the
                                                unit under paragraph (b)(3)(iii) of this                CSAPR NOX Ozone Season Group 3 unit                    procedures in paragraph (b)(7) of this
                                                section.                                                is less than the unit’s maximum total                  section, as applicable.
                                                   (4) The Administrator will calculate                 NOX emissions determined under                            (vi) If the sum of the unrounded
                                                the initial unrounded default allocations               paragraph (b)(3)(iv) of this section, the              default allocations determined under
                                                for each CSAPR NOX Ozone Season                         Administrator will recalculate the                     paragraphs (b)(6)(iii) and (iv) of this
                                                Group 3 unit according to the procedure                 unrounded default allocations as                       section equals the total amount of
                                                in paragraph (b)(5) of this section and                 follows:                                               allowances determined for the State and
                                                will recalculate the unrounded default                     (i) The Administrator will calculate                control period under paragraph (b)(1) of
                                                allocations according to the procedures                 the additional pool of allowances to be                this section, the Administrator will
                                                in paragraph (b)(6) or (7) of this section,             allocated as the remainder of the total                determine the rounded default
                                                as applicable, iterating the                            amount of allowances determined for                    allocations according to the procedures
                                                recalculations as necessary until the                   the State and control period under                     in paragraphs (b)(8) and (9) of this
                                                total of the unrounded default                          paragraph (b)(1) of this section minus                 section.
                                                allocations to all eligible units equals                the sum of the unrounded default                          (7) If the unrounded default allocation
                                                the amount of allowances determined                     allocations from the previous round of                 determined in the previous round of the
                                                for the State under paragraph (b)(1) of                 the calculation procedure for all units                calculation procedure for every CSAPR
                                                this section.                                           determined under paragraph (b)(2) of                   NOX Ozone Season Group 3 unit equals
                                                   (5) The Administrator will calculate                 this section to be eligible to receive a               the unit’s maximum total NOX
                                                the initial unrounded default allocations               default allocation.                                    emissions determined under paragraph
                                                to CSAPR NOX Ozone Season Group 3                          (ii) The Administrator will calculate               (b)(3)(iv) of this section, the
                                                units as follows:                                       the sum, for all units whose unrounded                 Administrator will recalculate the
                                                   (i) The Administrator will calculate                 default allocations determined in the                  unrounded default allocations as
                                                the sum, for all units determined under                 previous round of the calculation                      follows:
                                                paragraph (b)(2) of this section to be                  procedure were less than the respective                   (i) The Administrator will calculate
                                                eligible to receive a default allocation, of            units’ maximum total NOX emissions                     the additional pool of allowances to be
                                                the units’ average heat input determined                determined under paragraph (b)(3)(iv) of               allocated as the remainder of the total
                                                under paragraph (b)(3)(ii) of this section.             this section, of the units’ average heat               amount of allowances determined for
                                                   (ii) For each unit determined under                  input determined under paragraph                       the State and control period under
                                                paragraph (b)(2) of this section to be                  (b)(3)(ii) of this section.                            paragraph (b)(1) of this section minus
                                                eligible to receive a default allocation,                  (iii) For each unit whose unrounded                 the sum of the unrounded default
                                                the Administrator will calculate the                    default allocation determined in the                   allocations from the previous round for
                                                unit’s unrounded default allocation as                  previous round of the calculation was                  all units determined under paragraph
                                                the lesser of:                                          less than the unit’s maximum total NOX                 (b)(2) of this section to be eligible to
                                                   (A) The product of the total amount                  emissions determined under paragraph                   receive a default allocation.
                                                of allowances determined for the State                  (b)(3)(iv) of this section, the                           (ii) The Administrator will recalculate
                                                and control period under paragraph                      Administrator will recalculate the unit’s              the unrounded default allocation for
                                                (b)(1) of this section multiplied by a                  unrounded default allocation, before                   each eligible unit as the sum of:
                                                fraction whose numerator is the unit’s                  rounding, as the lesser of:                               (A) The unit’s unrounded default
                                                average heat input determined under                        (A) The sum of the unit’s unrounded                 allocation as determined in the previous
                                                paragraph (b)(3)(ii) of this section and                default allocation determined in the                   round of the calculation procedure; plus
                                                whose denominator is the sum                            previous round of the calculation                         (B) The product of the additional pool
                                                determined under paragraph (b)(5)(i) of                 procedure plus the product of the                      of allowances determined under
                                                this section; and                                       additional pool of allowances                          paragraph (b)(7)(i) of this section
                                                   (B) The unit’s maximum total NOX                     determined under paragraph (b)(6)(i) of                multiplied by a fraction whose
                                                emissions determined under paragraph                    this section multiplied by a fraction                  numerator is the unit’s average heat
                                                (b)(3)(iv) of this section.                             whose numerator is the unit’s average                  input determined under paragraph
                                                   (iii) If the sum of the unrounded                    heat input determined under paragraph                  (b)(3)(ii) of this section and whose
                                                default allocations determined under                    (b)(3)(ii) of this section and whose                   denominator is the sum determined
                                                paragraph (b)(5)(ii) of this section is less            denominator is the sum determined                      under paragraph (b)(5)(i) of this section.
                                                than the total amount of allowances                     under paragraph (b)(6)(ii) of this section;               (8) The Administrator will round the
                                                determined for the State and control                    and                                                    default allocation for each eligible unit
                                                period under paragraph (b)(1) of this                      (B) The unit’s maximum total NOX                    determined under paragraph (b)(5), (6),
                                                section, the Administrator will follow                  emissions determined under paragraph                   or (7) of this section to the nearest
                                                the procedures in paragraph (b)(6) or (7)               (b)(3)(iv) of this section.                            allowance and make any adjustments
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                                                of this section, as applicable.                            (iv) Except as provided in paragraph                required under paragraph (b)(9) of this
                                                   (iv) If the sum of the unrounded                     (b)(6)(iii) of this section, a unit’s                  section.
                                                default allocations determined under                    unrounded default allocation shall                        (9) If the sum of the default
                                                paragraph (b)(5)(ii) of this section equals             equal the amount determined in the                     allocations after rounding under
                                                the total amount of allowances                          previous round of the calculation                      paragraph (b)(8) of this section does not
                                                determined for the State and control                    procedure.                                             equal the total amount of allowances
                                                period under paragraph (b)(1) of this                      (v) If the sum of the unrounded                     determined for the State and control
                                                section, the Administrator will                         default allocations determined under                   period under paragraph (b)(1) of this


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                                                section, the Administrator will adjust                     (c) Incorrect allocations of CSAPR                  the deduction under paragraph (c)(3) of
                                                the default allocations as follows. The                 NOX Ozone Season Group 3 allowances                    this section occurs after May 1, 2024
                                                Administrator will list the CSAPR NOX                   to existing units. (1) For each control                and on or before May 1 of the year
                                                Ozone Season Group 3 units in                           period in 2021 and thereafter, if the                  following the year of the control period
                                                descending order based on such units’                   Administrator determines that CSAPR                    for which the CSAPR NOX Ozone
                                                allocation amounts under paragraph                      NOX Ozone Season Group 3 allowances                    Season Group 3 allowances were
                                                (b)(8) of this section and, in cases of                 were allocated for the control period to               allocated, the Administrator will
                                                equal allocation amounts, in                            a recipient covered by the provisions of               transfer the CSAPR NOX Ozone Season
                                                alphabetical order of the relevant                      paragraph (c)(1)(i), (ii), or (iii) of this            Group 3 allowances to the new unit set-
                                                sources’ names and numerical order of                   section, then the Administrator will                   aside for such control period for the
                                                the relevant units’ identification                      notify the designated representative of                State from whose NOX Ozone Season
                                                numbers, and will adjust each unit’s                    the recipient and will act in accordance               Group 3 trading budget the CSAPR NOX
                                                allocation amount upward or downward                    with the procedures set forth in                       Ozone Season Group 3 allowances were
                                                by one CSAPR NOX Ozone Season                           paragraphs (c)(2) through (5) of this                  allocated.
                                                Group 3 allowance (but not below zero)                  section:                                                  (iii) If the non-recordation decision
                                                in the order in which the units are                        (i) The recipient is not actually a                 under paragraph (c)(2) of this section or
                                                listed, and will repeat this adjustment                 CSAPR NOX Ozone Season Group 3 unit                    the deduction under paragraph (c)(3) of
                                                process as necessary, until the total of                under § 97.1004 as of the first day of the             this section occurs after May 1, 2024
                                                the adjusted default allocations equals                 control period and is allocated CSAPR                  and after May 1 of the year following the
                                                the total amount of allowances                          NOX Ozone Season Group 3 allowances                    year of the control period for which the
                                                determined for the State and control                    for such control period under paragraph                CSAPR NOX Ozone Season Group 3
                                                period under paragraph (b)(1) of this                   (a)(1) or (2) of this section;                         allowances were allocated, the
                                                section.                                                   (ii) The recipient is not actually a                Administrator will transfer the CSAPR
                                                   (10)(i) By March 1, 2024 and March 1                 CSAPR NOX Ozone Season Group 3 unit                    NOX Ozone Season Group 3 allowances
                                                of each year thereafter, the                            under § 97.1004 as of the first day of the             to a surrender account.
                                                Administrator will calculate the default                control period and is allocated CSAPR                  ■ 75. Amend § 97.1012 by:
                                                allocation of CSAPR NOX Ozone Season                    NOX Ozone Season Group 3 allowances                    ■ a. Revising paragraphs (a)
                                                Group 3 allowances to each CSAPR NOX                    for such control period under a                        introductory text and (a)(1)(i) and (ii);
                                                Ozone Season Group 3 unit in a State                    provision of a SIP revision approved                   ■ b. Removing paragraphs (a)(1)(iii) and
                                                and Indian country within the borders                   under § 52.38(b)(10), (11), or (12) of this            (iv);
                                                of the State, in accordance with                        chapter that the SIP revision provides                 ■ c. Revising paragraphs (a)(2) and
                                                paragraphs (b)(1) through (9) of this                   should be allocated only to recipients                 (a)(3)(i);
                                                section and §§ 97.1006(b)(2) and                        that are CSAPR NOX Ozone Season                        ■ d. In paragraph (a)(3)(ii), adding
                                                97.1030 through 97.1035, for the control                Group 3 units as of the first day of such              ‘‘and’’ after the semicolon;
                                                period in the year after the year of the                control period; or                                     ■ e. Revising paragraph (a)(3)(iii);
                                                applicable calculation deadline under                      (iii) The recipient is not located as of            ■ f. Removing paragraph (a)(3)(iv);
                                                this paragraph and will promulgate a                    the first day of the control period in the             ■ g. Revising paragraphs (a)(5) and (10):
                                                notice of data availability of the results              State (and Indian country within the                   ■ h. In paragraph (a)(11), removing
                                                of the calculations.                                    borders of the State) from whose NOX                   ‘‘§ 97.1011(b)(1)(i), (ii), and (v), of’’ and
                                                   (ii) For each notice of data availability                                                                   adding in its place ‘‘paragraph (a)(13) of
                                                                                                        Ozone Season Group 3 trading budget
                                                required in paragraph (b)(10)(i) of this                                                                       this section, of’’;
                                                                                                        the CSAPR NOX Ozone Season Group 3
                                                section, the Administrator will provide                                                                        ■ i. Adding paragraph (a)(13);
                                                an opportunity for submission of                        allowances allocated under paragraph
                                                                                                                                                               ■ j. Revising paragraphs (b) introductory
                                                objections to the calculations referenced               (a)(1) or (2) of this section, or under a
                                                                                                        provision of a SIP revision approved                   text and (b)(1) and (2);
                                                in such notice. Objections shall be                                                                            ■ k. In paragraph (b)(5), removing
                                                submitted by the deadline specified in                  under § 52.38(b)(10), (11), or (12) of this
                                                                                                        chapter, were allocated for such control               ‘‘Indian country within the borders of
                                                such notice of data availability and shall                                                                     the State’’ and adding in its place ‘‘areas
                                                be limited to addressing whether the                    period.
                                                                                                                                                               of Indian country within the borders of
                                                calculations (including the                             *       *     *     *     *                            the State not subject to the State’s SIP
                                                identification of the CSAPR NOX Ozone                      (5) With regard to any CSAPR NOX                    authority’’;
                                                Season Group 3 units) are in accordance                 Ozone Season Group 3 allowances that                   ■ l. Revising paragraph (b)(10);
                                                with the provisions referenced in                       are not recorded, or that are deducted as              ■ m. In paragraph (b)(11), removing
                                                paragraph (b)(10)(i) of this section.                   an incorrect allocation, in accordance                 ‘‘§ 97.1011(b)(2)(i), (ii), and (v), of’’ and
                                                   (iii) The Administrator will adjust the              with paragraphs (c)(2) and (3) of this                 adding in its place ‘‘paragraph (b)(13) of
                                                calculations to the extent necessary to                 section:                                               this section, of’’; and
                                                ensure that they are in accordance with                    (i) If the non-recordation decision                 ■ n. Adding paragraphs (b)(13) and (c).
                                                the provisions referenced in paragraph                  under paragraph (c)(2) of this section or                 The revisions and additions read as
                                                (b)(10)(i) of this section. By May 1                    the deduction under paragraph (c)(3) of                follows:
                                                immediately after the promulgation of                   this section occurs on or before May 1,
                                                each notice of data availability required               2024, the Administrator will transfer the              § 97.1012 CSAPR NOX Ozone Season
                                                in paragraph (b)(10)(i) of this section,                CSAPR NOX Ozone Season Group 3                         Group 3 allowance allocations to new units.
                                                the Administrator will promulgate a                     allowances to the new unit set-aside for                 (a) Allocations from new unit set-
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                                                notice of data availability of the results              2021, 2022, or 2023 for the State from                 asides. For each control period in 2021
                                                of the calculations incorporating any                   whose NOX Ozone Season Group 3                         and thereafter for a State listed in
                                                adjustments that the Administrator                      trading budget the CSAPR NOX Ozone                     § 52.38(b)(2)(iii)(A) of this chapter, or
                                                determines to be necessary and the                      Season Group 3 allowances were                         2023 and thereafter for a State listed in
                                                reasons for accepting or rejecting any                  allocated.                                             § 52.38(b)(2)(iii)(B) or (C) of this chapter,
                                                objections submitted in accordance with                    (ii) If the non-recordation decision                and for the CSAPR NOX Ozone Season
                                                paragraph (b)(10)(ii) of this section.                  under paragraph (c)(2) of this section or              Group 3 units in each State and areas of


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                                                Indian country within the borders of the                section in the State and Indian country                by the unit’s allocation under
                                                State (except, for the control periods in               within the borders of the State (except,               § 97.1011(a)(1) or (2) or a provision of a
                                                2021 and 2022, areas of Indian country                  for the control periods in 2021 and                    SIP revision approved under
                                                within the borders of the State not                     2022, areas of Indian country within the               § 52.38(b)(10), (11), or (12) of this
                                                subject to the State’s SIP authority), the              borders of the State not subject to the                chapter for such control period, divided
                                                Administrator will allocate CSAPR NOX                   State’s SIP authority) for such control                by the remainder of the amount of tons
                                                Ozone Season Group 3 allowances to                      period.                                                in the applicable State NOX Ozone
                                                the CSAPR NOX Ozone Season Group 3                      *       *     *     *    *                             Season Group 3 trading budget minus
                                                units as follows:                                          (10)(i) For a control period in 2021 or             the amount of tons in such new unit set-
                                                   (1) * * *                                            2022, if, after completion of the                      aside for the State for such control
                                                   (i) CSAPR NOX Ozone Season Group                     procedures under paragraphs (a)(2)                     period, and rounded to the nearest
                                                3 units that are not allocated an amount                through (7) and (12) of this section for               allowance.
                                                of CSAPR NOX Ozone Season Group 3                       a control period, any unallocated                      *       *    *      *    *
                                                allowances for such control period in                   CSAPR NOX Ozone Season Group 3                            (13)(i) By March 1, 2022 and March 1
                                                the applicable notice of data availability              allowances remain in the new unit set-                 of each year thereafter, the
                                                referenced in § 97.1011(a)(1) or (2) and                aside for the State for such control                   Administrator will calculate the CSAPR
                                                that have deadlines for certification of                period, the Administrator will allocate                NOX Ozone Season Group 3 allowance
                                                monitoring systems under § 97.1030(b)                   to each CSAPR NOX Ozone Season                         allocation to each CSAPR NOX Ozone
                                                not later than September 30 of the year                 Group 3 unit that is in the State and                  Season Group 3 unit in a State and
                                                of the control period; or                               areas of Indian country within the                     Indian country within the borders of the
                                                   (ii) CSAPR NOX Ozone Season Group                    borders of the State subject to the State’s            State (except, for the control periods in
                                                3 units whose allocation of an amount                   SIP authority and is allocated an                      2021 and 2022, areas of Indian country
                                                of CSAPR NOX Ozone Season Group 3                       amount of CSAPR NOX Ozone Season                       within the State not subject to the
                                                allowances for such control period in                   Group 3 allowances for the control                     State’s SIP authority), in accordance
                                                the applicable notice of data availability              period in the applicable notice of data                with paragraphs (a)(2) through (7), (10),
                                                referenced in § 97.1011(a)(1) or (2) is                 availability referenced in § 97.1011(a)(1)             and (12) of this section and
                                                covered by § 97.1011(c)(2) or (3).                      an amount of CSAPR NOX Ozone                           §§ 97.1006(b)(2) and 97.1030 through
                                                   (2) The Administrator will establish a               Season Group 3 allowances equal to the                 97.1035, for the control period in the
                                                separate new unit set-aside for the State               following: The total amount of such                    year before the year of the applicable
                                                for each such control period. Each such                 remaining unallocated CSAPR NOX                        calculation deadline under this
                                                new unit set-aside will be allocated                    Ozone Season Group 3 allowances in                     paragraph and will promulgate a notice
                                                CSAPR NOX Ozone Season Group 3                          such new unit set-aside, multiplied by                 of data availability of the results of the
                                                allowances in an amount equal to the                    the unit’s allocation under                            calculations.
                                                applicable amount of tons of NOX                        § 97.1011(a)(1) for such control period,                  (ii) For each notice of data availability
                                                emissions as set forth in § 97.1010(b)                  divided by the remainder of the amount                 required in paragraph (a)(13)(i) of this
                                                and will be allocated additional CSAPR                  of tons in the applicable State NOX                    section, the Administrator will provide
                                                NOX Ozone Season Group 3 allowances                     Ozone Season Group 3 trading budget                    an opportunity for submission of
                                                (if any) in accordance with                             minus the sum of the amounts of tons                   objections to the calculations referenced
                                                § 97.1011(c)(5) and paragraphs (b)(10)                  in such new unit set-aside and the                     in such notice. Objections shall be
                                                and (c)(5) of this section.                             Indian country new unit set-aside for                  submitted by the deadline specified in
                                                   (3) * * *                                            the State for such control period, and                 such notice and shall be limited to
                                                   (i) The control period in 2021, for a                rounded to the nearest allowance.                      addressing whether the calculations
                                                State listed in § 52.38(b)(2)(iii)(A) of this              (ii) For a control period in 2023 or                (including the identification of the
                                                chapter, or the control period in 2023,                 thereafter, if, after completion of the                CSAPR NOX Ozone Season Group 3
                                                for a State listed in § 52.38(b)(2)(iii)(B)             procedures under paragraphs (a)(2)                     units) are in accordance with the
                                                or (C) of this chapter;                                 through (7) and (12) of this section for               provisions referenced in paragraph
                                                *       *     *     *     *                             a control period, any unallocated                      (a)(13)(i) of this section.
                                                   (iii) For a unit described in paragraph              CSAPR NOX Ozone Season Group 3                            (iii) The Administrator will adjust the
                                                (a)(1)(ii) of this section, the first control           allowances remain in the new unit set-                 calculations to the extent necessary to
                                                period in which the CSAPR NOX Ozone                     aside for the State for such control                   ensure that they are in accordance with
                                                Season Group 3 unit operates in the                     period, the Administrator will allocate                the provisions referenced in paragraph
                                                State and Indian country within the                     to each CSAPR NOX Ozone Season                         (a)(13)(i) of this section. By May 1
                                                borders of the State (except, for the                   Group 3 unit that is in the State and                  immediately after the promulgation of
                                                control periods in 2021 and 2022, areas                 Indian country within the borders of the               each notice of data availability required
                                                of Indian country within the borders of                 State and is allocated an amount of                    in paragraph (a)(13)(i) of this section,
                                                the State not subject to the State’s SIP                CSAPR NOX Ozone Season Group 3                         the Administrator will promulgate a
                                                authority) after operating in another                   allowances for the control period by the               notice of data availability of the results
                                                jurisdiction and for which the unit is                  Administrator in the applicable notice                 of the calculations incorporating any
                                                not already allocated one or more                       of data availability referenced in                     adjustments that the Administrator
                                                CSAPR NOX Ozone Season Group 3                          § 97.1011(a)(1) or (2), or under a                     determines to be necessary and the
                                                allowances.                                             provision of a SIP revision approved                   reasons for accepting or rejecting any
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                                                *       *     *     *     *                             under § 52.38(b)(10), (11), or (12) of this            objections submitted in accordance with
                                                   (5) The Administrator will calculate                 chapter, an amount of CSAPR NOX                        paragraph (a)(13)(ii) of this section.
                                                the sum of the allocation amounts of                    Ozone Season Group 3 allowances equal                     (b) Allocations from Indian country
                                                CSAPR NOX Ozone Season Group 3                          to the following: The total amount of                  new unit set-asides. For the control
                                                allowances determined for all such                      such remaining unallocated CSAPR                       periods in 2021 and 2022, for a State
                                                CSAPR NOX Ozone Season Group 3                          NOX Ozone Season Group 3 allowances                    listed in § 52.38(b)(2)(iii)(A) of this
                                                units under paragraph (a)(4)(i) of this                 in such new unit set-aside, multiplied                 chapter, and for the CSAPR NOX Ozone


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                                                Season Group 3 units in areas of Indian                 in such notice. Objections shall be                    NOX Ozone Season Group 3 allowances
                                                country within the borders of each such                 submitted by the deadline specified in                 in such account for completion of the
                                                State not subject to the State’s SIP                    such notice and shall be limited to                    deduction.
                                                authority, the Administrator will                       addressing whether the calculations                       (4) If the Administrator already
                                                allocate CSAPR NOX Ozone Season                         (including the identification of the                   recorded such CSAPR NOX Ozone
                                                Group 3 allowances to the CSAPR NOX                     CSAPR NOX Ozone Season Group 3                         Season Group 3 allowances under
                                                Ozone Season Group 3 units as follows:                  units) are in accordance with the                      § 97.1021 and if the Administrator
                                                   (1) The CSAPR NOX Ozone Season                       provisions referenced in paragraph                     makes the determination under
                                                Group 3 allowances will be allocated to                 (b)(13)(i) of this section.                            paragraph (c)(1) of this section after
                                                CSAPR NOX Ozone Season Group 3                             (iii) The Administrator will adjust the             making deductions for the source that
                                                units that are not allocated an amount                  calculations to the extent necessary to                includes such recipient under
                                                of CSAPR NOX Ozone Season Group 3                       ensure that they are in accordance with                § 97.1024(b) for such control period,
                                                allowances for such control period in                   the provisions referenced in paragraph                 then the Administrator will not make
                                                the applicable notice of data availability              (b)(13)(i) of this section. By May 1                   any deduction to take account of such
                                                issued under § 97.1011(a)(1) and that                   immediately after the promulgation of                  already recorded CSAPR NOX Ozone
                                                have deadlines for certification of                     each notice of data availability required              Season Group 3 allowances.
                                                monitoring systems under § 97.1030(b)                   in paragraph (b)(13)(i) of this section,                  (5) With regard to any CSAPR NOX
                                                not later than September 30 of the year                 the Administrator will promulgate a                    Ozone Season Group 3 allowances that
                                                of the control period, except as provided               notice of data availability of the results             are not recorded, or that are deducted as
                                                in paragraph (b)(10) of this section.                   of the calculations incorporating any                  an incorrect allocation, in accordance
                                                   (2) The Administrator will establish a               adjustments that the Administrator                     with paragraphs (c)(2) and (3) of this
                                                separate Indian country new unit set-                   determines to be necessary and the                     section:
                                                aside for the State for each such control               reasons for accepting or rejecting any                    (i) If the non-recordation decision
                                                period. Each such Indian country new                    objections submitted in accordance with                under paragraph (c)(2) of this section or
                                                unit set-aside will be allocated CSAPR                  paragraph (b)(13)(ii) of this section.                 the deduction under paragraph (c)(3) of
                                                NOX Ozone Season Group 3 allowances                        (c) Incorrect allocations of CSAPR                  this section occurs on or before May 1,
                                                in an amount equal to the applicable                    NOX Ozone Season Group 3 allowances
                                                                                                                                                               2023, the Administrator will transfer the
                                                amount of tons of NOX emissions as set                  to new units. (1) For each control period
                                                                                                                                                               CSAPR NOX Ozone Season Group 3
                                                forth in § 97.1010(c) and will be                       in 2021 and thereafter, if the
                                                                                                                                                               allowances to the new unit set-aside, in
                                                allocated additional CSAPR NOX Ozone                    Administrator determines that CSAPR
                                                                                                                                                               the case of allowances allocated under
                                                Season Group 3 allowances (if any) in                   NOX Ozone Season Group 3 allowances
                                                                                                                                                               paragraph (a) of this section, or the
                                                accordance with paragraph (c)(5) of this                were allocated for the control period
                                                                                                                                                               Indian country new unit set-aside, in
                                                section.                                                under paragraphs (a)(2) through (7) and
                                                                                                                                                               the case of allowances allocated under
                                                                                                        (12) of this section or paragraphs (b)(2)
                                                *       *     *     *   *                                                                                      paragraph (b) of this section, for the
                                                                                                        through (7) and (12) of this section to a
                                                   (10) If, after completion of the                                                                            control period in 2021 or 2022 for the
                                                                                                        recipient that is not actually a CSAPR
                                                procedures under paragraphs (b)(2)                      NOX Ozone Season Group 3 unit under                    State from whose NOX Ozone Season
                                                through (7) and (12) of this section for                § 97.1004 as of the first day of such                  Group 3 trading budget the CSAPR NOX
                                                a control period, any unallocated                       control period, then the Administrator                 Ozone Season Group 3 allowances were
                                                CSAPR NOX Ozone Season Group 3                          will notify the designated representative              allocated.
                                                allowances remain in the Indian country                 of the recipient and will act in                          (ii) If the non-recordation decision
                                                new unit set-aside for the State for such               accordance with the procedures set                     under paragraph (c)(2) of this section or
                                                control period, the Administrator will                  forth in paragraphs (c)(2) through (5) of              the deduction under paragraph (c)(3) of
                                                transfer such unallocated CSAPR NOX                     this section.                                          this section occurs after May 1, 2023
                                                Ozone Season Group 3 allowances to                         (2) Except as provided in paragraph                 and on or before May 1, 2024, the
                                                the new unit set-aside for the State for                (c)(3) or (4) of this section, the                     Administrator will transfer the CSAPR
                                                such control period.                                    Administrator will not record such                     NOX Ozone Season Group 3 allowances
                                                *       *     *     *   *                               CSAPR NOX Ozone Season Group 3                         to the new unit set-aside for the control
                                                   (13)(i) By March 1, 2022 and March 1,                allowances under § 97.1021.                            period in 2023 for the State from whose
                                                2023, the Administrator will calculate                     (3) If the Administrator already                    NOX Ozone Season Group 3 trading
                                                the CSAPR NOX Ozone Season Group 3                      recorded such CSAPR NOX Ozone                          budget the CSAPR NOX Ozone Season
                                                allowance allocation to each CSAPR                      Season Group 3 allowances under                        Group 3 allowances were allocated.
                                                NOX Ozone Season Group 3 unit in                        § 97.1021 and if the Administrator                        (iii) If the non-recordation decision
                                                areas of Indian country within the                      makes the determination under                          under paragraph (c)(2) of this section or
                                                borders of a State not subject to the                   paragraph (c)(1) of this section before                the deduction under paragraph (c)(3) of
                                                State’s SIP authority, in accordance with               making deductions for the source that                  this section occurs after May 1, 2024,
                                                paragraphs (b)(2) through (7), (10), and                includes such recipient under                          the Administrator will transfer the
                                                (12) of this section and §§ 97.1006(b)(2)               § 97.1024(b) for such control period,                  CSAPR NOX Ozone Season Group 3
                                                and 97.1030 through 97.1035, for the                    then the Administrator will deduct from                allowances to a surrender account.
                                                control period in the year before the                   the account in which such CSAPR NOX                    ■ 76. Amend § 97.1021 by:
                                                year of the applicable calculation                      Ozone Season Group 3 allowances were                   ■ a. In paragraph (a), removing
                                                                                                        recorded an amount of CSAPR NOX                        ‘‘§ 97.1011(a)’’ and adding in its place
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                                                deadline under this paragraph and will
                                                promulgate a notice of data availability                Ozone Season Group 3 allowances                        ‘‘§ 97.1011(a)(1)’’;
                                                of the results of the calculations.                     allocated for the same or a prior control              ■ b. Revising paragraph (b);
                                                   (ii) For each notice of data availability            period equal to the amount of such                     ■ c. Removing and reserving paragraph
                                                required in paragraph (b)(13)(i) of this                already recorded CSAPR NOX Ozone                       (c);
                                                section, the Administrator will provide                 Season Group 3 allowances. The                         ■ d. Revising paragraph (d);
                                                an opportunity for submission of                        authorized account representative shall                ■ e. Adding paragraph (e);
                                                objections to the calculations referenced               ensure that there are sufficient CSAPR                 ■ f. Revising paragraphs (f) and (g);



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                                                ■ g. In paragraph (h), removing ‘‘May 1                 Group 3 source’s compliance account                    CSAPR NOX Ozone Season Group 3
                                                of each year thereafter, the’’ and adding               the CSAPR NOX Ozone Season Group 3                     units at the source in accordance with
                                                in its place ‘‘May 1, 2023, the’’;                      allowances allocated to the CSAPR NOX                  § 97.1011(a)(2) for the control period in
                                                ■ h. Adding paragraphs (i) and (j); and                 Ozone Season Group 3 units at the                      the year after the year of the applicable
                                                ■ i. In paragraph (m), adding ‘‘or (e)’’                source as provided in such approved,                   recordation deadline under this
                                                after ‘‘§ 97.811(d)’’ each time it appears.             complete SIP revision for the control                  paragraph.
                                                   The revisions and addition read as                   period in 2024.                                        *      *      *     *     *
                                                follows:                                                   (3) If the State submits to the                     ■ 77. Amend § 97.1024 by:
                                                § 97.1021 Recordation of CSAPR NOX                      Administrator by September 1, 2023 and                 ■ a. Revising the section heading;
                                                Ozone Season Group 3 allowance                          the Administrator does not approve by
                                                                                                                                                               ■ b. In paragraphs (a) introductory text
                                                allocations and auction results.                        March 1, 2024 such complete SIP
                                                                                                                                                               and (b) introductory text, adding
                                                *      *      *     *   *                               revision, the Administrator will record
                                                                                                                                                               ‘‘primary’’ before ‘‘emissions
                                                   (b) By July 29, 2021, the                            by March 1, 2024 in each CSAPR NOX
                                                                                                                                                               limitation’’;
                                                Administrator will record in each                       Ozone Season Group 3 source’s
                                                                                                                                                               ■ c. Revising paragraph (b)(1);
                                                CSAPR NOX Ozone Season Group 3                          compliance account the CSAPR NOX
                                                                                                        Ozone Season Group 3 allowances                        ■ d. Adding paragraph (b)(3); and
                                                source’s compliance account the CSAPR
                                                                                                        allocated to the CSAPR NOX Ozone                       ■ e. In paragraph (c)(2)(ii), adding ‘‘or
                                                NOX Ozone Season Group 3 allowances
                                                                                                        Season Group 3 units at the source in                  (e)’’ after ‘‘§ 97.826(d)’’.
                                                allocated to the CSAPR NOX Ozone
                                                                                                        accordance with § 97.1011(a)(1) for the                   The revisions and addition read as
                                                Season Group 3 units at the source in
                                                                                                        control period in 2024.                                follows:
                                                accordance with § 97.1011(a)(1) for the
                                                control period in 2022.                                    (f) By July 1, 2024 and July 1 of each              § 97.1024 Compliance with CSAPR NOX
                                                                                                        year thereafter, the Administrator will                Ozone Season Group 3 primary emissions
                                                *      *      *     *   *
                                                   (d) By [30 DAYS AFTER EFFECTIVE                      record in each CSAPR NOX Ozone                         limitation.
                                                DATE OF FINAL RULE], the                                Season Group 3 source’s compliance                     *       *    *     *     *
                                                Administrator will record in each                       account the CSAPR NOX Ozone Season
                                                                                                                                                                  (b) * * *
                                                CSAPR NOX Ozone Season Group 3                          Group 3 allowances allocated to the
                                                                                                        CSAPR NOX Ozone Season Group 3                            (1) Until the amount of CSAPR NOX
                                                source’s compliance account the CSAPR                                                                          Ozone Season Group 3 allowances
                                                NOX Ozone Season Group 3 allowances                     units at the source, or in each
                                                                                                        appropriate Allowance Management                       deducted equals the sum of:
                                                allocated to the CSAPR NOX Ozone                                                                                  (i) The number of tons of total NOX
                                                Season Group 3 units at the source in                   System account the CSAPR NOX Ozone
                                                                                                        Season Group 3 allowances auctioned to                 emissions from all CSAPR NOX Ozone
                                                accordance with § 97.1011(a)(1) for the                                                                        Season Group 3 units at the source for
                                                control period in 2023.                                 CSAPR NOX Ozone Season Group 3
                                                                                                        units, in accordance with                              such control period; plus
                                                   (e) By [30 DAYS AFTER EFFECTIVE                                                                                (ii) Two times the sum (converted to
                                                DATE OF FINAL RULE], the                                § 97.1011(a)(1), or with a SIP revision
                                                                                                        approved under § 52.38(b)(11) or (12) of               tons at a conversion factor of 2,000 lb/
                                                Administrator will record in each                                                                              ton and rounded to the nearest ton), for
                                                CSAPR NOX Ozone Season Group 3                          this chapter, for the control period in
                                                                                                        the year after the year of the applicable              all days in the control period and all
                                                source’s compliance account the CSAPR                                                                          CSAPR NOX Ozone Season Group 3
                                                NOX Ozone Season Group 3 allowances                     recordation deadline under this
                                                                                                        paragraph.                                             units at the source to which backstop
                                                allocated to the CSAPR NOX Ozone                                                                               daily NOX emissions rates apply for the
                                                Season Group 3 units at the source in                      (g) By May 1, 2022 and May 1 of each
                                                                                                        year thereafter, the Administrator will                control period under paragraph (b)(3) of
                                                accordance with § 97.1011(a)(1) for the                                                                        this section, of any amount by which a
                                                control period in 2024, unless the State                record in each CSAPR NOX Ozone
                                                                                                        Season Group 3 source’s compliance                     unit’s NOX emissions for a given day in
                                                in which the source is located notifies                                                                        pounds exceed the product in pounds of
                                                the Administrator in writing by                         account the CSAPR NOX Ozone Season
                                                                                                        Group 3 allowances allocated to the                    the unit’s total heat input in mmBtu for
                                                [EFFECTIVE DATE OF FINAL RULE] of                                                                              that day multiplied by the applicable
                                                the State’s intent to submit to the                     CSAPR NOX Ozone Season Group 3
                                                                                                        units at the source in accordance with                 backstop daily NOX emissions rate in lb/
                                                Administrator a complete SIP revision                                                                          mmBtu; or
                                                by September 1, 2023 meeting the                        § 97.1012(a) for the control period in the
                                                requirements of § 52.38(b)(10)(i) through               year before the year of the applicable                 *       *    *     *     *
                                                (iv) of this chapter.                                   recordation deadline under this                           (3) The applicable backstop daily NOX
                                                   (1) If, by September 1, 2023 the State               paragraph.                                             emissions rates are as follows:
                                                does not submit to the Administrator                    *      *      *     *   *                                (i) For the control periods in 2024 and
                                                such complete SIP revision, the                            (i) By [30 DAYS AFTER EFFECTIVE                     each year thereafter, a backstop daily
                                                Administrator will record by September                  DATE OF FINAL RULE], the                               NOX emissions rate of 0.14 lb/mmBtu
                                                15, 2023 in each CSAPR NOX Ozone                        Administrator will record in each                      shall apply to each CSAPR NOX Ozone
                                                Season Group 3 source’s compliance                      CSAPR NOX Ozone Season Group 3                         Season Group 3 unit combusting any
                                                account the CSAPR NOX Ozone Season                      source’s compliance account the CSAPR                  coal during the control period, serving
                                                Group 3 allowances allocated to the                     NOX Ozone Season Group 3 allowances                    a generator with nameplate capacity of
                                                CSAPR NOX Ozone Season Group 3                          allocated to the CSAPR NOX Ozone                       100 MW or more, and equipped with
                                                units at the source in accordance with                  Season Group 3 units at the source in                  selective catalytic reduction controls,
                                                                                                        accordance with § 97.1011(a)(2) for the                except a circulating fluidized bed boiler.
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                                                § 97.1011(a)(1) for the control period in
                                                2024.                                                   control periods in 2023 and 2024.                         (ii) For the control periods in 2027
                                                   (2) If the State submits to the                         (j) By July 1, 2024 and July 1 of each              and each year thereafter, a backstop
                                                Administrator by September 1, 2023 and                  year thereafter, the Administrator will                daily NOX emissions rate of 0.14 lb/
                                                the Administrator approves by March 1,                  record in each CSAPR NOX Ozone                         mmBtu shall apply to each CSAPR NOX
                                                2024 such complete SIP revision, the                    Season Group 3 source’s compliance                     Ozone Season Group 3 unit combusting
                                                Administrator will record by March 1,                   account the CSAPR NOX Ozone Season                     any coal during the control period and
                                                2024 in each CSAPR NOX Ozone Season                     Group 3 allowances allocated to the                    serving a generator with nameplate


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                                                capacity of 100 MW or more, except a                    emission rate in lb/mmBtu achieved by                  deadline under paragraph (d)(1) of this
                                                circulating fluidized bed boiler.                       the unit in any previous control period                section, calculated as the product,
                                                *      *    *      *    *                               for which the unit was required to                     rounded to the nearest allowance, of
                                                ■ 78. Amend § 97.1025 by revising the                   report NOX emissions and heat input                    0.105 times the sum for all States listed
                                                section heading and adding paragraph                    data for all or portions of at least 367               in § 52.38(b)(2)(iii) of this chapter of the
                                                (c) to read as follows:                                 operating hours under the CSAPR NOX                    State NOX Ozone Season Group 3
                                                                                                        Ozone Season Group 1 Trading                           trading budgets under § 97.1010(a) for
                                                § 97.1025 Compliance with CSAPR NOX                     Program, CSAPR NOX Ozone Season                        such States for such control period.
                                                Ozone Season Group 3 assurance                          Group 2 Trading Program, or CSAPR                         (ii) The total amount of CSAPR NOX
                                                provisions; CSAPR NOX Ozone Season                                                                             Ozone Season Group 3 allowances
                                                Group 3 secondary emissions limitation.
                                                                                                        NOX Ozone Season Group 3 Trading
                                                                                                        Program, where the unit’s seasonal                     issued for control periods in years
                                                *       *    *     *     *                              average NOX emission rate for each such                before the year of the deadline under
                                                   (c) CSAPR NOX Ozone Season Group                                                                            paragraph (d)(1) of this section and held
                                                                                                        previous control period shall be
                                                3 secondary emissions limitation. (1)                   calculated from such reported data as                  in all compliance and general accounts.
                                                The owner or operator of a base CSAPR                   the quotient of the unit’s total NOX                      (3) If the CSAPR NOX Ozone Season
                                                NOX Ozone Season Group 3 unit shall                                                                            Group 3 allowance bank ceiling target
                                                                                                        emissions in tons for the control period
                                                not discharge, or allow to be discharged,               divided by the unit’s total heat input in              determined under paragraph (d)(2)(i) of
                                                emissions of NOX to the atmosphere                      mmBtu for the control period,                          this section is less than the total amount
                                                during a control period in excess of the                multiplied by a conversion factor of                   of CSAPR NOX Ozone Season Group 3
                                                tonnage amount calculated in                            2,000 lb/ton, and rounded to the nearest               allowances determined under paragraph
                                                accordance with paragraph (c)(2) of this                0.0001 lb/mmBtu.                                       (d)(2)(ii) of this section, then for each
                                                section, provided that the emissions                    ■ 79. Amend § 97.1026 by:                              compliance account or general account
                                                limitation established under this                       ■ a. Revising paragraph (b);                           holding CSAPR NOX Ozone Season
                                                paragraph shall apply to a unit for a                   ■ b. In paragraph (c), removing ‘‘State                Group 3 allowances issued for control
                                                control period only if:                                 (or Indian’’ and adding in its place                   periods in years before the year of the
                                                   (i) The unit is included for the control             ‘‘State (and Indian’’; and                             deadline under paragraph (d)(1) of this
                                                period in a group of base CSAPR NOX                     ■ c. Adding paragraph (d).                             section, the Administrator will:
                                                Ozone Season Group 3 units at base                         The revision and addition read as                      (i) Determine the total amount of
                                                CSAPR NOX Ozone Season Group 3                          follows:                                               CSAPR NOX Ozone Season Group 3
                                                sources in a State (and Indian country                                                                         allowances issued for control periods in
                                                within the borders of such State) having                § 97.1026    Banking.                                  years before the year of the deadline
                                                a common designated representative                      *      *     *    *     *                              under paragraph (d)(1) of this section
                                                and the owners and operators of such                       (b) Any CSAPR NOX Ozone Season                      and held in the account.
                                                units and sources are subject to a                      Group 3 allowance that is held in a                       (ii) Determine the account’s share of
                                                requirement for such control period to                  compliance account or a general                        the CSAPR NOX Ozone Season Group 3
                                                hold one or more CSAPR NOX Ozone                        account will remain in such account                    allowance bank ceiling target for the
                                                Season Group 3 allowances under                         unless and until the CSAPR NOX Ozone                   control period, calculated as the
                                                § 97.1006(c)(2)(i) and paragraph (b) of                 Season Group 3 allowance is deducted                   product, rounded up to the nearest
                                                this section with respect to such group;                or transferred under § 97.1011(c),                     allowance, of the CSAPR NOX Ozone
                                                and                                                     § 97.1012(c), § 97.1023, § 97.1024,                    Season Group 3 allowance bank ceiling
                                                   (ii) The unit was required to report                 § 97.1025, § 97.1027, or § 97.1028 or                  target determined under paragraph
                                                NOX emissions and heat input data for                   paragraph (c) or (d) of this section.                  (d)(2)(i) of this section multiplied by a
                                                all or portions of at least 367 operating               *      *     *    *     *                              fraction whose numerator is the total
                                                hours during the control period and all                    (d) Before the allowance transfer                   amount of CSAPR NOX Ozone Season
                                                or portions of at least 367 operating                   deadline for each control period in 2024               Group 3 allowances held in the account
                                                hours during at least one previous                      or a subsequent year, the Administrator                determined under paragraph (d)(3)(i) of
                                                control period under the CSAPR NOX                      will deduct amounts of CSAPR NOX                       this section and whose denominator is
                                                Ozone Season Group 1 Trading                            Ozone Season Group 3 allowances                        the total amount of CSAPR NOX Ozone
                                                Program, CSAPR NOX Ozone Season                         issued for the control periods in                      Season Group 3 allowances held in all
                                                Group 2 Trading Program, or CSAPR                       previous years exceeding the CSAPR                     compliance and general accounts
                                                NOX Ozone Season Group 3 Trading                        NOX Ozone Season Group 3 allowance                     determined under paragraph (d)(2)(ii) of
                                                Program.                                                bank ceiling target for the control period             this section.
                                                   (2) The amount of the emissions                      in accordance with paragraphs (d)(1)                      (iii) Deduct an amount of CSAPR NOX
                                                limitation applicable to a base CSAPR                   through (4) of this section.                           Ozone Season Group 3 allowances
                                                NOX Ozone Season Group 3 unit for a                        (1) As soon as practicable on or after              issued for control periods in years
                                                control period under paragraph (c)(1) of                August 1, 2024 and August 1 of each                    before the year of the deadline under
                                                this section, in tons of NOX, shall be                  subsequent year, the Administrator will                paragraph (d)(1) of this section equal to
                                                calculated as the sum of 50 plus the                    temporarily suspend acceptance of                      any positive remainder of the total
                                                product (converted to tons at a                         CSAPR NOX Ozone Season Group 3                         amount of CSAPR NOX Ozone Season
                                                conversion factor of 2,000 lb/ton and                   allowance transfers submitted under                    Group 3 allowances held in the account
                                                rounded to the nearest ton) of                          § 97.1022 and, before resuming                         determined under paragraph (d)(3)(i) of
                                                                                                                                                               this section minus the account’s share of
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                                                multiplying—                                            acceptance of such transfers, will take
                                                   (i) The total heat input in mmBtu                    the actions in paragraphs (d)(2) through               the CSAPR NOX Ozone Season Group 3
                                                reported for the unit for the control                   (4) of this section.                                   allowance bank ceiling target for the
                                                period in accordance with §§ 97.1030                       (2) The Administrator will determine                control period determined under
                                                through 97.1035; and                                    each of the following values:                          paragraph (d)(3)(ii) of this section. The
                                                   (ii) A NOX emission rate of 0.10 lb/                    (i) The CSAPR NOX Ozone Season                      allowances will be deducted on a first-
                                                mmBtu or, if higher, the product of 1.25                Group 3 allowance bank ceiling target                  in, first-out basis in the order set forth
                                                times the lowest seasonal average NOX                   for the control period in the year of the              in § 97.1024(c)(2)(i) and (ii).


                                           VerDate Sep<11>2014   20:07 Apr 05, 2022   Jkt 256001   PO 00000   Frm 00181   Fmt 4701   Sfmt 4702   E:\FR\FM\06APP2.SGM   06APP2
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                                                   (iv) Record the deductions under                     this section, even where such                          NOX mass emissions data or NOX
                                                paragraph (d)(3)(iii) of this section in                adjustments cause the numbers of                       emissions rate data according to 40 CFR
                                                the account.                                            CSAPR NOX Ozone Season Group 3                         part 75 to address other regulatory
                                                   (4)(i) In computing any amounts of                   allowances remaining in some                           requirements.
                                                CSAPR NOX Ozone Season Group 3                          individual accounts following the                      *     *     *    *     *
                                                allowances to be deducted from general                  deductions to equal zero.                              ■ 81. Amend § 97.1034 by:
                                                accounts under paragraph (d)(3) of this                 ■ 80. Amend § 97.1030 by:
                                                                                                                                                               ■ a. Revising paragraph (d)(2)(i); and
                                                section, the Administrator may group                    ■ a. Revising paragraph (b)(1); and
                                                                                                        ■ b. In paragraph (b)(3), removing                     ■ b. In paragraph (d)(4), removing ‘‘or
                                                multiple general accounts whose
                                                                                                        ‘‘(b)(2)’’ and adding in its place ‘‘(b)(1)            CSAPR SO2 Group 1 Trading Program,
                                                ownership interests are held by the
                                                                                                        or (2)’’.                                              quarterly’’ and adding in its place
                                                same or related persons or entities and
                                                                                                           The revision reads as follows:                      ‘‘CSAPR SO2 Group 1 Trading Program,
                                                treat the group of accounts as a single
                                                                                                                                                               or CSAPR SO2 Group 2 Trading
                                                account for purposes of such                            § 97.1030 General monitoring,                          Program, quarterly’’.
                                                computation.                                            recordkeeping, and reporting requirements.
                                                   (ii) Following a computation for a                                                                             The revision reads as follows:
                                                                                                        *      *    *      *     *
                                                group of general accounts in accordance                   (b) * * *                                            § 97.1034   Recordkeeping and reporting.
                                                with paragraph (d)(4)(i) of this section,                 (1)(i) May 1, 2021, for a unit in a State            *      *    *      *     *
                                                the Administrator will deduct from and                  (and Indian country within the borders                    (d) * * *
                                                record in each individual account in                    of such State) listed in                                  (2) * * *
                                                such group a proportional share of the                  § 52.38(b)(2)(iii)(A) of this chapter;
                                                quantity of CSAPR NOX Ozone Season                                                                                (i)(A) The calendar quarter covering
                                                                                                          (ii) May 1, 2023, for a unit in a State
                                                Group 3 allowances computed for such                                                                           May 1, 2021 through June 30, 2021, for
                                                                                                        (and Indian country within the borders
                                                group, basing such shares on the                                                                               a unit in a State (and Indian country
                                                                                                        of such State) listed in
                                                respective quantities of CSAPR NOX                                                                             within the borders of such State) listed
                                                                                                        § 52.38(b)(2)(iii)(B) of this chapter;
                                                Ozone Season Group 3 allowances                           (iii) [EFFECTIVE DATE OF FINAL                       in § 52.38(b)(2)(iii)(A) of this chapter;
                                                determined for such individual                          RULE], for a unit in a State (and Indian                  (B) The calendar quarter covering May
                                                accounts under paragraph (d)(3)(i) of                   country within the borders of such                     1, 2023 through June 30, 2023, for a unit
                                                this section.                                           State) listed in § 52.38(b)(2)(iii)(C) of              in a State (and Indian country within
                                                   (iii) In determining the proportional                this chapter, where the unit is required               the borders of such State) listed in
                                                shares under paragraph (d)(4)(ii) of this               to report NOX mass emissions data or                   § 52.38(b)(2)(iii)(B) of this chapter; or
                                                section, the Administrator may employ                   NOX emissions rate data according to 40                   (C) The calendar quarter covering
                                                any reasonable adjustment methodology                   CFR part 75 to address other regulatory                [EFFECTIVE DATE OF FINAL RULE]
                                                to truncate or round each such share up                 requirements; or                                       through June 30, 2023, for a unit in a
                                                or down to a whole number and to                          (iv) [180 DAYS AFTER EFFECTIVE                       State (and Indian country within the
                                                cause the total of such whole numbers                   DATE OF FINAL RULE] for a unit in a                    borders of such State) listed in
                                                to equal the amount of CSAPR NOX                        State (and Indian country within the                   § 52.38(b)(2)(iii)(C) of this chapter;
                                                Ozone Season Group 3 allowances                         borders of such State) listed in                       *      *    *      *     *
                                                computed for such group of accounts in                  § 52.38(b)(2)(iii)(C) of this chapter,                 [FR Doc. 2022–04551 Filed 3–30–22; 4:15 pm]
                                                accordance with paragraph (d)(4)(i) of                  where the unit is not required to report               BILLING CODE 6560–50–P
lotter on DSK11XQN23PROD with PROPOSALS2




                                           VerDate Sep<11>2014   20:07 Apr 05, 2022   Jkt 256001   PO 00000   Frm 00182   Fmt 4701   Sfmt 9990   E:\FR\FM\06APP2.SGM   06APP2
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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                     Exhibit D

   United States Steel Corporation Comments on Proposed Federal Implementation
                Plan, EPA-HQ-OAR-2021-0668-0798 (June 21, 2022)
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                UNITED STATES STEEL CORPORTATION
                                COMMENTS ON


             PROPOSED FEDERAL IMPLEMENTATION PLAN
           ADDRESSING REGIONAL OZONE TRANSPORT FOR
                           THE 2015 8-HOUR NAAQS.


                     Docket ID No. EPA-HQ-OAR-2021-0668


                     87 Federal Register 20,036 (April 6, 2022)




                                  JUNE 21, 2022
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  Exhibits
  Exhibit A:
  Woodard and Curran Technical Support Document
  Exhibit B:
  Black and Veatch report
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  Barr
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  USS FIP Comment Extension




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  June 21, 2022


  ATTN:             Docket ID No. EPA-HQ-OAR-2021-0668
  Administrator Michael Regan
  C/O EPA Docket Center (EPA/DC)
  Docket ID No. EPA-HQ-OAR-2021-0668
  U.S. Environmental Protection Agency


  Submitted via Federal eRulemaking Portal (Regulations.gov)
  RE: Comments of United States Steel Corporation (“U. S. Steel”) on the “Federal
  Implementation Plan Addressing Regional Ozone Transport for the 2015 Primary Ozone
  National Ambient Air Quality Standard,” Docket No. EPA-HQ-OAR-2021-0668, 87 Fed.
  Reg. 20,036 (April 6, 2022) (“Proposed Rule”).


  Dear Administrator Regan,
          United States Steel Corporation (“U. S. Steel”) on behalf of the company and all our
  subsidiaries 1 and affiliates appreciates the opportunity to submit the following comments to the
  United States Environmental Protection Agency (“EPA”) regarding the proposed “Federal
  Implementation Plan Addressing Regional Ozone Transport for the 2015 Primary Ozone National
  Ambient Air Quality Standard” Docket No. EPA-HQ-OAR-2021-0668. Federal Register 87 Fed.
  Reg. 20,036 (April 6, 2022) (“Proposed Rule”). The Proposed Rule creates Ozone NOx Standards
  related to the Clean Air Act Good Neighbor provisions. The comment period for the Notice closes
  on June 21, 2022. U.S. Steel provides the following general and specific comments below related
  to the Proposed Rule.



  1
   Big River Steel, LLC (BRS) and Exploratory Ventures, LLC (EV) are both wholly owned subsidiaries of U. S. Steel.
  BRS is an operating scrap to steel products facility in Osceola, Arkansas and EV is a scrap to steel products facility
  under construction in Osceola, Arkansas. These are only two of the U. S. Steel subsidiaries and facilities and these
  comments apply to all subsidiaries and locations however some comments may directly reference these locations.


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                                                    INTRODUCTION
          The Proposed Rule’s treatment of non-EGUs, including the iron and steel industry, sharply
  departs from EPA practice and court interpretations of the Good Neighbor provision of the Clean
  Air Act (CAA). As more fully detailed herein, EPA treats EGUs and non-EGU sources (including
  the iron and steel industry) in fundamentally different ways, many of which directly conflict with
  past EPA determinations and court decisions without reasonable explanations for departure,
  including but not limited to:
               •   Setting statewide budget limits for EGUs, while instead subjecting iron and steel
                   units to unit specific command and control limits without any evaluation of how
                   the proposed limits relate to the amount of statewide reductions needed to eliminate
                   a state’s alleged substantial contribution;
               •   Allowing emissions trading for EGUs, but not for non-EGUs;
               •   Accounting for feasibility in evaluating applicability of EGU provisions to types of
                   EGUs (e.g., waste incinerators) and which States to subject to the EGU provisions
                   (e.g., California), but not performing any feasibility analysis, much less facility or
                   unit specific feasibility analysis, for the iron and steel industry (indeed, ignoring all
                   prior determinations, including recent determinations that post combustion
                   controls2 are not feasible for EAFs and other emission units the Proposed Rule
                   would cover in the iron and steel industry);
               •   Modeling impacts and cost effectiveness of controls for EGUs as a single industry,
                   but grouping all other covered industries together as “non-EGUs” for a single cost
                   effectiveness analysis, without evaluating what level of controls would be cost
                   effective for each of the separate industries the Proposed Rule would cover;
               •   Modeling the effect of multiple cost thresholds for EGUs as an industry ($1,600,
                   $1,800, and $11,000) to evaluate whether lower cost thresholds could achieve
                   sufficient reductions, but only modeling a single cost threshold ($7,500) for all non-
                   EGUs without any consideration of whether a lower cost threshold for some or all
                   such industries could still result in sufficient emission reductions to satisfy Good
                   Neighbor requirements.
          When determining what non-EGUs to regulate under the Proposed Rule, EPA also did not
  correctly follow the “4-step interstate transport framework” used by EPA in prior rulemakings and
  approved by the Supreme Court. Under that approach, EPA, after identifying nonattainment and
  maintenance receptors (step 1), and screening out any state not significantly contributing to any
  linked receptor (step 2), was then supposed to “(3) for states linked to downwind air quality

  2
   The term “post-combustion controls” is used herein only for convenience and consistency with the way in which
  EPA describes emission controls such as SCR in the Proposed Rule. As described in more detail herein, some of the
  furnaces covered by the Proposed Rule, most notably an EAF, is not a combustion process, such that any
  downstream emission controls on an EAF would not technically be “post-combustion.”


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  problems, identify [] upwind emissions that significantly contribute to downwind nonattainment
  or interfere with downwind maintenance of the NAAQS; and (4) for states that are found to have
  emissions that significantly contribute to nonattainment or interfere with maintenance of the
  NAAQS in downwind areas, implement[] the necessary emissions reductions through enforceable
  measures.” But the EPA did not follow this approach in the Proposed Rule. Rather than evaluate
  the upwind emissions that actually contribute to each screened-in state’s linked nonattainment or
  maintenance receptors, EPA instead just (1) identified industries nationwide that contributed
  relatively more than other industries, and (2) automatically mandated limits directly on all such
  industries in each screened-in state, skipping any finding that the industries (let alone specific
  sources) evaluated on a nationwide basis actually contributed to nonattainment or interfered in
  maintenance at the linked receptors for each particular state.
          The resulting Proposed Rule imposes limits on NOx emissions that EPA’s own analysis
  acknowledges have never been demonstrated in the iron and steel industry and cannot be met by
  any technology currently available for use in the iron and steel industry. Many of the technologies
  proposed by EPA to control NOx (e.g., SCR, SNCR) are not technically feasible for the emission
  units included under the Proposed Rule. And even if technology used in wholly dissimilar
  industrial processes (e.g. coal-fired power plants and boilers) were able to be implemented, the
  costs would be significantly higher than the thresholds EPA relied upon for screening out available
  control technologies. EPA also assumes that low NOx burners are an available technology for
  certain emission units to reduce NOx emissions, completely ignoring the fact that many of these
  units already incorporate low NOx burner technology. Associated production downtimes also
  would have severe economic consequences for the industry. Furthermore, it is without question
  that efforts to adapt these technologies to the iron and steel industry would increase emissions of
  other pollutants and require re-engineering and modifications to not only the steel making process,
  but also existing air pollution control equipment. Simply put, the addition of ancillary equipment
  to address flue gas characteristics and the batch nature of the steelmaking process, among other
  challenges, would necessarily drive up costs and have both upstream and downstream impacts that
  would not have been accounted for in the original equipment design specifications.
          The Proposed Rule also makes assumptions regarding equipment availability and
  constructability that cannot be reconciled with present and future supply chain considerations and
  threatens to hamstring the economy and national security with extended downtime or closures and
  resultant shortages of domestic iron and steel supply.
          To justify all the above, the Proposed Rule relies on arbitrary modeling using result-
  oriented assumptions containing significant errors and omissions, incorrect interpretations of the
  CAA and legal precedents addressing pollution transport. In short, the Proposed Rule attempts to
  go well beyond EPA’s authority under the CAA. In so doing EPA risks legal challenges to any
  final rule in the same form as the Proposed Rule that will restrict EPA’s discretion in future
  rulemakings. And because the Supreme Court allows as applied challenges to rulemakings
  effectuating the Good Neighbor clause of the CAA, EPA’s decision to make the Proposed Rule
  apply on a unit specific basis directly to facilities means that EPA will open the door to as-applied


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  challenges as every covered facility will have the ability to challenge the applicability of the
  Proposed Rule’s limits as applied to that facility, likely jettisoning the uniformity that EPA
  purports to seek in the Proposed Rule and stringing out any rulemaking in constant challenges.
                       GENERAL COMMENTS PERTAINING TO THE PROPOSED RULE
  I.         The Proposed Rule’s Attempt to Impose Unit Specific Emission Limits Is Unlawful,
             Arbitrary, and Not Supported By the Record.
             A.       EPA Has Identified No Legal Basis for Imposing Emission Unit Specific Limits
                      on Any of the Individual Non-EGU Emission Units the Proposed Rule Purports
                      to Regulate.
         The provision of the CAA on which EPA bases this entire regulatory undertaking (a/k/a
  the “Good Neighbor provision” to the CAA) only grants authority to:
             “prohibit[ ] . . . any source or other type of emissions activity within the State from
             emitting any air pollutant in amounts which will . . . contribute significantly to
             nonattainment in, or interfere with maintenance by, any other State with respect to
             any such national primary or secondary ambient air quality standard” 3
  Thus, when enacting a FIP to satisfy this provision, EPA only has authority to regulate a “source”
  or “type of emissions activity” if EPA demonstrates that the specific “source” or “type of emissions
  activity” it proposes to subject to such regulation is actually contributing significantly to
  nonattainment or interference with maintenance status in a state other than that in which the
  “source” or “type of emissions activity” is located.
           This is the first time EPA has attempted to impose facility-specific emission limits under a
  “one-size fits all” Federal Implementation Plan based upon the Good Neighbor provision of the
  CAA. Accordingly, for EPA to have authority to do so under the Good Neighbor provision, EPA
  must demonstrate that the “source” EPA is prohibiting from emitting above the Proposed Rule’s
  NOx limits is contributing significantly to downwind nonattainment or contributing significantly
  to downwind maintenance issues. But EPA fails to provide any basis for finding any U. S. Steel
  facility to contribute significantly to any nonattainment or interference with maintenance.
          First, EPA does not define any threshold to evaluate whether a given source’s contribution
  constitutes a significant contribution to downwind linked receptors for purposes of the Good
  Neighbor provision. 4 Instead, EPA sweeps in states based on a statewide significance threshold of
  0.7ppb, identifies industries that on a nationwide basis contribute to downwind nonattainment or




  3
      42 U.S. Code § 7410(a)(2)(D)(i)(I).
  4
    As discussed in more detail in another comment below, EPA has in fact established a facility specific significance
  threshold of 1ppb (i.e., the Ozone SIL) based on an actual statistical analysis of what contribution is capable of
  showing any modeled effect beyond mere background variation, but the Proposed Rule at no point acknowledges this
  threshold or prior statistical analysis.


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  maintenance receptors using a 0.01ppb significance threshold 5, then skips to applying the
  Proposed Rule’s limits to all facilities in all such industries in all covered states without any
  evaluation of the statutory mandate to consider whether the specific covered “source or other type
  of emissions activity” will “contribute significantly to nonattainment.” Failure to even set a
  threshold to evaluate source-level contribution significance constitutes a failure to attempt the
  evaluation required under the statute if EPA wishes to set source-specific emission limits.
          Second, the Proposed Rule neglects to perform any source-specific impact analysis to
  evaluate the impact (or lack thereof) that the specific sources EPA proposes to subject to NOx
  limits have on any of the identified nonattainment and maintenance receptors. And this failure is
  not for lack of capacity. The CAMx model EPA relied on for evaluating nonattainment and
  maintenance receptors has the capability to tag source-level and/or industry-level contributions.
  As EPA notes, CAMx “employs enhanced source apportionment techniques that track the
  formation and transport of ozone from specific emissions sources and calculates the contribution
  of sources and precursors to ozone for individual receptor locations.” 6 But the Proposed Rule
  acknowledges that EPA ignored facility level impacts on downwind-state ozone concentrations,
  and instead, when using CAMx, only “performed nationwide, state level ozone source
  apportionment modeling.” 7 This failure to evaluate the significance of source specific impacts
  means that EPA has failed to demonstrate that U. S. Steel facilities it proposes to regulate are in
  fact linked to any nonattainment or maintenance receptor so as to permit emission reductions
  under the Good Neighbor provision of the CAA.
         To be sure, EPA has not always evaluated source specific impacts on downwind receptors
  in other states in its prior rulemakings, but that is because those prior rulemakings were
  fundamentally different than the Proposed Rule. For instance, under the ozone transport rule
  evaluated by the Supreme Court in EPA v. EME Homer City Generation, L.P. 572 U.S. 489 (2014),
  EPA did not attempt to impose source specific controls or emission limits, but instead created an
  annual emission “budget” for each state that EPA concluded was contributing significantly to
  downwind nonattainment and maintenance issues, and then set up an interstate emission trading
  system within such state allowing covered sources to allocate the emissions and any needed
  reductions among themselves through purchase and sale of allowances. 8 Under a regulatory
  program set up in that manner, it may have been rational to impose an aggregated statewide
  emission limit for NOx from EGUs based on similarities in the sources and a finding at the same
  5
   See e.g., Proposed Rule at 20,083 n. 164 (screening the significance of industry contributions using either 0.1ppb at
  at least one nonattainment or maintenance receptor, or 0.01ppb at at least ten such receptors, but nowhere setting a
  facility specific significance screening threshold).
  6
      Proposed rule at 20,070.
  7
      Proposed rule at 20,070.
  8
    See 76 Fed. Reg. 48,208; see also EPA, “Fact Sheet: The Cross-State Air Pollution Rule: Reducing the Interstate
  Transport of Fine Particulate Matter and Ozone” available at https://www.epa.gov/sites/default/files/2016-
  09/documents/csaprfactsheet.pdf (“The final Cross-State Air Pollution Rule allows sources to trade emissions
  allowances with other sources within the same program (e.g., ozone season NOX) in the same or different states, while
  firmly constraining any emissions shifting that may occur by requiring a strict emission ceiling in each state”).


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  level of generality that a state’s statewide emissions in the aggregate significantly contributed to
  downwind nonattainment, and that EGUs were the primary driver (i.e., treating statewide EGU
  emissions as the “emissions activity” which EPA could “prohibit . . . amounts which will . . .
  contribute significantly to nonattainment”).
          Instead, EPA proposes for the first time to use the Good Neighbor provision to impose
  command-and-control limits at the individual facility level without any justification that the
  facility (or even the industrial section in the state that it is part of) contributes significantly to
  downstream nonattainment or maintenance issues. It is one thing for EPA to tell a state that its
  contribution to nonattainment/maintenance problems in another state is a certain level and then
  allow a state or the sources therein to allocate reductions needed among themselves to achieve the
  statewide reductions needed; it is quite another thing to impose specific emission limits directly
  on a state’s sources without any further source level analysis. If EPA wishes to treat individual
  emission units as the granular level of “source or other emissions activity” from which to “prohibit
  . . . amounts which will . . . contribute significantly to nonattainment,” it must necessarily show
  that such units “contribute significantly to nonattainment.” And EPA has not attempted to do so
  with respect to any of the non-EGU emission units in the Proposed Rule, let alone for the emission
  units at U. S. Steel facilities.
             B.      The Analyses Included in the Record Cannot Support the Source-Specific and
                     State-Specific Impact Findings Required by the Clean Air Act.
         EPA has not adequately demonstrated that the individual or category of sources it proposes
  to regulate under the proposed FIP cause or interfere with ozone attainment or maintenance in
  downwind states, but instead uses grossly inaccurate assumptions in its analysis and modeling
  rendering the entire FIP fatally flawed.
           The 4-step framework as applied in the Proposed Rule identifies no sources or emissions
  activities in one state that significantly contribute to downwind air quality problems in another
  state (as the Good Neighbor provision of the CAA requires). Even for states that are contributing
  to nonattainment or interfering with maintenance, EPA has established no data to support which
  non-EGU emission sources within the state are “potentially controllable,” would “have the greatest
  ppb impact on downwind air quality” or be “make meaningful air quality improvements at the
  downwind receptors at a marginal cost threshold” as EPA’s own interpretation of the Clean Air
  Act dictates. 9 Without this information, EPA’s FIP is arbitrary and capricious. State Farm, 463
  U.S. at 43 (an agency rule is arbitrary and capricious if the agency has “entirely failed to consider
  an important aspect of the problem, offered an explanation for its decision that runs counter to the
  evidence before the agency, or is so implausible that it could not be ascribed to a difference in
  view or the product of agency expertise”).
         Clean Air Act § 110(a)(2)(D) requires SIPs to contain adequate provisions to prevent “any
  source or other type of emissions activity within the State” that contribute significantly to NAAQS


  9
      Screening Assessment at 2.


                                                   12
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  nonattainment in another state or interference with maintenance. There has been no attempt to
  gather or model the source-specific data needed to determine what sources, if any, should be
  subject to regulation to address interstate transport of NOx. For the Proposed Rule, EPA has
  conducted a Non-EGU “Screening Assessment” 10 to identify costs and controls, but EPA itself
  acknowledges that this screening assessment “is not intended to be, nor take the place of, a unit-
  specific detailed engineering analysis that fully evaluates the feasibility of retrofits for the
  emissions units, potential controls, and related costs.” 11
          EPA has never used such modeling and estimation to impose unit-level emission limits.
  While EPA points to the screening assessment is used in CSAPR, and which was affirmed by the
  Supreme Court in EPA v. EME Homer City Generation, LP, 572 U.S. 489 (2014), there EPA was
  allocating state-level emission budgets and was based on “complex modeling to establish the
  combined effect the upwind reductions projected at each cost threshold would have on air quality
  in downwind States.” Id. at 1596.
          The record lacks the data needed to impose source-specific emission limits, and EPA has
  made no effort to develop similar source-specific modeling for non-EGUs. To the contrary, EPA’s
  assessment, while starting with state-specific modeling to identify “linked” states, then proceeds
  to ignore any state-specific distinctions in evaluating the emission sources that should be subject
  to regulation. Specifically, after EPA identified “linkages” from a state to a downwind receptor
  based on as little as a 1% modeled impact on the design value, the Screening Assessment identifies
  industries that, without regard to those same state linkages, had over an arbitrarily set threshold of
  either 0.1 ppb impact on a single receptor or as low as a 0.01 ppb impact on at least 10 receptors. 12
  The Proposed Rule then, without any technical or legal basis, assumes that, for those industries,
  every source within the same industry code has a significant contribution or interferes with
  maintenance and thus is subject to regulation.
          Compounding this generalization, the Proposed Rule then assumes that the same controls
  and the same efficiency, can be achieved at all of these sources, using the same technology, and at
  the same cost, with no consideration of the size, age, past performance, or any other individual
  data from any single facility or emission unit.
          While EPA could support industry-wide modeling of EGUs as a sufficient basis to impose
  state NOx budgets in EME Homer, the Proposed Rule’s attempt to impose source- and emission
  unit-specific emission limits based on nothing more than generalized assumptions of what various
  industries that happen to be located in at least one “linked” state is untethered from any attempt to
  reduce significant contribution to nonattainment or interference with maintenance of the NAAQS
  and is patently insufficient. EPA cannot impose source and unit-specific emission requirements
  without first confirming that it screening assumption hold up when applied to the actual states,
  sources, and emission units that will be subject to regulation. Otherwise, EPA has “entirely failed
  10
       Proposed Rule Non-EGU Screening Assessment.
  11
       Non-EGU Screening Assessment at 7.
  12
       Id.


                                                     13
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  to consider an important aspect of the problem” and “offered an explanation for its decision that
  runs counter to the evidence before the agency.” State Farm, 463 U.S. at 43.
          C.       EPA’s Sweeping Pollution Control Generalizations and Assumptions are
                   Unproven and Inaccurate and Cannot Support the Proposed Rule’ Emission
                   Limits.
          EPA cannot shift its burden to the states and affected sources to prove that its strategy is
  technologically and/or economically infeasible for each unique source that EPA proposes to
  regulate by the FIP. Rather, it is EPA’s duty to provide “the factual data on which the proposed
  rule is based” and “the methodology used in obtaining the data and in analyzing the data.” 42
  U.S.C. § 7607(d)(3).
          EPA’s record for the Proposed Rule does not support the emissions controls or limits in
  the Proposed Rule, and in many cases, it contradicts the conclusions in the Proposed Rule. For
  example, while the Proposed Rule states that the “types of emissions control technologies on which
  the EPA proposes to base the emissions limitations that would take effect for the 2026 ozone
  season … generally are intended to be consistent with the scope and stringency of RACT
  requirements for existing major sources of NOX” 87 Fed. Reg. at 20,101-102, the emission limits
  EPA proposes for the iron and steel industry assume, without support that emissions reductions of
  25% to 50% can be achieved beyond recently-determined emission limits, including Ohio RACT
  limits for blast furnaces and reheat furnaces. Id. at 20,145, Table VII.C-3. Other limits are based
  on achieving similar reductions beyond recently established Best Available Control Technology
  (“BACT”) determinations. See id.1314 The Proposed Rule not only leaves unanswered why
  emissions are capable of being reduced 40% from a BACT determination made last year, but also
  how such a limit can be imposed not only on new sources, but on existing sources as well. When
  the results of EPA’s generalized assumptions are emissions limits that radically depart from EPA’s
  own purported basis for establishing them, the adequacy of EPA’s data and rationale for the
  Proposed Rule must be called into question.
          EPA’s proposed emission limits are also based on unsupported assumptions that pollution
  controls that have never been demonstrated in the iron and steel industry are feasible and
  effective—so effective that they will now result in substantial (40%-50%) reductions in emissions
  beyond current best-performing sources. As just one example, EPA has assumed that selective
  catalytic reduction (“SCR”) is broadly available to reduce emissions from numerous sources,


   The Proposed Rule’s emission limit for Ladle/tundish Preheaters is based on an assumed 40% reduction from Nucor
  13

  Kankakee’s BACT permit limit, which was issued in 2021. 87 Fed. Reg. 20,145, Table VII.C-3.
  14
    Also, U.S. Steel’s BRS facility underwent PSD review in 2013 and the new EV facility underwent PSD review in
  2021. BACT analyses were submitted with both applications. EPA provided comments on the draft BRS permit in
  2013 but did not comment on the 2021 application. In both instances, the application of SCR, NSCR, and other
  post-combustion controls for EAFs and other units at the facility was eliminated from consideration because the
  technology is not technically feasible. See e.g., BACT Analysis in support of the U.S. Steel’s BRS facility Air
  Permit Application for Permit 2445-AOP-R0, dated Oct. 11, 2021. Other PSD permits issued to EAFs in recent
  years, all subject to review and comment by USEPA, reach similar conclusions.


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  including blast furnaces and basic oxygen furnaces, and coke ovens, to reduce emissions by as
  much as 50% from currently permitted limits, along or in combination with low-NOx burners.
  There is nothing in the record to show that SCR has been installed on any of these emission
  sources, let alone that doing so would result in the emission reductions EPA projects. The only
  reference appears to be a 2017 article from the Arid Zone Journal of Engineering, Technology and
  Environment stating that “[t]he combination of low NOX burner (LNB) and Selective catalytic
  reduction (SCR) is capable of reducing emission for up to 90% and above.” 15 The paper does
  not indicate that this is based on any real-world application, however, and cites only studies of the
  use of SCR for other sources. EPA’s own 2020 assessment for the 2008 Revised CSAPR rule did
  not consider SCR for the primary metals manufacturing industry. 16 As AISI has also already
  explained in comments on CSAPR, low-NOx burners were also recently eliminated as a control
  option for blast furnace stoves fueled primarily by blast furnace gas. 17 Yet EPA proposes to
  achieve 40-50% reductions at blast furnaces using “burner replacement” for these same stoves. 18
         Similarly, for Taconite Kilns, EPA proposes to assume that low-NOx burners will result in
  a reduction of 40% of NOx emissions. 19 There is nothing in the record to support this conclusion.
           It is EPA’s obligation to “examine the relevant data and articulate a satisfactory explanation
  for its action including a ‘rational connection between the facts found and the choice made.’” State
  Farm, 463 U.S. at 43; see also 42 U.S.C. § 7607(d)(3) (the statement of basis and purpose must
  include “the factual data on which the proposed rule is based,” “the methodology used in obtaining
  the data and in analyzing the data,” and “the major legal interpretations and policy considerations
  underlying the proposed rule”). Nonetheless, U. S. Steel has, in the time allowed, identified several
  inaccuracies and improper assumptions in the feasibility and effectiveness of pollution control
  equipment for the iron and steel industries, and has documented those findings in the attached
  reports found in Exhibits A-D.
             D.       EPA Cannot Proceed to a Final Rule on this Record, Because the Proposed Rule
                      Is Based Upon Many Data Errors, Data Gaps, and Incorrect Assumptions, Which
                      Leave the Rule Insufficiently Supported.
          The Proposed Rule is based on a set of vague, nation-wide assumptions about the NOx
  emissions generated by regulated industries, the relative contributions to downwind receptors, the
  emissions controls that are available to reduce NOx, the effectiveness of these controls, and cost
  of installation and operation, and the time required to install and operate them. These broad
  assumptions are generally not to be found in the record. Where U. S. Steel has painstakingly



  15
       EPA-HQ-OAR-2021-0668-0050.
  16
       EPA-HQ-OAR-2020-0272.
  17
       AISI Revised CSAPR Comments at 4.
  18
       87 Fed. Reg. 20,1045, Table VII.C-3.
  19
       87 Fed. Reg. 20,182.


                                                    15
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  sought to reconstruct EPA’s analysis, the results indicate numerous errors and unwarranted
  assumptions.
          U. S. Steel has endeavored to identify as many of these issues as it can in the limited time
  allowed and has documented these findings in the detailed reports prepared by Woodward and
  Curran, Black and Veatch, Trinity Consultants and Barr attached with these comments as Exhibits
  A - D. Prior comments have also identified numerous errors in EPA’s emissions data. As U. S.
  Steel noted in its comments on the SIP denial rule, the emission estimates from other sources,
  including those in Arkansas, Illinois, Indiana, Ohio and Michigan – and in particular, emissions
  from the iron and steel sources in those states, are overstated and are inconsistent with prior state
  submittals. U. S. Steel SIP Comments are attached as Exhibits E & F. The Midwest Ozone Group
  has noted that numerous exceptional events have been improperly factored into the modeling used
  by EPA in the Proposed Rule. 20 Lake Michigan Air Directors Consortium (LADCO) has
  performed a detailed Source Classification Code (“SCC”) based analysis of EPA’s 2016v2
  emissions modeling platform. In doing so, it found EPA’s projected emission rates “are not
  consistent either with real-world emissions trends or regional emissions projection information.” 21
  The State of Minnesota similarly submitted a list of sources that it believes have incorrect future
  year projection rates. 22
          More fundamentally, however, EPA cannot proceed with a rule based upon many errors
  and incorrect assumptions. In order to avoid arbitrary and capricious rulemaking, “the agency
  must examine the relevant data and articulate a satisfactory explanation for its action including a
  ‘rational connection between the facts found and the choice made.’” Motor Vehicle Mfrs. Assn. of
  United States, Inc. v. State Farm Mut. Automobile Ins. Co., 463 U.S. 29, 43 (1983) (quoting
  Burlington Truck Lines, Inc. v. United States, 371 U. S. 156, 168 (1962). An agency action is
  arbitrary and capricious “if the agency has relied on factors which Congress has not intended it to
  consider, entirely failed to consider an important aspect of the problem, offered an explanation for
  its decision that runs counter to the evidence before the agency, or is so implausible that it could
  not be ascribed to a difference in view or the product of agency expertise.” Id. Here, the rationale
  provided by the agency is oftentimes completely unsupported by the record. At other times, it is
  implausible, if not contradicted by the record.
          Even if EPA were to reject the state-specific evaluations contained in the numerous SIPs
  before the agency, a federal implementation plan must be based on an adequate understanding of
  the regulated emission sources, available controls, and their costs and effectiveness. The
  rulemaking procedures at section 307(d) of the CAA specifically require that a proposed
  rulemaking must “include a summary of—(A) the factual data on which the proposed rule is based;
  (B) the methodology used in obtaining the data and in analyzing the data; and (C) the major legal
  interpretations and policy considerations underlying the proposed rule” and “All data, information,

  20
       Midwest Ozone Group SIP Denial Comments at 38-53.
  21
       LADCO Minnesota SIP Denial Comments at 2.
  22
       Id citing LADCO_EPA2016v2_Projections_Comments.xlsx.


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  and documents referred to in this paragraph on which the proposed rule relies shall be included in
  the docket on the date of publication of the proposed rule.” 23 Furthermore, any final “promulgated
  rule may not be based (in part or whole) on any information or data which has not been placed in
  the docket as of the date of such promulgation.” 24 Relatedly, EPA has “an initial burden of
  promulgating and explaining a non-arbitrary, non-capricious rule.” 25 The many errors and
  incorrect assumptions and the many ways explained throughout these comments that the Proposed
  Rule is not grounded in or adequately related to the modeling and data actually in the regulatory
  docket demonstrate that the record is simply insufficient to proceed with a final FIP.
  II.        EPA’s Proposed Control Limits Go Beyond Any Level of Control Imposed by EPA,
             and Conflicts With Prior EPA Determinations.
           EPA makes the assertion that the limits imposed by the Proposed Rule on non-EGUs
  “generally are intended to be consistent with the scope and stringency of RACT.” 26 But this stated
  goal is inconsistent with the approach EPA actually took to setting the limits, and thus in violation
  of EPA’s obligation to promulgate internally consistent rules. 27 In fact, for most (but not all)28
  units, EPA specifically considered RACT limits specified by states, then expressly rejected setting
  levels consistent with RACT, instead going on to propose limits up to a staggering 50% below the
  corresponding RACT limits considered. 29 These resulting proposed limits are also stricter than
  BACT, and inconsistent with recent BACT evaluations, which EPA had opportunity to comment
  on, which have ruled out SCR, NSCR, and other post-EAF NOx controls as not technically feasible
  for EAFs. 30 And the limits are even stricter than LAER, given that EPA can identify no new or
  existing facility nationwide in the industry that has demonstrated these limits in practice, and has
  identified no grounds for concluding that they may be feasible on an EAF. 31

  23
       42 U.S.C. § 6707
  24
       Id.
  25
       National Lime Ass'n v. E. P. A., 627 F.2d 416, 433 (D.C. Cir. 1980)
  26
       Proposed Rule at 20,101-02.
  27
    Hsiao v. Stewart, 527 F. Supp. 3d 1237, 1252 (D. Haw. 2021), quoting Nat’l Parks Conservation Ass’n v. EPA, 788
  F.3d 1134, 1141 (9th Cir. 2015) (“[A]n internally inconsistent analysis is arbitrary and capricious.”).
  28
    Non-EGU Sectors TSD at 42 (considering RACT for blast furnaces, reheat furnaces, ladle preheaters, annealing and
  galvanizing furnaces, but not for EAFs).
  29
    See e.g. Proposed Rule at 20145 identifying Ohio RACT for blast furnaces at 0.06 lb, then setting a proposed limit
  at half that level.
   See e.g., BACT Analysis in support of the U.S. Steel’s BRS facility Air Permit Application for Permit 2445-AOP-
  30

  R0, dated Oct. 11, 2021.
  31
     Notably, although EPA claims to identify an annealing furnace that successfully installed an SCR, EPA does not
  use that facility as a basis for the emission limits proposed for Annealing Furnaces, further calling into question
  whether the limits proposed by EPA are even possible in practice. And even if some type of annealing furnace ever
  installed an SCR, the concept of the application of an SCR on all annealing furnaces could not be justified, for instance
  some of the annealing furnaces at the U. S. Steel’s BRS facility are small units that emit less than 6 tpy and run only
  intermittently such that they are not even stacked and thus neither CEMS not SCR would be possible to connect.


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          Furthermore, although EPA requests comment on the appropriateness of simply requiring
  RACT in states subject to the Proposed Rule, 32 EPA does not claim to have even attempted to
  model whether RACT might be sufficient to bring any given state’s linked downwind receptors
  into attainment. Instead, EPA states that it “focuses on obtaining emissions reductions from non-
  EGU units that were quantitatively determined to have the most significant impacts on air quality
  improvements at the downwind nonattainment and maintenance receptors.” 33
          But critically, as explained in more detail throughout these comments, EPA’s modeling
  used to demonstrate statewide emission reductions necessary to reduce downwind emissions to
  acceptable levels was not based on the limits included in the Proposed Rule. 34 Instead, what EPA
  actually modeled was as follows: “We re-ran CoST with known controls, the CMDB, and the 2019
  emissions inventory. We specified CoST to allow replacing an existing control if a replacement
  control is estimated to be >10 percent more effective than the existing control. We did not replace
  an existing control if the 2019 emissions inventory indicated the presence of that control, even if
  the CMDB reflects a greater control efficiency for that control.” 35 Notably, the output tables for
  this modeling show no reductions required at any EAF, and SCR only being added at certain BOF
  and Blast Furnaces and boilers. 36 Accordingly, to the extent that the modeling EPA actually
  performed shows that Good Neighbor provisions are satisfied with less stringent emission
  reductions, and without any reductions from a single U. S. Steel facility, EPA’s choice to
  nevertheless go further than supported by its modeling and impose the draconian limits more
  stringent than RACT, BACT, or even LAER necessarily constitutes arbitrary and capricious
  overcontrol.
           Finally, and independently, regardless of the rationality of requiring upwind states to meet
  RACT, it is certainly unreasonable, unlawful, and inconsistent with both EPA’s past practice and
  court precedent interpreting the Good Neighbor provision to subject upwind states to emission
  limits that are stricter than the RACT limits imposed in the downwind states. After all, as EPA
  acknowledged when setting out the prior Good Neighbor framework upheld by the Supreme Court
  in EPA v. EME Homer, “Section 110(a)(2)(D)(i)(I) only requires the elimination of emissions that
  significantly contribute to nonattainment or interfere with maintenance of the NAAQS in other
  states; it does not shift to upwind states the responsibility for ensuring that all areas in other states
  attain the NAAQS.” 37 Likewise, the D.C. Circuit’s decision in Wisconsin v. EPA calls for aligning


  32
       Proposed Rule at 20,097.
  33
       Proposed Rule at 20,097.
   See Supra at section titled “EPA’s Modeling Significantly Underestimates Reductions Associated with the Proposed
  34

  Rule”.
  35
       Non-EGU Screening Assessment at 8.
   Non-EGU Screening Assessment at Table 6; see also excel file in regulatory docket titled “Screening Assessment
  36

  Non-EGU Facility and Emission Unit Limits List”.
  37
     “Federal Implementation Plans: Interstate Transport of Fine Particulate Matter and Ozone and Correction of SIP
  Approvals” 76 Fed. Reg. 48,208, 48,210 (August 8, 2011).


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  upwind and downwind requirements to treat them consistently to the degree possible. Accordingly,
  whatever requirements are placed on upwind industry should not be more stringent than those
  applicable to industries subject to RACT due to actually being in a nonattainment area; it would
  be irrational, arbitrary, and capricious, when considering impacts to the same nonattainment or
  maintenance receptor, to force a source far away to enact stricter limits than a source actually in
  or next door to the nonattainment area. 38
  III.       EPA Fails to Demonstrate that the Proposed Rule Avoids Overcontrol Because The
             Proposed Rule Fails to Evaluate Alternative Cost Thresholds for Non-EGUs.
          EPA claims that the Proposed Rule continues to “apply the same approach as the prior
  three CSAPR rulemakings for evaluating ‘significant contribution’ at Step 3” including
  “evaluat[ing] NOX reduction potential, cost, and downwind air quality improvements available at
  various mitigation technology breakpoints (represented by cost thresholds)” and states that this
  approach “was upheld by the U.S. Supreme Court in EPA v. EME Homer City.” 39 EPA is partially
  correct. The approach used by EPA in its prior three CSAPR rulemakings was upheld in EPA v.
  EME Homer City (subject to the ability of petitioners to pursue any as-applied challenges based
  on allegations of overcontrol). But that is not what EPA did in this Proposed Rule.
          EPA’s approach in the Proposed Rule is crucially different from that upheld by the courts
  in the past, because here EPA did not evaluate “NOx reduction potential, cost, and downwind air
  quality improvements available at various mitigation technology breakpoints (represented by cost
  thresholds)” with respect to non-EGUs. Instead, as explained below, EPA selected a cost-
  efficiency threshold for non-EGU controls based solely on total reductions available, instead of
  setting a cost threshold based on the controls strictly necessary to achieve attainment at downwind
  linked receptors. Accordingly, the control level selected for non-EGUs is wholly inconsistent with
  EPA’s prior approach, has no basis in prior precedent, and fails to demonstrate that EPA is
  avoiding overcontrol, particularly since EPA failed to model whether a lower cost threshold for
  non-EGUs sources may also have achieved attainment at downwind receptors.
          In the EME Homer CSAPR litigation, the Supreme Court approved an approach of
  modeling the reductions associated with several different cost thresholds of potential controls, and
  setting the cost threshold (and thus controls) at the lowest level needed to achieve attainment in
  downwind receptors. 40 But here, EPA set a cost threshold for non-EGUs based on the maximum

  38
    Note that the stringency of controls is conceptually distinct from the amount of emissions reductions. If a given level
  of control on whatever industry most contributes to a downwind linked nonattainment or maintenance receptor is
  insufficient to fulfil a state’s Good Neighbor obligation (something EPA has not demonstrated since EPA has not yet
  either modeled the highest industry contributors on a state by state basis, or accurately modeled the level of controls
  proposed in the rule), then the applicability of the controls can be extended to additional sources or industries, rather
  than requiring a specific industry to be more tightly controlled in an upwind state than RACT would require in the
  downwind state.
  39
       Proposed Rule at 20,055.
  40
    EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 500 (2014) (“Under the Transport Rule, EPA employed
  a ‘two-step approach’ to determine when upwind States ‘contribute[d] significantly to nonattainment,’ and therefore
  in ‘amounts’ that had to be eliminated. At step one, called the ‘screening’ analysis, the Agency excluded as de minimis

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  amount of emission reductions potentially achievable (rather than based on the amount needed to
  resolve downwind receptors), and only modeled controls at that cost threshold ($7,500) without
  ANY modeling to see if incrementally lower cost thresholds could also achieve attainment at
  downwind receptors. 41
          Notably, EPA’s use of cost thresholds in the Proposed Rule was radically different for
  EGUs and non-EGUs. The Proposed Rule’s support documents do consider several incremental
  cost thresholds for EGUs in creating modeling scenarios, ranging from $1,600 to $11, 000. But for
  non-EGU’s, EPA instead:
             1. aggregated all proposed industries together, instead of setting industry specific cost
                thresholds like EPA did for EGUs;
             2. selected only a single control scenario for consideration (i.e. all controls up to
                $7,500/ton) rather than the many control levels modeled for EGUs; and
             3. rather than varying the level of controls required to reduce emissions from a set list of
                significant facilities (like the rule does for EGUs), for non-EGUs, the only modeling
                variations run by EPA were changing which units a preordained level of controls would
                be applied to.
          As explained in the Policy Analysis TSD, only the following scenarios were modeled for
  their effect on ppb ozone concentrations at downwind receptors: 42
             •   Engineering Analysis Base
             •   EGU only $1,600 cost threshold (SCR Optimize + Generation Shifting)
             •   EGU only $1,600 cost threshold (SCR Optimize + SOA CC + Generation Shifting)
             •   EGU only $1,800 cost threshold (SCR Optimize + SNCR Optimize + Generation
                 Shifting)




  any upwind State that contributed less than one percent of the three NAAQS to any downwind State ‘receptor,’ a
  location at which EPA measures air quality. . . The remaining States were subjected to a second inquiry, which EPA
  called the ‘control’ analysis. At this stage, the Agency sought to generate a cost-effective allocation of emission
  reductions among those upwind States ‘screened in’ at step one. The control analysis proceeded this way. EPA first
  calculated, for each upwind State, the quantity of emissions the State could eliminate at each of several cost thresholds.
  . . . The Agency then repeated that analysis at ascending cost thresholds. Armed with this information, EPA conducted
  complex modeling to establish the combined effect the upwind reductions projected at each cost threshold would have
  on air quality in downwind States. The Agency then identified ‘significant cost threshold[s],’ points in its model where
  a ‘noticeable change occurred in downwind air quality, such as . . . where large upwind emission reductions become
  available because a certain type of emissions control strategy becomes cost-effective.’ For example, reductions of
  NOX sufficient to resolve or significantly curb downwind air quality problems could be achieved, EPA determined,
  at a cost threshold of $500 per ton (applied uniformly to all regulated upwind States).”) (internal citations omitted).
  41
       Proposed Rule at 20083; see also Non-EGU Screening Assessment at 4.
  42
       See Policy Analysis TSD at 55-57, Tables C-12, C-13, and C-14.


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             •   EGU only $1,800 cost threshold (SCR Optimize + SOA CC + SNCR Optimize +
                 Generation Shifting)
             •   EGU only $11,000 cost threshold (SCR Optimize + SOA CC + SNCR Optimize +
                 SCR/SNCR Retrofit + Generation Shifting)
             •   EGU $11,000 cost threshold plus non-EGU Tier 1 at $7,500 cost threshold (SCR
                 Optimize + SOA CC + SNCR Optimize + SCR/SNCR Retrofit + Generation Shifting
                 + non-EGU Tier 1)
             •   EGU $11,000 cost threshold plus non-EGU Tiers 1&2 at $7,500 cost threshold (SCR
                 Optimize + SOA CC + SNCR Optimize + SCR/SNCR Retrofit + Generation Shifting
                 + non-EGU Tier 1 + Tier 2)
          Accordingly, as noted above, although different cost thresholds were evaluated for EGUs,
  EPA never modeled the effect of different cost thresholds for non-EGUs. Likewise, the “less
  stringent” and “more stringent” scenarios evaluated in the Regulatory Impact Analysis for non-
  EGUs only vary the scope of units evaluated, with the less stringent scenario subjecting fewer
  units to the Proposed Rule, and the more stringent scenario subjecting all Tier 1 and 2 units to the
  Proposed Rule regardless of their size, but all such scenarios assumed the same cost threshold for
  level of controls for all non-EGU regulatory scenarios. 43 Thus EPA has not demonstrated that the
  selected control efficiency of $7,500 per ton for non-EGUs avoids overcontrol, as compared to
  some lesser cost threshold (e.g. reflecting solely combustion controls like low-NOx burners and
  optimizations, without post combustion SCR retrofits), since EPA failed to model the effect of any
  lesser cost thresholds for non-EGUs.
          This failure to model alternate cost scenarios is particularly untenable given that EPA’s
  own cost modeling clearly showed that Tier 1 industries like Iron and Steel manufacturing had a
  “knee in the curve” at $1,000, and not the $7,500 threshold selected by EPA, as discussed below
  in the section regarding cost of controls. 44
         Because EPA failed to model the impact of control scenarios for non-EGUs associated with
  any lower cost threshold, the EPA has failed to demonstrate that the cost threshold chosen
  represents the lowest level of necessary controls that will “only limit emissions ‘by just enough to
  permit an already-attaining State to maintain satisfactory air quality.’” 45




  43
       See Regulatory Impact Analysis at ES-7.
  44
    See non-EGU Screening Analysis at 4, showing different cost-effective thresholds for Tier 1 and Tier 2 industries,
  but then ignoring this clear data and only evaluating the aggregate $7,500 cost threshold.
   EME Homer City Generation, L.P. v. E.P.A., 795 F.3d 118, 137 (D.C. Cir. 2015) (quoting EPA v. EME Homer City
  45

  Generation, L.P., 572 U.S. at 515 n.18).


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  IV.        EPA Fails to Demonstrate that the Proposed Limits and the Theoretical Controls
             They are Based on Are Technically Feasible at the Facility and Unit Specific Level.
            It would be arbitrary and capricious to require something that is not possible. 46 Yet, as
  explained in more detail below, the Proposed Rule would impose limits on iron and steel emission
  units below what have ever been achieved in the industry, based on little more than speculation
  about feasibility of controls that have never been demonstrated in practice in the industry. And in
  any case, EPA must show more than bare possibility to justify the emission limits in the Proposed
  Rule. Congress has made the express determination that “reasonably available control technology”
  (RACT) is the appropriate level of control when addressing even nonattainment areas
  themselves. 47 And it would be arbitrary and inconsistent with the scheme of Title I and intent of
  Congress for sources in upwind states to be subject to limits stricter than the RACT limits
  applicable within nonattainment areas. In interpreting this standard, EPA has consistently found
  that “RACT for a particular source continues to be determined on a case-by-case basis considering
  the technological and economic feasibility of reducing emissions from that source.” 48 In evaluating
  technical feasibility EPA must evaluate, on a facility and emission unit specific basis, “the source's
  process and operating procedures, raw materials, physical plant layout, and any other
  environmental impacts such as water pollution, waste disposal, and energy requirements” “the
  operation of and longevity of control equipment” “the space available in which to implement such
  changes” and “Reducing air emissions may not justify adversely affecting other resources by
  increasing [other types of] pollution” or “creating excessive energy demands.” 49 Accordingly, EPA
  is correct to speak throughout the Proposed Rule about whether the controls proposed are
  “feasible” and “appropriate,” 50 but EPA must do more than talk about appropriateness, EPA must
  demonstrate that the proposed limits are both technically and economically feasible on a facility
  specific basis. This EPA has not done, and the Proposed Rule is unlawful without doing such
  analysis. And in any case, EPA has an independent “duty to examine [and justify] key assumptions
  as part of its affirmative ‘burden of promulgating and explaining a non-arbitrary, non-capricious
  rule. . . .’” 51 and EPA may not “promulgate rules on the basis of inadequate data, or on data that,



  46
     Notably even EPA relies on not being required to achieve the impossible. See Proposed Rule at 20062
  (“implementing good neighbor obligations beyond the dates established for attainment may be justified on a proper
  showing of impossibility or necessity.”).
  47
    42 U.S. Code § 7502; see also State Implementation Plans; General Preamble for the Implementation of Title I of
  the Clean Air Act Amendments of 1990; Supplemental, 57 Fed. Reg. 18,070, 18,073 (April 28, 1992).
  48
    State Implementation Plans; General Preamble for the Implementation of Title I of the Clean Air Act Amendments
  of 1990; Supplemental, 57 Fed. Reg. 18,070, 18,073 (April 28, 1992).
  49
       Id. at 18,073-74.
  50
    E.g., Proposed Rule at 20,043, 20,056, 20,076, 20,080, 20,090 (discussing whether control technologies, measures
  and strategies, compliance flexibility, timing, and cost are “appropriate”); see also id. at 20144, 20147 (discussing
  whether certain limits are “feasible or appropriate”).
  51
       Appalachian Power Co. v. EPA, 328 U.S. App. D.C. 379, 135 F.3d 791, 818 (1998).


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  to a critical degree, is known only to the agency.” 52 And thus EPA’s assumptions regarding
  feasibility in the Proposed Rule must be adequately justified, yet, as explained in more detail in
  later sections herein specific to different types of U.S. Steel’s operations, EPA has not done so.
  V.         EPA’s Cost Analysis is Not Reasonable
           As noted elsewhere in these comments, EPA must consider economic feasibility in setting
  control measures under RACT, the standard Congress has specified as applicable to NAAQS
  nonattainment areas.53 EPA does have some discretion when setting cost effectiveness thresholds
  in rulemaking proceedings. But, “the law does require EPA to ‘cogently explain why it has
  exercised its discretion in a given manner.’” 54 Furthermore, although EPA is entitled to make
  assumptions in its cost analyses, it has a “duty to examine [and justify] key assumptions as part of
  its affirmative ‘burden of promulgating and explaining a non-arbitrary, non-capricious rule. . . .’”55
  EPA may not “promulgate rules on the basis of inadequate data, or on data that, to a critical degree,
  is known only to the agency.” 56 EPA’s approach to cost estimates and cost thresholds in the rule
  violate these principles and/or makes unreasonable assumptions and conclusions in a variety of
  ways as explained below.
             A.       EPA’s Ignores High Variability of SCR Retrofit Costs
           EPA acknowledges that its cost estimates are averages, and not reflective of individual
  facility retrofit costs. 57 But EPA does not address its historic acknowledgment that SCR retrofit
  costs are highly variable on a facility-by-facility basis making it inappropriate to apply an industry
  average cost threshold to all facilities in an industry outside of an emission trading program.
          In prior Good Neighbor rulemakings, when commenters pointed to the high variability in
  cost as a critique of EPA’s consideration of SCR as an available retrofit technology, EPA
  acknowledged high variability of SCR retrofit costs, but replied that such variability was not an
  issue because the emission trading scheme imposed in such prior regulatory regimes “incentivizes
  emission reductions at units where they are cheapest” and allowed for a choice between installing
  the controls, or purchasing emission credits such that reductions need not be done at facilities with
  high retrofit costs. 58 That rationale does not apply here. EPA expressly rejects an emission trading

  52
       Portland Cement Ass’n v. Ruckelshaus, 158 U.S. App. D.C. 308, 486 F.2d 375, 391-93 (1973).
  53
    See State Implementation Plans; General Preamble for the Implementation of Title I of the Clean Air Act
  Amendments of 1990; Supplemental, 57 Fed. Reg. 18,070, 18,073 (April 28, 1992).
  54
    Nat'l Parks Conservation Ass'n v. EPA, 788 F.3d 1134, 1142-43 (9th Cir. 2015) (internal citations omitted) (in
  regional haze context, striking down a BART determination where EPA provided no supporting rationale for why one
  cost level was acceptable, but another was not).
  55
       Appalachian Power Co. v. EPA, 328 U.S. App. D.C. 379, 135 F.3d 791, 818 (1998).
  56
       Portland Cement Ass’n v. Ruckelshaus, 158 U.S. App. D.C. 308, 486 F.2d 375, 391-93 (1973).
  57
       Proposed Rule at 20,090.
  58
     EPA Response to Comments to the Revised Cross-State Air Pollution Rule Update for the 2008 Ozone NAAQS,
  pg. 98.


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  scheme for non-EGUs. Instead, under the command-and-control scheme adopted by EPA in the
  Proposed Rule, all impacted non-EGU emission units, particularly in the iron and steel industry
  subcategory, are essentially required to install SCRs regardless of the site-specific costs. EPA
  cannot continue to rely on an industry average cost to find SCR as categorically cost effective as
  EPA attempts to do in the Proposed Rule.
             B.       Cost Estimates Inaccurately Assume Year-Round NOx Reductions.
           EPA’s cost-per-ton reduction calculations are unreasonably skewed because they assume
  that SCR will be run all year at facilities that install it and calculates expected cost per ton on the
  basis of annual tons of NOx reduced, despite the fact that the NOx emission reductions being
  sought by EPA in the Proposed Rule are only to address ozone season emissions. For instance,
  EPA estimates that selection of SCR in the iron and steel industry may be associated with 948
  ozone season NOx reductions, at an annual cost of $9,886,092. 59 If EPA had calculated the cost
  per ozone season ton of NOx reduced, this would result in an estimate of $10,428 per ton of NOx
  reduced 60 (notably above the cost threshold of $7,500 set by EPA). But EPA instead, without
  justification, lists the average cost per ton as $4,345 61, which would only be the case if the ozone
  season tons were extrapolated to assume continuous annual reductions. 62
          This is erroneous both legally and factually. As a legal matter, EPA only has authority to
  reduce ozone season emissions under the Proposed Rule and thus should limit itself to assessing
  the cost of ozone season reductions. Furthermore, as a factual matter, facilities will not operate
  SCR during the non-ozone season as EPA has acknowledged in the Proposed Rule in “quite
  typical” in the context of EGUs. 63 There are sound technical, economic, and environmental
  reasons for not operating SCR outside the ozone season, particularly due to the O&M cost
  associated with operation of the SCR, and in order to attempt to extend the life of the catalyst given
  the high cost of replacing the catalyst and how quickly the catalyst can be deactivated under the
  process characteristics of iron and steel furnaces such as BOFs and EAFs, as discussed above, if it
  were run continuously. For both independent reasons, costs estimates should instead account for
  the cost per ozone season ton reduced. (which is in many cases higher than the $7,500/ton
  screening threshold set by EPA even using EPA’s own cost estimates).
             C.       Improper Aggregation of Industries in Setting Effective Control Cost Threshold
         EPA’s selection of a $7,500 cost threshold for selecting applicable controls was skewed
  high by grouping all Tier 1 and 2 industries together without justification. As shown in the below



  59
       See Non-EGU Screening Assessment at Table 9.
  60
       $9,886,092 / 948 = $10,428.
  61
       See Non-EGU Screening Assessment at Table 9.
  62
       $9,886,092 / (948 X (12 / 5)) = $4,345.
  63
       Proposed Rule at 20,078 & n.146.


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  figure, EPA’s cost modeling clearly showed that Tier 1 and 2 industries each had a significantly
  different “knee in the curve” (i.e. a significantly different cost effectiveness threshold). 64




          Based on the above chart, Tier 1 industries had a “knee in the curve” at $1,000 per ton, far
  lower than the cost effectiveness threshold of approximately $7,500 for Tier 2 industries.
  Accordingly, because this model showed that cost effectiveness could differ by industry, and
  because EPA conducted industry specific cost modeling for the EGU industry, EPA should have
  estimated industry specific cost effectiveness thresholds. But in any case, it was arbitrary for EPA
  to aggregate these cost curves without any explanation and thus subject all non-EGU industries to
  the $7,500 cost effectiveness threshold despite EPA modeling affirmatively showing that threshold
  was not even remotely accurate for Tier 1 industries.
  VI.        Modeling Problems
          The modeling used in support of the Proposed Rule included many questionable and
  unreasonable assumptions and processes. The sections below summarize many such issues, but
  the attached report from Woodard and Curran includes more detailed and technical critiques of the
  modeling underlying the rule which EPA must consider, and which is hereby incorporated by
  reference.

  64
       Non-EGU Screening Assessment at Figure 1.


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              A.       Low Precision/Accuracy:
          As discussed in more detail in the attached Woodard report, EPA compared the CAMx
  model used by EPA to evaluate state contributions to linked receptors with actual monitoring data
  for each such receptor to evaluate the accuracy and precision of the CAMx model. For example,
  the result showed a standard deviation of 8ppb for modeling at the relevant Brazoria County, Texas
  receptor, 65 and only accounted for 37% of observed variation at the receptor. Although EPA
  claims this is on par with other CAMx models so as to not invalidate use of CAMx for the Proposed
  Rule, the imprecision of the CAMx modeling should be taken into account when EPA sets its
  levels of what contribution amount to consider to be “significant” for purposes of determining the
  applicability of the Proposed Rule. Given that the standard deviation for any CAMx prediction at
  the Brazoria receptor was up to 8pbb, it is not reasonable or rational for EPA to rely on CAMx to
  make finetuned distinctions between industries modeled to have impacts at 0.01ppb (the screening
  level selected by EPA for industry significance), since EPA’s own analysis shows that the model
  is simply not precise enough to statistically differentiate between 0.01ppb, 0.1ppb, and 1ppb.
  Furthermore, EPA’s communications discussed in the attached Woodard report demonstrate that
  EPA was aware of model “noise” due to model outputs being copied and handled over multiple
  operating systems and that numerical noise in model outputs could be present and could contribute
  to variations in modeled concentrations. If that noise was on the order of 0.01 ppb, that would be
  yet another reason that the modeling could not be relied on to differentiate between impacts at that
  level of granularity, and thus that such a level below background “noise” cannot be considered
  significant. Accordingly, EPA should base any determinations of modeled significance at a
  precision no smaller than 1pbb, so as to at least be within the same order of magnitude as the
  model’s standard deviation.
              B.       False Geographic Equivalence:
           EPA modeled percent reductions needed across each state as if reductions in one part of
  the state had the same effect as another, rather than modeling how reductions at particular sources
  affect the NAAQS compliance in downwind states. 66 EPA may have been able to do this under
  past rules which merely set statewide budgets and did not impose emission unit specific emission
  limits applicable on a facility level. But if EPA continues to propose facility and unit specific
  limits, then (as explained in Sections I, IV and XIV regarding EPA authority to issue emission unit
  limits applicable at a facility level) EPA must model whether such facility has an impact sufficient
  to justify regulating them under the Good Neighbor clause, rather than the individual limits
  applicable here. This is particularly true given the fact that CAMx can be used to predict facility
  level impacts, and EPA simply chose to run the model without that available parameter.




  65
       See excel chart labeled “CAMx 2016v2 MDA8 O3 Model Performance Stats by Site”.
  66
       Policy Analysis at 33 n. 41.


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              C.       Disregard of Emission Increases:
          As described in the section herein concerning feasibility of SCR installation, the
  temperature operating range of an SCR does not match the temperature range needed for the safe
  and effective operation of a baghouse, such that even if it were technically feasible to install, it
  would likely require increasing the source’s NOx, VOC, PM, SO2, CO, ammonia and greenhouse
  gases and other pollutants due to the need for additional natural gas and electricity needed to heat,
  cool, or clean up the flue gas to make it amenable to operable SCR temperature ranges and
  tolerances. EPA appears not to have accounted for this emission increase (or at least offset against
  any expected reductions). This in turn will also require analysis of whether increased VOC, PM,
  NOx, CO, ammonia, etc. emissions as a result of installing SCR would have an adverse effect on
  compliance with other NAAQS.
              D.       Ignoring Emission Reductions in Favor of Overcontrol:
          As noted above, the model appears to significantly underpredict emission reductions
  associated with the Proposed Rule, by not even attempting to include all facilities subject to the
  Proposed Rule or attempting to quantify the actual reductions resulting from the emission limits
  in the Proposed Rule. This is important to correct before issuing a final rule because ignoring
  emission reductions resulting from the Proposed Rule would lead to impermissible overcontrol by
  setting limits that reduce emissions by far more than EPA has modeled are necessary to result in
  attainment (especially with respect to the Brazoria County, Texas receptor). Accordingly, if EPA
  intends to proceed with implementing unit specific control emission limitations, EPA must either
  redo the overcontrol analysis using estimated reduction estimates based on the emission limits
  proposed in the Proposed Rule, and/or EPA must make the limits less stringent so as to match the
  statewide emission reductions modeled to not result in downwind attainment without overcontrol.
              E.       Erroneously Assuming Linear Impacts:
          EPA assumed impacts were linear between emission reductions and ppb reductions at
  receptors, even though EPA acknowledged they are not in fact linear. 67 Although EPA attempted
  to account for the nonlinear relationship by applying an adjustment factor that is specific to the
  state and receptor, such adjustment factors do not account for different locations of emission
  sources within a given state and thus do not adequately correct the erroneous assumption of linear
  reductions. This is particularly problematic with respect to the U. S. Steel’s Arkansas facility, since
  it is on the far opposite side of the state from the Brazoria County, Texas receptor, yet EPA’s
  adjustment factors treat any reduction at U. S. Steel’s Arkansas facility the same as NOx sources
  in places like Texarkana and El Dorado which are hundreds of miles closer to the Brazoria
  receptor. Moreover, EPA fails to provide any rationale for why it is accurate or reasonable to
  apply the same adjustment factor for these geographically remote locations to correct EPA’s
  admittedly erroneous assumption regarding linearity of impacts in relation to emission reductions.
  Finally, the HYSPLIT modeling conducted by Woodard & Curran and discussed below in Section


  67
       Policy Analysis at 33 n. 42.


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  XIV. of these comments shows that it is important to differentiate between effect of impacts in
  different portions of the state, because EPA’s assumptions of linearity regardless of location in the
  state is contradicted by the back-trajectories modeled by HYSPLIT, demonstrating that the U. S.
  Steel’s Arkansas facility is not linked to ozone high days at the Brazoria receptor.
             F.     Mismatch Between Modeled Reduction and Proposed Controls:
          EPA’s modeling does not accurately reflect the control efficiencies EPA assumes (and
  requires) in the Proposed Rule. For instance, it appears that EPA performed a modeling run where
  EPA assumed emission reduction of 30% across all covered sources to demonstrate attainment
  status at nonattainment and maintenance receptors, and a model run based on the statewide
  emission reductions EPA expected based on the non-EGU screening assessment. But neither of
  these modeling runs reflect the emission standards that EPA actually proposes. As previously
  noted, the modeling run based on the non-EGU screening assessment significantly undercounted
  emission reductions associated with the Proposed Rule limits. And the modeling run assuming
  across the board reductions of 30% likewise does not match the limits in the Proposed Rule, which
  assume unit specific limits far more stringent than 30% in many cases. For EAFs, for instance,
  “EPA based the emission limit of 0.15 lb/ton of steel on projected reduction efficiency of 40-50%
  as compared to existing permit limits for EAFs”. 68 EPA cannot haphazardly model one set of
  assumptions and then propose something totally different. EPA should conduct modeling that
  actually reflects the rule being proposed.
             G.     Improper Significance Screening Threshold
          It is unreasonable for EPA to depart from its August 2018 memorandum regarding
  determinations of state significant contribution thresholds by now requiring evaluation in light of
  a 0.7 ppb significance threshold rather than the 1 ppb significance threshold approved in the August
  2018 memo.
          In the first place, EPA’s August 2018 memo provided modeling to support the conclusion
  that a 1 ppb threshold is generally comparable to a 1% threshold for the 2015 ozone NAAQS in
  terms of the contributions it would cover, and it is arbitrary for EPA to abandon that conclusion
  without performing any technical analysis to suggest that EPA’s prior conclusion is flawed, or
  even retracting the August 2018 memo.
      Second, 1 ppb is the significant digit for reporting ozone monitoring data under the
  NAAQS.
          Third, the imprecision of EPA’s modeling (as discussed above) demonstrates that a
  significance threshold below 1 ppb simply cannot be justified since the model lacks the capability
  to distinguish impacts below that level.




  68
       Non-EGU Sectors TSD at 43.


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         Finally, EPA has already determined that 1ppb represents the level at which a single facility
  presents a significant impact under the 8 hr Ozone NAAQS in the context of PSD permitting.69 In
  making the determination that 1ppb represents the significant impact level (SIL) for evaluating
  whether a given source may contribute significantly to any attainment issues with the 8 hr Ozone
  NAAQS, EPA engaged in actual statistical analysis to find what “degree of change in
  concentration is, thus, indistinguishable from the inherent variability in the measured atmosphere
  and may be observed even in the absence of the increased emissions from a new or modified
  source” and determined that “changes in air quality within this range [i.e., the relevant SIL] are
  not meaningful, and, thus, do not contribute to a violation of the NAAQS.” 70 By contrast, EPA
  provides no analysis for why the various proposed significance screening levels in the Proposed
  Rule (0.7ppb for an entire state, and 0.01 for an entire industrial sector) represent a significant
  contribution with respect to air quality at downwind receptors. 71
          EPA bases its significance level for statewide emissions on consistency with past CSAPR
  rulemakings. 72 To be sure, such prior rulemakings also used 1% of the relevant NAAQS as a
  screening threshold for screening out states without any significant contribution, and that threshold
  was upheld in 2014 by the Supreme Court in EME Homer. But crucially, the past rulemakings
  EPA points to and the Supreme Court’s decision in EME Homer all pre-date EPA’s 2018
  publication of the Ozone SIL and associated modeling and express finding that any contribution
  under 1ppb is indistinguishable from background variability and thus cannot be characterized as a
  significant contribution. EPA cannot simply ignore its own more recent modeling and
  determinations with respect to the 8hr Ozone NAAQS simply by saying it wishes to be consistent
  with assumptions made before the SIL analysis and determinations were made by EPA. EPA must
  at minimum explain why it is concluding that a level may constitute a significant contribution that
  EPA has previously determined by statistical analysis to not be significant.
          EPA bases its significant contribution threshold for all non-EGU industries on an eyeballed
  review of a figure comparing relative impacts of different industries, and EPA concludes based on
  subjective review that “perhaps 0.05 ppb or 0.01 ppb could serve as breakpoints in the data” but
  ultimately selects 0.01 ppb as “a meaningful conservative breakpoint for screening out non-
  impactful industries.” 73 This analysis is flawed for multiple reasons. First, in selecting 0.01 pbb,
  EPA asked the wrong question, namely, “what are we confident is so de-minimis as to be

  69
     EPA, Guidance on Significant Impact Levels for Ozone and Fine Particles in the Prevention of Significant
  Deterioration   Permitting   Program   (April    17,    2018).   https://www.epa.gov/sites/default/files/2018-
  04/documents/sils_policy_guidance_document_final_signed_4-17-18.pdf.
  70
    EPA, Guidance on Significant Impact Levels for Ozone and Fine Particles in the Prevention of Significant
  Deterioration   Permitting   Program   (April    17,    2018).   https://www.epa.gov/sites/default/files/2018-
  04/documents/sils_policy_guidance_document_final_signed_4-17-18.pdf.
   Compare, 42 U.S. Code § 7410(a)(2)(D)(i)(I), limiting application of the Good Neighbor provision to “amounts
  71

  which will . . . contribute significantly to nonattainment”.
  72
       Proposed Rule at 20,074.
  73
       Non-EGU Screening Assessment at 22-23.


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  justifiably screened out” rather than the question posed by the statute, i.e., “what is significant
  enough to constitute a significant contribution.” Although it is justifiable to screen out any industry
  with impacts below 0.05 or 0.01 pbb impacts to downwind nonattainment and maintenance
  receptors, that does not mean that it is reasonable to automatically assume that anything above that
  level is a significant impact. Even more importantly, EPA’s subjective comparison of industries to
  each other can at most only answer the question “what industries are more significant than other
  industries” and not the statutory question of what “amount” of emissions constitutes a “significant
  contribution” to downwind receptors. Actually, demonstrating what impact constitutes a
  significant contribution instead requires statistical analysis evaluating the variation in the Ozone
  8-hour design value at each monitoring site, to prove that 0.01 ppb is indeed a threshold above
  which out of state NOx emissions could significantly impact Ozone attainment, something EPA
  has not attempted here. In any case, it is arbitrary for EPA to conclude 0.01 ppb from an entire
  industry can constitute a significant contribution to downwind receptors without even addressing
  EPA’s prior statistical analysis concluding that any amount below 1ppb from even an individual
  facility is “not meaningful” and so insignificant as to be “indistinguishable from the inherent
  variability” at downwind receptors and “not contribute to a violation of the NAAQS.”
             H.       Failure to do Any Backtrajectory Modeling or Otherwise Evaluate Consistency
                      and Persistence of Impacts Predicted in CAMx
          The model used by EPA (CAMx) only looks at five to ten elevated ozone days in forming
  its conclusions regarding state contributions to linked predicted nonattainment and maintenance
  receptors. Due to the complexity of the subject matter, it is questionable whether this small sample
  size reasonably reflects consistency of predicted contributions. In any case, because EPA does not
  evaluate consistency and persistence of the impacts found, EPA should have performed some other
  backtrajectory modeling, such as HYSPLIT, to confirm what geographic regions were contributing
  to days predicted to be over the NAAQS. At a minimum this should have been performed for
  Arkansas and Mississippi which were linked to only a single downwind maintenance receptor, to
  evaluate what sources and geographic areas could be contributing to these predicted high-ozone
  days, and whether any impact on the maintenance receptor is truly consistent and persistent enough
  to be classified as a significant contribution. After all, it would not be reasonable to consider an
  inconsistent or transient effect a “significant contribution.” Notably, EPA itself used HYSPLIT in
  this rulemaking to evaluate environmental justice impacts on a facility specific level for EGUs 74
  (though EPA did not use it to evaluate EPA’s authority to regulate individual facilities under the
  Proposed Rule in the first place). EPA has also previously approved the use of HYSPLIT to screen
  out areas in the similar context of regional haze. 75
           Because EPA failed to perform the modeling needed to assess the significance of state and
  facility contributions to downwind receptors in the first instance, and because it bears directly on
  EPA’s authority to regulate facilities and states at all under the Good Neighbor provision, EPA

  74
       Policy Analysis TSD at 67.
  75
       87 Fed. Reg 7734 (Feb 10, 2022).


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  must consider any such CAMx or HYSPLIT modeling whenever it is completed in determining
  applicability of any final rule.
             I.       Elimination of “Well Controlled Sources”
             EPA makes the cryptic observation that it “well-controlled sources that still emit > 100 tpy
  are excluded from consideration” as part of the modeling related to the non-EGU Screening
  Assessment, including compliance costs and the emission reductions required in order to meet
  Good Neighbor obligations. 76 EPA does not explain how a source was determined to be “well
  controlled” enough to be excluded, and in any case, because EPA expressly set the emission limits
  in the Proposed Rule below anything EPA found that any emission unit in the iron and steel
  industry currently achieved. Notwithstanding, any so-called “well controlled” source EPA
  eliminated from analysis must still have been above the Proposed Rule limits. Accordingly, EPA
  must explain why sources were excluded from analysis as “well controlled” despite presumably
  not being well controlled enough to meet the limits EPA now proposes. Although EPA enjoys
  flexibility in how to perform modeling, it has a “duty to examine [and justify] key assumptions as
  part of its affirmative ‘burden of promulgating and explaining a non-arbitrary, non-capricious rule.
  . . .’” 77 and EPA may not “promulgate rules on the basis of inadequate data, or on data that, to a
  critical degree, is known only to the agency.” 78
             J.       Internal Inconsistency Regarding Anticipated Reductions
          The Proposed Rule contains many internal inconsistencies regarding the extent of
  reductions assumed by EPA in performing modeling and setting proposed emission limits. For
  example, just with respect to EAFs, the rule Proposed Rule states that it “[a]ssumes 25% reduction
  by SCR,” whereas the Non-EGU Sectors TSD states that it projects “efficiency of 40-50% as
  compared to existing permit limits for EAFs” and “minimally 40% NOx reduction efficiency is
  achievable by use of low-NOx technology, including potential use of low-NOx burners and
  selective catalytic reduction.” 79 And the Non-EGU Screening Assessment estimated no reductions
  from EAFs. 80 In order to draft a non-arbitrary rule, EPA must make a consistent assumption about
  the emission reductions associated with the Proposed Rule, and actually use that same assumption
  when modeling costs, feasibility, and air quality impacts at downwind receptors.
             K.       Use of AEO Rather Than Current Emission Inventories
         When describing the non-EGU emission inventory development used in the air quality
  modeling to identify nonattainment and maintenance areas and the significance of state
  contributions thereto, the Proposed Rule states that EPA started from the 2016v2 platform, then


  76
       Proposed Rule at 20,083.
  77
       Appalachian Power Co. v. EPA, 328 U.S. App. D.C. 379, 135 F.3d 791, 818 (1998).
  78
       Portland Cement Ass’n v. Ruckelshaus, 158 U.S. App. D.C. 308, 486 F.2d 375, 391-93 (1973).
  79
       Non-EGU Sectors TSD at 43.
  80
       Non-EGU Screening Assessment at Table 6.


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  “The future year non-EGU point inventories were grown from 2016 to the future years using
  factors based on the AEO 2021 . . .” 81 But AEO 2021 does not appear to be an industry emissions
  inventory, but instead only appears to track energy consumption in various industries. 82 It is not
  reasonable to use this approach when EPA had actual emission inventories (such as the 2019 NEI)
  available, particularly for EAFs. Unlike EGUs, whose emissions might be expected to strongly
  correlate to energy consumption at the plant, EAFs NOx emissions are not primarily driven by by
  the combustion of fossil fuels. Thus, EPA should compare actual updated emission inventories
  with the AEO to demonstrate its accuracy and appropriateness as a basis for developing emission
  inventories.
  VII.       The Proposed Rule Runs Afoul of Many Legal Doctrines:
             A.       Major Questions Doctrine:
          Multiple aspects of the Proposed Rule implicate the major questions doctrine which
  provides that agencies cannot unilaterally resolve questions of “vast economic or political
  significance” unless Congress has unambiguously authorized it to do so. 83
         1. The Proposed Rule would mandate generation shifting in the EGU sector in many ways,
            first, EPA sets emission budgets for EGUs based on assuming that generation shifting will
            occur, 84 which is a form of expressly requiring generation shifting, by setting limits too
            low to achieve in the absence of generation shifting. Second, EPA further forces generation
            shifting through the creation of the “backstop daily rate for large coal EGUs”; which would
            only apply to coal fired plants, and not natural gas plants, 85 and are expressly designed to
            make coal fired EGUs, but not natural gas fired EGUs, either “retrofit [with SCR] or
            retire.” 86 This solely targets coal in order to reshape the energy sector to EPA’s preferences,
            in a similar manner to that at issue in the challenges to the Affordable Clean Energy and
            Clean Power Plan rules. The Supreme Court has accepted review of a set of cases
            challenging those rules, arguing that the major questions doctrine prohibits EPA from
            forcing generation shifting or otherwise restructuring the nation’s energy system. 87 A
            decision is expected by June 2022, and any final rule must account for and comply with
            any interpretation of the major questions doctrine in that case.
         2. The Proposed Rule’s historically unprecedented use of the Good Neighbor provision to
            impose emissions limits on a unit specific basis for entire industries, without any

  81
       Proposed Rule at 20,064.
  82
       See AEO 2021, narrative available at https://www.eia.gov/outlooks/aeo/pdf/AEO_Narrative_2021.pdf
  83
       Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014).
  84
       Proposed Rule at 20,081.
  85
       Proposed Rule at 20,110-11.
  86
    Regulatory Impact Analysis for Proposed Federal Implementation Plan Addressing Regional Ozone Transport for
  the 2015 Ozone National Ambient Air Quality Standard, at ES-7.
  87
       See West Virginia v. Environmental Protection Agency, No. 20-1530, and linked cases.


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             consideration of unit specific feasibility or demonstration that the source itself is
             contributing to any nonattainment or maintenance site also runs afoul of the major
             questions doctrine. The text of the Good Neighbor provision, which focuses only on
             limiting amounts of emissions significantly contributing to actual nonattainment of
             maintenance issues in downwind states does not clearly authorize the vast industry shaping
             and reorganizing that EPA attempts to issue in the Proposed Rule.
             B.       Chevron Doctrine
          Multiple aspects of the Proposed Rule exceed the discretion granted to EPA under the
  statutory text, and thus will not be protected by Chevron deference, 88 and may serve as a basis for
  challenges to Chevron itself, or at least to further limits on EPA’s deference under Chevron.
         1. The Proposed Rule only applies by virtue of EPA’s disapproval of various SIP plans. In
            disapproving those state plans (which is a statutory prerequisite for EPA authority to issue
            the Proposed Rule) EPA effectively asserted that it would prefer to institute a FIP as
            opposed to individual SIP demonstrations due to a wish to address ozone transport in a
            “nationally uniform approach” with “nationwide scope and effect” based on a “common
            core of nationwide policy judgements.” 89 But EPA lacks discretion to decide that regional
            ozone transport is a national problem that requires national uniformity (e.g. by setting
            industry wide emission limits based on a “common core of nationwide policy judgements”
            without regard to state specific contribution considerations). Congress already
            unambiguously made a contrary decision by making EPA’s discretion to implement a FIP
            subject to SIP submissions that EPA “shall” approve if the statutory elements are met. See
            42 U.S.C. § 7410(k)(3); CAA Sec. 107(a) (“Each State shall have the primary
            responsibility for assuring air quality within the entire geographic area comprising such
            State by submitting an implementation plan for such State which will specify the manner
            in which national primary and secondary ambient air quality standards will be achieved
            and maintained within each air quality control region in such State.” Simply put, EPA lacks
            discretion to decide that it would prefer a uniform national approach for Good Neighbor
            provisions. Train v. Natural Resources Def. Council, 421 U.S. 60, 79 (1975) (“The Act
            gives the Agency no authority to question the wisdom of a State's choices of emission
            limitations if they are part of a plan which satisfies the standards of § 110(a)(2), and the
            Agency may devise and promulgate a specific plan of its own only if a State fails to submit
            an implementation plan which satisfies those standards.”); Concerned Citizens of
            Bridesburg v. U.S. E.P.A, 836 F.2d 777, 780–81 (3rd Cir. 1987) (holding the Clean Air Act
            “left the mechanics of achieving NAAQS to the states. Section 7410(a) requires each state
            to formulate and submit to the EPA a SIP detailing regulations and source-by-source
            emissions limitations that will conform the air quality within its boundaries to the NAAQS.
            The SIP basically embodies a set of choices regarding such matters as transportation,

  88
       See Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837 (U.S. 1984).
  89
       87 Fed. Reg. 9798, 9801, 9835 (Feb. 22,2022).


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             zoning and industrial development that the state makes for itself in attempting to reach the
             NAAQS with minimum dislocation. Because the states have primary responsibility for
             achieving air quality standards, the EPA has limited authority to reject a SIP.”);
             Commonwealth v. Environmental Protection Agency, 108 F.3d 1397, 1410 (D.C. Cir.
             1997) (“section 110 does not enable EPA to force particular control measures on the
             states”). Accordingly, EPA deserves no deference in any decision to prefer a nationwide
             FIP based on a “common core of nationwide policy judgements” over a SIP based on “a
             set of choices regarding such matters as transportation, zoning and industrial development
             that the state makes for itself.”
         2. EPA’s decision to subject sources in upwind states to control limits stricter than the RACT
            level of control Congress has set for NAAQS compliance in even nonattainment areas is
            outside the discretion of EPA, and clearly conflicts with the structure of Title I of the Clean
            Air Act, the Good Neighbor provision, and the intent of Congress, and does not merit
            Chevron deference.
         3. As discussed in detail throughout these comments, the many ways in which EPA analyzes
            and proposes to regulate non-EGUs in ways different than what has been upheld for EGUs
            in prior Good Neighbor rulemakings, and the various other unreasonable or arbitrary
            positions identified throughout these comments are not reasonable interpretations of the
            statute, and do not merit Chevron deference.
             C.       EPA’s Consideration of Co-Benefits to Calculate Benefits of the Rule is Not
                      Reasonable and is Arbitrary in Light of Other EPA Rulemakings
         EPA justifies the costs of the Proposed Rule by accounting for not only the costs associated
  with ozone formation based on NOx reductions, but also based on climate impacts expected from
  expected co-reductions of CO2, and PM2.5 reductions based on expected co-reductions of PM2.5
  and SO2. 90
          This is not reasonable or appropriate, because the statutory basis for such limits is grounded
  in assessing just the pollutants involved in the specific NAAQS at issue. For each NAAQS, the
  Good Neighbor provision provides that implementing plans may limit “any air pollutant” that
  contributes significantly to compliance issues with “such national primary or secondary ambient
  air quality standard.” 91 Accordingly, e.g., for the specific ozone NAAQS, the Good Neighbor



  90
    E.g., Proposed Rule at 20,155; 20167; see also Regulatory Impact Analysis at 5-4 through 5-26 (incorporating
  PM2.5 reduction estimates when calculating health and economic benefits of the rule) & Table ES-7 through ES 10
  (footnote to each admit that the “ozone benefits” in the tables actually aggregate benefits from reductions of ozone
  AND PM2.5) & 5-26 through 5-31 (assessing climate impacts of the rule based on CO2 co-reductions, and stating
  that although the EPA did not quantify benefits from CO2 reductions, EPA nevertheless took them into account as
  “unquantified benefits of this proposal” when evaluating the benefits of the rule; see also Data and Results for the
  Monetized Health Benefits Analysis as part of the Regulatory Impact Analysis.
  91
       42 U.S. Code § 7410(a)(2)(D)(i)(I).


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  provision allows regulation of any pollutant that contributes to compliance issues with the Ozone
  NAAQS (e.g. NOx), but not pollutants unrelated to Ozone compliance (CO2, PM2.5, SO2, etc.).
          Moreover, EPA’s approach to “baking-in” co-benefit considerations is arbitrary because it
  is incompatible with EPA’s current promulgated final rule assessing the appropriateness of
  accounting for co-reductions of pollutants other than the pollutant subject to a particular
  regulation. 92 When assessing the appropriateness of taking into account benefits of non-HAP
  reductions in the context of the Clean Air Act’s HAP regulations under section 112 of the Clean
  Air Act, EPA found that “the EPA’s equal reliance on the particulate matter (PM) air quality co-
  benefits projected to occur as a result of the reductions in HAP was flawed as the focus of CAA
  section 112(n)(1)(A) is HAP emissions reductions.” 93 More specifically, “Indeed, it would be
  highly illogical for the Agency to make a determination that regulation under CAA section 112,
  which is expressly designed to deal with HAP, is justified principally on the basis of the criteria
  pollutant impacts of these regulations. That is, if the HAP related benefits are not at least
  moderately commensurate with the cost of HAP controls, then no amount of co-benefits can offset
  this imbalance for purposes of a determination that it is appropriate to regulate under CAA section
  112(n)(1)(A).”
         Although CAA Sections 112(n)(1)(A) and 110(a)(2) are separate statutory schemes, the
  cost/benefit analysis must be treated consistently because both treatment of cost under each
  provision is based on the same question: whether a given regulation is “appropriate” and
  “necessary.” 94 Accordingly, because the Ozone NAAQS is focused on ozone reductions, any
  Good Neighbor implementation plan under the Ozone NAAQS should also only be considered
  “appropriate” if the ozone benefits are commensurate to the costs, without relying on co-benefits
  from PM2.5 reductions and climate considerations, since both are outside the scope of the Ozone
  NAAQS.




  92
    See “Proposed Rule: National Emission Standards for Hazardous Air Pollutants: Coal- and Oil-Fired Electric Utility
  Steam Generating Units—Reconsideration of Supplemental Finding and Residual Risk and Technology Review,” 84
  Fed. Reg. 2670; see also “Final Rule: National Emission Standards for Hazardous Air Pollutants: Coal- and Oil-Fired
  Electric Utility Steam Generating Units—Reconsideration of Supplemental Finding and Residual Risk and
  Technology Review,” 85 Fed. Reg. 31,286, 31,299 (May 22, 2020) (“finalizing the determination outlined in the 2019
  Proposal”).
  93
       84 Fed. Reg. at 2676.
  94
    Compare U.S. Code § 7412(n)(1)(A) (“The Administrator shall regulate electric utility steam generating units
  under this section, if the Administrator finds such regulation is appropriate and necessary”), with 42 U.S. Code §
  7410(a)(2)(A) (providing that implementation plans for each individual criteria pollutant under Section 110 “shall”
  “include enforceable emission limitations and other control measures, means, or techniques (including economic
  incentives such as fees, marketable permits, and auctions of emissions rights), as well as schedules and timetables
  for compliance, as may be necessary or appropriate to meet the applicable requirements of this chapter”).


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             D.       EPA’s Disregard for Demonstrations of Infeasibility Miscomprehends the
                      Precedent EPA Relies On.
          EPA makes the assertion that it is authorized to ignore “claims about infeasibility of
  controls” raised by any facility, citing solely to the D.C. Circuit’s opinion in Wisconsin v. EPA. 95
  But EPA mischaracterizes the D.C. Circuit decision. In Wisconsin, the court simply required that
  the deadline for upwind state compliance with Good Neighbor provision align with downwind
  states deadlines for compliance with a given NAAQS. In doing so, it is true that the court rejected
  an EPA argument that it was infeasible to require compliance with the Good Neighbor provision
  in a timely manner, but the discussion of “feasibility” was not about technical feasibility of whether
  controls would be capable of being retrofitted and or concerning whether controls could actually
  feasibly reduce the emissions to the extent needed. Rather, the “feasibility” issues the court and
  EPA discussed in that context instead concerned whether EPA had enough time and information
  to draft and implement required reductions in a timely manner. 96
         It is also readily apparent that the technical feasibility questions raised by the Proposed
  Rule’s unit level emission limits are categorically different than the “feasibility” concerns
  discussed in Wisconsin, because the rule at issue in Wisconsin involved only statewide emission
  budgets and did not involve any command-and-control limits like those now proposed.
  Furthermore, it would be one thing if EPA simply had a statewide emission cap requiring absolute
  reductions in NOx, because then a facility could meet the limit by operating less if it is absolutely
  necessary for emissions to decrease in order to meet downwind attainment, but EPA’s proposal
  goes beyond that, with the efficiency based lb/mmBtu limits that may make it literally impossible
  to comply if the proposed controls cannot feasibly reduce emissions to the extent EPA assumes
  due to the differences in the steelmaking process than coal fired powerplants, whereas overall
  emission budget reductions would still accomplish any mandate faced by EPA due to Wisconsin
  while giving facilities the flexibility to meet them in the most efficient and technically feasible
  manner, or in the worst case to operate less.
  VIII. EPA’s Decision to Deny Non-EGUs Compliance Flexibility is Arbitrary and
        Capricious
             A.       It is Arbitrary to Deny Non-EGUs Compliance Flexibility Granted to EGUs
         A key component of the currently established CSAPR rule is that it provides for trading of
  NOx emission credits. The Proposed Rule itself recognizes that “the current CSAPR trading
  program structure . . . has important positive attributes, particularly with respect to the exceptional
  degree of compliance flexibility it can provide. . . .”. 97 As described in the Proposed Rule, “[t]he
  trading program’s option to buy additional allowances provides flexibility in the program for


  95
       Proposed Rule at 20,104 & n.242 (citing Wisconsin v. Envtl. Prot. Agency, 938 F.3d 303 (D.C. Cir. 2019)).
  96
    See 81 Fed. Reg 74,504, 74,552 (Oct. 26, 2016) (“a remedy simply is not feasible in the existing timeframe. . . .
  the agency does not have sufficient information at this time to promulgate such a rule.”).
  97
       87 Fed. Reg. at 20,107.


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  outlier sources that may need more time than what is representative of the fleet average to
  implement these mitigation strategies while providing an economic incentive to outperform rate
  and timing assumptions for those sources that can do so. In effect, this trading program
  implementation operationalizes the mitigation measures as state-wide assumptions for the EGU
  fleet rather than unit-specific assumptions.” 98
           For non-EGUs, the Proposed Rule arbitrarily includes no similar flexibility. The Proposed
  Rule in fact includes no flexibility at all. There is no allowance for variances from EPA’s
  “command-and-control” emission limits for facilities that cannot retrofit EPA’s required pollution
  control equipment or achieve the extreme reductions the Proposed Rule prescribes even after
  installing EPA’s selected technology. There is no process for submitting an alternative control
  strategy to EPA or for non-EGUs or the states in which they are located, to offset the emission
  reductions mandated by the Proposed Rule with other, more cost-effective emission reductions.
  There is not even an opportunity to extend deadlines if it is found that the required pollution control
  and monitoring equipment required by the Proposed Rule cannot be purchased and installed on the
  schedule mandated by EPA.
          While the Proposed Rule should not be finalized in any form, if EPA does proceed with
  finalizing a FIP for interstate transport of ozone, it must afford compliance flexibility for all subject
  sources, not just EGUs. EPA should consider extending emission trading to non-EGUs so that a
  disproportionate burden is not placed on non-EGUs to achieve emission reductions not required
  of other sources. EPA should also include a process for regulated sources or affected states to
  petition for variances from the required emission limits and compliance schedules upon a
  demonstration of infeasibility or impracticality.
              B.        EPA’s Decision to Exclude All Non-EGUs from the Emissions Trading System
                        Arbitrarily Reverses Prior Agency Determinations Without Justification.
          EPA’s decision to exclude all non-EGU’s from the emissions trading program is a major
  regulatory about-face by the agency which it neither recognizes nor confronts, impermissibly
  attempting to “depart from a prior policy sub silentio.” See FCC v. Fox TV Stations, Inc., 556 U.S.
  502, 515 (2009). EPA has consistently endorsed an emissions trading program over unit-specific
  limitations, and the Proposal fails to adequately justify the decision to categorically exclude non-
  EGUs from the trading program.
          In April 2021, EPA explained that the trading program “not only encourages units to
  achieve the rates assumed in the budget-setting process, but to perform at even better rates where
  better performance can be achieved at a cost lower than the allowance price. By contrast, an
  implementation mechanism that provides a unit-specific emission rate would not incentivize the
  unit to perform better than its rate requirement.” 99 EPA further stated that “unit-specific short-term
  emission rates pose significant implementation and rulemaking challenges,” and if EPA were “to
  98
       Id. at 20,100.
  99
     EPA Final Rule – Revised Cross-State Air Pollution Rule Update for the 2008 Ozone NAAQS, pg. 65 (published
  April 30, 2021).


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  choose to implement a unit-specific emissions rate regime for implementation, the compliance
  flexibility afforded by emissions trading would not be available and it would not be possible to
  rely on fleet average information to the same extent . . . .” 100
          Nevertheless, EPA now proposes to exclude non-EGUs from the trading program. In a
  mere two paragraphs, EPA seeks to justify this exclusion by asserting that if it “were to include
  non-EGUs in the trading program, [it] would require monitoring and reporting of hourly mass
  emissions . . . as [it has] for all trading programs.” The Proposal therefore concludes that “applying
  unit-level emissions limitations . . . rather than constructing an emissions trading regime is more
  administratively feasible and more easily implementable at the source level . . . .” This proposed
  exclusion is arbitrary and capricious for a number of reasons.
        First, the Proposed Rule already requires the installation of monitoring equipment for non-
  EGUs. The Proposal explicitly states:
              “The EPA is proposing to require each owner or operator of an affected facility
              that is subject to the NOx emissions limit for Iron and Steel Mills and Ferroalloy
              Manufacturing emissions units contained in this section to install, calibrate,
              maintain, and operate a CEMS for the measurement of NOx emissions discharged
              into the atmosphere from the affected facility. The EPA is proposing that each
              emissions unit will be required to conduct an initial performance test and to
              operate CEMS to assure compliance.” 101
         Thus, EPA’s rationale for excluding non-EGUs from the trading program—that including
  them “would require monitoring and reporting,” including “CEMS (or an approved alternative
  method)” 102—is internally inconsistent, arbitrary, and capricious. EPA is proposing to require iron
  and steel industry units subject to the Proposed Rule to install CEMS or monitoring equipment
  anyway.
           Moreover, when EPA initiated the trading program, it provided EGUs with no less than
  two-and-a-half years to install monitoring equipment. 103 But EPA now appears to believe that
  three-and-a-half years (until the compliance deadline of 2026) is an inadequate amount of time,
  warranting the exclusion of non-EGUs from the trading program. EPA does not provide any reason
  for this shift other than to note general uncertainty as to how long it may take non-EGUs to install
  monitoring equipment. But “where an agency is uncertain about the effects of agency action, it
  may not rely on ‘substantial uncertainty’ as a justification for its actions.” 104 “Instead, EPA must


  100
        Id.
  101
        Proposed Rule, pg. 20,146 (emphasis added).
  102
        Id. At 20,141.
  103
        Clean Air Interstate Rule, 70 Fed. Reg. 25,161 (May 12, 2005).
  104
      Scholl v. Mnuchin, 489 F. Supp. 3d 1008, 1036 (N.D. Cal. 2020), quoting Greater Yellowstone Coal., Inc. v.
  Servheen, 665 F.3d 1015, 1028 (9th Cir. 2011).


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  ‘rationally explain why the uncertainty’ supports the chosen approach.” 105 EPA’s failure to justify
  its “depart[ure] from a prior policy” renders the decision to exclude non-EGUs from the trading
  program “arbitrary and capricious.” 106
           Additionally, EPA’s assertion that it has “require[d] monitoring . . . for all trading
  programs,” lacks one crucial clarification. When EPA initiated the trading program, the provision
  requiring use of CEMS still provided a process for a “unit that does not meet the applicable
  compliance date” for installing monitoring equipment to “determine, record, and report substitute
  data” 107 in lieu of CEMS data. If EPA determines that CEMS are both necessary and appropriate
  (including but not limited to cost justified), EPA should likewise provide a process for providing
  “substitute data” in the hypothetical event that certain units are unable to install monitoring
  equipment by 2026 or confront and justify it decision to deny non-EGUs this ability provided to
  EGUs.
           Finally, the assertion that unit level controls are superior for non-EGUs because they are
  (in some unexplained way) “more administratively feasible and more easily implementable at the
  source level” is fatally inconsistent not just with EPA’s prior findings, but with the Proposed Rule
  itself, which elsewhere expressly finds that an emission trading program is superior to direct
  controls for EGUs because “trading program’s option to buy additional allowances provides
  flexibility in the program for outlier sources that may need more time than what is representative
  of the fleet average to implement these mitigation strategies while providing an economic incentive
  to outperform rate and timing assumptions for those sources that can do so. In effect this trading
  program implementation operationalizes the mitigation measures as state-wide assumptions for
  the EGU fleet rather than unit-specific assumptions.” 108
  IX.         Timing of Compliance for States Linked Only to Maintenance Receptors
          EPA currently subjects states linked only with maintenance receptors 109 to the same 2026
  deadline EPA sets as applicable to states linked to nonattainment receptors. But as explained
  below, this is based on an erroneous legal assumption that all compliance must be in place by 2026,
  when in fact EPA retains discretion with regard to states that are not linked to any nonattainment
  receptors. Furthermore, the 2026 deadline should not bind states only linked to maintenance areas,
  or in any case, requirements should be suspended as long as the linked receptors are in attainment,
  with obligations triggered only if the maintenance receptors slip into nonattainment, as explained
  below.



  105
        Id.
  106
        FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515-16, 129 S. Ct. 1800, 1811 (2009).
  107
        Clean Air Interstate Rule, 70 Fed. Reg. 25,161, 25,355 (May 12, 2005).
  108
        Proposed Rule, pg. 20,100.
  109
      I.e., Arkansas, Minnesota, Mississippi, Oklahoma, Wisconsin and Wyoming. See Air Quality Modeling TSD at
  D-1 to D-11.


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          The entire basis for the EPA selecting the 2026 ozone season compliance deadline for non-
  EGUs in the Proposed Rule is Wisconsin v. EPA’s requirement that EPA to tie upwind-State’s
  Good Neighbor compliance to downwind-State’s nonattainment deadlines or the earliest possible
  time thereafter, paired with EPA’s finding that the 2026 ozone season is the first possible season
  during which the non-EGU limits proposed in the Proposed Rule can feasibly go into effect (which
  is aligned with the August 3, 2027, attainment date for areas classified as Serious nonattainment
  under the 2015 ozone NAAQS). 110
           But Wisconsin merely required “upwind States to eliminate their significant contributions
  in accordance with the deadline by which downwind States must come into compliance with the
  NAAQS.” 111 And notably, this only requires linkage of deadlines when it is required for a
  downwind state to come into attainment, meaning that it does not govern maintenance receptors
  trending toward full attainment, such as the Brazoria County, TX receptor which EPA models to
  be in attainment before 2026 (i.e., where the receptor is in attainment, albeit maintenance, and thus
  the downwind state is in compliance with the NAAQS at that receptor such that no upwind
  reductions are needed by any specific time).
           Accordingly, EPA’s application of the 2026 deadline to states linked only to improving
  maintenance receptors (e.g., Arkansas, Minnesota, Mississippi, Oklahoma, Wisconsin, Wyoming)
  is legally erroneous, since EPA’s current rationale is that such a deadline is mandated by Wisconsin
  v. EPA’s, when in fact it is not, and thus EPA must provide a discretionary rationale if it wishes to
  subject such states to the same deadline as states linked to nonattainment receptors. 112
           Additionally, it would be consistent with Wisconsin v. EPA to suspend applicability of the
  Proposed Rule’s limits to Arkansas and Mississippi so long as the Brazoria County, TX receptor
  is in attainment by 2026, and EPA should do so given the specific characteristics and trend of the
  Brazoria receptor. As explained below, to truly link upwind state compliance deadlines to
  downwind compliance deadlines, EPA should suspend Good Neighbor compliance deadlines for
  states solely linked to a maintenance receptor unless and until such a maintenance receptor slips
  into nonattainment. After all, once the Brazoria receptor is no longer in nonattainment, Texas’
  obligations “to submit attainment demonstrations and associated RACM, RFP plans, contingency
  measures for failure to attain or make reasonable progress, and other planning SIPs related to
  attainment of the ozone NAAQS for which the determination has been made, shall be suspended
  until such time as: The area is redesignated to attainment for that NAAQS, at which time the
  requirements no longer apply; or the EPA determines that the area has violated that NAAQS, at
  which time the area is again required to submit such plans.” 113 Thus, for example, it would be

  110
        Proposed Rule at 20,099-100.
  111
        Wisconsin v. EPA, 938 F.3d 303, 313 (D.C. Cir. 2019).
  112
     See Prill v. N.L.R.B, 755 F.2d 941, 942 (D.C. Cir. 1985) (concluding that where an agency erroneously assumed
  that a determination was mandated and outside of the agency’s discretion, the determination “stands on a faulty legal
  premise and without adequate rationale.”).
  113
        40 CFR § 51.1318.


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  incongruous to require upwind emission reductions in 2026 based solely on contributions to the
  Brazoria County, TX if Texas’ obligations with respect to the same receptor are suspended based
  on this receptor measuring in attainment by that time. This is especially justified for Arkansas
  given the upcoming closures of NOx sources like the White Bluff plant by 2028, leading to even
  further NOx reductions from Arkansas than taken into account by EPA.
           Specifically for the Brazoria County, Texas receptor it is currently designated as marginal
  nonattainment, but EPA has proposed to redesignate it pursuant to CAA section 181(b)(2)(A)(i)
  and 40 CFR 51.1303 based on failure to attain by the deadline for marginal nonattainment, thus
  requiring the receptor to be attain the 2015 Ozone NAAQS by the next deadline of “no later than
  6 years after the initial designation as nonattainment, which in this case would be no later than
  August 3, 2024” 114 EPA’s modeling as part of the Proposed Rule models the Brazoria receptor
  reaching attainment (albeit maintenance status) by 2023 or before, expecting the receptor no longer
  be in nonattainment, such that Texas’ obligations would be expected to be suspended with respect
  to that receptor at that time in 2024, and if Texas meets that attainment deadline as anticipated by
  EPA, the receptor could even be officially redesignated as no longer nonattainment before 2026
  when the Proposed Rule’s non-EGU limits are proposed to take effect. Thus, given the particular
  circumstances of the Brazoria receptor, including its specific deadline for attainment and EPA’s
  modeling in the Proposed Rule, EPA should suspend applicability of the Proposed Rule’s non-
  EGU limits on states linked solely to the Brazoria receptor so long as the Brazoria receptor is in
  attainment by the appropriate deadline. If, however, the receptor slips back into nonattainment
  after that time, then any necessary Good Neighbor provisions in states linked to that maintenance
  receptor would be triggered, with the provisions EPA currently proposes to be effective 2023 to
  instead become effective in the event the Brazoria receptor slips into nonattainment, with the
  provisions currently proposed for 2026 ozone season becoming effective three years from the date
  the Brazoria receptor actually slips to nonattainment.
  X.      Unreasonable Limitations on Public Comment
          A.       EPA Should Allow More Time for Public Comment
          EPA is proposing to impose unprecedented unit-level emissions limitations on a wide array
  of industries and jurisdictions. There was virtually no effort to gather industry input prior to
  regulation, and as discussed above, little more effort has been made to review and incorporate data
  and comments from the states.
          The Proposed Rule itself covers 181 pages, and the record still has numerous omissions.
  Yet EPA has provided only 11 weeks for public comment. While U. S. Steel appreciates the
  extension that extended the initial deadline by two weeks, this is still not enough time for proper
  public input on such an extensive attempt at regulation, and as noted throughout these comments,
  does not provide the time to perform the various analyses EPA failed to perform as part of the

  114
     “Determinations of Attainment by the Attainment Date, Extensions of the Attainment Date, and Reclassification
  of Areas Classified as Marginal for the 2015 Ozone National Ambient Air Quality Standards” 87 Fed. Reg. 21,842,
  21,850 (April 13, 2022).


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  Proposed Rule, including but not limited to facility- and unit-specific contribution modeling and
  facility- and unit-specific feasibility assessments, both of which must be prerequisites to any
  exercise of EPA authority under the Good Neighbor provision. To ensure an adequate process for
  public input, EPA must allow time for interested parties to analyze EPA’s data and prepare
  supplemental information and comments.
             B.       EPA’s Denial of U.S. Steel’s Request for Additional Time for Comments is
                      Unjustified.
         U. S. Steel separately requested an additional extension (EPA-HQ-OAR-2021-0668-0244),
  which EPA denied on June 17, 2022. EPA’s denial essentially relies on two grounds to deny the
  extension request. First, EPA relies on the claim that it must not further extend comments because
  EPA has an obligation to move “as expeditiously as practicable.” But as noted in the State of
  Arkansas’ comments on EPA’s proposed denial of Arkansas’ proposed Good Neighbor SIP
  provisions for the 2015 Ozone NAAQS, EPA delayed evaluation of underlying state SIP
  submissions and modeling for more than a year. 115 It is unreasonable for EPA to delay any
  evaluation of Good Neighbor provision requirements and then use that very delay as a reason to
  prevent the public from having adequate time to evaluate and comment on EPA’s proposed
  approach. EPA’s other rationale is that EPA provided some of the materials underlying the
  Proposed Rule prior to the formal publication of the Proposed Rule in the Federal Register. But
  this does not address the facts that (1) EPA’s choice to pursue unit specific reductions entails
  requires detailed facility- and unit-specific modeling and engineering studies to evaluate
  contribution to downwind receptors and feasibility, availability, and cost of proposed controls,
  which can take months to complete in the detail necessary to fully evaluate the Proposed Rule’s
  unprecedented limits that have never been achieved by any known source to date; and (2) that
  information needed to evaluate the Proposed Rule was not provided until after the Proposed Rule
  was published in the Federal Register. Simply re-running the CAMx modeling can take months
  and EPA took several weeks to provide the modeling data referenced in the Proposed Rule upon
  request, not providing the modeling files needed to adequately comment on EPA’s modeling until
  over a month after publication of the Proposed Rule.
             C.       EPA Must Reissue the Rule For Additional Comment if Substantive Changes in
                      Approach Are Made in the Final Rule.
          The rulemaking procedures at section 307(d) of the CAA specifically require that a
  proposed rulemaking must “include a summary of—(A) the factual data on which the proposed
  rule is based; (B) the methodology used in obtaining the data and in analyzing the data; and (C)
  the major legal interpretations and policy considerations underlying the proposed rule” and “All
  data, information, and documents referred to in this paragraph on which the proposed rule relies
  shall be included in the docket on the date of publication of the proposed rule.” 116 Furthermore,

    See Comment submitted by Arkansas Department of Energy and Environment, Division of Environmental
  115

  Quality, on EPA-R06-OAR-2021-0801-0001, at 3-4 (April 22, 2022).
  116
        42 U.S.C. § 7607(d)(3).


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  any final “promulgated rule may not be based (in part or whole) on any information or data which
  has not been placed in the docket as of the date of such promulgation.” 117 Relatedly, EPA has “an
  initial burden of promulgating and explaining a non-arbitrary, non-capricious rule” including an
  obligation to “explain how the standard proposed is achievable under the range of relevant
  conditions which may affect the emissions to be regulated.” 118
          Accordingly, it would be unlawful for EPA to make any revisions to the Proposed Rule
  that are not supported by the data in the docket, including but not limited to subjecting additional
  units to the Proposed Rule where the feasibility, cost effectiveness, and significance to downwind
  receptors is not included in the docket supporting the Proposed Rule, absent a new proposed rule
  providing the opportunity for public comment on the basis for any such newly proposed changes.
  Furthermore, it would be arbitrary for EPA to reverse any of the determinations it has made in this
  Proposed Rule, such as by including emission units or sources not currently proposed to be
  included in the Proposed Rule or the draft regulation accompanying the Proposed Rule or imposing
  a trading system or other controls rather than the current proposed controls, without first re-issuing
  such changes in the form of a new proposed rule for additional public comment.
  XI.        EPA Should Reconsider the National Applicability of the Proposed Rule.
          EPA proposes to find that this proposed action, “if finalized, would be ‘nationally
  applicable’ within the meaning of CAA section 307(b)(1)” or, in the alternative, that “this action
  is based on a determination of ‘nationwide scope or effect” within the meaning of CAA section
  307(b)(1).” This is based on EPA’s finding that the “proposed action applies a uniform,
  nationwide analytical method and interpretation of CAA section 110(a)(2)(D)(i)(I) across these
  states, and the proposed rule is based on a common core of legal, technical, and policy
  determinations (as explained in further detail in the following paragraph). For these reasons, this
  proposed action is nationally applicable.” 119.
          EPA’s proposal is not well founded. The Proposed Rule notes that if finalized, it will
  “implement the good neighbor provision in 26 states, spanning 8 EPA regions and 10 federal
  judicial circuits.” 120 This is only because EPA has aggregated several rulemakings into the
  Proposed Rule. The FIP applies on a state-by-state basis. That EPA failed to make the state-
  specific assessments required for a proper review of each State’s SIP and replacement with a FIP

  117
        42 U.S.C. § 7607(d)(6)(C).
  118
      National Lime Ass'n v. E. P. A., 627 F.2d 416, 433 (D.C. Cir. 1980) (in the context of a new source performance
  standard rulemaking procedure subject to 42 U.S.C. § 7607(d), holding that “an initial burden of promulgating and
  explaining a non-arbitrary, non-capricious rule rests with the Agency and we think that by failing to explain how the
  standard proposed is achievable under the range of relevant conditions which may affect the emissions to be
  regulated, the Agency has not satisfied this initial burden.”); see also Nat. Res. Def. Council v. EPA, 755 F.3d 1010,
  1023 (D.C. Cir. 2014) (“EPA retains a duty to examine key assumptions as part of its affirmative burden of
  promulgating and explaining a nonarbitrary, non-capricious rule and therefore EPA must justify that assumption
  even if no one objects to it during the comment period.”) (citation, internal question marks, and ellipses omitted).
  119
        Proposed Rule at 20,168
  120
        Proposed Rule at 20,168.


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  is not a justification for stripping the applicable regional courts of jurisdiction over what are
  inherently state-specific issues.
          EPA’s alternative approach, to find that the “proposed action is based on multiple
  determinations of nationwide scope or effect for purposes of CAA section 307(b)(1)” is similarly
  inadequate. Using a “common core of statutory and case law analysis, factual findings, and policy
  determinations concerning the transport of ozone-precursor pollutants from the different states
  subject to it, as well as the impacts of those pollutants and the impacts of options to address those
  pollutants in yet other states” 121 to find that a state-specific rule has national applicability is to find
  that the exception swallows the rule. Most state-specific rules EPA promulgates are based on a
  “common core of statutory and case law analysis, factual findings, and policy determinations.”
  This is part of what prevents EPA from acting arbitrarily and capriciously. If this were sufficient
  to make a state-specific rule nationally applicable, then almost all EPA rulemaking would be
  forced into the D.C. Circuit for judicial review.
  XII.       Miscellaneous Comments, and Responses to EPA Requests for Comment
             A.       Applicability Provisions Require Clarification:
         There are multiple aspects of the Proposed Rule’s applicability which should be clarified
  before proceeding to final rule.
         1. First, it appears that the Proposed Rule will only cover emission units which are
            individually under 100 tons per year in the case of facilities with a Basic Oxygen Process
            Furnace, for which the Proposed Rule would aggregate emissions from the “BOF Shop”
            for purposes of determining the Proposed Rule’s applicability to units in the “BOF
            Shop.” 122 EPA should further clarify what is unique about BOF operations that require
            them to be aggregated for applicability purposes rather than each emission unit being
            subject to a 100 tpy applicability threshold like other furnaces. Furthermore, because the
            Proposed Rule does not contain any NOx emission standard applicable to a BOF Shop as
            a whole, and because the activities listed as constituting a BOF appear to include activities
            that are not one of the furnace types regulated under the Proposed Rule (e.g. hot metal
            transfer and desulfurization), and because the processes noted as constituting a BOF Shop
            do not appear to be the type of activities that each have separate stacks, the final rule should
            clarify how a BOF Shop will demonstrate compliance with the emissions in the rule (e.g.,
            if all emissions in a BOF Shop are vented through the same venting system, then a BOF
            Shop should be able to aggregate the individual limits of any units within the BOF Shop in
            making its compliance demonstration, or should be subject to a separate overall limit for a
            BOF Shop).
         2. The definition of a reheat furnace as currently drafted is overly vague and should be
            amended to match the reheat furnaces (and related definitions) on which EPA’s review was

  121
        Proposed Rule at 20,168
  122
        Proposed Rule at 20,181.


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             based. The current definition of a reheat furnace in the Proposed Rule is “a furnace used to
             heat steel product to temperatures at which it will be suitable for deformation and further
             processing.” 123 This definition does not define what counts as “steel product” (e.g., does it
             include only products that have already been manufactured into some form prior to being
             introduced to a reheat furnace, or does it include steel that has never left the original
             production process, such as hot steel coming directly from a connected casting process
             which has not yet been formed into a definitive product). When setting a limit for reheat
             furnaces in the Proposed Rule, EPA expressly relied on the Ohio RACT limit for reheat
             furnaces. 124 Ohio’s applicable definition (i.e. defining the universe of units the RACT limit
             EPA relied on applied to) provides that “ ‘Reheat furnace’ means a furnace in which metal
             ingots, billets, slabs, beams, blooms and other similar products are heated to bring them to
             the temperature required needed for hot-working.” 125 This definition is also consistent with
             the various permits that EPA looked at when setting a limit for a reheat furnace. 126 EPA
             should likewise clarify its definition of reheat furnace to match the definition used by Ohio
             or otherwise make the definition more clearly limited to the types of units and limits EPA
             considered in setting the emission limits for reheat furnaces in the Proposed Rule. This
             clarification should more clearly differentiate a reheat furnace, which handles pre-made
             intermediate products, from something like a tunnel furnace that merely maintains and
             equalizes the temperature of raw already-hot-slabs while in transit from a caster to some
             other operation like a rolling mill. Any other approach that broadens applicability of the
             definition of reheat furnace beyond the type of sources EPA reviewed in setting its
             proposed emission limit would be arbitrary, since it would be unreasonable and arbitrary
             to regulate a unit without any reasoned basis for subjecting it to that emission limit.
         3. EPA should also resolve the current discrepancy concerning the basis for the 40% reduction
            EPA is requiring at reheat furnaces. The Proposed Rule states that a 40% reduction is
            assumed based on installation of SCR, 127 whereas the underlying Non-EGU Sectors TSD
            states that the 40% reduction is instead based on low-NOx burners, not including SCR.128
            Either way, EPA must also provide additional rationale for the reductions, because
            assuming reductions based solely on the basis of low NOx burners may be inconsistent
            with the fact that the permit limits EPA reviewed in setting this limit, specifically Sterling
            Steel, already had low-NOx burners installed, and thus it may not be reasonable to assume

  123
        Proposed Rule at 20,181.
  124
        Non-EGU Sectors TSD at 42.
  125
        OAC 3745-110-01 (35).
  126
     See Non-EGU Sectors TSD at 42, pointing to permit limits at Sterling Steel, Charter Steel, and United States Steel
  Lorain Tubular Operations, each of which specifies a premade product that the reheat furnace accepts as an input, i.e.
  a “Billet” reheat furnace at Sterling Steel, a “Bar Mill” reheat furnace at Charter Steel. Likewise, the US Steel Lorain
  Tubular facility reheat furnaces handle products made elsewhere as inputs and are not handling raw product.
  127
        Proposed Rule at 20,145.
  128
        Non-EGU Sectors TSD at 43.


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             additional emission reduction since those controls are already in place. By contrast, if the
             reductions are based on assumption of SCR feasibility, then EPA must detail why EPA
             believes SCR to be feasible and cost effective for such units, which it has not done
             specifically to reheat furnaces.
         4. The Proposed Rule should clarify what if any limit is applicable to galvanizing furnaces.
            The Non-EGU Sectors TSD mentions galvanizing furnaces several times, often in the same
            context as annealing and reheat furnaces, such as when EPA identifies a Wisconsin NOx
            RACT limit of 0.08 lb/mmBtu which applied to reheat, annealing and galvanizing
            furnaces. 129 Furthermore, the technical support document also distinguishes between
            reheat, annealing, and galvanizing furnaces as separate types of units. 130 However, the final
            rule includes different limits for annealing furnaces (0.06 lb/mmBtu) and reheat furnaces
            (0.05 lb/mmBtu), and does not include a separate galvanizing furnace limit. Accordingly,
            EPA should clarify whether galvanizing furnaces are intended to be included under the
            limits applicable to reheat furnaces, annealing furnaces, or neither, including appropriately
            detailed rationale.
             B.      The Proposed Rule’s Emission Unit Specific Limits and Monitoring
                     Requirements Will Not be Practicably Enforceable for Units that Lack Unit
                     Specific Stacks.
          The Proposed Rule appears to assume that each different unit is stacked such that its
  emissions could be disaggregated from other units, but that is not the case. Some units share a joint
  stack, some have multiple stacks, and some are so minor as to not be stacked. Accordingly, the
  Proposed Rule, if finalized, must allow for flexibility in demonstrating compliance with associated
  emission limits.
          For example, the Proposed Rule establishes separate limits for EAFs, LMFs, and
  ladle/tundish preheaters. But LMFs and ladle/tundish preheaters are relatively small sources of
  emissions at the U. S. Steel’s BRS facility (and future EV facility) are not vented through a separate
  stack. Rather, the EAF and LMF and other small units in the melt shop such as ladle/tundish
  preheaters are typically hooded and exhausted through the same canopy system to the baghouse
  where the joint emissions then vent to the baghouse and the primary exhaust stack. Accordingly,
  it is not possible to separately monitor preheater, LMF, and EAF emissions with CEMS, or to
  verify separate emission limits, since any compliance demonstration, whether by CEMS or stack
  testing, will necessarily be based on a joint measurement of preheater, LMF, and EAF emissions.
  This is reflected in BRS’s and EV’s current air permits, which provides a joint lb/hr emission limit
  for an LMF and EAF combined. Accordingly, to the extent the final rule still imposes command-


  129
        Non-EGU Sectors TSD at 42.
  130
     Non-EGU Sectors TSD at 26 (“Annealing involves a supplemental heating process to change the hardness
  properties of the final steel produced and ensure homogeneity. The galvanizing process coats iron or steal in a
  coating of molten zinc to protect and seal, limiting rust and corrosion. Reheat furnaces are used in hot rolling mills
  to heat steel slabs for rolling into sheets”).


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  and-control limits for individual emission units, the final rule should take this reality into account
  by either creating a joint limit for an EAF, LMF and preheaters combined, or by allowing EAF,
  LMF, and preheater emissions to be aggregated for purposes of any compliance demonstration of
  their combined limits. Furthermore, EAFs are the only units that are over 100 tpy at U. S. Steel
  BRS and EV facilities subject to the Proposed Rule, and thus the Proposed Rule would not apply
  to LMF and preheaters, at least at these facilities. Thus, EPA should clarify how compliance with
  the proposed emission limits for EAFs will be demonstrated, given the fact that any CEMS
  installed on an EAF stack will reflect emissions from other units which may not even be subject
  to limits under the Proposed Rule.
          By contrast, other units like the tunnel furnaces at the BRS facility have as many as five
  stacks per furnace due to the physical length of the tunnel transportation process. It cannot be
  assumed that these could be redesigned to a single stack, because due to design and overlapping
  influence within the tunnel furnaces the atmospheric conditions as it relates to the burners can
  potentially have different requirements for one stack versus another and could adversely affect the
  facility and steel quality. Accordingly, when performing cost estimates to determine the
  appropriateness of any efficiency limits EPA proposes for such furnaces, EPA must take into
  account the cost of multiple SCR and CEMS rather than assuming that a single CEMS and SCR
  could be installed on such units. For clarity, these units have less than 100 tpy NOx potential
  emissions at the U. S. Steel BRS facility, and as noted in the previous comment, it is unclear
  whether a tunnel furnace designed solely to maintain temperatures of hot-steel would in any-case
  be covered by the Proposed Rule.
          Finally, annealing units can vary greatly in size and amenability to controls. For example,
  the batch annealing furnaces at the U. S. Steel BRS facility (and the EV facility under construction)
  entail such small amounts of emissions that they are not stacked and thus cannot be subjected to
  unit specific SCR, much less CEMS.
              C.      Efficiency Based Form of Proposed Emission Limits is Unreasonable
          EPA provides no persuasive justification for imposing efficiency limits (i.e., lb/mmBtu
  limits) instead of emission limitations tied to the actual reductions needed to eliminate an upwind
  state’s significant contribution. EPA’s statutory authority under the Good Neighbor provision is
  solely intended to be used to reduce an absolute “amount” of emissions for the tailored purpose of
  achieving downwind NAAQS attainment 131, and is not an appropriate means to force industrywide
  standards of performance; if the efficiency standards preferred by EPA can be justified, then EPA
  can pursue that objective through NESHAP and NSPS standards. Furthermore, EPA’s modeling
  relied on estimates of tons of reductions expected throughout each state, and EPA’s compliance
  method is a CEMS, both of which are directly linked to absolute emissions, rather than emission
  efficiency. Finally, mandating efficiency-based limits arbitrarily and unreasonably eliminates the
  option for affected facilities to achieve any required emission reductions during ozone season
  through reduced operations, which could be just as effective at achieving any reductions needed

  131
        42 U.S. Code § 7410(a)(2)(D)(i)(I).


                                                   47
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  to achieve any obligations under the Good Neighbor provision. A lb/mmBtu limit puts affected
  facilities, especially those with higher-than-average retrofit costs in a challenging situation, forced
  to choose between infeasible costs, or being shut down altogether. By contrast, limits like those
  that EPA has proposed in the past which only require statewide reductions by the amount emissions
  modeled to eliminate an upwind state’s significant contribution would at least provide owners of
  such facilities with a tenable option of reducing emissions through reduced utilization during ozone
  season short of complete shutdown.
              D.      Unit Specific Nature of Limits Fails to Consider Alternate Emission Reductions
           The unit specific nature of the proposed efficiency limits eliminates facility flexibility in
  reducing overall NOx emissions in more technically feasible and cost-effective ways. Although
  the Proposed Rule continues to grant EGUs some limited flexibility in figuring out how best to
  reduce emission to meet limits (which in some cases includes complete facility shutdown), the
  Proposed Rule robs non-EGUs of the same flexibility. Different facilities face different design and
  operational limitations, and the operators of each facility are in the best position to assess how to
  maximize emission reductions while minimizing process impacts. For example, in cases where
  installation of controls on an applicable furnace is not feasible, facilities should instead have the
  flexibility to achieve the same level of emission reductions through other means, for example a
  facility may still have the option of low NOx optimizations on units that would otherwise not be
  subject to the Proposed Rule, such as furnaces or boilers that are not of sufficient size to be
  included under the Proposed Rule.
              E.      Climate Change is Not Carte Blanche to Tighten Regulations and NAAQS
                      Without Notice and Comment
          EPA makes a generalized appeal to climate change as an excuse to find that Arkansas,
  Mississippi, and Wyoming are not overcontrolled by the Proposed Rule, despite EPA’s models
  suggesting they are overcontrolled, because “future ozone concentrations and the formation of
  ground level ozone, may be impacted by climate change in future years,” and relying on
  uncertainty rather than even attempting to model any climate change effect. 132 But “where an
  agency is uncertain about the effects of agency action, it may not rely on ‘substantial uncertainty’
  as a justification for its actions. Instead, it must ‘rationally explain why the uncertainty’ supports
  the chosen approach.” 133 And handwaving about uncertainties associated with climate change is
  not an excuse for increasing control stringency by overcontrolling emissions under the Good
  Neighbor provisions of the Clean Air Act, which are focused solely on NAAQS, absent proper
  regulatory and statutory authorization. 134


  132
        E.g., Proposed Rule at 20,099.
  133
        Scholl, 489 F. Supp. 3d at 1036.
  134
      To the extent EPA is attempting to use climate change considerations to make the 2015 Ozone NAAQS more
  stringent without going through the rulemaking process to revise the 2015 Ozone NAAQS. Any attempt by USEPA
  to do so in the context of the Proposed Rule would not be consistent with EPA legal obligations under the CAA.


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             F.       It Would be Arbitrary for EPA to Not Include Waste Incinerators in the Final
                      Rule If Other Non-EGUs Are Included
          The current draft of the Proposed Rule does not propose to regulate (1) EGUs less than or
  equal to 25 MW, (2) solid waste incineration units, and (3) cogeneration units, each of which, just
  like the Iron and Steel industry and all other non-EGUs, have traditionally been excluded from
  EPA’s interstate air transport programs. 135 Accordingly, any potential emission reductions from
  such facilities were not included when EPA estimated state-by-state potential NOx reductions
  under the Proposed Rule. 136 But EPA also requested comment on whether these must be included,
  and specifically noted that EPA is “considering whether to include emissions limitations for solid
  waste incineration units” in the Final Rule. 137
          It would be arbitrary for EPA to require reductions at the proposed non-EGUs, but not
  include waste incinerators. By EPA’s own analysis, such waste incinerators emissions can be an
  order of magnitude larger than the applicability limits EPA is using to subject other industries like
  steel mills to command-and-control limits. 138 The questions EPA requests comment on when EPA
  considers whether to include waste incinerators in the final rule are generally valid questions (e.g.,
  feasibility and cost effectiveness of controls). But EPA’s resulting position is incorrect.
         For example, there are potentially many such units in Arkansas, including units with
  permitted NOx emissions at least as high as steel industry units, and far closer to the Brazoria TX
  receptor than U. S. Steel’s BRS and EV facilities. 139 In the Proposed Rule, EPA seeks to impose
  emission limits on non-EGUs such as EAFs without providing any analysis of technical feasibility


  135
        Proposed Rule at 20,084.
  136
        Non-EGU Screening Assessment at 1 n.1.
  137
        Proposed Rule at 20,084.
  138
        Non-EGU Sectors TSD at Table 8.
  139
      The following facilities, are not an exclusive list, but includes various incineration facilities under NAICS codes
  562213(Solid Waste Combustors and Incinerators) or 562211 (Hazardous Waste Treatment and Disposal):
  Elemental Environmental Solutions LLC, Arkadelphia, 1016-AOP-R15, (245.7tpy NOx),
  https://www.adeq.state.ar.us/downloads/WebDatabases/PermitsOnline/Air/1016-AOP-R15.pdf; Clean Harbors LLC,
  El Dorado, 1009-AOP-R24 (535.7tpy NOx),
  https://www.adeq.state.ar.us/downloads/WebDatabases/PermitsOnline/Air/1009-AOP-R24.pdf. Furthermore, the
  following facilities are registered under General Air Permit for Title V Air Curtain Incinerators, which permits up to
  30.6 tpy of NOx based on up to 15,300 tons of waste incinerated at the air curtain incinerator per rolling 12-month
  period (https://eportal.adeq.state.ar.us/webfiles/Air/General%20Permits/2370-AGP-000.pdf): City of Jonesboro -
  Yard Waste Facility (6.75 tons burned per hour); City of Dardanelle (4 tons per hour burned); Woodson
  Incorporated, Mabelvale (8 to 10 tons burned per hour); City of Blytheville Public Works (3 to 5 tons burned per
  hour); Wise Excavation LLC, Paron (8 tons burned per hour); Abide Farms, LLC, Little Rock (7 tons burned per
  hour); American Composting, Inc., North Little Rock (7 tons burned per hour); R. E. C. Transport, Inc., Dardanelle
  (7 tons burned per hour); Alternative Waste Management LLC., Mayflower (9 tons burned per hour); Arkansas
  Department of Transportation, Paragould (0.125 tons burned per hour); Custom Wood Recycling, Inc., Centerville
  (12 tons burned per hour); City of Wynne Air Curtain Incinerator (10 tons burned per hour); Columbia County
  Landfill, Magnolia (unspecified throughput); City of Beebe (7.5 tons burned per hour); Dale Payne - P & P
  Trucking, Casa (8 tons burned per hour); Moore's Dozer Service, Glenwood (9 tons burned per hour).


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  or cost effectiveness in the record. Yet for solid waste incineration units, EPA is proposing to use
  those very same factors to potentially exclude waste incinerators. If waste incinerators are
  excluded on such grounds, EAFs, and the many other units EPA failed to analyze for technical
  feasibility or cost feasibility must also be exempted. In addition, it is worth noting that any
  decision by EPA in the final rule to include such units (e.g., EGUs less than or equal to 25 MW,
  solid waste incineration units, and cogeneration units), would require EPA to perform a reanalysis
  of overcontrol, since including such units without adjusting the required control limits at other
  facilities could further exacerbate overcontrol resulting from the Proposed Rule.
             G.       Controls Will Only be Run on a Seasonal Basis
          EPA requested comment on whether any controls installed in order to meet the limits in
  the Proposed Rule would be run on an annual basis. 140 As a general rule, post combustion controls
  like SCR will not be operated year-round. As noted above, facilities will only run post-combustion
  NOx controls during the ozone season when required to and will otherwise limit their use due to
  the high O&M cost associated with operation of the SCR, and in order to attempt to extend the life
  of the catalyst given the high cost of replacing the catalyst and how quickly the catalyst can be
  deactivated under the process characteristics of metal furnaces. Low NOx burners, the other hand,
  would be operated on a year-round basis since they are integrated into the combustion process.
             H.       Alternatives to CEMS
          EPA requested comment on alternatives to CEMS for ensuring compliance. 141 There are
  many alternatives to CEMS. For boilers and burner tips, especially, vendor guarantees and known
  engineering emission factors for natural gas combustion can be used to simply and far more cost
  effectively track emissions based on simply tracking natural gas usage/throughput. This method
  may also work for furnaces where NOx emissions derive primarily from coal or natural gas
  combustion. For any other sources whose NOx emissions cannot be simply derived by tracking
  natural gas or coal throughput, stack testing should be available as an alternative means of
  compliance.
          More fundamentally, EPA has not demonstrated that CEMS are necessary and appropriate
  as a means of tracking emissions for non-EGUs. The authority to require any monitoring device
  must be justified under 42 U.S. Code §7410(a)(2)(B), which states that an implementation plan
  shall “provide for establishment and operation of appropriate devices, methods, systems, and
  procedures necessary to—(i) monitor, compile, and analyze data on ambient air quality.” In the
  past, EPA has required CEMS under Good Neighbor provision implementation plans on the
  rationale that such precise continuous measurements are necessary when implementing an
  emission trading program, because as EPA puts it “[t]his type of consistent and accurate
  measurement of emissions is necessary to ensure each allowance actually represents one ton of
  emissions and that one ton of reported emissions from one source would be equivalent to one ton

  140
        Proposed Rule at 20,141.
  141
        Proposed Rule at 20,146.


                                                    50
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  of reported emissions from another source.” 142 But the Proposed Rule expressly decides not to
  implement a trading program, instead purporting to opt for unit specific performance limits for
  non-EGU emission units. Moreover, EPA did not even include the cost of CEMS in its cost
  analysis. 143 Accordingly, EPA has failed to justify both why CEMS are “appropriate” and why
  they are “necessary” in this wholly different context of unit specific performance rates, especially
  in light of the fact that other programs (NSPS, NESHAP, PSD, etc.) merely require initial
  performance testing and periodic confirmatory testing to verify unit specific performance limits,
  and that EPA wholly fails to provide any persuasive differentiation here in the absence of emission
  trading.
  XIII. The Proposed Rule Endangers National Security by Failing to Consider the Steel
        Industry’s Critical Role in Our National Security and Infrastructure:
          A 2017 Presidential Memorandum recently acknowledged that “core industries such as
  steel” as “critical elements of our manufacturing and defense industrial bases.” 144 As a result of
  the Memorandum, the Department of Commerce initiated an investigation into the effect of steel
  imports on United States National Security and found that domestic steel production is “essential”
  for national security applications. 145 This Investigation led to many key findings that the EPA
  should consider as it evaluates how to effectuate the requirements of the Good Neighbor provision
  in a reasonable manner.
          “[A]cross decades and Administrations, there has been consensus that domestic steel
  production is vital to national security.” 146 “National security” under Section 232 of the 1962
  Trade Expansion Act includes both 1) national defense and 2) critical infrastructure needs. 147
  Domestic steel production is vital for both. For example, the Department of Defense requires steel
  to create weapons and other systems needed for our nation’s defense. 148




  142
        Proposed Rule at 20,141 (citing 75 FR 45325 (August 2, 2010)).
  143
     Non-EGU Screening Assessment at 4 (“The costs do not include monitoring, recordkeeping, reporting, or testing
  costs.”).
  144
      DCPD-201700259 - Memorandum on Steel Imports and Threats to National Security, § 1 (Apr. 20, 2017)
  (available at https://www.govinfo.gov/content/pkg/DCPD-201700259/pdf/DCPD-201700259.pdf).
  145
     U.S. Dep’t. of Commerce, The Effect of Imports of Steel on the National Security: An Investigation Conducted
  Under Section 232 of the Trade Expansion Act of 1962, (hereinafter, “2018 Investigation”), Jan. 11, 2018 (available
  at https://www.commerce.gov/sites/default/files/the_effect_of_imports_of_steel_on_the_national_security_-
  _with_redactions_-_20180111.pdf).
  146
        Id. at p. 24.
    Id. at p. 13–17, 23 (concluding that domestic steel production is essential for national security); see also 19
  147

  U.S.C. § 1862 (Section 232 of the Trade Expansion Act of 1962).
  148
        2018 Investigation at p. 24.


                                                            51
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          Presidential Policy Directive 21 (“PPD-21”) also designates sixteen “critical infrastructure
  sectors,” most of which use steel in high volumes. 149 This includes chemical production,
  communications, critical manufacturing, dams, energy, food production, nuclear reactors, and
  transportation, water, and wastewater systems. To support these critical infrastructure sectors, the
  American Society of Civil Engineers estimated that the United States must invest $4.5 trillion in
  infrastructure by 2025. 150 Steel production is crucial to these goals.
           An important consideration to maintaining national security is ensuring that there is
  sufficient “surge capacity” within the industry, as explained by the Department of Commerce, “it
  is the ability to quickly shift production capacity used for commercial products to defense and
  critical infrastructure production that provides the United States a surge capability that is vital to
  national security, especially in an unexpected or extended conflict or national emergency.” 151
           But as written, the Proposed Rule blinks these realities in ways that would have potentially
  catastrophic consequences for the economy and national security. Even assuming that it was
  possible to meet the Proposed Rule’s unprecedented command-and-control limitations on NOx,
  installing the required control technologies will cause at least temporary closures of iron and steel
  facilities all around the nation all at once. “Even temporary idling of steel plants threatens the U.S.
  steel industry” because of the “significant financial costs with re-opening a steel mill.” 152 Halting
  production can also cause a mill to lose workers, which affects the mill’s capacity to produce steel
  going forward. 153 This often leads to additional costs, such as “specialized worker training and
  production ramp-up” while mills attempt to re-fill their workforce. 154 And that is the best case
  scenario; if these newly proposed limits are not feasible, and/or not able to be achieved cost
  effectively, mills could be forced to permanently close. Even if the new limits are attainable by
  some facilities, the Proposed Rule’s inflexible and uniform command-and-control mandate fails
  to consider facility specific feasibility and cost variability and thus will likely result in permanent
  closures, crippling U.S. surge capacity.
          Employment and local economies are likewise negatively affected when steel mills are
  closed, even on a temporary basis. Workers often find other occupations, steel mills to work at,
  or they remain indefinitely unemployed. 155 If a closure lasts a significant amount of time, workers
  may lose some of the specialized skills needed for performance. This loss of workers, jobs, and


  149
      PPD-21 can be viewed at https://obamawhitehouse.archives.gov/the-press-office/2013/02/12/presidential-policy-
  directive-critical-infrastructure-security-and-resil.
  150
     2017 Infrastructure Report Card, American Society of Civil Engineers,
  https://www.infrastructurereportcard.org/wp-content/uploads/2016/10/2017-Infrastructure-Report-Card.pdf.
  151
        2018 Investigation at p. 55-56.
  152
        2018 Investigation at p. 34.
  153
        Id. at 35.
  154
        Id.
  155
        Id.


                                                         52
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  skills causes substantial difficulties to the steel industry, as recruitment is “typically not easy.”156
  And any further workforce constriction would be especially impactful because workforce
  experience in the iron and steel sector are already diminished.
         Further, U.S. steel producers already experience higher production costs than those in other
  areas of the world. This is, in part, because of environmental and regulatory expenses. 157 For
  example, prices for hot-rolled steel coil have been higher in the United States than in other
  countries since 2010. 158 These higher costs incentivize foreign importation of steel, which
  damages steel production in the United States.
          The Proposed Rule will cause iron and steel facilities to temporarily shut down while they
  attempt to comply with the proposed limits that have never been achieved in practice at any similar
  units, and thus, even if feasible, will almost certainly result in downtime as facilities and control
  devices are redesigned and tested. EPA’s proposed compliance deadline of the 2026 ozone season
  risks mass temporary closures of steel mills across the country and across regions. And the supply
  chain disruptions arising from Covid and subsequent economic conditions, which EPA has not
  accounted for in setting compliance deadlines, feasibility, or cost analyses, will exacerbate the
  disruptions to operations that would be caused by these retrofits even in the best of times. This
  will hinder much of the aforementioned categories: domestic steel production will slow, local
  economies will be hurt, costs will rise, and the industry may lose skilled workers. Overseas
  imports of steel will necessarily increase, assuming there is availability. In addition, it is well
  known fact that steel producers in the United States have far less emissions than most sources
  overseas that would have to be relied on to make up for the capacity drop in domestic steel
  production caused by the Proposed Rule. 159 EPA must consider these critical issues as it assesses
  how to reasonably give effect to the Good Neighbor provision, including taking care in evaluating
  whether it is actually necessary to regulate the iron and steel industry in order to achieve the
  reductions needed to satisfy the Good Neighbor provision, and if so whether there are measures
  with more flexibility (including emission trading, and extended compliance deadlines) rather than
  rushing into draconian command-and-control measures without any evaluation of facility specific
  feasibility. Failure to do so threatens to jeopardize our nation’s steel industry, infrastructure, and
  national security.



  156
        Id.
  157
        Id. at p. 33.
  158
        Id. at p. 31–33.
  159
     See e.g. Hasanbeigi, Ali and Cecilia Springer. “How Clean is the U.S. Steel Industry? An International
  Benchmarking of Energy and CO2 Intensities.” Global Efficiency Intelligence (November 2019), available from the
  Harvard’s Belfer Center for Science and International Affairs at
  https://www.belfercenter.org/sites/default/files/files/publication/how-clean-is-the-us-steel-industry-nv.pdf,
  (concluding that “The U.S. steel industry’s final energy and CO2 emissions intensities rank 4th lowest among the
  countries studied” and showing that the U.S. steel industry is the cleanest and most energy-efficient of the seven
  largest steel producing countries in the world).


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              SPECIFIC COMMENTS PERTAINING TO ELECTRIC ARC FURNACES AND
                                   ARKANSAS
  XIV. EPA Has Identified No Legal Basis for Imposing Emission Unit Specific Limits on
       the U.S. Steel Facilities in Arkansas.
           As discussed in Sections above EPA has no legal basis for regulating U. S. Steel facilities
  especially those in Arkansas. Notably, the only impact relied on for subjecting specifically
  Arkansas and Mississippi to the stringent non-EGU emission limits in the Proposed Rule is a single
  maintenance receptor in Brazoria County, Texas which EPA classifies as maintenance status, and
  projects to still be in maintenance status in 2026. See Air Quality Modeling Technical Support
  Document at D-1 & D-6. The fact that EPA has presented no analysis to support a conclusion that
  emission units at the U. S. Steel Arkansas facilities (which are located in Osceola, Arkansas, on
  the far opposite end of the state from TX, about 560 miles from Brazoria, Texas) contribute
  significantly to impacts at the Brazoria receptor is alone sufficient to require the exclusion of those
  facilities from the Proposed Rule. But for the sake of thoroughness, U. S. Steel requested the
  experienced air modeling team at Woodard & Curran to perform modeling to evaluate the
  significance of BRS’s (and EV’s, once it commences operation) contribution, if any, to the
  Brazoria receptor linked to Arkansas under EPA’s modeling as demonstrated in the Woodard
  Report attached as Exhibit A.
          First, Woodard & Curran evaluated the impact of BRS/EV on Brazoria based on the scaling
  factors used by EPA to evaluate the anticipated contributions of industry sectors in developing the
  Proposed Rule, including the emission units sought to be regulated under the Proposed Rule. More
  specifically, Woodard updated the emission inventory used by EPA to more accurately reflect the
  existing BRS facility and the EV facility under construction adjacent thereto, 160 then extrapolated
  BRS/EV’s contribution to the Brazoria receptor using EPA’s own state and receptor specific
  factors, as explained in Woodard and Curran’s report. As noted in Table 3 to that report, EPA’s
  calculation methodology would result in an estimate of less than 0.01 ppb contribution from
  BRS/EV to the Brazoria receptor. This is below the level of significance that EPA used to evaluate
  the significance of iron and steel facilities to individual receptors (0.01 ppb), and thus is
  insignificant even by EPA’s own interpretation. Moreover, as explained in more detail in a
  subsequent comment, significance of impacts at a receptor should not be evaluated below 1 ppb,
  which is far higher than that calculated for BRS/EV. Finally, this calculation method is highly


  160
     The BRS scrap to steel products facility in Osceola, Arkansas currently contains two Electric Arc Furnaces (EAFs),
  which are the only emission units at the facility with a potential to emit more than 100tpy of NOx. On January 31,
  2022, AEEDEQ issued BRS a permit to construct and operate a new scrap to steel mill on land adjacent to the existing
  facility. BRS anticipates transferring the permit for the new mill to Exploratory Ventures (EV), a separate company,
  but which, like BRS, is owned by US Steel. Although this second facility is not integrated with and operates
  independently from the existing mill, BRS/EV understands that under existing EPA guidance, the two mills would be
  considered a single source under Title I of the Clean Air Act. Like the existing facility, the new facility will also have
  two EAFs, each with a potential to emit more than 100tpy of NOx. The new facility provided notice to AEEDEQ on
  May 12, 2022, of commencement of construction. Accordingly, the Woodard & Curran model conservatively
  accounts for all four EAFs in evaluating any potential impact on the Brazoria receptor.


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  conservative, since the extrapolation factors used in EPA’s calculation do not account for where
  in a state a source is located, and BRS/EV is located in the far edge of the state, over 900 km from
  the Brazoria receptor.
          Second, Woodard & Curran performed HYSPLIT modeling in coordination with
  AEEDEQ to evaluate impacts to the Brazoria monitor. EPA itself used HYSPLIT in this
  rulemaking to evaluate environmental justice impacts on a facility specific level for EGUs 161
  (though EPA did not use it to evaluate EPA’s authority to regulate individual facilities under the
  Proposed Rule in the first place). EPA has also previously approved the use of HYSPLIT to screen
  out areas in the similar context of regional haze. 162 HYSPLIT looks at the specific events during
  which ozone NAAQS exceedances are predicted and can generate a backtrajectory to identify what
  geographic regions airflows contributed to each specific predicted NAAQS exceedance. This
  provides more insight than the CAMx model into specific contributions on the specific days that
  EPA relies on to classify the Brazoria receptor as a maintenance receptor (especially the way that
  EPA ran CAMx, evaluating only aggregated statewide contributions in general without tagging
  industries or facilities like CAMx would have allowed EPA to do if EPA had attempted to do so).
       HYSPLIT analysis also provides insight as to whether any potential linkages identified by
  CAMx are consistent and persistent.
          EPA’s CAMx modeling only looked at five to ten elevated ozone days and did not evaluate
  where the ozone and precursors arose that contributed to those days (i.e., although EPA looked
  generally to what states may have contributed, EPA did not evaluate or identify where in a given
  state contributions originated, since EPA chose to run CAMx without source tags).
          To evaluate whether the U. S. Steel facilities in Arkansas could contribute to any of these
  ozone high events identified by EPA, Woodard & Curran used HYSPLIT to calculate seventy-two
  hour back-trajectories for the EPA’s top-ten CAMx predicted maximum daily 8-hour 2026 ozone
  events for the ozone monitoring site located in Brazoria, TX. As noted in Woodard & Curran’s
  attached report, the top three ozone days had contributing air parcels originating well outside of
  Arkansas, or only briefly passing through the very southern section of Arkansas, and in no event
  originated or passed through the northeastern portion of Arkansas where the U. S. Steel facilities
  are located. As a result, the U. S. Steel Arkansas facilities did not contribute to any of the events
  assessed by EPA, and thus cannot be said to significantly contribute to any maintenance issues
  evaluated by EPA at the Brazoria receptor.
         Woodard & Curran is also in the process of performing confirmatory CAMx modeling to
  determine the source specific contributions to the Brazoria monitor which EPA neglected to
  evaluate. As EPA is aware, CAMx modeling can take significant time to complete, and although
  we are diligently pursuing this modeling, it is impossible to complete before the June 21 comment
  deadline. However, because the necessity of this modeling was created by EPA’s failure to perform

  161
        Policy Analysis TSD at 67.
  162
        87 Fed. Reg 7734 (Feb 10, 2022).


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  and/or disclose source-specific CAMx contribution modeling and unreasonably truncated public
  comment period, and because it bears directly on EPA’s authority to regulate U. S. Steel at all
  under the Good Neighbor provision, EPA must consider this modeling whenever it is completed
  in determining applicability of any final rule to U.S. Steel facilities without running afoul of the
  Clean Air Act. 163
  XV.         EPA Has Identified No Legal Basis for Regulating the Iron and Steel Industry in
              Any But Possibly One State, and Certainly Not in Arkansas
          EPA has not demonstrated that the Iron and Steel industry in Arkansas (or virtually any
  state for that matter) is a “type of emissions activity within the State” that will “contribute
  significantly to nonattainment in, or interfere with maintenance by, any other State.”
           To begin, as previously noted, EPA’s regulation of the iron and steel industry in Arkansas
  did not even comply with EPA’s own oft-referenced “4-step interstate transport framework.”
  Under that approach, EPA, after identifying nonattainment and maintenance receptors (step 1),
  and screening out any state not contributing at least 0.7ppb to any linked receptor (step 2), was
  then supposed to “(3) for states linked to downwind air quality problems, identify [] upwind
  emissions that significantly contribute to downwind nonattainment or interfere with downwind
  maintenance of the NAAQS; and (4) for states that are found to have emissions that significantly
  contribute to nonattainment or interfere with maintenance of the NAAQS in downwind areas,
  implement[] the necessary emissions reductions through enforceable measures.” 164 But that is not
  what EPA did in the Proposed Rule. Rather than evaluate the upwind emissions actually
  contributing to each screened-in state’s linked nonattainment or maintenance receptors, EPA
  instead just (1) identified industries nationwide that contributed at least 0.1pbb to at least one
  downwind receptor, or 0.01pbb to at least ten receptors 165; and (2) automatically mandated limits
  directly on all such sources in each screened-in state, skipping any finding that these sources
  evaluated on a nationwide basis actually contributed to nonattainment or interfered in maintenance
  at the linked receptors for each particular state. 166
          Although it may be appropriate as a screening matter to initially identify industry sectors
  representing potentially significant NOx contributions on a national basis for further review, EPA
  cannot automatically skip to imposing regulations on all such industry sectors in all screened-in
  states without some showing that the industry sector at issue is significantly contributing to that
  particular state’s linked nonattainment or maintenance receptors. This is because the Good
  Neighbor provision from which EPA derives any authority for such regulations only grants
  authority to prohibit emissions if a “type of emissions activity within the State” will “contribute


  163
     In fact, using CAMx to simply repeat the modeling that USEPA performed takes longer than the comment deadline
  allows, particularly in light of how long EPA took to supply the underlying modeling data upon request.
  164
        Proposed Rule at 20,041-42.
  165
        EPA classified industries that satisfied both these criteria as “Tier 1” and those that satisfied only one as “Tier 2.”
  166
        Non-EGU Screening Assessment at 2-3, 22-23.


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  significantly to nonattainment in, or interfere with maintenance by, any other State.” 167 Thus, it is
  arbitrary and capricious to regulate the steel industry nationally rather than regulating the
  appropriate sources (or at least appropriate industrial sectors) in each state actually contributing to
  the amount of emissions that need to be reduced from that state to fulfill its Good Neighbor
  obligations.
          EPA also improperly conflated its own screening threshold for whether a state as a whole
  has a significant enough contribution to require reductions pursuant to the FIP, with the statutory
  requirement to evaluate significant contributions of a “source or type of emissions activity within
  the State.” As the State of Arkansas rightly notes in it comments in response to EPA’s proposed
  denial of Arkansas’ proposed state implementation plan for the 2015 Ozone NAAQS as it relates
  to Good Neighbor obligations, EPA wholly failed “to show that specific sources in Arkansas are
  actually contributing significantly to the Harris County monitor or interfering with maintenance of
  the NAAQS by other receptors, thus EPA is effectively contending that a 1% linkage is the same
  as a significant contribution, which is not consistent with their guidance or Clean Air Act
  110(a)(2)(D)(i). Determination of linkages and significant contributions occurs at separate steps
  in the four-step analysis. DEQ does not agree that a 1% linkage to an entire state is the same as a
  significant contribution from a source or emissions activity. The state’s obligation is not to
  eliminate an arbitrary threshold (or to reduce emissions such that a neighboring state that may be
  its own primary contributor to nonattainment is not overburdened by their own obligations), but to
  determine if any emissions sources or emissions activity in the state are significantly contributing
  to a downwind nonattainment receptor or interfering with maintenance of the NAAQS by a
  downwind state and respond accordingly to mitigate significant contributions.” 168
           If EPA had failed to evaluate the contributions of each screened-in industry in a state prior
  to subjecting it to regulation in that state, then EPA would have ‘merely’ failed to justify the
  regulation of such industry in each state. But EPA’s failure to comply with statutory requirements
  is even more unreasonable, arbitrary, and unlawful here, because it appears that EPA did perform
  an evaluation of whether each industry contributed to nonattainment or maintenance issues at each
  states linked receptors, and then went on to attempt to regulate NOx emissions from each industry
  sector in each screened-in state despite specifically finding that many industries did not contribute
  to that state’s linked receptors above the industry significance thresholds set by EPA. 169 For
  instance, EPA’s own modeling found that the Iron and Steel industry only contributed to a
  nonattainment or maintenance receptor above EPA’s own significance threshold (0.01ppb) in only
  one state and that state is not Arkansas, as show below 170:



  167
        42 U.S. Code § 7410(a)(2)(D)(i)(I).
    See Comment submitted by Arkansas Department of Energy and Environment, Division of Environmental
  168

  Quality, on EPA-R06-OAR-2021-0801-0001, at 22 (April 22, 2022).
  169
        See Table A-3 to Non-EGU Screening Assessment.
  170
        See Table A-3 to Non-EGU Screening Assessment.


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          Although Table A-3 does not disclose the sole state with impacts from the iron and steel
  industry above EPA’s significance thresholds for industry, the context suggests that state is almost
  certainly not Arkansas, as those are not among the states where the Non-EGU Screening
  Assessment identifies large potential reductions of NOx from the iron and steel industry.171 Thus,
  EPA’s own modeling appears to affirmatively demonstrate that Iron and Steel Industry is NOT a
  significant contributor to Arkansas’ downwind linked maintenance receptor (Brazoria), and it
  would thus be arbitrary and unlawful for EPA to subject the steel industry in Arkansas and other
  such states to the Proposed Rule in the face of this specific finding. The same conclusions could
  be reached for the iron and steel industry in every other state without further analysis with the
  exception of the single state identified by EPA in the Proposed Rule.
         It is particularly important for EPA to correct this approach given its determination that
  Arkansas may be overcontrolled under the Proposed Rule since their contributions to the Brazoria
  receptor are predicted to be erased based solely on imposition of controls on Tier 1 industry. 172
          EPA’s request for comments on whether to only regulate Tier 1 industries in Arkansas and
  exempt Tier 2 industries also misses the statutory mark. EPA only has regulatory authority to
  prohibit amounts of emissions from a “source or other emissions activity” that will “contribute
  significantly to nonattainment in, or interfere with maintenance by, any other State.” Thus, for
  Arkansas, EPA must consider whether an industry is actually a significant contributor to Arkansas’
  linked receptors, and it is arbitrary and unlawful for EPA to consider regulating an industry in
  Arkansas on some other basis (such as whether EPA considers an industry to be “Tier 1” or “Tier
  2” as a nationwide matter). For instance, EPA’s modeling suggests that for Arkansas, Pipeline
  Transportation of Natural Gas (a so called “Tier 1” industry) and Pulp, Paper, and Paperboard
  Mills (a so called “Tier 2” industry) are by far the industries where most of the emission reductions
  are expected to occur in Arkansas under the Proposed Rule, with potential reductions from Pulp,
  Paper, and Paperboard Mills dwarfing the amount of all other Tier 1 industries combined (other


  171
     See Non-EGU Screening Assessment at Figure 2 (identifying only IN, OH, and PA as having ozone season
  anticipated NOx reductions of more than 100 tons).
  172
        Proposed Rule at 20,099.


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  than “Pipeline Transportation of Natural Gas”). 173 Accordingly, EPA should avoid overcontrol and
  adhere to the statutory text by only regulating industries within a particular state which
  significantly contribute to that state’s linked receptors, rather than by whether EPA happens to
  classify the industry as “Tier 1” or “Tier 2” on a nationwide basis.
  XVI. There are Many Reasons to Conclude that the Proposed Rule Will Result in
       Impermissible Overcontrol, Specifically With Regard to Arkansas.
           The Supreme Court has held that when drafting regulations to enforce the Good Neighbor
  provision, “EPA cannot require a state to reduce its output of pollution by more than is necessary
  to achieve attainment in every downwind State or at odds with the 1% threshold the Agency has
  set” . Moreover, “if any upwind State concludes it has been forced to regulate emissions below the
  one percent threshold or beyond the point necessary to bring all down-wind States into attainment,
  that State may bring a particularized, as-applied challenge to the Transport Rule, along with any
  other as-applied challenges it may have.” Notably, these pronouncements were made in the
  context of an EPA rule which placed statewide emission budgets on states (thus allowing states to
  challenge those emission budget) and did not impose facility/emission unit level command-and-
  control limits like the Proposed Rule. By the same rationale, because the Proposed Rule attempts
  to impose facility/emission unit level command-and-controls on the purported basis of such
  controls being necessary to fulfill Good Neighbor provisions, the Proposed Rule will be subject to
  facility level challenges from any facility on the basis that EPA’s controls are more stringent than
  necessary to result in attainment of any downwind receptor to which the facility’s state is linked.
  Accordingly, EPA’s statement that any “claim that controls are not necessary to eliminate
  significant contribution would not suffice to justify an extension” is false; not only would such a
  claim justify an extension, but it should completely exempt such facilities from the Proposed
  Rule’s limits altogether, since the Good Neighbor provision only grants authority to prohibit
  emissions “in amounts which will . . . contribute significantly to nonattainment in, or interfere with
  maintenance by, any other State with respect to any such national primary or secondary ambient
  air quality standard.”
          There are many reasons to believe that the Proposed Rule results in impermissible
  overcontrols, especially with regard to the Brazoria County, Texas receptor which is the only
  receptor Arkansas is linked to, and thus the only basis EPA has identified for imposing non-EGU
  limits in Arkansas. 174
             A.      Brazoria Receptor Resolves Without Any Reductions from Arkansas and
                     Mississippi.
         To begin, the Brazoria County, TX receptor is a maintenance receptor, not a nonattainment
  receptor. To be sure, the courts have held that the Good Neighbor provision grants authority to
  prohibit not just amounts that will contribute significantly to nonattainment, but also those amount

  173
        Non-EGU Screening Assessment at Table 4.
  174
      While U.S. Steels comments in this section is limited to Arkansas, the same arguments could be made as it relates
  to the State of Mississippi, which is also linked solely to the receptor in Brazoria County, Texas.


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  that significantly “interfere with maintenance.” However, “As the Supreme Court stated, under the
  ‘interfere with maintenance’ prong, EPA may only limit emissions ‘by just enough to permit an
  already-attaining State to maintain satisfactory air quality.’ If States have been forced to reduce
  emissions beyond that point, affected parties will have meritorious as-applied challenges.” 175
        Brazoria is not just modeled to be a maintenance receptor; it is modeled to consistently
  improve and to be full attainment and non-maintenance before 2032, as shown below in EPA’s
  own modeling values predicted for the Brazoria receptor in the absence of the Proposed Rule 176:
   Site ID          ST      County      2016    2016    2023             2023    2026     2026     2032     2032
                                        Centere Centere Avg              Max     Avg      Max      Avg      Max
                                        d Avg   d Max
   4803910          TX      Brazori     74.7          77         70.1    72.3    69.1     71.2     67.7     69.8
   04                       a


          This is notably different from the scenario addressed by the D.C. Circuit in Wisconsin v.
  EPA, 938 F.3d 303, 326-27 (2019), when the court rejected a generalized argument that a state is
  necessarily overcontrolled if it is linked to only maintenance receptors yet subjected to the same
  control levels as states linked to nonattainment receptors. In the first place, that court rejected the
  claim before it because it was generalized, rather than alleging an as-applied challenge to a specific
  instance of overcontrol, and because the rule at issue in that case was not expected to fully satisfy
  upwind States’ Good Neighbor responsibilities. 177 But neither of those apply here, to this
  particularized instance of overcontrol at the Brazoria receptor, in the context of a Proposed Rule
  designed to fully satisfy upwind States’ Good Neighbor responsibilities. Additionally, the court in
  Wisconsin noted that ‘‘the possibility of failing to maintain the NAAQS in the future, even in the
  face of current attainment of the NAAQS, is exactly what the maintenance prong of the Good
  Neighbor provision is designed to guard against.’’ 178 But here, by contrast, the Brazoria County,
  Texas receptor is not modeled to continue to be a maintenance monitor in danger of slipping to
  nonattainment, instead it is modeled to trend in the opposite direction, going out of maintenance
  into full attainment without any application of the Proposed Rule. 179 For this specific receptor, it
  would thus result in overcontrol to require the draconian NOx reductions required in the Proposed
  Rule for the states linked only to this receptor.

  175
     EME Homer City Generation, L.P. v. E.P.A., 795 F.3d 118, 137 (D.C. Cir. 2015) (quoting EPA v. EME Homer
  City Generation, L.P., 572 U.S. at 515 n.18).
  176
        Air Quality Modeling Technical Support Document at Appendix B, B-3.
  177
        Wisconsin v. EPA, 938 F.3d 303, 327 (2019).
  178
        Wisconsin v. EPA, 938 F.3d 303, 326 (2019) (quoting 81 Fed. Reg. at 74,531).
    Note also that this conclusion is not affected by potential future industrial growth in upwind states, both because
  179

  EPA already accounted for anticipated future emission inventory changes, and because any new major sources must
  undergo PSD evaluations to ensure they do not adversely affect any NAAQS compliance.


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          B.       EPA’s Modeling Significantly Underestimates Reductions Associated with the
                   Proposed Rule, Instead Demonstrating that Downwind Linked Receptors are
                   Resolved by Significantly Less Stringent Non-EGU Controls than the Proposed
                   Rule
          As explained in more detail below, the modeling used to conclude that the Proposed Rule
  does not result in overcontrol, specifically at the Brazoria receptor, is based on estimated
  reductions from each covered non-EGU sector in each state which are far smaller than the emission
  reductions that would be imposed by the limits in the Proposed Rule. Because EPA’s screening
  assessment shows that sources in Arkansas can reduce emissions sufficiently to bring the Brazoria
  receptor into full attainment without consideration of numerous excluded facilities (including U.
  S. Steel’s BRS and EV facilities) and without installing SCR on any EAF or other emission units
  at iron and steel facilities in Arkansas, EPA’s decision to nonetheless require stricter emission
  controls than modeled, on more facilities than modeled, means that the Proposed Rule’s emissions
  limits must result in overcontrol. And because there is substantial overcontrol in Arkansas, all the
  Proposed Rule’s emission limits on non-EGUs (including U. S. Steel’s BRS and EV facilities) are
  arbitrary and capricious because there is no way to determine which limits are necessary to avoid
  interference with maintenance at the Brazoria receptor.
          More specifically, the Proposed Rule relies on the non-EGU Screening Assessment as the
  basis for the Proposed Rule’s evaluation of reductions associated with the Proposed Rule. 180 But
  EPA drafted this screening assessment before it had performed the air quality modeling underlying
  the Proposed Rule, and as a result, used a different emission inventory than the emission inventory
  prepared for the rest of the Proposed Rule. 181 The docket includes a technical support document
  dedicated to explaining that the non-EGU Screening Assessment was not even designed to capture
  the facilities that would actually be subject to the Proposed Rule. 182 In EPA’s words “Using the
  emissions thresholds and other factors laid out in the Screening Assessment, EPA generated a
  preliminary list of non-EGU facilities and emissions units to inform the development of the
  Proposed Rule. The list of non-EGU facilities and emissions units generated during the Screening
  Assessment did not constitute a determination by EPA that the identified non-EGU facilities and
  emissions units are covered by the Proposed Rule. The information on facilities and emissions
  units provided in the Screening Assessment is likely not a complete listing of the non-EGU

  180
     Proposed Rule at 20,056 (“Section III of the Non-EGU Screening Assessment memorandum in the docket for this
  rulemaking describes EPA’s approach to evaluating impacts on downwind air quality, considering estimated total,
  maximum, and average contributions from each industry and the total number of receptors with contributions from
  each industry.”).
  181
      Non-EGU Screening Assessment at 2 n.2 (“We used the [Revised CSAPR Update] air quality modeling for this
  screening assessment because the air quality modeling for the Proposed Rule was not completed in time to support
  this assessment.”).
  182
      See “Technical Memorandum Describing Relationship between Proposed Applicability Criteria for Non-EGU
  Emissions Units Subject to the Proposed Rule and EPA’s ‘Screening Assessment of Potential Emissions Reductions,
  Air Quality Impacts, and Costs from Non-EGU Emissions Units for 2026’” (Memo re Relationship of Proposed Rule
  to Screening Assessment).


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  facilities and emissions units potentially covered by the Proposed Rule.” In other words, when
  EPA performed its modeling to evaluate potential emission reductions, EPA did not include the
  facilities that would be subject to the Proposed Rule, nor the limits that would actually apply to
  the emission units at those sources.
          As a result, this “preliminary list of non-EGUs” notably omits many facilities that would
  be impacted by the Proposed Rule, and significantly underestimates the emission reductions from
  some it does include. For instance, in Arkansas, the Non-EGU Screening Assessment included a
  single emission unit at Nucor-Yamato as the only unit evaluated from the Iron and Steel industry,
  resulting in reductions of only 6 ozone season tons (15tpy) estimated from the entire iron and steel
  industry in Arkansas. 183 This absurdly underestimates the reductions that the Proposed Rule would
  require in Arkansas alone for multiple reasons:
             •    Even at the one steel mill in Arkansas included in the non-EGU Screening Assessment,
                  the Nucor unit is listed as having annual NOx emissions of only 19tpy. 184 But given
                  that the screening assessment claims to only evaluate emission units with a potential to
                  emit over 100tpy of NOx, this is an error (whether a typo, a selection of the wrong unit
                  at the facility or otherwise). Either way, the Proposed Rule would decrease the
                  permitted lb/ton NOx rate for this facility’s (Nucor) EAFs from the current permit limit
                  of 0.38 lb/ton 185 to the Proposed Rule limit of 0.15 lb/ton (i.e., a 0.23 lb/ton reduction).
                  At an average steel production rate of 500 tons per hour 186 times 3,672 hours per ozone
                  season, 187 that represents a potential reduction of up to 422,280 lb (i.e. 211.14 ozone
                  season tons) from this facility’s EAFs alone;
             •    Furthermore, the screening assessment completely omits the existing U. S. Steel’s BRS
                  facility (despite the fact that EPA was surely aware of it since EPA used the facility
                  permit as one of the bases for the Annealing Furnace lb/mmBtu limit in the Proposed
                  Rule). 188 At BRS alone, the Proposed Rule would decrease the permitted lb/ton NOx
                  rate for each of the facility’s two EAFs by up to 50%, by reducing the current permit



  183
     See excel file titled “Screening Assessment Non-EGU Facility and Emission Unit Limits List,” which states that
  “This file provides the list of facilities in 23 states that EPA evaluated in the Technical Memorandum: Screening
  Assessment of Potential Emissions Reductions, Air Quality Impacts, and Costs from Non-EGU Emissions Units for
  2026.”; see also non-EGU Screening Assessment at Figure 2 (estimating a total of 1,654 ozone season tons NOx
  reduction from Arkansas, only 6 of which come from the Iron and Steel industry in Arkansas for) and compare also
  Proposed Rule at 20,090 (carrying through the non-EGU Screening Assessment without further analysis).
  184
        See excel file titled “Screening Assessment Non-EGU Facility and Emission Unit Limits List”.
  185
      See Nucor-Yamato Steel Company permit no. 0083-AOP-R17, available at
  https://www.adeq.state.ar.us/downloads/WebDatabases/PermitsOnline/Air/0883-AOP-R17.pdf
  186
        See Nucor-Yamato Steel Company permit no. 0083-AOP-R17 at 3.
  187
        153 days in Ozone Season of May-September times 24 hours per day.
  188
        Proposed Rule at 20,145.


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                 limit of 0.3 lb/ton 189 to the Proposed Rule limit of 0.15 lb/ton. At a presumed capacity
                 of 250 tons/hr each, 190 times 3,672 hours per ozone season, 191 that represents a
                 reduction of up to 275,400 lb (i.e. 137.7 ozone season tons) from the facility’s two
                 existing EAFs alone; 192
             •   U. S. Steel’s BRS and Nucor-Yamato are just two of the four Iron and Steel facilities
                 in Arkansas identified by EPA in the modeling used to develop a base case for the
                 Proposed Rule. 193 Accordingly, the screening assessment wholly ignored the reductions
                 the Proposed Rule would force at those other facilities as well.
          Notably, this underestimation issue applies beyond Arkansas as well; in fact only one U.S.
  Steel facility nationwide was accounted for in the screening assessment at all. 194
          By contrast, EPA did include many sources that were not included in the non-EGU
  Screening Assessment (including U. S. Steel’s BRS facility) when later modeling the base case of
  emissions for the Proposed Rule. 195 The net result is that EPA accounted for NOx emission from
  the U. S. Steel BRS facility when it collectively estimated the impacts of Arkansas as a whole on
  the Brazoria County, Texas receptor, but not when calculating the reductions expected from non-
  EGUs from Arkansas as a result of the Proposed Rule. The only conclusion that can be reached is
  that EPA significantly underestimates the reductions that the Proposed Rule would require. 196 And
  the fact that this underinclusive modeling was used as the basis for concluding that the Proposed
  Rule does not result in overcontrol renders EPA’s conclusions regarding overcontrol both in
  general, and especially with respect to Arkansas, arbitrary and capricious.



  189
     See Big River Steel Permit No. 2305-AOP-R7, available at
  https://www.adeq.state.ar.us/downloads/WebDatabases/PermitsOnline/Air/2305-AOP-R7.pdf
  190
        Big River Steel Permit No. 2305-AOP-R7, at 68.
  191
        153 days in Ozone Season of May-September times 24 hours per day.
  192
     As noted, other units, including most notably the LMF, vents to the same canopy as the EAF, and U. S. Steel’s
  BRS facility air permit provides a combined lb/hr rate for each EAF/LMF combination. Accordingly, the amount of
  emission reductions expected by the rule will in some part depend on whether facilities are required to show decreases
  from an EAF alone (which is not technically feasible given that any CEMS in the exhaust will be measuring combined
  emissions of the EAF and LMF), or instead allows compliance to be demonstrated based on the sum of the proposed
  limits for EAFs and LMFs or some other mechanism. But in any case, the emission reductions would be far above
  those estimated in the non-EGU Screening Assessment.
  193
     See excel file in regulatory docket titled “Summaries of point source emissions used in aqm _att 4 - ptnonipm
  facility 16 17 18 19 23 26 32 comp 29sep2021”.
  194
     See excel file in regulatory docket titled “Screening Assessment Non-EGU Facility and Emission Unit Limits List,”
  (identifying only the Clairton Works facility in Allegheny County PA).
  195
     See excel file in regulatory docket titled “Summaries of point source emissions used in aqm _att 4 - ptnonipm
  facility 16 17 18 19 23 26 32 comp 29sep2021” (listing NOx emissions for BRS facility for 2017, 2018, and 2019).
  196
      This assumes for the sake of argument that the reductions required by the Proposed Rule are even possible, as
  addressed herein under the section regarding feasibility.


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          Rather than take the next step and attempt to estimate what reductions would be associated
  with the Proposed Rule’s command-and-control limits for the iron and steel industry, EPA instead
  just used the statewide emission reductions from the severely underinclusive non-EGU Screening
  Assessment as the basis for EPA’s estimate of state-by-state expected NOx reductions, which then
  formed the basis of EPA’s conclusion that the rule does not result in overcontrol. 197 Put another
  way, it appears that EPA’s own modeling concluded that even the severely underestimated non-
  EGU emission reductions would be sufficient to pull the Brazoria County, Texas receptor into
  attainment. 198 Accordingly, if EPA nonetheless requires the emission limits in the Proposed Rule,
  which will result in reduction in NOx emissions far above what EPA modeled to result in
  attainment for the Brazoria receptor (only 6 ozone season tons), EPA is overcontrolling in violation
  of the Supreme Court’s mandate that “under the ‘interfere with maintenance’ prong, EPA may
  only limit emissions ‘by just enough to permit an already-attaining State to maintain satisfactory
  air quality.’” 199
             C.       The Proposed Rule Fails to Account for Enforceable Closures of EGUs Which
                      Will Result in Overcontrol if Non-EGUs in Arkansas to Subjected to Regulation
          EPA fails to account for enforceable closures of multiple EGU units in Arkansas, which,
  as explained below, will eliminate more NOx contribution from the State of Arkansas than the
  entirety of all reductions the Proposed Rule seeks from Arkansas. Accordingly, requiring the
  Proposed Rule’s limits for non-EGUs on top of these closures will result in overcontrol.
         The following three Entergy power plants are subject to closure pursuant to settlement
  agreements soon after the 2015 Ozone NAAQS serious attainment deadline of August 2027, and
  years before the final attainment date under the 2015 Ozone NAAQS of August 2033 for severe
  nonattainment 200:




  197
     Proposed Rule at 20,098 (“using the Ozone AQAT, the EPA first evaluated whether reductions resulting from the
  selected control stringencies for EGUs in 2023 and 2026 combined with the emissions reductions selected for non-
  EGUs in 2026 can be anticipated to resolve any downwind nonattainment or maintenance problems (see the Ozone
  Policy Analysis Proposed Rule TSD for details on the construction and application of AQAT).”); see also Policy
  Analysis TSD at 34, noting that for non-EGUs, estimated reductions at receptors was based on the non-EGU
  assessment (“In the ozone AQAT, EPA links state-by-state NOX emission reductions (derived from the photochemical
  model, the non-EGU assessment and/or the IPM EGU modeling combined with the EGU engineering assessment)
  with 2026 CAMx modeled ozone contributions in order to predict ozone concentrations at different levels of emission
  levels at monitoring sites.”) (emphasis added); see also Proposed Rule at 20090 (carrying through the non-EGU
  Screening Assessment estimates of state-by-state potential NOx reductions without further analysis);
  198
     Non-EGU Screening Assessment at Table 3 (concluding that Tier 1 industry reductions estimated from the
  Screening Assessment alone would result in attainment for Brazoria receptor); see also 20,098 (parroting result of
  underinclusive Screening Assessment with regard to the Brazoria Receptor).
  199
     EME Homer City Generation, L.P. v. E.P.A., 795 F.3d 118, 137 (D.C. Cir. 2015) (quoting EPA v. EME Homer
  City Generation, L.P., 572 U.S. at 515 n.18).
  200
        https://www.arkansasonline.com/news/2021/mar/12/in-settlement-power-plants-to-shut-by-30/


                                                          64
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                  •   50-year-old natural gas units at Lake Catherine by the end 2027 (permitted for
                      53,000tpy of NOx, 201 actual 2019 ozone season emissions of 173 tons 202)
                  •   Coal-fired White Bluff Power Plant by the end of 2028 (permitted for 53,000tpy of
                      NOx, 203 actual 2019 ozone season emissions of 2,908 tons 204)
                  •   Coal-fired Independence Power Plant by the end of 2030 (permitted for 53,000tpy
                      of NOx,205 actual 2019 ozone season emissions of 2,845 tons 206).
          Notably, in the Proposed Rule, EPA found that the Proposed Rule constitutes a full
  satisfaction of Good Neighbor obligations based on only 1,654 total statewide ozone season tons
  reduction from non-EGUs in Arkansas. 207 Accordingly, the closure of White Bluff alone in 2028
  or earlier will reduce statewide emissions by almost double the amount that EPA considers
  sufficient to resolve Arkansas’ Good Neighbor obligations, making any control of non-EGUs at
  that point an impermissible overcontrol unnecessary to satisfy Arkansas’ Good Neighbor
  obligations.
          Furthermore, these facilities are much closer to the Brazoria County, Texas and are more
  likely to interfere with that receptor than are the U. S. Steel BRS and EV facilities.
           Although these enforceable closures are not scheduled to occur prior to EPA’s proposed
  2026 deadline for non-EGUs to comply with the Proposed Rule, that is not a reasonable excuse
  for failing to take them into account, at least with respect to Arkansas, for at least two reasons.
             1. As further discussed herein in the comment section on timing, EPA’s selection of a
                compliance deadline of 2026 is based on deadlines applicable to downwind
                nonattainment regions, and thus it is not necessary or reasonable to require the same
                deadline where only attaining maintenance receptors are affected, as is the case with
                Arkansas which is linked solely to the Brazoria County, Texas receptor, which as
                previously discussed above, is predicted to be in attainment (but still maintenance) by



  201
        Permit available at https://www.adeq.state.ar.us/downloads/WebDatabases/PermitsOnline/Air/1717-AOP-R9.pdf
  202
     See EPA’s power plant dataviewer (most recent data from 2019), available at
  https://www.epa.gov/airmarkets/power-plant-data-viewer
    Permit available at https://www.adeq.state.ar.us/downloads/WebDatabases/PermitsOnline/Air/0263-AOP-
  203

  R16.pdf
  204
     See EPA’s power plant dataviewer (most recent data from 2019), available at
  https://www.epa.gov/airmarkets/power-plant-data-viewer
    Permit available at https://www.adeq.state.ar.us/downloads/WebDatabases/PermitsOnline/Air/0449-AOP-
  205

  R17.pdf
  206
     See EPA’s power plant dataviewer (most recent data from 2019), available at
  https://www.epa.gov/airmarkets/power-plant-data-viewer
  207
        Proposed Rule at 20,090.


                                                          65
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                  2023, to improve even further by 2026, and be full attainment (i.e., no longer
                  maintenance) by or before 2032. 208
             2. The Proposed Rule suggests exempting EGUs from the backstop daily rates otherwise
                applicable to EGUs in 2026, so long as the EGUs close by 2028, 209 effectively treating
                2028 as the effective compliance deadline where EGU closures are concerned. 210 EPA
                raises many good reasons for considering 2028 given the many changes relevant to air
                quality that will occur in 2028, including EGU closures in response to new Clean Water
                Act effluent guidelines and the coal combustion residuals rule under the Resource
                Conservation and Recovery Act, and the fact that “2028 also represents the end of the
                second planning period under the Regional Haze program, and thus is a significant year
                in states’ planning of strategies to make reasonable progress towards natural visibility
                at Class I areas.” 211 Notably, EPA proposes to allow EGUs to postpone limits until
                2028 even in states actually tied to a nonattainment downwind receptor (unlike
                Arkansas), which are under an obligation to resolve their linkage by the time of
                downwind states’ attainment deadline pursuant to Wisconsin v. EPA. 212 Given all of
                these emission reductions anticipated in 2028, and EPA’s consideration of these factors
                in postponing compliance deadlines from 2026 to 2028 in the context of EGU closures,
                EPA should also take into account closures anticipated by 2028 (including the White
                Bluff plant in Arkansas) in evaluating the need to regulate non-EGUs.
          Given the fact that EPA already identified changes in 2028 as reasonable to consider in
  setting compliance obligations (including even for States that are predicted to have impacts on
  nonattainment areas beyond 2026), the fact that Arkansas is not linked to any nonattainment
  receptor that requires an obligation to resolve the linkage by the time of the downwind state’s
  attainment deadline, and the fact that the closure of White Bluff Power Plant in 2028 would alone
  eliminate more emissions than EPA models are needed from all non-EGUs combined in Arkansas
  to ensure attainment at the Brazoria receptor, it would constitute impermissible overcontrol of the
  Brazoria receptor to subject non-EGUs in Arkansas to the Proposed Rule.
  XVII. EPA Fails to Demonstrate that the Proposed Limits and the Theoretical Controls
        They are Based on Are Technically Feasible.



  208
        Air Quality Modeling Technical Support Document at Appendix B, B-3.
  209
     EPA’s flexibility around the 2026 deadline for EGUs also extends to facilities which will not shut down in 2028,
  as EPA proposes to not require unit specific backstop emission rates until 2027 for facilities that do not already have
  SCR installed. See Proposed Rule at 20,111-12.
  210
        Proposed Rule at 20,122.
  211
        Proposed Rule at 20,122.
  212
     Notably even EPA relies on not being required to achieve the impossible. See Proposed Rule at 20062
  (“implementing good neighbor obligations beyond the dates established for attainment may be justified on a proper
  showing of impossibility or necessity.”).


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           As explained above in Section II., when applying RACT, which Congress has made the
  express determination is the appropriate level of control when addressing Ozone NAAQS
  nonattainment, and which EPA claims it meant to follow in developing the Proposed Rule, EPA
  must demonstrate that the proposed limits are both technically and economically feasible on a
  facility and unit specific basis. And even stricter standards like BACT still require an analysis of
  technical and economic feasibility. And in any case, EPA has an independent “duty to examine
  [and justify] key assumptions as part of its affirmative ‘burden of promulgating and explaining a
  non-arbitrary, non-capricious rule. . . .’” 213 and EPA may not “promulgate rules on the basis of
  inadequate data, or on data that, to a critical degree, is known only to the agency.” 214 And thus
  EPA’s assumptions regarding feasibility in the Proposed Rule must be adequately justified.
          The comments in this section are specifically tailored to EAFs because those are the only
  furnaces used at U. S. Steel’s Arkansas facilities with a potential to emit more than 100tpy of NOx,
  and thus are the only units the Proposed Rule would apply to, since the Proposed Rule only
  aggregates emissions for the purposes of applicability in the case of a BOF Shop (which would
  not apply to an EAF given that EAFs and BOFs are different processes, as noted throughout these
  comments, and throughout the Proposed Rule and its supporting materials). If EPA changes course
  in the final rule and expands the applicability of the limits in the Proposed Rule, we reserve our
  right to challenge such applicability and/or provide additional comments regarding any other such
  units EPA may extend applicability to. In any case, many of the following comments also apply
  to the other furnace types covered by the rule since EPA has not conducted an adequate feasibility
  analysis for any iron and steel industry emission unit sought to be regulated under the Proposed
  Rule.
             A.       The Controls EPA Bases the Proposed Iron and Steel Industry Emission Limits
                      on Have Never Been Demonstrated in Practice, and EPA’s Analysis of Feasibility
                      is Provides Zero Basis to Conclude that They Could be Technically Feasible.
          EPA expressly acknowledges that the emission limits for the iron and steel industry,
  including but not limited to furnaces, are below anything that has ever been achieved in the
  industry, expressly noting that EPA reviewed permits to find the best performing sources, then
  requires reductions below what the most stringent existing permits require. The only basis EPA
  provides for assuming that such reductions are possible is that EPA “[a]ssumes 25% reduction by
  SCR” for steel mill EAFs. 215 But none of EPA’s underlying documentation or data ever evaluate
  the technical feasibility of retrofitting SCR on steel mill EAFs, or the level of emission reductions
  available from such a retrofit on an EAF. Simply put, not everything is equivalent to a coal-fired
  powerplant even though EPA’s technical support document incorrectly makes that assumption.
         With regard to the technical feasibility of installing an SCR on an EAF, the Proposed Rule
  does not point to any steel mills that have successfully installed SCRs on an EAF, nor is U.S. Steel
  213
        Appalachian Power Co. v. EPA, 328 U.S. App. D.C. 379, 135 F.3d 791, 818 (1998).
  214
        Portland Cement Ass’n v. Ruckelshaus, 158 U.S. App. D.C. 308, 486 F.2d 375, 391-93 (1973).
  215
        Proposed Rule at 20,145.


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  aware of any EAF facility to have successfully done so in the world (and there are good reasons
  for this, as explained in the following subsection). 216 The BRS facility underwent PSD review in
  2013 and the new EV facility underwent PSD review in 2021. BACT analyses were submitted
  with both applications. EPA provided comments on the draft BRS permit in 2013 but did not
  comment on the 2021 application. In both instances, the application of SCR was eliminated from
  consideration because the technology is not technically feasible. Other PSD permits issued to
  EAFs in recent years, all subject to review and comment by EPA, reach similar conclusions.
  Furthermore, EPA has specifically concluded in the past that “the use of electricity to melt steel
  scrap in the EAF transfers NOx generation from the steel mill to a utility power plant. There is no
  information that NOx emissions controls have been installed on EAF’s or that suitable controls
  are available.” 217
          EPA is required to “provide a more detailed justification than what would suffice for a new
  policy created on a blank slate” when it promulgates a “new policy [which] rests upon factual
  findings that contradict those which underlay its prior policy” and an “Agency may not . . . depart
  from a prior policy sub silentio.” 218 There can be little question that the Proposal both departs from
  prior positions without rationale, and contradicts factual findings underlying its prior policies:
              1. EPA abandons its own edict that each unit must be assessed “on an individual basis to
                 determine whether SCR is a feasible control technology” 219—EPA has not provided
                 any feasibility analysis for steel mill EAFs generally, let alone for each EAF “based on
                 its site-specific characteristics.” In fact, the very document which the Proposed Rule
                 cites as the basis for concluding that SCR will reduce emissions from EAFs 220 expressly
                 states that “This screening assessment is not intended to be, nor take the place of, a
                 unit-specific detailed engineering analysis that fully evaluates the feasibility of retrofits
                 for the emissions units, potential controls, and related costs. We used CoST to identify
                 emissions units, emissions reductions, and costs to include in a proposed FIP; however,


  216
      In connection with the preparation of these comments, U.S. Steel consulted extensively with SMS Group, which
  is one of the world’s leading suppliers of technology in the iron and steel industry and is the main technology
  provider for EAFs and other steelmaking equipment at U.S. Steel’s BRS and EV facilities. According to the SMS
  Group, it is aware of no facilities in the world where SCR technology has been installed to control NOx emissions
  from steel mill EAFs. Black and Veatch’s discussion with SCR vendors confirms this conclusion.
  217
     Alternative Control Techniques Document – NOx Emissions From Iron and Steel Mills (EPA-453/R-94-065)
  (September 1994), at pg. 5-23; See also Point and NonPoint NOx Menu of Control Measures, at 15-16 (2012) (only
  identifying post combustion NOx controls as feasible for certain furnace types in the iron and steel industry, but not
  for electric arc furnaces). Note that there are natural gas burners used to assist the process, but these are responsible
  for less than 30% of the NOx emissions associated with an EAF, with the bulk of emissions being associated with
  the electric arc process, which is not a combustion process. Furthermore, the burners used are already low-NOx such
  that further emission reductions from burner replacements cannot be assumed to be feasible.
  218
        FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515-16, 129 S. Ct. 1800, 1811 (2009).
  219
        EPA Comments to Cost Estimate Manual, SCR Chapter, pg. 9, 13-14.
  220
      Proposed Rule at 20,146 citing the “non-EGU screening assessment” as the basis for estimated “reductions of 20
  to 50 percent” for iron and steel mills.


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                 CoST was designed to be used for illustrative control strategy analyses (e.g., NAAQS
                 regulatory impact analyses) and not for unit-specific, detailed engineering analyses.”221
             2. EPA has not provided any justification for its newfound belief that SCR is a feasible
                control for steel mill EAFs. Specifically, the Proposed Rule does not detail what if any
                relevant change to EAF or SCR technology has occurred since 1994 which would make
                SCR technically feasible NOx control for an EAF. 222
             3. EPA has historically refused to adopt unproven applications of technologies even in
                other programs where EPA has broad authority to require NOx reductions. 223
          Despite these past practices and findings, EPA nonetheless skips any analysis of unit
  specific feasibility, or even technical feasibility for EAFs in general, while nonetheless imposing
  limits that expressly presuppose such feasibility.
           With regard to emission reductions expected, the Proposal purports to base its assumption
  of “reductions of 20 to 50 percent” for iron and steel mills “on the selection of SCR, SNCR, and
  burner replacement in the non-EGU screening assessment.” 224 But the non-EGU screening
  assessment never assessed emission reductions associated with installation of an SCR at a single
  EAF. 225 And for newer facilities like U.S. Steel’s BRS or EV facilities, which have undergone
  BACT review in recent years, low NOx burner technology is already in place. EPA does not
  explain or acknowledge this disconnect and provides no other rationale for why an SCR (or other
  technologies) can be assumed to reduce NOx emissions on an EAF by more than 20%-50%.
  Because the Proposed Rule’s assertion that steel mill EAFs can achieve required emission limits
  by installing SCRs or other technologies is unsupported by the screening assessment on which
  EPA purports to base its assumptions, the Proposed Rule is arbitrary and capricious since “the
  agency has failed to ‘examine the relevant data’ or failed to ‘articulate a rational explanation for
  its actions.’” 226 Nor does EPA attempt any facility or emission unit level analysis of whether the

  221
        Non-EGU Screening Assessment at 7.
  222
     Alternative Control Techniques Document – NOx Emissions From Iron and Steel Mills (EPA-453/R-94-065)
  (September 1994), at pg. 5-23.
    E.g., “Acid Rain Program; Nitrogen Oxides Emission Reduction Program,” 61 Fed. Reg. 67,112, 67,151 (December
  223

  19, 1996) (In the context of setting NOx emissions under the Title IV Acid Rain program, finding “The AEP
  demonstration of retrofitting a two-stage OFA system to a wet bottom boiler has not proved to be successful as yet.
  Thus, EPA does not find this technology to be the best system of continuous emission reduction for wet bottom boilers
  and is not using the technology to establish a NOx emission limit for wet bottom boilers in this rulemaking.”)
  224
        Proposed Rule at 20146; Non-EGU Sectors TSD at 43.
  225
     Non-EGU Screening Assessment at Table 6 (only identifying SCR as a control technology evaluated for BOF,
  Blast Furnace, and Sintering processes in the Iron and Steel Industry). In fact, Table 6 reveals that the non-EGU
  Screening Assessment did not include analysis of any controls at any EAF at all (unless the EAF was for some reason
  classified as “Industrial Process – General” of “Industrial Process – Other Not Classified,” neither of which was
  evaluated for SCR in any case).
    Genuine Parts Co. v. EPA, 890 F.3d 304, 311-12, 435 U.S. App. D.C. 338 (D.C. Cir. 2018) (quoting Carus Chem.
  226

  Co. v. EPA, 395 F.3d 434, 441, 364 U.S. App. D.C. 339 (D.C. Cir. 2005)).


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  technology required would actually reduce NOx emissions. This is in notable contrast to prior
  rulemakings, where EPA at least attempted to consider levels of emission reductions that might be
  achieved at individual non-EGU facilities in light of the feasibility of control installation if they
  were subjected to Good Neighbor regulations. 227 EPA’s failure to conduct emission unit-specific
  assessments of technically feasible emission reductions for the non-EGUs EPA subjects to the
  emission limits under Proposed Rule is particularly arbitrary in light of EPA’s treatment of
  California’s EGUs, which EPA proposes to exempt from the Proposed Rule based on a facility or
  emission unit specific analysis that significant additional potential emission reductions from the
  relevant EGU would not be technically feasible, 228 an analysis EPA refused to conduct for any
  other facility nationwide.
          Finally, it is not even clear that EPA based its assumption regarding EAF lb/ton limits
  currently achieved in practice on a review of solely facilities that have EAFs. For most of the other
  iron and steel furnace types, EPA identifies which facility permit or state RACT limit EPA
  reviewed and used as a basis for identifying a lb/ton efficiency limit currently achieved for that
  furnace type, which EPA assumes could be lower by use of SCR. 229 But for EAFs, EPA does not
  identify any facility permit by name, instead the Proposed Rule vaguely states that EPA found
  “Example permit limits at around 0.2 lb/ton” 230 The Non EGU Sectors TSD further states that, for
  EAFs, “EPA considered a range of baseline emission data and permit limits from mini mills,
  integrated iron and steel facilities, and ferroalloy facilities ranging from 0.20 lb/ton to 0.35
  lb/ton.”231 Because integrated iron and steel facilities generally use Blast Furnaces and BOFs and
  not EAFs, and ferroalloy facilities do not use EAFs 232 this suggests that EPA looked at non-EAF
  units as a basis for setting the NOx emission limits for EAFs in the Proposed Rule. 233 To the extent
  that EAFs at a given facility have an emission rate higher than 0.2 lb/ton identified by EPA, then
  the SCR control technology proposed by EPA, even if technically feasible to install (which it is
  not), would have to be shown to be capable of reducing emissions by greater than 25% to justify
  EPA’s assumption that the proposed limits are possible to achieve. For instance, at a facility

  227
     See non-EGU emissions reduction assessment prepared for the Revised Cross State Air Pollution Rule Update,
  available at www.regulations.gov/document/EPA-HQ-OAR2020-0272-0014
  228
        Proposed Rule at 20,088.
  229
        See Proposed Rule at 20,145.
  230
        See Proposed Rule at 20,145.
  231
        Non-EGU Sectors TSD at 43.
  232
      See Proposed Rule at 20181 (defining an “Electric Arc Furnace” as only those furnaces “equipped with
  electrodes used to produce carbon steels and alloy steels primarily by recycling ferrous scrap.”).
  233
     To the extent EPA based the 0.2 lb/ton limit off of the Title V Operating Permit issued to Timken Faircrest in
  North Canton, OH, there is no such enforceable limit in this permit. The permit establishes a monthly NOx
  emission limit of 10.833 tons/month averaged over a 12-month basis. See
  http://wwwapp.epa.ohio.gov/dapc/permits_issued/1448372.pdf . Such a limit is not the same as a 0.2 lb/ton limit
  averaged over a 3-hour or even 30-day period, particularly since the compliance demonstration is based upon a stack
  test performed in 2006 (as opposed to the Proposed Rule, which would require compliance demonstrations based
  upon CEMs).

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  achieving 0.3 lb/ton with low NOx burners, an SCR would have to be capable of reducing NOx
  by at least another 50% for the 0.15 lb/ton limit to be possible to achieve.
            In addition, while it is true that EPA was able to avoid considerations of unit specific
  feasibility in prior Good Neighbor rulemakings and simply focus on “fleet average” characteristics,
  that is only accurate because all such prior rulemakings were based on emission trading schemes
  with statewide budgets, rather than imposing emission limits on a unit specific basis as it now
  proposes to do for the first time ever under the Proposed Rule. Even EPA’s prior rulemakings
  acknowledged that that “unit-specific short-term emission rates pose significant implementation
  and rulemaking challenges,” and if EPA were “to choose to implement a unit-specific emissions
  rate regime for implementation, the compliance flexibility afforded by emissions trading would
  not be available and it would not be possible to rely on fleet average information to the same extent
  . . . .” 234 . Thus, EPA cannot evade unit specific feasibility analysis by merely pointing to past
  rulemaking while ignoring this fundamental difference between an emissions trading program and
  command-and-control emission limits it seeks to impose on the iron and steel industry. This is
  especially important where proposed limits begin reaching or exceeding limits of technological
  feasibility. If EPA wishes to impose emissions limits on a unit specific basis under the Good
  Neighbor provision of the Clean Air Act, at a minimum, EPA must address the technical feasibility
  of emission limits on an emission unit basis. 235



  234
        Id.
  235
      The comments in this section are specifically tailored to EAFs because those are the only emission units used at
  U. S. Steel’s Arkansas facility (BRS and the EV facilities) with a potential to emit more than 100tpy of NOx.
  However, these same comments also apply to the other furnace types covered by the Proposed Rule since EPA has
  not conducted any adequate feasibility analysis for any such furnaces, only identifying a coal-fired annealing
  furnace as the only furnace type at which an SCR has been demonstrated, and not attempting any facility level
  feasibility analysis for any furnace type or facility subject to the Proposed Rule. And EAFs are not at all like
  annealing furnaces. Furthermore, other furnace types have their own unique considerations that would make SCR,
  SNCR or other controls like low NOx burners not technically feasible; for example, NOx emissions from vacuum
  degassers are caused only by the control device itself (the flare), and involve very low total emissions of NOx
  (permitted at 2tpy at U. S. Steel Arkansas facilities), and SCR (or SNCR or any other post-combustion controls) has
  not been demonstrated to be technically possible let alone feasible or cost effective on either a flare or on such low
  emission levels. Additionally, the tunnel furnace at the U. S. Steel BRS facility operates at a far higher temperature
  than SCR can feasibly operate at (over 1000 degrees) (and under what an SNCR can accommodate), and iron oxide
  scale generated from the slabs rolling over the rollers would bombard any catalyst installed, plugging it and reducing
  its efficiency and life, and furthermore each time that the door opens to accept a new shuttle there is a sudden
  increase in air input, causing discontinuity to fluegas airflow which can in turn lead to additional ammonia slip, and
  even if possible to retrofit, any retrofit would not be cost justified for a source that is under 100tpy of potential NOx
  emissions, and is already equipped with low-NOx burners such that further reductions based on burner replacement
  cannot be assumed. Furthermore, although some annealing furnaces may be larger stacked units, many annealing
  furnaces such as those at the U. S. Steel Arkansas facilities are small (under 6 tpy potential to emit) and only
  intermittently operated batch processes that are not even stacked, and thus are not amenable to control by CEMS,
  SCR or other post-combustion control. Also, to the extent SCR is not technically feasible to install in the vents from
  the EAF, they will likewise necessarily not be feasible to install for any of the small supporting units in the meltshop
  (including ladle/tundish preheaters, and ladle metallurgy furnaces), since those units do not have independent stacks
  and instead vent to the same canopy collecting emissions from the EAF. To the extent EPA makes any applicability

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           B.       There are Many Reasons to Conclude that SCR is Not Technically Feasible for
                    EAFs, and/or Would Not Result in the Emission Reductions Assumed by EPA.
           There are good reasons why no EAF has ever demonstrated SCR controls in practice –
  there are many technical issues which could either render installation infeasible or would prevent
  the SCR from generating the emission reductions it may have in other contexts. This section
  summarizes many such issues and is informed by BRS’ discussions with one of the largest
  worldwide designers and providers of EAF technology, the SMS Group, and a principal designer
  of EAF technology utilized at the BRS and EV facilities (“BRS/EV facility”). Neither the SMS
  Group nor the SCR vendors consulted by Black & Veatch are aware of any EAF steelmaking
  facility in commercial operation that has successfully installed SCR to control NOx. The attached
  memorandum from Black & Veatch, an engineering firm with actual experience designing and
  installing SCR systems at EGUs, also includes more detailed and technical critiques of the
  technical and economic feasibility of installing SCR at the BRS/EV facility and we hereby
  incorporate that memorandum by reference.
          EAFs are a fundamentally different process than the EGUs at which SCR has been
  demonstrated. For one, unlike the relative continuous process associated with EGUs, an EAF is a
  batch process, with emission spikes when the furnace is charged with scrap and the electrodes
  bore-in initiating the arc (e,g, tapping), as well as emission profile and temperature shifting
  throughout the melt cycle. This matters because an SCR requires stable gas flow rates, NOx
  concentrations, and temperature to effectively reduce NOx. The temperatures of the EAFs at the
  BRS/EV facility exhausts will vary widely over the melt cycle, and the gas flow rates, and NOx
  concentrations will exhibit a wide amplitude, both of which may limit the efficiency of or damage
  the catalyst in an SCR. Furthermore, an EAF is not a combustion process, but instead primarily
  relies on electricity to melt metal scrap, 236 meaning that the emission profile of the process is
  different than the emission profile associated with combustion of fossil fuels, notably including
  sulfur dioxide and many metals and materials that are incompatible with the SCR, because certain
  elements present in EAF emissions, such as iron, arsenic, sodium, potassium, nickel, chrome, lead
  and zinc and potentially others, can react with platinum catalysts to form compounds or alloys
  which are not catalytically active. These reactions are termed “catalytic poisoning.”237
  Furthermore, any solid material in the gas stream can form deposits and result in fouling or
  masking of the catalytic surface. Fouling occurs when solids obstruct the cell openings within the

  changes in the final rule, we reserve the right to challenge application of any such limits or controls to non-EAFs as
  well since EPA has not shown them to be technically feasible.
  236
     While some low NOx natural gas burners are used to support the EAF, the majority of emissions from the process
  are not attributable to these burners (but rather are attributable to thermal NOx). Accordingly, although low-NOx
  burners can have a marginal impact on emissions, they can only control a small percent of the EAF’s total NOx
  emissions.
    EPA has previously acknowledged this to be an issue. See EPA Comments to Cost Estimate Manual, SCR
  237

  Chapter, pg. 15 “We agree with the commenter that SCR systems applied to units with high dust loading and high
  concentrations of sulfur and other compounds may deactivate SCR catalysts and hence increase the capital and
  operating costs of an SCR.”


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  catalyst. Masking occurs when a film forms on the surface of catalyst over time. The film prevents
  contact between the catalytic surface and the flue gas. It is infeasible to install an SCR upstream
  of the baghouse which collects these metals and particulate matter, because the SCR catalyst would
  be bombarded with all these elements which it is not equipped to handle, reducing its efficiency
  and at best requiring frequent changing of the catalyst. Furthermore, there may be potential for
  entrained moisture and or condensable emissions that could be detrimental to the catalyst if a leak
  were to occur from the tubular section or when temperatures and moisture conditions are
  unfavorable during cycling of systems. The ability of poisoning and fouling to make SCR
  technically infeasible is not theoretical. As noted in the attached Black & Veatch report, plugging
  due to sodium in fluegas has prevented efficient operation of SCR during pilot studies at the Coyote
  Station in North Dakota, and BRS has high levels of sodium in its fluegas (particulate matter from
  the EAF captured by the baghouse has 8,080 ppm sodium). 238 And courts have upheld BACT
  determinations, even in the powerplant context, that SCR is technically infeasible where there are
  fluegas elements including high levels of sodium and potassium likely to jeopardize SCR
  operability. 239 This is particularly true of EAFs, which typically have high pre-baghouse
  particulate matter in the fluegas, as compared to coal fired power plants.
          Furthermore, the SCR requires operating temperatures between 480°F (250°C) and 800°F
  (427°C) of the gas stream at the catalyst bed, in order to carry out the catalytic reduction process.
  But these temperatures are incompatible with the BRS/EV facility’s baghouses which requires the
  inlet to be dropped down to below 266°F (130°C) or the baghouse could catch on fire. This
  represents the maximum peak temperature at the spark arrestor prior to the baghouse, with
  temperatures at other times being far lower accordingly. Furthermore, cooler gas makes the
  baghouse more effective, since the cooler the gas, the more the metals convert from gas to solid
  phase preventing them from bypassing the baghouse. In order to regulate the inlet temperature to
  the baghouse, BRS and EV facilities have cooling systems for the ductwork between each EAF
  and the associated baghouse. The EAF exhaust temperature must be reduced through a significant
  length of special tubular water cooled duct i to reduce temperatures sufficiently to avoid damage
  to downstream components and especially the baghouse. These cooling systems are thus also
  incompatible with installing an SCR prior to the baghouse since cooling systems must remain to
  prevent temperatures from compromising the baghouse or interfering with reductions in particular
  matter, but the resulting cooling results in a temperature outside of SCR operating range. 240

  238
      See e.g., Energy & Environmental Research Center, EVALUATION OF POTENTIAL SCR CATALYST
  BLINDING DURING COAL COMBUSTION AND ADD-ON: IMPACT OF SCR CATALYST ON MERCURY
  OXIDATION IN LIGNITE-FIRED COMBUSTION SYSTEMS, 04-EERC-11-09 (Nov. 2004), available at
  https://www.wrapair.org/forums/iwg/documents/4FactorComments/2009-
  05x_SCR_Catalyst_Blinding_final_report.pdf
  239
        See e.g. United States v. Minnkota Power Coop., Inc., 831 F. Supp. 2d 1109 (D.N.D. 2011).
  240
     Notably this temperature issue also definitively rules out SNCR as technically. infeasible as well, since SNCR
  requires a far higher operating temperature than even SCR, and an even lower control efficiency. See EPA technical
  bulletin-Nitrogen Oxides (NOx), Why and How They Are Controlled, at 18, EPA 456/F-99-006R (November 1999)
  (noting SNCR must be operated at 900°C and 1100°C window).


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           The only point at which the temperature is not below the operating range of an SCR is the
  very opening of the EAF duct prior to cooling the fluegas, but that is above the temperature for an
  SCR (around 1,200 to 1,300°F), and any attempt to cool the temperature at the entrance to the EAF
  duct, such as through the use of tempering fans, would increase the flowrate through the duct and
  into the baghouse, which also raises a host of feasibility issues. Specifically, use of tempering fans,
  and/or any pressure changes caused by the SCR and associated equipment risks jeopardizing the
  facility’s existing pollution control equipment, because the EAFs and pollution control system
  (baghouse) are designed around specific parameters such as flowrate and pressure drop, and any
  increase in those parameters could at minimum decrease the life of the bags in the baghouse, and
  at maximum could result in failure of system components. 241 In addition, the tempering fans, SCR
  and other new equipment would increase electrical demand at the BRS/EV facility, decreasing
  efficiency and significantly increasing indirect emissions e.g., NOx, SO2, PM, greenhouse gases,
  etc. associated with the substantial increase in electricity consumption to operate the SCR and
  associated equipment and additional flue gas cooling systems, and that assumes that sufficient
  electric capacity and related equipment to transfer such energy loads is available or otherwise is
  not in excess of current design capacities.
        Critically, as noted in the attached Black & Veatch report, available space is very limited
  between the EAF and the baghouse and likely would prevent an SCR and associated retrofit
  equipment being installed anywhere upstream of the baghouse, much less by the entrance to the
  EAF duct. EPA has previously acknowledged that these spatial constraints can pose obstacles to
  making an SCR installation work. 242
          Likewise, there are also spacing, and structural design and support limitations that may
  limit the feasibility of installing an SCR into the stack post-baghouse. Specifically, concrete
  infrastructure post-baghouse including stack foundation and blower house are substantial
  installations and the existing as-built design restricts access to the exhaust flow. As noted in the
  attached Black and Veatch report, there is insufficient space between the ID fan and the stack for
  the SCR, let alone the booster fan that would likely be necessary to maintain pressure, so any
  installation would require new structural supports, stack breaching, and the new ductwork would


  241
     Attempting to cool fluegas by injecting water into the flue gas rather than using a tempering fan would be
  inefficient because this cooling method is already done (BRS) and will be done, once operational (EV) to lower
  temperatures to protect the baghouse, but the target temperature for cooling the flue gas for the SCR is different than
  for protecting and ensuring optimum pollution control efficacy of each baghouse and, as a result, the existing system
  cannot be used for both purposes, and it is not clear whether it would be possible to design the system to accomplish
  these two different temperature goals solely through water cooling in the space available.
  242
     See EPA Air Pollution Control Cost Manual, edition 6, EPA/452/B-02-001 (Jan. 2002) at section 2.5.4.2 (“an
  SCR reactor can occupy tens of thousands of square feet and must be installed directly behind a boiler's combustion
  chamber to offer the best environment for NOx removal. Many of the utility boilers currently considering an SCR
  reactor to meet the new federal NOx limits are over thirty years old- designed and constructed before SCR was a
  proven technology in the United States. For these boilers, there is generally little room for the reactor to fit in the
  existing space and additional ductwork, fans, and flue gas heaters may be needed to make the system work
  properly.”).


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  require multiple turns that would increase the pressure drop the booster fan would have to provide,
  and increase power demands, further exacerbating power capacity issues.
          Assuming for the sake of argument that an SCR could be designed to be installed after
  particulate removal by the baghouse to avoid some of these prohibitive conditions, a different type
  of technical feasibility problem is entailed, because even if an SCR could be installed, the SCR
  would risk significantly increasing emissions, such that the emissions reductions anticipated
  would not be possible, or may be much smaller than estimated by EPA. This is because the fluegas
  exiting the baghouse is typically below 200°F, far below SCR operating range. That means that
  the fluegas would have to be heated post-baghouse by a significant temperature (at least 300°F in
  a short period of time), requiring significant additional energy, likely from natural gas combustion
  and associated electricity needs, which in turn would increase the very NOx emissions the SCR is
  designed to control, as well as increasing greenhouses gas, VOC, CO, SO2 and PM emissions.
  These increases may be significant as described in the following section, especially compared to
  the relatively low NOx reductions an SCR would accomplish even if able to run efficiently.
           In addition to any increased emissions caused directly by new combustion sources and
  indirectly due to increased power consumption, unreacted ammonia would also be emitted to the
  environment as ammonia slip, as described in the following section. Furthermore, formation of
  ammonium salts can readily foul the catalyst section, resulting in reduced efficiency and increased
  back pressure, and ammonium salts would be emitted as PM10/PM2.5. And installation after the
  baghouse system means that these ammonia and ammonium salt emissions would be completely
  uncontrolled, creating potential compliance and attainment concerns with the PM2.5 emissions
  limits and NAAQS, respectively. On the other hand, installation of SCR prior to the baghouse
  system would contaminate the fly ash in the baghouse with ammonia, and as EPA has recognized,
  “the ability to sell the fly ash as a secondary product is affected by its ammonia concentration.”243
  If this compromises BRS’ ability to recycle its baghouse dust by resale to reclamation, recycling,
  or reuse facilities as is BRS’ current practice, then the installation of SCR would create a new
  unrecycled hazardous waste stream. Furthermore, as EPA has also recognized, “ammonia-sulfur
  salts can plug, foul, and corrode downstream equipment such as air heater, ducts, and fans” thus
  endangering the existing pollution control system. 244
          Additionally, even if SCR technology could be installed post baghouse, the SCR would
  have issues with catalyst poisoning due to sulfur, as SO2, reacting with the SCR regardless of the
  placement of the SCR (impeding technical feasibility) unless desulphurization technology can also
  be installed (which would entail both its own set of technical feasibility issues in addition to
  significant additional costs not considered by EPA).
         Furthermore, as discussed in the attached Black & Veatch report, stack testing at the U. S.
  Steel BRS facility shows a NOx concentration in fluegas near the lower limit of what concentration
  can be controlled by an SCR. According to EPA’s own analyses, “Low NOx inlet levels result in

  243
        EPA Air Pollution Control Cost Manual, edition 6, EPA/452/B-02-001 (Jan. 2002) at section 2.2.6, page 2-28.
  244
        EPA Air Pollution Control Cost Manual, edition 6, EPA/452/B-02-001 (Jan. 2002) at section 1.2.3, page 1-12.


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  decreased NOx removal efficiencies” 245 an SCR is generally only expected to control 70% of
  emissions at a part per million (“ppm”) loading as low as 20 ppm (putting aside temperature,
  fouling, poisoning, plugging, and other such issues which could decrease efficiency and/or degrade
  the catalyst). 246 And we are unaware of any vendor that will guarantee removal efficiency at all
  much below 5 ppm NOx. These limitations on control efficiency are further exacerbated by the
  temperature issue, since temperatures on the low end of SCR operability also significantly decrease
  SCR efficiency as compared to higher temperatures. 247. Given the combination of very low NOx
  concentration loadings, and low temperatures, the control efficiencies presumed by EPA in the
  Proposed Rule are simply not technically feasible.
              C.      Emission Increases Associated With Installation of SCR.
          Based on the engineering review conducted by Black & Veatch and discussed above, the
  exhaust gas temperature from an EAF, prior to the dedusting baghouse / after the baghouse, is the
  vicinity of 200 degrees Fahrenheit (F), thus requiring additional equipment to be installed to raise
  the exhaust gas temperature by at least 300 degrees F to reach the minimum operability range of
  500 degrees F for an SCR, as would be required for just 50% NOx removal efficiency (not taking
  into account the NOx concentration, airflow variability, and poisoning/fouling/plugging issues
  discussed above). To support reheating of the exhaust gas by an additional 300 degrees F will
  require the installation of a heating devices, which will consist of the installation / operation of a
  natural gas fired burner(s).
         The amount of energy required to heat the EAF dedusting exhaust air by 300 degrees F can
  be calculated with the following equation:
          •    British Thermal Units (BTU) Output = Temperature rise multiplied by (X) cubic feet per
               minute X BTU per pound per degree F X the density of air at 200 degrees F X 60
               minutes per hour.
                   o Temperature rise required is 300 degrees F.
                   o Exhaust gas flow from an EAF is on average approximately 1,300,000 standard
                     cubic feet per minute (SCFM) from a dedusting system. Actual flow rate
                     (ACFM) does vary based on temperature and other parameters.
                   o Specific heat of air at 200 degrees F is 0.24 BTU per pound per degree F.
                   o The weight per cubic foot of air is 0.061 (pounds / cubic foot)(lbs/ft3)).
          •    BTU Output = 300 degrees F. X 1,300,000 cubic feet per minute X 0.24 BTU per
               pound, per degree X 0.061 lbs/ft3 X 60 minutes / hour = 342.5 MMBtu/hour.


  245
        EPA Air Pollution Control Cost Manual, edition 7 (June 2019) at section 2.2.2.
  246
     EPA, Clean Air Technology Center Products, Air Pollution Technology Fact Sheet: Selective Catalytic Reduction
  (2003), available at https://www.epa.gov/catc/clean-air-technology-center-products.
  247
        EPA Air Pollution Control Cost Manual, edition 7 (June 2019) at section 2.2.2 figure 2.2.


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          To generate the 342.5 MMBtu/hour needed to heat the exhaust gas by 300 degrees F, and
  assuming the heating value of natural gas is 1,000 BTU per cubic foot, you would need 342,500
  cubic feet per hour of natural gas. Combusting that additional natural gas will cause a release of
  NOx emissions (among other pollutants) during the process of combusting that natural gas in the
  heating burner(s).
          The amount of NOx emissions that can occur when combusting 342,500 cubic feet of
  natural gas can be calculated using the AP-42 emission factors EPA has published for the purpose
  of calculating emissions of pollutants from combustion of natural gas. 248 An emission factor is a
  representative value that attempts to relate the quantity of an air pollutant released to the
  atmosphere with an activity associated with the release of that air pollutant. These factors are
  usually expressed as the weight of air pollutant divided by a unit weight, volume, distance, or
  duration of the activity emitting the pollutant (e. g., kilograms of particulate emitted per megagram
  of coal burned). Such factors facilitate estimation of emissions from various sources of air
  pollution. In most cases, these factors are simply averages of all available data of acceptable quality
  and are generally assumed to be representative of long-term averages for all facilities in the source
  category (i. e., a population average).
         Section 1.4 of AP-42 provides emission factors for quantifying the emissions of NOx, as
  well as other regulated air pollutants based in the combustion of natural gas expressed in either
  pounds per MMBtu or pounds per standard cubic foot of natural gas combusted. Tables 1.4-1 and
  1.4-2 provided emission factors for various regulated air pollutants. Those emission factors are
  summarized in the table below:
                    Combustion type                              Regulated Air              Emissions Factor
                                                                   Pollutant             (lb/106 standard cubic
                                                                                                   foot)
        Large Wall-Fired boilers – Controlled With            Oxides of Nitrogen                     140
         Low NOx Burners, > 100 MMBtu / Hour                       (NOx)
                       Heat Input
        Large Wall-Fired boilers – Controlled With              Carbon Monoxide                       84
         Low NOx Burners, > 100 MMBtu / Hour                         (CO)
                       Heat Input



  248
     See “Compilation of Air Pollutant Emissions Factors – Volume I: Stationary Point and Area Sources”, dated
  January 1995. The Emission Factor And Inventory Group (EFIG), in the U. S. Environmental Protection Agency’s
  (EPA) Office Of Air Quality Planning And Standards (OAQPS), develops and maintains emission estimating tools
  used in developing emission control strategies, determining applicability of permitting and control programs,
  ascertaining the effects of sources and appropriate mitigation strategies, and a number of other related applications.
  The AP-42 series is the principal means by which EFIG can document its emission factors. These factors are cited in
  numerous other EPA publications, and electronic data bases, but without the process details and supporting reference
  material provided in AP-42 and are generally relied on by EPA when source specific testing or CEMS are unavailable.


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    Large Wall-Fired boilers – Controlled With          Carbon Dioxide                  120,000
     Low NOx Burners, > 100 MMBtu / Hour                    (CO2e)
                   Heat Input
    Large Wall-Fired boilers – Controlled With          Particulate Matter                7.6
     Low NOx Burners, > 100 MMBtu / Hour                  <2.5 Microns
                   Heat Input                                 (PM2.5)
    Large Wall-Fired boilers – Controlled With            Sulfur Dioxide                  0.6
     Low NOx Burners, > 100 MMBtu / Hour                      (SO2)
                   Heat Input
    Large Wall-Fired boilers – Controlled With        Volatile Organic                    5.5
     Low NOx Burners, > 100 MMBtu / Hour             Compounds (VOCs)
                   Heat Input
          To estimate the potential emissions of the above listed regulated air pollutant, the emission
  factor expressed in pound per million cubic standard feet of natural gas is multiplied by the quantity
  of natural gas combusted in an hour to get pounds of that air pollutant per hour and then the amount
  of natural gas consumed in a year to get pounds per year or commonly expressed as tons per year.
  Provided in the table below is an estimate of the additional air pollutants that would be released in
  the atmosphere based on installation of natural gas burners to heat the EAF exhaust air by 300-
  degree F, to allow for SCR to operate at even minimum effectiveness.
    Regulated Air       Emissions         Estimated         Estimated        Estimated      Estimated
      Pollutant           Factor         million (106)       Lbs Per         Tons Per        Tons Per
                          (lb/106         standard            Hour            Year**          Ozone
                         standard       cubic ft per of     Emission                        Season***
                        cubic foot)        hour of            Rate
                                        Natural Gas)*
       Oxides of            140            0.3425*            47.95            210.0             87.5
    Nitrogen (NOx)
      Carbon                 84            0.3425*            28.77            126.0             52.5
   Monoxide (CO)
   Carbon Dioxide         120,000          0.3425*           41,100           180,018           75,007.5
       (CO2e)
     Particulate            7.6            0.3425*             2.6             11.4              4.75
    Matter <2.5
   Microns (PM2.5)
    Sulfur Dioxide          0.6            0.3425*             0.21            0.92              0.38
        (SO2)



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   Volatile Organic          5.5              0.3425*              1.88              8.23              3.4
    Compounds
       (VOCs)
                 * As noted above the amount of natural gas estimated on an hourly basis to heat exhaust gas up by
                   300 degrees F is 342,500 standard cubic feet per hour. Expressed in lbs/106 standard cubic foot
                   would be 0.3425 lbs/million standard cubic foot.
                 ** Assumes operation 24 hours a day 365 days per year.
                 ***Tons per year multiplied by 5/12 to reflect five months of ozone season.

           It is important to note, that the above estimated emissions of regulated air pollutants are
  additional amounts of these air pollutants that would be generated / released to the atmosphere
  based on the required heat the EAF dedusting exhaust gas by 300-degree F to allow for SCR to
  operate. An additional 250-degree F raise in the temperature would be required so that the SCR
  could operate at the optimum temperature (i.e., to achieve a 90% reduction in NOx emissions),
  which is around 750-degree F in NOx emission levels. The amount of energy required to raise
  that temperature would require the natural gas volume to be increased by almost a factor of two.
  In that case, the projected emissions rates would also increase by a factor of approximately two.
  Note also that this is an estimate of the increased air pollutant emissions per EAF and would thus
  need to be multiplied by each EAF to which SCR is applied which for the case of the BRS/EV
  facility, would be four (4) times to reflect four (4) EAFs.
          Notably, as explained elsewhere in these comments, the Proposed Rule would decrease the
  permitted lb/ton NOx rate for each of the BRS/EV EAFs by up to 50% by reducing the current
  permit limit of 0.3 lb/ton to the Proposed Rule limit of 0.15 lb/ton. At a presumed capacity of 250
  tons/hr for each EAF, times 3,672 hours per ozone season, that represents a reduction of up to
  137,700 lb (i.e., 68.85 ozone season tons) per EAF. Comparing these maximum potential
  reductions (68.85 ozone season tons) to the potential NOx increases (87.5 ozone season tons), it
  appears that the changes to an EAF dedusting exhaust gas temperature necessary to enable SCR to
  function could be even higher than the potential NOx reductions achieved by installation of an
  SCR units at the BRS/EV facility.
          In addition to emission increases associated with installation of natural gas fired burners
  needed for EAF dedusting exhaust gas heating, the ammonia slip associated with SCR installation
  would cause the release of ammonia emissions (in the form of particulate matter) from each EAF,
  which are typically not associated with dedusting exhaust gases. The term slip implies that not all
  of the ammonia used in the SCR system chemically reacts to reduce the presence of NOx in the
  dedusting exhaust air. EPA’s own estimates suggest that SCR can be associated with 2 to 10 ppm
  ammonia slip, and even a well-functioning SCR would have ammonia slip of 2 to 5 ppm, with
  ammonia slip increasing as catalyst activity decreases, as it might be expected to occur given the




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  range of feasibility issues entailed in installation on an EAF, including the high temperature
  variability and airflow variability, and poisoning/fouling/plugging issues.249
         Using an estimate of 5 ppm ammonia slip due to the factors outlined above, a general
  estimate of the quantity of ammonia slip can be estimated as follows:
                  •   Appendix A to AP-42 provides the following equation for converting ppm by
                      volume to pounds per cubic foot: M/385.1 X 10(6), where M= Molecular weight of
                      gas. Molecular weight of ammonia is 17.03. Thus 1 ppm ammonia = 17.03/385.1 x
                      10(6) = 4.42 x. 10(-8) lb ammonia/ft3
                  •   Thus, 5ppm ammonia slip = 5 x. 4.42 X 10(-8) lb/ft3 = 22.1 X 10(-8) lb/ft3
                  •   Exhaust gas flow from an EAF is on average approximately 1,300,000 scfm.
                      Actual flow rate does vary based on temperature and other parameters. Multiplying
                      this per minute flowrate by 60 yields a per hour flowrate of 78,000,000 standard
                      ft3/hour (hr).
                  •   Thus, 22.1 X 10(-8) lb/ft3 X 78,000,000 ft3/hr = 17.238 lb of ammonia slip per hour.
          Assuming operation only during the ozone season, 17.238 lbs/hr X 8760 hrs/year (yr) x.
  5/12 ozone months/ year X 0.0005 ton/lb = 31 tons of ammonia per ozone season per EAF.
  Notably, if the SCR was installed downstream of the baghouse, this would be uncontrolled
  emissions, and would increase PM2.5, since ammonia is recognized to be a significant precursor
  to secondary particulate matter emissions. 250 In fact, some studies have suggested that reducing
  ammonia emissions to reduce condensable particulate matter is more cost effective than NOx
  reductions. 251 On the other hand, if installed upstream of the baghouse, any portion not emitted
  would contaminate the baghouse dust that is currently recycled/reclaimed by a third party,
  potentially creating a new and significant hazardous waste stream.
         Taken together, the increased NOx emissions from dedusting exhaust air heating and
  ammonia (i.e., particulate matter) emissions from ammonia slip would negate any environmental
  value of the SCR given the equivalent or smaller amount of NOx the SCR would be capable of

  249
        EPA Air Pollution Control Cost Manual, edition 6, EPA/452/B-02-001 (Jan. 2002), at section 2.2.2, page 2-13.
  250
     See e.g., Plautz, Ammonia, a poorly understood smog ingredient, could be key to limiting deadly pollution
  (2018), available at https://www.science.org/content/article/ammonia-poorly-understood-smog-ingredient-could-be-
  key-limiting-deadly-pollution; Wang, S., Nan, J., Shi, C. et al. Atmospheric ammonia and its impacts on regional air
  quality over the megacity of Shanghai, China. Sci Rep 5, 15842 (2015), available at
  https://doi.org/10.1038/srep15842 ; Behera, S. N. & Sharma, M. Investigating the potential role of ammonia in ion
  chemistry of fine particulate matter formation for an urban environment. Sci. Total Environ. 408, 3569–3575 (2010),
  available at https://www.sciencedirect.com/science/article/abs/pii/S0048969710003955; Yiyun Wu, Baojing Gu, Jan
  Willem Erisman, Stefan Reis, Yuanyuan Fang, Xuehe Lu, Xiuming Zhang, PM2.5 pollution is substantially affected
  by ammonia emissions in China, Environmental Pollution, Volume 218, p.86-94 (2016), available at
  https://doi.org/10.1016/j.envpol.2016.08.027.
  251
      Baojing Gu, Lin Zhang, et al. “Abating ammonia is more cost-effective than nitrogen oxides for mitigating
  PM2.5” Science, v.374 no. 6568, p.758-762 (2021), available www.science.org/doi/abs/10.1126/science.abf8623


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  reducing from each EAF. This demonstrates that SCR installation is not a technically feasible
  means of decreasing NOx from EAFs by ~50% as would be required to meet the limits in the
  Proposed Rule and requiring SCR in the face of these realities is arbitrary and capricious.
          Finally, it should be noted that unlike SCR retrofits in the powerplant sector where
  increased air pollution emissions associated with installation of an SCR (both ammonia slip and
  emissions from heating or cooling fluegas) could be outweighed by even a marginal percentage
  reduction of NOx given the magnitude of NOx emissions at EGUs (thousands to tens of thousands
  of tons of NOx per year), in non-EGU contexts like those in the steel industry where EPA proposes
  to require SCR at units as small at 100 tons per year of NOx, the magnitude of NOx reductions
  that could be achieved by SCR is simply not significant next to the increased air pollution
  emissions associated with installation of an SCR. Under these circumstances, SCR is infeasible
  from an emission reduction perspective because the smaller decreases in NOx associated with SCR
  at a unit with only a few hundred tons of potential emissions NOx could be significantly offset or
  even swallowed by electrical consumption of the SCR and its related equipment (indirect
  emissions) as well as increased emissions from fluegas heating or the increased indirect emissions
  associated with an increase in energy consumption associated with flue gas cooling equipment,
  both of which would significant heat/electrical input due to the conditional dynamics required in
  such short distances.
  XVIII. EPA’s Cost Analysis Is Arbitrary and Unreasonable as Applied to EAFs, and
         Especially to Those in Arkansas
           A.       EPA Fails to Provide Any Cost Estimates Specific to EAFs, Despite Taking Cost
                    Into Account For Other Types of Emission Units
           EPA has not provided a cost-analysis specific to EAFs. Instead, EPA provides a
  generalized estimate $4,345/ton for SCR installation in the broad industry of “Iron and Steel Mills
  and Ferroalloy Manufacturing.” In the first place this generalized aggregation is inappropriate
  because, as EPA has previously recognized, EAFs are distinct from both ferroalloy production and
  from other types of steel production such as integrated iron and steel mills. 252 Furthermore, EPA’s
  failure to examine SCR installation on steel mill EAFs is particularly inadequate in light of EPA’s

  252
     E.g., 57 Fed. Reg. 31,576, 31,582, 31,591 (July 16, 1992) (after determining to “list broad categories of major and
  area sources rather than very narrowly defined categories,” listing Ferroalloy Production, Integrated Iron and Steel
  Manufacturing, and Electric Arc Furnace Operation as wholly separate source categories under section 112 of the
  CAA); 39 Fed. Reg. 37,466 (Oct. 21, 1974) (When first proposing CAA Section 111 new source performance
  standards for EAFs, differentiating EAFs from “old open hearth furnaces”); Background Information for Proposed
  New Source Performance Standards: Asphalt Concrete Plants, Petroleum Refineries, Storage Vessels, Secondary Lead
  Smelters and Refineries, Brass or Bronze Ingot Production Plants, Iron and Steel Plants, Sewage Treatment Plants -
  Volume 1 Main Text at 49, APTD-1352 (June 1973) (As part of docket supporting first NSPS standards for Iron and
  Steel Plants, eventually published at 39 Fed. Reg. 9308, differentiating between production via “Basic oxygen process;
  operation of open hearth, blast, and electric furnaces” and stating “The proposed standards would only apply to basic
  oxygen process furnace”); Background Information for Standards of Performance: Electric Arc Furnaces in the Steel
  Industry Volume I: Proposed Standards, at 1-4, EPA-450/2-74-017a (1974) (when first setting an NSPS standard for
  EAFs, differentiating between electric arc furnaces, basic oxygen process, open hearth steel production furnaces, blast
  furnaces, and coke and sintering plants).


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  recent declaration that that emission units “must be assessed on an individual basis to determine
  whether SCR is a feasible control technology based on its site-specific characteristics and the SCR
  technology available at the time.” 253 By failing to conduct any feasibility or cost analyses regarding
  EAFs, EPA has impermissibly “failed to rely on its own judgment and expertise.” 254 If EPA still
  maintains that units “must be assessed on an individual basis,” then it has an obligation to do so.
  And if EPA no longer stands by that position, it has an obligation to justify its departure from prior
  policy. EPA has done neither, impermissibly attempting to “depart from prior policy sub
  silentio.” 255
          Not only is the cost analysis devoid of any data pertaining to the installation of SCR
  controls on EAFs, EPA’s modeling of cost/ton estimates for SCR did not even include any EAFs
  at any site in its cost analysis. 256 The Proposed Rule’s assertion that EAFs can install SCRs below
  the cost threshold of $7,500 per ton of NOx is unsupported by the screening assessment on which
  EPA purports base its assumptions. Furthermore, EPA’s own Control Cost Manual in the docket
  admits that the cost estimates provided are not applicable to non-EGUs, stating that “The
  procedures to estimate capital costs are not directly applicable to sources other than utility and
  industrial boilers” 257 and “Due to the limited availability of equipment cost data and installation
  cost data, the [EPA’s Integrated Planning Model EGU specific] equations for SCR capital costs
  were not reformulated.” 258
          Accordingly, as currently composed the Proposed Rule is in clear violation of EPA’s
  obligation to “reflect upon the information contained in the record and grapple with contrary
  evidence,” 259 and to promulgate internally consistent rules. 260 An agency decision is arbitrary and
  capricious where, as here “the agency has failed to ‘examine the relevant data’ or failed to
  ‘articulate a rational explanation for its actions.’” 261
              B.      EPA Significantly Underestimates Costs Associated with SCR Installation on an
                      EAF:
         Even if one incorrectly assumes that it is feasible to install SCRs on EAFs, there are several
  reasons why costs will be significantly greater than claimed by EPA, for example:

  253
        EPA Comments to Cost Estimate Manual, SCR Chapter, pg. 9 (emphasis added).
  254
        Am. Lung Ass’n v. EPA, 450 U.S. App. D.C. 385, 415, 985 F.3d 914, 944 (2021).
  255
        FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515-16, 129 S. Ct. 1800, 1811 (2009).
  256
        Non-EGU Screening Assessment at Table 6.
  257
        Control Cost Manual at 6.
  258
        Id. At 65.
  259
        Fred Meyer Stores, Inc. v. NLRB, 865 F.3d 630, 638, 431 U.S. App. D.C. 283 (D.C. Cir. 2017).
  260
     Hsiao v. Stewart, 527 F. Supp. 3d 1237, 1252 (D. Haw. 2021), quoting Nat’l Parks Conservation Ass’n v. EPA,
  788 F.3d 1134, 1141 (9th Cir. 2015) (“[A]n internally inconsistent analysis is arbitrary and capricious.”).
    Genuine Parts Co. v. EPA, 890 F.3d 304, 311-12, 435 U.S. App. D.C. 338 (D.C. Cir. 2018) (quoting Carus Chem.
  261

  Co. v. EPA, 395 F.3d 434, 441, 364 U.S. App. D.C. 339 (D.C. Cir. 2005)).


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    1. If it were possible to install SCR on EAFs, as noted above, it would require the addition of
       various systems and equipment to heat and/or cool the exhaust steam, and to reduce pre-
       baghouse particulate matter loading, and require significant re-engineering of entire air
       pollution control systems to ensure compatibility and functionality. The cost for this new
       equipment is not currently accounted for in EPA’s cost estimates for SCR installation at
       EAFs, and as noted in the attached memo from Black and Veatch, these costs are
       significant.
           a. As noted in Black & Veatch’s report, even if one incorrectly assumes that it is
              technically feasible to install an SCR between the EAF and the baghouse (e.g.,
              catalyst poisoning/plugging/fouling, available space, temperature issues, etc.), the
              costs installed costs associated with that equipment, whether it is a tempering air
              system or a spray duct water system are significant, with installed costs (minimally
              without the benefit of more detailed engineering) of at least $11.7 million and
              $11.2 million, respectively, for each EAF at the BRS/EV facility (not accounting
              for ongoing operation and maintenance costs, including increased electricity
              consumption).
           b. A duct burning system to heat the flue gas after the baghouse likely would cost
              upwards of $27,800,000 just to install the burners necessary to sufficiently heat the
              fluegas for SCR to be operable, without even accounting for ongoing operation and
              maintenance costs, including increased utilization of natural gas).
    2. Increased emissions as a result of such heating fluegas in turn would increase SCR costs
       because the size of the SCR system would need to be increased to reduce these newly
       introduced emissions. Note also that further NOx controls would be required by third
       parties to offset indirect NOx emissions associated with indirect emissions associated with
       electricity demand associated with the operation of the SCR as well as any flue gas cooling
       system.
    3. In order to reduce the large temperature fluctuations throughout the EAF process that might
       otherwise be destructive to the catalyst, equipment would have to be installed to balance
       the temperature. Such equipment is not accounted for in EPA’s cost estimates for SCR
       installation at EAFs.
    4. In order to reduce inconsistencies in gas flow given the batch nature of the process,
       additional equipment would have to be installed to level out the velocity of the flue gas and
       increase it during certain process periods in order for it to flow through the SCR at a
       reasonable and consistent rate. This new equipment is not accounted for in EPA’s cost
       estimates for SCR installation at EAFs.
    5. CEMS are very expensive and EPA specifically says it did not include them in the cost
       efficiency estimates. More specifically, based on customer-friendly industry quotes
       obtained by Black & Veatch, installation of a single CEMS system at a single EAF would
       cost at least $300,000 in capital expenditure. Installation and certification would be at least


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           an additional $100,000. Annual O&M costs just from a Preventative Maintenance contract
           would cost at an additional $100,000 per year. These costs do not reflect contingencies
           that often arise during retrofit CEMs projects. The Proposed Rule would require at least
           four CEMS units (one for each EAF) at the U.S. Steel BRS and EV facilities in Arkansas.
        6. EPA’s cost estimates have not been inflation adjusted to 2022 dollars. In addition to
           inflation, the new normal in the wake of a national pandemic and its havoc on industry has
           resulted in persistent supply chain issues, which further drives costs. And supply chain
           issues and associated costs will only be exacerbated by any rule requiring everyone in the
           industry to purchase and install the same equipment. In light of these factors, it is
           inappropriate to use older cost estimates without any attempt to adjust anticipated costs to
           reflect the new normal.
        7. Actual studies have been performed to account for the full costs associated with SCR
           retrofits in the EGU sector suggesting that design, equipment, and installation cost upward
           of $50 Million in 2006 dollars, 262 or approximately $66 Million in 2021 dollars.263
           Although these cost estimates were for EGUs, they are the only cost estimates available
           for real world retrofit costs since the technology has never been demonstrated on an EAF.
           In fact, if possible at all, as noted above, modifications not typically needed at a power
           plant, such as significant flue gas heating or cooling would be required, so it is reasonable
           to expect that costs could be higher than these estimates associated with SCR retrofit at an
           EGU (though EPA has never to our knowledge attempted to estimate costs associated with
           retrofitting an EAF with SCR, perhaps because it has never been deemed technically
           feasible as would be consistent with EPA’s express statements and determinations prior to
           the Proposed Rule). At the BRS and EV facilities, the control efficiency required for EAFs
           in the Proposed Rule would only yield a maximum (potential) NOx reduction of 68.85
           ozone season tons from each EAF. The actual NOx reductions achieved would, in reality,
           be significantly less than this figure since this figure assumes 24/7/365 production at the
           highest permitted emission rate and throughput from the EAFs which is not a realistic
           assumption given actual observed NOx emissions and periodic and planned outages for
           routine maintenance.
        8. A study of actual operation and maintenance cost by Electric Power Research Institute
           found that O&M for an SCR can cost upwards of $2 Million/year. 264 Accordingly, under
           the extremely conservative assumption of 68.85 ozone season tons per EAF/SCR, this
           O&M estimate, taken alone, would translates to a cost of $29,049 per ozone season ton


  262
     POWER, “Estimating SCR Installation Costs” (Feb. 15, 2006) (discussing EUCG inc. survey of 72 power plants,
  showing avg cost of 170/Kw for plants in the 300MW range.
  263
     Based on CPI Inflation Calculator, available at https://www.bls.gov/data/inflation_calculator.htm (comparing
  January 2006 dollars to January 2021 dollars).
  264
      Electric Power Research Institute, “Operation and Maintenance Costs for Selective Catalytic Reduction Systems”
  (Technical Update, December 2017).


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             reduced 265, almost four times EPA’s cost effective threshold of $7,500 in the Proposed
             Rule; and this figure only accounts operation and maintenance, not including the additional
             significant annualized portion of the initial SCR installation cost.
         9. Because of the very different types of ducts required for each EAF, limitations on space
            available, the designs of these duct systems, the exhaust conditions, temperature delta
            between them, it is not unreasonable to presume that multiple systems (more than just one
            tempering or duct burner and SCR unit per EAF unit) may be required in order to achieve
            predictable repeatable conditions required for the SCR to perform its function without risk
            of damage to it or other systems.
         10. Any retrofit that involves the pollution control system will require operational shutdown
             for during certain time periods due to system designs and interdependencies, and since the
             facility cannot legally operate without venting to the pollution controls, and the resulting
             outage cost from a retrofit could be catastrophic to the iron and steel industry. Notably,
             steel production is unlike an electric utility with an obligation to provide power 24/7/365
             under the worst conditions and therefore has planned accordingly by having a large fleet
             of electricity units (or contracts with such units) that can be ramped up to replace power
             during outages. This extended downtown also could result in significant financial
             implications as electricity and natural gas supply contracts require payment regardless of
             use. During the months that will likely be needed to ensure equipment and pollution control
             devices are operational and that all technological retrofits and changes needed have been
             made, there will simply be no steel production. The Proposed Rule clearly does not
             consider or contemplate these issues.
             C.       Cost Annualization Should Account for Fact that Reductions are Not Needed
                      After 2028 in Arkansas.
           If EPA does not adjust compliance obligations for Arkansas non-EGU’s based on White
  Bluff’s imminent closure, as discussed above, then in the alternative, EPA must at minimum
  correct the cost analysis to account for the fact that any emission reductions from non-EGUs in
  Arkansas are only needed for a maximum of two years (2026 and 2027), due to the closure of
  Entergy’s White Bluff coal plant in 2028, since any reductions from non-EGUs beyond that point
  are unnecessary in order to ensure downwind attainment based on EPA’s modeling.266
  Accordingly, the cost of SCR installation at Arkansas non-EGUs should only be annualized over
  that two year period which is the only period it is legally relevant, rather than annualized over the
  life of the equipment. Based on the costs estimates derived from EGUs discussed above, this would
  result in an theoretical, estimated cost per ton calculation for SCR installation at U. S. Steel’s BRS
  and EV facilities of $479,303/ton of NOx reduced per EAF, not even accounting for O&M costs


  265
        $2,000,000 / 68.85 tons = $29,049.
  266
      See above discussion regarding amount of White Bluff emissions versus the amount of reductions EPA modeled
  from non-EGUs as a result of the Proposed Rule.


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  or the other technical impediments discussed in this Section . 267 Given the massive cost per ton
  associated with such a scenario, EPA should instead consider more cost effective short term
  methods in Arkansas for the 2026 and 2027 ozone seasons and should coordinate with the State of
  Arkansas in the selection and implementation of such methods.
                  SPECIFIC COMMENTS PERTAINING TO BY-PRODUCTS COKE MAKING
                                      FACILITIES
  XIX. EPA Miscategorizes and Fundamentally Misunderstands By-Products Coke
       Making; and Misapplies Emissions and Technologies to the Process
           EPA failed to perform any coke making stakeholder engagement whatsoever in advance of
  the Proposed Rule. This lack of stakeholder engagement has contributed to EPA’s failure to
  understand the by-product coke making process. The docket associated with the Proposed Rule
  is extremely light on any technical support for the proposed NOx limits to charging and pushing,
  and it is apparent that what little information is provided in the docket is not representative of the
  by-products coke making process. In its rush to regulate, EPA is relying on scant information
  from heat recovery coke making which is fundamentally different and not representative or
  applicable to by-products coke making. Furthermore, and most significantly, there are several
  inconsistencies throughout the Proposed Rule.
           U. S. Steel has one remaining coke plant in its footprint – consisting of ten by-products
  batteries - that is critical to our integrated operations and the domestic iron and steel making
  industry as a whole. The Clairton coke plant (“Clairton Plant”) provides coke to U. S. Steel
  facilities with blast furnaces as well as third parties – all that are located off-site, and are separate
  from the Clairton Plant (i.e., the Clairton Plant is not co-located with any blast furnaces.) The
  facility is the largest coke making facility in North America and is subject to the most stringent air
  pollution control regulations in the county, according to the Allegheny County Health Department
  (“ACHD”) who has been delegated authority to regulate air pollution sources in Allegheny County
  from EPA and the Pennsylvania Department of Environmental Protection. After several BART
  and RACT evaluations over decades, never has EPA, PADEP or ACHD determined that SCR was
  a suitable or appropriate technology for charging or pushing activities associated with the coke
  making process. Never before has any of the agencies asserted that charging coal into coke ovens
  was a significant source of NOx. To the contrary, in AP-42, EPA acknowledges that NOx
  emissions from charging are not significant. 268 Furthermore, in applying BACT to C Battery in
  2012, ACHD determined that SCR was not appropriate.
        In the Proposed Rule, EPA upends and departs from years of prior precedent and
  knowledge with a couple of ambiguous, and even illogical, paragraphs. 269 Yet, this proposed

  267
        ($66 Million / 2 years) / 68.85 ozone season tons per year = $479,303/ton.
  268
        https://www.epa.gov/sites/default/files/2020-11/documents/c12s02_may08.pdf
  269
     See page 44 of the Non-EGUs Sectors TSD, where EPA attempts to justify the proposed limits for coke plants
  with nothing more than: “For coke ovens (charging) and coke ovens (pushing), EPA based the emission limit of
  0.15 lb/ton for charging and 0.015 lb/ton for pushing on projected reduction efficiency of 40-50% based on current

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  technology has not been shown to be available or feasible for these emission sources. While we
  have many concerns over the Proposed Rule as it would apply to coke batteries, the first
  overarching comment, as a general matter, is that the Clairton Plant is NOT integrated physically
  with any iron and steel facilities (e.g., blast furnaces, basic oxygen furnaces, etc.) The facility is a
  physically separated form and is not part of any “stationary source” consisting of U.S. Steel’s
  integrated iron and steel facilities and operates under the NAICS code 3241, “Petroleum and Coal
  Products Manufacturing.” Thus, grouping coke in the iron and steel sector is inappropriate –
  especially when Congress and EPA have historically considered the processes unique and separate
  in other rulemaking efforts. If the coke industry were properly classified in the NAICS code 3241,
  the charging and pushing would not be included - which is much more logical than what EPA
  attempts to do in the Proposed Rule. 270
          Second, the Proposed Rule, as it applies to charging at coke plants, is inconsistent and
  illogical. As noted above, the NAICS code of 3311 is not applicable to stand-alone coke plants.
  In addition to this inconsistency (where EPA categorizes coke into NAICS code of 3311), in Table
  I.B-4 of the Proposed Rule, EPA proposes a NOx charging limit of 0.6 lbs/ton of coal charged for
  coke ovens (charging and coking). However, the reference to including “coking” and the 0.6
  lbs/ton of coal charged limit is not explained or supported in the Non-EGU Technical Support
  Document (TSD). Furthermore, it is unclear as to what aspect of the “coking” process EPA intends
  to regulate, where it intends to regulate, and how it intends to regulate “coking” as noted in this
  Table – as the docket is void of any supporting information. To add further inconsistencies, in the
  TSD, EPA attempts to explain the process, but by doing so, it creates additional ambiguities:
            “Often situated in front of a bank of coke ovens, a separate machine is responsible for
            opening the coke oven doors, charging and pushing the raw material, and closing the oven
            again. This machine is often termed a larry car, or charging and pushing machine, among
            other terms.” 271
          This statement does not accurately describe charging and pushing in a by-products coke
  oven. While a larry car is used in by-products ovens, it is separate and distinct from pushing and
  is done at the top of the oven. Thus, in a by-products battery, a weighed amount or specific volume
  of coal is discharged from the bunker into a larry car - a charging vehicle that moves along the top
  of the battery. The larry car is positioned over the empty, hot oven (called "spotting"), the lids on
  the charging ports are removed, and the coal is discharged from the hoppers of the larry car into
  the oven. To minimize the escape of gases from the oven during charging, steam aspiration is used

  permit emission limits and production-based push/charge cycles. EPA projects minimally 40% NOx reduction
  efficiency is achievable by use of low-NOx practices, staged pushing and hood configurations, and potential use of
  add-on NOx control technology at larry cars and pushing/charging machines, including potential use of low-NOx
  burners, flue gas recirculation, and/or the addition of selective catalytic reduction to mobile hoods and particulate
  matter control devices.”
  270
     See, e.g., NESHAP MACT for coke making (Subpart CCCCC) which is separate from NESHAP MACT for
  integrated iron and steel (Subpart FFFFF)
  271
        Page 24 of Non-EGU TSD.


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  at most plants to draw gases from the space above the charged coal into a collecting main. In
  addition, charging is not known to emit any appreciable amounts of NOx. It is also not clear on
  how one would install and operate an SCR on a moveable larry car as EPA seems to propose.
  The inconsistencies and ambiguities do not end there. In the TSD, EPA attempts to explain:
         “For coke ovens (charging) and coke ovens (pushing), EPA based the emission limit of
         0.15 lb/ton for charging and 0.015 lb/ton for pushing on projected reduction efficiency of
         40-50% based on current permit emission limits and production-based push/charge cycles.
         EPA projects minimally 40% NOx reduction efficiency is achievable by use of low-NOx
         practices, staged pushing and hood configurations, and potential use of add-on NOx control
         technology at larry cars and pushing/charging machines, including potential use of low-
         NOx burners, flue gas recirculation, and/or the addition of selective catalytic reduction to
         mobile hoods and particulate matter control devices.”
          Yet, the on-line version of AP-42 refers to a NOx emission factor for charging of 0.03
  lb/ton of coal charged, not the 0.3 lb/ton referenced in the preamble of the Proposed Rule, where
  EPA explains that the proposed NOx limit of 0.15 lb/tons of coal charged is based upon an
  assumption of “50% reduction staged combustion and/or limited use SCR/SNCR during charging
  operations from AP-42 0.3 lb/ton emission factor.” It is unclear if EPA’s reference to 0.3 is in
  error; or if the AP-42 emission factor is in error. In any case, clarification is needed.
          It is significant to note, too, that according to the non-EGU TSD, EPA’s proposal assumes
  a projected reduction efficiency of 40-50% based on current permit emission limits and
  production-based push/charge cycles; and that EPA projects minimally 40% NOx reduction
  efficiency is achievable by use of low-NOx practices, staged pushing and hood configurations, and
  potential use of add-on NOx control technology at larry cars and pushing/charging machines,
  including potential use of low-NOx burners, flue gas recirculation, and/or the addition of selective
  catalytic reduction to mobile hoods and particulate matter control devices. While EPA makes these
  very broad assumptions and conclusions on the expected reductions on one hand, on the other
  hand, in the non-EGU TSD, EPA acknowledges that, “coke ovens with NOx controls in the United
  States have not been found.” Yet, EPA, for the first time, is proposing sweeping NOx controls
  across coke plants in the United States under the guise of its authority under the Clean Air Act to
  address interstate transport of pollutants.
         It is important to add, that overall, the NOx emissions from charging and pushing are
  minimal and any emissions control equipment installed would result in minimal NOx reductions.
  Most importantly the application of SCR technology is not feasible from a technical perspective
  and, even if assuming it was, is not economically feasible, particularly in light of EPA’s limited
  legal authority in the Proposed Rule to impose only controls necessary to mitigate significant
  contribution to nonattainment or interference with maintenance without any overcontrol. It also
  would substantially increase other pollutants. Work produced by Trinity Consultants shows:
         “Trinity calculated cost effectiveness for potential application of SCR at the Clairton C
         Battery coke pushing, after the baghouse. The minimum annual cost effectiveness would


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         be $271,472/ton (2021$), with 72 tons of NOX formed from combustion of natural gas to
         reheat the exhaust gas steam compared to approximately 92 tons from the unit itself, as
         well as approximately 87,000 tpy of CO2.”
  These numbers clearly show how the application of SCR to coke ovens is not a cost-effective
  approach and should not be required. This is yet another example of the Proposed Rule not
  accurately reflecting the costs of implementation and overstating the potential NOx reductions.
          In addition, it is unclear as to what coke plants would even be subject to the rule because
  the two types of emission units at coke plants that would be subject to the rule are (1) coke ovens
  (charging) and (2) coke oven push cars and pushing-charging machines (pushing). Based upon
  the description of the “emission unit” in the proposed rule and the applicability, it would appear
  that no coke oven (or coke battery, for that matter) would be subject to the proposed limits because
  the PTE at these two sources are well below 100 tons.
        U. S. Steel also respectfully notes that it is unclear on how EPA’s modeling incorporates
  NOx reductions that would be achieved through these NOx emission limits. For example:
              •   In the pre-FIP model, what inputs did EPA consider from coke plants?
              •   How were these relatively insignificant sources of NOx emissions shown to
                  contribute or interfere with ozone nonattainment in downwind receptors?
              •   How did EPA show that the proposed controls for these units would result in any
                  measurable improvement in ozone concentrations monitored at n downwind
                  nonattainment receptors?
          For the reasons explained above, U. S. Steel respectfully contends the Proposed Rule is
  fatally flawed because the emission estimates and projected reductions are not legally or
  technically supported by anything in the docket – and we further contend that this is because the
  Proposed Rule as it applies to coke plants is indeed unsupportable by fact or law.
             SPECIFIC COMMENTS PERTAINING TO INTEGRATED STEEL MAKING
                                 OPERATIONS
  XX.    Summary of Overarching Concerns
         As explained in more detail throughout and below, we have the following overarching
  concerns with the Proposed Rule as it relates to U.S. Steel’s integrated steelmaking operations:

         1. Due to numerous fatal flaws and fundamental errors in the proposed rule, EPA must
            re-evaluate ozone impacts from the iron and steel industry to determine if they do
            indeed interfere with ozone attainment in downwind states; and only if it is shown
            that such interference does occur and only after State are afforded ample opportunity
            to correct any SIP deficiencies, issue a revised proposal with requisite supporting
            information for the Good Neighbor FIP for the steel industry.

         2. The comment period was entirely insufficient and unjustified as EPA supporting
            documentation is very scant for many emissions units and their respective proposed
            limits.

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       3. The docket is missing numerous critical files to evaluate EPA’s proposal. Providing
          the critical files for stakeholder review and comment is needed for stakeholders to
          provide comments.

       4. There was insufficient time to conduct a robust review of the air quality modeling and
          to conduct an independent modeling analysis, especially in light of the fact that it
          took several days after the public comment period for EPA to provide stakeholders
          with the requested modeling files – inappropriately abbreviating an already entirely
          too short comment period. The files should have been public available on Day One
          of the comment period.

       5. EPA inappropriately uses a 1% (0.7 ppb) threshold rather than the 1 ppb threshold
          that EPA previously provided States as an appropriate threshold to determine
          potential NAAQS interference. In short, EPA provided guidance to States (and the
          regulated community and other stakeholders) and then rejected SIPs that relied on
          that guidance, and, instead, replaced it with a lower triggering threshold to supplant
          state’s engagement and primacy in the implementation of the Clean Air Act
          requirements as Congressed intended.

       6. The docket does not have the requisite information to support a finding that the
          facilities in the EPA’s iron and steel sector significantly interfere with ozone
          attainment in downwind states.

       7. EPA’s stated basis for cost-effectiveness is RACT, but EPA applied beyond-RACT
          and beyond-BACT/LAER levels of control to establish emission limits for the steel
          industry, without any justification of its deviation from RACT. It is illogical on how
          EPA is now attempting to impose limits that are akin to RACT limits that are more
          stringent than BACT and LAER limits. A review of the RBLC does not support
          EPA’s proposed limits and technologies.

       8. EPA’s reliance upon the Menu of Control Measures (MCM) and the Control
          Strategies Tool (CoST) to identify cost-effective emissions control options for the
          steel industry is fundamentally flawed, as the underlying studies that EPA used to
          identify cost-effectiveness did not include numerous U. S. Steel source types where
          EPA proposes controls in the rule, and EPA chose cost-effectiveness values at the
          bottom of the study cost ranges despite statements in the underlying studies regarding
          the screening level approach and likely under-estimating costs.

       9. Underlying studies only estimated NOX control costs for reheat and annealing
          furnaces

       10. EPA improperly assigned cost data based on reheat and annealing furnaces to all steel
           process units in the proposed rule




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         11. There is no basis in EPA’s inclusion of numerous other steel unit types for regulation
             based on CoST and MCM, when CoST and MCM only have input data for annealing
             and reheat furnaces

         12. EPA’s cost estimates inaccurately assume year-round operation of control devices
             resulting in underestimating cost-effectiveness because the regulation can only apply
             to the five month ozone season, meaning EPA’s cost estimates were only 5/12 or 42%
             of the real cost effectiveness – This critical error significantly underestimates the cost
             effectiveness of the proposed controls (even if such controls were found to be
             technologically feasible)

         13. Nothing in the docket supports a finding that any of the proposed reductions
             (individually or collectively) would have any measurable impacts in downwind states.

         14. The lack of a trading option puts non-EGUs at a significant disadvantage when
             compared to EGUs, is illogical and makes EPA's errors in setting unit-specific
             emission limits even more critical to the extent many errors result in fatally flawed
             rule. In addition, EPA has not proposed a case-by-case option for emission units that
             would be subject to the regulation, whereas almost every prior RACT rule has
             recognized that emissions and technologies are not fungible and such determination
             are many times best determined on a case-by-case basis when the general technology
             and/or limit is shown to be inappropriate or infeasible.

  XXI. Due to the Lack of Stakeholder Engagement EPA Fails to Understand the
       Integrated Steel Making Process.
          The Bureau of Industry and Security and Department of Commerce have determined that
  domestic steelmaking is necessary for our nation’s security production requirements and without
  domestic steel production we run the risk of not being able to adequately respond to a national
  emergency. In addition, the U.S. Department of Homeland Security has designated steelmakers
  like U. S. Steel, to be a vital component of our nation’s critical manufacturing sector, which is
  necessary for the economic prosperity, security, and continuity of the United States. The COVID-
  19 pandemic and the Russian-Ukrainian conflict have highlighted the importance of having robust
  domestic manufacturing capabilities to supply important products that are essential to national,
  economic and health security. Therefore, it is imperative that any rulemakings that have the
  potential to significantly impact the steel industry are accurate and well-grounded in the law and
  technology. Unfortunately, EPA’s Proposed Rule short of these critical criteria.
          U. S. Steel has been a critical partner with Federal, State and local governments for over
  120 years. Today U. S. Steel employs our “Best For All” strategy where we are diversifying our
  capabilities and technology through a balance of Integrated Iron and Steel Facilities with scrap to
  steel facilities using Electric Arc Furnace (EAF) technology. This strategy is critical for U. S.
  Steel to work towards more sustainable steel production.
          In developing the Proposed Rule, EPA did not reach out to U. S. Steel or, to our knowledge,
  any steel sector stakeholders. This lack of outreach has led to EPA proposing a rule that is illogical

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  and infeasible. In order to truly have a Proposed Rule with positive impacts would require EPA
  to have a least a minimal understanding of the non-EGU sectors they seek to regulate.
           For all of the non-EGU sectors targeted in the Proposed Rule, EPA generically grouped all
  facilities by the assigned NAICS codes without any attention to the details of the actual facilities,
  and emission units to be regulated. As discussed within our comments, EPA did not develop
  emission limits in the Proposed Rule for the emission units to be regulated, but instead attempted
  to apply a one sizes fits all approach to NAICS code groups like iron and steel facilities. For
  example, EPA makes assumptions that all reheat furnaces have similar feasibility for emission
  control technology and the same emission rates even though there are vast differences among the
  technology and type of reheat furnaces across the iron and steel industry with different emission
  profiles and emissions
          EPA has not clearly explained its screening process in assessing the iron and steel industry.
  More details are needed for the industry to be able to comment accordingly. For example, in the
  Proposed Rule, EPA claims that sources with actual emissions greater than 100 TPY were
  assessed, except well-controlled sources. However, after reviewing the purported supporting
  documentation from the docket, it is not clear on what criteria U.S. EPA used to determine if a
  source was well-controlled, and what sources it considered were indeed well-controlled. In
  addition, EPA states that the rule would apply to any emission unit that directly emits or has the
  potential to emit 100 tons per year or more of NOx (and to each BOF Shop containing two or more
  such units that collectively emit or have the potential to emit 100 tons or more per year or more of
  NOx. There is a significant difference between actual emissions of over 100 tons and PTE of over
  100 tons. In addition, it also appears that a number of emissions units less than 100 TPY actual
  emissions would inexplicably be covered in the iron and steel category of the Proposed Rule. It
  is not clear on how or why EPA would include many of the emission units in this category to be
  subject to FIP limits.
         In addition, it is unclear on how BOP Shops are to aggregate emission units; and why and
  how EPA believes SCR on many of the smaller emission units within a BOP Shop would be
  appropriate and feasible. For example, BOP Shops generally have a few or several ladle/tundish
  preheaters. These preheaters are small sources of NOx and NOx controls on these units – even if
  assumed to be technologically feasible (which it is not)– would not be economically feasible.
  XXII. EPA Failed to Determine Technological Feasibility Related to Integrated Iron and
        Steel Process.
           As explained herein when applying RACT, EPA must demonstrate that the proposed limits
  are both technically and economically feasible on a facility and unit specific basis. And even
  stricter standards like BACT still require an analysis of technical and economic feasibility. And in
  any case, EPA has an independent “duty to examine [and justify] key assumptions as part of its
  affirmative ‘burden of promulgating and explaining a non-arbitrary, non-capricious rule. . . .’”272


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        Appalachian Power Co. v. EPA, 328 U.S. App. D.C. 379, 135 F.3d 791, 818 (1998).


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  and EPA may not “promulgate rules on the basis of inadequate data, or on data that, to a critical
  degree, is known only to the agency.” 273 And thus EPA’s assumptions regarding feasibility in the
  Proposed Rule must be adequately justified. EPA has failed to meet its legal burden as it related
  to the emission limits in the Proposed Rule related to emission units at integrated iron and steel
  operations.
             A.       General Issues with the Application of the Proposed Rule to Integrated Iron and
                      Steel Operations.
          The Proposed Rule makes erroneous assumption and contains errors that result in fatal
  issues with its application to the iron and steel industry. The application of the Proposed Rule will
  require significant operational changes, excessive costs and, in many cases, minimal NOx
  reductions and actually increases other air pollutants. The SCR technology in the Proposed Rule
  is not feasible for the sources/emission units in the iron and steel sector that EPA proposes to
  regulate. Notwithstanding the fact that EPA has not shown if or how iron and steel facilities are
  contributing to or interfering with ozone attainment in downwind states, even it did, due to the
  incompatibility of post combustion controls such as SCR/SNCR with many of emission units at
  integrated iron and steel facilities, EPA’s emission limits in the Proposed Rule are not feasible and
  are therefore unlawful.
          EPA has failed to provide support in the Proposed Rule or accompanying technical
  documents to show that these required emission reductions are actually achievable or, even if they
  were, how they would result in any measurable improved ozone air quality in downwind states. In
  many instances equipment and fuels within the steelmaking industry are already low NOx so
  reductions are not likely to be achieved; and if any further reductions were technologically feasible,
  they would be cost prohibited as explained in the Trinity Report and the Barr Report. For instance,
  the Proposed Rule EPA proposes “[f]or a vacuum degasser, NOX is not generated in the process
  and so NOX control cannot be applied there despite EPA’s proposed control. And for an LMF,
  EPA proposes low NOX burners as a control technology, but there are no burners in an LMF.”
  Again, in its rush to regulate, EPA has proposed a fatally flawed rule that, if promulgated, would
  lead to illogical, infeasible results at great costs without a required showing of favorable impacts
  in the downwind states. That being said, U.S. Steel is committed to working with EPA on sound,
  proven sensible solutions that are technologically and economically feasible and result in
  measurable ozone improvements in downwind states if, and only if, EPA first demonstrates and
  shows that the iron and steel industry interferes with ozone attainment in downwind states, which
  it has not done so in the proposed rule or its purported supporting documents.
         Some of the emission units and US Steel’s integrated steel facilities to which EPA would
  have the SCR emission control applied would require significant preconditioning and heating of
  the exhaust gas to make it amenable to SCR. The conditioning and heating of exhaust gas prior to
  being able to utilize a SCR would not only be difficult to design and operate but would also require
  increased use of natural gas and have other impacts and costs not considered by EPA. The

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        Portland Cement Ass’n v. Ruckelshaus, 158 U.S. App. D.C. 308, 486 F.2d 375, 391-93 (1973).


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  increased combustion of natural gas that would be required to condition the exhaust gas for a SCR
  would increase various emissions such as CO2, PM, SO2 and even NOx. The increase in NOx
  clearly goes against the purpose of the Proposed Rule. Nor did EPA consider the design and
  infrastructure that would be needed for the conditioning and preheating or the environmental
  impacts associated with the increases in emissions associated with conditioning and preheating.
  These issues were overlooked or not recognized by EPA during the development of the Proposed
  Rule.
         EPA also failed to fully and accurately develop the costs that would be incurred by the iron
  and steel industry. The EPA claims that the SCR technology and the limits set in the Proposed
  Rule would be cost effective but to arrive at that calculation the costs were estimated if technology
  ran year-round and not just during ozone season (for. Trinity Consultants provides the following
  information related to their review of the costs associated:
          “For instance, EPA estimates that selection of SCR in the Iron and Steel Mills and
  Ferroalloy Manufacturing Industry may be associated with 948 ozone season NOx
  reductions, at an annual cost of $9,886,092. If EPA had calculated the cost per ozone
  season ton of NOx reduced, this would result in an estimate of $10,428 per ton of NOx
  reduced, which is well above the cost threshold of $7,500 stated by EPA). But EPA instead,
  without justification, lists the average cost per ton as $4,345, which would only be the case
  if the ozone season tons were extrapolated to assume continuous annual reductions.”
          In the Proposed Rule, EPA started from a limit that was the lowest emission rates identified
  in any prior RACT or BACT analysis and inexplicable applied additional controls that would lead
  to arbitrary and unsustainable additional reductions. These reductions were based on control
  technologies never before applied to these emission units and only based on incorrect generic
  assumptions. EPA uses similar approaches for the proposed emission limits for all steel units in
  proposing emission limits far below those determined as either BACT or RACT in unit-specific
  analyses. This all further supports that EPA used a flawed methodology in the development of the
  Proposed Rule. We further note that it is illogical and inappropriate for EPA to now require an
  unjustified, unproven (and infeasible) limit that is significantly lower than BACT or LAER.
         B.      Application of the Proposed Rule to Specific Integrated Iron and Steel
                 Operations.
         The application of the Proposed Rule to various equipment within an integrated iron and
  steel facility causes many similar issues. This section will address what some of the concerns are
  with each part of the operations. The issues with the application to the integrated facility are
  discussed throughout these comments. The emission units discussed below are also discussed in
  more detail in the Trinity Report found at Exhibit D.
         1.   Blast Furnace Operations.
         The blast furnace converts iron oxide into molten iron for subsequent refining in the BOPF
  shop to produce steel. A typical burden (feed) may consist of iron ore, pellets, sinter, limestone,
  coke, mill scale, BOPF slag, and other iron bearing materials. The burden material is charged into

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  the top of the furnace and slowly descends through the furnace. The coke provides the thermal
  energy required for the process and provides carbon to reduce the iron oxide and to remove oxygen
  in the form of CO. To U. S. Steel’s knowledge, SCRs are not installed on any blast furnaces
  domestically or internationally, and in the TSD and docket materials, EPA does not cite to any
  successful application of SCR at any blast furnace (“BF”). This is because SCRs are not
  technologically feasible as a NOx control for blast furnaces; nor are they cost-effective. U. S.
  Steel conducted a BART analysis of the BF at Gary Works in 2020 and a RACT analysis at the
  Edgar Thompson facility in 2014 both of those evaluations indicated the Proposed Rule is not
  feasible. These are both discussed further in the Trinity comments found in Exhibit D.
          BFs use blast furnace gas, coke oven gas, or other heat sources to generate the heat
  necessary to metal the iron. The use of regenerative heat capitalized on the blast furnace gas
  (“BFG”). BRG is a low NOx gas and already uses a best practices approach and minimizes the
  impact on air emission. Any excess BFG is flared to minimize air impacts. EPA seems to fail to
  realize that the SCR technology is not compatible with a BFG gas flare. If BFG was not used to
  heat the BF then it would require increased use of natural gas, which would have a negative impact
  on air emissions.
         The application of the Proposed Rule to BFs and the limits established were incorrectly
  achieved. As stated in Exhibit D, prepared by Trinity Consultants:
         “For blast furnaces, EPA started with an Ohio RACT limitation and then assumed
         a 50% reduction (from that RACT limitation) based on application of a control
         technology never before applied to this source type. EPA uses similar approaches
         for the proposed emission limits for all steel units in proposing emission limits far
         below those determined as either BACT or RACT in unit-specific analyses. EPA
         appears to base its approach on an incorrect interpretation of the data in MCM and
         CoST and does not include any fact-based finding that these technologies are
         applicable to the steel emission units as part of this proposal.”
  Emission limits should be set following the application of appropriate regulatory requirements,
  accurate information, with appropriate control technologies. It appears that none of this was done
  with the development of the emission limits for the Proposed Rule.
         2. Basic Oxygen Process.
          Basic Oxygen Process (BOP) is treated differently than all other non-EGU sources. In the
  other various non-EGU sources there is potential to emit of 100 tpy of NOx as individual emission
  units to be included in the Proposed Rule. However, BOP operations are required to combine all
  emission units in determining whether the emission limits in the Proposed rule apply to the
  emission units at the BOP operations. This combining of emission units results in the application
  of SCR requirements to potentially very small emission units that do not have an associated stack.
  Requiring SCR emission controls on units that emit very few tons of NOx per year is overly
  burdensome, costly and will have no impact on downwind states. The result is illogical.



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         The BOP is not conducive to the application of the Proposed Rule’s SCR technology to
  decrease NOx emissions. BOPs typically operate with a wet scrubber exhaust system which
  produces a gas too cool to go into a SCR/SNCR without significant conditioning and heating.
  Even assuming there is sufficient space, the BOP exhaust system would have to be a completely
  new design likely to include larger fans and increased duct work. The gas would also have to be
  heated to temperatures compatible with the SCR resulting in significant, independent NOx
  emissions. Both of these equipment additions would lead to increased natural gas and electricity
  usage.
          EPA did not consider the costs for redesign of the BOP systems (nor should it as such
  redesign goes beyond RACT), modification of equipment and process to attempt to work with the
  SCR requirement, additional equipment needed, additional natural gas, or additional electricity
  costs. In the EPA’s limited understanding of the iron and steel process they also failed to realize
  that imposing the SCR technology will also lead to emission increases associated with the
  increased usage of natural gas and electricity. Nothing in the rulemaking docket indicates that
  EPA considered these costs and impacts; and how the (incorrectly) assumed reductions benefit
  downwind states.
          It is significant to note that EPA has not shown how SCR has been applied on any BOP
  Shop; and that the anticipated reductions are indeed achievable – technologically and
  economically. In the TSD, EPA states that it based the emission limit of 0.07 lb/ton of steel on
  performance testing data from basic oxygen furnaces without NOx reduction controls at integrated
  iron and steel mills in the United States. EPA then projected what it refers to as a minimal 50%
  NOx reduction efficiency that EPA, without any support whatsoever, is achievable by use of low-
  NOx technology, including potential use of FGR and selective catalytic reduction.” EPA’s rather
  simplistic approach is that because most BOF vessels and associated BOF Shops in the United
  States are already equipped with capture technology and existing particulate matter control
  devices, the NOx reduction technology could simply be integrated to the existing controls. This
  over-simplification is not supported by fact or law. EPA has not shown that SCR has been
  successfully applied to BOP Shops. The dynamic conditions in the exhaust gases, including
  dramatic swings in flow and temperature (e.g., oxygen blow vs. charging or tapping) make SCR
  inappropriate – and this is supported by the fact that EPA and states/air agencies have never applied
  SCR to the basic oxygen furnace process shops for any RACT, BACT or LAER determination.
  However, with the broad stroke in one simple paragraph, EPA, without any support, upends
  decades of prior determinations, and now inexplicably claims SCR is somehow feasible and
  appropriate. The TSD is scant on any support – but instead EPA relies on false assumptions.
         3. Ladle Metallurgy Furnace.
          Ladle metallurgical furnaces (LMF) are used in the steel industry to increase the liquid
  metal temperature for casting and to produce steel grades by adding alloys. The LMF process is a
  batch process and since there is no combustion source (except for de minimis amounts associated
  with the consumption of electrodes by oxidation with oxygen in capture air) there is minimal NOx
  emissions. In sum, applying SCR at an LMF is inappropriate and illogical. In addition, the

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  application of SCR is not technically feasible, in part due to the batch process of the LMF. Even
  if one were able to determine how to implement the SCR on a LMF, it would not be cost-effective
  as it would require an entire redesign of the system and process with de minimis reductions in
  NOx. Furthermore, because EPA includes LMF as part of the BOP Shop, there is no de minimis
  threshold for the applicability of the FIP to LMFs (assuming that the BOP Shop’s PTE (from all
  units within the shop) is 100 tons or more. This is illogical – so illogical that the cost effectiveness
  would be approach $2 million per ton of NOx removed – several orders of magnitude of EPA’s
  purported cost threshold of $7,500/ton. Furthermore, EPA has not shown how LMFs (individually
  or aggregately with other emission units) interfere with ozone attainment in downwind states; nor
  has EPA shown how the emission limits for LMFs would lead to any measurable benefits in ozone
  in downwind states.
         4. Degassers.
          EPA appears to have a fundamental misunderstanding of vacuum degassing and NOx
  emissions (de minimis) associated with the process. Vacuum degassers (VDGs) are used in the
  steel industry to remove certain gases from the molten steel prior to casting. This helps to produce
  the desired properties of the finished steel. Degassers can remove hydrogen (H2), oxygen (O2), and
  nitrogen (N2) that are dissolved in the liquid metal. They are also used to reduce the carbon content
  of the steel prior to casting to produce an ultra-low carbon product.
          While not clear from Proposed Rule, it would appear that EPA would intend to include
  vacuum degassing in the BOF Shop, and therefore, not subject to the triggering 100 ton PTE
  threshold, and, instead, would inexplicably be included and subject to the proposed limits even if
  no appreciable reduction would result. The process of the degasser itself does not generate NOx
  – and therefore its inclusion in the proposed rule is perplexing. The only NOx associated with
  vacuum degassing is NOx generated by the flare when CO abatement and is a function of adiabatic
  flame temperature which is related to excess air, fuel usage and flare design. EPA’s has scant
  support for its inclusion of vacuum degassing and the proposed limit of 0.03 lb/mmbtu on existing
  permit limits of 0.05 lb/mmbtu. (EPA’s entire technical support discussion in the non-EGU TSD
  for the limit is provided below:
         “For vacuum degassers utilized in secondary steelmaking, EPA based the limit of 0.03
         lb/mmBtu on existing permit limits of 0.05 lb/mmBtu. EPA projects minimally 40% NOx
         reduction efficiency is achievable by use of low-NOx technology, including use of
         selective catalytic reduction.”
  EPA does not provide any further explanation – and a review of the RBLC does not support EPA’s
  ambiguous and vague conclusions.
          Installing emission control technology on VDGs is not feasible. VDGs are a batch process
  and has variables in the exhaust gas. Again, due to the de minimis amounts of NOx peripherally
  associated with vacuum degasser flares and the low potential reduction of NOx from installation
  of SCR technology (even if it were feasible, which it is not) results in a technologically infeasible
  limit that is not cost-effective. VDGs also are very low in NOx emissions and do not meet the 100


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  ton per year threshold in the Proposed Rule. However, the VGDs are inexplicably pulled into the
  aggregated numbers of the BOP or BOF emissions
         5. Ladle/Tundish Preheaters.
           Ladle or Tundish preheaters are small natural gas burners that direct fire ladles to keep
  them warm, dry or preheat them – as an ancillary process and to better preserve refractory. The
  preheaters are used to dry out ladles and there is no vent or combustion exhaust gas capture. In
  this case SCR technology is not feasible as there is nothing to add the SCR to at the end of the
  exhaust. EPA failed to understand the use of these preheaters and did not make any determination
  as the feasibility of putting SCR on the ladle or tundish preheaters. If the Proposed Rule is finalized
  there would be significant costs in trying to absolutely redesign these preheaters to accommodate
  the possibility of SCR.
           Ladle preheaters are such a small potential source of NOx that there will be no impact from
  this change on downwind states. Most states already consider this to be an insignificant activity
  for air emissions and consider it fugitive emissions.
          The gas burners on the preheaters are very small with heat inputs of typically 5-15
  MMBtu/hr. In addition, the preheaters are needed to be mobile so that they can be use don ladles
  throughout the shop. The very small heating value, coupled with the de minimis NOx emissions
  from ladle preheating, and the inconsistent and mobile operation makes SCR technologically
  infeasible. And even if SCR were technologically feasible, which it is not, it would not be
  economically feasible, as even if the emissions from the units were able to be captured in a hood
  and treated, the cost estimate of nearly $50,000/ton of NOx removed, not including any costs
  associated with hooding and other infrastructure needed to accommodate the technology. Simply,
  the proposed limit based upon application of SCR is perplexing.
          The ladle preheaters are very low in emissions and do not meet the 100 ton per year
  threshold in the Proposed Rule. However, the preheaters are inexplicably pulled into the
  aggregated numbers of the BOP or BOF emissions. Any potential reduction from ladle or tundish
  preheaters would be minimal and would not be cost-effective. Furthermore, EPA has not shown
  how the insignificant NOx emissions from ladle/tundish preheaters interfere with ozone attainment
  in downwind states; or how downwind states would have any measurable benefit from the
  proposed limits. Again, there appears to be a fundamental misunderstanding of the industry and
  the limitations of the proposed SCR technology to these sources.
         6. Hot Strip Mill Operations/Reheat Furnaces.
      Hot Strip Mills are specifically designed operations, and any addition of equipment or
  technology requires significant planning, engineering, time, and money. EPA’s failure to
  understand the complicated operations at a hot strip mill has led to the Proposed Rule significantly
  underestimating the difficulty that would be involved in retrofitting the prescribed emissions
  control equipment in the Proposed Rule. The cost and ability to retrofit equipment within a hot
  strip mill is going to be extremely difficult and require significant modification to operations. A
  retrofit of this nature will also cause significant downtime and associated loss of revenue. The

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  proposed SCR technology if it is even capable of being installed will require extensive
  modification to accommodate the changes.
         The U. S. Steel Gary Works facility as well as other facilities have completed a RACT
  analysis for hot strip mill operations related to Regional Haze. Operations at these facilities have
  already been modified to meet the RACT requirements. The Proposed Rule attempts to regulate
  beyond the requirements already in place, through what can only be characterized as a “beyond-
  LAER” emission limit. LEAR. All of the changes (for all integrated iron and steel operations) in
  the Proposed Rule will have a minimal impact on attainment in downwind states. Continuing to
  push for unproven and very costly technology to be applied with little to no appreciable
  improvement is not the purpose of this section of the CAA.
         Reheat furnaces are used to reheat slabs of steel to work and shape the steel into another
  product. The reheat furnaces use uniform heat and hold the desired temperature for a set time. The
  design and operation of reheat furnaces makes SCR technology infeasible.
           The U. S. Steel Irvin Works evaluated RACT for a reheat furnace in 2014. Trinity Provides
  an overview in Exhibit D. However as expected “That analysis found that the cost of adding low
  NOX burners would be $14,100/ton, which is not cost effective.” The U. S. Steel Gary Works
  facility then conducted a BART analysis for reheat furnaces in 2020. The BART analysis found
  that the cost of adding low NOX burners would be $14,100/ton, which is not cost effective under
  the purported cost threshold of $7,500 that EPA arbitrarily set forth iron and steel units in the
  Proposed Rule. Due to the heat needed these burners would likely increase the energy use as well.
  Creating another expense and likely increasing air emissions.
         Again, EPA fails to understand the iron and steel industry and does not show that the
  Proposed Rule meets its purpose to improve air emissions related to NOx.
         7. Annealing Furnaces.
         Annealing furnaces go through a series of heating and cooling process allowing hard metals
  to have various ductility and strength. Annealing furnaces are designed to operate in a batch or
  continuous function. Continuous Annealing furnaces are the only steelmaking equipment that has
  been shown to be feasible with the SCR technology. However, SCR is not feasible on batch
  annealing furnaces.
         While the SCR technology may be technologically feasible for continuous annealing
  furnaces it is not cost effective. Trinity Consultants performed a “control cost effectiveness
  analysis on the Irvin open coil annealing furnace, which showed that the SCR cost effectiveness
  would be at best $25,630 (2021$). This is well beyond the EPA stated $7,500.
         EPA also did not use the proper methodology to set emission limits for the annealing
  furnaces. There is additional technical information in the document prepared by Trinity
  Consultants which states “for annealing furnaces, EPA started with recent BACT determinations,
  and then applied an additional 40% reduction without any demonstration of achievability of the



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  proposed limit.” These numbers are not based upon proper determinations and EPA did not provide
  support for the additional 40% reduction found in the Proposed Rule.
         8. Boilers
          Boilers used at integrated iron and steel facilities vary greatly as will the NOx emission
  rates. These boilers will also have a variety of fuel sources and operating parameters. Each boiler
  would have to be evaluated as to the potential to reduce NOx emissions, the technical feasibility
  of SCR and the cost effectiveness.
         U. S. Steel conducted a BART analysis on the Clairton facility boilers in 2022. That
  analysis showed the SCR annual cost effectiveness was at minimum $20,873/ton on Boiler 2, and
  more expensive on others. Additional review has been done at other U. S. Steel facilities and that
  information is provided in the Trinity Report in Exhibit D.
          Some of the boilers already combust BFG which is low NOx and considered a best practice.
  This is significantly better from an environmental perspective than an alternative like natural gas
  that would displace the BFG and increase air emissions. Any modification of boilers would require
  significant modification to attempt to accommodate SCR. This would not only be costly but would
  likely produce negative air impacts, especially if boilers were switched to natural gas.
          Boilers are yet another area where EPA need to evaluate in more detail, likely through a
  separate rulemaking or individual RACT determinations, in order to justify the emission limits, it
  purports to apply “wholesale” to boilers in the Proposed Rule.
          SPECIFIC COMMENTS PERTAINING TO MINNESOTA MINING OPERATIONS
  XXIII. Minnesota Should Not be Regulated in the Proposed Rule.
          Minnesota is not having a significant impact on downwind air quality. Minnesota was
  identified as a non-significant contributor (below 0.7 parts per billion) to any ozone monitors in
  the 2018 modeling performed by both EPA and LADCO. Minnesota’s original submittal should
  have been approved based on contribution information available from both EPA and LADCO at
  that time.
          While EPA now maintains that, with new modeling, it has found contributions in excess
  of 0.71 ppb at two monitors, EPA’s position that this alone is sufficient to subject Minnesota to
  regulation is based on an overly-conservative assumption that a 1% threshold is sufficient to justify
  regulation of downwind ozone impacts.
         Breaking out the sources of the receptor impacts EPA modeled shows that the regulated
  emissions from Minnesota are having less than a 0.3 ppb impact on down-wind monitors.
   2026 MN-Specific Scenario       Total         State           Non-        EGU
                                   Ozone         Impacts         EGU         (ppb)
                                   (ppb)         (ppb)           (ppb)
   Illinois (001) Results (ppb)    72.5          0.91            0.19        0.04


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   Illinois (076) Results (ppb)           71.3              0.75               0.18           0.03


           In other words, eliminating all non-EGU and EGU emissions from Minnesota would not
  affect Illinois’ attainment status.
           If the sources being evaluated for controls are not providing a reduction that would have
  any appreciable impact on attainment or maintenance of the NAAQS, then EPA cannot support
  regulating those emissions as “amounts which will—(I) contribute significantly to nonattainment
  in, or interfere with maintenance by, any other State with respect to any such national primary or
  secondary ambient air quality standard.” 42 U.S.C. § 7410(a)(2)(D)(i)(I); see also EPA v. EME
  Homer City Generation, LP, 134 S. Ct. 1584 (2014) (“EPA cannot require a State to reduce its
  output of pollution by more than is necessary to achieve attainment in every downwind State or at
  odds with the one-percent threshold the Agency has set. If EPA requires an up-wind State to
  reduce emissions by more than the amount necessary to achieve attainment in every downwind
  State to which it is linked, the Agency will have overstepped its authority, under the Good
  Neighbor Provision, to eliminate those "amounts [that] contribute ... to nonattainment.”).
          Simplified assumptions are sometimes appropriate and necessary in a complex modeling
  analysis such as a national photochemical ozone evaluation. However, when the results are used
  to justify costly controls and monitoring on a significant number of industrial operations in the
  state, further culpability refinements need to be assessed. Arbitrarily requiring controls across
  multiple non-EGU facilities in a state contributing more than 0.71 ppb to a modeled ozone value
  greater than 70 ppb demands an extra step confirming that the specific non-EGU sources EPA
  seeks to regulate are in fact significant contributors from each state. 274 Again, looking at the
  impacts modeled for the State of Minnesota, the maximum modeled impact is less than 1 ppb.
   MN      Keetac,       Cook (1), IL: 73.4          Cook (1), IL: 0.97         Cook (1), IL: 72.5         Cook (1), IL: 0.91
           Minntac       Cook (76), IL: 72.1 Cook (76), IL: 0.79 Cook (76), IL: 71.3 Cook (76), IL: 0.75


           As discussed in the above Section VI. G titled “Improper Significance Screening
  Threshold,” no impact below 1 ppb can be considered significant, due to EPA’s 2018 guidance
  finding that a 1 ppb threshold is generally comparable to a 1% threshold for the 2015 ozone
  NAAQS in terms of the contributions it would cover, 1 ppb being the lowest significant digit used
  for reporting ozone monitoring data under the NAAQS, and EPA previously determining based on
  statistical analysis underlying the Ozone SIL that no contribution below 1 ppb can have a
  274
     In fact, as discussed previously, there is no statutory justification for EPA to group unrelated industries together
  as a lump title of “non-EGU” sources for purposes of evaluating the significance of impacts, and it is arbitrary to
  lump all such industries together when EPA provides industry specific consideration to the EGU industry. EPA must
  evaluate the significance of the particular sources is seeks to subject to the rule if it wishes to impose facility or unit
  specific emission controls. If on the other hand EPA wishes to create an emissions trading regime similar to that
  currently in place for EGUs, EPA must at minimum demonstrate that any industries included in such trading
  regimes are significant contributors to each specific state’s linked receptors.


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  significant impact on a downwind receptor. Based on this limited impact at even the maximum
  modeled influence on receptors, EPA’s argument that Minnesota emissions need to be controlled
  for future ozone NAAQS demonstration based on a maximum contribution of between 0.75 and
  0.97 ppb is not justifiable.
         EPA’s decision to regulate Minnesota based on a maximum modeled contribution of 0.97
  ppb rather than EPA’s guidance threshold of 1 ppb also is particularly troubling because the model
  EPA is using lacks the consistency and accuracy needed to make such fine-grained distinctions.
  Rather, based on EPA’s own assessment in the modeling TSD, “the regional mean bias of the
  model is +/- 5 ppb and the mean error is between 6 and 7 ppb on average for all days during the
  period May through September in each region.” 275
                                                           Model/Obs. Mean Bias Mean                  Standard
                                                           (ppb)      (ppb)     Error                 Deviation
                                                                                (ppb)                 (ppb)
         Cook County, IL (001)                             60.75/68.97 -8.22             11.13        8.16
         Cook County, IL (076)                             57.87/67.77 -9.90             11.85        8.65


          These numbers challenge the assumption in the Proposed Rule that emissions from
  Minnesota are “significant.” It is simply insupportable to assert that unprecedented and costly
  emission reductions are needed to achieve an impact on down-wind monitors that is less than the
  error in EPA’s model.
  XXIV. Taconite Should Not be Regulated in the Proposed Rule.
         Taconite is not part of the Iron and Steel and Ferroalloy Manufacturing Industry Group.
  EPA’s modeling analysis of contributions from non-EGU emission units was conducted on an
  industry-group basis, based on 4-digit NAICS codes. 276
          EPA created two “tiers” of industry groups. Id. The first tier includes four industries that
  EPA proposes it “should focus the assessment of NOx reduction potential and cost primarily on”:
  pipeline transportation of natural gas; cement and concrete product manufacturing; iron and steel
  mills and ferroalloy manufacturing; and glass and glass product manufacturing. Id. The preamble
  to the Proposed Rule appears to include “Taconite production kilns” as a source in the Iron and
  Steel and Ferroalloys Manufacturing Industry Group. 277 Further, the proposed language of 40
  CFR § 52.43, which applies to Iron and Steel Mills and Ferroalloy Manufacturing is proposed to
  include in the definition of “Affected unit” “taconite production kiln.” 278

  275
        Air Quality Modeling Technical Support Document, EPA-HQ-OAR-2021-0668-0099 at A-7.
  276
        87 Fed. Reg. at 20,083; see also EPA-HQ-OAR-2021-0665-0191, at 1.
  277
        87 Fed. Reg. 20,046, Table IV.B-4; id. at 20,145, Table VII.C-3.
  278
        87 Fed. Reg. at 20,181.


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          To the extent EPA is including taconite kilns in the Proposed Rule because they are part of
  “iron and steel mills and ferroalloy manufacturing,” this is incorrect. Taconite production is not
  part of iron and steel or ferroalloy manufacturing. The modeling underlying the Proposed Rule
  categorizes emission units based on the NAICS Code of the subject facilities. The NAICS code
  for iron and steel manufacturing is 3311. Metal ore mining, including taconite production, has
  NAICS code 2122. This is documented in EPA’s own modeling data from September 29, 2021.
  Section 2.5.2 of the RIA describes the industry EPA intended to regulate in the Iron and Steel Mills
  and Ferroalloy Manufacturing NAICS code:
              Iron is produced from iron ore, and steel is produced by progressively removing
              impurities from iron ore or ferrous scrap. The first step is iron making. Primary
              inputs to the iron making process are iron ore or other sources of iron, coke or
              coal, and flux.
          (emphasis added). This description does not include mining or processing of taconite
  prior to the iron making process.
           It is arbitrary to include taconite kilns in the Proposed Rule because EPA has not modeled
  the significance of their contribution to any downwind receptor as would be required. Taconite
  production is not separately mentioned in the Non-EGU Screening Assessment which is EPA's
  sole basis for determining which industries had a significant enough impact relative to subject to
  the Proposed Rule. EPA states that that modeling was done on the basis of NAICS code, which
  would mean that taconite kilns were not included in the modeling of the contributions from the
  Iron Steel and Ferroalloy industry since as noted above taconite production belongs to a different
  NAICS code. This is confirmed by the fact that there appear to be no taconite kilns listed in the
  list of facilities and emission units evaluated as part of the Non-EGU Screening Assessment. 279
  Because taconite production was never modeled to be a significant contributor to downwind
  nonattainment or maintenance issues, it cannot be regulated under the Good Neighbor provision
  of the CAA. Furthermore, there is no rational basis to treat Taconite as part of the Iron and Steel
  and Ferroalloy Manufacturing Industry Group. Taconite production is not co-located with iron
  and steel manufacturing. As a result, there are no taconite production kilns “at an iron and steel
  mill or ferroalloy manufacturing facility.” 280 Taconite production does not use similar processes,
  have similar emission profiles, or use similar pollution controls. There is no factual basis to
  conclude that taconite production and iron and steel manufacturing have similar impacts on down-
  wind receptors, similar costs of pollution controls, or should otherwise be grouped together for
  purposes of screening or regulation under the Proposed Rule.
  XXV. Taconite Was Properly Eliminated from EPA’s Screening Assessment as a Tier 2
       Source Without Significant Boiler Emissions.


    Non-EGU Screening Assessment at Table 6; see also excel file in regulatory docket titled “Screening Assessment
  279

  Non-EGU Facility and Emission Unit Limits List”.
  280
        Id.


                                                        103
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         While there is no rational basis to include taconite kilns in the Iron and Steel and Ferroalloy
  Manufacturing Industry Group, EPA did evaluate the Taconite Industry as part of the Metal Ore
  Mining Industry Group in its Screening Analysis. In doing so, Taconite was appropriate excluded
  from the Proposed Rule.
          Specifically, in the “Non-EGU Screening Assessment,” the Metal Ore Mining Industry (4-
  digit NAICS 2122) was originally included as a Tier 2 industry group; however, in a later step in
  the analysis EPA refined the Tier 2 grouping by identifying potentially impactful industrial,
  commercial, and institutional (“ICI”) boilers, using the projected 2023 emissions inventory in the
  linked upwind states. This eliminated the Metal Ore Mining Industry Group from the assessment
  entirely, as EPA found that it had no “potentially impactful” boilers. 281
         Based on EPA’s own assessment, therefore, boilers in the Metal Ore Mining industry,
  which would include the Taconite Industry, do not provide opportunities for NOx emissions
  reductions that result in meaningful impacts on air quality at downwind receptors.
  XXVI. There is No Other Support in the Record for Subjecting the Taconite Industry to
        Regulation.
         The record is notably lacking in any analysis that would support including the Taconite
  Industry, on its own or as part of the Iron and Steel and Ferroalloy Manufacturing Industry.
           As EPA explains in the preamble to the Proposed Rule, “for Taconite Production Kilns,
  the EPA does not currently have the data to determine appropriate emissions limits that these units
  could achieve by installing low NOX burners. Therefore, the EPA is proposing to require the
  installation of low NOX burners for Taconite Production Kilns and work practice standards for
  operating these control technologies to achieve emissions reductions. The EPA is also proposing
  to require these sources to perform performance tests and establish a unit-specific emissions limit
  at that time. These work practice standards are consistent with EPA’s Taconite FIP for
  Minnesota. 282 Due to the ongoing nature of this FIP, the EPA is proposing to require installation
  of specific control technologies and a period of evaluation before setting a numerical emissions
  limit.” 283 This is just another way of saying EPA does not have sufficient data to impose emission
  regulations and that this data, and the regulations themselves, will come from the Taconite FIP. If
  EPA lacks the data to regulate now, the only option is to exclude Taconite from regulation. EPA
  cannot promulgate a “placeholder” rule that simply says EPA will regulate later.
          EPA has also not done any of the assessments for Taconite that have been included to
  support the Proposed Rule for other sources. The data EPA used for its screening assessment did
  not include taconite kilns. 284 EPA’s Screening Assessment identified 489 emission s units with

  281
      Screening Assessment at 5; see also id. at 6, Table 1: Number of Emissions Unit Types in Tier 2 Industries in the
  Non-EGU Screening Assessment.
  282
        See 81 FR 21671 (April 12, 2016).
  283
        87 Fed. Reg. at 20,146.
  284
        EPA-HQ-OAR-2021-0668-0191 Attachment 1.


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  greater than 100 tpy of NOx emissions at approximately 250 facilities, none of which were taconite
  kilns or taconite facilities. EPA’s estimates of costs did not look at taconite facilities.
          Had EPA looked at the costs of regulating the Taconite Industry, it would have been forced
  to reject the $7,500/ton threshold suggested by its modeling. Barr has completed an initial draft
  cost estimate for a retrofit installation of low-NOx burners on one of the U.S. Steel Minntac’s Step
  III 153 MMBTU/hr Natural Gas-Fired Heating Boilers using the Proposed Rule’s NOx emission
  limit for Natural Gas Fired Boilers of 0.08 lb/MMBTU. The preliminary cost estimate shows that
  if one of Minntac’s Step III 153 MMBTU/hr Heating Boilers was retrofitted with a low-NOx
  burner, the resulting pollution control cost would be ~$20,000/ton of NOx removed, which exceeds
  EPA’s cost effectiveness threshold of $7,500/ton. EPA’s benefits calculations (EPA-HQ-OAR-
  2021-0668-0134) did not look at benefits from regulating taconite kilns. EPA’s examination of
  ongoing compliance costs did not look at taconite facilities. 285 Without the relevant data and a
  satisfactory explanation for its actions, EPA cannot include the Taconite Industry in regulations
  that are otherwise completely focused on other sources.
  XXVII.     Excluding Taconite from the Proposed Rule is Proper Because the Proposed
       Rule Imposes No Limits on the Industry.
          NOx emissions from taconite kilns are already regulated by detailed regional haze FIPs
  covering Minnesota and Michigan. 286 This FIP imposes stringent NOx emission limits based on
  the installation of low-NOx main burner systems as the best available retrofit technology
  (“BART”), with specific emission limits and implementation schedules established for each
  taconite facility based on its own historic performance and retrofit capabilities. Minnesota has
  noted in prior comments that the Taconite FIP is already responsible for just under 11,000 tons per
  year in NOx reductions in the State, including 5,700 tons per year from U. S. Steel’s Keetac and
  Minntac facilities. 287 This is a demonstration of the considerable environmental improvements
  that have already been achieved in Minnesota air quality and interstate transport of NOx from
  Minnesota. The Proposed Rule recognizes the effectiveness of the Taconite FIP, pointing to the
  FIP requirements as the very requirements needed by the Taconite industry “to achieve the required
  emissions reductions [to satisfy the] remaining interstate transport obligations for the 2015 ozone
  NAAQS.” 288 Even if the Taconite Industry were subject to regulation under EPA’s Screening
  Assessment, this finding would support excluding the Taconite Industry from further regulation,
  because there are no further restrictions needed to prevent significant contribution to
  nonattainment or interference in maintenance of the ozone NAAQS, and EPA is not permitted to
  over-control sources. 289


  285
        Information Collection Request, EPA-HQ-OAR-2021-0194 at 4 and 11-12.
  286
        40 CFR §§ 52.1235 and 52.1183 (the “Taconite FIP”).
  287
        Minnesota SIP Denial Comments at 2.
  288
        87 Fed. Reg. at 20,045.
  289
        EPA v. EME Homer City Generation, LP, 572 U.S. 489 (2014).


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          Minnesota has itself urged EPA to “have these significant reductions included in the
  2016v2 inventory for non-EGUs” rather than take credit for them in the new FIP. 290 But EPA
  does not draw the right conclusion from the results of the Taconite FIP. No other non-EGU is
  subject to this type of double-regulation in the Proposed Rule, and EPA provides no justification
  for singling out taconite kilns in the Proposed Rule. As with other industries that are not Tier 1
  sources and do not have large boilers subject to Tier 2, the Taconite Industry should be excluded
  from the Proposed Rule.
  XXVIII.              The Proposed Rule Should Not Incorporate Another FIP by Reference.
          As discussed above, the Taconite Industry is already subject to stringent NOx regulations
  by the Taconite FIP. EPA proposes to re-impose these same requirements in the Proposed Rule,
  essentially double-counting reductions that have already been mandated by the State of Minnesota
  and EPA. Specifically, the Proposed Rule nominally includes taconite kilns, erroneously
  categorized as part of the Iron and Steel and Ferroalloy Manufacturing Industry, but the emission
  limits in the Proposed Rule for taconite kilns are “Work practice standard[s] to install low NOx
  technology/burners, test and set.” 291 This requirement is explained as being imposed because it is
  “[c]onsistent with requirements in Minnesota Taconite FIP See 81 FR 21671.” 292 The proposed
  rule language is even more explicit, stating that Taconite Production Kilns are to “Install and
  operate low NOX burners as required by 2013 and 2016 Minnesota FIPs. 40 CFR § 52.1183.” 87
  Fed. Reg. at 20,181, Table 1 to Paragraph (c). 293 In other words, the Proposed Rule does not
  impose emission limits on the Taconite Industry. It only incorporates requirements from the
  already-imposed FIP.
         Taking a FIP that has already been imposed for regional haze and recasting it in duplicate
  form as an ozone transport requirement is inefficient and inappropriate. Rather than imposing a
  redundant Taconite FIP requirement in the Proposed Rule, EPA should find that, considering the
  Taconite FIP, no further regulation of the Taconite Industry is needed to address.
  XXIX. If EPA Ultimately Incorporates the Taconite FIP in the Proposed Rule, it Must
        Accurately Reflect the Requirements of the Taconite FIP.
          Including the Taconite Industry in the Proposed Rule is at best redundant with the Taconite
  FIP. At worst, the Proposed Rule will conflict with the Taconite FIP it purports to incorporate,
  creating confused and potentially inconsistent requirements.
          In the Taconite FIP, EPA attempted to impose a single uniform emission limit across all
  taconite kilns. This resulted in over ten years of litigation, which is still ongoing, and multiple

  290
        Minnesota SIP Denial Comments at 2.
  291
        87 Fed. Reg. 20,046, Table I.B-4 and 20,145, Table VII.C-3.
  292
        Id. at Table VII.C-3.
  293
     The Proposed Rule’s citation is incorrect. 40 CFR § 52.1183 is the Michigan regional haze FIP. The Minnesota
  FIP is at 40 CFR § 52.1235. This reference also ignores the 2021 Minnesota FIP, which addressed Minntac. See
  86 Fed. Reg. 12,106 (March 2, 2021).


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  revisions to the Taconite FIP to incorporate the unique circumstances of each facility. 294
  Additional revisions are anticipated following negotiation of revised language for U. S. Steel’s
  Keetac facility.
          In attempting to paraphrase the Taconite FIP in a single line, the Proposed Rule falls into
  the same error. The Proposed states that taconite kilns will “install, maintain, and continuously
  operate low-NOX burners to reduce existing average NOX emissions from the facility by 40%
  during all periods of kiln operation.” 295 This language is nowhere in the Taconite FIP. Rather, the
  Taconite FIP sets out a detailed and comprehensive plan for establishing achievable emission
  limits for a variety of taconite production kilns. Minnesota has itself estimated that reduction from
  low-NOx burners to range from 2%-65% based on the emission unit. 296
         The language used in the Proposed Rule is also far too vague to serve as a regulatory
  requirement. The Proposed Rule provides no process for calculating “existing average NOX
  emissions from the facility.” 297 The Proposed Rule provides no support for its derivation of a 40%
  NOx reduction at all taconite kilns. As noted above, EPA previously attempted to impose uniform
  emission limits on all taconite furnaces. The result was ten years of litigation and multiple rounds
  of rulemaking revisions to arrive at case-by-case, unit specific emission limits for the taconite
  industry that have been demonstrated achievable based on actual emissions data.
           The Proposed Rule does not recognize that Minntac’s Taconite FIP requirements were
  expressly negotiated to be an aggregate emission limit across five kilns, not a single reduction at
  each kiln. 298 The Proposed Rule improperly directs that a specific technology by used at taconite
  kilns (low-NOx burners). In both the Taconite FIP and for all other sources in the Proposed Rule,
  emission limits are set based on available technologies, but each source is free to achieve the limit
  based on any combination of emission controls. For facilities that have not yet installed low-NOx
  burners, the Proposed Rule provides for using data from “within five years of the effective date of
  this rule to be used as baseline emission testing data providing the basis for required emission
  reductions.” 299 This ignores the test-and-set schedules established in the Taconite FIP for many
  facilities. 300 U. S. Steel and EPA are currently negotiating a revised limit for Keetac that would
  include its own implementation schedule, which may or may not match that of the Proposed Rule.
         The operating, monitoring, and recordkeeping requirements in the Proposed Rule are all
  drafted on the assumption that there is an applicable emission limit for the regulated unit.
  Requirements that a facility use CEMS to “monitor compliance with the emissions limits set forth

  294
        See 81 Fed. Reg. 21,687 (April 12, 2016); 86 Fed. Reg. 12,106 (March 2, 2021).
  295
        87 Fed. Reg. at 20,182.
  296
        EPA-R05-OAR-2022-0006-0011-attachment_1.
  297
        87 Fed. Reg. at 20,182.
  298
        See 40 CFR 52.1235(b)(iii).
  299
        87 Fed. Reg. at 20,182.
  300
        See, e.g., 40 CFR 42.1235(b)(ii)(A)(2).


                                                           107
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  in Table 1 to paragraph (c) of this section,” or record 30-day averages “in excess of the applicable
  NOx emission limit in Table 1 to paragraph (c)” do not make sense if there is no numeric emission
  limit imposed in Table 1 to paragraph (c). 301 Similarly, the Proposed Rule’s requirement that
  taconite kilns “continuously operate NOx control devices as necessary to achieve emission limits
  set forth in Table 1 to paragraph (c) of this section” makes no sense in the context of the Taconite
  FIP.
          Finally, the Proposed Rule goes beyond EPA’s authority when it requires taconite kiln
  operators to “continuously operate low-NOx burners to reduce existing average NOX emissions
  from the facility by 40% during all periods of kiln operation” in order to prevent contribution or
  interference with an ozone NAAQS that are justified throughout the rulemaking only for the ozone
  season.
          The Proposed Rule not only needlessly restates requirements that are already reflected in
  the Taconite FIP, it adds confusion and either undoes, or redoes, without sufficient information or
  support, evaluations and productive efforts that have occurred for over 10 years and that have
  resulted in significant NOx reductions that have been shown to be technologically and
  economically feasible. This is needless overregulation and should be removed from the Proposed
  Rule.
  XXX. Minntac and Keetac Modeling Corrections Are Required
         Minntac is modeled to emit 3,900-4,167 tpy from 2032 to 2023. September 29, 2021,
  Emissions Data. Minntac has already committed, as reflected in its 2013 title V permit, to reduce
  emissions to 3,990 tpy as an annual cap on all facility NOx emissions.
         Keetac is project to emit 4,631-4,949 tpy. According to the 2016 Barr Engineering analysis
  submitted to EPA, baseline calculations of Keetac data should not be based on recent emissions
  data because it is not representative of the mix of fuels the Keetac furnace is permitted to burn.
  Even so, a far more representative baseline is 3,455 tpy for uncontrolled NOx emissions.
                 SPECIFIC COMMENTS RELATED TO STATE IMPLEMENTATION PLANS
  XXXI. The Proposed Rule Does Not Provide Adequate Deference to State Approaches to
        Regulation of Interstate Transport of NOx, as Required by the Principles of
        Cooperative Federalism Contained in the Clean Air Act.
          State primacy in developing implementation plans and the opportunity to cure perceived
  defects in implementation plans are two examples of a broader theme of cooperative federalism
  that runs throughout the Clean Air Act. See Bell v. Cheswick Generating Station, 734 F. 3d 188,
  at 190 (3rd Cir. 2013) (The Clean Air Act “employs a ‘cooperative federalism’ structure under
  which the federal government develops baseline standards that the states individually implement
  and enforce.”); Michigan v. EPA, 268 F.3d 1075, 1083 (D.C. Cir. 2001) (the Clean Air Act “is an
  experiment in cooperative federalism”); see also Am. Trucking Ass'ns v. EPA, 600 F.3d 624, 625


  301
        87 Fed. Reg. at 20,182.


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  (D.C. Cir. 2010) (under the Clean Air Act, “both the Federal Government and the States . . .
  exercise responsibility for maintaining and improving air quality”). As Justice Kennedy stated in
  dissent in Alaska DEC v. EPA:
         If cooperative federalism is to achieve Congress’ goal of allowing state
         governments to be accountable to the democratic process in implementing
         environmental policies, federal agencies cannot consign States to the ministerial
         tasks of information gathering and making initial recommendations, while
         reserving to themselves the authority to make final judgments under the guise of
         surveillance and oversight.
         540 U.S. 461, 518 (2004) (internal citation omitted).
           In proposing the FIP, EPA totally obviated Congress’ intentions that the Clean Air Act be
  implemented across the county in a manner that uses cooperative federalism. Instead, EPA
  unilaterally rejects the State’s approaches to regulating interstate transport of NOx originating
  within their borders, and would impose EPA’s own, unproven and infeasible, preferred approach
  to fulfil the Clean Air Act ozone transport requirements. In doing so, EPA improperly treated the
  state SIPs are mere “initial recommendations” over which EPA could impose its own “final
  judgments under the guise of surveillance and oversight.”
          No state has proposed the type, scope, or stringency of emission limitations contained in
  the Proposed Rule. This is particularly notable in the context of the NAAQS, which do not require
  limitation of any particular industry, emission source, or use of any particular control technology
  to achieve the interstate transport obligations of CAA § 110. This wholesale rejection not just of
  the states’ findings, but their entire approach to regulating emissions within their borders,
  particularly when combined with the lack of any opportunity for the states to reasonably comment
  on the denials of their SIPs and amend them in light of EPA’s perceived deficiencies, demonstrates
  a lack of deference to the fundamental principles of cooperative federalism embodied in the Clean
  Air Act and further cautions against EPA proceeding with the Proposed Rule.
  XXXII.     EPA is Exceeding its Statutory Authority by Issuing the FIP while
       Disregarding Approvable SIPs.
         EPA does not have authority to impose a FIP when adequate and approvable SIPs have
  been submitted to EPA.
          Under the Clean Air Act, states are given primacy in developing implementation plans for
  compliance with the national primary and secondary ambient air quality standards. See 42 U.S.C.
  § 7410; see also Train v. NRDC, 412 U.S. 60, 79 (1975) (EPA is “relegated by the [Clean Air] Act
  to a secondary role in the process of determining and enforcing the specific, source-by-source
  emission limitations which are necessary if the national standards it has set are to be met.”). This
  includes meeting the interstate transport requirements of “prohibiting, consistent with the
  provisions of this subchapter, any source or other type of emissions activity within the State from
  emitting any air pollutant in amounts which will—(I)contribute significantly to nonattainment in,
  or interfere with maintenance by, any other State with respect to any such national primary or

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  secondary ambient air quality standard, or (II)interfere with measures required to be included in
  the applicable implementation plan for any other State under part C to prevent significant
  deterioration of air quality or to protect visibility.” 42 U.S.C. § 7410(a)(2)(D)(i).
          Only when the state does not submit a compliant SIP, and the Administrator either “(A)
  finds that a State has failed to make a required submission or finds that the plan or plan revision
  submitted by the State does not satisfy the minimum criteria established under subsection
  (k)(1)(A), or (B) disapproves a State implementation plan submission in whole or in part,” does
  EPA have authority to promulgate a FIP. 42 U.S.C. § 7410(c); see also Train, 412 U.S. at 79
  (“Under § 110(a)(2), the Agency is required to approve a state plan which provides for the timely
  attainment and subsequent maintenance of ambient air standards, and which also satisfies that
  section’s other general requirements.”) (emphasis added).
          Nineteen states, including the states of Arkansas, Illinois, Indiana, Michigan, Minnesota,
  Ohio, and Pennsylvania, have submitted SIPs that meet the requirements of the Clean Air Act and
  should be approved. Instead of meeting its statutory obligation to review these previously-
  submitted SIPs, EPA ignored them for years. Now, subject to a short deadline imposed under a
  consent decree, EPA proposed wholesale disapprovals of these plans without adequate justification
  and contrary to the mandate of § 110(a)(2) of the Clean Air Act shortly before proposing the FIP
  in the Proposed Rule.
         EPA has not yet finalized its disapprovals and has given the states no opportunity to correct
  any deficiencies that EPA purports they contain. While EPA has found that some states have not
  submitted SIPs, for many states, EPA has only proposed disapproval or is still reviewing the state
  plans. 87 Fed. Reg. at 20,040 (for certain states, “the EPA has proposed, but has not finalized,
  actions disapproving good neighbor SIP revisions. And for other states, the EPA has not yet
  proposed action on their good neighbor SIP submittals, but these submittals are currently under
  review, and EPA intends to act on these submittals in the coming months”). In doing so, the
  Proposed Rule improperly supplants states’ primary authority and would put EPA’s preferred
  ozone approach over the states’ own adequate and approvable implementation plans. This is
  beyond EPA’s authority.
           EPA’s proposed denial of the SIPs is addressed at length in the comments submitted on
  EPA’s proposed SIP denials, including U. S. Steel’s own comments on the proposed denials of the
  Illinois, Indiana, Michigan, Minnesota, Ohio, and Wisconsin SIPs (EPA-R05-OAR-2022-0006-
  0017) and the Arkansas SIP (EPA-R06-OAR-2021-0801-0043). These comments are equally
  relevant to the Proposed Rule, and U. S. Steel incorporates them by reference.
        As demonstrated in those comments, EPA’s proposed SIP denials are not based on proper
  grounds. Rather, they are based on:
         1. Improperly rejecting state assessments of whether in-state emissions were significantly
            contributing to or interfering with maintenance of downwind attainment of the ozone
            NAAQS that were not only well within the State’s discretion as primary regulators, but
            consistent with EPA’s own published guidance.


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              2. Moving the goal posts for regulation by creating new modeling after SIPs were already
                 submitted, creating a standard no state could possibly meet.
              3. Erroneously relying on incomplete and inaccurate emissions data.
         Correcting these issues will demonstrate that EPA does not have grounds to disapprove the
  previously-submitted SIPs, including the SIPs or Arkansas, Illinois, Indiana, Michigan, Minnesota,
  and Ohio, and that the Administrator does not have authority to promulgate the proposed FIP.
  XXXIII.    EPA Does Not Have the Authority to Mandate Emission Limits by
       Disapproving Adequate SIPs and Imposing its own FIP.
          In Train v. NRDC, 412 U.S. 60, 79 (1975), the U.S. Supreme Court made clear that states
  have the authority under the Clean Air Act to develop the specific emission limitations that will
  ensure compliance with the NAAQS in the first instance. As the Court later stated in Union Elec.
  Co. v. EPA, “Congress plainly left with the States, so long as the national standards were met, the
  power to determine which sources would be burdened by regulation and to what extent.” 427 U.S.
  246, 269 (1976); see also id. at 267 (states have “virtually absolute power in allocating emission
  limitations so long as the national standards are met”). In light of the Supreme Court’s holdings,
  the D.C. Circuit has held that the validity of EPA’s own NAAQS program “depends in part on
  whether the program in effect constitutes an EPA-imposed control measure or emission limitation
  triggering the Train-Virginia 302 federalism bar: in other words, on whether the program constitutes
  an impermissible source-specific means rather than a permissible end goal.” Michigan v. EPA,
  213 F.3d 663, 687 (D.C. Cir. 2000) (internal alterations omitted).
          In denying SIPs that adequately prevented significant contribution to nonattainment and
  interference with the NAAQS and supplanting these state-level approaches with a FIP that imposes
  EPA’s preferred method of achieving the same goal, EPA’s Proposed Rule supplants the states’
  role as primary decider of “which sources would be burdened by regulation and to what extent.”
  This violates the federalism bar established in Train and Virginia v. EPA.
  XXXIV.              EPA Has No Authorization to Promulgate a FIP before Disapproving a SIP.
          In the Proposed Rule, EPA has not even allowed time to finish deciding whether to
  disapprove the many ozone transport SIPs submitted for its review. Instead, EPA is accepting
  comments almost simultaneously both for disapproval of the SIPs and approval of EPA’s proposed
  FIP. In fact, for some states EPA had not even proposed to disapprove the SIP submission before
  proposing the FIP. This is unlawful because the relevant statute only permits EPA to “promulgate
  a Federal implementation plan . . . after the Administrator . . . disapproves a State implementation
  plan submission.” 303
          Contrary to EPA’s assertion, no court decision has ever authorized EPA to propose a FIP
  before taking the predicate final action of disapproving a SIP in the states the FIP is proposed to

  302
        Virginia v. EPA, 108 F. 3d 1397 (D.C. Cir. 1997).
  303
        42 U.S.C. 7410(c)(1)(B) (emphasis added).


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  cover. 304 In fact the D.C. Circuit expressly reserved judgement on this very issue the last time it
  was raised before the D.C. Circuit, dismissing it on administrative exhaustion grounds rather than
  approving EPA’s approach. 305 Nor does the Supreme Court’s opinion in EME Homer address this
  issue, as that opinion only determined that EPA need not provide States an additional opportunity
  to revise its SIP after disapproval of a SIP, not whether a FIP can be issued before disapproving a
  SIP in the first place. 306 If EPA does proceed with SIP denials, in the interest of cooperative
  federalism and in furtherance of the Clean Air Act itself, EPA should allow a reasonable time for
  States to address the grounds for denial before EPA promulgates a FIP.
  XXXV.     EPA Cannot Lawfully Issue FIP and Disapprove SIPs Based on Data Not
      Available at Time SIP Submissions Were Required.
           As noted in the State of Arkansas’ comments on EPA’s proposed denial of Arkansas’
  proposed Good Neighbor SIP provisions for the 2015 Ozone NAAQS, EPA reevaluated the
  significance of contributions to downwind receptors based on data generated after the statutory
  deadline for EPA to act on approving or disapproving the Arkansas Transport SIP submission.307
  Had EPA reviewed the SIP in the timeframe required by federal law, the information available at
  the time—the same information that states used to inform their decisions—would not have
  supported a decision to disapprove the SIP for Arkansas, and subsequently would remove any
  statutory basis for EPA to promulgate a FIP for Arkansas. Although the D.C. Circuit has held that
  EPA has legal authority to propose a FIP at the same time it disapproves a SIP submission without
  giving the State an opportunity to fix the deficiency in the SIP submission, we are aware of no
  decision or statutory basis that would allow EPA to do so based on data that was unavailable to
  the State at the time that it made its SIP submission. On the contrary, “It is one thing to expect
  regulated parties to conform their conduct to an agency’s interpretations once the agency
  announces them; it is quite another to require regulated parties to divine the agency’s
  interpretations in advance or else be held liable when the agency announces its interpretations for
  the first time . . . and demands deference.” 308 Accordingly, it was unreasonable and unlawful for
  EPA to disapprove the Arkansas submission based on data that the agency did not generate until
  after its statutory deadline to act on the Arkansas Transport SIP. Because EPA erred in denying
  the Arkansas Transport SIP, it was also not lawful for EPA to propose the Proposed Rule FIP to


  304
        Contra Proposed Rule at 20,057.
  305
     EME Homer City Generation, L.P. v. E.P.A., 795 F.3d 118, 132 (D.C. Cir. 2015) (“petitioners argue that EPA did
  not have authority to promulgate certain Transport Rule FIPs because those FIPs were signed by the EPA
  Administrator before EPA published its disapproval of the CAIR SIPs in the Federal Register. Petitioners did not
  raise this issue before the Agency during notice and comment, and EPA has not denied any petition for
  reconsideration raising this objection. We therefore may not entertain it now”).
  306
        EPA v. EME Homer City Generation, LP, 572 U.S. at 509 & n.14.
    See Comment submitted by Arkansas Department of Energy and Environment, Division of Environmental
  307

  Quality, on EPA-R06-OAR-2021-0801-0001, at 3-4 (April 22, 2022).
  308
        Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 158-59 (2012).


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  cover Arkansas, since EPA only has the authority to issue a FIP if a state failed to submit an
  approvable SIP or EPA properly disapproved it. 309
  XXXVI.              Requirements For EPA SIP Review.
          EPA states that “In order to replace the non-EGU portion of the FIP in a state, the state’s
  SIP must provide adequate provisions to prohibit an equivalent or greater amount of NOx
  emissions that contribute significantly to nonattainment or interfere with maintenance of the 2015
  ozone NAAQS in any other state. The non-EGU requirements of the FIP would remain in place in
  each covered state until a state’s SIP has been approved by the EPA to replace the FIP.” 310 This is
  not reasonable or lawful for multiple reasons.
          First, a state’s ability to replace the FIP must be tied to whether it has addressed the
  underlying nonattainment/maintenance concerns by reducing significant contribution from sources
  in the state below the significance threshold, (as opposed to whether it prohibits equivalent
  emissions to the FIP). For instance, if Arkansas is able to show that it no longer has a significant
  contribution to the Brazoria receptor before the final FIP deadline for non-EGU emission reduction
  standards (whether due to White Bluff closure or otherwise), then there would no longer be any
  statutory basis for EPA to impose a Good Neighbor FIP on Arkansas.
          Second, given that the limits imposed in the Proposed Rule are not the same as the
  statewide emission reductions that EPA modeled as being sufficient to resolve any significant
  contribution to nonattainment or interference with maintenance of the 2015 ozone NAAQS in
  downwind states, as explained in detail above, EPA cannot rationally judge a SIP based on whether
  it reduces emissions by a greater amount than the Proposed Rule’s limits would. Rather, EPA’s
  evaluation of any SIP could not require the SIP to result in more reductions than the amount of
  statewide emission reductions EPA actually modeled as resulting in attainment for linked
  receptors. i.e., the total amount specified at the Non-EGU Screening Assessment at Figure 2.
                                             CONCLUSION
         For the reasons set forth above U.S. Steel urges that EPA withdraw the Proposed Rule in
   favor of allowing states the opportunity to correct any concerns that EPA may have with their
   SIP submittals and in the alternative for EPA to correct the errors that have been identified with
   respect to its Proposed Rule. If EPA makes significant changes to the Proposed Rule, which are
   needed, then U. S. Steel requests the opportunity to be involved in a stakeholder process and to
   have adequate to review and comment on any changes.
         U. S. Steel appreciates the opportunity to provide comments on the Proposed Rule. If you
   have any questions or should you need additional information, please do not hesitate to contact
   me at 479-200-9743 or kjones@uss.com.



  309
        42 U.S.C. § 7410(c)(1).
  310
        Proposed Rule at 20,151.


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     Sincerely,


     ___________________________________
     Kendra A. Jones, Esq.
     Assistant General Counsel - Environmental
     United States Steel Corporation




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                UNITED STATES STEEL CORPORTATION
                             COMMENTS ON


            PROPOSED FEDERAL IMPLEMENTATION PLAN
           ADDRESSING REGIONAL OZONE TRANSPORT FOR
                        THE 2015 8-HOUR NAAQS.
                               June 21, 2022




                              EXHIBIT A:
          Woodard and Curran Technical Support Document
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  TECHNICAL MEMORANDUM
  TO:              Martin Booher (mbooher@bakerlaw.com)
  CC:              Mark DeLaquil
                   (mdelaquil@bakerlaw.com)
                   Josh Wilson (jtwilson@bakerlaw.com)
  PREPARED BY: Matthew S Jones, CCM (msjones@woodardcurran.com)
  REVIEWED BY: Kelley Begin, PE (kbegin@woodardcurran.com)
  DATE:            June 14, 2022
  RE:              EPA’s Modeling Does not Sufficiently Demonstrate that Big River Steel Is a Significant
                   Contributor to Ozone Problems at Brazoria, TX



  In the following memorandum, we offer our opinion regarding the Environmental Protection Agency (EPA)
  proposed rule, “Federal Implementation Plan Addressing Regional Ozone Transport for the 2015 Ozone
  National Ambient Air Quality Standard” (87 FR 20036, April 6, 2022, herein the “Proposed Rule”). We
  reviewed multiple documents, memorandum, and data sets related to the Proposed Rule found in the
  associated docket and/or provided by EPA via email and external hard drives. Our purview was restricted
  to the modeling and technical approach of determining significance of impact of Nitrogen Dioxide (NOx)
  emissions from the Big River Steel (BRS) facility in Osceola, Arkansas (AR). Our opinion based on the
  discussion below is succinctly summarized as the following:

  EPA’s modeling in support of the Proposed Rule does not sufficiently demonstrate that NOx emissions from
  Big River Steel significantly contribute to Ozone concentrations at the monitor in Brazoria County, Texas (TX).

  1.      OVERVIEW OF EPA’S FINDING RELATIVE TO BRS

  During the Cross-State Air Pollution Rule (CSAPR) Update (Final October 2016), EPA developed a four-step
  framework to address requirements of the good neighbor provision for the 8-hour Ozone National Ambient
  Air Quality Standard (NAAQS): 1) identify downwind air quality problems; 2) identify upwind states that
  contribute enough to those downwind air quality problems to warrant further review and analysis; 3) identify
  the emissions reductions necessary (if any), considering cost and air quality factors, to prevent an identified
  upwind state from contributing significantly to those downwind air quality problems; and 4) adopt
  permanent and enforceable measures needed to achieve those emissions reductions.

  EPA performed state-level photochemical grid modeling using the Comprehensive Air Quality Model with
  Extensions (CAMx)1 showing projected 2026 AR NOx emissions could result in a predicted contribution at
  one downwind receptor (the Brazoria County, TX Ozone monitor, EPA number 480391004, hereafter referred




  1
      CAMx Model. https://www.camx.com/; accessed May 2022.
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  to as Brazoria) above 1 ppb (the current Ozone Significant Impact Level, or SIL) and 1% of the 2015 Ozone
  NAAQS. EPA thus concluded that projected AR NOx emissions in 2026 may contribute to the Brazoria, TX
  monitor’s maintenance of attainment of the 2015 Ozone NAAQS in 2026. No other monitors projected by
  EPA to be “linked” to AR were shown to be in nonattainment or maintenance beyond 2023. In EPA’s view,
  this conclusion satisfied the first two steps of the four-step framework: projected NOx emissions (2026)
  from AR NOx sources resulted in potential Ozone issues at a downwind out-of-state receptor (Brazoria, TX).

  With AR presumably identified after steps one and two of their framework, EPA looked to satisfy step three,
  “identify the emissions reductions necessary (if any), considering cost and air quality factors, to prevent an
  identified upwind state from contributing significantly to those downwind air quality problems”, by
  extrapolating modeling results to estimate impacts at any out-of-state (“downwind”) receptor due to NOx
  emissions from several industries in multiple states. One of those industries evaluated was the AR steel
  industry, within which BRS is one facility.

  To arrive at an estimate of the downwind impacts from the AR steel industry EPA used state-level modeled
  results for the future year 2023 from their previously performed modeling in support of the CSAPR Update 2
  in combination with an emissions inventory developed as part of EPA’s “2016v2 Platform” 3. The CSAPR
  Update modeling results were based on an older version of the emissions platform (2016v1). For the
  Proposed Rule, the older CSAPR Update modeling of each state’s NOx emissions for year 2023 (using
  projected emissions) were extrapolated to estimate the contribution from several industries within each
  state. Based on the extrapolated industry-level results, EPA developed control scenarios for industry-level
  units such that presumed downwind air quality issues would be mitigated by 2026 (2023 being deemed too
  soon to reasonably facilitate installation of controls). Those mitigation scenarios would be applicable to
  BRS, and future expansion plans associated with BRS under the Proposed Rule. The schematic in Figure 1
  represents our understanding of the general approach EPA took to begin to their four-step framework.




  2
    Revised Cross-State Air Pollution Rule Update, Final Rulemaking, April 30, 2021.
  https://www.epa.gov/csapr/revised-cross-state-air-pollution-rule-update; accessed, May 2022.
  3
    January 19, 2022. Air Quality Modeling for the 2016v2 Emissions Platform. https://www.epa.gov/air-
  emissions-modeling/2016v2-platform; accessed May 2022.



  BakerHostetler (project #0234013.00)                  2                                Woodard & Curran, Inc.
  Technical Memo on Modeling                                                                     June 14, 2022
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       Figure 1: Estimated Schematic of EPA’s Approach to Determine Industry-level Significance and
                                        Inform BRS NOx Emission Controls




  In general, the basis for the Proposed Rule’s mandate to control NOx emissions from BRS should hinge
  sharply on the determination that BRS’s NOx emissions significantly contribute to levels of Ozone at Brazoria
  above the 8-hour Ozone NAAQS. This determination was never reached nor approached by EPA in the
  Proposed Rule. Instead, EPA considered extrapolations of state-level Ozone contributions and then, across
  all evaluated states, imposed controls on all sources within an industry that EPA believed could contribute
  to Ozone issues if that industry showed at least one instance of extrapolated significance nationally. In the
  discussion below, various components of EPA’s technical approach to determine significance of BRS’s NOx
  emissions relative to the Ozone concentrations at Brazoria are evaluated, and opinions offered regarding
  the appropriateness of EPA’s findings.

  2.      EPA’S DATA AND THE SIGNIFICANCE OF BRS

  2.1     EPA’s Technical Approach Is Disconnected from EPA’s Goal of Determining
          Significance.

  In the Proposed Rule, EPA is aiming to “provide states with as much information as the EPA can supply at
  this time to support their ability to submit SIP revisions to achieve the emissions reductions the EPA believes




  BakerHostetler (project #0234013.00)                  3                                 Woodard & Curran, Inc.
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  necessary to eliminate significant contribution [to downwind Ozone air quality issues].”4 EPA’s responsibility
  under section 110 of the Clean Air Act is to mitigate emissions that significantly contribute to
  nonattainment or interference with maintenance of the 2015 Ozone NAAQS. The scope of their emission
  mitigation mandate is bounded by the significance of contribution of those emissions, such that
  “reductions unnecessary to downwind attainment anywhere fall outside the Agency’s statutory authority”5,
  thus prohibiting “over control” of emissions based on insignificant impacts. The significance of BRS’s NOx
  emissions to out-of-state Ozone concentrations at a monitor roughly 850 kilometers away (Brazoria) is thus
  a critical question. EPA’s task then, in advance of mandating controls on BRS based on Ozone predicted
  concentrations at Brazoria was to robustly determine the significance of BRS’s NOx emissions to downwind
  Ozone air quality issues at Brazoria. Based on the elements of approach described below, our opinion is
  that EPA did not sufficiently determine the significance of BRS’s NOx emissions relative to Ozone attainment
  at Brazoria or at any monitor.

  2.2     EPA Did Not Model BRS NOx Emissions Yet Deemed Them Significant.

  The main component of EPA’s determination of the significance of downwind Ozone contributions from
  the steel industry’s NOx emissions is not based on direct modeling or apportionment of the steel industry.
  Rather, as described in Figure 1, that determination of industry-level significance was made based on
  obsolete state-level modeling and extrapolations using outdated emission inventories. That industry-level
  significance was then applied to facilities within “significant” industries broadly. In other words, EPA found
  that the steel industry’s NOx emissions were significant, thus all evaluated state’s steel industries’ NOx
  emissions were significant, thus AR’s steel industry was significant, thus BRS’s NOx emissions were
  significant. However, from all appearances and based on our understanding of the data made available by
  EPA, nowhere in the CAMx modeling steps described in Figure 1 (the older CSAPR update modeling to
  determine industry-level significance or the Proposed Rule’s modeling to test control scenarios of those
  “significant” industries) were BRS’s NOx emissions considered. EPA has deemed BRS NOx emissions
  significant without ever having tested their significance via modeling.

  The modeling performed by EPA in support of CSAPR to determine BRS’s significance by way of
  extrapolation used the 2016v1 EPA emission platform; the modeling performed by EPA to test control
  scenarios of significant industries used the 2016v2 EPA emission platform. Neither of these platforms
  include BRS NOx emissions. The 2016v1 and 2016v2 EPA emissions platforms consist of inventory “cases”
  that represent the years 2016, 2023, 2026, and 2032 with the abbreviations 2016fj, 2023fj, 2023fj, and 2032fj,
  respectively. The abbreviation gives insight into the foundational source of the emissions data from which
  the projected future-year inventories are derived: in the abbreviation 2026fj_16j, 2026 is the year
  represented by the emissions (a future year in this case, developed by projection factors); the “f” represents
  the base year emissions modeling platform iteration – “f” was developed from the 2014 National Emission




  4
      Proposed Rule “Executive Summary”.
  5
      EPA v. EME Homer City Generation, L.P., 572 U.S. 489 (2014).



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  Inventory (NEI); the “j” stands for the tenth configuration of emissions modeled for that modeling platform. 6
  For all inventories with the “f” base year, BRS was not featured. This is due to BRS not becoming active until
  well into 2015. Table 1 presents our understanding of EPA’s emissions platforms used in CAMx modeling,
  the application of the results of that modeling, and whether BRS NOx emissions were included. EPA’s
  approach to determine significance NOx emissions from states (e.g., AR) and industries within those states
  (e.g., the steel industry) and the determination and testing of NOx control scenarios does not include BRS’s
  NOx emissions.

                         Table 1: Summary of Emissions Cases Used in EPA CAMx Modeling
         EPA Emissions              Emissions Case Used In                                                         Were BRS NOx
                                                                        EPA Application of Results
           Platform                  EPA CAMx Modeling                                                           Emissions Included?
             2016v1                         2016fj                            Baseline case                                No
                                                                  Determination of significant states
             2016v1                         2023fj                                                                         No
                                                               and significant industries in those states
                                                               Determination of industry specific control
             2016v2                         2026fj                                                                         No
                                                                               scenarios

  Table 2 presents an excerpt from EPA’s summary of NOx emissions from non-Electricity Generating Unit
  (Non-EGU) point sources used in the modeling as shown in inventory data provided within the Proposed
  Rule docket. EPA used no BRS emissions under inventory 2023fj (EPA’s basis for significance modeling) nor
  in inventory 2026fj (EPA’s basis for the control testing modeling). BRS NOx emissions do appear in other
  inventories (2017gb, 2018gc, 2019 NEI20210914), however, these inventories noted by EPA as not having
  been modeled7.

                  Table 2: Summary of BRS NOx Emissions Inclusion in EPA Non-EGU Inventories

                                                                                          2019NEI
      Facility                                        2016fj   2017gb        2018gc                     2023fj       2026fj     2032fj
                      Facility ID       Pollutant                                        20210914
       Name                                            tpy       tpy           tpy                       tpy          tpy        tpy
                                                                                            tpy

      Big River
                      18122211            NOX            -     283.41        290.19           273.74        -          -          -
      Steel LLC


  Further, Figure 2 presents a mapping of the emission sources in northeastern AR that were included in
  EPA’s 2016v2 emissions platform (which were used in EPA’s control scenario modeling). Yellow dots indicate
  AR sources included. BRS was not present (noted by blue dot location). Thus, EPA has applied significance




  6
    EPA Document EPA-HQ-OAR-2021-0668-0064. Technical Support Document (TSD): Preparation of
  Emissions Inventories for the 2016v2 North American Emissions Modeling Platform.
  7
    EPA Document EPA-HQ-OAR-2021-0668-0105, Content PDF: “while 2017, 2018, and 2019
  data provided for additional context although 2017-2019 were not modeled.”



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  to BRS’s NOx emissions, and arrived at control scenarios for BRS without ever having performed modeling
  capable of demonstrating that significance.

  Any inference in the Proposed Rule as to the significance of BRS’s NOx emissions relative to the Ozone
  concentrations at Brazoria is based on modeling that did not consider BRS’s NOx emissions and is
  inconsequential.

                       Figure 2: EPA 2016v2 Emissions Sources in Northeast Arkansas




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        Source: EPA 2016v2 Emissions Platform Data; https://gaftp.epa.gov/Air/emismod/2016/v2/2016emissions/by_state/AR/; accessed May 2022.


  2.3     EPA Used Extrapolations of Obsolete Modeling Results Based on an Inaccurate
          Emissions Inventory.

  The state-level modeling performed in support of the CSAPR Update that was relied on for the
  determination of significance of the steel industry and thus BRS used an obsolete “beta” version of CAMx
  (version 7beta 6), an obsolete version of the Weather Research and Forecasting Model (WRF, version 3.8,
  released in 2016; WRF is now at version 4.4) and an older obsolete emissions inventory (2016v1) 8. Version
  “7beta 6” was a pre-release of CAMx version 7.00, which has been flagged by the model developer as a
  version with “several critical bugs associated with major updates to the input files” 9 and that organizations
  using CAMx should “use later versions.” EPA’s CAMx model was a “beta” pre-release version of 7.00 and
  thus contained these critical bugs. Since that time, multiple versions of CAMx with corrective updates have
  been issued by the developer (version 7.10 in January 2021 and recently version 7.20 in May of 2022). EPA
  should have updated the modeling with a corrected version of CAMx or could have used EPA’s own
  photochemical grid model that they provide ongoing development support for, the Community Multi-scale
  Air Quality Model (CMAQ) model10, which they used for other aspects of the modeling study (development
  of initial and boundary concentrations).

  Were an applicant to use an obsolete model with listed “bugs” by the developer while a valid alternative
  was available and incorporated obsolete emissions to determine the significance of a facility, EPA would
  reject any results submitted for review and require the applicant use the latest version of an approved
  alternative model and relevant representative emissions11. In addition, EPA recently disapproved of a state’s
  implementation plan regarding the 2015 8-hour Ozone NAAQS on the basis that in forming their opinion
  on downwind significance, the state relied on older data and modeling 12. EPA disapproved of the state’s
  finding relative to significance since the modeling data used was obsolete. EPA is not holding their
  modeling to the same rigor with which they hold applicants or states. In using the older CSAPR Update
  modeling which relied on a model with known errors and obsolete emissions, EPA did not use the latest




  8
    Air Quality Modeling Technical Support Document for the Final Revised Cross-State Air Pollution Rule
  Update, March 2020. https://www.epa.gov/sites/default/files/2021-
  03/documents/air_quality_modeling_tsd_final_revised_csapr_update.pdf; accessed May 2022.
  9
    CAMX.com, note on version 7.00. https://camx-wp.azurewebsites.net/download/source/; accessed May
  2022.
  10
     EPA CMAQ model. https://www.epa.gov/cmaq; accessed May 2022.
  11
     EPA, 40 CFR Part 51; https://www.epa.gov/sites/default/files/2020-09/documents/appw_17.pdf;
  accessed May 2022.
  12
     Air Plan Disapproval; Nevada; Interstate Transport of Air Pollution for the 2015 8-hour Ozone National
  Ambient Air Quality Standards; May 24, 2022. 87 FR 31485.



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  version of an approved alternative model and did not use relevant representative emissions to determine
  significance of industries.

  EPA leveraged obsolete information (old model and old emissions) and made extrapolations of that
  information to determine industry-level significance of NOx emissions to downwind Ozone problems and
  then applied that industry-level significance to BRS. Those industry-level extrapolations were based on the
  2016v2 emissions platform, which has been shown to have substantial errors 13. EPA’s stated reason for why
  they used obsolete models (CAMx 7beta 6, WRF 3.8) incorporating obsolete emissions (2016v1) to feed
  their industry-level extrapolations applied to BRS was “the air quality modeling for this proposed rule was
  not completed in time to support the assessment.”14 Photochemical grid modeling is highly complex and
  takes substantial time to perform, especially to arrive at explicit facility-level impacts. EPA did not have time
  to complete the appropriate quality of modeling to support the determination of facility or industry-level
  significance, and thus relied on obsolete modeling with known bugs and extrapolations of that modeling
  based on inaccurate data (2016v2 emissions) to determine significance of industries in each state and
  applied that significance to facilities like BRS. Instead of moving forward with a determination of
  significance that would not pass their own thresholds of appropriateness with which they judge applicants’
  modeling analyses, EPA should have performed the explicit state, industry, and facility-level modeling using
  latest model versions and appropriate emissions to appropriately determine the significance of NOx
  emissions from industrial facilities.

  Any inference in the Proposed Rule as to the significance of BRS’s NOx emissions relative to the downwind
  Ozone concentrations at Brazoria is based on extrapolations of obsolete modeling data using inaccurate
  emissions that don’t reflect BRS and is inconsequential.

  2.4   EPA Defines 0.01 Ppb as A Threshold of Significance by Subjective Visual
        Interpretation of a Histogram Plot.

  To determine whether AR steel industry’s NOx emissions were significantly contributing to downwind Ozone
  concentrations at monitors, EPA defined a new (and heretofore unused in regulatory applications or review)
  threshold concentration, 0.01 ppb of Ozone. EPA has previously definitively stated that 1 ppb is a threshold
  of significance at the project level for the 2015 Ozone NAAQS (8-hour Ozone SIL)15. In other words, a single
  project’s emissions could result in downwind Ozone concentrations up to 1 ppb before even that single
  project was considered significant. However, in the Proposed Rule, EPA defined a substantially more




  13
     Arkansas Division of Environmental Quality Comments; Docket No. EPA-R06-OAR-2021-0801, April 22,
  2022.
  14
     Proposed Rule, footnote 161.
  15
     EPA, Guidance on Significant Impact Levels for Ozone and Fine Particles in the Prevention of Significant
  Deterioration Permitting Program. https://www.epa.gov/sites/default/files/2018-
  04/documents/sils_policy_guidance_document_final_signed_4-17-18.pdf. Accessed May 2022.



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  stringent level of significance for the entirety of an industry (not just a single project) within a state. While
  a single AR steel project could have been deemed insignificant with respect to contribution to Ozone
  problems by adherence to the EPA’s 2015 Ozone SIL of 1 ppb, the entire AR steel industry would now be
  deemed significant by a downwind concentration of only 0.01 ppb, a level 100 times lower than the official
  SIL. This stringency is unfounded and would require a substantial amount of supporting analysis (e.g.,
  statistical analysis evaluating the variation in the Ozone 8-hour design value at each monitoring site across
  the nation) to prove that 0.01 ppb is indeed a threshold above which out-of-state NOx emissions would
  significantly impact Ozone attainment. EPA has published guidance to instruct other agencies on how to
  determine and justify Ozone significance values if proposed as an alternative to EPA’s 1 ppb level16. EPA
  did not follow their own guidance in this case.

  The required quality of supporting analysis was not performed by EPA to arrive at 0.01 ppb. Instead, the
  analysis used to determine this increased level of stringency beyond the existing 1 ppb SIL was a visual
  interpretation of a histogram plot. EPA described it thus

       Initially, there is a fairly steep drop in contributions with a breakpoint between roughly 0.04 and 0.06 ppb
       followed by a steady decline to 0.01 ppb. Beyond 0.01 ppb the shape of the distribution is much flatter.
       The data suggest that perhaps 0.05 ppb or 0.01 ppb could serve as breakpoints in the data. Based on the
       distribution, the 0.01 ppb provides a meaningful conservative breakpoint for screening out non-impactful
       industries from the Non-EGU analysis in this proposed rule.17

  Figure 3 presents the histogram used in EPA’s threshold of significance “analysis.” In the histogram, each
  bar represents the maximum contribution to a downwind receptor from a particular industry. EPA did not
  readily disclose the industries in this analysis in order to provide greater resolution of the shape of the
  distribution at the lower end of the values. EPA’s determination based on their visual interpretation of a
  ranked histogram is that a 0.01 ppb concentration resultant from AR’s steel industry will significantly impact
  a downwind receptor (like Brazoria) attaining or maintaining the Ozone NAAQS because in general there
  are few industries that result in Ozone concentrations lower than 0.01 ppb out of state. This argument is
  not an argument for significance. EPA has not rigorously demonstrated that 0.01 ppb is significant relative
  to the Ozone NAAQS. EPA has only demonstrated that 0.01 ppb is a subjective level of reference below
  which few industries have resultant concentration impacts. EPA should have used their previously
  determined level of significance of 1 ppb for the 2015 Ozone NAAQS.




  16
     EPA, Guidance on Significant Impact Levels for Ozone and Fine Particles in the Prevention of Significant
  Deterioration Permitting Program. https://www.epa.gov/sites/default/files/2018-
  04/documents/sils_policy_guidance_document_final_signed_4-17-18.pdf. Accessed May 2022.
  17
     Screening Assessment of Potential Emissions Reductions, Air Quality Impacts, and Costs from Non-EGU
  Emissions Units for 2026, February 28, 2022. Docket No. EPA-HQ-OAR-2021-0668.



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  Any inference in the Proposed Rule as to the significance of BRS’s NOx emissions relative to downwind Ozone
  concentrations at Brazoria is based on a subjective reference concentration of 0.01 ppb and is inconsequential.

   Figure 3: Taken from Figure A-1 of the “Screening Assessment of Potential Emissions Reductions,
                    Air Quality Impacts, and Costs from Non-EGU Emissions Units for 2026”




  2.5   EPA’s Approach Applies Significance to BRS Without Appropriate Basis.

  The CAMx model allows for the modeler to “tag” certain sources or groups of sources to determine the
  portion of predicted concentration at a receptor that could be attributed to that source or group of sources.
  In the obsolete modeling that EPA leveraged in the determination of significance, EPA did not tag individual
  industries, but rather only tagged 53 groups of sources, comprised predominantly of states (other tags were
  related to biogenic emissions, offshore emissions, international emissions, tribal emissions, and boundary
  condition emissions). No explicit apportionment of individual industries was performed in the modeling.
  Rather, as stated in Section 2.2, results of obsolete modeling were extrapolated in a rough estimate of
  receptor concentrations attributable to different industries. EPA then compared those extrapolated industry
  results to the subjective reference level of 0.01 ppb (Section 2.3).

  Based on EPA’s approach, only one state’s steel industry is “significantly” contributing to potential ozone
  issues at a downwind receptor out-of-state. EPA did not readily disclose which state’s steel industry was
  “significant” nor what downwind out-of-state receptors were impacted by that state’s steel industry. EPA
  disclosed simply that the steel industry from one state featured maximum extrapolated concentrations
  above 0.01 ppb at 11 downwind receptors - see Figure 4 which presents EPA’s Table A-3 of their screening




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  assessment18. The impacts from all evaluated steel industry emissions are noted with an arrow. Note that
  NOx emissions from one state’s steel industry featured an extrapolated concentration more than 0.01 ppb.

       Figure 4: Taken from Table A-3 of the “Screening Assessment of Potential Emissions Reductions,
                       Air Quality Impacts, and Costs from Non-EGU Emissions Units for 2026”




  While the 0.01 ppb concentration threshold is not a level of significance in our opinion (Section 2.3), in
  Figure 4, EPA has found that all other state’s steel industries do not “significantly” contribute to Ozone
  concentrations at downwind receptors. However, while EPA demonstrates that only one state’s steel
  industry has downwind impacts of 0.01 ppb and is thus “significant”, EPA applies “significance” to the steel
  industry in 23 states. Even though the AR steel industry and BRS specifically may have no impact on the 11
  receptors identified as having extrapolated concentrations above the 0.01 ppb subjective reference level,




  18
    Screening Assessment of Potential Emissions Reductions, Air Quality Impacts, and Costs from Non-EGU
  Emissions Units for 2026, February 28, 2022. Docket No. EPA-HQ-OAR-2021-0668



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  EPA has identified AR steel and thus BRS NOx emissions as significant to downwind receptors based on
  another state’s (and thus another facility or facilities) emissions.

  We applied the methodology EPA used to develop the table of industry-level significance in Figure 4 using
  receptor specific calibration factors calculated at each maintenance and non-attainment receptor (except
  for California which was excluded from EPA’s analysis). The calibration factors were calculated using the
  procedures outlined in EPA’s “ozone_transport_policy_analysis_final_rule_tsd_0.pdf” document. The base
  case CAMx model results for both 2016 and 2023 and the state-specific anthropogenic NOx emission totals
  for 2016 and 2023 used for the calibration factor calculation were obtained from the EPA’s air quality
  assessment tool (AQAT)19. Attachment 1 to this memorandum outlines our understanding of EPA’s
  extrapolation approach.

  An inventory of NOx emissions from BRS was then provided to Woodard & Curran as derived from BRS’s
  2021 emission inventory of actual NOx emissions of all operational units at the BRS facility that could
  potentially fit under any of the furnace or boiler types defined under the Proposed Rule. These 2021 actual
  NOx emissions are conservative relative to the NOx emissions EPA has within their unmodeled 2017gb,
  2018gc, or 2019NEI inventories (see Table 2), but are reflective of current normal production levels.
  However, a 5% safety factor was added to include a measure of conservatism. These emissions were added
  to the EPA 2023fj NOx emission inventory characterized as within the AR Steel industry (NAICS code
  331110). The extrapolated contribution of BRS to the 8-hour Ozone design value concentration at each
  desired maintenance and non-attainment receptor was then calculated following EPA’s methodology by
  multiplying the total state contribution from the 2023 base case CAMx modeling result by the ratio of BRS
  emissions vs. total anthropogenic emissions and then by the EPA calibration factor for each receptor. Table
  3 presents the results of our analysis using EPA’s methodology for EPA’s 2023fj AR Steel NOx inventory,
  that inventory plus BRS (with conservative safety factor), and BRS’s NOx emissions alone.

  It should be noted, that based on our understanding of the extrapolation approach, EPA does not consider
  distance from a receptor within a state. The calibration factors are based on state-level apportionment data
  and are not capable of considering the location of an emission source within a state (see Attachment 1).
  For instance, a 10 ton per year NOx source at the southern border of AR (less than 450 kilometers from
  Brazoria) would be extrapolated for contribution at Brazoria using the same factor as a 10 ton per year NOx
  source at the northern border of AR (more than 900 kilometers from Brazoria), despite the fact that the
  northern source would contribute less at Brazoria than the southern source (see Section 3.2 for a modeling
  analysis highlighting the importance placed on source-receptor geography). BRS is in the northeast corner
  of the state, some 850 kilometers away from Brazoria while many more NOx sources are in the southern
  portion of AR and less than 450 kilometers from Brazoria. Thus, applying the state-wide calibration factor
  for BRS is highly conservative. However, even with this conservatism and the added conservatism within
  the emissions estimate, neither the EPA’s AR Steel inventory, nor the inventory with BRS added, nor BRS




  19
       EPA’s “Ozone AQAT Proposal”, Proposed Rule document EPA-HQ-OAR-2021-0668-0117.



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  alone would have an extrapolated maximum downwind impact above the 0.01 ppb subjective reference
  level.

  BRS has a component of operations that has yet to come online but is anticipated to become active prior
  to the year 2026 (EPA’s target year for proposed control implementation). 20 We therefore considered the
  additional scenario where the expanded operations were added to that of BRS, and extrapolated impacts
  for comparison to the 0.01 ppb subjective reference level (see Table 3). As noted, even with the additional
  NOx emissions from the expanded operations and conservative safety factors, BRS’s maximum downwind
  impact is below the 0.01 ppb reference level.

                   Table 3: Extrapolated Steel Industry Contributions Based on EPA’s Methodology
                    Monitor / Receptor                    EPA 2023fj            EPA 2023fj
                                                                                                                    BRS [2] + Expansion [3]
                                                           AR Steel          AR Steel Inventory   BRS [2] (ppb)
        Site ID          State            County                                                                         2026 (ppb)
                                                       Inventory [1] (ppb)    + BRS [2] (ppb)
        40278011        Arizona             Yuma            0.00E+00              0.00E+00          0.00E+00               0.00E+00
        80350004       Colorado           Douglas           7.76E-06              1.68E-05          9.03E-06               1.65E-05
        80590006       Colorado           Jefferson         1.97E-06              4.27E-06          2.30E-06               4.20E-06
        80590011       Colorado           Jefferson         2.75E-06              5.95E-06          3.20E-06               5.86E-06
        90010017      Connecticut          Fairfield        2.87E-04              6.21E-04          3.34E-04               6.11E-04
        90013007      Connecticut          Fairfield        6.06E-04              1.31E-03          7.06E-04               1.29E-03
        90019003      Connecticut          Fairfield        4.90E-04              1.06E-03          5.71E-04               1.05E-03
        90099002      Connecticut        New Haven          5.97E-04              1.29E-03          6.96E-04               1.27E-03
       170310001         Illinois           Cook            8.31E-05              1.80E-04          9.69E-05               1.77E-04
       170310032         Illinois           Cook            1.25E-04              2.70E-04          1.45E-04               2.66E-04
       170310076         Illinois           Cook            4.64E-05              1.00E-04          5.40E-05               9.88E-05
       170314201         Illinois           Cook            1.44E-04              3.11E-04          1.68E-04               3.07E-04
       170317002         Illinois           Cook            3.77E-04              8.17E-04          4.40E-04               8.04E-04
       320030075        Nevada              Clark           8.10E-07              1.75E-06          9.43E-07               1.73E-06
       420170012      Pennsylvania          Bucks           3.33E-04              7.20E-04          3.87E-04               7.09E-04
       480391004          Texas            Brazoria         4.56E-03              9.87E-03          5.31E-03               9.72E-03
       481210034          Texas            Denton           4.26E-03              9.23E-03          4.97E-03               9.09E-03
       482010024          Texas             Harris          2.31E-03              4.99E-03          2.69E-03               4.92E-03
       482010055          Texas             Harris          3.71E-03              8.04E-03          4.33E-03               7.92E-03
       482011034          Texas             Harris          3.67E-03              7.96E-03          4.28E-03               7.83E-03
       482011035          Texas             Harris          3.57E-03              7.72E-03          4.15E-03               7.60E-03
       490110004          Utah              Davis           1.81E-06              3.92E-06          2.11E-06               3.86E-06
       490353006          Utah            Salt Lake         1.52E-06              3.29E-06          1.77E-06               3.25E-06
       490353013          Utah            Salt Lake         9.91E-07              2.15E-06          1.15E-06               2.11E-06




  20
     Exploratory Ventures, LLC , an affiliate of BRS, has commenced construction of a new scrap to steel
  products mill on a site adjacent to BRS (the “EV Facility”). The EV Facility and related NOx emissions from
  the emission units subject to regulation under the Proposed Rule will be similar to those of the BRS
  facility. I.e., the existing BRS scrap to steel mill includes two EAFs and supporting equipment, and the new
  EV Facility will also have two EAFs and supporting equipment. The “BRS Expansion” scenario accounts for
  all sources at the existing mill potentially within the definition of an emission unit covered by the
  Proposed Rule regardless of whether each unit has PTE below or above 100 tpy, and also accounts for the
  same sources at the new EV Facility.



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       490570002          Utah             Weber               1.64E-06                 3.54E-06              1.91E-06               3.49E-06
       490571003          Utah             Weber               1.64E-06                 3.55E-06              1.91E-06               3.49E-06
       550590019        Wisconsin         Kenosha              5.63E-04                 1.22E-03              6.56E-04               1.20E-03
       550590025        Wisconsin         Kenosha              1.24E-03                 2.69E-03              1.45E-03               2.65E-03
       551010020        Wisconsin          Racine              5.34E-04                 1.16E-03              6.22E-04               1.14E-03
        # of Receptors with Contribution > 0.01 ppb                0                        0                     0                      0
          Maximum Downwind Contribution (ppb)                  4.56E-03                 9.87E-03              5.31E-03               9.72E-03
   Notes:
   [1] Based on EPA 2023fj emission inventory, sum of AR annual NOx sources under NAICS code 331110 (496.25 tons)
   [2] BRS annual NOx emissions (550.578 tons) taken as actuals from the most recent year of operation (2021) plus a conservative safety factor of 5%.
   [3] Expansion annual NOx emissions (507.523 tons) taken as projected actuals based on current operations of existing BRS site plus a conservative
   safety factor of 5%.


  Based on EPA’s approach, which is highly conservative for BRS given its distance from Brazoria relative to
  other NOx sources within AR, it is clear that 1) BRS’s NOX emissions do not contribute above the subjective
  reference level of 0.01 ppb at any downwind receptors, nor at Brazoria specifically, and 2) EPA is attributing
  significance to BRS NOx emissions based on extrapolated concentrations using emissions from another
  state and thus another facility or facilities. This is inappropriate.

  Any inference in the Proposed Rule as to the significance of BRS’s NOx emissions relative to downwind Ozone
  concentrations at Brazoria is unsupported by EPA’s extrapolation methodology, is based on another state’s
  emissions, and is inconsequential.

  2.6       EPA’s Modeling Has Substantial Uncertainty and Suspect Capability to Predict A 0.01
            ppb Level of Significance.

  Notwithstanding the discussion in previous sections of this memorandum, EPA determined that 0.01 ppb
  of Ozone is a “significant” threshold of contribution to downwind Ozone problems from industry (Section
  2.4). In addition, EPA has determined that AR NOx emissions may impact the status of Ozone maintenance
  at Brazoria. Thus, the accuracy and capability of EPA’s model to resolve a 0.01 ppb variation in Ozone
  concentration and the model’s accuracy at Brazoria is critical in understanding the veracity of the estimated
  impact as extrapolated for the steel industry and applied to BRS at Brazoria. Table 4 presents verification
  statistics of EPA’s modeling relative to Brazoria 21.

        Table 4: Verification Statistics of EPA’s CAMx Modeling for at Brazoria (verification year 2016)

                                    r2                Standard Deviation     Correlation coefficient    Root Mean Square           Normalized Mean
           Receptor
                               Model vs Obs.            of Model (ppb)         Model vs. Obs (r)       Error of Model (ppb)           Bias (ppb)


    Brazoria, TX, EPA
                                    0.37                     8.13                     0.61                     10.61                    -13.01
   Monitor #480391004




   EPA’s “CAMx 2016v2 MDA8 O3 Model Performance Stats by Site.xlsx”; Proposed Rule document EPA-
  21

  HQ-OAR-2021-0668-0071.



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  According to EPA’s disclosed verification statistics, the square of the correlation coefficient (r 2) is low (0.37).
  r2 is a measure of how much variation seen in the model can be explained by actual variation in observation.
  A r2 of 0.37 indicates that only 37% of the variation predicted by the model at Brazoria can actually be
  explained by observation. In other words, the model varies significantly more at the receptor than what is
  seen in reality. Figure 5 presents the standard deviation EPA calculated at Brazoria for observations during
  the verification year (2016) and for the model predictions of 8-hour Ozone concentrations. The model over-
  predicts the variation at Brazoria by more than double. This has implications for use of a threshold of 0.01
  ppb and the model’s capability in predicting such a relatively small variation in concentration. Given the
  model’s significantly higher degree of variation at Brazoria, substantial false positive predictions of a 0.01
  ppb concentration would be likely. The model’s high level of variation is poorly connected to actual changes
  in Ozone concentrations in general at all receptors, and at Brazoria in specific.

  The model’s prediction accuracy as measured by the root mean square error (RMSE) statistic at Brazoria
  (10.61 ppb) is generally average (at the 55th percentile) among other receptors (see Figure 6). This indicates
  that the model’s capability at Brazoria is generally average relative to the model’s accuracy across all the
  receptors but is still relatively high at over 10 ppb. This level of inaccuracy (10 ppb) is over 1,000 times
  greater than the threshold of significance that EPA is leveraging the model for at Brazoria (0.01 ppb). For
  many other receptors, the inaccuracy is higher, up to over 24 ppb in RMSE, an error 2,400 times greater
  than the threshold EPA is applying the model against.

    Figure 5: EPA Calculated Standard Deviation (SD) of Observations and Model Predictions at All
                                                  Receptors


                                Observed SD at     Model SD at
                              Brazoria (3.8 ppb)   Brazoria (8.1 ppb)




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                   Figure 6: Model Root Mean Square Error at All Receptors vs Brazoria




                                                                 Model RMSE at Brazoria (10.61 ppb)
                                                                 55th %tile of all receptors




  Most receptors (54%) are below what literature has found to be a minimum threshold of model-to-
  observation correlation skill (r=0.5) for photochemical grid models like CAMx 22. This is an important
  deficiency since, as discussed in Section 2.5, significance of BRS’s NOx emissions at Brazoria is based on
  model results of other emissions at other receptors. EPA has applied significance to the steel industry based
  on extrapolations of one state’s modeled impacts at multiple receptors (see Section 2.5). Thus, considering
  the broad multi-receptor application of modeling results employed by EPA, the majority of receptors being
  below the literature’s minimum correlation threshold, would attach deficiency to the majority of the model’s
  results, including the extrapolation applied to results at Brazoria. Further, a vast majority of receptors (81%)
  are below what literature considers the threshold of “very good” capability of photochemical grid models
  (r=0.75; see Figure 7).

  Many receptors (31%) are outside of what literature has found to be a minimum window of model bias
  (normalized mean bias, NMB = <+/-15%). A vast majority of receptors (79%) are outside the window of a
  good photochemical grid model (NMB=+/-5%), meaning the model has substantially more model bias than
  typically seen in the more skilled model configurations verified. The model’s bias at Brazoria (NMB=-13.01




  22
    Emery et al (2017). Recommendations on statistics and benchmarks to assess photochemical model
  performance. Journal of A&WMA. https://www.tandfonline.com/doi/full/10.1080/10962247.2016.1265027;
  accessed May 2022.



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  ppb) is nearly at the minimum threshold of skill considered in literature and is well outside the bias window
  of a what literature considers a “very good” performing photochemical model (see Figure 8).

  These verification statistics lead us to the opinion that the EPA model is largely incapable of the level of
  accuracy and consistency that would support applying a threshold of significance of 0.01 ppb to the model’s
  results at Brazoria and at a majority of other receptors. The model would not reliably be able to predict
  whether or not BRS’s NOx emissions would actually contribute 0.01 ppb and thus “significance” at this level
  based on the model would not be reliable.

            Figure 7: Model-Observation Correlation Coefficients at All Receptors vs. Brazoria



                     “Very Good” Model Performance Threshold (goal=0.75)
                      81% of receptors below “very good” model performance threshold

                     “Minimum” Model Performance Threshold (criteria=0.5)              Brazoria (r=0.61)
                      54% of receptors below “minimum” model performance threshold




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                        Figure 8: Normalized Mean Bias at All Receptors vs. Brazoria




                      31% of receptors outside of “minimum” model performance threshold

                                                               “minimum” model performance window


                                                            “very good” model performance window


                      79% of receptors outside of “very good” model performance threshold

                                                                 Brazoria (NMB=-13.01 ppb)




  In addition to the statistical model uncertainty and capability, review of data provided by EPA uncovered
  several inconsistencies that would contribute to a general uncertainty in results and a gap in ability to make
  precise determinations of significance of (in general) the steel industry’s or (specifically) BRS’s NOx
  emissions. For instance, based on the contents of several “readme” files which appear to be exchanges
  between EPA modelers, multiple versions of CAMx data were referenced, implying use of data associated
  with multiple versions of the model (v6.50, v7.0beta6, v7.00, and v7.10)23. If multiple versions of CAMx were
  used and/or inputs, outputs, or tools designed for different versions of CAMx were leveraged, the modeling
  assessment would be inconsistent and results largely irrelevant. In another exchange among the
  modelers24, it was noted that model outputs were copied and handled over multiple operating systems and
  that numerical noise in model outputs could be present and could contribute to variations in modeled
  concentrations. If that noise was on the order of a level of EPA’s reference level of 0.01 ppb, any implications
  based on the modeling would be irrelevant.




  23
    Readme files from data provided by EPA on external hard drive.
  24
    Readme file from
  /work/ROMO/2016platform/CAMx_v7.10/2026fj_nonegusa_16j/12US2/postp_tools/makefinaltable/log/, as
  provided by EPA on external hard drive.



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  Any inference in the Proposed Rule as to the significance of BRS’s NOx emissions relative to downwind Ozone
  concentrations at Brazoria is based on modeling that is largely incapable of predicting Brazoria Ozone
  variability, includes uncertainty from file management and model version issues, and is inconsequential.




  3.       ADDITIONAL MODELING DATA AND THE SIGNIFICANCE OF BRS

  3.1      Air Parcel Trajectories Using HYSPLIT Have Been Historically and Recently Approved
           by EPA in Determination of Cross-State Ozone Transport Significance and Were Used
           in The Proposed Rule by EPA in Screening Assessments.

  The National Oceanic and Atmospheric Administration (NOAA) Air Resources Laboratory’s (ARL) Hybrid
  Single-Particle Lagrangian Integrated Trajectory model (HYSPLIT) is designed to evaluate air parcel
  trajectories, complex dispersion, and deposition simulations. HYSPLIT has evolved over more than 30 years
  and is one of the most extensively used atmospheric transport and dispersion models in the atmospheric
  sciences community.25 HYSPLIT has been applied by regulatory agencies to perform back-trajectory
  analyses to evaluate the origin of air masses and establish source-receptor relationships. The EPA has
  recently relied on the State of Maine’s HYSPLIT back-trajectory analyses, in conjunction with photochemical
  grid modeling, to approve Maine’s request to remove a portion of the state from the Ozone Transport
  Region (OTR).26 In addition, EPA used HYSPLIT trajectory modeling extensively in the Proposed Rule to
  evaluate Environmental Justice concerns related to coal-fired EGUs and perform screening assessments of
  emissions sources. Thus, HYSPLIT is a reputable and applicable model to screen long-range transport
  impacts, and EPA has shown this to be the case by approving its use as such in the past as well as using
  HYSPLIT in the Proposed Rule themselves. Were BRS to be a significant contributor to Ozone concentrations
  at Brazoria, HYSPLIT modeling would substantively corroborate EPA’s extrapolations. If little corroboration
  exists, the finding of significance from EPA’s extrapolations would be unsupported.

  3.2      Based on Back-Trajectory Modeling, BRS Would Not Significantly Contribute to 2026
           Maximum Ozone Events at Brazoria.

  HYSPLIT was utilized to calculate seventy-two hour back-trajectories for the EPA’s top-ten CAMx predicted
  maximum daily 8-hour (MDA8) 2026 ozone events for Brazoria as summarized in Table 5.




  25
    Stein, A. F., R. R. Draxler, G. D. Rolph, B. J. B. Stunder, M. D. Cohen, and F. Ngan. “NOAA’s HYSPLIT
  Atmospheric Transport and Dispersion Modeling System”, Bulletin of the American Meteorological Society
  96, 12 (2015): 2059-2077, accessed Oct 7, 2021, https://doi.org/10.1175/BAMS-D-14-00110.1
  26
       40 CFR Part 81 - Response to Clean Air Act Section 176A Petition From Maine; Final Action on Petition



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              Table 5: Top Ten Max Daily 8-hour Ozone Design Values at Brazoria, TX (2026)


                                                  Max 8-hour
                              Average 8-hour                                              Top Ten Max Daily 8-
                                                 Ozone Design
                               Ozone Design                                                hour Ozone Design
               Receptor                           Value (EPA’s        Month        Day
                                Value (EPA’s                                               Values (EPA’s 2026fj
                                                  2026fj Case;
                             2026fj Case; ppb)                                                 Case; ppb)
                                                      ppb)


                                                                        6          30             63.3
                                                                        6           6             61.6
                                                                        5          20             60.7
                                                                        6           8             59.8
             Brazoria, TX,                                              9          28             59.2
             EPA Monitor           69.1              71.2
             #480391004                                                 9          11             58.2
                                                                        9          29             57.0
                                                                        5          18             56.6
                                                                        5          17             56.0
                                                                        5           6             55.8


  Each HYSPLIT back-trajectory examined four starting heights above ground: 100-meters, 500-meters, 1000-
  meters, and 1500-meters. These heights include the expected levels within the atmospheric mixing layer,
  yet above the influence of local terrain, which EPA considers relevant in assessing the transport of air parcels
  for potential contributions to ozone concentrations at monitor locations. 27 Meteorological data files for the
  analysis were obtained from the NOAA ARL archive28 and consist of the National Centers for Environmental
  Prediction (NCEP) North America Mesoscale (NAM) daily meteorological files, at a 12-km horizontal
  resolution. The start time for each back-trajectory analysis was set equal to the assumed starting hour of
  the predicted maximum eight-hour ozone value for each elevated ozone day, converted to Universal Time
  (+ 6 hours).

  The results of the back-trajectory analyses indicated that the top three ozone days with greater than 60 ppb
  Ozone (highlighted in Table 4) had contributing air parcels originating well outside of, or only briefly
  passing through the very southern section of AR, as shown in Figure 9 (> 60 ppb trajectories coded orange
  in the bottom map). For the remaining 7 days, a majority of the parcels also originated outside of AR (< 60




  27
     EPA’s Responses to Significant Comments on the State and Tribal Designation Recommendations for the
  2015 Ozone National Ambient Air Quality Standards (NAAQS), Docket Number EPA-HQ-OAR-2017-0548,
  April 2018.
  28
     NOAA Air Resources Laboratory Gridded Meteorological Data Archives. ftp.arl.noaa.gov/pub/archives;
  accessed May 2022.



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  ppb trajectories coded blue in the bottom map of Figure 9). For the parcels that did traverse through the
  state, the majority traveled through the central third of the state, and no parcel traveled within even 50
  kilometers of BRS.

  While back-trajectories offer a general assessment of source–receptor relationships and turbulent mixing
  processes can impact air parcels during transport, HYSPLIT back-trajectory analyses have utilized
  meteorological data at an equivalent horizontal resolution to EPA’s CAMx modeling (12-km) and EPA has
  relied on HYSPLIT data to support other cross-state Ozone transport determinations. At the least, if BRS
  was significantly contributing to maximum Ozone events at Brazoria, HYSPLIT back-trajectory modeling
  should corroborate that finding of significance by multiple trajectories at multiple starting heights being
  near BRS. The additional modeling indicates that this is not the case. Additional modeling suggests that
  when Ozone events are maximum at Brazoria (e.g., > 60 ppb), parcels typically do not originate in AR in
  general. The HYSPLIT modeling suggests that when metrological flow in the region is such that NOx
  emissions in the northern portion of AR may contribute to Ozone concentration at Brazoria, those
  contributions are a portion of an overall concentration that is well below the 8-hour NAAQS (< 60 ppb) and
  thus would pose no significant threat to Brazoria attaining or maintaining the 8-hour Ozone NAAQS of 70
  ppb. To the extent that any sources of NOx emissions in AR contribute significantly to Brazoria Ozone
  concentrations, those sources would be in the central and southern areas of AR, and not in the distant
  northeastern area where BRS is located. This additional modeling straightforwardly refutes the broadly
  determined finding of significance that EPA has placed on BRS’s NOx emissions relative to Brazoria Ozone
  concentrations.

  Any inference in the Proposed Rule as to the significance of BRS’s NOx emissions relative to downwind Ozone
  concentrations at Brazoria is unsupported and uncorroborated by additional modeling and is inconsequential.




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  Figure 9: HYSPLIT Centerline Trajectories of Top Ten Max Daily 8-hour Ozone Design Values (2026)
                                                for Brazoria, TX




  The authors gratefully acknowledge the NOAA Air Resources Laboratory (ARL) for the provision of the HYSPLIT transport and dispersion
                             model and/or READY website (https://www.ready.noaa.gov) used in this memo.




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  4.    CONCLUSION

  Reiterating the schematic describing EPA’s approach in Figure 1 and updating with commentary resultant
  from the above discussion provides a representation of our findings and opinions (see Figure 10). At each
  step in the process that EPA applied, uncertainties and gaps of appropriateness and robustness were
  introduced. Based on our review and analysis, it is our opinion that EPA’s modeling in support of the Proposed
  Rule does not sufficiently demonstrate that NOx emissions from BRS significantly contribute to Ozone
  concentrations at the monitor in Brazoria County, Texas.

  Figure 10: Estimated Schematic of EPA’s Approach to Determine Industry-level Significance – With
                                               Commentary




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  ATTACHMENT 1: UNDERSTANDING OF EPA’S EXTRAPOLATION APPROACH

  Our understanding of EPA’s extrapolation approach employed in the Proposed Rule to determine the
  contribution of a given amount of NOx emissions (E) is summarized below as a factor (f) which scales state-
  level model contributions (C) at a given receptor (R), multiplied by the emissions.

  The contribution (C) of emissions, E, to Ozone concentrations at receptor, R can be expressed as Equation
  1, where 𝐶𝑆,𝑅
            2023
                 is the state contribution at receptor R, for the 2023 inventory year.

                                                                                  2023
                                                                      𝐶𝐸,𝑅 = 𝐸𝑓𝑅 𝐶𝑆,𝑅                          (Eq. 1)

  The receptor-level calibration factor in Eq. 1, 𝑓𝑅 , is calculated as a ratio of changes in modeled contributions
  at receptor, R (Eq. 2). The ratio is a linear assumption to estimate how contributions at R would respond to
  emissions non-linearly due to model dynamics. The ratio compares how the model actually responds to
  emissions (the numerator in Eq. 2 – the difference between two modeled concentrations at R, year 2023
  versus 2016) versus how the model would have responded to an increase in emissions (the denominator in
  Eq. 2 – the difference between a 2023 modeled concentration at R and a derived concentration at R for year
  2016) if the modeled response to a change in emissions were linear.

                                                                             𝐶𝑅2016 −𝐶𝑅2023
                                                                      𝑓𝑅 =                                     (Eq. 2)
                                                                             𝐶𝑅2016∗ −𝐶𝑅2023


  The derived 2016 concentration term in the denominator of Eq. 2 is EPA’s “uncalibrated” concentration, C,
  at receptor, R = 𝐶𝑅2016∗ . This term approximates what the concentration at R would be if the modeled
  concentration at R for year 2023 were adjusted upwards based on how much more emissions were present
  in 2016 relative to 2023 in each state. The uncalibrated “2016” concentration at R is the modeled 2023
  concentration plus the sum of each state’s uncalibrated concentration change at R.

                                                                  𝐶𝑅2016∗ = 𝐶𝑅2023 + ∑𝑆 𝑑𝐶𝑆,𝑅
                                                                                          2016∗
                                                                                                               (Eq. 3)

  The uncalibrated contribution change from state, S, at receptor, R = 𝑑𝐶𝑆,𝑅
                                                                         2016∗
                                                                               is the result of scaling the
  modeled 2023 contribution from state S at receptor R by the fractional change in emissions within that
  state.

                                                                                  𝐸 2016 −𝐸𝑆2023
                                                               2016∗
                                                             𝑑𝐶𝑆,𝑅      2023
                                                                     = 𝐶𝑆,𝑅  ( 𝑆                   )           (Eq. 4)
                                                                                      𝐸𝑆2023


  Where state-level emissions in state, S, for inventory year, Y = 𝐸𝑆𝑌 and the contribution of state, S, at receptor,
  R, for model year Y = 𝐶𝑆,𝑅
                         𝑌
                             .

  In summary, EPA estimated the model response due to emissions changes of a complex multi-dimensional
  non-linear chemical transport model at a given receptor (R) by the algebraic application of linear factors
  (𝑑𝐶 and 𝑓𝑅 ) to a state-level modeled contribution there (𝐶𝑆,𝑅
                                                             2023
                                                                  ).
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                UNITED STATES STEEL CORPORTATION
                             COMMENTS ON


            PROPOSED FEDERAL IMPLEMENTATION PLAN
           ADDRESSING REGIONAL OZONE TRANSPORT FOR
                        THE 2015 8-HOUR NAAQS.
                               June 21, 2022




                               EXHIBIT B:
                            Black and Veatch
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                                                                                             Black & Veatch Corp.
                                                                4600 SOUTH SYRACUSE WAY, SUITE 800; DENVER, CO 80237
                                                                                    P +1 720‐834‐4304 E LEEP@BV.COM




  MEMORANDUM

  Baker Hostetler                                                                           B&V Project 412637
  Key Tower                                                                                   B&V File 14.2000
  127 Public Square, Suite 200                                                                   June 17, 2022
  Cleveland, OH 44114‐1214


  Attention:      Martin T. Booher

  Subject:        Technical Feasibility of SCRs on Big River Steel’s Electric Arc Furnaces


  Introduction

  The EPA has proposed new performance standards for electric arc furnaces (EAF) in the steel industry,
  issued on April 6, 2022, with a review and comment period to follow. The proposed rules are part of a
  proposed Federal Implementation Plan (FIP), issued under the “good neighbor” provisions of the Clean
  Air Act (CAA), which would establish new emission limits for multiple sources in order to limit the
  emissions of NOX from states that significantly affect the ability of other downwind states to comply
  with the Ozone National Ambient Air Quality Standards (NAAQS). Per proposed 40 CFR 52.43(c), EAFs
  will be required to meet a NOX emission limit of 0.15 lbm/ton steel on a 3‐hour rolling average. The EPA
  based this limit on their consideration of baseline emissions and permit limits between 0.2 and 0.35
  lbm/ton steel, and a minimum 40 percent reduction in NOX emissions was assumed by adding a selective
  catalytic reduction (SCR) system on EAFs. Facilities are to meet these emission limits by the start of the
  ozone season (May 1) in 2026.

  Big River Steel owns and operates a steel facility in Osceola, Arkansas, which includes two EAFs. An EAF
  is a metallurgical furnace that uses graphite electrodes to supply electrical energy. First, the furnace is
  charged with scrap metal, with the composition of the scrap metal based on the steel that is to be made.
  The electric energy will generate electric arcs in the furnace that melt the steel, and after melting is
  complete, the molten steel is refined to remove various impurities (e.g., phosphorous, sulfur, aluminum,
  silicon, manganese, etc.) by blowing oxygen through the molten steel. The system is operated as a
  batch process, alternating between melting, refining, and other steps such as de‐slagging (tilting the
  furnace to pour slag through an opening), tapping (pouring the molten steel from the furnace), and turn‐
  around (re‐charging the furnace for the next batch of scrap metal). Therefore, the flue gas properties
  will vary significantly depending upon its stage of operations, making NOX controls for EAFs difficult to
  implement.

  The EAFs are the largest NOX emitters at the facility (the only emission units permitted to emit more
  than 100 tons of NOX per year) and produces other regulated emissions as well. Particulate matter is
  controlled by using a baghouse downstream of each EAF, which removes the particulate matter before
  exiting that baghouse’s stack. Prior to entering the baghouse, the flue gas is cooled, because the flue
  gas temperatures from the EAF are beyond the operating temperature of all bags in regular commercial
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  use. Prior to the baghouse, the cooled flue gas also goes through a spark arrestor to remove larger metal
  sparks and flammable debris that could otherwise compromise the baghouse. The proposed ruling by
  the EPA impacts the current EAFs, as well as a planned second facility which started construction earlier
  this year and will also include two EAFs.

  Current Emissions

  Big River Steel conducts routine stack tests on the emissions from their EAF, and over the last several
  years, NOX emissions have averaged around 6.7 ppm, with a maximum recorded value of 12.6 in 2021
  and a lowest recorded value of 4.7 in 2019. Converting the emissions to lbm/ton of steel, the NOX
  emission average was about 0.20 lbm/ton, with a high of about 0.29 lbm/ton and low of 0.15 lbm/ton.
  These emission tests were hour‐long tests, with an average value derived from three tests. Based on
  the average values, the emissions from the EAF would need to be reduced by 23 percent, and based on
  the maximum test value, the reduction would need to be near 49 percent. Since the emissions cannot
  be surpassed, reduction technologies like an SCR would need to remove sufficient NOx from the
  maximum emissions to a margin below the limit, and 49 percent would be the minimum removal
  efficiency required.

  Selective Catalytic Reduction

  Technical Background
  SCR systems are a post‐combustion NOX control technology for achieving reductions in NOX emissions
  which have been primarily utilized in utility coal boilers. In SCR systems, vaporized ammonia (NH3) is
  injected into the flue gas stream, acting as a reducing agent, with a set of one to four (typ.) catalyst
  banks helping to facilitate the reaction. Some utility boiler SCR installations have been able to lower
  NOX emissions by greater than 90 percent, but this is contingent on the unit’s operating characteristics,
  such as flue gas and fly ash composition, as well as the fuel that is being burned.

  The primary chemical reactions between NOX and NH3 are demonstrated by the following equations:

                                                     1
                                   2𝑁𝑂     2𝑁𝐻         𝑂 → 2𝑁        3𝐻 𝑂
                                                     2

                                                    1    3
                                   𝑁0      2𝑁𝐻        𝑂 → 𝑁         3𝐻 𝑂
                                                    2    2

                                    𝑁𝑂     𝑁0     2𝑁𝐻 → 2𝑁          3𝐻 𝑂


  The reactions shown above can occur spontaneously at temperatures above 1600 °F, but at lower
  temperatures these reactions need a catalyst to promote their reactions. Temperatures are still an
  important consideration even with SCRs, as most SCRs operate in a temperature range of 550 to 900 °F.
  There have been catalysts installed at lower and higher temperatures; however, there are critical design
  conditions that a flue gas must meet in order for such a catalyst to work effectively and with consistent
  performance. At low temperatures, the presence of sulfur and other chemicals can poison the catalyst



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  (permanently rendering it less effective or even ineffective), and temperatures will still need to be
  maintained above a minimum of approximately 400 °F. At higher temperatures (up to 1,000 to 1,100
  °F), stainless steels, titanium, or other expensive materials are needed to withstand the higher
  temperatures, and higher volumes would be required to achieve similar NOX reduction rates. NH3 also
  will oxidize to NOX at higher temperatures, so ammonia slip (unreacted ammonia emissions) will need to
  be tightly controlled to prevent unintentional NOX production.

  The reaction mechanisms between NOX and NH3 are very efficient, with a reagent stoichiometry of
  approximately 1.05 (molar ratio of NH3/NOX removed). A simplified schematic diagram of a typical SCR
  reactor for the utility industry is illustrated in Figure 1. However, due to increasingly stringent NOX
  emissions regulations most modern SCR systems are built without bypass systems. SCR cleaning on
  modern systems is typically done by sonic horns, rather than steam or air sootblowers.


                                                                                   Gas Flow Distribution
                                                                                         Devices
                                                                                    Temperature
                                                                                  Measurement Grid

                           Vaporized                                                   Catalyst
                           Ammonia
                                                                                  Sonic Horns


                                                                                 Space for Future Catalyst
                          Isolation                                              and Soot Blower Addition
                          Dampers
                       Bypass
                       Damper                                                      Tuning/Monitoring Grid

             Economizer             Flue Gas to
               Bypass               Air Heater
  Figure 1        Schematic Diagram of Typical Utility Industry SCR Reactor

  The SCR reactor is the housing for the catalyst and is essentially a widened section of ductwork modified
  by the addition of gas flow distribution devices (turning vanes and dampers), steel grating to catch over‐
  sized particulates, the catalyst and its support structures, access doors, and soot blowers. An ammonia
  injection grid is located upstream of the SCR reactor. The ammonia reagent for the SCR systems can be
  supplied by anhydrous ammonia, aqueous ammonia, or by conversion of urea to ammonia. Since the
  ammonia is vaporized prior to contact with the catalyst, the selection of ammonia type does not
  influence the catalyst performance. However, the selection of ammonia type does affect all other
  subsystem components, including reagent storage, vaporization, injection control, and balance‐of‐plant
  requirements (including potential use of auxiliary power and/or process steam in many systems).


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  SCR systems have a variety of interfacing system requirements to support operations. These impacts
  predominately relate to the flue gas draft, auxiliary power, gas temperature, controls, ductwork, and
  reactor footprint. Depending upon the arrangement and performance requirements, flue gas draft
  losses can range from 4 to 10 in. w.g. This can be compensated with the addition of induced draft (ID)
  booster fans. Draft losses may influence the selection and design of the ductwork, and as a result,
  possible structural reinforcements may need to be considered. In conjunction with fan additions or
  modifications, an upgrade of the auxiliary power system might be necessary, which might also be
  triggered by ammonia supply system requirements.

  Technical Infeasibility for Deployment of SCR Systems with EAFs
  The EPA has used the term “technical feasibility” in multiple proposed and promulgated rulings. This
  term has required clarity over the years, as it is critical to determining whether a control technology is to
  be implemented at a particular facility. An example of when the EPA defined this term was in the
  proposed ruling for “State Implementation Plans; General Preamble for the Implementation of Title I of
  the Clean Air Act Amendments of 1990; Supplemental,” (proposed April 28, 1992) where “Technological
  Feasibility was discussed. In Appendix C4 of the proposed ruling, the feasibility of a technology, “should
  consider the source’s process and operating procedures, raw materials, physical plant layout, and any
  other environmental impacts…”

  Technical feasibility is further defined in other promulgated rulings. Drawing from the best available
  retrofit technology (BART) guidelines (40 CFR Part 51, Appendix Y, Section IV.D.2) as general guidance,
  this entails determining whether technical difficulties would preclude the successful use of the control
  option on the emitting unit under review based on physical, chemical, or engineering principles. As
  described in 40 CFR Part 51, Appendix Y, Section IV.D.2.:

          “Control technologies are technically feasible if either (1) they have been installed and operated
          successfully for the type of source under review under similar conditions, or (2) the technology
          could be applied to the source under review. Two key concepts are important in determining
          whether a technology could be applied: ‘availability’ and ‘applicability.’… a technology is
          considered ‘available’ if the source owner may obtain it through commercial channels, or it is
          otherwise available within the common sense meaning of the term. An available technology is
          ‘applicable’ if it can reasonably be installed and operated on the source type under
          consideration.”

  The EPA “does not expect a source owner to conduct extended trials to learn how to apply a technology
  on a totally new and dissimilar source type. Consequently, you would not consider technologies in the
  pilot scale testing stages of development as ‘available’ for purposes of BART review.” (40 CFR Part 51,
  Appendix Y, Section IV.D.2.2)

  Based on these definitions of technical feasibility, installing an SCR after Big River Steel’s EAF as it
  currently exists (i.e., no modifications to the process) is technically infeasible. The reasons for this
  determination are as follows:




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      1) Black & Veatch and Big River Steel are not aware of an SCR that has been installed at another
         EAF (e.g., Black & Veatch has not worked on an SCR project on an EAF, and Black & Veatch’s and
         Big River Steel’s research did not unearth any SCR installations on EAFs). Black & Veatch has
         contacted Andritz, a leading SCR provider, and they have stated they do not have an SCR
         installed on any EAFs. Andritz has acquired Alstom/GE’s air quality control business, so their
         statement includes Alstom/GE’s experience.

      2) To the EPA’s statement regarding whether a “technology could be applied to the source under
         review,” an SCR could not be currently installed at Big River Steel’s EAF because of catalyst
         limitations with flue gas temperatures. Black & Veatch contacted catalyst suppliers, and two
         (CERAM and Cormetech) have responded that they do not have any catalysts installed at the
         temperature ranges present at Big River Steel (other contacted vendors have not responded at
         this juncture). The EAF’s flue gas temperatures fluctuate significantly depending on its mode of
         operation, with a maximum flue gas temperature greater than 1,200 °F prior to the baghouse
         (which is subsequently cooled to near 200 °F in order to protect the bags). Neither temperature
         range fits the design requirements of existing SCR catalysts.

          Black & Veatch has also conducted a literature search for low‐temperature catalysts, and none
          could be found that operate at the temperatures found at Big River Steel’s EAF. Even if one
          were found, it would need to be proven at an industrial scale to be considered applicable for Big
          River Steel. The lack of findings from the literature review corroborates Black & Veatch’s
          discussions with vendors.

  Required Modifications to Install an SCR
  The finding that it is not technically feasible to employ an SCR at Big River Steel is further supported by
  the substantial modifications that would be necessary to attempt to address the flue gas temperature
  and composition concerns, something that (as discussed above) has not to our knowledge been
  accomplished anywhere in the world.

  Should such an installation be attempted, there are many changes required in order to allow successful,
  consistent, and reliable operation at the EAF. These include changes related to the flue gas
  temperatures from the EAF, as well as other possible changes

  Flue Gas Cooling
  Flue gas cooling is currently being done at site. The flue gas is sprayed with water prior to the spark
  arrestors, which are located upstream of the baghouse. The flue gas is cooled to protect the bags from
  burning upon processing the EAF’s hot flue gas temperatures. However, the spray water cools the flue
  gas to around 200 °F in order to protect the bags in the baghouse, which is much too low for an SCR to
  operate. Low‐temperature catalysts also cannot be installed in flue gas streams with sulfur and other
  potential poisons, and installing an SCR upstream of the baghouse exposes the SCR to all of the
  particulate matter from the EAF. The particulate matter from the EAF has a high level of sodium and
  potassium, both of which are known to be harmful to catalysts. As a result, there are serious concerns
  with the feasibility of installing an SCR, needless to say a low‐temperature catalyst, upstream of the
  baghouse.




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  Cooling the flue gas between the EAF and the existing cooling system was also investigated, despite the
  potential hurdles with the particulate matter content of the flue gas. The temperature profile leaving
  the EAF is shown in Figure 2. The data is from February 1, 2022, but it is typical of most operating days
  at the facility. The temperatures reach a maximum of 1,298 °F, so a cooling system will need to lower
  the flue gas temperature from 1,200‐1,300 °F down to 550°F.

                              1400


                              1200
     Temperature, degrees F




                              1000


                              800


                              600


                              400


                              200


                                0
                                     0   10000    20000   30000    40000     50000    60000   70000     80000    90000
                                                                          Time

  Figure 2                                   Temperature of Flue Gas Exiting EAF and Upstream of Spray Water Cooling

  Figure 2 also shows that the temperature significantly swings throughout the day, which is sensible
  based on the EAF’s batch operations. These temperature swings present a potential problem with
  installing an SCR upstream of the baghouse, as the SCR catalyst and housing need to be at the necessary
  operating temperatures along with the flue gas. If the SCR catalyst is lower than the minimum
  temperature of the SCR, then de‐NOX reactions would occur at a much lower rate, if at all, even if the
  flue gas is well above the minimum temperature. In most SCR installations (steady state processes, not
  batch), there is a period of time (e.g., startup) where the SCR will warm up to the necessary
  temperature. If an SCR were to be installed upstream of the baghouse, then barring extensive insulation
  or some other method of heat retention or pre‐heating with external heat sources, it’s possible that the
  SCR steel and catalyst will cool down below the minimum temperatures between the temperature
  peaks. A more thorough analysis (e.g., thermal model of a potential SCR on the EAF, bench/pilot scale
  testing of how quickly an SCR picks up and dissipates heat, literature research on available data on the
  topic, etc.) is required to determine how the SCR’s temperature will behave with such large variations in
  the flue gas temperatures, whether such reactions may prevent the SCR de‐NOx reactions from
  occurring at a sufficient rate above that needed to comply with the 49% control efficiency required
  based on the above estimates, and if needed, what mitigating steps are required, and whether any such


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  mitigating steps are feasible. This question of how the catalyst design and steel will be impacted by the
  temperature swings of the EAF would require a detailed engineering study that was not possible to
  complete during the 2.5 month comment period in this rulemaking.

  Beyond simply the issue with the oscillating flue gas temperatures, cooling flue gas from 1,200‐1,300 °F
  can typically be accomplished by two readily available methods. The first is using ambient air to temper
  the flue gas temperature. In this option, ambient air is drawn through filters by a blower and sent into
  the ductwork to mix with the flue gas and lower its temperature. This has been implemented in many
  combustion turbine (CT) installations that were required to have an SCR. CT exhaust temperatures are
  commonly around 1,000 °F and above, so tempering air has been used to lower the temperature down
  to around 900 °F or lower (the EAF will require more tempering air due to needing to lower flue gas
  temperatures by a greater degree). This additional volume of tempering air must pass through the
  existing baghouse, ID fan, and stack. The sizing of each of these components would need to be reviewed
  to ensure sufficient capacity is available (e.g., whether the ID fan support the additional pressure drop
  created by the SCR and the additional tempering air passing through the ductwork and baghouse);
  otherwise, modifications to these systems would be needed. This question, too, would require a
  detailed facility‐specific engineering study that was not possible to complete during the 2.5 month
  comment period in this rulemaking.

  The second option is to inject water into the flue gas, whereby the latent heat of evaporation of the
  water will absorb heat away from the flue gas. This process is already done at site, but since the target
  temperature for cooling the flue gas for the SCR is different than for protecting the bags, the existing
  system cannot be used for both purposes. As a result, two separate flue gas cooling systems would be
  required, which would not only require increased complexity, but it would require sufficient space for
  the residence time required for evaporation of the water vapor. This would require additional
  installation space, which currently does not exist.

  Flue Gas Heating
  Multiple options are possible for heating the flue gas from 200 °F to 550 °F downstream of the
  baghouse. One is to use a natural‐gas fired duct burner. Duct burners have been installed in numerous
  facilities for increasing flue gas temperatures, most notably before heat recovery steam generators
  (HRSG). Utilizing natural gas combustion to heat the flue gas also introduces an additional emissions
  source (particularly of NOx), which must be addressed in the facility air permit and may trigger additional
  permitting reviews. The flue gas temperature can also be increased by using electric or steam coils. This
  also would require detailed facility specific engineering not possible to complete during the 2.5 month
  comment period in this rulemaking.

  Babcock Power provides an SCR for tail‐end applications, where they direct flue gas through a
  regenerative thermal oxidizer (RTO), which is a large ceramic bed that can absorb and release heat. The
  flue gas would then pass through the first layer of an SCR and after that, it would be heated by a duct
  burner and pass through a second layer of catalyst. After the second layer, it will pass through another
  RTO, this time transferring heat into the second RTO. Once the first RTO’s heat has dissipated, the cycle
  is reversed so flue gas passes through the second RTO before passing through the catalyst. Babcock
  Power’s process is termed a Regenerative SCR (SCR), and it is typically more expensive than a traditional
  SCR due to the additional components.



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  Cost Estimates
  Black & Veatch has been employed on many projects and studies over the years with power‐related
  equipment and air quality controls. From these experiences, high‐level cost estimates were calculated
  for implementing heating and cooling options for the flue gas. These past projects were based on
  design conditions from past clients, cost quotes from vendors, and engineering design specifications
  developed by Black & Veatch. These are not included in EPA’s Control Cost Manual, as these would be
  unique to this particular application for EAFs. These estimates are not budgetary in nature, as more
  time and effort would be required for that level of accuracy, but rather, these estimates are provided to
  give a general idea of the additional costs that would be incurred to install an SCR. A facility specific
  detailed engineering design would be required in order to develop more precise cost estimates. Table 1
  summarizes the cost estimates for each EAF for adding a tempering air, spray water system, and duct
  burner to the Big River Steel EAF. Other options for heating the flue gas were not considered, because
  duct burners are the simplest option for attempting to address the incompatibility of Big River Steel’s
  EAF options and SCR.

  Table 1        Cost Estimate Summary for Flue Gas Temperature Control Options
   Option                          Equipment Cost                  Installed Cost
   Tempering Air                   $7,250,000                      $11,700,000
   Spray Water System              $7,400,000                      $11,200,000
   Duct Burners                    $20,000,000                     $27,800,000

  The above costs include nominal ductwork and piping due to the fact that most studies serving as the
  cost estimates’ basis were greenfield sites. The layout of Big River Steel’s facility would increase the
  costs for these items due to its size and complexity (although the amount of increase is not known at
  this juncture). The EAF is a large structure, and the platforms that fans and pumps would be located are
  far away from the flue gas ductwork.


  Other Considerations for Installing an SCR
  In addition to the flue gas temperature concerns, there are other potential challenges that must be
  confirmed before an SCR can be installed. A common theme to these issues is the custom design of Big
  River Steel’s facility. When the facility was designed and commissioned, the inclusion of a substantial
  new emission control system like SCR was not accounted for in the design, so the installed equipment
  will have challenges in accommodating an SCR. These include:

      1) Flue gas passing through an SCR will experience a pressure drop due to flow resistance from
         passing through the SCR’s catalyst and additional ductwork. The pressure drop should be
         around 4 inches w.g. (but could be larger). It is common on SCR retrofits for a booster fan to be
         added to the system’s draft system, or the existing ID fans can be retipped to increase their
         capacity, to overcome this additional pressure drop. Further evaluation of the draft system and
         fans is required, but at this time, it is believed that a new booster fan will be required.

          Even if the existing draft fans were capable of providing the additional pressure drop, the
          auxiliary electrical system may not be able to support the additional power required by the fans.


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        The installed auxiliary electrical system does not have much additional capacity, and further
        analysis is required to confirm the amount of new cabling, transformers, etc. that will be
        required to even attempt providing the additional power needed. This also would require
        detailed facility specific engineering not possible to complete during the 2.5 month comment
        period in this rulemaking.

    2) There is limited operational space at Big River Steel’s facility, particularly around the EAF. The
       EAF is within a large structure that is highly congested with equipment, piping, and ductwork,
       and little space is available for installing a tempering air skid, ammonia handling system, and
       ammonia pump skid. The location for the SCR itself will also require more analysis. The
       ductwork between the EAF and the baghouse goes over a major road at the facility that is
       accessed by large haul trucks that require significant clearance levels. Accordingly, any attempt
       to employ an SCR upstream of the baghouse would have to be elevated with a steel support
       system that does not interfere with the roads. Assuming such a configuration can be
       accomplished, it would increase the installation cost significantly (these challenges were not
       accounted for in the cost estimates in Table 1).

        At the back‐end of the baghouse there is only about 12.5 feet of space between the baghouse
        and the stack, and the ID fan is located adjacent to the stack. Even if it’s possible to tie in the
        SCR’s inlet duct between the baghouse and stack, but 12.5 feet may be too narrow for tying in
        the SCR’s outlet duct at the same location. The outlet duct’s tie‐in point would need to return
        to the system upstream of the ID fan, which could require a stack breeching and other
        considerations. This also would require detailed facility specific engineering not possible to
        complete during the 2.5 month comment period in this rulemaking.

        Barring substantial modifications to the plant flue gas system, there is no appropriate location to
        site a booster fan. As there is no room between the ID fan and the stack, as the two are
        adjacent to one another, any booster fan would need to be located off to the side of the
        baghouse or behind the stack. The ductwork tying in the booster fan would therefore require
        multiple turns that would increase the pressure drop it needs to provide.

        As a result, there is no appropriate location where SCR can be guaranteed to be feasibly
        installed. Further analysis is required to determine where an SCR and other supporting
        equipment could feasibly be located, if at all.

    3) The particulate matter produced by the EAF was analyzed for potential catalyst poisons, as there
       is significant concern regarding alkali metals that have been known to poison SCR catalysts. One
       prominent example is an SCR installation at Coyote Station in North Dakota. North Dakota
       lignite is burned at the facility, and it is known to have elevated levels of sodium. At Coyote
       Station, the SCR experienced detrimental plugging issues due to the sodium in the flue gas.
       Potassium‐based poisoning is well‐known throughout the power industry, especially for the case
       of power stations that have attempted to co‐fire significant amounts of high‐potassium biomass
       fuel.




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          The particulate matter from the EAF captured by the baghouse has potassium and sodium levels
          of 11,500 and 8,080 ppm, respectively. These tested levels for potassium and sodium appear to
          be high, but the dust concentration is not as large compared to coal‐fired power plants. Black &
          Veatch has contacted catalyst suppliers for their advice regarding use with these high potassium
          and sodium concentration levels, but no conclusions have been attained at this time. Further
          analysis is required to determine the effects of the particulates’ composition on catalysts.

      4) Ammonia slip is a consideration for SCR design, with more catalyst being typically required to
         achieve lower ammonia slip. Ammonia slip is often increased by swings in flue gas
         temperatures, variations in the flue gas flow rate, the level of catalyst poisoning, the amount of
         wear and pluggage in the ammonia injection grids, etc. The potential for ammonia slip will need
         to be confirmed through the permitting and regulatory process.

  Other NOX Reduction Options:
  The EPA proposed ruling is based on deploying an SCR, but as summarized in this memo, there are
  multiple issues with implementing an SCR at Big River Steel’s EAF. The proposed limit is not restricted to
  being met solely by an SCR, so some consideration should be given to whether alternative control
  options would be able to meet the proposed limits.

  NOX control methods can be generally categorized into two groups for typical utility boiler applications,
  pre‐combustion and post‐combustion. Pre‐combustion refers to ways to control the formation of NOX.
  NOX is primarily created when nitrogen in the air is combusted. Nitrogen in fuels, or in this case scrap
  metal, can also be combusted to create NOX, but the rate of NOX from fuels is minor compared to NOX
  from the air. Sensibly, one of the ways to reduce NOX formation is to lower the flame temperatures. For
  traditional furnaces, this is accomplished by using low‐NOX burners (LNBs) that control the mixing of fuel
  and air in a pattern designed to minimize flame temperatures. However, melting scrap metal in the EAF
  is primarily driven by electricity rather than by a flame or combustion of fuel, so LNBs cannot be relied
  on for further reductions. Neither are other pre‐combustion methods, such as over‐fire air (OFA), due
  to the lack of combustion. Further analysis is required to determine if there are ways to optimize the
  electric arcs in the EAF to minimize NOX formation, but since the electric arcs are integral to melting
  scrap metal, there is doubt as to whether this can be accomplished.

  Post‐combustion control methods refer to ways to remove NOX after it has been generated. SCRs are
  the most common post‐combustion control method in some other industries for achieving significant
  levels of NOX reduction, but when the reduction levels are less demanding, selective non‐catalytic
  reduction (SNCR) systems are an option. SNCR systems inject urea solutions into furnaces where the
  temperature is optimal for NOX and NH3 reactions. However, the flue gas temperature at the EAF outlet
  varies too greatly and is too low for SNCR to be implemented. An SNCR system will typically require
  temperatures to be consistently greater than 1,550 °F in order to provide NOX reductions. Black &
  Veatch confirmed with Fuel Tech, a leading provider of SNCR systems, that an SNCR is not practical for
  EAFs, and that they have not installed an SNCR at any EAF.

  Conclusion:
  Based on Black &Veatch’s experience, research, and discussions with suppliers, installing an SCR at Big
  River Steel’s EAFs is technically infeasible without making major modifications to the system, and it is


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  unknown whether the EPA has considered the cost of these major modifications in their proposed
  ruling. Even if these modifications were made, there are potential challenges to installing and
  successfully operating an SCR that will need detailed facility specific engineering investigation. Black &
  Veatch would be happy to assist Baker Hostetler in providing Big River Steel further support as needed
  on this issue, as well as any other issues that arise.

  Very truly yours,

  Black & Veatch Corporation



  Paul Lee
  Black & Veatch


  cc:     Martin Booher – Baker Hostetler Law
          Josh Wilson – Baker Hostetler Law
          Steve Frey – Community of Practice Leader Air Services
          Una Nowling – Black & Veatch Project Manager




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                UNITED STATES STEEL CORPORTATION
                             COMMENTS ON


            PROPOSED FEDERAL IMPLEMENTATION PLAN
           ADDRESSING REGIONAL OZONE TRANSPORT FOR
                        THE 2015 8-HOUR NAAQS.
                               June 21, 2022




                              EXHIBIT C:
                                   Barr
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                      COMMENTS TO THE
        UNITED STATES STEEL CORPORATION
                           Regarding the
   Proposed Federal Implementation Plan Addressing
     Regional Ozone Transport for the 2015 Ozone
        National Ambient Air Quality Standard
              87 Fed. Reg. 87,66 (April 6, 2022)
         Docket ID No. EPA-HQ-OAR-2021-0668

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  Included herein are technical comments from Barr Engineering Co. (“Barr”) in response to the
  U.S. Environmental Protection Agency’s (“EPA” or “the Agency”) Proposed Federal
  Implementation Plan Addressing Regional Ozone Transport for the 2015 Ozone National Ambient
  Air Quality Standard; Proposed rule, 87 Fed. Reg. 87,66 (April 6, 2022) (“Proposed Rule”), based
  on review of the Proposed Rule and its supporting technical documentation.



     I.      Taconite Iron Ore Processing Industry should be Excluded from the Proposed
             Rule Applicability since it is not part of the Iron and Steel Mills and Ferroalloy
             Industry
  A. EPA’s Proposed Federal Implementation Plan Addressing Regional Ozone Transport
  for the 2015 Ozone National Ambient Air Quality Standard should exclude the Taconite
  Iron Ore Processing Industry from the final rule for the following reasons and relevant
  supporting documentation:
          1. The Taconite Iron Ore Processing Industry is not part of the Iron and Steel Mills and
             Ferroalloy Industry, as defined by the Taconite Iron Ore Processing Industry 4-digit
             NAICS codes and by the definition under 40 CFR 63. The NAICS description of Iron
             and Steel Mills and Ferroalloy Manufacturing corresponds to a NAICS code of 3311
             and the NAICS description of Metal Ore Mining corresponds to a NAICS code of 2122.
             The Taconite Iron Ore Processing Industry (NAICS code 212210) is a subset of the
             Metal Ore Mining Industry.
          2. Throughout the Proposed Rule, EPA refers to the ‘seven non-EGU industries that
             provide opportunities for NOx emissions reductions that result in meaningful impacts
             on air quality at the downwind receptors.’ The seven industries identified by EPA in
             the “Screening Assessment of Potential Emissions Reductions, Air Quality Impacts,
             and Costs from Non-EGU Emissions Units for 2026” (“Non-EGU Screening
             Assessment memorandum”) (EPA-HQ-OAR-2021-0668-0150) are shown in the below
             table.
                   Tier 1 Industries                                  Tier 2 Industries

          NAICS Description                NAICS              NAICS Description              NAICS
                                            Code                                              Code

   Pipeline Transportation of Natural
                                         4862          Basic Chemical Manufacturing        3251
   Gas

   Cement and Concrete Product                         Petroleum and Coal Products
                                         3273                                              3241
   Manufacturing                                       Manufacturing

   Iron and Steel Mills and Ferroalloy
                                         3311          Pulp, Paper, and Paperboard Mills   3221
   Manufacturing




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   Glass and Glass Product
                                       3272
   Manufacturing



         3. In the “Non-EGU Screening Assessment”, the Metal Ore Mining Industry (4-digit
            NAICS 2122) was originally included as a Tier 2 facility; however, in a later step in
            the analysis EPA refined the Tier 2 grouping by identifying potentially impactful
            industrial, commercial, and institutional (ICI) boilers, using the projected 2023
            emissions inventory in the linked upwind states, which subsequently removed the
            Metal Ore Mining industry from the Tier 2 grouping as this industry was found to not
            have any “potentially impactful boilers” (See Table 1: Number of Emissions Unit
            Types in Tier 2 Industries in the Non-EGU Screening Assessment). Based on EPA’s
            own assessment, boilers in the Metal Ore Mining industry, which would include the
            Taconite Iron Ore Processing facilities, do not provide opportunities for NOx emissions
            reductions that result in meaningful impacts on air quality at downwind receptors.
         4. NOx emissions from taconite production kilns/indurating furnaces are already well
            controlled and regulated by the Minnesota Taconite Regional Haze BART FIP 81 FR
            21671 (April 12, 2016), as amended most recently for Minntac on March 2, 2021 (86
            Fed. Reg. 12095, codified at 40 CFR 52.1235). Because the industry is already well
            controlled and because EPA and the regulated community have already invested
            significant amounts of resources in determining appropriate NOx limits for indurating
            furnaces, it is unnecessary and inappropriate for EPA to now impose additional
            requirements to the industry.
         5. In Section VII.C.3 of the Proposed Rule (20148), EPA states:
         “The EPA did not find large boilers within the Lime and Gypsum Product Manufacturing
         (NAICS code 3274xx) or the Metal Ore Mining industries (NAICS code 2122xx). As such
         the EPA is not expressly proposing to include boilers in those industries. However, if as a
         result of receiving additional information during the comment period the EPA identifies
         large boilers within these two industries that meet the applicability criteria described below,
         those boilers could be subject to the requirements of the final rule.”
         Since no ‘potentially impactful boilers’ were identified from the Metal Ore Mining industry
         as part of EPA’s “Non-EGU Screening Assessment” it is still not a ‘potentially impactful
         boiler’ because it would have been originally included in EPA’s “Non-EGU Screening
         Assessment” and therefore should be removed from reference in the rule.


  B. Discrepancies in the Screening Assessment of Potential Emissions Reductions, Air
  Quality Impacts, and Costs from Non-EGU Emissions Units for 2026 (“Non-EGU
  Screening Assessment memorandum”) warrant further quality assurance and explanation.
  1. (EPA-HQ-OAR-2021-0668-0150), a supporting document to EPA’s RIA, presents the
  analytical framework EPA used to “facilitate decisions about industries, emissions unit types,
  and cost thresholds for including emissions units in the non-electric generating unit ‘sector’
  (non-EGUs)” and “summarizes the screening assessment the EPA prepared to identify industries


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  and emissions unit types to include in the proposed rule to obtain NOx emission reductions from
  non-EGUs.”
  To analyze non-EGU emissions units, EPA aggregated the underlying projected 2023 emissions
  inventory data into industries defined by 4-digit NAICs, focused on assessing emission units that
  emit >100 tpy of NOx. The focus was limited to potentially controllable emissions, and well-
  controlled sources that still emit >100 tpy were excluded from consideration. EPA then grouped
  the industries into Tier 1 and Tier 2 categories, as defined above.
  Originally, Metal Ore Mining (4-digit NAICS 2122) was included in the Tier 2 grouping;
  however, in a later step EPA refined the Tier 2 grouping by identifying potentially impactful
  industrial, commercial, and institutional (ICI) boilers, using the projected 2023 emissions
  inventory in the linked upwind states, which subsequently removed the Metal Ore Mining
  industry from the Tier 2 grouping. Based on EPA’s own assessment, boilers in the Metal Ore
  Mining industry, which would include the MN taconite facilities, do not provide opportunities
  for NOx emissions reductions that result in meaningful impacts on air quality at the downwind
  receptors. Accordingly, application of the Proposed Rule to Taconite facilities is not supported
  by the underlying modeling because (1) the taconite facilities are not part of the Iron and Steel
  Mills and Ferroalloy Manufacturing Industry and (2) the Metal Ore Mining industry was
  removed from consideration in EPA’s screening assessment.
  Furthermore, boilers at taconite facilities that emit or have the potential to emit >100 tpy of NOx
  are not expressly listed under the text of the Proposed Rule as an “Affected Unit” (unlike a
  “taconite production kiln”). Instead, section 52.43 with respect to boilers only includes
  “industrial boiler” “at an iron and steel mill or ferroalloy manufacturing facility.” Because
  taconite production is not in fact within the iron and steel mill or ferroalloy NAICS, it is unclear
  whether boilers at taconite facilities that emit or have the potential to emit >100 tpy of NOx are
  subject to the Proposed Rule as currently drafted. And in any case the underlying modeling
  cannot support application of the Proposed Rule to such boilers because boilers in the Metal Ore
  Mining industry were removed from consideration in EPA’s screening assessment.
  C. Inconsistencies with Iron and Steel Mills and Ferroalloy Manufacturing Industry 30-day
  rolling average vs. 3-hour rolling average for Gas-Fired Industrial Boilers require
  updating.
  1. VII.C.3 states “In determining the averaging times for the limits, EPA initially reviewed the
  NESHAP for Iron and Steel Foundries codified at 40 CFR part 63 subpart EEEEE, the NESHAP
  for Integrated Iron and Steel manufacturing facilities codified at 40 CFR part 63 subpart FFFFF,
  the NESHAP for Ferroalloys Production: Ferromanganese and Silicomanganese codified at 40
  CFR part 63 subpart XXX, and the NESHAP for Ferroalloys Production Facilities codified at 40
  CFR part 63 subpart YYYYYY. EPA also reviewed various RACT NOX rules from states
  located within the OTR, several of which have chosen to implement OTC model rules and
  recommendations. Based on this information, the EPA is proposing to require a 30-operating
  day rolling average period as the averaging time frame for this particular industry. The EPA
  finds that a 30-operating day rolling average period provides a reasonable balance between short



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  term (hourly or daily) and long term (annual) averaging periods, while being flexible and
  responsive to fluctuations in operations and production.” (20145)
  VII.C.5.c for Gas-Fired Industrial Boilers states “The proposed NOx emissions limits for gas-
  fired boilers subject to the requirements of this section is 0.08 lbs/mmBtu. The proposed
  averaging time for these emissions limits is a 30-day rolling average. Additionally, EPA seeks
  comment on whether the EPA should establish less stringent emissions rates for boilers with low
  utilization rates, and if so, the appropriate emissions rate(s) and corresponding boiler utilization
  rate(s).” (20149)
   §52.43(c) – “Emissions Limitations and Requirements. Beginning with the 2026 ozone season
  and in each ozone season thereafter, the emissions limitations in the following table must be met
  on a 3-hour rolling average.” (20181) Note: this is the only mention in the proposed FIP of a 3-
  hour rolling average.
  There is inconsistency between the averaging time for the gas-fired industrial boiler emissions
  limits. Sections VII.C.3 and VII.C.5.c specify a 30-day rolling average and §52.43(c) specifies a
  3-hour rolling average.
  Boilers in the Tier 2 industries are also subject to a 30-day rolling average period as specified at
  §52.45(d)(2) & (e)(5), thus it would be inconsistent with the rest of the Proposed Rule not to use
  a 30-day rolling average period for boilers in the iron steel and ferroalloy industry (and taconite
  boilers if covered under that section). Additionally, there is no justification offered in the
  Proposed Rule or its supporting documents for a 3-hour averaging period.


  D. A 3-hour Rolling Average Standard is Unsupported by Real-Time Ozone Transport
  Cross-State.
  1. The rule is designed to address pollutant transport during the ozone season and any 1-hour, 3-
  hour, or even 24-hour restrictions are not necessary. Ozone transport across multiple states (or
  even a single state) would not be responsive to this type of short duration when emissions occur.
  The transport times can be days from sources to downwind receptors and vary considerably. The
  justification for a 3-hour rolling average does not exist. Short term averages are typically applied
  when there is a direct response between the downwind concentration and the emissions. For
  example, a 24-hour limit on a facility that is evaluating the 24-hour PM10 standard at its
  property boundary (i.e., much more direct cause and effect) matches the form of the standard
  with the source emissions limit. This type of short-term limit is not being discussed as part of the
  ozone transport FIP and shouldn’t be.
  2. The other limitations from the rule all include a 30-day rolling average. While this is better,
  EPA should clarify that monitoring recordkeeping and reporting are only required during the
  ozone season since the Proposed Rule’s limits only apply during the ozone season. The use of a
  30-day rolling average during the winter months is completely unnecessary as ozone
  concentrations are not elevated outside the ozone season (traditionally May – September) in
  many areas. EPA’s proposal is an excessive limitation beyond the scope of the ozone transport


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  issues that they believe they are trying to resolve. If EPA moves forward with controls in
  Minnesota, it is Barr’s recommendation that an ozone season total emission limit is the
  appropriate form and not an on-going 30-day rolling limit. This is consistent with the NOx
  transport rule and CSAPR, along with the other ozone transport state rules/SIPs designed to
  address ozone transport.
  EPA’s own statement applies good logic about using a longer average notwithstanding the ozone
  season issue discussed above - “The EPA finds that a 30-operating day rolling average period
  provides a reasonable balance between short term (hourly or daily) and long term (annual)
  averaging periods, while being flexible and responsive to fluctuations in operations and
  production.”
  II.    EPA’s Technical Modeling Analysis Justifying the Inclusion of Non-EGU Taconite
         Sources.
         A.     Is EPA’s modeling approach for identifying upwind states to include in their
                future ozone attainment regional scale modeling and source type category
                contributions justified?
                1.     EPA should reconsider the 1% (0.71ppb) threshold for identifying a state’s
                       contributions “significant” to a future modeled ozone NAAQS non-
                       attainment downwind receptor. The August 2018 memo provided a
                       reasonable argument for adjusting the significant level to 1 ppb.
                       EPA’s reasoning for retaining the 1% NAAQS threshold for the latest
                       revisions to the Good Neighbor Rule makes it seem like adjusting the
                       threshold will throw mass confusion into the entire process and make it
                       unfairly apply tighter restrictions to some states and not others. To quote
                       their own defense
                               “Where alternative thresholds for purposes of Step 2 may be “similar”
                               in terms of capturing the relative amount of upwind contribution (as
                               described in the August 2018 memorandum), nonetheless, use of an
                               alternative threshold would allow certain states to avoid further
                               evaluation of potential emissions controls while other states must
                               proceed to a Step 3 analysis. This can create significant equity and
                               consistency problems among states.”

                       This argument contradicts itself by assuming that the 1 ppb would not be
                       applied uniformly across all states, avoiding the consistency and equity
                       problems. If 1 ppb captures the same relative amount of upwind
                       contribution, then the fact that some upwind states impacts would not be
                       considered significant and require a Step 3 analysis is reasonable. In fact,
                       the Proposed Rule stated that “EPA’s updated modeling, the amount of
                       upwind contribution lost is 5%)”. The same argument for fairness could be
                       applied to a 1% standard which unduly burdens states to more stringent
                       control requirements when applying these controls will result in little to no
                       benefit of downwind Ozone. (This is further discussed in item 4.)


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                  The August 2018 memorandum stated, “Each time EPA sets a new or
                  revised NAAQS, states and EPA can evaluate collective contribution to
                  identify an appropriate threshold for that NAAQS…conclusions made with
                  respect to one NAAQS are not by default applicable to another NAAQS.”
                  Yet here, EPA’s Proposed Rule makes the argument that “Consistency with
                  past interstate transport actions…is also important.”
                  It is understood that generalizations and simplified assumptions are
                  sometimes appropriate and necessary in a complex modeling analysis such
                  as a national photochemical ozone evaluation. However, when the results
                  are used to justify costly controls and monitoring on a significant number
                  of industrial stationary sources in the state, further culpability refinements
                  need to be assessed. Arbitrarily requiring controls across multiple non-
                  EGU point sources in a state contributing less than 1ppb to a modeled
                  ozone value greater than 70 ppb demands an extra step confirming that
                  non-EGU sources are in fact the main contributors from each state.
             2.   The use of 1% of the NAAQS as a meaningful level to evaluate other
                  source/source geographies (especially on a state-basis) is flawed as it
                  ignores the impact of the downwind nonattainment areas and other impacts
                  from within the immediate vicinity around the area.
                  Using a very small contribution simply means that more sources will be
                  included as impacting downwind nonattainment. The selection of the level
                  should be based on similar criteria that are used as part of an individual
                  project evaluation, but with a much larger impact when combining
                  emissions sources from an entire state. This is a substantial flaw in EPA’s
                  approach and should be recognized along with the inherent bias and error
                  of the model to determine applicable thresholds which is further discussed
                  in item 6.
                  EPA ozone modeling evaluated baseline 8-hour impacts for 2023 and 2026
                  with contributions by state to any ozone NAAQS modeled exceedance.
                  This information is contained in Appendix C: Ozone Contributions to
                  Nonattainment & Maintenance-Only Receptors (Outside of California) in
                  2023 and 2026. The following table lists the state receptors in Appendix C
                  where U. S. Steel facilities are located which contribute more than 0.71 ppb
                  to a downwind ozone non-attainment (>70 ppb) receptor. The State of
                  Illinois’s contribution to downwind ozone (including all sources, not
                  merely EGUs and Non-EGUs) is the greatest with around 25% of the
                  impact with Pennsylvania and Indiana coming next with around 10%
                  impact on their downwind receptors. The remaining states only contribute
                  around 2-3% of the downwind ozone impacts even when all sources are
                  combined in the state (including natural sources and mobile sources and
                  other sources not subject to the Proposed Rule).


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   State   USS          Receptor 2023 Max          State Contribution         Receptor 2026 Max           State Contribution
           Source       (ppb)                      (ppb)                      (ppb)                       (ppb)
   AL      Fairfield    Denton, TX: 72.2           Denton, TX: 0.71           NONE                        NONE
           Works        Harris, TX: 72.0           Harris, TX: 0.88
   AR      Big River    Brazoria, TX: 72.3         Brazoria, TX: 1.39         Brazoria, TX: 71.2          Brazoria, TX: 1.30
           Steel        Denton, TX: 72.2           Denton, TX: 0.76
                        Harris (55), TX: 72.0      Harris (55), TX: 1.0
                        Harris (34), TX: 71.6      Harris (34), TX: 1.38
                        Harris (35), TX: 71.6      Harris (35), TX: 1.34
   CA      UPI          Yuma, AZ: 72.2             Yuma, AZ: 5.09             Yuma, AZ: 71.8              Yuma, AZ: 4.85
                        Douglas, CO: 72.3          Douglas, CO: 0.91          Douglas, CO: 71.1           Douglas, CO: 0.88
                        Jefferson (6), CO: 73.3    Jefferson (6), CO: 1.03    Jefferson (6), CO: 72.3     Jefferson (6), CO: 0.99
                        Jefferson (11), CO:        Jefferson (11), CO: 1.17   Jefferson (11), CO: 73.3    Jefferson (11), CO: 1.12
                        74.4                       Clark, NV: 7.4             Davis, UT: 73.9             Davis, UT: 2.18
                        Clark, NV: 71.0            Davis, UT: 2.25            Salt Lake (6), UT: 74.1     Salt Lake (6), UT: 2.38
                        Davis, UT: 75.1            Salt Lake (6), UT: 2.46    Salt Lake (13), UT: 74.0    Salt Lake (13), UT: 1.36
                        Salt Lake (6), UT: 75.3    Salt Lake (11), UT: 1.42   Weber (2), UT: 71.7         Weber (2), UT: 2.13
                        Salt Lake (11), UT:        Weber (2), UT: 2.24
                        74.9                       Weber (3), UT: 2.16
                        Weber (2), UT: 72.5
                        Weber (3), UT: 71.5
   IL      Granite      Kenosha (19), WI: 73.7     Kenosha (19), WI: 18.13    Kenosha (19), WI: 72.6      Kenosha (19), WI: 17.81
           City Works   Kenosha (25), WI: 72.3     Kenosha (25), WI: 18.55    Kenosha (25), WI: 71.1      Kenosha (25), WI: 18.14
                        Racine, WI: 73.2           Racine, WI: 13.86          Racine, WI: 72.1            Racine, WI: 13.54
   IN      Gary         Fairfield (7), CT: 75.1    Fairfield (7), CT: 0.75    Fairfield (7), CT: 73.7     Fairfield (7), CT: 0.71
           Works        Fairfield (3), CT: 76.4    Fairfield (3), CT: 0.76    Fairfield (3), CT: 74.8     Fairfield (3), CT: 0.71
                        New Haven, CT: 73.9        New Haven, CT: 0.87        New Haven, CT: 72.4         New Haven, CT: 0.82
                        Cook (1), IL: 73.4         Cook (1), IL: 5.44         Cook (1), IL: 72.5          Cook (1), IL: 5.41
                        Cook (32), IL: 72.4        Cook (32), IL: 7.03        Cook (32), IL: 71.7         Cook (32), IL: 6.99
                        Cook (76), IL: 72.1        Cook (76), IL: 6.21        Cook (76), IL: 71.3         Cook (76), IL: 6.08
                        Cook (4201), IL: 73.4      Cook (4201), IL: 4.65      Cook (4201), IL: 72.4       Cook (4201), IL: 4.54
                        Cook (2), IL: 73.0         Cook (76), IL: 6.33        Cook (2), IL: 72.0          Cook (2), IL: 6.18
                        Bucks, PA: 72.2            Bucks, PA: 0.73            Kenosha (19), WI: 72.6      Kenosha (19), WI: 6.43
                        Kenosha (19), WI: 73.7     Kenosha (19), WI: 6.6      Kenosha (25), WI: 71.1      Kenosha (25), WI: 6.98
                        Kenosha (25), WI: 72.3     Kenosha (25), WI: 7.1      Racine, WI: 72.1            Racine, WI: 6.52
                        Racine, WI: 73.2           Racine, WI: 6.6
   MI      Great        Fairfield (17), CT: 73.7   Fairfield (17), CT: 1.07   Fairfield (17), CT: 72.2    Fairfield (17), CT: 1.02
           Lakes        Fairfield (7), CT: 75.1    Fairfield (7), CT: 0.94    Fairfield (7), CT: 73.7     Fairfield (7), CT: 0.89
           Works        Fairfield (3), CT: 76.4    Fairfield (3), CT: 0.92    Fairfield (3), CT: 74.8     Fairfield (3), CT: 0.88
                        New Haven, CT: 73.9        New Haven, CT: 1.27        New Haven, CT: 72.4         New Haven, CT: 1.21
                        Cook (1), IL: 73.4         Cook (1), IL: 0.93         Cook (1), IL: 72.5          Cook (1), IL: 0.88
                        Cook (32), IL: 72.4        Cook (32), IL: 1.21        Cook (32), IL: 71.7         Cook (32), IL: 1.15
                        Cook (76), IL: 72.1        Cook (76), IL: 1.54        Cook (76), IL: 71.3         Cook (76), IL: 1.46
                        Cook (4201), IL: 73.4      Cook (4201), IL: 1.67      Cook (4201), IL: 72.4       Cook (4201), IL: 1.58
                        Cook (2), IL: 73.0         Cook (76), IL: 1.26        Cook (2), IL: 72.0          Cook (2), IL: 1.19
                        Bucks, PA: 72.2            Bucks, PA: 0.75            Kenosha (19), WI: 72.6      Kenosha (19), WI: 1.03
                        Kenosha (19), WI: 73.7     Kenosha (19), WI: 1.07     Kenosha (25), WI: 71.1      Kenosha (25), WI: 1.11
                        Kenosha (25), WI: 72.3     Kenosha (25), WI: 1.17     Racine, WI: 72.1            Racine, WI: 0.96
                        Racine, WI: 73.2           Racine, WI: 1.02
   MN      Keetac,      Cook (1), IL: 73.4         Cook (1), IL: 0.97         Cook (1), IL: 72.5          Cook (1), IL: 0.91
           Minntac      Cook (76), IL: 72.1        Cook (76), IL: 0.79        Cook (76), IL: 71.3         Cook (76), IL: 0.75
   OH      PRO-TEC      Fairfield (17), CT: 73.7   Fairfield (17), CT: 1.18   Fairfield (17), CT: 72.2    Fairfield (17), CT: 1.10
                        Fairfield (7), CT: 75.1    Fairfield (7), CT: 1.87    Fairfield (7), CT: 73.7     Fairfield (7), CT: 1.76
                        Fairfield (3), CT: 76.4    Fairfield (3), CT: 1.90    Fairfield (3), CT: 74.8     Fairfield (3), CT: 1.78
                        New Haven, CT: 73.9        New Haven, CT: 1.94        New Haven, CT: 72.4         New Haven, CT: 1.83
                        Cook (1), IL: 73.4         Cook (1), IL: 0.82         Cook (1), IL: 72.5          Cook (1), IL: 0.78
                        Cook (32), IL: 72.4        Cook (32), IL: 1.26        Cook (32), IL: 71.7         Cook (32), IL: 1.22
                        Cook (76), IL: 72.1        Cook (76), IL: 1.23        Cook (76), IL: 71.3         Cook (76), IL: 1.18
                        Cook (4201), IL: 73.4      Cook (4201), IL: 1.23      Cook (4201), IL: 72.4       Cook (4201), IL: 1.19



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                      Cook (2), IL: 73.0         Cook (2), IL: 1.69         Cook (2), IL: 72.0          Cook (2), IL: 1.62
                      Bucks, PA: 72.2            Bucks, PA: 1.88            Kenosha (19), WI: 72.6      Kenosha (19), WI: 1.59
                      Kenosha (19), WI: 73.7     Kenosha (19), WI: 1.67     Kenosha (25), WI: 71.1      Kenosha (25), WI: 1.3
                      Kenosha (25), WI: 72.3     Kenosha (25), WI: 1.33     Racine, WI: 72.1            Racine, WI: 0.97
                      Racine, WI: 73.2           Racine, WI: 1.00
   PA   Mon           Fairfield (17), CT: 73.7   Fairfield (17), CT: 5.44   Fairfield (17), CT: 72.2    Fairfield (17), CT: 5.32
        Valley        Fairfield (7), CT: 75.1    Fairfield (7), CT: 6.37    Fairfield (7), CT: 73.7     Fairfield (7), CT: 6.36
        Works         Fairfield (3), CT: 76.4    Fairfield (3), CT: 6.90    Fairfield (3), CT: 74.8     Fairfield (3), CT: 6.82
                      New Haven, CT: 73.9        New Haven, CT: 4.74        New Haven, CT: 72.4         New Haven, CT: 4.74
   TX   Lone Star     Cook (32), IL: 72.4        Cook (32), IL: 1.46        Cook (32), IL: 71.7         Cook (32), IL: 1.39
        Tubular       Cook (4201), IL: 73.4      Cook (4201), IL: 1.15      Cook (4201), IL: 72.4       Cook (4201), IL: 1.09
                      Cook (2), IL: 73.0         Cook (2), IL: 1.58         Cook (2), IL: 72.0          Cook (2), IL: 1.49
                      Kenosha (19), WI: 73.7     Kenosha (19), WI: 1.72     Kenosha (19), WI: 72.6      Kenosha (19), WI: 1.61
                      Kenosha (25), WI: 72.3     Kenosha (25), WI: 1.81     Kenosha (25), WI: 71.1      Kenosha (25), WI: 1.70
                      Racine, WI: 73.2           Racine, WI: 1.34           Racine, WI: 72.1            Racine, WI: 1.25



                 3.     EPA’s ozone modeling results indicate that the non-EGU sources’
                        contributions are a small fraction of the state’s total downwind impacts to
                        ozone non-attainment receptors. Without the complete culpability of a state’s
                        total impacts to downwind receptors identifying the main contributors from
                        each state, EPA’s argument that non-EGUs need to be controlled for future
                        ozone NAAQS demonstration is not justifiable for the proposed rule.
                        Section 4.1 of the “Air Quality Modeling Technical Support Document:
                        FIP Addressing Regional Ozone Transport for 2015 Ozone NAAQS
                        Proposed Rule Making” explains the make-up of the state-wide emissions.
                        They include point sources (electric generating units (EGUs) and non-EGU’s
                        (combustion stacks)), non-point sources (mobile vehicle exhaust, other man-
                        made (anthropogenic) sources), and biogenic sources (forest fires). The 2026
                        Ozone NAAQS modeling was the only run that sub-divided state-specific
                        culpability into EGU and non-EGU source culpabilities. The USS facilities
                        would be classified as a non-EGU source and are assumed included within
                        the non-EGU source group contributions. EPA 2026 ozone modeling results
                        provided state-sector contributions for all ozone NAAQS non-attainment
                        receptors further sub-divided into EGU and non-EGU sources; it did not
                        include a source category for non-point anthropogenic sources (on-road and
                        off-road vehicles) or biogenic sources. The docket file “EPA-HQ-OAR-
                        2021-0668-0070_content_2026_non-egu-state-sector_contribution.xlsx”
                        provided this apportionment for all the 2026 receptors in Appendix C.
                        The tables below summarize each state U. S. Steel facilities reside in non-
                        EGU contribution to the modeled total ozone in ppb. In general, non-EGU
                        sources are around 20% of the state-wide contributions and when combined
                        with the EGU’s are approximately 50% of each state’s contributions. For 46
                        receptors (80%) of the 57 receptor, non-EGU contributions are insignificant
                        enough that subtracting the entire non-EGU inventory from each receptor
                        would not affect whether the state was a “significant” contributor to the
                        ozone NAAQS assuming EPA’s significance threshold for States of 0.71


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                  ppb. The remaining state impacts by process of elimination are some fraction
                  of mobile sources, non-point sources, and biogenic sources.
               2026 MN-Specific Scenario     Total Ozone   State Impacts   Non-EGU    EGU
               (ppb)                         (ppb)         (ppb)           (ppb)      (ppb)
               Illinois (001) Results        72.5          0.91            0.19       0.04
               Illinois (076) Results        71.3          0.75            0.18       0.03


               2026 AR-Specific Scenario     Total Ozone   State Impacts   Non-EGU    EGU
               (ppb)                         (ppb)         (ppb)           (ppb)      (ppb)
               Texas (1004) Results          71.2          1.3             0.28       0.19


               2026 CA-Specific Scenario     Total Ozone   State Impacts   Non-EGU    EGU
               (ppb)                         (ppb)         (ppb)           (ppb)      (ppb)
               Arizona (8011) Results        71.8          4.85            0.41       0.22
               Colorado (004) Results        71.1          0.88            0.1        0.04
               Colorado (006) Results        72.3          0.99            0.11       0.05
               Colorado (011) Results        73.3          1.12            0.12       0.05
               Utah (004) Results            73.9          2.18            0.29       0.12
               Utah (006) Results            74.1          2.38            0.31       0.13
               Utah (013) Results            74.0          1.36            0.16       0.07
               Utah (002) Results            71.7          2.13            0.29       0.11


               2026 IL-Specific Scenario     Total Ozone   State Impacts   Non-EGU    EGU
               (ppb)                         (ppb)         (ppb)           (ppb)      (ppb)
               Wisconsin (019) Results       72.6          17.81           1.99       0.65
               Wisconsin (025) Results       71.1          18.14           2.07       0.81
               Wisconsin (020) Results       72.1          13.54           1.52       0.48


               2026 IN-Specific Scenario     Total Ozone   State Impacts   Non-EGU    EGU
               (ppb)                         (ppb)         (ppb)           (ppb)      (ppb)
               Wisconsin (019) Results       72.6          6.43            3.03       0.37
               Wisconsin (025) Results       71.1          6.98            3.38       0.36
               Wisconsin (020) Results       72.1          6.52            3.22       0.37
               Illinois (001) Results        72.5          5.41            2.72       0.31
               Illinois (032) Results        71.7          6.99            3.57       0.45
               Illinois (076) Results        71.3          6.08            2.87       0.37
               Illinois (4201) Results       72.4          4.54            1.94       0.32
               Illinois (002) Results        72            6.18            2.67       0.42
               Connecticut (007) Results     73.7          0.71            0.13       0.11
               Connecticut (003) Results     74.8          0.71            0.14       0.11
               Connecticut (002) Results     72.4          0.82            0.16       0.12


               2026 MI-Specific Scenario     Total Ozone   State Impacts   Non-EGU    EGU
               (ppb)                         (ppb)         (ppb)           (ppb)      (ppb)



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               Wisconsin (019) Results      72.6          1.03            0.16      0.13
               Wisconsin (025) Results      71.1          1.11            0.16      0.16
               Wisconsin (020) Results      72.1          0.96            0.14      0.13
               Illinois (001) Results       72.5          0.88            0.15      0.14
               Illinois (032) Results       71.7          1.15            0.18      0.18
               Illinois (076) Results       71.3          1.46            0.23      0.24
               Illinois (4201) Results      72.4          1.58            0.24      0.26
               Illinois (002) Results       72            1.19            0.18      0.18
               Connecticut (017) Results    72.2          1.82            0.18      0.14
               Connecticut (007) Results    73.7          0.89            0.17      0.15
               Connecticut (003) Results    74.8          0.88            0.17      0.14
               Connecticut (002) Results    72.4          1.21            0.2       0.19


               2026 OH-Specific Scenario    Total Ozone   State Impacts   Non-EGU   EGU
               (ppb)                        (ppb)         (ppb)           (ppb)     (ppb)
               Wisconsin (019) Results      72.6          1.59            0.39      0.11
               Wisconsin (025) Results      71.1          1.3             0.38      0.06

               Wisconsin (020) Results      72.1          0.97            0.25      0.1
               Illinois (001) Results       72.5          0.78            0.17      0.05
               Illinois (032) Results       71.7          1.22            0.32      0.09
               Illinois (076) Results       71.3          1.18            0.31      0.09
               Illinois (4201) Results      72.4          1.19            0.31      0.08
               Illinois (002) Results       72            1.62            0.41      0.13
               Connecticut (017) Results    72.2          1.1             0.24      0.13
               Connecticut (007) Results    73.7          1.76            0.36      0.27
               Connecticut (003) Results    74.8          1.78            0.36      0.28
               Connecticut (002) Results    72.4          1.83            0.41      0.25


               2026 PA-Specific Scenario    Total Ozone   State Impacts   Non-EGU   EGU
               (ppb)                        (ppb)         (ppb)           (ppb)     (ppb)
               Connecticut (017) Results    72.2          5.32            0.81      0.85
               Connecticut (007) Results    73.7          6.36            1.03      0.97
               Connecticut (003) Results    74.8          6.82            1.09      1.03
               Connecticut (002) Results    72.4          4.74            0.81      0.72


               2026 TX-Specific Scenario    Total Ozone   State Impacts   Non-EGU   EGU
               (ppb)                        (ppb)         (ppb)           (ppb)     (ppb)
               Wisconsin (019) Results      72.6          1.61            0.22      0.09
               Wisconsin (025) Results      71.1          1.7             0.25      0.09
               Wisconsin (020) Results      72.1          1.25            0.19      0.07
               Illinois (032) Results       71.7          1.39            0.18      0.07
               Illinois (4201) Results      72.4          1.09            0.13      0.05
               Illinois (002) Results       72            1.49            0.2       0.08




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                 a.     With particular focus on Minnesota’s modeled impacts and industrial
                        sources, U.S. Steel has two northeast Minnesota facilities included in
                        the analysis: Keetac and Minntac. Minnesota’s non-EGU source
                        group contributions (all non-EGU’s including Minntac and Keetac)
                        to the state’s culpability in Cook County, IL were 0.19 and 0.18 ppb.
                        The distance and time needed for these sources’ NOX emissions to
                        travel to Chicago to chemically react and create ozone at this monitor
                        seems unlikely and was further investigated. EPA provided the dates
                        and times of the 2016 top-10 ozone days for the two IL monitors
                        Minnesota contributed more than 0.71 ppb and using the HYSPLIT
                        web-based platform, preliminary 48-hr back trajectories were
                        processed for these dates. While a simplified approach, it provided
                        results that require EPA to re-assess their modeling culpability. In
                        general, the preceding hours to the highest ozone impact days had
                        very little to zero winds coming from the northwest (i.e. Minnesota).


            4.   EPA’s analysis chose to not address any reductions on non-point sources
                 like mobile traffic which include light and heavy-duty trucks and passenger
                 vehicles. However, EPA’s modeling indicates the mobile sources are a
                 higher fraction of an upwind state’s contribution then non-EGU sources.
                 EPA’s rule should include federally enforceable limits on mobile traffic as a
                 larger source contributor rather than requiring additional NOX controls and
                 limits on non-EGU point sources that contribute far less.
                 “The EPA accounted for mobile source emissions reductions resulting from
                 other federally enforceable regulatory programs in the development of
                 emissions inventories used to support analysis for this proposed rulemaking,
                 and the EPA does not evaluate any mobile source control measures in its
                 Step 3 evaluation in this proposal.” Item 3 highlights the need for a more
                 refined breakdown of state-source contributions to modeled ozone non-
                 attainment. There is no mention in the air quality modeling technical support
                 document of the word “mobile” or “vehicle.” (Federal Register Vol 87. No.
                 66 VI.A.)
                 On May 16, 2022, the National Association of Clean Air Agencies
                 (NACAA) provided comments on EPA’s Notice of Proposed Rulemaking
                 “Control of Air Pollution from New Motor Vehicles: Heavy-Duty Engine
                 and Vehicle Standards” which included relevant information to this proposed
                 Good Neighbor Ozone Rulemaking. NACAA’s main point is how the last
                 20 years has seen a significant reduction of NOX from point sources while
                 heavy-duty vehicles have not made much progress. This plays out in
                 nationwide Ozone attainment where the largest contributors across many
                 regions of the US are mobile sources, particularly heavy-duty trucks. Some


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                 pertinent quotes from NACAA’s comment letter are provided as further
                 reasons to use the evidence from the ozone modeling to identify the highest
                 contributing sources (regardless of type) and focus on those that provide the
                 greatest ozone downwind reductions.
                         “HD (heavy duty) trucks will continue to be one of the largest
                         contributors to the national mobile source NOX inventory in 2028
                         without additional regulations to reduce emissions.”

                         “The excessive emissions from HD trucks are a primary cause,
                         contributing substantial emissions of NOX – the key pollutant
                         contributing to the formation of ozone and PM2.5.”

                         “While state and local agencies have made great strides in reducing
                         emissions from stationary sources, for the most part they lack the
                         authority to regulate mobile sources and never do they have the
                         authority to regulate mobile sources upwind of or across their borders.
                         The regulation of mobile sources is an authority that lies almost entirely
                         within the purview of the federal government.”

                         “Many areas will be forced to adopt severe limits on stationary
                         sources, for which they have authority to control, at ever-increasing
                         costs, if reductions from such sources are even available.” (Emphasis
                         added)

                         “The onroad mobile sector is the largest contributor of NOX emissions
                         in Wisconsin. Recent modeling done by the Lake Michigan Air
                         Directors Consortium indicates onroad diesel vehicles, the vast
                         majority of which are heavy-duty vehicles, contribute up to 8 ppb of
                         11% of ozone at Wisconsin’s lakeshore nonattainment monitors.”

                         “Recent source apportionment modeling for 2023 (Denver Metro, CO)
                         demonstrates that NOX emissions are driving ozone formation at
                         monitors throughout the region and that medium- and heavy-duty truck
                         traffic is a significant contributor to ozone formation.”

                 The last two quotes are relevant for the Kenosha and Racine, WI monitors
                 and Denver, CO monitor that are part of the list where non-EGU sources in
                 upwind states are being considered for further NOX reductions to reduce
                 ozone impacts. The regional scale modeling conducted by these collectives
                 at a finer scale highlight how significant heavy-duty vehicle traffic is to the
                 ozone impacts. The 2023 apportionment modeling listed in the above quote
                 lists the total mobile vehicle contribution to the Denver 011 monitor for a
                 10-day period 8-hour ozone concentration of 20 ppb as 31% with 26% of the
                 31% due to light-duty vehicles. The non-EGU sources compose 15% of the
                 total (i.e., all non-EGU industries combined are still less than half the
                 contribution that mobile sources add to the state’s linked receptors).
            5.   The non-EGU controls considered for Tier 1 and Tier 2 sources do not
                 meaningfully reduce the ozone concentrations at non-attainment receptors.
                 EPA’s state contribution significance threshold of 0.71 ppb exceeds the


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                 potential downwind ozone reductions through excessive controls on these
                 state’s non-EGU sources.
                 As part of its evaluation, EPA defined “impactful boilers” using 3 criteria1:
                 (1) estimated maximum air quality contribution at an individual receptor of
                 greater than or equal to 0.0025 ppb or estimated total contribution across
                 downwind receptors of greater than or equal to 0.01 ppb (2) controls that cost
                 up to $7,500 per ton (3) estimated maximum air quality improvement at an
                 individual receptor of greater than 0.001 ppb.
                  EPA acknowledges the fact that the model is not precise enough to
                 confirm these types of regulatory decisions but does so, nonetheless. When
                 trying to define the impact of individual sources on downwind ozone
                 nonattainment areas, EPA is trying to draw the conclusion that a source
                 with a 0.0025 ppb contribution is “impactful”. This level is not impactful
                 and as a statistical matter cannot even be differentiated by the model used
                 by EPA.
                 Additional information included in “Appendix A” specifies industries
                 maximum contributions to downwind ozone receptors. Table A-2 lists both
                 Iron and Steel Mills and Ferroalloy and Nonmetallic Mineral Mining and
                 Quarrying separately. Iron and Steel Mill’s maximum downwind impact is
                 0.129 ppb and contributes more than 0.01 ppb to 11 downwind receptors.
                 Nonmetallic mineral mining’s maximum downwind impact is 0.035 ppb and
                 has only 4 receptors that it contributes more than 0.01 ppb.
                 As noted in the above section 3, in almost all states evaluated by EPA, non-
                 EGU contributions are so insignificant that even if every single non-EGU
                 source was wholly eliminated, that would not affect the significance of a
                 state’s contribution to its linked receptors. By contrast the overall
                 contribution of other sources (including mobile sources within the
                 nonattainment area) are orders of magnitude greater than this level of impact
                 and not being considered for reductions. Accordingly, it appears the
                 Proposed Rule was designed to make sources across the country address
                 ozone air quality issues within major metropolitan areas where the largest
                 impacts come from mobile and area source emissions. The underlying
                 modeling does not justify a finding that non-EGU sources, whether
                 combined or separately, are significant contributors to non-attainment.




            6.   EPA’s reliance on a significance of 0.71 ppb is faulty when taking into
                 consideration their model performance evaluation of their ozone modeling
                 evaluation. A higher ppb downwind impacts threshold than 0.71 ppb should



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                  be considered when the modeling TSD states “the regional mean bias of the
                  model is +/- 5 ppb and the mean error is between 6 and 7 ppb on average
                  for all days during the period May through September in each region.”
                  The model performance at each non-attainment receptor was provided in
                  the proposed rule docket file “EPA-HQ-OAR-2021-0668-
                  0071_content(2016CAMxperformance).xlsx”. The following table lists the
                  model’s performance reflected by the (1) difference between the model vs
                  observed mean 2016 concentration, (2) calculated mean bias, (3) mean
                  error, and (4) standard deviation. In general, the receptors downwind of
                  U.S. Steel located states had a higher variability in model performance than
                  the +/- 5 ppb overall regional model bias. All receptors modeled ozone
                  concentrations less than the observed concentrations underpredicted ozone
                  concentrations with a mean error ranging from 7-17 ppb. Given the
                  substantial model error compared to the extremely low alleged upwind
                  state contributions, EPA’s model is not capable of reliably differentiating
                  between any effect within an order of magnitude of the significance
                  threshold selected by EPA.


                Receptor Information     Model/Obs.     Mean Bias   Mean Error   Standard
                                         (ppb)          (ppb)       (ppb)        Deviation
                                                                                 (ppb)
                Yuma, AZ (8011)          53.39/65.76    -12.37      12.84        7.43
                Douglas, CO (004)        61.0/67.64     -6.64       7.79         7.58
                Jefferson, CO (006)      60.30/67.42    -7.12       8.00         7.49
                Jefferson, CO (011)      60.76/68.69    -7.92       8.61         8.19
                Fairfield, CT (017)      67.10/70.07    -2.97       8.65         15.75
                Fairfield, CT (007)      66.12/70.67    -4.56       8.61         10.88
                Fairfield, CT (003)      67.36/72.71    -5.36       8.58         12.27
                New Haven, CT (002)      64.60/69.97    -5.36       7.04         10.81
                Cook County, IL (001)    60.75/68.97    -8.22       11.13        8.16
                Cook County, IL (032)    54.74/69.08    -14.34      14.60        8.98
                Cook County, IL (076)    57.87/67.77    -9.90       11.85        8.65
                Cook County, IL (4201)   57.02/68.56    -11.54      12.66        10.86
                Cook County, IL (002)    58.01/67.85    -9.84       10.31        9.76
                Brazoria, TX (004)       56.84/65.34    -8.50       8.57         8.13
                Davis, UT (004)          56.47/66.35    -9.88       10.24        6.39
                Salt Lake, UT (006)      58.30/67.90    -9.60       11.16        6.35
                Salt Lake, UT (013)      55.60/66.85    -11.25      11.38        5.99
                Weber, UT (002)          55.39/66.07    -10.68      10.79        6.11
                Kenosha, WI (019)        53.21/70.35    -17.14      17.79        11.85
                Kenosha, WI (025)        55.62/68.33    -12.71      12.94        9.37
                Racine, WI (020)         53.06/69.34    -16.29      16.75        9.80




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  III.   Installation and Permitting Schedule Challenges.
         A.    Is the proposed permit schedule for required new NOX controls and/or
               construction reasonable based on current permitting issuance timelines?
               1.    The amount of time it takes for an air permit application review and issuance
                     of an air permit varies by state and source type. An optimistic assumption is
                     the application approval process in general will be swift and streamlined due
                     to the large number of sources requiring additional control and monitoring
                     equipment to reduce NOX emissions. A more likely outcome, based on
                     experience in certain states, is that the combination of staff availability and
                     the large volume of permit applications to review and approve makes the
                     current schedule unachievable.
                     Each state has different approaches to reviewing an air permit application
                     and issuing the air permit for an existing stationary source. Some require
                     more information and scrutiny of proposed updates than others which effects
                     each state’s ability to meet the 2026 deadline for the non-EGU to comply
                     with the proposed rule. Minnesota in particular has some of the longest
                     permitting review times in the country currently without the addition of this
                     many permit applications in such a short timeframe. The table below lists out
                     the likely timeline for each Minnesota USS facility to receive an approval of
                     their air permit application and the assumptions of what the application will
                     entail. This is without considering the construction and installation schedule.
                       Permitting Stage   Timeframe     Assumptions
                       Prepare            5 months      Minor Amendment on existing Major
                       application                      Source; Keetac air permit requires
                                                        Equivalent or Better (EBD) dispersion
                                                        modeling analysis on “changes that affect
                                                        any modeled parameter” in the SO2 and
                                                        NO2 source list.
                       Application        1.5 months    Currently 6 weeks wait time for a permit
                       submittal                        application assignation at MPCA
                       Regulatory         11.5 months   MPCA online permit flexibility table lists
                       approval                         Individual part 70 permits issuance time as
                                                        6-12 months of starting work (9 months is
                                                        mid-point); plus 30 day public notice, plus
                                                        EPA 45-day review
                       Total              18 months     Assumes EBD demonstration acceptable and
                                                        no negative comments from EPA or public


                      Based on the current situation, it will take a year and a half to complete the
                     air permit application process and approve the air permit to begin project
                     construction. The current queue timeline of 1.5 years is likely subject to
                     change and increase with the large volume of projects that will be arriving
                     simultaneously to meet the proposed construction schedule of this proposed


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                       Good Neighbor Rule. In addition to the time needed just to obtain initial
                       permits, new equipment installation scheduling will be affected by
                       logistical/supply chain issues related to multiple sources needing upgrades
                       at the same time
         B.     New Equipment Installation Scheduling will be affected by permit timeline
                challenges.
          1.    The proposed rule as written required all facilities to install controls by 2026. EPA
                should revise the schedule for installation as it is infeasible as currently written for
                a few reasons. Most of the facilities that are subject to installing controls will
                require retrofitting of existing equipment, therefore will require time to engineer
                and design the modifications required for installation of the controls, which could
                take months and years depending on the facility and equipment. Once modifications
                for existing equipment and proposed controls are designed, procurement of the
                necessary materials could take months and years due to potential supply chain
                issues. Most facilities will be competing to obtain materials from the same suppliers
                as the number of suppliers for the proposed controls is a very small group.
                Therefore, if EPA still determines it is feasible for the facilities to install the
                proposed controls after review and consideration of other supporting information
                as to why the proposed rule is infeasible, EPA should revise the proposed
                installation schedule by 5 years to allow sufficient time to design, procure,
                construct, and startup the proposed control equipment for a compliant
                demonstration.

  IV. Infeasibility of SCR Installation for Iron and Steel Mills and Ferroalloy
  Manufacturing Emission Units
  Table VII.C.3 – Summary of Proposed NOx Emissions Limits for Iron and Steel and Ferroalloy
  Manufacturing Emissions Units of the proposed rule lists 10 types of emissions units along with
  the proposed NOx emissions standard or requirement for each. A Regional Haze Four-Factor
  Analysis for NOx and SO2 Emission Controls was prepared for USS Gary Works in September
  of 2020. This analysis covered the No. 3 Sinter Plant Sinter Strands, the No. 14 Blast Furnace
  Stoves and Casthouse, and the 84” Hot Strip Mill Reheat Furnaces No. 1 through No. 4 and
  Waste Heat Boilers No. 1 and No. 2. This analysis covers three emissions units included in Table
  VII.C.3 of the proposed rule – blast furnace, reheat furnace, and boiler (natural gas-fired). The
  results of the Gary Works’ FFA found that:
     •   For the No. 14 Blast Furnace (Stoves and Casthouse)
            o Already utilize low-NOx fuel combustion (blast furnace gas) as a NOx emission
                 control measure,
            o There is no reasonable set of NOx emission control measures beyond what is
                 currently installed and operated for these emission units, and
            o The existing emission control measures are equivalent to those determined to be
                 the Best Available Control Technology (BACT) in a recent BACT analysis and,
                 therefore, are considered effective emission controls.


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     •   For the 84” Hot Strip Mill Reheat Furnaces and Waste Heat Boilers
             o Low-NOx Burners (LNB) were an available NOx emission control measures
                 beyond what is currently installed and operated for these emission units, but LNB
                 installation on the 84” Hot Strip Mill Reheat Furnaces and Waste Heat Boilers are
                 not cost-effective, based on the associated cost-effectiveness values ($ per ton of
                 emissions reduction).
     •   Additional emission control measures could impact the economic viability of the
         company to continue to operate in competitive economic markets. Gary Works, as well as
         the entire integrated iron and steel mill industry, is highly sensitive to incremental capital
         and operating costs due to substantial fluctuation in global economic markets. Any
         additional emission control measures would be a substantial barrier for the facility to
         continue to operate and are therefore unreasonable and inappropriate.


  EPA projects that use of LNB or LNB plus SCR will result in minimally 20-50% NOx reduction
  efficiency if implemented on blast furnaces, reheat furnaces, and boilers. The Gary Works’ FFA
  is one example that found that implementing additional NOx controls on these emissions units is
  technically and/or economically infeasible. The proposed requirements are not supported by the
  necessary engineering analyses and contradict past Best Available Control Technology (BACT)
  determinations established by permitting authorities.
  For Electric Arc Furnaces, EPA is proposing a NOx emissions standard of 0.15 lb/ton steel. A
  RACT/BACT/LAER Clearinghouse search returns 3 LAER determinations with emissions limits
  of 0.27 lb/T, 0.27 lb/T, and 0.35 lb/T for Nucor Kankakee (2021, RLBCID = IL-0132), Nucor
  Auburn (2006, RBLCID = NY-0099), and Republic Engineered Products (2006, RBLCID = OH-
  0302), respectively. EPA’s proposed standard contradicts these LAER determinations
  established by permitting authorities. Also, for CMC Steel Oklahoma (2016, RBLCID = OK-
  0173) the Pollutant Compliance Notes state: ‘The application proposes oxy-firing as BACT for
  NOx to a level of 0.3 lb/ton of steel melted. This level is somewhat higher than the lowest NOx
  level shown on RBLC for electric arc furnaces, but the proposed BACT level has been
  demonstrated by stack testing on a similar mill, whereas a demonstration is not readily available
  that the 0.2 lb/ton has actually been met in practice.’ Based on the above, proposing a NOx limit
  for EAFs across the industry that is 45-55% lower than the limits from the LAER determinations
  has no technical basis, is stricter than any standard imposed by EPA under any program
  including LAER, and is not reasonable.
  For Ladle/Tundish Preheaters, EPA is proposing a NOx emissions requirement of 0.06
  lb/MMBTU. An RBLC search returns a LAER determination for Gerdau Macsteel Monroe
  (2018, RBLICID = MI-0438) with an emission limit of 0.08 lb/mmbtu (low NOx burners, use of
  NG fuel, and good combustion practices), which is above the 0.06 lb/mmbtu limit EPA is
  proposing. EPA’s proposed NOx requirement for Ladle/Tundish Preheaters contradicts the 2021
  Nucor Kankakee BACT determination and the 2018 Gerdau Macsteel Monroe LAER
  determination and has no technical basis.



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  For Reheat Furnaces, EPA is proposing a NOx emissions requirement of 0.05 lb/MMBTU. A
  search of the RBLC returns a RACT determination for Gerdau Sayreville Billet Reheat Furnace
  (2018, RBLCID = NJ-0087) with a NOx emission limit of 0.1 lb/mmbtu (low-NOx burners).
  Also, there are multiple types of reheat furnaces – billet, slab, walking beam, etc. It is not
  acceptable to group the reheat furnace types together and propose an emission limit that is 50%
  lower than the 2018 Gerdau Sayreville RACT determination. The Sterling Permit noted by EPA
  (Sterling Steel CO LLC (IL) 5/21/19 Construction Permit (Permit ID: 19020002) is for a new
  reheat furnace equipped with low-NOx natural gas-fired burners designed to emit no more than
  0.073 lb of NOx/MMBTU to replace a reheat furnace that had reached end-of-life. It is not a
  retrofit of existing equipment. The permit states that the ‘new reheat furnace will be more energy
  efficient than the existing furnace with less burner capacity than the existing unit.’ It is not
  appropriate for EPA to propose a reheat furnace NOx emission limit based on a permit for new
  equipment/replacement in kind as most facilities would be looking at a retrofit of existing
  equipment.
  For Vacuum Degassers, EPA is proposing a NOx emissions requirement of 0.03 lb/MMBTU,
  however, it is unclear why Vacuum Degasssers are included in this category at all. Vacuum
  Degassers themselves do not emit NOx, and any NOx emissions are only associated with the
  control device (flare) typically used as a control device for CO emissions from a Degasser. Also,
  in the RBLC the two facilities referenced by EPA, Nucor Darlington (RBLCID = SC-0197) and
  Nucor Tuscaloosa (RBLCID = AL-0275 and AL-0301) note that there is a flare used to control
  emissions; therefore, it is not reasonable for EPA to propose an industry-wide additional 40%
  NOx reduction by use of SCR without any demonstration that an SCR has or could be installed
  on a flare.
  For Coke Ovens, EPA is proposing a NOx emissions requirement of 0.15 lb/ton (charging) and
  0.015 lb/ton (pushing). A search of the RBLC indicates that the 0.019 lb/ton limit was a LAER
  determination (work practices) for Middletown Coke. EPA’s proposed standard contradicts this
  LAER determination previously established by permitting authorities. Also, Middletown Coke is
  not part of the Iron and Steel and Ferroalloy Manufacturing industry as denoted by their 4-digit
  NAICS code (3241). Using an emission limit for units in a different industry that operate
  differently as the basis for Coke Ovens in the Iron and Steel and Ferroalloy Manufacturing
  industry is not appropriate.




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  Appendix A: Back Trajectories for 8-hr Ozone Top 10 Impact




                                    19
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Back Trajectories for 8-hr
 Ozone Top 10 Impact
          Days
          Cook County, IL Monitor 17-13-0001
          Cook County, IL Monitor 17-13-0076
Cook County, IL 17-13-0001:    June 18,
                   USCA Case #23-1207     2016
                                      Document #2013657     Filed: 08/22/2023   Page 719 of 1689




                                                          ▪ Looking back 48-hrs from end of
                                                            6/18
                                                          ▪ No likely MN contribution
Cook County, IL 17-13-0076:    June 19,
                   USCA Case #23-1207     2016
                                      Document #2013657     Filed: 08/22/2023   Page 720 of 1689




                                                          ▪ Looking back 48-hrs from end of
                                                            6/19
                                                          ▪ No likely MN contribution
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          July 18, 2016
                                      Document #2013657  Filed: 08/22/2023   Page 721 of 1689




                                                          ▪ Looking back 48-hrs from end of
                                                            7/18
                                                          ▪ No likely MN contributions
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          July 19, 2016
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                                                          ▪ Looking back 48-hrs from end of
                                                            7/19
                                                          ▪ No likely MN contributions
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          July 23, 2016
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                                                          ▪ Looking back 48-hrs from end of
                                                            7/23
                                                          ▪ No likely MN contributions
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          July 25, 2016
                                      Document #2013657  Filed: 08/22/2023   Page 724 of 1689




                                                          ▪ Looking back 48-hrs from end of
                                                            7/25
                                                          ▪ No likely MN contributions
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          July 26, 2016
                                      Document #2013657  Filed: 08/22/2023   Page 725 of 1689




                                                          ▪ Looking back 48-hrs from end of
                                                            7/26
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          July 27, 2016
                                      Document #2013657  Filed: 08/22/2023   Page 726 of 1689




                                                          ▪ Looking back 48-hrs from end of
                                                            7/27
                                                          ▪ No likely MN contribution
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          August 3, Filed:
                                      Document #2013657  2016   08/22/2023   Page 727 of 1689




                                                          ▪ Looking back 48-hrs from end of 8/3
                                                          ▪ No likely MN contributions
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          August 4, Filed:
                                      Document #2013657  2016   08/22/2023   Page 728 of 1689




                                                          ▪ Looking back 48-hrs from end of 8/4
                                                          ▪ No likely MN contributions
Cook County, IL 17-13-0001/17-13-0076:
                   USCA Case #23-1207          August 10,Filed:
                                      Document #2013657     201608/22/2023   Page 729 of 1689




                                                          ▪ Looking back 48-hrs from end of
                                                            8/10
                                                          ▪ No likely MN contributions
USCA Case #23-1207   Document #2013657         Filed: 08/22/2023   Page 730 of 1689



                UNITED STATES STEEL CORPORTATION
                             COMMENTS ON


            PROPOSED FEDERAL IMPLEMENTATION PLAN
           ADDRESSING REGIONAL OZONE TRANSPORT FOR
                        THE 2015 8-HOUR NAAQS.
                               June 21, 2022




                              EXHIBIT D:
                           Trinity Consultants
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                                         COMMENTS ON
                     EPA’S PROPOSED GOOD NEIGHBOR FIP
                                         Docket EPA-HQ-OAR-2021-0668



                                                                      US Steel

                                                                    Prepared By:

                                                        TRINITY CONSULTANTS

                                                                    June 21, 2022

                                                               Project 223901.0025
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EPA proposed a federal implementation plan (FIP) at 87FR20036 on April 6, 2022 to address interstate
transport of oxides of nitrogen (NOX) via the “good neighbor” provisions of the Clean Air Act. The Good
Neighbor FIP proposal is an extension of prior EPA rulemakings that established the Clean Air Interstate
Rule (CAIR) and multiple versions of the Cross State Air Pollution Rule (CSAPR). The following comments
reflect the collective comments of Trinity and U.S. Steel with an emphasis on the feasibility of the control
technologies proposed by EPA for the iron and steel industry.


                                        1.1     General Comments
First, EPA’s proposed emission limits for the iron and steel is completely separated from the approach to the
Good Neighbor rule that EPA explains in the preamble (see also Section 1.1.2).

            The EPA notes that the types and sizes of the EGU and non-EGU sources that the
            EPA proposes to include in this proposed rule, as well as the types of emissions
            control technologies on which the EPA proposes to base the emissions limitations
            that would take effect for the 2026 ozone season, generally are intended to be
            consistent with the scope and stringency of RACT requirements for existing
            major sources of NOX in downwind Moderate nonattainment areas and some upwind
            areas, which many states have already implemented in their SIPs.
            87FR20101-20102

            The EPA recognizes that the numerous variables that contribute to differences in
            units’ emissions rates may complicate development of limits for groups of units as
            large as those addressed in this proposed rule. For each emissions source category,
            the EPA considered the range of emissions limits that currently apply to
            these sources under other CAA programs, such as RACT, NSPS, NESHAP,
            and OTC model rules, to develop an emissions limit that should be
            achievable by all sources after installing the controls identified in the Step
            3 analysis.
            87FR20141

            In developing the emissions limits for the Iron and Steel and Ferroalloy
            Manufacturing industry, the EPA reviewed RACT NOX rules, NESHAP rules, air permits
            and related emissions tests, technical support documents, and consent decrees.
            87FR20145

The approach that EPA actually used in the proposed rule for the iron and steel industry is completely
divorced from the stated rationale in the preamble. In the proposed rule:

► EPA started with the lowest emission rates identified in any prior RACT or BACT analysis
► EPA then applied additional reductions based on additional control technologies
► For iron and steel emission unit types other than annealing and reheat furnaces, the additional control
  technologies have never before applied to these emission units
► For most steel emission unit types other than annealing and reheat furnaces, EPA’s references include no
  analysis of the feasibility of that control technology for that source type

For example, for annealing furnaces, EPA started with recent BACT determinations, and then applied an
additional 40% reduction without any demonstration of achievability of the proposed limit. For blast
furnaces, EPA started with an Ohio RACT limitation and then assumed a 50% reduction based on application


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of a control technology never before demonstrated to be feasible for this source type. EPA uses similar
approaches for the proposed emission limits for all steel units in proposing emission limits far below those
determined as either BACT or RACT in unit-specific analyses.

EPA appears to base its approach on an incorrect interpretation of the data in MCM and CoST and does not
include any fact-based findings that these technologies can feasibly be implemented at the emission units in
question. EPA had readily available fact-based steel specific analyses for these emission units that were
completed in prior RACT, BACT, and BART determinations and yet ignored the fact-based determinations
used to establish emission limits in those prior cases (see Section 1.2 for discussion of the fact-based unit-
specific analyses previously completed by U. S. Steel, for example).

Second, the EPA rule development staff’s apparent lack of knowledge or understanding of the iron and steel
industry is illustrated throughout the proposed rule. For a vacuum degasser, NOX is not generated in the
process and so NOX control cannot be applied there despite EPA’s proposed control. And for an LMF, EPA
proposes low NOX burners as a control technology, but there are no burners in an LMF. If EPA wants to
regulate NOX from the steel industry, EPA must spend sufficient time to understand the process equipment
and operations to develop an informed proposal rather than the current proposed rule.

Third, EPA does not provide actual citations or references to support most of the emission limits and
proposed control technologies in the rules. As documented on a unit-specific basis in Section 1.2 as well as
in Section 1.1.3, EPA does not include critical reference material in the docket for the rule, such that the
regulated community cannot meaningfully review the proposed conditions.

Fourth, the proposed rule has numerous errors and inconsistencies. For example, the proposed rule
suggests that the steel industry is subject to a 3-hour average in one location, and a 30-day rolling average
in another location; the degree of stringency between a 3-hour and a 30-day average emission limit is well
understood by EPA (see discussions in rulemakings for NSPS Subparts Da and Db for example). EPA also
specifies applicability of the proposed rule in one location as any two units which combined exceed a PTE of
100 tpy, and in another location specifies applicability as on individual units over 100 tpy except in the BOF
Shop, where emission units are added for applicability; again, the impact of the proposed rule will be
substantially different depending on which applicability requirement applies.

1.1.1     EPA ignores stated control approach of RACT and does not justify its
          deviation from RACT
In all prior rulemakings for ozone transport, EPA has emphasized that the levels of emissions controls being
required for EGUs was consistent with RACT. EPA has stated that the same approach is the underpinning for
this present proposal.

            The EPA notes that the types and sizes of the EGU and non-EGU sources that the
            EPA proposes to include in this proposed rule, as well as the types of emissions
            control technologies on which the EPA proposes to base the emissions limitations
            that would take effect for the 2026 ozone season, generally are intended to be
            consistent with the scope and stringency of RACT requirements for existing
            major sources of NOX in downwind Moderate nonattainment areas and some upwind
            areas, which many states have already implemented in their SIPs.
            87FR20101-20102 [emphasis added]

The approach that EPA actually used in the proposed rule for the iron and steel industry is completely
divorced from the stated rationale in the preamble and is more stringent than best available control

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technology (BACT)1 or even lowest achievable emission rate (LAER)2. In the proposed rule, EPA started with
the lowest emission rates identified in any prior RACT or BACT analysis, and then applied additional
reductions, often based on control technologies never before applied to these emission units based on
incorrect generic assumptions about viability without any support technical justification. For example, for
annealing furnaces, EPA started with recent BACT determinations, and then applied an additional 40%
reduction without any demonstration of achievability of the proposed limit. For blast furnaces, EPA started
with an Ohio RACT limitation and then assumed a 50% reduction based on application of a control
technology never before applied to this source type.

EPA uses similar approaches for the proposed emission limits for all steel units in proposing emission limits
far below those determined as either BACT or RACT in unit-specific analyses. EPA never explains a rationale
for deviating from RACT or BACT.3


             Reasonably available control technology (RACT) means devices, systems, process
             modifications, or other apparatus or techniques that are reasonably available taking
             into account:
                 (1) The necessity of imposing such controls in order to attain and maintain a
                 national ambient air quality standard;
                 (2) The social, environmental, and economic impact of such controls
             [40 CFR 51.100(o)]


EPA’s methodology in the proposed rule has significant flaws.

► BACT is a more stringent control level than RACT, and as such, by starting with BACT analyses, EPA is
    already selecting a control level that is more stringent than the stated rationale in the proposal preamble
► Compounding the first flaw, EPA then applies additional speculative reductions to each identified lowest
    emissions limits for each unit type, without any justification about the relevance of that control
    technology to the unit, nor any assessment of the percent control that may be achievable by that control




1 Best available control technology means an emissions limitation (including a visible emission standard) based on the

maximum degree of reduction for each pollutant subject to regulation under the Act which would be emitted from any
proposed major stationary source or major modification which the Administrator, on a case-by-case basis, taking into account
energy, environmental, and economic impacts and other costs, determines is achievable for such source or modification …
[40 CFR 52.21(b)(12)]


2
  Lowest achievable emission rate (LAER) means, for any source, the more stringent rate of emissions based on the following:
(A) The most stringent emissions limitation which is contained in the implementation plan of any State for such class or
category of stationary source, unless the owner or operator of the proposed stationary source demonstrates that such
limitations are not achievable; or
(B) The most stringent emissions limitation which is achieved in practice by such class or category of stationary sources. This
limitation, when applied to a modification, means the lowest achievable emissions rate for the new or modified emissions units
within or stationary source. In no event shall the application of the term permit a proposed new or modified stationary source
to emit any pollutant in excess of the amount allowable under an applicable new source standard of performance.
[40 CFR 51.165(a)(1)(xiii)]

3 The CoST/MCM has limited and generally poor data for the iron and steel industry. It appears that EPA incorrectly used
CoST/MCM in a manner inconsistent with the referenced studies and documents on which CoST/MCM are based, and then
attempted to “find” the reductions that CoST/MCM suggested may be available.

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  technology. Further, EPA is arbitrarily taking the lowest emission limit from the range of baseline NOx
  limits and applying the maximum percent reduction of the provided % NOx reduction efficiency range.
► EPA’s method (and resulting emission limits for the iron and steel industry is actually more stringent than
  LAER. LAER is the lower of the most stringent limitation identified for a type of emission unit, or the
  lowest rate achieved in practice. EPA has not demonstrated that the emission rates in the proposed rule
  have been achieved in practice or are otherwise feasible, and the proposed rates are more stringent
  than any cited SIP emission limits.

1.1.2     EPA’s apparent reliance on MCM and CoST to identify emissions control
          options for the steel industry is flawed
Nowhere in the preamble nor the rule docket does EPA identify a specific rationale regarding how EPA
determined the applicability of a control technology to an emissions unit, nor how EPA determined what
emissions reduction could be achieved on a unit. However, how EPA actually used MCM and CoST is deeply
flawed.

As one example, for a blast furnace, EPA makes two statements in explaining the derivation of the proposed
limit.

            OH NOX RACT rules limit NOX emissions from blast furnaces to 0.06 lb/ mmBtu
            without requiring specific control technology. Control NOX at stoves (typically 3 or 4
            per blast furnace), assuming 40–50% reduction) by burner replacement plus SCR.
            [87FR20145]

            In setting a NOX emission limit for blast furnaces, EPA considered a range of
            emission rates from 0.02 lb/mmBtu to 0.05 lb/mmBtu as calculated based on
            potential use of low-NOx burners, flue gas recirculation, and SCR. EPA notes that it
            has approved an Ohio SIP rule of 0.06 lb/mmBtu without specifically requiring use of
            NOx-reducing control technology. See OAC 3745-110-03(N). Use of these
            technologies separately or in combination can achieve 20-90% reduction efficiency at
            blast furnace stoves. In this rulemaking, EPA is requiring each facility to tailor its
            NOx reduction technology to meet a NOx limit of 0.03 lb/mmBtu.
            [Non-EGU TSD]

So, EPA suggests that three control technologies are applicable here (low NOX burners, FGR, and SCR) and
stating that 20-90% NOX reduction is achievable at blast furnace stoves using those technologies before
proposing a 50% reduction on top of the Ohio NOX RACT limit.

Despite being critical in supporting a proposed emission limit:

► EPA never states the basis for identifying that those three control technologies are applicable to blast
   furnaces
► EPA provides no explanation of why those measures are technically feasible for this application
► EPA provides no explanation of the impact on firing BFG versus natural gas versus a blend
► EPA provides no explanation regarding what reductions could be expected for a blast furnace,




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From review of the non-EGU TSD, we infer that EPA is using the Menu of Control Measures (MCM) and the
related Control Measures Database (CMDB) as reference sources for potential control technologies, as well
as for cost effectiveness of potential control technologies.4

In connection with the preparation of these comments, Trinity downloaded the MCM section for iron and
steel industry and reviewed both the MCM table entries as well as the cited references for the MCM; doing
so required emails and phone calls to EPA staff quoted in the references to obtain files which are not in the
rulemaking docket. Trinity also downloaded the Control Strategies Tool (CoST) and extracted the underlying
data in the tool for steel, including the references.5 Trinity also reviewed the CMDB.

Based on the review of these three sources, it is clear that CoST, MCM and CMDB rely upon the same input
data sources to project potential control options and related control costs for the iron and steel industry.
Trinity traced the iron and steel industry data listed in both MCM and CoST to the underlying cited reference
files. Table 1 is a table showing the MCM and CoST references as well as the related steel references from
EPA’s non-EGU TSD. Table 1 also shows whether or not a reference was included in the docket for this
proposed rule and whether or not Trinity was able to obtain references not included in the docket.




4
    https://www.epa.gov/air-quality-implementation-plans/menu-control-measures-naaqs-implementation
5 https://www.epa.gov/economic-and-cost-analysis-air-pollution-regulations/cost-analysis-modelstools-air-pollution



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                             Table 1. References from EPA’s MCM, CoST and non-EGU TSD

                           Non EGU                                                                                                                                      File
   MCM           CoST                                                                                                                                          In
                              TSD                                                          Reference                                                                 obtained
 Reference     Reference                                                                                                                                     Docket?
                           Reference                                                                                                                                 by Trinity
                                       EPA, 1993: U.S. Environmental Protection Agency, Emissions Standard Division, Office of Air Quality Planning and
 EPA 1993a        299                  Standards, "Alternative Control Techniques Document-- NOx Emissions from Stationary Reciprocating Internal               N        Y
                                       Combustion Engines," EPA,-453/R-93-032, Research Triangle Park, NC, July 1993.
                                       EPA, 1993: U.S. Environmental Protection Agency, Emissions Standard Division, Office of Air Quality Planning and
 EPA 1993c        304                  Standards, "Alternative Control Techniques Document-- NOx Emissions from Process Heaters," EPA-453/R-93-                 N        Y
                                       034, Research Triangle Park, NC, September 1993.
                                       EPA, 1994: U.S. Environmental Protection Agency, Emissions Standard Division, Office of Air Quality Planning and
                           34, 36, 43,
 EPA 1994e        308                  Standards, "Alternative Control Techniques Document-- NOx Emissions from Iron and Steel Mills," EPA-453/R-94-            Y       N/A
                             49, 50
                                       065, Research Triangle Park, NC, September 1994.
                                       Pechan, 1998: E.H. Pechan & Associates, Inc., "Ozone Transport Rulemaking Non-Electricity Generating Unit
 EPA 1998e        289                  Cost Analysis," prepared for U.S. Environmental Protection Agency, Office of Air Quality Planning and Standards,         N        Y
                                       Innovative Strategies and Economics Group, Research Triangle Park, September 1998.
                                       EPA, 2002: U.S. Environmental Protection Agency, Office of Air Quality Planning and Standards, "EPA Air
 EPA 2002a        283                                                                                                                                           Y       N/A
                                       Pollution Control Cost Manual," 6th ed., EPA/452/B-02-001, Research Triangle Park, NC, January 2002.
                                       "AirControlNET Database, May 2006" Prepared for US EPA, OAQPS, RTP, NC 27711. Prepared by Pechan &
 EPA 2006b                                                                                                                                                      N     Attempted
                                       Associates, Inc., 5528-B Hempstead Way, Springfield, VA 22151. May 2006.
                                       "Control Measure Cost Calculation SummaryforNonEGUpointNOxcontrolsozoneRIA.xls" spreadsheet provided by
 EPA 2007b        277                                                                                                                                           N        Y
                                       Larry Sorrels (Sorrels.Larry@epamail.epa.gov) via email to Alison Eyth (eyth@unc.edu) 04-Sep-2007.
                                       EPA, 2007: U.S. Environmental Protection Agency, Office of Air Quality Planning and Standards Health and
                                       Environmental Impact Division, Air Benefit-Cost Group "Regulatory Impact Analysis of the Proposed Revisions to
 EPA 2007d        280                                                                                                                                           N        Y
                                       the National Ambient Air Quality Standards for Ground-Level Ozone," EPA-452/R-07-008, Research Triangle Park,
                                       North Carolina, July 2007.
                                       EPA, 2010: "NOX CONTROL STRATEGIES IN THE IRON AND STEEL INDUSTRY (11-11-10).pdf", pdf document
 EPA 2010b        205                                                                                                                                           N        Y
                                       provided by Donnalee Jones (jones.donnalee@epamail.epa.gov) via email to Amy Vasu 11/16/10.
                                       ERG, 2000: Eastern Research Group, Inc., "How to Incorporate the Effects of Air Pollution Control Device
 ERG 2000         281                  Efficiencies and Malfunctions into Emission Inventory Estimates," prepared for Emission Inventory Improvement            N        Y
                                       Program, Point Sources Committee, July 2000.
                                       Pechan, 2001: E.H. Pechan & Associates, Inc., "Revisions to AirControlNET, and Particulate Matter Control
Pechan 2001                            Strategies and Cost Analysis," Revised Report, prepared for U.S. Environmental Protection Agency, Innovative             N     Attempted
                                       Strategies and Economics Group, Research Triangle Park, September 2001.
                                       RTI, 2011: "Evaluation of NOx Controls for Cupola Melt Furnaces", Jeff Coburn, RTI International, January 27,
 RTI 2011                                                                                                                                                       N     Attempted
                                       2011
                                       Sorrels, 2007: Larry Sorrels, Air Benefit and Cost Group, Office of Air Quality Planning & Standards, EPA, personal
Sorrels 2007      287                  communication with Frank Divita, E.H. Pechan & Associates as documented in "Control Measure Cost Calculation             N     Attempted
                                       SummaryforSCRsrevLS13007.xls," November 15, 2007 (via email).

                                       EPA, 2001: U.S. Environmental Protection, Office of Research and Development, EPA, 2001: U.S. Environmental              N        Y
                  285                  Protection, Office of Research and Development, EPA-600/R-01-087, Research Triangle Park, NC, October 2001.
                           35, 37, 39, Joint Research Centre of the European Commission, “Best Available Techniques (BAT) Reference Document for
                                                                                                                                                                Y       N/A
                             47, 48    Iron and Steel Production,” Industrial Emissions Directive 2010/75/EU (2013)
                               38      STAPPA/ALAPCO, Controlling Nitrogen Oxides Under the Clean Air Act: A Menu of Options, 78-79 (July 1994).                Y       N/A
                                       See Schreifels, Jeremy & Wang, Shuxiao & Hao, Jiming, Design and Operational Considerations for Selective
                                                                                                                                                                Y       N/A
                               40      Catalytic Reduction Technologies at Coal-fired Boilers, Frontiers of Energy and Power Engineering in
                                       See EPA, Nitrogen oxides: Why and How they are Controlled, Clean Air Technology Center (MD-12), Technical
                                                                                                                                                                Y       N/A
                               41      Bulletin No. EPA-456/F-99-006R (1999), available at http://www. epa. gov/ttncatc1/dir1/fnoxdoc.pdf.
                                       See Mukhtar, Umar Alhaji et al. “NOx Emission in Iron and Steel Production: A Review of Control Measures for
                                                                                                                                                                Y       N/A
                               42      Safe and Eco-Friendly Environment.” Arid Zone Journal of Engineering, Technology and Environment 1
                                       Midwest Regional Planning Organization (MRPO). 2005. Iron and Steel Mills Best Available Retrofit Technology
                                                                                                                                                                N        Y
                               44      (BART) Engineering Analysis.
                                       Official Journal of European Union Commission, Best Available Techniques (BAT) Conclusions Under Directive
                                                                                                                                                                N        Y
                             45, 46    2010/75/EU of the European Parliament and of the Council on Industrial Emissions for Iron and Steel
                                       EPA, Menu of Control Measures for NAAQS Implementation, available at https://www.epa.gov/air-quality-
                                                                                                                                                                N        Y
                               51      implementation-plans/menu-control-measures-naaqs-implementation (URL dated January 5, 2022).
                               52      See paragraph N, https://codes.ohio.gov/ohio-administrative-code/rule-3745-110-03                                        N        Y
                               53      See https://docs.legis.wisconsin.gov/code/admin_code/nr/400/428/iv/20                                                    N        Y
                               54      See https://www.dep.pa.gov/About/Regional/NorthwestRegion/Community-Information/Pages/RACT-II.aspx                       N        Y



Most of the reference files cited for MCM and CoST are re-compilations of earlier data. Based on Trinity’s
review of available files (either from the docket or obtained by Trinity during this review), the following
documents are the most relevant ones for the iron and steel industry, listed by date. Summaries of these
four documents are provided in Appendix A.




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► EPA 1994e
    A steel-specific analysis
    U.S. Environmental Protection Agency, Emissions Standard Division, Office of Air Quality Planning and
     Standards, "Alternative Control Techniques Document-- NOx Emissions from Iron and Steel Mills,"
     EPA-453/R-94-065, Research Triangle Park, NC, September 1994.

► EPA 1998e
    A first attempt by EPA at assessing non-EGUs with respect to ozone
    Pechan, 1998: E.H. Pechan & Associates, Inc., "Ozone Transport Rulemaking Non-Electricity
     Generating Unit Cost Analysis," prepared for U.S. Environmental Protection Agency, Office of Air
     Quality Planning and Standards, Innovative Strategies and Economics Group, Research Triangle Park,
     September 1998.

► Non-EGU TSD Reference 44
    Cited as an input to EPA2010b
    Midwest Regional Planning Organization (MRPO). 2005. Iron and Steel Mills Best Available Retrofit
     Technology (BART) Engineering Analysis, prepared by MACTEC

► EPA 2010b
    The most recent steel-specific analysis by EPA
    EPA, 2010: "NOX CONTROL STRATEGIES IN THE IRON AND STEEL INDUSTRY (11-11-10).pdf", pdf
     document provided by Donnalee Jones (jones.donnalee@epamail.epa.gov) via email to Amy Vasu
     11/16/10.
    Trinity obtained two related additional files from EPA as part of our search for references
      The 1994 Alternative Control Techniques document mentioned above
      NOX Control Technology from Iron and Steel Plants-05-03-10-send.pdf, which appears to be a
         peer review of the EPA 2010b document.

Among the documents, only two perform any analysis regarding steel industry units, (1) EPA 1994e, the
1994 Alternative Control Techniques (ACT) document, and (2) Non-EGU TSD Reference 44, the 2005 MRPO
BART analysis. In contrast, EPA 1998e and EPA 2010b are data compilations but without any iron and steel
industry unit analysis; each of EPA 1998e and EPA 2010b appear to be used by EPA to transfer data from
the 1994 ACT and 2005 MRPO documents into EPA’s MCM and CoST tools.

Critically important, the 1994 ACT and 2005 MRPO documents only assess NOX emissions controls for reheat
furnaces and annealing furnaces. Thus, the underlying studies for CoST only address two of the steel unit
types proposed to be regulated in this EPA action. As such, there is no basis in EPA’s inclusion of emission
limits for numerous other iron and steel emission units based on CoST and MCM, when CoST and MCM only
have input data for annealing and reheat furnaces.

1.1.3     The docket does not include critical reference files, and EPA must provide all
          references used in the docket in a future re-proposal
Based on statements in the preamble and the non-EGU TSD, EPA erroneously relied upon data compilations
in MCM and CoST in determining that emissions reductions are available and cost effective from the iron
and steel industry. However, MCM and CoST are simply compilations of other data sources, where the data
for each control type and cost for process equipment are cited to an underlying document. Neither MCM nor
CoST directly include explanations for how the included data are appropriate. As such, the underlying
documents are critical to assessing the validity of the data.


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Because EPA uses MCM and CoST as the basis for establishing the cost-effective emissions from the iron
and steel industry (where cost effective reductions are those that EPA defines as contributing significantly),
the accuracy of the underlying data is critical for a source to review the reasonableness of EPA’s proposal.

As shown in Table 1, numerous key references in MCM, CoST and the non-EGU TSD were not included in
the docket, and while Trinity was able to obtain some of the references that were sought, there were
several which Trinity was not able to obtain, even in cases where the person cited in the reference was
reached.

Beyond just MCM/CoST, there are other critical citations and/or documents not provided as part of the
proposal for specific emission units. For example, for the EAF, EPA generically defines the baseline
emissions as being based on comparison to existing permit limits for EAFs, without citing specific emission
units and permit conditions. For coke oven charging, EPA references an apparently non-existent AP-42
emission factor but does not provide a citation. Where EPA is using a document as the basis for a proposed
limit or condition, EPA must specifically identify the document and provide that document in the docket.

Due to the EPA not providing reference documents available for review, and due EPA’s lack of
citations/specificity in the basis for emissions limits, neither Trinity nor U. S. Steel cannot complete a
thorough analysis.

1.1.4     EPA’s cost estimates inaccurately assume year-round operation of control
          devices resulting in improperly low cost-effectiveness values
EPA’s cost-per-ton reduction calculations are low because they assume that SCR will be run all year at
facilities that install it and calculates expected cost per ton on the basis of annual tons of NOx reduced,
despite the fact that the NOx emission reductions being sought by EPA in the Proposed Rule are only to
address ozone season emissions. For instance, EPA estimates that selection of SCR in the iron and steel
industry may be associated with 948 tons ozone season NOX reductions, at an annual cost of $9,886,092. If
EPA had calculated the cost per ozone season ton of NOX reduced, this would result in a cost threshold
estimate of $10,428 per ton of NOX reduced6, which is well above the cost threshold of $7,500 stated by
EPA in the proposed rule). But EPA instead, lists the average cost per ton reduced as $4,345, which would
only be the case if the ozone season tons were extrapolated to assume continuous annual reductions.7

While calculating cost effectiveness on an annual basis for comparisons can be appropriate, the correct cost
basis for the proposed rule is on the ozone season. Under the proposed rule, EPA only has authority to
reduce ozone season emissions and thus should limit itself to assessing the cost of ozone season reductions.

Additionally, as a practical matter, facilities will not operate SCR during the non-ozone season as EPA has
acknowledged in the proposed rule to be “quite typical” in the context of EGUs. There are sound technical
and economic reasons for not operating SCR outside the ozone season, due to the O&M cost associated
with operation of the SCR. When comparing cost estimates to the $7,500/ton screening threshold set by
EPA, the values must be compared on an ozone season basis.




6 $9,886,092 / 948 ton = $10,428/ton

7 $9,886,092 / [12/5)*948 tons] = $9,886,092 / 2,275 tons = $4,345/ton

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1.1.5     EPA’s reliance on screening-quality emissions control data from CoST and
          MCM leads EPA to an incorrect conclusion on available reductions, and thus
          significant contribution
As noted in Section 6.1.1, EPA determined that emissions that could be removed below a certain cost
threshold are those emissions which contribute significantly, regardless of the relative contribution by a
state to a receptor. EPA then used CoST, MCM and the Control Measures Database (CMDB) to determine the
emissions that could be removed based on theoretical application of SCR, SNCR and burner replacement.

             Due to the many types of units within Iron and Steel Mills and Ferroalloy
             Manufacturing facilities that are not currently subject to NOX limitations of the
             stringency necessary to eliminate significant contribution, most of the emissions
             limits in this proposed rule are based on examples of permitted emissions and
             estimated reduction potential from the identified control technology. Based on the
             selection of SCR, SNCR, and burner replacement in the non-EGU screening
             assessment, the EPA assumed reductions of 20 to 50 percent from current permitted
             limits and emissions tests depending on the type of unit and controls being
             implemented.
             [87FR20146]

Note the key reliance on CoST, MCM and CMDB estimates, which are at best screening quality.

► In the quote above, EPA first states that units in the iron and steel industry are not subject to NOX
    limitations sufficiently stringent to eliminate significant contribution.
► EPA has already stated that “significant contribution” is determined based on cost-effective reductions
  being available and EPA’s discussion regarding Step 3.8
► To determine those cost-effective reductions are available, EPA relied upon CoST, as when a CoST model
  run was completed, the CoST modeling showed that emission reductions are available in the steel
  industry that are cost effective
► Upon the CoST run showing that cost effective reductions are available in steel, EPA then relied upon
  CoST/MCM/CMDB to identify potential control technologies that could be applied to the steel industry
  units
► Lastly, EPA appears to have arbitrarily selected % reductions from the lowest identifiable emissions rate
  for a steel unit based on some unstated attribution to a mix of add-on controls identified by MCM as
  being applicable (see Table 2)

EPA also made assumptions about the types of emission units at which the control technologies were
feasible without any stated basis. None of the underlying technical analyses support add-on pollution control
on any steel sources other than annealing furnaces, while the proposed rule covers numerous additional
steel emissions units. Trinity infers that EPA may have been misled by data in CoST and MCM regarding the
applicability of the control measures.




8
  As per 87FR20055, the EPA selected the technology breakpoint (represented by a cost threshold) that, in general,
maximized cost-effectiveness—i.e., that achieved a reasonable balance of incremental NOX reduction potential and
corresponding downwind ozone air quality improvements, relative to the other emissions budget levels evaluated. See, e.g.,
81 FR 74550. The EPA determined the level of emissions reductions associated with that level of control stringency to
constitute significant contribution to nonattainment or interfere with maintenance of a NAAQS downwind.

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Moreover, EPA never attempts to justify why case-specific recent BACT and RACT determinations (cited as
the basis for the lowest identifiable emission rates) are not more reliable and accurate than screening level,
generic data from CoST and MCM.

Table 2 summarizes EPA’s proposed steel unit emission limits, as well as EPA’s stated rationale for the limits
from both the rule preamble as well as from the non-EGU TSD. The non-EGU TSD references MCM as the
basis for the potential control percentages, and the preamble references CoST, but since MCM and CoST
have largely the same underlying references the distinction in MCM versus CoST is minor.

EPA correctly notes the limitations of CoST in a footnote to Table IX-2 in the proposal (87FR20157), but
then ignores this critical caveat in the proposed rule.

            CoST is designed to be used for illustrative control strategy analyses (e.g., NAAQS
            regulatory impact analyses) and not for unit-specific, detailed engineering analyses.
            The estimates from CoST identify proxies for (1) non-EGU emissions units that have
            emissions reduction potential, (2) potential controls for and emissions reductions
            from these emissions units, and (3) control costs from the potential controls on these
            emissions units. … This screening assessment is not intended to be, nor take the
            place of, a unit-specific detailed engineering analysis that fully evaluates the
            feasibility of retrofits for the emissions units, potential controls, and related costs.

The author of the footnote to Table IX-2 understood the limitations of using CoST (which in turn relies upon
both MCM and CMDB). However, in the proposed requirements, EPA ignores the limitations of CoST. In the
proposed rule, EPA presumes that CoST is accurate and applicable to each and every steel emissions unit,
without any consideration of a feasibility assessment or any engineering.




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                                            Table 2. EPA assumptions underlying proposed steel limits

 Emissions      Proposed                              %
                             Units      Add‐On                            EPA Basis from Preamble                                               EPA Basis from non‐EGU TSD
   Unit           Limit                            Reduction

                                                                                                                 In setting a NOx emission limit for blast furnaces, EPA considered a range of emission rates
                                                               OH NOX RACT rules limit NOX emissions
                                                                                                                 from 0.02 lb/mmBtu to 0.05 lb/mmBtu as calculated based on potential use of low‐NOx
                                                               from blast furnaces to 0.06 lb/ mmBtu
                                     Burner                                                                      burners, flue gas recirculation, and SCR. EPA notes that it has approved an Ohio SIP rule of
                             lb/                               without requiring specific control technology.
Blast Furnace      0.03           replacement/       50%                                                         0.06 lb/mmBtu without specifically requiring use of NOx‐reducing control technology. See
                            MMBtu                              Control NOX at stoves (typically 3 or 4 per blast
                                       SCR                                                                       OAC 3745‐110‐03(N). Use of these technologies separately or in combination can achieve
                                                               furnace), assuming 40–50% reduction) by
                                                                                                                 20‐90% reduction efficiency at blast furnace stoves. In this rulemaking, EPA is requiring each
                                                               burner replacement plus SCR.
                                                                                                                 facility to tailor its NOx reduction technology to meet a NOx limit of 0.03 lb/mmBtu.

                                                                                                            For basic oxygen furnaces, EPA based the emission limit of 0.07 lb/ton of steel on
                                                                                                            performance testing data from basic oxygen furnaces without NOx reduction controls at
                                                                                                            integrated iron and steel mills in the United States. EPA projects minimally 50% NOx
Basic Oxygen                                                                                                reduction efficiency is achievable by use of low‐NOx technology, including potential use of
                                                               Potential 25–50% reduction by SCR/SNCR
Furnace            0.07     lb/ton      SCR/SNCR     50%                                                    FGR and selective catalytic reduction. Most BOF vessels and associated BOF Shops in the
                                                               from 0.14 lb/ton based on emissions testing.
                                                                                                            United States are equipped with capture technology and existing particulate matter control
                                                                                                            devices. The existing configurations of these shops would accommodate the addition of
                                                                                                            NOx controls or additional design of a capture system capable of integrating such
                                                                                                            technology with these structures.
                                                                                                            For EAFs, EPA based the emission limit of 0.15 lb/ton of steel on projected reduction
                                                                                                            efficiency of 40‐50% as compared to existing permit limits for EAFs. EPA considered a range
                                                               Example permit limits at around 0.2 lb/ton.
Electric Arc                lb/ton                                                                          of baseline emission data and permit limits from mini mills, integrated iron and steel
                   0.15                   SCR        25%       Assumes 25% reduction by SCR to achieve 0.15
Furnace                      steel                                                                          facilities, and ferroalloy facilities ranging from 0.20 lb/ton to 0.35 lb/ton. EPA projects
                                                               lb/ton steel.
                                                                                                            minimally 40% NOx reduction efficiency is achievable by use of low‐NOx technology,
                                                                                                            including potential use of low‐NOx burners and selective catalytic reduction.
                                                                                                          For ladle and tundish preheaters, EPA based the emission limit of 0.06 lb/mmBtu on existing
                                                                                                          permit limits. The majority of recently issued permits limit NOx emissions from ladle and
                                                               Nucor Kankakee BACT permit limit issued
                             lb/                                                                          tundish preheaters to 0.1 lb/mmBtu based on prevailing operating rates compared to
Ladle/tundish      0.06                   SCR        40%       January 2021 is 0.1 lb/mmBtu, 2021. Assume
                            MMBtu                                                                         natural gas usage. EPA projects minimally 40% NOx reduction efficiency is achievable by use
Preheaters                                                     40% reduction by SCR.
                                                                                                          of low‐NOx technology, including potential use of low‐NOx burners and selective catalytic
                                                                                                          reduction.

                                                               Sterling Steel permit, issued 2019: Low‐NOX For reheat furnaces, EPA based the emission limit of 0.05 lb/mmBtu on projected reduction
                                                               natural gas fired burners de‐ signed to emit efficiency of 40‐50% based on sampled operating and emission rates compared to natural
Reheat                       lb/
                   0.05                   SCR        40%       no more than 0.073 lb NOX/mmBtu, Ohio RACT gas usage. EPA projects minimally 40% NOx reduction efficiency is achievable by use of low‐
furnace                     MMBtu
                                                               limit is 0.09 lb/mmBtu. Assume 40% reduction NOx technology, including potential use of newer generation low‐NOx burners or
                                                               by SCR.                                      optimization of existing burners.
                                                                                                                For annealing furnaces, EPA based the emission limit of 0.06 lb/mmBtu on projected
                                                               Big River Steel (AR) 2018 limit and Benteler
                                                                                                                reduction efficiency of 40‐50% based on current permit emission limits and operating rates
                                                               Steel (LA) 2019 limit (0.11 lb/ mmBtu), 85
Annealing                    lb/                                                                                compared to natural gas usage. EPA projects minimally 40% NOx reduction efficiency is
                   0.06                   SCR        40%       mmBtu/hr and 13 mmBtu/hr, respectively.
Furnace                     MMBtu                                                                               achievable by use of low‐NOx technology, including potential use of newer generation low‐
                                                               Lowest was 0.0915 lb/mmBtu, Nucor AR.
                                                                                                                NOx burners or optimization of existing burners, or combination of low‐NOx burners, flue
                                                               Assume 40% reduction by SCR.
                                                                                                                gas recirculation, and/or selective catalytic reduction.
                                                                                                                For vacuum degassers utilized in secondary steelmaking, EPA based the limit of 0.03
                                                               0.05 lb/mmBtu Nucor Darlington (SC) and
Vacuum                       lb/                                                                                lb/mmBtu on existing permit limits of 0.05 lb/mmBtu. EPA projects minimally 40% NOx
                   0.03                   SCR        40%       Nucor Tuscaloosa (AL). Assume 40%
Degasser                    MMBtu                                                                               reduction efficiency is achievable by use of low‐NOx technology, including use of selective
                                                               reduction by SCR.
                                                                                                                catalytic reduction.
                                                                                                                For LMFs, EPA based the emission limit of 0.1 lb/ton of steel on projected reduction
Ladle                                                                                                           efficiency of 40‐50% as compared to existing permit limits for LMFs. EPA considered a range
Metallurgy         0.1      lb/ton        SCR        40%       Assume 40% reduction by SCR.                     of baseline emission data and current permit limits from 0.20 lb/ton to 0.35 lb/ton. EPA
Furnace                                                                                                         projects minimally 40% NOx reduction efficiency is achievable by use of low‐NOx
                                                                                                                technology, including potential use of low‐NOx burners and selective catalytic reduction.
Taconite
                                                               Consistent with requirements in Minnesota
Production      tice, low NOx burners
                                                               Taconite FIP See 81 FR 21671.
Kilns
                                                               Assume 50% reduction staged combustion           For coke ovens (charging) and coke ovens (pushing), EPA based the emission limit of 0.15
                           lb/ton of   Staged                                                                   lb/ton for charging and 0.015 lb/ton for pushing on projected reduction efficiency of 40‐
Coke Ovens                                                     and/or limited use SCR/SNCR during charging
                   0.15       coal   combustion      50%                                                        50% based on current permit emission limits and production‐based push/charge cycles. EPA
(charging)                                                     operations from AP–42 0.3 lb/ton emission
                            charged SCR/SNCR                                                                    projects minimally 40% NOx reduction efficiency is achievable by use of low‐NOx practices,
                                                               factor.
                                                                                                                staged pushing and hood configurations, and potential use of add‐on NOx control
                           lb/ton of                                                                            technology at larry cars and pushing/charging machines, including potential use of low‐NOx
Coke Ovens                                                     SunCoke Middletown limit is 0.02 lb/ton of
                  0.015       coal        SCR        25%                                                        burners, flue gas recirculation, and/or the addition of selective catalytic reduction to mobile
(pushing)                                                      coal. Assume 25% reduction by SCR.
                            pushed                                                                              hoods and particulate matter control devices.




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1.1.6     The lack of a trading option makes EPA’s errors in setting unit-specific
          emission limits critical
In prior Good Neighbor rulemakings focused on EGUs, EPA has had reasonably accurate cost estimates for
emissions control for EGUs in the aggregate. For EGUs, as long as EPA is reasonably accurate, the
availability of an emissions trading program provides unit-specific flexibility. If a control technology at a
particular unit is much more expensive, that unit has the option to buy allowances and comply with the
regulations. Or, alternatively and more likely, a company may choose to over control one source that is
more cost effective to generate allowances for another source that is less cost effective.

For two reasons, EPA’s approach with non-EGUs suffers critical flaws. First, as already explained earlier in
this section, EPA’s cost estimates are screening level only, and it appears that EPA selected the lowest
published cost estimates from the available studies (with no stated basis for that selection); that in itself
brings question on EPA’s proposed emission limits.

Because each emissions unit must meet a specific emissions limit, with no opportunity to trade allowances
either within the company or in the greater market, the accuracy of the cost estimates becomes a critical
factor. Unquestionably EPA’s cost estimates are inaccurate for the proposed emissions sources, and
unquestionably as proposed each unit must meet a specific emissions limit based on screening, highly
caveated analysis, where that analysis has zero technical foundation for emission units other than reheat
and annealing furnaces.

1.1.7     EPA has incorrectly applied its own data to a determination of the cost
          threshold to evaluate emission reductions related to Tier 1 industries
As noted earlier, there are numerous problems with the assumptions in EPA’s CoST model with respect to
the steel industry. Beyond those problems, EPA incorrectly applied its own CoST output data regarding
emissions reductions from Tier 1 industries.

In EPA’s Screening Assessment for Non-EGU Emissions Units, EPA states the following:

            To identify an annual cost threshold for evaluating potential emissions reductions in
            the Tier 1 and Tier 2 industries, the EPA used the Control Strategy Tool (CoST), the
            Control Measures Database (CMDB), and the projected 2023 emissions inventory to
            prepare a listing of potential control measures, and costs, applied to non-EGU
            emissions units in the projected 2023 emissions inventory. Using this data, we
            plotted curves for Tier 1 industries, Tier 2 industries, Tier 1 and 2 industries, and all
            industries at $500 per ton increments. Figure 1 indicates there is a “knee in the
            curve” at approximately $7,500 per ton. We used this marginal cost threshold to
            further assess estimated emissions reductions, air quality improvements, and costs
            from the potentially impactful industries. Note that controls and related emissions
            reductions are available at several estimated cost levels up to the $7,500 per ton
            threshold. The costs do not include monitoring, recordkeeping, reporting, or testing
            costs.

A review of Figure 1 in the document shows that that Tier 1 Industries have a very much lower marginal
cost threshold than the $7,500 per ton value assigned to Tier 1 Industries by EPA. Indeed, as is graphically
illustrated in Figure 1, the knee in the curve for Tier 1 sources occurs at a cost of approximately $1,000 per
ton at which point the ozone season NOX reduction potential is in excess of 50,000 tons. Increasing the cost
threshold to $7,500 per ton (approximately a 700% increase in cost) does nothing more than increase the


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Tier 1 NOX reduction potential by approximately 15% more than would be achieved at the $1,000 per ton
threshold. The CoST model is showing is that nearly all available reductions at Tier 1 industries are at the
$1,000/ton level; based on review by Trinity of the CoST inputs for the steel industry, CoST reductions at
less than $1,000/ton correlate only to combustion improvements like low NOX burners, and not to post-
combustion controls like SCR.9

In prior rulemakings, EPA has emphasized the importance of identifying the knee in the curve to optimize
cost efficiency. In the present rulemaking, EPA discusses exactly this topic in the context of not increasing
the cost threshold for EGU control costs.

             Emissions reductions from these measures are relatively small and would entail much
             higher dollar per ton costs, going beyond what is widely observed in the fleet.
             Although these additional measures are not included in EPA’s technology breakpoint
             analysis discussed above, the EPA did examine the cost, potential reductions, and air
             quality impact of these additional measures in a supplemental analysis to affirm that
             they do not merit inclusion in the proposed stringency for this action. Similar to prior
             rules, there is a notable ‘‘knee-in-the-curve’’ breakpoint if these additional measures
             are included in EPA’s analysis. In other words, there are very little additional
             emissions reductions and air quality improvement at problematic receptors, and the
             cost associated with these measures increases substantially on a dollar per ton basis.
             [87FR20095]

The exact case that EPA describes here for EGUs applies to Tier 1 non-EGUs when extending the $/ton
threshold beyond approximately $1,000/ton: based on CoST predictions, minimal additional emission
reductions are obtained from Tier 1 industries going beyond $1,000/ton, and yet costs increase
substantially.




9
  While SCR is not a post-combustion control as applied to an EAF and other emission units in the iron and industry industry
where NOx emission are not generated by combustion of fossil fuels, we refer to them here as post-combustion controls
because that his how EPA refers to SCR and other technologies in the proposed rule.

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Figure 1. Ozone Season NOX Reductions and Costs per Ton (CPT) for Tier 1, Tier 2 Industries,
and Other Industries




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    1.2     Analysis of Feasibility of Proposed Limits and Theoretical Controls

As discussed in more detail below, EPA has failed to demonstrate that the proposed emission limits for the
iron and steel industry and theoretical controls in the proposed rule are technically feasible.

1.2.1     Blast furnaces

1.2.1.1    Description
Blast furnaces (BFs) are used to convert iron ore and iron-bearing raw materials to hot metal. The process is
completed in a vertical shell blast furnaces in which raw materials (ore, coke, and flux) are introduced at the
top of the furnace and hot blast air, oxygen and either natural gas, pulverized coal or coke oven gas are
injected at the bottom of the furnace to generate heat and melt the iron by removing the oxides to form
metallic iron.

To provide the hot blast air, the furnaces are equipped with regenerative heat exchangers (stoves) in which
the blast air is preheated. Blast furnace gas (BFG) and natural gas (and if available cleaned desulfurized
coke oven gas (COG)) are fired in the stoves to heat the stove refractory. When the required temperature is
achieved the gas flow is reversed and the stored sensible heat is recovered into the blast air. Typically,
there are 3 to 4 stoves (dependent on age and design) on each blast furnace which allows a continuous and
even blast air temperature with one common exhaust stack per set of stoves; note that the stove stack
exhaust is separate and distinct from the off-gases produced from the iron-making process in the blast
furnaces.

Combustion of BFG, in general, but in particular on the stoves, requires a high volume of combustion air due
to a significant percentage of inert gases in the BFG (CO2, N2). The combustion produces thermal NOX, but
the reaction is suppressed by the presence of CO in the combustion flame and emits much less thermal NOX
than does natural gas combustion (COG emits thermal NOX at a rate between that of BFG and natural gas).
As in all combustion reactions excess oxygen and flame temperature determine NOX formation, and the BFG
with smaller heating value, approximately 1/10 of natural gas, burns at relatively low adiabatic flame
temperature.

Typical stoves have exhaust temperatures in the 350-500 ℉ range, with emission rates already in less than
typical low NOX emission rates for boilers.

1.2.1.2    Potential for NOX Reduction
NOX reductions could be achieved on a blast furnace process in the event any of the following technologies
were technically or economically feasible

        1. Use of lower NOX burners in the stove heating system.

        2. Installation of selective catalytic reduction (SCR) in the stove stack(s).

        3. Flue gas recirculation.

        4. Selective non-catalytic reduction (SNCR) in the stove stacks .




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U. S. Steel evaluated RACT for blast furnace stoves at Edgar Thomson in a report by AMEC Environmental
and Infrastructure dated April 1, 2014. The analysis at this site is representative of blast furnace stoves in
the U. S. Steel fleet.

The 2014 RACT analysis found the following:

► Units were achieving NOX emission rates of less than low NOX emission rates for boilers

► Flue gas recirculation (FGR) is not technically feasible since blast air cannot be recycled from the blast
    furnace and air flow during initial heating of the stoves is based on natural convection

► SCR
   Determined to be technically infeasible due to the changing direction of the air flow, such that there
    are substantial temperature swings as a stove switches from heat to blast and back.
   Determined to cost from $75,533/ton to $124,972/ton assuming for the sake of argument that SCR
    was actually technically feasible
► SNCR
   Technically infeasible like SCR due to temperature swings
   More costly than SCR at $426,000/ton to $678,001/ton

U. S. Steel also evaluated BART for blast furnace stoves at Gary Works in a September 25, 2020 analysis by
Barr. That analysis found that no add-on technology was BART for the stoves, and that BFG was already a
low NOX fuel

1.2.1.3    EPA’s Proposed Emission Limit for Blast Furnaces is Not Feasible

►  EPA’s assumption of a 50% reduction in NOx emissions from blast furnaces using add on-control
  technologies is not supported by any technical analysis for blast furnace stoves
► There is no technical analysis in the docket or in references used as the basis for CoST and MCM for
  blast furnace stoves.
► EPA has erroneously found that cost-effective emission reductions are available at blast furnace stoves
  by misusing the EPA CoST model
► EPA incorrectly assumes that SCR is applicable to blast furnace stoves despite any support in the docket
► The underlying EPA SCR cost estimates for iron and steel units only have any basis for annealing and
  reheat, where costs are developed in the 2005 MRPO BART document
► EPA’s CoST model only cites two bases for SCR costs for steel process units $7,020 (2016$) for SCR for
  an annealing furnace, and $6,599 (2016$) for coke oven gas in-process combustion (by citing here,
  Trinity and U. S. Steel do not concur that EPA’s CoST model SCR costs are correct)
   The annealing estimate is cited on #280, #283, #285, #287, #289 and #304
   The coke oven gas estimate is cited as #205 and #277 (discussed above)
       #280 is a 2007 regulatory impact analysis that did not perform a cost estimate specific to steel
          units but instead used standard CoST/MCM/CMDB data in a screening analysis for non-EGU
          emissions
       #283 is the EPA Control Cost Manual that only instructs how to perform economic calculations
       #285 is about SCR costs on coal-fired boilers
       #287 was not obtainable despite contact with to the EPA
       #289 is an analysis performed as part of the NOX SIP Call that first attempted to assess non-EGU
          impacts, but did not perform any analyses specific to steel units


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      #304 is an EPA document about process heaters overall, focusing on chemical and petroleum
         refining, with no analysis of steel process heaters and no analysis of the BFG or COG
► The only underlying studies that attempted to calculate steel costs for SCR are the 1994 ACT study and
  the 2005 MRPO study
► The 2005 MRPO study values (in 2005$) for SCR range from $7,566-$13,762 for annealing furnaces,
  with numerous caveats about the generic assumptions and how site-specific variations could result in
  substantial cost or feasibility differences
► The EPA CoST model lists a cost (in 2016$) for SCR of $7,020 for annealing furnaces and $6,599 for
  coke oven gas. These values are below the lowest value from the 2005 MRPO study, prior to adjusting
  the 2005 MRPO values to adjust to 2016$.
► Annealing and reheat furnaces are vastly different processes than blast furnace stoves.
► Overall, the $/ton cost effectiveness values for SCR for iron and steel emission units in the CoST model
  are not credible and not supported by the underlying reference documents

1.2.2     Basic Oxygen Furnace

1.2.2.1    Description
Basic oxygen furnaces (BOFs) are used in integrated iron and steel facilities to convert hot metal produced
in the blast furnace and scrap to steel. In order to convert the hot metal to steel, the carbon in the hot
metal is removed by oxidation in the BOF vessel. This process is completed by blowing oxygen into the
liquid metal bath forming carbon monoxide (CO) and carbon dioxide (CO2) and slag by the addition of flux
(quick lime). The oxidation of carbon generates heat which melts the scrap, and raises the liquid
temperature to about 2,800°F. The CO and CO2 produced are emitted from the vessel with a significant
concentration of particulate matter which must be removed to meet the MACT particulate emission limits.
The blowing process does not generate NOX due to the complete reaction of oxygen (O2) with the carbon in
the hot metal without nitrogen (N2) gas in the vessel (the lack of nitrogen gas (air) in the vessel prevents
any possibility of forming NOX within the molten metal – the only gases present include the O2 being
injected and CO and CO2 being emitted, as all O2 is consumed). At the vessel exit the gases are typically
about 3,200˚F.

The BOF blowing process occurs in batch cycles with charging, blowing, and tapping events. The total cycle
can be one hour with the oxygen blowing period lasting approximately 20 minutes. Off-gas temperatures
entering the capture hood can be between 350 °F during charging and 3,200 °F during the peak blow of the
heat cycle. U. S. Steel operates with the open-hood designs which includes full combustion of off-gases.

The full combustion operation captures the off-gases in an open hood. Ambient air is introduced between
the vessel mouth and hood. The amount of air introduced is controlled by the system draft to prevent
fugitive emissions and assure combustion of CO and hydrogen (H2) emitted from the vessel. As a result of
the off-gas combustion, the gas temperature increases to about 3,800 °F and NOX can be formed as
thermal NOX. The gases are cooled by convection/radiation in the specially designed water- cooled hood and
direct water spray evaporation. Gases are cooled to about 450-550° F and introduced to a cold side
electrostatic precipitator (ESP) or wet scrubber for particulate removal. The particulate emitted from the
furnaces is abrasive consisting of oxide forms of iron and other metals. The gas temperature and moisture
content are critical for proper ESP operation. U. S. Steel operates four BOF vessels with two ESP control
systems. There are 10 BOF vessels operated with five venturi scrubbers for particulate removal.

NOX formation over the blow cycle is variable in the primary hood due to the constantly changing off-gas
temperature profile and oxygen content of the gases due to hood draft requirements needed for compliance
with NESHAP Part 63 Subpart FFFFF. In addition, no two heats are identical due to metal chemistry (percent

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carbon in hot metal (HM), silica content, etc.). The presence of carbon monoxide inhibits NOX formation and
the carbon burn rate (lb/min) during the blow period changes the CO/CO2 percentage of the gases.

1.2.2.2     Potential for NOX Reduction
The application of NOX control technology before particulate removal is not feasible for these process units
due to the cyclic nature of the process and presence of metallic particulate matter in the gas stream that
will poison SNCR or SCR media.

In addition, the temperature in the primary hood is variable over the blow period and the required gas
temperature/residence time for SNCR function cannot be achieved. Further, the required molar ratio for
ammonia introduction for the NOX ammonia reaction would be extremely difficult to meet (and potentially
impossible) due to the rapidly varying NOX formation.10 There is no place to install an SNCR. There are no
SNCR in operation across the industry. EPA hasn’t provided any demonstration that SNCRs are technically
feasible.

For SCR application similar conditions apply. Overall, the gases are too hot and with widely and rapidly
variable temperatures, which negates the ability to use tempering air or water injection to meet the required
SCR temperature (and additionally such injection may result in inappropriate conditions for proper ESP
operation). Additionally, the metallic particulate will rapidly deteriorate the catalyst and poison the noble
metals if used upstream of the particulate control device. Thus, an SCR pre-gas conditioning and cooling is
not feasible for BOFs.

SCR could be theoretically applied after the particulate removal in the ESP or scrubber, but the BOF exhaust
temperatures are only approximately 90 to 130 degrees; therefore, gases would require substantial
reheating to the required SCR reaction temperature between heats and during the heat cycle requiring
increased natural gas combustion, which would generate additional NOX and Greenhouse Gases (GHGs).
Further, to prevent rapid thermal degrading of the SCR catalyst, the catalyst bed would be required to be
held at the operating temperature between heats, producing even more additional NOX and GHGs. For
BOFs, there are no SCRs in operation across the industry. EPA hasn’t provided any demonstration that SCRs
are technically feasible.

U. S. Steel evaluated RACT for BOF at Edgar Thomson in a report by AMEC Environmental and
Infrastructure dated April 1, 2014. The analysis at this site is representative of BOF in the U. S. Steel fleet.

The 2014 RACT analysis found the following:

► Low NOX burners are not technically feasible as no burners are present
► Flue gas recirculation is not technically feasible as the furnace does not operate on an air/fuel ratio basis,
     but instead based on high pressure oxygen lancing
► SNCR is potentially technically feasible with heating of exhaust gas, but would cost $1,143,618/ton
     (2014$)
► SCR is potentially technically feasible with heating of exhaust gas, but would cost $222,562/ton (2014$)
► Due to the large volume of airflow (~250,000 acfm at ~125 ℉), the NOX concentration would be
     extremely low and likely below the lower range concentrations to be treated by SCR



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   One cannot monitor the pre-SNCR NOX levels and the only available control input is the downstream NOX levels, which
cannot achieve the fine time resolution required to match the molar limit (an analogy would be driving a car through curves
via using only the rearview mirror).

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1.2.2.3    EPA’s Proposed Limits are Not Feasible
U. S. Steel is not aware of any technically feasible NOX control methods applicable to BOF vessels. In the
non-EGU TSD, EPA incorrectly states that there is a BOF NOx emission limitation of 0.1 lb/MMBtu contained
in the Ohio NOX RACT rules. The Ohio NOX RACT limit described in Rule 3745-110-03(N) applies to No. 1
and No. 2 BOF ladle preheaters, not the BOF.

EPA does not cite a basis for the 0.14 lb/ton reference value and cannot use an un-cited value as the basis
for an emission limit. Instead, EPA only generically refers in the non-EGU TSD to

            performance testing data from basic oxygen furnaces without NOx reduction controls
            at integrated iron and steel mills in the United States

Because EPA does not cite a basis for the 0.14 lb/ton emissions level, it is not possible to review the validity
of that value, nor the operating conditions under which that value was obtained. Without such
documentation, EPA cannot use the 0.14 lb/ton value as the basis for an emissions limit. EPA states that
there is a potential 25-50% reduction based on SCR/SNCR at the BOF, and then arbitrarily uses the upper
50% to reduce the undocumented 0.14 lb/ton value to the proposed limit of 0.07 lb/ton.

1.2.3     Electric Arc Furnaces
See the Black & Veatch Report and the discussion in U.S. Steel’s comment letter for a discussion of the
feasibility of control technology for electric arc furnaces.

1.2.4     Ladle/Tundish Preheaters

1.2.4.1    Description
Ladle and tundish preheaters are employed in the steel shop to dry out the ladle and tundish refractory prior
to use in the steel making process after ladle repairs and to preheat the ladles and tundishes so as not to
“shock” the ladle or tundish prior to hot metal or liquid steel being added. Drying out the ladles prior to use
is done to prevent steam release during metal addition, which is a serious safety concern for the industry.
Preheaters are also used to cure refractory after repair. Note that tundishes are only at caster facilities and
are not part of a BOF Shop.

In both applications, an open gas flame is introduced into the ladle/tundish to increase the refractory
temperature. The equipment is typically an air/fuel burner in a vertical (down-fire) position or horizontal
position depending on the heater manufacturer. The heat input of the burner is small with multiple
ladle/tundish positions. The emissions are categorized as fugitive emissions as there is no stack or control
point associated with these processes.

The gas burners are very small with heat inputs of typically 5-15 MMBtu/hr. When vertically fired a cover is
placed over the ladle through which the burner fires into the ladle space to keep the heat within the ladle.
Combustion gases are vented through the gap under the cover via natural draft.

1.2.4.2    Potential for NOx Reduction
Gas burners can be retrofitted to a low NOX design and some manufacturers offer low NOX burner packages;
however, emissions from these processes are low and do not meet the 100 tons per year applicability
threshold either individually or combined site wide unless aggregated with the BOF Shop NOx emissions as
in EPA’s proposal. Therefore, the NOX emissions reductions from ladle preheaters would also be minimal.


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The use of selective non-catalytic reduction (SNCR) would be technically infeasible due to no stack or
existing emissions collection systems. Also SNCR would be technically infeasible without preheating since
the gas exhaust temperatures are too low for proper operation.

Practically speaking, SCR is not technically feasible on these units. SCR would require a movable hood
emissions collection system, a stack, and reaction chamber, as the exhaust is not currently contained after
leaving the ladle/tundish.

SCR would require significant gas reheat of a large air stream downstream to be potentially viable. Based on
the above flow rates, the cost effectiveness of SCR would be at best $62,036/ton (2021$) as calculated by
Trinity for a 9 MMBtu/hr unit assuming that a sufficiently tight hood could be constructed to only result in
10x the stoichiometric air flow rate, and not counting any costs for designing and constructing a hood.

1.2.4.3    EPA’s Proposed Emission Limit is Not Feasible
The base case 0.1 lb/MMBtu limit is from a 2021 BACT analysis, and is the lowest possible emission rate
that could be identified as RACT. SCR is questionably technically feasible and not cost effective. EPA’s
assumption of a 40% reduction using add on-control technologies is not supported by any technical analysis
for a ladle preheater – there is no technical analysis in the docket or in references used as the basis for
CoST and MCM for ladle preheaters. EPA has erroneously found that cost-effective emission reductions are
available at a ladle preheaters by mis-using the EPA CoST model. See discussion on blast furnace stove
references.

1.2.5     Reheat Furnaces

1.2.5.1    Description
Reheat furnaces are large furnaces used to raise the temperature of steel slabs through direct firing of
natural gas and/or coke oven gas to process steel stabs to a temperature suitable for hot working and
shaping. They are designed to accommodate the steel slabs being processed at a suitable design rate, heat
it uniformly, and hold it at a desired temperature for a specified length of time.

1.2.5.2    Potential for NOX Reduction
U. S. Steel evaluated RACT for a reheat furnace at the Irvin Plant in a report by AMEC Environmental and
Infrastructure dated April 1, 2014. The analysis at this site is representative of reheat furnaces in the U. S.
Steel fleet.

The 2014 RACT analysis found the following:
► SCR
    Technically infeasible due to the failed application at a similar facility (inconsistent reductions,
       frequent SCR system degradation, high ammonia slip)
    Economically infeasible even if technical challenges could be overcome at $18,764/ton (2014$)
► SNCR
    Technically infeasible
    Economically infeasible even if technical challenges could be overcome at $145,702/ton (2014$)

U. S. Steel additionally evaluated reheat furnaces for BART in a September 25, 2020 analysis for Gary Works
by Barr. That analysis found that the cost of adding low NOX burners would be $14,100/ton, which is not


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cost effective. Because of the thermodynamics of heat transfer to the steel in a reheat furnace, a lower
flame temperature with low NOX burners is expected to have negative energy usage impacts, though that
impact was not quantified in the BART analysis.

1.2.5.3    EPA’s Proposed Emission Limit is Not Feasible
The base case 0.073 lb/MMBtu limit is from a 2019 BACT analysis, and is the lowest possible emission rate
that could be identified as RACT. SCR is questionably technically feasible and not cost effective. EPA’s
assumption of a 40% reduction using add on-control technologies is not supported by any technical analysis
for a reheat furnace cited in the CoST modeling. The only citation for a reheat furnace in the CoST
references for the proposed rule is to the addition of a low NOX burner, based on CoST references #283,
#289, and #308.

► #283 is the EPA Control Cost Manual that only instructs how to perform economic calculations
► #289 is an analysis performed as part of the NOX SIP Call that first attempted to assess non-EGU
   impacts, but did not perform any analyses specific to steel units
► #304 is an EPA document about process heaters overall, focusing on chemical and petroleum refining,
   with no analysis of steel process heaters

EPA also erroneously found that cost-effective emission reductions are available at a reheat furnace by mis-
using the EPA CoST model. The only underlying studies that attempted to calculate steel costs for SCR on a
reheat furnace is the 2005 MRPO study, which lumped reheat and annealing furnaces together under a
single analysis. The 2005 MRPO study values (in 2005$) for SCR range from $7,566-$13,762/ton for reheat
furnaces, with numerous caveats about the generic assumptions and how site-specific variations could result
in substantial cost or feasibility differences. When adjusted to 2016$ consistent with the proposed rule via a
consumer price index ratio of 1.2, the 2005 MRPO cost range is from $9,079-$16,514/ton. Even without
considering the various site-specific caveats in the 2005 MRPO document, and without adjusting the $/ton
to reflect ozone-season only operation (with all the capital costs but only 5/12 of a year of operating time
and emissions reductions), the absolute minimum cost from the 2005 MRPO report is well beyond the listed
maximum cost-effectiveness threshold of $7,500 ton in the proposed rule.

In fact, the upper end of the 2005 MRPO range is very consistent with the SCR cost estimate in the 2014
Irvin RACT study ($16,514/ton vs $18,764/ton), and each is far beyond the maximum cost-effectiveness
threshold in the proposed rule.

1.2.6     Annealing Furnace

1.2.6.1    Description
There are two types of annealing furnaces: batch and continuous.

Batch annealing is done in a box-type furnace that consists of a stationary base, several stools on which
coils of steel are stacked, individual cylindrical covers for each coil stack (to provide for the protective
atmosphere), and the furnace, which is lowered by crane over the base with its load, stools, and cylindrical
covers. Subsequently, the charge is heated slowly but uniformly to a specified temperature, soaked for a
period of time, and then allowed to cool. After a period of cooling, the furnace is removed to begin a cycle
on another base. However, the inner covers are left in place to preserve the protective atmosphere. After
the charge has cooled to about 300 ℉, the charge can be exposed to air without oxidizing. In this cycle, the
cooling period takes at least as long as heating and soaking combined.



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Continuous annealing is done in large furnaces in which the steel coil is threaded vertically around rollers
located at the top and bottom of the furnace. Thus, the residence time of the steel in the furnace is
dramatically increased as it passes continuously through the furnace. A typical, continuous annealing
furnace will have several zones including a gas-fired heating zone, a heated holding zone, a heated slow
cooling zone, and a fast cooling zone. Steel coil will thread through these zones at a rate of about 1,500
ft/min. Threading back and forth, the steel will make multiple passes through the heating zone in about 20
seconds. Subsequently, it will be cooled to about 1000 ℉ in the slow cooling zone and then to 240 ℉ in the
fast cooling zone. The entire process takes about 2 minutes and is carried out in an atmosphere of nitrogen
(95 percent) and hydrogen (5 percent).

1.2.6.2    Potential for NOX Reduction
Low NOX burners are potentially feasible on both continuous and batch annealing furnaces, but the
emissions reduction potential and the impacts to operations are unclear.

SCR is technically infeasible on a batch furnace due to the substantial temperature fluctuations in the
exhaust gases.

SCR is technically feasible on an annealing furnace, but not cost effective. Most annealing furnaces with SCR
have been designed to use SCR originally. Very few annealing furnaces have been retrofitted with SCR, and
managing temperatures in the proper range with a retrofit unit is difficult and can require combinations of
air tempering, water quenching, and natural gas preheating, depending on several factors including the
thickness and width of the steel strip passing through the furnace and also dependent on stage of
operations.

Trinity completed a control cost effectiveness analysis on the Irvin open coil annealing furnace, which
showed that the SCR cost effectiveness would be at best $28,523 (2021$).

1.2.6.3    EPA’s Proposed Emission Limit is Not Feasible
The base case 0.0915 lb/MMBtu limit is from a 2021 BACT analysis, and is the lowest possible emission rate
that could be identified as RACT even-though this is BACT, not RACT.

SCR is not technically feasible on a batch annealing furnace, and on a continuous annealing furnace the
annual cost effectiveness is at best $28,523/ton.

EPA has erroneously found that cost-effective emission reductions are available at an annealing furnace by
mis-using the EPA CoST model. The only underlying studies that attempted to calculate steel costs for SCR
on an annealing furnace is the 1994 ACT study and the 2005 MRPO study.

In the 1994 ACT study, EPA noted that there may be problems in installing SCR at existing furnaces, but for
new installations estimated annual cost effectiveness up to $11,000/ton for SCR (1994$), and up to
$5,000/ton for LNB/SCR (1994$), which would equate in 2022$ to approximately, $22,000/ton and
$10,000/ton.

The 2005 MRPO study values (in 2005$) for SCR range from $7,566-$13,762/ton for annealing furnaces,
with numerous caveats about the generic assumptions and how site-specific variations could result in
substantial cost or feasibility differences. When adjusted to 2016$ consistent with the proposed rule via a
consumer price index ratio of 1.2, the 2005 MRPO cost range is from $9,079-$16,514/ton. Even without
considering the various site-specific caveats in the 2005 MRPO document, and without adjusting the $/ton


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to reflect ozone-season only operation (with all the capital costs but only 5/12 of a year of operating time
and emissions reductions), the absolute minimum cost from the 2005 MRPO report is well beyond the listed
maximum cost-effectiveness threshold of $7,500 ton in the proposed rule.

Regardless of the variations between these estimates, all of the estimates are substantially above the
maximum cost effectiveness threshold in the proposed rule of $7,500/ton.

1.2.7     Vacuum Degasser

1.2.7.1    Description
Vacuum degassers (VDGs) are used in the steel industry to remove undesirable gases from molten steel
prior to casting to produce the desired properties of the finished steel products. Specific gases to be
removed can include hydrogen (H2), oxygen (O2), and nitrogen (N2) dissolved in the liquid metal. They are
also used to reduce the carbon content of the steel prior to casting to produce an ultra-low carbon product.

The gases are removed by reducing the pressure above the liquid metal surface to a low value typically 0.5
– 1.0 mmHg (torr). This is accomplished by placing the metal ladle in a degas tank and withdrawing air from
the tank using a vacuum pump (liquid ring pump), mechanical vacuum pump, or steam ejectors. The
process is typically a batch process lasting about 20 minutes in duration depending on heat size. A hard
vacuum is held for about 5 minutes during which argon is injected through the ladle bottom. Stirring the
metal with argon allows the dissolved gases to be released at the surface of the metal. The vacuum is then
released to close to atmospheric pressure and alloy additions added by chute or on wire feeder. During this
process, the metal temperature decreases and reheating can be required in a ladle metallurgical furnace
(LMF) before casting.

Gas volume exhausted from the degas tank vary over the degas cycle (e.g., 250 ACFM to 3,000 ACFM)
depending on specific product specifications required and degasser equipment design.

Particulate matter (PM) generated by alloy additions are typically removed by a fabric filter or cyclone before
entering the vacuum pumps or steam ejectors. Steam ejectors are the most common type of degas vacuum
pump used.

During degassing, dissolved oxygen in the liquid metal reacts with carbon and forms CO. If the process is to
be operated to prevent carbon reaction, additions are made to the metal to consume oxygen to prevent
release of dissolved oxygen to prevent CO formation.

A flare is used to combust the CO. In these systems, air is introduced with natural gas or clean desulfurized
coke oven gas to supplement ignition of the flare. The higher heating value (HHV) of the process gases
must be higher than 250-300 BTU/SCF to support the operation of the flare.

NOX is not expected to be formed in the degas tank due to the gas conditions (low oxygen) and non-contact
of tank gases with the metal. NOX however can be formed in the flare flame. NOX is not directly measured
but can be estimated using emission factors.

1.2.7.2    Potential for NOX Reduction
The application of NOX control technology is not necessary due to low NOX emissions nor feasible for the
vacuum degasser source category due to the cyclic nature of the process and variable gas flow conditions
(i.e., gas volume, temperature, and low NOX concentrations in process gases).


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► NOX is not generated in the process and NOX control cannot be applied.
► NOX is generated by the flare when CO abatement is required and is a function of adiabatic flame
   temperature which is related to excess air, fuel usage, and flare design.
► NOX emissions are typically estimated using emission factors derived from petrochemical operations and
   not directly measured.

1.2.7.3    EPA’s Proposed Emission Limit Is Not Feasible
The base case 0.05 lb/MMBtu limit is from two permits (neither of which are included in the docket) and
believed to be BACT analyses; BACT analyses represent the lowest possible emission rate that could be
identified as RACT.

SCR is not technically feasible due to the NOX formation occurring at a flare, which is not contained.

EPA’s assumption of a 40% reduction using add on-control technologies is not supported by any technical
analysis for a vacuum degasser – there is no technical analysis in the docket or in references used as the
basis for CoST and MCM for vacuum degassers. In addition, EPA has erroneously found that cost-effective
emission reductions are available at vacuum degassers by mis-using the EPA CoST model. See the
discussion on blast furnace stove references.

1.2.8     Ladle Metallurgy Furnace

1.2.8.1    Description
Ladle metallurgical furnaces (LMF) are used in the steel industry to increase the liquid metal temperature for
casting and to produce steel grades by adding alloys. After production in an electric arc furnace (EAF) or
basic oxygen furnace (BOF), the ladle is covered by a water-cooled hood, and three-phase electrodes are
inserted through the hood into the liquid. Electric energy is applied to achieve the required metal
temperature. Alloys are injected through chutes or through wire feeders to adjust the metal chemistry for
the product being produced.

Emissions from the heating and chemical reactions are vented through the area surrounding the electrodes
and captured by a hood. The volume of air withdrawn for fume capture is much higher than the volume
evolved from the vessel and therefore the gas temperature is low in the exhaust gas. The process is batch
typically lasting 20 to 40 minutes. Generation of NOX emissions is very low since there is no combustion
source other than consumption of the electrodes by oxidation with oxygen in capture air.

1.2.8.2    Potential for NOX Reduction
The gas temperatures and low NOX concentrations are not consistent with application of selective catalytic
reduction (SCR). The gas would require reheating using direct combustion of natural gas for SCR to be
feasible.

As noted before, there is no fuel combustion taking place at the LMF, therefore there is no use for low NOx
burners.

Trinity completed a control cost effectiveness analysis on the Gary Works LMF, which showed that the SCR
cost effectiveness would be at best $1,733,478/ton (2021$). The natural gas combustion required for
reheating the exhaust gas would result in an additional 23 tpy of NOX which is more than the total NOX


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emissions from the LMF, as well as 27,612 tpy of additional CO2. Additionally, the concentration of NOX in
the gas stream would be very low such that it may be below the minimum level for an SCR to achieve
reductions.

1.2.8.3    EPA’s Emission Limit is Not Feasible
Low NOX burners are not technically feasible. EPA’s reference to low NOX burners in the non-EGU TSD
represents a misunderstanding of LMF process operations by EPA. In addition, SCR is not cost effective.

EPA’s assumption of a 40% reduction using add on-control technologies is not supported by any technical
analysis for an LMF – there is no technical analysis in the docket or in references used as the basis for CoST
and MCM for LMF. EPA has also erroneously found that cost-effective emission reductions are available at
LMF by mis-using the EPA CoST model. See the discussion on blast furnace stove references.

In addition, EPA does not cite a basis for the 0.2 lb/ton reference value and cannot use an un-cited value as
the basis for an emission limit. Instead, EPA only generically refers in the non-EGU TSD to

            EPA considered a range of baseline emission data and current permit limits from
            0.20 lb/ton to 0.35 lb/ton.

Because EPA does not cite a basis for the 0.2 lb/ton emissions level, it is not possible to review the validity
of that value, nor the operating conditions under which that value was obtained. Without such
documentation, EPA cannot use the 0.2 lb/ton value as the basis for an emissions limit.

1.2.9     Coke Ovens

1.2.9.1    Description
The U. S. Steel Clairton Coke ovens are used to produce metallurgical coke from bituminous coal by indirect
heating to remove volatile fractions of the coal. The coal is charged to ovens and heated for 18 to 24,
hours, or more depending on coke demand, during which the off-gases are vented to a collection main and
transported to a state of the art gas cleaning system, after which particulate matter (PM), ammonia, sulfur,
and heavy organics are removed producing a “clean” coke oven gas (COG). The cleaned COG is primarily
methane with other hydrocarbons and has a heat value of approximately 500 BTU/SCF.

The coke oven designs employed by U.S. Steel are the byproduct recovery type coke ovens. The byproduct
recovery process removes ammonia, light oils, benzene, tars, and H2S limits the potential SO2 formation
during COG combustion and removes nitrogen bearing organics which would increase NOX formation as fuel
NOX. One distinct difference between by-product recovery coke ovens and non-recovery coke oven is the
COG at non-recovery coke ovens is processed to remove particulate but hydrocarbons, H2S and nitrogen
bearing components are not removed.

In a non-byproduct recovery coke oven, combustion of the COG can generate significant concentrations of
SO2 and fuel NOX; removal of the byproducts in a byproduct recovery coke oven as at U. S. Steel results in
far lower SO2 and fuel NOX from COG combustion.

After coking the coke is pushed into a hot car and transferred to a quench tower where direct contact with
water reduces the coke temperature to prevent combustion with ambient air. The exposure of the hot coke
during pushing generates PM emissions which are captured and vented to PM control systems consisting of
a fabric filter baghouse. The gases are cooled using dilution air before entering the fabric filter. Since the


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coke oven heating is a batch process, lasting approximately 2 minutes per push and on average 6-8 pushes
an hour, the volume and temperature of the push gases are variable.

Pushing emission controls can include Minister Stein type (i.e., moving hoods), fixed hoods, scrubber cars,
or sheds. U.S. Steel operates 10 coke batteries with movable hoods and one shed. Volume of capture gases
and gas temperatures are specific to each battery and dependent on oven size.

Minimal fugitive NOX emissions are generated by combustion of coal particles during coal charging. Coal is
charged into the ovens through four charging ports per oven. A Larry Car is used to transport coal from the
coal hoppers to each oven. When the Larry Car charges an oven, the lids are removed from the charging
ports and drop legs are lowered from the Larry Car to the charging port, covering the charging port. The
coal is then systematically fed into an empty oven. This process takes approximately 5 minutes. Any
emissions from the charging process are fugitive emissions. NOX emissions from the process are minimal.
There are no gas collection systems suitable for any NOX controls.

1.2.9.2    Potential for NOX Reduction
Theoretically SCR could be applied to the pushing control gases after the fabric filter, but the gases would
require reheating to the activation temperature using natural gas combustion at significant cost. In addition,
the NOX emissions rate for pushing is expected to be low, decreasing control effectiveness.

Trinity calculated cost effectiveness for potential application of SCR at the Clairton C Battery coke pushing,
after the baghouse. The minimum annual cost effectiveness would be $3,121,677/ton (2021$), with 72 tons
of NOX formed from combustion of natural gas to reheat the exhaust gas, as well as approximately 87,000
tpy of added CO2.

U. S. Steel is not aware of SNCR or SCR being applied to coke oven pushing or charging emissions for coke
batteries.

1.2.9.3    EPA’s Proposed Emissions Limits are Not Feasible
There are no potential NOX controls for charging. SCR is a potential NOX control for pushing, but is not cost
effective. EPA’s assumption of a 50% or 25% reduction using add on-control technologies is not supported
by any technical analysis for coke charging or pushing – there is no technical analysis in the docket or in
references used as the basis for CoST and MCM for coke charging or pushing. See the discussion on blast
furnace stove references. In addition, EPA has erroneously found that cost-effective emission reductions are
available at coke oven charging and pushing by mis-using the EPA CoST model. See the discussion on blast
furnace stove references.

Trinity was unable to locate a 0.3 lb/ton coke charging emission factor in AP-42, and EPA does not cite a
specific reference. Because EPA’s basis for the 0.3 lb/ton emissions level cannot be identified, it is not
possible to review the validity of that value, nor the operating conditions under which that value was
obtained. Without such documentation, EPA cannot use the 0.3 lb/ton value as the basis for an emissions
limit. In addition, EPA must recognize that there are substantial differences between by-products coke oven
batteries and non-recovery batteries operations.

Finally, EPA’s basis for the 0.02 lb/ton factor is a recent BACT limit, and is the lowest possible emissions rate
that can be identified as RACT even though this is a BACT limit and not RACT.




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1.2.10 Boilers—Coal, blast furnace gas, coke oven gas

1.2.10.1 Description
Boilers operated at integrated iron and steel facilities and coke oven facilities are multi-fuel fired. Due to the
age of the facilities the boilers are from different manufacturers and design (fuels used, heat release rate,
and burner configuration, etc.). For these reasons, the expected NOx emission rate will vary from unit to
unit burning the same fuel or fuel mixture.

In general, these boilers fire a primary fuel such as BFG or COG gas depending on boiler location,
availability of fuel and quantity with natural gas as a flame stability fuel to maintain positive ignition. The
boilers due to plant operation are defined as swing load with variable steam demand and therefore variable
fuel firing input. Excess air is variable for each fuel type to complete combustion and therefore the flue gas
volume will not be constant. The F-factor (which relates heat input to exhaust volume) for each of the fuels
is significantly different depending on gas composition. BFG contains a high concentration of inert gases
(CO2, N2) and a low HHV (less than 1/10th of NG) which requires a higher combustion air volume, and BFG
burns with a low adiabatic flame temperature.

1.2.10.2 Potential for NOX Reduction
Boilers were previously analyzed for NOX reductions in multiple studies for U. S. Steel.

► RACT
   Edgar Thompson (BFG and COG-fired) – AMEC Environmental and Infrastructure, April 1, 2014
   Irvin (COG-fired) – AMEC Environmental and Infrastructure, April 1, 2014
► BART
   Clairton – Trinity, March 31, 2022

For the boilers, SCR and SNCR were determined to be technically feasible, but not cost-effective. In the
2022 BART, SCR annual cost effectiveness was at minimum $20,873/ton on Boiler 2, and more expensive on
others. The Irvin RACT had similar values, with SCR at ranges of $21,562-$21,778/ton (2014$). Edgar
Thompson RACT was somewhat less expensive at $9,285/ton (2014$). All of these values are on an annual
basis, and if evaluated for ozone season only, would be appreciably higher. However, even when considered
on an annual basis, each of these cost effectiveness values is well above the $7,500/ton threshold EPA used
in the proposed rule.

1.2.10.3 EPA’ Proposed Emission Limits are Not Feasible
As noted, neither SCR nor low-NOx burners are cost effective options for achieving the emission limits
proposed by EPA.

Additionally, the low 0.2 lb/MMBtu emission rate EPA proposes for BFG and COG boilers is well below the
emission rates established in recent RACT determinations, which were 0.48 lb/MMBtu (No. 1) and 0.37
lb/MMBtu (No. 2) each on a 30-day rolling average.11




11 Table V-A-1, RACT Installation Permit, ACHD # 0052-I020b, Clairton, April 24, 2020.



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              1.3     Limit applicability to individual units with PTE > 100 tpy
EPA focused the review for the rule on emission units emitting over 100 tpy.12 However, EPA is unclear
between the preamble and proposed rule regarding just which units the rule are subject to. Additionally,
EPA inappropriately includes minor emission units for additional control in the BOF Shops.

In the preamble for steel, EPA states the following regarding applicable units.

               The EPA is proposing to establish regulatory requirements for the Iron and Steel Mills
               and Ferroalloy Manufacturing source category that apply to emissions units that
               directly emit or have the potential to emit 100 tpy or more of NOX and to facilities
               containing two or more such units that collectively emit or have the potential to emit
               100 tpy or more of NOX.
               [87FR20145]

The proposed rule limits aggregation of units to compare against the 100 tpy threshold to the BOF Shop
only.

               The requirements of this section apply to each new or existing emissions unit at an
               iron and steel mill or ferroalloy manufacturing facility that directly emits or has the
               potential to emit 100 tons per year or more of NOX, and to each BOF Shop
               containing two or more such units that collectively emit or have the potential to emit
               100 tons per year or more of NOX…
               [proposed 40CFR52.43(b)]

Based on a phone conversation between Trinity and EPA, EPA’s intent in the proposal is represented by the
proposal language, where only units within the BOF Shop are aggregated; the EPA suggested that the
conflicting language between the preamble and the proposed regulation may have been a carryover from an
earlier draft, as EPA staff had been debating just which iron and steel emission units should be
aggregated.13

EPA should instead limit the regulation only to individual emission units with PTE over 100 tpy, rather than
aggregating additional units within the BOF Shop. EPA’s definition of BOF Shop follows:

               BOF Shop means the place where steel making operations occur, beginning with the
               transfer of molten iron (hot metal) from the torpedo car and ending just prior to
               casting the molten steel, including hot metal transfer, desulfurization, slag skimming,
               refining in a basic oxygen process furnace, and ladle metallurgy.
               [proposed 40CFR52.43(a)]

Based on review of U. S. Steel operations, units that would be included in a BOF Shop are:

►     BOF furnace
►     Ladle metallurgy furnace (LMF)
►     Vacuum degassers
►     Ladle preheaters


12
     87FR20083
13
     Phone conversation and email between Dylan Mataway-Novak (EPA OAQPS) and Russell Bailey (Trinity), May 23, 2022.

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As discussed in Section 6.2 regarding individual units, the LMF, vacuum degassers, and ladle preheaters are
small emission units and are operationally distinct from the BOF furnace. These three small emission unit
types are often present at facilities outside of the BOF Shop also (such as at EAF facilities), and EPA lists no
rationale in the proposed regulation for why these three small emission units should be aggregated with the
BOF furnace in determining applicability.

EPA should limit the regulation only to individual emission units with PTE over 100 tpy.


 1.4     Development of an emissions control plan requires at least 24 months
                        rather than the 180 days as proposed
The proposed rule requires that affected facilities submit an emissions control plan (“work plan”) with 180
days of the effective date of the rule.

            If you are the owner or operator of an affected unit [other than a taconite kiln], you
            must submit to EPA a work plan for each affected unit within 180 days of the
            effective date of this rule identifying how each affected unit will comply with the
            emissions limits set forth in Table 1 to paragraph (c) of this section. Each work plan
            must include identification of the control device selected and the phased construction
            timeframe by which you will design, install, and consistently operate the device.
            [proposed 40CFR52.43(d)(A)

Here again as frequently throughout this proposed rule, EPA has modeled requirements for highly variable
non-EGUs based on prior experience with EGUs. EPA has proposed a time period that may be appropriate
had the required control device actually been installed on numerous facilities, and had those emission units
actually demonstrated that the limits can be achieved (such as in the EGU sector). For the steel industry,
neither is true, and 180 days is unrealistic and inadequate. Significant engineering assessments would be
required in the event EPA moves forward with the proposed rule.

As discussed earlier, the only iron and steel emissions unit where the proposed control technology (SCR)
has even been demonstrated has been on annealing furnaces, and even in that category there have been
very few installations, and even fewer retrofits. For the remaining emission units, EPA has proposed
emission limits based on installation of post-combustion control devices on these units, and there have been
zero such installations that have occurred.

EPA should revise this condition to allow a minimum of 24 months to develop an emissions control plan.


     1.5      Implementation of the proposed control technologies cannot be
                       completed prior to the 2026 ozone season
As with the emissions control plan requirement, EPA made unrealistic time estimates for installation of
control technologies in the steel sector, again significantly based on prior experience with EGUs. In the
proposed rule, EPA is proposing that the steel sector units can install post-combustion emissions controls as
fast as the EGU sector, which is unrealistic and would be devastating to steel production.

As EPA has noted in numerous prior EGU rules, electricity is fungible – should an individual EGU be offline,
in nearly all cases other EGUs can provide sufficient electricity to the electrical grid to offset the loss from a
single EGU. Iron and steel production facilities, including boilers at these facilities, are not fungible.


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In most cases, should an emissions unit proposed to be regulated under this rule be offline, that entire
section of the steel mill would also be offline. Very few steel plants have redundant steel shops, and in most
cases when a key production unit is offline, that entire section of the plant is offline.

Assuming parts are available (which is not the current case with the supply chain), installing controls would
require a minimum of 36 months IF there were other examples of that control be applied to that type of
emissions unit (12 months to design, 18 month design end to installation end, 6 month commissioning), and
that is per emissions unit. At a site with some redundancy, for example Gary Works, there are eight boilers
potentially subject to this rule, which would lengthen the default 36 month period significantly (all eight
boilers are not the same design and all eight boilers cannot be shut down at the same time for installation).
And the timing for the installation of this equipment must be viewed against the realities of the worldwide
supply chain issues, which only will be compounded by the multiple industries to be regulated in the
proposed rule and the overlap in demand design services, equipment and construction services.

Because it is unrealistic and infeasible to install all of the proposed controls prior to the 2026 ozone season,
EPA must revise the proposed rule to include a much longer timeframe for compliance. Additionally, because
EPA’s Step 2 finding that states contribute significantly is based on an analysis of 2026, and because the
controls could not be installed by 2026, EPA must re-evaluate whether non-EGU emissions contribute
significantly at a later time period (such as 2032 as EPA considered in development of the proposed rule).


     1.6     The compliance demonstration method should be stack testing (with
                               an implicit 3-hour average)
As written, the proposed steel rule (4 0CFR 52.43) references both a 3-hour average and a 30-day rolling
average as the compliance method. Based on discussion with EPA staff, the intent of the proposed rule was
to require a 3-hour averaging period using CEMS.14

The compliance demonstration method for the steel emission units should be stack testing, which has an
implicit 3-hour average.

Installation costs of CEMs on units could cost up to $1M+ each, along with at least $50,000 in annual
compliance costs related to each CEMS’ maintenance and QA checks.


       1.7    If CEMS are required, the averaging period should be on a 30-day
                                       rolling average
EPA has learned that for general emissions units, a 3-hour average is so short as to be unstable in
demonstrating compliance. In the boiler world, EPA did issue one NSPS that uses CEMS and has a 3-hour
average basis for the limit, which was NSPS Subpart D in 1974. Four years later, in 1978, EPA moved away
from a 3-hour average to a 30-day rolling average basis with the new boiler NSPS Subpart D, and six years
later in 1984 EPA maintained that 30-day rolling average basis with NSPS Subpart Db. Similarly, the relevant
boiler NESHAP (Subparts DDDDD and UUUUU) also use a 30-day rolling average basis when a CEMS is the
compliance method.




14
     Phone conversation and email between EPA OAQPS and Trinity, May 23, 2022.

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For the same reasons as for boilers, a 3-hour average limit for steel emissions unit using CEMS is
inappropriate. For any emissions unit where EPA requires CEMS, the averaging period should be analogous
to the NSPS Subpart Da/Db approach, where 30 operating days of data are averaged for comparison to the
limit.


    1.8     A lb/MMBtu emissions limit is complex for a COG or BFG-fired unit
                                      using CEMS
EPA has proposed lb/MMBtu emission limits for multiple steel emission units that fire a range of fuels
consisting of natural gas, COG and BFG. To calculate a lb/MMBtu limit, the F-factor of the fuel as fired must
be determined (where the F-factor relates the volume of combustion exhaust to the heat input of a certain
fuel, all at stoichiometric conditions).

Where an emissions unit fires COG and/or BFG as part of the fuel mix, there is not a constant F-factor. In
fact, the F-factor for COG and BFG each varies significantly from the F-factor for natural gas. EPA does
provide procedures for developing a custom F-factor that involves obtaining a proximate and ultimate
analysis of the fuel as-fired.

It is straightforward to compare against a concentration-based NOX limit (parts per million by volume, or
ppmv), as no F-factor is needed. And it may be feasible to obtain a single F-factor during a 3-hour stack test
that could be used to convert to lb/MMBtu for that test. However, it is complex to obtain customized F-
factors on an hourly basis to be added to the data acquisition and handling system (DAHS) to convert ppmv
to lb/MMBtu.
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        APPENDIX A. SUMMARY OF KEY EPA STEEL REFERENCES CITED AS
                                                  BASIS FOR CoST




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► EPA 1994e
       A steel-specific analysis
       U.S. Environmental Protection Agency, Emissions Standard Division, Office of Air Quality Planning and
        Standards, "Alternative Control Techniques Document-- NOx Emissions from Iron and Steel Mills,"
        EPA-453/R-94-065, Research Triangle Park, NC, September 1994.

► EPA 1998e
       Less important but often cited by EPA
       A first attempt by EPA at assessing non-EGUs with respect to ozone
       Pechan, 1998: E.H. Pechan & Associates, Inc., "Ozone Transport Rulemaking Non-Electricity
        Generating Unit Cost Analysis," prepared for U.S. Environmental Protection Agency, Office of Air
        Quality Planning and Standards, Innovative Strategies and Economics Group, Research Triangle Park,
        September 1998.

► Non-EGU TSD Reference 44
       Cited as an input to EPA2010b
       Midwest Regional Planning Organization (MRPO). 2005. Iron and Steel Mills Best Available Retrofit
        Technology (BART) Engineering Analysis, prepared by MACTEC

► EPA 2010b
       The most recent steel-specific analysis by EPA
       EPA, 2010: "NOX CONTROL STRATEGIES IN THE IRON AND STEEL INDUSTRY (11-11-10).pdf", pdf
        document provided by Donnalee Jones (jones.donnalee@epamail.epa.gov) via email to Amy Vasu
        11/16/10.
       Trinity obtained two related additional file from Ms. Jones as part of our search for references15
         The 1994 Alternative Control Techniques document mentioned above
         NOx Control Technology from Iron and Steel Plants-05-03-10-send.pdf, which appears to be a
            peer review of the EPA 2010b document.

EPA 1994E

EPA’s 1994 Alternative Control Techniques (ACT) document for steel assessed NOX emission controls on two
types of steel emission units included in the proposed rule: reheat furnaces and annealing furnaces, with
the following types of control identified on each.

Reheat furnaces
► Low excess air (LEA)
► Low NOX burners (LNB)
► Flue gas recirculation (FGR)

Annealing furnaces
► LNB
► FGR
► SCR




15
     From an email to Joshua Lee (Trinity) from Donnalee Jones (EPA), May 24, 2022
I think I found it. I also found a couple of other documents that might be useful also, especially the other one
from 2010. I have no other documentation than what’s in each document.

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    Reheat furnaces
    EPA noted that major modifications to furnace structure and refractories in some existing reheat
    furnaces. EPA estimated cost effectiveness of emission these technologies at a range of costs up to
    approximately $1,000/ton (1994$), which is approximately $2,000/ton in 2022$ based on the difference
    in CPI.

    Annealing furnaces
    EPA noted that one unit was operational with SCR, and that three were under construction. EPA noted
    that there may be problems in installing SCR at existing furnaces. While EPA does not discuss
    continuous versus batch annealing, Trinity believes that the focus of the document was on only
    continuous annealing units.

    EPA estimated cost effectiveness at up to approximately $2,000/ton for LNB/FGR (1994$), up to
    $11,000/ton for SCR (1994$), and up to $5,000/ton for LNB/SCR (1994$), which would equate in 2022$
    to approximately $4,000/ton, $22,000/ton and $10,000/ton.

EPA 1998E

EPA’s 1998 ozone non-EGU analysis appears to be the first time that EPA attempted to consider potential
non-EGU controls with respect to development of the NOX SIP Call.

The 1998 non-EGU document, like the EPA1994e, considered reheat and annealing furnaces. Ozone season
cost effectiveness was calculated in 1990$.

Reheat furnace - $700-$900 /ton for LNB and/or FGR
Annealing furnace - $1,350-$9,070/ton for mixes of LNB, FGR and SCR

Adjusting to 2022$ would roughly double the $/ton values listed in the report, to $1,400-1,800 and to
$2,700-18,140.

It is unclear how much independent research was completed for the steel industry sources. However, the
following quotes from the document are germane.

            It should be noted that although the control technologies selected for use here are
            generally technically feasible, certain instances are likely to exist where installation of
            a control is much more problematic, and hence, expensive than the existing cost
            data suggest. In some instances, site-specific characteristics may result in lower
            costs, although it is possible that the bias here is low (e.g., costs will be higher than
            estimated). In some cases it is also possible that the control technology is not
            technically feasible.
            [Page 21]

            Because there are more NOX emitting source types than there is documented control
            technique and cost information, some assignments of control efficiency and cost
            information were made based on like processes being able to be controlled via like
            control options. This may overstate the NOX reductions that might be achieved using
            today’s technology.
            [Page 61]



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2005 MRPO BART

MACTEC developed $/ton NOX estimates for model sources, while noting that site-specific factors can
significantly impact the installed costs of pollution control equipment.

Of particular relevance is the lack of consideration of gas stream requirements required by an SCR system.

              Potential site-specific costs not included but that may be necessary are additional
              particulate removal equipment and ductwork for a control equipment bypass. If
              mechanical cleaners are not present, additional gas cleaning may be needed for SCR.
              Some gas cleaning typically occurs at iron and steel plants. Fuel fired emission units
              often have bypasses on SCR systems to protect them during startup, shutdown, and
              malfunction conditions, which could damage the SCR catalyst. As mentioned in the
              technical feasibility step of the evaluation, if the temperature range is not met by the
              fuel fired emission unit, modifications would be required to either reduce (for units
              with temperatures higher than the required catalysts) or increase the boiler gas
              temperature. Our costs do not include estimates for reheating or providing make up
              air at lower temperatures to meet the required temperature levels for the SCR to
              operate. In the case where more heat was required to reach the catalyst
              temperatures, an actual design would most likely include a duct burner to re-heat
              the gas stream and a heat exchanger for heat recovery. In this case gas re-heat is
              required because the exhaust gas is too cool for SCR operating temperature. In
              addition to a heat exchanger, this option could incur significant costs for duct work
              and larger air blowers. The potential for fouling the exchanger from dust should also
              be evaluated. Each facility will have to determine if this option is feasible on a site-
              specific basis.
              [Page 32]

The only steel-specific unit for which NOX costs were estimated by MACTEC is furnaces. While not defined
explicitly, when read in context Trinity believes these cost estimates are intended to be applicable to the
same furnaces as evaluated in EPA’s 1994 ACT report (EPA 1994e).

Costs for furnaces were estimated as follows (presumed 2005$/ton). The range shown is MACTEC’s
estimate of a low capital cost versus a high capital cost.

Furnaces
► LNB: $2,813-$5,687
► LNB+FGD: $4,205-$9,186
► SCR: $7,566-$13,762
► ULNB16+SCR: $8,581-$13,114

When converted to 2022$, the 2005$ are multiplied by approximately 1.5.

MACTEC concluded its model plant assessment by recommending either LNB or ULNB as BART. As noted in
the conclusions:




16
     Ultra low NOX burners

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Trinity Consultants                                                                                           A-4
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            In general we proposed ULNB or LNB for NOx control primarily because the costs for
            these controls are significantly lower than other methods and the marginal
            improvements in control efficiency are generally not as cost effective.
            [Page 48]

EPA 2010B

EPA 2010b is the most recent steel-specific document references by MCM or CoST, and Trinity obtained
both this document as well as a May 2010 document that appears to be a peer review of an earlier draft of
EPA 2010b. EPA 2010b concludes its narrative with the following statement:

            To capture NOx emissions from this industry, the most likely opportunity is to retrofit
            low NOx burners into gas fired equipment.
            [EPA 2010b, Page 1]

An estimated costs page is provided on Page 2 of EPA 2010b, showing SCR costs by CMDB Control
Abbreviation, on a 2006$/ton basis.

SCR - $5,970-$7,679
LNB - $2,889
LNB+SCR - $3,964

There is no accompanying analysis to show how these values were derived. However, they are very close to
the lowest cost values listed in the 2005 MRPO BART analysis. Trinity believes that the $/ton values are
likely derived from the 2005 MRPO BART analysis, and for unknown reasons the creator of EPA 2010b
selected the lowest potential cost for each technology.

The source categories for EPA 2010b are unclear and generic consistent with definitions in CMBD and MCM.
As such, it is not clear whether EPA intends the EPA 2010b to be limited to the same types of units as
EPA1994e or the 2005 MRPO BART analysis.

In the accompanying May 2010 peer review, the $/ton estimates from CoST are compared to the $/ton
estimates from the 2005 MRPO BART analysis and EPA 1994e (1994 ACT). The $/ton values from CoST are
appreciably lower than the other two reference sources. There is no discussion of the difference between
CoST and the other two references, but there is a quote between the CoST data table and the other
reference tables that appears to reference the cost difference.

            The costs for Iron and Steel are expected to be highly site-specific and variable
            depending on the size of the combustion or process unit. Consequently, it is
            uninformative to present a single cost effectiveness number unless it incorporates a
            scaling factor.




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                                       APPENDIX B. SELECTED EPA CoST REFERENCES
                                                        NOT INCLUDED IN DOCKET

                                                                MCM Reference EPA2010b and related files

                                                                               Non-EGU TSD Reference #44


                                                       The 1994 EPA Iron and Steel ACT document is included in
                                                             the docket and not provided with these comments.
                                                                                 EPA-HQ-OAR-2021-0668-0038
                                                                    (MCM EPA 1994e, CoST Reference 308, and
                                                                     Non-EGU TSD citations 34, 36, 43, 49, 50)


                                                       The 1998 Pechan document is in a prior rulemaking docket
                                                                                 EPA-HQ-OAR-2001-0008-0321
                                                                         and not provided with these comments
                                                                        (MCM EPA 1998e, CoST Reference 289)




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                                    APPENDIX C. EPA MENU OF CONTROL MEASURES
                                                    FOR STEEL SOURCE CATEGORY




U. S. Steel / Comments on Proposed Good Neighbor FIP
Trinity Consultants                                                                      C-1
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Russell Bailey

From:               Joshua Lee
Sent:               Wednesday, May 25, 2022 11:07 AM
To:                 Russell Bailey
Subject:            FW: EPA 2010b
Attachments:        noxcontrolreview-11-11-10-send.pdf; NOx Control Technology from Iron and Steel Plants-05-03-10-
                    send.pdf; NOX-ACT-steel-1994.pdf




From: Jones, DonnaLee <Jones.Donnalee@epa.gov>
Sent: Tuesday, May 24, 2022 11:25 AM
To: Joshua Lee <Joshua.Lee@trinityconsultants.com>
Subject: RE: EPA 2010b

I think I found it. I also found a couple of other documents that might be useful also,
especially the other one from 2010.

I have no other documentation than what’s in each document.

Regards,
Donna Lee Jones, Ph.D.
Senior Technical Advisor, Metals Sector
U. S. Environmental Protection Agency
Office of Air Quality Planning and Standards
Sector Policies and Programs Division / Metals & Inorganic Chemicals Group (D243-02)
Research Triangle Park, NC 27711 Tele: (919) 541-5251 Fax (919) 541-3207
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
"Reasonableness never fails to be appreciated." - anon.

Pronouns - She/Her/Hers
Salutation - Dr./Ms.

From: Joshua Lee <Joshua.Lee@trinityconsultants.com>
Sent: Tuesday, May 24, 2022 11:43 AM
To: Jones, DonnaLee <Jones.Donnalee@epa.gov>
Subject: EPA 2010b

Hello Dr. Donnalee Jones,

The following is the information I was talking about on the phone regarding the document I am looking for:

      EPA, 2010: "NOX CONTROL STRATEGIES IN THE IRON AND STEEL INDUSTRY (11‐11‐10).pdf", pdf document
       provided by Donnalee Jones (jones.donnalee@epamail.epa.gov) via email to Amy Vasu 11/16/10.

This is found on the EPA menu of control measures excel sheet with the key “EPA 2010b” in the references tab. The link
to the sheet from online is attached below.
                                                           1
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https://www.epa.gov/sites/default/files/2016‐02/menuofcontrolmeasures.xlsx

If you could please send me this document when you get the chance that would be great. Thanks,

Joshua Lee
Intern

P 636.256.7200
Email: Joshua.lee@trinityconsultants.com




                                                         2
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               Control Technology for NOx Emissions from Iron and Steel Plants

  •   Have we properly characterized available NOx controls?

         o   Low NOx Burners (LNB)
         o   LNB with Flue Gas Recirculation (FGR)
         o   LNB with Selective Non-Catalytic Reduction (SNCR)
         o   Ultra-Low NOx Burners (ULNB)
         o   ULNB with Selective Catalytic Reduction (SCR)
         o   SCR

  Response: Yes, for the most part (descriptions of these technologies are included in
  Appendix A). These technologies are applicable to the various types of reheat, annealing, and
  other gas-fired furnaces used at steel plants, as well as boilers. A review of Title V permits
  indicates that the most common NOx controls used are low-NOx burners (LNB). Few of the
  other technologies are currently applied.

  Aside from the heating furnaces and boilers, which are primarily combustion units, other
  sources of NOx include coke plant underfiring stacks, sinter plants, blast furnaces, and
  steelmaking furnaces. (A discussion of NOx control for electric arc furnace (EAF) steelmaking is
  given in Appendix A.) Based on our study of two steel mills and a coke plant in the Detroit area
  (Reference 1 below), we concluded the following:

  “The BART analysis concluded that low-NOx burners and ultra-low NOx burners represented
  BART for iron and steel sources. As shown in Table 6-2, these controls are cost-effective. Our
  survey of the three plants indicated that NOx controls were not widely implemented. The EES
  Coke battery’s underfiring system is equipped with staged heating and flue gas recirculation to
  reduce NOx emissions. U.S Steel’s continuous galvanizing line is equipped with selective
  catalytic reduction to reduce NOx emissions. In addition, Severstal plans to install low-NOx
  burners on their blast furnace stoves.”

  The table below from the Detroit study shows the major contributors to NOx emissions at
  integrated iron and steel plants. The reheat and other furnaces are a primary contributor, along
  with boilers, blast furnace (BF) stoves, basic oxygen furnaces (BOFs) used to make steel, and the
  coke oven combustion (or underfiring) stack.

  No emissions are shown in the table for sinter plants because the Detroit steel mills do not have
  a sinter plant. However, there are currently five sinter plants at integrated mills, and we know
  that sinter plants are significant NOx emitters.




                                                  1
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         NOx Emission Sources (Ranked) at Iron and Steel Plants in Detroit Area
                                   (Reference 1)

                                           NOx Emissions
                           Source              (tpy)               Plant
                  Mill furnace heaters          629         US Steel
                  No. 2 Boilerhouse             493         US Steel
                  D blast furnace stove         387         US Steel
                  B blast furnace stove         342         US Steel
                  C BF stoves                   337         Severstal
                  Combustion stack              337         EES coke plant
                  Reheat furnace 1              331         Severstal
                  Reheat furnace 2              331         Severstal
                  Reheat furnace 3              331         Severstal
                  Blast furnace flares          330         US Steel
                  No. 1 Boilerhouse             322         US Steel
                  B BF stoves                   218         Severstal
                  BOF                           191         Severstal
                  Coke oven gas flares          136         Coke plant
                  BOF ESP stack                 130         US Steel
                  Annealing furnace (NG)        130         Severstal
                  Heaters (NG)                   83         US Steel
                  Dryout heaters (NG)            81         US Steel
                  Heaters (NG)                   60         US Steel
                  No. 1 Boiler                   58         US Steel
                  Process heaters (NG)           55         US Steel
                  Boiler                         38         US Steel
                  Tapping BOF                    33         US Steel
                  Annealing heaters (NG)         32         US Steel
                  BOF tapping                    29         Severstal
                  C BF casthouse                 24         Severstal
                  B BF casthouse                 21         US Steel
                  D BF casthouse                 20         US Steel
                  Annealing heaters (NG)         17         US Steel
                  BOF operation (NG)             17         US Steel
                  Heaters (NG)                   15         US Steel
                  No. 3 Boilerhouse (NG)         15         US Steel
                  B BF casthouse                 14         Severstal
                  Heaters (NG)                   11         US Steel




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  •   What are the available documents for information on NOx controls
      [Note: The first three below also have cost and cost effectiveness estimates]

      1. Branscome, M., and S. Burns. 2006. Evaluation of PM2.5 Emissions and Controls at Two
         Michigan Steel Mills and a Coke Oven Battery. Prepared for the Air Quality Strategies
         and Standards Division, Office of Air Quality Planning and Standards, U.S.
         Environmental Protection Agency, Research Triangle Park, NC. Available at
         http://epa.gov/air/caaac/aqm/detroit_steel_report_final_20060207.pdf

      2. Midwest Regional Planning Organization (RPO). Boiler Best Available Retrofit
         Technology (BART) Engineering Analysis. Prepared for The Lake Michigan Air
         Directors Consortium (LADCO). March 30, 2005. Available at
         http://www.ladco.org/reports/control/bart/iron_and_steel_mills.pdf.

      3. Alternative Control Techniques Document (ACT) – NOx Emissions from Iron and Steel
         Mills. EPA September 1994. Available at http://www.epa.gov/ttn/catc/dir1/iron_act.pdf.

      4. “Proper Application of Low-NOx Technology to Reheating Furnaces – Environmental
         and Efficiency Advantages.” (April 2005). David G. Schalles and John C. Dormire,
         Bloom Engineering Col Inc., Pittsburgh, PA. Published in AIST’s “Iron and Steel
         Technology.”

      5. “Fuel Savings and Reduced Emissions: Experience from 80 Oxy-fuel Installations in
         Reheat Furnaces.” (May 2005). Per Verterberg, J. von Scheele, G. Moroz. Published in
         AIST’s “Iron and Steel Technology.”

  •   How do NOx control costs differ for subparts of the industry

      We have no information on how costs differ for different subparts. However, we expect that
  the size of the combustion unit is a primary factor affecting cost or cost effectiveness.

  •   What Iron and Steel Sector project work is underway that may inform development of
      NOx cost curves

         None at this time.

  •   What is the general assessment of workload needed to develop defensible and reliable
      cost

         A. Heating furnaces and boilers at Iron and Steel plants – hours estimated: 8 hours

         The NOx controls used for heating furnaces and boilers at iron and steel plants should be
         the same as those developed for other sources and sectors. Consequently, the research
         done on other sectors could be applied here. We could develop information on the size
         distributions of these combustion units for iron and steel plants if that would help to
         inform the cost analysis.

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          B. Other NOx Sources - hours estimated: 40 hours


  •    Degree to which sources in industry likely to have NOx CEMs

          We reviewed several title V permits, and a few of the largest plants have CEMS on a few
          of their larger units. Most do not have CEMS, so we believe CEMS are not very
          widespread.

  •    Reasonableness of the cost effectiveness estimates as compared to EPA estimates

                                      CoST Analysis Results for 2012*
  Iron          30300933 steel reheat furnaces               LNB + FGR            $600/ton
  and           30390004 fuel fired eq: process gas          LNB + FGR            $900/ton
  Steel**       30390003 fuel fired eq: natl gas             ULNB                 $2,400/ton
                30300306 coke oven underfire stack           SNCR                 $2,600/ton
                30300934 steel heat treating/annealing       LNB + SNCR           $2,700/ton
  *       Based on the 2012 EPA inventory and NOx controls less than $5,000/ton (GSG/AQPD).
  **      1.5% of overall nonEGU NOx reduction estimates.

          The costs for Iron and Steel are expected to be highly site-specific and variable
          depending on the size of the combustion or process unit. Consequently, it is
          uninformative to present a single cost effectiveness number unless it incorporates a
          scaling factor. Estimates are given below from the BART analysis (Reference 2) and
          from the ACT document (Reference 3).




                                                      4
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            Summary of Cost Estimates for NOx Controls for Furnaces at Iron and Steel Plants
                            from the BART analysis (Reference 2) in $2004

                                                                   Low Cost                  High Cost
                  Control                      Removal            Effectiveness             Effectiveness
                 Technology                  Efficiency %    ($/ton NOx removed)       ($/ton NOx removed)
     Low-NOx burners (LNB)                        40                 $2,813                       $5,867
     Low-NOx burners plus flue gas                50                 $6,055                       $9,186
     recirculation (LNB+FGR)                      72                 $4,205                       $6,379
     Low-NOx burners plus selective non-          50                 $6,704                       $10,493
     catalytic reduction (LNB+SNCR)               89                 $3,766                       $5,895

     Ultra-low NOx burners (ULNB)                 75                   --                         $2,018
                                                  85                   --                         $1,781
     Ultra-low NOx burners plus selective         85                 $9,792                       $13,114
     catalytic reduction (ULNB+SCR)               97                 $8,581                       $11,492

     Selective catalytic reduction (SCR)          70                 $9,728                       $13,762
                                                  90                 $7,566                       $10,704




              Summary of Costs Estimates for Controls for Furnaces at Iron and Steel Plants
                               from EPA’s ACT (Reference 3) in $2008

                                                                                   Low Cost          High Cost
 Type of                                                                          Effectiveness     Effectiveness
 Furnace                               Control Technology                            ($/ton)           ($/ton)
Reheat         Low Excess Air                                                         $641             $3,752
Furnaces       Low NOx Burner (LNB)                                                   $141              $625
               Low NOx Burner plus Flue Gas Recirculation (LNB+FGR)                   $172             $1,079
Annealing      Low NOx Burner (LMB)                                                   $313             $2,032
Furnaces       Low NOx Burner plus Flue Gas Recirculation (LNB+FGR)                   $406             $2,501
               Selective Non-Catalytic Reduction (SNCR)                               $907             $5,784
               Selective Catalytic Reduction (SCR)                                   $1,876           $11,255
               Low NOx Burner plus Selective Catalytic Reduction (LNB+SCR)           $2,032           $12,349
               Low NOx Burner plus Selective Non-Catalytic Reduction (LNB+SNCR)       $891             $5,315
Galvanizing    Low NOx Burner (LNB)                                                   $172             $1,407
Furnaces       Low NOx Burner plus flue gas recirculation (LNB+FGR)                   $219             $1,876




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    Appendix A. Summary of NOx Controls for Electric Arc Furnaces (EAFs)
         Nitrogen oxide emissions from EAF can be electric NOx, thermal NOx, or fuel NOx.
  The following discusses the formation of the NOx and potential controls as taken from the steel
  industry’s “The Making, Shaping, and Treating of Steel.”

  Electric NOx
          Electrical NOx is formed in furnace operations when nitrogen passes through the arc
  between electrodes. This “electrical” NOx can be reduced by reducing the amount of nitrogen
  available in the furnace. This can be achieved by closing up furnace gaps and by closing the slag
  door whenever possible. Many operations lance oxygen through the door and, as a result, a large
  volume of air enters the furnace. This can be reduced by providing a shield close to the door or
  by hanging chains close to the opening. Foamy slag practice can be beneficial since the slag
  foams up partially blocking the opening. Also, since foamy slag helps to bury the arc, it is more
  difficult for nitrogen to pass through the arc and be ionized.

  Thermal NOx
          Thermal NOx is generated from burner use in EAFs. Typical levels of NOx reported are
  in the range of 36–90 g NOx per ton of steel. Thermal NOx can be addressed using any of the
  conventional control methods. Typically, thermal NOx is reduced by improving the burner
  design and providing good mixing of the pre-combustion gases. Thermal NOx is also formed in
  the water-cooled duct following the combustion air gap as any combustible materials burn with
  the oxygen which has entered the ductwork in the combustion air. If all of the combustible
  material burns quickly, the gas temperature will reach a level where thermal NOx is formed. One
  option which is now being investigated is to close up the combustion gap somewhat and to
  supply combustion air at various points in the water-cooled duct downstream of the combustion
  gap through injectors. Thus the combustion will be staged along the first two-thirds of the water-
  cooled duct and will avoid the temperatures associated with thermal NOx generation.

  Fuel NOx
          As with most fuel-fired NOx sources, there are two broad categories of NOx reduction
  techniques: (1) process controls, including combustion modifications, that rely on reducing or
  inhibiting the formation of NOx in the production process and (2) post-combustion (secondary)
  add-on controls, where flue gases are treated to remove NOx that has already been formed.
          For iron and steel plants, six different control technologies or control technology
  combinations were identified for NOx emissions from fuel-fired emission units at iron and steel
  plants. These technologies, which provide both combustion or post-combustion controls (or a
  combination of both), are described below.
         Flue gas recirculation (FGR) uses flue gas as an inert material to reduce flame
  temperatures. In a typical FGR system, flue gas is collected from the heater or stack and
  returned to the burner via a duct and blower. The flue gas is mixed with the combustion air and
  introduced into the burner. The addition of flue gas reduces the oxygen content of the
  combustion air, which in turn reduces flame temperatures, resulting in lower NOx emissions.


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  Typical NOx control efficiency for FGR ranges from 30 percent to 50 percent, or 50 to 72
  percent when coupled with low-NOx burners.
         Low-NOx burner (LNB) technology uses advanced burner design to reduce NOx
  formation through the restriction of oxygen, flame temperature, and/or residence time. LNB is a
  staged combustion process that is designed to split fuel combustion into two zones: primary
  combustion and secondary combustion.
           Two general types of LNBs exist: staged fuel and staged air. Staged-fuel LNBs separate
  the combustion zone into two regions. In the first region, combustion takes place in the presence
  of a large excess of oxygen at substantially lower temperatures than a standard burner. In the
  second region, the remaining fuel is injected and combusted with any oxygen left over from the
  primary region. The remaining fuel is introduced in the second stage outside of the primary
  combustion zone so that the fuel and oxygen are mixed diffusively (rather than turbulently)
  which maximizes the reducing conditions. LNBs inhibit the formation of thermal NOx, but have
  little effect on fuel NOx. Therefore, staged-fuel LNBs are particularly well suited for coal- and
  natural gas-fired emissions units that are higher in thermal NOx. The estimated NOx control
  efficiency for LNBs in high-temperature applications is 25 percent. However, when coupled with
  FGR or selective non-catalytic reduction (SNCR), these efficiencies increase to 50 to 72 and 50
  to 89 percent, respectively.
          Ultra low-NOx burners (ULNB) combine the benefits of flue gas recirculation and low-
  NOx burner control technologies. Rather than a system of fans and blowers (like FGR), the
  burner itself is designed to recirculate hot flue gas from the flame or firebox back into the
  combustion zone. This leads to a reduction in the average oxygen concentration in the flame
  without reducing the flame temperature below that necessary for optimal combustion efficiency.
  Because of this reduction in temperature, ULNB would likely only be applicable to processes at
  iron and steel plants that are not temperature dependent, unless the reduction in flame
  temperature does not fall below the required threshold temperature for the process. The estimated
  NOx control efficiency for ULNBs in high-temperature applications is 50 percent. Newer designs
  have yielded efficiencies between 75 to 85 percent. When coupled with selective catalytic
  reduction, efficiencies from 85 to 97 percent can be obtained.
          Selective non-catalytic reduction (SNCR) is a control process that injects urea or
  ammonia-based chemicals into the flue gas stream to convert NO to N2 and water. Without the
  participation of a catalyst, the reaction requires a high temperature range to obtain activation
  energy. The reaction with urea is as follows:

                         2NO + CO(NH2)2 + 1/2 O2 → 2N2 + CO2 + 2 H2O

          The optimum operating temperature for SNCR is 1,600°F to 2,100°F. Under these
  temperature conditions, a significant reduction in NOx occurs. At temperatures above 2,000°F,
  an alternative reaction occurs and NOx control efficiency decreases rapidly. The normal NOx
  control efficiency range for SNCR is 50 to 70 percent. To date, there are no known installations
  of SNCR at iron and steel plants, although SNCR potentially could be used for some operations
  within an iron and steel plant.
          Selective catalytic reduction (SCR) is a post-combustion NOx control technology in
  which ammonia (NH3) is injected into the post-combustion gas stream in the presence of a
  catalyst. A catalyst bed containing metals in the platinum family is used to lower the activation
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  energy required for NOx decomposition. NOx is removed through the following chemical
  reaction:

                                4 NO + 4 NH3 + O2 → 4 N2 + 6 H2O

  The reaction of NH3 and NOx is favored by the presence of excess oxygen. However, the
  primary variable affecting NOx reduction is temperature. Optimum NOx reduction occurs at
  catalyst bed temperatures of 600–750°F for conventional catalysts (vanadium or titanium based)
  and 470–510°F for platinum catalysts. A high temperature zeolite catalyst is also available; it
  can operate in the 600–1000°F temperature range.

          A given catalyst typically provides optimal performance within ± 50°F of its design
  temperature for applications in which flue gas oxygen concentrations are greater than 1 percent.
  Below this optimum range, the catalyst activity is greatly reduced allowing unreacted NH3 to
  slip through (ammonia slip). At temperatures above 850°F, ammonia begins to oxidize to form
  additional NOx. The NH3 oxidation to NOx increases with increasing temperature. The normal
  NOx control efficiency range for SCR is 70 percent to 90 percent. SCR has been extensively and
  quite successfully used in a very cost effective manner on coal- and gas-fired utility boilers,
  industrial boilers, gas turbines and internal combustion diesel engines in the United States.
  There have been few uses of SCR in the iron and steel industry. At the time the EPA’s ACT
  NOx document was published, Japanese iron and steel mills had been experimenting with SCR
  for sinter plants and coke ovens, however these efforts at that time were experimental.

          As indicated above, SCR has been used with annealing furnaces. There are few other
  references to the use of SCR for NOx control for other emission processes at iron and steel
  plants. MACTEC did find one example usage of SCR for controlling sintering plant exhaust
  gases. Of particular interest in that example installation was the use of iron ore as the catalyst.
  The benefit of using iron ore as the catalyst was that unlike other types of catalyst which have a
  solid waste disposal component, the iron ore can be used directly as a steel making raw material,
  thus obviating the solid waste disposal issue. In the SCR process, typically, anhydrous ammonia
  usually diluted with air or steam is injected into hot flue gases, which then pass through a
  catalyst bed where NOx is reduced to nitrogen gas and water. As indicated above, the optimum
  temperature for SCR depends on the catalyst. Thus the exit gas temperatures from some of the
  processes at iron and steel plants may either be too high or too low, requiring either reheat (if too
  low) or dilution/quenching (if too high) in order to effectively use SCR. Thus careful
  consideration should be given on a source-specific basis depending on how raw materials are
  currently processed.

         Burner Technology Options for NOx control include the following:

     •   Nonsymmetrical air-staged burner for longitudinal or side-fired zones
     •   Air-staged burner for roof firing
     •   Air-staged long flame burners for low-pressure fuels
     •   Ultralow-NOx regenerative burners



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         NOX CONTROL STRATEGIES IN THE IRON AND STEEL INDUSTRY (11-11-10)

          We reviewed the table of strategies for NOx control in the iron and steel industry and
  identified CMDB processes: NSNCRCMOU, NDSCRFPGCO, NDSCRUPGCO,
  NDSCRUNGGN, NLNBUNGGN and NLNBUPGCO, NDSCRUROGN, NDSCRBCGN,
  NSNCRBCGN, and NLNBFCOBF, as possibilities for use in the iron and steel industry. See
  attached table.

          Our present focus for regulatory review in the integrated iron and steel segment is sinter
  plants, blast furnaces and basic oxygen process furnaces. The Alternative Control Techniques
  Document --NOx Emissions from Iron and Steel Mills, September, 1994 (EPA-453/R-94-065) is
  16 years old, but there has not been much new construction in the industry. At the time this
  study was done, EPA had no recommendations for the processes that we are currently targeting
  but suggested low NOx burners and possibly SCR for some gas fired equipment at iron and steel
  plants such as annealing furnaces, preheating furnaces and boilers. (NOx control options for
  boilers at iron and steel facilities are about the same as those for boilers anywhere.)

          A BART (Best available retrofit technology) study was done in 2005 by MACTEC
  [Midwest Regional Planning Organization (RPO): Iron and Steel Mills Best Available Retrofit
  Technology (BART) Engineering Analysis, MACTEC, March 30, 2005. This study looked at
  two steel mills in the Midwest and found that no low NOx technologies were in place at these
  plants. For processes on which we are focusing, the recommended retrofits technologies of
  ultralow NOx burners (ULNB) for the sinter plant windbox and low NOx burners (LNB) or
  ULNB for coke oven underfire. For other emission points (general gas fired equipment) they
  recommended retrofit technologies of LNB or ULNB for boilers, slab furnaces, annealing
  furnaces, hot strip mill furnaces, heat soaking, etc. They also recommended ULNB for the
  refining cycle (but not for charging, tapping, or slagging) of the basic oxygen furnace.

          Bearing in mind that there are many different combustion processes at a steel plant, some
  NOx reductions may be achieved at some points in the process. NSNCRCMOU and
  NSNCRBCGN are selective non-catalytic reduction processes which were considered infeasible
  in the BART study. NDSCRUROGN and NDSCRBCGN are unlikely because little if any
  residual fuel oil is combusted (it is possible but unlikely) and little if any bituminous coal is
  combusted (a fraction of the coke is sometimes replaces with coal, because it is cheaper, but not
  very much). NDSCRFPGCO, NDSCRUPGCO and NDSCRUNGGN are SCR processes which
  the Bart study considered feasible (for some emission points). NLNBUNGGN/NLNBUPGCO,
  and NLNBFCOBF are low NOx burner processes which were considered feasible in the Bart
  study (for some emission points).

        To capture NOx emissions from this industry, the most likely opportunity is to retrofit
  low NOx burners into gas fired equipment. Also, for boilers at steel plants as with boilers
  everywhere, other types of “combustion modifications” may be possible.


                                              Page 1 of 2
                                                                 Control Options for Reducing Nitrogen Oxides Emissions from Point and Area Sources

Iron and    CMDB Control Emission Reduction Measure             Source Category                Control Efficiency Cost Effectiveness (2006$/ton References          Description/Notes/Caveats




                                                                                                                                                                                                                                                                                  USCA Case #23-1207
Steel?       Abbreviation Name (Note)                                                          (%)                reduced)

Yes        NDSCRFPGCO       Selective Catalytic Reduction--(Bart In-Process - Process Gas -    90                $7,679                        167                  This control is the selective catalytic reduction of NOx through add-on controls. SCR controls are post-
                            study considered SCR feasible)       Coke Oven Gas                                                                                      combustion control technologies based on the chemical reduction of nitrogen oxides (NOx) into molecular
                                                                                                                                                                    nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
                                                                                                                                                                    which allows the process to occur at lower temperatures. This control applies to process gas fired ICI
                                                                                                                                                                    boilers with NOx emissions greater than 10 tons per year.
Yes        NDSCRUPGCO Selective Catalytic Reduction-            In-Process - Process Gas -     90                $5,970                        167                  Application: This control is the selective catalytic reduction of NOx through add-on controls. SCR controls
                      (About same as NDSCRFPGCO)                Coke Oven Gas                                                                                       are post-combustion control technologies based on the chemical reduction of nitrogen oxides (NOx) into
                                                                                                                                                                    molecular nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal
                                                                                                                                                                    efficiency, which allows the process to occur at lower temperatures. This control is applicable to
                                                                                                                                                                    operations with in-process process gas usage from Coke Oven Gas.
Yes        NDSCRUNGGN Selective Catalytic Reduction-(Very In-Process Fuel Use - Natural        90                $5,970                        167                  This control is the selective catalytic reduction of NOx through add-on controls. SCR controls are post-
                      similar to NDSCRFPGCO)              Gas                                                                                                       combustion control technologies based on the chemical reduction of nitrogen oxides (NOx) into molecular
                                                                                                                                                                    nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
                                                                                                                                                                    which allows the process to occur at lower temperatures. This control is applicable to operations with in-
                                                                                                                                                                    process natural gas usage and uncontrolled NOx emissions greater than 10 tons per year.

Yes        NLNBUNGGN        Low NOx Burner--(Bart study         In-Process Fuel Use - Natural 50                 $3,531 for NOx<1 tpd and      72, 175, 179, 186    This control is the use of low NOx burner (LNB) technology to reduce NOx emissions. LNBs reduce the




                                                                                                                                                                                                                                                                                  Document #2013657
           and              considered this feasible)           Gas or Coke Oven Process Gas                     $2,889 for NOx>1 tpd                               amount of NOx created from reaction between fuel nitrogen and oxygen by lowering the temperature of
           NLNBUPGCO                                                                                                                                                one combustion zone and reducing the amount of oxygen available in another. This control is applicable
                                                                                                                                                                    to operations with in-process coke oven gas usage and natural gas-fired process heaters with uncontrolled
                                                                                                                                                                    NOx emissions greater than 10 tons per year.
Yes        NLNBFCOBF        Low NOx Burner and Flue Gas         In-Process -Process Gas -Coke 55                 $5,120 for NOx<1 tpd and      72, 172, 175, 179,   This control is the use of low NOx burner (LNB) technology and flue gas recirculation (FGR) to reduce
                            Recirculation--(Bart study          Oven/ Blast Furnace                              $3,964 for NOx>1 tpd          186                  NOx emissions. LNBs reduce the amount of NOx created from reaction between fuel nitrogen and oxygen
                            considered this feasible)                                                                                                               by lowering the temperature of one combustion zone and reducing the amount of oxygen available in
                                                                                                                                                                    another. This control is applicable to in-process coke/blast furnaces and uncontrolled NOx emissions
                                                                                                                                                                    greater than 10 tons per year.
Maybe      NDSCRUROGN Selective Catalytic Reduction-(Use In-Process Fuel Use - Residual        90                $5,374                        167                  This control is the selective catalytic reduction of NOx through add-on controls. SCR controls are post-
                      of residual fuel oil is not usually Oil                                                                                                       combustion control technologies based on the chemical reduction of nitrogen oxides (NOx) into molecular
                      practiced in Iron and Steel, but                                                                                                              nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
                      could be used for a boiler or                                                                                                                 which allows the process to occur at lower temperatures. This control is applicable to operations with in-
                      process heater on site)                                                                                                                       process residual oil usage and uncontrolled NOx emissions greater than 10 tons per year.

Maybe      NDSCRBCGN        Selective Catalytic Reduction--(Not In-Process Fuel Use -          90                $3,649                        167                  This control is the selective catalytic reduction of NOx through add-on controls. SCR controls are post-
                            likely in Iron and Steel except where Bituminous Coal                                                                                   combustion control technologies based on the chemical reduction of nitrogen oxides (NOx) into molecular
                            some coke is replaced with coal                                                                                                         nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
                            due to lower cost)                                                                                                                      which allows the process to occur at lower temperatures. This control applies to operations with general
                                                                                                                                                                    (in process) bituminous coal use and uncontrolled NOx emissions greater than 10 tons per year.

No         NSNCRCMOU        Selective Non-Catalytic Reduction-- By-Product Coke Manufacturing - 60               $2,632                        72, 172, 175, 179,   This control is the reduction of NOx emission through selective non-catalytic reduction add-on controls.




                                                                                                                                                                                                                                                                                  Filed: 08/22/2023
                            (Bart study considered SNCR         Oven Underfiring                                                               181                  SNCR controls are post-combustion control technologies based on the chemical reduction of nitrogen
                            infeasible)                                                                                                                             oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O). This control applies to all by-product
                                                                                                                                                                    coke manufacturing operations with oven underfiring and uncontrolled NOx emissions greater than 10 tons
                                                                                                                                                                    per year.
No         NSNCRBCGN        Selective Non-Catalytic Reduction-- In-Process Fuel Use -          40                $2,022 for NOx<1 tpd and      72, 172, 175, 179,   This control is the reduction of NOx emission through selective non-catalytic reduction add-on controls.
                            (Bart study considered SNCR         Bituminous Coal - Gen                            $1,509 for NOx>1 tpd          185                  SNCR controls are post-combustion control technologies based on the chemical reduction of nitrogen
                            infeasible)                                                                                                                             oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O). This control applies to operations with
                                                                                                                                                                    general (in process) bituminous coal use and uncontrolled NOx emissions greater than 10 tons per year.




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        Iron and Steel NOx Options
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  Midwest Regional Planning Organization
                  (RPO)

        Iron and Steel Mills Best Available
           Retrofit Technology (BART)

                     Engineering Analysis



                                    Prepared for:


                     The Lake Michigan Air Directors Consortium

                                     (LADCO)




                                    Prepared by:


         MACTEC Federal Programs / MACTEC Engineering and Consulting, Inc.

                                     (MACTEC)




                                  March 30, 2005
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  Midwest Regional Planning Organization (RPO) Iron and Steel Mills Best
  Available Retrofit Technology (BART) Engineering Analysis


                                                    SECTION 1
                                                    OVERVIEW

  INTRODUCTION

  An appropriate first step in evaluating BART for a group of sources is to categorize emission units within
  each general source category. For this work, the source categories included (BART numeric category
  in parentheses):

          •    Portland cement plants (4),
          •    Iron and steel mill plants (6),
          •    Primary aluminum ore reduction plants (7),
          •    Petroleum refineries (11),
          •    Primary lead smelters (17),
          •    Chemical process plants (21), and
          •    Fossil-fuel boilers of more than 250 million BTUs per hour heat input (22)

  In general, these types of emission units were found in several of the LADCO States. In order to
  effectively characterize the BART controls for these emission sources, MACTEC determined that using
  an initial “model” emission source for each category would be the most effective means of evaluating the
  types of emission units and the likely candidate BART controls for each.

  For each of these emission sources, MACTEC developed “model sources” to enable the development of
  representative control cost estimates. The physical characteristics of the model sources are summarized in
  each section specific to that source category. The model sources were selected to reflect typical emission
  units found at each emission source type.
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                                          SECTION 2
                               AVAILABLE CONTROL TECHNOLOGIES

  INTRODUCTION

  This section describes each potentially available control technology evaluated for BART category 6, iron
  and steel plants. For iron and steel plants, the control technologies can be largely focused by pollutant and
  emission unit type within the facility. Table 2.1 shows the types of emission sources (summarized by
  SCC) that were found to be potentially subject to BART for iron and steel plants. From this table it can
  clearly be seen that the majority of emissions of SO2 and NOx are generally associated with fuel firing
  operations, in this case either boilers or process heaters. There are also emissions of SO2 from SCC
  30300699. The SCC description indicates that emissions are from unclassified open furnace activities. In
  this case, these emissions are from sinter heating/processing, which is also likely to be fuel based. For
  NOx there are also emissions from hot metal transfer. The hot metal transfer emission unit description
  refers to basic oxygen furnace refining cycle processes. As a consequence, our discussion of BART for
  iron and steel plants will focus on fuel combustion controls for the SO2 and NOx sources, since this will
  account for controls on 100 percent of the SO2 and over 96 percent of the NOx. Fuel firing sources also
  account for 45 percent of the PM and 68 percent of the VOC emissions. For the remaining sources (which
  are primarily PM and VOC emitters) the BART analysis will focus only on controls for those pollutants.

  For fuel firing equipment, the control devices will be very similar to those identified for boilers (BART
  category 22). SO2 controls evaluated include advanced flue gas desulfurization (AFGD), wet FGD and
  dry FGD. NOx, controls evaluated include low NOx burners (LNB), flue gas recirculation (FGR),
  selective catalytic reduction (SCR), and selective non-catalytic reduction (SNCR). PM controls include
  fabric filters (both typical baghouse setups and baghouses with traveling hoods), dust cartridges (DC), and
  wet and dry electrostatic precipitators (ESP). In addition, for PM only sources (especially fugitive ones),
  best management practices need to be examined to determine if they are sufficient for BART. For this
  section, the technologies are grouped by the pollutant that they control for fuel fired sources (i.e., NOx,
  SO2, PM, or VOC). That is followed by a section discussing the technologies available for PM
  only sources.

  Determining technical feasibility of a control technology for a new source (e.g., determining best
  available control technology for a new process heater source at an iron and steel plant) is different than
  determining technical feasibility for a retrofit at an existing source (e.g., determining best available
  retrofit technology for an existing process heater at an iron and steel plant). In this section, MACTEC
  determines the technical feasibility of each of at least three control technologies (if available) for fuel
  fired and PM only units at a typical iron and steel plant. As part of the BART screening evaluation, a
  literature/internet/vendor review was conducted to identify potential control equipment options for the
  emission units identified (see below). The controls identified represent the top three options (based on
  control efficiency and costs) for these units. The top controls were identified in a spreadsheet provided to
  LADCO in December 2004 and updated in January 2005 to address comments received on the
  December spreadsheet.

  In the section that follows, MACTEC further evaluates the technical feasibility of each control technology
  as a retrofit to the existing emission units identified in task 2 of this contract (and provided in a
  spreadsheet to LADCO participants in October 2004). The emission units identified in that spreadsheet
  were selected based on three criteria: 1) emission levels for SO2 and NOx; 2) commonality of sources
  (i.e., how many similar sources occurred across the LADCO region and; 3) the potential impact of
  emissions from these units at Class I areas (as determined by Q/D [emissions/distance] values for several
  Class I areas in or near the LADCO region). In addition, cost estimates have been modified to the extent
  possible to reflect actual emission unit operational conditions.
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  Table 2.2 shows the iron and steel plant emission units identified for LADCO as meeting the three criteria
  listed above. These emission units were evaluated for BART.
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  TABLE 2.1 LADCO BART CATEGORY 6 (IRON AND STEEL PLANT) SCC-BASED SOURCE
                           TYPES AND EMISSIONS
     SCC                 SCC DESCRIPTION                    SO2            NO2       PM       VOC
  10200707 External Combustion Boilers Industrial Process 2111.01         700.23     71.91     2.06
           Gas Coke Oven Gas
  30300302 Industrial Processes Primary Metal Production     0             23.25    105.16     11.58
           By-product Coke Manufacturing Oven Charging
  30300304 Industrial Processes Primary Metal Production     0              0         1.39      2.29
           By-product Coke Manufacturing Quenching
  30300699 Industrial Processes Primary Metal Production  1733.82        1274.19    187.41   307.82
           Ferroalloy, Open Furnace Other Not Classified
  30300825 Industrial Processes Primary Metal Production     0             80.49     84.13      0
           Iron Production (See 3-03-015 for Integrated
           Iron & Steel MACT) Cast House
  30300913 Industrial Processes Primary Metal Production                   53.8     203.04      8.3
           Steel Manufacturing (See 3-03-015 for
           Integrated Iron & Steel MACT) Basic Oxygen
           Furnace: Open Hood-Stack
  30300915 Industrial Processes Primary Metal Production     0            188.94     48.81     18.2
           Steel Manufacturing (See 3-03-015 for
           Integrated Iron & Steel MACT) Hot Metal (Iron)
           Transfer to Steelmaking Furnace
  30300931 Industrial Processes Primary Metal Production     0              0       211.67   273
           Steel Manufacturing (See 3-03-015 for
           Integrated Iron & Steel MACT) Hot Rolling
  30300932 Industrial Processes Primary Metal Production     0              0        10.97      0
           Steel Manufacturing (See 3-03-015 for
           Integrated Iron & Steel MACT) Scarfing
  30301502 Industrial Processes Primary Metal Production     0              0         0.42      0
           Integrated Iron and Steel Manufacturing (See
           also 3-03-008 & 3-03-009) Sintering: Raw
           Materials Handling
  30301504 Industrial Processes Primary Metal Production     0              0       127.17      0
           Integrated Iron and Steel Manufacturing (See
           also 3-03-008 & 3-03-009) Sintering: Discharge
           End
  30390002 Industrial Processes Primary Metal Production     0              0         0         0
           Fuel Fired Equipment Residual Oil: Process
           Heaters
  30390003 Industrial Processes Primary Metal Production     3.64        2132.83     29.73     12.32
           Fuel Fired Equipment Natural Gas: Process
           Heaters
  30390004 Industrial Processes Primary Metal Production  9978.28        5430.42    361.4    346.79
           Fuel Fired Equipment Process Gas: Process
           Heaters
  39000689 Industrial Processes In-process Fuel Use        323.1          334.37     13.89      1.1
           Natural Gas General
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                                                                                                                                                      USCA Case #23-1207
                                 TABLE 2.2 LADCO BART CATEGORY 6 (IRON AND STEEL PLANTS) EMISSION UNITS
                                             SOURCE        EMISSION
STATE              SOURCE NAME                 ID           UNIT ID         EMISSION UNIT DESCRIPTION      SO2       NO2       PM           VOC
ILLINOIS   National Steel Corp               119813AAI   0015         SLAB FURNACE #1                         0.34    227.31     2.89          0.79
ILLINOIS   National Steel Corp               119813AAI   0033         BOF - TWO VESSELS                                53.8    203.04          8.3
ILLINOIS   National Steel Corp               119813AAI   0041         BOILER HOUSE 1: BOILERS 1 TO 7        830.53    275.49    28.29          0.81
ILLINOIS   National Steel Corp               119813AAI   0042         BOILER HOUSE 1: BOILERS 8 TO 10       355.94    118.07    12.13          0.35
                                                                      BOILER HOUSE 2: BOILER #11 - BLAST
ILLINOIS   National Steel Corp               119813AAI   0044         FURNACE DEPT                          420.11    139.35    14.31          0.41
                                                                      BOILER HOUSE 2: BOILER #12 - BLAST




                                                                                                                                                      Document #2013657
ILLINOIS   National Steel Corp               119813AAI   0048         FURNACE DEPT                          504.43    167.32    17.18          0.49
ILLINOIS   National Steel Corp               119813AAI   0122         SLAB FURNACE #2                       166.62     55.27     5.68          0.16
ILLINOIS   National Steel Corp               119813AAI   0123         SLAB FURNACE #3                       156.14     51.79     5.32          0.15
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       001          BEDDING PLANT MATL TRANS                0         0        0.42          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       002          SINTER MIXING DRUM                      0         0        1.17          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       003          SINTER WINDBOX                       1733.82   1274.19   184.56        307.82
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       004          SINTER MISC MATL HANDLING               0         0      126.24          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       005          SINTER TRANSFER STATIONS                0         0        0.93          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       006          BLAST FURNACE CAR DUMPER                0         0        1.48          0




                                                                                                                                                      Filed: 08/22/2023
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       007          BLAST FURNCE THAW SHED                  0.01      1.4      0.05          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       008          BF C STOCKHOUSE                         0         0        7.17          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       009          BF D STOCKHOUSE                         0         0        7.12          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       010          BF C CASTHSE, STOVES, FLR             946.76    492.4     71.35          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       011          BF D CASTHSE, STOVES, FLR             859.54    317.04    62.39          0
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                 00001        036          COAL PREPARATION                        0         0        0.12          0




                                                                                                                                                      Page 792 of 1689
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       037          BATTERY #1 PUSHING                      0        11.42    40.3           5.78
           ISG-BURNS HARBOR (Formerly
INDIANA    Bethlehem Steel)                  00001       039          COKE OVEN UNDRFIRE BAT #1            1569.36   3363.5     82.43         84.16
     Midwest RPO Iron and Steel Mills BART Engineering Analysis                                                                   3/28/2005
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                                                                                                                                                USCA Case #23-1207
                  TABLE 2.2 LADCO BART CATEGORY 6 (IRON AND STEEL PLANTS) EMISSION UNITS (CONTINUED)
                                            SOURCE        EMISSION
STATE             SOURCE NAME                 ID           UNIT ID         EMISSION UNIT DESCRIPTION    SO2      NO2      PM           VOC
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       040          COKE BATTERY #1 QUENCHING            0        0      13.73          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       041          BATTERY #2 PUSHING                   0       11.83   21.8           5.8
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       043          COKE OVEN UNDRFIRE BAT #2         1687.12   164.7    99.95         68.72
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       044          BATTERY #2 QUENCHING                 0        0      27.73          0




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          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       045          COKE OVEN COAL CHEM PLANT            0        0       0             2.29
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       046          COKE SCREENING                       0        0       1.39          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       048          CSM #1 PICKLE LINE                   0        0      33.71          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       049          CSM #2 PICKLE LINE                   0        0      45.41          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       051          COLD SHEET MILL- TANDEM              0        0      40.23        114.61
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       052          BATCH ANNEAL FURNACES                0.23    36.13    1.84          1.24
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       056          COLD SHEET MILL-DUO MILL             0        0       0             0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       057          COLD SHEET TEMPER MILL               0        0       0             4




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          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       058          COLD SHEET SHIP BLDGS 1&2            0        0       0            98.08
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       061          CSM EGL LINE CLEANING                0        0       0             0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       062          CSM EGL LINE PICKLING                0        0       0             0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                 00001        063          CSM EGL LINE ZINC PLATING            0        0       0             0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       067          NORTH BURNING BED                    0        0       3.24          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                 00001        068          SOUTH BURNING BED                    0        0       0.68          0




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          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       069          HAND SCARFING BED                    0        0       7.05          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                 00001        070          HOT STRIP MILL FURN #1             155.45   491.57    7.14          3.07
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                     TABLE 2.2 LADCO BART CATEGORY 6 (IRON AND STEEL PLANTS) EMISSION UNITS (CONTINUED)
                                               SOURCE      EMISSION
STATE       SOURCE NAME                        ID          UNIT ID    EMISSION UNIT DESCRIPTION   SO2      NO2      PM          VOC
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       071        HOT STRIP MILL FURN #2      163.94   486.44    7.13          2.89
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       072        HOT STRIP MILL FURN #3      121.88   473.57    6.72          2.9
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       073        HSM ROLLING PROCESS           0        0       2.12         39.16
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       076        POWER STATION BOILER #8     845.63   210.72   20.62         40.86




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            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       077        POWER STATION BOILER #9     863.28   212.25   20.89         42.2
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       078        POWER STATION BOILER #10    763.91   205.45   19.81         27.22
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       079        POWER STATION BOILER #11    801.38   197.39   19.33         39.94
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       080        POWER STATION BOILER #12    818.65   181.85   18.26         43.14
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       081        #1 ROLL SHOP N. BAGHOUSE      0        0       0.11          0
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       082        #1 ROLL SHOP S. BAGHOUSE      0        0       0.03          0
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       083        #2 ROLL SHOP BAGHOUSE         0        0       0.09          0
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       084        36 SOAKING PITS               0.3    415.72    2.46          0




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            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       085        SLAB MILL SCARFER             0        0      71.62          0
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       086        SLAB MILL ROLLING PROCESS     0        0       2.02          0
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       088        SLAB YD 3 FURNACE 4&5&6       0.01     2.8     0.1           0.06
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       089        SLAB YD 3 SCARFING BED 3      0        0       9.72          0
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       091        SLAB YD 3 FLAME CUTTING       0        0       0.52          0
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       092        SLAB YD 2 FURNACE 1&2&3       0        1.12    0.04          0.02




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            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       093        SLAB YD 2 FLAME CUT BED 2     0        0       1.73          0
            ISG-BURNS HARBOR (Formerly
INDIANA     Bethlehem Steel)                   00001       094        SLAB YD 2 SCARFING BED 2      0        0       3.55          0
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                  TABLE 2.2 LADCO BART CATEGORY 6 (IRON AND STEEL PLANTS) EMISSION UNITS (CONTINUED)
                                            SOURCE        EMISSION
STATE             SOURCE NAME                 ID           UNIT ID         EMISSION UNIT DESCRIPTION   SO2      NO2      PM           VOC
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       095          160"PLATE CONT.FURNACE #1         105.79   105.22    2.91          0.7
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       096          160"PLATE CONT FURNACE #2          86.65   113.82    2.93          0.73
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       097          160"PLATE BATCH FURNCE #4           0        0       0             0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       098          160"PLATE BATCH FURNCE #5           0.68    14       0.51          0.28




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          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       099          160"PLATE BATCH FURNCE #6          27.75     6.74    0.41          0.11
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       100          160"PLATE BATCH FURNCE #7         132.13    17.31    1.42          0.27
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       101          160"PLATE BATCH FURNCE #8          31.09     4.01    0.33          0.06
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       104          160"PLATE CAR BOTTOM FRNC           0.02     4.63    0.17          0.09
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       105          160"PLATE HARDENING FURNC           0.07    16.63    0.59          0.33
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       106          160"PLATE TEMPERING FURNC           0.03     6.19    0.22          0.12
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       107          160 PLATE MILL ROLLING              0        0       0            13.92
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       108          SLAB YD 1 FLAME CUTTING             0        0       0.37          0




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          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       109          110"PLATE CONT FURNACE #1           0.1     48.36    0.85          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       110          110"PLATE CONT FURNACE #2           0.16    49.44    0.84          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       111          EXTRA PROC BLDG FLAME CUT           0        0       0.44          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       113          110 PLATE MILL ROLLING              0        0       0             3.23
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                 00001        114          BOF HT MTL DESULF STAT #1           0        2.05    4.4           0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                 00001        115          BOF HT MTL DESULF STAT #2           0        1.29    4.88          0




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          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       117          BOF 1&2 CHRG,TAP,SLAGOFF            0        0      25.8           1.53
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                 00001        125          BOF 1 & 2 REFINING CYCLE            0      188.94    9.62          2.46
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                  TABLE 2.2 LADCO BART CATEGORY 6 (IRON AND STEEL PLANTS) EMISSION UNITS (CONTINUED)
                                            SOURCE        EMISSION
STATE             SOURCE NAME                 ID           UNIT ID         EMISSION UNIT DESCRIPTION   SO2   NO2   PM          VOC
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       137          TEEMING POUR MOLDS                 0     0    2.31          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       140          TRACK HOPPER                       0     0    5.47          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       143          JUNCTION HOUSE H1                  0     0    1.16          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       144          JUNCTION HOUSE H2                  0     0    0.82          0




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          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       145          BOF 1 & 2 STORAGE BINS             0     0    1.34          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       148          BOF WEIGH HOPPERS                  0     0    1.62          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       153          CONTINUOUS CASTER #1               0     0    0.14         14.21
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       155          CASTER #1 SLAB PROCESSING          0     0    0.53          0
          ISG-BURNS HARBOR (Formerly
INDIANA   Bethlehem Steel)                  00001       157          CASTER BLDGS MISC ACTIVTS          0     0    1.68          0




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  Figure 2.1 shows a process flow diagram of an iron and steel plant. The process flow diagram (taken from
  AP-42) shows all types of furnaces including electric arc furnaces. None of the sources in the LADCO
  region appear to be minimills.

                FIGURE 2.1. IRON AND STEEL PLANT PROCESS FLOW DIAGRAM.




  The major iron and steel plant operations shown in Figure 2-1 are: (1) coke production, (2) sinter
  production, (3) iron production, (4) iron preparation, (5) steel production, (6) semifinished product
  preparation, (7) finished product preparation, (8) heat and electricity supply, and (9) handling and
  transport of raw, intermediate, and waste materials. The relationships between these operations is shown
  in Figure 2.1.

  As Tables 2.1 and 2.2 indicate, the majority of SO2 and NOx emissions are associated with the boilers,
  furnaces and other types of process heaters involved in coke production, sinter production, and iron and
  steel production.

  Coke used for metallurgical processes is produced by destructively distilling coal in coke ovens. The coal
  is heated in an oxygen-free atmosphere (–coked–) to remove the majority of the volatile components. The
  residual material is known as coke. Metallurgical coke is used in iron and steel industry processes
  (primarily in blast furnaces) to reduce iron ore to iron. Over 90 percent of the total coke production in the
  United States is dedicated to blast furnace operations. The remaining 10 percent is foundry coke which
  uses a different blend of coking coals, longer coking times, and lower coking temperatures relative to
  those used for metallurgical coke to produce the final product. Foundry coke is used in foundry furnaces
  for melting metal and in the preparation of molds. Coke plants are generally collocated with iron and steel
  production facilities, and the demand for coke generally corresponds with their production levels. There
  has been a steady decline in the number of coke plants over the past several years for many reasons,
  including a decline in the demand for iron/steel, increased production of steel by mini-mills (electric arc
  furnaces that do not use coke), and the lowering of the coke:iron ratio used in the blast furnace (e. g.,
  increased use of pulverized coal injection).
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  Sintering is a process that converts fine raw materials (iron ore, coke breeze, limestone, mill scale, and
  flue dust) into an agglomerated product, sinter, in a size that is conducive for charging into the blast
  furnace. The raw materials are sometimes mixed with water to provide a cohesive matrix, and then placed
  on a continuous, traveling grate called the sinter strand. A burner hood, at the beginning of the sinter
  strand ignites the coke in the mixture, after which the combustion is self supporting and it provides
  sufficient heat, 1300 to 1480°C (2400 to 2700°F), to cause surface melting and agglomeration of the mix.
  The burner hood and the combustion of the sinter mixture is the predominant source of gaseous emissions
  from this process. Underneath the sinter strand is a series of windboxes that draw combusted air down
  through the material bed into a common duct, generally leading to a gas cleaning device. At the end of the
  sinter strand, the fused product is discharged where it is crushed and screened. Undersize sinter is
  recycled to the mixing mill and back to the strand. Following the crushing and screening, the sinter
  product is cooled in open air or in a circular cooler with water sprays or mechanical fans. It is then
  crushed and screened for a final time and the appropriately sized material is sent to be charged in the blast
  furnace. About 2.5 tons of raw materials, including water and fuel, are required to produce 1 ton of
  product sinter.

  Iron is produced in blast furnaces by the reduction of iron bearing materials with a hot gas in a large,
  refractory lined furnace. The furnace is charged through its top with iron as ore, pellets, and/or sinter; flux
  as limestone, dolomite, and sinter; and coke for fuel. Iron oxides, coke and fluxes react with the blast air
  to form molten reduced iron, carbon monoxide (CO), and slag. While the molten iron and slag are
  collected in a hearth at the base of the furnace, the byproduct gas is collected through offtakes located at
  the top of the furnace and is recovered for use as fuel. The production of 1 ton of iron requires 1.4 tons of
  ore or other iron bearing material; 0.5 to 0.65 tons of coke; 0.25 tons of limestone or dolomite; and 1.8 to
  2.0 tons of air. Byproducts consist of 0.2 to 0.4 tons of slag, and 2.5 to 3.5 tons of blast furnace gas
  containing up to 100 pounds (lb) of dust.

  The molten iron and slag are removed, or cast, from the furnace on a periodic basis. The casting process
  begins by drilling a hole, called the taphole, into the clay-filled iron notch at the base of the hearth. The
  molten iron then flows into runners that lead to transport ladles. Separate runners are used to direct flows
  of slag from the furnace to a slag pit adjacent to the casthouse, or into slag pots for transport to a remote
  slag pit. At the conclusion of the cast, the taphole is replugged with clay. The area around the base of the
  furnace, including all iron and slag runners, is enclosed by a casthouse. The byproduct gas collected at the
  top of the furnace contains CO and particulate. Because of its high CO content, the blast furnace gas has a
  low heating value, about 75 to 90 BTU/ft3, and is used as a fuel within the steel plant. Before it can be
  fired however, the gas must be cleaned of particulate. Initially, the gases pass through a settling chamber
  or dry cyclone to remove about 60 percent of the particulate. Next, the gases undergo a 1- or 2-stage
  cleaning operation, typically a wet scrubber (for a single stage cleaner), which removes about 90 percent
  of the remaining particulate. If a 2-stage cleaner is used, the secondary cleaner is typically a high-energy
  wet scrubber (usually a venturi) or an electrostatic precipitator, either of which can remove up to 90
  percent of the particulate that eludes the primary cleaner. Together these control devices provide a clean
  fuel of less than 0.02 grains per cubic foot [g/ ft3]. A portion of this gas is fired in the blast furnace stoves
  to preheat the blast air, and the rest is used in other plant operations.

  Sulfur in the molten iron is sometimes reduced before charging into the steelmaking furnace by adding
  reagents. This is known as hot metal desulfurization. The reagents cause a reaction that results in floating
  slag which can be skimmed off. Desulfurization may be performed in the hot metal transfer (torpedo) car
  at a location between the blast furnace and basic oxygen furnace (BOF), or it may be done in the hot
  metal transfer (torpedo) ladle at a station inside the BOF shop. Typically the reagents used for the reaction
  are powdered calcium carbide (CaC2) and calcium carbonate (CaCO3) or salt-coated magnesium granules.
  Powdered reagents are injected into the metal through a lance with high-pressure nitrogen. The process
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  duration varies with the injection rate, hot metal chemistry, and desired final sulfur content, and is in the
  range of 5 to 30 minutes.

  Steel is typically made using basic oxygen furnaces (BOF) which employee the basic oxygen process
  (BOP). In the BOP, molten iron from a blast furnace and iron scrap are refined in a furnace by lancing (or
  injecting) high-purity oxygen. The input material is typically 70 percent molten metal and 30 percent
  scrap metal. The oxygen reacts with carbon and other impurities to remove them from the metal. Since
  the reactions are exothermic, no external heat source is required to melt the scrap and to raise the
  temperature of the metal to the desired range for tapping. The large quantities of CO produced by the
  reactions in the BOF can be controlled by combustion at the mouth of the furnace and then vented to gas
  cleaning devices, as with open hoods, or combustion can be suppressed at the furnace mouth, with closed
  hoods. BOP steelmaking is conducted in large (up to 400 ton capacity) refractory lined pear shaped
  furnaces. There are 2 major variations of the BOP. In conventional BOFs, oxygen is blown into the top of
  the furnace through a water-cooled lance. In the newer, Quelle Basic Oxygen process (Q-BOP), oxygen is
  injected through tuyeres located in the bottom of the furnace. A typical BOF cycle consists of the scrap
  charge, hot metal charge, oxygen blow (refining) period, testing for temperature and chemical
  composition of the steel, alloy additions and reblows (if necessary), tapping, and slagging. The full
  furnace cycle typically ranges from 25 to 45 minutes.

  Steel can also be made using electric arc furnaces (EAF). EAFs are normally used to produce carbon and
  alloy steels. The input material to an EAF is typically 100 percent scrap. Cylindrical, refractory lined
  EAFs are equipped with carbon electrodes to be raised or lowered through the furnace roof. With
  electrodes retracted, the furnace roof can be rotated aside to permit the charge of scrap steel by overhead
  crane. Alloying agents and fluxing materials usually are added through doors on the side of the furnace.
  The electrodes generate heat by having electric current of opposite polarities pass through each electrode.
  After melting and refining periods, the slag and steel are poured from the furnace by tilting. The
  production of steel in an EAF is a batch process. Cycles, or "heats", range from about 1-1/2 to 5 hours to
  produce carbon steel and from 5 to 10 hours or more to produce alloy steel. Scrap steel is charged to
  begin a cycle, and alloying agents and slag materials are added for refining. Stages of each cycle normally
  are charging and melting operations, refining (which usually includes oxygen blowing), and tapping.

  Steel may also be made using open hearth furnaces (OHF), which are shallow, refractory-lined basins in
  which scrap and molten iron are melted and refined into steel. The furnace is charged with scrap through
  doors in the furnace front. Hot metal from the blast furnace is added by pouring from a ladle through a
  trough positioned in the door. The mixture of scrap and hot metal can vary from all scrap to all hot metal,
  but typically a half-and-half mixture is most common. The heat for melting is provided by gas burners
  above and at the side of the furnace. Refining is accomplished by the oxidation of carbon in the metal and
  the formation of a limestone slag to remove impurities. Most furnaces are equipped with oxygen lances to
  speed up melting and refining. The steel product is tapped by opening a hole in the base of the furnace
  with an explosive charge. The open hearth steelmaking process with oxygen lancing normally requires
  from 4 to 10 hours for each heat.

  Once the steel has been tapped from a furnace, the molten metal is poured (teemed) into ingots which are
  later heated and formed into other shapes, such as blooms, billets, or slabs. The molten steel may bypass
  this entire process and go directly to a continuous casting operation. Whatever the production technique,
  the blooms, billets, or slabs undergo a surface preparation step, scarfing, which removes surface defects
  before shaping or rolling. Scarfing can be performed by a machine applying jets of oxygen to the surface
  of hot semifinished steel, or by hand (with torches) on cold or slightly heated semifinished steel.

  For fuel fired sources at iron and steel plants, control technology options identified for SO2 include
  advanced flue gas desulfurization (AFGD), dry FGD, and wet FGD; control technology options for NOx
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  include low NOx burners (LNB), LNB with flue gas recirculation (FGR), LNB with selective non-
  catalytic reduction (SNCR), ultra-low-NOx burners (ULNB), ULNB with selective catalytic reduction
  (SCR), and SCR by itself, depending upon the source type. For PM emissions, dust collectors (DC),
  fabric filters (FF), fabric filters with traveling hoods, wet electrostatic precipitators (WESP), and dry
  electrostatic precipitators (DESP) were considered. In addition for some of the PM only sources that are
  primarily fugitive in nature, enclosures (EC) were also identified as PM controls. Table 2.3 indicates the
  pollutant controls identified for each process at iron and steel plants by pollutant for the three primary
  controls (where available).

  Similarly to our treatment of industrial boilers subject to BART, in cases where the emission unit had
  more than one fuel type (segment) the primary fuel was used to develop cost estimates. Where similar
  sources (e.g., process heaters) fired different fuels and each fuel was used as a primary fuel for at least
  one emission unit, MACTEC prepared separate cost estimates for each fuel type.

     TABLE 2.2 THREE CONTROL TECHNOLOGY OPTIONS IDENTIFIED FOR IRON AND
                 STEEL PLANT EMISSION UNITS (WHERE AVAILABLE).
    SCC            SCC_L4 DESPCRITION                  Technology 1       Technology 2 Technology 3 Pollutant
  10200707 Coke Oven Gas                                  ULNB+SCR            SCR          LNB+FGR        NOx
  30300699 Other Not Classified                           ULNB+SCR            SCR            LNB          NOx
  30390002 Residual Oil: Process Heaters                        ULNB        LNB+SNCR         LNB          NOx
  30390003 Natural Gas: Process Heaters                   ULNB+SCR            SCR            LNB          NOx
  30390004 Process Gas: Process Heaters                   ULNB+SCR            SCR            LNB          NOx
  10200707 Coke Oven Gas                                         FF            DC           DESP          PM
  30300302 Oven Charging                              BAGHOUSE WITH                                       PM
                                                      TRAVELING HOOD
  30300304 Quenching                                  BAGHOUSE WITH                                       PM
                                                      TRAVELING HOOD
  30300699 Other Not Classified                                  FF            DC           DESP          PM
  30300825 Cast House                                            FF            DC           DESP          PM
  30300913 Basic Oxygen Furnace: Open Hood-Stack                 FF            DC           DESP          PM
  30300915 Hot Metal (Iron) Transfer to Steelmaking              FF            DC           DESP          PM
           Furnace
  30300931 Hot Rolling                                           FF            DC           DESP          PM
  30300932 Scarfing                                              FF            DC           DESP          PM
  30300936 Coating: Tin, Zinc, etc.                              FF            DC           DESP          PM
  30301502 Sintering: Raw Materials Handling                    EC                                        PM
  30301504 Sintering: Discharge End                             EC                                        PM
  30390002 Residual Oil: Process Heaters                         FF            DC           WESP          PM
  10200707 Coke Oven Gas                                        AFGD         Dry FGD       Wet FGD        SO2
  30300931 Hot Rolling                                          AFGD         Dry FGD       Wet FGD        SO2
  30300936 Coating: Tin, Zinc, etc.                             AFGD         Dry FGD       Wet FGD        SO2
  30390002 Residual Oil: Process Heaters                        AFGD         Dry FGD       Wet FGD        SO2
  30390004 Process Gas: Process Heaters                         AFGD         Dry FGD       Wet FGD        SO2



  NOx Emission Control Options

  Integrated iron and steel mills typically produce steel by reducing iron ore to iron in a blast furnace
  followed by removal of excess carbon and other impurities from the iron in a basic oxygen furnace. Other
  processes involve pelletizing iron ore, recycling of iron-bearing materials (e.g., sintering), coke-making,
  and steel finishing processes such as shaping, annealing, and galvanizing. All of these are high
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  temperature processes which usually involve the combustion of fossil fuels, and all are potential sources
  of NOx emissions. The following iron and steel processes are all specifically capable of generating NOx:

          •    Coke oven underfiring - a high-temperature process with NOx emissions from coke oven gas
               (COG), natural gas (NG), and/or blast furnace gas (BFG).
          •    Sinter plant - iron ore fines, coke fines, other iron-bearing materials, and (often) flux are well-
               mixed and spread uniformly on a traveling grate and ignited, typically with NG.
          •    Blast furnace – while the blast furnace itself is a closed system with no atmospheric
               emissions, each blast furnace typically has three or four associated stoves that preheat the air
               blast supplied to the blast furnace. Because these stoves are heated primarily with BFG, NOx
               emissions from the stoves generally have low concentrations.
          •    Charging – during charging, combustible off-gases are generated. Generally these are
               collected by hoods and then burned (frequently in flares). During the combustion of the off-
               gas, thermal NOx is generated.
          •    Electric arc furnace steelmaking - the use of electricity for steel melting transfers the
               generation of NOx from the iron and steel mill to a utility generating plant, however, oxygen
               and NG are sometimes used to preheat the charge. Thus EAF's are potential NOx emission
               sources.
          •    Molten steel processing - slabs, billets, and blooms may be reheated to suitable working
               temperatures in reheat furnaces prior to being passed through mills for further shaping. Ingots
               are typically reheated in soaking pits prior to subsequent processing. Reheat furnaces and
               soaking pits are high-temperature, fossil fuel (typically natural gas) burning furnaces and are
               sources of NOx emissions.
          •    Finishing processes - annealing and galvanizing also involve reheating steel products to
               suitable temperatures for processing. Consequently, these finishing processes are also sources
               of NOx emissions.

  There are three fundamentally different mechanisms of NOx formation. These mechanisms yield (1)
  thermal NOx, (2) fuel NOx, and (3) prompt NOx. The thermal NOx mechanism arises from the thermal
  dissociation and subsequent reaction of nitrogen (N2) and oxygen (O2) molecules in combustion air. The
  fuel NOx mechanism arises from the evolution and reaction of fuel-bound nitrogen compounds with
  oxygen. The prompt NOx mechanism involves the intermediate formation of hydrogen cyanide (HCN),
  followed by the oxidation of HCN to NOx. Natural gas and most distillate oils have no chemically bound
  fuel nitrogen and essentially all NOx formed from the combustion of these fuels is thermal NOx. Residual
  oils and coals all have fuel-bound nitrogen and, when these are combusted, NOx is formed by all three
  mechanisms. Iron and steel mill processes tend to use gaseous fuels, i.e., NG, COG, BFG, and oxygen,
  and the NOx generation tends to be thermal NOx. Exceptions include sintering where coke fines are
  burned as a fuel and coke ovens where coal is destructively distilled in the absence of air. Emissions from
  sintering and fugitive emissions from coke ovens may be sources of fuel NOx emissions. Prompt NOx
  formation is not a major factor. It forms only in fuel-rich flames, which are inherently low NOx emitters.
  Thermal NOx formation is the predominant mechanism of NOx generation at iron and steel mills.

  Very little NOx emissions data are available in the literature relevant to iron and steel processes. In fact
  the most current chapter of AP-42 concerning iron and steel processes shows no emission factors for NOx
  (or SO2). The Alternative Control Technology document for NOx at iron and steel plants (EPA-453/R-94-
  065) has some limited emissions data. In that report the highest emissions are found for regenerative
  annealing and galvanizing furnaces. Significant emissions are also found for coke-oven underfiring,
  sintering, and reheat furnaces. Emission factors that range from 0.021-1.2 lb/MMBtu were found for
  these sources.
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  At the time the EPA’s ACT NOx document was published (1994) few emission units found at iron and
  steel plants had NOx controls. For many emission unit types, a suitable control technique had not been
  demonstrated. At that time, this included emission units such as sinter plants, coke ovens, blast furnace
  stoves, and steelmaking furnaces. Emission processes at iron and steel plants known to have NOx controls
  applied at the time of the ACT document publication were reheat furnaces, annealing furnaces, and
  galvanizing furnaces. Control techniques known to have been applied to these processes are as follows:

                Reheat furnaces                Low excess air (LEA)
                                               LNB
                                               LNB w/ FGR
                Annealing furnaces             LNB
                                               LNB w/FGR
                                               SCR
                                               LNB plus SCR
                Galvanizing furnaces           LNB
                                               LNB w/FGR.

  As with most fuel fired NOx sources, there are two broad categories of NOx reduction techniques:
  1) process controls, including combustion modifications, that rely on reducing or inhibiting the formation
  of NOx in the production process (generally through the use of some type of combustion control on the
  fuel fired emission unit); and 2) post-combustion (secondary) controls, where flue gases are treated to
  remove NOx that has already been formed.

  For iron and steel plants, six different control technologies or control technology combinations were
  evaluated for NOx emissions from fuel fired emission units at iron and steel plants. These technologies
  are: low NOx burners, low NOx burners with FGR, low NOx burners with SNCR, ultra-low NOx burners,
  ultra-low NOx burners with SCR and SCR. These technologies provide both combustion or post-
  combustion controls (or a combination of both). Background information on each of these individual
  technologies (e.g., ULNB) is provided below.

  Flue Gas Recirculation
  Flue gas recirculation (FGR) uses flue gas as an inert material to reduce flame temperatures. In a typical
  flue gas recirculation system, flue gas is collected from the heater or stack and returned to the burner via a
  duct and blower. The flue gas for the FGR system is usually taken from the main flue gas flow
  downstream of the economizer. A fan (blower) is needed to withdraw the required amount of flue gas.
  This system is usually called Flue Gas Recirculation (FGR). In some cases, this type system is referred to
  as “External Flue Gas Recirculation (EFGR)” or “Forced Flue Gas Recirculation”. This differentiation is
  made because sometimes the flue gas for FGR is taken from the flue gas flow upstream of the stack using
  the forced draft (FD) fan instead of a separate FGR fan. This system is called “Induced Flue Gas
  Recirculation (IFGR)”. In either system, the flue gas is mixed with the combustion air and this mixture is
  introduced into the burner. The addition of flue gas reduces the oxygen content of the “combustion air”
  (air + flue gas) in the burner. The lower oxygen level in the combustion zone reduces flame temperatures;
  which in turn reduces NOx emissions. When operated without additional controls, the normal NOx control
  efficiency range for FGR is 30 percent to 50 percent. When coupled with low-NOx burners (LNB) the
  control efficiency increases to 50-72 percent.

  Low-NOx Burners
  Low-NOx burner (LNB) technology utilizes advanced burner design to reduce NOx formation through the
  restriction of oxygen, flame temperature, and/or residence time. A LNB is a staged combustion process
  that is designed to split fuel combustion into two zones, primary combustion and secondary combustion.
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  Two general types of low NOx burners exist, staged fuel and staged air. MACTEC utilized the staged fuel
  design in the cost analysis because lower emission rates can be achieved with a staged fuel burner than
  with a staged air burner. Staged fuel LNBs separate the combustion zone into two regions. The first
  region is a lean primary combustion region where the total quantity of combustion air is supplied with a
  fraction of the fuel. Combustion in the primary region (first stage) takes place in the presence of a large
  excess of oxygen at substantially lower temperatures than a standard burner. In the second region, the
  remaining fuel is injected and combusted with any oxygen left over from the primary region. The
  remaining fuel is introduced in the second stage outside of the primary combustion zone so that the
  fuel/oxygen are mixed diffusively (rather than turbulently) which maximizes the reducing conditions.
  This technique inhibits the formation of thermal NOx, but has little effect on fuel NOx. Thus staged fuel
  LNBs are particularly well suited for coal and natural gas fired emissions units which are higher in
  thermal NOx than for fuel oils which are higher in fuel NOx. For fuel oil fired emissions units, the staged
  air LNBs are generally preferred. By increasing residence times staged air LNBs provide reducing
  conditions which has a greater impact on fuel NOx than staged fuel burners. The estimated NOx control
  efficiency for LNBs in high temperature applications is 25 percent. However when coupled with FGR or
  selective non-catalytic reduction (SNCR) these efficiencies increase to 50-72 and 50-89 percent,
  respectively.

  Ultra-low NOx Burners
  These burners may incorporate a variety of techniques including induced flue gas recirculation (IFGR),
  steam injection, or a combination of techniques. These burners combine the benefits of flue gas
  recirculation and low-NOx burner control technologies. Rather than a system of fans and blowers (like
  FGR), the burner itself is designed to recirculate hot, oxygen depleted flue gas from the flame or firebox
  back into the combustion zone. This leads to a reduction in the average oxygen concentration in the flame
  without reducing the flame temperature below temperatures necessary for optimal combustion efficiency.
  Because of this reduction in temperature, ULNB would likely only be applicable to processes at iron and
  steel plants that are not temperature dependent, unless the reduction in flame temperature doesn’t fall
  below the required threshold temperature for the process. Reduced oxygen concentrations in the flame
  have a strong impact on fuel NOx so ULNBs are an effective NOx control for fuel firing equipment that
  fire fuel oil. The estimated NOx control efficiency for ULNBs in high temperature applications is 50
  percent. Newer designs have yielded efficiencies of between 75-85 percent. When coupled with selective
  catalytic reduction, efficiencies in the range of 85-97 percent can be obtained.

  Selective Catalytic Reduction
  Selective catalytic reduction (SCR) is a post-combustion NOx control technology in which ammonia
  (NH3) is injected into the post-combustion gas stream in the presence of a catalyst. A catalyst bed
  containing metals in the platinum family is used to lower the activation energy required for NOx
  decomposition. NOx is removed through the following chemical reaction:

  4 NO + 4 NH3 + O2 → 4 N2 + 6 H2O

  The reaction of NH3 and NOx is favored by the presence of excess oxygen. However, the primary variable
  affecting NOx reduction is temperature. Optimum NOx reduction occurs at catalyst bed temperatures of
  600–750 °F for conventional (vanadium or titanium based catalysts) and 470–510 °F for platinum
  catalysts. A high temperature zeolite catalyst is also available; it can operate in the 600–1000 °F
  temperature range. A given catalyst typically provides optimal performance within ± 50 °F of its design
  temperature for applications in which flue gas oxygen concentrations are greater than 1 percent. Below
  this optimum range, the catalyst activity is greatly reduced allowing unreacted NH3 to slip through
  (ammonia slip). At temperatures above 850°F ammonia begins to oxidize to form additional NOx. The
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  NH3 oxidation to NOx increases with increasing temperature. The normal NOx control efficiency range for
  SCR is 70 percent to 90 percent.

  SCR has been extensively and quite successfully used in a very cost effective manner on coal- and gas-
  fired utility boilers, industrial boilers, gas turbines and internal combustion diesel engines in the United
  States. There have been few uses of SCR in the iron and steel industry. At the time the EPA’s ACT NOx
  document was published, Japanese iron and steel mills had been experimenting with SCR for sinter plants
  and coke ovens, however these efforts at that time were experimental. As indicated above, SCR has been
  used with annealing furnaces. There are few other references to the use of SCR for NOx control for other
  emission processes at iron and steel plants. MACTEC did find one example usage of SCR for controlling
  sintering plant exhaust gases. Of particular interest in that example installation was the use of iron ore as
  the catalyst. The benefit of using iron ore as the catalyst was that unlike other types of catalyst which have
  a solid waste disposal component, the iron ore can be used directly as a steel making raw material, thus
  obviating the solid waste disposal issue.

  In the SCR process, typically, anhydrous ammonia usually diluted with air or steam is injected into hot
  flue gases, which then pass through a catalyst bed where NOx is reduced to N2 gas and water. As indicated
  above, the optimum temperature for SCR depends on the catalyst. Thus the exit gas temperatures from
  some of the processes at iron and steel plants may either be too high or too low, requiring either reheat (if
  too low) or dilution/quenching (if too high) in order to effectively use SCR. Thus careful consideration
  should be given on a source-specific basis depending on how raw materials are currently processed.

  Selective Non-Catalytic Reduction
  In the selective non-catalytic reduction (SNCR) process, urea or ammonia-based chemicals are injected
  into the flue gas stream to convert NO to N2 and water. Without the participation of a catalyst, the
  reaction requires a high temperature range to obtain activation energy. The reaction with urea is as
  follows:

  2NO + CO(NH2)2 + 1/2 O2 → 2N2 + CO2 + 2 H2O

  The optimum operating temperature for SNCR is 1,600°F to 2,100°F. Under these temperature conditions
  a significant reduction in NOx occurs. At temperatures above 2,000°F an alternative reaction occurs and
  NOx control efficiency decreases rapidly. The normal NOx control efficiency range for SNCR is 50
  percent to 70 percent. To date there are no known installations of SNCR at iron and steel plants. While
  there are not any known installations, there should be no reason that SNCR couldn’t be used for some
  operations within an iron and steel plant.

  Site-specific Measures
  Site-specific measures may also be employed to reduce NOx emissions. Under this option, facility
  operators would evaluate the impact of fuels on NOx emission rates. Generally an evaluation of the
  impacts of fuels would result in an evaluation of fuel switching. Fuel switching is less likely in the iron
  and steel industry since much of the fuel used is gaseous, and in several instances is the use of byproduct
  fuels (e.g., blast furnace gas). Switching to coal or oil may not be an option for iron and steel plants and
  will likely result in substantial increases in SO2 emission levels. For this analysis we have not directly
  considered fuel switching as an alternative to add on controls. However there may be certain processes at
  specific sites that could see potential cost savings by fuel switching resulting in a single type of control
  rather than controls for several visibility impairing pollutants. If this option is employed, increases in
  other pollutant emissions should be compared to the emission reductions achieved for the current fuel in
  order to identify the best net reduction in visibility impairing pollutants.
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  SO2 Emission Control Options

  Sulfur dioxide may be generated both from the sulfur compounds in the raw materials and from sulfur in
  the fuel. The sulfur content of both raw materials and fuels varies from plant to plant and with geographic
  location. With that said, MACTEC has been unable to find a single instance of installed SO2 controls at
  iron and steel plants. Part of the reason for this is because with few exceptions, the fuel fired processes at
  iron and steel plants generally use a gaseous fuel (natural gas, blast furnace gas, etc.). The main SO2
  emitting processes at the LADCO facilities evaluated in this work were sinter windboxes, coke
  underfiring, and boilers and process heaters firing either process gas or blast furnace gas. In general
  (especially for process heaters and boilers), typical SO2 controls could be utilized for control of SO2.

  The three control technologies evaluated for SO2 emissions from iron and steel plants were: 1) advanced
  flue gas desulfurization (AFGD), 2) wet flue gas desulfurization, and 3) dry flue gas desulfurization
  (spray dryer absorption). A brief description of each of these technologies is provided below.

  Advanced Flue Gas Desulfurization
  The AFGD process accomplishes SO2 removal in a single absorber which performs three functions:
  prequenching the flue gas, absorption of SO2, and oxidation of the resulting calcium sulfite to wallboard-
  grade gypsum. Figure 2.2 shows the process flow for an AFGD system.

            FIGURE 2.2 ADVANCED FLUE GAS DESULFURIZATION PROCESS FLOW




  Incoming flue gas is cooled and humidified with process water sprays before passing to the absorber. In
  the absorber, two tiers of fountain-like sprays distribute reagent slurry over polymer grid packing that
  provides a large surface area for gas/liquid contact. The gas then enters a large gas/liquid disengagement
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  zone above the slurry reservoir in the bottom of the absorber and exits through a horizontal mist
  eliminator.

  As the flue gas contacts the slurry, the sulfur dioxide is absorbed, neutralized, and partially oxidized to
  calcium sulfite and calcium sulfate. The overall reactions are shown in the following equations:

  CaCO3 + SO2 → CaSO3 • 1/2 H2O + CO2
  CaSO3 •1/2 H2O + 3H2O + O2 → 2 CaSO4 • 2 H2O

  After contacting the flue gas, slurry falls into the slurry reservoir where any unreacted acids are
  neutralized by limestone injected in dry powder form into the reservoir. The primary reaction product,
  calcium sulfite, is oxidized to gypsum by the air rotary spargers, which both mix the slurry in the
  reservoir and inject air into it. Fixed air spargers assist in completing the oxidation. Slurry from the
  reservoir is circulated to the absorber grid.

  A slurry stream is drawn from the tank, dewatered, and washed to remove chlorides and produce
  wallboard quality gypsum. The resultant gypsum cake contains less than 10 percent water and 20 ppm
  chlorides. The clarified liquid is returned to the reservoir, with a slipstream being withdrawn and sent to
  the wastewater evaporation system for injection into the hot flue gas ahead of the electrostatic
  precipitator. Water evaporates and dissolved solids are collected along with the flyash for disposal or sale.

  Wet Scrubbing / Flue-Gas Desulfurization
  Wet scrubbing techniques are used to control both particulate and SO2 emissions. Wet scrubbing
  processes used to control SO2 are generally termed flue-gas desulfurization (FGD) processes. FGD
  utilizes gas absorption technology, the selective transfer of materials from a gas to a contacting liquid, to
  remove SO2 in the waste gas. Caustic, crushed limestone, or lime are used as scrubbing agents. Our
  BART screening evaluation assumes that lime is the scrubbing agent. The SO2 removal reactions for lime
  are as follows:

  Ca(OH)2 +SO2 → CaSO3 • 1/2 H2O + 1/2 H2O
  Ca(OH)2 + SO2 + 1/2 O2 + H2O → CaSO4 • 2 H2O

  The reactions when caustic are used are as follows:

  Na+ + OH- + SO2 → NaHSO3
  2Na+ + 2OH- + SO2 → Na2SO3 + H2O

  The reactions for limestone are presented in the AFGR section.

  Caustic scrubbing produces a liquid waste, and minimal equipment is needed. When lime or limestone is
  used as the reagent for SO2 removal, additional equipment is needed for preparing the lime/limestone
  slurry and collecting and concentrating the resultant sludge. Calcium sulfite sludge is watery and it is
  typically stabilized with fly ash for land filling. The calcium sulfate sludge is stable and easy to dewater.
  To produce calcium sulfate, an air injection blower is needed to supply the oxygen for the second reaction
  to occur. The normal SO2 control efficiency range for SO2 scrubbers is 80 percent to 90 percent for low
  efficiency scrubbers and 90 percent to 99 percent for high efficiency scrubbers.

  While wet scrubbers have been used successfully in the utility industry for control of SO2 from boilers,
  they may require more care when used for an iron and steel plant, since the likelihood of additional
  contaminants in the fuel source is higher. Calcium sulfate scaling and cementitious buildup when a wet
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  scrubber is used for acid gas control are potential problems when high particulate loadings are found in
  the gas stream. Many of these problems can be avoided however, if these systems are installed
  downstream of a high efficiency particulate control device (e.g., fabric filter). Failure of the particulate
  control device can pose difficult problems for a downstream wet scrubber.

  Dry Flue Gas Desulfurization (Spray Dryer Absorption)
  Spray dryer absorption (SDA) systems spray lime slurry into an absorption tower where SO2 is absorbed
  by the slurry, forming CaSO3/CaSO4. The liquid-to-gas ratio is such that the water evaporates before the
  droplets reach the bottom of the tower. The dry solids are carried out with the gas and collected with a
  fabric filter or ESP. When used to specifically control SO2, the term dry flue-gas desulfurization (dry
  FGD) may also be used. As with other types of dry scrubbing systems (such as lime/limestone injection)
  exhaust gases that exit at or near the adiabatic saturation temperature can create problems with this
  control technology by causing the baghouse filter cake to become saturated with moisture and plug both
  the filters and the dust removal system. In addition, the lime slurry would not dry properly and it would
  plug up the dust collection system. However there is some argument in the control community that
  indicates that some of the SO2 removal actually occurs on the filter cake. Therefore, dry FGD (spray dryer
  absorption) may not be technically feasible if exit gas temperatures are not substantially above the
  adiabatic saturation temperature. For iron and steel plants, these temperatures are likely to be above the
  adiabatic saturation temperature. If not, a reheater can be applied to the stream to raise the temperature
  above the adiabatic saturation level.

  PM Emission Control Options

  Sources of PM at iron and steel plants include (1) sintering, (2) raw material storage, (3) blast furnace, (4)
  boilers and process heaters, (5) casting and finishing operations, (6) milling, (7) pickling and cleaning
  operations, and (8) coke production. Some of these sources are PM only sources while others also emit
  SO2 and NOx.

  For the LADCO iron and steel sources identified as being BART eligible, the largest emission units are
  blast furnaces, sintering windboxes, coke underfiring, and scarfing. Particulate control devices for iron
  and steel plants must be able to clean gases with fairly high dust loadings.

  Four general types of control technologies were evaluated for PM emissions from emission units at iron
  and steel plants: fabric filter (either fixed or attached to traveling hoods), dust collector (cartridge), wet
  electrostatic precipitator, and dry electrostatic precipitator. All of these control technologies are deemed
  technically feasible for retrofitting at iron and steel plants, specifically for non-fugitive emission sources.

  In addition to the devices identified for non-fugitive emission sources, enclosures were identified as a
  means of controlling emissions from sintering raw materials handling and from the discharge end of the
  sintering process. We also look at best management practices as a means of controlling emissions from
  these two types of sources. Descriptions of each of these controls (fugitive and non-fugitive) are provided
  below.

  Fabric Filter
  A fabric filter, or baghouse, is a potential control method for particulate emissions from non-fugitive
  emission units at iron and steel plants. Many of these facilities are already using fabric filters. The only
  potential drawback to a fabric filter would be when used in conjunction with a high moisture flue gas
  stream or with extremely high temperatures. If moisture levels in the flue gas stream are too high then
  filter caking can occur. A fabric filter, or baghouse, consists of a number of fabric bags placed in parallel
  inside of an enclosure. Particulate matter is collected on the surface of the bags as the gas stream passes
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  through them. The particulate is periodically removed from the bags and collected in hoppers located
  beneath the bags. A number of methods are employed to facilitate the removal of particulate from the
  bags, including shaking, reverse air flow, and pulse air flow. The normal PM control efficiency range for
  a fabric filter is 95 percent to 99+ percent. A number of emission units at the iron and steel plant emission
  units identified as potentially subject to BART in the LADCO region already have fabric filters to control
  particulate emissions.

  Dust Collector
  Dust collectors are similar to fabric filters in that the air stream is cleaned by passing the stream through a
  material that acts as a filter. In the case of dust collectors, the filter material is typically a pleated fabric or
  filter type material. As with fabric filters, the dust is periodically removed, typically by pulsed air jets.
  The removed particulate is collected in hoppers located beneath the collector. Several factors determine
  cartridge filter collection efficiency including gas filtration velocity, particle characteristics, filter media
  characteristics, and cleaning mechanism. The normal PM control efficiency range for a dust collector is in
  the 99+ percent range.

  Cartridge dust collectors do have some limitations however. For example, cartridges are limited in
  temperature range due to filter media and sealant to approximately 200 ºF. Synthetic non-woven media
  can be used to a temperature of approximately 400 º F. Higher temperature streams must be cooled to
  temperatures below these levels using spray coolers or dilution air in order not to damage the cartridges.
  Minimum temperatures must be kept above the adiabatic saturation temperature in order not to condense
  materials out. Corrosive streams can also cause problems for the cartridges.

  Cartridge filtration systems are generally limited to low flow rate applications. The cartridges also need to
  operate with a medium pressure drop typically in the range of 100 – 250 mm of water.

  Cartridge filtration does have two significant advantages. First the space requirements are significantly
  lower than those for a baghouse. Second for particles that have low resistivity that would not be handled
  well by an ESP, cartridges may be an ideal solution.

  For iron and steel plants, dust cartridges are likely to only be technically feasible for lower temperature
  operations or low flow operations.

  Dry Electrostatic Precipitator
  An electrostatic precipitator (ESP) is a potential control method for particulates from iron and steel plants,
  especially those from fuel fired equipment. An electrostatic precipitator applies electrical forces to
  separate suspended particles from the flue gas stream. The suspended particles are given an electrical
  charge by passing through a high voltage DC corona region in which gaseous ions flow. There are two
  general types of ESP: wire/plate and wire/pipe types. Further, ESPs come in both wet (see below) and
  dry configurations. The charged particles are attracted to and collected on oppositely charged collector
  surfaces. In a dry electrostatic precipitator (DESP) particles on the collector surfaces are released by
  rapping and fall into hoppers for collection and removal. The normal PM control efficiency range for an
  ESP is between 90 and 99+ percent with typical values reaching the 98 percent to 99+ percent range.

  One of the major advantages of an ESP is that it operates with essentially little pressure drop in the gas
  stream. As a consequence, energy and operational costs tend to be low (other than electricity to operate
  the ESP itself). They are also capable of handling high temperature conditions. The major disadvantages
  of ESPs are their high capital costs and the fact that wire discharge electrodes are a high maintenance
  item. They are also not well suited for operations that are highly variable due to their sensitivity to gas
  flow, temperature and particle/gas composition. They also do not handle “sticky” particles well or those
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  that have high resistivities. There may also be the danger of explosion if the gas stream composition is
  flammable. Relatively sophisticated maintenance personnel are required. Finally, ESPs can take up
  substantial space in order to achieve the low gas velocities required for efficient particle removal. This
  may be of concern for retrofit options where space is at a premium.

  Wet Electrostatic Precipitator
  A wet electrostatic precipitator (WESP) is a potential control method for particulates in boiler flue gas. A
  WESP operates on the same collection principles as a DESP, and uses a water spray to remove particulate
  matter from the collection plates. The normal PM control efficiency range for a WESP is 98 percent to
  99+ percent. The same advantages and disadvantages that apply to a DESP apply to a WESP with the
  exception that WESPs can effectively be used to collect “sticky” particles and highly resistive dust. In
  addition, the wash used in WESPs can also have some control effect on other pollutant gases via
  absorption and can help condense other emissions due to the cooling of the stream by the wash.

  Enclosures
  An enclosure is a potential control method for particulate emissions from material handling sources such
  as mills, grinders, conveyors, etc.. Enclosures, either partial or complete, surround the source as much as
  possible without interfering with the process operations. Enclosures prevent particulate matter from
  becoming airborne as a result of disturbance created by ambient winds or by mechanical entrainment
  resulting from the operation of the source causing the emissions. The normal PM control efficiency range
  for an enclosure is 50 percent to 100 percent.

  Partial enclosures are sometimes combined with wet suppression techniques to provide slightly higher
  control efficiencies. In general partial enclosures with wet suppression PM control efficiencies are
  generally towards the top end of the wet suppression alone.

  Wet Suppression
  Although wet suppression wasn’t specifically identified as a potential control method for particulate
  matter emitted from material handling and other fugitive PM sources at iron and steel plants, certain
  emission units at LADCO plants already use wet suppression for PM control. In general, wet suppression
  systems apply either water or water containing a chemical surfactant or foaming agent to the surface of
  the particulate generating material. The chemical surfactant or foaming agent agglomerates and binds the
  particulates to the aggregate surface thus eliminating or reducing its emission potential. Care must be
  taken when using surfactant or foaming agents to insure that their use doesn’t compromise the product
  requirements. In addition, wet suppression can only be used where the final usage of the product does not
  require a dried product, unless drying occurs as part of the process. The normal PM control efficiency
  range for wet suppression is 50 percent to 75 percent.

  Best Management Practices
  Although not specifically identified by MACTEC as a control, PM emissions can also be controlled via
  “best management practices” (BMP). Best management practices are preventative measures that minimize
  the release of particulate matter into the environment. Best management practices may include the proper
  design and maintenance of equipment, good housekeeping, and good operating practices such as using
  telescopic chutes (basically a form of enclosure) for loading and unloading procedures, limiting drop
  heights, covering truck beds, and orienting storage piles perpendicularly to prevailing winds to reduce the
  exposed surface (and thus the emissions). The PM control efficiency range for best management practices
  varies depending upon the application.
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  Close scrutiny should be given to these type processes at iron and steel plants to determine if BMP can be
  used to help control PM emissions at iron and steel facilities.

  Effect of the NESHAP on PM Controls
  PM controls are specified in the NESHAP for iron and steel plants. Thus if the facility is considered
  “major” for HAPS, then PM controls will be required for certain sources within iron and steel plants.

  The PM emission limits for a sinter windbox exhaust stream are 0.4 pounds per ton (lb/ton) of product
  sinter for an existing sinter plant and 0.3 lb/ton for a new sinter plant. The final rule limits PM emissions
  from a discharge end to 0.02 grains per dry standard cubic foot (gr/dscf) for an existing plant and 0.01 gr/
  dscf for a new plant. The discharge end PM limits are a flow-weighted average when multiple control
  devices are operated in parallel. A 20 percent opacity limit applies to fugitive emissions from a discharge
  end at an existing sinter plant; a 10 percent opacity limit applies to a new sinter plant (both are 6-minute
  averages). The PM emission limits for sinter cooler stacks are 0.03 gr/dscf for an existing plant and 0.01
  gr/dscf for a new plant. If the sinter cooler is vented to the same control device as the discharge end, the
  PM limit is 0.02 gr/dscf for an existing plant and 0.01 gr/dscf for a new plant.

  For blast furnaces the PM emission limits for a control device applied to emissions from a casthouse are
  0.01 gr/dscf for an existing blast furnace and 0.003 gr/dscf for a new blast furnace. The opacity limits for
  fugitive emissions from a casthouse are 20 percent for an existing blast furnace and 15 percent for a new
  blast furnace (both are 6-minute averages).

  For primary emissions from a basic oxygen process furnace (BOPF), different PM emission limits apply
  based on the type of hood system (closed or open). For BOPF with closed hood systems at a new or
  existing BOPF shop, the PM emission limit is 0.03 gr/dscf, and it only applies during periods of primary
  oxygen blow. The primary oxygen blow is the period in which oxygen is initially blown into the furnace
  and does not include any subsequent reblows. For BOPF with open hood systems, the PM emission limits
  are 0.02 gr/dscf for an existing BOPF shop and 0.01 gr/dscf for a new BOPF shop. These emission limits
  apply during all periods of the steel production cycle. The steel production cycle begins when the furnace
  is first charged with scrap and ends 3 minutes after slag is removed. The BOPF limits are a flow-weighted
  average when multiple control devices are operated in parallel. The PM emission limits for a control
  device applied solely to secondary emissions from a BOPF are 0.01 gr/dscf for an existing BOPF shop
  and 0.0052 gr/dscf for a new BOPF shop. Secondary emissions are those not controlled by the primary
  emission control system, including emissions that escape from open and closed hoods and openings in the
  ductwork to the primary control system. For the BOPF shop, the PM emission limit for a control device
  applied to emissions from ancillary operations (hot metal transfer, skimming, and desulfurization) is 0.01
  gr/dscf for an existing BOPF shop and 0.003 for a new BOPF shop. The PM emission limits for ladle
  metallurgy operations are 0.01 gr/dscf for an existing BOPF shop and 0.004 gr/dscf for a new BOPF
  shop. For the BOPF roof monitor, a 20 percent opacity limit applies to fugitive emissions from the BOPF
  or BOPF shop operations in an existing BOPF shop. This opacity limit is based on 3-minute averages. For
  a new BOPF shop housing a bottom-blown furnace, a 10 percent opacity limit applies (6-minute average)
  except that one 6-minute period not to exceed 20 percent may occur once during each steel production
  cycle. For a new BOPF shop housing a top-blown furnace, a 10 percent opacity limit applies (3-minute
  average) except that one 3-minute period greater than 10 percent but less than 20 percent may occur once
  during each steel production cycle.

  VOC Emission Control Options

  No controls which specifically targeted VOCs were identified for iron and steel plants. Since there is a
  NESHAP for iron and steel plants, controls for HAPs (which would also control many VOC emissions)
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  should be sufficient to control VOC emissions from iron and steel plants. Four emission units at ISG-
  Burns Harbor in Indiana are already controlled for VOC. Two of these units are controlled with simple
  process enclosures, one with a venturi scrubber and one with a direct flame afterburner. The direct flame
  afterburner controls stack emissions from the BOF refining cycle, while the venturi scrubber controls
  emissions from the BOF charging, tapping and slagoff processes. The process enclosures control
  emissions from the sheet temper mill and the rolling process. Since the VOC emissions should be largely
  controlled under the NESHAP standards, MACTEC did not develop cost analyses for VOC controls.
  Total VOC emissions from all LADCO iron and steel plant emission units evaluated for BART are
  approximately 1000 tons. One third of these emissions are from sinter windbox operations.

  The final NESHAP rule requires sinter plants to maintain the oil content of the feedstock at or below 0.02
  percent. This limit is based on a 30-day rolling average. There is also an alternative VOC limit of 0.2
  pound of VOC per ton (lb/ton) of sinter produced. This limit is also based on a 30-day rolling average.
  Thus VOC emissions from sintering operations (the largest sources of VOC emissions for LADCO
  BART facilities) should be controlled as long as the plant is considered “major” for HAPS.
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                                 SECTION 3
         IRON AND STEEL PLANT BART ENGINEERING SCREENING ANALYSIS

  Application of BART Screening to Model Iron and Steel Plant Sources

  The first four of the five BART evaluation steps are completed in this section on a model iron and steel
  plant screening level. The fifth step, selecting BART for the iron and steel plant emission units identified
  above, takes into account as much source-specific data as possible with respect to control options, costs
  and any non-air environmental impacts identified for those sources. The analysis of potential BART
  control technologies must take into account:

          •    The available retrofit control options,
          •    Any pollution control equipment in use at the source,
          •    The costs of compliance with control options,
          •    The remaining useful life of the facility, and
          •    The energy and non-air quality environmental impacts of control options.

  The BART screening study uses a model iron and steel facility approach, which attempts to represent
  average operational conditions for an iron and steel plant across the various sources identified in the list
  of emission units for LADCO. Each iron and steel plant is different, and site-specific issues must be
  considered in the BART analysis. Site-specific conditions are discussed at the end of this section.

  Information Sources

  The screening BART analysis used the following primary information sources. Cost information was
  developed from the following sources:

          •    Emission control costs are estimated using the capital costs identified in the MACTEC
               spreadsheet identifying the top three control technologies for each pollutant. A list of
               references/sources reviewed to develop that list was provided with the spreadsheet. Operating
               costs were based on the EPA Air Pollution Control Cost Manual.
          •    Control equipment costs were also obtained from readily available vendor information.
          •    All control costs were adjusted for inflation using the Consumer Price Index to provide
               constant dollar estimates.
          •    Information gaps were addressed by collecting additional cost data from control equipment
               manufacturers or trade organization (e.g. ICAC).
          •    Gas and electric costs are based on the U.S. Department of Energy's data for industrial
               sources (http://www.eia.doe.gov).
          •    Wastewater treatment costs are obtained from the EPA Air Pollution Control Cost Manual.

  In addition to these control cost information sources, MACTEC also used information from vendors,
  trade associations and the EPA documents “Alternative Control Techniques Document – NOx Emissions
  From Iron And Steel Mills,” EPA Report # EPA-453/R-94-065, 1994 and “National Emission Standards
  for Hazardous Air Pollutants (NESHAP) for Integrated Iron and Steel Plants - Background Information
  for Proposed Standards”, EPA Report # EPA-453/R-01-005, January 2001 to assist in developing the
  parameters for the model iron and steel plant. The NESHAP report was particularly useful because one of
  the primary plants considered in that report was the former Bethlehem Steel plant at Burns Harbor, IN
  (now ISG-Burns Harbor).
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  General Control Technology Review Issues

  This section outlines important issues that must be taken into account when performing a case-by-case
  BART evaluation.

  Emission Controls vs. Impact on Visibility

  In accordance with 40 CFR 51.308(e)(1)(ii)(A) and (B), a BART determination must be based on the
  following two analyses:

          “(A) An analysis of the best system of continuous emission control technology available
              and associated emission reductions achievable for each BART-eligible source …;
              and
          (B) An analysis of the degree of visibility improvement that would be achieved in each
              mandatory Class I Federal area as a result of the emission reductions achievable
              from all sources subject to BART located within the region that contributes to
              visibility impairment in the Class I area, based on the analysis conducted under
              paragraph (e)(1)(ii)(A) of this section.”

  This work is focused strictly on item A, the best system of continuous emission control technology and
  the associated emission reductions (i.e., the BART engineering analysis). For this analysis, a series of
  spreadsheets were developed to calculate the costs associated with the various control options evaluated
  for each model source. The spreadsheets were made flexible enough to handle some source-specific input,
  enabling the user to recalculate costs using these more source-specific inputs. For this analysis, the
  emission control costs reported in this section for the model sources include estimates of capital costs,
  operating costs and cost effectiveness (in units of dollars per ton of pollutant removed). It is important to
  remember that each pollutant has a different impact on visibility.

  As indicated earlier, the majority of SO2 and NOx emissions from iron and steel plants are associated with
  fuel fired operations such as process heaters and boilers along with coke underfiring and sinter (windbox)
  production. In addition, these sources were substantial contributors to PM emissions. According to the
  information provided by LADCO, the primary fuels used for process heaters and boilers are natural gas,
  coke oven gas or blast furnace gas. The spreadsheets prepared were developed assuming that coke oven
  gas and blast furnace gas were the primary fuels. While coke oven gas and blast furnace gas are similar to
  natural gas, the SO2 emissions from these types of emission units required that the SO2 emission factor for
  natural gas be raised to account for the higher sulfur levels found in coke oven and blast furnace gases
  relative to natural gas. The emission factor was raised enough to roughly approximate the mean SO2
  emissions found for all coke oven or blast furnace gas operations at the LADCO iron and steel facilities.
  Because the average emissions of SO2 from natural gas fired boilers and process heaters was
  approximately 10 tons per year, we did not develop cost estimates for natural gas fired units for SO2. For
  NOx, we used a single emission factor (natural gas) to approximate all three gases since natural gas
  process heaters and boilers generally have higher NOx emissions than either blast furnace or coke oven
  gas. We did not perform cost analyses for any secondary fuel types since their emissions were very small.

  We also evaluated PM only sources and more simplified cost estimation procedures (e.g., for enclosures)
  were developed to assess the control costs and emission reductions for these sources.
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  Site-specific Factors that Affect Control Costs

  Although the model sources have been developed to provide a general indication of the technical and
  economic feasibility of each control technology, a unit-specific BART evaluation must still be performed.
  A case-by-case evaluation should consider these steps.
         • Determine the technical feasibility of listed control equipment for each source subject to
             BART. Check the technical feasibility analysis to see if analysis is consistent with site-
             specific conditions. Eliminate all technologies that are infeasible.
         • Conduct a control cost analysis on the remaining technologies per the listed control
             technology rankings. At some point it is likely that site-specific vendor quotes will be
             required to get accurate cost analysis results. However, one of the reasons we decided to use
             the model source approach was that if there are a significant number of similar sources,
             selection of a typical-sized source helps minimize the amount of work needed to perform the
             cost analysis. Use of the appropriate model source cost analysis in this report as guidance for
             the cost analysis should provide a relatively good approximation of the potential costs. In
             addition, most of the cost analyses tools that are available (such as the EPA Control Cost
             Manual) are generally only good to within about 30 percent. While we have tried to include
             some specific items that are site-specific, a further review of the list of factors that affect site-
             specific retrofit costs is advised. From that review, one should identify those factors for
             which costs will affect control equipment installation at the specific site and include them in
             the cost analysis. For example, the utility costs used in the spreadsheets should be checked
             and any appropriate adjustments in the cost calculations made.
         • Compare the calculated control costs to the results of the economic affordability analysis to
             determine which controls are economically feasible and select the appropriate controls as
             BART. Conduct a site-specific economic analysis of control cost affordability. Site-specific
             factors can significantly impact the installed costs of pollution control equipment. This is
             especially true at retrofits of existing equipment, which is the case with BART-eligible
             sources. Site-specific factors that can impact control costs include:
                      o Site preparation work due to removal of existing equipment or modification of
                           existing buildings and structures.
                      o Site access for equipment delivery and erection. Existing buildings and structures
                           may limit access to the construction site by cranes and other construction
                           equipment.
                      o Additional engineering costs to address piping and duct work tie-ins to existing
                           equipment and structural issues caused by installing new equipment that was not
                           planned for in the original equipment design. Process Safety Management
                           Hazardous Operation (Haz-Op) review requirements and resultant safety system
                           designs could also add to engineering costs.
                      o Additional piping and insulation costs to fit new piping and ductwork within
                           existing pipe racks and equipment support structures.
                      o Auxiliary equipment that may be needed to accommodate the new control system
                           e.g. blowers, heat exchangers, duct burners, or bypass stacks.
                      o Lost production due to process equipment down time while the new equipment is
                           being installed. This generally occurs when piping and duct work are tied in to
                           existing equipment.
         • If the facility is located in a relatively remote location, freight costs may be higher than
             standard estimating factors.
         • For larger facilities, installation of control equipment will likely require on-site fabrication,
             which can increase construction costs.
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          •    Site-specific wastewater treatment costs should be carefully evaluated. The raw materials
               used in production affect the type of constituents that may be found in wastewater streams.
               When certain materials are captured by wet scrubbing systems, they will likely affect
               wastewater quality, and the impact of scrubber blowdown on wastewater management
               systems should be considered. Compliance with water quality standards also needs to be
               considered.

  Model Source Parameters

  The BART screening evaluation uses a model iron and steel plant source to develop cost estimates for
  pollution control equipment. The model iron and steel plant parameters are listed in Table 3.1. The model
  source parameters were selected by using information collected as part of the following documents:

          1. “Assessment of Control Options For Bart-Eligible Sources: Steam Electric Boilers, Industrial
             Boilers, Cement Plants, And Paper and Pulp Facilities,” Draft Document prepared for
             NESCAUM, December 2004.
          2. “Alternative Control Techniques Document – NOx Emissions From Iron And Steel Mills,”
             EPA Report # EPA-453/R-94-065, 1994
          3. “National Emission Standards for Hazardous Air Pollutants (NESHAP) for Integrated Iron
             and Steel Plants - Background Information for Proposed Standards”, EPA Report # EPA-
             453/R-01-005, January 2001

  In addition, information from internet websites related to iron and steel production and actual plant
  specific data provided by IN for the ISG-Burns Harbor facility were utilized for supplemental
  information.

  Although three fuel types are used for fuel fired equipment at the LADCO iron and steel plants (natural
  gas, coke oven gas and blast furnace gas), MACTEC used only one gas to produce the cost estimates (and
  emission reductions). We used a “process gas” that roughly reflected the composite composition of coke
  oven gas and blast furnace gas, since they were the two predominant gases used as fuel at the LADCO
  iron and steel plants. The parameters used to estimate costs for typical operations at iron and steel plants
  are provided in Table 3.1 below.

              TABLE 3.1 SUMMARY OF MODEL IRON AND STEEL PLANT OPERATING
                                   CHARACTERISTICS.

                        Emission Unit Type              Flow     Exit Temperature (ºF)
                              Boilers                  264,000            450
                          Coke underfire               115,000           490
                             Furnaces                  109,000           1200
                          Sinter windbox               623,100            114

  Model Iron and Steel Plant NOx Control Technology Review

  Thermal NOx from fuel combustion in boilers, furnaces, process heaters, coke underfiring, and sinter
  production are the primary source of emissions from iron and steel plants. The five steps used to
  determine BART for the model iron and steel plant are examined below.

               1. Identify Available Retrofit Control Technologies
               2. Eliminate Technically Infeasible Options
               3. Rank Remaining Control Technologies
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               4. Evaluate Impacts and Document the Results
               5. Recommend BART for model source

  BART Step 1: Identify All Available Retrofit Control Technologies
  The control technologies identified for NOx are as follows:

          •    Low-NOx Burners (LNB)
          •    Low NOx burners with FGR (LNB/FGR)
          •    Low NOx burners with Selective Non-catalytic Reduction (SNCR)
          •    Ultra-low NOx burners (ULNB)
          •    Ultra-low NOx burners (ULNB) with Selective Catalytic Reduction (SCR)
          •    Selective Catalytic Reduction (SCR)

  The previous section provided background information on these control technologies.

  BART Step 2: Eliminate Technically Infeasible Options
  A summary of the technical feasibility analysis is listed in Table 3.2. Details of the analysis for each
  control technology follow the summary table.

  TABLE 3.2 SUMMARY OF TECHNICAL FEASIBILITY FOR IRON AND STEEL PLANT NOX
                                EMISSIONS

  Control Technology Feasibility Determination - Issues That Affect Control Technology Feasibility
                      Control Type                                       Issues
  Flue Gas Recirculation (FGR)                      Minimum temperature requirements
                                                    Minimum oxygen levels
                                                    Fan capacity
                                                    Furnace pressure
                                                    Burner pressure drop
                                                    Turndown stability
  Low-NOx Burners                                   Minimum temperature requirements
                                                    Minimum oxygen levels
                                                    Flame length
  Ultra-Low-NOx Burners (ULNB)                      Minimum temperature requirements
                                                    Minimum oxygen levels
                                                    Flame length
  Selective Non-Catalytic Reduction (SNCR)          High temperature requirements
                                                    Ammonium sulfate formation
                                                    Ammonia water/waste issues
                                                    Ammonia slip potential
  Selective Catalytic Reduction (SCR)               Limited temperature range for operations
                                                    Ammonium sulfate formation/fouling
                                                    Ammonia slip potential

  FGR – Infeasible when used by itself
  From a strictly technical standpoint, FGR is feasible as long as there is no minimum operational
  temperature/oxygen requirement for the fuel fired emission unit. FGR may also affect fan capacity,
  furnace pressure, burner pressure drop, and turndown stability. If these are critical parameters for
  processes associated with iron and steel production, then FGR may be infeasible. However for this study,
  we consider FGR by itself to be infeasible because of its generally low control efficiency when used
  alone. It is considered feasible when used in conjunction with LNB.
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  Low-NOx Burners and Low NOx Burners with FGR – Feasible
  LNB are currently in use at some iron and steel facilities so LNB is considered feasible for use at most
  fuel fired processes within an iron and steel plant. It is even more efficient when coupled with FGR for
  processes that can tolerate the reduce pressures and other slight operational changes that LNB/FGR cause
  for fuel fired emission units.

  Low-NOx Burners with SNCR – Potentially infeasible depending upon temperature and sulfur content
  There are currently no LNB/SNCR controls active or planned for iron an steel plants. Since LNB is in
  current use there should be no reason that LNB couldn’t be used for iron and steel fuel fired emission
  units coupled with SNCR. However, the SNCR reagents must be injected into the furnace at 1,600 °F to
  2100 °F. Thus if combustion zone temperatures within the fuel fired emission unit do not fall into this
  range, then adding SNCR to LNB would be infeasible. Many of the fuel fired processes at iron and steel
  plants have firing temperatures in this range. Additionally, SNCR tends to be less efficient at low NOx
  concentrations. Typical values are 200–400 ppm and SNCR operates more efficiently at the middle to
  upper end of this range. A second issue with SNCR is the potential for formation of ammonium sulfate
  salts. If sulfur oxides are present in the gas stream they can react with excess ammonia from the SNCR
  process to form ammonium salts. These materials are very sticky and cause plugging problems if the gas
  drops below the adiabatic saturation temperature of 350° F. Thus downstream cleaning may be required.
  Since coke oven gas and blast furnace gas are higher in sulfur than natural gas (but still likely lower than
  oil or coal), there may not be an issue with SNCR and ammonium sulfate salts. However since there are
  no active installations of SNCR either alone or in combination with LNB at iron and steel plants, it cannot
  be completely ruled out. Ammonia also poses potential water quality issues. Ammonia slip released to the
  atmosphere could contaminate surface waters by deposition. Ammonia may also absorb onto fly ash in
  some boilers leading to potential issues related to disposal or reuse of the ash. While we have assumed for
  costing purposes that the model iron and steel fuel fired combustion units have temperatures sufficient for
  use of this technology, the temperature characteristics of each specific boiler need to be verified in order
  to definitively say that this technology will work for industrial boilers. We have also assumed (for costing
  purposes) that sulfate salts won’t be a problem but further information would be needed to provide a
  complete assessment.

  Ultra-low NOx Burners – Feasible
  ULNB have similar constraints to FGR. Low-NOx and ULNB reduce NOx formation by restricting flame
  temperature under low oxygen levels. As long as there are no constraints within the facility for flame
  temperature and/or oxygen levels for the fuel fired emission unit, ULNB should be feasible. In addition,
  ULNB typically has a longer flame pattern than a standard burner. The impact of longer flames should be
  evaluated when considering installation of these burners.

  Ultra-low NOx Burners/SCR – Feasible with the correct temperature
  The SCR catalysts generally work only in an operating temperature range of 480 °F to 800 °F but will
  tolerate fairly large swings within that range. Above 850 °F, NH3 is oxidized. In general, the SCR
  catalysts may be fouled or deactivated by particulates present in the flue gas. In addition, for iron and
  steel plants, the presence of alkalies and lime (limestone is used in the sintering process) as well as sulfur
  dioxide in the exhaust gases is also of concern. These potential fouling problems generally require that the
  SCR system be installed after the particulate collection device. Recent developments have led to sulfur
  tolerant SCR catalysts which limit SO2 oxidation to less than 1 percent. Soot blowers are commonly used
  to prevent dust accumulation on SCR catalysts.

  Since there are current SCR-only removal systems for some types of iron and steel fuel fired emission
  units, the use of SCR in conjunction with ULNB should be feasible.
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  SCR – Feasible with the correct temperature
  All of the same conditions related to the coupled ULNB/SCR control apply to SCR but since there are
  current SCR only removal systems for some types of iron and steel fuel fired emission units, the use of
  SCR is considered technically feasible.

  BART Step 3: Rank Remaining Control Technologies
  The control technologies evaluated and their control efficiencies are presented in Table 3.3. Control
  efficiencies for the six controls/control pairs identified as feasible are presented.

   TABLE 3.3 CONTROL TECHNOLOGY RANKINGS FOR IRON AND STEEL PLANT FUEL
         FIRED EMISSION UNITS GENERATING NOX - CONTROL EFFICIENCY
                      (TYPICAL CONFIGURATIONS LISTED)

                                Control Technology              Control Efficiency (%)
                                        LNB                              40
                                    LNB + FGR                           50-72
                                   LNB + SNCR                           50-89
                                      ULNB                              75-85
                                       SCR                              70-90
                                   ULNB + SCR                           85-97



  BART Step 4: Evaluate Impacts and Document the Results
  A discussion of relevant impacts, including (A) economic, (B) environmental, and (C) energy, for each of
  the technically feasible control technologies is detailed below. The control cost calculation sheets for NOx
  are located in Attachment A.

  Economic impacts.
  This section provides the costs for implementing each of the control technologies that were found to be
  feasible that are listed in Table 3.3 above. Costs estimated are based on the model iron and steel plant
  parameters listed above.

  The cost for installation of FGR is assumed to be relatively low compared to technologies such as SCR
  and SNCR. The majority of costs are associated with the ducting and piping, fans and blowers that may
  be necessary for recirculation of the flue gas. However, FGR is not normally instituted by itself, but in
  conjunction with LNBs. The cost for installation of new burners is also assumed to be relatively low
  compared to SNCR and SCR. Thus LNB, LNB with FGR and ULNB options (without additional controls
  like SCR or SNCR) are likely to be relatively low. Low-NOx and ULNB burners typically have longer
  flame patterns than standard burners. The impact of longer flames should be evaluated when considering
  the cost of installation for these burners.

  Like FGR, LNBs are not usually installed by themselves (at least not to achieve BACT or BART levels of
  controls – they may be installed by themselves to meet other emission limit standards). Our cost estimates
  were prepared for LNB with FGR and SNCR. Those costs assume a minor amount of work on the fuel
  fired emission unit and piping revisions will be needed.

  The hardware for a SNCR system includes the urea handling system including a vaporizer, storage tank,
  blower or compressor, and various valves, indicators, and controls; the injectors; transition ductwork; and
  a continuous emissions monitoring system. Potential site-specific costs not included but that may be
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  necessary are additional particulate removal equipment and ductwork for a control equipment bypass. As
  mentioned in the technical feasibility step of the evaluation, if the temperature range is not met by the fuel
  fired emission unit, modifications would be required to increase the gas temperature so that the required
  reaction temperatures were met. In general waste gas stream reheating is not performed with SNCR since
  the combustion chamber acts as the reaction chamber. Thus, our costs do not include estimates for
  reheating the waste gas stream to meet the required temperature levels for the SNCR to operate. This
  technology is only applicable where the temperatures of the fossil fuel fired emission unit are already
  adequate for use of this control technology. Additional costs may be necessary for cleaning due to fouling
  of duct lines if sulfates are available. Each facility will have to determine if this option is feasible on a
  site-specific basis.

  The hardware for a SCR system includes catalyst materials; the ammonia system including a vaporizer,
  storage tank, blower or compressor, and various valves, indicators, and controls; the ammonia injection
  grid; the SCR reactor housing (containing layers of catalyst); transition ductwork; and a continuous
  emissions monitoring system. Costs may vary nominally if aqua ammonia or urea is used instead of
  anhydrous ammonia. Potential site-specific costs not included but that may be necessary are additional
  particulate removal equipment and ductwork for a control equipment bypass. If mechanical cleaners are
  not present, additional gas cleaning may be needed for SCR. Some gas cleaning typically occurs at iron
  and steel plants. Fuel fired emission units often have bypasses on SCR systems to protect them during
  startup, shutdown, and malfunction conditions, which could damage the SCR catalyst. As mentioned in
  the technical feasibility step of the evaluation, if the temperature range is not met by the fuel fired
  emission unit, modifications would be required to either reduce (for units with temperatures higher than
  the required catalysts) or increase the boiler gas temperature. Our costs do not include estimates for
  reheating or providing make up air at lower temperatures to meet the required temperature levels for the
  SCR to operate. In the case where more heat was required to reach the catalyst temperatures, an actual
  design would most likely include a duct burner to re-heat the gas stream and a heat exchanger for heat
  recovery. In this case gas re-heat is required because the exhaust gas is too cool for SCR operating
  temperature. In addition to a heat exchanger, this option could incur significant costs for duct work and
  larger air blowers. The potential for fouling the exchanger from dust should also be evaluated. Each
  facility will have to determine if this option is feasible on a site-specific basis.

  The costs presented below are based on the high and low ranges of costs that we found in our
  literature/vendor review. Wherever possible a high and low cost estimate is presented. In addition, the
  calculated emission reductions are estimated for each control type/pair based on the high and low ranges
  found in the literature for these technologies (and the coupled technologies that they are frequently used
  with, e.g., FGR, SNCR, SCR).

  Boilers
  The low NOx burner cost and emission reduction calculations show a reduction of 281 tons from an
  uncontrolled level of 703. Capital costs range from $543K to $6.94 million, with annual costs between
  $221K to $1.1 million. Cost per ton of pollutant are between $786 to $3,841. For LNB plus FGR, capital
  costs are between $891K to $7.8 million, with annual costs between $496K to $1.4 million. Between 352
  and 506 tons of pollutant are removed from an uncontrolled level of 703 tons. Cost per ton ranges from
  $981 to $3,994.

  When LNB is coupled with SNCR, the capital cost estimates are between $1.8 to $11.7 million with
  annual operating costs estimated to be between $976K to $2.3 million. Emission reductions are between
  352-626 tons from an uncontrolled level of 703 tons. Cost effectiveness values are between $1,560-6,565
  per ton.
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  ULNB capital costs were estimated to be $2.1 million with annual operating costs of $448K. Pollutant
  removal was estimated between 528 and 598 tons from an uncontrolled rate of 703 tons. Cost
  effectiveness estimates were between $750 and $850 per ton.

  SCR capital costs ranged from $2-16.8 million. Annual operating costs were estimated between $1.5-3.5
  million. Pollutant removal rates were between 492 and 633 tons from an uncontrolled level of 703 tons.
  Cost effectiveness estimates ranged from $2,444-7,176 per ton. When SCR was coupled with ULNB, the
  capital costs were between $4-19 million with annual costs of approximately $2-4 million. Removal rates
  were 598-682 tons per year from uncontrolled levels. Cost effectiveness values ranged from
  $2,925-6,660.

  A summary of all costs for NOx controls on boilers at iron and steel plants is provided in Table 3.4.


   TABLE 3.4 – SUMMARY OF COST ESTIMATES FOR NOX CONTROLS FOR BOILERS AT
                           IRON AND STEEL PLANTS.
            Gas Fired Boiler                                 LNB
     Uncontrolled emissions (tpy)       Removal Efficiency               40%
                  703                    Low Capital Cost          High Capital Cost
  Total Capital Investment (TCI)            $543,518                  $6,938,915
  Total Annual Costs                        $221,120                  $1,080,616
  Pollutants Removed (tons/yr)                 281                       281
  Cost per ton pollutant removed              $786                      $3,841


            Gas Fired Boiler                                                       LNB + FGR
     Uncontrolled emissions (tpy)      Removal Efficiency                50%             Removal Efficiency            72%
                  703                   Low Capital Cost           High Capital Cost      Low Capital Cost       High Capital Cost
  Total Capital Investment (TCI)             $891,119                 $7,810,294                 $891,119           $7,810,294
  Total Annual Costs                         $498,698                 $1,428,586                 $498,698           $1,428,586
  Pollutants Removed (tons/yr)                 352                       352                       506                 506
  Cost per ton pollutant removed              $1,418                    $4,062                    $985                $2,821


           Gas Fired Boilers                                                       LNB + SNCR
     Uncontrolled Emissions (tpy)      Removal Efficiency                50%             Removal Efficiency            89%
                  703                   Low Capital Cost           High Capital Cost      Low Capital Cost       High Capital Cost
  Total Capital Investment (TCI)           $1,857,700                $11,772,867                $1,857,700         $11,772,867
  Total Annual Costs                        $976,279                  $2,308,808                $976,279            $2,308,808
  Pollutants Removed (tons/yr)                 352                       352                       626                 626
  Cost per ton pollutant removed             $2,776                     $6,565                   $1,560               $3,688
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    TABLE 3.4 – SUMMARY OF COST ESTIMATES FOR NOX CONTROLS FOR BOILERS AT
                      IRON AND STEEL PLANTS (CONTINUED)
            Gas Fired Boiler                              ULNB

      Uncontrolled emissions (tpy)          Efficiency               Efficiency

                  703                          75%                     85%
   Total Capital Investment (TCI)           $2,144,309              $2,144,309
   Total Annual Costs                        $448,261                $448,261
   Pollutants Removed (tons/yr)                528                      598
   Cost per ton pollutant removed              $850                    $750


            Gas Fired Boiler                                                        SCR
                                            Efficiency                 70%                   Efficiency              90%
      Uncontrolled emissions (tpy)
                                         Low Capital Cost        High Capital Cost        Low Capital Cost     High Capital Cost
                    703
  Total Capital Investment (TCI)            $2,015,650              $16,796,000              $2,015,650          $16,796,000
  Total Annual Costs                        $1,547,054              $3,533,429               $1,547,054           $3,533,429
  Pollutants Removed (tons/yr)                 492                      492                     633                  633
  Cost per ton pollutant removed              $3,142                  $7,176                   $2,444               $5,582



            Gas Fired Boiler                                                    ULNB + SCR
      Uncontrolled emissions (tpy)     Removal Efficiency              85%                Removal Efficiency          97%
                  703                  Low Capital Cost         High Capital Cost     Low Capital Cost         High Capital Cost
   Total Capital Investment (TCI)          $4,159,959               $18,940,309               $4,159,959          $18,940,309
   Total Annual Costs                      $1,995,316               $3,981,690                $1,995,316           $3,981,690
   Pollutants Removed (tons/yr)                598                     598                       682                  682
   Cost per ton pollutant removed            $3,337                   $6,660                   $2,925                $5,836

  Furnaces
  In general, costs for furnaces are slightly lower than for boilers due to differences in the heat input and
  flow rates for boilers and furnaces at iron and steel plants. For LNB, the capital costs for furnaces range
  from $112K to $1.4 million with annual operating costs of $163-$340K. Emission reductions for furnaces
  are lower than for boilers due to lower uncontrolled emissions of 145 tons. Emission reductions for LNB
  for furnaces were 58 tons per year with cost effectiveness values between $2,813-5,867 per ton. When
  LNB is coupled with FGR, the capital costs range from $446K to $2 million with annual operating costs
  between $438-666K. Emission reductions are between 73-104 tons from uncontrolled levels. Coste
  effectiveness is between $4,205-9,186 per ton.
  LNB coupled with SCR has capital costs between $382K and $2.4 million. Operating costs range from
  $486-760K. Emission reductions are 73-129 tons against uncontrolled levels of 145 tons. Cost
  effectiveness values are $3,766-10,493 per ton.
  ULNB capital costs are estimated at $442K with operating cost of $219K. Emission reductions are
  between 109-123 tons per year resulting in cost effectiveness values of $1,782-2,018 per ton.
  SCR capital costs were between $415K-$3.4 million. Annual cost estimates were $987K-$1.4 million.
  Emission of NOx were reduced between 102-131 tons resulting in cost effectiveness values of
  $7,566-$13,762 per ton.
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  Finally ULNB coupled with SCR resulted in capital costs of $857K-$4 million and annual costs between
  $1.2-1.6 million. Emissions were reduced between 123-141 tons. Cost effectiveness values were between
  $8,581-13,114 per ton.

  A summary of all costs for each control evaluated for furnaces at iron and steel plants is provided in
  Table 3.5.

  TABLE 3.5 – SUMMARY OF COST ESTIMATES FOR NOX CONTROLS FOR FURNACES AT
                           IRON AND STEEL PLANTS.
         Gas Fired Furnace                                LNB
    Uncontrolled emissions (tpy)       Removal Efficiency             40%
                145                     Low Capital Cost        High Capital Cost
  Total Capital Investment (TCI)            $112,048               $1,430,484
  Total Annual Costs                        $163,134                $340,322
  Pollutants Removed (tons/yr)                 58                      58
  Cost per ton pollutant removed             $2,813                  $5,867


         Gas Fired Furnace                                                     LNB + FGR
    Uncontrolled emissions (tpy)       Removal Efficiency             50%             Removal Efficiency         72%
                145                     Low Capital Cost        High Capital Cost      Low Capital Cost    High Capital Cost
  Total Capital Investment (TCI)            $446,659               $2,136,025               $446,659          $2,136,025
  Total Annual Costs                        $438,966                $666,004                $438,966           $666,004
  Pollutants Removed (tons/yr)                 73                      73                     104                104
  Cost per ton pollutant removed             $6,055                  $9,186                  $4,205             $6,379


         Gas Fired Furnace                                                     LNB + SNCR
    Uncontrolled emissions (tpy)     Removal Efficiency               50%            Removal Efficiency          89%
                145                     Low Capital Cost        High Capital Cost      Low Capital Cost    High Capital Cost
  Total Capital Investment (TCI)            $382,972               $2,427,022               $382,972          $2,427,022
  Total Annual Costs                        $486,064                $760,770                $486,064           $760,770
  Pollutants Removed (tons/yr)                 73                      73                     129                129
  Cost per ton pollutant removed             $6,704                 $10,493                  $3,766             $5,895


         Gas Fired Furnace                             ULNB

    Uncontrolled emissions (tpy)          Efficiency              Efficiency

                145                          75%                    85%
  Total Capital Investment (TCI)           $442,057               $442,057
  Total Annual Costs                       $219,491               $219,491
  Pollutants Removed (tons/yr)               109                     123
  Cost per ton pollutant removed            $2,018                 $1,781
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  TABLE 3.5 – SUMMARY OF COST ESTIMATES FOR NOX CONTROLS FOR FURNACES AT
                     IRON AND STEEL PLANTS (CONTINUED)
         Gas Fired Furnace                                                          SCR
    Uncontrolled emissions (tpy)           Efficiency                  70%                    Efficiency             90%
                145                    Low Capital Cost         High Capital Cost          Low Capital Cost    High Capital Cost
  Total Capital Investment (TCI)           $415,534                 $3,462,560                $415,534            $3,462,560
  Total Annual Costs                       $987,408                 $1,396,907                $987,408            $1,396,907
  Pollutants Removed (tons/yr)                102                      102                       131                 131
  Cost per ton pollutant removed             $9,728                  $13,762                   $7,566              $10,704


         Gas Fired Furnace                                                      ULNB + SCR
    Uncontrolled emissions (tpy)     Removal Efficiency               85%                 Removal Efficiency         97%
                145                    Low Capital Cost         High Capital Cost          Low Capital Cost    High Capital Cost
  Total Capital Investment (TCI)           $857,591                $3,904,617                 $857,591            $3,904,617
  Total Annual Costs                      $1,206,899               $1,616,397                 $1,206,899          $1,616,397
  Pollutants Removed (tons/yr)               123                      123                        141                 141
  Cost per ton pollutant removed            $9,792                  $13,114                    $8,581              $11,492



  Environmental impacts
  Because LNB, LNB and FGR and ULNB are simply a change in the combustion character of the burner,
  there are no known adverse environmental impacts associated with this technology.

  Undesirable reactions can occur in either an SCR or SNCR process, including the oxidation of NH3 and
  SO2 to form sulfate salts. These compounds are corrosive and can be deposited on the exhaust duct walls.
  In addition, ammonium sulfate and ammonium bisulfate condense at temperatures below 400 °F, forming
  white solids, which will increase particulate emissions if exit temperatures reach this point after passing
  any particulate devices. Ammonia slip, or un-reacted ammonia, is also a problem with these technologies.
  Ammonia concentrations in the exhaust gas are typically in the 5-ppm to 10-ppm range. Ammonia can
  react with sulfur and nitrogen oxides to form fine particulate matter that contributes to haze (exactly what
  BART is trying to reduce). In addition, storage of anhydrous ammonia can pose some environmental and
  safety risks associated with the potential for an accidental release. Aqua ammonia and urea may be
  substituted for ammonia; but these systems have higher capital and operating costs than anhydrous
  ammonia. Ammonia also poses potential water quality issues. Ammonia slip released to the atmosphere
  could contaminate surface waters by deposition.

  Energy impacts
  In FGR systems, since the flame efficiency is affected, the boiler may be less energy efficient than
  standard burners which could result in a nominal increase in fuel consumption. Some information in the
  literature suggests that since ULNB are generally a form of FGR, they also may be less efficient than
  standard burners. However, vendors claim that the new ULNB (and LNB) designs do not lower the
  boilers fuel efficiency. Thus, a nominal increase in fuel consumption for ULNB may occur.

  With respect to SNCR, there may be some minor costs for extra energy for downstream cleaning
  processes which may be required. Otherwise, energy impacts for SNCR are considered minor.
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  For SCR, additional natural gas may be required if a duct burner is needed to maintain proper catalyst bed
  temperatures or additional electrical power to run fans and blowers (either for the added temperatures
  needed or in the case of cooling of the waste stream).

  SO2 Control Technology Review

  The majority of SO2 emissions at the LADCO BART emission units identified for this study at iron and
  steel plants come from sintering, coke oven underfiring, furnaces and boilers. This section discusses each
  step in the BART engineering analysis process for SO2 controls for these sources.

  BART Step 1: Identify Available Retrofit Control Technologies
  The top control technologies identified earlier for SO2 are as follows:

          •    Advanced flue gas desulfurization
          •    Wet flue gas desulfurization
          •    Dry absorption (dry FGD)

  Additional information on each of these control technologies was found in Section 2.

  BART Step 2: Eliminate Technically Infeasible Options
  All of the control technologies identified in step 1 are deemed technically feasible. With that said,
  MACTEC was not able to identify any current SO2 controls at iron and steel plants. Thus for the cost
  analyses, MACTEC considered all controls as feasible.

  Fuel switching as an SO2 control is generally not an option for iron and steel plant sources since they
  typically are already firing gaseous fuels (e.g., blast furnace gas, coke oven gas, or natural gas). A change
  to a different fuel could potentially increase the sulfur content of the fuel, even though blast furnace gas
  and coke oven gas are relatively high in sulfur compared to natural gas.

  BART Step 3: Rank Remaining Control Technologies
  The technically feasible control technologies and their control efficiencies are presented in Table 3.6.

     TABLE 3.6 CONTROL TECHNOLOGY RANKINGS FOR IRON AND STEEL PLANT SO2
                                CONTROL.
                             Control Technology                  Control Efficiency (%)
                                   AFGD                                 95-99.5
                                  Wet FGD                                90-99
                       Dry FGD (Spray Dryer Absorption)                  90-95

  BART Step 4: Evaluate Impacts and Document the Results
  A discussion of relevant impacts, including (A) economic, (B) environmental, and (C) energy, for the
  technically feasible control technologies is detailed below. A summary of the impacts and the control cost
  calculation sheets are located in Attachment A.

  Economic impacts
  For the wet scrubber, the control cost calculations were prepared using lime as the base in the scrubbing
  liquor. Caustic (NaOH) and limestone are potential alternatives for a scrubber. While lime and limestone
  require additional equipment for slurry preparation and for solids separation from the sludge generated in
  the scrubber, lime scrubbers are the most commonly used since lime is plentiful and relatively cheap.
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  Materials of construction must also be made suitable for caustic, lime, or limestone if existing equipment
  is modified for wet scrubbing of SO2. Although not calculated here, wet FGD systems offer some level of
  particulate control in addition to controlling SO2.

  AFGD systems require additional capital costs for the spargers and blowers necessary to oxidize the
  waste product to gypsum and for equipment to dewater the product (e.g., centrifuge). However if the
  commercial grade gypsum can be sold, some of these costs can be offset.

  Dry FGD costs were calculated based on the low and high control efficiencies. For dry scrubbers, the flue
  gas must be cooled to a temperature 10 to 20 degrees above adiabatic saturation. This is typically
  accomplished using a heat recovery boiler, an evaporative cooler or a heat exchanger. In addition, if the
  facility does not have one, a particulate removal device is required for removal of the dry materials used
  to absorb SO2.

  For all scrubbers, costs for an additional or upgraded induced air draft fan to make up for pressure drops
  within the system may be required. In addition, for wet systems, flue gas reheating may be required, thus
  a reheater may be necessary.

  In preparing the cost estimates, no emission factors were identified for either blast furnace gas or coke
  oven gas. We used the SO2 emissions from the LADCO sources to develop a multiplier for the natural gas
  emission factor from boilers to use in estimating the costs (based on flow, heat input, etc.). The emission
  factor developed represents a composite gas that is a mix of blast furnace and coke oven gas since these
  are the two primary fuels used for the four sources evaluated.

  Tables 3.7 through 3.10 provide a summary of the estimated costs for each of the SO2 control systems
  evaluated for sinter windbox, coke underfiring, boilers, and furnaces, respectively.

  Capital costs for sinter windboxes range from $19.8 to 64 million for AFGD, $6.8 – 102 million for wet
  FGD and $6.4 – 149 million for dry FGD depending upon the control efficiency and whether low or high
  capital cost assumptions were used.

  Annual operating costs for sinter windbox operations range from $7.3 – 15.5 million for AFGD, $7.4-25
  million for wet FGD, and $8.2 – 32 million for dry FGD systems.

  Cost effectiveness values for AFGD range from about $4,500-10,000 per ton, $4,500-17,000 per ton for
  wet FGD, and $5,300-$22,000 per ton for dry FGD depending upon the control efficiency.

  Similar capital costs are found for coke underfire batteries with the exception of dry FGD. Dry FGD
  capital costs for coke underfire batteries are slightly lower than those for sinter operations. Annual
  operating costs for coke underfire battery SO2 controls were slightly less than those for sinter operations
  with the range between $4-23 million, depending upon the technology. Cost effectiveness values ranged
  from $3,000-$17,000 per ton, depending upon the technology.

  Capital costs for gas fired boilers and furnaces ranged between $4-122 and $1.2-29 million, respectively
  depending upon the technology evaluated. Annual costs for SO2 controls for boilers were between $5-25
  million depending upon the control method. For furnaces, these costs were between $2-19 million,
  depending upon control method. Cost effectiveness values for boilers ranged from $7,600-45,000 and for
  furnaces between $19,000-206,000.

  The costs for SO2 controls at emission sources at iron and steel plants are high largely due to the fact that
  these emission sources fire gaseous fuels rather than oil or coal. While the SO2 emissions are not
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  inconsequential, they typically are not at the same level as for boilers that fire oil or coal. In addition, the
  MMBtu/hour values used for these sources were significantly higher than those for coal or oil
  fired boilers.
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   TABLE 3.7 – SUMMARY OF COST ESTIMATES FOR SINTER WINDBOXES FOR ALL SO2
                                  CONTROLS.
            Sinter Windbox                                                       AFGD
     Uncontrolled emissions (tpy)        Removal Efficiency           95%               Removal Efficiency          99.5%
                  1628                    Low Capital Cost      High Capital Cost         Low Capital Cost    High Capital Cost
  Total Capital Investment (TCI)             $19,808,100          $64,524,200               $19,808,100          $64,524,200
  Total Annual Costs                         $7,321,173           $15,476,383                $7,321,173          $15,476,383
  Pollutants Removed (tons/yr)                  1546                  1546                     1620                 1620
  Cost per ton pollutant removed               $4,734               $10,008                   $4,520               $9,555


            Sinter Windbox                                                     Wet FGD
     Uncontrolled Emissions (tpy)        Removal Efficiency           90%               Removal Efficiency         99.99%
                  1,628                   Low Capital Cost      High Capital Cost         Low Capital Cost    High Capital Cost
   Total Capital Investment (TCI)             $6,856,850          $102,887,200               $6,856,850         $102,887,200
   Total Annual Costs                         $7,453,964           $24,967,739               $7,453,964          $24,967,739
   Pollutants Removed (tons/yr)                 1465                  1465                     1628                 1628
   Cost per ton pollutant removed              $5,088                $17,042                   $4,580              $15,340


            Sinter Windbox                                                      Dry FGD
     Uncontrolled Emissions (tpy)        Removal Efficiency           90%               Removal Efficiency          95.0%
                  1,628                   Low Capital Cost      High Capital Cost         Low Capital Cost    High Capital Cost
   Total Capital Investment (TCI)             $6,480,950          $149,619,700               $6,480,950         $149,619,700
   Total Annual Costs                         $8,232,267           $32,279,523               $8,232,267          $32,279,523
   Pollutants Removed (tons/yr)                 1465                  1465                     1546                 1546
   Cost per ton pollutant removed              $5,619                $22,033                   $5,323              $20,874
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   TABLE 3.8 – SUMMARY OF COSTS ESTIMATES FOR COKE OVEN UNDERFIRING FOR
                             ALL SO2 CONTROLS.
        Coke Underfire Battery                                                   AFGD
     Uncontrolled emissions (tpy)        Removal Efficiency           95%               Removal Efficiency          99.5%
                 1447                     Low Capital Cost      High Capital Cost         Low Capital Cost     High Capital Cost
  Total Capital Investment (TCI)             $19,808,100          $64,524,200               $19,808,100           $64,524,200
  Total Annual Costs                         $5,725,728           $13,880,939                $5,725,728           $13,880,939
  Pollutants Removed (tons/yr)                  1375                  1375                     1440                  1440
  Cost per ton pollutant removed               $4,165               $10,098                   $3,977                $9,641


        Coke Underfire Battery                                                  Wet FGD
     Uncontrolled Emissions (tpy)        Removal Efficiency           90%               Removal Efficiency          99.99%
                 1,447                    Low Capital Cost      High Capital Cost         Low Capital Cost     High Capital Cost
  Total Capital Investment (TCI)             $6,856,850           $102,887,200               $6,856,850          $102,887,200
  Total Annual Costs                         $4,421,392           $21,935,167                $4,421,392           $21,935,167
  Pollutants Removed (tons/yr)                  1302                  1302                     1447                  1447
  Cost per ton pollutant removed               $3,395               $16,844                   $3,056                $15,161


        Coke Underfire Battery                                                  Dry FGD
     Uncontrolled Emissions (tpy)        Removal Efficiency           90%               Removal Efficiency          95.0%
                 1,447                    Low Capital Cost      High Capital Cost         Low Capital Cost     High Capital Cost
  Total Capital Investment (TCI)             $3,432,350           $111,512,200               $3,432,350          $111,512,200
  Total Annual Costs                         $4,005,205           $23,340,235                $4,005,205           $23,340,235
  Pollutants Removed (tons/yr)                  1302                  1302                     1375                  1375
  Cost per ton pollutant removed               $3,076               $17,923                   $2,914                $16,980
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  TABLE 3.9 – SUMMARY OF COSTS ESTIMATES FOR GAS FIRED BOILERS FOR ALL SO2
                                 CONTROLS.

            Gas Fired Boiler                                                      AFGD
     Uncontrolled Emissions (tpy)        Removal Efficiency           95%             Removal Efficiency             99.5%
                  633                     Low Capital Cost      High Capital Cost          Low Capital Cost     High Capital Cost
  Total Capital Investment (TCI)             $19,808,100          $64,524,200                $19,808,100           $64,524,200
  Total Annual Costs                         $5,701,597           $13,856,808                 $5,701,597           $13,856,808
  Pollutants Removed (tons/yr)                   601                  601                        630                  630
  Cost per ton pollutant removed               $9,481               $23,041                    $9,052               $21,999


            Gas Fired Boiler                                                     Wet FGD
     Uncontrolled Emissions (tpy)        Removal Efficiency           90%                Removal Efficiency          99.99%
                  633                     Low Capital Cost      High Capital Cost          Low Capital Cost     High Capital Cost
   Total Capital Investment (TCI)             $6,856,850          $102,887,200                $6,856,850          $102,887,200
   Total Annual Costs                         $4,857,371           $22,371,146                $4,857,371           $22,371,146
   Pollutants Removed (tons/yr)                  570                   570                       633                  633
   Cost per ton pollutant removed              $8,526                $39,266                    $7,674              $35,343


            Gas Fired Boiler                                                     Dry FGD
     Uncontrolled Emissions (tpy)        Removal Efficiency           90%                Removal Efficiency          95.0%
                  633                     Low Capital Cost      High Capital Cost          Low Capital Cost     High Capital Cost
   Total Capital Investment (TCI)             $4,326,350          $122,687,200                $4,326,350          $122,687,200
   Total Annual Costs                         $5,142,561           $25,856,779                $5,142,561           $25,856,779
   Pollutants Removed (tons/yr)                  570                   570                       601                  601
   Cost per ton pollutant removed              $9,026                $45,384                    $8,551              $42,995
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   TABLE 3.10 – SUMMARY OF COSTS ESTIMATES FOR GAS FIRED FURNACES/PROCESS
                        HEATERS FOR ALL SO2 CONTROLS.

           Gas Fired Furnace                                                      AFGD
     Uncontrolled emissions (tpy)        Removal Efficiency           95%                Removal Efficiency          99.5%
                   104                    Low Capital Cost      High Capital Cost          Low Capital Cost     High Capital Cost
   Total Capital Investment (TCI)            $4,083,516           $13,301,912                 $4,083,516           $13,301,912
   Total Annual Costs                        $1,990,875            $3,672,103                 $1,990,875           $3,672,103
   Pollutants Removed (tons/yr)                  99                    99                        104                  104
   Cost per ton pollutant removed              $20,073              $37,024                    $19,165               $35,349


           Gas Fired Furnace                                                     Wet FGD
      Uncontrolled Emissions (tpy)       Removal Efficiency           90%                Removal Efficiency          99.99%
                   104                    Low Capital Cost      High Capital Cost          Low Capital Cost     High Capital Cost
   Total Capital Investment (TCI)             $1,413,566           $21,210,592                $1,413,566           $21,210,592
   Total Annual Costs                        $15,794,498           $19,405,030               $15,794,498           $19,405,030
   Pollutants Removed (tons/yr)                  94                    94                        104                  104
   Cost per ton pollutant removed             $168,094              $206,519                  $151,299              $185,886


           Gas Fired Furnace                                                     Dry FGD
     Uncontrolled Emissions (tpy)        Removal Efficiency           90%                Removal Efficiency          95.0%
                  131                     Low Capital Cost      High Capital Cost          Low Capital Cost     High Capital Cost
   Total Capital Investment (TCI)            $1,219,346           $29,385,592                 $1,219,346           $29,385,592
   Total Annual Costs                        $3,206,229            $7,982,629                 $3,206,229           $7,982,629
   Pollutants Removed (tons/yr)                  117                  117                        124                  124
   Cost per ton pollutant removed              $27,298              $67,964                    $25,861               $64,387



  Environmental impacts
  The primary environmental impact from AFGD is byproduct of gypsum. While gypsum is generated as a
  byproduct, the intent of the AFGD system is to produce gypsum that is commercial grade that can be
  sold. The primary environmental impact of wet scrubbers is the generation of wastewater and sludge.
  Waste from wet scrubbers will increase the sulfate and solids loading in the facility’s wastewater. This
  places additional burdens on a facility’s wastewater treatment and solid waste management capabilities.
  These impacts will need to be analyzed on a site-specific basis. If lime or limestone scrubbing is used to
  produce calcium sulfite sludge, the sludge is water-laden, and it must be stabilized for landfilling. If lime
  or limestone scrubbing is used to produce calcium sulfate sludge, it is stable and easy to dewater.
  However, control costs will be higher because additional equipment is required. Scrubber exhaust gases
  are saturated with water, thus creating a visible plume. Plume visibility may be a local/community
  concern. Once the exhaust mixes with sufficient air, the moisture droplets evaporate, and the plume is no
  longer visible.

  Disposal of removed material from dry FGD systems is also required and will result in landfill impacts.
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  Energy impacts
  A scrubber operates with a high pressure drop, resulting in a significant amount of electricity required to
  operate the blower and pump. In addition for some technologies, a flue gas reheater may be required
  resulting in slightly increased fuel usage.

  Iron and Steel Plant Emission Units PM Control Technology Review

  The majority of particulate matter emissions from iron and steel plants in the LADCO region emanate
  from three types of emission units: coke oven underfiring, and furnaces and boilers firing process gases
  (e.g., coke oven gas or blast furnace gas). Some additional emissions may emanate from other processes
  such as casting, raw materials handling, etc. however these emissions are typically small. The BART
  steps for PM control of these types of emission units at iron and steel plants are outlined below.

  BART Step 1: Identify Available Retrofit Control Technologies
  Identified control technologies available for PM are as follows:

          •    Dust Cartridge (DC)
          •    Fabric Filter (Baghouse)
          •    Dry Electrostatic Precipitator (DESP)
          •    Wet Electrostatic Precipitator (WESP)

  For additional information on these control technologies see Section 2. Each of the steps used in the
  BART engineering analysis for PM controls on iron and steel plant emission units are discussed below.

  BART Step 2: Eliminate Technically Infeasible Options
  All PM control technologies identified in step 1 are deemed technically feasible except for dust cartridges.
  Dust cartridges are not feasible for high temperature (above about 200 F) conditions without using
  synthetic filter materials. Use of synthetic filter materials in dust cartridges for higher temperature
  applications is prohibitively expensive given that there are other technologies that are available with
  similar control efficiencies and lower costs. Thus dust cartridges are likely to be infeasible for PM control
  for coke underfiring, boilers and furnaces at iron and steel plants.

  BART Step 3: Rank Remaining Control Technologies
  The third of the five steps in the top-down BART analysis is to rank the remaining control technologies
  by control effectiveness. The remaining control technologies and their control efficiencies are presented
  in Table 3.11.

    TABLE 3.11 CONTROL TECHNOLOGY RANKINGS FOR IRON AND STEEL PLANT PM
                                  CONTROL
               Control Technology         Control Efficiency (%)
               FF                                  95-100
               DESP                                90-100
               WESP                                90-100

  BART Step 4: Evaluate Impacts and Document the Results
  A discussion of relevant impacts, including (A) economic, (B) environmental, and (C) energy, for each of
  the technically feasible control technologies is detailed below. The detailed control cost calculation sheets
  are located in Appendix A.
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  Economic impacts
  Model source control costs for iron and steel plant PM controls for coke underfiring units are shown in
  Table 3.12, with costs for gas fired boilers and furnaces shown in Tables 3.13 and 3.14. In general, fabric
  filters are less expensive in capital costs than DESPs or WESPs, but more expensive for annual operating
  costs than DESPs.

  Capital costs range from $690K-$23 million for coke underfiring, $1.5-53 million for boilers and $654K-
  22 million for furnaces depending upon the control technology. Annual operating costs are between
  $336K-5 million for coke underfiring, $687K-12 million for boilers, and $374-6 million for furnaces.
  Cost effectiveness values range from $2,000-36,000 for coke underfiring, $7,000-150,000 for boilers, and
  $20,000-200,000 for furnaces. The high cost effectiveness values are largely the result of extremely low
  particulate emissions from gas fired equipment.

        TABLE 3.12 – SUMMARY OF COSTS ESTIMATES FOR PM CONTROLS AT COKE
                                UNDERFIRING UNITS.
         Coke Underfire Battery                                               Fabric Filter
      Uncontrolled Emissions (tpy)      Removal Efficiency            95%             Removal Efficiency            99.99%
                   164                   Low Capital Cost       High Capital Cost       Low Capital Cost       High Capital Cost
   Total Capital Investment (TCI)            $690,000              $8,625,000                 $690,000            $8,625,000
   Total Annual Costs                       $1,274,748             $2,341,156                 $1,274,935          $2,341,342
   Pollutants Removed (tons/yr)                 156                   156                        164                 164
   Cost per ton pollutant removed             $8,192                $15,045                    $7,784              $14,295


         Coke Underfire Battery                                                 Wet ESP
      Uncontrolled Emissions (tpy)      Removal Efficiency            90%             Removal Efficiency            99.99%
                   164                   Low Capital Cost       High Capital Cost       Low Capital Cost       High Capital Cost
   Total Capital Investment (TCI)           $2,404,219            $23,355,268                 $2,404,219         $23,355,268
   Total Annual Costs                       $2,281,694             $5,371,921                 $2,281,694          $5,371,921
   Pollutants Removed (tons/yr)                 147                   147                        164                 164
   Cost per ton pollutant removed             $15,478               $36,440                    $13,931             $32,799


         Coke Underfire Battery                                                 Dry ESP
     Uncontrolled Emissions (tpy)       Removal Efficiency            90%             Removal Efficiency            99.99%
                  164                    Low Capital Cost       High Capital Cost       Low Capital Cost       High Capital Cost
   Total Capital Investment (TCI)           $1,144,866            $14,883,259                 $1,144,866         $14,883,259
   Total Annual Costs                        $336,640              $2,363,019                 $337,014            $2,363,392
   Pollutants Removed (tons/yr)                147                    147                        164                 164
   Cost per ton pollutant removed             $2,284                $16,029                    $2,058              $14,430
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         TABLE 3.13 - SUMMARY OF COSTS PM CONTROLS FOR GAS FIRED BOILERS.
            Gas Fired Boiler                                                    Fabric Filter
     Uncontrolled Emissions (tpy)       Removal Efficiency            95%               Removal Efficiency            99.99%
                   90                    Low Capital Cost       High Capital Cost        Low Capital Cost        High Capital Cost
   Total Capital Investment (TCI)           $1,584,000            $19,800,000                   $1,584,000          $19,800,000
   Total Annual Costs                       $2,628,714             $5,076,815                   $2,628,816          $5,076,918
   Pollutants Removed (tons/yr)                 85                     85                           90                  90
   Cost per ton pollutant removed             $30,855                $59,589                     $29,316              $56,617


            Gas Fired Boiler                                                     Wet ESP
     Uncontrolled Emissions (tpy)       Removal Efficiency             90%               Removal Efficiency           99.99%
                   90                    Low Capital Cost        High Capital Cost        Low Capital Cost       High Capital Cost
   Total Capital Investment (TCI)            $5,519,250             $53,615,571                 $5,519,250          $53,615,571
   Total Annual Costs                        $4,984,855             $12,078,941                 $4,984,855          $12,078,941
   Pollutants Removed (tons/yr)                  81                     81                          90                  90
   Cost per ton pollutant removed             $61,761                $149,654                     $55,590            $134,702


            Gas Fired Boiler                                                     Dry ESP
     Uncontrolled Emissions (tpy)       Removal Efficiency             90%               Removal Efficiency           99.99%
                   90                    Low Capital Cost       High Capital Cost         Low Capital Cost       High Capital Cost
  Total Capital Investment (TCI)            $2,628,214             $34,166,786                  $2,628,214          $34,166,786
  Total Annual Costs                         $687,143               $5,339,003                   $687,348           $5,339,207
  Pollutants Removed (tons/yr)                  81                      81                          90                  90
  Cost per ton pollutant removed              $8,513                 $66,148                      $7,665              $59,542



       TABLE 3.14 - SUMMARY OF COSTS PM CONTROLS FOR GAS FIRED FURNACES.
           Gas Fired Furnace                                                    Fabric Filter
     Uncontrolled emissions (tpy)      Removal Efficiency             95%               Removal Efficiency           99.99%
                   18                    Low Capital Cost       High Capital Cost         Low Capital Cost       High Capital Cost
  Total Capital Investment (TCI)            $654,000               $8,175,000                   $654,000            $8,175,000
  Total Annual Costs                        $1,942,898             $2,953,667               $1,942,919              $2,953,688
  Pollutants Removed (tons/yr)                  18                     18                          18                   18
  Cost per ton pollutant removed            $110,621               $168,170                     $105,101            $159,779


           Gas Fired Furnace                                                     Wet ESP
     Uncontrolled Emissions (tpy)       Removal Efficiency            90%               Removal Efficiency           99.99%
                   18                    Low Capital Cost       High Capital Cost         Low Capital Cost       High Capital Cost
   Total Capital Investment (TCI)           $2,278,781            $22,136,732                   $2,278,781         $22,136,732
   Total Annual Costs                       $3,491,156             $6,420,154                   $3,491,156          $6,420,154
   Pollutants Removed (tons/yr)                 17                     17                          18                   18
   Cost per ton pollutant removed            $209,815               $385,846                    $188,853            $347,296
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           Gas Fired Furnace                                                    Dry ESP
      Uncontrolled emissions (tpy)     Removal Efficiency             90%           Removal Efficiency         99.99%
                   18                   Low Capital Cost        High Capital Cost    Low Capital Cost     High Capital Cost
   Total Capital Investment (TCI)           $1,085,134            $14,106,741             $1,085,134        $14,106,741
   Total Annual Costs                       $374,041               $2,294,695             $374,083           $2,294,737
   Pollutants Removed (tons/yr)                 17                     17                    18                  18
   Cost per ton pollutant removed            $22,480                $137,909               $20,236            $124,133


  MACTEC did not prepare separate cost estimates for PM controls for other sources at iron and steel
  plants that can be ducted to existing PM controls, since the majority of emissions for PM are from the
  three sources that were evaluated. The control cost ranges for PM controls for these sources are
  sufficiently broad that the likely costs for ducting and extra capacity to handle these emissions would only
  add minimally to the costs.

  PM Fugitive Emission Costs
  There are a number of smaller fugitive dust sources or sources that can be controlled using either
  enclosures or partial enclosures with wet suppression. However, the emissions from these sources for the
  LADCO facilities were exceptionally small so MACTEC did not develop cost estimates for these sources.

  Environmental impacts
  For fabric filters, and dry ESPs the main environmental impact is related to disposal of the dry materials
  collected. The primary environmental impact of wet ESPs is the generation of wastewater and sludge
  from the washing of the collector. Waste from the scrubber will increase the sulfate and solids loading in
  the facility’s wastewater. This places additional burdens on a facility’s wastewater treatment and solid
  waste management capabilities.

  No known environmental impacts are known for the fugitive dust sources.

  Energy impacts
  Energy requirements (other than the electricity used to power the collector portion of the device) are
  relatively low. A wet ESP will also require pumps and piping to run the wash water to the ESP.

  Iron and Steel Plant VOC Control Technology Review

  No specific controls targeting VOC emissions from iron and steel plants were identified. There are
  currently VOC controls on four emission units at ISG-Burns Harbor in Indiana. Two of these units are
  controlled with simple process enclosures, one with a venturi scrubber and one with a direct flame
  afterburner. The direct flame afterburner controls stack emissions from the BOF refining cycle, while the
  venturi scrubber controls emissions from the BOF charging, tapping and slagoff processes. The process
  enclosures control emissions from the sheet temper mill and the rolling process. These controls were
  likely put in place due to the iron and steel NESHAP standards. Since compliance with NESHAP
  standards basically satisfies the BART requirements, MACTEC did not perform costing for any other
  VOC controls. Total VOC emissions from all LADCO iron and steel plant emission units evaluated for
  BART are approximately 1000 tons. One third of these emissions are from sinter windbox operations.
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                                    SECTION 4
                 SOURCE SPECIFIC DATA AND BART RECOMMENDATIONS

  This section provides source specific data relative to remaining useful life and existing controls. In
  addition we provide recommendations for the BART controls on the iron and steel plant emission units
  identified in the LADCO region.

  Remaining Useful Life

  MACTEC requested information on remaining useful life of each of the iron and steel plant emission
  units identified for this BART engineering analysis. We received no information concerning remaining
  useful life on these units. For the purposes of this analysis, we assumed that the remaining useful life of
  each emission units was a minimum of at least 10 years and that it was likely that some units would
  continue to operate for at least 20-30 more years with proper maintenance and upkeep. Thus we found
  nothing to suggest that the amortization of capital costs or calculation of annual operating costs would be
  affected by the remaining useful life.

  Existing Controls

  MACTEC also requested information on any existing controls for the iron and steel plant emission units
  identified. Table 4.1 shows the information related to current controls. Several of the iron and steel plant
  emission units already have particulate controls in place, primarily ESPs or fabric filters. No existing
  controls were identified for either SO2 or NOx. No information was provided on the efficiency of these
  devices.

  Fuel Issues

  Unlike some other sources, the fuel firing operations at iron and steel plants primarily fire a single fuel,
  typically some type of gas (e.g., natural, blast furnace or coke oven). Since these fuels are generally low
  in sulfur (compared to coal or oil), and since NOx control costs are fairly low for most of these sources,
  little would be gained from fuel switching. Fuel switching is generally not an option for iron and steel
  plants.

  Table 4.2 shows our preliminary estimates of BART controls for iron and steel plant emission units that
  may be subject to BART. Our determination of the BART controls selected were based on 1) existing
  controls, 2) control efficiency levels, 3) costs, and 4) marginal improvements in efficiency. In general we
  proposed ULNB or LNB for NOx control primarily because the costs for these controls are significantly
  lower than other methods and the marginal improvements in control efficiency are generally not as cost
  effective. Selection of SO2 controls was significantly more difficult. Estimated costs were high due
  largely to the MMBtu estimates we developed for the gas fuels. In general we have proposed AFGD or
  wet FGD for the largest sources. We believe that AFGD is potentially workable for iron and steel plants
  but there are few AFGD installations on any emission unit other than utility boilers so an alternative may
  be necessary. However in several cases we have recommended that a source be ducted to a common SO2
  control unit in order to keep costs as low as possible. Determination of the feasibility of this approach
  requires more source specific information than was available for this study. It may not be practical in
  all cases.

  Finally for most sources we proposed use of existing PM controls (or use of modified existing controls).
  For those cases where there were no controls we typically recommended either fabric filters or dry ESP
  since those were most cost effective. That said, there is the very real possibility that existing controls will
  be all that is required for iron and steel plants if they are subject to the NESHAP requirements. If the final
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  BART guidelines remain substantially the same as the draft guidelines, NESHAP levels of controls would
  be considered as satisfying BART. Finally for the sources not easily ducted we recommended partial
  enclosures, wet suppression or best management practices. PM emissions from these sources are very low
  and these types of controls represent the most cost effective approach for controlling emissions from these
  sources. We have not recommended any VOC controls above those already in place for the iron and
  steel NESHAP.
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        TABLE 4.1 LADCO BART CATEGORY 4 (IRON AND STEEL PLANT) EMISSION UNITS – EXISTING CONTROLS
                                                EMISSION
  STATE               SOURCE NAME                UNIT ID           EMISSION UNIT DESCRIPTION      SO2    NO2             PM              VOC
ILLINOIS     National Steel Corp                0015         SLAB FURNACE #1                      None   None           None             None
ILLINOIS     National Steel Corp                0033         BOF - TWO VESSELS                    None   None           None             None
ILLINOIS     National Steel Corp                0041         BOILER HOUSE 1: BOILERS 1 TO 7       None   None           None             None
ILLINOIS     National Steel Corp                0042         BOILER HOUSE 1: BOILERS 8 TO 10      None   None           None             None
ILLINOIS     National Steel Corp                0044         BOILER HOUSE 2: BOILER #11 - BLAST   None   None           None             None
                                                             FURNACE DEPT
ILLINOIS     National Steel Corp                0048         BOILER HOUSE 2: BOILER #12 - BLAST   None   None           None             None
                                                             FURNACE DEPT
ILLINOIS     National Steel Corp                0122         SLAB FURNACE #2                      None   None           None             None
ILLINOIS     National Steel Corp                0123         SLAB FURNACE #3                      None   None           None             None




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INDIANA      ISG-BURNS HARBOR (Formerly         001          BEDDING PLANT MATL TRANS             None   None           None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         002          SINTER MIXING DRUM                   None   None    Wet Scrubber - Low      None
             Bethlehem Steel)                                                                                         Efficiency
INDIANA      ISG-BURNS HARBOR (Formerly         003          SINTER WINDBOX                       None   None    Wet Scrubber - High     None
             Bethlehem Steel)                                                                                         Efficiency
INDIANA      ISG-BURNS HARBOR (Formerly         004          SINTER MISC MATL HANDLING            None   None   Fabric Filter - Medium   None
             Bethlehem Steel)                                                                                     Temperature, I.E.
                                                                                                                    180f<T<250f
INDIANA      ISG-BURNS HARBOR (Formerly         005          SINTER TRANSFER STATIONS             None   None     Process Enclosed       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         006          BLAST FURNACE CAR DUMPER             None   None    Fabric Filter - Low     None
             Bethlehem Steel)                                                                                    Temperature, I.E.
                                                                                                                      T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         007          BLAST FURNCE THAW SHED               None   None          None              None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         008          BF C STOCKHOUSE                      None   None    Process Enclosed        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         009          BF D STOCKHOUSE                      None   None    Process Enclosed        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         010          BF C CASTHSE, STOVES, FLR            None   None    Fabric Filter - Low     None
             Bethlehem Steel)                                                                                    Temperature, I.E.
                                                                                                                      T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         011          BF D CASTHSE, STOVES, FLR            None   None    Fabric Filter - Low     None
             Bethlehem Steel)                                                                                    Temperature, I.E.
                                                                                                                      T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         036          COAL PREPARATION                     None   None   Dust Suppression By      None
             Bethlehem Steel)                                                                                   Chemical Stabilizers




                                                                                                                                                      Page 837 of 1689
                                                                                                                 Or Wetting Agents
INDIANA      ISG-BURNS HARBOR (Formerly         037          BATTERY #1 PUSHING                   None   None   Wet Scrubber - High      None
             Bethlehem Steel)                                                                                        Efficiency
INDIANA      ISG-BURNS HARBOR (Formerly         039          COKE OVEN UNDRFIRE BAT #1            None   None          None              None
             Bethlehem Steel)
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                                                                                                                                              USCA Case #23-1207
        TABLE 4.1 LADCO BART CATEGORY 4 (IRON AND STEEL PLANT) EMISSION UNITS – EXISTING CONTROLS
                                               (CONTINUED)
                                                EMISSION
STATE        SOURCE NAME                        UNIT ID      EMISSION UNIT DESCRIPTION   SO2    NO2              PM             VOC
INDIANA      ISG-BURNS HARBOR (Formerly         040          COKE BATTERY #1 QUENCHING   None   None   Miscellaneous Control    None
             Bethlehem Steel)                                                                                 Devices
INDIANA      ISG-BURNS HARBOR (Formerly         041          BATTERY #2 PUSHING          None   None    Fabric Filter - High    None
             Bethlehem Steel)                                                                            Temperature, I.E.
                                                                                                               T>250f
INDIANA      ISG-BURNS HARBOR (Formerly         043          COKE OVEN UNDRFIRE BAT #2   None   None            None            None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         044          BATTERY #2 QUENCHING        None   None          None              None
             Bethlehem Steel)




                                                                                                                                              Document #2013657
INDIANA      ISG-BURNS HARBOR (Formerly         045          COKE OVEN COAL CHEM PLANT   None   None          None              None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         046          COKE SCREENING              None   None   Dust Suppression By      None
             Bethlehem Steel)                                                                          Chemical Stabilizers
                                                                                                        Or Wetting Agents
INDIANA      ISG-BURNS HARBOR (Formerly         048          CSM #1 PICKLE LINE          None   None   Wet Scrubber - High      None
             Bethlehem Steel)                                                                                Efficiency
INDIANA      ISG-BURNS HARBOR (Formerly         049          CSM #2 PICKLE LINE          None   None   Wet Scrubber - High      None
             Bethlehem Steel)                                                                                Efficiency
INDIANA      ISG-BURNS HARBOR (Formerly         051          COLD SHEET MILL- TANDEM     None   None   Mist Eliminator - Low    None
             Bethlehem Steel)                                                                          Velocity, I.E. V<250
                                                                                                               Ft/Min
INDIANA      ISG-BURNS HARBOR (Formerly         052          BATCH ANNEAL FURNACES       None   None           None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         056          COLD SHEET MILL-DUO MILL    None   None          None              None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         057          COLD SHEET TEMPER MILL      None   None          None             Process
             Bethlehem Steel)                                                                                                  Enclosed
INDIANA      ISG-BURNS HARBOR (Formerly         058          COLD SHEET SHIP BLDGS 1&2   None   None          None              None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         061          CSM EGL LINE CLEANING       None   None          None              None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         062          CSM EGL LINE PICKLING       None   None          None              None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         063          CSM EGL LINE ZINC PLATING   None   None          None              None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         067          NORTH BURNING BED           None   None    Process Enclosed        None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         068          SOUTH BURNING BED           None   None    Process Enclosed        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         069          HAND SCARFING BED           None   None    Process Enclosed        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         070          HOT STRIP MILL FURN #1      None   None          None              None
             Bethlehem Steel)
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        TABLE 4.1 LADCO BART CATEGORY 4 (IRON AND STEEL PLANT) EMISSION UNITS – EXISTING CONTROLS
                                               (CONTINUED)
                                                EMISSION
STATE        SOURCE NAME                        UNIT ID      EMISSION UNIT DESCRIPTION   SO2    NO2           PM              VOC
INDIANA      ISG-BURNS HARBOR (Formerly         071          HOT STRIP MILL FURN #2      None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         072          HOT STRIP MILL FURN #3      None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         073          HSM ROLLING PROCESS         None   None   Process Enclosed      Process
             Bethlehem Steel)                                                                                                Enclosed
INDIANA      ISG-BURNS HARBOR (Formerly         076          POWER STATION BOILER #8     None   None         None             None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         077          POWER STATION BOILER #9     None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         078          POWER STATION BOILER #10    None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         079          POWER STATION BOILER #11    None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         080          POWER STATION BOILER #12    None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         081          #1 ROLL SHOP N. BAGHOUSE    None   None   Fabric Filter - Low    None
             Bethlehem Steel)                                                                          Temperature, I.E.
                                                                                                            T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         082          #1 ROLL SHOP S. BAGHOUSE    None   None   Fabric Filter - Low    None
             Bethlehem Steel)                                                                          Temperature, I.E.
                                                                                                            T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         083          #2 ROLL SHOP BAGHOUSE       None   None   Fabric Filter - Low    None
             Bethlehem Steel)                                                                          Temperature, I.E.
                                                                                                            T<180f




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INDIANA      ISG-BURNS HARBOR (Formerly         084          36 SOAKING PITS             None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         085          SLAB MILL SCARFER           None   None    Wet Scrubber -        None
             Bethlehem Steel)                                                                          Medium Efficiency
INDIANA      ISG-BURNS HARBOR (Formerly         086          SLAB MILL ROLLING PROCESS   None   None   Process Enclosed       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         088          SLAB YD 3 FURNACE 4&5&6     None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         089          SLAB YD 3 SCARFING BED 3    None   None   Process Enclosed       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         091          SLAB YD 3 FLAME CUTTING     None   None   Process Enclosed       None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         092          SLAB YD 2 FURNACE 1&2&3     None   None         None             None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         093          SLAB YD 2 FLAME CUT BED 2   None   None   Process Enclosed       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         094          SLAB YD 2 SCARFING BED 2    None   None         None             None
             Bethlehem Steel)
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        TABLE 4.1 LADCO BART CATEGORY 4 (IRON AND STEEL PLANT) EMISSION UNITS – EXISTING CONTROLS
                                               (CONTINUED)
                                                EMISSION
STATE        SOURCE NAME                        UNIT ID      EMISSION UNIT DESCRIPTION   SO2    NO2            PM                VOC
INDIANA      ISG-BURNS HARBOR (Formerly         095          160"PLATE CONT.FURNACE #1   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         096          160"PLATE CONT FURNACE #2   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         097          160"PLATE BATCH FURNCE #4   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         098          160"PLATE BATCH FURNCE #5   None   None          None               None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         099          160"PLATE BATCH FURNCE #6   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         100          160"PLATE BATCH FURNCE #7   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         101          160"PLATE BATCH FURNCE #8   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         104          160"PLATE CAR BOTTOM FRNC   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         105          160"PLATE HARDENING FURNC   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         106          160"PLATE TEMPERING FURNC   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         107          160 PLATE MILL ROLLING      None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         108          SLAB YD 1 FLAME CUTTING     None   None          None               None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         109          110"PLATE CONT FURNACE #1   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         110          110"PLATE CONT FURNACE #2   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         111          EXTRA PROC BLDG FLAME CUT   None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         113          110 PLATE MILL ROLLING      None   None          None               None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         114          BOF HT MTL DESULF STAT #1   None   None   Fabric Filter - High      None
             Bethlehem Steel)                                                                          Temperature, I.E.
                                                                                                             T>250f
INDIANA      ISG-BURNS HARBOR (Formerly         115          BOF HT MTL DESULF STAT #2   None   None   Fabric Filter - High      None




                                                                                                                                               Page 840 of 1689
             Bethlehem Steel)                                                                          Temperature, I.E.
                                                                                                             T>250f
INDIANA      ISG-BURNS HARBOR (Formerly         117          BOF 1&2 CHRG,TAP,SLAGOFF    None   None    Venturi Scrubber         Venturi
             Bethlehem Steel)                                                                                                  Scrubber
INDIANA      ISG-BURNS HARBOR (Formerly         125          BOF 1 & 2 REFINING CYCLE    None   None   Venturi Scrubber       Direct Flame
             Bethlehem Steel)                                                                                                 Afterburner
INDIANA      ISG-BURNS HARBOR (Formerly         137          TEEMING POUR MOLDS          None   None   Process Enclosed           None
             Bethlehem Steel)
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        TABLE 4.1 LADCO BART CATEGORY 4 (IRON AND STEEL PLANT) EMISSION UNITS – EXISTING CONTROLS
                                               (CONTINUED)
                                                EMISSION
  STATE              SOURCE NAME                 UNIT ID         EMISSION UNIT DESCRIPTION   SO2    NO2           PM             VOC
INDIANA      ISG-BURNS HARBOR (Formerly         140          TRACK HOPPER                    None   None   Fabric Filter - Low   None
             Bethlehem Steel)                                                                              Temperature, I.E.
                                                                                                                T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         143          JUNCTION HOUSE H1               None   None   Fabric Filter - Low   None
             Bethlehem Steel)                                                                              Temperature, I.E.
                                                                                                                T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         144          JUNCTION HOUSE H2               None   None   Fabric Filter - Low   None
             Bethlehem Steel)                                                                              Temperature, I.E.
                                                                                                                T<180f




                                                                                                                                              Document #2013657
INDIANA      ISG-BURNS HARBOR (Formerly         145          BOF 1 & 2 STORAGE BINS          None   None   Fabric Filter - Low   None
             Bethlehem Steel)                                                                              Temperature, I.E.
                                                                                                                T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         148          BOF WEIGH HOPPERS               None   None   Fabric Filter - Low   None
             Bethlehem Steel)                                                                              Temperature, I.E.
                                                                                                                T<180f
INDIANA      ISG-BURNS HARBOR (Formerly         153          CONTINUOUS CASTER #1            None   None         None            None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         155          CASTER #1 SLAB PROCESSING       None   None   Process Enclosed      None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         157          CASTER BLDGS MISC ACTIVTS       None   None   Process Enclosed      None
             Bethlehem Steel)




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TABLE 4.2 LADCO BART CATEGORY 4 IRON AND STEEL PLANT EMISSION UNITS – RECOMMENDED BART CONTROLS
                                                EMISSION
  STATE               SOURCE NAME                UNIT ID           EMISSION UNIT DESCRIPTION       SO2        NO2         PM       VOC
ILLINOIS     National Steel Corp                0015         SLAB FURNACE #1                       None      ULNB        None      None
ILLINOIS     National Steel Corp                0033         BOF - TWO VESSELS                     None      ULNB     FF or DESP   None
ILLINOIS     National Steel Corp                0041         BOILER HOUSE 1: BOILERS 1 TO 7       Wet FGD    ULNB     FF or DESP   None
ILLINOIS     National Steel Corp                0042         BOILER HOUSE 1: BOILERS 8 TO 10      Wet FGD    ULNB     FF or DESP   None
ILLINOIS     National Steel Corp                0044         BOILER HOUSE 2: BOILER #11 - BLAST   Wet FGD    ULNB     FF or DESP   None
                                                             FURNACE DEPT
ILLINOIS     National Steel Corp                0048         BOILER HOUSE 2: BOILER #12 - BLAST   Wet FGD    ULNB     FF or DESP   None
                                                             FURNACE DEPT
ILLINOIS     National Steel Corp                0122         SLAB FURNACE #2                       Vented   ULNB or     None       None
                                                                                                     to      LNB




                                                                                                                                                Document #2013657
                                                                                                  common
                                                                                                  wet FGD
                                                                                                  or none
ILLINOIS     National Steel Corp                0123         SLAB FURNACE #3                       Vented   ULNB or     None       None
                                                                                                     to      LNB
                                                                                                  common
                                                                                                  wet FGD
                                                                                                  or none
INDIANA      ISG-BURNS HARBOR (Formerly         001          BEDDING PLANT MATL TRANS               None     None       None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         002          SINTER MIXING DRUM                    None      None      Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         003          SINTER WINDBOX                       AFGD or    ULNB      Existing    None
             Bethlehem Steel)                                                                     wet FGD
INDIANA      ISG-BURNS HARBOR (Formerly         004          SINTER MISC MATL HANDLING             None      None      Existing    None
             Bethlehem Steel)




                                                                                                                                                Filed: 08/22/2023
INDIANA      ISG-BURNS HARBOR (Formerly         005          SINTER TRANSFER STATIONS              None      None      Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         006          BLAST FURNACE CAR DUMPER              None      None      Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         007          BLAST FURNCE THAW SHED                None      None       None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         008          BF C STOCKHOUSE                       None      None      Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         009          BF D STOCKHOUSE                       None      None      Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         010          BF C CASTHSE, STOVES, FLR            DFGD or    ULNB      Existing    None
             Bethlehem Steel)                                                                      AFGD




                                                                                                                                                Page 842 of 1689
INDIANA      ISG-BURNS HARBOR (Formerly         011          BF D CASTHSE, STOVES, FLR            DFGD or    ULNB      Existing    None
             Bethlehem Steel)                                                                      AFGD
INDIANA      ISG-BURNS HARBOR (Formerly         036          COAL PREPARATION                      None      None      Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         037          BATTERY #1 PUSHING                    None      None      Existing    None
             Bethlehem Steel)
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TABLE 4.2 LADCO BART CATEGORY 4 IRON AND STEEL PLANT EMISSION UNITS – RECOMMENDED BART CONTROLS
                                           (CONTINUED)
                                                EMISSION
  STATE              SOURCE NAME                 UNIT ID         EMISSION UNIT DESCRIPTION    SO2       NO2          PM        VOC
INDIANA      ISG-BURNS HARBOR (Formerly         039          COKE OVEN UNDRFIRE BAT #1       Wet FGD    ULNB     FF or DESP    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         040          COKE BATTERY #1 QUENCHING        None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         041          BATTERY #2 PUSHING               None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         043          COKE OVEN UNDRFIRE BAT #2       Wet FGD   ULNB or   FF or DESP    None
             Bethlehem Steel)                                                                           LNB




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INDIANA      ISG-BURNS HARBOR (Formerly         044          BATTERY #2 QUENCHING             None      None     FF or DESP    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         045          COKE OVEN COAL CHEM PLANT        None      None       None        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         046          COKE SCREENING                   None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         048          CSM #1 PICKLE LINE               None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         049          CSM #2 PICKLE LINE               None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         051          COLD SHEET MILL- TANDEM          None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         052          BATCH ANNEAL FURNACES            None      LNB        None        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         056          COLD SHEET MILL-DUO MILL         None      None       None        None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         057          COLD SHEET TEMPER MILL           None      None       None       Existing
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         058          COLD SHEET SHIP BLDGS 1&2        None      None       None        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         061          CSM EGL LINE CLEANING            None      None       None        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         062          CSM EGL LINE PICKLING            None      None       None        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         063          CSM EGL LINE ZINC PLATING        None      None       None        None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         067          NORTH BURNING BED                None      None      Existing     None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         068          SOUTH BURNING BED                None      None      Existing     None
             Bethlehem Steel)
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TABLE 4.2 LADCO BART CATEGORY 4 IRON AND STEEL PLANT EMISSION UNITS – RECOMMENDED BART CONTROLS
                                           (CONTINUED)
                                                EMISSION
  STATE              SOURCE NAME                 UNIT ID         EMISSION UNIT DESCRIPTION    SO2       NO2         PM         VOC
INDIANA      ISG-BURNS HARBOR (Formerly         069          HAND SCARFING BED                None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         070          HOT STRIP MILL FURN #1           Vented    ULNB       None        None
             Bethlehem Steel)                                                                   to
                                                                                             common
                                                                                             wet FGD
                                                                                             or none
INDIANA      ISG-BURNS HARBOR (Formerly         071          HOT STRIP MILL FURN #2           Vented    ULNB       None        None
             Bethlehem Steel)                                                                   to




                                                                                                                                             Document #2013657
                                                                                             common
                                                                                             wet FGD
                                                                                             or none
INDIANA      ISG-BURNS HARBOR (Formerly         072          HOT STRIP MILL FURN #3           Vented    ULNB       None        None
             Bethlehem Steel)                                                                   to
                                                                                             common
                                                                                             wet FGD
                                                                                             or none
INDIANA      ISG-BURNS HARBOR (Formerly         073          HSM ROLLING PROCESS               None     None      Existing    Existing
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         076          POWER STATION BOILER #8         Wet FGD    ULNB     FF or DESP    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         077          POWER STATION BOILER #9         Wet FGD    ULNB     FF or DESP    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         078          POWER STATION BOILER #10        Wet FGD    ULNB     FF or DESP    None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         079          POWER STATION BOILER #11        Wet FGD    ULNB     FF or DESP    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         080          POWER STATION BOILER #12        Wet FGD    ULNB     FF or DESP    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         081          #1 ROLL SHOP N. BAGHOUSE         None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         082          #1 ROLL SHOP S. BAGHOUSE         None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         083          #2 ROLL SHOP BAGHOUSE            None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         084          36 SOAKING PITS                  None     ULNB or     None        None
             Bethlehem Steel)                                                                           LNB




                                                                                                                                             Page 844 of 1689
INDIANA      ISG-BURNS HARBOR (Formerly         085          SLAB MILL SCARFER                None      None      Existing     None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         086          SLAB MILL ROLLING PROCESS        None      None      Existing     None
             Bethlehem Steel)
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TABLE 4.2 LADCO BART CATEGORY 4 IRON AND STEEL PLANT EMISSION UNITS – RECOMMENDED BART CONTROLS
                                           (CONTINUED)
                                                EMISSION
  STATE              SOURCE NAME                 UNIT ID          EMISSION UNIT DESCRIPTION    SO2       NO2        PM       VOC
INDIANA      ISG-BURNS HARBOR (Formerly         088          SLAB YD 3 FURNACE 4&5&6           None      None      None      None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         089          SLAB YD 3 SCARFING BED 3          None      None     Existing   None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         091          SLAB YD 3 FLAME CUTTING           None      None     Existing   None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         092          SLAB YD 2 FURNACE 1&2&3           None      None      None      None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         093          SLAB YD 2 FLAME CUT BED 2         None      None     Existing   None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         094          SLAB YD 2 SCARFING BED 2          None      None      None      None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         095          160"PLATE CONT.FURNACE #1         Vented   ULNB or    None      None
             Bethlehem Steel)                                                                    to      LNB
                                                                                              common
                                                                                              wet FGD
                                                                                              or none
INDIANA      ISG-BURNS HARBOR (Formerly         096          160"PLATE CONT FURNACE #2         Vented   ULNB or    None      None
             Bethlehem Steel)                                                                    to      LNB
                                                                                              common
                                                                                              wet FGD
                                                                                              or none
INDIANA      ISG-BURNS HARBOR (Formerly         097          160"PLATE BATCH FURNCE #4          None     None      None      None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         098          160"PLATE BATCH FURNCE #5         None      None      None      None




                                                                                                                                          Filed: 08/22/2023
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         099          160"PLATE BATCH FURNCE #6         Vented    None      None      None
             Bethlehem Steel)                                                                    to
                                                                                              common
                                                                                              wet FGD
                                                                                              or none
INDIANA      ISG-BURNS HARBOR (Formerly         100          160"PLATE BATCH FURNCE #7         Vented    LNB       None      None
             Bethlehem Steel)                                                                    to
                                                                                              common
                                                                                              wet FGD
                                                                                              or none
INDIANA      ISG-BURNS HARBOR (Formerly         101          160"PLATE BATCH FURNCE #8         Vented    None      None      None




                                                                                                                                          Page 845 of 1689
             Bethlehem Steel)                                                                    to
                                                                                              common
                                                                                              wet FGD
                                                                                              or none
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TABLE 4.2 LADCO BART CATEGORY 4 IRON AND STEEL PLANT EMISSION UNITS – RECOMMENDED BART CONTROLS
                                           (CONTINUED)
                                                EMISSION
  STATE              SOURCE NAME                 UNIT ID           EMISSION UNIT DESCRIPTION   SO2    NO2      PM        VOC
INDIANA      ISG-BURNS HARBOR (Formerly         104          160"PLATE CAR BOTTOM FRNC         None   None    None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         105          160"PLATE HARDENING FURNC         None   LNB     None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         106          160"PLATE TEMPERING FURNC         None   None    None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         107          160 PLATE MILL ROLLING            None   None    None       None
             Bethlehem Steel)




                                                                                                                                       Document #2013657
INDIANA      ISG-BURNS HARBOR (Formerly         108          SLAB YD 1 FLAME CUTTING           None   None    None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         109          110"PLATE CONT FURNACE #1         None   LNB     None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         110          110"PLATE CONT FURNACE #2         None   LNB     None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         111          EXTRA PROC BLDG FLAME CUT         None   None    None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         113          110 PLATE MILL ROLLING            None   None    None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         114          BOF HT MTL DESULF STAT #1         None   None   Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         115          BOF HT MTL DESULF STAT #2         None   None   Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         117          BOF 1&2 CHRG,TAP,SLAGOFF          None   None   Existing   Existing
             Bethlehem Steel)




                                                                                                                                       Filed: 08/22/2023
INDIANA      ISG-BURNS HARBOR (Formerly         125          BOF 1 & 2 REFINING CYCLE          None   ULNB   Existing   Existing
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         137          TEEMING POUR MOLDS                None   None   Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         140          TRACK HOPPER                      None   None   Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         143          JUNCTION HOUSE H1                 None   None   Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         144          JUNCTION HOUSE H2                 None   None   Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         145          BOF 1 & 2 STORAGE BINS            None   None   Existing    None
             Bethlehem Steel)




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INDIANA      ISG-BURNS HARBOR (Formerly         148          BOF WEIGH HOPPERS                 None   None   Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         153          CONTINUOUS CASTER #1              None   None    None       None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         155          CASTER #1 SLAB PROCESSING         None   None   Existing    None
             Bethlehem Steel)
INDIANA      ISG-BURNS HARBOR (Formerly         157          CASTER BLDGS MISC ACTIVTS         None   None   Existing    None
             Bethlehem Steel)
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Midwest RPO Iron and Steel Mills BART Engineering Analysis                                 3/28/2005
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                                              Appendix A
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                           NOX Boilers
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                                                                         BART ANALYSIS 2004
                                                                          LOW NOX BURNER
         CAPITAL COSTS
          Direct Capital Costs
            Purchased Equipment (1)
              Control Device (A)                                                                                                                   205,109
              Instrumentation                                            10% of control device cost (A)                                             20,511
              Sales Taxes                                               6.0% of control device cost (A)                                             12,307
              Freight                                                     5% of control device cost (A)                                             10,255
              Auxiliary equipment (not included in CD cost)                 - of control device cost (A)                                                 0
            Purchased Equipment Total (B)                                18%                                                                       248,182
               Installation
                 Foundations & supports                                   4% of purchased equip cost (B)                                             9,927
                 Handling, erection                                      50% of purchased equip cost (B)                                           124,091
                 Electrical                                               8% of purchased equip cost (B)                                            19,855
                 Piping                                                   1% of purchased equip cost (B)                                             2,482
                 Insulation                                               7% of purchased equip cost (B)                                            17,373
                 Painting                                                 4% of purchased equip cost (B)                                             9,927
                 Expenses not covered by items listed above               0% of purchased equip cost (B)                                                 0
                 Site Preparation, as required                               Site Specific                                                         NA
                 Buildings, as required                                      Site Specific                                                         NA
               Installation Total                                        74%                                                                       183,655
             Total Direct Capital Cost                                                                                                             431,836

             Indirect Capital Costs
                 Engineering, supervision                                10% of purchased equip cost (B)                                            24,818
                 Construction, field exp.                                20% of purchased equip cost (B)                                            49,636
                 Construction fee                                        10% of purchased equip cost (B)                                            24,818
                 Startup                                                  1% of purchased equip cost (B)                                             2,482

               Tests                                                      1% of purchased equip cost (B)                                             2,482
               Contingencies                                              3% of purchased equip cost (B)                                             7,445
          Total Indirect Capital Costs                                   45%                                                                       111,682
         Total Capital Investment (TCI)                                                                                                            543,518
               Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   543,518
         Total Annualized Capital Costs                                                                                                             51,304

         OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
                 Supervisor                                              15% of oper labor costs                                                     7,504
                 Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
                 Maintenance Materials                                  100% of maint labor costs                                                   17,509
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         NA                                                                            -
                       Natural Gas (Fuel)                                 NA                                                                            -
                      Water                                               NA                                                                            -
                      Compressed Air                                      NA                                                                            -
                      Reagent #1(Caustic)                                 NA                                                                            -
                      Reagent #2                                          NA                                                                            -
                      Solid Waste Disposal                                NA                                                                            -
                      Hazardous Waste Disposal                            NA                                                                            -
                      Wastewater Treatment                                NA                                                                            -
                      Catalyst                                            NA                                                                            -
                     Replacement Parts                                    NA                                                                             -
             Total Annual Direct Operating Costs                                                                                                    92,547

             Indirect Operating Costs
                 Overhead                                                60% of oper, maint & supv labor + maint mtl costs                          55,528
                 Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            5,435
                 Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            5,435
                 Administration (2% total capital costs)                  2% of total capital costs (TCI)                                           10,870
             Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                       128,573

         Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              221,120
         Pollutant Removed (tons/yr)                                                                                                                   281
         Cost per ton of NOx Removed                                                                                                                   786

         1




Boiler LNB.xlsLNB Lo(c)                                                                                                                                      1 of 2
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                                                                                BART ANALYSIS 2004
                                                                                 LOW NOX BURNER
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                   7.0%
                              Equipment Life                     20 years
                              CRF                           0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                  2 years
                              CRF                       0.5531
                                                                           3
                              Catalyst cost per unit           650 $/ft
                                                                       3
                              Amount Required                      0 ft
                              Catalyst Cost                        0 Cost adjusted for freight & sales tax
                              Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                 0
                              Annualized Cost                      0

                              Replacement Parts & Equipment
                              Equipment Life                2 years
                              CRF                      0.5531
                              Rep part cost per unit    33.72 $ each
                              Amount Required               0 Number
                              Total Rep Parts Cost          0 Cost adjusted for freight & sales tax
                              Installation Labor            0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost          0
                              Annualized Cost               0

                              Total Cost Replacement Parts & Catalyst                               0

                              Design Flow       264,000 dscfm                  300,000 scfm
                                                     450 Temp Deg F
                                                    12% % Moisture
                                                508,380 acfm



       Operating Cost Calculations                             Annual hours of operation: 8,760
                                                               Utilization rate:           90%
                                   Unit       Unit of  Use        Unit of        Annual      Annual    Comments
       Item                       Cost $     Measure   Rate      Measure          Use*        Cost
       Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971      50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
       Supervisor                        NA                                            NA          NA 15% of Operator Costs
       Maint Labor                    17.77 Hr               1 hr/8 hr shift           986      17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
       Maint Mtls                        NA                                            NA          NA of purchased equipment costs
       Utilities, Reagents, Waste Management & Replacements
       Electricity                    0.046 kW-hr          0.0 kW-hr                     0           0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                 3
       Natural Gas                        4.24 Mft               0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
       Water                               0.2 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
       Comp Air                              0 Mscf            100 Mscfm                       47,304              0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
       Reagent #1(Caustic)                 300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
       Reagent #2                          300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
       SW Disposal                           0 Ton           0.857 ton/hr                       6,758              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
       Haz W Disp                          273 Ton           0.000 ton/hr                           0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
       WW Treat                            1.5 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3                   3
       Catalyst                            650 ft                0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
       Rep Parts                         33.72 bag               0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                  *annual use rate is in same units of measurement as the unit cost factor
                                                                       Emission Control Rate Calculation
       Uncontrolled Emission Rate
             Emission            Unit of         Flow    Unit of Control Eff.           Emis Rate
              Factor            Measure          Rate   Measure      %                    T/yr     Comments/Notes
                        0.27 lb/MMBtu               650 MMBtu/hr    NA                         703
       Controlled Emission Rate
                Perf             Unit of         Flow     Unit of Control Eff.          Emis Rate
            Guarantee           Measure          Rate     Measure     %                   T/yr     Comments/Notes
                                                                     40%                    422.03
       Emission Reduction T/yr                                                                 281

                                 Flow acfm     D P in H2O Blower Eff    Motor Eff             kW
       Blower                        0                5     0.55          0.9                 0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Boiler LNB.xlsLNB Lo(c)                                                                                                                                                      2 of 2
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                                                                          BART ANALYSIS 2004
                                                                          HIGH NOX BURNER
          CAPITAL COSTS
           Direct Capital Costs
             Purchased Equipment (1)
               Control Device (A)                                                                                                                   2,618,557
               Instrumentation                                            10% of control device cost (A)                                              261,856
               Sales Taxes                                               6.0% of control device cost (A)                                              157,113
               Freight                                                     5% of control device cost (A)                                              130,928
               Auxiliary equipment (not included in CD cost)                 - of control device cost (A)                                                   0
             Purchased Equipment Total (B)                                18%                                                                       3,168,455
                Installation
                  Foundations & supports                                   4% of purchased equip cost (B)                                             126,738
                  Handling, erection                                      50% of purchased equip cost (B)                                           1,584,227
                  Electrical                                               8% of purchased equip cost (B)                                             253,476
                  Piping                                                   1% of purchased equip cost (B)                                              31,685
                  Insulation                                               7% of purchased equip cost (B)                                             221,792
                  Painting                                                 4% of purchased equip cost (B)                                             126,738
                  Expenses not covered by items listed above               0% of purchased equip cost (B)                                                   0
                  Site Preparation, as required                               Site Specific                                                           NA
                  Buildings, as required                                      Site Specific                                                           NA
                Installation Total                                        74%                                                                       2,344,656
              Total Direct Capital Cost                                                                                                             5,513,111

              Indirect Capital Costs
                  Engineering, supervision                                10% of purchased equip cost (B)                                            316,845
                  Construction, field exp.                                20% of purchased equip cost (B)                                            633,691
                  Construction fee                                        10% of purchased equip cost (B)                                            316,845
                  Startup                                                  1% of purchased equip cost (B)                                             31,685

                Tests                                                      1% of purchased equip cost (B)                                              31,685
                Contingencies                                              3% of purchased equip cost (B)                                              95,054
           Total Indirect Capital Costs                                   45%                                                                       1,425,805
          Total Capital Investment (TCI)                                                                                                            6,938,915
                Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   6,938,915
          Total Annualized Capital Costs                                                                                                              654,985

          OPERATING COSTS
              Direct Operating Costs
                  Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 50,025
                  Supervisor                                              15% of oper labor costs                                                      7,504
                  Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 17,509
                  Maintenance Materials                                  100% of maint labor costs                                                    17,509
                  Utilities, Reagents, Waste Management & Replacements
                       Electricity                                         NA                                                                              -
                        Natural Gas (Fuel)                                 NA                                                                              -
                       Water                                               NA                                                                              -
                       Compressed Air                                      NA                                                                              -
                       Reagent #1(Caustic)                                 NA                                                                              -
                       Reagent #2                                          NA                                                                              -
                       Solid Waste Disposal                                NA                                                                              -
                       Hazardous Waste Disposal                            NA                                                                              -
                       Wastewater Treatment                                NA                                                                              -
                       Catalyst                                            NA                                                                              -
                      Replacement Parts                                    NA                                                                              -
              Total Annual Direct Operating Costs                                                                                                     92,547

              Indirect Operating Costs
                  Overhead                                                60% of oper, maint & supv labor + maint mtl costs                           55,528
                  Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            69,389
                  Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            69,389
                  Administration (2% total capital costs)                  2% of total capital costs (TCI)                                           138,778
              Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                        988,069

          Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              1,080,616
          Pollutant Removed (tons/yr)                                                                                                                     281
          Cost per ton of NOx Removed                                                                                                                   3,841

          1




Boiler LNB.xlsLNB Hi(c)                                                                                                                                         1 of 2
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                                                                                BART ANALYSIS 2004
                                                                                HIGH NOX BURNER
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                   7.0%
                              Equipment Life                     20 years
                              CRF                           0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                  2 years
                              CRF                       0.5531
                                                                           3
                              Catalyst cost per unit           650 $/ft
                                                                       3
                              Amount Required                      0 ft
                              Catalyst Cost                        0 Cost adjusted for freight & sales tax
                              Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                 0
                              Annualized Cost                      0

                              Replacement Parts & Equipment
                              Equipment Life                2 years
                              CRF                      0.5531
                              Rep part cost per unit    33.72 $ each
                              Amount Required               0 Number
                              Total Rep Parts Cost          0 Cost adjusted for freight & sales tax
                              Installation Labor            0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost          0
                              Annualized Cost               0

                              Total Cost Replacement Parts & Catalyst                               0

                              Design Flow       264,000 dscfm                  300,000 scfm
                                                     450 Temp Deg F
                                                    12% % Moisture
                                                508,380 acfm



       Operating Cost Calculations                             Annual hours of operation: 8,760
                                                               Utilization rate:           90%
                                   Unit       Unit of  Use        Unit of        Annual      Annual    Comments
       Item                       Cost $     Measure   Rate      Measure          Use*        Cost
       Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971      50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
       Supervisor                        NA                                            NA          NA 15% of Operator Costs
       Maint Labor                    17.77 Hr               1 hr/8 hr shift           986      17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
       Maint Mtls                        NA                                            NA          NA of purchased equipment costs
       Utilities, Reagents, Waste Management & Replacements
       Electricity                    0.046 kW-hr          0.0 kW-hr                     0           0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                 3
       Natural Gas                        4.24 Mft               0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
       Water                               0.2 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
       Comp Air                              0 Mscf            100 Mscfm                       47,304              0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
       Reagent #1(Caustic)                 300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
       Reagent #2                          300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
       SW Disposal                           0 Ton           0.857 ton/hr                       6,758              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
       Haz W Disp                          273 Ton           0.000 ton/hr                           0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
       WW Treat                            1.5 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3                   3
       Catalyst                            650 ft                0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
       Rep Parts                         33.72 bag               0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                  *annual use rate is in same units of measurement as the unit cost factor
                                                                       Emission Control Rate Calculation
       Uncontrolled Emission Rate
             Emission            Unit of         Flow    Unit of Control Eff.           Emis Rate
              Factor            Measure          Rate   Measure      %                    T/yr     Comments/Notes
                        0.27 lb/MMBtu               650 MMBtu/hr    NA                         703
       Controlled Emission Rate
                Perf             Unit of         Flow     Unit of Control Eff.          Emis Rate
            Guarantee           Measure          Rate     Measure     %                   T/yr     Comments/Notes
                                                                     40%                    422.03
       Emission Reduction T/yr                                                                 281

                                 Flow acfm     D P in H2O Blower Eff    Motor Eff             kW
       Blower                        0                5     0.55          0.9                 0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Boiler LNB.xlsLNB Hi(c)                                                                                                                                                      2 of 2
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                                                                       BART ANALYSIS 2004
                                                                        LOW NOX BURNER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Control Device (A)                                                                                                                   211,284
            Instrumentation                                            10% of control device cost (A)                                             21,128
             Sales Taxes                                              6.0% of control device cost (A)                                             12,677
            Freight                                                     5% of control device cost (A)                                             10,564
            Auxiliary equipment (not included in CD cost)                 - of control device cost (A) - See Notes                                     0
          Purchased Equipment Total (B)                                18%                                                                       255,654
             Installation
               Foundations & supports                                   4% of purchased equip cost (B)                                            10,226
               Handling, erection                                      50% of purchased equip cost (B)                                           127,827
               Electrical                                               8% of purchased equip cost (B)                                            20,452
               Piping                                                   1% of purchased equip cost (B)                                             2,557
               Insulation                                               7% of purchased equip cost (B)                                            17,896
               Painting                                                 4% of purchased equip cost (B)                                            10,226
               Expenses not covered by items listed above               0% of purchased equip cost (B)                                                 0
               Site Preparation, as required                               Site Specific                                                         NA
               Buildings, as required                                      Site Specific                                                         NA
             Installation Total                                        74%                                                                       189,184
           Total Direct Capital Cost                                                                                                             444,837

           Indirect Capital Costs
               Engineering, supervision                                10% of purchased equip cost (B)                                            25,565
               Construction, field exp.                                20% of purchased equip cost (B)                                            51,131
               Construction fee                                        10% of purchased equip cost (B)                                            25,565
               Startup                                                  1% of purchased equip cost (B)                                             2,557

             Tests                                                      1% of purchased equip cost (B)                                             2,557
             Contingencies                                              3% of purchased equip cost (B)                                             7,670
        Total Indirect Capital Costs                                   45%                                                                       115,044
       Total Capital Investment (TCI)                                                                                                            559,881
             Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   559,881
       Total Annualized Capital Costs                                                                                                             52,849

       OPERATING COSTS
           Direct Operating Costs
               Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
               Supervisor                                              15% of oper labor costs                                                     7,504
               Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
               Maintenance Materials                                  100% of maint labor costs                                                   17,509
               Utilities, Reagents, Waste Management & Replacements
                    Electricity                                         NA                                                                            -
                     Natural Gas (Fuel)                                 NA                                                                            -
                    Water                                               NA                                                                            -
                    Compressed Air                                      NA                                                                            -
                    Reagent #1(Caustic)                                 NA                                                                            -
                    Reagent #2                                          NA                                                                            -
                    Solid Waste Disposal                                NA                                                                            -
                    Hazardous Waste Disposal                            NA                                                                            -
                    Wastewater Treatment                                NA                                                                            -
                    Catalyst                                            NA                                                                            -
                   Replacement Parts                                    NA                                                                             -
           Total Annual Direct Operating Costs                                                                                                    92,547

           Indirect Operating Costs
               Overhead                                                60% of oper, maint & supv labor + maint mtl costs                          55,528
               Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            5,599
               Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            5,599
               Administration (2% total capital costs)                  2% of total capital costs (TCI)                                           11,198
           Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                       130,772

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              223,319
       Pollutant Removed (tons/yr)B                                                                                                                 281
       Cost per ton of NOx Removed                                                                                                                  794

       1




Boiler LNB + FGR.xls LNB Lo(c)                                                                                                                             1 of 2
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                                                                                  BART ANALYSIS 2004
                                                                                   LOW NOX BURNER
                                 Capital Recovery Factors                                                 Enter Data in Blue Highlighted Cells
                                 Primary Installation                                                     Data to Summary Table in Yellow Highlighted Cells
                                 Interest Rate                      7.0%
                                 Equipment Life                        20 years
                                 CRF                              0.0944

                                 Catalyst Replacement Cost
                                 Catalyst Life                         2 years
                                 CRF                              0.5531
                                 Catalyst cost per unit              650 $/ft3
                                 Amount Required                        0 ft3
                                 Catalyst Cost                          0 Cost adjusted for freight & sales tax
                                 Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                 Total Installed Cost                   0
                                 Annualized Cost                        0

                                 Replacement Parts & Equipment
                                 Equipment Life                 2 years
                                 CRF                       0.5531
                                 Rep part cost per unit     33.72 $ each
                                 Amount Required                0 Number
                                 Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                 Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                 Total Installed Cost           0
                                 Annualized Cost                0

                                 Total Cost Replacement Parts & Catalyst                              0

                                 Design Flow        264,000 dscfm                300,000 scfm
                                                         450 Temp Deg F
                                                        12% % Moisture
                                                    508,380 acfm


    Operating Cost Calculations                              Annual hours of operation: 8,760
                                                             Utilization rate:           90%
                                Unit        Unit of  Use         Unit of       Annual      Annual     Comments
    Item                        Cost $     Measure   Rate       Measure         Use*         Cost
    Op Labor                        25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                         NA                                            NA           NA 15% of Operator Costs
    Maint Labor                     17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Maint Mtls                         NA                                            NA           NA of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                     0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                              4.24 Mft3                  0 scfm                        0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                      0.2 Mgal                 0 gpm                         0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                     0 Mscf               100 Mscfm                  47,304               0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                       300 Ton                   0 lb-mole/hr                  0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
    Reagent #2                                300 Ton                   0 lb-mole/hr                  0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
    SW Disposal                                  0 Ton              0.857 ton/hr                  7,509               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
    Haz W Disp                                273 Ton               0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
    WW Treat                                   1.5 Mgal                 0 gpm                         0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                    3                       3
    Catalyst                                  650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                               33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                      *annual use rate is in same units of measurement as the unit cost factor
                                                                           Emission Control Rate Calculation
    Uncontrolled Emission Rate
          Emission            Unit of                Flow    Unit of Control Eff.         Emis Rate
            Factor           Measure                 Rate   Measure      %                  T/yr     Comments/Notes
                    0.275 lb/MMBtu                      650 MMBtu/hr    NA                       703
    Controlled Emission Rate
             Perf             Unit of                Flow       Unit of Control Eff.      Emis Rate
         Guarantee           Measure                 Rate       Measure     %               T/yr    Comments/Notes
                                                                                 40%             422.03
    Emission Reduction T/yr                                                                         281

                                    Flow acfm      D P in H2O   Blower Eff Motor Eff            kW
    Blower                              0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Boiler LNB + FGR.xls LNB Lo(c)                                                                                                                                                   2 of 2
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                                                                       BART ANALYSIS 2004
                                                                        HIGH NOX BURNER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Control Device (A)                                                                                                                   2,697,392
            Instrumentation                                            10% of control device cost (A)                                              269,739
            Sales Taxes                                               6.0% of control device cost (A)                                              161,844
            Freight                                                     5% of control device cost (A)                                              134,870
            Auxiliary equipment (not included in CD cost)                 - of control device cost (A) - See Notes                                       0
          Purchased Equipment Total (B)                                18%                                                                       3,263,844
             Installation
               Foundations & supports                                   4% of purchased equip cost (B)                                             130,554
               Handling, erection                                      50% of purchased equip cost (B)                                           1,631,922
               Electrical                                               8% of purchased equip cost (B)                                             261,108
               Piping                                                   1% of purchased equip cost (B)                                              32,638
               Insulation                                               7% of purchased equip cost (B)                                             228,469
               Painting                                                 4% of purchased equip cost (B)                                             130,554
               Expenses not covered by items listed above               0% of purchased equip cost (B)                                                   0
               Site Preparation, as required                               Site Specific                                                           NA
               Buildings, as required                                      Site Specific                                                           NA
             Installation Total                                        74%                                                                       2,415,245
           Total Direct Capital Cost                                                                                                             5,679,089

           Indirect Capital Costs
               Engineering, supervision                                10% of purchased equip cost (B)                                            326,384
               Construction, field exp.                                20% of purchased equip cost (B)                                            652,769
               Construction fee                                        10% of purchased equip cost (B)                                            326,384
               Startup                                                  1% of purchased equip cost (B)                                             32,638

             Tests                                                      1% of purchased equip cost (B)                                              32,638
             Contingencies                                              3% of purchased equip cost (B)                                              97,915
        Total Indirect Capital Costs                                   45%                                                                       1,468,730
       Total Capital Investment (TCI)                                                                                                            7,147,819
             Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   7,147,819
       Total Annualized Capital Costs                                                                                                              674,704

       OPERATING COSTS
           Direct Operating Costs
               Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 50,025
               Supervisor                                              15% of oper labor costs                                                      7,504
               Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 17,509
               Maintenance Materials                                  100% of maint labor costs                                                    17,509
               Utilities, Reagents, Waste Management & Replacements
                    Electricity                                         NA                                                                              -
                     Natural Gas (Fuel)                                 NA                                                                              -
                    Water                                               NA                                                                              -
                    Compressed Air                                      NA                                                                              -
                    Reagent #1(Caustic)                                 NA                                                                              -
                    Reagent #2                                          NA                                                                              -
                    Solid Waste Disposal                                NA                                                                              -
                    Hazardous Waste Disposal                            NA                                                                              -
                    Wastewater Treatment                                NA                                                                              -
                    Catalyst                                            NA                                                                              -
                   Replacement Parts                                    NA                                                                              -
           Total Annual Direct Operating Costs                                                                                                     92,547

           Indirect Operating Costs
               Overhead                                                60% of oper, maint & supv labor + maint mtl costs                            55,528
               Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                             71,478
               Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                             71,478
               Administration (2% total capital costs)                  2% of total capital costs (TCI)                                            142,956
           Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                       1,016,144

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              1,108,691
       Pollutant Removed (tons/yr)B                                                                                                                    281
       Cost per ton of NOx Removed                                                                                                                   3,941

       1




Boiler LNB + FGR.xls LNB Hi(c)                                                                                                                               1 of 2
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                                                                                  BART ANALYSIS 2004
                                                                                   HIGH NOX BURNER
                                 Capital Recovery Factors                                                 Enter Data in Blue Highlighted Cells
                                 Primary Installation                                                     Data to Summary Table in Yellow Highlighted Cells
                                 Interest Rate                      7.0%
                                 Equipment Life                        20 years
                                 CRF                              0.0944

                                 Catalyst Replacement Cost
                                 Catalyst Life                         2 years
                                 CRF                              0.5531
                                 Catalyst cost per unit              650 $/ft3
                                 Amount Required                        0 ft3
                                 Catalyst Cost                          0 Cost adjusted for freight & sales tax
                                 Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                 Total Installed Cost                   0
                                 Annualized Cost                        0

                                 Replacement Parts & Equipment
                                 Equipment Life                 2 years
                                 CRF                       0.5531
                                 Rep part cost per unit     33.72 $ each
                                 Amount Required                0 Number
                                 Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                 Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                 Total Installed Cost           0
                                 Annualized Cost                0

                                 Total Cost Replacement Parts & Catalyst                              0

                                 Design Flow        264,000 dscfm                300,000 scfm
                                                         450 Temp Deg F
                                                        12% % Moisture
                                                    508,380 acfm


    Operating Cost Calculations                              Annual hours of operation: 8,760
                                                             Utilization rate:           90%
                                Unit        Unit of  Use         Unit of       Annual      Annual     Comments
    Item                        Cost $     Measure   Rate       Measure         Use*         Cost
    Op Labor                        25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                         NA                                            NA           NA 15% of Operator Costs
    Maint Labor                     17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Maint Mtls                         NA                                            NA           NA of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                     0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                              4.24 Mft3                  0 scfm                        0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                      0.2 Mgal                 0 gpm                         0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                     0 Mscf               100 Mscfm                  47,304               0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                       300 Ton                   0 lb-mole/hr                  0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
    Reagent #2                                300 Ton                   0 lb-mole/hr                  0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
    SW Disposal                                  0 Ton              0.857 ton/hr                  7,509               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
    Haz W Disp                                273 Ton               0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
    WW Treat                                   1.5 Mgal                 0 gpm                         0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                    3                       3
    Catalyst                                  650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                               33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                      *annual use rate is in same units of measurement as the unit cost factor
                                                                           Emission Control Rate Calculation
    Uncontrolled Emission Rate
          Emission            Unit of                Flow    Unit of Control Eff.         Emis Rate
            Factor           Measure                 Rate   Measure      %                  T/yr     Comments/Notes
                    0.275 lb/MMBtu                      650 MMBtu/hr    NA                       703
    Controlled Emission Rate
             Perf             Unit of                Flow       Unit of Control Eff.      Emis Rate
         Guarantee           Measure                 Rate       Measure     %               T/yr    Comments/Notes
                                                                                 40%             422.03
    Emission Reduction T/yr                                                                         281

                                    Flow acfm      D P in H2O   Blower Eff Motor Eff            kW
    Blower                              0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Boiler LNB + FGR.xls LNB Hi(c)                                                                                                                                                   2 of 2
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                                                                      BART ANALYSIS 2004
                                                                   FLUE GAS RECIRCULATION
      CAPITAL COSTS
       Direct Capital Costs
         Purchased Equipment (1)
           Control Device (A)                                              The cost of the fan + duct                                           125,000
           Instrumentation                                            10% of control device cost (A)                                             12,500
            Sales Taxes                                              6.0% of control device cost (A)                                              7,500
           Freight                                                     5% of control device cost (A)                                              6,250
           Auxiliary equipment (not included in CD cost)                 - of control device cost (A) - See Notes                                     0
         Purchased Equipment Total (B)                                21%                                                                       151,250
           Installation
            Foundations & supports                                     4% of purchased equip cost (B)                                             6,050
            Handling, erection                                        50% of purchased equip cost (B)                                            75,625
            Electrical                                                 8% of purchased equip cost (B)                                            12,100
            Piping                                                     1% of purchased equip cost (B)                                             1,513
            Insulation                                                 7% of purchased equip cost (B)                                            10,588
            Painting                                                   4% of purchased equip cost (B)                                             6,050
            Expenses not covered by items listed above                 0% of purchased equip cost (B)                                                 0
            Site Preparation, as required                                 Site Specific                                                         NA
            Buildings, as required                                        Site Specific                                                         NA
          Installation Total                                          74%                                                                       111,925
        Total Direct Capital Cost                                                                                                               263,175

        Indirect Capital Costs
            Engineering, supervision                                  10% of purchased equip cost (B)                                            15,125
            Construction, field exp.                                  20% of purchased equip cost (B)                                            30,250
            Construction fee                                          10% of purchased equip cost (B)                                            15,125
            Startup                                                    1% of purchased equip cost (B)                                             1,513

            Tests                                                      1% of purchased equip cost (B)                                             1,513
            Contingencies                                              3% of purchased equip cost (B)                                             4,538
       Total Indirect Capital Costs                                   45%                                                                        68,063
      Total Capital Investment (TCI)                                                                                                            331,238
            Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   331,238
      Total Annualized Capital Costs                                                                                                             31,266

      OPERATING COSTS
        Direct Operating Costs
            Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
            Supervisor                                                15% of oper labor costs                                                     7,504
            Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
            Maintenance Materials                                    100% of maint labor costs                                                   17,509
            Utilities, Reagents, Waste Management & Replacements
                 Electricity                                         0.047 $/kW-hr, 224 kW-hr, 8760 hr/yr, 90.0% of capacity                     82,787
                  Natural Gas (Fuel)                                   NA                                                                             -
                  Water                                                NA                                                                            -
                  Compressed Air                                       NA                                                                            -
                  Reagent #1(Caustic)                                  NA                                                                            -
                  Reagent #2                                           NA                                                                            -
                  Solid Waste Disposal                                 NA                                                                            -
                  Hazardous Waste Disposal                             NA                                                                            -
                  Wastewater Treatment                                 NA                                                                            -
                  Catalyst                                             NA                                                                            -
                Replacement Parts                                      NA                                                                             -
        Total Annual Direct Operating Costs                                                                                                     175,334

        Indirect Operating Costs
            Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                          55,528
            Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                            3,312
            Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                            3,312
            Administration (2% total capital costs)                    2% of total capital costs (TCI)                                            6,625
        Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                       100,044

      Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              275,379
      Pollutant Removed (tons/yr)B                                                                                                                  211
      Cost per ton of NOx Removed                                                                                                                 1,305




Boiler LNB + FGR.xlsFGR Lo(c)                                                                                                                             1 OF 2
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                                                                                 BART ANALYSIS 2004
                                                                              FLUE GAS RECIRCULATION
                                Capital Recovery Factors
                                Primary Installation
                                Interest Rate                        7.0%
                                Equipment Life                          20 years
                                CRF                                0.0944

                                Catalyst Replacement Cost
                                Catalyst Life                           2 years
                                CRF                                0.5531
                                Catalyst cost per unit                650 $/ft3
                                Amount Required                          0 ft3
                                Catalyst Cost                            0 Cost adjusted for freight & sales tax
                                Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                Total Installed Cost                     0
                                Annualized Cost                          0

                                Replacement Parts & Equipment
                                Equipment Life                  2 years
                                CRF                        0.5531
                                Rep part cost per unit      33.72 $ each
                                Amount Required                 0 Number
                                Total Rep Parts Cost            0 Cost adjusted for freight & sales tax
                                Installation Labor              0 10 min per bag (13 hr total) Labor at $29.65/hr
                                Total Installed Cost            0
                                Annualized Cost                 0

                                Total Cost Replacement Parts & Catalyst                                 0

                                Design Flow        264,000 dscfm                  300,000 scfm
                                                        450 Temp Deg F
                                                       12% % Moisture
                                                   508,380 acfm


   Operating Cost Calculations                               Annual hours of operation: 8,760
                                                             Utilization rate:           90%
                               Unit        Unit of   Use         Unit of       Annual      Annual     Comments
   Item                        Cost $     Measure   Rate        Measure         Use*         Cost
   Op Labor                        25.38 Hr                2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
   Supervisor                         NA                                             NA           NA 15% of Operator Costs
   Maint Labor                     17.77 Hr                1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
   Maint Mtls                         NA                                             NA           NA of purchased equipment costs
   Utilities, Reagents, Waste Management & Replacements
   Electricity                     0.047 kW-hr           224 kW-hr             1,764,439       82,787 $/kW-hr, 224 kW-hr, 8760 hr/yr, 90.0% of capacity
   Natural Gas                            4.24 Mft3                     0 scfm                         0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
   Water                                    0.2 Mgal                    0 gpm                          0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
   Comp Air                                   0 Mscf                  100 Mscfm                   52,560                0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
   Reagent #1(Caustic)                     300 Ton                      0 lb-mole/hr                   0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
   Reagent #2                              300 Ton                      0 lb-mole/hr                   0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
   SW Disposal                                0 Ton                 0.857 ton/hr                   7,509                0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
   Haz W Disp                              273 Ton                  0.000 ton/hr                       0                0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
   WW Treat                                 1.5 Mgal                    0 gpm                          0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3                          3
   Catalyst                                650 ft                       0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
   Rep Parts                             33.72 bag                      0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                         *annual use rate is in same units of measurement as the unit cost factor
                                                                             Emission Control Rate Calculation
   Uncontrolled Emission Rate
         Emission           Unit of                 Flow    Unit of          Control Eff.    Emis Rate
           Factor           Measure                 Rate    Measure              %             T/yr     Comments/Notes
                   0.275 lb/MMBtu                      650 MMBtu/hr             NA                  703
   Controlled Emission Rate
            Perf            Unit of                 Flow       Unit of       Control Eff.    Emis Rate
        Guarantee           Measure                 Rate       Measure           %             T/yr    Comments/Notes
                                                                                  30%             492.36
   Emission Reduction T/yr                                                                           211

                                   Flow acfm     D P in H2O    Blower Eff      Motor Eff         kW
   Blower                          101,676             5          0.55           0.9            120.2       OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                brake horse power             kW
   Fan motor                              300                          224




Boiler LNB + FGR.xlsFGR Lo(c)                                                                                                                                                    2 OF 2
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                                                                       BART ANALYSIS 2004
                                                                    FLUE GAS RECIRCULATION
      CAPITAL COSTS
       Direct Capital Costs
         Purchased Equipment (1)
           Control Device (A)                                               The cost of the fan + duct                                           250,000
           Instrumentation                                             10% of control device cost (A)                                             25,000
            Sales Taxes                                               6.0% of control device cost (A)                                             15,000
           Freight                                                      5% of control device cost (A)                                             12,500
           Auxiliary equipment (not included in CD cost)                  - of control device cost (A) - See Notes                                     0
         Purchased Equipment Total (B)                                 21%                                                                       302,500
           Installation
             Foundations & supports                                     4% of purchased equip cost (B)                                            12,100
             Handling, erection                                        50% of purchased equip cost (B)                                           151,250
             Electrical                                                 8% of purchased equip cost (B)                                            24,200
             Piping                                                     1% of purchased equip cost (B)                                             3,025
             Insulation                                                 7% of purchased equip cost (B)                                            21,175
             Painting                                                   4% of purchased equip cost (B)                                            12,100
             Expenses not covered by items listed above                 0% of purchased equip cost (B)                                                 0
             Site Preparation, as required                                 Site Specific                                                         NA
             Buildings, as required                                        Site Specific                                                         NA
           Installation Total                                          74%                                                                       223,850
         Total Direct Capital Cost                                                                                                               526,350

         Indirect Capital Costs
             Engineering, supervision                                  10% of purchased equip cost (B)                                            30,250
             Construction, field exp.                                  20% of purchased equip cost (B)                                            60,500
             Construction fee                                          10% of purchased equip cost (B)                                            30,250
             Startup                                                    1% of purchased equip cost (B)                                             3,025

             Tests                                                      1% of purchased equip cost (B)                                             3,025
             Contingencies                                              3% of purchased equip cost (B)                                             9,075
        Total Indirect Capital Costs                                   45%                                                                       136,125
       Total Capital Investment (TCI)                                                                                                            662,475
             Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   662,475
       Total Annualized Capital Costs                                                                                                             62,533

       OPERATING COSTS
         Direct Operating Costs
             Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
             Supervisor                                                15% of oper labor costs                                                     7,504
             Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
             Maintenance Materials                                    100% of maint labor costs                                                   17,509
             Utilities, Reagents, Waste Management & Replacements
                  Electricity                                         0.047 $/kW-hr, 224 kW-hr, 8760 hr/yr, 90.0% of capacity                     82,787
                   Natural Gas (Fuel)                                   NA                                                                             -
                  Water                                                 NA                                                                            -
                  Compressed Air                                        NA                                                                            -
                  Reagent #1(Caustic)                                   NA                                                                            -
                  Reagent #2                                            NA                                                                            -
                  Solid Waste Disposal                                  NA                                                                            -
                  Hazardous Waste Disposal                              NA                                                                            -
                  Wastewater Treatment                                  NA                                                                            -
                  Catalyst                                              NA                                                                            -
                 Replacement Parts                                      NA                                                                             -
         Total Annual Direct Operating Costs                                                                                                     175,334

         Indirect Operating Costs
             Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                          55,528
             Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                            6,625
             Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                            6,625
             Administration (2% total capital costs)                    2% of total capital costs (TCI)                                           13,250
         Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                       144,560

      Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                               319,895
      Pollutant Removed (tons/yr)B                                                                                                                   211
      Cost per ton of NOx Removed                                                                                                                  1,516




Boiler LNB + FGR.xlsFGR Hi(c)                                                                                                                              1 OF 2
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                                                                                 BART ANALYSIS 2004
                                                                              FLUE GAS RECIRCULATION
                                Capital Recovery Factors
                                Primary Installation
                                Interest Rate                        7.0%
                                Equipment Life                          20 years
                                CRF                                0.0944

                                Catalyst Replacement Cost
                                Catalyst Life                           2 years
                                CRF                                0.5531
                                Catalyst cost per unit                650 $/ft3
                                Amount Required                          0 ft3
                                Catalyst Cost                            0 Cost adjusted for freight & sales tax
                                Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                Total Installed Cost                     0
                                Annualized Cost                          0

                                Replacement Parts & Equipment
                                Equipment Life                  2 years
                                CRF                        0.5531
                                Rep part cost per unit      33.72 $ each
                                Amount Required                 0 Number
                                Total Rep Parts Cost            0 Cost adjusted for freight & sales tax
                                Installation Labor              0 10 min per bag (13 hr total) Labor at $29.65/hr
                                Total Installed Cost            0
                                Annualized Cost                 0

                                Total Cost Replacement Parts & Catalyst                                 0

                                Design Flow        264,000 dscfm                  300,000 scfm
                                                        450 Temp Deg F
                                                       12% % Moisture
                                                   508,380 acfm


   Operating Cost Calculations                               Annual hours of operation: 8,760
                                                             Utilization rate:           90%
                               Unit        Unit of   Use         Unit of       Annual      Annual     Comments
   Item                        Cost $     Measure   Rate        Measure         Use*         Cost
   Op Labor                        25.38 Hr                2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
   Supervisor                         NA                                             NA           NA 15% of Operator Costs
   Maint Labor                     17.77 Hr                1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
   Maint Mtls                         NA                                             NA           NA of purchased equipment costs
   Utilities, Reagents, Waste Management & Replacements
   Electricity                     0.047 kW-hr           224 kW-hr             1,764,439       82,787 $/kW-hr, 224 kW-hr, 8760 hr/yr, 90.0% of capacity
   Natural Gas                            4.24 Mft3                     0 scfm                         0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
   Water                                    0.2 Mgal                    0 gpm                          0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
   Comp Air                                   0 Mscf                  100 Mscfm                   52,560                0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
   Reagent #1(Caustic)                     300 Ton                      0 lb-mole/hr                   0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
   Reagent #2                              300 Ton                      0 lb-mole/hr                   0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
   SW Disposal                                0 Ton                 0.857 ton/hr                   7,509                0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
   Haz W Disp                              273 Ton                  0.000 ton/hr                       0                0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
   WW Treat                                 1.5 Mgal                    0 gpm                          0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3                          3
   Catalyst                                650 ft                       0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
   Rep Parts                             33.72 bag                      0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                         *annual use rate is in same units of measurement as the unit cost factor
                                                                             Emission Control Rate Calculation
   Uncontrolled Emission Rate
         Emission           Unit of                 Flow    Unit of          Control Eff.    Emis Rate
           Factor           Measure                 Rate    Measure              %             T/yr     Comments/Notes
                   0.275 lb/MMBtu                      650 MMBtu/hr             NA                  703
   Controlled Emission Rate
            Perf            Unit of                 Flow       Unit of       Control Eff.    Emis Rate
        Guarantee           Measure                 Rate       Measure           %             T/yr    Comments/Notes
                                                                                  30%             492.36
   Emission Reduction T/yr                                                                           211

                                   Flow acfm     D P in H2O    Blower Eff      Motor Eff         kW
   Blower                          101,676             5          0.55           0.9            120.2       OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                brake horse power             kW
   Fan motor                              300                          224




Boiler LNB + FGR.xlsFGR Hi(c)                                                                                                                                                    2 OF 2
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                                                                            BART ANALYSIS 2004
                                                                    SELECTIVE NON-CATALYTIC REDUCTION
               CAPITAL COSTS
                Direct Capital Costs
                  Purchased Equipment (1)
                    Control Device (A)                                            SNCR equipment                                                            718,504
                    Instrumentation                                            1% of control device cost (A)                                                  7,185
                    Sales Taxes                                              6.0% of control device cost (A)                                                 43,110
                    Freight                                                    5% of control device cost (A)                                                 35,925
                    Auxiliary equipment (not included in CD cost)              0% of control device cost (A)                                                      0
                  Purchased Equipment Total (B)                             12.0%                                                                           804,724
                    Installation
                     Foundations & supports                                    8% of purchased equip cost (B)                                                64,378
                     Handling, erection                                       14% of purchased equip cost (B)                                               112,661
                     Electrical                                                4% of purchased equip cost (B)                                                32,189
                     Piping                                                    4% of purchased equip cost (B)                                                32,189
                     Insulation                                                1% of purchased equip cost (B)                                                 8,047
                     Painting                                                  1% of purchased equip cost (B)                                                 8,047
                     Expenses not covered by items listed above                0% of purchased equip cost (B)                                                     0
                     Site Preparation, as required                                Site Specific
                     Buildings, as required                                       Building extention to for additional grate sections
                   Installation Total                                         32%                                                                            257,512
                 Total Direct Capital Cost                                                                                                                 1,062,236

                 Indirect Capital Costs
                     Engineering, supervision                                 10% of purchased equip cost (B)                                                80,472
                     Construction, field exp.                                  5% of purchased equip cost (B)                                                40,236
                     Construction fee                                         10% of purchased equip cost (B)                                                80,472
                     Startup                                                   2% of purchased equip cost (B)                                                16,094

                     Tests                                                     1% of purchased equip cost (B)                                                  8,047
                     Contingencies                                             3% of purchased equip cost (B)                                                 24,142
                Total Indirect Capital Costs                                  31%                                                                            249,464
               Total Capital Investment (TCI)                                                                                                              1,311,700
                     Replacement Parts Cost & Installation Labor                 0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      1,311,700
               Total Annualized Capital Costs                                                                                                                123,815
                                                                                                                                                  1.8256
               OPERATING COSTS
                 Direct Operating Costs
                     Operating Labor                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     13,896
                     Supervisor                                              15% of oper labor costs                                                          2,084
                     Maintenance Labor                                      17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      9,727
                     Maintenance Materials                                  100% of maint labor costs                                                         9,727
                     Utilities, Reagents, Waste Management & Replacements
                          Electricity                                         0.05 $/kW-hr, 601 kW-hr, 8760 hr/yr, 90.0% of capacity                        222,254
                           Natural Gas (Fuel)                                  NA                                                                                 -
                           Water                                              0.22 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity                               845
                           Compressed Air                                     0.27 $/Mscf, 29.0 scfm, 8760 hr/yr, 90.0% of capacity                           3,765
                           Reagent #1(Anhydrous Ammonia)                       NA                                                                                 -
                           Reagent #2 (Urea 50% Solution)                     0.10 $/Lb, 362.9 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity        294,983
                           Solid Waste Disposal                                NA                                                                                 -
                           Hazardous Waste Disposal                            NA                                                                                 -
                           Wastewater Treatment                                NA                                                                                 -
                         Catalyst                                              NA                                                                                 -
                         Replacement Parts                                     NA                                                                                 -
                 Total Annual Direct Operating Costs                                                                                                        557,282

                 Indirect Operating Costs
                     Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                              21,261
                     Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                               13,117
                     Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                               13,117
                     Administration (2% total capital costs)                   2% of total capital costs (TCI)                                               26,234
                 Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                           197,544

               Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 754,826
               Pollutant Removed (tons/yr)                                                                                                                      211
               Cost per ton of NOx Removed                                                                                                                    3,577




Boiler LNB + SNCR.xls SNCR Lo(e)-Lo(c)                                                                                                                                 1 of 2
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                                                                                 BART ANALYSIS 2004
                                                                         SELECTIVE NON-CATALYTIC REDUCTION
                                         Capital Recovery Factors
                                         Primary Installation
                                         Interest Rate                      7.0%
                                         Equipment Life                        20 years
                                         CRF                              0.0944

                                         Catalyst Replacement Cost
                                         Catalyst Life                  2 years
                                         CRF                       0.5531
                                                                                     3
                                         Catalyst cost per unit              650 $/ft
                                         Amount Required                       0 ft3
                                         Catalyst Cost                         0 Cost adjusted for freight & sales tax
                                         Installation Labor                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                         Total Installed Cost                  0
                                         Annualized Cost                       0

                                         Replacement Parts & Equipment
                                         Equipment Life                 2
                                         CRF                       0.5531
                                         Rep part cost per unit     33.72 $ each
                                         Amount Required                0 Number
                                         Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                         Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                         Total Installed Cost           0
                                         Annualized Cost                0

                                         Total Cost Replacement Parts & Catalyst                             0

                                         Design Flow           264,000 dscfm             300,000 scfm
                                                                    450 Temp Deg F
                                                                   12% % Moisture
                                                               508,380 acfm

 Operating Cost Calculations                                                    Utilization Rate                       90.0%
                                                                                Annual hours of operation:              8,760
                                        Unit        Unit of              Use        Unit of      Annual             Annual    Comments
 Item                                  Cost $      Measure               Rate      Measure        Use*               Cost
 Op Labor                                  25.38 Hr                         0.5 hr/8 hr shift          548             13,896 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                   NA                                                       NA                 NA 15% of Operator Costs
 Maint Labor                                 17.8 Hr                        0.5 hr/8 hr shift          548              9,727 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                                   NA                                                       NA                 NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                               0.047 kW-hr                     600.8 kW-hr               4,736,872         222,254 $/kW-hr, 601 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                         4.24 Mft3                  0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                               0.22 Mgal                  8 gpm                    3,784             845 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                            0.27 Mscf              29.0 scfm               13,734,410           3,765 $/Mscf, 29.0 scfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Anhydrous Ammonia)                        405 Ton                 0.0 lb/hr                      0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, Ammonia
 Reagent #2 (Urea 50% Solution)                      0.10 Lb               362.9 lb/hr               2,861,335         294,983 $/Lb, 362.9 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity
 SW Disposal                                           25 Ton              0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                                           273 Ton              0.000 ton/2-yr period             0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                             1.5 Mgal                  0 gpm                        0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                           3
 Catalyst                                           650 ft                     0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                        33.72 $/bag                  0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                                 Emission Control Rate Calculation
 Uncontrolled Emission Rate
              Emission                     Unit of             Rate     % Max Control Eff.         Emis Rate
               Factor                      Measure             Hrs     Capacity   %                  T/yr     Comments/Notes
                                   0.27 lb/MMBtu                   650 MMBTU/HNA                          703
 Controlled Emission Rate
               Perf                        Unit of             Flow     Unit of Control Eff.       Emis Rate
             Guarantee                     Measure             Rate     Measure     %                T/yr     Comments/Notes
                                                                                   30%                492.36 Basis:8760 hr/yr, 90.0% of capacity
 Emission Reduction T/yr                                                                                  211

                                            Flow acfm      D P in H2O Blower Eff Motor Eff            kW
 Blower                                     508,380              5       0.55      0.9               600.8       OAQPS Cost Cont Manual 5th ed - Eq 3.37
 Blower                                        0                 5       0.55      0.9                0.0        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                            Flow gpm       D P ft H2O Pump Eff   Motor Eff
 Reagent Pump                                 0.64             50         0.8      0.9               0.01        OAQPS Cost Cont Manual 5th ed - Eq 9.49
 Total Electricity                                                                                   600.8

 Ammonia                                     160.6      lb/hr NOx     0.370 lb NH3/lb NOx                             62.9     lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
 Urea 50% Sol'n                              160.6      lb/hr NOx       2.260 lb Urea Sol'n/lb NOx                   362.9     lb/hr Urea Sol'n per vendor quote
 Comp Air                                         0.08 scfm per lb/hr Urea                                            29.0

 Density of 50% urea solution                          71 lb/ft3
                                                     9.49 lb/gal


Boiler LNB + SNCR.xls SNCR Lo(e)-Lo(c)                                                                                                                                                      2 of 2
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                                                                            BART ANALYSIS 2004
                                                                    SELECTIVE NON-CATALYTIC REDUCTION
               CAPITAL COSTS
                Direct Capital Costs
                  Purchased Equipment (1)
                    Control Device (A)                                             SNCR equipment                                                           2,630,514
                    Instrumentation                                             1% of control device cost (A)                                                  26,305
                    Sales Taxes                                               6.0% of control device cost (A)                                                 157,831
                    Freight                                                     5% of control device cost (A)                                                 131,526
                    Auxiliary equipment (not included in CD cost)               0% of control device cost (A)                                                       0
                  Purchased Equipment Total (B)                              12.0%                                                                          2,946,176
                    Installation
                      Foundations & supports                                   8% of purchased equip cost (B)                                                235,694
                      Handling, erection                                      14% of purchased equip cost (B)                                                412,465
                      Electrical                                               4% of purchased equip cost (B)                                                117,847
                      Piping                                                   4% of purchased equip cost (B)                                                117,847
                      Insulation                                               1% of purchased equip cost (B)                                                 29,462
                      Painting                                                 1% of purchased equip cost (B)                                                 29,462
                      Expenses not covered by items listed above               0% of purchased equip cost (B)                                                      0
                      Site Preparation, as required                               Site Specific
                      Buildings, as required                                      Building extention to for additional grate sections
                    Installation Total                                        32%                                                                             942,776
                  Total Direct Capital Cost                                                                                                                 3,888,952

                  Indirect Capital Costs
                      Engineering, supervision                                 10% of purchased equip cost (B)                                               294,618
                      Construction, field exp.                                  5% of purchased equip cost (B)                                               147,309
                      Construction fee                                         10% of purchased equip cost (B)                                               294,618
                      Startup                                                   2% of purchased equip cost (B)                                                58,924

                     Tests                                                      1% of purchased equip cost (B)                                                 29,462
                     Contingencies                                              3% of purchased equip cost (B)                                                 88,385
                Total Indirect Capital Costs                                   31%                                                                            913,315
               Total Capital Investment (TCI)                                                                                                               4,802,267
                     Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      4,802,267
               Total Annualized Capital Costs                                                                                                                 453,300
                                                                                                                                                   1.8256
                OPERATING COSTS
                  Direct Operating Costs
                      Operating Labor                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     13,896
                      Supervisor                                              15% of oper labor costs                                                          2,084
                      Maintenance Labor                                      17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      9,727
                      Maintenance Materials                                  100% of maint labor costs                                                         9,727
                      Utilities, Reagents, Waste Management & Replacements
                           Electricity                                         0.05 $/kW-hr, 601 kW-hr, 8760 hr/yr, 90.0% of capacity                        222,254
                           Natural Gas (Fuel)                                   NA                                                                                 -
                           Water                                               0.22 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity                               845
                           Compressed Air                                      0.27 $/Mscf, 29.0 scfm, 8760 hr/yr, 90.0% of capacity                           3,765
                           Reagent #1(Anhydrous Ammonia)                        NA                                                                                 -
                           Reagent #2 (Urea 50% Solution)                      0.10 $/Lb, 362.9 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity        294,983
                           Solid Waste Disposal                                 NA                                                                                 -
                           Hazardous Waste Disposal                             NA                                                                                 -
                           Wastewater Treatment                                 NA                                                                                 -
                          Catalyst                                             NA                                                                                  -
                          Replacement Parts                                    NA                                                                                  -
                  Total Annual Direct Operating Costs                                                                                                        557,282

                  Indirect Operating Costs
                      Overhead                                                60% of oper, maint & supv labor + maint mtl costs                               21,261
                      Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                                48,023
                      Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                                48,023
                      Administration (2% total capital costs)                  2% of total capital costs (TCI)                                                96,045
                  Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                            666,652

               Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 1,223,933
               Pollutant Removed (tons/yr)                                                                                                                        211
               Cost per ton of NOx Removed                                                                                                                      5,800




Boiler LNB + SNCR.xls SNCR Lo(e)-Hi(c)                                                                                                                                  1 of 2
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                                                                                 BART ANALYSIS 2004
                                                                         SELECTIVE NON-CATALYTIC REDUCTION
                                         Capital Recovery Factors
                                         Primary Installation
                                         Interest Rate                      7.0%
                                         Equipment Life                        20 years
                                         CRF                              0.0944

                                         Catalyst Replacement Cost
                                         Catalyst Life                  2 years
                                         CRF                       0.5531
                                                                                     3
                                         Catalyst cost per unit              650 $/ft
                                         Amount Required                       0 ft3
                                         Catalyst Cost                         0 Cost adjusted for freight & sales tax
                                         Installation Labor                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                         Total Installed Cost                  0
                                         Annualized Cost                       0

                                         Replacement Parts & Equipment
                                         Equipment Life                 2
                                         CRF                       0.5531
                                         Rep part cost per unit     33.72 $ each
                                         Amount Required                0 Number
                                         Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                         Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                         Total Installed Cost           0
                                         Annualized Cost                0

                                         Total Cost Replacement Parts & Catalyst                             0

                                         Design Flow           264,000 dscfm             300,000 scfm
                                                                    450 Temp Deg F
                                                                   12% % Moisture
                                                               508,380 acfm

 Operating Cost Calculations                                                    Utilization Rate                       90.0%
                                                                                Annual hours of operation:              8,760
                                        Unit        Unit of              Use        Unit of      Annual             Annual    Comments
 Item                                  Cost $      Measure               Rate      Measure        Use*               Cost
 Op Labor                                  25.38 Hr                         0.5 hr/8 hr shift          548             13,896 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                   NA                                                       NA                 NA 15% of Operator Costs
 Maint Labor                                 17.8 Hr                        0.5 hr/8 hr shift          548              9,727 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                                   NA                                                       NA                 NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                               0.047 kW-hr                     600.8 kW-hr               4,736,872         222,254 $/kW-hr, 601 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                         4.24 Mft3                  0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                               0.22 Mgal                  8 gpm                    3,784             845 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                            0.27 Mscf              29.0 scfm               13,734,410           3,765 $/Mscf, 29.0 scfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Anhydrous Ammonia)                        405 Ton                 0.0 lb/hr                      0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, Ammonia
 Reagent #2 (Urea 50% Solution)                      0.10 Lb               362.9 lb/hr               2,861,335         294,983 $/Lb, 362.9 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity
 SW Disposal                                           25 Ton              0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                                           273 Ton              0.000 ton/2-yr period             0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                             1.5 Mgal                  0 gpm                        0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                           3
 Catalyst                                           650 ft                     0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                        33.72 $/bag                  0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                                 Emission Control Rate Calculation
 Uncontrolled Emission Rate
              Emission                      Unit of            Rate     % Max Control Eff.         Emis Rate
               Factor                       Measure            Hrs     Capacity   %                  T/yr     Comments/Notes
                                    0.27 lb/MMBtu                  650 MMBTU/HNA                          703
 Controlled Emission Rate
               Perf                        Unit of             Flow     Unit of Control Eff.       Emis Rate
             Guarantee                     Measure             Rate     Measure     %                T/yr     Comments/Notes
                                                                                   30%                492.36 Basis:8760 hr/yr, 90.0% of capacity
 Emission Reduction T/yr                                                                                  211

                                            Flow acfm      D P in H2O Blower Eff Motor Eff            kW
 Blower                                     508,380              5       0.55      0.9               600.8       OAQPS Cost Cont Manual 5th ed - Eq 3.37
 Blower                                        0                 5       0.55      0.9                0.0        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                            Flow gpm       D P ft H2O Pump Eff   Motor Eff
 Reagent Pump                                 0.64             50         0.8      0.9               0.01        OAQPS Cost Cont Manual 5th ed - Eq 9.49
 Total Electricity                                                                                   600.8

 Ammonia                                     160.6      lb/hr NOx     0.370 lb NH3/lb NOx                             62.9     lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
 Urea 50% Sol'n                              160.6      lb/hr NOx       2.260 lb Urea Sol'n/lb NOx                   362.9     lb/hr Urea Sol'n per vendor quote
 Comp Air                                         0.08 scfm per lb/hr Urea                                            29.0

 Density of 50% urea solution                          71 lb/ft3
                                                     9.49 lb/gal


Boiler LNB + SNCR.xls SNCR Lo(e)-Hi(c)                                                                                                                                                      2 of 2
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                                                                            BART ANALYSIS 2004
                                                                    SELECTIVE NON-CATALYTIC REDUCTION
               CAPITAL COSTS
                Direct Capital Costs
                  Purchased Equipment (1)
                    Control Device (A)                                             SNCR equipment                                                            718,504
                    Instrumentation                                             1% of control device cost (A)                                                  7,185
                    Sales Taxes                                               6.0% of control device cost (A)                                                 43,110
                    Freight                                                     5% of control device cost (A)                                                 35,925
                    Auxiliary equipment (not included in CD cost)               0% of control device cost (A)                                                      0
                  Purchased Equipment Total (B)                              12.0%                                                                           804,724
                    Installation
                      Foundations & supports                                   8% of purchased equip cost (B)                                                 64,378
                      Handling, erection                                      14% of purchased equip cost (B)                                                112,661
                      Electrical                                               4% of purchased equip cost (B)                                                 32,189
                      Piping                                                   4% of purchased equip cost (B)                                                 32,189
                      Insulation                                               1% of purchased equip cost (B)                                                  8,047
                      Painting                                                 1% of purchased equip cost (B)                                                  8,047
                      Expenses not covered by items listed above               0% of purchased equip cost (B)                                                      0
                      Site Preparation, as required                               Site Specific
                      Buildings, as required                                      Building extention to for additional grate sections
                    Installation Total                                        32%                                                                             257,512
                  Total Direct Capital Cost                                                                                                                 1,062,236

                  Indirect Capital Costs
                      Engineering, supervision                                 10% of purchased equip cost (B)                                                80,472
                      Construction, field exp.                                  5% of purchased equip cost (B)                                                40,236
                      Construction fee                                         10% of purchased equip cost (B)                                                80,472
                      Startup                                                   2% of purchased equip cost (B)                                                16,094

                     Tests                                                      1% of purchased equip cost (B)                                                  8,047
                     Contingencies                                              3% of purchased equip cost (B)                                                 24,142
                Total Indirect Capital Costs                                   31%                                                                            249,464
               Total Capital Investment (TCI)                                                                                                               1,311,700
                     Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      1,311,700
               Total Annualized Capital Costs                                                                                                                 123,815
                                                                                                                                                   1.8256
                OPERATING COSTS
                  Direct Operating Costs
                      Operating Labor                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     13,896
                      Supervisor                                              15% of oper labor costs                                                          2,084
                      Maintenance Labor                                      17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      9,727
                      Maintenance Materials                                  100% of maint labor costs                                                         9,727
                      Utilities, Reagents, Waste Management & Replacements
                           Electricity                                         0.05 $/kW-hr, 601 kW-hr, 8760 hr/yr, 90.0% of capacity                        222,254
                           Natural Gas (Fuel)                                   NA                                                                                 -
                           Water                                               0.22 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity                               845
                           Compressed Air                                      0.27 $/Mscf, 29.0 scfm, 8760 hr/yr, 90.0% of capacity                           3,765
                           Reagent #1(Anhydrous Ammonia)                        NA                                                                                 -
                           Reagent #2 (Urea 50% Solution)                      0.10 $/Lb, 362.9 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity        294,983
                           Solid Waste Disposal                                 NA                                                                                 -
                           Hazardous Waste Disposal                             NA                                                                                 -
                           Wastewater Treatment                                 NA                                                                                 -
                          Catalyst                                             NA                                                                                  -
                          Replacement Parts                                    NA                                                                                  -
                  Total Annual Direct Operating Costs                                                                                                        557,282

                  Indirect Operating Costs
                      Overhead                                                60% of oper, maint & supv labor + maint mtl costs                               21,261
                      Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                                13,117
                      Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                                13,117
                      Administration (2% total capital costs)                  2% of total capital costs (TCI)                                                26,234
                  Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                            197,544

               Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                  754,826
               Pollutant Removed (tons/yr)                                                                                                                       352
               Cost per ton of NOx Removed                                                                                                                     2,146




Boiler LNB + SNCR.xls SNCR Hi(e)-Lo(c)                                                                                                                                  1 of 2
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                                                                                 BART ANALYSIS 2004
                                                                         SELECTIVE NON-CATALYTIC REDUCTION
                                         Capital Recovery Factors
                                         Primary Installation
                                         Interest Rate                      7.0%
                                         Equipment Life                        20 years
                                         CRF                              0.0944

                                         Catalyst Replacement Cost
                                         Catalyst Life                  2 years
                                         CRF                       0.5531
                                                                                     3
                                         Catalyst cost per unit              650 $/ft
                                         Amount Required                       0 ft3
                                         Catalyst Cost                         0 Cost adjusted for freight & sales tax
                                         Installation Labor                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                         Total Installed Cost                  0
                                         Annualized Cost                       0

                                         Replacement Parts & Equipment
                                         Equipment Life                 2
                                         CRF                       0.5531
                                         Rep part cost per unit     33.72 $ each
                                         Amount Required                0 Number
                                         Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                         Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                         Total Installed Cost           0
                                         Annualized Cost                0

                                         Total Cost Replacement Parts & Catalyst                             0

                                         Design Flow           264,000 dscfm             300,000 scfm
                                                                    450 Temp Deg F
                                                                   12% % Moisture
                                                               508,380 acfm

 Operating Cost Calculations                                                    Utilization Rate                       90.0%
                                                                                Annual hours of operation:              8,760
                                        Unit        Unit of              Use        Unit of      Annual             Annual    Comments
 Item                                  Cost $      Measure               Rate      Measure        Use*               Cost
 Op Labor                                  25.38 Hr                         0.5 hr/8 hr shift          548             13,896 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                   NA                                                       NA                 NA 15% of Operator Costs
 Maint Labor                                 17.8 Hr                        0.5 hr/8 hr shift          548              9,727 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                                   NA                                                       NA                 NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                               0.047 kW-hr                     600.8 kW-hr               4,736,872         222,254 $/kW-hr, 601 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                         4.24 Mft3                  0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                               0.22 Mgal                  8 gpm                    3,784             845 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                            0.27 Mscf              29.0 scfm               13,734,410           3,765 $/Mscf, 29.0 scfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Anhydrous Ammonia)                        405 Ton                 0.0 lb/hr                      0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, Ammonia
 Reagent #2 (Urea 50% Solution)                      0.10 Lb               362.9 lb/hr               2,861,335         294,983 $/Lb, 362.9 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity
 SW Disposal                                           25 Ton              0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                                           273 Ton              0.000 ton/2-yr period             0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                             1.5 Mgal                  0 gpm                        0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                           3
 Catalyst                                           650 ft                     0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                        33.72 $/bag                  0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                                 Emission Control Rate Calculation
 Uncontrolled Emission Rate
              Emission                      Unit of            Rate     % Max Control Eff.         Emis Rate
               Factor                       Measure            Hrs     Capacity   %                  T/yr     Comments/Notes
                                    0.27 lb/MMBtu                  650 MMBTU/HNA                          703
 Controlled Emission Rate
               Perf                        Unit of             Flow     Unit of Control Eff.       Emis Rate
             Guarantee                     Measure             Rate     Measure     %                T/yr     Comments/Notes
                                                                                   50%                351.69 Basis:8760 hr/yr, 90.0% of capacity
 Emission Reduction T/yr                                                                                  352

                                            Flow acfm      D P in H2O Blower Eff Motor Eff            kW
 Blower                                     508,380              5       0.55      0.9               600.8       OAQPS Cost Cont Manual 5th ed - Eq 3.37
 Blower                                        0                 5       0.55      0.9                0.0        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                            Flow gpm       D P ft H2O Pump Eff   Motor Eff
 Reagent Pump                                 0.64             50         0.8      0.9               0.01        OAQPS Cost Cont Manual 5th ed - Eq 9.49
 Total Electricity                                                                                   600.8

 Ammonia                                     160.6      lb/hr NOx     0.370 lb NH3/lb NOx                             62.9     lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
 Urea 50% Sol'n                              160.6      lb/hr NOx       2.260 lb Urea Sol'n/lb NOx                   362.9     lb/hr Urea Sol'n per vendor quote
 Comp Air                                         0.08 scfm per lb/hr Urea                                            29.0

 Density of 50% urea solution                          71 lb/ft3
                                                     9.49 lb/gal


Boiler LNB + SNCR.xls SNCR Hi(e)-Lo(c)                                                                                                                                                      2 of 2
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                                                                             BART ANALYSIS 2004
                                                                     SELECTIVE NON-CATALYTIC REDUCTION
                CAPITAL COSTS
                 Direct Capital Costs
                   Purchased Equipment (1)
                     Control Device (A)                                            SNCR equipment                                                           2,630,514
                     Instrumentation                                            1% of control device cost (A)                                                  26,305
                     Sales Taxes                                              6.0% of control device cost (A)                                                 157,831
                     Freight                                                    5% of control device cost (A)                                                 131,526
                     Auxiliary equipment (not included in CD cost)              0% of control device cost (A)                                                       0
                   Purchased Equipment Total (B)                             12.0%                                                                          2,946,176
                    Installation
                      Foundations & supports                                    8% of purchased equip cost (B)                                               235,694
                      Handling, erection                                       14% of purchased equip cost (B)                                               412,465
                      Electrical                                                4% of purchased equip cost (B)                                               117,847
                      Piping                                                    4% of purchased equip cost (B)                                               117,847
                      Insulation                                                1% of purchased equip cost (B)                                                29,462
                      Painting                                                  1% of purchased equip cost (B)                                                29,462
                      Expenses not covered by items listed above                0% of purchased equip cost (B)                                                     0
                      Site Preparation, as required                                Site Specific
                      Buildings, as required                                       Building extention to for additional grate sections
                    Installation Total                                         32%                                                                            942,776
                  Total Direct Capital Cost                                                                                                                 3,888,952

                  Indirect Capital Costs
                      Engineering, supervision                                 10% of purchased equip cost (B)                                               294,618
                      Construction, field exp.                                  5% of purchased equip cost (B)                                               147,309
                      Construction fee                                         10% of purchased equip cost (B)                                               294,618
                      Startup                                                   2% of purchased equip cost (B)                                                58,924

                      Tests                                                     1% of purchased equip cost (B)                                                 29,462
                      Contingencies                                             3% of purchased equip cost (B)                                                 88,385
                 Total Indirect Capital Costs                                  31%                                                                            913,315
                Total Capital Investment (TCI)                                                                                                              4,802,267
                      Replacement Parts Cost & Installation Labor                 0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      4,802,267
                Total Annualized Capital Costs                                                                                                                453,300
                                                                                                                                                   1.8256
                OPERATING COSTS
                  Direct Operating Costs
                      Operating Labor                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     13,896
                      Supervisor                                              15% of oper labor costs                                                          2,084
                      Maintenance Labor                                      17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      9,727
                      Maintenance Materials                                  100% of maint labor costs                                                         9,727
                      Utilities, Reagents, Waste Management & Replacements
                           Electricity                                         0.05 $/kW-hr, 601 kW-hr, 8760 hr/yr, 90.0% of capacity                        222,254
                           Natural Gas (Fuel)                                   NA                                                                                 -
                           Water                                               0.22 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity                               845
                           Compressed Air                                      0.27 $/Mscf, 29.0 scfm, 8760 hr/yr, 90.0% of capacity                           3,765
                           Reagent #1(Anhydrous Ammonia)                        NA                                                                                 -
                           Reagent #2 (Urea 50% Solution)                      0.10 $/Lb, 362.9 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity        294,983
                           Solid Waste Disposal                                 NA                                                                                 -
                           Hazardous Waste Disposal                             NA                                                                                 -
                           Wastewater Treatment                                 NA                                                                                 -
                          Catalyst                                              NA                                                                                 -
                          Replacement Parts                                     NA                                                                                 -
                  Total Annual Direct Operating Costs                                                                                                        557,282

                  Indirect Operating Costs
                      Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                              21,261
                      Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                               48,023
                      Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                               48,023
                      Administration (2% total capital costs)                   2% of total capital costs (TCI)                                               96,045
                  Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                           666,652

                Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                1,223,933
                Pollutant Removed (tons/yr)                                                                                                                       352
                Cost per ton of NOx Removed                                                                                                                     3,480




Boiler LNB + SNCR.xls SNCR Hi(e)-Hi(c)                                                                                                                                  1 of 2
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                                                                                 BART ANALYSIS 2004
                                                                         SELECTIVE NON-CATALYTIC REDUCTION
                                         Capital Recovery Factors
                                         Primary Installation
                                         Interest Rate                      7.0%
                                         Equipment Life                        20 years
                                         CRF                              0.0944

                                         Catalyst Replacement Cost
                                         Catalyst Life                  2 years
                                         CRF                       0.5531
                                                                                     3
                                         Catalyst cost per unit              650 $/ft
                                         Amount Required                       0 ft3
                                         Catalyst Cost                         0 Cost adjusted for freight & sales tax
                                         Installation Labor                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                         Total Installed Cost                  0
                                         Annualized Cost                       0

                                         Replacement Parts & Equipment
                                         Equipment Life                 2
                                         CRF                       0.5531
                                         Rep part cost per unit     33.72 $ each
                                         Amount Required                0 Number
                                         Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                         Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                         Total Installed Cost           0
                                         Annualized Cost                0

                                         Total Cost Replacement Parts & Catalyst                             0

                                         Design Flow           264,000 dscfm             300,000 scfm
                                                                    450 Temp Deg F
                                                                   12% % Moisture
                                                               508,380 acfm

 Operating Cost Calculations                                                    Utilization Rate                       90.0%
                                                                                Annual hours of operation:              8,760
                                        Unit        Unit of              Use        Unit of      Annual             Annual    Comments
 Item                                  Cost $      Measure               Rate      Measure        Use*               Cost
 Op Labor                                  25.38 Hr                         0.5 hr/8 hr shift          548             13,896 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                   NA                                                       NA                 NA 15% of Operator Costs
 Maint Labor                                 17.8 Hr                        0.5 hr/8 hr shift          548              9,727 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                                   NA                                                       NA                 NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                               0.047 kW-hr                     600.8 kW-hr               4,736,872         222,254 $/kW-hr, 601 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                         4.24 Mft3                  0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                               0.22 Mgal                  8 gpm                    3,784             845 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                            0.27 Mscf              29.0 scfm               13,734,410           3,765 $/Mscf, 29.0 scfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Anhydrous Ammonia)                        405 Ton                 0.0 lb/hr                      0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, Ammonia
 Reagent #2 (Urea 50% Solution)                      0.10 Lb               362.9 lb/hr               2,861,335         294,983 $/Lb, 362.9 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity
 SW Disposal                                           25 Ton              0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                                           273 Ton              0.000 ton/2-yr period             0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                             1.5 Mgal                  0 gpm                        0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                           3
 Catalyst                                           650 ft                     0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                        33.72 $/bag                  0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                                 Emission Control Rate Calculation
 Uncontrolled Emission Rate
              Emission                      Unit of            Rate     % Max Control Eff.         Emis Rate
               Factor                       Measure            Hrs     Capacity   %                  T/yr     Comments/Notes
                                    0.27 lb/MMBtu                  650 MMBTU/HNA                          703
 Controlled Emission Rate
               Perf                        Unit of             Flow     Unit of Control Eff.       Emis Rate
             Guarantee                     Measure             Rate     Measure     %                T/yr     Comments/Notes
                                                                                   50%                351.69 Basis:8760 hr/yr, 90.0% of capacity
 Emission Reduction T/yr                                                                                  352

                                            Flow acfm      D P in H2O Blower Eff Motor Eff            kW
 Blower                                     508,380              5       0.55      0.9               600.8       OAQPS Cost Cont Manual 5th ed - Eq 3.37
 Blower                                        0                 5       0.55      0.9                0.0        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                            Flow gpm       D P ft H2O Pump Eff   Motor Eff
 Reagent Pump                                 0.64             50         0.8      0.9               0.01        OAQPS Cost Cont Manual 5th ed - Eq 9.49
 Total Electricity                                                                                   600.8

 Ammonia                                     160.6      lb/hr NOx     0.370 lb NH3/lb NOx                             62.9     lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
 Urea 50% Sol'n                              160.6      lb/hr NOx       2.260 lb Urea Sol'n/lb NOx                   362.9     lb/hr Urea Sol'n per vendor quote
 Comp Air                                         0.08 scfm per lb/hr Urea                                            29.0

 Density of 50% urea solution                          71 lb/ft3
                                                     9.49 lb/gal


Boiler LNB + SNCR.xls SNCR Hi(e)-Hi(c)                                                                                                                                                      2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                      1,021,979
                Instrumentation                                           10% of control device cost (A)                                                  102,198
                Sales Taxes                                              6.0% of control device cost (A)                                                   61,319
                Freight                                                    5% of control device cost (A)                                                   51,099
                  Auxiliary equipment (not included in CD cost)            0% of control device cost (A)                                                        0
                Purchased Equipment Total (B)                           21.0%                                                                           1,236,595
                Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                  98,928
                 Handling, erection                                       14% of purchased equip cost (B)                                                 173,123
                 Electrical                                                4% of purchased equip cost (B)                                                  49,464
                 Piping                                                    4% of purchased equip cost (B)                                                  49,464
                 Insulation                                                1% of purchased equip cost (B)                                                  12,366
                 Painting                                                  1% of purchased equip cost (B)                                                  12,366
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                       0
                 Site Preparation, as required                                Site Specific                                                              NA
                 Buildings, as required                                       Site Specific                                                              NA
               Installation Total                                         32%                                                                             395,710
             Total Direct Capital Cost                                                                                                                  1,632,306

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                123,660
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                 61,830
                 Construction fee                                         10% of purchased equip cost (B)                                                123,660
                 Startup                                                   2% of purchased equip cost (B)                                                 24,732

                 Tests                                                     1% of purchased equip cost (B)                                                  12,366
                 Contingencies                                             3% of purchased equip cost (B)                                                  37,098
            Total Indirect Capital Costs                                  31%                                                                             383,344
           Total Capital Investment (TCI)                                                                                                               2,015,650
                 Replacement Parts Cost & Installation Labor        1,377,791 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%          637,859
           Total Annualized Capital Costs                                                                                                                  60,209

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                 Supervisor                                               15% of oper labor costs                                                          1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                 Maintenance Materials                                   100% of maint labor costs                                                         8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity                       506,733
                       Natural Gas (Fuel)                                  NA                                                                                  -
                       Water                                               NA                                                                                  -
                       Compressed Air                                      NA                                                                                  -
                       Reagent #1(Anhydrous Ammonia)                    411.17 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia                                     84,683
                       Reagent #2 (Urea 50% Solution)                      NA                                                                                  -
                       Solid Waste Disposal                              25.38 $/Ton, 68.3 ton/yr                                                          1,733
                       Hazardous Waste Disposal                            NA                                                                                  -
                       Wastewater Treatment                                NA                                                                                  -
                     Catalyst                                           159.11 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity                       762,045
                     Replacement Parts                                     NA                                                                                   -
             Total Annual Direct Operating Costs                                                                                                        1,387,084

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                               19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                20,157
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                20,157
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                40,313
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            159,970

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                           1,547,054
           Pollutant Removed (tons/yr)                                                                                                                        492
           Cost per ton of NOx Removed                                                                                                                      3,142




Boiler SCR.xlsSCR Lo(e)-Lo(c)                                                                                                                                       1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 136.5              2         68.3
                                                    Amount Required                 7801.4 ft3
                                                    Catalyst Cost                1,377,791 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,377,791
                                                    Annualized Cost                762,045

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,377,791

                                                    Design Flow       264,000 dscfm                  300,000 scfm
                                                                           450 Temp Deg F
                                                                          12% % Moisture
                                                                      508,380 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1369.9 kW-hr              10,799,928           506,733 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 57.0 lb/hr                    411,914          84,683 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 68.3 ton/yr                        68           1,733 $/Ton, 68.3 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               7801.4 ft3                 2              762,045 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                          0.275 lb/MMBtu                  650 MMBTU/HR NA                           703
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  70%           211.01 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  492

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      508,380         11.4        0.55            0.9          1369.9        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.09           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1369.9

           Ammonia                                      144.5       lb/hr NOx     0.370      lb NH3/lb NOx                         57.0       lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                               160.6       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 224.0       lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       508,380
           Vol #2                                          7801.4 ft3




Boiler SCR.xlsSCR Lo(e)-Lo(c)                                                                                                                                                                       2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                       8,515,946
                Instrumentation                                           10% of control device cost (A)                                                   851,595
                Sales Taxes                                              6.0% of control device cost (A)                                                   510,957
                Freight                                                    5% of control device cost (A)                                                   425,797
                  Auxiliary equipment (not included in CD cost)            0% of control device cost (A)                                                         0
                Purchased Equipment Total (B)                           21.0%                                                                           10,304,294
                Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                  824,344
                 Handling, erection                                       14% of purchased equip cost (B)                                                1,442,601
                 Electrical                                                4% of purchased equip cost (B)                                                  412,172
                 Piping                                                    4% of purchased equip cost (B)                                                  412,172
                 Insulation                                                1% of purchased equip cost (B)                                                  103,043
                 Painting                                                  1% of purchased equip cost (B)                                                  103,043
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                        0
                 Site Preparation, as required                                Site Specific                                                               NA
                 Buildings, as required                                       Site Specific                                                               NA
               Installation Total                                         32%                                                                            3,297,374
             Total Direct Capital Cost                                                                                                                  13,601,669

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                1,030,429
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                  515,215
                 Construction fee                                         10% of purchased equip cost (B)                                                1,030,429
                 Startup                                                   2% of purchased equip cost (B)                                                  206,086

                 Tests                                                     1% of purchased equip cost (B)                                                  103,043
                 Contingencies                                             3% of purchased equip cost (B)                                                  309,129
            Total Indirect Capital Costs                                  31%                                                                            3,194,331
           Total Capital Investment (TCI)                                                                                                               16,796,000
                 Replacement Parts Cost & Installation Labor        1,377,791 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        15,418,209
           Total Annualized Capital Costs                                                                                                                1,455,370

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      12,506
                 Supervisor                                               15% of oper labor costs                                                           1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                       8,754
                 Maintenance Materials                                   100% of maint labor costs                                                          8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity                        506,733
                       Natural Gas (Fuel)                                  NA                                                                                   -
                       Water                                               NA                                                                                   -
                       Compressed Air                                      NA                                                                                   -
                       Reagent #1(Anhydrous Ammonia)                    411.17 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia                                      84,683
                       Reagent #2 (Urea 50% Solution)                      NA                                                                                   -
                       Solid Waste Disposal                              25.38 $/Ton, 68.3 ton/yr                                                           1,733
                       Hazardous Waste Disposal                            NA                                                                                   -
                       Wastewater Treatment                                NA                                                                                   -
                     Catalyst                                           159.11 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity                        762,045
                     Replacement Parts                                     NA                                                                                    -
             Total Annual Direct Operating Costs                                                                                                         1,387,084

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                 19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                 167,960
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                 167,960
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                 335,920
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            2,146,345

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            3,533,429
           Pollutant Removed (tons/yr)                                                                                                                         492
           Cost per ton of NOx Removed                                                                                                                       7,176




Boiler SCR.xlsSCR Lo(e)-Hi(c)                                                                                                                                        1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 136.5              2         68.3
                                                    Amount Required                 7801.4 ft3
                                                    Catalyst Cost                1,377,791 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,377,791
                                                    Annualized Cost                762,045

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,377,791

                                                    Design Flow       264,000 dscfm                  300,000 scfm
                                                                           450 Temp Deg F
                                                                          12% % Moisture
                                                                      508,380 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1369.9 kW-hr              10,799,928           506,733 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 57.0 lb/hr                    411,914          84,683 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 68.3 ton/yr                        68           1,733 $/Ton, 68.3 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               7801.4 ft3                 2              762,045 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                          0.275 lb/MMBtu                  650 MMBTU/HR NA                           703
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  70%           211.01 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  492

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      508,380         11.4        0.55            0.9          1369.9        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.09           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1369.9

           Ammonia                                      144.5       lb/hr NOx     0.370      lb NH3/lb NOx                         57.0       lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                               160.6       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 224.0       lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       508,380
           Vol #2                                          7801.4 ft3




Boiler SCR.xlsSCR Lo(e)-Hi(c)                                                                                                                                                                       2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                       8,515,946
                Instrumentation                                           10% of control device cost (A)                                                   851,595
                Sales Taxes                                              6.0% of control device cost (A)                                                   510,957
                Freight                                                    5% of control device cost (A)                                                   425,797
                  Auxiliary equipment (not included in CD cost)            0% of control device cost (A)                                                         0
                Purchased Equipment Total (B)                           21.0%                                                                           10,304,294
                Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                  824,344
                 Handling, erection                                       14% of purchased equip cost (B)                                                1,442,601
                 Electrical                                                4% of purchased equip cost (B)                                                  412,172
                 Piping                                                    4% of purchased equip cost (B)                                                  412,172
                 Insulation                                                1% of purchased equip cost (B)                                                  103,043
                 Painting                                                  1% of purchased equip cost (B)                                                  103,043
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                        0
                 Site Preparation, as required                                Site Specific                                                               NA
                 Buildings, as required                                       Site Specific                                                               NA
               Installation Total                                         32%                                                                            3,297,374
             Total Direct Capital Cost                                                                                                                  13,601,669

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                1,030,429
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                  515,215
                 Construction fee                                         10% of purchased equip cost (B)                                                1,030,429
                 Startup                                                   2% of purchased equip cost (B)                                                  206,086

                 Tests                                                     1% of purchased equip cost (B)                                                  103,043
                 Contingencies                                             3% of purchased equip cost (B)                                                  309,129
            Total Indirect Capital Costs                                  31%                                                                            3,194,331
           Total Capital Investment (TCI)                                                                                                               16,796,000
                 Replacement Parts Cost & Installation Labor        1,377,791 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        15,418,209
           Total Annualized Capital Costs                                                                                                                1,455,370

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      12,506
                 Supervisor                                               15% of oper labor costs                                                           1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                       8,754
                 Maintenance Materials                                   100% of maint labor costs                                                          8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity                        506,733
                       Natural Gas (Fuel)                                  NA                                                                                   -
                       Water                                               NA                                                                                   -
                       Compressed Air                                      NA                                                                                   -
                       Reagent #1(Anhydrous Ammonia)                    411.17 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia                                      84,683
                       Reagent #2 (Urea 50% Solution)                      NA                                                                                   -
                       Solid Waste Disposal                              25.38 $/Ton, 68.3 ton/yr                                                           1,733
                       Hazardous Waste Disposal                            NA                                                                                   -
                       Wastewater Treatment                                NA                                                                                   -
                     Catalyst                                           159.11 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity                        762,045
                     Replacement Parts                                     NA                                                                                    -
             Total Annual Direct Operating Costs                                                                                                         1,387,084

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                 19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                 167,960
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                 167,960
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                 335,920
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            2,146,345

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            3,533,429
           Pollutant Removed (tons/yr)                                                                                                                         492
           Cost per ton of NOx Removed                                                                                                                       7,176




Boiler SCR.xlsSCR Lo(e)-Hi(c)                                                                                                                                        1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 136.5              2         68.3
                                                    Amount Required                 7801.4 ft3
                                                    Catalyst Cost                1,377,791 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,377,791
                                                    Annualized Cost                762,045

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,377,791

                                                    Design Flow       264,000 dscfm                  300,000 scfm
                                                                           450 Temp Deg F
                                                                          12% % Moisture
                                                                      508,380 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1369.9 kW-hr              10,799,928           506,733 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 57.0 lb/hr                    411,914          84,683 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 68.3 ton/yr                        68           1,733 $/Ton, 68.3 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               7801.4 ft3                 2              762,045 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                          0.275 lb/MMBtu                  650 MMBTU/HR NA                           703
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  70%           211.01 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  492

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      508,380         11.4        0.55            0.9          1369.9        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.09           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1369.9

           Ammonia                                      144.5       lb/hr NOx     0.370      lb NH3/lb NOx                         57.0       lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                               160.6       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 224.0       lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       508,380
           Vol #2                                          7801.4 ft3




Boiler SCR.xlsSCR Lo(e)-Hi(c)                                                                                                                                                                       2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                       8,515,946
                Instrumentation                                           10% of control device cost (A)                                                   851,595
                Sales Taxes                                              6.0% of control device cost (A)                                                   510,957
                Freight                                                    5% of control device cost (A)                                                   425,797
                  Auxiliary equipment (not included in CD cost)            0% of control device cost (A)                                                         0
                Purchased Equipment Total (B)                           21.0%                                                                           10,304,294
                Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                  824,344
                 Handling, erection                                       14% of purchased equip cost (B)                                                1,442,601
                 Electrical                                                4% of purchased equip cost (B)                                                  412,172
                 Piping                                                    4% of purchased equip cost (B)                                                  412,172
                 Insulation                                                1% of purchased equip cost (B)                                                  103,043
                 Painting                                                  1% of purchased equip cost (B)                                                  103,043
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                        0
                 Site Preparation, as required                                Site Specific                                                               NA
                 Buildings, as required                                       Site Specific                                                               NA
               Installation Total                                         32%                                                                            3,297,374
             Total Direct Capital Cost                                                                                                                  13,601,669

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                1,030,429
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                  515,215
                 Construction fee                                         10% of purchased equip cost (B)                                                1,030,429
                 Startup                                                   2% of purchased equip cost (B)                                                  206,086

                 Tests                                                     1% of purchased equip cost (B)                                                  103,043
                 Contingencies                                             3% of purchased equip cost (B)                                                  309,129
            Total Indirect Capital Costs                                  31%                                                                            3,194,331
           Total Capital Investment (TCI)                                                                                                               16,796,000
                 Replacement Parts Cost & Installation Labor        1,377,791 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        15,418,209
           Total Annualized Capital Costs                                                                                                                1,455,370

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      12,506
                 Supervisor                                               15% of oper labor costs                                                           1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                       8,754
                 Maintenance Materials                                   100% of maint labor costs                                                          8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity                        506,733
                       Natural Gas (Fuel)                                  NA                                                                                   -
                       Water                                               NA                                                                                   -
                       Compressed Air                                      NA                                                                                   -
                       Reagent #1(Anhydrous Ammonia)                    411.17 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia                                      84,683
                       Reagent #2 (Urea 50% Solution)                      NA                                                                                   -
                       Solid Waste Disposal                              25.38 $/Ton, 68.3 ton/yr                                                           1,733
                       Hazardous Waste Disposal                            NA                                                                                   -
                       Wastewater Treatment                                NA                                                                                   -
                     Catalyst                                           159.11 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity                        762,045
                     Replacement Parts                                     NA                                                                                    -
             Total Annual Direct Operating Costs                                                                                                         1,387,084

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                 19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                 167,960
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                 167,960
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                 335,920
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            2,146,345

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            3,533,429
           Pollutant Removed (tons/yr)                                                                                                                         633
           Cost per ton of NOx Removed                                                                                                                       5,582




Boiler SCR.xlsSCR Hi(e)-Hi(c)                                                                                                                                        1 of 2
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                                                                                        BART ANALYSIS 2004
                                                                                  SELECTIVE CATALYTIC REDUCTION
                                                     Capital Recovery Factors
                                                     Primary Installation
                                                     Interest Rate                     7.0%
                                                     Equipment Life                       20 years
                                                     CRF                             0.0944

                                                     Catalyst Replacement Cost
                                                     Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                     CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                     Catalyst cost per unit          159.11 $/ft3                 136.5              2         68.3
                                                     Amount Required                 7801.4 ft3
                                                     Catalyst Cost                1,377,791 Cost adjusted for freight & sales tax
                                                     Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                     Total Installed Cost         1,377,791
                                                     Annualized Cost                762,045

                                                     Replacement Parts & Equipment
                                                     Equipment Life                 2
                                                     CRF                       0.5531
                                                     Rep part cost per unit     33.72 $ each
                                                     Amount Required                0 Number
                                                     Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                     Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                     Total Installed Cost           0
                                                     Annualized Cost                0

                                                     Total Cost Replacement Parts & Catalyst                    1,377,791

                                                     Design Flow       264,000 dscfm                  300,000 scfm
                                                                            450 Temp Deg F
                                                                           12% % Moisture
                                                                       508,380 acfm

            Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                              Annual hours of operation:               8,760
                                                   Unit      Unit of               Use             Unit of       Annual           Annual    Comments
            Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
            Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
            Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
            Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
            Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
            Utilities, Reagents, Waste Management & Replacements
            Electricity                               0.047 kW-hr                    1369.9 kW-hr              10,799,928           506,733 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity
            Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
            Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
            Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
            Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 57.0 lb/hr                    411,914          84,683 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia
            Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
            SW Disposal                                      25.38 Ton                 68.3 ton/yr                        68           1,733 $/Ton, 68.3 ton/yr
            Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
            WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
            Catalyst                                        159.11 ft3               7801.4 ft3                 2              762,045 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity
            Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                           *annual use rate is in same units of measurement as the unit cost factor
                                                                                      Emission Control Rate Calculation
            Uncontrolled Emission Rate
                        Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                          Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                           0.275 lb/MMBtu                  650 MMBTU/HR NA                           703
            Controlled Emission Rate
                          Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                        Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                   90%            70.34 Basis:8760 hr/yr, 90.0% of capacity
            Emission Reduction T/yr                                                                                  633

                                                       Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
            Blower                                      508,380         11.4        0.55            0.9          1369.9        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                        Flow gpm      D P ft H2O Pump Eff         Motor Eff
            Reagent Pump                                  0.09           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

            Total Electricity                                                                                    1369.9

            Ammonia                                      144.5       lb/hr NOx     0.370      lb NH3/lb NOx                         57.0       lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
            Urea 50% Sol'n                               160.6       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 224.0       lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
            Estimating amount of catalyst required
            Vol. #1                                           5513 ft3
            Flow #1                                        359256 acfm
            Flow #2                                       508,380
            Vol #2                                          7801.4 ft3




Boiler SCR.xlsSCR Hi(e)-Hi(c)                                                                                                                                                                        2 of 2
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                                                                   BART ANALYSIS 2004
                                                                 ULTRA LOW NOX BURNER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Control Device (A)                                                                                                                      809,204
     Instrumentation                                           10% of control device cost (A)                                                 80,920
     Sales Taxes                                               6.0% of control device cost (A)                                                48,552
     Freight                                                     5% of control device cost (A)                                                40,460
     Auxiliary equipment (not included in CD cost)                 - of control device cost (A)
   Purchased Equipment Total (B)                               21%                                                                           979,136
      Installation
        Foundations & supports                                   4% of purchased equip cost (B)                                               39,165
        Handling, erection                                      50% of purchased equip cost (B)                                              489,568
        Electrical                                               8% of purchased equip cost (B)                                               78,331
        Piping                                                   1% of purchased equip cost (B)                                                9,791
        Insulation                                               7% of purchased equip cost (B)                                               68,540
        Painting                                                 4% of purchased equip cost (B)                                               39,165
        Expenses not covered by items listed above               0% of purchased equip cost (B)                                                    0
        Site Preparation, as required                               Site Specific                                                          NA
        Buildings, as required                                      Site Specific                                                          NA
      Installation Total                                        74%                                                                          724,561
    Total Direct Capital Cost                                                                                                              1,703,697

    Indirect Capital Costs
        Engineering, supervision                                10% of purchased equip cost (B)                                               97,914
        Construction, field exp.                                20% of purchased equip cost (B)                                              195,827
        Construction fee                                        10% of purchased equip cost (B)                                               97,914
        Startup                                                  1% of purchased equip cost (B)                                                9,791

      Tests                                                      1% of purchased equip cost (B)                                                 9,791
      Contingencies                                              3% of purchased equip cost (B)                                                29,374
 Total Indirect Capital Costs                                   45%                                                                           440,611
Total Capital Investment (TCI)                                                                                                              2,144,309
      Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%     2,144,309
Total Annualized Capital Costs                                                                                                                202,408

OPERATING COSTS
    Direct Operating Costs
        Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   50,025
        Supervisor                                              15% of oper labor costs                                                        7,504
        Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   17,509
        Maintenance Materials                                  100% of maint labor costs                                                      17,509
        Utilities, Reagents, Waste Management & Replacements
             Electricity                                         NA                                                                                -
              Natural Gas (Fuel)                                 NA                                                                                -
             Water                                               NA                                                                                -
             Compressed Air                                     0.25 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity                       12,006
             Reagent #1(Caustic)                                 NA                                                                                -
             Reagent #2                                          NA                                                                                -
             Solid Waste Disposal                                NA                                                                                -
             Hazardous Waste Disposal                            NA                                                                                -
             Wastewater Treatment                                NA                                                                                -
             Catalyst                                            NA                                                                                -
            Replacement Parts                                    NA                                                                                -
    Total Annual Direct Operating Costs                                                                                                      104,553

    Indirect Operating Costs
        Overhead                                                60% of oper, maint & supv labor + maint mtl costs                             55,528
        Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                              21,443
        Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                              21,443
        Administration (2% total capital costs)                  2% of total capital costs (TCI)                                              42,886
    Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                          343,708

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 448,261
Pollutant Removed (tons/yr)                                                                                                                    527.5
Cost per ton of NOx Removed                                                                                                                      850

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Boiler ULNB.xlsULNB Lo(e)                                                                                                                          1 of 2
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                                                                          BART ANALYSIS 2004
                                                                        ULTRA LOW NOX BURNER
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                      7.0%
                            Equipment Life                        20 years
                            CRF                              0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                  2 years
                            CRF                       0.5531
                            Catalyst cost per unit              650 $/ft3
                            Amount Required                        0 ft3
                            Catalyst Cost                          0 Cost adjusted for freight & sales tax
                            Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                   0
                            Annualized Cost                        0

                            Replacement Parts & Equipment
                            Equipment Life                 2 years
                            CRF                       0.5531
                            Rep part cost per unit     33.72 $ each
                            Amount Required                0 Number
                            Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                            Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost           0
                            Annualized Cost                0

                            Total Cost Replacement Parts & Catalyst                              0

                            Design Flow        264,000 dscfm                300,000 scfm
                                                    450 Temp Deg F
                                                   12% % Moisture
                                               508,380 acfm


 Operating Cost Calculations                             Annual hours of operation: 8,760
                                                         Utilization rate:           90%
                             Unit       Unit of  Use         Unit of       Annual      Annual     Comments
 Item                       Cost $     Measure   Rate      Measure          Use*         Cost
 Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                        NA                                            NA           NA 15% of Operator Costs
 Maint Labor                    17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                        NA                                            NA           NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                    0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                            4.24 Mft3                  0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                    0.2 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                               0.25 Mscf                100 Mscfm                  47,304         12,006 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                     300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
 Reagent #2                              300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
 SW Disposal                                0 Ton              0.857 ton/hr                  7,509              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                              273 Ton               0.000 ton/hr                      0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                 1.5 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                               3                       3
 Catalyst                                650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                             33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                 *annual use rate is in same units of measurement as the unit cost factor
                                                                      Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission           Unit of               Flow    Unit of Control Eff.         Emis Rate
        Factor            Measure               Rate   Measure      %                  T/yr     Comments/Notes
                  0.27 lb/MMBtu                    650 MMBtu/hr    NA                       703
 Controlled Emission Rate
          Perf            Unit of               Flow       Unit of Control Eff.      Emis Rate
      Guarantee           Measure               Rate       Measure     %               T/yr     Comments/Notes
                                                                      75%               175.84
 Emission Reduction T/yr                                                                 527.53


                               Flow acfm      D P in H2O   Blower Eff Motor Eff            kW
 Blower                            0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37


Boiler ULNB.xlsULNB Lo(e)                                                                                                                                                2 of 2
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                                                                   BART ANALYSIS 2004
                                                                 ULTRA LOW NOX BURNER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Control Device (A)                                                                                                                      809,204
     Instrumentation                                           10% of control device cost (A)                                                 80,920
     Sales Taxes                                               6.0% of control device cost (A)                                                48,552
     Freight                                                     5% of control device cost (A)                                                40,460
     Auxiliary equipment (not included in CD cost)                 - of control device cost (A)
   Purchased Equipment Total (B)                               21%                                                                           979,136
      Installation
        Foundations & supports                                   4% of purchased equip cost (B)                                               39,165
        Handling, erection                                      50% of purchased equip cost (B)                                              489,568
        Electrical                                               8% of purchased equip cost (B)                                               78,331
        Piping                                                   1% of purchased equip cost (B)                                                9,791
        Insulation                                               7% of purchased equip cost (B)                                               68,540
        Painting                                                 4% of purchased equip cost (B)                                               39,165
        Expenses not covered by items listed above               0% of purchased equip cost (B)                                                    0
        Site Preparation, as required                               Site Specific                                                          NA
        Buildings, as required                                      Site Specific                                                          NA
      Installation Total                                        74%                                                                          724,561
    Total Direct Capital Cost                                                                                                              1,703,697

    Indirect Capital Costs
        Engineering, supervision                                10% of purchased equip cost (B)                                               97,914
        Construction, field exp.                                20% of purchased equip cost (B)                                              195,827
        Construction fee                                        10% of purchased equip cost (B)                                               97,914
        Startup                                                  1% of purchased equip cost (B)                                                9,791

      Tests                                                      1% of purchased equip cost (B)                                                 9,791
      Contingencies                                              3% of purchased equip cost (B)                                                29,374
 Total Indirect Capital Costs                                   45%                                                                           440,611
Total Capital Investment (TCI)                                                                                                              2,144,309
      Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%     2,144,309
Total Annualized Capital Costs                                                                                                                202,408

OPERATING COSTS
    Direct Operating Costs
        Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   50,025
        Supervisor                                              15% of oper labor costs                                                        7,504
        Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   17,509
        Maintenance Materials                                  100% of maint labor costs                                                      17,509
        Utilities, Reagents, Waste Management & Replacements
             Electricity                                         NA                                                                                -
              Natural Gas (Fuel)                                 NA                                                                                -
             Water                                               NA                                                                                -
             Compressed Air                                     0.25 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity                       12,006
             Reagent #1(Caustic)                                 NA                                                                                -
             Reagent #2                                          NA                                                                                -
             Solid Waste Disposal                                NA                                                                                -
             Hazardous Waste Disposal                            NA                                                                                -
             Wastewater Treatment                                NA                                                                                -
             Catalyst                                            NA                                                                                -
            Replacement Parts                                    NA                                                                                -
    Total Annual Direct Operating Costs                                                                                                      104,553

    Indirect Operating Costs
        Overhead                                                60% of oper, maint & supv labor + maint mtl costs                             55,528
        Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                              21,443
        Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                              21,443
        Administration (2% total capital costs)                  2% of total capital costs (TCI)                                              42,886
    Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                          343,708

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 448,261
Pollutant Removed (tons/yr)                                                                                                                    597.9
Cost per ton of NOx Removed                                                                                                                      750

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Boiler ULNB.xlsULNB Hi(e)                                                                                                                          1 of 2
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                                                                          BART ANALYSIS 2004
                                                                        ULTRA LOW NOX BURNER
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                      7.0%
                            Equipment Life                        20 years
                            CRF                              0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                  2 years
                            CRF                       0.5531
                            Catalyst cost per unit              650 $/ft3
                            Amount Required                        0 ft3
                            Catalyst Cost                          0 Cost adjusted for freight & sales tax
                            Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                   0
                            Annualized Cost                        0

                            Replacement Parts & Equipment
                            Equipment Life                 2 years
                            CRF                       0.5531
                            Rep part cost per unit     33.72 $ each
                            Amount Required                0 Number
                            Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                            Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost           0
                            Annualized Cost                0

                            Total Cost Replacement Parts & Catalyst                              0

                            Design Flow        264,000 dscfm                300,000 scfm
                                                    450 Temp Deg F
                                                   12% % Moisture
                                               508,380 acfm


 Operating Cost Calculations                             Annual hours of operation: 8,760
                                                         Utilization rate:           90%
                             Unit       Unit of  Use         Unit of       Annual      Annual     Comments
 Item                       Cost $     Measure   Rate      Measure          Use*         Cost
 Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                        NA                                            NA           NA 15% of Operator Costs
 Maint Labor                    17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                        NA                                            NA           NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                    0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                            4.24 Mft3                  0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                    0.2 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                               0.25 Mscf                100 Mscfm                  47,304         12,006 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                     300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
 Reagent #2                              300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
 SW Disposal                                0 Ton              0.857 ton/hr                  7,509              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                              273 Ton               0.000 ton/hr                      0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                 1.5 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                               3                       3
 Catalyst                                650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                             33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                 *annual use rate is in same units of measurement as the unit cost factor
                                                                      Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission           Unit of               Flow    Unit of Control Eff.         Emis Rate
        Factor            Measure               Rate   Measure      %                  T/yr     Comments/Notes
                  0.27 lb/MMBtu                    650 MMBtu/hr    NA                       703
 Controlled Emission Rate
          Perf            Unit of               Flow       Unit of Control Eff.      Emis Rate
      Guarantee           Measure               Rate       Measure     %               T/yr     Comments/Notes
                                                                      85%               105.51
 Emission Reduction T/yr                                                                 597.87


                               Flow acfm      D P in H2O   Blower Eff Motor Eff            kW
 Blower                            0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37


Boiler ULNB.xlsULNB Hi(e)                                                                                                                                                2 of 2
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                                                                   BART ANALYSIS 2004
                                                                 ULTRA LOW NOX BURNER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Control Device (A)                                                                                                                      809,204
     Instrumentation                                           10% of control device cost (A)                                                 80,920
     Sales Taxes                                               6.0% of control device cost (A)                                                48,552
     Freight                                                     5% of control device cost (A)                                                40,460
     Auxiliary equipment (not included in CD cost)                 - of control device cost (A)
   Purchased Equipment Total (B)                               21%                                                                           979,136
      Installation
        Foundations & supports                                   4% of purchased equip cost (B)                                               39,165
        Handling, erection                                      50% of purchased equip cost (B)                                              489,568
        Electrical                                               8% of purchased equip cost (B)                                               78,331
        Piping                                                   1% of purchased equip cost (B)                                                9,791
        Insulation                                               7% of purchased equip cost (B)                                               68,540
        Painting                                                 4% of purchased equip cost (B)                                               39,165
        Expenses not covered by items listed above               0% of purchased equip cost (B)                                                    0
        Site Preparation, as required                               Site Specific                                                          NA
        Buildings, as required                                      Site Specific                                                          NA
      Installation Total                                        74%                                                                          724,561
    Total Direct Capital Cost                                                                                                              1,703,697

    Indirect Capital Costs
        Engineering, supervision                                10% of purchased equip cost (B)                                               97,914
        Construction, field exp.                                20% of purchased equip cost (B)                                              195,827
        Construction fee                                        10% of purchased equip cost (B)                                               97,914
        Startup                                                  1% of purchased equip cost (B)                                                9,791

      Tests                                                      1% of purchased equip cost (B)                                                 9,791
      Contingencies                                              3% of purchased equip cost (B)                                                29,374
 Total Indirect Capital Costs                                   45%                                                                           440,611
Total Capital Investment (TCI)                                                                                                              2,144,309
      Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%     2,144,309
Total Annualized Capital Costs                                                                                                                202,408

OPERATING COSTS
    Direct Operating Costs
        Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   50,025
        Supervisor                                              15% of oper labor costs                                                        7,504
        Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   17,509
        Maintenance Materials                                  100% of maint labor costs                                                      17,509
        Utilities, Reagents, Waste Management & Replacements
             Electricity                                         NA                                                                                -
              Natural Gas (Fuel)                                 NA                                                                                -
             Water                                               NA                                                                                -
             Compressed Air                                     0.25 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity                       12,006
             Reagent #1(Caustic)                                 NA                                                                                -
             Reagent #2                                          NA                                                                                -
             Solid Waste Disposal                                NA                                                                                -
             Hazardous Waste Disposal                            NA                                                                                -
             Wastewater Treatment                                NA                                                                                -
             Catalyst                                            NA                                                                                -
            Replacement Parts                                    NA                                                                                -
    Total Annual Direct Operating Costs                                                                                                      104,553

    Indirect Operating Costs
        Overhead                                                60% of oper, maint & supv labor + maint mtl costs                             55,528
        Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                              21,443
        Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                              21,443
        Administration (2% total capital costs)                  2% of total capital costs (TCI)                                              42,886
    Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                          343,708

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 448,261
Pollutant Removed (tons/yr)                                                                                                                    527.5
Cost per ton of NOx Removed                                                                                                                      850

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Boiler ULNB+SCR unlb low.xlsULNB Lo(e)                                                                                                             1 of 2
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                                                                        BART ANALYSIS 2004
                                                                      ULTRA LOW NOX BURNER
                          Capital Recovery Factors
                          Primary Installation
                          Interest Rate                      7.0%
                          Equipment Life                        20 years
                          CRF                              0.0944

                          Catalyst Replacement Cost
                          Catalyst Life                  2 years
                          CRF                       0.5531
                          Catalyst cost per unit              650 $/ft3
                          Amount Required                        0 ft3
                          Catalyst Cost                          0 Cost adjusted for freight & sales tax
                          Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                          Total Installed Cost                   0
                          Annualized Cost                        0

                          Replacement Parts & Equipment
                          Equipment Life                 2 years
                          CRF                       0.5531
                          Rep part cost per unit     33.72 $ each
                          Amount Required                0 Number
                          Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                          Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                          Total Installed Cost           0
                          Annualized Cost                0

                          Total Cost Replacement Parts & Catalyst                              0

                          Design Flow        264,000 dscfm                300,000 scfm
                                                  450 Temp Deg F
                                                 12% % Moisture
                                             508,380 acfm


 Operating Cost Calculations                             Annual hours of operation: 8,760
                                                         Utilization rate:           90%
                             Unit       Unit of  Use         Unit of       Annual      Annual     Comments
 Item                       Cost $     Measure   Rate      Measure          Use*         Cost
 Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                        NA                                            NA           NA 15% of Operator Costs
 Maint Labor                    17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                        NA                                            NA           NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                    0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                          4.24 Mft3                  0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                  0.2 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                             0.25 Mscf                100 Mscfm                  47,304         12,006 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                   300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
 Reagent #2                            300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
 SW Disposal                              0 Ton              0.857 ton/hr                  7,509              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                            273 Ton               0.000 ton/hr                      0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                               1.5 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3                       3
 Catalyst                              650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                           33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                    Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission           Unit of             Flow    Unit of Control Eff.         Emis Rate
        Factor            Measure             Rate   Measure      %                  T/yr     Comments/Notes
                  0.27 lb/MMBtu                  650 MMBtu/hr    NA                       703
 Controlled Emission Rate
          Perf            Unit of             Flow       Unit of Control Eff.      Emis Rate
      Guarantee           Measure             Rate       Measure     %               T/yr     Comments/Notes
                                                                    75%               175.84
 Emission Reduction T/yr                                                               527.53


                             Flow acfm      D P in H2O   Blower Eff Motor Eff            kW
 Blower                          0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37


Boiler ULNB+SCR unlb low.xlsULNB Lo(e)                                                                                                                                 2 of 2
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                                                                   BART ANALYSIS 2004
                                                                 ULTRA LOW NOX BURNER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Control Device (A)                                                                                                                      809,204
     Instrumentation                                           10% of control device cost (A)                                                 80,920
     Sales Taxes                                               6.0% of control device cost (A)                                                48,552
     Freight                                                     5% of control device cost (A)                                                40,460
     Auxiliary equipment (not included in CD cost)                 - of control device cost (A)
   Purchased Equipment Total (B)                               21%                                                                           979,136
      Installation
        Foundations & supports                                   4% of purchased equip cost (B)                                               39,165
        Handling, erection                                      50% of purchased equip cost (B)                                              489,568
        Electrical                                               8% of purchased equip cost (B)                                               78,331
        Piping                                                   1% of purchased equip cost (B)                                                9,791
        Insulation                                               7% of purchased equip cost (B)                                               68,540
        Painting                                                 4% of purchased equip cost (B)                                               39,165
        Expenses not covered by items listed above               0% of purchased equip cost (B)                                                    0
        Site Preparation, as required                               Site Specific                                                          NA
        Buildings, as required                                      Site Specific                                                          NA
      Installation Total                                        74%                                                                          724,561
    Total Direct Capital Cost                                                                                                              1,703,697

    Indirect Capital Costs
        Engineering, supervision                                10% of purchased equip cost (B)                                               97,914
        Construction, field exp.                                20% of purchased equip cost (B)                                              195,827
        Construction fee                                        10% of purchased equip cost (B)                                               97,914
        Startup                                                  1% of purchased equip cost (B)                                                9,791

      Tests                                                      1% of purchased equip cost (B)                                                 9,791
      Contingencies                                              3% of purchased equip cost (B)                                                29,374
 Total Indirect Capital Costs                                   45%                                                                           440,611
Total Capital Investment (TCI)                                                                                                              2,144,309
      Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%     2,144,309
Total Annualized Capital Costs                                                                                                                202,408

OPERATING COSTS
    Direct Operating Costs
        Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   50,025
        Supervisor                                              15% of oper labor costs                                                        7,504
        Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   17,509
        Maintenance Materials                                  100% of maint labor costs                                                      17,509
        Utilities, Reagents, Waste Management & Replacements
             Electricity                                         NA                                                                                -
              Natural Gas (Fuel)                                 NA                                                                                -
             Water                                               NA                                                                                -
             Compressed Air                                     0.25 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity                       12,006
             Reagent #1(Caustic)                                 NA                                                                                -
             Reagent #2                                          NA                                                                                -
             Solid Waste Disposal                                NA                                                                                -
             Hazardous Waste Disposal                            NA                                                                                -
             Wastewater Treatment                                NA                                                                                -
             Catalyst                                            NA                                                                                -
            Replacement Parts                                    NA                                                                                -
    Total Annual Direct Operating Costs                                                                                                      104,553

    Indirect Operating Costs
        Overhead                                                60% of oper, maint & supv labor + maint mtl costs                             55,528
        Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                              21,443
        Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                              21,443
        Administration (2% total capital costs)                  2% of total capital costs (TCI)                                              42,886
    Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                          343,708

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 448,261
Pollutant Removed (tons/yr)                                                                                                                    597.9
Cost per ton of NOx Removed                                                                                                                      750

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Boiler ULNB+SCR unlb low.xlsULNB Hi(e)                                                                                                             1 of 2
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                                                                        BART ANALYSIS 2004
                                                                      ULTRA LOW NOX BURNER
                          Capital Recovery Factors
                          Primary Installation
                          Interest Rate                      7.0%
                          Equipment Life                        20 years
                          CRF                              0.0944

                          Catalyst Replacement Cost
                          Catalyst Life                  2 years
                          CRF                       0.5531
                          Catalyst cost per unit              650 $/ft3
                          Amount Required                        0 ft3
                          Catalyst Cost                          0 Cost adjusted for freight & sales tax
                          Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                          Total Installed Cost                   0
                          Annualized Cost                        0

                          Replacement Parts & Equipment
                          Equipment Life                 2 years
                          CRF                       0.5531
                          Rep part cost per unit     33.72 $ each
                          Amount Required                0 Number
                          Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                          Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                          Total Installed Cost           0
                          Annualized Cost                0

                          Total Cost Replacement Parts & Catalyst                              0

                          Design Flow        264,000 dscfm                300,000 scfm
                                                  450 Temp Deg F
                                                 12% % Moisture
                                             508,380 acfm


 Operating Cost Calculations                             Annual hours of operation: 8,760
                                                         Utilization rate:           90%
                             Unit       Unit of  Use         Unit of       Annual      Annual     Comments
 Item                       Cost $     Measure   Rate      Measure          Use*         Cost
 Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                        NA                                            NA           NA 15% of Operator Costs
 Maint Labor                    17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                        NA                                            NA           NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                    0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                          4.24 Mft3                  0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                  0.2 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                             0.25 Mscf                100 Mscfm                  47,304         12,006 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                   300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
 Reagent #2                            300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
 SW Disposal                              0 Ton              0.857 ton/hr                  7,509              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                            273 Ton               0.000 ton/hr                      0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                               1.5 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3                       3
 Catalyst                              650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                           33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                    Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission           Unit of             Flow    Unit of Control Eff.         Emis Rate
        Factor            Measure             Rate   Measure      %                  T/yr     Comments/Notes
                  0.27 lb/MMBtu                  650 MMBtu/hr    NA                       703
 Controlled Emission Rate
          Perf            Unit of             Flow       Unit of Control Eff.      Emis Rate
      Guarantee           Measure             Rate       Measure     %               T/yr     Comments/Notes
                                                                    85%               105.51
 Emission Reduction T/yr                                                               597.87


                             Flow acfm      D P in H2O   Blower Eff Motor Eff            kW
 Blower                          0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37


Boiler ULNB+SCR unlb low.xlsULNB Hi(e)                                                                                                                                 2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                      1,021,979
                Instrumentation                                           10% of control device cost (A)                                                  102,198
                Sales Taxes                                              6.0% of control device cost (A)                                                   61,319
                Freight                                                    5% of control device cost (A)                                                   51,099
                 Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                        0
               Purchased Equipment Total (B)                            21.0%                                                                           1,236,595
               Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                  98,928
                 Handling, erection                                       14% of purchased equip cost (B)                                                 173,123
                 Electrical                                                4% of purchased equip cost (B)                                                  49,464
                 Piping                                                    4% of purchased equip cost (B)                                                  49,464
                 Insulation                                                1% of purchased equip cost (B)                                                  12,366
                 Painting                                                  1% of purchased equip cost (B)                                                  12,366
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                       0
                 Site Preparation, as required                                Site Specific                                                              NA
                 Buildings, as required                                       Site Specific                                                              NA
               Installation Total                                         32%                                                                             395,710
             Total Direct Capital Cost                                                                                                                  1,632,306

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                123,660
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                 61,830
                 Construction fee                                         10% of purchased equip cost (B)                                                123,660
                 Startup                                                   2% of purchased equip cost (B)                                                 24,732

                 Tests                                                     1% of purchased equip cost (B)                                                  12,366
                 Contingencies                                             3% of purchased equip cost (B)                                                  37,098
            Total Indirect Capital Costs                                  31%                                                                             383,344
           Total Capital Investment (TCI)                                                                                                               2,015,650
                 Replacement Parts Cost & Installation Labor        1,377,791 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%          637,859
           Total Annualized Capital Costs                                                                                                                  60,209

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                 Supervisor                                               15% of oper labor costs                                                          1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                 Maintenance Materials                                   100% of maint labor costs                                                         8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity                       506,733
                      Natural Gas (Fuel)                                   NA                                                                                  -
                      Water                                                NA                                                                                  -
                      Compressed Air                                       NA                                                                                  -
                      Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia                                     84,683
                      Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                      Solid Waste Disposal                               25.38 $/Ton, 68.3 ton/yr                                                          1,733
                      Hazardous Waste Disposal                             NA                                                                                  -
                      Wastewater Treatment                                 NA                                                                                  -
                     Catalyst                                           159.11 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity                       762,045
                     Replacement Parts                                     NA                                                                                   -
             Total Annual Direct Operating Costs                                                                                                        1,387,084

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                               19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                20,157
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                20,157
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                40,313
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            159,970

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                           1,547,054
           Pollutant Removed (tons/yr)                                                                                                                        492
           Cost per ton of NOx Removed                                                                                                                      3,142




Boiler ULNB+SCR unlb low.xlsSCR Lo(e)-Lo(c)                                                                                                                         1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 136.5              2         68.3
                                                    Amount Required                 7801.4 ft3
                                                    Catalyst Cost                1,377,791 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,377,791
                                                    Annualized Cost                762,045

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,377,791

                                                    Design Flow       264,000 dscfm                  300,000 scfm
                                                                           450 Temp Deg F
                                                                          12% % Moisture
                                                                      508,380 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1369.9 kW-hr              10,799,928           506,733 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 57.0 lb/hr                    411,914          84,683 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 68.3 ton/yr                        68           1,733 $/Ton, 68.3 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               7801.4 ft3                 2              762,045 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                              0.275 lb/MMBtu              650 MMBTU/HR NA                           703
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  70%           211.01 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  492

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      508,380         11.4        0.55            0.9          1369.9        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.09           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1369.9

           Ammonia                                      144.5       lb/hr NOx     0.370      lb NH3/lb NOx                         57.0       lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                               160.6       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 224.0       lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       508,380
           Vol #2                                          7801.4 ft3




Boiler ULNB+SCR unlb low.xlsSCR Lo(e)-Lo(c)                                                                                                                                                         2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                       8,515,946
                Instrumentation                                           10% of control device cost (A)                                                   851,595
                Sales Taxes                                              6.0% of control device cost (A)                                                   510,957
                Freight                                                    5% of control device cost (A)                                                   425,797
                 Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                         0
               Purchased Equipment Total (B)                            21.0%                                                                           10,304,294
               Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                  824,344
                 Handling, erection                                       14% of purchased equip cost (B)                                                1,442,601
                 Electrical                                                4% of purchased equip cost (B)                                                  412,172
                 Piping                                                    4% of purchased equip cost (B)                                                  412,172
                 Insulation                                                1% of purchased equip cost (B)                                                  103,043
                 Painting                                                  1% of purchased equip cost (B)                                                  103,043
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                        0
                 Site Preparation, as required                                Site Specific                                                               NA
                 Buildings, as required                                       Site Specific                                                               NA
               Installation Total                                         32%                                                                            3,297,374
             Total Direct Capital Cost                                                                                                                  13,601,669

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                1,030,429
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                  515,215
                 Construction fee                                         10% of purchased equip cost (B)                                                1,030,429
                 Startup                                                   2% of purchased equip cost (B)                                                  206,086

                 Tests                                                     1% of purchased equip cost (B)                                                  103,043
                 Contingencies                                             3% of purchased equip cost (B)                                                  309,129
            Total Indirect Capital Costs                                  31%                                                                            3,194,331
           Total Capital Investment (TCI)                                                                                                               16,796,000
                 Replacement Parts Cost & Installation Labor        1,377,791 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        15,418,209
           Total Annualized Capital Costs                                                                                                                1,455,370

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      12,506
                 Supervisor                                               15% of oper labor costs                                                           1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                       8,754
                 Maintenance Materials                                   100% of maint labor costs                                                          8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity                        506,733
                      Natural Gas (Fuel)                                   NA                                                                                   -
                      Water                                                NA                                                                                   -
                      Compressed Air                                       NA                                                                                   -
                      Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia                                      84,683
                      Reagent #2 (Urea 50% Solution)                       NA                                                                                   -
                      Solid Waste Disposal                               25.38 $/Ton, 68.3 ton/yr                                                           1,733
                      Hazardous Waste Disposal                             NA                                                                                   -
                      Wastewater Treatment                                 NA                                                                                   -
                     Catalyst                                           159.11 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity                        762,045
                     Replacement Parts                                     NA                                                                                    -
             Total Annual Direct Operating Costs                                                                                                         1,387,084

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                 19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                 167,960
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                 167,960
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                 335,920
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            2,146,345

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            3,533,429
           Pollutant Removed (tons/yr)                                                                                                                         492
           Cost per ton of NOx Removed                                                                                                                       7,176




Boiler ULNB+SCR unlb low.xlsSCR Lo(e)-Hi(c)                                                                                                                          1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 136.5              2         68.3
                                                    Amount Required                 7801.4 ft3
                                                    Catalyst Cost                1,377,791 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,377,791
                                                    Annualized Cost                762,045

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,377,791

                                                    Design Flow       264,000 dscfm                  300,000 scfm
                                                                           450 Temp Deg F
                                                                          12% % Moisture
                                                                      508,380 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1369.9 kW-hr              10,799,928           506,733 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 57.0 lb/hr                    411,914          84,683 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 68.3 ton/yr                        68           1,733 $/Ton, 68.3 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               7801.4 ft3                 2              762,045 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                              0.275 lb/MMBtu              650 MMBTU/HR NA                           703
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  70%           211.01 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  492

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      508,380         11.4        0.55            0.9          1369.9        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.09           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1369.9

           Ammonia                                      144.5       lb/hr NOx     0.370      lb NH3/lb NOx                         57.0       lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                               160.6       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 224.0       lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       508,380
           Vol #2                                          7801.4 ft3




Boiler ULNB+SCR unlb low.xlsSCR Lo(e)-Hi(c)                                                                                                                                                         2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                       8,515,946
                Instrumentation                                           10% of control device cost (A)                                                   851,595
                Sales Taxes                                              6.0% of control device cost (A)                                                   510,957
                Freight                                                    5% of control device cost (A)                                                   425,797
                 Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                         0
               Purchased Equipment Total (B)                            21.0%                                                                           10,304,294
               Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                  824,344
                 Handling, erection                                       14% of purchased equip cost (B)                                                1,442,601
                 Electrical                                                4% of purchased equip cost (B)                                                  412,172
                 Piping                                                    4% of purchased equip cost (B)                                                  412,172
                 Insulation                                                1% of purchased equip cost (B)                                                  103,043
                 Painting                                                  1% of purchased equip cost (B)                                                  103,043
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                        0
                 Site Preparation, as required                                Site Specific                                                               NA
                 Buildings, as required                                       Site Specific                                                               NA
               Installation Total                                         32%                                                                            3,297,374
             Total Direct Capital Cost                                                                                                                  13,601,669

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                1,030,429
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                  515,215
                 Construction fee                                         10% of purchased equip cost (B)                                                1,030,429
                 Startup                                                   2% of purchased equip cost (B)                                                  206,086

                 Tests                                                     1% of purchased equip cost (B)                                                  103,043
                 Contingencies                                             3% of purchased equip cost (B)                                                  309,129
            Total Indirect Capital Costs                                  31%                                                                            3,194,331
           Total Capital Investment (TCI)                                                                                                               16,796,000
                 Replacement Parts Cost & Installation Labor        1,377,791 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        15,418,209
           Total Annualized Capital Costs                                                                                                                1,455,370

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      12,506
                 Supervisor                                               15% of oper labor costs                                                           1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                       8,754
                 Maintenance Materials                                   100% of maint labor costs                                                          8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity                        506,733
                      Natural Gas (Fuel)                                   NA                                                                                   -
                      Water                                                NA                                                                                   -
                      Compressed Air                                       NA                                                                                   -
                      Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia                                      84,683
                      Reagent #2 (Urea 50% Solution)                       NA                                                                                   -
                      Solid Waste Disposal                               25.38 $/Ton, 68.3 ton/yr                                                           1,733
                      Hazardous Waste Disposal                             NA                                                                                   -
                      Wastewater Treatment                                 NA                                                                                   -
                     Catalyst                                           159.11 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity                        762,045
                     Replacement Parts                                     NA                                                                                    -
             Total Annual Direct Operating Costs                                                                                                         1,387,084

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                 19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                 167,960
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                 167,960
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                 335,920
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            2,146,345

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            3,533,429
           Pollutant Removed (tons/yr)                                                                                                                         492
           Cost per ton of NOx Removed                                                                                                                       7,176




Boiler ULNB+SCR unlb low.xlsSCR Lo(e)-Hi(c)                                                                                                                          1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 136.5              2         68.3
                                                    Amount Required                 7801.4 ft3
                                                    Catalyst Cost                1,377,791 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,377,791
                                                    Annualized Cost                762,045

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,377,791

                                                    Design Flow       264,000 dscfm                  300,000 scfm
                                                                           450 Temp Deg F
                                                                          12% % Moisture
                                                                      508,380 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1369.9 kW-hr              10,799,928           506,733 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 57.0 lb/hr                    411,914          84,683 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 68.3 ton/yr                        68           1,733 $/Ton, 68.3 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               7801.4 ft3                 2              762,045 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                              0.275 lb/MMBtu              650 MMBTU/HR NA                           703
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  70%           211.01 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  492

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      508,380         11.4        0.55            0.9          1369.9        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.09           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1369.9

           Ammonia                                      144.5       lb/hr NOx     0.370      lb NH3/lb NOx                         57.0       lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                               160.6       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 224.0       lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       508,380
           Vol #2                                          7801.4 ft3




Boiler ULNB+SCR unlb low.xlsSCR Lo(e)-Hi(c)                                                                                                                                                         2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                       8,515,946
                Instrumentation                                           10% of control device cost (A)                                                   851,595
                Sales Taxes                                              6.0% of control device cost (A)                                                   510,957
                Freight                                                    5% of control device cost (A)                                                   425,797
                 Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                         0
               Purchased Equipment Total (B)                            21.0%                                                                           10,304,294
               Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                  824,344
                 Handling, erection                                       14% of purchased equip cost (B)                                                1,442,601
                 Electrical                                                4% of purchased equip cost (B)                                                  412,172
                 Piping                                                    4% of purchased equip cost (B)                                                  412,172
                 Insulation                                                1% of purchased equip cost (B)                                                  103,043
                 Painting                                                  1% of purchased equip cost (B)                                                  103,043
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                        0
                 Site Preparation, as required                                Site Specific                                                               NA
                 Buildings, as required                                       Site Specific                                                               NA
               Installation Total                                         32%                                                                            3,297,374
             Total Direct Capital Cost                                                                                                                  13,601,669

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                1,030,429
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                  515,215
                 Construction fee                                         10% of purchased equip cost (B)                                                1,030,429
                 Startup                                                   2% of purchased equip cost (B)                                                  206,086

                 Tests                                                     1% of purchased equip cost (B)                                                  103,043
                 Contingencies                                             3% of purchased equip cost (B)                                                  309,129
            Total Indirect Capital Costs                                  31%                                                                            3,194,331
           Total Capital Investment (TCI)                                                                                                               16,796,000
                 Replacement Parts Cost & Installation Labor        1,377,791 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        15,418,209
           Total Annualized Capital Costs                                                                                                                1,455,370

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      12,506
                 Supervisor                                               15% of oper labor costs                                                           1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                       8,754
                 Maintenance Materials                                   100% of maint labor costs                                                          8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity                        506,733
                      Natural Gas (Fuel)                                   NA                                                                                   -
                      Water                                                NA                                                                                   -
                      Compressed Air                                       NA                                                                                   -
                      Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia                                      84,683
                      Reagent #2 (Urea 50% Solution)                       NA                                                                                   -
                      Solid Waste Disposal                               25.38 $/Ton, 68.3 ton/yr                                                           1,733
                      Hazardous Waste Disposal                             NA                                                                                   -
                      Wastewater Treatment                                 NA                                                                                   -
                     Catalyst                                           159.11 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity                        762,045
                     Replacement Parts                                     NA                                                                                    -
             Total Annual Direct Operating Costs                                                                                                         1,387,084

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                 19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                 167,960
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                 167,960
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                 335,920
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            2,146,345

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            3,533,429
           Pollutant Removed (tons/yr)                                                                                                                         633
           Cost per ton of NOx Removed                                                                                                                       5,582




Boiler ULNB+SCR unlb low.xlsSCR Hi(e)-Hi(c)                                                                                                                          1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 136.5              2         68.3
                                                    Amount Required                 7801.4 ft3
                                                    Catalyst Cost                1,377,791 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,377,791
                                                    Annualized Cost                762,045

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,377,791

                                                    Design Flow       264,000 dscfm                  300,000 scfm
                                                                           450 Temp Deg F
                                                                          12% % Moisture
                                                                      508,380 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1369.9 kW-hr              10,799,928           506,733 $/kW-hr, 1,370 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 57.0 lb/hr                    411,914          84,683 $/Ton, 57.0 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 68.3 ton/yr                        68           1,733 $/Ton, 68.3 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               7801.4 ft3                 2              762,045 $/ft3, 7,801.4 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                              0.275 lb/MMBtu              650 MMBTU/HR NA                           703
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  90%            70.34 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  633

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      508,380         11.4        0.55            0.9          1369.9        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.09           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1369.9

           Ammonia                                      144.5       lb/hr NOx     0.370      lb NH3/lb NOx                         57.0       lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                               160.6       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 224.0       lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       508,380
           Vol #2                                          7801.4 ft3




Boiler ULNB+SCR unlb low.xlsSCR Hi(e)-Hi(c)                                                                                                                                                         2 of 2
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                         NOX Furnaces
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                                                                         BART ANALYSIS 2004
                                                                          LOW NOX BURNER
         CAPITAL COSTS
          Direct Capital Costs
            Purchased Equipment (1)
              Control Device (A)                                                                                                                    42,284
              Instrumentation                                            10% of control device cost (A)                                              4,228
              Sales Taxes                                               6.0% of control device cost (A)                                              2,537
              Freight                                                     5% of control device cost (A)                                              2,114
              Auxiliary equipment (not included in CD cost)                 - of control device cost (A)                                                 0
            Purchased Equipment Total (B)                                18%                                                                        51,164
               Installation
                 Foundations & supports                                   4% of purchased equip cost (B)                                             2,047
                 Handling, erection                                      50% of purchased equip cost (B)                                            25,582
                 Electrical                                               8% of purchased equip cost (B)                                             4,093
                 Piping                                                   1% of purchased equip cost (B)                                               512
                 Insulation                                               7% of purchased equip cost (B)                                             3,581
                 Painting                                                 4% of purchased equip cost (B)                                             2,047
                 Expenses not covered by items listed above               0% of purchased equip cost (B)                                                 0
                 Site Preparation, as required                               Site Specific                                                         NA
                 Buildings, as required                                      Site Specific                                                         NA
               Installation Total                                        74%                                                                        37,861
             Total Direct Capital Cost                                                                                                              89,025

             Indirect Capital Costs
                 Engineering, supervision                                10% of purchased equip cost (B)                                             5,116
                 Construction, field exp.                                20% of purchased equip cost (B)                                            10,233
                 Construction fee                                        10% of purchased equip cost (B)                                             5,116
                 Startup                                                  1% of purchased equip cost (B)                                               512

               Tests                                                      1% of purchased equip cost (B)                                               512
               Contingencies                                              3% of purchased equip cost (B)                                             1,535
          Total Indirect Capital Costs                                   45%                                                                        23,024
         Total Capital Investment (TCI)                                                                                                            112,048
               Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   112,048
         Total Annualized Capital Costs                                                                                                             10,577

         OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
                 Supervisor                                              15% of oper labor costs                                                     7,504
                 Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
                 Maintenance Materials                                  100% of maint labor costs                                                   17,509
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         NA                                                                            -
                       Natural Gas (Fuel)                                 NA                                                                            -
                      Water                                               NA                                                                            -
                      Compressed Air                                      NA                                                                            -
                      Reagent #1(Caustic)                                 NA                                                                            -
                      Reagent #2                                          NA                                                                            -
                      Solid Waste Disposal                                NA                                                                            -
                      Hazardous Waste Disposal                            NA                                                                            -
                      Wastewater Treatment                                NA                                                                            -
                      Catalyst                                            NA                                                                            -
                     Replacement Parts                                    NA                                                                             -
             Total Annual Direct Operating Costs                                                                                                    92,547

             Indirect Operating Costs
                 Overhead                                                60% of oper, maint & supv labor + maint mtl costs                          55,528
                 Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            1,120
                 Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            1,120
                 Administration (2% total capital costs)                  2% of total capital costs (TCI)                                            2,241
             Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                        70,587

         Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              163,134
         Pollutant Removed (tons/yr)                                                                                                                    58
         Cost per ton of NOx Removed                                                                                                                 2,813

         1




Frnace LNB.xlsLNB Lo(c)                                                                                                                                      1 of 2
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                                                                               BART ANALYSIS 2004
                                                                                LOW NOX BURNER
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                   7.0%
                             Equipment Life                     20 years
                             CRF                           0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                  2 years
                             CRF                       0.5531
                                                                          3
                             Catalyst cost per unit           650 $/ft
                                                                      3
                             Amount Required                      0 ft
                             Catalyst Cost                        0 Cost adjusted for freight & sales tax
                             Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                 0
                             Annualized Cost                      0

                             Replacement Parts & Equipment
                             Equipment Life                2 years
                             CRF                      0.5531
                             Rep part cost per unit    33.72 $ each
                             Amount Required               0 Number
                             Total Rep Parts Cost          0 Cost adjusted for freight & sales tax
                             Installation Labor            0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost          0
                             Annualized Cost               0

                             Total Cost Replacement Parts & Catalyst                               0

                             Design Flow       109,000 dscfm                  123,864 scfm
                                                  1200 Temp Deg F
                                                   12% % Moisture
                                               382,893 acfm



      Operating Cost Calculations                             Annual hours of operation: 8,760
                                                              Utilization rate:           90%
                                  Unit       Unit of  Use        Unit of        Annual      Annual    Comments
      Item                       Cost $     Measure   Rate      Measure          Use*        Cost
      Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971      50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
      Supervisor                        NA                                            NA          NA 15% of Operator Costs
      Maint Labor                    17.77 Hr               1 hr/8 hr shift           986      17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
      Maint Mtls                        NA                                            NA          NA of purchased equipment costs
      Utilities, Reagents, Waste Management & Replacements
      Electricity                    0.046 kW-hr          0.0 kW-hr                     0           0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                3
      Natural Gas                        4.24 Mft               0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
      Water                               0.2 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
      Comp Air                              0 Mscf            100 Mscfm                       47,304              0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
      Reagent #1(Caustic)                 300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
      Reagent #2                          300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
      SW Disposal                           0 Ton           0.857 ton/hr                       6,758              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
      Haz W Disp                          273 Ton           0.000 ton/hr                           0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
      WW Treat                            1.5 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3                   3
      Catalyst                            650 ft                0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
      Rep Parts                         33.72 bag               0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                 *annual use rate is in same units of measurement as the unit cost factor
                                                                      Emission Control Rate Calculation
      Uncontrolled Emission Rate
            Emission            Unit of         Flow    Unit of Control Eff.           Emis Rate
             Factor            Measure          Rate   Measure      %                    T/yr     Comments/Notes
                       0.27 lb/MMBtu               134 MMBtu/hr    NA                         145
      Controlled Emission Rate
               Perf             Unit of         Flow     Unit of Control Eff.          Emis Rate
           Guarantee           Measure          Rate     Measure     %                   T/yr     Comments/Notes
                                                                    40%                     87.00
      Emission Reduction T/yr                                                                  58

                                Flow acfm     D P in H2O Blower Eff    Motor Eff             kW
      Blower                        0                5     0.55          0.9                 0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Frnace LNB.xlsLNB Lo(c)                                                                                                                                                     2 of 2
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                                                                         BART ANALYSIS 2004
                                                                          LOW NOX BURNER
         CAPITAL COSTS
          Direct Capital Costs
            Purchased Equipment (1)
              Control Device (A)                                                                                                                    539,826
              Instrumentation                                            10% of control device cost (A)                                              53,983
              Sales Taxes                                               6.0% of control device cost (A)                                              32,390
              Freight                                                     5% of control device cost (A)                                              26,991
              Auxiliary equipment (not included in CD cost)                 - of control device cost (A)                                                  0
            Purchased Equipment Total (B)                                18%                                                                        653,189
               Installation
                 Foundations & supports                                   4% of purchased equip cost (B)                                              26,128
                 Handling, erection                                      50% of purchased equip cost (B)                                             326,595
                 Electrical                                               8% of purchased equip cost (B)                                              52,255
                 Piping                                                   1% of purchased equip cost (B)                                               6,532
                 Insulation                                               7% of purchased equip cost (B)                                              45,723
                 Painting                                                 4% of purchased equip cost (B)                                              26,128
                 Expenses not covered by items listed above               0% of purchased equip cost (B)                                                   0
                 Site Preparation, as required                               Site Specific                                                           NA
                 Buildings, as required                                      Site Specific                                                           NA
               Installation Total                                        74%                                                                         483,360
             Total Direct Capital Cost                                                                                                             1,136,549

             Indirect Capital Costs
                 Engineering, supervision                                10% of purchased equip cost (B)                                             65,319
                 Construction, field exp.                                20% of purchased equip cost (B)                                            130,638
                 Construction fee                                        10% of purchased equip cost (B)                                             65,319
                 Startup                                                  1% of purchased equip cost (B)                                              6,532

               Tests                                                      1% of purchased equip cost (B)                                               6,532
               Contingencies                                              3% of purchased equip cost (B)                                              19,596
          Total Indirect Capital Costs                                   45%                                                                         293,935
         Total Capital Investment (TCI)                                                                                                            1,430,484
               Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   1,430,484
         Total Annualized Capital Costs                                                                                                              135,028

         OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 50,025
                 Supervisor                                              15% of oper labor costs                                                      7,504
                 Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 17,509
                 Maintenance Materials                                  100% of maint labor costs                                                    17,509
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         NA                                                                              -
                       Natural Gas (Fuel)                                 NA                                                                              -
                      Water                                               NA                                                                              -
                      Compressed Air                                      NA                                                                              -
                      Reagent #1(Caustic)                                 NA                                                                              -
                      Reagent #2                                          NA                                                                              -
                      Solid Waste Disposal                                NA                                                                              -
                      Hazardous Waste Disposal                            NA                                                                              -
                      Wastewater Treatment                                NA                                                                              -
                      Catalyst                                            NA                                                                              -
                     Replacement Parts                                    NA                                                                              -
             Total Annual Direct Operating Costs                                                                                                     92,547

             Indirect Operating Costs
                 Overhead                                                60% of oper, maint & supv labor + maint mtl costs                           55,528
                 Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            14,305
                 Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            14,305
                 Administration (2% total capital costs)                  2% of total capital costs (TCI)                                            28,610
             Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                        247,775

         Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                               340,322
         Pollutant Removed (tons/yr)                                                                                                                     58
         Cost per ton of NOx Removed                                                                                                                  5,867

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Frnace LNB.xlsLNB Hi(c)                                                                                                                                        1 of 2
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                                                                                BART ANALYSIS 2004
                                                                                 LOW NOX BURNER
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                   7.0%
                              Equipment Life                     20 years
                              CRF                           0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                  2 years
                              CRF                       0.5531
                                                                           3
                              Catalyst cost per unit           650 $/ft
                                                                       3
                              Amount Required                      0 ft
                              Catalyst Cost                        0 Cost adjusted for freight & sales tax
                              Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                 0
                              Annualized Cost                      0

                              Replacement Parts & Equipment
                              Equipment Life                2 years
                              CRF                      0.5531
                              Rep part cost per unit    33.72 $ each
                              Amount Required               0 Number
                              Total Rep Parts Cost          0 Cost adjusted for freight & sales tax
                              Installation Labor            0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost          0
                              Annualized Cost               0

                              Total Cost Replacement Parts & Catalyst                               0

                              Design Flow       109,000 dscfm                  123,864 scfm
                                                   1200 Temp Deg F
                                                    12% % Moisture
                                                382,893 acfm



       Operating Cost Calculations                             Annual hours of operation: 8,760
                                                               Utilization rate:           90%
                                   Unit       Unit of  Use        Unit of        Annual      Annual    Comments
       Item                       Cost $     Measure   Rate      Measure          Use*        Cost
       Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971      50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
       Supervisor                        NA                                            NA          NA 15% of Operator Costs
       Maint Labor                    17.77 Hr               1 hr/8 hr shift           986      17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
       Maint Mtls                        NA                                            NA          NA of purchased equipment costs
       Utilities, Reagents, Waste Management & Replacements
       Electricity                    0.046 kW-hr          0.0 kW-hr                     0           0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                 3
       Natural Gas                        4.24 Mft               0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
       Water                               0.2 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
       Comp Air                              0 Mscf            100 Mscfm                       47,304              0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
       Reagent #1(Caustic)                 300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
       Reagent #2                          300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
       SW Disposal                           0 Ton           0.857 ton/hr                       6,758              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
       Haz W Disp                          273 Ton           0.000 ton/hr                           0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
       WW Treat                            1.5 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3                   3
       Catalyst                            650 ft                0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
       Rep Parts                         33.72 bag               0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                  *annual use rate is in same units of measurement as the unit cost factor
                                                                       Emission Control Rate Calculation
       Uncontrolled Emission Rate
             Emission            Unit of         Flow    Unit of Control Eff.           Emis Rate
              Factor            Measure          Rate   Measure      %                    T/yr     Comments/Notes
                        0.27 lb/MMBtu               134 MMBtu/hr    NA                         145
       Controlled Emission Rate
                Perf             Unit of         Flow     Unit of Control Eff.          Emis Rate
            Guarantee           Measure          Rate     Measure     %                   T/yr     Comments/Notes
                                                                     40%                     87.00
       Emission Reduction T/yr                                                                  58

                                 Flow acfm     D P in H2O Blower Eff    Motor Eff             kW
       Blower                        0                5     0.55          0.9                 0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Frnace LNB.xlsLNB Hi(c)                                                                                                                                                      2 of 2
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                                                                      BART ANALYSIS 2004
                                                                       LOW NOX BURNER
      CAPITAL COSTS
       Direct Capital Costs
         Purchased Equipment (1)
           Control Device (A)                                                                                                                    43,557
           Instrumentation                                            10% of control device cost (A)                                              4,356
           Sales Taxes                                               6.0% of control device cost (A)                                              2,613
           Freight                                                     5% of control device cost (A)                                              2,178
           Auxiliary equipment (not included in CD cost)                 - of control device cost (A) - See Notes                                     0
         Purchased Equipment Total (B)                                18%                                                                        52,704
            Installation
              Foundations & supports                                   4% of purchased equip cost (B)                                             2,108
              Handling, erection                                      50% of purchased equip cost (B)                                            26,352
              Electrical                                               8% of purchased equip cost (B)                                             4,216
              Piping                                                   1% of purchased equip cost (B)                                               527
              Insulation                                               7% of purchased equip cost (B)                                             3,689
              Painting                                                 4% of purchased equip cost (B)                                             2,108
              Expenses not covered by items listed above               0% of purchased equip cost (B)                                                 0
              Site Preparation, as required                               Site Specific                                                         NA
              Buildings, as required                                      Site Specific                                                         NA
            Installation Total                                        74%                                                                        39,001
          Total Direct Capital Cost                                                                                                              91,705

          Indirect Capital Costs
              Engineering, supervision                                10% of purchased equip cost (B)                                             5,270
              Construction, field exp.                                20% of purchased equip cost (B)                                            10,541
              Construction fee                                        10% of purchased equip cost (B)                                             5,270
              Startup                                                  1% of purchased equip cost (B)                                               527

            Tests                                                      1% of purchased equip cost (B)                                               527
            Contingencies                                              3% of purchased equip cost (B)                                             1,581
       Total Indirect Capital Costs                                   45%                                                                        23,717
      Total Capital Investment (TCI)                                                                                                            115,422
            Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   115,422
      Total Annualized Capital Costs                                                                                                             10,895

      OPERATING COSTS
          Direct Operating Costs
              Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
              Supervisor                                              15% of oper labor costs                                                     7,504
              Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
              Maintenance Materials                                  100% of maint labor costs                                                   17,509
              Utilities, Reagents, Waste Management & Replacements
                   Electricity                                         NA                                                                            -
                    Natural Gas (Fuel)                                 NA                                                                            -
                   Water                                               NA                                                                            -
                   Compressed Air                                      NA                                                                            -
                   Reagent #1(Caustic)                                 NA                                                                            -
                   Reagent #2                                          NA                                                                            -
                   Solid Waste Disposal                                NA                                                                            -
                   Hazardous Waste Disposal                            NA                                                                            -
                   Wastewater Treatment                                NA                                                                            -
                   Catalyst                                            NA                                                                            -
                  Replacement Parts                                    NA                                                                             -
          Total Annual Direct Operating Costs                                                                                                    92,547

          Indirect Operating Costs
              Overhead                                                60% of oper, maint & supv labor + maint mtl costs                          55,528
              Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            1,154
              Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            1,154
              Administration (2% total capital costs)                  2% of total capital costs (TCI)                                            2,308
          Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                        71,040

      Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              163,587
      Pollutant Removed (tons/yr)B                                                                                                                   58
      Cost per ton of NOx Removed                                                                                                                 2,820

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Furnace LNB + FGR.xls LNB Lo(c)                                                                                                                           1 OF 8
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                                                                               BART ANALYSIS 2004
                                                                                LOW NOX BURNER
                             Capital Recovery Factors                                                  Enter Data in Blue Highlighted Cells
                             Primary Installation                                                      Data to Summary Table in Yellow Highlighted Cells
                             Interest Rate                       7.0%
                             Equipment Life                         20 years
                             CRF                               0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                          2 years
                             CRF                               0.5531
                             Catalyst cost per unit               650 $/ft3
                             Amount Required                         0 ft3
                             Catalyst Cost                           0 Cost adjusted for freight & sales tax
                             Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                    0
                             Annualized Cost                         0

                             Replacement Parts & Equipment
                             Equipment Life                 2 years
                             CRF                       0.5531
                             Rep part cost per unit     33.72 $ each
                             Amount Required                0 Number
                             Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                             Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost           0
                             Annualized Cost                0

                             Total Cost Replacement Parts & Catalyst                               0

                             Design Flow         109,000 dscfm                123,864 scfm
                                                    1200 Temp Deg F
                                                     12% % Moisture
                                                 382,893 acfm


    Operating Cost Calculations                              Annual hours of operation: 8,760
                                                             Utilization rate:           90%
                                Unit        Unit of  Use         Unit of       Annual      Annual     Comments
    Item                        Cost $     Measure   Rate       Measure         Use*         Cost
    Op Labor                        25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                         NA                                            NA           NA 15% of Operator Costs
    Maint Labor                     17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Maint Mtls                         NA                                            NA           NA of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                     0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                           4.24 Mft3                  0 scfm                        0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                   0.2 Mgal                 0 gpm                         0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                  0 Mscf               100 Mscfm                  47,304               0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                    300 Ton                   0 lb-mole/hr                  0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
    Reagent #2                             300 Ton                   0 lb-mole/hr                  0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
    SW Disposal                               0 Ton              0.857 ton/hr                  7,509               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
    Haz W Disp                             273 Ton               0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
    WW Treat                                1.5 Mgal                 0 gpm                         0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3                       3
    Catalyst                               650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                            33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                        Emission Control Rate Calculation
    Uncontrolled Emission Rate
          Emission            Unit of             Flow    Unit of Control Eff.         Emis Rate
            Factor           Measure              Rate   Measure      %                  T/yr     Comments/Notes
                    0.275 lb/MMBtu                   134 MMBtu/hr    NA                       145
    Controlled Emission Rate
             Perf             Unit of             Flow       Unit of Control Eff.      Emis Rate
         Guarantee           Measure              Rate       Measure     %               T/yr    Comments/Notes
                                                                              40%              87.00
    Emission Reduction T/yr                                                                       58

                                  Flow acfm     D P in H2O   Blower Eff Motor Eff            kW
    Blower                           0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Furnace LNB + FGR.xls LNB Lo(c)                                                                                                                                             2 OF 8
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                                                                      BART ANALYSIS 2004
                                                                       LOW NOX BURNER
      CAPITAL COSTS
       Direct Capital Costs
         Purchased Equipment (1)
           Control Device (A)                                                                                                                    556,078
           Instrumentation                                            10% of control device cost (A)                                              55,608
           Sales Taxes                                               6.0% of control device cost (A)                                              33,365
           Freight                                                     5% of control device cost (A)                                              27,804
           Auxiliary equipment (not included in CD cost)                 - of control device cost (A) - See Notes                                      0
         Purchased Equipment Total (B)                                18%                                                                        672,854
            Installation
              Foundations & supports                                   4% of purchased equip cost (B)                                              26,914
              Handling, erection                                      50% of purchased equip cost (B)                                             336,427
              Electrical                                               8% of purchased equip cost (B)                                              53,828
              Piping                                                   1% of purchased equip cost (B)                                               6,729
              Insulation                                               7% of purchased equip cost (B)                                              47,100
              Painting                                                 4% of purchased equip cost (B)                                              26,914
              Expenses not covered by items listed above               0% of purchased equip cost (B)                                                   0
              Site Preparation, as required                               Site Specific                                                           NA
              Buildings, as required                                      Site Specific                                                           NA
            Installation Total                                        74%                                                                         497,912
          Total Direct Capital Cost                                                                                                             1,170,766

          Indirect Capital Costs
              Engineering, supervision                                10% of purchased equip cost (B)                                             67,285
              Construction, field exp.                                20% of purchased equip cost (B)                                            134,571
              Construction fee                                        10% of purchased equip cost (B)                                             67,285
              Startup                                                  1% of purchased equip cost (B)                                              6,729

            Tests                                                      1% of purchased equip cost (B)                                               6,729
            Contingencies                                              3% of purchased equip cost (B)                                              20,186
       Total Indirect Capital Costs                                   45%                                                                         302,784
      Total Capital Investment (TCI)                                                                                                            1,473,550
            Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   1,473,550
      Total Annualized Capital Costs                                                                                                              139,093

      OPERATING COSTS
          Direct Operating Costs
              Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 50,025
              Supervisor                                              15% of oper labor costs                                                      7,504
              Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 17,509
              Maintenance Materials                                  100% of maint labor costs                                                    17,509
              Utilities, Reagents, Waste Management & Replacements
                   Electricity                                         NA                                                                              -
                    Natural Gas (Fuel)                                 NA                                                                              -
                   Water                                               NA                                                                              -
                   Compressed Air                                      NA                                                                              -
                   Reagent #1(Caustic)                                 NA                                                                              -
                   Reagent #2                                          NA                                                                              -
                   Solid Waste Disposal                                NA                                                                              -
                   Hazardous Waste Disposal                            NA                                                                              -
                   Wastewater Treatment                                NA                                                                              -
                   Catalyst                                            NA                                                                              -
                  Replacement Parts                                    NA                                                                              -
          Total Annual Direct Operating Costs                                                                                                     92,547

          Indirect Operating Costs
              Overhead                                                60% of oper, maint & supv labor + maint mtl costs                           55,528
              Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            14,736
              Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            14,736
              Administration (2% total capital costs)                  2% of total capital costs (TCI)                                            29,471
          Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                        253,563

      Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                               346,110
      Pollutant Removed (tons/yr)B                                                                                                                    58
      Cost per ton of NOx Removed                                                                                                                  5,967

      1




Furnace LNB + FGR.xls LNB Hi(c)                                                                                                                             3 OF 8
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                                                                               BART ANALYSIS 2004
                                                                                LOW NOX BURNER
                              Capital Recovery Factors                                                 Enter Data in Blue Highlighted Cells
                              Primary Installation                                                     Data to Summary Table in Yellow Highlighted Cells
                              Interest Rate                      7.0%
                              Equipment Life                        20 years
                              CRF                              0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                         2 years
                              CRF                              0.5531
                              Catalyst cost per unit              650 $/ft3
                              Amount Required                        0 ft3
                              Catalyst Cost                          0 Cost adjusted for freight & sales tax
                              Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                   0
                              Annualized Cost                        0

                              Replacement Parts & Equipment
                              Equipment Life                 2 years
                              CRF                       0.5531
                              Rep part cost per unit     33.72 $ each
                              Amount Required                0 Number
                              Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                              Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost           0
                              Annualized Cost                0

                              Total Cost Replacement Parts & Catalyst                              0

                              Design Flow        109,000 dscfm                123,864 scfm
                                                    1200 Temp Deg F
                                                     12% % Moisture
                                                 382,893 acfm


    Operating Cost Calculations                              Annual hours of operation: 8,760
                                                             Utilization rate:           90%
                                Unit        Unit of  Use         Unit of       Annual      Annual     Comments
    Item                        Cost $     Measure   Rate       Measure         Use*         Cost
    Op Labor                        25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                         NA                                            NA           NA 15% of Operator Costs
    Maint Labor                     17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Maint Mtls                         NA                                            NA           NA of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                     0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                           4.24 Mft3                  0 scfm                        0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                   0.2 Mgal                 0 gpm                         0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                  0 Mscf               100 Mscfm                  47,304               0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                    300 Ton                   0 lb-mole/hr                  0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
    Reagent #2                             300 Ton                   0 lb-mole/hr                  0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
    SW Disposal                               0 Ton              0.857 ton/hr                  7,509               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
    Haz W Disp                             273 Ton               0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
    WW Treat                                1.5 Mgal                 0 gpm                         0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3                       3
    Catalyst                               650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                            33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                        Emission Control Rate Calculation
    Uncontrolled Emission Rate
          Emission            Unit of             Flow    Unit of Control Eff.         Emis Rate
            Factor           Measure              Rate   Measure      %                  T/yr     Comments/Notes
                    0.275 lb/MMBtu                   134 MMBtu/hr    NA                       145
    Controlled Emission Rate
             Perf             Unit of             Flow       Unit of Control Eff.      Emis Rate
         Guarantee           Measure              Rate       Measure     %               T/yr    Comments/Notes
                                                                              40%              87.00
    Emission Reduction T/yr                                                                       58

                                  Flow acfm     D P in H2O   Blower Eff Motor Eff            kW
    Blower                           0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Furnace LNB + FGR.xls LNB Hi(c)                                                                                                                                             4 OF 8
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                                                                      BART ANALYSIS 2004
                                                                   FLUE GAS RECIRCULATION
      CAPITAL COSTS
       Direct Capital Costs
         Purchased Equipment (1)
           Control Device (A)                                              The cost of the fan + duct                                           125,000
           Instrumentation                                            10% of control device cost (A)                                             12,500
           Sales Taxes                                               6.0% of control device cost (A)                                              7,500
           Freight                                                     5% of control device cost (A)                                              6,250
           Auxiliary equipment (not included in CD cost)                 - of control device cost (A) - See Notes                                     0
         Purchased Equipment Total (B)                                21%                                                                       151,250
          Installation
            Foundations & supports                                     4% of purchased equip cost (B)                                             6,050
            Handling, erection                                        50% of purchased equip cost (B)                                            75,625
            Electrical                                                 8% of purchased equip cost (B)                                            12,100
            Piping                                                     1% of purchased equip cost (B)                                             1,513
            Insulation                                                 7% of purchased equip cost (B)                                            10,588
            Painting                                                   4% of purchased equip cost (B)                                             6,050
            Expenses not covered by items listed above                 0% of purchased equip cost (B)                                                 0
            Site Preparation, as required                                 Site Specific                                                         NA
            Buildings, as required                                        Site Specific                                                         NA
          Installation Total                                          74%                                                                       111,925
        Total Direct Capital Cost                                                                                                               263,175

        Indirect Capital Costs
            Engineering, supervision                                  10% of purchased equip cost (B)                                            15,125
            Construction, field exp.                                  20% of purchased equip cost (B)                                            30,250
            Construction fee                                          10% of purchased equip cost (B)                                            15,125
            Startup                                                    1% of purchased equip cost (B)                                             1,513

            Tests                                                      1% of purchased equip cost (B)                                             1,513
            Contingencies                                              3% of purchased equip cost (B)                                             4,538
       Total Indirect Capital Costs                                   45%                                                                        68,063
      Total Capital Investment (TCI)                                                                                                            331,238
            Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   331,238
      Total Annualized Capital Costs                                                                                                             31,266

      OPERATING COSTS
        Direct Operating Costs
            Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
            Supervisor                                                15% of oper labor costs                                                     7,504
            Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
            Maintenance Materials                                    100% of maint labor costs                                                   17,509
            Utilities, Reagents, Waste Management & Replacements
                 Electricity                                         0.047 $/kW-hr, 224 kW-hr, 8760 hr/yr, 90.0% of capacity                     82,787
                  Natural Gas (Fuel)                                   NA                                                                             -
                 Water                                                 NA                                                                            -
                 Compressed Air                                        NA                                                                            -
                 Reagent #1(Caustic)                                   NA                                                                            -
                 Reagent #2                                            NA                                                                            -
                 Solid Waste Disposal                                  NA                                                                            -
                 Hazardous Waste Disposal                              NA                                                                            -
                 Wastewater Treatment                                  NA                                                                            -
                 Catalyst                                              NA                                                                            -
                Replacement Parts                                      NA                                                                             -
        Total Annual Direct Operating Costs                                                                                                     175,334

        Indirect Operating Costs
            Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                          55,528
            Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                            3,312
            Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                            3,312
            Administration (2% total capital costs)                    2% of total capital costs (TCI)                                            6,625
        Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                       100,044

      Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              275,379
      Pollutant Removed (tons/yr)B                                                                                                                   44
      Cost per ton of NOx Removed                                                                                                                 6,330




Furnace LNB + FGR.xlsFGR Lo(c)                                                                                                                            5 OF 8
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                                                                              BART ANALYSIS 2004
                                                                           FLUE GAS RECIRCULATION
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                         7.0%
                            Equipment Life                           20 years
                            CRF                                 0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                            2 years
                            CRF                                 0.5531
                            Catalyst cost per unit                 650 $/ft3
                            Amount Required                           0 ft3
                            Catalyst Cost                             0 Cost adjusted for freight & sales tax
                            Installation Labor                        0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                      0
                            Annualized Cost                           0

                            Replacement Parts & Equipment
                            Equipment Life                  2 years
                            CRF                        0.5531
                            Rep part cost per unit      33.72 $ each
                            Amount Required                 0 Number
                            Total Rep Parts Cost            0 Cost adjusted for freight & sales tax
                            Installation Labor              0 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost            0
                            Annualized Cost                 0

                            Total Cost Replacement Parts & Catalyst                                  0

                            Design Flow        109,000 dscfm                   123,864 scfm
                                                  1200 Temp Deg F
                                                   12% % Moisture
                                               382,893 acfm


   Operating Cost Calculations                               Annual hours of operation: 8,760
                                                             Utilization rate:           90%
                               Unit        Unit of   Use         Unit of       Annual      Annual     Comments
   Item                        Cost $     Measure   Rate        Measure         Use*         Cost
   Op Labor                        25.38 Hr                2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
   Supervisor                         NA                                             NA           NA 15% of Operator Costs
   Maint Labor                     17.77 Hr                1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
   Maint Mtls                         NA                                             NA           NA of purchased equipment costs
   Utilities, Reagents, Waste Management & Replacements
   Electricity                     0.047 kW-hr           224 kW-hr             1,764,439       82,787 $/kW-hr, 224 kW-hr, 8760 hr/yr, 90.0% of capacity
   Natural Gas                          4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
   Water                                  0.2 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
   Comp Air                                 0 Mscf                 100 Mscfm                    52,560               0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
   Reagent #1(Caustic)                   300 Ton                     0 lb-mole/hr                    0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
   Reagent #2                            300 Ton                     0 lb-mole/hr                    0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
   SW Disposal                              0 Ton                0.857 ton/hr                    7,509               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
   Haz W Disp                            273 Ton                 0.000 ton/hr                        0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
   WW Treat                               1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                               3                         3
   Catalyst                              650 ft                      0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
   Rep Parts                           33.72 bag                     0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                      *annual use rate is in same units of measurement as the unit cost factor
                                                                          Emission Control Rate Calculation
   Uncontrolled Emission Rate
         Emission           Unit of             Flow    Unit of           Control Eff.    Emis Rate
           Factor           Measure             Rate    Measure               %             T/yr     Comments/Notes
                   0.275 lb/MMBtu                  134 MMBtu/hr              NA                  145
   Controlled Emission Rate
            Perf            Unit of             Flow        Unit of       Control Eff.    Emis Rate
        Guarantee           Measure             Rate        Measure           %             T/yr    Comments/Notes
                                                                               30%              101.50
   Emission Reduction T/yr                                                                          44

                                 Flow acfm    D P in H2O    Blower Eff      Motor Eff         kW
   Blower                       76,579               5         0.55           0.9             90.5       OAQPS Cost Cont Manual 5th ed - Eq 3.37
                            brake horse power              kW
   Fan motor                           300                          224




Furnace LNB + FGR.xlsFGR Lo(c)                                                                                                                                                6 OF 8
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                                                                      BART ANALYSIS 2004
                                                                   FLUE GAS RECIRCULATION
      CAPITAL COSTS
       Direct Capital Costs
         Purchased Equipment (1)
           Control Device (A)                                              The cost of the fan + duct                                           250,000
           Instrumentation                                            10% of control device cost (A)                                             25,000
           Sales Taxes                                               6.0% of control device cost (A)                                             15,000
           Freight                                                     5% of control device cost (A)                                             12,500
           Auxiliary equipment (not included in CD cost)                 - of control device cost (A) - See Notes                                     0
         Purchased Equipment Total (B)                                21%                                                                       302,500
           Installation
            Foundations & supports                                     4% of purchased equip cost (B)                                            12,100
            Handling, erection                                        50% of purchased equip cost (B)                                           151,250
            Electrical                                                 8% of purchased equip cost (B)                                            24,200
            Piping                                                     1% of purchased equip cost (B)                                             3,025
            Insulation                                                 7% of purchased equip cost (B)                                            21,175
            Painting                                                   4% of purchased equip cost (B)                                            12,100
            Expenses not covered by items listed above                 0% of purchased equip cost (B)                                                 0
            Site Preparation, as required                                 Site Specific                                                         NA
            Buildings, as required                                        Site Specific                                                         NA
          Installation Total                                          74%                                                                       223,850
        Total Direct Capital Cost                                                                                                               526,350

        Indirect Capital Costs
            Engineering, supervision                                  10% of purchased equip cost (B)                                            30,250
            Construction, field exp.                                  20% of purchased equip cost (B)                                            60,500
            Construction fee                                          10% of purchased equip cost (B)                                            30,250
            Startup                                                    1% of purchased equip cost (B)                                             3,025

            Tests                                                      1% of purchased equip cost (B)                                             3,025
            Contingencies                                              3% of purchased equip cost (B)                                             9,075
       Total Indirect Capital Costs                                   45%                                                                       136,125
      Total Capital Investment (TCI)                                                                                                            662,475
            Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   662,475
      Total Annualized Capital Costs                                                                                                             62,533

      OPERATING COSTS
        Direct Operating Costs
            Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
            Supervisor                                                15% of oper labor costs                                                     7,504
            Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
            Maintenance Materials                                    100% of maint labor costs                                                   17,509
            Utilities, Reagents, Waste Management & Replacements
                 Electricity                                         0.047 $/kW-hr, 224 kW-hr, 8760 hr/yr, 90.0% of capacity                     82,787
                  Natural Gas (Fuel)                                   NA                                                                             -
                 Water                                                 NA                                                                            -
                 Compressed Air                                        NA                                                                            -
                 Reagent #1(Caustic)                                   NA                                                                            -
                 Reagent #2                                            NA                                                                            -
                 Solid Waste Disposal                                  NA                                                                            -
                 Hazardous Waste Disposal                              NA                                                                            -
                 Wastewater Treatment                                  NA                                                                            -
                 Catalyst                                              NA                                                                            -
                Replacement Parts                                      NA                                                                             -
        Total Annual Direct Operating Costs                                                                                                     175,334

        Indirect Operating Costs
            Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                          55,528
            Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                            6,625
            Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                            6,625
            Administration (2% total capital costs)                    2% of total capital costs (TCI)                                           13,250
        Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                       144,560

      Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              319,895
      Pollutant Removed (tons/yr)B                                                                                                                   44
      Cost per ton of NOx Removed                                                                                                                 7,354




Furnace LNB + FGR.xlsFGR Hi(c)                                                                                                                            7 OF 8
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                                                                              BART ANALYSIS 2004
                                                                           FLUE GAS RECIRCULATION
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                         7.0%
                            Equipment Life                           20 years
                            CRF                                 0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                            2 years
                            CRF                                 0.5531
                            Catalyst cost per unit                 650 $/ft3
                            Amount Required                           0 ft3
                            Catalyst Cost                             0 Cost adjusted for freight & sales tax
                            Installation Labor                        0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                      0
                            Annualized Cost                           0

                            Replacement Parts & Equipment
                            Equipment Life                  2 years
                            CRF                        0.5531
                            Rep part cost per unit      33.72 $ each
                            Amount Required                 0 Number
                            Total Rep Parts Cost            0 Cost adjusted for freight & sales tax
                            Installation Labor              0 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost            0
                            Annualized Cost                 0

                            Total Cost Replacement Parts & Catalyst                                  0

                            Design Flow        109,000 dscfm                   123,864 scfm
                                                  1200 Temp Deg F
                                                   12% % Moisture
                                               382,893 acfm


   Operating Cost Calculations                               Annual hours of operation: 8,760
                                                             Utilization rate:           90%
                               Unit        Unit of   Use         Unit of       Annual      Annual     Comments
   Item                        Cost $     Measure   Rate        Measure         Use*         Cost
   Op Labor                        25.38 Hr                2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
   Supervisor                         NA                                             NA           NA 15% of Operator Costs
   Maint Labor                     17.77 Hr                1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
   Maint Mtls                         NA                                             NA           NA of purchased equipment costs
   Utilities, Reagents, Waste Management & Replacements
   Electricity                     0.047 kW-hr           224 kW-hr             1,764,439       82,787 $/kW-hr, 224 kW-hr, 8760 hr/yr, 90.0% of capacity
   Natural Gas                          4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
   Water                                  0.2 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
   Comp Air                                 0 Mscf                 100 Mscfm                    52,560               0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
   Reagent #1(Caustic)                   300 Ton                     0 lb-mole/hr                    0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
   Reagent #2                            300 Ton                     0 lb-mole/hr                    0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
   SW Disposal                              0 Ton                0.857 ton/hr                    7,509               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
   Haz W Disp                            273 Ton                 0.000 ton/hr                        0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
   WW Treat                               1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                               3                         3
   Catalyst                              650 ft                      0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
   Rep Parts                           33.72 bag                     0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                      *annual use rate is in same units of measurement as the unit cost factor
                                                                          Emission Control Rate Calculation
   Uncontrolled Emission Rate
         Emission           Unit of             Flow    Unit of           Control Eff.    Emis Rate
           Factor           Measure             Rate    Measure               %             T/yr     Comments/Notes
                   0.275 lb/MMBtu                  134 MMBtu/hr              NA                  145
   Controlled Emission Rate
            Perf            Unit of             Flow        Unit of       Control Eff.    Emis Rate
        Guarantee           Measure             Rate        Measure           %             T/yr    Comments/Notes
                                                                               30%              101.50
   Emission Reduction T/yr                                                                          44

                                 Flow acfm    D P in H2O    Blower Eff      Motor Eff         kW
   Blower                       76,579               5         0.55           0.9             90.5       OAQPS Cost Cont Manual 5th ed - Eq 3.37
                            brake horse power              kW
   Fan motor                           300                          224




Furnace LNB + FGR.xlsFGR Hi(c)                                                                                                                                                8 OF 8
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                                                                         BART ANALYSIS 2004
                                                                          LOW NOX BURNER
         CAPITAL COSTS
          Direct Capital Costs
            Purchased Equipment (1)
              Control Device (A)                                                                                                                    42,477
              Instrumentation                                            10% of control device cost (A)                                              4,248
              Sales Taxes                                               6.0% of control device cost (A)                                              2,549
              Freight                                                     5% of control device cost (A)                                              2,124
              Auxiliary equipment (not included in CD cost)                 - of control device cost (A)                                                 0
            Purchased Equipment Total (B)                                21%                                                                        51,397
               Installation
                 Foundations & supports                                   4% of purchased equip cost (B)                                             2,056
                 Handling, erection                                      50% of purchased equip cost (B)                                            25,699
                 Electrical                                               8% of purchased equip cost (B)                                             4,112
                 Piping                                                   1% of purchased equip cost (B)                                               514
                 Insulation                                               7% of purchased equip cost (B)                                             3,598
                 Painting                                                 4% of purchased equip cost (B)                                             2,056
                 Expenses not covered by items listed above               0% of purchased equip cost (B)                                                 0
                 Site Preparation, as required                               Site Specific                                                         NA
                 Buildings, as required                                      Site Specific                                                         NA
               Installation Total                                        74%                                                                        38,034
             Total Direct Capital Cost                                                                                                              89,431

             Indirect Capital Costs
                 Engineering, supervision                                10% of purchased equip cost (B)                                             5,140
                 Construction, field exp.                                20% of purchased equip cost (B)                                            10,279
                 Construction fee                                        10% of purchased equip cost (B)                                             5,140
                 Startup                                                  1% of purchased equip cost (B)                                               514

               Tests                                                      1% of purchased equip cost (B)                                               514
               Contingencies                                              3% of purchased equip cost (B)                                             1,542
          Total Indirect Capital Costs                                   45%                                                                        23,129
         Total Capital Investment (TCI)                                                                                                            112,560
               Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   112,560
         Total Annualized Capital Costs                                                                                                             10,625

         OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                50,025
                 Supervisor                                              15% of oper labor costs                                                     7,504
                 Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                17,509
                 Maintenance Materials                                  100% of maint labor costs                                                   17,509
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         NA                                                                            -
                       Natural Gas (Fuel)                                 NA                                                                            -
                      Water                                               NA                                                                            -
                      Compressed Air                                      NA                                                                            -
                      Reagent #1(Caustic)                                 NA                                                                            -
                      Reagent #2                                          NA                                                                            -
                      Solid Waste Disposal                                NA                                                                            -
                      Hazardous Waste Disposal                            NA                                                                            -
                      Wastewater Treatment                                NA                                                                            -
                      Catalyst                                            NA                                                                            -
                     Replacement Parts                                    NA                                                                             -
             Total Annual Direct Operating Costs                                                                                                    92,547

             Indirect Operating Costs
                 Overhead                                                60% of oper, maint & supv labor + maint mtl costs                          55,528
                 Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            1,126
                 Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            1,126
                 Administration (2% total capital costs)                  2% of total capital costs (TCI)                                            2,251
             Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                        70,655

         Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                              163,202
         Pollutant Removed (tons/yr)                                                                                                                    58
         Cost per ton of NOx Removed                                                                                                                 2,814

         1




Furnace LNB + SNCR.xls LNB Lo(c)                                                                                                                             1 of 2
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                                                                                 BART ANALYSIS 2004
                                                                                  LOW NOX BURNER
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                   7.0%
                               Equipment Life                     20 years
                               CRF                           0.0944

                               Catalyst Replacement Cost
                               Catalyst Life                  2 years
                               CRF                       0.5531
                                                                            3
                               Catalyst cost per unit           650 $/ft
                                                                        3
                               Amount Required                      0 ft
                               Catalyst Cost                        0 Cost adjusted for freight & sales tax
                               Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                 0
                               Annualized Cost                      0

                               Replacement Parts & Equipment
                               Equipment Life                2 years
                               CRF                      0.5531
                               Rep part cost per unit    33.72 $ each
                               Amount Required               0 Number
                               Total Rep Parts Cost          0 Cost adjusted for freight & sales tax
                               Installation Labor            0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost          0
                               Annualized Cost               0

                               Total Cost Replacement Parts & Catalyst                               0

                               Design Flow       109,000 dscfm                  123,864 scfm
                                                    1200 Temp Deg F
                                                     12% % Moisture
                                                 382,893 acfm



      Operating Cost Calculations                             Annual hours of operation: 8,760
                                                              Utilization rate:           90%
                                  Unit       Unit of  Use        Unit of        Annual      Annual    Comments
      Item                       Cost $     Measure   Rate      Measure          Use*        Cost
      Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971      50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
      Supervisor                        NA                                            NA          NA 15% of Operator Costs
      Maint Labor                    17.77 Hr               1 hr/8 hr shift           986      17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
      Maint Mtls                        NA                                            NA          NA of purchased equipment costs
      Utilities, Reagents, Waste Management & Replacements
      Electricity                    0.046 kW-hr          0.0 kW-hr                     0           0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                  3
      Natural Gas                          4.24 Mft               0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
      Water                                 0.2 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
      Comp Air                                0 Mscf            100 Mscfm                       47,304              0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
      Reagent #1(Caustic)                   300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
      Reagent #2                            300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
      SW Disposal                             0 Ton           0.857 ton/hr                       6,758              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
      Haz W Disp                            273 Ton           0.000 ton/hr                           0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
      WW Treat                              1.5 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                  3                   3
      Catalyst                              650 ft                0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
      Rep Parts                           33.72 bag               0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                        Emission Control Rate Calculation
      Uncontrolled Emission Rate
            Emission           Unit of            Flow    Unit of Control Eff.           Emis Rate
             Factor            Measure            Rate   Measure      %                    T/yr     Comments/Notes
                      0.275 lb/MMBtu                 134 MMBtu/hr    NA                         145
      Controlled Emission Rate
               Perf            Unit of            Flow     Unit of Control Eff.          Emis Rate
           Guarantee           Measure            Rate     Measure     %                   T/yr     Comments/Notes
                                                                      40%                     87.00
      Emission Reduction T/yr                                                                    58

                                   Flow acfm    D P in H2O Blower Eff    Motor Eff             kW
      Blower                          0                5     0.55          0.9                 0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Furnace LNB + SNCR.xls LNB Lo(c)                                                                                                                                              2 of 2
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                                                                         BART ANALYSIS 2004
                                                                          LOW NOX BURNER
         CAPITAL COSTS
          Direct Capital Costs
            Purchased Equipment (1)
              Control Device (A)                                                                                                                    542,291
              Instrumentation                                            10% of control device cost (A)                                              54,229
              Sales Taxes                                               6.0% of control device cost (A)                                              32,537
              Freight                                                     5% of control device cost (A)                                              27,115
              Auxiliary equipment (not included in CD cost)                 - of control device cost (A)                                                  0
            Purchased Equipment Total (B)                                21%                                                                        656,172
               Installation
                 Foundations & supports                                   4% of purchased equip cost (B)                                              26,247
                 Handling, erection                                      50% of purchased equip cost (B)                                             328,086
                 Electrical                                               8% of purchased equip cost (B)                                              52,494
                 Piping                                                   1% of purchased equip cost (B)                                               6,562
                 Insulation                                               7% of purchased equip cost (B)                                              45,932
                 Painting                                                 4% of purchased equip cost (B)                                              26,247
                 Expenses not covered by items listed above               0% of purchased equip cost (B)                                                   0
                 Site Preparation, as required                               Site Specific                                                           NA
                 Buildings, as required                                      Site Specific                                                           NA
               Installation Total                                        74%                                                                         485,567
             Total Direct Capital Cost                                                                                                             1,141,739

             Indirect Capital Costs
                 Engineering, supervision                                10% of purchased equip cost (B)                                             65,617
                 Construction, field exp.                                20% of purchased equip cost (B)                                            131,234
                 Construction fee                                        10% of purchased equip cost (B)                                             65,617
                 Startup                                                  1% of purchased equip cost (B)                                              6,562

               Tests                                                      1% of purchased equip cost (B)                                               6,562
               Contingencies                                              3% of purchased equip cost (B)                                              19,685
          Total Indirect Capital Costs                                   45%                                                                         295,277
         Total Capital Investment (TCI)                                                                                                            1,437,016
               Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%   1,437,016
         Total Annualized Capital Costs                                                                                                              135,644

         OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 50,025
                 Supervisor                                              15% of oper labor costs                                                      7,504
                 Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 17,509
                 Maintenance Materials                                  100% of maint labor costs                                                    17,509
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         NA                                                                              -
                       Natural Gas (Fuel)                                 NA                                                                              -
                      Water                                               NA                                                                              -
                      Compressed Air                                      NA                                                                              -
                      Reagent #1(Caustic)                                 NA                                                                              -
                      Reagent #2                                          NA                                                                              -
                      Solid Waste Disposal                                NA                                                                              -
                      Hazardous Waste Disposal                            NA                                                                              -
                      Wastewater Treatment                                NA                                                                              -
                      Catalyst                                            NA                                                                              -
                     Replacement Parts                                    NA                                                                              -
             Total Annual Direct Operating Costs                                                                                                     92,547

             Indirect Operating Costs
                 Overhead                                                60% of oper, maint & supv labor + maint mtl costs                           55,528
                 Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                            14,370
                 Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                            14,370
                 Administration (2% total capital costs)                  2% of total capital costs (TCI)                                            28,740
             Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                        248,653

         Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                               341,200
         Pollutant Removed (tons/yr)                                                                                                                     58
         Cost per ton of NOx Removed                                                                                                                  5,883

         1




Furnace LNB + SNCR.xls LNB Hi(c)                                                                                                                               1 of 2
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                                                                                 BART ANALYSIS 2004
                                                                                  LOW NOX BURNER
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                   7.0%
                               Equipment Life                     20 years
                               CRF                           0.0944

                               Catalyst Replacement Cost
                               Catalyst Life                  2 years
                               CRF                       0.5531
                                                                            3
                               Catalyst cost per unit           650 $/ft
                                                                        3
                               Amount Required                      0 ft
                               Catalyst Cost                        0 Cost adjusted for freight & sales tax
                               Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                 0
                               Annualized Cost                      0

                               Replacement Parts & Equipment
                               Equipment Life                2 years
                               CRF                      0.5531
                               Rep part cost per unit    33.72 $ each
                               Amount Required               0 Number
                               Total Rep Parts Cost          0 Cost adjusted for freight & sales tax
                               Installation Labor            0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost          0
                               Annualized Cost               0

                               Total Cost Replacement Parts & Catalyst                               0

                               Design Flow       109,000 dscfm                  123,864 scfm
                                                    1200 Temp Deg F
                                                     12% % Moisture
                                                 382,893 acfm



      Operating Cost Calculations                             Annual hours of operation: 8,760
                                                              Utilization rate:           90%
                                  Unit       Unit of  Use        Unit of        Annual      Annual    Comments
      Item                       Cost $     Measure   Rate      Measure          Use*        Cost
      Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971      50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
      Supervisor                        NA                                            NA          NA 15% of Operator Costs
      Maint Labor                    17.77 Hr               1 hr/8 hr shift           986      17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
      Maint Mtls                        NA                                            NA          NA of purchased equipment costs
      Utilities, Reagents, Waste Management & Replacements
      Electricity                    0.046 kW-hr          0.0 kW-hr                     0           0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                  3
      Natural Gas                          4.24 Mft               0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
      Water                                 0.2 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
      Comp Air                                0 Mscf            100 Mscfm                       47,304              0 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
      Reagent #1(Caustic)                   300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
      Reagent #2                            300 Ton               0 lb-mole/hr                       0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
      SW Disposal                             0 Ton           0.857 ton/hr                       6,758              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
      Haz W Disp                            273 Ton           0.000 ton/hr                           0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
      WW Treat                              1.5 Mgal              0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                  3                   3
      Catalyst                              650 ft                0 ft                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
      Rep Parts                           33.72 bag               0 bags              2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                        Emission Control Rate Calculation
      Uncontrolled Emission Rate
            Emission           Unit of            Flow    Unit of Control Eff.           Emis Rate
             Factor            Measure            Rate   Measure      %                    T/yr     Comments/Notes
                      0.275 lb/MMBtu                 134 MMBtu/hr    NA                         145
      Controlled Emission Rate
               Perf            Unit of            Flow     Unit of Control Eff.          Emis Rate
           Guarantee           Measure            Rate     Measure     %                   T/yr     Comments/Notes
                                                                      40%                     87.00
      Emission Reduction T/yr                                                                    58

                                   Flow acfm    D P in H2O Blower Eff    Motor Eff             kW
      Blower                          0                5     0.55          0.9                 0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37




Furnace LNB + SNCR.xls LNB Hi(c)                                                                                                                                              2 of 2
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                                                                            BART ANALYSIS 2004
                                                                    SELECTIVE NON-CATALYTIC REDUCTION
               CAPITAL COSTS
                Direct Capital Costs
                  Purchased Equipment (1)
                    Control Device (A)                                            SNCR equipment                                                           148,122
                    Instrumentation                                            1% of control device cost (A)                                                 1,481
                    Sales Taxes                                              6.0% of control device cost (A)                                                 8,887
                    Freight                                                    5% of control device cost (A)                                                 7,406
                    Auxiliary equipment (not included in CD cost)              0% of control device cost (A)                                                     0
                  Purchased Equipment Total (B)                             12.0%                                                                          165,897
                   Installation
                     Foundations & supports                                    8% of purchased equip cost (B)                                               13,272
                     Handling, erection                                       14% of purchased equip cost (B)                                               23,226
                     Electrical                                                4% of purchased equip cost (B)                                                6,636
                     Piping                                                    4% of purchased equip cost (B)                                                6,636
                     Insulation                                                1% of purchased equip cost (B)                                                1,659
                     Painting                                                  1% of purchased equip cost (B)                                                1,659
                     Expenses not covered by items listed above                0% of purchased equip cost (B)                                                    0
                     Site Preparation, as required                                Site Specific
                     Buildings, as required                                       Building extention to for additional grate sections
                   Installation Total                                         32%                                                                           53,087
                 Total Direct Capital Cost                                                                                                                 218,984

                 Indirect Capital Costs
                     Engineering, supervision                                 10% of purchased equip cost (B)                                               16,590
                     Construction, field exp.                                  5% of purchased equip cost (B)                                                8,295
                     Construction fee                                         10% of purchased equip cost (B)                                               16,590
                     Startup                                                   2% of purchased equip cost (B)                                                3,318

                     Tests                                                     1% of purchased equip cost (B)                                                1,659
                     Contingencies                                             3% of purchased equip cost (B)                                                4,977
                Total Indirect Capital Costs                                  31%                                                                           51,428
               Total Capital Investment (TCI)                                                                                                              270,412
                     Replacement Parts Cost & Installation Labor                 0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      270,412
               Total Annualized Capital Costs                                                                                                               25,525
                                                                                                                                                  1.8256
               OPERATING COSTS
                 Direct Operating Costs
                     Operating Labor                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                    13,896
                     Supervisor                                              15% of oper labor costs                                                         2,084
                     Maintenance Labor                                      17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     9,727
                     Maintenance Materials                                  100% of maint labor costs                                                        9,727
                     Utilities, Reagents, Waste Management & Replacements
                          Electricity                                         0.05 $/kW-hr, 453 kW-hr, 8760 hr/yr, 90.0% of capacity                       167,392
                          Natural Gas (Fuel)                                   NA                                                                                -
                          Water                                               0.22 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity                              845
                          Compressed Air                                      0.27 $/Mscf, 6.0 scfm, 8760 hr/yr, 90.0% of capacity                             776
                          Reagent #1(Anhydrous Ammonia)                        NA                                                                                -
                          Reagent #2 (Urea 50% Solution)                      0.10 $/Lb, 74.8 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity         60,812
                          Solid Waste Disposal                                 NA                                                                                -
                          Hazardous Waste Disposal                             NA                                                                                -
                          Wastewater Treatment                                 NA                                                                                -
                         Catalyst                                              NA                                                                                -
                         Replacement Parts                                     NA                                                                                -
                 Total Annual Direct Operating Costs                                                                                                       265,260

                 Indirect Operating Costs
                     Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                             21,261
                     Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                               2,704
                     Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                               2,704
                     Administration (2% total capital costs)                   2% of total capital costs (TCI)                                               5,408
                 Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                           57,602

               Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                322,862
               Pollutant Removed (tons/yr)                                                                                                                      44
               Cost per ton of NOx Removed                                                                                                                   7,422




Furnace LNB + SNCR.xls SNCR Lo(e)-Lo(c)                                                                                                                              1 of 2
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                                                                                  BART ANALYSIS 2004
                                                                          SELECTIVE NON-CATALYTIC REDUCTION
                                          Capital Recovery Factors
                                          Primary Installation
                                          Interest Rate                      7.0%
                                          Equipment Life                        20 years
                                          CRF                              0.0944

                                          Catalyst Replacement Cost
                                          Catalyst Life                  2 years
                                          CRF                       0.5531
                                                                                      3
                                          Catalyst cost per unit              650 $/ft
                                          Amount Required                       0 ft3
                                          Catalyst Cost                         0 Cost adjusted for freight & sales tax
                                          Installation Labor                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                          Total Installed Cost                  0
                                          Annualized Cost                       0

                                          Replacement Parts & Equipment
                                          Equipment Life                 2
                                          CRF                       0.5531
                                          Rep part cost per unit     33.72 $ each
                                          Amount Required                0 Number
                                          Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                          Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                          Total Installed Cost           0
                                          Annualized Cost                0

                                          Total Cost Replacement Parts & Catalyst                             0

                                          Design Flow           109,000 dscfm             123,864 scfm
                                                                   1200 Temp Deg F
                                                                    12% % Moisture
                                                                382,893 acfm

 Operating Cost Calculations                                                     Utilization Rate                       90.0%
                                                                                 Annual hours of operation:              8,760
                                        Unit        Unit of               Use        Unit of      Annual             Annual    Comments
 Item                                  Cost $      Measure                Rate      Measure        Use*               Cost
 Op Labor                                  25.38 Hr                          0.5 hr/8 hr shift          548             13,896 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                   NA                                                        NA                 NA 15% of Operator Costs
 Maint Labor                                 17.8 Hr                         0.5 hr/8 hr shift          548              9,727 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                                   NA                                                        NA                 NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                               0.047 kW-hr                      452.5 kW-hr               3,567,603         167,392 $/kW-hr, 453 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                          4.24 Mft3                  0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                                0.22 Mgal                  8 gpm                    3,784             845 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                             0.27 Mscf                6.0 scfm               2,831,402             776 $/Mscf, 6.0 scfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Anhydrous Ammonia)                         405 Ton                 0.0 lb/hr                      0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, Ammonia
 Reagent #2 (Urea 50% Solution)                       0.10 Lb                74.8 lb/hr                 589,875          60,812 $/Lb, 74.8 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity
 SW Disposal                                            25 Ton              0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                                            273 Ton              0.000 ton/2-yr period             0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                              1.5 Mgal                  0 gpm                        0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                            3
 Catalyst                                            650 ft                     0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                         33.72 $/bag                  0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
 Uncontrolled Emission Rate
              Emission                    Unit of               Rate     % Max Control Eff.         Emis Rate
               Factor                     Measure               Hrs     Capacity   %                  T/yr     Comments/Notes
                                  0.27 lb/MMBtu                     134 MMBTU/HNA                          145
 Controlled Emission Rate
               Perf                         Unit of             Flow     Unit of Control Eff.       Emis Rate
             Guarantee                      Measure             Rate     Measure     %                T/yr     Comments/Notes
                                                                                    30%                101.50 Basis:8760 hr/yr, 90.0% of capacity
 Emission Reduction T/yr                                                                                    44

                                             Flow acfm      D P in H2O Blower Eff Motor Eff            kW
 Blower                                      382,893              5       0.55      0.9               452.5       OAQPS Cost Cont Manual 5th ed - Eq 3.37
 Blower                                         0                 5       0.55      0.9                0.0        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                             Flow gpm       D P ft H2O Pump Eff   Motor Eff
 Reagent Pump                                  0.13             50         0.8      0.9               0.00        OAQPS Cost Cont Manual 5th ed - Eq 9.49
 Total Electricity                                                                                    452.5

 Ammonia                                       33.1         lb/hr NOx     0.370 lb NH3/lb NOx                         15.7      lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
 Urea 50% Sol'n                                33.1         lb/hr NOx       2.260 lb Urea Sol'n/lb NOx                74.8      lb/hr Urea Sol'n per vendor quote
 Comp Air                                             0.08 scfm per lb/hr Urea                                        6.0

 Density of 50% urea solution                           71 lb/ft3
                                                      9.49 lb/gal


Furnace LNB + SNCR.xls SNCR Lo(e)-Lo(c)                                                                                                                                                      2 of 2
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                                                                            BART ANALYSIS 2004
                                                                    SELECTIVE NON-CATALYTIC REDUCTION
               CAPITAL COSTS
                Direct Capital Costs
                  Purchased Equipment (1)
                    Control Device (A)                                            SNCR equipment                                                           542,291
                    Instrumentation                                            1% of control device cost (A)                                                 5,423
                    Sales Taxes                                              6.0% of control device cost (A)                                                32,537
                    Freight                                                    5% of control device cost (A)                                                27,115
                    Auxiliary equipment (not included in CD cost)              0% of control device cost (A)                                                     0
                  Purchased Equipment Total (B)                             12.0%                                                                          607,366
                   Installation
                     Foundations & supports                                    8% of purchased equip cost (B)                                               48,589
                     Handling, erection                                       14% of purchased equip cost (B)                                               85,031
                     Electrical                                                4% of purchased equip cost (B)                                               24,295
                     Piping                                                    4% of purchased equip cost (B)                                               24,295
                     Insulation                                                1% of purchased equip cost (B)                                                6,074
                     Painting                                                  1% of purchased equip cost (B)                                                6,074
                     Expenses not covered by items listed above                0% of purchased equip cost (B)                                                    0
                     Site Preparation, as required                                Site Specific
                     Buildings, as required                                       Building extention to for additional grate sections
                   Installation Total                                         32%                                                                          194,357
                 Total Direct Capital Cost                                                                                                                 801,723

                 Indirect Capital Costs
                     Engineering, supervision                                 10% of purchased equip cost (B)                                               60,737
                     Construction, field exp.                                  5% of purchased equip cost (B)                                               30,368
                     Construction fee                                         10% of purchased equip cost (B)                                               60,737
                     Startup                                                   2% of purchased equip cost (B)                                               12,147

                     Tests                                                     1% of purchased equip cost (B)                                                6,074
                     Contingencies                                             3% of purchased equip cost (B)                                               18,221
                Total Indirect Capital Costs                                  31%                                                                          188,283
               Total Capital Investment (TCI)                                                                                                              990,006
                     Replacement Parts Cost & Installation Labor                 0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      990,006
               Total Annualized Capital Costs                                                                                                               93,450
                                                                                                                                                  1.8256
               OPERATING COSTS
                 Direct Operating Costs
                     Operating Labor                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                    13,896
                     Supervisor                                              15% of oper labor costs                                                         2,084
                     Maintenance Labor                                      17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     9,727
                     Maintenance Materials                                  100% of maint labor costs                                                        9,727
                     Utilities, Reagents, Waste Management & Replacements
                          Electricity                                         0.05 $/kW-hr, 453 kW-hr, 8760 hr/yr, 90.0% of capacity                       167,392
                          Natural Gas (Fuel)                                   NA                                                                                -
                          Water                                               0.22 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity                              845
                          Compressed Air                                      0.27 $/Mscf, 6.0 scfm, 8760 hr/yr, 90.0% of capacity                             776
                          Reagent #1(Anhydrous Ammonia)                        NA                                                                                -
                          Reagent #2 (Urea 50% Solution)                      0.10 $/Lb, 74.8 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity         60,812
                          Solid Waste Disposal                                 NA                                                                                -
                          Hazardous Waste Disposal                             NA                                                                                -
                          Wastewater Treatment                                 NA                                                                                -
                         Catalyst                                              NA                                                                                -
                         Replacement Parts                                     NA                                                                                -
                 Total Annual Direct Operating Costs                                                                                                       265,260

                 Indirect Operating Costs
                     Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                             21,261
                     Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                               9,900
                     Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                               9,900
                     Administration (2% total capital costs)                   2% of total capital costs (TCI)                                              19,800
                 Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                          154,311

               Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                419,570
               Pollutant Removed (tons/yr)                                                                                                                      44
               Cost per ton of NOx Removed                                                                                                                   9,645




Furnace LNB + SNCR.xls SNCR Lo(e)-Hi(c)                                                                                                                              1 of 2
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                                                                                  BART ANALYSIS 2004
                                                                          SELECTIVE NON-CATALYTIC REDUCTION
                                          Capital Recovery Factors
                                          Primary Installation
                                          Interest Rate                      7.0%
                                          Equipment Life                        20 years
                                          CRF                              0.0944

                                          Catalyst Replacement Cost
                                          Catalyst Life                  2 years
                                          CRF                       0.5531
                                                                                      3
                                          Catalyst cost per unit              650 $/ft
                                          Amount Required                       0 ft3
                                          Catalyst Cost                         0 Cost adjusted for freight & sales tax
                                          Installation Labor                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                          Total Installed Cost                  0
                                          Annualized Cost                       0

                                          Replacement Parts & Equipment
                                          Equipment Life                 2
                                          CRF                       0.5531
                                          Rep part cost per unit     33.72 $ each
                                          Amount Required                0 Number
                                          Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                          Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                          Total Installed Cost           0
                                          Annualized Cost                0

                                          Total Cost Replacement Parts & Catalyst                             0

                                          Design Flow           109,000 dscfm             123,864 scfm
                                                                   1200 Temp Deg F
                                                                    12% % Moisture
                                                                382,893 acfm

 Operating Cost Calculations                                                     Utilization Rate                       90.0%
                                                                                 Annual hours of operation:              8,760
                                        Unit        Unit of               Use        Unit of      Annual             Annual    Comments
 Item                                  Cost $      Measure                Rate      Measure        Use*               Cost
 Op Labor                                  25.38 Hr                          0.5 hr/8 hr shift          548             13,896 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                   NA                                                        NA                 NA 15% of Operator Costs
 Maint Labor                                 17.8 Hr                         0.5 hr/8 hr shift          548              9,727 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                                   NA                                                        NA                 NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                               0.047 kW-hr                      452.5 kW-hr               3,567,603         167,392 $/kW-hr, 453 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                          4.24 Mft3                  0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                                0.22 Mgal                  8 gpm                    3,784             845 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                             0.27 Mscf                6.0 scfm               2,831,402             776 $/Mscf, 6.0 scfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Anhydrous Ammonia)                         405 Ton                 0.0 lb/hr                      0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, Ammonia
 Reagent #2 (Urea 50% Solution)                       0.10 Lb                74.8 lb/hr                 589,875          60,812 $/Lb, 74.8 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity
 SW Disposal                                            25 Ton              0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                                            273 Ton              0.000 ton/2-yr period             0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                              1.5 Mgal                  0 gpm                        0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                            3
 Catalyst                                            650 ft                     0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                         33.72 $/bag                  0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
 Uncontrolled Emission Rate
              Emission                    Unit of               Rate     % Max Control Eff.         Emis Rate
               Factor                     Measure               Hrs     Capacity   %                  T/yr     Comments/Notes
                                  0.27 lb/MMBtu                     134 MMBTU/HNA                          145
 Controlled Emission Rate
               Perf                         Unit of             Flow     Unit of Control Eff.       Emis Rate
             Guarantee                      Measure             Rate     Measure     %                T/yr     Comments/Notes
                                                                                    30%                101.50 Basis:8760 hr/yr, 90.0% of capacity
 Emission Reduction T/yr                                                                                    44

                                             Flow acfm      D P in H2O Blower Eff Motor Eff            kW
 Blower                                      382,893              5       0.55      0.9               452.5       OAQPS Cost Cont Manual 5th ed - Eq 3.37
 Blower                                         0                 5       0.55      0.9                0.0        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                             Flow gpm       D P ft H2O Pump Eff   Motor Eff
 Reagent Pump                                  0.13             50         0.8      0.9               0.00        OAQPS Cost Cont Manual 5th ed - Eq 9.49
 Total Electricity                                                                                    452.5

 Ammonia                                       33.1         lb/hr NOx     0.370 lb NH3/lb NOx                         15.7      lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
 Urea 50% Sol'n                                33.1         lb/hr NOx       2.260 lb Urea Sol'n/lb NOx                74.8      lb/hr Urea Sol'n per vendor quote
 Comp Air                                             0.08 scfm per lb/hr Urea                                        6.0

 Density of 50% urea solution                           71 lb/ft3
                                                      9.49 lb/gal


Furnace LNB + SNCR.xls SNCR Lo(e)-Hi(c)                                                                                                                                                      2 of 2
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                                                                            BART ANALYSIS 2004
                                                                    SELECTIVE NON-CATALYTIC REDUCTION
               CAPITAL COSTS
                Direct Capital Costs
                  Purchased Equipment (1)
                    Control Device (A)                                            SNCR equipment                                                           148,122
                    Instrumentation                                            1% of control device cost (A)                                                 1,481
                    Sales Taxes                                              6.0% of control device cost (A)                                                 8,887
                    Freight                                                    5% of control device cost (A)                                                 7,406
                    Auxiliary equipment (not included in CD cost)              0% of control device cost (A)                                                     0
                  Purchased Equipment Total (B)                             12.0%                                                                          165,897
                   Installation
                     Foundations & supports                                    8% of purchased equip cost (B)                                               13,272
                     Handling, erection                                       14% of purchased equip cost (B)                                               23,226
                     Electrical                                                4% of purchased equip cost (B)                                                6,636
                     Piping                                                    4% of purchased equip cost (B)                                                6,636
                     Insulation                                                1% of purchased equip cost (B)                                                1,659
                     Painting                                                  1% of purchased equip cost (B)                                                1,659
                     Expenses not covered by items listed above                0% of purchased equip cost (B)                                                    0
                     Site Preparation, as required                                Site Specific
                     Buildings, as required                                       Building extention to for additional grate sections
                   Installation Total                                         32%                                                                           53,087
                 Total Direct Capital Cost                                                                                                                 218,984

                 Indirect Capital Costs
                     Engineering, supervision                                 10% of purchased equip cost (B)                                               16,590
                     Construction, field exp.                                  5% of purchased equip cost (B)                                                8,295
                     Construction fee                                         10% of purchased equip cost (B)                                               16,590
                     Startup                                                   2% of purchased equip cost (B)                                                3,318

                     Tests                                                     1% of purchased equip cost (B)                                                1,659
                     Contingencies                                             3% of purchased equip cost (B)                                                4,977
                Total Indirect Capital Costs                                  31%                                                                           51,428
               Total Capital Investment (TCI)                                                                                                              270,412
                     Replacement Parts Cost & Installation Labor                 0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      270,412
               Total Annualized Capital Costs                                                                                                               25,525
                                                                                                                                                  1.8256
               OPERATING COSTS
                 Direct Operating Costs
                     Operating Labor                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                    13,896
                     Supervisor                                              15% of oper labor costs                                                         2,084
                     Maintenance Labor                                      17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     9,727
                     Maintenance Materials                                  100% of maint labor costs                                                        9,727
                     Utilities, Reagents, Waste Management & Replacements
                          Electricity                                         0.05 $/kW-hr, 453 kW-hr, 8760 hr/yr, 90.0% of capacity                       167,392
                          Natural Gas (Fuel)                                   NA                                                                                -
                          Water                                               0.22 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity                              845
                          Compressed Air                                      0.27 $/Mscf, 6.0 scfm, 8760 hr/yr, 90.0% of capacity                             776
                          Reagent #1(Anhydrous Ammonia)                        NA                                                                                -
                          Reagent #2 (Urea 50% Solution)                      0.10 $/Lb, 74.8 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity         60,812
                          Solid Waste Disposal                                 NA                                                                                -
                          Hazardous Waste Disposal                             NA                                                                                -
                          Wastewater Treatment                                 NA                                                                                -
                         Catalyst                                              NA                                                                                -
                         Replacement Parts                                     NA                                                                                -
                 Total Annual Direct Operating Costs                                                                                                       265,260

                 Indirect Operating Costs
                     Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                             21,261
                     Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                               2,704
                     Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                               2,704
                     Administration (2% total capital costs)                   2% of total capital costs (TCI)                                               5,408
                 Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                           57,602

               Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                322,862
               Pollutant Removed (tons/yr)                                                                                                                      73
               Cost per ton of NOx Removed                                                                                                                   4,453




Furnace LNB + SNCR.xls SNCR Hi(e)-Lo(c)                                                                                                                              1 of 2
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                                                                                  BART ANALYSIS 2004
                                                                          SELECTIVE NON-CATALYTIC REDUCTION
                                          Capital Recovery Factors
                                          Primary Installation
                                          Interest Rate                      7.0%
                                          Equipment Life                        20 years
                                          CRF                              0.0944

                                          Catalyst Replacement Cost
                                          Catalyst Life                  2 years
                                          CRF                       0.5531
                                                                                      3
                                          Catalyst cost per unit              650 $/ft
                                          Amount Required                       0 ft3
                                          Catalyst Cost                         0 Cost adjusted for freight & sales tax
                                          Installation Labor                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                          Total Installed Cost                  0
                                          Annualized Cost                       0

                                          Replacement Parts & Equipment
                                          Equipment Life                 2
                                          CRF                       0.5531
                                          Rep part cost per unit     33.72 $ each
                                          Amount Required                0 Number
                                          Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                          Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                          Total Installed Cost           0
                                          Annualized Cost                0

                                          Total Cost Replacement Parts & Catalyst                             0

                                          Design Flow           109,000 dscfm             123,864 scfm
                                                                   1200 Temp Deg F
                                                                    12% % Moisture
                                                                382,893 acfm

 Operating Cost Calculations                                                     Utilization Rate                       90.0%
                                                                                 Annual hours of operation:              8,760
                                        Unit        Unit of               Use        Unit of      Annual             Annual    Comments
 Item                                  Cost $      Measure                Rate      Measure        Use*               Cost
 Op Labor                                  25.38 Hr                          0.5 hr/8 hr shift          548             13,896 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                   NA                                                        NA                 NA 15% of Operator Costs
 Maint Labor                                 17.8 Hr                         0.5 hr/8 hr shift          548              9,727 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                                   NA                                                        NA                 NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                               0.047 kW-hr                      452.5 kW-hr               3,567,603         167,392 $/kW-hr, 453 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                          4.24 Mft3                  0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                                0.22 Mgal                  8 gpm                    3,784             845 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                             0.27 Mscf                6.0 scfm               2,831,402             776 $/Mscf, 6.0 scfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Anhydrous Ammonia)                         405 Ton                 0.0 lb/hr                      0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, Ammonia
 Reagent #2 (Urea 50% Solution)                       0.10 Lb                74.8 lb/hr                 589,875          60,812 $/Lb, 74.8 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity
 SW Disposal                                            25 Ton              0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                                            273 Ton              0.000 ton/2-yr period             0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                              1.5 Mgal                  0 gpm                        0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                            3
 Catalyst                                            650 ft                     0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                         33.72 $/bag                  0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
 Uncontrolled Emission Rate
              Emission                    Unit of               Rate     % Max Control Eff.         Emis Rate
               Factor                     Measure               Hrs     Capacity   %                  T/yr     Comments/Notes
                                  0.27 lb/MMBtu                     134 MMBTU/HNA                          145
 Controlled Emission Rate
               Perf                         Unit of             Flow     Unit of Control Eff.       Emis Rate
             Guarantee                      Measure             Rate     Measure     %                T/yr      Comments/Notes
                                                                                    50%                  72.50 Basis:8760 hr/yr, 90.0% of capacity
 Emission Reduction T/yr                                                                                     73

                                             Flow acfm      D P in H2O Blower Eff Motor Eff            kW
 Blower                                      382,893              5       0.55      0.9               452.5       OAQPS Cost Cont Manual 5th ed - Eq 3.37
 Blower                                         0                 5       0.55      0.9                0.0        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                             Flow gpm       D P ft H2O Pump Eff   Motor Eff
 Reagent Pump                                  0.13             50         0.8      0.9               0.00        OAQPS Cost Cont Manual 5th ed - Eq 9.49
 Total Electricity                                                                                    452.5

 Ammonia                                       33.1         lb/hr NOx     0.370 lb NH3/lb NOx                         15.7      lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
 Urea 50% Sol'n                                33.1         lb/hr NOx       2.260 lb Urea Sol'n/lb NOx                74.8      lb/hr Urea Sol'n per vendor quote
 Comp Air                                             0.08 scfm per lb/hr Urea                                        6.0

 Density of 50% urea solution                           71 lb/ft3
                                                      9.49 lb/gal


Furnace LNB + SNCR.xls SNCR Hi(e)-Lo(c)                                                                                                                                                      2 of 2
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                                                                            BART ANALYSIS 2004
                                                                    SELECTIVE NON-CATALYTIC REDUCTION
               CAPITAL COSTS
                Direct Capital Costs
                  Purchased Equipment (1)
                    Control Device (A)                                            SNCR equipment                                                           542,291
                    Instrumentation                                            1% of control device cost (A)                                                 5,423
                    Sales Taxes                                              6.0% of control device cost (A)                                                32,537
                    Freight                                                    5% of control device cost (A)                                                27,115
                    Auxiliary equipment (not included in CD cost)              0% of control device cost (A)                                                     0
                  Purchased Equipment Total (B)                             12.0%                                                                          607,366
                    Installation
                     Foundations & supports                                    8% of purchased equip cost (B)                                               48,589
                     Handling, erection                                       14% of purchased equip cost (B)                                               85,031
                     Electrical                                                4% of purchased equip cost (B)                                               24,295
                     Piping                                                    4% of purchased equip cost (B)                                               24,295
                     Insulation                                                1% of purchased equip cost (B)                                                6,074
                     Painting                                                  1% of purchased equip cost (B)                                                6,074
                     Expenses not covered by items listed above                0% of purchased equip cost (B)                                                    0
                     Site Preparation, as required                                Site Specific
                     Buildings, as required                                       Building extention to for additional grate sections
                   Installation Total                                         32%                                                                          194,357
                 Total Direct Capital Cost                                                                                                                 801,723

                 Indirect Capital Costs
                     Engineering, supervision                                 10% of purchased equip cost (B)                                               60,737
                     Construction, field exp.                                  5% of purchased equip cost (B)                                               30,368
                     Construction fee                                         10% of purchased equip cost (B)                                               60,737
                     Startup                                                   2% of purchased equip cost (B)                                               12,147

                     Tests                                                     1% of purchased equip cost (B)                                                6,074
                     Contingencies                                             3% of purchased equip cost (B)                                               18,221
                Total Indirect Capital Costs                                  31%                                                                          188,283
               Total Capital Investment (TCI)                                                                                                              990,006
                     Replacement Parts Cost & Installation Labor                 0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      990,006
               Total Annualized Capital Costs                                                                                                               93,450
                                                                                                                                                  1.8256
               OPERATING COSTS
                 Direct Operating Costs
                     Operating Labor                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                    13,896
                     Supervisor                                              15% of oper labor costs                                                         2,084
                     Maintenance Labor                                      17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     9,727
                     Maintenance Materials                                  100% of maint labor costs                                                        9,727
                     Utilities, Reagents, Waste Management & Replacements
                          Electricity                                         0.05 $/kW-hr, 453 kW-hr, 8760 hr/yr, 90.0% of capacity                       167,392
                          Natural Gas (Fuel)                                   NA                                                                                -
                          Water                                               0.22 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity                              845
                          Compressed Air                                      0.27 $/Mscf, 6.0 scfm, 8760 hr/yr, 90.0% of capacity                             776
                          Reagent #1(Anhydrous Ammonia)                        NA                                                                                -
                          Reagent #2 (Urea 50% Solution)                      0.10 $/Lb, 74.8 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity         60,812
                          Solid Waste Disposal                                 NA                                                                                -
                          Hazardous Waste Disposal                             NA                                                                                -
                          Wastewater Treatment                                 NA                                                                                -
                         Catalyst                                              NA                                                                                -
                         Replacement Parts                                     NA                                                                                -
                 Total Annual Direct Operating Costs                                                                                                       265,260

                 Indirect Operating Costs
                     Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                             21,261
                     Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                               9,900
                     Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                               9,900
                     Administration (2% total capital costs)                   2% of total capital costs (TCI)                                              19,800
                 Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                          154,311

               Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                419,570
               Pollutant Removed (tons/yr)                                                                                                                      73
               Cost per ton of NOx Removed                                                                                                                   5,787




Furnace LNB + SNCR.xls SNCR Hi(e)-Hi(c)                                                                                                                              1 of 2
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                                                                                  BART ANALYSIS 2004
                                                                          SELECTIVE NON-CATALYTIC REDUCTION
                                          Capital Recovery Factors
                                          Primary Installation
                                          Interest Rate                      7.0%
                                          Equipment Life                        20 years
                                          CRF                              0.0944

                                          Catalyst Replacement Cost
                                          Catalyst Life                  2 years
                                          CRF                       0.5531
                                                                                      3
                                          Catalyst cost per unit              650 $/ft
                                          Amount Required                       0 ft3
                                          Catalyst Cost                         0 Cost adjusted for freight & sales tax
                                          Installation Labor                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                          Total Installed Cost                  0
                                          Annualized Cost                       0

                                          Replacement Parts & Equipment
                                          Equipment Life                 2
                                          CRF                       0.5531
                                          Rep part cost per unit     33.72 $ each
                                          Amount Required                0 Number
                                          Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                          Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                          Total Installed Cost           0
                                          Annualized Cost                0

                                          Total Cost Replacement Parts & Catalyst                             0

                                          Design Flow           109,000 dscfm             123,864 scfm
                                                                   1200 Temp Deg F
                                                                    12% % Moisture
                                                                382,893 acfm

 Operating Cost Calculations                                                     Utilization Rate                       90.0%
                                                                                 Annual hours of operation:              8,760
                                        Unit        Unit of               Use        Unit of      Annual             Annual    Comments
 Item                                  Cost $      Measure                Rate      Measure        Use*               Cost
 Op Labor                                  25.38 Hr                          0.5 hr/8 hr shift          548             13,896 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                   NA                                                        NA                 NA 15% of Operator Costs
 Maint Labor                                 17.8 Hr                         0.5 hr/8 hr shift          548              9,727 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                                   NA                                                        NA                 NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                               0.047 kW-hr                      452.5 kW-hr               3,567,603         167,392 $/kW-hr, 453 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                          4.24 Mft3                  0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                                0.22 Mgal                  8 gpm                    3,784             845 $/Mgal, 8.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                             0.27 Mscf                6.0 scfm               2,831,402             776 $/Mscf, 6.0 scfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Anhydrous Ammonia)                         405 Ton                 0.0 lb/hr                      0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, Ammonia
 Reagent #2 (Urea 50% Solution)                       0.10 Lb                74.8 lb/hr                 589,875          60,812 $/Lb, 74.8 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.,90.0%of capacity
 SW Disposal                                            25 Ton              0.000 ton/hr                      0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                                            273 Ton              0.000 ton/2-yr period             0               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                                              1.5 Mgal                  0 gpm                        0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                            3
 Catalyst                                            650 ft                     0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                         33.72 $/bag                  0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
 Uncontrolled Emission Rate
              Emission                     Unit of              Rate     % Max Control Eff.         Emis Rate
               Factor                      Measure              Hrs     Capacity   %                  T/yr     Comments/Notes
                                   0.27 lb/MMBtu                    134 MMBTU/HNA                          145
 Controlled Emission Rate
               Perf                         Unit of             Flow     Unit of Control Eff.       Emis Rate
             Guarantee                      Measure             Rate     Measure     %                T/yr      Comments/Notes
                                                                                    50%                  72.50 Basis:8760 hr/yr, 90.0% of capacity
 Emission Reduction T/yr                                                                                     73

                                             Flow acfm      D P in H2O Blower Eff Motor Eff            kW
 Blower                                      382,893              5       0.55      0.9               452.5       OAQPS Cost Cont Manual 5th ed - Eq 3.37
 Blower                                         0                 5       0.55      0.9                0.0        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                             Flow gpm       D P ft H2O Pump Eff   Motor Eff
 Reagent Pump                                  0.13             50         0.8      0.9               0.00        OAQPS Cost Cont Manual 5th ed - Eq 9.49
 Total Electricity                                                                                    452.5

 Ammonia                                       33.1         lb/hr NOx     0.370 lb NH3/lb NOx                         15.7      lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
 Urea 50% Sol'n                                33.1         lb/hr NOx       2.260 lb Urea Sol'n/lb NOx                74.8      lb/hr Urea Sol'n per vendor quote
 Comp Air                                             0.08 scfm per lb/hr Urea                                        6.0

 Density of 50% urea solution                           71 lb/ft3
                                                      9.49 lb/gal


Furnace LNB + SNCR.xls SNCR Hi(e)-Hi(c)                                                                                                                                                      2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                       210,685
                Instrumentation                                           10% of control device cost (A)                                                  21,068
                Sales Taxes                                              6.0% of control device cost (A)                                                  12,641
                Freight                                                    5% of control device cost (A)                                                  10,534
                 Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                       0
               Purchased Equipment Total (B)                            21.0%                                                                            254,929
               Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                 20,394
                 Handling, erection                                       14% of purchased equip cost (B)                                                 35,690
                 Electrical                                                4% of purchased equip cost (B)                                                 10,197
                 Piping                                                    4% of purchased equip cost (B)                                                 10,197
                 Insulation                                                1% of purchased equip cost (B)                                                  2,549
                 Painting                                                  1% of purchased equip cost (B)                                                  2,549
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                      0
                 Site Preparation, as required                                Site Specific                                                              NA
                 Buildings, as required                                       Site Specific                                                              NA
               Installation Total                                         32%                                                                             81,577
             Total Direct Capital Cost                                                                                                                   336,506

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                 25,493
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                 12,746
                 Construction fee                                         10% of purchased equip cost (B)                                                 25,493
                 Startup                                                   2% of purchased equip cost (B)                                                  5,099

                 Tests                                                     1% of purchased equip cost (B)                                                   2,549
                 Contingencies                                             3% of purchased equip cost (B)                                                   7,648
            Total Indirect Capital Costs                                  31%                                                                              79,028
           Total Capital Investment (TCI)                                                                                                                 415,534
                 Replacement Parts Cost & Installation Labor        1,037,702 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%         -622,168
           Total Annualized Capital Costs                                                                                                                 -58,728

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                 Supervisor                                               15% of oper labor costs                                                          1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                 Maintenance Materials                                   100% of maint labor costs                                                         8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity                       381,652
                      Natural Gas (Fuel)                                   NA                                                                                  -
                      Water                                                NA                                                                                  -
                      Compressed Air                                       NA                                                                                  -
                      Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia                                     21,587
                      Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                      Solid Waste Disposal                               25.38 $/Ton, 51.4 ton/yr                                                          1,305
                      Hazardous Waste Disposal                             NA                                                                                  -
                      Wastewater Treatment                                 NA                                                                                  -
                     Catalyst                                           159.11 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity                       573,945
                     Replacement Parts                                     NA                                                                                   -
             Total Annual Direct Operating Costs                                                                                                        1,010,380

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                  4,155
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                  4,155
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                  8,311
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                             -22,972

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            987,408
           Pollutant Removed (tons/yr)                                                                                                                       102
           Cost per ton of NOx Removed                                                                                                                     9,728




Furnace SCR.xlsSCR Lo(e)-Lo(c)                                                                                                                                      1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 102.8              2         51.4
                                                    Amount Required                 5875.7 ft3
                                                    Catalyst Cost                1,037,702 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,037,702
                                                    Annualized Cost                573,945

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,037,702

                                                    Design Flow       109,000 dscfm                  123,864 scfm
                                                                         1200 Temp Deg F
                                                                          12% % Moisture
                                                                      382,893 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1031.7 kW-hr               8,134,107           381,652 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 14.5 lb/hr                    105,005          21,587 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 51.4 ton/yr                        51           1,305 $/Ton, 51.4 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               5875.7 ft3                 2              573,945 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                          0.275 lb/MMBtu                  134 MMBTU/HR NA                           145
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  70%            43.50 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  102

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      382,893         11.4        0.55            0.9          1031.7        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.02           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1031.7

           Ammonia                                       29.8       lb/hr NOx     0.370      lb NH3/lb NOx                        14.5        lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                                33.1       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 56.1        lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       382,893
           Vol #2                                          5875.7 ft3




Furnace SCR.xlsSCR Lo(e)-Lo(c)                                                                                                                                                                      2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                      1,755,595
                Instrumentation                                           10% of control device cost (A)                                                  175,559
                Sales Taxes                                              6.0% of control device cost (A)                                                  105,336
                Freight                                                    5% of control device cost (A)                                                   87,780
                 Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                        0
               Purchased Equipment Total (B)                            21.0%                                                                           2,124,270
               Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                 169,942
                 Handling, erection                                       14% of purchased equip cost (B)                                                 297,398
                 Electrical                                                4% of purchased equip cost (B)                                                  84,971
                 Piping                                                    4% of purchased equip cost (B)                                                  84,971
                 Insulation                                                1% of purchased equip cost (B)                                                  21,243
                 Painting                                                  1% of purchased equip cost (B)                                                  21,243
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                       0
                 Site Preparation, as required                                Site Specific                                                              NA
                 Buildings, as required                                       Site Specific                                                              NA
               Installation Total                                         32%                                                                             679,766
             Total Direct Capital Cost                                                                                                                  2,804,036

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                212,427
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                106,213
                 Construction fee                                         10% of purchased equip cost (B)                                                212,427
                 Startup                                                   2% of purchased equip cost (B)                                                 42,485

                 Tests                                                     1% of purchased equip cost (B)                                                  21,243
                 Contingencies                                             3% of purchased equip cost (B)                                                  63,728
            Total Indirect Capital Costs                                  31%                                                                             658,524
           Total Capital Investment (TCI)                                                                                                               3,462,560
                 Replacement Parts Cost & Installation Labor        1,037,702 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        2,424,858
           Total Annualized Capital Costs                                                                                                                 228,889

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                 Supervisor                                               15% of oper labor costs                                                          1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                 Maintenance Materials                                   100% of maint labor costs                                                         8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity                       381,652
                      Natural Gas (Fuel)                                   NA                                                                                  -
                      Water                                                NA                                                                                  -
                      Compressed Air                                       NA                                                                                  -
                      Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia                                     21,587
                      Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                      Solid Waste Disposal                               25.38 $/Ton, 51.4 ton/yr                                                          1,305
                      Hazardous Waste Disposal                             NA                                                                                  -
                      Wastewater Treatment                                 NA                                                                                  -
                     Catalyst                                           159.11 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity                       573,945
                     Replacement Parts                                     NA                                                                                   -
             Total Annual Direct Operating Costs                                                                                                        1,010,380

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                               19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                34,626
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                34,626
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                69,251
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            386,527

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                           1,396,907
           Pollutant Removed (tons/yr)                                                                                                                        102
           Cost per ton of NOx Removed                                                                                                                     13,762




Furnace SCR.xlsSCR Lo(e)-Hi(c)                                                                                                                                      1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 102.8              2         51.4
                                                    Amount Required                 5875.7 ft3
                                                    Catalyst Cost                1,037,702 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,037,702
                                                    Annualized Cost                573,945

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,037,702

                                                    Design Flow       109,000 dscfm                  123,864 scfm
                                                                         1200 Temp Deg F
                                                                          12% % Moisture
                                                                      382,893 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1031.7 kW-hr               8,134,107           381,652 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 14.5 lb/hr                    105,005          21,587 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 51.4 ton/yr                        51           1,305 $/Ton, 51.4 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               5875.7 ft3                 2              573,945 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                          0.275 lb/MMBtu                  134 MMBTU/HR NA                           145
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  70%            43.50 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  102

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      382,893         11.4        0.55            0.9          1031.7        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.02           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1031.7

           Ammonia                                       29.8       lb/hr NOx     0.370      lb NH3/lb NOx                        14.5        lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                                33.1       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 56.1        lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       382,893
           Vol #2                                          5875.7 ft3




Furnace SCR.xlsSCR Lo(e)-Hi(c)                                                                                                                                                                      2 of 2
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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                       210,685
                Instrumentation                                           10% of control device cost (A)                                                  21,068
                Sales Taxes                                              6.0% of control device cost (A)                                                  12,641
                Freight                                                    5% of control device cost (A)                                                  10,534
                 Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                       0
               Purchased Equipment Total (B)                            21.0%                                                                            254,929
               Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                 20,394
                 Handling, erection                                       14% of purchased equip cost (B)                                                 35,690
                 Electrical                                                4% of purchased equip cost (B)                                                 10,197
                 Piping                                                    4% of purchased equip cost (B)                                                 10,197
                 Insulation                                                1% of purchased equip cost (B)                                                  2,549
                 Painting                                                  1% of purchased equip cost (B)                                                  2,549
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                      0
                 Site Preparation, as required                                Site Specific                                                              NA
                 Buildings, as required                                       Site Specific                                                              NA
               Installation Total                                         32%                                                                             81,577
             Total Direct Capital Cost                                                                                                                   336,506

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                 25,493
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                 12,746
                 Construction fee                                         10% of purchased equip cost (B)                                                 25,493
                 Startup                                                   2% of purchased equip cost (B)                                                  5,099

                 Tests                                                     1% of purchased equip cost (B)                                                   2,549
                 Contingencies                                             3% of purchased equip cost (B)                                                   7,648
            Total Indirect Capital Costs                                  31%                                                                              79,028
           Total Capital Investment (TCI)                                                                                                                 415,534
                 Replacement Parts Cost & Installation Labor        1,037,702 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%         -622,168
           Total Annualized Capital Costs                                                                                                                 -58,728

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                 Supervisor                                               15% of oper labor costs                                                          1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                 Maintenance Materials                                   100% of maint labor costs                                                         8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity                       381,652
                      Natural Gas (Fuel)                                   NA                                                                                  -
                      Water                                                NA                                                                                  -
                      Compressed Air                                       NA                                                                                  -
                      Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia                                     21,587
                      Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                      Solid Waste Disposal                               25.38 $/Ton, 51.4 ton/yr                                                          1,305
                      Hazardous Waste Disposal                             NA                                                                                  -
                      Wastewater Treatment                                 NA                                                                                  -
                     Catalyst                                           159.11 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity                       573,945
                     Replacement Parts                                     NA                                                                                   -
             Total Annual Direct Operating Costs                                                                                                        1,010,380

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                  4,155
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                  4,155
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                  8,311
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                             -22,972

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            987,408
           Pollutant Removed (tons/yr)                                                                                                                       131
           Cost per ton of NOx Removed                                                                                                                     7,566




Furnace SCR.xlsSCR Hi(e)-Lo(c)                                                                                                                                      1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 102.8              2         51.4
                                                    Amount Required                 5875.7 ft3
                                                    Catalyst Cost                1,037,702 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,037,702
                                                    Annualized Cost                573,945

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,037,702

                                                    Design Flow       109,000 dscfm                  123,864 scfm
                                                                         1200 Temp Deg F
                                                                          12% % Moisture
                                                                      382,893 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1031.7 kW-hr               8,134,107           381,652 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 14.5 lb/hr                    105,005          21,587 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 51.4 ton/yr                        51           1,305 $/Ton, 51.4 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               5875.7 ft3                 2              573,945 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                          0.275 lb/MMBtu                  134 MMBTU/HR NA                           145
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  90%            14.50 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  131

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      382,893         11.4        0.55            0.9          1031.7        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.02           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1031.7

           Ammonia                                       29.8       lb/hr NOx     0.370      lb NH3/lb NOx                        14.5        lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                                33.1       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 56.1        lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       382,893
           Vol #2                                          5875.7 ft3




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                                                                                BART ANALYSIS 2004
                                                                          SELECTIVE CATALYTIC REDUCTION
           CAPITAL COSTS
            Direct Capital Costs
              Purchased Equipment (1)
                Control Device (A)                                                                                                                      1,755,595
                Instrumentation                                           10% of control device cost (A)                                                  175,559
                Sales Taxes                                              6.0% of control device cost (A)                                                  105,336
                Freight                                                    5% of control device cost (A)                                                   87,780
                 Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                        0
               Purchased Equipment Total (B)                            21.0%                                                                           2,124,270
               Installation
                 Foundations & supports                                    8% of purchased equip cost (B)                                                 169,942
                 Handling, erection                                       14% of purchased equip cost (B)                                                 297,398
                 Electrical                                                4% of purchased equip cost (B)                                                  84,971
                 Piping                                                    4% of purchased equip cost (B)                                                  84,971
                 Insulation                                                1% of purchased equip cost (B)                                                  21,243
                 Painting                                                  1% of purchased equip cost (B)                                                  21,243
                 Expenses not covered by items listed above                0% of purchased equip cost (B)                                                       0
                 Site Preparation, as required                                Site Specific                                                              NA
                 Buildings, as required                                       Site Specific                                                              NA
               Installation Total                                         32%                                                                             679,766
             Total Direct Capital Cost                                                                                                                  2,804,036

             Indirect Capital Costs
                 Engineering, supervision                                 10% of purchased equip cost (B)                                                212,427
                 Construction, field exp.                                  5% of purchased equip cost (B)                                                106,213
                 Construction fee                                         10% of purchased equip cost (B)                                                212,427
                 Startup                                                   2% of purchased equip cost (B)                                                 42,485

                 Tests                                                     1% of purchased equip cost (B)                                                  21,243
                 Contingencies                                             3% of purchased equip cost (B)                                                  63,728
            Total Indirect Capital Costs                                  31%                                                                             658,524
           Total Capital Investment (TCI)                                                                                                               3,462,560
                 Replacement Parts Cost & Installation Labor        1,037,702 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        2,424,858
           Total Annualized Capital Costs                                                                                                                 228,889

           OPERATING COSTS
             Direct Operating Costs
                 Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                 Supervisor                                               15% of oper labor costs                                                          1,876
                 Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                 Maintenance Materials                                   100% of maint labor costs                                                         8,754
                 Utilities, Reagents, Waste Management & Replacements
                      Electricity                                         0.05 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity                       381,652
                      Natural Gas (Fuel)                                   NA                                                                                  -
                      Water                                                NA                                                                                  -
                      Compressed Air                                       NA                                                                                  -
                      Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia                                     21,587
                      Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                      Solid Waste Disposal                               25.38 $/Ton, 51.4 ton/yr                                                          1,305
                      Hazardous Waste Disposal                             NA                                                                                  -
                      Wastewater Treatment                                 NA                                                                                  -
                     Catalyst                                           159.11 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity                       573,945
                     Replacement Parts                                     NA                                                                                   -
             Total Annual Direct Operating Costs                                                                                                        1,010,380

             Indirect Operating Costs
                 Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                               19,135
                 Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                34,626
                 Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                34,626
                 Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                69,251
             Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            386,527

           Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                           1,396,907
           Pollutant Removed (tons/yr)                                                                                                                        131
           Cost per ton of NOx Removed                                                                                                                     10,704




Furnace SCR.xlsSCR Hi(e)-Hi(c)                                                                                                                                      1 of 2
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                                                                                       BART ANALYSIS 2004
                                                                                 SELECTIVE CATALYTIC REDUCTION
                                                    Capital Recovery Factors
                                                    Primary Installation
                                                    Interest Rate                     7.0%
                                                    Equipment Life                       20 years
                                                    CRF                             0.0944

                                                    Catalyst Replacement Cost
                                                    Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                    CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                    Catalyst cost per unit          159.11 $/ft3                 102.8              2         51.4
                                                    Amount Required                 5875.7 ft3
                                                    Catalyst Cost                1,037,702 Cost adjusted for freight & sales tax
                                                    Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                    Total Installed Cost         1,037,702
                                                    Annualized Cost                573,945

                                                    Replacement Parts & Equipment
                                                    Equipment Life                 2
                                                    CRF                       0.5531
                                                    Rep part cost per unit     33.72 $ each
                                                    Amount Required                0 Number
                                                    Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                    Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                    Total Installed Cost           0
                                                    Annualized Cost                0

                                                    Total Cost Replacement Parts & Catalyst                    1,037,702

                                                    Design Flow       109,000 dscfm                  123,864 scfm
                                                                         1200 Temp Deg F
                                                                          12% % Moisture
                                                                      382,893 acfm

           Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                             Annual hours of operation:               8,760
                                                  Unit      Unit of               Use             Unit of       Annual           Annual    Comments
           Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
           Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
           Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
           Utilities, Reagents, Waste Management & Replacements
           Electricity                               0.047 kW-hr                    1031.7 kW-hr               8,134,107           381,652 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity
           Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
           Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
           Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 14.5 lb/hr                    105,005          21,587 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia
           Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
           SW Disposal                                      25.38 Ton                 51.4 ton/yr                        51           1,305 $/Ton, 51.4 ton/yr
           Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
           WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
           Catalyst                                        159.11 ft3               5875.7 ft3                 2              573,945 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity
           Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
           Uncontrolled Emission Rate
                       Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                         Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                          0.275 lb/MMBtu                  134 MMBTU/HR NA                           145
           Controlled Emission Rate
                         Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                       Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                  90%            14.50 Basis:8760 hr/yr, 90.0% of capacity
           Emission Reduction T/yr                                                                                  131

                                                      Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
           Blower                                      382,893         11.4        0.55            0.9          1031.7        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                       Flow gpm      D P ft H2O Pump Eff         Motor Eff
           Reagent Pump                                  0.02           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

           Total Electricity                                                                                    1031.7

           Ammonia                                       29.8       lb/hr NOx     0.370      lb NH3/lb NOx                        14.5        lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
           Urea 50% Sol'n                                33.1       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 56.1        lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
           Estimating amount of catalyst required
           Vol. #1                                           5513 ft3
           Flow #1                                        359256 acfm
           Flow #2                                       382,893
           Vol #2                                          5875.7 ft3




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                                                                   BART ANALYSIS 2004
                                                                 ULTRA LOW NOX BURNER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Control Device (A)                                                                                                                      166,820
     Instrumentation                                           10% of control device cost (A)                                                 16,682
     Sales Taxes                                               6.0% of control device cost (A)                                                10,009
     Freight                                                     5% of control device cost (A)                                                 8,341
     Auxiliary equipment (not included in CD cost)                 - of control device cost (A)
   Purchased Equipment Total (B)                               21%                                                                           201,853
      Installation
        Foundations & supports                                   4% of purchased equip cost (B)                                                8,074
        Handling, erection                                      50% of purchased equip cost (B)                                              100,926
        Electrical                                               8% of purchased equip cost (B)                                               16,148
        Piping                                                   1% of purchased equip cost (B)                                                2,019
        Insulation                                               7% of purchased equip cost (B)                                               14,130
        Painting                                                 4% of purchased equip cost (B)                                                8,074
        Expenses not covered by items listed above               0% of purchased equip cost (B)                                                    0
        Site Preparation, as required                               Site Specific                                                          NA
        Buildings, as required                                      Site Specific                                                          NA
      Installation Total                                        74%                                                                          149,371
    Total Direct Capital Cost                                                                                                                351,224

    Indirect Capital Costs
        Engineering, supervision                                10% of purchased equip cost (B)                                               20,185
        Construction, field exp.                                20% of purchased equip cost (B)                                               40,371
        Construction fee                                        10% of purchased equip cost (B)                                               20,185
        Startup                                                  1% of purchased equip cost (B)                                                2,019

      Tests                                                      1% of purchased equip cost (B)                                                2,019
      Contingencies                                              3% of purchased equip cost (B)                                                6,056
 Total Indirect Capital Costs                                   45%                                                                           90,834
Total Capital Investment (TCI)                                                                                                               442,057
      Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      442,057
Total Annualized Capital Costs                                                                                                                41,727

OPERATING COSTS
    Direct Operating Costs
        Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   50,025
        Supervisor                                              15% of oper labor costs                                                        7,504
        Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   17,509
        Maintenance Materials                                  100% of maint labor costs                                                      17,509
        Utilities, Reagents, Waste Management & Replacements
             Electricity                                         NA                                                                               -
              Natural Gas (Fuel)                                 NA                                                                               -
             Water                                               NA                                                                                -
             Compressed Air                                     0.25 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity                       12,006
             Reagent #1(Caustic)                                 NA                                                                                -
             Reagent #2                                          NA                                                                                -
             Solid Waste Disposal                                NA                                                                                -
             Hazardous Waste Disposal                            NA                                                                                -
             Wastewater Treatment                                NA                                                                                -
             Catalyst                                            NA                                                                                -
            Replacement Parts                                    NA                                                                                -
    Total Annual Direct Operating Costs                                                                                                      104,553

    Indirect Operating Costs
        Overhead                                                60% of oper, maint & supv labor + maint mtl costs                             55,528
        Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                               4,421
        Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                               4,421
        Administration (2% total capital costs)                  2% of total capital costs (TCI)                                               8,841
    Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                          114,938

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 219,491
Pollutant Removed (tons/yr)                                                                                                                    108.8
Cost per ton of NOx Removed                                                                                                                    2,018

1




Furnace ULNB.xlsULNB Lo(e)                                                                                                                        1 of 2
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                                                                       BART ANALYSIS 2004
                                                                     ULTRA LOW NOX BURNER
                         Capital Recovery Factors
                         Primary Installation
                         Interest Rate                      7.0%
                         Equipment Life                        20 years
                         CRF                              0.0944

                         Catalyst Replacement Cost
                         Catalyst Life                  2 years
                         CRF                       0.5531
                         Catalyst cost per unit              650 $/ft3
                         Amount Required                        0 ft3
                         Catalyst Cost                          0 Cost adjusted for freight & sales tax
                         Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                         Total Installed Cost                   0
                         Annualized Cost                        0

                         Replacement Parts & Equipment
                         Equipment Life                 2 years
                         CRF                       0.5531
                         Rep part cost per unit     33.72 $ each
                         Amount Required                0 Number
                         Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                         Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                         Total Installed Cost           0
                         Annualized Cost                0

                         Total Cost Replacement Parts & Catalyst                              0

                         Design Flow        109,000 dscfm                123,864 scfm
                                               1200 Temp Deg F
                                                12% % Moisture
                                            382,893 acfm


 Operating Cost Calculations                             Annual hours of operation: 8,760
                                                         Utilization rate:           90%
                             Unit       Unit of  Use         Unit of       Annual      Annual     Comments
 Item                       Cost $     Measure   Rate      Measure          Use*         Cost
 Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                        NA                                            NA           NA 15% of Operator Costs
 Maint Labor                    17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                        NA                                            NA           NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                    0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                         4.24 Mft3                  0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                 0.2 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                            0.25 Mscf                100 Mscfm                  47,304         12,006 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                  300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
 Reagent #2                           300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
 SW Disposal                             0 Ton              0.857 ton/hr                  7,509              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                           273 Ton               0.000 ton/hr                      0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                              1.5 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                            3                       3
 Catalyst                             650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                          33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                   Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission           Unit of            Flow    Unit of Control Eff.         Emis Rate
        Factor            Measure            Rate   Measure      %                  T/yr     Comments/Notes
                  0.27 lb/MMBtu                 134 MMBtu/hr    NA                       145
 Controlled Emission Rate
          Perf            Unit of            Flow       Unit of Control Eff.      Emis Rate
      Guarantee           Measure            Rate       Measure     %               T/yr     Comments/Notes
                                                                   75%                 36.25
 Emission Reduction T/yr                                                              108.75


                             Flow acfm     D P in H2O   Blower Eff Motor Eff            kW
 Blower                         0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37


Furnace ULNB.xlsULNB Lo(e)                                                                                                                                            2 of 2
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                                                                   BART ANALYSIS 2004
                                                                 ULTRA LOW NOX BURNER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Control Device (A)                                                                                                                      166,820
     Instrumentation                                           10% of control device cost (A)                                                 16,682
     Sales Taxes                                               6.0% of control device cost (A)                                                10,009
     Freight                                                     5% of control device cost (A)                                                 8,341
     Auxiliary equipment (not included in CD cost)                 - of control device cost (A)
   Purchased Equipment Total (B)                               21%                                                                           201,853
      Installation
        Foundations & supports                                   4% of purchased equip cost (B)                                                8,074
        Handling, erection                                      50% of purchased equip cost (B)                                              100,926
        Electrical                                               8% of purchased equip cost (B)                                               16,148
        Piping                                                   1% of purchased equip cost (B)                                                2,019
        Insulation                                               7% of purchased equip cost (B)                                               14,130
        Painting                                                 4% of purchased equip cost (B)                                                8,074
        Expenses not covered by items listed above               0% of purchased equip cost (B)                                                    0
        Site Preparation, as required                               Site Specific                                                          NA
        Buildings, as required                                      Site Specific                                                          NA
      Installation Total                                        74%                                                                          149,371
    Total Direct Capital Cost                                                                                                                351,224

    Indirect Capital Costs
        Engineering, supervision                                10% of purchased equip cost (B)                                               20,185
        Construction, field exp.                                20% of purchased equip cost (B)                                               40,371
        Construction fee                                        10% of purchased equip cost (B)                                               20,185
        Startup                                                  1% of purchased equip cost (B)                                                2,019

      Tests                                                      1% of purchased equip cost (B)                                                2,019
      Contingencies                                              3% of purchased equip cost (B)                                                6,056
 Total Indirect Capital Costs                                   45%                                                                           90,834
Total Capital Investment (TCI)                                                                                                               442,057
      Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      442,057
Total Annualized Capital Costs                                                                                                                41,727

OPERATING COSTS
    Direct Operating Costs
        Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   50,025
        Supervisor                                              15% of oper labor costs                                                        7,504
        Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   17,509
        Maintenance Materials                                  100% of maint labor costs                                                      17,509
        Utilities, Reagents, Waste Management & Replacements
             Electricity                                         NA                                                                               -
              Natural Gas (Fuel)                                 NA                                                                               -
             Water                                               NA                                                                                -
             Compressed Air                                     0.25 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity                       12,006
             Reagent #1(Caustic)                                 NA                                                                                -
             Reagent #2                                          NA                                                                                -
             Solid Waste Disposal                                NA                                                                                -
             Hazardous Waste Disposal                            NA                                                                                -
             Wastewater Treatment                                NA                                                                                -
             Catalyst                                            NA                                                                                -
            Replacement Parts                                    NA                                                                                -
    Total Annual Direct Operating Costs                                                                                                      104,553

    Indirect Operating Costs
        Overhead                                                60% of oper, maint & supv labor + maint mtl costs                             55,528
        Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                               4,421
        Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                               4,421
        Administration (2% total capital costs)                  2% of total capital costs (TCI)                                               8,841
    Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                          114,938

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 219,491
Pollutant Removed (tons/yr)                                                                                                                    123.3
Cost per ton of NOx Removed                                                                                                                    1,781

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                                                                       BART ANALYSIS 2004
                                                                     ULTRA LOW NOX BURNER
                         Capital Recovery Factors
                         Primary Installation
                         Interest Rate                      7.0%
                         Equipment Life                        20 years
                         CRF                              0.0944

                         Catalyst Replacement Cost
                         Catalyst Life                  2 years
                         CRF                       0.5531
                         Catalyst cost per unit              650 $/ft3
                         Amount Required                        0 ft3
                         Catalyst Cost                          0 Cost adjusted for freight & sales tax
                         Installation Labor                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                         Total Installed Cost                   0
                         Annualized Cost                        0

                         Replacement Parts & Equipment
                         Equipment Life                 2 years
                         CRF                       0.5531
                         Rep part cost per unit     33.72 $ each
                         Amount Required                0 Number
                         Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                         Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                         Total Installed Cost           0
                         Annualized Cost                0

                         Total Cost Replacement Parts & Catalyst                              0

                         Design Flow        109,000 dscfm                123,864 scfm
                                               1200 Temp Deg F
                                                12% % Moisture
                                            382,893 acfm


 Operating Cost Calculations                             Annual hours of operation: 8,760
                                                         Utilization rate:           90%
                             Unit       Unit of  Use         Unit of       Annual      Annual     Comments
 Item                       Cost $     Measure   Rate      Measure          Use*         Cost
 Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                        NA                                            NA           NA 15% of Operator Costs
 Maint Labor                    17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                        NA                                            NA           NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                    0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                         4.24 Mft3                  0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                 0.2 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                            0.25 Mscf                100 Mscfm                  47,304         12,006 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                  300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
 Reagent #2                           300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
 SW Disposal                             0 Ton              0.857 ton/hr                  7,509              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                           273 Ton               0.000 ton/hr                      0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                              1.5 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                            3                       3
 Catalyst                             650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                          33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                   Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission           Unit of            Flow    Unit of Control Eff.         Emis Rate
        Factor            Measure            Rate   Measure      %                  T/yr     Comments/Notes
                  0.27 lb/MMBtu                 134 MMBtu/hr    NA                       145
 Controlled Emission Rate
          Perf            Unit of            Flow       Unit of Control Eff.      Emis Rate
      Guarantee           Measure            Rate       Measure     %               T/yr     Comments/Notes
                                                                   85%                 21.75
 Emission Reduction T/yr                                                              123.25


                             Flow acfm     D P in H2O   Blower Eff Motor Eff            kW
 Blower                         0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37


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                                                                   BART ANALYSIS 2004
                                                                 ULTRA LOW NOX BURNER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Control Device (A)                                                                                                                      166,820
     Instrumentation                                           10% of control device cost (A)                                                 16,682
     Sales Taxes                                               6.0% of control device cost (A)                                                10,009
     Freight                                                     5% of control device cost (A)                                                 8,341
     Auxiliary equipment (not included in CD cost)                 - of control device cost (A)
   Purchased Equipment Total (B)                               21%                                                                           201,853
      Installation
        Foundations & supports                                   4% of purchased equip cost (B)                                                8,074
        Handling, erection                                      50% of purchased equip cost (B)                                              100,926
        Electrical                                               8% of purchased equip cost (B)                                               16,148
        Piping                                                   1% of purchased equip cost (B)                                                2,019
        Insulation                                               7% of purchased equip cost (B)                                               14,130
        Painting                                                 4% of purchased equip cost (B)                                                8,074
        Expenses not covered by items listed above               0% of purchased equip cost (B)                                                    0
        Site Preparation, as required                               Site Specific                                                          NA
        Buildings, as required                                      Site Specific                                                          NA
      Installation Total                                        74%                                                                          149,371
    Total Direct Capital Cost                                                                                                                351,224

    Indirect Capital Costs
        Engineering, supervision                                10% of purchased equip cost (B)                                               20,185
        Construction, field exp.                                20% of purchased equip cost (B)                                               40,371
        Construction fee                                        10% of purchased equip cost (B)                                               20,185
        Startup                                                  1% of purchased equip cost (B)                                                2,019

      Tests                                                      1% of purchased equip cost (B)                                                2,019
      Contingencies                                              3% of purchased equip cost (B)                                                6,056
 Total Indirect Capital Costs                                   45%                                                                           90,834
Total Capital Investment (TCI)                                                                                                               442,057
      Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      442,057
Total Annualized Capital Costs                                                                                                                41,727

OPERATING COSTS
    Direct Operating Costs
        Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   50,025
        Supervisor                                              15% of oper labor costs                                                        7,504
        Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   17,509
        Maintenance Materials                                  100% of maint labor costs                                                      17,509
        Utilities, Reagents, Waste Management & Replacements
             Electricity                                         NA                                                                               -
              Natural Gas (Fuel)                                 NA                                                                               -
             Water                                               NA                                                                                -
             Compressed Air                                     0.25 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity                       12,006
             Reagent #1(Caustic)                                 NA                                                                                -
             Reagent #2                                          NA                                                                                -
             Solid Waste Disposal                                NA                                                                                -
             Hazardous Waste Disposal                            NA                                                                                -
             Wastewater Treatment                                NA                                                                                -
             Catalyst                                            NA                                                                                -
            Replacement Parts                                    NA                                                                                -
    Total Annual Direct Operating Costs                                                                                                      104,553

    Indirect Operating Costs
        Overhead                                                60% of oper, maint & supv labor + maint mtl costs                             55,528
        Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                               4,421
        Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                               4,421
        Administration (2% total capital costs)                  2% of total capital costs (TCI)                                               8,841
    Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                          114,938

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 219,491
Pollutant Removed (tons/yr)                                                                                                                    108.8
Cost per ton of NOx Removed                                                                                                                    2,018

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                                                                        BART ANALYSIS 2004
                                                                      ULTRA LOW NOX BURNER
                        Capital Recovery Factors
                        Primary Installation
                        Interest Rate                        7.0%
                        Equipment Life                          20 years
                        CRF                                0.0944

                        Catalyst Replacement Cost
                        Catalyst Life                  2 years
                        CRF                       0.5531
                        Catalyst cost per unit                650 $/ft3
                        Amount Required                          0 ft3
                        Catalyst Cost                            0 Cost adjusted for freight & sales tax
                        Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                        Total Installed Cost                     0
                        Annualized Cost                          0

                        Replacement Parts & Equipment
                        Equipment Life                 2 years
                        CRF                       0.5531
                        Rep part cost per unit     33.72 $ each
                        Amount Required                0 Number
                        Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                        Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                        Total Installed Cost           0
                        Annualized Cost                0

                        Total Cost Replacement Parts & Catalyst                                0

                        Design Flow          109,000 dscfm                123,864 scfm
                                                1200 Temp Deg F
                                                 12% % Moisture
                                             382,893 acfm


 Operating Cost Calculations                             Annual hours of operation: 8,760
                                                         Utilization rate:           90%
                             Unit       Unit of  Use         Unit of       Annual      Annual     Comments
 Item                       Cost $     Measure   Rate      Measure          Use*         Cost
 Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                        NA                                            NA           NA 15% of Operator Costs
 Maint Labor                    17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                        NA                                            NA           NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                    0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                          4.24 Mft3                  0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                  0.2 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                             0.25 Mscf                100 Mscfm                  47,304         12,006 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                   300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
 Reagent #2                            300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
 SW Disposal                              0 Ton              0.857 ton/hr                  7,509              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                            273 Ton               0.000 ton/hr                      0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                               1.5 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3                       3
 Catalyst                              650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                           33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                    Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission           Unit of             Flow    Unit of Control Eff.         Emis Rate
        Factor            Measure             Rate   Measure      %                  T/yr     Comments/Notes
                  0.27 lb/MMBtu                  134 MMBtu/hr    NA                       145
 Controlled Emission Rate
          Perf            Unit of             Flow       Unit of Control Eff.      Emis Rate
      Guarantee           Measure             Rate       Measure     %               T/yr     Comments/Notes
                                                                    75%                 36.25
 Emission Reduction T/yr                                                               108.75


                           Flow acfm        D P in H2O   Blower Eff Motor Eff            kW
 Blower                          0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37


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                                                                   BART ANALYSIS 2004
                                                                 ULTRA LOW NOX BURNER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Control Device (A)                                                                                                                      166,820
     Instrumentation                                           10% of control device cost (A)                                                 16,682
     Sales Taxes                                               6.0% of control device cost (A)                                                10,009
     Freight                                                     5% of control device cost (A)                                                 8,341
     Auxiliary equipment (not included in CD cost)                 - of control device cost (A)
   Purchased Equipment Total (B)                               21%                                                                           201,853
      Installation
        Foundations & supports                                   4% of purchased equip cost (B)                                                8,074
        Handling, erection                                      50% of purchased equip cost (B)                                              100,926
        Electrical                                               8% of purchased equip cost (B)                                               16,148
        Piping                                                   1% of purchased equip cost (B)                                                2,019
        Insulation                                               7% of purchased equip cost (B)                                               14,130
        Painting                                                 4% of purchased equip cost (B)                                                8,074
        Expenses not covered by items listed above               0% of purchased equip cost (B)                                                    0
        Site Preparation, as required                               Site Specific                                                          NA
        Buildings, as required                                      Site Specific                                                          NA
      Installation Total                                        74%                                                                          149,371
    Total Direct Capital Cost                                                                                                                351,224

    Indirect Capital Costs
        Engineering, supervision                                10% of purchased equip cost (B)                                               20,185
        Construction, field exp.                                20% of purchased equip cost (B)                                               40,371
        Construction fee                                        10% of purchased equip cost (B)                                               20,185
        Startup                                                  1% of purchased equip cost (B)                                                2,019

      Tests                                                      1% of purchased equip cost (B)                                                2,019
      Contingencies                                              3% of purchased equip cost (B)                                                6,056
 Total Indirect Capital Costs                                   45%                                                                           90,834
Total Capital Investment (TCI)                                                                                                               442,057
      Replacement Parts Cost & Installation Labor                  0 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%      442,057
Total Annualized Capital Costs                                                                                                                41,727

OPERATING COSTS
    Direct Operating Costs
        Operating Labor                                        25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   50,025
        Supervisor                                              15% of oper labor costs                                                        7,504
        Maintenance Labor                                      17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                   17,509
        Maintenance Materials                                  100% of maint labor costs                                                      17,509
        Utilities, Reagents, Waste Management & Replacements
             Electricity                                         NA                                                                               -
              Natural Gas (Fuel)                                 NA                                                                               -
             Water                                               NA                                                                                -
             Compressed Air                                     0.25 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity                       12,006
             Reagent #1(Caustic)                                 NA                                                                                -
             Reagent #2                                          NA                                                                                -
             Solid Waste Disposal                                NA                                                                                -
             Hazardous Waste Disposal                            NA                                                                                -
             Wastewater Treatment                                NA                                                                                -
             Catalyst                                            NA                                                                                -
            Replacement Parts                                    NA                                                                                -
    Total Annual Direct Operating Costs                                                                                                      104,553

    Indirect Operating Costs
        Overhead                                                60% of oper, maint & supv labor + maint mtl costs                             55,528
        Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                               4,421
        Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                               4,421
        Administration (2% total capital costs)                  2% of total capital costs (TCI)                                               8,841
    Total Indirect Operating Costs                                  Sum indirect oper costs + capital recovery cost                          114,938

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 219,491
Pollutant Removed (tons/yr)                                                                                                                    123.3
Cost per ton of NOx Removed                                                                                                                    1,781

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Furnace ULNB+SCR.xlsULNB Hi(e)                                                                                                                    1 of 2
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                                                                        BART ANALYSIS 2004
                                                                      ULTRA LOW NOX BURNER
                        Capital Recovery Factors
                        Primary Installation
                        Interest Rate                        7.0%
                        Equipment Life                          20 years
                        CRF                                0.0944

                        Catalyst Replacement Cost
                        Catalyst Life                  2 years
                        CRF                       0.5531
                        Catalyst cost per unit                650 $/ft3
                        Amount Required                          0 ft3
                        Catalyst Cost                            0 Cost adjusted for freight & sales tax
                        Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                        Total Installed Cost                     0
                        Annualized Cost                          0

                        Replacement Parts & Equipment
                        Equipment Life                 2 years
                        CRF                       0.5531
                        Rep part cost per unit     33.72 $ each
                        Amount Required                0 Number
                        Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                        Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                        Total Installed Cost           0
                        Annualized Cost                0

                        Total Cost Replacement Parts & Catalyst                                0

                        Design Flow          109,000 dscfm                123,864 scfm
                                                1200 Temp Deg F
                                                 12% % Moisture
                                             382,893 acfm


 Operating Cost Calculations                             Annual hours of operation: 8,760
                                                         Utilization rate:           90%
                             Unit       Unit of  Use         Unit of       Annual      Annual     Comments
 Item                       Cost $     Measure   Rate      Measure          Use*         Cost
 Op Labor                       25.38 Hr               2 hr/8 hr shift         1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                        NA                                            NA           NA 15% of Operator Costs
 Maint Labor                    17.77 Hr               1 hr/8 hr shift           986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Maint Mtls                        NA                                            NA           NA of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                    0.046 kW-hr          0.0 kW-hr                     0            0 $/kW-hr, 0 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                          4.24 Mft3                  0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                  0.2 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                             0.25 Mscf                100 Mscfm                  47,304         12,006 $/Mscf, 100.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                   300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, Ammonia
 Reagent #2                            300 Ton                   0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 50 wt% Urea Soln.
 SW Disposal                              0 Ton              0.857 ton/hr                  7,509              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 Haz W Disp                            273 Ton               0.000 ton/hr                      0              0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
 WW Treat                               1.5 Mgal                 0 gpm                         0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3                       3
 Catalyst                              650 ft                    0 ft             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                           33.72 bag                   0 bags           2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                    Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission           Unit of             Flow    Unit of Control Eff.         Emis Rate
        Factor            Measure             Rate   Measure      %                  T/yr     Comments/Notes
                  0.27 lb/MMBtu                  134 MMBtu/hr    NA                       145
 Controlled Emission Rate
          Perf            Unit of             Flow       Unit of Control Eff.      Emis Rate
      Guarantee           Measure             Rate       Measure     %               T/yr     Comments/Notes
                                                                    85%                 21.75
 Emission Reduction T/yr                                                               123.25


                           Flow acfm        D P in H2O   Blower Eff Motor Eff            kW
 Blower                          0                 5        0.55      0.9                0.0       OAQPS Cost Cont Manual 5th ed - Eq 3.37


Furnace ULNB+SCR.xlsULNB Hi(e)                                                                                                                                         2 of 2
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                                                                               BART ANALYSIS 2004
                                                                         SELECTIVE CATALYTIC REDUCTION
          CAPITAL COSTS
           Direct Capital Costs
             Purchased Equipment (1)
               Control Device (A)                                                                                                                       210,685
               Instrumentation                                           10% of control device cost (A)                                                  21,068
               Sales Taxes                                              6.0% of control device cost (A)                                                  12,641
               Freight                                                    5% of control device cost (A)                                                  10,534
                Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                       0
              Purchased Equipment Total (B)                            21.0%                                                                            254,929
              Installation
                Foundations & supports                                    8% of purchased equip cost (B)                                                 20,394
                Handling, erection                                       14% of purchased equip cost (B)                                                 35,690
                Electrical                                                4% of purchased equip cost (B)                                                 10,197
                Piping                                                    4% of purchased equip cost (B)                                                 10,197
                Insulation                                                1% of purchased equip cost (B)                                                  2,549
                Painting                                                  1% of purchased equip cost (B)                                                  2,549
                Expenses not covered by items listed above                0% of purchased equip cost (B)                                                      0
                Site Preparation, as required                                Site Specific                                                              NA
                Buildings, as required                                       Site Specific                                                              NA
              Installation Total                                         32%                                                                             81,577
            Total Direct Capital Cost                                                                                                                   336,506

            Indirect Capital Costs
                Engineering, supervision                                 10% of purchased equip cost (B)                                                 25,493
                Construction, field exp.                                  5% of purchased equip cost (B)                                                 12,746
                Construction fee                                         10% of purchased equip cost (B)                                                 25,493
                Startup                                                   2% of purchased equip cost (B)                                                  5,099

                Tests                                                     1% of purchased equip cost (B)                                                   2,549
                Contingencies                                             3% of purchased equip cost (B)                                                   7,648
           Total Indirect Capital Costs                                  31%                                                                              79,028
          Total Capital Investment (TCI)                                                                                                                 415,534
                Replacement Parts Cost & Installation Labor        1,037,702 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%         -622,168
          Total Annualized Capital Costs                                                                                                                 -58,728

          OPERATING COSTS
            Direct Operating Costs
                Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                Supervisor                                               15% of oper labor costs                                                          1,876
                Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                Maintenance Materials                                   100% of maint labor costs                                                         8,754
                Utilities, Reagents, Waste Management & Replacements
                     Electricity                                         0.05 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity                       381,652
                     Natural Gas (Fuel)                                   NA                                                                                  -
                     Water                                                NA                                                                                  -
                     Compressed Air                                       NA                                                                                  -
                     Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia                                     21,587
                     Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                     Solid Waste Disposal                               25.38 $/Ton, 51.4 ton/yr                                                          1,305
                     Hazardous Waste Disposal                             NA                                                                                  -
                     Wastewater Treatment                                 NA                                                                                  -
                    Catalyst                                           159.11 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity                       573,945
                    Replacement Parts                                     NA                                                                                   -
            Total Annual Direct Operating Costs                                                                                                        1,010,380

            Indirect Operating Costs
                Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                19,135
                Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                  4,155
                Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                  4,155
                Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                  8,311
            Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                             -22,972

          Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            987,408
          Pollutant Removed (tons/yr)                                                                                                                       102
          Cost per ton of NOx Removed                                                                                                                     9,728




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                                                                                      BART ANALYSIS 2004
                                                                                SELECTIVE CATALYTIC REDUCTION
                                                   Capital Recovery Factors
                                                   Primary Installation
                                                   Interest Rate                     7.0%
                                                   Equipment Life                       20 years
                                                   CRF                             0.0944

                                                   Catalyst Replacement Cost
                                                   Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                   CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                   Catalyst cost per unit          159.11 $/ft3                 102.8              2         51.4
                                                   Amount Required                 5875.7 ft3
                                                   Catalyst Cost                1,037,702 Cost adjusted for freight & sales tax
                                                   Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                   Total Installed Cost         1,037,702
                                                   Annualized Cost                573,945

                                                   Replacement Parts & Equipment
                                                   Equipment Life                 2
                                                   CRF                       0.5531
                                                   Rep part cost per unit     33.72 $ each
                                                   Amount Required                0 Number
                                                   Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                   Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                   Total Installed Cost           0
                                                   Annualized Cost                0

                                                   Total Cost Replacement Parts & Catalyst                    1,037,702

                                                   Design Flow       109,000 dscfm                  123,864 scfm
                                                                        1200 Temp Deg F
                                                                         12% % Moisture
                                                                     382,893 acfm

          Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                            Annual hours of operation:               8,760
                                                 Unit      Unit of               Use             Unit of       Annual           Annual    Comments
          Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
          Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
          Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
          Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
          Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
          Utilities, Reagents, Waste Management & Replacements
          Electricity                               0.047 kW-hr                    1031.7 kW-hr               8,134,107           381,652 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity
          Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
          Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
          Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
          Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 14.5 lb/hr                    105,005          21,587 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia
          Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
          SW Disposal                                      25.38 Ton                 51.4 ton/yr                        51           1,305 $/Ton, 51.4 ton/yr
          Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
          WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
          Catalyst                                        159.11 ft3               5875.7 ft3                 2              573,945 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity
          Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                         *annual use rate is in same units of measurement as the unit cost factor
                                                                                    Emission Control Rate Calculation
          Uncontrolled Emission Rate
                      Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                        Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                         0.275 lb/MMBtu                  134 MMBTU/HR NA                           145
          Controlled Emission Rate
                        Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                      Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                 70%            43.50 Basis:8760 hr/yr, 90.0% of capacity
          Emission Reduction T/yr                                                                                  102

                                                     Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
          Blower                                      382,893         11.4        0.55            0.9          1031.7        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                      Flow gpm      D P ft H2O Pump Eff         Motor Eff
          Reagent Pump                                  0.02           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

          Total Electricity                                                                                    1031.7

          Ammonia                                       29.8       lb/hr NOx     0.370      lb NH3/lb NOx                        14.5        lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
          Urea 50% Sol'n                                33.1       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 56.1        lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
          Estimating amount of catalyst required
          Vol. #1                                           5513 ft3
          Flow #1                                        359256 acfm
          Flow #2                                       382,893
          Vol #2                                          5875.7 ft3




Furnace ULNB+SCR.xlsSCR Lo(e)-Lo(c)                                                                                                                                                                2 of 2
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                                                                               BART ANALYSIS 2004
                                                                         SELECTIVE CATALYTIC REDUCTION
          CAPITAL COSTS
           Direct Capital Costs
             Purchased Equipment (1)
               Control Device (A)                                                                                                                      1,755,595
               Instrumentation                                           10% of control device cost (A)                                                  175,559
               Sales Taxes                                              6.0% of control device cost (A)                                                  105,336
               Freight                                                    5% of control device cost (A)                                                   87,780
                Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                        0
              Purchased Equipment Total (B)                            21.0%                                                                           2,124,270
              Installation
                Foundations & supports                                    8% of purchased equip cost (B)                                                 169,942
                Handling, erection                                       14% of purchased equip cost (B)                                                 297,398
                Electrical                                                4% of purchased equip cost (B)                                                  84,971
                Piping                                                    4% of purchased equip cost (B)                                                  84,971
                Insulation                                                1% of purchased equip cost (B)                                                  21,243
                Painting                                                  1% of purchased equip cost (B)                                                  21,243
                Expenses not covered by items listed above                0% of purchased equip cost (B)                                                       0
                Site Preparation, as required                                Site Specific                                                              NA
                Buildings, as required                                       Site Specific                                                              NA
              Installation Total                                         32%                                                                             679,766
            Total Direct Capital Cost                                                                                                                  2,804,036

            Indirect Capital Costs
                Engineering, supervision                                 10% of purchased equip cost (B)                                                212,427
                Construction, field exp.                                  5% of purchased equip cost (B)                                                106,213
                Construction fee                                         10% of purchased equip cost (B)                                                212,427
                Startup                                                   2% of purchased equip cost (B)                                                 42,485

                Tests                                                     1% of purchased equip cost (B)                                                  21,243
                Contingencies                                             3% of purchased equip cost (B)                                                  63,728
           Total Indirect Capital Costs                                  31%                                                                             658,524
          Total Capital Investment (TCI)                                                                                                               3,462,560
                Replacement Parts Cost & Installation Labor        1,037,702 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%        2,424,858
          Total Annualized Capital Costs                                                                                                                 228,889

          OPERATING COSTS
            Direct Operating Costs
                Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                Supervisor                                               15% of oper labor costs                                                          1,876
                Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                Maintenance Materials                                   100% of maint labor costs                                                         8,754
                Utilities, Reagents, Waste Management & Replacements
                     Electricity                                         0.05 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity                       381,652
                     Natural Gas (Fuel)                                   NA                                                                                  -
                     Water                                                NA                                                                                  -
                     Compressed Air                                       NA                                                                                  -
                     Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia                                     21,587
                     Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                     Solid Waste Disposal                               25.38 $/Ton, 51.4 ton/yr                                                          1,305
                     Hazardous Waste Disposal                             NA                                                                                  -
                     Wastewater Treatment                                 NA                                                                                  -
                    Catalyst                                           159.11 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity                       573,945
                    Replacement Parts                                     NA                                                                                   -
            Total Annual Direct Operating Costs                                                                                                        1,010,380

            Indirect Operating Costs
                Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                               19,135
                Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                34,626
                Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                34,626
                Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                69,251
            Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                            386,527

          Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                           1,396,907
          Pollutant Removed (tons/yr)                                                                                                                        102
          Cost per ton of NOx Removed                                                                                                                     13,762




Furnace ULNB+SCR.xlsSCR Lo(e)-Hi(c)                                                                                                                                1 of 2
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                                                                                      BART ANALYSIS 2004
                                                                                SELECTIVE CATALYTIC REDUCTION
                                                   Capital Recovery Factors
                                                   Primary Installation
                                                   Interest Rate                     7.0%
                                                   Equipment Life                       20 years
                                                   CRF                             0.0944

                                                   Catalyst Replacement Cost
                                                   Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                   CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                   Catalyst cost per unit          159.11 $/ft3                 102.8              2         51.4
                                                   Amount Required                 5875.7 ft3
                                                   Catalyst Cost                1,037,702 Cost adjusted for freight & sales tax
                                                   Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                   Total Installed Cost         1,037,702
                                                   Annualized Cost                573,945

                                                   Replacement Parts & Equipment
                                                   Equipment Life                 2
                                                   CRF                       0.5531
                                                   Rep part cost per unit     33.72 $ each
                                                   Amount Required                0 Number
                                                   Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                   Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                   Total Installed Cost           0
                                                   Annualized Cost                0

                                                   Total Cost Replacement Parts & Catalyst                    1,037,702

                                                   Design Flow       109,000 dscfm                  123,864 scfm
                                                                        1200 Temp Deg F
                                                                         12% % Moisture
                                                                     382,893 acfm

          Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                            Annual hours of operation:               8,760
                                                 Unit      Unit of               Use             Unit of       Annual           Annual    Comments
          Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
          Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
          Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
          Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
          Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
          Utilities, Reagents, Waste Management & Replacements
          Electricity                               0.047 kW-hr                    1031.7 kW-hr               8,134,107           381,652 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity
          Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
          Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
          Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
          Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 14.5 lb/hr                    105,005          21,587 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia
          Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
          SW Disposal                                      25.38 Ton                 51.4 ton/yr                        51           1,305 $/Ton, 51.4 ton/yr
          Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
          WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
          Catalyst                                        159.11 ft3               5875.7 ft3                 2              573,945 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity
          Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                         *annual use rate is in same units of measurement as the unit cost factor
                                                                                    Emission Control Rate Calculation
          Uncontrolled Emission Rate
                      Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                        Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                         0.275 lb/MMBtu                  134 MMBTU/HR NA                           145
          Controlled Emission Rate
                        Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                      Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                 70%            43.50 Basis:8760 hr/yr, 90.0% of capacity
          Emission Reduction T/yr                                                                                  102

                                                     Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
          Blower                                      382,893         11.4        0.55            0.9          1031.7        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                      Flow gpm      D P ft H2O Pump Eff         Motor Eff
          Reagent Pump                                  0.02           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

          Total Electricity                                                                                    1031.7

          Ammonia                                       29.8       lb/hr NOx     0.370      lb NH3/lb NOx                        14.5        lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
          Urea 50% Sol'n                                33.1       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 56.1        lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
          Estimating amount of catalyst required
          Vol. #1                                           5513 ft3
          Flow #1                                        359256 acfm
          Flow #2                                       382,893
          Vol #2                                          5875.7 ft3




Furnace ULNB+SCR.xlsSCR Lo(e)-Hi(c)                                                                                                                                                                2 of 2
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                                                                               BART ANALYSIS 2004
                                                                         SELECTIVE CATALYTIC REDUCTION
          CAPITAL COSTS
           Direct Capital Costs
             Purchased Equipment (1)
               Control Device (A)                                                                                                                       210,685
               Instrumentation                                           10% of control device cost (A)                                                  21,068
               Sales Taxes                                              6.0% of control device cost (A)                                                  12,641
               Freight                                                    5% of control device cost (A)                                                  10,534
                Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                       0
              Purchased Equipment Total (B)                            21.0%                                                                            254,929
              Installation
                Foundations & supports                                    8% of purchased equip cost (B)                                                 20,394
                Handling, erection                                       14% of purchased equip cost (B)                                                 35,690
                Electrical                                                4% of purchased equip cost (B)                                                 10,197
                Piping                                                    4% of purchased equip cost (B)                                                 10,197
                Insulation                                                1% of purchased equip cost (B)                                                  2,549
                Painting                                                  1% of purchased equip cost (B)                                                  2,549
                Expenses not covered by items listed above                0% of purchased equip cost (B)                                                      0
                Site Preparation, as required                                Site Specific                                                              NA
                Buildings, as required                                       Site Specific                                                              NA
              Installation Total                                         32%                                                                             81,577
            Total Direct Capital Cost                                                                                                                   336,506

            Indirect Capital Costs
                Engineering, supervision                                 10% of purchased equip cost (B)                                                 25,493
                Construction, field exp.                                  5% of purchased equip cost (B)                                                 12,746
                Construction fee                                         10% of purchased equip cost (B)                                                 25,493
                Startup                                                   2% of purchased equip cost (B)                                                  5,099

                Tests                                                     1% of purchased equip cost (B)                                                   2,549
                Contingencies                                             3% of purchased equip cost (B)                                                   7,648
           Total Indirect Capital Costs                                  31%                                                                              79,028
          Total Capital Investment (TCI)                                                                                                                 415,534
                Replacement Parts Cost & Installation Labor        1,037,702 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%         -622,168
          Total Annualized Capital Costs                                                                                                                 -58,728

          OPERATING COSTS
            Direct Operating Costs
                Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                Supervisor                                               15% of oper labor costs                                                          1,876
                Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                Maintenance Materials                                   100% of maint labor costs                                                         8,754
                Utilities, Reagents, Waste Management & Replacements
                     Electricity                                         0.05 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity                       381,652
                     Natural Gas (Fuel)                                   NA                                                                                  -
                     Water                                                NA                                                                                  -
                     Compressed Air                                       NA                                                                                  -
                     Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia                                     21,587
                     Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                     Solid Waste Disposal                               25.38 $/Ton, 51.4 ton/yr                                                          1,305
                     Hazardous Waste Disposal                             NA                                                                                  -
                     Wastewater Treatment                                 NA                                                                                  -
                    Catalyst                                           159.11 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity                       573,945
                    Replacement Parts                                     NA                                                                                   -
            Total Annual Direct Operating Costs                                                                                                        1,010,380

            Indirect Operating Costs
                Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                19,135
                Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                  4,155
                Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                  4,155
                Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                  8,311
            Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                             -22,972

          Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            987,408
          Pollutant Removed (tons/yr)                                                                                                                       131
          Cost per ton of NOx Removed                                                                                                                     7,566




Furnace ULNB+SCR.xlsSCR Hi(e)-Lo(c)                                                                                                                                1 of 2
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                                                                                      BART ANALYSIS 2004
                                                                                SELECTIVE CATALYTIC REDUCTION
                                                   Capital Recovery Factors
                                                   Primary Installation
                                                   Interest Rate                     7.0%
                                                   Equipment Life                       20 years
                                                   CRF                             0.0944

                                                   Catalyst Replacement Cost
                                                   Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                   CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                   Catalyst cost per unit          159.11 $/ft3                 102.8              2         51.4
                                                   Amount Required                 5875.7 ft3
                                                   Catalyst Cost                1,037,702 Cost adjusted for freight & sales tax
                                                   Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                   Total Installed Cost         1,037,702
                                                   Annualized Cost                573,945

                                                   Replacement Parts & Equipment
                                                   Equipment Life                 2
                                                   CRF                       0.5531
                                                   Rep part cost per unit     33.72 $ each
                                                   Amount Required                0 Number
                                                   Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                   Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                   Total Installed Cost           0
                                                   Annualized Cost                0

                                                   Total Cost Replacement Parts & Catalyst                    1,037,702

                                                   Design Flow       109,000 dscfm                  123,864 scfm
                                                                        1200 Temp Deg F
                                                                         12% % Moisture
                                                                     382,893 acfm

          Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                            Annual hours of operation:               8,760
                                                 Unit      Unit of               Use             Unit of       Annual           Annual    Comments
          Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
          Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
          Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
          Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
          Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
          Utilities, Reagents, Waste Management & Replacements
          Electricity                               0.047 kW-hr                    1031.7 kW-hr               8,134,107           381,652 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity
          Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
          Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
          Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
          Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 14.5 lb/hr                    105,005          21,587 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia
          Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
          SW Disposal                                      25.38 Ton                 51.4 ton/yr                        51           1,305 $/Ton, 51.4 ton/yr
          Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
          WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
          Catalyst                                        159.11 ft3               5875.7 ft3                 2              573,945 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity
          Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                         *annual use rate is in same units of measurement as the unit cost factor
                                                                                    Emission Control Rate Calculation
          Uncontrolled Emission Rate
                      Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                        Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                         0.275 lb/MMBtu                  134 MMBTU/HR NA                           145
          Controlled Emission Rate
                        Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                      Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                 90%            14.50 Basis:8760 hr/yr, 90.0% of capacity
          Emission Reduction T/yr                                                                                  131

                                                     Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
          Blower                                      382,893         11.4        0.55            0.9          1031.7        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                      Flow gpm      D P ft H2O Pump Eff         Motor Eff
          Reagent Pump                                  0.02           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

          Total Electricity                                                                                    1031.7

          Ammonia                                       29.8       lb/hr NOx     0.370      lb NH3/lb NOx                        14.5        lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
          Urea 50% Sol'n                                33.1       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 56.1        lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
          Estimating amount of catalyst required
          Vol. #1                                           5513 ft3
          Flow #1                                        359256 acfm
          Flow #2                                       382,893
          Vol #2                                          5875.7 ft3




Furnace ULNB+SCR.xlsSCR Hi(e)-Lo(c)                                                                                                                                                                2 of 2
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                                                                               BART ANALYSIS 2004
                                                                         SELECTIVE CATALYTIC REDUCTION
          CAPITAL COSTS
           Direct Capital Costs
             Purchased Equipment (1)
               Control Device (A)                                                                                                                       210,685
               Instrumentation                                           10% of control device cost (A)                                                  21,068
               Sales Taxes                                              6.0% of control device cost (A)                                                  12,641
               Freight                                                    5% of control device cost (A)                                                  10,534
                Auxiliary equipment (not included in CD cost)             0% of control device cost (A)                                                       0
              Purchased Equipment Total (B)                            21.0%                                                                            254,929
              Installation
                Foundations & supports                                    8% of purchased equip cost (B)                                                 20,394
                Handling, erection                                       14% of purchased equip cost (B)                                                 35,690
                Electrical                                                4% of purchased equip cost (B)                                                 10,197
                Piping                                                    4% of purchased equip cost (B)                                                 10,197
                Insulation                                                1% of purchased equip cost (B)                                                  2,549
                Painting                                                  1% of purchased equip cost (B)                                                  2,549
                Expenses not covered by items listed above                0% of purchased equip cost (B)                                                      0
                Site Preparation, as required                                Site Specific                                                              NA
                Buildings, as required                                       Site Specific                                                              NA
              Installation Total                                         32%                                                                             81,577
            Total Direct Capital Cost                                                                                                                   336,506

            Indirect Capital Costs
                Engineering, supervision                                 10% of purchased equip cost (B)                                                 25,493
                Construction, field exp.                                  5% of purchased equip cost (B)                                                 12,746
                Construction fee                                         10% of purchased equip cost (B)                                                 25,493
                Startup                                                   2% of purchased equip cost (B)                                                  5,099

                Tests                                                     1% of purchased equip cost (B)                                                   2,549
                Contingencies                                             3% of purchased equip cost (B)                                                   7,648
           Total Indirect Capital Costs                                  31%                                                                              79,028
          Total Capital Investment (TCI)                                                                                                                 415,534
                Replacement Parts Cost & Installation Labor        1,037,702 Capital Recovery Costs, Equipment Life 20 years, Interest Rate, 7%         -622,168
          Total Annualized Capital Costs                                                                                                                 -58,728

          OPERATING COSTS
            Direct Operating Costs
                Operating Labor                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                     12,506
                Supervisor                                               15% of oper labor costs                                                          1,876
                Maintenance Labor                                       17.77 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                      8,754
                Maintenance Materials                                   100% of maint labor costs                                                         8,754
                Utilities, Reagents, Waste Management & Replacements
                     Electricity                                         0.05 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity                       381,652
                     Natural Gas (Fuel)                                   NA                                                                                  -
                     Water                                                NA                                                                                  -
                     Compressed Air                                       NA                                                                                  -
                     Reagent #1(Anhydrous Ammonia)                     411.17 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia                                     21,587
                     Reagent #2 (Urea 50% Solution)                       NA                                                                                  -
                     Solid Waste Disposal                               25.38 $/Ton, 51.4 ton/yr                                                          1,305
                     Hazardous Waste Disposal                             NA                                                                                  -
                     Wastewater Treatment                                 NA                                                                                  -
                    Catalyst                                           159.11 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity                       573,945
                    Replacement Parts                                     NA                                                                                   -
            Total Annual Direct Operating Costs                                                                                                        1,010,380

            Indirect Operating Costs
                Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                                19,135
                Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                                  4,155
                Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                                  4,155
                Administration (2% total capital costs)                   2% of total capital costs (TCI)                                                  8,311
            Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                             -22,972

          Total Annual Cost (Annualized Capital Cost + Operating Cost) (SCR)                                                                            987,408
          Pollutant Removed (tons/yr)                                                                                                                       131
          Cost per ton of NOx Removed                                                                                                                     7,566




Furnace ULNB+SCR.xlsSCR Hi(e)-Lo(c)                                                                                                                                1 of 2
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                                                                                      BART ANALYSIS 2004
                                                                                SELECTIVE CATALYTIC REDUCTION
                                                   Capital Recovery Factors
                                                   Primary Installation
                                                   Interest Rate                     7.0%
                                                   Equipment Life                       20 years
                                                   CRF                             0.0944

                                                   Catalyst Replacement Cost
                                                   Catalyst Life                        2 years              Catalyst Disposal Amount in Tons/yr at 35 lb/ft3
                                                   CRF                             0.5531                    Amount       Yrs Service   T/yr Waste
                                                   Catalyst cost per unit          159.11 $/ft3                 102.8              2         51.4
                                                   Amount Required                 5875.7 ft3
                                                   Catalyst Cost                1,037,702 Cost adjusted for freight & sales tax
                                                   Installation Labor                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                   Total Installed Cost         1,037,702
                                                   Annualized Cost                573,945

                                                   Replacement Parts & Equipment
                                                   Equipment Life                 2
                                                   CRF                       0.5531
                                                   Rep part cost per unit     33.72 $ each
                                                   Amount Required                0 Number
                                                   Total Rep Parts Cost           0 Cost adjusted for freight & sales tax
                                                   Installation Labor             0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                   Total Installed Cost           0
                                                   Annualized Cost                0

                                                   Total Cost Replacement Parts & Catalyst                    1,037,702

                                                   Design Flow       109,000 dscfm                  123,864 scfm
                                                                        1200 Temp Deg F
                                                                         12% % Moisture
                                                                     382,893 acfm

          Operating Cost Calculations                                                       Utilization Rate                        90.0%
                                                                                            Annual hours of operation:               8,760
                                                 Unit      Unit of               Use             Unit of       Annual           Annual    Comments
          Item                                  Cost $     Measure               Rate           Measure         Use*             Cost
          Op Labor                                  25.38 Hr                            0.5 hr/8 hr shift           493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
          Supervisor                                   NA                                                           NA                NA 15% of Operator Costs
          Maint Labor                               17.77 Hr                            0.5 hr/8 hr shift           493             8,754 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
          Maint Mtls                                   NA                                                           NA                NA of purchased equipment costs
          Utilities, Reagents, Waste Management & Replacements
          Electricity                               0.047 kW-hr                    1031.7 kW-hr               8,134,107           381,652 $/kW-hr, 1,032 kW-hr, 8760 hr/yr, 90.0% of capacity
          Natural Gas                                       4.24 Mft3                    0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
          Water                                             0.22 Mgal                    0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
          Comp Air                                          0.27 Mscf                    0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
          Reagent #1(Anhydrous Ammonia)                   411.17 Ton                 14.5 lb/hr                    105,005          21,587 $/Ton, 14.5 lb/hr, 8760 hr/yr, Ammonia
          Reagent #2 (Urea 50% Solution)                   0.085 Lb                    0.0 lb/hr                         0               0 $/Lb, 0.0 lb/hr, 8760 hr/yr, 50 wt% Urea Soln.
          SW Disposal                                      25.38 Ton                 51.4 ton/yr                        51           1,305 $/Ton, 51.4 ton/yr
          Haz W Disp                                         273 Ton                0.000 ton/2-yr period             0.00               0 $/Ton, 0.275 lb/MMBtu, 8760 hr/yr
          WW Treat                                            1.5 Mgal                   0 gpm                           0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
          Catalyst                                        159.11 ft3               5875.7 ft3                 2              573,945 $/ft3, 5,875.7 ft3, 2, 8760 hr/yr, 90.0% of capacity
          Rep Parts                                        33.72 $/bag                  0 bags                2                    0 $/$/bag, 0.0 bags, 2, 8760 hr/yr, 90.0% of capacity
                                                                                                         *annual use rate is in same units of measurement as the unit cost factor
                                                                                    Emission Control Rate Calculation
          Uncontrolled Emission Rate
                      Emission                       Unit of          Rate    % Max    Control Eff.          Emis Rate
                        Factor                       Measure          Hrs     Capacity     %                   T/yr    Comments/Notes
                                         0.275 lb/MMBtu                  134 MMBTU/HR NA                           145
          Controlled Emission Rate
                        Perf                         Unit of          Flow      Unit of       Control Eff.   Emis Rate
                      Guarantee                      Measure          Rate      Measure           %            T/yr    Comments/Notes
                                                                                                 90%            14.50 Basis:8760 hr/yr, 90.0% of capacity
          Emission Reduction T/yr                                                                                  131

                                                     Flow acfm     D P in H2O  Blower Eff       Motor Eff       kW
          Blower                                      382,893         11.4        0.55            0.9          1031.7        OAQPS Cost Cont Manual 5th ed - Eq 3.37
                                                      Flow gpm      D P ft H2O Pump Eff         Motor Eff
          Reagent Pump                                  0.02           50          0.8            0.9              0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49

          Total Electricity                                                                                    1031.7

          Ammonia                                       29.8       lb/hr NOx     0.370      lb NH3/lb NOx                        14.5        lb/hr NH3; inlcudes 3.5 lb/hr for NH3 slip
          Urea 50% Sol'n                                33.1       lb/hr NOx     1.317      lb Urea Sol'n/lb NOx                 56.1        lb/hr Urea Sol'n; inlcudes 12.5 lb/hr for NH3 slip
          Estimating amount of catalyst required
          Vol. #1                                           5513 ft3
          Flow #1                                        359256 acfm
          Flow #2                                       382,893
          Vol #2                                          5875.7 ft3




Furnace ULNB+SCR.xlsSCR Hi(e)-Lo(c)                                                                                                                                                                2 of 2
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                           SOx Boilers
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              1,030,184
     Instrumentation                                  10% of control device cost (A)                                         103,018
     Sales Taxes                                     6.0% of control device cost (A)                                          61,811
     Freight                                           5% of control device cost (A)                                          51,509
   Purchased Equipment Total (B                       21%                                                                  1,246,523

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                        149,583
      Handling & erection                             40% of purchased equip cost (B)                                        498,609
      Electrical                                       1% of purchased equip cost (B)                                         12,465
      Piping                                          30% of purchased equip cost (B)                                        373,957
      Insulation                                       1% of purchased equip cost (B)                                         12,465
      Painting                                         1% of purchased equip cost (B)                                         12,465
    Installation Total                                85%                                                                  1,059,544
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            2,306,067

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       124,652
      Construction & field expenses                    10% of purchased equip cost (B)                                       124,652
      Construction fee                                 10% of purchased equip cost (B)                                       124,652
      Start-up                                          1% of purchased equip cost (B)                                        12,465
      Performance test                                  1% of purchased equip cost (B)                                        12,465
      Contingencies                                     3% of purchased equip cost (B)                                        37,396
  Total Indirect Capital Costs, IC                     35%                                                                   436,283

Total Capital Investment (TCI) = DC + IC                                                                                   2,742,350

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 245.9 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               328,034
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 1,669 kW-hr, 8760 hr/yr, 90.0% of capacity              617,249

  Total Annual Direct Operating Costs                                                                                        979,119

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                   20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                        54,847
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                        27,424
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                        27,424
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate             390,449
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  1,499,564


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                2,478,683
                              B
Pollutant Removed (tons/yr)                                                                                                      570
Cost per ton of SO2 Removed                                                                                                    4,351




     4
     5
     6




Boiler DFGD.xlsDry FGDL-Lo(e)-Lo(c)                                                                                                                  Page 1 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                                                                                          3
                               Catalyst cost per unit                          650 $/ft
                                                                                     3
                               Amount Required                                   0 ft
                               Catalyst Cost                                     0 Cost adjusted for freight & sales tax
                               Installation Labor                                0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                              0
                               Annualized Cost                                   0

                               Replacement Parts & Equipmen
                               Equipment Life                                  2
                               CRF                                        0.5531
                               Rep part cost per unit                      33.72 $ each
                               Amount Required                                 0 Number
                               Total Rep Parts Cost                            0 Cost adjusted for freight & sales tax
                               Installation Labor                              0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost                            0
                               Annualized Cost                                 0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow                 264,000 dscfm                      300000 scfm
                                                                450 Temp Deg F
                                                              12% % Moisture
                                                           508,380 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           1668.6 kW-hr                  13,155,339             617,249 $/kW-hr, 1,669 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                              4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           1.5 gpm                            717               146 $/Mgal, 1.5 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                      304.57 Ton                        245.90 lb/hr                         1,077           328,034 $/Ton, 245.9 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.195 ton/hr                       1,539            39,063 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr    Comments/Notes
                      0.25 lb/MMBtu                              650 MMBTU/HR          NA                633.04
Controlled Emission Rate
           Perf                   Unit of                 Flow        Unit of       Control Eff.      Emis Rate
         Guarantee                Measure                 Rate        Measure          90%              T/yr     Currently assumes 80%.
                                                                                       90%                   63 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    569.7 Assuming 90% control.


                                  Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            457,542                  12            0.55          0.7              1668.5        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                              2                  125             0.8          0.7                  0.1       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                          0.0                 62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        144.53 lb/hr SO2                         2.50 lb NaOH/lb SO2                               361.32 lb/hr Caustic
Lime Use                           144.53 lb/hr SO2                           1.7 lb Lime/lb SO2                              245.90 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                          144.53 lb/hr
Reagent Feed rate                      245.90 lb/hr                  Equation 6-38 EPA/600/R-00/093
Reagent flow rate                        1.67 gpm                    Equation 6-39 EPA/600/R-00/093
water use                                1.52 gpm




Boiler DFGD.xlsDry FGDL-Lo(e)-Lo(c)                                                                                                                                                                         Page 2 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              38,650,338
     Instrumentation                                  10% of control device cost (A)                                        3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                        2,319,020
     Freight                                           5% of control device cost (A)                                        1,932,517
   Purchased Equipment Total (B                       21%                                                                  46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                      5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                     18,706,764
      Electrical                                       1% of purchased equip cost (B)                                        467,669
      Piping                                          30% of purchased equip cost (B)                                     14,030,073
      Insulation                                       1% of purchased equip cost (B)                                        467,669
      Painting                                         1% of purchased equip cost (B)                                        467,669
    Installation Total                                85%                                                                 39,751,873
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                      4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                      4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                      4,676,691
      Start-up                                          1% of purchased equip cost (B)                                        467,669
      Performance test                                  1% of purchased equip cost (B)                                        467,669
      Contingencies                                     3% of purchased equip cost (B)                                      1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                 16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                 102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 245.9 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               328,034
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 1,669 kW-hr, 8760 hr/yr, 90.0% of capacity              617,249

  Total Annual Direct Operating Costs                                                                                        979,119

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                    20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                      2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                      1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                      1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate           14,648,823
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  19,763,732


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                20,742,851
                               B
Pollutant Removed (tons/yr)                                                                                                      570
Cost per ton of SO2 Removed                                                                                                   36,408




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Boiler DFGD.xlsDry FGDL-Lo(e)-Hi(c)                                                                                                                  Page 3 of 12
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                                                                                           BART ANALYSIS 2004
                                                                                     DRY FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                  7.0%
                               Equipment Life                                    10 years
                               CRF                                          0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                     2 years
                               CRF                                          0.5531
                                                                                            3
                               Catalyst cost per unit                            650 $/ft
                                                                                       3
                               Amount Required                                     0 ft
                               Catalyst Cost                                       0 Cost adjusted for freight & sales tax
                               Installation Labor                                  0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                                0
                               Annualized Cost                                     0

                               Replacement Parts & Equipmen
                               Equipment Life                                    2
                               CRF                                          0.5531
                               Rep part cost per unit                        33.72 $ each
                               Amount Required                                   0 Number
                               Total Rep Parts Cost                              0 Cost adjusted for freight & sales tax
                               Installation Labor                                0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost                              0
                               Annualized Cost                                   0

                               Total Cost Replacement Parts & Catalyst                                              0

                               Design Flow                   264,000 dscfm                      300000 scfm
                                                                  450 Temp Deg F
                                                                12% % Moisture
                                                             508,380 acfm

Operating Cost Calculations                                            Annual hours of operation:                       8,760
                                                                       Utilization Rate:                                90.0%

                                Unit         Unit of                      Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                       Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                      0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                                NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                      0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                       NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                             1668.6 kW-hr                  13,155,339             617,249 $/kW-hr, 1,669 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                        3
Natural Gas                                4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                      0.20 Mgal                           1.5 gpm                            717               146 $/Mgal, 1.5 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                   0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        304.57 Ton                        245.90 lb/hr                         1,077           328,034 $/Ton, 245.9 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25.38 Ton                          0.195 ton/hr                       1,539            39,063 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                  273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                   1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                   3
Catalyst                                        0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                       0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                      *annual use rate is in same units of measurement as the unit cost facto
                                                                                                         Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                      Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                      Rate        Measure           %               T/yr    Comments/Notes
                      0.25 lb/MMBtu                                650 MMBTU/HR          NA                633.04
Controlled Emission Rate
           Perf                   Unit of                   Flow        Unit of       Control Eff.      Emis Rate
         Guarantee                Measure                   Rate        Measure          90%              T/yr     Currently assumes 80%.
                                                                                         90%                   63 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                      569.7 Assuming 90% control.


                                  Flow acfm            ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                                457,542                12            0.55          0.7              1668.5        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                  P ft H2O    Pump Eff       Motor Eff
Circ Pump                                2                  125             0.8          0.7                  0.1       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                            0.0                 62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        144.53 lb/hr SO2                           2.50 lb NaOH/lb SO2                               361.32 lb/hr Caustic
Lime Use                           144.53 lb/hr SO2                             1.7 lb Lime/lb SO2                              245.90 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                            144.53 lb/hr
Reagent Feed rate                        245.90 lb/hr                  Equation 6-38 EPA/600/R-00/093
Reagent flow rate                          1.67 gpm                    Equation 6-39 EPA/600/R-00/093
water use                                  1.52 gpm




Boiler DFGD.xlsDry FGDL-Lo(e)-Hi(c)                                                                                                                                                                           Page 4 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              38,650,338
     Instrumentation                                  10% of control device cost (A)                                        3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                        2,319,020
     Freight                                           5% of control device cost (A)                                        1,932,517
   Purchased Equipment Total (B                       21%                                                                  46,766,909

     Installation
       Foundations & supports                         12% of purchased equip cost (B)                                      5,612,029
       Handling & erection                            40% of purchased equip cost (B)                                     18,706,764
       Electrical                                      1% of purchased equip cost (B)                                        467,669
       Piping                                         30% of purchased equip cost (B)                                     14,030,073
       Insulation                                      1% of purchased equip cost (B)                                        467,669
       Painting                                        1% of purchased equip cost (B)                                        467,669
     Installation Total                               85%                                                                 39,751,873
       Site Preparation, as required                      Site Specific                                                   NA
       Buildings, as required                             Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                      4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                      4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                      4,676,691
      Start-up                                          1% of purchased equip cost (B)                                        467,669
      Performance test                                  1% of purchased equip cost (B)                                        467,669
      Contingencies                                     3% of purchased equip cost (B)                                      1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                 16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                 102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

     Operating Labor
      Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
      Supervisor                                       15% of oper labor costs 15%                                             1,876
     Operating Materials
      Reagent #1                                        NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
      Reagent #2                                     304.57 $/Ton, 245.9 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               328,034
      Catalyst                                          NA                                                                         -
     Wastewater Treatment                               NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
     Maintenance
       Maintenance Labor                              17.77 1/2 hr per shift                                                   9,727
       Maintenance Materials                          100% of maintenance labor costs                                          9,727
     Electricity - Fan, Pump                           0.05 $/kW-hr, 1,669 kW-hr, 8760 hr/yr, 90.0% of capacity              617,249

  Total Annual Direct Operating Costs                                                                                        979,119

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                    20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                      2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                      1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                      1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate           14,648,823
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  19,763,732


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                20,742,851
                               B
Pollutant Removed (tons/yr)                                                                                                      601
Cost per ton of SO2 Removed                                                                                                   34,492




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Boiler DFGD.xlsDry FGDL-Hi(e)-Hi(c)                                                                                                                  Page 5 of 12
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                                                                                             BART ANALYSIS 2004
                                                                                       DRY FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                    7.0%
                               Equipment Life                                      10 years
                               CRF                                            0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                       2 years
                               CRF                                            0.5531
                                                                                              3
                               Catalyst cost per unit                              650 $/ft
                                                                                         3
                               Amount Required                                       0 ft
                               Catalyst Cost                                         0 Cost adjusted for freight & sales tax
                               Installation Labor                                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                                  0
                               Annualized Cost                                       0

                               Replacement Parts & Equipmen
                               Equipment Life                                      2
                               CRF                                            0.5531
                               Rep part cost per unit                          33.72 $ each
                               Amount Required                                     0 Number
                               Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                               Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost                                0
                               Annualized Cost                                     0

                               Total Cost Replacement Parts & Catalyst                                                0

                               Design Flow                     264,000 dscfm                      300000 scfm
                                                                    450 Temp Deg F
                                                                  12% % Moisture
                                                               508,380 acfm

Operating Cost Calculations                                              Annual hours of operation:                       8,760
                                                                         Utilization Rate:                                90.0%

                                Unit         Unit of                        Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                         Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                        0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                                  NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                        0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                         NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                               1668.6 kW-hr                  13,155,339             617,249 $/kW-hr, 1,669 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                          3
Natural Gas                                 4.24 Mft                               0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                       0.20 Mgal                            1.5 gpm                            717               146 $/Mgal, 1.5 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                    0.25 Mscf                              1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                       280.00 Ton                            0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                         304.57 Ton                         245.90 lb/hr                         1,077           328,034 $/Ton, 245.9 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                                25.38 Ton                           0.195 ton/hr                       1,539            39,063 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                   273 Ton                           0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                    1.52 Mgal                            0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                     3
Catalyst                                          0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                         0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                        *annual use rate is in same units of measurement as the unit cost facto
                                                                                                           Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                        Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                        Rate        Measure           %               T/yr    Comments/Notes
                      0.25 lb/MMBtu                                  650 MMBTU/HR          NA                633.04
Controlled Emission Rate
           Perf                   Unit of                     Flow        Unit of       Control Eff.      Emis Rate
         Guarantee                Measure                     Rate        Measure          95%              T/yr     Currently assumes 80%.
                                                                                           95%                   32 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                        601.4 Assuming 90% control.


                                      Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                                457,542                  12            0.55          0.7              1668.5        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                      Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                                2                    125             0.8          0.7                  0.1       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                            0.0                   62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        144.53 lb/hr SO2                             2.50 lb NaOH/lb SO2                               361.32 lb/hr Caustic
Lime Use                           144.53 lb/hr SO2                               1.7 lb Lime/lb SO2                              245.90 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                            144.53 lb/hr
Reagent Feed rate                        245.90 lb/hr                    Equation 6-38 EPA/600/R-00/093
Reagent flow rate                          1.67 gpm                      Equation 6-39 EPA/600/R-00/093
water use                                  1.52 gpm




Boiler DFGD.xlsDry FGDL-Hi(e)-Hi(c)                                                                                                                                                                             Page 6 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              1,030,184
     Instrumentation                                  10% of control device cost (A)                                         103,018
     Sales Taxes                                     6.0% of control device cost (A)                                          61,811
     Freight                                           5% of control device cost (A)                                          51,509
   Purchased Equipment Total (B                       21%                                                                  1,246,523

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                        149,583
      Handling & erection                             40% of purchased equip cost (B)                                        498,609
      Electrical                                       1% of purchased equip cost (B)                                         12,465
      Piping                                          30% of purchased equip cost (B)                                        373,957
      Insulation                                       1% of purchased equip cost (B)                                         12,465
      Painting                                         1% of purchased equip cost (B)                                         12,465
    Installation Total                                85%                                                                  1,059,544
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            2,306,067

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       124,652
      Construction & field expenses                    10% of purchased equip cost (B)                                       124,652
      Construction fee                                 10% of purchased equip cost (B)                                       124,652
      Start-up                                          1% of purchased equip cost (B)                                        12,465
      Performance test                                  1% of purchased equip cost (B)                                        12,465
      Contingencies                                     3% of purchased equip cost (B)                                        37,396
  Total Indirect Capital Costs, IC                     35%                                                                   436,283

Total Capital Investment (TCI) = DC + IC                                                                                   2,742,350

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 245.9 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               328,034
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 1,669 kW-hr, 8760 hr/yr, 90.0% of capacity              617,249

  Total Annual Direct Operating Costs                                                                                        979,119

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                   20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                        54,847
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                        27,424
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                        27,424
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate             390,449
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  1,499,564


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                2,478,683
                               B
Pollutant Removed (tons/yr)                                                                                                      601
Cost per ton of SO2 Removed                                                                                                    4,122




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Boiler DFGD.xlsDry FGDL-Hi(e)-Lo(c)                                                                                                                  Page 7 of 12
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                                                                                           BART ANALYSIS 2004
                                                                                     DRY FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                  7.0%
                               Equipment Life                                    10 years
                               CRF                                          0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                     2 years
                               CRF                                          0.5531
                                                                                            3
                               Catalyst cost per unit                            650 $/ft
                                                                                       3
                               Amount Required                                     0 ft
                               Catalyst Cost                                       0 Cost adjusted for freight & sales tax
                               Installation Labor                                  0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                                0
                               Annualized Cost                                     0

                               Replacement Parts & Equipmen
                               Equipment Life                                    2
                               CRF                                          0.5531
                               Rep part cost per unit                        33.72 $ each
                               Amount Required                                   0 Number
                               Total Rep Parts Cost                              0 Cost adjusted for freight & sales tax
                               Installation Labor                                0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost                              0
                               Annualized Cost                                   0

                               Total Cost Replacement Parts & Catalyst                                              0

                               Design Flow                   264,000 dscfm                      300000 scfm
                                                                  450 Temp Deg F
                                                                12% % Moisture
                                                             508,380 acfm

Operating Cost Calculations                                            Annual hours of operation:                       8,760
                                                                       Utilization Rate:                                90.0%

                                Unit         Unit of                      Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                       Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                      0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                                NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                      0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                       NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                             1668.6 kW-hr                  13,155,339             617,249 $/kW-hr, 1,669 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                        3
Natural Gas                                4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                      0.20 Mgal                           1.5 gpm                            717               146 $/Mgal, 1.5 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                   0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        304.57 Ton                        245.90 lb/hr                         1,077           328,034 $/Ton, 245.9 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25.38 Ton                          0.195 ton/hr                       1,539            39,063 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                  273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                   1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                   3
Catalyst                                        0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                       0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                      *annual use rate is in same units of measurement as the unit cost facto
                                                                                                         Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                      Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                      Rate        Measure           %               T/yr    Comments/Notes
                      0.25 lb/MMBtu                                650 MMBTU/HR          NA                633.04
Controlled Emission Rate
           Perf                   Unit of                   Flow        Unit of       Control Eff.      Emis Rate
         Guarantee                Measure                   Rate        Measure          95%              T/yr     Currently assumes 80%.
                                                                                         95%                   32 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                      601.4 Assuming 90% control.


                                  Flow acfm            ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                                457,542                12            0.55          0.7              1668.5        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                  P ft H2O    Pump Eff       Motor Eff
Circ Pump                                2                  125             0.8          0.7                  0.1       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                            0.0                 62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        144.53 lb/hr SO2                           2.50 lb NaOH/lb SO2                               361.32 lb/hr Caustic
Lime Use                           144.53 lb/hr SO2                             1.7 lb Lime/lb SO2                              245.90 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                            144.53 lb/hr
Reagent Feed rate                        245.90 lb/hr                  Equation 6-38 EPA/600/R-00/093
Reagent flow rate                          1.67 gpm                    Equation 6-39 EPA/600/R-00/093
water use                                  1.52 gpm




Boiler DFGD.xlsDry FGDL-Hi(e)-Lo(c)                                                                                                                                                                           Page 8 of 12
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                                                              BART ANALYSIS 2004
                                                                FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                                 597,758
     Instrumentation                                               10% of control device cost (A)                                     59,776
     Sales Taxes                                                    6% of control device cost (A)                                     35,866
     Freight                                                        5% of control device cost (A)                                     29,888

    Purchased Equipment Total (B)                                  21%                                                               723,288
    Direct installation costs
      Foundations & supports                                        4% of purchased equip cost (B)                                    28,932
      Handling & erection                                          50% of purchased equip cost (B)                                   361,644
      Electrical                                                    8% of purchased equip cost (B)                                    57,863
      Piping                                                        1% of purchased equip cost (B)                                     7,233
      Insulation for ductwork                                       7% of purchased equip cost (B)                                    50,630
      Painting                                                      4% of purchased equip cost (B)                                    28,932
    Installation Total                                             74%                                                          0    535,233
      Site Preparation, as required                                    Site Specific                                                NA
      Buildings, as required                                           Site Specific                                                NA

  Total Direct Capital Cost                                                                                                         1,258,521

 Indirect Capital Costs
      Engineering                                                  10% of purchased equip cost (B)                                     72,329
      Construction and field expense                               20% of purchased equip cost (B)                                    144,658
      Contractor fees                                              10% of purchased equip cost (B)                                     72,329
      Startup                                                       1% of purchased equip cost (B)                                      7,233
      Performance test                                              1% of purchased equip cost (B)                                      7,233
      Contingencies                                                 3% of purchased equip cost (B)                                     21,699
 Total Indirect Capital Costs                                      45%                                                                325,479
Total Capital Investment (TCI) = DC + IC                                                                                            1,584,000


OPERATING COSTS
  Direct Operating Costs
      Operating Labor                                            25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         50,025
      Supervisor                                                  15% of operator labor costs                                          7,504
      Maintenance Labor                                          17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         17,509
      Maintenance Materials                                      100% of maintenance labor costs                                      17,509
      Replacement parts, bags                                                                                                        344,907
      Utilities
           Electricity                                             0.05 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity       1,789,068
           Compressed Air                                          0.27 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity          131,839
            Solid Waste Disposal                                  25.38 $/Ton, 390.430 lb/hr, 8760 hr/yr                              37,110

  Total Annual Direct Operating Costs (DC                                                                                           2,395,471

  Indirect Operating Costs
      Overhead                                                     60% of oper, maint & supv labor + maint mtl costs                  55,528
      Administration (2% total capital costs)                       2% of total capital costs (TCI)                                   31,680
      Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                   15,840
      Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                   15,840
      Capital Recovery                                              9% for a 20- year equipment life and a 7% interest rate          149,518
  Total Indirect Operating Costs                                       Sum indirect oper costs + capital recovery cost               268,407

Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                         2,663,877
Pollutant Removed (tons/yr)                                                                                                             1,625
Cost per ton of PM Removed                                                                                                              1,640




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                                                                                           BART ANALYSIS 2004
                                                                                             FABRIC FILTER
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                        7.0%
                               Equipment Life                          20 years
                               CRF                                0.0944

                               Catalyst Replacement Cost
                               Catalyst Life                           2 years
                               CRF                                0.5531
                                                                                3
                               Catalyst cost per unit                650 $/ft
                               Amount Required                          0 ft3
                               Catalyst Cost                            0 Cost adjusted for freight & sales tax
                               Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                     0
                               Annualized Cost                          0

                               Replacement Parts & Equipmen
                               Equipment Life                    2 years
                               CRF                          0.5531
                               Rep part cost per unit        35.53 $ each
                               Amount Required                8134 Number
                               Total Rep Parts Cost        320,821 Cost adjusted for freight & sales tax
                               Installation Labor           24,086 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost        344,907
                               Annualized Cost             190,765

                               Total Cost Replacement Parts (Bags)                                   344,907

                               Design Flow          264,000 dscfm                   300000 scfm
                                                         450 Temp Deg F
                                                        12% % Moisture
                                                    508,380 acfm

Operating Cost Calculations                                  Annual hours of operation:      8,760
                                                             Utilization Rate:               90.0%
                              Unit       Unit of     Use          Unit of        Annual          Annual     Comments
Item                         Cost $     Measure      Rate        Measure          Use*            Cost
Op Labor                         25.38 Hr                  2 hr/8 hr shift             1,971         50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                   NA             NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                  1 hr/8 hr shift               986         17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                   NA             NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr            4836 kW-hr               38,130,185       1,789,068 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                    3
Natural Gas                              4.24 Mft                      0 scfm                              0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.22 Mgal                     0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf               1016.76 Mscfm                       480,968         131,839 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                       300 Ton                      0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                                300 Ton                      0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                             25.38 Ton                  0.185 ton/hr                        1,462          37,110 $/Ton, 390.430 lb/hr, 8760 hr/yr
Haz W Disp                                273 Ton                  0.000 ton/hr                            0               0 $/Ton, 390.430 lb/hr, 8760 hr/yr
WW Treat                                  1.5 Mgal                     0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                650 ft                         0 ft3                   2 yr life                   0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                       35.53299492 bag              8134.078212 bags                  2 yr life            190,765 $/bag, 8,134.1 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                           *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission            Unit of                 Flow      Unit of       Control Eff.       Emis Rate
         Factor            Measure                  Rate      Measure           %                T/yr      Comments/Notes
                    390 lb/hr                         -      MMBtu/hr          NA                     1710
Controlled Emission Rate
          Perf              Unit of                 Flow      Unit of       Control Eff.       Emis Rate
       Guarantee           Measure                  Rate      Measure           %                T/yr      Comments/Notes
                                                                                 95.00%               85.5 Currently assumes 95%.
Emission Reduction T/yr                                                                              1,625

Electrical Consumption Requirements Kilowatts
                                  Flow acfm     D P in H2O        Blower-Motor Eff                 kW
Blower                            508,380               6              0.65                       4836.4       OAQPS Cost Cont Manual 6th ed - Eq 1.14




Boiler DFGD.xlsFF-Lo(e)Lo(c)                                                                                                                                                                           Page 10 of 12
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                                                              BART ANALYSIS 2004
                                                                FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                                 7,471,980
     Instrumentation                                               10% of control device cost (A)                                      747,198
     Sales Taxes                                                    6% of control device cost (A)                                      448,319
     Freight                                                        5% of control device cost (A)                                      373,599

     Purchased Equipment Total (B)                                 21%                                                               9,041,096
     Direct installation costs
       Foundations & supports                                       4% of purchased equip cost (B)                                    361,644
       Handling & erection                                         50% of purchased equip cost (B)                                  4,520,548
       Electrical                                                   8% of purchased equip cost (B)                                    723,288
       Piping                                                       1% of purchased equip cost (B)                                     90,411
       Insulation for ductwork                                      7% of purchased equip cost (B)                                    632,877
       Painting                                                     4% of purchased equip cost (B)                                    361,644
     Installation Total                                            74%                                                          0   6,690,411
       Site Preparation, as required                                   Site Specific                                                NA
       Buildings, as required                                          Site Specific                                                NA

  Total Direct Capital Cost                                                                                                         15,731,507

 Indirect Capital Costs
      Engineering                                                  10% of purchased equip cost (B)                                     904,110
      Construction and field expense                               20% of purchased equip cost (B)                                   1,808,219
      Contractor fees                                              10% of purchased equip cost (B)                                     904,110
      Startup                                                       1% of purchased equip cost (B)                                      90,411
      Performance test                                              1% of purchased equip cost (B)                                      90,411
      Contingencies                                                 3% of purchased equip cost (B)                                     271,233
 Total Indirect Capital Costs                                      45%                                                               4,068,493
Total Capital Investment (TCI) = DC + IC                                                                                            19,800,000


OPERATING COSTS
  Direct Operating Costs
      Operating Labor                                            25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          50,025
      Supervisor                                                  15% of operator labor costs                                           7,504
      Maintenance Labor                                          17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          17,509
      Maintenance Materials                                      100% of maintenance labor costs                                       17,509
      Replacement parts, bags                                                                                                         344,907
      Utilities
           Electricity                                             0.05 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity        1,789,068
           Compressed Air                                          0.27 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity           131,839
            Solid Waste Disposal                                  25.38 $/Ton, 390.430 lb/hr, 8760 hr/yr                               39,059

  Total Annual Direct Operating Costs (DC                                                                                            2,397,420

  Indirect Operating Costs
      Overhead                                                     60% of oper, maint & supv labor + maint mtl costs                   55,528
      Administration (2% total capital costs)                       2% of total capital costs (TCI)                                   396,000
      Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                   198,000
      Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                    198,000
      Capital Recovery                                              9% for a 20- year equipment life and a 7% interest rate          1,868,980
  Total Indirect Operating Costs                                       Sum indirect oper costs + capital recovery cost               2,716,508

Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                          5,113,928
Pollutant Removed (tons/yr)                                                                                                              1,710
Cost per ton of PM Removed                                                                                                               2,991




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                                                                                          BART ANALYSIS 2004
                                                                                            FABRIC FILTER
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                        7.0%
                              Equipment Life                          20 years
                              CRF                                0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                           2 years
                              CRF                                0.5531
                                                                               3
                              Catalyst cost per unit                650 $/ft
                              Amount Required                          0 ft3
                              Catalyst Cost                            0 Cost adjusted for freight & sales tax
                              Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                     0
                              Annualized Cost                          0

                              Replacement Parts & Equipmen
                              Equipment Life                    2 years
                              CRF                          0.5531
                              Rep part cost per unit        35.53 $ each
                              Amount Required                8134 Number
                              Total Rep Parts Cost        320,821 Cost adjusted for freight & sales tax
                              Installation Labor           24,086 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost        344,907
                              Annualized Cost             190,765

                              Total Cost Replacement Parts (Bags)                                   344,907

                              Design Flow          264,000 dscfm                   300000 scfm
                                                        450 Temp Deg F
                                                       12% % Moisture
                                                   508,380 acfm

Operating Cost Calculations                                  Annual hours of operation:      8,760
                                                             Utilization Rate:               90.0%
                              Unit       Unit of     Use          Unit of        Annual          Annual     Comments
Item                         Cost $     Measure      Rate        Measure          Use*            Cost
Op Labor                         25.38 Hr                  2 hr/8 hr shift             1,971         50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                   NA             NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                  1 hr/8 hr shift               986         17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                   NA             NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr            4836 kW-hr               38,130,185       1,789,068 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                   3
Natural Gas                             4.24 Mft                      0 scfm                              0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.22 Mgal                     0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf               1016.76 Mscfm                       480,968         131,839 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      300 Ton                      0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                               300 Ton                      0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                            25.38 Ton                  0.195 ton/hr                        1,539          39,059 $/Ton, 390.430 lb/hr, 8760 hr/yr
Haz W Disp                               273 Ton                  0.000 ton/hr                            0               0 $/Ton, 390.430 lb/hr, 8760 hr/yr
WW Treat                                 1.5 Mgal                     0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                               650 ft                         0 ft3                   2 yr life                   0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                      35.53299492 bag              8134.078212 bags                  2 yr life            190,765 $/bag, 8,134.1 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                                                    Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission            Unit of                Flow      Unit of       Control Eff.       Emis Rate
         Factor            Measure                 Rate      Measure           %                T/yr      Comments/Notes
                    390 lb/hr                        -      MMBtu/hr          NA                     1710
Controlled Emission Rate
          Perf              Unit of                Flow      Unit of       Control Eff.       Emis Rate
       Guarantee           Measure                 Rate      Measure           %                T/yr       Comments/Notes
                                                                                99.99%                 0.2 Currently assumes 95%.
Emission Reduction T/yr                                                                             1,710

Electrical Consumption Requirements Kilowatts
                                 Flow acfm     D P in H2O        Blower-Motor Eff                 kW
Blower                           508,380               6              0.65                       4836.4       OAQPS Cost Cont Manual 6th ed - Eq 1.14




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                                                        BART ANALYSIS 2004
                                                  WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 2,575,826
     Instrumentation                                10% of control device cost (A)                                              257,583
     Sales Taxes                                    6.0% of control device cost (A)                                             154,550
     Freight                                          5% of control device cost (A)                                             128,791
   Purchased Equipment Total (B)                    21%                                                                       3,116,750

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                            374,010
      Handling & erection                            40% of purchased equip cost (B)                                          1,246,700
      Electrical                                      1% of purchased equip cost (B)                                             31,168
      Piping                                         30% of purchased equip cost (B)                                            935,025
      Insulation                                      1% of purchased equip cost (B)                                             31,168
      Painting                                        1% of purchased equip cost (B)                                             31,168
    Installation Total                               85%                                                                      2,649,238
      Site Preparation, as required                      Site Specific                                                       NA
      Buildings, as required                             Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                               5,765,988

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                           311,675
      Construction & field expenses                   10% of purchased equip cost (B)                                           311,675
      Construction fee                                10% of purchased equip cost (B)                                           311,675
      Start-up                                         1% of purchased equip cost (B)                                            31,168
      Performance test                                 1% of purchased equip cost (B)                                            31,168
      Contingencies                                    3% of purchased equip cost (B)                                            93,503
  Total Indirect Capital Costs, IC                    35%                                                                     1,090,863

Total Capital Investment (TCI) = DC + IC                                                                                      6,856,850

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                       25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                12,506
     Supervisor                                      15% of oper labor costs 15%                                                 1,876
    Operating Materials
     Reagent #1                                       284 $/Ton, 361.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH            404,888
     Reagent #2                                        NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                           -
     Catalyst                                          NA                                                                            -
    Wastewater Treatment                              1.52 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity                    659,195
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                       9,727
      Maintenance Materials                         100% of maintenance labor costs                                              9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,880 kW-hr, 8760 hr/yr, 90.0% of capacity                  695,348

  Total Annual Direct Operating Costs                                                                                         1,793,267

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                           137,137
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                            68,569
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                            68,569
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate                 976,261
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cost                      3,064,104


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  4,857,371
Pollutant Removed (tons/yr)B                                                                                                        570
Cost per ton of SO2 Removed                                                                                                       8,526




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Boiler WFGD.xlsWFGD-Lo(e)-Lo(c)                                                                                                                       Page 1 of 8
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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                            7.0%
                             Equipment Life                              10 years
                             CRF                                    0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                               2 years
                             CRF                                    0.5531
                             Catalyst cost per unit                    650 $/ft3
                             Amount Required                             0 ft3
                             Catalyst Cost                               0 Cost adjusted for freight & sales tax
                             Installation Labor                          0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                        0
                             Annualized Cost                             0

                             Replacement Parts & Equipment
                             Equipment Life                    2
                             CRF                          0.5531
                             Rep part cost per unit        33.72 $ each
                             Amount Required                   0 Number
                             Total Rep Parts Cost              0 Cost adjusted for freight & sales tax
                             Installation Labor                0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost              0
                             Annualized Cost                   0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow               264,000 dscfm                300000 scfm
                                                            450 Temp Deg F
                                                           12% % Moisture
                                                       508,380 acfm

Operating Cost Calculations                                      Annual hours of operation:                  8,760
                                                                 Utilization Rate:                           90.0%

                               Unit         Unit of                Use        Unit of          Annual           Annual    Comments
Item                          Cost $       Measure                 Rate      Measure            Use*             Cost
Op Labor                          25.38 Hr                             0.5 hr/8 hr shift             493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                       17.77 Hr                             0.5 hr/8 hr shift             493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                           NA                                                              NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                       0.047 kW-hr                       1879.7 kW-hr              14,819,855          695,348 $/kW-hr, 1,880 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                        0 scfm                         0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                    915.1 gpm                    432,871          87,893 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                        0 Mscfm                        0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   284.26 Ton                    361.32 lb/hr                    1,424         404,888 $/Ton, 361.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        300 Ton                     0.000 lb/hr                        0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25 Ton                     0.000 ton/hr                       0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                     0.000 ton/hr                       0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                    915.1 gpm                    432,871         659,195 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                                      0 ft3                      0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                      0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission              Unit of                 Flow        Unit of Control Eff.       Emis Rate
         Factor              Measure                  Rate        Measure     %                T/yr    Comments/Notes
                     0.25 lb/MMBtu                           650 MMBTU/HR    NA                 633.04
Controlled Emission Rate
           Perf                   Unit of             Flow        Unit of Control Eff.       Emis Rate
         Guarantee                Measure             Rate        Measure    90%               T/yr     Currently assumes 80%.
                                                                             90%                    63 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                           569.7 Assuming 90% control.


                                  Flow acfm       ∆ P in H2O     Blower Eff   Motor Eff         kW
Blower                            457,542              12           0.55        0.7            1668.5        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm            P ft H2O   Pump Eff     Motor Eff
Circ Pump                          4,575              125           0.8         0.7             192.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                       915.1              62.5          0.8         0.7              19.2        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       144.53 lb/hr SO2                    2.50 lb NaOH/lb SO2                            361.32 lb/hr Caustic
Lime Use                          144.53 lb/hr SO2                    1.53 lb Lime/lb SO2                            221.13 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Boiler WFGD.xlsWFGD-Lo(e)-Lo(c)                                                                                                                                                               Page 2 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 38,650,338
     Instrumentation                                  10% of control device cost (A)                                           3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                           2,319,020
     Freight                                           5% of control device cost (A)                                           1,932,517
   Purchased Equipment Total (B)                     21%                                                                      46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                         5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                        18,706,764
      Electrical                                       1% of purchased equip cost (B)                                           467,669
      Piping                                          30% of purchased equip cost (B)                                        14,030,073
      Insulation                                       1% of purchased equip cost (B)                                           467,669
      Painting                                         1% of purchased equip cost (B)                                           467,669
    Installation Total                                85%                                                                    39,751,873
      Site Preparation, as required                       Site Specific                                                      NA
      Buildings, as required                              Site Specific                                                      NA

  Total Direct Capital Cost, DC                                                                                               86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                         4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                         4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                         4,676,691
      Start-up                                          1% of purchased equip cost (B)                                           467,669
      Performance test                                  1% of purchased equip cost (B)                                           467,669
      Contingencies                                     3% of purchased equip cost (B)                                         1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                    16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                     102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                12,506
     Supervisor                                       15% of oper labor costs 15%                                                 1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 361.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH           404,888
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                           -
     Catalyst                                           NA                                                                            -
    Wastewater Treatment                               1.52 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity                    659,195
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                       9,727
      Maintenance Materials                          100% of maintenance labor costs                                              9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 1,880 kW-hr, 8760 hr/yr, 90.0% of capacity                  695,348

  Total Annual Direct Operating Costs                                                                                          1,793,267

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                         2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                         1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                         1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate              14,648,823
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                     20,577,879


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  22,371,146
                              B
Pollutant Removed (tons/yr)                                                                                                         570
Cost per ton of SO2 Removed                                                                                                      39,266




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Boiler WFGD.xlsWFGD-Lo(e)-Hi(c)                                                                                                                        Page 3 of 8
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                                                                                  BART ANALYSIS 2004
                                                                            WET FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                             7.0%
                              Equipment Life                               10 years
                              CRF                                     0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                2 years
                              CRF                                     0.5531
                              Catalyst cost per unit                     650 $/ft3
                              Amount Required                              0 ft3
                              Catalyst Cost                                0 Cost adjusted for freight & sales tax
                              Installation Labor                           0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                         0
                              Annualized Cost                              0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                       0

                              Design Flow               264,000 dscfm                 300000 scfm
                                                             450 Temp Deg F
                                                           12% % Moisture
                                                        508,380 acfm

Operating Cost Calculations                                        Annual hours of operation:                   8,760
                                                                   Utilization Rate:                            90.0%

                               Unit         Unit of                  Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure                  Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                              0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                          NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                              0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                        1879.7 kW-hr                14,819,855         695,348 $/kW-hr, 1,880 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                          0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                      915.1 gpm                     432,871          87,893 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                          0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   284.26 Ton                      361.32 lb/hr                     1,424         404,888 $/Ton, 361.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        300 Ton                       0.000 lb/hr                         0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25 Ton                       0.000 ton/hr                        0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                       0.000 ton/hr                        0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                      915.1 gpm                     432,871         659,195 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                         0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                        0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                                                  Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                  Flow        Unit of      Control Eff.    Emis Rate
          Factor             Measure                   Rate        Measure          %             T/yr    Comments/Notes
                     0.25 lb/MMBtu                            650 MMBTU/HR         NA              633.04
Controlled Emission Rate
           Perf                   Unit of              Flow        Unit of      Control Eff.    Emis Rate
         Guarantee                Measure              Rate        Measure         90%            T/yr     Currently assumes 80%.
                                                                                   90%                 63 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                              569.7 Assuming 90% control.


                                  Flow acfm          ∆ P in H2O    Blower Eff    Motor Eff         kW
Blower                            457,542               12            0.55         0.7            1668.5        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm             P ft H2O    Pump Eff      Motor Eff
Circ Pump                          4,575               125            0.8          0.7             192.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                       915.1               62.5           0.8          0.7              19.2        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        144.53 lb/hr SO2                     2.50 lb NaOH/lb SO2                             361.32 lb/hr Caustic
Lime Use                           144.53 lb/hr SO2                     1.53 lb Lime/lb SO2                             221.13 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Boiler WFGD.xlsWFGD-Lo(e)-Hi(c)                                                                                                                                                             Page 4 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 2,575,826
     Instrumentation                                  10% of control device cost (A)                                            257,583
     Sales Taxes                                     6.0% of control device cost (A)                                            154,550
     Freight                                           5% of control device cost (A)                                            128,791
   Purchased Equipment Total (B)                     21%                                                                      3,116,750

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                           374,010
      Handling & erection                             40% of purchased equip cost (B)                                         1,246,700
      Electrical                                       1% of purchased equip cost (B)                                            31,168
      Piping                                          30% of purchased equip cost (B)                                           935,025
      Insulation                                       1% of purchased equip cost (B)                                            31,168
      Painting                                         1% of purchased equip cost (B)                                            31,168
    Installation Total                                85%                                                                     2,649,238
      Site Preparation, as required                       Site Specific                                                      NA
      Buildings, as required                              Site Specific                                                      NA

  Total Direct Capital Cost, DC                                                                                               5,765,988

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                          311,675
      Construction & field expenses                    10% of purchased equip cost (B)                                          311,675
      Construction fee                                 10% of purchased equip cost (B)                                          311,675
      Start-up                                          1% of purchased equip cost (B)                                           31,168
      Performance test                                  1% of purchased equip cost (B)                                           31,168
      Contingencies                                     3% of purchased equip cost (B)                                           93,503
  Total Indirect Capital Costs, IC                     35%                                                                    1,090,863

Total Capital Investment (TCI) = DC + IC                                                                                      6,856,850

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                12,506
     Supervisor                                       15% of oper labor costs 15%                                                 1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 361.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH          404,888
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                          -
     Catalyst                                           NA                                                                           -
    Wastewater Treatment                               1.52 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity                   659,195
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                      9,727
      Maintenance Materials                          100% of maintenance labor costs                                             9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 1,880 kW-hr, 8760 hr/yr, 90.0% of capacity                 695,348

  Total Annual Direct Operating Costs                                                                                         1,793,267

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                      20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                          137,137
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                           68,569
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                           68,569
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate                976,261
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                     3,064,104


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  4,857,371
                              B
Pollutant Removed (tons/yr)                                                                                                         633
Cost per ton of SO2 Removed                                                                                                       7,674




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Boiler WFGD.xlsWFGD-Hi(e)-Lo(c)                                                                                                                       Page 5 of 8
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                                                                                  BART ANALYSIS 2004
                                                                            WET FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                             7.0%
                              Equipment Life                               10 years
                              CRF                                     0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                2 years
                              CRF                                     0.5531
                              Catalyst cost per unit                     650 $/ft3
                              Amount Required                              0 ft3
                              Catalyst Cost                                0 Cost adjusted for freight & sales tax
                              Installation Labor                           0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                         0
                              Annualized Cost                              0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                       0

                              Design Flow               264,000 dscfm                 300000 scfm
                                                             450 Temp Deg F
                                                           12% % Moisture
                                                        508,380 acfm

Operating Cost Calculations                                        Annual hours of operation:                   8,760
                                                                   Utilization Rate:                            90.0%

                               Unit         Unit of                  Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure                  Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                              0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                          NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                              0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                        1879.7 kW-hr                14,819,855         695,348 $/kW-hr, 1,880 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                          0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                      915.1 gpm                     432,871          87,893 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                          0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   284.26 Ton                      361.32 lb/hr                     1,424         404,888 $/Ton, 361.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        300 Ton                       0.000 lb/hr                         0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25 Ton                       0.000 ton/hr                        0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                       0.000 ton/hr                        0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                      915.1 gpm                     432,871         659,195 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                         0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                        0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                                                  Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                  Flow        Unit of      Control Eff.    Emis Rate
          Factor             Measure                   Rate        Measure          %             T/yr    Comments/Notes
                     0.25 lb/MMBtu                            650 MMBTU/HR         NA              633.04
Controlled Emission Rate
           Perf                   Unit of              Flow        Unit of      Control Eff.    Emis Rate
         Guarantee                Measure              Rate        Measure       99.99%           T/yr     Currently assumes 80%.
                                                                                 99.99%                 0 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                              633.0 Assuming 99.99% control.


                                  Flow acfm          ∆ P in H2O    Blower Eff    Motor Eff         kW
Blower                            457,542               12            0.55         0.7            1668.5        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm             P ft H2O    Pump Eff      Motor Eff
Circ Pump                          4,575               125            0.8          0.7             192.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                       915.1               62.5           0.8          0.7              19.2        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        144.53 lb/hr SO2                     2.50 lb NaOH/lb SO2                             361.32 lb/hr Caustic
Lime Use                           144.53 lb/hr SO2                     1.53 lb Lime/lb SO2                             221.13 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Boiler WFGD.xlsWFGD-Hi(e)-Lo(c)                                                                                                                                                             Page 6 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 38,650,338
     Instrumentation                                  10% of control device cost (A)                                           3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                           2,319,020
     Freight                                           5% of control device cost (A)                                           1,932,517
   Purchased Equipment Total (B)                     21%                                                                      46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                         5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                        18,706,764
      Electrical                                       1% of purchased equip cost (B)                                           467,669
      Piping                                          30% of purchased equip cost (B)                                        14,030,073
      Insulation                                       1% of purchased equip cost (B)                                           467,669
      Painting                                         1% of purchased equip cost (B)                                           467,669
    Installation Total                                85%                                                                    39,751,873
      Site Preparation, as required                       Site Specific                                                      NA
      Buildings, as required                              Site Specific                                                      NA

  Total Direct Capital Cost, DC                                                                                               86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                         4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                         4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                         4,676,691
      Start-up                                          1% of purchased equip cost (B)                                           467,669
      Performance test                                  1% of purchased equip cost (B)                                           467,669
      Contingencies                                     3% of purchased equip cost (B)                                         1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                    16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                     102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                12,506
     Supervisor                                       15% of oper labor costs 15%                                                 1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 361.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH           404,888
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                           -
     Catalyst                                           NA                                                                            -
    Wastewater Treatment                               1.52 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity                    659,195
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                       9,727
      Maintenance Materials                          100% of maintenance labor costs                                              9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 1,880 kW-hr, 8760 hr/yr, 90.0% of capacity                  695,348

  Total Annual Direct Operating Costs                                                                                          1,793,267

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                         2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                         1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                         1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate              14,648,823
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                     20,577,879


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  22,371,146
                              B
Pollutant Removed (tons/yr)                                                                                                         633
Cost per ton of SO2 Removed                                                                                                      35,343




    6




Boiler WFGD.xlsWFGD-Hi(e)-Hi(c)                                                                                                                        Page 7 of 8
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                                                                                  BART ANALYSIS 2004
                                                                            WET FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                             7.0%
                              Equipment Life                               10 years
                              CRF                                     0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                2 years
                              CRF                                     0.5531
                              Catalyst cost per unit                     650 $/ft3
                              Amount Required                              0 ft3
                              Catalyst Cost                                0 Cost adjusted for freight & sales tax
                              Installation Labor                           0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                         0
                              Annualized Cost                              0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                       0

                              Design Flow               264,000 dscfm                 300000 scfm
                                                             450 Temp Deg F
                                                           12% % Moisture
                                                        508,380 acfm

Operating Cost Calculations                                        Annual hours of operation:                   8,760
                                                                   Utilization Rate:                            90.0%

                               Unit         Unit of                  Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure                  Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                              0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                          NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                              0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                        1879.7 kW-hr                14,819,855         695,348 $/kW-hr, 1,880 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                          0 scfm                          0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                      915.1 gpm                     432,871          87,893 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                          0 Mscfm                         0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   284.26 Ton                      361.32 lb/hr                     1,424         404,888 $/Ton, 361.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        300 Ton                       0.000 lb/hr                         0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25 Ton                       0.000 ton/hr                        0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                       0.000 ton/hr                        0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                      915.1 gpm                     432,871         659,195 $/Mgal, 915.1 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                         0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                        0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                               *annual use rate is in same units of measurement as the unit cost factor
                                                                                                  Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                  Flow        Unit of      Control Eff.    Emis Rate
          Factor             Measure                   Rate        Measure          %             T/yr    Comments/Notes
                     0.25 lb/MMBtu                            650 MMBTU/HR         NA              633.04
Controlled Emission Rate
           Perf                   Unit of              Flow        Unit of      Control Eff.    Emis Rate
         Guarantee                Measure              Rate        Measure       99.99%           T/yr     Currently assumes 80%.
                                                                                 99.99%                 0 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                              633.0 Assuming 99.99% control.


                                  Flow acfm          ∆ P in H2O    Blower Eff    Motor Eff         kW
Blower                            457,542               12            0.55         0.7            1668.5        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm             P ft H2O    Pump Eff      Motor Eff
Circ Pump                          4,575               125            0.8          0.7             192.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                       915.1               62.5           0.8          0.7              19.2        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        144.53 lb/hr SO2                     2.50 lb NaOH/lb SO2                             361.32 lb/hr Caustic
Lime Use                           144.53 lb/hr SO2                     1.53 lb Lime/lb SO2                             221.13 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Boiler WFGD.xlsWFGD-Hi(e)-Hi(c)                                                                                                                                                             Page 8 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          7,441,059
     Instrumentation                                 10% of control device cost (A)                                      744,106
      Sales Taxes                                   6.0% of control device cost (A)                                      446,464
     Freight                                          5% of control device cost (A)                                      372,053
   Purchased Equipment Total (B)                     21%                                                               9,003,682

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                   1,080,442
      Handling & erection                            40% of purchased equip cost (B)                                   3,601,473
      Electrical                                      1% of purchased equip cost (B)                                      90,037
      Piping                                         30% of purchased equip cost (B)                                   2,701,105
      Insulation                                      1% of purchased equip cost (B)                                      90,037
      Painting                                        1% of purchased equip cost (B)                                      90,037
    Installation Total                               85%                                                               7,653,130
      Site Preparation, as required                      Site Specific                                                NA
      Buildings, as required                             Site Specific                                                NA

  Total Direct Capital Cost, DC                                                                                       16,656,811

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                    900,368
      Construction & field expenses                   10% of purchased equip cost (B)                                    900,368
      Construction fee                                10% of purchased equip cost (B)                                    900,368
      Start-up                                         1% of purchased equip cost (B)                                     90,037
      Performance test                                 1% of purchased equip cost (B)                                     90,037
      Contingencies                                    3% of purchased equip cost (B)                                    270,110
  Total Indirect Capital Costs, IC                    35%                                                              3,151,289

Total Capital Investment (TCI) = DC + IC                                                                              19,808,100

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         12,506
     Supervisor                                       15% of oper labor costs 15%                                          1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH               -
     Reagent #2                                    304.57 $/Ton, 225.8 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime             301,256
     Catalyst                                         NA                                                                       -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                        -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                 9,727
      Maintenance Materials                         100% of maintenance labor costs                                        9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,890 kW-hr, 8760 hr/yr, 90.0% of capacity            699,279

  Total Annual Direct Operating Costs                                                                                  1,034,372

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                 20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                     396,162
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                     198,081
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                     198,081
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate         2,820,228
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                 4,667,225


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           5,701,597
Pollutant Removed (tons/yr)B                                                                                                 601
Cost per ton of SO2 Removed                                                                                                9,481




Boilers AFGD.xlsAFGD Lo(e)-Lo(c)                                                                                                                    Page 1 of 8
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                                                                                      BART ANALYSIS 2004
                                                                               ADVANCED FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                              Catalyst cost per unit                           650 $/ft 3
                              Amount Required                                    0 ft3
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                           0

                              Design Flow              264,000 dscfm                        300000 scfm
                                                            450 Temp Deg F
                                                          12% % Moisture
                                                       508,380 acfm

Operating Cost Calculations                                       Annual hours of operation:                        8,760
                                                                  Utilization Rate:                                 90.0%

                               Unit         Unit of                     Use           Unit of          Annual          Annual    Comments
Item                           Cost $       Measure                     Rate         Measure            Use*            Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                               NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          1890.4 kW-hr                   14,903,649        699,279 $/kW-hr, 1,890 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                           0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                         2.2 gpm                          1,035            210 $/Mgal, 2.2 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                           1 Mscfm                          473            130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                         0.00 lb/hr                            0              0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                       225.83 lb/hr                          989        301,256 $/Ton, 225.8 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                        0.000 ton/hr                           0              0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                        0.000 ton/hr                           0              0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                         0.0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                 0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                     Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                 Rate        Measure     %                        T/yr    Comments/Notes
                      0.2 lb/MMBtu                          650 MMBTU/HR    NA                         633.04
Controlled Emission Rate
           Perf                    Unit of           Flow          Unit of          Control Eff.    Emis Rate
         Guarantee                 Measure           Rate          Measure             95%            T/yr     Currently assumes 80%.
                                                                                       95%                 32 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  601.4 Assuming 95% control.


                                   Flow acfm       ∆ P in H2O      Blower Eff         Motor Eff         kW
Blower                             457,542             12             0.55              0.7            1668.5       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm          P ft H2O      Pump Eff           Motor Eff
Circ Pump                           4,575            125              0.8               0.7             192.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0             62.5             0.8               0.7              0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       144.53 lb/hr SO2                         2.50 lb NaOH/lb SO2                              361.32 lb/hr Caustic
Limestone Use                     144.53 lb/hr SO2                           1.6 lb Limestone/lb SO2                        225.83 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         144.53 lb/hr
Limestone Feed rate                   225.83 lb/hr
gypsum formation rate                    388 lb/hr                dry basis
gypsum formed                            466 lb/hr                wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             2 gpm
for gypsum formation

Centrifuge
horse power                                   40                30 kW




Boilers AFGD.xlsAFGD Lo(e)-Lo(c)                                                                                                                                                                          Page 2 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                         24,238,993
     Instrumentation                                 10% of control device cost (A)                                    2,423,899
      Sales Taxes                                   6.0% of control device cost (A)                                    1,454,340
     Freight                                          5% of control device cost (A)                                    1,211,950
   Purchased Equipment Total (B)                     21%                                                              29,329,182

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                   3,519,502
      Handling & erection                            40% of purchased equip cost (B)                                  11,731,673
      Electrical                                      1% of purchased equip cost (B)                                     293,292
      Piping                                         30% of purchased equip cost (B)                                   8,798,755
      Insulation                                      1% of purchased equip cost (B)                                     293,292
      Painting                                        1% of purchased equip cost (B)                                     293,292
    Installation Total                               85%                                                              24,929,805
      Site Preparation, as required                      Site Specific                                                NA
      Buildings, as required                             Site Specific                                                NA

  Total Direct Capital Cost, DC                                                                                       54,258,986

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                  2,932,918
      Construction & field expenses                   10% of purchased equip cost (B)                                  2,932,918
      Construction fee                                10% of purchased equip cost (B)                                  2,932,918
      Start-up                                         1% of purchased equip cost (B)                                    293,292
      Performance test                                 1% of purchased equip cost (B)                                    293,292
      Contingencies                                    3% of purchased equip cost (B)                                    879,875
  Total Indirect Capital Costs, IC                    35%                                                             10,265,214

Total Capital Investment (TCI) = DC + IC                                                                              64,524,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         12,506
     Supervisor                                       15% of oper labor costs 15%                                          1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH               -
     Reagent #2                                    304.57 $/Ton, 225.8 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime             301,256
     Catalyst                                         NA                                                                       -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                        -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                 9,727
      Maintenance Materials                         100% of maintenance labor costs                                        9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,890 kW-hr, 8760 hr/yr, 90.0% of capacity            699,279

  Total Annual Direct Operating Costs                                                                                  1,034,372

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                 20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                   1,290,484
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                     645,242
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                     645,242
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate         9,186,794
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos               12,822,436


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                          13,856,808
Pollutant Removed (tons/yr)B                                                                                                 601
Cost per ton of SO2 Removed                                                                                               23,041




Boilers AFGD.xlsAFGD Lo(e)-Hi(c)                                                                                                                    Page 3 of 8
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                                                                                      BART ANALYSIS 2004
                                                                               ADVANCED FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                              Catalyst cost per unit                           650 $/ft 3
                              Amount Required                                    0 ft3
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                           0

                              Design Flow              264,000 dscfm                        300000 scfm
                                                            450 Temp Deg F
                                                          12% % Moisture
                                                       508,380 acfm

Operating Cost Calculations                                       Annual hours of operation:                        8,760
                                                                  Utilization Rate:                                 90.0%

                               Unit         Unit of                     Use           Unit of          Annual          Annual    Comments
Item                           Cost $       Measure                     Rate         Measure            Use*            Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                               NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          1890.4 kW-hr                   14,903,649        699,279 $/kW-hr, 1,890 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                           0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                         2.2 gpm                          1,035            210 $/Mgal, 2.2 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                           1 Mscfm                          473            130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                         0.00 lb/hr                            0              0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                       225.83 lb/hr                          989        301,256 $/Ton, 225.8 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                        0.000 ton/hr                           0              0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                        0.000 ton/hr                           0              0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                         0.0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                 0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                     Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                 Rate        Measure     %                        T/yr    Comments/Notes
                      0.2 lb/MMBtu                          650 MMBTU/HR    NA                         633.04
Controlled Emission Rate
           Perf                    Unit of           Flow          Unit of          Control Eff.    Emis Rate
         Guarantee                 Measure           Rate          Measure             95%            T/yr     Currently assumes 80%.
                                                                                       95%                 32 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  601.4 Assuming 95% control.


                                   Flow acfm       ∆ P in H2O      Blower Eff         Motor Eff         kW
Blower                             457,542             12             0.55              0.7            1668.5       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm          P ft H2O      Pump Eff           Motor Eff
Circ Pump                           4,575            125              0.8               0.7             192.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0             62.5             0.8               0.7              0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       144.53 lb/hr SO2                         2.50 lb NaOH/lb SO2                              361.32 lb/hr Caustic
Limestone Use                     144.53 lb/hr SO2                           1.6 lb Limestone/lb SO2                        225.83 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         144.53 lb/hr
Limestone Feed rate                   225.83 lb/hr
gypsum formation rate                    388 lb/hr                dry basis
gypsum formed                            466 lb/hr                wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             2 gpm
for gypsum formation

Centrifuge
horse power                                   40                30 kW




Boilers AFGD.xlsAFGD Lo(e)-Hi(c)                                                                                                                                                                          Page 4 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          7,441,059
     Instrumentation                                 10% of control device cost (A)                                      744,106
      Sales Taxes                                   6.0% of control device cost (A)                                      446,464
     Freight                                          5% of control device cost (A)                                      372,053
   Purchased Equipment Total (B)                     21%                                                               9,003,682

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                   1,080,442
      Handling & erection                            40% of purchased equip cost (B)                                   3,601,473
      Electrical                                      1% of purchased equip cost (B)                                      90,037
      Piping                                         30% of purchased equip cost (B)                                   2,701,105
      Insulation                                      1% of purchased equip cost (B)                                      90,037
      Painting                                        1% of purchased equip cost (B)                                      90,037
    Installation Total                               85%                                                               7,653,130
      Site Preparation, as required                      Site Specific                                                NA
      Buildings, as required                             Site Specific                                                NA

  Total Direct Capital Cost, DC                                                                                       16,656,811

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                    900,368
      Construction & field expenses                   10% of purchased equip cost (B)                                    900,368
      Construction fee                                10% of purchased equip cost (B)                                    900,368
      Start-up                                         1% of purchased equip cost (B)                                     90,037
      Performance test                                 1% of purchased equip cost (B)                                     90,037
      Contingencies                                    3% of purchased equip cost (B)                                    270,110
  Total Indirect Capital Costs, IC                    35%                                                              3,151,289

Total Capital Investment (TCI) = DC + IC                                                                              19,808,100

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         12,506
     Supervisor                                       15% of oper labor costs 15%                                          1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH               -
     Reagent #2                                    304.57 $/Ton, 225.8 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime             301,256
     Catalyst                                         NA                                                                       -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                        -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                 9,727
      Maintenance Materials                         100% of maintenance labor costs                                        9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,890 kW-hr, 8760 hr/yr, 90.0% of capacity            699,279

  Total Annual Direct Operating Costs                                                                                  1,034,372

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                 20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                     396,162
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                     198,081
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                     198,081
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate         2,820,228
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                 4,667,225


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           5,701,597
Pollutant Removed (tons/yr)B                                                                                                 630
Cost per ton of SO2 Removed                                                                                                9,052




Boilers AFGD.xlsAFGD Hi(e)-Lo(c)                                                                                                                    Page 5 of 8
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                                                                                      BART ANALYSIS 2004
                                                                               ADVANCED FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                              Catalyst cost per unit                           650 $/ft 3
                              Amount Required                                    0 ft3
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                           0

                              Design Flow              264,000 dscfm                        300000 scfm
                                                            450 Temp Deg F
                                                          12% % Moisture
                                                       508,380 acfm

Operating Cost Calculations                                       Annual hours of operation:                        8,760
                                                                  Utilization Rate:                                 90.0%

                               Unit         Unit of                     Use           Unit of          Annual          Annual    Comments
Item                           Cost $       Measure                     Rate         Measure            Use*            Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                               NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          1890.4 kW-hr                   14,903,649        699,279 $/kW-hr, 1,890 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                           0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                         2.2 gpm                          1,035            210 $/Mgal, 2.2 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                           1 Mscfm                          473            130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                         0.00 lb/hr                            0              0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                       225.83 lb/hr                          989        301,256 $/Ton, 225.8 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                        0.000 ton/hr                           0              0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                        0.000 ton/hr                           0              0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                         0.0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                 0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                     Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                 Rate        Measure     %                        T/yr    Comments/Notes
                      0.2 lb/MMBtu                          650 MMBTU/HR    NA                         633.04
Controlled Emission Rate
           Perf                    Unit of           Flow          Unit of          Control Eff.    Emis Rate
         Guarantee                 Measure           Rate          Measure           99.50%           T/yr     Currently assumes 80%.
                                                                                     99.50%                 3 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  629.9 Assuming 99.5% control.


                                   Flow acfm       ∆ P in H2O      Blower Eff         Motor Eff         kW
Blower                             457,542             12             0.55              0.7            1668.5       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm          P ft H2O      Pump Eff           Motor Eff
Circ Pump                           4,575            125              0.8               0.7             192.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0             62.5             0.8               0.7              0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       144.53 lb/hr SO2                         2.50 lb NaOH/lb SO2                              361.32 lb/hr Caustic
Limestone Use                     144.53 lb/hr SO2                           1.6 lb Limestone/lb SO2                        225.83 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         144.53 lb/hr
Limestone Feed rate                   225.83 lb/hr
gypsum formation rate                    388 lb/hr                dry basis
gypsum formed                            466 lb/hr                wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             2 gpm
for gypsum formation

Centrifuge
horse power                                   40                30 kW




Boilers AFGD.xlsAFGD Hi(e)-Lo(c)                                                                                                                                                                          Page 6 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                         24,238,993
     Instrumentation                                 10% of control device cost (A)                                    2,423,899
      Sales Taxes                                   6.0% of control device cost (A)                                    1,454,340
     Freight                                          5% of control device cost (A)                                    1,211,950
   Purchased Equipment Total (B)                     21%                                                              29,329,182

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                   3,519,502
      Handling & erection                            40% of purchased equip cost (B)                                  11,731,673
      Electrical                                      1% of purchased equip cost (B)                                     293,292
      Piping                                         30% of purchased equip cost (B)                                   8,798,755
      Insulation                                      1% of purchased equip cost (B)                                     293,292
      Painting                                        1% of purchased equip cost (B)                                     293,292
    Installation Total                               85%                                                              24,929,805
      Site Preparation, as required                      Site Specific                                                NA
      Buildings, as required                             Site Specific                                                NA

  Total Direct Capital Cost, DC                                                                                       54,258,986

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                  2,932,918
      Construction & field expenses                   10% of purchased equip cost (B)                                  2,932,918
      Construction fee                                10% of purchased equip cost (B)                                  2,932,918
      Start-up                                         1% of purchased equip cost (B)                                    293,292
      Performance test                                 1% of purchased equip cost (B)                                    293,292
      Contingencies                                    3% of purchased equip cost (B)                                    879,875
  Total Indirect Capital Costs, IC                    35%                                                             10,265,214

Total Capital Investment (TCI) = DC + IC                                                                              64,524,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         12,506
     Supervisor                                       15% of oper labor costs 15%                                          1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH               -
     Reagent #2                                    304.57 $/Ton, 225.8 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime             301,256
     Catalyst                                         NA                                                                       -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                        -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                 9,727
      Maintenance Materials                         100% of maintenance labor costs                                        9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,890 kW-hr, 8760 hr/yr, 90.0% of capacity            699,279

  Total Annual Direct Operating Costs                                                                                  1,034,372

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                 20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                   1,290,484
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                     645,242
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                     645,242
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate         9,186,794
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos               12,822,436


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                          13,856,808
Pollutant Removed (tons/yr)B                                                                                                 630
Cost per ton of SO2 Removed                                                                                               21,999




Boilers AFGD.xlsAFGD Hi(e)-Hi(c)                                                                                                                    Page 7 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                               Catalyst cost per unit                           650 $/ft 3
                               Amount Required                                    0 ft3
                               Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                               Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                               Total Installed Cost                               0
                               Annualized Cost                                    0

                               Replacement Parts & Equipment
                               Equipment Life                     2
                               CRF                           0.5531
                               Rep part cost per unit         33.72 $ each
                               Amount Required                    0 Number
                               Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                               Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost               0
                               Annualized Cost                    0

                               Total Cost Replacement Parts & Catalyst                                           0

                               Design Flow              264,000 dscfm                        300000 scfm
                                                             450 Temp Deg F
                                                           12% % Moisture
                                                        508,380 acfm

Operating Cost Calculations                                        Annual hours of operation:                        8,760
                                                                   Utilization Rate:                                 90.0%

                               Unit         Unit of                      Use           Unit of          Annual          Annual    Comments
Item                           Cost $       Measure                      Rate         Measure            Use*            Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift             493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift             493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                      NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           1890.4 kW-hr                   14,903,649        699,279 $/kW-hr, 1,890 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                            0 scfm                             0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                          2.2 gpm                          1,035            210 $/Mgal, 2.2 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                            1 Mscfm                          473            130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                          0.00 lb/hr                            0              0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                        225.83 lb/hr                          989        301,256 $/Ton, 225.8 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                         0.000 ton/hr                           0              0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                         0.000 ton/hr                           0              0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                          0.0 gpm                              0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr    Comments/Notes
                      0.2 lb/MMBtu                           650 MMBTU/HR    NA                         633.04
Controlled Emission Rate
           Perf                    Unit of            Flow          Unit of          Control Eff.    Emis Rate
         Guarantee                 Measure            Rate          Measure           99.50%           T/yr     Currently assumes 80%.
                                                                                      99.50%                 3 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   629.9 Assuming 99.5% control.


                                   Flow acfm       ∆ P in H2O       Blower Eff         Motor Eff         kW
Blower                             457,542              12             0.55              0.7            1668.5       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm           P ft H2O      Pump Eff           Motor Eff
Circ Pump                           4,575             125              0.8               0.7             192.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0              62.5             0.8               0.7              0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       144.53 lb/hr SO2                          2.50 lb NaOH/lb SO2                              361.32 lb/hr Caustic
Limestone Use                     144.53 lb/hr SO2                            1.6 lb Limestone/lb SO2                        225.83 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         144.53 lb/hr
Limestone Feed rate                   225.83 lb/hr
gypsum formation rate                    388 lb/hr                 dry basis
gypsum formed                            466 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             2 gpm
for gypsum formation

Centrifuge
horse power                                   40                 30 kW




Boilers AFGD.xlsAFGD Hi(e)-Hi(c)                                                                                                                                                                           Page 8 of 8
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                         SOx Furnaces
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                               212,376
     Instrumentation                                  10% of control device cost (A)                                         21,238
     Sales Taxes                                     6.0% of control device cost (A)                                         12,743
     Freight                                           5% of control device cost (A)                                         10,619
   Purchased Equipment Total (B                       21%                                                                   256,975

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                        30,837
      Handling & erection                             40% of purchased equip cost (B)                                       102,790
      Electrical                                       1% of purchased equip cost (B)                                         2,570
      Piping                                          30% of purchased equip cost (B)                                        77,093
      Insulation                                       1% of purchased equip cost (B)                                         2,570
      Painting                                         1% of purchased equip cost (B)                                         2,570
    Installation Total                                85%                                                                   218,429
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                             475,405

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       25,698
      Construction & field expenses                    10% of purchased equip cost (B)                                       25,698
      Construction fee                                 10% of purchased equip cost (B)                                       25,698
      Start-up                                          1% of purchased equip cost (B)                                        2,570
      Performance test                                  1% of purchased equip cost (B)                                        2,570
      Contingencies                                     3% of purchased equip cost (B)                                        7,709
  Total Indirect Capital Costs, IC                     35%                                                                   89,941

Total Capital Investment (TCI) = DC + IC                                                                                    565,346

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           12,506
     Supervisor                                        15% of oper labor costs 15%                                            1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                      304.57 $/Ton, 50.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                67,625
     Catalyst                                           NA                                                                        -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                           100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 1,257 kW-hr, 8760 hr/yr, 90.0% of capacity             464,875

  Total Annual Direct Operating Costs                                                                                       566,337

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                       11,307
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                        5,653
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                        5,653
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate              80,493
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                   689,745


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                1,256,082
                             B
Pollutant Removed (tons/yr)                                                                                                     117
Cost per ton of SO2 Removed                                                                                                  10,694




    4
    5
    6




Furnace DFGD.xlsDry FGDL-Lo(e)-Lo(c)                                                                                                                 Page 1 of 12
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                                                                                        BART ANALYSIS 2004
                                                                                  DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                                                                                         3
                              Catalyst cost per unit                          650 $/ft
                                                                                    3
                              Amount Required                                   0 ft
                              Catalyst Cost                                     0 Cost adjusted for freight & sales tax
                              Installation Labor                                0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                              0
                              Annualized Cost                                   0

                              Replacement Parts & Equipmen
                              Equipment Life                                  2
                              CRF                                        0.5531
                              Rep part cost per unit                      33.72 $ each
                              Amount Required                                 0 Number
                              Total Rep Parts Cost                            0 Cost adjusted for freight & sales tax
                              Installation Labor                              0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                            0
                              Annualized Cost                                 0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow                 109,000 dscfm                      123864 scfm
                                                             1200 Temp Deg F
                                                             12% % Moisture
                                                          382,893 acfm

Operating Cost Calculations                                         Annual hours of operation:                         8,760
                                                                    Utilization Rate:                                  90.0%

                                Unit         Unit of                   Use           Unit of          Annual              Annual    Comments
Item                           Cost $       Measure                    Rate          Measure           Use*                Cost
Op Labor                           25.38 Hr                                   0.5 hr/8 hr shift             493              12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                             NA               1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                   0.5 hr/8 hr shift             493               4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                    NA                  1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          1256.7 kW-hr                   9,907,820               464,875 $/kW-hr, 1,257 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                     3
Natural Gas                               4.24 Mft                             0 scfm                              0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                     0.20 Mgal                          0.3 gpm                             148                30 $/Mgal, 0.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                  0.25 Mscf                            1 Mscfm                           473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     280.00 Ton                          0.00 lb/hr                             0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       304.57 Ton                        50.69 lb/hr                            222            67,625 $/Ton, 50.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25.38 Ton                         0.040 ton/hr                          317             8,053 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                 273 Ton                         0.000 ton/hr                            0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                  1.52 Mgal                          0.0 gpm                               0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                     0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                    0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                   Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                   Rate        Measure           %               T/yr    Comments/Notes
                      0.25 lb/MMBtu                             134 MMBTU/HR          NA                130.50
Controlled Emission Rate
           Perf                  Unit of                 Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                 Rate        Measure          90%              T/yr     Currently assumes 80%.
                                                                                      90%                   13 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   117.5 Assuming 90% control.


                                 Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                           344,604                  12            0.55          0.7              1256.7          OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                 Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                               0                125             0.8          0.7                  0.0         OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                           0.0               62.5            0.8          0.7                  0.0         OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                          29.80 lb/hr SO2                       2.50 lb NaOH/lb SO2                                  74.49 lb/hr Caustic
Lime Use                             29.80 lb/hr SO2                         1.7 lb Lime/lb SO2                                 50.69 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                            29.80 lb/hr
Reagent Feed rate                        50.69 lb/hr                Equation 6-38 EPA/600/R-00/093
Reagent flow rate                         0.34 gpm                  Equation 6-39 EPA/600/R-00/093
water use                                 0.31 gpm




Furnace DFGD.xlsDry FGDL-Lo(e)-Lo(c)                                                                                                                                                                         Page 2 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              7,967,916
     Instrumentation                                  10% of control device cost (A)                                         796,792
     Sales Taxes                                     6.0% of control device cost (A)                                         478,075
     Freight                                           5% of control device cost (A)                                         398,396
   Purchased Equipment Total (B                       21%                                                                  9,641,178

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                      1,156,941
      Handling & erection                             40% of purchased equip cost (B)                                      3,856,471
      Electrical                                       1% of purchased equip cost (B)                                         96,412
      Piping                                          30% of purchased equip cost (B)                                      2,892,353
      Insulation                                       1% of purchased equip cost (B)                                         96,412
      Painting                                         1% of purchased equip cost (B)                                         96,412
    Installation Total                                85%                                                                  8,195,001
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                           17,836,180

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       964,118
      Construction & field expenses                    10% of purchased equip cost (B)                                       964,118
      Construction fee                                 10% of purchased equip cost (B)                                       964,118
      Start-up                                          1% of purchased equip cost (B)                                        96,412
      Performance test                                  1% of purchased equip cost (B)                                        96,412
      Contingencies                                     3% of purchased equip cost (B)                                       289,235
  Total Indirect Capital Costs, IC                     35%                                                                 3,374,412

Total Capital Investment (TCI) = DC + IC                                                                                  21,210,592

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 50.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                 67,625
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 1,257 kW-hr, 8760 hr/yr, 90.0% of capacity              464,875

  Total Annual Direct Operating Costs                                                                                        566,337

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                   20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                       424,212
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                       212,106
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                       212,106
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate           3,019,911
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  4,454,974


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                5,021,311
                             B
Pollutant Removed (tons/yr)                                                                                                      117
Cost per ton of SO2 Removed                                                                                                   42,752




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Furnace DFGD.xlsDry FGDL-Lo(e)-Hi(c)                                                                                                                 Page 3 of 12
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                                                                                        BART ANALYSIS 2004
                                                                                  DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                                                                                         3
                              Catalyst cost per unit                          650 $/ft
                                                                                    3
                              Amount Required                                   0 ft
                              Catalyst Cost                                     0 Cost adjusted for freight & sales tax
                              Installation Labor                                0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                              0
                              Annualized Cost                                   0

                              Replacement Parts & Equipmen
                              Equipment Life                                  2
                              CRF                                        0.5531
                              Rep part cost per unit                      33.72 $ each
                              Amount Required                                 0 Number
                              Total Rep Parts Cost                            0 Cost adjusted for freight & sales tax
                              Installation Labor                              0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                            0
                              Annualized Cost                                 0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow                 109,000 dscfm                      123864 scfm
                                                             1200 Temp Deg F
                                                             12% % Moisture
                                                          382,893 acfm

Operating Cost Calculations                                         Annual hours of operation:                         8,760
                                                                    Utilization Rate:                                  90.0%

                                Unit         Unit of                   Use           Unit of          Annual              Annual    Comments
Item                           Cost $       Measure                    Rate          Measure           Use*                Cost
Op Labor                           25.38 Hr                                   0.5 hr/8 hr shift             493              12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                             NA               1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                   0.5 hr/8 hr shift             493               4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                    NA                  1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          1256.7 kW-hr                   9,907,820               464,875 $/kW-hr, 1,257 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                     3
Natural Gas                               4.24 Mft                             0 scfm                              0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                     0.20 Mgal                          0.3 gpm                             148                30 $/Mgal, 0.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                  0.25 Mscf                            1 Mscfm                           473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     280.00 Ton                          0.00 lb/hr                             0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       304.57 Ton                        50.69 lb/hr                            222            67,625 $/Ton, 50.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25.38 Ton                         0.040 ton/hr                          317             8,053 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                 273 Ton                         0.000 ton/hr                            0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                  1.52 Mgal                          0.0 gpm                               0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                     0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                    0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                   Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                   Rate        Measure           %               T/yr    Comments/Notes
                      0.25 lb/MMBtu                             134 MMBTU/HR          NA                130.50
Controlled Emission Rate
           Perf                  Unit of                 Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                 Rate        Measure          90%              T/yr     Currently assumes 80%.
                                                                                      90%                   13 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   117.5 Assuming 90% control.


                                 Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                           344,604                  12            0.55          0.7              1256.7          OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                 Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                               0                125             0.8          0.7                  0.0         OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                           0.0               62.5            0.8          0.7                  0.0         OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                          29.80 lb/hr SO2                       2.50 lb NaOH/lb SO2                                  74.49 lb/hr Caustic
Lime Use                             29.80 lb/hr SO2                         1.7 lb Lime/lb SO2                                 50.69 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                            29.80 lb/hr
Reagent Feed rate                        50.69 lb/hr                Equation 6-38 EPA/600/R-00/093
Reagent flow rate                         0.34 gpm                  Equation 6-39 EPA/600/R-00/093
water use                                 0.31 gpm




Furnace DFGD.xlsDry FGDL-Lo(e)-Hi(c)                                                                                                                                                                         Page 4 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                               212,376
     Instrumentation                                  10% of control device cost (A)                                         21,238
     Sales Taxes                                     6.0% of control device cost (A)                                         12,743
     Freight                                           5% of control device cost (A)                                         10,619
   Purchased Equipment Total (B                       21%                                                                   256,975

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                        30,837
      Handling & erection                             40% of purchased equip cost (B)                                       102,790
      Electrical                                       1% of purchased equip cost (B)                                         2,570
      Piping                                          30% of purchased equip cost (B)                                        77,093
      Insulation                                       1% of purchased equip cost (B)                                         2,570
      Painting                                         1% of purchased equip cost (B)                                         2,570
    Installation Total                                85%                                                                   218,429
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                             475,405

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       25,698
      Construction & field expenses                    10% of purchased equip cost (B)                                       25,698
      Construction fee                                 10% of purchased equip cost (B)                                       25,698
      Start-up                                          1% of purchased equip cost (B)                                        2,570
      Performance test                                  1% of purchased equip cost (B)                                        2,570
      Contingencies                                     3% of purchased equip cost (B)                                        7,709
  Total Indirect Capital Costs, IC                     35%                                                                   89,941

Total Capital Investment (TCI) = DC + IC                                                                                    565,346

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           12,506
     Supervisor                                        15% of oper labor costs 15%                                            1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                      304.57 $/Ton, 50.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                67,625
     Catalyst                                           NA                                                                        -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                           100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 1,257 kW-hr, 8760 hr/yr, 90.0% of capacity             464,875

  Total Annual Direct Operating Costs                                                                                       566,337

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                       11,307
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                        5,653
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                        5,653
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate              80,493
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                   689,745


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                1,256,082
                             B
Pollutant Removed (tons/yr)                                                                                                     124
Cost per ton of SO2 Removed                                                                                                  10,131




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Furnace DFGD.xlsDry FGDL-Hi(e)-Lo(c)                                                                                                                 Page 5 of 12
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                                                                                        BART ANALYSIS 2004
                                                                                  DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                                                                                         3
                              Catalyst cost per unit                          650 $/ft
                                                                                    3
                              Amount Required                                   0 ft
                              Catalyst Cost                                     0 Cost adjusted for freight & sales tax
                              Installation Labor                                0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                              0
                              Annualized Cost                                   0

                              Replacement Parts & Equipmen
                              Equipment Life                                  2
                              CRF                                        0.5531
                              Rep part cost per unit                      33.72 $ each
                              Amount Required                                 0 Number
                              Total Rep Parts Cost                            0 Cost adjusted for freight & sales tax
                              Installation Labor                              0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                            0
                              Annualized Cost                                 0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow                 109,000 dscfm                      123864 scfm
                                                             1200 Temp Deg F
                                                             12% % Moisture
                                                          382,893 acfm

Operating Cost Calculations                                         Annual hours of operation:                         8,760
                                                                    Utilization Rate:                                  90.0%

                                Unit         Unit of                   Use           Unit of          Annual              Annual    Comments
Item                           Cost $       Measure                    Rate          Measure           Use*                Cost
Op Labor                           25.38 Hr                                   0.5 hr/8 hr shift             493              12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                             NA               1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                   0.5 hr/8 hr shift             493               4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                    NA                  1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          1256.7 kW-hr                   9,907,820               464,875 $/kW-hr, 1,257 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                     3
Natural Gas                               4.24 Mft                             0 scfm                              0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                     0.20 Mgal                          0.3 gpm                             148                30 $/Mgal, 0.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                  0.25 Mscf                            1 Mscfm                           473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     280.00 Ton                          0.00 lb/hr                             0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       304.57 Ton                        50.69 lb/hr                            222            67,625 $/Ton, 50.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25.38 Ton                         0.040 ton/hr                          317             8,053 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                 273 Ton                         0.000 ton/hr                            0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                  1.52 Mgal                          0.0 gpm                               0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                     0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                    0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                   Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                   Rate        Measure           %               T/yr    Comments/Notes
                      0.25 lb/MMBtu                             134 MMBTU/HR          NA                130.50
Controlled Emission Rate
           Perf                  Unit of                 Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                 Rate        Measure          95%              T/yr     Currently assumes 80%.
                                                                                      95%                    7 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   124.0 Assuming 90% control.


                                 Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                           344,604                  12            0.55          0.7              1256.7          OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                 Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                               0                125             0.8          0.7                  0.0         OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                           0.0               62.5            0.8          0.7                  0.0         OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                          29.80 lb/hr SO2                       2.50 lb NaOH/lb SO2                                  74.49 lb/hr Caustic
Lime Use                             29.80 lb/hr SO2                         1.7 lb Lime/lb SO2                                 50.69 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                            29.80 lb/hr
Reagent Feed rate                        50.69 lb/hr                Equation 6-38 EPA/600/R-00/093
Reagent flow rate                         0.34 gpm                  Equation 6-39 EPA/600/R-00/093
water use                                 0.31 gpm




Furnace DFGD.xlsDry FGDL-Hi(e)-Lo(c)                                                                                                                                                                         Page 6 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              7,967,916
     Instrumentation                                  10% of control device cost (A)                                         796,792
     Sales Taxes                                     6.0% of control device cost (A)                                         478,075
     Freight                                           5% of control device cost (A)                                         398,396
   Purchased Equipment Total (B                       21%                                                                  9,641,178

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                      1,156,941
      Handling & erection                             40% of purchased equip cost (B)                                      3,856,471
      Electrical                                       1% of purchased equip cost (B)                                         96,412
      Piping                                          30% of purchased equip cost (B)                                      2,892,353
      Insulation                                       1% of purchased equip cost (B)                                         96,412
      Painting                                         1% of purchased equip cost (B)                                         96,412
    Installation Total                                85%                                                                  8,195,001
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                           17,836,180

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       964,118
      Construction & field expenses                    10% of purchased equip cost (B)                                       964,118
      Construction fee                                 10% of purchased equip cost (B)                                       964,118
      Start-up                                          1% of purchased equip cost (B)                                        96,412
      Performance test                                  1% of purchased equip cost (B)                                        96,412
      Contingencies                                     3% of purchased equip cost (B)                                       289,235
  Total Indirect Capital Costs, IC                     35%                                                                 3,374,412

Total Capital Investment (TCI) = DC + IC                                                                                  21,210,592

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 50.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                 67,625
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 1,257 kW-hr, 8760 hr/yr, 90.0% of capacity              464,875

  Total Annual Direct Operating Costs                                                                                        566,337

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                   20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                       424,212
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                       212,106
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                       212,106
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate           3,019,911
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  4,454,974


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                5,021,311
                              B
Pollutant Removed (tons/yr)                                                                                                      124
Cost per ton of SO2 Removed                                                                                                   40,502




    4
    5
    6




Furnace DFGD.xlsDry FGDL-Hi(e)-Hi(c)                                                                                                                 Page 7 of 12
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                                                                                        BART ANALYSIS 2004
                                                                                  DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                                                                                         3
                              Catalyst cost per unit                          650 $/ft
                                                                                    3
                              Amount Required                                   0 ft
                              Catalyst Cost                                     0 Cost adjusted for freight & sales tax
                              Installation Labor                                0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                              0
                              Annualized Cost                                   0

                              Replacement Parts & Equipmen
                              Equipment Life                                  2
                              CRF                                        0.5531
                              Rep part cost per unit                      33.72 $ each
                              Amount Required                                 0 Number
                              Total Rep Parts Cost                            0 Cost adjusted for freight & sales tax
                              Installation Labor                              0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                            0
                              Annualized Cost                                 0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow                 109,000 dscfm                      123864 scfm
                                                             1200 Temp Deg F
                                                             12% % Moisture
                                                          382,893 acfm

Operating Cost Calculations                                         Annual hours of operation:                         8,760
                                                                    Utilization Rate:                                  90.0%

                                Unit         Unit of                   Use           Unit of          Annual              Annual    Comments
Item                           Cost $       Measure                    Rate          Measure           Use*                Cost
Op Labor                           25.38 Hr                                   0.5 hr/8 hr shift             493              12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                             NA               1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                   0.5 hr/8 hr shift             493               4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                    NA                  1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          1256.7 kW-hr                   9,907,820               464,875 $/kW-hr, 1,257 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                     3
Natural Gas                               4.24 Mft                             0 scfm                              0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                     0.20 Mgal                          0.3 gpm                             148                30 $/Mgal, 0.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                  0.25 Mscf                            1 Mscfm                           473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     280.00 Ton                          0.00 lb/hr                             0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       304.57 Ton                        50.69 lb/hr                            222            67,625 $/Ton, 50.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25.38 Ton                         0.040 ton/hr                          317             8,053 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                 273 Ton                         0.000 ton/hr                            0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                  1.52 Mgal                          0.0 gpm                               0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                     0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                    0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                   Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                   Rate        Measure           %               T/yr    Comments/Notes
                      0.25 lb/MMBtu                             134 MMBTU/HR          NA                130.50
Controlled Emission Rate
           Perf                  Unit of                 Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                 Rate        Measure          95%              T/yr     Currently assumes 80%.
                                                                                      95%                    7 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   124.0 Assuming 90% control.


                                 Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            344,604                 12            0.55          0.7              1256.7          OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm               P ft H2O    Pump Eff       Motor Eff
Circ Pump                               0                125             0.8          0.7                  0.0         OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                           0.0               62.5            0.8          0.7                  0.0         OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                          29.80 lb/hr SO2                       2.50 lb NaOH/lb SO2                                  74.49 lb/hr Caustic
Lime Use                             29.80 lb/hr SO2                         1.7 lb Lime/lb SO2                                 50.69 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                            29.80 lb/hr
Reagent Feed rate                        50.69 lb/hr                Equation 6-38 EPA/600/R-00/093
Reagent flow rate                         0.34 gpm                  Equation 6-39 EPA/600/R-00/093
water use                                 0.31 gpm




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                                                              BART ANALYSIS 2004
                                                                FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                                 246,802
     Instrumentation                                               10% of control device cost (A)                                     24,680
     Sales Taxes                                                    6% of control device cost (A)                                     14,808
     Freight                                                        5% of control device cost (A)                                     12,340

    Purchased Equipment Total (B)                                  21%                                                               298,630
    Direct installation costs
      Foundations & supports                                        4% of purchased equip cost (B)                                    11,945
      Handling & erection                                          50% of purchased equip cost (B)                                   149,315
      Electrical                                                    8% of purchased equip cost (B)                                    23,890
      Piping                                                        1% of purchased equip cost (B)                                     2,986
      Insulation for ductwork                                       7% of purchased equip cost (B)                                    20,904
      Painting                                                      4% of purchased equip cost (B)                                    11,945
    Installation Total                                             74%                                                          0    220,986
      Site Preparation, as required                                    Site Specific                                                NA
      Buildings, as required                                           Site Specific                                                NA

  Total Direct Capital Cost                                                                                                          519,616

 Indirect Capital Costs
      Engineering                                                  10% of purchased equip cost (B)                                    29,863
      Construction and field expense                               20% of purchased equip cost (B)                                    59,726
      Contractor fees                                              10% of purchased equip cost (B)                                    29,863
      Startup                                                       1% of purchased equip cost (B)                                     2,986
      Performance test                                              1% of purchased equip cost (B)                                     2,986
      Contingencies                                                 3% of purchased equip cost (B)                                     8,959
 Total Indirect Capital Costs                                      45%                                                               134,384
Total Capital Investment (TCI) = DC + IC                                                                                             654,000


OPERATING COSTS
  Direct Operating Costs
      Operating Labor                                            25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         50,025
      Supervisor                                                  15% of operator labor costs                                          7,504
      Maintenance Labor                                          17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         17,509
      Maintenance Materials                                      100% of maintenance labor costs                                      17,509
      Replacement parts, bags                                                                                                        259,771
      Utilities
           Electricity                                             0.05 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity       1,347,461
           Compressed Air                                          0.27 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity             99,296
            Solid Waste Disposal                                  25.38 $/Ton, 80.489 lb/hr, 8760 hr/yr                                7,650

  Total Annual Direct Operating Costs (DC                                                                                           1,806,726

  Indirect Operating Costs
      Overhead                                                     60% of oper, maint & supv labor + maint mtl costs                  55,528
      Administration (2% total capital costs)                       2% of total capital costs (TCI)                                   13,080
      Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                    6,540
      Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                    6,540
      Capital Recovery                                              9% for a 20- year equipment life and a 7% interest rate           61,733
  Total Indirect Operating Costs                                       Sum indirect oper costs + capital recovery cost               143,421

Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                         1,950,147
Pollutant Removed (tons/yr)                                                                                                               335
Cost per ton of PM Removed                                                                                                              5,823




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                                                                                        BART ANALYSIS 2004
                                                                                          FABRIC FILTER
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                        7.0%
                            Equipment Life                          20 years
                            CRF                                0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                           2 years
                            CRF                                0.5531
                                                                             3
                            Catalyst cost per unit                650 $/ft
                            Amount Required                          0 ft3
                            Catalyst Cost                            0 Cost adjusted for freight & sales tax
                            Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                     0
                            Annualized Cost                          0

                            Replacement Parts & Equipmen
                            Equipment Life                    2 years
                            CRF                          0.5531
                            Rep part cost per unit        35.53 $ each
                            Amount Required                6126 Number
                            Total Rep Parts Cost        241,631 Cost adjusted for freight & sales tax
                            Installation Labor           18,140 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost        259,771
                            Annualized Cost             143,677

                            Total Cost Replacement Parts (Bags)                                   259,771

                            Design Flow          109,000 dscfm                   123864 scfm
                                                    1200 Temp Deg F
                                                     12% % Moisture
                                                 382,893 acfm

Operating Cost Calculations                                  Annual hours of operation:      8,760
                                                             Utilization Rate:               90.0%
                              Unit       Unit of     Use          Unit of        Annual          Annual     Comments
Item                         Cost $     Measure      Rate        Measure          Use*            Cost
Op Labor                         25.38 Hr                  2 hr/8 hr shift             1,971         50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                   NA             NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                  1 hr/8 hr shift               986         17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                   NA             NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr            3643 kW-hr               28,718,263       1,347,461 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                  3
Natural Gas                             4.24 Mft                    0 scfm                              0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.22 Mgal                   0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf              765.79 Mscfm                       362,248          99,296 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      300 Ton                    0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                               300 Ton                    0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                            25.38 Ton                0.038 ton/hr                          301           7,650 $/Ton, 80.489 lb/hr, 8760 hr/yr
Haz W Disp                               273 Ton                0.000 ton/hr                            0               0 $/Ton, 80.489 lb/hr, 8760 hr/yr
WW Treat                                 1.5 Mgal                   0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3
Catalyst                                650 ft                      0 ft3                   2 yr life                   0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                       35.53299492 bag           6126.290841 bags                  2 yr life            143,677 $/bag, 6,126.3 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission            Unit of              Flow      Unit of       Control Eff.       Emis Rate
         Factor            Measure               Rate      Measure           %                T/yr      Comments/Notes
                     80 lb/hr                      -      MMBtu/hr          NA                      353
Controlled Emission Rate
          Perf              Unit of              Flow      Unit of       Control Eff.       Emis Rate
       Guarantee           Measure               Rate      Measure           %                T/yr      Comments/Notes
                                                                              95.00%               17.6 Currently assumes 95%.
Emission Reduction T/yr                                                                             335

Electrical Consumption Requirements Kilowatts
                                 Flow acfm   D P in H2O        Blower-Motor Eff                 kW
Blower                           382,893              6             0.65                       3642.6       OAQPS Cost Cont Manual 6th ed - Eq 1.14




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                                                              BART ANALYSIS 2004
                                                                FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                                3,085,022
     Instrumentation                                               10% of control device cost (A)                                     308,502
     Sales Taxes                                                    6% of control device cost (A)                                     185,101
     Freight                                                        5% of control device cost (A)                                     154,251

    Purchased Equipment Total (B)                                  21%                                                              3,732,877
    Direct installation costs
      Foundations & supports                                        4% of purchased equip cost (B)                                    149,315
      Handling & erection                                          50% of purchased equip cost (B)                                  1,866,438
      Electrical                                                    8% of purchased equip cost (B)                                    298,630
      Piping                                                        1% of purchased equip cost (B)                                     37,329
      Insulation for ductwork                                       7% of purchased equip cost (B)                                    261,301
      Painting                                                      4% of purchased equip cost (B)                                    149,315
    Installation Total                                             74%                                                          0   2,762,329
      Site Preparation, as required                                    Site Specific                                                NA
      Buildings, as required                                           Site Specific                                                NA

  Total Direct Capital Cost                                                                                                         6,495,205

 Indirect Capital Costs
      Engineering                                                  10% of purchased equip cost (B)                                    373,288
      Construction and field expense                               20% of purchased equip cost (B)                                    746,575
      Contractor fees                                              10% of purchased equip cost (B)                                    373,288
      Startup                                                       1% of purchased equip cost (B)                                     37,329
      Performance test                                              1% of purchased equip cost (B)                                     37,329
      Contingencies                                                 3% of purchased equip cost (B)                                    111,986
 Total Indirect Capital Costs                                      45%                                                              1,679,795
Total Capital Investment (TCI) = DC + IC                                                                                            8,175,000


OPERATING COSTS
  Direct Operating Costs
      Operating Labor                                            25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         50,025
      Supervisor                                                  15% of operator labor costs                                          7,504
      Maintenance Labor                                          17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         17,509
      Maintenance Materials                                      100% of maintenance labor costs                                      17,509
      Replacement parts, bags                                                                                                        259,771
      Utilities
           Electricity                                             0.05 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity       1,347,461
           Compressed Air                                          0.27 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity             99,296
            Solid Waste Disposal                                  25.38 $/Ton, 80.489 lb/hr, 8760 hr/yr                                 8,052

  Total Annual Direct Operating Costs (DC                                                                                           1,807,128

  Indirect Operating Costs
      Overhead                                                     60% of oper, maint & supv labor + maint mtl costs                  55,528
      Administration (2% total capital costs)                       2% of total capital costs (TCI)                                  163,500
      Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                   81,750
      Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                    81,750
      Capital Recovery                                              9% for a 20- year equipment life and a 7% interest rate           771,662
  Total Indirect Operating Costs                                       Sum indirect oper costs + capital recovery cost              1,154,190

Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                         2,961,318
Pollutant Removed (tons/yr)                                                                                                               353
Cost per ton of PM Removed                                                                                                              8,401




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                                                                                           BART ANALYSIS 2004
                                                                                             FABRIC FILTER
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                        7.0%
                               Equipment Life                          20 years
                               CRF                                0.0944

                               Catalyst Replacement Cost
                               Catalyst Life                           2 years
                               CRF                                0.5531
                                                                                3
                               Catalyst cost per unit                650 $/ft
                               Amount Required                          0 ft3
                               Catalyst Cost                            0 Cost adjusted for freight & sales tax
                               Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                     0
                               Annualized Cost                          0

                               Replacement Parts & Equipmen
                               Equipment Life                    2 years
                               CRF                          0.5531
                               Rep part cost per unit        35.53 $ each
                               Amount Required                6126 Number
                               Total Rep Parts Cost        241,631 Cost adjusted for freight & sales tax
                               Installation Labor           18,140 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost        259,771
                               Annualized Cost             143,677

                               Total Cost Replacement Parts (Bags)                                   259,771

                               Design Flow          109,000 dscfm                   123864 scfm
                                                       1200 Temp Deg F
                                                        12% % Moisture
                                                    382,893 acfm

Operating Cost Calculations                                  Annual hours of operation:      8,760
                                                             Utilization Rate:               90.0%
                              Unit       Unit of     Use          Unit of        Annual          Annual     Comments
Item                         Cost $     Measure      Rate        Measure          Use*            Cost
Op Labor                         25.38 Hr                  2 hr/8 hr shift             1,971         50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                   NA             NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                  1 hr/8 hr shift               986         17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                   NA             NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr            3643 kW-hr               28,718,263       1,347,461 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                    3
Natural Gas                              4.24 Mft                      0 scfm                              0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.22 Mgal                     0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                765.79 Mscfm                       362,248          99,296 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                       300 Ton                      0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                                300 Ton                      0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                             25.38 Ton                  0.040 ton/hr                          317           8,052 $/Ton, 80.489 lb/hr, 8760 hr/yr
Haz W Disp                                273 Ton                  0.000 ton/hr                            0               0 $/Ton, 80.489 lb/hr, 8760 hr/yr
WW Treat                                  1.5 Mgal                     0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                650 ft                         0 ft3                   2 yr life                   0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                       35.53299492 bag              6126.290841 bags                  2 yr life            143,677 $/bag, 6,126.3 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                           *annual use rate is in same units of measurement as the unit cost factor
                                                                                     Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission            Unit of                 Flow      Unit of       Control Eff.       Emis Rate
         Factor            Measure                  Rate      Measure           %                T/yr      Comments/Notes
                     80 lb/hr                         -      MMBtu/hr          NA                      353
Controlled Emission Rate
          Perf              Unit of                 Flow      Unit of       Control Eff.       Emis Rate
       Guarantee           Measure                  Rate      Measure           %                T/yr      Comments/Notes
                                                                                 99.99%                0.0 Currently assumes 95%.
Emission Reduction T/yr                                                                               353

Electrical Consumption Requirements Kilowatts
                                  Flow acfm     D P in H2O        Blower-Motor Eff                 kW
Blower                            382,893               6              0.65                       3642.6       OAQPS Cost Cont Manual 6th ed - Eq 1.14




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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                  531,017
     Instrumentation                                  10% of control device cost (A)                                            53,102
     Sales Taxes                                     6.0% of control device cost (A)                                            31,861
     Freight                                           5% of control device cost (A)                                            26,551
   Purchased Equipment Total (B)                     21%                                                                       642,530

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                           77,104
      Handling & erection                             40% of purchased equip cost (B)                                          257,012
      Electrical                                       1% of purchased equip cost (B)                                            6,425
      Piping                                          30% of purchased equip cost (B)                                          192,759
      Insulation                                       1% of purchased equip cost (B)                                            6,425
      Painting                                         1% of purchased equip cost (B)                                            6,425
    Installation Total                                85%                                                                      546,151
      Site Preparation, as required                       Site Specific                                                      NA
      Buildings, as required                              Site Specific                                                      NA

  Total Direct Capital Cost, DC                                                                                               1,188,681

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                          64,253
      Construction & field expenses                    10% of purchased equip cost (B)                                          64,253
      Construction fee                                 10% of purchased equip cost (B)                                          64,253
      Start-up                                          1% of purchased equip cost (B)                                           6,425
      Performance test                                  1% of purchased equip cost (B)                                           6,425
      Contingencies                                     3% of purchased equip cost (B)                                          19,276
  Total Indirect Capital Costs, IC                     35%                                                                     224,886

Total Capital Investment (TCI) = DC + IC                                                                                      1,413,566

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity               12,506
     Supervisor                                       15% of oper labor costs 15%                                                1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 59.6 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH             66,775
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                           -
     Catalyst                                           NA                                                                            -
    Wastewater Treatment                               1.52 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity                3,726,602
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                       9,727
      Maintenance Materials                          100% of maintenance labor costs                                              9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 10,627 kW-hr, 8760 hr/yr, 90.0% of capacity               3,930,983

  Total Annual Direct Operating Costs                                                                                         7,758,197

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                      20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                           28,271
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                           14,136
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                           14,136
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate                201,260
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                     8,036,301


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                 15,794,498
                              B
Pollutant Removed (tons/yr)                                                                                                         94
Cost per ton of SO2 Removed                                                                                                    168,094




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Furnace WFGD.xlsWFGD-Lo(e)-Lo(c)                                                                                                                      Page 1 of 8
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                                                                                 BART ANALYSIS 2004
                                                                           WET FLUE GAS DESULFURIZATION
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                              7.0%
                            Equipment Life                                10 years
                            CRF                                      0.1424

                            Catalyst Replacement Cost
                            Catalyst Life                                 2 years
                            CRF                                      0.5531
                            Catalyst cost per unit                      650 $/ft3
                            Amount Required                               0 ft3
                            Catalyst Cost                                 0 Cost adjusted for freight & sales tax
                            Installation Labor                            0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                          0
                            Annualized Cost                               0

                            Replacement Parts & Equipment
                            Equipment Life                     2
                            CRF                           0.5531
                            Rep part cost per unit         33.72 $ each
                            Amount Required                    0 Number
                            Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                            Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost               0
                            Annualized Cost                    0

                            Total Cost Replacement Parts & Catalyst                                        0

                            Design Flow                109,000 dscfm                 123864 scfm
                                                         12000 Temp Deg F
                                                          12% % Moisture
                                                     2,874,005 acfm

Operating Cost Calculations                                       Annual hours of operation:                   8,760
                                                                  Utilization Rate:                            90.0%

                               Unit         Unit of                 Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure                 Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                             0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                         NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                             0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                               NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     10626.7 kW-hr                 83,780,542        3,930,983 $/kW-hr, 10,627 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                         0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                   5,173.2 gpm                   2,447,135          496,880 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                         0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   284.26 Ton                      59.59 lb/hr                       235           66,775 $/Ton, 59.6 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        300 Ton                      0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25 Ton                      0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                      0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                   5,173.2 gpm                   2,447,135        3,726,602 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                     0 ft                         0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                    0 bag                        0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                                                 Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of      Control Eff.    Emis Rate
          Factor             Measure                  Rate        Measure          %             T/yr    Comments/Notes
                     0.20 lb/MMBtu                           134 MMBTU/HR         NA              104.40
Controlled Emission Rate
           Perf                Unit of                Flow        Unit of      Control Eff.    Emis Rate
         Guarantee             Measure                Rate        Measure         90%            T/yr     Currently assumes 80%.
                                                                                  90%                 10 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                              94.0 Assuming 90% control.


                               Flow acfm            ∆ P in H2O    Blower Eff    Motor Eff         kW
Blower                        2,586,605                12            0.55         0.7            9432.7        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                               Flow gpm               P ft H2O    Pump Eff      Motor Eff
Circ Pump                          25,866             125            0.8          0.7            1085.4        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                       5,173.2            62.5           0.8          0.7            108.5         OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                          23.84 lb/hr SO2                   2.50 lb NaOH/lb SO2                             59.59 lb/hr Caustic
Lime Use                             23.84 lb/hr SO2                   1.53 lb Lime/lb SO2                             36.47 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Furnace WFGD.xlsWFGD-Lo(e)-Lo(c)                                                                                                                                                           Page 2 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 7,967,916
     Instrumentation                                  10% of control device cost (A)                                            796,792
     Sales Taxes                                     6.0% of control device cost (A)                                            478,075
     Freight                                           5% of control device cost (A)                                            398,396
   Purchased Equipment Total (B)                     21%                                                                      9,641,178

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                         1,156,941
      Handling & erection                             40% of purchased equip cost (B)                                         3,856,471
      Electrical                                       1% of purchased equip cost (B)                                            96,412
      Piping                                          30% of purchased equip cost (B)                                         2,892,353
      Insulation                                       1% of purchased equip cost (B)                                            96,412
      Painting                                         1% of purchased equip cost (B)                                            96,412
    Installation Total                                85%                                                                     8,195,001
      Site Preparation, as required                       Site Specific                                                      NA
      Buildings, as required                              Site Specific                                                      NA

  Total Direct Capital Cost, DC                                                                                              17,836,180

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                          964,118
      Construction & field expenses                    10% of purchased equip cost (B)                                          964,118
      Construction fee                                 10% of purchased equip cost (B)                                          964,118
      Start-up                                          1% of purchased equip cost (B)                                           96,412
      Performance test                                  1% of purchased equip cost (B)                                           96,412
      Contingencies                                     3% of purchased equip cost (B)                                          289,235
  Total Indirect Capital Costs, IC                     35%                                                                    3,374,412

Total Capital Investment (TCI) = DC + IC                                                                                     21,210,592

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                12,506
     Supervisor                                       15% of oper labor costs 15%                                                 1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 59.6 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH             66,775
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                           -
     Catalyst                                           NA                                                                            -
    Wastewater Treatment                               1.52 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity                3,726,602
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                       9,727
      Maintenance Materials                          100% of maintenance labor costs                                              9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 10,627 kW-hr, 8760 hr/yr, 90.0% of capacity               3,930,983

  Total Annual Direct Operating Costs                                                                                         7,758,197

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                           424,212
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                           212,106
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                           212,106
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate               3,019,911
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                     11,646,833


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                 19,405,030
                              B
Pollutant Removed (tons/yr)                                                                                                          94
Cost per ton of SO2 Removed                                                                                                     206,519




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Furnace WFGD.xlsWFGD-Lo(e)-Hi(c)                                                                                                                       Page 3 of 8
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                                                                                 BART ANALYSIS 2004
                                                                           WET FLUE GAS DESULFURIZATION
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                              7.0%
                            Equipment Life                                10 years
                            CRF                                      0.1424

                            Catalyst Replacement Cost
                            Catalyst Life                                 2 years
                            CRF                                      0.5531
                            Catalyst cost per unit                      650 $/ft3
                            Amount Required                               0 ft3
                            Catalyst Cost                                 0 Cost adjusted for freight & sales tax
                            Installation Labor                            0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                          0
                            Annualized Cost                               0

                            Replacement Parts & Equipment
                            Equipment Life                     2
                            CRF                           0.5531
                            Rep part cost per unit         33.72 $ each
                            Amount Required                    0 Number
                            Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                            Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost               0
                            Annualized Cost                    0

                            Total Cost Replacement Parts & Catalyst                                        0

                            Design Flow                109,000 dscfm                 123864 scfm
                                                         12000 Temp Deg F
                                                          12% % Moisture
                                                     2,874,005 acfm

Operating Cost Calculations                                       Annual hours of operation:                   8,760
                                                                  Utilization Rate:                            90.0%

                               Unit         Unit of                 Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure                 Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                             0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                         NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                             0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                               NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     10626.7 kW-hr                 83,780,542        3,930,983 $/kW-hr, 10,627 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                         0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                   5,173.2 gpm                   2,447,135          496,880 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                         0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   284.26 Ton                      59.59 lb/hr                       235           66,775 $/Ton, 59.6 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        300 Ton                      0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25 Ton                      0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                      0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                   5,173.2 gpm                   2,447,135        3,726,602 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                     0 ft                         0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                    0 bag                        0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                                                 Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of      Control Eff.    Emis Rate
          Factor             Measure                  Rate        Measure          %             T/yr    Comments/Notes
                     0.20 lb/MMBtu                           134 MMBTU/HR         NA              104.40
Controlled Emission Rate
           Perf                Unit of                Flow        Unit of      Control Eff.    Emis Rate
         Guarantee             Measure                Rate        Measure         90%            T/yr     Currently assumes 80%.
                                                                                  90%                 10 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                              94.0 Assuming 90% control.


                               Flow acfm            ∆ P in H2O    Blower Eff    Motor Eff         kW
Blower                         2,586,605               12            0.55         0.7            9432.7        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                               Flow gpm               P ft H2O    Pump Eff      Motor Eff
Circ Pump                          25,866             125            0.8          0.7            1085.4        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                       5,173.2            62.5           0.8          0.7            108.5         OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                          23.84 lb/hr SO2                   2.50 lb NaOH/lb SO2                             59.59 lb/hr Caustic
Lime Use                             23.84 lb/hr SO2                   1.53 lb Lime/lb SO2                             36.47 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Furnace WFGD.xlsWFGD-Lo(e)-Hi(c)                                                                                                                                                           Page 4 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                  531,017
     Instrumentation                                  10% of control device cost (A)                                            53,102
     Sales Taxes                                     6.0% of control device cost (A)                                            31,861
     Freight                                           5% of control device cost (A)                                            26,551
   Purchased Equipment Total (B)                     21%                                                                       642,530

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                           77,104
      Handling & erection                             40% of purchased equip cost (B)                                          257,012
      Electrical                                       1% of purchased equip cost (B)                                            6,425
      Piping                                          30% of purchased equip cost (B)                                          192,759
      Insulation                                       1% of purchased equip cost (B)                                            6,425
      Painting                                         1% of purchased equip cost (B)                                            6,425
    Installation Total                                85%                                                                      546,151
      Site Preparation, as required                       Site Specific                                                      NA
      Buildings, as required                              Site Specific                                                      NA

  Total Direct Capital Cost, DC                                                                                               1,188,681

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                          64,253
      Construction & field expenses                    10% of purchased equip cost (B)                                          64,253
      Construction fee                                 10% of purchased equip cost (B)                                          64,253
      Start-up                                          1% of purchased equip cost (B)                                           6,425
      Performance test                                  1% of purchased equip cost (B)                                           6,425
      Contingencies                                     3% of purchased equip cost (B)                                          19,276
  Total Indirect Capital Costs, IC                     35%                                                                     224,886

Total Capital Investment (TCI) = DC + IC                                                                                      1,413,566

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity               12,506
     Supervisor                                       15% of oper labor costs 15%                                                1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 59.6 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH             66,775
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                           -
     Catalyst                                           NA                                                                            -
    Wastewater Treatment                               1.52 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity                3,726,602
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                       9,727
      Maintenance Materials                          100% of maintenance labor costs                                              9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 10,627 kW-hr, 8760 hr/yr, 90.0% of capacity               3,930,983

  Total Annual Direct Operating Costs                                                                                         7,758,197

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                      20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                           28,271
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                           14,136
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                           14,136
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate                201,260
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                     8,036,301


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                 15,794,498
                              B
Pollutant Removed (tons/yr)                                                                                                        104
Cost per ton of SO2 Removed                                                                                                    151,299




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Furnace WFGD.xlsWFGD-Hi(e)-Lo(c)                                                                                                                      Page 5 of 8
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                                                                                 BART ANALYSIS 2004
                                                                           WET FLUE GAS DESULFURIZATION
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                              7.0%
                            Equipment Life                                10 years
                            CRF                                      0.1424

                            Catalyst Replacement Cost
                            Catalyst Life                                 2 years
                            CRF                                      0.5531
                            Catalyst cost per unit                      650 $/ft3
                            Amount Required                               0 ft3
                            Catalyst Cost                                 0 Cost adjusted for freight & sales tax
                            Installation Labor                            0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                          0
                            Annualized Cost                               0

                            Replacement Parts & Equipment
                            Equipment Life                     2
                            CRF                           0.5531
                            Rep part cost per unit         33.72 $ each
                            Amount Required                    0 Number
                            Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                            Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost               0
                            Annualized Cost                    0

                            Total Cost Replacement Parts & Catalyst                                        0

                            Design Flow                109,000 dscfm                 123864 scfm
                                                         12000 Temp Deg F
                                                          12% % Moisture
                                                     2,874,005 acfm

Operating Cost Calculations                                       Annual hours of operation:                   8,760
                                                                  Utilization Rate:                            90.0%

                               Unit         Unit of                 Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure                 Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                             0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                         NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                             0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                               NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     10626.7 kW-hr                 83,780,542        3,930,983 $/kW-hr, 10,627 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                         0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                   5,173.2 gpm                   2,447,135          496,880 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                         0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   284.26 Ton                      59.59 lb/hr                       235           66,775 $/Ton, 59.6 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                        300 Ton                      0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                               25 Ton                      0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                      0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                   5,173.2 gpm                   2,447,135        3,726,602 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                     0 ft                         0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                    0 bag                        0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                                                                 Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of      Control Eff.    Emis Rate
          Factor             Measure                  Rate        Measure          %             T/yr    Comments/Notes
                     0.20 lb/MMBtu                           134 MMBTU/HR         NA              104.40
Controlled Emission Rate
           Perf                Unit of                Flow        Unit of      Control Eff.    Emis Rate
         Guarantee             Measure                Rate        Measure       99.99%           T/yr     Currently assumes 80%.
                                                                                99.99%                 0 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                             104.4 Assuming 99.99% control.


                               Flow acfm            ∆ P in H2O    Blower Eff    Motor Eff         kW
Blower                         2,586,605               12            0.55         0.7            9432.7        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                               Flow gpm               P ft H2O    Pump Eff      Motor Eff
Circ Pump                          25,866             125            0.8          0.7            1085.4        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                       5,173.2            62.5           0.8          0.7            108.5         OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                          23.84 lb/hr SO2                   2.50 lb NaOH/lb SO2                             59.59 lb/hr Caustic
Lime Use                             23.84 lb/hr SO2                   1.53 lb Lime/lb SO2                             36.47 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 7,967,916
     Instrumentation                                  10% of control device cost (A)                                            796,792
     Sales Taxes                                     6.0% of control device cost (A)                                            478,075
     Freight                                           5% of control device cost (A)                                            398,396
   Purchased Equipment Total (B)                     21%                                                                      9,641,178

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                         1,156,941
      Handling & erection                             40% of purchased equip cost (B)                                         3,856,471
      Electrical                                       1% of purchased equip cost (B)                                            96,412
      Piping                                          30% of purchased equip cost (B)                                         2,892,353
      Insulation                                       1% of purchased equip cost (B)                                            96,412
      Painting                                         1% of purchased equip cost (B)                                            96,412
    Installation Total                                85%                                                                     8,195,001
      Site Preparation, as required                       Site Specific                                                      NA
      Buildings, as required                              Site Specific                                                      NA

  Total Direct Capital Cost, DC                                                                                              17,836,180

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                          964,118
      Construction & field expenses                    10% of purchased equip cost (B)                                          964,118
      Construction fee                                 10% of purchased equip cost (B)                                          964,118
      Start-up                                          1% of purchased equip cost (B)                                           96,412
      Performance test                                  1% of purchased equip cost (B)                                           96,412
      Contingencies                                     3% of purchased equip cost (B)                                          289,235
  Total Indirect Capital Costs, IC                     35%                                                                    3,374,412

Total Capital Investment (TCI) = DC + IC                                                                                     21,210,592

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                12,506
     Supervisor                                       15% of oper labor costs 15%                                                 1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 59.6 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH             66,775
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                           -
     Catalyst                                           NA                                                                            -
    Wastewater Treatment                               1.52 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity                3,726,602
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                       9,727
      Maintenance Materials                          100% of maintenance labor costs                                              9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 10,627 kW-hr, 8760 hr/yr, 90.0% of capacity               3,930,983

  Total Annual Direct Operating Costs                                                                                         7,758,197

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                           424,212
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                           212,106
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                           212,106
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate               3,019,911
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                     11,646,833


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                 19,405,030
                              B
Pollutant Removed (tons/yr)                                                                                                         104
Cost per ton of SO2 Removed                                                                                                     185,886




    6




Furnace WFGD.xlsWFGD-Hi(e)-Hi(c)                                                                                                                       Page 7 of 8
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                                                                                   BART ANALYSIS 2004
                                                                             WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                               7.0%
                             Equipment Life                                 10 years
                             CRF                                       0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                                  2 years
                             CRF                                       0.5531
                             Catalyst cost per unit                       650 $/ft3
                             Amount Required                                0 ft3
                             Catalyst Cost                                  0 Cost adjusted for freight & sales tax
                             Installation Labor                             0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                           0
                             Annualized Cost                                0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                         0

                             Design Flow                 109,000 dscfm                 123864 scfm
                                                           12000 Temp Deg F
                                                            12% % Moisture
                                                       2,874,005 acfm

Operating Cost Calculations                                         Annual hours of operation:                   8,760
                                                                    Utilization Rate:                            90.0%

                               Unit         Unit of                   Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure                   Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                               0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                           NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                               0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                 NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                       10626.7 kW-hr                 83,780,542        3,930,983 $/kW-hr, 10,627 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                          0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                    5,173.2 gpm                   2,447,135          496,880 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.25 Mscf                          0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    284.26 Ton                       59.59 lb/hr                       235           66,775 $/Ton, 59.6 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                         300 Ton                       0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                                25 Ton                       0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                       0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                    5,173.2 gpm                   2,447,135        3,726,602 $/Mgal, 5,173.2 gpm, 8760 hr/yr, 90.0% of capacity
                                                  3
Catalyst                                       0 ft                         0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                      0 bag                        0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                *annual use rate is in same units of measurement as the unit cost factor
                                                                                                   Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                   Flow        Unit of      Control Eff.    Emis Rate
          Factor             Measure                    Rate        Measure          %             T/yr    Comments/Notes
                     0.20 lb/MMBtu                             134 MMBTU/HR         NA              104.40
Controlled Emission Rate
           Perf                Unit of                  Flow        Unit of      Control Eff.    Emis Rate
         Guarantee             Measure                  Rate        Measure       99.99%           T/yr     Currently assumes 80%.
                                                                                  99.99%                 0 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                               104.4 Assuming 99.99% control.


                                   Flow acfm          ∆ P in H2O    Blower Eff    Motor Eff         kW
Blower                         2,586,605                 12            0.55         0.7            9432.7        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm             P ft H2O    Pump Eff      Motor Eff
Circ Pump                          25,866               125            0.8          0.7            1085.4        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                       5,173.2              62.5           0.8          0.7            108.5         OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                          23.84 lb/hr SO2                     2.50 lb NaOH/lb SO2                             59.59 lb/hr Caustic
Lime Use                             23.84 lb/hr SO2                     1.53 lb Lime/lb SO2                             36.47 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Furnace WFGD.xlsWFGD-Hi(e)-Hi(c)                                                                                                                                                             Page 8 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          1,534,003
     Instrumentation                                 10% of control device cost (A)                                      153,400
      Sales Taxes                                   6.0% of control device cost (A)                                       92,040
     Freight                                          5% of control device cost (A)                                       76,700
   Purchased Equipment Total (B)                     21%                                                               1,856,144

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                     222,737
      Handling & erection                            40% of purchased equip cost (B)                                     742,457
      Electrical                                      1% of purchased equip cost (B)                                      18,561
      Piping                                         30% of purchased equip cost (B)                                     556,843
      Insulation                                      1% of purchased equip cost (B)                                      18,561
      Painting                                        1% of purchased equip cost (B)                                      18,561
    Installation Total                               85%                                                               1,577,722
      Site Preparation, as required                      Site Specific                                                NA
      Buildings, as required                             Site Specific                                                NA

  Total Direct Capital Cost, DC                                                                                        3,433,866

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                   185,614
      Construction & field expenses                   10% of purchased equip cost (B)                                   185,614
      Construction fee                                10% of purchased equip cost (B)                                   185,614
      Start-up                                         1% of purchased equip cost (B)                                    18,561
      Performance test                                 1% of purchased equip cost (B)                                    18,561
      Contingencies                                    3% of purchased equip cost (B)                                    55,684
  Total Indirect Capital Costs, IC                    35%                                                               649,650

Total Capital Investment (TCI) = DC + IC                                                                               4,083,516

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity        12,506
     Supervisor                                       15% of oper labor costs 15%                                         1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH              -
     Reagent #2                                    304.57 $/Ton, 37.2 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              49,684
     Catalyst                                         NA                                                                      -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                       -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                9,727
      Maintenance Materials                         100% of maintenance labor costs                                       9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,431 kW-hr, 8760 hr/yr, 90.0% of capacity           529,395

  Total Annual Direct Operating Costs                                                                                   612,916

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                     81,670
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                     40,835
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                     40,835
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          581,401
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                1,377,959


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           1,990,875
Pollutant Removed (tons/yr)B                                                                                                 99
Cost per ton of SO2 Removed                                                                                              20,073




Furnace AFGD.xlsAFGD Lo(e)-Lo(c)                                                                                                                    Page 1 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                                  7.0%
                             Equipment Life                                    10 years
                             CRF                                          0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                                     2 years
                             CRF                                          0.5531
                             Catalyst cost per unit                             650 $/ft 3
                             Amount Required                                      0 ft3
                             Catalyst Cost                                        0 Cost adjusted for freight & sales tax
                             Installation Labor                                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                             Total Installed Cost                                 0
                             Annualized Cost                                      0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                               0

                             Design Flow               109,000 dscfm                         123864 scfm
                                                          1200 Temp Deg F
                                                          12% % Moisture
                                                       382,893 acfm

Operating Cost Calculations                                        Annual hours of operation:                          8,760
                                                                   Utilization Rate:                                   90.0%

                               Unit         Unit of                      Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                      Rate         Measure            Use*              Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                      NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           1431.1 kW-hr                   11,282,931          529,395 $/kW-hr, 1,431 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                             0 scfm                              0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           0.4 gpm                             171               35 $/Mgal, 0.4 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                             1 Mscfm                           473              130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                             0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                          37.24 lb/hr                           163           49,684 $/Ton, 37.2 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.000 ton/hr                            0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                            0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                               0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr    Comments/Notes
                      0.2 lb/MMBtu                           134 MMBTU/HR    NA                         104.40
Controlled Emission Rate
           Perf                    Unit of            Flow          Unit of          Control Eff.    Emis Rate
         Guarantee                 Measure            Rate          Measure             95%            T/yr     Currently assumes 80%.
                                                                                        95%                  5 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    99.2 Assuming 95% control.


                                   Flow acfm       ∆ P in H2O       Blower Eff         Motor Eff         kW
Blower                             344,604             12              0.55              0.7            1256.7         OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm           P ft H2O      Pump Eff           Motor Eff
Circ Pump                           3,446             125              0.8               0.7             144.6         OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0              62.5             0.8               0.7              0.0          OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                         23.84 lb/hr SO2                         2.50 lb NaOH/lb SO2                                59.59 lb/hr Caustic
Limestone Use                       23.84 lb/hr SO2                           1.6 lb Limestone/lb SO2                          37.24 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                           23.84 lb/hr
Limestone Feed rate                     37.24 lb/hr
gypsum formation rate                      64 lb/hr                dry basis
gypsum formed                              77 lb/hr                wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                              0 gpm
for gypsum formation

Centrifuge
horse power                                   40                 30 kW




Furnace AFGD.xlsAFGD Lo(e)-Lo(c)                                                                                                                                                                            Page 2 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          4,996,962
     Instrumentation                                 10% of control device cost (A)                                      499,696
      Sales Taxes                                   6.0% of control device cost (A)                                      299,818
     Freight                                          5% of control device cost (A)                                      249,848
   Purchased Equipment Total (B)                     21%                                                               6,046,324

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                     725,559
      Handling & erection                            40% of purchased equip cost (B)                                   2,418,529
      Electrical                                      1% of purchased equip cost (B)                                      60,463
      Piping                                         30% of purchased equip cost (B)                                   1,813,897
      Insulation                                      1% of purchased equip cost (B)                                      60,463
      Painting                                        1% of purchased equip cost (B)                                      60,463
    Installation Total                               85%                                                               5,139,375
      Site Preparation, as required                      Site Specific                                                NA
      Buildings, as required                             Site Specific                                                NA

  Total Direct Capital Cost, DC                                                                                       11,185,699

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                    604,632
      Construction & field expenses                   10% of purchased equip cost (B)                                    604,632
      Construction fee                                10% of purchased equip cost (B)                                    604,632
      Start-up                                         1% of purchased equip cost (B)                                     60,463
      Performance test                                 1% of purchased equip cost (B)                                     60,463
      Contingencies                                    3% of purchased equip cost (B)                                    181,390
  Total Indirect Capital Costs, IC                    35%                                                              2,116,213

Total Capital Investment (TCI) = DC + IC                                                                              13,301,912

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         12,506
     Supervisor                                       15% of oper labor costs 15%                                          1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH               -
     Reagent #2                                    304.57 $/Ton, 37.2 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               49,684
     Catalyst                                         NA                                                                       -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                        -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                 9,727
      Maintenance Materials                         100% of maintenance labor costs                                        9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,431 kW-hr, 8760 hr/yr, 90.0% of capacity            529,395

  Total Annual Direct Operating Costs                                                                                    612,916

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                 20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                     266,038
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                     133,019
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                     133,019
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate         1,893,893
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                 3,059,187


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           3,672,103
Pollutant Removed (tons/yr)B                                                                                                  99
Cost per ton of SO2 Removed                                                                                               37,024




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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                                  7.0%
                             Equipment Life                                    10 years
                             CRF                                          0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                                     2 years
                             CRF                                          0.5531
                             Catalyst cost per unit                             650 $/ft 3
                             Amount Required                                      0 ft3
                             Catalyst Cost                                        0 Cost adjusted for freight & sales tax
                             Installation Labor                                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                             Total Installed Cost                                 0
                             Annualized Cost                                      0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                               0

                             Design Flow               109,000 dscfm                         123864 scfm
                                                          1200 Temp Deg F
                                                          12% % Moisture
                                                       382,893 acfm

Operating Cost Calculations                                        Annual hours of operation:                          8,760
                                                                   Utilization Rate:                                   90.0%

                               Unit         Unit of                      Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                      Rate         Measure            Use*              Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                      NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           1431.1 kW-hr                   11,282,931          529,395 $/kW-hr, 1,431 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                             0 scfm                              0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           0.4 gpm                             171               35 $/Mgal, 0.4 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                             1 Mscfm                           473              130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                             0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                          37.24 lb/hr                           163           49,684 $/Ton, 37.2 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.000 ton/hr                            0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                            0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                               0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr    Comments/Notes
                      0.2 lb/MMBtu                           134 MMBTU/HR    NA                         104.40
Controlled Emission Rate
           Perf                    Unit of            Flow          Unit of          Control Eff.    Emis Rate
         Guarantee                 Measure            Rate          Measure             95%            T/yr     Currently assumes 80%.
                                                                                        95%                  5 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    99.2 Assuming 95% control.


                                   Flow acfm       ∆ P in H2O       Blower Eff         Motor Eff         kW
Blower                             344,604             12              0.55              0.7            1256.7         OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm           P ft H2O      Pump Eff           Motor Eff
Circ Pump                           3,446             125              0.8               0.7             144.6         OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0              62.5             0.8               0.7              0.0          OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                         23.84 lb/hr SO2                         2.50 lb NaOH/lb SO2                                59.59 lb/hr Caustic
Limestone Use                       23.84 lb/hr SO2                           1.6 lb Limestone/lb SO2                          37.24 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                           23.84 lb/hr
Limestone Feed rate                     37.24 lb/hr
gypsum formation rate                      64 lb/hr                dry basis
gypsum formed                              77 lb/hr                wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                              0 gpm
for gypsum formation

Centrifuge
horse power                                   40                 30 kW




Furnace AFGD.xlsAFGD Lo(e)-Hi(c)                                                                                                                                                                            Page 4 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          1,534,003
     Instrumentation                                 10% of control device cost (A)                                      153,400
      Sales Taxes                                   6.0% of control device cost (A)                                       92,040
     Freight                                          5% of control device cost (A)                                       76,700
   Purchased Equipment Total (B)                     21%                                                               1,856,144

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                     222,737
      Handling & erection                            40% of purchased equip cost (B)                                     742,457
      Electrical                                      1% of purchased equip cost (B)                                      18,561
      Piping                                         30% of purchased equip cost (B)                                     556,843
      Insulation                                      1% of purchased equip cost (B)                                      18,561
      Painting                                        1% of purchased equip cost (B)                                      18,561
    Installation Total                               85%                                                               1,577,722
      Site Preparation, as required                      Site Specific                                                NA
      Buildings, as required                             Site Specific                                                NA

  Total Direct Capital Cost, DC                                                                                        3,433,866

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                   185,614
      Construction & field expenses                   10% of purchased equip cost (B)                                   185,614
      Construction fee                                10% of purchased equip cost (B)                                   185,614
      Start-up                                         1% of purchased equip cost (B)                                    18,561
      Performance test                                 1% of purchased equip cost (B)                                    18,561
      Contingencies                                    3% of purchased equip cost (B)                                    55,684
  Total Indirect Capital Costs, IC                    35%                                                               649,650

Total Capital Investment (TCI) = DC + IC                                                                               4,083,516

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity        12,506
     Supervisor                                       15% of oper labor costs 15%                                         1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH              -
     Reagent #2                                    304.57 $/Ton, 37.2 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              49,684
     Catalyst                                         NA                                                                      -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                       -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                9,727
      Maintenance Materials                         100% of maintenance labor costs                                       9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,431 kW-hr, 8760 hr/yr, 90.0% of capacity           529,395

  Total Annual Direct Operating Costs                                                                                   612,916

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                     81,670
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                     40,835
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                     40,835
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          581,401
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                1,377,959


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           1,990,875
Pollutant Removed (tons/yr)B                                                                                                104
Cost per ton of SO2 Removed                                                                                              19,165




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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                                  7.0%
                             Equipment Life                                    10 years
                             CRF                                          0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                                     2 years
                             CRF                                          0.5531
                             Catalyst cost per unit                             650 $/ft 3
                             Amount Required                                      0 ft3
                             Catalyst Cost                                        0 Cost adjusted for freight & sales tax
                             Installation Labor                                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                             Total Installed Cost                                 0
                             Annualized Cost                                      0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                               0

                             Design Flow               109,000 dscfm                         123864 scfm
                                                          1200 Temp Deg F
                                                          12% % Moisture
                                                       382,893 acfm

Operating Cost Calculations                                        Annual hours of operation:                          8,760
                                                                   Utilization Rate:                                   90.0%

                               Unit         Unit of                      Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                      Rate         Measure            Use*              Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                      NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           1431.1 kW-hr                   11,282,931          529,395 $/kW-hr, 1,431 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                             0 scfm                              0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           0.4 gpm                             171               35 $/Mgal, 0.4 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                             1 Mscfm                           473              130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                             0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                          37.24 lb/hr                           163           49,684 $/Ton, 37.2 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.000 ton/hr                            0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                            0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                               0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr    Comments/Notes
                      0.2 lb/MMBtu                           134 MMBTU/HR    NA                         104.40
Controlled Emission Rate
           Perf                    Unit of            Flow          Unit of          Control Eff.    Emis Rate
         Guarantee                 Measure            Rate          Measure           99.50%           T/yr     Currently assumes 80%.
                                                                                      99.50%                 1 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   103.9 Assuming 99.5% control.


                                   Flow acfm       ∆ P in H2O       Blower Eff         Motor Eff         kW
Blower                             344,604             12              0.55              0.7            1256.7         OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm           P ft H2O      Pump Eff           Motor Eff
Circ Pump                           3,446             125              0.8               0.7             144.6         OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0              62.5             0.8               0.7              0.0          OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                         23.84 lb/hr SO2                         2.50 lb NaOH/lb SO2                                59.59 lb/hr Caustic
Limestone Use                       23.84 lb/hr SO2                           1.6 lb Limestone/lb SO2                          37.24 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                           23.84 lb/hr
Limestone Feed rate                     37.24 lb/hr
gypsum formation rate                      64 lb/hr                dry basis
gypsum formed                              77 lb/hr                wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                              0 gpm
for gypsum formation

Centrifuge
horse power                                   40                 30 kW




Furnace AFGD.xlsAFGD Hi(e)-Lo(c)                                                                                                                                                                            Page 6 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          4,996,962
     Instrumentation                                 10% of control device cost (A)                                      499,696
      Sales Taxes                                   6.0% of control device cost (A)                                      299,818
     Freight                                          5% of control device cost (A)                                      249,848
   Purchased Equipment Total (B)                     21%                                                               6,046,324

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                     725,559
      Handling & erection                            40% of purchased equip cost (B)                                   2,418,529
      Electrical                                      1% of purchased equip cost (B)                                      60,463
      Piping                                         30% of purchased equip cost (B)                                   1,813,897
      Insulation                                      1% of purchased equip cost (B)                                      60,463
      Painting                                        1% of purchased equip cost (B)                                      60,463
    Installation Total                               85%                                                               5,139,375
      Site Preparation, as required                      Site Specific                                                NA
      Buildings, as required                             Site Specific                                                NA

  Total Direct Capital Cost, DC                                                                                       11,185,699

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                    604,632
      Construction & field expenses                   10% of purchased equip cost (B)                                    604,632
      Construction fee                                10% of purchased equip cost (B)                                    604,632
      Start-up                                         1% of purchased equip cost (B)                                     60,463
      Performance test                                 1% of purchased equip cost (B)                                     60,463
      Contingencies                                    3% of purchased equip cost (B)                                    181,390
  Total Indirect Capital Costs, IC                    35%                                                              2,116,213

Total Capital Investment (TCI) = DC + IC                                                                              13,301,912

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         12,506
     Supervisor                                       15% of oper labor costs 15%                                          1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH               -
     Reagent #2                                    304.57 $/Ton, 37.2 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               49,684
     Catalyst                                         NA                                                                       -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                        -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                 9,727
      Maintenance Materials                         100% of maintenance labor costs                                        9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 1,431 kW-hr, 8760 hr/yr, 90.0% of capacity            529,395

  Total Annual Direct Operating Costs                                                                                    612,916

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                 20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                     266,038
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                     133,019
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                     133,019
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate         1,893,893
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                 3,059,187


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           3,672,103
Pollutant Removed (tons/yr)B                                                                                                 104
Cost per ton of SO2 Removed                                                                                               35,349




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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                 7.0%
                              Equipment Life                                   10 years
                              CRF                                         0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                    2 years
                              CRF                                         0.5531
                              Catalyst cost per unit                            650 $/ft 3
                              Amount Required                                     0 ft3
                              Catalyst Cost                                       0 Cost adjusted for freight & sales tax
                              Installation Labor                                  0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                              Total Installed Cost                                0
                              Annualized Cost                                     0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow              109,000 dscfm                         123864 scfm
                                                          1200 Temp Deg F
                                                          12% % Moisture
                                                       382,893 acfm

Operating Cost Calculations                                        Annual hours of operation:                          8,760
                                                                   Utilization Rate:                                   90.0%

                               Unit         Unit of                      Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                      Rate         Measure            Use*              Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                      NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           1431.1 kW-hr                   11,282,931          529,395 $/kW-hr, 1,431 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                             0 scfm                              0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           0.4 gpm                             171               35 $/Mgal, 0.4 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                             1 Mscfm                           473              130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                             0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                          37.24 lb/hr                           163           49,684 $/Ton, 37.2 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.000 ton/hr                            0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                            0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                               0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr    Comments/Notes
                      0.2 lb/MMBtu                           134 MMBTU/HR    NA                         104.40
Controlled Emission Rate
           Perf                    Unit of            Flow          Unit of          Control Eff.    Emis Rate
         Guarantee                 Measure            Rate          Measure           99.50%           T/yr     Currently assumes 80%.
                                                                                      99.50%                 1 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   103.9 Assuming 99.5% control.


                                   Flow acfm       ∆ P in H2O       Blower Eff         Motor Eff         kW
Blower                             344,604             12              0.55              0.7            1256.7         OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                   Flow gpm           P ft H2O      Pump Eff           Motor Eff
Circ Pump                           3,446             125              0.8               0.7             144.6         OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0              62.5             0.8               0.7              0.0          OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                         23.84 lb/hr SO2                         2.50 lb NaOH/lb SO2                                59.59 lb/hr Caustic
Limestone Use                       23.84 lb/hr SO2                           1.6 lb Limestone/lb SO2                          37.24 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                           23.84 lb/hr
Limestone Feed rate                     37.24 lb/hr
gypsum formation rate                      64 lb/hr                dry basis
gypsum formed                              77 lb/hr                wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                              0 gpm
for gypsum formation

Centrifuge
horse power                                   40                 30 kW




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                     SOx Coke Underfire
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                           7,441,059
     Instrumentation                                 10% of control device cost (A)                                       744,106
      Sales Taxes                                   6.0% of control device cost (A)                                       446,464
     Freight                                          5% of control device cost (A)                                       372,053
   Purchased Equipment Total (B)                     21%                                                                9,003,682

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                    1,080,442
      Handling & erection                            40% of purchased equip cost (B)                                    3,601,473
      Electrical                                      1% of purchased equip cost (B)                                       90,037
      Piping                                         30% of purchased equip cost (B)                                    2,701,105
      Insulation                                      1% of purchased equip cost (B)                                       90,037
      Painting                                        1% of purchased equip cost (B)                                       90,037
    Installation Total                               85%                                                                7,653,130
      Site Preparation, as required                      Site Specific                                                 NA
      Buildings, as required                             Site Specific                                                 NA

  Total Direct Capital Cost, DC                                                                                        16,656,811

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                     900,368
      Construction & field expenses                   10% of purchased equip cost (B)                                     900,368
      Construction fee                                10% of purchased equip cost (B)                                     900,368
      Start-up                                         1% of purchased equip cost (B)                                      90,037
      Performance test                                 1% of purchased equip cost (B)                                      90,037
      Contingencies                                    3% of purchased equip cost (B)                                     270,110
  Total Indirect Capital Costs, IC                    35%                                                               3,151,289

Total Capital Investment (TCI) = DC + IC                                                                               19,808,100

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          12,506
     Supervisor                                       15% of oper labor costs 15%                                           1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                    304.57 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              774,658
     Catalyst                                         NA                                                                        -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                         100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity           1,035,665

  Total Annual Direct Operating Costs                                                                                   1,844,159

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                      396,162
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                      198,081
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                      198,081
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          2,820,228
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                  5,477,013


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                            7,321,173
Pollutant Removed (tons/yr)B                                                                                                1,546
Cost per ton of SO2 Removed                                                                                                 4,734




Sinter wind box AFGD.xlsAFGD Lo(e)-Lo(c)                                                                                                             Page 1 of 8
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                                                                                      BART ANALYSIS 2004
                                                                               ADVANCED FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                              Catalyst cost per unit                           650 $/ft 3
                              Amount Required                                    0 ft3
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                            0

                              Design Flow              623,100 dscfm                        708068 scfm
                                                            114 Temp Deg F
                                                          12% % Moisture
                                                       756,855 acfm

Operating Cost Calculations                                       Annual hours of operation:                         8,760
                                                                  Utilization Rate:                                  90.0%

                               Unit         Unit of                     Use           Unit of           Annual          Annual    Comments
Item                           Cost $       Measure                     Rate         Measure             Use*            Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift              493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift              493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                      NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          2799.7 kW-hr                   22,072,999        1,035,665 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                            0 scfm                             0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                          5.6 gpm                          2,663             541 $/Mgal, 5.6 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf                            1 Mscfm                          473             130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   280.00 Ton                          0.00 lb/hr                            0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                304.57 Ton                        580.70 lb/hr                        2,543         774,658 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                            25.38 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                          0.0 gpm                              0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                   0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                  0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                     Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                 Rate        Measure     %                        T/yr     Comments/Notes
                      0.6 lb/MMBtu                          650 MMBTU/HR    NA                        1,627.81
Controlled Emission Rate
           Perf                  Unit of             Flow          Unit of          Control Eff.       Emis Rate
         Guarantee               Measure             Rate          Measure             95%               T/yr    Currently assumes 80%.
                                                                                       95%                    81 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   1546.4 Assuming 95% control.


                                 Flow acfm        ∆ P in H2O       Blower Eff         Motor Eff          kW
Blower                            681,170              12             0.55              0.7             2484.1       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm           P ft H2O      Pump Eff           Motor Eff
Circ Pump                          6,812             125              0.8               0.7              285.8       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                        0.0              62.5             0.8               0.7               0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Limestone Use                     371.65 lb/hr SO2                           1.6 lb Limestone/lb SO2                         580.70 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                        371.65 lb/hr
Limestone Feed rate                  580.70 lb/hr
gypsum formation rate                   999 lb/hr                 dry basis
gypsum formed                          1199 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                            6 gpm
for gypsum formation

Centrifuge
horse power                                  40                 30 kW




Sinter wind box AFGD.xlsAFGD Lo(e)-Lo(c)                                                                                                                                                                   Page 2 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          24,238,993
     Instrumentation                                 10% of control device cost (A)                                     2,423,899
      Sales Taxes                                   6.0% of control device cost (A)                                     1,454,340
     Freight                                          5% of control device cost (A)                                     1,211,950
   Purchased Equipment Total (B)                     21%                                                               29,329,182

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                    3,519,502
      Handling & erection                            40% of purchased equip cost (B)                                   11,731,673
      Electrical                                      1% of purchased equip cost (B)                                      293,292
      Piping                                         30% of purchased equip cost (B)                                    8,798,755
      Insulation                                      1% of purchased equip cost (B)                                      293,292
      Painting                                        1% of purchased equip cost (B)                                      293,292
    Installation Total                               85%                                                               24,929,805
      Site Preparation, as required                      Site Specific                                                 NA
      Buildings, as required                             Site Specific                                                 NA

  Total Direct Capital Cost, DC                                                                                        54,258,986

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                   2,932,918
      Construction & field expenses                   10% of purchased equip cost (B)                                   2,932,918
      Construction fee                                10% of purchased equip cost (B)                                   2,932,918
      Start-up                                         1% of purchased equip cost (B)                                     293,292
      Performance test                                 1% of purchased equip cost (B)                                     293,292
      Contingencies                                    3% of purchased equip cost (B)                                     879,875
  Total Indirect Capital Costs, IC                    35%                                                              10,265,214

Total Capital Investment (TCI) = DC + IC                                                                               64,524,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          12,506
     Supervisor                                       15% of oper labor costs 15%                                           1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                    304.57 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              774,658
     Catalyst                                         NA                                                                        -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                         100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity           1,035,665

  Total Annual Direct Operating Costs                                                                                   1,844,159

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                    1,290,484
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                      645,242
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                      645,242
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          9,186,794
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                13,632,224


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           15,476,383
Pollutant Removed (tons/yr)B                                                                                                1,546
Cost per ton of SO2 Removed                                                                                                10,008




Sinter wind box AFGD.xlsAFGD Lo(e)-Hi(c)                                                                                                             Page 3 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                               Catalyst cost per unit                           650 $/ft 3
                               Amount Required                                    0 ft3
                               Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                               Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                               Total Installed Cost                               0
                               Annualized Cost                                    0

                               Replacement Parts & Equipment
                               Equipment Life                     2
                               CRF                           0.5531
                               Rep part cost per unit         33.72 $ each
                               Amount Required                    0 Number
                               Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                               Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost               0
                               Annualized Cost                    0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow              623,100 dscfm                        708068 scfm
                                                             114 Temp Deg F
                                                           12% % Moisture
                                                        756,855 acfm

Operating Cost Calculations                                        Annual hours of operation:                         8,760
                                                                   Utilization Rate:                                  90.0%

                               Unit         Unit of                      Use           Unit of           Annual          Annual    Comments
Item                           Cost $       Measure                      Rate         Measure             Use*            Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift              493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                 NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift              493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                       NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2799.7 kW-hr                   22,072,999        1,035,665 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                            0 scfm                             0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                          5.6 gpm                          2,663             541 $/Mgal, 5.6 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                            1 Mscfm                          473             130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                          0.00 lb/hr                            0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                        580.70 lb/hr                        2,543         774,658 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                          0.0 gpm                              0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr     Comments/Notes
                      0.6 lb/MMBtu                           650 MMBTU/HR    NA                        1,627.81
Controlled Emission Rate
           Perf                  Unit of              Flow          Unit of          Control Eff.       Emis Rate
         Guarantee               Measure              Rate          Measure             95%               T/yr    Currently assumes 80%.
                                                                                        95%                    81 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    1546.4 Assuming 95% control.


                                  Flow acfm       ∆ P in H2O        Blower Eff         Motor Eff          kW
Blower                            681,170               12             0.55              0.7             2484.1       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm            P ft H2O      Pump Eff           Motor Eff
Circ Pump                          6,812              125              0.8               0.7              285.8       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                        0.0               62.5             0.8               0.7               0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       371.65 lb/hr SO2                          2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Limestone Use                     371.65 lb/hr SO2                            1.6 lb Limestone/lb SO2                         580.70 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Limestone Feed rate                   580.70 lb/hr
gypsum formation rate                    999 lb/hr                 dry basis
gypsum formed                           1199 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             6 gpm
for gypsum formation

Centrifuge
horse power                                  40                  30 kW




Sinter wind box AFGD.xlsAFGD Lo(e)-Hi(c)                                                                                                                                                                    Page 4 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                           7,441,059
     Instrumentation                                 10% of control device cost (A)                                       744,106
      Sales Taxes                                   6.0% of control device cost (A)                                       446,464
     Freight                                          5% of control device cost (A)                                       372,053
   Purchased Equipment Total (B)                     21%                                                                9,003,682

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                    1,080,442
      Handling & erection                            40% of purchased equip cost (B)                                    3,601,473
      Electrical                                      1% of purchased equip cost (B)                                       90,037
      Piping                                         30% of purchased equip cost (B)                                    2,701,105
      Insulation                                      1% of purchased equip cost (B)                                       90,037
      Painting                                        1% of purchased equip cost (B)                                       90,037
    Installation Total                               85%                                                                7,653,130
      Site Preparation, as required                      Site Specific                                                 NA
      Buildings, as required                             Site Specific                                                 NA

  Total Direct Capital Cost, DC                                                                                        16,656,811

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                     900,368
      Construction & field expenses                   10% of purchased equip cost (B)                                     900,368
      Construction fee                                10% of purchased equip cost (B)                                     900,368
      Start-up                                         1% of purchased equip cost (B)                                      90,037
      Performance test                                 1% of purchased equip cost (B)                                      90,037
      Contingencies                                    3% of purchased equip cost (B)                                     270,110
  Total Indirect Capital Costs, IC                    35%                                                               3,151,289

Total Capital Investment (TCI) = DC + IC                                                                               19,808,100

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          12,506
     Supervisor                                       15% of oper labor costs 15%                                           1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                    304.57 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              774,658
     Catalyst                                         NA                                                                        -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                         100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity           1,035,665

  Total Annual Direct Operating Costs                                                                                   1,844,159

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                      396,162
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                      198,081
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                      198,081
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          2,820,228
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                  5,477,013


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                            7,321,173
Pollutant Removed (tons/yr)B                                                                                                1,620
Cost per ton of SO2 Removed                                                                                                 4,520




Sinter wind box AFGD.xlsAFGD Hi(e)-Lo(c)                                                                                                             Page 5 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                               Catalyst cost per unit                           650 $/ft 3
                               Amount Required                                    0 ft3
                               Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                               Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                               Total Installed Cost                               0
                               Annualized Cost                                    0

                               Replacement Parts & Equipment
                               Equipment Life                     2
                               CRF                           0.5531
                               Rep part cost per unit         33.72 $ each
                               Amount Required                    0 Number
                               Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                               Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost               0
                               Annualized Cost                    0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow              623,100 dscfm                        708068 scfm
                                                             114 Temp Deg F
                                                           12% % Moisture
                                                        756,855 acfm

Operating Cost Calculations                                        Annual hours of operation:                         8,760
                                                                   Utilization Rate:                                  90.0%

                               Unit         Unit of                      Use           Unit of           Annual          Annual    Comments
Item                           Cost $       Measure                      Rate         Measure             Use*            Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift              493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                 NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift              493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                       NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2799.7 kW-hr                   22,072,999        1,035,665 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                            0 scfm                             0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                          5.6 gpm                          2,663             541 $/Mgal, 5.6 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                            1 Mscfm                          473             130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                          0.00 lb/hr                            0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                        580.70 lb/hr                        2,543         774,658 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                          0.0 gpm                              0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr     Comments/Notes
                      0.6 lb/MMBtu                           650 MMBTU/HR    NA                        1,627.81
Controlled Emission Rate
           Perf                  Unit of              Flow          Unit of          Control Eff.       Emis Rate
         Guarantee               Measure              Rate          Measure           99.50%              T/yr    Currently assumes 80%.
                                                                                      99.50%                    8 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    1619.7 Assuming 99.5% control.


                                  Flow acfm       ∆ P in H2O        Blower Eff         Motor Eff          kW
Blower                            681,170               12             0.55              0.7             2484.1       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm            P ft H2O      Pump Eff           Motor Eff
Circ Pump                          6,812              125              0.8               0.7              285.8       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                        0.0               62.5             0.8               0.7               0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       371.65 lb/hr SO2                          2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Limestone Use                     371.65 lb/hr SO2                            1.6 lb Limestone/lb SO2                         580.70 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Limestone Feed rate                   580.70 lb/hr
gypsum formation rate                    999 lb/hr                 dry basis
gypsum formed                           1199 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             6 gpm
for gypsum formation

Centrifuge
horse power                                  40                  30 kW




Sinter wind box AFGD.xlsAFGD Hi(e)-Lo(c)                                                                                                                                                                    Page 6 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          24,238,993
     Instrumentation                                 10% of control device cost (A)                                     2,423,899
      Sales Taxes                                   6.0% of control device cost (A)                                     1,454,340
     Freight                                          5% of control device cost (A)                                     1,211,950
   Purchased Equipment Total (B)                     21%                                                               29,329,182

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                    3,519,502
      Handling & erection                            40% of purchased equip cost (B)                                   11,731,673
      Electrical                                      1% of purchased equip cost (B)                                      293,292
      Piping                                         30% of purchased equip cost (B)                                    8,798,755
      Insulation                                      1% of purchased equip cost (B)                                      293,292
      Painting                                        1% of purchased equip cost (B)                                      293,292
    Installation Total                               85%                                                               24,929,805
      Site Preparation, as required                      Site Specific                                                 NA
      Buildings, as required                             Site Specific                                                 NA

  Total Direct Capital Cost, DC                                                                                        54,258,986

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                   2,932,918
      Construction & field expenses                   10% of purchased equip cost (B)                                   2,932,918
      Construction fee                                10% of purchased equip cost (B)                                   2,932,918
      Start-up                                         1% of purchased equip cost (B)                                     293,292
      Performance test                                 1% of purchased equip cost (B)                                     293,292
      Contingencies                                    3% of purchased equip cost (B)                                     879,875
  Total Indirect Capital Costs, IC                    35%                                                              10,265,214

Total Capital Investment (TCI) = DC + IC                                                                               64,524,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          12,506
     Supervisor                                       15% of oper labor costs 15%                                           1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                    304.57 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              774,658
     Catalyst                                         NA                                                                        -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                         100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity           1,035,665

  Total Annual Direct Operating Costs                                                                                   1,844,159

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                    1,290,484
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                      645,242
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                      645,242
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          9,186,794
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                13,632,224


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           15,476,383
Pollutant Removed (tons/yr)B                                                                                                1,620
Cost per ton of SO2 Removed                                                                                                 9,555




Sinter wind box AFGD.xlsAFGD Hi(e)-Hi(c)                                                                                                             Page 7 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                               Catalyst cost per unit                           650 $/ft 3
                               Amount Required                                    0 ft3
                               Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                               Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                               Total Installed Cost                               0
                               Annualized Cost                                    0

                               Replacement Parts & Equipment
                               Equipment Life                     2
                               CRF                           0.5531
                               Rep part cost per unit         33.72 $ each
                               Amount Required                    0 Number
                               Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                               Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost               0
                               Annualized Cost                    0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow              623,100 dscfm                        708068 scfm
                                                             114 Temp Deg F
                                                           12% % Moisture
                                                        756,855 acfm

Operating Cost Calculations                                        Annual hours of operation:                         8,760
                                                                   Utilization Rate:                                  90.0%

                               Unit         Unit of                      Use           Unit of           Annual          Annual    Comments
Item                           Cost $       Measure                      Rate         Measure             Use*            Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift              493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                 NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift              493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                       NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2799.7 kW-hr                   22,072,999        1,035,665 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                            0 scfm                             0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                          5.6 gpm                          2,663             541 $/Mgal, 5.6 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                            1 Mscfm                          473             130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                          0.00 lb/hr                            0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                        580.70 lb/hr                        2,543         774,658 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                          0.0 gpm                              0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr     Comments/Notes
                      0.6 lb/MMBtu                           650 MMBTU/HR    NA                        1,627.81
Controlled Emission Rate
           Perf                   Unit of             Flow          Unit of          Control Eff.       Emis Rate
         Guarantee                Measure             Rate          Measure           99.50%              T/yr    Currently assumes 80%.
                                                                                      99.50%                    8 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    1619.7 Assuming 99.5% control.


                                  Flow acfm       ∆ P in H2O        Blower Eff         Motor Eff          kW
Blower                            681,170               12             0.55              0.7             2484.1       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm            P ft H2O      Pump Eff           Motor Eff
Circ Pump                           6,812             125              0.8               0.7              285.8       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0              62.5             0.8               0.7               0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       371.65 lb/hr SO2                          2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Limestone Use                     371.65 lb/hr SO2                            1.6 lb Limestone/lb SO2                         580.70 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Limestone Feed rate                   580.70 lb/hr
gypsum formation rate                    999 lb/hr                 dry basis
gypsum formed                           1199 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             6 gpm
for gypsum formation

Centrifuge
horse power                                  40                  30 kW




Sinter wind box AFGD.xlsAFGD Hi(e)-Hi(c)                                                                                                                                                                    Page 8 of 8
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              1,030,184
     Instrumentation                                  10% of control device cost (A)                                         103,018
     Sales Taxes                                     6.0% of control device cost (A)                                          61,811
     Freight                                           5% of control device cost (A)                                          51,509
   Purchased Equipment Total (B                       21%                                                                  1,246,523

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                        149,583
      Handling & erection                             40% of purchased equip cost (B)                                        498,609
      Electrical                                       1% of purchased equip cost (B)                                         12,465
      Piping                                          30% of purchased equip cost (B)                                        373,957
      Insulation                                       1% of purchased equip cost (B)                                         12,465
      Painting                                         1% of purchased equip cost (B)                                         12,465
    Installation Total                                85%                                                                  1,059,544
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            2,306,067

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       124,652
      Construction & field expenses                    10% of purchased equip cost (B)                                       124,652
      Construction fee                                 10% of purchased equip cost (B)                                       124,652
      Start-up                                          1% of purchased equip cost (B)                                        12,465
      Performance test                                  1% of purchased equip cost (B)                                        12,465
      Contingencies                                     3% of purchased equip cost (B)                                        37,396
  Total Indirect Capital Costs, IC                     35%                                                                   436,283

Total Capital Investment (TCI) = DC + IC                                                                                   2,742,350

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               843,516
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity              918,962

  Total Annual Direct Operating Costs                                                                                      1,796,315

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                   20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                        54,847
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                        27,424
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                        27,424
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate             390,449
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  2,316,760


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                4,113,075
                              B
Pollutant Removed (tons/yr)                                                                                                    1,465
Cost per ton of SO2 Removed                                                                                                    2,807




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Sinter Windbox DFGD.xlsDry FGDL-Lo(e)-Lo(c)                                                                                                          Page 1 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                 7.0%
                              Equipment Life                                   10 years
                              CRF                                         0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                    2 years
                              CRF                                         0.5531
                                                                                          3
                              Catalyst cost per unit                           650 $/ft
                                                                                     3
                              Amount Required                                    0 ft
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipmen
                              Equipment Life                                   2
                              CRF                                         0.5531
                              Rep part cost per unit                       33.72 $ each
                              Amount Required                                  0 Number
                              Total Rep Parts Cost                             0 Cost adjusted for freight & sales tax
                              Installation Labor                               0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                             0
                              Annualized Cost                                  0

                              Total Cost Replacement Parts & Catalyst                                             0

                              Design Flow                  623,100 dscfm                      708068 scfm
                                                                114 Temp Deg F
                                                              12% % Moisture
                                                           756,855 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2484.2 kW-hr                  19,585,723             918,962 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                             4.24 Mft                               0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                            3.9 gpm                          1,843               374 $/Mgal, 3.9 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                              1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   280.00 Ton                            0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                     304.57 Ton                         632.32 lb/hr                         2,770           843,516 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                            25.38 Ton                           0.502 ton/hr                       3,958           100,447 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                           0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                            0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr     Comments/Notes
                      0.64 lb/MMBtu                              650 MMBTU/HR          NA               1,627.81
Controlled Emission Rate
           Perf                  Unit of                  Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                  Rate        Measure          90%              T/yr    Currently assumes 80%.
                                                                                       90%                  163 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  1465.0 Assuming 90% control.


                                 Flow acfm           ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            681,170                  12            0.55          0.7              2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                            4                    125             0.8          0.7                  0.2       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                        0.0                   62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                           1.7 lb Lime/lb SO2                              632.32 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                        371.65 lb/hr
Reagent Feed rate                    632.32 lb/hr                    Equation 6-38 EPA/600/R-00/093
Reagent flow rate                      4.28 gpm                      Equation 6-39 EPA/600/R-00/093
water use                              3.90 gpm




Sinter Windbox DFGD.xlsDry FGDL-Lo(e)-Lo(c)                                                                                                                                                                 Page 2 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              38,650,338
     Instrumentation                                  10% of control device cost (A)                                        3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                        2,319,020
     Freight                                           5% of control device cost (A)                                        1,932,517
   Purchased Equipment Total (B                       21%                                                                  46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                      5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                     18,706,764
      Electrical                                       1% of purchased equip cost (B)                                        467,669
      Piping                                          30% of purchased equip cost (B)                                     14,030,073
      Insulation                                       1% of purchased equip cost (B)                                        467,669
      Painting                                         1% of purchased equip cost (B)                                        467,669
    Installation Total                                85%                                                                 39,751,873
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                      4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                      4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                      4,676,691
      Start-up                                          1% of purchased equip cost (B)                                        467,669
      Performance test                                  1% of purchased equip cost (B)                                        467,669
      Contingencies                                     3% of purchased equip cost (B)                                      1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                 16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                  102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               843,516
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity              918,962

  Total Annual Direct Operating Costs                                                                                       1,796,315

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                    20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                      2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                      1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                      1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate           14,648,823
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  20,580,927


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                22,377,242
                              B
Pollutant Removed (tons/yr)                                                                                                    1,465
Cost per ton of SO2 Removed                                                                                                   15,274




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Sinter Windbox DFGD.xlsDry FGDL-Lo(e)-Hi(c)                                                                                                          Page 3 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                 7.0%
                              Equipment Life                                   10 years
                              CRF                                         0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                    2 years
                              CRF                                         0.5531
                                                                                          3
                              Catalyst cost per unit                           650 $/ft
                                                                                     3
                              Amount Required                                    0 ft
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipmen
                              Equipment Life                                   2
                              CRF                                         0.5531
                              Rep part cost per unit                       33.72 $ each
                              Amount Required                                  0 Number
                              Total Rep Parts Cost                             0 Cost adjusted for freight & sales tax
                              Installation Labor                               0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                             0
                              Annualized Cost                                  0

                              Total Cost Replacement Parts & Catalyst                                             0

                              Design Flow                  623,100 dscfm                      708068 scfm
                                                                114 Temp Deg F
                                                              12% % Moisture
                                                           756,855 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2484.2 kW-hr                  19,585,723             918,962 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                              4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           3.9 gpm                          1,843               374 $/Mgal, 3.9 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                      304.57 Ton                        632.32 lb/hr                         2,770           843,516 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.502 ton/hr                       3,958           100,447 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr     Comments/Notes
                      0.64 lb/MMBtu                              650 MMBTU/HR          NA               1,627.81
Controlled Emission Rate
           Perf                  Unit of                  Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                  Rate        Measure          90%              T/yr    Currently assumes 80%.
                                                                                       90%                  163 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  1465.0 Assuming 90% control.


                                  Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            681,170                  12            0.55          0.7              2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                             4                   125             0.8          0.7                  0.2       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0                  62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                           1.7 lb Lime/lb SO2                              632.32 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Reagent Feed rate                     632.32 lb/hr                   Equation 6-38 EPA/600/R-00/093
Reagent flow rate                       4.28 gpm                     Equation 6-39 EPA/600/R-00/093
water use                               3.90 gpm




Sinter Windbox DFGD.xlsDry FGDL-Lo(e)-Hi(c)                                                                                                                                                                 Page 4 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              1,030,184
     Instrumentation                                  10% of control device cost (A)                                         103,018
     Sales Taxes                                     6.0% of control device cost (A)                                          61,811
     Freight                                           5% of control device cost (A)                                          51,509
   Purchased Equipment Total (B                       21%                                                                  1,246,523

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                        149,583
      Handling & erection                             40% of purchased equip cost (B)                                        498,609
      Electrical                                       1% of purchased equip cost (B)                                         12,465
      Piping                                          30% of purchased equip cost (B)                                        373,957
      Insulation                                       1% of purchased equip cost (B)                                         12,465
      Painting                                         1% of purchased equip cost (B)                                         12,465
    Installation Total                                85%                                                                  1,059,544
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            2,306,067

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       124,652
      Construction & field expenses                    10% of purchased equip cost (B)                                       124,652
      Construction fee                                 10% of purchased equip cost (B)                                       124,652
      Start-up                                          1% of purchased equip cost (B)                                        12,465
      Performance test                                  1% of purchased equip cost (B)                                        12,465
      Contingencies                                     3% of purchased equip cost (B)                                        37,396
  Total Indirect Capital Costs, IC                     35%                                                                   436,283

Total Capital Investment (TCI) = DC + IC                                                                                   2,742,350

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               843,516
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity              918,962

  Total Annual Direct Operating Costs                                                                                      1,796,315

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                   20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                        54,847
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                        27,424
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                        27,424
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate             390,449
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  2,316,760


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                4,113,075
                              B
Pollutant Removed (tons/yr)                                                                                                    1,546
Cost per ton of SO2 Removed                                                                                                    2,660




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Sinter Windbox DFGD.xlsDry FGDL-Hi(e)-Lo(c)                                                                                                          Page 5 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                 7.0%
                              Equipment Life                                   10 years
                              CRF                                         0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                    2 years
                              CRF                                         0.5531
                                                                                          3
                              Catalyst cost per unit                           650 $/ft
                                                                                     3
                              Amount Required                                    0 ft
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipmen
                              Equipment Life                                   2
                              CRF                                         0.5531
                              Rep part cost per unit                       33.72 $ each
                              Amount Required                                  0 Number
                              Total Rep Parts Cost                             0 Cost adjusted for freight & sales tax
                              Installation Labor                               0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                             0
                              Annualized Cost                                  0

                              Total Cost Replacement Parts & Catalyst                                             0

                              Design Flow                  623,100 dscfm                      708068 scfm
                                                                114 Temp Deg F
                                                              12% % Moisture
                                                           756,855 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2484.2 kW-hr                  19,585,723             918,962 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                              4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           3.9 gpm                          1,843               374 $/Mgal, 3.9 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                      304.57 Ton                        632.32 lb/hr                         2,770           843,516 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.502 ton/hr                       3,958           100,447 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr     Comments/Notes
                      0.64 lb/MMBtu                              650 MMBTU/HR          NA               1,627.81
Controlled Emission Rate
           Perf                  Unit of                  Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                  Rate        Measure          95%              T/yr    Currently assumes 80%.
                                                                                       95%                   81 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  1546.4 Assuming 90% control.


                                  Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            681,170                  12            0.55          0.7              2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                             4                   125             0.8          0.7                  0.2       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0                  62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                           1.7 lb Lime/lb SO2                              632.32 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Reagent Feed rate                     632.32 lb/hr                   Equation 6-38 EPA/600/R-00/093
Reagent flow rate                       4.28 gpm                     Equation 6-39 EPA/600/R-00/093
water use                               3.90 gpm




Sinter Windbox DFGD.xlsDry FGDL-Hi(e)-Lo(c)                                                                                                                                                                 Page 6 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              38,650,338
     Instrumentation                                  10% of control device cost (A)                                        3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                        2,319,020
     Freight                                           5% of control device cost (A)                                        1,932,517
   Purchased Equipment Total (B                       21%                                                                  46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                      5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                     18,706,764
      Electrical                                       1% of purchased equip cost (B)                                        467,669
      Piping                                          30% of purchased equip cost (B)                                     14,030,073
      Insulation                                       1% of purchased equip cost (B)                                        467,669
      Painting                                         1% of purchased equip cost (B)                                        467,669
    Installation Total                                85%                                                                 39,751,873
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                      4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                      4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                      4,676,691
      Start-up                                          1% of purchased equip cost (B)                                        467,669
      Performance test                                  1% of purchased equip cost (B)                                        467,669
      Contingencies                                     3% of purchased equip cost (B)                                      1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                 16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                  102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               843,516
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity              918,962

  Total Annual Direct Operating Costs                                                                                       1,796,315

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                    20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                      2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                      1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                      1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate           14,648,823
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  20,580,927


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                22,377,242
                              B
Pollutant Removed (tons/yr)                                                                                                    1,546
Cost per ton of SO2 Removed                                                                                                   14,470




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Sinter Windbox DFGD.xlsDry FGDL-Hi(e)-Hi(c)                                                                                                          Page 7 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                                                                                          3
                               Catalyst cost per unit                          650 $/ft
                                                                                     3
                               Amount Required                                   0 ft
                               Catalyst Cost                                     0 Cost adjusted for freight & sales tax
                               Installation Labor                                0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                              0
                               Annualized Cost                                   0

                               Replacement Parts & Equipmen
                               Equipment Life                                  2
                               CRF                                        0.5531
                               Rep part cost per unit                      33.72 $ each
                               Amount Required                                 0 Number
                               Total Rep Parts Cost                            0 Cost adjusted for freight & sales tax
                               Installation Labor                              0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost                            0
                               Annualized Cost                                 0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow                 623,100 dscfm                      708068 scfm
                                                                114 Temp Deg F
                                                              12% % Moisture
                                                           756,855 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2484.2 kW-hr                  19,585,723             918,962 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                              4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           3.9 gpm                          1,843               374 $/Mgal, 3.9 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                      304.57 Ton                        632.32 lb/hr                         2,770           843,516 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.502 ton/hr                       3,958           100,447 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr     Comments/Notes
                      0.64 lb/MMBtu                              650 MMBTU/HR          NA               1,627.81
Controlled Emission Rate
           Perf                   Unit of                 Flow        Unit of       Control Eff.      Emis Rate
         Guarantee                Measure                 Rate        Measure          95%              T/yr    Currently assumes 80%.
                                                                                       95%                   81 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  1546.4 Assuming 90% control.


                                  Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            681,170                  12            0.55          0.7              2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                             4                   125             0.8          0.7                  0.2       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0                  62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                           1.7 lb Lime/lb SO2                              632.32 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Reagent Feed rate                     632.32 lb/hr                   Equation 6-38 EPA/600/R-00/093
Reagent flow rate                       4.28 gpm                     Equation 6-39 EPA/600/R-00/093
water use                               3.90 gpm




Sinter Windbox DFGD.xlsDry FGDL-Hi(e)-Hi(c)                                                                                                                                                                 Page 8 of 12
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                                                              BART ANALYSIS 2004
                                                                FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                                1,410,846
     Instrumentation                                               10% of control device cost (A)                                     141,085
     Sales Taxes                                                    6% of control device cost (A)                                      84,651
     Freight                                                        5% of control device cost (A)                                      70,542

    Purchased Equipment Total (B)                                  21%                                                              1,707,123
    Direct installation costs
      Foundations & supports                                        4% of purchased equip cost (B)                                     68,285
      Handling & erection                                          50% of purchased equip cost (B)                                    853,562
      Electrical                                                    8% of purchased equip cost (B)                                    136,570
      Piping                                                        1% of purchased equip cost (B)                                     17,071
      Insulation for ductwork                                       7% of purchased equip cost (B)                                    119,499
      Painting                                                      4% of purchased equip cost (B)                                     68,285
    Installation Total                                             74%                                                          0   1,263,271
      Site Preparation, as required                                    Site Specific                                                NA
      Buildings, as required                                           Site Specific                                                NA

  Total Direct Capital Cost                                                                                                         2,970,395

 Indirect Capital Costs
      Engineering                                                  10% of purchased equip cost (B)                                    170,712
      Construction and field expense                               20% of purchased equip cost (B)                                    341,425
      Contractor fees                                              10% of purchased equip cost (B)                                    170,712
      Startup                                                       1% of purchased equip cost (B)                                     17,071
      Performance test                                              1% of purchased equip cost (B)                                     17,071
      Contingencies                                                 3% of purchased equip cost (B)                                     51,214
 Total Indirect Capital Costs                                      45%                                                                768,205
Total Capital Investment (TCI) = DC + IC                                                                                            3,738,600


OPERATING COSTS
  Direct Operating Costs
      Operating Labor                                            25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         50,025
      Supervisor                                                  15% of operator labor costs                                          7,504
      Maintenance Labor                                          17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         17,509
      Maintenance Materials                                      100% of maintenance labor costs                                      17,509
      Replacement parts, bags                                                                                                        513,483
      Utilities
           Electricity                                             0.05 $/kW-hr, 7,200.2 kW-hr, 8760 hr/yr, 90.0% of capacity       2,663,491
           Compressed Air                                          0.27 $/Mscf, 1,513.7 Mscfm, 8760 hr/yr, 90.0% of capacity          196,276
            Solid Waste Disposal                                  25.38 $/Ton, 1,003.963 lb/hr, 8760 hr/yr                            95,425

  Total Annual Direct Operating Costs (DC                                                                                           3,561,223

  Indirect Operating Costs
      Overhead                                                     60% of oper, maint & supv labor + maint mtl costs                  55,528
      Administration (2% total capital costs)                       2% of total capital costs (TCI)                                   74,772
      Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                   37,386
      Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                   37,386
      Capital Recovery                                              9% for a 20- year equipment life and a 7% interest rate          352,897
  Total Indirect Operating Costs                                       Sum indirect oper costs + capital recovery cost               557,970

Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                         4,119,192
Pollutant Removed (tons/yr)                                                                                                             4,177
Cost per ton of PM Removed                                                                                                                986




Sinter Windbox DFGD.xlsFF-Lo(e)Lo(c)                                                                                                                        Page 9 of 12
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                                                                                        BART ANALYSIS 2004
                                                                                          FABRIC FILTER
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                        7.0%
                            Equipment Life                          20 years
                            CRF                                0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                           2 years
                            CRF                                0.5531
                                                                             3
                            Catalyst cost per unit                650 $/ft
                            Amount Required                          0 ft3
                            Catalyst Cost                            0 Cost adjusted for freight & sales tax
                            Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                     0
                            Annualized Cost                          0

                            Replacement Parts & Equipmen
                            Equipment Life                    2 years
                            CRF                          0.5531
                            Rep part cost per unit        35.53 $ each
                            Amount Required               12110 Number
                            Total Rep Parts Cost        477,625 Cost adjusted for freight & sales tax
                            Installation Labor           35,858 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost        513,483
                            Annualized Cost             284,003

                            Total Cost Replacement Parts (Bags)                                   513,483

                            Design Flow          623,100 dscfm                   708068 scfm
                                                      114 Temp Deg F
                                                     12% % Moisture
                                                 756,855 acfm

Operating Cost Calculations                                  Annual hours of operation:      8,760
                                                             Utilization Rate:               90.0%
                              Unit       Unit of     Use          Unit of        Annual          Annual     Comments
Item                         Cost $     Measure      Rate        Measure          Use*            Cost
Op Labor                         25.38 Hr                  2 hr/8 hr shift             1,971         50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                   NA             NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                  1 hr/8 hr shift               986         17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                   NA             NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr            7200 kW-hr               56,766,646       2,663,491 $/kW-hr, 7,200.2 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                 3
Natural Gas                             4.24 Mft                    0 scfm                              0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.22 Mgal                   0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf             1513.71 Mscfm                       716,045         196,276 $/Mscf, 1,513.7 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      300 Ton                    0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                               300 Ton                    0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                            25.38 Ton                0.477 ton/hr                        3,760          95,425 $/Ton, 1,003.963 lb/hr, 8760 hr/yr
Haz W Disp                               273 Ton                0.000 ton/hr                            0               0 $/Ton, 1,003.963 lb/hr, 8760 hr/yr
WW Treat                                 1.5 Mgal                   0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3
Catalyst                              650 ft                        0 ft3                   2 yr life                   0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                     35.53299492 bag             12109.68004 bags                  2 yr life            284,003 $/bag, 12,109.7 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission            Unit of              Flow      Unit of       Control Eff.       Emis Rate
         Factor            Measure               Rate      Measure           %                T/yr      Comments/Notes
                   1004 lb/hr                      -      MMBtu/hr          NA                     4397
Controlled Emission Rate
          Perf              Unit of              Flow      Unit of       Control Eff.       Emis Rate
       Guarantee           Measure               Rate      Measure           %                T/yr      Comments/Notes
                                                                              95.00%              219.9 Currently assumes 95%.
Emission Reduction T/yr                                                                           4,177

Electrical Consumption Requirements Kilowatts
                               Flow acfm     D P in H2O        Blower-Motor Eff                 kW
Blower                          756,855              6              0.65                       7200.2       OAQPS Cost Cont Manual 6th ed - Eq 1.14




Sinter Windbox DFGD.xlsFF-Lo(e)Lo(c)                                                                                                                                                             Page 10 of 12
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                                                              BART ANALYSIS 2004
                                                                FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                                17,635,571
     Instrumentation                                               10% of control device cost (A)                                    1,763,557
     Sales Taxes                                                    6% of control device cost (A)                                    1,058,134
     Freight                                                        5% of control device cost (A)                                      881,779

    Purchased Equipment Total (B)                                  21%                                                              21,339,041
    Direct installation costs
      Foundations & supports                                        4% of purchased equip cost (B)                                     853,562
      Handling & erection                                          50% of purchased equip cost (B)                                  10,669,521
      Electrical                                                    8% of purchased equip cost (B)                                   1,707,123
      Piping                                                        1% of purchased equip cost (B)                                     213,390
      Insulation for ductwork                                       7% of purchased equip cost (B)                                   1,493,733
      Painting                                                      4% of purchased equip cost (B)                                     853,562
    Installation Total                                             74%                                                          0   15,790,890
      Site Preparation, as required                                    Site Specific                                                 NA
      Buildings, as required                                           Site Specific                                                 NA

  Total Direct Capital Cost                                                                                                         37,129,932

 Indirect Capital Costs
      Engineering                                                  10% of purchased equip cost (B)                                   2,133,904
      Construction and field expense                               20% of purchased equip cost (B)                                   4,267,808
      Contractor fees                                              10% of purchased equip cost (B)                                   2,133,904
      Startup                                                       1% of purchased equip cost (B)                                     213,390
      Performance test                                              1% of purchased equip cost (B)                                     213,390
      Contingencies                                                 3% of purchased equip cost (B)                                     640,171
 Total Indirect Capital Costs                                      45%                                                               9,602,568
Total Capital Investment (TCI) = DC + IC                                                                                            46,732,500


OPERATING COSTS
  Direct Operating Costs
      Operating Labor                                            25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          50,025
      Supervisor                                                  15% of operator labor costs                                           7,504
      Maintenance Labor                                          17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          17,509
      Maintenance Materials                                      100% of maintenance labor costs                                       17,509
      Replacement parts, bags                                                                                                         513,483
      Utilities
           Electricity                                             0.05 $/kW-hr, 7,200.2 kW-hr, 8760 hr/yr, 90.0% of capacity        2,663,491
           Compressed Air                                          0.27 $/Mscf, 1,513.7 Mscfm, 8760 hr/yr, 90.0% of capacity           196,276
            Solid Waste Disposal                                  25.38 $/Ton, 1,003.963 lb/hr, 8760 hr/yr                            100,437

  Total Annual Direct Operating Costs (DC                                                                                            3,566,235

  Indirect Operating Costs
      Overhead                                                     60% of oper, maint & supv labor + maint mtl costs                   55,528
      Administration (2% total capital costs)                       2% of total capital costs (TCI)                                   934,650
      Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                   467,325
      Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                    467,325
      Capital Recovery                                              9% for a 20- year equipment life and a 7% interest rate          4,411,217
  Total Indirect Operating Costs                                       Sum indirect oper costs + capital recovery cost               6,336,046

Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                          9,902,280
Pollutant Removed (tons/yr)                                                                                                              4,397
Cost per ton of PM Removed                                                                                                               2,252




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                                                                                        BART ANALYSIS 2004
                                                                                          FABRIC FILTER
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                        7.0%
                            Equipment Life                          20 years
                            CRF                                0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                           2 years
                            CRF                                0.5531
                                                                             3
                            Catalyst cost per unit                650 $/ft
                            Amount Required                          0 ft3
                            Catalyst Cost                            0 Cost adjusted for freight & sales tax
                            Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                     0
                            Annualized Cost                          0

                            Replacement Parts & Equipmen
                            Equipment Life                    2 years
                            CRF                          0.5531
                            Rep part cost per unit        35.53 $ each
                            Amount Required               12110 Number
                            Total Rep Parts Cost        477,625 Cost adjusted for freight & sales tax
                            Installation Labor           35,858 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost        513,483
                            Annualized Cost             284,003

                            Total Cost Replacement Parts (Bags)                                   513,483

                            Design Flow          623,100 dscfm                   708068 scfm
                                                      114 Temp Deg F
                                                     12% % Moisture
                                                 756,855 acfm

Operating Cost Calculations                                  Annual hours of operation:      8,760
                                                             Utilization Rate:               90.0%
                              Unit       Unit of     Use          Unit of        Annual          Annual     Comments
Item                         Cost $     Measure      Rate        Measure          Use*            Cost
Op Labor                         25.38 Hr                  2 hr/8 hr shift             1,971         50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                   NA             NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                  1 hr/8 hr shift               986         17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                   NA             NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr            7200 kW-hr               56,766,646       2,663,491 $/kW-hr, 7,200.2 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                 3
Natural Gas                            4.24 Mft                     0 scfm                              0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.22 Mgal                    0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.27 Mscf              1513.71 Mscfm                       716,045         196,276 $/Mscf, 1,513.7 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     300 Ton                     0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                              300 Ton                     0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                           25.38 Ton                 0.502 ton/hr                        3,957         100,437 $/Ton, 1,003.963 lb/hr, 8760 hr/yr
Haz W Disp                              273 Ton                 0.000 ton/hr                            0               0 $/Ton, 1,003.963 lb/hr, 8760 hr/yr
WW Treat                                1.5 Mgal                    0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3
Catalyst                              650 ft                        0 ft3                   2 yr life                   0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                     35.53299492 bag             12109.68004 bags                  2 yr life            284,003 $/bag, 12,109.7 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission            Unit of              Flow      Unit of       Control Eff.       Emis Rate
         Factor            Measure               Rate      Measure           %                T/yr      Comments/Notes
                   1004 lb/hr                      -      MMBtu/hr          NA                     4397
Controlled Emission Rate
          Perf              Unit of              Flow      Unit of       Control Eff.       Emis Rate
       Guarantee           Measure               Rate      Measure           %                T/yr       Comments/Notes
                                                                              99.99%                 0.4 Currently assumes 95%.
Emission Reduction T/yr                                                                           4,397

Electrical Consumption Requirements Kilowatts
                                Flow acfm    D P in H2O        Blower-Motor Eff                 kW
Blower                          756,855              6              0.65                       7200.2       OAQPS Cost Cont Manual 6th ed - Eq 1.14




Sinter Windbox DFGD.xlsFF-Hi(e)H(c)                                                                                                                                                              Page 12 of 12
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                  2,575,826
     Instrumentation                                  10% of control device cost (A)                                             257,583
     Sales Taxes                                     6.0% of control device cost (A)                                             154,550
     Freight                                           5% of control device cost (A)                                             128,791
   Purchased Equipment Total (B)                     21%                                                                       3,116,750

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                            374,010
      Handling & erection                             40% of purchased equip cost (B)                                          1,246,700
      Electrical                                       1% of purchased equip cost (B)                                             31,168
      Piping                                          30% of purchased equip cost (B)                                            935,025
      Insulation                                       1% of purchased equip cost (B)                                             31,168
      Painting                                         1% of purchased equip cost (B)                                             31,168
    Installation Total                                85%                                                                      2,649,238
      Site Preparation, as required                       Site Specific                                                       NA
      Buildings, as required                              Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                                5,765,988

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                           311,675
      Construction & field expenses                    10% of purchased equip cost (B)                                           311,675
      Construction fee                                 10% of purchased equip cost (B)                                           311,675
      Start-up                                          1% of purchased equip cost (B)                                            31,168
      Performance test                                  1% of purchased equip cost (B)                                            31,168
      Contingencies                                     3% of purchased equip cost (B)                                            93,503
  Total Indirect Capital Costs, IC                     35%                                                                     1,090,863

Total Capital Investment (TCI) = DC + IC                                                                                       6,856,850

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 12,506
     Supervisor                                       15% of oper labor costs 15%                                                  1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH          1,041,140
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                            -
     Catalyst                                           NA                                                                             -
    Wastewater Treatment                               1.52 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity                   981,382
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                        9,727
      Maintenance Materials                          100% of maintenance labor costs                                               9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity                 1,035,205

  Total Annual Direct Operating Costs                                                                                          3,091,563

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                           137,137
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                            68,569
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                            68,569
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate                 976,261
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                      4,362,401


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                   7,453,964
                              B
Pollutant Removed (tons/yr)                                                                                                        1,465
Cost per ton of SO2 Removed                                                                                                        5,088




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Sinter Windbox WFGD.xlsWFGD-Lo(e)-Lo(c)                                                                                                                Page 1 of 8
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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                           7.0%
                             Equipment Life                             10 years
                             CRF                                   0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                              2 years
                             CRF                                   0.5531
                             Catalyst cost per unit                   650 $/ft3
                             Amount Required                            0 ft3
                             Catalyst Cost                              0 Cost adjusted for freight & sales tax
                             Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                       0
                             Annualized Cost                            0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow              623,100 dscfm                708068 scfm
                                                           114 Temp Deg F
                                                         12% % Moisture
                                                      756,855 acfm

Operating Cost Calculations                                     Annual hours of operation:                   8,760
                                                                Utilization Rate:                            90.0%

                               Unit         Unit of               Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure               Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                           0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                           0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                             NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     2798.5 kW-hr                22,063,188        1,035,205 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                        0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.20 Mgal                  1,362.3 gpm                     644,441          130,851 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.25 Mscf                        0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                  284.26 Ton                    929.12 lb/hr                     3,663        1,041,140 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       300 Ton                     0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                              273 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                               1.52 Mgal                  1,362.3 gpm                     644,441          981,382 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                                    0 ft                        0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                       0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow       Unit of      Control Eff.    Emis Rate
          Factor             Measure                 Rate       Measure          %             T/yr     Comments/Notes
                     0.64 lb/MMBtu                          650 MMBTU/HR        NA             1,627.81
Controlled Emission Rate
           Perf                 Unit of              Flow       Unit of      Control Eff.    Emis Rate
         Guarantee              Measure              Rate       Measure         90%            T/yr    Currently assumes 80%.
                                                                                90%                163 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                         1465.0 Assuming 90% control.


                                Flow acfm          ∆ P in H2O   Blower Eff    Motor Eff         kW
Blower                          681,170               12           0.55         0.7            2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                Flow gpm             P ft H2O   Pump Eff      Motor Eff
Circ Pump                         6,812              125           0.8          0.7             285.8        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                     1,362.3             62.5          0.8          0.7              28.6        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                  2.50 lb NaOH/lb SO2                             929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                  1.53 lb Lime/lb SO2                             568.62 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Sinter Windbox WFGD.xlsWFGD-Lo(e)-Lo(c)                                                                                                                                                Page 2 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 38,650,338
     Instrumentation                                  10% of control device cost (A)                                           3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                           2,319,020
     Freight                                           5% of control device cost (A)                                           1,932,517
   Purchased Equipment Total (B)                     21%                                                                      46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                          5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                         18,706,764
      Electrical                                       1% of purchased equip cost (B)                                            467,669
      Piping                                          30% of purchased equip cost (B)                                         14,030,073
      Insulation                                       1% of purchased equip cost (B)                                            467,669
      Painting                                         1% of purchased equip cost (B)                                            467,669
    Installation Total                                85%                                                                     39,751,873
      Site Preparation, as required                       Site Specific                                                       NA
      Buildings, as required                              Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                               86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                         4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                         4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                         4,676,691
      Start-up                                          1% of purchased equip cost (B)                                           467,669
      Performance test                                  1% of purchased equip cost (B)                                           467,669
      Contingencies                                     3% of purchased equip cost (B)                                         1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                    16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                     102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 12,506
     Supervisor                                       15% of oper labor costs 15%                                                  1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH           1,041,140
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                             -
     Catalyst                                           NA                                                                              -
    Wastewater Treatment                               1.52 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity                    981,382
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                         9,727
      Maintenance Materials                          100% of maintenance labor costs                                                9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity                  1,035,205

  Total Annual Direct Operating Costs                                                                                           3,091,563

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                        20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                          2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                          1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                          1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate               14,648,823
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                      21,876,176


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  24,967,739
                              B
Pollutant Removed (tons/yr)                                                                                                        1,465
Cost per ton of SO2 Removed                                                                                                       17,042




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Sinter Windbox WFGD.xlsWFGD-Lo(e)-Hi(c)                                                                                                                 Page 3 of 8
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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                           7.0%
                             Equipment Life                             10 years
                             CRF                                   0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                              2 years
                             CRF                                   0.5531
                             Catalyst cost per unit                   650 $/ft3
                             Amount Required                            0 ft3
                             Catalyst Cost                              0 Cost adjusted for freight & sales tax
                             Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                       0
                             Annualized Cost                            0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow              623,100 dscfm                708068 scfm
                                                           114 Temp Deg F
                                                         12% % Moisture
                                                      756,855 acfm

Operating Cost Calculations                                     Annual hours of operation:                   8,760
                                                                Utilization Rate:                            90.0%

                               Unit         Unit of               Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure               Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                           0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                           0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                             NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     2798.5 kW-hr                22,063,188        1,035,205 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                        0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.20 Mgal                  1,362.3 gpm                     644,441          130,851 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.25 Mscf                        0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                  284.26 Ton                    929.12 lb/hr                     3,663        1,041,140 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       300 Ton                     0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                              273 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                               1.52 Mgal                  1,362.3 gpm                     644,441          981,382 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                                    0 ft                        0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                       0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow       Unit of      Control Eff.    Emis Rate
          Factor             Measure                 Rate       Measure          %             T/yr     Comments/Notes
                     0.64 lb/MMBtu                          650 MMBTU/HR        NA             1,627.81
Controlled Emission Rate
           Perf                 Unit of              Flow       Unit of      Control Eff.    Emis Rate
         Guarantee              Measure              Rate       Measure         90%            T/yr    Currently assumes 80%.
                                                                                90%                163 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                         1465.0 Assuming 90% control.


                                Flow acfm          ∆ P in H2O   Blower Eff    Motor Eff         kW
Blower                           681,170              12           0.55         0.7            2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                Flow gpm             P ft H2O   Pump Eff      Motor Eff
Circ Pump                         6,812              125           0.8          0.7             285.8        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                     1,362.3             62.5          0.8          0.7              28.6        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                  2.50 lb NaOH/lb SO2                             929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                  1.53 lb Lime/lb SO2                             568.62 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                  2,575,826
     Instrumentation                                  10% of control device cost (A)                                             257,583
     Sales Taxes                                     6.0% of control device cost (A)                                             154,550
     Freight                                           5% of control device cost (A)                                             128,791
   Purchased Equipment Total (B)                     21%                                                                       3,116,750

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                            374,010
      Handling & erection                             40% of purchased equip cost (B)                                          1,246,700
      Electrical                                       1% of purchased equip cost (B)                                             31,168
      Piping                                          30% of purchased equip cost (B)                                            935,025
      Insulation                                       1% of purchased equip cost (B)                                             31,168
      Painting                                         1% of purchased equip cost (B)                                             31,168
    Installation Total                                85%                                                                      2,649,238
      Site Preparation, as required                       Site Specific                                                       NA
      Buildings, as required                              Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                                5,765,988

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                           311,675
      Construction & field expenses                    10% of purchased equip cost (B)                                           311,675
      Construction fee                                 10% of purchased equip cost (B)                                           311,675
      Start-up                                          1% of purchased equip cost (B)                                            31,168
      Performance test                                  1% of purchased equip cost (B)                                            31,168
      Contingencies                                     3% of purchased equip cost (B)                                            93,503
  Total Indirect Capital Costs, IC                     35%                                                                     1,090,863

Total Capital Investment (TCI) = DC + IC                                                                                       6,856,850

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 12,506
     Supervisor                                       15% of oper labor costs 15%                                                  1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH          1,041,140
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                            -
     Catalyst                                           NA                                                                             -
    Wastewater Treatment                               1.52 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity                   981,382
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                        9,727
      Maintenance Materials                          100% of maintenance labor costs                                               9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity                 1,035,205

  Total Annual Direct Operating Costs                                                                                          3,091,563

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                           137,137
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                            68,569
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                            68,569
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate                 976,261
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                      4,362,401


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                   7,453,964
                              B
Pollutant Removed (tons/yr)                                                                                                        1,628
Cost per ton of SO2 Removed                                                                                                        4,580




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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                           7.0%
                             Equipment Life                             10 years
                             CRF                                   0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                              2 years
                             CRF                                   0.5531
                             Catalyst cost per unit                   650 $/ft3
                             Amount Required                            0 ft3
                             Catalyst Cost                              0 Cost adjusted for freight & sales tax
                             Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                       0
                             Annualized Cost                            0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow              623,100 dscfm                708068 scfm
                                                           114 Temp Deg F
                                                         12% % Moisture
                                                      756,855 acfm

Operating Cost Calculations                                     Annual hours of operation:                   8,760
                                                                Utilization Rate:                            90.0%

                               Unit         Unit of               Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure               Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                           0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                           0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                             NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     2798.5 kW-hr                22,063,188        1,035,205 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                        0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.20 Mgal                  1,362.3 gpm                     644,441          130,851 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.25 Mscf                        0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                  284.26 Ton                    929.12 lb/hr                     3,663        1,041,140 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       300 Ton                     0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                              273 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                               1.52 Mgal                  1,362.3 gpm                     644,441          981,382 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                                    0 ft                        0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                       0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow       Unit of      Control Eff.    Emis Rate
          Factor             Measure                 Rate       Measure          %             T/yr     Comments/Notes
                     0.64 lb/MMBtu                          650 MMBTU/HR        NA             1,627.81
Controlled Emission Rate
           Perf                 Unit of              Flow       Unit of      Control Eff.    Emis Rate
         Guarantee              Measure              Rate       Measure       99.99%           T/yr    Currently assumes 80%.
                                                                              99.99%                 0 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                         1627.7 Assuming 99.99% control.


                                Flow acfm          ∆ P in H2O   Blower Eff    Motor Eff         kW
Blower                           681,170              12           0.55         0.7            2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                Flow gpm             P ft H2O   Pump Eff      Motor Eff
Circ Pump                         6,812              125           0.8          0.7             285.8        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                     1,362.3             62.5          0.8          0.7              28.6        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                  2.50 lb NaOH/lb SO2                             929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                  1.53 lb Lime/lb SO2                             568.62 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 38,650,338
     Instrumentation                                  10% of control device cost (A)                                           3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                           2,319,020
     Freight                                           5% of control device cost (A)                                           1,932,517
   Purchased Equipment Total (B)                     21%                                                                      46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                          5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                         18,706,764
      Electrical                                       1% of purchased equip cost (B)                                            467,669
      Piping                                          30% of purchased equip cost (B)                                         14,030,073
      Insulation                                       1% of purchased equip cost (B)                                            467,669
      Painting                                         1% of purchased equip cost (B)                                            467,669
    Installation Total                                85%                                                                     39,751,873
      Site Preparation, as required                       Site Specific                                                       NA
      Buildings, as required                              Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                               86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                         4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                         4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                         4,676,691
      Start-up                                          1% of purchased equip cost (B)                                           467,669
      Performance test                                  1% of purchased equip cost (B)                                           467,669
      Contingencies                                     3% of purchased equip cost (B)                                         1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                    16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                     102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 12,506
     Supervisor                                       15% of oper labor costs 15%                                                  1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH           1,041,140
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                             -
     Catalyst                                           NA                                                                              -
    Wastewater Treatment                               1.52 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity                    981,382
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                         9,727
      Maintenance Materials                          100% of maintenance labor costs                                                9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity                  1,035,205

  Total Annual Direct Operating Costs                                                                                           3,091,563

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                        20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                          2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                          1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                          1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate               14,648,823
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                      21,876,176


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  24,967,739
                              B
Pollutant Removed (tons/yr)                                                                                                        1,628
Cost per ton of SO2 Removed                                                                                                       15,340




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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                           7.0%
                             Equipment Life                             10 years
                             CRF                                   0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                              2 years
                             CRF                                   0.5531
                             Catalyst cost per unit                   650 $/ft3
                             Amount Required                            0 ft3
                             Catalyst Cost                              0 Cost adjusted for freight & sales tax
                             Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                       0
                             Annualized Cost                            0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow              623,100 dscfm                708068 scfm
                                                           114 Temp Deg F
                                                         12% % Moisture
                                                      756,855 acfm

Operating Cost Calculations                                     Annual hours of operation:                   8,760
                                                                Utilization Rate:                            90.0%

                               Unit         Unit of               Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure               Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                           0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                           0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                             NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     2798.5 kW-hr                22,063,188        1,035,205 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                        0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.20 Mgal                  1,362.3 gpm                     644,441          130,851 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.25 Mscf                        0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                  284.26 Ton                    929.12 lb/hr                     3,663        1,041,140 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       300 Ton                     0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                              273 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                               1.52 Mgal                  1,362.3 gpm                     644,441          981,382 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                                    0 ft                        0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                       0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow       Unit of      Control Eff.    Emis Rate
          Factor             Measure                 Rate       Measure          %             T/yr     Comments/Notes
                     0.64 lb/MMBtu                          650 MMBTU/HR        NA             1,627.81
Controlled Emission Rate
           Perf                 Unit of              Flow       Unit of      Control Eff.    Emis Rate
         Guarantee              Measure              Rate       Measure       99.99%           T/yr    Currently assumes 80%.
                                                                              99.99%                 0 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                         1627.7 Assuming 99.99% control.


                                Flow acfm          ∆ P in H2O   Blower Eff    Motor Eff         kW
Blower                           681,170              12           0.55         0.7            2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                 Flow gpm            P ft H2O   Pump Eff      Motor Eff
Circ Pump                         6,812              125           0.8          0.7             285.8        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                     1,362.3             62.5          0.8          0.7              28.6        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                  2.50 lb NaOH/lb SO2                             929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                  1.53 lb Lime/lb SO2                             568.62 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




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                     SOx Sinter Windbox
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                           7,441,059
     Instrumentation                                 10% of control device cost (A)                                       744,106
      Sales Taxes                                   6.0% of control device cost (A)                                       446,464
     Freight                                          5% of control device cost (A)                                       372,053
   Purchased Equipment Total (B)                     21%                                                                9,003,682

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                    1,080,442
      Handling & erection                            40% of purchased equip cost (B)                                    3,601,473
      Electrical                                      1% of purchased equip cost (B)                                       90,037
      Piping                                         30% of purchased equip cost (B)                                    2,701,105
      Insulation                                      1% of purchased equip cost (B)                                       90,037
      Painting                                        1% of purchased equip cost (B)                                       90,037
    Installation Total                               85%                                                                7,653,130
      Site Preparation, as required                      Site Specific                                                 NA
      Buildings, as required                             Site Specific                                                 NA

  Total Direct Capital Cost, DC                                                                                        16,656,811

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                     900,368
      Construction & field expenses                   10% of purchased equip cost (B)                                     900,368
      Construction fee                                10% of purchased equip cost (B)                                     900,368
      Start-up                                         1% of purchased equip cost (B)                                      90,037
      Performance test                                 1% of purchased equip cost (B)                                      90,037
      Contingencies                                    3% of purchased equip cost (B)                                     270,110
  Total Indirect Capital Costs, IC                    35%                                                               3,151,289

Total Capital Investment (TCI) = DC + IC                                                                               19,808,100

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          12,506
     Supervisor                                       15% of oper labor costs 15%                                           1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                    304.57 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              774,658
     Catalyst                                         NA                                                                        -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                         100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity           1,035,665

  Total Annual Direct Operating Costs                                                                                   1,844,159

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                      396,162
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                      198,081
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                      198,081
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          2,820,228
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                  5,477,013


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                            7,321,173
Pollutant Removed (tons/yr)B                                                                                                1,546
Cost per ton of SO2 Removed                                                                                                 4,734




Sinter wind box AFGD.xlsAFGD Lo(e)-Lo(c)                                                                                                             Page 1 of 8
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                                                                                      BART ANALYSIS 2004
                                                                               ADVANCED FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                7.0%
                              Equipment Life                                  10 years
                              CRF                                        0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                   2 years
                              CRF                                        0.5531
                              Catalyst cost per unit                           650 $/ft 3
                              Amount Required                                    0 ft3
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipment
                              Equipment Life                     2
                              CRF                           0.5531
                              Rep part cost per unit         33.72 $ each
                              Amount Required                    0 Number
                              Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                              Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost               0
                              Annualized Cost                    0

                              Total Cost Replacement Parts & Catalyst                                            0

                              Design Flow              623,100 dscfm                        708068 scfm
                                                            114 Temp Deg F
                                                          12% % Moisture
                                                       756,855 acfm

Operating Cost Calculations                                       Annual hours of operation:                         8,760
                                                                  Utilization Rate:                                  90.0%

                               Unit         Unit of                     Use           Unit of           Annual          Annual    Comments
Item                           Cost $       Measure                     Rate         Measure             Use*            Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift              493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift              493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                      NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                          2799.7 kW-hr                   22,072,999        1,035,665 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                            0 scfm                             0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                          5.6 gpm                          2,663             541 $/Mgal, 5.6 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf                            1 Mscfm                          473             130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   280.00 Ton                          0.00 lb/hr                            0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                304.57 Ton                        580.70 lb/hr                        2,543         774,658 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                            25.38 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                          0.0 gpm                              0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                3
Catalyst                                   0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                  0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost facto
                                                                                                     Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                 Rate        Measure     %                        T/yr     Comments/Notes
                      0.6 lb/MMBtu                          650 MMBTU/HR    NA                        1,627.81
Controlled Emission Rate
           Perf                  Unit of             Flow          Unit of          Control Eff.       Emis Rate
         Guarantee               Measure             Rate          Measure             95%               T/yr    Currently assumes 80%.
                                                                                       95%                    81 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                   1546.4 Assuming 95% control.


                                 Flow acfm        ∆ P in H2O       Blower Eff         Motor Eff          kW
Blower                            681,170              12             0.55              0.7             2484.1       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm           P ft H2O      Pump Eff           Motor Eff
Circ Pump                          6,812             125              0.8               0.7              285.8       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                        0.0              62.5             0.8               0.7               0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Limestone Use                     371.65 lb/hr SO2                           1.6 lb Limestone/lb SO2                         580.70 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                        371.65 lb/hr
Limestone Feed rate                  580.70 lb/hr
gypsum formation rate                   999 lb/hr                 dry basis
gypsum formed                          1199 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                            6 gpm
for gypsum formation

Centrifuge
horse power                                  40                 30 kW




Sinter wind box AFGD.xlsAFGD Lo(e)-Lo(c)                                                                                                                                                                   Page 2 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          24,238,993
     Instrumentation                                 10% of control device cost (A)                                     2,423,899
      Sales Taxes                                   6.0% of control device cost (A)                                     1,454,340
     Freight                                          5% of control device cost (A)                                     1,211,950
   Purchased Equipment Total (B)                     21%                                                               29,329,182

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                    3,519,502
      Handling & erection                            40% of purchased equip cost (B)                                   11,731,673
      Electrical                                      1% of purchased equip cost (B)                                      293,292
      Piping                                         30% of purchased equip cost (B)                                    8,798,755
      Insulation                                      1% of purchased equip cost (B)                                      293,292
      Painting                                        1% of purchased equip cost (B)                                      293,292
    Installation Total                               85%                                                               24,929,805
      Site Preparation, as required                      Site Specific                                                 NA
      Buildings, as required                             Site Specific                                                 NA

  Total Direct Capital Cost, DC                                                                                        54,258,986

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                   2,932,918
      Construction & field expenses                   10% of purchased equip cost (B)                                   2,932,918
      Construction fee                                10% of purchased equip cost (B)                                   2,932,918
      Start-up                                         1% of purchased equip cost (B)                                     293,292
      Performance test                                 1% of purchased equip cost (B)                                     293,292
      Contingencies                                    3% of purchased equip cost (B)                                     879,875
  Total Indirect Capital Costs, IC                    35%                                                              10,265,214

Total Capital Investment (TCI) = DC + IC                                                                               64,524,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          12,506
     Supervisor                                       15% of oper labor costs 15%                                           1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                    304.57 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              774,658
     Catalyst                                         NA                                                                        -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                         100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity           1,035,665

  Total Annual Direct Operating Costs                                                                                   1,844,159

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                    1,290,484
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                      645,242
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                      645,242
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          9,186,794
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                13,632,224


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           15,476,383
Pollutant Removed (tons/yr)B                                                                                                1,546
Cost per ton of SO2 Removed                                                                                                10,008




Sinter wind box AFGD.xlsAFGD Lo(e)-Hi(c)                                                                                                             Page 3 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                               Catalyst cost per unit                           650 $/ft 3
                               Amount Required                                    0 ft3
                               Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                               Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                               Total Installed Cost                               0
                               Annualized Cost                                    0

                               Replacement Parts & Equipment
                               Equipment Life                     2
                               CRF                           0.5531
                               Rep part cost per unit         33.72 $ each
                               Amount Required                    0 Number
                               Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                               Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost               0
                               Annualized Cost                    0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow              623,100 dscfm                        708068 scfm
                                                             114 Temp Deg F
                                                           12% % Moisture
                                                        756,855 acfm

Operating Cost Calculations                                        Annual hours of operation:                         8,760
                                                                   Utilization Rate:                                  90.0%

                               Unit         Unit of                      Use           Unit of           Annual          Annual    Comments
Item                           Cost $       Measure                      Rate         Measure             Use*            Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift              493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                 NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift              493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                       NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2799.7 kW-hr                   22,072,999        1,035,665 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                            0 scfm                             0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                          5.6 gpm                          2,663             541 $/Mgal, 5.6 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                            1 Mscfm                          473             130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                          0.00 lb/hr                            0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                        580.70 lb/hr                        2,543         774,658 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                          0.0 gpm                              0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr     Comments/Notes
                      0.6 lb/MMBtu                           650 MMBTU/HR    NA                        1,627.81
Controlled Emission Rate
           Perf                  Unit of              Flow          Unit of          Control Eff.       Emis Rate
         Guarantee               Measure              Rate          Measure             95%               T/yr    Currently assumes 80%.
                                                                                        95%                    81 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    1546.4 Assuming 95% control.


                                  Flow acfm       ∆ P in H2O        Blower Eff         Motor Eff          kW
Blower                            681,170               12             0.55              0.7             2484.1       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm            P ft H2O      Pump Eff           Motor Eff
Circ Pump                          6,812              125              0.8               0.7              285.8       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                        0.0               62.5             0.8               0.7               0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       371.65 lb/hr SO2                          2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Limestone Use                     371.65 lb/hr SO2                            1.6 lb Limestone/lb SO2                         580.70 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Limestone Feed rate                   580.70 lb/hr
gypsum formation rate                    999 lb/hr                 dry basis
gypsum formed                           1199 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             6 gpm
for gypsum formation

Centrifuge
horse power                                  40                  30 kW




Sinter wind box AFGD.xlsAFGD Lo(e)-Hi(c)                                                                                                                                                                    Page 4 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                           7,441,059
     Instrumentation                                 10% of control device cost (A)                                       744,106
      Sales Taxes                                   6.0% of control device cost (A)                                       446,464
     Freight                                          5% of control device cost (A)                                       372,053
   Purchased Equipment Total (B)                     21%                                                                9,003,682

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                    1,080,442
      Handling & erection                            40% of purchased equip cost (B)                                    3,601,473
      Electrical                                      1% of purchased equip cost (B)                                       90,037
      Piping                                         30% of purchased equip cost (B)                                    2,701,105
      Insulation                                      1% of purchased equip cost (B)                                       90,037
      Painting                                        1% of purchased equip cost (B)                                       90,037
    Installation Total                               85%                                                                7,653,130
      Site Preparation, as required                      Site Specific                                                 NA
      Buildings, as required                             Site Specific                                                 NA

  Total Direct Capital Cost, DC                                                                                        16,656,811

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                     900,368
      Construction & field expenses                   10% of purchased equip cost (B)                                     900,368
      Construction fee                                10% of purchased equip cost (B)                                     900,368
      Start-up                                         1% of purchased equip cost (B)                                      90,037
      Performance test                                 1% of purchased equip cost (B)                                      90,037
      Contingencies                                    3% of purchased equip cost (B)                                     270,110
  Total Indirect Capital Costs, IC                    35%                                                               3,151,289

Total Capital Investment (TCI) = DC + IC                                                                               19,808,100

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          12,506
     Supervisor                                       15% of oper labor costs 15%                                           1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                    304.57 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              774,658
     Catalyst                                         NA                                                                        -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                         100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity           1,035,665

  Total Annual Direct Operating Costs                                                                                   1,844,159

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                      396,162
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                      198,081
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                      198,081
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          2,820,228
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                  5,477,013


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                            7,321,173
Pollutant Removed (tons/yr)B                                                                                                1,620
Cost per ton of SO2 Removed                                                                                                 4,520




Sinter wind box AFGD.xlsAFGD Hi(e)-Lo(c)                                                                                                             Page 5 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                               Catalyst cost per unit                           650 $/ft 3
                               Amount Required                                    0 ft3
                               Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                               Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                               Total Installed Cost                               0
                               Annualized Cost                                    0

                               Replacement Parts & Equipment
                               Equipment Life                     2
                               CRF                           0.5531
                               Rep part cost per unit         33.72 $ each
                               Amount Required                    0 Number
                               Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                               Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost               0
                               Annualized Cost                    0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow              623,100 dscfm                        708068 scfm
                                                             114 Temp Deg F
                                                           12% % Moisture
                                                        756,855 acfm

Operating Cost Calculations                                        Annual hours of operation:                         8,760
                                                                   Utilization Rate:                                  90.0%

                               Unit         Unit of                      Use           Unit of           Annual          Annual    Comments
Item                           Cost $       Measure                      Rate         Measure             Use*            Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift              493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                 NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift              493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                       NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2799.7 kW-hr                   22,072,999        1,035,665 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                            0 scfm                             0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                          5.6 gpm                          2,663             541 $/Mgal, 5.6 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                            1 Mscfm                          473             130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                          0.00 lb/hr                            0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                        580.70 lb/hr                        2,543         774,658 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                          0.0 gpm                              0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr     Comments/Notes
                      0.6 lb/MMBtu                           650 MMBTU/HR    NA                        1,627.81
Controlled Emission Rate
           Perf                  Unit of              Flow          Unit of          Control Eff.       Emis Rate
         Guarantee               Measure              Rate          Measure           99.50%              T/yr    Currently assumes 80%.
                                                                                      99.50%                    8 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    1619.7 Assuming 99.5% control.


                                  Flow acfm       ∆ P in H2O        Blower Eff         Motor Eff          kW
Blower                            681,170               12             0.55              0.7             2484.1       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm            P ft H2O      Pump Eff           Motor Eff
Circ Pump                          6,812              125              0.8               0.7              285.8       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                        0.0               62.5             0.8               0.7               0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       371.65 lb/hr SO2                          2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Limestone Use                     371.65 lb/hr SO2                            1.6 lb Limestone/lb SO2                         580.70 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Limestone Feed rate                   580.70 lb/hr
gypsum formation rate                    999 lb/hr                 dry basis
gypsum formed                           1199 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             6 gpm
for gypsum formation

Centrifuge
horse power                                  40                  30 kW




Sinter wind box AFGD.xlsAFGD Hi(e)-Lo(c)                                                                                                                                                                    Page 6 of 8
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                                                        BART ANALYSIS 2004
                                                 ADVANCED FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                          24,238,993
     Instrumentation                                 10% of control device cost (A)                                     2,423,899
      Sales Taxes                                   6.0% of control device cost (A)                                     1,454,340
     Freight                                          5% of control device cost (A)                                     1,211,950
   Purchased Equipment Total (B)                     21%                                                               29,329,182

    Installation
      Foundations & supports                         12% of purchased equip cost (B)                                    3,519,502
      Handling & erection                            40% of purchased equip cost (B)                                   11,731,673
      Electrical                                      1% of purchased equip cost (B)                                      293,292
      Piping                                         30% of purchased equip cost (B)                                    8,798,755
      Insulation                                      1% of purchased equip cost (B)                                      293,292
      Painting                                        1% of purchased equip cost (B)                                      293,292
    Installation Total                               85%                                                               24,929,805
      Site Preparation, as required                      Site Specific                                                 NA
      Buildings, as required                             Site Specific                                                 NA

  Total Direct Capital Cost, DC                                                                                        54,258,986

  Indirect Capital Costs
      Engineering, supervision                        10% of purchased equip cost (B)                                   2,932,918
      Construction & field expenses                   10% of purchased equip cost (B)                                   2,932,918
      Construction fee                                10% of purchased equip cost (B)                                   2,932,918
      Start-up                                         1% of purchased equip cost (B)                                     293,292
      Performance test                                 1% of purchased equip cost (B)                                     293,292
      Contingencies                                    3% of purchased equip cost (B)                                     879,875
  Total Indirect Capital Costs, IC                    35%                                                              10,265,214

Total Capital Investment (TCI) = DC + IC                                                                               64,524,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          12,506
     Supervisor                                       15% of oper labor costs 15%                                           1,876
    Operating Materials
     Reagent #1                                       NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                -
     Reagent #2                                    304.57 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime              774,658
     Catalyst                                         NA                                                                        -
    Wastewater Treatment                              NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                         -
    Maintenance
      Maintenance Labor                             17.77 1/2 hr per shift                                                  9,727
      Maintenance Materials                         100% of maintenance labor costs                                         9,727
    Electricity - Fan, Pump                          0.05 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity           1,035,665

  Total Annual Direct Operating Costs                                                                                   1,844,159

  Indirect Operating Costs
      Overhead                                       60% of total labor and material costs                                  20,302
      Administration (2% total capital costs)         2% of total capital costs (TCI)                                    1,290,484
      Property tax (1% total capital costs)           1% of total capital costs (TCI)                                      645,242
      Insurance (1% total capital costs)              1% of total capital costs (TCI)                                      645,242
      Capital Recovery                            14.24% for a 10- year equipment life and a 7% interest rate          9,186,794
  Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cos                13,632,224


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                           15,476,383
Pollutant Removed (tons/yr)B                                                                                                1,620
Cost per ton of SO2 Removed                                                                                                 9,555




Sinter wind box AFGD.xlsAFGD Hi(e)-Hi(c)                                                                                                             Page 7 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                ADVANCED FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                               Catalyst cost per unit                           650 $/ft 3
                               Amount Required                                    0 ft3
                               Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                               Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement
                               Total Installed Cost                               0
                               Annualized Cost                                    0

                               Replacement Parts & Equipment
                               Equipment Life                     2
                               CRF                           0.5531
                               Rep part cost per unit         33.72 $ each
                               Amount Required                    0 Number
                               Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                               Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost               0
                               Annualized Cost                    0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow              623,100 dscfm                        708068 scfm
                                                             114 Temp Deg F
                                                           12% % Moisture
                                                        756,855 acfm

Operating Cost Calculations                                        Annual hours of operation:                         8,760
                                                                   Utilization Rate:                                  90.0%

                               Unit         Unit of                      Use           Unit of           Annual          Annual    Comments
Item                           Cost $       Measure                      Rate         Measure             Use*            Cost
Op Labor                           25.38 Hr                                     0.5 hr/8 hr shift              493          12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                                 NA           1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                     0.5 hr/8 hr shift              493           4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                       NA              1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2799.7 kW-hr                   22,072,999        1,035,665 $/kW-hr, 2,800 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                            0 scfm                             0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                          5.6 gpm                          2,663             541 $/Mgal, 5.6 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf                            1 Mscfm                          473             130 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                          0.00 lb/hr                            0               0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Limestone)                 304.57 Ton                        580.70 lb/hr                        2,543         774,658 $/Ton, 580.7 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                         0.000 ton/hr                           0               0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                          0.0 gpm                              0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                    0 ft                                  0 ft3                2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                                 0 bags               2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                      Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                 Flow        Unit of Control Eff.               Emis Rate
          Factor             Measure                  Rate        Measure     %                        T/yr     Comments/Notes
                      0.6 lb/MMBtu                           650 MMBTU/HR    NA                        1,627.81
Controlled Emission Rate
           Perf                   Unit of             Flow          Unit of          Control Eff.       Emis Rate
         Guarantee                Measure             Rate          Measure           99.50%              T/yr    Currently assumes 80%.
                                                                                      99.50%                    8 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                    1619.7 Assuming 99.5% control.


                                  Flow acfm       ∆ P in H2O        Blower Eff         Motor Eff          kW
Blower                            681,170               12             0.55              0.7             2484.1       OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm            P ft H2O      Pump Eff           Motor Eff
Circ Pump                           6,812             125              0.8               0.7              285.8       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0              62.5             0.8               0.7               0.0        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                       371.65 lb/hr SO2                          2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Limestone Use                     371.65 lb/hr SO2                            1.6 lb Limestone/lb SO2                         580.70 lb/hr Limestone
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Limestone Feed rate                   580.70 lb/hr
gypsum formation rate                    999 lb/hr                 dry basis
gypsum formed                           1199 lb/hr                 wet basis         (20 % of gypsum out of centrifuge is assumed to be water
Water required                             6 gpm
for gypsum formation

Centrifuge
horse power                                  40                  30 kW




Sinter wind box AFGD.xlsAFGD Hi(e)-Hi(c)                                                                                                                                                                    Page 8 of 8
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              1,030,184
     Instrumentation                                  10% of control device cost (A)                                         103,018
     Sales Taxes                                     6.0% of control device cost (A)                                          61,811
     Freight                                           5% of control device cost (A)                                          51,509
   Purchased Equipment Total (B                       21%                                                                  1,246,523

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                        149,583
      Handling & erection                             40% of purchased equip cost (B)                                        498,609
      Electrical                                       1% of purchased equip cost (B)                                         12,465
      Piping                                          30% of purchased equip cost (B)                                        373,957
      Insulation                                       1% of purchased equip cost (B)                                         12,465
      Painting                                         1% of purchased equip cost (B)                                         12,465
    Installation Total                                85%                                                                  1,059,544
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            2,306,067

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       124,652
      Construction & field expenses                    10% of purchased equip cost (B)                                       124,652
      Construction fee                                 10% of purchased equip cost (B)                                       124,652
      Start-up                                          1% of purchased equip cost (B)                                        12,465
      Performance test                                  1% of purchased equip cost (B)                                        12,465
      Contingencies                                     3% of purchased equip cost (B)                                        37,396
  Total Indirect Capital Costs, IC                     35%                                                                   436,283

Total Capital Investment (TCI) = DC + IC                                                                                   2,742,350

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               843,516
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity              918,962

  Total Annual Direct Operating Costs                                                                                      1,796,315

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                   20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                        54,847
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                        27,424
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                        27,424
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate             390,449
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  2,316,760


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                4,113,075
                              B
Pollutant Removed (tons/yr)                                                                                                    1,465
Cost per ton of SO2 Removed                                                                                                    2,807




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Sinter Windbox DFGD.xlsDry FGDL-Lo(e)-Lo(c)                                                                                                          Page 1 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                 7.0%
                              Equipment Life                                   10 years
                              CRF                                         0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                    2 years
                              CRF                                         0.5531
                                                                                          3
                              Catalyst cost per unit                           650 $/ft
                                                                                     3
                              Amount Required                                    0 ft
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipmen
                              Equipment Life                                   2
                              CRF                                         0.5531
                              Rep part cost per unit                       33.72 $ each
                              Amount Required                                  0 Number
                              Total Rep Parts Cost                             0 Cost adjusted for freight & sales tax
                              Installation Labor                               0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                             0
                              Annualized Cost                                  0

                              Total Cost Replacement Parts & Catalyst                                             0

                              Design Flow                  623,100 dscfm                      708068 scfm
                                                                114 Temp Deg F
                                                              12% % Moisture
                                                           756,855 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2484.2 kW-hr                  19,585,723             918,962 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                             4.24 Mft                               0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.20 Mgal                            3.9 gpm                          1,843               374 $/Mgal, 3.9 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.25 Mscf                              1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                   280.00 Ton                            0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                     304.57 Ton                         632.32 lb/hr                         2,770           843,516 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                            25.38 Ton                           0.502 ton/hr                       3,958           100,447 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                               273 Ton                           0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                1.52 Mgal                            0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr     Comments/Notes
                      0.64 lb/MMBtu                              650 MMBTU/HR          NA               1,627.81
Controlled Emission Rate
           Perf                  Unit of                  Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                  Rate        Measure          90%              T/yr    Currently assumes 80%.
                                                                                       90%                  163 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  1465.0 Assuming 90% control.


                                 Flow acfm           ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            681,170                  12            0.55          0.7              2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                            4                    125             0.8          0.7                  0.2       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                        0.0                   62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                           1.7 lb Lime/lb SO2                              632.32 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                        371.65 lb/hr
Reagent Feed rate                    632.32 lb/hr                    Equation 6-38 EPA/600/R-00/093
Reagent flow rate                      4.28 gpm                      Equation 6-39 EPA/600/R-00/093
water use                              3.90 gpm




Sinter Windbox DFGD.xlsDry FGDL-Lo(e)-Lo(c)                                                                                                                                                                 Page 2 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              38,650,338
     Instrumentation                                  10% of control device cost (A)                                        3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                        2,319,020
     Freight                                           5% of control device cost (A)                                        1,932,517
   Purchased Equipment Total (B                       21%                                                                  46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                      5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                     18,706,764
      Electrical                                       1% of purchased equip cost (B)                                        467,669
      Piping                                          30% of purchased equip cost (B)                                     14,030,073
      Insulation                                       1% of purchased equip cost (B)                                        467,669
      Painting                                         1% of purchased equip cost (B)                                        467,669
    Installation Total                                85%                                                                 39,751,873
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                      4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                      4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                      4,676,691
      Start-up                                          1% of purchased equip cost (B)                                        467,669
      Performance test                                  1% of purchased equip cost (B)                                        467,669
      Contingencies                                     3% of purchased equip cost (B)                                      1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                 16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                  102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               843,516
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity              918,962

  Total Annual Direct Operating Costs                                                                                       1,796,315

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                    20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                      2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                      1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                      1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate           14,648,823
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  20,580,927


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                22,377,242
                              B
Pollutant Removed (tons/yr)                                                                                                    1,465
Cost per ton of SO2 Removed                                                                                                   15,274




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Sinter Windbox DFGD.xlsDry FGDL-Lo(e)-Hi(c)                                                                                                          Page 3 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                 7.0%
                              Equipment Life                                   10 years
                              CRF                                         0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                    2 years
                              CRF                                         0.5531
                                                                                          3
                              Catalyst cost per unit                           650 $/ft
                                                                                     3
                              Amount Required                                    0 ft
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipmen
                              Equipment Life                                   2
                              CRF                                         0.5531
                              Rep part cost per unit                       33.72 $ each
                              Amount Required                                  0 Number
                              Total Rep Parts Cost                             0 Cost adjusted for freight & sales tax
                              Installation Labor                               0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                             0
                              Annualized Cost                                  0

                              Total Cost Replacement Parts & Catalyst                                             0

                              Design Flow                  623,100 dscfm                      708068 scfm
                                                                114 Temp Deg F
                                                              12% % Moisture
                                                           756,855 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2484.2 kW-hr                  19,585,723             918,962 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                              4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           3.9 gpm                          1,843               374 $/Mgal, 3.9 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                      304.57 Ton                        632.32 lb/hr                         2,770           843,516 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.502 ton/hr                       3,958           100,447 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr     Comments/Notes
                      0.64 lb/MMBtu                              650 MMBTU/HR          NA               1,627.81
Controlled Emission Rate
           Perf                  Unit of                  Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                  Rate        Measure          90%              T/yr    Currently assumes 80%.
                                                                                       90%                  163 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  1465.0 Assuming 90% control.


                                  Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            681,170                  12            0.55          0.7              2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                             4                   125             0.8          0.7                  0.2       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0                  62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                           1.7 lb Lime/lb SO2                              632.32 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Reagent Feed rate                     632.32 lb/hr                   Equation 6-38 EPA/600/R-00/093
Reagent flow rate                       4.28 gpm                     Equation 6-39 EPA/600/R-00/093
water use                               3.90 gpm




Sinter Windbox DFGD.xlsDry FGDL-Lo(e)-Hi(c)                                                                                                                                                                 Page 4 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              1,030,184
     Instrumentation                                  10% of control device cost (A)                                         103,018
     Sales Taxes                                     6.0% of control device cost (A)                                          61,811
     Freight                                           5% of control device cost (A)                                          51,509
   Purchased Equipment Total (B                       21%                                                                  1,246,523

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                        149,583
      Handling & erection                             40% of purchased equip cost (B)                                        498,609
      Electrical                                       1% of purchased equip cost (B)                                         12,465
      Piping                                          30% of purchased equip cost (B)                                        373,957
      Insulation                                       1% of purchased equip cost (B)                                         12,465
      Painting                                         1% of purchased equip cost (B)                                         12,465
    Installation Total                                85%                                                                  1,059,544
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            2,306,067

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                       124,652
      Construction & field expenses                    10% of purchased equip cost (B)                                       124,652
      Construction fee                                 10% of purchased equip cost (B)                                       124,652
      Start-up                                          1% of purchased equip cost (B)                                        12,465
      Performance test                                  1% of purchased equip cost (B)                                        12,465
      Contingencies                                     3% of purchased equip cost (B)                                        37,396
  Total Indirect Capital Costs, IC                     35%                                                                   436,283

Total Capital Investment (TCI) = DC + IC                                                                                   2,742,350

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               843,516
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity              918,962

  Total Annual Direct Operating Costs                                                                                      1,796,315

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                   20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                        54,847
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                        27,424
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                        27,424
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate             390,449
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  2,316,760


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                4,113,075
                              B
Pollutant Removed (tons/yr)                                                                                                    1,546
Cost per ton of SO2 Removed                                                                                                    2,660




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Sinter Windbox DFGD.xlsDry FGDL-Hi(e)-Lo(c)                                                                                                          Page 5 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                 7.0%
                              Equipment Life                                   10 years
                              CRF                                         0.1424

                              Catalyst Replacement Cost
                              Catalyst Life                                    2 years
                              CRF                                         0.5531
                                                                                          3
                              Catalyst cost per unit                           650 $/ft
                                                                                     3
                              Amount Required                                    0 ft
                              Catalyst Cost                                      0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Replacement Parts & Equipmen
                              Equipment Life                                   2
                              CRF                                         0.5531
                              Rep part cost per unit                       33.72 $ each
                              Amount Required                                  0 Number
                              Total Rep Parts Cost                             0 Cost adjusted for freight & sales tax
                              Installation Labor                               0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                             0
                              Annualized Cost                                  0

                              Total Cost Replacement Parts & Catalyst                                             0

                              Design Flow                  623,100 dscfm                      708068 scfm
                                                                114 Temp Deg F
                                                              12% % Moisture
                                                           756,855 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2484.2 kW-hr                  19,585,723             918,962 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                              4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           3.9 gpm                          1,843               374 $/Mgal, 3.9 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                      304.57 Ton                        632.32 lb/hr                         2,770           843,516 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.502 ton/hr                       3,958           100,447 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr     Comments/Notes
                      0.64 lb/MMBtu                              650 MMBTU/HR          NA               1,627.81
Controlled Emission Rate
           Perf                  Unit of                  Flow        Unit of       Control Eff.      Emis Rate
         Guarantee               Measure                  Rate        Measure          95%              T/yr    Currently assumes 80%.
                                                                                       95%                   81 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  1546.4 Assuming 90% control.


                                  Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            681,170                  12            0.55          0.7              2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                             4                   125             0.8          0.7                  0.2       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0                  62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                           1.7 lb Lime/lb SO2                              632.32 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Reagent Feed rate                     632.32 lb/hr                   Equation 6-38 EPA/600/R-00/093
Reagent flow rate                       4.28 gpm                     Equation 6-39 EPA/600/R-00/093
water use                               3.90 gpm




Sinter Windbox DFGD.xlsDry FGDL-Hi(e)-Lo(c)                                                                                                                                                                 Page 6 of 12
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                                                            BART ANALYSIS 2004
                                                      DRY FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                              38,650,338
     Instrumentation                                  10% of control device cost (A)                                        3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                        2,319,020
     Freight                                           5% of control device cost (A)                                        1,932,517
   Purchased Equipment Total (B                       21%                                                                  46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                      5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                     18,706,764
      Electrical                                       1% of purchased equip cost (B)                                        467,669
      Piping                                          30% of purchased equip cost (B)                                     14,030,073
      Insulation                                       1% of purchased equip cost (B)                                        467,669
      Painting                                         1% of purchased equip cost (B)                                        467,669
    Installation Total                                85%                                                                 39,751,873
      Site Preparation, as required                       Site Specific                                                   NA
      Buildings, as required                              Site Specific                                                   NA

  Total Direct Capital Cost, DC                                                                                            86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                      4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                      4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                      4,676,691
      Start-up                                          1% of purchased equip cost (B)                                        467,669
      Performance test                                  1% of purchased equip cost (B)                                        467,669
      Contingencies                                     3% of purchased equip cost (B)                                      1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                 16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                  102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                         25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity            12,506
     Supervisor                                        15% of oper labor costs 15%                                             1,876
    Operating Materials
     Reagent #1                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
     Reagent #2                                      304.57 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime               843,516
     Catalyst                                           NA                                                                         -
    Wastewater Treatment                                NA $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity                          -
    Maintenance
      Maintenance Labor                               17.77 1/2 hr per shift                                                   9,727
      Maintenance Materials                           100% of maintenance labor costs                                          9,727
    Electricity - Fan, Pump                            0.05 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity              918,962

  Total Annual Direct Operating Costs                                                                                       1,796,315

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                    20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                      2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                      1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                      1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate           14,648,823
  Total Annual Indirect Operating Cost                    Sum indirect oper costs + capital recovery cost                  20,580,927


Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                22,377,242
                              B
Pollutant Removed (tons/yr)                                                                                                    1,546
Cost per ton of SO2 Removed                                                                                                   14,470




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Sinter Windbox DFGD.xlsDry FGDL-Hi(e)-Hi(c)                                                                                                          Page 7 of 12
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                                                                                         BART ANALYSIS 2004
                                                                                   DRY FLUE GAS DESULFURIZATION
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                7.0%
                               Equipment Life                                  10 years
                               CRF                                        0.1424

                               Catalyst Replacement Cost
                               Catalyst Life                                   2 years
                               CRF                                        0.5531
                                                                                          3
                               Catalyst cost per unit                          650 $/ft
                                                                                     3
                               Amount Required                                   0 ft
                               Catalyst Cost                                     0 Cost adjusted for freight & sales tax
                               Installation Labor                                0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                              0
                               Annualized Cost                                   0

                               Replacement Parts & Equipmen
                               Equipment Life                                  2
                               CRF                                        0.5531
                               Rep part cost per unit                      33.72 $ each
                               Amount Required                                 0 Number
                               Total Rep Parts Cost                            0 Cost adjusted for freight & sales tax
                               Installation Labor                              0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost                            0
                               Annualized Cost                                 0

                               Total Cost Replacement Parts & Catalyst                                            0

                               Design Flow                 623,100 dscfm                      708068 scfm
                                                                114 Temp Deg F
                                                              12% % Moisture
                                                           756,855 acfm

Operating Cost Calculations                                          Annual hours of operation:                       8,760
                                                                     Utilization Rate:                                90.0%

                                Unit         Unit of                    Use           Unit of          Annual            Annual    Comments
Item                           Cost $       Measure                     Rate          Measure           Use*              Cost
Op Labor                           25.38 Hr                                    0.5 hr/8 hr shift             493            12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                           15% of Op.                                                              NA             1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                                    0.5 hr/8 hr shift             493             4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                                     NA                1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                           2484.2 kW-hr                  19,585,723             918,962 $/kW-hr, 2,484 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                      3
Natural Gas                              4.24 Mft                              0 scfm                             0                 0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.20 Mgal                           3.9 gpm                          1,843               374 $/Mgal, 3.9 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.25 Mscf                             1 Mscfm                          473               118 $/Mscf, 1.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                    280.00 Ton                           0.00 lb/hr                            0                 0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                      304.57 Ton                        632.32 lb/hr                         2,770           843,516 $/Ton, 632.3 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                             25.38 Ton                          0.502 ton/hr                       3,958           100,447 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                                273 Ton                          0.000 ton/hr                           0                 0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                                 1.52 Mgal                           0.0 gpm                              0                 0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                 3
Catalyst                                      0 ft                               0 ft3                 2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                     0 bag                              0 bags                2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost facto
                                                                                                       Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission              Unit of                    Flow        Unit of       Control Eff.      Emis Rate
          Factor               Measure                    Rate        Measure           %               T/yr     Comments/Notes
                      0.64 lb/MMBtu                              650 MMBTU/HR          NA               1,627.81
Controlled Emission Rate
           Perf                   Unit of                 Flow        Unit of       Control Eff.      Emis Rate
         Guarantee                Measure                 Rate        Measure          95%              T/yr    Currently assumes 80%.
                                                                                       95%                   81 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                                  1546.4 Assuming 90% control.


                                  Flow acfm          ∆ P in H2O       Blower Eff     Motor Eff           kW
Blower                            681,170                  12            0.55          0.7              2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                  Flow gpm                P ft H2O    Pump Eff       Motor Eff
Circ Pump                             4                   125             0.8          0.7                  0.2       OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                         0.0                  62.5            0.8          0.7                  0.0       OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                         2.50 lb NaOH/lb SO2                               929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                           1.7 lb Lime/lb SO2                              632.32 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity


SO2 flow rate                         371.65 lb/hr
Reagent Feed rate                     632.32 lb/hr                   Equation 6-38 EPA/600/R-00/093
Reagent flow rate                       4.28 gpm                     Equation 6-39 EPA/600/R-00/093
water use                               3.90 gpm




Sinter Windbox DFGD.xlsDry FGDL-Hi(e)-Hi(c)                                                                                                                                                                 Page 8 of 12
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                                                              BART ANALYSIS 2004
                                                                FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                                1,410,846
     Instrumentation                                               10% of control device cost (A)                                     141,085
     Sales Taxes                                                    6% of control device cost (A)                                      84,651
     Freight                                                        5% of control device cost (A)                                      70,542

    Purchased Equipment Total (B)                                  21%                                                              1,707,123
    Direct installation costs
      Foundations & supports                                        4% of purchased equip cost (B)                                     68,285
      Handling & erection                                          50% of purchased equip cost (B)                                    853,562
      Electrical                                                    8% of purchased equip cost (B)                                    136,570
      Piping                                                        1% of purchased equip cost (B)                                     17,071
      Insulation for ductwork                                       7% of purchased equip cost (B)                                    119,499
      Painting                                                      4% of purchased equip cost (B)                                     68,285
    Installation Total                                             74%                                                          0   1,263,271
      Site Preparation, as required                                    Site Specific                                                NA
      Buildings, as required                                           Site Specific                                                NA

  Total Direct Capital Cost                                                                                                         2,970,395

 Indirect Capital Costs
      Engineering                                                  10% of purchased equip cost (B)                                    170,712
      Construction and field expense                               20% of purchased equip cost (B)                                    341,425
      Contractor fees                                              10% of purchased equip cost (B)                                    170,712
      Startup                                                       1% of purchased equip cost (B)                                     17,071
      Performance test                                              1% of purchased equip cost (B)                                     17,071
      Contingencies                                                 3% of purchased equip cost (B)                                     51,214
 Total Indirect Capital Costs                                      45%                                                                768,205
Total Capital Investment (TCI) = DC + IC                                                                                            3,738,600


OPERATING COSTS
  Direct Operating Costs
      Operating Labor                                            25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         50,025
      Supervisor                                                  15% of operator labor costs                                          7,504
      Maintenance Labor                                          17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         17,509
      Maintenance Materials                                      100% of maintenance labor costs                                      17,509
      Replacement parts, bags                                                                                                        513,483
      Utilities
           Electricity                                             0.05 $/kW-hr, 7,200.2 kW-hr, 8760 hr/yr, 90.0% of capacity       2,663,491
           Compressed Air                                          0.27 $/Mscf, 1,513.7 Mscfm, 8760 hr/yr, 90.0% of capacity          196,276
            Solid Waste Disposal                                  25.38 $/Ton, 1,003.963 lb/hr, 8760 hr/yr                            95,425

  Total Annual Direct Operating Costs (DC                                                                                           3,561,223

  Indirect Operating Costs
      Overhead                                                     60% of oper, maint & supv labor + maint mtl costs                  55,528
      Administration (2% total capital costs)                       2% of total capital costs (TCI)                                   74,772
      Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                   37,386
      Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                   37,386
      Capital Recovery                                              9% for a 20- year equipment life and a 7% interest rate          352,897
  Total Indirect Operating Costs                                       Sum indirect oper costs + capital recovery cost               557,970

Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                         4,119,192
Pollutant Removed (tons/yr)                                                                                                             4,177
Cost per ton of PM Removed                                                                                                                986




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                                                                                        BART ANALYSIS 2004
                                                                                          FABRIC FILTER
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                        7.0%
                            Equipment Life                          20 years
                            CRF                                0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                           2 years
                            CRF                                0.5531
                                                                             3
                            Catalyst cost per unit                650 $/ft
                            Amount Required                          0 ft3
                            Catalyst Cost                            0 Cost adjusted for freight & sales tax
                            Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                     0
                            Annualized Cost                          0

                            Replacement Parts & Equipmen
                            Equipment Life                    2 years
                            CRF                          0.5531
                            Rep part cost per unit        35.53 $ each
                            Amount Required               12110 Number
                            Total Rep Parts Cost        477,625 Cost adjusted for freight & sales tax
                            Installation Labor           35,858 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost        513,483
                            Annualized Cost             284,003

                            Total Cost Replacement Parts (Bags)                                   513,483

                            Design Flow          623,100 dscfm                   708068 scfm
                                                      114 Temp Deg F
                                                     12% % Moisture
                                                 756,855 acfm

Operating Cost Calculations                                  Annual hours of operation:      8,760
                                                             Utilization Rate:               90.0%
                              Unit       Unit of     Use          Unit of        Annual          Annual     Comments
Item                         Cost $     Measure      Rate        Measure          Use*            Cost
Op Labor                         25.38 Hr                  2 hr/8 hr shift             1,971         50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                   NA             NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                  1 hr/8 hr shift               986         17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                   NA             NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr            7200 kW-hr               56,766,646       2,663,491 $/kW-hr, 7,200.2 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                 3
Natural Gas                             4.24 Mft                    0 scfm                              0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.22 Mgal                   0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf             1513.71 Mscfm                       716,045         196,276 $/Mscf, 1,513.7 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      300 Ton                    0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                               300 Ton                    0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                            25.38 Ton                0.477 ton/hr                        3,760          95,425 $/Ton, 1,003.963 lb/hr, 8760 hr/yr
Haz W Disp                               273 Ton                0.000 ton/hr                            0               0 $/Ton, 1,003.963 lb/hr, 8760 hr/yr
WW Treat                                 1.5 Mgal                   0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3
Catalyst                              650 ft                        0 ft3                   2 yr life                   0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                     35.53299492 bag             12109.68004 bags                  2 yr life            284,003 $/bag, 12,109.7 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission            Unit of              Flow      Unit of       Control Eff.       Emis Rate
         Factor            Measure               Rate      Measure           %                T/yr      Comments/Notes
                   1004 lb/hr                      -      MMBtu/hr          NA                     4397
Controlled Emission Rate
          Perf              Unit of              Flow      Unit of       Control Eff.       Emis Rate
       Guarantee           Measure               Rate      Measure           %                T/yr      Comments/Notes
                                                                              95.00%              219.9 Currently assumes 95%.
Emission Reduction T/yr                                                                           4,177

Electrical Consumption Requirements Kilowatts
                               Flow acfm     D P in H2O        Blower-Motor Eff                 kW
Blower                          756,855              6              0.65                       7200.2       OAQPS Cost Cont Manual 6th ed - Eq 1.14




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                                                              BART ANALYSIS 2004
                                                                FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                                17,635,571
     Instrumentation                                               10% of control device cost (A)                                    1,763,557
     Sales Taxes                                                    6% of control device cost (A)                                    1,058,134
     Freight                                                        5% of control device cost (A)                                      881,779

    Purchased Equipment Total (B)                                  21%                                                              21,339,041
    Direct installation costs
      Foundations & supports                                        4% of purchased equip cost (B)                                     853,562
      Handling & erection                                          50% of purchased equip cost (B)                                  10,669,521
      Electrical                                                    8% of purchased equip cost (B)                                   1,707,123
      Piping                                                        1% of purchased equip cost (B)                                     213,390
      Insulation for ductwork                                       7% of purchased equip cost (B)                                   1,493,733
      Painting                                                      4% of purchased equip cost (B)                                     853,562
    Installation Total                                             74%                                                          0   15,790,890
      Site Preparation, as required                                    Site Specific                                                 NA
      Buildings, as required                                           Site Specific                                                 NA

  Total Direct Capital Cost                                                                                                         37,129,932

 Indirect Capital Costs
      Engineering                                                  10% of purchased equip cost (B)                                   2,133,904
      Construction and field expense                               20% of purchased equip cost (B)                                   4,267,808
      Contractor fees                                              10% of purchased equip cost (B)                                   2,133,904
      Startup                                                       1% of purchased equip cost (B)                                     213,390
      Performance test                                              1% of purchased equip cost (B)                                     213,390
      Contingencies                                                 3% of purchased equip cost (B)                                     640,171
 Total Indirect Capital Costs                                      45%                                                               9,602,568
Total Capital Investment (TCI) = DC + IC                                                                                            46,732,500


OPERATING COSTS
  Direct Operating Costs
      Operating Labor                                            25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          50,025
      Supervisor                                                  15% of operator labor costs                                           7,504
      Maintenance Labor                                          17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity          17,509
      Maintenance Materials                                      100% of maintenance labor costs                                       17,509
      Replacement parts, bags                                                                                                         513,483
      Utilities
           Electricity                                             0.05 $/kW-hr, 7,200.2 kW-hr, 8760 hr/yr, 90.0% of capacity        2,663,491
           Compressed Air                                          0.27 $/Mscf, 1,513.7 Mscfm, 8760 hr/yr, 90.0% of capacity           196,276
            Solid Waste Disposal                                  25.38 $/Ton, 1,003.963 lb/hr, 8760 hr/yr                            100,437

  Total Annual Direct Operating Costs (DC                                                                                            3,566,235

  Indirect Operating Costs
      Overhead                                                     60% of oper, maint & supv labor + maint mtl costs                   55,528
      Administration (2% total capital costs)                       2% of total capital costs (TCI)                                   934,650
      Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                   467,325
      Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                    467,325
      Capital Recovery                                              9% for a 20- year equipment life and a 7% interest rate          4,411,217
  Total Indirect Operating Costs                                       Sum indirect oper costs + capital recovery cost               6,336,046

Total Annual Cost (Annualized Capital Cost + Operating Cost                                                                          9,902,280
Pollutant Removed (tons/yr)                                                                                                              4,397
Cost per ton of PM Removed                                                                                                               2,252




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                                                                                        BART ANALYSIS 2004
                                                                                          FABRIC FILTER
                            Capital Recovery Factors
                            Primary Installation
                            Interest Rate                        7.0%
                            Equipment Life                          20 years
                            CRF                                0.0944

                            Catalyst Replacement Cost
                            Catalyst Life                           2 years
                            CRF                                0.5531
                                                                             3
                            Catalyst cost per unit                650 $/ft
                            Amount Required                          0 ft3
                            Catalyst Cost                            0 Cost adjusted for freight & sales tax
                            Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                            Total Installed Cost                     0
                            Annualized Cost                          0

                            Replacement Parts & Equipmen
                            Equipment Life                    2 years
                            CRF                          0.5531
                            Rep part cost per unit        35.53 $ each
                            Amount Required               12110 Number
                            Total Rep Parts Cost        477,625 Cost adjusted for freight & sales tax
                            Installation Labor           35,858 10 min per bag (13 hr total) Labor at $29.65/hr
                            Total Installed Cost        513,483
                            Annualized Cost             284,003

                            Total Cost Replacement Parts (Bags)                                   513,483

                            Design Flow          623,100 dscfm                   708068 scfm
                                                      114 Temp Deg F
                                                     12% % Moisture
                                                 756,855 acfm

Operating Cost Calculations                                  Annual hours of operation:      8,760
                                                             Utilization Rate:               90.0%
                              Unit       Unit of     Use          Unit of        Annual          Annual     Comments
Item                         Cost $     Measure      Rate        Measure          Use*            Cost
Op Labor                         25.38 Hr                  2 hr/8 hr shift             1,971         50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                   NA             NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                  1 hr/8 hr shift               986         17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                   NA             NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr            7200 kW-hr               56,766,646       2,663,491 $/kW-hr, 7,200.2 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                 3
Natural Gas                            4.24 Mft                     0 scfm                              0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.22 Mgal                    0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.27 Mscf              1513.71 Mscfm                       716,045         196,276 $/Mscf, 1,513.7 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     300 Ton                     0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                              300 Ton                     0 lb-mole/hr                        0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                           25.38 Ton                 0.502 ton/hr                        3,957         100,437 $/Ton, 1,003.963 lb/hr, 8760 hr/yr
Haz W Disp                              273 Ton                 0.000 ton/hr                            0               0 $/Ton, 1,003.963 lb/hr, 8760 hr/yr
WW Treat                                1.5 Mgal                    0 gpm                               0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                             3
Catalyst                              650 ft                        0 ft3                   2 yr life                   0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                     35.53299492 bag             12109.68004 bags                  2 yr life            284,003 $/bag, 12,109.7 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                  Emission Control Rate Calculation
Uncontrolled Emission Rate
        Emission            Unit of              Flow      Unit of       Control Eff.       Emis Rate
         Factor            Measure               Rate      Measure           %                T/yr      Comments/Notes
                   1004 lb/hr                      -      MMBtu/hr          NA                     4397
Controlled Emission Rate
          Perf              Unit of              Flow      Unit of       Control Eff.       Emis Rate
       Guarantee           Measure               Rate      Measure           %                T/yr       Comments/Notes
                                                                              99.99%                 0.4 Currently assumes 95%.
Emission Reduction T/yr                                                                           4,397

Electrical Consumption Requirements Kilowatts
                                Flow acfm    D P in H2O        Blower-Motor Eff                 kW
Blower                          756,855              6              0.65                       7200.2       OAQPS Cost Cont Manual 6th ed - Eq 1.14




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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                  2,575,826
     Instrumentation                                  10% of control device cost (A)                                             257,583
     Sales Taxes                                     6.0% of control device cost (A)                                             154,550
     Freight                                           5% of control device cost (A)                                             128,791
   Purchased Equipment Total (B)                     21%                                                                       3,116,750

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                            374,010
      Handling & erection                             40% of purchased equip cost (B)                                          1,246,700
      Electrical                                       1% of purchased equip cost (B)                                             31,168
      Piping                                          30% of purchased equip cost (B)                                            935,025
      Insulation                                       1% of purchased equip cost (B)                                             31,168
      Painting                                         1% of purchased equip cost (B)                                             31,168
    Installation Total                                85%                                                                      2,649,238
      Site Preparation, as required                       Site Specific                                                       NA
      Buildings, as required                              Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                                5,765,988

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                           311,675
      Construction & field expenses                    10% of purchased equip cost (B)                                           311,675
      Construction fee                                 10% of purchased equip cost (B)                                           311,675
      Start-up                                          1% of purchased equip cost (B)                                            31,168
      Performance test                                  1% of purchased equip cost (B)                                            31,168
      Contingencies                                     3% of purchased equip cost (B)                                            93,503
  Total Indirect Capital Costs, IC                     35%                                                                     1,090,863

Total Capital Investment (TCI) = DC + IC                                                                                       6,856,850

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 12,506
     Supervisor                                       15% of oper labor costs 15%                                                  1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH          1,041,140
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                            -
     Catalyst                                           NA                                                                             -
    Wastewater Treatment                               1.52 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity                   981,382
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                        9,727
      Maintenance Materials                          100% of maintenance labor costs                                               9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity                 1,035,205

  Total Annual Direct Operating Costs                                                                                          3,091,563

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                           137,137
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                            68,569
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                            68,569
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate                 976,261
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                      4,362,401


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                   7,453,964
                              B
Pollutant Removed (tons/yr)                                                                                                        1,465
Cost per ton of SO2 Removed                                                                                                        5,088




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Sinter Windbox WFGD.xlsWFGD-Lo(e)-Lo(c)                                                                                                                Page 1 of 8
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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                           7.0%
                             Equipment Life                             10 years
                             CRF                                   0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                              2 years
                             CRF                                   0.5531
                             Catalyst cost per unit                   650 $/ft3
                             Amount Required                            0 ft3
                             Catalyst Cost                              0 Cost adjusted for freight & sales tax
                             Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                       0
                             Annualized Cost                            0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow              623,100 dscfm                708068 scfm
                                                           114 Temp Deg F
                                                         12% % Moisture
                                                      756,855 acfm

Operating Cost Calculations                                     Annual hours of operation:                   8,760
                                                                Utilization Rate:                            90.0%

                               Unit         Unit of               Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure               Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                           0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                           0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                             NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     2798.5 kW-hr                22,063,188        1,035,205 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                        0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.20 Mgal                  1,362.3 gpm                     644,441          130,851 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.25 Mscf                        0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                  284.26 Ton                    929.12 lb/hr                     3,663        1,041,140 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       300 Ton                     0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                              273 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                               1.52 Mgal                  1,362.3 gpm                     644,441          981,382 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                                    0 ft                        0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                       0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow       Unit of      Control Eff.    Emis Rate
          Factor             Measure                 Rate       Measure          %             T/yr     Comments/Notes
                     0.64 lb/MMBtu                          650 MMBTU/HR        NA             1,627.81
Controlled Emission Rate
           Perf                 Unit of              Flow       Unit of      Control Eff.    Emis Rate
         Guarantee              Measure              Rate       Measure         90%            T/yr    Currently assumes 80%.
                                                                                90%                163 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                         1465.0 Assuming 90% control.


                                Flow acfm          ∆ P in H2O   Blower Eff    Motor Eff         kW
Blower                          681,170               12           0.55         0.7            2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                Flow gpm             P ft H2O   Pump Eff      Motor Eff
Circ Pump                         6,812              125           0.8          0.7             285.8        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                     1,362.3             62.5          0.8          0.7              28.6        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                  2.50 lb NaOH/lb SO2                             929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                  1.53 lb Lime/lb SO2                             568.62 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Sinter Windbox WFGD.xlsWFGD-Lo(e)-Lo(c)                                                                                                                                                Page 2 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 38,650,338
     Instrumentation                                  10% of control device cost (A)                                           3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                           2,319,020
     Freight                                           5% of control device cost (A)                                           1,932,517
   Purchased Equipment Total (B)                     21%                                                                      46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                          5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                         18,706,764
      Electrical                                       1% of purchased equip cost (B)                                            467,669
      Piping                                          30% of purchased equip cost (B)                                         14,030,073
      Insulation                                       1% of purchased equip cost (B)                                            467,669
      Painting                                         1% of purchased equip cost (B)                                            467,669
    Installation Total                                85%                                                                     39,751,873
      Site Preparation, as required                       Site Specific                                                       NA
      Buildings, as required                              Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                               86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                         4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                         4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                         4,676,691
      Start-up                                          1% of purchased equip cost (B)                                           467,669
      Performance test                                  1% of purchased equip cost (B)                                           467,669
      Contingencies                                     3% of purchased equip cost (B)                                         1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                    16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                     102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 12,506
     Supervisor                                       15% of oper labor costs 15%                                                  1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH           1,041,140
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                             -
     Catalyst                                           NA                                                                              -
    Wastewater Treatment                               1.52 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity                    981,382
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                         9,727
      Maintenance Materials                          100% of maintenance labor costs                                                9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity                  1,035,205

  Total Annual Direct Operating Costs                                                                                           3,091,563

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                        20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                          2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                          1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                          1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate               14,648,823
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                      21,876,176


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  24,967,739
                              B
Pollutant Removed (tons/yr)                                                                                                        1,465
Cost per ton of SO2 Removed                                                                                                       17,042




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Sinter Windbox WFGD.xlsWFGD-Lo(e)-Hi(c)                                                                                                                 Page 3 of 8
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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                           7.0%
                             Equipment Life                             10 years
                             CRF                                   0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                              2 years
                             CRF                                   0.5531
                             Catalyst cost per unit                   650 $/ft3
                             Amount Required                            0 ft3
                             Catalyst Cost                              0 Cost adjusted for freight & sales tax
                             Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                       0
                             Annualized Cost                            0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow              623,100 dscfm                708068 scfm
                                                           114 Temp Deg F
                                                         12% % Moisture
                                                      756,855 acfm

Operating Cost Calculations                                     Annual hours of operation:                   8,760
                                                                Utilization Rate:                            90.0%

                               Unit         Unit of               Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure               Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                           0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                           0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                             NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     2798.5 kW-hr                22,063,188        1,035,205 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                        0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.20 Mgal                  1,362.3 gpm                     644,441          130,851 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.25 Mscf                        0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                  284.26 Ton                    929.12 lb/hr                     3,663        1,041,140 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       300 Ton                     0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                              273 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                               1.52 Mgal                  1,362.3 gpm                     644,441          981,382 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                                    0 ft                        0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                       0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow       Unit of      Control Eff.    Emis Rate
          Factor             Measure                 Rate       Measure          %             T/yr     Comments/Notes
                     0.64 lb/MMBtu                          650 MMBTU/HR        NA             1,627.81
Controlled Emission Rate
           Perf                 Unit of              Flow       Unit of      Control Eff.    Emis Rate
         Guarantee              Measure              Rate       Measure         90%            T/yr    Currently assumes 80%.
                                                                                90%                163 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                         1465.0 Assuming 90% control.


                                Flow acfm          ∆ P in H2O   Blower Eff    Motor Eff         kW
Blower                           681,170              12           0.55         0.7            2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                Flow gpm             P ft H2O   Pump Eff      Motor Eff
Circ Pump                         6,812              125           0.8          0.7             285.8        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                     1,362.3             62.5          0.8          0.7              28.6        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                  2.50 lb NaOH/lb SO2                             929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                  1.53 lb Lime/lb SO2                             568.62 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Sinter Windbox WFGD.xlsWFGD-Lo(e)-Hi(c)                                                                                                                                                Page 4 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                  2,575,826
     Instrumentation                                  10% of control device cost (A)                                             257,583
     Sales Taxes                                     6.0% of control device cost (A)                                             154,550
     Freight                                           5% of control device cost (A)                                             128,791
   Purchased Equipment Total (B)                     21%                                                                       3,116,750

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                            374,010
      Handling & erection                             40% of purchased equip cost (B)                                          1,246,700
      Electrical                                       1% of purchased equip cost (B)                                             31,168
      Piping                                          30% of purchased equip cost (B)                                            935,025
      Insulation                                       1% of purchased equip cost (B)                                             31,168
      Painting                                         1% of purchased equip cost (B)                                             31,168
    Installation Total                                85%                                                                      2,649,238
      Site Preparation, as required                       Site Specific                                                       NA
      Buildings, as required                              Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                                5,765,988

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                           311,675
      Construction & field expenses                    10% of purchased equip cost (B)                                           311,675
      Construction fee                                 10% of purchased equip cost (B)                                           311,675
      Start-up                                          1% of purchased equip cost (B)                                            31,168
      Performance test                                  1% of purchased equip cost (B)                                            31,168
      Contingencies                                     3% of purchased equip cost (B)                                            93,503
  Total Indirect Capital Costs, IC                     35%                                                                     1,090,863

Total Capital Investment (TCI) = DC + IC                                                                                       6,856,850

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 12,506
     Supervisor                                       15% of oper labor costs 15%                                                  1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH          1,041,140
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                            -
     Catalyst                                           NA                                                                             -
    Wastewater Treatment                               1.52 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity                   981,382
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                        9,727
      Maintenance Materials                          100% of maintenance labor costs                                               9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity                 1,035,205

  Total Annual Direct Operating Costs                                                                                          3,091,563

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                       20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                           137,137
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                            68,569
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                            68,569
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate                 976,261
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                      4,362,401


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                   7,453,964
                              B
Pollutant Removed (tons/yr)                                                                                                        1,628
Cost per ton of SO2 Removed                                                                                                        4,580




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Sinter Windbox WFGD.xlsWFGD-Hi(e)-Lo(c)                                                                                                                Page 5 of 8
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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                           7.0%
                             Equipment Life                             10 years
                             CRF                                   0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                              2 years
                             CRF                                   0.5531
                             Catalyst cost per unit                   650 $/ft3
                             Amount Required                            0 ft3
                             Catalyst Cost                              0 Cost adjusted for freight & sales tax
                             Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                       0
                             Annualized Cost                            0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow              623,100 dscfm                708068 scfm
                                                           114 Temp Deg F
                                                         12% % Moisture
                                                      756,855 acfm

Operating Cost Calculations                                     Annual hours of operation:                   8,760
                                                                Utilization Rate:                            90.0%

                               Unit         Unit of               Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure               Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                           0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                           0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                             NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     2798.5 kW-hr                22,063,188        1,035,205 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                        0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.20 Mgal                  1,362.3 gpm                     644,441          130,851 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.25 Mscf                        0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                  284.26 Ton                    929.12 lb/hr                     3,663        1,041,140 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       300 Ton                     0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                              273 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                               1.52 Mgal                  1,362.3 gpm                     644,441          981,382 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                                    0 ft                        0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                       0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow       Unit of      Control Eff.    Emis Rate
          Factor             Measure                 Rate       Measure          %             T/yr     Comments/Notes
                     0.64 lb/MMBtu                          650 MMBTU/HR        NA             1,627.81
Controlled Emission Rate
           Perf                 Unit of              Flow       Unit of      Control Eff.    Emis Rate
         Guarantee              Measure              Rate       Measure       99.99%           T/yr    Currently assumes 80%.
                                                                              99.99%                 0 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                         1627.7 Assuming 99.99% control.


                                Flow acfm          ∆ P in H2O   Blower Eff    Motor Eff         kW
Blower                           681,170              12           0.55         0.7            2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                Flow gpm             P ft H2O   Pump Eff      Motor Eff
Circ Pump                         6,812              125           0.8          0.7             285.8        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                     1,362.3             62.5          0.8          0.7              28.6        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                  2.50 lb NaOH/lb SO2                             929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                  1.53 lb Lime/lb SO2                             568.62 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




Sinter Windbox WFGD.xlsWFGD-Hi(e)-Lo(c)                                                                                                                                                Page 6 of 8
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                                                         BART ANALYSIS 2004
                                                   WET FLUE GAS DESULFURIZATION
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Purchased Equipment Costs - Absorber + packing + auxillary equipment, EC                                                 38,650,338
     Instrumentation                                  10% of control device cost (A)                                           3,865,034
     Sales Taxes                                     6.0% of control device cost (A)                                           2,319,020
     Freight                                           5% of control device cost (A)                                           1,932,517
   Purchased Equipment Total (B)                     21%                                                                      46,766,909

    Installation
      Foundations & supports                          12% of purchased equip cost (B)                                          5,612,029
      Handling & erection                             40% of purchased equip cost (B)                                         18,706,764
      Electrical                                       1% of purchased equip cost (B)                                            467,669
      Piping                                          30% of purchased equip cost (B)                                         14,030,073
      Insulation                                       1% of purchased equip cost (B)                                            467,669
      Painting                                         1% of purchased equip cost (B)                                            467,669
    Installation Total                                85%                                                                     39,751,873
      Site Preparation, as required                       Site Specific                                                       NA
      Buildings, as required                              Site Specific                                                       NA

  Total Direct Capital Cost, DC                                                                                               86,518,782

  Indirect Capital Costs
      Engineering, supervision                         10% of purchased equip cost (B)                                         4,676,691
      Construction & field expenses                    10% of purchased equip cost (B)                                         4,676,691
      Construction fee                                 10% of purchased equip cost (B)                                         4,676,691
      Start-up                                          1% of purchased equip cost (B)                                           467,669
      Performance test                                  1% of purchased equip cost (B)                                           467,669
      Contingencies                                     3% of purchased equip cost (B)                                         1,403,007
  Total Indirect Capital Costs, IC                     35%                                                                    16,368,418

Total Capital Investment (TCI) = DC + IC                                                                                     102,887,200

OPERATING COSTS
  Direct Annual Operating Costs, DC

    Operating Labor
     Operator                                        25.38 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                 12,506
     Supervisor                                       15% of oper labor costs 15%                                                  1,876
    Operating Materials
     Reagent #1                                         284 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH           1,041,140
     Reagent #2                                         NA $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime                             -
     Catalyst                                           NA                                                                              -
    Wastewater Treatment                               1.52 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity                    981,382
    Maintenance
      Maintenance Labor                              17.77 1/2 hr per shift                                                         9,727
      Maintenance Materials                          100% of maintenance labor costs                                                9,727
    Electricity - Fan, Pump                           0.05 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity                  1,035,205

  Total Annual Direct Operating Costs                                                                                           3,091,563

  Indirect Operating Costs
      Overhead                                        60% of total labor and material costs                                        20,302
      Administration (2% total capital costs)          2% of total capital costs (TCI)                                          2,057,744
      Property tax (1% total capital costs)            1% of total capital costs (TCI)                                          1,028,872
      Insurance (1% total capital costs)               1% of total capital costs (TCI)                                          1,028,872
      Capital Recovery                             14.24% for a 10- year equipment life and a 7% interest rate               14,648,823
  Total Annual Indirect Operating Costs                   Sum indirect oper costs + capital recovery cost                      21,876,176


Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  24,967,739
                              B
Pollutant Removed (tons/yr)                                                                                                        1,628
Cost per ton of SO2 Removed                                                                                                       15,340




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Sinter Windbox WFGD.xlsWFGD-Hi(e)-Hi(c)                                                                                                                 Page 7 of 8
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                                                                               BART ANALYSIS 2004
                                                                         WET FLUE GAS DESULFURIZATION
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                           7.0%
                             Equipment Life                             10 years
                             CRF                                   0.1424

                             Catalyst Replacement Cost
                             Catalyst Life                              2 years
                             CRF                                   0.5531
                             Catalyst cost per unit                   650 $/ft3
                             Amount Required                            0 ft3
                             Catalyst Cost                              0 Cost adjusted for freight & sales tax
                             Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                       0
                             Annualized Cost                            0

                             Replacement Parts & Equipment
                             Equipment Life                     2
                             CRF                           0.5531
                             Rep part cost per unit         33.72 $ each
                             Amount Required                    0 Number
                             Total Rep Parts Cost               0 Cost adjusted for freight & sales tax
                             Installation Labor                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost               0
                             Annualized Cost                    0

                             Total Cost Replacement Parts & Catalyst                                     0

                             Design Flow              623,100 dscfm                708068 scfm
                                                           114 Temp Deg F
                                                         12% % Moisture
                                                      756,855 acfm

Operating Cost Calculations                                     Annual hours of operation:                   8,760
                                                                Utilization Rate:                            90.0%

                               Unit         Unit of               Use        Unit of           Annual           Annual    Comments
Item                           Cost $       Measure               Rate      Measure             Use*             Cost
Op Labor                           25.38 Hr                           0.5 hr/8 hr shift              493           12,506 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          15% of Op.                                                       NA            1,876 15% of Operator Costs
Maint Labor                        17.77 Hr                           0.5 hr/8 hr shift              493            4,125 $/Hr, 0.5 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                            NA                                                             NA               1% of purchased equipment costs
Utilities, Reagents, Waste Management & Replacements
Electricity                        0.047 kW-hr                     2798.5 kW-hr                22,063,188        1,035,205 $/kW-hr, 2,798 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                        0 scfm                          0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.20 Mgal                  1,362.3 gpm                     644,441          130,851 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.25 Mscf                        0 Mscfm                         0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                  284.26 Ton                    929.12 lb/hr                     3,663        1,041,140 $/Ton, 929.1 lb/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2 (Lime)                       300 Ton                     0.000 lb/hr                         0                0 $/Ton, 0.0 lb/hr, 8760 hr/yr, 62 lb/lbmole, Lime
SW Disposal                              25 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
Haz W Disp                              273 Ton                     0.000 ton/hr                        0                0 $/ton, 4 gr/scf, 50 Mscfm, 8460 hr/yr
WW Treat                               1.52 Mgal                  1,362.3 gpm                     644,441          981,382 $/Mgal, 1,362.3 gpm, 8760 hr/yr, 90.0% of capacity
                                               3
Catalyst                                    0 ft                        0 ft3                  2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                                   0 bag                       0 bags                 2 yr life                 0 $/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                            *annual use rate is in same units of measurement as the unit cost factor
                                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
         Emission             Unit of                Flow       Unit of      Control Eff.    Emis Rate
          Factor             Measure                 Rate       Measure          %             T/yr     Comments/Notes
                     0.64 lb/MMBtu                          650 MMBTU/HR        NA             1,627.81
Controlled Emission Rate
           Perf                 Unit of              Flow       Unit of      Control Eff.    Emis Rate
         Guarantee              Measure              Rate       Measure       99.99%           T/yr    Currently assumes 80%.
                                                                              99.99%                 0 Basis:8760 hr/yr, 90.0% of capacity
Emission Reduction T/yr                                                                         1627.7 Assuming 99.99% control.


                                Flow acfm          ∆ P in H2O   Blower Eff    Motor Eff         kW
Blower                           681,170              12           0.55         0.7            2484.1        OAQPS Cost Cont Manual 6th ed - Eq 1.48
                                 Flow gpm            P ft H2O   Pump Eff      Motor Eff
Circ Pump                         6,812              125           0.8          0.7             285.8        OAQPS Cost Cont Manual 6th ed - Eq 1.49
H2O WW Disch                     1,362.3             62.5          0.8          0.7              28.6        OAQPS Cost Cont Manual 6th ed - Eq 1.49

Caustic Use                        371.65 lb/hr SO2                  2.50 lb NaOH/lb SO2                             929.12 lb/hr Caustic
Lime Use                           371.65 lb/hr SO2                  1.53 lb Lime/lb SO2                             568.62 lb/hr Lime
Water Makeup Rate/WW Disch = 20% of circulating water rate
Utility use rates basis: 8760 hr/yr, 90.0% of capacity




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                            PM Boilers
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                                                                            BART ANALYSIS 2004
                                                                     DRY ELECTROSTATIC PRECIPITATOR
                   CAPITAL COSTS
                    Direct Capital Costs
                      Purchased Equipment (1)
                        ESP + auxillary equipment                                                                                                      974,026
                        Instrumentation                                             10% of control device cost (A)                                      97,403
                        IN Sales Taxes                                               6% of control device cost (A)                                      58,442
                        Freight                                                      5% of control device cost (A)                                      48,701
                      Purchased Equipment Total (B)                                 21%                                                              1,178,571

                       Direct Installation Costs
                         Foundations & supports                                      4% of purchased equip cost (B)                                     47,143
                         Handling & erection                                        50% of purchased equip cost (B)                                    589,286
                         Electrical                                                  8% of purchased equip cost (B)                                     94,286
                         Piping                                                      1% of purchased equip cost (B)                                     11,786
                         Insulation for ductwork                                     2% of purchased equip cost (B)                                     23,571
                         Painting                                                    2% of purchased equip cost (B)                                     23,571
                       Direct Installation Costs                                                                                                       789,643
                         Site Preparation, as required                                    Site Specific                                              NA
                         Buildings, as required                                           Site Specific                                              NA

                     Total Direct Capital Costs, DC                                 67%                                                              1,968,214

                    Indirect Capital Costs
                         Engineering                                                20% of purchased equip cost (B)                                    235,714
                         Construction & field expenses                              20% of purchased equip cost (B)                                    235,714
                         Constractor fees                                           10% of purchased equip cost (B)                                    117,857
                         Start-up                                                    1% of purchased equip cost (B)                                     11,786
                         Performance Test                                            1% of purchased equip cost (B)
                         Model Study                                                 2% of purchased equip cost (B)                                     23,571
                         Contingencies                                               3% of purchased equip cost (B)                                     35,357
                    Total Indirect Capital Costs                                    57%                                                                660,000
                   Total Capital Investment (TCI) = DC + IC                                                                                          2,628,214



                   OPERATING COSTS
                     Direct Operating Costs
                         Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                         Supervisor                                                 15% of operator costs                                                3,752
                         Coordinator                                                33% of operator costs                                                8,254
                       Operating materials
                        Maintenance Labor                                         0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                    19,149
                        Maintenance Materials                                        1% of purchased equipment costs                                    11,786
                        Utilities
                              Electricity                                           0.05 $/kW-hr, 617.2 kW-hr, 8760 hr/yr, 90.0% of capacity           228,313
                              Water                                                  NA                                                                      -
                              Solid Waste Disposal                                 25.38 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr                               1,844
                              Wastewater Treatment                                   NA                                                                      -

                     Total Annual Direct Operating Costs, DC                                                                                           298,110

                     Indirect Operating Costs
                          Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                   35,819
                         Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    52,564
                         Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    26,282
                         Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    26,282
                         Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate           248,085
                     Total Indirect Operating Costs                                                                                                    389,033

                   Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        687,143
                   Pollutant Removed (tons/yr)B                                                                                                           80.7
                   Cost per ton of PM Removed                                                                                                            8,513




Boiler Dry ESP.xlsDry ESP Lo(e)-Lo(c)                                                                                                                            Page 1 of 8
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                                                                                           BART ANALYSIS 2004
                                                                                    DRY ELECTROSTATIC PRECIPITATOR
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                       7.0%
                              Equipment Life                                         20 years
                              CRF                                               0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                                          2 years
                              CRF                                               0.5531
                              Catalyst cost per unit                                 650 $/ft3
                              Amount Required                                            0 ft3
                              Catalyst Cost                                              0 Cost adjusted for freight & sales tax
                              Installation Labor                                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                                       0
                              Annualized Cost                                            0

                              Replacement Parts & Equipment
                              Equipment Life                                         2
                              CRF                                               0.5531
                              Rep part cost per unit                             33.72 $ each
                              Amount Required                                        0 Number
                              Total Rep Parts Cost                                   0 Cost adjusted for freight & sales tax
                              Installation Labor                                     0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                                   0
                              Annualized Cost                                        0

                              Total Cost Replacement Parts & Catalyst                                                  0

                              Design Flow                       264,000 dscfm                     300000 scfm
                                                                     450 Temp Deg F
                                                                    12% % Moisture
                                                                508,380 acfm

 Operating Cost Calculations                                                               Annual hours of operation: 8,760
                                                                                           Utilization Rate:           90.0%
                                        Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                                   Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                        25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                        NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                      80,237 ft2 collector area                       9,408 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                          NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                     617 kW-hr               4,866,011        228,313 $/kW-hr, 617.2 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                      4.24 Mft3                              0 scfm                      0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                            0.22 Mgal                              0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                         0.27 Mscf                              0 Mscfm                     0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                               280 Ton                             0.0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                        300 Ton                               0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                     25.38 Ton                          0.009 ton/hr                    73          1,844 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 Haz W Disp                                        273 Ton                          0.000 ton/hr                     0              0 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 WW Treat                                           1.5 Mgal                             0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                          650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                       33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                            Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission               Unit of                          Flow         Unit of Control Eff.          Emis Rate
         Factor              Measure                           Rate        Measure      %                   T/yr     Comments/Notes
                    0.04 lb/Mmbtu                                     650 MMBTU/HR     NA                         90
 Controlled Emission Rate
           Perf                     Unit of                    Flow         Unit of        Control Eff.   Emis Rate
       Guarantee                    Measure                    Rate         Measure            %            T/yr      Comments/Notes
                                                                                              90%                9.0 Currently assumes 90%.
 Emission Reduction T/yr                                                                                         80.7

                              Electrical Consumption Requirements Kilowatts
                                                            Flow acfm       D P in H2O             Blower Eff                kW
                              Blower                        508,380             5                     0.65                  457.5      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                            Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                              Pump 1                          NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                              Pump 2                          NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                            Area sqft       TR pwr          # Hoppers      Htr Pwr
                              ESP                            80,237          155.7              2              4            159.7      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                      48503 ft2
 Flow #1                                     159588 acfm
 Flow #2                                   264,000 acfm
 Area #2                                    80236.6 ft2



Boiler Dry ESP.xlsDry ESP Lo(e)-Lo(c)                                                                                                                                                                Page 2 of 8
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                                                                            BART ANALYSIS 2004
                                                                     DRY ELECTROSTATIC PRECIPITATOR
                   CAPITAL COSTS
                    Direct Capital Costs
                      Purchased Equipment (1)
                        ESP + auxillary equipment                                                                                                    12,662,338
                        Instrumentation                                             10% of control device cost (A)                                    1,266,234
                        IN Sales Taxes                                               6% of control device cost (A)                                      759,740
                        Freight                                                      5% of control device cost (A)                                      633,117
                      Purchased Equipment Total (B)                                 21%                                                              15,321,429

                       Direct Installation Costs
                         Foundations & supports                                      4% of purchased equip cost (B)                                     612,857
                         Handling & erection                                        50% of purchased equip cost (B)                                   7,660,714
                         Electrical                                                  8% of purchased equip cost (B)                                   1,225,714
                         Piping                                                      1% of purchased equip cost (B)                                     153,214
                         Insulation for ductwork                                     2% of purchased equip cost (B)                                     306,429
                         Painting                                                    2% of purchased equip cost (B)                                     306,429
                       Direct Installation Costs                                                                                                     10,265,357
                         Site Preparation, as required                                    Site Specific                                              NA
                         Buildings, as required                                           Site Specific                                              NA

                     Total Direct Capital Costs, DC                                 67%                                                              25,586,786

                    Indirect Capital Costs
                         Engineering                                                20% of purchased equip cost (B)                                   3,064,286
                         Construction & field expenses                              20% of purchased equip cost (B)                                   3,064,286
                         Constractor fees                                           10% of purchased equip cost (B)                                   1,532,143
                         Start-up                                                    1% of purchased equip cost (B)                                     153,214
                         Performance Test                                            1% of purchased equip cost (B)
                         Model Study                                                 2% of purchased equip cost (B)                                     306,429
                         Contingencies                                               3% of purchased equip cost (B)                                     459,643
                    Total Indirect Capital Costs                                    57%                                                               8,580,000
                   Total Capital Investment (TCI) = DC + IC                                                                                          34,166,786



                   OPERATING COSTS
                     Direct Operating Costs
                         Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                         Supervisor                                                 15% of operator costs                                                3,752
                         Coordinator                                                33% of operator costs                                                8,254
                       Operating materials
                        Maintenance Labor                                         0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                   136,032
                        Maintenance Materials                                        1% of purchased equipment costs                                   153,214
                        Utilities
                              Electricity                                           0.05 $/kW-hr, 617.2 kW-hr, 8760 hr/yr, 90.0% of capacity           228,313
                              Water                                                  NA                                                                      -
                              Solid Waste Disposal                                 25.38 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr                               1,844
                              Wastewater Treatment                                   NA                                                                      -

                     Total Annual Direct Operating Costs, DC                                                                                           556,422

                     Indirect Operating Costs
                          Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                  190,806
                         Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    683,336
                         Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    341,668
                         Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    341,668
                         Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate          3,225,103
                     Total Indirect Operating Costs                                                                                                   4,782,581

                   Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                       5,339,003
                   Pollutant Removed (tons/yr)B                                                                                                           80.7
                   Cost per ton of PM Removed                                                                                                           66,148




Boiler Dry ESP.xlsDry ESP Lo(e)-Hi(c)                                                                                                                             Page 3 of 8
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                                                                                           BART ANALYSIS 2004
                                                                                    DRY ELECTROSTATIC PRECIPITATOR
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                       7.0%
                              Equipment Life                                         20 years
                              CRF                                               0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                                          2 years
                              CRF                                               0.5531
                              Catalyst cost per unit                                 650 $/ft3
                              Amount Required                                            0 ft3
                              Catalyst Cost                                              0 Cost adjusted for freight & sales tax
                              Installation Labor                                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                                       0
                              Annualized Cost                                            0

                              Replacement Parts & Equipment
                              Equipment Life                                         2
                              CRF                                               0.5531
                              Rep part cost per unit                             33.72 $ each
                              Amount Required                                        0 Number
                              Total Rep Parts Cost                                   0 Cost adjusted for freight & sales tax
                              Installation Labor                                     0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                                   0
                              Annualized Cost                                        0

                              Total Cost Replacement Parts & Catalyst                                                  0

                              Design Flow                       264,000 dscfm                     300000 scfm
                                                                     450 Temp Deg F
                                                                    12% % Moisture
                                                                508,380 acfm

 Operating Cost Calculations                                                               Annual hours of operation: 8,760
                                                                                           Utilization Rate:           90.0%
                                        Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                                   Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                        25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                        NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                      80,237 ft2 collector area                       9,408 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                          NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                     617 kW-hr               4,866,011        228,313 $/kW-hr, 617.2 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                      4.24 Mft3                              0 scfm                      0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                            0.22 Mgal                              0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                         0.27 Mscf                              0 Mscfm                     0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                               280 Ton                             0.0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                        300 Ton                               0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                     25.38 Ton                          0.009 ton/hr                    73          1,844 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 Haz W Disp                                        273 Ton                          0.000 ton/hr                     0              0 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 WW Treat                                           1.5 Mgal                             0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                          650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                       33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                            Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission               Unit of                          Flow         Unit of Control Eff.          Emis Rate
         Factor              Measure                           Rate        Measure      %                   T/yr     Comments/Notes
                    0.04 lb/Mmbtu                                     650 MMBTU/HR     NA                         90
 Controlled Emission Rate
           Perf                     Unit of                    Flow         Unit of        Control Eff.   Emis Rate
       Guarantee                    Measure                    Rate         Measure            %            T/yr      Comments/Notes
                                                                                              90%                9.0 Currently assumes 90%.
 Emission Reduction T/yr                                                                                         80.7

                              Electrical Consumption Requirements Kilowatts
                                                            Flow acfm       D P in H2O             Blower Eff                kW
                              Blower                        508,380             5                     0.65                  457.5      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                            Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                              Pump 1                          NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                              Pump 2                          NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                            Area sqft       TR pwr          # Hoppers      Htr Pwr
                              ESP                            80,237          155.7              2              4            159.7      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                      48503 ft2
 Flow #1                                     159588 acfm
 Flow #2                                   264,000 acfm
 Area #2                                    80236.6 ft2



Boiler Dry ESP.xlsDry ESP Lo(e)-Hi(c)                                                                                                                                                                Page 4 of 8
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                                                                                BART ANALYSIS 2004
                                                                         DRY ELECTROSTATIC PRECIPITATOR
                       CAPITAL COSTS
                        Direct Capital Costs
                          Purchased Equipment (1)
                            ESP + auxillary equipment                                                                                                     974,026
                            Instrumentation                                             10% of control device cost (A)                                     97,403
                            IN Sales Taxes                                               6% of control device cost (A)                                     58,442
                            Freight                                                      5% of control device cost (A)                                     48,701
                          Purchased Equipment Total (B)                                 21%                                                             1,178,571

                            Direct Installation Costs
                              Foundations & supports                                     4% of purchased equip cost (B)                                    47,143
                              Handling & erection                                       50% of purchased equip cost (B)                                   589,286
                              Electrical                                                 8% of purchased equip cost (B)                                    94,286
                              Piping                                                     1% of purchased equip cost (B)                                    11,786
                              Insulation for ductwork                                    2% of purchased equip cost (B)                                    23,571
                              Painting                                                   2% of purchased equip cost (B)                                    23,571
                            Direct Installation Costs                                                                                                     789,643
                              Site Preparation, as required                                   Site Specific                                             NA
                              Buildings, as required                                          Site Specific                                             NA

                         Total Direct Capital Costs, DC                                 67%                                                             1,968,214

                        Indirect Capital Costs
                             Engineering                                                20% of purchased equip cost (B)                                   235,714
                             Construction & field expenses                              20% of purchased equip cost (B)                                   235,714
                             Constractor fees                                           10% of purchased equip cost (B)                                   117,857
                             Start-up                                                    1% of purchased equip cost (B)                                    11,786
                             Performance Test                                            1% of purchased equip cost (B)
                             Model Study                                                 2% of purchased equip cost (B)                                    23,571
                             Contingencies                                               3% of purchased equip cost (B)                                    35,357
                        Total Indirect Capital Costs                                    57%                                                               660,000
                       Total Capital Investment (TCI) = DC + IC                                                                                         2,628,214



                       OPERATING COSTS
                         Direct Operating Costs
                             Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity        25,013
                             Supervisor                                                 15% of operator costs                                               3,752
                             Coordinator                                                33% of operator costs                                               8,254
                            Operating materials
                             Maintenance Labor                                        0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                   19,149
                             Maintenance Materials                                       1% of purchased equipment costs                                   11,786
                             Utilities
                                   Electricity                                          0.05 $/kW-hr, 617.2 kW-hr, 8760 hr/yr, 90.0% of capacity          228,313
                                   Water                                                 NA                                                                     -
                                   Solid Waste Disposal                                25.38 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr                              2,048
                                   Wastewater Treatment                                  NA                                                                     -

                         Total Annual Direct Operating Costs, DC                                                                                          298,315

                         Indirect Operating Costs
                               Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                  35,819
                             Administration (2% total capital costs)                     2% of total capital costs (TCI)                                   52,564
                             Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                   26,282
                             Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                   26,282
                             Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate          248,085
                         Total Indirect Operating Costs                                                                                                   389,033

                       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                       687,348
                       Pollutant Removed (tons/yr)B                                                                                                          89.7
                       Cost per ton of PM Removed                                                                                                           7,665




Boiler Dry ESP.xlsDry ESP Hi(e)-Lo(c)                                                                                                                               Page 5 of 8
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                                                                                            BART ANALYSIS 2004
                                                                                     DRY ELECTROSTATIC PRECIPITATOR
                                   Capital Recovery Factors
                                   Primary Installation
                                   Interest Rate                                    7.0%
                                   Equipment Life                                      20 years
                                   CRF                                            0.0944

                                   Catalyst Replacement Cost
                                   Catalyst Life                                       2 years
                                   CRF                                            0.5531
                                   Catalyst cost per unit                             650 $/ft3
                                   Amount Required                                        0 ft3
                                   Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                   Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                   Total Installed Cost                                   0
                                   Annualized Cost                                        0

                                   Replacement Parts & Equipment
                                   Equipment Life                                      2
                                   CRF                                            0.5531
                                   Rep part cost per unit                          33.72 $ each
                                   Amount Required                                     0 Number
                                   Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                   Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                   Total Installed Cost                                0
                                   Annualized Cost                                     0

                                   Total Cost Replacement Parts & Catalyst                                              0

                                   Design Flow                   264,000 dscfm                     300000 scfm
                                                                      450 Temp Deg F
                                                                     12% % Moisture
                                                                 508,380 acfm

      Operating Cost Calculations                                                           Annual hours of operation: 8,760
                                                                                            Utilization Rate:           90.0%
                                         Unit                Unit of           Use             Unit of        Annual       Annual    Comments
      Item                               Cost $              Measure           Rate           Measure          Use*         Cost
      Op Labor                                    25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
      Supervisor                                    NA                                                              NA           NA Calc'd as % of labor costs
      Maint Labor                         0.117 $/ft2 collector                   80,237 ft2 collector area                      9,408 $/ft2 collector area; $5775 if < 50,000 ft 2
      Maint Mtls                            NA                                                                      NA             1% of purchased equipment costs
      Utilities, Reagents, Waste Management & Replacements
      Electricity                         0.047 kW-hr                                 617 kW-hr               4,866,011        228,313 $/kW-hr, 617.2 kW-hr, 8760 hr/yr, 90.0% of capacity
      Natural Gas                                  4.24 Mft3                              0 scfm                      0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
      Water                                        0.22 Mgal                              0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
      Comp Air                                     0.27 Mscf                              0 Mscfm                     0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
      Reagent #1(Caustic)                           280 Ton                             0.0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
      Reagent #2                                    300 Ton                               0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
      SW Disposal                                 25.38 Ton                          0.010 ton/hr                    81          2,048 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
      Haz W Disp                                    273 Ton                          0.000 ton/hr                     0              0 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
      WW Treat                                       1.5 Mgal                             0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

      Catalyst                                      650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
      Rep Parts                                   33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                             Emission Control Rate Calculation
      Uncontrolled Emission Rate
            Emission               Unit of                      Flow         Unit of Control Eff.          Emis Rate
              Factor              Measure                       Rate        Measure      %                   T/yr     Comments/Notes
                         0.04 lb/Mmbtu                                 650 MMBTU/HR     NA                         90
      Controlled Emission Rate
                Perf                     Unit of                Flow         Unit of        Control Eff.   Emis Rate
            Guarantee                    Measure                Rate         Measure            %            T/yr      Comments/Notes
                                                                                              99.99%              0.0 Currently assumes 99.99%.
      Emission Reduction T/yr                                                                                     89.7

                                   Electrical Consumption Requirements Kilowatts
                                                             Flow acfm       D P in H2O             Blower Eff                kW
                                   Blower                    508,380             5                     0.65                  457.5      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                             Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                   Pump 1                      NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                   Pump 2                      NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                             Area sqft       TR pwr          # Hoppers      Htr Pwr
                                   ESP                        80,237          155.7              2              4            159.7      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


      Estimate Area (ft2)
      Area #1                                   48503 ft2
      Flow #1                                 159588 acfm
      Flow #2                                264,000 acfm
      Area #2                                 80236.6 ft2




Boiler Dry ESP.xlsDry ESP Hi(e)-Lo(c)                                                                                                                                                                 Page 6 of 8
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                                                                            BART ANALYSIS 2004
                                                                     DRY ELECTROSTATIC PRECIPITATOR
                   CAPITAL COSTS
                    Direct Capital Costs
                      Purchased Equipment (1)
                        ESP + auxillary equipment                                                                                                    12,662,338
                        Instrumentation                                             10% of control device cost (A)                                    1,266,234
                        IN Sales Taxes                                               6% of control device cost (A)                                      759,740
                        Freight                                                      5% of control device cost (A)                                      633,117
                      Purchased Equipment Total (B)                                 21%                                                              15,321,429

                        Direct Installation Costs
                          Foundations & supports                                     4% of purchased equip cost (B)                                     612,857
                          Handling & erection                                       50% of purchased equip cost (B)                                   7,660,714
                          Electrical                                                 8% of purchased equip cost (B)                                   1,225,714
                          Piping                                                     1% of purchased equip cost (B)                                     153,214
                          Insulation for ductwork                                    2% of purchased equip cost (B)                                     306,429
                          Painting                                                   2% of purchased equip cost (B)                                     306,429
                        Direct Installation Costs                                                                                                    10,265,357
                          Site Preparation, as required                                   Site Specific                                              NA
                          Buildings, as required                                          Site Specific                                              NA

                     Total Direct Capital Costs, DC                                 67%                                                              25,586,786

                    Indirect Capital Costs
                         Engineering                                                20% of purchased equip cost (B)                                   3,064,286
                         Construction & field expenses                              20% of purchased equip cost (B)                                   3,064,286
                         Constractor fees                                           10% of purchased equip cost (B)                                   1,532,143
                         Start-up                                                    1% of purchased equip cost (B)                                     153,214
                         Performance Test                                            1% of purchased equip cost (B)
                         Model Study                                                 2% of purchased equip cost (B)                                     306,429
                         Contingencies                                               3% of purchased equip cost (B)                                     459,643
                    Total Indirect Capital Costs                                    57%                                                               8,580,000
                   Total Capital Investment (TCI) = DC + IC                                                                                          34,166,786



                   OPERATING COSTS
                     Direct Operating Costs
                         Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                         Supervisor                                                 15% of operator costs                                                3,752
                         Coordinator                                                33% of operator costs                                                8,254
                        Operating materials
                         Maintenance Labor                                        0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                   136,032
                         Maintenance Materials                                       1% of purchased equipment costs                                   153,214
                         Utilities
                               Electricity                                          0.05 $/kW-hr, 617.2 kW-hr, 8760 hr/yr, 90.0% of capacity           228,313
                               Water                                                 NA                                                                      -
                               Solid Waste Disposal                                25.38 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr                               2,048
                               Wastewater Treatment                                  NA                                                                      -

                     Total Annual Direct Operating Costs, DC                                                                                           556,626

                     Indirect Operating Costs
                          Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                  190,806
                         Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    683,336
                         Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    341,668
                         Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    341,668
                         Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate          3,225,103
                     Total Indirect Operating Costs                                                                                                   4,782,581

                   Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                       5,339,207
                   Pollutant Removed (tons/yr)B                                                                                                           89.7
                   Cost per ton of PM Removed                                                                                                           59,542




Boiler Dry ESP.xlsDry ESP Hi(e)-Hi(c)                                                                                                                             Page 7 of 8
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                                                                                           BART ANALYSIS 2004
                                                                                    DRY ELECTROSTATIC PRECIPITATOR
                               Capital Recovery Factors
                               Primary Installation
                               Interest Rate                                      7.0%
                               Equipment Life                                        20 years
                               CRF                                              0.0944

                               Catalyst Replacement Cost
                               Catalyst Life                                         2 years
                               CRF                                              0.5531
                               Catalyst cost per unit                                650 $/ft3
                               Amount Required                                           0 ft3
                               Catalyst Cost                                             0 Cost adjusted for freight & sales tax
                               Installation Labor                                        0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                               Total Installed Cost                                      0
                               Annualized Cost                                           0

                               Replacement Parts & Equipment
                               Equipment Life                                        2
                               CRF                                              0.5531
                               Rep part cost per unit                            33.72 $ each
                               Amount Required                                       0 Number
                               Total Rep Parts Cost                                  0 Cost adjusted for freight & sales tax
                               Installation Labor                                    0 10 min per bag (13 hr total) Labor at $29.65/hr
                               Total Installed Cost                                  0
                               Annualized Cost                                       0

                               Total Cost Replacement Parts & Catalyst                                                 0

                               Design Flow                      264,000 dscfm                     300000 scfm
                                                                     450 Temp Deg F
                                                                    12% % Moisture
                                                                508,380 acfm

 Operating Cost Calculations                                                               Annual hours of operation: 8,760
                                                                                           Utilization Rate:           90.0%
                                        Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                                   Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                        25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                        NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                      80,237 ft2 collector area                       9,408 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                          NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                     617 kW-hr               4,866,011        228,313 $/kW-hr, 617.2 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                      4.24 Mft3                              0 scfm                      0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                            0.22 Mgal                              0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                         0.27 Mscf                              0 Mscfm                     0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                               280 Ton                             0.0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                        300 Ton                               0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                     25.38 Ton                          0.010 ton/hr                    81          2,048 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 Haz W Disp                                        273 Ton                          0.000 ton/hr                     0              0 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 WW Treat                                           1.5 Mgal                             0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                          650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                       33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                            Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission               Unit of                          Flow         Unit of Control Eff.          Emis Rate
         Factor              Measure                           Rate        Measure      %                   T/yr     Comments/Notes
                    0.04 lb/Mmbtu                                     650 MMBTU/HR     NA                         90
 Controlled Emission Rate
           Perf                      Unit of                   Flow         Unit of        Control Eff.   Emis Rate
       Guarantee                     Measure                   Rate         Measure            %            T/yr      Comments/Notes
                                                                                             99.99%              0.0 Currently assumes 99.99%.
 Emission Reduction T/yr                                                                                         89.7

                               Electrical Consumption Requirements Kilowatts
                                                            Flow acfm       D P in H2O             Blower Eff                kW
                               Blower                       508,380             5                     0.65                  457.5      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                            Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                               Pump 1                         NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                               Pump 2                         NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                            Area sqft       TR pwr          # Hoppers      Htr Pwr
                               ESP                           80,237          155.7              2              4            159.7      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                      48503 ft2
 Flow #1                                     159588 acfm
 Flow #2                                   264,000 acfm
 Area #2                                    80236.6 ft2



Boiler Dry ESP.xlsDry ESP Hi(e)-Hi(c)                                                                                                                                                                Page 8 of 8
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                                                            BART ANALYSIS 2004
                                                              FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                           597,758
     Instrumentation                                            10% of control device cost (A)                                  59,776
     IN Sales Taxes                                              6% of control device cost (A)                                  35,866
     Freight                                                     5% of control device cost (A)                                  29,888

    Purchased Equipment Total (B)                               21%                                                            723,288
    Direct installation costs
      Foundations & supports                                     4% of purchased equip cost (B)                                 28,932
      Handling & erection                                       50% of purchased equip cost (B)                                361,644
      Electrical                                                 8% of purchased equip cost (B)                                 57,863
      Piping                                                     1% of purchased equip cost (B)                                  7,233
      Insulation for ductwork                                    7% of purchased equip cost (B)                                 50,630
      Painting                                                   4% of purchased equip cost (B)                                 28,932
    Installation Total                                          74%                                                            535,233
      Site Preparation, as required                                 Site Specific                                             NA
      Buildings, as required                                        Site Specific                                             NA

 Total Direct Capital Cost                                                                                                    1,258,521

 Indirect Capital Costs
      Engineering                                                10% of purchased equip cost (B)                                 72,329
      Construction and field expense                             20% of purchased equip cost (B)                                144,658
      Contractor fees                                            10% of purchased equip cost (B)                                 72,329
      Startup                                                     1% of purchased equip cost (B)                                  7,233
      Performance test                                            1% of purchased equip cost (B)                                  7,233
      Contingencies                                               3% of purchased equip cost (B)                                 21,699
 Total Indirect Capital Costs                                    45%                                                            325,479
Total Capital Investment (TCI) = DC + IC                                                                                      1,584,000


OPERATING COSTS                                                                                                                           Operating Cost Calculatio
 Direct Operating Costs
     Operating Labor                                           25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity     50,025
     Supervisor                                                 15% of operator labor costs                                      7,504    Item
     Maintenance Labor                                         17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity     17,509    Op Labor
     Maintenance Materials                                     100% of maintenance labor costs                                  17,509    Supervisor
     Replacement parts, bags                                                                                                   344,907    Maint Labor
     Utilities                                                                                                                            Maint Mtls
          Electricity                                            0.05 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity   1,789,068   Utilities, Reagents, Waste
          Compressed Air                                         0.27 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity      131,839   Electricity
           Solid Waste Disposal                                 25.38 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr                          1,946    Natural Gas
                                                                                                                                          Water
 Total Annual Direct Operating Costs (DC)                                                                                     2,360,307   Comp Air
                                                                                                                                          Reagent #1(Caustic)
 Indirect Operating Costs                                                                                                                 Reagent #2
     Overhead                                                   60% of oper, maint & supv labor + maint mtl costs               55,528    SW Disposal
     Administration (2% total capital costs)                     2% of total capital costs (TCI)                                31,680    Haz W Disp
     Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                15,840    WW Treat
     Insurance (1% total capital costs)                           1% of total capital costs (TCI)                               15,840    Catalyst
     Capital Recovery                                             9% for a 20- year equipment life and a 7% interest rate      149,518    Rep Parts
 Total Indirect Operating Costs                                      Sum indirect oper costs + capital recovery cost           268,407

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  2,628,714   Uncontrolled Emission R
Pollutant Removed (tons/yr)                                                                                                          85          Emission
Cost per ton of PM Removed                                                                                                       30,855            Factor
                                                                                                                                                             0.04
                                                                                                                                          Controlled Emission Rate
                                                                                                                                                    Perf
                                                                                                                                                Guarantee

                                                                                                                                          Emission Reduction T/yr

                                                                                                                                          Electrical Consumption Re

                                                                                                                                          Blower



        Boiler FF.xlsBaghouseLo(e)Lo(c)                                                                                                            Page 1 of 8
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                                                            BART ANALYSIS 2004
                                                              FABRIC FILTER
 Capital Recovery Factors
 Primary Installation
 Interest Rate                          7.0%
 Equipment Life                            20 years
 CRF                                  0.0944

 Catalyst Replacement Cost
 Catalyst Life                             2 years
 CRF                                  0.5531
                                                   3
 Catalyst cost per unit                  650 $/ft
                                               3
 Amount Required                            0 ft
 Catalyst Cost                              0 Cost adjusted for freight & sales tax
 Installation Labor                         0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
 Total Installed Cost                       0
 Annualized Cost                            0

 Replacement Parts & Equipment
 Equipment Life                    2 years
 CRF                         0.5531
 Rep part cost per unit        35.53 $ each
 Amount Required         8134.07821 Number
 Total Rep Parts Cost       320,821 Cost adjusted for freight & sales tax
 Installation Labor          24,086 10 min per bag (13 hr total) Labor at $29.65/hr
 Total Installed Cost       344,907
 Annualized Cost            190,765

 Total Cost Replacement Parts (Bags)                                   344,907

 Design Flow        264,000 dscfm                      300000 scfm
                         450 Temp Deg F
                        12% % Moisture
                    508,380 acfm

ions                                          Annual hours of operation:     8,760
                                              Utilization Rate:              90.0%
    Unit       Unit of     Use                     Unit of       Annual         Annual    Comments
    Cost $     Measure    Rate                    Measure         Use*           Cost
        25.38 Hr                            2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           NA                                                            NA           NA Calc'd as % of labor costs
        17.77 Hr                            1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           NA                                                            NA           NA Calc'd as % of labor costs
e Management & Replacements
        0.047 kW-hr           4836 kW-hr                             38,130,185       1,789,068 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity
            4.24 Mft3                      0 scfm                            0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
            0.22 Mgal                      0 gpm                             0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
            0.27 Mscf                1016.76 Mscfm                     480,968         131,839 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity
             300 Ton                       0 lb-mole/hr                      0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
             300 Ton                       0 lb-mole/hr                      0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
           25.38 Ton                   0.010 ton/hr                         77           1,946 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
             273 Ton                   0.000 ton/hr                          0               0 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
             1.5 Mgal                      0 gpm                             0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
            650 ft3                        0 ft3                  2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    35.53299492 bag               8134.07821 bags                 2 yr life            190,765 $/bag, 8,134.1 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                              *annual use rate is in same units of measurement as the unit cost factor
                                                       Emission Control Rate Calculation
Rate
     Unit of         Flow    Unit of Control Eff.                Emis Rate
     Measure         Rate    Measure     %                         T/yr           Comments/Notes
  lb/MMBtu              650 MMBTU/HR    NA                                   90
te
     Unit of         Flow         Unit of      Control Eff.      Emis Rate
     Measure         Rate         Measure          %               T/yr      Comments/Notes
                                                    95.00%               4.5 Currently assumes 95%.
r                                                                         85

equirements Kilowatts
     Flow acfm    D P in H2O          Blower-Motor Eff              kW
       508,380          6                  0.65                    4836.4         OAQPS Cost Cont Manual 6th ed - Eq 1.14



Boiler FF.xlsBaghouseLo(e)Lo(c)                                                                                                                                Page 2 of 8
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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                7,471,980
            Instrumentation                                            10% of control device cost (A)                                        747,198
            IN Sales Taxes                                              6% of control device cost (A)                                        448,319
            Freight                                                     5% of control device cost (A)                                        373,599

            Purchased Equipment Total (B)                              21%                                                                 9,041,096
            Direct installation costs
              Foundations & supports                                    4% of purchased equip cost (B)                                       361,644
              Handling & erection                                      50% of purchased equip cost (B)                                     4,520,548
              Electrical                                                8% of purchased equip cost (B)                                       723,288
              Piping                                                    1% of purchased equip cost (B)                                        90,411
              Insulation for ductwork                                   7% of purchased equip cost (B)                                       632,877
              Painting                                                  4% of purchased equip cost (B)                                       361,644
            Installation Total                                         74%                                                                 6,690,411
              Site Preparation, as required                                Site Specific                                                   NA
              Buildings, as required                                       Site Specific                                                   NA

          Total Direct Capital Cost                                                                                                       15,731,507

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                       904,110
             Construction and field expense                            20% of purchased equip cost (B)                                     1,808,219
             Contractor fees                                           10% of purchased equip cost (B)                                       904,110
             Startup                                                    1% of purchased equip cost (B)                                        90,411
             Performance test                                           1% of purchased equip cost (B)                                        90,411
             Contingencies                                              3% of purchased equip cost (B)                                       271,233
        Total Indirect Capital Costs                                   45%                                                                 4,068,493
       Total Capital Investment (TCI) = DC + IC                                                                                           19,800,000


       OPERATING COSTS
          Direct Operating Costs
              Operating Labor                                         25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
              Supervisor                                               15% of operator labor costs                                            7,504
              Maintenance Labor                                       17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
              Maintenance Materials                                   100% of maintenance labor costs                                        17,509
              Replacement parts, bags                                                                                                       344,907
              Utilities
                   Electricity                                         0.05 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity          1,789,068
                   Compressed Air                                      0.27 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity             131,839
                    Solid Waste Disposal                              25.38 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr                                  1,946

          Total Annual Direct Operating Costs (DC)                                                                                         2,360,307

          Indirect Operating Costs
              Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                     55,528
              Administration (2% total capital costs)                   2% of total capital costs (TCI)                                     396,000
              Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                     198,000
              Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                      198,000
              Capital Recovery                                          9% for a 20- year equipment life and a 7% interest rate            1,868,980
          Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                 2,716,508

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        5,076,815
       Pollutant Removed (tons/yr)                                                                                                                85
       Cost per ton of PM Removed                                                                                                             59,589




Boiler FF.xlsBaghouseLo(e)Hi(c)                                                                                                                        Page 3 of 8
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                                                                                      BART ANALYSIS 2004
                                                                                        FABRIC FILTER
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                       7.0%
                              Equipment Life                         20 years
                              CRF                               0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                          2 years
                              CRF                               0.5531
                              Catalyst cost per unit               650 $/ft3
                                                                         3
                              Amount Required                         0 ft
                              Catalyst Cost                           0 Cost adjusted for freight & sales tax
                              Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                    0
                              Annualized Cost                         0

                              Replacement Parts & Equipment
                              Equipment Life                    2 years
                              CRF                         0.5531
                              Rep part cost per unit        35.53 $ each
                              Amount Required         8134.07821 Number
                              Total Rep Parts Cost       320,821 Cost adjusted for freight & sales tax
                              Installation Labor          24,086 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost       344,907
                              Annualized Cost            190,765

                              Total Cost Replacement Parts (Bags)                               344,907

                              Design Flow       264,000 dscfm                   300000 scfm
                                                     450 Temp Deg F
                                                    12% % Moisture
                                                508,380 acfm

Operating Cost Calculations                                             Annual hours of operation:     8,760
                                                                        Utilization Rate:              90.0%
                             Unit        Unit of    Use                      Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                     Measure         Use*           Cost
Op Labor                         25.38 Hr                             2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                             NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                             1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                             NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           4836 kW-hr                             38,130,185        1,789,068 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                    0 scfm                           0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.22 Mgal                    0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf              1016.76 Mscfm                    480,968          131,839 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      300 Ton                     0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                               300 Ton                     0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                            25.38 Ton                 0.010 ton/hr                        77            1,946 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
Haz W Disp                               273 Ton                 0.000 ton/hr                         0                0 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
WW Treat                                  1.5 Mgal                   0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                               650 ft3                       0 ft
                                                                         3
                                                                                           2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                      35.53299492 bag              8134.07821 bags                2 yr life            190,765 $/bag, 8,134.1 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission            Unit of               Flow    Unit of Control Eff.              Emis Rate
         Factor            Measure               Rate    Measure     %                       T/yr           Comments/Notes
                   0.04 lb/MMBtu                    650 MMBTU/HR    NA                                 90
Controlled Emission Rate
          Perf             Unit of               Flow       Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate       Measure          %               T/yr      Comments/Notes
                                                                              95.00%               4.5 Currently assumes 95%.
Emission Reduction T/yr                                                                            85

Electrical Consumption Requirements Kilowatts
                                 Flow acfm     D P in H2O       Blower-Motor Eff               kW
Blower                            508,380            6               0.65                     4836.4        OAQPS Cost Cont Manual 6th ed - Eq 1.14




            Boiler FF.xlsBaghouseLo(e)Hi(c)                                                                                                                                     Page 4 of 8
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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                 597,758
            Instrumentation                                            10% of control device cost (A)                                        59,776
            IN Sales Taxes                                              6% of control device cost (A)                                        35,866
            Freight                                                     5% of control device cost (A)                                        29,888

            Purchased Equipment Total (B)                              21%                                                                  723,288
            Direct installation costs
              Foundations & supports                                    4% of purchased equip cost (B)                                       28,932
              Handling & erection                                      50% of purchased equip cost (B)                                      361,644
              Electrical                                                8% of purchased equip cost (B)                                       57,863
              Piping                                                    1% of purchased equip cost (B)                                        7,233
              Insulation for ductwork                                   7% of purchased equip cost (B)                                       50,630
              Painting                                                  4% of purchased equip cost (B)                                       28,932
            Installation Total                                         74%                                                                  535,233
              Site Preparation, as required                                Site Specific                                                   NA
              Buildings, as required                                       Site Specific                                                   NA

          Total Direct Capital Cost                                                                                                        1,258,521

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                        72,329
             Construction and field expense                            20% of purchased equip cost (B)                                       144,658
             Contractor fees                                           10% of purchased equip cost (B)                                        72,329
             Startup                                                    1% of purchased equip cost (B)                                         7,233
             Performance test                                           1% of purchased equip cost (B)                                         7,233
             Contingencies                                              3% of purchased equip cost (B)                                        21,699
        Total Indirect Capital Costs                                   45%                                                                   325,479
       Total Capital Investment (TCI) = DC + IC                                                                                            1,584,000


       OPERATING COSTS
          Direct Operating Costs
              Operating Labor                                         25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
              Supervisor                                               15% of operator labor costs                                            7,504
              Maintenance Labor                                       17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
              Maintenance Materials                                   100% of maintenance labor costs                                        17,509
              Replacement parts, bags                                                                                                       344,907
              Utilities
                   Electricity                                         0.05 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity          1,789,068
                   Compressed Air                                      0.27 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity             131,839
                    Solid Waste Disposal                              25.38 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr                                 2,048

          Total Annual Direct Operating Costs (DC)                                                                                         2,360,409

          Indirect Operating Costs
              Overhead                                                 60% of oper, maint & supv labor + maint mtl costs                     55,528
              Administration (2% total capital costs)                   2% of total capital costs (TCI)                                      31,680
              Property tax (1% total capital costs)                     1% of total capital costs (TCI)                                      15,840
              Insurance (1% total capital costs)                        1% of total capital costs (TCI)                                      15,840
              Capital Recovery                                          9% for a 20- year equipment life and a 7% interest rate             149,518
          Total Indirect Operating Costs                                   Sum indirect oper costs + capital recovery cost                  268,407

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        2,628,816
       Pollutant Removed (tons/yr)                                                                                                                90
       Cost per ton of PM Removed                                                                                                             29,316




Boiler FF.xlsBaghouseHi(e)Lo(c)                                                                                                                        Page 5 of 8
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                                                                                      BART ANALYSIS 2004
                                                                                        FABRIC FILTER
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                       7.0%
                              Equipment Life                         20 years
                              CRF                               0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                          2 years
                              CRF                               0.5531
                              Catalyst cost per unit               650 $/ft3
                                                                         3
                              Amount Required                         0 ft
                              Catalyst Cost                           0 Cost adjusted for freight & sales tax
                              Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                    0
                              Annualized Cost                         0

                              Replacement Parts & Equipment
                              Equipment Life                    2 years
                              CRF                         0.5531
                              Rep part cost per unit        35.53 $ each
                              Amount Required         8134.07821 Number
                              Total Rep Parts Cost       320,821 Cost adjusted for freight & sales tax
                              Installation Labor          24,086 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost       344,907
                              Annualized Cost            190,765

                              Total Cost Replacement Parts (Bags)                               344,907

                              Design Flow       264,000 dscfm                   300000 scfm
                                                     450 Temp Deg F
                                                    12% % Moisture
                                                508,380 acfm

Operating Cost Calculations                                             Annual hours of operation:     8,760
                                                                        Utilization Rate:              90.0%
                             Unit        Unit of    Use                      Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                     Measure         Use*           Cost
Op Labor                         25.38 Hr                             2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                             NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                             1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                             NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           4836 kW-hr                             38,130,185        1,789,068 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                    0 scfm                           0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.22 Mgal                    0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf              1016.76 Mscfm                    480,968          131,839 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      300 Ton                     0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                               300 Ton                     0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                            25.38 Ton                 0.010 ton/hr                        81            2,048 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
Haz W Disp                               273 Ton                 0.000 ton/hr                         0                0 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
WW Treat                                  1.5 Mgal                   0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                               650 ft3                       0 ft
                                                                         3
                                                                                           2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                      35.53299492 bag              8134.07821 bags                2 yr life            190,765 $/bag, 8,134.1 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission            Unit of               Flow    Unit of Control Eff.              Emis Rate
         Factor            Measure               Rate    Measure     %                       T/yr           Comments/Notes
                   0.04 lb/MMBtu                    650 MMBTU/HR    NA                                 90
Controlled Emission Rate
          Perf             Unit of               Flow       Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate       Measure          %               T/yr      Comments/Notes
                                                                              99.99%               0.0 Currently assumes 95%.
Emission Reduction T/yr                                                                            90

Electrical Consumption Requirements Kilowatts
                                 Flow acfm     D P in H2O       Blower-Motor Eff               kW
Blower                            508,380            6               0.65                     4836.4        OAQPS Cost Cont Manual 6th ed - Eq 1.14




            Boiler FF.xlsBaghouseHi(e)Lo(c)                                                                                                                                     Page 6 of 8
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                                                                   BART ANALYSIS 2004
                                                                     FABRIC FILTER
        CAPITAL COSTS
         Direct Capital Costs
           Purchased Equipment (1)
             Fabric Filter (EC) + bags + auxillary equipment                                                                                7,471,980
             Instrumentation                                            10% of control device cost (A)                                        747,198
             IN Sales Taxes                                              6% of control device cost (A)                                        448,319
             Freight                                                     5% of control device cost (A)                                        373,599

            Purchased Equipment Total (B)                               21%                                                                 9,041,096
            Direct installation costs
              Foundations & supports                                     4% of purchased equip cost (B)                                       361,644
              Handling & erection                                       50% of purchased equip cost (B)                                     4,520,548
              Electrical                                                 8% of purchased equip cost (B)                                       723,288
              Piping                                                     1% of purchased equip cost (B)                                        90,411
              Insulation for ductwork                                    7% of purchased equip cost (B)                                       632,877
              Painting                                                   4% of purchased equip cost (B)                                       361,644
            Installation Total                                          74%                                                                 6,690,411
              Site Preparation, as required                                 Site Specific                                                   NA
              Buildings, as required                                        Site Specific                                                   NA

          Total Direct Capital Cost                                                                                                        15,731,507

         Indirect Capital Costs
              Engineering                                               10% of purchased equip cost (B)                                       904,110
              Construction and field expense                            20% of purchased equip cost (B)                                     1,808,219
              Contractor fees                                           10% of purchased equip cost (B)                                       904,110
              Startup                                                    1% of purchased equip cost (B)                                        90,411
              Performance test                                           1% of purchased equip cost (B)                                        90,411
              Contingencies                                              3% of purchased equip cost (B)                                       271,233
         Total Indirect Capital Costs                                   45%                                                                 4,068,493
        Total Capital Investment (TCI) = DC + IC                                                                                           19,800,000


        OPERATING COSTS
          Direct Operating Costs
              Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
              Supervisor                                                15% of operator labor costs                                            7,504
              Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
              Maintenance Materials                                    100% of maintenance labor costs                                        17,509
              Replacement parts, bags                                                                                                        344,907
              Utilities
                   Electricity                                          0.05 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity          1,789,068
                   Compressed Air                                       0.27 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity             131,839
                    Solid Waste Disposal                               25.38 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr                                  2,048

          Total Annual Direct Operating Costs (DC)                                                                                          2,360,409

          Indirect Operating Costs
              Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                     55,528
              Administration (2% total capital costs)                    2% of total capital costs (TCI)                                     396,000
              Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                     198,000
              Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                      198,000
              Capital Recovery                                           9% for a 20- year equipment life and a 7% interest rate            1,868,980
          Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                 2,716,508

        Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        5,076,918
        Pollutant Removed (tons/yr)                                                                                                                90
        Cost per ton of PM Removed                                                                                                             56,617




Boiler FF.xlsBaghouseHi(e)Hi(c)                                                                                                                         Page 7 of 8
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                                                                                      BART ANALYSIS 2004
                                                                                        FABRIC FILTER
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                       7.0%
                              Equipment Life                         20 years
                              CRF                               0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                          2 years
                              CRF                               0.5531
                              Catalyst cost per unit               650 $/ft3
                                                                         3
                              Amount Required                         0 ft
                              Catalyst Cost                           0 Cost adjusted for freight & sales tax
                              Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                    0
                              Annualized Cost                         0

                              Replacement Parts & Equipment
                              Equipment Life                    2 years
                              CRF                         0.5531
                              Rep part cost per unit        35.53 $ each
                              Amount Required         8134.07821 Number
                              Total Rep Parts Cost       320,821 Cost adjusted for freight & sales tax
                              Installation Labor          24,086 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost       344,907
                              Annualized Cost            190,765

                              Total Cost Replacement Parts (Bags)                               344,907

                              Design Flow       264,000 dscfm                   300000 scfm
                                                     450 Temp Deg F
                                                    12% % Moisture
                                                508,380 acfm

Operating Cost Calculations                                             Annual hours of operation:     8,760
                                                                        Utilization Rate:              90.0%
                             Unit        Unit of    Use                      Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                     Measure         Use*           Cost
Op Labor                         25.38 Hr                             2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                             NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                             1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                             NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           4836 kW-hr                             38,130,185        1,789,068 $/kW-hr, 4,836.4 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                              4.24 Mft3                   0 scfm                           0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                    0.22 Mgal                   0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                 0.27 Mscf             1016.76 Mscfm                    480,968          131,839 $/Mscf, 1,016.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                       300 Ton                    0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                                300 Ton                    0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                             25.38 Ton                0.010 ton/hr                        81            2,048 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
Haz W Disp                                273 Ton                0.000 ton/hr                         0                0 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
WW Treat                                   1.5 Mgal                  0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                                650 ft3                      0 ft
                                                                         3
                                                                                           2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                       35.53299492 bag             8134.07821 bags                2 yr life            190,765 $/bag, 8,134.1 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission            Unit of               Flow    Unit of Control Eff.              Emis Rate
         Factor            Measure               Rate    Measure     %                       T/yr           Comments/Notes
                   0.04 lb/MMBtu                    650 MMBTU/HR    NA                                 90
Controlled Emission Rate
          Perf             Unit of               Flow       Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate       Measure          %               T/yr      Comments/Notes
                                                                              99.99%               0.0 Currently assumes 95%.
Emission Reduction T/yr                                                                            90

Electrical Consumption Requirements Kilowatts
                                 Flow acfm     D P in H2O       Blower-Motor Eff               kW
Blower                            508,380             6              0.65                     4836.4        OAQPS Cost Cont Manual 6th ed - Eq 1.14




            Boiler FF.xlsBaghouseHi(e)Hi(c)                                                                                                                                     Page 8 of 8
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                                                                                    BART ANALYSIS 2004
                                                                             WET ELECTROSTATIC PRECIPITATOR
              CAPITAL COSTS
               Direct Capital Costs
                 Purchased Equipment (1)
                   ESP + auxillary equipment                                                                                                               2,045,455
                   Instrumentation                                               10% of control device cost (A)                                              204,545
                   IN Sales Taxes                                                 6% of control device cost (A)                                              122,727
                   Freight                                                        5% of control device cost (A)                                              102,273
                 Purchased Equipment Total (B)                                   21%                                                                       2,475,000

                  Direct Installation Costs
                    Foundations & supports                                        4% of purchased equip cost (B)                                              99,000
                    Handling & erection                                          50% of purchased equip cost (B)                                           1,237,500
                    Electrical                                                    8% of purchased equip cost (B)                                             198,000
                    Piping                                                        1% of purchased equip cost (B)                                              24,750
                    Insulation for ductwork                                       2% of purchased equip cost (B)                                              49,500
                    Painting                                                      2% of purchased equip cost (B)                                              49,500
                  Direct Installation Costs                                                                                                                1,658,250
                    Site Preparation, as required                                      Site Specific                                                      NA
                    Buildings, as required                                             Site Specific                                                      NA

                Total Direct Capital Costs, DC                                   67%                                                                       4,133,250

               Indirect Capital Costs
                    Engineering                                                  20% of purchased equip cost (B)                                             495,000
                    Construction & field expenses                                20% of purchased equip cost (B)                                             495,000
                    Constractor fees                                             10% of purchased equip cost (B)                                             247,500
                    Start-up                                                      1% of purchased equip cost (B)                                              24,750
                    Performance Test                                              1% of purchased equip cost (B)
                    Model Study                                                   2% of purchased equip cost (B)                                              49,500
                    Contingencies                                                 3% of purchased equip cost (B)                                              74,250
               Total Indirect Capital Costs                                      57%                                                                       1,386,000
              Total Capital Investment (TCI) = DC + IC                                                                                                     5,519,250



              OPERATING COSTS
                Direct Operating Costs
                    Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                  25,013
                    Supervisor                                                   15% of operator costs                                                         3,752
                    Coordinator                                                  33% of operator costs                                                         8,254
                  Operating materials
                   Maintenance Labor                                           0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                             38,572
                   Maintenance Materials                                          1% of purchased equipment costs                                             24,750
                   Utilities
                        Electricity                                              0.05 $/kW-hr, 833.0 kW-hr, 8760 hr/yr, 90.0% of capacity                    308,130
                        Water                                                    0.22 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity                     483,410
                        Solid Waste Disposal                                      NA                                                                               -
                        Wastewater Treatment                                     1.52 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity                   3,295,974
                        Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
                Total Annual Direct Operating Costs, DC                                                                                                    4,187,854

                Indirect Operating Costs
                     Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                            55,252
                    Administration (2% total capital costs)                       2% of total capital costs (TCI)                                            110,385
                    Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                             55,193
                    Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                             55,193
                    Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                    520,978
                Total Indirect Operating Costs                                                                                                               797,000

              Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 4,984,855
              Pollutant Removed (tons/yr)                                                                                                                       80.7
              Cost per ton of PM Removed                                                                                                                      61,761




Boiler Wet ESP.xls WESP Lo(e)-Lo(c)                                                                                                                                    Page 1 of 8
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                                                                                                 BART ANALYSIS 2004
                                                                                          WET ELECTROSTATIC PRECIPITATOR
                                      Capital Recovery Factors
                                      Primary Installation
                                      Interest Rate                                    7.0%
                                      Equipment Life                                      20 years
                                      CRF                                            0.0944

                                      Catalyst Replacement Cost
                                      Catalyst Life                                       2 years
                                      CRF                                            0.5531
                                      Catalyst cost per unit                             650 $/ft3
                                      Amount Required                                        0 ft3
                                      Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                      Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                      Total Installed Cost                                   0
                                      Annualized Cost                                        0

                                      Replacement Parts & Equipment
                                      Equipment Life                                      2
                                      CRF                                            0.5531
                                      Rep part cost per unit                          33.72 $ each
                                      Amount Required                                     0 Number
                                      Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                      Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                      Total Installed Cost                                0
                                      Annualized Cost                                     0

                                      Total Cost Replacement Parts & Catalyst                                              0

                                      Design Flow                   264,000 dscfm                     300000 scfm
                                                                         450 Temp Deg F
                                                                        12% % Moisture
                                                                    508,380 acfm

     Operating Cost Calculations                                                               Annual hours of operation: 8,760
                                                                                               Utilization Rate:           90.0%
                                            Unit                Unit of           Use             Unit of        Annual       Annual    Comments
     Item                                   Cost $              Measure           Rate           Measure          Use*         Cost
     Op Labor                                        25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
     Supervisor                                        NA                                                              NA           NA Calc'd as % of labor costs
     Maint Labor                            0.12 $/ft2 collector                   154,510 ft2 collector area                       18,118 $/ft2 collector area; $5775 if < 50,000 ft 2
     Maint Mtls                              NA                                                                         NA             1% of purchased equipment costs
     Utilities, Reagents, Waste Management & Replacements
     Electricity                           0.047 kW-hr                                   833 kW-hr               6,567,135        308,130 $/kW-hr, 833.0 kW-hr, 8760 hr/yr, 90.0% of capacity
     Natural Gas                                      4.24 Mft3                             0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
     Water                                            0.22 Mgal                         4575 gpm                 2,164,356         483,410 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity
     Comp Air                                         0.27 Mscf                             0 Mscfm                      0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
     Reagent #1(Caustic)                              280 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     Reagent #2                                       300 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     SW Disposal                                        25 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
     Haz W Disp                                       273 Ton                           0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
     WW Treat                                         1.52 Mgal                         4575 gpm                 2,164,356       3,295,974 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity

     Catalyst                                          650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
     Rep Parts                                       33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                           *annual use rate is in same units of measurement as the unit cost factor
                                                                                                Emission Control Rate Calculation
     Uncontrolled Emission Rate
             Emission               Unit of                        Flow         Unit of Control Eff.           Emis Rate
               Factor               Measure                        Rate        Measure      %                    T/yr     Comments/Notes
                          0.04 lbs/Mmbtu                                  650 MMBTU/HR     NA                       89.68
     Controlled Emission Rate
                Perf                Unit of                        Flow         Unit of        Control Eff.    Emis Rate
             Guarantee              Measure                        Rate         Measure            %             T/yr      Comments/Notes
                                                                                                  90%                 9.0 Currently assumes 90%.
     Emission Reduction T/yr                                                                                          80.7

                                      Electrical Consumption Requirements Kilowatts
                                                                Flow acfm       D P in H2O         Blower-Motor Eff               kW
                                      Blower                    508,380             5                     0.65                   457.5      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                                Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                      Pump 1                     4575             60               0.8           0.9             71.7       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                      Pump 2                       0              60               0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                                Area sqft       TR pwr          # Hoppers      Htr Pwr
                                      ESP                       154,510          299.7              2             4              303.7      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

     Caustic Use                                     20.48 lb/hr SO2                     2.50 lb NaOH/lb SO2                         0.026 T/hr Caustic
     Lime Use                                        20.48 lb/hr SO2                     1.53 lb Lime/lb SO2                         0.016 T/hr Lime


     Estimate Area (ft2)
     Area #1                                      48503 ft2
     Flow #1                                     159588 acfm
     Flow #2                                   508,380 acfm
     Area #2                                   154510.0 ft2




Boiler Wet ESP.xls WESP Lo(e)-Lo(c)                                                                                                                                                                       Page 2 of 8
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                                                                                    BART ANALYSIS 2004
                                                                             WET ELECTROSTATIC PRECIPITATOR
              CAPITAL COSTS
               Direct Capital Costs
                 Purchased Equipment (1)
                   ESP + auxillary equipment                                                                                                              19,870,130
                   Instrumentation                                               10% of control device cost (A)                                            1,987,013
                   IN Sales Taxes                                                 6% of control device cost (A)                                            1,192,208
                   Freight                                                        5% of control device cost (A)                                              993,506
                 Purchased Equipment Total (B)                                   21%                                                                      24,042,857

                  Direct Installation Costs
                    Foundations & supports                                        4% of purchased equip cost (B)                                              961,714
                    Handling & erection                                          50% of purchased equip cost (B)                                           12,021,429
                    Electrical                                                    8% of purchased equip cost (B)                                            1,923,429
                    Piping                                                        1% of purchased equip cost (B)                                              240,429
                    Insulation for ductwork                                       2% of purchased equip cost (B)                                              480,857
                    Painting                                                      2% of purchased equip cost (B)                                              480,857
                  Direct Installation Costs                                                                                                                16,108,714
                    Site Preparation, as required                                      Site Specific                                                      NA
                    Buildings, as required                                             Site Specific                                                      NA

                Total Direct Capital Costs, DC                                   67%                                                                      40,151,571

               Indirect Capital Costs
                    Engineering                                                  20% of purchased equip cost (B)                                            4,808,571
                    Construction & field expenses                                20% of purchased equip cost (B)                                            4,808,571
                    Constractor fees                                             10% of purchased equip cost (B)                                            2,404,286
                    Start-up                                                      1% of purchased equip cost (B)                                              240,429
                    Performance Test                                              1% of purchased equip cost (B)
                    Model Study                                                   2% of purchased equip cost (B)                                             480,857
                    Contingencies                                                 3% of purchased equip cost (B)                                             721,286
               Total Indirect Capital Costs                                      57%                                                                      13,464,000
              Total Capital Investment (TCI) = DC + IC                                                                                                    53,615,571



              OPERATING COSTS
                Direct Operating Costs
                    Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                  25,013
                    Supervisor                                                   15% of operator costs                                                         3,752
                    Coordinator                                                  33% of operator costs                                                         8,254
                  Operating materials
                   Maintenance Labor                                           0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                            216,819
                   Maintenance Materials                                          1% of purchased equipment costs                                            240,429
                   Utilities
                        Electricity                                              0.05 $/kW-hr, 833.0 kW-hr, 8760 hr/yr, 90.0% of capacity                     308,130
                        Water                                                    0.22 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity                      483,410
                        Solid Waste Disposal                                      NA                                                                                -
                        Wastewater Treatment                                     1.52 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity                    3,295,974
                        Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                  -
                Total Annual Direct Operating Costs, DC                                                                                                     4,581,780

                Indirect Operating Costs
                     Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                           291,607
                    Administration (2% total capital costs)                       2% of total capital costs (TCI)                                           1,072,311
                    Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                             536,156
                    Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                             536,156
                    Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                   5,060,931
                Total Indirect Operating Costs                                                                                                              7,497,161

              Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                12,078,941
              Pollutant Removed (tons/yr)                                                                                                                       80.7
              Cost per ton of PM Removed                                                                                                                     149,654




Boiler Wet ESP.xls WESP Lo(e)-Hi(c)                                                                                                                                     Page 3 of 8
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                                                                                                 BART ANALYSIS 2004
                                                                                          WET ELECTROSTATIC PRECIPITATOR
                                      Capital Recovery Factors
                                      Primary Installation
                                      Interest Rate                                    7.0%
                                      Equipment Life                                      20 years
                                      CRF                                            0.0944

                                      Catalyst Replacement Cost
                                      Catalyst Life                                       2 years
                                      CRF                                            0.5531
                                      Catalyst cost per unit                             650 $/ft3
                                      Amount Required                                        0 ft3
                                      Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                      Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                      Total Installed Cost                                   0
                                      Annualized Cost                                        0

                                      Replacement Parts & Equipment
                                      Equipment Life                                      2
                                      CRF                                            0.5531
                                      Rep part cost per unit                          33.72 $ each
                                      Amount Required                                     0 Number
                                      Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                      Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                      Total Installed Cost                                0
                                      Annualized Cost                                     0

                                      Total Cost Replacement Parts & Catalyst                                              0

                                      Design Flow                   264,000 dscfm                     300000 scfm
                                                                         450 Temp Deg F
                                                                        12% % Moisture
                                                                    508,380 acfm

     Operating Cost Calculations                                                               Annual hours of operation: 8,760
                                                                                               Utilization Rate:           90.0%
                                            Unit                Unit of           Use             Unit of        Annual       Annual    Comments
     Item                                   Cost $              Measure           Rate           Measure          Use*         Cost
     Op Labor                                        25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
     Supervisor                                        NA                                                              NA           NA Calc'd as % of labor costs
     Maint Labor                            0.12 $/ft2 collector                   154,510 ft2 collector area                       18,118 $/ft2 collector area; $5775 if < 50,000 ft 2
     Maint Mtls                              NA                                                                         NA             1% of purchased equipment costs
     Utilities, Reagents, Waste Management & Replacements
     Electricity                           0.047 kW-hr                                   833 kW-hr               6,567,135        308,130 $/kW-hr, 833.0 kW-hr, 8760 hr/yr, 90.0% of capacity
     Natural Gas                                      4.24 Mft3                             0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
     Water                                            0.22 Mgal                         4575 gpm                 2,164,356         483,410 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity
     Comp Air                                         0.27 Mscf                             0 Mscfm                      0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
     Reagent #1(Caustic)                              280 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     Reagent #2                                       300 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     SW Disposal                                        25 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
     Haz W Disp                                       273 Ton                           0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
     WW Treat                                         1.52 Mgal                         4575 gpm                 2,164,356       3,295,974 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity

     Catalyst                                          650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
     Rep Parts                                       33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                           *annual use rate is in same units of measurement as the unit cost factor
                                                                                                Emission Control Rate Calculation
     Uncontrolled Emission Rate
             Emission               Unit of                        Flow         Unit of Control Eff.           Emis Rate
               Factor               Measure                        Rate        Measure      %                    T/yr     Comments/Notes
                          0.04 lbs/Mmbtu                                  650 MMBTU/HR     NA                       89.68
     Controlled Emission Rate
                Perf                Unit of                        Flow         Unit of        Control Eff.    Emis Rate
             Guarantee              Measure                        Rate         Measure            %             T/yr      Comments/Notes
                                                                                                  90%                 9.0 Currently assumes 90%.
     Emission Reduction T/yr                                                                                          80.7

                                      Electrical Consumption Requirements Kilowatts
                                                                Flow acfm       D P in H2O         Blower-Motor Eff               kW
                                      Blower                    508,380             5                     0.65                   457.5      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                                Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                      Pump 1                     4575             60               0.8           0.9             71.7       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                      Pump 2                       0              60               0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                                Area sqft       TR pwr          # Hoppers      Htr Pwr
                                      ESP                       154,510          299.7              2             4              303.7      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

     Caustic Use                                     20.48 lb/hr SO2                     2.50 lb NaOH/lb SO2                         0.026 T/hr Caustic
     Lime Use                                        20.48 lb/hr SO2                     1.53 lb Lime/lb SO2                         0.016 T/hr Lime


     Estimate Area (ft2)
     Area #1                                      48503 ft2
     Flow #1                                     159588 acfm
     Flow #2                                   508,380 acfm
     Area #2                                   154510.0 ft2




Boiler Wet ESP.xls WESP Lo(e)-Hi(c)                                                                                                                                                                       Page 4 of 8
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                                                                                    BART ANALYSIS 2004
                                                                             WET ELECTROSTATIC PRECIPITATOR
              CAPITAL COSTS
               Direct Capital Costs
                 Purchased Equipment (1)
                   ESP + auxillary equipment                                                                                                               2,045,455
                   Instrumentation                                               10% of control device cost (A)                                              204,545
                   IN Sales Taxes                                                 6% of control device cost (A)                                              122,727
                   Freight                                                        5% of control device cost (A)                                              102,273
                 Purchased Equipment Total (B)                                   21%                                                                       2,475,000

                  Direct Installation Costs
                    Foundations & supports                                        4% of purchased equip cost (B)                                              99,000
                    Handling & erection                                          50% of purchased equip cost (B)                                           1,237,500
                    Electrical                                                    8% of purchased equip cost (B)                                             198,000
                    Piping                                                        1% of purchased equip cost (B)                                              24,750
                    Insulation for ductwork                                       2% of purchased equip cost (B)                                              49,500
                    Painting                                                      2% of purchased equip cost (B)                                              49,500
                  Direct Installation Costs                                                                                                                1,658,250
                    Site Preparation, as required                                      Site Specific                                                      NA
                    Buildings, as required                                             Site Specific                                                      NA

                Total Direct Capital Costs, DC                                   67%                                                                       4,133,250

               Indirect Capital Costs
                    Engineering                                                  20% of purchased equip cost (B)                                             495,000
                    Construction & field expenses                                20% of purchased equip cost (B)                                             495,000
                    Constractor fees                                             10% of purchased equip cost (B)                                             247,500
                    Start-up                                                      1% of purchased equip cost (B)                                              24,750
                    Performance Test                                              1% of purchased equip cost (B)
                    Model Study                                                   2% of purchased equip cost (B)                                              49,500
                    Contingencies                                                 3% of purchased equip cost (B)                                              74,250
               Total Indirect Capital Costs                                      57%                                                                       1,386,000
              Total Capital Investment (TCI) = DC + IC                                                                                                     5,519,250



              OPERATING COSTS
                Direct Operating Costs
                    Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                  25,013
                    Supervisor                                                   15% of operator costs                                                         3,752
                    Coordinator                                                  33% of operator costs                                                         8,254
                  Operating materials
                   Maintenance Labor                                           0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                             38,572
                   Maintenance Materials                                          1% of purchased equipment costs                                             24,750
                   Utilities
                        Electricity                                              0.05 $/kW-hr, 833.0 kW-hr, 8760 hr/yr, 90.0% of capacity                    308,130
                        Water                                                    0.22 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity                     483,410
                        Solid Waste Disposal                                      NA                                                                               -
                        Wastewater Treatment                                     1.52 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity                   3,295,974
                        Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
                Total Annual Direct Operating Costs, DC                                                                                                    4,187,854

                Indirect Operating Costs
                     Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                            55,252
                    Administration (2% total capital costs)                       2% of total capital costs (TCI)                                            110,385
                    Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                             55,193
                    Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                             55,193
                    Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                    520,978
                Total Indirect Operating Costs                                                                                                               797,000

              Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 4,984,855
              Pollutant Removed (tons/yr)                                                                                                                       89.7
              Cost per ton of PM Removed                                                                                                                      55,590




Boiler Wet ESP.xls WESP Hi(e)-Lo(c)                                                                                                                                    Page 5 of 8
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                                                                                                 BART ANALYSIS 2004
                                                                                          WET ELECTROSTATIC PRECIPITATOR
                                      Capital Recovery Factors
                                      Primary Installation
                                      Interest Rate                                    7.0%
                                      Equipment Life                                      20 years
                                      CRF                                            0.0944

                                      Catalyst Replacement Cost
                                      Catalyst Life                                       2 years
                                      CRF                                            0.5531
                                      Catalyst cost per unit                             650 $/ft3
                                      Amount Required                                        0 ft3
                                      Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                      Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                      Total Installed Cost                                   0
                                      Annualized Cost                                        0

                                      Replacement Parts & Equipment
                                      Equipment Life                                      2
                                      CRF                                            0.5531
                                      Rep part cost per unit                          33.72 $ each
                                      Amount Required                                     0 Number
                                      Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                      Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                      Total Installed Cost                                0
                                      Annualized Cost                                     0

                                      Total Cost Replacement Parts & Catalyst                                              0

                                      Design Flow                   264,000 dscfm                     300000 scfm
                                                                         450 Temp Deg F
                                                                        12% % Moisture
                                                                    508,380 acfm

     Operating Cost Calculations                                                               Annual hours of operation: 8,760
                                                                                               Utilization Rate:           90.0%
                                            Unit                Unit of           Use             Unit of        Annual       Annual    Comments
     Item                                   Cost $              Measure           Rate           Measure          Use*         Cost
     Op Labor                                        25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
     Supervisor                                        NA                                                              NA           NA Calc'd as % of labor costs
     Maint Labor                            0.12 $/ft2 collector                   154,510 ft2 collector area                       18,118 $/ft2 collector area; $5775 if < 50,000 ft 2
     Maint Mtls                              NA                                                                         NA             1% of purchased equipment costs
     Utilities, Reagents, Waste Management & Replacements
     Electricity                           0.047 kW-hr                                   833 kW-hr               6,567,135        308,130 $/kW-hr, 833.0 kW-hr, 8760 hr/yr, 90.0% of capacity
     Natural Gas                                      4.24 Mft3                             0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
     Water                                            0.22 Mgal                         4575 gpm                 2,164,356         483,410 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity
     Comp Air                                         0.27 Mscf                             0 Mscfm                      0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
     Reagent #1(Caustic)                              280 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     Reagent #2                                       300 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     SW Disposal                                        25 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
     Haz W Disp                                       273 Ton                           0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
     WW Treat                                         1.52 Mgal                         4575 gpm                 2,164,356       3,295,974 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity

     Catalyst                                          650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
     Rep Parts                                       33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                           *annual use rate is in same units of measurement as the unit cost factor
                                                                                                Emission Control Rate Calculation
     Uncontrolled Emission Rate
             Emission               Unit of                        Flow         Unit of Control Eff.           Emis Rate
               Factor               Measure                        Rate        Measure      %                    T/yr     Comments/Notes
                          0.04 lbs/Mmbtu                                  650 MMBTU/HR     NA                       89.68
     Controlled Emission Rate
                Perf                Unit of                        Flow         Unit of        Control Eff.    Emis Rate
             Guarantee              Measure                        Rate         Measure            %             T/yr      Comments/Notes
                                                                                                 99.99%               0.0 Currently assumes 99.99%.
     Emission Reduction T/yr                                                                                          89.7

                                      Electrical Consumption Requirements Kilowatts
                                                                Flow acfm       D P in H2O         Blower-Motor Eff               kW
                                      Blower                    508,380             5                     0.65                   457.5      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                                Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                      Pump 1                     4575             60               0.8           0.9             71.7       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                      Pump 2                       0              60               0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                                Area sqft       TR pwr          # Hoppers      Htr Pwr
                                      ESP                       154,510          299.7              2             4              303.7      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

     Caustic Use                                     20.48 lb/hr SO2                     2.50 lb NaOH/lb SO2                         0.026 T/hr Caustic
     Lime Use                                        20.48 lb/hr SO2                     1.53 lb Lime/lb SO2                         0.016 T/hr Lime


     Estimate Area (ft2)
     Area #1                                      48503 ft2
     Flow #1                                     159588 acfm
     Flow #2                                   508,380 acfm
     Area #2                                   154510.0 ft2




Boiler Wet ESP.xls WESP Hi(e)-Lo(c)                                                                                                                                                                       Page 6 of 8
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                                                                                    BART ANALYSIS 2004
                                                                             WET ELECTROSTATIC PRECIPITATOR
              CAPITAL COSTS
               Direct Capital Costs
                 Purchased Equipment (1)
                   ESP + auxillary equipment                                                                                                              19,870,130
                   Instrumentation                                               10% of control device cost (A)                                            1,987,013
                   IN Sales Taxes                                                 6% of control device cost (A)                                            1,192,208
                   Freight                                                        5% of control device cost (A)                                              993,506
                 Purchased Equipment Total (B)                                   21%                                                                      24,042,857

                  Direct Installation Costs
                    Foundations & supports                                        4% of purchased equip cost (B)                                              961,714
                    Handling & erection                                          50% of purchased equip cost (B)                                           12,021,429
                    Electrical                                                    8% of purchased equip cost (B)                                            1,923,429
                    Piping                                                        1% of purchased equip cost (B)                                              240,429
                    Insulation for ductwork                                       2% of purchased equip cost (B)                                              480,857
                    Painting                                                      2% of purchased equip cost (B)                                              480,857
                  Direct Installation Costs                                                                                                                16,108,714
                    Site Preparation, as required                                      Site Specific                                                      NA
                    Buildings, as required                                             Site Specific                                                      NA

                Total Direct Capital Costs, DC                                   67%                                                                      40,151,571

               Indirect Capital Costs
                    Engineering                                                  20% of purchased equip cost (B)                                            4,808,571
                    Construction & field expenses                                20% of purchased equip cost (B)                                            4,808,571
                    Constractor fees                                             10% of purchased equip cost (B)                                            2,404,286
                    Start-up                                                      1% of purchased equip cost (B)                                              240,429
                    Performance Test                                              1% of purchased equip cost (B)
                    Model Study                                                   2% of purchased equip cost (B)                                             480,857
                    Contingencies                                                 3% of purchased equip cost (B)                                             721,286
               Total Indirect Capital Costs                                      57%                                                                      13,464,000
              Total Capital Investment (TCI) = DC + IC                                                                                                    53,615,571



              OPERATING COSTS
                Direct Operating Costs
                    Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                  25,013
                    Supervisor                                                   15% of operator costs                                                         3,752
                    Coordinator                                                  33% of operator costs                                                         8,254
                  Operating materials
                   Maintenance Labor                                           0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                            216,819
                   Maintenance Materials                                          1% of purchased equipment costs                                            240,429
                   Utilities
                        Electricity                                              0.05 $/kW-hr, 833.0 kW-hr, 8760 hr/yr, 90.0% of capacity                     308,130
                        Water                                                    0.22 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity                      483,410
                        Solid Waste Disposal                                      NA                                                                                -
                        Wastewater Treatment                                     1.52 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity                    3,295,974
                        Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                  -
                Total Annual Direct Operating Costs, DC                                                                                                     4,581,780

                Indirect Operating Costs
                     Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                           291,607
                    Administration (2% total capital costs)                       2% of total capital costs (TCI)                                           1,072,311
                    Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                             536,156
                    Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                             536,156
                    Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                   5,060,931
                Total Indirect Operating Costs                                                                                                              7,497,161

              Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                12,078,941
              Pollutant Removed (tons/yr)                                                                                                                       89.7
              Cost per ton of PM Removed                                                                                                                     134,702




Boiler Wet ESP.xls WESP Hi(e)-Hi(c)                                                                                                                                     Page 7 of 8
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                                                                                                 BART ANALYSIS 2004
                                                                                          WET ELECTROSTATIC PRECIPITATOR
                                      Capital Recovery Factors
                                      Primary Installation
                                      Interest Rate                                    7.0%
                                      Equipment Life                                      20 years
                                      CRF                                            0.0944

                                      Catalyst Replacement Cost
                                      Catalyst Life                                       2 years
                                      CRF                                            0.5531
                                      Catalyst cost per unit                             650 $/ft3
                                      Amount Required                                        0 ft3
                                      Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                      Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                      Total Installed Cost                                   0
                                      Annualized Cost                                        0

                                      Replacement Parts & Equipment
                                      Equipment Life                                      2
                                      CRF                                            0.5531
                                      Rep part cost per unit                          33.72 $ each
                                      Amount Required                                     0 Number
                                      Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                      Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                      Total Installed Cost                                0
                                      Annualized Cost                                     0

                                      Total Cost Replacement Parts & Catalyst                                              0

                                      Design Flow                   264,000 dscfm                     300000 scfm
                                                                         450 Temp Deg F
                                                                        12% % Moisture
                                                                    508,380 acfm

     Operating Cost Calculations                                                               Annual hours of operation: 8,760
                                                                                               Utilization Rate:           90.0%
                                            Unit                Unit of           Use             Unit of        Annual       Annual    Comments
     Item                                   Cost $              Measure           Rate           Measure          Use*         Cost
     Op Labor                                        25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
     Supervisor                                        NA                                                              NA           NA Calc'd as % of labor costs
     Maint Labor                            0.12 $/ft2 collector                   154,510 ft2 collector area                       18,118 $/ft2 collector area; $5775 if < 50,000 ft 2
     Maint Mtls                              NA                                                                         NA             1% of purchased equipment costs
     Utilities, Reagents, Waste Management & Replacements
     Electricity                           0.047 kW-hr                                   833 kW-hr               6,567,135        308,130 $/kW-hr, 833.0 kW-hr, 8760 hr/yr, 90.0% of capacity
     Natural Gas                                      4.24 Mft3                             0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
     Water                                            0.22 Mgal                         4575 gpm                 2,164,356         483,410 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity
     Comp Air                                         0.27 Mscf                             0 Mscfm                      0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
     Reagent #1(Caustic)                              280 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     Reagent #2                                       300 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     SW Disposal                                        25 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
     Haz W Disp                                       273 Ton                           0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
     WW Treat                                         1.52 Mgal                         4575 gpm                 2,164,356       3,295,974 $/Mgal, 4,575.4 gpm, 8760 hr/yr, 90.0% of capacity

     Catalyst                                          650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
     Rep Parts                                       33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                           *annual use rate is in same units of measurement as the unit cost factor
                                                                                                Emission Control Rate Calculation
     Uncontrolled Emission Rate
             Emission               Unit of                        Flow         Unit of Control Eff.           Emis Rate
               Factor               Measure                        Rate        Measure      %                    T/yr     Comments/Notes
                          0.04 lbs/Mmbtu                                  650 MMBTU/HR     NA                       89.68
     Controlled Emission Rate
                Perf                Unit of                        Flow         Unit of        Control Eff.    Emis Rate
             Guarantee              Measure                        Rate         Measure            %             T/yr      Comments/Notes
                                                                                                 99.99%               0.0 Currently assumes 99.99%.
     Emission Reduction T/yr                                                                                          89.7

                                      Electrical Consumption Requirements Kilowatts
                                                                Flow acfm       D P in H2O         Blower-Motor Eff               kW
                                      Blower                    508,380             5                     0.65                   457.5      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                                Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                      Pump 1                     4575             60               0.8           0.9             71.7       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                      Pump 2                       0              60               0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                                Area sqft       TR pwr          # Hoppers      Htr Pwr
                                      ESP                       154,510          299.7              2             4              303.7      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

     Caustic Use                                     20.48 lb/hr SO2                     2.50 lb NaOH/lb SO2                         0.026 T/hr Caustic
     Lime Use                                        20.48 lb/hr SO2                     1.53 lb Lime/lb SO2                         0.016 T/hr Lime


     Estimate Area (ft2)
     Area #1                                      48503 ft2
     Flow #1                                     159588 acfm
     Flow #2                                   508,380 acfm
     Area #2                                   154510.0 ft2




Boiler Wet ESP.xls WESP Hi(e)-Hi(c)                                                                                                                                                                       Page 8 of 8
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                          PM Furnaces
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                                                                           BART ANALYSIS 2004
                                                                    DRY ELECTROSTATIC PRECIPITATOR
                  CAPITAL COSTS
                   Direct Capital Costs
                     Purchased Equipment (1)
                       ESP + auxillary equipment                                                                                                      402,155
                       Instrumentation                                             10% of control device cost (A)                                      40,215
                       IN Sales Taxes                                               6% of control device cost (A)                                      24,129
                       Freight                                                      5% of control device cost (A)                                      20,108
                     Purchased Equipment Total (B)                                 21%                                                                486,607

                      Direct Installation Costs
                        Foundations & supports                                      4% of purchased equip cost (B)                                     19,464
                        Handling & erection                                        50% of purchased equip cost (B)                                    243,304
                        Electrical                                                  8% of purchased equip cost (B)                                     38,929
                        Piping                                                      1% of purchased equip cost (B)                                      4,866
                        Insulation for ductwork                                     2% of purchased equip cost (B)                                      9,732
                        Painting                                                    2% of purchased equip cost (B)                                      9,732
                      Direct Installation Costs                                                                                                       326,027
                        Site Preparation, as required                                    Site Specific                                              NA
                        Buildings, as required                                           Site Specific                                              NA

                    Total Direct Capital Costs, DC                                 67%                                                                812,634

                   Indirect Capital Costs
                        Engineering                                                20% of purchased equip cost (B)                                     97,321
                        Construction & field expenses                              20% of purchased equip cost (B)                                     97,321
                        Constractor fees                                           10% of purchased equip cost (B)                                     48,661
                        Start-up                                                    1% of purchased equip cost (B)                                      4,866
                        Performance Test                                            1% of purchased equip cost (B)
                        Model Study                                                 2% of purchased equip cost (B)                                      9,732
                        Contingencies                                               3% of purchased equip cost (B)                                     14,598
                   Total Indirect Capital Costs                                    57%                                                                272,500
                  Total Capital Investment (TCI) = DC + IC                                                                                          1,085,134



                  OPERATING COSTS
                    Direct Operating Costs
                        Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                        Supervisor                                                 15% of operator costs                                                3,752
                        Coordinator                                                33% of operator costs                                                8,254
                      Operating materials
                       Maintenance Labor                                         0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                     8,147
                       Maintenance Materials                                        1% of purchased equipment costs                                     4,866
                       Utilities
                             Electricity                                           0.05 $/kW-hr, 412.9 kW-hr, 8760 hr/yr, 90.0% of capacity           152,729
                             Water                                                  NA                                                                      -
                             Solid Waste Disposal                                 25.38 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr                                 380
                             Wastewater Treatment                                   NA                                                                      -

                    Total Annual Direct Operating Costs, DC                                                                                           203,140

                    Indirect Operating Costs
                         Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                   25,066
                        Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    21,703
                        Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    10,851
                        Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    10,851
                        Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate           102,429
                    Total Indirect Operating Costs                                                                                                    170,901

                  Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        374,041
                  Pollutant Removed (tons/yr)B                                                                                                           16.6
                  Cost per ton of PM Removed                                                                                                           22,480




Furance Dry ESP.xlsDry ESP Lo(e)-Lo(c)                                                                                                                          Page 1 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                DRY ELECTROSTATIC PRECIPITATOR
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                                    7.0%
                             Equipment Life                                      20 years
                             CRF                                            0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                                       2 years
                             CRF                                            0.5531
                             Catalyst cost per unit                              650 $/ft3
                             Amount Required                                         0 ft3
                             Catalyst Cost                                           0 Cost adjusted for freight & sales tax
                             Installation Labor                                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                                    0
                             Annualized Cost                                         0

                             Replacement Parts & Equipment
                             Equipment Life                                      2
                             CRF                                            0.5531
                             Rep part cost per unit                          33.72 $ each
                             Amount Required                                     0 Number
                             Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                             Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost                                0
                             Annualized Cost                                     0

                             Total Cost Replacement Parts & Catalyst                                               0

                             Design Flow                    109,000 dscfm                     123864 scfm
                                                               1200 Temp Deg F
                                                                12% % Moisture
                                                            382,893 acfm

 Operating Cost Calculations                                                           Annual hours of operation: 8,760
                                                                                       Utilization Rate:           90.0%
                                    Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                               Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                    25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                    NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                  33,128 ft2 collector area                       4,125 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                      NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                 413 kW-hr               3,255,084        152,729 $/kW-hr, 412.9 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                  4.24 Mft3                              0 scfm                      0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                        0.22 Mgal                              0 gpm                       0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                     0.27 Mscf                              0 Mscfm                     0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                           280 Ton                             0.0 lb-mole/hr                0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                    300 Ton                               0 lb-mole/hr                0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                 25.38 Ton                          0.002 ton/hr                    15              380 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 Haz W Disp                                    273 Ton                          0.000 ton/hr                     0                0 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 WW Treat                                       1.5 Mgal                             0 gpm                       0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                      650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                   33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                                        Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission               Unit of                      Flow         Unit of Control Eff.          Emis Rate
         Factor              Measure                       Rate        Measure      %                   T/yr     Comments/Notes
                    0.04 lb/Mmbtu                                 134 MMBTU/HR     NA                         18
 Controlled Emission Rate
           Perf                    Unit of                 Flow         Unit of        Control Eff.   Emis Rate
       Guarantee                   Measure                 Rate         Measure            %            T/yr      Comments/Notes
                                                                                          90%                1.8 Currently assumes 90%.
 Emission Reduction T/yr                                                                                     16.6

                             Electrical Consumption Requirements Kilowatts
                                                        Flow acfm       D P in H2O             Blower Eff                kW
                             Blower                     382,893             5                     0.65                  344.6       OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                        Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                             Pump 1                       NA              60               0.8            0.9            0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                             Pump 2                       NA              60               0.8            0.9            0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                        Area sqft       TR pwr          # Hoppers      Htr Pwr
                             ESP                         33,128          64.3               2              4             68.3       OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                    48503 ft2
 Flow #1                                   159588 acfm
 Flow #2                                 109,000 acfm
 Area #2                                  33128.0 ft2



Furance Dry ESP.xlsDry ESP Lo(e)-Lo(c)                                                                                                                                                             Page 2 of 8
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                                                                           BART ANALYSIS 2004
                                                                    DRY ELECTROSTATIC PRECIPITATOR
                  CAPITAL COSTS
                   Direct Capital Costs
                     Purchased Equipment (1)
                       ESP + auxillary equipment                                                                                                     5,228,011
                       Instrumentation                                             10% of control device cost (A)                                      522,801
                       IN Sales Taxes                                               6% of control device cost (A)                                      313,681
                       Freight                                                      5% of control device cost (A)                                      261,401
                     Purchased Equipment Total (B)                                 21%                                                               6,325,893

                       Direct Installation Costs
                         Foundations & supports                                     4% of purchased equip cost (B)                                     253,036
                         Handling & erection                                       50% of purchased equip cost (B)                                   3,162,946
                         Electrical                                                 8% of purchased equip cost (B)                                     506,071
                         Piping                                                     1% of purchased equip cost (B)                                      63,259
                         Insulation for ductwork                                    2% of purchased equip cost (B)                                     126,518
                         Painting                                                   2% of purchased equip cost (B)                                     126,518
                       Direct Installation Costs                                                                                                     4,238,348
                         Site Preparation, as required                                   Site Specific                                              NA
                         Buildings, as required                                          Site Specific                                              NA

                    Total Direct Capital Costs, DC                                 67%                                                              10,564,241

                   Indirect Capital Costs
                        Engineering                                                20% of purchased equip cost (B)                                   1,265,179
                        Construction & field expenses                              20% of purchased equip cost (B)                                   1,265,179
                        Constractor fees                                           10% of purchased equip cost (B)                                     632,589
                        Start-up                                                    1% of purchased equip cost (B)                                      63,259
                        Performance Test                                            1% of purchased equip cost (B)
                        Model Study                                                 2% of purchased equip cost (B)                                     126,518
                        Contingencies                                               3% of purchased equip cost (B)                                     189,777
                   Total Indirect Capital Costs                                    57%                                                               3,542,500
                  Total Capital Investment (TCI) = DC + IC                                                                                          14,106,741



                  OPERATING COSTS
                    Direct Operating Costs
                        Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                        Supervisor                                                 15% of operator costs                                                3,752
                        Coordinator                                                33% of operator costs                                                8,254
                       Operating materials
                        Maintenance Labor                                        0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                    56,405
                        Maintenance Materials                                       1% of purchased equipment costs                                    63,259
                        Utilities
                             Electricity                                           0.05 $/kW-hr, 412.9 kW-hr, 8760 hr/yr, 90.0% of capacity           152,729
                             Water                                                  NA                                                                      -
                             Solid Waste Disposal                                 25.38 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr                                 380
                             Wastewater Treatment                                   NA                                                                      -

                    Total Annual Direct Operating Costs, DC                                                                                           309,791

                    Indirect Operating Costs
                         Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                   89,057
                        Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    282,135
                        Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    141,067
                        Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    141,067
                        Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate          1,331,577
                    Total Indirect Operating Costs                                                                                                   1,984,903

                  Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                       2,294,695
                  Pollutant Removed (tons/yr)B                                                                                                           16.6
                  Cost per ton of PM Removed                                                                                                          137,909




Furance Dry ESP.xlsDry ESP Lo(e)-Hi(c)                                                                                                                           Page 3 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                DRY ELECTROSTATIC PRECIPITATOR
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                                    7.0%
                             Equipment Life                                      20 years
                             CRF                                            0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                                       2 years
                             CRF                                            0.5531
                             Catalyst cost per unit                              650 $/ft3
                             Amount Required                                         0 ft3
                             Catalyst Cost                                           0 Cost adjusted for freight & sales tax
                             Installation Labor                                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                                    0
                             Annualized Cost                                         0

                             Replacement Parts & Equipment
                             Equipment Life                                      2
                             CRF                                            0.5531
                             Rep part cost per unit                          33.72 $ each
                             Amount Required                                     0 Number
                             Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                             Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost                                0
                             Annualized Cost                                     0

                             Total Cost Replacement Parts & Catalyst                                               0

                             Design Flow                    109,000 dscfm                     123864 scfm
                                                               1200 Temp Deg F
                                                                12% % Moisture
                                                            382,893 acfm

 Operating Cost Calculations                                                           Annual hours of operation: 8,760
                                                                                       Utilization Rate:           90.0%
                                    Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                               Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                    25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                    NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                  33,128 ft2 collector area                       4,125 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                      NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                 413 kW-hr               3,255,084        152,729 $/kW-hr, 412.9 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                  4.24 Mft3                              0 scfm                      0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                        0.22 Mgal                              0 gpm                       0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                     0.27 Mscf                              0 Mscfm                     0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                           280 Ton                             0.0 lb-mole/hr                0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                    300 Ton                               0 lb-mole/hr                0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                 25.38 Ton                          0.002 ton/hr                    15              380 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 Haz W Disp                                    273 Ton                          0.000 ton/hr                     0                0 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 WW Treat                                       1.5 Mgal                             0 gpm                       0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                      650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                   33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                                        Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission               Unit of                      Flow         Unit of Control Eff.          Emis Rate
         Factor              Measure                       Rate        Measure      %                   T/yr     Comments/Notes
                    0.04 lb/Mmbtu                                 134 MMBTU/HR     NA                         18
 Controlled Emission Rate
           Perf                    Unit of                 Flow         Unit of        Control Eff.   Emis Rate
       Guarantee                   Measure                 Rate         Measure            %            T/yr      Comments/Notes
                                                                                          90%                1.8 Currently assumes 90%.
 Emission Reduction T/yr                                                                                     16.6

                             Electrical Consumption Requirements Kilowatts
                                                        Flow acfm       D P in H2O             Blower Eff                kW
                             Blower                     382,893             5                     0.65                  344.6       OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                        Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                             Pump 1                       NA              60               0.8            0.9            0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                             Pump 2                       NA              60               0.8            0.9            0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                        Area sqft       TR pwr          # Hoppers      Htr Pwr
                             ESP                         33,128          64.3               2              4             68.3       OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                    48503 ft2
 Flow #1                                   159588 acfm
 Flow #2                                 109,000 acfm
 Area #2                                  33128.0 ft2



Furance Dry ESP.xlsDry ESP Lo(e)-Hi(c)                                                                                                                                                             Page 4 of 8
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                                                          BART ANALYSIS 2004
                                                   DRY ELECTROSTATIC PRECIPITATOR
CAPITAL COSTS                                                                                                                                                                Capital Recovery Factors
 Direct Capital Costs                                                                                                                                                        Primary Installation
   Purchased Equipment (1)                                                                                                                                                   Interest Rate
     ESP + auxillary equipment                                                                                                           402,155                             Equipment Life
     Instrumentation                                             10% of control device cost (A)                                           40,215                             CRF
     IN Sales Taxes                                               6% of control device cost (A)                                           24,129
     Freight                                                      5% of control device cost (A)                                           20,108                             Catalyst Replacement Cost
   Purchased Equipment Total (B)                                 21%                                                                     486,607                             Catalyst Life
                                                                                                                                                                             CRF
   Direct Installation Costs                                                                                                                                                 Catalyst cost per unit
     Foundations & supports                                       4% of purchased equip cost (B)                                          19,464                             Amount Required
     Handling & erection                                         50% of purchased equip cost (B)                                         243,304                             Catalyst Cost
     Electrical                                                   8% of purchased equip cost (B)                                          38,929                             Installation Labor
     Piping                                                       1% of purchased equip cost (B)                                           4,866                             Total Installed Cost
     Insulation for ductwork                                      2% of purchased equip cost (B)                                           9,732                             Annualized Cost
     Painting                                                     2% of purchased equip cost (B)                                           9,732
   Direct Installation Costs                                                                                                             326,027                             Replacement Parts & Equipment
     Site Preparation, as required                                     Site Specific                                                   NA                                    Equipment Life
     Buildings, as required                                            Site Specific                                                   NA                                    CRF
                                                                                                                                                                             Rep part cost per unit
 Total Direct Capital Costs, DC                                  67%                                                                     812,634                             Amount Required
                                                                                                                                                                             Total Rep Parts Cost
 Indirect Capital Costs                                                                                                                                                      Installation Labor
      Engineering                                                20% of purchased equip cost (B)                                          97,321                             Total Installed Cost
      Construction & field expenses                              20% of purchased equip cost (B)                                          97,321                             Annualized Cost
      Constractor fees                                           10% of purchased equip cost (B)                                          48,661
      Start-up                                                    1% of purchased equip cost (B)                                           4,866                             Total Cost Replacement Parts & Cat
      Performance Test                                            1% of purchased equip cost (B)
      Model Study                                                 2% of purchased equip cost (B)                                            9,732                            Design Flow                    109,000
      Contingencies                                               3% of purchased equip cost (B)                                           14,598                                                              1200
 Total Indirect Capital Costs                                    57%                                                                      272,500                                                               12%
Total Capital Investment (TCI) = DC + IC                                                                                                1,085,134                                                           382,893

                                                                                                                                                    Operating Cost Calculations
OPERATING COSTS
 Direct Operating Costs                                                                                                                                                            Unit                Unit of
     Operator                                                   25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity              25,013    Item                           Cost $              Measure
     Supervisor                                                  15% of operator costs                                                     3,752    Op Labor                                25.38 Hr
     Coordinator                                                 33% of operator costs                                                     8,254    Supervisor                                NA
   Operating materials                                                                                                                              Maint Labor                         0.117 $/ft2 collector
    Maintenance Labor                                          0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                          8,147    Maint Mtls                            NA
    Maintenance Materials                                         1% of purchased equipment costs                                          4,866    Utilities, Reagents, Waste Management & Replacements
    Utilities                                                                                                                                       Electricity                         0.047 kW-hr
         Electricity                                             0.05 $/kW-hr, 412.9 kW-hr, 8760 hr/yr, 90.0% of capacity                152,729    Natural Gas                              4.24 Mft3
         Water                                                    NA                                                                           -    Water                                    0.22 Mgal
         Solid Waste Disposal                                   25.38 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr                                      422    Comp Air                                 0.27 Mscf
         Wastewater Treatment                                     NA                                                                           -    Reagent #1(Caustic)                       280 Ton
                                                                                                                                                    Reagent #2                                300 Ton
 Total Annual Direct Operating Costs, DC                                                                                                 203,182    SW Disposal                             25.38 Ton
                                                                                                                                                    Haz W Disp                                273 Ton
 Indirect Operating Costs                                                                                                                           WW Treat                                   1.5 Mgal
      Overhead                                                   60% of oper, maint & supv labor + maint mtl costs                        25,066
                                                                                                                                                    Catalyst                                  650 ft3
     Administration (2% total capital costs)                      2% of total capital costs (TCI)                                         21,703    Rep Parts                               33.72 $/bag
     Property tax (1% total capital costs)                        1% of total capital costs (TCI)                                         10,851
     Insurance (1% total capital costs)                           1% of total capital costs (TCI)                                         10,851
     Captial Recovery                                             9% for a 20- year equipment life and a 7% interest rate                102,429    Uncontrolled Emission Rate
 Total Indirect Operating Costs                                                                                                          170,901          Emission               Unit of                  Flow
                                                                                                                                                            Factor              Measure                   Rate
Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                             374,083                       0.04 lb/Mmbtu                             134
Pollutant Removed (tons/yr)B                                                                                                                18.5    Controlled Emission Rate
Cost per ton of PM Removed                                                                                                                20,236              Perf                 Unit of                Flow
                                                                                                                                                          Guarantee                Measure                Rate

                                                                                                                                                    Emission Reduction T/yr

                                                                                                                                                                             Electrical Consumption Requirements
                                                                                                                                                                                                       Flow acfm
                                                                                                                                                                             Blower                    382,893
                                                                                                                                                                                                       Flow gpm
                                                                                                                                                                             Pump 1                      NA
                                                                                                                                                                             Pump 2                      NA
                                                                                                                                                                                                       Area sqft
                                                                                                                                                                             ESP                        33,128


                                                                                                                                                    Estimate Area (ft2)
                                                                                                                                                    Area #1                               48503 ft2
                                                                                                                                                    Flow #1                             159588 acfm
                                                                                                                                                    Flow #2                            109,000 acfm
                                                                                                                                                    Area #2                             33128.0 ft2




          Furance Dry ESP.xlsDry ESP Hi(e)-Lo(c)                                                                                                                                              Page 5 of 8
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                                                              BART ANALYSIS 2004
                                                       DRY ELECTROSTATIC PRECIPITATOR


                                                     7.0%
                                                        20 years
                                                   0.0944


                                                        2 years
                                                   0.5531
                                                        650 $/ft3
                                                           0 ft3
                                                           0 Cost adjusted for freight & sales tax
                                                           0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                                           0
                                                           0


                                                        2
                                                   0.5531
                                                    33.72 $ each
                                                        0 Number
                                                        0 Cost adjusted for freight & sales tax
                                                        0 10 min per bag (13 hr total) Labor at $29.65/hr
                                                        0
                                                        0

                                         atalyst                                          0

                                          dscfm                     123864 scfm
                                          Temp Deg F
                                          % Moisture
                                          acfm

                                                             Annual hours of operation: 8,760
                                                             Utilization Rate:           90.0%
                                               Use              Unit of        Annual       Annual    Comments
                                               Rate            Measure          Use*         Cost
                                                           1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
                                                                                     NA           NA Calc'd as % of labor costs
                                                   33,128 ft2 collector area                       4,125 $/ft2 collector area; $5775 if < 50,000 ft 2
                                                                                      NA             1% of purchased equipment costs

                                                        413 kW-hr              3,255,084         152,729 $/kW-hr, 412.9 kW-hr, 8760 hr/yr, 90.0% of capacity
                                                            0 scfm                      0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
                                                            0 gpm                       0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
                                                            0 Mscfm                     0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
                                                          0.0 lb-mole/hr                0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
                                                            0 lb-mole/hr                0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
                                                       0.002 ton/hr                    17              422 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
                                                       0.000 ton/hr                     0                0 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
                                                            0 gpm                       0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

                                                           0 ft3             2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                           0 bags            2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                          *annual use rate is in same units of measurement as the unit cost factor
                                                               Emission Control Rate Calculation

                                            Unit of Control Eff.             Emis Rate
                                           Measure      %                      T/yr     Comments/Notes
                                          MMBTU/HR     NA                            18

                                             Unit of          Control Eff.   Emis Rate
                                             Measure              %            T/yr      Comments/Notes
                                                                99.99%              0.0 Currently assumes 99.99%.
                                                                                    18.5

                                          Kilowatts
                                             D P in H2O               Blower Eff                kW
                                                   5                     0.65                  344.6       OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                             D P ft H2O        Pump Eff       Motor Eff
                                                60                0.8            0.9            0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                60                0.8            0.9            0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                              TR pwr           # Hoppers      Htr Pwr
                                               64.3                2              4             68.3       OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30




Furance Dry ESP.xlsDry ESP Hi(e)-Lo(c)                                                                                                                                                Page 6 of 8
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                                                                           BART ANALYSIS 2004
                                                                    DRY ELECTROSTATIC PRECIPITATOR
                  CAPITAL COSTS
                   Direct Capital Costs
                     Purchased Equipment (1)
                       ESP + auxillary equipment                                                                                                     5,228,011
                       Instrumentation                                             10% of control device cost (A)                                      522,801
                       IN Sales Taxes                                               6% of control device cost (A)                                      313,681
                       Freight                                                      5% of control device cost (A)                                      261,401
                     Purchased Equipment Total (B)                                 21%                                                               6,325,893

                       Direct Installation Costs
                         Foundations & supports                                     4% of purchased equip cost (B)                                     253,036
                         Handling & erection                                       50% of purchased equip cost (B)                                   3,162,946
                         Electrical                                                 8% of purchased equip cost (B)                                     506,071
                         Piping                                                     1% of purchased equip cost (B)                                      63,259
                         Insulation for ductwork                                    2% of purchased equip cost (B)                                     126,518
                         Painting                                                   2% of purchased equip cost (B)                                     126,518
                       Direct Installation Costs                                                                                                     4,238,348
                         Site Preparation, as required                                   Site Specific                                              NA
                         Buildings, as required                                          Site Specific                                              NA

                    Total Direct Capital Costs, DC                                 67%                                                              10,564,241

                   Indirect Capital Costs
                        Engineering                                                20% of purchased equip cost (B)                                   1,265,179
                        Construction & field expenses                              20% of purchased equip cost (B)                                   1,265,179
                        Constractor fees                                           10% of purchased equip cost (B)                                     632,589
                        Start-up                                                    1% of purchased equip cost (B)                                      63,259
                        Performance Test                                            1% of purchased equip cost (B)
                        Model Study                                                 2% of purchased equip cost (B)                                     126,518
                        Contingencies                                               3% of purchased equip cost (B)                                     189,777
                   Total Indirect Capital Costs                                    57%                                                               3,542,500
                  Total Capital Investment (TCI) = DC + IC                                                                                          14,106,741



                  OPERATING COSTS
                    Direct Operating Costs
                        Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                        Supervisor                                                 15% of operator costs                                                3,752
                        Coordinator                                                33% of operator costs                                                8,254
                       Operating materials
                        Maintenance Labor                                        0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                    56,405
                        Maintenance Materials                                       1% of purchased equipment costs                                    63,259
                        Utilities
                              Electricity                                          0.05 $/kW-hr, 412.9 kW-hr, 8760 hr/yr, 90.0% of capacity           152,729
                              Water                                                 NA                                                                      -
                              Solid Waste Disposal                                25.38 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr                                 422
                              Wastewater Treatment                                  NA                                                                      -

                    Total Annual Direct Operating Costs, DC                                                                                           309,834

                    Indirect Operating Costs
                         Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                   89,057
                        Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    282,135
                        Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    141,067
                        Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    141,067
                        Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate          1,331,577
                    Total Indirect Operating Costs                                                                                                   1,984,903

                  Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                       2,294,737
                  Pollutant Removed (tons/yr)B                                                                                                           18.5
                  Cost per ton of PM Removed                                                                                                          124,133




Furance Dry ESP.xlsDry ESP Hi(e)-Hi(c)                                                                                                                           Page 7 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                DRY ELECTROSTATIC PRECIPITATOR
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                   7.0%
                              Equipment Life                                     20 years
                              CRF                                           0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                                      2 years
                              CRF                                           0.5531
                              Catalyst cost per unit                             650 $/ft3
                              Amount Required                                        0 ft3
                              Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                              Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                                   0
                              Annualized Cost                                        0

                              Replacement Parts & Equipment
                              Equipment Life                                     2
                              CRF                                           0.5531
                              Rep part cost per unit                         33.72 $ each
                              Amount Required                                    0 Number
                              Total Rep Parts Cost                               0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow                   109,000 dscfm                     123864 scfm
                                                               1200 Temp Deg F
                                                                12% % Moisture
                                                            382,893 acfm

 Operating Cost Calculations                                                           Annual hours of operation: 8,760
                                                                                       Utilization Rate:           90.0%
                                    Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                               Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                    25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                    NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                  33,128 ft2 collector area                       4,125 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                      NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                 413 kW-hr               3,255,084        152,729 $/kW-hr, 412.9 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                  4.24 Mft3                              0 scfm                      0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                        0.22 Mgal                              0 gpm                       0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                     0.27 Mscf                              0 Mscfm                     0                0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                           280 Ton                             0.0 lb-mole/hr                0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                    300 Ton                               0 lb-mole/hr                0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                 25.38 Ton                          0.002 ton/hr                    17              422 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 Haz W Disp                                    273 Ton                          0.000 ton/hr                     0                0 $/Ton, 0.035 lb/Mmbtu, 8760 hr/yr
 WW Treat                                       1.5 Mgal                             0 gpm                       0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                      650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                   33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                                        Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission               Unit of                      Flow         Unit of Control Eff.          Emis Rate
         Factor              Measure                       Rate        Measure      %                   T/yr     Comments/Notes
                    0.04 lb/Mmbtu                                 134 MMBTU/HR     NA                         18
 Controlled Emission Rate
           Perf                     Unit of                Flow         Unit of        Control Eff.   Emis Rate
       Guarantee                    Measure                Rate         Measure            %            T/yr      Comments/Notes
                                                                                         99.99%              0.0 Currently assumes 99.99%.
 Emission Reduction T/yr                                                                                     18.5

                              Electrical Consumption Requirements Kilowatts
                                                        Flow acfm       D P in H2O             Blower Eff                kW
                              Blower                    382,893             5                     0.65                  344.6       OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                        Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                              Pump 1                      NA              60               0.8            0.9            0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                              Pump 2                      NA              60               0.8            0.9            0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                        Area sqft       TR pwr          # Hoppers      Htr Pwr
                              ESP                        33,128          64.3               2              4             68.3       OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                    48503 ft2
 Flow #1                                   159588 acfm
 Flow #2                                 109,000 acfm
 Area #2                                  33128.0 ft2



Furance Dry ESP.xlsDry ESP Hi(e)-Hi(c)                                                                                                                                                             Page 8 of 8
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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                 246,802
            Instrumentation                                            10% of control device cost (A)                                        24,680
            IN Sales Taxes                                              6% of control device cost (A)                                        14,808
            Freight                                                     5% of control device cost (A)                                        12,340

           Purchased Equipment Total (B)                               21%                                                                  298,630
           Direct installation costs
             Foundations & supports                                     4% of purchased equip cost (B)                                       11,945
             Handling & erection                                       50% of purchased equip cost (B)                                      149,315
             Electrical                                                 8% of purchased equip cost (B)                                       23,890
             Piping                                                     1% of purchased equip cost (B)                                        2,986
             Insulation for ductwork                                    7% of purchased equip cost (B)                                       20,904
             Painting                                                   4% of purchased equip cost (B)                                       11,945
           Installation Total                                          74%                                                                  220,986
             Site Preparation, as required                                 Site Specific                                                   NA
             Buildings, as required                                        Site Specific                                                   NA

         Total Direct Capital Cost                                                                                                          519,616

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                       29,863
             Construction and field expense                            20% of purchased equip cost (B)                                       59,726
             Contractor fees                                           10% of purchased equip cost (B)                                       29,863
             Startup                                                    1% of purchased equip cost (B)                                        2,986
             Performance test                                           1% of purchased equip cost (B)                                        2,986
             Contingencies                                              3% of purchased equip cost (B)                                        8,959
        Total Indirect Capital Costs                                   45%                                                                  134,384
       Total Capital Investment (TCI) = DC + IC                                                                                             654,000


       OPERATING COSTS
         Direct Operating Costs
             Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
             Supervisor                                                15% of operator labor costs                                            7,504
             Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
             Maintenance Materials                                    100% of maintenance labor costs                                        17,509
             Replacement parts, bags                                                                                                        259,771
             Utilities
                  Electricity                                          0.05 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity          1,347,461
                  Compressed Air                                       0.27 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity                99,296
                   Solid Waste Disposal                               25.38 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr                                   401

         Total Annual Direct Operating Costs (DC)                                                                                          1,799,477

         Indirect Operating Costs
             Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                     55,528
             Administration (2% total capital costs)                    2% of total capital costs (TCI)                                      13,080
             Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                       6,540
             Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                       6,540
             Capital Recovery                                           9% for a 20- year equipment life and a 7% interest rate              61,733
         Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                  143,421

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        1,942,898
       Pollutant Removed (tons/yr)                                                                                                                18
       Cost per ton of PM Removed                                                                                                            110,621




Furnace FF.xlsBaghouseLo(e)Lo(c)                                                                                                                       Page 1 of 8
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                                                                                      BART ANALYSIS 2004
                                                                                        FABRIC FILTER
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                        7.0%
                             Equipment Life                          20 years
                             CRF                                0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                           2 years
                             CRF                                0.5531
                             Catalyst cost per unit                650 $/ft3
                                                                         3
                             Amount Required                          0 ft
                             Catalyst Cost                            0 Cost adjusted for freight & sales tax
                             Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                     0
                             Annualized Cost                          0

                             Replacement Parts & Equipment
                             Equipment Life                    2 years
                             CRF                         0.5531
                             Rep part cost per unit        35.53 $ each
                             Amount Required         6126.29084 Number
                             Total Rep Parts Cost       241,631 Cost adjusted for freight & sales tax
                             Installation Labor          18,140 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost       259,771
                             Annualized Cost            143,677

                             Total Cost Replacement Parts (Bags)                                259,771

                             Design Flow        109,000 dscfm                   123864 scfm
                                                   1200 Temp Deg F
                                                    12% % Moisture
                                                382,893 acfm

Operating Cost Calculations                                             Annual hours of operation:     8,760
                                                                        Utilization Rate:              90.0%
                             Unit        Unit of    Use                      Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                     Measure         Use*           Cost
Op Labor                         25.38 Hr                             2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                             NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                             1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                             NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           3643 kW-hr                             28,718,263        1,347,461 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                     0 scfm                           0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.22 Mgal                     0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.27 Mscf                765.79 Mscfm                    362,248           99,296 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     300 Ton                      0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                              300 Ton                      0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                           25.38 Ton                  0.002 ton/hr                        16              401 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
Haz W Disp                              273 Ton                  0.000 ton/hr                         0                0 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
WW Treat                                 1.5 Mgal                    0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                              650 ft3                        0 ft
                                                                         3
                                                                                           2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                     35.53299492 bag               6126.29084 bags                2 yr life            143,677 $/bag, 6,126.3 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission            Unit of               Flow    Unit of Control Eff.              Emis Rate
         Factor            Measure               Rate    Measure     %                       T/yr           Comments/Notes
                   0.04 lb/MMBtu                    134 MMBTU/HR    NA                                 18
Controlled Emission Rate
          Perf             Unit of               Flow       Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate       Measure          %               T/yr      Comments/Notes
                                                                              95.00%               0.9 Currently assumes 95%.
Emission Reduction T/yr                                                                            18

Electrical Consumption Requirements Kilowatts
                                Flow acfm      D P in H2O       Blower-Motor Eff               kW
Blower                          382,893             6                0.65                     3642.6        OAQPS Cost Cont Manual 6th ed - Eq 1.14




            Furnace FF.xlsBaghouseLo(e)Lo(c)                                                                                                                                    Page 2 of 8
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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                3,085,022
            Instrumentation                                            10% of control device cost (A)                                        308,502
            IN Sales Taxes                                              6% of control device cost (A)                                        185,101
            Freight                                                     5% of control device cost (A)                                        154,251

           Purchased Equipment Total (B)                               21%                                                                 3,732,877
           Direct installation costs
             Foundations & supports                                     4% of purchased equip cost (B)                                       149,315
             Handling & erection                                       50% of purchased equip cost (B)                                     1,866,438
             Electrical                                                 8% of purchased equip cost (B)                                       298,630
             Piping                                                     1% of purchased equip cost (B)                                        37,329
             Insulation for ductwork                                    7% of purchased equip cost (B)                                       261,301
             Painting                                                   4% of purchased equip cost (B)                                       149,315
           Installation Total                                          74%                                                                 2,762,329
             Site Preparation, as required                                 Site Specific                                                   NA
             Buildings, as required                                        Site Specific                                                   NA

         Total Direct Capital Cost                                                                                                         6,495,205

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                       373,288
             Construction and field expense                            20% of purchased equip cost (B)                                       746,575
             Contractor fees                                           10% of purchased equip cost (B)                                       373,288
             Startup                                                    1% of purchased equip cost (B)                                        37,329
             Performance test                                           1% of purchased equip cost (B)                                        37,329
             Contingencies                                              3% of purchased equip cost (B)                                       111,986
        Total Indirect Capital Costs                                   45%                                                                 1,679,795
       Total Capital Investment (TCI) = DC + IC                                                                                            8,175,000


       OPERATING COSTS
         Direct Operating Costs
             Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
             Supervisor                                                15% of operator labor costs                                            7,504
             Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
             Maintenance Materials                                    100% of maintenance labor costs                                        17,509
             Replacement parts, bags                                                                                                        259,771
             Utilities
                  Electricity                                          0.05 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity          1,347,461
                  Compressed Air                                       0.27 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity                99,296
                   Solid Waste Disposal                               25.38 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr                                   401

         Total Annual Direct Operating Costs (DC)                                                                                          1,799,477

         Indirect Operating Costs
             Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                     55,528
             Administration (2% total capital costs)                    2% of total capital costs (TCI)                                     163,500
             Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                      81,750
             Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                       81,750
             Capital Recovery                                           9% for a 20- year equipment life and a 7% interest rate              771,662
         Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                 1,154,190

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        2,953,667
       Pollutant Removed (tons/yr)                                                                                                                18
       Cost per ton of PM Removed                                                                                                            168,170




Furnace FF.xlsBaghouseLo(e)Hi(c)                                                                                                                       Page 3 of 8
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                                                                                      BART ANALYSIS 2004
                                                                                        FABRIC FILTER
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                        7.0%
                             Equipment Life                          20 years
                             CRF                                0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                           2 years
                             CRF                                0.5531
                             Catalyst cost per unit                650 $/ft3
                                                                         3
                             Amount Required                          0 ft
                             Catalyst Cost                            0 Cost adjusted for freight & sales tax
                             Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                     0
                             Annualized Cost                          0

                             Replacement Parts & Equipment
                             Equipment Life                    2 years
                             CRF                         0.5531
                             Rep part cost per unit        35.53 $ each
                             Amount Required         6126.29084 Number
                             Total Rep Parts Cost       241,631 Cost adjusted for freight & sales tax
                             Installation Labor          18,140 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost       259,771
                             Annualized Cost            143,677

                             Total Cost Replacement Parts (Bags)                                259,771

                             Design Flow        109,000 dscfm                   123864 scfm
                                                   1200 Temp Deg F
                                                    12% % Moisture
                                                382,893 acfm

Operating Cost Calculations                                             Annual hours of operation:     8,760
                                                                        Utilization Rate:              90.0%
                             Unit        Unit of    Use                      Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                     Measure         Use*           Cost
Op Labor                         25.38 Hr                             2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                             NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                             1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                             NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           3643 kW-hr                             28,718,263        1,347,461 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                     0 scfm                           0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.22 Mgal                     0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.27 Mscf                765.79 Mscfm                    362,248           99,296 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     300 Ton                      0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                              300 Ton                      0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                           25.38 Ton                  0.002 ton/hr                        16              401 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
Haz W Disp                              273 Ton                  0.000 ton/hr                         0                0 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
WW Treat                                 1.5 Mgal                    0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                              650 ft3                        0 ft
                                                                         3
                                                                                           2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                     35.53299492 bag               6126.29084 bags                2 yr life            143,677 $/bag, 6,126.3 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission            Unit of               Flow    Unit of Control Eff.              Emis Rate
         Factor            Measure               Rate    Measure     %                       T/yr           Comments/Notes
                   0.04 lb/MMBtu                    134 MMBTU/HR    NA                                 18
Controlled Emission Rate
          Perf             Unit of               Flow       Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate       Measure          %               T/yr      Comments/Notes
                                                                              95.00%               0.9 Currently assumes 95%.
Emission Reduction T/yr                                                                            18

Electrical Consumption Requirements Kilowatts
                                Flow acfm      D P in H2O       Blower-Motor Eff               kW
Blower                          382,893             6                0.65                     3642.6        OAQPS Cost Cont Manual 6th ed - Eq 1.14




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                                                            BART ANALYSIS 2004
                                                              FABRIC FILTER
CAPITAL COSTS
 Direct Capital Costs
   Purchased Equipment (1)
     Fabric Filter (EC) + bags + auxillary equipment                                                                           246,802
     Instrumentation                                            10% of control device cost (A)                                  24,680
     IN Sales Taxes                                              6% of control device cost (A)                                  14,808
     Freight                                                     5% of control device cost (A)                                  12,340

    Purchased Equipment Total (B)                               21%                                                            298,630
    Direct installation costs
      Foundations & supports                                     4% of purchased equip cost (B)                                 11,945
      Handling & erection                                       50% of purchased equip cost (B)                                149,315
      Electrical                                                 8% of purchased equip cost (B)                                 23,890
      Piping                                                     1% of purchased equip cost (B)                                  2,986
      Insulation for ductwork                                    7% of purchased equip cost (B)                                 20,904
      Painting                                                   4% of purchased equip cost (B)                                 11,945
    Installation Total                                          74%                                                            220,986
      Site Preparation, as required                                 Site Specific                                             NA
      Buildings, as required                                        Site Specific                                             NA

 Total Direct Capital Cost                                                                                                     519,616

 Indirect Capital Costs
      Engineering                                                10% of purchased equip cost (B)                                29,863
      Construction and field expense                             20% of purchased equip cost (B)                                59,726
      Contractor fees                                            10% of purchased equip cost (B)                                29,863
      Startup                                                     1% of purchased equip cost (B)                                 2,986
      Performance test                                            1% of purchased equip cost (B)                                 2,986
      Contingencies                                               3% of purchased equip cost (B)                                 8,959
 Total Indirect Capital Costs                                    45%                                                           134,384
Total Capital Investment (TCI) = DC + IC                                                                                       654,000


OPERATING COSTS                                                                                                                           Operating Cost Calculatio
 Direct Operating Costs
     Operating Labor                                           25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity     50,025
     Supervisor                                                 15% of operator labor costs                                      7,504    Item
     Maintenance Labor                                         17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity     17,509    Op Labor
     Maintenance Materials                                     100% of maintenance labor costs                                  17,509    Supervisor
     Replacement parts, bags                                                                                                   259,771    Maint Labor
     Utilities                                                                                                                            Maint Mtls
          Electricity                                            0.05 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity   1,347,461   Utilities, Reagents, Waste
          Compressed Air                                         0.27 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity         99,296   Electricity
           Solid Waste Disposal                                 25.38 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr                            422    Natural Gas
                                                                                                                                          Water
 Total Annual Direct Operating Costs (DC)                                                                                     1,799,498   Comp Air
                                                                                                                                          Reagent #1(Caustic)
 Indirect Operating Costs                                                                                                                 Reagent #2
     Overhead                                                   60% of oper, maint & supv labor + maint mtl costs               55,528    SW Disposal
     Administration (2% total capital costs)                     2% of total capital costs (TCI)                                13,080    Haz W Disp
     Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                 6,540    WW Treat
     Insurance (1% total capital costs)                           1% of total capital costs (TCI)                                6,540    Catalyst
     Capital Recovery                                             9% for a 20- year equipment life and a 7% interest rate       61,733    Rep Parts
 Total Indirect Operating Costs                                      Sum indirect oper costs + capital recovery cost           143,421

Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                  1,942,919   Uncontrolled Emission R
Pollutant Removed (tons/yr)                                                                                                          18          Emission
Cost per ton of PM Removed                                                                                                      105,101            Factor
                                                                                                                                                             0.04
                                                                                                                                          Controlled Emission Rate
                                                                                                                                                    Perf
                                                                                                                                                Guarantee

                                                                                                                                          Emission Reduction T/yr

                                                                                                                                          Electrical Consumption Re

                                                                                                                                          Blower



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                                                         BART ANALYSIS 2004
                                                           FABRIC FILTER
 Capital Recovery Factors
 Primary Installation
 Interest Rate                       7.0%
 Equipment Life                         20 years
 CRF                               0.0944

 Catalyst Replacement Cost
 Catalyst Life                          2 years
 CRF                               0.5531
                                                3
 Catalyst cost per unit               650 $/ft
                                            3
 Amount Required                         0 ft
 Catalyst Cost                           0 Cost adjusted for freight & sales tax
 Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
 Total Installed Cost                    0
 Annualized Cost                         0

 Replacement Parts & Equipment
 Equipment Life                    2 years
 CRF                         0.5531
 Rep part cost per unit        35.53 $ each
 Amount Required         6126.29084 Number
 Total Rep Parts Cost       241,631 Cost adjusted for freight & sales tax
 Installation Labor          18,140 10 min per bag (13 hr total) Labor at $29.65/hr
 Total Installed Cost       259,771
 Annualized Cost            143,677

 Total Cost Replacement Parts (Bags)                                259,771

 Design Flow       109,000 dscfm                    123864 scfm
                      1200 Temp Deg F
                       12% % Moisture
                   382,893 acfm

ions                                       Annual hours of operation:     8,760
                                           Utilization Rate:              90.0%
    Unit       Unit of     Use                  Unit of       Annual         Annual    Comments
    Cost $     Measure    Rate                 Measure         Use*           Cost
        25.38 Hr                         2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           NA                                                         NA           NA Calc'd as % of labor costs
        17.77 Hr                         1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
           NA                                                         NA           NA Calc'd as % of labor costs
e Management & Replacements
        0.047 kW-hr           3643 kW-hr                          28,718,263       1,347,461 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity
            4.24 Mft3                   0 scfm                            0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
            0.22 Mgal                   0 gpm                             0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
            0.27 Mscf              765.79 Mscfm                     362,248          99,296 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity
             300 Ton                    0 lb-mole/hr                      0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
             300 Ton                    0 lb-mole/hr                      0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
           25.38 Ton                0.002 ton/hr                         17             422 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
             273 Ton                0.000 ton/hr                          0               0 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
             1.5 Mgal                   0 gpm                             0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
            650 ft3                     0 ft3                  2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    35.53299492 bag            6126.29084 bags                 2 yr life            143,677 $/bag, 6,126.3 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                           *annual use rate is in same units of measurement as the unit cost factor
                                                    Emission Control Rate Calculation
Rate
     Unit of        Flow    Unit of Control Eff.              Emis Rate
     Measure        Rate    Measure     %                       T/yr           Comments/Notes
  lb/MMBtu             134 MMBTU/HR    NA                                 18
te
     Unit of        Flow       Unit of      Control Eff.      Emis Rate
     Measure        Rate       Measure          %               T/yr      Comments/Notes
                                                 99.99%               0.0 Currently assumes 95%.
r                                                                      18

equirements Kilowatts
     Flow acfm    D P in H2O       Blower-Motor Eff              kW
       382,893          6               0.65                    3642.6         OAQPS Cost Cont Manual 6th ed - Eq 1.14



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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                3,085,022
            Instrumentation                                            10% of control device cost (A)                                        308,502
            IN Sales Taxes                                              6% of control device cost (A)                                        185,101
            Freight                                                     5% of control device cost (A)                                        154,251

           Purchased Equipment Total (B)                               21%                                                                 3,732,877
           Direct installation costs
             Foundations & supports                                     4% of purchased equip cost (B)                                       149,315
             Handling & erection                                       50% of purchased equip cost (B)                                     1,866,438
             Electrical                                                 8% of purchased equip cost (B)                                       298,630
             Piping                                                     1% of purchased equip cost (B)                                        37,329
             Insulation for ductwork                                    7% of purchased equip cost (B)                                       261,301
             Painting                                                   4% of purchased equip cost (B)                                       149,315
           Installation Total                                          74%                                                                 2,762,329
             Site Preparation, as required                                 Site Specific                                                   NA
             Buildings, as required                                        Site Specific                                                   NA

         Total Direct Capital Cost                                                                                                         6,495,205

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                       373,288
             Construction and field expense                            20% of purchased equip cost (B)                                       746,575
             Contractor fees                                           10% of purchased equip cost (B)                                       373,288
             Startup                                                    1% of purchased equip cost (B)                                        37,329
             Performance test                                           1% of purchased equip cost (B)                                        37,329
             Contingencies                                              3% of purchased equip cost (B)                                       111,986
        Total Indirect Capital Costs                                   45%                                                                 1,679,795
       Total Capital Investment (TCI) = DC + IC                                                                                            8,175,000


       OPERATING COSTS
         Direct Operating Costs
             Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
             Supervisor                                                15% of operator labor costs                                            7,504
             Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
             Maintenance Materials                                    100% of maintenance labor costs                                        17,509
             Replacement parts, bags                                                                                                        259,771
             Utilities
                  Electricity                                          0.05 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity          1,347,461
                  Compressed Air                                       0.27 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity                99,296
                   Solid Waste Disposal                               25.38 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr                                   422

         Total Annual Direct Operating Costs (DC)                                                                                          1,799,498

         Indirect Operating Costs
             Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                     55,528
             Administration (2% total capital costs)                    2% of total capital costs (TCI)                                     163,500
             Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                      81,750
             Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                       81,750
             Capital Recovery                                           9% for a 20- year equipment life and a 7% interest rate              771,662
         Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                 1,154,190

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        2,953,688
       Pollutant Removed (tons/yr)                                                                                                                18
       Cost per ton of PM Removed                                                                                                            159,779




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                                                                                      BART ANALYSIS 2004
                                                                                        FABRIC FILTER
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                        7.0%
                             Equipment Life                          20 years
                             CRF                                0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                           2 years
                             CRF                                0.5531
                             Catalyst cost per unit                650 $/ft3
                                                                         3
                             Amount Required                          0 ft
                             Catalyst Cost                            0 Cost adjusted for freight & sales tax
                             Installation Labor                       0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                     0
                             Annualized Cost                          0

                             Replacement Parts & Equipment
                             Equipment Life                    2 years
                             CRF                         0.5531
                             Rep part cost per unit        35.53 $ each
                             Amount Required         6126.29084 Number
                             Total Rep Parts Cost       241,631 Cost adjusted for freight & sales tax
                             Installation Labor          18,140 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost       259,771
                             Annualized Cost            143,677

                             Total Cost Replacement Parts (Bags)                                259,771

                             Design Flow        109,000 dscfm                   123864 scfm
                                                   1200 Temp Deg F
                                                    12% % Moisture
                                                382,893 acfm

Operating Cost Calculations                                             Annual hours of operation:     8,760
                                                                        Utilization Rate:              90.0%
                             Unit        Unit of    Use                      Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                     Measure         Use*           Cost
Op Labor                         25.38 Hr                             2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                             NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                             1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                             NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           3643 kW-hr                             28,718,263        1,347,461 $/kW-hr, 3,642.6 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                     0 scfm                           0                0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.22 Mgal                     0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.27 Mscf                765.79 Mscfm                    362,248           99,296 $/Mscf, 765.8 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     300 Ton                      0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                              300 Ton                      0 lb-mole/hr                     0                0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                           25.38 Ton                  0.002 ton/hr                        17              422 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
Haz W Disp                              273 Ton                  0.000 ton/hr                         0                0 $/Ton, 0.035 lb/MMBtu, 8760 hr/yr
WW Treat                                 1.5 Mgal                    0 gpm                            0                0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                              650 ft3                        0 ft
                                                                         3
                                                                                           2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                     35.53299492 bag               6126.29084 bags                2 yr life            143,677 $/bag, 6,126.3 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission            Unit of               Flow    Unit of Control Eff.              Emis Rate
         Factor            Measure               Rate    Measure     %                       T/yr           Comments/Notes
                   0.04 lb/MMBtu                    134 MMBTU/HR    NA                                 18
Controlled Emission Rate
          Perf             Unit of               Flow       Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate       Measure          %               T/yr      Comments/Notes
                                                                              99.99%               0.0 Currently assumes 95%.
Emission Reduction T/yr                                                                            18

Electrical Consumption Requirements Kilowatts
                                Flow acfm      D P in H2O       Blower-Motor Eff               kW
Blower                          382,893             6                0.65                     3642.6        OAQPS Cost Cont Manual 6th ed - Eq 1.14




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                                                                                   BART ANALYSIS 2004
                                                                            WET ELECTROSTATIC PRECIPITATOR
             CAPITAL COSTS
              Direct Capital Costs
                Purchased Equipment (1)
                  ESP + auxillary equipment                                                                                                                 844,525
                  Instrumentation                                               10% of control device cost (A)                                               84,452
                  IN Sales Taxes                                                 6% of control device cost (A)                                               50,671
                  Freight                                                        5% of control device cost (A)                                               42,226
                Purchased Equipment Total (B)                                   21%                                                                       1,021,875

                 Direct Installation Costs
                   Foundations & supports                                        4% of purchased equip cost (B)                                                40,875
                   Handling & erection                                          50% of purchased equip cost (B)                                               510,938
                   Electrical                                                    8% of purchased equip cost (B)                                                81,750
                   Piping                                                        1% of purchased equip cost (B)                                                10,219
                   Insulation for ductwork                                       2% of purchased equip cost (B)                                                20,438
                   Painting                                                      2% of purchased equip cost (B)                                                20,438
                 Direct Installation Costs                                                                                                                    684,656
                   Site Preparation, as required                                      Site Specific                                                      NA
                   Buildings, as required                                             Site Specific                                                      NA

               Total Direct Capital Costs, DC                                   67%                                                                       1,706,531

              Indirect Capital Costs
                   Engineering                                                  20% of purchased equip cost (B)                                               204,375
                   Construction & field expenses                                20% of purchased equip cost (B)                                               204,375
                   Constractor fees                                             10% of purchased equip cost (B)                                               102,188
                   Start-up                                                      1% of purchased equip cost (B)                                                10,219
                   Performance Test                                              1% of purchased equip cost (B)
                   Model Study                                                   2% of purchased equip cost (B)                                              20,438
                   Contingencies                                                 3% of purchased equip cost (B)                                              30,656
              Total Indirect Capital Costs                                      57%                                                                         572,250
             Total Capital Investment (TCI) = DC + IC                                                                                                     2,278,781



             OPERATING COSTS
               Direct Operating Costs
                   Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                    25,013
                   Supervisor                                                   15% of operator costs                                                           3,752
                   Coordinator                                                  33% of operator costs                                                           8,254
                 Operating materials
                  Maintenance Labor                                           0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                               22,091
                  Maintenance Materials                                          1% of purchased equipment costs                                               10,219
                  Utilities
                       Electricity                                              0.05 $/kW-hr, 628.3 kW-hr, 8760 hr/yr, 90.0% of capacity                    232,437
                       Water                                                    0.22 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity                     364,086
                       Solid Waste Disposal                                      NA                                                                               -
                       Wastewater Treatment                                     1.52 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity                   2,482,407
                       Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
               Total Annual Direct Operating Costs, DC                                                                                                    3,148,259

               Indirect Operating Costs
                    Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                              36,644
                   Administration (2% total capital costs)                       2% of total capital costs (TCI)                                               45,576
                   Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                               22,788
                   Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                               22,788
                   Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                      215,101
               Total Indirect Operating Costs                                                                                                                 342,897

             Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 3,491,156
             Pollutant Removed (tons/yr)                                                                                                                       16.6
             Cost per ton of PM Removed                                                                                                                     209,815




Furnace Wet ESP.xls WESP Lo(e)-Lo(c)                                                                                                                                    Page 1 of 8
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                                                                                             BART ANALYSIS 2004
                                                                                      WET ELECTROSTATIC PRECIPITATOR
                                  Capital Recovery Factors
                                  Primary Installation
                                  Interest Rate                                    7.0%
                                  Equipment Life                                      20 years
                                  CRF                                            0.0944

                                  Catalyst Replacement Cost
                                  Catalyst Life                                       2 years
                                  CRF                                            0.5531
                                  Catalyst cost per unit                             650 $/ft3
                                  Amount Required                                        0 ft3
                                  Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                  Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                  Total Installed Cost                                   0
                                  Annualized Cost                                        0

                                  Replacement Parts & Equipment
                                  Equipment Life                                      2
                                  CRF                                            0.5531
                                  Rep part cost per unit                          33.72 $ each
                                  Amount Required                                     0 Number
                                  Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                  Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                  Total Installed Cost                                0
                                  Annualized Cost                                     0

                                  Total Cost Replacement Parts & Catalyst                                              0

                                  Design Flow                   109,000 dscfm                     123864 scfm
                                                                   1200 Temp Deg F
                                                                    12% % Moisture
                                                                382,893 acfm

    Operating Cost Calculations                                                            Annual hours of operation: 8,760
                                                                                           Utilization Rate:           90.0%
                                        Unit                Unit of           Use             Unit of        Annual       Annual    Comments
    Item                                Cost $              Measure           Rate           Measure          Use*         Cost
    Op Labor                                     25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                                     NA                                                              NA           NA Calc'd as % of labor costs
    Maint Labor                            0.12 $/ft2 collector                116,371 ft2 collector area                       13,646 $/ft2 collector area; $5775 if < 50,000 ft 2
    Maint Mtls                              NA                                                                      NA             1% of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                           0.047 kW-hr                                628 kW-hr               4,953,910        232,437 $/kW-hr, 628.3 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                                   4.24 Mft3                             0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                         0.22 Mgal                         3446 gpm                 1,630,114         364,086 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                      0.27 Mscf                             0 Mscfm                      0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                           280 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    Reagent #2                                    300 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    SW Disposal                                     25 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
    Haz W Disp                                    273 Ton                           0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
    WW Treat                                      1.52 Mgal                         3446 gpm                 1,630,114       2,482,407 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity

    Catalyst                                       650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                                    33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                            Emission Control Rate Calculation
    Uncontrolled Emission Rate
            Emission               Unit of                     Flow         Unit of Control Eff.           Emis Rate
              Factor               Measure                     Rate        Measure      %                    T/yr     Comments/Notes
                         0.04 lbs/Mmbtu                               134 MMBTU/HR     NA                       18.49
    Controlled Emission Rate
               Perf                Unit of                     Flow         Unit of        Control Eff.    Emis Rate
            Guarantee              Measure                     Rate         Measure            %             T/yr      Comments/Notes
                                                                                              90%                 1.8 Currently assumes 90%.
    Emission Reduction T/yr                                                                                       16.6

                                  Electrical Consumption Requirements Kilowatts
                                                            Flow acfm       D P in H2O         Blower-Motor Eff               kW
                                  Blower                    382,893             5                     0.65                   344.6      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                            Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                  Pump 1                     3446             60               0.8           0.9             54.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                  Pump 2                       0              60               0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                            Area sqft       TR pwr          # Hoppers      Htr Pwr
                                  ESP                       116,371          225.8              2             4              229.8      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

    Caustic Use                                   4.22 lb/hr SO2                     2.50 lb NaOH/lb SO2                         0.005 T/hr Caustic
    Lime Use                                      4.22 lb/hr SO2                     1.53 lb Lime/lb SO2                         0.003 T/hr Lime


    Estimate Area (ft2)
    Area #1                                   48503 ft2
    Flow #1                                  159588 acfm
    Flow #2                                382,893 acfm
    Area #2                                116371.3 ft2




Furnace Wet ESP.xls WESP Lo(e)-Lo(c)                                                                                                                                                                  Page 2 of 8
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                                                                                   BART ANALYSIS 2004
                                                                            WET ELECTROSTATIC PRECIPITATOR
             CAPITAL COSTS
              Direct Capital Costs
                Purchased Equipment (1)
                  ESP + auxillary equipment                                                                                                               8,203,955
                  Instrumentation                                               10% of control device cost (A)                                              820,396
                  IN Sales Taxes                                                 6% of control device cost (A)                                              492,237
                  Freight                                                        5% of control device cost (A)                                              410,198
                Purchased Equipment Total (B)                                   21%                                                                       9,926,786

                  Direct Installation Costs
                    Foundations & supports                                       4% of purchased equip cost (B)                                             397,071
                    Handling & erection                                         50% of purchased equip cost (B)                                           4,963,393
                    Electrical                                                   8% of purchased equip cost (B)                                             794,143
                    Piping                                                       1% of purchased equip cost (B)                                              99,268
                    Insulation for ductwork                                      2% of purchased equip cost (B)                                             198,536
                    Painting                                                     2% of purchased equip cost (B)                                             198,536
                  Direct Installation Costs                                                                                                               6,650,946
                    Site Preparation, as required                                     Site Specific                                                      NA
                    Buildings, as required                                            Site Specific                                                      NA

               Total Direct Capital Costs, DC                                   67%                                                                      16,577,732

              Indirect Capital Costs
                   Engineering                                                  20% of purchased equip cost (B)                                           1,985,357
                   Construction & field expenses                                20% of purchased equip cost (B)                                           1,985,357
                   Constractor fees                                             10% of purchased equip cost (B)                                             992,679
                   Start-up                                                      1% of purchased equip cost (B)                                              99,268
                   Performance Test                                              1% of purchased equip cost (B)
                   Model Study                                                   2% of purchased equip cost (B)                                             198,536
                   Contingencies                                                 3% of purchased equip cost (B)                                             297,804
              Total Indirect Capital Costs                                      57%                                                                       5,559,000
             Total Capital Investment (TCI) = DC + IC                                                                                                    22,136,732



             OPERATING COSTS
               Direct Operating Costs
                   Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                  25,013
                   Supervisor                                                   15% of operator costs                                                         3,752
                   Coordinator                                                  33% of operator costs                                                         8,254
                  Operating materials
                   Maintenance Labor                                          0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                             95,685
                   Maintenance Materials                                         1% of purchased equipment costs                                             99,268
                   Utilities
                       Electricity                                              0.05 $/kW-hr, 628.3 kW-hr, 8760 hr/yr, 90.0% of capacity                    232,437
                       Water                                                    0.22 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity                     364,086
                       Solid Waste Disposal                                      NA                                                                               -
                       Wastewater Treatment                                     1.52 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity                   2,482,407
                       Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
               Total Annual Direct Operating Costs, DC                                                                                                    3,310,903

               Indirect Operating Costs
                    Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                           134,231
                   Administration (2% total capital costs)                       2% of total capital costs (TCI)                                            442,735
                   Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                            221,367
                   Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                            221,367
                   Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                  2,089,551
               Total Indirect Operating Costs                                                                                                             3,109,251

             Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 6,420,154
             Pollutant Removed (tons/yr)                                                                                                                       16.6
             Cost per ton of PM Removed                                                                                                                     385,846




Furnace Wet ESP.xls WESP Lo(e)-Hi(c)                                                                                                                                  Page 3 of 8
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                                                                                             BART ANALYSIS 2004
                                                                                      WET ELECTROSTATIC PRECIPITATOR
                                  Capital Recovery Factors
                                  Primary Installation
                                  Interest Rate                                    7.0%
                                  Equipment Life                                      20 years
                                  CRF                                            0.0944

                                  Catalyst Replacement Cost
                                  Catalyst Life                                       2 years
                                  CRF                                            0.5531
                                  Catalyst cost per unit                             650 $/ft3
                                  Amount Required                                        0 ft3
                                  Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                  Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                  Total Installed Cost                                   0
                                  Annualized Cost                                        0

                                  Replacement Parts & Equipment
                                  Equipment Life                                      2
                                  CRF                                            0.5531
                                  Rep part cost per unit                          33.72 $ each
                                  Amount Required                                     0 Number
                                  Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                  Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                  Total Installed Cost                                0
                                  Annualized Cost                                     0

                                  Total Cost Replacement Parts & Catalyst                                              0

                                  Design Flow                   109,000 dscfm                     123864 scfm
                                                                   1200 Temp Deg F
                                                                    12% % Moisture
                                                                382,893 acfm

    Operating Cost Calculations                                                            Annual hours of operation: 8,760
                                                                                           Utilization Rate:           90.0%
                                        Unit                Unit of           Use             Unit of        Annual       Annual    Comments
    Item                                Cost $              Measure           Rate           Measure          Use*         Cost
    Op Labor                                     25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                                     NA                                                              NA           NA Calc'd as % of labor costs
    Maint Labor                            0.12 $/ft2 collector                116,371 ft2 collector area                       13,646 $/ft2 collector area; $5775 if < 50,000 ft 2
    Maint Mtls                              NA                                                                      NA             1% of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                           0.047 kW-hr                                628 kW-hr               4,953,910        232,437 $/kW-hr, 628.3 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                                   4.24 Mft3                             0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                         0.22 Mgal                         3446 gpm                 1,630,114         364,086 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                      0.27 Mscf                             0 Mscfm                      0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                           280 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    Reagent #2                                    300 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    SW Disposal                                     25 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
    Haz W Disp                                    273 Ton                           0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
    WW Treat                                      1.52 Mgal                         3446 gpm                 1,630,114       2,482,407 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity

    Catalyst                                       650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                                    33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                            Emission Control Rate Calculation
    Uncontrolled Emission Rate
            Emission               Unit of                     Flow         Unit of Control Eff.           Emis Rate
              Factor               Measure                     Rate        Measure      %                    T/yr     Comments/Notes
                         0.04 lbs/Mmbtu                               134 MMBTU/HR     NA                       18.49
    Controlled Emission Rate
               Perf                Unit of                     Flow         Unit of        Control Eff.    Emis Rate
            Guarantee              Measure                     Rate         Measure            %             T/yr      Comments/Notes
                                                                                              90%                 1.8 Currently assumes 90%.
    Emission Reduction T/yr                                                                                       16.6

                                  Electrical Consumption Requirements Kilowatts
                                                            Flow acfm       D P in H2O         Blower-Motor Eff               kW
                                  Blower                    382,893             5                     0.65                   344.6      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                            Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                  Pump 1                     3446             60               0.8           0.9             54.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                  Pump 2                       0              60               0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                            Area sqft       TR pwr          # Hoppers      Htr Pwr
                                  ESP                       116,371          225.8              2             4              229.8      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

    Caustic Use                                   4.22 lb/hr SO2                     2.50 lb NaOH/lb SO2                         0.005 T/hr Caustic
    Lime Use                                      4.22 lb/hr SO2                     1.53 lb Lime/lb SO2                         0.003 T/hr Lime


    Estimate Area (ft2)
    Area #1                                   48503 ft2
    Flow #1                                  159588 acfm
    Flow #2                                382,893 acfm
    Area #2                                116371.3 ft2




Furnace Wet ESP.xls WESP Lo(e)-Hi(c)                                                                                                                                                                  Page 4 of 8
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                                                                      BART ANALYSIS 2004
                                                               WET ELECTROSTATIC PRECIPITATOR
CAPITAL COSTS                                                                                                                                                                            Capital Recovery F
 Direct Capital Costs                                                                                                                                                                    Primary Installatio
   Purchased Equipment (1)                                                                                                                                                               Interest Rate
     ESP + auxillary equipment                                                                                                                     844,525                               Equipment Life
     Instrumentation                                               10% of control device cost (A)                                                   84,452                               CRF
     IN Sales Taxes                                                 6% of control device cost (A)                                                   50,671
     Freight                                                        5% of control device cost (A)                                                   42,226                               Catalyst Replacem
   Purchased Equipment Total (B)                                   21%                                                                           1,021,875                               Catalyst Life
                                                                                                                                                                                         CRF
   Direct Installation Costs                                                                                                                                                             Catalyst cost per un
     Foundations & supports                                         4% of purchased equip cost (B)                                                    40,875                             Amount Required
     Handling & erection                                           50% of purchased equip cost (B)                                                   510,938                             Catalyst Cost
     Electrical                                                     8% of purchased equip cost (B)                                                    81,750                             Installation Labor
     Piping                                                         1% of purchased equip cost (B)                                                    10,219                             Total Installed Cost
     Insulation for ductwork                                        2% of purchased equip cost (B)                                                    20,438                             Annualized Cost
     Painting                                                       2% of purchased equip cost (B)                                                    20,438
   Direct Installation Costs                                                                                                                         684,656                             Replacement Parts
     Site Preparation, as required                                       Site Specific                                                          NA                                       Equipment Life
     Buildings, as required                                              Site Specific                                                          NA                                       CRF
                                                                                                                                                                                         Rep part cost per un
 Total Direct Capital Costs, DC                                    67%                                                                           1,706,531                               Amount Required
                                                                                                                                                                                         Total Rep Parts Cos
 Indirect Capital Costs                                                                                                                                                                  Installation Labor
      Engineering                                                  20% of purchased equip cost (B)                                                   204,375                             Total Installed Cost
      Construction & field expenses                                20% of purchased equip cost (B)                                                   204,375                             Annualized Cost
      Constractor fees                                             10% of purchased equip cost (B)                                                   102,188
      Start-up                                                      1% of purchased equip cost (B)                                                    10,219                             Total Cost Replace
      Performance Test                                              1% of purchased equip cost (B)
      Model Study                                                   2% of purchased equip cost (B)                                                  20,438                               Design Flow
      Contingencies                                                 3% of purchased equip cost (B)                                                  30,656
 Total Indirect Capital Costs                                      57%                                                                             572,250
Total Capital Investment (TCI) = DC + IC                                                                                                         2,278,781

                                                                                                                                                               Operating Cost Calculations
OPERATING COSTS
 Direct Operating Costs                                                                                                                                                                         Unit
     Operator                                                     25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                        25,013   Item                             Cost $
     Supervisor                                                    15% of operator costs                                                               3,752   Op Labor                                  25.38
     Coordinator                                                   33% of operator costs                                                               8,254   Supervisor                                  NA
   Operating materials                                                                                                                                         Maint Labor                            0.12
    Maintenance Labor                                            0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                                   22,091   Maint Mtls                              NA
    Maintenance Materials                                           1% of purchased equipment costs                                                   10,219   Utilities, Reagents, Waste Management & Rep
    Utilities                                                                                                                                                  Electricity                           0.047
         Electricity                                               0.05 $/kW-hr, 628.3 kW-hr, 8760 hr/yr, 90.0% of capacity                        232,437     Natural Gas                                4.24
         Water                                                     0.22 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity                         364,086     Water                                      0.22
         Solid Waste Disposal                                       NA                                                                                   -     Comp Air                                   0.27
         Wastewater Treatment                                      1.52 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity                       2,482,407     Reagent #1(Caustic)                        280
         Reagent (Caustic)                                       280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                     -     Reagent #2                                 300
 Total Annual Direct Operating Costs, DC                                                                                                         3,148,259     SW Disposal                                  25
                                                                                                                                                               Haz W Disp                                 273
 Indirect Operating Costs                                                                                                                                      WW Treat                                   1.52
     Overhead                                                      60% of oper, maint & supv labor + maint mtl costs                                  36,644
                                                                                                                                                               Catalyst                                    650
     Administration (2% total capital costs)                        2% of total capital costs (TCI)                                                   45,576   Rep Parts                                 33.72
     Property tax (1% total capital costs)                          1% of total capital costs (TCI)                                                   22,788
     Insurance (1% total capital costs)                             1% of total capital costs (TCI)                                                   22,788
     Captial Recovery                                               9% for a 20- year equipment life and a 7% interest rate                          215,101   Uncontrolled Emission Rate
 Total Indirect Operating Costs                                                                                                                      342,897           Emission               Unit of
                                                                                                                                                                         Factor               Measure
Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                     3,491,156                          0.04 lbs/Mmbtu
Pollutant Removed (tons/yr)                                                                                                                           18.5     Controlled Emission Rate
Cost per ton of PM Removed                                                                                                                         188,853                Perf                Unit of
                                                                                                                                                                       Guarantee              Measure

                                                                                                                                                               Emission Reduction T/yr

                                                                                                                                                                                         Electrical Consump

                                                                                                                                                                                         Blower

                                                                                                                                                                                         Pump 1
                                                                                                                                                                                         Pump 2

                                                                                                                                                                                         ESP

                                                                                                                                                               Caustic Use                                4.22
                                                                                                                                                               Lime Use                                   4.22


                                                                                                                                                               Estimate Area (ft2)
                                                                                                                                                               Area #1                                  48503
                                                                                                                                                               Flow #1                                 159588
                                                                                                                                                               Flow #2                               382,893
                                                                                                                                                               Area #2                               116371.3




          Furnace Wet ESP.xls WESP Hi(e)-Lo(c)                                                                                                                                         Page 5 of 8
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                                                                       BART ANALYSIS 2004
                                                                WET ELECTROSTATIC PRECIPITATOR
                             Factors
                            ion
                                                             7.0%
                                                                20 years
                                                           0.0944

                            ment Cost
                                                                2 years
                                                           0.5531
                            nit                                650 $/ft3
                                                                   0 ft3
                                                                   0 Cost adjusted for freight & sales tax
                                                                   0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             t                                     0
                                                                   0

                            ts & Equipment
                                                                2
                                                           0.5531
                            nit                             33.72 $ each
                                                                0 Number
                             st                                 0 Cost adjusted for freight & sales tax
                                                                0 10 min per bag (13 hr total) Labor at $29.65/hr
                             t                                  0
                                                                0

                             ement Parts & Catalyst                                              0

                                          109,000 dscfm                     123864 scfm
                                             1200 Temp Deg F
                                              12% % Moisture
                                          382,893 acfm

                                                                     Annual hours of operation: 8,760
                                                                     Utilization Rate:           90.0%
                                      Unit of           Use             Unit of        Annual       Annual    Comments
                                      Measure           Rate           Measure          Use*         Cost
                                 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
                                                                                             NA           NA Calc'd as % of labor costs
                                 $/ft2 collector         116,371 ft2 collector area                       13,646 $/ft2 collector area; $5775 if < 50,000 ft 2
                                                                                              NA             1% of purchased equipment costs
                            placements
                             kW-hr                             628 kW-hr               4,953,910        232,437 $/kW-hr, 628.3 kW-hr, 8760 hr/yr, 90.0% of capacity
                                 Mft3                             0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
                                 Mgal                         3446 gpm                 1,630,114         364,086 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity
                                 Mscf                             0 Mscfm                      0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
                                 Ton                              0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
                                 Ton                              0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
                                 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
                                 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
                                 Mgal                         3446 gpm                 1,630,114       2,482,407 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity

                                 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                 *annual use rate is in same units of measurement as the unit cost factor
                                                                      Emission Control Rate Calculation

                                         Flow         Unit of Control Eff.           Emis Rate
                                         Rate        Measure      %                    T/yr     Comments/Notes
                                                134 MMBTU/HR     NA                       18.49

                                         Flow         Unit of        Control Eff.    Emis Rate
                                         Rate         Measure            %             T/yr      Comments/Notes
                                                                       99.99%               0.0 Currently assumes 99.99%.
                                                                                            18.5

                            ption Requirements Kilowatts
                                      Flow acfm       D P in H2O         Blower-Motor Eff               kW
                                      382,893             5                     0.65                   344.6      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                      Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                       3446             60               0.8           0.9             54.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                         0              60               0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                      Area sqft       TR pwr          # Hoppers      Htr Pwr
                                      116,371          225.8              2             4              229.8      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

                                 lb/hr SO2                     2.50 lb NaOH/lb SO2                         0.005 T/hr Caustic
                                 lb/hr SO2                     1.53 lb Lime/lb SO2                         0.003 T/hr Lime




                                 ft2
                                 acfm
                                 acfm
                                 ft2




Furnace Wet ESP.xls WESP Hi(e)-Lo(c)                                                                                                                                                      Page 6 of 8
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                                                                                   BART ANALYSIS 2004
                                                                            WET ELECTROSTATIC PRECIPITATOR
             CAPITAL COSTS
              Direct Capital Costs
                Purchased Equipment (1)
                  ESP + auxillary equipment                                                                                                               8,203,955
                  Instrumentation                                               10% of control device cost (A)                                              820,396
                  IN Sales Taxes                                                 6% of control device cost (A)                                              492,237
                  Freight                                                        5% of control device cost (A)                                              410,198
                Purchased Equipment Total (B)                                   21%                                                                       9,926,786

                  Direct Installation Costs
                    Foundations & supports                                       4% of purchased equip cost (B)                                             397,071
                    Handling & erection                                         50% of purchased equip cost (B)                                           4,963,393
                    Electrical                                                   8% of purchased equip cost (B)                                             794,143
                    Piping                                                       1% of purchased equip cost (B)                                              99,268
                    Insulation for ductwork                                      2% of purchased equip cost (B)                                             198,536
                    Painting                                                     2% of purchased equip cost (B)                                             198,536
                  Direct Installation Costs                                                                                                               6,650,946
                    Site Preparation, as required                                     Site Specific                                                      NA
                    Buildings, as required                                            Site Specific                                                      NA

               Total Direct Capital Costs, DC                                   67%                                                                      16,577,732

              Indirect Capital Costs
                   Engineering                                                  20% of purchased equip cost (B)                                           1,985,357
                   Construction & field expenses                                20% of purchased equip cost (B)                                           1,985,357
                   Constractor fees                                             10% of purchased equip cost (B)                                             992,679
                   Start-up                                                      1% of purchased equip cost (B)                                              99,268
                   Performance Test                                              1% of purchased equip cost (B)
                   Model Study                                                   2% of purchased equip cost (B)                                             198,536
                   Contingencies                                                 3% of purchased equip cost (B)                                             297,804
              Total Indirect Capital Costs                                      57%                                                                       5,559,000
             Total Capital Investment (TCI) = DC + IC                                                                                                    22,136,732



             OPERATING COSTS
               Direct Operating Costs
                   Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                  25,013
                   Supervisor                                                   15% of operator costs                                                         3,752
                   Coordinator                                                  33% of operator costs                                                         8,254
                  Operating materials
                   Maintenance Labor                                          0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                             95,685
                   Maintenance Materials                                         1% of purchased equipment costs                                             99,268
                   Utilities
                       Electricity                                              0.05 $/kW-hr, 628.3 kW-hr, 8760 hr/yr, 90.0% of capacity                    232,437
                       Water                                                    0.22 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity                     364,086
                       Solid Waste Disposal                                      NA                                                                               -
                       Wastewater Treatment                                     1.52 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity                   2,482,407
                       Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
               Total Annual Direct Operating Costs, DC                                                                                                    3,310,903

               Indirect Operating Costs
                    Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                           134,231
                   Administration (2% total capital costs)                       2% of total capital costs (TCI)                                            442,735
                   Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                            221,367
                   Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                            221,367
                   Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                  2,089,551
               Total Indirect Operating Costs                                                                                                             3,109,251

             Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 6,420,154
             Pollutant Removed (tons/yr)                                                                                                                       18.5
             Cost per ton of PM Removed                                                                                                                     347,296




Furnace Wet ESP.xls WESP Hi(e)-Hi(c)                                                                                                                                  Page 7 of 8
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                                                                                              BART ANALYSIS 2004
                                                                                       WET ELECTROSTATIC PRECIPITATOR
                                   Capital Recovery Factors
                                   Primary Installation
                                   Interest Rate                                    7.0%
                                   Equipment Life                                      20 years
                                   CRF                                            0.0944

                                   Catalyst Replacement Cost
                                   Catalyst Life                                       2 years
                                   CRF                                            0.5531
                                   Catalyst cost per unit                             650 $/ft3
                                   Amount Required                                        0 ft3
                                   Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                   Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                   Total Installed Cost                                   0
                                   Annualized Cost                                        0

                                   Replacement Parts & Equipment
                                   Equipment Life                                      2
                                   CRF                                            0.5531
                                   Rep part cost per unit                          33.72 $ each
                                   Amount Required                                     0 Number
                                   Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                   Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                   Total Installed Cost                                0
                                   Annualized Cost                                     0

                                   Total Cost Replacement Parts & Catalyst                                              0

                                   Design Flow                   109,000 dscfm                     123864 scfm
                                                                    1200 Temp Deg F
                                                                     12% % Moisture
                                                                 382,893 acfm

    Operating Cost Calculations                                                             Annual hours of operation: 8,760
                                                                                            Utilization Rate:           90.0%
                                         Unit                Unit of           Use             Unit of        Annual       Annual    Comments
    Item                                 Cost $              Measure           Rate           Measure          Use*         Cost
    Op Labor                                      25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                                      NA                                                              NA           NA Calc'd as % of labor costs
    Maint Labor                            0.12 $/ft2 collector                 116,371 ft2 collector area                       13,646 $/ft2 collector area; $5775 if < 50,000 ft 2
    Maint Mtls                              NA                                                                       NA             1% of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                           0.047 kW-hr                                 628 kW-hr               4,953,910        232,437 $/kW-hr, 628.3 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                                    4.24 Mft3                             0 scfm                       0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                          0.22 Mgal                         3446 gpm                 1,630,114         364,086 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                       0.27 Mscf                             0 Mscfm                      0               0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                            280 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    Reagent #2                                     300 Ton                               0 lb-mole/hr                 0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    SW Disposal                                      25 Ton                          0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
    Haz W Disp                                     273 Ton                           0.000 ton/hr                     0               0 $/Ton, 0.035 lbs/Mmbtu, 8760 hr/yr
    WW Treat                                       1.52 Mgal                         3446 gpm                 1,630,114       2,482,407 $/Mgal, 3,446.0 gpm, 8760 hr/yr, 90.0% of capacity

    Catalyst                                        650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                                     33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                             Emission Control Rate Calculation
    Uncontrolled Emission Rate
            Emission               Unit of                      Flow         Unit of Control Eff.           Emis Rate
              Factor               Measure                      Rate        Measure      %                    T/yr     Comments/Notes
                         0.04 lbs/Mmbtu                                134 MMBTU/HR     NA                       18.49
    Controlled Emission Rate
               Perf                Unit of                      Flow         Unit of        Control Eff.    Emis Rate
            Guarantee              Measure                      Rate         Measure            %             T/yr      Comments/Notes
                                                                                              99.99%               0.0 Currently assumes 99.99%.
    Emission Reduction T/yr                                                                                        18.5

                                   Electrical Consumption Requirements Kilowatts
                                                             Flow acfm       D P in H2O         Blower-Motor Eff               kW
                                   Blower                    382,893             5                     0.65                   344.6      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                             Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                                   Pump 1                     3446             60               0.8           0.9             54.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                   Pump 2                       0              60               0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                             Area sqft       TR pwr          # Hoppers      Htr Pwr
                                   ESP                       116,371          225.8              2             4              229.8      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

    Caustic Use                                    4.22 lb/hr SO2                     2.50 lb NaOH/lb SO2                         0.005 T/hr Caustic
    Lime Use                                       4.22 lb/hr SO2                     1.53 lb Lime/lb SO2                         0.003 T/hr Lime


    Estimate Area (ft2)
    Area #1                                    48503 ft2
    Flow #1                                   159588 acfm
    Flow #2                                 382,893 acfm
    Area #2                                 116371.3 ft2




Furnace Wet ESP.xls WESP Hi(e)-Hi(c)                                                                                                                                                                   Page 8 of 8
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                     PM Coke Underfire
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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                 260,387
            Instrumentation                                            10% of control device cost (A)                                        26,039
            IN Sales Taxes                                              6% of control device cost (A)                                        15,623
            Freight                                                     5% of control device cost (A)                                        13,019

           Purchased Equipment Total (B)                               21%                                                                  315,068
           Direct installation costs
             Foundations & supports                                     4% of purchased equip cost (B)                                       12,603
             Handling & erection                                       50% of purchased equip cost (B)                                      157,534
             Electrical                                                 8% of purchased equip cost (B)                                       25,205
             Piping                                                     1% of purchased equip cost (B)                                        3,151
             Insulation for ductwork                                    7% of purchased equip cost (B)                                       22,055
             Painting                                                   4% of purchased equip cost (B)                                       12,603
           Installation Total                                          74%                                                                  233,151
             Site Preparation, as required                                 Site Specific                                                   NA
             Buildings, as required                                        Site Specific                                                   NA

         Total Direct Capital Cost                                                                                                          548,219

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                       31,507
             Construction and field expense                            20% of purchased equip cost (B)                                       63,014
             Contractor fees                                           10% of purchased equip cost (B)                                       31,507
             Startup                                                    1% of purchased equip cost (B)                                        3,151
             Performance test                                           1% of purchased equip cost (B)                                        3,151
             Contingencies                                              3% of purchased equip cost (B)                                        9,452
        Total Indirect Capital Costs                                   45%                                                                  141,781
       Total Capital Investment (TCI) = DC + IC                                                                                             690,000


       OPERATING COSTS
         Direct Operating Costs
             Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
             Supervisor                                                15% of operator labor costs                                            7,504
             Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
             Maintenance Materials                                    100% of maintenance labor costs                                        17,509
             Replacement parts, bags                                                                                                        156,848
             Utilities
                  Electricity                                          0.05 $/kW-hr, 2,199.4 kW-hr, 8760 hr/yr, 90.0% of capacity           813,585
                  Compressed Air                                       0.27 $/Mscf, 462.4 Mscfm, 8760 hr/yr, 90.0% of capacity               59,954
                   Solid Waste Disposal                               25.38 $/Ton, 0.468 lb/ton, 8760 hr/yr                                   3,555

         Total Annual Direct Operating Costs (DC)                                                                                          1,126,489

         Indirect Operating Costs
             Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                     55,528
             Administration (2% total capital costs)                    2% of total capital costs (TCI)                                      13,800
             Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                       6,900
             Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                       6,900
             Capital Recovery                                           9% for a 20- year equipment life and a 7% interest rate              65,131
         Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                  148,259

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        1,274,748
       Pollutant Removed (tons/yr)                                                                                                               156
       Cost per ton of PM Removed                                                                                                              8,192




Coke Underfire FF.xlsBaghouseLo(e)Lo(c)                                                                                                                Page 1 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                         FABRIC FILTER
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                       7.0%
                             Equipment Life                         20 years
                             CRF                               0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                          2 years
                             CRF                               0.5531
                             Catalyst cost per unit               650 $/ft3
                                                                        3
                             Amount Required                         0 ft
                             Catalyst Cost                           0 Cost adjusted for freight & sales tax
                             Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                    0
                             Annualized Cost                         0

                             Replacement Parts & Equipment
                             Equipment Life                    2 years
                             CRF                         0.5531
                             Rep part cost per unit        35.53 $ each
                             Amount Required         3699.00119 Number
                             Total Rep Parts Cost       145,895 Cost adjusted for freight & sales tax
                             Installation Labor          10,953 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost       156,848
                             Annualized Cost             86,751

                             Total Cost Replacement Parts (Bags)                               156,848

                             Design Flow        115,000 dscfm                  130682 scfm
                                                     490 Temp Deg F
                                                    12% % Moisture
                                                231,188 acfm

Operating Cost Calculations                                            Annual hours of operation:     8,760
                                                                       Utilization Rate:              90.0%
                             Unit        Unit of    Use                     Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                    Measure         Use*           Cost
Op Labor                         25.38 Hr                            2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                            NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                            1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                            NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           2199 kW-hr                            17,339,838        813,585 $/kW-hr, 2,199.4 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                    0 scfm                           0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.22 Mgal                    0 gpm                            0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.27 Mscf               462.38 Mscfm                    218,722          59,954 $/Mscf, 462.4 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     300 Ton                     0 lb-mole/hr                     0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                              300 Ton                     0 lb-mole/hr                     0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                           25.38 Ton                 0.018 ton/hr                       140           3,555 $/Ton, 0.468 lb/ton, 8760 hr/yr
Haz W Disp                              273 Ton                 0.000 ton/hr                         0               0 $/Ton, 0.468 lb/ton, 8760 hr/yr
WW Treat                                 1.5 Mgal                   0 gpm                            0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                               650 ft3                      0 ft
                                                                        3
                                                                                          2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                      35.53299492 bag             3699.00119 bags                2 yr life             86,751 $/bag, 3,699.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                      *annual use rate is in same units of measurement as the unit cost factor
                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission             Unit of             Flow       Unit of      Control Eff.      Emis Rate
         Factor            Measure               Rate     Measure           %               T/yr      Comments/Notes
                   0.47 lb/ton                  700,000 tpy                NA                     164
Controlled Emission Rate
          Perf              Unit of             Flow       Unit of      Control Eff.      Emis Rate
      Guarantee            Measure              Rate       Measure          %               T/yr      Comments/Notes
                                                                             95.00%               8.2 Currently assumes 95%.
Emission Reduction T/yr                                                                          156

Electrical Consumption Requirements Kilowatts
                                Flow acfm     D P in H2O       Blower-Motor Eff               kW
Blower                           231,188            6               0.65                     2199.4       OAQPS Cost Cont Manual 6th ed - Eq 1.14




            Coke Underfire FF.xlsBaghouseLo(e)Lo(c)                                                                                                                            Page 2 of 8
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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                3,254,840
            Instrumentation                                            10% of control device cost (A)                                        325,484
            IN Sales Taxes                                              6% of control device cost (A)                                        195,290
            Freight                                                     5% of control device cost (A)                                        162,742

            Purchased Equipment Total (B)                              21%                                                                 3,938,356
            Direct installation costs
              Foundations & supports                                    4% of purchased equip cost (B)                                       157,534
              Handling & erection                                      50% of purchased equip cost (B)                                     1,969,178
              Electrical                                                8% of purchased equip cost (B)                                       315,068
              Piping                                                    1% of purchased equip cost (B)                                        39,384
              Insulation for ductwork                                   7% of purchased equip cost (B)                                       275,685
              Painting                                                  4% of purchased equip cost (B)                                       157,534
            Installation Total                                         74%                                                                 2,914,384
              Site Preparation, as required                                Site Specific                                                   NA
              Buildings, as required                                       Site Specific                                                   NA

         Total Direct Capital Cost                                                                                                         6,852,740

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                       393,836
             Construction and field expense                            20% of purchased equip cost (B)                                       787,671
             Contractor fees                                           10% of purchased equip cost (B)                                       393,836
             Startup                                                    1% of purchased equip cost (B)                                        39,384
             Performance test                                           1% of purchased equip cost (B)                                        39,384
             Contingencies                                              3% of purchased equip cost (B)                                       118,151
        Total Indirect Capital Costs                                   45%                                                                 1,772,260
       Total Capital Investment (TCI) = DC + IC                                                                                            8,625,000


       OPERATING COSTS
         Direct Operating Costs
             Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
             Supervisor                                                15% of operator labor costs                                            7,504
             Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
             Maintenance Materials                                    100% of maintenance labor costs                                        17,509
             Replacement parts, bags                                                                                                        156,848
             Utilities
                  Electricity                                          0.05 $/kW-hr, 2,199.4 kW-hr, 8760 hr/yr, 90.0% of capacity           813,585
                  Compressed Air                                       0.27 $/Mscf, 462.4 Mscfm, 8760 hr/yr, 90.0% of capacity               59,954
                   Solid Waste Disposal                               25.38 $/Ton, 0.468 lb/ton, 8760 hr/yr                                   3,555

         Total Annual Direct Operating Costs (DC)                                                                                          1,126,489

         Indirect Operating Costs
             Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                     55,528
             Administration (2% total capital costs)                    2% of total capital costs (TCI)                                     172,500
             Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                      86,250
             Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                       86,250
             Capital Recovery                                           9% for a 20- year equipment life and a 7% interest rate              814,139
         Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                 1,214,667

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        2,341,156
       Pollutant Removed (tons/yr)                                                                                                               156
       Cost per ton of PM Removed                                                                                                             15,045




Coke Underfire FF.xlsBaghouseLo(e)Hi(c)                                                                                                                Page 3 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                         FABRIC FILTER
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                       7.0%
                             Equipment Life                         20 years
                             CRF                               0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                          2 years
                             CRF                               0.5531
                             Catalyst cost per unit               650 $/ft3
                                                                        3
                             Amount Required                         0 ft
                             Catalyst Cost                           0 Cost adjusted for freight & sales tax
                             Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                    0
                             Annualized Cost                         0

                             Replacement Parts & Equipment
                             Equipment Life                    2 years
                             CRF                         0.5531
                             Rep part cost per unit        35.53 $ each
                             Amount Required         3699.00119 Number
                             Total Rep Parts Cost       145,895 Cost adjusted for freight & sales tax
                             Installation Labor          10,953 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost       156,848
                             Annualized Cost             86,751

                             Total Cost Replacement Parts (Bags)                               156,848

                             Design Flow        115,000 dscfm                  130682 scfm
                                                     490 Temp Deg F
                                                    12% % Moisture
                                                231,188 acfm

Operating Cost Calculations                                            Annual hours of operation:     8,760
                                                                       Utilization Rate:              90.0%
                             Unit        Unit of    Use                     Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                    Measure         Use*           Cost
Op Labor                         25.38 Hr                            2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                            NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                            1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                            NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           2199 kW-hr                            17,339,838        813,585 $/kW-hr, 2,199.4 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                    0 scfm                           0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.22 Mgal                    0 gpm                            0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.27 Mscf               462.38 Mscfm                    218,722          59,954 $/Mscf, 462.4 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     300 Ton                     0 lb-mole/hr                     0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                              300 Ton                     0 lb-mole/hr                     0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                           25.38 Ton                 0.018 ton/hr                       140           3,555 $/Ton, 0.468 lb/ton, 8760 hr/yr
Haz W Disp                              273 Ton                 0.000 ton/hr                         0               0 $/Ton, 0.468 lb/ton, 8760 hr/yr
WW Treat                                 1.5 Mgal                   0 gpm                            0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                               650 ft3                      0 ft
                                                                        3
                                                                                          2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                      35.53299492 bag             3699.00119 bags                2 yr life             86,751 $/bag, 3,699.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                      *annual use rate is in same units of measurement as the unit cost factor
                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission             Unit of             Flow       Unit of      Control Eff.      Emis Rate
         Factor            Measure               Rate     Measure           %               T/yr      Comments/Notes
                   0.47 lb/ton                  700,000 tpy                NA                     164
Controlled Emission Rate
          Perf              Unit of              Flow      Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate      Measure          %               T/yr      Comments/Notes
                                                                             95.00%               8.2 Currently assumes 95%.
Emission Reduction T/yr                                                                          156

Electrical Consumption Requirements Kilowatts
                                Flow acfm     D P in H2O       Blower-Motor Eff               kW
Blower                           231,188              6             0.65                     2199.4       OAQPS Cost Cont Manual 6th ed - Eq 1.14




            Coke Underfire FF.xlsBaghouseLo(e)Hi(c)                                                                                                                            Page 4 of 8
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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                 260,387
            Instrumentation                                            10% of control device cost (A)                                        26,039
            IN Sales Taxes                                              6% of control device cost (A)                                        15,623
            Freight                                                     5% of control device cost (A)                                        13,019

            Purchased Equipment Total (B)                              21%                                                                  315,068
            Direct installation costs
              Foundations & supports                                    4% of purchased equip cost (B)                                       12,603
              Handling & erection                                      50% of purchased equip cost (B)                                      157,534
              Electrical                                                8% of purchased equip cost (B)                                       25,205
              Piping                                                    1% of purchased equip cost (B)                                        3,151
              Insulation for ductwork                                   7% of purchased equip cost (B)                                       22,055
              Painting                                                  4% of purchased equip cost (B)                                       12,603
            Installation Total                                         74%                                                                  233,151
              Site Preparation, as required                                Site Specific                                                   NA
              Buildings, as required                                       Site Specific                                                   NA

         Total Direct Capital Cost                                                                                                          548,219

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                       31,507
             Construction and field expense                            20% of purchased equip cost (B)                                       63,014
             Contractor fees                                           10% of purchased equip cost (B)                                       31,507
             Startup                                                    1% of purchased equip cost (B)                                        3,151
             Performance test                                           1% of purchased equip cost (B)                                        3,151
             Contingencies                                              3% of purchased equip cost (B)                                        9,452
        Total Indirect Capital Costs                                   45%                                                                  141,781
       Total Capital Investment (TCI) = DC + IC                                                                                             690,000


       OPERATING COSTS
         Direct Operating Costs
             Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
             Supervisor                                                15% of operator labor costs                                            7,504
             Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
             Maintenance Materials                                    100% of maintenance labor costs                                        17,509
             Replacement parts, bags                                                                                                        156,848
             Utilities
                  Electricity                                          0.05 $/kW-hr, 2,199.4 kW-hr, 8760 hr/yr, 90.0% of capacity           813,585
                  Compressed Air                                       0.27 $/Mscf, 462.4 Mscfm, 8760 hr/yr, 90.0% of capacity               59,954
                   Solid Waste Disposal                               25.38 $/Ton, 0.468 lb/ton, 8760 hr/yr                                   3,741

         Total Annual Direct Operating Costs (DC)                                                                                          1,126,675

         Indirect Operating Costs
             Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                     55,528
             Administration (2% total capital costs)                    2% of total capital costs (TCI)                                      13,800
             Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                       6,900
             Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                       6,900
             Capital Recovery                                           9% for a 20- year equipment life and a 7% interest rate              65,131
         Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                  148,259

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        1,274,935
       Pollutant Removed (tons/yr)                                                                                                               164
       Cost per ton of PM Removed                                                                                                              7,784




Coke Underfire FF.xlsBaghouseHi(e)Lo(c)                                                                                                                Page 5 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                         FABRIC FILTER
                             Capital Recovery Factors
                             Primary Installation
                             Interest Rate                       7.0%
                             Equipment Life                         20 years
                             CRF                               0.0944

                             Catalyst Replacement Cost
                             Catalyst Life                          2 years
                             CRF                               0.5531
                             Catalyst cost per unit               650 $/ft3
                                                                        3
                             Amount Required                         0 ft
                             Catalyst Cost                           0 Cost adjusted for freight & sales tax
                             Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                             Total Installed Cost                    0
                             Annualized Cost                         0

                             Replacement Parts & Equipment
                             Equipment Life                    2 years
                             CRF                         0.5531
                             Rep part cost per unit        35.53 $ each
                             Amount Required         3699.00119 Number
                             Total Rep Parts Cost       145,895 Cost adjusted for freight & sales tax
                             Installation Labor          10,953 10 min per bag (13 hr total) Labor at $29.65/hr
                             Total Installed Cost       156,848
                             Annualized Cost             86,751

                             Total Cost Replacement Parts (Bags)                               156,848

                             Design Flow        115,000 dscfm                  130682 scfm
                                                     490 Temp Deg F
                                                    12% % Moisture
                                                231,188 acfm

Operating Cost Calculations                                            Annual hours of operation:     8,760
                                                                       Utilization Rate:              90.0%
                             Unit        Unit of    Use                     Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                    Measure         Use*           Cost
Op Labor                         25.38 Hr                            2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                            NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                            1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                            NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           2199 kW-hr                            17,339,838        813,585 $/kW-hr, 2,199.4 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                            4.24 Mft3                    0 scfm                           0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                  0.22 Mgal                    0 gpm                            0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                               0.27 Mscf               462.38 Mscfm                    218,722          59,954 $/Mscf, 462.4 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                     300 Ton                     0 lb-mole/hr                     0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                              300 Ton                     0 lb-mole/hr                     0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                           25.38 Ton                 0.019 ton/hr                       147           3,741 $/Ton, 0.468 lb/ton, 8760 hr/yr
Haz W Disp                              273 Ton                 0.000 ton/hr                         0               0 $/Ton, 0.468 lb/ton, 8760 hr/yr
WW Treat                                 1.5 Mgal                   0 gpm                            0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                               650 ft3                      0 ft
                                                                        3
                                                                                          2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                      35.53299492 bag             3699.00119 bags                2 yr life             86,751 $/bag, 3,699.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                      *annual use rate is in same units of measurement as the unit cost factor
                                                                               Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission             Unit of             Flow       Unit of      Control Eff.      Emis Rate
         Factor            Measure               Rate     Measure           %               T/yr      Comments/Notes
                   0.47 lb/ton                  700,000 tpy                NA                     164
Controlled Emission Rate
          Perf              Unit of              Flow      Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate      Measure          %               T/yr      Comments/Notes
                                                                             99.99%               0.0 Currently assumes 95%.
Emission Reduction T/yr                                                                          164

Electrical Consumption Requirements Kilowatts
                                Flow acfm     D P in H2O       Blower-Motor Eff               kW
Blower                           231,188              6             0.65                     2199.4       OAQPS Cost Cont Manual 6th ed - Eq 1.14




            Coke Underfire FF.xlsBaghouseHi(e)Lo(c)                                                                                                                            Page 6 of 8
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                                                                  BART ANALYSIS 2004
                                                                    FABRIC FILTER
       CAPITAL COSTS
        Direct Capital Costs
          Purchased Equipment (1)
            Fabric Filter (EC) + bags + auxillary equipment                                                                                3,254,840
            Instrumentation                                            10% of control device cost (A)                                        325,484
            IN Sales Taxes                                              6% of control device cost (A)                                        195,290
            Freight                                                     5% of control device cost (A)                                        162,742

            Purchased Equipment Total (B)                              21%                                                                 3,938,356
            Direct installation costs
              Foundations & supports                                    4% of purchased equip cost (B)                                       157,534
              Handling & erection                                      50% of purchased equip cost (B)                                     1,969,178
              Electrical                                                8% of purchased equip cost (B)                                       315,068
              Piping                                                    1% of purchased equip cost (B)                                        39,384
              Insulation for ductwork                                   7% of purchased equip cost (B)                                       275,685
              Painting                                                  4% of purchased equip cost (B)                                       157,534
            Installation Total                                         74%                                                                 2,914,384
              Site Preparation, as required                                Site Specific                                                   NA
              Buildings, as required                                       Site Specific                                                   NA

         Total Direct Capital Cost                                                                                                         6,852,740

        Indirect Capital Costs
             Engineering                                               10% of purchased equip cost (B)                                       393,836
             Construction and field expense                            20% of purchased equip cost (B)                                       787,671
             Contractor fees                                           10% of purchased equip cost (B)                                       393,836
             Startup                                                    1% of purchased equip cost (B)                                        39,384
             Performance test                                           1% of purchased equip cost (B)                                        39,384
             Contingencies                                              3% of purchased equip cost (B)                                       118,151
        Total Indirect Capital Costs                                   45%                                                                 1,772,260
       Total Capital Investment (TCI) = DC + IC                                                                                            8,625,000


       OPERATING COSTS
         Direct Operating Costs
             Operating Labor                                          25.38 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           50,025
             Supervisor                                                15% of operator labor costs                                            7,504
             Maintenance Labor                                        17.77 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity           17,509
             Maintenance Materials                                    100% of maintenance labor costs                                        17,509
             Replacement parts, bags                                                                                                        156,848
             Utilities
                  Electricity                                          0.05 $/kW-hr, 2,199.4 kW-hr, 8760 hr/yr, 90.0% of capacity           813,585
                  Compressed Air                                       0.27 $/Mscf, 462.4 Mscfm, 8760 hr/yr, 90.0% of capacity               59,954
                   Solid Waste Disposal                               25.38 $/Ton, 0.468 lb/ton, 8760 hr/yr                                   3,741

         Total Annual Direct Operating Costs (DC)                                                                                          1,126,675

         Indirect Operating Costs
             Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                     55,528
             Administration (2% total capital costs)                    2% of total capital costs (TCI)                                     172,500
             Property tax (1% total capital costs)                      1% of total capital costs (TCI)                                      86,250
             Insurance (1% total capital costs)                         1% of total capital costs (TCI)                                       86,250
             Capital Recovery                                           9% for a 20- year equipment life and a 7% interest rate              814,139
         Total Indirect Operating Costs                                    Sum indirect oper costs + capital recovery cost                 1,214,667

       Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        2,341,342
       Pollutant Removed (tons/yr)                                                                                                               164
       Cost per ton of PM Removed                                                                                                             14,295




Coke Underfire FF.xlsBaghouseHi(e)Hi(c)                                                                                                                Page 7 of 8
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                                                                                        BART ANALYSIS 2004
                                                                                          FABRIC FILTER
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                       7.0%
                              Equipment Life                         20 years
                              CRF                               0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                          2 years
                              CRF                               0.5531
                              Catalyst cost per unit               650 $/ft3
                                                                         3
                              Amount Required                         0 ft
                              Catalyst Cost                           0 Cost adjusted for freight & sales tax
                              Installation Labor                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                    0
                              Annualized Cost                         0

                              Replacement Parts & Equipment
                              Equipment Life                    2 years
                              CRF                         0.5531
                              Rep part cost per unit        35.53 $ each
                              Amount Required         3699.00119 Number
                              Total Rep Parts Cost       145,895 Cost adjusted for freight & sales tax
                              Installation Labor          10,953 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost       156,848
                              Annualized Cost             86,751

                              Total Cost Replacement Parts (Bags)                               156,848

                              Design Flow       115,000 dscfm                   130682 scfm
                                                     490 Temp Deg F
                                                    12% % Moisture
                                                231,188 acfm

Operating Cost Calculations                                             Annual hours of operation:     8,760
                                                                        Utilization Rate:              90.0%
                             Unit        Unit of    Use                      Unit of       Annual         Annual    Comments
Item                         Cost $     Measure    Rate                     Measure         Use*           Cost
Op Labor                         25.38 Hr                             2 hr/8 hr shift            1,971       50,025 $/Hr, 2.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Supervisor                          NA                                                             NA           NA Calc'd as % of labor costs
Maint Labor                      17.77 Hr                             1 hr/8 hr shift              986       17,509 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
Maint Mtls                          NA                                                             NA           NA Calc'd as % of labor costs
Utilities, Reagents, Waste Management & Replacements
Electricity                      0.047 kW-hr           2199 kW-hr                             17,339,838        813,585 $/kW-hr, 2,199.4 kW-hr, 8760 hr/yr, 90.0% of capacity
Natural Gas                             4.24 Mft3                    0 scfm                           0               0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
Water                                   0.22 Mgal                    0 gpm                            0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Comp Air                                0.27 Mscf               462.38 Mscfm                    218,722          59,954 $/Mscf, 462.4 Mscfm, 8760 hr/yr, 90.0% of capacity
Reagent #1(Caustic)                      300 Ton                     0 lb-mole/hr                     0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
Reagent #2                               300 Ton                     0 lb-mole/hr                     0               0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
SW Disposal                            25.38 Ton                 0.019 ton/hr                       147           3,741 $/Ton, 0.468 lb/ton, 8760 hr/yr
Haz W Disp                               273 Ton                 0.000 ton/hr                         0               0 $/Ton, 0.468 lb/ton, 8760 hr/yr
WW Treat                                  1.5 Mgal                   0 gpm                            0               0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
Catalyst                               650 ft3                       0 ft
                                                                         3
                                                                                           2 yr life                  0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
Rep Parts                      35.53299492 bag              3699.00119 bags                2 yr life             86,751 $/bag, 3,699.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                Emission Control Rate Calculation
Uncontrolled Emission Rate
       Emission             Unit of             Flow       Unit of       Control Eff.      Emis Rate
         Factor            Measure               Rate     Measure            %               T/yr      Comments/Notes
                   0.47 lb/ton                  700,000 tpy                 NA                     164
Controlled Emission Rate
          Perf              Unit of              Flow       Unit of      Control Eff.      Emis Rate
      Guarantee            Measure               Rate       Measure          %               T/yr      Comments/Notes
                                                                              99.99%               0.0 Currently assumes 95%.
Emission Reduction T/yr                                                                           164

Electrical Consumption Requirements Kilowatts
                                Flow acfm      D P in H2O       Blower-Motor Eff               kW
Blower                           231,188              6              0.65                     2199.4       OAQPS Cost Cont Manual 6th ed - Eq 1.14




            Coke Underfire FF.xlsBaghouseHi(e)Hi(c)                                                                                                                             Page 8 of 8
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                                                                           BART ANALYSIS 2004
                                                                    DRY ELECTROSTATIC PRECIPITATOR
                  CAPITAL COSTS
                   Direct Capital Costs
                     Purchased Equipment (1)
                       ESP + auxillary equipment                                                                                                      424,292
                       Instrumentation                                             10% of control device cost (A)                                      42,429
                       IN Sales Taxes                                               6% of control device cost (A)                                      25,457
                       Freight                                                      5% of control device cost (A)                                      21,215
                     Purchased Equipment Total (B)                                 21%                                                                513,393

                       Direct Installation Costs
                         Foundations & supports                                     4% of purchased equip cost (B)                                     20,536
                         Handling & erection                                       50% of purchased equip cost (B)                                    256,696
                         Electrical                                                 8% of purchased equip cost (B)                                     41,071
                         Piping                                                     1% of purchased equip cost (B)                                      5,134
                         Insulation for ductwork                                    2% of purchased equip cost (B)                                     10,268
                         Painting                                                   2% of purchased equip cost (B)                                     10,268
                       Direct Installation Costs                                                                                                      343,973
                         Site Preparation, as required                                   Site Specific                                              NA
                         Buildings, as required                                          Site Specific                                              NA

                    Total Direct Capital Costs, DC                                 67%                                                                857,366

                   Indirect Capital Costs
                        Engineering                                                20% of purchased equip cost (B)                                    102,679
                        Construction & field expenses                              20% of purchased equip cost (B)                                    102,679
                        Constractor fees                                           10% of purchased equip cost (B)                                     51,339
                        Start-up                                                    1% of purchased equip cost (B)                                      5,134
                        Performance Test                                            1% of purchased equip cost (B)
                        Model Study                                                 2% of purchased equip cost (B)                                     10,268
                        Contingencies                                               3% of purchased equip cost (B)                                     15,402
                   Total Indirect Capital Costs                                    57%                                                                287,500
                  Total Capital Investment (TCI) = DC + IC                                                                                          1,144,866



                  OPERATING COSTS
                    Direct Operating Costs
                        Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                        Supervisor                                                 15% of operator costs                                                3,752
                        Coordinator                                                33% of operator costs                                                8,254
                       Operating materials
                        Maintenance Labor                                        0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                     8,368
                        Maintenance Materials                                       1% of purchased equipment costs                                     5,134
                        Utilities
                              Electricity                                          0.05 $/kW-hr, 279.9 kW-hr, 8760 hr/yr, 90.0% of capacity           103,531
                              Water                                                 NA                                                                      -
                              Solid Waste Disposal                                25.38 $/Ton, 0.468 lb/ton, 8760 hr/yr                                 3,367
                              Wastewater Treatment                                  NA                                                                      -

                    Total Annual Direct Operating Costs, DC                                                                                           157,419

                    Indirect Operating Costs
                         Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                   25,360
                        Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    22,897
                        Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    11,449
                        Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    11,449
                        Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate           108,067
                    Total Indirect Operating Costs                                                                                                    179,222

                  Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        336,640
                  Pollutant Removed (tons/yr)B                                                                                                          147.4
                  Cost per ton of PM Removed                                                                                                            2,284




Coke Underfire Dry ESP.xlsDry ESP Lo(e)-Lo(c)                                                                                                                   Page 1 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                DRY ELECTROSTATIC PRECIPITATOR
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                   7.0%
                              Equipment Life                                     20 years
                              CRF                                           0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                                      2 years
                              CRF                                           0.5531
                              Catalyst cost per unit                             650 $/ft3
                              Amount Required                                        0 ft3
                              Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                              Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                                   0
                              Annualized Cost                                        0

                              Replacement Parts & Equipment
                              Equipment Life                                     2
                              CRF                                           0.5531
                              Rep part cost per unit                         33.72 $ each
                              Amount Required                                    0 Number
                              Total Rep Parts Cost                               0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow                   115,000 dscfm                     130682 scfm
                                                                 490 Temp Deg F
                                                                12% % Moisture
                                                            231,188 acfm

 Operating Cost Calculations                                                           Annual hours of operation: 8,760
                                                                                       Utilization Rate:           90.0%
                                    Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                               Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                    25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                    NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                  34,952 ft2 collector area                       4,125 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                      NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                 280 kW-hr               2,206,533        103,531 $/kW-hr, 279.9 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                  4.24 Mft3                              0 scfm                      0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                        0.22 Mgal                              0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                     0.27 Mscf                              0 Mscfm                     0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                           280 Ton                             0.0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                    300 Ton                               0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                 25.38 Ton                          0.017 ton/hr                   133          3,367 $/Ton, 0.468 lb/ton, 8760 hr/yr
 Haz W Disp                                    273 Ton                          0.000 ton/hr                     0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
 WW Treat                                       1.5 Mgal                             0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                      650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                   33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                                        Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission                 Unit of                    Flow          Unit of       Control Eff.   Emis Rate
         Factor               Measure                      Rate        Measure             %            T/yr     Comments/Notes
                    0.47 lb/ton                              700,000 tpy                  NA                 164
 Controlled Emission Rate
           Perf                     Unit of                Flow        Unit of         Control Eff.   Emis Rate
       Guarantee                    Measure                Rate        Measure             %            T/yr     Comments/Notes
                                                                                          90%               16.4 Currently assumes 90%.
 Emission Reduction T/yr                                                                                   147.4

                              Electrical Consumption Requirements Kilowatts
                                                        Flow acfm      D P in H2O              Blower Eff                kW
                              Blower                    231,188             5                     0.65                  208.1      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                        Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                              Pump 1                      NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                              Pump 2                      NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                        Area sqft       TR pwr          # Hoppers      Htr Pwr
                              ESP                        34,952          67.8               2              4             71.8      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                   48503 ft2
 Flow #1                                  159588 acfm
 Flow #2                                115,000 acfm
 Area #2                                 34951.5 ft2



Coke Underfire Dry ESP.xlsDry ESP Lo(e)-Lo(c)                                                                                                                                                    Page 2 of 8
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                                                                           BART ANALYSIS 2004
                                                                    DRY ELECTROSTATIC PRECIPITATOR
                  CAPITAL COSTS
                   Direct Capital Costs
                     Purchased Equipment (1)
                       ESP + auxillary equipment                                                                                                     5,515,791
                       Instrumentation                                             10% of control device cost (A)                                      551,579
                       IN Sales Taxes                                               6% of control device cost (A)                                      330,947
                       Freight                                                      5% of control device cost (A)                                      275,790
                     Purchased Equipment Total (B)                                 21%                                                               6,674,107

                       Direct Installation Costs
                         Foundations & supports                                     4% of purchased equip cost (B)                                     266,964
                         Handling & erection                                       50% of purchased equip cost (B)                                   3,337,054
                         Electrical                                                 8% of purchased equip cost (B)                                     533,929
                         Piping                                                     1% of purchased equip cost (B)                                      66,741
                         Insulation for ductwork                                    2% of purchased equip cost (B)                                     133,482
                         Painting                                                   2% of purchased equip cost (B)                                     133,482
                       Direct Installation Costs                                                                                                     4,471,652
                         Site Preparation, as required                                   Site Specific                                              NA
                         Buildings, as required                                          Site Specific                                              NA

                    Total Direct Capital Costs, DC                                 67%                                                              11,145,759

                   Indirect Capital Costs
                        Engineering                                                20% of purchased equip cost (B)                                   1,334,821
                        Construction & field expenses                              20% of purchased equip cost (B)                                   1,334,821
                        Constractor fees                                           10% of purchased equip cost (B)                                     667,411
                        Start-up                                                    1% of purchased equip cost (B)                                      66,741
                        Performance Test                                            1% of purchased equip cost (B)
                        Model Study                                                 2% of purchased equip cost (B)                                     133,482
                        Contingencies                                               3% of purchased equip cost (B)                                     200,223
                   Total Indirect Capital Costs                                    57%                                                               3,737,500
                  Total Capital Investment (TCI) = DC + IC                                                                                          14,883,259



                  OPERATING COSTS
                    Direct Operating Costs
                        Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                        Supervisor                                                 15% of operator costs                                                3,752
                        Coordinator                                                33% of operator costs                                                8,254
                       Operating materials
                        Maintenance Labor                                        0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                    59,283
                        Maintenance Materials                                       1% of purchased equipment costs                                    66,741
                        Utilities
                              Electricity                                          0.05 $/kW-hr, 279.9 kW-hr, 8760 hr/yr, 90.0% of capacity           103,531
                              Water                                                 NA                                                                      -
                              Solid Waste Disposal                                25.38 $/Ton, 0.468 lb/ton, 8760 hr/yr                                 3,367
                              Wastewater Treatment                                  NA                                                                      -

                    Total Annual Direct Operating Costs, DC                                                                                           269,941

                    Indirect Operating Costs
                         Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                   92,873
                        Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    297,665
                        Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    148,833
                        Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    148,833
                        Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate          1,404,874
                    Total Indirect Operating Costs                                                                                                   2,093,078

                  Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                       2,363,019
                  Pollutant Removed (tons/yr)B                                                                                                          147.4
                  Cost per ton of PM Removed                                                                                                           16,029




Coke Underfire Dry ESP.xlsDry ESP Lo(e)-Hi(c)                                                                                                                    Page 3 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                DRY ELECTROSTATIC PRECIPITATOR
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                   7.0%
                              Equipment Life                                     20 years
                              CRF                                           0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                                      2 years
                              CRF                                           0.5531
                              Catalyst cost per unit                             650 $/ft3
                              Amount Required                                        0 ft3
                              Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                              Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                                   0
                              Annualized Cost                                        0

                              Replacement Parts & Equipment
                              Equipment Life                                     2
                              CRF                                           0.5531
                              Rep part cost per unit                         33.72 $ each
                              Amount Required                                    0 Number
                              Total Rep Parts Cost                               0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow                   115,000 dscfm                     130682 scfm
                                                                 490 Temp Deg F
                                                                12% % Moisture
                                                            231,188 acfm

 Operating Cost Calculations                                                           Annual hours of operation: 8,760
                                                                                       Utilization Rate:           90.0%
                                    Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                               Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                    25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                    NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                  34,952 ft2 collector area                       4,125 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                      NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                 280 kW-hr               2,206,533        103,531 $/kW-hr, 279.9 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                  4.24 Mft3                              0 scfm                      0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                        0.22 Mgal                              0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                     0.27 Mscf                              0 Mscfm                     0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                           280 Ton                             0.0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                    300 Ton                               0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                 25.38 Ton                          0.017 ton/hr                   133          3,367 $/Ton, 0.468 lb/ton, 8760 hr/yr
 Haz W Disp                                    273 Ton                          0.000 ton/hr                     0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
 WW Treat                                       1.5 Mgal                             0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                      650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                   33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                                        Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission                 Unit of                    Flow          Unit of       Control Eff.   Emis Rate
         Factor               Measure                      Rate        Measure             %            T/yr     Comments/Notes
                    0.47 lb/ton                              700,000 tpy                  NA                 164
 Controlled Emission Rate
           Perf                     Unit of                Flow        Unit of         Control Eff.   Emis Rate
       Guarantee                    Measure                Rate        Measure             %            T/yr     Comments/Notes
                                                                                          90%               16.4 Currently assumes 90%.
 Emission Reduction T/yr                                                                                   147.4

                              Electrical Consumption Requirements Kilowatts
                                                        Flow acfm      D P in H2O              Blower Eff                kW
                              Blower                    231,188             5                     0.65                  208.1      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                        Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                              Pump 1                      NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                              Pump 2                      NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                        Area sqft       TR pwr          # Hoppers      Htr Pwr
                              ESP                        34,952          67.8               2              4             71.8      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                   48503 ft2
 Flow #1                                  159588 acfm
 Flow #2                                115,000 acfm
 Area #2                                 34951.5 ft2



Coke Underfire Dry ESP.xlsDry ESP Lo(e)-Hi(c)                                                                                                                                                    Page 4 of 8
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                                                                           BART ANALYSIS 2004
                                                                    DRY ELECTROSTATIC PRECIPITATOR
                  CAPITAL COSTS
                   Direct Capital Costs
                     Purchased Equipment (1)
                       ESP + auxillary equipment                                                                                                      424,292
                       Instrumentation                                             10% of control device cost (A)                                      42,429
                       IN Sales Taxes                                               6% of control device cost (A)                                      25,457
                       Freight                                                      5% of control device cost (A)                                      21,215
                     Purchased Equipment Total (B)                                 21%                                                                513,393

                       Direct Installation Costs
                         Foundations & supports                                     4% of purchased equip cost (B)                                     20,536
                         Handling & erection                                       50% of purchased equip cost (B)                                    256,696
                         Electrical                                                 8% of purchased equip cost (B)                                     41,071
                         Piping                                                     1% of purchased equip cost (B)                                      5,134
                         Insulation for ductwork                                    2% of purchased equip cost (B)                                     10,268
                         Painting                                                   2% of purchased equip cost (B)                                     10,268
                       Direct Installation Costs                                                                                                      343,973
                         Site Preparation, as required                                   Site Specific                                              NA
                         Buildings, as required                                          Site Specific                                              NA

                    Total Direct Capital Costs, DC                                 67%                                                                857,366

                   Indirect Capital Costs
                        Engineering                                                20% of purchased equip cost (B)                                    102,679
                        Construction & field expenses                              20% of purchased equip cost (B)                                    102,679
                        Constractor fees                                           10% of purchased equip cost (B)                                     51,339
                        Start-up                                                    1% of purchased equip cost (B)                                      5,134
                        Performance Test                                            1% of purchased equip cost (B)
                        Model Study                                                 2% of purchased equip cost (B)                                     10,268
                        Contingencies                                               3% of purchased equip cost (B)                                     15,402
                   Total Indirect Capital Costs                                    57%                                                                287,500
                  Total Capital Investment (TCI) = DC + IC                                                                                          1,144,866



                  OPERATING COSTS
                    Direct Operating Costs
                        Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                        Supervisor                                                 15% of operator costs                                                3,752
                        Coordinator                                                33% of operator costs                                                8,254
                       Operating materials
                        Maintenance Labor                                        0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                     8,368
                        Maintenance Materials                                       1% of purchased equipment costs                                     5,134
                        Utilities
                              Electricity                                          0.05 $/kW-hr, 279.9 kW-hr, 8760 hr/yr, 90.0% of capacity           103,531
                              Water                                                 NA                                                                      -
                              Solid Waste Disposal                                25.38 $/Ton, 0.468 lb/ton, 8760 hr/yr                                 3,741
                              Wastewater Treatment                                  NA                                                                      -

                    Total Annual Direct Operating Costs, DC                                                                                           157,792

                    Indirect Operating Costs
                         Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                   25,360
                        Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    22,897
                        Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    11,449
                        Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    11,449
                        Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate           108,067
                    Total Indirect Operating Costs                                                                                                    179,222

                  Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                        337,014
                  Pollutant Removed (tons/yr)B                                                                                                          163.8
                  Cost per ton of PM Removed                                                                                                            2,058




Coke Underfire Dry ESP.xlsDry ESP Hi(e)-Lo(c)                                                                                                                   Page 5 of 8
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                                                                                       BART ANALYSIS 2004
                                                                                DRY ELECTROSTATIC PRECIPITATOR
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                   7.0%
                              Equipment Life                                     20 years
                              CRF                                           0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                                      2 years
                              CRF                                           0.5531
                              Catalyst cost per unit                             650 $/ft3
                              Amount Required                                        0 ft3
                              Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                              Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                                   0
                              Annualized Cost                                        0

                              Replacement Parts & Equipment
                              Equipment Life                                     2
                              CRF                                           0.5531
                              Rep part cost per unit                         33.72 $ each
                              Amount Required                                    0 Number
                              Total Rep Parts Cost                               0 Cost adjusted for freight & sales tax
                              Installation Labor                                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                               0
                              Annualized Cost                                    0

                              Total Cost Replacement Parts & Catalyst                                              0

                              Design Flow                   115,000 dscfm                     130682 scfm
                                                                 490 Temp Deg F
                                                                12% % Moisture
                                                            231,188 acfm

 Operating Cost Calculations                                                           Annual hours of operation: 8,760
                                                                                       Utilization Rate:           90.0%
                                    Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                               Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                    25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                    NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                  34,952 ft2 collector area                       4,125 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                      NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                 280 kW-hr               2,206,533        103,531 $/kW-hr, 279.9 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                  4.24 Mft3                              0 scfm                      0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                        0.22 Mgal                              0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                     0.27 Mscf                              0 Mscfm                     0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                           280 Ton                             0.0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                    300 Ton                               0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                 25.38 Ton                          0.019 ton/hr                   147          3,741 $/Ton, 0.468 lb/ton, 8760 hr/yr
 Haz W Disp                                    273 Ton                          0.000 ton/hr                     0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
 WW Treat                                       1.5 Mgal                             0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                      650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                   33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                   *annual use rate is in same units of measurement as the unit cost factor
                                                                                        Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission                 Unit of                    Flow          Unit of       Control Eff.   Emis Rate
         Factor               Measure                      Rate        Measure             %            T/yr     Comments/Notes
                    0.47 lb/ton                              700,000 tpy                  NA                 164
 Controlled Emission Rate
           Perf                     Unit of                Flow        Unit of         Control Eff.   Emis Rate
       Guarantee                    Measure                Rate        Measure             %            T/yr     Comments/Notes
                                                                                         99.99%              0.0 Currently assumes 99.99%.
 Emission Reduction T/yr                                                                                   163.8

                              Electrical Consumption Requirements Kilowatts
                                                        Flow acfm      D P in H2O              Blower Eff                kW
                              Blower                    231,188             5                     0.65                  208.1      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                        Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                              Pump 1                      NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                              Pump 2                      NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                        Area sqft       TR pwr          # Hoppers      Htr Pwr
                              ESP                        34,952          67.8               2              4             71.8      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                   48503 ft2
 Flow #1                                  159588 acfm
 Flow #2                                115,000 acfm
 Area #2                                 34951.5 ft2



Coke Underfire Dry ESP.xlsDry ESP Hi(e)-Lo(c)                                                                                                                                                    Page 6 of 8
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                                                                            BART ANALYSIS 2004
                                                                     DRY ELECTROSTATIC PRECIPITATOR
                   CAPITAL COSTS
                    Direct Capital Costs
                      Purchased Equipment (1)
                        ESP + auxillary equipment                                                                                                     5,515,791
                        Instrumentation                                             10% of control device cost (A)                                      551,579
                        IN Sales Taxes                                               6% of control device cost (A)                                      330,947
                        Freight                                                      5% of control device cost (A)                                      275,790
                      Purchased Equipment Total (B)                                 21%                                                               6,674,107

                       Direct Installation Costs
                         Foundations & supports                                      4% of purchased equip cost (B)                                     266,964
                         Handling & erection                                        50% of purchased equip cost (B)                                   3,337,054
                         Electrical                                                  8% of purchased equip cost (B)                                     533,929
                         Piping                                                      1% of purchased equip cost (B)                                      66,741
                         Insulation for ductwork                                     2% of purchased equip cost (B)                                     133,482
                         Painting                                                    2% of purchased equip cost (B)                                     133,482
                       Direct Installation Costs                                                                                                      4,471,652
                         Site Preparation, as required                                    Site Specific                                              NA
                         Buildings, as required                                           Site Specific                                              NA

                     Total Direct Capital Costs, DC                                 67%                                                              11,145,759

                    Indirect Capital Costs
                         Engineering                                                20% of purchased equip cost (B)                                   1,334,821
                         Construction & field expenses                              20% of purchased equip cost (B)                                   1,334,821
                         Constractor fees                                           10% of purchased equip cost (B)                                     667,411
                         Start-up                                                    1% of purchased equip cost (B)                                      66,741
                         Performance Test                                            1% of purchased equip cost (B)
                         Model Study                                                 2% of purchased equip cost (B)                                     133,482
                         Contingencies                                               3% of purchased equip cost (B)                                     200,223
                    Total Indirect Capital Costs                                    57%                                                               3,737,500
                   Total Capital Investment (TCI) = DC + IC                                                                                          14,883,259



                   OPERATING COSTS
                     Direct Operating Costs
                         Operator                                                  25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity         25,013
                         Supervisor                                                 15% of operator costs                                                3,752
                         Coordinator                                                33% of operator costs                                                8,254
                       Operating materials
                        Maintenance Labor                                         0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                    59,283
                        Maintenance Materials                                        1% of purchased equipment costs                                    66,741
                        Utilities
                              Electricity                                           0.05 $/kW-hr, 279.9 kW-hr, 8760 hr/yr, 90.0% of capacity           103,531
                              Water                                                  NA                                                                      -
                              Solid Waste Disposal                                 25.38 $/Ton, 0.468 lb/ton, 8760 hr/yr                                 3,741
                              Wastewater Treatment                                   NA                                                                      -

                     Total Annual Direct Operating Costs, DC                                                                                           270,315

                     Indirect Operating Costs
                          Overhead                                                  60% of oper, maint & supv labor + maint mtl costs                   92,873
                         Administration (2% total capital costs)                     2% of total capital costs (TCI)                                    297,665
                         Property tax (1% total capital costs)                       1% of total capital costs (TCI)                                    148,833
                         Insurance (1% total capital costs)                          1% of total capital costs (TCI)                                    148,833
                         Captial Recovery                                            9% for a 20- year equipment life and a 7% interest rate          1,404,874
                     Total Indirect Operating Costs                                                                                                   2,093,078

                   Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                       2,363,392
                   Pollutant Removed (tons/yr)B                                                                                                          163.8
                   Cost per ton of PM Removed                                                                                                           14,430




Coke Underfire Dry ESP.xlsDry ESP Hi(e)-Hi(c)                                                                                                                     Page 7 of 8
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                                                                                        BART ANALYSIS 2004
                                                                                 DRY ELECTROSTATIC PRECIPITATOR
                              Capital Recovery Factors
                              Primary Installation
                              Interest Rate                                    7.0%
                              Equipment Life                                      20 years
                              CRF                                            0.0944

                              Catalyst Replacement Cost
                              Catalyst Life                                       2 years
                              CRF                                            0.5531
                              Catalyst cost per unit                              650 $/ft3
                              Amount Required                                         0 ft3
                              Catalyst Cost                                           0 Cost adjusted for freight & sales tax
                              Installation Labor                                      0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                              Total Installed Cost                                    0
                              Annualized Cost                                         0

                              Replacement Parts & Equipment
                              Equipment Life                                      2
                              CRF                                            0.5531
                              Rep part cost per unit                          33.72 $ each
                              Amount Required                                     0 Number
                              Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                              Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                              Total Installed Cost                                0
                              Annualized Cost                                     0

                              Total Cost Replacement Parts & Catalyst                                               0

                              Design Flow                    115,000 dscfm                     130682 scfm
                                                                  490 Temp Deg F
                                                                 12% % Moisture
                                                             231,188 acfm

 Operating Cost Calculations                                                            Annual hours of operation: 8,760
                                                                                        Utilization Rate:           90.0%
                                     Unit                Unit of           Use             Unit of        Annual       Annual    Comments
 Item                                Cost $              Measure           Rate           Measure          Use*         Cost
 Op Labor                                     25.38 Hr                                1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
 Supervisor                                     NA                                                              NA           NA Calc'd as % of labor costs
 Maint Labor                         0.117 $/ft2 collector                   34,952 ft2 collector area                       4,125 $/ft2 collector area; $5775 if < 50,000 ft 2
 Maint Mtls                            NA                                                                       NA             1% of purchased equipment costs
 Utilities, Reagents, Waste Management & Replacements
 Electricity                         0.047 kW-hr                                  280 kW-hr               2,206,533        103,531 $/kW-hr, 279.9 kW-hr, 8760 hr/yr, 90.0% of capacity
 Natural Gas                                   4.24 Mft3                              0 scfm                      0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
 Water                                         0.22 Mgal                              0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity
 Comp Air                                      0.27 Mscf                              0 Mscfm                     0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
 Reagent #1(Caustic)                            280 Ton                             0.0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 Reagent #2                                     300 Ton                               0 lb-mole/hr                0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
 SW Disposal                                  25.38 Ton                          0.019 ton/hr                   147          3,741 $/Ton, 0.468 lb/ton, 8760 hr/yr
 Haz W Disp                                     273 Ton                          0.000 ton/hr                     0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
 WW Treat                                        1.5 Mgal                             0 gpm                       0              0 $/Mgal, 0.0 gpm, 8760 hr/yr, 90.0% of capacity

 Catalyst                                       650 ft3                               0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
 Rep Parts                                    33.72 $/bag                             0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                    *annual use rate is in same units of measurement as the unit cost factor
                                                                                         Emission Control Rate Calculation
 Uncontrolled Emission Rate
       Emission                 Unit of                     Flow          Unit of       Control Eff.   Emis Rate
         Factor               Measure                       Rate        Measure             %            T/yr     Comments/Notes
                    0.47 lb/ton                               700,000 tpy                  NA                 164
 Controlled Emission Rate
           Perf                     Unit of                 Flow        Unit of         Control Eff.   Emis Rate
       Guarantee                    Measure                 Rate        Measure             %            T/yr     Comments/Notes
                                                                                          99.99%              0.0 Currently assumes 99.99%.
 Emission Reduction T/yr                                                                                    163.8

                              Electrical Consumption Requirements Kilowatts
                                                         Flow acfm      D P in H2O              Blower Eff                kW
                              Blower                     231,188             5                     0.65                  208.1      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                         Flow gpm        D P ft H2O      Pump Eff       Motor Eff
                              Pump 1                       NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                              Pump 2                       NA              60               0.8            0.9            0.0       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                         Area sqft       TR pwr          # Hoppers      Htr Pwr
                              ESP                         34,952          67.8               2              4             71.8      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30


 Estimate Area (ft2)
 Area #1                                    48503 ft2
 Flow #1                                   159588 acfm
 Flow #2                                 115,000 acfm
 Area #2                                  34951.5 ft2



Coke Underfire Dry ESP.xlsDry ESP Hi(e)-Hi(c)                                                                                                                                                     Page 8 of 8
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                                                                                   BART ANALYSIS 2004
                                                                            WET ELECTROSTATIC PRECIPITATOR
             CAPITAL COSTS
              Direct Capital Costs
                Purchased Equipment (1)
                  ESP + auxillary equipment                                                                                                                 891,012
                  Instrumentation                                               10% of control device cost (A)                                               89,101
                  IN Sales Taxes                                                 6% of control device cost (A)                                               53,461
                  Freight                                                        5% of control device cost (A)                                               44,551
                Purchased Equipment Total (B)                                   21%                                                                       1,078,125

                  Direct Installation Costs
                    Foundations & supports                                       4% of purchased equip cost (B)                                                43,125
                    Handling & erection                                         50% of purchased equip cost (B)                                               539,063
                    Electrical                                                   8% of purchased equip cost (B)                                                86,250
                    Piping                                                       1% of purchased equip cost (B)                                                10,781
                    Insulation for ductwork                                      2% of purchased equip cost (B)                                                21,563
                    Painting                                                     2% of purchased equip cost (B)                                                21,563
                  Direct Installation Costs                                                                                                                   722,344
                    Site Preparation, as required                                     Site Specific                                                      NA
                    Buildings, as required                                            Site Specific                                                      NA

               Total Direct Capital Costs, DC                                   67%                                                                       1,800,469

              Indirect Capital Costs
                   Engineering                                                  20% of purchased equip cost (B)                                               215,625
                   Construction & field expenses                                20% of purchased equip cost (B)                                               215,625
                   Constractor fees                                             10% of purchased equip cost (B)                                               107,813
                   Start-up                                                      1% of purchased equip cost (B)                                                10,781
                   Performance Test                                              1% of purchased equip cost (B)
                   Model Study                                                   2% of purchased equip cost (B)                                              21,563
                   Contingencies                                                 3% of purchased equip cost (B)                                              32,344
              Total Indirect Capital Costs                                      57%                                                                         603,750
             Total Capital Investment (TCI) = DC + IC                                                                                                     2,404,219



             OPERATING COSTS
               Direct Operating Costs
                   Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                    25,013
                   Supervisor                                                   15% of operator costs                                                           3,752
                   Coordinator                                                  33% of operator costs                                                           8,254
                  Operating materials
                   Maintenance Labor                                          0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                               17,149
                   Maintenance Materials                                         1% of purchased equipment costs                                               10,781
                   Utilities
                       Electricity                                              0.05 $/kW-hr, 381.0 kW-hr, 8760 hr/yr, 90.0% of capacity                    140,930
                       Water                                                    0.22 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity                     219,832
                       Solid Waste Disposal                                      NA                                                                               -
                       Wastewater Treatment                                     1.52 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity                   1,498,856
                       Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
               Total Annual Direct Operating Costs, DC                                                                                                    1,924,567

               Indirect Operating Costs
                    Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                              34,017
                   Administration (2% total capital costs)                       2% of total capital costs (TCI)                                               48,084
                   Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                               24,042
                   Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                               24,042
                   Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                      226,941
               Total Indirect Operating Costs                                                                                                                 357,127

             Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 2,281,694
             Pollutant Removed (tons/yr)                                                                                                                      147.4
             Cost per ton of PM Removed                                                                                                                      15,478




Coke Underfire Wet ESP.xls WESP Lo(e)-Lo(c)                                                                                                                             Page 1 of 8
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                                                                                             BART ANALYSIS 2004
                                                                                      WET ELECTROSTATIC PRECIPITATOR
                                   Capital Recovery Factors
                                   Primary Installation
                                   Interest Rate                                   7.0%
                                   Equipment Life                                     20 years
                                   CRF                                           0.0944

                                   Catalyst Replacement Cost
                                   Catalyst Life                                      2 years
                                   CRF                                           0.5531
                                   Catalyst cost per unit                            650 $/ft3
                                   Amount Required                                       0 ft3
                                   Catalyst Cost                                         0 Cost adjusted for freight & sales tax
                                   Installation Labor                                    0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                   Total Installed Cost                                  0
                                   Annualized Cost                                       0

                                   Replacement Parts & Equipment
                                   Equipment Life                                     2
                                   CRF                                           0.5531
                                   Rep part cost per unit                         33.72 $ each
                                   Amount Required                                    0 Number
                                   Total Rep Parts Cost                               0 Cost adjusted for freight & sales tax
                                   Installation Labor                                 0 10 min per bag (13 hr total) Labor at $29.65/hr
                                   Total Installed Cost                               0
                                   Annualized Cost                                    0

                                   Total Cost Replacement Parts & Catalyst                                             0

                                   Design Flow                   115,000 dscfm                    130682 scfm
                                                                      490 Temp Deg F
                                                                     12% % Moisture
                                                                 231,188 acfm

    Operating Cost Calculations                                                            Annual hours of operation: 8,760
                                                                                           Utilization Rate:           90.0%
                                         Unit                Unit of          Use             Unit of        Annual       Annual    Comments
    Item                                 Cost $              Measure          Rate           Measure          Use*         Cost
    Op Labor                                      25.38 Hr                               1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                                      NA                                                             NA           NA Calc'd as % of labor costs
    Maint Labor                            0.12 $/ft2 collector                  70,264 ft2 collector area                       8,239 $/ft2 collector area; $5775 if < 50,000 ft 2
    Maint Mtls                              NA                                                                      NA             1% of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                           0.047 kW-hr                                381 kW-hr               3,003,623        140,930 $/kW-hr, 381.0 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                                    4.24 Mft3                            0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                          0.22 Mgal                        2081 gpm                    984,249        219,832 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                       0.27 Mscf                            0 Mscfm                       0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                            280 Ton                              0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    Reagent #2                                     300 Ton                              0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    SW Disposal                                      25 Ton                         0.000 ton/hr                      0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
    Haz W Disp                                     273 Ton                          0.000 ton/hr                      0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
    WW Treat                                       1.52 Mgal                        2081 gpm                    984,249      1,498,856 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity

    Catalyst                                        650 ft3                              0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                                     33.72 $/bag                            0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                       *annual use rate is in same units of measurement as the unit cost factor
                                                                                            Emission Control Rate Calculation
    Uncontrolled Emission Rate
            Emission                 Unit of                    Flow          Unit of      Control Eff.    Emis Rate
              Factor               Measure                      Rate        Measure            %             T/yr     Comments/Notes
                         0.47 lb/ton                              700,000 tpy                 NA               163.80
    Controlled Emission Rate
               Perf                  Unit of                    Flow        Unit of        Control Eff.    Emis Rate
            Guarantee              Measure                      Rate        Measure            %             T/yr     Comments/Notes
                                                                                              90%                16.4 Currently assumes 90%.
    Emission Reduction T/yr                                                                                     147.4

                                   Electrical Consumption Requirements Kilowatts
                                                             Flow acfm      D P in H2O         Blower-Motor Eff               kW
                                   Blower                    231,188            5                     0.65                   208.1      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                             Flow gpm       D P ft H2O      Pump Eff       Motor Eff
                                   Pump 1                      2081            60              0.8           0.9             32.6       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                   Pump 2                        0             60              0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                             Area sqft       TR pwr         # Hoppers      Htr Pwr
                                   ESP                        70,264          136.3             2             4              140.3      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

    Caustic Use                                   37.40 lb/hr SO2                    2.50 lb NaOH/lb SO2                         0.047 T/hr Caustic
    Lime Use                                      37.40 lb/hr SO2                    1.53 lb Lime/lb SO2                         0.029 T/hr Lime


    Estimate Area (ft2)
    Area #1                                      48503 ft2
    Flow #1                                    159588 acfm
    Flow #2                                   231,188 acfm
    Area #2                                    70264.0 ft2




Coke Underfire Wet ESP.xls WESP Lo(e)-Lo(c)                                                                                                                                                           Page 2 of 8
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                                                                                   BART ANALYSIS 2004
                                                                            WET ELECTROSTATIC PRECIPITATOR
             CAPITAL COSTS
              Direct Capital Costs
                Purchased Equipment (1)
                  ESP + auxillary equipment                                                                                                               8,655,549
                  Instrumentation                                               10% of control device cost (A)                                              865,555
                  IN Sales Taxes                                                 6% of control device cost (A)                                              519,333
                  Freight                                                        5% of control device cost (A)                                              432,777
                Purchased Equipment Total (B)                                   21%                                                                      10,473,214

                  Direct Installation Costs
                    Foundations & supports                                       4% of purchased equip cost (B)                                             418,929
                    Handling & erection                                         50% of purchased equip cost (B)                                           5,236,607
                    Electrical                                                   8% of purchased equip cost (B)                                             837,857
                    Piping                                                       1% of purchased equip cost (B)                                             104,732
                    Insulation for ductwork                                      2% of purchased equip cost (B)                                             209,464
                    Painting                                                     2% of purchased equip cost (B)                                             209,464
                  Direct Installation Costs                                                                                                               7,017,054
                    Site Preparation, as required                                     Site Specific                                                      NA
                    Buildings, as required                                            Site Specific                                                      NA

                Total Direct Capital Costs, DC                                  67%                                                                      17,490,268

              Indirect Capital Costs
                   Engineering                                                  20% of purchased equip cost (B)                                           2,094,643
                   Construction & field expenses                                20% of purchased equip cost (B)                                           2,094,643
                   Constractor fees                                             10% of purchased equip cost (B)                                           1,047,321
                   Start-up                                                      1% of purchased equip cost (B)                                             104,732
                   Performance Test                                              1% of purchased equip cost (B)
                   Model Study                                                   2% of purchased equip cost (B)                                             209,464
                   Contingencies                                                 3% of purchased equip cost (B)                                             314,196
              Total Indirect Capital Costs                                      57%                                                                       5,865,000
             Total Capital Investment (TCI) = DC + IC                                                                                                    23,355,268



             OPERATING COSTS
                Direct Operating Costs
                    Operator                                                   25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                  25,013
                    Supervisor                                                  15% of operator costs                                                         3,752
                    Coordinator                                                 33% of operator costs                                                         8,254
                  Operating materials
                   Maintenance Labor                                          0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                             94,795
                   Maintenance Materials                                         1% of purchased equipment costs                                            104,732
                   Utilities
                        Electricity                                             0.05 $/kW-hr, 381.0 kW-hr, 8760 hr/yr, 90.0% of capacity                    140,930
                        Water                                                   0.22 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity                     219,832
                        Solid Waste Disposal                                     NA                                                                               -
                        Wastewater Treatment                                    1.52 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity                   1,498,856
                        Reagent (Caustic)                                     280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
                Total Annual Direct Operating Costs, DC                                                                                                   2,096,164

                Indirect Operating Costs
                    Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                           136,975
                    Administration (2% total capital costs)                      2% of total capital costs (TCI)                                            467,105
                    Property tax (1% total capital costs)                        1% of total capital costs (TCI)                                            233,553
                    Insurance (1% total capital costs)                           1% of total capital costs (TCI)                                            233,553
                    Captial Recovery                                             9% for a 20- year equipment life and a 7% interest rate                  2,204,572
                Total Indirect Operating Costs                                                                                                            3,275,758

             Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 5,371,921
             Pollutant Removed (tons/yr)                                                                                                                      147.4
             Cost per ton of PM Removed                                                                                                                      36,440




Coke Underfire Wet ESP.xls WESP Lo(e)-Hi(c)                                                                                                                           Page 3 of 8
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                                                                                              BART ANALYSIS 2004
                                                                                       WET ELECTROSTATIC PRECIPITATOR
                                   Capital Recovery Factors
                                   Primary Installation
                                   Interest Rate                                    7.0%
                                   Equipment Life                                      20 years
                                   CRF                                            0.0944

                                   Catalyst Replacement Cost
                                   Catalyst Life                                       2 years
                                   CRF                                            0.5531
                                   Catalyst cost per unit                             650 $/ft3
                                   Amount Required                                        0 ft3
                                   Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                   Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                   Total Installed Cost                                   0
                                   Annualized Cost                                        0

                                   Replacement Parts & Equipment
                                   Equipment Life                                      2
                                   CRF                                            0.5531
                                   Rep part cost per unit                          33.72 $ each
                                   Amount Required                                     0 Number
                                   Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                   Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                   Total Installed Cost                                0
                                   Annualized Cost                                     0

                                   Total Cost Replacement Parts & Catalyst                                              0

                                   Design Flow                    115,000 dscfm                    130682 scfm
                                                                       490 Temp Deg F
                                                                      12% % Moisture
                                                                  231,188 acfm

    Operating Cost Calculations                                                             Annual hours of operation: 8,760
                                                                                            Utilization Rate:           90.0%
                                          Unit                Unit of          Use             Unit of        Annual       Annual    Comments
    Item                                  Cost $              Measure          Rate           Measure          Use*         Cost
    Op Labor                                       25.38 Hr                               1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                                       NA                                                             NA           NA Calc'd as % of labor costs
    Maint Labor                            0.12 $/ft2 collector                   70,264 ft2 collector area                       8,239 $/ft2 collector area; $5775 if < 50,000 ft 2
    Maint Mtls                              NA                                                                       NA             1% of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                           0.047 kW-hr                                 381 kW-hr               3,003,623        140,930 $/kW-hr, 381.0 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                                     4.24 Mft3                            0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                           0.22 Mgal                        2081 gpm                    984,249        219,832 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                        0.27 Mscf                            0 Mscfm                       0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                             280 Ton                              0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    Reagent #2                                      300 Ton                              0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    SW Disposal                                       25 Ton                         0.000 ton/hr                      0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
    Haz W Disp                                      273 Ton                          0.000 ton/hr                      0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
    WW Treat                                        1.52 Mgal                        2081 gpm                    984,249      1,498,856 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity

    Catalyst                                         650 ft3                              0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                                      33.72 $/bag                            0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                             Emission Control Rate Calculation
    Uncontrolled Emission Rate
            Emission                 Unit of                     Flow          Unit of      Control Eff.    Emis Rate
              Factor               Measure                       Rate        Measure            %             T/yr     Comments/Notes
                         0.47 lb/ton                               700,000 tpy                 NA               163.80
    Controlled Emission Rate
               Perf                  Unit of                     Flow        Unit of        Control Eff.    Emis Rate
            Guarantee              Measure                       Rate        Measure            %             T/yr     Comments/Notes
                                                                                               90%                16.4 Currently assumes 90%.
    Emission Reduction T/yr                                                                                      147.4

                                   Electrical Consumption Requirements Kilowatts
                                                              Flow acfm      D P in H2O         Blower-Motor Eff               kW
                                   Blower                     231,188            5                     0.65                   208.1      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                              Flow gpm       D P ft H2O      Pump Eff       Motor Eff
                                   Pump 1                       2081            60              0.8           0.9             32.6       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                   Pump 2                         0             60              0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                              Area sqft       TR pwr         # Hoppers      Htr Pwr
                                   ESP                         70,264          136.3             2             4              140.3      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

    Caustic Use                                    37.40 lb/hr SO2                    2.50 lb NaOH/lb SO2                         0.047 T/hr Caustic
    Lime Use                                       37.40 lb/hr SO2                    1.53 lb Lime/lb SO2                         0.029 T/hr Lime


    Estimate Area (ft2)
    Area #1                                      48503 ft2
    Flow #1                                    159588 acfm
    Flow #2                                   231,188 acfm
    Area #2                                    70264.0 ft2




Coke Underfire Wet ESP.xls WESP Lo(e)-Hi(c)                                                                                                                                                            Page 4 of 8
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                                                                                   BART ANALYSIS 2004
                                                                            WET ELECTROSTATIC PRECIPITATOR
             CAPITAL COSTS
              Direct Capital Costs
                Purchased Equipment (1)
                  ESP + auxillary equipment                                                                                                                 891,012
                  Instrumentation                                               10% of control device cost (A)                                               89,101
                  IN Sales Taxes                                                 6% of control device cost (A)                                               53,461
                  Freight                                                        5% of control device cost (A)                                               44,551
                Purchased Equipment Total (B)                                   21%                                                                       1,078,125

                  Direct Installation Costs
                    Foundations & supports                                       4% of purchased equip cost (B)                                                43,125
                    Handling & erection                                         50% of purchased equip cost (B)                                               539,063
                    Electrical                                                   8% of purchased equip cost (B)                                                86,250
                    Piping                                                       1% of purchased equip cost (B)                                                10,781
                    Insulation for ductwork                                      2% of purchased equip cost (B)                                                21,563
                    Painting                                                     2% of purchased equip cost (B)                                                21,563
                  Direct Installation Costs                                                                                                                   722,344
                    Site Preparation, as required                                     Site Specific                                                      NA
                    Buildings, as required                                            Site Specific                                                      NA

                Total Direct Capital Costs, DC                                  67%                                                                       1,800,469

              Indirect Capital Costs
                   Engineering                                                  20% of purchased equip cost (B)                                               215,625
                   Construction & field expenses                                20% of purchased equip cost (B)                                               215,625
                   Constractor fees                                             10% of purchased equip cost (B)                                               107,813
                   Start-up                                                      1% of purchased equip cost (B)                                                10,781
                   Performance Test                                              1% of purchased equip cost (B)
                   Model Study                                                   2% of purchased equip cost (B)                                              21,563
                   Contingencies                                                 3% of purchased equip cost (B)                                              32,344
              Total Indirect Capital Costs                                      57%                                                                         603,750
             Total Capital Investment (TCI) = DC + IC                                                                                                     2,404,219



             OPERATING COSTS
                Direct Operating Costs
                    Operator                                                   25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                    25,013
                    Supervisor                                                  15% of operator costs                                                           3,752
                    Coordinator                                                 33% of operator costs                                                           8,254
                  Operating materials
                   Maintenance Labor                                          0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                               17,149
                   Maintenance Materials                                         1% of purchased equipment costs                                               10,781
                   Utilities
                        Electricity                                             0.05 $/kW-hr, 381.0 kW-hr, 8760 hr/yr, 90.0% of capacity                    140,930
                        Water                                                   0.22 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity                     219,832
                        Solid Waste Disposal                                     NA                                                                               -
                        Wastewater Treatment                                    1.52 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity                   1,498,856
                        Reagent (Caustic)                                     280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
                Total Annual Direct Operating Costs, DC                                                                                                   1,924,567

                Indirect Operating Costs
                    Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                              34,017
                    Administration (2% total capital costs)                      2% of total capital costs (TCI)                                               48,084
                    Property tax (1% total capital costs)                        1% of total capital costs (TCI)                                               24,042
                    Insurance (1% total capital costs)                           1% of total capital costs (TCI)                                               24,042
                    Captial Recovery                                             9% for a 20- year equipment life and a 7% interest rate                      226,941
                Total Indirect Operating Costs                                                                                                                357,127

             Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 2,281,694
             Pollutant Removed (tons/yr)                                                                                                                      163.8
             Cost per ton of PM Removed                                                                                                                      13,931




Coke Underfire Wet ESP.xls WESP Hi(e)-Lo(c)                                                                                                                             Page 5 of 8
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                                                                                              BART ANALYSIS 2004
                                                                                       WET ELECTROSTATIC PRECIPITATOR
                                   Capital Recovery Factors
                                   Primary Installation
                                   Interest Rate                                    7.0%
                                   Equipment Life                                      20 years
                                   CRF                                            0.0944

                                   Catalyst Replacement Cost
                                   Catalyst Life                                       2 years
                                   CRF                                            0.5531
                                   Catalyst cost per unit                             650 $/ft3
                                   Amount Required                                        0 ft3
                                   Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                   Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                   Total Installed Cost                                   0
                                   Annualized Cost                                        0

                                   Replacement Parts & Equipment
                                   Equipment Life                                      2
                                   CRF                                            0.5531
                                   Rep part cost per unit                          33.72 $ each
                                   Amount Required                                     0 Number
                                   Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                   Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                   Total Installed Cost                                0
                                   Annualized Cost                                     0

                                   Total Cost Replacement Parts & Catalyst                                              0

                                   Design Flow                    115,000 dscfm                    130682 scfm
                                                                       490 Temp Deg F
                                                                      12% % Moisture
                                                                  231,188 acfm

    Operating Cost Calculations                                                             Annual hours of operation: 8,760
                                                                                            Utilization Rate:           90.0%
                                          Unit                Unit of          Use             Unit of        Annual       Annual    Comments
    Item                                  Cost $              Measure          Rate           Measure          Use*         Cost
    Op Labor                                       25.38 Hr                               1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
    Supervisor                                       NA                                                             NA           NA Calc'd as % of labor costs
    Maint Labor                            0.12 $/ft2 collector                   70,264 ft2 collector area                       8,239 $/ft2 collector area; $5775 if < 50,000 ft 2
    Maint Mtls                              NA                                                                       NA             1% of purchased equipment costs
    Utilities, Reagents, Waste Management & Replacements
    Electricity                           0.047 kW-hr                                 381 kW-hr               3,003,623        140,930 $/kW-hr, 381.0 kW-hr, 8760 hr/yr, 90.0% of capacity
    Natural Gas                                     4.24 Mft3                            0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
    Water                                           0.22 Mgal                        2081 gpm                    984,249        219,832 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity
    Comp Air                                        0.27 Mscf                            0 Mscfm                       0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
    Reagent #1(Caustic)                             280 Ton                              0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    Reagent #2                                      300 Ton                              0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
    SW Disposal                                       25 Ton                         0.000 ton/hr                      0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
    Haz W Disp                                      273 Ton                          0.000 ton/hr                      0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
    WW Treat                                        1.52 Mgal                        2081 gpm                    984,249      1,498,856 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity

    Catalyst                                         650 ft3                              0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
    Rep Parts                                      33.72 $/bag                            0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                             Emission Control Rate Calculation
    Uncontrolled Emission Rate
            Emission                 Unit of                     Flow          Unit of      Control Eff.    Emis Rate
              Factor               Measure                       Rate        Measure            %             T/yr     Comments/Notes
                         0.47 lb/ton                               700,000 tpy                 NA               163.80
    Controlled Emission Rate
               Perf                  Unit of                     Flow        Unit of        Control Eff.    Emis Rate
            Guarantee              Measure                       Rate        Measure            %             T/yr     Comments/Notes
                                                                                              99.99%               0.0 Currently assumes 99.99%.
    Emission Reduction T/yr                                                                                      163.8

                                   Electrical Consumption Requirements Kilowatts
                                                              Flow acfm      D P in H2O         Blower-Motor Eff               kW
                                   Blower                     231,188            5                     0.65                   208.1      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                              Flow gpm       D P ft H2O      Pump Eff       Motor Eff
                                   Pump 1                       2081            60              0.8           0.9             32.6       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                   Pump 2                         0             60              0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                              Area sqft       TR pwr         # Hoppers      Htr Pwr
                                   ESP                         70,264          136.3             2             4              140.3      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

    Caustic Use                                    37.40 lb/hr SO2                    2.50 lb NaOH/lb SO2                         0.047 T/hr Caustic
    Lime Use                                       37.40 lb/hr SO2                    1.53 lb Lime/lb SO2                         0.029 T/hr Lime


    Estimate Area (ft2)
    Area #1                                      48503 ft2
    Flow #1                                    159588 acfm
    Flow #2                                   231,188 acfm
    Area #2                                    70264.0 ft2




Coke Underfire Wet ESP.xls WESP Hi(e)-Lo(c)                                                                                                                                                            Page 6 of 8
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                                                                                    BART ANALYSIS 2004
                                                                             WET ELECTROSTATIC PRECIPITATOR
              CAPITAL COSTS
               Direct Capital Costs
                 Purchased Equipment (1)
                   ESP + auxillary equipment                                                                                                               8,655,549
                   Instrumentation                                               10% of control device cost (A)                                              865,555
                   IN Sales Taxes                                                 6% of control device cost (A)                                              519,333
                   Freight                                                        5% of control device cost (A)                                              432,777
                 Purchased Equipment Total (B)                                   21%                                                                      10,473,214

                  Direct Installation Costs
                    Foundations & supports                                        4% of purchased equip cost (B)                                             418,929
                    Handling & erection                                          50% of purchased equip cost (B)                                           5,236,607
                    Electrical                                                    8% of purchased equip cost (B)                                             837,857
                    Piping                                                        1% of purchased equip cost (B)                                             104,732
                    Insulation for ductwork                                       2% of purchased equip cost (B)                                             209,464
                    Painting                                                      2% of purchased equip cost (B)                                             209,464
                  Direct Installation Costs                                                                                                                7,017,054
                    Site Preparation, as required                                      Site Specific                                                      NA
                    Buildings, as required                                             Site Specific                                                      NA

                Total Direct Capital Costs, DC                                   67%                                                                      17,490,268

               Indirect Capital Costs
                    Engineering                                                  20% of purchased equip cost (B)                                           2,094,643
                    Construction & field expenses                                20% of purchased equip cost (B)                                           2,094,643
                    Constractor fees                                             10% of purchased equip cost (B)                                           1,047,321
                    Start-up                                                      1% of purchased equip cost (B)                                             104,732
                    Performance Test                                              1% of purchased equip cost (B)
                    Model Study                                                   2% of purchased equip cost (B)                                             209,464
                    Contingencies                                                 3% of purchased equip cost (B)                                             314,196
               Total Indirect Capital Costs                                      57%                                                                       5,865,000
              Total Capital Investment (TCI) = DC + IC                                                                                                    23,355,268



              OPERATING COSTS
                Direct Operating Costs
                    Operator                                                    25.38 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity                  25,013
                    Supervisor                                                   15% of operator costs                                                         3,752
                    Coordinator                                                  33% of operator costs                                                         8,254
                  Operating materials
                   Maintenance Labor                                           0.1173 $/ft2 collector area; $5775 if < 50,000 ft2                             94,795
                   Maintenance Materials                                          1% of purchased equipment costs                                            104,732
                   Utilities
                        Electricity                                              0.05 $/kW-hr, 381.0 kW-hr, 8760 hr/yr, 90.0% of capacity                    140,930
                        Water                                                    0.22 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity                     219,832
                        Solid Waste Disposal                                      NA                                                                               -
                        Wastewater Treatment                                     1.52 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity                   1,498,856
                        Reagent (Caustic)                                      280.00 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH                 -
                Total Annual Direct Operating Costs, DC                                                                                                    2,096,164

                Indirect Operating Costs
                     Overhead                                                    60% of oper, maint & supv labor + maint mtl costs                           136,975
                    Administration (2% total capital costs)                       2% of total capital costs (TCI)                                            467,105
                    Property tax (1% total capital costs)                         1% of total capital costs (TCI)                                            233,553
                    Insurance (1% total capital costs)                            1% of total capital costs (TCI)                                            233,553
                    Captial Recovery                                              9% for a 20- year equipment life and a 7% interest rate                  2,204,572
                Total Indirect Operating Costs                                                                                                             3,275,758

              Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                 5,371,921
              Pollutant Removed (tons/yr)                                                                                                                      163.8
              Cost per ton of PM Removed                                                                                                                      32,799




Coke Underfire Wet ESP.xls WESP Hi(e)-Hi(c)                                                                                                                            Page 7 of 8
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                                                                                              BART ANALYSIS 2004
                                                                                       WET ELECTROSTATIC PRECIPITATOR
                                   Capital Recovery Factors
                                   Primary Installation
                                   Interest Rate                                    7.0%
                                   Equipment Life                                      20 years
                                   CRF                                            0.0944

                                   Catalyst Replacement Cost
                                   Catalyst Life                                       2 years
                                   CRF                                            0.5531
                                   Catalyst cost per unit                             650 $/ft3
                                   Amount Required                                        0 ft3
                                   Catalyst Cost                                          0 Cost adjusted for freight & sales tax
                                   Installation Labor                                     0 Assume Labor = 15% of catalyst cost (basis labor for baghouse replacement)
                                   Total Installed Cost                                   0
                                   Annualized Cost                                        0

                                   Replacement Parts & Equipment
                                   Equipment Life                                      2
                                   CRF                                            0.5531
                                   Rep part cost per unit                          33.72 $ each
                                   Amount Required                                     0 Number
                                   Total Rep Parts Cost                                0 Cost adjusted for freight & sales tax
                                   Installation Labor                                  0 10 min per bag (13 hr total) Labor at $29.65/hr
                                   Total Installed Cost                                0
                                   Annualized Cost                                     0

                                   Total Cost Replacement Parts & Catalyst                                              0

                                   Design Flow                    115,000 dscfm                    130682 scfm
                                                                       490 Temp Deg F
                                                                      12% % Moisture
                                                                  231,188 acfm

     Operating Cost Calculations                                                            Annual hours of operation: 8,760
                                                                                            Utilization Rate:           90.0%
                                          Unit                Unit of          Use             Unit of        Annual       Annual    Comments
     Item                                 Cost $              Measure          Rate           Measure          Use*         Cost
     Op Labor                                      25.38 Hr                               1 hr/8 hr shift           986       25,013 $/Hr, 1.0 hr/8 hr shift, 8760 hr/yr, 90.0% of capacity
     Supervisor                                      NA                                                             NA           NA Calc'd as % of labor costs
     Maint Labor                            0.12 $/ft2 collector                  70,264 ft2 collector area                       8,239 $/ft2 collector area; $5775 if < 50,000 ft 2
     Maint Mtls                              NA                                                                      NA             1% of purchased equipment costs
     Utilities, Reagents, Waste Management & Replacements
     Electricity                           0.047 kW-hr                                381 kW-hr               3,003,623        140,930 $/kW-hr, 381.0 kW-hr, 8760 hr/yr, 90.0% of capacity
     Natural Gas                                    4.24 Mft3                            0 scfm                        0              0 $/Mft3, 0.0 scfm, 8760 hr/yr, 90.0% of capacity
     Water                                          0.22 Mgal                        2081 gpm                    984,249        219,832 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity
     Comp Air                                       0.27 Mscf                            0 Mscfm                       0              0 $/Mscf, 0.0 Mscfm, 8760 hr/yr, 90.0% of capacity
     Reagent #1(Caustic)                            280 Ton                              0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     Reagent #2                                     300 Ton                              0 lb-mole/hr                  0              0 $/Ton, 0.0 lb-mole/hr, 8760 hr/yr, 62 lb/lbmole, 50 wt% NaOH
     SW Disposal                                      25 Ton                         0.000 ton/hr                      0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
     Haz W Disp                                     273 Ton                          0.000 ton/hr                      0              0 $/Ton, 0.468 lb/ton, 8760 hr/yr
     WW Treat                                       1.52 Mgal                        2081 gpm                    984,249      1,498,856 $/Mgal, 2,080.7 gpm, 8760 hr/yr, 90.0% of capacity

     Catalyst                                        650 ft3                              0 ft3            2 yr life                 0 $/ft3, 0.0 ft3, 2 yr life, 8760 hr/yr, 90.0% of capacity
     Rep Parts                                     33.72 $/bag                            0 bags           2 yr life                 0 $/$/bag, 0.0 bags, 2 yr life, 8760 hr/yr, 90.0% of capacity
                                                                                                        *annual use rate is in same units of measurement as the unit cost factor
                                                                                             Emission Control Rate Calculation
     Uncontrolled Emission Rate
             Emission                 Unit of                    Flow          Unit of      Control Eff.    Emis Rate
               Factor               Measure                      Rate        Measure            %             T/yr     Comments/Notes
                          0.47 lb/ton                              700,000 tpy                 NA               163.80
     Controlled Emission Rate
                Perf                  Unit of                    Flow        Unit of        Control Eff.    Emis Rate
             Guarantee              Measure                      Rate        Measure            %             T/yr     Comments/Notes
                                                                                              99.99%               0.0 Currently assumes 99.99%.
     Emission Reduction T/yr                                                                                     163.8

                                   Electrical Consumption Requirements Kilowatts
                                                              Flow acfm      D P in H2O         Blower-Motor Eff               kW
                                   Blower                     231,188            5                     0.65                   208.1      OAQPS Cost Cont Manual 6th ed - Eq 3.46
                                                              Flow gpm       D P ft H2O      Pump Eff       Motor Eff
                                   Pump 1                       2081            60              0.8           0.9             32.6       OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                   Pump 2                         0             60              0.8           0.9             0.0        OAQPS Cost Cont Manual 5th ed - Eq 9.49
                                                              Area sqft       TR pwr         # Hoppers      Htr Pwr
                                   ESP                         70,264          136.3             2             4              140.3      OAQPS Cost Cont 5th ed - Eq 6.29 & 6.30

     Caustic Use                                   37.40 lb/hr SO2                    2.50 lb NaOH/lb SO2                         0.047 T/hr Caustic
     Lime Use                                      37.40 lb/hr SO2                    1.53 lb Lime/lb SO2                         0.029 T/hr Lime


     Estimate Area (ft2)
     Area #1                                     48503 ft2
     Flow #1                                   159588 acfm
     Flow #2                                  231,188 acfm
     Area #2                                   70264.0 ft2




Coke Underfire Wet ESP.xls WESP Hi(e)-Hi(c)                                                                                                                                                            Page 8 of 8
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                                    APPENDIX D. EPA CoST MODEL FROM PROPOSAL
                                                   FOR STEEL SOURCE CATEGORY




U. S. Steel / Comments on Proposed Good Neighbor FIP
Trinity Consultants                                                                      D-1
To create the following table, Trinity extracted the following data from the CoST software program which was downloaded from the Community
Modeling and Analysis System (CMAS) on May 23, 2022. https://www.cmascenter.org/cost/

The downloaded CoST software program contained data tables showing all available control measures applicable to various pollutants. Trinity first filtered the data tables filtered to only show ones
applicable to NOx reduction. The remaining measures were filtered again to those with titles containing the word “Steel”. CoST presented the control efficiencies and a summary of the applicable NOx
reduction control measures as tables, which were exported to a .csv file. There was no data editing to the CoST export tables, only combining data tables from CoST into the single table here.

Additionally, Trinity obtained the CoST model used for the proposed rule via OneDrive link from Charlie Fulcher (EPA) as described in an email from Robin Langdon (EPA) dated 5/27/2022.
Trinity verified that the CoST model for the proposed rule used the same references as those from the Cost program downloaded on 5/23/2022.



                                                                                                                                    Control                 Cost Per    Reference Year                                      neidevice     date




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 USCA Case #23-1207
             cmname                   cmabbreviation    majorpoll     controltechnology               sourcegroup                              Cost Year                                     sector     class   equiplife                            datasource                                                                                                     description
                                                                                                                                Efficiency (%)                Ton        Cost Per Ton                                         code      reviewed
                                                                                                                                                                                                                                                                     Application: The reduction in NOx emissions is achieved through the use of low excess air techniques, such that there is less available oxygen convert fuel nitrogen to NOx.

                                                                                                                                                                                                                                                                     This control applies to iron & steel reheating furnaces classified under SCC 30300933.
         Low Excess Air;
                                        NLEAISRH          NOX          Low Excess Air         Iron & Steel Mills - Reheating          13          1990        1320          2109.54        ptnonipm     Known      10                    2006      299|289|281|308
   Iron & Steel Mills - Reheating
                                                                                                                                                                                                                                                                      Discussion: Low excess air works by reducing levels of excess air to the combustor, usually by adjustments to air registers and/or fuel injection positions, or through control of overfire air dampers.
                                                                                                                                                                                                                                                                     The lower oxygen concentration in the burner zone reduces conversion of the fuel nitrogen to NOx. Also, under excess air conditions in the flame zone, a greater portion of fuel-bound nitrogen is
                                                                                                                                                                                                                                                                     converted to N2 therefore reducing the formation of fuel NOx (ERG, 2000).
                                                                                                                                                                                                                                                                     Application: This control is the use of low NOx burner (LNB) technology and flue gas recirculation (FGR) to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between
                                                                                                                                                                                                                                                                     fuel nitrogen and oxygen by lowering the temperature of one combustion zone and reducing the amount of oxygen available in another.

  Low NOx Burner and Flue Gas                                          Low NOx Burner                                                                                                                                                                                This control is applicable to iron and steel galvanizing operations with uncontrolled NOx emissions greater than 10 tons per year.
          Recirculation;               NLNBFISGV          NOX           and Flue Gas         Iron & Steel Mills - Galvanizing         60          1990         580          926.92         ptnonipm     Known      9                     2006       289|308|283
  Iron & Steel Mills - Galvanizing                                       Recirculation                                                                                                                                                                                Discussion: LNBs are designed to ""stage"" combustion so that two combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by
                                                                                                                                                                                                                                                                     LNB to supply excess air to cool the combustion process or to reduce available oxygen in the flame zone. Staged-air LNBs create a fuel-rich reducing primary combustion zone and a fuel-lean
                                                                                                                                                                                                                                                                     secondary combustion zone. Staged-fuel LNBs create a lean combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures
                                                                                                                                                                                                                                                                     (EPA, 2002).
  Low NOx Burner and Flue Gas
                                                                                                 Iron & Steel - In-Process            55          1990        3190          5098.06                                                                                  Application: This control is the use of low NOx burner (LNB) technology and flue gas recirculation (FGR) to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between
         Recirculation;                                                Low NOx Burner
                                                                                                       Combustion                                                                                                                                                    fuel nitrogen and
    Iron & Steel - In-Process         NLNBFISIPCG         NOX            and Flue Gas                                                                                                      ptnonipm     Known      15                                 289|283
                                                                                             - Process Gas -Coke Oven/ Blast                                                                                                                                          oxygen by lowering the temperature of one combustion zone and reducing the amount of oxygen available in another. This control is applicable to operations with in-process combustion (Process
 Combustion - Process Gas -Coke                                          Recirculation




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Document #2013657
                                                                                                         Furnace                      55          1990        2470          3947.4                                                                                   Gas - Coke Oven/ Blast Furnace) in the Iron & Steel industry with uncontrolled NOx emissions greater than 10 tons per year.
      Oven/ Blast Furnace
                                                                                                                                                                                                                                                                     Application: This control is the use of low NOx burner (LNB) technology and flue gas recirculation (FGR) to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between
                                                                                                                                                                                                                                                                     fuel nitrogen and oxygen by lowering the temperature of one combustion zone and reducing the amount of oxygen available in another.
  Low NOx Burner and Flue Gas
                                                                       Low NOx Burner                                                                                                                                                                                This control is applicable to iron and steel annealing operations with uncontrolled NOx emissions greater than 10 tons per year.
          Recirculation;                                                                       Iron and Steel Production -
                                      NLNBFISPASP         NOX           and Flue Gas                                                  60          1990         750          1198.6         ptnonipm     Known      10                    2006         289|283
    Iron and Steel Production -                                                                 Annealing or Soaking Pits
                                                                         Recirculation                                                                                                                                                                                Discussion: Soaking pits are a combustion source which can fire natural gas, oil or coal. Emissions of NOx are similar to boilers emissions. LNBs are designed to ""stage"" combustion so that two
     Annealing or Soaking Pits
                                                                                                                                                                                                                                                                     combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by LNB to supply excess air to cool the combustion process or to
                                                                                                                                                                                                                                                                     reduce available oxygen in the flame zone. Staged-air LNBs create a fuel-rich reducing primary combustion zone and a fuel-lean secondary combustion zone. Staged-fuel LNBs create a lean
                                                                                                                                                                                                                                                                     combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures (EPA, 2002).
                                                                                                                                                                                                                                                                     Application: This control is the use of low NOx burner (LNB) technology and flue gas recirculation (FGR) to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between
                                                                                                                                                                                                                                                                     fuel nitrogen and oxygen by lowering the temperature of one combustion zone and reducing the amount of oxygen available in another.

  Low NOx Burner and Flue Gas                                                                                                                                                                                                                                        This control is applicable to reheating processes in iron production operations with blast heating stoves ant uncontrolled NOx emissions greater than 10 tons per year.
                                                                       Low NOx Burner
          Recirculation;                                                                     Iron and Steel Production; Blast
                                       NLNBFISPBR         NOX           and Flue Gas                                                  77          1990         380          607.29         ptnonipm     Known      5                     2006       289|308|283
    Iron and Steel Production;                                                                    Heating or Reheating                                                                                                                                                Discussion: LNBs are designed to ""stage"" combustion so that two combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by
                                                                         Recirculation
   Blast Heating or Reheating                                                                                                                                                                                                                                        LNB to supply excess air to cool the combustion process or to reduce available oxygen in the flame zone. Staged-air LNBs create a fuel-rich reducing primary combustion zone and a fuel-lean
                                                                                                                                                                                                                                                                     secondary combustion zone. Staged-fuel LNBs create a lean combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures
                                                                                                                                                                                                                                                                     (EPA, 2002).


       Low NOx Burner;                                                                          Iron & Steel - In-Process             50          1990        2200          3515.9                                                                                   Application: This control is the use of low NOx burner (LNB) technology to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between fuel nitrogen and oxygen by
   Iron & Steel - In-Process                                                                          Combustion                                                                                                                                                     lowering the temperature of one combustion zone and reducing the amount of oxygen available in another. This control is applicable to operations with in-process combustion (Natural Gas or Coke




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Filed: 08/22/2023
                                       NLNBISIPCG         NOX          Low NOx Burner                                                                                                      ptnonipm     Known      15       204|205                   289|283
Combustion - Natural Gas or Coke                                                               - Natural Gas or Coke Oven                                                                                                                                            Oven Process Gas) in the Iron & Steel industry with uncontrolled NOx emissions greater than 10 tons per year.
      Oven Process Gas                                                                                Process Gas                     50          1990        1800          2876.65


                                                                                                                                                                                                                                                                     Application: This control is the use of low NOx burner (LNB) technology and selective catalytic reduction (SCR) to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction
                                                                                                                                                                                                                                                                     between fuel nitrogen and oxygen by lowering the temperature of one combustion zone and reducing the amount of oxygen available in another. SCR controls are post-combustion control
                                                                                                                                                                                                                                                                     technologies based on the chemical reduction of nitrogen oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
                                                                                                                                                                                                                                                                     which allows the process to occur at lower temperatures.
                                                                                                                                                                                                                                                                      This control is applicable to iron and steel annealing operations with uncontrolled NOx emissions greater than 10 tons per year.

                                                                                                                                                                                                                                                                      Discussion: LNBs are designed to ""stage"" combustion so that two combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by
                                                                                                                                                                                                                                                                     LNB to supply excess air to cool the combustion process or to reduce available oxygen in the flame zone. Staged-air LNB's create a fuel-rich reducing primary combustion zone and a fuel-lean
                                                                                                                                                                                                                                                                     secondary combustion zone. Staged-fuel LNB's create a lean combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures
                                                                                                                                                                                                                                                                     (EPA, 2002).

                                                                                                                                                                                                                                                                      Selective Catalytic Reduction (SCR) has been widely applied to stationary source, fossil fuel-fired, combustion units for emission control since the early 1970s. SCR is typically implemented on units
                                                                                                                                                                                                                                                                     requiring a higher level of NOx control than achievable by SNCR or other combustion controls (EPA, 2002).




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Page 1134 of 1689
Low NOx Burner and Selective Non-                                     Low NOx Burner
       catalytic Reduction;            NLNBNISAN          NOX           and Selective         Iron & Steel Mills - Annealing          80          1990        1720          2748.8         ptnonipm     Known      15                    2017       289|308|283       Like SNCR, SCR is based on the chemical reduction of the NOx molecule. The primary difference between SNCR and SCR is that SCR uses a metal-based catalyst to increase the rate of reaction
  Iron & Steel Mills - Annealing                                    Noncatalytic Reduction                                                                                                                                                                           (EPA, 2002). A nitrogen based reducing reagent, such as ammonia or urea, is injected into the flue gas. The reagent reacts selectively with the flue gas NOx within a specific temperature range and
                                                                                                                                                                                                                                                                     in the presence of the catalyst and oxygen to reduce the NOx.

                                                                                                                                                                                                                                                                      The use of a catalyst results in two advantages of the SCR process over SNCR, the higher NOx reduction efficiency and the lower and broader temperature ranges. However, the decrease in
                                                                                                                                                                                                                                                                     reaction temperature and increase in efficiency is accompanied by a significant increase in capital and operating costs (EPA, 2002). The cost increase is due to the large amount of catalyst required.

                                                                                                                                                                                                                                                                      The SCR system can utilize either aqueous or anhydrous ammonia as the reagent. Anhydrous ammonia is a gas at atmospheric pressure and normal temperatures. There are safety issues with the
                                                                                                                                                                                                                                                                     use of anhydrous ammonia, as it must be transported and stored under pressure (EPA, 2002). Aqueous ammonia is generally transported and stored at a concentration of 29.4% ammonia in water.

                                                                                                                                                                                                                                                                      Today, catalyst formulations include single component, multi-component, or active phase with a support structure. Most catalyst formulations contain additional compounds or sup-ports, providing
                                                                                                                                                                                                                                                                     thermal and structural stability or to increase surface area (EPA, 2002).
                                                                                                                                                                                                                                                                      The rate of reaction determines the amount of NOx removed from the flue gas. The important design and operational factors that affect the rate of reduction include: reaction temperature range;
                                                                                                                                                                                                                                                                     residence time available in the optimum temperature range; degree of mixing between the injected reagent and the combustion gases; uncontrolled NOx concentration level; molar ratio of injected
                                                                                                                                                                                                                                                                     reagent to uncontrolled NOx; ammonia slip; catalyst activity; catalyst selectivity; pressure drop across the catalyst; catalyst pitch; catalyst deactivation; and catalyst management (EPA, 2001).
                                                                                                                                                                                                                 Application: This control is the use of low NOx burner (LNB) technology and selective catalytic reduction (SCR) to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction
                                                                                                                                                                                                                 between fuel nitrogen and oxygen by lowering the temperature of one combustion zone and reducing the amount of oxygen available in another. SCR controls are post-combustion control
                                                                                                                                                                                                                 technologies based on the chemical reduction of nitrogen oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
                                                                                                                                                                                                                 which allows the process to occur at lower temperatures.
                                                                                                                                                                                                                  This control is applicable to small (<1 ton NOx per OSD) iron and steel annealing operations with uncontrolled NOx emissions greater than 10 tons per year.

                                                                                                                                                                                                                  Discussion: LNBs are designed to ""stage"" combustion so that two combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by
                                                                                                                                                                                                                 LNB to supply excess air to cool the combustion process or to reduce available oxygen in the flame zone. Staged-air LNB's create a fuel-rich reducing primary combustion zone and a fuel-lean
                                                                                                                                                                                                                 secondary combustion zone. Staged-fuel LNB's create a lean combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures
                                                                                                                                                                                                                 (EPA, 2002).

                                                                                                                                                                                                                  Selective Catalytic Reduction (SCR) has been widely applied to stationary source, fossil fuel-fired, combustion units for emission control since the early 1970s. SCR is typically implemented on units
                                                                                                                                                                                                                 requiring a higher level of NOx control than achievable by SNCR or other combustion controls (EPA, 2002).




                                                                                                                                                                                                                                                                                                                                                                                                                            USCA Case #23-1207
 Low NOx Burner and Selective                         Low NOx Burner and
                                                                                                                                                                                                                  Like SNCR, SCR is based on the chemical reduction of the NOx molecule. The primary difference between SNCR and SCR is that SCR uses a metal-based catalyst to increase the rate of reaction
Catalytic Reduction; Iron & Steel   NLNBSISAN   NOX    Selective Catalytic      Iron & Steel Mills - Annealing     90   1990   4080   6520.4    ptnonipm   Known   15             2017        289|308|283
                                                                                                                                                                                                                 (EPA, 2002). A nitrogen based reducing reagent, such as ammonia or urea, is injected into the flue gas. The reagent reacts selectively with the flue gas NOx within a specific temperature range and
         Mills - Annealing                                 Reduction
                                                                                                                                                                                                                 in the presence of the catalyst and oxygen to reduce the NOx.

                                                                                                                                                                                                                  The use of a catalyst results in two advantages of the SCR process over SNCR, the higher NOx reduction efficiency and the lower and broader temperature ranges. However, the decrease in
                                                                                                                                                                                                                 reaction temperature and increase in efficiency is accompanied by a significant increase in capital and operating costs (EPA, 2002). The cost increase is due to the large amount of catalyst required.

                                                                                                                                                                                                                  The SCR system can utilize either aqueous or anhydrous ammonia as the reagent. Anhydrous ammonia is a gas at atmospheric pressure and normal temperatures. There are safety issues with the
                                                                                                                                                                                                                 use of anhydrous ammonia, as it must be transported and stored under pressure (EPA, 2002). Aqueous ammonia is generally transported and stored at a concentration of 29.4% ammonia in water.

                                                                                                                                                                                                                  Today, catalyst formulations include single component, multi-component, or active phase with a support structure. Most catalyst formulations contain additional compounds or sup-ports, providing
                                                                                                                                                                                                                 thermal and structural stability or to increase surface area (EPA, 2002).

                                                                                                                                                                                                                  The rate of reaction determines the amount of NOx removed from the flue gas. The important design and operational factors that affect the rate of reduction include: reaction temperature range;
                                                                                                                                                                                                                 residence time available in the optimum temperature range; degree of mixing between the injected reagent and the combustion gases; uncontrolled NOx concentration level; molar ratio of injected
                                                                                                                                                                                                                 reagent to uncontrolled NOx; ammonia slip; catalyst activity; catalyst selectivity; pressure drop across the catalyst; catalyst pitch; catalyst deactivation; and catalyst management (EPA, 2001).


                                                                                                                                                                                                                 Application: This control is the use of low NOx burner (LNB) technology to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between fuel nitrogen and oxygen by
                                                                                                                                                                                                                 lowering the temperature of one combustion zone and reducing the amount of oxygen available in another.




                                                                                                                                                                                                                                                                                                                                                                                                                            Document #2013657
                                                                                                                                                                                                                  This control is applicable to iron and steel annealing operations with uncontrolled NOx emissions greater than 10 tons per year.
       Low NOx Burner;
                                    NLNBUISAN   NOX     Low NOx Burner          Iron & Steel Mills - Annealing     50   1990   570    910.94    ptnonipm   Known   10   204|205   2006        289|308|283
  Iron & Steel Mills - Annealing
                                                                                                                                                                                                                  Discussion: LNBs are designed to ""stage"" combustion so that two combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by
                                                                                                                                                                                                                 LNB to supply excess air to cool the combustion process or to reduce available oxygen in the flame zone. Staged-air LNBs create a fuel-rich reducing primary combustion zone and a fuel-lean
                                                                                                                                                                                                                 secondary combustion zone. Staged-fuel LNBs create a lean combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures
                                                                                                                                                                                                                 (EPA, 2002).


                                                                                                                                                                                                                 Application: This control is the use of low NOx burner (LNB) technology to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between fuel nitrogen and oxygen by
                                                                                                                                                                                                                 lowering the temperature of one combustion zone and reducing the amount of oxygen available in another.

                                                                                                                                                                                                                  This control is applicable to iron and steel galvanizing operations (SCC 30300936) with uncontrolled NOx emissions greater than 10 tons per year.
       Low NOx Burner;
                                    NLNBUISGV   NOX     Low NOx Burner         Iron & Steel Mills - Galvanizing    50   1990   490    783.09    ptnonipm   Known   10   204|205   2017        289|308|283
 Iron & Steel Mills - Galvanizing
                                                                                                                                                                                                                  Discussion: LNBs are designed to ""stage"" combustion so that two combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by
                                                                                                                                                                                                                 LNB to supply excess air to cool the combustion process or to reduce available oxygen in the flame zone. Staged-air LNBs create a fuel-rich reducing primary combustion zone and a fuel-lean
                                                                                                                                                                                                                 secondary combustion zone. Staged-fuel LNBs create a lean combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures
                                                                                                                                                                                                                 (EPA, 2002).


                                                                                                                                                                                                                 Application: This control is the use of low NOx burner (LNB) technology to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between fuel nitrogen and oxygen by
                                                                                                                                                                                                                 lowering the temperature of one combustion zone and reducing the amount of oxygen available in another.

                                                                                                                                                                                                                  This control is applicable to iron and steel reheating operations (SCC 30300933) with uncontrolled NOx emissions greater than 10 tons per year.
       Low NOx Burner;




                                                                                                                                                                                                                                                                                                                                                                                                                            Filed: 08/22/2023
                                    NLNBUISRH   NOX     Low NOx Burner          Iron & Steel Mills - Reheating     66   1990   300    479.44    ptnonipm   Known   10   204|205   2017        289|308|283
 Iron & Steel Mills - Reheating
                                                                                                                                                                                                                  Discussion: LNBs are designed to ""stage"" combustion so that two combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by
                                                                                                                                                                                                                 LNB to supply excess air to cool the combustion process or to reduce available oxygen in the flame zone. Staged-air LNBs create a fuel-rich reducing primary combustion zone and a fuel-lean
                                                                                                                                                                                                                 secondary combustion zone. Staged-fuel LNBs create a lean combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures
                                                                                                                                                                                                                 (EPA, 2002).


                                                                                                                                                                                                                 Application: This control is the use of low NOx burner (LNB) technology to reduce NOx emissions. LNBs reduce the amount of NOx created from reaction between fuel nitrogen and oxygen by
                                                                                                                                                                                                                 lowering the temperature of one combustion zone and reducing the amount of oxygen available in another.

        Low NOx Burner;                                                                                                                                                                                           This control is applicable to heat treating operations at steel foundries (SCC 30400704) with uncontrolled NOx emissions greater than 10 tons per year.
 Steel Foundries; Heat Treating     NLNBUSFHT   NOX     Low NOx Burner       Steel Foundries; Heat Treating Furn   50   1990   570    910.94    ptnonipm   Known   10   204|205   2006        289|308|283
              Furn                                                                                                                                                                                                Discussion: LNBs are designed to ""stage"" combustion so that two combustion zones are created, one fuel-rich combustion and one at a lower temperature. Staging techniques are usually used by
                                                                                                                                                                                                                 LNB to supply excess air to cool the combustion process or to reduce available oxygen in the flame zone. Staged-air LNBs create a fuel-rich reducing primary combustion zone and a fuel-lean
                                                                                                                                                                                                                 secondary combustion zone. Staged-fuel LNBs create a lean combustion zone that is relatively cool due to the presence of excess air, which acts as a heat sink to lower combustion temperatures
                                                                                                                                                                                                                 (EPA, 2002).




                                                                                                                                                                                                                                                                                                                                                                                                                            Page 1135 of 1689
                                                                                                                                                                                                                 Application: This control is the selective catalytic reduction of NOx through add-on controls. SCR controls are post-combustion control technologies based on the chemical reduction of nitrogen
                                                                                                                                                                                                                 oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency, which allows the process to occur at lower temperatures.
                                                                                                                                                                                                                  Applies to iron and steel annealing operations with NOx emissions greater than 10 tons per year.

                                                                                                                                                                                                                  Discussion: Selective Catalytic Reduction (SCR) has been widely applied to stationary source, fossil fuel-fired, combustion units for emission control since the early 1970s. SCR is typically
                                                                                                                                                                                                                 implemented on units requiring a higher level of NOx control than achievable by SNCR or other combustion controls (EPA, 2002).

                                                                                                                                                                                                                  Like SNCR, SCR is based on the chemical reduction of the NOx molecule. The primary difference between SNCR and SCR is that SCR uses a metal-based catalyst to increase the rate of reaction
                                                                                                                                                                                                                 (EPA, 2002). A nitrogen based reducing reagent, such as ammonia or urea, is injected into the flue gas. The reagent reacts selectively with the flue gas NOx within a specific temperature range and
                                                                                                                                                                                                                 in the presence of the catalyst and oxygen to reduce the NOx.
 Selective Catalytic Reduction;                        Selective Catalytic                                                                                                               289|304|283|287|280|2
                                    NSCRISAN    NOX                            Iron & Steel Mills - Annealing2     90   1999   5269   7020.39   ptnonipm   Known   20    139      2017
 Iron & Steel Mills - Annealing                            Reduction                                                                                                                              85            The use of a catalyst results in two advantages of the SCR process over SNCR, the higher NOx reduction efficiency and the lower and broader temperature ranges. However, the decrease in
                                                                                                                                                                                                               reaction temperature and increase in efficiency is accompanied by a significant increase in capital and operating costs (EPA, 2002). The cost increase is due to the large amount of catalyst required.

                                                                                                                                                                                                                  The SCR system can utilize either aqueous or anhydrous ammonia as the reagent. Anhydrous ammonia is a gas at atmospheric pressure and normal temperatures. There are safety issues with the
                                                                                                                                                                                                                 use of anhydrous ammonia, as it must be transported and stored under pressure (EPA, 2002). Aqueous ammonia is generally transported and stored at a concentration of 29.4% ammonia in water.

                                                                                                                                                                                                                  Today, catalyst formulations include single component, multi-component, or active phase with a support structure. Most catalyst formulations contain additional compounds or sup-ports, providing
                                                                                                                                                                                                                 thermal and structural stability or to increase surface area (EPA, 2002).
                                                                                                                                                                                                                  The rate of reaction determines the amount of NOx removed from the flue gas. The important design and operational factors that affect the rate of reduction include: reaction temperature range;
                                                                                                                                                                                                                 residence time available in the optimum temperature range; degree of mixing between the injected reagent and the combustion gases; uncontrolled NOx concentration level; molar ratio of injected
                                                                                                                                                                                                                 reagent to uncontrolled NOx; ammonia slip; catalyst activity; catalyst selectivity; pressure drop across the catalyst; catalyst pitch; catalyst deactivation; and catalyst management (EPA, 2001).
                                                                                                                                                                                                        Application: This control is the selective catalytic reduction of NOx through add-on controls. SCR controls are post-combustion control technologies based on the chemical reduction of nitrogen
  Selective Catalytic Reduction;
                                                          Selective Catalytic       Iron & Steel - In-Process                                                                                           oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
    Iron & Steel - In-Process        NSCRISIPCC   NOX                                                               90   1999   3027   4033.16   ptnonipm   Known   20   139             277|205
                                                              Reduction           Combustion - Bituminous Coal                                                                                          which allows the process to occur at lower temperatures. This control is applicable to operations with in-process combustion (Bituminous Coal) in the Iron & Steel industry with uncontrolled NOx
 Combustion - Bituminous Coal
                                                                                                                                                                                                        emissions greater than 10 tons per year.

  Selective Catalytic Reduction;                                                     Iron & Steel - In-Process                                                                                          Application: This control is the selective catalytic reduction of NOx through add-on controls. SCR controls are post-combustion control technologies based on the chemical reduction of nitrogen
    Iron & Steel - In-Process                             Selective Catalytic               Combustion                                                                                                  oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
                                     NSCRISIPCG   NOX                                                               90   1999   4953   6599.35   ptnonipm   Known   20   139   2017      277|205
  Combustion - Natural Gas and                                Reduction           - Natural Gas and Process Gas -                                                                                       which allows the process to occur at lower temperatures. This control is applicable to operations with in-process combustion (Natural Gas and Process Gas - Coke Oven Gas) in the Iron & Steel
  Process Gas - Coke Oven Gas                                                             Coke Oven Gas                                                                                                 industry.


                                                                                                                                                                                                        Application: This control is the selective catalytic reduction of NOx through add-on controls. SCR controls are post-combustion control technologies based on the chemical reduction of nitrogen
  Selective Catalytic Reduction;
                                                          Selective Catalytic       Iron & Steel - In-Process                                                                                           oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O). The SCR utilizes a catalyst to increase the NOx removal efficiency,
    Iron & Steel - In-Process        NSCRISIPCO   NOX                                                               90   1999   4458   5939.82   ptnonipm   Known   20   139   2017      277|205
                                                              Reduction             Combustion - Residual Oil                                                                                           which allows the process to occur at lower temperatures. This control is applicable to operations with in-process combustion (Residual Oil) in the Iron & Steel industry with uncontrolled NOx
   Combustion - Residual Oil




                                                                                                                                                                                                                                                                                                                                                                                                             USCA Case #23-1207
                                                                                                                                                                                                        emissions greater than 10 tons per year.


                                                                                                                                                                                                        Application: This control is the reduction of NOx emission through selective non-catalytic reduction add-on controls. SNCR controls are post-combustion control technologies based on the chemical
                                                                                                                                                                                                        reduction of nitrogen oxides (NOx) into molecular nitrogen (N2) and water vapor (H2O).

                                                                                                                                                                                                        This control applies to iron and steel mill annealing operations with uncontrolled NOx emissions greater than 10 tons per year, classified under SCC 30300934.

                                                                                                                                                                                                         Discussion: SNCR is the reduction of NOx in flue gas to N2 and water vapor. This reduction is done with a nitrogen based reducing reagent, such as ammonia or urea. The reagent can react with a
                                                                                                                                                                                                        number of flue gas components. However, the NOx reduction reaction is favored for a specific temperature range and in the presence of oxygen (EPA, 2002).
Selective Non-Catalytic Reduction;                      Selective Non-Catalytic
                                     NSNCRISAN    NOX                             Iron & Steel Mills - Annealing    60   1990   1640   2620.95   ptnonipm   Known   15   107   2017   289|304|308|283    Both ammonia and urea are used as reagents. The cost of the reagent represents a large part of the annual costs of an SNCR system. Ammonia is generally less expensive than urea. However, the
  Iron & Steel Mills - Annealing                               Reduction
                                                                                                                                                                                                        choice of reagent is also based on physical properties and operational considerations (EPA, 2002).

                                                                                                                                                                                                         Ammonia can be utilized in either aqueous or anhydrous form. Anhydrous ammonia is a gas at atmospheric pressure and normal temperatures. There are safety issues with the use of anhydrous
                                                                                                                                                                                                        ammonia, as it must be transported and stored under pressure (EPA, 2002). Aqueous ammonia is generally transported and stored at a concentration of 29.4% ammonia in water.

                                                                                                                                                                                                         Urea based systems have several advantages, including several safety aspects. Urea is a nontoxic, less volatile liquid that can be stored and handled more safely than ammonia. Urea solution
                                                                                                                                                                                                        droplets can penetrate farther into the flue gas when injected into the boiler, enhancing mixing (EPA, 2002). Because of these advantages, urea is more commonly used than ammonia in large
                                                                                                                                                                                                        boiler applications.




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                                                APPENDIX E. REPRESENTATIVE SCR COST
                                                       EFFECTIVENESS CALCULATIONS




U. S. Steel / Comments on Proposed Good Neighbor FIP
Trinity Consultants                                                                        E-1
                                                                                                                                         USCA Case #23-1207
Summary of U.S. Steel representative unit SCR cost analyses

                                                                 NOX         CO2
                                 1     Exhaust     Exhaust    Emissions   Emissions Total Capital Total Annual    NOX         Cost
 Unit Type    CSAPR NOX Limit                                                                                          2
                                     Temperature   Flowrate     from        from    Investment       Costs     Removed   Effectiveness
                                                               Reheat      Reheat
                                         °F         acfm         tpy         tpy       2021$         2021$     tons/year     2021$




 Annealing




                                                                                                                                         Document #2013657
               0.06   lb/MMBtu          500        65,574        2         2,637      4,272,741    1,144,126       40           28,523
  Furnace




    LMF        0.1      lb/ton           98        77,000        23        27,612    23,543,813    5,548,696       3        1,733,478




                                                                                                                                         Filed: 08/22/2023
Coke Pushing 0.015 lb/ton coal          138        298,569       72        86,725    56,107,975   15,067,419       5        3,121,677




   Ladle




                                                                                                                                         Page 1138 of 1689
               0.06   lb/MMBtu          300        18,806        2         2,411      1,170,408     664,409        11           62,036
 Preheater




1. CSAPR Proposed Rule Table I.B-4 Summary of Proposed NOX Emissions Limits for Iron and Steel and Ferroalloy Emissions Units
2. Assumes a NOX removal efficiency of 70%.
                                                                                                                                                                 USCA Case #23-1207
In order to determine the economic feasibility to retrofit Selective Catalytic Reduction (SCR) technology on existing NOx‐emitting sources, Trinity utilized
the EPA Air Pollution Control Cost Manual (CCM), Section 4, Chapter 2, Selective Catalytic Reduction, NOx Controls, EPA/452/B‐02‐001
(https://www.epa.gov/sites/default/files/2017‐12/documents/scrcostmanualchapter7thedition_2016revisions2017.pdf). The approach incorporates
methodologies from the 6/12/2019 version of the CCM for SCR design parameters and annual costs while utilizing the approach from the 1/2002 CCM for
direct and indirect costs. The 2002 manual reflects a more robust determination for direct and indirect costs for SCR as equations incorporate several
sensitivity cases, while the 2019 approach is based on the Clean Air Markets Division (CAMD) Integrated Planning Model (IPM) for utility and industrial
boilers. The CCM presents cost estimation for industrial boilers via modified IPM equations to replace electricity production ratings with "typical" boiler
heat input capacities using boiler net plant heat rate (NPHR). Neither version of the CCM presents cost estimation methodology specific to non‐boiler

Critical inputs to the CCM model include heat input rate represented by the total maximum burner heat input to the unit, observed actual exhaust gas




                                                                                                                                                                 Document #2013657
temperature and flow rate, actual annual NOx emissions and operating hours for the unit (potential‐to‐emit has not been utilized for the cost model for a
retrofit system), and several market cost data for ammonia, natural gas, and electricity. To employ the CCM methodology for units which do not combust
fuel via a burner, such as electric arc furnaces and ladle metallurgy furnaces, the heat input has been calculated utilizing the 40 CFR 75 Table 1 natural gas
F‐factor and the known exhaust gas flow associated with unit to determine a simulated heat input. Also, SCR operate at optimum control efficiency at
approximately 700F, therefore, the approach incorporates reheating the exhaust gas stream via a natural gas‐fired duct burner to elevate the current
exhaust gas temperature to the target temperature. The combined gas volume from the existing system and natural gas reheat process is utilized for SCR
design parameters such as the catalyst area. NOx emissions generated by the reheat process have been quantified via an AP‐42 Chapter 1.4 natural gas
combustion NOx emission factor, but are not incorporated into the cost effectiveness determination. Further, the cost model includes direct and
operating cost associated with a NOx analyzer as determined by EPA's Emission Measurement Center (EMC): Continuous Emission Monitoring Systems

Key output parameters of the cost model include Total Capital Investment (TCI) and cost effectiveness, calculated as the total NOx removed from the




                                                                                                                                                                 Filed: 08/22/2023
exhaust gas at 70% SCR control efficiency divided by the annualized SCR system cost.




                                                                                                                                                                 Page 1139 of 1689
                                                                                                                      SCR Cost Analysis

Detailed SCR Cost Analysis         (note this is a sample calculation for one process unit - the same steps were used for all U.S. Steel process units to calculate $/ton)
                Parameter                           Variable                      Calculation                  Cost                 Units                                                     Reference
Unit Type                                       Annealing Furnace
Unit Operating Parameters
Heat Input Rate                                          QB                                                           121.1 MMBtu/hr          Maximum Heat Input Rate
                                                                                                                                              Average of exhaust gas temperature from baseline period at stack outlet (Stack test, DAS data, or
Exhaust Gas Temperature                                   T                                                            500 deg F
                                                                                                                                              conservative estimate)




                                                                                                                                                                                                                                                             USCA Case #23-1207
                                                                                                                                              Maximum exhaust flowrate from baseline period (Stack test, DAS data, or conservative estimate); Assumed
                                                                       scfm*(14.7 psi/14.7
Exhaust Gas Flow                                  qfluegas(NoReheat)                                              65,574 acfm                 dry exhaust gas; Conversion from scfm to acfm based on temperature only (68°F standard temperature; 460
                                                                       psi)*(T+460)/ (68°F+460)
                                                                                                                                              = conversion from °F to Rankine); No significant pressure change assumed (14.7 psi = standard pressure)

                                                                                                                                              Flow volume into SCR catalyst following required reheat of flue gas stream to target SCR operating
                                                                                                                                              temperature; Natural Gas wet F-factor (10,610 wscf/MMBtu) per EPA Method 19 (8/3/17); Natural Gas HHV
                                                                       [qfluegas(NoReheat) + NGrequired / F-
                                                                                                                                              (1,020 MMBtu/106 scf) per AP-42 Chapter 1.4 (July 1998); Natural Gas F-factor = 10,610 scf/MMBtu*1,020
Exhaust Gas Flow With Natural Gas Reheat               qfluegas        factorNatural Gas (wscf/Mcf)               66,789 acfm
                                                                                                                                              MMBtu/106 scf* 103 Mcf/cf = 10,822 wscf flue gas/Mcf natural gas; Conversion from acfm at process exhaust
                                                                       /tSCR]* (TSCR+460)/ (T+460)
                                                                                                                                              temperature to acfm at SCR operating temperature based on temperature only (460 = conversion from °F to
                                                                                                                                              Rankine) and no significant pressure change assumed (14.7 psi = standard pressure)




                                                                                                                                                                                                                                                             Document #2013657
Actual Annual NOx Emission Rate                      NOxannual                                                           57 tpy               Maximum annual NOx emissions from baseline period
Annual Unit Operating Hours                           AOH                                                             7,884 hr/yr             Annual operating hours associated with maximum annual NOx emissions from baseline period
SCR Control Efficiency                                   e             Maximum efficiency                                70 %                 EPA/452/F-03-032 SCR Control Technology Fact Sheet
SCR Operating Hours                                     tSCR           Maximum operation                              7,884 hr/yr             Assuming 100% uptime; Operated 100% of time during unit operation
SCR Operating Temperature                               TSCR                                                            700 deg F             Optimum SCR operation at 700°F per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.2.2
                                                                       (NOxannual*2,000 lb/ton) /
Inlet Concentration                                    NOxin                                                           0.12 lb/MMBtu          Calculation at maximum heat input rate.
                                                                       (QB*AOH)
Outlet Concentration                                  NOxout           NOxin*(1-e )                                    0.04 lb/MMBtu          Based on SCR control efficiency; Assumes operation at maximum heat input rate.
Available Cost Data

Capital Cost of Ammonia Catalyst                      CCinitial        ($8,000/m3)/(35.3147 ft3/m3)                    248 $/ft3              Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, footnote 4; Adjusted from 2010 dollar.




                                                                                                                                                                                                                                                             Filed: 08/22/2023
Cost of 19% Ammonia                                 CNH3solution       $/gal/DenNH3                               0.5631 $/lb                 Based on $0.5631/gallon from Tanner Industries, Inc. budgetary pricing (10/1/2020)
Industrial Natural Gas Price                         CostNG                                                          5.5 $/Mscf               EIA Natural Gas Prices for 2021 - U.S. Total Industrial Price
Industrial Electricity Rate                          Costelect                                                    0.1059 $/kWh                EIA Electricity Data for 2020 - U.S. Total
Chemical Properties and Constants
Ammonia Solution Density                              DenNH3                                                           7.51 lbs/gal           Density of 19% Ammonia Solution
Ammonia Molecular Weight (MW)                         Mreagent                                                        17.03 g/mol             Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR
NO2 MW                                                 MNOx                                                           46.01 g/mol




                                                                                                                                                                                                                                                             Page 1140 of 1689
Ratio of Equivalent Moles of NH3 per Mole of                                                                                mol NH3 : mol
                                                    SRtheoretical                                                         1                   Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR
Reagent Injected                                                                                                            reagent
Ratio of Equivalent Moles of NH3 per mole of
                                                        SRF                                                            1.05 mol NH3:mol NOx   Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.3.7
NOx
Constant 1                                               c1                                                               7 ft                Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.3.12
Constant 2                                               c2                                                               9 ft                Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.3.12
SCR Design Data
Empty Catalyst Layers                                 nempty                                                              0 layers            Conservatively assumed for lowest capital cost
Nominal Height of Each Catalyst Layer                 h'layer                                                           3.1 ft                Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.3.12
Number SCR Chambers                                    nscr                                                               1 chamber           Conservatively assumed for lowest capital cost
Allowable Slip                                         Slip                                                               2 ppm               Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.2.2. Minimum range of allowable slip.
Pressure Drop due to Duct                             ΔPduct                                                              3 in                Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.5
Pressure Drop due to Catalyst                        ΔPcatalyst                                                           1 in                Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.5


                                                                                                                           Page 1 of 4                                                                                                            May 2022
                                                                                                                   SCR Cost Analysis

Detailed SCR Cost Analysis         (note this is a sample calculation for one process unit - the same steps were used for all U.S. Steel process units to calculate $/ton)
                    Parameter                       Variable                   Calculation                  Cost                 Units                                                         Reference
                                                                                                                                            Per 2019 EPA Cost Manual, Sec 4, Chp 2, Part 2.4.2; Assumed average of high-dust SCR as a catalyst layer is
Operating Life of Catalyst in Hours                   hcatalyst                                                 20,000 hours
                                                                                                                                            typically guaranteed for 16,000 - 24,000 operating hours.
                                                                                                                                            Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.10. Assumes constant removal efficiency without
NOx Removal Efficiency                                  ηNOx         (NOxin-NOxout)/NOxin*100%                       70 %                   variation of catalyst activity, which decreases over time (2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part
                                                                                                                                            2.3.10).




                                                                                                                                                                                                                                                           USCA Case #23-1207
Cross Sectional Area of Catalyst                      Acatalyst      qfluegas/(16ft/sec x 60 sec/min)                70 ft2                 Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.28.

                                                                     Acatalyst*1.15 (15% greater than
Cross Sectional area of SCR reactor                     ASCR                                                         80 ft2                 Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.29.
                                                                     Acatalyst)
                                                                     15.16-(0.03937*T)
Temp Adjustment                                         Tadj                                                       2.33 deg F               Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.27
                                                                     +(0.0000274*(T2))
Slip Adjustment                                       Slipadj        (1.2835-(0.0567*Slip))                        1.17                     Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.24
Inlet NOx Adjustment                                  NOxadj         (0.8524+(0.3208*NOXin))                       0.89                     Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.25
NOx Efficiency Adjustment                              ηadj          (0.2869+(1.058*ηNOx))                         1.03                     Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.23
                                                                     2.81*QB*




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Volume of Catalyst                                   Volcatalyst                                                   848 ft3                  Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.22
                                                                     ηadj*NOXadj*Slipadj*Tadj/nscr
Height of catalyst layer                                hlayer       Volcatalyst/(Nlayer*Acatalyst)+1                 4 ft                  Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.32
Number of catalyst layers                               nlayer       Volcatalyst/(h'layer*Acatalyst)                  4 layers              Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.31
Total Number of catalyst layers                         ntotal       nlayer + nempty                                  4 layers              Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.33
Height of SCR                                            hscr        ntotal*(C1+hlayer)+C2                           53 ft                  Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.34
                                                                     (NOxin*QB*ηNOx*SRF*Mreagent)/(
Mass flow of reagent                                  mreagent                                                        4 lb/hr               Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.35
                                                                     MNOx)
Mass flow of solution                                   msol         mreagent/Csol                                   21 lb/hr               Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.36
Direct Costs
Catalyst Cost                                       f(Volcatalyst)   Volcatalyst*CCinitial                     210,271 $                    Calculated
                                                                     $411/(lb/hr)*mreagent/QB-




                                                                                                                                                                                                                                                           Filed: 08/22/2023
Ammonia Flow Adjustment                             f(NH3rate)                                                      -62 $/(MMBtu/hr)        Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.38; Adjusted from 1998 dollar
                                                                     $47.3/MMBtu/hr
                                                                     $6.12/(ft-MMBtu/hr)*hscr-
SCR height Adjustment                                  f(hscr)                                                     250 $/(MMBtu/hr)         Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.37; Adjusted from 1998 dollar
                                                                     $187.9/MMBtu/hr
Retrofit "Boiler" Adjustment                          f(new)         $0/MMBtu/hr                                     0 $/(MMBtu/hr)         Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.40
Bypass Adjustment                                   f(bypass)        $127/MMBtu/hr                                   0 $/(MMBtu/hr)         Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.42; No Bypass Installed
Ammonia Slip Monitoring                            NH3MONcost        70,000                                     94,961 $                    Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Section 2.2.2; Adjusted from 2009 dollar
                                                                                                                                            NOx analyzer, O2 analyzer, flow monitor; Cost per EMC: Continuous Emission Monitoring Systems CEMS Cost
NOx, O2, and Flow Monitoring                       NOxMONcost                                                  221,191 $
                                                                                                                                            Model Version 3.0 (3/7/2007); Adjusted from 2007 dollar




                                                                                                                                                                                                                                                           Page 1141 of 1689
                                                                     QB[3,380/MMBtu/hr+f(hscr)+
                                                                     f(NH3rate)+f(new)+
Total Direct Cost                                        DC          f(bypass)](3,500/QB)0.35+               3,016,015 $                    Adapted from 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.36; Adjusted from 1998 dollar
                                                                     f(Vol)+ NH3MONcost+
                                                                     NOxMONcost
Indirect Costs
Performance Test                                       PTcost        Budgetary Cost                             20,000 $                    Testing of Catalyst Core (Engineering Estimate)
General Facilities                                     GFcost        0.05*DC                                   150,801 $                    Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Table 2.5
Engineering and Home Office Fees                       EOcost        0.10*DC                                   301,602 $                    Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Table 2.5
Process Contingency                                    PCcost        0.05*DC                                   150,801 $                    Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Table 2.5
Total Indirect Installation Costs                        B           PTcost+GFcost+EOcost+PCcost               623,203 $                    Calculated
Project Contingency                                      C           0.15*(DC+B)                               545,883 $                    Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.4.1



                                                                                                                          Page 2 of 4                                                                                                           May 2022
                                                                                                                  SCR Cost Analysis

Detailed SCR Cost Analysis       (note this is a sample calculation for one process unit - the same steps were used for all U.S. Steel process units to calculate $/ton)
                 Parameter                        Variable                   Calculation                  Cost                Units                                                       Reference
Total Capital Investment
Total Plant Costs                                      D          DC+B+C                                   4,185,101 $                    -
Preproduction Costs                                    G          0.02*D                                      83,702 $                    Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Table 2.5
                                                                  CNH3solution*msol*14 days*24
Inventory Capital                                      H                                                         3,938 $                  Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Table 2.5; Based on 14 days of SCR operation, 24 hrs/day
                                                                  hr/day




                                                                                                                                                                                                                                                          USCA Case #23-1207
Total Capital Investment                             TCI          D+G+H                                   4,272,741 $                     Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Table 2.5
Total Annual Costs
                                                                                                                 Direct Annual Costs
                                                                  tSCR/24 hr/day* 4 hr/day*
Operator Labor Costs                                OLcost                                                   103,044 $                    Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Parts 2.4.2 & 2.5; Adjusted from 2016 dollar
                                                                  $60/hr
Supervisor Labor Costs                               SLcost       0.15*OLcost                                 15,457 $                    Assumed minimal - 15% of Operating Labor Rate per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 1.5.1

Annual Maintenance Costs                            AMcost        0.005*TCI                                   21,364 $                    Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.57
Annual Reagent Costs                                ARcost        CNH3solution*msol*tSCR                      92,405 $                    Adapted from 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.58
                                                                  P*Costelect*tSCR =                                                      Adapted from 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equations 2.61 & 2.62; CoalF assumed 1 per 2019




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Annual Electricity Costs                            AEcost        (0.1*QB)*1,000*0.0056*(CoalF                56,639 $                    EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.4.1.3; HRF assumed 1 per 2019 EPA Cost Manual, Sec 4, Chp 2
                                                                  *HRF)0.43* Costelect*tSCR                                               SCR, Part 2.3.2 (NPHR=10)
                                                                                                                                          Cost per EMC: Continuous Emission Monitoring Systems CEMS Cost Model Version 3.0 (3/7/2007); Adjusted
Annual Continuous Monitoring System Cost        AnnualMONcost                                                 93,926 $                    from 2007 dollar; Includes a 15% contingency factor to account for annual Ammonia Slip monitor QAQC
                                                                                                                                          which has not been estimated via the EMC Cost Model
                                                                                                                                          Adapted from 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.63; Conservatively assumes replacing 1
Catalyst Replacement Costs                          CRcost        nSCR*Volcat*(CCinitial/nlayer)              52,568 $
                                                                                                                                          layer at a time vs full replacement (nlayer=Rlayer)
Future Worth Factor                                  FWF          i*[1/(1+i)hcatalyst/tSCR-1)                    0.4                      Adapted from 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equations 2.65 and 2.66
Annual Catalyst Replacement Cost                    ACRcost       CRcost*FWF                                  20,711 $                    Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.64.
Annual Natural Gas Cost for Reheat                  NGcost        NGrequired*CostNG                          241,709
                                                                                                                                          Calculated using Ideal Gas Law at standard condition of 14.7 psi and Exhaust Gas Temperature (T) where




                                                                                                                                                                                                                                                          Filed: 08/22/2023
   Density of Air at Exhaust Temp                    ρ air        n/V=P/(R*T)                                 0.0014 lb-mole/scf
                                                                                                                                          Ideal Gas Constant (R) = 10.731577089016 psi⋅ft 3 ⋅/ lb-mole⋅°R
                                                                                                                                          Calculated using Specific Heat of Air at Exhaust Gas Temperature (T) (Btu/lb-°F) x Molecular Weight of Air
   Specific Heat of Air at Exhaust Temp               Cp          Btu/lb-°F * 29 lb/lb-mole                       7.67 Btu/lb-mole °F
                                                                                                                                          (29 lb/lb-mole)
                                                                  (68°F+460)/(T+460)*ρ air *C p                                           Required natural gas input to increase flue gas temperature for optimum SCR operation; Includes 20%
   Reheat Burner Heat Input Requirement            Reheat                                                         1.45 Btu/acf
                                                                  *(T SCR -T)*120%                                                        contingency factor to account for burner inefficiency
                                                                  q fluegas(NoReheat) *Reheat/HHV Nat
   Natural Gas Required for Reheat                NG required                                                 43,947 Mcf/year             Natural Gas HHV (1,020 MMBtu/10 6 scf) per AP-42 Chapter 1.4 (July 1998)
                                                                  ural Gas * 60 min/hr*t SCR
                                                                  OLcost+SLcost+AMcost+ARcost+




                                                                                                                                                                                                                                                          Page 1142 of 1689
Direct Annual Costs                                 DAcost        AEcost+AnnualMONcost+                     645,254 $/year                Adapted from 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.56.
                                                                  ACRcost+NGcost
                                                                                                                 Indirect Annual Costs
Administrative Charges                               Acost        0.03*OLcost+0.4*AMcost                      11,637 $/year               Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.69.
Overhead Costs                                       Ocost        0.6*(OLcost+SLcost+AMcost)                  83,918 $/year               Per 2002 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 1.5.2.
Indirect Annual Costs                               IAcost        Acost+Ocost                                95,555 $                     Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.68
                                                                                                             Annualized Capital Costs
Interest Rate                                          i                                                      7.00%                       Per 2018 EPA Cost Manual, Sec 1, Chp 2 Cost Estimation: Concepts and Methodology, Part 2.5.2
SCR System Life                                      Life                                                         20 years                Assumes 20 year life of equipment per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Part 2.4.2.
Capital Recovery Factor                              CRF          i(1+i)life/((1+i)life-1)                    9.44%                       Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.71
Annualized Capital Cost                             ACcost        CRF*TCI                                   403,317 $/year                Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.70
Total Annual Costs                                  TAC           ACcost+DAcost+IAcost                    1,144,126 $/year                Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.72.



                                                                                                                      Page 3 of 4                                                                                                              May 2022
                                                                                                                         SCR Cost Analysis

Detailed SCR Cost Analysis               (note this is a sample calculation for one process unit - the same steps were used for all U.S. Steel process units to calculate $/ton)
                    Parameter                             Variable                  Calculation                   Cost                  Units                                                    Reference
Cost Effectiveness

                                                                          NGrequired / 103 Mcf/MMcf* 100                                          NOx emission factor per AP-42 Chapter 1.4 Natural Gas Combustion, Table 1.4-1 for Small Boilers
NOx Generated From NG Reheat                               NOxReheat                                                      2.20 ton/yr
                                                                          lb NOx/MMscf/ 2,000 lb/ton                                              Uncontrolled (100 lb NOx/106 scf)

                                                                          NOxin*ηNOx*QB*AOH/2,000                                                 Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.11; Does not include NOx generated due to




                                                                                                                                                                                                                                                               USCA Case #23-1207
NOx Removed Per Year                                      NOxremoved                                                     40.11 ton/yr
                                                                          lb/ton                                                                  reheating of the flue gas to optimum SCR operating temperature.
Cost Effectiveness (2021$)                                                TAC/NOxremoved                             28,523 $/ton                 Per 2019 EPA Cost Manual, Sec 4, Chp 2 SCR, Equation 2.73
Chemical Engineering Plant Cost Index:
                                                             Year         Index
                                                             1995         381.1
                                                             1996         381.7
                                                             1997         386.5
                                                             1998         389.5
                                                             1999         391.8
                                                             2000         394.1
                                                             2001         394.3
                                                             2002         395.6




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                                                             2003         402
                                                             2004         444.2
                                                             2005         468.2
                                                             2006         499.6
                                                             2007         525.4
                                                             2008         575.4
                                                             2009         521.9
                                                             2010         550.8
                                                             2011         593.2
                                                             2012         584.6
                                                             2013         567.3
                                                             2014         576.1
                                                             2015         556.8
                                                             2016         541.7
                                                             2017         567.5




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                                                             2018         603.1
                                                             2019         607.5
                                                             2020         596.2
                                                             2021         708




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                UNITED STATES STEEL CORPORTATION
                             COMMENTS ON


             PROPOSED FEDERAL IMPLEMENTATION PLAN
           ADDRESSING REGIONAL OZONE TRANSPORT FOR
                        THE 2015 8-HOUR NAAQS.
                                June 21, 2022




                               EXHIBIT E:
             United States Steel SIP Disapproval Comments
USCA Case #23-1207          Document #2013657                  Filed: 08/22/2023     Page 1145 of 1689
                                       United States Steel Corporation    David W. Hacker
                                       600 Grant Street                   Senior Counsel
                                       Suite 1844
                                       Pittsburgh, PA 15219
                                       Tel: 412.433.2919
                                       E- mail: dwhacker@uss.com



  April 25, 2022

  Submitted via email – davidson.olivia@epa.gov
  and uploaded to https://www.regulations.gov (Docket ID No. EPA–R05–OAR–2022–0006)

  Olivia Davidson
  Attainment Planning and Maintenance Section
  Air Programs Branch
  U.S. Environmental Protection Agency Region V
  77 West Jackson Boulevard
  Chicago, IL 60604

  Dear Olivia Davidson:


  Re:    Air Plan Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air
         Plan Disapproval; Region V Interstate Transport of Air Pollution for the 2015 8-
         Hour Ozone National Ambient Air Quality Standards, Proposed Rule, Docket ID
         No. EPA–R05–OAR–2022–0006


  United States Steel Corporation (“U. S. Steel”) is submitting these comments pertaining to the
  above-referenced proposed rule. U. S. Steel has worked diligently with the Illinois Environmental
  Protection Agency (IEPA), Indiana Department of Environmental Management (IDEM), Michigan
  Environment, Great Lakes and Energy (EGLE), Minnesota Pollution Control Agency (MPCA), and
  Ohio Environmental Protection Agency (OEPA) on reducing emissions of nitrogen oxides from
  our facilities in these states and is committed to doing our fair share by employing practical,
  technologically feasible and cost-effective means to ensure the areas in which we operate attain
  and maintain the ozone National Ambient Air Quality Standard (NAAQS); and ensuring that
  emissions from our sources do not interfere with downwind states’ ability to attain and/or maintain
  the ozone NAAQS. The above-referenced state agencies submitted State Implementation Plans
  (SIPs) that meet the “interstate transport” provision of Clean Air Act section 110(a)(2)(D)(i)(I), and
  therefore the SIPs should be approved.

  U. S. Steel respectfully notes that in its proposed disapproval, U.S. EPA made some critical errors
  and, therefore, we believe that in the spirit of cooperative federalism, that U.S. EPA reconsider
  the State submittals and approve the SIP submittals; or if U.S. EPA still finds deficiencies with the
  SIPs, that the states be given the opportunity to correct any asserted deficiencies before U.S.
  EPA proceeds with promulgating a final rule disapproving the SIPs and issuing a Federal
  Implementation Plan (FIP). It is significant to note that Congress contemplated States be given
  an opportunity to correct deficiencies with SIPs (before U. S. EPA proceeds with a FIP) when
  enacting the Clean Air Act. The actions in disapproving the SIP and proceeding with issuing a
  FIP (even before the SIP is disapproved) runs afoul of the process afforded to States and federal
  cooperative federalism.
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  Olivia Davidson
  U.S. EPA – Air Programs Branch
  Docket ID No. EPA-R05-OAR-2022-0006
  Page 2

  U. S. Steel has several comments regarding the proposed disapproval of the above-referenced
  SIPs, including:

     •   The Proposed Disapproval is Not Based upon Accurate Projected Emission Estimates;
         and the Model Over-Predicts Impacts
     •   The One Percent Contribution Criterion is Not Appropriate as it is Lower than What U.S.
         EPA Advised States and it is Lower Than What Can be Supported Based on the Precision
         of the Modeling
     •   Even if the SIPs Did Not Satisfy EPA Approval Criteria, States Should be Given the
         Opportunity to Supplement the SIP Submittal or Otherwise Correct the Asserted
         Deficiencies Before U.S. EPA finalizes Disapproval of the SIP and Proceeds with a
         Federal Implementation Plan
     •   By Simultaneously Proceeding with a FIP, EPA’s Proposed Actions Supplant States’
         Rights and Authority Under the Clean Air Act as Congress Contemplated
     •   Judicial Review of Any Disapproved SIP Belongs in the Appropriate Circuit Court for the
         State

  The Proposed Disapproval Is Not Based Upon Accurate Projected Emission Estimates and the
  Model Over-Predicts Impacts

  The emission estimates from sources that would be affected by the rule are incorrect; and do
  not reflect the actual projected emissions. These emission estimates do not include reductions
  that have been and will be implemented under other actions.

  For example, it does not appear that U.S. EPA has considered current and projected emission
  reductions that have resulted from years of effort by both U.S. EPA and the taconite industry in
  revising the Federal Implementation Plan (FIP) for regional haze in Minnesota. In addition,
  undoing or redoing the evaluations and productive efforts that have occurred for over 10 years
  that have resulted in significant NOx reductions that have been shown to be technologically and
  economically feasible is inefficient and inappropriate. In sum, these efforts, and most
  importantly, these reductions must be considered in U. S. EPA’s evaluation.

  While U. S. Steel disagrees with EPA’s proposed threshold of 1 percent, if the data are
  corrected and incorporated into modeling for Minnesota, it would show that Minnesota’s
  contribution impact is less than EPA’s 1 percent proposed “interference” threshold as previously
  demonstrated by LADCO and U. S. EPA. Second, to the extent that U. S. EPA somehow still
  finds that emissions from these sources “contribute” or “interfere” with down wind states’ ability
  to attain and maintain the ozone NAAQS, which does not seem plausible, U. S. EPA will need to
  re-evaluate its costs determinations in the separate ozone transport FIP rulemaking.

  The emission estimates from other sources, including those in Illinois, Indiana, Ohio and
  Michigan – and in particular, emissions from the iron and steel sources in those states, are
  overstated and are inconsistent with prior state submittals. Finally, separate from the emission
  estimates, the modeling used in the disapproval over-predicts impacts from the upwind states
  and sources.
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  Olivia Davidson
  U.S. EPA – Air Programs Branch
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  Page 3

  The One Percent Contribution Criterion is Not Appropriate as it is Lower Than EPA Advised
  States and it is Lower Than What Can be Supported Based on the Precision of the Modeling

  U. S. Steel notes that while U.S. EPA may believe the modeling used to support its disapproval
  of the SIPs is accurate and precise, the accuracy and precision of the modeling does not
  support an impact threshold of 0.70 ppb. U.S. EPA needs to consider the accuracy and the
  precision of the modeling when determining an appropriate “interference” threshold. U. S. Steel
  acknowledges that a model cannot necessarily be “perfect” as U. S. EPA points out, but the
  U.S. EPA’s decisions and impacts to the regulated need to reflect the model’s accuracy and
  precision. U. S. Steel further notes that affected states and the regulated community
  reasonably relied on 1 ppb threshold that U.S. EPA found to be appropriate; and it is
  inappropriate for U. S. EPA now to unilaterally disapprove any SIP because in its SIP submittal,
  the state used a 1 ppb threshold.

  Even if the SIPs Did Not Satisfy EPA Approval Criteria, States Should be Given the Opportunity
  to Supplement the SIP Submittal or Otherwise Correct the Asserted Deficiencies Before U.S. EPA
  finalizes Disapproval of the SIP and Proceeds with a Federal Implementation Plan

  U. S. Steel notes that U.S. EPA’s action in disapproving SIPs that were submitted to U.S. EPA
  years ago and now years later is proposing to disapprove the SIPs and not giving the State an
  opportunity to supplement the SIP submittal or otherwise correct the asserted deficiencies is
  inconsistent with Congress’ intent for the Federal government and States to work collaboratively
  on ensuring the NAAQS are maintained.


  By simultaneously proceeding with a FIP, EPA’s actions supplant states’ rights and authority
  under the clean air act as Congress contemplated

  U. S. EPA Cannot Replace Sound State Decisions that Comply with the Clean Air Act with Federal
  “Judgment” or “Policy”. It is well established that States have much latitude in developing and
  implementing State Implementation Plans (SIPs.) While U.S. EPA may prefer a different
  approach or alternative, a SIP can only be disapproved when is irrefutably shown to be
  inconsistent with the Clean Air Act. In the proposed disapproval, U.S. EPA has not shown that
  the state submittals did not comply with the Clean Air Act. The proposed disapproval of the SIPs
  is tied closely to EPA’s proposed FIP that would have a “one-size fits all” approach that would
  inappropriately supplant the States’ individual authority under the Clean Air Act. Procedurally,
  U.S. EPA should have afforded the States the opportunity to correct any asserted deficiencies
  before U.S. EPA proceeded with a FIP. The states were not given such an opportunity.


  Judicial Review of Any Disapproved SIP Belongs in the Appropriate Circuit Court for the State

  The disapproval of the individual SIPs does not have nationwide effect regardless how U.S.
  EPA attempts to characterize its proposed action. If finalized as proposed, the rule would result
  in the disapproval of SIPs for Illinois, Indiana, Michigan, Minnesota, Ohio, and Wisconsin. Each
  SIP has individual, unique sources, and unique air quality aspects. The SIP submittals are
  unique to each State. Each state has different types of sources. The issues are unique to each
  State. The impacts of disapproving these State SIPs are local and regional to the affected
USCA Case #23-1207         Document #2013657              Filed: 08/22/2023       Page 1148 of 1689
  Olivia Davidson
  U.S. EPA – Air Programs Branch
  Docket ID No. EPA-R05-OAR-2022-0006
  Page 4

  states and industries in those states. While U.S. EPA may prefer to have a “one size fits all”
  approach in developing a FIP to replace these SIPs; this does not change the fact that
  Congress gave States primary responsibility to adopt State Implementation Plans. The
  individual State submittals are unique to the individual State and sources; and disapproval of
  any SIP is presumably unique to the individual State.

  For the reasons stated herein, U. S. Steel requests that U.S. EPA approve the SIPs for Illinois,
  Indiana, Michigan, Minnesota and Ohio; or, in the alternative, provide each State adequate time
  to review and respond to any deficiencies. We appreciate the U.S. EPA’s careful consideration
  of these comments.


  Sincerely,




  David W. Hacker
USCA Case #23-1207          Document #2013657               Filed: 08/22/2023       Page 1149 of 1689
                                                            Docket ID No. EPA-RO6-OAR-2021-0801
                                                                              U. S. Steel Comments
                                                                                     April 25, 2022

                   United States Steel Corporation Law Department
                   600 Grant Street, Ste. 1800
                   Pittsburgh, PA 15219
                   Phone: 479-200-9743 Fax: 412-433-2964
                   kjones@uss.com
                   Kendra Jones
                   Assistant General Counsel - Environmental

  April 25, 2022

  ATTN:            Docket ID No. EPA-RO6-OAR-2021-0801

  Administrator Michael Regan
  C/O EPA Docket Center (EPA/DC)
  Docket ID No. EPA-RO6-OAR-2021-0801
  U.S. Environmental Protection Agency
  Fuerst.sherry@epa.gov

  Submitted via Federal eRulemaking Portal
         RE: Comments to EPA’s Air Plan Disapproval; Arkansas, Louisiana, Oklahoma, and
  Texas; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
  Quality Standards, 87 Fed. Reg. 9798 (February 22, 2022)

  Dear Administrator Regan,

          United States Steel Corporation (“U. S. Steel”) appreciates the opportunity to submit the
  following comments on behalf of our corporation and all subsidiaries to the United States
  Environmental Protection Agency (“EPA”). U. S. Steel Corporation started in 1901 and has
  evolved and grown with America over the years. Our most recent growth can be seen in Arkansas
  with our mini-mill construction announcement in February of this year. As a corporation operating
  in Arkansas, U. S. Steel is a party impacted by this rule and as such, U. S. Steel provides comments
  on EPA’s Air Plan Disapproval; Arkansas, Louisiana, Oklahoma, and Texas; Interstate Transport
  of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards (Proposal).
  U. S. Steel also supports the Arkansas Environmental Federation (“AEF”) comments submitted
  regarding the Proposal and incorporates those comments by reference.

         The Arkansas Department of Energy and Environment, Division of Environmental Quality
  (“DEQ”) is best situated to review, evaluate and address the impacts of the NAAQS on Arkansas
  businesses and industries and developed the SIP complying with the NAAQS requirements. DEQ
  developed an appropriate and approvable SIP for the State of Arkansas and thus incorporates by
  reference the comments submitted on April 22, 2022, by the DEQ (“DEQ Comments”) in Docket
  ID No. EPA-RO6-OAR-2021-0801. U. S. Steel requests that EPA reevaluate the Arkansas SIP
  based upon all information submitted, including DEQ Comments, and approve the Arkansas SIP.


  1
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                                                                        Docket ID No. EPA-RO6-OAR-2021-0801
                                                                                          U. S. Steel Comments
                                                                                                 April 25, 2022

         DEQ has expended an enormous amount of time and worked diligently to meet the
  NAAQS for ozone. DEQ worked to develop the information necessary to formulate the SIP,
  developed a proposed plan, and undertook the required state-rulemaking and legislative action.
  DEQ also worked collaboratively with EPA Region 6. Numerous discussions were held by DEQ
  and EPA Region 6 to inform DEQ’s development of an appropriate SIP. DEQ responded to
  questions and comments from EPA Region 6 to develop the SIP. Additionally, DEQ developed
  additional information in response to EPA Region 6’s comments as a part of a collaborative
  process that EPA has now abandoned.

         EPA has a role in the SIP process. However, that role should be a narrow one that gives
  deference to the state pursuant to the cooperative federalism system established under the Clean
  Air Act (“CAA”). EPA’s proposal to disapprove Arkansas’s interstate transport SIP for the 2015
  ozone NAAQS 1 goes beyond the authority given to EPA by the CAA. State’s, such as Arkansas,
  are given discretion under the CAA to address NAAQS through appropriate plans. 2 EPA’s
  proposal oversteps the agency authority under the CAA. The Arkansas SIP should be re-evaluated
  by EPA solely on the basis of whether Arkansas has met the applicable CAA requirements. EPA
  should not use the SIP disapproval process to try to create a “national ozone transport policy”.

          EPA’s Proposal to disapprove Arkansas’s SIP while also promulgating a FIP is not the
  proper timing of rulemaking on this issue. EPA not allowing DEQ to submit revisions to the SIP,
  this action impairs the state’s ability to make state specific analyses regarding over-reach on
  controls by EPA. DEQ should be permitted time to analyze, address and/or correct any deficiencies
  identified by EPA before finalizing a FIP. Although EPA might generally have the authority under
  Section 7410(c)(1)(B) to issue a FIP at any time prior to the 2-year deadline after disapproval
  (EME Homer S.Ct., 134 S.Ct. 1584 (2014)), nevertheless, CAA Section 7410(c)(1) contemplates
  that a state would be provided time to correct any deficiency and that EPA has the discretion to
  allow up to two years for correction of any deficiency. EPA’s determination about whether a FIP
  should be promulgated immediately as to a specific state should be based on a state-specific
  analysis since a State may bring a particularized, as-applied challenge to a nationwide or regional
  transport rule (EME Homer on remand, 795 F.3d 118 (D.C. Cir. 2015). EPA should not move to
  finalize the proposed FIP with respect to Arkansas until DEQ has been provided adequate time to
  review and respond.




  1
    See 42 U.S.C. § 7410(a) (requiring States to submit plans to implement, maintain, and enforce NAAQS); see also
  Com. of Va. v. EPA, 108 F.3d 1397, 1407 (D.C. Cir.), decision modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997)
  (stating that the CAA “expressly gave the states initial responsibility for determining the manner in which air quality
  standards were to be achieved.”).
  2
    See Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976) (“Each State is given wide discretion in formulating its plan.”);
  Train v. NRDC, 412 U.S. 60, 79 (1975) (“[EPA] is relegated by the [Clean Air] Act to a secondary role in the process
  of determining and enforcing the specific, source-by-source emission limitations which are necessary if the national
  standards it has set are to be met.”); Fla. Power & Light Co. v. Costle, 650 F.2d 579, 587 (5th Cir. 1981) (“The great
  flexibility accorded the states under the Clean Air Act is further illustrated by the sharply contrasting, narrow role to
  be played by EPA.”).



  2
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          EPA claims that the appropriate venue for challenges to EPA’s final action on the interstate
  transport SIPs for Louisiana, Arkansas, Texas, and Oklahoma is the U.S. Court of Appeals for the
  District of Columbia Circuit (“D.C. Circuit”).3 Unser Section 307(b)(1) of the CAA, to determine
  venue for challenges to EPA actions, the relevant questions are whether the action is: (1) a
  nationally applicable action; (2) a locally or regionally applicable action; or (3) a locally or
  regionally applicable action based on a determination that has nationwide scope or effect. 4

          EPA attempts to claim that the SIP, if finalized, would be “nationally applicable” because
  it would address four states and “would apply uniform, nationwide analytical methods, policy,
  judgments and interpretation with respect to the same CAA obligations.” 5 EPA’s statements and
  stated reasoning are not adequate to make this a “nationally applicable” decision and would not be
  consistent with other SIP decisions. Specifically, this approach is inconsistent with EPA’s SIP
  decisions regarding Florida, Georgia, North Carolina, and South Carolina 6 which involved four
  states and two Federal judicial circuits and relied on the same EPA analysis. EPA did not determine
  it was “nationally applicable” and determined that judicial review must be filed in the United States
  Court of Appeal for the appropriate circuit. 7

          EPA attempts to claim that the SIP rulemaking for ozone transport for Arkansas, Louisiana,
  Texas and Oklahoma will be nationally applicable and have a nationwide scope. However, EPA’s
  proposed action is one that will be locally or regionally applicable with all the states in the same
  region and only impacts the four states. Petitions for review of EPA’s final action regarding the
  interstate ozone transport SIPs may be brought only in the court of appeals for the appropriate
  circuit. Any Petition for Review of EPA’s final action with respect to Arkansas’s SIP, should be
  brought the U.S. Court of Appeals for the Eighth Circuit.

          For the reasons set forth above and those provided in the comments filed by DEQ and AEF,
      U. S. Steel requests EPA approve the Arkansas SIP, or in the alternative, provide DEQ adequate
      time to review and respond to any deficiencies identified by EPA through a SIP Call.

          U. S. Steel appreciates the opportunity to provide comments on the Proposal to disapprove
      the SIP. If you have any questions or should you need additional information, please do not
      hesitate to contact me at 479-200-9743 or kjones@uss.com.

         Sincerely,

         Kendra A. Jones, Esq.
         Assistant General Counsel - Environmental
         United States Steel Corporation

  3
    87 Fed. Reg. at 9835.
  4
    See 42 U.S.C. § 7807(b)(1); see also Texas v. EPA, 829 F.3d 405, 418 (5th Cir. 2016).
  5 87 Fed. Reg. at 9835.
  6
    Air Plan Approval; FL, GA, NC, SC; Interstate Transport (Prongs 1 and 2) for the 2015 8-Hour Ozone Standard,
  86 Fed. Reg. 68,413 (Dec. 2, 2022).
  7
    86 Fed. Reg. at 68,430.

  3
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                UNITED STATES STEEL CORPORTATION
                             COMMENTS ON


             PROPOSED FEDERAL IMPLEMENTATION PLAN
           ADDRESSING REGIONAL OZONE TRANSPORT FOR
                        THE 2015 8-HOUR NAAQS.
                                June 21, 2022




                               EXHIBIT F:
     United States Steel FIP Extension of Time to Comment Request
USCA Case #23-1207         Document #2013657               Filed: 08/22/2023       Page 1153 of 1689
                                                             Docket ID No. EPA-HQ-OAR-2021-0668
                                                                              U. S. Steel Comments
                                                                                      May 26, 2022

                 United States Steel Corporation Law Department
                 600 Grant Street, Ste. 1800
                 Pittsburgh, PA 15219 Phone: 479-200-9743 Fax: 412-433-2964
                 kjones@uss.com
                 Kendra Jones
                 Assistant General Counsel - Environmental


  May 26, 2022

  ATTN:          Docket ID No. EPA-HQ-OAR-2021-0668

  Administrator Michael Regan
  C/O EPA Docket Center (EPA/DC)
  Docket ID No. EPA-HQ-OAR-2021-0668
  U.S. Environmental Protection Agency


  Submitted via Federal eRulemaking Portal (Regulations.gov)


          RE: Request for Extension of Comment Period, “Federal Implementation Plan
  Addressing Regional Ozone Transport for the 2015 Primary Ozone National Ambient Air
  Quality Standard” Docket No. EPA-HQ-OAR-2021-0668. Federal Register 87 Fed. Reg. 20,036
  (April 6, 2022).
  Dear Administrator Regan,
         United States Steel Corporation (“U. S. Steel”) respectfully requests at least an additional
  60-day extension for the comment period on the proposed “Federal Implementation Plan
  Addressing Regional Ozone Transport for the 2015 Primary Ozone National Ambient Air Quality
  Standard” Docket No. EPA-HQ-OAR-2021-0668. Federal Register 87 Fed. Reg. 20,036 (April 6,
  2022) (“Proposed FIP”). U. S. Steel appreciates the slight extension of the comment period, but
  more time is needed. The original comment deadline of June 6, 2022 was extended briefly by EPA
  however the new EPA comment deadline of June 21, 2022 still does not provide adequate time for
  the complexity and breadth of the proposed rule. Commenters should have until at least August 8,
  2022, to provide meaningful and substantive technical and legal comments on this Proposed FIP.
          The Proposed FIP is unparalleled in terms of geography, scope, industry, and impacted
  emissions units, the breadth of impact and all the supporting information requires an in-depth
  review of EPA’s work. A thorough and proper review would include at minimum working through
  the photochemical modeling analyses and its underlying data inputs. The data needed to even
  conduct such a review was not provided by EPA at the time of publication of the Proposed FIP
  and must be requested from EPA. Many requests for the data have been made by various interested
  parties and the role out of information is taking days and even weeks – which further reduces the
  time available for any meaningful review during the comment period. Even if the data is provided
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                                                               Docket ID No. EPA-HQ-OAR-2021-0668
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  timely there is not sufficient time to review and do independent analyses and modeling – for
  multiple state and dozens of facilities - prior to the June 21, 2022, comment deadline.
          To allow appropriate time for interested parties to provide meaningful review and comment
  on such a complex rule requires extensive time and manpower. The proposed FIP is 180 pages the
  online docket contains 191 groups of records including dozens of documents and spreadsheets.
  This review and work necessary is even more challenging for corporations who have multiple
  states and emission impacts to review. Not to mention the simultaneous running of comment
  periods for the various SIP Disapproval dockets, like for instance Docket No. EPA-R06-OAR-
  2021-0801which U.S. Steel also commented on during this time.
         Throughout the Proposed FIP it seems as if EPA intends to provide critical data only upon
  request. The data is essential to fully evaluate all of EPA’s assessments related to Non-EGU
  emissions, control costs, and air quality impacts. The EPA Screening Assessment of Potential
  Emissions Reductions, Air Quality Impacts and Costs from Non-EGU Emissions Units for 2026
  (Non-EGU Screening Assessment) refers and cites extensively to model inputs, codes and Control
  Strategy Tool (“CoST”) run data that no one has unless they specifically request the data from
  EPA. The Proposed FIP relies heavily on this information, and it should be available for review
  and scrutiny by any interested stakeholder.
          Since the data required to consider this vast rule is not already provided U. S. Steel requests
  the following be provided:
          1. The air quality contribution data that EPA used to identify potentially impactful
             industries in 2023 and the R code that processed these data; 1
          2. The CoST run results and the R code that generated the curves EPA used for identifying
             a cost threshold to evaluate emissions reductions in potentially impactful industries in
             2023; 2
          3. The maximum emission reduction CoST run results that EPA used to assess Non-EGU
             emission reduction potential and estimated air quality impact in potentially impactful
             industries in 2023; 3
          4. The 2023 state-receptor specific Revised CSAPR Update (“RCU”) ppb/ton values, the
             RCU calibration factors used in the air quality assessment tool (“AQAT”) for control
             analyses in 2023, the R code that processed the CoST run results using the maximum
             emission reduction algorithm, and the summaries of the air quality improvements; 4
          5. The 2023 state-receptor specific RCU ppb/ton values, the RCU calibration factors used
             in the AQAT for ozone for control analyses in 2023, and the R code that processed the
             CoST run results that EPA used for its impactful boiler assessment; 5



  1
    Non-EGU Screening Assessment at 3, FN9.
  2
    Id at 4, FN12.
  3
    Id at 5, FN14.
  4
    Id at 5, FN16.
  5
    Id at 6, FN20.
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                                                               Docket ID No. EPA-HQ-OAR-2021-0668
                                                                                U. S. Steel Comments
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             6. The R code that processed the CoST run results, the sector-specific (non-EGU specific)
                ppb/ton values, and the 2026 AQAT calibration factors used to prepare the Non-EGU
                Screening Assessment tables on estimated emissions reductions, maximum PPB
                improvement, and costs. 6
          The expectation of EPA is that stakeholders to review volumes data, wait for data requests
  to be fulfilled, evaluate 53 distinct elements of the Proposed FIP and then look at “all aspects of
  the proposal.” Expecting stakeholders to complete all of this within the currently allotted 75-days
  is not feasible or realistic. Simply, a proper level of review, analyses and response cannot be
  accomplished in this limited timeframe.
         The timeframe for comments as currently proposed by EPA does not allow for or promote
  public engagement in the rule making process. Stakeholders must be afforded more time to
  develop and submit data and analyses that should be essential considerations for the EPA
  promulgation of well-supported and lawful rule. This is especially true in this instance, as a
  preliminary review of some of the data that time has afforded so far reveals critical errors in EPA’s
  analyses which warrants a more thorough review of all aspects of the rule to ensure EPA’s
  decision-making process is based upon sound science and reasoning.
         U. S. Steel requests EPA provided an additional extension of the comment period for the
  Proposed FIP by at least an additional 60 days. Any shorter comment period simply does not
  provide stakeholders a meaningful opportunity to review, evaluate and comment.
          U. S. Steel appreciates the consideration of this request. If you have any questions or wish
  to discuss, please do not hesitate to contact me at 479-200-9743 or kjones@uss.com.




          Sincerely,



          Kendra A. Jones, Esq.
          Assistant General Counsel - Environmental
          United States Steel Corporation




  6   Id at 6, FN20.
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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                     Exhibit E

           Screening Assessment of Potential Emissions Reductions, Air
        Quality Impacts, and Costs from Non-EGU Emissions Units for 2026
                                  (Feb. 28, 2022)
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TECHNICAL MEMORANDUM

TO:               Docket for Rulemaking, “Proposed Federal Implementation Plan Addressing Regional Ozone
                  Transport for the 2015 Ozone National Ambient Air Quality Standards” (EPA-HQ-OAR-2021-0668)
DATE:             February 28, 2022
SUBJECT:          Screening Assessment of Potential Emissions Reductions, Air Quality Impacts, and Costs from
                  Non-EGU Emissions Units for 2026

Note: EPA originally posted this document on March 11, 2022. This document, posted on March 29, 2022,
corrects inadvertent errors referencing a filename on page 9 and in Table 5 on page 16.

I. Introduction

The EPA developed an analytical framework to facilitate decisions about industries, emissions unit types, and cost
thresholds for including emissions units in the non-electric generating unit “sector” (non-EGUs) in a federal
implementation plan (FIP) proposal for the 2015 ozone national ambient air quality standards (NAAQS) transport
obligations. Using this analytical framework, we prepared a screening assessment for the year 2026.

This memorandum presents the analytical framework and summarizes the screening assessment the EPA
prepared to identify industries and emissions unit types to include in proposed rules to obtain NOx emissions
reductions from non-EGUs. Sections VII.A.2. and VII.C. of the proposal preamble include discussions of the non-
EGU NOx emissions limits, compliance timing, and other related-rule requirements for the industries and
emissions unit types identified through the screening assessment.

The remainder of this memorandum includes the following sections:
  II.  Background on Analytical Framework
 III.  The Analytical Framework
       o Step 1 -- Identifying Potentially Impactful Industries in 2023
       o Step 2a -- Identifying a Cost Threshold to Evaluate Emissions Reductions in Potentially Impactful
           Industries for 2023
       o Step 2b -- Assessing Non-EGU Emission Reduction Potential and Estimated Air Quality Impacts in
           Potentially Impactful Industries in 2023
       o Step 2c – Refining Tier 2 by Identifying Potentially Impactful Boilers in 2023
 IV.   Modifying the Analytical Framework for the Screening Assessment for 2026
  V.   Screening Assessment Results for 2026 -- Estimated Total Emissions Reductions, Air Quality
       Improvements, and Annual Total Costs for Emissions Units in Tier 1 Industries and Impactful Boilers in Tier
       2 Industries
 VI.   Request for Comment and Additional Information

II. Background on Analytical Framework

The number of different industries and emissions unit categories and types, as well as the total number of
emissions units that comprise the non-EGU “sector”1 makes it challenging to define a single method to identify
impactful emissions reductions. We incorporated air quality information as a first step in the analytical framework
to help determine potentially impactful industries to focus on for further assessing emission reduction potential,
air quality improvements, and costs. Given the lengthy decision-making and analysis schedules for the FIP

1
  The non-EGU “sector” includes non-electric generating emissions units in various manufacturing industries and does not
include municipal waste combustors (MWC), cogeneration units, or <25 MW EGUs. For a discussion of MWCs, cogeneration
units, and EGUs <25 MW, see Section VI.B.3. of the proposed rule preamble.

                                                                                                                           1
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proposal, we developed the analytical framework using inputs from the air quality modeling for the Revised
CSAPR Update (RCU) for 20232, as well as the projected 2023 annual emissions inventory from the 2016v2
emissions platform that was used for the air quality modeling for the proposed rule.

Using the RCU modeling for 2023, we identified upwind states linked to downwind nonattainment or
maintenance receptors using the 1% of the NAAQS threshold criterion, which is 0.7 ppb (1% of a 70 ppb NAAQS).
In 2023 there were 27 linked states for the 2015 NAAQS: AL, AR, CA, DE, IA, IL, IN, KY, LA, MD, MI, MN, MO, MS,
NJ, NY, NV, OH, OK, PA, TN, TX, UT, VA, WI, WV, and WY.

To analyze non-EGU emissions units, we aggregated the underlying projected 2023 emissions inventory data into
industries defined by 4-digit NAICS.3 Then for the linked states, we followed the 2-step process below:

        1. Step 1 -- We identified industries whose potentially controllable emissions are estimated, by applying
           the analytical framework, to have the greatest ppb impact on downwind air quality, 4 and
        2. Step 2 – We determined which of the most impactful industries and emissions units had the most
           emissions reductions that would make meaningful air quality improvements at the downwind
           receptors at a marginal cost threshold we determined using underlying control device efficiency and
           cost information.

Additional details on these steps are presented in the Section III below.

Finally, the EPA concluded, based on the most recent information available from the CSAPR Update Non-EGU
TSD,5 that controls on all of the non-EGU emissions units cannot be installed by the 2023 ozone season.6 As such,
we modified the analytical framework slightly and applied it for a screening assessment estimating potential
emissions reductions, air quality improvements, and costs for the year 2026.

III. The Analytical Framework

Step 1 - Identifying Potentially Impactful Industries in 2023

The analytical framework starts with identifying industries whose potentially controllable emissions may
contribute to downwind receptors. To identify industries that have large, meaningful air quality impacts from
potentially controllable emissions, we estimated air quality contribution by 4-digit NAICS-based industry for 2023.
To estimate the contributions by 4-digit NAICS at each downwind receptor, we used the 2023 state-receptor
specific RCU ppb/ton values and the RCU calibration factors used in the air quality assessment tool (AQAT) for
control analyses in 2023.7

2
  We used the RCU air quality modeling for this screening assessment because the air quality modeling for the proposed rule
was not completed in time to support this assessment.
3
  North American Industry Classification System (https://www.census.gov/naics/).
4
  To identify industries, we reviewed emissions units with >= 100tpy emissions units in the 2023 inventory in those industries
in the upwind states.
5
  Final Technical Support Document (TSD) for the Final Cross-State Air Pollution Rule for the 2008 Ozone NAAQS, Assessment
of Non-EGU NOX Emissions Controls, Cost of Controls, and Time for Compliance Final TSD (“CSAPR Update Non-EGU TSD”),
August 2016, available at https://www.epa.gov/csapr/assessment-non-egu-NOX-emission-controls-cost-controls-and-time-
compliance-final-tsd.
6
  Note that information on control installation timing as detailed in the 2016 CSAPR Update Non-EGU TSD is not complete or
sufficient to serve as a foundation for timing estimates for this proposed FIP.
7
  The calibration factors are receptor-specific factors. For the RCU, the calibration factors were generated using 2016 base
case and 2023 base case air quality model runs. These receptor-level ppb/ton factors are discussed in the Ozone Transport


                                                                                                                             2
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We focused on assessing emissions units that emit >100 tpy of NOx.8 By limiting the focus to potentially
controllable emissions, well-controlled sources that still emit > 100 tpy are excluded from consideration. Instead,
the focus is on uncontrolled sources or sources that could be better controlled at a reasonable cost. As a result,
reductions from any industry identified by this process are more likely to be achievable and to lead to air quality
improvements.

Based on the industry contribution data, we prepared a summary of the estimated total, maximum, and average
contributions from each industry and the number of receptors with contributions >= 0.01 ppb from each industry.
We evaluated this information to identify breakpoints in the data, as described in detail in Appendix A. These
breakpoints were then used to identify the most impactful industries to focus on for the next steps in the
analysis.9

A review of the contribution data indicated that we should focus the assessment of NOx reduction potential and
cost primarily on four industries. These industries each (1) have a maximum contribution to any one receptor of
>0.10 ppb and (2) contribute >= 0.01 ppb to at least 10 receptors. We refer to these four industries identified
below as comprising “Tier 1”.
    • Pipeline Transportation of Natural Gas
    • Cement and Concrete Product Manufacturing
    • Iron and Steel Mills and Ferroalloy Manufacturing
    • Glass and Glass Product Manufacturing

In addition, the contribution data suggests that we should include five additional industries as a second tier in the
assessment. These industries each either have (1) a maximum contribution to any one receptor >=0.10 ppb but
contribute >=0.01 ppb to fewer than 10 receptors, or (2) a maximum contribution <0.10 ppb but contribute
>=0.01 ppb to at least 10 receptors. We refer to these five industries identified below as comprising “Tier 2”.
    • Basic Chemical Manufacturing
    • Petroleum and Coal Products Manufacturing
    • Metal Ore Mining
    • Lime and Gypsum Product Manufacturing
    • Pulp, Paper, and Paperboard Mills




Policy Analysis Final Rule TSD found here: https://www.epa.gov/sites/default/files/2021-
03/documents/ozone_transport_policy_analysis_final_rule_tsd_0.pdf.
8
  In the non-EGU emission reduction assessment prepared for the Revised Cross State Air Pollution Rule Update
(https://www.regulations.gov/document/EPA-HQ-OAR-2020-0272-0014), we reviewed emissions units with >150 tpy of NOx
emissions. In this screening assessment, we broadened the scope to include emissions units with >=100 tpy of NOx emissions.
We believe that emissions units that are smaller may already be controlled and reductions from these smaller units are likely
to be more costly.
9
  The air quality contribution data and the R code that processed these data are available upon request.

                                                                                                                           3
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Step 2a - Identifying a Cost Threshold to Evaluate Emissions Reductions in Potentially Impactful Industries for
2023

To identify an annual cost threshold for evaluating potential emissions reductions in the Tier 1 and Tier 2
industries, the EPA used the Control Strategy Tool (CoST)10, the Control Measures Database (CMDB)11, and the
projected 2023 emissions inventory to prepare a listing of potential control measures, and costs, applied to non-
EGU emissions units in the projected 2023 emissions inventory. Using this data, we plotted curves for Tier 1
industries, Tier 2 industries, Tier 1 and 2 industries, and all industries at $500 per ton increments. Figure 1
indicates there is a “knee in the curve” at approximately $7,500 per ton.12 We used this marginal cost threshold to
further assess estimated emissions reductions, air quality improvements, and costs from the potentially impactful
industries. Note that controls and related emissions reductions are available at several estimated cost levels up to
the $7,500 per ton threshold. The costs do not include monitoring, recordkeeping, reporting, or testing costs.

Figure 1. Ozone Season NOx Reductions and Costs per Ton (CPT) for Tier 1, Tier 2 Industries,
and Other Industries




10
   Further information on CoST can be found at the following link: https://www.epa.gov/economic-and-cost-analysis-air-
pollution-regulations/cost-analysis-modelstools-air-pollution.
11
   The CMDB is available at the following link: https://www.epa.gov/economic-and-cost-analysis-air-pollution-
regulations/cost-analysis-modelstools-air-pollution.
12
   The CoST run results, the CMDB, and the R code that generated the curves are available upon request.

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Step 2b - Assessing Non-EGU Emission Reduction Potential and Estimated Air Quality Impacts in Potentially
Impactful Industries in 2023

Next, using the marginal cost threshold of $7,500 per ton, to estimate emissions reductions and costs the EPA
processed the CoST run using the maximum emission reduction algorithm13,14 with known controls.15 We
identified controls for non-EGU emissions units in the Tier 1 and Tier 2 industries that cost up to $7,500 per ton.
Note that $7,500 per ton represents a marginal cost, and controls and related emissions reductions are available
at several estimated costs up to the $7,500 per ton threshold. The costs do not include monitoring,
recordkeeping, reporting, or testing costs.

We then calculated air quality impacts associated with the estimated reductions for the 27 linked states in 2023
following the steps below.

     1. We binned the estimated reductions by 4-digit NAICS code into the Tier 1 and Tier 2 industries.
     2. We used the 2023 state-receptor specific RCU ppb/ton values and the RCU calibration factors used in the
        AQAT for control analyses in 2023. We multiplied the estimated non-EGU reductions by the ppb/ton
        values and by the receptor-specific calibration factor to estimate the ppb impacts from these emissions
        reductions.16

Note that we did not include the impact of reductions in the “home state” even if the “home state” was linked to
receptor(s) in another state. That is, we only looked at the impact of NOx emissions reductions from upwind states.
Furthermore, for each receptor we included impacts from states that are upwind to any receptor, not just those
states that are upwind to that particular receptor.

Step 2c – Refining Tier 2 by Identifying Potentially Impactful Boilers in 2023

In 2023 because boilers represent the majority emissions unit in the Tier 2 industries for which there were
controls that cost up to $7,500 per ton (see Table 1 below), we targeted emissions reductions and air quality
improvements in Tier 2 industries by identifying potentially impactful industrial, commercial, and institutional (ICI)
boilers.




13
   The maximum emission reduction algorithm assigns to each source the single measure (if a measure is available for the
source) that provides the maximum reduction to the target pollutant. For more information, see the CoST User’s Guide
available at the following link: https://www.cmascenter.org/cost/documentation/3.7/CoST%20User's%20Guide/.
14
   The maximum emission reduction CoST run results and CMDB are available upon request.
15
   Known controls are well-demonstrated control devices and methods that are currently used in practice in many industries.
Known controls do not include cutting edge or emerging pollution control technologies.
16
   The 2023 state-receptor specific RCU ppb/ton values, the RCU calibration factors used in AQAT for control analyses in 2023,
the R code that processed the CoST run results using the maximum emission reduction algorithm, and the summaries of the
air quality improvements are available upon request.

                                                                                                                            5
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Table 1. Number of Emissions Unit Types in Tier 2 Industries
                                                         Number of Emissions Units by Type
                                                                    Internal            Industrial
              Tier 2 Industries                   Boiler     Combustion Engine          Processes
 Metal Ore Mining                                   --                 1                   15
 Pulp, Paper, and Paperboard Mills                  49                 1                    --
 Petroleum and Coal Products                        37                 4                   48
 Manufacturing
 Basic Chemical Manufacturing                       46                 8                   13
 Lime and Gypsum Product Manufacturing              --                 --                   1
                                   Totals          132                 14                  77

To identify potentially impactful boilers, using the projected 2023 emissions inventory in the linked upwind states
we identified a universe of boilers with >100 tpy NOx emissions that had any contributions at downwind
receptors.17,18 We refined the universe of boilers to a subset of impactful boilers by sequentially applying the
three criteria below to each boiler. This approach is similar to the overall analytical framework and was tailored
for application to individual boilers.19,20

     •   Criterion 1 -- Estimated maximum air quality contribution at an individual receptor of >=0.0025 ppb or
         estimated total contribution across downwind receptors of >=0.01 ppb.
     •   Criterion 2 -- Controls that cost up to $7,500 per ton.
     •   Criterion 3 -- Estimated maximum air quality improvement at an individual receptor of >=0.001 ppb.

IV. Modifying the Analytical Framework for the Screening Assessment for 2026

EPA concluded, based on the most recent information available from the CSAPR Update Non-EGU TSD, that
controls on all of the non-EGU emissions units cannot be installed by the 2023 ozone season. As such, we
prepared a screening assessment for the year 2026 by generally applying the analytical framework detailed above.
Specifically, we
    • Retained the impactful industries identified in Tier 1 and Tier 2, the $7,500 cost per ton threshold, and the
        methodology for identifying impactful boilers,
    • Modified the framework to address challenges associated with using the projected 2023 emissions
        inventory by using the 2019 emissions inventory, and
    • Updated the air quality modeling data by using data for 2026.

Using the projected 2023 emissions inventory introduced challenges associated with the application of new
source performance standards (NSPS).21 Some of the projected emissions inventory records reflected percent

17
   We used the 2023fj non-EGU point source inventory files from the 2016v2 emissions platform.
18
   MD, MO, NV, and WY did not have boilers with >100 tpy NOx emissions.
19
   For the impactful boiler assessment, the estimated air quality contributions and improvements were not based on
modeling of individual emissions units or emissions source sectors. The air quality estimates were derived by using the 2023
state/receptor specific RCU ppb/ton values and the RCU calibration factors used in AQAT. The results are intended to provide
a general indication of the relative impact across sources.
20
   For the impactful boiler assessment, the 2023 state-receptor specific RCU ppb/ton values, the RCU calibration factors used
in the AQAT for ozone for control analyses in 2023, and the R code that processed the CoST run results are available upon
request.
21
   Using the projected inventory also introduced challenges associated with the growth of emissions at sources over time.
EPA determined that the 2019 inventory was appropriate because it provided a more accurate prediction of potential near-


                                                                                                                            6
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reductions associated with the application of current NSPS (e.g., Reciprocating Internal Combustion Engine,
Natural Gas Turbines, Process Heaters NSPS). Applying NSPSs during the emissions projections process includes
estimating the number of modifications/replacements that would trigger NSPS requirements. None of the existing
sources, as they currently exist, would install a control because of a NSPS. But some of those sources might
modify and become subject to the NSPS. Because we do not know which sources might become subject to an
NSPS by modifying, across-the-board percent reductions from unknown control measures are applied to all of the
sources.22 As a result, CoST replaced some of the unknown control measures with a control measure that it
concluded was more efficient. However, we do not know if a control would be applied to a particular source in
response to the NSPS rules and if so, what that control would be. Therefore, we do not know if CoST is correctly
replacing those unknown control measures. To address this challenge, we used a current, not projected,
emissions inventory along with the latest air quality modeling information for 2026. Specifically, we used the 2019
inventory for information on emissions, emissions units, and estimated emissions reductions in concert with the
emissions sector-specific (non-EGU-specific) ppb/ton factors for 2026 and 2026 AQAT calibration factors to
estimate the impacts on future air quality from reductions at emissions units as those units currently exist.23

V. Screening Assessment Results for 2026 -- Estimated Total Emissions Reductions, Air Quality Improvements,
and Annual Total Costs for Emissions Units in Tier 1 Industries and Impactful Boilers in Tier 2 Industries

This screening assessment is not intended to be, nor take the place of, a unit-specific detailed engineering analysis
that fully evaluates the feasibility of retrofits for the emissions units, potential controls, and related costs. We
used CoST to identify emissions units, emissions reductions, and costs to include in a proposed FIP; however, CoST
was designed to be used for illustrative control strategy analyses (e.g., NAAQS regulatory impact analyses) and not
for unit-specific, detailed engineering analyses. The estimates from CoST identify proxies for (1) non-EGU
emissions units that have emission reduction potential, (2) potential controls for and emissions reductions from
these emissions units, and (3) control costs from the potential controls on these emissions units.

See Sections VII.A.2. and VII.C. of the proposal preamble for discussions of the NOx emissions limits, compliance
timing, and other related rule requirements for the industries and emissions unit types identified through this
screening assessment.

To prepare the screening assessment for 2026, we applied the analytical framework detailed in the sections above
with the modifications discussed in the previous section. The assessment includes emissions units from the Tier 1
industries and impactful boilers from the Tier 2 industries. Using the latest air quality modeling for 2026, we
identified upwind states linked to downwind nonattainment or maintenance receptors using the 1% of the NAAQS
threshold criterion, or 0.7 ppb. In 2026 there are 23 linked states for the 2015 NAAQS: AR, CA, IL, IN, KY, LA, MD,
MI, MN, MO, MS, NJ, NY, NV, OH, OK, PA, TX, UT, VA, WI, WV, and WY.
We re-ran CoST with known controls, the CMDB, and the 2019 emissions inventory. We specified CoST to allow
replacing an existing control if a replacement control is estimated to be >10 percent more effective than the

term emissions reductions. For additional discussion of the 2019 inventory, please see the 2019 National Emissions Inventory
Technical Support Document: Point Data Category available in the docket. In switching to the 2019 inventory, however, we
did not account for any growth or decrease in emissions that might occur at individual units. Because the controls applied by
CoST have efficiencies, or percent reductions, this means we could be over- or under-estimating the emission reductions and
their ppb impacts.
22
   For additional information on the 2016v2 inventory and the projected 2023 emissions inventory, please see the September
2021 Technical Support Document Preparation of Emissions Inventories for 2016v2 North American Emissions Modeling
Platform in the docket or available at the following link: https://www.epa.gov/system/files/documents/2021-
09/2016v2_emismod_tsd_september2021.pdf.
23
   For this proposed FIP, the EPA used the ozone AQAT, which is described in detail in Ozone Policy Analysis Proposed Rule
TSD in the docket. The receptor-state specific calibration factors for 2026 were derived using the following air quality
modeling runs: 2026 base case and 2026 control case with 30 percent across-the-board NOx emissions cuts.

                                                                                                                            7
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existing control. We did not replace an existing control if the 2019 emissions inventory indicated the presence of
that control, even if the CMDB reflects a greater control efficiency for that control. Also, we removed six facilities
from consideration because they are subject to an existing consent decree, are shut down, or will shut down by
2026. See Appendix B for a summary of the facilities removed.

For the emissions units in the Tier 1 industries and the impactful boilers in the Tier 2 industries, the estimated
emissions reductions, air quality improvements, and costs are summarized below and in Tables 2 through 5 that
follow. The cost estimates do not include monitoring, recordkeeping, reporting, or testing costs.24 As shown in
Table 2, the total estimated ozone season emissions reductions are 47,186 tons, the estimated total ppb
improvement across all downwind receptors is 5.16 ppb, and the estimated total cost is $410.8 million annually.
The estimated ozone season reductions, total ppb improvements, and total cost are representative of single year
impacts and not cumulative impacts.

Table 3 presents estimated ppb improvements at receptors grouped by region. For the coastal Connecticut/New
York City nonattainment area receptors, total ppb improvements from Tier 1 and Tier 2 range from 0.247 to 0.356
ppb; for the receptors near Chicago, total ppb improvements range from 0.261 to 0.375 ppb; for the receptors
along the western shoreline of Lake Michigan in Wisconsin, total ppb improvements range from 0.360 to 0.443
ppb; for the Houston receptors, total ppb improvements range from 0.284 to 0.472 ppb; and for the western
receptors, ppb improvements range from <0.001 to 0.056 ppb. There are far fewer emissions reductions from
western states because there are far fewer states and impacted emissions units in the west, and the resulting air
quality improvements are noticeably lower.

For Tier 1 industries and the impactful boilers in the Tier 2 industries, Table 4 provides by state and by industry
estimated emissions reductions and costs; Table 4a provides by state, estimated emissions reductions and costs.
New Jersey and Nevada are not included in these tables because they did not have any estimated non-EGU
reductions from the Tier 1 industries and boilers in Tier 2 industries that cost up to $7,500 per ton. In addition,
Figure 2 shows the geographical distribution of ozone season reductions.

Table 5 provides by industry and east/west, the number and type of emissions units, total estimated emissions
reductions, total ppb improvements, and costs. There are 489 emissions units contributing to the total estimated
reductions of 47,186 ozone season tons and total estimated ppb improvements of 5.16 ppb.25

Table 6 includes by industry, the emissions source group, control technology, number of emissions units, ozone
season emissions reductions, and annual total cost for the emissions units in the screening assessment. Lastly,
Tables 7, 8, and 9 provide summaries of estimated ozone season emissions reductions, annual total cost, and
average cost per ton by the control technologies CoST applied (i) across all non-EGU emissions units, (ii) across
non-EGU emissions units grouped by the Tier 1 industries and impactful boilers in Tier 2 industries, and (iii) across
non-EGU emissions units grouped by the seven individual Tier 1 and 2 industries.




24
   EPA submitted an information collection request (ICR) to OMB associated with the proposed monitoring, calibrating,
recordkeeping, reporting and testing activities required for non-EGU emissions units -- ICR for the Proposed Rule, Federal
Implementation Plan Addressing Regional Ozone Transport for the 2015 Primary Ozone National Ambient Air Quality
Standard: Transport Obligations for non-Electric Generating Units, EPA ICR No. 2705.01. The ICR is summarized in Section
XI.B.2 of the proposed rule preamble. The ICR includes estimated monitoring, recordkeeping, reporting, and testing costs of
approximately $11.45 million per year for the first three years. These costs are not reflected in the cost estimates presented
in Tables 2 through 9.
25
   While the number of units listed in Table 5 sums to 491, the emissions inventory records for two of the units in Tier 1
industries include SCCs for both boilers and industrial processes. As a result, those units appear twice in the counts.

                                                                                                                                 8
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For the Excel workbooks with Tables 2 through 9, see Transport Proposal – NonEGU Results – 03-16-2022.xlsx and
Non-EGU Analysis Controls – 11-15-2021.xlsx in the docket.26




26
  The R code that processed the CoST run results, the sector-specific (non-EGU-specific) ppb/ton values, and the 2026 AQAT
calibration factors used to prepare these tables are available upon request.

                                                                                                                             9
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All costs are in 2016$ and do not include monitoring, recordkeeping, reporting, or testing costs.

Table 2. Estimated Emissions Reductions (ozone season tons), Maximum PPB Improvements, and Costs
                                                              Ozone Season      Total PPB Improvement Max PPB Improvement
                                                                                                                           Annual Total Cost (million $) Industries (# of emissions units > 100 tpy in identified
Option                                                     Emissions Reductions  Across All Downwind   Across All Downwind
                                                                                                                            (Avg Annual Cost per Ton) industries)
                                                               (East/West)             Receptors            Receptors


                                                                                                                                                              Cement and Concrete Product Manufacturing (47),
Tier 1 Industries with Known Controls that Cost up to             41,153                                                                                      Glass and Glass Product Manufacturing (44),
                                                                                          4.352                  0.392                 $356.6 ($3,610)
$7,500/ton                                                    (37,972/3,181)                                                                                  Iron and Steel Mills and Ferroalloy Manufacturing (39),
                                                                                                                                                              Pipeline Transportation of Natural Gas (307)


                                                                                                                                                              Basic Chemical Manufacturing (17),
Tier 2 Industry Boilers with Known Controls that Cost up           6,033
                                                                                          0.809                  0.169                  $54.2 ($3,744)        Petroleum and Coal Products Manufacturing (10),
to $7,500/ton                                                   (5,965/68)
                                                                                                                                                              Pulp, Paper, and Paperboard Mills (25)

The estimated ozone season reductions, total ppb improvements, and total cost are representative of single year impacts and not cumulative impacts.




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Table 3. Estimated PPB Improvements at Receptors Grouped by Region*
                                                       Average/Max PPB
                                                                          Home State PPB
Receptor ID    State    Receptor Name                Improvement Needed                        Tier 1       Tier 2      Total
                                                                           Contribution
                                                           to Attain
 90010017       CT      Greenwich                           0.6/1.3             9.3            0.231        0.016          0.247
 90013007       CT      Stratford                           1.9/2.8             4.1            0.332        0.024          0.356
 90019003       CT      Westport                            3.7/3.9             2.9            0.314        0.022          0.336
 90099002       CT      Madison                              -/1.5              3.9            0.323        0.023          0.346
 170310001       IL     Chicago/Alsip                        -/1.6             19.4            0.196        0.065          0.261
 170310032       IL     Chicago/South                        -/0.8             16.6            0.299        0.076          0.375
 170310076       IL     Chicago/ComEd                        -/0.4             18.7            0.229        0.060          0.289
 170314201       IL     Chicago/Northbrook                   -/1.5             21.4            0.262        0.069          0.332
 170317002       IL     Chicago/Evanston                     -/1.1             18.9            0.307        0.049          0.356
 550590019      WI      Kenosha/Water Tower                 0.8/1.7             5.8            0.325        0.035          0.360
 550590025      WI      Kenosha/Chiwaukee                    -/0.2              2.6            0.392        0.051          0.443
 551010020      WI      Racine/Racine                        -/1.2             10.8            0.353        0.044          0.397
 480391004      TX      Houston/Brazoria                     -/0.3             29.3            0.302        0.169          0.472
 482010024      TX      Houston/Aldine                      3.3/4.8            29.7            0.186        0.098          0.284
 40278011       AZ      Yuma                                 -/0.9              2.8            0.027        0.001          0.028
 60070007       CA      Butte                                -/-0.8            23.5            0.000        0.000          0.000
 60170010       CA      El Dorado #1                        4.1/6.5            26.7            0.000        0.000          0.000
 60170020       CA      El Dorado #2                        2.3/4.1            28.7            0.000        0.000          0.000
 60190007       CA      Fresno #1                          8.6/10.4            29.1            0.001        0.000          0.001
 60190011       CA      Fresno #2                           11/11.9            31.1            0.002        0.000          0.002
 60195001       CA      Fresno #3                          11.8/14.5           30.2            0.002        0.000          0.002
 60570005       CA      Nevada                              6.3/9.6            25.4            0.000        0.000          0.000
 60610003       CA      Placer #1                            5/7.7             29.8            0.000        0.000          0.000
 60610004       CA      Placer #2                            0/5.1              24             0.000        0.000          0.000
 60670012       CA      Sacramento                          2.7/3.4            30.8            0.000        0.000          0.000
 60990005       CA      Stanislaus                          3.8/4.7            29.2            0.001        0.000          0.001
 80350004       CO      Denver/Chatfield                     -/0.2             15.6            0.055        0.001          0.056
 80590006       CO      Rocky Flats                         0.8/1.4            17.3            0.042        0.000          0.042
 80590011       CO      Denver/NREL                         1.7/2.4            17.6            0.044        0.001          0.044
 490110004      UT      SLC/Bountiful                        0.8/3               8             0.037        0.002          0.038
 490353006      UT      SLC/Hawthorne                       1.6/3.2             8.3            0.036        0.002          0.038
 490353013      UT      SLC/Herriman                        2.6/3.1             8.9            0.018        0.001          0.019
 490570002      UT      SLC/Ogden                            -/0.8              6.1            0.034        0.001          0.035
*Home state emission reductions are not assumed in this analysis.
                                                                                                                                   11
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Table 4. For Tier 1 Industries and Impactful Boilers in Tier 2 Industries, By State And By Industry, Estimated Emissions
        Reductions (ozone season tons*) and Costs
                                                                               Tier 1                                      Tier 2
                                                                Ozone Season   Annual Total Cost (million   Ozone Season   Annual Total Cost (million
   State    Industry                                              Emissions     $) (Avg Annual Cost per       Emissions     $) (Avg Annual Cost per
                                                                 Reductions               Ton)               Reductions               Ton)
   AR       Basic Chemical Manufacturing                               -                     -                    87              $1.1 ($5,113)
   AR       Glass and Glass Product Manufacturing                     47              $0.2 ($2,046)                -                    -
   AR       Iron and Steel Mills and Ferroalloy Manufacturing         6                $0.0 ($631)                 -                    -
   AR       Pipeline Transportation of Natural Gas                   868             $10.1 ($4,852)                -                    -
   AR       Pulp, Paper, and Paperboard Mills                          -                     -                   646              $6.1 ($3,967)
   CA       Cement and Concrete Product Manufacturing               1,162             $3.6 ($1,279)                -                    -
   CA       Glass and Glass Product Manufacturing                    299              $0.9 ($1,293)                -                    -
   CA       Petroleum and Coal Products Manufacturing                  -                     -                    68              $0.4 ($2,349)
   CA       Pipeline Transportation of Natural Gas                   137              $1.5 ($4,718)                -                    -
    IL      Cement and Concrete Product Manufacturing                234              $0.7 ($1,279)                -                    -
    IL      Glass and Glass Product Manufacturing                    901              $2.6 ($1,180)                -                    -
    IL      Pipeline Transportation of Natural Gas                  1,316            $13.7 ($4,348)                -                    -
   IN       Cement and Concrete Product Manufacturing                468              $1.4 ($1,279)                -                    -
   IN       Glass and Glass Product Manufacturing                    338              $1.7 ($2,046)                -                    -
   IN       Iron and Steel Mills and Ferroalloy Manufacturing       1,829            $16.0 ($3,653)                -                    -
   IN       Petroleum and Coal Products Manufacturing                  -                     -                   388              $2.8 ($2,989)
   IN       Pipeline Transportation of Natural Gas                   152              $2.0 ($5,457)                -                    -
   KY       Pipeline Transportation of Natural Gas                  2,291            $28.7 ($5,213)                -                    -
   LA       Basic Chemical Manufacturing                               -                     -                  1,611            $15.2 ($3,939)
   LA       Glass and Glass Product Manufacturing                    206              $1.9 ($3,770)                -                    -
   LA       Petroleum and Coal Products Manufacturing                  -                     -                   477              $4.0 ($3,498)
   LA       Pipeline Transportation of Natural Gas                  3,915            $44.3 ($4,720)                -                    -
   LA       Pulp, Paper, and Paperboard Mills                          -                     -                   561              $5.2 ($3,830)
   MD       Pipeline Transportation of Natural Gas                    45              $0.3 ($3,042)                -                    -
   MI       Cement and Concrete Product Manufacturing                371              $1.1 ($1,279)                -                    -
   MI       Glass and Glass Product Manufacturing                     50              $0.3 ($2,661)                -                    -
   MI       Iron and Steel Mills and Ferroalloy Manufacturing         38              $0.4 ($4,194)                -                    -
   MI       Pipeline Transportation of Natural Gas                  2,272            $25.9 ($4,747)                -                    -
   MN       Glass and Glass Product Manufacturing                    115              $0.6 ($2,288)                -                    -
   MN       Pipeline Transportation of Natural Gas                   558              $7.3 ($5,452)                -                    -
   MO       Cement and Concrete Product Manufacturing               1,296             $4.0 ($1,279)                -                    -
   MO       Glass and Glass Product Manufacturing                    227              $1.1 ($1,992)                -                    -
   MO       Pipeline Transportation of Natural Gas                  1,581            $20.2 ($5,338)                -                    -
   MS       Pipeline Transportation of Natural Gas                  1,577            $19.0 ($5,009)                -                    -
   MS       Pulp, Paper, and Paperboard Mills                          -                     -                   184              $1.4 ($3,243)
   NY       Cement and Concrete Product Manufacturing                142              $0.4 ($1,279)                -                    -
   NY       Glass and Glass Product Manufacturing                    141              $0.5 ($1,572)                -                    -
   NY       Pipeline Transportation of Natural Gas                   106              $1.2 ($4,697)                -                    -
   NY       Pulp, Paper, and Paperboard Mills                          -                     -                   111              $1.2 ($4,486)




                                                                                                                                           12
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   OH     Cement and Concrete Product Manufacturing             116     $0.4 ($1,279)          -                 -
   OH     Glass and Glass Product Manufacturing                 451     $2.2 ($1,998)          -                 -
   OH     Iron and Steel Mills and Ferroalloy Manufacturing     847     $7.6 ($3,763)          -                 -
   OH     Pipeline Transportation of Natural Gas               1,198    $14.6 ($5,062)         -                 -
   OH     Pulp, Paper, and Paperboard Mills                       -            -             179           $2.3 ($5,303)
   OK     Cement and Concrete Product Manufacturing             586     $1.8 ($1,279)          -                 -
   OK     Glass and Glass Product Manufacturing                 190     $1.2 ($2,550)          -                 -
   OK     Pipeline Transportation of Natural Gas               2,799    $34.1 ($5,083)         -                 -
   PA     Cement and Concrete Product Manufacturing             888     $2.8 ($1,336)          -                 -
   PA     Glass and Glass Product Manufacturing                1,379    $3.8 ($1,133)          -                 -
   PA     Iron and Steel Mills and Ferroalloy Manufacturing     438     $6.1 ($5,823)          -                 -
   PA     Petroleum and Coal Products Manufacturing               -            -              98           $0.6 ($2,349)
   PA     Pipeline Transportation of Natural Gas                427     $4.1 ($3,994)          -                 -
   PA     Pulp, Paper, and Paperboard Mills                       -            -              54           $0.9 ($7,019)
   TX     Cement and Concrete Product Manufacturing            1,234    $7.8 ($2,624)          -                 -
   TX     Glass and Glass Product Manufacturing                1,470    $3.9 ($1,109)          -                 -
   TX     Pipeline Transportation of Natural Gas               1,736    $20.7 ($4,966)         -                 -
   UT     Cement and Concrete Product Manufacturing             520     $1.6 ($1,279)          -                 -
   UT     Pipeline Transportation of Natural Gas                237     $2.7 ($4,718)          -                 -
   VA     Cement and Concrete Product Manufacturing             398     $1.2 ($1,279)          -                 -
   VA     Glass and Glass Product Manufacturing                 174     $0.9 ($2,154)          -                 -
   VA     Iron and Steel Mills and Ferroalloy Manufacturing      92     $1.0 ($4,357)          -                 -
   VA     Pipeline Transportation of Natural Gas                801     $10.5 ($5,457)         -                 -
   VA     Pulp, Paper, and Paperboard Mills                       -            -              98           $1.4 ($5,903)
   WI     Glass and Glass Product Manufacturing                 677     $2.5 ($1,517)          -                 -
   WI     Pulp, Paper, and Paperboard Mills                       -            -            1,472         $11.7 ($3,307)
   WV     Cement and Concrete Product Manufacturing             230     $0.7 ($1,279)          -                 -
   WV     Pipeline Transportation of Natural Gas                751     $6.5 ($3,612)          -                 -
   WY     Cement and Concrete Product Manufacturing             446     $1.4 ($1,279)          -                 -
   WY     Pipeline Transportation of Natural Gas                380     $4.9 ($5,349)          -                 -
          Grand Total                                         41,153   $356.6 ($3,610)      6,033         $54.2 ($3,744)
*Ozone season tons are calculated as tpy from the NEI multiplied by 5/12.
Note that New Jersey and Nevada did not have any estimated non-EGU reductions that cost up to $7,500 per ton from the
Tier 1 industries and boilers in Tier 2 industries.




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Table 4a. For Tier 1 Industries and Impactful Boilers in Tier 2 Industries, By State, Estimated Emissions
Reductions (ozone season tons) and Costs
                                     Tier 1                                               Tier 2
                 Ozone Season        Annual Total Cost (million       Ozone Season        Annual Total Cost (million
    State          Emissions          $) (Avg Annual Cost per           Emissions          $) (Avg Annual Cost per
                  Reductions                    Ton)                   Reductions                    Ton)
     AR               922                  $10.4 ($4,679)                  732                   $7.2 ($4,102)
     CA              1,598                  $6.0 ($1,576)                   68                   $0.4 ($2,349)
      IL             2,452                 $17.0 ($2,890)                    -                         -
     IN              2,787                 $21.1 ($3,157)                  388                   $2.8 ($2,989)
     KY              2,291                 $28.7 ($5,213)                    -                         -
     LA              4,121                 $46.2 ($4,673)                 2,649                 $24.4 ($3,837)
     MD                45                   $0.3 ($3,042)                    -                         -
     MI              2,731                 $27.7 ($4,230)                    -                         -
     MN               673                   $7.9 ($4,910)                    -                         -
     MO              3,103                 $25.3 ($3,399)                    -                         -
     MS              1,577                 $19.0 ($5,009)                  184                   $1.4 ($3,243)
     NY               389                   $2.2 ($2,316)                  111                   $1.2 ($4,486)
     OH              2,611                 $24.7 ($3,944)                  179                   $2.3 ($5,303)
     OK              3,575                 $37.1 ($4,325)                    -                         -
     PA              3,132                 $16.8 ($2,237)                  152                   $1.5 ($4,013)
     TX              4,440                 $32.4 ($3,038)                    -                         -
     UT               757                   $4.3 ($2,356)                    -                         -
     VA              1,465                 $13.6 ($3,861)                   98                   $1.4 ($5,903)
     WI               677                   $2.5 ($1,517)                 1,472                 $11.7 ($3,307)
     WV               982                   $7.2 ($3,065)                    -                         -
     WY               826                   $6.2 ($3,152)                    -                         -




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Figure 2. Geographical Distribution of Ozone Season NOx Reductions and Summary of Reductions by Industry and by State




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Table 5. By Industry, Number and Type of Emissions Units, Total Estimated Emissions Reductions (ozone season tons), Total PPB Improvements, and
        Costs




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Table 6. By Industry, Emissions Source Group, Control Technology, Number of Units, Estimated Emissions Reductions (ozone season tons), and Annual
        Total Cost
                                                                                                                                                                                                           Ozone Season
                                                                                                                                                                                                                          Annual Total Cost
Industry                                            Emissions Source Group                                           Control Technology                                                  Number of Units     Emissions
                                                                                                                                                                                                                             (million $)
                                                                                                                                                                                                            Reductions
Cement and Concrete Product Manufacturing           Boilers - < 10 Million BTU/hr; Industrial Processes - Kiln       Ultra Low NOx Burner; Selective Non-Catalytic Reduction                   1                117            $0.5
                                                    Industrial Processes - Kiln                                      Selective Non-Catalytic Reduction                                         24              3,123           $9.7
                                                    Industrial Processes - Preheater Kiln                            Selective Non-Catalytic Reduction                                         3                342            $1.2
                                                    Industrial Processes - Preheater/Precalciner Kiln                Selective Non-Catalytic Reduction                                         19              4,510           $17.5
Glass and Glass Product Manufacturing               Industrial Processes - Container Glass: Melting Furnace          Selective Catalytic Reduction                                             27              1,676           $8.7
                                                    Industrial Processes - Flat Glass: Melting Furnace               Selective Catalytic Reduction                                             13              4,674           $12.7
                                                    Industrial Processes - Furnace: General                          Oxygen Enriched Air Staging                                               1                 52            $0.1
                                                    Industrial Processes - Pressed and Blown Glass: Melting
                                                                                                                     Selective Catalytic Reduction                                             3               264              $2.7
                                                    Furnace
Iron and Steel Mills and Ferroalloy Manufacturing   Boilers - > 100 Million BTU/hr                                   Ultra Low NOx Burner and Selective Catalytic Reduction                    3               383              $4.2
                                                    Boilers - > 100 Million BTU/hr                                   Ultra Low NOx Burner                                                      6               282              $2.2
                                                    Boilers - > 100 Million BTU/hr                                   Selective Catalytic Reduction                                             2               106              $1.2
                                                    Boilers - > 100 Million BTU/hr; Boilers - Blast Furnace Gas      Ultra Low NOx Burner                                                      1               166              $1.0
                                                    Boilers - > 100 Million BTU/hr; Boilers - Coke Oven Gas          Ultra Low NOx Burner                                                      6               360              $2.9
                                                                                                                     Selective Catalytic Reduction; Ultra Low NOx Burner and Selective
                                                    Boilers - > 100 Million BTU/hr; Boilers - Coke Oven Gas                                                                                    1               114              $1.7
                                                                                                                     Catalytic Reduction
                                                    Boilers - Blast Furnace Gas                                      Ultra Low NOx Burner                                                      1                65              $0.4
                                                    Boilers - Blast Furnace Gas; Industrial Processes - Sintering:
                                                    Windbox; Industrial Processes - Blast Furnace:                   Ultra Low NOx Burner; Selective Catalytic Reduction; Low NOx
                                                                                                                                                                                               1               440              $4.4
                                                    Casting/Tapping: Local Evacuation; Industrial Processes -        Burner and Flue Gas Recirculation
                                                    Process Gas: Process Heaters
                                                    Boilers - Coke Oven Gas                                          Ultra Low NOx Burner and Selective Catalytic Reduction                    3               394              $3.7
                                                                                                                     Ultra Low NOx Burner; Ultra Low NOx Burner and Selective
                                                    Boilers - Coke Oven Gas; Boilers - > 100 Million BTU/hr                                                                                    1               116              $1.6
                                                                                                                     Catalytic Reduction
                                                    Industrial Processes - Basic Oxygen Furnace (BOF): Open
                                                                                                                     Selective Catalytic Reduction                                             2               185              $1.9
                                                    Hood Stack
                                                    Industrial Processes - Basic Oxygen Furnace (BOF): Open
                                                                                                                     Selective Catalytic Reduction; Low NOx Burner                             1               172              $1.7
                                                    Hood Stack; Industrial Processes - General
                                                    Industrial Processes - Basic Oxygen Furnace (BOF): Top
                                                                                                                     Selective Catalytic Reduction                                             1                50              $0.5
                                                    Blown Furnace: Primary
                                                    Industrial Processes - Blast Furnace: Casting/Tapping: Local
                                                                                                                     Selective Catalytic Reduction                                             1                38              $0.4
                                                    Evacuation
                                                    Industrial Processes - General                                   Low NOx Burner                                                            5               191              $1.7
                                                    Industrial Processes - General; Industrial Processes - Coke
                                                                                                                     Low NOx Burner; Low NOx Burner and Flue Gas Recirculation                 1                84              $1.0
                                                    Oven or Blast Furnace
                                                    Industrial Processes - Other Not Classified                      Low NOx Burner and Flue Gas Recirculation                                 2                43              $0.1
                                                    Industrial Processes - Sintering: Windbox                        Selective Catalytic Reduction                                             1                60              $0.6
Pipeline Transportation of Natural Gas              Internal Combustion Engines - 2-cycle Clean Burn                 Layered Combustion                                                        1                60              $0.8
                                                    Internal Combustion Engines - 2-cycle Lean Burn                  Layered Combustion                                                       136             12,645           $165.6
                                                    Internal Combustion Engines - 4-cycle Lean Burn                  Selective Catalytic Reduction                                             41             2,656             $21.6
                                                    Internal Combustion Engines - 4-cycle Rich Burn                  Non-Selective Catalytic Reduction                                         2               147              $0.2
                                                    Internal Combustion Engines - Reciprocating                      Non-Selective Catalytic Reduction or Layered Combustion                   94             6,329             $72.0
                                                    Internal Combustion Engines - Reciprocating                      Adjust Air to Fuel Ratio and Ignition Retard                              12              193              $1.1
                                                                                                                     Non-Selective Catalytic Reduction or Layered Combustion; Adjust
                                                    Internal Combustion Engines - Reciprocating                                                                                                1                49              $0.4
                                                                                                                     Air to Fuel Ratio and Ignition Retard
                                                    Internal Combustion Engines - Turbine                            Selective Catalytic Reduction and Steam Injection                         17              929              $8.4
                                                    Internal Combustion Engines - Turbine                            SCR + DLN Combustion                                                      3               136              $2.1




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Basic Chemical Manufacturing                Boilers - > 100 Million BTU/hr                                  Ultra Low NOx Burner and Selective Catalytic Reduction           6       786      $7.5
                                            Boilers - > 100 Million BTU/hr                                  Selective Catalytic Reduction                                    2       104      $1.5
                                            Boilers - 10-100 Million BTU/hr                                 Ultra Low NOx Burner and Selective Catalytic Reduction           1       133      $1.0
                                            Boilers - 10-100 Million BTU/hr                                 Selective Catalytic Reduction                                    1        43      $0.1
                                            Boilers - Cogeneration                                          Selective Catalytic Reduction                                    1        68      $0.9
                                            Boilers - Distillate Oil - Grades 1 and 2: Boiler               Selective Catalytic Reduction                                    1        47      $0.6
                                            Boilers - Petroleum Refinery Gas                                Ultra Low NOx Burner and Selective Catalytic Reduction           2       293      $2.8
                                            Boilers - Petroleum Refinery Gas                                Ultra Low NOx Burner                                             2       138      $0.8
                                            Boilers - Subbituminous Coal: Traveling Grate (Overfeed)
                                                                                                            Selective Catalytic Reduction                                    1           87   $1.1
                                            Stoker
Petroleum and Coal Products Manufacturing   Boilers - > 100 Million BTU/hr                                  Ultra Low NOx Burner                                             1        41      $0.2
                                            Boilers - > 100 Million BTU/hr; Boilers - Blast Furnace Gas     Ultra Low NOx Burner                                             1        38      $0.4
                                            Boilers - Boiler, >= 100 Million BTU/hr                         Natural Gas Reburn                                               1       284      $1.8
                                            Boilers - Coke Oven Gas                                         Ultra Low NOx Burner                                             1        98      $0.6
                                            Boilers - Petroleum Refinery Gas                                Ultra Low NOx Burner and Selective Catalytic Reduction           3       433      $3.8
                                            Boilers - Petroleum Refinery Gas                                Ultra Low NOx Burner                                             3       137      $0.9
Pulp, Paper, and Paperboard Mills           Boilers - > 100 Million BTU/hr                                  Ultra Low NOx Burner and Selective Catalytic Reduction           5       618      $6.8
                                            Boilers - > 100 Million BTU/hr                                  Ultra Low NOx Burner                                             3       151      $1.0
                                            Boilers - > 100 Million BTU/hr                                  Selective Catalytic Reduction                                    1        68      $1.2
                                            Boilers - 10-100 Million BTU/hr                                 Ultra Low NOx Burner                                             2       106      $0.5
                                            Boilers - Bituminous Coal: Cyclone Furnace                      Selective Catalytic Reduction                                    2       662      $3.4
                                            Boilers - Bituminous Coal: Pulverized Coal: Dry Bottom          Ultra Low NOx Burner and Selective Catalytic Reduction           1       111      $1.1
                                            Boilers - Bituminous Coal: Pulverized Coal: Dry Bottom;
                                                                                                            Low NOx Burner; Selective Catalytic Reduction                    1           98   $1.4
                                            Boilers - > 100 Million BTU/hr
                                            Boilers - Bituminous Coal: Spreader Stoker                      Selective Catalytic Reduction                                    3       251      $3.2
                                            Boilers - Cogeneration                                          Ultra Low NOx Burner and Selective Catalytic Reduction           2       338      $2.9
                                            Boilers - Fluid Catalytic Cracking Unit with CO Boiler: Natural
                                                                                                            Ultra Low NOx Burner and Selective Catalytic Reduction           2       289      $2.7
                                            Gas
                                            Boilers - Subbituminous Coal: Boiler, Spreader Stoker           Selective Catalytic Reduction                                    2       348      $3.7
                                            Boilers - Subbituminous Coal: Spreader Stoker                   Selective Catalytic Reduction                                    1       266      $2.3




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Table 7. Estimated Emissions Reductions (ozone season tons), Annual Total Cost, and Average Cost per Ton by Control
Technology Across All Non-EGU Emissions Units
                                                                                                               Average Cost
Control Technology                                                   OS NOx Reductions     Annual Total Cost     per Ton
Adjust Air to Fuel Ratio and Ignition Retard                               212                $1,216,435          $2,393
Layered Combustion                                                        12,706             $166,398,282         $5,457
Low NOx Burner                                                             231                $2,092,579          $3,773
Low NOx Burner and Flue Gas Recirculation                                  200                $2,054,876          $4,288
Natural Gas Reburn                                                         284                $1,843,948          $2,703
Non-Selective Catalytic Reduction                                          147                 $205,808            $585
Non-Selective Catalytic Reduction or Layered Combustion                   6,359              $72,383,222          $4,743
Oxygen Enriched Air Staging                                                 52                 $95,641             $764
SCR + DLN Combustion                                                       136                $2,060,943          $6,301
Selective Catalytic Reduction                                             12,239             $74,692,132          $2,543
Selective Catalytic Reduction and Steam Injection                          929                $8,439,921          $3,787
Selective Non-Catalytic Reduction                                         8,076              $28,782,335          $1,485
Ultra Low NOx Burner                                                      1,670              $11,584,405          $2,890
Ultra Low NOx Burner and Selective Catalytic Reduction                    3,946              $38,959,490          $4,114



Table 8. Estimated Emissions Reductions (ozone season tons), Annual Total Cost, and Average Cost per Ton by Control
Technology Across Non-EGU Emissions Units Grouped by the Tier 1 Industries and Impactful Boilers in Tier 2 Industries
                                                                                                               Average Cost
Tier       Control Technology                                          OS NOx Reductions   Annual Total Cost     per Ton
Tier 1     Adjust Air to Fuel Ratio and Ignition Retard                      212              $1,216,435          $2,393
Tier 1     Layered Combustion                                               12,706           $166,398,282         $5,457
Tier 1     Low NOx Burner                                                    211              $1,852,495          $3,656
Tier 1     Low NOx Burner and Flue Gas Recirculation                         200              $2,054,876          $4,288
Tier 1     Non-Selective Catalytic Reduction                                 147               $205,808            $585
Tier 1     Non-Selective Catalytic Reduction or Layered Combustion          6,359            $72,383,222          $4,743
Tier 1     Oxygen Enriched Air Staging                                        52               $95,641             $764
Tier 1     SCR + DLN Combustion                                              136              $2,060,943          $6,301
Tier 1     Selective Catalytic Reduction                                    10,219           $55,575,188          $2,266
Tier 1     Selective Catalytic Reduction and Steam Injection                 929              $8,439,921          $3,787
Tier 1     Selective Non-Catalytic Reduction                                8,076            $28,782,335          $1,485
Tier 1     Ultra Low NOx Burner                                              962              $7,172,778          $3,107
Tier 1     Ultra Low NOx Burner and Selective Catalytic Reduction            946             $10,362,549          $4,567
Tier 2     Low NOx Burner                                                     20               $240,084           $5,022
Tier 2     Natural Gas Reburn                                                284              $1,843,948          $2,703
Tier 2     Selective Catalytic Reduction                                    2,020            $19,116,944          $3,942
Tier 2     Ultra Low NOx Burner                                              708              $4,411,626          $2,594
Tier 2     Ultra Low NOx Burner and Selective Catalytic Reduction           3,000            $28,596,941          $3,972




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Table 9. Estimated Emissions Reductions (ozone season tons), Annual Total Cost, and Average Cost per Ton by Control Technology Across Non-EGU
Emissions Units Grouped by the Seven Individual Tier 1 and Tier 2 Industries
                                                                                                                                                        Average Cost
Industry                                            Control Technology                                          OS NOx Reductions   Annual Total Cost     per Ton
Cement and Concrete Product Manufacturing           Selective Non-Catalytic Reduction                                 8,076            $28,782,335         $1,485
Cement and Concrete Product Manufacturing           Ultra Low NOx Burner                                               16               $169,531           $4,410
Glass and Glass Product Manufacturing               Oxygen Enriched Air Staging                                        52                $95,641            $764
Glass and Glass Product Manufacturing               Selective Catalytic Reduction                                     6,615            $24,062,362         $1,516
Iron and Steel Mills and Ferroalloy Manufacturing   Low NOx Burner                                                     211             $1,852,495          $3,656
Iron and Steel Mills and Ferroalloy Manufacturing   Low NOx Burner and Flue Gas Recirculation                          200             $2,054,876          $4,288
Iron and Steel Mills and Ferroalloy Manufacturing   Selective Catalytic Reduction                                      948             $9,886,092          $4,345
Iron and Steel Mills and Ferroalloy Manufacturing   Ultra Low NOx Burner                                               946             $7,003,247          $3,085
Iron and Steel Mills and Ferroalloy Manufacturing   Ultra Low NOx Burner and Selective Catalytic Reduction             946             $10,362,549         $4,567
Pipeline Transportation of Natural Gas              Adjust Air to Fuel Ratio and Ignition Retard                       212             $1,216,435          $2,393
Pipeline Transportation of Natural Gas              Layered Combustion                                               12,706           $166,398,282         $5,457
Pipeline Transportation of Natural Gas              Non-Selective Catalytic Reduction                                  147              $205,808            $585
Pipeline Transportation of Natural Gas              Non-Selective Catalytic Reduction or Layered Combustion           6,359            $72,383,222         $4,743
Pipeline Transportation of Natural Gas              SCR + DLN Combustion                                               136             $2,060,943          $6,301
Pipeline Transportation of Natural Gas              Selective Catalytic Reduction                                     2,656            $21,626,734         $3,393
Pipeline Transportation of Natural Gas              Selective Catalytic Reduction and Steam Injection                  929             $8,439,921          $3,787
Basic Chemical Manufacturing                        Selective Catalytic Reduction                                      348             $4,198,768          $5,027
Basic Chemical Manufacturing                        Ultra Low NOx Burner                                               138              $769,564           $2,317
Basic Chemical Manufacturing                        Ultra Low NOx Burner and Selective Catalytic Reduction            1,211            $11,326,715         $3,896
Petroleum and Coal Products Manufacturing           Natural Gas Reburn                                                 284             $1,843,948          $2,703
Petroleum and Coal Products Manufacturing           Ultra Low NOx Burner                                               313             $2,110,773          $2,808
Petroleum and Coal Products Manufacturing           Ultra Low NOx Burner and Selective Catalytic Reduction             433             $3,762,867          $3,624
Pulp, Paper, and Paperboard Mills                   Low NOx Burner                                                     20               $240,084           $5,022
Pulp, Paper, and Paperboard Mills                   Selective Catalytic Reduction                                     1,672            $14,918,176         $3,717
Pulp, Paper, and Paperboard Mills                   Ultra Low NOx Burner                                               257             $1,531,289          $2,484
Pulp, Paper, and Paperboard Mills                   Ultra Low NOx Burner and Selective Catalytic Reduction            1,356            $13,507,360         $4,151




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VI.    Request for Comment and Additional Information

  In this screening assessment the EPA used CoST, the CMDB, and the 2019 emissions inventory to assess emission
  reduction potential from non-EGU emissions units in several industries. We identified emissions units that were
  uncontrolled or that could be better controlled and then applied control technologies to estimate emissions reductions
  and costs. As noted above, the cost estimates do not include monitoring, recordkeeping, reporting, or testing costs.

  As discussed in Section VI.D.2.a of the proposal preamble, the EPA requests comment on the capital and annual costs of
  several potential control technologies, and in particular whether ultra-low NOX burners or low NOX burners are generally
  considered part of the process or add-on controls for ICI boilers (and how process changes or retrofits to accommodate
  controls would affect the cost estimates); the effectiveness of low emissions combustion in controlling NOX from
  reciprocating IC engines, compared to other potential NOX controls for these engines; and whether controls on ICI boilers
  and reciprocating IC engines are likely to be run all year or only during the ozone season.

  The EPA also requests comment on the time needed to install the various control technologies across all of the emissions
  units in the Tier 1 and Tier 2 industries. In particular, the EPA solicits comment on the time needed to obtain permits, the
  availability of vendors and materials, and the earliest possible installation times for SCR on glass furnaces; SNCR on
  cement kilns; ultra-low NOX burners, low NOX burners, and SCR on ICI boilers (coal-fired, gas-fired, or oil-fired); low NOX
  burners on large non-EGU ICI boilers; and low emissions combustion, layered emissions combustion, NSCR, and SCR on
  reciprocating rich-burn or lean-burn IC engines.

  Finally, with respect to emissions monitoring requirements, the EPA requests comment on the costs of installing and
  operating CEMS at non-EGU sources without NOX emissions monitors; the time needed to program and install CEMS at
  non-EGU sources; whether monitoring techniques other than CEMS, such as predictive emissions monitoring systems
  (PEMS), may be sufficient for certain non-EGU facilities, and the types of non-EGU facilities for which such PEMS may be
  sufficient; and the costs of installing and operating monitoring techniques other than CEMS.




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     APPENDIX A – Analysis of Industry Contribution Data
     This appendix describes the analyses performed to help focus the non-EGU analytical framework and resulting
     screening assessment on the most impactful industries.

     To inform this analysis, first using the procedure described in Section III, Step 1 above, we estimated contributions
     from each of 41 industries to each nonattainment and maintenance receptor in 2023 and used these data to
     calculate the 5 metrics identified in Table A-1.27,28 A summary of the data for each metric for each industry is
     provided in Table A-3. These metrics were selected to provide air quality information to inform an evaluation of the
     magnitude and geographic scope of contributions from individual industries. Metrics 1, 2, and 3 provide information
     on the magnitude of the contribution. Metric 4 provides information on the geographic scope of the downwind
     impact, whereas Metric 5 provides information on the geographic scope of upwind state contributions. Of the three
     air quality metrics we chose to analyze the data for Metric 2, the maximum contribution to any downwind receptor,
     because this metric aligns with the air quality metric used in Step 2 of the four-step interstate transport framework
     to identify linked upwind states for further review in Step 3 of the interstate transport framework. To examine the
     geographic breadth of the industry contributions we chose Metric 4 because that metric provides information on the
     extent of impacts on downwind air quality problems.

                      Table A-1. Contribution Metrics for Non-EGU Assessment


                       1     Total contribution to all downwind receptors
                       2     Maximum contribution to any downwind receptor
                       3     Average contribution across all receptors
                       4     Number of receptors with contributions >= 0.01 ppb
                       5     Number of linked upwind states with highest industry contribution >= 0.01 ppb

     Next, we evaluated the maximum downwind contributions to identify the most impactful industries for further
     analysis. This approach included a semi-quantitative examination of rank-ordered maximum contributions to identify
     breakpoints in the data that might serve as an initial screen to eliminate non-impactful industries from further
     analysis of the contribution data. The distribution of maximum contributions provided in Table A-3 indicate that
     there is a large range in the values across the 41 industries. Specifically, 5 industries individually contribute more
     than 0.10 ppb, 3 industries contribute between 0.05 ppb and 0.10 ppb, 11 industries contribute between 0.01 and
     0.05 ppb, 8 industries contribution between 0.005 and 0.01 ppb, and 14 industries contribute less than 0.005 ppb.

     The rank-ordered maximum downwind contributions from individual industries are shown in Figure A-1. In this figure
     each point represents the maximum contribution to a downwind receptor from a particular industry. Note that the
     values for the highest contributing industries are not show in the figure in order to provide greater resolution of the
     shape of the distribution at the lower end of the values. The declining curve in Figure A-1 exhibits a shape similar to a
     harmonic distribution. Initially, there is a fairly steep drop in contributions with a breakpoint between roughly 0.04
     and 0.06 ppb followed by a steady decline to 0.01 ppb. Beyond 0.01 ppb the shape of the distribution is much flatter.
     The data suggest that perhaps 0.05 ppb or 0.01 ppb could serve as breakpoints in the data. Based on the distribution

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   Receptors in California were not considered in evaluating the impacts of non-EGU sources because EPA’s contributions from upwind
states to these receptors at Step 2 of the four-step interstate transport framework finds that these monitoring sites are overwhelmingly
impacted by in-state emissions to a degree not comparable with any other identified nonattainment or maintenance-only receptors in the
country. In this regard, EPA is proposing a determination that California receptors are not sufficiently impacted by interstate transport of
ozone to warrant proceeding with a Step 3 evaluation of emissions reduction opportunities.
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   The methods for identifying receptors are described in the Air Quality Modeling TSD for this proposed rule.

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    of the data we determined that 0.01 ppb provides a meaningful conservative breakpoint for screening out non-
    impactful industries from the non-EGU contribution analysis. The specific industries with a maximum downwind
    contribution >= 0.01 ppb are identified in Table A-2.




                    Figure A-1. Rank-ordered maximum downwind contributions from individual industries

We then examined the data for Metrics 2 and 4 for each industry that has a maximum contribution >= 0.01 ppb. The data for
Metric 4, as shown in Figure A-2, suggests that there as a breakpoint between those industries that contribute to 10 or more
receptors versus those industries that contribute to fewer than 10 receptors. Table A-2 provides the data for Metrics 2 and 4,
ranked by the magnitude of Metric 4. The data show that 8 industries contribute >= 0.01 ppb to more than 10 receptors. Of
these 8 industries, 5 have a maximum contributions of > 0.10 ppb to one of these receptors. In addition, one industry, Basic
Chemical Manufacturing, contributes to only 9 receptors, but the maximum contribution to one of these receptors is >0.10
ppb. Using this information, we grouped the 9 industries into one of 2 tiers based on considering both the magnitude of the
contribution and the downwind extent of affected receptors. Tier 1 includes the 4 industries that each have (1) a maximum
contribution to any one receptor of >0.10 ppb and (2) a contribution >= 0.01 ppb to at least 10 receptors. Tier 2 includes the
5 industries that each have (1) a maximum contribution to any one receptor >=0.10 ppb but contribute >=0.01 ppb to fewer
than 10 receptors, or (2) a maximum contribution <0.10 ppb but contribute >=0.01 ppb to at least 10 receptors.




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   Figure A-2. Number of downwind receptors with contributions >= 0.10 ppb for each industry with a maximum
   downwind contribution >= 0.01 ppb

        Table A-2. Maximum downwind contribution and number of receptors with contributions >= 0.01 ppb

                                                                           Max
                                                                        Downwind          # Receptors with
                  Industry                                             Contribution   Contributions >= 0.01 ppb
                  Cement and Concrete Products                            0.231                  19
                  Metal Ore Mining                                        0.079                  15
                  Lime and Gypsum Products                                0.066                  13
                  Pipeline Transportation of Natural Gas                  0.287                  12
                  Petroleum and Coal Products                             0.098                  12
                  Iron and Steel Mills and Ferroalloy                     0.129                  11
                  Glass and Glass Products                                0.105                  11
                  Pulp, Paper, and Paperboard Mills                       0.043                  11
                  Basic Chemical                                          0.123                   9
                  Oil and Gas Extraction                                  0.035                   9
                  Resin, Synthetic Rubber, and Fibers and Filaments       0.027                   7
                  Nonmetallic Mineral Mining and Quarrying                0.035                   4
                  Clay Product and Refractory                             0.024                   4
                  Water, Sewage and Other Systems                         0.016                   4
                  Pesticide, Fertilizer, and Other Ag                     0.044                   3
                  Other Chemical Products                                 0.024                   3
                  Chemical and Allied Products                            0.019                   2
                  Natural Gas Distribution                                0.016                   1
                  Pharmaceutical and Medicine                             0.011                   1

                                                         24
                              USCA
              Table A-3. Estimated    Case
                                   Total,    #23-1207
                                          Maximum,        Document
                                                   and Average        #2013657
                                                               Contributions              Filed:and
                                                                             from Each Industry, 08/22/2023     Page 1181
                                                                                                    Number of Receptors      of 1689
                                                                                                                        with Contributions >= 0.01
              ppb for 2023
                                                                                                                                                                                                                            # Receptors with    # States with Highest
                                                                                              # Facilities with Units                       Ozone Season
Industry                                                                                                                # Units > 100 tpy                    Total Contribution   Max Contribution   Average Contribution Contributions >= 0.01 Contribution >= 0.01
                                                                                                      > 100tpy                                Emissions
                                                                                                                                                                                                                                  ppb                    ppb



Pipeline Transportation of Natural Gas                                                                 144                    399              34,343              1.679               0.287                0.084                   12                    12
Cement and Concrete Product Manufacturing                                                              61                     84               36,244              1.871               0.231                0.094                   19                    13
Iron and Steel Mills and Ferroalloy Manufacturing                                                      14                     43               4,622               0.577               0.129                0.029                   11                     1
Basic Chemical Manufacturing                                                                           38                     78               9,612               0.293               0.123                0.015                    9                     2
Glass and Glass Product Manufacturing                                                                  38                     53               12,059              0.695               0.105                0.035                   11                     7
Petroleum and Coal Products Manufacturing                                                              47                     94               8,163               0.733               0.098                0.037                   12                     6
Metal Ore Mining                                                                                        9                     21               17,778              0.687               0.079                0.034                   15                     3
Lime and Gypsum Product Manufacturing                                                                  31                     60               8,856               0.531               0.066                0.027                   13                     3
Pesticide, Fertilizer, and Other Agricultural Chemical Manufacturing                                   16                     27               3,680               0.162               0.044                0.008                    3                     1
Pulp, Paper, and Paperboard Mills                                                                      46                     73               6,773               0.306               0.043                0.015                   11                     3
Oil and Gas Extraction                                                                                 59                     139              9,150               0.207               0.035                0.010                    9                     2
Nonmetallic Mineral Mining and Quarrying                                                                8                     18               3,808               0.167               0.035                0.008                    4                     1
Resin, Synthetic Rubber, and Artificial and Synthetic Fibers and Filaments Manufacturing               10                     16               1,779               0.152               0.027                0.008                    7                     2
Other Chemical Product and Preparation Manufacturing                                                    7                      8                683                0.074               0.024                0.004                    3                     1
Clay Product and Refractory Manufacturing                                                               1                      2               1,098               0.088               0.024                0.004                    4                     1
Chemical and Allied Products Merchant Wholesalers                                                       1                      4                573                0.032               0.019                0.002                    2                     1
Natural Gas Distribution                                                                                6                     17               1,027               0.058               0.016                0.003                    1                     1
Water, Sewage and Other Systems                                                                         6                      6                375                0.069               0.016                0.003                    4                     1
Pharmaceutical and Medicine Manufacturing                                                               2                      2                300                0.057               0.011                0.003                    1                     1
Grain and Oilseed Milling                                                                               4                      4                376                0.042               0.009                0.002                    0                     0
Lessors of Real Estate                                                                                  2                      2                138                0.037               0.009                0.002                    0                     0
Nonferrous Metal (except Aluminum) Production and Processing                                            1                      4                408                0.025               0.008                0.001                    0                     0
Sugar and Confectionery Product Manufacturing                                                           5                     10               1,068               0.043               0.008                0.002                    0                     0
Electric Power Generation, Transmission and Distribution                                                4                      4                296                0.039               0.006                0.002                    0                     0
Engine, Turbine, and Power Transmission Equipment Manufacturing                                         2                      2                112                0.020               0.005                0.001                    0                     0
Agriculture, Construction, and Mining Machinery Manufacturing                                           1                      1                 73                0.012               0.005                0.001                    0                     0
Colleges, Universities, and Professional Schools                                                        4                      4                263                0.030               0.005                0.002                    0                     0
Coal Mining                                                                                             5                      5                283                0.015               0.004                0.001                    0                     0
Plastics Product Manufacturing                                                                          2                      2                126                0.012               0.004                0.001                    0                     0
Architectural, Engineering, and Related Services                                                        2                      2                117                0.013               0.003                0.001                    0                     0
Motor Vehicle Parts Manufacturing                                                                       1                      1                 62                0.011               0.003                0.001                    0                     0
Advertising, Public Relations, and Related Services                                                     1                      1                 51                0.009               0.002                0.000                    0                     0
Waste Treatment and Disposal                                                                            5                      5                376                0.010               0.002                0.000                    0                     0
National Security and International Affairs                                                             1                      1                 42                0.002               0.001                0.000                    0                     0
Support Activities for Mining                                                                           1                      1                 56                0.003               0.000                0.000                    0                     0
Beverage Manufacturing                                                                                  1                      1                 45                0.002               0.000                0.000                    0                     0
Veneer, Plywood, and Engineered Wood Product Manufacturing                                              1                      1                  9                0.001               0.000                0.000                    0                     0
Scientific Research and Development Services                                                            1                      1                 78                0.001               0.000                0.000                    0                     0
Alumina and Aluminum Production and Processing                                                          1                      1                 13                0.000               0.000                0.000                    0                     0
Other Food Manufacturing                                                                                1                      1                 45                0.000               0.000                0.000                    0                     0
Office Administrative Services                                                                          1                      1                  5                0.000               0.000                0.000                    0                     0

                                                                                     Total                       591                1,199          164,962                 8.77
                                                                          Tier 1 Industries                      257                  579           87,267                 4.82
                                                                          Tier 2 Industries                      171                  326           51,182                 2.55
                                                             Tier 1 Industries (% of Total)                      43%                  48%              53%                  55%
                                                             Tier 2 Industries (% of Total)                      29%                  27%              31%                  29%




                                                                                                                                             25
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APPENDIX B – SUMMARY OF FACILITIES REMOVED in the SCREENING ASSESSMENT for 2026
 REGION_CD   FACILITY_ID   Reason for Removal                            state        county      site_name                                   naics_code naics_description           city
   24001      7763811      Closure                                        MD         Allegany     Luke Paper Company                           322121 Paper (except Newsprint) Mills Luke
   06029      4789011      Subject to Consent Decree                      CA           Kern       LEHIGH SOUTHWEST CEMENT CO.                  327310 Cement Manufacturing           MONOLITH
   06029      4789311      Subject to Consent Decree                      CA           Kern       CALIFORNIA PORTLAND CEMENT CO.               327310 Cement Manufacturing           MOJAVE
   06071      4841311      Subject to Consent Decree                      CA     San Bernardino   CEMEX - BLACK MOUNTAIN QUARRY PLANT          327310 Cement Manufacturing           APPLE VALLEY
   18093      8225311      Units to be replaced by new kiln by 2023        IN       Lawrence      LEHIGH CEMENT COMPANY LLC                     32731    Cement Manufacturing        Mitchell
   26007      8127411      Subject to Consent Decree                      MI         Alpena       Holcim (US) Inc. DBA Lafarge Alpena Plant    327310 Cement Manufacturing           ALPENA




                                                                                            26
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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                      Exhibit F

       Petition for Reconsideration and Stay, EPA-HQ-OAR-2021-0663-0091
                                   (April 14, 2023)
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                                                                                                   Squire Patton Boggs (US) LLP
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                                                                                                   Douglas A. McWilliams
                                                                                                   T +1 216 479 8332
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                                                                                                   douglas.mcwilliams@squirepb.com



  April 14, 2023

  VIA E-MAIL AND FEDERAL EXPRESS


   Michael Regan, Administrator
   Environmental Protection Agency
   Office of the Administrator, Mail Code 1101A
   1200 Pennsylvania Avenue, N.W.
   Washington, D.C. 20460


  Re: Petition for Reconsideration and Stay of the Final Rule: Air Plan Disapprovals;
      Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
      Quality Standards, EPA-HQ-OAR-2021-0663; EPA-R05-OAR-2022-0006; 88 Fed. Reg.
      9,336 (February 13, 2023)

  Dear Administrator Regan:

          On behalf of our clients, ALLETE, Inc. d/b/a Minnesota Power; Northern States Power
  Company – Minnesota d/b/a/ Xcel Energy; Great River Energy; Southern Minnesota Municipal
  Power Agency; Cleveland-Cliffs, Inc.; and United States Steel Corporation (collectively the
  “Minnesota Good Neighbor Coalition”), please find enclosed a petition for reconsideration and
  stay of the disapproval of “prong 2” of Minnesota’s State Implementation Plan (“SIP”) in the
  United States Environmental Protection Agency’s final rule: Air Plan Disapprovals; Interstate
  Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards,
  EPA-HQ-OAR-2021-0663; EPA-R05-OAR-2022-0006; 88 Fed. Reg. 9,336 (February 13, 2023).

             Please contact me with any questions you may have.

  Sincerely,

  /s/ Douglas A. McWilliams
  Douglas A. McWilliams

  cc:        Olivia Davidson
             Debra Shore
             Gautam Srinivasan
             Thomas Uher


  Over 40 Offices across 4 Continents

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  legal entities.

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                       Before the United States Environmental Protection Agency

      In re: Air Plan Disapprovals; Interstate               ) EPA Docket Nos. EPA–HQ–OAR–2021–
      Transport of Air Pollution for the 2015 8-Hour         ) 0663; EPA–R05–OAR–2022–0006; FRL–
      Ozone National Ambient Air Quality                     ) 10209–01–OAR
      Standards, 88 Fed. Reg. 9336 (February 13,             )
      2023)                                                  )
                                                             )


          Petition for Reconsideration and for Stay of the Air Plan Disapprovals for Interstate
        Transportation of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality
                                                Standards

           ALLETE, Inc. d/b/a Minnesota Power; Northern States Power Company – Minnesota
  d/b/a/ Xcel Energy; Great River Energy; Southern Minnesota Municipal Power Agency; Cleveland-
  Cliffs, Inc.; and United States Steel Corporation (collectively “Petitioners”) respectfully request
  that the United States Environmental Protection Agency (“EPA”) reconsider and stay the portion
  of its final rule Air Plan Disapprovals; Interstate Transport of Air Pollution for the 2015 8-Hour
  Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 9336 (February 13, 2023) (the “SIP
  Disapproval”) that disapproves Minnesota’s state implementation plan (“SIP”) for interstate
  transport for “prong 2” of Clean Air Act (“CAA”) § 110(a)(2)(D)(i)(I), 42 U.S.C. § 7410(a)(2)(D)(i)(I).

          Minnesota is uniquely situated in the SIP Disapproval. In EPA’s February 13 action,
  Minnesota’s SIP was approved for “prong 1”1 based on EPA’s finding that Minnesota does not
  contribute significantly to nonattainment in any downwind state. Minnesota’s SIP was
  disapproved for “prong 2,” with EPA finding that Minnesota was linked to interference with
  maintenance of a single downwind maintenance-only receptor. EPA has subsequently found in
  its promulgation of an ozone transport federal implementation plan (“FIP”) that Minnesota was
  not linked to any downwind non-attainment or maintenance-only receptor when modeled for
  2026.

         Based on the best evidence available in 2018 when Minnesota submitted its SIP to EPA
  for approval (and on April 1, 2020 when EPA had a statutory obligation to approve or deny the
  Minnesota SIP), Minnesota was not linked to interference with attainment or maintenance in any
  downwind state. But, EPA did not timely act on the Minnesota SIP, and then it moved the goal
  posts. Based on new modeling and emission data EPA developed years later, (the “2016v2”
  modeling platform) EPA proposed to find that Minnesota was linked to two downwind
  maintenance-only receptors due to a modeled impact of less than 1 ppb at each receptor. In the


  1
   As discussed on page 4 infra, EPA has divided the Good Neighbor obligation set out in Clean Air Act (“CAA”) §
  110(a)(2)(D), 42 U.S.C. § 7410(a)(2)(D), into two “prongs.” The obligation to prohibit sources from emitting air
  pollutants in an amount which will “contribute significantly to nonattainment” is sometimes referred to as “prong
  1,” and the obligation to prohibit sources from emitting air pollutants in an amount which will “interfere with
  maintenance” as “prong 2.”
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  final SIP Disapproval, EPA again revised its emissions data and modeling (the “2016v3” modeling
  platform) and now finds that Minnesota is linked in 2023 to only a single maintenance-only
  monitor, at a maximum contribution of 0.85 ppb. Further, EPA has since released updated
  modeling results for 2026 that show that this same monitor will be in attainment without any
  material reduction of emissions from Minnesota. As a result, after five years of updates, EPA’s
  modeling results support the same conclusion that Minnesota reached in 2018, namely that
  additional emissions reductions are not needed to prohibit emissions in Minnesota that will
  contribute significantly to nonattainment, or interfere with maintenance of, the 2015 8-hour
  ozone NAAQS in any downwind state. We ask that EPA grant this petition for reconsideration to
  do what it should have done in 2018—Approve the Minnesota SIP.

           The approvability of Minnesota’s original SIP submittal is corroborated by two additional
  pieces of information that were not available during the public comment period for the proposed
  SIP disapproval or prior to EPA’s release of its 2016v3 modeling in 2023. First, EPA’s 2016v3
  emissions inventory materially overstates Minnesota’s 2023 NOx emissions; for example, it
  incorrectly assumes over 2,800 tons of NOx from an electric generating facility that has been
  idled since 2019 and is projected to have zero emissions in 2023. By merely correcting the
  projected actual NOx emissions, Minnesota has already achieved more NOx reductions than
  EPA’s FIP would require of Minnesota. This effectively confirms Minnesota’s step 32 conclusion
  in its 2018 SIP that no additional permanent or enforceable measures were needed beyond those
  already implemented by the state.3

          Second, as EPA has recognized, its CAMx modeling is subject to significant bias in areas of
  complex meteorology, including the water/land interface occurring at the sole maintenance
  monitor that EPA has linked to Minnesota emissions. While EPA released with the final SIP
  Disapproval a review of this localized bias risk for southern Lake Michigan, that review was
  materially flawed and does not address the significant over-prediction bias occurring on the
  precise days EPA selected for use in evaluating Minnesota’s SIP. As a result, EPA’s general
  conclusion that adjusting for bias will not affect the outcome of its SIP reviews, does not apply to
  its review of the Minnesota SIP. To the contrary, adjusting for material bias results in the sole
  maintenance-only monitor to which Minnesota was linked by EPA becoming an attainment
  monitor in 2023. In other words, eliminating high-bias days alone completely addresses EPA’s
  objection to Minnesota’s 2018 SIP and eliminates Minnesota at Step 1 of EPA’s four-step analysis.

          Reconsideration is appropriate to make the above corrections to the emissions inventory
  and to account for modeling bias. After incorporating this new material information into the SIP
  analysis, we believe that EPA will conclude as we have that Minnesota’s original 2018 SIP
  determination that it is not having a downwind impact on attainment or maintenance that
  requires additional permanent and enforceable measures was correct and warrants approval of

  2
    See page 4 infra for the list of four steps in EPA’s 4-step framework for evaluating Good Neighbor SIP
  submissions.
  3
    See Minnesota’s 110(a)(1) and 110(a)(2) “Infrastructure” State Implementation Plan requirements for the
  National Ambient Air Quality Standards for Ozone, Promulgated in 2015, EPA-R05-OAR-2022-0006-0005, at 12
  (October 1, 2018) (“2018 SIP”).

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  the Minnesota SIP. Reconsideration is also appropriate to address a significant procedural flaw
  in the finalization of the SIP Disapproval. Specifically, the SIP Disapproval relies on information
  that was not available to EPA, Minnesota, or any other interested parties until 2023, well past
  the period for Minnesota’s SIP submission and EPA’s statutory deadline to approve Minnesota’s
  SIP. While EPA has an obligation to use the best available evidence in making its regulatory
  decisions, that obligation is not unbounded and cannot be used to circumvent the procedures
  set forth in the Clean Air Act. When Minnesota timely submitted a SIP that is approvable based
  on the information known at the time, EPA had an obligation to approve the SIP. The Act does
  not allow EPA unfettered discretion to delay approval until new information becomes available,
  and then move the goalposts. For States that have done their part to invest resources in
  developing a timely and approvable SIP, EPA has a statutory obligation to act. EPA may still
  consider new scientific data and modeling after the statutory deadline, but there is a separate
  administrative process available to EPA that respects the State’s SIP process. Minnesota should
  have an approved SIP and EPA should be considering whether new information is sufficiently
  material to require a “SIP call” pursuant to CAA § 110(k)(5), 42 U.S.C. § 7410(k)(5), to give
  Minnesota the opportunity to revise its SIP given the new available information. Having chosen
  to use this new information to disapprove prong 2 of Minnesota’s SIP instead, EPA deprived
  Petitioners, the State, and other interested parties of significant procedural protections and
  opportunities for public input that were required by the Clean Air Act. Granting reconsideration
  allows EPA the opportunity to cure the procedural flaw that its final action is based on material
  information that has not been subject to the notice and comment process.

         Given that new information was made available after the close of the public comment
  period, but before the time for judicial review, that such information actually undermines EPA’s
  basis for disapproving prong 2 of Minnesota’s 2018 SIP in the SIP Disapproval, and
  reconsideration would address the harms caused by significant procedural defects in the SIP
  Disapproval, Petitioners respectfully request that EPA grant reconsideration for the purpose of
  reviewing this new information and approving prong 2 of Minnesota’s 2018 SIP.

         Further, since the disapproval of prong 2 of Minnesota’s SIP, and the continued
  implementation of EPA’s subsequently-issued FIP, will cause irreparable harm to Petitioners, we
  request that EPA grant a stay of the disapproval of prong 2 of Minnesota’s SIP pending
  reconsideration and pending judicial review, which will also address the irreparable harm caused
  by EPA’s FIP.

  I.         Background

         On October 1, 2015, EPA promulgated a revised primary and secondary 8-hour ozone
  NAAQS of 70 ppb. This created a requirement under the CAA for states to submit revised SIPs to
  EPA by October 1, 2018.4 SIPs were required to meet the applicable requirements of CAA §
  110(a)(2), 42 U.S.C. § 7410(a)(2), including an obligation, sometimes referred to as a “Good
  Neighbor” obligation, that the SIPs:


  4
      42 U.S.C. § 7410(a)(1).

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          (D) Contain adequate provisions—

                   (i) prohibiting, consistent with the provisions of this subchapter,
                   any source or other type of emissions activity within
                   the State from emitting any air pollutant in amounts which will—

                           (I) contribute significantly to nonattainment in, or interfere
                           with maintenance by, any other State with respect to any
                           such national primary or secondary ambient air quality
                           standard, …

  42 U.S.C. § 7410(a)(2)(D). The obligation to prohibit sources from emitting air pollutants in an
  amount which will “contribute significantly to nonattainment” is sometimes referred to as “prong
  1,” and the obligation to prohibit sources from emitting air pollutants in an amount which will
  “interfere with maintenance” as “prong 2,” of the Good Neighbor obligation.

          While EPA has never promulgated regulations imposing more specific interstate transport
  requirements than what is contained in the statutory text, EPA has developed a 4-step framework
  that it stated the agency would use to evaluate a state’s compliance with its Good Neighbor
  obligation. Namely:

      (1) Identify monitoring sites that are projected to have problems attaining and/or
          maintaining the NAAQS (i.e., nonattainment and/or maintenance receptors);

      (2) identify states that impact those air quality problems in other (i.e., downwind) states
          sufficiently such that the states are considered ‘‘linked’’ and therefore warrant further
          review and analysis;

      (3) identify the emissions reductions necessary (if any), applying a multifactor analysis, to
          eliminate each linked upwind state’s significant contribution to nonattainment or
          interference with maintenance of the NAAQS at the locations identified in Step 1; and

      (4) adopt permanent and enforceable measures needed to achieve those emissions
          reductions.5

           Minnesota took a notably conservative approach in its SIP. First, in EPA’s Transport
  Memo, EPA recognized that its four-step framework was not binding, and offered that states
  “have flexibility to follow this framework or develop alternative frameworks.”6 Despite this
  flexibility, Minnesota adopted EPA’s framework for its SIP.7 Second, EPA made clear, in the


  5
    See Information on the Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National
  Ambient Air Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I),
  https://www.epa.gov/sites/default/files/2018-03/documents/transport_memo_03_27_18_1.pdf at 2-3 (March 27,
  2018) (“Transport Memo”).
  6
    Id.
  7
    2018 SIP at 5.

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  Transport Memo and in a separate memorandum published later that year, that states did not
  need to adopt EPA’s suggested 1% threshold for determining significant contributions and
  interference with maintenance at step 2.8 Here too, Minnesota did not exercise this flexibility,
  and chose instead to use EPA’s preferred approach.9 Third, EPA guidance offered states flexibility
  regarding how to determine which downwind monitors should be considered maintenance
  receptors.10 Again, Minnesota followed EPA’s suggested approach.11 In other words, while
  Minnesota was not required to, it followed EPA’s own framework and did not rely on additional
  flexibilities to demonstrate that it had satisfied its Good Neighbor obligations.12

          Minnesota also used the best information available at the time to determine its Good
  Neighbor obligations. Specifically, Minnesota used EPA’s own modeling and modeling developed
  by the Lake Michigan Air Directors Consortium (“LADCO”) to identify monitoring sites projected
  to have problems attaining or maintaining the 2015 ozone NAAQS in 2023.13 It then projected
  the state’s own contributions to those nonattainment and maintenance monitors using both sets
  of results.14 Both EPA’s and LADCO’s modeling showed that Minnesota would contribute less
  than 1 percent of the NAAQS to all downwind receptors, with a highest receptor contribution
  from either model of 0.45 ppb.15 Thus, following EPA’s 4-factor framework, and using EPA’s own
  modeling and proposed threshold, Minnesota demonstrated that it was not contributing
  significantly to, or interfering with maintenance of, the 2015 ozone NAAQS in any downwind
  state.

          This alone would have been sufficient to satisfy Minnesota’s Good Neighbor obligation.
  Minnesota also, however, included in its SIP submission a “step 3” analysis demonstrating that
  Minnesota emissions of ozone precursors had been reduced from 2002 through 2015 and would
  be further reduced by emission limitations and reductions required by other programs.16 Under
  this step 3 analysis, Minnesota demonstrated that, even if the state were having more than an
  insignificant impact on downwind receptors (as EPA now asserts), Minnesota’s existing glidepath
  of emissions reductions still supported a finding that no further emission control measures would



  8
    Transport Memo at A-2; Analysis of Contribution Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I)
  Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
  Standards (Aug. 31 2018) (“Threshold Memo”)
  9
    2018 SIP at 6.
  10
     Transport Memo at A-2; Consideration for Identifying Maintenance Receptors for Use in Clean Air Act Section
  110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National
  Ambient Air Quality Standards, https://www.epa.gov/sites/default/files/2018-
  10/documents/maintenance_receptors_flexibility_memo.pdf at 3 (October 19, 2018) (“Maintenance Memo”)
  11
     2018 SIP at 5.
  12
     Minnesota, of course, could have taken a different approach, and might have used some of these flexibilities,
  had EPA indicated during the statutory review period that it was considering disapproving prong 2 of Minnesota’s
  SIP.
  13
     2018 SIP at 5-9.
  14
     Id.
  15
     Id. at 8-9.
  16
     Id. at 9-12; see also id. at 13.

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  be needed to address this impact. EPA did not meet its obligation to approve or deny
  Minnesota’s complete and approvable SIP within 12 months of submittal.

          Approximately three years after EPA’s deadline to approve the Minnesota SIP, EPA
  proposed to disapprove Minnesota’s SIP on February 22, 2022, along with SIPs from 18 other
  states.17 EPA did not identify a technical error in Minnesota’s submission or any inconsistency
  with the Good Neighbor requirements, or even EPA’s own framework. In fact, EPA recognized
  that “the modeling the MPCA used relied on the most recently available EPA modeling at the
  time the state submitted its SIP submittal.”18 Nonetheless, EPA proposed to reject Minnesota’s
  SIP because EPA chose to rely “on the Agency’s most recently available modeling, which uses a
  more recent base year and more up-to-date emissions inventories, to identify upwind
  contributions and ‘linkages’ to downwind air quality problems in 2023 using a threshold of 1
  percent of the NAAQS.” Id. Based on this data, EPA proposed to reject Minnesota’s conclusion
  that it was not linked to a downwind receptor, and to find instead that Minnesota was linked to
  two maintenance monitors in Cook County, Illinois, one with a maximum contribution of 0.97
  ppb and the other 0.79 ppb.19

          On February 13, 2023, EPA published the SIP Disapproval. In its final rule, EPA approved
  Minnesota’s SIP as to “prong 1” but disapproved Minnesota’s SIP as to “prong 2.”20 Rather than
  use the emissions data and modeling available to Minnesota in 2018, or even emissions data and
  modeling available at the time of the proposed SIP disapproval, EPA made a number of additional
  updates to its emissions inventories and model design to construct a new 2016v3 emissions
  platform, which it used to generate new air quality modeling without seeking public comment to
  allow affected party input to help the agency assess the accuracy of the new information utilized
  in the modeling.21 Minnesota was now no longer linked to two downwind receptors. It was now
  linked to only a single maintenance-only receptor, at a maximum contribution of 0.85 ppb for
  2023. 22

          While EPA also conducted updated modeling for 2026, it did not release this information
  in the docket for the SIP Disapproval, stating it was “not applicable” and “not used in this final
  action.”23 EPA subsequently made these results available, however, on EPA’s website for its
  Federal Implementation Plan (“FIP”) for 23 states, including Minnesota.24 Based on EPA’s
  modeling for 2026, Minnesota is not linked to any downwind nonattainment or maintenance-
  only receptor. In fact, based on EPA’s modeling, the sole maintenance-only receptor Minnesota
  was linked to in 2023 is in attainment by 2026, and Minnesota’s largest contribution to any

  17
     Air Plan Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air Plan Disapproval; Region 5
  Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards, 87 Fed.
  Reg. 9838, 9868 (February 22, 2022) (“Proposed Rule”).
  18
     Proposed Rule at 9867.
  19
     Id. at 9868.
  20
     See SIP Disapproval at 9357.
  21
     See id. at 9339.
  22
     Id. at 9357.
  23
     Id. at 9344, n.49.
  24
     https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs

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  downwind nonattainment or maintenance-only receptor is just 0.32 ppb.25 Notably, this
  modeling assumed no installation of additional pollution controls in Minnesota. The only
  emissions reductions included from Good Neighbor obligations were an annual reduction of 139
  tons NOx from emissions control optimization at EGUs.26

  II.      Grounds for Reconsideration of the SIP Disapproval

          Reconsideration is justified under either CAA § 307(d)(7)(B)27 or Administrative Procedure
  Act (“APA”) § 553(e) (5 U.S.C. § 553(e)).28 Under CAA § 307(d), reconsideration is required “[i]f
  the person raising an objection can demonstrate to the Administrator that it was impracticable
  to raise such objection within such time or if the grounds for such objection arose after the period
  for public comment (but within the time specified for judicial review) and if such objection is of
  central relevance to the outcome of the rule.”29 Courts have found that an objection was
  “impractical to raise” “when the final rule was not a logical outgrowth of the proposed rule.”
  Alon Refining Krotz Springs, Inc. v. EPA, 936 F.3d 628, 648 (D.C. Cir. 2019) (per curiam). In other
  words, when interested parties would not have “anticipated that the change was possible, and
  thus reasonably should have filed their comments on the subject during the notice-and-comment
  period.” CSX Transp., Inc. v. Surface Transp. Bd., 584 F.3d 1076, 1080 (D.C. Cir. 2009) (internal
  quotations omitted). An objection is of central relevance to the outcome of the rule if it “provides
  substantial support for the argument that the regulation should be revised.” Chesapeake Climate
  Action Network v. EPA, 952 F.3d 310, 322 (D.C. Cir. 2020). Under the APA, EPA has “broad
  discretion to reconsider” its SIP Disapproval “at any time” Under the APA. Clean Air Council v.
  Pruitt, 862 F.3d 1, 8-9 (D.C. Cir. 2017).30

         Three grounds support reconsideration under either standard. First, EPA's 2016v3
  modeling did not have the benefit of Petitioners’ or other public comments. As a result, it
  contains a significant overestimation of 2023 emissions for Minnesota. Second, EPA’s 2016v3
  modeling of the sole monitor supporting a potential linkage between Minnesota and Illinois is
  subject to significant bias which, if corrected for, results in the same receptor modeling
  attainment in 2023. Third, EPA’s rejection of prong 2 of Minnesota’s SIP was procedurally



  25
     See Federal “Good Neighbor Plan” for the 2016 Ozone National Ambient Air Quality Standards,
  https://www.epa.gov/system/files/documents/2023-03/FRL%208670-02-
  OAR_Good%20Neighbor_Final_20230314_Signature_ADMIN%20%281%29.pdf, at 198 (pre-publication version).
  26
     Compare Id. at 290, Table V.C.1-1; 291, Table V.C.1-2; and 452, Table VI.B.4.c-1.
  27
     42 U.S.C. § 76076(d)(7)(B).
  28
     SIP disapprovals are not automatically subject to the exhaustion requirements of Clean Air Act § 307(d).
  42 U.S.C. § 7607(d). This subsection lists 22 categories of agency action subject to the exhaustion requirement.
  SIP approval and disapproval, separate from issuance of a FIP, as occurred in the SIP Disapproval, is not addressed
  by any of these 22 categories.
  29
     42 U.S.C. § 7607(d)(7)(B).
  30
     See also Trujillo v. Gen. Elec. Co., 621 F.2d 1084, 1086 (10th Cir. 1980) (“Administrative agencies have an
  inherent authority to reconsider their own decisions, since the power to decide in the first instance carries with it
  the power to reconsider.”); United Gas Improvement Co. v. Callery Properties, Inc., 382 U.S. 223, 229 (1965) (“An
  agency, like a court, can undo what is wrongfully done by virtue of its order.”)

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  improper because it was based entirely on results EPA obtained in 2023, well past the statutory
  deadline for Minnesota’s SIP submission and EPA’s decision approving or disapproving it.

          A.       Errors in EPA’s New Emissions Data and Modeling, Which Were Not Subject to
                   Notice and Comment, Support Reconsideration to Ensure EPA’s Decision on
                   Minnesota’s SIP is Based on Valid and Accurate Information.

          EPA “made a number of updates to [its] inventories and model design to construct a
  2016v3 emissions platform which was used to update [EPA’s] air quality modeling.” SIP
  Disapproval at 9339. The SIP Disapproval uses “this updated modeling to inform [EPA’s] final
  action on [state] SIP submissions,” including Minnesota’s. Id.

         The new emissions inventory and modeling platform are of central relevance to EPA’s
  rule. EPA identifies the 2016v3 platform as designed “to inform [the agency’s] final action on
  these SIP submissions.” SIP Disapproval at 9339. For Minnesota, the 2016v3 modeling results
  are the sole record citation EPA provides for its finding that prong 2 of Minnesota’s SIP was
  “ultimately inadequate.” Id. at 9357.

           While there have been errors in each of EPA’s inventories at each stage of the regulatory
  process, these new errors in the emissions inventory arose only with the publication of the final
  SIP Disapproval. Under both the APA and the CAA, EPA’s rulemaking process requires adequate
  public notice and an opportunity to comment on the evidence on which EPA intends to rely for
  its final rules.31 EPA’s emissions inventory and modeling design changes were not made publicly
  available until EPA published the SIP Disapproval and several supporting documents on the same
  day. As a result, the public, including Petitioners, did not have the opportunity to review EPA’s
  data and correct errors before then.

          In the limited time Petitioners have had to review the 2016v3 data, we have identified
  significant errors in EPA’s estimate of NOx emissions for 2023. As an example, EPA added 2,822
  tons of NOx for Northshore Mining Co. – Silver Bay power. These boilers have been idled since
  October 2019 and are expected to have zero emissions in 2023. EPA itself recognizes that zero
  emissions are expected at this facility in both its OTP Policy Analysis, Appendix A and in its Unit-
  Level Allocations and Underlying Data for the Final Rule (both available at
  https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs).             Yet EPA made no
  adjustment to its 2016v3 data, resulting in a significant overestimate of 2023 emissions from
  Minnesota used by EPA to justify disapproval of the Minnesota SIP. If EPA defends including
  2,822 tons of NOx emissions for Silver Bay Power in the baseline actual emissions used to model
  Minnesota’s downwind impact in 2023, then Minnesota’s state allowance budget should be

  31
     See Small Ref. Lead Phase-Down Task Force v. EPA, 705 F.2d 506, 540 (D.C. Cir. 1983) (adding evidence on which
  EPA relies after the close of the comment period would be “highly improper”); see also Sierra Club v. Costle, 657
  F.2d 298, 400 (D.C. Cir. 1981) (“If … documents of central importance upon which EPA intended to rely had been
  entered on the docket too late for any meaningful public comment prior to promulgation, then both the structure
  and spirit of section 307 would have been violated.”); see also Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C.
  Cir. 1982) (finding EPA had not provided adequate opportunity for public comment on economic modeling placed
  in the docket only one week before promulgation of its final regulations).

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  increased to reflect those emissions and Silver Bay Power should receive proportional allowance
  allocations for the 2023 CSAPR ozone season trading program and beyond. To do otherwise
  would be internally inconsistent, which is an indication of arbitrary rulemaking.

          For Minnesota, EPA’s most recent modeling identified a single impacted maintenance
  monitor in 2023, at which Minnesota’s maximum impact was 0.85 ppb. EPA’s latest modeling
  projects this same receptor will be in attainment by 2026 with no reductions from Minnesota
  other than already “on the books” rules and regulations.32 In other words, EPA’s 2026 modeling
  confirms Minnesota’s 2018 SIP conclusion that “the limits and controls that Minnesota already
  has in place across the state are sufficient to make it reasonably certain that Minnesota will not
  significantly contribute to nonattainment or interfere with maintenance in any other state” and
  that “no further controls or emissions limits are required to fulfill [Minnesota’s] responsibilities
  under the interstate transport provisions for the 2015 ozone NAAQS under prongs 1 and 2 of
  Section 110(a)(2)(D)(i)(I).”33

         Given the above considerations, EPA should grant reconsideration to reassess
  Minnesota’s 2018 SIP in light of its own modeling showing that no further emission reductions
  are needed for Minnesota to satisfy its prong 2 good neighbor obligations.

          B.      The Sole Monitor that Links Minnesota Models in Attainment for 2023 When
                  Bias is Removed.

          Minnesota’s only link to a downwind state receptor is the Alsip/Village Garage monitor
  located in Cook County, Illinois (170310001). This monitor is located near the southern shore of
  Lake Michigan at a land-water interface with complex meteorology. This monitor is currently
  measuring attainment with the 2015 ozone NAAQS using the 2021 4th highest daily maximum
  value (68 ppb). However, EPA’s air quality modeling predicts that this monitor is at risk of
  violating the ozone NAAQS and, therefore, designates it as a maintenance-only receptor. Upwind
  states that interfere with this monitor’s maintenance of the ozone NAAQS are linked through
  prong 2. However, if a corrected model predicts the monitor’s maximum 2023 design value will
  attain the 2015 ozone NAAQS, this monitor falls out of the analysis at Step 1 and, since no other
  monitor links to Minnesota, EPA will have no basis for disapproval of prong 2 of Minnesota’s SIP.

         In the attached analysis, Alpine Geophysics demonstrates that the Cook County monitor
  models attainment for the 2015 ozone NAAQS in 2023. Alpine Geophysics evaluated this Cook
  County monitor and concluded that its location at a land-water interface at the southern shore
  of Lake Michigan presents highly complex meteorological conditions and ozone photochemistry
  that complicate the air quality model’s ability to replicate ozone concentrations reliably. Of note,




  32
     See Air Quality Modeling Final Rule Technical Support Document,
  https://www.epa.gov/system/files/documents/2023-03/AQ%20Modeling%20Final%20Rule%20TSD.pdf at 17,
  Table 3-5 (showing Monitor 170310001 no longer listed as a monitor-only receptor in the 2026 base case).
  33
     2018 SIP at 13.

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  EPA’s application of a 12 km grid resolution in such areas is contrary to EPA’s own guidance.34
  Alpine Geophysics reviewed EPA’s day-specific model performance for the estimation of ozone
  concentrations on days EPA used to calculate future year design values and found significant bias
  in the majority of modeled day values used to designate this monitor site as a maintenance-only
  receptor. When Alpine Geophysics adjusted for this bias by using daily concentration values
  within acceptable normalized bias boundaries (+/- 15%), the updated list of top ten days used to
  designate the Cook County monitor resulted in both its average and maximum design values to
  be calculated in attainment with the 2015 ozone NAAQS.

          When one attaining monitor modeled as a maintenance-only receptor is the sole basis for
  a state’s linkage, a refined level of analysis is particularly important when predicting future design
  values and significant contribution. When that monitor is in a highly complex land-water
  interface area, it is not surprising for refined analysis to show significant bias. In its FIP
  rulemaking, EPA looked at this impact, but evaluated only one of ten Cook County monitors.35 In
  doing so, EPA evaluated the only monitor out of the ten where EPA’s performance-based
  recalculation resulted in a higher design value. As a result, EPA’s sensitivity analysis materially
  understates the significance of the bias impact on the Alsip/Village Garage monitor and this issue
  remains central to EPA’s evaluation of Minnesota’s 2018 SIP.

          Petitioners also had no ability to evaluate the bias in EPA’s 2016v3 modeling of the
  Alsip/Village Garage monitor prior to EPA’s release of its model and supporting data. As a result,
  this information arose after the close of the public comment period and within the time for
  judicial review.

          Since Petitioners have identified significant bias in the sole receptor on which EPA relies
  to find a link to Minnesota and reject Minnesota’s 2018 SIP, reconsideration is appropriate to
  evaluate the new information and analysis provided. When reasonably adjusting for the bias in
  EPA’s 2016v3 modeling of that receptor, EPA will be in a position to confirm that Minnesota
  accurately concluded in 2018 that there are no “potential nonattainment or maintenance
  receptors significantly impacted by ozone transport from Minnesota in 2023” and that
  “[t]herefore, Minnesota does not have a responsibility to identify or implement any further
  controls or emissions limits to reduce downwind ozone contribution.”36

          C.       Minnesota’s SIP Should Have Been Approved Based on the Data Available at the
                   Statutory Deadlines for Submission or Review.

          The Clean Air Act sets out a detailed process for EPA’s review of SIPs in CAA § 110(k). 42
  U.S.C. § 7410(k). For timely submitted plans that have been deemed complete, like Minnesota’s,

  34
     Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5 and Regional Haze,
  https://www.epa.gov/sites/default/files/2020-10/documents/o3-pm-rh-modeling_guidance-2018.pdf (Nov. 29,
  2018).
  35
     See Federal “Good Neighbor Plan for the 2015 Ozone National Ambient Air Quality Standards Response to Public
  Comments on Proposed Rule, https://www.epa.gov/system/files/documents/2023-
  03/Response%20To%20Comments%20Document%20Final%20Rule.pdf at 196.
  36
     2018 SIP at 9.

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  EPA has twelve months to act on a plan submission. 42 U.S.C. § 7410(k)(2). For a plan that meets
  the requirements of the Clean Air Act, “the Administrator shall approve such submittal as a
  whole.” Id. at (k)(3). If a portion of the plan revision meets all the applicable requirements, EPA
  “may approve the plan revision in part and disapprove the plan revision in part” but “[t]he plan
  revision shall not be treated as meeting the requirements of [the Clean Air Act] until the
  Administrator approves the entire plan revision as complying with the applicable requirements
  of [the Clean Air Act].” Id. In other words, while EPA has discretion to partially approve a SIP
  submittal that does not meet all requirements of the Clean Air Act, if a submission meets all
  requirements of the Act, EPA does not have discretion. It must approve the SIP. See also Utah
  Physicians for a Healthy Env't v. Kennecott Utah Copper, LLC, 191 F. Supp. 3d 1287, 1290 (D. Utah
  2016) (“If a SIP satisfies the applicable requirements, EPA must approve it.”).

           In 2018, Minnesota submitted a timely and approvable SIP. As EPA acknowledges in the
  SIP Disapproval, Minnesota “was not projected to be linked to any receptor in 2023 in the EPA’s
  2011-based modeling.”37 Petitioners retained Alpine Geophysics to reanalyze Minnesota’s SIP
  submission considering the best evidence available both at the time of Minnesota’s SIP
  submission and at the time of EPA’s statutory obligation to approve or disapprove Minnesota’s
  SIP. As detailed in the attached report, Alpine Geophysics’ review confirms that Minnesota’s SIP
  submission: (1) had no material errors; (2) relied on the best science (including emissions data
  and modeling) available at the time; (3) fully complied with the CAA’s requirements and EPA’s
  guidance; and (4) would have been approved had EPA not incorporated information unavailable
  during the statutory review period. As a result, pursuant to 42 U.S.C. § 7410(k)(2) and (k)(3), by
  April 1, 2020, EPA had a non-discretionary duty to approve Minnesota’s SIP. While EPA missed
  its statutory deadline, this did not relieve EPA of its duty to approve Minnesota’s SIP.

          While EPA now finds that “in light of more recent air quality analysis,” Minnesota is linked
  to a single maintenance monitor in Illinois, this is based on information that did not exist at the
  time of Minnesota’s SIP submission nor when EPA had a statutory obligation to approve the SIP.
  This was also not EPA’s first use of untimely information to assess Minnesota’s SIP. In 2022, EPA
  proposed to disapprove Minnesota’s SIP “[s]ince new modeling ha[d] been performed by EPA
  with updated emission data,” that EPA proposed “to primarily rely on … to identify
  nonattainment and maintenance receptors in 2023.” Proposed Rule at 9867. As EPA
  acknowledged at the time, this was “a different method for projecting emissions” than what had
  been available to Minnesota for it to develop its SIP submittal. Id. EPA’s repeated changes in
  emissions inventory and modeling platform after the deadline for SIP submissions and after
  Minnesota’s SIP was deemed complete by EPA effectively moved the goalpost for Minnesota’s
  SIP, undercutting the State of Minnesota’s ability to identify the requirements EPA would apply
  to determine an approvable SIP.

         The impact was significant. Minnesota’s modeled impact went from contributing “below
  1 percent of the NAAQS to receptors in 2023” to contributing “greater than 1 percent of the
  standards to two maintenance-only receptors in Illinois”38 in the 2022 proposed SIP Disapproval

  37
       SIP Disapproval at 9357.
  38
       Id. at 9867-68.

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  to now being linked to one maintenance-only receptor in the 2023 SIP Disapproval (assuming no
  further adjustment for bias or data inaccuracies)). Notably, even using EPA’s new data and
  modeling, Minnesota would still have had no linkage to a downwind maintenance receptor if EPA
  had not also moved the maximum threshold it indicated it would consider acceptable from 1 ppb
  to 1% (0.70 ppb).39 As the D.C. Circuit has held, it is arbitrary and capricious to give states a
  “constantly moving target,” New York v. EPA, 964 F.3d 1214, 1224 (D.C. Cir. 2020), let alone two.
  The language and structure of the Clean Air Act clearly give Minnesota and Petitioners the right
  to address this new data in the first instance in a SIP amendment, and not in a challenge to a SIP
  disapproval, as EPA now requires.

          Notably, if EPA had followed the CAA procedures, it could have appropriately considered
  the new information it has developed since 2020, including the 2016v3 modeling it has
  introduced with the 2023 SIP Disapproval. But EPA cannot rely on its almost three year delay to
  circumvent the process and procedural protections set forth in the Clean Air Act. Rather, EPA
  was required to act on the SIP Minnesota submitted. If, after approval, EPA finds that a timely,
  complete and approved SIP nonetheless is “substantially inadequate … to mitigate adequately
  the interstate pollutant transport” or otherwise comply with the requirements of the Clean Air
  Act, “the Administrator shall require the State to revise the plan as necessary to correct such
  inadequacies.” Id. at (k)(5). EPA also cannot simply disapprove the state’s plan pending a new
  state submission that incorporated EPA’s newly developed information, as the SIP Disapproval
  effectively does. In the event EPA finds a SIP Call is justified, EPA must first “notify the State of
  the inadequacies, and may establish reasonable deadlines (not to exceed 18 months after the
  date of such notice) for the submission of such plan revisions.” Id. Further, “[s]uch findings and
  notice shall be public.” Id. These procedural protections are an important component of the
  cooperative federalism embodied in the Clean Air Act. As courts have held, “[t]he Clean Air Act
  is an experiment in federalism, and the EPA may not run roughshod over the procedural
  prerogatives that the Act has reserved to the states, especially when … the agency is overriding
  state policy. Bethlehem Steel Corp. v. Gorsuch, 742 F.2d 1028, 1036–37 (7th Cir. 1984).

          Multiple commenters, including the Minnesota Pollution Control Agency, have raised
  similar concerns arising from EPA’s initial proposal to use 2016v2 modeling to disapprove state
  SIPs.40 EPA has attempted to respond to those comments in the RTC, but in doing so, has not
  addressed the fundamental issue that EPA cannot disapprove a SIP that is approvable based on
  the information existing at the time that submittals are due, or even at the time EPA’s SIP review
  was statutorily due, and cannot circumvent Minnesota’s right to address new data in a SIP
  amendment, before EPA uses it to disapprove an otherwise approvable SIP.
  42 U.S.C. §§ 7410(k)(3) and (5).


  39
     Minnesota did not rely on the 1 ppb threshold for its SIP submission, but as EPA acknowledged, “[t]he 2018
  modeling indicated the state was not projected to contribute above one 1 percent of the NAAQS to a projected
  downwind nonattainment or maintenance receptor. Therefore, the state may not have considered analyzing the
  reasonableness and appropriateness of a 1 ppb threshold at Step 2 of the 4-step Step interstate transport
  framework per the August 2018 memorandum.” Proposed Rule at 9867.
  40
     See RTC at 42-59.

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         EPA asserts in the SIP Disapproval that its use of new modeling and data did not move the
  goal post for states because EPA “did not evaluate states’ SIP submissions based solely on the
  2016v2 emissions platform (or the 2016v3 platform…)” but rather “evaluated the SIP submissions
  based on the merits of the arguments put forward in each SIP submission.” SIP Disapproval at
  9366. For Minnesota, however, EPA cites no basis or analysis for its SIP Disapproval other than
  the 2016v3 modeling results. Having relied on no other information to disapprove Minnesota’s
  SIP, EPA cannot simply assert it had an additional basis with no additional substantiation. As the
  D.C. Circuit has noted, EPA cannot support its decision on only a “Delphic explanation of
  [Minnesota’s] purported failure to carry its burden of proof.” New York, 964 F.3d at 1224.

          EPA also maintains that data and modeling it developed for the Proposed Rule in 2022,
  and now additional data and modeling it developed for the SIP Disapproval in 2023, supports a
  finding that Minnesota’s SIP submission is “ultimately inadequate.” SIP Disapproval at 9357. But
  even if this were the case, it does not give EPA a right to disapprove Minnesota’s 2018 SIP. For
  data arising after EPA’s statutory deadline to approve Minnesota’s SIP, EPA could no longer rely
  on its obligation to use the “best information available.” SIP Disapproval at 9366. Interpreting
  the Clean Air Act otherwise would not do justice to the cooperative federalism framework
  Congress established in CAA § 110, and would deprive states of important procedural protections
  allowing them to control and direct in the first instance, the implementation of the NAAQS within
  their borders.

          The SIP Disapproval misapplies the D.C. Circuit’s reasoning in Wisconsin, 903 F.3d at 322,
  when it asserts the SIP submission deadline is “’procedural’” and that to limit EPA’s decision to
  information available at the time of the SIP submission or EPA’s statutory review deadline would
  elevate it above requirements “‘central to the regulatory scheme.’” SIP Disapproval at 9366
  (quoting Wisconsin, 903 F.3d at 322. Neither Wisconsin, nor the case on which it relies, Sierra
  Club v. EPA, 294 F.3d 155 (D.C. Cir. 2002), addressed the issue presented here. In Wisconsin, the
  court was responding to an argument that EPA should have selected 2011 as its analytic year
  even though that year had already passed. In Sierra Club, the court was responding to a
  contention that EPA’s ability to extend a SIP submittal deadline should support its authority to
  extend attainment deadlines. Here, EPA argues for an exception that would swallow the rule. If
  EPA could simply withhold ruling on a SIP until the State’s information had become stale, and
  then disapprove the SIP and issue a FIP based on the “best available information,” the
  cooperative federalism structure of the NAAQS would be an empty shell.

          This is also not a situation like that which arose in EME Homer City Generation, L.P. v. EPA,
  795 F.3d 118 (D.C. Cir. 2015). There, EPA had approved state SIPs in reliance on the Clean Air
  Interstate Rule (“CAIR”), which was subsequently found to have “more than several fatal flaws”
  by the D.C. Circuit. North Carolina v. EPA, 531 F.3d 896, 901 (D.C.Cir.2008) (per curiam). In
  addressing whether this ruling allowed EPA to “correct” its earlier SIP approvals under
  42 U.S.C. § 7410(k)(6), the D.C. Circuit found EPA could do so, but only due to the unique
  circumstances of that case. EME Homer City Generation, 795 F.3d at 135 n.12 (“Our conclusion
  on Subsection 7410(k)(6) is limited to the unusual circumstances here, in which a federal court
  says that EPA lacked statutory authority at the time to approve a SIP.”). Notably, the D.C. Circuit


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  did not decide whether EPA could rely on Clean Air Act §110(k)(6) to disapprove an approved SIP
  “in any other circumstances,” and stated that its holding in particular “should not be read to
  diminish the scope or force of Subsection 7410(k)(5), which provides that whenever ‘the
  Administrator finds that the applicable implementation plan for any area is substantially
  inadequate ... the Administrator shall require the State to revise the plan as necessary to correct
  such inadequacies.’” Id. (quoting 42 U.S.C. § 7410(k)(5)).

          While in EME Homer, EPA had already approved several state SIPs, and in this rulemaking
  EPA has not yet approved Minnesota’s SIP, this is a distinction without a difference. Minnesota
  submitted its SIP on October 1, 2018. It was deemed complete April 1, 2019.41 EPA’s period for
  review therefore ended April 1, 2020. As described in the Proposed Rule, Minnesota’s SIP
  submission complied with the Clean Air Act and EPA’s guidance for developing an interstate
  transport SIP for the 2015 ozone NAAQS. 87 Fed. Reg. at 9848-49. As detailed in the attached
  report, Alpine Geophysics’ review confirms that Minnesota timely submitted an approvable SIP.
  By April 1, 2020, EPA had a statutory duty to approve Minnesota’s SIP.

         EPA’s reliance on its 2016v3 modeling platform (which was not available to the public or
  interested parties) to reject the conclusions Minnesota reached based on the information that
  was available to all parties at the time is clearly of central relevance. Had EPA acted by its
  statutory deadline, Minnesota would have an approved SIP today. Further, while Petitioners have
  previously commented on the approvability of Minnesota’s SIP, the basis for EPA’s partial SIP
  Disapproval for Minnesota, including its decision to rely on its newer 2016v3 modeling platform,
  was not made public until the final rule. These grounds therefore arose after the close of the
  public comment period but before the time for judicial review. Reconsideration is therefore
  appropriate to address this procedural anomaly for Minnesota.

         On reconsideration EPA should approve Minnesota’s 2018 SIP based on the information
  that was available to EPA for its statutory review. The agency may then reassess whether, based
  on the information available today, including the above data and bias corrections, Minnesota’s
  SIP remains sufficient to comply with prong 2 of the state’s Good Neighbor obligations. For the
  reasons explained herein, EPA should find that the 2018 SIP was and is adequate to comply with
  prong 2.

  III.       Grounds for Stay of the SIP Disapproval

          EPA has authority to stay the SIP Disapproval both pending reconsideration and pending
  judicial review. First, if the SIP Disapproval is subject to CAA § 307(d), a stay pending
  reconsideration can be granted for three months. Second, EPA has authority under the APA to
  stay the SIP Disapproval pending judicial review.




  41
       See https://www3.epa.gov/airquality/urbanair/sipstatus/reports/mn_infrabypoll.html

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          A.       A Stay Under CAA § 307(d)(7) is Appropriate.

          The Clean Air Act provides that, if EPA grants reconsideration of a rule, “[t]he
  effectiveness of the rule may be stayed during such reconsideration…by the Administrator or the
  court for a period not to exceed three months.” 42 U.S.C. § 7607(d)(7)(B). If the SIP Disapproval
  is subject to CAA § 307(d), a stay pending reconsideration is justified here.

         EPA issued a final rule based primarily on emissions data and modeling that it did not
  make publicly available before issuance of the final rule. Even upon publication, EPA’s release of
  data was partial and inadequate to reconstruct the modeling that EPA used for its final
  determinations. Obtaining the data and checking its accuracy has taken several weeks. It would
  take many more weeks to rerun EPA’s modeling to confirm that the results support reversal of
  EPA’s disapproval of prong 2 of Minnesota’s SIP. It will likely take a similar amount of time to
  evaluate the evidence of bias Petitioners are submitting to confirm that it too, supports approval
  of Minnesota’s SIP.

          A stay will also not unduly impact downwind states. Minnesota is not modeled to
  interfere with attainment for any downwind state. Under EPA’s most recent modeling,
  Minnesota is linked only to a single maintenance-only receptor, the most recent monitored
  design value of the monitor at this location was in attainment, and EPA’s modeling for 2026
  shows the receptor will model attainment as well with only minimal reductions from Minnesota.
  As EPA has itself emphasized, the SIP Disapproval does not require any action from the states.42

          While a stay of the effective date of the SIP Disapproval for Minnesota would also prevent
  EPA from applying its FIP to Minnesota at the start of the upcoming ozone trading season, which
  is scheduled to start May 1, 2023, this is not likely to be relevant. In a recent filing, EPA has stated
  that the FIP is not likely to be effective until “late June to early July.”43 If EPA timely takes action
  on this reconsideration, this is well within the time EPA would need to conduct reconsideration.
  Further, while EPA has interpreted the CAA to require it “to address good neighbor obligations
  as expeditiously as practicable and no later than the next attainment date,” RTC at 445, granting
  a stay of Minnesota’s SIP denial pending reconsideration will not interfere with that goal.
  Minnesota is modeled to impact only a single maintenance-only monitor. As the D.C. Circuit has
  recognized, this ‘may be a valid reason” to postpone addressing emission reductions until even
  after the next attainment date. North Carolina v. EPA, 531 F.3d 896, 912 (D.C. Cir. 2008). A
  reasonable stay to address reconsideration falls well within EPA’s discretion.

          B.       EPA Should Stay the Effective Date of the SIP Disapproval Pending Judicial
                   Review.

         EPA can consider a stay of the entire SIP Disapproval for all affected states. Under the
  APA, EPA may stay the effective date of the SIP Disapproval pending judicial review when “justice


  42
   See, e.g., 2015 Ozone NAAQS Interstate Transport SIP Disapproval – Response to Comments (“RTC”) at 466.
  43
   Respondents’ Consolidated Response in Opposition to the Motions for Stay of the Final Rule, Texas v. EPA, Case
  No. 23-60069, Doc. 109, at 12 (5th Cir. Filed March 27, 2023).

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  so requires.” 5 U.S.C. § 705. Several Petitioners are filing a petition for judicial review of EPA’s
  partial disapproval of Minnesota’s SIP contemporaneously with this petition for reconsideration
  and stay. Multiple other petitions have already been filed for judicial review, including petitions
  by Arkansas, Kentucky, Oklahoma, Texas, Utah, and Wyoming. More are likely. These cases are
  already spread across four circuits, and additional litigation may expand the number of courts
  further.

          The effective date of the SIP Disapproval is March 15, 2023. This effective date is
  significant for both legal and practical reasons. Legally, it will force EPA to promulgate a FIP within
  two years (though in this case EPA has already finalized its FIP). 42 U.S.C. § 7410(c)(1). States
  will also be required to prepare SIP revisions if they are interested in addressing the errors in
  EPA’s analysis. Further, the significant legal flaws in EPA’s SIP Disapproval discussed above,
  coupled with the technical and legal concerns it raises, make it likely that judicial review will result
  in a remand if not vacatur of the current SIP Disapproval. As a result, to avoid the unnecessary
  expenditure of EPA resources on a FIP, state resources on SIP revisions, and the resources of the
  public and regulatory industries in addressing a FIP that is likely to not be required, justice
  requires that the SIP Disapproval be stayed pending judicial review.

          Further, while EPA is not bound to apply the same four-factor analysis used by courts for
  granting a judicial stay pending review, these factors indicate support for EPA in granting a stay
  of the SIP Disapproval. Under this standard, the considerations for a stay are:

     (1) whether the stay applicant has made a strong showing that he is likely to succeed on the
         merits;

     (2) whether the applicant will be irreparably injured absent a stay;

     (3) whether issuance of the stay will substantially injure the other parties interested in the
         proceeding; and

     (4) where the public interest lies.

  Nken v. Holder, 556 U.S. 418, 434, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009) (citation omitted).
  These “four considerations are factors to be balanced and not prerequisites to be met.” State of
  Ohio ex rel. Celebrezze v. Nuclear Regul. Comm'n, 812 F.2d 288, 290 (6th Cir. 1987).

                 1.      Petitioners Have Made a Strong Showing They Are Likely to Succeed on
                         the Merits

          There is no fixed probability of success the agency must find in applying these
  considerations. “Ordinarily the party seeking a stay must show a strong or substantial likelihood
  of success. However, at a minimum the movant must show ‘serious questions going to the merits
  and irreparable harm which decidedly outweighs any potential harm to the defendant if a [stay]
  is issued.’” Id. (quoting In re DeLorean Motor Company, 755 F.2d 1223, 1229 (6th Cir.1985)).



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           As discussed above, the SIP Disapproval has substantive and procedural flaws, each of
  which individually, and more so when combined, demonstrate “a high probability of success on
  the merits.” Ohio ex rel. Celebrezze v. Nuclear Regul. Comm’n., 812 F.2d 288, 290 (6th Cir.1987).
  Substantively, EPA’s partial SIP Disapproval for Minnesota was based on an incorrect set of
  emissions data and biased modeling results that, when adjusted, support Minnesota’s original
  conclusion that the state is not linked to downwind nonattainment or interference with
  maintenance and, even if linked, does not need to impose additional emission reductions to
  satisfy its Good Neighbor obligations. Procedurally, EPA did not follow the process required by
  the Clean Air Act for reviewing and approving Minnesota’s SIP. In doing so, EPA deprived the
  State and Petitioners of the ability to address EPA’s concerns in a SIP Call process.

          Other flaws in the SIP Disapproval also strongly support a showing of likely success on the
  merits in a judicial challenge. In particular, we call to the agency’s attention: (a) EPA’s
  impermissible reliance on new data to disapprove prong 2 of Minnesota’s SIP without providing
  adequate notice and an opportunity for public comment; and (b) the SIP Disapproval’s subversion
  of the well-established and vital cooperative federalism underlying the entire Clean Air Act and
  in particular, the NAAQS.

                           a.     EPA Cannot Base its SIP Disapproval on Information that was Not
                           Subject to Adequate Notice and Public Comment

          Under both the Administrative Procedure Act (“APA”) and the CAA, EPA’s rulemaking
  process requires adequate public notice and an opportunity to comment. Small Ref., 705 F.2d at
  547. This includes providing the public with the evidence on which EPA intends to rely. Id. at
  540. Adding evidence on which EPA relies after the close of the comment period is “highly
  improper.” Id. at 540; see also Sierra Club, 657 F.2d at 400 (“If … documents of central
  importance upon which EPA intended to rely had been entered on the docket too late for any
  meaningful public comment prior to promulgation, then both the structure and spirit of section
  307 would have been violated.”). Even reconsideration cannot cure an inadequate opportunity
  for notice and comment. U. S. Steel v. EPA, 595 F.2d 207, 214 (5th Cir. 1979) (“Permitting the
  submission of views after the effective date is no substitute for the right of interested persons to
  make their views known to the agency in time to influence the rulemaking process in a
  meaningful way.”) (Internal quotations omitted).

          In the SIP Disapproval, EPA “made a number of updates to [it’s] inventories and model
  design to construct a 2016v3 emissions platform which was used to update [EPA’s] air quality
  modeling.” SIP Disapproval at 9339. The SIP Disapproval used “this updated modeling to inform
  [EPA’s] final action on [Minnesota’s] SIP submissions.” Id. The details of these emissions
  inventory and modeling design changes were first described to the public in the SIP Disapproval
  and associated documents made publicly available the same day.44 Even then, EPA did not make
  public its 2026 modeling results, reserving these for finalization of the FIP several weeks later.


  44
    Even then, the supporting data and modeling platform were not made electronically available and needed to be
  requested by the public, which added several more weeks to gain access.

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          This data and modeling were clearly of central importance to EPA’s disapproval of prong
  2 of Minnesota’s SIP. In fact, they are the sole basis for EPA’s disapproval. See SIP disapproval
  at 9357 (finding Minnesota’s analysis “ultimately inadequate” in light of EPA’s “more recent air
  quality analysis”); see also id. (disapproving prong 2 of Minnesota’s SIP because “[i]n the 2016v3
  modeling, Minnesota is projected to be linked above 1 percent of the NAAQS to one
  maintenance-only receptor”). As a result, EPA was required to provide the public advance notice
  of its new data and an opportunity for meaningful public comment.

          EPA’s publication of its revised emissions inventory and modeling the day of the SIP
  Disapproval did not satisfy this requirement. In Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C.
  Cir. 1982), the D.C. Circuit found EPA had not provided adequate opportunity for public comment
  on economic modeling placed in the docket only one week before promulgation of its final
  regulations. Here, EPA did not make its new emissions data and modeling publicly available until
  the day it published its final SIP Disapproval.

          It is not enough to say that Petitioners had the opportunity to comment on EPA’s previous
  version of the emissions data and modeling, or that EPA’s latest data simply “incorporates
  comments generated during the public comment period.” SIP Disapproval at 9366. As the D.C.
  Circuit stated in Chesapeake, 952 F.3d at 320, it would be an “unreasonable burden on
  commenters not only to identify errors in a proposed rule but also to contemplate why every
  theoretical course of correction the agency might pursue would be inappropriate or incorrect.”
  The new data and modeling on which EPA relies for the SIP Disapproval differs significantly from
  that which was in the public record. Based on EPA’s own summary of the data, Minnesota’s
  largest contribution to a downwind maintenance receptor changed from 0.97 ppb to 0.85 ppb
  based on EPA’s changes. Compare Proposed Rule at 9868 with SIP Disapproval at 9354. Since
  EPA’s own adopted significant contribution threshold in the SIP Disapproval is 0.7 ppb, a change
  of 0.12 ppb is clearly significant.45

          Under both the CAA and the APA, EPA was required to provide notice and an opportunity
  for public comment on its 2016v3 data. There is no question that EPA provided no notice or
  opportunity for comment. As a result, there is a high likelihood that Petitioners would be likely
  to prevail on the merits of a judicial challenge. This strongly supports EPA issuing a stay of the
  effective date of the SIP Disapproval pending judicial review.

                           b.     EPA Undermined State Primacy by Disapproving Minnesota’s SIP
                           Despite its Adherence to the Requirements of the Clean Air Act.

         As EPA acknowledges, “[t]he CAA establishes a framework for state-Federal partnership
  to implement the NAAQS based on ‘cooperative federalism.’” SIP Disapproval at 9367. Under
  this model, “the Federal Government establishes broad standards or goals, states are given the

  45
    EPA’s 2016v3 modeling did not just result in significant changes to EPA’s assessment of Minnesota’s potential
  impact on downwind states. Six states (Arizona, Iowa, Kansas, New Mexico, Tennessee, and Wyoming) had their
  status as linked states change entirely. See Air Quality Modeling Technical Support Document 2015 Ozone NAAQS
  SIP Disapproval Final Action, https://www.regulations.gov/document/EPA-HQ-OAR-2021-0663-0017 at 24.

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  opportunity to determine how they wish to achieve those goals, and if states choose not to or
  fail to adequately implement programs to achieve those goals, a Federal agency is empowered
  to directly regulate to achieve the necessary ends.” Id. Thus, “states have the obligation and
  opportunity in the first instance to develop an implementation plan to achieve the NAAQS under
  CAA section 110” and “EPA will approve SIP submissions under CAA section 110 that fully satisfy
  the requirements of the CAA.” Id. As the Supreme Court has held: “[e]ach State is given wide
  discretion in formulating its plan, and the Act provides that the Administrator ‘shall approve’ the
  proposed plan if it has been adopted after public notice and hearing and if it meets [the CAA’s]
  criteria.” Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976) (quoting 42 U.S.C. § 7410(a)(2)).

         EPA departed from this framework when it proposed a SIP disapproval based, not on any
  inaccuracy in Minnesota’s evaluation of the data, but on EPA’s preference for a different
  modeling platform and emissions inventory. EPA does not have the authority to condition SIP
  approval on the state’s adoption of EPA’s preferred approach, or to supplant Minnesota’
  interpretation of how best to achieve the goals of the CAA, as long as Minnesota complies with
  the requirements of the CAA.

          EPA’s position is predicated on an incorrect summary of its role in the SIP review process
  and the relevant case law. First, EPA’s role is not “secondary” only in that “it occurs second in
  time.” RTC at 425 (internal quotations omitted). EPA relies on EPA v. EME Homer City
  Generation, LP, 572 U.S. 489 (2014) for this proposition, but the case does not support EPA’s
  position. It must be remembered that EME Homer involved EPA’s authority to promulgate a FIP
  after EPA had already disapproved SIPs.46 As a result, the Court did not address EPA’s statutory
  duty to approve a timely and complete SIP submission, which is the issue here. The Court’s
  “interpretations of CAA section 110(a)(2)(D)(i)(I)” on which EPA relies must be read in this light.
  RTC at 426. The Court upheld interpretive choices EPA made when issuing a FIP. The Court did
  not say EPA could delay approval until new information became available that supported its
  disapproval of the SIP.

          Second, EPA is wrong to imply that EME Homer undermines the long line of cases setting
  out EPA’s secondary (in substance, not just in time) role in developing plans to implement the
  NAAQS. In fact, the Supreme Court continues to cite these cases for their interpretation of EPA’s
  role. See West Virginia v. EPA, 213 L. Ed. 2d 896, 142 S. Ct. 2587, 2600 (2022) (“EPA … does not
  choose which sources must reduce their pollution and by how much to meet the ambient
  pollution target. Instead, Section 110 of the Act leaves that task in the first instance to the States,
  requiring each ‘to submit to [EPA] a plan designed to implement and maintain such standards



  46
    See EME Homer, 572 U.S. at 507 (“The gravamen of the State respondents’ challenge is not that EPA's
  disapproval of any particular SIP was erroneous. Rather, respondents urge that, notwithstanding these
  disapprovals, the Agency was obliged to grant an upwind State a second opportunity to promulgate adequate SIPs
  once EPA set the State's emission budget. This claim does not depend on the validity of the prior SIP
  disapprovals. Even assuming the legitimacy of those disapprovals, the question remains whether EPA was
  required to do more than disapprove a SIP, as the State respondents urge, to trigger the Agency's statutory
  authority to issue a FIP.”) (emphasis added).

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  within its boundaries.’”) (quoting Train v. Natural Resources Defense Council, Inc., 421 U.S. 60, 65
  (1975)).

          The SIP Disapproval and RTC makes clear that EPA’s disapproval of prong 2 of Minnesota’s
  SIP was not based on a determination that Minnesota’s SIP failed to meet the statutory
  requirements of CAA, but because EPA wanted to apply “a consistent set of policy judgments
  across all states for purposes of evaluating interstate transport obligations and the approvability
  of interstate transport SIP submissions for the 2015 ozone NAAQS under CAA section
  110(a)(2)(D)(i)(I).” SIP Disapproval at 9339; see also id. at 9340 (“Effective policy solutions to the
  problem of interstate ozone transport going back to the NOx SIP Call have necessitated the
  application of a uniform framework of policy judgments to ensure an ‘efficient and equitable’
  approach.”) (quoting EME Homer, 572 U.S. at 519); RTC at 425-426. This was error. EPA’s
  assessment of a SIP is to be based on whether the SIP compiles with the requirements of the CAA,
  not on EPA’s policy preferences or desire for efficiency. Only after a state fails to comply with its
  statutory requirements can EPA impose what it believes best to achieve the substantive objective
  of the Act.

          Because EPA’s SIP Disapproval is based on improper factors that undermine the core
  cooperative federalism embodied in CAA § 110, Petitioners are likely to prevail on the merits of
  a judicial challenge. This further supports EPA issuing a stay of the effective date of the SIP
  Disapproval pending judicial review.

                 2.      Petitioners Will Suffer Irreparable Harm from a Denial of Stay.

          Relevant factors for evaluating the harm which will occur include: (1) the substantiality of
  the injury alleged; (2) the likelihood of its occurrence; and (3) the adequacy of the proof provided.
  In evaluating the harm which will occur both if the stay is issued and if it is not, the court must
  look to three factors: the substantiality of the injury alleged, the likelihood of its occurrence,
  and the adequacy of the proof provided. Ohio ex re. Celebrezze, 812 F.2d at 290 (citing Cuomo
  v. United States Nuclear Regulatory Commission, 772 F.2d 972, 974 (D.C.Cir.1985)).

           The SIP Disapproval poses substantial and imminent injuries to Petitioners. As discussed
  in Section II above, the data which EPA should have used to evaluate Minnesota’s SIP (see Section
  II.C), the best available data today, when flaws are addressed (see Sections II.A and B), and even
  the most likely future data (see Section II.D) strongly support a finding that Minnesota is not
  significantly contributing to nonattainment or interfering with maintenance of the 2015 ozone
  NAAQS in any state. EPA’s SIP denial is predicated on the erroneous conclusion that there is
  interference with maintenance. This places the entire State of Minnesota in an erroneous state
  of non-compliance with the Good Neighbor requirement of the Clean Air Act.

          EPA’s SIP Disapproval also forces EPA to promulgate emission reductions through a FIP.
  42 U.S.C. § 7410(c). EPA has already finalized just such a rulemaking. This leaves no time for
  reconsideration or judicial review to run its course before Petitioners are injured by the FIP, let
  alone time for Minnesota to remedy EPA’s issues with the submitted SIP. Petitioners submitted
  detailed comments on the FIP identifying numerous substantial injuries from EPA’s promulgation

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  of its Proposed FIP that are likely to occur, and supported by substantial evidence, including
  detailed technical reports.47 While EPA made substantial modification to the FIP in response to
  comments, which Petitioners appreciate reflects considerable work on the Agency’s part
  following the public comment period and has addressed many significant issues with the
  proposed FIP, the final FIP nonetheless includes significant obligations for Petitioners’ electric
  generating units (“EGUs”), starting in the current 2023 ozone trading season (which begins this
  year). Even Petitioners without EGUs are substantial consumers of electricity, meaning that they
  will likely bear much of the burden of the higher costs needlessly imposed on Minnesota power
  producers because of the FIP. Further, while the Proposed FIP is a separate rulemaking, EPA has
  itself identified the SIP Disapproval as both a necessary step in issuance of a final FIP48 and the
  stay of a SIP disapproval that is the basis for a FIP is an appropriate remedy for injuries arising
  from the FIP itself. See EME Homer City Generation, L.P. v. EPA, 696 F.3d 7, 44 n.6 (D.C. Cir. 2012)
  (Rogers, J., dissenting), rev’d on other grounds, 572 U.S. 489 (2014) (“If [states] wish to avoid
  enforcement of the Transport Rule FIPs because they contend EPA's SIP disapprovals were in
  error, the proper course is to seek a stay of EPA's disapprovals in their pending cases; if granted,
  a stay would eliminate the basis upon which EPA may impose FIPs on those States.”) (citing 42
  U.S.C. § 7410(c)(1)(B)).

                   3.      Staying the SIP Disapproval will not Significantly Injure Other Parties.

          As discussed in Section III.A above, the SIP Disapproval does not on its own impose any
  emission reductions on sources. As a result, a stay will not directly harm any other party. While
  a stay would also potentially delay the effective date of the FIP, this is unlikely to result in
  significant injury to other parties. EPA has recently extended a judicially-enforceable deadline to
  review Good Neighbor SIPs for three states to December 15, 2023 without any mention of public
  harm from the delay.49 Even as a stepping stone to a FIP, while a stay will alleviate imminent and
  irreparable costs, it will not significantly impact NOx emissions. As discussed above, the FIP is
  unlikely to be effective until after the start of the current ozone trading season, resulting in an
  attenuated impact on 2023 emissions. Further, even if projected emission reductions for the full
  2023 ozone trading season could be achieved, EPA projects total emission reductions from
  Minnesota of only 139 tons in 2023. This is unlikely to result in any significant impact on the Cook
  County maintenance monitor.

                   4.      The Public Interest Lies in Granting a Stay.

         As courts have held, there is a public interest enjoining inequitable conduct and in
  minimizing unnecessary costs to be met from public coffers. See, e.g. B & D Land & Livestock Co.
  v. Conner, 534 F. Supp. 2d 891, 910 (N.D. Iowa 2008). Here, the public interest supports a stay.

  47
     See Comments of U. S. Steel, EPA-HQ-OAR-2021-0668-0798 (June 27, 2022); Comments of Xcel Energy, EPA-HQ-
  OAR-2021-0668-0411 (June 23, 2022); Comments of Minnesota Power, EPA-HQ-OAR-2021-0668-0539 (June 23,
  2022); Comments of SMMPA, EPA-HQ-OAR-2021-0668-0351 (June 22, 2022); Comments of Cleveland-Cliffs Inc.,
  EPA-HQ-OAR-2021-0668-0405 (June 23, 2022)
  48
     88 Fed. Reg. 9336 at 9362.
  49
     See Joint Notice of Second Stipulated Extension of Consent Decree Deadlines, Doc. 33, Downwinders at Risk v.
  Regan, Case No. 4:21-cv-3551-DMR (N.D. Cal. Jan. 30, 2023).

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  As discussed in Section II.A above, EPA’s SIP Disapproval was promulgated through the
  inequitable exclusion of public participation into the data central to EPA’s final rulemaking. The
  result will be costly public expenditures, both by EPA to promulgate an unnecessary FIP and
  States to either prepare to implement EPA’s FIP or prepare revised SIPs, and well as unnecessary
  costs borne by Petitioners.

         While it was an error for EPA to disapprove Minnesota’s SIP based on information not in
  the record at the time of submission, EPA can ameliorate the harm of this error by staying the
  effect of its SIP disapproval until the merits of the issues above can be fully evaluated and
  addressed.

  IV.    Conclusion

           The State of Minnesota has expended substantial effort and resources to regulate the
  emission of NOx within its borders. Those efforts have successfully reduced State impacts on
  downwind receptors to a point that Minnesota is not a significant contributor to nonattainment
  or interference with maintenance of the 2015 ozone standard in any state. Based on the best
  available data and modeling science available at the time, Minnesota assessed its impact on
  downwind states, as it was required to do under the Clean Air Act, and appropriately concluded
  that it was not interfering with maintenance of attainment in any state. EPA has identified no
  error or omission in Minnesota’s analysis. Nonetheless, based on data that was not available at
  the time, and in fact was not available to the public until February 2023, EPA partially disapproved
  Minnesota’s Good Neighbor plan for the sole reason that, based on EPA’s own modeling, it found
  a single maintenance receptor in Cook County, Illinois that Minnesota state emissions were
  impacting at a maximum level of 0.85 ppb. Neither Minnesota, nor Petitioners, were given an
  opportunity to comment on EPA’s modeling, fully evaluate it, or even see it, until EPA published
  its final SIP Disapproval. While a complete analysis of EPA’s modeling would require months,
  based on Petitioners’ review of the data specific to them, and based on expert evaluations by
  Alpine Geophysics of the modeling and data EPA has provided, EPA’s results likely overstate the
  impact Minnesota is having on the Cook County monitor. Because Petitioners have provided new
  information that reveals flaws in EPA’s emissions inventory for Minnesota and bias in EPA’s
  modeling of the lone monitor that links Minnesota emissions to a downwind state, Petitioners
  have raised material new data undermining the central basis for EPA’s disapproval of prong 2 of
  Minnesota’s SIP. Petitioners therefore request that EPA grant reconsideration of its partial SIP
  disapproval for Minnesota and approve Minnesota’s 2018 SIP. Further, to avoid the significant
  and irreparable harm to Petitions arising from EPA’s erroneous disapproval of prong 2 of
  Minnesota’s SIP, EPA should stay the effectiveness of its SIP Disapproval as applied to prong 2 of
  Minnesota’s SIP pending reconsideration and pending judicial review.

  Dated: April 14, 2023                              Respectfully submitted,
                                                     /s/Douglas A. McWilliams
                                                     Douglas A. McWilliams
                                                     John D. Lazzaretti
                                                     Jon Bloomberg


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                           Attachment A
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           TECHNICAL REVIEW OF THE
          ENVIRONMENTAL PROTECTION
              AGENCY’S DENIAL OF
           MINNESOTA’S 2015 OZONE
                TRANSPORT SIP


                                       Prepared by:
                                  Alpine Geophysics, LLC
                                        April 2023


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  DOCUMENT OBJECTIVE

  The objective of this document is for Alpine Geophysics, LLC to provide technical review and
  professional opinion of Minnesota Pollution Control Agency’s (MPCA) SIP revision to address
  Clean Air Act (CAA) Section 110(a)(2)(D)(i)(I) and the Environmental Protection Agency’s (EPA)
  final action to disapprove the Minnesota State Implementation Plan (SIP) published on February
  13, 2023 in the Federal Register.

  This document is formatted into three sections that discuss our review and assessment of the
  following issues:

     A. Whether, given time to reassess, MPCA could demonstrate no linkage and/or no
        significant impact on attainment and maintenance in downwind states;
     B. Whether U.S. EPA’s revisions to its modeling approach since MPCA’s SIP submittal were
        ancillary; and
     C. Whether the Minnesota Pollution Control Agency’s state implementation plan revision
        was approvable based on the state of the science at the time it was submitted to U.S.
        EPA.

  At the end of this document, we also provide a summary of conclusions (Section D) and a
  regulatory and legislative timeline of actions taken on Minnesota’s 2015 ozone SIP for
  reference (Section E).




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  A. Given time to reassess, MPCA could demonstrate no linkage
  and/or no significant impact on attainment and maintenance in
  downwind states.

  EPA provided little time for MPCA to review the significant amount of technical information and
  associated calculations that were used to justify their disapproval of the Minnesota SIP,
  especially since EPA used a distinct and largely unrelated modeling platform, emissions
  inventory, and air quality model to justify its action instead of assessing the platform submitted
  by MPCA in support of its SIP. Notwithstanding the fact that four years and four months passed
  since the original Minnesota SIP was submitted to EPA, had appropriate time been given to
  MPCA to review and address EPA’s final disapproval, MPCA could have addressed significant
  flaws in EPA’s modeling that EPA itself should have addressed prior to finalizing any SIP
  disapproval.

  It is our opinion that the U.S. EPA should have approved the MPCA’s SIP when it was submitted
  in 2018. However, since EPA has put forward new modeling, we have reviewed this modeling
  and found several issues with the emissions that EPA used in the new modeling that weigh
  against using it as a basis for disapproving the Minnesota SIP.

     1. EPA inappropriately revised the emission inventory and conducted new air quality
        modeling for SIP disapprovals without allowing a meaningful opportunity for
        stakeholder review and comment.


  EPA’s revisions to the emission inventory used in the modeling it previously has conducted for
  historic transport rules raises an administrative concern about public review and comment.

  EPA notes in the proposed SIP disapprovals that, after the modeling it conducted in support of
  earlier transport rules, e.g., CAIR, CSAPR, CSAPR Update, CSAPR Closeout, and Revised CSAPR
  Update, the agency revised the emission inventory used in the modeling to assess the efficacy
  of prior transport rules. EPA conducted new modeling using this revised inventory and 2016v2
  modeling platform. The agency describes the process as follows:

         Following the Revised CSAPR Update final rule, the EPA made further updates to the
         2016 emissions platform to include mobile emissions from the EPA’s Motor Vehicle
         Emission Simulator MOVES3 model and updated emissions projections for electric
         generating units (EGUs) that reflect the emissions reductions from the Revised CSAPR
         Update, recent information on plant closures, and other sector trends. The construct of



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          the updated emissions platform, 2016v2, is described in the emissions modeling
          technical support document (TSD) for this proposed rule.1

  In December 2021, and in response to EPA requests for inventory review and updates2,3,4,
  MPCA and other stakeholders submitted detailed comments on the 2016v2 emission inventory
  platform to correct errors that existed in that platform. EPA’s declared efforts to revise this
  emission inventory platform at this time raised the question about whether EPA intended to
  update the modeling that has been used as the basis for the SIP disapprovals and the proposed
  FIP – but only in support of the final rule. EPA’s own summary5 of the comment process
  includes the statement that “by spring of 2021 it was necessary to make updates to the
  inventories to perform credible / defensible modeling in CY2021”. In this summary, numerous
  and significant emission, control, and projection factor changes were requested and only with
  release of the final SIP denials were the changes shared by EPA for review.

  As part of these comments, MPCA submitted comments on the 2016v2 emissions modeling
  platform (EMP) relative to three areas of improvement within Minnesota:

      1. Non-electricity generation stationary (non-EGU) point source emissions controls
      2. Future year emissions projections for various point and non-point inventory sectors
      3. Stationary point EGU growth rate differences between the ERTAC vs IPM models

  Non-EGU point source emissions controls
  LADCO worked with member states to identify the highest-emitting sources and applicable
  control technology information for non-EGU stationary point sources in the region. They
  generated a spreadsheet with the highest-emitting non-EGU sources in 2016 for each LADCO
  state, including Minnesota, which also included state updates on emissions control information
  for listed sources.

  A provided spreadsheet identified control information and future emission rate changes for
  several Minnesota sources within the 2016v2 EMP. The control information identified accounts
  for the installation of low NOx burners at the taconite facilities in Minnesota as part of the
  Regional Haze Taconite FIP. Based on MPCA estimates, just under 11,000 tpy in NOx reductions
  were expected due to the controls required by the Taconite FIP. MPCA noted the importance of


  1
    See: IN, IL, MN, OH, and WI proposal at 87 Fed. Reg. 9838 at 9840
  2
    http://views.cira.colostate.edu/wiki/wiki/11208#September-21-2021
  3
    https://cleanairact.org/wp-content/uploads/2021/10/Wayland_Monitoring-Modeling-and-
  Emission-Inventory-Updates_9-30-21-1.pdf
  4
    https://www.epa.gov/air-emissions-modeling/2016v2-platform
  5

  https://gaftp.epa.gov/Air/emismod/2016/v2/reports/comments/Summary_of_2016v2_comments_by_sector_013
  12022.pdf

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  having these significant reductions included in the EPA EMP for non-EGUs and requested that
  EPA do so.

  Below is a summary of approximate NOx emission changes for these sources.

        •   2,100 tpy at Minorca Mine
        •   2,300 tpy at Hibbing Taconite
        •   700 tpy at United Taconite
        •   3,600 tpy at US Steel Keetac
        •   2,100 tpy at US Steel Minntac

  Future year emissions projections for various point and non-point inventory sectors
  LADCO used US EPA-generated emissions projection reports and identified a list of SCCs that
  they believed had incorrect future year projection rates. The 2016v2 EMP projection rates were
  not found consistent either with real-world emissions trends or regional emissions projection
  information. It was requested that EPA replace the 2016v2 EMP projections for these sources
  with the updated rates provided by LADCO.

  A spreadsheet was provided that included the list of the SCCs with alternative projection
  information and LADCO comments on the sources of the alternative information.

  Stationary point EGU growth rate differences between the ERTAC vs IPM models
  LADCO recognized that EPA used the Integrated Planning Model (IPM) to estimate future year
  EGU emissions, and that the IPM projection methodology differed from the Eastern Research
  Technical Advisory Committee (ERTAC) EGU model that is endorsed by the MJOs and most of
  the states in the eastern half of the country. Minnesota noted support for the use of ERTAC
  EGU projections in the 2016v2 EMP and asked EPA to consider replacing IPM projections with
  ERTAC EGU projections for sources in the LADCO region in subsequent modeling platforms.

  While most states urged EPA to rely on modeling that accurately reflects current on-the-books
  regulatory requirements and up-to-date emission inventories, they also strenuously object to
  the possibility that EPA would conduct any such additional modeling to support a final rule.
  Furthermore, these states object to EPA not providing the opportunity for those data to be
  reviewed, analyzed, commented upon, and having those comments addressed by EPA in
  advance of any final decision on the subject SIP disapproval (or for that matter the related FIP).
  These concerns were also expressed in July 2021 by several MJOs (WESTAR, LADCO, SESARM,
  MARAMA, and CENSARA).6




  6
      https://www.regulations.gov/comment/EPA-HQ-OGC-2021-0692-0012

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  EPA’s Previously Unreleased 2016v3 Modeling Platform
  EPA’s newest emissions inventory and modeling platform are of central relevance to EPA’s final
  rule. The SIP Disapproval itself identifies EPA’s “updates to the 2016v2 inventories and model
  design to construct a 2016v3 emissions platform which was used to update the air quality
  modeling” and used “this updated modeling to inform its final action on these SIP
  submissions.7” These data and modeling in fact form the basis for EPA’s final disapproval of
  Minnesota’s SIP8 (finding Minnesota’s analysis “ultimately inadequate” in light of EPA’s “more
  recent air quality analysis”). This issue also arose only with the publication of the final SIP
  Disapproval. EPA’s publication of its revised emissions inventory and modeling did not occur
  until then, and states had no access to the data, the modeling, or even the results of EPA’s
  modeling until that time.

  In the limited time that states have had with the modeling data, significant errors have been
  identified. A robust public comment process for these data is necessary to correct all significant
  errors to ensure that EPA’s regulatory decisions are based on valid and accurate information.
  Within Minnesota alone, some of these errors include the following:

        •   EPA incorrectly included NOx emissions of 2,822 tons in 2023 for Northshore Mining Co.
            – Silver Bay in the future year air quality modeling and associated significant contribution
            calculations but not in the engineering analysis used to calculate state level EGU budgets.
            The subject boilers have been idled since October 2019 and are expected to have zero
            emissions in 2023;

        •   EPA predicts zero emissions at Minnesota Power’s Laskin Energy Center units that have
            been converted to natural gas and expect continued MISO dispatch to support the
            renewables transition and regional grid needs / constraints;

  These errors, and many like these presumed in other states in the modeling platform, may
  significantly impact the results of EPA’s analysis and could be the difference in nonattainment
  and maintenance determinations or whether Minnesota is having a downwind effect on the
  lone Illinois maintenance monitor that subjects Minnesota to the Good Neighbor provisions of
  the Clean Air Act.

  It is our opinion that the absence of inclusion of Minnesota’s and other stakeholder’s valid EMP
  revision submissions, as requested by EPA, and without a rerun of the air quality model in both
  the base and projection year simulations, EPA cannot appropriately identify monitors as
  nonattainment or maintenance, and in turn, cannot calculate upwind state significant
  contribution metrics from these same data. Non-EGU emission controls and their associated
  NOx emission reductions as documented and submitted by MPCA, could be enough to change

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      88 FR 9339
  8
      88 FR 9357

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  nonattainment designations and linked significance using an updated platform, and needs to be
  considered before making any final decision on denial of MPCA’s SIP.

     2. The Cook County, Illinois monitor to which Minnesota is linked, is located at the
        interface of land and water along Lake Michigan and is not properly characterized by
        EPA’s supporting modeling.


  EPA did not make a bias adjustment for the only receptor that EPA found “links” Minnesota to
  downwind interference with maintenance. Observed values at this location (the Alsip/Village
  Garage monitor) demonstrate significant model overprediction, justifying the need for
  adjustments to address bias. While EPA has recently investigated bias in southern Lake
  Michigan, this assessment selectively analyzed only one monitor, which was not representative
  of the bias observed at the Village Garage monitor. The failue to adequately address bias in
  EPA’s modeling resulted in an overprediction of ozone. Adjusting for this bias supports the
  conclusion that the Alsip monitor models in attainment of the 2015 ozone NAAQS and
  therefore Minnesota is not interfering with maintenance at this monitor. EPA’s ozone
  attainment modeling guidance states that:

         "[t]he most important factor to consider when establishing grid cell size is model
         response to emissions controls. Analysis of ambient data, sensitivity modeling, and past
         modeling results can be used to evaluate the expected response to emissions controls at
         various horizontal resolutions for both ozone and PM2.5 and regional haze. If model
         response is expected to be different (and presumably more accurate) at higher
         resolution, then higher resolution modeling should be considered. If model response is
         expected to be similar at both high and low(er) resolution, then high resolution modeling
         may not be necessary. The use of grid resolution finer than 12 km would generally be
         more appropriate for areas with a combination of complex meteorology, strong
         gradients in emissions sources, and/or land-water interfaces in or near the
         nonattainment area(s)"

  EPA’s modeling in support of the SIP disapprovals simulated a national domain using a 12km
  grid resolution domain wide. While this makes running a national, regional simulation easier
  from a technical perspective, it neglects the important issue of the complex meteorology
  and/or land-water interfaces in or near the nonattainment or maintenance monitors of
  interest. Indeed, EPA's choice of a 12km grid is an arbitrary choice in contravention of its own
  guidance when modeling Illinois monitors in Cook County because these monitors are at land-
  water interfaces.

  Photochemical modeling along coastlines is complex for two reasons. First, the temperature
  gradients along land/water interfaces can lead to localized on-shore/off-shore flows; and
                                                                                                     6
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  secondly, the photochemical model formulation spreads the emissions in a grid cell throughout
  the full grid volume of the cell.

  Figure 1 presents a unique area along Lake Michigan that is challenged by these complex
  meteorologic issues at land-water interfaces. For the Cook County, Illinois monitor with which
  Minnesota is linked in this final rule, EPA’s published model performance evaluation (MPE)
  metrics for ozone have been reviewed by Alpine on a day-specific basis.




  Figure 1. Lake Michigan shoreline monitors located on land/water interface in Illinois.

  Studies indicate that air quality forecast models typically predict large summertime ozone
  abundances over water relative to land and that meteorology around Lake Michigan is distinctly
  unique; both shortcomings warrant individualized attention and a finer grid resolution to best
  explore actual conditions.9,10,11

  The 3x3 neighborhood of grid cells used in determining the design values of the relative
  response factor (RRF) at land-water interface monitors extends into the noted water bodies.
  Under current guidance, the top ten modeled days within this 3x3 matrix are used in
  determining this RRF for each monitor with any cell identified as 50 percent or more water,
  except for cells including monitors, which are omitted from the calculations.

  Table 1 below provides a list of top 10 days at monitor 170310001 (Alsip/Village Garage), the
  Cook County monitor in Illinois to which Minnesota is linked, and comparisons of daily modeled


  9
    https://www.ladco.org/wp-
  content/uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf
  10
     Abdi-Oskouei, M. , and Coauthors , 2020: Sensitivity of meteorological skill to selection of WRF-Chem physical
  parameterizations and impact on ozone prediction during the Lake Michigan Ozone Study (LMOS). J. Geophys. Res.
  Atmos., 125, e2019JD031971, https://doi.org/10.1029/2019JD031971.
  11
     McNider, R. T. , and Coauthors, 2018: Examination of the physical atmosphere in the Great Lakes Region and its
  potential impact on air quality—Overwater stability and satellite assimilation. J. Appl. Meteor. Climatol., 57, 2789–
  2816, https://doi.org/10.1175/JAMC-D-17-0355.1.

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  maximum daily average 8-hour ozone concentrations (highlighted in green) and observations
  on the same date in 2016 (highlighted in blue). These are the dates selected in EPA’s modeling
  to represent the highest modeled days used in estimating future year design values.

  As can be seen in Table 1 below, several days selected for RRF calculation have modeled ozone
  concentrations that fall outside of normally acceptable normalized bias (NBias) boundaries
  (±15%), here as the result of over (positive bias) predictions compared to observed
  concentrations on those days. In fact, at the monitor example below, seven of the ten selected
  days fall outside of the ±15% bias metric (highlighted in orange in the Table) with a maximum
  normalized bias of 93.60% (observation was 45.25 ppb and modeled concentration was 87.60
  ppb; a difference of over 42 ppb).

  When these dates are used, EPA’s calculation of future year DV is 68.2 ppb (average) and 71.9
  ppb (maximum) using the average RRF of 0.9349, identifying this as a maintenance monitor.

           Monitor 170310001 – Alsip/Village Garage (Cook Co, Illinois)

         Top 10 RRF - Base Dates (Modeled) –No Water - 3x3
                                     Ozone (ppb)
   Order Date               Obs       Base DV     Future DV               RRF        NBias (%)
     1   20160719          73.25        91.07        83.28               0.9144       24.33
     2   20160723          45.25        87.60        81.46               0.9298       93.60
     3   20160726          64.33        84.02        80.98               0.9637       30.61
     4   20160810          85.88        81.35        77.20               0.9490       -5.27
     5   20160803          74.38        81.04        75.31               0.9293        8.96
     6   20160725          61.88        80.86        76.84               0.9503       30.67
     7   20160722          54.50        79.83        76.28               0.9556       46.48
     8   20160718          60.75        79.69        76.94               0.9655       31.18
     9   20160804          63.75        76.21        66.23               0.8691       19.54
    10   20160603          73.63        75.74        69.82               0.9219        2.87
    Avg                                                                  0.935


                                                      Average Maximum
                          Modeled 2016 DV (ppb)         73.0        77.0
                          Average RRF                  0.935       0.935
                          Future 2023 DV (ppb)          68.2        71.9
  Table 1. List of top 10 days at the Alsip/Village Garage monitor (170310001) in Illinois used in
  RRF and resulting calculated design values (ppb).

  If instead a list of the top 10 days with Nbias values within normal acceptable normalized
  boundaries (±15%) are used, an alternate RRF value is generated, and future year average and


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  maximum design values used in the nonattainment / maintenance designation process are
  recalculated.

  Table 2 presents a list of top 10 days where the Nbias value is less than the acceptable ±15%
  normalized bias boundaries. As is seen in this table, all Nbias values fall within the parameters
  of the acceptable range and dates from the original top 10 list that were already within the
  boundaries have been maintained and are now the top 3 modeled days in the new list.

           Monitor 170310001 – Alsip/Village Garage (Cook Co, Illinois)

         Top 10 RRF - Base Dates (Modeled) –Bias Adjusted - No Water - 3x3
                                     Ozone (ppb)
   Order Date               Obs       Base DV       Future DV       RRF                 NBias (%)
     1   20160810          85.88        81.35         77.20       0.9490                 -5.27
     2   20160803          74.38        81.04         75.31       0.9293                  8.96
     3   20160603          73.63        75.74         69.82       0.9219                  2.87
     4   20160618          67.38        74.79         68.50       0.9158                 11.00
     5   20160619          76.25        72.60         62.88       0.8662                 -4.79
     6   20160727          68.75        73.92         68.92       0.9324                  7.51
     7   20160625          68.13        72.99         66.03       0.9046                  7.14
     8   20160624          74.88        70.49         66.47       0.9430                 -5.86
     9   20160802          62.50        71.65         66.87       0.9333                 14.64
    10   20160524          73.50        69.50         64.27       0.9248                 -5.44


                                                      Average Maximum
                         Modeled 2016 DV (ppb)          73.0         77.0
                         Average RRF                   0.922        0.922
                         Future 2023 DV (ppb)           67.3         70.9
  Table 2. Alternate bias adjusted list of top 10 days at the Alsip/Village Garage monitor
  (170310001) in Illinois used in RRF and resulting calculated design values (ppb).

  As a result of this bias adjusted calculation, the Alsip / Village Garage monitor located in Cook
  County, Illinois (170310001) has an average RRF of 0.922, resulting in an average 2023 DV of
  67.3 ppb and a maximum DV of 70.9 ppb, identifying this monitor as attainment of the 2015
  ozone NAAQS.

  Under Step 1 of the ozone transport framework established by EPA, this monitor would not be
  considered as part of the list of receptors in the significant contribution calculation and
  therefore any linkages from upwind state contributions would be irrelevant.



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  Since this is the only monitor in which Minnesota is linked as a significant contributor under
  EPA’s modeling, this linkage would be broken, and Minnesota should be removed from the list
  of contributing states to downwind receptors.

  In the Response to Comments document from the rule, EPA attempted to address the bias issue
  by preparing an analysis at select monitors in the modeling domain. Specifically, EPA notes 12
  that,

            “Even though the EPA disagrees with commenter’s assertion to “throw out” specific days
            at individual monitors for which model performance does not meet the criteria, out of an
            abundance of caution, the EPA performed a sensitivity analysis for selected receptors in
            which the projected 2023 DVs and contributions were recalculated after removing
            individual days that fell outside the Emery et al., criteria for normalized mean bias
            and/or normalized mean error. The EPA chose receptors in Coastal Connecticut, the Lake
            Michigan area, Dallas, and Denver for this analysis. The specific receptors included in this
            sensitivity analysis are Stratford, Connecticut, Chicago/Evanston, Illinois, Dallas/Denton,
            Texas, and Denver/Rocky Flats, Colorado.” (emphasis added)

  While we agree with EPA’s technical approach and calculations in their Chicago/Evanston
  example provided, EPA’s selection of the Evanston monitor is questionable as it is the only
  monitor out of ten in Cook County, Illinois (three which are identified as maintenance) where
  performance-based recalculation results in higher design values. This is also not the unique,
  individual monitor to which Minnesota is exclusively linked. Table 3 presents the ten Cook
  County, Illinois monitors in EPA’s modeling results13.

  As presented in Table 2, using bias-adjusted design values for the individual receptor with
  which Minnesota is linked (170310001), this monitor is calculated to be in attainment of the
  2015 ozone NAAQS in 2023. This decrease is also seen in the remaining Cook County monitors
  that EPA did not consider in its response to comments on the issue.




  12
    See pg. 196, https://www.epa.gov/system/files/documents/2023-
  03/Response%20To%20Comments%20Document%20Final%20Rule.pdf

  13
       https://www.epa.gov/system/files/documents/2023-03/Final%20GNP%20O3%20DVs_Contributions.xlsx

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                                                  Upwind State Contribution (ppb)

                2023       2023
                Avg        Max
  Site ID        DV         DV     IN       IA      MI      MN       MO      OH        TX      WI
  170310001     68.2       71.9   7.11     0.90    1.16     0.85     0.37    0.68     1.09    2.34
  170310032     67.3       69.8   8.22     0.79    1.15     0.60     0.62    1.39     1.40    2.21
  170310076     67.6       70.4   6.46     0.80    1.07     0.73     0.49    0.62     1.33    2.49
  170311003     64.1       64.7   5.70     0.72    1.03     0.37     0.84    1.22     1.67    2.13
  170311601     63.8       64.5   5.85     0.61    2.03     0.59     0.44    1.49     0.78    1.63
  170313103     58.4       59.6   4.95     0.38    1.44     0.44     0.46    1.08     0.49    2.32
  170314002     64.2       67.3   6.71     0.59    1.48     0.62     0.34    1.09     0.95    3.00
  170314007     66.8       68.7   5.33     0.41    1.53     0.49     0.53    1.19     1.03    2.81
  170314201     68.0       71.5   5.42     0.42    1.56     0.50     0.54    1.21     1.05    2.86
  170317002     68.5       71.3   6.55     0.69    1.00     0.38     1.39    1.04     1.95    2.24
  Table 3. Future year design values (ppb) and significant contribution calculations of upwind
  states to monitors in Cook County, Illinois.

  Table 4 demonstrates that the Evanston monitor (170317002) in which EPA used to illustrate a
  noted increase in design value calculations using a bias adjustment calculation was the only
  monitor out of the ten where the average and maximum design values increased. Had EPA
  selected any other monitor from Cook County to demonstrate the bias adjustment, their
  conclusion may have been different than presented in the Response to Comment document.

                                             EPA Final Rule        Recalculated w/ Bias Adj
                                         2023 Avg     2023 Max     2023 Avg      2023 Max      Bias Adj
  Site ID          State      County        DV            DV           DV           DV        DV Change
  170310001   Illinois      Cook           68.2          71.9         67.3         70.9        Decrease
  170310032   Illinois      Cook           67.3          69.8         66.8         69.3        Decrease
  170310076   Illinois      Cook           67.6          70.4         65.9         68.7        Decrease
  170311003   Illinois      Cook           64.1          64.7         63.3         64.0        Decrease
  170311601   Illinois      Cook           63.8          64.5         63.3         63.9        Decrease
  170313103   Illinois      Cook           58.4          59.6         58.4         59.6       No Change
  170314002   Illinois      Cook           64.2          67.3         63.2         66.3        Decrease
  170314007   Illinois      Cook           66.8          68.7         66.7         68.5        Decrease
  170314201   Illinois      Cook           68.0          71.5         67.3         70.7        Decrease
  170317002   Illinois      Cook           68.5          71.3         69.0         71.8        Increase
  Table 4. EPA final rule and bias-adjusted future year design values (ppb) of monitors in Cook
  County, Illinois.




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  Additionally, the LMOS 2017 study14 shows that for Lake Michigan coastal monitors the air
  quality model even at a 4 km resolution does not simulate the proper timing and structure of
  the land/lake breeze or the inland penetration of elevated ozone concentrations. A review of
  this LMOS study15 states “To reproduce the timing and magnitude of the ozone time series at
  coastal monitors, ozone production over the lake must be correctly simulated; furthermore,
  details of the lake breeze must be accurate—–timing, horizontal extent, and vertical structure.”
  Based on recommendations from the LMOS 2017 study research team, a horizontal resolution
  of at most 1.3 km is required to reasonably resolve the complex meteorology of the air/water
  interface for the great lakes and coastal ocean areas. The LMOS 2017 Study researchers believe
  that a 1.3 km grid spacing will assist in the resolution of the large ozone concentration gradients
  that often occur along the shoreline as well as the inland penetration of the lake breeze
  circulation.

  As the Alsip / Village Garage example shows, days where modeled ozone was predicted at
  concentrations differing up to ± 42 ppb are being used to estimate future year ozone
  concentrations and to make determinations of nonattainment, maintenance, and significant
  contribution from upwind sources.

  Furthermore, to adequately capture the inland penetration of the lake breeze, the LMOS report
  also cites the need for accurate Lake Michigan water temperatures and correct model physics
  options. EPA's use of the Pleim-Xiu Land Service Model (LSM) does not adequately capture the
  lake breeze inland penetration. A review of wind vector observations (from the Meteorological
  Assimilation Data Ingest System (MADIS) network) compared to modeled wind vectors on RRF
  and significantly contributing days at nonattainment monitors highlights the differences in wind
  direction and speed during many hours of these predicted high ozone episodes.

  On many days with relatively simple meteorology, EPA-developed wind fields using the
  Weather Research and Forecasting (WRF) Model agree with the MADIS observed winds.
  However, the modeled winds have strong disagreement with the observed meteorology on
  June 15, July 7, July 27 and August 4, 2016, the four days when the CAMx model predicted the
  highest ozone concentrations and are thus used in estimating RRFs and future year ozone
  design values. The following presents an example on August 4, 2016, a day within the top ten
  highest model estimated MDA8 ozone concentrations at the Alsip / Village Garage monitor.




  14
    https://www.ladco.org/wp-
  content/uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf

  15
    Stanier, C. O., & et al. (2021, November). Overview of the Lake Michigan Ozone Study 2017.
  BAMS, 19.

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  In Figure 2 below, the black wind vectors are the wind fields used in the CAMx model. For
  clarity only every third grid cell is presented. The red vectors are the hourly observed wind
  vectors from the MADIS archive. The hourly results from 1300 CDT through 1600 CDT are
  presented in these Figures. The observations clearly show a broad persistent land to lake flow
  along the western shoreline while the model shows a persistent lake to land flow in this same
  region during this same period. For this timeframe, when the model is estimating the highest
  ozone for the ozone season at this receptor, the model has the winds flowing from the lake to
  the shore while the observations are winds flowing from the shore to the lake.

  Figure 2 demonstrates that observed winds (red arrows) are seen moving from land to lake
  along the western shoreline of Lake Michigan, typically associated with clearing events and
  lower ozone levels in areas in and around Chicago. In contrast, the model (black arrows) shows
  a lake to land flow, typically associated with higher model predicted ozone concentrations due
  to the higher reactive photochemistry over water bodies.




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  Figure 2. Model estimated (black) and observed (red) winds in the Lake Michigan area at 1300
  CDT (top left), 1400 CDT (top right), 1500 CDT (bottom left), and 1600 CDT (bottom right) on
  August 4, 2016.
                                                                                           14
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  These large differences in observed and modeled wind directions are altering the concentration
  calculations as well as the source/receptor relationships (e.g., determining which sources are
  “upwind”) of the Illinois monitors. As a result, the model cannot accurately reproduce the
  chemical processes involved with ozone formation. The erroneous modeled meteorological
  conditions fundamentally change the ozone formation chemistry and modeled source
  contributions as the chemical transport model predicts more emissions coming from the
  Chicago urban area than likely the case consistent with the observed wind fields.

  When the model is having difficulty resolving fundamental flow patterns in this region with this
  grid size resolution, EPA needs to reconsider the merit of using the model with this
  configuration to determine nonattainment status in Step 1 as well as linked significant
  contributors at receptors in this region under Step 2. For these reasons, EPA must consider finer
  grid resolution modeling over the Lake Michigan domain to adequately capture ozone
  formation and significant contribution at receptors located on complex land-water interfaces
  because model evaluation shows that the model fails to adequately characterize ozone
  production at these monitors.

  Absent a wholesale revision of EPA’s modeling protocol, it is our opinion that EPA's use of
  modeling with poor performance at critical monitors amounts to an unreliable result when
  used to establish nonattainment or maintenance monitors under Step 1 or linkages under Step
  2 of the 4-step framework. Should more refined modeling be undertaken to review the ozone
  formation potential at monitors located in these land-water interfaces, results may show that
  these monitors demonstrate modeled attainment and/or remove significant contribution
  linkages from upwind states.

        3. EPA is obligated to address VOC emissions as a critical factor that is influencing ozone
           nonattainment/maintenance monitors in Illinois


  EPA’s modeling fails to account for VOC-limited conditions in the Lake Michigan region. Recent
  information supports the conclusion that VOC-limited conditions in the regional are much more
  significant that EPA has assumed. This results in EPA’s analysis overemphasizing upwind NOx
  contributions from Minnesota on ozone values at the Alsip/Village Garage monitor and an
  underemphasis on local VOC contributions, which can be more effectively used to control
  ozone.

  In addition to grid size resolution and complex meteorology issues, modeling performed by
  EPA16 and the LMOS 2017 study both showed a negative bias in predicted ozone concentrations
  in the Lake Michigan region. LMOS 2017 study researchers have experimented with increasing

  16
       EPA-HQ-OAR-2021-0668-0099

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  anthropogenic VOC emissions and decreasing anthropogenic NOx emissions. These emission
  changes improved air quality model performance reducing the negative bias. VOC speciation
  and spatio-temporal release patterns should also be reviewed. This evaluation by the LMOS
  2017 research scientists indicates there are significant errors in the quantity and speciation of
  the VOC/NOx emissions used in the EPA’s air quality modeling platform to characterize state
  contribution to ozone in Step 2 of EPA's analyses linking these states to critical nonattainment
  monitors.

  Several downwind nonattainment monitors in urban areas around Lake Michigan recently have
  been shown to be largely unresponsive to ozone reduction strategies consisting of regional
  interstate NOx control and that high ozone days in the region were predominantly VOC-limited
  in nature. This was demonstrated in multiple ozone episodes extensively evaluated in the Lake
  Michigan Air Directors Consortium (LADCO) Lake Michigan Ozone Study (LMOS) 2017 study17
  where ozone precursor measurements indicated relative increases in VOC concentrations with
  increases in ozone and where biogenic VOC increases outpaced those of anthropogenic VOC.

  In contrast to the peer reviewed research resulting from the 2017 LMOS data collection effort,
  EPA recently documented its support for additional NOx controls in stating that its “review of
  the portion of the ozone contribution attributable to anthropogenic NOX emissions versus VOC
  emissions from each linked upwind state leads the Agency to conclude that the vast majority of
  the downwind air quality areas addressed by the proposed rule under are primarily NOX-
  limited, rather than VOC-limited.”18 However, the current situation is that the modeling as
  conducted does not accurately characterize ozone levels on high ozone days, underpredicting
  by 10 + ppb, which is a huge error. Other studies indicate that, to better match actual
  conditions, the model needs less NOx and higher windspeeds at lower levels. The model is
  therefore demonstrating that less NOx means more ozone and higher ozone concentrations.
  That further means that, proportionally, the attribution of ozone to out of state NOx predicts a
  higher impact than is occurring.

  The modeled VOC and NOx emission tracers in EPA’s Anthropogenic Precursor Culpability
  Assessment (APCA) modeling can give a general indication of the VOC/NOx sensitivity, but EPA
  assigning definitive numerical values to that sensitivity provides inaccurate projections,
  especially using APCA that is known to have a bias toward attributing ozone to NOx emitting
  anthropogenic sources under VOC sensitive conditions. As documented in the CAMx v 7.10
  User’s Guide19, “when ozone formation is due to biogenic VOC and anthropogenic NOx under


  17
     https://www.ladco.org/wpcontent/
  uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf
  18
     87 Fed. Reg. 20,076
  19
     https://camx-wp.azurewebsites.net/Files/CAMxUsersGuide_v7.10.pdf, page 177.

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  VOC-limited conditions (a situation where OSAT would attribute ozone production to biogenic
  VOC), APCA attributes ozone production to the anthropogenic NOx present. Using APCA instead
  of OSAT results in more ozone formation attributed to anthropogenic NOx sources and less
  ozone formation attributed to biogenic VOC sources.” Here, it is believed that as applied in this
  case (with biogenic emissions as an uncontrollable source group), EPA has overestimated the
  efficacy of NOx controls on these receptors as modeled results have a bias toward attributing
  more ozone formed to NOx emissions than VOC emissions.

  Furthermore, an independent review of EPA’s own NOx and VOC contributions challenges the
  Agency’s statement that “[o]ur analysis of the ozone contribution from upwind states subject to
  regulation under this proposed rule demonstrates that the vast majority of the downwind air
  quality areas are NOX-limited, rather than VOC-limited.”20 This statement is based on all
  anthropogenic NOx and VOC emissions from all upwind states and is defined as having NOx
  emissions contribute to 80% or more of the ozone concentrations modeled at each receptor 21.

  EPA further goes on to state that “[t]his review of the portion of the ozone contribution
  attributable to anthropogenic NOX emissions versus VOC emissions from each linked upwind
  state leads the Agency to conclude that the vast majority of the downwind air quality areas
  addressed by the proposed rule under are primarily NOX-limited, rather than VOC-limited.”22

  Alpine’s review of EPA’s modeled NOx and VOC contributions, by upwind state, focusing on the
  future year modeled days used in each receptor’s Step 2 linkage calculation provides a slightly
  different picture for monitors around Lake Michigan. As demonstrated in Table 5, of the top
  future year modeled days impacting significant contribution calculations at the Cook County,
  Illinois monitor with which Minnesota is linked, more than half of the days are shown to have
  NOx emission contributions from Illinois below the 80% threshold noted by EPA in determining
  NOx-limited regions. This is an indicator that on those days, and from anthropogenic sources
  from those states, VOC controls may demonstrate meaningful impact on ozone concentration
  reductions at this receptor.

  Researchers at the University of Maryland (UMD) have also found in a study of chemical
  transport model results that by 2023, model predictions of ozone formed under VOC-limited
  conditions are substantial near the Long Island Sound and the Great Lakes. In a recent
  presentation23, they document a source apportionment simulation, conducted with
  CAMx/APCA on future-year 2023 to determine the major contributing sources and states to air



  20
     87 Fed. Reg. 20053
  21
     87 Fed. Reg. 20076
  22
     Id.
  23
     https://www.cmascenter.org/conference/2021/slides/allen-northeast-ambient-ozone-2021.pdf

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  quality within non-attainment areas. Their findings indicate that ozone production under VOC-
  limited conditions is important at coastal locations near Long Island Sound and the Great Lakes.

                         2023 O3                   O3N / O3N+O3V Contribution
   Top Day      Date       (ppb)       All      IL      IN       MI     OH       TX      WI
      1       07/25/16 70.922 82.4% 81.2% 83.4% 100.0%                    -    72.7% 84.1%
      2       07/18/16 70.682 69.4% 64.3% 75.6%                   -       -    85.9% 67.1%
      3       07/19/16 70.668 79.9% 76.7% 83.7% 90.5%                     -    80.5% 89.2%
      4       08/10/16 67.487 79.4% 70.0% 82.4% 90.4% 86.4% 90.3% 90.6%
      5       07/26/16 66.803 80.8% 72.7% 84.0% 90.7%                     -       -     90.8%
      6       07/23/16 63.295 84.9% 81.2% 84.0% 66.7%                     -    89.7% 85.2%
      7       08/03/16 61.342 88.8% 84.0% 90.9% 90.4% 92.3% 94.2% 93.8%
      8       06/18/16 59.494 86.7% 72.8% 89.4% 90.1% 91.0% 90.9% 89.5%
      9       06/03/16 58.730 71.5% 63.2% 73.6% 58.8%                     -    74.5% 78.0%
      10      08/04/16 58.241 95.0% 92.5% 96.0% 94.7% 97.1% 96.4% 94.9%
  Table 5. Modeled ozone contributions to Cook, Illinois monitor (170310001) by percent of
  emissions from anthropogenic NOx (O3N) compared to emissions from anthropogenic NOx
  and VOC (O3). Yellow cells indicate contributions of anthropogenic VOC emissions greater
  than EPA identified “NOx-limited” areas.

  Figure 3 presents UMD’s findings for model predictions of ozone formation under NOx limited
  conditions excluding the influence of boundary and initial conditions from the modeling input.
  As can be seen in these figures, regions around Lake Michigan demonstrate a significantly
  higher percentage of ozone formed by VOC (blue in color) compared to NOx than most of the
  eastern US. This observation is seen both on modeled days greater than 60 ppb and on the top
  ten days of the ozone season (days used in RRF and significant contribution calculations).




  Figure 3. Percent of ozone formed under NOx-limited conditions excluding boundary and
  initial conditions on all days of MDA8 ozone > 60 ppb (left) and on top ten modeled days
  (right).

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  It is also noted that these estimates are a very conservatively high estimate of NOx limited
  conditions for these coastal areas. In addition to the previous comments highlighting that APCA
  is known to have a bias toward attributing ozone to NOx emitting anthropogenic sources under
  VOC sensitive conditions, the UMD analysis footnotes that the APCA run used to generate the
  results presented in Figure 3 suggests that model configuration led to an underestimation of
  the contribution of anthropogenic sources to ozone formation, especially during periods of VOC
  limited chemistry, and as is seen in Figure 3, in the Cook County, Illinois area.

  As a result of these findings, EPA is obligated to address the concern that VOC emissions are a
  factor that is influencing ozone nonattainment and maintenance monitors in Illinois and
  elsewhere and that EPA determination of ozone nonattainment or maintenance in these areas
  may be inappropriate for significant contribution and upwind state linkage calculation. It is also
  our opinion that after review of VOC contribution and limited ozone reduction potential in
  Chicago and other noted areas, EPA may find that emission reduction plans may fail to justify
  regional NOx rules for monitors within these transitional and VOC-limited domains.




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  B. U.S. EPA's revisions to its modeling approach since MPCA’s SIP
  submittal were ancillary.

  EPA failed to give appropriate recognition of the merit of the MPCA SIP submitted on October
  1, 2018, meeting the statutory deadline for submittal of interstate transport SIPs for the 2015
  ozone NAAQS. The submission utilized both EPA modeling released with the March 2018
  memorandum and LADCO modeling results previously mentioned. Minnesota followed the 4-
  step interstate transport framework and used an analytic year of 2023 to describe Minnesota's
  lack of contributions to out of state receptors and assess emission reduction considerations.

  Under the CAA, on April 1, 2019, MPCA’s SIP was deemed to be complete since EPA did not act
  within the 6 months from the date the SIP was submitted. April 1, 2020, 12 months after the
  completeness date, was the deadline for EPA to have acted on the MPCA SIP submission. Upon
  this deadline a full, partial or conditional approval was required by CAA Section 110(k)(2), (3), or
  (4).24 In this regard, EPA failed to complete its non-discretionary duty to have reviewed and
  acted upon the MN SIP by April 1, 2020.

  It wasn’t until February 22, 2022, three years and four months after submittal, that EPA finally
  assessed the Minnesota SIP submittal and proposed disapproval of the SIP25 as follows: “Based
  on EPA's evaluation of Minnesota's SIP submission and after consideration of updated EPA
  modeling using the 2016-based emissions modeling platform, EPA is proposing to find that the
  portion of Minnesota's October 1, 2018 SIP submission addressing CAA section 110(a)(2)(D)(i)(I)
  does not meet the state's interstate transport obligations for 2015 ozone NAAQS, because it
  fails to contain the necessary provisions to eliminate emissions that will contribute significantly
  to nonattainment or interfere with maintenance of the NAAQS in any other state.”

  The EPA reiterated this assessment and issued a partial approval on February 13, 2023, in their
  final rule stating that “Although the EPA acknowledges that Minnesota’s Step 3 analysis was
  insufficient in part because the State assumed it was not linked at Step 2, this is ultimately
  inadequate to support a conclusion that the State’s sources do not interfere with maintenance
  of the 2015 ozone NAAQS in other states in light of more recent air quality analysis.”26


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     Deadline for Action. – Pursuant to the CAA Section 110(k)(1)(B) “Within 12 months of a determination by the
  Administrator (or a determination deemed by operation of law) under paragraph (1) that a State has submitted a
  plan or plan revision (or, in the Administrator’s discretion, part thereof) that meets the minimum criteria
  established pursuant to paragraph (1), if applicable (or, if those criteria are not applicable, within 12 months of
  submission of the plan or revision), the Administrator shall act on the submission in accordance with paragraph
  (3).”
  25
     87 Fed. Reg. 9838
  26
     88 Fed. Reg. 9357

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         1. EPA’s Failure to Act


  MPCA has been disadvantaged by EPA’s delay in acting to approve or disapprove its 2015 Good
  Neighbor SIP, which was submitted to EPA on October 1, 2018. EPA published its proposed
  disapproval on February 22, 2022, and relied in part on newer, updated modeling performed by
  the EPA which was not available when MPCA submitted its revised SIP. On February 13, 2023,
  EPA published its final disapproval and again relied on even newer, updated modeling only
  released with the rule.

  By delaying its final decision on Minnesota’s submittal for nearly four and a half years, EPA
  moved the goal post for Minnesota—an act the DC Circuit rebuked in New York v. EPA, 964 F.3d
  1214, 1223 (D.C. Cir. 2020). If EPA were to review and approve or disapprove SIPs within the
  timeframes required by the CAA, EPA would have conducted its review based on the same
  modeling and data that was available at the time the SIP was submitted and that has been
  documented in the sections above. EPA offers no indication that additional material
  information was available to EPA on April 1, 2020, when agency action on the Minnesota SIP
  was required that could justify disapproval of the Minnesota SIP.

  Further, the updated modeling that EPA now offers to support a SIP review has not been
  adequately available to be reviewed, analyzed, and commented on in advance of any final
  decision on the subject SIP disapproval.

         2. EPA has not developed any official guidance for states to follow in submitting a Good
            Neighbor SIP


  The Good Neighbor SIP has been a required SIP element since the implementation of the 1997
  8- hour ozone standard. In the intervening years, EPA has issued no official guidance for states
  to use in developing an approvable Good Neighbor SIP. It is unclear what standard or criteria
  EPA uses to determine approvability.

  In its only direction on the subject, EPA released three 2018 memos that included modeling and
  discussion on potential flexibilities in approaches that could be used by states in developing
  their Good Neighbor SIPs. However, EPA has now disapproved MPCA’s SIP which was based on
  EPA’s own modeling results from the memo because it “does not meet the state’s interstate
  transport obligations for 2015 ozone NAAQS, because it fails to contain the necessary
  provisions to eliminate emissions that will contribute significantly to nonattainment or interfere
  with maintenance of the NAAQS in any other state.”27


  27
       87 FR 9869

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  From the memos, the only concrete guidance states have been provided is the four-step
  framework. Applied appropriately in the MPCA SIP, this framework demonstrated that
  Minnesota was not significantly linked to any downwind nonattainment or maintenance
  monitor. Since MPCA used EPA’s own modeling and four-step approach to prepare its SIP, the
  SIP was approvable at the time submitted and was approvable when EPA was required to act on
  the SIP on April 1, 2020.

         3. EPA’s ever-changing list of nonattainment and maintenance monitors moves the target
            for Minnesota without offering any basis to reject MPCA’s original analysis.


  As detailed earlier, MPCA’s air quality projections based on the ozone modeling conducted by
  LADCO in October 2018 was corroborated by EPA’s own contribution modeling released with
  the March 2018 flexibilities memorandum and that showed that Minnesota was not linked to
  any monitor designated as nonattainment or maintenance for the 2015 ozone NAAQS in 2023.
  In those two modeling studies, the Cook County, Illinois monitor now linked to Minnesota was
  calculated to be in attainment for the 2015 ozone NAAQS.

  Table 6 provides the average and maximum projected design values from the LADCO modeling
  that supported the original MPCA iSIP and March 2018 EPA memo modeling for this monitor
  demonstrating modeled attainment at this location.

                                               LADCO Modeling          EPA March 2018 Memo
                                             2023         2023      2023 Average       2023
       AQS Site ID  State        County   Average DV  Maximum DV         DV        Maximum DV
        170310001 Illinois       Cook        62.8         64.6          63.2           64.9
  Table 6. LADCO and EPA 2023 ozone design values (ppb) for Minnesota linked Cook County,
  Illinois monitor from original MPCA SIP and March 2018 EPA memo modeling results.

  EPA’s proposed disapproval mentions new modeling conducted by EPA in the interim where
  this Illinois monitor is ultimately identified as a maintenance monitor. Table 7 below provides
  the average and maximum projected design values from these studies and from the final SIP
  disapproval for this monitor.

  In the proposed SIP disapproval, EPA cites the “results of a prior round of 2023 modeling using
  the 2016v1 emissions platform which became available to the public in the fall of 2020 in the
  Revised CSAPR Update.” 28 In this Revised CSAPR Update modeling, developed for use with the
  2008 ozone NAAQS analyses, monitor 170310001 is identified as a maintenance monitor in




  28
       Footnote 94, 87 FR 9869

                                                                                                    22
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  EPA’s results. In EPA’s results published in the proposed SIP disapproval29 and in the final SIP
  disapproval30, EPA continued to identify this monitor as a maintenance monitor.

                       EPA Revised CSAPR             EPA Proposed SIP
                                                                              EPA Final SIP Disapproval
                            Update                     Disapproval
                     2023 Ave     2023 Max        2023 Ave     2023 Max        2023 Ave        2023 Max
       AQS Site ID      DV            DV             DV           DV              DV              DV
        170310001      68.4          72.2           69.6         73.4            68.2            71.9
  Table 7. EPA 2023 ozone design values (ppb) for Cook County, Illinois monitor from EPA cited
  modeling results in proposed and final Minnesota SIP disapproval.

  In our opinion, EPA should always rely on the best available modeling at the time that an
  analysis is conducted and results, whether in a SIP or other, are developed and submitted. In
  this case, EPA has failed to follow this process and instead continued to move the target and
  objectives for states that, in Minnesota’s case, for over four years and four months had been
  waiting for a review of their “best available data and analysis”.

        4. Alternative 1 ppb significance threshold


  Neither the LADCO modeling nor EPA modeling released with the March 2018 memorandum
  indicated that Minnesota would contribute over 1% of the NAAQS to any nonattainment or
  maintenance monitor in 2023. As a result, Minnesota did not think it necessary to consider
  using a 1 ppb threshold for significant contribution to downwind receptors, which EPA guidance
  offered as an option to States.

  In the SIP disapproval, EPA further elaborates that following their receipt and review of forty-
  nine good neighbor SIPs for the 2015 ozone NAAQS, their experience was that no state relying
  on a 1 ppb threshold provided sufficient information and technical support to justify that an
  alternative threshold was reasonable31. EPA does not indicate how many of the reviewed SIPs
  used a 1 ppb threshold nor do they indicate on how many state SIPs they provided feedback, if
  any. They go on to state that this alternate 1 ppb threshold may also be politically inconsistent
  and impractical under the CAA32.

  As EPA not only failed to provide any feedback to Minnesota on its original October 1, 2018 SIP
  submittal until the February 22, 2022 proposed SIP disapproval, EPA has also failed to honor its
  March 2018 guidance33 which was identified to specifically “provide analytical information


  29
     Table 5, 87 FR 9868
  30
     Table III.B-2, 88 FR 9351
  31
     87 FR 9843
  32
     Footnote 33, 87 FR 9843
  33
     https://www.epa.gov/sites/default/files/2018-03/documents/transport_memo_03_27_18_1.pdf

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  regarding the degree to which certain air quality threshold amounts capture the collective
  amount of upwind contribution from upwind states to downwind receptors or the 2015 ozone
  NAAQS. It also interprets that information to make recommendation about what thresholds
  may be appropriate for use in state implementation plan (SIP) revisions addressing the good
  neighbor provision for that NAAQS.”

  Minnesota has been denied the opportunity to correct the model inputs that EPA uses as the
  basis for SIP Disapproval at the 1% threshold and denied the opportunity to update its SIP to
  take advantage of the 1 ppb threshold that EPA offers States an opportunity to justify in its
  guidance. While EPA continues to regenerate results based on updated emission modeling
  platforms and other associated information, states have been omitted from the process,
  denying them the chance to review updated information and to provide revisions to their SIPs
  to address those updates.

  It is important to note that under all of EPA’s cited modeling results, Minnesota contributes
  under the 1 ppb permitted to be considered from EPA’s March 2018 guidance. Table 8 below
  shows that under none of EPA’s four modeling platforms does Minnesota contribute over the 1
  ppb threshold to the Cook County monitor.

                                                 Minnesota Contribution (ppb) in 2023
    AQS Site                     EPA March       EPA Revised    EPA Proposed SIP      EPA Final SIP
       ID     State County       2018 Memo      CSAPR Update       Disapproval        Disapproval
   170310001 Illinois Cook          0.76            0.79               0.97               0.85
  Table 8. Minnesota contribution to Cook County, Illinois 2023 ozone design values from
  documented modeling platforms.

  EPA’s 2018 flexibility memos, including the opportunity for states to make recommendations to
  support alternate thresholds for significant contribution, remains an important tool for
  addressing unique State circumstances in developing their good neighbor SIPs. Disapproving
  the Minnesota SIP without affording the State an opportunity to utilize this flexibility is
  unreasonable and should be reconsidered.




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  C. The Minnesota Pollution Control Agency’s state implementation
  plan revision was approvable based on the state of the science at the
  time it was submitted to U.S. EPA.
       1. Introduction


  On October 1, 2018, the Minnesota Pollution Control Agency, after review and comment by EPA
  Region 5 staff, submitted to the U.S. Environmental Protection Agency a request for revision of
  Minnesota’s State Implementation Plan34.

  The proposed SIP revision addressed Minnesota’s responsibilities relating to the
  “Infrastructure” SIP (iSIP) requirements of sections 110(a)(l) and 110(a)(2) of the Clean Air Act
  (CAA), as they pertain to the National Ambient Air Quality Standard (NAAQS) for ozone,
  promulgated in 2015. The CAA requires states to submit an iSIP within three years of the EPA’s
  issuance of a new NAAQS to demonstrate their continued ability to implement, maintain, and
  enforce the federal standards. The iSIP outlined the statutes, rules, and programs that enable
  Minnesota to ensure attainment of the 2015 ozone NAAQS. These statutes, rules, and programs
  had previously been reviewed and approved into Minnesota’s iSIP, and the materials included
  with the iSIP demonstrate that the MPCA did not have further obligations under the iSIP
  requirements.

  The MPCA submission utilized both EPA modeling released with a March 2018 flexibilities
  memorandum35 and Lake Michigan Air Directors Consortium (LADCO) modeling results36.
  Minnesota followed the 4-step interstate transport framework and used an analytic year of
  2023 to describe Minnesota’s lack of contributions to out of state receptors and assess
  emission reduction considerations.

  In this document we discuss both the technical and legal validity of MPCA’s SIP and EPA’s
  obligation to approve the SIP.

  EPA's and LADCO's model projections, along with continuing decreases in the emissions and
  monitored levels of ozone precursors in Minnesota (nitrogen dioxide and volatile organic
  compounds), demonstrated that no additional controls or emissions limits were necessary to



  34
     EPA-R05-OAR-2018-0689-0003
  35
     https://www.epa.gov/interstate-air-pollution-transport/memo-and-supplemental-information-regarding-
  interstate-transport
  36
     https://www.ladco.org/wp-
  content/uploads/Documents/Reports/TSDs/O3/LADCO_2015O3iSIP_TSD_13Aug2018.pdf

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  fulfill Minnesota's responsibilities under the good neighbor provisions for the 2015 ozone
  NAAQS.

  On February 13, 2023, almost four and a half years after the original SIP submittal, EPA finalized
  a rule in connection with the Air Plan Disapprovals; Interstate Transport Requirements for the
  2015 8-Hour Ozone National Ambient Air Quality Standards37.

  EPA notes in this final rule, that these disapprovals would not start a mandatory sanctions clock
  but rather would establish a 2-year deadline for EPA to promulgate a Federal Implementation
  Plan (FIP), unless EPA were to approve a subsequent SIP submittal that meets CAA
  requirements. EPA originally proposed a FIP to be finalized December 15, 2022, in complete
  disregard for the 2-year period allowed by the CAA for responding to any such SIP
  disapprovals38. This FIP39 was signed by the Administrator on March 15, 2023, and is still
  awaiting publication in the Federal Register.

  In 2018 EPA issued flexibility guidance for states to follow in development of 2015 ozone
  standard NAAQS God Neighbor SIPs (GNS). We specifically question how EPA’s late disapproval
  contradicts this guidance.

       2. MPCA’s Modeling Approach


  The modeling performed to support the SIP was performed by LADCO and except for the 2023
  projected EGU emissions, was identical to the “EN” platform developed by EPA and followed
  EPA guidance40 in preparation of technical material for SIP and SIP-related modeling. The EN
  platform was used by EPA in its March 2018 flexibility memorandum so that “[s]tates can use
  these data to develop their implementation plans to assure that emissions within their
  jurisdictions do not contribute significantly to nonattainment or interfere with maintenance of
  the 2015 ozone standards in other states.”

  In our opinion, this platform was technically credible, and a SIP developed from these data
  should have been approvable by EPA at the time of submission in October 2018. The following
  sections present our opinions on specific technical aspects of MPCA modeling.




  37
     Id.
  38
     87 Fed. Reg 20036
  39
     https://www.epa.gov/system/files/documents/2023-03/FRL%208670-02-
  OAR_Good%20Neighbor_Final_20230314_Signature_ADMIN%20%281%29.pdf
  40
     https://www.epa.gov/sites/production/files/2020-10/documents/o3-pm-rh-modeling_guidance-2018.pdf

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  Base Year
  The base year for the MPCA modeling was 2011. 2011 was selected because of data availability
  and because EPA41 had noted that 2011 meteorology in the Eastern U.S., including the upper
  Midwest, was warmer and drier that the climatic norm and represented typical conditions
  conducive to high observed ozone concentrations in the Midwest and Northeast U.S. It is
  Alpine’s opinion that 2011 was an appropriate modeling year.

  Model and Data Selection
  This section introduces the models and data sources used in the MPCA. The selection
  methodology followed EPA’s guidance for ozone regulatory modeling42,43,44. EPA’s 2018
  modeling guidance45 lists several criteria for model selection that are paraphrased as follows
  (pp. 24-27):

      •    It should not be proprietary;
      •    It should have received a scientific peer review;
      •    It should be demonstrated to be applicable to the problem on a theoretical basis;
      •    It should be used with data bases which are available and adequate to support its
           application;
      •    It should be shown to have performed well in past modeling applications;
      •    It should be applied consistently with an established protocol on methods and
           procedures;
      •    It should have a user’s guide and technical description;
      •    The availability of advanced features (e.g., probing tools or science algorithms) is
           desirable; and

  41 Air Quality Modeling Technical Support Document for the 2008 Ozone NAAQS Cross-State Air Pollution Rule Proposal.

  Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2015-
  11/documents/air_quality_modeling_tsd_proposed_rule.pdf

  42 Guidance on the Use of Models and Other Analyses for Demonstrating Attainment of Air Quality Goals for Ozone, PM2.5 and

  Regional Haze. U.S. Environmental Protection Agency, Research Triangle Park, NC. EPA-454/B-07-002. April, 2007.
  (http://www.epa.gov/ttn/scram/guidance/guide/final-03-pm-rh-guidance.pdf).

  43 Draft Modeling Guidance for Demonstrating Attainment of Air Quality Goals for Ozone, PM2.5 and Regional Haze. U.S.

  Environmental Protection Agency, Office of Air Quality Planning and Standards, RTP, NC. December 3, 2014.
  (http://www.epa.gov/ttn/scram/guidance/guide/Draft_O3-PM-RH_Modeling_Guidance-2014.pdf).

  44 Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental Protection

  Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park, NC. EPA 454/R-18-009.
  November 29, 2018. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-Modeling_Guidance-2018.pdf).

  45 Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental Protection

  Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park, NC. EPA 454/R-18-009.
  November 29, 2018. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-Modeling_Guidance-2018.pdf).


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       •   When other criteria are satisfied, resource considerations may be important and are a
           legitimate concern.

  It is Alpine’s opinion that the models chosen for the MPCA modeling met these criteria and
  were appropriate for use in the SIP.

  Meteorological Modeling
  The Weather Research and Forecasting (WRF) Model is a mesoscale numerical weather
  prediction system designed to serve both operational forecasting and atmospheric research
  needs46,47,48. The Advanced Research WRF (ARW) version of WRF was used in the MPCA
  modeling study. It features multiple dynamical cores, a 3-dimensional variational (3DVAR) data
  assimilation system, and a software architecture allowing for computational parallelism and
  system extensibility. WRF is suitable for a broad spectrum of applications across scales ranging
  from meters to thousands of kilometers. The effort to develop WRF has been a collaborative
  partnership, principally among the National Center for Atmospheric Research (NCAR), the
  National Oceanic and Atmospheric Administration (NOAA), the National Centers for
  Environmental Prediction (NCEP) and the Forecast Systems Laboratory (FSL), the Air Force
  Weather Agency (AFWA), the Naval Research Laboratory, the University of Oklahoma, and the
  Federal Aviation Administration (FAA). WRF allows researchers the ability to conduct
  simulations reflecting either real data or idealized configurations. WRF provides operational
  forecasting a model that is flexible and efficient computationally, while offering the advances in
  physics, numerics, and data assimilation contributed by the research community.

  WRF is publicly available, has full documentation and has demonstrated success in simulating
  meteorological conditions in the Upper Midwest.




  46
    Skamarock, W. C. 2004. Evaluating Mesoscale NWP Models Using Kinetic Energy Spectra. Mon. Wea. Rev.,
  Volume 132, pp. 3019-3032. December, 2004.
  (http://www.mmm.ucar.edu/individual/skamarock/spectra_mwr_2004.pdf).

  47
    Skamarock, W. C. 2006. Positive-Definite and Monotonic Limiters for Unrestricted-Time-Step Transport
  Schemes. Mon. Wea. Rev., Volume 134, pp. 2241-2242. June.
  (http://www.mmm.ucar.edu/individual/skamarock/advect3d_mwr.pdf).

  48
    Skamarock, W. C., J. B. Klemp, J. Dudhia, D. O. Gill, D. M. Barker, W. Wang and J. G. Powers. 2005. A Description
  of the Advanced Research WRF Version 2. National Center for Atmospheric Research (NCAR), Boulder, CO. June.
  (http://www.mmm.ucar.edu/wrf/users/docs/arw_v2.pdf)


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  MPCA used the U.S. EPA 2011 WRF data for this study49. The U.S. EPA used version 3.4 of the
  WRF model, initialized with the 12-km North American Model (NAM) from the National Climatic
  Data Center (NCDC) to simulate 2011 meteorology. Complete details of the WRF simulation,
  including the input data, physics options, and four-dimensional data assimilation (FDDA)
  configuration are detailed in the U.S. EPA 2008 Transport Modeling technical support
  document50. U.S. EPA prepared the WRF data for input to CAMx with version 4.3 of the
  WRFCAMx software.

  It is Alpine’s opinion that the U.S. EPA WRF 3.4 meteorological modeling was appropriate for
  use in the MPCA SIP.

  Initial and Boundary Conditions
  MPCA used 2011 initial and boundary conditions for CAMx generated by the U.S. EPA from the
  GEOS-Chem Global Chemical Transport Model51. EPA generated hourly, one-way nested
  boundary conditions (i.e., global-scale to regional-scale) from a 2011 2.0 degree x 2.5 degree
  GEOS-Chem simulation. Following the convention of the U.S. EPA O3 transport modeling, year
  2011 GEOS-Chem boundary conditions were used by LADCO for modeling 2023 air quality with
  CAMx.

  It is Alpine’s opinion that the U.S. EPA GEOS-Chem derived initial and boundary conditions were
  appropriate for use in the MPCA SIP.

  Emissions
  The 2023 emissions data for the MPCA SIP were based on the U.S. EPA 2011v6.3 (“EN”)
  emissions modeling platform52. U.S. EPA generated this platform for their final assessment of
  Interstate Transport for the 2008 O3 NAAQS. Updates from earlier 2011-based emissions
  modeling platforms included a new engineering approach for forecasting emissions from
  Electricity Generating Units (EGUs). LADCO replaced the EGU emissions in the U.S. EPA EN


  49 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.

  50 US EPA. 2014. Meteorological Model Performance for Annual 2011 WRFv3.4 Simulation. Research Triangle Park, NC.

  https://www3.epa.gov/ttn/scram/reports/MET_TSD_2011_final_11-26-14.pdf.

  51 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.

  52 US EPA. 2017. Technical Support Document: Additional Updates to Emissions Inventories for the Version 6.3 Emissions

  Modeling Platform for the Year 2023. Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2017-
  11/documents/2011v6.3_2023en_update_emismod_tsd_oct2017.pdf


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  platform with 2023 EGU forecasts estimated with the ERTAC EGU Tool version 2.753. ERTAC EGU
  2.7 integrates state-reported information on EGU operations and forecasts as of May 2017.
  The MPCA believes “power sector emissions forecasts must address economic factors, preserve
  system reliability, and include controls or emission reduction measures justified through some
  legal framework. It is our understanding that the engineering analysis used by EPA to project
  EGU emissions to 2023 (version EN of the modeling platform) does not comply with these key
  requirements. The ERTAC estimates incorporate the key requirements.”54

  In March 2018 U.S. EPA released it flexibilities memo that described a series of flexibilities that
  states could consider in developing Good Neighbor SIPs for the 2015 ozone NAAQS. The “[u]se
  of alternative power sector modeling consistent with EPA’s emissions inventory guidance” is
  presented in the Analytics section of EPA’s March 2018 memo as a flexibility to consider in
  preparing a Good Neighbor SIP. This flexibility supports LADCO’s use of the ERTAC EGU model
  for projecting EGU emissions to 2023. MPCA considers the emissions projections from ERTAC
  EGU to be more representative of the sources in the Midwest and Northeast than the approach
  used by U.S. EPA in their 2023 EN modeling platform. As ERTAC EGU is developed in
  collaboration between regional and state air planning agencies, it includes algorithms and data
  that have been reviewed by many of the states impacted by interstate O3 transport in the
  Midwest and Eastern U.S.

  Preparation of the emissions data to support photochemical models is a very complicated
  process that entails the use of a number of different “sub-models” to prepare different
  emission segments.

  Sparse Matrix Operator Kernel Emissions (SMOKE)
  The Sparse Matrix Operator Kernel Emissions (SMOKE) is an emissions modeling system that
  generates hourly gridded speciated emission inputs of mobile, non-road, area, point, fire and
  biogenic emission sources for PGMs55,56. As with most “emissions models,” SMOKE is
  principally an emission processing system and not a true emissions modeling system in which
  emissions estimates are simulated from “first principles.” This means that, except for mobile
  and biogenic sources, its purpose is to provide an efficient, modern tool for converting an
  existing base emissions inventory data that is typically at the county or point source level into

  53 http://www.marama.org/2013-ertac-egu-forecasting-tool-documentation


  54
       EPA-R05-OAR-2018-0689-0003
  55 Coats, C.J. 1995. Sparse Matrix Operator Kernel Emissions (SMOKE) Modeling System, MCNC Environmental Programs,

  Research Triangle Park, NC.

  56 UNC. 2018. SMOKE v4.6 User’s Manuel. University of North Carolina at Chapel Hill, Institute for the Environment. Chapel

  Hill, North Carolina. September 24. (https://www.cmascenter.org/smoke/documentation/4.6/manual_smokev46.pdf).


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  the hourly gridded speciated formatted emission files required by a Photochemical Grid Model
  (PGM), like CAMx. SMOKE was used to prepare emission inputs for non-road mobile, non-point
  (area) and point sources. SMOKE performs three main function to convert emissions to the
  hourly gridded emission inputs for a PGM: (1) spatial allocation, spatial allocates county-level
  emissions to the PGM model grid cells typically using a surrogate distribution (e.g., population);
  (2) temporal allocation, allocates annual emissions to time of year (e.g., monthly or seasonally)
  and day-of-week (typically weekday, Saturday and Sunday); and (3) chemical speciation, maps
  the emissions to the species in the chemical mechanism used by the photochemical grid model,
  most important for VOC and PM2.5 emissions.

  The primary emissions modeling tool used to create the air quality model-ready emissions was
  the SMOKE modeling system version 3.7 which was used to create emissions files for a 12-km
  national grid “12US2” that includes all of the contiguous states.

  It is Alpine’s opinion that the SMOKE emissions model together with the other EPA emissions
  was appropriate for use in the MPCA SIP.

  Motor Vehicle Emissions Simulator (MOVES)
  The motor vehicle emissions were prepared by U.S. EPA using the MOVES 2014a emissions
  model57,58,59. MOVES 2014a was the most up to date released motor vehicle emissions
  processor at the time of the MPCA SIP submission and it is Alpine’s opinion that the U.S. EPA
  MOVES 2014a emissions were appropriate for use in the MPCA SIP.

  Eastern Regional Technical Advisory Committee EGU Model
  The Eastern Regional Technical Advisory Committee (ERTAC) EGU model for growth was
  developed around activity pattern matching algorithms designed to provide hourly EGU
  emissions data for air quality planning. The original goal of the model was to create low-cost
  software that air quality planning agencies could use for developing EGU emissions projections.
  States needed a transparent model that was numerically stable and did not produce dramatic
  changes to the emissions forecasts with small changes in inputs. A key feature of the model


  57 EPA. 2014a. Motor Vehicle Emissions Simulator (MOVES) – User Guide for MOVES2014. Assessment and Standards Division,

  Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-055). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14055.pdf).

  58 EPA. 2014b. Motor Vehicle Emissions Simulator (MOVES) –MOVES2014 User Interface Manual. Assessment and Standards

  Division, Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-067). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14057.pdf).

  59 EPA. 2014b. Motor Vehicle Emissions Simulator (MOVES) –MOVES2014 User Interface Manual. Assessment and Standards

  Division, Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-067). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14057.pdf).


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  includes data transparency; all of the inputs to the model are publicly available. The code is also
  operationally transparent and includes extensive documentation, open-source code, and a
  diverse user community to support new users of the software.

  Operation of the model is straightforward given the complexity of the projection calculations
  and inputs. The model imports base year Continuous Emissions Monitoring (CEM) data from
  U.S. EPA and sorts the data from the peak to the lowest generation hour. It applies hour specific
  growth rates that include peak and off-peak rates. The model then balances the system for all
  units and hours that exceed physical or regulatory limits. ERTAC EGU applies future year
  controls to the emissions estimates and tests for reserve capacity, generates quality assurance
  reports, and converts the outputs to SMOKE ready modeling files.

  ERTAC EGU has distinct advantages over other growth methodologies because it can generate
  hourly future year estimates which are key to understanding ozone episodes. The model does
  not shutdown or mothball existing units because economics algorithms suggest they are not
  economically viable. Additionally, alternate control scenarios are easy to simulate with the
  model. Full documentation for the ERTAC Emissions model and 2.7 simulations are available
  through the MARAMA website60.

  Differences between the EPA and ERTAC EGU emissions forecasts arise from alternative
  forecast algorithms and from the data used to inform the model predictions. The U.S. EPA EGU
  forecast used in the 2023 EN modeling used CEM data available through the end of 2016 and
  comments from states and stakeholders received through April 17, 201761. ERTAC EGU 2.7 used
  CEM data from 2011 and state-reported changes to EGUs through May 2017. The ERTAC EGU
  2.7 emissions used for the modeling represented the best available information on EGU
  forecasts for the Midwest and Eastern U.S. available during Spring-early Summer 2018.

  The “consideration of state-specific information in identifying sources [e.g., electric generating
  units (EGUs) and non-EGUs] and controls” is one of the potential approaches in EPA’s March
  2018 flexibilities memorandum. The use of the ERTAC EGU tool falls squarely within the
  parameters of this documented flexibility and it is Alpine’s opinion that MPCA’s used of EGU
  emission projections from this model were appropriate in the MPCA SIP.




  60 http://www.marama.org/2013-ertac-egu-forecasting-tool-documentation


  61 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.


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  BEIS
  Biogenic emissions were computed by U. S. EPA based on the same version of the 2011
  meteorology data used for the air quality modeling and were developed using the Biogenic
  Emission Inventory System version 3.61 (BEIS3.61) within SMOKE. The landuse input into
  BEIS3.61 is the BELD version 4.1 which is based on an updated version of the USDA-USFS Forest
  Inventory and Analysis (FIA) vegetation speciation-based data from 2001 to 2014 from the FIA
  version 5.1.

  It is Alpine’s opinion that the U.S. EPA application of the BEIS model was appropriate for use in
  the MPCA SIP.

      3. Air Quality Modeling


  The MPCA modeling used the Comprehensive Air-quality Model with Extensions (CAMx) air
  quality model62. CAMx is a state-of-science “One-Atmosphere” multi-scale photochemical grid
  model (PGM) capable of addressing ozone, particulate matter (PM), visibility and acid
  deposition at regional, urban and local scale typically for periods of a year. CAMx is a publicly
  available open-source computer modeling system for the integrated assessment of gaseous and
  particulate air pollution. Built on today’s understanding that air quality issues are complex,
  interrelated, and reach beyond the urban scale, CAMx is designed to (a) simulate air quality
  over many geographic scales, (b) treat a wide variety of inert and chemically active pollutants
  including ozone, inorganic and organic PM2.5 and PM10 and mercury and toxics, (c) provide
  source-receptor, sensitivity, and process analyses and (d) be computationally efficient and easy
  to use.

  The U.S. EPA has approved the use of CAMx for numerous ozone and PM State Implementation
  Plans throughout the U.S. and has used this model to evaluate regional mitigation strategies
  including those for most recent national transport rules, such as the Cross-State Air Pollution
  Rule (CSAPR), CSAPR Update, and the modeling used in justification of denial of the MPCA SIP.
  The MPCA used Version 6.4, which was released in December 2016. Unlike some of EPA’s
  previous ozone modeling guidance that specified a particular ozone model (e.g., EPA 1991
  Guidance63) or that specified the Urban Airshed Model (UAM)64, the EPA now recommends that

  62 User’s Guide: Comprehensive Air Quality Model with Extensions version 6.40. Novato, CA.

  http://www.camx.com/files/camxusersguide_v6-40.pdf

  63 Draft Guidance on the Use of Models and Other Analyses in Attainment Demonstrations for the 8-hr Ozone NAAQS”. U.S.

  Environmental Protection Agency, Office of Air Quality Planning and Standards, Research Triangle Park, N.C. May.

  64 User's Guide for the Urban Airshed Model. Volume I: User's Manual for UAM (CB-IV) prepared for the U.S. Environmental

  Protection Agency (EPA-450/4-90-007a). Systems Applications International, San Rafael, CA.


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  models be selected for ozone SIP studies on a “case-by-case” basis. The latest EPA ozone
  guidance65 (pp. 24) explicitly mentions the CAMx PGMs as one of the most commonly used
  PGMs that would satisfy EPA’s selection criteria but notes that this is not an exhaustive list and
  does not imply that it is “preferred” over other PGMs that could also be considered and used
  with appropriate justification.

  The CAMx model is updated regularly to both update the science in the model and to address
  coding errors (bugs) in the code. CAMx 6.5 was released at the end of April 2018,
  approximately 6 months prior to submission the MPCA SIP submission. It is customary for
  regulatory modeling to “freeze” the model version during the modeling process to keep the
  modeling on schedule.

  It is Alpine’s opinion that the CAMx 6.4 air quality model along with the EPA EN platform with
  2023 EGU’s updated to include ERTAC was appropriate for use in the MPCA SIP.

       4. Model Performance


  MPCA relied on the model performance evaluation (MPE) conducted by the U.S. EPA on the
  modeling platform that we used for this study66 to establish validity in the modeling platform.
  In addition to the MPE for the base year CAMx simulation, the U.S. EPA reported full MPE
  results for the 2011 WRF modeling67 used in the CAMx simulations.

  It is Alpine’s opinion that the EPA WRF and CAMx performance evaluations showed adequate
  performance and that the modeling was appropriate for use in the MPCA SIP.

       5. Source Apportionment


  MPCA used the CAMx Anthropogenic Precursor Culpability Assessment (APCA) tool to calculate
  emissions tracers for identifying upwind sources of ozone at downwind monitoring sites. MPCA


  65
    Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental
  Protection Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park,
  NC. EPA 454/R-18-009. November 29. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-
  Modeling_Guidance-2018.pdf).

  66 US EPA. 2016. Air Quality Modeling Technical Support Document for the 2015 Ozone NAAQS Preliminary Interstate Transport

  Assessment. Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2017-
  01/documents/aq_modeling_tsd_2015_o3_naaqs_preliminary_interstate_transport_assessmen.pdf

  67 US EPA. 2014. Meteorological Model Performance for Annual 2011 WRFv3.4 Simulation. Research Triangle Park, NC.

  https://www3.epa.gov/ttn/scram/reports/MET_TSD_2011_final_11-26-14.pdf.


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  used the APCA technique because it more appropriately associates ozone formation to
  anthropogenic sources than the CAMx Ozone Source Apportionment Technique (OSAT). If any
  anthropogenic emissions are involved in a reaction that leads to ozone formation, even if the
  reaction occurs with biogenic VOC or NOx, APCA tags the ozone as anthropogenic in origin.

  The APCA source apportionment tool has a robust theoretical basis and a long application
  history and it is our opinion that the APCA tool is appropriate for identifying upwind sources of
  ozone at downwind monitoring sites.

     6. Interstate Transport Provisions – Section 110(a)(2)(D)


  This section of the CAA requires SIPs to have provisions prohibiting sources from emitting air
  pollutants in amounts that would contribute significantly to nonattainment or interfere with
  maintenance in any other state. These interstate transport requirements are often referred to
  as “good neighbor SIPs”. The analyses conducted both by LADCO and EPA to support the 2015
  ozone good neighbor SIPs show Minnesota does not contribute significantly to air quality
  problems in any downwind nonattainment or maintenance area. Therefore, no additional
  controls or emissions limits were required to fulfill Minnesota’s good neighbor obligations.

  On March 27, 2018, the EPA published a memo, entitled “Information on the Interstate
  Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
  Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)”. EPA’s Memo included new
  transport modeling data for the year 2023 (the Moderate Attainment deadline for the 2015
  ozone NAAQS). These data are provided to assist states in completing the “good neighbor” SIPs
  for the 2015 ozone NAAQS, and to thereby address interstate transport obligations.

  EPA identifies a four-step framework in the Memo, intended to guide states on how to go about
  developing good neighbor SIPs:

     1. Identify downwind air quality problems;
     2. Identify upwind states that contribute enough to those downwind air quality problems
        to warrant further review and analysis;
     3. Identify the emissions reductions necessary (if any), considering cost and air quality
        factors, to prevent an identified upwind state from contributing significantly to those
        downwind air quality problems; and
     4. Adopt permanent and enforceable measures needed to achieve those emissions
        reductions.

  In Step 1, EPA identifies monitoring sites that are projected to have problems attaining and/or
  maintaining the NAAQS in the 2023 analytic year. Where EPA’s analysis shows that a site does

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  not fall under the definition of a nonattainment or maintenance receptor, that site is excluded
  from further analysis under EPA’s 4-step interstate transport framework. For sites that are
  identified as a nonattainment or maintenance receptor in 2023, we proceed to the next step of
  our 4-step interstate transport framework by identifying the upwind state’s contribution to
  those receptors.

  In Step 2, EPA quantifies the contribution of each upwind state to each receptor in the 2023
  analytic year. The contribution metric used in Step 2 is defined as the average impact from each
  state to each receptor on the days with the highest ozone concentrations at the receptor based
  on the 2023 modeling. If a state’s contribution value does not equal or exceed the threshold of
  1 percent of the NAAQS (i.e., 0.70 ppb for the 2015 ozone NAAQS), the upwind state is not
  ‘‘linked’’ to a downwind air quality problem, and EPA, therefore, concludes that the state does
  not significantly contribute to nonattainment or interfere with maintenance of the NAAQS in
  the downwind states.

  Comparably, in MPCA’s SIP submission, they include LADCO’s modeling which additionally
  follows the same transport framework and is corroborated by EPA’s modeling with the data
  released with the March 2018 memo.

  Step 1 - 2023 Air Quality Projections
  MPCA’s reported air quality projections68 submitted with their SIP were based on the ozone
  modeling conducted by LADCO. The result of this LADCO 2023 modeling, using methods utilized
  by EPA and shown in Table 9 below, forecasted that no downwind monitors in the Midwest or
  Northeast would be nonattainment for the 2015 O3 NAAQS.




  68
       Data source Table 5, Attachment 1, EPA-R05-OAR-2018-0689-0003

                                                                                                 36
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                                            LADCO 2023 DV                2009-2013 DV
   AQS ID         County        ST       3x3 Avg      3x3 Max        3x3 Avg      3x3 Max
   90010017       Fairfield     CT         67.2          69.4          78.0         80.0
   90013007       Fairfield     CT         67.8          71.6          84.3         89.0
   90019003       Fairfield     CT         69.6          72.4          83.7         87.0
   90099002       New Haven     CT         67.9          70.5          85.7         89.0
   240251001      Harford       MD         69.4          71.8          90.0         93.0
   260050003      Allegan       MI         67.1          69.8          80.3         83.0
   261630019      Wayne         MI         67.7          69.7          78.7         81.0
   360810124      Queens        NY         67.5          69.2          70.0         71.0
   361030002      Suffolk       NY         69.8          71.3          83.3         85.0
   550790085      Milwaukee     WI         62.1          65.1          78.3         82.0
   551170006      Sheboygan     WI         69.3          71.5          84.3         87.0
  Table 9. LADCO 2023 ozone design values at EPA identified nonattainment and maintenance
  monitors in the Midwest and Northeast.

  EPA’s own modeling69, released with the March 2018 platform, shown in Table 10, and
  designed to be used by states in development of their ozone transport SIPs, indicated that in
  the Midwest or Northeast, two downwind monitors in Fairfield, Connecticut (monitors
  90013007 and 90019003), a monitor in Suffolk, New York (36103002), and monitors in
  Milwaukee (550790085) and Sheboygan (551170006), Wisconsin would be in nonattainment
  for the 2015 ozone NAAQS.

                                              EPA 2023 DV              2009-2013 DV
   AQS ID         County        ST        3x3 Avg     3x3 Max      3x3 Avg      3x3 Max
   90010017       Fairfield     CT          68.9        71.2         80.3         83.0
   90013007       Fairfield     CT          71.0        75.0         84.3         89.0
   90019003       Fairfield     CT          73.0        75.9         83.7         87.0
   90099002       New Haven     CT          69.9        72.6         85.7         89.0
   240251001      Harford       MD          70.9        73.3         90.0         93.0
   260050003      Allegan       MI          69.0        71.7         82.7         86.0
   261630019      Wayne         MI          69.0        71.0         78.7         81.0
   360810124      Queens        NY          70.2        72.0         78.0         80.0
   361030002      Suffolk       NY          74.0        75.5         83.3         85.0
   550790085      Milwaukee     WI          71.2        73.0         80.0         82.0
   551170006      Sheboygan     WI          72.8        75.1         84.3         87.0
  Table 10. EPA 2023 ozone design values at nonattainment and maintenance monitors in the
  Midwest and Northeast.

  69
       https://www.epa.gov/sites/default/files/2018-05/updated_2023_modeling_dvs_collective_contributions.xlsx

                                                                                                                 37
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  An additional six monitors in Connecticut (90010017 and 90099002), Maryland (240251001),
  Michigan (260050003 and 261630019), and New York (360810124) would be considered
  maintenance monitors in the projection.

  In neither the LADCO nor EPA modeling cited in MPCA’s SIP revision submission were the two
  Cook County, Illinois monitors (170314201 and 170310076) from EPA’s SIP denial NPR, or the
  single monitor from EPA’s final SIP disapproval action, identified as either nonattainment or
  maintenance monitors in the 2023 projections.

  Step 2 - Significant Contribution to Downwind States
  EPA has previously determined that a state contribution to downwind air quality problems
  below one percent of the applicable NAAQS is insignificant. This screening method was used in
  previous good neighbor SIP approvals, and other regulatory actions including (most notably)
  the Cross-State Air Pollution Rule (CSAPR), and the CSAPR update for the 2008 ozone NAAQS
  and 2012 NAAQS for particulate matter less than 2.5 micrometers in diameter (PM2.5). The one
  percent screening method was developed through several previous federal notice and
  comment rulemakings. One percent of the 2015 ozone NAAQS (70 ppb) is 0.70 ppb. Therefore,
  any state that contributes less than 0.70 ppb to a projected nonattainment or maintenance
  area in another state is not culpable for those air quality problems.

  EPA and LADCO applied the Anthropogenic Precursor Culpability Analysis (APCA) technique in
  CAMx to identify upwind states culpable for downwind ozone air quality problems. The method
  accounts for anthropogenic nitrogen oxides (NOx) and volatile organic carbon (VOC) emissions
  from all sources in each upwind state affecting projected 2023 ozone concentrations at each
  downwind air quality monitoring site designated a nonattainment or maintenance receptor.
  EPA and LADCO conducted the culpability analysis for the period May 1 through September 30,
  using the 2023 future emission estimates and 2011 meteorology.

  Both LADCO and EPA analyses70 conclude Minnesota is not culpable for ozone nonattainment,
  or interference with maintenance, in any downwind states. As shown in Table 11, prepared
  using data from MPCA’s SIP71, LADCO’s analysis shows a maximum contribution of 0.45 ppb to
  the identified maintenance monitors, less than the 0.70 ppb identified as 1% of the NAAQS (70
  ppb). EPA’s analysis72 (Table 12) indicates Minnesota contributes most to Milwaukee, Wisconsin
  monitor site 550790085. At a concentration of 0.40 ppb, this contribution is roughly equal to
  0.57% of the 2015 ozone NAAQS.




  70
     Data source Table 2, EPA-R05-OAR-2018-0689-0003
  71
     Id.
  72
     Id.

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   AQS ID       County         ST     2023 Avg DV    2023 Max DV MN Contribution (ppb)
   90010017     Fairfield      CT          67.2           69.4              0.17
   90013007     Fairfield      CT          67.8           71.6              0.15
   90019003     Fairfield      CT          69.6           72.4              0.11
   90099002     New Haven      CT          67.9           70.5              0.16
   240251001 Harford           MD          69.4           71.8              0.12
   260050003 Allegan           MI          67.1           69.8              0.11
   261630019 Wayne             MI          67.7           69.7              0.30
   360810124 Queens            NY          67.5           69.2              0.16
   361030002 Suffolk           NY          69.8           71.3              0.16
   550790085 Milwaukee         WI          62.1           65.1              0.45
   551170006 Sheboygan         WI          69.3           71.5              0.27
  Table 11. LADCO 2023 O3 design values at nonattainment and maintenance monitors in the
  Midwest and Northeast and Minnesota’s calculated contribution.

   AQS ID        County         ST     2023 Avg DV    2023 Max DV MN Contribution (ppb)
   90010017      Fairfield      CT         68.9           71.2               0.17
   90013007      Fairfield      CT         71.0           75.0               0.15
   90019003      Fairfield      CT         73.0           75.9               0.14
   90099002      New Haven      CT         69.9           72.6               0.19
   240251001 Harford            MD         70.9           73.3               0.13
   260050003 Allegan            MI         69.0           71.7               0.11
   261630019 Wayne              MI         69.0           71.0               0.31
   360810124 Queens             NY         70.2           72.0               0.17
   361030002 Suffolk            NY         74.0           75.5               0.18
   550790085 Milwaukee          WI         71.2           73.0               0.40
   551170006 Sheboygan          WI         72.8           75.1               0.28
  Table 12. EPA 2023 O3 design values at nonattainment and maintenance monitors in the
  Midwest and Northeast and Minnesota’s calculated contribution.

  For the reasons set forth in this section, it is our opinion that the modeling conducted and cited
  by MPCA in the development of its 2015 ozone NAAQS transport SIP revision of October 2018
  was technically adequate and appropriate for the purpose it was intended and followed all
  available EPA guidance on preparing technical modeling for SIP and SIP-related analyses.

  Additionally, in our opinion, the MPCA SIP adequately demonstrates that Minnesota is not a
  significant contributor to any downwind monitor identified as in nonattainment or
  maintenance for the 2015 ozone NAAQS and is corroborated by EPA modeling which included
  state-of-science configuration and platform at the time the original SIP was submitted.




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  D.     Summary of Conclusions

  For the reasons set forth in this document, it is our opinion that the modeling conducted and
  cited by MPCA in the development of its 2015 ozone NAAQS transport SIP revision of October 1,
  2018 was technically adequate and appropriate for the purpose it was intended and should
  have been approved by EPA at the time of submission. It is further our opinion that decisions
  made by EPA to compare MPCA’s original submitted modeling to recently updated modeling,
  developed by EPA over four years and four months later than the original Oct 2018 submission,
  are inconsistent with EPA precedent.

  It is our opinion that in the absence of inclusion of Minnesota’s and other stakeholder’s valid
  emission modeling platform revision submissions, as requested by EPA, and multiple reruns of
  the air quality in both the base year (2016) and projection year (2023) simulations, EPA cannot
  appropriately identify monitors as nonattainment or maintenance, and in turn, cannot calculate
  upwind state significant contribution metrics from these same data. Non-EGU emission controls
  and their associated NOx emission reductions as documented and submitted by MPCA, could
  be enough to change nonattainment designations and linked significance using an updated
  platform and needs to be considered before making any final decision on denial of MPCA’s SIP.

  It is our opinion that EPA's use of modeling with poor performance at critical monitors amounts
  to an unreliable result when used to establish nonattainment or maintenance monitors under
  Step 1 or linkages under Step 2 of the 4-step framework. Should more refined modeling be
  undertaken to review the ozone formation potential at monitors located in these land-water
  interfaces, results may show that these monitors demonstrate modeled attainment and/or
  remove significant contribution linkages from upwind states.

  It is our opinion that the most recent modeling cited by EPA and used to justify the linkage of
  Minnesota to one downwind maintenance monitors in Cook County, Illinois has technical issues
  as it relates to that linked monitor which is located in a complex land-water interface and may
  require finer grid resolution modeling to adequately capture ozone formation and significant
  contribution, and that EPA must address the impact of VOC emissions in influencing ozone
  formation at monitors in Illinois.

  It is our opinion that EPA has failed to follow the process by relying on the best available
  modeling at the time that an analysis is conducted, and results are developed and submitted.
  Instead, EPA continues to move the target and objectives for states that, in Minnesota’s case,
  for over four years had been waiting for a review of their “best available data and analysis”.




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  It is our opinion that EPA should not have used any updated modeling to support a SIP review
  while not providing the opportunity for that data to be reviewed, analyzed, and commented on
  in advance of any final decision on the subject SIP disapproval and that any modeling beyond
  what was conducted in the original SIP submittal was ancillary to the approval process.
  However, should EPA decide not to review MPCA’s SIP revision on its merit, Alpine
  recommends that EPA withdraw the SIP disapproval in favor of correcting the technical errors
  that have been identified in its analysis and to propose an appropriate opportunity for
  Minnesota to address any deficiencies EPA may find in Good Neighbor Plans implementing the
  2015 ozone NAAQS.

  It is our opinion that EPA’s 2018 flexibility memo has become so instrumental to states in
  developing their good neighbor SIPs, that EPA’s decision to disallow the flexibilities that they
  themselves outlined in guidance, is unreasonable and should be reconsidered.

  Additionally, in our opinion, the MPCA SIP adequately demonstrates that Minnesota is not a
  significant contributor to any downwind monitor identified as in nonattainment or
  maintenance for the 2015 ozone NAAQS and is corroborated by EPA modeling which included
  state-of-science configuration and platform at the time the original SIP was submitted. It is our
  opinion that the original MPCA SIP was and is approvable.




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  E.       Minnesota 2015 Ozone SIP Timeline

  October 1, 2015 – EPA finalized the revised 2015 ozone NAAQS. Pursuant to CAA section
  110(a)(1), “each state shall . . . submit to the Administrator, within 3 years. . .after
  promulgation of a [primary NAAQS] (or any revision thereof) a plan which provides for
  implementation, maintenance, and enforcement of such primary standard. . .” CAA section
  110(a)(2)(D)(i)(I) requires such SIPs to “contain adequate provisions prohibiting . . .any source
  or other type of emissions activity within the State from emitting any air pollutant in amounts
  which will contribute significantly to nonattainment in, or interfere with maintenance by, and
  other State with respect to such NAAQS.

  March 27, 2018 - EPA published a memo, entitled “Information on the Interstate Transport
  State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
  Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)”. EPA’s Memo included new transport
  modeling data for the year 2023 (the Moderate Attainment deadline for the 2015 ozone
  NAAQS). These data are provided to assist states in completing the “good neighbor” SIPs for the
  2015 ozone NAAQS, and to thereby address interstate transport obligations.

  October 1, 2018 - Minnesota Pollution Control Agency (MPCA) submitted a SIP revision to
  address CAA Section 110(a)(2)(D)(i)(I) on October 1, 2018 .73 The submission met the statutory
  deadline for submittal the interest transport SIPs for the 2015 ozone NAAQS. The submission
  utilized both EPA modeling released with the March 2018 memorandum and LADCO modeling
  results previously mentioned. Minnesota followed the 4-step interstate transport framework
  and used an analytic year of 2023 to describe Minnesota's lack of contributions to out of state
  receptors and assess emission reduction considerations.

  April 1, 2019 – This is 6 months after EPA received the Minnesota SIP submission and is the
  date that the CAA deems the Minnesota submittal to have been complete since EPA did not
  take action otherwise.

  September 13, 2019 - The D.C. Circuit issued a decision in Wisconsin v. EPA, remanding the
  CSAPR Update to the extent that it failed to require upwind states to eliminate their significant


  73
    Completeness Finding - Pursuant to the CAA Section 110(k)(1)(B) “Within 60 days of the Administrator’s receipt
  of a plan or plan revision, but no later than 6 months after the date, if any, by which a State is required to submit
  the plan or revision, the Administrator shall determine whether the minimum criteria established pursuant to
  subparagraph (A) have been met. Any plan or plan revision that a State submits to the Administrator, and that has
  not been determined by the Administrator (by the date 6 months after receipt of the submission) to have failed to
  meet the minimum criteria established pursuant to subparagraph (a), shall on that date be deemed by operation
  of law to meet such minimum criteria.”


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  contribution by the next applicable attainment date by which downwind states must come into
  compliance with the NAAQS, as established under CAA section 181(a). 938 F.3d at 313.

  April 1, 2020 – This is 12 months after the completeness date and is the deadline for EPA to
  have acted on the MN SIP submission. Upon this deadline a full, partial or conditional approval
  was required by CAA Section 110(k)(2), (3), or (4).74

  May 19, 2020 - the D.C. Circuit issued a decision in Maryland v. EPA that cited the Wisconsin
  decision in holding that EPA must assess the impact of interstate transport on air quality at the
  next downwind attainment date, including Marginal area attainment dates, in evaluating the
  basis for EPA's denial of a petition under CAA section 126(b). Maryland v. EPA, 958 F.3d 1185,
  1203-04 (D.C. Cir. 2020). The court noted that “section 126(b) incorporates the Good Neighbor
  Provision,” and, therefore, “EPA must find a violation [of section 126] if an upwind source will
  significantly contribute to downwind nonattainment at the next downwind attainment
  deadline. Therefore, the agency must evaluate downwind air quality at that deadline, not at
  some later date.” Id. at 1204 (emphasis added). EPA interprets the court's holding in Maryland
  as requiring the states and the Agency, under the good neighbor provision, to assess downwind
  air quality as expeditiously as practicable and no later than the next applicable attainment date,
  which is now the Moderate area attainment date under CAA section 181 for ozone
  nonattainment. The Moderate area attainment date for the 2015 ozone NAAQS is August 3,
  2024. At the time of the statutory deadline to submit interstate transport SIPs (October 1,
  2018), many states relied upon EPA modeling of the year 2023, and no state provided an
  alternative analysis using a 2021 analytic year (or the prior 2020 ozone season). However, EPA
  must act on SIP submittals using the information available at the time it takes such action. In
  this circumstance, EPA does not believe it would be appropriate to evaluate states' obligations
  under CAA section 110(a)(2)(D)(i)(I) as of an attainment date that is wholly in the past, because
  the Agency interprets the interstate transport provision as forward looking. See 86 FR at 23074;
  see also Wisconsin, 938 F.3d at 322. Consequently, in this proposal EPA will use the analytical
  year of 2023 to evaluate each state's CAA section 110(a)(2)(D)(i)(I) SIP submission with respect
  to the 2015 ozone NAAQS.

  May 12, 2021 – Downwinders at Risk, et al filed Case No. 21 Civ. 21 Civ 3551 asserting that EPA
  failed to undertake certain non-discretionary duties under the CAA.



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    Deadline for Action. – Pursuant to the CAA Section 110(k)(1)(B) “Within 12 months of a determination by the
  Administrator (or a determination deemed by operation of law) under paragraph (1) that a State has submitted a
  plan or plan revision (or, in the Administrator’s discretion, part thereof) that meets the minimum criteria
  established pursuant to paragraph (1), if applicable (or, if those criteria are not applicable, within 12 months of
  submission of the plan or revision), the Administrator shall act on the submission in accordance with paragraph
  (3).”

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  February 22, 2022 - EPA assessed the Minnesota submittal and on February 22, 2022 (3 years,
  4+ months after submittal) the agency proposed denial of the Minnesota SIP as follows: “Based
  on EPA's evaluation of Minnesota's SIP submission and after consideration of updated EPA
  modeling using the 2016-based emissions modeling platform, EPA is proposing to find that the
  portion of Minnesota's October 1, 2018 SIP submission addressing CAA section 110(a)(2)(D)(i)(I)
  does not meet the state's interstate transport obligations for 2015 ozone NAAQS, because it
  fails to contain the necessary provisions to eliminate emissions that will contribute significantly
  to nonattainment or interfere with maintenance of the NAAQS in any other state. Air Plan
  Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air Plan Disapproval;
  Region 5 Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
  Quality Standards, 87 Fed. Reg. 9838 (Feb. 22, 2022).

  February 28, 2022 – EPA and Downwinders et al established in a Consent Decree entered into
  on 1/12/2022 that if EPA proposed a full or partial denial of the Minnesota SIP EPA shall have
  until December 15, 2022 to sign a final action. Note this is a settlement and does not erase the
  fact that EPA failed to complete its non-discretionary duty to have reviewed and acted upon the
  MN SIP by April 1, 2020.

  April 30, 2022 – EPA and Downwinders, et established in a Consent Decree entered into on
  1/12/2022 that required EPA to sign for publication final rulemaking on April 30, 2022 to
  approve, disapprove, and conditionally approve the Minnesota SIP submissions for the 2015
  ozone NAAQS.

  May 22, 2022 – EPA proposed to approve most elements of the Minnesota October 1, 2018
  submission intended to address all applicable infrastructure requirements for the 2015 NAAQS.
  (87 FR 31462).

  July 29, 2022 – EPA approved most elements of the Minnesota October 1, 2018 SIP submission
  from Minnesota regarding infrastructure requirements for the 2015 ozone NAAQS. EPA did not
  act on the interstate transport requirements and visibility impairments requirements. (87 FR
  45663).

  December 8, 2022 – EPA and Downwinders et al filed a Joint Motion of Stipulated Extension of
  Consent Decree deadlines that provided the following schedule.

  December 15, 2022 – Former agreed upon deadline by Downwinders for EPA to act on
  Minnesota SIP, but this deadline was moved by agreement to January 31, 2022.

  January 31, 2023 - deadline to sign final action on Minnesota SIP pursuant to agreed upon
  extension of Downwinders Consent Decree.


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  February 13, 2023 – EPA publishes final disapproval of State Implementation Plan (SIP)
  submissions for 19 states, including Minnesota. Air Plan Disapprovals; Interstate Transport of
  Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards, 88 FR 9336.

  March 15, 2023 – EPA issues final federal Good Neighbor Plan for the 2015 ozone NAAQS
  (publication in the Federal Register is still pending).




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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                     Exhibit G

   Petition for Reconsideration and Stay of the Final Rule: Federal “Good Neighbor
   Plan” for the 2015 Ozone National Ambient Air Quality Standards (Aug. 4, 2023)
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  August 4, 2023

  VIA E-MAIL AND FEDERAL EXPRESS


   Michael Regan (Regan.Michael@epa.gov)
   EPA Administrator
   Office of the Administrator, Mail Code 1101A
   United States Environmental Protection Agency
   1200 Pennsylvania Avenue, N.W.
   Washington, D.C. 20460


  Re: Petition for Reconsideration and Stay of the Final Rule: Federal “Good Neighbor
      Plan” for the 2015 Ozone National Ambient Air Quality Standards, EPA–HQ–OAR–
      2021–0668, 88 Fed. Reg. 36,654 (June 5, 2023)

  Dear Administrator Regan:

          On behalf of our clients, ALLETE, Inc. d/b/a Minnesota Power; Northern States Power
  Company – Minnesota; Great River Energy; Southern Minnesota Municipal Power Agency;
  Cleveland-Cliffs, Inc.; and United States Steel Corporation (collectively the “Minnesota Good
  Neighbor Coalition”), please find enclosed a petition for reconsideration and stay of the portion
  of the Environmental Protection Agency’s final rule Federal “Good Neighbor Plan” for the 2015
  Ozone National Ambient Air Quality Standards, EPA-HQ-OAR-2021-0668; 88 Fed. Reg. 36,654
  (June 5, 2023) that imposes a federal implementation plan on Minnesota for interstate transport
  of ozone under “prong 2” of the Clean Air Act, 42 U.S.C. § 7410(a)(2)(D)(i)(I).

             Please contact me with any questions you may have.

  Sincerely,

  /s/ Douglas A. McWilliams
  Douglas A. McWilliams

  Enclosure

  cc:        Elizabeth Selbst (selbst.elizabeth@epa.gov)
             Gautam Srinivasan (Srinivasan.Gautam@epa.gov)


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                     Before the United States Environmental Protection Agency

      In re: Federal “Good Neighbor Plan” for the     ) EPA Docket No. EPA–HQ–OAR–2021–
      2015 Ozone National Ambient Air Quality         ) 0668
      Standards, 88 Fed. Reg. 36,654 (June 5, 2023)   ) FRL–8670–02–OAR
                                                      )
                                                      )

       Petition for Reconsideration and for Stay of the Federal “Good Neighbor Plan” for the
                        2015 Ozone National Ambient Air Quality Standards

          ALLETE, Inc. d/b/a Minnesota Power; Northern States Power Company – Minnesota;
  Great River Energy; Southern Minnesota Municipal Power Agency; Cleveland-Cliffs, Inc.; and
  United States Steel Corporation (collectively “Petitioners”) respectfully request that the United
  States Environmental Protection Agency (“EPA”) reconsider and stay the portion of its final rule
  Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards, 88
  Fed. Reg. 36,654 (June 5, 2023) (the “FIP”) that imposes a federal implementation plan on
  Minnesota for interstate transport of ozone under “prong 2” of Clean Air Act (“CAA”) §
  110(a)(2)(D)(i)(I), 42 U.S.C. § 7410(a)(2)(D)(i)(I) (the “Good Neighbor Requirements”).

          Circumstances arising after the close of the public comment period and before the time for
  judicial review demonstrate that the FIP must be withdrawn. As a result, EPA is required to grant
  reconsideration and reevaluate both its authority to promulgate the FIP and the propriety of
  applying the FIP to Minnesota.

          First, EPA no longer has authority to promulgate the FIP for Minnesota based on a stay of
  EPA’s disapproval of “prong 2” of Minnesota’s State Implementation Plan (“SIP”).1 Air Plan
  Disapprovals; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient
  Air Quality Standards, 88 Fed. Reg. 9336 (February 13, 2023) (the “SIP Disapproval”). Without
  the SIP Disapproval, EPA’s FIP for Minnesota is ultra vires. Even in the absence of a judicial
  stay, however, EPA should reconsider and withdraw the FIP as to Minnesota because Minnesota
  submitted a timely and approvable SIP. EPA therefore had a nondiscretionary duty to approve it.

          Second, the FIP must be reconsidered because the facts on which the FIP was based have
  been dramatically altered by the stay of EPA’s disapproval of SIPs for Minnesota and several other
  states. For electric generating units (“EGUs”) in particular, the viability of a robust trading
  program that will ensure reasonable costs of compliance and adequate protection of grid reliability
  can no longer be supported.

         Third, EPA’s provision of the modeling on which it relied for the FIP after the close of the
  public comment period has revealed substantial technical errors that, once corrected, support the

  1
    EPA has divided the Good Neighbor Requirements set out in Clean Air Act (“CAA”) §
  110(a)(2)(D), 42 U.S.C. § 7410(a)(2)(D), into two “prongs.” The obligation to prohibit sources
  from emitting air pollutants in an amount which will “contribute significantly to nonattainment”
  is sometimes referred to as “prong 1,” and the obligation to prohibit sources from emitting air
  pollutants in an amount which will “interfere with maintenance” as “prong 2.”
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  conclusion that Minnesota should not be subject to the FIP. Several of these issues were detailed
  in Petitioners’ prior Petition for Reconsideration and Stay of the SIP Disapproval (“SIP Petition”),
  which Petitioners incorporate here by reference and attach as Attachment A. But additional flaws
  have been identified in light of additional modeling EPA provided only with the FIP.

         Finally, the new modeling results EPA released with its FIP establish that the FIP over-
  controls emissions from Minnesota and is therefore without statutory authority.

         Because after-arising circumstances show that the FIP should not, and indeed could not,
  have been promulgated for Minnesota, Petitioners request that EPA grant reconsideration and
  withdraw the FIP as to Minnesota.

         Further, to avoid irreparable injury, Petitioners request that EPA stay the FIP pending
  reconsideration and pending judicial review.

  I.       Background

         On October 1, 2015, EPA promulgated a revised primary and secondary 8-hour ozone
  NAAQS of 70 ppb. This created a requirement under the Clean Air Act for states to submit revised
  SIPs to EPA by October 1, 2018. See 42 U.S.C. § 7410(a)(1). SIPs were required to meet the
  applicable requirements of Clean Air Act, 42 U.S.C. § 7410(a)(2), including the obligations,
  sometimes referred to as “Good Neighbor” obligations, to:

           (D) Contain adequate provisions—

                  (i) prohibiting, consistent with the provisions of this subchapter,
                  any source or other type of emissions activity within the State from
                  emitting any air pollutant in amounts which will—

                          (I) contribute significantly to nonattainment in, or interfere
                          with maintenance by, any other State with respect to any
                          such national primary or secondary ambient air quality
                          standard….2

  The obligation to prohibit sources from emitting air pollutants in an amount which will “contribute
  significantly to nonattainment” is sometimes referred to as “prong 1,” and the obligation to prohibit
  sources from emitting air pollutants in an amount which will “interfere with maintenance” as
  “prong 2,” of the Good Neighbor obligation. EPA concluded that Minnesota complies with prong
  1 as it does not contribute significantly to nonattainment in any other State. Minnesota is
  implicated in the FIP only due to EPA’s conclusion that it interferes with maintenance under prong
  2 at a single monitor location in Cook County, Illinois.

           While EPA has never promulgated regulations imposing more specific interstate transport
  requirements than what is contained in the statutory text, EPA has developed a 4-step framework
  that it used to develop the FIP:


  2
      42 U.S.C. § 7410(a)(2)(D).

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      (1) Identify monitoring sites that are projected to have problems attaining and/or maintaining
          the NAAQS (i.e., nonattainment and/or maintenance receptors);

      (2) identify states that impact those air quality problems in other (i.e., downwind) states
          sufficiently such that the states are considered ‘‘linked’’ and therefore warrant further
          review and analysis;

      (3) identify the emissions reductions necessary (if any), applying a multifactor analysis, to
          eliminate each linked upwind state’s significant contribution to nonattainment or
          interference with maintenance of the NAAQS at the locations identified in Step 1; and

      (4) adopt permanent and enforceable measures needed to achieve those emissions reductions.3

          While this framework is not binding on States, Minnesota applied it to develop its SIP.4 In
  doing so, Minnesota used 2018 modeling that EPA had developed and submitted to States for their
  use in developing SIPs to identify monitoring sites projected to have problems attaining or
  maintaining the 2015 ozone NAAQS in 2023.5 Minnesota also supplemented this modeling with
  modeling developed by the Lake Michigan Air Directors Consortium (“LADCO”).6 Both models
  showed that Minnesota contributed less than 1 percent of the NAAQS to all downwind receptors,
  with a highest receptor contribution from either model of 0.45 ppb.7 Thus, following EPA’s 4-
  factor framework, and using EPA’s own modeling, Minnesota demonstrated that it was not
  contributing significantly to, or interfering with maintenance of, the 2015 ozone NAAQS in any
  downwind state.

          Notably, Minnesota took a conservative approach in reaching this conclusion. In three
  guidance memoranda, EPA identified multiple areas where States could exercise flexibility in
  developing their SIPs, including in the Transport Memo itself, a separate memorandum published
  later that year supporting a threshold higher than 1% for determining significant contributions and
  interference with maintenance at step 2,8 and a memorandum published after the SIP submission



  3
    FIP at 36,659.
  4
    Minnesota’s 110(a)(1) and 110(a)(2) “Infrastructure” State Implementation Plan requirements
  for the National Ambient Air Quality Standards for Ozone, Promulgated in 2015, EPA-R05-
  OAR-2022-0006-0005, at 5 (October 1, 2018) (“2018 SIP”) (attached as Attachment B).
  5
    2018 SIP at 5-9; Information on the Interstate Transport State Implementation Plan
  Submissions for the 2015 Ozone National Ambient Air Quality Standards under Clean Air Act
  Section 110(a)(2)(D)(i)(I), https://www.epa.gov/sites/default/files/2018-
  03/documents/transport_memo_03_27_18_1.pdf at 2-3 (March 27, 2018) (“Transport Memo”).
  6
    2018 SIP at 8-9.
  7
    Id.
  8
    Analysis of Contribution Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I)
  Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National
  Ambient Air Quality Standards, https://www.epa.gov/sites/default/files/2018-
  09/documents/contrib_thresholds_transport_sip_subm_2015_ozone_memo_08_31_18.pdf (Aug.
  31, 2018) (“Threshold Memo”).

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  deadline identifying flexibilities States could use in identifying maintenance-only monitors.9
  Minnesota’s SIP submission demonstrated that Minnesota had met its Good Neighbor
  requirements even without exercising any of these flexibilities.10 In other words, while Minnesota
  was not required to, it followed EPA’s own framework and did not rely on additional flexibilities
  to demonstrate that it had satisfied its Good Neighbor obligations.11

          This alone would have been sufficient to satisfy Minnesota’s Good Neighbor obligation.
  Minnesota also, however, included in its SIP submission a “step 3” analysis demonstrating that
  Minnesota emissions of ozone precursors had been reduced from 2002 through 2015 and would
  be further reduced by emission limitations and reductions required by other programs.12 Under
  this step 3 analysis, Minnesota demonstrated that, even if the state were having more than an
  insignificant impact on downwind receptors (as EPA now asserts), Minnesota’s existing glidepath
  of emissions reductions still supported a finding that no further emission control measures would
  be needed to address this impact. EPA did not meet its obligation to approve or deny Minnesota’s
  complete and approvable SIP within 12 months of submittal.

           Approximately three years after EPA’s deadline to approve the Minnesota SIP, EPA
  proposed to disapprove Minnesota’s SIP on February 22, 2022, along with SIPs from 18 other
  states.13 EPA did not identify a technical error in Minnesota’s submission or any inconsistency
  with the Good Neighbor requirements, or even EPA’s own framework. In fact, EPA recognized
  that “the modeling the MPCA used relied on the most recently available EPA modeling at the time
  the state submitted its SIP submittal.”14 Nonetheless, EPA proposed to reject Minnesota’s SIP
  because EPA chose to rely “on the Agency’s most recently available modeling, which uses a more
  recent base year and more up-to-date emissions inventories, to identify upwind contributions and
  ‘linkages’ to downwind air quality problems in 2023 using a threshold of 1 percent of the
  NAAQS.”15 EPA called this new modeling its “2016v2” modeling.16 Based on this alternative
  modeling, EPA proposed to reject Minnesota’s conclusion that it was not linked to a downwind



  9
    Consideration for Identifying Maintenance Receptors for Use in Clean Air Act Section
  110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for the 2015
  Ozone National Ambient Air Quality Standards, https://www.epa.gov/sites/default/files/2018-
  10/documents/maintenance_receptors_flexibility_memo.pdf at 3 (Oct. 19, 2018) (“Maintenance
  Memo”).
  10
     2018 SIP at 6.
  11
     Minnesota, of course, could have taken a different approach, and might have used some of
  these flexibilities, had EPA indicated during the statutory review period that it was considering
  disapproving prong 2 of Minnesota’s SIP.
  12
     2018 SIP at 9-12; see also id. at 13.
  13
     Air Plan Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air Plan
  Disapproval; Region 5 Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National
  Ambient Air Quality Standards, 87 Fed. Reg. 9,838, 9,868 (February 22, 2022) (“Proposed SIP
  Disapproval Rule”).
  14
     Id. at 9,867.
  15
     Id.
  16
     Id.

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  receptor, and to find instead that Minnesota was linked to two maintenance monitors in Cook
  County, Illinois, one with a maximum contribution of 0.97 ppb and the other 0.79 ppb.17

          Less than two months after proposing to disapprove Minnesota’s SIP, EPA proposed its
  own FIP for Minnesota along with 25 other states.18 EPA used the same 2016v2 modeling as the
  basis for its FIP.19 Relying on this modeling, EPA proposed to find that Minnesota “is significantly
  contributing to downwind nonattainment or interfering with maintenance of the 2015 ozone
  NAAQS in other states, based on projected nitrogen oxides (NOx) emissions in the 2023 ozone
  season.”20

          On February 13, 2023, EPA published the SIP Disapproval. In its final rule, EPA approved
  Minnesota’s SIP as to “prong 1” but disapproved Minnesota’s SIP as to “prong 2.”21 Rather than
  use the emissions data and modeling available to Minnesota in 2018, or even emissions data and
  modeling available at the time of the proposed SIP disapproval, EPA made a number of additional
  updates to its emissions inventories and model design to construct a new 2016v3 emissions
  platform, which it used to generate new air quality modeling without seeking public comment to
  allow affected party input to help the agency assess the accuracy of the new information utilized
  in the modeling.22 Minnesota was now no longer linked to two downwind receptors. It was now
  linked to only a single maintenance-only receptor, at a maximum contribution of 0.85 ppb for
  2023. 23 While EPA also conducted updated modeling for 2026, it did not release this information
  in the docket for the SIP Disapproval, stating it was “not applicable” and “not used in this final
  action.”24

          Only a month later, the Administrator signed the FIP and EPA made the full modeling
  results for the 2016v3 platform available to the public.25 Based on EPA’s modeling for 2026,
  Minnesota is not linked to any downwind nonattainment or maintenance-only receptor in its base
  case modeling, with the largest contribution to downwind nonattainment or maintenance-only
  receptors being 0.32 ppb.26 In fact, the sole maintenance-only receptor Minnesota was linked to
  in 2023 in EPA’s 2016v3 modeling is modeled in attainment in EPA’s 2026 modeling.27 Notably,
  this modeling assumes no installation of additional pollution controls in Minnesota. Indeed, the



  17
     Id. at 9,868.
  18
     Federal Implementation Plan Addressing Regional Ozone Transport for the 2015 Ozone
  National Ambient Air Quality Standard (“Proposed FIP”), 87 Fed. Reg. 20,036 (April 6, 2022).
  19
     Id. at 20,082.
  20
     Id. at 20,038 and 20,071-73.
  21
     See SIP Disapproval at 9,357.
  22
     See id. at 9,339.
  23
     Id. at 9,357.
  24
     Id. at 9,344, n.49.
  25
     https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs.
  26
     FIP at 36,710, Table IV.F–2; see also id. at 36,660 (finding Minnesota will not “continue to
  contribute above the 1 percent of the NAAQS threshold to at least one receptor whose
  nonattainment and maintenance concerns persist through the 2026 ozone season”).
  27
     Id. at 36,743, Table V.D.1–2.

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  only emissions reductions included from Good Neighbor obligations in EPA’s modeling are an
  annual reduction of 139 tons NOx from emissions control optimization at EGUs.28

           Despite the minimal connection of a single maintenance-only receptor that is modeled to
  be in attainment by 2026 without any FIP-based reductions from Minnesota, the FIP concludes
  that Minnesota “is significantly contributing to nonattainment or interfering with maintenance of
  the 2015 ozone NAAQS in downwind states, based on projected ozone precursor emissions in the
  2023 ozone season.” FIP at 36,656. As a result, the FIP requires Minnesota to participate for the
  first time in EPA’s revised version of the Cross-State Air Pollution Rule (“CSAPR”) NOx Ozone
  Season Group 3 Trading Program beginning in the 2023 ozone seas. Id. at 36,657-58.

          At Step 3 of its framework, EPA did not separately analyze States significantly contributing
  to nonattainment versus interfering with maintenance. As a result, EPA determined that all States,
  regardless of their downwind impact, would be required to implement “emissions reductions
  commensurate with the full operation of all existing post-combustion controls (both SCRs and
  SNCRs) and state-of-the-art combustion control upgrades.” Id. at 36,660. The result is that
  Minnesota is subject to the same “Group 3 trading program budget-setting methodology,” the same
  “preset ozone season NOx emissions budgets for each ozone season from 2023 through 2029,”
  and the same “enhancements,” such as dynamic budget setting, recalibration of banked allowances,
  and backstop daily emissions rate as States significantly contributing to nonattainment. Id. at
  36,662-63.29

          Several Petitioners petitioned for judicial review of the SIP Disapproval in ALLETE v.
  EPA, Case No. 23-1776 (8th Cir.), and moved to stay the SIP Disapproval pending judicial review.
  The motion was granted and the Eighth Circuit stayed the SIP Disapproval on July 5, 2023.30
  Petitioners understand from conversations with the United States Department of Justice (“DOJ”)
  that EPA considers the FIP inapplicable to Minnesota while the stay is in place. And indeed EPA
  has acknowledged that a stay of the FIP is necessary to comply with court-ordered stays of other
  SIP disapprovals. See Federal ‘‘Good Neighbor Plan’’ for the 2015 Ozone National Ambient Air
  Quality Standards; Response to Judicial Stays of SIP Disapproval Action for Certain States, 88
  Fed. Reg. 49,295 (July 31, 2023) (“Interim Final Rule”). To date, however, EPA has taken no
  regulatory action to withdraw or stay the FIP for Minnesota. Action has been taken only in the
  form of an interim final rule for the States of Arkansas, Kentucky, Louisiana, Mississippi,
  Missouri, and Texas. Id.



  28
       Compare id. at 36,737, Table V.C.1-1; 36,738, Table V.C.1-2; and 36,785-86, Table VI.B.4.c-
  1.
  29
     Minnesota’s EGU budgets for 2026 and beyond do not reflect additional emission reductions
  achievable after 2026 and Minnesota is not subject to non-EGU requirements applicable to other
  states starting in 2026. Id. at 36,660 and 36,691, n.117. These differences from most States are
  due to Minnesota not being linked to any nonattainment or maintenance-only receptor as of
  2026, not to EPA giving independent significance state as a maintenance-only State or its limited
  impact on only a single maintenance-only receptor before 2026.
  30
     Order (“Stay Order”), ALLETE, Inc. v. EPA, Case No. 23-1776, ECF 5292580 (8th Cir. July 5,
  2023).

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  II.    Grounds for Reconsideration of the SIP Disapproval

          Under the Clean Air Act, reconsideration is required “[i]f the person raising an objection
  can demonstrate to the Administrator that it was impracticable to raise such objection within such
  time or if the grounds for such objection arose after the period for public comment (but within the
  time specified for judicial review) and if such objection is of central relevance to the outcome of
  the rule.”31 Courts have found that an objection was “impractical to raise” “when the final rule
  was not a logical outgrowth of the proposed rule.” Alon Refining Krotz Springs, Inc. v. EPA, 936
  F.3d 628, 648 (D.C. Cir. 2019) (per curiam). In other words, when interested parties would not
  have “anticipated that the change was possible, and thus reasonably should have filed their
  comments on the subject during the notice-and-comment period.” CSX Transp., Inc. v. Surface
  Transp. Bd., 584 F.3d 1076, 1080 (D.C. Cir. 2009) (internal quotations omitted). An objection is
  of central relevance to the outcome of the rule if it “provides substantial support for the argument
  that the regulation should be revised.” Chesapeake Climate Action Network v. EPA, 952 F.3d 310,
  322 (D.C. Cir. 2020). Under the Administrative Procedure Act (“APA”), EPA has “broad
  discretion to reconsider” its regulatory actions “at any time.” Clean Air Council v. Pruitt, 862 F.3d
  1, 8-9 (D.C. Cir. 2017).32

          Significant developments since the close of the of the public comment period on the FIP
  require reconsideration. First, due to the after-arising Stay Order, EPA does not have authority to
  promulgate the FIP for Minnesota. It therefore must be withdrawn. Notably, even without the
  Stay Order, EPA’s modeling results, released without opportunity for public comment, confirm
  that Minnesota’s SIP submission was approvable at the time it was submitted, underscoring that
  EPA should not have issued the FIP for Minnesota and should now withdraw it. Second, the after-
  arising Stay Order, combined with similar stays of SIP disapprovals issued by courts for nine other
  States, undermines the factual foundation on which EPA constructed the FIP and renders the FIP
  no longer tenable. Third, the FIP is not a logical outgrowth of the Proposed FIP. EPA’s modeling
  platform changed significantly, as did the modeling results for Minnesota. The result is a FIP for
  which Petitioners did not have notice or an opportunity to comment. Because EPA did not have
  the benefit of notice and comment on its 2016v3 modeling, EPA was also unable to address
  significant errors in its modeling platform prior to finalization of the FIP that undermine its
  conclusion that Minnesota should be subject to the FIP. Finally, in light of EPA’s new modeling,
  the FIP clearly overcontrols NOx emissions from Minnesota, which is prohibited by the Supreme
  Court’s interpretation of the Clean Air Act. EPA v. EME Homer City Generation, L.P. 572 U.S.
  489, 523 (2014) (“EPA has a statutory duty to avoid over-control”).




  31
     42 U.S.C. § 7607(d)(7)(B).
  32
     See also Trujillo v. Gen. Elec. Co., 621 F.2d 1084, 1086 (10th Cir. 1980) (“Administrative
  agencies have an inherent authority to reconsider their own decisions, since the power to decide
  in the first instance carries with it the power to reconsider.”); United Gas Improvement Co. v.
  Callery Properties, Inc., 382 U.S. 223, 229 (1965) (“An agency, like a court, can undo what is
  wrongfully done by virtue of its order.”)

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         A.      EPA Does Not Have Authority to Promulgate the FIP for Minnesota.

                 1.      The Stay Order Renders the FIP Ultra Vires as to Minnesota.

          Minnesota submitted an approvable SIP in 2018. In February 2023, EPA approved “prong
  1” of Minnesota’s SIP based on EPA’s finding that Minnesota does not contribute significantly to
  nonattainment in any downwind state. EPA disapproved Minnesota’s SIP as to “prong 2,” finding
  that Minnesota was linked to interference with maintenance of a single downwind maintenance-
  only receptor. SIP Disapproval at 9,357. That action, however, was challenged by several
  Petitioners and the Eighth Circuit has stayed the disapproval of Minnesota’s SIP pending judicial
  review. Stay Order.

          The Stay Order was issued July 5, 2023, “after the period for public comment (but within
  the time specified for judicial review).” 42 U.S.C. § 7607(d)(7)(B). It is also of central relevance
  to the FIP. The Clean Air Act requires EPA to first disapprove a SIP, or find that the States has
  failed to submit a SIP, before EPA can promulgate a FIP. 42 U.S.C. § 7410(c)(1). EPA has
  acknowledged already that the stay of similar SIP disapprovals for other States deprives it of
  authority to issue the FIP for those States. Interim Final Rule (“EPA must act to ensure that the
  Good Neighbor Plan’s requirements…in each of the states for which a stay order has been issued
  will not take effect while the stay of the SIP Disapproval action as to that state remains in place.”).
  The Stay Order therefore renders the FIP for Minnesota ultra vires. 42 U.S.C. § 7607(d)(9); Bowen
  v. Georgetown Univ. Hospital, 488 U.S. 204, 208 (1988) (“It is axiomatic that an administrative
  agency’s power to promulgate legislative regulations is limited to the authority delegated by
  Congress.”); U.S. ex rel. O’Keefe v. McDonnell Douglas Corp., 132 F.3d 1252, 1257 (8th Cir.
  1998) (“An agency’s promulgation of rules without valid statutory authority implicates core
  notions of the separation of powers, and we are required by Congress to set these regulations
  aside.”).

          On reconsideration, EPA should withdraw the FIP for Minnesota. While EPA has, as of
  the date of this submission, taken no official action on the FIP for Minnesota, EPA has begun to
  act with respect to several states for which similar judicial stays have been issued. Interim Final
  Rule at 49,295 (taking action with respect to “Arkansas, Kentucky, Louisiana, Mississippi,
  Missouri, and Texas only”). Petitioners note that, in acting with respect to Minnesota, action
  identical to EPA’s Interim Final Rule would be insufficient. The Interim Final Rule issues a “stay
  [that] is limited to requirements for which the EPA does not currently have authority to
  implement…pending judicial review.” Id. This is insufficient for two reasons. First, the Clean
  Air Act requires EPA to disapprove the State’s SIP before it can “promulgate a Federal
  implementation plan.” 42 U.S.C. § 7410(c)(1) (emphasis added). EPA cannot promulgate, and
  then stay, the FIP. It must withdraw it. See Union Pacific Railroad Co. v. Dept. of Homeland
  Security, 738 F.3d 885, 900 (8th Cir. 2013) (agency action that is “‘unlawful’…must be ‘set
  aside’”) (quoting 5 U.S.C. § 706(2).

          Second, merely staying the FIP will not fulfill the requirements of the Stay Order. A stay
  pending judicial review is issued to preserve the status quo and prevent the incurrence of imminent
  and irreparable harm pending judicial review. See Nken v. Holder, 556 U.S. 418, 426 (2009). The
  Interim Final Rule stays the effective date of the FIP but it makes no provision for modifying the
  deadlines in the FIP that will apply if the FIP is not vacated after the stay is lifted. As a result,


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  even as modified by the Interim Final Rule, there is no provision in the FIP to extend deadlines
  applicable to Minnesota when the stay is lifted to allow the time needed to come into compliance.
  The result is that Petitioners must either trust EPA enforcement discretion and equitable relief, or
  be prepared to participate in the Group 3 trading program on a moment’s notice.

         To mitigate this risk, Petitioners will need to take many of the same actions that they would
  have been required to take had the FIP not been stayed (which again EPA has not done for
  Minnesota). This would not effectuate the stay order issued by the Eight Circuit. EPA must
  reconsider its FIP and withdraw it or, at a minimum, both stay the effective date of the FIP as to
  Minnesota and extend all applicable deadlines for the duration of the stay.

                 2.      EPA Has a Nondiscretionary Duty to Approve Minnesota’s SIP

          Even absent a judicial stay of the SIP Disapproval, EPA should reconsider and withdraw
  the FIP as to Minnesota because Minnesota submitted a timely and approvable SIP. As discussed
  in Petitioners’ SIP Petition, which is attached hereto and incorporated by reference, Minnesota
  timely submitted a SIP that meets the requirements of the Clean Air Act. As a result, EPA has a
  nondiscretionary duty to approve Minnesota’s SIP.

          While EPA conducted modeling after the SIP submission deadline that EPA believes
  brings into question the adequacy of Minnesota’s SIP, this does not give EPA the authority to
  disapprove Minnesota’s SIP. The Clean Air Act sets forth specific procedures for addressing
  information that arises after an approvable SIP is submitted, and none involve disapproval of a
  pending SIP submission. Further, EPA has not attempted to use any of these procedures to address
  the after-arising 2016v3 modeling.

         Further, while it was improper for EPA to use the SIP approval process to introduce its
  2016v3 modeling, as discussed in the attached SIP Petition, the 2016v3 modeling has data errors
  for Minnesota emission units and significant bias at the key modeling receptor at which EPA found
  a purported link to Minnesota. Correcting this bias alone would demonstrate even under the
  2016v3 modeling that Minnesota has no link to a downwind nonattainment or maintenance-only
  receptor and that the conclusions in Minnesota’s 2018 SIP are still correct.

         B.      The Factual Predicate for the FIP is No Longer Supportable.

          In addition to the Stay Order, SIP disapprovals for nine other States have been stayed as of
  the filing of this petition after the close of the public comment period but before the time for
  judicial review: Arkansas, Kentucky, Louisiana, Mississippi, Missouri, Nevada, Oklahoma,




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  Texas, and Utah.33 Additional motions to stay are pending.34 As discussed above, since these SIP
  disapprovals were EPA’s legal prerequisite for promulgation of the FIP, EPA has already
  recognized that it now lacks authority to apply the FIP to these States pending judicial review.
  Moreover, because a stay is predicated on a finding a likelihood of success on the merits, there is
  a substantial likelihood that the FIP will never apply to most or all of these States. See Nken, 556
  U.S. at 434.

          These States represent a large portion of the emission allowances that EPA assumed would
  be available for trading in the Group 3 trading program, both to maintain a reasonable cost of
  compliance and to ensure adequate grid reliability. See FIP at 36,766, n.295 (the “trading
  program…depend[s] on the existence of a marketplace for purchasing and selling allowances”);
  id. at 36,789 (noting the importance of “allowance market liquidity” especially during the 2024-
  2029 period); id. at 36,774 (citing “the use of a trading program as the mechanism for
  achieving…emissions reductions” as a factor in finding no “material risk of adverse impact to
  electric system reliability” and as the reason why additional accommodation for “reliability-related
  need” was unnecessary). The emissions reductions from these States were also a significant factor
  in the policy cases used by EPA for its IPM modeling with Steps 1 and 2 and its AQAT modeling
  for Steps 3 and 4. Accordingly, the legal and factual basis for the FIP has so fundamentally
  changed that the FIP can no longer stand on the current administrative record.

          EPA must therefore reconsider the FIP and determine whether, in light of the
  inapplicability of the FIP for the above states pending judicial review (which may extend into the
  2024 ozone trading season) and likely permanently, requires modification or withdrawal of the
  FIP for those remaining States, as well as the above States.

         C.      The FIP is Based on Evidence that was Not Subject to Notice and Comment.

                 1.      The FIP Relies on Modeling That was Not Publicly Available until EPA
                         Signed the FIP.

         The proposed FIP was based on modelling that EPA refers to as its “2016v2” modeling.
  See FIP at 36,673. The public comment period closed in June 2022 without any change in EPA’s
  modeling, but EPA did not rely on the 2016v2 results for the FIP. Instead, EPA “revised its 2016v2
  modeling platform and input since the platform was made available for comment” to create the
  2016v3 modeling. Id. at 36,674. It then “reassessed” its modeling results “to inform the final

  33
     See Unpublished Order, Texas v. EPA, Case No. 23-60069, ECF 269-1 (May 1, 2023) (staying
  Texas and Louisiana SIP disapprovals); Arkansas v. EPA, Case No. 23-1320, ECF 5280996
  (May 25, 2023) (staying Arkansas SIP disapproval); Order, Missouri v. EPA, Case No. 23-1719,
  ECF 5281126 (May 26, 2023) (staying Missouri SIP disapproval); Unpublished Order, Texas v.
  EPA, Case No. 23-60069, ECF 359-2 (June 8, 2023) (staying Mississippi SIP disapproval);
  Nevada Cement Co. v. EPA, Case No. 23-682, ECF 27.1 (July 3, 2023) (staying Nevada SIP
  disapproval); Order, Kentucky v. EPA, Case No. 23-3216, ECF 39-2 (July 25, 2023) (staying
  Kentucky SIP disapproval); Order, Utah v. EPA, Case No. 23-9509, ECF 010110895101 (July
  27, 2023) (staying Oklahoma and Utah SIP disapprovals).
  34
     See Ohio v. EPA, Case No. 23-1183 (D.C. Cir); West Virginia v. EPA, Case No. 23-1418 (4th
  Cir.); Alabama v. EPA, Case No. 23-11196 (11th Cir.).

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  action.” Id. These were not minor amendments. EPA “evaluated a raft of technical information
  and critiques of its 2016v2 modeling” and “incorporated updates into the version of the modeling
  used to support this final rule (2016v3).” Id. Further, while EPA released some of its 2016v3
  results with the SIP Disapproval in February 2023, it withheld the results for model year 2026,
  asserting that these results were “not applicable and were not used in this final action.” SIP
  Disapproval at 9,344, n.30. As a result, EPA did not release the full modeling results on which
  the FIP is based until it signed the FIP in March 2023.

          This was “highly improper.” Small Ref. Lead Phase-Down Task Force v. EPA, 705 F.2d
  506, 540 (D.C. Cir. 1983); see also Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C. Cir. 1982)
  (finding EPA had not provided adequate opportunity for public comment on economic modeling
  placed in the docket only one week before promulgation of its final regulations). EPA’s
  rulemaking process requires adequate public notice and an opportunity to comment. Small Ref.,
  705 F.2d at 547. This includes providing the public with the evidence on which EPA intends to
  rely. Id. at 540. If “documents of central importance upon which EPA intended to rely ha[ve]
  been entered on the docket too late for any meaningful public comment prior to promulgation, then
  both the structure and spirit of section 307 [are] violated.” Sierra Club v. Costle, 657 F.2d 298,
  400 (D.C. Cir. 1981).

         EPA’s late addition of modeling central to its FIP alone justifies reconsideration.

                 2.      The FIP Omitted Public Comment on Critical Modeling Inputs, Leaving
                         Reconsideration the Only Option for Correcting Material Errors.

          Because EPA did not submit its 2016v3 modeling to notice and comment, EPA could not
  benefit from public review of EPA’s emissions data and model results. The new emissions
  inventory and modeling platform are of central relevance to EPA’s rule. EPA identifies the 2016v3
  platform as “the version of the modeling used to support this final rule.” FIP at 36,674. Further,
  while the FIP asserts that its “modeling on the whole has provided consistent outcomes regarding
  which states are linked to downwind air quality problems,” EPA acknowledges this is not the case
  for Minnesota, which “went from being unlinked to being linked in 2023 between the 2011-based
  modeling provided in the March 2018 memorandum and the 2016v3-based modeling.” Id.
  Moreover, while this linkage is present in both the 2016v2 and 2016v3 modeling, it is far more
  attenuated in the 2016v3 modeling, which identifies only a single maintenance-only receptor, to
  which Minnesota is “linked” by a maximum modeled contribution of 0.85 ppb. See id. at 36,710,
  Table IV.F–1.

          While there have been errors in each of EPA’s modeling at each stage of the regulatory
  process, the errors in the 2016v3 emissions inventory and modeling arose only with the publication
  of the final SIP Disapproval and FIP. As a result, errors in EPA’s 2016v3 modeling could not
  have been submitted to EPA during the public comment period for the FIP, which closed in June
  2022.

         In their SIP Petition, Petitioners identified material errors in the limited time Petitioners
  had to review the 2016v3 data prior to the time for judicial review. SIP Petition at 8-10. This
  included significant errors in EPA’s estimate of NOx emissions for 2023, such as EPA’s addition
  of 2,822 tons of NOx for Northshore Mining Co. – Silver Bay power for boilers that have been


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  idled since October 2019 and are expected to have zero emissions in 2023. Id. at 8. It also included
  identification of significant bias in the majority of modeled days used to establish a link to
  Minnesota. Id. at 9-10. These errors were obviously not corrected before EPA relied on the same
  modeling to support the FIP, since the Administrator had already signed the FIP a month earlier.
  They are, however, centrally relevant to EPA’s determination that Minnesota should be subject to
  the FIP. As addressed in the SIP Petition, correcting bias outside EPA guidelines alone would
  likely result in Minnesota no longer being linked to any downwind maintenance-only receptors.
  Id. at 10.

          Since the submission of the SIP Petition, Petitioners have identified additional
  discrepancies in EPA’s air quality modeling. As discussed in the attached Report of Alpine
  Geophysics, Attachment C (“Report”), EPA failed to appropriately estimate 2023 base case
  emissions for multiple upwind EGU sources using IPM, thereby compromising the modeled
  downwind ozone concentrations, associated downwind monitor nonattainment designations, and
  the resulting significant contribution calculations on which EPA relied, not just for Minnesota, but
  for every state with a modeled contribution to the Alsip/Village Garage receptor (the sole receptor
  creating a “link” to Minnesota in the FIP). Report at 51. If EPA had properly characterized
  emissions from these States using historical operation trends (as it did in the Step 3 process), the
  Alsip/Village Garage receptor may have been modeled in attainment, not as a maintenance
  receptor, removing Minnesota from the FIP at Step 2. Id.

         Given the above considerations and Minnesota’s unique circumstances, EPA should grant
  reconsideration to reassess Minnesota’s impact on downwind maintenance of attainment to
  determine whether further emission reductions in a FIP are needed for Minnesota to satisfy its
  prong 2 Good Neighbor obligations.

         D.      The FIP Overcontrols Emissions from Minnesota.

          The Supreme Court has made clear that EPA cannot implement a FIP that “over-controls”
  emissions by requiring “reductions unnecessary to downwind attainment anywhere.” EME Homer
  City, 572 U.S. at 522 (emphasis in original). In particular, courts will find over-control “when
  those downwind locations [to which a State has been linked] would achieve attainment even if less
  stringent emissions limits were imposed on the upwind States linked to those locations.” EME
  Homer City Generation, L.P. v. EPA, 795 F.3d 118, 127 (D.C. Cir. 2015). Similarly, the Supreme
  Court has noted that “EPA is limited, by the second part of the [Good Neighbor] provision, to
  reduce only by ‘amounts’ that ‘interfere with maintenance,’ i.e., by just enough to permit an
  already-attaining State to maintain satisfactory air quality.” EME Homer City, 572 U.S. at 515,
  n.18 (quoting 42 U.S.C. § 7410) (emphasis in original); see also EME Homer City, 795 F.3d at
  127, n.4 (“The Supreme Court held that the same was true for upwind States that ‘interfere with
  maintenance’ at downwind locations.”).

         EPA acknowledged that Minnesota is not significantly interfering with attainment of the
  NAAQS in any downwind State when it approved prong 1 of Minnesota’s SIP. SIP Disapproval
  at 9,357. Thus, the “reductions” the FIP imposes on Minnesota are “unnecessary to downwind
  attainment anywhere.” EME Homer, 572 U.S. at 522. EPA concluded in the FIP that Minnesota
  should nonetheless be subject to the FIP because of a single modeled maintenance-only receptor



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  to which EPA determined that Minnesota has a maximum impact of 0.85 ppb in 2023. See FIP at
  36,710, Table IV.F–1.

           EPA’s own 2016v3 modeling for 2026, however, shows that this same receptor will be in
  full attainment by 2026 with no reductions from Minnesota other than already “on the books” rules
  and regulations.35 In other words, EPA’s 2026 modeling establishes that the sole receptor linking
  Minnesota in the FIP “will achieve attainment even if less stringent emissions limits were imposed
  on the upwind States linked to those locations.” EME Homer City, 795 F.3d at 127. Indeed, it
  will achieve attainment even if no emission limits are imposed in the FIP. This is the definition of
  over-control.

          EPA also cannot reasonably assert that Minnesota should be subject to the FIP to prevent
  interference with maintenance before 2026. First, even in the two ozone seasons (at most) that the
  FIP would apply to Minnesota, EPA’s modeling projects an impact on the Alsip/Village Garage
  monitor of approximately 0.0010 ppb.36 This de minimis contribution cannot be said to be
  necessary to eliminate to “permit an already-attaining State to maintain satisfactory air quality.”
  EME Homer City, 795 F.3d at 127, n.4. Second, even if this were the case, it would not justify
  continued application of the FIP to Minnesota in 2026 and beyond, as the FIP does.

          EPA’s modeling results were not made publicly available until 2023. As a result, they
  clearly arose “after the period for public comment (but within the time specified for judicial
  review).” 42 U.S.C. § 7607(b)(1). They are also of central relevance to the FIP as applied to
  Minnesota. As the Supreme Court has made clear, a FIP that results in over-control is “outside
  the Agency’s statutory authority.” EME Homer City, 572 U.S. at 522. EPA must therefore grant
  reconsideration and modify the FIP as to Minnesota to eliminate over-control. Moreover, because
  EPA’s own modeling shows that no emission reductions from Minnesota are needed for attainment
  of the NAAQS in every downwind State, EPA should find on reconsideration that no emission
  reductions are needed from Minnesota to satisfy the State’s Good Neighbor obligations.

  III.   Grounds for Stay of the FIP.

         EPA has authority to stay the FIP both pending reconsideration and pending judicial
  review. First, a stay pending reconsideration can be granted for three months. 42 U.S.C. §
  7607(d)(7). Second, EPA has authority under the APA to stay the FIP pending judicial review.

         A.      A Stay Pending Reconsideration is Appropriate.

          The Clean Air Act provides that, if EPA grants reconsideration of a rule, “[t]he
  effectiveness of the rule may be stayed during such reconsideration…by the Administrator or the

  35
     See Air Quality Modeling Final Rule Technical Support Document,
  https://www.epa.gov/system/files/documents/2023-
  03/AQ%20Modeling%20Final%20Rule%20TSD.pdf at 17, Table 3-5 (showing Monitor
  170310001 no longer listed as a monitor-only receptor in the 2026 base case).
  36
     See Ozone AQAT Final, EPA-HQ-OAR-2021-0668-1116 (comparing 2023 Base Case tab
  [2023_step3_base; value 0.850667659939893 ppb] with SCR/SNCR Optimization tab
  [2023_step3_SNCRopt; value 0.849648804871336 ppb]).

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  court for a period not to exceed three months.” 42 U.S.C. § 7607(d)(7)(B). A stay pending
  reconsideration is justified here.

         As discussed above, the FIP was not legally promulgated for Minnesota and cannot now
  be enforced.

         Further, EPA issued a final rule based primarily on emissions data and modeling that it did
  not make publicly available before issuance of the final rule. Even upon publication, EPA’s release
  of data was partial and inadequate to reconstruct the modeling that EPA used for its final
  determinations. Obtaining the data and checking its accuracy has taken several weeks. It would
  take many more weeks to rerun EPA’s modeling to confirm the results in the FIP and identify
  additional areas of concern to those raised in this Petition.

          EPA will also likely need time to evaluate the errors Petitioners have identified already and
  discussed above. This modeling will likely require several weeks and, given the likelihood that it
  will result in withdrawal or modification of the FIP as to Minnesota, should be evaluated before
  the FIP is made applicable to Minnesota.

         A stay will also not unduly impact downwind states. The FIP cannot be enforced in
  Minnesota during the pendency of the current SIP Disapproval litigation, which will likely not be
  resolved for the duration of a reconsideration stay, which is limited to three months. Moreover,
  Minnesota is not modeled to contribute to nonattainment in any downwind state, and under EPA’s
  most recent modeling, Minnesota is linked only to a single maintenance-only receptor for which
  EPA’s own modeling shows the receptor will be in full attainment by 2026 without any reductions
  from Minnesota. As a result, a stay pending reconsideration will have no impact on downwind
  attainment or maintenance of the NAAQS.

         B.      EPA Should Stay the Effective Date of the FIP Pending Judicial Review.

          Under the APA, EPA may stay the effective date of the FIP pending judicial review when
  “justice so requires.” 5 U.S.C. §705. Multiple petitions have already been filed for judicial review,
  including petitions by Texas, Utah, Ohio, Indiana, West Virginia, and Oklahoma. More are likely,
  including a petition for judicial review of EPA’s FIP for Minnesota, which is being filed
  contemporaneously with this Petition. These cases are already spread across three circuits, and
  additional litigation may expand the number of courts further.

          The effective date of the FIP is August 4, 2023, but the FIP already cannot be applied in
  several states, including Minnesota, because of stays of the SIP Disapprovals required to authorize
  promulgation of the FIP. A stay pending judicial review will simply reflect the legal reality that
  is already mandated by stays of EPA’s SIP Disapproval. Further, the significant legal flaws in
  EPA’s FIP discussed above, coupled with the technical and legal concerns it raises, make it likely
  that judicial review will result in a remand if not vacatur of the FIP. As a result, to avoid the
  unnecessary expenditure of EPA resources on a FIP, state resources on FIP implementation, and
  the resources of the public and regulatory industries in addressing a FIP that is likely to not be
  required, justice requires that the FIP be stayed pending judicial review.




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          Further, while EPA is not bound to apply the same four-factor analysis used by courts for
  granting a judicial stay pending review, these factors indicate support for EPA in granting a stay
  of the FIP. Under this standard, the considerations for a stay are:

             1. whether the stay applicant has made a strong showing that he is likely to
                succeed on the merits;

             2. whether the applicant will be irreparably injured absent a stay;

             3. whether issuance of the stay will substantially injure the other parties
                interested in the proceeding; and

             4. where the public interest lies.

  Nken v. Holder, 556 U.S. 418, 434, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009) (citation omitted).
  These “four considerations are factors to be balanced and not prerequisites to be met.” State of
  Ohio ex rel. Celebrezze v. Nuclear Regul. Comm'n, 812 F.2d 288, 290 (6th Cir. 1987).

                 1.     Petitioners Have Made a Strong Showing They Are Likely to Succeed on
                        the Merits

          There is no fixed probability of success the agency must find in applying these
  considerations. “Ordinarily the party seeking a stay must show a strong or substantial likelihood
  of success. However, at a minimum the movant must show ‘serious questions going to the merits
  and irreparable harm which decidedly outweighs any potential harm to the defendant if a [stay] is
  issued.’” Id. (quoting In re DeLorean Motor Company, 755 F.2d 1223, 1229 (6th Cir.1985)).

           As discussed above, the FIP has substantive and procedural flaws, each of which
  individually, and more so when combined, demonstrate “a high probability of success on the
  merits.” Ohio ex rel. Celebrezze v. Nuclear Regul. Comm’n., 812 F.2d 288, 290 (6th Cir.1987).
  Substantively, EPA’s FIP for Minnesota is ultra vires, was based on an incorrect set of emissions
  data, biased modeling results, and overestimation of emissions that, when adjusted, support the
  conclusion that Minnesota’s is not contributing to nonattainment or interfering with maintenance
  in any downwind state and does not need to impose additional emission reductions to satisfy its
  Good Neighbor obligations. Procedurally, EPA did not provide notice and comment on modeling
  that is central to EPA’s decision to impose a FIP on Minnesota and to the level of stringency the
  FIP can reflect without constituting over-control. In doing so, EPA deprived Petitioners of their
  statutorily-guaranteed right to participate in the rulemaking process.

          More generally, the FIP does not reflect the cooperative federalism required by the Clean
  Air Act. As EPA has previously acknowledged, “[t]he CAA establishes a framework for state-
  Federal partnership to implement the NAAQS based on ‘cooperative federalism.’” SIP
  Disapproval at 9,367. Under this model, “the Federal Government establishes broad standards or
  goals, states are given the opportunity to determine how they wish to achieve those goals, and if
  states choose not to or fail to adequately implement programs to achieve those goals, a Federal
  agency is empowered to directly regulate to achieve the necessary ends.” Id. Thus, “states have
  the obligation and opportunity in the first instance to develop an implementation plan to achieve


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  the NAAQS under CAA section 110” and “EPA will approve SIP submissions under CAA section
  110 that fully satisfy the requirements of the CAA.” Id.

         Under this framework, EPA is given two years following disapproval of a SIP to
  promulgate a FIP. 42 U.S.C. § 7410(c)(1). While the Supreme Court has stated that “EPA is not
  obliged to wait two years or postpone its action even a single day” after disapproving a SIP,37 this
  should not be read as a license to run roughshod over State attempts to fulfill their primary role
  under the Clean Air Act. EPA must still interpret its obligations under the Clean Air Act “with a
  view to their place in the overall statutory scheme,” and cannot act in a manner that is
  “‘incompatible with ‘the substance of Congress’ regulatory scheme.’” UARG v. EPA, 573 U.S.
  302, __ (2014) (quoting FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 and 156
  (2000)). Here, EPA departed from Congress’ regulatory scheme when it proposed a FIP just one
  month after proposing to disapprove Minnesota’s SIP and the Administrator signed the FIP just
  one month after finalization of the SIP Disapproval, despite Minnesota having timely submitted a
  complete SIP that meets all requirements of the Clean Air Act.

          Because EPA’s FIP is ultra vires, over-controls emissions from Minnesota, was
  procedurally improper, and undermines the core cooperative federalism embodied in CAA § 110,
  Petitioners are likely to prevail on the merits of a judicial challenge. This further supports EPA
  issuing a stay of the effective date of the SIP Disapproval pending judicial review.

                  2.      Petitioners Will Suffer Irreparable Harm from a Denial of Stay.

           Relevant factors for evaluating the harm which will occur both if the stay is issued and if
  it is not, the court must look to three factors: the substantiality of the injury alleged, the likelihood
  of its occurrence, and the adequacy of the proof provided. Ohio ex re. Celebrezze, 812 F.2d at 290
  (citing Cuomo v. United States Nuclear Regulatory Commission, 772 F.2d 972, 974 (D.C.
  Cir.1985)).

          The FIP poses substantial and imminent injuries to Petitioners. As discussed above, the
  FIP has been promulgated without statutory authority. This places the entire State of Minnesota
  under an ultra vires regulation. While EPA has made clear that it does not consider the FIP
  enforceable while the Stay Order is in place, this does not prevent third parties from seeking to
  enforce it on their own behalf. See 42 U.S.C. § 7604. Petitioners should not have to bear court
  costs seeking to defend and dismiss claims that are brough only because EPA has not withdrawn
  a regulation it acknowledges it was without statutory authority to promulgate, and such imminent
  threats of litigation are an irreparable injury. See Newman v. Nazcr Trac Prop. Owners Ass’n,
  Inc., 601 F. Supp. 3d 357, 367 (E.D. Wis. 2022) (“the irreparable harm is traceable to Defendants
  because Plaintiffs are under the certain threat of enforcement”).

          In addition, the Stay Order says the FIP only by preventing its application in Minnesota.
  The Stay Order does not address the deadlines that would apply to Petitioners if it is lifted. Absent
  a stay of the FIP itself, or further modification of the deadlines in the FIP, Petitioners could become
  subject to compliance obligations without sufficient time to meet them unless they act now in
  preparation for compliance. Needing to comply with an invalid regulation is also an irreparable

  37
       EME Homer City, 572 U.S. at 509.

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  harm. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 220-21 (1994) (“complying with a
  regulation later held invalid almost always produces the irreparable harm of nonrecoverable
  compliance costs.”) (Scalia, J., concurring in part and in the judgment).

                 3.      Staying the FIP will not Significantly Injure Other Parties.

           As discussed above, emission reductions from Minnesota are not needed for any downwind
  state to attain the NAAQS, and they are likely not needed to prevent interference with maintenance
  of the NAAQS in any downwind state. Moreover, the FIP cannot be applied in Minnesota pending
  judicial review of the SIP Disapproval, which will likely mean that the FIP will not apply for the
  remainder of the 2023 ozone trading season, and possibly the start of the 2024 ozone trading season
  as well. As a result, a stay is unlikely to harm any third party.

                 4.      The Public Interest Lies in Granting a Stay.

          As courts have held, there is a public interest enjoining inequitable conduct and in
  minimizing unnecessary costs to be met from public coffers. See, e.g. B & D Land & Livestock
  Co. v. Conner, 534 F. Supp. 2d 891, 910 (N.D. Iowa 2008). Here, the public interest supports a
  stay. As discussed above, EPA’s FIP is without statutory authority and was promulgated through
  the inequitable exclusion of public participation on the data central to EPA’s FIP. The result will
  be costly public expenditures, both by Minnesota and Petitioners, to prepare for a FIP that will
  likely never be implemented and in any event is unnecessary.

          While it was an error for EPA to promulgate the FIP, EPA can ameliorate the harm of this
  error by staying the effect of the FIP until the merits of the issues above can be fully evaluated and
  addressed.

  IV.    Conclusion

           The State of Minnesota has expended substantial effort and resources to regulate the
  emission of NOx within its borders. Those efforts have successfully reduced State impacts on
  downwind receptors to a point that Minnesota is not a significant contributor to nonattainment or
  interference with maintenance of the 2015 ozone standard in any State. Based on the best available
  data and modeling science available at the time, Minnesota assessed its impact on downwind
  states, as it was required to do under the Clean Air Act, and appropriately concluded that it was
  not interfering with maintenance of attainment in any State. EPA should have approved that SIP.
  Instead, it rushed to promulgate a FIP that it now does not have authority to promulgate and that
  is based on factual assumptions EPA can no longer maintain. Further, in promulgating the FIP,
  EPA committed technical and procedural errors that undermine public participation and resulted
  in a FIP that exceeds EPA’s authority by overcontrolling emissions from Minnesota.

          Because circumstances arising after the close of the public comment period and before the
  time for judicial review demonstrate that the FIP must be withdrawn, EPA is obligated to grant
  reconsideration and should withdraw the FIP as to Minnesota in its entirety. Further, to avoid the
  significant and irreparable harm to Petitioners arising from EPA’s erroneous promulgation of the
  FIP, EPA should stay the FIP as applied to Minnesota pending reconsideration and pending judicial
  review.


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         Please contact our counsel, Douglas.McWilliams@Squirepb.com, to set up a meeting to
  discuss reconsideration of the FIP.

  Dated: August 4, 2023                         Respectfully submitted,

                                                /s/Douglas A. McWilliams
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                                                Minnesota; Great River Energy; Southern
                                                Minnesota Municipal Power Agency;
                                                Cleveland-Cliffs, Inc.; and United States Steel
                                                Corporation




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                                Attachment A

                                (SIP Petition)
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  April 14, 2023

  VIA E-MAIL AND FEDERAL EXPRESS


   Michael Regan, Administrator
   Environmental Protection Agency
   Office of the Administrator, Mail Code 1101A
   1200 Pennsylvania Avenue, N.W.
   Washington, D.C. 20460


  Re: Petition for Reconsideration and Stay of the Final Rule: Air Plan Disapprovals;
      Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
      Quality Standards, EPA-HQ-OAR-2021-0663; EPA-R05-OAR-2022-0006; 88 Fed. Reg.
      9,336 (February 13, 2023)

  Dear Administrator Regan:

          On behalf of our clients, ALLETE, Inc. d/b/a Minnesota Power; Northern States Power
  Company – Minnesota d/b/a/ Xcel Energy; Great River Energy; Southern Minnesota Municipal
  Power Agency; Cleveland-Cliffs, Inc.; and United States Steel Corporation (collectively the
  “Minnesota Good Neighbor Coalition”), please find enclosed a petition for reconsideration and
  stay of the disapproval of “prong 2” of Minnesota’s State Implementation Plan (“SIP”) in the
  United States Environmental Protection Agency’s final rule: Air Plan Disapprovals; Interstate
  Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards,
  EPA-HQ-OAR-2021-0663; EPA-R05-OAR-2022-0006; 88 Fed. Reg. 9,336 (February 13, 2023).

             Please contact me with any questions you may have.

  Sincerely,

  /s/ Douglas A. McWilliams
  Douglas A. McWilliams

  cc:        Olivia Davidson
             Debra Shore
             Gautam Srinivasan
             Thomas Uher


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                       Before the United States Environmental Protection Agency

      In re: Air Plan Disapprovals; Interstate               ) EPA Docket Nos. EPA–HQ–OAR–2021–
      Transport of Air Pollution for the 2015 8-Hour         ) 0663; EPA–R05–OAR–2022–0006; FRL–
      Ozone National Ambient Air Quality                     ) 10209–01–OAR
      Standards, 88 Fed. Reg. 9336 (February 13,             )
      2023)                                                  )
                                                             )


          Petition for Reconsideration and for Stay of the Air Plan Disapprovals for Interstate
        Transportation of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality
                                                Standards

           ALLETE, Inc. d/b/a Minnesota Power; Northern States Power Company – Minnesota
  d/b/a/ Xcel Energy; Great River Energy; Southern Minnesota Municipal Power Agency; Cleveland-
  Cliffs, Inc.; and United States Steel Corporation (collectively “Petitioners”) respectfully request
  that the United States Environmental Protection Agency (“EPA”) reconsider and stay the portion
  of its final rule Air Plan Disapprovals; Interstate Transport of Air Pollution for the 2015 8-Hour
  Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 9336 (February 13, 2023) (the “SIP
  Disapproval”) that disapproves Minnesota’s state implementation plan (“SIP”) for interstate
  transport for “prong 2” of Clean Air Act (“CAA”) § 110(a)(2)(D)(i)(I), 42 U.S.C. § 7410(a)(2)(D)(i)(I).

          Minnesota is uniquely situated in the SIP Disapproval. In EPA’s February 13 action,
  Minnesota’s SIP was approved for “prong 1”1 based on EPA’s finding that Minnesota does not
  contribute significantly to nonattainment in any downwind state. Minnesota’s SIP was
  disapproved for “prong 2,” with EPA finding that Minnesota was linked to interference with
  maintenance of a single downwind maintenance-only receptor. EPA has subsequently found in
  its promulgation of an ozone transport federal implementation plan (“FIP”) that Minnesota was
  not linked to any downwind non-attainment or maintenance-only receptor when modeled for
  2026.

         Based on the best evidence available in 2018 when Minnesota submitted its SIP to EPA
  for approval (and on April 1, 2020 when EPA had a statutory obligation to approve or deny the
  Minnesota SIP), Minnesota was not linked to interference with attainment or maintenance in any
  downwind state. But, EPA did not timely act on the Minnesota SIP, and then it moved the goal
  posts. Based on new modeling and emission data EPA developed years later, (the “2016v2”
  modeling platform) EPA proposed to find that Minnesota was linked to two downwind
  maintenance-only receptors due to a modeled impact of less than 1 ppb at each receptor. In the


  1
   As discussed on page 4 infra, EPA has divided the Good Neighbor obligation set out in Clean Air Act (“CAA”) §
  110(a)(2)(D), 42 U.S.C. § 7410(a)(2)(D), into two “prongs.” The obligation to prohibit sources from emitting air
  pollutants in an amount which will “contribute significantly to nonattainment” is sometimes referred to as “prong
  1,” and the obligation to prohibit sources from emitting air pollutants in an amount which will “interfere with
  maintenance” as “prong 2.”
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  final SIP Disapproval, EPA again revised its emissions data and modeling (the “2016v3” modeling
  platform) and now finds that Minnesota is linked in 2023 to only a single maintenance-only
  monitor, at a maximum contribution of 0.85 ppb. Further, EPA has since released updated
  modeling results for 2026 that show that this same monitor will be in attainment without any
  material reduction of emissions from Minnesota. As a result, after five years of updates, EPA’s
  modeling results support the same conclusion that Minnesota reached in 2018, namely that
  additional emissions reductions are not needed to prohibit emissions in Minnesota that will
  contribute significantly to nonattainment, or interfere with maintenance of, the 2015 8-hour
  ozone NAAQS in any downwind state. We ask that EPA grant this petition for reconsideration to
  do what it should have done in 2018—Approve the Minnesota SIP.

           The approvability of Minnesota’s original SIP submittal is corroborated by two additional
  pieces of information that were not available during the public comment period for the proposed
  SIP disapproval or prior to EPA’s release of its 2016v3 modeling in 2023. First, EPA’s 2016v3
  emissions inventory materially overstates Minnesota’s 2023 NOx emissions; for example, it
  incorrectly assumes over 2,800 tons of NOx from an electric generating facility that has been
  idled since 2019 and is projected to have zero emissions in 2023. By merely correcting the
  projected actual NOx emissions, Minnesota has already achieved more NOx reductions than
  EPA’s FIP would require of Minnesota. This effectively confirms Minnesota’s step 32 conclusion
  in its 2018 SIP that no additional permanent or enforceable measures were needed beyond those
  already implemented by the state.3

          Second, as EPA has recognized, its CAMx modeling is subject to significant bias in areas of
  complex meteorology, including the water/land interface occurring at the sole maintenance
  monitor that EPA has linked to Minnesota emissions. While EPA released with the final SIP
  Disapproval a review of this localized bias risk for southern Lake Michigan, that review was
  materially flawed and does not address the significant over-prediction bias occurring on the
  precise days EPA selected for use in evaluating Minnesota’s SIP. As a result, EPA’s general
  conclusion that adjusting for bias will not affect the outcome of its SIP reviews, does not apply to
  its review of the Minnesota SIP. To the contrary, adjusting for material bias results in the sole
  maintenance-only monitor to which Minnesota was linked by EPA becoming an attainment
  monitor in 2023. In other words, eliminating high-bias days alone completely addresses EPA’s
  objection to Minnesota’s 2018 SIP and eliminates Minnesota at Step 1 of EPA’s four-step analysis.

          Reconsideration is appropriate to make the above corrections to the emissions inventory
  and to account for modeling bias. After incorporating this new material information into the SIP
  analysis, we believe that EPA will conclude as we have that Minnesota’s original 2018 SIP
  determination that it is not having a downwind impact on attainment or maintenance that
  requires additional permanent and enforceable measures was correct and warrants approval of

  2
    See page 4 infra for the list of four steps in EPA’s 4-step framework for evaluating Good Neighbor SIP
  submissions.
  3
    See Minnesota’s 110(a)(1) and 110(a)(2) “Infrastructure” State Implementation Plan requirements for the
  National Ambient Air Quality Standards for Ozone, Promulgated in 2015, EPA-R05-OAR-2022-0006-0005, at 12
  (October 1, 2018) (“2018 SIP”).

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  the Minnesota SIP. Reconsideration is also appropriate to address a significant procedural flaw
  in the finalization of the SIP Disapproval. Specifically, the SIP Disapproval relies on information
  that was not available to EPA, Minnesota, or any other interested parties until 2023, well past
  the period for Minnesota’s SIP submission and EPA’s statutory deadline to approve Minnesota’s
  SIP. While EPA has an obligation to use the best available evidence in making its regulatory
  decisions, that obligation is not unbounded and cannot be used to circumvent the procedures
  set forth in the Clean Air Act. When Minnesota timely submitted a SIP that is approvable based
  on the information known at the time, EPA had an obligation to approve the SIP. The Act does
  not allow EPA unfettered discretion to delay approval until new information becomes available,
  and then move the goalposts. For States that have done their part to invest resources in
  developing a timely and approvable SIP, EPA has a statutory obligation to act. EPA may still
  consider new scientific data and modeling after the statutory deadline, but there is a separate
  administrative process available to EPA that respects the State’s SIP process. Minnesota should
  have an approved SIP and EPA should be considering whether new information is sufficiently
  material to require a “SIP call” pursuant to CAA § 110(k)(5), 42 U.S.C. § 7410(k)(5), to give
  Minnesota the opportunity to revise its SIP given the new available information. Having chosen
  to use this new information to disapprove prong 2 of Minnesota’s SIP instead, EPA deprived
  Petitioners, the State, and other interested parties of significant procedural protections and
  opportunities for public input that were required by the Clean Air Act. Granting reconsideration
  allows EPA the opportunity to cure the procedural flaw that its final action is based on material
  information that has not been subject to the notice and comment process.

         Given that new information was made available after the close of the public comment
  period, but before the time for judicial review, that such information actually undermines EPA’s
  basis for disapproving prong 2 of Minnesota’s 2018 SIP in the SIP Disapproval, and
  reconsideration would address the harms caused by significant procedural defects in the SIP
  Disapproval, Petitioners respectfully request that EPA grant reconsideration for the purpose of
  reviewing this new information and approving prong 2 of Minnesota’s 2018 SIP.

         Further, since the disapproval of prong 2 of Minnesota’s SIP, and the continued
  implementation of EPA’s subsequently-issued FIP, will cause irreparable harm to Petitioners, we
  request that EPA grant a stay of the disapproval of prong 2 of Minnesota’s SIP pending
  reconsideration and pending judicial review, which will also address the irreparable harm caused
  by EPA’s FIP.

  I.         Background

         On October 1, 2015, EPA promulgated a revised primary and secondary 8-hour ozone
  NAAQS of 70 ppb. This created a requirement under the CAA for states to submit revised SIPs to
  EPA by October 1, 2018.4 SIPs were required to meet the applicable requirements of CAA §
  110(a)(2), 42 U.S.C. § 7410(a)(2), including an obligation, sometimes referred to as a “Good
  Neighbor” obligation, that the SIPs:


  4
      42 U.S.C. § 7410(a)(1).

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          (D) Contain adequate provisions—

                   (i) prohibiting, consistent with the provisions of this subchapter,
                   any source or other type of emissions activity within
                   the State from emitting any air pollutant in amounts which will—

                           (I) contribute significantly to nonattainment in, or interfere
                           with maintenance by, any other State with respect to any
                           such national primary or secondary ambient air quality
                           standard, …

  42 U.S.C. § 7410(a)(2)(D). The obligation to prohibit sources from emitting air pollutants in an
  amount which will “contribute significantly to nonattainment” is sometimes referred to as “prong
  1,” and the obligation to prohibit sources from emitting air pollutants in an amount which will
  “interfere with maintenance” as “prong 2,” of the Good Neighbor obligation.

          While EPA has never promulgated regulations imposing more specific interstate transport
  requirements than what is contained in the statutory text, EPA has developed a 4-step framework
  that it stated the agency would use to evaluate a state’s compliance with its Good Neighbor
  obligation. Namely:

      (1) Identify monitoring sites that are projected to have problems attaining and/or
          maintaining the NAAQS (i.e., nonattainment and/or maintenance receptors);

      (2) identify states that impact those air quality problems in other (i.e., downwind) states
          sufficiently such that the states are considered ‘‘linked’’ and therefore warrant further
          review and analysis;

      (3) identify the emissions reductions necessary (if any), applying a multifactor analysis, to
          eliminate each linked upwind state’s significant contribution to nonattainment or
          interference with maintenance of the NAAQS at the locations identified in Step 1; and

      (4) adopt permanent and enforceable measures needed to achieve those emissions
          reductions.5

           Minnesota took a notably conservative approach in its SIP. First, in EPA’s Transport
  Memo, EPA recognized that its four-step framework was not binding, and offered that states
  “have flexibility to follow this framework or develop alternative frameworks.”6 Despite this
  flexibility, Minnesota adopted EPA’s framework for its SIP.7 Second, EPA made clear, in the


  5
    See Information on the Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National
  Ambient Air Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I),
  https://www.epa.gov/sites/default/files/2018-03/documents/transport_memo_03_27_18_1.pdf at 2-3 (March 27,
  2018) (“Transport Memo”).
  6
    Id.
  7
    2018 SIP at 5.

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  Transport Memo and in a separate memorandum published later that year, that states did not
  need to adopt EPA’s suggested 1% threshold for determining significant contributions and
  interference with maintenance at step 2.8 Here too, Minnesota did not exercise this flexibility,
  and chose instead to use EPA’s preferred approach.9 Third, EPA guidance offered states flexibility
  regarding how to determine which downwind monitors should be considered maintenance
  receptors.10 Again, Minnesota followed EPA’s suggested approach.11 In other words, while
  Minnesota was not required to, it followed EPA’s own framework and did not rely on additional
  flexibilities to demonstrate that it had satisfied its Good Neighbor obligations.12

          Minnesota also used the best information available at the time to determine its Good
  Neighbor obligations. Specifically, Minnesota used EPA’s own modeling and modeling developed
  by the Lake Michigan Air Directors Consortium (“LADCO”) to identify monitoring sites projected
  to have problems attaining or maintaining the 2015 ozone NAAQS in 2023.13 It then projected
  the state’s own contributions to those nonattainment and maintenance monitors using both sets
  of results.14 Both EPA’s and LADCO’s modeling showed that Minnesota would contribute less
  than 1 percent of the NAAQS to all downwind receptors, with a highest receptor contribution
  from either model of 0.45 ppb.15 Thus, following EPA’s 4-factor framework, and using EPA’s own
  modeling and proposed threshold, Minnesota demonstrated that it was not contributing
  significantly to, or interfering with maintenance of, the 2015 ozone NAAQS in any downwind
  state.

          This alone would have been sufficient to satisfy Minnesota’s Good Neighbor obligation.
  Minnesota also, however, included in its SIP submission a “step 3” analysis demonstrating that
  Minnesota emissions of ozone precursors had been reduced from 2002 through 2015 and would
  be further reduced by emission limitations and reductions required by other programs.16 Under
  this step 3 analysis, Minnesota demonstrated that, even if the state were having more than an
  insignificant impact on downwind receptors (as EPA now asserts), Minnesota’s existing glidepath
  of emissions reductions still supported a finding that no further emission control measures would



  8
    Transport Memo at A-2; Analysis of Contribution Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I)
  Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
  Standards (Aug. 31 2018) (“Threshold Memo”)
  9
    2018 SIP at 6.
  10
     Transport Memo at A-2; Consideration for Identifying Maintenance Receptors for Use in Clean Air Act Section
  110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National
  Ambient Air Quality Standards, https://www.epa.gov/sites/default/files/2018-
  10/documents/maintenance_receptors_flexibility_memo.pdf at 3 (October 19, 2018) (“Maintenance Memo”)
  11
     2018 SIP at 5.
  12
     Minnesota, of course, could have taken a different approach, and might have used some of these flexibilities,
  had EPA indicated during the statutory review period that it was considering disapproving prong 2 of Minnesota’s
  SIP.
  13
     2018 SIP at 5-9.
  14
     Id.
  15
     Id. at 8-9.
  16
     Id. at 9-12; see also id. at 13.

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  be needed to address this impact. EPA did not meet its obligation to approve or deny
  Minnesota’s complete and approvable SIP within 12 months of submittal.

          Approximately three years after EPA’s deadline to approve the Minnesota SIP, EPA
  proposed to disapprove Minnesota’s SIP on February 22, 2022, along with SIPs from 18 other
  states.17 EPA did not identify a technical error in Minnesota’s submission or any inconsistency
  with the Good Neighbor requirements, or even EPA’s own framework. In fact, EPA recognized
  that “the modeling the MPCA used relied on the most recently available EPA modeling at the
  time the state submitted its SIP submittal.”18 Nonetheless, EPA proposed to reject Minnesota’s
  SIP because EPA chose to rely “on the Agency’s most recently available modeling, which uses a
  more recent base year and more up-to-date emissions inventories, to identify upwind
  contributions and ‘linkages’ to downwind air quality problems in 2023 using a threshold of 1
  percent of the NAAQS.” Id. Based on this data, EPA proposed to reject Minnesota’s conclusion
  that it was not linked to a downwind receptor, and to find instead that Minnesota was linked to
  two maintenance monitors in Cook County, Illinois, one with a maximum contribution of 0.97
  ppb and the other 0.79 ppb.19

          On February 13, 2023, EPA published the SIP Disapproval. In its final rule, EPA approved
  Minnesota’s SIP as to “prong 1” but disapproved Minnesota’s SIP as to “prong 2.”20 Rather than
  use the emissions data and modeling available to Minnesota in 2018, or even emissions data and
  modeling available at the time of the proposed SIP disapproval, EPA made a number of additional
  updates to its emissions inventories and model design to construct a new 2016v3 emissions
  platform, which it used to generate new air quality modeling without seeking public comment to
  allow affected party input to help the agency assess the accuracy of the new information utilized
  in the modeling.21 Minnesota was now no longer linked to two downwind receptors. It was now
  linked to only a single maintenance-only receptor, at a maximum contribution of 0.85 ppb for
  2023. 22

          While EPA also conducted updated modeling for 2026, it did not release this information
  in the docket for the SIP Disapproval, stating it was “not applicable” and “not used in this final
  action.”23 EPA subsequently made these results available, however, on EPA’s website for its
  Federal Implementation Plan (“FIP”) for 23 states, including Minnesota.24 Based on EPA’s
  modeling for 2026, Minnesota is not linked to any downwind nonattainment or maintenance-
  only receptor. In fact, based on EPA’s modeling, the sole maintenance-only receptor Minnesota
  was linked to in 2023 is in attainment by 2026, and Minnesota’s largest contribution to any

  17
     Air Plan Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air Plan Disapproval; Region 5
  Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards, 87 Fed.
  Reg. 9838, 9868 (February 22, 2022) (“Proposed Rule”).
  18
     Proposed Rule at 9867.
  19
     Id. at 9868.
  20
     See SIP Disapproval at 9357.
  21
     See id. at 9339.
  22
     Id. at 9357.
  23
     Id. at 9344, n.49.
  24
     https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs

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  downwind nonattainment or maintenance-only receptor is just 0.32 ppb.25 Notably, this
  modeling assumed no installation of additional pollution controls in Minnesota. The only
  emissions reductions included from Good Neighbor obligations were an annual reduction of 139
  tons NOx from emissions control optimization at EGUs.26

  II.      Grounds for Reconsideration of the SIP Disapproval

          Reconsideration is justified under either CAA § 307(d)(7)(B)27 or Administrative Procedure
  Act (“APA”) § 553(e) (5 U.S.C. § 553(e)).28 Under CAA § 307(d), reconsideration is required “[i]f
  the person raising an objection can demonstrate to the Administrator that it was impracticable
  to raise such objection within such time or if the grounds for such objection arose after the period
  for public comment (but within the time specified for judicial review) and if such objection is of
  central relevance to the outcome of the rule.”29 Courts have found that an objection was
  “impractical to raise” “when the final rule was not a logical outgrowth of the proposed rule.”
  Alon Refining Krotz Springs, Inc. v. EPA, 936 F.3d 628, 648 (D.C. Cir. 2019) (per curiam). In other
  words, when interested parties would not have “anticipated that the change was possible, and
  thus reasonably should have filed their comments on the subject during the notice-and-comment
  period.” CSX Transp., Inc. v. Surface Transp. Bd., 584 F.3d 1076, 1080 (D.C. Cir. 2009) (internal
  quotations omitted). An objection is of central relevance to the outcome of the rule if it “provides
  substantial support for the argument that the regulation should be revised.” Chesapeake Climate
  Action Network v. EPA, 952 F.3d 310, 322 (D.C. Cir. 2020). Under the APA, EPA has “broad
  discretion to reconsider” its SIP Disapproval “at any time” Under the APA. Clean Air Council v.
  Pruitt, 862 F.3d 1, 8-9 (D.C. Cir. 2017).30

         Three grounds support reconsideration under either standard. First, EPA's 2016v3
  modeling did not have the benefit of Petitioners’ or other public comments. As a result, it
  contains a significant overestimation of 2023 emissions for Minnesota. Second, EPA’s 2016v3
  modeling of the sole monitor supporting a potential linkage between Minnesota and Illinois is
  subject to significant bias which, if corrected for, results in the same receptor modeling
  attainment in 2023. Third, EPA’s rejection of prong 2 of Minnesota’s SIP was procedurally



  25
     See Federal “Good Neighbor Plan” for the 2016 Ozone National Ambient Air Quality Standards,
  https://www.epa.gov/system/files/documents/2023-03/FRL%208670-02-
  OAR_Good%20Neighbor_Final_20230314_Signature_ADMIN%20%281%29.pdf, at 198 (pre-publication version).
  26
     Compare Id. at 290, Table V.C.1-1; 291, Table V.C.1-2; and 452, Table VI.B.4.c-1.
  27
     42 U.S.C. § 76076(d)(7)(B).
  28
     SIP disapprovals are not automatically subject to the exhaustion requirements of Clean Air Act § 307(d).
  42 U.S.C. § 7607(d). This subsection lists 22 categories of agency action subject to the exhaustion requirement.
  SIP approval and disapproval, separate from issuance of a FIP, as occurred in the SIP Disapproval, is not addressed
  by any of these 22 categories.
  29
     42 U.S.C. § 7607(d)(7)(B).
  30
     See also Trujillo v. Gen. Elec. Co., 621 F.2d 1084, 1086 (10th Cir. 1980) (“Administrative agencies have an
  inherent authority to reconsider their own decisions, since the power to decide in the first instance carries with it
  the power to reconsider.”); United Gas Improvement Co. v. Callery Properties, Inc., 382 U.S. 223, 229 (1965) (“An
  agency, like a court, can undo what is wrongfully done by virtue of its order.”)

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  improper because it was based entirely on results EPA obtained in 2023, well past the statutory
  deadline for Minnesota’s SIP submission and EPA’s decision approving or disapproving it.

          A.       Errors in EPA’s New Emissions Data and Modeling, Which Were Not Subject to
                   Notice and Comment, Support Reconsideration to Ensure EPA’s Decision on
                   Minnesota’s SIP is Based on Valid and Accurate Information.

          EPA “made a number of updates to [its] inventories and model design to construct a
  2016v3 emissions platform which was used to update [EPA’s] air quality modeling.” SIP
  Disapproval at 9339. The SIP Disapproval uses “this updated modeling to inform [EPA’s] final
  action on [state] SIP submissions,” including Minnesota’s. Id.

         The new emissions inventory and modeling platform are of central relevance to EPA’s
  rule. EPA identifies the 2016v3 platform as designed “to inform [the agency’s] final action on
  these SIP submissions.” SIP Disapproval at 9339. For Minnesota, the 2016v3 modeling results
  are the sole record citation EPA provides for its finding that prong 2 of Minnesota’s SIP was
  “ultimately inadequate.” Id. at 9357.

           While there have been errors in each of EPA’s inventories at each stage of the regulatory
  process, these new errors in the emissions inventory arose only with the publication of the final
  SIP Disapproval. Under both the APA and the CAA, EPA’s rulemaking process requires adequate
  public notice and an opportunity to comment on the evidence on which EPA intends to rely for
  its final rules.31 EPA’s emissions inventory and modeling design changes were not made publicly
  available until EPA published the SIP Disapproval and several supporting documents on the same
  day. As a result, the public, including Petitioners, did not have the opportunity to review EPA’s
  data and correct errors before then.

          In the limited time Petitioners have had to review the 2016v3 data, we have identified
  significant errors in EPA’s estimate of NOx emissions for 2023. As an example, EPA added 2,822
  tons of NOx for Northshore Mining Co. – Silver Bay power. These boilers have been idled since
  October 2019 and are expected to have zero emissions in 2023. EPA itself recognizes that zero
  emissions are expected at this facility in both its OTP Policy Analysis, Appendix A and in its Unit-
  Level Allocations and Underlying Data for the Final Rule (both available at
  https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs).             Yet EPA made no
  adjustment to its 2016v3 data, resulting in a significant overestimate of 2023 emissions from
  Minnesota used by EPA to justify disapproval of the Minnesota SIP. If EPA defends including
  2,822 tons of NOx emissions for Silver Bay Power in the baseline actual emissions used to model
  Minnesota’s downwind impact in 2023, then Minnesota’s state allowance budget should be

  31
     See Small Ref. Lead Phase-Down Task Force v. EPA, 705 F.2d 506, 540 (D.C. Cir. 1983) (adding evidence on which
  EPA relies after the close of the comment period would be “highly improper”); see also Sierra Club v. Costle, 657
  F.2d 298, 400 (D.C. Cir. 1981) (“If … documents of central importance upon which EPA intended to rely had been
  entered on the docket too late for any meaningful public comment prior to promulgation, then both the structure
  and spirit of section 307 would have been violated.”); see also Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C.
  Cir. 1982) (finding EPA had not provided adequate opportunity for public comment on economic modeling placed
  in the docket only one week before promulgation of its final regulations).

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  increased to reflect those emissions and Silver Bay Power should receive proportional allowance
  allocations for the 2023 CSAPR ozone season trading program and beyond. To do otherwise
  would be internally inconsistent, which is an indication of arbitrary rulemaking.

          For Minnesota, EPA’s most recent modeling identified a single impacted maintenance
  monitor in 2023, at which Minnesota’s maximum impact was 0.85 ppb. EPA’s latest modeling
  projects this same receptor will be in attainment by 2026 with no reductions from Minnesota
  other than already “on the books” rules and regulations.32 In other words, EPA’s 2026 modeling
  confirms Minnesota’s 2018 SIP conclusion that “the limits and controls that Minnesota already
  has in place across the state are sufficient to make it reasonably certain that Minnesota will not
  significantly contribute to nonattainment or interfere with maintenance in any other state” and
  that “no further controls or emissions limits are required to fulfill [Minnesota’s] responsibilities
  under the interstate transport provisions for the 2015 ozone NAAQS under prongs 1 and 2 of
  Section 110(a)(2)(D)(i)(I).”33

         Given the above considerations, EPA should grant reconsideration to reassess
  Minnesota’s 2018 SIP in light of its own modeling showing that no further emission reductions
  are needed for Minnesota to satisfy its prong 2 good neighbor obligations.

          B.      The Sole Monitor that Links Minnesota Models in Attainment for 2023 When
                  Bias is Removed.

          Minnesota’s only link to a downwind state receptor is the Alsip/Village Garage monitor
  located in Cook County, Illinois (170310001). This monitor is located near the southern shore of
  Lake Michigan at a land-water interface with complex meteorology. This monitor is currently
  measuring attainment with the 2015 ozone NAAQS using the 2021 4th highest daily maximum
  value (68 ppb). However, EPA’s air quality modeling predicts that this monitor is at risk of
  violating the ozone NAAQS and, therefore, designates it as a maintenance-only receptor. Upwind
  states that interfere with this monitor’s maintenance of the ozone NAAQS are linked through
  prong 2. However, if a corrected model predicts the monitor’s maximum 2023 design value will
  attain the 2015 ozone NAAQS, this monitor falls out of the analysis at Step 1 and, since no other
  monitor links to Minnesota, EPA will have no basis for disapproval of prong 2 of Minnesota’s SIP.

         In the attached analysis, Alpine Geophysics demonstrates that the Cook County monitor
  models attainment for the 2015 ozone NAAQS in 2023. Alpine Geophysics evaluated this Cook
  County monitor and concluded that its location at a land-water interface at the southern shore
  of Lake Michigan presents highly complex meteorological conditions and ozone photochemistry
  that complicate the air quality model’s ability to replicate ozone concentrations reliably. Of note,




  32
     See Air Quality Modeling Final Rule Technical Support Document,
  https://www.epa.gov/system/files/documents/2023-03/AQ%20Modeling%20Final%20Rule%20TSD.pdf at 17,
  Table 3-5 (showing Monitor 170310001 no longer listed as a monitor-only receptor in the 2026 base case).
  33
     2018 SIP at 13.

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  EPA’s application of a 12 km grid resolution in such areas is contrary to EPA’s own guidance.34
  Alpine Geophysics reviewed EPA’s day-specific model performance for the estimation of ozone
  concentrations on days EPA used to calculate future year design values and found significant bias
  in the majority of modeled day values used to designate this monitor site as a maintenance-only
  receptor. When Alpine Geophysics adjusted for this bias by using daily concentration values
  within acceptable normalized bias boundaries (+/- 15%), the updated list of top ten days used to
  designate the Cook County monitor resulted in both its average and maximum design values to
  be calculated in attainment with the 2015 ozone NAAQS.

          When one attaining monitor modeled as a maintenance-only receptor is the sole basis for
  a state’s linkage, a refined level of analysis is particularly important when predicting future design
  values and significant contribution. When that monitor is in a highly complex land-water
  interface area, it is not surprising for refined analysis to show significant bias. In its FIP
  rulemaking, EPA looked at this impact, but evaluated only one of ten Cook County monitors.35 In
  doing so, EPA evaluated the only monitor out of the ten where EPA’s performance-based
  recalculation resulted in a higher design value. As a result, EPA’s sensitivity analysis materially
  understates the significance of the bias impact on the Alsip/Village Garage monitor and this issue
  remains central to EPA’s evaluation of Minnesota’s 2018 SIP.

          Petitioners also had no ability to evaluate the bias in EPA’s 2016v3 modeling of the
  Alsip/Village Garage monitor prior to EPA’s release of its model and supporting data. As a result,
  this information arose after the close of the public comment period and within the time for
  judicial review.

          Since Petitioners have identified significant bias in the sole receptor on which EPA relies
  to find a link to Minnesota and reject Minnesota’s 2018 SIP, reconsideration is appropriate to
  evaluate the new information and analysis provided. When reasonably adjusting for the bias in
  EPA’s 2016v3 modeling of that receptor, EPA will be in a position to confirm that Minnesota
  accurately concluded in 2018 that there are no “potential nonattainment or maintenance
  receptors significantly impacted by ozone transport from Minnesota in 2023” and that
  “[t]herefore, Minnesota does not have a responsibility to identify or implement any further
  controls or emissions limits to reduce downwind ozone contribution.”36

          C.       Minnesota’s SIP Should Have Been Approved Based on the Data Available at the
                   Statutory Deadlines for Submission or Review.

          The Clean Air Act sets out a detailed process for EPA’s review of SIPs in CAA § 110(k). 42
  U.S.C. § 7410(k). For timely submitted plans that have been deemed complete, like Minnesota’s,

  34
     Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5 and Regional Haze,
  https://www.epa.gov/sites/default/files/2020-10/documents/o3-pm-rh-modeling_guidance-2018.pdf (Nov. 29,
  2018).
  35
     See Federal “Good Neighbor Plan for the 2015 Ozone National Ambient Air Quality Standards Response to Public
  Comments on Proposed Rule, https://www.epa.gov/system/files/documents/2023-
  03/Response%20To%20Comments%20Document%20Final%20Rule.pdf at 196.
  36
     2018 SIP at 9.

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  EPA has twelve months to act on a plan submission. 42 U.S.C. § 7410(k)(2). For a plan that meets
  the requirements of the Clean Air Act, “the Administrator shall approve such submittal as a
  whole.” Id. at (k)(3). If a portion of the plan revision meets all the applicable requirements, EPA
  “may approve the plan revision in part and disapprove the plan revision in part” but “[t]he plan
  revision shall not be treated as meeting the requirements of [the Clean Air Act] until the
  Administrator approves the entire plan revision as complying with the applicable requirements
  of [the Clean Air Act].” Id. In other words, while EPA has discretion to partially approve a SIP
  submittal that does not meet all requirements of the Clean Air Act, if a submission meets all
  requirements of the Act, EPA does not have discretion. It must approve the SIP. See also Utah
  Physicians for a Healthy Env't v. Kennecott Utah Copper, LLC, 191 F. Supp. 3d 1287, 1290 (D. Utah
  2016) (“If a SIP satisfies the applicable requirements, EPA must approve it.”).

           In 2018, Minnesota submitted a timely and approvable SIP. As EPA acknowledges in the
  SIP Disapproval, Minnesota “was not projected to be linked to any receptor in 2023 in the EPA’s
  2011-based modeling.”37 Petitioners retained Alpine Geophysics to reanalyze Minnesota’s SIP
  submission considering the best evidence available both at the time of Minnesota’s SIP
  submission and at the time of EPA’s statutory obligation to approve or disapprove Minnesota’s
  SIP. As detailed in the attached report, Alpine Geophysics’ review confirms that Minnesota’s SIP
  submission: (1) had no material errors; (2) relied on the best science (including emissions data
  and modeling) available at the time; (3) fully complied with the CAA’s requirements and EPA’s
  guidance; and (4) would have been approved had EPA not incorporated information unavailable
  during the statutory review period. As a result, pursuant to 42 U.S.C. § 7410(k)(2) and (k)(3), by
  April 1, 2020, EPA had a non-discretionary duty to approve Minnesota’s SIP. While EPA missed
  its statutory deadline, this did not relieve EPA of its duty to approve Minnesota’s SIP.

          While EPA now finds that “in light of more recent air quality analysis,” Minnesota is linked
  to a single maintenance monitor in Illinois, this is based on information that did not exist at the
  time of Minnesota’s SIP submission nor when EPA had a statutory obligation to approve the SIP.
  This was also not EPA’s first use of untimely information to assess Minnesota’s SIP. In 2022, EPA
  proposed to disapprove Minnesota’s SIP “[s]ince new modeling ha[d] been performed by EPA
  with updated emission data,” that EPA proposed “to primarily rely on … to identify
  nonattainment and maintenance receptors in 2023.” Proposed Rule at 9867. As EPA
  acknowledged at the time, this was “a different method for projecting emissions” than what had
  been available to Minnesota for it to develop its SIP submittal. Id. EPA’s repeated changes in
  emissions inventory and modeling platform after the deadline for SIP submissions and after
  Minnesota’s SIP was deemed complete by EPA effectively moved the goalpost for Minnesota’s
  SIP, undercutting the State of Minnesota’s ability to identify the requirements EPA would apply
  to determine an approvable SIP.

         The impact was significant. Minnesota’s modeled impact went from contributing “below
  1 percent of the NAAQS to receptors in 2023” to contributing “greater than 1 percent of the
  standards to two maintenance-only receptors in Illinois”38 in the 2022 proposed SIP Disapproval

  37
       SIP Disapproval at 9357.
  38
       Id. at 9867-68.

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  to now being linked to one maintenance-only receptor in the 2023 SIP Disapproval (assuming no
  further adjustment for bias or data inaccuracies)). Notably, even using EPA’s new data and
  modeling, Minnesota would still have had no linkage to a downwind maintenance receptor if EPA
  had not also moved the maximum threshold it indicated it would consider acceptable from 1 ppb
  to 1% (0.70 ppb).39 As the D.C. Circuit has held, it is arbitrary and capricious to give states a
  “constantly moving target,” New York v. EPA, 964 F.3d 1214, 1224 (D.C. Cir. 2020), let alone two.
  The language and structure of the Clean Air Act clearly give Minnesota and Petitioners the right
  to address this new data in the first instance in a SIP amendment, and not in a challenge to a SIP
  disapproval, as EPA now requires.

          Notably, if EPA had followed the CAA procedures, it could have appropriately considered
  the new information it has developed since 2020, including the 2016v3 modeling it has
  introduced with the 2023 SIP Disapproval. But EPA cannot rely on its almost three year delay to
  circumvent the process and procedural protections set forth in the Clean Air Act. Rather, EPA
  was required to act on the SIP Minnesota submitted. If, after approval, EPA finds that a timely,
  complete and approved SIP nonetheless is “substantially inadequate … to mitigate adequately
  the interstate pollutant transport” or otherwise comply with the requirements of the Clean Air
  Act, “the Administrator shall require the State to revise the plan as necessary to correct such
  inadequacies.” Id. at (k)(5). EPA also cannot simply disapprove the state’s plan pending a new
  state submission that incorporated EPA’s newly developed information, as the SIP Disapproval
  effectively does. In the event EPA finds a SIP Call is justified, EPA must first “notify the State of
  the inadequacies, and may establish reasonable deadlines (not to exceed 18 months after the
  date of such notice) for the submission of such plan revisions.” Id. Further, “[s]uch findings and
  notice shall be public.” Id. These procedural protections are an important component of the
  cooperative federalism embodied in the Clean Air Act. As courts have held, “[t]he Clean Air Act
  is an experiment in federalism, and the EPA may not run roughshod over the procedural
  prerogatives that the Act has reserved to the states, especially when … the agency is overriding
  state policy. Bethlehem Steel Corp. v. Gorsuch, 742 F.2d 1028, 1036–37 (7th Cir. 1984).

          Multiple commenters, including the Minnesota Pollution Control Agency, have raised
  similar concerns arising from EPA’s initial proposal to use 2016v2 modeling to disapprove state
  SIPs.40 EPA has attempted to respond to those comments in the RTC, but in doing so, has not
  addressed the fundamental issue that EPA cannot disapprove a SIP that is approvable based on
  the information existing at the time that submittals are due, or even at the time EPA’s SIP review
  was statutorily due, and cannot circumvent Minnesota’s right to address new data in a SIP
  amendment, before EPA uses it to disapprove an otherwise approvable SIP.
  42 U.S.C. §§ 7410(k)(3) and (5).


  39
     Minnesota did not rely on the 1 ppb threshold for its SIP submission, but as EPA acknowledged, “[t]he 2018
  modeling indicated the state was not projected to contribute above one 1 percent of the NAAQS to a projected
  downwind nonattainment or maintenance receptor. Therefore, the state may not have considered analyzing the
  reasonableness and appropriateness of a 1 ppb threshold at Step 2 of the 4-step Step interstate transport
  framework per the August 2018 memorandum.” Proposed Rule at 9867.
  40
     See RTC at 42-59.

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         EPA asserts in the SIP Disapproval that its use of new modeling and data did not move the
  goal post for states because EPA “did not evaluate states’ SIP submissions based solely on the
  2016v2 emissions platform (or the 2016v3 platform…)” but rather “evaluated the SIP submissions
  based on the merits of the arguments put forward in each SIP submission.” SIP Disapproval at
  9366. For Minnesota, however, EPA cites no basis or analysis for its SIP Disapproval other than
  the 2016v3 modeling results. Having relied on no other information to disapprove Minnesota’s
  SIP, EPA cannot simply assert it had an additional basis with no additional substantiation. As the
  D.C. Circuit has noted, EPA cannot support its decision on only a “Delphic explanation of
  [Minnesota’s] purported failure to carry its burden of proof.” New York, 964 F.3d at 1224.

          EPA also maintains that data and modeling it developed for the Proposed Rule in 2022,
  and now additional data and modeling it developed for the SIP Disapproval in 2023, supports a
  finding that Minnesota’s SIP submission is “ultimately inadequate.” SIP Disapproval at 9357. But
  even if this were the case, it does not give EPA a right to disapprove Minnesota’s 2018 SIP. For
  data arising after EPA’s statutory deadline to approve Minnesota’s SIP, EPA could no longer rely
  on its obligation to use the “best information available.” SIP Disapproval at 9366. Interpreting
  the Clean Air Act otherwise would not do justice to the cooperative federalism framework
  Congress established in CAA § 110, and would deprive states of important procedural protections
  allowing them to control and direct in the first instance, the implementation of the NAAQS within
  their borders.

          The SIP Disapproval misapplies the D.C. Circuit’s reasoning in Wisconsin, 903 F.3d at 322,
  when it asserts the SIP submission deadline is “’procedural’” and that to limit EPA’s decision to
  information available at the time of the SIP submission or EPA’s statutory review deadline would
  elevate it above requirements “‘central to the regulatory scheme.’” SIP Disapproval at 9366
  (quoting Wisconsin, 903 F.3d at 322. Neither Wisconsin, nor the case on which it relies, Sierra
  Club v. EPA, 294 F.3d 155 (D.C. Cir. 2002), addressed the issue presented here. In Wisconsin, the
  court was responding to an argument that EPA should have selected 2011 as its analytic year
  even though that year had already passed. In Sierra Club, the court was responding to a
  contention that EPA’s ability to extend a SIP submittal deadline should support its authority to
  extend attainment deadlines. Here, EPA argues for an exception that would swallow the rule. If
  EPA could simply withhold ruling on a SIP until the State’s information had become stale, and
  then disapprove the SIP and issue a FIP based on the “best available information,” the
  cooperative federalism structure of the NAAQS would be an empty shell.

          This is also not a situation like that which arose in EME Homer City Generation, L.P. v. EPA,
  795 F.3d 118 (D.C. Cir. 2015). There, EPA had approved state SIPs in reliance on the Clean Air
  Interstate Rule (“CAIR”), which was subsequently found to have “more than several fatal flaws”
  by the D.C. Circuit. North Carolina v. EPA, 531 F.3d 896, 901 (D.C.Cir.2008) (per curiam). In
  addressing whether this ruling allowed EPA to “correct” its earlier SIP approvals under
  42 U.S.C. § 7410(k)(6), the D.C. Circuit found EPA could do so, but only due to the unique
  circumstances of that case. EME Homer City Generation, 795 F.3d at 135 n.12 (“Our conclusion
  on Subsection 7410(k)(6) is limited to the unusual circumstances here, in which a federal court
  says that EPA lacked statutory authority at the time to approve a SIP.”). Notably, the D.C. Circuit


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  did not decide whether EPA could rely on Clean Air Act §110(k)(6) to disapprove an approved SIP
  “in any other circumstances,” and stated that its holding in particular “should not be read to
  diminish the scope or force of Subsection 7410(k)(5), which provides that whenever ‘the
  Administrator finds that the applicable implementation plan for any area is substantially
  inadequate ... the Administrator shall require the State to revise the plan as necessary to correct
  such inadequacies.’” Id. (quoting 42 U.S.C. § 7410(k)(5)).

          While in EME Homer, EPA had already approved several state SIPs, and in this rulemaking
  EPA has not yet approved Minnesota’s SIP, this is a distinction without a difference. Minnesota
  submitted its SIP on October 1, 2018. It was deemed complete April 1, 2019.41 EPA’s period for
  review therefore ended April 1, 2020. As described in the Proposed Rule, Minnesota’s SIP
  submission complied with the Clean Air Act and EPA’s guidance for developing an interstate
  transport SIP for the 2015 ozone NAAQS. 87 Fed. Reg. at 9848-49. As detailed in the attached
  report, Alpine Geophysics’ review confirms that Minnesota timely submitted an approvable SIP.
  By April 1, 2020, EPA had a statutory duty to approve Minnesota’s SIP.

         EPA’s reliance on its 2016v3 modeling platform (which was not available to the public or
  interested parties) to reject the conclusions Minnesota reached based on the information that
  was available to all parties at the time is clearly of central relevance. Had EPA acted by its
  statutory deadline, Minnesota would have an approved SIP today. Further, while Petitioners have
  previously commented on the approvability of Minnesota’s SIP, the basis for EPA’s partial SIP
  Disapproval for Minnesota, including its decision to rely on its newer 2016v3 modeling platform,
  was not made public until the final rule. These grounds therefore arose after the close of the
  public comment period but before the time for judicial review. Reconsideration is therefore
  appropriate to address this procedural anomaly for Minnesota.

         On reconsideration EPA should approve Minnesota’s 2018 SIP based on the information
  that was available to EPA for its statutory review. The agency may then reassess whether, based
  on the information available today, including the above data and bias corrections, Minnesota’s
  SIP remains sufficient to comply with prong 2 of the state’s Good Neighbor obligations. For the
  reasons explained herein, EPA should find that the 2018 SIP was and is adequate to comply with
  prong 2.

  III.       Grounds for Stay of the SIP Disapproval

          EPA has authority to stay the SIP Disapproval both pending reconsideration and pending
  judicial review. First, if the SIP Disapproval is subject to CAA § 307(d), a stay pending
  reconsideration can be granted for three months. Second, EPA has authority under the APA to
  stay the SIP Disapproval pending judicial review.




  41
       See https://www3.epa.gov/airquality/urbanair/sipstatus/reports/mn_infrabypoll.html

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          A.       A Stay Under CAA § 307(d)(7) is Appropriate.

          The Clean Air Act provides that, if EPA grants reconsideration of a rule, “[t]he
  effectiveness of the rule may be stayed during such reconsideration…by the Administrator or the
  court for a period not to exceed three months.” 42 U.S.C. § 7607(d)(7)(B). If the SIP Disapproval
  is subject to CAA § 307(d), a stay pending reconsideration is justified here.

         EPA issued a final rule based primarily on emissions data and modeling that it did not
  make publicly available before issuance of the final rule. Even upon publication, EPA’s release of
  data was partial and inadequate to reconstruct the modeling that EPA used for its final
  determinations. Obtaining the data and checking its accuracy has taken several weeks. It would
  take many more weeks to rerun EPA’s modeling to confirm that the results support reversal of
  EPA’s disapproval of prong 2 of Minnesota’s SIP. It will likely take a similar amount of time to
  evaluate the evidence of bias Petitioners are submitting to confirm that it too, supports approval
  of Minnesota’s SIP.

          A stay will also not unduly impact downwind states. Minnesota is not modeled to
  interfere with attainment for any downwind state. Under EPA’s most recent modeling,
  Minnesota is linked only to a single maintenance-only receptor, the most recent monitored
  design value of the monitor at this location was in attainment, and EPA’s modeling for 2026
  shows the receptor will model attainment as well with only minimal reductions from Minnesota.
  As EPA has itself emphasized, the SIP Disapproval does not require any action from the states.42

          While a stay of the effective date of the SIP Disapproval for Minnesota would also prevent
  EPA from applying its FIP to Minnesota at the start of the upcoming ozone trading season, which
  is scheduled to start May 1, 2023, this is not likely to be relevant. In a recent filing, EPA has stated
  that the FIP is not likely to be effective until “late June to early July.”43 If EPA timely takes action
  on this reconsideration, this is well within the time EPA would need to conduct reconsideration.
  Further, while EPA has interpreted the CAA to require it “to address good neighbor obligations
  as expeditiously as practicable and no later than the next attainment date,” RTC at 445, granting
  a stay of Minnesota’s SIP denial pending reconsideration will not interfere with that goal.
  Minnesota is modeled to impact only a single maintenance-only monitor. As the D.C. Circuit has
  recognized, this ‘may be a valid reason” to postpone addressing emission reductions until even
  after the next attainment date. North Carolina v. EPA, 531 F.3d 896, 912 (D.C. Cir. 2008). A
  reasonable stay to address reconsideration falls well within EPA’s discretion.

          B.       EPA Should Stay the Effective Date of the SIP Disapproval Pending Judicial
                   Review.

         EPA can consider a stay of the entire SIP Disapproval for all affected states. Under the
  APA, EPA may stay the effective date of the SIP Disapproval pending judicial review when “justice


  42
   See, e.g., 2015 Ozone NAAQS Interstate Transport SIP Disapproval – Response to Comments (“RTC”) at 466.
  43
   Respondents’ Consolidated Response in Opposition to the Motions for Stay of the Final Rule, Texas v. EPA, Case
  No. 23-60069, Doc. 109, at 12 (5th Cir. Filed March 27, 2023).

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  so requires.” 5 U.S.C. § 705. Several Petitioners are filing a petition for judicial review of EPA’s
  partial disapproval of Minnesota’s SIP contemporaneously with this petition for reconsideration
  and stay. Multiple other petitions have already been filed for judicial review, including petitions
  by Arkansas, Kentucky, Oklahoma, Texas, Utah, and Wyoming. More are likely. These cases are
  already spread across four circuits, and additional litigation may expand the number of courts
  further.

          The effective date of the SIP Disapproval is March 15, 2023. This effective date is
  significant for both legal and practical reasons. Legally, it will force EPA to promulgate a FIP within
  two years (though in this case EPA has already finalized its FIP). 42 U.S.C. § 7410(c)(1). States
  will also be required to prepare SIP revisions if they are interested in addressing the errors in
  EPA’s analysis. Further, the significant legal flaws in EPA’s SIP Disapproval discussed above,
  coupled with the technical and legal concerns it raises, make it likely that judicial review will result
  in a remand if not vacatur of the current SIP Disapproval. As a result, to avoid the unnecessary
  expenditure of EPA resources on a FIP, state resources on SIP revisions, and the resources of the
  public and regulatory industries in addressing a FIP that is likely to not be required, justice
  requires that the SIP Disapproval be stayed pending judicial review.

          Further, while EPA is not bound to apply the same four-factor analysis used by courts for
  granting a judicial stay pending review, these factors indicate support for EPA in granting a stay
  of the SIP Disapproval. Under this standard, the considerations for a stay are:

     (1) whether the stay applicant has made a strong showing that he is likely to succeed on the
         merits;

     (2) whether the applicant will be irreparably injured absent a stay;

     (3) whether issuance of the stay will substantially injure the other parties interested in the
         proceeding; and

     (4) where the public interest lies.

  Nken v. Holder, 556 U.S. 418, 434, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009) (citation omitted).
  These “four considerations are factors to be balanced and not prerequisites to be met.” State of
  Ohio ex rel. Celebrezze v. Nuclear Regul. Comm'n, 812 F.2d 288, 290 (6th Cir. 1987).

                 1.      Petitioners Have Made a Strong Showing They Are Likely to Succeed on
                         the Merits

          There is no fixed probability of success the agency must find in applying these
  considerations. “Ordinarily the party seeking a stay must show a strong or substantial likelihood
  of success. However, at a minimum the movant must show ‘serious questions going to the merits
  and irreparable harm which decidedly outweighs any potential harm to the defendant if a [stay]
  is issued.’” Id. (quoting In re DeLorean Motor Company, 755 F.2d 1223, 1229 (6th Cir.1985)).



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           As discussed above, the SIP Disapproval has substantive and procedural flaws, each of
  which individually, and more so when combined, demonstrate “a high probability of success on
  the merits.” Ohio ex rel. Celebrezze v. Nuclear Regul. Comm’n., 812 F.2d 288, 290 (6th Cir.1987).
  Substantively, EPA’s partial SIP Disapproval for Minnesota was based on an incorrect set of
  emissions data and biased modeling results that, when adjusted, support Minnesota’s original
  conclusion that the state is not linked to downwind nonattainment or interference with
  maintenance and, even if linked, does not need to impose additional emission reductions to
  satisfy its Good Neighbor obligations. Procedurally, EPA did not follow the process required by
  the Clean Air Act for reviewing and approving Minnesota’s SIP. In doing so, EPA deprived the
  State and Petitioners of the ability to address EPA’s concerns in a SIP Call process.

          Other flaws in the SIP Disapproval also strongly support a showing of likely success on the
  merits in a judicial challenge. In particular, we call to the agency’s attention: (a) EPA’s
  impermissible reliance on new data to disapprove prong 2 of Minnesota’s SIP without providing
  adequate notice and an opportunity for public comment; and (b) the SIP Disapproval’s subversion
  of the well-established and vital cooperative federalism underlying the entire Clean Air Act and
  in particular, the NAAQS.

                           a.     EPA Cannot Base its SIP Disapproval on Information that was Not
                           Subject to Adequate Notice and Public Comment

          Under both the Administrative Procedure Act (“APA”) and the CAA, EPA’s rulemaking
  process requires adequate public notice and an opportunity to comment. Small Ref., 705 F.2d at
  547. This includes providing the public with the evidence on which EPA intends to rely. Id. at
  540. Adding evidence on which EPA relies after the close of the comment period is “highly
  improper.” Id. at 540; see also Sierra Club, 657 F.2d at 400 (“If … documents of central
  importance upon which EPA intended to rely had been entered on the docket too late for any
  meaningful public comment prior to promulgation, then both the structure and spirit of section
  307 would have been violated.”). Even reconsideration cannot cure an inadequate opportunity
  for notice and comment. U. S. Steel v. EPA, 595 F.2d 207, 214 (5th Cir. 1979) (“Permitting the
  submission of views after the effective date is no substitute for the right of interested persons to
  make their views known to the agency in time to influence the rulemaking process in a
  meaningful way.”) (Internal quotations omitted).

          In the SIP Disapproval, EPA “made a number of updates to [it’s] inventories and model
  design to construct a 2016v3 emissions platform which was used to update [EPA’s] air quality
  modeling.” SIP Disapproval at 9339. The SIP Disapproval used “this updated modeling to inform
  [EPA’s] final action on [Minnesota’s] SIP submissions.” Id. The details of these emissions
  inventory and modeling design changes were first described to the public in the SIP Disapproval
  and associated documents made publicly available the same day.44 Even then, EPA did not make
  public its 2026 modeling results, reserving these for finalization of the FIP several weeks later.


  44
    Even then, the supporting data and modeling platform were not made electronically available and needed to be
  requested by the public, which added several more weeks to gain access.

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          This data and modeling were clearly of central importance to EPA’s disapproval of prong
  2 of Minnesota’s SIP. In fact, they are the sole basis for EPA’s disapproval. See SIP disapproval
  at 9357 (finding Minnesota’s analysis “ultimately inadequate” in light of EPA’s “more recent air
  quality analysis”); see also id. (disapproving prong 2 of Minnesota’s SIP because “[i]n the 2016v3
  modeling, Minnesota is projected to be linked above 1 percent of the NAAQS to one
  maintenance-only receptor”). As a result, EPA was required to provide the public advance notice
  of its new data and an opportunity for meaningful public comment.

          EPA’s publication of its revised emissions inventory and modeling the day of the SIP
  Disapproval did not satisfy this requirement. In Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C.
  Cir. 1982), the D.C. Circuit found EPA had not provided adequate opportunity for public comment
  on economic modeling placed in the docket only one week before promulgation of its final
  regulations. Here, EPA did not make its new emissions data and modeling publicly available until
  the day it published its final SIP Disapproval.

          It is not enough to say that Petitioners had the opportunity to comment on EPA’s previous
  version of the emissions data and modeling, or that EPA’s latest data simply “incorporates
  comments generated during the public comment period.” SIP Disapproval at 9366. As the D.C.
  Circuit stated in Chesapeake, 952 F.3d at 320, it would be an “unreasonable burden on
  commenters not only to identify errors in a proposed rule but also to contemplate why every
  theoretical course of correction the agency might pursue would be inappropriate or incorrect.”
  The new data and modeling on which EPA relies for the SIP Disapproval differs significantly from
  that which was in the public record. Based on EPA’s own summary of the data, Minnesota’s
  largest contribution to a downwind maintenance receptor changed from 0.97 ppb to 0.85 ppb
  based on EPA’s changes. Compare Proposed Rule at 9868 with SIP Disapproval at 9354. Since
  EPA’s own adopted significant contribution threshold in the SIP Disapproval is 0.7 ppb, a change
  of 0.12 ppb is clearly significant.45

          Under both the CAA and the APA, EPA was required to provide notice and an opportunity
  for public comment on its 2016v3 data. There is no question that EPA provided no notice or
  opportunity for comment. As a result, there is a high likelihood that Petitioners would be likely
  to prevail on the merits of a judicial challenge. This strongly supports EPA issuing a stay of the
  effective date of the SIP Disapproval pending judicial review.

                           b.     EPA Undermined State Primacy by Disapproving Minnesota’s SIP
                           Despite its Adherence to the Requirements of the Clean Air Act.

         As EPA acknowledges, “[t]he CAA establishes a framework for state-Federal partnership
  to implement the NAAQS based on ‘cooperative federalism.’” SIP Disapproval at 9367. Under
  this model, “the Federal Government establishes broad standards or goals, states are given the

  45
    EPA’s 2016v3 modeling did not just result in significant changes to EPA’s assessment of Minnesota’s potential
  impact on downwind states. Six states (Arizona, Iowa, Kansas, New Mexico, Tennessee, and Wyoming) had their
  status as linked states change entirely. See Air Quality Modeling Technical Support Document 2015 Ozone NAAQS
  SIP Disapproval Final Action, https://www.regulations.gov/document/EPA-HQ-OAR-2021-0663-0017 at 24.

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  opportunity to determine how they wish to achieve those goals, and if states choose not to or
  fail to adequately implement programs to achieve those goals, a Federal agency is empowered
  to directly regulate to achieve the necessary ends.” Id. Thus, “states have the obligation and
  opportunity in the first instance to develop an implementation plan to achieve the NAAQS under
  CAA section 110” and “EPA will approve SIP submissions under CAA section 110 that fully satisfy
  the requirements of the CAA.” Id. As the Supreme Court has held: “[e]ach State is given wide
  discretion in formulating its plan, and the Act provides that the Administrator ‘shall approve’ the
  proposed plan if it has been adopted after public notice and hearing and if it meets [the CAA’s]
  criteria.” Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976) (quoting 42 U.S.C. § 7410(a)(2)).

         EPA departed from this framework when it proposed a SIP disapproval based, not on any
  inaccuracy in Minnesota’s evaluation of the data, but on EPA’s preference for a different
  modeling platform and emissions inventory. EPA does not have the authority to condition SIP
  approval on the state’s adoption of EPA’s preferred approach, or to supplant Minnesota’
  interpretation of how best to achieve the goals of the CAA, as long as Minnesota complies with
  the requirements of the CAA.

          EPA’s position is predicated on an incorrect summary of its role in the SIP review process
  and the relevant case law. First, EPA’s role is not “secondary” only in that “it occurs second in
  time.” RTC at 425 (internal quotations omitted). EPA relies on EPA v. EME Homer City
  Generation, LP, 572 U.S. 489 (2014) for this proposition, but the case does not support EPA’s
  position. It must be remembered that EME Homer involved EPA’s authority to promulgate a FIP
  after EPA had already disapproved SIPs.46 As a result, the Court did not address EPA’s statutory
  duty to approve a timely and complete SIP submission, which is the issue here. The Court’s
  “interpretations of CAA section 110(a)(2)(D)(i)(I)” on which EPA relies must be read in this light.
  RTC at 426. The Court upheld interpretive choices EPA made when issuing a FIP. The Court did
  not say EPA could delay approval until new information became available that supported its
  disapproval of the SIP.

          Second, EPA is wrong to imply that EME Homer undermines the long line of cases setting
  out EPA’s secondary (in substance, not just in time) role in developing plans to implement the
  NAAQS. In fact, the Supreme Court continues to cite these cases for their interpretation of EPA’s
  role. See West Virginia v. EPA, 213 L. Ed. 2d 896, 142 S. Ct. 2587, 2600 (2022) (“EPA … does not
  choose which sources must reduce their pollution and by how much to meet the ambient
  pollution target. Instead, Section 110 of the Act leaves that task in the first instance to the States,
  requiring each ‘to submit to [EPA] a plan designed to implement and maintain such standards



  46
    See EME Homer, 572 U.S. at 507 (“The gravamen of the State respondents’ challenge is not that EPA's
  disapproval of any particular SIP was erroneous. Rather, respondents urge that, notwithstanding these
  disapprovals, the Agency was obliged to grant an upwind State a second opportunity to promulgate adequate SIPs
  once EPA set the State's emission budget. This claim does not depend on the validity of the prior SIP
  disapprovals. Even assuming the legitimacy of those disapprovals, the question remains whether EPA was
  required to do more than disapprove a SIP, as the State respondents urge, to trigger the Agency's statutory
  authority to issue a FIP.”) (emphasis added).

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  within its boundaries.’”) (quoting Train v. Natural Resources Defense Council, Inc., 421 U.S. 60, 65
  (1975)).

          The SIP Disapproval and RTC makes clear that EPA’s disapproval of prong 2 of Minnesota’s
  SIP was not based on a determination that Minnesota’s SIP failed to meet the statutory
  requirements of CAA, but because EPA wanted to apply “a consistent set of policy judgments
  across all states for purposes of evaluating interstate transport obligations and the approvability
  of interstate transport SIP submissions for the 2015 ozone NAAQS under CAA section
  110(a)(2)(D)(i)(I).” SIP Disapproval at 9339; see also id. at 9340 (“Effective policy solutions to the
  problem of interstate ozone transport going back to the NOx SIP Call have necessitated the
  application of a uniform framework of policy judgments to ensure an ‘efficient and equitable’
  approach.”) (quoting EME Homer, 572 U.S. at 519); RTC at 425-426. This was error. EPA’s
  assessment of a SIP is to be based on whether the SIP compiles with the requirements of the CAA,
  not on EPA’s policy preferences or desire for efficiency. Only after a state fails to comply with its
  statutory requirements can EPA impose what it believes best to achieve the substantive objective
  of the Act.

          Because EPA’s SIP Disapproval is based on improper factors that undermine the core
  cooperative federalism embodied in CAA § 110, Petitioners are likely to prevail on the merits of
  a judicial challenge. This further supports EPA issuing a stay of the effective date of the SIP
  Disapproval pending judicial review.

                 2.      Petitioners Will Suffer Irreparable Harm from a Denial of Stay.

          Relevant factors for evaluating the harm which will occur include: (1) the substantiality of
  the injury alleged; (2) the likelihood of its occurrence; and (3) the adequacy of the proof provided.
  In evaluating the harm which will occur both if the stay is issued and if it is not, the court must
  look to three factors: the substantiality of the injury alleged, the likelihood of its occurrence,
  and the adequacy of the proof provided. Ohio ex re. Celebrezze, 812 F.2d at 290 (citing Cuomo
  v. United States Nuclear Regulatory Commission, 772 F.2d 972, 974 (D.C.Cir.1985)).

           The SIP Disapproval poses substantial and imminent injuries to Petitioners. As discussed
  in Section II above, the data which EPA should have used to evaluate Minnesota’s SIP (see Section
  II.C), the best available data today, when flaws are addressed (see Sections II.A and B), and even
  the most likely future data (see Section II.D) strongly support a finding that Minnesota is not
  significantly contributing to nonattainment or interfering with maintenance of the 2015 ozone
  NAAQS in any state. EPA’s SIP denial is predicated on the erroneous conclusion that there is
  interference with maintenance. This places the entire State of Minnesota in an erroneous state
  of non-compliance with the Good Neighbor requirement of the Clean Air Act.

          EPA’s SIP Disapproval also forces EPA to promulgate emission reductions through a FIP.
  42 U.S.C. § 7410(c). EPA has already finalized just such a rulemaking. This leaves no time for
  reconsideration or judicial review to run its course before Petitioners are injured by the FIP, let
  alone time for Minnesota to remedy EPA’s issues with the submitted SIP. Petitioners submitted
  detailed comments on the FIP identifying numerous substantial injuries from EPA’s promulgation

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  of its Proposed FIP that are likely to occur, and supported by substantial evidence, including
  detailed technical reports.47 While EPA made substantial modification to the FIP in response to
  comments, which Petitioners appreciate reflects considerable work on the Agency’s part
  following the public comment period and has addressed many significant issues with the
  proposed FIP, the final FIP nonetheless includes significant obligations for Petitioners’ electric
  generating units (“EGUs”), starting in the current 2023 ozone trading season (which begins this
  year). Even Petitioners without EGUs are substantial consumers of electricity, meaning that they
  will likely bear much of the burden of the higher costs needlessly imposed on Minnesota power
  producers because of the FIP. Further, while the Proposed FIP is a separate rulemaking, EPA has
  itself identified the SIP Disapproval as both a necessary step in issuance of a final FIP48 and the
  stay of a SIP disapproval that is the basis for a FIP is an appropriate remedy for injuries arising
  from the FIP itself. See EME Homer City Generation, L.P. v. EPA, 696 F.3d 7, 44 n.6 (D.C. Cir. 2012)
  (Rogers, J., dissenting), rev’d on other grounds, 572 U.S. 489 (2014) (“If [states] wish to avoid
  enforcement of the Transport Rule FIPs because they contend EPA's SIP disapprovals were in
  error, the proper course is to seek a stay of EPA's disapprovals in their pending cases; if granted,
  a stay would eliminate the basis upon which EPA may impose FIPs on those States.”) (citing 42
  U.S.C. § 7410(c)(1)(B)).

                   3.      Staying the SIP Disapproval will not Significantly Injure Other Parties.

          As discussed in Section III.A above, the SIP Disapproval does not on its own impose any
  emission reductions on sources. As a result, a stay will not directly harm any other party. While
  a stay would also potentially delay the effective date of the FIP, this is unlikely to result in
  significant injury to other parties. EPA has recently extended a judicially-enforceable deadline to
  review Good Neighbor SIPs for three states to December 15, 2023 without any mention of public
  harm from the delay.49 Even as a stepping stone to a FIP, while a stay will alleviate imminent and
  irreparable costs, it will not significantly impact NOx emissions. As discussed above, the FIP is
  unlikely to be effective until after the start of the current ozone trading season, resulting in an
  attenuated impact on 2023 emissions. Further, even if projected emission reductions for the full
  2023 ozone trading season could be achieved, EPA projects total emission reductions from
  Minnesota of only 139 tons in 2023. This is unlikely to result in any significant impact on the Cook
  County maintenance monitor.

                   4.      The Public Interest Lies in Granting a Stay.

         As courts have held, there is a public interest enjoining inequitable conduct and in
  minimizing unnecessary costs to be met from public coffers. See, e.g. B & D Land & Livestock Co.
  v. Conner, 534 F. Supp. 2d 891, 910 (N.D. Iowa 2008). Here, the public interest supports a stay.

  47
     See Comments of U. S. Steel, EPA-HQ-OAR-2021-0668-0798 (June 27, 2022); Comments of Xcel Energy, EPA-HQ-
  OAR-2021-0668-0411 (June 23, 2022); Comments of Minnesota Power, EPA-HQ-OAR-2021-0668-0539 (June 23,
  2022); Comments of SMMPA, EPA-HQ-OAR-2021-0668-0351 (June 22, 2022); Comments of Cleveland-Cliffs Inc.,
  EPA-HQ-OAR-2021-0668-0405 (June 23, 2022)
  48
     88 Fed. Reg. 9336 at 9362.
  49
     See Joint Notice of Second Stipulated Extension of Consent Decree Deadlines, Doc. 33, Downwinders at Risk v.
  Regan, Case No. 4:21-cv-3551-DMR (N.D. Cal. Jan. 30, 2023).

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  As discussed in Section II.A above, EPA’s SIP Disapproval was promulgated through the
  inequitable exclusion of public participation into the data central to EPA’s final rulemaking. The
  result will be costly public expenditures, both by EPA to promulgate an unnecessary FIP and
  States to either prepare to implement EPA’s FIP or prepare revised SIPs, and well as unnecessary
  costs borne by Petitioners.

         While it was an error for EPA to disapprove Minnesota’s SIP based on information not in
  the record at the time of submission, EPA can ameliorate the harm of this error by staying the
  effect of its SIP disapproval until the merits of the issues above can be fully evaluated and
  addressed.

  IV.    Conclusion

           The State of Minnesota has expended substantial effort and resources to regulate the
  emission of NOx within its borders. Those efforts have successfully reduced State impacts on
  downwind receptors to a point that Minnesota is not a significant contributor to nonattainment
  or interference with maintenance of the 2015 ozone standard in any state. Based on the best
  available data and modeling science available at the time, Minnesota assessed its impact on
  downwind states, as it was required to do under the Clean Air Act, and appropriately concluded
  that it was not interfering with maintenance of attainment in any state. EPA has identified no
  error or omission in Minnesota’s analysis. Nonetheless, based on data that was not available at
  the time, and in fact was not available to the public until February 2023, EPA partially disapproved
  Minnesota’s Good Neighbor plan for the sole reason that, based on EPA’s own modeling, it found
  a single maintenance receptor in Cook County, Illinois that Minnesota state emissions were
  impacting at a maximum level of 0.85 ppb. Neither Minnesota, nor Petitioners, were given an
  opportunity to comment on EPA’s modeling, fully evaluate it, or even see it, until EPA published
  its final SIP Disapproval. While a complete analysis of EPA’s modeling would require months,
  based on Petitioners’ review of the data specific to them, and based on expert evaluations by
  Alpine Geophysics of the modeling and data EPA has provided, EPA’s results likely overstate the
  impact Minnesota is having on the Cook County monitor. Because Petitioners have provided new
  information that reveals flaws in EPA’s emissions inventory for Minnesota and bias in EPA’s
  modeling of the lone monitor that links Minnesota emissions to a downwind state, Petitioners
  have raised material new data undermining the central basis for EPA’s disapproval of prong 2 of
  Minnesota’s SIP. Petitioners therefore request that EPA grant reconsideration of its partial SIP
  disapproval for Minnesota and approve Minnesota’s 2018 SIP. Further, to avoid the significant
  and irreparable harm to Petitions arising from EPA’s erroneous disapproval of prong 2 of
  Minnesota’s SIP, EPA should stay the effectiveness of its SIP Disapproval as applied to prong 2 of
  Minnesota’s SIP pending reconsideration and pending judicial review.

  Dated: April 14, 2023                              Respectfully submitted,
                                                     /s/Douglas A. McWilliams
                                                     Douglas A. McWilliams
                                                     John D. Lazzaretti
                                                     Jon Bloomberg


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                                         States Steel Corporation




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                           Attachment A
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           TECHNICAL REVIEW OF THE
          ENVIRONMENTAL PROTECTION
              AGENCY’S DENIAL OF
           MINNESOTA’S 2015 OZONE
                TRANSPORT SIP


                                       Prepared by:
                                  Alpine Geophysics, LLC
                                        April 2023


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  DOCUMENT OBJECTIVE

  The objective of this document is for Alpine Geophysics, LLC to provide technical review and
  professional opinion of Minnesota Pollution Control Agency’s (MPCA) SIP revision to address
  Clean Air Act (CAA) Section 110(a)(2)(D)(i)(I) and the Environmental Protection Agency’s (EPA)
  final action to disapprove the Minnesota State Implementation Plan (SIP) published on February
  13, 2023 in the Federal Register.

  This document is formatted into three sections that discuss our review and assessment of the
  following issues:

     A. Whether, given time to reassess, MPCA could demonstrate no linkage and/or no
        significant impact on attainment and maintenance in downwind states;
     B. Whether U.S. EPA’s revisions to its modeling approach since MPCA’s SIP submittal were
        ancillary; and
     C. Whether the Minnesota Pollution Control Agency’s state implementation plan revision
        was approvable based on the state of the science at the time it was submitted to U.S.
        EPA.

  At the end of this document, we also provide a summary of conclusions (Section D) and a
  regulatory and legislative timeline of actions taken on Minnesota’s 2015 ozone SIP for
  reference (Section E).




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  A. Given time to reassess, MPCA could demonstrate no linkage
  and/or no significant impact on attainment and maintenance in
  downwind states.

  EPA provided little time for MPCA to review the significant amount of technical information and
  associated calculations that were used to justify their disapproval of the Minnesota SIP,
  especially since EPA used a distinct and largely unrelated modeling platform, emissions
  inventory, and air quality model to justify its action instead of assessing the platform submitted
  by MPCA in support of its SIP. Notwithstanding the fact that four years and four months passed
  since the original Minnesota SIP was submitted to EPA, had appropriate time been given to
  MPCA to review and address EPA’s final disapproval, MPCA could have addressed significant
  flaws in EPA’s modeling that EPA itself should have addressed prior to finalizing any SIP
  disapproval.

  It is our opinion that the U.S. EPA should have approved the MPCA’s SIP when it was submitted
  in 2018. However, since EPA has put forward new modeling, we have reviewed this modeling
  and found several issues with the emissions that EPA used in the new modeling that weigh
  against using it as a basis for disapproving the Minnesota SIP.

     1. EPA inappropriately revised the emission inventory and conducted new air quality
        modeling for SIP disapprovals without allowing a meaningful opportunity for
        stakeholder review and comment.


  EPA’s revisions to the emission inventory used in the modeling it previously has conducted for
  historic transport rules raises an administrative concern about public review and comment.

  EPA notes in the proposed SIP disapprovals that, after the modeling it conducted in support of
  earlier transport rules, e.g., CAIR, CSAPR, CSAPR Update, CSAPR Closeout, and Revised CSAPR
  Update, the agency revised the emission inventory used in the modeling to assess the efficacy
  of prior transport rules. EPA conducted new modeling using this revised inventory and 2016v2
  modeling platform. The agency describes the process as follows:

         Following the Revised CSAPR Update final rule, the EPA made further updates to the
         2016 emissions platform to include mobile emissions from the EPA’s Motor Vehicle
         Emission Simulator MOVES3 model and updated emissions projections for electric
         generating units (EGUs) that reflect the emissions reductions from the Revised CSAPR
         Update, recent information on plant closures, and other sector trends. The construct of



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          the updated emissions platform, 2016v2, is described in the emissions modeling
          technical support document (TSD) for this proposed rule.1

  In December 2021, and in response to EPA requests for inventory review and updates2,3,4,
  MPCA and other stakeholders submitted detailed comments on the 2016v2 emission inventory
  platform to correct errors that existed in that platform. EPA’s declared efforts to revise this
  emission inventory platform at this time raised the question about whether EPA intended to
  update the modeling that has been used as the basis for the SIP disapprovals and the proposed
  FIP – but only in support of the final rule. EPA’s own summary5 of the comment process
  includes the statement that “by spring of 2021 it was necessary to make updates to the
  inventories to perform credible / defensible modeling in CY2021”. In this summary, numerous
  and significant emission, control, and projection factor changes were requested and only with
  release of the final SIP denials were the changes shared by EPA for review.

  As part of these comments, MPCA submitted comments on the 2016v2 emissions modeling
  platform (EMP) relative to three areas of improvement within Minnesota:

      1. Non-electricity generation stationary (non-EGU) point source emissions controls
      2. Future year emissions projections for various point and non-point inventory sectors
      3. Stationary point EGU growth rate differences between the ERTAC vs IPM models

  Non-EGU point source emissions controls
  LADCO worked with member states to identify the highest-emitting sources and applicable
  control technology information for non-EGU stationary point sources in the region. They
  generated a spreadsheet with the highest-emitting non-EGU sources in 2016 for each LADCO
  state, including Minnesota, which also included state updates on emissions control information
  for listed sources.

  A provided spreadsheet identified control information and future emission rate changes for
  several Minnesota sources within the 2016v2 EMP. The control information identified accounts
  for the installation of low NOx burners at the taconite facilities in Minnesota as part of the
  Regional Haze Taconite FIP. Based on MPCA estimates, just under 11,000 tpy in NOx reductions
  were expected due to the controls required by the Taconite FIP. MPCA noted the importance of


  1
    See: IN, IL, MN, OH, and WI proposal at 87 Fed. Reg. 9838 at 9840
  2
    http://views.cira.colostate.edu/wiki/wiki/11208#September-21-2021
  3
    https://cleanairact.org/wp-content/uploads/2021/10/Wayland_Monitoring-Modeling-and-
  Emission-Inventory-Updates_9-30-21-1.pdf
  4
    https://www.epa.gov/air-emissions-modeling/2016v2-platform
  5

  https://gaftp.epa.gov/Air/emismod/2016/v2/reports/comments/Summary_of_2016v2_comments_by_sector_013
  12022.pdf

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  having these significant reductions included in the EPA EMP for non-EGUs and requested that
  EPA do so.

  Below is a summary of approximate NOx emission changes for these sources.

        •   2,100 tpy at Minorca Mine
        •   2,300 tpy at Hibbing Taconite
        •   700 tpy at United Taconite
        •   3,600 tpy at US Steel Keetac
        •   2,100 tpy at US Steel Minntac

  Future year emissions projections for various point and non-point inventory sectors
  LADCO used US EPA-generated emissions projection reports and identified a list of SCCs that
  they believed had incorrect future year projection rates. The 2016v2 EMP projection rates were
  not found consistent either with real-world emissions trends or regional emissions projection
  information. It was requested that EPA replace the 2016v2 EMP projections for these sources
  with the updated rates provided by LADCO.

  A spreadsheet was provided that included the list of the SCCs with alternative projection
  information and LADCO comments on the sources of the alternative information.

  Stationary point EGU growth rate differences between the ERTAC vs IPM models
  LADCO recognized that EPA used the Integrated Planning Model (IPM) to estimate future year
  EGU emissions, and that the IPM projection methodology differed from the Eastern Research
  Technical Advisory Committee (ERTAC) EGU model that is endorsed by the MJOs and most of
  the states in the eastern half of the country. Minnesota noted support for the use of ERTAC
  EGU projections in the 2016v2 EMP and asked EPA to consider replacing IPM projections with
  ERTAC EGU projections for sources in the LADCO region in subsequent modeling platforms.

  While most states urged EPA to rely on modeling that accurately reflects current on-the-books
  regulatory requirements and up-to-date emission inventories, they also strenuously object to
  the possibility that EPA would conduct any such additional modeling to support a final rule.
  Furthermore, these states object to EPA not providing the opportunity for those data to be
  reviewed, analyzed, commented upon, and having those comments addressed by EPA in
  advance of any final decision on the subject SIP disapproval (or for that matter the related FIP).
  These concerns were also expressed in July 2021 by several MJOs (WESTAR, LADCO, SESARM,
  MARAMA, and CENSARA).6




  6
      https://www.regulations.gov/comment/EPA-HQ-OGC-2021-0692-0012

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  EPA’s Previously Unreleased 2016v3 Modeling Platform
  EPA’s newest emissions inventory and modeling platform are of central relevance to EPA’s final
  rule. The SIP Disapproval itself identifies EPA’s “updates to the 2016v2 inventories and model
  design to construct a 2016v3 emissions platform which was used to update the air quality
  modeling” and used “this updated modeling to inform its final action on these SIP
  submissions.7” These data and modeling in fact form the basis for EPA’s final disapproval of
  Minnesota’s SIP8 (finding Minnesota’s analysis “ultimately inadequate” in light of EPA’s “more
  recent air quality analysis”). This issue also arose only with the publication of the final SIP
  Disapproval. EPA’s publication of its revised emissions inventory and modeling did not occur
  until then, and states had no access to the data, the modeling, or even the results of EPA’s
  modeling until that time.

  In the limited time that states have had with the modeling data, significant errors have been
  identified. A robust public comment process for these data is necessary to correct all significant
  errors to ensure that EPA’s regulatory decisions are based on valid and accurate information.
  Within Minnesota alone, some of these errors include the following:

        •   EPA incorrectly included NOx emissions of 2,822 tons in 2023 for Northshore Mining Co.
            – Silver Bay in the future year air quality modeling and associated significant contribution
            calculations but not in the engineering analysis used to calculate state level EGU budgets.
            The subject boilers have been idled since October 2019 and are expected to have zero
            emissions in 2023;

        •   EPA predicts zero emissions at Minnesota Power’s Laskin Energy Center units that have
            been converted to natural gas and expect continued MISO dispatch to support the
            renewables transition and regional grid needs / constraints;

  These errors, and many like these presumed in other states in the modeling platform, may
  significantly impact the results of EPA’s analysis and could be the difference in nonattainment
  and maintenance determinations or whether Minnesota is having a downwind effect on the
  lone Illinois maintenance monitor that subjects Minnesota to the Good Neighbor provisions of
  the Clean Air Act.

  It is our opinion that the absence of inclusion of Minnesota’s and other stakeholder’s valid EMP
  revision submissions, as requested by EPA, and without a rerun of the air quality model in both
  the base and projection year simulations, EPA cannot appropriately identify monitors as
  nonattainment or maintenance, and in turn, cannot calculate upwind state significant
  contribution metrics from these same data. Non-EGU emission controls and their associated
  NOx emission reductions as documented and submitted by MPCA, could be enough to change

  7
      88 FR 9339
  8
      88 FR 9357

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  nonattainment designations and linked significance using an updated platform, and needs to be
  considered before making any final decision on denial of MPCA’s SIP.

     2. The Cook County, Illinois monitor to which Minnesota is linked, is located at the
        interface of land and water along Lake Michigan and is not properly characterized by
        EPA’s supporting modeling.


  EPA did not make a bias adjustment for the only receptor that EPA found “links” Minnesota to
  downwind interference with maintenance. Observed values at this location (the Alsip/Village
  Garage monitor) demonstrate significant model overprediction, justifying the need for
  adjustments to address bias. While EPA has recently investigated bias in southern Lake
  Michigan, this assessment selectively analyzed only one monitor, which was not representative
  of the bias observed at the Village Garage monitor. The failue to adequately address bias in
  EPA’s modeling resulted in an overprediction of ozone. Adjusting for this bias supports the
  conclusion that the Alsip monitor models in attainment of the 2015 ozone NAAQS and
  therefore Minnesota is not interfering with maintenance at this monitor. EPA’s ozone
  attainment modeling guidance states that:

         "[t]he most important factor to consider when establishing grid cell size is model
         response to emissions controls. Analysis of ambient data, sensitivity modeling, and past
         modeling results can be used to evaluate the expected response to emissions controls at
         various horizontal resolutions for both ozone and PM2.5 and regional haze. If model
         response is expected to be different (and presumably more accurate) at higher
         resolution, then higher resolution modeling should be considered. If model response is
         expected to be similar at both high and low(er) resolution, then high resolution modeling
         may not be necessary. The use of grid resolution finer than 12 km would generally be
         more appropriate for areas with a combination of complex meteorology, strong
         gradients in emissions sources, and/or land-water interfaces in or near the
         nonattainment area(s)"

  EPA’s modeling in support of the SIP disapprovals simulated a national domain using a 12km
  grid resolution domain wide. While this makes running a national, regional simulation easier
  from a technical perspective, it neglects the important issue of the complex meteorology
  and/or land-water interfaces in or near the nonattainment or maintenance monitors of
  interest. Indeed, EPA's choice of a 12km grid is an arbitrary choice in contravention of its own
  guidance when modeling Illinois monitors in Cook County because these monitors are at land-
  water interfaces.

  Photochemical modeling along coastlines is complex for two reasons. First, the temperature
  gradients along land/water interfaces can lead to localized on-shore/off-shore flows; and
                                                                                                     6
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  secondly, the photochemical model formulation spreads the emissions in a grid cell throughout
  the full grid volume of the cell.

  Figure 1 presents a unique area along Lake Michigan that is challenged by these complex
  meteorologic issues at land-water interfaces. For the Cook County, Illinois monitor with which
  Minnesota is linked in this final rule, EPA’s published model performance evaluation (MPE)
  metrics for ozone have been reviewed by Alpine on a day-specific basis.




  Figure 1. Lake Michigan shoreline monitors located on land/water interface in Illinois.

  Studies indicate that air quality forecast models typically predict large summertime ozone
  abundances over water relative to land and that meteorology around Lake Michigan is distinctly
  unique; both shortcomings warrant individualized attention and a finer grid resolution to best
  explore actual conditions.9,10,11

  The 3x3 neighborhood of grid cells used in determining the design values of the relative
  response factor (RRF) at land-water interface monitors extends into the noted water bodies.
  Under current guidance, the top ten modeled days within this 3x3 matrix are used in
  determining this RRF for each monitor with any cell identified as 50 percent or more water,
  except for cells including monitors, which are omitted from the calculations.

  Table 1 below provides a list of top 10 days at monitor 170310001 (Alsip/Village Garage), the
  Cook County monitor in Illinois to which Minnesota is linked, and comparisons of daily modeled


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    https://www.ladco.org/wp-
  content/uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf
  10
     Abdi-Oskouei, M. , and Coauthors , 2020: Sensitivity of meteorological skill to selection of WRF-Chem physical
  parameterizations and impact on ozone prediction during the Lake Michigan Ozone Study (LMOS). J. Geophys. Res.
  Atmos., 125, e2019JD031971, https://doi.org/10.1029/2019JD031971.
  11
     McNider, R. T. , and Coauthors, 2018: Examination of the physical atmosphere in the Great Lakes Region and its
  potential impact on air quality—Overwater stability and satellite assimilation. J. Appl. Meteor. Climatol., 57, 2789–
  2816, https://doi.org/10.1175/JAMC-D-17-0355.1.

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  maximum daily average 8-hour ozone concentrations (highlighted in green) and observations
  on the same date in 2016 (highlighted in blue). These are the dates selected in EPA’s modeling
  to represent the highest modeled days used in estimating future year design values.

  As can be seen in Table 1 below, several days selected for RRF calculation have modeled ozone
  concentrations that fall outside of normally acceptable normalized bias (NBias) boundaries
  (±15%), here as the result of over (positive bias) predictions compared to observed
  concentrations on those days. In fact, at the monitor example below, seven of the ten selected
  days fall outside of the ±15% bias metric (highlighted in orange in the Table) with a maximum
  normalized bias of 93.60% (observation was 45.25 ppb and modeled concentration was 87.60
  ppb; a difference of over 42 ppb).

  When these dates are used, EPA’s calculation of future year DV is 68.2 ppb (average) and 71.9
  ppb (maximum) using the average RRF of 0.9349, identifying this as a maintenance monitor.

           Monitor 170310001 – Alsip/Village Garage (Cook Co, Illinois)

         Top 10 RRF - Base Dates (Modeled) –No Water - 3x3
                                     Ozone (ppb)
   Order Date               Obs       Base DV     Future DV               RRF        NBias (%)
     1   20160719          73.25        91.07        83.28               0.9144       24.33
     2   20160723          45.25        87.60        81.46               0.9298       93.60
     3   20160726          64.33        84.02        80.98               0.9637       30.61
     4   20160810          85.88        81.35        77.20               0.9490       -5.27
     5   20160803          74.38        81.04        75.31               0.9293        8.96
     6   20160725          61.88        80.86        76.84               0.9503       30.67
     7   20160722          54.50        79.83        76.28               0.9556       46.48
     8   20160718          60.75        79.69        76.94               0.9655       31.18
     9   20160804          63.75        76.21        66.23               0.8691       19.54
    10   20160603          73.63        75.74        69.82               0.9219        2.87
    Avg                                                                  0.935


                                                      Average Maximum
                          Modeled 2016 DV (ppb)         73.0        77.0
                          Average RRF                  0.935       0.935
                          Future 2023 DV (ppb)          68.2        71.9
  Table 1. List of top 10 days at the Alsip/Village Garage monitor (170310001) in Illinois used in
  RRF and resulting calculated design values (ppb).

  If instead a list of the top 10 days with Nbias values within normal acceptable normalized
  boundaries (±15%) are used, an alternate RRF value is generated, and future year average and


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  maximum design values used in the nonattainment / maintenance designation process are
  recalculated.

  Table 2 presents a list of top 10 days where the Nbias value is less than the acceptable ±15%
  normalized bias boundaries. As is seen in this table, all Nbias values fall within the parameters
  of the acceptable range and dates from the original top 10 list that were already within the
  boundaries have been maintained and are now the top 3 modeled days in the new list.

           Monitor 170310001 – Alsip/Village Garage (Cook Co, Illinois)

         Top 10 RRF - Base Dates (Modeled) –Bias Adjusted - No Water - 3x3
                                     Ozone (ppb)
   Order Date               Obs       Base DV       Future DV       RRF                 NBias (%)
     1   20160810          85.88        81.35         77.20       0.9490                 -5.27
     2   20160803          74.38        81.04         75.31       0.9293                  8.96
     3   20160603          73.63        75.74         69.82       0.9219                  2.87
     4   20160618          67.38        74.79         68.50       0.9158                 11.00
     5   20160619          76.25        72.60         62.88       0.8662                 -4.79
     6   20160727          68.75        73.92         68.92       0.9324                  7.51
     7   20160625          68.13        72.99         66.03       0.9046                  7.14
     8   20160624          74.88        70.49         66.47       0.9430                 -5.86
     9   20160802          62.50        71.65         66.87       0.9333                 14.64
    10   20160524          73.50        69.50         64.27       0.9248                 -5.44


                                                      Average Maximum
                         Modeled 2016 DV (ppb)          73.0         77.0
                         Average RRF                   0.922        0.922
                         Future 2023 DV (ppb)           67.3         70.9
  Table 2. Alternate bias adjusted list of top 10 days at the Alsip/Village Garage monitor
  (170310001) in Illinois used in RRF and resulting calculated design values (ppb).

  As a result of this bias adjusted calculation, the Alsip / Village Garage monitor located in Cook
  County, Illinois (170310001) has an average RRF of 0.922, resulting in an average 2023 DV of
  67.3 ppb and a maximum DV of 70.9 ppb, identifying this monitor as attainment of the 2015
  ozone NAAQS.

  Under Step 1 of the ozone transport framework established by EPA, this monitor would not be
  considered as part of the list of receptors in the significant contribution calculation and
  therefore any linkages from upwind state contributions would be irrelevant.



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  Since this is the only monitor in which Minnesota is linked as a significant contributor under
  EPA’s modeling, this linkage would be broken, and Minnesota should be removed from the list
  of contributing states to downwind receptors.

  In the Response to Comments document from the rule, EPA attempted to address the bias issue
  by preparing an analysis at select monitors in the modeling domain. Specifically, EPA notes 12
  that,

            “Even though the EPA disagrees with commenter’s assertion to “throw out” specific days
            at individual monitors for which model performance does not meet the criteria, out of an
            abundance of caution, the EPA performed a sensitivity analysis for selected receptors in
            which the projected 2023 DVs and contributions were recalculated after removing
            individual days that fell outside the Emery et al., criteria for normalized mean bias
            and/or normalized mean error. The EPA chose receptors in Coastal Connecticut, the Lake
            Michigan area, Dallas, and Denver for this analysis. The specific receptors included in this
            sensitivity analysis are Stratford, Connecticut, Chicago/Evanston, Illinois, Dallas/Denton,
            Texas, and Denver/Rocky Flats, Colorado.” (emphasis added)

  While we agree with EPA’s technical approach and calculations in their Chicago/Evanston
  example provided, EPA’s selection of the Evanston monitor is questionable as it is the only
  monitor out of ten in Cook County, Illinois (three which are identified as maintenance) where
  performance-based recalculation results in higher design values. This is also not the unique,
  individual monitor to which Minnesota is exclusively linked. Table 3 presents the ten Cook
  County, Illinois monitors in EPA’s modeling results13.

  As presented in Table 2, using bias-adjusted design values for the individual receptor with
  which Minnesota is linked (170310001), this monitor is calculated to be in attainment of the
  2015 ozone NAAQS in 2023. This decrease is also seen in the remaining Cook County monitors
  that EPA did not consider in its response to comments on the issue.




  12
    See pg. 196, https://www.epa.gov/system/files/documents/2023-
  03/Response%20To%20Comments%20Document%20Final%20Rule.pdf

  13
       https://www.epa.gov/system/files/documents/2023-03/Final%20GNP%20O3%20DVs_Contributions.xlsx

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                                                  Upwind State Contribution (ppb)

                2023       2023
                Avg        Max
  Site ID        DV         DV     IN       IA      MI      MN       MO      OH        TX      WI
  170310001     68.2       71.9   7.11     0.90    1.16     0.85     0.37    0.68     1.09    2.34
  170310032     67.3       69.8   8.22     0.79    1.15     0.60     0.62    1.39     1.40    2.21
  170310076     67.6       70.4   6.46     0.80    1.07     0.73     0.49    0.62     1.33    2.49
  170311003     64.1       64.7   5.70     0.72    1.03     0.37     0.84    1.22     1.67    2.13
  170311601     63.8       64.5   5.85     0.61    2.03     0.59     0.44    1.49     0.78    1.63
  170313103     58.4       59.6   4.95     0.38    1.44     0.44     0.46    1.08     0.49    2.32
  170314002     64.2       67.3   6.71     0.59    1.48     0.62     0.34    1.09     0.95    3.00
  170314007     66.8       68.7   5.33     0.41    1.53     0.49     0.53    1.19     1.03    2.81
  170314201     68.0       71.5   5.42     0.42    1.56     0.50     0.54    1.21     1.05    2.86
  170317002     68.5       71.3   6.55     0.69    1.00     0.38     1.39    1.04     1.95    2.24
  Table 3. Future year design values (ppb) and significant contribution calculations of upwind
  states to monitors in Cook County, Illinois.

  Table 4 demonstrates that the Evanston monitor (170317002) in which EPA used to illustrate a
  noted increase in design value calculations using a bias adjustment calculation was the only
  monitor out of the ten where the average and maximum design values increased. Had EPA
  selected any other monitor from Cook County to demonstrate the bias adjustment, their
  conclusion may have been different than presented in the Response to Comment document.

                                             EPA Final Rule        Recalculated w/ Bias Adj
                                         2023 Avg     2023 Max     2023 Avg      2023 Max      Bias Adj
  Site ID          State      County        DV            DV           DV           DV        DV Change
  170310001   Illinois      Cook           68.2          71.9         67.3         70.9        Decrease
  170310032   Illinois      Cook           67.3          69.8         66.8         69.3        Decrease
  170310076   Illinois      Cook           67.6          70.4         65.9         68.7        Decrease
  170311003   Illinois      Cook           64.1          64.7         63.3         64.0        Decrease
  170311601   Illinois      Cook           63.8          64.5         63.3         63.9        Decrease
  170313103   Illinois      Cook           58.4          59.6         58.4         59.6       No Change
  170314002   Illinois      Cook           64.2          67.3         63.2         66.3        Decrease
  170314007   Illinois      Cook           66.8          68.7         66.7         68.5        Decrease
  170314201   Illinois      Cook           68.0          71.5         67.3         70.7        Decrease
  170317002   Illinois      Cook           68.5          71.3         69.0         71.8        Increase
  Table 4. EPA final rule and bias-adjusted future year design values (ppb) of monitors in Cook
  County, Illinois.




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  Additionally, the LMOS 2017 study14 shows that for Lake Michigan coastal monitors the air
  quality model even at a 4 km resolution does not simulate the proper timing and structure of
  the land/lake breeze or the inland penetration of elevated ozone concentrations. A review of
  this LMOS study15 states “To reproduce the timing and magnitude of the ozone time series at
  coastal monitors, ozone production over the lake must be correctly simulated; furthermore,
  details of the lake breeze must be accurate—–timing, horizontal extent, and vertical structure.”
  Based on recommendations from the LMOS 2017 study research team, a horizontal resolution
  of at most 1.3 km is required to reasonably resolve the complex meteorology of the air/water
  interface for the great lakes and coastal ocean areas. The LMOS 2017 Study researchers believe
  that a 1.3 km grid spacing will assist in the resolution of the large ozone concentration gradients
  that often occur along the shoreline as well as the inland penetration of the lake breeze
  circulation.

  As the Alsip / Village Garage example shows, days where modeled ozone was predicted at
  concentrations differing up to ± 42 ppb are being used to estimate future year ozone
  concentrations and to make determinations of nonattainment, maintenance, and significant
  contribution from upwind sources.

  Furthermore, to adequately capture the inland penetration of the lake breeze, the LMOS report
  also cites the need for accurate Lake Michigan water temperatures and correct model physics
  options. EPA's use of the Pleim-Xiu Land Service Model (LSM) does not adequately capture the
  lake breeze inland penetration. A review of wind vector observations (from the Meteorological
  Assimilation Data Ingest System (MADIS) network) compared to modeled wind vectors on RRF
  and significantly contributing days at nonattainment monitors highlights the differences in wind
  direction and speed during many hours of these predicted high ozone episodes.

  On many days with relatively simple meteorology, EPA-developed wind fields using the
  Weather Research and Forecasting (WRF) Model agree with the MADIS observed winds.
  However, the modeled winds have strong disagreement with the observed meteorology on
  June 15, July 7, July 27 and August 4, 2016, the four days when the CAMx model predicted the
  highest ozone concentrations and are thus used in estimating RRFs and future year ozone
  design values. The following presents an example on August 4, 2016, a day within the top ten
  highest model estimated MDA8 ozone concentrations at the Alsip / Village Garage monitor.




  14
    https://www.ladco.org/wp-
  content/uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf

  15
    Stanier, C. O., & et al. (2021, November). Overview of the Lake Michigan Ozone Study 2017.
  BAMS, 19.

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  In Figure 2 below, the black wind vectors are the wind fields used in the CAMx model. For
  clarity only every third grid cell is presented. The red vectors are the hourly observed wind
  vectors from the MADIS archive. The hourly results from 1300 CDT through 1600 CDT are
  presented in these Figures. The observations clearly show a broad persistent land to lake flow
  along the western shoreline while the model shows a persistent lake to land flow in this same
  region during this same period. For this timeframe, when the model is estimating the highest
  ozone for the ozone season at this receptor, the model has the winds flowing from the lake to
  the shore while the observations are winds flowing from the shore to the lake.

  Figure 2 demonstrates that observed winds (red arrows) are seen moving from land to lake
  along the western shoreline of Lake Michigan, typically associated with clearing events and
  lower ozone levels in areas in and around Chicago. In contrast, the model (black arrows) shows
  a lake to land flow, typically associated with higher model predicted ozone concentrations due
  to the higher reactive photochemistry over water bodies.




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  Figure 2. Model estimated (black) and observed (red) winds in the Lake Michigan area at 1300
  CDT (top left), 1400 CDT (top right), 1500 CDT (bottom left), and 1600 CDT (bottom right) on
  August 4, 2016.
                                                                                           14
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  These large differences in observed and modeled wind directions are altering the concentration
  calculations as well as the source/receptor relationships (e.g., determining which sources are
  “upwind”) of the Illinois monitors. As a result, the model cannot accurately reproduce the
  chemical processes involved with ozone formation. The erroneous modeled meteorological
  conditions fundamentally change the ozone formation chemistry and modeled source
  contributions as the chemical transport model predicts more emissions coming from the
  Chicago urban area than likely the case consistent with the observed wind fields.

  When the model is having difficulty resolving fundamental flow patterns in this region with this
  grid size resolution, EPA needs to reconsider the merit of using the model with this
  configuration to determine nonattainment status in Step 1 as well as linked significant
  contributors at receptors in this region under Step 2. For these reasons, EPA must consider finer
  grid resolution modeling over the Lake Michigan domain to adequately capture ozone
  formation and significant contribution at receptors located on complex land-water interfaces
  because model evaluation shows that the model fails to adequately characterize ozone
  production at these monitors.

  Absent a wholesale revision of EPA’s modeling protocol, it is our opinion that EPA's use of
  modeling with poor performance at critical monitors amounts to an unreliable result when
  used to establish nonattainment or maintenance monitors under Step 1 or linkages under Step
  2 of the 4-step framework. Should more refined modeling be undertaken to review the ozone
  formation potential at monitors located in these land-water interfaces, results may show that
  these monitors demonstrate modeled attainment and/or remove significant contribution
  linkages from upwind states.

        3. EPA is obligated to address VOC emissions as a critical factor that is influencing ozone
           nonattainment/maintenance monitors in Illinois


  EPA’s modeling fails to account for VOC-limited conditions in the Lake Michigan region. Recent
  information supports the conclusion that VOC-limited conditions in the regional are much more
  significant that EPA has assumed. This results in EPA’s analysis overemphasizing upwind NOx
  contributions from Minnesota on ozone values at the Alsip/Village Garage monitor and an
  underemphasis on local VOC contributions, which can be more effectively used to control
  ozone.

  In addition to grid size resolution and complex meteorology issues, modeling performed by
  EPA16 and the LMOS 2017 study both showed a negative bias in predicted ozone concentrations
  in the Lake Michigan region. LMOS 2017 study researchers have experimented with increasing

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       EPA-HQ-OAR-2021-0668-0099

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  anthropogenic VOC emissions and decreasing anthropogenic NOx emissions. These emission
  changes improved air quality model performance reducing the negative bias. VOC speciation
  and spatio-temporal release patterns should also be reviewed. This evaluation by the LMOS
  2017 research scientists indicates there are significant errors in the quantity and speciation of
  the VOC/NOx emissions used in the EPA’s air quality modeling platform to characterize state
  contribution to ozone in Step 2 of EPA's analyses linking these states to critical nonattainment
  monitors.

  Several downwind nonattainment monitors in urban areas around Lake Michigan recently have
  been shown to be largely unresponsive to ozone reduction strategies consisting of regional
  interstate NOx control and that high ozone days in the region were predominantly VOC-limited
  in nature. This was demonstrated in multiple ozone episodes extensively evaluated in the Lake
  Michigan Air Directors Consortium (LADCO) Lake Michigan Ozone Study (LMOS) 2017 study17
  where ozone precursor measurements indicated relative increases in VOC concentrations with
  increases in ozone and where biogenic VOC increases outpaced those of anthropogenic VOC.

  In contrast to the peer reviewed research resulting from the 2017 LMOS data collection effort,
  EPA recently documented its support for additional NOx controls in stating that its “review of
  the portion of the ozone contribution attributable to anthropogenic NOX emissions versus VOC
  emissions from each linked upwind state leads the Agency to conclude that the vast majority of
  the downwind air quality areas addressed by the proposed rule under are primarily NOX-
  limited, rather than VOC-limited.”18 However, the current situation is that the modeling as
  conducted does not accurately characterize ozone levels on high ozone days, underpredicting
  by 10 + ppb, which is a huge error. Other studies indicate that, to better match actual
  conditions, the model needs less NOx and higher windspeeds at lower levels. The model is
  therefore demonstrating that less NOx means more ozone and higher ozone concentrations.
  That further means that, proportionally, the attribution of ozone to out of state NOx predicts a
  higher impact than is occurring.

  The modeled VOC and NOx emission tracers in EPA’s Anthropogenic Precursor Culpability
  Assessment (APCA) modeling can give a general indication of the VOC/NOx sensitivity, but EPA
  assigning definitive numerical values to that sensitivity provides inaccurate projections,
  especially using APCA that is known to have a bias toward attributing ozone to NOx emitting
  anthropogenic sources under VOC sensitive conditions. As documented in the CAMx v 7.10
  User’s Guide19, “when ozone formation is due to biogenic VOC and anthropogenic NOx under


  17
     https://www.ladco.org/wpcontent/
  uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf
  18
     87 Fed. Reg. 20,076
  19
     https://camx-wp.azurewebsites.net/Files/CAMxUsersGuide_v7.10.pdf, page 177.

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  VOC-limited conditions (a situation where OSAT would attribute ozone production to biogenic
  VOC), APCA attributes ozone production to the anthropogenic NOx present. Using APCA instead
  of OSAT results in more ozone formation attributed to anthropogenic NOx sources and less
  ozone formation attributed to biogenic VOC sources.” Here, it is believed that as applied in this
  case (with biogenic emissions as an uncontrollable source group), EPA has overestimated the
  efficacy of NOx controls on these receptors as modeled results have a bias toward attributing
  more ozone formed to NOx emissions than VOC emissions.

  Furthermore, an independent review of EPA’s own NOx and VOC contributions challenges the
  Agency’s statement that “[o]ur analysis of the ozone contribution from upwind states subject to
  regulation under this proposed rule demonstrates that the vast majority of the downwind air
  quality areas are NOX-limited, rather than VOC-limited.”20 This statement is based on all
  anthropogenic NOx and VOC emissions from all upwind states and is defined as having NOx
  emissions contribute to 80% or more of the ozone concentrations modeled at each receptor 21.

  EPA further goes on to state that “[t]his review of the portion of the ozone contribution
  attributable to anthropogenic NOX emissions versus VOC emissions from each linked upwind
  state leads the Agency to conclude that the vast majority of the downwind air quality areas
  addressed by the proposed rule under are primarily NOX-limited, rather than VOC-limited.”22

  Alpine’s review of EPA’s modeled NOx and VOC contributions, by upwind state, focusing on the
  future year modeled days used in each receptor’s Step 2 linkage calculation provides a slightly
  different picture for monitors around Lake Michigan. As demonstrated in Table 5, of the top
  future year modeled days impacting significant contribution calculations at the Cook County,
  Illinois monitor with which Minnesota is linked, more than half of the days are shown to have
  NOx emission contributions from Illinois below the 80% threshold noted by EPA in determining
  NOx-limited regions. This is an indicator that on those days, and from anthropogenic sources
  from those states, VOC controls may demonstrate meaningful impact on ozone concentration
  reductions at this receptor.

  Researchers at the University of Maryland (UMD) have also found in a study of chemical
  transport model results that by 2023, model predictions of ozone formed under VOC-limited
  conditions are substantial near the Long Island Sound and the Great Lakes. In a recent
  presentation23, they document a source apportionment simulation, conducted with
  CAMx/APCA on future-year 2023 to determine the major contributing sources and states to air



  20
     87 Fed. Reg. 20053
  21
     87 Fed. Reg. 20076
  22
     Id.
  23
     https://www.cmascenter.org/conference/2021/slides/allen-northeast-ambient-ozone-2021.pdf

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  quality within non-attainment areas. Their findings indicate that ozone production under VOC-
  limited conditions is important at coastal locations near Long Island Sound and the Great Lakes.

                         2023 O3                   O3N / O3N+O3V Contribution
   Top Day      Date       (ppb)       All      IL      IN       MI     OH       TX      WI
      1       07/25/16 70.922 82.4% 81.2% 83.4% 100.0%                    -    72.7% 84.1%
      2       07/18/16 70.682 69.4% 64.3% 75.6%                   -       -    85.9% 67.1%
      3       07/19/16 70.668 79.9% 76.7% 83.7% 90.5%                     -    80.5% 89.2%
      4       08/10/16 67.487 79.4% 70.0% 82.4% 90.4% 86.4% 90.3% 90.6%
      5       07/26/16 66.803 80.8% 72.7% 84.0% 90.7%                     -       -     90.8%
      6       07/23/16 63.295 84.9% 81.2% 84.0% 66.7%                     -    89.7% 85.2%
      7       08/03/16 61.342 88.8% 84.0% 90.9% 90.4% 92.3% 94.2% 93.8%
      8       06/18/16 59.494 86.7% 72.8% 89.4% 90.1% 91.0% 90.9% 89.5%
      9       06/03/16 58.730 71.5% 63.2% 73.6% 58.8%                     -    74.5% 78.0%
      10      08/04/16 58.241 95.0% 92.5% 96.0% 94.7% 97.1% 96.4% 94.9%
  Table 5. Modeled ozone contributions to Cook, Illinois monitor (170310001) by percent of
  emissions from anthropogenic NOx (O3N) compared to emissions from anthropogenic NOx
  and VOC (O3). Yellow cells indicate contributions of anthropogenic VOC emissions greater
  than EPA identified “NOx-limited” areas.

  Figure 3 presents UMD’s findings for model predictions of ozone formation under NOx limited
  conditions excluding the influence of boundary and initial conditions from the modeling input.
  As can be seen in these figures, regions around Lake Michigan demonstrate a significantly
  higher percentage of ozone formed by VOC (blue in color) compared to NOx than most of the
  eastern US. This observation is seen both on modeled days greater than 60 ppb and on the top
  ten days of the ozone season (days used in RRF and significant contribution calculations).




  Figure 3. Percent of ozone formed under NOx-limited conditions excluding boundary and
  initial conditions on all days of MDA8 ozone > 60 ppb (left) and on top ten modeled days
  (right).

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  It is also noted that these estimates are a very conservatively high estimate of NOx limited
  conditions for these coastal areas. In addition to the previous comments highlighting that APCA
  is known to have a bias toward attributing ozone to NOx emitting anthropogenic sources under
  VOC sensitive conditions, the UMD analysis footnotes that the APCA run used to generate the
  results presented in Figure 3 suggests that model configuration led to an underestimation of
  the contribution of anthropogenic sources to ozone formation, especially during periods of VOC
  limited chemistry, and as is seen in Figure 3, in the Cook County, Illinois area.

  As a result of these findings, EPA is obligated to address the concern that VOC emissions are a
  factor that is influencing ozone nonattainment and maintenance monitors in Illinois and
  elsewhere and that EPA determination of ozone nonattainment or maintenance in these areas
  may be inappropriate for significant contribution and upwind state linkage calculation. It is also
  our opinion that after review of VOC contribution and limited ozone reduction potential in
  Chicago and other noted areas, EPA may find that emission reduction plans may fail to justify
  regional NOx rules for monitors within these transitional and VOC-limited domains.




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  B. U.S. EPA's revisions to its modeling approach since MPCA’s SIP
  submittal were ancillary.

  EPA failed to give appropriate recognition of the merit of the MPCA SIP submitted on October
  1, 2018, meeting the statutory deadline for submittal of interstate transport SIPs for the 2015
  ozone NAAQS. The submission utilized both EPA modeling released with the March 2018
  memorandum and LADCO modeling results previously mentioned. Minnesota followed the 4-
  step interstate transport framework and used an analytic year of 2023 to describe Minnesota's
  lack of contributions to out of state receptors and assess emission reduction considerations.

  Under the CAA, on April 1, 2019, MPCA’s SIP was deemed to be complete since EPA did not act
  within the 6 months from the date the SIP was submitted. April 1, 2020, 12 months after the
  completeness date, was the deadline for EPA to have acted on the MPCA SIP submission. Upon
  this deadline a full, partial or conditional approval was required by CAA Section 110(k)(2), (3), or
  (4).24 In this regard, EPA failed to complete its non-discretionary duty to have reviewed and
  acted upon the MN SIP by April 1, 2020.

  It wasn’t until February 22, 2022, three years and four months after submittal, that EPA finally
  assessed the Minnesota SIP submittal and proposed disapproval of the SIP25 as follows: “Based
  on EPA's evaluation of Minnesota's SIP submission and after consideration of updated EPA
  modeling using the 2016-based emissions modeling platform, EPA is proposing to find that the
  portion of Minnesota's October 1, 2018 SIP submission addressing CAA section 110(a)(2)(D)(i)(I)
  does not meet the state's interstate transport obligations for 2015 ozone NAAQS, because it
  fails to contain the necessary provisions to eliminate emissions that will contribute significantly
  to nonattainment or interfere with maintenance of the NAAQS in any other state.”

  The EPA reiterated this assessment and issued a partial approval on February 13, 2023, in their
  final rule stating that “Although the EPA acknowledges that Minnesota’s Step 3 analysis was
  insufficient in part because the State assumed it was not linked at Step 2, this is ultimately
  inadequate to support a conclusion that the State’s sources do not interfere with maintenance
  of the 2015 ozone NAAQS in other states in light of more recent air quality analysis.”26


  24
     Deadline for Action. – Pursuant to the CAA Section 110(k)(1)(B) “Within 12 months of a determination by the
  Administrator (or a determination deemed by operation of law) under paragraph (1) that a State has submitted a
  plan or plan revision (or, in the Administrator’s discretion, part thereof) that meets the minimum criteria
  established pursuant to paragraph (1), if applicable (or, if those criteria are not applicable, within 12 months of
  submission of the plan or revision), the Administrator shall act on the submission in accordance with paragraph
  (3).”
  25
     87 Fed. Reg. 9838
  26
     88 Fed. Reg. 9357

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         1. EPA’s Failure to Act


  MPCA has been disadvantaged by EPA’s delay in acting to approve or disapprove its 2015 Good
  Neighbor SIP, which was submitted to EPA on October 1, 2018. EPA published its proposed
  disapproval on February 22, 2022, and relied in part on newer, updated modeling performed by
  the EPA which was not available when MPCA submitted its revised SIP. On February 13, 2023,
  EPA published its final disapproval and again relied on even newer, updated modeling only
  released with the rule.

  By delaying its final decision on Minnesota’s submittal for nearly four and a half years, EPA
  moved the goal post for Minnesota—an act the DC Circuit rebuked in New York v. EPA, 964 F.3d
  1214, 1223 (D.C. Cir. 2020). If EPA were to review and approve or disapprove SIPs within the
  timeframes required by the CAA, EPA would have conducted its review based on the same
  modeling and data that was available at the time the SIP was submitted and that has been
  documented in the sections above. EPA offers no indication that additional material
  information was available to EPA on April 1, 2020, when agency action on the Minnesota SIP
  was required that could justify disapproval of the Minnesota SIP.

  Further, the updated modeling that EPA now offers to support a SIP review has not been
  adequately available to be reviewed, analyzed, and commented on in advance of any final
  decision on the subject SIP disapproval.

         2. EPA has not developed any official guidance for states to follow in submitting a Good
            Neighbor SIP


  The Good Neighbor SIP has been a required SIP element since the implementation of the 1997
  8- hour ozone standard. In the intervening years, EPA has issued no official guidance for states
  to use in developing an approvable Good Neighbor SIP. It is unclear what standard or criteria
  EPA uses to determine approvability.

  In its only direction on the subject, EPA released three 2018 memos that included modeling and
  discussion on potential flexibilities in approaches that could be used by states in developing
  their Good Neighbor SIPs. However, EPA has now disapproved MPCA’s SIP which was based on
  EPA’s own modeling results from the memo because it “does not meet the state’s interstate
  transport obligations for 2015 ozone NAAQS, because it fails to contain the necessary
  provisions to eliminate emissions that will contribute significantly to nonattainment or interfere
  with maintenance of the NAAQS in any other state.”27


  27
       87 FR 9869

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  From the memos, the only concrete guidance states have been provided is the four-step
  framework. Applied appropriately in the MPCA SIP, this framework demonstrated that
  Minnesota was not significantly linked to any downwind nonattainment or maintenance
  monitor. Since MPCA used EPA’s own modeling and four-step approach to prepare its SIP, the
  SIP was approvable at the time submitted and was approvable when EPA was required to act on
  the SIP on April 1, 2020.

         3. EPA’s ever-changing list of nonattainment and maintenance monitors moves the target
            for Minnesota without offering any basis to reject MPCA’s original analysis.


  As detailed earlier, MPCA’s air quality projections based on the ozone modeling conducted by
  LADCO in October 2018 was corroborated by EPA’s own contribution modeling released with
  the March 2018 flexibilities memorandum and that showed that Minnesota was not linked to
  any monitor designated as nonattainment or maintenance for the 2015 ozone NAAQS in 2023.
  In those two modeling studies, the Cook County, Illinois monitor now linked to Minnesota was
  calculated to be in attainment for the 2015 ozone NAAQS.

  Table 6 provides the average and maximum projected design values from the LADCO modeling
  that supported the original MPCA iSIP and March 2018 EPA memo modeling for this monitor
  demonstrating modeled attainment at this location.

                                               LADCO Modeling          EPA March 2018 Memo
                                             2023         2023      2023 Average       2023
       AQS Site ID  State        County   Average DV  Maximum DV         DV        Maximum DV
        170310001 Illinois       Cook        62.8         64.6          63.2           64.9
  Table 6. LADCO and EPA 2023 ozone design values (ppb) for Minnesota linked Cook County,
  Illinois monitor from original MPCA SIP and March 2018 EPA memo modeling results.

  EPA’s proposed disapproval mentions new modeling conducted by EPA in the interim where
  this Illinois monitor is ultimately identified as a maintenance monitor. Table 7 below provides
  the average and maximum projected design values from these studies and from the final SIP
  disapproval for this monitor.

  In the proposed SIP disapproval, EPA cites the “results of a prior round of 2023 modeling using
  the 2016v1 emissions platform which became available to the public in the fall of 2020 in the
  Revised CSAPR Update.” 28 In this Revised CSAPR Update modeling, developed for use with the
  2008 ozone NAAQS analyses, monitor 170310001 is identified as a maintenance monitor in




  28
       Footnote 94, 87 FR 9869

                                                                                                    22
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  EPA’s results. In EPA’s results published in the proposed SIP disapproval29 and in the final SIP
  disapproval30, EPA continued to identify this monitor as a maintenance monitor.

                       EPA Revised CSAPR             EPA Proposed SIP
                                                                              EPA Final SIP Disapproval
                            Update                     Disapproval
                     2023 Ave     2023 Max        2023 Ave     2023 Max        2023 Ave        2023 Max
       AQS Site ID      DV            DV             DV           DV              DV              DV
        170310001      68.4          72.2           69.6         73.4            68.2            71.9
  Table 7. EPA 2023 ozone design values (ppb) for Cook County, Illinois monitor from EPA cited
  modeling results in proposed and final Minnesota SIP disapproval.

  In our opinion, EPA should always rely on the best available modeling at the time that an
  analysis is conducted and results, whether in a SIP or other, are developed and submitted. In
  this case, EPA has failed to follow this process and instead continued to move the target and
  objectives for states that, in Minnesota’s case, for over four years and four months had been
  waiting for a review of their “best available data and analysis”.

        4. Alternative 1 ppb significance threshold


  Neither the LADCO modeling nor EPA modeling released with the March 2018 memorandum
  indicated that Minnesota would contribute over 1% of the NAAQS to any nonattainment or
  maintenance monitor in 2023. As a result, Minnesota did not think it necessary to consider
  using a 1 ppb threshold for significant contribution to downwind receptors, which EPA guidance
  offered as an option to States.

  In the SIP disapproval, EPA further elaborates that following their receipt and review of forty-
  nine good neighbor SIPs for the 2015 ozone NAAQS, their experience was that no state relying
  on a 1 ppb threshold provided sufficient information and technical support to justify that an
  alternative threshold was reasonable31. EPA does not indicate how many of the reviewed SIPs
  used a 1 ppb threshold nor do they indicate on how many state SIPs they provided feedback, if
  any. They go on to state that this alternate 1 ppb threshold may also be politically inconsistent
  and impractical under the CAA32.

  As EPA not only failed to provide any feedback to Minnesota on its original October 1, 2018 SIP
  submittal until the February 22, 2022 proposed SIP disapproval, EPA has also failed to honor its
  March 2018 guidance33 which was identified to specifically “provide analytical information


  29
     Table 5, 87 FR 9868
  30
     Table III.B-2, 88 FR 9351
  31
     87 FR 9843
  32
     Footnote 33, 87 FR 9843
  33
     https://www.epa.gov/sites/default/files/2018-03/documents/transport_memo_03_27_18_1.pdf

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  regarding the degree to which certain air quality threshold amounts capture the collective
  amount of upwind contribution from upwind states to downwind receptors or the 2015 ozone
  NAAQS. It also interprets that information to make recommendation about what thresholds
  may be appropriate for use in state implementation plan (SIP) revisions addressing the good
  neighbor provision for that NAAQS.”

  Minnesota has been denied the opportunity to correct the model inputs that EPA uses as the
  basis for SIP Disapproval at the 1% threshold and denied the opportunity to update its SIP to
  take advantage of the 1 ppb threshold that EPA offers States an opportunity to justify in its
  guidance. While EPA continues to regenerate results based on updated emission modeling
  platforms and other associated information, states have been omitted from the process,
  denying them the chance to review updated information and to provide revisions to their SIPs
  to address those updates.

  It is important to note that under all of EPA’s cited modeling results, Minnesota contributes
  under the 1 ppb permitted to be considered from EPA’s March 2018 guidance. Table 8 below
  shows that under none of EPA’s four modeling platforms does Minnesota contribute over the 1
  ppb threshold to the Cook County monitor.

                                                 Minnesota Contribution (ppb) in 2023
    AQS Site                     EPA March       EPA Revised    EPA Proposed SIP      EPA Final SIP
       ID     State County       2018 Memo      CSAPR Update       Disapproval        Disapproval
   170310001 Illinois Cook          0.76            0.79               0.97               0.85
  Table 8. Minnesota contribution to Cook County, Illinois 2023 ozone design values from
  documented modeling platforms.

  EPA’s 2018 flexibility memos, including the opportunity for states to make recommendations to
  support alternate thresholds for significant contribution, remains an important tool for
  addressing unique State circumstances in developing their good neighbor SIPs. Disapproving
  the Minnesota SIP without affording the State an opportunity to utilize this flexibility is
  unreasonable and should be reconsidered.




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  C. The Minnesota Pollution Control Agency’s state implementation
  plan revision was approvable based on the state of the science at the
  time it was submitted to U.S. EPA.
       1. Introduction


  On October 1, 2018, the Minnesota Pollution Control Agency, after review and comment by EPA
  Region 5 staff, submitted to the U.S. Environmental Protection Agency a request for revision of
  Minnesota’s State Implementation Plan34.

  The proposed SIP revision addressed Minnesota’s responsibilities relating to the
  “Infrastructure” SIP (iSIP) requirements of sections 110(a)(l) and 110(a)(2) of the Clean Air Act
  (CAA), as they pertain to the National Ambient Air Quality Standard (NAAQS) for ozone,
  promulgated in 2015. The CAA requires states to submit an iSIP within three years of the EPA’s
  issuance of a new NAAQS to demonstrate their continued ability to implement, maintain, and
  enforce the federal standards. The iSIP outlined the statutes, rules, and programs that enable
  Minnesota to ensure attainment of the 2015 ozone NAAQS. These statutes, rules, and programs
  had previously been reviewed and approved into Minnesota’s iSIP, and the materials included
  with the iSIP demonstrate that the MPCA did not have further obligations under the iSIP
  requirements.

  The MPCA submission utilized both EPA modeling released with a March 2018 flexibilities
  memorandum35 and Lake Michigan Air Directors Consortium (LADCO) modeling results36.
  Minnesota followed the 4-step interstate transport framework and used an analytic year of
  2023 to describe Minnesota’s lack of contributions to out of state receptors and assess
  emission reduction considerations.

  In this document we discuss both the technical and legal validity of MPCA’s SIP and EPA’s
  obligation to approve the SIP.

  EPA's and LADCO's model projections, along with continuing decreases in the emissions and
  monitored levels of ozone precursors in Minnesota (nitrogen dioxide and volatile organic
  compounds), demonstrated that no additional controls or emissions limits were necessary to



  34
     EPA-R05-OAR-2018-0689-0003
  35
     https://www.epa.gov/interstate-air-pollution-transport/memo-and-supplemental-information-regarding-
  interstate-transport
  36
     https://www.ladco.org/wp-
  content/uploads/Documents/Reports/TSDs/O3/LADCO_2015O3iSIP_TSD_13Aug2018.pdf

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  fulfill Minnesota's responsibilities under the good neighbor provisions for the 2015 ozone
  NAAQS.

  On February 13, 2023, almost four and a half years after the original SIP submittal, EPA finalized
  a rule in connection with the Air Plan Disapprovals; Interstate Transport Requirements for the
  2015 8-Hour Ozone National Ambient Air Quality Standards37.

  EPA notes in this final rule, that these disapprovals would not start a mandatory sanctions clock
  but rather would establish a 2-year deadline for EPA to promulgate a Federal Implementation
  Plan (FIP), unless EPA were to approve a subsequent SIP submittal that meets CAA
  requirements. EPA originally proposed a FIP to be finalized December 15, 2022, in complete
  disregard for the 2-year period allowed by the CAA for responding to any such SIP
  disapprovals38. This FIP39 was signed by the Administrator on March 15, 2023, and is still
  awaiting publication in the Federal Register.

  In 2018 EPA issued flexibility guidance for states to follow in development of 2015 ozone
  standard NAAQS God Neighbor SIPs (GNS). We specifically question how EPA’s late disapproval
  contradicts this guidance.

       2. MPCA’s Modeling Approach


  The modeling performed to support the SIP was performed by LADCO and except for the 2023
  projected EGU emissions, was identical to the “EN” platform developed by EPA and followed
  EPA guidance40 in preparation of technical material for SIP and SIP-related modeling. The EN
  platform was used by EPA in its March 2018 flexibility memorandum so that “[s]tates can use
  these data to develop their implementation plans to assure that emissions within their
  jurisdictions do not contribute significantly to nonattainment or interfere with maintenance of
  the 2015 ozone standards in other states.”

  In our opinion, this platform was technically credible, and a SIP developed from these data
  should have been approvable by EPA at the time of submission in October 2018. The following
  sections present our opinions on specific technical aspects of MPCA modeling.




  37
     Id.
  38
     87 Fed. Reg 20036
  39
     https://www.epa.gov/system/files/documents/2023-03/FRL%208670-02-
  OAR_Good%20Neighbor_Final_20230314_Signature_ADMIN%20%281%29.pdf
  40
     https://www.epa.gov/sites/production/files/2020-10/documents/o3-pm-rh-modeling_guidance-2018.pdf

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  Base Year
  The base year for the MPCA modeling was 2011. 2011 was selected because of data availability
  and because EPA41 had noted that 2011 meteorology in the Eastern U.S., including the upper
  Midwest, was warmer and drier that the climatic norm and represented typical conditions
  conducive to high observed ozone concentrations in the Midwest and Northeast U.S. It is
  Alpine’s opinion that 2011 was an appropriate modeling year.

  Model and Data Selection
  This section introduces the models and data sources used in the MPCA. The selection
  methodology followed EPA’s guidance for ozone regulatory modeling42,43,44. EPA’s 2018
  modeling guidance45 lists several criteria for model selection that are paraphrased as follows
  (pp. 24-27):

      •    It should not be proprietary;
      •    It should have received a scientific peer review;
      •    It should be demonstrated to be applicable to the problem on a theoretical basis;
      •    It should be used with data bases which are available and adequate to support its
           application;
      •    It should be shown to have performed well in past modeling applications;
      •    It should be applied consistently with an established protocol on methods and
           procedures;
      •    It should have a user’s guide and technical description;
      •    The availability of advanced features (e.g., probing tools or science algorithms) is
           desirable; and

  41 Air Quality Modeling Technical Support Document for the 2008 Ozone NAAQS Cross-State Air Pollution Rule Proposal.

  Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2015-
  11/documents/air_quality_modeling_tsd_proposed_rule.pdf

  42 Guidance on the Use of Models and Other Analyses for Demonstrating Attainment of Air Quality Goals for Ozone, PM2.5 and

  Regional Haze. U.S. Environmental Protection Agency, Research Triangle Park, NC. EPA-454/B-07-002. April, 2007.
  (http://www.epa.gov/ttn/scram/guidance/guide/final-03-pm-rh-guidance.pdf).

  43 Draft Modeling Guidance for Demonstrating Attainment of Air Quality Goals for Ozone, PM2.5 and Regional Haze. U.S.

  Environmental Protection Agency, Office of Air Quality Planning and Standards, RTP, NC. December 3, 2014.
  (http://www.epa.gov/ttn/scram/guidance/guide/Draft_O3-PM-RH_Modeling_Guidance-2014.pdf).

  44 Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental Protection

  Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park, NC. EPA 454/R-18-009.
  November 29, 2018. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-Modeling_Guidance-2018.pdf).

  45 Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental Protection

  Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park, NC. EPA 454/R-18-009.
  November 29, 2018. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-Modeling_Guidance-2018.pdf).


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       •   When other criteria are satisfied, resource considerations may be important and are a
           legitimate concern.

  It is Alpine’s opinion that the models chosen for the MPCA modeling met these criteria and
  were appropriate for use in the SIP.

  Meteorological Modeling
  The Weather Research and Forecasting (WRF) Model is a mesoscale numerical weather
  prediction system designed to serve both operational forecasting and atmospheric research
  needs46,47,48. The Advanced Research WRF (ARW) version of WRF was used in the MPCA
  modeling study. It features multiple dynamical cores, a 3-dimensional variational (3DVAR) data
  assimilation system, and a software architecture allowing for computational parallelism and
  system extensibility. WRF is suitable for a broad spectrum of applications across scales ranging
  from meters to thousands of kilometers. The effort to develop WRF has been a collaborative
  partnership, principally among the National Center for Atmospheric Research (NCAR), the
  National Oceanic and Atmospheric Administration (NOAA), the National Centers for
  Environmental Prediction (NCEP) and the Forecast Systems Laboratory (FSL), the Air Force
  Weather Agency (AFWA), the Naval Research Laboratory, the University of Oklahoma, and the
  Federal Aviation Administration (FAA). WRF allows researchers the ability to conduct
  simulations reflecting either real data or idealized configurations. WRF provides operational
  forecasting a model that is flexible and efficient computationally, while offering the advances in
  physics, numerics, and data assimilation contributed by the research community.

  WRF is publicly available, has full documentation and has demonstrated success in simulating
  meteorological conditions in the Upper Midwest.




  46
    Skamarock, W. C. 2004. Evaluating Mesoscale NWP Models Using Kinetic Energy Spectra. Mon. Wea. Rev.,
  Volume 132, pp. 3019-3032. December, 2004.
  (http://www.mmm.ucar.edu/individual/skamarock/spectra_mwr_2004.pdf).

  47
    Skamarock, W. C. 2006. Positive-Definite and Monotonic Limiters for Unrestricted-Time-Step Transport
  Schemes. Mon. Wea. Rev., Volume 134, pp. 2241-2242. June.
  (http://www.mmm.ucar.edu/individual/skamarock/advect3d_mwr.pdf).

  48
    Skamarock, W. C., J. B. Klemp, J. Dudhia, D. O. Gill, D. M. Barker, W. Wang and J. G. Powers. 2005. A Description
  of the Advanced Research WRF Version 2. National Center for Atmospheric Research (NCAR), Boulder, CO. June.
  (http://www.mmm.ucar.edu/wrf/users/docs/arw_v2.pdf)


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  MPCA used the U.S. EPA 2011 WRF data for this study49. The U.S. EPA used version 3.4 of the
  WRF model, initialized with the 12-km North American Model (NAM) from the National Climatic
  Data Center (NCDC) to simulate 2011 meteorology. Complete details of the WRF simulation,
  including the input data, physics options, and four-dimensional data assimilation (FDDA)
  configuration are detailed in the U.S. EPA 2008 Transport Modeling technical support
  document50. U.S. EPA prepared the WRF data for input to CAMx with version 4.3 of the
  WRFCAMx software.

  It is Alpine’s opinion that the U.S. EPA WRF 3.4 meteorological modeling was appropriate for
  use in the MPCA SIP.

  Initial and Boundary Conditions
  MPCA used 2011 initial and boundary conditions for CAMx generated by the U.S. EPA from the
  GEOS-Chem Global Chemical Transport Model51. EPA generated hourly, one-way nested
  boundary conditions (i.e., global-scale to regional-scale) from a 2011 2.0 degree x 2.5 degree
  GEOS-Chem simulation. Following the convention of the U.S. EPA O3 transport modeling, year
  2011 GEOS-Chem boundary conditions were used by LADCO for modeling 2023 air quality with
  CAMx.

  It is Alpine’s opinion that the U.S. EPA GEOS-Chem derived initial and boundary conditions were
  appropriate for use in the MPCA SIP.

  Emissions
  The 2023 emissions data for the MPCA SIP were based on the U.S. EPA 2011v6.3 (“EN”)
  emissions modeling platform52. U.S. EPA generated this platform for their final assessment of
  Interstate Transport for the 2008 O3 NAAQS. Updates from earlier 2011-based emissions
  modeling platforms included a new engineering approach for forecasting emissions from
  Electricity Generating Units (EGUs). LADCO replaced the EGU emissions in the U.S. EPA EN


  49 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.

  50 US EPA. 2014. Meteorological Model Performance for Annual 2011 WRFv3.4 Simulation. Research Triangle Park, NC.

  https://www3.epa.gov/ttn/scram/reports/MET_TSD_2011_final_11-26-14.pdf.

  51 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.

  52 US EPA. 2017. Technical Support Document: Additional Updates to Emissions Inventories for the Version 6.3 Emissions

  Modeling Platform for the Year 2023. Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2017-
  11/documents/2011v6.3_2023en_update_emismod_tsd_oct2017.pdf


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  platform with 2023 EGU forecasts estimated with the ERTAC EGU Tool version 2.753. ERTAC EGU
  2.7 integrates state-reported information on EGU operations and forecasts as of May 2017.
  The MPCA believes “power sector emissions forecasts must address economic factors, preserve
  system reliability, and include controls or emission reduction measures justified through some
  legal framework. It is our understanding that the engineering analysis used by EPA to project
  EGU emissions to 2023 (version EN of the modeling platform) does not comply with these key
  requirements. The ERTAC estimates incorporate the key requirements.”54

  In March 2018 U.S. EPA released it flexibilities memo that described a series of flexibilities that
  states could consider in developing Good Neighbor SIPs for the 2015 ozone NAAQS. The “[u]se
  of alternative power sector modeling consistent with EPA’s emissions inventory guidance” is
  presented in the Analytics section of EPA’s March 2018 memo as a flexibility to consider in
  preparing a Good Neighbor SIP. This flexibility supports LADCO’s use of the ERTAC EGU model
  for projecting EGU emissions to 2023. MPCA considers the emissions projections from ERTAC
  EGU to be more representative of the sources in the Midwest and Northeast than the approach
  used by U.S. EPA in their 2023 EN modeling platform. As ERTAC EGU is developed in
  collaboration between regional and state air planning agencies, it includes algorithms and data
  that have been reviewed by many of the states impacted by interstate O3 transport in the
  Midwest and Eastern U.S.

  Preparation of the emissions data to support photochemical models is a very complicated
  process that entails the use of a number of different “sub-models” to prepare different
  emission segments.

  Sparse Matrix Operator Kernel Emissions (SMOKE)
  The Sparse Matrix Operator Kernel Emissions (SMOKE) is an emissions modeling system that
  generates hourly gridded speciated emission inputs of mobile, non-road, area, point, fire and
  biogenic emission sources for PGMs55,56. As with most “emissions models,” SMOKE is
  principally an emission processing system and not a true emissions modeling system in which
  emissions estimates are simulated from “first principles.” This means that, except for mobile
  and biogenic sources, its purpose is to provide an efficient, modern tool for converting an
  existing base emissions inventory data that is typically at the county or point source level into

  53 http://www.marama.org/2013-ertac-egu-forecasting-tool-documentation


  54
       EPA-R05-OAR-2018-0689-0003
  55 Coats, C.J. 1995. Sparse Matrix Operator Kernel Emissions (SMOKE) Modeling System, MCNC Environmental Programs,

  Research Triangle Park, NC.

  56 UNC. 2018. SMOKE v4.6 User’s Manuel. University of North Carolina at Chapel Hill, Institute for the Environment. Chapel

  Hill, North Carolina. September 24. (https://www.cmascenter.org/smoke/documentation/4.6/manual_smokev46.pdf).


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  the hourly gridded speciated formatted emission files required by a Photochemical Grid Model
  (PGM), like CAMx. SMOKE was used to prepare emission inputs for non-road mobile, non-point
  (area) and point sources. SMOKE performs three main function to convert emissions to the
  hourly gridded emission inputs for a PGM: (1) spatial allocation, spatial allocates county-level
  emissions to the PGM model grid cells typically using a surrogate distribution (e.g., population);
  (2) temporal allocation, allocates annual emissions to time of year (e.g., monthly or seasonally)
  and day-of-week (typically weekday, Saturday and Sunday); and (3) chemical speciation, maps
  the emissions to the species in the chemical mechanism used by the photochemical grid model,
  most important for VOC and PM2.5 emissions.

  The primary emissions modeling tool used to create the air quality model-ready emissions was
  the SMOKE modeling system version 3.7 which was used to create emissions files for a 12-km
  national grid “12US2” that includes all of the contiguous states.

  It is Alpine’s opinion that the SMOKE emissions model together with the other EPA emissions
  was appropriate for use in the MPCA SIP.

  Motor Vehicle Emissions Simulator (MOVES)
  The motor vehicle emissions were prepared by U.S. EPA using the MOVES 2014a emissions
  model57,58,59. MOVES 2014a was the most up to date released motor vehicle emissions
  processor at the time of the MPCA SIP submission and it is Alpine’s opinion that the U.S. EPA
  MOVES 2014a emissions were appropriate for use in the MPCA SIP.

  Eastern Regional Technical Advisory Committee EGU Model
  The Eastern Regional Technical Advisory Committee (ERTAC) EGU model for growth was
  developed around activity pattern matching algorithms designed to provide hourly EGU
  emissions data for air quality planning. The original goal of the model was to create low-cost
  software that air quality planning agencies could use for developing EGU emissions projections.
  States needed a transparent model that was numerically stable and did not produce dramatic
  changes to the emissions forecasts with small changes in inputs. A key feature of the model


  57 EPA. 2014a. Motor Vehicle Emissions Simulator (MOVES) – User Guide for MOVES2014. Assessment and Standards Division,

  Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-055). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14055.pdf).

  58 EPA. 2014b. Motor Vehicle Emissions Simulator (MOVES) –MOVES2014 User Interface Manual. Assessment and Standards

  Division, Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-067). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14057.pdf).

  59 EPA. 2014b. Motor Vehicle Emissions Simulator (MOVES) –MOVES2014 User Interface Manual. Assessment and Standards

  Division, Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-067). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14057.pdf).


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  includes data transparency; all of the inputs to the model are publicly available. The code is also
  operationally transparent and includes extensive documentation, open-source code, and a
  diverse user community to support new users of the software.

  Operation of the model is straightforward given the complexity of the projection calculations
  and inputs. The model imports base year Continuous Emissions Monitoring (CEM) data from
  U.S. EPA and sorts the data from the peak to the lowest generation hour. It applies hour specific
  growth rates that include peak and off-peak rates. The model then balances the system for all
  units and hours that exceed physical or regulatory limits. ERTAC EGU applies future year
  controls to the emissions estimates and tests for reserve capacity, generates quality assurance
  reports, and converts the outputs to SMOKE ready modeling files.

  ERTAC EGU has distinct advantages over other growth methodologies because it can generate
  hourly future year estimates which are key to understanding ozone episodes. The model does
  not shutdown or mothball existing units because economics algorithms suggest they are not
  economically viable. Additionally, alternate control scenarios are easy to simulate with the
  model. Full documentation for the ERTAC Emissions model and 2.7 simulations are available
  through the MARAMA website60.

  Differences between the EPA and ERTAC EGU emissions forecasts arise from alternative
  forecast algorithms and from the data used to inform the model predictions. The U.S. EPA EGU
  forecast used in the 2023 EN modeling used CEM data available through the end of 2016 and
  comments from states and stakeholders received through April 17, 201761. ERTAC EGU 2.7 used
  CEM data from 2011 and state-reported changes to EGUs through May 2017. The ERTAC EGU
  2.7 emissions used for the modeling represented the best available information on EGU
  forecasts for the Midwest and Eastern U.S. available during Spring-early Summer 2018.

  The “consideration of state-specific information in identifying sources [e.g., electric generating
  units (EGUs) and non-EGUs] and controls” is one of the potential approaches in EPA’s March
  2018 flexibilities memorandum. The use of the ERTAC EGU tool falls squarely within the
  parameters of this documented flexibility and it is Alpine’s opinion that MPCA’s used of EGU
  emission projections from this model were appropriate in the MPCA SIP.




  60 http://www.marama.org/2013-ertac-egu-forecasting-tool-documentation


  61 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.


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  BEIS
  Biogenic emissions were computed by U. S. EPA based on the same version of the 2011
  meteorology data used for the air quality modeling and were developed using the Biogenic
  Emission Inventory System version 3.61 (BEIS3.61) within SMOKE. The landuse input into
  BEIS3.61 is the BELD version 4.1 which is based on an updated version of the USDA-USFS Forest
  Inventory and Analysis (FIA) vegetation speciation-based data from 2001 to 2014 from the FIA
  version 5.1.

  It is Alpine’s opinion that the U.S. EPA application of the BEIS model was appropriate for use in
  the MPCA SIP.

      3. Air Quality Modeling


  The MPCA modeling used the Comprehensive Air-quality Model with Extensions (CAMx) air
  quality model62. CAMx is a state-of-science “One-Atmosphere” multi-scale photochemical grid
  model (PGM) capable of addressing ozone, particulate matter (PM), visibility and acid
  deposition at regional, urban and local scale typically for periods of a year. CAMx is a publicly
  available open-source computer modeling system for the integrated assessment of gaseous and
  particulate air pollution. Built on today’s understanding that air quality issues are complex,
  interrelated, and reach beyond the urban scale, CAMx is designed to (a) simulate air quality
  over many geographic scales, (b) treat a wide variety of inert and chemically active pollutants
  including ozone, inorganic and organic PM2.5 and PM10 and mercury and toxics, (c) provide
  source-receptor, sensitivity, and process analyses and (d) be computationally efficient and easy
  to use.

  The U.S. EPA has approved the use of CAMx for numerous ozone and PM State Implementation
  Plans throughout the U.S. and has used this model to evaluate regional mitigation strategies
  including those for most recent national transport rules, such as the Cross-State Air Pollution
  Rule (CSAPR), CSAPR Update, and the modeling used in justification of denial of the MPCA SIP.
  The MPCA used Version 6.4, which was released in December 2016. Unlike some of EPA’s
  previous ozone modeling guidance that specified a particular ozone model (e.g., EPA 1991
  Guidance63) or that specified the Urban Airshed Model (UAM)64, the EPA now recommends that

  62 User’s Guide: Comprehensive Air Quality Model with Extensions version 6.40. Novato, CA.

  http://www.camx.com/files/camxusersguide_v6-40.pdf

  63 Draft Guidance on the Use of Models and Other Analyses in Attainment Demonstrations for the 8-hr Ozone NAAQS”. U.S.

  Environmental Protection Agency, Office of Air Quality Planning and Standards, Research Triangle Park, N.C. May.

  64 User's Guide for the Urban Airshed Model. Volume I: User's Manual for UAM (CB-IV) prepared for the U.S. Environmental

  Protection Agency (EPA-450/4-90-007a). Systems Applications International, San Rafael, CA.


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  models be selected for ozone SIP studies on a “case-by-case” basis. The latest EPA ozone
  guidance65 (pp. 24) explicitly mentions the CAMx PGMs as one of the most commonly used
  PGMs that would satisfy EPA’s selection criteria but notes that this is not an exhaustive list and
  does not imply that it is “preferred” over other PGMs that could also be considered and used
  with appropriate justification.

  The CAMx model is updated regularly to both update the science in the model and to address
  coding errors (bugs) in the code. CAMx 6.5 was released at the end of April 2018,
  approximately 6 months prior to submission the MPCA SIP submission. It is customary for
  regulatory modeling to “freeze” the model version during the modeling process to keep the
  modeling on schedule.

  It is Alpine’s opinion that the CAMx 6.4 air quality model along with the EPA EN platform with
  2023 EGU’s updated to include ERTAC was appropriate for use in the MPCA SIP.

       4. Model Performance


  MPCA relied on the model performance evaluation (MPE) conducted by the U.S. EPA on the
  modeling platform that we used for this study66 to establish validity in the modeling platform.
  In addition to the MPE for the base year CAMx simulation, the U.S. EPA reported full MPE
  results for the 2011 WRF modeling67 used in the CAMx simulations.

  It is Alpine’s opinion that the EPA WRF and CAMx performance evaluations showed adequate
  performance and that the modeling was appropriate for use in the MPCA SIP.

       5. Source Apportionment


  MPCA used the CAMx Anthropogenic Precursor Culpability Assessment (APCA) tool to calculate
  emissions tracers for identifying upwind sources of ozone at downwind monitoring sites. MPCA


  65
    Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental
  Protection Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park,
  NC. EPA 454/R-18-009. November 29. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-
  Modeling_Guidance-2018.pdf).

  66 US EPA. 2016. Air Quality Modeling Technical Support Document for the 2015 Ozone NAAQS Preliminary Interstate Transport

  Assessment. Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2017-
  01/documents/aq_modeling_tsd_2015_o3_naaqs_preliminary_interstate_transport_assessmen.pdf

  67 US EPA. 2014. Meteorological Model Performance for Annual 2011 WRFv3.4 Simulation. Research Triangle Park, NC.

  https://www3.epa.gov/ttn/scram/reports/MET_TSD_2011_final_11-26-14.pdf.


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  used the APCA technique because it more appropriately associates ozone formation to
  anthropogenic sources than the CAMx Ozone Source Apportionment Technique (OSAT). If any
  anthropogenic emissions are involved in a reaction that leads to ozone formation, even if the
  reaction occurs with biogenic VOC or NOx, APCA tags the ozone as anthropogenic in origin.

  The APCA source apportionment tool has a robust theoretical basis and a long application
  history and it is our opinion that the APCA tool is appropriate for identifying upwind sources of
  ozone at downwind monitoring sites.

     6. Interstate Transport Provisions – Section 110(a)(2)(D)


  This section of the CAA requires SIPs to have provisions prohibiting sources from emitting air
  pollutants in amounts that would contribute significantly to nonattainment or interfere with
  maintenance in any other state. These interstate transport requirements are often referred to
  as “good neighbor SIPs”. The analyses conducted both by LADCO and EPA to support the 2015
  ozone good neighbor SIPs show Minnesota does not contribute significantly to air quality
  problems in any downwind nonattainment or maintenance area. Therefore, no additional
  controls or emissions limits were required to fulfill Minnesota’s good neighbor obligations.

  On March 27, 2018, the EPA published a memo, entitled “Information on the Interstate
  Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
  Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)”. EPA’s Memo included new
  transport modeling data for the year 2023 (the Moderate Attainment deadline for the 2015
  ozone NAAQS). These data are provided to assist states in completing the “good neighbor” SIPs
  for the 2015 ozone NAAQS, and to thereby address interstate transport obligations.

  EPA identifies a four-step framework in the Memo, intended to guide states on how to go about
  developing good neighbor SIPs:

     1. Identify downwind air quality problems;
     2. Identify upwind states that contribute enough to those downwind air quality problems
        to warrant further review and analysis;
     3. Identify the emissions reductions necessary (if any), considering cost and air quality
        factors, to prevent an identified upwind state from contributing significantly to those
        downwind air quality problems; and
     4. Adopt permanent and enforceable measures needed to achieve those emissions
        reductions.

  In Step 1, EPA identifies monitoring sites that are projected to have problems attaining and/or
  maintaining the NAAQS in the 2023 analytic year. Where EPA’s analysis shows that a site does

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  not fall under the definition of a nonattainment or maintenance receptor, that site is excluded
  from further analysis under EPA’s 4-step interstate transport framework. For sites that are
  identified as a nonattainment or maintenance receptor in 2023, we proceed to the next step of
  our 4-step interstate transport framework by identifying the upwind state’s contribution to
  those receptors.

  In Step 2, EPA quantifies the contribution of each upwind state to each receptor in the 2023
  analytic year. The contribution metric used in Step 2 is defined as the average impact from each
  state to each receptor on the days with the highest ozone concentrations at the receptor based
  on the 2023 modeling. If a state’s contribution value does not equal or exceed the threshold of
  1 percent of the NAAQS (i.e., 0.70 ppb for the 2015 ozone NAAQS), the upwind state is not
  ‘‘linked’’ to a downwind air quality problem, and EPA, therefore, concludes that the state does
  not significantly contribute to nonattainment or interfere with maintenance of the NAAQS in
  the downwind states.

  Comparably, in MPCA’s SIP submission, they include LADCO’s modeling which additionally
  follows the same transport framework and is corroborated by EPA’s modeling with the data
  released with the March 2018 memo.

  Step 1 - 2023 Air Quality Projections
  MPCA’s reported air quality projections68 submitted with their SIP were based on the ozone
  modeling conducted by LADCO. The result of this LADCO 2023 modeling, using methods utilized
  by EPA and shown in Table 9 below, forecasted that no downwind monitors in the Midwest or
  Northeast would be nonattainment for the 2015 O3 NAAQS.




  68
       Data source Table 5, Attachment 1, EPA-R05-OAR-2018-0689-0003

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                                            LADCO 2023 DV                2009-2013 DV
   AQS ID         County        ST       3x3 Avg      3x3 Max        3x3 Avg      3x3 Max
   90010017       Fairfield     CT         67.2          69.4          78.0         80.0
   90013007       Fairfield     CT         67.8          71.6          84.3         89.0
   90019003       Fairfield     CT         69.6          72.4          83.7         87.0
   90099002       New Haven     CT         67.9          70.5          85.7         89.0
   240251001      Harford       MD         69.4          71.8          90.0         93.0
   260050003      Allegan       MI         67.1          69.8          80.3         83.0
   261630019      Wayne         MI         67.7          69.7          78.7         81.0
   360810124      Queens        NY         67.5          69.2          70.0         71.0
   361030002      Suffolk       NY         69.8          71.3          83.3         85.0
   550790085      Milwaukee     WI         62.1          65.1          78.3         82.0
   551170006      Sheboygan     WI         69.3          71.5          84.3         87.0
  Table 9. LADCO 2023 ozone design values at EPA identified nonattainment and maintenance
  monitors in the Midwest and Northeast.

  EPA’s own modeling69, released with the March 2018 platform, shown in Table 10, and
  designed to be used by states in development of their ozone transport SIPs, indicated that in
  the Midwest or Northeast, two downwind monitors in Fairfield, Connecticut (monitors
  90013007 and 90019003), a monitor in Suffolk, New York (36103002), and monitors in
  Milwaukee (550790085) and Sheboygan (551170006), Wisconsin would be in nonattainment
  for the 2015 ozone NAAQS.

                                              EPA 2023 DV              2009-2013 DV
   AQS ID         County        ST        3x3 Avg     3x3 Max      3x3 Avg      3x3 Max
   90010017       Fairfield     CT          68.9        71.2         80.3         83.0
   90013007       Fairfield     CT          71.0        75.0         84.3         89.0
   90019003       Fairfield     CT          73.0        75.9         83.7         87.0
   90099002       New Haven     CT          69.9        72.6         85.7         89.0
   240251001      Harford       MD          70.9        73.3         90.0         93.0
   260050003      Allegan       MI          69.0        71.7         82.7         86.0
   261630019      Wayne         MI          69.0        71.0         78.7         81.0
   360810124      Queens        NY          70.2        72.0         78.0         80.0
   361030002      Suffolk       NY          74.0        75.5         83.3         85.0
   550790085      Milwaukee     WI          71.2        73.0         80.0         82.0
   551170006      Sheboygan     WI          72.8        75.1         84.3         87.0
  Table 10. EPA 2023 ozone design values at nonattainment and maintenance monitors in the
  Midwest and Northeast.

  69
       https://www.epa.gov/sites/default/files/2018-05/updated_2023_modeling_dvs_collective_contributions.xlsx

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  An additional six monitors in Connecticut (90010017 and 90099002), Maryland (240251001),
  Michigan (260050003 and 261630019), and New York (360810124) would be considered
  maintenance monitors in the projection.

  In neither the LADCO nor EPA modeling cited in MPCA’s SIP revision submission were the two
  Cook County, Illinois monitors (170314201 and 170310076) from EPA’s SIP denial NPR, or the
  single monitor from EPA’s final SIP disapproval action, identified as either nonattainment or
  maintenance monitors in the 2023 projections.

  Step 2 - Significant Contribution to Downwind States
  EPA has previously determined that a state contribution to downwind air quality problems
  below one percent of the applicable NAAQS is insignificant. This screening method was used in
  previous good neighbor SIP approvals, and other regulatory actions including (most notably)
  the Cross-State Air Pollution Rule (CSAPR), and the CSAPR update for the 2008 ozone NAAQS
  and 2012 NAAQS for particulate matter less than 2.5 micrometers in diameter (PM2.5). The one
  percent screening method was developed through several previous federal notice and
  comment rulemakings. One percent of the 2015 ozone NAAQS (70 ppb) is 0.70 ppb. Therefore,
  any state that contributes less than 0.70 ppb to a projected nonattainment or maintenance
  area in another state is not culpable for those air quality problems.

  EPA and LADCO applied the Anthropogenic Precursor Culpability Analysis (APCA) technique in
  CAMx to identify upwind states culpable for downwind ozone air quality problems. The method
  accounts for anthropogenic nitrogen oxides (NOx) and volatile organic carbon (VOC) emissions
  from all sources in each upwind state affecting projected 2023 ozone concentrations at each
  downwind air quality monitoring site designated a nonattainment or maintenance receptor.
  EPA and LADCO conducted the culpability analysis for the period May 1 through September 30,
  using the 2023 future emission estimates and 2011 meteorology.

  Both LADCO and EPA analyses70 conclude Minnesota is not culpable for ozone nonattainment,
  or interference with maintenance, in any downwind states. As shown in Table 11, prepared
  using data from MPCA’s SIP71, LADCO’s analysis shows a maximum contribution of 0.45 ppb to
  the identified maintenance monitors, less than the 0.70 ppb identified as 1% of the NAAQS (70
  ppb). EPA’s analysis72 (Table 12) indicates Minnesota contributes most to Milwaukee, Wisconsin
  monitor site 550790085. At a concentration of 0.40 ppb, this contribution is roughly equal to
  0.57% of the 2015 ozone NAAQS.




  70
     Data source Table 2, EPA-R05-OAR-2018-0689-0003
  71
     Id.
  72
     Id.

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   AQS ID       County         ST     2023 Avg DV    2023 Max DV MN Contribution (ppb)
   90010017     Fairfield      CT          67.2           69.4              0.17
   90013007     Fairfield      CT          67.8           71.6              0.15
   90019003     Fairfield      CT          69.6           72.4              0.11
   90099002     New Haven      CT          67.9           70.5              0.16
   240251001 Harford           MD          69.4           71.8              0.12
   260050003 Allegan           MI          67.1           69.8              0.11
   261630019 Wayne             MI          67.7           69.7              0.30
   360810124 Queens            NY          67.5           69.2              0.16
   361030002 Suffolk           NY          69.8           71.3              0.16
   550790085 Milwaukee         WI          62.1           65.1              0.45
   551170006 Sheboygan         WI          69.3           71.5              0.27
  Table 11. LADCO 2023 O3 design values at nonattainment and maintenance monitors in the
  Midwest and Northeast and Minnesota’s calculated contribution.

   AQS ID        County         ST     2023 Avg DV    2023 Max DV MN Contribution (ppb)
   90010017      Fairfield      CT         68.9           71.2               0.17
   90013007      Fairfield      CT         71.0           75.0               0.15
   90019003      Fairfield      CT         73.0           75.9               0.14
   90099002      New Haven      CT         69.9           72.6               0.19
   240251001 Harford            MD         70.9           73.3               0.13
   260050003 Allegan            MI         69.0           71.7               0.11
   261630019 Wayne              MI         69.0           71.0               0.31
   360810124 Queens             NY         70.2           72.0               0.17
   361030002 Suffolk            NY         74.0           75.5               0.18
   550790085 Milwaukee          WI         71.2           73.0               0.40
   551170006 Sheboygan          WI         72.8           75.1               0.28
  Table 12. EPA 2023 O3 design values at nonattainment and maintenance monitors in the
  Midwest and Northeast and Minnesota’s calculated contribution.

  For the reasons set forth in this section, it is our opinion that the modeling conducted and cited
  by MPCA in the development of its 2015 ozone NAAQS transport SIP revision of October 2018
  was technically adequate and appropriate for the purpose it was intended and followed all
  available EPA guidance on preparing technical modeling for SIP and SIP-related analyses.

  Additionally, in our opinion, the MPCA SIP adequately demonstrates that Minnesota is not a
  significant contributor to any downwind monitor identified as in nonattainment or
  maintenance for the 2015 ozone NAAQS and is corroborated by EPA modeling which included
  state-of-science configuration and platform at the time the original SIP was submitted.




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  D.     Summary of Conclusions

  For the reasons set forth in this document, it is our opinion that the modeling conducted and
  cited by MPCA in the development of its 2015 ozone NAAQS transport SIP revision of October 1,
  2018 was technically adequate and appropriate for the purpose it was intended and should
  have been approved by EPA at the time of submission. It is further our opinion that decisions
  made by EPA to compare MPCA’s original submitted modeling to recently updated modeling,
  developed by EPA over four years and four months later than the original Oct 2018 submission,
  are inconsistent with EPA precedent.

  It is our opinion that in the absence of inclusion of Minnesota’s and other stakeholder’s valid
  emission modeling platform revision submissions, as requested by EPA, and multiple reruns of
  the air quality in both the base year (2016) and projection year (2023) simulations, EPA cannot
  appropriately identify monitors as nonattainment or maintenance, and in turn, cannot calculate
  upwind state significant contribution metrics from these same data. Non-EGU emission controls
  and their associated NOx emission reductions as documented and submitted by MPCA, could
  be enough to change nonattainment designations and linked significance using an updated
  platform and needs to be considered before making any final decision on denial of MPCA’s SIP.

  It is our opinion that EPA's use of modeling with poor performance at critical monitors amounts
  to an unreliable result when used to establish nonattainment or maintenance monitors under
  Step 1 or linkages under Step 2 of the 4-step framework. Should more refined modeling be
  undertaken to review the ozone formation potential at monitors located in these land-water
  interfaces, results may show that these monitors demonstrate modeled attainment and/or
  remove significant contribution linkages from upwind states.

  It is our opinion that the most recent modeling cited by EPA and used to justify the linkage of
  Minnesota to one downwind maintenance monitors in Cook County, Illinois has technical issues
  as it relates to that linked monitor which is located in a complex land-water interface and may
  require finer grid resolution modeling to adequately capture ozone formation and significant
  contribution, and that EPA must address the impact of VOC emissions in influencing ozone
  formation at monitors in Illinois.

  It is our opinion that EPA has failed to follow the process by relying on the best available
  modeling at the time that an analysis is conducted, and results are developed and submitted.
  Instead, EPA continues to move the target and objectives for states that, in Minnesota’s case,
  for over four years had been waiting for a review of their “best available data and analysis”.




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  It is our opinion that EPA should not have used any updated modeling to support a SIP review
  while not providing the opportunity for that data to be reviewed, analyzed, and commented on
  in advance of any final decision on the subject SIP disapproval and that any modeling beyond
  what was conducted in the original SIP submittal was ancillary to the approval process.
  However, should EPA decide not to review MPCA’s SIP revision on its merit, Alpine
  recommends that EPA withdraw the SIP disapproval in favor of correcting the technical errors
  that have been identified in its analysis and to propose an appropriate opportunity for
  Minnesota to address any deficiencies EPA may find in Good Neighbor Plans implementing the
  2015 ozone NAAQS.

  It is our opinion that EPA’s 2018 flexibility memo has become so instrumental to states in
  developing their good neighbor SIPs, that EPA’s decision to disallow the flexibilities that they
  themselves outlined in guidance, is unreasonable and should be reconsidered.

  Additionally, in our opinion, the MPCA SIP adequately demonstrates that Minnesota is not a
  significant contributor to any downwind monitor identified as in nonattainment or
  maintenance for the 2015 ozone NAAQS and is corroborated by EPA modeling which included
  state-of-science configuration and platform at the time the original SIP was submitted. It is our
  opinion that the original MPCA SIP was and is approvable.




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  E.       Minnesota 2015 Ozone SIP Timeline

  October 1, 2015 – EPA finalized the revised 2015 ozone NAAQS. Pursuant to CAA section
  110(a)(1), “each state shall . . . submit to the Administrator, within 3 years. . .after
  promulgation of a [primary NAAQS] (or any revision thereof) a plan which provides for
  implementation, maintenance, and enforcement of such primary standard. . .” CAA section
  110(a)(2)(D)(i)(I) requires such SIPs to “contain adequate provisions prohibiting . . .any source
  or other type of emissions activity within the State from emitting any air pollutant in amounts
  which will contribute significantly to nonattainment in, or interfere with maintenance by, and
  other State with respect to such NAAQS.

  March 27, 2018 - EPA published a memo, entitled “Information on the Interstate Transport
  State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
  Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)”. EPA’s Memo included new transport
  modeling data for the year 2023 (the Moderate Attainment deadline for the 2015 ozone
  NAAQS). These data are provided to assist states in completing the “good neighbor” SIPs for the
  2015 ozone NAAQS, and to thereby address interstate transport obligations.

  October 1, 2018 - Minnesota Pollution Control Agency (MPCA) submitted a SIP revision to
  address CAA Section 110(a)(2)(D)(i)(I) on October 1, 2018 .73 The submission met the statutory
  deadline for submittal the interest transport SIPs for the 2015 ozone NAAQS. The submission
  utilized both EPA modeling released with the March 2018 memorandum and LADCO modeling
  results previously mentioned. Minnesota followed the 4-step interstate transport framework
  and used an analytic year of 2023 to describe Minnesota's lack of contributions to out of state
  receptors and assess emission reduction considerations.

  April 1, 2019 – This is 6 months after EPA received the Minnesota SIP submission and is the
  date that the CAA deems the Minnesota submittal to have been complete since EPA did not
  take action otherwise.

  September 13, 2019 - The D.C. Circuit issued a decision in Wisconsin v. EPA, remanding the
  CSAPR Update to the extent that it failed to require upwind states to eliminate their significant


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    Completeness Finding - Pursuant to the CAA Section 110(k)(1)(B) “Within 60 days of the Administrator’s receipt
  of a plan or plan revision, but no later than 6 months after the date, if any, by which a State is required to submit
  the plan or revision, the Administrator shall determine whether the minimum criteria established pursuant to
  subparagraph (A) have been met. Any plan or plan revision that a State submits to the Administrator, and that has
  not been determined by the Administrator (by the date 6 months after receipt of the submission) to have failed to
  meet the minimum criteria established pursuant to subparagraph (a), shall on that date be deemed by operation
  of law to meet such minimum criteria.”


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  contribution by the next applicable attainment date by which downwind states must come into
  compliance with the NAAQS, as established under CAA section 181(a). 938 F.3d at 313.

  April 1, 2020 – This is 12 months after the completeness date and is the deadline for EPA to
  have acted on the MN SIP submission. Upon this deadline a full, partial or conditional approval
  was required by CAA Section 110(k)(2), (3), or (4).74

  May 19, 2020 - the D.C. Circuit issued a decision in Maryland v. EPA that cited the Wisconsin
  decision in holding that EPA must assess the impact of interstate transport on air quality at the
  next downwind attainment date, including Marginal area attainment dates, in evaluating the
  basis for EPA's denial of a petition under CAA section 126(b). Maryland v. EPA, 958 F.3d 1185,
  1203-04 (D.C. Cir. 2020). The court noted that “section 126(b) incorporates the Good Neighbor
  Provision,” and, therefore, “EPA must find a violation [of section 126] if an upwind source will
  significantly contribute to downwind nonattainment at the next downwind attainment
  deadline. Therefore, the agency must evaluate downwind air quality at that deadline, not at
  some later date.” Id. at 1204 (emphasis added). EPA interprets the court's holding in Maryland
  as requiring the states and the Agency, under the good neighbor provision, to assess downwind
  air quality as expeditiously as practicable and no later than the next applicable attainment date,
  which is now the Moderate area attainment date under CAA section 181 for ozone
  nonattainment. The Moderate area attainment date for the 2015 ozone NAAQS is August 3,
  2024. At the time of the statutory deadline to submit interstate transport SIPs (October 1,
  2018), many states relied upon EPA modeling of the year 2023, and no state provided an
  alternative analysis using a 2021 analytic year (or the prior 2020 ozone season). However, EPA
  must act on SIP submittals using the information available at the time it takes such action. In
  this circumstance, EPA does not believe it would be appropriate to evaluate states' obligations
  under CAA section 110(a)(2)(D)(i)(I) as of an attainment date that is wholly in the past, because
  the Agency interprets the interstate transport provision as forward looking. See 86 FR at 23074;
  see also Wisconsin, 938 F.3d at 322. Consequently, in this proposal EPA will use the analytical
  year of 2023 to evaluate each state's CAA section 110(a)(2)(D)(i)(I) SIP submission with respect
  to the 2015 ozone NAAQS.

  May 12, 2021 – Downwinders at Risk, et al filed Case No. 21 Civ. 21 Civ 3551 asserting that EPA
  failed to undertake certain non-discretionary duties under the CAA.



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    Deadline for Action. – Pursuant to the CAA Section 110(k)(1)(B) “Within 12 months of a determination by the
  Administrator (or a determination deemed by operation of law) under paragraph (1) that a State has submitted a
  plan or plan revision (or, in the Administrator’s discretion, part thereof) that meets the minimum criteria
  established pursuant to paragraph (1), if applicable (or, if those criteria are not applicable, within 12 months of
  submission of the plan or revision), the Administrator shall act on the submission in accordance with paragraph
  (3).”

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  February 22, 2022 - EPA assessed the Minnesota submittal and on February 22, 2022 (3 years,
  4+ months after submittal) the agency proposed denial of the Minnesota SIP as follows: “Based
  on EPA's evaluation of Minnesota's SIP submission and after consideration of updated EPA
  modeling using the 2016-based emissions modeling platform, EPA is proposing to find that the
  portion of Minnesota's October 1, 2018 SIP submission addressing CAA section 110(a)(2)(D)(i)(I)
  does not meet the state's interstate transport obligations for 2015 ozone NAAQS, because it
  fails to contain the necessary provisions to eliminate emissions that will contribute significantly
  to nonattainment or interfere with maintenance of the NAAQS in any other state. Air Plan
  Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air Plan Disapproval;
  Region 5 Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
  Quality Standards, 87 Fed. Reg. 9838 (Feb. 22, 2022).

  February 28, 2022 – EPA and Downwinders et al established in a Consent Decree entered into
  on 1/12/2022 that if EPA proposed a full or partial denial of the Minnesota SIP EPA shall have
  until December 15, 2022 to sign a final action. Note this is a settlement and does not erase the
  fact that EPA failed to complete its non-discretionary duty to have reviewed and acted upon the
  MN SIP by April 1, 2020.

  April 30, 2022 – EPA and Downwinders, et established in a Consent Decree entered into on
  1/12/2022 that required EPA to sign for publication final rulemaking on April 30, 2022 to
  approve, disapprove, and conditionally approve the Minnesota SIP submissions for the 2015
  ozone NAAQS.

  May 22, 2022 – EPA proposed to approve most elements of the Minnesota October 1, 2018
  submission intended to address all applicable infrastructure requirements for the 2015 NAAQS.
  (87 FR 31462).

  July 29, 2022 – EPA approved most elements of the Minnesota October 1, 2018 SIP submission
  from Minnesota regarding infrastructure requirements for the 2015 ozone NAAQS. EPA did not
  act on the interstate transport requirements and visibility impairments requirements. (87 FR
  45663).

  December 8, 2022 – EPA and Downwinders et al filed a Joint Motion of Stipulated Extension of
  Consent Decree deadlines that provided the following schedule.

  December 15, 2022 – Former agreed upon deadline by Downwinders for EPA to act on
  Minnesota SIP, but this deadline was moved by agreement to January 31, 2022.

  January 31, 2023 - deadline to sign final action on Minnesota SIP pursuant to agreed upon
  extension of Downwinders Consent Decree.


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  February 13, 2023 – EPA publishes final disapproval of State Implementation Plan (SIP)
  submissions for 19 states, including Minnesota. Air Plan Disapprovals; Interstate Transport of
  Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards, 88 FR 9336.

  March 15, 2023 – EPA issues final federal Good Neighbor Plan for the 2015 ozone NAAQS
  (publication in the Federal Register is still pending).




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                                Attachment B

                                  (2018 SIP)
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Infrastructure/110(a) requirements for the 2015
Ozone National Ambient Air Quality Standard
This State Implementation Plan (SIP) revision addresses the infrastructure requirements of sections 110(a)(1) and
110(a)(2) of the Clean Air Act (CAA) in regards to the National Ambient Air Quality Standards (NAAQS) for ozone,
promulgated in 2015.

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Introduction
The Minnesota Pollution Control Agency (MPCA) is, via submission of this document, requesting the revision of
Minnesota’s State Implementation Plan (SIP) under Sections 110(a)(1) and 110(a)(2), as well as Section 128 [as they are
related to Section 110(a)(2)(E)(ii)] of the Clean Air Act (CAA). Sections 110(a)(1) and 110(a)(2) of the Act require that
states prepare and submit to the U. S. Environmental Protection Agency (EPA) an “infrastructure” SIP (iSIP) within three
years of the EPA’s issuance of a new National Ambient Air Quality Standard (NAAQS) to demonstrate their continued
ability to implement, maintain, and enforce the revised standards. Infrastructure SIP elements include requirements for
limiting the interstate transport of air pollution under Section 110(a)(2)(D)(i)(I), commonly called “good neighbor
requirements.” Section 128 of the CAA mandates that members of boards governing state agencies that implement the
Act represent the public interest and disclose any conflict of interest. This iSIP submittal addresses the 2015 ozone
NAAQS revision.

The majority of this iSIP revision was written based on EPA’s September 12, 2013 guidance document regarding multi-
pollutant iSIPs, “Guidance on Infrastructure State Implementation Plan (SIP) Elements under Clean Air Act Sections
110(a)(1) and 110(a)(2)”. The 2013 guidance did not address good neighbor elements.

Section 110(a)(2)(D)(i)(I) requires that states ensure that emissions within the state do not contribute significantly to
nonattainment in, or interfere with maintenance by, any other state. This requirement means that Minnesota must
show that emissions from within its borders are not significantly contributing to air pollution problems or violations in
other states. In order to address the good neighbor requirements of this iSIP revision, MPCA referred to EPA’s March 27,
2018 memo, “Information on the Interstate Transport State Implementation Plan Submissions for the 2015 Ozone
National Ambient Air Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)”. Appendices B and C of the 2018
memo, and associated May 18, 2018 updates to modeling activities, provided states with modeled downwind
contribution results for receptors that EPA expects will be nonattainment or maintenance areas in 2023. MPCA used the
results of EPA’s modeling exercise, in addition to modeling conducted by the Lake Michigan Air Directors Consortium
(LADCO), to affirm that Minnesota does not contribute to any downwind receptors above the one percent threshold
used by EPA to determine significant impact.

The iSIP below discusses each Section under 110(a) and provides information on how Minnesota meets the
requirements for each. Based on information set forth in the 2013 guidance, the 2018 memo, previously approved iSIP
submittals, and conversations with Region 5 staff, the MPCA believes that this iSIP submittal meets all of the
requirements of CAA Sections 110(a)(1) and 110(a)(2).

Section 110(a)(1): A plan which provides for implementation, maintenance, and
enforcement
The Minnesota Pollution Control Agency (MPCA) has, in prior submittals, documented its authority and ability to provide
for the implementation, maintenance, and enforcement of primary and secondary air quality standards, as well as to
adopt enforceable emission limitations and control measures to meet the primary and secondary standard and to
update both state rules and the SIP, as necessary.

Various Minnesota statutes, addressed below, authorize the MPCA to adopt air quality standards.

Minn. Statute § 116.07, subd. 2(a) states:



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        “The agency shall improve air quality by promoting, in the most practicable way possible, the use of energy
        sources and waste disposal methods which produce or emit the least air contaminants consistent with the
        agency’s overall goal of reducing all forms of pollution. The agency shall also adopt standards of air quality…,
        recognizing that due to variable factors, no single standard of purity of air is applicable to all areas of the state…”

Minn. Stat. § 116.07, subd. 4(a), authorizes the agency to “…adopt, amend and rescind rules and standards having the
force of law relating to any purpose… for the prevention, abatement, or control of air pollution…”

Under Minn. Stat. 116.07 § subd. 9, the MPCA is granted the authority to enter into or enforce orders, schedules of
compliance, and stipulation agreements; to require owners or operators of emission facilities to install and operate
monitoring equipment and to conduct tests; and to conduct investigations, issue notices, and order hearings, as deemed
necessary, to discharge the MCPA’s duties.

Minn. Stat. § 116.072 authorizes the MPCA to issue orders and assess administrative penalties to correct violations of
the MPCA’s statutes, rules, and permits. The statute also authorizes administrative penalties up to a maximum of
$10,000 for all violations identified during an inspection or compliance review.

Minn. Stat. § 115.071, subd. 1 provides that violations of the MPCA’s statutes, rules, standards, orders, stipulation
agreements, schedules of compliance, and permits may be remedied with criminal prosecution, action to recover civil
penalties, injunction, and action to compel performance, other appropriate action, or any combination of the above.
Relatedly, Minn. Stat. § 115.071, subd. 3 indicates that civil penalties may be recovered up to a maximum of $10,00 per
day of violation, except for violations related to hazardous waste, the maximum for which is $25,000 per day of
violation.

Minnesota’s SIP-approved air quality rules are established under the above statutory authorities, and broadly cover the
criteria pollutants listed, as defined in Minn. R. Ch. 7005.0100: “sulfur dioxide, particulate matter, nitrogen oxides,
carbon monoxide, ozone, lead, and any other pollutants for which national ambient air quality standards have been
established…” Primary and secondary ambient air quality standards are defined in Minn. R. Ch. 7009.0010 subp. 2 and 3;
Minn. R. Ch. 7009.0020 prohibits emissions that cause or contribute to the violation of any ambient air quality standard.
The NAAQS are incorporated by reference in Minn. R. Ch. 7009.0090.

We assert that the above statutory and regulatory authorities fulfill the requirements of Section 110(a)(1).

Section 110(a)(2)(A): Emission limits and other control measures
Minn. Stat. Ch. 116 gives the MPCA the authority to develop rules and regulations and also allows the MPCA to
implement current rules and apply existing controls and emissions limits to help maintain new standards. Minn. Stat. §
116.07, subd. 4(a) gives the MPCA the authority to “adopt, amend and rescind rules and standards having the force of
law relating to any purpose… for the prevention, abatement, or control of air pollution.”

Minn. Stat. § 116.07, subd. 4a(a), gives the MPCA authority to “issue, continue in effect or deny permits, under such
conditions as it may prescribe for the prevention of pollution, for the emission of air contaminants, or for the installation
or operation of any emission facility, air contaminant treatment facility, treatment facility, potential air contaminant
storage facility, or storage facility…”

Minnesota does not have any nonattainment or maintenance areas for the 2015 ozone NAAQS; however, there are
methods in place to address emissions of nitrogen oxides (NOx) and volatile organic compounds (VOCs), which are
considered by EPA to be the primary precursors to ground-level ozone formation.

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Nitrogen oxides (NOx)

State rules that limit NOx, as well as nitrogen dioxide (NO2) emissions, include Minn. R. Ch. 7011.0500 through
7011.0553, which address Indirect Heating Fossil-Fuel-Burning Equipment, and Minn. R. Ch. 7011.1700 through
7011.1730, which address Nitric Acid Plants in Minnesota.

Volatile organic compounds (VOCs)

In order to minimize the formation of ground-level ozone, we limit the emissions of volatile organic compounds (VOCs),
which are the primary ozone precursors, through our Part 70 permit program. In addition, Minnesota’s state rules
incorporate, by reference, the National Emission Standards for Hazardous Air Pollutants (NESHAPs), which, with Part 70
permits, limit VOC emissions. These limits help to protect the 2015 ozone NAAQS.

More information about emissions limits and other control measures can be found in the discussion of Section
110(a)(2)(D)(i)(I) of this document, which reviews Minnesota’s interstate transport obligations.

We assert that the above statutory and regulatory authorities fulfill the requirements of Section 110(a)(2)(A).

Section 110(a)(2)(B): Ambient air quality monitoring/data system
Minnesota monitors for ambient ozone levels at 17 locations throughout the state. Minnesota’s ambient air quality
monitoring network is designed and operated to meet the requirements of 40 CFR Part 58, “Ambient air quality
surveillance”. Data from the monitors are submitted to the U.S Environmental Protection Agency’s (EPA) Air Quality
System (AQS) in a timely manner.

The MPCA completes an annual air monitoring network plan for the state, required under 40 CFR § 58.10, which
describes the existing air monitoring network, as well as planned and proposed changes. These network plans are
available on the MPCA’s website, at https://www.pca.state.mn.us/air/air-monitoring-network-plan. The 2019 Annual Air
Monitoring Network Plan for Minnesota was posted and available for public comment from May 1 through June 1, 2018,
and will be submitted to EPA prior to the July 1, 2018 deadline. The 2019 plan includes a new Appendix D that describes
the MPCA’s Photochemical Assessment Monitoring Station (PAMS) Network Implementation Plan, which reflects
changes in EPA’s ambient ozone monitoring requirements that were made as part of the 2015 ozone NAAQS revision.
The PAMS Network Implementation Plan has been tentatively approved by EPA per the early review of the 2019 plan.

Minn. Stat. § 116.07, subd. 9(b) gives the MPCA authority “to require the owner or operator of any emission facility, air
contaminant treatment facility, potential air contaminant storage facility, or any system or facility related to the storage,
collection transportation, processing, or disposal of waste… to install, use, and maintain monitoring equipment or
methods…”. Information about the industrial monitoring network in Minnesota is available in Appendix B of annual
monitoring plan updates.

We assert that the above statutory requirements and associated ambient air quality monitoring practices at MPCA fulfill
the requirements of Section 110(a)(2)(B).

Section 110(a)(2)(C): Programs for enforcement and for regulation of PSD and NSR
As described above, Minn. Stat. §§ 116.07, subd. 9, 116.072, and 115.071 give MPCA the authority to enforce any
provisions of section 116 and the rules, standards, orders, stipulation agreements, schedules of compliance, and permits
adopted or issued thereunder, or under any other law relating to air contamination.
                                                                                                                                     3
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These sections include, but are not limited to, the following authorities:
   • Entering into orders
   • Schedules of compliance
   • Stipulation agreements
   • Requiring owners or operators of emissions facilities to install and operate monitoring equipment
   • Conduction of investigations

Minn. Stat. § 116.072 authorizes the MPCA to issue orders and assess administrative penalties to correct violations of
MPCA’s rules, statutes, and permits; Minn. Stat. § 115.071 outlines the remedies that are available to address such
violations. Additionally, Minn. R. 7009.0030 and 7009.0040 provide for enforcement measures related to the violation of
ambient air quality standards.

Minn. R. Ch. 7007 contains the requirements of the MPCA’s permitting program, through which enforceable emission
limitations are placed on facilities.

Minnesota previously used delegated authority, under 40 CFR § 52.21, to permit Prevention of Significant Deterioration
(PSD) sources through a Federal Implementation Plan (FIP). On October 4, 2016, the MPCA submitted a SIP revision to
incorporate new PSD rules, which incorporated federal PSD rules by reference in Minn. R. Ch. 7007.3000. EPA approved
the SIP revision, and the new PSD rules, on September 26, 2017 (82 FR 44734); these rules have been incorporated into
Minnesota’s SIP at 40 CFR § 52.1220.

Although Minnesota does not have any nonattainment or maintenance areas for the 2015 ozone NAAQS, we have an
approved nonattainment New Source Review (NSR) program, which was approved by EPA on May 24, 1995 (60 FR
27411). Minn. R. Ch. 7007.4000 through 7007.4030 incorporates, by reference, the NSR requirements specified in 40
CFR Part 51, Appendix S.

To address the pre-construction regulation of the modification and construction of minor stationary sources and minor
modifications of major stationary sources, EPA approved Minnesota’s minor NSR program on May 24, 1995 (FR notice
citation). Since then, MPCA and EPA have relied on these existing provisions to ensure that new and modified sources
not captured by the major NSR permitting programs do not interfere with attainment and maintenance of the ozone and
other NAAQS.

We assert that the above statutory and regulatory authority fulfill the requirements of Section 110(a)(2)(C).


Section 110(a)(2)(D): Interstate transport provisions (“good neighbor SIPs”)

Section 110(a)(2)(D)(i)(I): Prongs 1 (significant contribution to nonattainment) and 2 (interference with
maintenance)

This section requires iSIPs to have provisions prohibiting sources from emitting air pollutants in amounts that would
contribute significantly to nonattainment or interfere with maintenance in any other state. These interstate transport
requirements are often referred to as “good neighbor SIPs”. The analyses conducted to support the 2015 ozone good
neighbor SIPs show Minnesota does not contribute significantly to air quality problems in any downwind nonattainment
or maintenance area. Therefore, no additional controls or emissions limits are required to fulfill Minnesota’s good
neighbor obligations.


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On March 27, 2018, the EPA published a memo, entitled “Information on the Interstate Transport State Implementation
Plan Submissions for the 2015 Ozone National Ambient Air Quality Standards under Clean Air Act Section
110(a)(2)(D)(i)(I)” (Memo). The Memo built off another, published on October 27, 2017, which provided guidance to air
agencies regarding the development of ozone interstate transport components of iSIPs for the 2008 ozone NAAQS.

EPA’s Memo includes new transport modeling data for the year 2023 (the Moderate Attainment deadline for the 2015
ozone NAAQS). These data are provided to assist states in completing the “good neighbor” SIPs for the 2015 ozone
NAAQS, and to thereby address interstate transport obligations.

EPA identifies a four-step framework in the Memo, intended to guide states on how to go about developing good
neighbor SIPs:

    1. Identify downwind air quality problems;
    2. Identify upwind states that contribute enough to those downwind air quality problems to warrant further
       review and analysis;
    3. Identify the emissions reductions necessary (if any), considering cost and air quality factors, to prevent an
       identified upwind state from contributing significantly to those downwind air quality problems; and
    4. Adopt permanent and enforceable measures needed to achieve those emissions reductions.

EPA and states have applied this four-tiered approach, shaped by public notice and comment and refined in response to
court decisions, to address good neighbor obligations for previous NAAQS revisions.

1. Identify downwind air quality problems

In the Memo, EPA identifies parts of the country projected to have difficulty attaining or maintaining the 2015 ozone
NAAQS by the 2023 moderate attainment deadline. To extrapolate ozone design values (DVs) to 2023, EPA used the
Comprehensive Air Quality Model with Extensions (CAMx v6.40) to model 2011 and 2023 emissions. EPA used the
outputs from the 2011 and 2023 model simulations to create relative response (of air quality to emission changes)
factors. EPA applied the relative response factors to project base period 2009-2013 average and maximum ozone DVs to
2023 at monitoring sites across the country. EPA used the projected future year DVs to identify potential 2023
nonattainment and maintenance receptors for the 2015 ozone NAAQS.

In projecting future year DVs, EPA applied its own modeling guidance and an alternative approach suggested during the
January 2017 notice of data availability comment period and backed by other relevant analyses. The alternative excludes
from the analysis grid cells positioned over water from the 3 x 3 array of model grid cells surrounding monitoring sites in
coastal areas. In the upper Midwest, excluding grid cells positioned over water projects Milwaukee Wisconsin
(monitoring site 550790085) as a downwind nonattainment receptor. This means EPA expects the Milwaukee site may
have difficulty meeting the ozone NAAQS in 2023 without additional control measures applied in culpable States.
Including model grid cells over water projects the Milwaukee site as an attainment receptor. This perspective means the
Milwaukee site may achieve ozone design values below the NAAQS without additional controls beyond those addressed
in the modeled projections.

The Memo outlines possible alternatives when modeling interstate transport. The Lake Michigan Air Directors
Consortium (LADCO), a multi-jurisdictional organization comprised of EPA Region V States, provides modeling support




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for those states, including Minnesota. LADCO has conducted modeling 1 incorporating alternative bullet #4 in the Memo
Analytics section to support 2015 ozone good neighbor SIPs.

Specifically, LADCO replicated EPA’s 2023EN platform with the exception of substituting Eastern Regional Technical
Advisory Committee (ERTAC) 2 EGU estimates for EPAs engineering analysis estimates. The MPCA believes power sector
emissions forecasts must address economic factors, preserve system reliability, and include controls or emission
reduction measures justified through some legal framework. It is our understanding that the engineering analysis used
by EPA to project EGU emissions to 2023 (version EN of the modeling platform) does not comply with these key
requirements. The ERTAC estimates incorporate the key requirements. Table 1 outlines the primary differences between
the EPA “engineering analysis” and ERTAC handling of the key requirements. The incorporation of ERTAC in the model
simulation produces some new, and changes the status of some, nonattainment or maintenance receptors downwind of
Minnesota. Tables 2 and 3 (columns 3 through 6) show the differences.

Table 1. Primary differences between EPA’s engineering analysis and LADCO’s ERTAC analysis.

    Key requirement                       EPA engineering analysis                     ERTAC
                                                                                       Complex growth algorithm based on Annual Energy
                                                                                       Outlook (AEO) projections for annual growth and North
                                          Minimal Economic factors considered. No
    Economic factors                                                                   American Electric Reliability Corporation (NERC) for
                                          growth from 2016 to 2023.
                                                                                       peak day growth. Growth applied by fuel type and
                                                                                       region based on AEO splits.
                                                                                       Complex set of algorithms check system wide capacity
    Preservation of system reliability    No implicit check for reliability.           against the demand plus safety margins to verify if
                                                                                       there is a lack of generation in a region.
                                          Applied emission reductions by
    Controls or emission reduction
                                          optimizing existing controls that in 2016    Only applied emission reduction estimates with
    measures justified through a legal
                                          were not optimized without justification     justification.
    framework
                                          the controls will be optimized.


2. Upwind states’ contributions to downwind air quality problems

EPA has previously determined that a state contribution to downwind air quality problems below one percent of the
applicable NAAQS is insignificant. This screening method was used in previous good neighbor SIP approvals, including
(most notably) the Cross-State Air Pollution Rule (CSAPR), and the CSAPR update for the 2008 ozone NAAQS and 2012
NAAQS for particulate matter less than 2.5 micrometers in diameter (PM2.5). The one percent screening method was
developed through several previous federal notice and comment rulemakings. One percent of the 2015 ozone NAAQS
(70 ppb) is 0.70 ppb. Therefore, any state that contributes less than 0.70 ppb to a projected nonattainment or
maintenance area in another state is not culpable for those air quality problems.

EPA and LADCO implemented the Anthropogenic Precursor Culpability Analysis (APCA) technique in CAMx to identify
upwind states culpable for downwind ozone air quality problems. The method accounts for human-made nitrogen
oxides (NOx) and volatile organic carbon (VOC) emissions from all sources in each upwind state affecting projected 2023
ozone concentrations at each downwind air quality monitoring site designated a nonattainment or maintenance
receptor. EPA and LADCO conducted the culpability analysis for the period May 1 through September 30, using the 2023
future emission estimates and 2011 meteorology. Refer to pages 5 and 6 of the Memo for more information regarding
EPA’s culpability analysis.

1
  See Attachment 1, “Interstate Transport Modeling for the 2015 Ozone National Ambient Air Quality Standard: Technical Support
Document”. The TSD includes text about excluding data from the design value calculation based on model performance. The data in
this iSIP, Tables 2 and 3, do not reflect this feature.
2
  See Attachment 2, “Documentation of ERTAC EGU CONUS Versions 2.7 Reference and CSAPR Update Compliant Scenario”.

                                                                                                                                               6
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Both analyses conclude Minnesota is not culpable for ozone nonattainment, or interference with maintenance, in any
downwind states. As shown in Table 2, EPA’s analysis indicates Minnesota contributes most to Milwaukee, Wisconsin
monitor site 550790085. At a concentration of 0.40 ppb, this contribution is roughly equal to 0.57% of the 2015 ozone
NAAQS (70 ppb). LADCO’s analysis corroborates EPA’s results, showing a concentration of 0.45 ppb, roughly equal to
0.64% of the NAAQS.

While there are some differences in the list of receptors identified as nonattainment or maintenance receptors between
the EPA and LADCO modeling exercises, there are no significant differences in Minnesota’s contribution to any of the
receptors identified by either EPA or LADCO. Although Minnesota 2023 emission estimates with ERTAC are lower than
the EPA engineering analysis estimates, Minnesota’s downwind culpability remains the same – negligible – as shown in
Tables 2 and 3.




                                                                                                                                   7
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Table 2. Minnesota's projected 2023 ozone contributions, from human-made NOx and VOC emissions, to states with nonattainment
or maintenance receptors, based on the “no water” alternative. Source of EPA model data: “March 2018 Memo and Supplemental
Information Regarding Interstate Transport SIPs for the 2015 Ozone NAAQS”, https://www.epa.gov/airmarkets/march-2018-memo-
and-supplemental-information-regarding-interstate-transport-sips-2015; these data include the May 18, 2018 updates. ERTAC-
substituted model and data sourced from LADCO – see Attachments 1 and 2. Values in gray did not exceed the 70 ppb modeling
threshold used to identify projected 2023 nonattainment or maintenance areas.

                                                                                                          EPA                        LADCO
                                             EPA            EPA          LADCO          LADCO                          Percent                      Percent
                                                                                                      Contribution                 Contribution
                     Monitor               2023en         2023en         2023en         2023en                         of 2015                      of 2015
   AQS Site ID                                                                                           from                         from
                     Location              Average       Maximum         Average       Maximum                          ozone                        ozone
                                                                                                       Minnesota                    Minnesota
                                            (ppb)          (ppb)          (ppb)          (ppb)                         NAAQS                        NAAQS
                                                                                                         (ppb)                        (ppb)
  550790085          Milwaukee, WI           71.2           73.0           68.0           71.2            0.40           0.57          0.45           0.64
  180910005          LaPorte, IN             67.2           70.4           65.6           68.6            0.36           0.51          0.34           0.49
  480391004          Brazoria, TX            74.0           74.9           73.6           74.4            0.34           0.49          0.33           0.47
  170317002          Cook, IL                66.8           70.3           64.7           68.1            0.33           0.47          0.32           0.46
  211110027          Jefferson, KY           70.1           70.1           61.7           64.1            0.32           0.46          0.22           0.31
  261630019          Wayne, MI               69.0           71.0           67.7           69.7            0.31           0.44          0.30           0.43
  551170006          Sheboygan, WI           72.8           75.1           70.9           73.2            0.28           0.40          0.27           0.39
  550890008          Ozaukee, WI             67.2           70.5           65.7           68.9            0.26           0.37          0.24           0.34
  482010026          Harris, TX              67.6           70.0           66.8           69.1            0.24           0.34          0.27           0.39
  482011034          Harris, TX              70.8           71.6           70.2           71.0            0.23           0.33          0.30           0.43
  482450101          Jefferson, TX           68.2           70.0           67.8           69.5            0.23           0.33          0.23           0.33
  482011039          Harris, TX              71.8           73.5           71.0           72.7            0.20           0.29          0.26           0.37
   90099002          New Haven, CT           69.9           72.6           66.8           69.4            0.19           0.27          0.16           0.23
  340150002          Gloucester, NJ          68.2           70.4           65.9           68.0            0.18           0.26          0.17           0.24
  361030002          Suffolk, NY             74.0           75.5           70.8           72.2            0.18           0.26          0.16           0.23
   90010017          Fairfield, CT           68.9           71.2           65.8           68.0            0.17           0.24          0.17           0.24
  360810124          Queens, NY              70.2           72.0           67.1           68.8            0.17           0.24          0.16           0.23
   90013007          Fairfield, CT           71.0           75.0           68.1           71.9            0.15           0.21          0.15           0.21
  484392003          Tarrant, TX             72.5           74.8           72.1           74.3            0.15           0.21          0.15           0.21
   90019003          Fairfield, CT           73.0           75.9           70.1           72.9            0.14           0.20          0.11           0.16
  484393009          Tarrant, TX             70.6           70.6           70.3           70.3            0.14           0.20          0.14           0.20
  240251001          Harford, MD             70.9           73.3           69.2           71.5            0.13           0.19          0.12           0.17
  484393011          Tarrant, TX             68.0           70.0           67.6           69.5            0.13           0.19          0.14           0.20
  360850067*         Richmond, NY            67.1           68.5           64.5           65.8            0.12           0.17          0.12           0.17
  260050003          Allegan, MI             69.0           71.7           67.4           70.1            0.11           0.16          0.11           0.16
  481210034          Denton, TX              69.7           72.0           69.4           71.7            0.11           0.16          0.11           0.16
                     New London,
    90110124                                 67.3           70.4           63.9           66.9             0.09          0.13           0.09          0.13
                     CT
                     East Baton
   220330003                                 67.8           70.6           66.6           69.4             0.07          0.10           0.07          0.10
                     Rouge, LA
                     Philadelphia,
   421010024                                 67.3           70.3           65.3           68.2             0.07          0.10           0.09          0.13
                     PA
   480290052         Bexar, TX               68.4           70.4           68.3           70.3             0.06          0.09           0.06          0.09
   482010024         Harris, TX              70.4           72.8           69.7           72.1             0.06          0.09           0.06          0.09
 *The Richmond, NY site was first included by EPA in the March 27 memo, as it was shown to be a nonattainment receptor in the “water” modeling approach. See
 Table 3 for projected DV information.

Table 3 shows the list of receptors EPA identified in Appendix B of the Memo using the “water” (non-alternative) cell
approach. EPA did not identify state-by-state contributions for this approach, but we include those receptors here for
comparison to LADCO’s modeling.




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Table 3. Minnesota's projected 2023 ozone contributions, from human-made NOx and VOC emissions, to states with nonattainment
or maintenance receptors, based on the “water” alternative. Source of EPA model data: Memo, Attachment B, “Projected ozone
design values at potential nonattainment and maintenance receptors based on EPA’s updated 2023 transport modeling”, p. B-3.
Updates to these values were not provided with the other May 18, 2018 updates under the “no water” alternative. ERTAC-substituted
model and data sourced from LADCO – see Attachments 1 and 2. Values in gray did not exceed the 70 ppb modeling threshold used
to identify projected 2023 nonattainment or maintenance areas.

                                                                                                          EPA                          LADCO
                                           EPA            EPA           LADCO           LADCO                           Percent                          Percent
                                                                                                      Contribution                   Contribution
                   Monitor               2023en         2023en          2023en          2023en                          of 2015                          of 2015
  AQS Site ID                                                                                            from                           from
                   Location              Average       Maximum          Average        Maximum                           ozone                            ozone
                                                                                                       Minnesota                      Minnesota
                                          (ppb)          (ppb)           (ppb)           (ppb)                          NAAQS*                           NAAQS
                                                                                                        (ppb)*                          (ppb)
 550790085**       Milwaukee, WI           65.4            67.0            62.1            65.1            ---             ---           0.41             0.59
  480391004        Brazoria, TX            74.0            74.9            73.6            74.4            ---             ---           0.33             0.47
  261630019        Wayne, MI               69.0            71.0            67.7            69.7            ---             ---           0.30             0.43
  482011034        Harris, TX              70.8            71.6            70.2            71.0            ---             ---           0.30             0.43
  551170006        Sheboygan, WI           70.8            73.1            69.3            71.5            ---             ---           0.27             0.39
  482011039        Harris, TX              71.8            73.6            71.0            72.7            ---             ---           0.26             0.37
  90099002         New Haven, CT           71.2            73.9            67.9            70.5            ---             ---           0.17             0.24
  90010017         Fairfield, CT           69.8            72.1            67.2            69.4            ---             ---           0.17             0.24
  361030002        Suffolk, NY             72.5            74.0            69.8            71.3            ---             ---           0.16             0.23
  360810124        Queens, NY              70.1            71.9            67.5            69.2            ---             ---           0.16             0.23
  484392003        Tarrant, TX             72.5            74.8            72.1            74.3            ---             ---           0.15             0.21
  90013007         Fairfield, CT           71.2            75.2            67.8            71.6            ---             ---           0.15             0.21
  484393009        Tarrant, TX             70.6            70.6            70.3            70.3            ---             ---           0.14             0.20
  360850067        Richmond, NY            71.9            73.4            69.1            70.6            ---             ---           0.13             0.19
  240251001        Harford, MD             71.4            73.8            69.4            71.8            ---             ---           0.12             0.17
  90019003         Fairfield, CT           72.7            75.6            69.6            72.4            ---             ---           0.11             0.16
  260050003        Allegan, MI             69.0            71.8            67.1            69.8            ---             ---           0.11             0.16
  481210034        Denton, TX              69.7            72.0            69.4            71.7            ---             ---           0.11             0.16
  480290052        Bexar, TX                ---             ---            68.3            70.3            ---             ---           0.06             0.09
  482010024        Harris, TX              70.4            72.8            69.7            72.1            ---             ---           0.06             0.09
 *Although EPA modeled projected ozone values and identified potential nonattainment and maintenance receptors for both the “water” and “no water”
 alternatives, EPA did not provide state-by-state contributions to the 2023 8-hour ozone DVs for the “water” scenario in Appendix C or the excel files
 accompanying the Memo.
 **Although the Milwaukee, WI site was not identified as a potential nonattainment or maintenance receptor by either EPA or LADCO under the “water”
 alternative, we’ve included it here to demonstrate that it is still the receptor for which Minnesota’s contribution is highest.


LADCO’s analyses have, in addition to EPA’s, concluded that Minnesota is not culpable for ozone nonattainment, or
interference with maintenance, in any downwind states.

3. Identify emissions reductions necessary (if any)

Neither the EPA or the LADCO analyses identified any potential nonattainment or maintenance receptors significantly
impacted by ozone transport from Minnesota in 2023. For previous good neighbor SIP submittals, the EPA has relied on
a one percent threshold to determine significant downwind contributions of regional pollutants. As stated previously
and shown in Tables 1 and 2, the highest contribution from Minnesota modeled by EPA and LADCO was at Site
550790085 in Milwaukee, WI; all models showed our contributions to be significantly below the one percent (0.70 ppb)
threshold for the 2015 ozone NAAQS. Therefore, Minnesota does not have a responsibility to identify or implement any
further controls or emissions limits to reduce downwind ozone contribution.

The following information provides strengthening evidence to the above modeling analysis.




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Ambient ozone concentrations in Minnesota

Minnesota has never been in nonattainment for any promulgated ozone NAAQS, and ambient ozone concentrations in
Minnesota have consistently been near or below the NAAQS. Figure 1 shows ozone concentrations as a percent of the
NAAQS for each given year. Figure 1 shows data starting in 1997, which was the year that the form of the standard
changed to represent the “annual fourth-highest daily maximum 8-hr concentration, averaged over 3 years”. This
continues to be the current form, although the level of the standard has been lowered twice since that first change.




                                                                                                                NAAQS = 70ppb
                                                                                  NAAQS = 75ppb

                                      NAAQS = 80ppb




Figure 1. 8-hour (annual fourth-highest daily maximum 8-hr concentration, averaged over 3 years) ozone DVs from Minnesota
ambient ozone monitors, shown as percentage of NAAQS, from 1997-2017. Although monitors throughout the state show a range of
ambient concentration values, Minnesota has never had an exceedance of any promulgated ozone NAAQS.

As discussed above in Section 110(a)(2)(B), there are currently 17 ozone monitors located throughout the state.
Monitoring data from 2015-2017, as shown in Figure 2, indicate that the highest ozone concentration is at Site 27-003-
1002, the Anoka Airport in Blaine. At 62ppb, the 2015-2017 DV was at approximately 89 percent of the 70ppb NAAQS.




Figure 2. 8-hour average ozone concentrations compared to the 2015 ozone NAAQS, 2015-2017


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Minnesota’s ambient ozone concentrations are steadily decreasing; it would be reasonable to assume that Minnesota is,
therefore, contributing less to ozone concentrations in other states.

Nitrogen oxides (NOx) and volatile organic compound (VOC) emissions in Minnesota

When conducting modeling with the CAMx APCA platform, EPA identified anthropogenic (human-made) NOx and VOCs
as the primary precursors to ground-level ozone formation. Thus, we will focus our discussion of emissions reductions in
Minnesota on NOx and VOC emissions data.

NOx emissions have been steadily declining in Minnesota over the past several years. Figure 3 demonstrates the steady
decline of emissions from point (permitted), non-point (neighborhood), on-road mobile, and non-road equipment. The
largest reductions in emissions have come as a result of emissions limits and reductions at point sources, particularly
electric generating utilities (EGUs). Point source emissions reporting is required annually.

Every three years MPCA collects expanded emissions inventories from non-point, on-road, and mobile sources, and
works with EPA to identify emissions categories and to verify state-collected data, if necessary. NOx emissions from
these traditionally non-permitted sources have also been declining, though less rapidly than for point sources.




Figure 3. Reported (actual) NOx emissions for the state of Minnesota, 2002-2015. Inventory data for 2014 are preliminary.

As with NOx emissions, VOC emissions have been steadily declining in Minnesota over the past several years. Figure 4
shows emissions from point (permitted), non-point (neighborhood), on-road mobile, and non-road equipment.

Again, as with NOx, MPCA collects expanded emissions inventories from non-point, on-road, and mobile sources every
three years. Although some VOC emission reductions have resulted as a co-benefit of emissions limits on point sources,
the majority of VOC emission reductions in recent years has come from lower on-road mobile source emissions,
primarily through Minnesotans’ use of cleaner, more fuel efficient vehicles.




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Figure 4. Reported (actual) VOC emissions for the state of Minnesota, 2002-2015. Inventory data for 2014 are preliminary.


4. Adopt permanent and enforceable measures needed to achieve reductions identified in item 3.

Since NOx and VOC emissions in Minnesota continue to decrease, ozone formation is also declining; ozone is not directly
emitted by any sources. This, in combination with the fact that Minnesota is not expected to contribute to any
nonattainment or maintenance issues downwind by the year 2023, makes it such that no additional permanent or
enforceable measures, beyond those already implemented in the state, are needed at this time.

Current measures that limit emissions of these pollutants and therefore help maintain Minnesota’s insignificant
contribution to downwind air quality concerns are discussed below.

Multi-pollutant limits

Minnesota has several methods of limiting emissions from facilities in the state. The primary way in which emissions of
NOx and VOCs are limited in Minnesota is through emissions limits described in Part 70 permits.

Minnesota is subject to CSAPR’s annual NOx programs, which were developed to address the 1997 and 2006 PM2.5
NAAQS. The CSAPR regulations have resulted in a reduction of NOx emissions from power plants subject to the rule (see
Figure 3, above). In addition, many of Minnesota’s coal-fired boilers have been converting to natural and/or fuel gas
over the past several years, in response to state regulations to reduce mercury emissions (Mercury Emissions Reduction
Act of 2006), as well as more recent Mercury and Air Toxics Standards (MATS). Although intended to reduce mercury
emissions, these regulations have also resulted in reductions in co-pollutants, like NOx and SO2.

Pollutant-specific limits

Minnesota has, in addition to multi-pollutant limits, pollutant-specific methods of limiting emissions. Most of our
pollutant-specific limits are for SO2 and particulate matter, as those are the two pollutants for which we have had
nonattainment (and subsequently, maintenance) areas.

NOx

State rules that limit NOx and NO2 emissions include:
    • Minn. R. Ch. 7011.0500 to 7011.0553, for Indirect Heating Fossil Fuel Burning Equipment
                                                                                                                                       12
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    •   Minn. R. Ch. 7011.1700 to 7011.1705, for Nitric Acid Plants

Minnesota has issued an Administrative Order (AO) to Xcel Energy – Northern States Power Company, Sherburne County
Generating Station, as part of Minnesota’s Regional Haze SIP. The AO includes NOx emissions limits.

VOCs

The majority of VOC emissions in Minnesota come from nonpoint (neighborhood) and small point sources. Minnesota’s
state rules incorporate, by reference, the National Emission Standards for Hazardous Air Pollutants (NESHAPs), which
limit VOC emissions. The primary method by which we limit VOC emissions is through the issuance of Part 70 permits
and Title I emissions limits in permits, which can help small sources avoid classification as major sources when
unnecessary.

The MPCA has statewide partnerships with non-profit organizations, the University of Minnesota, state contractors, and
local governments to promote the voluntary reduction of VOCs through education programs and the administration of
grants to small businesses, particularly auto body and coating shops.

Summary: Prongs 1 and 2

It can be reasonably concluded from the above analyses that Minnesota does not, and will not by 2023, significantly
contribute to nonattainment or interfere with maintenance of the 2015 ozone NAAQS at any of EPA’s identified
receptors. Minnesota has not historically contributed significantly to any of the monitors projected to have
nonattainment or maintenance issues in 2023. Our emissions of ozone precursors, NOx and VOCs, are on a downward
trend, and our emissions sources currently have limits and controls that will continue to reduce ozone concentrations
via a reduction in precursors.

EPA’s own modeling showed a downwind contribution of less than one percent at all examined receptors, which has
historically been accepted as a demonstration that ozone transport will not affect any nonattainment or maintenance
receptors, as identified, for the year 2023.

It follows that the limits and controls that Minnesota already has in place across the state are sufficient to make it
reasonably certain that Minnesota will not significantly contribute to nonattainment or interfere with maintenance in
any other state. We assert that no further controls or emissions limits are required to fulfill our responsibilities under
the interstate transport provisions for the 2015 ozone NAAQS under prongs 1 and 2 of Section 110(a)(2)(D)(i)(I).

Section 110(a)(2)(D)(i)(II): Prongs 3 (interference with PSD) and 4 (interference with visibility
protection)

This section requires iSIPs to include provisions prohibiting any source or other type of emissions activity in one state
from interfering with measures required to prevent significant deterioration of air quality or the protection of visibility in
another state.

As mentioned above, Minnesota has recently had its PSD program (at Minn. R. Ch. 7007.3000) approved into the SIP at
40 CFR § 52.1220, and so continues to operate a federally-approved nonattainment NSR (NNSR) permitting program.
Thus, all new major sources and major modifications are subject to a comprehensive, EPA-approved permitting program
that applies to all NSR pollutants. These programs require the consideration of emission impacts on the air quality of
other states. Minn. R. Ch. 7007.0900 provides for the review of Part 70 permits by affected states.


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Minnesota does not have any nonattainment areas for the 2015 ozone NAAQS; however, NNSR rules have been
promulgated, and are contained in Minn. R. Ch. 7007.4000-7007.4030. These rules ensure that, if there ever is an
instance where an area in the state becomes nonattainment, the sources located in those areas would not interfere with
neighboring states’ PSD programs.

EPA approved significant portions of Minnesota’s Regional Haze (RH) SIP on June 12, 2012 (77 FR 34801); however, due
to the disapproval of various components, Minnesota is currently subject to a Federal Implementation Plan (FIP) for
unapproved sources. Sources that are within Minnesota’s jurisdiction – that that were approved in the RH SIP – are not
interfering with neighboring states’ abilities to protect visibility. Visibility in the two Class I areas within the state of
Minnesota continues to improve, as well. Interim visibility goal targets, which show 2018 as a target year, are being met
in both locations.

Based on our discussed PSD and RH program components, we assert that Minnesota meets the requirements of prongs
3 and 4 of Secion 110(a)(2)(D)(i)(II).

Section 110(a)(2)(D)(ii): Interstate pollution abatement and international air pollution

Minnesota administers a federally-approved PSD program through Minn. R. Ch. 7007.3000, which incorporates, by
reference, 40 CFR § 52.21. Subsequently, new or modified sources are required to notify neighboring states of potential
negative air quality impacts. Our previous iSIP submittal for this section was disapproved due to the underlying issues
with the PSD program. Now that Minnesota’s PSD program has been approved, we assert that Minn. R. Ch. 7007.3000
fulfills the requirements of Section 110(a)(2)(D)(ii), as well as interstate pollution abatement requirements under Section
126(a). Minnesota has no other obligations under Section 126, nor under the international pollution abatement
components of Section 115.

We assert that the above regulatory authority fulfills the requirements of Section 110(a)(2)(D)(i)(II).

Section 110(a)(2)(E): Adequate resources and authority, conflict of interest, and
oversight of local governments and regional agencies
Per Minn. St. § 116.07, the MPCA is granted the authority and responsibility for developing, implementing, and
enforcing rules that allow Minnesota to comply with the Clean Air Act (CAA), including maintenance of the SIP. MPCA’s
Performance Partnership Agreement (PPG) with EPA provides MPCA the assurances to the availability of resources
needed to carry out certain air programs.

MPCA’s authority to enforce the NAAQS has been demonstrated previously in this document.

Minnesota’s satisfaction of section 110(a)(2)(E)(ii), as it relates to state board requirements of Section 128, is discussed
near the end of this document. The rules submitted in this iSIP in order to meet the requirements of Section 128 also
satisfy any applicable requirements related to section 110(a)(2)(E)(ii) for the 2015 ozone NAAQS. To the extent that the
state board requirements are non-NAAQS specific, we request that EPA also approve these rules as satisfying the
applicable Section 110(a)(2)(E)(ii) requirements for any NAAQS for which final action has not been taken.

We assert that the above statutory authority, in tandem with that presented below for Section 128, fulfills the
requirements of Section 110(a)(2)(E).

Section 110(a)(2)(F): Stationary source monitoring and reporting

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Minn. Stat. § 116.07, subd. 9(b) gives the MPCA authority “to require the owner or operator of any emission facility, air
contaminant treatment facility, potential air contaminant storage facility, or any system or facility related to the storage,
collection transportation, processing, or disposal of waste… to install, use, and maintain monitoring equipment or
methods…”.

Minn. R. Ch. 7007.0800, subp. 4 describes the minimum monitoring requirements included in each permit for major
stationary sources. Minn. R. Ch. 7011, which includes standards for stationary sources, also lists monitoring
requirements for each applicable source category.

Minn. R. Ch. 7017 contains Minnesota’s air monitoring and testing requirements, including for continuous monitoring.

Minn. R. Ch. 7019 contains emissions reporting requirements for applicable facilities, which must submit annual
emissions inventories to MPCA. The inventory reports must contain information on all criteria pollutants for which a
NAAQS has been promulgated. The MPCA also collects emissions inventory for air toxics, including VOCs, on a triennial
basis.

The majority of applicable rules in Chs. 7007, 7011, 7017, and 7019 have been previously approved by EPA and
subsequently incorporated into Minnesota’s SIP at 40 CFR § 52.1220.

We assert that the above statutory and regulatory authorities fulfill the requirements of Section 110(a)(2)(F).


Section 110(a)(2)(G): Emergency episodes
Although historic ambient monitoring data does not indicate a need for specific contingency measures for ozone, Minn.
Stat. § 116.11 was promulgated to allow the MPCA to halt or abate specific sources of pollution during an emergency.

Minn. Stat. § 116.11 reads:

        “If there is imminent and substantial danger to the health and welfare of the people of the state, or of any of
        them, as a result of the pollution of air, land, or water, the agency may by emergency order direct the
        immediate discontinuance or abatement of the pollution without notice and without a hearing or at the request
        of the agency, the attorney general may bring an action in the name of the state in the appropriate district court
        for a temporary restraining order to immediately abate or prevent the pollution. The agency order or temporary
        restraining order shall remain effective until notice, hearing, and determination pursuant to other provisions of
        law, or, in the interim, as otherwise ordered. A final order of the agency in these cases shall be appealable in
        accordance with chapter 14.”

Minn. R. Ch. 7000.5000 elaborates on specific actions to be taken to notify and communicate about any emergency
declared by the commissioner. Further instruction and requirements for owners and operators of any facility or
stationary source during air pollution episodes are provided in Minn. R. Ch. 7009.1000 through 7009.1110.

We assert that the above statutory and regulatory authorities fulfill the requirements of Section 110(a)(2)(G).


Section 110(a)(2)(H): Future SIP revisions
The MPCA has submitted many updates to the SIP at 40 CFR § 52.1220 in the last several years, in addition to iSIPs when
required by the Clean Air Act. We intend to continue to submit updates, as needed, in order to ensure changes at
                                                                                                                     15
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existing facilities will not jeopardize the NAAQS, to comply with new or revised NAAQS, or as requested by EPA (e.g.,
during a “SIP call”). Language confirming the MPCA’s ability to adopt or rescind rules and standards related to air
pollution can be found in Minn. Stat. § 116.07, subd. 4.

MPCA’s authority to issue permits to regulate air pollution can be found in Minn. Stat. § 116.07, subd. 4a.

We assert that the above statutory authority fulfills the requirements of Section 110(a)(2)(H).


Section 110(a)(2)(I): Plan revisions for nonattainment areas
Per EPA’s interpretation of the CAA and direction provided in the 2013 iSIP guidance document 3, states are not required
to address this Section, as SIP submissions for specific nonattainment areas, as required under the CAA Title I, part D, are
subject to a different submission schedule. The MPCA, is not, therefore, addressing Section 110(a)(2)(I) as a part of this
iSIP.


Section 110(a)(2)(J): Consultation with government officials, public notification, and
PSD and visibility protection

Consultation with government officials

Historically, MPCA actively participated in the Central Regional Air Planning Association, as well as the Central States Air
Resource Agencies. MPCA is now a full-time member of the Lake Michigan Air Director’s Consortium (LADCO), and has
demonstrated that it frequently consults and discusses air quality issues with pertinent Tribes. In addition to LADCO,
MPCA is an active participant in the National Association of Clean Air Agencies (NACAA), which has a member total of
185 air agencies, including representatives from all EPA regional offices and headquarters, across the United States.

Public notification

Minnesota dedicates portions of the MPCA website to enhancing public awareness of measures that can be taken to
prevent exceedance of all NAAQS generally. Information for non-point (neighborhood), vehicle, and traditionally
permitted sources can be found on MPCA’s website, at https://www.pca.state.mn.us/air/sources-air-pollution.
Information regarding the health impacts of air pollution, especially particulate matter and ozone, can be found at
https://www.pca.state.mn.us/air/air-quality-and-health; current air quality and air quality forecasting for the entire
state of Minnesota, new in 2017, is also available, at https://www.pca.state.mn.us/air/current-air-quality. MPCA staff
developed a free mobile app that provides the same forecasting information as the website, but in a more mobile-
friendly format; the app, Minnesota Air, is available for both iOS (Apple) and Android platforms, and can be download
through the iOS App Store or Android’s Google Play.

Minnesota’s procedural rules, applicable across all MPCA media programs, are established in Minn. R. Ch. 7000; these
rules include general guidelines, as well as information about contested case hearings (7000.1750 through 7000.2200),
emergency and variance procedures (7000.5000 and 7000.7000), and ethical conduct and standards (7000.9000 and
7000.9100).


3
 Memorandum dated September 13, 2013, “Guidance on Infrastructure State Implementation Plan (SIP) Elements under Clean Air
Act Sections 110(a)(1) and 110(a)(2)”.
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Minn. R. Ch. 7007.0850 lists public notice and comment procedures for the issuance of air quality permits. The public
may petition for meetings and hearings, including for a contested case hearing, as it relates to any air permit (with
reference back to Minn. R. Ch. 7000.1800). In addition to public notice of each air permit being issued by the MPCA,
each SIP revision is put on notice, and the public is provided the opportunity to comment and/or request public hearings
regarding proposed SIP revisions. This includes iSIPs, any SIP updates at 40 CFR § 52.1220, and site-specific SIP
conditions incorporated into air permits at individual facilities (under title I and title 5).

Minn. R. Ch. 7007.0900 also provides for the review of part 70 permits by affected states. Specifically, “[t]he agency shall
give notice of each draft part 70 permit, or major amendment to a part 70 permit, to any affected state on or before the
time that the agency provides this notice to the public as required by part 7007.0850.”

PSD and visibility protection

As described previously in greater detail, Minnesota’s PSD program was recently approved by EPA and has been
incorporated into the SIP at 40 CFR § 52.1220.

MPCA works with Federal Land Managers on a regular basis to discuss issues impacting Minnesota’s Class I areas,
including the U.S. Forest Service and the National Park Service.

MPCA is not, however, addressing visibility protection any further in this portion of the iSIP, per EPA’s 2013 SIP guidance.
The guidance states, on p. 55, that “[t]he EPA believes that there are no new visibility protection requirements under
part C [of CAA title I, which is implemented through 40 CFR part 51 subp. P] as a result of a revised NAAQS. Therefore,
there are no newly applicable visibility protection obligations pursuant to Element J after the promulgation of a new or
revised NAAQS. Air agencies do not need to address the visibility subelement of Element J in an infrastructure SIP
submission.”

Summary

We assert that the above regulatory authority fulfills the requirements of Section 110(a)(2)(J).


Section 110(a)(2)(K): Air quality modeling and submission of modeling data
MPCA reviews the potential impact of major and some minor new sources.

Under Minn. R. Ch. 7007.0500, MPCA may require applicable major sources to perform modeling in order to
demonstrate that emissions do not cause or contribute to a violation of any NAAQS. Minn. R. Ch. 7007.0500, subp. 1E,
states that MPCA may notify an applicant that they are required to demonstrate that their emissions do not cause a
violation of ambient air quality standards. Such information is mandatory for applicants subject to PSD requirements
(Minn. R. Ch. 7007.3000) and/or NNSR requirements (Minn. R. Ch. 7007.4000 through 7007.4030).

The MPCA routinely requests and requires emissions information from air permit applicants. MPCA also maintains
expert staff that conduct permit-related (and other) modeling, to support facilities and ensure modeling accuracy, as
needed. More information on the MCPA’s air modeling program can be found at https://www.pca.state.mn.us/air/air-
quality-modeling.




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Section 110(a)(2)(L): Permitting fees
The MPCA implements and operates Minnesota’s Title V permit program, which EPA approved in full on December 4,
2001 (66 FR 62967). Included in our permit program are Minn. R. Ch. 7002.0005 through 7002.0085, Air Emission Permit
Fees, which contain the provisions, requirements, and procedural structures associated with the costs for reviewing,
approving, implementing, and enforcing various types of air permits.

We assert that the above regulatory authority, in addition to the approved Title V permit program, fulfills the
requirements of Section 110(a)(2)(L).


Section 110(a)(2)(M): Consultation and participation by affected local entities
The MPCA develops, implements, and enforces Minnesota’s air quality program and, in doing so, regularly consults with
local political subdivisions affected by the SIP.

Under Minn. Stat. § 116.05, other departments and agencies are directed to cooperate with the MPCA, and the MPCA is
granted the authority to work with those agencies.

Specifically, Minn. Stat. § 116.05, subd. 1, states that MPCA is “…authorized to cooperate and to enter into necessary
agreements with other departments and agencies of the state, with municipalities, with other states, with the federal
government and its agencies and instrumentalities in the public interest and in order to control pollution…”

The Minnesota Administrative Procedures Act (Minn. Stat. Ch. 14) provides general notice and comment procedures
that govern rulemaking for all state agencies, which the MPCA follows during SIP development. For example, all SIP
revisions are put on public notice in the state register; in doing so, the public is provided the opportunity to request a
public meeting or comment on the SIP document. If a public meeting is requested, the MPCA will hold one.

We assert that the above statutory and regulatory authorities fulfill the requirements of Section 110(a)(2)(M).


Section 128: State board requirements [as related to Section 110(a)(2)(E)(ii)]
Section 128(a) of the CAA has two requirements:

        (1) that any board or body which approves permits or enforcement orders under this chapter shall have a
        majority of members who represent the public interest and do not derive any significant portion of their income
        from persons subject to permits and enforcement orders under this chapter, and
        (2) that any potential conflicts of interest by members of such board or body or the head of an executive agency
        with similar powers be adequately disclosed. Section 110(a)(2)(E)(ii) requires that states demonstrate
        compliance with section 128 as part of their Infrastructure SIP (see above).

Per statutory changes from the 2015 legislative session, the state of Minnesota no longer has any board or body which
approves permits or enforcement orders in relation to the CAA. We do, however, have rules and statutes which address
any potential conflicts of interest by the head of executive agencies that are applicable under the CAA.

The MPCA submitted the following statutes and rules to EPA on May 26, 2016, in addition to the Section 110(a)(2)(D)
provisions for the 2008 ozone NAAQS. Per 82 FR 50807, published November 2, 2017, Minnesota’s state board

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requirements – including the elements below – were approved for our previous multi-pollutant iSIP (effective December
4, 2017).

Section 128(a)(1)

Minnesota has no board or body which approves permits or enforcement orders in relation to the CAA. Instead, Minn.
Stat. § 116.02, subd. 5, and Minn. Stat. § 116.03, subd. 1 provide the MPCA’s Commissioner with the authority, powers,
and duties to make decisions on behalf of the agency.

Section 128(a)(2)

Minnesota’s statutes and rules require disclosure of any potential conflict of interest by public officials. Under Minn.
Stat. Ch. 10A, matters of disclosure and public interest are governed by the Minnesota Campaign Finance and Public
Disclosure Board (Board). Additional information about how the board makes decisions regarding disclosure is available
at https://cfb.mn.gov/citizen-resources/board-programs/overview/government-officials-disclosure/. The Board’s Public
and Local Officials Handbook is available at
https://cfb.mn.gov/pdf/publications/handbooks/Public_officials_handbook.pdf?t=1527106838 (updated 05/16/2018).

Minn. Stat. §10A.07 requires that, if the Commissioner has a financial interest relating to a matter before the agency,
they must make this interest known, in writing. The decision-making responsibility regarding the matter must be either
assigned by the Governor to another employee, or the Commissioner must abstain from influence over the matter in a
manner prescribed by the Board.

Minn. Stat. § 10A.09 requires that statements of economic interest be filed with the Board upon the nomination of the
Commissioner, and a supplementary statement must be submitted annually thereafter.

Minn. R. Ch. 7000.0300 further clarifies the need for candor and disclosure by the Commissioner, stating that:

        “In all formal or informal negotiations, communications, proceedings, and other dealings between any person
        and any member, employee, or agent of the board or commissioner, it shall be the duty of each person and each
        member, employee, or agent of the board or commissioner to act in good faith and with complete truthfulness,
        accuracy, disclosure, and candor.”

Minn. Stat. § 10A.07, Minn. Stat. § 10A.09, and Minn. R. Ch. 7000.0300 were incorporated into Minnesota’s SIP at §
52.1220 per 82 FR 50807.

Summary

Minnesota has no board governing activities related to the CAA. Our statutes and rules address any foreseeable issues of
conflict, disclosure, and the public interest as they relate to the MPCA’s commissioner. We therefore assert that the
above statutory and regulatory authorities fulfill the requirements of Section 128, as it relates to 110(a)(2)(E)(ii).

Conclusions
Based on the information provided in the 2013 iSIP guidance, the 2018 Memo (and associated data updates), and
previous iSIP submissions, the MPCA feels confident that the rules and statutes in place in Minnesota are more than
sufficient to support our state’s ambient air quality program, and to demonstrate that Minnesota is able to meet and
comply with the 2015 ozone NAAQS.
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Thus, all Section 110(a) iSIP requirements for the 2015 ozone NAAQS, including the interstate transport requirements,
are met for the state of Minnesota.

Attachments
Attachment 1: Interstate Transport Modeling for the 2015 Ozone National Ambient Air Quality Standard: Technical
Support Document (from LADCO)
Attachment 2: Documentation of ERTAC EGU CONUS Versions 2.7 Reference and CSAPR Update Compliant Scenario
(from LADCO)
Attachment 3: Public notice
Attachment 4: Completeness review




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Attachment 1:

Interstate Transport Modeling for the 2015 Ozone
National Ambient Air Quality Standard

Technical Support Document




          Lake Michigan Air Directors Consortium (LADCO) | 54 pages | June 2018
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  Interstate Transport Modeling for the 2015 Ozone
  National Ambient Air Quality Standard

  Technical Support Document



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  June 1, 2018
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      Executive Summary




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      1 Introduction
      The Lake Michigan Air Directors Consortium (LADCO) was established by the states of
      Illinois, Indiana, Michigan, and Wisconsin in 1989. The four states and EPA signed a
      Memorandum of Agreement (MOA) that initiated the Lake Michigan Ozone Study and
      identified LADCO as the organization to oversee the study. Additional MOAs were
      signed by the states in 1991 (to establish the Lake Michigan Ozone Control Program),
      January 2000 (to broaden LADCO’s responsibilities), and June 2004 (to update
      LADCO’s mission and reaffirm the commitment to regional planning). In March 2004,
      Ohio joined LADCO. Minnesota joined the Consortium in 2012. LADCO consists of a
      Board of Directors (i.e., the State Air Directors), a technical staff, and various
      workgroups. The main purposes of LADCO are to provide technical assessments for and
      assistance to its member states, and to provide a forum for its member states to discuss
      regional air quality issues.

      1.1 Project Overview
      LADCO conducted regional air quality modeling to support the statutory obligations of
      the LADCO states under Clean Air Section 110(a)(2)(D)(i)(i), which requires states to
      submit “Good Neighbor” state implementation plans (SIPs). These SIP revisions are
      plans to prohibit emissions in one state from interfering with the attainment or
      maintenance of the National Ambient Air Quality Standards (NAAQS) in another state.
      LADCO used the Comprehensive Air Quality Model with Extensions (CAMx) to support
      these analyses. The CAMx Anthropogenic Precursor Culpability Assessment (APCA)
      tool was used to assess the impacts of interstate transport of air pollution on ground level
      ozone (O3) concentrations in the Midwest and Northeast U.S.

      In support of previous rulemakings (CSAPR, 2011; CSAPR Update, 2016), the U.S. EPA
      in partnership with states developed a four-step interstate transport framework to address
      the “Good Neighbor” provisions of the O3 and PM2.5 NAAQS. This framework
      established the following four steps to identify and mitigate high O3 concentrations at
      locations that were at risk of violating the NAAQS in the future: (1) identify monitors
      with predicted air quality problems in the future year, (2) identify the upwind states that
      are “linked” through air mass transport to the problem monitors, (3) identify emissions
      reductions necessary to prevent upwind states from contributing significantly to NAAQS
      violations at a downwind monitor, and (4) adopt permanent and enforceable measures
      needed to achieve the identified emissions reductions. Recently, EPA (2018) issued a
      memo describing a series of potential flexibilities in this four step framework that states
      could consider in developing a transport SIP.

      LADCO used CAMx to predict O3 concentration in 2023 to address steps (1) and (2) of
      the four-step interstate transport framework. The LADCO CAMx modeling results are
      used here to identify O3 monitoring sites that may have nonattainment or maintenance
      problems for the 2015 O3 NAAQS in 2023. The modeling outputs are also used to
      quantify the contributions of emissions in upwind states to the monitors in downwind
      states that are projected to have NAAQS attainment problems in 2023. LADCO presents
      several “flexibilities” in the analytic approaches used to quantify transport and state



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      linkages per a March 2018 U.S. EPA (2018) memo. These alternatives include a
      comparison between EPA and LADCO CAMx modeling for 2023, exploring the impacts
      of including or removing water cells in future design values, and exploring the influence
      of model bias on future design values. All of the alterative analyses presented here are in
      the context of establishing links between an upwind state and downwind nonattainment
      or maintenance problems at surface O3 monitors in the Midwest and Northeast U.S.

      This document describes how LADCO used CAMx source apportionment modeling to
      link upwind and downwind states and to identify upwind emissions sources that
      significantly contribute to downwind NAAQS attainment issues. The CAMx APCA
      modeling outputs of this work are being presented to the LADCO states to support the
      “Good Neighbor” SIP provisions of their 2015 O3 NAAQS Infrastructure SIPs (iSIP) that
      are due to EPA in October 2018.

      1.2 Organization of the Technical Support Document
      This technical support document (TSD) is presented to the LADCO states for estimating
      year 2023 O3 design values and source-receptor relationships using the CAMx APCA
      technique. The TSD is organized into the following sections. Section 0 describes the
      2023 Air Quality Modeling Platform that LADCO used to forecast 2023 O3. Section 0
      describes the approach used for estimating Future Ozone Design Values. This section
      also includes a discussion on the methods used for identifying sites that are forecast to
      have O3 NAAQS attainment problems. Section 0 describes the Ozone Source
      Apportionment modeling used to link source regions with problem monitors in the future
      year. Section 0 presents the modeling results that the LADCO states can use to support
      their 2015 O3 NAAQS Good Neighbor SIPs. This section includes the following results:
          • LADCO benchmarking of the EPA modeling platform on the LADCO computing
              system;
          • Future year air quality forecasts from the LADCO CAMx modeling;
          • Interstate transport linkages estimated with the LADCO forecasts;
          • Alternative attainment test results of future year design values computed with
              different analysis flexibilities




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      2 2023 Air Quality Modeling Platform
      LADCO based our 2023 O3 air quality and interstate transport forecasts on the CAMx
      modeling platform released by the U.S. EPA in October 2017 in support of the Interstate
      Transport SIPs for the 2008 O3 NAAQS (US EPA, 2017). The EPA 2023EN modeling
      platform was projected from a 2011 base year and included a complete set of CAMx inputs,
      including meteorology, initial and boundary conditions, and emissions data. The future year,
      or 2023, component of the air quality modeling platform refers to the emissions data only.
      All other CAMx inputs, including the meteorology data simulated with the Weather Research
      Forecast (WRF) model, represented year 2011 conditions. LADCO used the majority of the
      data and software provided by EPA for this platform, with a few exceptions described below.

      2.1 Modeling Year Justification
      LADCO selected 2011 as a modeling year for this study because CAMx input data for
      2011 were widely available and relatively well-evaluated. 2011 had also been identified
      as a good year for studying O3 in the Eastern U.S. The US EPA (2015) noted that year
      2011 meteorology in the Eastern U.S., including the LADCO region, was warmer and
      drier than the climatic norm. As compared to other recent years, the summer of 2011
      represented typical conditions conducive to high observed O3 concentrations in the
      Midwest and Northeast U.S.

      Figure 1 shows the 2009-2013 base year O3 design values for the modeling period
      selected for this study. Each bubble on the plot represents an Air Quality System (AQS)
      O3 surface monitor. Orange, red, and purple colors indicate monitors that were
      nonattainment (>=71.0 ppbV) for the 2015 O3 NAAQS during this period. High O3
      concentrations were observed throughout the domain, with particularly high values along
      the Lake Michigan shoreline, St. Louis, southern Indiana, and the Northeast Corridor
      from Washington D.C. to Connecticut.




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                 Figure 1. 2011 (2009-2013) O3 design values for the eastern U.S.

      The triennial National Emissions Inventory (NEI) also synchronized with 2011. Since its
      first release in 2014, the NEI2011 has undergone several revisions, with the most recent
      updates to version 6.3 released in October 2017 as part of the U.S. EPA’s final 2008 O3
      NAAQS interstate transport assessment (US EPA, 2017). The 2011-based emissions
      modeling platforms are currently the best available national-scale datasets for simulating
      air quality in the U.S. The U.S. EPA used version 6.3 of the NEI2011-based emissions
      modeling platform for their preliminary assessment of O3 transport for the 2015 O3
      NAAQS (US EPA, 2016). Given recent use of 2011-based data for evaluating interstate
      transport by the U.S. EPA and the lack of a more contemporary national emissions
      modeling platform, LADCO believes that using 2011-based data and emissions
      projections are justified for assessing interstate O3 transport.

      LADCO selected 2023 as the future project year based on the availability of data from
      EPA. EPA selected 2023 for 2015 O3 NAAQS modeling because it “aligns with the
      anticipated attainment year for moderate O3 nonattainment areas” (US EPA, 2018).

      2.2 Air Quality Model Configuration
      LADCO based the CAMx air quality modeling platform for this study on the
      configuration that the U.S. EPA used to support both their October 2017 memo on




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      Interstate Transport SIPs for the 2008 O3 NAAQS (US EPA, 2015) and their December
      2016 technical support document on a preliminary assessment of Interstate Transport for
      the 2015 O3 NAAQS (US EPA, 2016). LADCO used CAMx v6.40 (Ramboll-Environ,
      2016) as the photochemical grid model (PGM) for this study. CAMx is a three-
      dimensional, Eulerian air quality model that simulates the chemical transformation and
      physical transport processes of air pollutants in the troposphere. It includes capabilities
      to estimate the concentrations of primary and secondary gas and particle phase air
      pollutants, and dry and wet deposition, from urban to continental spatial scales. As
      CAMx associates source-level air pollution emissions estimates with air pollution
      concentrations, it can be used to design and assess emissions reduction strategies
      pursuant to NAAQS attainment goals.

      LADCO selected CAMx for this study because it is a component of recent U.S. EPA
      modeling platforms for investigating the influence of interstate transport on O3, and
      because it has source apportionment capabilities for quantifying air pollution source-
      receptor relationships. As CAMx is a component of U.S. EPA studies with a similar
      scope to this project, LADCO was able to leverage the data and software elements that
      are distributed with U.S. EPA regulatory modeling platforms. Using these elements saved
      LADCO significant resources relative to building a modeling platform from scratch.
      CAMx is also instrumented with source apportionment capabilities that allowed LADCO
      to investigate the sources of air pollution impacting O3 monitors within and downwind of
      the LADCO region.

      Figure 2 shows the U.S. EPA transport modeling domain for the continental U.S. A 12-
      km uniform grid (CONUS12) covers all of the continental U.S. and includes parts of
      Southern Canada and Northern Mexico. The domain has 25 vertical layers with a model
      top at about 17,550 meters (50 mb). LADCO used the same U.S. EPA 12-km domain for
      this project because it supported the use of meteorology, initial and boundary conditions,
      and emissions data that were freely available from U.S. EPA.

      As the focus of this study is on O3, LADCO used CAMx to simulate the O3 season.
      LADCO simulated May through September 2011 as individual months using 10-day
      model spin-up periods for each month.

      Complete details of the EPA 2011 CAMx simulation, including a performance evaluation
      of the model are available from the U.S. EPA (2016).




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      Figure 2. CAMx 12-km modeling domain (CONUS12)

      2.3 Meteorology Data
      LADCO used the U.S. EPA 2011 WRF data for this study (US EPA, 2017). The U.S.
      EPA used version 3.4 of the WRF model, initialized with the 12-km North American
      Model (NAM) from the National Climatic Data Center (NCDC) to simulate 2011
      meteorology. Complete details of the WRF simulation, including the input data, physics
      options, and four-dimensional data assimilation (FDDA) configuration are detailed the
      EPA 2008 Transport Modeling technical support document (US EPA, 2015). U.S. EPA
      prepared the WRF data for input to CAMx with version 4.3 of the WRFCAMx software.

      2.4 Initial and Boundary Conditions
      LADCO used 2011 initial and boundary conditions for CAMx generated by the U.S. EPA
      from the GEOS-Chem Global Chemical Transport Model (US EPA, 2017). EPA
      generated hourly, one-way nested boundary conditions (i.e., global-scale to regional-
      scale) from a 2011 2.0 degree x 2.5 degree GEOS-Chem simulation. Following the
      convention of the U.S. EPA O3 transport modeling, year 2011 GEOS-Chem boundary
      conditions were used by LADCO for modeling 2023 air quality with CAMx.

      2.5 Emissions Data
      The 2023 emissions data for this study were based on the U.S. EPA 2011v6.3 (“EN”)
      emissions modeling platform (US EPA, 2017b). US EPA generated this platform for their
      final assessment of Interstate Transport for the 2008 O3 NAAQS. Updates from earlier
      2011-based emissions modeling platforms included a new engineering approach for
      forecasting emissions from Electricity Generating Units (EGUs). The U.S. EPA made



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      several changes to the base 2011 and forecasted 2023 emissions in the “EN” platform
      relative to the earlier “EL” platform (US EPA, 2017b).

      LADCO replaced the EGU emissions in the EN platform with 2023 EGU forecasts
      estimated with the ERTAC EGU Tool version 2.7 1. The ERTAC EGU Tool provided
      more accurate estimates of the growth and control forecasts for EGUs in the Midwest and
      Northeast states than the EPA approach used for the “EN” platform. LADCO used the
      EPA EN Platform emissions estimates for all other inventory sectors.

      2.5.1      Electricity Generating Unit Emissions
      The ERTAC EGU model for growth was developed around an activity pattern matching
      algorithm deliberately built to provide hourly EGU emissions data for air quality
      planning. The original goal of the model was to create low cost software that air quality
      planning agencies could use for developing EGU emissions projections. States needed a
      transparent model that was numerically stable and did not change dramatically with small
      changes in inputs. A key feature of the model includes data transparency, where all inputs
      are publicly available. The code is also operationally transparent, which includes
      extensive documentation, open source code, and a diverse user community to support
      new users of the software.

      Operation of the model is straightforward given the complexity of the projection
      calculations and inputs. The model imports base year Continuous Emissions Monitoring
      data from US EPA and sorts the data from peak to the lowest generation hour. It applies
      hour specific growth rates that include peak and off peak rates. The model then balances
      the system for all units and hours that exceed physical or regulatory limits. Finally, future
      year controls are applied to the emissions estimates and tests for reserve capacity, final
      reporting, and conversion to a SMOKE ready modeling files is done.

      ERTAC EGU has distinct advantages over other growth methodologies because it is
      capable of generating hourly future year estimates which are key to understanding O3
      episodes. Additionally it does not shutdown or mothball existing units because economics
      algorithms suggest they are not economically viable. Additionally, alternate control
      scenarios are easy to simulate with the model. Full documentation for the ERTAC
      Emissions model and 2.7 simulations are available through the MARAMA website1.

      2.5.2      LADCO 2023 Emissions Summary
      The tables and figures in this section summarize the emissions used in the LADCO and
      EPA 2023 CAMx simulations. Table 1 shows the annual NOx and SO2 EGU emissions
      for the base year (2011), ERTAC EGU 2023, and the EPA EN 2023 inventories. LADCO
      state and regional total emissions are presented in this table. Figure 3 and Figure 4
      summarize the NOx and SO2 emissions graphically for the LADCO states. The ERTAC
      EGU 2023 and EPA EN 2023 EGU emissions estimates differ across the LADCO states.
      ERTAC estimates 3,314 tons/year more NOx and 8,152 tons/year more SO2 for IL EGUs
      than the EPA EN projections. ERTAC estimates 12,567 tons/year more NOx and 24,356

      1
          http://www.marama.org/2013-ertac-egu-forecasting-tool-documentation




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      tons/year more SO2 in OH than the EPA EN projections. The MI EGU projections are
      lower from ERTAC by 5,731 tons/year NOx and 23,434 tons/year SO2 than the EPA EN
      projections. The differences for IN EGUs are mixed with ERTAC projecting 2,083
      tons/year less NOx and 34,393 tons/year more SO2 than the EPA EN projections.

      Regionally, ERTAC projects lower NOx but higher SO2 emissions in the Northeast and
      Southeast relative to the EPA EN projections. ERTAC EGU projects higher NOx and
      SO2 emissions across the CENSARA and WESTAR states relative to the EPA 2023
      projections.

      While these annual summaries mask the fine scale temporal differences between the EGU
      projection methodologies, in general the differences in O3 projections between the
      LADCO and EPA simulations (Section 5.4.1,) are consistent with the differences in
      annual total NOx emissions between the EGU projections used in each simulation. The
      LADCO 2023 simulation generally forecasted lower O3 in the Northeast and Southeast
      than the EPA 2023 EN simulation, consistent with the lower EGU NOx emissions
      predicted by ERTAC EGU in these regions.
      Table 1. EGU sector emissions annual NOx and SO2 totals (tons/year)
       State/            NEIv6.3 2011                ERTAC2.7 2023            EPA EN 2023
       Region          NOx          SO2              NOx      SO2            NOx       SO2
       LADCO States
            IL         142,582     432,902          34,078      81,899      30,764         73,747
            IN         228,895     725,652          61,314     114,865      63,397         80,472
           MI          149,802     452,352          27,977      43,818      33,708         67,252
           MN           62,033      77,134          14,600      14,904      21,919         15,606
           OH          204,874 1,168,733            50,140     114,289      37,573         89,933
           WI           62,585     183,179          15,829      10,826      15,419          7,623
       Regional Totals
       LADCO           850,771 3,039,951            203,938    380,601     202,780     334,634
       MARAMA/
                       441,004     941,121          84,533     197,712      97,903     112,429
       OTC
       SESARM        1,079,697 2,564,573            291,058    320,508     328,132     297,145
       CENSARA         827,715 1,867,451            274,253    624,243     221,846     406,174
       WESTAR          841,803     769,929          298,107    234,680     201,044     185,593




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                   Figure 3. EGU NOx emissions comparison (tons/year)




                   Figure 4. EGU SO2 emissions comparison (tons/year)




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      Table 2. Total O3 season day emissions for the LADCO 2023 simulations (tons/day)
       State/            CO              NOx           VOC         SO2          NH3         PM2.5
       Region
       LADCO States
            IL          607,125          143,052      497,088      44,492       47,348      41,223
            IN          513,679          110,536      327,044      65,725       61,564      28,785
           MI           632,948          102,683      609,349      43,644       39,374      25,621
           MN           984,896           95,232      661,274      16,987      103,977      82,507
           OH           687,300          115,544      424,614      58,947       62,778      32,843
           WI           417,474           69,094      504,084      13,832       74,005      20,940
       Region Totals
       LADCO          3,843,423          636,140                 243,628      389,046     231,919
       MARAMA/
                      2,635,608          503,960                 123,407      115,592      77,799
       OTC
       SESARM         7,159,486         974,250                  294,760      442,054     420,764
       CENSARA        5,046,349         903,500                  289,903      635,259     390,384
       WESTAR        10,584,500       1,289,397                  179,681      709,998     778,381


      2.6 U.S. EPA Modeling Platform Benchmarking
      LADCO benchmarked both the U.S. EPA 2011 and 2023 CAMx “EN” modeling
      platforms on our computing cluster. The benchmark simulation used the exact same
      CAMx version and configuration as was used by U.S. EPA. The purpose of these
      simulations was to confirm that LADCO correctly installed and configured the EPA data
      and software on our cluster. We needed to verify our installation of the modeling
      platform on the LADCO computing cluster in order to take advantage of the extensive
      vetting and evaluation of the platform by U.S. EPA. By reproducing the U.S. EPA CAMx
      modeling results on the LADCO computer, we inherited the model evaluation completed
      by the U.S. EPA, thereby validating the use of the platform for this study.

      LADCO verified the platform installation on our computing systems by comparing the
      results of the U.S. EPA and LADCO 2011 and 2023 EN simulations. We simulated the
      entire O3 season, with spin up, for both 2011 and 2023 for comparison with the U.S. EPA
      modeling. The LADCO benchmarking results for the 2011 simulation are presented in
      Section 5.1.

      2.7 Evaluation of the LADCO 2023 CAMx Simulation
      As future year air quality forecasts cannot be compared to observations for evaluation,
      LADCO relied on the model performance evaluation (MPE) conducted by the U.S. EPA
      on the base modeling platform that we used for this study (US EPA, 2016). In addition to
      the MPE for the base year CAMx simulation, the U.S. EPA reported full MPE results for
      the 2011 WRF modeling (US EPA, 2014) used to drive the CAMx simulations.

      LADCO compared the 2023 O3 forecasts that we generated in this study against the 2023
      U.S. EPA “EN” platform results. We compared daily average and daily maximum 1-



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      hour and 8-hour O3 concentrations at monitoring locations in the Midwest and Northeast.
      The purpose of this comparison was to evaluate the changes in the LADCO forecasts that
      result from the change in the EGU emissions forecasts used for this study relative to the
      U.S. EPA 2023 modeling. The comparisons of the 2023 O3 forecasts for the LADCO and
      EPA CAMx simulations are presented in Section 5.2.




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      3 Future Year Ozone Design Values
      LADCO followed the U.S. EPA Draft Guidance for Attainment Demonstration Modeling
      (US EPA, 2014b), herein referred to as the U.S. EPA Guidance, to calculate future year
      design values (DVFs) for monitors in the Midwest and Northeast U.S. As we used a base
      year of 2011, we estimated the base year design values (DVCs) using surface
      observations for the years 2009-2013. LADCO estimated the DVFs with version 1.2 of
      the Software for Modeled Attainment Test Community Edition (SMAT-CE) 2. SMAT-CE
      was configured to use the average O3 concentration in a 3x3 matrix around each monitor
      across the 10 highest modeled days, per the U.S. EPA Guidance.

      SMAT-CE uses a four step process to estimate DVFs:

            1. Calculate DVC for each monitor
                  • For O3, the design values is a three-year average of the 4th highest daily
                      maximum 8 hour average O3 (MDA84):
                                      DV2011 = (MDA84,2009 + MDA84,2010 + MDA84,2011)/3
                     •   Weighted 5-year average of design values centered on the base model year
                         (2011):
                                            DVC2011 = (DV2011 + DV2012 + DV2013)/3
            2. Find top 10 base year modeled days surrounding each monitor
                  • Find ten days with the highest base year modeled MDA8 from within a 3x3
                       matrix of grid cells surrounding each monitor
                  • Only days with modeled MDA8 >= 60 ppb are used
            3. Calculate relative response factor (RRF) for each monitor
                  • Calculate averaged MDA8 for the base and future years from the average of
                       the values in the 3x3 matrix in each of the selected top 10 modeled days
                  • Calculate the RRF as the ratio of the future to base year averaged MDA8:
                                                RRF = MDA82023,avg/MDA82011,avg
            4. Calculate DVF for each monitor
                                            DVF = RRF * DVC2011

      Following from the U.S. EPA March 2018 Ozone Transport Memo, we also calculated
      DVFs to account for the influence of surface water on CAMx performance over coastal
      regions. The alternative DVF calculation approach presented by EPA excludes from the
      3x3 matrix around a monitor those model grid cells that are dominated by water (> 50%
      water by landuse coverage). In the case of water-dominated grid cells that include a
      monitor, the monitor cell is included in the alternative calculation.



      2
          https://www.epa.gov/scram/photochemical-modeling-tools




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      Additional details of the EPA approaches that LADCO used for calculating DVFs are
      provided in the U.S. EPA’s Ozone Transport Modeling Assessments (US EPA 2018; US
      EPA, 2016; US EPA, 2015).

      LADCO employed another alternative for calculating DVFs that considers the skill of
      CAMx in reproducing the base year observations near a monitor. The standard EPA
      DVF approach uses the ten modeled days with the highest MDA8 concentrations around
      a monitoring location to estimate the relative response factor (RRF) for a monitor. In this
      approach, the top ten days are selected irrespective of the ability of the model to
      reproduce the observations during the selected days. Table 3 illustrates an example of the
      MDA8 modeled and observed concentrations at the Chiwaukee Prairie, WI monitor on
      the top 10 modeled days from the LADCO 2011 CAMx simulation. The table shows that
      6 of the top 10 modeled days correspond with days that are in the top 10 observed days
      (yellow shading); two of the top 10 modeled days are in the top 15-20 observed days
      (orange shading). Four of the top 10 modeled days also have percent biases greater than
      15%, with one day exhibiting a model overprediction of greater than 134%.
       Table 3. Chiwaukee Prairie, WI (AQS ID: 550590019) top 10 modeled MDA8 days
                   Date        OBS*      MOD*     BIAS*      BIAS%
                   7/4/2011        79.25   105.63     26.38     33.29%
                   7/9/2011        83.00   101.03     18.03     21.72%
                   7/24/2011       41.63    97.69     56.06    134.69%
                   7/30/2011       51.75    91.22     39.47     76.26%
                   9/1/2011        96.00    91.21      -4.79     4.99%
                   7/17/2011       88.25    82.95      -5.30     6.01%
                   7/10/2011       77.38    78.89       1.52     1.96%
                   7/23/2011       74.88    77.36       2.49     3.32%
                   6/7/2011        68.38    73.93       5.55     8.12%
                   9/2/2011        71.13    73.75       2.62     3.69%
                    *Units = ppbV
      The alternative DFV calculation explored by LADCO filtered the model results by bias,
      selecting the top 10 model days only from days when the bias falls below a certain
      threshold. As the EPA Modeling Guidance (2014b) sets the model performance goal for
      O3 at 15% mean bias, LADCO excluded days with a bias greater than 15% in an
      alternative “bias filtered” DVF calculation. Table 4 extends the example for the
      Chiwaukee Prairie, WI monitor by showing the top 10 modeled days with absolute
      modeled bias less than 15%. Filtering out the high bias days results in all of the top 10
      modeled days corresponding to days in which the observations were in the top 20
      concentrations of all days. With this approach, not only will more of the highest
      concentration observed days be included in the RRF calculation but the days that are
      included will be those in which the model was able to better reproduce the observations.
      In exhibiting better skill on these days, the model has a better chance of capturing the
      causes of the high O3 and subsequently simulating the sensitivity of changes in emissions
      on the O3 concentrations.




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         Table 4. Chiwaukee Prairie, WI top 10 modeled MDA days with bias <= 15%
                   Date        OBS       MOD       BIAS       BIAS%
                   9/1/2011        96.00     91.21      -4.79  4.99%
                   7/17/2011       88.25     82.95      -5.30  6.01%
                   7/10/2011       77.38     78.89       1.52  1.96%
                   7/23/2011       74.88     77.36       2.49  3.32%
                   6/7/2011        68.38     73.93       5.55  8.12%
                   9/2/2011        71.13     73.75       2.62  3.69%
                   8/31/2011       70.38     72.49       2.12  3.01%
                   6/6/2011        75.29     71.73      -3.56  4.73%
                   8/2/2011        75.50     69.47      -6.03  7.98%
                   7/15/2011       65.75     67.48       1.73  2.63%
                    *Units = ppbV
      The DVFs at nonattainment and maintenance monitors in the Midwest and Northeast
      U.S. from the three alternative comparisons: EPA vs LADCO, LADCO water vs no
      water, and LADCO bias filtered are presented in Section 0.

      LADCO used the DVFs to identify nonattainment and maintenance sites in 2023 using
      the most recent 3-year monitored design values (2015-2017) per the CSAPR Update
      methodology (CSAPR Update, 2016). Under this methodology sites with average DVFs
      that exceed the 2015 NAAQS (71 ppb or greater) and that are currently measuring
      nonattainment would be considered nonattainment receptors in 2023. Further, monitoring
      sites with maximum DVFs that exceeds the NAAQS would be considered a maintenance
      receptor in 2023. Under the CSAPR Update, maintenance only receptors include both
      those sites where the average DVF is below the NAAQS, but the maximum DVF is
      above the NAAQS; and monitoring sites with average DVFs above the NAAQS but with
      DVCs that are below the NAAQS.

      The sites that LADCO identified through this process as having potential for
      nonattainment and maintenance designations for the 2015 O3 NAAQS in 2023 were the
      focus of our source apportionment analyses. LADCO used the CAMx source
      apportionment APCA technique to assess the impacts of upwind sources on
      nonattainment and maintenance monitors in downwind states. Section 5.3 presents the
      results of the linkages of LADCO states to downwind maintenance and nonattainment
      monitors using a threshold of 1% of the NAAQS (0.70 ppb).




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      4 Ozone Source Apportionment Modeling
      LADCO used the CAMx Anthropogenic Precursor Culpability Assessment (APCA) tool
      to calculate emissions tracers for identifying upwind sources of O3 at downwind
      monitoring sites. We selected the APCA technique because it more appropriately
      associates O3 formation to anthropogenic sources than the CAMx Ozone Source
      Apportionment Technique (OSAT). If any anthropogenic emissions are involved in a
      reaction that leads to O3 formation, even if the reaction occurs with biogenic VOC or
      NOx, APCA tags the O3 as anthropogenic in origin.

      In the LADCO 2023 CAMx Source Apportionment modeling protocol (LADCO, 2018),
      we presented a configuration to tag both source regions and emissions inventory sectors
      for our APCA modeling. In the final APCA configuration, we primarily tagged only
      source regions in order to better leverage both the EPA 2023 EN CAMx modeling
      platform and to optimize the simulation on the LADCO computing cluster. We
      consolidated the 54 source tracers used by EPA into 32 tracers (Figure 5) based on an
      analysis of the linkages in the EPA modeling results. We maintained explicit O3 tracers
      for only those states that had CSAPR linkages (at least 0.7 ppb MDA8) to nonattainment
      and maintenance monitors in the latest EPA 2023 modeling (US EPA, 2018). For the rest
      of the states, such as New England, most of the Southeast, and the West, we grouped
      them into single tracers for computational efficiency. Following from the EPA 2023 EN
      modeling platform, in addition to each source region, LADCO created explicit tags for
      fire emissions, biogenic emissions, offshore emissions, tribal emissions, Canada/Mexico
      emissions, and Initial/Boundary Conditions.

      LADCO used the EPA 2023 EN data processing methods for preparing emissions for the
      APCA simulation. EPA developed a technique to convert all of the emissions data,
      including non-point sources such as biogenics and onroad mobile, to CAMx point source
      formatted data. Tagging of the emissions by state FIPs code is done during the emissions
      processing sequence to ensure that all of the emissions are properly attributed to the state
      from which they originate. This tagging is done to avoid the conventional problem in
      source apportionment modeling of mismatches between grid cell-based source regions
      and actual political boundaries. Additional details of the EPA emissions tagging
      approach are in U.S. EPA (2016).




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      Figure 5. CAMx APCA Source Regions


      We used the CAMx APCA results to calculate an O3 contribution metric for each
      potential nonattainment and maintenance monitor in the Midwest and Northeast U.S. (US
      EPA, 2016). The contribution metric is designed to provide a reasonable representation of
      individual states and sources to the design values at downwind monitors in future years.
      In particular, per the CSAPR methodology, downwind monitors are considered to be
      linked to upwind sources if a modeled contribution assessment shows impacts at a
      monitor that equal or exceeds 1% of the NAAQS. For the 2015 O3 NAAQS, source
      regions (and inventory sectors) that contribute 0.70 ppb or more to a monitor would be
      considered significant contributors to a nonattainment or maintenance monitor.

      In Section 0 LADCO presents alternative design values and source apportionment
      modeling results for different transport modeling flexibilities. This section shows how the
      2023 contributions and design values change with different EGU emissions,
      considerations of whether or not water cells are included in DVF calculations, and
      considerations of the model bias in the DVF calculations.




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      5 Results and Discussion
      5.1 EPA 2011 EN Platform Benchmarking Results
      LADCO simulated the entire O3 season (May 1 – September 30, 2011) with CAMx using
      the EPA 2011 EN modeling platform. The purpose of the benchmarking simulation was
      to demonstrate that LADCO could closely reproduce the EPA results using the same
      model inputs and configuration used by EPA on a different computing infrastructure. By
      demonstrating that LADCO can reproduce the EPA results, we establish the validity of
      the EPA modeling platform on the LADCO systems and inherit the full model
      performance evaluation and vetting process used by EPA for the 2011 EN platform (US
      EPA, 2016).

      Figure 6 and Figure 7 compare O3 season MDA8 O3 between the LADCO 2011
      (LADCO_2011en) and the EPA 2011 EN simulations at the locations of all of the AQS
      and CASTNET monitors in the CONUS12 domain, respectively. The data for these
      figures are paired in space and time, meaning that each symbol on the plot represents a
      comparison of the two simulations at the same monitor on the same day. While there is
      some variability between the two runs (AQS maximum absolute MDA8 difference is
      7.06 ppbV), the runs are not expected to be exactly the same due to numerical differences
      in computing architectures between the EPA and LADCO computing systems. For
      194,953 AQS data pairs, the Pearson correlation coefficient for the LADCO and EPA
      simulations is 0.99969 and the coefficient of determination (R2) is 0.999, indicating that
      the two simulations produced very similar results. The comparison of predicted O3
      concentrations at the rural CASTNET monitors shows similar correspondence between
      the runs (R2 = 0.999).

      Figure 8 shows a timeseries comparison of MDA8 O3 for the EPA and LADCO 2011
      simulations at a single monitor location. Each data point on this figure represents the
      daily MDA8 for the two simulations at the Chiwaukee Prairie monitor in southeastern
      Wisconsin. This figure also shows a very close correspondence between the EPA (blue
      line) and LADCO (red line) simulations relative to the observations (black line).

      The close correspondence in predicted O3 between the EPA and LADCO 2011
      simulations illustrated in these figures is consistent across states, monitoring networks
      and time periods. These results demonstrate the LADCO was able to effectively port the
      EPA 2011 EN modeling platform to the LADCO computing cluster and use the platform
      as the basis for projecting future year O3 concentrations. Despite the numerical
      differences introduced into the 2011 EN simulation by the LADCO computing
      architecture, LADCO will forecast 2023 O3 on the same computing architecture as the
      2011 benchmark simulation to ensure comparability between the LADCO 2011 and 2023
      simulations.




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             Figure 6. LADCO vs EPA 2011 EN summer season AQS MDA8 O3




          Figure 7. LADCO vs EPA 2011 EN summer season CASTNET MDA8 O3




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       Figure 8. Timeseries of MDA8 O3 at Chiwaukee Parairie, WI comparing EPA and
                                 LADCO 2011 simulations.


      5.2 LADCO 2023 Air Quality Projections
      LADCO modified the emissions in the EPA 2023 EN platform to create a LADCO 2023
      modeling platform (see Section 2.5). The LADCO 2023 simulation forecasts air quality
      for the continental U.S. using the best available information for North American
      emissions, including EGU emissions forecasts from the ERTAC v2.7 model. Figure 9
      shows the O3 season (May through September) maximum of MDA8 O3 for the LADCO
      and EPA 2023 CAMx simulations on the CONUS12 modeling domain. Figure 10 shows
      the difference in O3 season maximum (LADCO – EPA) between the two simulations.
      Cool colors indicate that the EPA simulation forecasts higher O3 than the LADCO
      simulation; warm colors indicate higher O3 in the LADCO forecast. In general, the EPA
      simulation predicts higher O3 in the Midwest, Northeast, Gulf Coast, and Pacific Coast
      states; the LADCO simulation predicts higher O3 in the Four Corners region and Central
      Arkansas. Note that the trends shown in these figures mask finer temporal resolution
      features (i.e., hourly and daily) that also exist between the LADCO and EPA 2023
      simulations.

      Figure 11 and Figure 12 compare O3 season MDA8 O3 between the LADCO 2023
      (LADCO_2023en) and the LADCO 2011 (LADCO_2011en) simulations at the locations
      of all of the AQS and CASTNET monitors in the CONUS12 domain, respectively. As
      both of these simulations were run on the LADCO computing cluster, the differences in
      the runs are due entirely to the emissions projections from 2011 to 2023. The LADCO
      simulation forecasts MDA8 O3 to decrease in 2023 by an average of 5.34 ppbV across all
      AQS monitors and by an average of 6.13 ppbV across all CASTNET monitors. These
      changes are similar to the EPA forecasts, which estimated average decreases in MDA8
      O3 of 5.23 ppbV at the AQS monitors and 6.15 ppbV at the CASTNET monitors.




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      Figure 13 shows the O3 DVFs and RRFs from the LADCO 2023 simulation. LADCO
      generated these results with SMAT-CE using the standard US EPA attainment test
      configuration (top 10 modeled days, 3x3 cell matrix around the monitor, including water
      cells). The LADCO 2023 CAMx simulation forecasts that no monitors in the Midwest
      or Northeast will be nonattainment (orange) for the 2015 O3 NAAQS. The highest
      mean DVF in these regions is the Suffolk County, NY (AIRS ID: 36103002) monitor at
      69.8 ppbV; the highest maximum DVF is Fairfield, CT (AIRS ID: 90019003) at 72.4
      ppbV. The RRF plot indicates that the largest reductions (25-30%) in DVFs are
      forecasted to occur in Chicago, Louisville, Cincinnati, and North Carolina. Regionally,
      the Mid-Atlantic and Northeast are forecasted to experience widespread reductions in O3
      DVFs in the range of 20-25%.

      Figure 14 shows the LADCO DVFs zoomed in on the Lake Michigan region. This plot
      highlights that only two Lake Michigan shoreline monitors, Sheboygan Co., WI and
      Allegan Co., MI are at or near maintenance of the 2015 O3 NAAQS. A third monitor in
      Wayne Co., MI is also forecast to be near maintenance status.

      Table 5 presents the average and maximum DVFs for the near nonattainment and
      maintenance monitors in the Midwest and Northeast. The red highlighted values indicate
      forecasted maintenance status for the 2015 O3 NAAQS. The Kohler Andre monitor in
      Sheboygan, WI (AIRS ID: 551170006) is the only forecasted maintenance monitor in the
      LADCO region with a maximum DVF of 71.5 ppbV.




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                LADCO 2023                            EPA 2023 EN




          Figure 9. LADCO and EPA CAMx May - Sept maximum 2023 MDA8 O3




       Figure 10. CAMx May - Sept difference (LADCO-EPA) in maximum 2023 MDA8
                                            O3




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              Figure 11. LADCO 2023 vs 2011 summer season AQS MDA8 O3




            Figure 12. LADCO 2023 vs 2011 summer season CASTNET MDA8 O3




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      Figure 13. Future year O3 design values (top) and relative response factors (bottom)
         calculated with water cells included from the LADCO 2023 CAMx simulation.




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       Figure 14. Future year O3 design values calculated with water cells included from
                  the LADCO 2023 CAMx simulation; Lake Michigan zoom.




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           Table 5. LADCO 2023 O3 design values at nonattainment and maintenance
                          monitors in the Midwest and Northeast
                                                  LADCO 2023                 2009-2013
       AQS ID       County           ST      3x3 avrg    3x3 max        3x3 avrg    3x3 max
       361030002    Suffolk          NY          69.8        71.3           83.3        85.0
        90019003    Fairfield        CT          69.6        72.4           83.7        87.0
       240251001    Harford          MD          69.4        71.8           90.0        93.0
       551170006    Sheboygan        WI          69.3        71.5           84.3        87.0
       360850067    Richmond         NY          69.1        70.6           81.3        83.0
        90099002    New Haven        CT          67.9        70.5           85.7        89.0
        90013007    Fairfield        CT          67.8        71.6           84.3        89.0
       261630019    Wayne            MI          67.7        69.7           78.7        81.0
       360810124    Queens           NY          67.5        69.2           70.0        71.0
        90010017    Fairfield        CT          67.2        69.4           78.0        80.0
       260050003    Allegan          MI          67.1        69.8           80.3        83.0
       550790085    Milwaukee        WI          62.1        65.1           78.3        82.0


      5.3 Interstate Transport Linkages
      Table 6 shows the MDA8 O3 DVF CSAPR linkages between states and monitors
      estimated by the LADCO 2023 simulation. These linkages are derived from the standard
      EPA attainment test that includes water cells in the 3x3 matrix surrounding each monitor.
      The linkages in Table 6 are provided for the same monitors highlighted in Table 5.
      While there are no projected nonattainment monitors in the LADCO 2023 simulation, the
      maintenance monitors are highlighted in red text. The states with contributions that equal
      or exceed 1% of the 2015 O3 NAAQS (0.70 ppbV) are highlighted with yellow shading.

      As described above, the only monitor in the LADCO region projected to be in
      maintenance for the 2015 O3 NAAQS by the LADCO 2023 modeling is the Kohler
      Andre monitor in Sheboygan, WI with a maximum DVF of 71.5 ppbV. Illinois is the
      highest contributing source region linked to this monitor (14.13 ppbV) followed by WI
      (9.54 ppbV), IN (6.24 ppbV), MI (2.15 ppbV), and TX (2.02 ppbV). While all of the
      LADCO states, with the exception of MN, have CSAPR-significant linkages to the
      maintenance monitors in the Northeast, OH has the largest single contribution to a
      monitor outside of the LADCO region (2.88 ppbV at Harford, MD). Despite projected
      attainment, the Wayne Co., MI monitor experiences the largest influence from outside of
      the U.S. (CNMX = 3.22 ppbV) of all of the monitors in Table 6.

      Figure 15 through Figure 23 show the 2023 ozone season maximum of the CAMx APCA
      O3 tracers for the LADCO states, Texas, Offshore (commercial marine) sources, and
      Canada+Mexico. While these plots do not indicate the conditions in which these




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      maximum values occur (i.e., on high or low O3 days), they do show the maximum
      magnitudes and spatial extents of the influence of each state on regional O3
      concentrations. Figure 15 shows that CAMx estimated that IL contributes a domain
      maximum O3 concentration of 70.8 ppbV. The maximum influence of IL emissions on O3
      is near Chicago and over Lake Michigan. Within the LADCO region, IL sources have the
      greatest influence on O3 concentrations in southeast WI, northwest IN, and the Lower
      Peninsula of MI. CAMx estimated that IL contributes a maximum of 2-4 ppbV O3 to the
      coastal areas in the Northeast and up to 8 ppbV O3 as far south as the Louisiana Gulf
      Coast.

      Figure 16 shows that CAMx estimated that IN contributes a domain maximum 46.6 ppbV
      O3. The highest contributed O3 concentrations from IN sources are in southern Lake
      Michigan. Within the LADCO region, IN sources have the greatest influence on O3
      concentrations in southern IL, southern MI, and central OH. CAMx estimated similar O3
      impacts for IN as for IL in the coastal areas in the Northeast and in the Gulf Coast.

      The CAMx estimates for MI O3 tracers in Figure 17 show a domain maximum
      contribution of 38.4 ppbV with the greatest impacts over Lakes Michigan, Ontario, and
      Erie. Within the LADCO states, MI sources have the greatest influence on O3
      concentrations in northern IN and OH. MI is also estimated to have a slightly greater
      impact on O3 in the Northeast than both IL and IN, with maximum O3 tracer
      concentrations of 4-6 ppbV extending off the Northeast coast.

      Figure 18 shows that the maximum O3 impact from MN sources is estimated to be 50.1
      ppbV and occurs around the Twin Cities. MN has the greatest regional influence on O3
      concentrations in northern WI. The MN O3 tracers are estimated to extend as far south as
      Dallas and east into central PA.

      Figure 19 shows that OH sources have the greatest impact on O3 over Lake Erie with a
      domain maximum tracer concentration of 63.1 ppbV. Within the LADCO region, OH
      sources are estimated to have the greatest impact on O3 in eastern IN and southeastern
      MI. As the easternmost LADCO state, OH is estimated to have the greatest impact on O3
      in the Northeast, with maximum OH tracer concentrations of 8-10 ppbV extending to the
      Northeast

      As shown in Figure 20, WI sources are estimated by CAMx to have the greatest impact
      on O3 concentrations along the WI shoreline of Lake Michigan. The highest WI O3 tracer
      concentration of 41.2 ppbV occurs over Lake Michigan off the southeast coast of the
      state. Within the region, WI sources have the greatest influence on O3 concentrations in
      western MI and the far northeast corner of IL. CAMx estimates that WI sources influence
      O3 concentrations as far away as northeast TX and along the Northeast U.S. coast by a
      maximum range of 2-4 ppbV.

      Figure 21 shows that TX sources are estimated to impact O3 concentrations in all of the
      LADCO states. The great influence from TX sources on O3 in the region are estimated by
      CAMx to be in southern IL and southern WI by a maximum of 8-10 ppbV. The O3 tracer




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      from offshore sources shown in Figure 22 has relatively small impacts on O3 in the
      LADCO states. Figure 23 shows that sources in Canada and Mexico are estimated by
      CAMx to influence O3 concentrations through most of the Continental U.S. The largest
      influence in the LADCO region is near the Canadian border in eastern MI. Canadian
      emissions are estimated to impact most of the LADCO states by a seasonal maximum of
      2-10 ppbV.




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      Table 6. MDA8 O3 (ppbV) DVF (with WATER) CSAPR linkages to monitors in the LADCO 2023 simulation




                361030002




                                       240251001


                                                   551170006


                                                               360850067




                                                                                                      261630019


                                                                                                                  360810124




                                                                                                                                         260050003
                            90019003




                                                                                90099002


                                                                                           90013007




                                                                                                                              90010017
  AIRS ID


STATE          NY    CT                MD    WI                NY    CT    CT    MI    NY    CT    MI
2009-13 AVG    83.3 83.7               90.0 84.3               81.3 85.7   84.3 78.7 78.0    80.3 82.7
2009-13 MAX    85.0 87.0               93.0 87.0               83.0 89.0   89.0 81.0 80.0    83.0 86.0
2023 AVG       69.8 69.6               69.4 69.3               69.1 67.9   67.8 67.7 67.5    67.2 67.1
2023 MAX       71.3 72.4               71.8 71.5               70.6 70.5   71.6 69.7 69.2    69.4 69.8
IL             0.65 0.62               0.85 14.13              0.85 0.42   0.71 1.83 0.69    0.39 18.31
WI             0.24 0.17               0.23 9.54               0.31 0.24   0.23 0.94 0.36    0.25 1.73
IN             0.75 0.78               1.36 6.24               0.97 0.46   0.94 2.18 0.64    0.45 6.61
OH             1.71 1.43               2.88 0.60               2.17 1.08   1.77 3.72 1.63    1.02 0.19
MI             0.95 0.49               0.66 2.15               1.01 0.65   0.66 19.68  1.12  0.47 3.20
MN             0.16 0.11               0.12 0.27               0.13 0.17   0.15 0.30 0.16    0.17 0.11
IA             0.19 0.15               0.23 0.48               0.24 0.14   0.16 0.40 0.24    0.11 0.70
MS             0.39 0.36               0.58 1.34               0.50 0.27   0.38 0.70 0.36    0.21 2.46
AR             0.14 0.15               0.22 0.52               0.16 0.09   0.15 0.25 0.11    0.08 1.87
LA             0.11 0.10               0.24 0.98               0.17 0.07   0.11 0.15 0.13    0.05 0.68
TX             0.58 0.45               0.86 2.02               0.79 0.40   0.45 0.86 0.56    0.32 2.41
OK             0.34 0.22               0.38 1.38               0.41 0.24   0.23 0.52 0.31    0.17 1.39
KS             0.19 0.14               0.24 0.64               0.24 0.13   0.14 0.36 0.17    0.09 0.75
CT             0.57 3.48               0.01 0.00               0.24 6.14   3.81 0.00 0.57    8.20 0.00
NY            16.47 13.76              0.46 0.02               6.65 14.00 12.69  0.06 13.92 15.92 0.00




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NJ            7.96 7.22   0.33 0.00 10.04   5.24  6.39 0.00 7.89    5.87 0.00
PA            5.96 6.12   4.87 0.18   9.45 5.01   5.82 0.17 5.53    4.77 0.05
DE            0.18 0.31   0.11 0.00   0.41 0.31   0.30 0.00 0.34    0.16 0.00
MD            1.03 1.52 17.79   0.02  1.61 1.30   1.46 0.02 1.33    1.00 0.01
WV            0.75 1.04   2.39 0.27   1.55 0.57   1.02 0.20 0.69    0.65 0.11
VA            0.89 1.72   3.96 0.07   1.56 1.20   1.30 0.15 1.26    1.15 0.04
SE            0.82 1.24   1.97 1.37   1.59 0.68   1.23 0.80 0.80    0.75 1.75
KY            0.51 0.76   1.62 0.58   0.93 0.32   0.89 0.64 0.40    0.36 0.59
WRAP          0.98 0.60   1.01 1.12   1.04 0.68   0.64 1.18 0.87    0.55 1.13
CNMX          1.75 1.26   0.84 0.60   1.54 1.64   1.34 3.22 1.89    1.64 0.56
OFFSHORE      2.02 2.64   3.35 0.89   1.85 4.16   2.88 0.31 2.17    1.46 0.47
TRIBAL        0.00 0.00   0.00 0.00   0.00 0.00   0.00 0.00 0.00    0.00 0.00
FIRE          0.28 0.32   0.45 0.54   0.37 0.21   0.33 0.40 0.22    0.20 0.89
ICBC         18.71 18.14 15.20 15.97 16.89 17.65 17.25 22.22 18.21 17.09 12.32
BIOG          4.12 3.82   5.31 7.18   5.01 3.85   3.90 6.14 4.20    3.27 8.44




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            Figure 15. Ozone season maximum CAMx APCA O3 tracers – Illinois




            Figure 16. Ozone season maximum CAMx APCA O3 tracers – Indiana




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           Figure 17. Ozone season maximum CAMx APCA O3 tracers – Michigan




          Figure 18. Ozone season maximum CAMx APCA O3 tracers – Minnesota




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             Figure 19. Ozone season maximum CAMx APCA O3 tracers – Ohio




           Figure 20. Ozone season maximum CAMx APCA O3 tracers – Wisconsin




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            Figure 21. Ozone season maximum CAMx APCA O3 tracers – Texas




           Figure 22. Ozone season maximum CAMx APCA O3 tracers – Offshore




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      Figure 23. Ozone season maximum CAMx APCA O3 tracers – Canada and Mexico

      5.4 Interstate Transport Assessment Flexibilities
      In March 2018 EPA released a memo (US EPA, 2018) the described a series of flexibilities
      that states could consider in developing Good Neighbor SIPs for the 2015 O3 NAAQS. In
      this section LADCO presents a series of alternatives for calculating DVFs. We compare the
      results against the standard US EPA attainment test configuration (top 10 modeled days, 3x3
      cell matrix around the monitor, including water cells) to demonstrate how the air quality
      projections and conclusions may change with each approach.

      5.4.1   Alternative Power Sector Modeling
      The “[u]se of alternative power sector modeling consistent with EPA’s emissions
      inventory guidance” is presented in the Analytics section of EPA’s March 2018 memo as
      a flexibility to consider in preparing a Good Neighbor SIP. This flexibility supports
      LADCO’s use of the ERTAC EGU model for projecting EGU emissions to 2023. As
      described in Section 2.5.1, we consider the emissions projections from ERTAC EGU to
      be more representative of the sources in the Midwest and Northeast than the approach
      used by EPA in their 2023 EN modeling platform. As ERTAC EGU is developed in
      collaboration between regional and state air planning agencies, it includes algorithms and
      data that have been reviewed by many of the states impacted by interstate O3 transport in
      the Eastern U.S.

      The LADCO 2023 CAMx simulation relative to the EPA 2023 EN simulation is an
      example of an alternative power sector modeling flexibility. The only configuration
      difference between these simulations is in the EGU emissions used with CAMx to project
      future year air quality. This sensitivity is slightly confounded by differences in the EPA
      and LADCO computing platforms when directly comparing the runs. The computing




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      system porting differences between the two runs is relatively small (see Section 5.1)
      compared to the differences introduced by changing the EGU emissions.

      Figure 9 and Figure 10 illustrate the differences in 2023 MDA8 O3 that result from
      changing the EGU projection methodology. As described in Section 5.2, the EPA
      simulation predicts higher O3 in the Midwest, Northeast, Gulf Coast, and Pacific Coast
      states; the LADCO simulation predicts higher O3 in the Four Corners region and Central
      Arkansas. Figure 24 and Figure 25 compare summer season MDA8 O3 between the
      LADCO and EPA 2023 simulations for monitors in the AQS and CASTNET networks,
      respectively. The LADCO simulation (y-axis) predicts slightly lower O3 concentrations
      across all sites (AQS NMB = -0.89%, CASTNET NMB = -0.4%).

      Figure 26 and Figure 27 compare the EPA and LADCO 2023 DVFs for the Eastern US
      and the LADCO region, respectively. Table 7 shows the DVFs and DVCs for the
      nonattainment and maintenance monitors in the Eastern U.S. The LADCO simulation
      that used ERTAC EGU emissions projections forecasts lower DVFs than the EPA 2023
      EN simulation. All six of the projected nonattainment monitors in the EPA simulation
      are forecasted by the LADCO simulation to be in attainment. The RRF plots in Figure
      28 further show the regional O3 reductions in the LADCO simulation relative to the EPA
      2023 EN simulation. More yellow and blue colors, representing lower RRFs or greater
      reductions in future year O3, are seen in the LADCO simulation through the Great Lakes,
      Mid-Atlantic, and Northeast regions.




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            Figure 24. LADCO 2023 vs EPA 2023 summer season AQS MDA8 O3




         Figure 25. LADCO 2023 vs EPA 2023 summer season CASTNET MDA8 O3




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                  Figure 26. EPA (top) and LADCO (bottom) 2023 DVFs.




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           Figure 27. EPA (top) and LADCO (bottom) 2023 DVFs; LADCO zoom.




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           Table 7. LADCO and EPA 2023 O3 design values at nonattainment and
                    maintenance monitors in the Midwest and Northeast
                                       LADCO            EPA           2009-2013
                                    3x3     3x3     3x3        3x3   3x3     3x3
      AQS ID      County      ST    avrg   max      avrg      max    avrg    max
      361030002   Suffolk     NY    69.8 71.3       72.5      74.0   83.3 85.0
       90019003   Fairfield   CT    69.6 72.4       72.7      75.6   83.7 87.0
      240251001   Harford     MD    69.4 71.8       71.4      73.8   90.0 93.0
      551170006   Sheboygan   WI    69.3 71.5       70.8      73.1   84.3 87.0
      360850067   Richmond    NY    69.1 70.6       71.9      73.4   81.3 83.0
       90099002   New Haven   CT    67.9 70.5       71.2      73.9   85.7 89.0
       90013007   Fairfield   CT    67.8 71.6       71.2      75.2   84.3 89.0
      261630019   Wayne       MI    67.7 69.7       69.0      71.0   78.7 81.0
      360810124   Queens      NY    67.5 69.2       70.1      71.9   70.0 71.0
       90010017   Fairfield   CT    67.2 69.4       69.8      72.1   78.0 80.0
      260050003   Allegan     MI    67.1 69.8       69.0      71.8   80.3 83.0
      550790085   Milwaukee   WI    62.1 65.1       64.0      67.0   78.3 82.0




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                  Figure 28. EPA (top) and LADCO (bottom) 2023 RRFs.




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      5.4.2   Impacts of Water Cells on Design Values
      Confidence in the ability of photochemical models to accurately estimate O3 over water is
      a persistent concern with the use of the models for air quality planning. This concern
      recently prompted measurement campaigns in the Eastern U.S. to address the issue (see
      Lake Michigan Ozone Study and Long Island Sound Tropospheric Ozone Study). The
      meteorology and chemistry processes in model grid cells that are dominated by water (>
      50% landuse area) are a challenge to simulate because the conventional technical
      formulations of the models were not optimized for water cells. Even with the introduction
      of new algorithms to simulate the dynamical and chemical features of water cells, a lack
      of over-water observations hinders our ability to verify the accuracy of the models in
      simulating these conditions. In consideration that the models may not perform well in
      simulating water cells, EPA and others have presented alterative DVF calculation
      approaches that exclude water cells. Although not explicitly listed in Attachment A of the
      EPA’s March 2018 memo on O3 Transport Modeling as a flexibility to consider in
      developing a Good Neighbor SIP, the EPA used the exclusion of water cells in their own
      DVF calculations (US EPA, 2017a; US EPA, 2018). EPA implicitly endorses the
      exclusion of water cells when calculating DVFs in their most recent technical guidance
      for Good Neighbor SIPs (US EPA, 2018).

      Exercising this flexibility does not require additional CAMx simulations. It is
      implemented through a postprocessing sequence per EPA (2018) in which model grid
      cells that are dominated by water (> 50% landuse area) are removed from the 3x3 matrix
      in the RRF and DVF calculation. One important modification to this process is to
      override the exclusion condition for cells that contain monitors; in other words, grid cells
      that contain monitors will be included in the 3x3 matrix regardless of the amount of water
      coverage in the cell. For the results presented here, LADCO used EPA postprocessing
      utilities and scripts that were developed to support their March 2018 memo.

      Figure 29, Figure 30, and Table 8 present the impacts of excluding water cells in the DVF
      calculations for the LADCO and EPA 2023 simulations. Figure 29 and Figure 30
      compare the water/no-water DVFs and RRFs for the LADCO simulation, respectively. In
      general, including water cells in the attainment test calculation results in lower DVFs
      for the lakeshore monitors in the LADCO region. A few key downwind monitors
      (Harford, MD; Richmond, NY; New Haven, CT) have higher DVFs when water cells are
      included in the calculation.




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        Figure 29. Ozone DVFs calculated with water cells excluded (top) and included
                      (bottom) for the LADCO 2023 CAMx simulation.




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        Figure 30. Ozone RRFs calculated with water cells excluded (top) and included
                      (bottom) for the LADCO 2023 CAMx simulation.




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              Table 8. LADCO and EPA 2023 O3 DVFs with and without water cells
                                          LADCO            LADCO             EPA              EPA
                                          Water           No Water         Water           No Water
                                        3x3   3x3        3x3   3x3       3x3     3x3      3x3     3x3
       AQS ID       County, ST         avrg   max       avrg   max      avrg    max      avrg    max
       361030002    Suffolk, NY        69.8 71.3        70.8 72.2       72.5 74.0        74.0 75.5
        90019003    Fairfield, CT      69.6 72.4        70.1 72.9       72.7 75.6        73.0 75.9
       240251001    Harford, MD        69.4 71.8        69.2 71.5       71.4 73.8        70.9 73.3
       551170006    Sheboygan, WI      69.3 71.5        70.9 73.2       70.8 73.1        72.8 75.1
       360850067    Richmond, NY       69.1 70.6        64.5 65.8       71.9 73.4        67.1 68.5
        90099002    New Haven, CT      67.9 70.5        66.8 69.4       71.2 73.9        69.9 72.6
        90013007    Fairfield, CT      67.8 71.6        68.1 71.9       71.2 75.2        71.0 75.0
       261630019    Wayne, MI          67.7 69.7        67.7 69.7       69.0 71.0        69.0 71.0
       360810124    Queens, NY         67.5 69.2        67.1 68.8       70.1 71.9        70.2 72.0
        90010017    Fairfield, CT      67.2 69.4        65.8 68.0       69.8 72.1        68.9 71.2
       260050003    Allegan, MI        67.1 69.8        67.4 70.1       69.0 71.8        69.0 71.7
       550790085    Milwaukee, WI      62.1 65.1        68.0 71.2       64.0 67.0        69.7 73.0

      5.4.3   Model Bias Filtering
      Under the Step 1 flexibilities for Good Neighbor SIP analyses in the EPA March 2018
      memo, EPA says that states may “[c]onsider removal of certain data from modeling
      analysis for the purposes of projecting design values and calculating the contribution
      metric where data removal is based on model performance and technical analyses support
      the exclusion.” Per this flexibility, for the monitors analyzed in this document LADCO
      filtered the days used for calculating RRFs and DVFs with an absolute bias threshold of
      15%. Instead of calculating RRFs at each monitor from the 10 highest concentration
      MDA8 modeled days in the base year, we used the 10 highest days with absolute biases
      <= 15%. We applied the bias filtering to the attainment test calculations that include
      water cells.

      Table 9 and Table 10 compare the LADCO and EPA O3 DVFs and RRFs with and
      without bias filtering. The change in the LADCO average DVFs from applying the bias
      filtering ranged from a 2.2% decrease for the Fairfield, CT (AIRS ID: 90019003) monitor
      to a 4.8% increase for the Milwaukee, WI (AIRS ID: 550790085) monitor. Although the
      percentage differences from applying the bias filters are not exactly the same between the
      two CAMx simulations, the impacts to the EPA average DVFs was proportional to the
      LADCO DVF calculations. In other words, the bias filtering causes the DVFs to change
      in the same direction for both simulations. The bias filtering also had comparable impacts
      on both the average and maximum DVFs. Applying the bias filter increases the DVFs at
      the Sheboygan, WI; Allegan, MI, and Milwaukee, WI monitors; the DVF at the
      Wayne, MI monitor decreases with the application of the bias filter. It should be noted
      that the bias filtering has more of an impact on the DVFs when water cells are included in
      the attainment test calculations (these results are not shown here).




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          Table 9. LADCO 2023 O3 DVFs and RRFs with and without bias filtering
                                        LADCO Water              Bias < 15%
                                   3x3     3x3    RRF       3x3    3x3      RRF
      AQS ID       County, ST      avrg    max              avrg   max
      361030002    Suffolk, NY     69.8   71.3    0.8390    70.5   71.9    0.8465
       90019003    Fairfield, CT   69.6   72.4    0.8327    68.1   70.8    0.8139
      240251001    Harford, MD     69.4   71.8    0.7721    69.7   72.1    0.7755
      551170006    Sheboygan, WI   69.3   71.5    0.8224    70.7   73.0    0.8391
      360850067    Richmond, NY    69.1   70.6    0.8510    69.6   71.1    0.8573
       90099002    New Haven, CT   67.9   70.5
       90013007    Fairfield, CT   67.8   71.6    0.8048    67.1   70.8    0.7965
      261630019    Wayne, MI       67.7   69.7    0.8613    66.4   68.3    0.8443
      360810124    Queens, NY      67.5   69.2    0.8658    66.5   68.2    0.8530
       90010017    Fairfield, CT   67.2   69.4    0.8371    67.2   69.5    0.8381
      260050003    Allegan, MI     67.1   69.8    0.8117    67.9   70.6    0.8219
      550790085    Milwaukee, WI   62.1   65.1    0.7943    65.1   68.2    0.8325


           Table 10. EPA 2023 O3 DVFs and RRFs with and without bias filtering
                                        EPA Water                Bias < 15%
                                   3x3    3x3     RRF       3x3    3x3      RRF
      AQS ID    County, ST         avrg   max               avrg   max
      361030002 Suffolk, NY        72.5   74.0    0.8710    73.2   74.7    0.8795
        90019003   Fairfield, CT   72.7   75.6    0.8690    70.7   73.5    0.8456
       240251001   Harford, MD     71.4   73.8    0.7939    71.7   74.1    0.7968
       551170006   Sheboygan, WI   70.8   73.1    0.8409    72.9   75.2    0.8651
       360850067   Richmond, NY    71.9   73.4    0.8850    73.1   74.6    0.8992
        90099002   New Haven, CT   71.2   73.9
        90013007   Fairfield, CT   71.2   75.2    0.8451    69.9   73.8    0.8293
       261630019   Wayne, MI       69.0   71.0    0.8768    67.6   69.6    0.8593
       360810124   Queens, NY      70.1   71.9    0.8998    69.1   70.8    0.8860
        90010017   Fairfield, CT   69.8   72.1    0.8697    69.5   71.8    0.8657
       260050003   Allegan, MI     69.0   71.8    0.8349    69.3   72.1    0.8388
       550790085   Milwaukee, WI   64.0   67.0    0.8179    68.1   71.4    0.8710




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      6 Significant Findings




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      Table 11. APCA Source Regions

      FIPS              APCA Region ID   NAME
                 N/A                 1 Biogenic
                  17                 2 Illinois
                  55                 3 Wisconsin
                  18                 4 Indiana
                  39                 5 Ohio
                  26                 6 Michigan
                  27                 7 Minnesota
                  19                 8 Iowa
                  29                 9 Missouri
                   5                10 Arkansas
                  22                11 Louisiana
                  48                12 Texas
                  40                13 Oklahoma
                  20                14 Kansas
                  31                15 Nebraska
                                       Maine, New Hampshire,
                                       Vermont, Massachusetts, Rhode
             Multiple               16 Island
                   9                17 Connecticut
                  36                18 New York
                  34                19 New Jersey
                  42                20 Pennsylvania
                  10                21 Delaware
                  24                22 Maryland
                                    23 Washington DC
                  54                24 West Virginia
                  51                25 Virginia
                                       North Carolina, South Carolina,
                                       Tennessee, Georgia, Alabama,
             Multiple               26 Mississippi, Florida
                  21                27 Kentucky
                                       Arizona, Colorado, Utah,
                                       Wyoming, Montana, North
             Multiple               28 Dakota, South Dakota, Idaho,




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      FIPS           APCA Region ID   NAME
                                      Washington, Oregon, California,
                                      Nevada
               N/A               29 Canada/Mexico
               N/A               30 Offshore
               N/A               31 Tribal
               N/A               32 Fire




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Attachment 2:

Documentation of ERTAC EGU CONUS Versions
2.7 Reference and CSAPR Update Compliant
Scenario




        Lake Michigan Air Directors Consortium (LADCO) | 17 pages | September 2017
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  Documentation of ERTAC EGU CONUS
  Versions 2.7 Reference and CSAPR Update
  Compliant Scenario
  9/23/2017

  ERTAC EGU Committee



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  Introduction
  The ERTAC Electricity Generating Unit (EGU) Committee develops reference runs for the continental
  United States (CONUS). CONUS 2.7 is based on 2011 base year continuous emission monitoring (CEM)
  data and growth factors from the AEO2017 projection that does not include the Clean Power Plan (US
  Energy Information Administration January 2017). Input files to version 2.7, were developed using input
  received by June 2017 from a significant outreach effort to states and stakeholders. Final V2.7 runs were
  done by VA DEQ and OTC in September 2017. The contact person for questions about these run files is
  Doris McLeod (804-698-4197) for all runs except 2023. For 2023, the contact person is Joseph Jakuta
  (jjakuta@otcair.org). CONUS 2.7 includes both a reference run and a Cross State Air Pollution Update
  (CSAPR Update) Rule (81 FR 74504) compliant scenario. The reference run includes only unit change
  information provided by states. The CSAPR Update compliant run include additional unit adjustments,
  described further in this text, agreed upon by the ERTAC EGU committee to represent the EGU sector
  operating in compliance with the CSAPR Update rule. Projections for reference case runs have been
  prepared for years 2017, 2018, 2019, 2020, 2023, 2025, and 2030. Projections for CSAPR Update
  compliant scenario have been prepared for years 2020, 2023, 2025, 2028, and 2030. The CSAPR Update
  compliant files are described also as optimized runs. File names that pertain to the CSAPR Update
  compliant run include the “opt” identifier in file names.

  The ERTAC EGU Committee maintains and distributes reference runs for the continental United States
  (CONUS), including the hourly input, output, summary, and documentation files for each run. These
  reference runs and the CSPR Update Compliant Scenario and complete documentation of the ERTAC EGU
  Tool is located on the MARAMA web site located here:

   http://www.marama.org/2013-ertac-egu-forecasting-tool-documentation

  ERTAC Input Files
  The ERTAC EGU Tool input files are built by the ERTAC leadership committee from a wide variety of existing
  data. These input files are subject to periodic quality assurance and updating by state agency staff.
  Agencies provide information on new units and controls, fuel switches, shutdowns and other unit-specific
  changes. In addition, the ERTAC EGU growth committee prepares updates to the growth factors when
  new versions of the Energy Information Agency (EIA) Annual Energy Outlook (AEO) become available.
  Periodic updates of these input files drive creation of new run versions. The ERTAC EGU tool projects fossil
  fuel fired units that report emissions to USEPA Clean Air Markets Division (CAMD) and serve a generator
  of at least 25 MW (there are some exemptions in the North East where units are sized less than 25 MW).

  A key data source are the hourly reports of generation and emissions collected by CEM and electronically
  reported to CAMD by facilities for the base year, in this case 2011. Base year SO2 and NOX emission rates
  (lb/mmbtu) are calculated from this data. Future emission rates are developed from base year rates
  adjusted to account for state knowledge of expected emission controls, fuel switches, retirements, and
  new units.

  The primary sources of expected future change in generation is the Energy Information Agency (EIA)
  annual projection of future generation and the National Energy Reliability Corporation (NERC) projection
  of peak generation rates. This information is available by region and fuel type. Where states have local
  projections these are preferred over national sources. Future generation by unit is estimated by merging
  these national, regional and state growth files with state knowledge of unit level changes. Hourly future
  emissions of NOX and SO2 are calculated by multiplying hourly projected future heat input by future
  emission rates.




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  ERTAC EGU Tool input files are as follows:

  n   Base Year Hourly CEM data – This comma separated file contains hourly unit level generation and
      emissions data extracted from EPA’s CAMD database. In unit-specific situations where base year
      hourly data needs to be modified, users provide a non-CAMD hourly file, which may be used to adjust
      or add data to the base year hourly CEM file.

  n   Unit Availability File (UAF) – This tabular file contains descriptions of each generating unit derived
      from a variety of sources, including the CAMD NEEDS database, state input, EIA Form 860, and NERC
      data. Each row in the table represents a single generating unit. This file is maintained and updated by
      the ERTAC committee and provides information on changes to specific units from the base to the
      future year. For example, the UAF captures actual or planned changes to utilization fractions, unit
      efficiency, capacity, or fuels. State/Local/Tribal (S/L/T) agencies also add information on actual and
      planned new units and shutdowns.

  n   Control File – This tabular file contains known future unit specific changes to SO2 or NOX emission
      rates (in terms of lbs/mmBtu) and/or control efficiencies (for example, addition of a scrubber or
      selective catalytic reduction system). This information is provided by S/L/T agency staff. This file also
      provides emission rates for units that did not operate in the base year.

  n   Seasonal Controls File – This optional tabular file may be used by S/L/T agencies to enter seasonal or
      periodic future year emissions rates for specific units for use in future year runs. This file may be used
      in addition to, or as an alternative to, the Control File.

  n   Input Variables File – This tabular file specifies values for a number of variables used in a particular
      projection run.

              o   Regions and Fuel Characteristics are not hardwired into the model. Rather, the regions
                  and their characteristics are specified in the Input Variables File. This file allows the S/L/T
                  agencies to specify variables such as the size, fuel type and location for new units. In
                  addition, the regional scheme and fuel types are specified in this file.

              o   Default New Unit Emission Rates. Percentile of best performing existing unit emission
                  rates for use in new units. Default is 90th percentile.

              o   New Unit Hourly Profile Characteristics. For new planned units and generation deficit
                  units (GDUs), users may specify in this file the percentile ranking of the existing unit
                  (operated in the base year) used to create a representative future profile of activity for
                  new units and GDUs.

  n   Growth Factor File – This tabular file contains the annual, nonpeak and peak electrical generation
      growth factors delineated by geographic region and generating unit type used in a particular run.

              o   Peak Growth and Transition Hours. The number of peak and transition hours,
                  differentiated by fuel and region, are assigned in the Growth Factor File.

  n   Demand Transfer File – This optional file allows users to transfer power, on an hourly basis, from one
      region/fuel-unit type to another. It also allows transfer to or from other, non-fossil fuel fired systems
      such as nuclear and renewables.




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  Growth factors
  Generation for future years by fuel type are based on growth rates which are differentiated by annual,
  nonpeak, and peak rates.

  Annual growth rates are developed by the ERTAC EGU Growth subcommittee from the EIA Annual Energy
  Outlook (AEO) and NERC projections. In certain cases, S/L/T agencies have developed more refined region
  specific growth factors which are then used to replace the EIA/NERC factors developed from other
  information sources, along with supporting documentation for those growth rates. EIA annual average
  regional growth factors are calculated by dividing AEO future projected generation by base year
  generation.

  Peak growth rates are derived by determining relative peak growth from NERC Electricity Supply &
  Demand (ES&D) data and applying it to the annual growth rates. The derived relative peak growth rates
  are not delineated by fuel so the ratio of peak to nonpeak growth rates for each fuel within a single region
  is constant.

  Nonpeak growth rates are calculated within the ERTAC EGU Tool using annual and peak growth rates.
  Annual average regional growth rates are adjusted to account for the peak hours.

  Peak and nonpeak growth is assigned to every hour by ordering all hours of the year by base year
  utilization. The peak growth factor is assigned by fuel to a limited number of hours with the highest
  utilization in the base year. Growth is then transitioned gradually to non-peak growth rate. The number
  of peak and transition hours are differentiated by fuel and region and are assigned in the Input Variables
  File. Figure 1 shows graphically the relationship between annual, peak and nonpeak growth rates.




  Figure 1. Relationship between the annual, peak, and nonpeak growth rates

  Finally, fuel specific hourly regional growth factors are adjusted to account for activity from new units and
  shutdowns. The tool then applies the adjusted hourly growth factors to the base year hourly generation


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  data to estimate hourly future generation. This generation is assigned to the units burning the specified
  fuel within the region. After generation is assigned, the tool confirms that unit capacity is not exceeded.
  If the available capacity is fully utilized new, generic units (“Generation Deficit Units”) are created to carry
  demand that exceeds known unit capacity.

  NOX and SO2 Emissions
  For base year runs, actual CAMD data is averaged to calculate base year ozone season and non-ozone
  season emission rates.

  For future year runs, calculated base year average emission rates for existing units are adjusted to account
  for new control equipment or other changes provided in the input files.

  For new units, two approaches are employed. First, if a state provides new unit emission rates those are
  used directly. Where emission rates are not provided, these are estimated based on the 90th percentile
  best performing existing unit for that fuel type and region. The user may adjust this percentile within the
  input variables file. These rates are applied to each unit’s future generation to calculate NOX and SO2
  emissions.

  Output
  The ERTAC tool generates hourly generation and emissions for each unit included in the system. In
  addition, post processors create summary files to facilitate review of the results, as follows:

              o    Annual base and future year generation (MW-hrs), heat input (mmbtu), SO2, NOX emission
                   (tons) and average emission rate (lbs/mmbtu)
              o    Ozone season base and future year generation and heat input, NOX emission (tons) and
                   average emission rate (lbs/mmbtu)

  Post processors are also available to generate CO2 estimates.

  Geographic Regional System
  Each EGU unit included in the model is assigned to a geographic region and fuel type bin in the Unit
  Availability File. The geographic regional system provided in Figure 2 is used in versions 2.7 reference and
  CSAPR Update compliant runs is the EIA Electricity Market Module (EMM) regional system. One
  adjustment that the EIA EMM system for the ERTAC EGU system is that SPNO and SPSO have been
  combined into a single region.

  Because the EIA EMM and NERC regions are not identical, adjustment is required to align these regional
  systems to develop annual and peak growth rates. To match EIA and NERC, a “best fit” NERC regional
  growth factor is assigned to each EMM region. In the simplest case, where a clear match between EIA and
  NERC regional schemes exists, for example NPCC-New England, the NERC relative peak growth rate is
  assigned to the corresponding EMM region. In more complicated cases, where multiple EMM regions
  corresponded to a single NERC region, or where regions were organized along substantially different
  geographic boundaries, the NERC ES&D data was aggregated and averaged to generate a relative peak
  growth factor for the (usually larger) corresponding NERC region and was applied to the corresponding
  ERTAC region (which closely resemble the EMM regions). As an example, the EIA SRVC, RFCW, and RFCE
  regions corresponds to two NERC regions, PJM and SERC East. In this case, the relative peak growth factors
  were derived from PJM and SERC East and applied to SRVC, RFCW, and RFCE ERTAC regions.

  Within each region, individual generation units are further delineated into five unit types as follows:



                                                                                                                5
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         •    Coal;
         •    Oil;
         •    Natural Gas – Combined Cycle;
         •    Natural Gas – Single Cycle;
         •    Natural Gas – Boiler gas.


  Figure 2: Regional boundaries for coal generation, CONUSv2.7




                                                                                                  6
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  Figure 4: EMM to NERC Crosswalk – ERTAC EGU V2.7

  EMM      Fuel          EMM Region Name                                           ERTAC    Single "Best-Fit" NERC
  Fuel                                                                             Regional Subregion Peak
  Region #                                                                         Code     Growth Code

  1        Coal, NG, Oil Texas Regional Entity (ERCT)                              ERCT      ERCOT

  2        Coal, NG, Oil Florida Reliability Coordinating Council (FRCC)           FRCC      FRCC

  3        Coal, NG, Oil Midwest Reliablity Council / East (MROE)                  MROE      MISO / SPP / SERC-N

  4        Coal, NG, Oil Midwest Reliablity Council / West (MROW)                  MROW      MISO / SPP / SERC

  5        Coal, NG, Oil Northeast Power Coordinating Council / Northeast          NEWE      NPCC - NE
                         (NEWE)

  6        Coal, NG, Oil Northeast Power Coordinating Council / NYC Westchester NYCW         NPCC - NY
                         (NYCW)

  7        Coal, NG, Oil Upstate New York (NYUP)                                   NYUP      NPCC – NY

  8        Coal, NG, Oil Long Island (NYLI)                                        NYLI      NPCC - NY

  9        Coal, NG, Oil Reliability First Corporation / East (RFCE)               RFCE      PJM / SERC - E

  10       Coal, NG, Oil Reliability First Corporation / Michigan                  RFCM      MISO / SPP / SERC

  11       Coal, NG, Oil Reliability First Corporation / West                      RFCW      PJM / SERC - E

  12       Coal, NG, Oil SERC Reliability Corporation / Delta (SRDA)               SRDA      MISO / SPP / SERC

  13       Coal, NG, Oil SERC Reliability Corporation / Gateway (SRGW)             SRGW      MISO / SPP / SERC

  14       Coal, NG, Oil SERC Reliability Corporation / Southeastern (SRSE)        SRSE      SERC - SE

  15       Coal, NG, Oil SERC Reliability Corporation / Central (SRCE)             SRCE      MISO / SPP / SERC

  16       Coal, NG, Oil SERC Reliability Corporation / Virginia Carolina (SRVC)   SRVC      PJM / SERC - E

  17+18    Coal, NG, Oil SouthWest Power Pool / North (SPNO) + South (SPSO)        SPPR      MISO / SPP / SERC

  19       Coal, NG, Oil Western Electricity Coordinating Council / Southwest      AZNM      WECC-WECC-SWSG
                         (AZNM)

  20       Coal, NG, Oil Western Electricity Coordinating Council / California     CAMX      WECC-CAMX US
                         (CAMX)

  21       Coal, NG, Oil Western Electricity Coordinating Council / Northwest      NWPP      WECC-NWPP US
                         Power Pool Area (NWPP)

  22       Coal, NG, Oil Western Electricity Coordinating Council / Rockies (RMPA) RMPA      WECC-WECC-RMRG




                                                                                                                   7
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  DETAILS OF VERSION 2.7 REFERENCE AND CSAPR UPDATE COMPLIANT RUNS
  ERTAC EGU v2.7 was built on improvements to prior runs and included updates to the UAF and control
  file from states received as of July. A summary of the inputs used to develop the ERTAC EGU v2.7
  Reference and CSPAR Compliant runs for the continental United States are shown in Figures 5 and 6
  respectively. Details of these changes may be found in the change log document. (ERTAC 2017a)

  ERTAC EGU CODE 2.1 – BOTH V2.7 REFERENCE AND CSAPR UPDATE COMPLIANT SCENARIO

  Version 2.7 was the first usage of the ERTAC EGU v2.1 code. V2.1 added a new functionality, including the
  ability to transfer of load between fuel types and regions. Use of this transfer functionality is described
  later in this document. (ERTAC 2017b)

  REGIONAL BOUNDARIES GROWTH RATES– BOTH V2.7 REFERENCE AND CSAPR UPDATE COMPLIANT SCENARIO

  AEO regions SPSO and SPNO were aggregated into a single region called SPPR for the coal fuel type
  only. - SPP operates as a single balancing authority and single wholesale market for the SPPR region.
  Hence growth in wholesale power production occurs within that single market construct. Application of
  differential growth rates by fuel type between SPPS and SPPN obscures that single market construct and
  can produce counter-intuitive fuel-specific emissions forecasts. Combining the individual net generation
  forecasts for a single fuel type allows for an accurate averaging of the growth rates into an integrated
  whole. The anticipated outcome will be more reflective of the generation efficiencies and relative fuel
  balance based on the application of a single wholesale market construct. Since there have been issues of
  predicted over-emissions in one or more of the states (most notably Oklahoma) when forecasting the
  two independent smaller regions within the ERTAC construct, the bigger regional footprint partially
  alleviates this specific problem due to the rebalanced loading for each fuel-unit type.

  GROWTH RATES – BOTH V2.7 REFERENCE AND CSAPR UPDATE COMPLIANT SCENARIO

  Growth factors used in both v2.7 reference and CSAPR Update compliant scenario were developed based
  on AEO2017 No Clean Power Plan Case. Relative peak factors were derived from 2016 NERC Electricity
  Supply & Demand (ES&D). The file containing annual and peak growth factors was provided by Tom
  Shanley of the ERTAC EGU Growth committee and is named:

  CONUSv2.7_AEO2017Ref_noCPP_SPPR_T2017_2030_ertac_growth_rates_7-17-2017.xlsx

  These growth factors and default growth curve parameters were used with the following exceptions:

  o   SRVC 1 replaced AEO growth rates and growth curve shape with values based on regional knowledge
      for combined cycle, Boiler gas and simple cycle fuel bins. The updated local values were used for all
      future year projections. Development of the local values is described in a memo included as an
      appendix to this document. Specific changes include:
           § Combined Cycle peak to nonpeak growth transition points were set to 200 and 2000 to
              reflect the fairly large difference in average and peak growth rates (AGR and PGR).
           § Boiler Gas and Simple Cycle transition points were set to 100 and 1000 to reflect the large
              difference in AGR and PGR and ameliorate the Generation Deficit Units (GDU)
           § Any year not included in the SRVC memo was interpolated between SRVC information.


  1
   updated using PGR/AGR information in email dated August 8, 2017, transmitted via email from Ming Xie of NC on
  August 9, 2017.


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  o   NYCW2 replaced AEO annual growth rates with values based on regional knowledge for all fuel bins.
      The updated local values were developed for 2020 and 2025 and interpolated 3 for use for all future
      year projections. Development of the local values is described in a memo included as an appendix to
      this document. Specific changes include: xxx
  o   RFCE and RFCM default growth curve transition points for the combined cycle fuel bin (CC) were
      replaced with 100 and 1000 to reflect the large growth and increased reliance on CC for base loaded
      operation in those regions.
  o   SRGW boiler gas peak growth rate for 2028 and 2030 was reduced to 0.98 so that the infinite GDU
      bug is not triggered. Annual growth rate was not affected.



  ERTAC DEMAND TRANSFER– BOTH V2.7 REFERENCE AND CSAPR UPDATE COMPLIANT SCENARIO

  Demand transfer is a new concept made possible by use of the new v2.1 ERTAC EGU code. The concept
  is to transfer some demand for particular hours from one fuel bin to alleviate the generation of a GDU.
  Another use for a demand transfer is the case where a significant system change occurs which was not
  anticipated by the EIA in the AEO. The example in V2.7 is the retirement of a large nuclear power plant
  near New York City. This results in other fuel bins having to provide a large amount of generation that
  was unanticipated by the EIA in the AEO.

  Transfers to prevent a coal fired GDU

  o   NEWE 300 MW-hrs was transferred from coal to combined cycle fuel bins in 861 deficit hours to
      prevent a coal fired GDU. There were 2000 MWs of unused CC capacity in NEWE. This transfer was
      done in every future year projected.
  o   FRCC Coal generation was transferred to the combined cycle fuel bin for certain hours to prevent a
      coal fired GDU. There was significant unused combined cycle capacity in FRCC. 4 This transfer was
      done in every future year projected. However, the amount of generation transferred, and the
      number of hours required varied by projection year as follows:
                       § 2017 – No transfer required
                       § 2018 – 2500 MW-hr coal to CC in 1259 deficit hours
                       § 2019 – 1000 MW-hr coal to CC in 241 deficit hours
                       § 2020 – 1300 MW-hr coal to CC in 444 deficit hours
                       § 2023 – 600 MW-hr coal to CC in 59 deficit hours
                       § 2025 – 600 MW-hr coal to CC in 90 deficit hours
                       § 2028 – 1000 MW-hr coal to CC in 2040 deficit hours
                       § 2030 – 1000 MW-hr coal to CC in 239 deficit hours




  2
   NY memo to MARAMA, dated 02-11-2016
  3
    2020 interpolated growth rates were approved by Ona Papageorgiou (NY) in an email dated 8/1/2017 from Ona
  to D. McLeod (VA)


  4
   FL staff (Hastings Read) approved this approach in an email dated August 9, 2017, to D. McLeod, titled, “RE: FRCC
  updates for ERTAC CONUS2.7.


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  Transfers to ameliorate disappearing generation bug

        •    RFCE – In the 2023 and 2025 projection 300 MWh of coal generation in RFCE was transferred to
             Combined Cycle for each of 4 hours to ameliorate missing generation due to Utilization Fraction
             limitations on coal fired units. The table below shows the 4 hours. RFCE combined cycle has
             significant new capacity in 2023, and at least 1000 MW of unused capacity.

        Figure XXX Coal Generation in RFCE Transferred to Combined Cycle to Ameliorate Missing
        Generation




  Transfers to address nuclear retirement

  o     NYCW - Indian Point nuclear power plant is scheduled to retire in 2021. John Barnes of NY (email
        dated 7/13/2017) advised that the nuclear transfers should be limited to years after 2021.
        (2021/2023/2028)



  INPUT VARIABLES – BOTH V2.7 REFERENCE AND CSAPR UPDATE COMPLIANT SCENARIO

  In SRVC the combined cycle percentile was set at 50th, coal to 70%, and simple cycle to 70th. This was based
  on region specific sizes, capacities, and characteristics.

  NON-CAMD HOURLY FILE– BOTH V2.7 REFERENCE AND CSAPR UPDATE COMPLIANT SCENARIO

  A small group of units with abnormal or missing base year hourly data are not assigned any generation by
  the tool in the future year. To correct this issue, these units are assigned one hour of reasonable, minimal
  activity in the non-CAMD hourly file to ensure processing. This improvement has negligible impact on base
  year data.

  For ORIS 55178, CT-1 it appears in some hours this unit reported in KW-hr rather than MW-hr, so that
  certain hours had more than 20,000 MW-hr of production. To correct this issue, any reported load
  greater than 300 was changed to 300 to fix the 2011 anomalous data. This issue was not discovered in
  previous runs because the unit had been marked "non-EGU" in prior runs. The state updated this
  designation to "Full" in the 2.7 comment period, so that the anomalous data became apparent in trial
  runs 5.

  MI and FL supplied gross load data for combined cycle units that did not report power produced from
  steam generation in the BY CAMD data.


  5
      See email from Adel Alsharafi (MO) dated 7/20/2017 to D. McLeod (VA)


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  Negative emissions and load values are replaced with zero.

  Added a full year of data for:

      •       ORIS 8906 (Astoria) Unit IDs 30, 40, and 50—summed reheat and superheat reported data to
              create the pseudo units.
      •       ORIS 7839 (Ladysmith) Unit 5, which is equivalent to that reported in 2011 for 7838 (Remington)
              Unit 5. 7838, 5 does not exist. This is a 2011 CAMD reporting error.

  Other similar anomalies were corrected and are documented in the Run Log.

  UNIT AVAILABILITY FILE – BOTH V2.7 REFERENCE AND CSAPR UPDATE COMPLIANT SCENARIO

  Numerous detailed corrections and adjustments to these files were made for both v2.7 reference and
  CSAPR Update compliant runs based on S/L/T agency comments regarding the configuration,
  characteristics, and utilization estimates of their units. The file name for the final unit availability file is:
  2011BASEUnit_Availability_v2.7_17noCPPSeptember 192017_code2_1.xls.

  Boiler gas treatment: Many coal fired EGU units have recently announced conversions to firing as boiler
  gas units. This trend results in a future over-capacity of boiler gas capacity and shortfall of coal capacity
  compared with projected generation in many regions. These conversions have been left in the coal bin
  in several cases for two reasons:

      •       To address shortfall created in coal bin resulting in GDU formation to meet coal fired demand.
      •       To create a reasonable future year generation profile for the unit.


  To address the shortfall the tool created coal fired Generation Deficit Units to meet the demand for coal
  fired generation. To ameliorate this imbalance, a decision was made to assign boiler gas characteristics,
  including emission rates to these units, but to leave them in the coal fuel bin. These units were assigned
  Utilization fractions typical of existing natural gas-fired boilers in their region. The following units were
  treated in this fashion:

          •    6055, 2B1 (Big Cajun 2, LA) in SRDA. Coal to boiler gas conversion assigned a UF limitation of 0.5
          •    Xxxx We need a complete list of the units treated in this fashion.

  CONTROLS FILE/SEASONAL CONTROLS FILE - APPLICATION OF BEST PRACTICES NOX CONTROL RATES TO EGU
  UNITS WITH EXISTING CONTROL DEVICES – V2.7 CSAPR UPDATE COMPLIANT SCENARIO ONLY

  ERTAC EGU V2.7 reference runs did not result in NOX emissions that met the regulatory requirement to
  meet the 2017/2018 CSAPR Update budgets in FY 2023. Due to the conservative nature of SIP
  development and therefore inventory development, states may not always include lower ozone season
  NOX rates in projections for units that have flexibility in how they run controls or combustion processes.
  To address this issue, the ERTAC committee developed the CSAPR Update scenario to reflect reasonable
  estimates of improved NOX rates driven by the requirement to purchase allowances under CSAPR
  Update in future year projections to demonstrate a first-cut estimate of compliance with state level
  budgets, assurance levels, or regional budgets associated with the CSAPR Update rule addressing the
  2008 ozone NAAQS. Files resulting from this approach to editing the control file and seasonal control file
  for each run are referred to as the “optimized files.” These changes are fully described in the control




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  documentation file titled, “2011BASEControl File-v2.7_17noCPPSeptember 19,2017_code2_1.xls.” The
  descriptions below are background and summaries of the control documentation file.

  Development of optimized emission rates. - MD staff prepared an analysis of historical unit
  performance from 2005-2016 ozone seasons to determine historically best-observed NOX emission rates
  for coal-fired units controlled by SCR or SNCR. (Vinciguerra et al 2017) This analysis was based on ERTAC
  2.6 results. Based on this analysis it was estimated that 19 units fitted with SNCR could meet an average
  NOX rate of 0.125 lbs/mmbtu in the ozone season. Also 141 units fitted with SCR were identified that
  could meet an average NOX rate of 0.064 lbs/mmbtu in the ozone season. These average values were
  selected to represent optimized NOX rates during the ozone season in the absence of a state-provided
  optimized NOX rate. These values may be further updated in later runs to reflect rates from unit-specific
  analyses. 6 Additionally, OK staff prepared an analysis of ozone season NOX rates for units within OK not
  equipped with post-combustion controls but that have reduced NOX emissions in 2016 based on CAMD
  data. 7

  Units for which the optimized control rate were applied - To determine which units would receive
  optimized NOX rates, Maryland developed a list of coal-fired EGUs within CSAPR states equipped with
  SCR or SNCR, and matched this list to the ERTAC 2.7 2023 results. The optimized NOX rates were applied
  to SNCR units with a 2023 ozone season NOX emission rate > 0.125 lbs/mmbtu and SCR units with a 2023
  ozone season NOX rate > 0.064 lbs/mmbtu unless the state already provided an ozone season controlled
  NOX rate in the seasonal control file. This resulted in optimized OS rates for 163 units – 124 SCR and 39
  SNCR units.

  Oklahoma Units – Oklahoma submitted optimized ozone season NOX rates for the CSAPR Update
  compliant run for the following additional units not included in Maryland’s analysis. These rates are
  based on 2016 ozone season NOX data as reported by the Oklahoma units to CAMD. For all units except
  2952 Unit 6, the non ozone season rates were based on submitted data in the documentation controls
  file. For 2952, Unit 6, which had no submitted data, the non-ozone season rates were those supplied by
  the tool as the non-ozone season average in 2011.

  Optimized control emission rates were only applied in the ozone season - The optimized rates were
  included in the seasonal controls files and applied from May 1 through Sept 30 each year, beginning in
  2017. In other periods of the year emission factors were equivalent to the 2011 data for the non-ozone
  season unless states had provided controlled NOX rates as inputs. Where states provided a future year
  controlled NOX rate that controlled rate was used for the non-ozone season. State provided annual NOX
  control information for optimized units was removed from the annual control file to ensure that the
  ERTAC EGU tool would correctly select the NOX rate supplied in the optimized seasonal controls file.
  However, state comments concerning annual controls were preserved in the non-ozone seasonal
  control file records. The optimized controls file and seasonal controls file can be used for years 2020 and
  beyond with no further modifications to the files.

      •   Controls file:
          Based on 2011BASEControl File-v2.7_17noCPPSeptember 192017_code2_1.xls.

  6
    Email dated 7/12/2017 from H. Ashenafi-MD to D. McLeod-VA contained the updated rates for the
  various ORIS code/Unit ID combinations.
  7
    Email dated 8/3/2017 from T. Richardson-OK to D. McLeod-VA contained the updated rates for the
  various ORIS code/Unit ID combinations.


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        •   Seasonal Controls File:
            Based on 2011BASEControl File-v2.7_17noCPPSeptember 1922017_code2_1.xls.
            The following items are documented in the controls file but are also worthy of explanation here:
                o North Carolina submitted a large number of new seasonal control records. For units
                    with a pollutant in the seasonal controls file, those line items were deleted from the
                    controls file. 8

  Figure XXX New Oklahoma Emission Rates based on 2016 CAMD
                                                                                        Previously
                                                                                       Submitted         Calc.
                                                                                           or            2016
                     Unit                                       ERTAC    Fuel/Unit
             ORIS                      Facility         State                          Calculated     CAMD OS
                      ID                                        Region   Type Bin
                                                                                         OS NOx       NOx Rate
                                                                                          Rate,      (lb/MMBtu)
                                                                                      (lbs/mmbut)

               165   2      Grand River Dam Authority   OK      SPPR     Coal              0.1600      0.1461

              2952   6      Muskogee                    OK      SPPR     Coal              0.3391      0.2813

              2956   1      Seminole (2956)             OK      SPPR     boiler gas        0.2030      0.1061

              2956   2      Seminole (2956)             OK      SPPR     boiler gas        0.2120      0.0954

              2963   3313   Northeastern                OK      SPPR     Coal              0.1500      0.1317

             10671   1A     AES Shady Point             OK      SPPR     Coal              0.1225      0.0712

             10671   1B     AES Shady Point             OK      SPPR     coal              0.1245      0.0716

             10671   2A     AES Shady Point             OK      SPPR     coal              0.1262      0.0669

             10671   2B     AES Shady Point             OK      SPPR     coal              0.1268      0.0662

                            Oklahoma Cogeneration                        combined
             50558   CC01   LLC                         OK      SPPR     cycle gas         0.2000      0.1222




  8
      See Ming Xie's email from NCDENR, dated 5/26/2017.


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  Prior Runs
  Prior reference runs files and documentation using 2011 base year data are as follows:

      v2.6 – Run in March, 2017, using input files current as of January 2017, and run by VA DEQ, IN DEP,
      and OTC in March 2017. Significant change in this run is that boiler gas units in many states, including
      PA were left in the coal bin and more seasonal controls were added, including MD. Growth factors are
      based on AEO2015 High Oil and Gas Scenario.

     v2.5L2 - Run in August, 2016, using input files current as of August 2016, and run by VA DEQ. Growth
     factors are based on AEO2015 High Oil and Gas Scenario.

     v2.4 – Run in August, 2015, using input files current as of July 2015, and run by VA DEQ. As occurred
     with v2.3, growth factors are based on AEO2014

     v2.3 – Run in October 2014. This run included major updates to the UAF and Control files received as
     of August 24, 2014. This is the first use of growth rates from AEO2014.

     v2.2 – Run in June 2014. Same as v2.1. This run included major updates to the UAF and Control files
     received as of March 31, 2014. This is the first use of the new code 1.01. Growth rates were from
     AEO2013.

     v2.1L1 – Run in April 2014. Same as 2.1 except this run included updates from Midwest to UAF and
     control file for Indiana, Illinois, Wisconsin, Michigan and Ohio primarily for coal fired units received
     dated March 3, 2014.

     v2.1 – Run in March 2014. This run included updates to the UAF and control file from several states.
     UAF updated with adequate data to calculate an ERTAC heat rate. Negative values in CAMD replaced
     with zero. An adjustment to implement zero growth for the Boiler gas was included. Combustion
     turbines and combined cycle units were adjusted in the 2.1 factors to account for the boiler-gas
     generation.

     v2.0 – Run in January 2014. This run was the first using base year 2011. In addition, the Midwest states
     provided updates to the UAF and control files. These updates were completed by the Northeast in
     prior runs.

  Figure 3 and summarize the inputs to v2.7 Reference and CSAPR Update compliant runs, respectively.




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  Figure 3: Inputs to ERTAC EGU v2.7 Projection Runs

       ERTAC File Name                          Description                                                                                      Run Notes
                                Version 2.7                                  Run by VA DEQ - Doris McLeod , OTC-Joseph Jakuta in Aug-Sep 2017
                                                                             New code, with new ertac_demand_transfer feature. Also, used a file converter for the new code to update to v2.1 format the UAF and
                                Code: 2.1                                    input variables. This set of runs will be the only set using the file converter. Next runs will start with the v2 formats.
                                Base Year: 2011
           OVERVIEW
                                Future Years: 2017, 2018, 2019, 2020,
                                2023, 2025, 2030 (in nomenclature of         Note that years 2020-2030 have both ref and opt runs. Ref indicates all inputs are based on state supplied data. Opt indicates that
                                files, XX denotes year, example 17 =         state supplied data was augmented with MD optimization control strategy, and OK supplied unit-specific data solely for optimization
                                2017)                                        runs.
  camd_hourly_base.csv          Hourly CAMD CEM data                         Same for all years.



  ertac_hourly_noncamd.csv Hourly CEM data replacing data in CAMD C2.1CONUSv2.7_ertac_nonCAMD_hourly.csv Same for all years
                              Added MO unit to correct hourly data that was reported in the wrong units (kW instead of GW)
                                                                          C2.1CONUSv2.7_20XX_ertac_initial_uaf.csv (based on final Sept 2017 documentation file.) Same for all years Files were run through
  ertac_initial_uaf.csv       Unit Availability File                      the file converter to create the new code input file, ertac_initial_uaf_v2.csv
                                                                          C2.1CONUSv2.7ref_20XX_ertac_control_emissions.csv, C2.1CONUSv2.7opt_ertac_control_emissions.csv (based on final Sept2017
  ertac_control_emissions.csv Annual Control File                         controls file) Same for all years.

                              For 2.7, two control files were used. One is the reference case (ref) that includes only those controls supplied by states. One is an optimized file (opt) that removes certain
                             SCR/SNCR coal fired units and certain OK units since they were moved to the seasonal controls file.
                                                                           C2.1CONUSv2.7ref_20XX_ertac_control_emissions.csv (based on final Sept2017 controls file) and
                                                                           C2.1CONUSv2.7opt_20XX_ertac_control_emissions.csv Same for all years. For 2.7, two seasonal control files were used. One is the
                                                                           reference case (ref) that includes only those controls supplied by states. One is an optimized file (opt) that includes state data as well as
  ertac_seasonal_control_emi                                               additional ozone season information for certain SCR/SNCR coal fired units and certain OK units. For the optimized units, only OS NOx
  ssions.csv                 Seasonal Control File                         rates were reduced. NOx rates in other months were left equivalent to reference case information.
                             For 2.7, two seasonal control files were used. One is the reference case (ref) that includes only those controls supplied by states. One is an optimized file (opt) that includes state
                             data as well as additional ozone season information for certain SCR/SNCR coal fired units and certain OK units. For the optimized units, only OS NOx rates were reduced. NOx
                             rates in other months were left equivalent to reference case information.
  ertac_growth_rates.csv     Growth Files                                  C2.7CONUSv2.7ref_20XX_ertac_growth_rates.csv
                             Based on AEO 2017 no CPP rates. Used NYCW and SRVC specific growth rates. NYCW did not have updated values. SRVC provided updated values.
                                                                           C2.7CONUSv2.7ref_20XX_ertac_input_variables.csv Code 1.01 files were run through the file converter to create the Code 2.1 input
  ertac_input_variables.csv  Input Variables File                          file called ertac_input_variables_v2.csv
                             Transfers of power between regions,
                             fuel/unit types, into or out of systems from
  ertac_demand_transfer.csv renewables and nuclear, etc                    C2.7CONUSv2.7ref_20XX_ertac_demand_transfer.csv. Different for all years.
  group_total_listing.csv    Aggregation scheme for multi-state caps C2.7CONUSv2.7ref_20XX_group_total_listing.csv (same for all years) Updated to include latest CSAPR update values

  state_total_listing.csv       Aggregation scheme for state level caps      C2.7CONUSv2.7ref_20XX_state_total_listing.csv (same for all years) Updated to include latest CSAPR update assurance level values.




                                                                                                                                                                                                                   15
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        ERTAC File Name                       Description                                               Run Notes
                                Version: 2.7 Reference                     Run by VA DEQ - Doris McLeod Sep 2017.
                                Code: 2.1
                                                                   Update to UAF, Controls, and nonCAMD hourly. States feedback deadline:
            OVERVIEW
                            Base Year: 2011                        June, 2017.
                            Future Years: 2020, 2021, 2023, 2025,
                            2028, and 2030
   camd_hourly_base.csv     Hourly CAMD CEM data
   ertac_hourly_noncamd.csv Hourly CEM data replacing data in CAMD C2.1CONUSv2.7_ertac_nonCAMD_hourly.csv
                               Updates include adding one hour of reasonable, minimal data to approximately 44 units that Emily Bull (MDE) identified as
                               missing in output files to allow the tool to process these units fully.
                               Unit Availability File (XX denotes year,        C2.1CONUS2.7_20XX_ertac_initial_uaf.csv: Updates include state inputs
   ertac_initial_uaf.csv
                               example 17 = 2017)                              and regional boundaries for MROS.
                               Annual Control File (XX denotes year,
   ertac_control_emissions.csv
                               example 17 = 2017)                              CONUSv2.7ref_20XX_05052016_ertac_control_emissions.csv
   ertac_seasonal_control_emi Seasonal Control File (XX denotes year,
   ssions.csv                  example 17 = 2017)                              C2.1CONUSv2.7_20XX_ertac_seasonal_control_emissions.csv
                                Seasonal controls provided by VA, GA, PA (Brunner Island Units 1, 2 & 3 have lower NOX and SO2 rates during the
                                ozone season to represent NG firing.) and MD & NJ
                                Growth Files (XX denotes year, example
   ertac_growth_rates.csv
                                17 = 2017)                                CONUSv2.7ref_20XX_05052016_ertac_growth_rates.csv
                                ANNUAL GROWTH rates spreadsheet supplied by T. Shanley of MI DEQ called AEO2017 GRs.xlsx. Adjustments to
                                                                        SRVC - Peak and annual growth rates supplied by NC for SC, NC, VA and
                                                                        WV.
                                                                        NYCW - GRs supplied by NY in memo to MARAMA.
                                PEAK GROWTH Rate spreadsheet supplied by T. Shanley (MI) called Gas_Adj_AEO2014_NERC2013 Growth Rates v4
                                                                        SRGW peak growth rate for oil was set to 2.0 to ameliorate an extremely high
                                                                        peak rate, per LADCO.
                                                                        SRSE peak GRs and transition hours adjusted for Coal, CC, SC, BG as in
                                                                        Lopez (MI) email to Byeong Kim (GA) 7/20/2017 with subject "SRSE Peak
                                                                        Growth Rate Adjustments"
                                                                        COMBINED CYLE GAS: Ameleoration of GDUs created solely for Peak hour
                                                                        demand deficits
                                                                                RFCM, MROZ, and MROW combined cycle peak growth rate set to
                                                                                1.3 and transition hours peak->formula set to 200; formula-> nonpeak
                                                                                set to 2000 based on LADCO, WI, and MI input. All other transition
                                                                                hours remain at default levels.
                                                                               CAMX, ; NWPP; RFWZ; SRCE; SRGW Combined cycle gas peak 2028
                                                                               GR set to 1.3 and transition hours set to 200 and 2000.
                                                                        SPPR – Two AEO regions, SPPN and SPPS, were aggregated for the coal
                                EMM to NERC Crosswalk                   fuel type only.
                                Input Variables File (XX denotes year,
   ertac_input_variables.csv
                                example 17 = 2017)                      C2.1CONUSv2.7_20XX_ertac_input_variables.csv
                                Aggregation scheme for multi-state caps
   group_total_listing.csv
                                (XX denotes year, example 17 = 2017)    C2.1CONUSv2.7_20XX_group_total_listing.csv
                                Aggregation scheme for state level caps
   state_total_listing.csv
                                (XX denotes year, example 17 = 2017)    C2.1CONUSv2.7_20XX_state_total_listing.csv




                                                                                                                                                     16
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                                    References
  ERTAC 2017a – Change log

  ERTAC 2017b – New Code Document.

  Vinciguerra et al., Expected Ozone Benefits of Reducing Nitrogen Oxide (NOx) Emissions from Coal-Fired
  Electricity Generating Units in the Eastern United States.

  US Energy Information Administration 2017, Annual Energy Outlook 2017 with Projections to 2050,
  accessed from https://www.eia.gov/outlooks/aeo/.




                                                                                                      17
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Attachment 3:

Public notice




             Minnesota Pollution Control Agency (MPCA) | 1 page | June 2018
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                                          Minnesota Pollution Control Agency
                                    Environmental Analysis and Outcomes Division
                                  Public Notice on State Implementation Plan Revision

        NOTICE IS HEREBY GIVEN that the Commissioner of the Minnesota Pollution Control Agency (MPCA) has
determined that a State Implementation Plan (SIP) revision must be submitted to meet Minnesota’s requirements under
sections 110(a)(1), 110(a)(2), and 128 of the Clean Air Act (the Act). The draft SIP revision is now available for public
comment.

        Background. Sections 110(a)(1) and 110(a)(2) of the Act require that states prepare and submit to the U. S.
Environmental Protection Agency (EPA) an “infrastructure” SIP within three years of the EPA’s issuance of a new
National Ambient Air Quality Standard (NAAQS) to demonstrate their continued ability to implement, maintain, and
enforce the revised standards. This infrastructure SIP submission addresses the 2015 ozone NAAQS.

       Purpose of the SIP revision. The purpose of this SIP revision is to fulfill Minnesota’s responsibility under the Act
to demonstrate its ability to implement, maintain, and enforce the revised ozone NAAQS cited above. This includes
information about Minnesota’s air quality programs such as monitoring, permitting, and modeling. Many of these
requirements have already been submitted as part of the SIP.
       The MPCA will consider changing the contents of the proposed SIP revision based on comments received during
the comment period. Following the end of the comment period, the Commissioner will decide whether to submit the
proposed SIP revision to the EPA.

        MPCA contact person. The MPCA contact person is Christine Steinwand. Written comments, requests, and
petitions should be mailed to: Christine Steinwand, Minnesota Pollution Control Agency, Environmental Analysis and
Outcomes Division, 520 Lafayette Road North, St. Paul, Minnesota 55155-4194; telephone: 651-757-2327 or toll free 1-
800-657-3864; fax: 651-297-8324; and email: Christine.Steinwand@state.mn.us. TTY users may call the MPCA at TTY
651-252-5332 or 1-800-657-3864.

        Availability of SIP. A copy of the proposed SIP revision is available on the MPCA’s web site at
http://www.pca.state.mn.us/public-notices. A copy of the proposed SIP revision is also available upon request by
contacting Christine Steinwand at 651-757-2327 or Christine.Steinwand@state.mn.us, or can be mailed to any
interested person upon the MPCA’s receipt of a written request. Additional materials relating to the SIP revision are
available for inspection by appointment at the MPCA, 520 Lafayette Road North, St. Paul, Minnesota 55155-4194,
between the hours of 8:00 a.m. and 4:30 p.m., Monday through Friday. To examine these materials, or for more
information, please contact Christine Steinwand. All MPCA offices may be reached by calling 1-800-657-3864.

         Public comment period and potential public meeting. The public comment period begins July 9, 2018 and ends
on August 10, 2018. Your comments must be in writing and received by Christine Steinwand by 4:30 p.m. on August 10,
2018. Written comments may be submitted to them at the mailing address, facsimile number, or e-mail address listed
above.
         As this SIP revision does not include any substantive changes to the Minnesota’s SIP, a public information
meeting will only be held if one is requested by 4:30 p.m. on August 10, 2018. If such a meeting is requested, it will be
held on August 16, 2018 from 9:00 a.m. to 11:00 a.m. at the MPCA St. Paul Office, 520 Lafayette Road North, St. Paul,
Minnesota 55155-4194. To find out if a public information meeting will be held, please contact Christine Steinwand at
651-757-2327 or Christine.Steinwand@state.mn.us after August 10, 2018 at 4:30 p.m. The public information meeting, if
one is requested, will provide information, receive public input, and answer questions about the proposed SIP revision. If
the public information meeting is held, additional written comments on the proposed documents will be accepted until
4:30pm on August 24, 2018, following the same guidelines described above.
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Attachment 4:

Completeness review




             Minnesota Pollution Control Agency (MPCA) | 4 pages | June 2018
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Attachment 4: Completeness Review
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A. Administrative Materials (40 CFR pt. 51, Appendix V, Part 2.1)
The EPA’s Criteria for Determining the Completeness of Plan Submittals, published at 40 CFR part 51, Appendix V,
requires states to provide the basic documents that show that the State has properly followed the administrative
requirements called for by the CAA for the adoption of SIPs. The requirements, and how this SIP revision complies with
these requirements, are discussed here:

1) Formal Letter of Submittal:

                        “A formal letter of submittal from the Governor or his designee, requesting EPA
                        approval of the plan or revision thereof.”

Attached to this SIP revision request is a formal letter of submittal from the MPCA Commissioner, John Linc Stine, to the
EPA Region V Administrator, Cathy Stepp. The office of the Commissioner of the MPCA is statutorily created in
Minnesota Statute § 116.03, subd. 1 (a). The Commissioner is appointed by the Governor, and the duties of the position
include acting as the state agent to “apply for, receive, and disburse federal funds made available to the state by federal
                                                                                                                                                                                       1
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law or rule and regulations promulgated thereunder for any purpose related to the power and duties of the MPCA or the
Commissioner. The Commissioner shall comply with any and all requirements of such federal law or such rules and
regulations promulgated thereunder to facilitate application for, receipt, and disbursement of such funds.” Minn. Stat. §
116.03 subd. 3.

2) Evidence of State Adoption of Plan and Issuance of Orders in Final Form:

                “Evidence that the State has adopted the plan in the State code or body of regulations;
                or issued the permit, order, consent agreement (hereafter ‘document’) in final form.
                That evidence shall include the date of adoption or final issuance as well as the effective
                date of the plan, if different from the adoption/issuance date.”

The rules and statutes documented in this submittal have previously been incorporated into Minnesota’s SIP, and/or
approved under the auspices of an iSIP [Sections 110(a)(1) and 110(a)(2) of the Clean Air Act].

3) Legal Authority Documentation:

                 “Evidence that the State has the necessary legal authority under State law to adopt and
                 implement the plan.”

This SIP submittal documents the MPCA’s legal authority in addressing the requirements of Section 110(a)(1) of the
Clean Air Act.

4) Compliance with State Procedures:

                “Evidence that the state followed all of the procedural requirements of the State’s laws
                and constitution in conducting and completing the adoption/issuance of the plan.”

MPCA complied with all relevant state procedures for issuing the permit as well as the SIP revision.

5) Public Notice:

                “Evidence that public notice was given of the proposed change consistent with the
                procedures approved by the EPA, including the date of the publication of the notice.”

The public notice for the SIP revision was published in the State Register on July 9, 2018 with the public comment period
commencing on July 9, 2018 and ending on August 10, 2018. During the public comment period, a copy of the SIP
revision was made available at the MPCA office located in St. Paul and on the MPCA’s website. A copy of the public
notice is attached (Attachment 3).

6) Public Hearing Certification:

                “Certification that public hearing(s) were held in accordance with the information
                provided in the public notice and the State’s laws and constitution, if applicable.”

The public notice states: “As this SIP revision does not include any substantive changes to the Minnesota’s SIP, a public
information meeting will only be held if one is requested by 4:30 p.m. on August 10, 2018. If such a meeting is
requested, it will be held on August 16, 2018 from 9:00 a.m. to 11:00 a.m. at the MPCA St. Paul Office, 520 Lafayette

                                                                                                                            2
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Road North, St. Paul, Minnesota 55155-4194. To find out if a public information meeting will be held, please contact
Christine Steinwand at 651-757-2327 or Christine.Steinwand@state.mn.us after August 10, 2018 at 4:30 p.m. The public
information meeting, if one is requested, will provide information, receive public input, and answer questions about the
proposed SIP revision. If the public information meeting is held, additional written comments on the proposed
documents will be accepted until 4:30pm on August 24, 2018, following the same guidelines described above.”

[This section will be completed after the comment period ends to reflect whether or not a public hearing was requested
and/or held.]

7) Public Comments and State Response:

                “Compilation of the public comments and State’s response thereto.”

[This section will be completed after the comment period ends to reflect what, if any, comments were received.]


B. Technical Support

1) Pollutants Regulated:

                “Identification of all regulated pollutants affect by the plan.”

This infrastructure SIP submission addresses the 2015 ozone NAAQS.

2) Source Identification:

                “Identification of the locations of affected sources including the EPA
                attainment/nonattainment designation of the locations and the state of the Attainment
                Plan for the affected area(s).”

Does not apply to this SIP submittal.

3) Emissions Quantification:

                “Quantification of the changes in the plan; allowable emissions from the affected
                sources; estimates of changes in current actual emissions from affected sources or,
                where appropriate, quantification of the changes in actual emissions through
                calculations of the differences between certain baseline levels and allowable emissions
                anticipated as a result of the revision.”

Does not apply to this SIP submittal.

4) NAAQS Protections:

                “The State’s demonstration that the NAAQS, prevention of significant deterioration
                increments, reasonable further progress demonstration, and visibility, as applicable, are
                protected if the plan is approved and implemented.”


                                                                                                                       3
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The purpose of this SIP submittal is to demonstrate Minnesota’s ability to implement, maintain, and enforce the revised
NAAQS.

5) Modeling Information:

                “Modeling information required to support the proposed revision, including input data,
                output data, models used, justification of the model selections, ambient monitoring
                data used, meteorological data used, justification for use of off-site data (where used),
                modes of models used, assumptions, and other information relevant to the
                determination of adequacy of the modeling analysis.”

Does not apply to this SIP submittal.

6) Continuous Emission Reduction:

                “Evidence, where necessary, that emission limitations are based on continuous emission
                reduction technology.”

Does not apply to this SIP submittal.

7) Emission Level Assurance:

                “Evidence that the plan contains emission limitations, work practice standards and
                recordkeeping/requirements, where necessary, to ensure emissions levels.”

The purpose of this SIP submittal is to demonstrate Minnesota’s ability to implement, maintain, and enforce the revised
NAAQS.

8) Compliance/Enforcement:

                “Compliance and enforcement strategies, including how compliance will be determined
                in practice.”

The purpose of this SIP submittal is to demonstrate Minnesota’s ability to implement, maintain, and enforce the revised
NAAQS.

9) Special Economic and Technological Justifications:

                “Special economic and technological justifications required by any applicable EPA
                policies, or an explanation of why such justifications are not necessary.”

Does not apply to this SIP submittal.




                                                                                                                      4
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                                 Attachment C

                           (Alpine Geophysics Report)
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    TECHNICAL REVIEW OF THE ENVIRONMENTAL
   PROTECTION AGENCY’S AIR QUALITY MODELING
       AND ENGINEERING ANALYTICS BUDGET
     ALLOCATION DATA FILES SUPPORTING THE
  FEDERAL “GOOD NEIGHBOR PLAN” FOR THE 2015
      OZONE NATIONAL AMBIENT AIR QUALITY
                  STANDARDS



                                       Prepared by:
                                  Alpine Geophysics, LLC
                                       August 2023


                                           Certified by:




                                 Gregory Stella, Managing Partner
                                     Alpine Geophysics, LLC
                                   gms@alpinegeophysics.com

  Alpine Geophysics, LLC -- 387 Pollard Mine Road -- Burnsville, NC 28714 -- (828) 675-9045
                                                                                1096969769\2\AMERICAS
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  A.        Objective

  The objective of this document is for Alpine Geophysics, LLC (“Alpine”) to report our
  determination whether there are discrepancies in EPA’s air quality modeling, significant
  contribution calculations, or allocation of allowances to emission units in upwind states linked
  to the Alsip Village Garage monitor (170310001) in Cook County, Illinois, the lone monitor that
  links Minnesota to Good Neighbor Rule obligations, and whether EPA’s methods have more
  widespread errors that indicate a problem with these elements as applied to Minnesota.

  For Minnesota, we would expect the photochemical grid modeled (PGM) emissions to be
  reasonably close to historic CEMS emissions because EPA is not modeling significant emission
  reductions. If the PGM emission input values are significantly higher, EPA may be
  mischaracterizing an attaining monitor as "maintenance only." We would also expect that the
  budgeted emissions for the trading program would be reasonably close to historic facility-level
  emission monitoring data and the PGM emission input values. To the extent these values are
  not reasonably close, it is an indication that EPA's use of different datasets is not neutral as
  applied to Minnesota.

  As part of this analysis, Alpine compared electric generating units (EGUs) from Indiana,
  Michigan, Minnesota, Texas, and Wisconsin used in EPA’s air quality modeling and to those in
  EPA’s budget allocation determinations. Alpine notes that four separate data files are used in
  various areas of the analyses supporting the FIP and in this document we directly compare two
  of these files. Alpine has identified when sources are in one of the data files and not the other
  or when major discrepancies exist between the two.

  B.        Background

  In developing the air quality improvements associated with proposed EGU and non-EGU
  controls of the final ozone transport FIP rule, EPA used multiple, sometimes inconsistent, data
  because it was convenient and readily available.

  EPA started by calculating an ozone change factor between two 2026 future year simulations
  from the proposed ozone transport FIP rule (version 2 platform 1 – first data set). These two
  simulations differ in the fact that NOx emissions are reduced by 30% for both EGU and non-EGU
  sources in all states in the second non-base case simulation. The change in ozone concentration

  1
      EPA-HQ-OAR-2021-0668-0064

                                                                                                      1
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  at each downwind receptor divided by the change in upwind NOx emissions from the EGU and
  non-EGU point sources determined the ratio, or calibration, used by EPA2. From a Minnesota
  specific perspective, not only is Minnesota not linked to any monitor in EPA’s 2026 base case
  calculations and by which the calibration factors are estimated, Minnesota is also not required
  to control emissions from any non-EGU sources in 2026. In addition, this 2026v2 platform also
  improperly characterizes emissions from Minnesota EGU sources that are fully expected to
  operate in 2026. EPA’s emission EGU projection with the Integrated Planning Model (IPM)
  chose to zero out emissions from these units thereby removing their potential reduction impact
  from the calibration calculation. As a result, it is probable that the reactivity included in the
  calibration factor is compromised because all expected emissions from the state are not
  adequately characterized in the factor.

  To apply these calibration factors to determine the impact of emission reductions on base case
  ozone concentrations, EPA utilized a second set of data from the final rule (version 3 modeling
  platform)3. Note that this updated platform, in addition to including alternate anthropogenic
  emissions from many states and categories, also utilized alternate boundary condition
  emissions (e.g., international transport), updated biogenic emissions estimates, and included
  NOx emissions from lightning strikes; all elements that EPA attempts to neutralize the
  differences by using more calibration factor adjustments. The 2023 base case projection from
  this version 3 was used to identify future year nonattainment or maintenance monitors,
  significant contribution values from each upwind state to downwind receptors, and to select
  the top modeled days that are used in the change in concentration/change in emissions
  calibration calculations. As noted above, while the 2026v2 calibration calculation did not
  contain properly characterized emissions from various Minnesota EGU sources, the 2023v3,
  and associated design values, significant contribution metrics, and top modeled days do contain
  these sources.

  To develop the estimated emission reductions associated with the various control options
  proposed by EPA, the agency used yet a third set of EGU data4, historical CEM-reported heat
  input (a.k.a., Engineering Analytics or EA), emission rates, and calculated emissions from 2017-
  2021. This third set of emissions differs again from both the first and second sets in the fact that
  IPM was not used to forecast emissions beyond current years. From this third set, and another
  2023 forecast, the impact of emission rates was calculated and emission differences between a
  base simulation and controlled simulation was calculated. Again, it is important to note that
  units presumed to be in operation in this third set of projections were estimated with alternate

  2
    EPA-HQ-OAR-2021-0668-1080
  3
    EPA-HQ-OAR-2021-0668-1000
  4
    Appx. A, EPA-HQ-OAR-2021-0668-1080


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  emission projections to either the v2 or v3 projections from IPM, used in the calibration
  calculation and the final rule attainment designation process. The emissions budgets assigned
  to sources with this EA data calculation were then used to estimate the air quality impact of the
  final rule.

  When EPA eventually puts the pieces together, these seemingly incongruous factors are applied
  to each other. The emissions delta from the third set of data is scaled to a change in ozone/ton
  of NOx reduced using the calibration factor from the first set of data and then applied to the
  ozone concentrations and emissions included in the second set of data. The resulting
  concentration values, while seemingly directionally consistent with the anticipated change in
  emissions, are unverified using an independent photochemical model run (EPA’s preferred
  method5) and instead are corroborated by EPA utilizing yet another calibration simulation6.

  Finally, a fourth set of data7 was used to estimate the costs associated with the optimization of
  SCR and SNCR control on units which already have these post-combustion controls installed.
  Using parameters from an October 2021 version of IPM’s NEEDS input file (held constant from
  the proposed rule), unit specific characteristics were used to evaluate costs from this
  optimization step. Of note, costs for units optimized in Minnesota are estimated to have cost
  per ton values higher than the final FIP range of accepted values.

  C.      Specific Comparison in this Document

  The EPA projected 2023 and 2026 baseline EGU emissions using version 6—Updated Summer
  2021 Reference Case of the Integrated Planning Model (IPM)8. IPM is described by EPA as a
  state-of-the-art, peer-reviewed, multi-regional, dynamic, deterministic linear programming
  model of the contiguous U.S. electric power sector. It provides forecasts of least cost capacity
  expansion, electricity dispatch, and emissions control strategies while meeting energy demand
  and environmental, transmission, dispatch, and reliability constraints.

  Additionally, 2023 through 2026 EGU emissions baseline levels were developed through
  engineering analytics as an alternative approach that did not involve IPM. The EPA developed
  this inventory for use in determining emission reduction potential and corresponding state-
  level emissions budgets.




  5
    https://www.epa.gov/system/files/documents/2022-03/aq-modeling-tsd_proposed-fip.pdf
  6
    EPA-HQ-OAR-2021-0668-1080
  7
    EPA-HQ-OAR-2021-0668-0996
  8
    https://www.epa.gov/power-sector-modeling

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  EPA has articulated9 a ‘‘4-step framework’’ within which to assess interstate transport
  obligations for ozone. In the FIP rule to address interstate transport obligations for the 2015
  ozone NAAQS, the EPA is again utilizing the 4-step interstate transport framework. These steps
  are:

       (1) identifying downwind receptors that are expected to have problems attaining the
           NAAQS (nonattainment receptors) or maintaining the NAAQS (maintenance receptors);
       (2) determining which upwind states are ‘‘linked’’ to these identified downwind receptors
           based on a numerical contribution threshold;
       (3) for states linked to downwind air quality problems, identifying upwind emissions on a
           statewide basis that significantly contribute to downwind nonattainment or interfere
           with downwind maintenance of the NAAQS, considering cost- and air quality-based
           factors; and
       (4) for upwind states that are found to have emissions that significantly contribute to
           nonattainment or interfere with maintenance of the NAAQS in any downwind state,
           implementing the necessary emissions reductions through enforceable measures.

  By using IPM at Step 1 and 2, EPA indicates it is selecting the more conservative approach for
  identifying the degree of nonattainment and geography of states contributing above 1 percent.
  By using Engineering Analytics at Step 3, EPA indicates that it is selecting the more conservative
  value to codify into state-level budgets.10

  EPA explains in the final rule preamble why these techniques are considered appropriate for
  the purposes at each step of the analysis, and why they are not incompatible, nor do they
  produce results so different as to call into question their reliability or the bases for EPA’s
  regulatory determinations. EPA states that the nationwide projected ozone season total NOx
  emissions vary by less than 1 percent in the 2023 analytic year, however, EPA is silent as to a
  comparison of important sub-regional and unit emission rates, including differences detailed in
  this document that demonstrate variance of significantly greater than 1 percent for the
  emission rates relevant to Minnesota.

  D.      Review of Data Used by U.S. EPA
       1. EPA’s 2016v3 Modeling Platform Inventories




  9
    See CSAPR, Final Rule, 76 FR 48208, 48248– 48249 (August 8, 2011); CSAPR Update, Final Rule, 81 FR 74504,
  74517–74521 (October 26, 2016).
  10
     88 FR 36700

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  The EPA used version 3 of the 2016-based air quality modeling platform11 (i.e., 2016v3) to
  provide the foundational model-input data sets for 2016, 2023, and 2026.

  The 2023 and 2026 electric generating unit (EGU) emissions inventories from the FIP modeling
  platform used the outputs of the EPA’s Updated Summer 2021 Reference Case of the
  Integrated Planning Model (IPM). 12 The projections are calculated using the ratio of the
  analytic year seasonal generation in the IPM parsed file and the base year seasonal generation
  at each unit for each fuel type in the unit as derived from the 2018 EIA-923 tables and the 2018
  NEI. New controls identified at a unit in the IPM parsed file are accounted for with appropriate
  emissions reductions as estimated by the model using cost-minimization functions. Both
  environmental and economic compliance rules placed on these units are based on future year
  scenarios configured by EPA.

  IPM generates EGU emissions using data from continuous emissions monitoring systems
  (CEMS) and other monitoring systems allowed for use by qualifying units under 40 CFR part 75,
  with other EGU pollutants estimated using emissions factors and annual heat input data
  reported to the EPA. For EGUs not reporting under Part 75, the EPA used data submitted to the
  NEI by the state, local, and tribal agencies.

  Throughout all of the CSAPR rules to date, and prior interstate transport actions, the EPA has
  used IPM at Steps 1 and 2 as they state it is best suited for projecting emissions in an airshed,
  projecting emissions for time horizons more than a few years out (for which changes would not
  yet be announced and thus projecting changes is critical), and for scenarios where the assumed
  change in emissions is not being codified into a state emissions reduction requirement.

  The agency notes that using IPM at Steps 1 and 2 helps the EPA avoid overstating the current
  analytic year receptor values (Step 1) and future year linkages (Step 2) by reflecting reductions
  anticipated to occur within the airshed in the relevant timeframe.

       2. EPA’s Engineering Analytics Inventory


  Additional 2023 through 2026 EGU emissions baseline levels were developed by EPA through
  Engineering Analytics (EA) as an alternative approach that did not involve IPM13. The EPA
  developed this inventory for use in Step 3 of this final rule, where it determined emissions
  reduction potential and corresponding state-level emissions budgets.



  11
     EPA-HQ-OAR-2021-0668-1000
  12
     88 FR 36699
  13
     Id

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  EPA adopted a similar approach to the CSAPR Update14 and the Revised CSAPR Update15 where
  it utilized historical data and an engineering analytics approach in Step 3. EPA justified this
  approach stating it was to avoid overstating optimization and dispatch decisions in state-
  emissions budget quantification that may not be possible in a short time frame. The EPA did
  this by starting with unit-level reported data and only making adjustments to reflect known
  baseline changes such as planned retirements and new builds (for the base case scenarios) and
  also identified mitigation strategies for determining state emissions budgets.

  According to EPA, engineering analytics has been a useful tool for Step 3 state-level emissions
  reduction estimates in CSAPR rulemaking, because at that step the EPA is dealing with more
  geographic granularity (state-level as opposed to regional air shed), more near-term (as
  opposed to medium-term) assessments, and scenarios where reduction estimates are codified
  into regulatory requirements. EPA states that using the Engineering Analytics tool at this step
  ensures that the EPA is not codifying into the base case, and consequently into state emissions
  budgets, changes in the power sector that are merely modeled to occur rather than announced
  by real world actors.

  Under the final rule, the determination of whether a unit is eligible to receive allocations as an
  “existing” unit or as a “new” unit varies across control periods. For the control periods in 2023
  through 2025, a unit in a covered state meeting the CSAPR applicability criteria is treated as
  eligible to receive an allocation as an existing unit if the unit’s emissions were considered in the
  process for determining the state’s emissions budget for the respective control period in the
  final rule. Thus, if the unit was subject to requirements to report emissions and heat input
  under 40 CFR part 75 for the entire ozone season from May 1, 2021, through September 30,
  2021, and reported any heat input greater than zero during that period, the unit is generally
  treated as eligible to receive an allocation as an existing unit for the control periods in 2023
  through 2025.

  For the existing units identified through the process detailed above, allocations for each control
  period are calculated using heat input and NOx emissions reported under either the CSAPR
  trading programs or the Acid Rain Program for a 5-year historical baseline period. To calculate
  allocations for the control periods in 2023 through 2025 in the final rule, EPA is using data
  reported for the control periods from 2017 through 2021. In each control period, the quantity
  of allowances allocated to existing units in a state using this methodology will be the portion of
  the state’s emissions budget remaining after subtraction of the new unit set-aside for the
  control period.



  14
       76 FR 48208
  15
       81 FR 74504

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  E.     Comparison and Issues

  We compared EPA’s IPM-generated EGU ozone season NOx emission projections with matched
  EGU units from the Engineering Analytics projections for CEM sources in Indiana, Michigan,
  Minnesota, Texas, and Wisconsin to determine if inconsistencies existed in how EPA developed
  emission projections for purposes of its Step 1, 2 and 3 of the transport frameworks.

  EPA’s IPM-generated emission estimates were obtained from the 2023 ozone season modeling
  platform files associated with the FIP air quality modeling analyses16,17.

  EA-generated emission estimates and budget allocation values were obtained from EPA-
  published spreadsheets found in the FIP docket18.

  What we found was that for many units, historical heat input/CEM-based emissions between
  2017 and 2021 are significantly lower than those projected by EPA in 2023 (now a near term
  projection) and that were used to develop design value and significant contribution metrics.

  Within each reviewed upwind state potentially affecting the Alsip/Village Garage Monitor, we
  investigated the top modeled units and the top emission allocated units for discrepancies
  between the two data platforms. Results for each are provided in the tables and graphs below.

  Indiana

  IPM projected emissions from the top 2023 base case unit (Clifty Creek Unit 6) in Indiana is
  almost 5.5 times higher than the maximum year monitored emissions reported between 2017-
  2021. Table 1 presents this information for this unit as well as similar information for the other
  highest IPM generated emission units in the state. The top 3 units with IPM-generated
  emissions are collectively almost 55% higher than the maximum average NOx emissions rate
  reported from 2017-2021.

  The next three highest units presented in Table 1 are collectively 55% lower than the maximum
  CEM NOx emissions rate reported for the 2017-2021 period.

  Figure 1 through Figure 7 present this information for multiple units listed in Table 1. Blue dots
  represent the historical ozone season NOx emissions from CEM-reported data (orange dot
  represents 2016 CEM also modeled by EPA), orange triangles represent the 2023 and 2026 IPM



  16
     EPA-HQ-OAR-2021-0668-1000
  17
     https://gaftp.epa.gov/Air/emismod/2016/v3/info_2016_v3_platform_package_with_2026gf_22may2023.txt
  18
     EPA-HQ-OAR-2021-0668-0132

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  base case projected emissions, and grey diamonds represent the FIP published allowance
  allocations.




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                                                                          Ozone Season NOx Emissions (Tons)
                                            CEM-Based
                                                                                                                        % of Modeled        % of Modeled
                                                                                                                       Emissions (Step     Emissions (Step
                                                                                                               IPM-   1/2) Compared to    1/2) Compared to
                                                                                 Max    EPA Allowance     Generated   Budget Emissions      Max Historical
 Facility: Unit             2016    2017    2018    2019    2020   2021   (2017-2021)   Allocation 2023        2023        (Step 3)              CEM
 Clifty Creek:6              989      72     183     180     132     81           183                49         988         2016%               538%
 Gibson:1                    907     582     828     847     251    456           847               513         960          187%               113%
 Gibson:4                    748     674     625     320     795    331           795               527         866          164%               109%
 Rockport:MB2              3,444   3,421   1,954   1,323     825    526         3,421               880         833          95%                 24%
 Gibson:3                  1,399     534     955     282   1,079    323         1,079               501         827          165%                77%
 Gibson:5                  1,056   1,097     699     605     604    284         1,097               446         818          183%                75%
 R M Schahfer Generating
                            527     969     726     578     540    762            969              330         722         219%                     75%
 Station:18
 Gibson:2                  1,031    349     463     326     873    355            873              456         689         151%                     79%
 F B Culley Generating
                            256      98     157      98      50    152            157               57         656         1151%                419%
 Station:2
 Alcoa Allowance
                           1,452    328    1,162   1,119   1,514   645          1,514              320         648         202%                     43%
 Management Inc:4



Table 1. Historical CEM-based ozone season NOx emissions, EPA’s EA-based allowance allocation, EPA’s IPM generated 2023
emissions, and percentage comparison for top 2023 modeled Indiana units.




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  Figure 1. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Clifty Creek Unit 6.




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  Figure 2. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Gibson Unit 1.




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  Figure 3. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Gibson Unit 4.




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  Figure 4. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Gibson Unit 3.




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  Figure 5. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Gibson Unit 5.




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  Figure 6. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the R M Schahfer Generating Station Unit 18.




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  Figure 7. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the F B Culley Generating Station Unit 2.




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  Michigan

  IPM projected emissions from the top 2023 base case units in Michigan are collectively 3.1
  times higher than the maximum year monitored emissions reported between 2017-2021 for
  these same units. Table 2 presents this information for these units in the state. The top 3 units
  with IPM-generated emissions are collectively 3.6 times higher than the maximum average NOx
  emissions rate reported from 2017-2021 for these same sources and of these three, the top
  two were given no budget allocation in 2023 using the EA method as these units are identified
  as retired in 2023.

  Figure 8 through Figure 14 present this information for multiple units listed in Table 2. Blue dots
  represent the historical ozone season NOx emissions from CEM-reported data (orange dot
  represents 2016 CEM also modeled by EPA), orange triangles represent the 2023 and 2026 IPM
  base case projected emissions, and grey diamonds represent the FIP published allowance
  allocations.




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                                                                   Ozone Season NOx Emissions (Tons)
                                       CEM-Based
                                                                                                                 % of Modeled        % of Modeled
                                                                                                                Emissions (Step     Emissions (Step
                                                                                                        IPM-   1/2) Compared to    1/2) Compared to
                                                                          Max    EPA Allowance     Generated   Budget Emissions      Max Historical
 Facility: Unit          2016   2017   2018   2019   2020   2021   (2017-2021)   Allocation 2023        2023        (Step 3)              CEM
 St. Clair:7              518     66    776    580    407    731           776                 0        1954         #N/A                252%
 St. Clair:6              275    379    438    449    377    279           449                 0        1875         #N/A                417%
 Zeeland Generating
                           27    24     25     28     23     30             30               30         725         2416%                2425%
 Station:CC4
 Midland Cogeneration
                            0     3      0      0      1      4              4                4         236         5910%                6461%
 Venture:018
 Belle River:CTG131         9     8     14     16     10      5             16               16          55         342%                 332%
 Midland Cogeneration
                            0   131    150    132    137    148            150              150          49          33%                     33%
 Venture:012
 Midland Cogeneration
                            0    97    162    173    123     89            173              151          49          33%                     29%
 Venture:010


Table 2. Historical CEM-based ozone season NOx emissions, EPA’s EA-based allowance allocation, EPA’s IPM generated 2023
emissions, and percentage comparison for top 2023 modeled Michigan units.




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  Figure 8. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at St. Clair Unit 7.




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  Figure 9. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at St. Clair Unit 6.




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  Figure 10. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Zeeland Generating Station Unit CC4.




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  Figure 11. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Midland Cogeneration Venture Unit 018.




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  Figure 12. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Belle River Unit CTG131.




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  Figure 13. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Midland Cogeneration Venture Unit 012.




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  Figure 14. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Midland Cogeneration Venture Unit 010.




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  Minnesota

  IPM projected emissions from the top seven units in Minnesota, that make up 99% of the ozone
  season NOx emissions in the portion of the 2023 projection comprised from CEM-reporting
  sources and ultimately assigned allocations in Step 3, are in aggregate 20% higher than the
  maximum year monitored emissions reported between 2017-2021. Table 3 presents this
  information for these seven units.

  As the most extreme example, EPA’s IPM-modeled ozone season NOx emissions in the 2023
  base case were 3.6 times greater in magnitude at the Hibbard Energy Center, unit 4, than the
  maximum historical ozone season emissions from the 2017 – 2021 period.

  Figure 15 through Figure 21 present this information for each of the units listed in Table 3. Blue
  dots represent the historical ozone season NOx emissions from CEM-reported data (orange dot
  represents 2016 CEM also modeled by EPA), orange triangles represent the 2023 and 2026 IPM
  base case projected emissions, and grey diamonds represent the FIP published allowance
  allocations.

  Except for Boswell Unit 4 (Figure 3), all represented units have IPM-modeled 2023 ozone
  season NOx emissions exceeding the maximum historical CEM-based NOx emissions from 2017-
  2021 (i.e., orange triangles are higher than blue circles).




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                                                                                         Ozone Season NOx Emissions (Tons)
                                                                                                                           % of Modeled         % of Modeled
                                                                                                                          Emissions (Step      Emissions (Step
                                                                                                                         1/2) Compared to     1/2) Compared to
                                           CEM-Based                                     EPA Allowance           IPM-    Budget Emissions      Max Historical
                                                                                  Max        Allocation     Generated         (Step 3)               CEM
 Facility: Unit             2016    2017    2018     2019   2020    2021   (2017-2021)             2023          2023
 Allen S King:1              574     606     527      439    357     389           606              554           739         133%                     122%
 Boswell Energy Center:3     309     298     292      119    196     314           314              314           336         107%                     107%
 Boswell Energy Center:4   1,123   1,030   1,029      819    567     635         1,030              920           990         108%                      96%
 Hibbard Energy Center:3      93     123     108       86     51      68           123               33           307         929%                     249%
 Hibbard Energy Center:4      94      56      69       87     77      72            87               25           315         1259%                    361%
 Sherburne County:1        1,341   1,267     874    1,098    892     888         1,267              815         1,482         182%                     117%
 Sherburne County:3        1,477     986   1,420    1,148    894   1,013         1,420              991         1,656         167%                     117%
 Total                                                                           4,847            3,652         5,825         160%                     120%



Table 3. Historical CEM-based ozone season NOx emissions, EPA’s EA-based allowance allocation, EPA’s IPM generated 2023
emissions, and percentage comparison for select Minnesota units.




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  Figure 15. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Allen S King unit 1.




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  Figure 16. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Boswell Energy Center unit 3.




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  Figure 17. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Boswell Energy Center unit 3.




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  Figure 18. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Hibbard Energy Center unit 3.




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  Figure 19. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Hibbard Energy Center unit 4.




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  Figure 20. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Sherburne County unit 1.




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  Figure 21. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at the Sherburne County unit 3.




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  Texas

  IPM projected emissions from the top 2023 base case units in Texas are collectively 37% higher
  than the maximum year monitored emissions reported between 2017-2021 for these same
  units. Table 4 presents this information for these units in the state.

  Figure 22 through Figure 28 present this information for multiple units listed in Table 4. Blue
  dots represent the historical ozone season NOx emissions from CEM-reported data (orange dot
  represents 2016 CEM also modeled by EPA), orange triangles represent the 2023 and 2026 IPM
  base case projected emissions, and grey diamonds represent the FIP published allowance
  allocations.




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                                                                           Ozone Season NOx Emissions (Tons)
                                            CEM-Based
                                                                                                                         % of Modeled        % of Modeled
                                                                                                                        Emissions (Step     Emissions (Step
                                                                                                                IPM-   1/2) Compared to    1/2) Compared to
                                                                                  Max    EPA Allowance     Generated   Budget Emissions      Max Historical
 Facility: Unit             2016    2017    2018    2019    2020    2021   (2017-2021)   Allocation 2023        2023        (Step 3)              CEM
 Limestone:LIM2            2,369   2,373   2,015   1,795   1,384   1,480         2,373             1,195       2,278         191%                 96%
 Martin Lake:2             1,523   1,631   1,390   1,394   1,460   1,264         1,631             1,011       2,153         213%                132%
 Martin Lake:1             1,783   1,714   1,699   1,170   1,583   1,628         1,714             1,154       2,148         186%                125%
 Limestone:LIM1            1,854   1,850   1,709   1,697   1,200     627         1,850             1,107       2,071         187%                112%
 Martin Lake:3             1,433   1,377   1,709   1,339   1,326   1,585         1,709             1,133       2,005         177%                117%
 Tolk Station:171B           917     840     647     494     530     662           840               496       1,396         281%                166%
 Coleto Creek:1            1,174   1,299   1,263   1,049   1,049   1,438         1,438               976       1,383         142%                 96%
 Tolk Station:172B         1,056     943     611     706     584   1,008         1,008               568       1,361         240%                135%
 V H Braunig:CGT6              1       1       1       1       1       1             1                 1       1,236       123594%              91213%
 Winchester Power Park:3       0       0       0       0       0       0             0                 0       1,074          #NA              219593%
 Oak Grove:2                 998   1,068   1,080   1,059   1,008   1,099         1,099             1,099       1,045          95%                 95%
 Oak Grove:1                 994   1,125   1,100   1,111   1,081   1,113         1,125             1,125       1,036          92%                 92%
 Winchester Power Park:2       0       1       0       0       0       0             1                 1       1,022       102179%             164539%


Table 4. Historical CEM-based ozone season NOx emissions, EPA’s EA-based allowance allocation, EPA’s IPM generated 2023
emissions, and percentage comparison for top 2023 modeled Texas units.




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  Figure 22. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Limestone Unit 2.




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  Figure 23. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Martin Lake Unit 2.




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  Figure 24. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Martin Lake Unit 1.




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  Figure 25. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Limestone Unit LIM1.




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  Figure 26. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Martin Lake Unit 3.




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  Figure 27. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Tolk Station Unit 171B.




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  Figure 28. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Coleto Creek Unit 1.




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  Wisconsin

  IPM projected emissions from the top 2023 base case units in Wisconsin are collectively 4%
  times lower than the maximum year monitored emissions reported between 2017-2021 for
  these same units. Table 5 presents this information for these units in the state.

  Figure 29 through Figure 35 present this information for multiple units listed in Table 5.
  Historical CEM-based ozone season NOx emissions, EPA’s EA-based allowance allocation, EPA’s
  IPM generated 2023 emissions, and percentage comparison for top 2023 modeled Wisconsin
  units.. Blue dots represent the historical ozone season NOx emissions from CEM-reported data
  (orange dot represents 2016 CEM also modeled by EPA), orange triangles represent the 2023
  and 2026 IPM base case projected emissions, and grey diamonds represent the FIP published
  allowance allocations.




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                                                                   Ozone Season NOx Emissions (Tons)
                                       CEM-Based
                                                                                                                 % of Modeled        % of Modeled
                                                                                                                Emissions (Step     Emissions (Step
                                                                                                        IPM-   1/2) Compared to    1/2) Compared to
                                                                          Max    EPA Allowance     Generated   Budget Emissions      Max Historical
 Facility: Unit          2016   2017   2018   2019   2020   2021   (2017-2021)   Allocation 2023        2023        (Step 3)              CEM
 Columbia:1              1057   1103   1076    953    908   1025         1,103               642        1107         172%                100%
 Elm Road Generating
                          530   470    611    492    543    675            675              675         605          90%                     90%
 Station:2
 Valley (WEPCO):1          19     24    16     26     30     17             30               30         590         1965%                1956%
 Columbia:2               966   1092   235    335    258    549          1,092              632         487          77%                  45%
 J P Madgett:B1           422    281   341    290    283    334            341              321         424          132%                 124%
 Bay Front:1               66     78    67     74     58     65             78               25         179          714%                 229%
 Manitowoc:8               11      4     4      1      3      6              6                4          80         2003%                1350%
 Weston:4                 333    367   310    370    401    356            401              401          73          18%                  18%
 Marshfield Utilities
                            1     0      0      0      0      2              2                1          54         5395%                3256%
 Combustion Turbine:1A


Table 5. Historical CEM-based ozone season NOx emissions, EPA’s EA-based allowance allocation, EPA’s IPM generated 2023
emissions, and percentage comparison for top 2023 modeled Wisconsin units.




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  Figure 29. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Columbia Unit 1.




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  Figure 30. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Elm Road Generating Station Unit 2.




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  Figure 31. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Valley (WEPCO) Unit 1.




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  Figure 32. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Columbia Unit 2.




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  Figure 33. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at J P Madgett Unit B1.




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  Figure 34. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Bay Front Unit 1.




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  Figure 35. Historical and projected ozone season NOx emissions from CEM, IPM, and
  engineering analytics calculations at Manitowoc Unit 8.




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  F.     Observations

  EPA failed to appropriately estimate 2023 base case emissions for multiple upwind EGU sources
  using IPM thereby compromising downwind concentrations and significant contribution
  calculations associated with these states. The agency should have used consistent data in each
  step of the process to ensure that calculations conducted were relevant to each other and
  provided certainty in direction and value. If EPA had properly characterized emissions at these
  facilities using historical operation trends (as it did in the Step 3 process), the Alsip monitor in
  Cook County, Illinois, with which Minnesota is linked, may have modeled in attainment of the
  2015 ozone NAAQS, removing Minnesota from the FIP in Step 2 of the transport framework.

  It is understood that allocations for these units (Step 3) may be lower because of EPA’s
  estimated optimization of post-combustion controls on some of these sources and new source
  set aside reduction, yet there is no valid reason for the IPM-generated base case projection of
  many of these sources to have such significantly higher values for purposes of Step 1 and Step 2
  in the transport framework. In our opinion, conservative estimates or not, individual unit-level
  emission over-estimation and a collective over-estimation of emissions for key units subject to
  control, potentially only because of this over-estimation, is technically negligent.

  Except for presented units in Wisconsin, represented states have the majority of IPM-modeled
  2023 ozone season NOx emissions exceeding the maximum historical CEM-based NOx
  emissions from 2017-2021. As these modeled values were the ozone season NOx emissions
  used for these sources to represent upwind state contribution to downwind design values and
  significant contribution calculations, it is safe to deduce that the higher the modeled emission
  values, the higher the downwind concentrations at receptors like the Alsip monitor in Cook
  County, Illinois (170310001) and significant contribution calculations from upwind states to that
  monitor.

  Furthermore, if the projected near-term unit-level emissions from IPM were more in line with
  recent historical CEM-based observations, particularly if the pattern observed at these sources
  hold for other sources, the projected maximum design value at the Alsip monitor may have
  been modeled as attainment, breaking the link between Minnesota and the receptor.




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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                     Exhibit H

      Federal ‘‘Good Neighbor Plan’’ for the 2015 Ozone National Ambient Air
       Quality Standards; Response to Judicial Stays of SIP Disapproval Action
                for Certain States, 88 Fed. Reg. 49,295 (July 31, 2023)
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                                                                     Federal Register / Vol. 88, No. 145 / Monday, July 31, 2023 / Rules and Regulations                                                                   49295

                                                   Dated: July 19, 2023.                                  on this rule must be received on or                   contents located outside of the primary
                                                 Shira Perlmutter,                                        before August 30, 2023.                               submission (i.e., on the web, cloud, or
                                                 Register of Copyrights and Director of the               ADDRESSES: You may send comments,                     other file sharing system). Please visit
                                                 U.S. Copyright Office.                                   identified by Docket ID No. EPA–HQ–                   https://www.epa.gov/dockets/
                                                   Approved by:                                           OAR–2021–0668, by any of the                          commenting-epa-dockets for additional
                                                 Carla D. Hayden,                                         following methods:                                    submission methods; the full EPA
                                                                                                             • Federal eRulemaking portal:                      public comment policy; information
                                                 Librarian of Congress.
                                                                                                          https://www.regulations.gov (our                      about CBI, PBI, or multimedia
                                                 [FR Doc. 2023–15941 Filed 7–28–23; 8:45 am]
                                                                                                          preferred method). Follow the online                  submissions; and general guidance on
                                                 BILLING CODE 1410–30–P                                   instructions for submitting comments.                 making effective comments.
                                                                                                             • Mail: U.S. Environmental
                                                                                                          Protection Agency, EPA Docket Center,                 B. Potentially Affected Entities
                                                 ENVIRONMENTAL PROTECTION                                 Air and Radiation Docket, Mail Code                      This action revises on an interim basis
                                                 AGENCY                                                   28221T, 1200 Pennsylvania Avenue                      the Good Neighbor Plan, which applies
                                                                                                          NW, Washington, DC 20460.                             to electricity generating units (EGUs)
                                                 40 CFR Parts 52 and 97                                      • Hand delivery or courier: EPA                    and non-EGU industrial sources. This
                                                 [EPA–HQ–OAR–2021–0668; FRL–8670.2–                       Docket Center, WJC West Building,                     action also revises other allowance
                                                 03–OAR]                                                  Room 3334, 1301 Constitution Avenue                   trading program regulations that apply
                                                                                                          NW, Washington, DC 20004. The Docket                  to EGUs but not to non-EGU industrial
                                                 Federal ‘‘Good Neighbor Plan’’ for the                   Center’s hours of operations are 8:30                 sources. The affected emissions sources
                                                 2015 Ozone National Ambient Air                          a.m.–4:30 p.m., Monday–Friday (except                 are generally in the following industry
                                                 Quality Standards; Response to                           federal holidays).                                    groups:
                                                 Judicial Stays of SIP Disapproval                           Comments received may be posted
                                                 Action for Certain States                                without change to https://                                                                                North American
                                                                                                                                                                                                                        Industry
                                                                                                          www.regulations.gov, including any                                 Industry group                          Classification
                                                 AGENCY: Environmental Protection
                                                                                                          personal information provided. For                                                                        System (NAICS)
                                                 Agency (EPA).                                            detailed instructions on sending                                                                                code
                                                 ACTION: Interim final rule; request for                  comments, see the ‘‘Public                            Fossil Fuel Electric Power Gen-
                                                 comment.                                                 Participation’’ heading of the                           eration ....................................              221112
                                                                                                          SUPPLEMENTARY INFORMATION section of                  Pipeline Transportation of Nat-
                                                 SUMMARY: The Environmental Protection                                                                             ural Gas .................................                  4862
                                                 Agency (EPA) is taking interim final                     this document.                                        Cement and Concrete Product
                                                 action to stay, for emissions sources in                 FOR FURTHER INFORMATION CONTACT:                         Manufacturing ........................                      3273
                                                                                                          David Lifland, Clean Air Markets                      Iron and Steel Mills and
                                                 Arkansas, Kentucky, Louisiana,                                                                                    Ferroalloy Manufacturing .......                            3311
                                                 Mississippi, Missouri, and Texas only,                   Division, Office of Atmospheric                       Glass and Glass Product Manu-
                                                 the effectiveness of the federal                         Protection, Office of Air and Radiation,                 facturing .................................                 3272
                                                 implementation plan (FIP) requirements                   U.S. Environmental Protection Agency,                 Basic Chemical Manufacturing ..                                3251
                                                                                                          Mail Code 6204A, 1200 Pennsylvania                    Petroleum and Coal Products
                                                 established to address the obligations of                                                                         Manufacturing ........................                      3241
                                                 these and other states to mitigate                       Avenue NW, Washington, DC 20460;                      Pulp, Paper, and Paperboard
                                                 interstate air pollution with respect to                 telephone: 202–343–9151; email:                          Mills ........................................              3221
                                                 the 2015 national ambient air quality                    lifland.david@epa.gov.                                Metal Ore Mining .......................                       2122
                                                                                                          SUPPLEMENTARY INFORMATION:                            Solid Waste Combustors and
                                                 standards (NAAQS) for ozone (the Good                                                                             Incinerators ............................                 562213
                                                 Neighbor Plan). The EPA is also revising                 I. General
                                                 certain other regulations to ensure that                                                                          The Good Neighbor Plan applies to
                                                 sources in these states will continue to                 A. Public Participation                               emissions sources in Alabama,
                                                 be subject to previously established                       Submit your written comments,                       Arkansas, California, Illinois, Indiana,
                                                 requirements to mitigate interstate air                  identified by Docket ID No. EPA–HQ–                   Kentucky, Louisiana, Maryland,
                                                 pollution with respect to other ozone                    OAR–2021–0668, at https://                            Michigan, Minnesota, Mississippi,
                                                 NAAQS while the Good Neighbor Plan’s                     www.regulations.gov (our preferred                    Missouri, Nevada, New Jersey, New
                                                 requirements are stayed. These revisions                 method), or by the other methods                      York, Ohio, Oklahoma, Pennsylvania,
                                                 will also ensure that the stay is limited                identified in the ADDRESSES section.                  Texas, Utah, Virginia, West Virginia,
                                                 to requirements for which the EPA does                   Once submitted, comments cannot be                    and Wisconsin. The portions of this
                                                 not currently have authority to                          edited or removed from the docket. The                action staying the Good Neighbor Plan’s
                                                 implement a FIP pending judicial                         EPA may publish any comment received                  requirements and revising other
                                                 review. The stay and the associated                      to its public docket. Do not submit to                allowance trading program regulations
                                                 revisions to other regulations are being                 the EPA’s docket at https://                          apply to sources in Arkansas, Kentucky,
                                                 issued in response to judicial orders that               www.regulations.gov any information                   Louisiana, Mississippi, Missouri, and
                                                 partially stay, pending judicial review, a               you consider to be Confidential                       Texas. The portions of this action
                                                 separate, earlier EPA action which                       Business Information (CBI), Proprietary               revising certain near-term deadlines
                                                 disapproved certain state                                Business Information (PBI), or other                  under the Good Neighbor Plan apply to
                                                 implementation plan (SIP) revisions                      information whose disclosure is                       emissions sources in the other listed
                                                 submitted by these and other states.                     restricted by statute. Multimedia
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                                                                                                                                                                states, for which the Good Neighbor
                                                 Finally, for states for which the Good                   submissions (audio, video, etc.) must be              Plan’s requirements are not being
                                                 Neighbor Plan’s requirements are not                     accompanied by a written comment.                     stayed.
                                                 being stayed, the EPA is revising three                  The written comment is considered the                    The information provided in this
                                                 near-term deadlines that are incorrect as                official comment and should include                   section on potentially affected entities is
                                                 published in the Good Neighbor Plan.                     discussion of all points you wish to                  not intended to be exhaustive. If you
                                                 DATES: This interim final rule is                        make. The EPA will generally not                      have questions regarding the
                                                 effective on August 4, 2023. Comments                    consider comments or comment                          applicability of this action to a


                                            VerDate Sep<11>2014   16:01 Jul 28, 2023   Jkt 259001   PO 00000   Frm 00029   Fmt 4700   Sfmt 4700   E:\FR\FM\31JYR1.SGM     31JYR1
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                                                 particular entity, consult the person                    Administrator signed a separate final                   additional states included in the Good
                                                 listed in the FOR FURTHER INFORMATION                    action promulgating a FIP, which is                     Neighbor Plan.
                                                 CONTACT section.                                         referred to here as the ‘‘Good Neighbor                    In each of the successive rulemakings
                                                                                                          Plan’’ or the ‘‘Rule.’’ 2 The Good                      to address good neighbor obligations
                                                 C. Statutory Authority                                                                                           with respect to an ozone NAAQS, the
                                                                                                          Neighbor Plan requires EGUs and non-
                                                   Statutory authority to issue the                       EGU industrial sources in the 21 states                 EPA has coordinated compliance
                                                 amendments finalized in this action is                   whose good neighbor SIPs the EPA had                    requirements by allowing the
                                                 provided by the same Clean Air Act                       disapproved in the SIP Disapproval                      participation of a state’s EGUs in the
                                                 (CAA) provisions that provided                           action (as well as two other states for                 most recent seasonal NOX trading
                                                 authority to issue the regulations being                 which the EPA had previously made                       program to also satisfy any requirements
                                                 amended: CAA section 110(a) and (c),                                                                             to participate in a previous seasonal
                                                                                                          findings of failure to submit good
                                                 42 U.S.C. 7410(a) and (c) (SIP and FIP                                                                           NOX trading program established to
                                                                                                          neighbor SIPs) to reduce their emissions
                                                 requirements, including requirements                                                                             address the state’s good neighbor
                                                                                                          of nitrogen oxides (NOX) during the
                                                 for mitigation of interstate air pollution),                                                                     obligations with respect to a less
                                                 and CAA section 301, 42 U.S.C. 7601                      May-September ‘‘ozone season’’ to
                                                                                                                                                                  protective NAAQS.7 Because of the
                                                 (general rulemaking authority).                          address the states’ good neighbor
                                                                                                                                                                  EPA’s coordination efforts, for 19 of the
                                                 Statutory authority for the rulemaking                   obligations with respect to the 2015
                                                                                                                                                                  states covered by the Good Neighbor
                                                 procedures followed in this action is                    ozone NAAQS.3 The Good Neighbor                         Plan as signed, including Arkansas,
                                                 provided by Administrative Procedure                     Plan was published in the Federal                       Kentucky, Louisiana, Mississippi,
                                                 Act (APA) section 553, 5 U.S.C. 553.                     Register on June 5, 2023, and its                       Missouri, and Texas, participation of the
                                                                                                          requirements will be phased in over                     state’s EGUs in the Group 3 trading
                                                 II. Regulatory Revisions                                 several years starting on the Rule’s                    program not only serves as the
                                                 A. Response to Stay Orders                               August 4, 2023, effective date.                         mechanism for partially addressing the
                                                 1. Background and Summary                                   To implement the required emissions                  states’ good neighbor obligations with
                                                                                                          reductions from EGUs, the Good                          respect to the 2015 ozone NAAQS, but
                                                    CAA section 110(a)(2)(D)(i)(I), also                  Neighbor Plan uses an emissions                         also serves as the mechanism for
                                                 known as the ‘‘good neighbor’’                           allowance trading program. The EPA                      addressing the states’ good neighbor
                                                 provision, requires each state’s SIP to                  has previously established three                        obligations with respect to the 2008
                                                 include provisions sufficient to                         successive allowance trading programs                   ozone NAAQS.8 For eight of the states,
                                                 ‘‘prohibit[ ], consistent with the                       for EGUs’ seasonal NOX emissions to                     including Arkansas, Kentucky,
                                                 provisions of this subchapter, any                       address states’ good neighbor                           Louisiana, Mississippi, and Missouri,
                                                 source or other type of emissions                        obligations with respect to the 1997 and                participation of the states’ EGUs in the
                                                 activity within the State from emitting                  2008 ozone NAAQS—referred to here as                    Group 3 trading program serves as the
                                                 any air pollutant in amounts which                                                                               mechanism for addressing the states’
                                                                                                          the CSAPR NOX Ozone Season ‘‘Group
                                                 will—(I) contribute significantly to                                                                             good neighbor obligations with respect
                                                                                                          1,’’ ‘‘Group 2,’’ and ‘‘Group 3’’ trading
                                                 nonattainment in, or interfere with                                                                              to the 1997 ozone NAAQS as well.9
                                                                                                          programs—in the Cross-State Air
                                                 maintenance by, any other State with                                                                                Petitioners challenging the SIP
                                                                                                          Pollution Rule (CSAPR),4 the CSAPR
                                                 respect to any [NAAQS].’’ The EPA                                                                                Disapproval action have filed motions
                                                 often refers to the emissions reduction                  Update,5 and the Revised CSAPR
                                                                                                          Update,6 respectively. The Good                         in several courts for partial stays of that
                                                 requirements under this provision as                                                                             action with respect to the SIPs
                                                 ‘‘good neighbor obligations’’ and                        Neighbor Plan does not establish a new
                                                                                                          emissions trading program, but instead                  submitted by particular states.
                                                 submissions addressing these                                                                                     Subsequent to the Good Neighbor Plan’s
                                                 requirements as ‘‘good neighbor SIPs.’’                  modifies the Group 3 trading program
                                                                                                          initially established in the Revised                    signature date, courts have granted some
                                                    CAA section 110(c)(1) requires the                                                                            of these motions. On May 1 and June 8,
                                                 EPA Administrator to promulgate a FIP                    CSAPR Update and expands the
                                                                                                                                                                  2023, the U.S. Court of Appeals for the
                                                 at any time within two years after the                   program to apply to EGUs in the
                                                                                                                                                                  Fifth Circuit issued orders staying the
                                                 Administrator: (i) finds that a state has                                                                        SIP Disapproval action with respect to
                                                 failed to make a required SIP                               2 Federal ‘‘Good Neighbor Plan’’ for the 2015
                                                                                                                                                                  Louisiana, Mississippi, and Texas
                                                 submission; (ii) finds a SIP submission                  Ozone National Ambient Air Quality Standards, 88
                                                                                                          FR 36654 (June 5, 2023).                                pending judicial review on the merits.10
                                                 to be incomplete pursuant to CAA                            3 See generally id. The Good Neighbor Plan’s         On May 25 and 26, 2023, the U.S. Court
                                                 section 110(k)(1)(C); or (iii) disapproves               requirements for EGUs apply in 22 of the 23             of Appeals for the Eighth Circuit issued
                                                 a SIP submission. This obligation                        covered states, while the requirements for non-EGU      orders staying the SIP Disapproval
                                                 applies unless the state corrects the                    industrial sources apply in 20 of the 23 covered
                                                                                                          states.
                                                                                                                                                                  action with respect to Arkansas and
                                                 deficiency through a SIP revision that                      4 Federal Implementation Plans: Interstate           Missouri pending judicial review on the
                                                 the Administrator approves before the                    Transport of Fine Particulate Matter and Ozone and      merits.11 On May 31, 2023, the U.S.
                                                 FIP is promulgated.                                      Correction of SIP Approvals, 76 FR 48208 (August        Court of Appeals for the Sixth Circuit
                                                    On February 13, 2023, the EPA                         8, 2011). CSAPR addressed states’ good neighbor         issued an order administratively staying
                                                 published a final action fully or                        obligations with respect to the 1997 ozone NAAQS,
                                                                                                          as well as the 1997 and 2006 NAAQS for fine             the SIP Disapproval action with respect
                                                 partially disapproving good neighbor
                                                                                                          particulate matter.
                                                 SIPs submitted by 21 states with respect                    5 Cross-State Air Pollution Rule Update for the        7 See, e.g., 81 FR 74509; 86 FR 23122.
                                                 to the 2015 ozone NAAQS (the SIP                         2008 Ozone NAAQS, 81 FR 74504 (October 26,                8 See 88 FR 36844.

                                                 Disapproval action).1 Consistent with                    2016). The CSAPR Update addressed states’ good            9 See id.
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                                                 the requirements of CAA section                          neighbor obligations with respect to the 2008 ozone        10 Order, Texas v. EPA, No. 23–60069 (5th Cir.
                                                                                                          NAAQS.                                                  May 1, 2023); Order, Texas v. EPA, No. 23–60069
                                                 110(c)(1), following the SIP Disapproval                    6 Revised Cross-State Air Pollution Rule Update      (5th Cir. June 8, 2023). The orders are available in
                                                 action, on March 15, 2023, the EPA                       for the 2008 Ozone NAAQS, 86 FR 23054 (April 30,        the docket.
                                                                                                          2021). The Revised CSAPR Update readdressed                11 Order, Arkansas v. EPA, No. 23–1320 (8th Cir.
                                                   1 Air Plan Disapprovals; Interstate Transport of       states’ good neighbor obligations with respect to the   May 25, 2023); Order, Missouri v. EPA, No. 23–1719
                                                 Air Pollution for the 2015 8-Hour Ozone National         2008 ozone NAAQS in response to the remand of           (8th Cir. May 26, 2023); Order, Union Electric Co.
                                                 Ambient Air Quality Standards, 88 FR 9336                the CSAPR Update in Wisconsin v. EPA, 938 F.3d          v. EPA, No. 23–1751 (8th Cir. May 26, 2023). The
                                                 (February 13, 2023).                                     303 (D.C. Cir. 2019).                                   orders are available in the docket.



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                                                 to Kentucky pending review of                            to the 2015 ozone NAAQS, but also to                   program, the revisions in this action
                                                 Kentucky’s stay motion.12                                preserve status quo requirements                       establish two non-interchangeable
                                                    The EPA’s authority under CAA                         established in previous rulemakings to                 subtypes of Group 2 allowances: CSAPR
                                                 section 110(c)(1) to establish the Good                  address their states’ good neighbor                    NOX Ozone Season Original Group 2
                                                 Neighbor Plan’s FIP requirements for                     obligations with respect to the 2008 and               allowances and CSAPR NOX Ozone
                                                 the sources in a given state is triggered                1997 ozone NAAQS.                                      Season Expanded Group 2 allowances.15
                                                 by either the EPA’s disapproval of the                      Thus, the EPA in this action is                     EGUs in Arkansas, Mississippi,
                                                 state’s good neighbor SIP with respect to                revising the Good Neighbor Plan FIP                    Missouri, and Texas, which would have
                                                 the 2015 ozone NAAQS or the EPA’s                        requirements and the regulations for the               been covered by the Group 2 trading
                                                 finding of the state’s failure to submit                 Group 2 trading program to require the                 program in the absence of the Good
                                                 such a SIP. Accordingly, as a result of                  EGUs in each state covered by a stay                   Neighbor Plan, will use Original Group
                                                 the orders partially staying the SIP                     order for the SIP Disapproval action to                2 allowances for compliance (as will
                                                 Disapproval action, the EPA must act to                  participate in the Group 2 trading                     EGUs in Iowa, Kansas, and Tennessee,
                                                 ensure that the Good Neighbor Plan’s                     program instead of the Group 3 trading                 which are not covered by the Good
                                                 requirements that were issued to                         program while the stay for that state                  Neighbor Plan and remain in the Group
                                                 address good neighbor obligations with                   remains in place. A small number of                    2 trading program). EGUs in Kentucky
                                                 respect to the 2015 ozone NAAQS and                      conforming revisions are also being                    and Louisiana, which would have been
                                                 that apply to either EGUs or non-EGU                     made to the regulations for the Group 1                covered by the Group 3 trading program
                                                 industrial sources in each of the states                 and Group 3 trading programs.                          in the absence of the Good Neighbor
                                                 for which a stay order has been issued                   Together, the revisions preserve the                   Plan, will use Expanded Group 2
                                                 will not take effect while the stay of the               status quo by making the trading                       allowances for compliance. The
                                                 SIP Disapproval action as to that state                  program requirements that will apply to                requirements to use different subtypes
                                                 remains in place. To ensure full                         the EGUs in each state for which the SIP               of Group 2 allowances will preserve the
                                                 compliance with the stay orders, the                     Disapproval action has been stayed                     status quo distinction between these
                                                 EPA is also staying these requirements                   substantively identical to the trading                 two sets of EGUs that already existed
                                                 for sources in Indian country located                    program requirements that would have                   before the Good Neighbor Plan and that
                                                 within the borders of a state covered by                 applied to the EGUs in that state if the               continues to exist with the stay of the
                                                 a stay order, including areas of Indian                  state had not been covered by the Good                 Good Neighbor Plan as to these states,
                                                 country not subject to the state’s SIP                   Neighbor Plan. The revisions to the                    because the allowances that EGUs in
                                                 authority.13 However, as noted earlier in                trading program regulations are                        Kentucky and Louisiana have used for
                                                 this section, the Group 3 trading                        summarized in the remainder of this                    compliance under the Group 3 trading
                                                 program is also the mechanism to                         section and are discussed in detail in                 program as promulgated in the Revised
                                                 implement requirements previously                        section II.A.2 of this document.14                     CSAPR Update are not interchangeable
                                                 established for EGUs in most of the                         First, for EGUs in Arkansas,                        with the allowances that EGUs in the
                                                 covered states to address the states’                    Mississippi, Missouri, and Texas, which                other states have used for compliance
                                                 good neighbor obligations with respect                   before the Good Neighbor Plan were                     under the Group 2 trading program.
                                                 to the 2008 ozone NAAQS and, in some                     covered by the Group 2 trading program                    The amendments to the regulatory
                                                 cases, the 1997 ozone NAAQS. The SIP                     as promulgated in the CSAPR Update                     requirements for EGUs and non-EGU
                                                 Disapproval action was not a basis for                   rather than the Group 3 trading                        industrial sources that the EPA is
                                                 the authority relied on by the EPA in the                program, the revisions in this action                  finalizing in this action in response to
                                                 previous rulemakings to establish                        restore the state emissions budgets, unit-             the stay orders are being made on an
                                                 emissions reduction requirements with                    level allowance allocation provisions,                 interim basis and will remain in place
                                                 respect to the 2008 or 1997 ozone                        and banked allowance holdings that                     while the judicial proceedings in which
                                                 NAAQS, and the stay orders do not                        would have been in effect for the EGUs                 the stay orders were issued remain
                                                 affect these pre-existing requirements.                  in these states under the Group 2                      pending. After the courts have reached
                                                 The EPA’s authority for the rulemakings                  trading program in the absence of the                  final determinations on the merits in
                                                 addressing the 2008 and 1997 ozone                       Good Neighbor Plan.                                    those proceedings, the EPA will take
                                                 NAAQS remains in place. Implementing                        Second, for EGUs in Kentucky and                    further action consistent with the final
                                                 the stay orders therefore requires the                   Louisiana, which before the Good                       determinations. At the time of this
                                                 EPA not only to stay the new                             Neighbor Plan were already covered by                  rulemaking, the EPA cannot predict
                                                 requirements established for EGUs and                    the Group 3 trading program as                         how the Agency’s future action may
                                                 non-EGU industrial sources in the Good                   promulgated in the Revised CSAPR                       affect the amendments being finalized
                                                 Neighbor Plan to address their states’                   Update, the revisions in this action                   in this action.
                                                 good neighbor obligations with respect                   modify the Group 2 and Group 3 trading                 2. Specific Regulatory Revisions
                                                                                                          program regulations so as to establish
                                                   12 Order, Kentucky v. EPA, No. 23–3216 (6th Cir.
                                                                                                          under the Group 2 trading program the                     The regulatory revisions to 40 CFR
                                                 May 31, 2023), available in the docket.                                                                         part 52 that are being adopted in this
                                                   13 For sources in areas of Indian country not          state emissions budgets, unit-level
                                                 subject to the SIP authority of the states within        allowance allocation provisions, and                   action to implement the orders staying
                                                 whose borders the areas of Indian country are            banked allowance holdings that would                   the SIP Disapproval action for non-EGU
                                                 located, the EPA issued the Good Neighbor Plan’s         have been in effect for the EGUs in these              industrial sources in Arkansas,
                                                 requirements not under authority of CAA section                                                                 Kentucky, Louisiana, Mississippi,
                                                 110(c)(1) but under authority of CAA section             states under the Group 3 trading
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                                                 301(d)(4). See 88 FR 36690–92. However, because          program in the absence of the Good                     Missouri, and Texas and Indian country
                                                 the EPA exercised its authority under CAA section        Neighbor Plan.
                                                 301(d)(4) only with respect to areas of Indian                                                                    15 The non-interchangeability will be
                                                                                                             Finally, for EGUs in all states that will
                                                 country within the borders of states for which                                                                  automatically enforced through the use of different
                                                 requirements were being issued under CAA section         now be covered by the Group 2 trading                  codes for the two subtypes of Group 2 allowances
                                                 110(c)(1), id. at 36692, these areas of Indian country                                                          in the EPA’s Allowance Management System,
                                                 are indirectly implicated by the orders partially          14 The EPA has included documents in the docket      where all allowance allocations, transfers, and
                                                 staying the SIP Disapproval action for the respective    that show all the regulatory revisions being adopted   deductions under the Group 2 trading program are
                                                 states.                                                  in this action in redline-strikeout format.            recorded.



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                                                 within the borders of those states                           • The revision of text at §§ 97.806(c),                Group 3 allowances and recalling
                                                 include the addition of text at                           97.824(a) and (d), and 97.825(a) to                       previously allocated 2023–2024 Original
                                                 § 52.40(c)(4) to stay the effectiveness of                provide for EGUs in states covered by                     Group 2 allowances.
                                                 the Good Neighbor Plan’s requirements                     stay orders and covered by the Group 3                       • The revision of text at §§ 97.816(c),
                                                 for non-EGU industrial sources at                         trading program before 2023 to use                        97.818(f), and 97.820(c)(1)(iv), (c)(2)(iv),
                                                 §§ 52.41 through 52.46 and the                            Expanded Group 2 allowances for                           and (c)(5)(vi) to include the transition of
                                                 remainder of § 52.40 for states covered                   compliance and for EGUs in other states                   states from the Group 3 trading program
                                                 by stay orders and the addition of                        covered by the Group 2 trading program                    to the Group 2 trading program in the
                                                 parallel text in the state-specific                       to use Original Group 2 allowances for                    provisions that allow the EPA to treat
                                                 subparts of part 52 for each of the                       compliance, with conforming revisions                     certain certifications, applications, and
                                                 states.16                                                 at § 52.38(b)(14).                                        notices of delegation as valid despite the
                                                    The regulatory revisions to 40 CFR                        • The revision of text at § 97.810(a)                  use of terminology intended for use
                                                 parts 52 and 97 that are being adopted                    and (b) to provide EGUs in states                         under a different trading program.
                                                 in this action to implement the orders                    covered by stay orders the same                              • The revision of text at §§ 97.526(e)
                                                 staying the SIP Disapproval action for                    amounts for state emissions budgets,                      and 97.826(f) and the addition of text at
                                                 EGUs in Arkansas, Kentucky, Louisiana,                    new unit set-asides, Indian country new                   § 97.1026(f) to include the transition of
                                                 Mississippi, Missouri, and Texas and                      unit set-asides, and variability limits                   states from the Group 3 trading program
                                                 Indian country within the borders of                      that would have applied under the                         to the Group 2 trading program in the
                                                 those states while ensuring continued                     Group 2 trading program or the Group                      provisions that specify when and how
                                                 implementation of requirements                            3 trading program, as applicable for the                  an EGU in a state that has moved
                                                 established to address good neighbor                      state, in the absence of the Good                         between trading programs may use
                                                 obligations under rules promulgated                       Neighbor Plan.                                            allowances from a later trading program
                                                 before the Good Neighbor Plan include                        • The revision of text at § 97.811(a)(2)               to meet surrender requirements for past
                                                 the following:                                            and § 97.821(e) to provide EGUs in                        control periods under a previous trading
                                                    • The addition of text at                              states covered by stay orders the same                    program, with conforming revisions at
                                                 § 52.38(b)(2)(iii)(D) to stay the                         unit-level allocation and recordation                     § 52.38(b)(14).
                                                 effectiveness of the Good Neighbor                        provisions that would have applied                           • The revision of text at
                                                 Plan’s requirements at                                    under the Group 2 trading program or                      § 97.526(d)(2)(ii) and 97.826(d)(3) to
                                                 § 52.38(b)(2)(iii)(A) and (B) for EGUs to                 the Group 3 trading program, as                           include the conversion of Group 3
                                                 participate in the enhanced Group 3                       applicable for the state, in the absence                  allowances to Expanded Group 2
                                                 trading program for control periods after                 of the Good Neighbor Plan.19                              allowances in the provisions that
                                                 2022 for states covered by stay orders,                      • The revision of text at                              address future conversions of
                                                 the addition of text at § 52.38(b)(2)(ii)(D)              §§ 97.830(b)(1) and 97.834(d)(2)(i) to                    allowances that were allocated for past
                                                                                                           provide EGUs in states that were                          control periods under a given trading
                                                 to require those EGUs to participate in
                                                                                                           covered by the Group 3 trading program                    program to an EGU in a state no longer
                                                 the Group 2 trading program while that
                                                                                                           before 2023 the same deadlines for                        covered by that trading program, where
                                                 stay remains in place, and the addition
                                                                                                           commencement of monitoring and                            the allowances would have been
                                                 of parallel text in the state-specific
                                                                                                           reporting activities that would have                      included in a previous conversion to a
                                                 subparts of part 52 for each of the
                                                                                                           applied in the absence of the Good                        different type of allowances if the
                                                 states.17
                                                                                                           Neighbor Plan.                                            allocations had been recorded before the
                                                    • The revision of text at                                 • The addition of text at § 97.1026(e)
                                                 § 52.38(b)(16)(ii)(B) to provide for                                                                                previous conversion took place.
                                                                                                           to provide for the conversion of banked
                                                 continued administration by the EPA                       2021–2022 Group 3 allowances held by                      B. Deadline Corrections
                                                 after 2022, for states covered by stay                    EGUs in states that that were covered by                     In addition to the regulatory revisions
                                                 orders, of state Group 2 trading                          the Group 3 trading program before                        described in section II.A of this
                                                 programs integrated with the federal                      2023 into Expanded Group 2                                document that are being made on an
                                                 Group 2 trading program under                             allowances, with conforming revisions                     interim basis in response to judicial stay
                                                 approved SIP revisions.18                                 at §§ 97.502, 97.802, 97.1002, 97.824(c),                 orders, in this action the EPA is also
                                                    • The revision and addition of text at                                                                           permanently revising three near-term
                                                                                                           and 52.38(b)(14).
                                                 § 97.802 to define ‘‘Original’’ and                          • The revision of text at                              deadlines that are incorrect in the Good
                                                 ‘‘Expanded’’ subtypes of CSAPR NOX                        §§ 97.811(e)(1) and 97.826(e)(1) to                       Neighbor Plan as published in the
                                                 Ozone Season Group 2 allowances, with                     exclude EGUs in states covered by stay                    Federal Register. Unlike the revisions
                                                 conforming revisions and additions at                     orders from the Good Neighbor Plan’s                      described in section II.A of this
                                                 §§ 97.502, 97.1002, 97.811(d) and (e),                    provisions converting banked 2017–                        document, these revisions apply to
                                                 97.821(e), 97.526(d) and (e), 97.826(d)                   2022 Original Group 2 allowances into                     emissions sources in the states whose
                                                 through (f), and 52.38(b)(14).                                                                                      coverage under the Good Neighbor Plan
                                                   16 See §§ 52.184(b)(2) (Arkansas), 52.940(c)(2)
                                                                                                              19 For sources in states that were not covered by
                                                                                                                                                                     is not affected by a stay order.
                                                                                                           the Group 3 trading program before the Good                  The first deadline correction concerns
                                                 (Kentucky), 52.984(e)(2) (Louisiana), 52.1284(b)(2)       Neighbor Plan, the applicable notice of data
                                                 (Mississippi), 52.1326(c)(2) (Missouri), and              availability (NODA) referenced in revised
                                                                                                                                                                     a quarterly reporting deadline
                                                 52.2283(e)(2) (Texas).                                    § 97.811(a)(2)(i) as identifying the unit-level           applicable to EGUs in states that were
                                                    17 See §§ 52.184(a)(6) (Arkansas), 52.940(b)(6)
                                                                                                           allocations of Original Group 2 allowances to             already covered by the Group 2 trading
                                                 (Kentucky), 52.984(d)(6) (Louisiana), 52.1284(a)(6)       existing units will be the NODA published at 81 FR        program or the Group 3 trading program
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                                                 (Mississippi), 52.1326(b)(6) (Missouri), and              67190 (September 30, 2016) to implement the
                                                 52.2283(d)(6) (Texas).                                    CSAPR Update. For sources in states that were
                                                                                                                                                                     before the 2023 ozone season. As
                                                    18 This revision ensures that Missouri’s good          covered by the Group 3 trading program before the         explained in the Good Neighbor Plan
                                                 neighbor obligations with respect to the 2008 and         Good Neighbor Plan, the applicable NODA                   preamble, these EGUs will participate in
                                                 1997 NAAQS can continue to be met through the             referenced in revised § 97.811(a)(2)(ii) as identifying   the revised Group 3 trading program for
                                                 participation of the state’s EGUs in the state Group      the unit-level allocations of Expanded Group 2
                                                 2 trading program adopted by the state and                allowances to existing units will be the NODA
                                                                                                                                                                     the entire 2023 ozone season, subject to
                                                 included in the SIP revision that was approved by         published at 86 FR 26719 (May 17, 2021) to                transitional provisions ensuring that the
                                                 the EPA at 84 FR 66316 (December 4, 2019).                implement the Revised CSAPR Update.                       only substantive new regulatory


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                                                 requirements in 2023—specifically, the                   However, a separate regulatory                           from notice-and-comment requirements
                                                 emissions control stringencies reflected                 provision incorrectly identifies the                     applies here.
                                                 in the revised Group 3 trading program’s                 ending date of the first calendar quarter                   The EPA finds good cause to forgo
                                                 state emissions budgets and assurance                    for which these EGUs must submit                         notice-and-comment procedures
                                                 levels—will take effect only after the                   quarterly reports under the Group 3                      because such procedures are both
                                                 Rule’s effective date.20 The Group 3                     trading program as June 30, 2023. The                    impracticable and unnecessary for this
                                                 trading program’s deadline for EGUs to                   EPA is amending 40 CFR                                   action. First, following notice-and-
                                                 submit quarterly reports of emissions                    97.1034(d)(2)(i)(C) to indicate the                      comment procedures is impracticable
                                                 and operating data for the first two                     correct quarterly ending date of                         for the portions of this action
                                                 months of the May–September ozone                        September 30, 2023. The deadline for                     responding to the stay orders because
                                                 season in 2023 would normally have                       EGUs to submit quarterly reports for this                such procedures would require more
                                                 been July 31, 2023 (the first business                   calendar quarter will be October 30,                     time than is available. The earliest stay
                                                 day at least 30 days after the end of the                2023.                                                    order to which the EPA must respond in
                                                 second calendar quarter), but the timing                    The third deadline correction                         this action was issued on May 1, 2023,
                                                 of publication in the Federal Register                   concerns a deadline for submission of                    just over three months before the Good
                                                 caused the Good Neighbor Plan’s                          initial notifications applicable to                      Neighbor Plan’s upcoming effective date
                                                 effective date to fall four days after this              furnaces in the Glass and Glass Product                  on August 4, 2023, which is the date by
                                                 date, on August 4, 2023. Accordingly,                    Manufacturing industry that are subject                  which this action responding to the stay
                                                 the EPA is extending the deadline in 40                  to requirements under the Good                           order must be effective. The most recent
                                                 CFR 97.1034(d)(3) by which EGUs                          Neighbor Plan. Because of a                              of the subsequent stay orders to which
                                                 subject to the Group 3 trading program                   typographical error in the document                      the EPA’s action must also respond was
                                                 must submit quarterly reports for this                   submitted for publication in the Federal                 issued less than two months before the
                                                 calendar quarter to August 4, 2023.21                    Register,the Rule as published                           Rule’s upcoming effective date. The
                                                 Further, because the quarterly reports                   incorrectly specifies a submission                       EPA does not consider even the
                                                 required under the Group 3 trading                       deadline of June 23, 2023 (the first                     maximum three-month period sufficient
                                                 program are consolidated with the                        business day at least 18 days after the                  time in which to conduct a notice-and-
                                                 quarterly reports required under several                 Rule’s publication date). The EPA is                     comment rulemaking encompassing the
                                                 other EPA programs, the EPA is also                      amending 40 CFR 52.44(j)(2) to specify                   time to, at a minimum, evaluate possible
                                                 amending 40 CFR 97.1034(d)(4) to                         the intended submission deadline of                      actions for responding to the stay
                                                 similarly extend these EGUs’ reporting                   December 4, 2023 (the first business day                 orders, prepare and publish a proposal
                                                 deadlines under the other programs.                      at least 180 days after the Rule’s                       describing the action identified through
                                                    The second deadline correction                        publication date).                                       that evaluation, wait for comments on
                                                 concerns a quarterly reporting deadline                                                                           the proposal, review the comments
                                                                                                          III. Rulemaking Procedures and
                                                 applicable to EGUs in states that were                                                                            received, and prepare and publish a
                                                                                                          Findings of Good Cause
                                                 not already covered by the Group 2                                                                                final rule and response to comments. It
                                                 trading program or the Group 3 trading                      As noted in section I.C of this                       is not possible for all of these steps to
                                                 program before the 2023 ozone season.                    document, the EPA’s authority for the                    be completed within a three-month
                                                 EGUs in these states will begin to                       rulemaking procedures followed in this                   period for this action.
                                                 participate in the Group 3 trading                       action is provided by APA section                           Second, following notice-and-
                                                 program as of the Good Neighbor Plan’s                   553.23 In general, an agency issuing a                   comment procedures is unnecessary for
                                                 effective date, and the regulations as                   rule under the procedures in APA                         this action. With respect to the portions
                                                 published in the Rule correctly provide                  section 553 must provide prior notice                    of this action that respond to the stay
                                                 that most of these EGUs will be subject                  and an opportunity for public comment,                   orders, the EPA has no discretion as to
                                                 to the program’s monitoring and                          but APA section 553(b)(B) includes an                    the regulatory revisions that stay the
                                                 reporting requirements for emissions                     exemption from notice-and-comment                        effectiveness of the Good Neighbor
                                                 occurring on and after August 4, 2023.22                 requirements ‘‘when the agency for good                  Plan’s requirements for sources in the
                                                                                                          cause finds (and incorporates the                        states covered by stay orders. While
                                                   20 See 88 FR 36775–76; 88 FR 36811–13.                 finding and a brief statement of reasons                 some superficial discretion exists
                                                    21 All the EGUs that are required under the Good      therefor in the rule issued) that notice                 concerning the specific design of the
                                                 Neighbor Plan to submit quarterly reports for the        and public procedure thereon are                         regulatory revisions that provide an
                                                 second calendar quarter of 2023 already participate
                                                 in either the Group 2 trading program or the Group
                                                                                                          impracticable, unnecessary, or contrary                  alternate mechanism for EGUs in states
                                                 3 trading program and therefore have already             to the public interest.’’ This action is                 covered by the stay orders to continue
                                                 installed and certified the necessary monitoring         being issued as an interim final rule                    to address the states’ good neighbor
                                                 systems. The data elements of the quarterly reports      without prior notice or opportunity for                  obligations with respect to the 2008 and
                                                 that these EGUs are required to submit under the
                                                 Group 3 trading program for their ozone season
                                                                                                          public comment because the EPA finds                     1997 NAAQS, no discretion exists as to
                                                 emissions in 2023 are identical to the data elements     that the APA ‘‘good cause’’ exemption                    the function of that design, which is to
                                                 of the quarterly reports that the EGUs were required                                                              maintain the status quo by
                                                 to submit under the Group 2 trading program or           program, the deadline to begin monitoring and            implementing requirements that are
                                                 Group 3 trading program for their ozone season           reporting under the Group 3 trading program will
                                                 emissions in 2022 and previous years.                    be either January 31, 2024 (180 days after the Rule’s
                                                                                                                                                                   substantively identical to the pre-
                                                    22 See 40 CFR 97.1030(b)(1)(iii). Most EGUs           effective date), for units that report on a year-round   existing requirements that would have
                                                 covered under the Good Neighbor Plan that do not         basis, or May 1, 2024, for units that report on an       continued to apply in the absence of the
                                                                                                          ozone season-only basis. See 40 CFR
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                                                 already participate in the Group 2 trading program                                                                Good Neighbor Plan. The EPA’s design
                                                 or the Group 3 trading program are already subject       97.1030(b)(1)(iv) and (b)(3).
                                                 to closely related monitoring and reporting                 23 Under CAA section 307(d)(1)(B), the EPA’s
                                                                                                                                                                   for the regulatory revisions in this
                                                 requirements under other EPA programs and                revision of a FIP under CAA section 110(c) would         action accomplishes this function.
                                                 consequently have already installed and certified        normally be subject to the rulemaking procedural         Taking comment on the portions of the
                                                 the monitoring systems necessary to monitor and          requirements of CAA section 307(d), including            action that respond to the stay orders so
                                                 report under the Group 3 trading program. For the        notice-and-comment procedures, but CAA section
                                                 small number of EGUs in these states that have not       307(d) does not apply ‘‘in the case of any rule or
                                                                                                                                                                   as to allow the public to advocate for
                                                 already been required to install and certify the         circumstance referred to in subparagraphs (A) or (B)     not staying the Good Neighbor Plan’s
                                                 necessary monitoring systems under another EPA           of [APA section 553(b)].’’ CAA section 307(d)(1).        requirements, not adopting regulatory


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                                                 revisions needed to implement                            certain states grant an exemption (on an              IV. Request for Comment
                                                 requirements that are substantively                      interim basis while the stay remains in                 As explained in section III of this
                                                 identical to the requirements that would                 place), the normal 30-day minimum                     document, the EPA finds good cause to
                                                 have applied in the absence of the Good                  period between this action’s dates of                 take this interim final action without
                                                 Neighbor Plan, or adopting superficially                 publication and effectiveness is not                  prior notice or opportunity for public
                                                 different regulatory revisions to                        required. The EPA is making these                     comment. However, the EPA is
                                                 accomplish the same function would                       portions of the action effective as of the            providing an opportunity for comment
                                                 serve no purpose and is therefore                        Good Neighbor Plan’s effective date to                on the content of the amendments. The
                                                 unnecessary.24                                           comply with the stay orders.                          EPA requests comment on this rule. The
                                                    With respect to the portions of this                                                                        EPA is not reopening for comment any
                                                                                                             Under APA section 553(d)(3), the
                                                 action that correct deadlines, each of the                                                                     provisions of the Good Neighbor Plan,
                                                                                                          normal 30-day minimum period
                                                 deadlines that is incorrect as published                                                                       40 CFR part 52, or 40 CFR part 97 other
                                                                                                          between a rule’s dates of publication
                                                 in the Good Neighbor Plan precedes the                                                                         than the specific provisions that are
                                                                                                          and effectiveness does not apply ‘‘as
                                                 Rule’s actual effective date and therefore                                                                     expressly added or amended in this
                                                                                                          otherwise provided by the agency for
                                                 could not be implemented as published.                                                                         rule.
                                                                                                          good cause found and published with
                                                 In the cases of the two deadlines that
                                                                                                          the rule.’’ With respect to the portions              V. Statutory and Executive Order
                                                 were incorrect as published because of
                                                                                                          of this action that provide an alternate              Reviews
                                                 the timing of the Rule’s publication, the
                                                                                                          mechanism for EGUs in states covered
                                                 amended deadlines of August 4, 2023,                                                                             Additional information about these
                                                 and September 30, 2023, are the earliest                 by the stay orders to continue to address
                                                                                                          the states’ good neighbor obligations                 statutes and Executive Orders can be
                                                 possible revised deadlines that are both                                                                       found at www.epa.gov/laws-regulations/
                                                 feasible in light of the Good Neighbor                   under rules issued before the Good
                                                                                                          Neighbor Plan and the portions of this                laws-and-executive-orders.
                                                 Plan’s actual effective date and also
                                                 consistent with the normal timing and                    action that correct certain deadlines, the            A. Executive Order 12866: Regulatory
                                                 sequence of monitoring and reporting                     EPA finds good cause to make the                      Planning and Review, as Amended by
                                                 activities under the Group 3 trading                     regulatory revisions effective on August              Executive Order 14094: Modernizing
                                                 program regulations. In the case of the                  4, 2023, the effective date of the Good               Regulatory Review
                                                 deadline that was incorrect as published                 Neighbor Plan, even though that date is                 This action is not a significant
                                                 because of a typographical error, the                    less than 30 days after the publication               regulatory action as defined in
                                                 amended deadline of December 4, 2023,                    date of this action, for the following                Executive Order 12866, as amended by
                                                 is the same deadline that has already                    reasons. First, the regulatory revisions              Executive Order 14094, and was
                                                 been published in parallel provisions of                 that facilitate continued implementation              therefore not subject to a requirement
                                                 the Good Neighbor Plan’s regulations for                 of requirements addressing good                       for Executive Order 12866 review.
                                                 other non-EGU industrial sources.25                      neighbor obligations under previous
                                                 Because both the need for the                            rules benefit the public by avoiding the              B. Paperwork Reduction Act (PRA)
                                                 corrections and the specific corrections                 possibility that interruption of the                    This action does not impose any new
                                                 that should be made are clear, taking                    requirements would cause air quality                  information collection burden under the
                                                 comment to allow the public to                           degradation. Second, both these                       Paperwork Reduction Act (PRA), 44
                                                 advocate for not correcting the                          regulatory revisions and the regulatory               U.S.C. 3501 et seq. The Office of
                                                 deadlines or for making different                        revisions that correct deadlines benefit              Management and Budget (OMB) has
                                                 corrections would serve no purpose and                   the regulated community by clarifying                 previously approved the information
                                                 is therefore unnecessary.                                the regulatory requirements that apply                collection activities that will apply to
                                                    The regulatory revisions made in this                 in light of the stay orders and the timing            the EGUs affected by this action and has
                                                 action will take effect on August 4,                     of publication of the Good Neighbor                   assigned OMB control numbers 2060–
                                                 2023, the effective date of the Good                     Plan. Finally, making the regulatory                  0258 and 2060–0667. Additional
                                                 Neighbor Plan. In general, an agency                     revisions effective less than 30 days                 information collection activities that
                                                 issuing a rule under APA section 553                     after this action’s publication date does             will apply to EGUs and non-EGU
                                                 must provide for a period of at least 30                 not violate the purpose of the normal                 industrial sources under the Good
                                                 days between the rule’s dates of                         requirement for a 30-day minimum                      Neighbor Plan have been submitted to
                                                 publication and effectiveness, but APA                   period, which is ‘‘to give affected parties           OMB for approval in conjunction with
                                                 section 553(d) includes several                          a reasonable time to adjust their                     that rulemaking. This action makes no
                                                 exceptions. Under APA section                            behavior before the final rule takes                  changes to the information collection
                                                 553(d)(1), an exception applies to a rule                effect.’’ 26 The regulatory revisions in              activities under the previously approved
                                                 that ‘‘grants or recognizes an exemption                 this action facilitating continued                    information collection requests (ICRs) or
                                                 or relieves a restriction.’’ Because the                 implementation of previously                          the additional information collection
                                                 portions of this action that stay the                    applicable requirements impose no                     activities for which approval has been
                                                 effectiveness of the Good Neighbor                       requirements on any source that differ                requested in the Good Neighbor Plan’s
                                                 Plan’s requirements for the sources in                   substantively from the requirements that              ICRs.
                                                                                                          would have applied to that source in the
                                                   24 To illustrate, the EPA could in theory preserve     absence of the Good Neighbor Plan, and                C. Regulatory Flexibility Act (RFA)
                                                 the status quo for EGUs in Kentucky and Louisiana        the deadline corrections in this action                 This action is not subject to the
                                                 by promulgating an entire set of trading program                                                               Regulatory Flexibility Act (RFA),
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                                                 regulations under 40 CFR part 97 replicating the
                                                                                                          extend the deadlines in the Rule as
                                                 entire set of Group 3 trading program regulations as     published. Thus, no affected party                    5.U.S.C. 601–612. The RFA applies only
                                                 promulgated in the Revised CSAPR Update without          needs time to adjust its behavior in                  to rules subject to notice-and-comment
                                                 the subsequent revisions promulgated in the Good         preparation for these regulatory                      rulemaking requirements under the
                                                 Neighbor Plan to address states’ good neighbor                                                                 Administrative Procedure Act (APA), 5
                                                 obligations with respect to the 2015 ozone NAAQS.
                                                                                                          revisions.
                                                 However, the outcome would be substantively                                                                    U.S.C. 553, or any other statute. This
                                                 identical to the approach the EPA is taking here.          26 Omnipoint Corp. v. FCC, 78 F.3d 620, 630 (D.C.   rule is not subject to notice-and-
                                                   25 See 40 CFR 52.42(g)(2); 40 CFR 52.43(h)(2).         Cir. 1996).                                           comment requirements because the


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                                                 Agency has invoked the APA ‘‘good                        impact analysis for the Good Neighbor                 L. Judicial Review
                                                 cause’’ exemption under 5 U.S.C.                         Plan.27                                                  CAA section 307(b)(1) governs
                                                 553(b).                                                                                                        judicial review of final actions by the
                                                                                                          H. Executive Order 13211: Actions
                                                 D. Unfunded Mandates Reform Act                          Concerning Regulations That                           EPA. This section provides, in part, that
                                                 (UMRA)                                                   Significantly Affect Energy Supply,                   petitions for review must be filed in the
                                                                                                          Distribution, or Use                                  U.S. Court of Appeals for the District of
                                                    This action does not contain any                                                                            Columbia Circuit (D.C. Circuit): (i) when
                                                 unfunded mandate as described in the                       This action is not subject to Executive
                                                                                                                                                                the agency action consists of ‘‘nationally
                                                 Unfunded Mandates Reform Act                             Order 13211 because it is not a
                                                                                                                                                                applicable regulations promulgated, or
                                                 (UMRA), 2 U.S.C. 1531–1538, and does                     significant regulatory action under                   final actions taken, by the
                                                 not significantly or uniquely affect small               Executive Order 12866.                                Administrator,’’ or (ii) when such action
                                                 governments. This action imposes no                      I. National Technology Transfer and                   is locally or regionally applicable, but
                                                 enforceable duty on any state, local, or                 Advancement Act (NTTAA)                               ‘‘such action is based on a
                                                 tribal governments or the private sector.                   This rulemaking does not involve                   determination of nationwide scope or
                                                 This action simply stays the                             technical standards.                                  effect and if in taking such action the
                                                 effectiveness of certain regulatory                                                                            Administrator finds and publishes that
                                                 requirements for certain sources on an                   J. Executive Order 12898: Federal                     such action is based on such a
                                                 interim basis in response to procedural                  Actions To Address Environmental                      determination.’’ For locally or regionally
                                                 court orders while ensuring that                         Justice in Minority Populations and                   applicable final actions, the CAA
                                                 previously applicable regulatory                         Low-Income Populations                                reserves to the EPA complete discretion
                                                 requirements remain in effect.                              Executive Order 12898 (59 FR 7629,                 to decide whether to invoke the
                                                                                                          February 16, 1994) directs federal                    exception in (ii).29
                                                 E. Executive Order 13132: Federalism                                                                              This rulemaking is ‘‘nationally
                                                                                                          agencies, to the greatest extent
                                                                                                          practicable and permitted by law, to                  applicable’’ within the meaning of CAA
                                                   This action does not have federalism
                                                                                                          make environmental justice part of their              section 307(b)(1). In this action, in
                                                 implications. It will not have substantial
                                                                                                          mission by identifying and addressing,                response to court orders, the EPA is
                                                 direct effects on the states, on the
                                                                                                          as appropriate, disproportionately high               amending on an interim basis the Good
                                                 relationship between the national
                                                                                                          and adverse human health or                           Neighbor Plan,30 which the EPA
                                                 government and the states, or on the
                                                                                                          environmental effects of their programs,              developed by applying a uniform legal
                                                 distribution of power and
                                                                                                          policies, and activities on minority                  interpretation and common, nationwide
                                                 responsibilities among the various
                                                                                                          populations (people of color and/or                   analytical methods to address the
                                                 levels of government.
                                                                                                          Indigenous peoples) and low-income                    requirements of CAA section
                                                 F. Executive Order 13175: Consultation                   populations.                                          110(a)(2)(D)(i)(I) concerning interstate
                                                 and Coordination With Indian Tribal                         This action responds to court orders               transport of pollution (i.e., ‘‘good
                                                 Governments                                              issued by the U.S. Courts of Appeals for              neighbor’’ requirements) for the 2015
                                                                                                          the Fifth, Sixth, and Eighth Circuits and             ozone NAAQS. Based on that
                                                   This action does not have tribal                                                                             nationwide analysis, the Good Neighbor
                                                 implications as specified in Executive                   the EPA lacks discretion to deviate from
                                                                                                          those orders. The EPA’s assessment of                 Plan established FIP requirements for
                                                 Order 13175. This action simply stays                                                                          sources in 23 states located across eight
                                                 the effectiveness of certain regulatory                  environmental justice considerations for
                                                                                                          the action establishing the requirements              EPA Regions and ten federal judicial
                                                 requirements for certain sources on an                                                                         circuits. Given that this action amends
                                                 interim basis in response to procedural                  that are being stayed is discussed in
                                                                                                          section VII of the Good Neighbor Plan                 an action implementing the good
                                                 court orders while ensuring that                                                                               neighbor requirements of CAA section
                                                 previously applicable regulatory                         preamble.28
                                                                                                                                                                110(a)(2)(D)(i)(I) in a large number of
                                                 requirements remain in effect. Thus,                     K. Congressional Review Act (CRA)                     states located across the country and
                                                 Executive Order 13175 does not apply                        This action is subject to the                      given the interdependent nature of
                                                 to this action.                                          Congressional Review Act (CRA), 5                     interstate pollution transport and the
                                                 G. Executive Order 13045: Protection of                  U.S.C. 801–808, and the EPA will                      common core of knowledge and analysis
                                                 Children From Environmental Health                       submit a rule report to each House of                 involved in promulgating the FIP
                                                 Risks and Safety Risks                                   the Congress and to the Comptroller                   requirements, this is a ‘‘nationally
                                                                                                          General of the United States. The CRA                 applicable’’ action within the meaning
                                                   The EPA interprets Executive Order                     allows the issuing agency to make a rule              of CAA section 307(b)(1).
                                                 13045 as applying only to those                          effective sooner than otherwise                          In the alternative, to the extent a court
                                                 regulatory actions that concern                          provided by the CRA if the agency                     finds this action to be locally or
                                                 environmental health or safety risks that                makes a good cause finding that notice                regionally applicable, the Administrator
                                                 the EPA has reason to believe may                        and comment rulemaking procedures                     is exercising the complete discretion
                                                 disproportionately affect children, per                  are impracticable, unnecessary, or                    afforded to him under the CAA to make
                                                 the definition of ‘‘covered regulatory                   contrary to the public interest (5 U.S.C.             and publish a finding that this action is
                                                 action’’ in section 2–202 of the                         808(2)). The EPA has made a good cause                based on a determination of
                                                 Executive Order. This action responds                    finding for this rule as discussed in
                                                 to court orders issued by the U.S. Courts                section III of this document, including                 29 Sierra Club v. EPA, 47 F.4th 738, 745 (D.C. Cir.
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                                                 of Appeals for the Fifth, Sixth, and                                                                           2022) (‘‘EPA’s decision whether to make and
                                                                                                          the basis for that finding.                           publish a finding of nationwide scope or effect is
                                                 Eighth Circuits and the EPA lacks                                                                              committed to the agency’s discretion and thus is
                                                 discretion to deviate from those orders.                   27 See Regulatory Impact Analysis for the Final     unreviewable’’); Texas v. EPA, 983 F.3d 826, 834–
                                                 The EPA’s assessment of health and                       Federal Good Neighbor Plan Addressing Regional        35 (5th Cir. 2020).
                                                 safety risks for the action establishing                 Ozone Transport for the 2015 Ozone National             30 The Good Neighbor Plan is nationally
                                                                                                          Ambient Air Quality Standard (March 2023) at 197–     applicable or based on a determination of
                                                 the requirements that are being stayed is                257, available in the docket.                         nationwide scope or effect found and published by
                                                 discussed in Chapter 5 of the regulatory                   28 See 88 FR 36844–46.                              the EPA. See 88 FR 36859–60.



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                                                 ‘‘nationwide scope or effect’’ within the                List of Subjects                                       country located within the borders of
                                                 meaning of CAA section 307(b)(1). In                                                                            such State with regard to emissions
                                                                                                          40 CFR Part 52
                                                 this action, in response to court orders,                                                                       occurring in a control period in a given
                                                 the EPA is amending on an interim basis                    Environmental protection,                            year—
                                                 the Good Neighbor Plan, an action in                     Administrative practice and procedure,                    (i) The provisions of subpart EEEEE of
                                                 which the EPA interpreted and applied                    Air pollution control, Incorporation by                part 97 of this chapter (as modified in
                                                 section 110(a)(2)(D)(i)(I) of the CAA for                reference, Intergovernmental relations,                any approval of a SIP revision for such
                                                 the 2015 ozone NAAQS based on a                          Nitrogen oxides, Ozone, Particulate                    State by the Administrator under
                                                 common core of nationwide policy                         matter, Sulfur dioxide.                                paragraph (b)(8) of this section) or the
                                                 judgments and technical analysis                                                                                provisions of a SIP revision approved
                                                                                                          40 CFR Part 97
                                                                                                                                                                 for such State by the Administrator
                                                 concerning the interstate transport of                     Environmental protection,                            under paragraph (b)(9) of this section, if
                                                 pollutants throughout the continental                    Administrative practice and procedure,                 any, shall apply to the sources in such
                                                 United States. Based on that nationwide                  Air pollution control, Electric power                  State and areas of Indian country within
                                                 analysis, the Good Neighbor Plan                         plants, Nitrogen oxides, Ozone,                        the borders of such State subject to the
                                                 established FIP requirements for sources                 Particulate matter, Reporting and                      State’s SIP authority, and the provisions
                                                 in 23 states located across eight EPA                    recordkeeping requirements, Sulfur                     of subpart EEEEE of part 97 of this
                                                 Regions and ten federal judicial circuits.               dioxide.                                               chapter shall apply to the sources in
                                                 This action adjusts temporarily the                                                                             areas of Indian country within the
                                                 scope and operation of the Good                          Michael S. Regan,
                                                                                                                                                                 borders of such State not subject to the
                                                 Neighbor Plan for six states in response                 Administrator.
                                                                                                                                                                 State’s SIP authority, with regard to
                                                 to court orders, and also implements                       For the reasons stated in the                        emissions occurring in such control
                                                 necessary measures to ensure the status                  preamble, parts 52 and 97 of title 40 of               period; and
                                                 quo is maintained with respect to                        the Code of Federal Regulations are                       (ii) Such State shall be deemed to be
                                                 existing obligations under previously                    amended as follows:                                    listed in this paragraph (b)(2)(ii)(D)(1)
                                                 issued regulations (that were themselves                                                                        for purposes of this part and part 97 of
                                                 nationally applicable or based on a                      PART 52—APPROVAL AND                                   this chapter.
                                                 determination of nationwide scope or                     PROMULGATION OF                                           (2) While a stay under paragraph
                                                 effect found and published by the                        IMPLEMENTATION PLANS                                   (b)(2)(iii)(D)(2) of this section is in effect
                                                 EPA 31). This action also adjusts certain                                                                       for the sources in a State and Indian
                                                                                                          ■ 1. The authority citation for part 52                country located within the borders of
                                                 deadlines for all states that remain                     continues to read as follows:
                                                 covered by the Good Neighbor Plan.                                                                              such State with regard to emissions
                                                                                                               Authority: 42 U.S.C. 7401 et seq.                 occurring in a control period in a given
                                                    The Administrator finds that, like the                                                                       year—
                                                 Good Neighbor Plan which it amends,                      Subpart A—General Provisions                              (i) The provisions of subpart EEEEE of
                                                 this action is a matter on which national                                                                       part 97 of this chapter (as modified in
                                                 uniformity in judicial resolution of any                 ■ 2. Amend § 52.38 by:
                                                                                                                                                                 any approval of a SIP revision for such
                                                 petitions for review is desirable, to take               ■ a. Adding paragraphs (b)(2)(ii)(D) and
                                                                                                                                                                 State by the Administrator under
                                                 advantage of the D.C. Circuit’s                          (b)(2)(iii)(D);                                        paragraph (b)(8) of this section) or the
                                                 administrative law expertise, and to                     ■ b. In paragraph (b)(11)(iii)(D),
                                                                                                                                                                 provisions of a SIP revision approved
                                                 facilitate the orderly development of the                removing ‘‘and’’ after the semicolon;
                                                                                                                                                                 for such State by the Administrator
                                                 basic law under the Act. The                             ■ c. In paragraph (b)(14)(i)(F), removing
                                                                                                                                                                 under paragraph (b)(9) of this section, if
                                                 Administrator also finds that                            ‘‘and’’ after the semicolon;
                                                                                                                                                                 any, shall apply to the sources in such
                                                                                                          ■ d. Revising paragraph (b)(14)(i)(G);
                                                 consolidated review of this action in the                                                                       State and areas of Indian country within
                                                                                                          ■ e. Adding paragraph (b)(14)(i)(H);
                                                 D.C. Circuit will avoid piecemeal                                                                               the borders of such State subject to the
                                                                                                          ■ f. Revising paragraphs (b)(14)(iii)
                                                 litigation in the regional circuits, further                                                                    State’s SIP authority, and the provisions
                                                                                                          introductory text and (b)(14)(iii)(B);
                                                 judicial economy, and eliminate the risk                                                                        of subpart EEEEE of part 97 of this
                                                                                                          ■ g. In paragraph (b)(14)(iii)(C), adding
                                                 of inconsistent results for different                                                                           chapter shall apply to the sources in
                                                                                                          ‘‘Original’’ before ‘‘Group 2 allowances’’
                                                 states, and that a nationally consistent                                                                        areas of Indian country within the
                                                                                                          each time it appears; and
                                                 approach to the CAA’s mandate                            ■ h. In paragraph (b)(16)(ii)(B), adding
                                                                                                                                                                 borders of such State not subject to the
                                                 concerning interstate transport of ozone                 ‘‘and not listed in paragraph                          State’s SIP authority, with regard to
                                                 pollution constitutes the best use of                    (b)(2)(ii)(D)(2) of this section’’ before              emissions occurring in such control
                                                 Agency resources.                                        ‘‘and any control period’’.                            period; and
                                                    For these reasons, this final action is                  The additions and revisions read as                    (ii) Such State shall be deemed to be
                                                 nationally applicable or, alternatively,                 follows:                                               listed in this paragraph (b)(2)(ii)(D)(2)
                                                                                                                                                                 for purposes of this part and part 97 of
                                                 the Administrator is exercising the
                                                                                                          § 52.38 What are the requirements of the               this chapter.
                                                 complete discretion afforded to him by                   Federal Implementation Plans (FIPs) for the               (iii) * * *
                                                 the CAA and finds that this final action                 Cross-State Air Pollution Rule (CSAPR)                    (D) Notwithstanding any other
                                                 is based on a determination of                           relating to emissions of nitrogen oxides?              provision of this part:
                                                 nationwide scope or effect for purposes                  *      *     *     *      *                               (1) The effectiveness of paragraph
                                                 of CAA section 307(b)(1) and is                                                                                 (b)(2)(iii)(A) of this section is stayed for
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                                                                                                            (b) * * *
                                                 publishing that finding in the Federal                     (2) * * *                                            sources in Kentucky and Louisiana and
                                                 Register. Under CAA section 307(b)(1),                     (ii) * * *                                           Indian country located within the
                                                 petitions for judicial review of this                      (D) Notwithstanding any other                        borders of such States with regard to
                                                 action must be filed in the D.C. Circuit                 provision of this part:                                emissions occurring in 2023 and
                                                 by September 29, 2023.                                     (1) While a stay under paragraph                     thereafter. While a stay under this
                                                                                                          (b)(2)(iii)(D)(1) of this section is in effect         paragraph (b)(2)(iii)(D)(1) is in effect for
                                                   31 See 86 FR 23163–64; 81 FR 74585–86.                 for the sources in a State and Indian                  a State, such State shall be deemed not


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                                                 to be listed in paragraph (b)(2)(iii)(A) of              entities, wherever located, that at any               occurring in 2023 and thereafter,
                                                 this section for purposes of part 97 of                  time held or hold such allowances:                    provided that while such stay remains
                                                 this chapter for a control period after                  *      *     *     *    *                             in effect, the provisions of paragraph
                                                 2022.                                                       (B) The provisions of §§ 97.526(d),                (a)(2) of this section shall apply with
                                                    (2) The effectiveness of paragraph                    97.826(d) and (e), and 97.1026(e) of this             regard to such emissions.
                                                 (b)(2)(iii)(B) of this section is stayed for             chapter (concerning the conversion of                    (b) * * *
                                                 sources in Arkansas, Mississippi,                        unused CSAPR NOX Ozone Season                            (2) Notwithstanding any other
                                                 Missouri, and Texas and Indian country                   Group 1 allowances allocated for                      provision of this part, the effectiveness
                                                 located within the borders of such                       specified control periods to different                of paragraph (b)(1) of this section is
                                                 States with regard to emissions                          amounts of CSAPR NOX Ozone Season                     stayed.
                                                 occurring in 2023 and thereafter. While                  Original Group 2 allowances or CSAPR
                                                 a stay under this paragraph                              NOX Ozone Season Group 3 allowances,                  Subpart S—Kentucky
                                                 (b)(2)(iii)(D)(2) is in effect for a State,              the conversion of unused CSAPR NOX                    ■ 6. Amend § 52.940 by:
                                                 such State shall be deemed not to be                     Ozone Season Original Group 2                         ■ a. Adding paragraph (b)(6); and
                                                 listed in paragraph (b)(2)(iii)(B) of this               allowances allocated for specified                    ■ b. Redesignating paragraph (c) as
                                                 section for purposes of part 97 of this                  control periods to different amounts of               paragraph (c)(1) and adding paragraph
                                                 chapter.                                                 CSAPR NOX Ozone Season Group 3                        (c)(2).
                                                 *       *    *      *     *                              allowances, and the conversion of                        The additions read as follows:
                                                    (14) * * *                                            unused CSAPR NOX Ozone Season
                                                    (i) * * *                                             Group 3 allowances allocated for                      § 52.940 Interstate pollutant transport
                                                                                                          specified control periods to CSAPR NOX                provisions; What are the FIP requirements
                                                    (G) The provisions in § 97.526(e) of                                                                        for decreases in emissions of nitrogen
                                                                                                          Ozone Season Expanded Group 2
                                                 this chapter or § 97.826(f) of this chapter                                                                    oxides?
                                                                                                          allowances); and
                                                 (concerning the use of CSAPR NOX                                                                               *     *      *     *    *
                                                 Ozone Season Original Group 2                            *      *     *     *    *
                                                                                                                                                                  (b) * * *
                                                 allowances, CSAPR NOX Ozone Season                       ■ 3. Amend § 52.40 by adding paragraph
                                                                                                                                                                  (6) Notwithstanding any other
                                                 Expanded Group 2 allowances, or                          (c)(4) to read as follows:
                                                                                                                                                                provision of this part, the effectiveness
                                                 CSAPR NOX Ozone Season Group 3                           § 52.40 What are the requirements of the              of paragraph (b)(3) of this section is
                                                 allowances to satisfy requirements to                    Federal Implementation Plans (FIPs)                   stayed with regard to emissions
                                                 hold CSAPR NOX Ozone Season Group                        relating to ozone season emissions of                 occurring in 2023 and thereafter,
                                                 1 allowances or the use of CSAPR NOX                     nitrogen oxides from sources not subject to           provided that while such stay remains
                                                 Ozone Season Expanded Group 2                            the CSAPR ozone season trading program?               in effect, the provisions of paragraph
                                                 allowances or CSAPR NOX Ozone                            *     *     *     *     *                             (b)(2) of this section shall apply with
                                                 Season Group 3 allowances to satisfy                       (c) * * *                                           regard to such emissions.
                                                 requirements to hold CSAPR NOX                             (4) Notwithstanding any other                         (c) * * *
                                                 Ozone Season Original Group 2                            provision of this part, the effectiveness               (2) Notwithstanding any other
                                                 allowances); and                                         of paragraphs (a) and (b), (c)(1) through             provision of this part, the effectiveness
                                                    (H) The provisions in §§ 97.806(c),                   (3), and (d) through (g) of this section              of paragraph (c)(1) of this section is
                                                 97.824(a) and (d), and 97.825(a) of this                 and §§ 52.41, 52.42, 52.43, 52.44, 52.45,             stayed.
                                                 chapter (concerning the situations for                   and 52.46 is stayed for sources located
                                                 which compliance requirements are                        in Arkansas, Kentucky, Louisiana,                     Subpart T—Louisiana
                                                 defined in terms of either CSAPR NOX                     Mississippi, Missouri, and Texas,
                                                 Ozone Season Original Group 2                            including Indian country located within               ■ 7. Amend § 52.984 by:
                                                 allowances or CSAPR NOX Ozone                            the borders of such States.                           ■ a. Adding paragraph (d)(6); and
                                                 Season Expanded Group 2 allowances).                                                                           ■ b. Redesignating paragraph (e) as
                                                                                                          *     *     *     *     *
                                                 *       *    *      *     *                                                                                    paragraph (e)(1) and adding paragraph
                                                                                                          § 52.44   [Amended]                                   (e)(2).
                                                    (iii) Notwithstanding any
                                                                                                                                                                   The additions read as follows:
                                                 discontinuation pursuant to paragraphs                   ■ 4. Amend § 52.44(j)(2) by removing
                                                 (b)(2)(i)(B), (b)(2)(ii)(B) or (C),                      ‘‘June 23, 2023’’ and adding in its place             § 52.984 Interstate pollutant transport
                                                 (b)(2)(iii)(D)(1), or (b)(13)(i) of this                 ‘‘December 4, 2023’’.                                 provisions; What are the FIP requirements
                                                 section of the applicability of subpart                                                                        for decreases in emissions of nitrogen
                                                 BBBBB, EEEEE, or GGGGG of part 97 of                     Subpart E—Arkansas                                    oxides?
                                                 this chapter to the sources in a State and                                                                     *     *      *     *    *
                                                                                                          ■ 5. Amend § 52.184 by:
                                                 areas of Indian country within the                                                                               (d) * * *
                                                                                                          ■ a. Adding paragraph (a)(6); and
                                                 borders of the State subject to the State’s                                                                      (6) Notwithstanding any other
                                                                                                          ■ b. Redesignating paragraph (b) as
                                                 SIP authority with regard to emissions                                                                         provision of this part, the effectiveness
                                                                                                          paragraph (b)(1) and adding paragraph
                                                 occurring in any control period, the                                                                           of paragraph (d)(3) of this section is
                                                                                                          (b)(2).
                                                 following provisions shall continue to                                                                         stayed with regard to emissions
                                                                                                            The additions read as follows:
                                                 apply with regard to all CSAPR NOX                                                                             occurring in 2023 and thereafter,
                                                 Ozone Season Group 1 allowances,                         § 52.184 Interstate pollutant transport               provided that while such stay remains
                                                                                                                                                                in effect, the provisions of paragraph
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                                                 CSAPR NOX Ozone Season Group 2                           provisions; What are the FIP requirements
                                                 allowances, and CSAPR NOX Ozone                          for decreases in emissions of nitrogen                (d)(2) of this section shall apply with
                                                 Season Group 3 allowances at any time                    oxides?                                               regard to such emissions.
                                                 allocated for any control period to any                    (a) * * *                                             (e) * * *
                                                 source or other entity in the State and                    (6) Notwithstanding any other                         (2) Notwithstanding any other
                                                 areas of Indian country within the                       provision of this part, the effectiveness             provision of this part, the effectiveness
                                                 borders of the State subject to the State’s              of paragraph (a)(3) of this section is                of paragraph (e)(1) of this section is
                                                 SIP authority and shall apply to all                     stayed with regard to emissions                       stayed.


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                                                 Subpart Z—Mississippi                                    § 52.2283 Interstate pollutant transport              subpart EEEEE of this part, § 97.526(d),
                                                                                                          provisions; What are the FIP requirements             or § 97.1026(e), or by a State or
                                                 ■ 8. Amend § 52.1284 by:
                                                                                                          for decreases in emissions of nitrogen                permitting authority under a SIP
                                                                                                          oxides?                                               revision approved by the Administrator
                                                 ■ a. Adding paragraph (a)(6); and
                                                                                                          *     *      *     *    *                             under § 52.38(b)(7), (8), or (9) of this
                                                 ■ b. Redesignating paragraph (b) as
                                                                                                            (d) * * *                                           chapter, to emit one ton of NOX during
                                                 paragraph (b)(1) and adding paragraph                      (6) Notwithstanding any other
                                                 (b)(2).                                                                                                        a control period of the specified
                                                                                                          provision of this part, the effectiveness             calendar year for which the
                                                   The additions read as follows:                         of paragraph (d)(3) of this section is                authorization is allocated or auctioned
                                                 § 52.1284 Interstate pollutant transport                 stayed with regard to emissions                       or of any calendar year thereafter under
                                                 provisions; What are the FIP requirements                occurring in 2023 and thereafter,                     the CSAPR NOX Ozone Season Group 2
                                                 for decreases in emissions of nitrogen                   provided that while such stay remains                 Trading Program, where each CSAPR
                                                 oxides?                                                  in effect, the provisions of paragraph                NOX Ozone Season Group 2 allowance
                                                    (a) * * *                                             (d)(2) of this section shall apply with               is either a CSAPR NOX Ozone Season
                                                                                                          regard to such emissions.                             Original Group 2 allowance or a CSAPR
                                                    (6) Notwithstanding any other                           (e) * * *
                                                 provision of this part, the effectiveness                                                                      NOX Ozone Season Expanded Group 2
                                                                                                            (2) Notwithstanding any other                       allowance.
                                                 of paragraph (a)(3) of this section is                   provision of this part, the effectiveness
                                                 stayed with regard to emissions                                                                                *      *      *     *     *
                                                                                                          of paragraph (e)(1) of this section is                   CSAPR NOX Ozone Season Original
                                                 occurring in 2023 and thereafter,                        stayed.
                                                 provided that while such stay remains                                                                          Group 2 allowance means a CSAPR NOX
                                                 in effect, the provisions of paragraph                   PART 97—FEDERAL NOX BUDGET                            Ozone Season Group 2 allowance other
                                                 (a)(2) of this section shall apply with                  TRADING PROGRAM, CAIR NOX AND                         than a CSAPR NOX Ozone Season
                                                 regard to such emissions.                                SO2 TRADING PROGRAMS, CSAPR                           Expanded Group 2 allowance.
                                                    (b) * * *                                             NOX AND SO2 TRADING PROGRAMS,                         *      *      *     *     *
                                                    (2) Notwithstanding any other                         AND TEXAS SO2 TRADING PROGRAM                         ■ 13. Amend § 97.526 by:
                                                 provision of this part, the effectiveness                                                                      ■ a. In paragraphs (d)(1)(iii) and (iv) and
                                                 of paragraph (b)(1) of this section is                   ■ 11. The authority citation for part 97              (d)(2)(i), adding ‘‘Original’’ before
                                                 stayed.                                                  continues to read as follows:                         ‘‘Group 2 allowances’’ each time it
                                                                                                            Authority: 42 U.S.C. 7401, 7403, 7410,              appears;
                                                 Subpart AA—Missouri                                      7426, 7491, 7601, and 7651, et seq.                   ■ b. Redesignating paragraph (d)(2)(ii)
                                                                                                                                                                as paragraph (d)(2)(ii)(A);
                                                 ■ 9. Amend § 52.1326 by:                                 Subpart BBBBB—CSAPR NOX Ozone                         ■ c. In newly redesignated paragraph
                                                 ■ a. Adding paragraph (b)(6); and                        Season Group 1 Trading Program                        (d)(2)(ii)(A), removing ‘‘After the
                                                 ■ b. Redesignating paragraph (c) as                                                                            Administrator’’ and adding in its place
                                                                                                          ■ 12. Amend § 97.502 by:                              ‘‘Except as provided in paragraph
                                                 paragraph (c)(1) and adding paragraph
                                                                                                          ■ a. Adding in alphabetical order a                   (d)(2)(ii)(B) of this section, after the
                                                 (c)(2).
                                                                                                          definition of ‘‘CSAPR NOX Ozone                       Administrator’’;
                                                    The additions read as follows:                        Season Expanded Group 2 allowance’’;                  ■ d. Adding paragraph (d)(2)(ii)(B);
                                                 § 52.1326 Interstate pollutant transport                 ■ b. Revising the definition of ‘‘CSAPR               ■ e. Revising paragraph (e) introductory
                                                 provisions; What are the FIP requirements                NOX Ozone Season Group 2 allowance’’;                 text;
                                                 for decreases in emissions of nitrogen                   and                                                   ■ f. In paragraph (e)(1), adding
                                                 oxides?                                                  ■ c. Adding in alphabetical order a                   ‘‘Original’’ before ‘‘Group 2
                                                 *     *      *     *    *                                definition of ‘‘CSAPR NOX Ozone                       allowances’’;
                                                   (b) * * *                                              Season Original Group 2 allowance’’.                  ■ g. Redesignating paragraph (e)(2) as
                                                                                                            The revision and additions read as                  paragraph (e)(2)(i);
                                                   (6) Notwithstanding any other
                                                                                                          follows:                                              ■ h. In newly redesignated paragraph
                                                 provision of this part, the effectiveness
                                                 of paragraph (b)(3) of this section is                   § 97.502   Definitions.                               (e)(2)(i), removing ‘‘After the
                                                 stayed with regard to emissions                                                                                Administrator’’ and adding in its place
                                                                                                          *     *      *     *     *
                                                 occurring in 2023 and thereafter,                                                                              ‘‘Except as provided in paragraph
                                                                                                             CSAPR NOX Ozone Season Expanded
                                                 provided that while such stay remains                                                                          (e)(2)(ii) of this section, after the
                                                                                                          Group 2 allowance means a CSAPR NOX
                                                 in effect, the provisions of paragraph                                                                         Administrator’’; and
                                                                                                          Ozone Season Group 2 allowance
                                                 (b)(2) of this section shall apply with                                                                        ■ i. Adding paragraph (e)(2)(ii).
                                                                                                          allocated for a control period after 2022                The additions and revision read as
                                                 regard to such emissions.                                under subpart EEEEE of this part,
                                                   (c) * * *                                                                                                    follows:
                                                                                                          § 97.526(d), or § 97.1026(e) to a unit in
                                                   (2) Notwithstanding any other                          a State listed in § 52.38(b)(2)(ii)(D)(1) of          § 97.526    Banking and conversion.
                                                 provision of this part, the effectiveness                this chapter (and Indian country within               *      *    *      *     *
                                                 of paragraph (c)(1) of this section is                   the borders of such a State) or allocated               (d) * * *
                                                 stayed.                                                  or auctioned for a control period after                 (2) * * *
                                                                                                          2022 in accordance with the provisions                  (ii) * * *
                                                 Subpart SS—Texas                                         of a SIP revision approved for such a
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                                                                                                                                                                  (B) After the Administrator has
                                                                                                          State by the Administrator under                      carried out the procedures set forth in
                                                 ■ 10. Amend § 52.2283 by:                                § 52.38(b)(7), (8), or (9) of this chapter.           paragraph (d)(1) of this section and
                                                 ■ a. Adding paragraph (d)(6); and                        *     *      *     *     *                            §§ 97.826(d)(1) and 97.1026(e), upon
                                                 ■ b. Redesignating paragraph (e) as                         CSAPR NOX Ozone Season Group 2                     any determination that would otherwise
                                                 paragraph (e)(1) and adding paragraph                    allowance means a limited                             result in the initial recordation of a
                                                 (e)(2).                                                  authorization issued and allocated or                 given number of CSAPR NOX Ozone
                                                    The additions read as follows:                        auctioned by the Administrator under                  Season Group 1 allowances in the


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                                                 compliance account for a source in a                     further divided by the conversion factor                 CSAPR NOX Ozone Season Original
                                                 State listed in § 52.38(b)(2)(ii)(D)(1) of               determined under § 97.826(d)(1)(i)(D).                Group 2 allowance means a CSAPR NOX
                                                 this chapter (and Indian country within                  *     *    *     *    *                               Ozone Season Group 2 allowance other
                                                 the borders of such a State), the                                                                              than a CSAPR NOX Ozone Season
                                                 Administrator will not record such                       Subpart EEEEE—CSAPR NOX Ozone                         Expanded Group 2 allowance.
                                                 CSAPR NOX Ozone Season Group 1                           Season Group 2 Trading Program                        *      *     *     *     *
                                                 allowances but instead will allocate and                                                                       ■ 15. Amend § 97.806 by:
                                                                                                          ■ 14. Amend § 97.802 by:
                                                 record in such account an amount of                                                                            ■ a. In paragraph (c)(1)(i), adding ‘‘for
                                                                                                          ■ a. In the definition of ‘‘Allocate or
                                                 CSAPR NOX Ozone Season Expanded                          allocation’’, removing ‘‘§ 97.526(d),                 such source’’ after ‘‘available for
                                                 Group 2 allowances for the control                       and’’ and adding in its place                         deduction’’;
                                                 period in 2023 computed as the                                                                                 ■ b. In paragraph (c)(2)(i) introductory
                                                                                                          ‘‘§§ 97.526(d), 97.826(d), and 97.1026(e),
                                                 quotient, rounded up to the nearest                                                                            text, adding ‘‘for such group’’ after
                                                                                                          and’’;
                                                 allowance, of such given number of                                                                             ‘‘available for deduction’’;
                                                                                                          ■ b. In the definition of ‘‘Common
                                                 CSAPR NOX Ozone Season Group 1                                                                                 ■ c. In paragraph (c)(4), amend the
                                                                                                          designated representative’s assurance
                                                 allowances divided by the conversion                                                                           paragraph heading by adding ‘‘and
                                                                                                          level’’, paragraph (2), removing                      type’’ after ‘‘Vintage’’; and
                                                 factor determined under paragraph                        ‘‘§ 97.526(d)’’ and adding in its place               ■ d. Adding paragraphs (c)(4)(iii) and
                                                 (d)(1)(ii) of this section and further                   ‘‘§ 97.526(d), § 97.826(d), or
                                                 divided by the conversion factor                                                                               (iv).
                                                                                                          § 97.1026(e)’’;                                          The additions read as follows:
                                                 determined under § 97.826(d)(1)(i)(D).                   ■ c. Adding in alphabetical order a
                                                 *       *    *      *    *                               definition of ‘‘CSAPR NOX Ozone                       § 97.806    Standard requirements.
                                                    (e) Notwithstanding any other                         Season Expanded Group 2 allowance’’;                  *       *     *      *     *
                                                                                                          ■ d. Revising the definition of ‘‘CSAPR                  (c) * * *
                                                 provision of this subpart or any SIP
                                                                                                          NOX Ozone Season Group 2 allowance’’;                    (4) * * *
                                                 revision approved under § 52.38(b)(4) or                                                                          (iii) Except as provided in paragraph
                                                                                                          and
                                                 (5) of this chapter, CSAPR NOX Ozone                     ■ e. Adding in alphabetical order a                   (c)(4)(iv) of this section, a CSAPR NOX
                                                 Season Original Group 2 allowances,                      definition of ‘‘CSAPR NOX Ozone                       Ozone Season Group 2 allowance held
                                                 CSAPR NOX Ozone Season Expanded                          Season Original Group 2 allowance’’.                  for compliance with the requirements
                                                 Group 2 allowances, or CSAPR NOX                            The additions and revision read as                 under paragraphs (c)(1)(i), (c)(1)(ii)(A),
                                                 Ozone Season Group 3 allowances may                      follows:                                              and (c)(2)(i) through (iii) of this section
                                                 be used to satisfy requirements to hold                                                                        must be a CSAPR NOX Ozone Season
                                                 CSAPR NOX Ozone Season Group 1                           § 97.802   Definitions.
                                                                                                                                                                Original Group 2 allowance.
                                                 allowances under this subpart as                         *      *     *     *     *                               (iv) A CSAPR NOX Ozone Season
                                                 follows, provided that nothing in this                      CSAPR NOX Ozone Season Expanded                    Group 2 allowance held for compliance
                                                 paragraph (e) alters the time as of which                Group 2 allowance means a CSAPR NOX                   with the requirements under paragraphs
                                                 any such allowance holding                               Ozone Season Group 2 allowance                        (c)(1)(i), (c)(1)(ii)(A), and (c)(2)(i)
                                                 requirement must be met or limits any                    allocated for a control period after 2022             through (iii) of this section for a source
                                                 consequence of a failure to timely meet                  under this subpart, § 97.526(d), or                   or group of sources in a State listed in
                                                 any such allowance holding                               § 97.1026(e) to a unit in a State listed in           § 52.38(b)(2)(ii)(D)(1) of this chapter (or
                                                 requirement:                                             § 52.38(b)(2)(ii)(D)(1) of this chapter               Indian country within the borders of
                                                 *       *    *      *    *                               (and Indian country within the borders                such a State) for a control period after
                                                                                                          of such a State) or allocated or                      2022 must be a CSAPR NOX Ozone
                                                    (2) * * *                                             auctioned for a control period after 2022             Season Expanded Group 2 allowance.
                                                    (ii) After the Administrator has                      in accordance with the provisions of a                *       *     *      *     *
                                                 carried out the procedures set forth in                  SIP revision approved for such a State
                                                                                                                                                                ■ 16. Amend § 97.810 by:
                                                 paragraph (d)(1) of this section and                     by the Administrator under                            ■ a. In paragraphs (a)(2)(i) and (ii),
                                                 §§ 97.826(d)(1) and 97.1026(e), the                      § 52.38(b)(7), (8), or (9) of this chapter.           removing ‘‘through 2022’’ and adding in
                                                 owner or operator of a CSAPR NOX                         *      *     *     *     *                            its place ‘‘and thereafter’’;
                                                 Ozone Season Group 1 source in a State                      CSAPR NOX Ozone Season Group 2                     ■ b. Adding paragraphs (a)(8)(iv)
                                                 listed in § 52.38(b)(2)(ii)(D)(1) of this                allowance means a limited                             through (vi) and (a)(9)(iv) through (vi);
                                                 chapter (and Indian country within the                   authorization issued and allocated or                 ■ c. In paragraphs (a)(12)(i) through (iii),
                                                 borders of such a State) may satisfy a                   auctioned by the Administrator under                  (a)(13)(i) and (ii), (a)(20)(i) through (iii),
                                                 requirement to hold a given number of                    this subpart, § 97.526(d), or § 97.1026(e),           and (b)(2), removing ‘‘through 2022’’
                                                 CSAPR NOX Ozone Season Group 1                           or by a State or permitting authority                 and adding in its place ‘‘and thereafter’’;
                                                 allowances for the control period in                     under a SIP revision approved by the                  ■ d. Redesignating paragraph (b)(8) as
                                                 2015 or 2016 by holding instead, in a                    Administrator under § 52.38(b)(7), (8),               paragraph (b)(8)(i) and adding paragraph
                                                 general account established for this sole                or (9) of this chapter, to emit one ton of            (b)(8)(ii);
                                                 purpose, an amount of CSAPR NOX                          NOX during a control period of the                    ■ e. Redesignating paragraph (b)(9) as
                                                 Ozone Season Expanded Group 2                            specified calendar year for which the                 paragraph (b)(9)(i) and adding paragraph
                                                 allowances for the control period in                     authorization is allocated or auctioned               (b)(9)(ii); and
                                                 2021 (or any later control period for                    or of any calendar year thereafter under              ■ f. In paragraphs (b)(12), (b)(13), and
                                                 which the allowance transfer deadline                    the CSAPR NOX Ozone Season Group 2                    (b)(20), removing ‘‘through 2022’’ and
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                                                 defined in § 97.802 has passed)                          Trading Program, where each CSAPR                     adding in its place ‘‘and thereafter’’.
                                                 computed as the quotient, rounded up                     NOX Ozone Season Group 2 allowance                       The additions read as follows:
                                                 to the nearest allowance, of such given                  is either a CSAPR NOX Ozone Season                    § 97.810 State NOX Ozone Season Group 2
                                                 number of CSAPR NOX Ozone Season                         Original Group 2 allowance or a CSAPR                 trading budgets, new unit set-asides, Indian
                                                 Group 1 allowances divided by the                        NOX Ozone Season Expanded Group 2                     country new unit set-asides, and variability
                                                 conversion factor determined under                       allowance.                                            limits.
                                                 paragraph (d)(1)(ii) of this section and                 *      *     *     *     *                                (a) * * *


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                                                    (8) * * *                                                (ii) If a unit provided an allocation of           97.1018’’ in place of the terms ‘‘40 CFR
                                                    (iv) The NOX Ozone Season Group 2                     CSAPR NOX Ozone Season Expanded                       97.818(d)’’ and ‘‘40 CFR 97.818’’,
                                                 trading budget for 2023 and thereafter is                Group 2 allowances in the applicable                  respectively, in the required
                                                 14,051 tons.                                             notice of data availability issued under              certification statements will be
                                                    (v) The new unit set-aside for 2023                   paragraph (a)(1) of this section does not             considered a valid notice of delegation
                                                 and thereafter is 283 tons.                              operate, starting after 2020, during the              submitted under paragraph (c) of this
                                                    (vi) [Reserved]                                       control period in two consecutive years,              section, and the certification statements
                                                    (9) * * *                                             such unit will not be allocated the                   included in such notice of delegation
                                                    (iv) The NOX Ozone Season Group 2                     CSAPR NOX Ozone Season Expanded                       will be interpreted for purposes of this
                                                 trading budget for 2023 and thereafter is                Group 2 allowances provided in such                   subpart as if the terms ‘‘40 CFR
                                                 14,818 tons.                                             notice for the unit for the control                   97.818(d)’’ and ‘‘40 CFR 97.818’’
                                                    (v) The new unit set-aside for 2023                   periods in the fifth year after the first             appeared in place of the terms ‘‘40 CFR
                                                 and thereafter is 430 tons.                              such year and in each year after that                 97.1018(d)’’ and ‘‘40 CFR 97.1018’’,
                                                    (vi) The Indian country new unit set-                 fifth year.                                           respectively.
                                                 aside for 2023 and thereafter is 15 tons.                   (iii) All CSAPR NOX Ozone Season                   ■ 20. Amend § 97.820 by:
                                                 *       *     *     *    *                               Group 2 allowances that would                         ■ a. Revising paragraphs (c)(1)(iv) and
                                                    (b) * * *                                             otherwise have been allocated to a unit               (c)(2)(iv); and
                                                    (8) * * *                                             described in paragraph (a)(2)(i) or (ii) of           ■ b. Redesignating paragraph (c)(5)(vi)
                                                    (ii) The variability limit for Kentucky               this section will be allocated to the new             as paragraph (c)(5)(vi)(A) and adding
                                                                                                          unit set-aside for the State where such               paragraph (c)(5)(vi)(B).
                                                 for 2023 and thereafter is 2,951 tons.
                                                                                                          unit is located and for the respective                   The revisions and addition read as
                                                    (9) * * *
                                                                                                          years involved. If such unit resumes                  follows:
                                                    (ii) The variability limit for Louisiana
                                                                                                          operation, the Administrator will
                                                 for 2023 and thereafter is 3,112 tons.                                                                         § 97.820 Establishment of compliance
                                                                                                          allocate CSAPR NOX Ozone Season
                                                 *       *     *     *    *                               Group 2 allowances to the unit in                     accounts, assurance accounts, and general
                                                 ■ 17. Amend § 97.811 by:                                 accordance with paragraph (b) of this                 accounts.
                                                 ■ a. Revising paragraph (a)(2);                          section.                                              *      *      *     *     *
                                                 ■ b. In paragraphs (d)(1), (d)(2)(i),                    *       *     *     *    *                               (c) * * *
                                                 (d)(2)(ii)(A) through (C), (d)(3)(i)                                                                              (1) * * *
                                                                                                          ■ 18. Amend § 97.816 by revising                         (iv) An application for a general
                                                 through (iii), (d)(3)(iv)(A) through (C),                paragraph (c) to read as follows:
                                                 (d)(3)(v)(B) and (C), (d)(4)(i) through                                                                        account under paragraph (c)(1) of this
                                                 (iii), (d)(5) introductory text, (d)(5)(i)               § 97.816   Certificate of representation.             section, § 97.520(c)(1), or § 97.1020(c)(1)
                                                 and (ii), and (d)(6), adding ‘‘Original’’                                                                      that complies with the provisions of
                                                                                                          *      *    *     *      *
                                                 before ‘‘Group 2’’ each time it appears;                   (c) A certificate of representation                 paragraph (c)(1) of this section except
                                                 ■ c. In paragraph (e)(1):                                under this section, § 97.516, or                      that it contains the phrase ‘‘TR NOX
                                                 ■ i. Adding ‘‘and not listed in                          § 97.1016 that complies with the                      Ozone Season’’ or the phrase ‘‘CSAPR
                                                 § 52.38(b)(2)(ii)(D)(2) of this chapter’’                provisions of paragraph (a) of this                   NOX Ozone Season Group 3’’ in place of
                                                 before ‘‘(and Indian country’’; and                      section except that it contains the                   the phrase ‘‘CSAPR NOX Ozone Season
                                                 ■ ii. Adding ‘‘Original’’ before ‘‘Group                 phrase ‘‘TR NOX Ozone Season’’ or the                 Group 2’’ in the required certification
                                                 2’’ each time it appears; and                            phrase ‘‘CSAPR NOX Ozone Season                       statement will be considered a complete
                                                 ■ d. In paragraphs (e)(2)(i), (e)(2)(ii)(A)              Group 3’’ in place of the phrase ‘‘CSAPR              application for a general account under
                                                 through (C), (e)(3)(i) through (iii),                    NOX Ozone Season Group 2’’ in the                     paragraph (c)(1) of this section, and the
                                                 (e)(3)(iv)(A) through (C), (e)(3)(v)(B) and              required certification statements will be             certification statement included in such
                                                 (C), (e)(4)(i) through (iii), (e)(5)                     considered a complete certificate of                  application for a general account will be
                                                 introductory text, (e)(5)(i) and (ii), and               representation under this section, and                interpreted for purposes of this subpart
                                                 (e)(6), adding ‘‘Original’’ before ‘‘Group               the certification statements included in              as if the phrase ‘‘CSAPR NOX Ozone
                                                 2’’ each time it appears.                                such certificate of representation will be            Season Group 2’’ appeared in place of
                                                    The revision reads as follows:                        interpreted for purposes of this subpart              the phrase ‘‘TR NOX Ozone Season’’ or
                                                                                                          as if the phrase ‘‘CSAPR NOX Ozone                    the phrase ‘‘CSAPR NOX Ozone Season
                                                 § 97.811 Timing requirements for CSAPR                                                                         Group 3’’.
                                                 NOX Ozone Season Group 2 allowance
                                                                                                          Season Group 2’’ appeared in place of
                                                                                                          the phrase ‘‘TR NOX Ozone Season’’ or                    (2) * * *
                                                 allocations.                                                                                                      (iv) A certification statement
                                                                                                          the phrase ‘‘CSAPR NOX Ozone Season
                                                    (a) * * *                                                                                                   submitted in accordance with paragraph
                                                                                                          Group 3’’.
                                                    (2) Notwithstanding paragraph (a)(1)                                                                        (c)(2)(ii) of this section that contains the
                                                                                                          ■ 19. Amend § 97.818 by redesignating
                                                 of this section:                                                                                               phrase ‘‘TR NOX Ozone Season’’ or the
                                                    (i) If a unit provided an allocation of               paragraph (f) as paragraph (f)(1) and                 phrase ‘‘CSAPR NOX Ozone Season
                                                 CSAPR NOX Ozone Season Original                          adding paragraph (f)(2) to read as                    Group 3’’ will be interpreted for
                                                 Group 2 allowances in the applicable                     follows:                                              purposes of this subpart as if the phrase
                                                 notice of data availability issued under                 § 97.818 Delegation by designated                     ‘‘CSAPR NOX Ozone Season Group 2’’
                                                 paragraph (a)(1) of this section does not                representative and alternate designated               appeared in place of the phrase ‘‘TR
                                                 operate, starting after 2016, during the                 representative.                                       NOX Ozone Season’’ or the phrase
                                                 control period in two consecutive years,                                                                       ‘‘CSAPR NOX Ozone Season Group 3’’.
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                                                                                                          *      *     *    *     *
                                                 such unit will not be allocated the                         (f) * * *                                          *      *      *     *     *
                                                 CSAPR NOX Ozone Season Original                             (2) A notice of delegation submitted                  (5) * * *
                                                 Group 2 allowances provided in such                      under paragraph (c) of this section or                   (vi) * * *
                                                 notice for the unit for the control                      § 97.1018(c) that complies with the                      (B) A notice of delegation submitted
                                                 periods in the fifth year after the first                provisions of paragraph (c) of this                   under paragraph (c)(5)(iii) of this section
                                                 such year and in each year after that                    section except that it contains the terms             or § 97.1020(c)(5)(iii) that complies with
                                                 fifth year.                                              ‘‘40 CFR 97.1018(d)’’ and ‘‘40 CFR                    the provisions of paragraph (c)(5)(iii) of


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                                                 this section except that it contains the                 deductions are for compliance with the                chapter (and Indian country within the
                                                 terms ‘‘40 CFR 97.1020(c)(5)(iv)’’ and                   CSAPR NOX Ozone Season Group 2                        borders of such a State) for a control
                                                 ‘‘40 CFR 97.1020(c)(5)’’ in place of the                 emissions limitation of a source in a                 period after 2022.
                                                 terms ‘‘40 CFR 97.820(c)(5)(iv)’’ and ‘‘40               State listed in § 52.38(b)(2)(ii)(D)(1) of            *      *     *     *      *
                                                 CFR 97.820(c)(5)’’, respectively, in the                 this chapter (and Indian country within               ■ 24. Amend § 97.826 by:
                                                 required certification statements will be                the borders of such a State) for a control            ■ a. In paragraphs (d)(1)(i)(A) and (D),
                                                 considered a valid notice of delegation                  period after 2022.                                    (d)(1)(ii)(A), (d)(1)(iii)(A), (d)(1)(iv)(A)
                                                 submitted under paragraph (c)(5)(iii) of                 *      *     *     *    *                             and (B), and (d)(2)(ii), adding ‘‘Original’’
                                                 this section, and the certification                         (d) Deductions for excess emissions.               before ‘‘Group 2 allowances’’ each time
                                                 statements included in such notice of                    After making the deductions for                       it appears;
                                                 delegation will be interpreted for                       compliance under paragraph (b) of this                ■ b. Redesignating paragraph (d)(3) as
                                                 purposes of this subpart as if the terms                 section for a control period in a year in             paragraph (d)(3)(i);
                                                 ‘‘40 CFR 97.820(c)(5)(iv)’’ and ‘‘40 CFR                 which the CSAPR NOX Ozone Season                      ■ c. In newly redesignated paragraph
                                                 97.820(c)(5)’’ appeared in place of the                  Group 2 source has excess emissions,                  (d)(3)(i):
                                                 terms ‘‘40 CFR 97.1020(c)(5)(iv)’’ and                   the Administrator will deduct from the                ■ i. Removing ‘‘After the Administrator’’
                                                 ‘‘40 CFR 97.1020(c)(5)’’, respectively.                  source’s compliance account an amount                 and adding in its place ‘‘Except as
                                                 *      *    *     *     *                                of CSAPR NOX Ozone Season Group 2                     provided in paragraph (d)(3)(ii) of this
                                                 ■ 21. Amend § 97.821 by:                                 allowances, allocated or auctioned for a              section, after the Administrator’’; and
                                                 ■ a. Redesignating paragraph (e) as                      control period in a prior year or the                 ■ ii. Adding ‘‘Original’’ before ‘‘Group 2
                                                 paragraph (e)(1);                                        control period in the year of the excess              allowances’’ each time it appears;
                                                 ■ b. In newly redesignated paragraph                     emissions or in the immediately                       ■ d. Adding paragraph (d)(3)(ii);
                                                 (e)(1), adding ‘‘Original’’ before ‘‘Group               following year, equal to two times the                ■ e. In paragraph (e)(1) introductory
                                                 2 allowances’’ each time it appears; and                 number of tons of the source’s excess                 text, adding ‘‘or (D)’’ before ‘‘of this
                                                 ■ c. Adding paragraph (e)(2).                            emissions, provided that—                             chapter’’;
                                                    The addition reads as follows:                           (1) The allowances deducted shall be               ■ f. In paragraphs (e)(1)(i), (e)(1)(ii)(A),
                                                                                                          CSAPR NOX Ozone Season Original                       (e)(1)(iii) and (iv), (e)(1)(v)(B), and (e)(2),
                                                 § 97.821 Recordation of CSAPR NOX
                                                                                                          Group 2 allowances, if the excess                     adding ‘‘Original’’ before ‘‘Group 2
                                                 Ozone Season Group 2 allowance
                                                 allocations and auction results.                         emissions are not from a source in a                  allowances’’ each time it appears;
                                                                                                          State listed in § 52.38(b)(2)(ii)(D)(1) of            ■ g. Revising paragraph (f) introductory
                                                 *      *    *      *    *                                this chapter (and Indian country within
                                                    (e) * * *                                                                                                   text;
                                                                                                          the borders of such a State) for a control            ■ h. Redesignating paragraph (f)(1) as
                                                    (2) By September 5, 2023, the
                                                                                                          period after 2022; and                                paragraph (f)(1)(i);
                                                 Administrator will record in each
                                                                                                             (2) The allowances deducted shall be               ■ i. In newly redesignated paragraph
                                                 CSAPR NOX Ozone Season Group 2
                                                                                                          CSAPR NOX Ozone Season Expanded                       (f)(1)(i):
                                                 source’s compliance account the CSAPR
                                                 NOX Ozone Season Expanded Group 2                        Group 2 allowances, if the excess                     ■ i. Removing ‘‘After the Administrator’’
                                                                                                          emissions are from a source in a State                and adding in its place ‘‘Except as
                                                 allowances allocated to the CSAPR NOX
                                                                                                          listed in § 52.38(b)(2)(ii)(D)(1) of this             provided in paragraph (f)(1)(ii) of this
                                                 Ozone Season Group 2 units at the
                                                                                                          chapter (and Indian country within the                section, after the Administrator’’; and
                                                 source in accordance with § 97.811(a)
                                                                                                          borders of such a State) for a control                ■ ii. Adding ‘‘Original’’ before ‘‘Group 2
                                                 for the control periods in 2023 and
                                                                                                          period after 2022.                                    allowances’’ each time it appears;
                                                 2024.
                                                                                                          *      *     *     *    *                             ■ j. Adding paragraph (f)(1)(ii); and
                                                 *      *    *      *    *
                                                                                                          ■ 23. Amend § 97.825 by:                              ■ k. In paragraph (f)(2):
                                                 ■ 22. Amend § 97.824 by:
                                                                                                          ■ a. In paragraph (a)(1), removing ‘‘and’’            ■ i. Adding ‘‘and not listed in
                                                 ■ a. In paragraph (a)(1), removing ‘‘and’’
                                                                                                          after the semicolon; and                              § 52.38(b)(ii)(D)(2) of this chapter’’
                                                 after the semicolon;                                                                                           before ‘‘(and Indian country’’; and
                                                 ■ b. Adding paragraphs (a)(3) and (4);                   ■ b. Adding paragraphs (a)(3) and (4).
                                                                                                             The additions read as follows:                     ■ ii. Adding ‘‘Original’’ before ‘‘Group 2
                                                 ■ c. In paragraph (c)(2)(ii), removing
                                                                                                                                                                allowances’’ each time it appears.
                                                 ‘‘§ 97.526(d), in’’ and adding in its place              § 97.825 Compliance with CSAPR NOX                       The additions and revision read as
                                                 ‘‘§ 97.526(d), § 97.826(d), or                           Ozone Season Group 2 assurance                        follows:
                                                 § 97.1026(e), in’’; and                                  provisions.
                                                 ■ d. Revising paragraph (d).                                                                                   § 97.826    Banking and conversion.
                                                                                                             (a) * * *
                                                    The additions and revision read as                       (3) Are CSAPR NOX Ozone Season                     *       *    *     *    *
                                                 follows:                                                 Original Group 2 allowances, if the                      (d) * * *
                                                 § 97.824 Compliance with CSAPR NOX                       deductions are not for compliance with                   (3) * * *
                                                 Ozone Season Group 2 emissions                           the CSAPR NOX Ozone Season Group 2                       (ii) After the Administrator has
                                                 limitation.                                              assurance provisions by the owners and                carried out the procedures set forth in
                                                   (a) * * *                                              operators of a group of sources in a State            paragraph (d)(1) of this section and
                                                   (3) Are CSAPR NOX Ozone Season                         listed in § 52.38(b)(2)(ii)(D)(1) of this             § 97.1026(e), upon any determination
                                                 Original Group 2 allowances, if the                      chapter (and Indian country within the                that would otherwise result in the initial
                                                 deductions are not for compliance with                   borders of such a State) for a control                recordation of a given number of CSAPR
                                                                                                          period after 2022; and                                NOX Ozone Season Original Group 2
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                                                 the CSAPR NOX Ozone Season Group 2
                                                 emissions limitation of a source in a                       (4) Are CSAPR NOX Ozone Season                     allowances in the compliance account
                                                 State listed in § 52.38(b)(2)(ii)(D)(1) of               Expanded Group 2 allowances, if the                   for a source in a State listed in
                                                 this chapter (and Indian country within                  deductions are for compliance with the                § 52.38(b)(2)(ii)(D)(1) of this chapter
                                                 the borders of such a State) for a control               CSAPR NOX Ozone Season Group 2                        (and Indian country within the borders
                                                 period after 2022; and                                   assurance provisions by the owners and                of such a State), the Administrator will
                                                   (4) Are CSAPR NOX Ozone Season                         operators of a group of sources in a State            not record such CSAPR NOX Ozone
                                                 Expanded Group 2 allowances, if the                      listed in § 52.38(b)(2)(ii)(D)(1) of this             Season Original Group 2 allowances but


                                            VerDate Sep<11>2014   16:01 Jul 28, 2023   Jkt 259001   PO 00000   Frm 00041   Fmt 4700   Sfmt 4700   E:\FR\FM\31JYR1.SGM   31JYR1
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                                                 49308               Federal Register / Vol. 88, No. 145 / Monday, July 31, 2023 / Rules and Regulations

                                                 instead will allocate and record in such                 least 180 calendar days before                        under § 52.38(b)(7), (8), or (9) of this
                                                 account an amount of CSAPR NOX                           September 30, 2020 and that is located                chapter, to emit one ton of NOX during
                                                 Ozone Season Expanded Group 2                            in a State listed in § 52.38(b)(2)(ii)(D)(1)          a control period of the specified
                                                 allowances for the control period in                     of this chapter (and Indian country                   calendar year for which the
                                                 2023 computed as the quotient, rounded                   within the borders of such a State);                  authorization is allocated or auctioned
                                                 up to the nearest allowance, of such                     *     *      *     *     *                            or of any calendar year thereafter under
                                                 given number of CSAPR NOX Ozone                          ■ 26. Amend § 97.834 by revising                      the CSAPR NOX Ozone Season Group 2
                                                 Season Original Group 2 allowances                       paragraph (d)(2)(i) to read as follows:               Trading Program, where each CSAPR
                                                 divided by the conversion factor                                                                               NOX Ozone Season Group 2 allowance
                                                 determined under paragraph (d)(1)(i)(D)                  § 97.834    Recordkeeping and reporting.              is either a CSAPR NOX Ozone Season
                                                 of this section.                                         *      *    *     *     *                             Original Group 2 allowance or a CSAPR
                                                 *       *    *     *    *                                   (d) * * *                                          NOX Ozone Season Expanded Group 2
                                                    (f) Notwithstanding any other                            (2) * * *                                          allowance.
                                                 provision of this subpart or any SIP                        (i)(A) The calendar quarter covering               *      *    *    *      *
                                                 revision approved under § 52.38(b)(8) or                 May 1, 2017 through June 30, 2017, for                   CSAPR NOX Ozone Season Original
                                                 (9) of this chapter, CSAPR NOX Ozone                     a unit other than a unit described in                 Group 2 allowance means a CSAPR NOX
                                                 Season Expanded Group 2 allowances                       paragraph (d)(2)(i)(B) of this section;               Ozone Season Group 2 allowance other
                                                 or CSAPR NOX Ozone Season Group 3                           (B) The calendar quarter covering May              than a CSAPR NOX Ozone Season
                                                 allowances may be used to satisfy                        1, 2023 through June 30, 2023, for a unit             Expanded Group 2 allowance.
                                                 requirements to hold CSAPR NOX                           that did not commence commercial
                                                                                                                                                                *      *    *    *      *
                                                 Ozone Season Original Group 2                            operation at least 180 calendar days
                                                 allowances under this subpart as                         before September 30, 2020 and that is                 ■ 28. Amend § 97.1026 by:
                                                 follows, provided that nothing in this                   located in a State listed in                          ■ a. Revising the section heading; and
                                                 paragraph (f) alters the time as of which                § 52.38(b)(2)(ii)(D)(1) of this chapter               ■ b. Adding paragraphs (e) and (f).
                                                 any such allowance holding                               (and Indian country within the borders                   The revision and additions read as
                                                 requirement must be met or limits any                    of such a State);                                     follows:
                                                 consequence of a failure to timely meet                  *      *    *     *     *                             § 97.1026 Banking and conversion; bank
                                                 any such allowance holding                                                                                     recalibration.
                                                 requirement:                                             Subpart GGGGG—CSAPR NOX Ozone                         *      *     *    *     *
                                                    (1) * * *                                             Season Group 3 Trading Program
                                                    (ii) After the Administrator has                                                                               (e) Notwithstanding any other
                                                 carried out the procedures set forth in                  ■ 27. Amend § 97.1002 by:
                                                                                                                                                                provision of this subpart, by September
                                                 paragraph (d)(1) of this section and                     ■ a. Adding in alphabetical order a                   18, 2023, the Administrator will
                                                 § 97.1026(e), the owner or operator of a                 definition of ‘‘CSAPR NOX Ozone                       temporarily suspend acceptance of
                                                 CSAPR NOX Ozone Season Group 2                           Season Expanded Group 2 allowance’’;                  CSAPR NOX Ozone Season Group 3
                                                 source in a State listed in                              ■ b. Revising the definition of ‘‘CSAPR               allowance transfers submitted under
                                                 § 52.38(b)(2)(ii)(D)(1) of this chapter                  NOX Ozone Season Group 2 allowance’’;                 § 97.1022 and, before resuming
                                                 (and Indian country within the borders                   and                                                   acceptance of such transfers, will take
                                                 of such a State) may satisfy a                           ■ c. Adding in alphabetical order a                   the actions in paragraphs (e)(1) and (2)
                                                 requirement to hold a given number of                    definition of ‘‘CSAPR NOX Ozone                       of this section with regard to every
                                                 CSAPR NOX Ozone Season Original                          Season Original Group 2 allowance’’.                  compliance account for a CSAPR NOX
                                                 Group 2 allowances for a control period                    The additions and revision read as                  Ozone Season Group 3 source in a State
                                                 in 2017 through 2020 by holding                          follows:                                              listed in § 52.38(b)(2)(ii)(D)(1) of this
                                                 instead, in a general account established                                                                      chapter (and Indian country within the
                                                                                                          § 97.1002    Definitions.                             borders of such a State):
                                                 for this sole purpose, an amount of
                                                 CSAPR NOX Ozone Season Expanded                          *     *      *     *     *                               (1) The Administrator will deduct all
                                                                                                             CSAPR NOX Ozone Season Expanded                    CSAPR NOX Ozone Season Group 3
                                                 Group 2 allowances for the control
                                                                                                          Group 2 allowance means a CSAPR NOX                   allowances allocated for the control
                                                 period in 2023 (or any later control
                                                 period for which the allowance transfer                  Ozone Season Group 2 allowance                        periods in 2021 and 2022 from each
                                                 deadline defined in § 97.802 has passed)                 allocated for a control period after 2022             such compliance account.
                                                 computed as the quotient, rounded up                     under subpart EEEEE of this part,                        (2) For each CSAPR NOX Ozone
                                                 to the nearest allowance, of such given                  § 97.526(d), or § 97.1026(e) to a unit in             Season Group 3 allowance deducted
                                                 number of CSAPR NOX Ozone Season                         a State listed in § 52.38(b)(2)(ii)(D)(1) of          from a given source’s compliance
                                                 Original Group 2 allowances divided by                   this chapter (and Indian country within               account under paragraph (e)(1) of this
                                                 the conversion factor determined under                   the borders of such a State) or allocated             section, the Administrator will allocate
                                                 paragraph (d)(1)(i)(D) of this section.                  or auctioned for a control period after               to the source and record in the source’s
                                                                                                          2022 in accordance with the provisions                compliance account one CSAPR NOX
                                                 *       *    *     *    *                                of a SIP revision approved for such a                 Ozone Season Expanded Group 2
                                                 ■ 25. Amend § 97.830 by revising                         State by the Administrator under                      allowance for the control period in
                                                 paragraph (b)(1) to read as follows:                     § 52.38(b)(7), (8), or (9) of this chapter.           2023.
                                                 § 97.830 General monitoring,                             *     *      *     *     *                               (f) Notwithstanding any other
                                                                                                             CSAPR NOX Ozone Season Group 2
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                                                 recordkeeping, and reporting requirements.                                                                     provision of this subpart, CSAPR NOX
                                                 *      *     *      *    *                               allowance means a limited                             Ozone Season Expanded Group 2
                                                   (b) * * *                                              authorization issued and allocated or                 allowances may be used to satisfy
                                                   (1)(i) May 1, 2017, for a unit other                   auctioned by the Administrator under                  requirements to hold CSAPR NOX
                                                 than a unit described in paragraph                       subpart EEEEE of this part, § 97.526(d),              Ozone Season Group 3 allowances
                                                 (b)(1)(ii) of this section;                              or § 97.1026(e), or by a State or                     under this subpart as follows, provided
                                                   (ii) May 1, 2023, for a unit that did not              permitting authority under a SIP                      that nothing in this paragraph (f) alters
                                                 commence commercial operation at                         revision approved by the Administrator                the time as of which any such allowance


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                                                 holding requirement must be met or                       DEPARTMENT OF HEALTH AND                              Incentive Payment for the calendar year
                                                 limits any consequence of a failure to                   HUMAN SERVICES                                        (CY) 2023 payment year based on their
                                                 timely meet any such allowance holding                                                                         QP status for the 2021 QP performance
                                                 requirement:                                             Centers for Medicare & Medicaid                       period.
                                                                                                          Services
                                                    (1) After the Administrator has carried                                                                        When CMS disbursed the CY 2023
                                                 out the procedures set forth in                          42 CFR Part 414                                       APM Incentive Payments, CMS was
                                                 paragraph (e) of this section, the owner                                                                       unable to verify current Medicare billing
                                                 or operator of a CSAPR NOX Ozone                         [CMS–5538–N]                                          information for some QPs and was
                                                 Season Group 3 source in a State listed                                                                        therefore unable to issue payment. In
                                                 in § 52.38(b)(2)(ii)(D)(1) of this chapter               Medicare Program; Alternative                         order to successfully disburse the APM
                                                 (and Indian country within the borders                   Payment Model (APM) Incentive                         Incentive Payment, CMS is requesting
                                                                                                          Payment Advisory for Clinicians—                      assistance in identifying current
                                                 of such a State) may satisfy a
                                                                                                          Request for Current Billing Information
                                                 requirement to hold a given number of                                                                          Medicare billing information for these
                                                                                                          for Qualifying APM Participants
                                                 CSAPR NOX Ozone Season Group 3                                                                                 QPs in accordance with 42 CFR
                                                 allowances for the control period in                     AGENCY: Centers for Medicare &                        414.1450(c)(8).
                                                 2021 or 2022 by holding instead, in a                    Medicaid Services (CMS), Health and                      CMS has compiled a list of QPs we
                                                 general account established for this sole                Human Services (HHS).                                 have identified as having unverified
                                                 purpose, an equal amount of CSAPR                        ACTION: Payment advisory.                             billing information. These QPs, and any
                                                 NOX Ozone Season Expanded Group 2                                                                              others who anticipated receiving an
                                                 allowances for the control period in                     SUMMARY: This advisory is to alert
                                                                                                                                                                APM Incentive Payment but have not,
                                                 2023 (or any later control period for                    certain clinicians who are Qualifying
                                                                                                          APM participants (QPs) and eligible to                should follow the instructions to
                                                 which the allowance transfer deadline                                                                          provide CMS with updated billing
                                                 defined in § 97.802 has passed).                         receive an Alternative Payment Model
                                                                                                          (APM) Incentive Payment that CMS                      information at the following web
                                                    (2) [Reserved]                                        does not have the current billing                     address: https://qpp.cms.gov/resources/
                                                                                                          information needed to disburse the                    resource-library.
                                                 ■ 29. Amend § 97.1034 by:
                                                                                                          payment. This advisory provides                          If you have any questions concerning
                                                 ■ a. In paragraph (d)(2)(i)(C), removing
                                                                                                          information to these clinicians on how                submission of information through the
                                                 ‘‘June’’ and adding in its place                         to update their billing information to                website, please contact the Quality
                                                 ‘‘September’’;                                           receive this payment.                                 Payment Program Help Desk at 1–866–
                                                 ■ b. In paragraph (d)(3), revising the first             DATES: Updated billing information                    288–8292.
                                                 sentence; and                                            must be received no later than                           All submissions must be received no
                                                 ■ c. In paragraph (d)(4), adding a second                September 1, 2023 (see SUPPLEMENTARY                  later than September 1, 2023. After that
                                                 sentence.                                                INFORMATION for details).
                                                                                                                                                                time, any claims to an APM Incentive
                                                    The revision and addition read as                     FOR FURTHER INFORMATION CONTACT:                      Payment for the CY 2023 payment
                                                 follows:                                                 Tanya Dorm, (410) 786–2216.                           period based on an eligible clinicians’
                                                                                                          SUPPLEMENTARY INFORMATION:                            QP status for the 2021 QP performance
                                                 § 97.1034   Recordkeeping and reporting.
                                                                                                          I. Background                                         period will be forfeited.
                                                 *      *    *    *     *                                                                                          All submissions received by
                                                                                                             Under the Medicare Quality Payment
                                                    (d) * * *                                                                                                   September 1, 2023, will be processed
                                                                                                          Program, an eligible clinician who
                                                    (3) The designated representative                     participates in an Advanced Alternative               together on one date as soon as
                                                 shall submit each quarterly report to the                Payment Model (APM) and meets the                     practicable after September 1, 2023.
                                                 Administrator within 30 days after the                   applicable payment amount or patient                  CMS will not notify the submitter if we
                                                 end of the calendar quarter covered by                   count thresholds for a performance year               are unable to process the APM Incentive
                                                 the report, except that quarterly reports                is a Qualifying APM Participant (QP) for              Payment based on the billing
                                                 required for the calendar quarter                        that year. For payment years 2019                     information submitted for an eligible
                                                 covering May 1, 2023, through June 30,                   through 2024, which corresponds to                    clinician.
                                                 2023, shall be submitted by August 4,                    Performance Periods for 2017 through                     The Administrator of the Centers for
                                                 2023. * * *                                              2022, an eligible clinician who is a QP               Medicare & Medicaid Services (CMS),
                                                    (4) * * * Notwithstanding the                         for a year based on their performance in              Chiquita Brooks-LaSure, having
                                                                                                          a QP Performance Period earns a 5                     reviewed and approved this document,
                                                 provisions of §§ 75.64(a), 75.73(f)(1),
                                                                                                          percent lump sum APM Incentive                        authorizes Evell J. Barco Holland, who
                                                 97.434(d)(2), 97.634(d)(2), and
                                                                                                          Payment that is paid in a payment year                is the Federal Register Liaison, to
                                                 97.734(d)(2), the deadline for the
                                                                                                          that occurs 2 years after the QP
                                                 designated representative of such a unit                                                                       electronically sign this document for
                                                                                                          Performance Period. The amount of the
                                                 to submit the quarterly reports required                                                                       purposes of publication in the Federal
                                                                                                          APM Incentive Payment is equal to 5
                                                 under such additional programs for the                   percent of the estimated aggregate paid               Register.
                                                 calendar quarter covering May 1, 2023,                   amounts for covered professional                        Dated: July 25, 2023.
                                                 through June 30, 2023, shall be August
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                                                                                                          services furnished by the QP during the               Evell J. Barco Holland,
                                                 4, 2023.                                                 calendar year immediately preceding                   Federal Register Liaison, Centers for Medicare
                                                 *      *    *    *     *                                 the payment year.                                     & Medicaid Services.
                                                 [FR Doc. 2023–14180 Filed 7–28–23; 8:45 am]
                                                                                                          II. Provisions of the Advisory                        [FR Doc. 2023–16140 Filed 7–28–23; 8:45 am]
                                                 BILLING CODE 6560–50–P
                                                                                                                                                                BILLING CODE 4120–01–P
                                                                                                             The Centers for Medicare & Medicaid
                                                                                                          Services (CMS) has identified those
                                                                                                          eligible clinicians who earned an APM


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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                      Exhibit I

        Notice of Forthcoming EPA Action to Address Additional Stay Orders
                                 (Aug. 2, 2023)
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                         WASHINGTON, D.C. 20460


                                                        August 2, 2023

                                                                                               OFFICE OF
                                                                                           AIR AND RADIATION




  MEMORANDUM

  SUBJECT:        Notice of Forthcoming EPA Action to Address Additional Judicial Stay Orders

  FROM:           Joseph Goffman
                  Principal Deputy Assistant Administrator
                  Office of Air and Radiation


  On February 13, 2023, EPA published a final action fully or partially disapproving state
  implementation plans (SIPs) submitted by 21 states to address the states’ obligations under Clean
  Air Act section 110(a)(2)(D)(i)(I), commonly referred to as the “good neighbor” provision, with
  respect to the 2015 national ambient air quality standards (NAAQS) for ozone (the SIP
  Disapproval Action). 1 Consistent with EPA’s obligation under Clean Air Act section 110(c)(1),
  following the SIP Disapproval action the EPA Administrator signed a separate final action, the
  “Good Neighbor Plan,” establishing federal implementation plan requirements to address the
  states’ good neighbor obligations. 2 The Good Neighbor Plan’s requirements are scheduled to take
  effect on August 4, 2023, 60 days after the date of that rule’s publication in the Federal Register.

  After signature of the Good Neighbor Plan, courts granted motions for partial stays of the SIP
  Disapproval Action with respect to several states. To comply with those orders, on June 29, 2023,
  the EPA Administrator signed another final action: the Interim Final Rule. 3 In compliance with
  the courts’ decisions, this rule stays the effectiveness of the Good Neighbor Plan’s requirements
  on an interim basis for emissions sources in Arkansas, Kentucky, Louisiana, Mississippi, Missouri,
  and Texas. This rule also ensures continued implementation of previously established
  requirements for sources in these states to mitigate interstate air pollution with respect to other
  ozone NAAQS while the Good Neighbor Plan’s requirements are stayed.




  1
    Air Plan Disapprovals; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
  Quality Standards, 88 FR 9336 (February 13, 2023).
  2
    Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards, 88 FR 36654 (June 5,
  2023).
  3
    Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards; Response to Judicial
  Stays of SIP Disapproval Action for Certain States, 88 FR 49295 (July 31, 2023).
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  Since signature of the Interim Final Rule, courts have granted additional motions for partial stays
  of the SIP Disapproval Action as to Minnesota, 4 Nevada, 5 Oklahoma, and Utah. 6 To comply with
  these additional orders, EPA will take action in the near future to extend the Interim Final Rule to
  stay the effectiveness of the Good Neighbor Plan’s requirements for sources in Minnesota, Nevada,
  Oklahoma, and Utah while the orders partially staying the SIP Disapproval Action with respect to
  these states remain in place, and sources in these states are not required to comply with the Good
  Neighbor Plan at this time.

  Motions for partial stays of the SIP Disapproval Action regarding additional states remain pending
  in other courts. If those courts grant such motions, EPA will extend the Interim Final Rule to ensure
  that the Good Neighbor Plan’s requirements are not effective for sources in any additional state
  where EPA lacks federal implementation authority because of a stay order, and sources in such
  states would likewise not be required to comply with the Good Neighbor Plan.

  EPA plans to take action extending the Interim Final Rule once all pending motions for partial
  stays are resolved. This action will make clear that the status quo is maintained as to all such states.
  To the extent that sources in a given state are covered by previously established requirements to
  mitigate interstate air pollution with respect to other ozone NAAQS, EPA also intends to apply the
  provisions of the Interim Final Rule to the sources as needed to ensure that implementation of the
  previously established requirements continues while the effectiveness of the Good Neighbor Plan’s
  requirements is stayed.




  4
    Unpublished Order, Allete, Inc. v. EPA, No. 23-1776 (8th Cir. July 5, 2023) (staying SIP Disapproval Action as to
  Minnesota).
  5
    Unpublished Order, Nevada Cement Co. v. EPA, No. 23-682 (9th Cir. July 3, 2023) (staying SIP Disapproval
  Action as to Nevada).
  6
    Unpublished Order, Utah v. EPA, No. 23-9509, PacifiCorp v. EPA, No. 23-9512, Utah Associated Municipal
  Power Systems v. EPA, No. 23-9520, Oklahoma v. EPA, No. 23-9514, and Oklahoma Gas & Electric Co. v. EPA,
  No. 23-9521 (10th Cir. July 31, 2023) (staying SIP Disapproval Action as to Oklahoma and Utah).

                                                           2
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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                      Exhibit J

   Air Plan Approval; Wyoming; Interstate Transport of Air Pollution for the 2015 8-
       Hour Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 54,998
                                 (Aug. 14, 2023)
                                                        USCA Case #23-1207                         Document #2013657                                  Filed: 08/22/2023              Page 1526 of 1689
                                                     54998                  Federal Register / Vol. 88, No. 155 / Monday, August 14, 2023 / Proposed Rules

                                                     IV. Incorporation by Reference                             • Is not subject to requirements of                  Dated: August 8, 2023.
                                                       In this rule, EPA is proposing to                     section 12(d) of the National                         Debra Shore,
                                                     include in a final EPA rule regulatory                  Technology Transfer and Advancement                   Regional Administrator, Region 5.
                                                     text that includes incorporation by                     Act of 1995 (15 U.S.C. 272 note) because              [FR Doc. 2023–17337 Filed 8–11–23; 8:45 am]
                                                     reference. In accordance with                           application of those requirements would               BILLING CODE 6560–50–P
                                                     requirements of 1 CFR 51.5, EPA is                      be inconsistent with the CAA.
                                                     proposing to incorporate by reference                      In addition, the SIP is not approved
                                                     certain provisions of the Ohio Division                 to apply on any Indian reservation land               ENVIRONMENTAL PROTECTION
                                                     of Air Pollution Control Permit-to-                     or in any other area where EPA or an                  AGENCY
                                                     Install and Operate for Forest City                     Indian tribe has demonstrated that a
                                                                                                                                                                   40 CFR Part 52
                                                     Technologies Plant 4, effective June 23,                tribe has jurisdiction. In those areas of
                                                     2020, as described in Section III. of this              Indian country, the rule does not have                [EPA–R08–OAR–2023–0375; EPA–HQ–
                                                     preamble. EPA has made, and will                        Tribal implications and will not impose               OAR–2021–0663; FRL–11233–01–R8]
                                                     continue to make, these documents                       substantial direct costs on Tribal
                                                                                                             governments or preempt Tribal law as                  Air Plan Approval; Wyoming; Interstate
                                                     generally available through
                                                                                                             specified by Executive Order 13175 (65                Transport of Air Pollution for the 2015
                                                     www.regulations.gov and at the EPA
                                                                                                             FR 67249, November 9, 2000).                          8-Hour Ozone National Ambient Air
                                                     Region 5 Office (please contact the
                                                                                                                                                                   Quality Standards
                                                     person identified in the FOR FURTHER                       Executive Order 12898 (Federal
                                                     INFORMATION CONTACT section of this                     Actions To Address Environmental                      AGENCY: Environmental Protection
                                                     preamble for more information).                         Justice in Minority Populations and                   Agency (EPA).
                                                     V. Statutory and Executive Order                        Low-Income Populations, 59 FR 7629,                   ACTION: Proposed rule and withdrawal
                                                     Reviews                                                 February 16, 1994) directs Federal                    of proposed rule.
                                                                                                             agencies to identify and address
                                                        Under the CAA, the Administrator is                                                                        SUMMARY: Pursuant to the Federal Clean
                                                                                                             ‘‘disproportionately high and adverse
                                                     required to approve a SIP submission                                                                          Air Act (CAA or the Act), the
                                                                                                             human health or environmental effects’’
                                                     that complies with the provisions of the                                                                      Environmental Protection Agency (EPA)
                                                                                                             of their actions on minority populations
                                                     CAA and applicable Federal regulations.                                                                       is proposing to approve the portion of
                                                                                                             and low-income populations to the
                                                     42 U.S.C. 7410(k); 40 CFR 52.02(a).                                                                           a Wyoming State Implementation Plan
                                                                                                             greatest extent practicable and
                                                     Thus, in reviewing SIP submissions,                                                                           (SIP) submission addressing interstate
                                                                                                             permitted by law. EPA defines                         transport for the 2015 8-hour ozone
                                                     EPA’s role is to approve state choices,                 environmental justice (EJ) as ‘‘the fair
                                                     provided that they meet the criteria of                                                                       national ambient air quality standards
                                                                                                             treatment and meaningful involvement                  (NAAQS). EPA is also withdrawing our
                                                     the CAA. Accordingly, this action                       of all people regardless of race, color,
                                                     merely approves state law as meeting                                                                          prior May 24, 2022 proposed
                                                                                                             national origin, or income with respect               disapproval of the interstate transport
                                                     Federal requirements and does not                       to the development, implementation,
                                                     impose additional requirements beyond                                                                         portion of the Wyoming SIP submission.
                                                                                                             and enforcement of environmental laws,                The ‘‘good neighbor’’ or ‘‘interstate
                                                     those imposed by state law. For that                    regulations, and policies.’’ EPA further
                                                     reason, this action:                                                                                          transport’’ provision requires that each
                                                                                                             defines the term fair treatment to mean               state’s SIP contain adequate provisions
                                                        • Is not a significant regulatory action             that ‘‘no group of people should bear a
                                                     subject to review by the Office of                                                                            to prohibit emissions from within the
                                                                                                             disproportionate burden of                            state from significantly contributing to
                                                     Management and Budget under                             environmental harms and risks,
                                                     Executive Orders 12866 (58 FR 51735,                                                                          nonattainment or interfering with
                                                                                                             including those resulting from the                    maintenance of the NAAQS in other
                                                     October 4, 1993), 13563 (76 FR 3821,                    negative environmental consequences of
                                                     January 21, 2011), and 14094 (88 FR                                                                           states. This requirement is part of the
                                                                                                             industrial, governmental, and                         broader set of ‘‘infrastructure’’
                                                     21879, April 11, 2023);                                 commercial operations or programs and
                                                        • Does not impose an information                                                                           requirements, which are designed to
                                                                                                             policies.’’                                           ensure that the structural components of
                                                     collection burden under the provisions
                                                     of the Paperwork Reduction Act (44                         OEPA did not evaluate environmental                each state’s air quality management
                                                     U.S.C. 3501 et seq.);                                   justice considerations as part of its SIP             program are adequate to meet the state’s
                                                        • Is certified as not having a                       submittal; the CAA and applicable                     responsibilities under the CAA.
                                                     significant economic impact on a                        implementing regulations neither                      DATES: Written comments must be
                                                     substantial number of small entities                    prohibit nor require such an evaluation.              received on or before September 13,
                                                     under the Regulatory Flexibility Act (5                 EPA did not perform an EJ analysis and                2023. As of August 14, 2023, the
                                                     U.S.C. 601 et seq.);                                    did not consider EJ in this action.                   proposed rule published on May 24,
                                                        • Does not contain any unfunded                      Consideration of EJ is not required as                2022, at 87 FR 31495, is withdrawn.
                                                     mandate or significantly or uniquely                    part of this action, and there is no                  ADDRESSES: Submit your comments,
                                                     affect small governments, as described                  information in the record inconsistent                identified by Docket ID No. EPA–R08–
                                                     in the Unfunded Mandates Reform Act                     with the stated goal of E.O. 12898 of                 OAR–2023–0375, to the Federal
                                                     of 1995 (Pub. L. 104–4);                                achieving environmental justice for                   Rulemaking Portal: https://
                                                        • Does not have federalism                           people of color, low-income                           www.regulations.gov. Follow the online
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                                                     implications as specified in Executive                  populations, and Indigenous peoples.                  instructions for submitting comments.
                                                     Order 13132 (64 FR 43255, August 10,                    List of Subjects in 40 CFR Part 52                    Once submitted, comments cannot be
                                                     1999);                                                                                                        edited or removed from
                                                        • Is not subject to Executive Order                    Environmental protection, Air                       www.regulations.gov. EPA may publish
                                                     13045 (62 FR 19885, April 23, 1997)                     pollution control, Incorporation by                   any comment received to its public
                                                     because it approves a state program;                    reference, Intergovernmental relations,               docket. Do not submit electronically any
                                                        • Is not a significant regulatory action             Reporting and recordkeeping                           information you consider to be
                                                     subject to Executive Order 13211 (66 FR                 requirements, Volatile organic                        Confidential Business Information (CBI)
                                                     28355, May 22, 2001); and                               compounds.                                            or other information whose disclosure is


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                                                     restricted by statute. Multimedia                          1. Selection of Analytic Year                       quality problems under CAA section
                                                     submissions (audio, video, etc.) must be                   2. Step 1 of the 4-Step Interstate Transport        110(a)(2)(D)(i)(I).3
                                                     accompanied by a written comment.                             Framework
                                                                                                                3. Step 2 of the 4-Step Interstate Transport        B. Description of EPA’s 4-Step Interstate
                                                     The written comment is considered the
                                                                                                                   Framework                                        Transport Regulatory Process
                                                     official comment and should include
                                                     discussion of all points you wish to                       4. Step 3 of the 4-Step Interstate Transport           EPA is using the 4-step interstate
                                                     make. EPA will generally not consider                         Framework                                        transport framework (or 4-step
                                                     comments or comment contents located                       5. Step 4 of the 4-Step Interstate Transport        framework) to evaluate Wyoming’s
                                                     outside of the primary submission (i.e.,                      Framework                                        January 3, 2019 SIP submission
                                                     on the web, cloud, or other file sharing                II. Wyoming SIP Submission Addressing                  addressing interstate transport for the
                                                                                                                   Interstate Transport of Air Pollution for        2015 ozone NAAQS. EPA has addressed
                                                     system). For additional submission
                                                                                                                   the 2015 8-Hour Ozone NAAQS                      the interstate transport requirements of
                                                     methods, the full EPA public comment
                                                                                                                A. Summary of Wyoming’s 2015 Ozone                  CAA section 110(a)(2)(D)(i)(I) with
                                                     policy, information about CBI or
                                                                                                                   Interstate Transport SIP Submission              respect to prior NAAQS in several
                                                     multimedia submissions, and general
                                                                                                                B. Prior Notices Related to Wyoming’s SIP           regulatory actions, including the Cross-
                                                     guidance on making effective                                  Submission
                                                     comments, please visit https://                                                                                State Air Pollution Rule (CSAPR),
                                                                                                             III. EPA’s Evaluation                                  which addressed interstate transport
                                                     www2.epa.gov/dockets/commenting-                        IV. Proposed Action
                                                     epa-dockets.                                                                                                   with respect to the 1997 ozone NAAQS
                                                                                                             V. Statutory and Executive Order Reviews               as well as the 1997 and 2006 fine
                                                        Docket: There are two dockets
                                                     supporting this action, EPA–R08–OAR–                    I. Background                                          particulate matter standards,4 the Cross-
                                                     2023–0375 and EPA–HQ–OAR–2021–                                                                                 State Air Pollution Rule Update (CSAPR
                                                     0663. Docket No. EPA–R08–OAR–2023–                      A. Description of Statutory Background                 Update) 5 and the Revised Cross-State
                                                     0375 contains information specific to                                                                          Air Pollution Rule Update (Revised
                                                                                                                On October 1, 2015, EPA promulgated                 CSAPR Update),6 both of which
                                                     Wyoming, including the notice of                        a revision to the ozone NAAQS (2015 8-
                                                     proposed rulemaking. Docket No. EPA–                                                                           addressed the 2008 ozone NAAQS.7
                                                                                                             hour ozone NAAQS), lowering the level                     Shaped through the years by input
                                                     HQ–OAR–2021–0663 contains                               of both the primary and secondary
                                                     additional modeling files, emissions                                                                           from state air agencies 8 and other
                                                                                                             standards to 0.070 parts per million                   stakeholders on EPA’s prior interstate
                                                     inventory files, technical support                      (ppm) for the 8-hour standard.1 Section
                                                     documents, and other relevant                                                                                  transport rulemakings and SIP actions,9
                                                                                                             110(a)(1) of the CAA requires states to                as well as a number of court decisions,
                                                     supporting documentation regarding                      submit, within 3 years after                           EPA has developed and used the
                                                     interstate transport of emissions for the               promulgation of a new or revised                       following 4-step interstate transport
                                                     2015 8-hour ozone NAAQS which are                       standard, SIP submissions meeting the                  framework to evaluate a state’s
                                                     being used to support this action. All                  applicable requirements of section                     obligations to eliminate interstate
                                                     comments regarding information in                       110(a)(2).2 One of these applicable                    transport emissions under the interstate
                                                     either of these dockets are to be made                  requirements is found in CAA section                   transport provision for the ozone
                                                     in Docket No. EPA–R08–OAR–2023–                         110(a)(2)(D)(i)(I), otherwise known as                 NAAQS: (1) identify monitoring sites
                                                     0375. All documents in the docket are                   the ‘‘interstate transport’’ or ‘‘good                 that are projected to have problems
                                                     listed in the www.regulations.gov index.                neighbor’’ provision, which generally                  attaining and/or maintaining the
                                                     Although listed in the index, some                      requires SIPs to contain adequate                      NAAQS (i.e., nonattainment and/or
                                                     information is not publicly available,                  provisions to prohibit in-state emissions              maintenance receptors); (2) identify
                                                     e.g., CBI or other information whose                    activities from having certain adverse
                                                     disclosure is restricted by statute.                    air quality effects on other states due to                3 See North Carolina v. EPA, 531 F.3d 896, 909–
                                                     Certain other material, such as                         interstate transport of pollution. There               11 (D.C. Cir. 2008).
                                                     copyrighted material, will be publicly                  are two so-called ‘‘prongs’’ within CAA                   4 Federal Implementation Plans: Interstate

                                                     available only in hard copy. Publicly                   section 110(a)(2)(D)(i)(I). A SIP for a                Transport of Fine Particulate Matter and Ozone and
                                                                                                                                                                    Correction of SIP Approvals, 76 FR 48208 (Aug. 8,
                                                     available docket materials are available                new or revised NAAQS must contain                      2011).
                                                     electronically in www.regulations.gov.                  adequate provisions prohibiting any                       5 Cross-State Air Pollution Rule Update for the

                                                     FOR FURTHER INFORMATION CONTACT:                        source or other type of emissions                      2008 Ozone NAAQS, 81 FR 74504 (Oct. 26, 2016).
                                                     Adam Clark, Air and Radiation                           activity within the state from emitting
                                                                                                                                                                       6 Revised Cross-State Air Pollution Rule Update

                                                     Division, EPA, Region 8, Mailcode                                                                              for the 2008 Ozone NAAQS, 86 FR 23054 (April 30,
                                                                                                             air pollutants in amounts that will                    2021).
                                                     8ARD–IO, 1595 Wynkoop Street,                           significantly contribute to                               7 In 2019, the D.C. Circuit Court of Appeals
                                                     Denver, Colorado 80202–1129,                            nonattainment of the NAAQS in another                  remanded the CSAPR Update to the extent it failed
                                                     telephone number: (303) 312–7104,                       state (prong 1) or interfere with                      to require upwind states to eliminate their
                                                     email address: clark.adam@epa.gov.                                                                             significant contribution by the next applicable
                                                                                                             maintenance of the NAAQS in another                    attainment date by which downwind states must
                                                     SUPPLEMENTARY INFORMATION:                              state (prong 2). EPA and states must give              come into compliance with the NAAQS, as
                                                     Throughout this document whenever                       independent significance to prong 1 and                established under CAA section 181(a). Wisconsin v.
                                                     ‘‘we,’’ ‘‘us,’’ or ‘‘our’’ is used, we mean             prong 2 when evaluating downwind air                   EPA, 938 F.3d 303, 313 (D.C. Cir. 2019). The
                                                                                                                                                                    Revised CSAPR Update for the 2008 Ozone
                                                     EPA.                                                                                                           NAAQS, 86 FR 23054 (April 30, 2021), responded
                                                                                                               1 National Ambient Air Quality Standards for         to the remand of the CSAPR Update in Wisconsin
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                                                                                                             Ozone, Final Rule, 80 FR 65292 (October 26, 2015).     and the vacatur of a separate rule, the ‘‘CSAPR
                                                     I. Background                                           Although the level of the standard is specified in     Close-Out,’’ 83 FR 65878 (December 21, 2018), in
                                                        A. Description of Statutory Background               the units of ppm, ozone concentrations are also        New York v. EPA, 781 F. App’x. 4 (D.C. Cir. 2019).
                                                                                                             described in parts per billion (ppb). For example,     The Revised CSAPR Update was upheld in Midwest
                                                        B. Description of EPA’s 4-Step Interstate
                                                                                                             0.070 ppm is equivalent to 70 ppb.                     Ozone Group v. EPA, 61 F.4th 187 (D.C. Cir. 2023).
                                                          Transport Regulatory Process                         2 SIP revisions that are intended to meet the           8 See 63 FR 57356, 57361 (October 27, 1998).
                                                        C. Background on EPA’s Ozone Transport               applicable requirements of section 110(a)(1) and (2)      9 In addition to CSAPR rulemakings, other
                                                          Modeling Information                               of the CAA are often referred to as infrastructure     regional rulemakings addressing ozone transport
                                                        D. EPA’s Approach to Evaluating Interstate           SIPs and the applicable elements under section         include the ‘‘NOX SIP Call,’’ 63 FR 57356 (October
                                                          Transport SIPs for the 2015 Ozone                  110(a)(2) are referred to as infrastructure            27, 1998), and the ‘‘Clean Air Interstate Rule’’
                                                          NAAQS                                              requirements.                                          (CAIR), 70 FR 25162 (May 12, 2005).



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                                                     states that impact those air quality                    intended to provide information to                      Following the release of the modeling
                                                     problems in other (i.e., downwind)                      assist states’ efforts to develop SIP                 data shared in the March 2018
                                                     states sufficiently such that the states                submissions to address interstate                     memorandum, EPA performed updated
                                                     are considered ‘‘linked’’ and therefore                 transport obligations for the 2008 ozone              modeling using a 2016-based emissions
                                                     warrant further review and analysis; (3)                NAAQS.12 On March 27, 2018, EPA                       modeling platform (i.e., 2016v1). This
                                                     identify the emissions reductions                       issued a memorandum (March 2018                       emissions platform was developed
                                                     necessary (if any), applying a                          memorandum) noting that the same                      under the EPA/Multi-Jurisdictional
                                                     multifactor analysis, to eliminate each                 2023 modeling data released in the                    Organization (MJO)/state collaborative
                                                     linked upwind state’s significant                       October 2017 memorandum could also                    project.16 This collaborative project was
                                                     contribution to nonattainment or                        be useful for identifying potential                   a multi-year joint effort by EPA, MJOs,
                                                     interference with maintenance of the                    downwind air quality problems with                    and states to develop a new, more recent
                                                     NAAQS at the locations identified in                    respect to the 2015 ozone NAAQS at                    emissions platform for use by EPA and
                                                     Step 1; and (4) adopt permanent and                     Step 1 of the 4-step interstate transport             states in regulatory modeling as an
                                                     enforceable measures needed to achieve                  framework.13 The March 2018                           improvement over the dated 2011-based
                                                     those emissions reductions.                             memorandum also included the then                     platform that EPA had used to project
                                                                                                             newly available contribution modeling                 ozone design values and contribution
                                                     C. Background on EPA’s Ozone
                                                                                                             data for 2023 to assist states in                     data provided in the 2017 and 2018
                                                     Transport Modeling Information
                                                                                                             evaluating their impact on potential                  memoranda. EPA used the 2016v1
                                                        In general, EPA has performed                        downwind air quality problems for the                 emissions to project ozone design values
                                                     nationwide air quality modeling to                      2015 8-hour ozone NAAQS under Step                    and contributions for 2023. On October
                                                     project ozone design values which are                   2 of the 4-step interstate transport                  30, 2020, in the notice of proposed
                                                     used in combination with measured                       framework.14 EPA notes that the State of              rulemaking for the Revised CSAPR
                                                     data to identify nonattainment and                      Wyoming relied upon 2023 modeling                     Update, EPA released and accepted
                                                     maintenance receptors at Step 1. To                     contribution data released with the                   public comment on 2023 modeling that
                                                     quantify the contribution of emissions                  March 2018 memorandum in                              used the 2016v1 emissions platform.17
                                                     from individual upwind states on 2023                   developing its 2019 SIP submission.                   Although the Revised CSAPR Update
                                                     ozone design values for the identified                  EPA subsequently issued two more                      addressed transport for the 2008 ozone
                                                     downwind nonattainment and                              memoranda in August and October                       NAAQS, the projected design values
                                                     maintenance receptors at Step 2, EPA                    2018, providing additional information                and contributions from the 2016v1
                                                     has performed multiple iterations of                    to states developing interstate transport             platform were also useful for identifying
                                                     nationwide, state-level ozone source                    SIP submissions for the 2015 ozone                    downwind ozone problems and linkages
                                                     apportionment modeling for 2023. The                    NAAQS concerning, respectively,                       with respect to the 2015 ozone
                                                     source apportionment modeling                           potential contribution thresholds that                NAAQS.18
                                                     projected contributions to ozone at                     may be appropriate to apply in Step 2                   Following the final Revised CSAPR
                                                     receptors from precursor emissions of                   of the 4-step interstate transport                    Update, EPA made further updates to
                                                     anthropogenic nitrogen oxides (NOX)                     framework, and considerations for                     the 2016-based emissions platform to
                                                     and volatile organic compounds (VOCs)                   identifying downwind areas that may                   include updated onroad mobile
                                                     in individual upwind states.                            have problems maintaining the standard                emissions from Version 3 of EPA’s
                                                        EPA has released several documents                   at Step 1 of the 4-step interstate                    Motor Vehicle Emission Simulator
                                                     containing projected ozone design                       transport framework.15                                (MOVES) model (MOVES3) 19 and
                                                     values, contributions, and information                                                                        updated emissions projections for
                                                     relevant to air agencies for evaluation of                 12 See Information on the Interstate Transport     electric generating units (EGUs) that
                                                     interstate transport with respect to the                State Implementation Plan Submissions for the         reflected the emissions reductions from
                                                     2015 ozone NAAQS. First, on January 6,                  2008 Ozone National Ambient Air Quality
                                                                                                             Standards under Clean Air Act Section
                                                                                                                                                                   the Revised CSAPR Update, recent
                                                     2017, EPA published a notice of data                    110(a)(2)(D)(i)(I), October 27, 2017, available in    information on plant closures, and other
                                                     availability (NODA) in which the                        docket ID No. EPA–HQ–OAR–2021–0663.                   inventory improvements. EPA
                                                     Agency requested comment on                                13 See Information on the Interstate Transport
                                                                                                                                                                   published these emissions inventories
                                                     preliminary interstate ozone transport                  State Implementation Plan Submissions for the         on its website in September of 2021 and
                                                     data including projected ozone design                   2015 Ozone National Ambient Air Quality
                                                                                                             Standards under Clean Air Act Section                 invited initial feedback from states and
                                                     values and interstate contributions for                 110(a)(2)(D)(i)(I), March 27, 2018 (‘‘March 2018      other interested stakeholders.20 The
                                                     2023 using a 2011 base year platform.10                 memorandum’’), available in docket ID No. EPA–        construct of the updated emissions
                                                     In the NODA, EPA used the year 2023                     HQ–OAR–2021–0663.                                     platform, 2016v2, is described in the
                                                                                                                14 The March 2018 memorandum, however,
                                                     as the analytic year for this preliminary
                                                     modeling because this year aligns with                  provided, ‘‘While the information in this               16 The results of this modeling, as well as the
                                                                                                             memorandum and the associated air quality
                                                     the expected attainment year for                        analysis data could be used to inform the             underlying modeling files, are included in docket
                                                     Moderate ozone nonattainment areas for                  development of these SIPs, the information is not     ID No. EPA–HQ–OAR–2021–0663. The 2016v1
                                                                                                                                                                   emissions modeling technical support document is
                                                     the 2015 8-hour ozone NAAQS.11 On                       a final determination regarding states’ obligations
                                                                                                                                                                   available in Docket ID No. EPA–HQ–OAR–2020–
                                                     October 27, 2017, EPA released a                        under the good neighbor provision. Any such
                                                                                                             determination would be made through notice-and-       0272–0187. Both dockets are available at https://
                                                     memorandum (October 2017                                comment rulemaking.’’                                 www.regulations.gov.
                                                     memorandum) containing updated                             15 See Analysis of Contribution Thresholds for
                                                                                                                                                                     17 See 85 FR 68964, 68981.
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                                                                                                                                                                     18 See the Air Quality Modeling Technical
                                                     modeling data for 2023, which                           Use in Clean Air Act Section 110(a)(2)(D)(i)(I)
                                                                                                             Interstate Transport State Implementation Plan        Support Document for the Final Revised Cross-State
                                                     incorporated changes made in response                                                                         Air Pollution Rule Update, included in the
                                                                                                             Submissions for the 2015 Ozone National Ambient
                                                     to comments on the NODA, and was                        Air Quality Standards, August 31, 2018 (‘‘August      Headquarters docket ID No. EPA–HQ–OAR–2021–
                                                                                                             2018 memorandum’’), and Considerations for            0663.
                                                       10 See Notice of Availability of the Environmental                                                            19 Additional details and documentation related
                                                                                                             Identifying Maintenance Receptors for Use in Clean
                                                     Protection Agency’s Preliminary Interstate Ozone        Air Act Section 110(a)(2)(D)(i)(I) Interstate         to the MOVES3 model can be found at https://
                                                     Transport Modeling Data for the 2015 8-hour Ozone       Transport State Implementation Plan Submissions       www.epa.gov/moves/latest-version-motor-vehicle-
                                                     National Ambient Air Quality Standard (NAAQS),          for the 2015 Ozone National Ambient Air Quality       emission-simulator-moves.
                                                     82 FR 1733 (January 6, 2017).                           Standards, October 19, 2018, available in docket ID     20 https://www.epa.gov/air-emissions-modeling/
                                                       11 82 FR 1735.                                        No. EPA–HQ–OAR–2021–0663.                             2016v2-platform.



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                                                     ‘‘Technical Support Document (TSD):                     2 of the 4-step interstate transport                  practicable’’ and no later than the
                                                     Preparation of Emissions Inventories for                framework, which will generally be                    schedule of attainment dates provided
                                                     the 2016v2 North American Emissions                     referenced within this action as the                  in CAA section 181(a)(1).24 Several D.C.
                                                     Modeling Platform,’’ hereafter known as                 ‘‘2016v3 modeling’’ for 2023 and 2026.                Circuit court decisions address the issue
                                                     the 2016v2 Emissions Modeling TSD,                      By using the updated modeling results,                of the relevant analytic year for the
                                                     and is included in Docket No. EPA–HQ–                   EPA is using the most current and                     purposes of evaluating ozone transport
                                                     OAR–2021–0663. The EPA performed                        technically appropriate information for               air-quality problems. On September 13,
                                                     air quality modeling using the 2016v2                   this proposed rulemaking. In this                     2019, the D.C. Circuit issued a decision
                                                     emissions to provide projections of                     proposed action, EPA is accepting                     in Wisconsin, remanding the CSAPR
                                                     ozone design values and contributions                   public comment on the 2016v3                          Update to the extent that it failed to
                                                     in 2023 and 2026 that reflect the effects               modeling solely as it relates to                      require upwind states to eliminate their
                                                     on air quality of the 2016v2 emissions                  Wyoming’s interstate transport                        significant contribution by the next
                                                     platform. EPA used the results of the                   obligations for the 2015 ozone NAAQS.                 applicable attainment date by which
                                                     2016v2 modeling as part of our previous                 EPA is not reopening the modeling in                  downwind states must come into
                                                     proposed evaluation of the Wyoming                      relation to any other state or regulatory             compliance with the NAAQS, as
                                                     2019 SIP submission with respect to                     action. Any comments received on the                  established under CAA section 181(a).
                                                     Steps 1 and 2 of the 4-step interstate                  modeling that are not relevant to the                 See 938 F.3d 303, 313.
                                                     transport framework. See 87 FR 31495                    evaluation of Wyoming’s interstate-                      On May 19, 2020, the D.C. Circuit
                                                     (May 24, 2022).                                         transport obligations will be treated as              issued a decision in Maryland v. EPA
                                                        EPA invited and received comments                    beyond the scope of this action.                      that cited the Wisconsin decision in
                                                     on the 2016v2 emissions inventories                                                                           holding that EPA must assess the impact
                                                     and modeling used to support                            D. EPA’s Approach to Evaluating                       of interstate transport on air quality at
                                                     proposals, including the proposal on                    Interstate Transport SIPs for the 2015                the next downwind attainment date,
                                                     Wyoming, related to interstate transport                Ozone NAAQS                                           including Marginal area attainment
                                                     under the 2015 ozone NAAQS. In                             EPA proposes to apply a consistent                 dates, in evaluating the basis for EPA’s
                                                     response to these comments, EPA made                    set of policy judgments across all states             denial of a petition under CAA section
                                                     a number of updates to the 2016v2                       for purposes of evaluating interstate                 126(b) Maryland v. EPA, 958 F.3d 1185,
                                                     inventories and model design to                         transport obligations and the                         1203–04 (D.C. Cir. 2020) (Maryland).
                                                     construct a 2016v3 emissions platform                   approvability of interstate transport SIP             The court noted that ‘‘section 126(b)
                                                     which was used to update the air                        submissions for the 2015 ozone NAAQS                  incorporates the Good Neighbor
                                                     quality modeling. EPA used this                         under CAA section 110(a)(2)(D)(i)(I).                 Provision,’’ and, therefore, ‘‘EPA must
                                                     updated modeling to inform a final                      These policy judgments conform with                   find a violation [of section 126] if an
                                                     rulemaking taking final action on 21                    relevant case law and past agency                     upwind source will significantly
                                                     interstate transport SIP submissions for                practice as reflected in CSAPR and                    contribute to downwind nonattainment
                                                     the 2015 ozone NAAQS, which did not                     related rulemakings. Employing a                      at the next downwind attainment
                                                     include Wyoming.21 Details on the                       nationally consistent approach is                     deadline. Therefore, the agency must
                                                     2016v3 air quality modeling and the                     particularly important in the context of              evaluate downwind air quality at that
                                                     methods for projecting design values                    interstate ozone transport, which is a                deadline, not at some later date.’’ Id. at
                                                     and determining contributions in 2023                   regional-scale pollution problem                      1204 (emphasis added). EPA interprets
                                                     and 2026 are described in the TSD titled                involving many smaller contributors.                  the court’s holding in Maryland as
                                                     ‘‘Air Quality Modeling Final Rule                       Effective policy solutions to the problem             requiring the states and the Agency,
                                                     TSD—2015 Ozone NAAQS Good                               of interstate ozone transport going back              under the good neighbor provision, to
                                                     Neighbor Plan,’’ hereafter known as the                 to the NOX SIP Call have necessitated                 assess downwind air quality as
                                                     Final Good Neighbor Plan AQM TSD.22                     the application of a uniform framework                expeditiously as practicable and no later
                                                     Additional details related to the                       of policy judgments in order to ensure                than the next applicable attainment
                                                     updated 2016v3 emissions platform are                   an ‘‘efficient and equitable’’ approach.              date,25 which is currently the 2015
                                                     located in the TSD titled ‘‘Preparation of              See EME Homer City Generation, LP v.                  ozone NAAQS Moderate area
                                                     Emissions Inventories for the 2016v3                    EPA, 572 U.S. 489, 519 (2014).                        attainment date of August 3, 2024 under
                                                     North American Emissions Modeling                          The remainder of this section                      CAA section 181 for ozone
                                                     Platform,’’ hereafter known as the                      describes EPA’s analytic framework                    nonattainment.26 Thus, 2023 remains
                                                     2016v3 Emissions Modeling TSD,                          with respect to analytic year, definition
                                                     included in Docket ID No. EPA–HQ–                       of nonattainment and maintenance                         24 For attainment dates for the 2015 8-hour ozone

                                                     OAR–2021–0663.23                                        receptors, selection of contribution                  NAAQS, refer to CAA section 181(a), 40 CFR
                                                                                                                                                                   51.1303, and Additional Air Quality Designations
                                                        In this proposed action, EPA                         threshold, and multifactor control                    for the 2015 Ozone National Ambient Air Quality
                                                     primarily relies on modeling based on                   strategy assessment.                                  Standards, 83 FR 25776 (June 4, 2018, effective
                                                     the updated 2016v3 emissions platform                                                                         Aug. 3, 2018).
                                                     in evaluating Wyoming’s 2019                            1. Selection of Analytic Year                            25 We note that the court in Maryland did not

                                                     submission with respect to Steps 1 and                     In general, the states and EPA must                have occasion to evaluate circumstances in which
                                                                                                                                                                   EPA may determine that an upwind linkage to a
                                                                                                             implement the interstate transport                    downwind air quality problem exists at steps 1 and
                                                       21 ‘‘Air Plan Disapprovals; Interstate Transport of   provision in a manner ‘‘consistent with               2 of the interstate transport framework by a
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                                                     Air Pollution for the 2015 8-Hour Ozone National        the provisions of [title I of the CAA.]’’             particular attainment date, but for reasons of
                                                     Ambient Air Quality Standards,’’ 88 FR 9336                                                                   impossibility or profound uncertainty the Agency is
                                                     (February 13, 2023), and ‘‘Federal ‘‘Good Neighbor
                                                                                                             See CAA section 110(a)(2)(D)(i). This
                                                                                                                                                                   unable to mandate upwind pollution controls by
                                                     Plan’’ for the 2015 Ozone National Ambient Air          requires, among other things, that these              that date. See Wisconsin, 938 F.3d at 320. The D.C.
                                                     Quality Standards,’’ 88 FR 36654 (June 5, 2023).        obligations are addressed consistently                Circuit noted in Wisconsin that upon a sufficient
                                                       22 Air Quality Modeling Final Rule Technical
                                                                                                             with the timeframes for downwind areas                showing, these circumstances may warrant
                                                     Support Document—2015 Ozone NAAQS Good                  to meet their CAA obligations. With                   flexibility in effectuating the purpose of the
                                                     Neighbor Plan in Docket ID No. EPA–R08–OAR–                                                                   interstate transport provision.
                                                     2023–0375.                                              respect to ozone NAAQS, under CAA                        26 See CAA section 181(a); 40 CFR 51.1303;
                                                       23 2016v3 Emissions Modeling TSD in Docket ID         section 181(a), this means obligations                Additional Air Quality Designations for the 2015
                                                     No. EPA–HQ–OAR–2021–0663.                               must be addressed ‘‘as expeditiously as                                                          Continued




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                                                     the appropriate year for analysis of                    nonattainment or maintenance receptor,                NAAQS in a scenario that takes into
                                                     interstate transport obligations for the                that site is excluded from further                    account historical variability in air
                                                     2015 ozone NAAQS because the 2023                       analysis under EPA’s 4-step interstate                quality at that receptor. The variability
                                                     ozone season is the last relevant ozone                 transport framework. For sites that are               in air quality was determined by
                                                     season during which achieved                            identified as a nonattainment or                      evaluating the ‘‘maximum’’ future
                                                     emissions reductions in linked upwind                   maintenance receptor in 2023, EPA                     design value at each receptor based on
                                                     states could assist downwind states                     proceeds to the next step of the 4-step               a projection of the maximum measured
                                                     with meeting the August 3, 2024                         interstate transport framework by                     design value over the relevant period.
                                                     Moderate area attainment date for the                   identifying which upwind states                       EPA interprets the projected maximum
                                                     2015 ozone NAAQS.                                       contribute to those receptors above the               future design value to be a potential
                                                        EPA recognizes that the attainment                   contribution threshold.                               future air quality outcome consistent
                                                     date for nonattainment areas classified                    EPA’s approach to identifying ozone                with the meteorology that yielded
                                                     as Marginal for the 2015 ozone NAAQS                    nonattainment and maintenance                         maximum measured concentrations in
                                                     was August 3, 2021. Under the                           receptors in this action gives                        the ambient data set analyzed for that
                                                     Maryland holding, any necessary                         independent consideration to both the                 receptor (i.e., ozone conducive
                                                     emissions reductions to satisfy interstate              ‘‘contribute significantly to                         meteorology). EPA also recognizes that
                                                     transport obligations should have been                  nonattainment’’ and the ‘‘interfere with              previously experienced meteorological
                                                     implemented by no later than this date.                 maintenance’’ prongs of CAA section                   conditions (e.g., dominant wind
                                                     At the time of the statutory deadline to                110(a)(2)(D)(i)(I), consistent with the               direction, temperatures, and air mass
                                                     submit interstate transport SIPs (October               D.C. Circuit’s direction in North                     patterns) promoting ozone formation
                                                     1, 2018), many states relied on EPA’s                   Carolina.28                                           that led to maximum concentrations in
                                                     modeling of the year 2023, and no state                    EPA identifies nonattainment                       the measured data may reoccur in the
                                                     provided an alternative analysis using a                receptors as those monitoring sites that
                                                                                                                                                                   future. The maximum design value
                                                     2021 analytic year (or the prior 2020                   are projected to have average design
                                                                                                                                                                   gives a reasonable projection of future
                                                     ozone season). However, EPA must act                    values that exceed the NAAQS and that
                                                     on SIP submissions using the                                                                                  air quality at the receptor under a
                                                                                                             are also measuring nonattainment based
                                                     information available at the time it takes                                                                    scenario in which such conditions do,
                                                                                                             on the most recent monitored design
                                                     such action. In this circumstance, EPA                                                                        in fact, reoccur. The projected
                                                                                                             values. This approach is consistent with
                                                     does not believe it would be appropriate                                                                      maximum design value is used to
                                                                                                             prior transport rulemakings, such as the
                                                     to evaluate states’ obligations under                                                                         identify upwind emissions that, under
                                                                                                             CSAPR Update, where EPA defined
                                                     CAA section 110(a)(2)(D)(i)(I) as of an                                                                       those circumstances, could interfere
                                                                                                             nonattainment receptors as those areas
                                                     attainment date that is wholly in the                                                                         with the downwind area’s ability to
                                                                                                             that both currently measure
                                                     past, because the Agency interprets the                                                                       maintain the NAAQS.
                                                                                                             nonattainment and that EPA projects
                                                     interstate transport provision as forward               will be in nonattainment in the analytic                 Nonattainment receptors are also, by
                                                     looking. See 86 FR 23074; see also                      year (i.e., 2023).29                                  definition, maintenance receptors, and
                                                     Wisconsin, 938 F.3d at 322 (rejecting                      In addition, in this proposal, EPA                 so EPA often uses the term
                                                     Delaware’s argument that EPA should                     identifies a receptor to be a                         ‘‘maintenance-only’’ to refer to those
                                                     have used an analytic year of 2011                      ‘‘maintenance’’ receptor for purposes of              receptors that are not nonattainment
                                                     instead of 2017). Consequently, in this                 defining interference with maintenance,               receptors. Consistent with the concepts
                                                     proposal EPA will use the analytical                    consistent with the method used in                    for maintenance receptors, as described
                                                     year of 2023 to evaluate Wyoming’s                      CSAPR and upheld by the D.C. Circuit                  earlier, EPA identifies ‘‘maintenance-
                                                     CAA section 110(a)(2)(D)(i)(I) SIP                      in EME Homer City Generation, L.P. v.                 only’’ receptors as those monitoring
                                                     submission with respect to the 2015                     EPA, 795 F.3d 118, 136 (D.C. Cir. 2015)               sites that have projected average design
                                                     ozone NAAQS.27                                          (EME Homer City II).30 Specifically, EPA              values above the level of the applicable
                                                     2. Step 1 of the 4-Step Interstate                      identified maintenance receptors as                   NAAQS, but that are not currently
                                                     Transport Framework                                     those receptors that would have                       measuring nonattainment based on the
                                                                                                             difficulty maintaining the relevant                   most recent official design values.31 In
                                                        In Step 1, EPA identifies monitoring                                                                       addition, those monitoring sites with
                                                     sites that are projected to have problems                  28 See North Carolina v. EPA, 531 F.3d at 910–
                                                                                                                                                                   projected average design values below
                                                     attaining and/or maintaining the                        11 (holding that the EPA must give ‘‘independent      the NAAQS, but with projected
                                                     NAAQS in the 2023 analytic year.                        significance’’ to each prong of CAA section
                                                                                                             110(a)(2)(D)(i)(I)).                                  maximum design values above the
                                                     Where EPA’s analysis shows that a site                     29 See 81 FR 74504 (October 26, 2016). This same   NAAQS are also identified as
                                                     does not fall under the definition of a                 concept, relying on both current monitoring data      ‘‘maintenance-only’’ receptors, even if
                                                                                                             and modeling to define nonattainment receptor,        they are currently measuring
                                                     Ozone National Ambient Air Quality Standards, 83        was also applied in CAIR. See 70 FR 25241, 25249
                                                     FR 25776 (June 4, 2018, effective Aug. 3, 2018).        (January 14, 2005); see also North Carolina, 531
                                                                                                                                                                   nonattainment based on the most recent
                                                       27 EPA recognizes that by the time final action is    F.3d at 913–14 (affirming as reasonable EPA’s         official design values.
                                                     taken with respect to this SIP submission, the 2023     approach to defining nonattainment in CAIR).
                                                     ozone season will likely be wholly in the past.            30 See 76 FR 48208 (August 8, 2011). CSAPR           31 The Agency often uses the terms maintenance

                                                     However, as discussed in section III., the available    Update and Revised CSAPR Update also used this        receptor and maintenance-only receptor
                                                     modeling information indicates that our analysis        approach. See 81 FR 74504 (October 26, 2016) and      interchangeably when discussing maintenance
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                                                     would not change as to Wyoming for any later year.      86 FR 23054 (April 30, 2021).                         receptors that are not also nonattainment receptors.




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                                                       The Agency has also taken a closer                       In this proposed action, EPA relies in             air quality impacts such emissions
                                                     look at measured ozone levels at                        the first instance on the 1 percent of the            reductions would have on the
                                                     monitoring sites in 2021 and 2022 for                   NAAQS threshold for the purpose of                    downwind receptors to which a state is
                                                     the purposes of informing the                           evaluating a state’s contribution to                  linked; other factors may potentially be
                                                     identification of additional receptors in               nonattainment or maintenance of the                   relevant if adequately supported. In
                                                     2023. As explained in more detail in the                2015 ozone NAAQS at downwind                          general, where EPA’s or state-provided
                                                     February 13, 2022 final action                          receptors. This is consistent with the                alternative air quality and contribution
                                                     disapproving 19 states’ good neighbor                   Step 2 approach that EPA applied in                   modeling establishes that a state is
                                                     SIP submissions, and partially                          CSAPR for the 1997 ozone NAAQS,                       linked at Steps 1 and 2, it will be
                                                     approving and partially disapproving 2                  which has subsequently been applied in                insufficient at Step 3 for a state merely
                                                     states’ good neighbor SIP submissions,                  the CSAPR Update and Revised CSAPR                    to point to its existing rules requiring
                                                     see 88 FR 9349–50, we find there is a                   Update when evaluating interstate                     control measures as a basis for SIP
                                                     basis to consider certain sites with                    transport obligations for the 2008 ozone              approval. In general, the emissions-
                                                     elevated ozone levels that are not                      NAAQS. EPA continues to find 1                        reducing effects of all existing emissions
                                                     otherwise identified as receptors to be                 percent of the NAAQS to be an                         control requirements are already
                                                     an additional type of maintenance-only                  appropriate threshold. For ozone, as                  reflected in the future year projected air
                                                     receptor given the likelihood that ozone                EPA found in the CAIR, CSAPR, and                     quality results of the modeling for Steps
                                                     levels above the NAAQS could persist at                 CSAPR Update, a portion of the                        1 and 2. If the state is shown to still be
                                                     those locations through at least 2023.                  nonattainment problems from                           linked to one or more downwind
                                                     We refer to these as violating-monitor                  anthropogenic sources in the U.S.                     receptor(s) despite these existing
                                                     maintenance-only receptors (‘‘violating                 results from the combined impact of                   controls, but that state believes it has no
                                                     monitors’’). In this action, EPA proposes               relatively small contributions, typically             outstanding good neighbor obligations,
                                                     to use certified monitoring data as an                  from multiple upwind states and, in                   EPA expects the state to provide
                                                     additional method to identify                           some cases, substantially larger                      sufficient justification to support a
                                                     maintenance-only receptors. In the case                 contributions from a subset of particular             conclusion by EPA that the state has
                                                     of Wyoming, this analysis confirms that                 upwind states, along with contributions               adequate provisions prohibiting ‘‘any
                                                     the state is not projected to be linked to              from in-state sources. EPA’s analysis                 source or other type of emissions
                                                     any violating-monitor receptors. EPA is                 shows that much of the ozone transport                activity within the State from emitting
                                                     not reopening this methodology, except                  problem in the United States is still the             any air pollutant in amounts which
                                                     to the extent of its application to                     result of the collective impacts of                   will’’ ‘‘contribute significantly to
                                                     Wyoming, nor in relation to the                         contributions from upwind states.                     nonattainment in, or interfere with
                                                     evaluation of any other state’s good                    Therefore, application of a consistent                maintenance by,’’ any other state with
                                                     neighbor obligations for the 2015 ozone                 contribution threshold is necessary to                respect to the NAAQS. See CAA section
                                                     NAAQS. Any such comments on those                       identify those upwind states that should              110(a)(2)(D)(i)(I). While EPA has not
                                                     topics will be treated as beyond the                    have responsibility for addressing their              prescribed a particular method for this
                                                     scope of this action.                                   contribution to the downwind                          assessment, EPA expects states at a
                                                                                                             nonattainment and maintenance                         minimum to present a sufficient
                                                     3. Step 2 of the 4-Step Interstate                      problems to which they collectively                   technical evaluation. This would
                                                     Transport Framework                                     contribute. Continuing to use 1 percent               typically include information on
                                                                                                             of the NAAQS as the screening metric                  emissions sources, applicable control
                                                        In Step 2 EPA quantifies the                         to evaluate collective contribution from              technologies, emissions reductions,
                                                     contribution of each upwind state to                    many upwind states also allows EPA                    costs, cost effectiveness, and downwind
                                                     each receptor in the 2023 analytic year.                (and states) to apply a consistent                    air quality impacts of the estimated
                                                     The contribution metric used in Step 2                  framework to evaluate interstate                      reductions, before concluding that no
                                                     is defined as the average impact from                   emissions transport under the interstate              additional emissions controls should be
                                                     each state to each receptor on the days                 transport provision from one NAAQS to                 required.32
                                                     with the highest ozone concentrations at                the next. See 81 FR 74518; see also 86
                                                     the receptor based on the 2023                          FR 23085 (reviewing and explaining                    5. Step 4 of the 4-Step Interstate
                                                     modeling. If a state’s contribution value               rationale from CSAPR, 76 FR 48237–38,                 Transport Framework
                                                     does not equal or exceed the threshold                  for selection of 1 percent threshold).                   At Step 4, states (or EPA) develop
                                                     of 1 percent of the NAAQS (i.e., 0.70                                                                         permanent and federally-enforceable
                                                     ppb for the 2015 ozone NAAQS), the                      4. Step 3 of the 4-Step Interstate
                                                                                                                                                                   control strategies to achieve the
                                                     upwind state is not ‘‘linked’’ to a                     Transport Framework
                                                                                                                                                                   emissions reductions determined to be
                                                     downwind air quality problem, and EPA                      Consistent with EPA’s longstanding                 necessary at Step 3 to eliminate
                                                     therefore concludes that the state does                 approach to eliminating significant                   significant contribution to
                                                     not contribute significantly to                         contribution and interference with                    nonattainment or interference with
                                                     nonattainment or interfere with                         maintenance, at Step 3, a multifactor                 maintenance of the NAAQS. For a state
                                                     maintenance of the NAAQS in the                         assessment of potential emissions                     linked at Steps 1 and 2 to rely on an
                                                     downwind states. However, if a state’s                  controls is conducted for states linked at
                                                     contribution equals or exceeds the 1                    Steps 1 and 2. EPA’s analysis at Step 3                 32 As examples of general approaches for how
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                                                     percent threshold, the state’s emissions                in prior Federal actions addressing                   such an analysis could be conducted for their
                                                     are further evaluated in Step 3,                        interstate transport requirements has                 sources, states could look to the CSAPR Update, 81
                                                                                                                                                                   FR 74504, 74539–51; CSAPR, 76 FR 48208, 48246–
                                                     considering both air quality and cost as                primarily focused on an evaluation of                 63; CAIR, 70 FR 25162, 25195–229; or the NOX SIP
                                                     part of a multi-factor analysis, to                     cost-effectiveness of potential emissions             Call, 63 FR 57356, 57399–405. See also Revised
                                                     determine what, if any, emissions might                 controls (on a marginal cost-per-ton                  CSAPR Update, 86 FR 23054, 23086–23116.
                                                     be deemed ‘‘significant’’ and, thus, must               basis), the total emissions reductions                Consistently across these rulemakings, the EPA has
                                                                                                                                                                   developed emissions inventories, analyzed different
                                                     be eliminated pursuant to the                           that may be achieved by requiring such                levels of control stringency at different cost
                                                     requirements of CAA section                             controls (if applied across all linked                thresholds, and assessed resulting downwind air
                                                     110(a)(2)(D)(i)(I).                                     upwind states), and an evaluation of the              quality improvements.



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                                                     emissions control measure at Step 3 to                  proposed disapproval, as part of the                   examined to determine if Wyoming
                                                     address its interstate transport                        evaluation of Wyoming’s submission,                    contributes at or above the threshold of
                                                     obligations, that measure must be                       we considered the most recently                        1 percent of the 2015 ozone NAAQS
                                                     included in the state’s SIP so that it is               updated modeling platform available at                 (0.70 ppb) to any downwind
                                                     permanent and federally enforceable.                    the time, 2016v2, which established one                nonattainment or maintenance
                                                     See CAA section 110(a)(2)(D) (‘‘Each                    linkage from Wyoming to the Douglas                    receptor.40 The data 41 indicate that the
                                                     such [SIP] shall . . . contain adequate                 County nonattainment receptor in                       highest contributions from Wyoming to
                                                     provisions . . . .’’). See also CAA                     Colorado (Site ID 80350004), with a                    downwind nonattainment and
                                                     section 110(a)(2)(A); Committee for a                   projected 2023 contribution from                       maintenance-only receptors are 0.68
                                                     Better Arvin v. EPA, 786 F.3d 1169,                     Wyoming of 0.81 ppb.37 When EPA                        ppb and 0.67 ppb in 2023, respectively,
                                                     1175–76 (9th Cir. 2015) (holding that                   completed updated modeling for 2023                    and 0.40 ppb and 0.59 ppb in 2026,
                                                     measures relied on by a state to meet                   and 2026 using the 2016v3 platform,                    respectively.42 EPA’s evaluation of
                                                     CAA requirements must be included in                    Wyoming was not projected to be linked                 Wyoming’s contributions to violating-
                                                     the SIP).                                               to any downwind nonattainment or                       monitor maintenance-only receptors
                                                                                                             maintenance-only receptors in 2023,                    indicate the State’s maximum
                                                     II. Wyoming SIP Submission
                                                                                                             with a maximum projected contribution                  contribution is 0.42 ppb in 2023.43
                                                     Addressing Interstate Transport of Air                                                                            EPA’s evaluation of measured and
                                                                                                             of 0.68 ppb at the Douglas County
                                                     Pollution for the 2015 8-Hour Ozone                                                                            monitored data and contribution values
                                                                                                             nonattainment receptor in 2023.38 On
                                                     NAAQS                                                                                                          in 2023 and 2026 indicates that the
                                                                                                             January 31, 2023, EPA signed a final
                                                     A. Summary of Wyoming’s 2015 Ozone                      rulemaking, finalizing disapproval of 19               contribution to ozone concentrations in
                                                     Interstate Transport SIP Submission                     SIP submissions, and partially approved                other states from emissions in Wyoming
                                                        On January 3, 2019, Wyoming                          and partially disapproved two SIP                      will not equal or exceed the
                                                     submitted a SIP submission to EPA                       submissions, for inadequately                          contribution threshold of 0.70 ppb.
                                                                                                             addressing the good neighbor provision                 Thus, EPA proposes to find that the
                                                     addressing the infrastructure
                                                                                                             for the 2015 ozone NAAQS and noted                     State does not impact downwind air
                                                     requirements of CAA section 110(a)(1)
                                                                                                             that EPA was not taking final action at                quality problems such that it should be
                                                     and (2), including the CAA section
                                                                                                             that time on two SIP submissions for                   considered ‘‘linked’’ at Step 2 of the 4-
                                                     110(a)(2)(D)(i)(I) interstate transport
                                                                                                             which EPA had proposed disapproval,                    step framework, and therefore does not
                                                     requirements, for the 2015 8-hour ozone
                                                                                                             including Wyoming’s.39 Based on the                    warrant further review and analysis at
                                                     NAAQS.33 The SIP submission
                                                                                                             updated modeling using the 2016v3                      Steps 3 and 4. The results of EPA’s
                                                     provided Wyoming’s analysis of the
                                                                                                             platform, discussed in section I.C.                    evaluation are consistent with the
                                                     State’s impact to downwind states and
                                                                                                             above, as well as EPA’s evaluation in                  conclusion drawn by Wyoming in the
                                                     concluded that emissions from
                                                                                                             section III. below, EPA is now                         2019 SIP submission that emissions
                                                     Wyoming will not significantly
                                                                                                             withdrawing our May 24, 2022                           from sources in Wyoming will not
                                                     contribute to nonattainment or interfere                                                                       contribute to nonattainment or interfere
                                                                                                             proposed disapproval of the
                                                     with maintenance of the 2015 ozone                                                                             with maintenance of the 2015 ozone
                                                                                                             110(a)(2)(D)(i)(I) portion of Wyoming’s
                                                     NAAQS in other states in 2023.34 The                                                                           NAAQS in any other state. For these
                                                                                                             January 3, 2019 SIP submission, at 87
                                                     SIP submission cited EPA’s 4-step                                                                              reasons, EPA is proposing to approve
                                                                                                             FR 31495.
                                                     framework, but also included a ‘‘weight-                                                                       Wyoming’s 2019 SIP submission with
                                                     of-evidence’’ analysis.35 Based on the                  III. EPA’s Evaluation                                  regard to the interstate transport
                                                     results of its ‘‘weight-of-evidence’’                      Wyoming’s 2019 SIP submission                       requirements of CAA section
                                                     analysis at Step 2, Wyoming’s 2019 SIP                  addressing CAA section                                 110(a)(2)(D)(i)(I).
                                                     submission concluded that emissions                     110(a)(2)(D)(i)(I) for the 2015 Ozone
                                                     from the State are not linked to a                      NAAQS relies on the 4-step framework                   IV. Proposed Action
                                                     downwind projected nonattainment or                     and the analytic year 2023 contribution                  Based on EPA’s evaluation of the
                                                     maintenance receptor and therefore do                   modeling results released with the                     impact of air emissions from Wyoming
                                                     not contribute to nonattainment or                      March 2018 memorandum to conclude
                                                     interfere with the maintenance of the                   that Wyoming does not significantly                       40 EPA need not assess the data and analysis in

                                                     2015 ozone NAAQS in any downwind                        contribute to nonattainment or interfere               Wyoming’s submission, as EPA’s updated modeling
                                                     state.36                                                                                                       corroborates Wyoming’s conclusion that the State
                                                                                                             with maintenance of the 2015 ozone                     will not significantly contribute to nonattainment or
                                                     B. Prior Notices Related to Wyoming’s                   NAAQS in any other state at Step 2 of                  interfere with maintenance of the 2015 ozone
                                                     SIP Submission                                          the 4-step framework.                                  NAAQS in any other state.
                                                                                                                                                                       41 Design values and contributions at individual
                                                                                                                As described in section I.C. of this
                                                       On May 24, 2022, the EPA proposed                     proposal, EPA performed air quality                    monitoring sites nationwide are provided in the file
                                                     disapproval of the portion of Wyoming’s                                                                        Final GNP O3 DVs Contributions, which is
                                                                                                             modeling to project ozone design values                included in docket ID No. EPA–R08–OAR–2023–
                                                     January 3, 2019 SIP submission                          and contributions for 2023 and 2026                    0375.
                                                     addressing CAA section                                  using the 2016v3 emissions platform.                      42 EPA’s analysis indicates that in 2023 Wyoming

                                                     110(a)(2)(D)(i)(I) for the 2015 ozone                   EPA proposes to rely primarily on this                 will have a 0.68 ppb impact at the projected
                                                     NAAQS. 87 FR 31495. In EPA’s                                                                                   nonattainment receptor in Douglas County,
                                                                                                             updated modeling in evaluating                         Colorado (site ID 80350004), and a 0.67 ppb impact
                                                                                                             Wyoming’s transport SIP submission.                    at the projected maintenance-only receptor in
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                                                       33 See Wyoming State Implementation Plan,
                                                                                                             The design values and contributions                    Larimer County, Colorado (site ID 80690011). EPA’s
                                                     Interstate Transport, To Satisfy the Requirements of                                                           analysis indicates maximum 2026 Wyoming
                                                     Clean Air Act 110(a)(2)(i)(I) for the 8-Hour Ozone      from the updated modeling were                         emission impacts of 0.40 ppb at projected
                                                     NAAQS Promulgated in October 2015, December                                                                    nonattainment receptors in Jefferson County,
                                                     2018, located in the docket for this rulemaking at        37 87 FR 31505.
                                                                                                                                                                    Colorado (sites 80590006 and 80590011), and 0.59
                                                     regulations.gov, Docket No. EPA–R08–OAR–2023–             38 See Final Good Neighbor Plan AQM TSD in           at a projected maintenance receptor in Larimer
                                                     0375.                                                   Docket ID No. EPA–R08–OAR–2023–0375.                   County, Colorado (site 80690011).
                                                       34 Wyoming State Implementation Plan,                   39 See Air Plan Disapprovals; Interstate Transport      43 EPA’s analysis indicates that in 2023 Wyoming
                                                     Attachment B at 10.                                     of Air Pollution for the 2015 8-Hour Ozone National    will have a 0.42 ppb impact at the violating-monitor
                                                       35 See generally id. at 3–10.
                                                                                                             Ambient Air Quality Standards, 88 FR 9336              maintenance-only receptor in Arapahoe County,
                                                       36 Id. at 9–10.                                       (February 13, 2023).                                   Colorado (site ID 80050002).



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                                                     to downwind states using 2023 analytic                  Indian tribe has demonstrated that a                  decide whether to invoke the exception
                                                     year modeling as described in this                      tribe has jurisdiction. In those areas of             in (ii).44
                                                     document, EPA is proposing to approve                   Indian country, the proposed rule does                   If EPA takes final action on this
                                                     Wyoming’s January 3, 2019 SIP                           not have tribal implications and will not             proposed rulemaking, the Administrator
                                                     submission as meeting the interstate                    impose substantial direct costs on tribal             intends to exercise the complete
                                                     transport requirements of CAA section                   governments or preempt tribal law as                  discretion afforded to him under the
                                                     110(a)(2)(D)(i)(I) for the 2015 ozone                   specified by Executive Order 13175 (65                CAA to make and publish a finding that
                                                     NAAQS. EPA is seeking public                            FR 67249, November 9, 2000).                          the final action (to the extent a court
                                                     comment on the issues discussed in this                                                                       finds the action to be locally or
                                                                                                                Executive Order 12898 (Federal
                                                     proposed rule. We will accept                                                                                 regionally applicable) is based on a
                                                                                                             Actions To Address Environmental
                                                     comments from the public on this                                                                              determination of ‘‘nationwide scope or
                                                     proposal for the next 30 days.                          Justice in Minority Populations and
                                                                                                             Low-Income Populations, 59 FR 7629,                   effect’’ within the meaning of CAA
                                                     V. Statutory and Executive Order                        Feb. 16, 1994) directs Federal agencies               section 307(b)(1). Through this
                                                     Reviews                                                 to identify and address                               rulemaking action (in conjunction with
                                                        Under the CAA, the Administrator is                  ‘‘disproportionately high and adverse                 a series of related actions on other SIP
                                                     required to approve a SIP submission                    human health or environmental effects’’               submissions for the same CAA
                                                     that complies with the provisions of the                of their actions on minority populations              obligations), EPA interprets and applies
                                                     Act and applicable Federal regulations.                 and low-income populations to the                     section 110(a)(2)(D)(i)(I) of the CAA for
                                                     42 U.S.C. 7410(k); 40 CFR 52.02(a).                     greatest extent practicable and                       the 2015 ozone NAAQS based on a
                                                     Thus, in reviewing SIP submissions, the                 permitted by law. EPA defines                         common core of nationwide policy
                                                     EPA’s role is to approve state choices,                 environmental justice (EJ) as ‘‘the fair              judgments and technical analysis
                                                     provided that they meet the criteria of                 treatment and meaningful involvement                  concerning the interstate transport of
                                                     the CAA. Accordingly, this action                       of all people regardless of race, color,              pollutants throughout the continental
                                                     merely proposes to approve state law as                 national origin, or income with respect               U.S. In particular, EPA is applying here
                                                     meeting Federal requirements and does                   to the development, implementation,                   (and in other proposed and finalized
                                                     not impose additional requirements                      and enforcement of environmental laws,                actions related to the same obligations)
                                                     beyond those imposed by state law. For                  regulations, and policies.’’ EPA further              the same, nationally consistent 4-step
                                                     that reason, this action:                               defines the term fair treatment to mean               framework for assessing good neighbor
                                                        • Is not a ‘‘significant regulatory                  that ‘‘no group of people should bear a               obligations for the 2015 ozone NAAQS.
                                                     action’’ subject to review by the Office                disproportionate burden of                            EPA relies on a single set of updated,
                                                     of Management and Budget under                          environmental harms and risks,                        2016-base year photochemical grid
                                                     Executive Orders 12866 (58 FR 51735,                    including those resulting from the                    modeling results of the year 2023 as the
                                                     October 4, 1993) and 13563 (76 FR 3821,                 negative environmental consequences of                primary basis for its assessment of air
                                                     January 21, 2011);                                      industrial, governmental, and                         quality conditions and contributions at
                                                        • Does not impose an information                     commercial operations or programs and
                                                                                                                                                                   steps 1 and 2 of that framework.
                                                     collection burden under the provisions                                                                        Further, EPA proposes to determine and
                                                                                                             policies.’’ Wyoming did not evaluate
                                                     of the Paperwork Reduction Act (44                                                                            apply a set of nationally consistent
                                                                                                             environmental justice considerations as
                                                     U.S.C. 3501 et seq.);                                                                                         policy judgments to apply the 4-step
                                                                                                             part of its SIP submission; the CAA and
                                                        • Is certified as not having a                                                                             framework. EPA has selected nationally
                                                                                                             applicable implementing regulations
                                                     significant economic impact on a                                                                              uniform analytic years for this analysis
                                                                                                             neither prohibit nor require such an                  and is applying a nationally uniform
                                                     substantial number of small entities
                                                     under the Regulatory Flexibility Act (5                 evaluation. EPA did not perform an EJ                 approach to nonattainment and
                                                     U.S.C. 601 et seq.);                                    analysis and did not consider EJ in this              maintenance receptors and a nationally
                                                        • Does not contain any unfunded                      action. Consideration of EJ is not                    uniform approach to contribution
                                                     mandate or significantly or uniquely                    required as part of this action, and there            threshold analysis.45 For these reasons,
                                                     affect small governments, as described                  is no information in the record                       the Administrator intends, if this
                                                     in the Unfunded Mandates Reform Act                     inconsistent with the stated goal of E.O.             proposed action is finalized, to exercise
                                                     of 1995 (Pub. L. 104–4);                                12898 of achieving environmental                      the complete discretion afforded to him
                                                        • Does not have federalism                           justice for people of color, low-income               under the CAA to make and publish a
                                                     implications as specified in Executive                  populations, and Indigenous peoples.                  finding that this action is based on a
                                                     Order 13132 (64 FR 43255, August 10,                       Section 307(b)(1) of the CAA governs               determination of nationwide scope or
                                                     1999);                                                  judicial review of final actions by EPA.
                                                        • Is not an economically significant                 This section provides, in part, that                     44 In deciding whether to invoke the exception by
                                                     regulatory action based on health or                    petitions for review must be filed in the             making and publishing a finding that an action is
                                                     safety risks subject to Executive Order                 D.C. Circuit: (i) when the agency action              based on a determination of nationwide scope or
                                                     13045 (62 FR 19885, April 23, 1997);                                                                          effect, the Administrator takes into account a
                                                                                                             consists of ‘‘nationally applicable                   number of policy considerations, including his
                                                        • Is not a significant regulatory action             regulations promulgated, or final actions             judgment balancing the benefit of obtaining the D.C.
                                                     subject to Executive Order 13211 (66 FR                                                                       Circuit’s authoritative centralized review versus
                                                                                                             taken, by the Administrator,’’ or (ii)
                                                     28355, May 22, 2001);                                                                                         allowing development of the issue in other contexts
ddrumheller on DSK120RN23PROD with PROPOSALS1




                                                        • Is not subject to requirements of                  when such action is locally or regionally             and the best use of agency resources.
                                                     section 12(d) of the National                           applicable, if ‘‘such action is based on                 45 A finding of nationwide scope or effect is also


                                                     Technology Transfer and Advancement                     a determination of nationwide scope or                appropriate for actions that cover states in multiple
                                                                                                             effect and if in taking such action the               judicial circuits. In the report on the 1977
                                                     Act of 1995 (15 U.S.C. 272 note) because                                                                      Amendments that revised section 307(b)(1) of the
                                                     application of those requirements would                 Administrator finds and publishes that                CAA, Congress noted that the Administrator’s
                                                     be inconsistent with the CAA; and                       such action is based on such a                        determination that the ‘‘nationwide scope or effect’’
                                                        In addition, the SIP is not approved                 determination.’’ For locally or regionally            exception applies would be appropriate for any
                                                                                                                                                                   action that has a scope or effect beyond a single
                                                     to apply on any Indian reservation land                 applicable final actions, the CAA                     judicial circuit. See H.R. Rep. No. 95–294 at 323,
                                                     or in any other area where EPA or an                    reserves to EPA complete discretion to                324, reprinted in 1977 U.S.C.C.A.N. 1402–03.



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                                                     effect for purposes of CAA section                      List of Subjects in 40 CFR Part 52                       Authority: 42 U.S.C. 7401 et seq.
                                                     307(b)(1).46                                              Environmental protection, Air                          Dated: July 27, 2023.
                                                       46 If EPA takes a consolidated, single final action
                                                                                                             pollution control, Incorporation by                    K.C. Becker,
                                                     on this and any other proposed SIP actions with         reference, Ozone.                                      Regional Administrator, Region 8.
                                                     respect to obligations under CAA section                                                                       [FR Doc. 2023–16441 Filed 8–11–23; 8:45 am]
                                                     110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS, that       alternative, the Administrator would make and
                                                     action may be nationally applicable, and EPA            publish a finding that such final action is based on   BILLING CODE 6560–50–P
                                                     would also anticipate that in that instance, in the     a determination of nationwide scope or effect.
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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                     Exhibit K

  Petition For Reconsideration and for Stay of the Federal “Good Neighbor Plan” for
        the 2015 Ozone National Ambient Air Quality Standards (Aug. 4, 2023)
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  August 4, 2023

  VIA E-MAIL AND FEDERAL EXPRESS


   Michael Regan (Regan.Michael@epa.gov)
   EPA Administrator
   Office of the Administrator (1101A)
   United States Environmental Protection Agency
   William Jefferson Clinton Federal Building
   1200 Pennsylvania Avenue, N.W.
   Washington, D.C. 20460


  Re: Petition for Reconsideration and Stay of the Final Rule: Federal “Good Neighbor
      Plan” for the 2015 Ozone National Ambient Air Quality Standards, EPA–HQ–OAR–
      2021–0668, 88 Fed. Reg. 36,654 (June 5, 2023)

  Dear Administrator Regan:

          On behalf of my client, United States Steel Corporation, please find enclosed a petition
  for reconsideration and stay of the Environmental Protection Agency’s final rule Federal “Good
  Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards, EPA-HQ-OAR-
  2021-0668; 88 Fed. Reg. 36,654 (June 5, 2023).

             Please contact me with any questions you may have.

  Sincerely,



  John D. Lazzaretti

  Enclosure

  cc:        Elizabeth Selbst (selbst.elizabeth@epa.gov)
             Gautam Srinivasan (Srinivasan.Gautam@epa.gov)




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         BEFORE THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY

                                                      )
      In re: Federal “Good Neighbor Plan” for the     ) EPA Docket Nos. EPA–HQ–OAR–2021–
      2015 Ozone National Ambient Air Quality         ) 0668
      Standards, 88 Fed. Reg. 36,654 (June 5, 2023)   ) FRL–8670–02–OAR
                                                      )
                                                      )

   PETITION FOR RECONSIDERATION AND FOR STAY OF THE FEDERAL “GOOD NEIGHBOR PLAN”
             FOR THE 2015 OZONE NATIONAL AMBIENT AIR QUALITY STANDARDS

                                            SUBMITTED BY

                                 UNITED STATES STEEL CORPORATION

          Pursuant to § 307 of the Clean Air Act (42 U.S.C. § 7607) and § 705 of the
  Administrative Procedure Act ("APA") (5 U.S.C. § 705), United States Steel Corporation
  (“U. S. Steel”) submits this Petition for Reconsideration and Stay (“Petition”) requesting that the
  United States Environmental Protection Agency (“EPA”) reconsider and revise its Federal
  “Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards, 88 Fed.
  Reg. 36,654 (June 5, 2023) (“Good Neighbor Plan” or “Final Rule”).

          Under the Clean Air Act, reconsideration is required to address both circumstances that
  arise after the close of the public comment period but before the time for judicial review, and to
  allow for notice and comment on elements of the final rulemaking that were not a logical
  outgrowth of the proposed rule. Both of these elements apply to the Good Neighbor Plan.

          The factual circumstances on which the Good Neighbor Plan relied have changed
  dramatically since the close of the public comment period. Most significantly, courts have
  stayed EPA’s disapproval of SIPs for ten States, denying EPA of the legal authority to
  promulgate the FIP for almost half of the States EPA assumed would be subject to the rule when
  it was proposed.

          The Final Rule also contains several departures from the Proposed Rule1 that cannot be
  considered logical outgrowths of the rulemaking process. These include EPA’s reliance on new
  modelling that was not available to the public until, in some cases, the day the Administrator
  signed the Final Rule. For iron and steel mills, it also includes a complete rewrite of the
  regulatory requirements, including the introduction of a new test-and-set process for reheat
  furnaces that is legally impermissible and unreasonable. For boilers, the Final Rule’s
  applicability to boilers at iron and steel mills significantly departed from the proposed rule (from
  100 tons per year potential to emit to 100 MMBTU design capacity—regardless of the unit’s
  potential to emit (with a low use exception). By EPA’s own admission, the Final Rule is

  1
   Federal Implementation Plan Addressing Regional Ozone Transport for the 2015 Primary
  Ozone National Ambient Air Quality Standard, 87 Fed. Reg. 20,036 (April 6, 2022) (“Proposed
  Rule”).


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  capturing additional boilers that would not have been subject to the Proposed Rule. Final Rule at
  36,819. The regulated community had no opportunity to evaluate the rule’s impacts on these
  newly affected boilers until after the Final Rule was signed. The Final Rule also imposes
  requirements based on assumptions about timing that are unreasonable and subject only to an
  extension request process worded in such a way that it will be difficult to apply in many of the
  cases in which it will be needed.

          Overall, the Final Rule shows repeated signs of haste making waste. Even without the
  stay of so many SIP disapprovals, EPA had two years from the date of SIP disapproval to
  develop a thoughtful and comprehensive FIP, yet EPA, without giving States an opportunity to
  cure any alleged SIP defects, took only two months before it signed the Good Neighbor Plan.
  This was not sufficient, as shown by repeated gaps and ambiguities in the regulatory language.
  The rule makes almost no mention, for example of how new units and units subject to the Final
  Rule after August 4, 2023 are to be incorporated. It inconsistently addresses co-fired emission
  units, exempting boilers, but not reheat furnaces, combusting the same types of fuel, and
  emission unit averaging, allowing it for engines in pipeline transportation but not reheat furnaces
  or boilers at iron and steel mills. The record is devoid of any rationale or explanation on these
  significant differences. Furthermore, it omits regulatory language on key elements such as
  deadlines for compliance for new units and units that exceed co-firing thresholds, and emission
  limits for emission units that burn process gases like blast furnace gas and coke oven gas. An
  administrative stay is necessary until EPA either corrects the numerous errors and gaps that are
  currently in the hastily drafted rule or rewrites the rule.

          Because circumstances have materially changed since the close of the comment period
  and the Final Rule includes numerous substantive changes that were not subject to public notice
  and comment, reconsideration of the Good Neighbor Plan is required. Given the lack of record
  support for the Final Rule, and the serious legal questions raised by EPA’s regulation of the iron
  and steel industry in particular, EPA should on reconsideration withdraw the Final Rule entirely,
  or at a minimum as to reheat furnaces and boilers at iron and steel mills.

           U. S. Steel also requests that EPA stay the Good Neighbor Plan pending reconsideration
  and pending judicial review. The Good Neighbor Plan has been a highly contentious rulemaking
  that EPA is now without statutory authority to promulgate in ten States to which it nominally
  applies. Even in States for which EPA can still legally impose the Good Neighbor Plan, the legal
  and practical infirmness of the Good Neighbor Plan strongly supports either its total withdrawal
  or at least significant modification. But under the current deadlines, regulatory parties such as
  U. S. Steel have already needed to incur compliance costs and will need to continue to incur
  substantial costs in order to prepare to comply with regulations that likely will never be imposed
  in their current form. This waste of resources is unnecessary and serves no environmental
  benefit. A stay is therefore well-supported to allow EPA time to fully evaluate this petition for
  reconsideration and for judicial review of EPA’s Good Neighbor Plan and associated SIP
  disapprovals to run their course.

                                             Background

        The Clean Air Act sets out a “basic division of labor” between EPA and the states in
  implementing national ambient air quality standards (“NAAQS”). North Dakota v. EPA, 730


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  F.3d 750, 757 (8th Cir. 2013). While EPA is responsible for setting and revising the NAAQS,
  “States have primary responsibility for attaining those standards within their borders.” Id.
  (quotations omitted). In particular, when EPA revises a NAAQS, the Clean Air Act instructs
  each States to prepare a state implementation plan (“SIP”) containing its plan for meeting the
  revised standard. 42 U.S.C. § 7410(a)(1). If a State submits a complete plan that meets the
  requirements of the Clean Air Act, EPA must approve it. Id. at § 7410(k)(3) (“the Administrator
  shall approve such submittal as a whole if it meets all of the applicable requirements of this
  chapter”) (emphasis added). Only if a States fails to submit a complete SIP or submits a SIP that
  does not meet the requirements of the Clean Air Act, is EPA authorized to promulgate a federal
  implementation plan (“FIP”) instead. Id. at §7410(c)(1). EPA has two years after finding a SIP
  submission incomplete or inadequate to promulgate the FIP. Id. During that time, the State can
  correct the deficiency. Id.

         On October 1, 2015, EPA promulgated a revised primary and secondary 8-hour ozone
  NAAQS of 70 parts per billion (“ppb”). States were thus obligated to submit SIP revisions to
  EPA by October 1, 2018 that satisfied the requirements of the Clean Air Act. See 42 U.S.C.
  §7410(a)(1). These requirements included the “Good Neighbor” requirement, that State plans:

         (D) Contain adequate provisions—

                (i) prohibiting, consistent with the provisions of this subchapter, any
                source or other type of emissions activity within the State from
                emitting any air pollutant in amounts which will—

                        (I) contribute significantly to nonattainment in, or interfere
                        with maintenance by, any other State with respect to any
                        such national primary or secondary ambient air quality
                        standard….

  42 U.S.C. §7410(a)(2)(D).

         Many states submitted SIPs in 2018 that satisfied this requirement. EPA was required to
  review these SIPs and approve them within a time period fixed by the Clean Air Act. See 42
  U.S.C. § 7410(k)(2). Instead, EPA missed its deadline by several years and then, in 2022,
  proposed to disapprove the SIPs for 19 states based on modeling that EPA had performed in the
  meantime (the “2016v2” modeling).2

         Merely proposing a SIP disapproval does not give EPA authority to promulgate a FIP.
  See 42 U.S.C. § 7410(c)(1). Despite this, EPA proceeded to propose its FIP for the Good
  Neighbor requirement for these 19 states plus several others less than two months after
  publishing the proposed SIP disapprovals. Proposed Rule at 20,036. EPA used the same 2016v2
  modeling as the basis for its Proposed Rule. Id. at 20,082. Relying on this modeling, EPA
  proposed to include not just electric generating units (“EGUs”), as EPA had done in prior Good

  2
   See, e.g., Air Plan Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air
  Plan Disapproval; Region 5 Interstate Transport of Air Pollution for the 2015 8-Hour Ozone
  National Ambient Air Quality Standards, 87 Fed. Reg. 9,838, 9,868 (February 22, 2022).


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  Neighbor FIPs, but several non-EGU source categories, including iron and steel mills. Id. at
  20,039.

          The Proposed Rule did not contain an adequate technical assessment of the iron and steel
  industry. As a result, it proposed requirements that were not technically feasible and
  inappropriate to meet the Good Neighbor requirement of the Clean Air Act. Notably, for reheat
  furnaces, EPA proposed an emission limit of 0.05 lb/mmBtu based on the unsupported
  assumption that NOx could be reduced 40% from recent Reasonably Available Control
  Technology (“RACT”) limits through implementation of selective catalytic reduction (“SCR”).
  See id. at 20,145, Table VII.C–3. For boilers at iron and steel mills, EPA proposed an emission
  limit of 0.20 lb/mmBtu when burning coal, blast furnace gas, or coke oven gas, again without
  record support. Id. at 20,182, Table 1 to Paragraph (c). U. S. Steel and many others submitted
  detailed comments in response to the Proposed Rule, many of which were not addressed in the
  Final Rule or EPA’s response to comments. U. S. Steel references and incorporates its prior
  comments. U. S. Steel Comments, EPA-HQ-OAR-2021-0668-0244 and -0798.

          EPA published its final SIP disapprovals for 19 States on February 13, 2023,3 and the
  Administrator signed the Final Rule only one month later, though it took several more months
  for the rule to be published in the Federal Register.

          The Final Rule contained improvements over the Proposed Rule. U. S. Steel appreciates
  that significant effort was put into these revisions. But the Final Rule also materially departed
  from the Proposed Rule in key respects. First, EPA no longer relied on its 2016v2 modeling.
  Instead, it had developed a different “2016v3” modeling platform and chose to rely on this
  modeling instead. See Final Rule at 36,678. Much of the 2016v3 modeling was not made
  publicly available until EPA published the final SIP Disapproval in early 2023. Even then, EPA
  did not make its full modeling results available, choosing instead to withhold the results for
  model year 2026. See SIP Disapproval at 9,344, n. 49 (stating EPA was not providing 2026
  results). Second, the emission limitations for reheat furnaces were completely rewritten. Rather
  than impose a specific NOx limit as proposed, the Final Rule imposes a “‘test-and-set’
  requirement for reheat furnaces that will require the installation of low-NOx burners or
  equivalent technology” with a work plan requirement to design to a 40% reduction from a
  baseline to be established by future testing. Final Rule at 36,818. Reheat furnaces that do not
  obtain an approved work plan are prohibited from operating. Id. at 36,880; 40 CFR
  52.43(d)(4)(v). Third, for boilers at iron and steel mills, recognizing the material differences in
  fuels combusted, the Final Rule appropriately imposes no numeric emission limit for combustion
  of blast furnace gas or coke oven gas. It does, however, limit the applicability of the FIP to a
  boiler that “receives 90% or more of its heat input from coal, residual oil, distillate oil, natural
  gas, or combinations of these fuels in the previous ozone season” and provides a method for
  establishing emission limitations only when combusting these fuels. Id. at 36,884; 40 CFR
  52.45(c).

          Several parties petitioned for judicial review of EPA’s SIP Disapproval and moved for a
  judicial stay of EPA’s disapprovals of certain SIPs. Those courts that have ruled on the merits of

  3
   Air Plan Disapprovals: Interstate Transport of Air Pollution for the 2015 8-Hour Ozone
  National Ambient Air Quality Standards, 88 Fed. Re. 9,336 (Feb. 13, 2023) (“SIP Disapproval”).


                                                  -4-
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  these motions have uniformly granted a stay. As a result, the Courts of Appeals have now stayed
  the FIP as to ten States.4 These stays prevent the FIP from taking effect in over one third of the
  States originally subject to the Good Neighbor Plan. Additional motions to stay are still pending
  and may result in the Good Neighbor Plan not taking effect in additional States. EPA has issued
  an Interim Final Rule already staying the Good Neighbor Plan as to several States.5 The Interim
  Final Rule does not address every State in which the Final Rule cannot be applied, however. It
  also addresses only the effective date of the Final Rule; it does not address how EPA will
  confront the numerous other deadlines and requirements in the Good Neighbor Plan that will not
  be reconcilable with a delayed effective date for the Final Rule.

                                   Standard for Reconsideration

          Under the Clean Air Act, reconsideration is required “[i]f the person raising an objection
  can demonstrate to the Administrator that it was impracticable to raise such objection [during the
  period for public comment] or if the grounds for such objection arose after the period for public
  comment (but within the time specified for judicial review) and if such objection is of central
  relevance to the outcome of the rule.” 42 U.S.C. § 7607(d)(7)(b). Courts have found that an
  objection was “impractical to raise” “when the final rule was not a logical outgrowth of the
  proposed rule.” Alon Refining Krotz Springs, Inc. v. EPA, 936 F.3d 628, 648 (D.C. Cir. 2019)
  (per curiam). In other words, when interested parties would not have “anticipated that the
  change was possible, and thus reasonably should have filed their comments on the subject during
  the notice-and-comment period.” CSX Transp., Inc. v. Surface Transp. Bd., 584 F.3d 1076, 1080
  (D.C. Cir. 2009) (internal quotations omitted). An objection is of central relevance to the
  outcome of the rule if it “provides substantial support for the argument that the regulation should
  be revised.” Chesapeake Climate Action Network v. EPA, 952 F.3d 310, 322 (D.C. Cir. 2020).

           Further, under the APA, EPA has “broad discretion to reconsider” its regulatory actions
  “at any time.” Clean Air Council v. Pruitt, 862 F.3d 1, 8-9 (D.C. Cir. 2017); see also Trujillo v.
  Gen. Elec. Co., 621 F.2d 1084, 1086 (10th Cir. 1980) (“Administrative agencies have an inherent
  authority to reconsider their own decisions, since the power to decide in the first instance carries
  with it the power to reconsider.”); United Gas Improvement Co. v. Callery Properties, Inc., 382



  4
    Unpublished Order, Texas v. EPA, Case No. 23-60069, ECF 269-1 (May 1, 2023) (staying
  Texas and Louisiana SIP disapprovals); Arkansas v. EPA, Case No. 23-1320, ECF 5280996
  (May 25, 2023) (staying Arkansas SIP disapproval); Order, Missouri v. EPA, Case No. 23-1719,
  ECF 5281126 (May 26, 2023) (staying Missouri SIP disapproval); Unpublished Order, Texas v.
  EPA, Case No. 23-60069, ECF 359-2 (June 8, 2023) (staying Mississippi SIP disapproval);
  Nevada Cement Co. v. EPA, Case No. 23-682, ECF 27.1 (July 3, 2023) (staying Nevada SIP
  disapproval); Order, ALLETE, Inc. v. EPA, Case No. 23-1776 (8th Cir. July 5, 2023); Order,
  Kentucky v. EPA, Case No. 23-3216, ECF 39-2 (July 25, 2023) (staying Kentucky SIP
  disapproval); Order, Utah v. EPA, Case No. 23-9509, ECF 010110895101 (July 27, 2023)
  (staying Oklahoma and Utah SIP disapprovals).
  5
    Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards;
  Response to Judicial Stays of SIP Disapproval Action for Certain States, 88 Fed. Reg. 49,295
  (July 31, 2023) (“Interim Final Rule”).


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  U.S. 223, 229 (1965) (“An agency, like a court, can undo what is wrongfully done by virtue of
  its order.”).

           Moreover, under both the Clean Air Act and APA, EPA has an obligation to “examine
  the relevant data and articulate a satisfactory explanation for its action including a ‘rational
  connection between the facts found and the choice made.’” Motor Vehicle Mfrs. Ass’n of U.S.,
  Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quotation omitted); see also
  Unpublished Order, Texas v. EPA, Case No. 23-60069, ECF 269-1, at 18 (May 1, 2023) (EPA
  must ensure it acts within a zone of reasonableness and, in particular, has reasonably considered
  the relevant issues and reasonably explained its decision” and a court must “set aside any action
  premised on reasoning that fails to account for relevant factors or evinces a clear error of
  judgment.”) (quotations omitted). Action that is not reasonably grounded in the record or that is
  taken without consideration of important aspects of the problem is arbitrary and capricious. Id.;
  42 U.S.C. § 7607(d); 5 U.S.C. § 706.

                                    Grounds for Reconsideration

          Given the significant changes that have occurred since the end of the public comment
  period for the FIP and the numerous substantial changes from the Proposed Rule, there are
  several independent grounds why reconsideration is required in this case.

  I.     Changed Circumstances Undermine EPA’s Factual Foundation for the Final Rule.

          When EPA published the Final Rule, it addressed 23 States, including non-EGU
  industrial sources in 20 States. Final Rule at 36,654. EPA repeatedly emphasized the
  importance of this broad geographic reach and the need for uniform application of the Good
  Neighbor Plan to apply across all listed States. See, e.g., Final Rule at 36,673 (“Effective policy
  solutions to the problem of interstate ozone transport dating back to the NOx SIP Call (63 FR
  57356 (October 27, 1998)) have necessitated the application of a uniform framework of policy
  judgments….”); id. at 36,691 (“In the context of addressing regional- scale ozone transport in
  this rule, the importance of a uniform level of stringency that extends to and includes the [Clean
  Air Act] section 301(d) FIP areas geographically located within the boundaries of the linked
  upwind states carries significant force.”); id. at 36,746 (“id. at 36,828 (“the logic of our 4-step
  interstate transport framework…is designed to bring all covered sources within the region of
  linked upwind states up to a uniform level of NOx emissions performance during the ozone
  season”); id. at 36,713 (“Considering the core statutory objective of ensuring elimination of all
  significant contribution to nonattainment or interference of the NAAQS in downwind states and
  the broad, regional nature of the collective contribution problem with respect to ozone, EPA
  could not identify a compelling policy imperative to move to a 1 ppb threshold.”); id. at 36,716
  (“the purpose of the Step 2 threshold within the EPA’s interstate transport framework for ozone
  is to broadly sweep in all states contributing to identified receptors above a de minimis level in
  recognition of the collective-contribution problem associated with regional-scale ozone
  transport.”).

         As EPA emphasized:




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         the purpose of this rule is to address the interstate transport of ozone on a national
         scale, and the technical record establishes that the nonattainment and maintenance
         receptors located throughout the country are impacted by sources of ozone pollution
         on a broad geographic scale. The upwind regions associated with each receptor
         typically span at least two, and often far more, states. Within the broad upwind
         region covered by this rule, the EPA is applying—consistent with the methodology
         of allocating upwind responsibility in prior transport rules going back to the NO
         SIP Call—a uniform level of control stringency (as determined separately for
         linkages existing in 2023, and linkages persisting in 2026). (See section V of this
         document for a discussion of EPA’s determination of control stringency for this
         rule.) Within this approach, consistency in rule requirements across all jurisdictions
         is vital in ensuring the remedy for ozone transport is, in the words of the Supreme
         Court, ‘‘efficient and equitable,’’ 572 U.S. 489, 519. In particular, as the Supreme
         Court found in EME Homer City Generation, allocating responsibility through
         uniform levels of control across the entire upwind geography is ‘‘equitable’’
         because, by imposing uniform cost thresholds on regulated States, the EPA’s rule
         subjects to stricter regulation those States that have done relatively less in the past
         to control their pollution. Upwind States that have not yet implemented pollution
         controls of the same stringency as their neighbors will be stopped from free riding
         on their neighbors’ efforts to reduce pollution. They will have to reduce their
         emissions by installing devices of the kind in which neighboring States have
         already invested. Id.

  Id. at 36,691.

           All of these points were made under the assumption that the Final Rule would address
  EGU emissions from 23 States and non-EGU emissions from 20 States. As of the filing of this
  Petition, however, SIP disapprovals for ten of those States have been stayed, including:
  Arkansas, Kentucky, Louisiana, Minnesota, Mississippi, Missouri, Nevada, Oklahoma, Texas,
  and Utah. Additional motions to stay are pending.6 These SIP disapprovals are a legal
  prerequisite for EPA to promulgate the Good Neighbor Plan for those States. 42 U.S.C. §
  7410(c)(1). Moreover, because a stay is predicated on the Courts of Appeals finding a likelihood
  that the petitions in those cases will succeed on the merits, there is a substantial likelihood that
  the FIP will never apply to most or all of these States. See Nken, 556 U.S. at 434. As a result, it
  is possible that over half the States that EPA asserted are necessary to ensure uniform efforts to
  reduce interstate transport of ozone, avoid generation and production shifting to less regulated
  states, and to ensure electric generation reliability, will not be in the Final Rule. Because their
  presence in the Good Neighbor Plan was a central premise of EPA’s promulgation of the Final
  Rule, this changed circumstance alone requires reconsideration and justifies an administrative
  stay and a complete withdrawal or rewrite of the Final Rule.7 Sources in the minority of States

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    See Ohio v. EPA, Case No. 23-1183 (D.C. Cir); West Virginia v. EPA, Case No. 23-1418 (4th
  Cir.); Alabama v. EPA, Case No. 23-11196 (11th Cir.).
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    EPA has already taken action already to stay the FIP for several of these States. Interim Final
  Rule at 49,295. This is not sufficient, however. Not only does it address only some of the States
  to which the Final Rule cannot apply, a stay of the effective date of the Good Neighbor Plan does
  not address EPA’s lack of statutory authority to promulgate the Plan in the first place. The Clean


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  remaining in the FIP will be irreparably harmed and suffer significant, inequitable costs with no
  appreciable benefit to the air quality in downwind States. The foundation of the FIP is fatally
  flawed and does not serve the purpose for which it was intended.

          The SIP Disapproval stays also undermine EPA’s factual support for the Good Neighbor
  Plan. The States for which the Good Neighbor Plan is currently stayed represent a large portion
  of the operations that EPA assumed would be subject to its FIP as it determined what industries
  to regulate, what costs to consider “significant,” and what emission reductions to impose. Final
  Rule at 36,676 (“EPA here, as it has in prior transport rulemakings for regional pollutants like
  ozone, identifies a uniform level of emissions reduction that the covered sources in the linked
  upwind states can achieve that cost-effectively delivers improvement in air quality at downwind
  receptors on a regional scale.”); id. at 36,677 (“We find it reasonable in this action to again
  determine the amount of ‘‘significant contribution’’ at Step 3 by reference to uniform levels of
  cost-effective emissions controls that can be applied across the upwind sources.”); id. at 36,683
  (EPA’s analysis of non-EGU emission reduction requirements “relies on evaluation of uniform
  levels of control stringency across all upwind states to find a level of emissions control that is
  cost- effective and collectively delivers meaningful downwind air quality improvement”); id. at
  36,685 (“In this rulemaking’s Step 3 analysis, the EPA is measuring emissions reduction
  potential from improving effective emissions rates across groups of EGUs adopting applicable
  pollution control measures and selecting a uniform control level whose effective emissions rates
  deliver an acceptable outcome under the multifactor test (including a finding of no overcontrol at
  the selected control stringency level).”); id. at 36,746 (“The EPA’s criteria [for screening non-
  EGU industries] were intended to identify industries and emissions unit types that on a broad
  scale impact multiple receptors to varying degrees.”). In addition, for EGUs, the number of
  States in the FIP has a direct correlation to the size of the trading program EPA relies on in the
  FIP, both to maintain a reasonable regulatory cost and to ensure adequate grid reliability. See id.
  at 36,766, n.295 (the “trading program…depend[s] on the existence of a marketplace for
  purchasing and selling allowances”); id. at 36,789 (noting the importance of “allowance market
  liquidity” especially during the 2024-2029 period); id. at 36,774 (citing “the use of a trading
  program as the mechanism for achieving…emissions reductions” as a factor in finding no
  “material risk of adverse impact to electric system reliability” and as the reason why additional
  accommodation for “reliability-related need” was unnecessary). EPA’s policy case modeling
  also depended on emission reductions from these States. See generally, Technical Support
  Document (TSD) for the Final Federal Good Neighbor Plan for the 2015 Ozone National
  Ambient Air Quality Standards, at 3 (March 2023). As a result, EPA can no longer rely on
  factual record and modeling EPA used to develop the Good Neighbor Plan.

          The legal and factual basis for the Good Neighbor Plan has so fundamentally changed
  that the Final Rule can no longer stand on the current administrative record. Because these
  grounds arose after the public comment period but before the time for judicial review, EPA must

  Air Act speaks plainly to EPA’s authority to promulgate a FIP, and it does not authorize EPA to
  promulgate a FIP at any time before disapproval of a State’s SIP submission. 42 U.S.C. §
  7410(c)(1). Even if the stay is only temporary, the deadlines in the FIP will not make sense or be
  reconcilable with the FIP taking effect after August 4, 2023. As a result, the FIP will have to be
  materially altered through further rulemaking in any event. So, there is no reason for EPA to
  hold on to what is ultimately an ultra vires act.


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  stay the effectiveness of the FIP and reconsider the FIP. The FIP reconsideration is necessary to
  determine whether, in light of the stay of EPA’s SIP Disapproval for many States, and likely
  vacatur of EPA’s SIP Disapproval, the FIP cannot still be equitably applied to the remaining
  States. Indeed, given the significant shift in the fundamental facts on which EPA attempted to
  equitably allocate regulatory burdens since the publication of the FIP, it is likely that
  reconsideration of the FIP will demonstrate that it must be withdrawn and redone entirely based
  on new modeling that incorporates the SIPs EPA will likely be unable to disapprove after the
  pending cases are complete.

  II.    The Final Rule was Not Promulgated in Accordance with Law and Arbitrarily and
         Capriciously Relied on Information Added After Public Comment.

         EPA was required to include with its Proposed Rule a “statement of basis and purpose”
  including a summary of:

         (A) the factual data on which the proposed rule is based;

         (B) the methodology used in obtaining the data and in analyzing the data; and

         (C) the major legal interpretations and policy considerations underlying the
         proposed rule.

  42 U.S.C. § 7607(d)(3). This information is necessary to allow for the “reasonable period for
  public participation” required by the Clean Air Act. Id. at § 760(h). When EPA relies on
  information that is not made part of the public record in time for meaningful public comment,
  EPA violates both the spirit and the terms of the Clean Air Act. Sierra Club v. Costle, 657 F.2d
  298, 400 (D.C. Cir. 1981) (if “documents of central importance upon which EPA intended to rely
  ha[ve] been entered on the docket too late for any meaningful public comment prior to
  promulgation, then both the structure and spirit of section 307 [are] violated”).

           Several aspects of the Final Rule rely on information that EPA did not include in the
  public record in time for meaningful public comment. Those specific to iron and steel mills are
  addressed separately below. The most generally applicable addition, however, is EPA’s 2016v3
  modeling, which was used to support EPA’s Step 1 and Step 2 analysis for all affected States.
  The Proposed Rule was based on modelling that EPA refers to as its “2016v2” modeling. See
  Final Rule at 36,673. But EPA did not rely on the 2016v2 results for the Final Rule. Instead,
  EPA “revised its 2016v2 modeling platform and input since the platform was made available for
  comment” to create the 2016v3 modeling. Id. at 36,674. It then “reassessed” its modeling
  results “to inform the final action.” Id. These were not minor amendments. EPA “evaluated a
  raft of technical information and critiques of its 2016v2 modeling” and “incorporated updates
  into the version of the modeling used to support this final rule (2016v3).” Id. Further, while
  EPA released some of its 2016v3 results with the SIP Disapproval in February 2023, it withheld
  the results for model year 2026, asserting that these results were “not applicable and were not
  used in this final action.” SIP Disapproval at 9,344, n.30. As a result, EPA did not release the
  full modeling results on which the Final Rule is based until the Administrator signed it in March
  2023.



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          This delay in releasing the modeling that was central to EPA’s Final Rule was “highly
  improper.” Small Ref. Lead Phase-Down Task Force v. EPA, 705 F.2d 508, 540 (D.C. Cir.
  1983); Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C. Cir. 1982) (“the safety valves in the
  use of such sophisticated methodology [as computer modeling] are the requirement of public
  exposure of the assumptions and data incorporated into the analysis and the acceptance and
  consideration of public comment.”) (alterations and quotations in original omitted). EPA’s
  rulemaking process requires adequate public notice and an opportunity to comment. Small Ref.,
  705 F.2d at 547. This includes providing the public with the evidence on which EPA intends to
  rely. Id. at 540.

          This was also not the first time EPA switched the information on which it relied after a
  relevant deadline. The 2016v2 modeling that EPA relied on for the Proposed Rule was itself not
  introduced until EPA published its proposed SIP disapprovals for 19 States, despite the SIPs
  having been submitted to EPA years before based on modeling EPA released in 2018. See, e.g.
  87 Fed. Reg. at 9,840. When EPA switched to reliance on the 2016v2 platform, it gave the
  public an unreasonably short time to comment, allowing only two months. See id. at 9,838. For
  the Proposed Rule, EPA offered only slightly more time, giving the public less than three months
  to request, process, verify, and analyze EPA’s modeling results, despite numerous requests for
  more time, including from U. S. Steel. See USS FIP Comments at 42. As EPA knows, these
  models are large data files. They are not made part of the online docket and must be specially
  requested from EPA. The process takes several weeks to obtain the data and in this case several
  requests to obtain a full data set. Several more weeks are needed to load and verify it before
  EPA’s modeling can be checked for errors and public comments prepared. Overall, this process
  typically takes two to three months, and can take longer. Two or even three months after
  announcing the availability of its 2016v3 modeling was simply insufficient time to allow for
  meaningful public participation as envisioned by the Clean Air Act. See 42 U.S.C. § 7607(h).

           When EPA changed the game and switched models again for the final SIP Disapproval
  and FIP, EPA again gave no prior access to its results. EPA also did not make the complete
  modeling files immediately available. As raised in a separate petition for reconsideration and
  stay of EPA’s disapproval of Minnesota’s SIP (attached as Attachment B), EPA’s initial release
  of 2016v3 modeling data was partial and inadequate to reconstruct the modeling that EPA used
  for its final determinations. Obtaining the necessary data, as well as checking its accuracy, took
  several more weeks. In the case of the 2016v3 modeling, U. S. Steel’s contractor, Trinity, also
  needed to contact Ramboll Environ (the CAMx developer) directly to address problems with
  EPA’s source apportionment modeling before it could be checked. This deprived U. S. Steel and
  the public generally of the opportunity to comment on EPA’s modeling. See Kennecott 684 F.2d
  at 1019 (D.C. Cir. 1982) (finding EPA had not provided adequate opportunity for public
  comment on economic modeling placed in the docket only one week before promulgation of its
  final regulations); Riverkeeper, Inc. v. EPA, 475 F.3d 83, 112-113 (2d Cir. 2007) (finding EPA’s
  Notice of Data Availability insufficient when it omitted information that would have afforded the
  public the opportunity to make facility-specific comments).

          This procedural impropriety was centrally relevant to the outcome of the Final Rule. The
  2016v3 modeling forms the basis for “EPA’s understanding of projected air quality conditions
  and contributions” in the Final Rule, which in turn underlie EPA’s selection of receptors and
  State contribution levels. Final Rule at 36,673. Even in the limited time the public has had with


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  the modeling files, significant problems have been identified with EPA’s 2016v3 modeling. See
  Petition for Reconsideration and Stay of the SIP Disapproval at 8-14. Correcting for these issues
  would likely result in at least Minnesota being excluded from the Final Rule.8

          EPA’s modeling for 2026 (which was not released until well after the close of public
  comment on the Final Rule) is equally important, since it informed both the application of
  additional emission reductions for EGUs and the introduction of emission requirements for non-
  EGU industrial sources. See Final Rule at 36,654. Indeed, in light of this modeling, EPA found
  that three States (Alabama, Minnesota, and Wisconsin) would be limited to emission reductions
  achievable by the 2024 ozone season. Final Rule at 36,660. Other States, including Arkansas
  and Illinois, had their compliance status change, from being modeled to interfere with attainment
  in 2023 to being modeled only to interference for maintenance in 2026 modeling. See id. at
  36,710, Table IV.F–2. This information, had it been available during public comment, would
  have allowed commenters, including U. S. Steel to address the downward trends in significant
  contribution EPA has modeled for 2026 and which EPA has itself recognized are significant to
  identifying maintenance-only receptors. See EPA, Considerations for Identifying Maintenance
  Receptors (Oct. 19, 2018).

           EPA’s late publication of modeling which is central to its Final Rule violated the
  procedural requirements of the Clean Air Act and the APA; and justifies reconsideration to allow
  for full notice and public comment on the modeling supporting the Final Rule.

  III.   EPA Rushed Promulgation the Good Neighbor Plan in Violation of Cooperative
         Federalism.

          EPA had two years from its SIP Disapproval to promulgate a FIP for most states. 42
  U.S.C. § 7410(c)(1). EPA has asserted that it does not need to “postpone its action even a single
  day” after disapproving a SIP. FIP at 36,689 (quoting EPA v. EME Homer City Generation,
  L.P., 572 U.S. 489, 509 (2014)). But the Supreme Court was speaking to whether the Clean Air
  Act required delay absent other considerations. The Supreme Court did not hold that EPA can
  steamroll State SIP authority simply because Congress did not include a minimum waiting
  period before EPA can promulgate a FIP. To the contrary, the Supreme Court has repeatedly
  held that agencies must interpret their statutory obligations “with a view to their place in the
  overall statutory scheme,” and cannot act in a manner that is “‘incompatible’ with ‘the substance
  of Congress’ regulatory scheme.’” UARG v. EPA, 573 U.S. 302, 322 (2014) (quoting FDA v.
  Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 and 156 (2000)). When, for example,
  States do not submit SIPs at all, there may be no reason to wait a single day after EPA’s finding
  of incompleteness to promulgate a FIP. Here, 19 states submitted SIPs, appropriately relying on
  EPA policy and guidance and air modeling that was supported by EPA and available at the time,
  in a good faith attempt to maintain their primary role as regulators of the Good Neighbor
  requirement for the 2015 ozone NAAQS. Rather than give these SIPs a full and fair evaluation,

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    Since the submission of that petition, additional discrepancies in EPA’s air quality modeling
  have been identified, as are being raised in the separate Petition for Reconsideration and Stay of
  the FIP being submitted by the Minnesota Good Neighbor Coalition contemporaneously with
  these comments and only further underscore that, correcting the flawed 2016v3 modeling will
  likely result in significant changes to the conclusions EPA reached in the Final Rule.


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  EPA issued late and incomplete modeling, changed its position on published guidance many
  States used to support their SIPs, gave only limited opportunity for public comment, and rushed
  out a SIP Disapproval, all with the apparent purpose of paving the way for a FIP that was equally
  rushed and equally short on public input. Under these circumstances, EPA’s decision to
  simultaneously prepare a SIP Disapproval and FIP violated the Cooperative Federalism at the
  foundation of the Clean Air Act and was “incompatible with the substance of Congress’
  regulatory scheme.” UARG, 573 U.S. at 320 (quotations omitted).

         EPA was required to take sufficient time in developing its FIP to ensure that States’
  primary role in the NAAQS process could be fulfilled. The multiple stays of EPA’s SIP
  Disapproval that have been issued attest to the fact that EPA did not do so here.

          EPA should use its reconsideration authority as an opportunity to correct its rush to
  judgment, and in this instance in particular, considering the scope and complexity of the issues,
  use the Congressionally-provided two year period for promulgation of FIPs to both work with
  States on the development of compliant SIPs and, only if necessary, promulgate a FIP.

  IV.    The Deadlines in the Final Rule Are Incompatible with the Regulation of New Affected
         Units and Existing Affected Units that Become Subject to the FIP After the Effective
         Date.

          The Good Neighbor Plan applies to two types of emission units: “existing affected units,”
  units constructed on or before August 4, 2023; and “new affected units,” units constructed after
  this date. See 40 CFR 52.40(b). Existing affected units are also not all subject to the FIP as of
  the Effective Date (August 4, 2023). For example, the FIP includes exemptions for low-use
  boilers and boilers that combust less than 90% natural gas, residual oil, distillate oil, and coal.
  Final Rule at 36,884; 40 CFR 52.45(b). As a result, even an existing affected unit can become
  subject to the FIP years after August 4, 2023.9 The Final Rule, however, makes no provision for
  these units. With only limited exceptions, compliance dates, submission deadlines, and reporting
  requirements are recorded as fixed dates in the Final Rule, rather than running from the date of
  applicability. The result is an ambiguous set of irreconcilable deadlines for units that are not
  subject to the FIP as of August 4, 2023.

          Overall, EPA should reconsider and revise the FIP to comprehensively address these
  issues, but U. S. Steel identifies several particular examples where post-Effective Date
  applicability creates particular problems.

         A.      The Final Rule Does Not Give Sufficient Time for Co-Fired Boilers and Reheat
                 Furnaces.

          While the Proposed Rule included emission limits for co-fired boilers, the Final Rule
  applies only to boilers that combust 90% or more natural gas, distillate oil, residual oil, or coal in
  the previous ozone season. Final Rule at 36,884; 40 CFR 52.45(b). As discussed in Ground for
  Reconsideration VIII below, the same exemption should be included for reheat furnaces as well.

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   Similarly, for existing affected units in states subject to a stay of the FIP, if they will become
  subject to the FIP at all, it will be at a date after August 4, 2023.


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  In either case, therefore, there is a possibility that a co-fired unit will lose the exemption if it
  stops burning process gas at some point in the future for an ozone season. Yet the Final Rule
  offers no language directly addressing when such units must meet the requirements of the Good
  Neighbor Plan.

          To the extent this would mean that a boiler, for example, will need to be prepared to
  comply with the Good Neighbor Plan by the start of the next ozone season, this would entail
  potentially installing CEMS, obtaining permits, designing and installing pollution control
  equipment, and implementing recordkeeping and reporting requirements within a matter of
  months, not the nearly four years allowed for boilers subject to the Final Rule as of the Effective
  Date. For reheat furnaces, it would entail preparing a work plan and having it approved by EPA
  within a similarly short time period.

          The time EPA has allowed for boilers to comply with the Final Rule was meant
  accommodate the real-world practical requirements of designing, installing and testing new
  pollution control equipment. See NOx Control Installation Timing Report (“Timing Report”).
  Interim deadlines were fixed to allow each step. As discussed in Ground for Reconsideration XII
  below, the schedule for boilers does not sufficiently accommodate these requirements and should
  be extended, but it is arbitrary and capricious to subject units that were exempt from compliance
  to an even shorter deadline. Indeed, EPA recognized in the Proposed Rule that a “3-year period
  for installation of post-combustion control technologies is consistent with the statutory
  timeframe for implementation of the controls required to address interstate pollution under
  section n110(A)(2)(D) and 126 of the [Clean Air] Act, the statutory timeframes for
  implementation of RACT in ozone nonattainment areas classified as Moderate or above, and
  other statutory provisions that establish control requirements for existing stationary sources of
  pollution.” Proposed Rule at 20,101. There is no justification in the record for why a
  substantially shorter time should apply to emission units that lose an applicable exemption.10

         EPA must address the lack of deadlines for post-Effective Date boilers and reheat
  furnaces on reconsideration. In doing so, EPA should allow the same time to achieve
  compliance as current units subject to the FIP effective August 4, 2023.

         B.      Compliance Dates for States in which the Good Neighbor Plan has been Stayed
                 Must be Extended.

          As discussed above, the Good Neighbor Plan has been stayed, either by court order or
  Interim Final Rule, in ten states already, with the possibility that additional stays will be issued.
  In these states, the Good Neighbor Plan will not take effect August 4, 2023. Neither the Final
  Rule nor the Interim Final Rule, however, makes accommodation for extending the deadlines in
  the Good Neighbor Plan for emission units subject to a stay.

        As one example, owners and operators of reheat furnaces are to submit work plans by
  August 4, 2024. Final Rule at 36,879; 40 CFR 52.43(d). To do this will reasonably require a

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    Even for the low-use exemption, which EPA has asserted must result in compliance in one
  year, there is nothing in the record to support this short of a compliance deadline. Final Rule at
  36,884; 40 CFR 52.45(b)(2)(i).


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  year of work, as EPA anticipated when it set the deadline one year after the Effective Date. Yet
  owners and operators in a State subject to a stay cannot reasonably be expected to develop work
  plans until the stay is lifted. This may not occur before August 4, 2024 and, if it does, it will still
  not leave sufficient time to develop the required content. As a result, to fulfill the requirements
  of the stay orders currently in place, and to preserve the status quo prior to promulgation of the
  SIP Disapproval, EPA must extend this and other deadlines in the Final Rule to allow reasonable
  time to comply after the stays are lifted.

         C.      The Final Rule’s Procedures for Requests for Extension and Case-By-Case
                 Emission Limits Do Not Address Post-Effective Date Applicability.

          EPA requested comment in the Proposed Rule on “whether the FIP should provide a
  limited amount of time beyond the 2026 ozone season for individual non-EGU sources to meet
  the emissions limitations and associated compliance requirements, based on a facility-specific
  demonstration of necessity.” Final Rule at 20,104. EPA did not propose a process for case-by-
  case emission limits.

         In the Final Rule, EPA promulgated procedures for both requesting an extension of
  compliance (40 CFR 52.40(d)) and requesting a case-by-case emission limit (40 CFR 52.40(e)).
  Final Rule at 36,870-71. Neither of these procedures was provided in the Proposed Rule, so it
  would have been impracticable to raise objections to EPA’s procedure during public comment.
  42 U.S.C. § 7607(d)(7)(B).

          While U. S. Steel supports providing flexibility to owners and operators, both in terms of
  the compliance schedule and the emission limits in the Final Rule, the procedures EPA has
  adopted leave significant issues unaddressed. The Final Rule language does not mention new
  affected units at all, and by including specific dates for applications and dates to which
  compliance can be extended, the Final Rule does not adequately address existing affected units
  that become subject to the Good Neighbor Plan after August 4, 2023.

          The current language in 40 CFR 52.40(d), for example, allows the “owner or operator of
  an existing affected unit” to “request an initial compliance extension to a date certain no later
  than May 1, 2027,” almost four years after the Effective Date of the Final Rule. Final Rule at
  36,870; 40 CFR 52.40(d)(1). A second extension can be requested to “a proposed compliance
  date no later than May 1, 2029.” Id; 40 CFR 52.40(d)(3)(v). These deadlines would be
  inequitable if applied to emission units that become subject to the Good Neighbor Plan after
  August 4, 2023, and, of course, do not make sense at all for an emission unit that becomes
  subject to the Good Neighbor Plan after each date.

          EPA included the extension provision because it found “not all facilities may be capable
  of meeting the control requirements” by 2026, though EPA acknowledged that the
  “circumstances where an extension may be warranted for any specific facility are unknown at
  this time and will be evaluated through a source-specific application process, where the need for
  extension can be established with source-specific evidence.” Final Rule at 36,664 and 36,749.
  There is no rational basis why similar source-specific showings of necessity should not justify a
  comparable extension for other units that become subject to the Good Neighbor Plan after the
  Effective Date.


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          Similarly, in the Final Rule, EPA recognized that “there may be unique circumstances the
  Agency cannot anticipate that would, for a particular source, render the final emissions control
  requirements technically impossible or impossible without extreme economic hardship.” Final
  Rule at 36,818. To address this, EPA included “a provision that allows a source to request EPA
  approval of a case-by-case emissions limit based on a showing that an emissions unit cannot
  meet the applicable standard due to technical impossibility or extreme economic hardship.” Id.
  Since technical impossibility and extreme economic hardship are not limited to existing affected
  units subject to the Final Rule as of the Effective Date, there is no reasonable basis for EPA to
  exclude units subject to the Good Neighbor Plan after the Effective Date from the same
  opportunity. Yet the language EPA chose for the Final Rule requires requests to be submitted
  “by August 5, 2024.” Final Rule at 36,781; 40 CFR 52.40(e)(1).

         EPA should reconsider its use of fixed dates in the Final Rule and instead adopt deadlines
  based on the date of applicability of the FIP to an affected unit.

  V.     EPA Has Not Justified Including Reheat Furnaces and Boilers at Iron and Steel Mills in
         the Final Rule.

          The Final Rule does not regulate every source of NOx in each upwind State nor should it.
  Instead, EPA attempted to “focus[] on the most impactful industries and emissions units as
  determined by [the Agency’s] evaluation of the power sector and the non-EGU screening
  assessment prepared for the proposal…..” Final Rule at 36,682. This screening assessment
  determined which industries would be subject to the Good Neighbor Plan. Indeed, of the 41
  industries EPA examined in this screening assessment, EPA selected only nine for inclusion in
  the Final Rule. Id. This screening assessment was also used “[t]o identify appropriate control
  strategies for non-EGU sources to achieve NOx emissions reductions that would result in
  meaningful air quality improvements in downwind areas” and to assess control costs. Id. at
  36,661, 36733. Thus, the screening assessment formed a significant basis for EPA’s inclusion of
  regulations for reheat furnaces and boilers at iron and steel mills in the Final Rule and EPA’s
  selection of appropriate emission reductions for them.

          This screening assessment did not identify all emissions from each industry. Rather it
  focused on “potentially controllable emissions,” which it identified by focusing on sources that
  could provide “the most emissions reductions” at a marginal cost threshold. Screening
  Assessment at 2. “[W]ell-controlled sources” were expressly to be “excluded from
  consideration.” Id. at 3. At the time of the Screening Assessment, EPA assumed, incorrectly,
  that emissions from co-fired boilers, blast furnaces, casting and tapping, basic oxygen furnaces,
  sintering, and other processes, all constituted “potentially controllable emissions.” See id. at 17,
  Table 6. In the Final Rule, however, EPA appropriately recognizes that additional emission
  reductions from these sources are not technologically or economically feasible. See Final Rule at
  36,827 (“the data we have reviewed is insufficient at this time to support a generalized
  conclusion that the application of NOx controls, including SCR or other NOx control
  technologies such as LNB, is currently both technically feasible and cost effective on a fleetwide
  basis for these emission source types in this industry”); id. at 36,833 (“The EPA does not have
  sufficient information at this time to conclude that [boilers] burning more than 10 percent fuels
  other than coal, residual or distillate oil, or natural gas can operate the necessary controls
  effectively and at a reasonable cost.”). As a result, the Screening Assessment overcounted


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  emissions from iron and steel mills. This required updating before EPA relied on the Screening
  Assessment results in the Final Rule. It was not. Instead, the Final Rule continues to rely on the
  same, obsolete and incorrect, Screening Assessment. Id. at 36,732-33.

          This results in the inconsistent treatment of iron and steel mills as compared with other
  industries with comparable “potentially controllable emissions,” and ultimately, results in a Final
  Rule that is inconsistent with the record and inequitable impacts.

          U. S. Steel already submitted comments on the technical and economic infeasibility of
  the assumptions made in the Screening Assessment. See, e.g., USS FIP Comments at 13-18.
  EPA’s decision to continue to rely on the Screening Assessment in the Final Rule, however,
  despite the inaccuracy of its assumptions about the availability of additional emission reductions
  from the iron and steel mill industry did not arise until the Final Rule and so would have been
  impracticable to raise in public comments on the Proposed Rule. 42 U.S.C. § 7607(d)(7)(B).

           On reconsideration, EPA should revise its Screening Assessment to address only
  emissions from iron and steel mills associated with reheat furnaces and boilers combusting
  natural gas, residual oil, distillate oil, and coal. In addition, as discussed in Ground for
  Reconsideration VI below, the iron and steel industry is subject to many additional and pending
  NOx reduction requirements that will further limit the availability of additional emission
  reductions. Since these were not factored into EPA’s initial Screening Assessment,
  reconsideration will present the opportunity for to EPA incorporate a more up-to-date and
  realistic assessment of reheat furnace and boiler impacts on downwind ozone concentrations,
  which will likely result in the conclusion that the iron and steel industry, like many other
  industries, should not be subject to the Good Neighbor Plan.

  VI.    The Final Rule Did Not Adequately Consider the Cumulative Burdens of Pending EPA
         Regulations.

         The Good Neighbor Plan is only one of many regulations impacting the iron and steel
  industry, including the same reheat furnaces and boilers subject to the Final Rule, including:

            National Emission Standards for Hazardous Air Pollutants: Taconite Iron Ore
             Processing Amendments, 88 Fed. Reg. 30,917 (proposed May 15, 2023);

            National Emission Standards for Hazardous Air Pollutants: Integrated Iron and
             Steel Manufacturing Facilities Technology Review, 88 Fed. Reg. 49,402
             (proposed July 31, 2023);

            Standards of Performance for Steel Plants: Electric Arc Furnaces Constructed
             After 10/21/74 & On or Before 8/17/83; Standards of Performance for Steel
             Plants: Electric Arc Furnaces & Argon-Oxygen Decarburization Constructed
             After 8/17/83, 87 Fed. Reg. 29,710 (signed Aug. 1, 2023)
             (https://www.epa.gov/stationary-sources-air-pollution/electric-arc-furnaces-
             eafs-and-argon-oxygen-decarburization);




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            Proposed Amendment to Air Toxics Standards for Coke Ovens Pushing,
             Quenching and Battery Stacks; and Coke Oven Batteries (Residual Risk and
             Technology Review, and Periodic Technology Review (proposed rule signed
             by       EPA     Administrator     Regan       on      July    31,      2023.
             (https://www.epa.gov/stationary-sources-air-pollution/coke-ovens-batteries-
             national-emissions-standards-hazardous-air);

            Reconsideration of the National Ambient Air Quality Standards for Particulate
             Matter, 88 Fed. Reg. 5,558 (proposed Jan. 27, 2023); and

            EPA Announcement: EPA to Reconsider Previous Administration’s Decision
             to Retain 2015 Ozone Standards, https://www.epa.gov/ground-level-ozone-
             pollution/epa-reconsider-previous-administrations-decision-retain-2015-
             ozone.

          In developing the Good Neighbor Plan, EPA aimed to incorporate “emissions reductions
  from on-the-books actions, planned emissions control installations, and promulgated Federal
  measures that affect anthropogenic emissions” in its 2023 and 2026 emission inventories. Final
  Rule at 36,698. EPA did not, however, incorporate emission reductions from these and other
  rules that will significantly impact that NOx emissions from the iron and steel industry.

          Equally problematic, while EPA has sought to reflect emission reductions from other
  regulations, EPA did not incorporate these other obligations into the Good Neighbor Plan’s
  selection of emissions control strategies and calculation of compliance costs. The result is a rule
  that does not adequately consider the circumstances facing the regulated community. See
  Declaration of Alexis Piscitelli at ¶¶20-28 (attached hereto as Attachment A).

          Siloed rulemakings present a jigsaw puzzle of requirements that U. S. Steel and others
  must piece together under strict compliance deadlines. At a minimum, this is inefficient and not
  conducive to maximizing environmental benefit. At worst, it can result in conflicting and
  inconsistent legal requirements. See id. As one clear example, EPA is rushing to impose the
  Good Neighbor Plan to address the 2015 ozone NAAQS while it has already announced its
  intention to reconsider those standards.11 It does not make sense to expend millions of dollars in
  designing and implementing pollution controls to meet standards that EPA is in the process of
  reconsidering.

          On reconsideration, EPA should incorporate consideration of all pending iron and steel
  industry regulations, which will further support exclusion of reheat furnaces and boilers from a
  final revised Good Neighbor Plan.




  11
    https://www.epa.gov/ground-level-ozone-pollution/epa-reconsider-previous-administrations-
  decision-retain-2015-ozone.


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  VII.   The August 4, 2023 Deadline for Federally Enforceable Changes to Potential to Emit for
         Reheat Furnaces is Unreasonable.

          The Final rule requires limitations on a reheat furnace’s potential to emit to be effective
  by the Effective Date of the Good Neighbor Plan to be relevant to determining applicability.
  Final Rule at 36,879; 40 CFR 52.43(b) (“Any existing reheat furnace with a potential to emit of
  100 tons per year or more of NOx on August 4, 2023, will continue to be subject to the
  requirements of this section even if that unit later becomes subject to a physical or operational
  limitation that lowers its potential to emit below 100 tons per year of NOx.”). This aspect of
  determining potential to emit was not part of the Proposed Rule or a logical outgrowth of the
  Proposed Rule. As a result, it was impracticable to comment on it during the public comment
  period. 42 U.S.C. § 7607(d)(7)(B).

          EPA has given no reason for adding this provision in the Final Rule in its statement of
  basis and purpose. This alone violates the procedural requirements of the Clean Air Act. 42
  U.S.C. § 7607(d)(6). It is also improper. Long-standing EPA policy approves the use of legally-
  enforceable limitations on potential to emit to conform emission units to the applicability
  requirements of EPA’s Clean Air Act regulations. See, e.g. EPA, Options for Limiting the
  Potential to Emit (PTE) of a Stationary Source Under Section 112 and Title V of the Clean Air
  Act (Act), EC-6-1998-29 (Jan. 25, 1995). Removing this option requires a “reasoned
  explanation,” which is absent from the Final Rule. U.S. Sugar Corp. v. EPA, 830 F.3d 579, 626
  (D.C. Cir. 2016); see also FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

          Limiting the time in which potential to emit can be changed is also of questionable value.
  A federally-enforceable limitation on potential to emit puts an existing affected emission unit in
  the same position whether the limitation is adopted before or after August 4, 2023. It also puts
  existing affected units in the same position as new affected units, which can design to a potential
  to emit after the Effective Date.

           EPA has also not applied these requirements consistently across industries. Similar
  provisions are included in the Final Rule for iron and steel, cement, and glass manufacturing.
  See 40 CFR 52.42(b), 52.43(b), and 52.44(b). But the Final Rule does not impose similar time
  restrictions on emission units in other non-EGU industries. See 40 CFR 52.41(b), 52.45(b), and
  52.46(b). The lack of any explanation why certain industries are barred from relying on
  federally-enforceable limitations after a specific date is a material omission from the Final Rule.

         As a practical matter, it is also unfair to subject owners and operators to applicability
  requirements that require State involvement and quick turnaround. Obtaining federally-
  enforceable limitations on potential to emit typically requires amendment of State-issued
  permits. EPA’s own Timing Report states that even minor permit modifications can take “a few
  weeks or months.” Timing Report at ES-3. As discussed in Ground for Reconsideration XI
  below, this is overly optimistic in many cases, particularly when permitting offices are
  backlogged. FIP applicability should not depend on such factors.

         EPA should reconsider the inclusion of this provision in 40 CFR 52.43(b) and remove it.
  Even if EPA were to conclude that some cut-off for applying physical and operational limitations
  on potential-to-emit is necessary (and EPA justifies such a cut-off in the statement of basis and


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  purpose as required by the Clean Air Act), EPA should select a date that is both grounded in the
  emission reduction requirements of the Good Neighbor Plan and that does not unfairly prejudice
  facilities in States with significant permitting backlogs. For example, under the current Good
  Neighbor Plan, there is no justification for imposing such a requirement before May 1, 2026, the
  “compliance date that generally applies to all affected units in the non-EGU industries covered
  by this final rule.” Final Rule at 36,818.12

  VIII.   EPA Should Exempt Co-Fired Reheat Furnaces from the Good Neighbor Plan.

           The Final Rule acknowledges that “EPA does not have sufficient information at this time
  to conclude that [boilers] burning more than 10 percent fuels other than coal, residual or distillate
  oil, or natural gas can operate the necessary controls effectively and at a reasonable cost.” Final
  Rule at 36,833. EPA does not appear to have considered that similar fuels are used by reheat
  furnaces, let alone put information in the record to support treating reheat furnaces and boilers
  that combust more than 10% process gas differently. Indeed, as explained in U. S. Steel’s FIP
  Comments, low-NOx burners were also recently eliminated as a control option for blast furnace
  stoves fueled primarily by blast furnace gas, and they offer limited potential for emission
  reduction in light of co-firing and negative energy usage impacts arising from the lower flame
  temperature with low-NOx burners. thermodynamics of heat transfer to the steel in a reheat
  furnace. USS FIP Comments at 15 and Exhibit D at § 1.2.5. EPA’s finding that there is
  “[in]sufficient information at this time to conclude that units burning more than 10 percent fuels
  other than coal, residual or distillate oil, or natural gas can operate the necessary controls
  effectively and at a reasonable cost” applies equally to reheat furnaces. Yet the Final Rule
  includes no similar provision excluding reheat furnaces that burn more than 10 percent process
  gas from the Good Neighbor Plan. U. S. Steel fully supports the exemption of boilers that
  combust primarily process gas from the Good Neighbor Plan. But having introduced this
  exemption in the Final Rule, EPA must also apply it consistently.

          The applicability provisions for reheat furnaces and boilers were substantially rewritten
  from the Proposed Rule, and EPA did not raise in the Proposed Rule that it was considering a
  heat input exemption for process gas-fired emission units. As a result, it would have been
  impracticable to address EPA’s omission of the exemption for reheat furnaces during the public
  comment period. 42 U.S.C. § 7607(d)(7)(B). On reconsideration, EPA should incorporate a
  similar exemption for reheat furnaces.13 Even if EPA determines that reheat furnaces that co-fire
  process gas should be subject to the Good Neighbor Plan (and provides an adequate explanation
  for including them), at a minimum, EPA should clarify the determination of potential to emit for
  these units. As reflected in the emission requirements for boilers, the use of different fuels
  results in a different NOx emission rate for comparable heat input. See 40 CFR 52.45(c).
  Similarly, in determining potential to emit for co-fired reheat furnaces, a 100 tpy threshold would

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     The Final Rule technically omits this language from the emission limitation in 40 CFR
  52.43(c). This was clearly an omission and should be corrected on reconsideration as well, to
  make clear that the emission limit applies “[b]eginning with the 2026 ozone season” or, as
  discussed in Ground for Reconsideration IV above, within three years following the date the
  Good Neighbor Plan becomes applicable to an emission unit.
  13
     As discussed in Ground for Reconsideration IV above, deadlines should also be included in 40
  CFR 52.43(c) for furnaces that lose this exemption after the Effective Date.


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  capture differently-sized units depending on whether potential to emit is determined based on
  combustion of natural gas or process gas.

  IX.    The Work Plan Process for Reheat Furnaces is Ultra Vires and Violates Due Process.

          A Good Neighbor implementation plan is to contain emission limitations
  (“prohibit[ions]” on “emissions activity”). 42 U.S.C. § 7410(a)(2)(D)(i). The Clean Air Act sets
  forth specific procedural requirements EPA must follow to impose these emission limitations.
  42 U.S.C. § 7607(d). This includes publication of a proposed rule in the Federal Register,
  provision of a statement of basis and purposes, creation of a public docket of supporting
  material, public comment, and response to significant comments. Id. at § 7410(d)(3)-(6). Public
  participation must be for “a reasonable period” and by “at least 30 days” unless expressly
  provided for otherwise in the Clean Air Act. Id. at § 7607(h). Final emission limitations are also
  subject to judicial review. Id. at § 410(d)(7).

          The Final Rule does not impose emission limitations on reheat furnaces. Instead, it
  imposes a “test-and-set requirement for reheat furnaces that will require the installation of low-
  NOx burners or equivalent technology.” Final Rule at 36,818. Specifically, it requires owners
  and operators to submit a work plan and “establish an emissions limit in the work plan that the
  affected unit must comply with.” Id. at 36,879; 40 CFR 52.43(d)(3). U. S. Steel agrees with
  EPA’s conclusion that “[d]ue to variations in the emissions rates that different types of reheat
  furnaces can achieve,” EPA should not “finaliz[e] one emissions limit for all reheat furnaces.”
  Final Rule at 36,828. And while EPA recognized that furnace-specific factors make a universal
  one-size-fits-all approach inappropriate for reheat furnaces, it somehow disregarded these factors
  when imposing a universal reduction mandate in the Final Rule. A universal reduction of 40%
  from baseline is not appropriate because it does not take into account what is achievable for each
  reheat furnace, including what the baseline value actually is—whether, for example, it is 0.12
  lb/MMBtu or 0.24 lb/MMBtu, what limits there are on the type of NOx reduction technology
  that can be used, what fuels the reheat furnace uses, what other pollution control technologies are
  already in place, or other factors that would make a minimum 40% reduction on some units
  technically or economically infeasible. See Attachment A at ¶¶11-12. EPA’s own analysis of
  low-NOx burners shows this bearing true, as it merely cites to an application of low-NOx
  burners at a reheat furnace that achieved a 20% reduction in NOx. See Proposed Rule at 20,145,
  Table VII.C-3. EPA has not provided any basis for the 40% reduction requirement—and such a
  requirement is devoid of any explanation and is therefore arbitrary and capricious.

         U. S. Steel appreciates that EPA was looking to provide flexibility through the work plan
  process in the Final Rule, both on phased construction timeframes and the final emission limits.
  The logical result or outgrowth of finding that there is insufficient information in the record to
  support an emission limit for reheat furnaces, however, is to exclude reheat furnaces from the
  Good Neighbor Plan—not to establish a mandate the reduce NOx by 40% from baseline. EPA
  cannot put in a placeholder and then use a work plan process to develop future record support.
  42 U.S.C. § 7607(d)(6)(C) (“The promulgated rule may not be based (in part or whole) on any
  information or data which has not been placed in the docket as of the date of such
  promulgation.”). The procedure EPA has included in the Final Rule for establishing the final
  emission limits for reheat furnaces falls short of these requirements. U. S. Steel and others



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  similarly situated had no opportunity to comment on the Work Plan requirement or the 40%
  reduction mandate.

         The work plan process in the Final Rule also raises serious Due Process concerns. The
  Final Rule provides that the Administrator will determine completeness of a work plan within 60
  calendar days (40 CFR 52.43(d)(4)(i)), and then, within 60 calendar days after notification of a
  complete work plan, notify the owner and operator via CEDRI or analogous electronic
  submission system whether EPA approves the work plan (40 CFR 52.43(d)(4)(iv). Final Rule at
  36,879-80. The Final Rule does not say what is to be done if the Administrator approves the
  work plan, but if the Administrator does not approve it, the owner or operator has only 15
  calendar days to present in writing additional information or arguments, after which the
  Administrator can issue a final decision disapproving the work plan. Id. at 36,880; 40 CFR
  52.43(d)(4)(iii). If the Administrator disapproves a work plan or finds or work plan was not
  timely submitted or completed, “[e]ach day that the affected unit operates following such
  disapproval of failure to submit shall constitute a violation.” Id.; 40 CFR 52.43(d)(v).

          This work plan process raises several concerns. First, this effectively imposes an
  emission limit of zero, unless an owner or operator can demonstrate to EPA’s satisfaction that a
  higher limit should apply. This turns the rulemaking process on its head and finds no support in
  the Clean Air Act.

          Second, the procedural rights it affords clearly fall short of what would be required for a
  prohibition on operation. Even in the case of a 126 petition, through which the Clean Air Act
  expressly authorizes EPA to limit the emissions of a particular “major source or group of major
  sources” to prevent “violation of the prohibition of section 7410(a)(2)(D)(ii),” the Clean Air Act
  requires both a public hearing and the provision of at least three months for a source to come into
  compliance while continuing to operate. 42 U.S.C. § 7426(b). There is no justification for
  imposing an even more draconian ban—with less process—through implementation of a FIP that
  is expressly required to avoid over-control. See, e.g., Final Rule at 36,704; EME Homer City,
  572 U.S. at 523.

         Third, EPA’s work plan process circumvents the notice and comment rulemaking
  procedure EPA is required to follow in 42 U.S.C. § 7607(d), including publication of both the
  proposed and final emission limit in the Federal Register, provision of at least 30 days for public
  comment, a requirement that EPA will respond to all significant comments, requirement that
  issuance of the final decision and statement of basis will be published in the Federal Register,
  and that EPA’s final decision will be subject to judicial review. In the regional haze test-and-set
  process EPA adopted for certain taconite furnaces, for example, the emission limits to be set
  become enforceable “only after EPA’s confirmation or modification of the emission limit in
  accordance with” procedures that include EPA taking “final agency action by publishing its final
  confirmation or modification of the NOx limit in the Federal Register.” See, e.g., 40 CFR
  42.1235(b)(1)(ii)(A)(1)-(7). No such protections are afforded in the Good Neighbor Plan.

         Finally, even if EPA’s work plan process could be squared with the procedural
  requirements of the Clean Air Act, the current regulations do not provide sufficient clarity on the
  grounds on which the Administrator will determine whether a work plan “is complete, that is,
  whether the request contains sufficient information to make a determination” or fails “to satisfy


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  the requirements of paragraphs (c) and (d)(1) through (3) of this section.” Final Rule at 36,880;
  40 CFR 52.43(d)(4)(i) and (v). As currently promulgated, the work plan process is so vague as
  to necessarily result in an arbitrary and capricious decision.

          This work plan process was not proposed in the Proposed Rule and U. S. Steel had no
  notice that EPA was considering it prior to the Final Rule.14 EPA must grant reconsideration to
  address the flaws in its work plan process for reheat furnaces and should, on reconsideration,
  remove reheat furnaces entirely from the Good Neighbor Plan.

  X.     The Work Plan Requirements for Reheat Furnaces Are Not Supported by the Record.

         As noted in Ground for Reconsideration IX above, EPA did not propose a work plan
  process for reheat furnaces in the Proposed Rule. As a result, it would have been impracticable
  to comment on the target emission reductions and schedule in the Final Rule during public
  comment. As discussed in Ground for Reconsideration IX above, the reheat furnace
  requirements should be withdrawn entirely. If they are not, EPA must reconsider the
  requirements in these aspects of the Final Rule as well.

         A.      A Minimum 40% Reduction in NOx from Installation of Low-NOx Burners is
                 Not Justified by the Record.

          The Final Rule requires existing affected units to “install and operate low-NOx burners or
  equivalent alternative low-NOx technology designed to achieve at least a 40% reduction from
  baseline NOx emissions.” 40 CFR 52.43(c). But EPA nowhere explains where this 40% target
  comes from. In the Proposed Rule, EPA proposed a 40% reduction through selective catalytic
  reduction (“SCR”). Proposed Rule at 20145, Table VII.C-3. Commenters, including U. S. Steel,
  submitted information showing that SCR is not technically feasible and its use was not supported
  by the record. See, e.g., USS FIP Comments at 14-15. In the Final Rule, EPA has switched to
  reliance on low-NOx burners. Final Rule at 36,818. But EPA has not pointed to evidence that a
  40% reduction is feasible for low-NOx burners. To the contrary, the Proposed Rule gives as an
  example a reheat furnace with low-NOx burners at Sterling Steel, which achieved less than a
  20% reduction from the Ohio NOx RACT limit EPA used as its baseline for determining feasible
  NOx reductions. See Proposed Rule at 20145, Table VII.C-3.

          As discussed in Ground for Reconsideration VIII above, EPA should exclude co-fired
  reheat furnaces from the Good Neighbor Plan entirely. If it does not, the 40% reduction goal
  presents an additional problem for these units. There is nothing in the record on their emission
  reduction potential from installation of low-NOx burners. Indeed, some process gases (like blast
  furnace gas) are by nature low-NOx. A 40% reduction is not demonstrated as feasible from
  these units. Combustion of coke oven gas introduces additional complications. NOx generation

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     The only emission units subject to a work plan in the Proposed Rule were taconite furnaces in
  the metal ore mining industry. Proposed Rule at 20,182. This was based on a work plan process
  negotiated by EPA as a resolution to various rulemaking challenges to the 2016 Minnesota
  Regional Haze Federal Implementation Plan. A proposal to apply a specific work plan process
  to one industry is not notice that EPA is considering applying a different work plan process to
  different emission units in a different industry.


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  can vary significantly based on the nitrogen content of the process gas. This variability would
  have to be factored into determining an emission reduction potential for reheat furnaces that burn
  coke oven gas.

          More generally, it is inconsistent with the work plan process for EPA to impose a
  minimum emission reduction requirement across all units. If the purpose of the work plan is to
  evaluate what is feasible for each unit, see 40 CFR 52.43(d)(3), the engineering evaluation of
  what is feasible should guide the emission reductions. As a result, if a work plan process is
  included following reconsideration, EPA should require installation of “cost effective emission
  controls” in accordance with the work plan, not a predetermined target reduction. See, e.g. Final
  Rule at 36,746.

         B.      The Schedule for Reheat Furnaces is Not Feasible.

         The Final Rule requires owners and operators to submit a work plan by August 5, 2024.
  Final Rule at 36,879; 40 CFR 52.43(d)(1). The work plan approval process involves two rounds
  of EPA review, for completeness and approval, which will result in a final work plan by late
  2024 or early 2025. Id.; 40 CFR 52.43(d)(4). Certification of installation is then due March 30,
  2026. Id.; 40 CFR 52.43(g). This leaves approximately 15-16 months from work plan approval
  to completion of installation.

          In U. S. Steel’s experience, this is greatly insufficient. U. S. Steel has prepared a
  schedule for installation of low-NOx burners on the four reheat furnaces at U. S. Steel – Gary
  Works’ 84” Hot Strip Mill. See Attachment A at Attachment 1, Appendix A. Even without the
  delay inherent in waiting for work plan approval, installation of low-NOx controls is expected to
  take until May 2027. Comparing this to EPA’s assessment of the timing for compliance in the
  Timing Report, which was released with the Final Rule, it is clear that EPA underestimates the
  time required for initial evaluation and work plan approval, the likely time needed for permitting,
  and the time needed for fabrication and construction of pollution control requirement.

                 1.     EPA’s Timing Report Does Not Consider Work Plan Approval

          The Timing Report assumes that implementation can begin in Month 3 (November 2023
  for the Final Rule). Timing Report at 22. As noted above, however, EPA will not approve work
  plans until December 2023 or January 2024, assuming no delay on EPA’s part in reviewing and
  approving work plans. Approval could take significantly longer if EPA is delayed or there is a
  need for supplemental information. Nowhere in the Timing Report does EPA appear to have
  considered the impact of this delay. Work plans are not mentioned at all and there is no time
  provided for their approval. Given EPA’s assumption that all work can be completed in 15
  months, the loss of even two months is significant and undermines EPA’s compliance deadlines
  for reheat furnaces.

                 2.     The Timing Report Underestimates Vendor Availability.

          The Timing Report recognizes that vendor demand and capacity can introduce delays.
  Timing Report at 41. The Report appears to conclude that vendor capacity will not be a cause of
  delay, but U. S. Steel is already experiencing problems obtaining vendor quotes and finding and


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  scheduling qualified union contractors. See Attachment A at ¶¶9 and 10. These issues are likely
  to get worse as EPA continues to implement additional Clean Air Act regulations that impose
  additional obligations on the iron and steel industry. See id. at ¶¶26-27. In addition, EPA’s
  Timing Report only evaluates vendor availability for SCR and SNCR installation. Timing
  Report at 41-42. It does not assess the availability of low-NOx burner vendors for work on
  reheat furnaces, which is the technology EPA selected in the Final Rule. Here too U. S. Steel has
  found difficulty obtaining sufficient vendor quotes to proceed. Attachment A at ¶9.

                 3.     The Final Rule Underestimates Permitting Times.

           The Timing Report assumes that permitting can be completed in six months, despite
  noting that permitting can take over a year and may take longer. Compare Timing Report at 22
  with ES-3. The Report does not reconcile these discrepancies. It appears to simply conclude
  that state permitting offices should be able to move quickly as long as they are not backlogged
  with other work. But EPA does not evaluate what other work States will be doing in the same
  timeframe. In Indiana, for example, EPA estimates that the Good Neighbor Plan will result in an
  additional 51 permit applications for non-EGU control installations alone. Timing Report at 44,
  Table 4-15. EPA assumes this will take 2,200 hours of work, which EPA assumes Indiana can
  compress into six months without any consideration of other permitting requirements that may
  arise in the same timeframe.

          Combined, these delays make the schedule in the FIP highly unlikely. On
  reconsideration, if EPA retains a work plan process, EPA should revise the compliance schedules
  to allow sufficient time for work plan approval, engineering, permitting, installation, and testing
  prior to the certification date. At a minimum, this should allow for implementation through the
  2027 ozone season.

  XI.    The Applicability Determination for Boilers at Iron and Steel Milles was Not a Logical
         Outgrowth of the Proposed Rule.

          The Proposed Rule proposed to regulate boilers at iron and steel mills that “directly emits
  or has the potential to emit 100 tons per year or more of NOx.” Proposed Rule at 20,181. EPA
  gave no notice that it was considering other applicability thresholds for boilers at iron and steel
  mills. In the Final Rule, however, EPA switched the applicability requirement to “a design
  capacity of 100 mmBtu/hr” and other restrictions. Final Rule at 36,884; 40 CFR 52.43(b). This
  was a significant departure, which EPA acknowledges captured more boilers than originally
  proposed. See id. at 36,819. EPA afforded the regulated community no opportunity to review
  the effects and applicability on these additional boilers until the Final Rule was released,
  however. This alone was improper. Small Ref., 705 F.2d at 547 (“the final rule must be a logical
  outgrowth of the proposed rule”) (quotations omitted). Furthermore, EPA has not adequately
  supported its contention that a boiler with a PTE of 100 tons is comparable to a boiler with a
  design capacity of 100 MMBtu/hr. A boiler’s design capacity is not necessarily correlated with a
  boiler’s design capacity. Frequently, based upon changes at facilities in which steam needs are
  reduced, operators do not use boilers near their design capacity. The assumption to correlate 100
  tons to 100 MMBtu/hr is inappropriate.




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  XII.    The Schedule for Boilers to Install Low-NOx Controls is Infeasible.

          The Final Rule requires compliance testing to be completed no later than May 1, 2026.
  Final Rule at 36,885; 40 CFR 52.45(d)(1)(i). Since compliance testing requires 30 days, controls
  must be installed by April 2026. Id.; 40 CFR 52.45(d)(1). Even for states in which the Final
  Rule has not been stayed, this is not enough time to plan, design, approve, permit, install, and
  test new controls.

          EPA’s Timing Report estimates the Good Neighbor Plan will result in the installation of
  pollution controls on over 160 boilers in the same 31-month period. Timing Report at 32.
  Delays associated with stays of the SIP Disapproval will compress this period for many States.

          For the iron and still industry, this will be on top of addressing reheat furnaces and
  several additional rules currently being promulgated. See Ground for Reconsideration VI above.
  The result is that the regulated community, permitting authorities, and vendors will likely be
  overwhelmed.

          On reconsideration, EPA should reassess the timing needed to comply with the Good
  Neighbor Plan in light of the unenforceability of the Good Neighbor Plan in many states during
  judicial review of the SIP Disapproval, more realistic permitting times, and after additional
  consideration of the multiple obligations arising from other Clean Air Act regulations being
  promulgated by EPA.

  XIII.   The Heat Input Requirement for Boilers Does Not Adequately Provide for Outages of
          Sources of Process Gas.

          EPA appropriately exempted from the Good Neighbor Plan a boiler that “receives 90% or
  more of its heat input from coal, residual oil, distillate oil, natural gas, or combinations of these
  fuels.” Final Rule at 36,884; 40 CFR 52.45(b)(1). In the Final Rule, EPA added “in the previous
  ozone season,” which helps clarify how heat input is to be averaged. Id. This addition, however,
  does not adequately accommodate outages for sources of process gas.

          An extended idling of blast furnace operations, for example, can result in periods of blast
  furnace gas curtailment that could cause a boiler to exceed the 90% heat input threshold in a
  single ozone season. Bringing a co-fired boiler into the Good Neighbor Plan based on an
  exceedance of the 90% heat input requirement for a single ozone season, when it will return to
  normal operation shortly thereafter, makes little sense. Installing controls that are not technically
  or economically feasible to operate during normal operation is inconsistent with the record and
  will not be environmentally beneficial. The time it will take to plan, design, permit, install, and
  test controls will also take longer than the single year such a unit might need to operate on below
  10% process gas.

          On reconsideration, EPA should accommodate extended outages, either by allowing
  owners and operators to exclude from the heat input calculation short periods when alternative
  fuels are not available, or by providing a longer averaging period, such as the three-ozone season
  average the FIP provides for low-use boilers in 40 CFR 52.45(b)(2).



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  XIV. EPA Has Not Adequately Explained How Compliance Is Determined for Co-Fired
       Boilers.

          The Final Rule exempts a boiler that “receives 90% or more of its heat input from coal,
  residual oil, distillate oil, natural gas, or combinations of these fuels.” Final Rule at 36,884; 40
  CFR 52.45(b)(1). If EPA concludes that they should be regulated, it must provide an appliable
  emission limit supported by the record. While U. S. Steel agrees that the introduction of process
  gases can and does interfere with the applicability and effectiveness of controls, it also affects the
  emission rates a unit can achieve. The Final Rule provides that heat input is to be calculated for
  natural gas, residual oil, distillate oil, and coal based on a per fuel basis. Id.; 40 CFR 52.45(c).
  EPA conducted no analysis of what emission limit can be achieved at a co-fired unit. If EPA
  intends to regulate these sources, it needs to have an applicable emission limit that is justified by
  the administrative record. The absence of any justification in the current record would render
  applying one of the above emission limits to combustion of process gas arbitrary and capricious.

  XV.    EPA Should Have Made Facility Wide Averaging Plans Available for Reheat Furnaces
         and Boilers.

          In the Final Rule, EPA introduced the concept of a “Facility-Wide Averaging Plan” to
  “enable owners and operators of affected units to take costs, installation timing needs, and other
  considerations into account in deciding which [units] to control.” Final Rule at 36,759-60.
  Facility-wide averaging was not proposed for any industry in the Proposed Rule. As a result,
  U. S. Steel did not have notice EPA was considering emission unit averaging for the Good
  Neighbor Plan. EPA made this option available in the Final Rule, but only for emergency
  engines in the Pipeline Transportation of Natural Gas industry. Id. EPA provided no
  justification for excluding other industries and sources from the option of using an averaging
  plan.

          There is no practical justification for excluding reheat furnaces and boilers at iron and
  steel mills from being able to use of an averaging plan. U. S. Steel, for example, has long used
  averaging at emission units to facilitate permitting and maximize compliance efficiencies,
  including for boilers and reheat furnaces. See Attachment A at ¶¶29-31.

          On reconsideration, EPA should allow reheat furnaces and boilers at iron and steel mills
  to take advantage of similar efficiencies and by being able to request a Facility-Wide Averaging
  Plan for boilers and reheat furnaces that are subject to the Final Rule.

                            Ground for Stay of the Good Neighbor Plan

         EPA has authority to stay the Good Neighbor Plan both pending reconsideration and
  pending judicial review. First, a stay pending reconsideration can be granted for three months. 42
  U.S.C. § 7607(d)(7). Second, EPA has authority under the APA to stay the Good Neighbor Plan
  pending judicial review.




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  I.     EPA Should Stay the Good Neighbor Plan Pending Reconsideration.

          The Clean Air Act provides that, if EPA grants reconsideration of a rule, “[t]he
  effectiveness of the rule may be stayed during such reconsideration…by the Administrator or the
  court for a period not to exceed three months.” 42 U.S.C. § 7607(d)(7)(B). EPA may also issue
  a longer stay pending reconsideration under the APA. 5 U.S.C. § 705; 42 U.S.C. § 7607(d)(1).
  A stay pending reconsideration is justified here.

          As discussed above, the Final Rule suffers from critical flaws. It was promulgated in
  violation of Clean Air Act requirements for many of the States to which it nominally applies. It
  is based on centrally-relevant information that was not subject to notice and comment, in
  violation of the procedural requirements of the Clean Air Act. It contains numerous omissions
  and contradictions that require clarification before the Good Neighbor Plan can reasonably be
  applied to reheat furnaces and boilers at iron and steel mills. And it overcontrols upwind State
  emissions, improperly shifting the burden of attainment the NAAQS from downwind States.
  These issues must be addressed before the FIP is enforced against owners and operators of
  affected units.

         A stay of three months will allow EPA the time needed to reconsider the Good Neighbor
  Plan and incorporate the above grounds for reconsideration in a decision either to wholly
  withdraw the Final Rule or to publish a revised FIP that is legally and technically defensible. If
  additional time is needed, EPA should exercise its authority under the APA to extend the stay to
  allow sufficient time for full reconsideration and (as discussed below) judicial review.

          A stay will also not unduly impact downwind states. The FIP cannot be enforced in ten
  states during the pendency of the current SIP Disapproval litigation, which will likely not be
  resolved for the duration of a reconsideration stay. At the same time, it will inequitably affect
  the remaining States subject to the Good Neighbor Rule, which is inconsistent with the spirit and
  intent of the Clean Air Act and EPA’s stated intent in the Good Neighbor Rule itself to equitably
  distribute burdens and collectively address downwind impacts. Moreover, emission reductions
  from the iron and steel industry are not anticipated until 2026, long after a stay pending
  reconsideration will be completed. As a result, a stay pending reconsideration of the Good
  Neighbor Plan, and in particular the provisions of the Final Rule applicable to reheat furnaces
  and boilers at iron and steel mills, will have no impact on downwind attainment or maintenance
  of the NAAQS.

  II.    EPA Should Stay the Good Neighbor Plan Pending Judicial Review.

          Under the APA, EPA may stay the effective date of the Good Neighbor Plan pending
  judicial review when “justice so requires.” 5 U.S.C. §705. Multiple petitions have already been
  filed for judicial review, including petitions by Texas, Utah, Ohio, Indiana, West Virginia, and
  Oklahoma. More are likely, including a petition for judicial review that U. S. Steel is filing
  contemporaneously with this Petition. These cases are already spread across three circuits, and
  additional litigation may expand the number of courts further.

         The effective date of the Final Rule is August 4, 2023, but the Good Neighbor Plan
  already cannot be applied in several states because of stays of the SIP Disapproval. A stay


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  pending judicial review will therefore simply reflect the legal reality in those States. Further, the
  significant legal flaws in EPA’s Final Rule discussed above make it likely that judicial review
  will result in a remand, if not vacatur, of the Good Neighbor Plan. As a result, a stay is strongly
  supported to avoid the unnecessary expenditure of EPA resources, State resources, and the
  resources of the public and regulated industries in addressing a FIP that is unlikely to sustained
  in its current form.

          Further, while EPA is not bound to apply the same four-factor analysis used by courts for
  granting a judicial stay pending review, these factors also support issuance of a stay pending
  judicial review. Under this standard, the considerations for a stay are:

         1.     whether the stay applicant has made a strong showing that he is likely to
         succeed on the merits;

         2.      whether the applicant will be irreparably injured absent a stay;

         3.      whether issuance of the stay will substantially injure the other parties
         interested in the proceeding; and

         4.      where the public interest lies.

  Nken v. Holder, 556 U.S. 418, 434, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009) (citation omitted).
  These “four considerations are factors to be balanced and not prerequisites to be met.” State of
  Ohio ex rel. Celebrezze v. Nuclear Regul. Comm’n, 812 F.2d 288, 290 (6th Cir. 1987).

         A.      There is a High Likelihood of Success on the Merits.

           There is no fixed probability of success the agency must find in applying these
  considerations. “Ordinarily the party seeking a stay must show a strong or substantial likelihood
  of success. However, at a minimum the movant must show ‘serious questions going to the
  merits and irreparable harm which decidedly outweighs any potential harm to the defendant if a
  [stay] is issued.’” Id. (quoting In re DeLorean Motor Company, 755 F.2d 1223, 1229 (6th
  Cir.1985)).

         As discussed above, the Good Neighbor Plan has substantive and procedural flaws, each
  of which individually, and more so when combined, demonstrate “a high probability of success
  on the merits.” Ohio ex rel. Celebrezze v. Nuclear Regul. Comm’n., 812 F.2d 288, 290 (6th
  Cir.1987). Substantively, EPA’s Final Rule is based on circumstances that have been completely
  undermined by recent developments. It was not promulgated in accordance with the Clean Air
  Act. And was rushed to the point that it violates the core tenets of Cooperative Federalism on
  which the Clean Air Act, and the NAAQS program in particular, is based. For the iron and steel
  industry in particular, the FIP lacks a factual basis for supporting the regulation of reheat
  furnaces and boilers, or a justification for the requirements included in the Final Rule.

          Because EPA’s FIP is factually and procedurally flawed, and imposes requirements on
  reheat furnaces and boilers that are incomplete and in many states unenforceable, a challenge for
  judicial review is likely to prevail on the merits.



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         B.      Absent a Stay, U. S. Steel Will Suffer Imminent Irreparable Harm.

           Relevant factors for evaluating the harm which will occur both if the stay is issued and if
  it is not, the court must look to three factors: the substantiality of the injury alleged, the
  likelihood of its occurrence, and the adequacy of the proof provided. Ohio ex re. Celebrezze,
  812 F.2d at 290 (citing Cuomo v. United States Nuclear Regulatory Commission, 772 F.2d 972,
  974 (D.C.Cir.1985)).

           The Final Rule poses substantial and imminent injuries to U. S. Steel. EPA itself warned
  owners and operators that they would need to “begin engineering and financial planning” as of
  the date of the Proposed Rule to be prepared to meet EPA’s implementation timetable. Proposed
  Rule at 20,036; see also Unpublished Order, Texas v. EPA, Case No. 23-60069, ECF 269-1, at
  22 (citing EPA’s FIP timetable as ground for finding irreparable harm). Notwithstanding the fact
  that it is unreasonable to suggest that significant funds and resources should be used to
  implement a proposed rule that is subject to change (as the Good Neighbor Plan has changed),
  the Final Rule afforded no relief from this unreasonably short schedule. As discussed above, and
  in the attached Declaration of Alexis Piscitelli (Attachment A at ¶¶6-10), it allows insufficient
  time for design, permitting, and installation of controls; likely years less than what will be
  required. As a result, absent a stay, U. S. Steel cannot afford to wait before it must incur
  substantial costs on work plans that EPA does not have authority to impose, and on the design,
  permitting and installation of boiler and reheat furnace modifications that are unnecessary and
  may be subject to modification in a revised FIP.

          As further discussed in the attached Declaration of Alexis Piscitelli, implementation of
  the Good Neighbor Plan is requiring U. S. Steel to incur immediate and significant costs.
  Attachment A at ¶¶3, 11-19. The work required by the Good Neighbor Plan will cost between
  $28 and $46 million at a single facility, excluding testing, monitoring, recordkeeping and
  reporting costs. Attachment A at ¶15. This cost far exceeds the $7,500/ton marginal cost
  assumed by EPA in the Final Rule. See, e.g. Final Rule at 36,733. These costs are not only
  unnecessary, they are being imposed without adherence to law. As a result, they constitute a
  significant irreparable harm to U. S. Steel. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200,
  220-21 (1994) (“complying with a regulation later held invalid almost always produces the
  irreparable harm of nonrecoverable compliance costs.”) (Scalia, J., concurring in part and in the
  judgment). The compounding effect of these burdens on top of other regulations pending from
  EPA further exacerbates to significance of the harm to U. S. Steel. See Attachment A at ¶¶20-
  28.

         C.      A Stay Will Not Significantly Injury Other Parties.

           Emissions reductions from the iron and steel industry are not anticipated to take effect
  until 2026 at the earlier in the Final Rule. As a result, there can be no appreciable injury to third
  parties pending judicial review. Moreover, because the Good Neighbor Plan cannot be applied
  in at least 10 states pending judicial review of EPA’s SIP Disapproval, the Good Neighbor Plan
  is unlikely to apply until the 2024 ozone trading season even without a stay. As a result, a stay
  pending judicial review of the FIP will not result in any harm.




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         D.      A Stay is in the Public Interest.

          As courts have held, there is a public interest in enjoining inequitable conduct and in
  minimizing unnecessary costs to be met from public coffers. See, e.g. B & D Land & Livestock
  Co. v. Conner, 534 F. Supp. 2d 891, 910 (N.D. Iowa 2008). Here, the public interest supports a
  stay. As discussed above, EPA’s Final Rule is without statutory authority and was promulgated
  through the inequitable exclusion of public participation on the information central to EPA’s
  action. The result will be costly and needless public expenditures, both by U. S. Steel and the
  States that must act on the hundreds of permit applications the FIP requires, all while the Good
  Neighbor Plan is pending judicial review.

         While it was an error for EPA to promulgate the Final Rule, EPA can ameliorate the
  harm of this error by staying the effect of the Good Neighbor Plan until the merits of the issues
  above can be fully evaluated and addressed.

                                              Conclusion

          Because circumstances arising after the close of the public comment period and before
  the time for judicial review demonstrate that the Good Neighbor Plan must be withdrawn, and
  because the FIP imposes significant obligations on the iron and steel industry that were not part
  of the Proposed Rule and that, with further comment, should have been corrected or amended,
  EPA is obligated to grant reconsideration and should withdraw the Final Rule, either in its
  entirely or as to reheat furnaces and boilers at iron and steel mills.

         Further, to avoid the significant and irreparable harm to U. S. Steel arising from EPA’s
  erroneous promulgation of the Final Rule, EPA should stay 40 CFR 52.43 of the Good Neighbor
  Plan and 40 CFR 52.45 as applied to the iron and steel industry pending reconsideration and
  pending judicial review.

  Dated: August 4, 2023                              Respectfully Submitted,



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                 ATTACHMENT A – DECLARATION OF ALEXIS PISCITELLI
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                                ATTACHMENT 1
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  Technical Memorandum

  To:      Louis Covelli (U. S. Steel)
  From:    Dane Jensen
  Subject: 84” Hot Strip Mill Reheat Furnaces Good Neighbor Plan NOX Emissions Controls
           Evaluation
  Date:    August 3, 2023
  Project: 14451044.00
  c:       Thomas Ruffner, David Hacker, Kendra Jones, Christopher Hardin, Brett Tunno (U. S.
           Steel), Ryan Siats (Barr Engineering Co.)


  Executive Summary
  The U.S. Environmental Protection Agency (EPA) is taking action under the “good neighbor” or “interstate
  transport” provision of the Clean Air Act, with rulemaking that will take effect on August 4, 2023. The
  Good Neighbor Plan rulemaking under Docket ID No. EPA–HQ–OAR–2021-0668 requires emission
  reductions for affected facilities at U. S. Steel – Gary Works (USS), namely the 84” Hot Strip Mill (HSM)
  reheat furnaces (RHFs). The draft rulemaking requires a 40% NOX reduction for RHFs. Barr was tasked with
  assessing the technical feasibility of selective catalytic reduction (SCR) and selective non-catalytic
  reduction (SNCR) technologies, reviewing facility impacts of feasible NOX controls including Low NOX
  Burners (LNB), estimating costs and the cost effectiveness of feasible NOX controls, and summarizing
  annual compliance testing costs.

  The key findings of the HSM NOX evaluation include:

      •   SCR is not technically feasible for the RHFs.

      •   SNCR is not technically feasible for the RHFs. There are operating conditions where the flue gas
          temperatures are expected to be outside the required SNCR reaction range.

      •   The compliance schedule in the draft rulemaking is insufficient to allow for installation of NOX
          control technologies given requirements for baseline emissions testing, permitting, and
          availability of equipment vendors, mill wrights, engineering staff, etc.

      •   LNBs would require furnace upgrades, new flame safety equipment, and other facility
          modifications to accommodate this technology.

      •   The cost effectiveness of LNBs ranges from $18,300 to $42,300 per ton of NOX removed.

      •   Annual performance testing costs for the RHFs are estimated to be $13,300 to comply with the
          monitoring requirements of the Good Neighbor Plan.




          Barr Engineering Co. 325 South Lake Avenue, Duluth, MN 55802 | 218.529.8200 | barr.com
                                                                                              www.
   To:      Louis Covelli (U. S. Steel)
USCA
  From:Case #23-1207
         Dane Jensen                Document #2013657                  Filed: 08/22/2023              Page 1580 of 1689
   Subject: 84” Hot Strip Mill Reheat Furnaces Good Neighbor Plan NOX Emissions Controls Evaluation
   Date:    August 3, 2023
   Page:    2


   Additional detail on each finding is summarized by Section below.

   1     Good Neighbor Rule Regulatory Applicability
   The regulatory applicability of the RHFs to the Good Neighbor Plan is described below.

   40 CFR 52.43(b) states “The requirements of this section apply to each new or existing reheat furnace at an
   iron and steel mill or ferroalloy manufacturing facility that directly emits or has the potential to emit 100
   tons per year or more of NOX on or after August 4, 2023, does not have low-NOX burners installed, and is
   located within any of the States listed in § 52.40(c)(2), including Indian country located within the borders of
   any such State(s).” The four reheat furnaces located at the Gary Works HSM all exceed a 100 tpy NOX
   potential to emit, are in a state listed in §52.40(c)(2), and do not have LNB installed. Therefore, the RHFs
   are subject to the provisions of 40 CFR 52.43 and must achieve a 40% NOX reduction from baseline
   conditions by the 2026 ozone season.

   2     Technical Feasibility of SNCR and SCR
   The technical feasibility of SNCR and SCR for the RHFs is discussed below. Figure 1 marks locations #1, #2,
   and #3 that will be referred to in the SNCR and SCR feasibility discussions for reference.




   Figure 1     SNCR and SCR Feasibility Evaluation Locations
   To:                          Louis Covelli (U. S. Steel)
USCA
  From:Case #23-1207
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   2.1                         SNCR
   SNCR involves the injection of ammonia or urea into a flue gas stream where the reagents react with NOX
   to form elemental nitrogen. SNCR reactions require the flue gas temperature to be within a 1,600°
   Fahrenheit (F) to 2,100°F temperature range, with 1,800°F being ideal.

   The only suitable SNCR injection location within the appropriate temperature location is #1, namely the
   outlet of the RHFs prior to the recuperator (refer to Figure 1). USS provided temperature data for this
   location and typically temperatures range from 1,600 to 1,930°F when operating. However, there are
   concerns about the viability of the data. A large portion of the data Barr received shows failed
   thermocouples or unreliable data trends. Figure 2 and Figure 3 show the Furnace 1 East and Furnace 4
   East uptake temperatures, respectively, as an example of the sporadic data. It is unclear what represents
   “real” data vs. what is noise or failed thermocouples.

                               3000



                               2500



                               2000
         Temperature (Deg F)




                               1500



                               1000



                                500



                                  0
                                3/30/2022 5/19/2022 7/8/2022 8/27/2022 10/16/2022 12/5/2022 1/24/2023 3/15/2023 5/4/2023 6/23/2023

   Figure 2                           Furnace 1 East Uptake Temperatures Vs. Time
   To:                          Louis Covelli (U. S. Steel)
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                               2500




                               2000
         Temperature (Deg F)




                               1500




                               1000




                                500




                                  0
                                3/30/2022 5/19/2022 7/8/2022 8/27/2022 10/16/2022 12/5/2022 1/24/2023 3/15/2023 5/4/2023 6/23/2023

   Figure 3                           Furnace 4 East Uptake Temperatures Vs. Time

   Another important design factor is residence time in the ducting with the high SNCR reaction
   temperatures. Vendors believe that there should be sufficient residence for SNCR in this application based
   on their review of USS data.

   However, there are operating conditions where the flue gas fails to meet the minimum SNCR reaction
   temperatures, rendering SNCR infeasible. The Good Neighbor Plan requires a 40% NOX reduction.
   Therefore, SNCR cannot sufficiently control NOX at all times under all operating conditions. This is
   especially important during hot-standby conditions where fuel firing occurs, but USS expects the uptake
   temperatures to be below minimum SNCR requirements. In addition, a vendor stated that a feasibility
   study would be required to provide any sort of NOX reduction guarantee. While SNCR is feasible during
   some operating scenarios, it cannot provide the needed consistent NOX reduction for compliance
   purposes.

   2.2                         SCR
   SCR reduces NOX emissions with ammonia or urea injection in the presence of a catalyst. The catalyst
   enables the de- NOX reactions to proceed at a lower temperature than SNCR. Most SCR catalysts must be
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   at 450° F to 800° F for proper SCR operation based on vendor discussion and the EPA Control Cost
   Manual 1. Each location for SCR from Figure 1 above was reviewed for SCR feasibility.

   Location #1 – the temperatures at location #1 are too high (i.e., 1,600 to 1,930°F), so SCR is not
   technically feasible.

   Location #2 – Waste heat temperatures exiting the recuperator are also too high for SCR. From May 2022
   to May 2023, the average waste heat temperature was over 900°F, with temperature spikes exceeding
   1,150°F. This is well above the optimal SCR range noted above. USS is aware that there are high-
   temperature applications of SCR on simple cycle combustion turbines in the temperature ranges of 850 to
   1,000°F with vendors stating that 1,100°F would be the absolute maximum allowable temperature.
   However, high temperature SCR systems are significantly more costly due to special catalyst formulations
   and the catalyst life expectancy tends to shorten significantly, requiring more frequent changes that may
   inhibit production. As noted above, the high temperature spikes above 1,150°F would be above the
   maximum allowable temperature range making SCR infeasible for this location. In addition, high
   temperature SCR applications for simple cycle combustion turbines often use tempering air to reduce
   exhaust temperatures to suitable levels for normal SCR reaction temperatures. However, the use of
   tempering air is impractical for this application because the exhaust flows exiting the recuperator are
   quite large (i.e., more than 800,000 acfm) meaning that large amounts of make-up air would be required
   to sufficiently cool the exhaust flow to acceptable SCR reaction temperatures. The exhaust handling
   equipment cannot accommodate additional flow, and all the areas surrounding the recuperator outlet
   ductwork are extremely cramped with no reasonable way to incorporate additional cooling air, let alone
   provide sufficient residence time for mixing. In addition, tempering air would dilute the NOX inlet
   concentration reducing the control equipment effectiveness. Further, SCR reactors for airflows of this
   magnitude are very large requiring a significant footprint. As noted above, the spacing surrounding this
   location is cramped, and it would be essentially impossible to shoe-horn a SCR reactor in place for this
   application. Also, it is not known if the existing building infrastructure could support additional weight
   above the furnace after the recuperator. Therefore, SCR is not technically feasible for location #2.

   Location #3 – Exhaust temperatures at the exit of the waste heat boilers (WHBs) range from
   approximately 450 – 925°F. This mostly fits the SCR reaction temperature requirements. While the
   temperature profile may be satisfactory, it is impractical to install a SCR reactor at this location. Only a
   portion of the RHF exhaust is routed through the WHBs, meaning that the entire gas stream would not be
   treated. In addition, there are times when only the ejector stack is used, and no exhaust is routed through
   the WHBs. Therefore, there is no way to guarantee any consistent level of NOX reduction with SCR at this
   location with incomplete or no RHF exhaust treatment, and would jeopardize compliance with the Good
   Neighbor Plan limits. Further, the variable exhaust flow through the WHBs would significantly complicate
   any SCR reactor design and may make it difficult to properly inject sufficient reagents and maintain
   proper mixing for all operating conditions. Further, spaces surrounding the outlet of the WHBs are very




   1 https://www.epa.gov/sites/default/files/2017-12/documents/scrcostmanualchapter7thedition_2016revisions2017.pdf
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   cramped leaving no viable location for a sizeable SCR reactor. Therefore, SCR is not practical or technically
   feasible for Location #3.

   3     Facility Impacts of New NOX Controls
   According to discussions with vendors, LNBs will not impact production rates and burner vendors are
   willing to provide this guarantee. While not inherently challenging to LNBs, there are significant concerns
   about the schedule and the implementation period proposed in the Good Neighbor Plan (i.e., reductions
   must be achieved by the 2026 ozone season). As a result of this rulemaking, USS will need to conduct and
   obtain results from baseline emissions testing prior to submission of an application to modify the facility’s
   operating permit to integrate either control technology. In addition, there are numerous facilities and
   industries nationwide that will be required to install controls for compliance. Therefore, USS is concerned
   that there will be insufficient resources for performance testing, permitting, engineering, equipment
   suppliers, equipment fabricators, and mill wrights that will allow USS to install necessary controls for
   compliance, much less all other affected facilities nationwide.

   Schedule concerns have been evident during the development of this memo as Barr has attempted to
   obtain three separate vendor quotes. However, only two firms have provided costs for both LNB August 3,
   2023. One LNB vendor failed to provide a quotation to USS even after stating that they could provide a
   new quote, so a 2020 cost estimate was scaled to 2023 dollars for this effort. This further demonstrates
   the need for additional time for implementation of this rule given vendor backlogs and unexpected
   supply chain disruptions. In addition, USS estimated a schedule based on engineering experience for the
   installation of LNBs (included as Appendix A to this memo) showing that there is insufficient time in the
   draft rule to install controls on all four RHFs and meet the compliance deadline.

   Facility impacts for LNB installations are listed below:

         •   To accommodate new burners, USS will need to upgrade the furnace so that sufficient pressure
             can be maintained at the burners for safe and reliable operation.

         •   New National Fire Protection Association combustion safety equipment will be installed with new
             burners.

         •   Fuel pressure regulators will require modifications to increase fuel pressure at the burners.

         •   Some burner vendors require new combustion air fans complicating the overall design and
             installation.

   4     Cost Estimates of New NOX Controls
   Barr and USS evaluated the costs for LNBs below for the RHFs. A detailed breakdown of capital
   equipment and installation costs has been prepared by USS for LNB based on vendor quotes and
   engineering experience. Table 4-1 summarizes capital costs for all furnaces for each vendor.
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   Table 4-1 Total Capital Investment Summary for LNB by Vendor (Total Cost for All Four Furnaces)

                                                     Total HSM Capital Investment
                    Vendor                                       ($)
       Vendor 1                                              $28,400,000
       Vendor 2                                              $32,300,000
       Vendor 3 (2020 Scaled Estimate)                       $46,400,000



   Detailed cost-effectiveness calculations for LNB are included in Appendix B. Table 4-2 summarizes the
   control costs for each LNB vendor.

   Table 4-2 NOX Control Cost Summary for LNB Vendors (Individual Furnace Cost)

                                                            Annualized         NOX          Cost Effectiveness
                                Total Capital Cost             Cost          Reduction         ($/ton NOX
            Vendor                     ($)                    ($/yr)           (tpy)            Removed)
       Vendor 1                    $7,112,000               $1,156,000           63              $18,300
       Vendor 2                    $8,073,000               $1,294,000           31              $42,300
       Vendor 3 (2020
                                    $11,590,000             $1,800,000          61                $29,500
       Estimate)



   5      Annual Performance Testing Cost Estimate
   USS sought a performance testing bid for annual reheat furnace testing. The annual RHF performance
   testing costs are estimated to be $13,322. These costs and other miscellaneous costs such as
   recordkeeping and reported are not included in the cost-effectiveness evaluation in Appendix B.

   6      Conclusions and Recommendations
   The key findings of the HSM NOX evaluation include:

         •   SCR is not technically feasible for the RHFs.

         •   SNCR is not technically feasible for the RHFs. There are operating conditions where the flue gas
             temperatures are expected to be outside the required SNCR reaction range.

         •   The compliance schedule in the draft rulemaking is insufficient to allow for installation of NOX
             control technologies given requirements for baseline emissions testing, permitting, and
             availability of equipment vendors, mill wrights, engineering staff, etc.

         •   LNBs would require furnace upgrades, new flame safety equipment, and other facility
             modifications to accommodate this technology.

         •   The cost effectiveness of LNBs ranges from $18,300 to $42,300 per ton of NOX removed.

         •   Annual performance testing costs for the RHFs is estimated to be $13,300 to comply with
             monitoring requirements of the Good Neighbor Plan.
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                                                             Appendices
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                                                                Appendix A

                               Estimated Low NOX Burner Installation Schedule
USS Gary Works - 84" HSM NOx Controls Evaluation
Appendix A - Estimated Low NOx Burner Installation Schedule
                                                                                                                  -11    -10    -9      -8     -7     -6    -5     -4      -3     -2      -1     0      1      2       3      4      5
                                                                                                                 Aug-23 Sep-23 Oct-23 Nov-23 Dec-23 Jan-24 Feb-24 Mar-24 Apr-24 May-24   Jun-24 Jul-24 Aug-24 Sep-24 Oct-24 Nov-24 Dec-24
Complete PAEE Paperwork
PAEE Approved
Engineering for emissions sampling infrastructure




                                                                                                                                                                                                                                            USCA Case #23-1207
Partial install of emissions sampling infrastructure to allow baseline testing (scaffolding, umbilical piping)
Air Permit Application Preparations
Baseline test complete
Obtain Air Permit - Permitting, Public Hearings, etc.
Perform detailed furnace study
Complete detailed design of burners
Complete burner installation scope and specification
Burner installation bids - price for each furnace separately
Complete AR Paperwork
AR Approved




                                                                                                                                                                                                                                            Document #2013657
Completion of emissions sampling infrastructure (permanent platforms, ladders, etc.)
Order for furnaces 1-4 burners placed
Procure materials for burners
Fabrication of burners furnace 1
Shipment of burners for furnace 1
Place burner installation PO for furnace 1
Furnace 1 mobilization material procurement
Furnace 1 Outage
Furnace 1 Performance Testing
Lessons Learned Furnace 1 - installation specification updated
Fabrication of burners furnace 2




                                                                                                                                                                                                                                            Filed: 08/22/2023
Shipment of burners for furnace 2
Place burner installation PO for furnace 2
Furnace 2 mobilization material procurement
Furnace 2 Outage
Furnace 2 Performance Testing
Lessons Learned Furnace 2 - installation specification updated
Fabrication of burners furnace 3
Shipment of burners for furnace 3




                                                                                                                                                                                                                                            Page 1588 of 1689
Place burner installation PO for furnace 3
Furnace 3 mobilization material procurement
Furnace 3 Outage
Furnace 3 Performance Testing
Lessons Learned Furnace 3 - installation specification updated
Fabrication of burners furnace 4
Shipment of burners for furnace 4
Place burner installation PO for furnace 4
Furnace 4 mobilization material procurement
Furnace 4 Outage
Furnace 4 Performance Testing
USS Gary Works - 84" HSM NOx Controls Evaluation
Appendix A - Estimated Low NOx Burner Installation Schedule
                                                                                                                   6     7       8      9      10      11     12     13     14     15     16      17
                                                                                                                 Jan-25 Feb-25 Mar-25 Apr-25 May-25   Jun-25 Jul-25 Aug-25 Sep-25 Oct-25 Nov-25 Dec-25
Complete PAEE Paperwork
PAEE Approved
Engineering for emissions sampling infrastructure




                                                                                                                                                                                                         USCA Case #23-1207
Partial install of emissions sampling infrastructure to allow baseline testing (scaffolding, umbilical piping)
Air Permit Application Preparations
Baseline test complete
Obtain Air Permit - Permitting, Public Hearings, etc.
Perform detailed furnace study
Complete detailed design of burners
Complete burner installation scope and specification
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                                                                                                                                                                                                         Document #2013657
Completion of emissions sampling infrastructure (permanent platforms, ladders, etc.)
Order for furnaces 1-4 burners placed
Procure materials for burners
Fabrication of burners furnace 1
Shipment of burners for furnace 1
Place burner installation PO for furnace 1
Furnace 1 mobilization material procurement
Furnace 1 Outage
Furnace 1 Performance Testing
Lessons Learned Furnace 1 - installation specification updated
Fabrication of burners furnace 2




                                                                                                                                                                                                         Filed: 08/22/2023
Shipment of burners for furnace 2
Place burner installation PO for furnace 2
Furnace 2 mobilization material procurement
Furnace 2 Outage
Furnace 2 Performance Testing
Lessons Learned Furnace 2 - installation specification updated
Fabrication of burners furnace 3
Shipment of burners for furnace 3




                                                                                                                                                                                                         Page 1589 of 1689
Place burner installation PO for furnace 3
Furnace 3 mobilization material procurement
Furnace 3 Outage
Furnace 3 Performance Testing
Lessons Learned Furnace 3 - installation specification updated
Fabrication of burners furnace 4
Shipment of burners for furnace 4
Place burner installation PO for furnace 4
Furnace 4 mobilization material procurement
Furnace 4 Outage
Furnace 4 Performance Testing
USS Gary Works - 84" HSM NOx Controls Evaluation
Appendix A - Estimated Low NOx Burner Installation Schedule
                                                                                                                  18     19     20     21      22      23     24     25     26     27     28      29
                                                                                                                 Jan-26 Feb-26 Mar-26 Apr-26 May-26   Jun-26 Jul-26 Aug-26 Sep-26 Oct-26 Nov-26 Dec-26
Complete PAEE Paperwork
PAEE Approved
Engineering for emissions sampling infrastructure




                                                                                                                                                                                                         USCA Case #23-1207
Partial install of emissions sampling infrastructure to allow baseline testing (scaffolding, umbilical piping)
Air Permit Application Preparations
Baseline test complete
Obtain Air Permit - Permitting, Public Hearings, etc.
Perform detailed furnace study
Complete detailed design of burners
Complete burner installation scope and specification
Burner installation bids - price for each furnace separately
Complete AR Paperwork
AR Approved




                                                                                                                                                                                                         Document #2013657
Completion of emissions sampling infrastructure (permanent platforms, ladders, etc.)
Order for furnaces 1-4 burners placed
Procure materials for burners
Fabrication of burners furnace 1
Shipment of burners for furnace 1
Place burner installation PO for furnace 1
Furnace 1 mobilization material procurement
Furnace 1 Outage
Furnace 1 Performance Testing
Lessons Learned Furnace 1 - installation specification updated
Fabrication of burners furnace 2




                                                                                                                                                                                                         Filed: 08/22/2023
Shipment of burners for furnace 2
Place burner installation PO for furnace 2
Furnace 2 mobilization material procurement
Furnace 2 Outage
Furnace 2 Performance Testing
Lessons Learned Furnace 2 - installation specification updated
Fabrication of burners furnace 3
Shipment of burners for furnace 3




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Place burner installation PO for furnace 3
Furnace 3 mobilization material procurement
Furnace 3 Outage
Furnace 3 Performance Testing
Lessons Learned Furnace 3 - installation specification updated
Fabrication of burners furnace 4
Shipment of burners for furnace 4
Place burner installation PO for furnace 4
Furnace 4 mobilization material procurement
Furnace 4 Outage
Furnace 4 Performance Testing
USS Gary Works - 84" HSM NOx Controls Evaluation
Appendix A - Estimated Low NOx Burner Installation Schedule
                                                                                                                  30     31     32     33      34      36     36     37     38     39     40      41
                                                                                                                 Jan-27 Feb-27 Mar-27 Apr-27 May-27   Jun-27 Jul-27 Aug-27 Sep-27 Oct-27 Nov-27 Dec-27
Complete PAEE Paperwork
PAEE Approved
Engineering for emissions sampling infrastructure




                                                                                                                                                                                                         USCA Case #23-1207
Partial install of emissions sampling infrastructure to allow baseline testing (scaffolding, umbilical piping)
Air Permit Application Preparations
Baseline test complete
Obtain Air Permit - Permitting, Public Hearings, etc.
Perform detailed furnace study
Complete detailed design of burners
Complete burner installation scope and specification
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                                                                                                                                                                                                         Document #2013657
Completion of emissions sampling infrastructure (permanent platforms, ladders, etc.)
Order for furnaces 1-4 burners placed
Procure materials for burners
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Place burner installation PO for furnace 1
Furnace 1 mobilization material procurement
Furnace 1 Outage
Furnace 1 Performance Testing
Lessons Learned Furnace 1 - installation specification updated
Fabrication of burners furnace 2




                                                                                                                                                                                                         Filed: 08/22/2023
Shipment of burners for furnace 2
Place burner installation PO for furnace 2
Furnace 2 mobilization material procurement
Furnace 2 Outage
Furnace 2 Performance Testing
Lessons Learned Furnace 2 - installation specification updated
Fabrication of burners furnace 3
Shipment of burners for furnace 3




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Place burner installation PO for furnace 3
Furnace 3 mobilization material procurement
Furnace 3 Outage
Furnace 3 Performance Testing
Lessons Learned Furnace 3 - installation specification updated
Fabrication of burners furnace 4
Shipment of burners for furnace 4
Place burner installation PO for furnace 4
Furnace 4 mobilization material procurement
Furnace 4 Outage
Furnace 4 Performance Testing
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                                                             Appendix B

                                                     RHF LNB Control Costs
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U. S. Steel Gary Works
Good Neighbor Plan NOx Evaluation
Appendix B - Cost Summary
84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

NOx Control Cost Summary (emissions and costs are for each furnace individually)
                                                                                                                      Annualized
                                            Control       Controlled            Emission        Installed Capital                       Pollution Control Cost
Control Technology                                                                                                  Operating Cost
                                            Eff %a      Emissions T/yr       Reduction T/yr           Cost $                                     $/ton
                                                                                                                          $/yr

Low NOx Burners (LNB) - Vendor 1             41%              89.6                 63.1             $7,111,695         $1,155,629               $18,301



Low NOx Burners (LNB) - Vendor 2             20%             122.2                 30.6             $8,072,695         $1,293,776               $42,343



Low NOx Burners (LNB) - Vendor 3             40%              91.7                 61.1            $11,593,945         $1,799,972               $29,455

a - Calculated control efficiencies are not based on EPA certified performance test methods due to lack of access to appropriate test locations. Therefore, the
control efficiencies may not appropriately represent what can be achieved from existing baseline conditions and the required reductions in the Good Neighbor
Plan may not be feasible.




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U. S. Steel Gary Works
Good Neighbor Plan NOx Evaluation
Appendix B - Utility and Chemical Supply Costs
84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

Note: emissions and costs are for each furnace individually                    Study Year 2023
                                               2023
                    Item                    Unit Cost             Units          Cost        Year                             Data Source
Operating Labor                                         74 $/hr                         60          2016 EPA SCR Control Cost Manual Spreadsheet
Maintenance Labor                                       74 $/hr                                          Assumed to be equivalent to operating labor
Other
Sales Tax                                               7%                                          2020 Indiana sales tax rate
Interest Rate                                      8.25%                                            2023 Current prime bank rate
Operating Information
                                                                                                         May 1st - September 30, adjusted for USS planned
Ozone Season Operating Hours                        3,395 Hours                                          weekly maintenance outages
Annual Op. Hrs                                      8,100 Hours                                          USS Estimate
Utilization Rate                                    100%                                                 Assumed
Design Capacity                                      600 MMBTU/hr                                        Permit listed duty
Equipment Life                                          20 yrs                                           Assumed
Plant Elevation                                     607 Feet above sea level                             Plant elevation
                                         Baseline Emissions
Pollutant                                   Ton/Year
Nitrous Oxides (NOx)                                152.8                                                Calculated
Baseline NOx performance                             0.15 lb/MMBtu                                       Average of performance testing data


LNB NOx Performance - Vendor 1                       0.09 lb/MMBtu                                       Vendor guaranteed performance at 800F air preheat
Control efficiency - Vendor 1                        41%                                                 Calculated


LNB NOx Performance - Vendor 2                       0.12 lb/MMBtu                                       Vendor guaranteed performance at 800F air preheat
Control efficiency - Vendor 2                        20%                                                 Calculated
LNB NOx Performance - Vendor 3                       0.09 lb/MMBtu                                       2020 Quote LHV basis
Control efficiency - Vendor 3                        40%                                                 Calculated



                                                                                                                                                  8/4/2023
                                                                                                                                               Page 2 of 14
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    U. S. Steel Gary Works
    Good Neighbor Plan NOx Evaluation
    Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 1
    84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

    Note: emissions and costs are for each furnace individually



    Desgin Capacity                                        600 MMBtu/hr
    Expected Utiliztion Rate                             100%
    Expected Ozone Season Operating Hours                3,395 Hours
    Annual Interest Rate                                  8.3%
    Expected Equipment Life                                 20 yrs




    CONTROL EQUIPMENT COSTS
    Capital Costs
    Total Capital Investment (TCI) = DC + IC                                                                                                        7,111,695


    Operating Costs
     Total Annual Direct Operating Costs                         Labor, supervision, materials, replacement parts, utilities, etc.                     83,307
     Total Annual Indirect Operating Costs                  Sum indirect oper costs + capital recovery cost                                          1,072,321
    Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                    1,155,629


    EMISSION CONTROL COST EFFECTIVENESS
                                                    Baseline          Cont. Emis.          Cont Emis         Reduction        Cont Cost
    Pollutant                                       Emis. T/yr        lb/MMBtu               T/yr              T/yr          $/Ton Rem
    PM10                                                                                                              -                 NA
    Total Particulates                                                                                                -                 NA
    Nitrous Oxides (NOx)                                 152.8                    0.09               89.6            63.1            18,301
    Sulfur Dioxide (SO2)                                                                                              -                 NA


Notes & Assumptions
 1 Refer to the Vendor Summary tab for Details
 2 Assumed 0.1 and 0.5 hr/shift respectively for operator and maintenance labor
 3 Controlled emission factor based on vendor estimated burner performance




                                                                                                                                                                     8/4/2023
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U. S. Steel Gary Works
Good Neighbor Plan NOx Evaluation
Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 1
84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

CAPITAL COSTS
   Direct Capital Costs
      Equipment                                          Refer to Vendor Summary tab for Details                                 $      2,229,625
      Installation                                       Refer to Vendor Summary tab for Details                                 $      1,494,250
      Engineering                                        Refer to Vendor Summary tab for Details                                 $        304,320
      Start-up and Commissioning                         Refer to Vendor Summary tab for Details                                 $       381,000
      Capital Spares                                     Refer to Vendor Summary tab for Details                                 $       137,500
      Non-Capital Spares                                 Refer to Vendor Summary tab for Details                                 $         90,000
      Cost Work                                          Refer to Vendor Summary tab for Details                                 $      2,475,000


Total Capital Investment (TCI) = DC + IC                                                                                         $     7,111,695


OPERATING COSTS
    Direct Annual Operating Costs, DC

      Operating Labor
         Operator                                              73.79 $/Hr, 0.1 hr/8 hr shift, 8100 hr/yr                                    7,471
         Supervisor                                             15% 15% of Operator Costs                                                   1,121
      Maintenance (2)
       Maintenance Labor                                       73.79 $/Hr, 0.5 hr/8 hr shift, 8100 hr/yr                                   37,357
        Maintenance Materials                                  100% of maintenance labor costs                                             37,357
      Utilities, Supplies, Replacements & Waste Management
         NA                                                       NA                                                                            -
         NA                                                       NA                                                                            -
    Total Annual Direct Operating Costs                                                                                                   83,307


    Indirect Operating Costs
         Overhead                                               60% of total labor and material costs                                      49,984
         Administration (2% total capital costs)                 2% of total capital costs (TCI)                                          142,234
         Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                          71,117
         Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                          71,117
        Capital Recovery                                        10% for a 20- year equipment life and a 8.25% interest rate               737,869
    Total Annual Indirect Operating Costs                           Sum indirect oper costs + capital recovery cost                    1,072,321
Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                           1,155,629




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U. S. Steel Gary Works
Good Neighbor Plan NOx Evaluation
Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 1
84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

Capital Recovery Factors
Primary Installation
Interest Rate                                   8.25%
Equipment Life                                      20 years
CRF                                             0.1038


Operating Cost Calculations                             Annual hours of operation:                       8,100
                                                        Utilization Rate:                               100%
                              Unit        Unit of            Use          Unit of      Annual        Annual  Comments
Item                          Cost $      Measure           Rate         Measure        Use*          Cost
Operating Labor
Op Labor                          73.79 $/Hr                       0.1 hr/8 hr shift           101       7,471 $/Hr, 0.1 hr/8 hr shift, 8100 hr/yr
Supervisor                         15% of Op.                                                  NA       1,121 15% of Operator Costs
Maintenance
Maint Labor                       73.79 $/Hr                       0.5 hr/8 hr shift           506      37,357 $/Hr, 0.5 hr/8 hr shift, 8100 hr/yr
Maint Mtls                         100 % of Maintenance Labor                                  NA       37,357 100% of Maintenance Labor




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    U. S. Steel Gary Works
    Good Neighbor Plan NOx Evaluation
    Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 2
    84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

    Note: emissions and costs are for each furnace individually



    Desgin Capacity                                           600 MMBtu/hr
    Expected Utiliztion Rate                                100%
    Expected Ozone Season Operating Hours                    3,395 Hours
    Annual Interest Rate                                     8.3%
    Expected Equipment Life                                    20 yrs




    CONTROL EQUIPMENT COSTS
    Capital Costs
    Total Capital Investment (TCI) = DC + IC                                                                                                        8,072,695


    Operating Costs
     Total Annual Direct Operating Costs                            Labor, supervision, materials, replacement parts, utilities, etc.                  83,307
     Total Annual Indirect Operating Costs                     Sum indirect oper costs + capital recovery cost                                       1,210,469
    Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                    1,293,776


    EMISSION CONTROL COST EFFECTIVENESS
                                                      Baseline           Cont. Emis.          Cont Emis         Reduction        Cont Cost
    Pollutant                                         Emis. T/yr         lb/MMBtu               T/yr              T/yr          $/Ton Rem
    PM10                                                                                                                 -                 NA
    Total Particulates                                                                                                   -                 NA
    Nitrous Oxides (NOx)                                    152.8                    0.12              122.2            30.6            42,343
    Sulfur Dioxide (SO2)                                                                                                 -                 NA


Notes & Assumptions
 1 Refer to the Vendor Summary tab for Details
 2 Assumed 0.1 and 0.5 hr/shift respectively for operator and maintenance labor
 3 Controlled emission factor based on vendor estimated burner performance




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U. S. Steel Gary Works
Good Neighbor Plan NOx Evaluation
Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 2
84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

CAPITAL COSTS
    Direct Capital Costs
      Equipment                                          Refer to Vendor Summary tab for Details                                 $      3,100,000
      Installation                                       Refer to Vendor Summary tab for Details                                 $      1,629,250
      Engineering                                        Refer to Vendor Summary tab for Details                                 $        288,945
      Start-up and Commissioning                         Refer to Vendor Summary tab for Details                                 $       309,500
      Capital Spares                                     Refer to Vendor Summary tab for Details                                 $       180,000
      Non-Capital Spares                                 Refer to Vendor Summary tab for Details                                 $         90,000
      Cost Work                                          Refer to Vendor Summary tab for Details                                 $      2,475,000


Total Capital Investment (TCI) = DC + IC                                                                                         $     8,072,695


OPERATING COSTS
    Direct Annual Operating Costs, DC

      Operating Labor
         Operator                                              73.79 $/Hr, 0.1 hr/8 hr shift, 8100 hr/yr                                    7,471
         Supervisor                                             15% 15% of Operator Costs                                                   1,121
      Maintenance (2)
       Maintenance Labor                                       73.79 $/Hr, 0.5 hr/8 hr shift, 8100 hr/yr                                   37,357
        Maintenance Materials                                  100% of maintenance labor costs                                             37,357
      Utilities, Supplies, Replacements & Waste Management
         NA                                                       NA                                                                            -
         NA                                                       NA                                                                            -
    Total Annual Direct Operating Costs                                                                                                   83,307


    Indirect Operating Costs
         Overhead                                               60% of total labor and material costs                                      49,984
         Administration (2% total capital costs)                 2% of total capital costs (TCI)                                          161,454
         Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                          80,727
         Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                          80,727
        Capital Recovery                                        10% for a 20- year equipment life and a 8.25% interest rate               837,577
    Total Annual Indirect Operating Costs                           Sum indirect oper costs + capital recovery cost                    1,210,469
Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                           1,293,776




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U. S. Steel Gary Works
Good Neighbor Plan NOx Evaluation
Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 2
84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

Capital Recovery Factors
Primary Installation
Interest Rate                                   8.25%
Equipment Life                                      20 years
CRF                                             0.1038


Operating Cost Calculations                             Annual hours of operation:                       8,100
                                                        Utilization Rate:                               100%
                              Unit        Unit of            Use          Unit of      Annual        Annual  Comments
Item                          Cost $      Measure           Rate         Measure        Use*          Cost
Operating Labor
Op Labor                          73.79 $/Hr                       0.1 hr/8 hr shift           101       7,471 $/Hr, 0.1 hr/8 hr shift, 8100 hr/yr
Supervisor                         15% of Op.                                                  NA       1,121 15% of Operator Costs
Maintenance
Maint Labor                       73.79 $/Hr                       0.5 hr/8 hr shift           506      37,357 $/Hr, 0.5 hr/8 hr shift, 8100 hr/yr
Maint Mtls                         100 % of Maintenance Labor                                  NA       37,357 100% of Maintenance Labor




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    U. S. Steel Gary Works
    Good Neighbor Plan NOx Evaluation
    Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 3
    84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4

    Note: emissions and costs are for each furnace individually


    Desgin Capacity                                            600 MMBtu/hr
    Expected Utiliztion Rate                                 100%
    Expected Ozone Season Operating Hours                    3,395 Hours
    Annual Interest Rate                                     8.3%
    Expected Equipment Life                                     20 yrs




    CONTROL EQUIPMENT COSTS
    Capital Costs
    Total Capital Investment (TCI) = DC + IC                                                                                                        11,593,945


    Operating Costs
     Total Annual Direct Operating Costs                            Labor, supervision, materials, replacement parts, utilities, etc.                   83,307
     Total Annual Indirect Operating Costs                      Sum indirect oper costs + capital recovery cost                                       1,716,665
    Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                                     1,799,972


    EMISSION CONTROL COST EFFECTIVENESS
                                                      Baseline           Cont. Emis.          Cont Emis         Reduction        Cont Cost
    Pollutant                                         Emis. T/yr         lb/MMBtu               T/yr              T/yr          $/Ton Rem
    PM10                                                                                                                 -                 NA
    Total Particulates                                                                                                   -                 NA
    Nitrous Oxides (NOx)                                    152.8                    0.09               91.7            61.1            29,455
    Sulfur Dioxide (SO2)                                                                                                 -                 NA


Notes & Assumptions
 1 Refer to the Vendor Summary tab for Details
 2 Assumed 0.1 and 0.5 hr/shift respectively for operator and maintenance labor
 3 Controlled emission factor based on vendor estimated burner performance




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U. S. Steel Gary Works
Good Neighbor Plan NOx Evaluation
Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 3
84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4
CAPITAL COSTS
    Direct Capital Costs
      Equipment                                          Refer to Vendor Summary tab for Details                                $        6,650,000
      Installation                                       Refer to Vendor Summary tab for Details                                $        1,838,000
      Engineering                                        Refer to Vendor Summary tab for Details                                $          243,945
      Start-up and Commissioning                         Refer to Vendor Summary tab for Details                                $         147,000
      Capital Spares                                     Refer to Vendor Summary tab for Details                                $         150,000
      Non-Capital Spares                                 Refer to Vendor Summary tab for Details                                $           90,000
      Cost Work                                          Refer to Vendor Summary tab for Details                                $        2,475,000


Total Capital Investment (TCI) = DC + IC                                                                                        $      11,593,945


OPERATING COSTS
    Direct Annual Operating Costs, DC


      Operating Labor
         Operator                                               73.79 $/Hr, 0.1 hr/8 hr shift, 8100 hr/yr                                    7,471
         Supervisor                                              15% 15% of Operator Costs                                                   1,121
      Maintenance (2)
       Maintenance Labor                                        73.79 $/Hr, 0.5 hr/8 hr shift, 8100 hr/yr                                   37,357
        Maintenance Materials                                  100% of maintenance labor costs                                              37,357
      Utilities, Supplies, Replacements & Waste Management
         NA                                                       NA                                                                             -
         NA                                                       NA                                                                             -
    Total Annual Direct Operating Costs                                                                                                     83,307


    Indirect Operating Costs
         Overhead                                                60% of total labor and material costs                                      49,984
         Administration (2% total capital costs)                  2% of total capital costs (TCI)                                          231,879
         Property tax (1% total capital costs)                    1% of total capital costs (TCI)                                          115,939
         Insurance (1% total capital costs)                       1% of total capital costs (TCI)                                          115,939
        Capital Recovery                                         10% for a 20- year equipment life and a 8.25% interest rate              1,202,923
    Total Annual Indirect Operating Costs                            Sum indirect oper costs + capital recovery cost                     1,716,665
Total Annual Cost (Annualized Capital Cost + Operating Cost)                                                                             1,799,972




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U. S. Steel Gary Works
Good Neighbor Plan NOx Evaluation
Appendix B - NOx Control - Low NOx Burners (LNB) Vendor 3
84" Hot Strip Mill Reheat Furnaces No. 1 through No. 4
Capital Recovery Factors
Primary Installation
Interest Rate                                   8.25%
Equipment Life                                      20 years
CRF                                             0.1038


Operating Cost Calculations                             Annual hours of operation:                       8,100
                                                        Utilization Rate:                                100%
                              Unit         Unit of           Use          Unit of      Annual        Annual   Comments
Item                          Cost $      Measure           Rate          Measure       Use*          Cost
Operating Labor
Op Labor                          73.79 $/Hr                       0.1 hr/8 hr shift           101       7,471 $/Hr, 0.1 hr/8 hr shift, 8100 hr/yr
Supervisor                         15% of Op.                                                  NA       1,121 15% of Operator Costs
Maintenance
Maint Labor                       73.79 $/Hr                       0.5 hr/8 hr shift           506      37,357 $/Hr, 0.5 hr/8 hr shift, 8100 hr/yr
Maint Mtls                         100 % of Maintenance Labor                                  NA       37,357 100% of Maintenance Labor




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USS Gary - HSM NOx Controls Evaluation
Appendix B - Low NOx Burner Cost Estimates (All Furnaces)
Vendor 1 Estimate
Burners      Ultra-Low Nox Burners
             New burners will fit inside existing bodies (plug & play)

Flame safety included:
             Covert the soak zone to a supervised system to bring the soak zone above auto-ignition
             16 New Soak Burners, Direct Spark Ignition, Flame Rod, Transformer, Ignition Cable, Necessary Gas and Air Valves
             Double Block Valves for 40 Soak Burners
             New NFPA Compliant Main Fuel Train
             New NFPA Compliant Pilot Train - Required for Cold Start Operation in Bottom Heat.
             To Accommodate Flame Supervision in the Soak Section and Cold Start Capabilities in the Bottom Heat Section.

Included in cost scope:
             Upgrades to combustion air system and recuperators
             NG piping replacement as required - restricted piping… coke oven gas remediations
             Upgrades to Level 0/1 components
             Refractory

   Task                                Item                                         Vendor                Estimate               Contingency               Amount
   1000      Equipment                                                                                                                                 $     8,918,500
             Burners                                                     VENDOR 1                     $       7,320,000     5%      $     366,000      $      7,686,000
             Emissions Sampling/Testing Infrastructure                                                $        400,000      20%     $      80,000      $       480,000
             Peripheral Control Equipment                                                             $        200,000      20%     $      40,000      $       240,000
             Refractory/Piping Materials                                                              $        300,000      20%     $      60,000      $       360,000
                                                                                                                                    $     152,500      $       152,500
   1100      Installation                                                                                                                              $     5,977,000
             Burners                                                                                  $       3,800,000     20%     $     760,000      $      4,560,000
             Emissions Sampling/Testing Infrastructure                                                $        850,000      30%     $     255,000      $      1,105,000
             Model/Pie Updates                                                                        $         90,000      30%     $      27,000      $       117,000
             Level 1 Updates                                                                          $        150,000      30%     $      45,000      $       195,000
   2900      Engineering                                                                                                                               $     1,217,280
             Impact Analysis and Study                                                                $         53,600      5%      $          2,680   $        56,280
             Technical Support for Impact Study                                                       $         20,000      5%      $          1,000   $        21,000
             Detailed Furnace Study                                      VENDOR 1                     $        230,000      5%      $      11,500      $       241,500
             Design of Emissions Sampling/Testing Infrastructure                                      $        150,000      20%     $      30,000      $       180,000
             Installation Specification Development                                                   $        150,000      20%     $      30,000      $       180,000
             Constructability                                                                         $         60,000      20%     $      12,000      $        72,000
             Furnace Model Modifications                                 VENDOR 1                     $         60,000      20%     $      12,000      $        72,000
             Level I Design - Burners/Flame Safety/Consulting                                         $         90,000      20%     $      18,000      $       108,000
             As-Built Drawings - MOC                                                                  $        160,000      20%     $      32,000      $       192,000
             Drawing Management                                                                       $         90,000      5%      $          4,500   $        94,500
   2910      Start-up and Commissioning                                                                                                                $     1,524,000
             Field Supervision                                           VENDOR 1                     $        780,000      20%     $     156,000      $       936,000
             Scheduling and Cost Control                                                              $         90,000      20%     $      18,000      $       108,000
             Construction Management                                                                  $        400,000      20%     $      80,000      $       480,000
   3000      Capital Spares (>$10,000)                                                                                                                 $      550,000
             Capital Spares                                                                           $        500,000      10%     $      50,000      $       550,000
   5000      Non-Capital Spares (<$10,000)                                                                                                             $      360,000
             Spare Parts                                                                              $        300,000      20%     $      60,000      $       360,000
   6000      Cost Work                                                                                                                                 $     9,900,000
             Cost Work                                                                                $       8,250,000     20%     $   1,650,000      $      9,900,000
                                                                                                      CAPITAL ESTIMATE                                 $    18,186,780
                                                                                                      EXPENSE ESTIMATE                                 $    10,260,000
                                                                                                      TOTAL ESTIMATE                                   $    28,446,780




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USS Gary - HSM NOx Controls Evaluation
Appendix B - Low NOx Burner Cost Estimates (All Furnaces)
Vendor 1 Estimate
Vendor 2 Estimate
Burners      New burners
             All four burner walls will be reworked to incorporate the necessary converging tile for the required air injection velocity.
             Need to replace combustion air fans
Flame safety included:
             Four auxiliary side fired burners to bring the soak zone above auto-ignition.
             Replacement of the burner bodies in the bottom heat zone to accept a fully compliant piloted ignition system
             Addition of injectors only to the top heat and top and bottom preheat zones that will be interlocked to 1400 °F permissive.
             Proof of purge and low fire switches will be installed on existing air metering orifice plates
             Safety PLC is included to perform the necessary flame monitoring and natural gas path select functionality
Included in cost scope:
             Upgrades to combustion air system and recuperators
             NG piping replacement as required - restricted piping… coke oven gas remediations
             Upgrades to Level 0/1 components
             Refractory

   Task                                 Item                                        Vendor                    Estimate                 Contingency               Amount
   1000      Equipment                                                                                                                                       $    12,400,000
             Burners                                                    VENDOR 2                          $       10,400,000      5%        $    520,000     $     10,920,000
             Emissions Sampling/Testing Infrastructure                                                    $          400,000     20%        $     80,000     $       480,000
             Peripheral Control Equipment (Safety PLC Provided)                                           $          125,000     20%        $     25,000     $       150,000
             Refractory/Piping Materials                                                                  $          600,000     20%        $    120,000     $       720,000
             Combustion Air Fans                                                                          $          100,000     30%        $     30,000     $       130,000
   1100      Installation                                                                                                                                    $     6,517,000
             Burners                                                                                      $        4,000,000     20%        $    800,000     $      4,800,000
             Combustion Air Fans                                                                          $          300,000     30%        $     90,000     $       390,000
             Emissions Sampling/Testing Infrastructure                                                    $          800,000     30%        $    240,000     $      1,040,000
             Model/Pie Updates                                                                            $           90,000     30%        $     27,000     $       117,000
             Level 1 Updates                                                                              $          125,000     30%        $     45,000     $       170,000
   2900      Engineering                                                                                                                                     $     1,155,780
             Impact Analysis and Study                                                                    $           53,600      5%        $        2,680   $        56,280
             Technical Support for Impact Study                                                           $           20,000      5%        $        1,000   $        21,000
             Detailed Furnace Study                                     VENDOR 2                          $          150,000     20%        $     30,000     $       180,000
             Design of Emissions Sampling/Testing Infrastructure                                          $          150,000     20%        $     30,000     $       180,000
             Installation Specification Development                                                       $          150,000     20%        $     30,000     $       180,000
             Constructability                                                                             $           60,000     20%        $     12,000     $        72,000
             Furnace Model Modifications                                VENDOR 2                          $           60,000     20%        $     12,000     $        72,000
             Level I Design - Burners/Flame Safety/Consulting                                             $           90,000     20%        $     18,000     $       108,000
             As-Built Drawings - MOC                                                                      $          160,000     20%        $     32,000     $       192,000
             Drawing Management                                                                           $           90,000      5%        $        4,500   $        94,500
   2910      Start-up and Commissioning                                                                                                                      $     1,238,000
             Field Supervision                                          VENDOR 2                          $          500,000     30%        $    150,000     $       650,000
             Scheduling and Cost Control                                                                  $           90,000     20%        $     18,000     $       108,000
             Construction Management                                                                      $          400,000     20%        $     80,000     $       480,000
   3000      Capital Spares (>$10,000)                                                                                                                       $      720,000
             Capital Spares (combustion air fan added)                                                    $          600,000     20%        $    120,000     $       720,000
   5000      Non-Capital Spares (<$10,000)                                                                                                                   $      360,000
             Spare Parts                                                                                  $          300,000     20%        $     60,000     $       360,000
   6000      Cost Work                                                                                                                                       $     9,900,000
             Cost Work                                                                                    $        8,250,000     20%        $   1,650,000    $      9,900,000
                                                                                                         CAPITAL ESTIMATE                                    $    22,030,780
                                                                                                         EXPENSE ESTIMATE                                    $    10,260,000
                                                                                                         TOTAL ESTIMATE                                      $    32,290,780




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USS Gary - HSM NOx Controls Evaluation
Appendix B - Low NOx Burner Cost Estimates (All Furnaces)
Vendor 1 Estimate
Vendor 3 Estimate
Burners      New burners
             Moderate shell steel and refractory port modifications
             The combustion air blower will be replaced with higher pressure fans
             existing recuperator, zone orifice plates and flow control valves.
             Burner drop ductwork will need to be modified as required to connect to the new burners.
             New burner expansion joints will be provided along with new burner isolation valves.
             Gas piping from the gas train to the burners will remain in place, and existing orifice plates and flow control valves will remain in service
             Piping modification to suit the new burners will be made at the burner drops
             A new level 1 control system, including new PLC hardware, remote I/O panels, HMI screens is included.


Flame safety included:
             Gas train for the furnace must be modified to comply with the latest NFPA-86 standards
             The combustion system will be designed to use the top and bottom heat zones as the light-up zones
             The top and bottom preheat zones will be ignited when the zones are above auto-ignition bypass temperature
             The furnace will be provided with new purge and safety checks for proper ignition sequence as mandated by the NFPA.
             Ignition burners will have spark ignited pilot burners with UV detector type flame supervision
             A burner management system panel will be included to house the electronic components
   Task                                Item                                         Vendor                    Estimate                 Contingency               Amount
   1000      Equipment                                                                                                                                       $    26,600,000
             Burners (Flame Safety Included, comb air fans)             Vendor 3                         $        24,000,000      5%      $    1,200,000     $     25,200,000
             Emissions Sampling/Testing Infrastructure                                                   $           400,000     20%      $       80,000     $       480,000
             Refractory/Piping Materials (burner walls need to be reworked)                              $           800,000     15%      $      120,000     $       920,000
   1100      Installation                                                                                                                                    $     7,352,000
             Burners                                                                                     $         5,000,000     20%      $    1,000,000     $      6,000,000
             Emissions Sampling/Testing Infrastructure                                                   $           800,000     30%      $      240,000     $      1,040,000
             Model/Pie Updates                                                                           $            90,000     30%      $       27,000     $       117,000
             Level 1 Updates                                                                             $           150,000     30%      $       45,000     $       195,000
   2900      Engineering                                                                                                                                     $      975,780
             Impact Analysis and Study                                                                   $            53,600      5%      $          2,680   $        56,280
             Technical Support for Impact Study                                                          $            20,000      5%      $          1,000   $        21,000
             Design of Emissions Sampling/Testing Infrastructure                                         $           150,000     20%      $       30,000     $       180,000
             Installation Specification Development                                                      $           150,000     20%      $       30,000     $       180,000
             Constructability                                                                            $            60,000     20%      $       12,000     $        72,000
             Furnace Model Modifications                                Vendor 3                         $            60,000     20%      $       12,000     $        72,000
             Level I Design - Burners/Flame Safety/Consulting                                            $            90,000     20%      $       18,000     $       108,000
             As-Built Drawings - MOC                                                                     $           160,000     20%      $       32,000     $       192,000
             Drawing Management                                                                          $            90,000      5%      $          4,500   $        94,500
   2910      Start-up and Commissioning                                                                                                                      $      588,000
             Scheduling and Cost Control                                                                 $            90,000     20%      $       18,000     $       108,000
             Construction Management                                                                     $           400,000     20%      $       80,000     $       480,000
   3000      Capital Spares (>$10,000)                                                                                                                       $      600,000
             Capital Spares (combustion air fan added)                                                   $           500,000     20%      $      100,000     $       600,000
   5000      Non-Capital Spares (<$10,000)                                                                                                                   $      360,000
             Spare Parts                                                                                 $           300,000     20%      $       60,000     $       360,000
   6000      Cost Work                                                                                                                                       $     9,900,000
             Cost Work                                                                                   $         8,250,000     20%      $    1,650,000     $      9,900,000


                                                                                                        CAPITAL ESTIMATE                                     $    36,115,780
                                                                                                        EXPENSE ESTIMATE                                     $    10,260,000
                                                                                                        TOTAL ESTIMATE                                       $    46,375,780




                                                                                                                                                                      8/4/2023
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     ATTACHMENT B – PETITION FOR RECONSIDERATION AND STAY OF THE FINAL RULE: AIR
    PLAN DISAPPROVALS; INTERSTATE TRANSPORT OF AIR POLLUTION FOR THE 2015 8-HOUR
    OZONE NATIONAL AMBIENT AIR QUALITY STANDARDS, EPA-HQ-OAR-2021-0663; EPA-
               R05-OAR-2022-0006; 88 FED. REG. 9,336 (FEBRUARY 13, 2023)
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  April 14, 2023

  VIA E-MAIL AND FEDERAL EXPRESS


   Michael Regan, Administrator
   Environmental Protection Agency
   Office of the Administrator, Mail Code 1101A
   1200 Pennsylvania Avenue, N.W.
   Washington, D.C. 20460


  Re: Petition for Reconsideration and Stay of the Final Rule: Air Plan Disapprovals;
      Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
      Quality Standards, EPA-HQ-OAR-2021-0663; EPA-R05-OAR-2022-0006; 88 Fed. Reg.
      9,336 (February 13, 2023)

  Dear Administrator Regan:

          On behalf of our clients, ALLETE, Inc. d/b/a Minnesota Power; Northern States Power
  Company – Minnesota d/b/a/ Xcel Energy; Great River Energy; Southern Minnesota Municipal
  Power Agency; Cleveland-Cliffs, Inc.; and United States Steel Corporation (collectively the
  “Minnesota Good Neighbor Coalition”), please find enclosed a petition for reconsideration and
  stay of the disapproval of “prong 2” of Minnesota’s State Implementation Plan (“SIP”) in the
  United States Environmental Protection Agency’s final rule: Air Plan Disapprovals; Interstate
  Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards,
  EPA-HQ-OAR-2021-0663; EPA-R05-OAR-2022-0006; 88 Fed. Reg. 9,336 (February 13, 2023).

             Please contact me with any questions you may have.

  Sincerely,

  /s/ Douglas A. McWilliams
  Douglas A. McWilliams

  cc:        Olivia Davidson
             Debra Shore
             Gautam Srinivasan
             Thomas Uher


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                       Before the United States Environmental Protection Agency

      In re: Air Plan Disapprovals; Interstate               ) EPA Docket Nos. EPA–HQ–OAR–2021–
      Transport of Air Pollution for the 2015 8-Hour         ) 0663; EPA–R05–OAR–2022–0006; FRL–
      Ozone National Ambient Air Quality                     ) 10209–01–OAR
      Standards, 88 Fed. Reg. 9336 (February 13,             )
      2023)                                                  )
                                                             )


          Petition for Reconsideration and for Stay of the Air Plan Disapprovals for Interstate
        Transportation of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality
                                                Standards

           ALLETE, Inc. d/b/a Minnesota Power; Northern States Power Company – Minnesota
  d/b/a/ Xcel Energy; Great River Energy; Southern Minnesota Municipal Power Agency; Cleveland-
  Cliffs, Inc.; and United States Steel Corporation (collectively “Petitioners”) respectfully request
  that the United States Environmental Protection Agency (“EPA”) reconsider and stay the portion
  of its final rule Air Plan Disapprovals; Interstate Transport of Air Pollution for the 2015 8-Hour
  Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 9336 (February 13, 2023) (the “SIP
  Disapproval”) that disapproves Minnesota’s state implementation plan (“SIP”) for interstate
  transport for “prong 2” of Clean Air Act (“CAA”) § 110(a)(2)(D)(i)(I), 42 U.S.C. § 7410(a)(2)(D)(i)(I).

          Minnesota is uniquely situated in the SIP Disapproval. In EPA’s February 13 action,
  Minnesota’s SIP was approved for “prong 1”1 based on EPA’s finding that Minnesota does not
  contribute significantly to nonattainment in any downwind state. Minnesota’s SIP was
  disapproved for “prong 2,” with EPA finding that Minnesota was linked to interference with
  maintenance of a single downwind maintenance-only receptor. EPA has subsequently found in
  its promulgation of an ozone transport federal implementation plan (“FIP”) that Minnesota was
  not linked to any downwind non-attainment or maintenance-only receptor when modeled for
  2026.

         Based on the best evidence available in 2018 when Minnesota submitted its SIP to EPA
  for approval (and on April 1, 2020 when EPA had a statutory obligation to approve or deny the
  Minnesota SIP), Minnesota was not linked to interference with attainment or maintenance in any
  downwind state. But, EPA did not timely act on the Minnesota SIP, and then it moved the goal
  posts. Based on new modeling and emission data EPA developed years later, (the “2016v2”
  modeling platform) EPA proposed to find that Minnesota was linked to two downwind
  maintenance-only receptors due to a modeled impact of less than 1 ppb at each receptor. In the


  1
   As discussed on page 4 infra, EPA has divided the Good Neighbor obligation set out in Clean Air Act (“CAA”) §
  110(a)(2)(D), 42 U.S.C. § 7410(a)(2)(D), into two “prongs.” The obligation to prohibit sources from emitting air
  pollutants in an amount which will “contribute significantly to nonattainment” is sometimes referred to as “prong
  1,” and the obligation to prohibit sources from emitting air pollutants in an amount which will “interfere with
  maintenance” as “prong 2.”
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  final SIP Disapproval, EPA again revised its emissions data and modeling (the “2016v3” modeling
  platform) and now finds that Minnesota is linked in 2023 to only a single maintenance-only
  monitor, at a maximum contribution of 0.85 ppb. Further, EPA has since released updated
  modeling results for 2026 that show that this same monitor will be in attainment without any
  material reduction of emissions from Minnesota. As a result, after five years of updates, EPA’s
  modeling results support the same conclusion that Minnesota reached in 2018, namely that
  additional emissions reductions are not needed to prohibit emissions in Minnesota that will
  contribute significantly to nonattainment, or interfere with maintenance of, the 2015 8-hour
  ozone NAAQS in any downwind state. We ask that EPA grant this petition for reconsideration to
  do what it should have done in 2018—Approve the Minnesota SIP.

           The approvability of Minnesota’s original SIP submittal is corroborated by two additional
  pieces of information that were not available during the public comment period for the proposed
  SIP disapproval or prior to EPA’s release of its 2016v3 modeling in 2023. First, EPA’s 2016v3
  emissions inventory materially overstates Minnesota’s 2023 NOx emissions; for example, it
  incorrectly assumes over 2,800 tons of NOx from an electric generating facility that has been
  idled since 2019 and is projected to have zero emissions in 2023. By merely correcting the
  projected actual NOx emissions, Minnesota has already achieved more NOx reductions than
  EPA’s FIP would require of Minnesota. This effectively confirms Minnesota’s step 32 conclusion
  in its 2018 SIP that no additional permanent or enforceable measures were needed beyond those
  already implemented by the state.3

          Second, as EPA has recognized, its CAMx modeling is subject to significant bias in areas of
  complex meteorology, including the water/land interface occurring at the sole maintenance
  monitor that EPA has linked to Minnesota emissions. While EPA released with the final SIP
  Disapproval a review of this localized bias risk for southern Lake Michigan, that review was
  materially flawed and does not address the significant over-prediction bias occurring on the
  precise days EPA selected for use in evaluating Minnesota’s SIP. As a result, EPA’s general
  conclusion that adjusting for bias will not affect the outcome of its SIP reviews, does not apply to
  its review of the Minnesota SIP. To the contrary, adjusting for material bias results in the sole
  maintenance-only monitor to which Minnesota was linked by EPA becoming an attainment
  monitor in 2023. In other words, eliminating high-bias days alone completely addresses EPA’s
  objection to Minnesota’s 2018 SIP and eliminates Minnesota at Step 1 of EPA’s four-step analysis.

          Reconsideration is appropriate to make the above corrections to the emissions inventory
  and to account for modeling bias. After incorporating this new material information into the SIP
  analysis, we believe that EPA will conclude as we have that Minnesota’s original 2018 SIP
  determination that it is not having a downwind impact on attainment or maintenance that
  requires additional permanent and enforceable measures was correct and warrants approval of

  2
    See page 4 infra for the list of four steps in EPA’s 4-step framework for evaluating Good Neighbor SIP
  submissions.
  3
    See Minnesota’s 110(a)(1) and 110(a)(2) “Infrastructure” State Implementation Plan requirements for the
  National Ambient Air Quality Standards for Ozone, Promulgated in 2015, EPA-R05-OAR-2022-0006-0005, at 12
  (October 1, 2018) (“2018 SIP”).

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  the Minnesota SIP. Reconsideration is also appropriate to address a significant procedural flaw
  in the finalization of the SIP Disapproval. Specifically, the SIP Disapproval relies on information
  that was not available to EPA, Minnesota, or any other interested parties until 2023, well past
  the period for Minnesota’s SIP submission and EPA’s statutory deadline to approve Minnesota’s
  SIP. While EPA has an obligation to use the best available evidence in making its regulatory
  decisions, that obligation is not unbounded and cannot be used to circumvent the procedures
  set forth in the Clean Air Act. When Minnesota timely submitted a SIP that is approvable based
  on the information known at the time, EPA had an obligation to approve the SIP. The Act does
  not allow EPA unfettered discretion to delay approval until new information becomes available,
  and then move the goalposts. For States that have done their part to invest resources in
  developing a timely and approvable SIP, EPA has a statutory obligation to act. EPA may still
  consider new scientific data and modeling after the statutory deadline, but there is a separate
  administrative process available to EPA that respects the State’s SIP process. Minnesota should
  have an approved SIP and EPA should be considering whether new information is sufficiently
  material to require a “SIP call” pursuant to CAA § 110(k)(5), 42 U.S.C. § 7410(k)(5), to give
  Minnesota the opportunity to revise its SIP given the new available information. Having chosen
  to use this new information to disapprove prong 2 of Minnesota’s SIP instead, EPA deprived
  Petitioners, the State, and other interested parties of significant procedural protections and
  opportunities for public input that were required by the Clean Air Act. Granting reconsideration
  allows EPA the opportunity to cure the procedural flaw that its final action is based on material
  information that has not been subject to the notice and comment process.

         Given that new information was made available after the close of the public comment
  period, but before the time for judicial review, that such information actually undermines EPA’s
  basis for disapproving prong 2 of Minnesota’s 2018 SIP in the SIP Disapproval, and
  reconsideration would address the harms caused by significant procedural defects in the SIP
  Disapproval, Petitioners respectfully request that EPA grant reconsideration for the purpose of
  reviewing this new information and approving prong 2 of Minnesota’s 2018 SIP.

         Further, since the disapproval of prong 2 of Minnesota’s SIP, and the continued
  implementation of EPA’s subsequently-issued FIP, will cause irreparable harm to Petitioners, we
  request that EPA grant a stay of the disapproval of prong 2 of Minnesota’s SIP pending
  reconsideration and pending judicial review, which will also address the irreparable harm caused
  by EPA’s FIP.

  I.         Background

         On October 1, 2015, EPA promulgated a revised primary and secondary 8-hour ozone
  NAAQS of 70 ppb. This created a requirement under the CAA for states to submit revised SIPs to
  EPA by October 1, 2018.4 SIPs were required to meet the applicable requirements of CAA §
  110(a)(2), 42 U.S.C. § 7410(a)(2), including an obligation, sometimes referred to as a “Good
  Neighbor” obligation, that the SIPs:


  4
      42 U.S.C. § 7410(a)(1).

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          (D) Contain adequate provisions—

                   (i) prohibiting, consistent with the provisions of this subchapter,
                   any source or other type of emissions activity within
                   the State from emitting any air pollutant in amounts which will—

                           (I) contribute significantly to nonattainment in, or interfere
                           with maintenance by, any other State with respect to any
                           such national primary or secondary ambient air quality
                           standard, …

  42 U.S.C. § 7410(a)(2)(D). The obligation to prohibit sources from emitting air pollutants in an
  amount which will “contribute significantly to nonattainment” is sometimes referred to as “prong
  1,” and the obligation to prohibit sources from emitting air pollutants in an amount which will
  “interfere with maintenance” as “prong 2,” of the Good Neighbor obligation.

          While EPA has never promulgated regulations imposing more specific interstate transport
  requirements than what is contained in the statutory text, EPA has developed a 4-step framework
  that it stated the agency would use to evaluate a state’s compliance with its Good Neighbor
  obligation. Namely:

      (1) Identify monitoring sites that are projected to have problems attaining and/or
          maintaining the NAAQS (i.e., nonattainment and/or maintenance receptors);

      (2) identify states that impact those air quality problems in other (i.e., downwind) states
          sufficiently such that the states are considered ‘‘linked’’ and therefore warrant further
          review and analysis;

      (3) identify the emissions reductions necessary (if any), applying a multifactor analysis, to
          eliminate each linked upwind state’s significant contribution to nonattainment or
          interference with maintenance of the NAAQS at the locations identified in Step 1; and

      (4) adopt permanent and enforceable measures needed to achieve those emissions
          reductions.5

           Minnesota took a notably conservative approach in its SIP. First, in EPA’s Transport
  Memo, EPA recognized that its four-step framework was not binding, and offered that states
  “have flexibility to follow this framework or develop alternative frameworks.”6 Despite this
  flexibility, Minnesota adopted EPA’s framework for its SIP.7 Second, EPA made clear, in the


  5
    See Information on the Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National
  Ambient Air Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I),
  https://www.epa.gov/sites/default/files/2018-03/documents/transport_memo_03_27_18_1.pdf at 2-3 (March 27,
  2018) (“Transport Memo”).
  6
    Id.
  7
    2018 SIP at 5.

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  Transport Memo and in a separate memorandum published later that year, that states did not
  need to adopt EPA’s suggested 1% threshold for determining significant contributions and
  interference with maintenance at step 2.8 Here too, Minnesota did not exercise this flexibility,
  and chose instead to use EPA’s preferred approach.9 Third, EPA guidance offered states flexibility
  regarding how to determine which downwind monitors should be considered maintenance
  receptors.10 Again, Minnesota followed EPA’s suggested approach.11 In other words, while
  Minnesota was not required to, it followed EPA’s own framework and did not rely on additional
  flexibilities to demonstrate that it had satisfied its Good Neighbor obligations.12

          Minnesota also used the best information available at the time to determine its Good
  Neighbor obligations. Specifically, Minnesota used EPA’s own modeling and modeling developed
  by the Lake Michigan Air Directors Consortium (“LADCO”) to identify monitoring sites projected
  to have problems attaining or maintaining the 2015 ozone NAAQS in 2023.13 It then projected
  the state’s own contributions to those nonattainment and maintenance monitors using both sets
  of results.14 Both EPA’s and LADCO’s modeling showed that Minnesota would contribute less
  than 1 percent of the NAAQS to all downwind receptors, with a highest receptor contribution
  from either model of 0.45 ppb.15 Thus, following EPA’s 4-factor framework, and using EPA’s own
  modeling and proposed threshold, Minnesota demonstrated that it was not contributing
  significantly to, or interfering with maintenance of, the 2015 ozone NAAQS in any downwind
  state.

          This alone would have been sufficient to satisfy Minnesota’s Good Neighbor obligation.
  Minnesota also, however, included in its SIP submission a “step 3” analysis demonstrating that
  Minnesota emissions of ozone precursors had been reduced from 2002 through 2015 and would
  be further reduced by emission limitations and reductions required by other programs.16 Under
  this step 3 analysis, Minnesota demonstrated that, even if the state were having more than an
  insignificant impact on downwind receptors (as EPA now asserts), Minnesota’s existing glidepath
  of emissions reductions still supported a finding that no further emission control measures would



  8
    Transport Memo at A-2; Analysis of Contribution Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I)
  Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
  Standards (Aug. 31 2018) (“Threshold Memo”)
  9
    2018 SIP at 6.
  10
     Transport Memo at A-2; Consideration for Identifying Maintenance Receptors for Use in Clean Air Act Section
  110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National
  Ambient Air Quality Standards, https://www.epa.gov/sites/default/files/2018-
  10/documents/maintenance_receptors_flexibility_memo.pdf at 3 (October 19, 2018) (“Maintenance Memo”)
  11
     2018 SIP at 5.
  12
     Minnesota, of course, could have taken a different approach, and might have used some of these flexibilities,
  had EPA indicated during the statutory review period that it was considering disapproving prong 2 of Minnesota’s
  SIP.
  13
     2018 SIP at 5-9.
  14
     Id.
  15
     Id. at 8-9.
  16
     Id. at 9-12; see also id. at 13.

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  be needed to address this impact. EPA did not meet its obligation to approve or deny
  Minnesota’s complete and approvable SIP within 12 months of submittal.

          Approximately three years after EPA’s deadline to approve the Minnesota SIP, EPA
  proposed to disapprove Minnesota’s SIP on February 22, 2022, along with SIPs from 18 other
  states.17 EPA did not identify a technical error in Minnesota’s submission or any inconsistency
  with the Good Neighbor requirements, or even EPA’s own framework. In fact, EPA recognized
  that “the modeling the MPCA used relied on the most recently available EPA modeling at the
  time the state submitted its SIP submittal.”18 Nonetheless, EPA proposed to reject Minnesota’s
  SIP because EPA chose to rely “on the Agency’s most recently available modeling, which uses a
  more recent base year and more up-to-date emissions inventories, to identify upwind
  contributions and ‘linkages’ to downwind air quality problems in 2023 using a threshold of 1
  percent of the NAAQS.” Id. Based on this data, EPA proposed to reject Minnesota’s conclusion
  that it was not linked to a downwind receptor, and to find instead that Minnesota was linked to
  two maintenance monitors in Cook County, Illinois, one with a maximum contribution of 0.97
  ppb and the other 0.79 ppb.19

          On February 13, 2023, EPA published the SIP Disapproval. In its final rule, EPA approved
  Minnesota’s SIP as to “prong 1” but disapproved Minnesota’s SIP as to “prong 2.”20 Rather than
  use the emissions data and modeling available to Minnesota in 2018, or even emissions data and
  modeling available at the time of the proposed SIP disapproval, EPA made a number of additional
  updates to its emissions inventories and model design to construct a new 2016v3 emissions
  platform, which it used to generate new air quality modeling without seeking public comment to
  allow affected party input to help the agency assess the accuracy of the new information utilized
  in the modeling.21 Minnesota was now no longer linked to two downwind receptors. It was now
  linked to only a single maintenance-only receptor, at a maximum contribution of 0.85 ppb for
  2023. 22

          While EPA also conducted updated modeling for 2026, it did not release this information
  in the docket for the SIP Disapproval, stating it was “not applicable” and “not used in this final
  action.”23 EPA subsequently made these results available, however, on EPA’s website for its
  Federal Implementation Plan (“FIP”) for 23 states, including Minnesota.24 Based on EPA’s
  modeling for 2026, Minnesota is not linked to any downwind nonattainment or maintenance-
  only receptor. In fact, based on EPA’s modeling, the sole maintenance-only receptor Minnesota
  was linked to in 2023 is in attainment by 2026, and Minnesota’s largest contribution to any

  17
     Air Plan Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air Plan Disapproval; Region 5
  Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards, 87 Fed.
  Reg. 9838, 9868 (February 22, 2022) (“Proposed Rule”).
  18
     Proposed Rule at 9867.
  19
     Id. at 9868.
  20
     See SIP Disapproval at 9357.
  21
     See id. at 9339.
  22
     Id. at 9357.
  23
     Id. at 9344, n.49.
  24
     https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs

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  downwind nonattainment or maintenance-only receptor is just 0.32 ppb.25 Notably, this
  modeling assumed no installation of additional pollution controls in Minnesota. The only
  emissions reductions included from Good Neighbor obligations were an annual reduction of 139
  tons NOx from emissions control optimization at EGUs.26

  II.      Grounds for Reconsideration of the SIP Disapproval

          Reconsideration is justified under either CAA § 307(d)(7)(B)27 or Administrative Procedure
  Act (“APA”) § 553(e) (5 U.S.C. § 553(e)).28 Under CAA § 307(d), reconsideration is required “[i]f
  the person raising an objection can demonstrate to the Administrator that it was impracticable
  to raise such objection within such time or if the grounds for such objection arose after the period
  for public comment (but within the time specified for judicial review) and if such objection is of
  central relevance to the outcome of the rule.”29 Courts have found that an objection was
  “impractical to raise” “when the final rule was not a logical outgrowth of the proposed rule.”
  Alon Refining Krotz Springs, Inc. v. EPA, 936 F.3d 628, 648 (D.C. Cir. 2019) (per curiam). In other
  words, when interested parties would not have “anticipated that the change was possible, and
  thus reasonably should have filed their comments on the subject during the notice-and-comment
  period.” CSX Transp., Inc. v. Surface Transp. Bd., 584 F.3d 1076, 1080 (D.C. Cir. 2009) (internal
  quotations omitted). An objection is of central relevance to the outcome of the rule if it “provides
  substantial support for the argument that the regulation should be revised.” Chesapeake Climate
  Action Network v. EPA, 952 F.3d 310, 322 (D.C. Cir. 2020). Under the APA, EPA has “broad
  discretion to reconsider” its SIP Disapproval “at any time” Under the APA. Clean Air Council v.
  Pruitt, 862 F.3d 1, 8-9 (D.C. Cir. 2017).30

         Three grounds support reconsideration under either standard. First, EPA's 2016v3
  modeling did not have the benefit of Petitioners’ or other public comments. As a result, it
  contains a significant overestimation of 2023 emissions for Minnesota. Second, EPA’s 2016v3
  modeling of the sole monitor supporting a potential linkage between Minnesota and Illinois is
  subject to significant bias which, if corrected for, results in the same receptor modeling
  attainment in 2023. Third, EPA’s rejection of prong 2 of Minnesota’s SIP was procedurally



  25
     See Federal “Good Neighbor Plan” for the 2016 Ozone National Ambient Air Quality Standards,
  https://www.epa.gov/system/files/documents/2023-03/FRL%208670-02-
  OAR_Good%20Neighbor_Final_20230314_Signature_ADMIN%20%281%29.pdf, at 198 (pre-publication version).
  26
     Compare Id. at 290, Table V.C.1-1; 291, Table V.C.1-2; and 452, Table VI.B.4.c-1.
  27
     42 U.S.C. § 76076(d)(7)(B).
  28
     SIP disapprovals are not automatically subject to the exhaustion requirements of Clean Air Act § 307(d).
  42 U.S.C. § 7607(d). This subsection lists 22 categories of agency action subject to the exhaustion requirement.
  SIP approval and disapproval, separate from issuance of a FIP, as occurred in the SIP Disapproval, is not addressed
  by any of these 22 categories.
  29
     42 U.S.C. § 7607(d)(7)(B).
  30
     See also Trujillo v. Gen. Elec. Co., 621 F.2d 1084, 1086 (10th Cir. 1980) (“Administrative agencies have an
  inherent authority to reconsider their own decisions, since the power to decide in the first instance carries with it
  the power to reconsider.”); United Gas Improvement Co. v. Callery Properties, Inc., 382 U.S. 223, 229 (1965) (“An
  agency, like a court, can undo what is wrongfully done by virtue of its order.”)

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  improper because it was based entirely on results EPA obtained in 2023, well past the statutory
  deadline for Minnesota’s SIP submission and EPA’s decision approving or disapproving it.

          A.       Errors in EPA’s New Emissions Data and Modeling, Which Were Not Subject to
                   Notice and Comment, Support Reconsideration to Ensure EPA’s Decision on
                   Minnesota’s SIP is Based on Valid and Accurate Information.

          EPA “made a number of updates to [its] inventories and model design to construct a
  2016v3 emissions platform which was used to update [EPA’s] air quality modeling.” SIP
  Disapproval at 9339. The SIP Disapproval uses “this updated modeling to inform [EPA’s] final
  action on [state] SIP submissions,” including Minnesota’s. Id.

         The new emissions inventory and modeling platform are of central relevance to EPA’s
  rule. EPA identifies the 2016v3 platform as designed “to inform [the agency’s] final action on
  these SIP submissions.” SIP Disapproval at 9339. For Minnesota, the 2016v3 modeling results
  are the sole record citation EPA provides for its finding that prong 2 of Minnesota’s SIP was
  “ultimately inadequate.” Id. at 9357.

           While there have been errors in each of EPA’s inventories at each stage of the regulatory
  process, these new errors in the emissions inventory arose only with the publication of the final
  SIP Disapproval. Under both the APA and the CAA, EPA’s rulemaking process requires adequate
  public notice and an opportunity to comment on the evidence on which EPA intends to rely for
  its final rules.31 EPA’s emissions inventory and modeling design changes were not made publicly
  available until EPA published the SIP Disapproval and several supporting documents on the same
  day. As a result, the public, including Petitioners, did not have the opportunity to review EPA’s
  data and correct errors before then.

          In the limited time Petitioners have had to review the 2016v3 data, we have identified
  significant errors in EPA’s estimate of NOx emissions for 2023. As an example, EPA added 2,822
  tons of NOx for Northshore Mining Co. – Silver Bay power. These boilers have been idled since
  October 2019 and are expected to have zero emissions in 2023. EPA itself recognizes that zero
  emissions are expected at this facility in both its OTP Policy Analysis, Appendix A and in its Unit-
  Level Allocations and Underlying Data for the Final Rule (both available at
  https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs).             Yet EPA made no
  adjustment to its 2016v3 data, resulting in a significant overestimate of 2023 emissions from
  Minnesota used by EPA to justify disapproval of the Minnesota SIP. If EPA defends including
  2,822 tons of NOx emissions for Silver Bay Power in the baseline actual emissions used to model
  Minnesota’s downwind impact in 2023, then Minnesota’s state allowance budget should be

  31
     See Small Ref. Lead Phase-Down Task Force v. EPA, 705 F.2d 506, 540 (D.C. Cir. 1983) (adding evidence on which
  EPA relies after the close of the comment period would be “highly improper”); see also Sierra Club v. Costle, 657
  F.2d 298, 400 (D.C. Cir. 1981) (“If … documents of central importance upon which EPA intended to rely had been
  entered on the docket too late for any meaningful public comment prior to promulgation, then both the structure
  and spirit of section 307 would have been violated.”); see also Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C.
  Cir. 1982) (finding EPA had not provided adequate opportunity for public comment on economic modeling placed
  in the docket only one week before promulgation of its final regulations).

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  increased to reflect those emissions and Silver Bay Power should receive proportional allowance
  allocations for the 2023 CSAPR ozone season trading program and beyond. To do otherwise
  would be internally inconsistent, which is an indication of arbitrary rulemaking.

          For Minnesota, EPA’s most recent modeling identified a single impacted maintenance
  monitor in 2023, at which Minnesota’s maximum impact was 0.85 ppb. EPA’s latest modeling
  projects this same receptor will be in attainment by 2026 with no reductions from Minnesota
  other than already “on the books” rules and regulations.32 In other words, EPA’s 2026 modeling
  confirms Minnesota’s 2018 SIP conclusion that “the limits and controls that Minnesota already
  has in place across the state are sufficient to make it reasonably certain that Minnesota will not
  significantly contribute to nonattainment or interfere with maintenance in any other state” and
  that “no further controls or emissions limits are required to fulfill [Minnesota’s] responsibilities
  under the interstate transport provisions for the 2015 ozone NAAQS under prongs 1 and 2 of
  Section 110(a)(2)(D)(i)(I).”33

         Given the above considerations, EPA should grant reconsideration to reassess
  Minnesota’s 2018 SIP in light of its own modeling showing that no further emission reductions
  are needed for Minnesota to satisfy its prong 2 good neighbor obligations.

          B.      The Sole Monitor that Links Minnesota Models in Attainment for 2023 When
                  Bias is Removed.

          Minnesota’s only link to a downwind state receptor is the Alsip/Village Garage monitor
  located in Cook County, Illinois (170310001). This monitor is located near the southern shore of
  Lake Michigan at a land-water interface with complex meteorology. This monitor is currently
  measuring attainment with the 2015 ozone NAAQS using the 2021 4th highest daily maximum
  value (68 ppb). However, EPA’s air quality modeling predicts that this monitor is at risk of
  violating the ozone NAAQS and, therefore, designates it as a maintenance-only receptor. Upwind
  states that interfere with this monitor’s maintenance of the ozone NAAQS are linked through
  prong 2. However, if a corrected model predicts the monitor’s maximum 2023 design value will
  attain the 2015 ozone NAAQS, this monitor falls out of the analysis at Step 1 and, since no other
  monitor links to Minnesota, EPA will have no basis for disapproval of prong 2 of Minnesota’s SIP.

         In the attached analysis, Alpine Geophysics demonstrates that the Cook County monitor
  models attainment for the 2015 ozone NAAQS in 2023. Alpine Geophysics evaluated this Cook
  County monitor and concluded that its location at a land-water interface at the southern shore
  of Lake Michigan presents highly complex meteorological conditions and ozone photochemistry
  that complicate the air quality model’s ability to replicate ozone concentrations reliably. Of note,




  32
     See Air Quality Modeling Final Rule Technical Support Document,
  https://www.epa.gov/system/files/documents/2023-03/AQ%20Modeling%20Final%20Rule%20TSD.pdf at 17,
  Table 3-5 (showing Monitor 170310001 no longer listed as a monitor-only receptor in the 2026 base case).
  33
     2018 SIP at 13.

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  EPA’s application of a 12 km grid resolution in such areas is contrary to EPA’s own guidance.34
  Alpine Geophysics reviewed EPA’s day-specific model performance for the estimation of ozone
  concentrations on days EPA used to calculate future year design values and found significant bias
  in the majority of modeled day values used to designate this monitor site as a maintenance-only
  receptor. When Alpine Geophysics adjusted for this bias by using daily concentration values
  within acceptable normalized bias boundaries (+/- 15%), the updated list of top ten days used to
  designate the Cook County monitor resulted in both its average and maximum design values to
  be calculated in attainment with the 2015 ozone NAAQS.

          When one attaining monitor modeled as a maintenance-only receptor is the sole basis for
  a state’s linkage, a refined level of analysis is particularly important when predicting future design
  values and significant contribution. When that monitor is in a highly complex land-water
  interface area, it is not surprising for refined analysis to show significant bias. In its FIP
  rulemaking, EPA looked at this impact, but evaluated only one of ten Cook County monitors.35 In
  doing so, EPA evaluated the only monitor out of the ten where EPA’s performance-based
  recalculation resulted in a higher design value. As a result, EPA’s sensitivity analysis materially
  understates the significance of the bias impact on the Alsip/Village Garage monitor and this issue
  remains central to EPA’s evaluation of Minnesota’s 2018 SIP.

          Petitioners also had no ability to evaluate the bias in EPA’s 2016v3 modeling of the
  Alsip/Village Garage monitor prior to EPA’s release of its model and supporting data. As a result,
  this information arose after the close of the public comment period and within the time for
  judicial review.

          Since Petitioners have identified significant bias in the sole receptor on which EPA relies
  to find a link to Minnesota and reject Minnesota’s 2018 SIP, reconsideration is appropriate to
  evaluate the new information and analysis provided. When reasonably adjusting for the bias in
  EPA’s 2016v3 modeling of that receptor, EPA will be in a position to confirm that Minnesota
  accurately concluded in 2018 that there are no “potential nonattainment or maintenance
  receptors significantly impacted by ozone transport from Minnesota in 2023” and that
  “[t]herefore, Minnesota does not have a responsibility to identify or implement any further
  controls or emissions limits to reduce downwind ozone contribution.”36

          C.       Minnesota’s SIP Should Have Been Approved Based on the Data Available at the
                   Statutory Deadlines for Submission or Review.

          The Clean Air Act sets out a detailed process for EPA’s review of SIPs in CAA § 110(k). 42
  U.S.C. § 7410(k). For timely submitted plans that have been deemed complete, like Minnesota’s,

  34
     Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5 and Regional Haze,
  https://www.epa.gov/sites/default/files/2020-10/documents/o3-pm-rh-modeling_guidance-2018.pdf (Nov. 29,
  2018).
  35
     See Federal “Good Neighbor Plan for the 2015 Ozone National Ambient Air Quality Standards Response to Public
  Comments on Proposed Rule, https://www.epa.gov/system/files/documents/2023-
  03/Response%20To%20Comments%20Document%20Final%20Rule.pdf at 196.
  36
     2018 SIP at 9.

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  EPA has twelve months to act on a plan submission. 42 U.S.C. § 7410(k)(2). For a plan that meets
  the requirements of the Clean Air Act, “the Administrator shall approve such submittal as a
  whole.” Id. at (k)(3). If a portion of the plan revision meets all the applicable requirements, EPA
  “may approve the plan revision in part and disapprove the plan revision in part” but “[t]he plan
  revision shall not be treated as meeting the requirements of [the Clean Air Act] until the
  Administrator approves the entire plan revision as complying with the applicable requirements
  of [the Clean Air Act].” Id. In other words, while EPA has discretion to partially approve a SIP
  submittal that does not meet all requirements of the Clean Air Act, if a submission meets all
  requirements of the Act, EPA does not have discretion. It must approve the SIP. See also Utah
  Physicians for a Healthy Env't v. Kennecott Utah Copper, LLC, 191 F. Supp. 3d 1287, 1290 (D. Utah
  2016) (“If a SIP satisfies the applicable requirements, EPA must approve it.”).

           In 2018, Minnesota submitted a timely and approvable SIP. As EPA acknowledges in the
  SIP Disapproval, Minnesota “was not projected to be linked to any receptor in 2023 in the EPA’s
  2011-based modeling.”37 Petitioners retained Alpine Geophysics to reanalyze Minnesota’s SIP
  submission considering the best evidence available both at the time of Minnesota’s SIP
  submission and at the time of EPA’s statutory obligation to approve or disapprove Minnesota’s
  SIP. As detailed in the attached report, Alpine Geophysics’ review confirms that Minnesota’s SIP
  submission: (1) had no material errors; (2) relied on the best science (including emissions data
  and modeling) available at the time; (3) fully complied with the CAA’s requirements and EPA’s
  guidance; and (4) would have been approved had EPA not incorporated information unavailable
  during the statutory review period. As a result, pursuant to 42 U.S.C. § 7410(k)(2) and (k)(3), by
  April 1, 2020, EPA had a non-discretionary duty to approve Minnesota’s SIP. While EPA missed
  its statutory deadline, this did not relieve EPA of its duty to approve Minnesota’s SIP.

          While EPA now finds that “in light of more recent air quality analysis,” Minnesota is linked
  to a single maintenance monitor in Illinois, this is based on information that did not exist at the
  time of Minnesota’s SIP submission nor when EPA had a statutory obligation to approve the SIP.
  This was also not EPA’s first use of untimely information to assess Minnesota’s SIP. In 2022, EPA
  proposed to disapprove Minnesota’s SIP “[s]ince new modeling ha[d] been performed by EPA
  with updated emission data,” that EPA proposed “to primarily rely on … to identify
  nonattainment and maintenance receptors in 2023.” Proposed Rule at 9867. As EPA
  acknowledged at the time, this was “a different method for projecting emissions” than what had
  been available to Minnesota for it to develop its SIP submittal. Id. EPA’s repeated changes in
  emissions inventory and modeling platform after the deadline for SIP submissions and after
  Minnesota’s SIP was deemed complete by EPA effectively moved the goalpost for Minnesota’s
  SIP, undercutting the State of Minnesota’s ability to identify the requirements EPA would apply
  to determine an approvable SIP.

         The impact was significant. Minnesota’s modeled impact went from contributing “below
  1 percent of the NAAQS to receptors in 2023” to contributing “greater than 1 percent of the
  standards to two maintenance-only receptors in Illinois”38 in the 2022 proposed SIP Disapproval

  37
       SIP Disapproval at 9357.
  38
       Id. at 9867-68.

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  to now being linked to one maintenance-only receptor in the 2023 SIP Disapproval (assuming no
  further adjustment for bias or data inaccuracies)). Notably, even using EPA’s new data and
  modeling, Minnesota would still have had no linkage to a downwind maintenance receptor if EPA
  had not also moved the maximum threshold it indicated it would consider acceptable from 1 ppb
  to 1% (0.70 ppb).39 As the D.C. Circuit has held, it is arbitrary and capricious to give states a
  “constantly moving target,” New York v. EPA, 964 F.3d 1214, 1224 (D.C. Cir. 2020), let alone two.
  The language and structure of the Clean Air Act clearly give Minnesota and Petitioners the right
  to address this new data in the first instance in a SIP amendment, and not in a challenge to a SIP
  disapproval, as EPA now requires.

          Notably, if EPA had followed the CAA procedures, it could have appropriately considered
  the new information it has developed since 2020, including the 2016v3 modeling it has
  introduced with the 2023 SIP Disapproval. But EPA cannot rely on its almost three year delay to
  circumvent the process and procedural protections set forth in the Clean Air Act. Rather, EPA
  was required to act on the SIP Minnesota submitted. If, after approval, EPA finds that a timely,
  complete and approved SIP nonetheless is “substantially inadequate … to mitigate adequately
  the interstate pollutant transport” or otherwise comply with the requirements of the Clean Air
  Act, “the Administrator shall require the State to revise the plan as necessary to correct such
  inadequacies.” Id. at (k)(5). EPA also cannot simply disapprove the state’s plan pending a new
  state submission that incorporated EPA’s newly developed information, as the SIP Disapproval
  effectively does. In the event EPA finds a SIP Call is justified, EPA must first “notify the State of
  the inadequacies, and may establish reasonable deadlines (not to exceed 18 months after the
  date of such notice) for the submission of such plan revisions.” Id. Further, “[s]uch findings and
  notice shall be public.” Id. These procedural protections are an important component of the
  cooperative federalism embodied in the Clean Air Act. As courts have held, “[t]he Clean Air Act
  is an experiment in federalism, and the EPA may not run roughshod over the procedural
  prerogatives that the Act has reserved to the states, especially when … the agency is overriding
  state policy. Bethlehem Steel Corp. v. Gorsuch, 742 F.2d 1028, 1036–37 (7th Cir. 1984).

          Multiple commenters, including the Minnesota Pollution Control Agency, have raised
  similar concerns arising from EPA’s initial proposal to use 2016v2 modeling to disapprove state
  SIPs.40 EPA has attempted to respond to those comments in the RTC, but in doing so, has not
  addressed the fundamental issue that EPA cannot disapprove a SIP that is approvable based on
  the information existing at the time that submittals are due, or even at the time EPA’s SIP review
  was statutorily due, and cannot circumvent Minnesota’s right to address new data in a SIP
  amendment, before EPA uses it to disapprove an otherwise approvable SIP.
  42 U.S.C. §§ 7410(k)(3) and (5).


  39
     Minnesota did not rely on the 1 ppb threshold for its SIP submission, but as EPA acknowledged, “[t]he 2018
  modeling indicated the state was not projected to contribute above one 1 percent of the NAAQS to a projected
  downwind nonattainment or maintenance receptor. Therefore, the state may not have considered analyzing the
  reasonableness and appropriateness of a 1 ppb threshold at Step 2 of the 4-step Step interstate transport
  framework per the August 2018 memorandum.” Proposed Rule at 9867.
  40
     See RTC at 42-59.

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         EPA asserts in the SIP Disapproval that its use of new modeling and data did not move the
  goal post for states because EPA “did not evaluate states’ SIP submissions based solely on the
  2016v2 emissions platform (or the 2016v3 platform…)” but rather “evaluated the SIP submissions
  based on the merits of the arguments put forward in each SIP submission.” SIP Disapproval at
  9366. For Minnesota, however, EPA cites no basis or analysis for its SIP Disapproval other than
  the 2016v3 modeling results. Having relied on no other information to disapprove Minnesota’s
  SIP, EPA cannot simply assert it had an additional basis with no additional substantiation. As the
  D.C. Circuit has noted, EPA cannot support its decision on only a “Delphic explanation of
  [Minnesota’s] purported failure to carry its burden of proof.” New York, 964 F.3d at 1224.

          EPA also maintains that data and modeling it developed for the Proposed Rule in 2022,
  and now additional data and modeling it developed for the SIP Disapproval in 2023, supports a
  finding that Minnesota’s SIP submission is “ultimately inadequate.” SIP Disapproval at 9357. But
  even if this were the case, it does not give EPA a right to disapprove Minnesota’s 2018 SIP. For
  data arising after EPA’s statutory deadline to approve Minnesota’s SIP, EPA could no longer rely
  on its obligation to use the “best information available.” SIP Disapproval at 9366. Interpreting
  the Clean Air Act otherwise would not do justice to the cooperative federalism framework
  Congress established in CAA § 110, and would deprive states of important procedural protections
  allowing them to control and direct in the first instance, the implementation of the NAAQS within
  their borders.

          The SIP Disapproval misapplies the D.C. Circuit’s reasoning in Wisconsin, 903 F.3d at 322,
  when it asserts the SIP submission deadline is “’procedural’” and that to limit EPA’s decision to
  information available at the time of the SIP submission or EPA’s statutory review deadline would
  elevate it above requirements “‘central to the regulatory scheme.’” SIP Disapproval at 9366
  (quoting Wisconsin, 903 F.3d at 322. Neither Wisconsin, nor the case on which it relies, Sierra
  Club v. EPA, 294 F.3d 155 (D.C. Cir. 2002), addressed the issue presented here. In Wisconsin, the
  court was responding to an argument that EPA should have selected 2011 as its analytic year
  even though that year had already passed. In Sierra Club, the court was responding to a
  contention that EPA’s ability to extend a SIP submittal deadline should support its authority to
  extend attainment deadlines. Here, EPA argues for an exception that would swallow the rule. If
  EPA could simply withhold ruling on a SIP until the State’s information had become stale, and
  then disapprove the SIP and issue a FIP based on the “best available information,” the
  cooperative federalism structure of the NAAQS would be an empty shell.

          This is also not a situation like that which arose in EME Homer City Generation, L.P. v. EPA,
  795 F.3d 118 (D.C. Cir. 2015). There, EPA had approved state SIPs in reliance on the Clean Air
  Interstate Rule (“CAIR”), which was subsequently found to have “more than several fatal flaws”
  by the D.C. Circuit. North Carolina v. EPA, 531 F.3d 896, 901 (D.C.Cir.2008) (per curiam). In
  addressing whether this ruling allowed EPA to “correct” its earlier SIP approvals under
  42 U.S.C. § 7410(k)(6), the D.C. Circuit found EPA could do so, but only due to the unique
  circumstances of that case. EME Homer City Generation, 795 F.3d at 135 n.12 (“Our conclusion
  on Subsection 7410(k)(6) is limited to the unusual circumstances here, in which a federal court
  says that EPA lacked statutory authority at the time to approve a SIP.”). Notably, the D.C. Circuit


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  did not decide whether EPA could rely on Clean Air Act §110(k)(6) to disapprove an approved SIP
  “in any other circumstances,” and stated that its holding in particular “should not be read to
  diminish the scope or force of Subsection 7410(k)(5), which provides that whenever ‘the
  Administrator finds that the applicable implementation plan for any area is substantially
  inadequate ... the Administrator shall require the State to revise the plan as necessary to correct
  such inadequacies.’” Id. (quoting 42 U.S.C. § 7410(k)(5)).

          While in EME Homer, EPA had already approved several state SIPs, and in this rulemaking
  EPA has not yet approved Minnesota’s SIP, this is a distinction without a difference. Minnesota
  submitted its SIP on October 1, 2018. It was deemed complete April 1, 2019.41 EPA’s period for
  review therefore ended April 1, 2020. As described in the Proposed Rule, Minnesota’s SIP
  submission complied with the Clean Air Act and EPA’s guidance for developing an interstate
  transport SIP for the 2015 ozone NAAQS. 87 Fed. Reg. at 9848-49. As detailed in the attached
  report, Alpine Geophysics’ review confirms that Minnesota timely submitted an approvable SIP.
  By April 1, 2020, EPA had a statutory duty to approve Minnesota’s SIP.

         EPA’s reliance on its 2016v3 modeling platform (which was not available to the public or
  interested parties) to reject the conclusions Minnesota reached based on the information that
  was available to all parties at the time is clearly of central relevance. Had EPA acted by its
  statutory deadline, Minnesota would have an approved SIP today. Further, while Petitioners have
  previously commented on the approvability of Minnesota’s SIP, the basis for EPA’s partial SIP
  Disapproval for Minnesota, including its decision to rely on its newer 2016v3 modeling platform,
  was not made public until the final rule. These grounds therefore arose after the close of the
  public comment period but before the time for judicial review. Reconsideration is therefore
  appropriate to address this procedural anomaly for Minnesota.

         On reconsideration EPA should approve Minnesota’s 2018 SIP based on the information
  that was available to EPA for its statutory review. The agency may then reassess whether, based
  on the information available today, including the above data and bias corrections, Minnesota’s
  SIP remains sufficient to comply with prong 2 of the state’s Good Neighbor obligations. For the
  reasons explained herein, EPA should find that the 2018 SIP was and is adequate to comply with
  prong 2.

  III.       Grounds for Stay of the SIP Disapproval

          EPA has authority to stay the SIP Disapproval both pending reconsideration and pending
  judicial review. First, if the SIP Disapproval is subject to CAA § 307(d), a stay pending
  reconsideration can be granted for three months. Second, EPA has authority under the APA to
  stay the SIP Disapproval pending judicial review.




  41
       See https://www3.epa.gov/airquality/urbanair/sipstatus/reports/mn_infrabypoll.html

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          A.       A Stay Under CAA § 307(d)(7) is Appropriate.

          The Clean Air Act provides that, if EPA grants reconsideration of a rule, “[t]he
  effectiveness of the rule may be stayed during such reconsideration…by the Administrator or the
  court for a period not to exceed three months.” 42 U.S.C. § 7607(d)(7)(B). If the SIP Disapproval
  is subject to CAA § 307(d), a stay pending reconsideration is justified here.

         EPA issued a final rule based primarily on emissions data and modeling that it did not
  make publicly available before issuance of the final rule. Even upon publication, EPA’s release of
  data was partial and inadequate to reconstruct the modeling that EPA used for its final
  determinations. Obtaining the data and checking its accuracy has taken several weeks. It would
  take many more weeks to rerun EPA’s modeling to confirm that the results support reversal of
  EPA’s disapproval of prong 2 of Minnesota’s SIP. It will likely take a similar amount of time to
  evaluate the evidence of bias Petitioners are submitting to confirm that it too, supports approval
  of Minnesota’s SIP.

          A stay will also not unduly impact downwind states. Minnesota is not modeled to
  interfere with attainment for any downwind state. Under EPA’s most recent modeling,
  Minnesota is linked only to a single maintenance-only receptor, the most recent monitored
  design value of the monitor at this location was in attainment, and EPA’s modeling for 2026
  shows the receptor will model attainment as well with only minimal reductions from Minnesota.
  As EPA has itself emphasized, the SIP Disapproval does not require any action from the states.42

          While a stay of the effective date of the SIP Disapproval for Minnesota would also prevent
  EPA from applying its FIP to Minnesota at the start of the upcoming ozone trading season, which
  is scheduled to start May 1, 2023, this is not likely to be relevant. In a recent filing, EPA has stated
  that the FIP is not likely to be effective until “late June to early July.”43 If EPA timely takes action
  on this reconsideration, this is well within the time EPA would need to conduct reconsideration.
  Further, while EPA has interpreted the CAA to require it “to address good neighbor obligations
  as expeditiously as practicable and no later than the next attainment date,” RTC at 445, granting
  a stay of Minnesota’s SIP denial pending reconsideration will not interfere with that goal.
  Minnesota is modeled to impact only a single maintenance-only monitor. As the D.C. Circuit has
  recognized, this ‘may be a valid reason” to postpone addressing emission reductions until even
  after the next attainment date. North Carolina v. EPA, 531 F.3d 896, 912 (D.C. Cir. 2008). A
  reasonable stay to address reconsideration falls well within EPA’s discretion.

          B.       EPA Should Stay the Effective Date of the SIP Disapproval Pending Judicial
                   Review.

         EPA can consider a stay of the entire SIP Disapproval for all affected states. Under the
  APA, EPA may stay the effective date of the SIP Disapproval pending judicial review when “justice


  42
   See, e.g., 2015 Ozone NAAQS Interstate Transport SIP Disapproval – Response to Comments (“RTC”) at 466.
  43
   Respondents’ Consolidated Response in Opposition to the Motions for Stay of the Final Rule, Texas v. EPA, Case
  No. 23-60069, Doc. 109, at 12 (5th Cir. Filed March 27, 2023).

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  so requires.” 5 U.S.C. § 705. Several Petitioners are filing a petition for judicial review of EPA’s
  partial disapproval of Minnesota’s SIP contemporaneously with this petition for reconsideration
  and stay. Multiple other petitions have already been filed for judicial review, including petitions
  by Arkansas, Kentucky, Oklahoma, Texas, Utah, and Wyoming. More are likely. These cases are
  already spread across four circuits, and additional litigation may expand the number of courts
  further.

          The effective date of the SIP Disapproval is March 15, 2023. This effective date is
  significant for both legal and practical reasons. Legally, it will force EPA to promulgate a FIP within
  two years (though in this case EPA has already finalized its FIP). 42 U.S.C. § 7410(c)(1). States
  will also be required to prepare SIP revisions if they are interested in addressing the errors in
  EPA’s analysis. Further, the significant legal flaws in EPA’s SIP Disapproval discussed above,
  coupled with the technical and legal concerns it raises, make it likely that judicial review will result
  in a remand if not vacatur of the current SIP Disapproval. As a result, to avoid the unnecessary
  expenditure of EPA resources on a FIP, state resources on SIP revisions, and the resources of the
  public and regulatory industries in addressing a FIP that is likely to not be required, justice
  requires that the SIP Disapproval be stayed pending judicial review.

          Further, while EPA is not bound to apply the same four-factor analysis used by courts for
  granting a judicial stay pending review, these factors indicate support for EPA in granting a stay
  of the SIP Disapproval. Under this standard, the considerations for a stay are:

     (1) whether the stay applicant has made a strong showing that he is likely to succeed on the
         merits;

     (2) whether the applicant will be irreparably injured absent a stay;

     (3) whether issuance of the stay will substantially injure the other parties interested in the
         proceeding; and

     (4) where the public interest lies.

  Nken v. Holder, 556 U.S. 418, 434, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009) (citation omitted).
  These “four considerations are factors to be balanced and not prerequisites to be met.” State of
  Ohio ex rel. Celebrezze v. Nuclear Regul. Comm'n, 812 F.2d 288, 290 (6th Cir. 1987).

                 1.      Petitioners Have Made a Strong Showing They Are Likely to Succeed on
                         the Merits

          There is no fixed probability of success the agency must find in applying these
  considerations. “Ordinarily the party seeking a stay must show a strong or substantial likelihood
  of success. However, at a minimum the movant must show ‘serious questions going to the merits
  and irreparable harm which decidedly outweighs any potential harm to the defendant if a [stay]
  is issued.’” Id. (quoting In re DeLorean Motor Company, 755 F.2d 1223, 1229 (6th Cir.1985)).



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           As discussed above, the SIP Disapproval has substantive and procedural flaws, each of
  which individually, and more so when combined, demonstrate “a high probability of success on
  the merits.” Ohio ex rel. Celebrezze v. Nuclear Regul. Comm’n., 812 F.2d 288, 290 (6th Cir.1987).
  Substantively, EPA’s partial SIP Disapproval for Minnesota was based on an incorrect set of
  emissions data and biased modeling results that, when adjusted, support Minnesota’s original
  conclusion that the state is not linked to downwind nonattainment or interference with
  maintenance and, even if linked, does not need to impose additional emission reductions to
  satisfy its Good Neighbor obligations. Procedurally, EPA did not follow the process required by
  the Clean Air Act for reviewing and approving Minnesota’s SIP. In doing so, EPA deprived the
  State and Petitioners of the ability to address EPA’s concerns in a SIP Call process.

          Other flaws in the SIP Disapproval also strongly support a showing of likely success on the
  merits in a judicial challenge. In particular, we call to the agency’s attention: (a) EPA’s
  impermissible reliance on new data to disapprove prong 2 of Minnesota’s SIP without providing
  adequate notice and an opportunity for public comment; and (b) the SIP Disapproval’s subversion
  of the well-established and vital cooperative federalism underlying the entire Clean Air Act and
  in particular, the NAAQS.

                           a.     EPA Cannot Base its SIP Disapproval on Information that was Not
                           Subject to Adequate Notice and Public Comment

          Under both the Administrative Procedure Act (“APA”) and the CAA, EPA’s rulemaking
  process requires adequate public notice and an opportunity to comment. Small Ref., 705 F.2d at
  547. This includes providing the public with the evidence on which EPA intends to rely. Id. at
  540. Adding evidence on which EPA relies after the close of the comment period is “highly
  improper.” Id. at 540; see also Sierra Club, 657 F.2d at 400 (“If … documents of central
  importance upon which EPA intended to rely had been entered on the docket too late for any
  meaningful public comment prior to promulgation, then both the structure and spirit of section
  307 would have been violated.”). Even reconsideration cannot cure an inadequate opportunity
  for notice and comment. U. S. Steel v. EPA, 595 F.2d 207, 214 (5th Cir. 1979) (“Permitting the
  submission of views after the effective date is no substitute for the right of interested persons to
  make their views known to the agency in time to influence the rulemaking process in a
  meaningful way.”) (Internal quotations omitted).

          In the SIP Disapproval, EPA “made a number of updates to [it’s] inventories and model
  design to construct a 2016v3 emissions platform which was used to update [EPA’s] air quality
  modeling.” SIP Disapproval at 9339. The SIP Disapproval used “this updated modeling to inform
  [EPA’s] final action on [Minnesota’s] SIP submissions.” Id. The details of these emissions
  inventory and modeling design changes were first described to the public in the SIP Disapproval
  and associated documents made publicly available the same day.44 Even then, EPA did not make
  public its 2026 modeling results, reserving these for finalization of the FIP several weeks later.


  44
    Even then, the supporting data and modeling platform were not made electronically available and needed to be
  requested by the public, which added several more weeks to gain access.

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          This data and modeling were clearly of central importance to EPA’s disapproval of prong
  2 of Minnesota’s SIP. In fact, they are the sole basis for EPA’s disapproval. See SIP disapproval
  at 9357 (finding Minnesota’s analysis “ultimately inadequate” in light of EPA’s “more recent air
  quality analysis”); see also id. (disapproving prong 2 of Minnesota’s SIP because “[i]n the 2016v3
  modeling, Minnesota is projected to be linked above 1 percent of the NAAQS to one
  maintenance-only receptor”). As a result, EPA was required to provide the public advance notice
  of its new data and an opportunity for meaningful public comment.

          EPA’s publication of its revised emissions inventory and modeling the day of the SIP
  Disapproval did not satisfy this requirement. In Kennecott Corp. v. EPA, 684 F.2d 1007, 1019 (D.C.
  Cir. 1982), the D.C. Circuit found EPA had not provided adequate opportunity for public comment
  on economic modeling placed in the docket only one week before promulgation of its final
  regulations. Here, EPA did not make its new emissions data and modeling publicly available until
  the day it published its final SIP Disapproval.

          It is not enough to say that Petitioners had the opportunity to comment on EPA’s previous
  version of the emissions data and modeling, or that EPA’s latest data simply “incorporates
  comments generated during the public comment period.” SIP Disapproval at 9366. As the D.C.
  Circuit stated in Chesapeake, 952 F.3d at 320, it would be an “unreasonable burden on
  commenters not only to identify errors in a proposed rule but also to contemplate why every
  theoretical course of correction the agency might pursue would be inappropriate or incorrect.”
  The new data and modeling on which EPA relies for the SIP Disapproval differs significantly from
  that which was in the public record. Based on EPA’s own summary of the data, Minnesota’s
  largest contribution to a downwind maintenance receptor changed from 0.97 ppb to 0.85 ppb
  based on EPA’s changes. Compare Proposed Rule at 9868 with SIP Disapproval at 9354. Since
  EPA’s own adopted significant contribution threshold in the SIP Disapproval is 0.7 ppb, a change
  of 0.12 ppb is clearly significant.45

          Under both the CAA and the APA, EPA was required to provide notice and an opportunity
  for public comment on its 2016v3 data. There is no question that EPA provided no notice or
  opportunity for comment. As a result, there is a high likelihood that Petitioners would be likely
  to prevail on the merits of a judicial challenge. This strongly supports EPA issuing a stay of the
  effective date of the SIP Disapproval pending judicial review.

                           b.     EPA Undermined State Primacy by Disapproving Minnesota’s SIP
                           Despite its Adherence to the Requirements of the Clean Air Act.

         As EPA acknowledges, “[t]he CAA establishes a framework for state-Federal partnership
  to implement the NAAQS based on ‘cooperative federalism.’” SIP Disapproval at 9367. Under
  this model, “the Federal Government establishes broad standards or goals, states are given the

  45
    EPA’s 2016v3 modeling did not just result in significant changes to EPA’s assessment of Minnesota’s potential
  impact on downwind states. Six states (Arizona, Iowa, Kansas, New Mexico, Tennessee, and Wyoming) had their
  status as linked states change entirely. See Air Quality Modeling Technical Support Document 2015 Ozone NAAQS
  SIP Disapproval Final Action, https://www.regulations.gov/document/EPA-HQ-OAR-2021-0663-0017 at 24.

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  opportunity to determine how they wish to achieve those goals, and if states choose not to or
  fail to adequately implement programs to achieve those goals, a Federal agency is empowered
  to directly regulate to achieve the necessary ends.” Id. Thus, “states have the obligation and
  opportunity in the first instance to develop an implementation plan to achieve the NAAQS under
  CAA section 110” and “EPA will approve SIP submissions under CAA section 110 that fully satisfy
  the requirements of the CAA.” Id. As the Supreme Court has held: “[e]ach State is given wide
  discretion in formulating its plan, and the Act provides that the Administrator ‘shall approve’ the
  proposed plan if it has been adopted after public notice and hearing and if it meets [the CAA’s]
  criteria.” Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976) (quoting 42 U.S.C. § 7410(a)(2)).

         EPA departed from this framework when it proposed a SIP disapproval based, not on any
  inaccuracy in Minnesota’s evaluation of the data, but on EPA’s preference for a different
  modeling platform and emissions inventory. EPA does not have the authority to condition SIP
  approval on the state’s adoption of EPA’s preferred approach, or to supplant Minnesota’
  interpretation of how best to achieve the goals of the CAA, as long as Minnesota complies with
  the requirements of the CAA.

          EPA’s position is predicated on an incorrect summary of its role in the SIP review process
  and the relevant case law. First, EPA’s role is not “secondary” only in that “it occurs second in
  time.” RTC at 425 (internal quotations omitted). EPA relies on EPA v. EME Homer City
  Generation, LP, 572 U.S. 489 (2014) for this proposition, but the case does not support EPA’s
  position. It must be remembered that EME Homer involved EPA’s authority to promulgate a FIP
  after EPA had already disapproved SIPs.46 As a result, the Court did not address EPA’s statutory
  duty to approve a timely and complete SIP submission, which is the issue here. The Court’s
  “interpretations of CAA section 110(a)(2)(D)(i)(I)” on which EPA relies must be read in this light.
  RTC at 426. The Court upheld interpretive choices EPA made when issuing a FIP. The Court did
  not say EPA could delay approval until new information became available that supported its
  disapproval of the SIP.

          Second, EPA is wrong to imply that EME Homer undermines the long line of cases setting
  out EPA’s secondary (in substance, not just in time) role in developing plans to implement the
  NAAQS. In fact, the Supreme Court continues to cite these cases for their interpretation of EPA’s
  role. See West Virginia v. EPA, 213 L. Ed. 2d 896, 142 S. Ct. 2587, 2600 (2022) (“EPA … does not
  choose which sources must reduce their pollution and by how much to meet the ambient
  pollution target. Instead, Section 110 of the Act leaves that task in the first instance to the States,
  requiring each ‘to submit to [EPA] a plan designed to implement and maintain such standards



  46
    See EME Homer, 572 U.S. at 507 (“The gravamen of the State respondents’ challenge is not that EPA's
  disapproval of any particular SIP was erroneous. Rather, respondents urge that, notwithstanding these
  disapprovals, the Agency was obliged to grant an upwind State a second opportunity to promulgate adequate SIPs
  once EPA set the State's emission budget. This claim does not depend on the validity of the prior SIP
  disapprovals. Even assuming the legitimacy of those disapprovals, the question remains whether EPA was
  required to do more than disapprove a SIP, as the State respondents urge, to trigger the Agency's statutory
  authority to issue a FIP.”) (emphasis added).

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  within its boundaries.’”) (quoting Train v. Natural Resources Defense Council, Inc., 421 U.S. 60, 65
  (1975)).

          The SIP Disapproval and RTC makes clear that EPA’s disapproval of prong 2 of Minnesota’s
  SIP was not based on a determination that Minnesota’s SIP failed to meet the statutory
  requirements of CAA, but because EPA wanted to apply “a consistent set of policy judgments
  across all states for purposes of evaluating interstate transport obligations and the approvability
  of interstate transport SIP submissions for the 2015 ozone NAAQS under CAA section
  110(a)(2)(D)(i)(I).” SIP Disapproval at 9339; see also id. at 9340 (“Effective policy solutions to the
  problem of interstate ozone transport going back to the NOx SIP Call have necessitated the
  application of a uniform framework of policy judgments to ensure an ‘efficient and equitable’
  approach.”) (quoting EME Homer, 572 U.S. at 519); RTC at 425-426. This was error. EPA’s
  assessment of a SIP is to be based on whether the SIP compiles with the requirements of the CAA,
  not on EPA’s policy preferences or desire for efficiency. Only after a state fails to comply with its
  statutory requirements can EPA impose what it believes best to achieve the substantive objective
  of the Act.

          Because EPA’s SIP Disapproval is based on improper factors that undermine the core
  cooperative federalism embodied in CAA § 110, Petitioners are likely to prevail on the merits of
  a judicial challenge. This further supports EPA issuing a stay of the effective date of the SIP
  Disapproval pending judicial review.

                 2.      Petitioners Will Suffer Irreparable Harm from a Denial of Stay.

          Relevant factors for evaluating the harm which will occur include: (1) the substantiality of
  the injury alleged; (2) the likelihood of its occurrence; and (3) the adequacy of the proof provided.
  In evaluating the harm which will occur both if the stay is issued and if it is not, the court must
  look to three factors: the substantiality of the injury alleged, the likelihood of its occurrence,
  and the adequacy of the proof provided. Ohio ex re. Celebrezze, 812 F.2d at 290 (citing Cuomo
  v. United States Nuclear Regulatory Commission, 772 F.2d 972, 974 (D.C.Cir.1985)).

           The SIP Disapproval poses substantial and imminent injuries to Petitioners. As discussed
  in Section II above, the data which EPA should have used to evaluate Minnesota’s SIP (see Section
  II.C), the best available data today, when flaws are addressed (see Sections II.A and B), and even
  the most likely future data (see Section II.D) strongly support a finding that Minnesota is not
  significantly contributing to nonattainment or interfering with maintenance of the 2015 ozone
  NAAQS in any state. EPA’s SIP denial is predicated on the erroneous conclusion that there is
  interference with maintenance. This places the entire State of Minnesota in an erroneous state
  of non-compliance with the Good Neighbor requirement of the Clean Air Act.

          EPA’s SIP Disapproval also forces EPA to promulgate emission reductions through a FIP.
  42 U.S.C. § 7410(c). EPA has already finalized just such a rulemaking. This leaves no time for
  reconsideration or judicial review to run its course before Petitioners are injured by the FIP, let
  alone time for Minnesota to remedy EPA’s issues with the submitted SIP. Petitioners submitted
  detailed comments on the FIP identifying numerous substantial injuries from EPA’s promulgation

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  of its Proposed FIP that are likely to occur, and supported by substantial evidence, including
  detailed technical reports.47 While EPA made substantial modification to the FIP in response to
  comments, which Petitioners appreciate reflects considerable work on the Agency’s part
  following the public comment period and has addressed many significant issues with the
  proposed FIP, the final FIP nonetheless includes significant obligations for Petitioners’ electric
  generating units (“EGUs”), starting in the current 2023 ozone trading season (which begins this
  year). Even Petitioners without EGUs are substantial consumers of electricity, meaning that they
  will likely bear much of the burden of the higher costs needlessly imposed on Minnesota power
  producers because of the FIP. Further, while the Proposed FIP is a separate rulemaking, EPA has
  itself identified the SIP Disapproval as both a necessary step in issuance of a final FIP48 and the
  stay of a SIP disapproval that is the basis for a FIP is an appropriate remedy for injuries arising
  from the FIP itself. See EME Homer City Generation, L.P. v. EPA, 696 F.3d 7, 44 n.6 (D.C. Cir. 2012)
  (Rogers, J., dissenting), rev’d on other grounds, 572 U.S. 489 (2014) (“If [states] wish to avoid
  enforcement of the Transport Rule FIPs because they contend EPA's SIP disapprovals were in
  error, the proper course is to seek a stay of EPA's disapprovals in their pending cases; if granted,
  a stay would eliminate the basis upon which EPA may impose FIPs on those States.”) (citing 42
  U.S.C. § 7410(c)(1)(B)).

                   3.      Staying the SIP Disapproval will not Significantly Injure Other Parties.

          As discussed in Section III.A above, the SIP Disapproval does not on its own impose any
  emission reductions on sources. As a result, a stay will not directly harm any other party. While
  a stay would also potentially delay the effective date of the FIP, this is unlikely to result in
  significant injury to other parties. EPA has recently extended a judicially-enforceable deadline to
  review Good Neighbor SIPs for three states to December 15, 2023 without any mention of public
  harm from the delay.49 Even as a stepping stone to a FIP, while a stay will alleviate imminent and
  irreparable costs, it will not significantly impact NOx emissions. As discussed above, the FIP is
  unlikely to be effective until after the start of the current ozone trading season, resulting in an
  attenuated impact on 2023 emissions. Further, even if projected emission reductions for the full
  2023 ozone trading season could be achieved, EPA projects total emission reductions from
  Minnesota of only 139 tons in 2023. This is unlikely to result in any significant impact on the Cook
  County maintenance monitor.

                   4.      The Public Interest Lies in Granting a Stay.

         As courts have held, there is a public interest enjoining inequitable conduct and in
  minimizing unnecessary costs to be met from public coffers. See, e.g. B & D Land & Livestock Co.
  v. Conner, 534 F. Supp. 2d 891, 910 (N.D. Iowa 2008). Here, the public interest supports a stay.

  47
     See Comments of U. S. Steel, EPA-HQ-OAR-2021-0668-0798 (June 27, 2022); Comments of Xcel Energy, EPA-HQ-
  OAR-2021-0668-0411 (June 23, 2022); Comments of Minnesota Power, EPA-HQ-OAR-2021-0668-0539 (June 23,
  2022); Comments of SMMPA, EPA-HQ-OAR-2021-0668-0351 (June 22, 2022); Comments of Cleveland-Cliffs Inc.,
  EPA-HQ-OAR-2021-0668-0405 (June 23, 2022)
  48
     88 Fed. Reg. 9336 at 9362.
  49
     See Joint Notice of Second Stipulated Extension of Consent Decree Deadlines, Doc. 33, Downwinders at Risk v.
  Regan, Case No. 4:21-cv-3551-DMR (N.D. Cal. Jan. 30, 2023).

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  As discussed in Section II.A above, EPA’s SIP Disapproval was promulgated through the
  inequitable exclusion of public participation into the data central to EPA’s final rulemaking. The
  result will be costly public expenditures, both by EPA to promulgate an unnecessary FIP and
  States to either prepare to implement EPA’s FIP or prepare revised SIPs, and well as unnecessary
  costs borne by Petitioners.

         While it was an error for EPA to disapprove Minnesota’s SIP based on information not in
  the record at the time of submission, EPA can ameliorate the harm of this error by staying the
  effect of its SIP disapproval until the merits of the issues above can be fully evaluated and
  addressed.

  IV.    Conclusion

           The State of Minnesota has expended substantial effort and resources to regulate the
  emission of NOx within its borders. Those efforts have successfully reduced State impacts on
  downwind receptors to a point that Minnesota is not a significant contributor to nonattainment
  or interference with maintenance of the 2015 ozone standard in any state. Based on the best
  available data and modeling science available at the time, Minnesota assessed its impact on
  downwind states, as it was required to do under the Clean Air Act, and appropriately concluded
  that it was not interfering with maintenance of attainment in any state. EPA has identified no
  error or omission in Minnesota’s analysis. Nonetheless, based on data that was not available at
  the time, and in fact was not available to the public until February 2023, EPA partially disapproved
  Minnesota’s Good Neighbor plan for the sole reason that, based on EPA’s own modeling, it found
  a single maintenance receptor in Cook County, Illinois that Minnesota state emissions were
  impacting at a maximum level of 0.85 ppb. Neither Minnesota, nor Petitioners, were given an
  opportunity to comment on EPA’s modeling, fully evaluate it, or even see it, until EPA published
  its final SIP Disapproval. While a complete analysis of EPA’s modeling would require months,
  based on Petitioners’ review of the data specific to them, and based on expert evaluations by
  Alpine Geophysics of the modeling and data EPA has provided, EPA’s results likely overstate the
  impact Minnesota is having on the Cook County monitor. Because Petitioners have provided new
  information that reveals flaws in EPA’s emissions inventory for Minnesota and bias in EPA’s
  modeling of the lone monitor that links Minnesota emissions to a downwind state, Petitioners
  have raised material new data undermining the central basis for EPA’s disapproval of prong 2 of
  Minnesota’s SIP. Petitioners therefore request that EPA grant reconsideration of its partial SIP
  disapproval for Minnesota and approve Minnesota’s 2018 SIP. Further, to avoid the significant
  and irreparable harm to Petitions arising from EPA’s erroneous disapproval of prong 2 of
  Minnesota’s SIP, EPA should stay the effectiveness of its SIP Disapproval as applied to prong 2 of
  Minnesota’s SIP pending reconsideration and pending judicial review.

  Dated: April 14, 2023                              Respectfully submitted,
                                                     /s/Douglas A. McWilliams
                                                     Douglas A. McWilliams
                                                     John D. Lazzaretti
                                                     Jon Bloomberg


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                                         States Steel Corporation




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                           Attachment A
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           TECHNICAL REVIEW OF THE
          ENVIRONMENTAL PROTECTION
              AGENCY’S DENIAL OF
           MINNESOTA’S 2015 OZONE
                TRANSPORT SIP


                                       Prepared by:
                                  Alpine Geophysics, LLC
                                        April 2023


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  DOCUMENT OBJECTIVE

  The objective of this document is for Alpine Geophysics, LLC to provide technical review and
  professional opinion of Minnesota Pollution Control Agency’s (MPCA) SIP revision to address
  Clean Air Act (CAA) Section 110(a)(2)(D)(i)(I) and the Environmental Protection Agency’s (EPA)
  final action to disapprove the Minnesota State Implementation Plan (SIP) published on February
  13, 2023 in the Federal Register.

  This document is formatted into three sections that discuss our review and assessment of the
  following issues:

     A. Whether, given time to reassess, MPCA could demonstrate no linkage and/or no
        significant impact on attainment and maintenance in downwind states;
     B. Whether U.S. EPA’s revisions to its modeling approach since MPCA’s SIP submittal were
        ancillary; and
     C. Whether the Minnesota Pollution Control Agency’s state implementation plan revision
        was approvable based on the state of the science at the time it was submitted to U.S.
        EPA.

  At the end of this document, we also provide a summary of conclusions (Section D) and a
  regulatory and legislative timeline of actions taken on Minnesota’s 2015 ozone SIP for
  reference (Section E).




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  A. Given time to reassess, MPCA could demonstrate no linkage
  and/or no significant impact on attainment and maintenance in
  downwind states.

  EPA provided little time for MPCA to review the significant amount of technical information and
  associated calculations that were used to justify their disapproval of the Minnesota SIP,
  especially since EPA used a distinct and largely unrelated modeling platform, emissions
  inventory, and air quality model to justify its action instead of assessing the platform submitted
  by MPCA in support of its SIP. Notwithstanding the fact that four years and four months passed
  since the original Minnesota SIP was submitted to EPA, had appropriate time been given to
  MPCA to review and address EPA’s final disapproval, MPCA could have addressed significant
  flaws in EPA’s modeling that EPA itself should have addressed prior to finalizing any SIP
  disapproval.

  It is our opinion that the U.S. EPA should have approved the MPCA’s SIP when it was submitted
  in 2018. However, since EPA has put forward new modeling, we have reviewed this modeling
  and found several issues with the emissions that EPA used in the new modeling that weigh
  against using it as a basis for disapproving the Minnesota SIP.

     1. EPA inappropriately revised the emission inventory and conducted new air quality
        modeling for SIP disapprovals without allowing a meaningful opportunity for
        stakeholder review and comment.


  EPA’s revisions to the emission inventory used in the modeling it previously has conducted for
  historic transport rules raises an administrative concern about public review and comment.

  EPA notes in the proposed SIP disapprovals that, after the modeling it conducted in support of
  earlier transport rules, e.g., CAIR, CSAPR, CSAPR Update, CSAPR Closeout, and Revised CSAPR
  Update, the agency revised the emission inventory used in the modeling to assess the efficacy
  of prior transport rules. EPA conducted new modeling using this revised inventory and 2016v2
  modeling platform. The agency describes the process as follows:

         Following the Revised CSAPR Update final rule, the EPA made further updates to the
         2016 emissions platform to include mobile emissions from the EPA’s Motor Vehicle
         Emission Simulator MOVES3 model and updated emissions projections for electric
         generating units (EGUs) that reflect the emissions reductions from the Revised CSAPR
         Update, recent information on plant closures, and other sector trends. The construct of



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          the updated emissions platform, 2016v2, is described in the emissions modeling
          technical support document (TSD) for this proposed rule.1

  In December 2021, and in response to EPA requests for inventory review and updates2,3,4,
  MPCA and other stakeholders submitted detailed comments on the 2016v2 emission inventory
  platform to correct errors that existed in that platform. EPA’s declared efforts to revise this
  emission inventory platform at this time raised the question about whether EPA intended to
  update the modeling that has been used as the basis for the SIP disapprovals and the proposed
  FIP – but only in support of the final rule. EPA’s own summary5 of the comment process
  includes the statement that “by spring of 2021 it was necessary to make updates to the
  inventories to perform credible / defensible modeling in CY2021”. In this summary, numerous
  and significant emission, control, and projection factor changes were requested and only with
  release of the final SIP denials were the changes shared by EPA for review.

  As part of these comments, MPCA submitted comments on the 2016v2 emissions modeling
  platform (EMP) relative to three areas of improvement within Minnesota:

      1. Non-electricity generation stationary (non-EGU) point source emissions controls
      2. Future year emissions projections for various point and non-point inventory sectors
      3. Stationary point EGU growth rate differences between the ERTAC vs IPM models

  Non-EGU point source emissions controls
  LADCO worked with member states to identify the highest-emitting sources and applicable
  control technology information for non-EGU stationary point sources in the region. They
  generated a spreadsheet with the highest-emitting non-EGU sources in 2016 for each LADCO
  state, including Minnesota, which also included state updates on emissions control information
  for listed sources.

  A provided spreadsheet identified control information and future emission rate changes for
  several Minnesota sources within the 2016v2 EMP. The control information identified accounts
  for the installation of low NOx burners at the taconite facilities in Minnesota as part of the
  Regional Haze Taconite FIP. Based on MPCA estimates, just under 11,000 tpy in NOx reductions
  were expected due to the controls required by the Taconite FIP. MPCA noted the importance of


  1
    See: IN, IL, MN, OH, and WI proposal at 87 Fed. Reg. 9838 at 9840
  2
    http://views.cira.colostate.edu/wiki/wiki/11208#September-21-2021
  3
    https://cleanairact.org/wp-content/uploads/2021/10/Wayland_Monitoring-Modeling-and-
  Emission-Inventory-Updates_9-30-21-1.pdf
  4
    https://www.epa.gov/air-emissions-modeling/2016v2-platform
  5

  https://gaftp.epa.gov/Air/emismod/2016/v2/reports/comments/Summary_of_2016v2_comments_by_sector_013
  12022.pdf

                                                                                                      3
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  having these significant reductions included in the EPA EMP for non-EGUs and requested that
  EPA do so.

  Below is a summary of approximate NOx emission changes for these sources.

        •   2,100 tpy at Minorca Mine
        •   2,300 tpy at Hibbing Taconite
        •   700 tpy at United Taconite
        •   3,600 tpy at US Steel Keetac
        •   2,100 tpy at US Steel Minntac

  Future year emissions projections for various point and non-point inventory sectors
  LADCO used US EPA-generated emissions projection reports and identified a list of SCCs that
  they believed had incorrect future year projection rates. The 2016v2 EMP projection rates were
  not found consistent either with real-world emissions trends or regional emissions projection
  information. It was requested that EPA replace the 2016v2 EMP projections for these sources
  with the updated rates provided by LADCO.

  A spreadsheet was provided that included the list of the SCCs with alternative projection
  information and LADCO comments on the sources of the alternative information.

  Stationary point EGU growth rate differences between the ERTAC vs IPM models
  LADCO recognized that EPA used the Integrated Planning Model (IPM) to estimate future year
  EGU emissions, and that the IPM projection methodology differed from the Eastern Research
  Technical Advisory Committee (ERTAC) EGU model that is endorsed by the MJOs and most of
  the states in the eastern half of the country. Minnesota noted support for the use of ERTAC
  EGU projections in the 2016v2 EMP and asked EPA to consider replacing IPM projections with
  ERTAC EGU projections for sources in the LADCO region in subsequent modeling platforms.

  While most states urged EPA to rely on modeling that accurately reflects current on-the-books
  regulatory requirements and up-to-date emission inventories, they also strenuously object to
  the possibility that EPA would conduct any such additional modeling to support a final rule.
  Furthermore, these states object to EPA not providing the opportunity for those data to be
  reviewed, analyzed, commented upon, and having those comments addressed by EPA in
  advance of any final decision on the subject SIP disapproval (or for that matter the related FIP).
  These concerns were also expressed in July 2021 by several MJOs (WESTAR, LADCO, SESARM,
  MARAMA, and CENSARA).6




  6
      https://www.regulations.gov/comment/EPA-HQ-OGC-2021-0692-0012

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  EPA’s Previously Unreleased 2016v3 Modeling Platform
  EPA’s newest emissions inventory and modeling platform are of central relevance to EPA’s final
  rule. The SIP Disapproval itself identifies EPA’s “updates to the 2016v2 inventories and model
  design to construct a 2016v3 emissions platform which was used to update the air quality
  modeling” and used “this updated modeling to inform its final action on these SIP
  submissions.7” These data and modeling in fact form the basis for EPA’s final disapproval of
  Minnesota’s SIP8 (finding Minnesota’s analysis “ultimately inadequate” in light of EPA’s “more
  recent air quality analysis”). This issue also arose only with the publication of the final SIP
  Disapproval. EPA’s publication of its revised emissions inventory and modeling did not occur
  until then, and states had no access to the data, the modeling, or even the results of EPA’s
  modeling until that time.

  In the limited time that states have had with the modeling data, significant errors have been
  identified. A robust public comment process for these data is necessary to correct all significant
  errors to ensure that EPA’s regulatory decisions are based on valid and accurate information.
  Within Minnesota alone, some of these errors include the following:

        •   EPA incorrectly included NOx emissions of 2,822 tons in 2023 for Northshore Mining Co.
            – Silver Bay in the future year air quality modeling and associated significant contribution
            calculations but not in the engineering analysis used to calculate state level EGU budgets.
            The subject boilers have been idled since October 2019 and are expected to have zero
            emissions in 2023;

        •   EPA predicts zero emissions at Minnesota Power’s Laskin Energy Center units that have
            been converted to natural gas and expect continued MISO dispatch to support the
            renewables transition and regional grid needs / constraints;

  These errors, and many like these presumed in other states in the modeling platform, may
  significantly impact the results of EPA’s analysis and could be the difference in nonattainment
  and maintenance determinations or whether Minnesota is having a downwind effect on the
  lone Illinois maintenance monitor that subjects Minnesota to the Good Neighbor provisions of
  the Clean Air Act.

  It is our opinion that the absence of inclusion of Minnesota’s and other stakeholder’s valid EMP
  revision submissions, as requested by EPA, and without a rerun of the air quality model in both
  the base and projection year simulations, EPA cannot appropriately identify monitors as
  nonattainment or maintenance, and in turn, cannot calculate upwind state significant
  contribution metrics from these same data. Non-EGU emission controls and their associated
  NOx emission reductions as documented and submitted by MPCA, could be enough to change

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      88 FR 9339
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      88 FR 9357

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  nonattainment designations and linked significance using an updated platform, and needs to be
  considered before making any final decision on denial of MPCA’s SIP.

     2. The Cook County, Illinois monitor to which Minnesota is linked, is located at the
        interface of land and water along Lake Michigan and is not properly characterized by
        EPA’s supporting modeling.


  EPA did not make a bias adjustment for the only receptor that EPA found “links” Minnesota to
  downwind interference with maintenance. Observed values at this location (the Alsip/Village
  Garage monitor) demonstrate significant model overprediction, justifying the need for
  adjustments to address bias. While EPA has recently investigated bias in southern Lake
  Michigan, this assessment selectively analyzed only one monitor, which was not representative
  of the bias observed at the Village Garage monitor. The failue to adequately address bias in
  EPA’s modeling resulted in an overprediction of ozone. Adjusting for this bias supports the
  conclusion that the Alsip monitor models in attainment of the 2015 ozone NAAQS and
  therefore Minnesota is not interfering with maintenance at this monitor. EPA’s ozone
  attainment modeling guidance states that:

         "[t]he most important factor to consider when establishing grid cell size is model
         response to emissions controls. Analysis of ambient data, sensitivity modeling, and past
         modeling results can be used to evaluate the expected response to emissions controls at
         various horizontal resolutions for both ozone and PM2.5 and regional haze. If model
         response is expected to be different (and presumably more accurate) at higher
         resolution, then higher resolution modeling should be considered. If model response is
         expected to be similar at both high and low(er) resolution, then high resolution modeling
         may not be necessary. The use of grid resolution finer than 12 km would generally be
         more appropriate for areas with a combination of complex meteorology, strong
         gradients in emissions sources, and/or land-water interfaces in or near the
         nonattainment area(s)"

  EPA’s modeling in support of the SIP disapprovals simulated a national domain using a 12km
  grid resolution domain wide. While this makes running a national, regional simulation easier
  from a technical perspective, it neglects the important issue of the complex meteorology
  and/or land-water interfaces in or near the nonattainment or maintenance monitors of
  interest. Indeed, EPA's choice of a 12km grid is an arbitrary choice in contravention of its own
  guidance when modeling Illinois monitors in Cook County because these monitors are at land-
  water interfaces.

  Photochemical modeling along coastlines is complex for two reasons. First, the temperature
  gradients along land/water interfaces can lead to localized on-shore/off-shore flows; and
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  secondly, the photochemical model formulation spreads the emissions in a grid cell throughout
  the full grid volume of the cell.

  Figure 1 presents a unique area along Lake Michigan that is challenged by these complex
  meteorologic issues at land-water interfaces. For the Cook County, Illinois monitor with which
  Minnesota is linked in this final rule, EPA’s published model performance evaluation (MPE)
  metrics for ozone have been reviewed by Alpine on a day-specific basis.




  Figure 1. Lake Michigan shoreline monitors located on land/water interface in Illinois.

  Studies indicate that air quality forecast models typically predict large summertime ozone
  abundances over water relative to land and that meteorology around Lake Michigan is distinctly
  unique; both shortcomings warrant individualized attention and a finer grid resolution to best
  explore actual conditions.9,10,11

  The 3x3 neighborhood of grid cells used in determining the design values of the relative
  response factor (RRF) at land-water interface monitors extends into the noted water bodies.
  Under current guidance, the top ten modeled days within this 3x3 matrix are used in
  determining this RRF for each monitor with any cell identified as 50 percent or more water,
  except for cells including monitors, which are omitted from the calculations.

  Table 1 below provides a list of top 10 days at monitor 170310001 (Alsip/Village Garage), the
  Cook County monitor in Illinois to which Minnesota is linked, and comparisons of daily modeled


  9
    https://www.ladco.org/wp-
  content/uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf
  10
     Abdi-Oskouei, M. , and Coauthors , 2020: Sensitivity of meteorological skill to selection of WRF-Chem physical
  parameterizations and impact on ozone prediction during the Lake Michigan Ozone Study (LMOS). J. Geophys. Res.
  Atmos., 125, e2019JD031971, https://doi.org/10.1029/2019JD031971.
  11
     McNider, R. T. , and Coauthors, 2018: Examination of the physical atmosphere in the Great Lakes Region and its
  potential impact on air quality—Overwater stability and satellite assimilation. J. Appl. Meteor. Climatol., 57, 2789–
  2816, https://doi.org/10.1175/JAMC-D-17-0355.1.

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  maximum daily average 8-hour ozone concentrations (highlighted in green) and observations
  on the same date in 2016 (highlighted in blue). These are the dates selected in EPA’s modeling
  to represent the highest modeled days used in estimating future year design values.

  As can be seen in Table 1 below, several days selected for RRF calculation have modeled ozone
  concentrations that fall outside of normally acceptable normalized bias (NBias) boundaries
  (±15%), here as the result of over (positive bias) predictions compared to observed
  concentrations on those days. In fact, at the monitor example below, seven of the ten selected
  days fall outside of the ±15% bias metric (highlighted in orange in the Table) with a maximum
  normalized bias of 93.60% (observation was 45.25 ppb and modeled concentration was 87.60
  ppb; a difference of over 42 ppb).

  When these dates are used, EPA’s calculation of future year DV is 68.2 ppb (average) and 71.9
  ppb (maximum) using the average RRF of 0.9349, identifying this as a maintenance monitor.

           Monitor 170310001 – Alsip/Village Garage (Cook Co, Illinois)

         Top 10 RRF - Base Dates (Modeled) –No Water - 3x3
                                     Ozone (ppb)
   Order Date               Obs       Base DV     Future DV               RRF        NBias (%)
     1   20160719          73.25        91.07        83.28               0.9144       24.33
     2   20160723          45.25        87.60        81.46               0.9298       93.60
     3   20160726          64.33        84.02        80.98               0.9637       30.61
     4   20160810          85.88        81.35        77.20               0.9490       -5.27
     5   20160803          74.38        81.04        75.31               0.9293        8.96
     6   20160725          61.88        80.86        76.84               0.9503       30.67
     7   20160722          54.50        79.83        76.28               0.9556       46.48
     8   20160718          60.75        79.69        76.94               0.9655       31.18
     9   20160804          63.75        76.21        66.23               0.8691       19.54
    10   20160603          73.63        75.74        69.82               0.9219        2.87
    Avg                                                                  0.935


                                                      Average Maximum
                          Modeled 2016 DV (ppb)         73.0        77.0
                          Average RRF                  0.935       0.935
                          Future 2023 DV (ppb)          68.2        71.9
  Table 1. List of top 10 days at the Alsip/Village Garage monitor (170310001) in Illinois used in
  RRF and resulting calculated design values (ppb).

  If instead a list of the top 10 days with Nbias values within normal acceptable normalized
  boundaries (±15%) are used, an alternate RRF value is generated, and future year average and


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  maximum design values used in the nonattainment / maintenance designation process are
  recalculated.

  Table 2 presents a list of top 10 days where the Nbias value is less than the acceptable ±15%
  normalized bias boundaries. As is seen in this table, all Nbias values fall within the parameters
  of the acceptable range and dates from the original top 10 list that were already within the
  boundaries have been maintained and are now the top 3 modeled days in the new list.

           Monitor 170310001 – Alsip/Village Garage (Cook Co, Illinois)

         Top 10 RRF - Base Dates (Modeled) –Bias Adjusted - No Water - 3x3
                                     Ozone (ppb)
   Order Date               Obs       Base DV       Future DV       RRF                 NBias (%)
     1   20160810          85.88        81.35         77.20       0.9490                 -5.27
     2   20160803          74.38        81.04         75.31       0.9293                  8.96
     3   20160603          73.63        75.74         69.82       0.9219                  2.87
     4   20160618          67.38        74.79         68.50       0.9158                 11.00
     5   20160619          76.25        72.60         62.88       0.8662                 -4.79
     6   20160727          68.75        73.92         68.92       0.9324                  7.51
     7   20160625          68.13        72.99         66.03       0.9046                  7.14
     8   20160624          74.88        70.49         66.47       0.9430                 -5.86
     9   20160802          62.50        71.65         66.87       0.9333                 14.64
    10   20160524          73.50        69.50         64.27       0.9248                 -5.44


                                                      Average Maximum
                         Modeled 2016 DV (ppb)          73.0         77.0
                         Average RRF                   0.922        0.922
                         Future 2023 DV (ppb)           67.3         70.9
  Table 2. Alternate bias adjusted list of top 10 days at the Alsip/Village Garage monitor
  (170310001) in Illinois used in RRF and resulting calculated design values (ppb).

  As a result of this bias adjusted calculation, the Alsip / Village Garage monitor located in Cook
  County, Illinois (170310001) has an average RRF of 0.922, resulting in an average 2023 DV of
  67.3 ppb and a maximum DV of 70.9 ppb, identifying this monitor as attainment of the 2015
  ozone NAAQS.

  Under Step 1 of the ozone transport framework established by EPA, this monitor would not be
  considered as part of the list of receptors in the significant contribution calculation and
  therefore any linkages from upwind state contributions would be irrelevant.



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  Since this is the only monitor in which Minnesota is linked as a significant contributor under
  EPA’s modeling, this linkage would be broken, and Minnesota should be removed from the list
  of contributing states to downwind receptors.

  In the Response to Comments document from the rule, EPA attempted to address the bias issue
  by preparing an analysis at select monitors in the modeling domain. Specifically, EPA notes 12
  that,

            “Even though the EPA disagrees with commenter’s assertion to “throw out” specific days
            at individual monitors for which model performance does not meet the criteria, out of an
            abundance of caution, the EPA performed a sensitivity analysis for selected receptors in
            which the projected 2023 DVs and contributions were recalculated after removing
            individual days that fell outside the Emery et al., criteria for normalized mean bias
            and/or normalized mean error. The EPA chose receptors in Coastal Connecticut, the Lake
            Michigan area, Dallas, and Denver for this analysis. The specific receptors included in this
            sensitivity analysis are Stratford, Connecticut, Chicago/Evanston, Illinois, Dallas/Denton,
            Texas, and Denver/Rocky Flats, Colorado.” (emphasis added)

  While we agree with EPA’s technical approach and calculations in their Chicago/Evanston
  example provided, EPA’s selection of the Evanston monitor is questionable as it is the only
  monitor out of ten in Cook County, Illinois (three which are identified as maintenance) where
  performance-based recalculation results in higher design values. This is also not the unique,
  individual monitor to which Minnesota is exclusively linked. Table 3 presents the ten Cook
  County, Illinois monitors in EPA’s modeling results13.

  As presented in Table 2, using bias-adjusted design values for the individual receptor with
  which Minnesota is linked (170310001), this monitor is calculated to be in attainment of the
  2015 ozone NAAQS in 2023. This decrease is also seen in the remaining Cook County monitors
  that EPA did not consider in its response to comments on the issue.




  12
    See pg. 196, https://www.epa.gov/system/files/documents/2023-
  03/Response%20To%20Comments%20Document%20Final%20Rule.pdf

  13
       https://www.epa.gov/system/files/documents/2023-03/Final%20GNP%20O3%20DVs_Contributions.xlsx

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                                                  Upwind State Contribution (ppb)

                2023       2023
                Avg        Max
  Site ID        DV         DV     IN       IA      MI      MN       MO      OH        TX      WI
  170310001     68.2       71.9   7.11     0.90    1.16     0.85     0.37    0.68     1.09    2.34
  170310032     67.3       69.8   8.22     0.79    1.15     0.60     0.62    1.39     1.40    2.21
  170310076     67.6       70.4   6.46     0.80    1.07     0.73     0.49    0.62     1.33    2.49
  170311003     64.1       64.7   5.70     0.72    1.03     0.37     0.84    1.22     1.67    2.13
  170311601     63.8       64.5   5.85     0.61    2.03     0.59     0.44    1.49     0.78    1.63
  170313103     58.4       59.6   4.95     0.38    1.44     0.44     0.46    1.08     0.49    2.32
  170314002     64.2       67.3   6.71     0.59    1.48     0.62     0.34    1.09     0.95    3.00
  170314007     66.8       68.7   5.33     0.41    1.53     0.49     0.53    1.19     1.03    2.81
  170314201     68.0       71.5   5.42     0.42    1.56     0.50     0.54    1.21     1.05    2.86
  170317002     68.5       71.3   6.55     0.69    1.00     0.38     1.39    1.04     1.95    2.24
  Table 3. Future year design values (ppb) and significant contribution calculations of upwind
  states to monitors in Cook County, Illinois.

  Table 4 demonstrates that the Evanston monitor (170317002) in which EPA used to illustrate a
  noted increase in design value calculations using a bias adjustment calculation was the only
  monitor out of the ten where the average and maximum design values increased. Had EPA
  selected any other monitor from Cook County to demonstrate the bias adjustment, their
  conclusion may have been different than presented in the Response to Comment document.

                                             EPA Final Rule        Recalculated w/ Bias Adj
                                         2023 Avg     2023 Max     2023 Avg      2023 Max      Bias Adj
  Site ID          State      County        DV            DV           DV           DV        DV Change
  170310001   Illinois      Cook           68.2          71.9         67.3         70.9        Decrease
  170310032   Illinois      Cook           67.3          69.8         66.8         69.3        Decrease
  170310076   Illinois      Cook           67.6          70.4         65.9         68.7        Decrease
  170311003   Illinois      Cook           64.1          64.7         63.3         64.0        Decrease
  170311601   Illinois      Cook           63.8          64.5         63.3         63.9        Decrease
  170313103   Illinois      Cook           58.4          59.6         58.4         59.6       No Change
  170314002   Illinois      Cook           64.2          67.3         63.2         66.3        Decrease
  170314007   Illinois      Cook           66.8          68.7         66.7         68.5        Decrease
  170314201   Illinois      Cook           68.0          71.5         67.3         70.7        Decrease
  170317002   Illinois      Cook           68.5          71.3         69.0         71.8        Increase
  Table 4. EPA final rule and bias-adjusted future year design values (ppb) of monitors in Cook
  County, Illinois.




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  Additionally, the LMOS 2017 study14 shows that for Lake Michigan coastal monitors the air
  quality model even at a 4 km resolution does not simulate the proper timing and structure of
  the land/lake breeze or the inland penetration of elevated ozone concentrations. A review of
  this LMOS study15 states “To reproduce the timing and magnitude of the ozone time series at
  coastal monitors, ozone production over the lake must be correctly simulated; furthermore,
  details of the lake breeze must be accurate—–timing, horizontal extent, and vertical structure.”
  Based on recommendations from the LMOS 2017 study research team, a horizontal resolution
  of at most 1.3 km is required to reasonably resolve the complex meteorology of the air/water
  interface for the great lakes and coastal ocean areas. The LMOS 2017 Study researchers believe
  that a 1.3 km grid spacing will assist in the resolution of the large ozone concentration gradients
  that often occur along the shoreline as well as the inland penetration of the lake breeze
  circulation.

  As the Alsip / Village Garage example shows, days where modeled ozone was predicted at
  concentrations differing up to ± 42 ppb are being used to estimate future year ozone
  concentrations and to make determinations of nonattainment, maintenance, and significant
  contribution from upwind sources.

  Furthermore, to adequately capture the inland penetration of the lake breeze, the LMOS report
  also cites the need for accurate Lake Michigan water temperatures and correct model physics
  options. EPA's use of the Pleim-Xiu Land Service Model (LSM) does not adequately capture the
  lake breeze inland penetration. A review of wind vector observations (from the Meteorological
  Assimilation Data Ingest System (MADIS) network) compared to modeled wind vectors on RRF
  and significantly contributing days at nonattainment monitors highlights the differences in wind
  direction and speed during many hours of these predicted high ozone episodes.

  On many days with relatively simple meteorology, EPA-developed wind fields using the
  Weather Research and Forecasting (WRF) Model agree with the MADIS observed winds.
  However, the modeled winds have strong disagreement with the observed meteorology on
  June 15, July 7, July 27 and August 4, 2016, the four days when the CAMx model predicted the
  highest ozone concentrations and are thus used in estimating RRFs and future year ozone
  design values. The following presents an example on August 4, 2016, a day within the top ten
  highest model estimated MDA8 ozone concentrations at the Alsip / Village Garage monitor.




  14
    https://www.ladco.org/wp-
  content/uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf

  15
    Stanier, C. O., & et al. (2021, November). Overview of the Lake Michigan Ozone Study 2017.
  BAMS, 19.

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  In Figure 2 below, the black wind vectors are the wind fields used in the CAMx model. For
  clarity only every third grid cell is presented. The red vectors are the hourly observed wind
  vectors from the MADIS archive. The hourly results from 1300 CDT through 1600 CDT are
  presented in these Figures. The observations clearly show a broad persistent land to lake flow
  along the western shoreline while the model shows a persistent lake to land flow in this same
  region during this same period. For this timeframe, when the model is estimating the highest
  ozone for the ozone season at this receptor, the model has the winds flowing from the lake to
  the shore while the observations are winds flowing from the shore to the lake.

  Figure 2 demonstrates that observed winds (red arrows) are seen moving from land to lake
  along the western shoreline of Lake Michigan, typically associated with clearing events and
  lower ozone levels in areas in and around Chicago. In contrast, the model (black arrows) shows
  a lake to land flow, typically associated with higher model predicted ozone concentrations due
  to the higher reactive photochemistry over water bodies.




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  Figure 2. Model estimated (black) and observed (red) winds in the Lake Michigan area at 1300
  CDT (top left), 1400 CDT (top right), 1500 CDT (bottom left), and 1600 CDT (bottom right) on
  August 4, 2016.
                                                                                           14
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  These large differences in observed and modeled wind directions are altering the concentration
  calculations as well as the source/receptor relationships (e.g., determining which sources are
  “upwind”) of the Illinois monitors. As a result, the model cannot accurately reproduce the
  chemical processes involved with ozone formation. The erroneous modeled meteorological
  conditions fundamentally change the ozone formation chemistry and modeled source
  contributions as the chemical transport model predicts more emissions coming from the
  Chicago urban area than likely the case consistent with the observed wind fields.

  When the model is having difficulty resolving fundamental flow patterns in this region with this
  grid size resolution, EPA needs to reconsider the merit of using the model with this
  configuration to determine nonattainment status in Step 1 as well as linked significant
  contributors at receptors in this region under Step 2. For these reasons, EPA must consider finer
  grid resolution modeling over the Lake Michigan domain to adequately capture ozone
  formation and significant contribution at receptors located on complex land-water interfaces
  because model evaluation shows that the model fails to adequately characterize ozone
  production at these monitors.

  Absent a wholesale revision of EPA’s modeling protocol, it is our opinion that EPA's use of
  modeling with poor performance at critical monitors amounts to an unreliable result when
  used to establish nonattainment or maintenance monitors under Step 1 or linkages under Step
  2 of the 4-step framework. Should more refined modeling be undertaken to review the ozone
  formation potential at monitors located in these land-water interfaces, results may show that
  these monitors demonstrate modeled attainment and/or remove significant contribution
  linkages from upwind states.

        3. EPA is obligated to address VOC emissions as a critical factor that is influencing ozone
           nonattainment/maintenance monitors in Illinois


  EPA’s modeling fails to account for VOC-limited conditions in the Lake Michigan region. Recent
  information supports the conclusion that VOC-limited conditions in the regional are much more
  significant that EPA has assumed. This results in EPA’s analysis overemphasizing upwind NOx
  contributions from Minnesota on ozone values at the Alsip/Village Garage monitor and an
  underemphasis on local VOC contributions, which can be more effectively used to control
  ozone.

  In addition to grid size resolution and complex meteorology issues, modeling performed by
  EPA16 and the LMOS 2017 study both showed a negative bias in predicted ozone concentrations
  in the Lake Michigan region. LMOS 2017 study researchers have experimented with increasing

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       EPA-HQ-OAR-2021-0668-0099

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  anthropogenic VOC emissions and decreasing anthropogenic NOx emissions. These emission
  changes improved air quality model performance reducing the negative bias. VOC speciation
  and spatio-temporal release patterns should also be reviewed. This evaluation by the LMOS
  2017 research scientists indicates there are significant errors in the quantity and speciation of
  the VOC/NOx emissions used in the EPA’s air quality modeling platform to characterize state
  contribution to ozone in Step 2 of EPA's analyses linking these states to critical nonattainment
  monitors.

  Several downwind nonattainment monitors in urban areas around Lake Michigan recently have
  been shown to be largely unresponsive to ozone reduction strategies consisting of regional
  interstate NOx control and that high ozone days in the region were predominantly VOC-limited
  in nature. This was demonstrated in multiple ozone episodes extensively evaluated in the Lake
  Michigan Air Directors Consortium (LADCO) Lake Michigan Ozone Study (LMOS) 2017 study17
  where ozone precursor measurements indicated relative increases in VOC concentrations with
  increases in ozone and where biogenic VOC increases outpaced those of anthropogenic VOC.

  In contrast to the peer reviewed research resulting from the 2017 LMOS data collection effort,
  EPA recently documented its support for additional NOx controls in stating that its “review of
  the portion of the ozone contribution attributable to anthropogenic NOX emissions versus VOC
  emissions from each linked upwind state leads the Agency to conclude that the vast majority of
  the downwind air quality areas addressed by the proposed rule under are primarily NOX-
  limited, rather than VOC-limited.”18 However, the current situation is that the modeling as
  conducted does not accurately characterize ozone levels on high ozone days, underpredicting
  by 10 + ppb, which is a huge error. Other studies indicate that, to better match actual
  conditions, the model needs less NOx and higher windspeeds at lower levels. The model is
  therefore demonstrating that less NOx means more ozone and higher ozone concentrations.
  That further means that, proportionally, the attribution of ozone to out of state NOx predicts a
  higher impact than is occurring.

  The modeled VOC and NOx emission tracers in EPA’s Anthropogenic Precursor Culpability
  Assessment (APCA) modeling can give a general indication of the VOC/NOx sensitivity, but EPA
  assigning definitive numerical values to that sensitivity provides inaccurate projections,
  especially using APCA that is known to have a bias toward attributing ozone to NOx emitting
  anthropogenic sources under VOC sensitive conditions. As documented in the CAMx v 7.10
  User’s Guide19, “when ozone formation is due to biogenic VOC and anthropogenic NOx under


  17
     https://www.ladco.org/wpcontent/
  uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_final.pdf
  18
     87 Fed. Reg. 20,076
  19
     https://camx-wp.azurewebsites.net/Files/CAMxUsersGuide_v7.10.pdf, page 177.

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  VOC-limited conditions (a situation where OSAT would attribute ozone production to biogenic
  VOC), APCA attributes ozone production to the anthropogenic NOx present. Using APCA instead
  of OSAT results in more ozone formation attributed to anthropogenic NOx sources and less
  ozone formation attributed to biogenic VOC sources.” Here, it is believed that as applied in this
  case (with biogenic emissions as an uncontrollable source group), EPA has overestimated the
  efficacy of NOx controls on these receptors as modeled results have a bias toward attributing
  more ozone formed to NOx emissions than VOC emissions.

  Furthermore, an independent review of EPA’s own NOx and VOC contributions challenges the
  Agency’s statement that “[o]ur analysis of the ozone contribution from upwind states subject to
  regulation under this proposed rule demonstrates that the vast majority of the downwind air
  quality areas are NOX-limited, rather than VOC-limited.”20 This statement is based on all
  anthropogenic NOx and VOC emissions from all upwind states and is defined as having NOx
  emissions contribute to 80% or more of the ozone concentrations modeled at each receptor 21.

  EPA further goes on to state that “[t]his review of the portion of the ozone contribution
  attributable to anthropogenic NOX emissions versus VOC emissions from each linked upwind
  state leads the Agency to conclude that the vast majority of the downwind air quality areas
  addressed by the proposed rule under are primarily NOX-limited, rather than VOC-limited.”22

  Alpine’s review of EPA’s modeled NOx and VOC contributions, by upwind state, focusing on the
  future year modeled days used in each receptor’s Step 2 linkage calculation provides a slightly
  different picture for monitors around Lake Michigan. As demonstrated in Table 5, of the top
  future year modeled days impacting significant contribution calculations at the Cook County,
  Illinois monitor with which Minnesota is linked, more than half of the days are shown to have
  NOx emission contributions from Illinois below the 80% threshold noted by EPA in determining
  NOx-limited regions. This is an indicator that on those days, and from anthropogenic sources
  from those states, VOC controls may demonstrate meaningful impact on ozone concentration
  reductions at this receptor.

  Researchers at the University of Maryland (UMD) have also found in a study of chemical
  transport model results that by 2023, model predictions of ozone formed under VOC-limited
  conditions are substantial near the Long Island Sound and the Great Lakes. In a recent
  presentation23, they document a source apportionment simulation, conducted with
  CAMx/APCA on future-year 2023 to determine the major contributing sources and states to air



  20
     87 Fed. Reg. 20053
  21
     87 Fed. Reg. 20076
  22
     Id.
  23
     https://www.cmascenter.org/conference/2021/slides/allen-northeast-ambient-ozone-2021.pdf

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  quality within non-attainment areas. Their findings indicate that ozone production under VOC-
  limited conditions is important at coastal locations near Long Island Sound and the Great Lakes.

                         2023 O3                   O3N / O3N+O3V Contribution
   Top Day      Date       (ppb)       All      IL      IN       MI     OH       TX      WI
      1       07/25/16 70.922 82.4% 81.2% 83.4% 100.0%                    -    72.7% 84.1%
      2       07/18/16 70.682 69.4% 64.3% 75.6%                   -       -    85.9% 67.1%
      3       07/19/16 70.668 79.9% 76.7% 83.7% 90.5%                     -    80.5% 89.2%
      4       08/10/16 67.487 79.4% 70.0% 82.4% 90.4% 86.4% 90.3% 90.6%
      5       07/26/16 66.803 80.8% 72.7% 84.0% 90.7%                     -       -     90.8%
      6       07/23/16 63.295 84.9% 81.2% 84.0% 66.7%                     -    89.7% 85.2%
      7       08/03/16 61.342 88.8% 84.0% 90.9% 90.4% 92.3% 94.2% 93.8%
      8       06/18/16 59.494 86.7% 72.8% 89.4% 90.1% 91.0% 90.9% 89.5%
      9       06/03/16 58.730 71.5% 63.2% 73.6% 58.8%                     -    74.5% 78.0%
      10      08/04/16 58.241 95.0% 92.5% 96.0% 94.7% 97.1% 96.4% 94.9%
  Table 5. Modeled ozone contributions to Cook, Illinois monitor (170310001) by percent of
  emissions from anthropogenic NOx (O3N) compared to emissions from anthropogenic NOx
  and VOC (O3). Yellow cells indicate contributions of anthropogenic VOC emissions greater
  than EPA identified “NOx-limited” areas.

  Figure 3 presents UMD’s findings for model predictions of ozone formation under NOx limited
  conditions excluding the influence of boundary and initial conditions from the modeling input.
  As can be seen in these figures, regions around Lake Michigan demonstrate a significantly
  higher percentage of ozone formed by VOC (blue in color) compared to NOx than most of the
  eastern US. This observation is seen both on modeled days greater than 60 ppb and on the top
  ten days of the ozone season (days used in RRF and significant contribution calculations).




  Figure 3. Percent of ozone formed under NOx-limited conditions excluding boundary and
  initial conditions on all days of MDA8 ozone > 60 ppb (left) and on top ten modeled days
  (right).

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  It is also noted that these estimates are a very conservatively high estimate of NOx limited
  conditions for these coastal areas. In addition to the previous comments highlighting that APCA
  is known to have a bias toward attributing ozone to NOx emitting anthropogenic sources under
  VOC sensitive conditions, the UMD analysis footnotes that the APCA run used to generate the
  results presented in Figure 3 suggests that model configuration led to an underestimation of
  the contribution of anthropogenic sources to ozone formation, especially during periods of VOC
  limited chemistry, and as is seen in Figure 3, in the Cook County, Illinois area.

  As a result of these findings, EPA is obligated to address the concern that VOC emissions are a
  factor that is influencing ozone nonattainment and maintenance monitors in Illinois and
  elsewhere and that EPA determination of ozone nonattainment or maintenance in these areas
  may be inappropriate for significant contribution and upwind state linkage calculation. It is also
  our opinion that after review of VOC contribution and limited ozone reduction potential in
  Chicago and other noted areas, EPA may find that emission reduction plans may fail to justify
  regional NOx rules for monitors within these transitional and VOC-limited domains.




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  B. U.S. EPA's revisions to its modeling approach since MPCA’s SIP
  submittal were ancillary.

  EPA failed to give appropriate recognition of the merit of the MPCA SIP submitted on October
  1, 2018, meeting the statutory deadline for submittal of interstate transport SIPs for the 2015
  ozone NAAQS. The submission utilized both EPA modeling released with the March 2018
  memorandum and LADCO modeling results previously mentioned. Minnesota followed the 4-
  step interstate transport framework and used an analytic year of 2023 to describe Minnesota's
  lack of contributions to out of state receptors and assess emission reduction considerations.

  Under the CAA, on April 1, 2019, MPCA’s SIP was deemed to be complete since EPA did not act
  within the 6 months from the date the SIP was submitted. April 1, 2020, 12 months after the
  completeness date, was the deadline for EPA to have acted on the MPCA SIP submission. Upon
  this deadline a full, partial or conditional approval was required by CAA Section 110(k)(2), (3), or
  (4).24 In this regard, EPA failed to complete its non-discretionary duty to have reviewed and
  acted upon the MN SIP by April 1, 2020.

  It wasn’t until February 22, 2022, three years and four months after submittal, that EPA finally
  assessed the Minnesota SIP submittal and proposed disapproval of the SIP25 as follows: “Based
  on EPA's evaluation of Minnesota's SIP submission and after consideration of updated EPA
  modeling using the 2016-based emissions modeling platform, EPA is proposing to find that the
  portion of Minnesota's October 1, 2018 SIP submission addressing CAA section 110(a)(2)(D)(i)(I)
  does not meet the state's interstate transport obligations for 2015 ozone NAAQS, because it
  fails to contain the necessary provisions to eliminate emissions that will contribute significantly
  to nonattainment or interfere with maintenance of the NAAQS in any other state.”

  The EPA reiterated this assessment and issued a partial approval on February 13, 2023, in their
  final rule stating that “Although the EPA acknowledges that Minnesota’s Step 3 analysis was
  insufficient in part because the State assumed it was not linked at Step 2, this is ultimately
  inadequate to support a conclusion that the State’s sources do not interfere with maintenance
  of the 2015 ozone NAAQS in other states in light of more recent air quality analysis.”26


  24
     Deadline for Action. – Pursuant to the CAA Section 110(k)(1)(B) “Within 12 months of a determination by the
  Administrator (or a determination deemed by operation of law) under paragraph (1) that a State has submitted a
  plan or plan revision (or, in the Administrator’s discretion, part thereof) that meets the minimum criteria
  established pursuant to paragraph (1), if applicable (or, if those criteria are not applicable, within 12 months of
  submission of the plan or revision), the Administrator shall act on the submission in accordance with paragraph
  (3).”
  25
     87 Fed. Reg. 9838
  26
     88 Fed. Reg. 9357

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         1. EPA’s Failure to Act


  MPCA has been disadvantaged by EPA’s delay in acting to approve or disapprove its 2015 Good
  Neighbor SIP, which was submitted to EPA on October 1, 2018. EPA published its proposed
  disapproval on February 22, 2022, and relied in part on newer, updated modeling performed by
  the EPA which was not available when MPCA submitted its revised SIP. On February 13, 2023,
  EPA published its final disapproval and again relied on even newer, updated modeling only
  released with the rule.

  By delaying its final decision on Minnesota’s submittal for nearly four and a half years, EPA
  moved the goal post for Minnesota—an act the DC Circuit rebuked in New York v. EPA, 964 F.3d
  1214, 1223 (D.C. Cir. 2020). If EPA were to review and approve or disapprove SIPs within the
  timeframes required by the CAA, EPA would have conducted its review based on the same
  modeling and data that was available at the time the SIP was submitted and that has been
  documented in the sections above. EPA offers no indication that additional material
  information was available to EPA on April 1, 2020, when agency action on the Minnesota SIP
  was required that could justify disapproval of the Minnesota SIP.

  Further, the updated modeling that EPA now offers to support a SIP review has not been
  adequately available to be reviewed, analyzed, and commented on in advance of any final
  decision on the subject SIP disapproval.

         2. EPA has not developed any official guidance for states to follow in submitting a Good
            Neighbor SIP


  The Good Neighbor SIP has been a required SIP element since the implementation of the 1997
  8- hour ozone standard. In the intervening years, EPA has issued no official guidance for states
  to use in developing an approvable Good Neighbor SIP. It is unclear what standard or criteria
  EPA uses to determine approvability.

  In its only direction on the subject, EPA released three 2018 memos that included modeling and
  discussion on potential flexibilities in approaches that could be used by states in developing
  their Good Neighbor SIPs. However, EPA has now disapproved MPCA’s SIP which was based on
  EPA’s own modeling results from the memo because it “does not meet the state’s interstate
  transport obligations for 2015 ozone NAAQS, because it fails to contain the necessary
  provisions to eliminate emissions that will contribute significantly to nonattainment or interfere
  with maintenance of the NAAQS in any other state.”27


  27
       87 FR 9869

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  From the memos, the only concrete guidance states have been provided is the four-step
  framework. Applied appropriately in the MPCA SIP, this framework demonstrated that
  Minnesota was not significantly linked to any downwind nonattainment or maintenance
  monitor. Since MPCA used EPA’s own modeling and four-step approach to prepare its SIP, the
  SIP was approvable at the time submitted and was approvable when EPA was required to act on
  the SIP on April 1, 2020.

         3. EPA’s ever-changing list of nonattainment and maintenance monitors moves the target
            for Minnesota without offering any basis to reject MPCA’s original analysis.


  As detailed earlier, MPCA’s air quality projections based on the ozone modeling conducted by
  LADCO in October 2018 was corroborated by EPA’s own contribution modeling released with
  the March 2018 flexibilities memorandum and that showed that Minnesota was not linked to
  any monitor designated as nonattainment or maintenance for the 2015 ozone NAAQS in 2023.
  In those two modeling studies, the Cook County, Illinois monitor now linked to Minnesota was
  calculated to be in attainment for the 2015 ozone NAAQS.

  Table 6 provides the average and maximum projected design values from the LADCO modeling
  that supported the original MPCA iSIP and March 2018 EPA memo modeling for this monitor
  demonstrating modeled attainment at this location.

                                               LADCO Modeling          EPA March 2018 Memo
                                             2023         2023      2023 Average       2023
       AQS Site ID  State        County   Average DV  Maximum DV         DV        Maximum DV
        170310001 Illinois       Cook        62.8         64.6          63.2           64.9
  Table 6. LADCO and EPA 2023 ozone design values (ppb) for Minnesota linked Cook County,
  Illinois monitor from original MPCA SIP and March 2018 EPA memo modeling results.

  EPA’s proposed disapproval mentions new modeling conducted by EPA in the interim where
  this Illinois monitor is ultimately identified as a maintenance monitor. Table 7 below provides
  the average and maximum projected design values from these studies and from the final SIP
  disapproval for this monitor.

  In the proposed SIP disapproval, EPA cites the “results of a prior round of 2023 modeling using
  the 2016v1 emissions platform which became available to the public in the fall of 2020 in the
  Revised CSAPR Update.” 28 In this Revised CSAPR Update modeling, developed for use with the
  2008 ozone NAAQS analyses, monitor 170310001 is identified as a maintenance monitor in




  28
       Footnote 94, 87 FR 9869

                                                                                                    22
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  EPA’s results. In EPA’s results published in the proposed SIP disapproval29 and in the final SIP
  disapproval30, EPA continued to identify this monitor as a maintenance monitor.

                       EPA Revised CSAPR             EPA Proposed SIP
                                                                              EPA Final SIP Disapproval
                            Update                     Disapproval
                     2023 Ave     2023 Max        2023 Ave     2023 Max        2023 Ave        2023 Max
       AQS Site ID      DV            DV             DV           DV              DV              DV
        170310001      68.4          72.2           69.6         73.4            68.2            71.9
  Table 7. EPA 2023 ozone design values (ppb) for Cook County, Illinois monitor from EPA cited
  modeling results in proposed and final Minnesota SIP disapproval.

  In our opinion, EPA should always rely on the best available modeling at the time that an
  analysis is conducted and results, whether in a SIP or other, are developed and submitted. In
  this case, EPA has failed to follow this process and instead continued to move the target and
  objectives for states that, in Minnesota’s case, for over four years and four months had been
  waiting for a review of their “best available data and analysis”.

        4. Alternative 1 ppb significance threshold


  Neither the LADCO modeling nor EPA modeling released with the March 2018 memorandum
  indicated that Minnesota would contribute over 1% of the NAAQS to any nonattainment or
  maintenance monitor in 2023. As a result, Minnesota did not think it necessary to consider
  using a 1 ppb threshold for significant contribution to downwind receptors, which EPA guidance
  offered as an option to States.

  In the SIP disapproval, EPA further elaborates that following their receipt and review of forty-
  nine good neighbor SIPs for the 2015 ozone NAAQS, their experience was that no state relying
  on a 1 ppb threshold provided sufficient information and technical support to justify that an
  alternative threshold was reasonable31. EPA does not indicate how many of the reviewed SIPs
  used a 1 ppb threshold nor do they indicate on how many state SIPs they provided feedback, if
  any. They go on to state that this alternate 1 ppb threshold may also be politically inconsistent
  and impractical under the CAA32.

  As EPA not only failed to provide any feedback to Minnesota on its original October 1, 2018 SIP
  submittal until the February 22, 2022 proposed SIP disapproval, EPA has also failed to honor its
  March 2018 guidance33 which was identified to specifically “provide analytical information


  29
     Table 5, 87 FR 9868
  30
     Table III.B-2, 88 FR 9351
  31
     87 FR 9843
  32
     Footnote 33, 87 FR 9843
  33
     https://www.epa.gov/sites/default/files/2018-03/documents/transport_memo_03_27_18_1.pdf

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  regarding the degree to which certain air quality threshold amounts capture the collective
  amount of upwind contribution from upwind states to downwind receptors or the 2015 ozone
  NAAQS. It also interprets that information to make recommendation about what thresholds
  may be appropriate for use in state implementation plan (SIP) revisions addressing the good
  neighbor provision for that NAAQS.”

  Minnesota has been denied the opportunity to correct the model inputs that EPA uses as the
  basis for SIP Disapproval at the 1% threshold and denied the opportunity to update its SIP to
  take advantage of the 1 ppb threshold that EPA offers States an opportunity to justify in its
  guidance. While EPA continues to regenerate results based on updated emission modeling
  platforms and other associated information, states have been omitted from the process,
  denying them the chance to review updated information and to provide revisions to their SIPs
  to address those updates.

  It is important to note that under all of EPA’s cited modeling results, Minnesota contributes
  under the 1 ppb permitted to be considered from EPA’s March 2018 guidance. Table 8 below
  shows that under none of EPA’s four modeling platforms does Minnesota contribute over the 1
  ppb threshold to the Cook County monitor.

                                                 Minnesota Contribution (ppb) in 2023
    AQS Site                     EPA March       EPA Revised    EPA Proposed SIP      EPA Final SIP
       ID     State County       2018 Memo      CSAPR Update       Disapproval        Disapproval
   170310001 Illinois Cook          0.76            0.79               0.97               0.85
  Table 8. Minnesota contribution to Cook County, Illinois 2023 ozone design values from
  documented modeling platforms.

  EPA’s 2018 flexibility memos, including the opportunity for states to make recommendations to
  support alternate thresholds for significant contribution, remains an important tool for
  addressing unique State circumstances in developing their good neighbor SIPs. Disapproving
  the Minnesota SIP without affording the State an opportunity to utilize this flexibility is
  unreasonable and should be reconsidered.




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  C. The Minnesota Pollution Control Agency’s state implementation
  plan revision was approvable based on the state of the science at the
  time it was submitted to U.S. EPA.
       1. Introduction


  On October 1, 2018, the Minnesota Pollution Control Agency, after review and comment by EPA
  Region 5 staff, submitted to the U.S. Environmental Protection Agency a request for revision of
  Minnesota’s State Implementation Plan34.

  The proposed SIP revision addressed Minnesota’s responsibilities relating to the
  “Infrastructure” SIP (iSIP) requirements of sections 110(a)(l) and 110(a)(2) of the Clean Air Act
  (CAA), as they pertain to the National Ambient Air Quality Standard (NAAQS) for ozone,
  promulgated in 2015. The CAA requires states to submit an iSIP within three years of the EPA’s
  issuance of a new NAAQS to demonstrate their continued ability to implement, maintain, and
  enforce the federal standards. The iSIP outlined the statutes, rules, and programs that enable
  Minnesota to ensure attainment of the 2015 ozone NAAQS. These statutes, rules, and programs
  had previously been reviewed and approved into Minnesota’s iSIP, and the materials included
  with the iSIP demonstrate that the MPCA did not have further obligations under the iSIP
  requirements.

  The MPCA submission utilized both EPA modeling released with a March 2018 flexibilities
  memorandum35 and Lake Michigan Air Directors Consortium (LADCO) modeling results36.
  Minnesota followed the 4-step interstate transport framework and used an analytic year of
  2023 to describe Minnesota’s lack of contributions to out of state receptors and assess
  emission reduction considerations.

  In this document we discuss both the technical and legal validity of MPCA’s SIP and EPA’s
  obligation to approve the SIP.

  EPA's and LADCO's model projections, along with continuing decreases in the emissions and
  monitored levels of ozone precursors in Minnesota (nitrogen dioxide and volatile organic
  compounds), demonstrated that no additional controls or emissions limits were necessary to



  34
     EPA-R05-OAR-2018-0689-0003
  35
     https://www.epa.gov/interstate-air-pollution-transport/memo-and-supplemental-information-regarding-
  interstate-transport
  36
     https://www.ladco.org/wp-
  content/uploads/Documents/Reports/TSDs/O3/LADCO_2015O3iSIP_TSD_13Aug2018.pdf

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  fulfill Minnesota's responsibilities under the good neighbor provisions for the 2015 ozone
  NAAQS.

  On February 13, 2023, almost four and a half years after the original SIP submittal, EPA finalized
  a rule in connection with the Air Plan Disapprovals; Interstate Transport Requirements for the
  2015 8-Hour Ozone National Ambient Air Quality Standards37.

  EPA notes in this final rule, that these disapprovals would not start a mandatory sanctions clock
  but rather would establish a 2-year deadline for EPA to promulgate a Federal Implementation
  Plan (FIP), unless EPA were to approve a subsequent SIP submittal that meets CAA
  requirements. EPA originally proposed a FIP to be finalized December 15, 2022, in complete
  disregard for the 2-year period allowed by the CAA for responding to any such SIP
  disapprovals38. This FIP39 was signed by the Administrator on March 15, 2023, and is still
  awaiting publication in the Federal Register.

  In 2018 EPA issued flexibility guidance for states to follow in development of 2015 ozone
  standard NAAQS God Neighbor SIPs (GNS). We specifically question how EPA’s late disapproval
  contradicts this guidance.

       2. MPCA’s Modeling Approach


  The modeling performed to support the SIP was performed by LADCO and except for the 2023
  projected EGU emissions, was identical to the “EN” platform developed by EPA and followed
  EPA guidance40 in preparation of technical material for SIP and SIP-related modeling. The EN
  platform was used by EPA in its March 2018 flexibility memorandum so that “[s]tates can use
  these data to develop their implementation plans to assure that emissions within their
  jurisdictions do not contribute significantly to nonattainment or interfere with maintenance of
  the 2015 ozone standards in other states.”

  In our opinion, this platform was technically credible, and a SIP developed from these data
  should have been approvable by EPA at the time of submission in October 2018. The following
  sections present our opinions on specific technical aspects of MPCA modeling.




  37
     Id.
  38
     87 Fed. Reg 20036
  39
     https://www.epa.gov/system/files/documents/2023-03/FRL%208670-02-
  OAR_Good%20Neighbor_Final_20230314_Signature_ADMIN%20%281%29.pdf
  40
     https://www.epa.gov/sites/production/files/2020-10/documents/o3-pm-rh-modeling_guidance-2018.pdf

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  Base Year
  The base year for the MPCA modeling was 2011. 2011 was selected because of data availability
  and because EPA41 had noted that 2011 meteorology in the Eastern U.S., including the upper
  Midwest, was warmer and drier that the climatic norm and represented typical conditions
  conducive to high observed ozone concentrations in the Midwest and Northeast U.S. It is
  Alpine’s opinion that 2011 was an appropriate modeling year.

  Model and Data Selection
  This section introduces the models and data sources used in the MPCA. The selection
  methodology followed EPA’s guidance for ozone regulatory modeling42,43,44. EPA’s 2018
  modeling guidance45 lists several criteria for model selection that are paraphrased as follows
  (pp. 24-27):

      •    It should not be proprietary;
      •    It should have received a scientific peer review;
      •    It should be demonstrated to be applicable to the problem on a theoretical basis;
      •    It should be used with data bases which are available and adequate to support its
           application;
      •    It should be shown to have performed well in past modeling applications;
      •    It should be applied consistently with an established protocol on methods and
           procedures;
      •    It should have a user’s guide and technical description;
      •    The availability of advanced features (e.g., probing tools or science algorithms) is
           desirable; and

  41 Air Quality Modeling Technical Support Document for the 2008 Ozone NAAQS Cross-State Air Pollution Rule Proposal.

  Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2015-
  11/documents/air_quality_modeling_tsd_proposed_rule.pdf

  42 Guidance on the Use of Models and Other Analyses for Demonstrating Attainment of Air Quality Goals for Ozone, PM2.5 and

  Regional Haze. U.S. Environmental Protection Agency, Research Triangle Park, NC. EPA-454/B-07-002. April, 2007.
  (http://www.epa.gov/ttn/scram/guidance/guide/final-03-pm-rh-guidance.pdf).

  43 Draft Modeling Guidance for Demonstrating Attainment of Air Quality Goals for Ozone, PM2.5 and Regional Haze. U.S.

  Environmental Protection Agency, Office of Air Quality Planning and Standards, RTP, NC. December 3, 2014.
  (http://www.epa.gov/ttn/scram/guidance/guide/Draft_O3-PM-RH_Modeling_Guidance-2014.pdf).

  44 Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental Protection

  Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park, NC. EPA 454/R-18-009.
  November 29, 2018. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-Modeling_Guidance-2018.pdf).

  45 Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental Protection

  Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park, NC. EPA 454/R-18-009.
  November 29, 2018. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-Modeling_Guidance-2018.pdf).


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       •   When other criteria are satisfied, resource considerations may be important and are a
           legitimate concern.

  It is Alpine’s opinion that the models chosen for the MPCA modeling met these criteria and
  were appropriate for use in the SIP.

  Meteorological Modeling
  The Weather Research and Forecasting (WRF) Model is a mesoscale numerical weather
  prediction system designed to serve both operational forecasting and atmospheric research
  needs46,47,48. The Advanced Research WRF (ARW) version of WRF was used in the MPCA
  modeling study. It features multiple dynamical cores, a 3-dimensional variational (3DVAR) data
  assimilation system, and a software architecture allowing for computational parallelism and
  system extensibility. WRF is suitable for a broad spectrum of applications across scales ranging
  from meters to thousands of kilometers. The effort to develop WRF has been a collaborative
  partnership, principally among the National Center for Atmospheric Research (NCAR), the
  National Oceanic and Atmospheric Administration (NOAA), the National Centers for
  Environmental Prediction (NCEP) and the Forecast Systems Laboratory (FSL), the Air Force
  Weather Agency (AFWA), the Naval Research Laboratory, the University of Oklahoma, and the
  Federal Aviation Administration (FAA). WRF allows researchers the ability to conduct
  simulations reflecting either real data or idealized configurations. WRF provides operational
  forecasting a model that is flexible and efficient computationally, while offering the advances in
  physics, numerics, and data assimilation contributed by the research community.

  WRF is publicly available, has full documentation and has demonstrated success in simulating
  meteorological conditions in the Upper Midwest.




  46
    Skamarock, W. C. 2004. Evaluating Mesoscale NWP Models Using Kinetic Energy Spectra. Mon. Wea. Rev.,
  Volume 132, pp. 3019-3032. December, 2004.
  (http://www.mmm.ucar.edu/individual/skamarock/spectra_mwr_2004.pdf).

  47
    Skamarock, W. C. 2006. Positive-Definite and Monotonic Limiters for Unrestricted-Time-Step Transport
  Schemes. Mon. Wea. Rev., Volume 134, pp. 2241-2242. June.
  (http://www.mmm.ucar.edu/individual/skamarock/advect3d_mwr.pdf).

  48
    Skamarock, W. C., J. B. Klemp, J. Dudhia, D. O. Gill, D. M. Barker, W. Wang and J. G. Powers. 2005. A Description
  of the Advanced Research WRF Version 2. National Center for Atmospheric Research (NCAR), Boulder, CO. June.
  (http://www.mmm.ucar.edu/wrf/users/docs/arw_v2.pdf)


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  MPCA used the U.S. EPA 2011 WRF data for this study49. The U.S. EPA used version 3.4 of the
  WRF model, initialized with the 12-km North American Model (NAM) from the National Climatic
  Data Center (NCDC) to simulate 2011 meteorology. Complete details of the WRF simulation,
  including the input data, physics options, and four-dimensional data assimilation (FDDA)
  configuration are detailed in the U.S. EPA 2008 Transport Modeling technical support
  document50. U.S. EPA prepared the WRF data for input to CAMx with version 4.3 of the
  WRFCAMx software.

  It is Alpine’s opinion that the U.S. EPA WRF 3.4 meteorological modeling was appropriate for
  use in the MPCA SIP.

  Initial and Boundary Conditions
  MPCA used 2011 initial and boundary conditions for CAMx generated by the U.S. EPA from the
  GEOS-Chem Global Chemical Transport Model51. EPA generated hourly, one-way nested
  boundary conditions (i.e., global-scale to regional-scale) from a 2011 2.0 degree x 2.5 degree
  GEOS-Chem simulation. Following the convention of the U.S. EPA O3 transport modeling, year
  2011 GEOS-Chem boundary conditions were used by LADCO for modeling 2023 air quality with
  CAMx.

  It is Alpine’s opinion that the U.S. EPA GEOS-Chem derived initial and boundary conditions were
  appropriate for use in the MPCA SIP.

  Emissions
  The 2023 emissions data for the MPCA SIP were based on the U.S. EPA 2011v6.3 (“EN”)
  emissions modeling platform52. U.S. EPA generated this platform for their final assessment of
  Interstate Transport for the 2008 O3 NAAQS. Updates from earlier 2011-based emissions
  modeling platforms included a new engineering approach for forecasting emissions from
  Electricity Generating Units (EGUs). LADCO replaced the EGU emissions in the U.S. EPA EN


  49 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.

  50 US EPA. 2014. Meteorological Model Performance for Annual 2011 WRFv3.4 Simulation. Research Triangle Park, NC.

  https://www3.epa.gov/ttn/scram/reports/MET_TSD_2011_final_11-26-14.pdf.

  51 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.

  52 US EPA. 2017. Technical Support Document: Additional Updates to Emissions Inventories for the Version 6.3 Emissions

  Modeling Platform for the Year 2023. Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2017-
  11/documents/2011v6.3_2023en_update_emismod_tsd_oct2017.pdf


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  platform with 2023 EGU forecasts estimated with the ERTAC EGU Tool version 2.753. ERTAC EGU
  2.7 integrates state-reported information on EGU operations and forecasts as of May 2017.
  The MPCA believes “power sector emissions forecasts must address economic factors, preserve
  system reliability, and include controls or emission reduction measures justified through some
  legal framework. It is our understanding that the engineering analysis used by EPA to project
  EGU emissions to 2023 (version EN of the modeling platform) does not comply with these key
  requirements. The ERTAC estimates incorporate the key requirements.”54

  In March 2018 U.S. EPA released it flexibilities memo that described a series of flexibilities that
  states could consider in developing Good Neighbor SIPs for the 2015 ozone NAAQS. The “[u]se
  of alternative power sector modeling consistent with EPA’s emissions inventory guidance” is
  presented in the Analytics section of EPA’s March 2018 memo as a flexibility to consider in
  preparing a Good Neighbor SIP. This flexibility supports LADCO’s use of the ERTAC EGU model
  for projecting EGU emissions to 2023. MPCA considers the emissions projections from ERTAC
  EGU to be more representative of the sources in the Midwest and Northeast than the approach
  used by U.S. EPA in their 2023 EN modeling platform. As ERTAC EGU is developed in
  collaboration between regional and state air planning agencies, it includes algorithms and data
  that have been reviewed by many of the states impacted by interstate O3 transport in the
  Midwest and Eastern U.S.

  Preparation of the emissions data to support photochemical models is a very complicated
  process that entails the use of a number of different “sub-models” to prepare different
  emission segments.

  Sparse Matrix Operator Kernel Emissions (SMOKE)
  The Sparse Matrix Operator Kernel Emissions (SMOKE) is an emissions modeling system that
  generates hourly gridded speciated emission inputs of mobile, non-road, area, point, fire and
  biogenic emission sources for PGMs55,56. As with most “emissions models,” SMOKE is
  principally an emission processing system and not a true emissions modeling system in which
  emissions estimates are simulated from “first principles.” This means that, except for mobile
  and biogenic sources, its purpose is to provide an efficient, modern tool for converting an
  existing base emissions inventory data that is typically at the county or point source level into

  53 http://www.marama.org/2013-ertac-egu-forecasting-tool-documentation


  54
       EPA-R05-OAR-2018-0689-0003
  55 Coats, C.J. 1995. Sparse Matrix Operator Kernel Emissions (SMOKE) Modeling System, MCNC Environmental Programs,

  Research Triangle Park, NC.

  56 UNC. 2018. SMOKE v4.6 User’s Manuel. University of North Carolina at Chapel Hill, Institute for the Environment. Chapel

  Hill, North Carolina. September 24. (https://www.cmascenter.org/smoke/documentation/4.6/manual_smokev46.pdf).


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  the hourly gridded speciated formatted emission files required by a Photochemical Grid Model
  (PGM), like CAMx. SMOKE was used to prepare emission inputs for non-road mobile, non-point
  (area) and point sources. SMOKE performs three main function to convert emissions to the
  hourly gridded emission inputs for a PGM: (1) spatial allocation, spatial allocates county-level
  emissions to the PGM model grid cells typically using a surrogate distribution (e.g., population);
  (2) temporal allocation, allocates annual emissions to time of year (e.g., monthly or seasonally)
  and day-of-week (typically weekday, Saturday and Sunday); and (3) chemical speciation, maps
  the emissions to the species in the chemical mechanism used by the photochemical grid model,
  most important for VOC and PM2.5 emissions.

  The primary emissions modeling tool used to create the air quality model-ready emissions was
  the SMOKE modeling system version 3.7 which was used to create emissions files for a 12-km
  national grid “12US2” that includes all of the contiguous states.

  It is Alpine’s opinion that the SMOKE emissions model together with the other EPA emissions
  was appropriate for use in the MPCA SIP.

  Motor Vehicle Emissions Simulator (MOVES)
  The motor vehicle emissions were prepared by U.S. EPA using the MOVES 2014a emissions
  model57,58,59. MOVES 2014a was the most up to date released motor vehicle emissions
  processor at the time of the MPCA SIP submission and it is Alpine’s opinion that the U.S. EPA
  MOVES 2014a emissions were appropriate for use in the MPCA SIP.

  Eastern Regional Technical Advisory Committee EGU Model
  The Eastern Regional Technical Advisory Committee (ERTAC) EGU model for growth was
  developed around activity pattern matching algorithms designed to provide hourly EGU
  emissions data for air quality planning. The original goal of the model was to create low-cost
  software that air quality planning agencies could use for developing EGU emissions projections.
  States needed a transparent model that was numerically stable and did not produce dramatic
  changes to the emissions forecasts with small changes in inputs. A key feature of the model


  57 EPA. 2014a. Motor Vehicle Emissions Simulator (MOVES) – User Guide for MOVES2014. Assessment and Standards Division,

  Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-055). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14055.pdf).

  58 EPA. 2014b. Motor Vehicle Emissions Simulator (MOVES) –MOVES2014 User Interface Manual. Assessment and Standards

  Division, Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-067). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14057.pdf).

  59 EPA. 2014b. Motor Vehicle Emissions Simulator (MOVES) –MOVES2014 User Interface Manual. Assessment and Standards

  Division, Office of Transportation and Air Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-067). July.
  (http://www.epa.gov/oms/models/moves/documents/420b14057.pdf).


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  includes data transparency; all of the inputs to the model are publicly available. The code is also
  operationally transparent and includes extensive documentation, open-source code, and a
  diverse user community to support new users of the software.

  Operation of the model is straightforward given the complexity of the projection calculations
  and inputs. The model imports base year Continuous Emissions Monitoring (CEM) data from
  U.S. EPA and sorts the data from the peak to the lowest generation hour. It applies hour specific
  growth rates that include peak and off-peak rates. The model then balances the system for all
  units and hours that exceed physical or regulatory limits. ERTAC EGU applies future year
  controls to the emissions estimates and tests for reserve capacity, generates quality assurance
  reports, and converts the outputs to SMOKE ready modeling files.

  ERTAC EGU has distinct advantages over other growth methodologies because it can generate
  hourly future year estimates which are key to understanding ozone episodes. The model does
  not shutdown or mothball existing units because economics algorithms suggest they are not
  economically viable. Additionally, alternate control scenarios are easy to simulate with the
  model. Full documentation for the ERTAC Emissions model and 2.7 simulations are available
  through the MARAMA website60.

  Differences between the EPA and ERTAC EGU emissions forecasts arise from alternative
  forecast algorithms and from the data used to inform the model predictions. The U.S. EPA EGU
  forecast used in the 2023 EN modeling used CEM data available through the end of 2016 and
  comments from states and stakeholders received through April 17, 201761. ERTAC EGU 2.7 used
  CEM data from 2011 and state-reported changes to EGUs through May 2017. The ERTAC EGU
  2.7 emissions used for the modeling represented the best available information on EGU
  forecasts for the Midwest and Eastern U.S. available during Spring-early Summer 2018.

  The “consideration of state-specific information in identifying sources [e.g., electric generating
  units (EGUs) and non-EGUs] and controls” is one of the potential approaches in EPA’s March
  2018 flexibilities memorandum. The use of the ERTAC EGU tool falls squarely within the
  parameters of this documented flexibility and it is Alpine’s opinion that MPCA’s used of EGU
  emission projections from this model were appropriate in the MPCA SIP.




  60 http://www.marama.org/2013-ertac-egu-forecasting-tool-documentation


  61 US EPA. 2017. Memorandum: Supplemental Information on the Interstate Transport SIP Submissions for the 2008 Ozone

  NAAQS under Clean Air Act Section 110(a)(2)(D)(i)(I), Research Triangle Park, NC.
  https://www.epa.gov/sites/production/files/2017-10/documents/final_2008_o3_naaqs_transport_memo_10-27-17b.pdf.


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  BEIS
  Biogenic emissions were computed by U. S. EPA based on the same version of the 2011
  meteorology data used for the air quality modeling and were developed using the Biogenic
  Emission Inventory System version 3.61 (BEIS3.61) within SMOKE. The landuse input into
  BEIS3.61 is the BELD version 4.1 which is based on an updated version of the USDA-USFS Forest
  Inventory and Analysis (FIA) vegetation speciation-based data from 2001 to 2014 from the FIA
  version 5.1.

  It is Alpine’s opinion that the U.S. EPA application of the BEIS model was appropriate for use in
  the MPCA SIP.

      3. Air Quality Modeling


  The MPCA modeling used the Comprehensive Air-quality Model with Extensions (CAMx) air
  quality model62. CAMx is a state-of-science “One-Atmosphere” multi-scale photochemical grid
  model (PGM) capable of addressing ozone, particulate matter (PM), visibility and acid
  deposition at regional, urban and local scale typically for periods of a year. CAMx is a publicly
  available open-source computer modeling system for the integrated assessment of gaseous and
  particulate air pollution. Built on today’s understanding that air quality issues are complex,
  interrelated, and reach beyond the urban scale, CAMx is designed to (a) simulate air quality
  over many geographic scales, (b) treat a wide variety of inert and chemically active pollutants
  including ozone, inorganic and organic PM2.5 and PM10 and mercury and toxics, (c) provide
  source-receptor, sensitivity, and process analyses and (d) be computationally efficient and easy
  to use.

  The U.S. EPA has approved the use of CAMx for numerous ozone and PM State Implementation
  Plans throughout the U.S. and has used this model to evaluate regional mitigation strategies
  including those for most recent national transport rules, such as the Cross-State Air Pollution
  Rule (CSAPR), CSAPR Update, and the modeling used in justification of denial of the MPCA SIP.
  The MPCA used Version 6.4, which was released in December 2016. Unlike some of EPA’s
  previous ozone modeling guidance that specified a particular ozone model (e.g., EPA 1991
  Guidance63) or that specified the Urban Airshed Model (UAM)64, the EPA now recommends that

  62 User’s Guide: Comprehensive Air Quality Model with Extensions version 6.40. Novato, CA.

  http://www.camx.com/files/camxusersguide_v6-40.pdf

  63 Draft Guidance on the Use of Models and Other Analyses in Attainment Demonstrations for the 8-hr Ozone NAAQS”. U.S.

  Environmental Protection Agency, Office of Air Quality Planning and Standards, Research Triangle Park, N.C. May.

  64 User's Guide for the Urban Airshed Model. Volume I: User's Manual for UAM (CB-IV) prepared for the U.S. Environmental

  Protection Agency (EPA-450/4-90-007a). Systems Applications International, San Rafael, CA.


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  models be selected for ozone SIP studies on a “case-by-case” basis. The latest EPA ozone
  guidance65 (pp. 24) explicitly mentions the CAMx PGMs as one of the most commonly used
  PGMs that would satisfy EPA’s selection criteria but notes that this is not an exhaustive list and
  does not imply that it is “preferred” over other PGMs that could also be considered and used
  with appropriate justification.

  The CAMx model is updated regularly to both update the science in the model and to address
  coding errors (bugs) in the code. CAMx 6.5 was released at the end of April 2018,
  approximately 6 months prior to submission the MPCA SIP submission. It is customary for
  regulatory modeling to “freeze” the model version during the modeling process to keep the
  modeling on schedule.

  It is Alpine’s opinion that the CAMx 6.4 air quality model along with the EPA EN platform with
  2023 EGU’s updated to include ERTAC was appropriate for use in the MPCA SIP.

       4. Model Performance


  MPCA relied on the model performance evaluation (MPE) conducted by the U.S. EPA on the
  modeling platform that we used for this study66 to establish validity in the modeling platform.
  In addition to the MPE for the base year CAMx simulation, the U.S. EPA reported full MPE
  results for the 2011 WRF modeling67 used in the CAMx simulations.

  It is Alpine’s opinion that the EPA WRF and CAMx performance evaluations showed adequate
  performance and that the modeling was appropriate for use in the MPCA SIP.

       5. Source Apportionment


  MPCA used the CAMx Anthropogenic Precursor Culpability Assessment (APCA) tool to calculate
  emissions tracers for identifying upwind sources of ozone at downwind monitoring sites. MPCA


  65
    Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, an Regional Haze. U.S. Environmental
  Protection Agency, Office of Air Quality Planning and Standards, Air Assessment Division. Research Triangle Park,
  NC. EPA 454/R-18-009. November 29. (https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-
  Modeling_Guidance-2018.pdf).

  66 US EPA. 2016. Air Quality Modeling Technical Support Document for the 2015 Ozone NAAQS Preliminary Interstate Transport

  Assessment. Research Triangle Park, NC. https://www.epa.gov/sites/production/files/2017-
  01/documents/aq_modeling_tsd_2015_o3_naaqs_preliminary_interstate_transport_assessmen.pdf

  67 US EPA. 2014. Meteorological Model Performance for Annual 2011 WRFv3.4 Simulation. Research Triangle Park, NC.

  https://www3.epa.gov/ttn/scram/reports/MET_TSD_2011_final_11-26-14.pdf.


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  used the APCA technique because it more appropriately associates ozone formation to
  anthropogenic sources than the CAMx Ozone Source Apportionment Technique (OSAT). If any
  anthropogenic emissions are involved in a reaction that leads to ozone formation, even if the
  reaction occurs with biogenic VOC or NOx, APCA tags the ozone as anthropogenic in origin.

  The APCA source apportionment tool has a robust theoretical basis and a long application
  history and it is our opinion that the APCA tool is appropriate for identifying upwind sources of
  ozone at downwind monitoring sites.

     6. Interstate Transport Provisions – Section 110(a)(2)(D)


  This section of the CAA requires SIPs to have provisions prohibiting sources from emitting air
  pollutants in amounts that would contribute significantly to nonattainment or interfere with
  maintenance in any other state. These interstate transport requirements are often referred to
  as “good neighbor SIPs”. The analyses conducted both by LADCO and EPA to support the 2015
  ozone good neighbor SIPs show Minnesota does not contribute significantly to air quality
  problems in any downwind nonattainment or maintenance area. Therefore, no additional
  controls or emissions limits were required to fulfill Minnesota’s good neighbor obligations.

  On March 27, 2018, the EPA published a memo, entitled “Information on the Interstate
  Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
  Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)”. EPA’s Memo included new
  transport modeling data for the year 2023 (the Moderate Attainment deadline for the 2015
  ozone NAAQS). These data are provided to assist states in completing the “good neighbor” SIPs
  for the 2015 ozone NAAQS, and to thereby address interstate transport obligations.

  EPA identifies a four-step framework in the Memo, intended to guide states on how to go about
  developing good neighbor SIPs:

     1. Identify downwind air quality problems;
     2. Identify upwind states that contribute enough to those downwind air quality problems
        to warrant further review and analysis;
     3. Identify the emissions reductions necessary (if any), considering cost and air quality
        factors, to prevent an identified upwind state from contributing significantly to those
        downwind air quality problems; and
     4. Adopt permanent and enforceable measures needed to achieve those emissions
        reductions.

  In Step 1, EPA identifies monitoring sites that are projected to have problems attaining and/or
  maintaining the NAAQS in the 2023 analytic year. Where EPA’s analysis shows that a site does

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  not fall under the definition of a nonattainment or maintenance receptor, that site is excluded
  from further analysis under EPA’s 4-step interstate transport framework. For sites that are
  identified as a nonattainment or maintenance receptor in 2023, we proceed to the next step of
  our 4-step interstate transport framework by identifying the upwind state’s contribution to
  those receptors.

  In Step 2, EPA quantifies the contribution of each upwind state to each receptor in the 2023
  analytic year. The contribution metric used in Step 2 is defined as the average impact from each
  state to each receptor on the days with the highest ozone concentrations at the receptor based
  on the 2023 modeling. If a state’s contribution value does not equal or exceed the threshold of
  1 percent of the NAAQS (i.e., 0.70 ppb for the 2015 ozone NAAQS), the upwind state is not
  ‘‘linked’’ to a downwind air quality problem, and EPA, therefore, concludes that the state does
  not significantly contribute to nonattainment or interfere with maintenance of the NAAQS in
  the downwind states.

  Comparably, in MPCA’s SIP submission, they include LADCO’s modeling which additionally
  follows the same transport framework and is corroborated by EPA’s modeling with the data
  released with the March 2018 memo.

  Step 1 - 2023 Air Quality Projections
  MPCA’s reported air quality projections68 submitted with their SIP were based on the ozone
  modeling conducted by LADCO. The result of this LADCO 2023 modeling, using methods utilized
  by EPA and shown in Table 9 below, forecasted that no downwind monitors in the Midwest or
  Northeast would be nonattainment for the 2015 O3 NAAQS.




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       Data source Table 5, Attachment 1, EPA-R05-OAR-2018-0689-0003

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                                            LADCO 2023 DV                2009-2013 DV
   AQS ID         County        ST       3x3 Avg      3x3 Max        3x3 Avg      3x3 Max
   90010017       Fairfield     CT         67.2          69.4          78.0         80.0
   90013007       Fairfield     CT         67.8          71.6          84.3         89.0
   90019003       Fairfield     CT         69.6          72.4          83.7         87.0
   90099002       New Haven     CT         67.9          70.5          85.7         89.0
   240251001      Harford       MD         69.4          71.8          90.0         93.0
   260050003      Allegan       MI         67.1          69.8          80.3         83.0
   261630019      Wayne         MI         67.7          69.7          78.7         81.0
   360810124      Queens        NY         67.5          69.2          70.0         71.0
   361030002      Suffolk       NY         69.8          71.3          83.3         85.0
   550790085      Milwaukee     WI         62.1          65.1          78.3         82.0
   551170006      Sheboygan     WI         69.3          71.5          84.3         87.0
  Table 9. LADCO 2023 ozone design values at EPA identified nonattainment and maintenance
  monitors in the Midwest and Northeast.

  EPA’s own modeling69, released with the March 2018 platform, shown in Table 10, and
  designed to be used by states in development of their ozone transport SIPs, indicated that in
  the Midwest or Northeast, two downwind monitors in Fairfield, Connecticut (monitors
  90013007 and 90019003), a monitor in Suffolk, New York (36103002), and monitors in
  Milwaukee (550790085) and Sheboygan (551170006), Wisconsin would be in nonattainment
  for the 2015 ozone NAAQS.

                                              EPA 2023 DV              2009-2013 DV
   AQS ID         County        ST        3x3 Avg     3x3 Max      3x3 Avg      3x3 Max
   90010017       Fairfield     CT          68.9        71.2         80.3         83.0
   90013007       Fairfield     CT          71.0        75.0         84.3         89.0
   90019003       Fairfield     CT          73.0        75.9         83.7         87.0
   90099002       New Haven     CT          69.9        72.6         85.7         89.0
   240251001      Harford       MD          70.9        73.3         90.0         93.0
   260050003      Allegan       MI          69.0        71.7         82.7         86.0
   261630019      Wayne         MI          69.0        71.0         78.7         81.0
   360810124      Queens        NY          70.2        72.0         78.0         80.0
   361030002      Suffolk       NY          74.0        75.5         83.3         85.0
   550790085      Milwaukee     WI          71.2        73.0         80.0         82.0
   551170006      Sheboygan     WI          72.8        75.1         84.3         87.0
  Table 10. EPA 2023 ozone design values at nonattainment and maintenance monitors in the
  Midwest and Northeast.

  69
       https://www.epa.gov/sites/default/files/2018-05/updated_2023_modeling_dvs_collective_contributions.xlsx

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  An additional six monitors in Connecticut (90010017 and 90099002), Maryland (240251001),
  Michigan (260050003 and 261630019), and New York (360810124) would be considered
  maintenance monitors in the projection.

  In neither the LADCO nor EPA modeling cited in MPCA’s SIP revision submission were the two
  Cook County, Illinois monitors (170314201 and 170310076) from EPA’s SIP denial NPR, or the
  single monitor from EPA’s final SIP disapproval action, identified as either nonattainment or
  maintenance monitors in the 2023 projections.

  Step 2 - Significant Contribution to Downwind States
  EPA has previously determined that a state contribution to downwind air quality problems
  below one percent of the applicable NAAQS is insignificant. This screening method was used in
  previous good neighbor SIP approvals, and other regulatory actions including (most notably)
  the Cross-State Air Pollution Rule (CSAPR), and the CSAPR update for the 2008 ozone NAAQS
  and 2012 NAAQS for particulate matter less than 2.5 micrometers in diameter (PM2.5). The one
  percent screening method was developed through several previous federal notice and
  comment rulemakings. One percent of the 2015 ozone NAAQS (70 ppb) is 0.70 ppb. Therefore,
  any state that contributes less than 0.70 ppb to a projected nonattainment or maintenance
  area in another state is not culpable for those air quality problems.

  EPA and LADCO applied the Anthropogenic Precursor Culpability Analysis (APCA) technique in
  CAMx to identify upwind states culpable for downwind ozone air quality problems. The method
  accounts for anthropogenic nitrogen oxides (NOx) and volatile organic carbon (VOC) emissions
  from all sources in each upwind state affecting projected 2023 ozone concentrations at each
  downwind air quality monitoring site designated a nonattainment or maintenance receptor.
  EPA and LADCO conducted the culpability analysis for the period May 1 through September 30,
  using the 2023 future emission estimates and 2011 meteorology.

  Both LADCO and EPA analyses70 conclude Minnesota is not culpable for ozone nonattainment,
  or interference with maintenance, in any downwind states. As shown in Table 11, prepared
  using data from MPCA’s SIP71, LADCO’s analysis shows a maximum contribution of 0.45 ppb to
  the identified maintenance monitors, less than the 0.70 ppb identified as 1% of the NAAQS (70
  ppb). EPA’s analysis72 (Table 12) indicates Minnesota contributes most to Milwaukee, Wisconsin
  monitor site 550790085. At a concentration of 0.40 ppb, this contribution is roughly equal to
  0.57% of the 2015 ozone NAAQS.




  70
     Data source Table 2, EPA-R05-OAR-2018-0689-0003
  71
     Id.
  72
     Id.

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   AQS ID       County         ST     2023 Avg DV    2023 Max DV MN Contribution (ppb)
   90010017     Fairfield      CT          67.2           69.4              0.17
   90013007     Fairfield      CT          67.8           71.6              0.15
   90019003     Fairfield      CT          69.6           72.4              0.11
   90099002     New Haven      CT          67.9           70.5              0.16
   240251001 Harford           MD          69.4           71.8              0.12
   260050003 Allegan           MI          67.1           69.8              0.11
   261630019 Wayne             MI          67.7           69.7              0.30
   360810124 Queens            NY          67.5           69.2              0.16
   361030002 Suffolk           NY          69.8           71.3              0.16
   550790085 Milwaukee         WI          62.1           65.1              0.45
   551170006 Sheboygan         WI          69.3           71.5              0.27
  Table 11. LADCO 2023 O3 design values at nonattainment and maintenance monitors in the
  Midwest and Northeast and Minnesota’s calculated contribution.

   AQS ID        County         ST     2023 Avg DV    2023 Max DV MN Contribution (ppb)
   90010017      Fairfield      CT         68.9           71.2               0.17
   90013007      Fairfield      CT         71.0           75.0               0.15
   90019003      Fairfield      CT         73.0           75.9               0.14
   90099002      New Haven      CT         69.9           72.6               0.19
   240251001 Harford            MD         70.9           73.3               0.13
   260050003 Allegan            MI         69.0           71.7               0.11
   261630019 Wayne              MI         69.0           71.0               0.31
   360810124 Queens             NY         70.2           72.0               0.17
   361030002 Suffolk            NY         74.0           75.5               0.18
   550790085 Milwaukee          WI         71.2           73.0               0.40
   551170006 Sheboygan          WI         72.8           75.1               0.28
  Table 12. EPA 2023 O3 design values at nonattainment and maintenance monitors in the
  Midwest and Northeast and Minnesota’s calculated contribution.

  For the reasons set forth in this section, it is our opinion that the modeling conducted and cited
  by MPCA in the development of its 2015 ozone NAAQS transport SIP revision of October 2018
  was technically adequate and appropriate for the purpose it was intended and followed all
  available EPA guidance on preparing technical modeling for SIP and SIP-related analyses.

  Additionally, in our opinion, the MPCA SIP adequately demonstrates that Minnesota is not a
  significant contributor to any downwind monitor identified as in nonattainment or
  maintenance for the 2015 ozone NAAQS and is corroborated by EPA modeling which included
  state-of-science configuration and platform at the time the original SIP was submitted.




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  D.     Summary of Conclusions

  For the reasons set forth in this document, it is our opinion that the modeling conducted and
  cited by MPCA in the development of its 2015 ozone NAAQS transport SIP revision of October 1,
  2018 was technically adequate and appropriate for the purpose it was intended and should
  have been approved by EPA at the time of submission. It is further our opinion that decisions
  made by EPA to compare MPCA’s original submitted modeling to recently updated modeling,
  developed by EPA over four years and four months later than the original Oct 2018 submission,
  are inconsistent with EPA precedent.

  It is our opinion that in the absence of inclusion of Minnesota’s and other stakeholder’s valid
  emission modeling platform revision submissions, as requested by EPA, and multiple reruns of
  the air quality in both the base year (2016) and projection year (2023) simulations, EPA cannot
  appropriately identify monitors as nonattainment or maintenance, and in turn, cannot calculate
  upwind state significant contribution metrics from these same data. Non-EGU emission controls
  and their associated NOx emission reductions as documented and submitted by MPCA, could
  be enough to change nonattainment designations and linked significance using an updated
  platform and needs to be considered before making any final decision on denial of MPCA’s SIP.

  It is our opinion that EPA's use of modeling with poor performance at critical monitors amounts
  to an unreliable result when used to establish nonattainment or maintenance monitors under
  Step 1 or linkages under Step 2 of the 4-step framework. Should more refined modeling be
  undertaken to review the ozone formation potential at monitors located in these land-water
  interfaces, results may show that these monitors demonstrate modeled attainment and/or
  remove significant contribution linkages from upwind states.

  It is our opinion that the most recent modeling cited by EPA and used to justify the linkage of
  Minnesota to one downwind maintenance monitors in Cook County, Illinois has technical issues
  as it relates to that linked monitor which is located in a complex land-water interface and may
  require finer grid resolution modeling to adequately capture ozone formation and significant
  contribution, and that EPA must address the impact of VOC emissions in influencing ozone
  formation at monitors in Illinois.

  It is our opinion that EPA has failed to follow the process by relying on the best available
  modeling at the time that an analysis is conducted, and results are developed and submitted.
  Instead, EPA continues to move the target and objectives for states that, in Minnesota’s case,
  for over four years had been waiting for a review of their “best available data and analysis”.




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  It is our opinion that EPA should not have used any updated modeling to support a SIP review
  while not providing the opportunity for that data to be reviewed, analyzed, and commented on
  in advance of any final decision on the subject SIP disapproval and that any modeling beyond
  what was conducted in the original SIP submittal was ancillary to the approval process.
  However, should EPA decide not to review MPCA’s SIP revision on its merit, Alpine
  recommends that EPA withdraw the SIP disapproval in favor of correcting the technical errors
  that have been identified in its analysis and to propose an appropriate opportunity for
  Minnesota to address any deficiencies EPA may find in Good Neighbor Plans implementing the
  2015 ozone NAAQS.

  It is our opinion that EPA’s 2018 flexibility memo has become so instrumental to states in
  developing their good neighbor SIPs, that EPA’s decision to disallow the flexibilities that they
  themselves outlined in guidance, is unreasonable and should be reconsidered.

  Additionally, in our opinion, the MPCA SIP adequately demonstrates that Minnesota is not a
  significant contributor to any downwind monitor identified as in nonattainment or
  maintenance for the 2015 ozone NAAQS and is corroborated by EPA modeling which included
  state-of-science configuration and platform at the time the original SIP was submitted. It is our
  opinion that the original MPCA SIP was and is approvable.




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  E.       Minnesota 2015 Ozone SIP Timeline

  October 1, 2015 – EPA finalized the revised 2015 ozone NAAQS. Pursuant to CAA section
  110(a)(1), “each state shall . . . submit to the Administrator, within 3 years. . .after
  promulgation of a [primary NAAQS] (or any revision thereof) a plan which provides for
  implementation, maintenance, and enforcement of such primary standard. . .” CAA section
  110(a)(2)(D)(i)(I) requires such SIPs to “contain adequate provisions prohibiting . . .any source
  or other type of emissions activity within the State from emitting any air pollutant in amounts
  which will contribute significantly to nonattainment in, or interfere with maintenance by, and
  other State with respect to such NAAQS.

  March 27, 2018 - EPA published a memo, entitled “Information on the Interstate Transport
  State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
  Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)”. EPA’s Memo included new transport
  modeling data for the year 2023 (the Moderate Attainment deadline for the 2015 ozone
  NAAQS). These data are provided to assist states in completing the “good neighbor” SIPs for the
  2015 ozone NAAQS, and to thereby address interstate transport obligations.

  October 1, 2018 - Minnesota Pollution Control Agency (MPCA) submitted a SIP revision to
  address CAA Section 110(a)(2)(D)(i)(I) on October 1, 2018 .73 The submission met the statutory
  deadline for submittal the interest transport SIPs for the 2015 ozone NAAQS. The submission
  utilized both EPA modeling released with the March 2018 memorandum and LADCO modeling
  results previously mentioned. Minnesota followed the 4-step interstate transport framework
  and used an analytic year of 2023 to describe Minnesota's lack of contributions to out of state
  receptors and assess emission reduction considerations.

  April 1, 2019 – This is 6 months after EPA received the Minnesota SIP submission and is the
  date that the CAA deems the Minnesota submittal to have been complete since EPA did not
  take action otherwise.

  September 13, 2019 - The D.C. Circuit issued a decision in Wisconsin v. EPA, remanding the
  CSAPR Update to the extent that it failed to require upwind states to eliminate their significant


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    Completeness Finding - Pursuant to the CAA Section 110(k)(1)(B) “Within 60 days of the Administrator’s receipt
  of a plan or plan revision, but no later than 6 months after the date, if any, by which a State is required to submit
  the plan or revision, the Administrator shall determine whether the minimum criteria established pursuant to
  subparagraph (A) have been met. Any plan or plan revision that a State submits to the Administrator, and that has
  not been determined by the Administrator (by the date 6 months after receipt of the submission) to have failed to
  meet the minimum criteria established pursuant to subparagraph (a), shall on that date be deemed by operation
  of law to meet such minimum criteria.”


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  contribution by the next applicable attainment date by which downwind states must come into
  compliance with the NAAQS, as established under CAA section 181(a). 938 F.3d at 313.

  April 1, 2020 – This is 12 months after the completeness date and is the deadline for EPA to
  have acted on the MN SIP submission. Upon this deadline a full, partial or conditional approval
  was required by CAA Section 110(k)(2), (3), or (4).74

  May 19, 2020 - the D.C. Circuit issued a decision in Maryland v. EPA that cited the Wisconsin
  decision in holding that EPA must assess the impact of interstate transport on air quality at the
  next downwind attainment date, including Marginal area attainment dates, in evaluating the
  basis for EPA's denial of a petition under CAA section 126(b). Maryland v. EPA, 958 F.3d 1185,
  1203-04 (D.C. Cir. 2020). The court noted that “section 126(b) incorporates the Good Neighbor
  Provision,” and, therefore, “EPA must find a violation [of section 126] if an upwind source will
  significantly contribute to downwind nonattainment at the next downwind attainment
  deadline. Therefore, the agency must evaluate downwind air quality at that deadline, not at
  some later date.” Id. at 1204 (emphasis added). EPA interprets the court's holding in Maryland
  as requiring the states and the Agency, under the good neighbor provision, to assess downwind
  air quality as expeditiously as practicable and no later than the next applicable attainment date,
  which is now the Moderate area attainment date under CAA section 181 for ozone
  nonattainment. The Moderate area attainment date for the 2015 ozone NAAQS is August 3,
  2024. At the time of the statutory deadline to submit interstate transport SIPs (October 1,
  2018), many states relied upon EPA modeling of the year 2023, and no state provided an
  alternative analysis using a 2021 analytic year (or the prior 2020 ozone season). However, EPA
  must act on SIP submittals using the information available at the time it takes such action. In
  this circumstance, EPA does not believe it would be appropriate to evaluate states' obligations
  under CAA section 110(a)(2)(D)(i)(I) as of an attainment date that is wholly in the past, because
  the Agency interprets the interstate transport provision as forward looking. See 86 FR at 23074;
  see also Wisconsin, 938 F.3d at 322. Consequently, in this proposal EPA will use the analytical
  year of 2023 to evaluate each state's CAA section 110(a)(2)(D)(i)(I) SIP submission with respect
  to the 2015 ozone NAAQS.

  May 12, 2021 – Downwinders at Risk, et al filed Case No. 21 Civ. 21 Civ 3551 asserting that EPA
  failed to undertake certain non-discretionary duties under the CAA.



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    Deadline for Action. – Pursuant to the CAA Section 110(k)(1)(B) “Within 12 months of a determination by the
  Administrator (or a determination deemed by operation of law) under paragraph (1) that a State has submitted a
  plan or plan revision (or, in the Administrator’s discretion, part thereof) that meets the minimum criteria
  established pursuant to paragraph (1), if applicable (or, if those criteria are not applicable, within 12 months of
  submission of the plan or revision), the Administrator shall act on the submission in accordance with paragraph
  (3).”

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  February 22, 2022 - EPA assessed the Minnesota submittal and on February 22, 2022 (3 years,
  4+ months after submittal) the agency proposed denial of the Minnesota SIP as follows: “Based
  on EPA's evaluation of Minnesota's SIP submission and after consideration of updated EPA
  modeling using the 2016-based emissions modeling platform, EPA is proposing to find that the
  portion of Minnesota's October 1, 2018 SIP submission addressing CAA section 110(a)(2)(D)(i)(I)
  does not meet the state's interstate transport obligations for 2015 ozone NAAQS, because it
  fails to contain the necessary provisions to eliminate emissions that will contribute significantly
  to nonattainment or interfere with maintenance of the NAAQS in any other state. Air Plan
  Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin; Air Plan Disapproval;
  Region 5 Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
  Quality Standards, 87 Fed. Reg. 9838 (Feb. 22, 2022).

  February 28, 2022 – EPA and Downwinders et al established in a Consent Decree entered into
  on 1/12/2022 that if EPA proposed a full or partial denial of the Minnesota SIP EPA shall have
  until December 15, 2022 to sign a final action. Note this is a settlement and does not erase the
  fact that EPA failed to complete its non-discretionary duty to have reviewed and acted upon the
  MN SIP by April 1, 2020.

  April 30, 2022 – EPA and Downwinders, et established in a Consent Decree entered into on
  1/12/2022 that required EPA to sign for publication final rulemaking on April 30, 2022 to
  approve, disapprove, and conditionally approve the Minnesota SIP submissions for the 2015
  ozone NAAQS.

  May 22, 2022 – EPA proposed to approve most elements of the Minnesota October 1, 2018
  submission intended to address all applicable infrastructure requirements for the 2015 NAAQS.
  (87 FR 31462).

  July 29, 2022 – EPA approved most elements of the Minnesota October 1, 2018 SIP submission
  from Minnesota regarding infrastructure requirements for the 2015 ozone NAAQS. EPA did not
  act on the interstate transport requirements and visibility impairments requirements. (87 FR
  45663).

  December 8, 2022 – EPA and Downwinders et al filed a Joint Motion of Stipulated Extension of
  Consent Decree deadlines that provided the following schedule.

  December 15, 2022 – Former agreed upon deadline by Downwinders for EPA to act on
  Minnesota SIP, but this deadline was moved by agreement to January 31, 2022.

  January 31, 2023 - deadline to sign final action on Minnesota SIP pursuant to agreed upon
  extension of Downwinders Consent Decree.


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  February 13, 2023 – EPA publishes final disapproval of State Implementation Plan (SIP)
  submissions for 19 states, including Minnesota. Air Plan Disapprovals; Interstate Transport of
  Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards, 88 FR 9336.

  March 15, 2023 – EPA issues final federal Good Neighbor Plan for the 2015 ozone NAAQS
  (publication in the Federal Register is still pending).




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   Motion to Stay, United States Steel Corporation v. EPA, et al., Case No. 23-1207
                                      (D.C. Cir.)

                                      Exhibit L

    Declaration of Alexis Piscitelli in Support of United States Steel Corporation’s
                           Motion for Stay (Aug. 22, 2023)
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